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               All Paths/Locations                             Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-07__943025_item-8_4300421249-8-
01 - 2024-05-31\check_images\79375             2699.26 USD.pdf                                  70892      4/29/2024 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-01__640973_41434289-19-1265.00
01 - 2024-05-31\check_images\79377             USD.pdf                                          70165        6/6/2022 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-01__653086_41490004-1-1265.00
01 - 2024-05-31\check_images\79377             USD.pdf                                          73227        7/5/2022 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-01__666501_41542432-25-1265.00
01 - 2024-05-31\check_images\79377             USD.pdf                                          71188       8/3/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-01__681692_item-10_41600650-10-
01 - 2024-05-31\check_images\79377             1265.00 USD.pdf                                  74222        9/6/2022 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-01__694105_item-22_41653960-22-
01 - 2024-05-31\check_images\79377             1265.00 USD.pdf                                  72736      10/4/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-01__707206_item-45_41706527-45-
01 - 2024-05-31\check_images\79377             1265.00 USD.pdf                                  70433      11/3/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__721511_item-20_41760527-20-
01 - 2024-05-31\check_images\79377             1265.00 USD.pdf                                  71317      12/8/2022 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__731320_item-23_41813824-23-
01 - 2024-05-31\check_images\79377             1265.00 USD.pdf                                  73144        1/4/2023 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__744925_item-9_41870337-9-
01 - 2024-05-31\check_images\79377             1265.00 USD.pdf                                  72709       2/1/2023 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__759583_item-18_41923504-18-
01 - 2024-05-31\check_images\79377             1265.00 USD.pdf                                  75333       3/6/2023 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__773346_item-13_41981402-13-
01 - 2024-05-31\check_images\79377             1265.00 USD.pdf                                  64491       4/4/2023 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__787144_item-14_42033700-14-
01 - 2024-05-31\check_images\79377             1265.00 USD.pdf                                  69659        5/5/2023 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__800722_item-1_42091620-1-
01 - 2024-05-31\check_images\79377             1265.00 USD.pdf                                  72596       6/5/2023 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__812444_item-40_42144620-40-
01 - 2024-05-31\check_images\79377             1265.00 USD.pdf                                  68869        7/3/2023 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__826134_item-37_42195823-37-
01 - 2024-05-31\check_images\79377             1265.00 USD.pdf                                  73547       8/1/2023 15:10




                                                                                         EXHIBIT "E"
                                                            1
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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__840968_item-2_42250644-2-
01 - 2024-05-31\check_images\79377             1265.00 USD.pdf                                70331        9/5/2023 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__853814_item-19_42301483-19-
01 - 2024-05-31\check_images\79377             1265.00 USD.pdf                                68153       10/4/2023 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__866399_item-8_42355925-8-
01 - 2024-05-31\check_images\79377             1265.00 USD.pdf                                67443      11/1/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__879922_item-40_42408038-40-
01 - 2024-05-31\check_images\79377             1265.00 USD.pdf                                73552       12/4/2023 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__893595_item-14_42459331-14-
01 - 2024-05-31\check_images\79377             1265.00 USD.pdf                                79077       1/3/2024 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__906081_item-22_42516113-22-
01 - 2024-05-31\check_images\79377             1265.00 USD.pdf                                70261        2/2/2024 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__920516_item-19_42569308-19-
01 - 2024-05-31\check_images\79377             1265.00 USD.pdf                                68569       3/5/2024 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__933410_item-12_42620612-12-
01 - 2024-05-31\check_images\79377             1265.00 USD.pdf                                74485       4/3/2024 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__947568_item-5_42676207-5-
01 - 2024-05-31\check_images\79377             1265.00 USD.pdf                                74602       5/6/2024 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-05__760328_item-25_1003909-25-
01 - 2024-05-31\check_images\79382             40000.00 USD.pdf                               83439       3/6/2023 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-18__646203_147544877-23-75000.00
01 - 2024-05-31\check_images\79390             USD.pdf                                        54116      6/21/2022 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-18__805590_item-32_147759862-32-
01 - 2024-05-31\check_images\79390             225000.00 USD.pdf                              63815      6/16/2023 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-01__627181_147512561-35-4580.15
01 - 2024-05-31\check_images\79395             USD.pdf                                        48690       5/5/2022 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-01__642187_147531208-30-4580.15
01 - 2024-05-31\check_images\79395             USD.pdf                                        62240        6/9/2022 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-01__653028_147549999-3-4580.15
01 - 2024-05-31\check_images\79395             USD.pdf                                        57879        7/5/2022 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-01__663529_147568533-8-4580.15
01 - 2024-05-31\check_images\79395             USD.pdf                                        60791       7/29/2022 9:11




                                                            2
   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 4 of
                                       3467



               All Paths/Locations                             Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-01__679637_147587409-8-4580.15
01 - 2024-05-31\check_images\79395             USD.pdf                                        64953       9/1/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-01__692287_item-9_147605457-9-
01 - 2024-05-31\check_images\79395             4580.15 USD.pdf                                84871      10/3/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-01__704616_item-19_147623236-19-
01 - 2024-05-31\check_images\79395             4580.15 USD.pdf                                55620       11/1/2022 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__718085_item-17_147640850-17-
01 - 2024-05-31\check_images\79395             4580.15 USD.pdf                                66514      12/1/2022 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__732863_item-41_147658744-41-
01 - 2024-05-31\check_images\79395             4580.15 USD.pdf                                51852       1/5/2023 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__744896_item-6_147677419-6-
01 - 2024-05-31\check_images\79395             4580.15 USD.pdf                                63583       2/1/2023 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__758264_item-31_147694425-31-
01 - 2024-05-31\check_images\79395             4717.55 USD.pdf                                58516       3/1/2023 10:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__773114_item-31_147713308-31-
01 - 2024-05-31\check_images\79395             4717.55 USD.pdf                                72161        4/3/2023 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__783608_item-9_147729766-9-
01 - 2024-05-31\check_images\79395             4717.55 USD.pdf                                71234       5/1/2023 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__798064_item-18_147747495-18-
01 - 2024-05-31\check_images\79395             4717.55 USD.pdf                                63198      5/31/2023 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__813151_item-38_147765211-38-
01 - 2024-05-31\check_images\79395             4717.55 USD.pdf                                58705       7/3/2023 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__827417_item-17_147782128-17-
01 - 2024-05-31\check_images\79395             4717.55 USD.pdf                                54717        8/3/2023 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__840599_item-25_147799249-25-
01 - 2024-05-31\check_images\79395             4717.55 USD.pdf                                57800       9/5/2023 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__852724_item-32_147816106-32-
01 - 2024-05-31\check_images\79395             4717.55 USD.pdf                                59372       10/3/2023 7:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__866844_item-9_147833006-9-
01 - 2024-05-31\check_images\79395             4717.55 USD.pdf                                54951       11/3/2023 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__879217_item-17_147849408-17-
01 - 2024-05-31\check_images\79395             4717.55 USD.pdf                                52833       12/4/2023 9:37




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               All Paths/Locations                             Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__891867_item-39_147865578-39-
01 - 2024-05-31\check_images\79395             4717.55 USD.pdf                                55783       1/2/2024 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__906877_item-33_147883255-33-
01 - 2024-05-31\check_images\79395             4717.55 USD.pdf                                56140       2/5/2024 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__919620_item-34_147899481-34-
01 - 2024-05-31\check_images\79395             4859.08 USD.pdf                                55360        3/4/2024 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__932016_item-16_147915543-16-
01 - 2024-05-31\check_images\79395             4859.08 USD.pdf                                60587       4/2/2024 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__944873_item-19_147932501-19-
01 - 2024-05-31\check_images\79395             4859.08 USD.pdf                                54971       5/1/2024 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-01__705295_item-11_387052-11-
01 - 2024-05-31\check_images\79398             1000.00 USD.pdf                                47450      11/1/2022 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__715979_item-28_390482-28-
01 - 2024-05-31\check_images\79398             1000.00 USD.pdf                                46619     11/29/2022 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__730919_item-38_394097-38-
01 - 2024-05-31\check_images\79398             1000.00 USD.pdf                                48578       1/3/2023 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__746344_item-22_397521-22-
01 - 2024-05-31\check_images\79398             1000.00 USD.pdf                                47159        2/3/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__756907_item-34_400830-34-
01 - 2024-05-31\check_images\79398             1000.00 USD.pdf                               146283      2/28/2023 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__772481_item-34_404246-34-
01 - 2024-05-31\check_images\79398             1000.00 USD.pdf                                52324       4/3/2023 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__784796_item-33_407592-33-
01 - 2024-05-31\check_images\79398             1000.00 USD.pdf                                43583       5/2/2023 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__796752_item-12_410968-12-
01 - 2024-05-31\check_images\79398             1000.00 USD.pdf                                45096       5/31/2023 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__811383_item-30_414511-30-
01 - 2024-05-31\check_images\79398             1000.00 USD.pdf                                47077      6/30/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__825409_item-45_418034-45-
01 - 2024-05-31\check_images\79398             1000.00 USD.pdf                                57341       8/1/2023 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__839602_item-30_421794-30-
01 - 2024-05-31\check_images\79398             1000.00 USD.pdf                                52900       9/1/2023 10:17




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 6 of
                                       3467



               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__852947_item-41_425229-41-
01 - 2024-05-31\check_images\79398             1000.00 USD.pdf                                 50448       10/3/2023 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__867028_item-20_428675-20-
01 - 2024-05-31\check_images\79398             1000.00 USD.pdf                                 46010       11/3/2023 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__878351_item-38_432237-38-
01 - 2024-05-31\check_images\79398             1000.00 USD.pdf                                 43837     11/30/2023 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__892229_item-17_435844-17-
01 - 2024-05-31\check_images\79398             1000.00 USD.pdf                                 48057       1/3/2024 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__904944_item-41_439386-41-
01 - 2024-05-31\check_images\79398             1000.00 USD.pdf                                 43683      1/31/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__919741_item-28_442924-28-
01 - 2024-05-31\check_images\79398             1000.00 USD.pdf                                 42706        3/4/2024 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__932474_item-14_446342-14-
01 - 2024-05-31\check_images\79398             1000.00 USD.pdf                                 42483       4/2/2024 22:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__946377_item-12_449915-12-
01 - 2024-05-31\check_images\79398             1000.00 USD.pdf                                 48192       5/2/2024 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-04__653181_1000266524-37-2500.00
01 - 2024-05-31\check_images\79410             USD.pdf                                         70908       7/5/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-04__667681_1000273310-1-2500.00
01 - 2024-05-31\check_images\79410             USD.pdf                                         76202       8/5/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-04__680462_item-6_1000279419-6-
01 - 2024-05-31\check_images\79410             2500.00 USD.pdf                                 90675        9/6/2022 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-04__693375_item-20_1000285793-20-
01 - 2024-05-31\check_images\79410             2500.00 USD.pdf                                 71732       10/4/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-04__707315_item-11_1000292295-11-
01 - 2024-05-31\check_images\79410             2500.00 USD.pdf                                 74167       11/4/2022 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-04__718790_item-16_1000298562-16-
01 - 2024-05-31\check_images\79410             2500.00 USD.pdf                                 74543      12/5/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-04__734247_item-38_1000304965-38-
01 - 2024-05-31\check_images\79410             2500.00 USD.pdf                                 79208       1/9/2023 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-04__746074_item-5_1000311224-5-
01 - 2024-05-31\check_images\79410             2500.00 USD.pdf                                 76702        2/3/2023 8:40




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               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-04__759835_item-20_1000317505-20-
01 - 2024-05-31\check_images\79410             2500.00 USD.pdf                                 79613       3/6/2023 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-04__771930_item-14_1000323856-14-
01 - 2024-05-31\check_images\79410             2500.00 USD.pdf                                 71111       4/3/2023 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-04__789630_item-43_1000330387-43-
01 - 2024-05-31\check_images\79410             2500.00 USD.pdf                                 73676       5/11/2023 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-04__800847_item-4_1000339109-4-
01 - 2024-05-31\check_images\79410             2500.00 USD.pdf                                 72798        6/6/2023 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-04__812580_item-11_1000351408-11-
01 - 2024-05-31\check_images\79410             2500.00 USD.pdf                                 69913        7/3/2023 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-04__827843_item-29_1000361741-29-
01 - 2024-05-31\check_images\79410             2500.00 USD.pdf                                 78831       8/4/2023 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-04__840816_item-5_1000372198-5-
01 - 2024-05-31\check_images\79410             2500.00 USD.pdf                                 70073        9/5/2023 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-04__860171_item-6_1000382443-6-
01 - 2024-05-31\check_images\79410             2500.00 USD.pdf                                 73528      10/20/2023 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-04__871648_item-34_1000392292-34-
01 - 2024-05-31\check_images\79410             2500.00 USD.pdf                                 75989     11/14/2023 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-04__880180_item-30_1000402816-30-
01 - 2024-05-31\check_images\79410             2500.00 USD.pdf                                 74781       12/4/2023 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-04__894798_item-30_1000413394-30-
01 - 2024-05-31\check_images\79410             2500.00 USD.pdf                                 72440       1/8/2024 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-04__906574_item-16_1000423309-16-
01 - 2024-05-31\check_images\79410             2500.00 USD.pdf                                 81628       2/5/2024 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-04__920422_item-30_1000433381-30-
01 - 2024-05-31\check_images\79410             2500.00 USD.pdf                                 79900       3/5/2024 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-04__935412_item-24_1000443763-24-
01 - 2024-05-31\check_images\79410             2500.00 USD.pdf                                 71476       4/9/2024 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-04__947185_item-14_1000453177-14-
01 - 2024-05-31\check_images\79410             2500.00 USD.pdf                                 54048       5/6/2024 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-22__901915_item-30_147878824-30-
01 - 2024-05-31\check_images\79415             3984.38 USD.pdf                                 54987      1/26/2024 14:29




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-21__838958_Collections by
01 - 2024-05-31\check_images\79424             Securitization.pdf                      30469        8/31/2023 7:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-02__652925_Collections by
01 - 2024-05-31\check_images\79425             Securitization 06292022.pdf               3695      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-02__816072_Collections by
01 - 2024-05-31\check_images\79425             Securitization.pdf                      30706        7/11/2023 8:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-02__667926_Collections by
01 - 2024-05-31\check_images\79425             Securitization.pdf                        9203        8/8/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-02__680448_Collections by
01 - 2024-05-31\check_images\79425             Securitization.pdf                        8409        9/6/2022 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-02__693255_Collections by
01 - 2024-05-31\check_images\79425             Securitization.pdf                        8784       10/4/2022 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-02__708522_Collections by
01 - 2024-05-31\check_images\79425             Securitization.pdf                        9211       11/8/2022 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-02__722838_Collections by
01 - 2024-05-31\check_images\79425             Securitization.pdf                        9222      12/13/2022 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-02__736934_Collections by
01 - 2024-05-31\check_images\79425             Securitization.pdf                        9411       1/13/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-02__748362_Collections by
01 - 2024-05-31\check_images\79425             Securitization.pdf                        8766        2/9/2023 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-02__760099_Collections by
01 - 2024-05-31\check_images\79425             Securitization 03012023.pdf               3713      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-02__774410_Collections by
01 - 2024-05-31\check_images\79425             Securitization.pdf                        9949        4/6/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-02__787458_Collections by
01 - 2024-05-31\check_images\79425             Securitization.pdf                        9967        5/8/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-02__801998_Collections by
01 - 2024-05-31\check_images\79425             Securitization.pdf                        9411        6/8/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-02__822488_Collections by
01 - 2024-05-31\check_images\79425             Securitization 05312022.pdf               4255      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-02__827960_Collections by
01 - 2024-05-31\check_images\79425             Securitization.pdf                     185664         8/7/2023 8:28




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-02__842192_Collections by
01 - 2024-05-31\check_images\79425             Securitization 09012023.pdf               3500      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-02__855134_Collections by
01 - 2024-05-31\check_images\79425             Securitization.pdf                      32433      10/10/2023 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-02__866825_Collections by
01 - 2024-05-31\check_images\79425             Securitization.pdf                      31511        11/3/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-02__882210_Collections by
01 - 2024-05-31\check_images\79425             Securitization.pdf                      31102        12/8/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-02__895376_Collections by
01 - 2024-05-31\check_images\79425             Securitization.pdf                      31952         1/9/2024 7:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-02__908813_Collections by
01 - 2024-05-31\check_images\79425             Securitization.pdf                      31265         2/8/2024 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-02__919817_Collections by
01 - 2024-05-31\check_images\79425             Securitization.pdf                      32339         3/5/2024 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-02__934134_Collections by
01 - 2024-05-31\check_images\79425             Securitization.pdf                      31771         4/5/2024 7:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-02__946172_Collections by
01 - 2024-05-31\check_images\79425             Securitization 04292024.pdf             33919         5/2/2024 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-16__645357_Collections by
01 - 2024-05-31\check_images\79437             Securitization.pdf                        8790       6/16/2022 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-16__629958_Collections by
01 - 2024-05-31\check_images\79437             Securitization 05132022.pdf               8226       5/13/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-16__657594_Collections by
01 - 2024-05-31\check_images\79437             Securitization.pdf                        8408       7/14/2022 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-16__670288_Collections by
01 - 2024-05-31\check_images\79437             Securitization 08092022.pdf               2390      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-16__685804_Collections by
01 - 2024-05-31\check_images\79437             Securitization 09142022.pdf               2779      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-16__817674_Collections by
01 - 2024-05-31\check_images\79437             Securitization 05312022.pdf               4255      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-16__697895_Collections by
01 - 2024-05-31\check_images\79437             Securitization.pdf                        8813      10/14/2022 8:07




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-16__710712_Collections by
01 - 2024-05-31\check_images\79437             Securitization.pdf                        8604      11/15/2022 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-16__725083_Collections by
01 - 2024-05-31\check_images\79437             Securitization 12142022.pdf               2153      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-16__737179_Collections by
01 - 2024-05-31\check_images\79437             Securitization.pdf                        8606       1/17/2023 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-16__750867_Collections by
01 - 2024-05-31\check_images\79437             Securitization.pdf                        6306       2/15/2023 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-16__764092_Collections by
01 - 2024-05-31\check_images\79437             Securitization.pdf                        6307       3/15/2023 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-16__776957_Collections by
01 - 2024-05-31\check_images\79437             Securitization.pdf                        8591       4/13/2023 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-16__790019_Collections by
01 - 2024-05-31\check_images\79437             Securitization 05102023.pdf               3153      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-16__805423_Collections by
01 - 2024-05-31\check_images\79437             Securitization.pdf                      31629       6/16/2023 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-16__817592_Collections by
01 - 2024-05-31\check_images\79437             Securitization.pdf                      32183        7/13/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-16__833165_Collections by
01 - 2024-05-31\check_images\79437             Securitization.pdf                     181752        8/18/2023 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-16__845129_Collections by
01 - 2024-05-31\check_images\79437             Securitization.pdf                      30955        9/18/2023 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-16__859555_Collections by
01 - 2024-05-31\check_images\79437             Securitization.pdf                      28575       10/18/2023 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-16__874198_Collections by
01 - 2024-05-31\check_images\79437             Securitization.pdf                      29002       11/22/2023 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-16__885353_Collections by
01 - 2024-05-31\check_images\79437             Securitization 12132023.pdf             32493       12/18/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-16__899704_Collections by
01 - 2024-05-31\check_images\79437             Securitization.pdf                      31257        1/18/2024 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-16__911999_Collections by
01 - 2024-05-31\check_images\79437             Securitization.pdf                      28875        2/16/2024 7:39




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-16__924821_Collections by
01 - 2024-05-31\check_images\79437             Securitization.pdf                      30862        3/18/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-16__938762_Collections by
01 - 2024-05-31\check_images\79437             Securitization.pdf                        6308       4/17/2024 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-16__952488_Collections by
01 - 2024-05-31\check_images\79437             Securitization.pdf                      31993        5/20/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-15__701135_Collections by
01 - 2024-05-31\check_images\79447             Securitization.pdf                        8780      10/25/2022 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-15__713608_Collections by
01 - 2024-05-31\check_images\79447             Securitization.pdf                        8593      11/22/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-15__726955_Collections by
01 - 2024-05-31\check_images\79447             Securitization 1219022.pdf                2582      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-15__740616_Collections by
01 - 2024-05-31\check_images\79447             Securitization.pdf                        8208       1/24/2023 7:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-15__766100_Collections by
01 - 2024-05-31\check_images\79447             Securitization.pdf                        7953       3/21/2023 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-15__780326_Collections by
01 - 2024-05-31\check_images\79447             Securitization.pdf                        7954       4/24/2023 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-15__793119_Collections by
01 - 2024-05-31\check_images\79447             Securitization.pdf                        8787       5/22/2023 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-15__806431_Collections by
01 - 2024-05-31\check_images\79447             Securitization.pdf                      29583        6/21/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-15__820492_Collections by
01 - 2024-05-31\check_images\79447             Securitization.pdf                      30165        7/24/2023 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-15__834253_Collections by
01 - 2024-05-31\check_images\79447             Securitization.pdf                     182959        8/22/2023 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-15__834259_Collections by
01 - 2024-05-31\check_images\79447             Securitization.pdf                     182959        8/22/2023 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-15__847262_Collections by
01 - 2024-05-31\check_images\79447             Securitization.pdf                      29837        9/22/2023 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-15__860159_Collections by
01 - 2024-05-31\check_images\79447             Securitization 10172023.pdf               2772      10/9/2024 17:20




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 12 of
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-15__874197_Collections by
01 - 2024-05-31\check_images\79447             Securitization.pdf                            29002       11/22/2023 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-15__891983_Collections by
01 - 2024-05-31\check_images\79447             Securitization.pdf                            31844         1/3/2024 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-15__900311_Collections by
01 - 2024-05-31\check_images\79447             Securitization.pdf                            31424        1/22/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-15__914583_Collections by
01 - 2024-05-31\check_images\79447             Securitization.pdf                            30644        2/26/2024 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-15__926147_Collections by
01 - 2024-05-31\check_images\79447             Securitization.pdf                              6305       3/20/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-15__939714_Collections by
01 - 2024-05-31\check_images\79447             Securitization.pdf                            30991        4/22/2024 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-15__952487_Collections by
01 - 2024-05-31\check_images\79447             Securitization.pdf                            31993        5/20/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-03__905462_item-28_5268562-28-
01 - 2024-05-31\check_images\79520             15000.00 USD.pdf                              65758        2/1/2024 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-15__746866_item-6_23770036-6-
01 - 2024-05-31\check_images\79521             625.00 USD.pdf                                60023         2/6/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-15__748575_item-7_23773598-7-
01 - 2024-05-31\check_images\79521             625.00 USD.pdf                                55071        2/9/2023 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-15__760971_item-13_23816872-13-
01 - 2024-05-31\check_images\79521             625.00 USD.pdf                                56586        3/7/2023 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-15__775278_item-43_23861655-43-
01 - 2024-05-31\check_images\79521             625.00 USD.pdf                                57819       4/10/2023 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-15__788599_item-30_23903865-30-
01 - 2024-05-31\check_images\79521             625.00 USD.pdf                                58275        5/9/2023 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-15__802237_item-27_23947568-27-
01 - 2024-05-31\check_images\79521             625.00 USD.pdf                                63064        6/9/2023 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-15__814681_item-4_23988049-4-
01 - 2024-05-31\check_images\79521             625.00 USD.pdf                                60584        7/7/2023 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-15__828881_item-26_24030809-26-
01 - 2024-05-31\check_images\79521             625.00 USD.pdf                                58840         8/7/2023 9:01




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               All Paths/Locations                               Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-15__843060_item-25_24075015-25-
01 - 2024-05-31\check_images\79521             625.00 USD.pdf                                     59558      9/11/2023 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-15__854728_item-12_24115062-12-
01 - 2024-05-31\check_images\79521             625.00 USD.pdf                                     58957       10/6/2023 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-15__868649_item-28_24160847-28-
01 - 2024-05-31\check_images\79521             625.00 USD.pdf                                     58906       11/8/2023 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-15__882424_item-25_24206315-25-
01 - 2024-05-31\check_images\79521             625.00 USD.pdf                                     61880      12/8/2023 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-15__895102_item-43_24248778-43-
01 - 2024-05-31\check_images\79521             625.00 USD.pdf                                     62244       1/8/2024 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-15__909452_item-16_24298479-16-
01 - 2024-05-31\check_images\79521             625.00 USD.pdf                                     60415      2/12/2024 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-15__922610_item-32_24343479-32-
01 - 2024-05-31\check_images\79521             625.00 USD.pdf                                     55584      3/11/2024 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-15__935497_item-7_24388379-7-
01 - 2024-05-31\check_images\79521             625.00 USD.pdf                                     57787       4/9/2024 18:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-15__947944_item-1_24435096-1-
01 - 2024-05-31\check_images\79521             625.00 USD.pdf                                     61129       5/7/2024 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-30__810002_M and T Checks for 6 27
01 - 2024-05-31\check_images\79539             2023 II_Part2.pdf                                 348791      6/27/2023 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-30__826198_M and T Bank Checks for 7
01 - 2024-05-31\check_images\79539             31 2023_Part4.pdf                                 451721       8/1/2023 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-30__835305_M and T Check for 8 28
01 - 2024-05-31\check_images\79539             2023_Part3.pdf                                    402735       8/28/2023 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-30__853711_M and T Checks for 10 2
01 - 2024-05-31\check_images\79539             2023_Part3.pdf                                    413309      10/3/2023 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-30__864609_M and T Bank Checks for
01 - 2024-05-31\check_images\79539             10 31 2023_Part6.pdf                              403386     10/31/2023 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-30__878701_M and T Bank Checks for
01 - 2024-05-31\check_images\79539             12 1 2023_Part2.pdf                               410831       12/1/2023 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-30__890841_M and T Bank Check for 12
01 - 2024-05-31\check_images\79539             29 2023 II_Part2.pdf                              466183     12/29/2023 15:52




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-30__902201_MT Bank Checks for 1 29
01 - 2024-05-31\check_images\79539             2024 I_Part4.pdf                                  417333      1/29/2024 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-29__920060_M and T Bank Checks for 3
01 - 2024-05-31\check_images\79539             4 2024_Part6.pdf                                  409697       3/4/2024 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79539             2024-03-30__928851_C Jerry 03272024.pdf           407125       3/27/2024 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-30__941678_M and T Bank Checks for 4
01 - 2024-05-31\check_images\79539             25 2024.pdf                                       914153       4/26/2024 6:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79539             2024-05-30__954419_C Jerry 05242024.pdf           370363      5/24/2024 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-02__700252_9932_1000251680-8-
01 - 2024-05-31\check_images\79565             450.00 Rhonda Cowles.pdf                           73267      4/29/2022 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-02__700253_10108_1000258724-5-
01 - 2024-05-31\check_images\79565             450.00 Rhonda Cowles.pdf                           77331       6/1/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-02__700254_10276_1000265155-13-
01 - 2024-05-31\check_images\79565             450.00 Rhonda Cowles.pdf                           80409      6/29/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-02__700255_10439_1000271044-35-
01 - 2024-05-31\check_images\79565             468.00 Rhonda Cowles.pdf                           78904      7/29/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-02__700256_10578_1000278189
01 - 2024-05-31\check_images\79565             Rhonda Cowles.pdf                                 105616      8/31/2022 10:07
Saiph consulting|\Audit Materials Received-    2022-10-02__700257_10716_item-
SuttonPark\Check Images\Dorchester II 2021-01- 40_1000284795-40-468.00 USD Rhonda
01 - 2024-05-31\check_images\79565             Cowles.pdf                                         75075       10/3/2022 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-02__704089_item-24_1000290954-24-
01 - 2024-05-31\check_images\79565             468.00 USD.pdf                                     76410     10/31/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-02__718008_item-34_1000297357-34-
01 - 2024-05-31\check_images\79565             468.00 USD.pdf                                     77013      12/1/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-02__730628_item-18_1000303294-18-
01 - 2024-05-31\check_images\79565             468.00 USD.pdf                                     57040       1/3/2023 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-02__744196_item-28_1000310035-28-
01 - 2024-05-31\check_images\79565             468.00 USD.pdf                                     54811      1/31/2023 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-02__756022_item-7_1000316258-7-
01 - 2024-05-31\check_images\79565             468.00 USD.pdf                                     79477      2/27/2023 14:19




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               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-02__771022_item-31_1000322900-31-
01 - 2024-05-31\check_images\79565             468.00 USD.pdf                                  78688       3/31/2023 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-02__783085_item-30_1000328136-30-
01 - 2024-05-31\check_images\79565             468.00 USD.pdf                                  75843      4/28/2023 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-02__799702_item-18_1000337181-18-
01 - 2024-05-31\check_images\79565             468.00 USD.pdf                                  70073        6/2/2023 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-02__811420_item-41_1000349520-41-
01 - 2024-05-31\check_images\79565             468.00 USD.pdf                                  53922       6/30/2023 8:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-02__824103_item-8_1000359522-8-
01 - 2024-05-31\check_images\79565             486.72 USD.pdf                                  72712      7/31/2023 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-02__839220_item-10_1000369970-10-
01 - 2024-05-31\check_images\79565             486.72 USD.pdf                                  74040      8/31/2023 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-02__851263_item-11_1000379574-11-
01 - 2024-05-31\check_images\79565             486.72 USD.pdf                                  71879      9/29/2023 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-02__863528_item-11_1000390434-11-
01 - 2024-05-31\check_images\79565             486.72 USD.pdf                                  76807     10/30/2023 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-02__878857_item-6_1000399935-6-
01 - 2024-05-31\check_images\79565             486.72 USD.pdf                                  75111      12/1/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-02__891208_item-3_1000409864-3-
01 - 2024-05-31\check_images\79565             486.72 USD.pdf                                  54687       1/2/2024 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-02__906079_item-18_1000421218-18-
01 - 2024-05-31\check_images\79565             486.72 USD.pdf                                  80370        2/2/2024 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-02__918199_item-9_1000431264-9-
01 - 2024-05-31\check_images\79565             486.72 USD.pdf                                  80256        3/1/2024 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-02__931329_item-22_1000440501-22-
01 - 2024-05-31\check_images\79565             486.72 USD.pdf                                  54719       4/1/2024 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-02__944150_item-15_1000451392-15-
01 - 2024-05-31\check_images\79565             486.72 USD.pdf                                  80503      4/30/2024 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-01__639001_4491028138-40-290.00
01 - 2024-05-31\check_images\79571             USD.pdf                                         35997       6/1/2022 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-01__653404_4491037444-8-290.00
01 - 2024-05-31\check_images\79571             USD.pdf                                         33107       7/5/2022 10:31




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               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-01__667115_4491047414-41-290.00
01 - 2024-05-31\check_images\79571             USD.pdf                                         42298       8/3/2022 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-01__681147_item-13_4491056619-13-
01 - 2024-05-31\check_images\79571             290.00 USD.pdf                                  37116       9/6/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-01__693918_item-29_4491065456-29-
01 - 2024-05-31\check_images\79571             290.00 USD.pdf                                  46508       10/4/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-01__705840_item-40_4491074161-40-
01 - 2024-05-31\check_images\79571             290.00 USD.pdf                                  43566       11/2/2022 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__733824_item-44_4491092424-44-
01 - 2024-05-31\check_images\79571             890.18 USD.pdf                                  44020       1/6/2023 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__767938_item-1_4491117495-1-
01 - 2024-05-31\check_images\79571             890.18 USD.pdf                                  48617       3/27/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__767941_item-2_4491117496-2-
01 - 2024-05-31\check_images\79571             890.18 USD.pdf                                  50552       3/27/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__767957_item-3_4491117497-3-
01 - 2024-05-31\check_images\79571             290.00 USD.pdf                                  50821       3/27/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__772789_item-33_4491119782-33-
01 - 2024-05-31\check_images\79571             890.18 USD.pdf                                  41836       4/3/2023 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__804358_item-21_3780056681-21-
01 - 2024-05-31\check_images\79571             890.18 USD.pdf                                  94266       6/14/2023 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__811175_item-17_4491148635-17-
01 - 2024-05-31\check_images\79571             890.18 USD.pdf                                  41157      6/30/2023 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__813689_item-27_4491146937-27-
01 - 2024-05-31\check_images\79571             890.18 USD.pdf                                  41601       7/5/2023 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__827874_item-43_4491157004-43-
01 - 2024-05-31\check_images\79571             890.18 USD.pdf                                  47897       8/4/2023 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__841364_item-6_4491166328-6-
01 - 2024-05-31\check_images\79571             890.18 USD.pdf                                  40009       9/6/2023 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__854866_item-6_4491175165-6-
01 - 2024-05-31\check_images\79571             890.18 USD.pdf                                  46301      10/6/2023 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__957744_item-24_4491249286-24-
01 - 2024-05-31\check_images\79571             890.18 USD.pdf                                  38269      5/30/2024 15:18




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               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__880589_item-7_4491193338-7-
01 - 2024-05-31\check_images\79571             890.18 USD.pdf                                  45709      12/5/2023 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__894523_item-26_4491202974-26-
01 - 2024-05-31\check_images\79571             890.18 USD.pdf                                  41990       1/5/2024 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__905122_item-19_4491212713-19-
01 - 2024-05-31\check_images\79571             890.18 USD.pdf                                  72346        2/1/2024 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__919696_item-6_4491221525-6-
01 - 2024-05-31\check_images\79571             890.18 USD.pdf                                  39306        3/4/2024 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__932918_item-33_4491230649-33-
01 - 2024-05-31\check_images\79571             890.18 USD.pdf                                  46536        4/3/2024 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__945728_item-40_4491239506-40-
01 - 2024-05-31\check_images\79571             890.18 USD.pdf                                  39267       5/1/2024 15:10
Saiph consulting|\Audit Materials Received-    2022-10-01__693937_Pages from
SuttonPark\Check Images\Dorchester II 2021-01- IFTSBRW20221003_PHL-9582-
01 - 2024-05-31\check_images\79572             4052_100323P868.pdf                             53174      10/4/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-01__705788_item-18_4491073007-18-
01 - 2024-05-31\check_images\79572             1142.60 USD.pdf                                 41706       11/2/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__733791_item-21_4491091047-21-
01 - 2024-05-31\check_images\79572             1142.60 USD.pdf                                 43236       1/6/2023 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__768063_item-20_4491117261-20-
01 - 2024-05-31\check_images\79572             1142.60 USD.pdf                                 42575      3/27/2023 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__768066_item-21_4491117262-21-
01 - 2024-05-31\check_images\79572             1142.60 USD.pdf                                 43148      3/27/2023 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__768067_item-22_4491117263-22-
01 - 2024-05-31\check_images\79572             1142.60 USD.pdf                                 44515      3/27/2023 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__773042_item-5_4491118642-5-
01 - 2024-05-31\check_images\79572             1142.60 USD.pdf                                 43353       4/3/2023 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__813497_item-43_4491145566-43-
01 - 2024-05-31\check_images\79572             1142.60 USD.pdf                                 44018       7/5/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__800200_item-9_3780056615-9-
01 - 2024-05-31\check_images\79572             1142.60 USD.pdf                                 39234       6/5/2023 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__807932_item-6_4491144057-6-
01 - 2024-05-31\check_images\79572             1142.60 USD.pdf                                 42859      6/26/2023 12:17




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__827784_item-10_4491155696-10-
01 - 2024-05-31\check_images\79572             1142.60 USD.pdf                                 48514        8/4/2023 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__841623_item-17_4491165190-17-
01 - 2024-05-31\check_images\79572             1142.60 USD.pdf                                 41793       9/6/2023 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__854762_item-16_4491174012-16-
01 - 2024-05-31\check_images\79572             1142.60 USD.pdf                                 41084       10/6/2023 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__957630_item-2_4491249264-2-
01 - 2024-05-31\check_images\79572             1142.60 USD.pdf                                 37592      5/30/2024 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__881469_item-16_4491192143-16-
01 - 2024-05-31\check_images\79572             1142.60 USD.pdf                                 44784       12/6/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__894397_item-32_4491201634-32-
01 - 2024-05-31\check_images\79572             1142.60 USD.pdf                                 41639       1/5/2024 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__905295_item-31_4491211569-31-
01 - 2024-05-31\check_images\79572             1142.60 USD.pdf                                 43783       2/1/2024 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__919653_item-17_4491220355-17-
01 - 2024-05-31\check_images\79572             1142.60 USD.pdf                                 43441        3/4/2024 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__933094_item-1_4491229513-1-
01 - 2024-05-31\check_images\79572             1142.60 USD.pdf                                 44543        4/3/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__945455_item-7_4491238342-7-
01 - 2024-05-31\check_images\79572             1142.60 USD.pdf                                 39256       5/1/2024 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79644             2023-06-05__798557_3675332 15000.00.pdf        391777       6/1/2023 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__733342_item-16_33559016-16-
01 - 2024-05-31\check_images\79792             1797.53 USD.pdf                                 90065       1/5/2023 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__743613_item-8_33586833-8-
01 - 2024-05-31\check_images\79792             1797.53 USD.pdf                                 94872      1/30/2023 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__756212_item-24_33614321-24-
01 - 2024-05-31\check_images\79792             1797.53 USD.pdf                                 92687      2/27/2023 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__771263_item-20_33642073-20-
01 - 2024-05-31\check_images\79792             1797.53 USD.pdf                                 93609      3/31/2023 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__784562_item-41_33669063-41-
01 - 2024-05-31\check_images\79792             1797.53 USD.pdf                                 75056       5/1/2023 13:13




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 19 of
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               All Paths/Locations                              Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__796631_item-25_33694958-25-
01 - 2024-05-31\check_images\79792             1797.53 USD.pdf                                 94106      5/30/2023 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__810996_item-31_33722199-31-
01 - 2024-05-31\check_images\79792             1797.53 USD.pdf                                 97458      6/29/2023 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__823853_item-35_33751221-35-
01 - 2024-05-31\check_images\79792             1797.53 USD.pdf                                 95157      7/31/2023 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__839099_item-22_33778912-22-
01 - 2024-05-31\check_images\79792             1797.53 USD.pdf                                 92033      8/31/2023 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__852294_item-24_33804245-24-
01 - 2024-05-31\check_images\79792             1797.53 USD.pdf                                 92100      10/2/2023 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__863910_item-6_33830536-6-
01 - 2024-05-31\check_images\79792             1797.53 USD.pdf                                 90150     10/30/2023 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__880125_item-14_33859103-14-
01 - 2024-05-31\check_images\79792             1797.53 USD.pdf                                 95532       12/4/2023 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__891344_item-39_33896809-39-
01 - 2024-05-31\check_images\79792             1797.53 USD.pdf                                 96317       1/2/2024 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__904279_item-6_33923768-6-
01 - 2024-05-31\check_images\79792             1797.53 USD.pdf                                 92403      1/30/2024 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__916029_item-9_33949735-9-
01 - 2024-05-31\check_images\79792             1797.53 USD.pdf                                 56628      2/26/2024 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__929680_item-24_33978993-24-
01 - 2024-05-31\check_images\79792             1797.53 USD.pdf                                 56143      3/28/2024 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__942012_item-21_34003323-21-
01 - 2024-05-31\check_images\79792             1797.53 USD.pdf                                 57692      4/26/2024 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79796             2024-05-06__947818_5293276 67554.03.pdf        367612       5/7/2024 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-09__761053_item-15_4491112619-15-
01 - 2024-05-31\check_images\79802             10000.00 USD.pdf                                37721        3/8/2023 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-01__667160_5115432-15-2500.00
01 - 2024-05-31\check_images\79831             USD.pdf                                         60239        8/4/2022 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__743866_item-1_5168637-1-
01 - 2024-05-31\check_images\79831             2500.00 USD.pdf                                 79110       1/31/2023 9:02




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               All Paths/Locations                              Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__824065_item-20_5217961-20-
01 - 2024-05-31\check_images\79831             2500.00 USD.pdf                               74847      7/31/2023 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__905036_item-33_5267540-33-
01 - 2024-05-31\check_images\79831             2500.00 USD.pdf                               79136      1/31/2024 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__821730_item-15_496064-15-
01 - 2024-05-31\check_images\79924             13003.96 USD.pdf                              35880       7/26/2023 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__837252_item-39_498465-39-
01 - 2024-05-31\check_images\79924             13003.96 USD.pdf                              35234      8/29/2023 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__849008_item-21_500631-21-
01 - 2024-05-31\check_images\79924             13003.96 USD.pdf                              39293       9/25/2023 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__862437_item-34_502871-34-
01 - 2024-05-31\check_images\79924             13003.96 USD.pdf                              41812     10/27/2023 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__875020_item-34_505168-34-
01 - 2024-05-31\check_images\79924             13003.96 USD.pdf                              42615     11/27/2023 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__888759_item-35_507395-35-
01 - 2024-05-31\check_images\79924             13003.96 USD.pdf                              38179      12/26/2023 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__903172_item-4_509795-4-
01 - 2024-05-31\check_images\79924             13003.96 USD.pdf                              33441       1/29/2024 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__915070_item-36_512084-36-
01 - 2024-05-31\check_images\79924             13003.96 USD.pdf                              40255      2/26/2024 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__928065_item-41_514253-41-
01 - 2024-05-31\check_images\79924             13003.96 USD.pdf                              37989      3/25/2024 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__942200_item-17_516468-17-
01 - 2024-05-31\check_images\79924             13003.96 USD.pdf                              34186       4/29/2024 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__811739_item-12_42144580-12-
01 - 2024-05-31\check_images\79942             25000.00 USD.pdf                              69185        7/3/2023 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-01__657341_10299_41490003-42-
01 - 2024-05-31\check_images\80389             500.00 USD.pdf                                68130        7/5/2022 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-01__666499_41542431-24-500.00
01 - 2024-05-31\check_images\80389             USD.pdf                                       70788       8/3/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-01__681689_item-9_41600649-9-
01 - 2024-05-31\check_images\80389             500.00 USD.pdf                                71068        9/6/2022 9:19




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 21 of
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               All Paths/Locations                             Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-01__694089_item-17_41653959-17-
01 - 2024-05-31\check_images\80389             500.00 USD.pdf                                70684      10/4/2022 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-01__707111_item-1_41706526-1-
01 - 2024-05-31\check_images\80389             500.00 USD.pdf                                70108      11/3/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__721520_item-26_41760526-26-
01 - 2024-05-31\check_images\80389             500.00 USD.pdf                                74462      12/8/2022 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__731331_item-22_41813823-22-
01 - 2024-05-31\check_images\80389             500.00 USD.pdf                                72304        1/4/2023 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__747202_item-12_41870336-12-
01 - 2024-05-31\check_images\80389             500.00 USD.pdf                                67351       2/6/2023 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__759587_item-19_41923503-19-
01 - 2024-05-31\check_images\80389             500.00 USD.pdf                                65577       3/6/2023 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__773367_item-22_41981391-22-
01 - 2024-05-31\check_images\80389             500.00 USD.pdf                                65234       4/4/2023 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__787100_item-7_42033691-7-
01 - 2024-05-31\check_images\80389             500.00 USD.pdf                                67222        5/5/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__800925_item-2_42091609-2-
01 - 2024-05-31\check_images\80389             500.00 USD.pdf                                72861        6/6/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__813190_item-6_42144609-6-
01 - 2024-05-31\check_images\80389             500.00 USD.pdf                                67469        7/5/2023 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__826443_item-1_42195814-1-
01 - 2024-05-31\check_images\80389             500.00 USD.pdf                                74703        8/2/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__841064_item-19_42250633-19-
01 - 2024-05-31\check_images\80389             500.00 USD.pdf                                71724        9/5/2023 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__853794_item-10_42301474-10-
01 - 2024-05-31\check_images\80389             500.00 USD.pdf                                69044       10/4/2023 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__866417_item-15_42355916-15-
01 - 2024-05-31\check_images\80389             500.00 USD.pdf                                73965      11/1/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__879069_item-13_42408027-13-
01 - 2024-05-31\check_images\80389             500.00 USD.pdf                                69676       12/4/2023 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__893617_item-36_42459319-36-
01 - 2024-05-31\check_images\80389             500.00 USD.pdf                                69804       1/3/2024 18:28




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               All Paths/Locations                              Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__906046_item-8_42516099-8-
01 - 2024-05-31\check_images\80389             500.00 USD.pdf                                  81330        2/2/2024 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__920518_item-7_42569294-7-
01 - 2024-05-31\check_images\80389             500.00 USD.pdf                                  70674       3/5/2024 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__933465_item-24_42620600-24-
01 - 2024-05-31\check_images\80389             500.00 USD.pdf                                  74149       4/3/2024 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__947576_item-13_42676195-13-
01 - 2024-05-31\check_images\80389             500.00 USD.pdf                                  73261       5/6/2024 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-29__927998_item-39_5282447-39-
01 - 2024-05-31\check_images\80568             30000.00 USD.pdf                                78709      3/25/2024 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-27__740170_item-43_4302247984-43-
01 - 2024-05-31\check_images\81374             570.00 USD.pdf                                  95188       1/23/2023 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-27__752139_item-16_4302257549-16-
01 - 2024-05-31\check_images\81374             570.00 USD.pdf                                  80942      2/17/2023 19:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-27__766203_item-32_4302267064-32-
01 - 2024-05-31\check_images\81374             570.00 USD.pdf                                  83617      3/21/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-27__779669_item-12_4302276631-12-
01 - 2024-05-31\check_images\81374             570.00 USD.pdf                                  88686       4/20/2023 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-27__793854_item-17_4302286043-17-
01 - 2024-05-31\check_images\81374             570.00 USD.pdf                                  87418      5/22/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-27__806274_item-42_4302295476-42-
01 - 2024-05-31\check_images\81374             570.00 USD.pdf                                  88216      6/20/2023 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\81374             2023-07-27__821382_570.00.pdf                   87239       7/25/2023 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-27__834387_item-23_4302314103-23-
01 - 2024-05-31\check_images\81374             880.00 USD.pdf                                  84194      8/22/2023 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-27__848758_item-18_4302323499-18-
01 - 2024-05-31\check_images\81374             880.00 USD.pdf                                  91154      9/25/2023 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-27__861231_item-38_4302332692-38-
01 - 2024-05-31\check_images\81374             880.00 USD.pdf                                  91877     10/24/2023 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-27__874351_item-35_4302341852-35-
01 - 2024-05-31\check_images\81374             880.00 USD.pdf                                  87173     11/22/2023 11:11




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 23 of
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               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-27__887636_item-10_4302350985-10-
01 - 2024-05-31\check_images\81374             880.00 USD.pdf                                  70179     12/21/2023 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-27__901807_item-5_4302360078-5-
01 - 2024-05-31\check_images\81374             880.00 USD.pdf                                  66467      1/26/2024 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-27__913065_item-4_4302369165-4-
01 - 2024-05-31\check_images\81374             880.00 USD.pdf                                  71256      2/20/2024 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-27__926625_item-36_4302378155-36-
01 - 2024-05-31\check_images\81374             880.00 USD.pdf                                  74383      3/21/2024 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-27__940633_item-3_4302387071-3-
01 - 2024-05-31\check_images\81374             880.00 USD.pdf                                  74855      4/23/2024 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-27__952661_item-36_4302395970-36-
01 - 2024-05-31\check_images\81374             880.00 USD.pdf                                  67095      5/20/2024 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-13__778071_item-43_41998306-43-
01 - 2024-05-31\check_images\81394             3200.00 USD.pdf                                 68419      4/17/2023 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-13__859421_item-7_42319713-7-
01 - 2024-05-31\check_images\81394             3200.00 USD.pdf                                 67402     10/17/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-13__939514_item-37_42640245-37-
01 - 2024-05-31\check_images\81394             3200.00 USD.pdf                                 76838       4/18/2024 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__824070_item-21_5217971-21-
01 - 2024-05-31\check_images\81412             2500.00 USD.pdf                                 76121      7/31/2023 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__905046_item-43_5267514-43-
01 - 2024-05-31\check_images\81412             2500.00 USD.pdf                                 68367      1/31/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__747062_item-27_3577952-27-
01 - 2024-05-31\check_images\81415             1767.50 USD.pdf                                 38043        2/6/2023 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__747063_item-27_3577952-27-
01 - 2024-05-31\check_images\81415             1767.50 USD.pdf                                 38043        2/6/2023 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__754996_item-42_3584534-42-
01 - 2024-05-31\check_images\81415             883.75 USD.pdf                                  33718      2/24/2023 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__768647_item-21_3615499-21-
01 - 2024-05-31\check_images\81415             883.75 USD.pdf                                  41264       3/27/2023 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__781361_item-29_3645345-29-
01 - 2024-05-31\check_images\81415             883.75 USD.pdf                                  34482      4/24/2023 10:10




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               All Paths/Locations                             Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__795155_item-30_3674367-30-
01 - 2024-05-31\check_images\81415             883.75 USD.pdf                                   34840       5/26/2023 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__807833_item-32_3697373-32-
01 - 2024-05-31\check_images\81415             883.75 USD.pdf                                   34586      6/26/2023 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__822132_item-23_3719876-23-
01 - 2024-05-31\check_images\81415             883.75 USD.pdf                                   32946      7/26/2023 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__837195_item-28_3741101-28-
01 - 2024-05-31\check_images\81415             883.75 USD.pdf                                   34116      8/29/2023 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__848644_item-25_3757838-25-
01 - 2024-05-31\check_images\81415             883.75 USD.pdf                                   37862       9/25/2023 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__862420_item-30_3773934-30-
01 - 2024-05-31\check_images\81415             883.75 USD.pdf                                   44372     10/27/2023 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__875247_item-31_3787832-31-
01 - 2024-05-31\check_images\81415             883.75 USD.pdf                                   37544     11/27/2023 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__888514_item-45_3801538-45-
01 - 2024-05-31\check_images\81415             883.75 USD.pdf                                   37948      12/26/2023 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__904061_item-37_3815518-37-
01 - 2024-05-31\check_images\81415             883.75 USD.pdf                                   33562      1/30/2024 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__915413_item-41_3829133-41-
01 - 2024-05-31\check_images\81415             883.75 USD.pdf                                   33353       2/26/2024 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__928376_item-41_3836351-41-
01 - 2024-05-31\check_images\81415             883.75 USD.pdf                                   36237      3/26/2024 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__942131_item-5_3843814-5-883.75
01 - 2024-05-31\check_images\81415             USD.pdf                                          33774       4/29/2024 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__733822_item-44_4491092424-44-
01 - 2024-05-31\check_images\81443             890.18 USD.pdf                                   44020       1/6/2023 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__767933_item-1_4491117495-1-
01 - 2024-05-31\check_images\81443             890.18 USD.pdf                                   48617       3/27/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__767936_item-2_4491117496-2-
01 - 2024-05-31\check_images\81443             890.18 USD.pdf                                   50552       3/27/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__772792_item-33_4491119782-33-
01 - 2024-05-31\check_images\81443             890.18 USD.pdf                                   41836       4/3/2023 16:37




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__804359_item-21_3780056681-21-
01 - 2024-05-31\check_images\81443             890.18 USD.pdf                                  94266       6/14/2023 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__811177_item-17_4491148635-17-
01 - 2024-05-31\check_images\81443             890.18 USD.pdf                                  41157      6/30/2023 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__813691_item-27_4491146937-27-
01 - 2024-05-31\check_images\81443             890.18 USD.pdf                                  41601       7/5/2023 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__827875_item-43_4491157004-43-
01 - 2024-05-31\check_images\81443             890.18 USD.pdf                                  47897       8/4/2023 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__841365_item-6_4491166328-6-
01 - 2024-05-31\check_images\81443             890.18 USD.pdf                                  40009       9/6/2023 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__854867_item-6_4491175165-6-
01 - 2024-05-31\check_images\81443             890.18 USD.pdf                                  46301      10/6/2023 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__957746_item-24_4491249286-24-
01 - 2024-05-31\check_images\81443             890.18 USD.pdf                                  38269      5/30/2024 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__880572_item-7_4491193338-7-
01 - 2024-05-31\check_images\81443             890.18 USD.pdf                                  45709      12/5/2023 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__894524_item-26_4491202974-26-
01 - 2024-05-31\check_images\81443             890.18 USD.pdf                                  41990       1/5/2024 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__905126_item-19_4491212713-19-
01 - 2024-05-31\check_images\81443             890.18 USD.pdf                                  72346        2/1/2024 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__919695_item-6_4491221525-6-
01 - 2024-05-31\check_images\81443             890.18 USD.pdf                                  39306        3/4/2024 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__932912_item-33_4491230649-33-
01 - 2024-05-31\check_images\81443             890.18 USD.pdf                                  46536        4/3/2024 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__945731_item-40_4491239506-40-
01 - 2024-05-31\check_images\81443             890.18 USD.pdf                                  39267       5/1/2024 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-10__857628_item-5_11058072-5-
01 - 2024-05-31\check_images\81468             565.66 USD.pdf                                 168276     10/13/2023 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-10__870782_item-5_11064001-5-
01 - 2024-05-31\check_images\81468             565.66 USD.pdf                                 155342      11/14/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-10__883674_item-43_11070994-43-
01 - 2024-05-31\check_images\81468             565.66 USD.pdf                                 179632     12/12/2023 12:33




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-10__897129_item-44_11080185-44-
01 - 2024-05-31\check_images\81468              565.66 USD.pdf                                  152156       1/12/2024 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-10__910812_item-7_11086353-7-
01 - 2024-05-31\check_images\81468              565.66 USD.pdf                                  156942       2/13/2024 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-10__924067_item-22_11092394-22-
01 - 2024-05-31\check_images\81468              565.66 USD.pdf                                  151677        3/14/2024 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-10__937069_item-28_11098663-28-
01 - 2024-05-31\check_images\81468              565.66 USD.pdf                                   81948       4/15/2024 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-10__949518_item-11_11104306-11-
01 - 2024-05-31\check_images\81468              565.66 USD.pdf                                  152858       5/13/2024 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31                                 Deal ID List.csv                                 10897       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31                                 job_details.txt                                     238      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31                                 Payment Streams.csv                             109097       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31                                 Payments Received.csv                           374899       10/9/2024 20:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-01-01__414842_4302033600-11-
01 - 2024-05-31\check_images\3794               300.00.pdf                                       87847      12/28/2020 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\3794               2021-02-01__427466_4302044586-9-300.00.pdf       88624       1/26/2021 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-03-01__438645_4302055247-44-
01 - 2024-05-31\check_images\3794               300.00.pdf                                       85831       2/23/2021 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\3794               2021-04-01__451802_4302066252-3-300.00.pdf       83203       3/29/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-05-01__463525_4302076728-45-
01 - 2024-05-31\check_images\3794               300.00.pdf                                       86258       4/27/2021 20:18




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-06-01__474585_4302087339-17-
01 - 2024-05-31\check_images\3794               300.00.pdf                                    85479      5/26/2021 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-07-01__486210_4302097327-9-300.00
01 - 2024-05-31\check_images\3794               USD.pdf                                       35973      6/25/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-08-01__498363_4302108220-20-300.00
01 - 2024-05-31\check_images\3794               USD.pdf                                       80670      7/26/2021 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-09-01__513329_4302118692-39-300.00
01 - 2024-05-31\check_images\3794               USD.pdf                                       89614      8/25/2021 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-10-01__528086_4302128776-20-300.00
01 - 2024-05-31\check_images\3794               USD.pdf                                       85962      9/27/2021 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-11-01__540212_4302138985-1-300.00
01 - 2024-05-31\check_images\3794               USD.pdf                                       87994     10/27/2021 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-12-01__552404_4302149133-32-300.00
01 - 2024-05-31\check_images\3794               USD.pdf                                       83598     11/23/2021 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-01-01__568057_4302159267-35-300.00
01 - 2024-05-31\check_images\3794               USD.pdf                                       86960     12/30/2021 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-02-01__580811_4302169431-5-300.00
01 - 2024-05-31\check_images\3794               USD.pdf                                       87831       2/1/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-03-01__609122_4302179109-15-300.00
01 - 2024-05-31\check_images\3794               USD.pdf                                       90560      3/30/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-01__606387_4302189039-6-300.00
01 - 2024-05-31\check_images\3794               USD.pdf                                       82312      3/28/2022 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-01__620744_4302198503-5-300.00
01 - 2024-05-31\check_images\3794               USD.pdf                                       87429       4/25/2022 6:06




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 28 of
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-01__633659_4302208371-8-300.00
01 - 2024-05-31\check_images\3794               USD.pdf                                        111113      5/23/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-01__649399_4302217871-31-300.00
01 - 2024-05-31\check_images\3794               USD.pdf                                        126024      6/27/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-01__661816_4302227501-31-300.00
01 - 2024-05-31\check_images\3794               USD.pdf                                         71942       7/26/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-01__675153_4302237016-13-300.00
01 - 2024-05-31\check_images\3794               USD.pdf                                         71437      8/25/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-01__689428_item-26_4302246183-26-
01 - 2024-05-31\check_images\3794               300.00 USD.pdf                                 116726      9/27/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-01__701632_item-39_4302255694-39-
01 - 2024-05-31\check_images\3794               300.00 USD.pdf                                  84518     10/24/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-01__714211_item-5_4302264979-5-
01 - 2024-05-31\check_images\3794               300.00 USD.pdf                                  75663     11/22/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__727236_item-32_4302274140-32-
01 - 2024-05-31\check_images\3794               300.00 USD.pdf                                  69303     12/22/2022 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__740600_item-32_4302283692-32-
01 - 2024-05-31\check_images\3794               300.00 USD.pdf                                  82430      1/23/2023 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__753578_item-42_4302292659-42-
01 - 2024-05-31\check_images\3794               300.00 USD.pdf                                  83489      2/22/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__768658_item-24_4302301841-24-
01 - 2024-05-31\check_images\3794               300.00 USD.pdf                                  84198      3/27/2023 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__780948_item-39_4302310830-39-
01 - 2024-05-31\check_images\3794               300.00 USD.pdf                                  86794      4/24/2023 15:22




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 29 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__796284_item-11_4302319883-11-
01 - 2024-05-31\check_images\3794               300.00 USD.pdf                                  93404      5/30/2023 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__809571_item-16_4302328619-16-
01 - 2024-05-31\check_images\3794               300.00 USD.pdf                                  82437      6/27/2023 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__824376_item-31_4302337612-31-
01 - 2024-05-31\check_images\3794               300.00 USD.pdf                                  89298      7/31/2023 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__837029_item-13_4302346325-13-
01 - 2024-05-31\check_images\3794               300.00 USD.pdf                                  82238       8/29/2023 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__850771_item-17_4302354769-17-
01 - 2024-05-31\check_images\3794               300.00 USD.pdf                                  81556      9/28/2023 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__862225_item-45_4302363723-45-
01 - 2024-05-31\check_images\3794               300.00 USD.pdf                                  62686      10/26/2023 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__876389_item-9_4302372332-9-
01 - 2024-05-31\check_images\3794               300.00 USD.pdf                                  82318     11/28/2023 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__889034_item-35_4302380724-35-
01 - 2024-05-31\check_images\3794               300.00 USD.pdf                                  68778     12/26/2023 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__902241_item-20_4302389701-20-
01 - 2024-05-31\check_images\3794               300.00 USD.pdf                                  89477       1/29/2024 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__917618_item-36_4302398139-36-
01 - 2024-05-31\check_images\3794               300.00 USD.pdf                                  76575       2/29/2024 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__928220_item-22_4302406605-22-
01 - 2024-05-31\check_images\3794               300.00 USD.pdf                                 111786       3/26/2024 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__941447_item-6_4302415160-6-
01 - 2024-05-31\check_images\3794               300.00 USD.pdf                                  74954      4/25/2024 10:36




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\67542              2021-04-20__500818_splcss III 7-30-2021.pdf       97284      7/30/2021 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\67542              2021-05-20__566851_splcss II 12-29-2021.pdf      232803     12/29/2021 22:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\67542              2021-06-20__516732_Mila.pdf                       62464      8/31/2021 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-07-20__524602_DRB Old Payments 9-17-
01 - 2024-05-31\check_images\67542              2021.pdf                                         188999      9/17/2021 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-08-20__513487_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 08-25-2021.pdf                  160923      8/25/2021 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-09-20__526656_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 09-22-2021.pdf                  192565      9/22/2021 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-10-20__538748_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 10-20-2021.pdf                  186752     10/20/2021 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-11-20__550647_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 11-17-2021.pdf                  179641     11/17/2021 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-12-20__564641_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 12-22-2021.pdf                  190296     12/22/2021 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-01-20__575950_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 01-19-2022.pdf                  198404      1/19/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-02-20__589728_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 02-23-2022.pdf                  170725      2/23/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-20__619647_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 04-20-2022.pdf                  180879      4/20/2022 15:19




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 31 of
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               All Paths/Locations                              Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-20__634943_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 5-25-2022.pdf            157181      5/25/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-20__647511_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 6-22-2022.pdf            188411      6/22/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-20__660125_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 7-20-2022.pdf            192303      7/20/2022 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-20__674594_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 8-24-2022.pdf            156062      8/24/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-20__687245_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 9-21-2022.pdf            185984      9/21/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-20__726761_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 12-21-2022.pdf           205972     12/21/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-20__739167_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 1-18-2023.pdf            215009      1/18/2023 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-20__751443_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 2-15-2023.pdf            195089      2/15/2023 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-20__766758_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 3-22-2023.pdf            171363      3/22/2023 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-20__779590_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 4-19-2023.pdf            179337      4/19/2023 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-20__792587_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 5-17-2023.pdf            191198      5/17/2023 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-20__807240_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 6-21-2023.pdf            187448      6/21/2023 12:09




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-20__822002_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 7-26-2023.pdf                 145522      7/26/2023 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-20__834946_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 8-23-2023.pdf                 170224      8/23/2023 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-20__847139_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 9-20-2023.pdf                 186661      9/20/2023 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-20__874655_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 11-22-2023.pdf                145529     11/22/2023 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-20__887516_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 12-20-2023.pdf                197646     12/20/2023 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-20__899633_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 1-17-2024.pdf                 188534      1/17/2024 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-20__914221_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 2-21-2024.pdf                 188853      2/21/2024 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-20__926514_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 3-20-2024.pdf                 161334      3/20/2024 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-20__941170_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 4-24-2024.pdf                 162996      4/24/2024 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-20__954017_DRB Check Booking
01 - 2024-05-31\check_images\67542              Template Updated 5-22-2024.pdf                 175513      5/22/2024 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-28__941219_DRB Check Booking
01 - 2024-05-31\check_images\69608              Template Updated 4-24-2024.pdf                 162996      4/24/2024 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\69673              2021-04-01__507377_nala 4-2021 checks.pdf      257992      8/14/2021 18:37




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               All Paths/Locations                              Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\69673              2021-05-01__509471_nala 5-2021 checks.pdf         217977      8/16/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-06-01__516454_Drb payments part 1 8-31-
01 - 2024-05-31\check_images\69673              2021.pdf                                           74554      8/31/2021 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-07-01__523965_DRB Old Payments 9-17-
01 - 2024-05-31\check_images\69673              2021.pdf                                          188999      9/17/2021 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-08-01__524924_DRB Old Payments 9-17-
01 - 2024-05-31\check_images\69673              2021.pdf                                          188999      9/17/2021 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-09-01__520663_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 09-08-2021.pdf                   208178       9/8/2021 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-10-01__533983_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 10-06-2021.pdf                   238482      10/6/2021 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-11-01__544676_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 11-03-2021.pdf                   211151      11/3/2021 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-12-01__559071_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 12-08-2021.pdf                   181678      12/8/2021 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-01-01__570025_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 01-05-2022.pdf                   193092       1/5/2022 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-02-01__585294_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 02-09-2022.pdf                   191569       2/9/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-03-01__596117_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 03-09-2022.pdf                   229139       3/9/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-01__613502_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 04-06-2022.pdf                   208191       4/6/2022 16:04




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               All Paths/Locations                              Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-01__629241_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 5-11-2022.pdf            193228      5/11/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-01__647167_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 6-22-2022.pdf            188411      6/22/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-01__654730_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 7-06-2022.pdf            233409       7/6/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-01__666776_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 8-3-2022.pdf             197412       8/3/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-01__682171_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 9-7-2022.pdf             196534       9/7/2022 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-01__706523_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 11-02-2022.pdf           190649      11/2/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-01__717469_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 11-30-2022.pdf           151904     11/30/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__736034_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 1-11-2023.pdf            219221      1/11/2023 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__748076_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 2-8-2023.pdf             263071       2/8/2023 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__761334_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 3-8-2023.pdf             233288       3/8/2023 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__774161_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 4-5-2023.pdf             225330       4/5/2023 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__786451_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 5-03-2023.pdf            186899       5/3/2023 13:48




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 35 of
                                        3467



               All Paths/Locations                              Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__797699_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 5-31-2023.pdf              153983      5/31/2023 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__814061_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 7-5-2023.pdf               230892       7/5/2023 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__829929_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 8-9-2023.pdf               212058       8/9/2023 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__842010_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 9-06-2023.pdf              214600       9/6/2023 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__854377_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 10-04-2023.pdf             202783      10/4/2023 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__881845_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 12-06-2023.pdf             193382      12/6/2023 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__896546_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 1-10-2024.pdf              188175      1/10/2024 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__921224_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 3-06-2024.pdf              210889       3/6/2024 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__933614_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 4-03-2024.pdf              204241       4/3/2024 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__945589_DRB Check Booking
01 - 2024-05-31\check_images\69673              Template Updated 5-01-2024.pdf              196497       5/1/2024 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-10-01__566152_Dorchester 12-29-
01 - 2024-05-31\check_images\70582              2021.pdf                                    142763     12/29/2021 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582              2021-11-01__578438_90day 1.25.2022.pdf      112148      1/25/2022 12:38




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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582              2021-12-01__608138_90day float 3-29-2022.pdf       88526      3/29/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-01-01__621054_90 day floats 4-25-
01 - 2024-05-31\check_images\70582              2022.pdf                                           83472      4/25/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582              RE: Concentration IN - 01.24.2024                 280576      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582              RE: Concentration IN - 01.24.2024                 280576      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582              RE: Concentration IN - 01.24.2024                 280576      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582              RE: Concentration IN - 01.24.2024                 280576      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582              RE: Concentration IN - 01.24.2024                 280576      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582              RE: Concentration IN - 01.24.2024                 280576      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582              RE: Concentration IN - 01.24.2024                 280576      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582              RE: Concentration IN - 01.24.2024                 280576      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582              RE: Concentration IN - 01.24.2024                 280576      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582              RE: Concentration IN - 01.24.2024                 280576      1/26/2024 15:54




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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582              RE: Concentration IN - 01.24.2024               280576      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__907505_$500 Thomas Belanger ID
01 - 2024-05-31\check_images\70582              70582.pdf                                       105927       2/5/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__912001_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582              02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__912003_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582              02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__912004_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582              02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__912005_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582              02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__912007_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582              02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__912010_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582              02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__912012_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582              02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__912013_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582              02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__912014_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582              02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__912016_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582              02122024.pdf                                    180902       2/16/2024 8:23




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582              RE: Concentration IN - 01.24.2024              280576      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__912020_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582              02122024.pdf                                   180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__912021_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582              02122024.pdf                                   180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__912024_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582              02122024.pdf                                   180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__912027_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582              02122024.pdf                                   180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__903097_item-18_4302389613-18-
01 - 2024-05-31\check_images\71089              518.00 USD.pdf                                  89288       1/29/2024 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__917529_item-15_4302398053-15-
01 - 2024-05-31\check_images\71089              518.00 USD.pdf                                  75878      2/27/2024 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__928228_item-27_4302406517-27-
01 - 2024-05-31\check_images\71089              518.00 USD.pdf                                 111905       3/26/2024 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__941530_item-25_4302415066-25-
01 - 2024-05-31\check_images\71089              518.00 USD.pdf                                  73961       4/25/2024 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091              2022-01-17__609795_Goldstar 3 24 2022.pdf      239637      3/31/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091              2022-02-17__609797_Goldstar 3 24 2022.pdf      239637      3/31/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091              2022-03-17__609798_Goldstar 3 24 2022.pdf      239637      3/31/2022 10:38




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               All Paths/Locations                              Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-17__619281_Goldstar Deposit for 4 19
01 - 2024-05-31\check_images\71091              2022.pdf                                          662925      4/20/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-17__632760_GoldStar Wire Info 5 19
01 - 2024-05-31\check_images\71091              2022.pdf                                          327430      5/19/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091              2022-06-17__646109_Goldstar 6 21 2022.pdf         921719       6/21/2022 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091              2022-07-17__658636_Goldstar 7 18 2022.pdf         311135      7/18/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-17__672810_Goldstar Deposit 8 18
01 - 2024-05-31\check_images\71091              2022.pdf                                          923486      8/18/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091              2022-09-17__687354_Goldstar 9 22 2022.pdf         928591       9/22/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091              2022-10-17__700108_Goldstar 10 18 thomas.pdf      896021      10/20/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091              2022-11-17__712828_Goldsar 11 1 82022.pdf         907835      11/18/2022 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091              2022-12-17__725825_Goldstar 12 20 2022.pdf        908811      12/20/2022 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091              2023-01-17__738614_Goldstar 1 18 2023.pdf         909662      1/18/2023 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091              2023-02-17__753383_goldstar 2 22 2023.pdf         909247       2/22/2023 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091              2023-03-17__765402_goldstar 3 20 2023 II.pdf      918044      3/20/2023 10:02




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               All Paths/Locations                              Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091              2023-04-17__777489_goldstar 4 14 2023.pdf        910583      4/14/2023 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091              2023-05-17__792719_goldstar 5 18 2023.pdf        908350       5/18/2023 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091              2023-06-17__806552_goldstar 6 21 2023.pdf        895237      6/21/2023 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091              2023-07-17__818126_goldstar 7 17 2023.pdf        893871      7/17/2023 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091              2023-08-17__833315_goldstar 8 18 2023.pdf        894017      8/18/2023 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-17__846855_FW Goldstar Deposit from
01 - 2024-05-31\check_images\71091              9_13_2023 to 9_19_2023.pdf                       204737      9/20/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-17__867462_FW Goldstar Deposit from
01 - 2024-05-31\check_images\71091              10_11_2023 to 11_03_2023.pdf                     899493      11/6/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091              2023-11-17__876136_goldstar 11 28 2023.pdf       970498      11/28/2023 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091              2023-12-17__886373_GoldStar 12192023.pdf         106232      12/19/2023 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091              2024-01-17__899953_GoldStar 01182024.pdf         103557      1/18/2024 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091              2024-02-17__912754_GoldStar 02202024.pdf          77568      2/20/2024 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091              2024-03-17__925952_GoldStar 03192024.pdf         112061      3/19/2024 10:34




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 41 of
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               All Paths/Locations                              Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091              2024-05-17__952768_GoldStar 05202024.pdf         151695      5/20/2024 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71115              2023-08-01__831817_goldstar 8 15 2023.pdf        892891      8/15/2023 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71115              2023-10-01__856426_goldstar 10 11 2023.pdf       896776     10/11/2023 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__867518_FW Goldstar Deposit from
01 - 2024-05-31\check_images\71115              10_11_2023 to 11_03_2023.pdf                     899493      11/6/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71115              2023-12-01__882747_goldstar 12 11 2023.pdf       892222     12/11/2023 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71115              2024-01-01__894573_GoldStar 01052024.pdf          63936        1/5/2024 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71115              2024-02-01__910729_GoldStar 02132024.pdf          87110      2/13/2024 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71115              2024-03-01__922079_GoldStar 03112024.pdf         111610      3/11/2024 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71115              2024-04-01__934738_GoldStar 04082024.pdf         161409       4/8/2024 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71115              2024-05-01__946761_GoldStar 05062024.pdf         153522        5/6/2024 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-06__664989_33416179-20-444.93
01 - 2024-05-31\check_images\71284              USD.pdf                                           97702        8/1/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-06__680232_item-11_33442543-11-
01 - 2024-05-31\check_images\71284              444.93 USD.pdf                                    94748       9/2/2022 13:58




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 42 of
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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-06__692366_item-23_33467865-23-
01 - 2024-05-31\check_images\71284              444.93 USD.pdf                                97587      10/3/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-06__707398_item-6_33495525-6-
01 - 2024-05-31\check_images\71284              444.93 USD.pdf                                95830      11/4/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-06__719300_item-11_33524093-11-
01 - 2024-05-31\check_images\71284              444.93 USD.pdf                                93876      12/5/2022 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-06__734476_item-8_33560736-8-
01 - 2024-05-31\check_images\71284              444.93 USD.pdf                                91613       1/9/2023 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-06__747037_item-23_33592216-23-
01 - 2024-05-31\check_images\71284              444.93 USD.pdf                                93258        2/6/2023 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-06__760717_item-8_33619115-8-
01 - 2024-05-31\check_images\71284              444.93 USD.pdf                                96387       3/7/2023 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-06__772604_item-14_33645718-14-
01 - 2024-05-31\check_images\71284              444.93 USD.pdf                                91106       4/3/2023 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-06__787210_item-29_33672934-29-
01 - 2024-05-31\check_images\71284              444.93 USD.pdf                                90438       5/5/2023 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71284              2023-06-06__800831_453.83.pdf                110160        6/6/2023 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-06__812256_item-15_33725867-15-
01 - 2024-05-31\check_images\71284              453.83 USD.pdf                                98506       7/3/2023 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-06__828521_item-38_33756038-38-
01 - 2024-05-31\check_images\71284              453.83 USD.pdf                                93851       8/7/2023 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-06__840460_item-11_33782250-11-
01 - 2024-05-31\check_images\71284              453.83 USD.pdf                                93245       9/5/2023 12:14




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 43 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-06__852593_item-27_33808202-27-
01 - 2024-05-31\check_images\71284              453.83 USD.pdf                                  99097      10/2/2023 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-06__867900_item-30_33835642-30-
01 - 2024-05-31\check_images\71284              453.83 USD.pdf                                  94672      11/6/2023 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-06__880267_item-14_33862654-14-
01 - 2024-05-31\check_images\71284              453.83 USD.pdf                                  93569       12/5/2023 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-06__895088_item-40_33899453-40-
01 - 2024-05-31\check_images\71284              453.83 USD.pdf                                 102974       1/8/2024 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71284              2024-02-06__907757_453.83.pdf                   95900        2/6/2024 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-06__918269_item-33_33953787-33-
01 - 2024-05-31\check_images\71284              453.83 USD.pdf                                  64262       3/1/2024 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-06__933134_item-28_33981927-28-
01 - 2024-05-31\check_images\71284              453.83 USD.pdf                                  66816       4/3/2024 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-06__946542_item-6_34008665-6-
01 - 2024-05-31\check_images\71284              453.83 USD.pdf                                  63461       5/3/2024 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-06__893505_item-8_4300413712-8-
01 - 2024-05-31\check_images\71466              200000.00 USD.pdf                               73598       1/3/2024 19:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-16__896664_item-36_4302358251-36-
01 - 2024-05-31\check_images\71586              1578.85 USD.pdf                                 72295      1/10/2024 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-16__910527_item-20_4302367341-20-
01 - 2024-05-31\check_images\71586              1578.85 USD.pdf                                 75042       2/13/2024 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-16__922925_item-16_4302376111-16-
01 - 2024-05-31\check_images\71586              1578.85 USD.pdf                                 94200       3/12/2024 8:52




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-16__935977_item-24_4302385266-24-
01 - 2024-05-31\check_images\71586              1578.85 USD.pdf                                 97130      4/10/2024 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-16__950924_item-28_4302394251-28-
01 - 2024-05-31\check_images\71586              1626.22 USD.pdf                                 71499      5/14/2024 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-11-23__550742_4302146042-38-250.00
01 - 2024-05-31\check_images\71680              USD.pdf                                         95559      11/18/2021 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2021-12-23__564101_4302156193-9-250.00
01 - 2024-05-31\check_images\71680              USD.pdf                                        100301     12/21/2021 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-01-23__577475_4302166086-30-250.00
01 - 2024-05-31\check_images\71680              USD.pdf                                         82856      1/24/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-02-23__595281_4302176213-20-250.00
01 - 2024-05-31\check_images\71680              USD.pdf                                         84890       3/7/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-03-23__603420_4302185977-43-250.00
01 - 2024-05-31\check_images\71680              USD.pdf                                         85672      3/22/2022 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-23__618464_4302195632-16-250.00
01 - 2024-05-31\check_images\71680              USD.pdf                                         85478       4/19/2022 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-23__631316_4302205387-32-250.00
01 - 2024-05-31\check_images\71680              USD.pdf                                         83089      5/16/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-23__645064_4302214850-18-250.00
01 - 2024-05-31\check_images\71680              USD.pdf                                         91120      6/15/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-23__665457_4302224451-37-250.00
01 - 2024-05-31\check_images\71680              USD.pdf                                         68571       8/1/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-23__673159_4302234054-37-250.00
01 - 2024-05-31\check_images\71680              USD.pdf                                         98638      8/19/2022 15:13




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 45 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-23__686141_item-5_4302243450-5-
01 - 2024-05-31\check_images\71680              250.00 USD.pdf                                 117220      9/19/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-23__698010_item-26_4302252596-26-
01 - 2024-05-31\check_images\71680              250.00 USD.pdf                                  65650      10/14/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-23__713258_item-34_4302262111-34-
01 - 2024-05-31\check_images\71680              250.00 USD.pdf                                  80035     11/21/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-23__724993_item-34_4302271466-34-
01 - 2024-05-31\check_images\71680              250.00 USD.pdf                                  81525     12/16/2022 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-23__737790_item-11_4302280760-11-
01 - 2024-05-31\check_images\71680              250.00 USD.pdf                                  75920       1/17/2023 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-23__751556_item-5_4302290016-5-
01 - 2024-05-31\check_images\71680              250.00 USD.pdf                                  82667       2/16/2023 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-23__765632_item-20_4302299106-20-
01 - 2024-05-31\check_images\71680              250.00 USD.pdf                                  96447      3/20/2023 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-23__778721_item-29_4302307935-29-
01 - 2024-05-31\check_images\71680              250.00 USD.pdf                                  84613      4/18/2023 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-23__792747_item-23_4302317117-23-
01 - 2024-05-31\check_images\71680              250.00 USD.pdf                                  82023       5/18/2023 8:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-23__805786_item-5_4302326041-5-
01 - 2024-05-31\check_images\71680              250.00 USD.pdf                                  96001      6/20/2023 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-23__819428_item-27_4302334747-27-
01 - 2024-05-31\check_images\71680              250.00 USD.pdf                                  88169      7/18/2023 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-23__832438_item-25_4302343620-25-
01 - 2024-05-31\check_images\71680              250.00 USD.pdf                                  79101      8/16/2023 10:17




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 46 of
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               All Paths/Locations                               Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-23__846295_item-8_4302352240-8-
01 - 2024-05-31\check_images\71680              250.00 USD.pdf                                     83631       9/19/2023 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-23__859237_item-43_4302361026-43-
01 - 2024-05-31\check_images\71680              250.00 USD.pdf                                     90389     10/17/2023 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-23__872365_item-15_4302369599-15-
01 - 2024-05-31\check_images\71680              250.00 USD.pdf                                     70508      11/16/2023 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-23__887102_item-15_4302378258-15-
01 - 2024-05-31\check_images\71680              250.00 USD.pdf                                     71250      12/20/2023 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-23__899948_item-4_4302387015-4-
01 - 2024-05-31\check_images\71680              250.00 USD.pdf                                     80446      1/18/2024 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-23__912960_item-21_4302395593-21-
01 - 2024-05-31\check_images\71680              250.00 USD.pdf                                     70803      2/20/2024 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-23__925928_item-44_4302404033-44-
01 - 2024-05-31\check_images\71680              250.00 USD.pdf                                     77177      3/19/2024 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-23__939574_item-33_4302412601-33-
01 - 2024-05-31\check_images\71680              250.00 USD.pdf                                     87617      4/18/2024 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-23__953005_item-19_4302421067-19-
01 - 2024-05-31\check_images\71680              250.00 USD.pdf                                     66321       5/20/2024 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-09__656266_4491039789-40-75000.00
01 - 2024-05-31\check_images\71738              USD.pdf                                            97066      7/11/2022 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-09__816308_item-6_4491149427-6-
01 - 2024-05-31\check_images\71738              75000.00 USD.pdf                                   82439      7/11/2023 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-01-15__640418_Goldstar Lockbox Postings
01 - 2024-05-31\check_images\72950              dor 6 1 2022.pdf                                1006478        6/6/2022 11:37




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 47 of
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               All Paths/Locations                               Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-02-15__618710_Copy of SuttonPark Capital
01 - 2024-05-31\check_images\72950              Payments Goldstar.xls                               54784      4/19/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-03-15__618713_Copy of SuttonPark Capital
01 - 2024-05-31\check_images\72950              Payments Goldstar.xls                               54784      4/19/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-15__619278_Goldstar Deposit for 4 19
01 - 2024-05-31\check_images\72950              2022.pdf                                           662925      4/20/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-15__632845_GoldStar Wire Info 5 19
01 - 2024-05-31\check_images\72950              2022.pdf                                           327430      5/19/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-15__647728_Goldstar Deposit 6 23
01 - 2024-05-31\check_images\72950              2022.pdf                                           922852      6/23/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-15__674826_Goldstar Posting
01 - 2024-05-31\check_images\72950              08252022.pdf                                       928740      8/25/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-15__674824_Goldstar Posting
01 - 2024-05-31\check_images\72950              08252022.pdf                                       928740      8/25/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950              2022-09-15__687384_Goldstar 9 22 2022.pdf          928591       9/22/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950              2022-10-15__700307_Goldstar 10 21 22.pdf           894046      10/21/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950              2022-11-15__712304_Goldstar 11 17 2022.pdf         907056      11/17/2022 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950              2022-12-15__726410_Goldstar 12 21 2022.pdf         906329     12/21/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950              2023-01-15__739568_goldstar 1 20 2023.pdf          909380       1/20/2023 9:18




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 48 of
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               All Paths/Locations                              Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950              2023-02-15__755615_goldstar 2 27 2023.pdf        907345      2/27/2023 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950              2023-03-15__766444_goldstar 3 22 2023.pdf        909323       3/22/2023 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950              2023-04-15__779695_goldstar 4 20 2023.pdf        907347       4/20/2023 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950              2023-05-15__792075_goldstar 5 17 2023.pdf        908997       5/17/2023 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950              2023-06-15__807336_goldstr 6 22 23.pdf           893785       6/22/2023 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950              2023-07-15__820977_goldstar 7 24 2023.pdf        890927      7/24/2023 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950              2023-08-15__834665_goldstar 8 23 2023.pdf        896008      8/23/2023 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-15__846868_FW Goldstar Deposit from
01 - 2024-05-31\check_images\72950              9_13_2023 to 9_19_2023.pdf                       204737      9/20/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-15__867465_FW Goldstar Deposit from
01 - 2024-05-31\check_images\72950              10_11_2023 to 11_03_2023.pdf                     899493      11/6/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950              2023-11-15__876120_goldstar 11 28 2023.pdf       970498      11/28/2023 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950              2023-12-15__886378_GoldStar 12192023.pdf         106232      12/19/2023 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950              2024-01-15__901268_Goldstar 1 24 2024.pdf        881192       1/24/2024 9:28




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950              2024-03-15__925949_GoldStar 03192024.pdf       112061      3/19/2024 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950              2024-04-15__938061_GoldStar 04162024.pdf       155229       4/16/2024 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950              2024-05-15__952760_GoldStar 05202024.pdf       151695      5/20/2024 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-17__631563_1000255942-1-28000.00
01 - 2024-05-31\check_images\72974              USD.pdf                                         82823      5/17/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-17__646482_1000262467-1-3000.00
01 - 2024-05-31\check_images\72974              USD.pdf                                         73868      6/21/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-17__658780_1000268944-4-3000.00
01 - 2024-05-31\check_images\72974              USD.pdf                                         79661      7/18/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-17__672705_1000275383-1-3000.00
01 - 2024-05-31\check_images\72974              USD.pdf                                         79102      8/18/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-17__686272_item-38_1000281746-38-
01 - 2024-05-31\check_images\72974              3000.00 USD.pdf                                 70927      9/19/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-17__699192_item-36_1000288146-36-
01 - 2024-05-31\check_images\72974              3000.00 USD.pdf                                 74882      10/18/2022 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-17__712737_item-28_1000294791-28-
01 - 2024-05-31\check_images\72974              3000.00 USD.pdf                                 74222     11/18/2022 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-17__725953_item-14_1000300879-14-
01 - 2024-05-31\check_images\72974              3000.00 USD.pdf                                 74290     12/19/2022 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-17__738323_item-18_1000307278-18-
01 - 2024-05-31\check_images\72974              3000.00 USD.pdf                                 53539      1/17/2023 10:05




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 50 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-17__753481_item-20_1000313712-20-
01 - 2024-05-31\check_images\72974              3000.00 USD.pdf                                 77544      2/22/2023 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-17__765071_item-4_1000319971-4-
01 - 2024-05-31\check_images\72974              3000.00 USD.pdf                                 71344       3/17/2023 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-17__778354_item-41_1000326177-41-
01 - 2024-05-31\check_images\72974              3000.00 USD.pdf                                 77762      4/17/2023 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-17__792706_item-2_1000332400-2-
01 - 2024-05-31\check_images\72974              3000.00 USD.pdf                                 73454       5/18/2023 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-17__805550_item-38_1000344597-38-
01 - 2024-05-31\check_images\72974              3000.00 USD.pdf                                 71546      6/16/2023 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-17__818499_item-9_1000355206-9-
01 - 2024-05-31\check_images\72974              3000.00 USD.pdf                                 53684      7/17/2023 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-17__833253_item-43_1000365754-43-
01 - 2024-05-31\check_images\72974              3000.00 USD.pdf                                 72541       8/18/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-17__845141_item-6_1000375984-6-
01 - 2024-05-31\check_images\72974              3000.00 USD.pdf                                 70064       9/18/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-17__858568_item-15_1000386175-15-
01 - 2024-05-31\check_images\72974              3000.00 USD.pdf                                 48204      10/16/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-17__873027_item-39_1000396474-39-
01 - 2024-05-31\check_images\72974              3000.00 USD.pdf                                 72228     11/17/2023 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-17__886052_item-27_1000406492-27-
01 - 2024-05-31\check_images\72974              3000.00 USD.pdf                                 68047      12/18/2023 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-17__900533_item-27_1000416870-27-
01 - 2024-05-31\check_images\72974              3000.00 USD.pdf                                 78706      1/22/2024 10:37




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-17__912665_item-32_1000426782-32-
01 - 2024-05-31\check_images\72974              3000.00 USD.pdf                                 71038      2/20/2024 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-17__925355_item-24_1000437162-24-
01 - 2024-05-31\check_images\72974              3000.00 USD.pdf                                 53838      3/18/2024 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-17__939645_item-17_1000447235-17-
01 - 2024-05-31\check_images\72974              3000.00 USD.pdf                                 80940       4/19/2024 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-17__953038_item-15_1000457175-15-
01 - 2024-05-31\check_images\72974              3000.00 USD.pdf                                 52726      5/20/2024 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-14__948977_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146              2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-14__948979_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146              2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-14__948981_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146              2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-14__948982_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146              2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-14__948983_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146              2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-14__948984_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146              2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-14__948985_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146              2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-14__948986_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146              2022 Mar 2024.pdf                              244602       4/29/2024 9:43




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-14__948987_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146              2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-14__948988_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146              2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-14__948989_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146              2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-14__948990_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146              2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-14__948991_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146              2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-14__948992_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146              2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-14__948994_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146              2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-14__948993_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146              2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-14__948995_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146              2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-14__948996_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146              2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-14__937998_item-40_4491233387-40-
01 - 2024-05-31\check_images\73146              400.00 USD.pdf                                  80609       4/16/2024 7:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-14__951241_item-13_4491242228-13-
01 - 2024-05-31\check_images\73146              400.00 USD.pdf                                  98201      5/14/2024 12:53




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               All Paths/Locations                              Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-02-17__587300_41217849-10-2308.43
01 - 2024-05-31\check_images\74454              USD.pdf                                        70267       2/16/2022 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-03-17__603424_41276299-23-2308.43
01 - 2024-05-31\check_images\74454              USD.pdf                                        72383       3/22/2022 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-17__618145_41340040-24-2308.43
01 - 2024-05-31\check_images\74454              USD.pdf                                        77437      4/18/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-17__630102_41396660-16-2308.43
01 - 2024-05-31\check_images\74454              USD.pdf                                        70833      5/13/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-17__645973_41453948-19-2308.43
01 - 2024-05-31\check_images\74454              USD.pdf                                        69957      6/17/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-17__659024_41507535-23-2308.43
01 - 2024-05-31\check_images\74454              USD.pdf                                        69178      7/18/2022 22:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-17__671995_41563540-22-2308.43
01 - 2024-05-31\check_images\74454              USD.pdf                                        71476      8/16/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-17__686290_item-1_41619633-1-
01 - 2024-05-31\check_images\74454              2308.43 USD.pdf                                71108      9/19/2022 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74454              2022-10-17__699959_item 12 - 2308.43.pdf       79201     10/19/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-17__711661_item-35_41726734-35-
01 - 2024-05-31\check_images\74454              2308.43 USD.pdf                                78181     11/16/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-17__726156_item-26_41780585-26-
01 - 2024-05-31\check_images\74454              2308.43 USD.pdf                                75738     12/19/2022 16:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-17__737848_item-4_41832665-4-
01 - 2024-05-31\check_images\74454              2377.68 USD.pdf                                68537      1/17/2023 12:34




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 54 of
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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-17__751462_item-14_41892336-14-
01 - 2024-05-31\check_images\74454              2377.68 USD.pdf                               66106      2/15/2023 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-17__764057_item-27_41944802-27-
01 - 2024-05-31\check_images\74454              2377.68 USD.pdf                               75191      3/14/2023 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-17__778191_item-18_41998279-18-
01 - 2024-05-31\check_images\74454              2377.68 USD.pdf                               68920      4/17/2023 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-17__791627_item-5_42055378-5-
01 - 2024-05-31\check_images\74454              2377.68 USD.pdf                               65688      5/16/2023 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-17__805363_item-6_42110392-6-
01 - 2024-05-31\check_images\74454              2377.68 USD.pdf                               65281      6/16/2023 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-17__818144_item-5_42159155-5-
01 - 2024-05-31\check_images\74454              2377.68 USD.pdf                               71241      7/17/2023 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-17__832446_item-29_42214876-29-
01 - 2024-05-31\check_images\74454              2377.68 USD.pdf                               71974      8/16/2023 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-17__846268_item-9_42267022-9-
01 - 2024-05-31\check_images\74454              2377.68 USD.pdf                               69795       9/19/2023 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-17__858597_item-21_42319707-21-
01 - 2024-05-31\check_images\74454              2377.68 USD.pdf                               64292      10/16/2023 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-17__872963_item-2_42376120-2-
01 - 2024-05-31\check_images\74454              2377.68 USD.pdf                               71521     11/17/2023 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-17__885404_item-10_42426481-10-
01 - 2024-05-31\check_images\74454              2377.68 USD.pdf                               69720      12/18/2023 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-17__900476_item-18_42479417-18-
01 - 2024-05-31\check_images\74454              2449.01 USD.pdf                               68925      1/22/2024 10:15




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 55 of
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               All Paths/Locations                              Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-17__913042_item-42_42536340-42-
01 - 2024-05-31\check_images\74454              2449.01 USD.pdf                                    70964       2/20/2024 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-17__925788_item-4_42587471-4-
01 - 2024-05-31\check_images\74454              2449.01 USD.pdf                                    79295       3/19/2024 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-17__939564_item-24_42640226-24-
01 - 2024-05-31\check_images\74454              2449.01 USD.pdf                                    74767      4/18/2024 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-17__953424_item-43_42695781-43-
01 - 2024-05-31\check_images\74454              2449.01 USD.pdf                                    70630      5/21/2024 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589              2022-01-19__609800_Goldstar 3 24 2022.pdf         239637      3/31/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589              2022-02-19__609801_Goldstar 3 24 2022.pdf         239637      3/31/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589              2022-03-19__609802_Goldstar 3 24 2022.pdf         239637      3/31/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-19__619285_Goldstar Deposit for 4 19
01 - 2024-05-31\check_images\74589              2022.pdf                                          662925      4/20/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-19__632846_GoldStar Wire Info 5 19
01 - 2024-05-31\check_images\74589              2022.pdf                                          327430      5/19/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589              2022-06-19__646111_Goldstar 6 21 2022.pdf         921719       6/21/2022 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-19__659660_Goldstar Deposit 7 20
01 - 2024-05-31\check_images\74589              2022.pdf                                          283773       7/20/2022 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-19__674810_Goldstar Posting
01 - 2024-05-31\check_images\74589              08252022.pdf                                      928740      8/25/2022 10:37




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 56 of
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               All Paths/Locations                              Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589              2022-09-19__687356_Goldstar 9 22 2022.pdf         928591       9/22/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589              2022-10-19__700313_Goldstar 10 21 22.pdf          894046      10/21/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589              2022-11-19__714026_Goldstar 11 22 2022.pdf        907841     11/22/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589              2022-12-19__725844_Goldstar 12 20 2022.pdf        908811      12/20/2022 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589              2023-01-19__739573_goldstar 1 20 2023 II.pdf      917176       1/20/2023 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589              2023-02-19__753387_goldstar 2 22 2023.pdf         909247       2/22/2023 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589              2023-03-19__766462_goldstar 3 22 2023.pdf         909323       3/22/2023 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589              2023-04-19__777490_goldstar 4 14 2023.pdf         910583      4/14/2023 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589              2023-05-19__793167_goldstar 5 22 2023.pdf         906383       5/22/2023 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589              2023-06-19__806558_goldstar 6 21 2023.pdf         895237      6/21/2023 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589              2023-07-19__820991_goldstar 7 24 2023.pdf         890927      7/24/2023 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589              2023-08-19__834532_goldstar 8 22 2023.pdf         893607      8/22/2023 12:14




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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-19__846871_FW Goldstar Deposit from
01 - 2024-05-31\check_images\74589              9_13_2023 to 9_19_2023.pdf                       204737      9/20/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-19__867474_FW Goldstar Deposit from
01 - 2024-05-31\check_images\74589              10_11_2023 to 11_03_2023.pdf                     899493      11/6/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589              2023-11-19__876143_goldstar 11 28 2023.pdf       970498      11/28/2023 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589              2023-12-19__886379_GoldStar 12192023.pdf         106232      12/19/2023 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589              2024-01-19__900568_Goldstar 1 22 2024.pdf        886744       1/22/2024 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589              2024-02-19__912774_GoldStar 02202024.pdf          77568      2/20/2024 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589              2024-03-19__926256_GoldStar 03202024.pdf         110965      3/20/2024 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589              2024-04-19__939998_GoldStar 04192024.pdf         152225      4/22/2024 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589              2024-05-19__953469_GoldStar 05212024.pdf         154004      5/21/2024 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__813115_item-24_147765052-24-
01 - 2024-05-31\check_images\76138              9800.00 USD.pdf                                   56376       7/3/2023 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__827413_item-16_147782124-16-
01 - 2024-05-31\check_images\76138              9800.00 USD.pdf                                   56120        8/3/2023 9:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__840590_item-24_147799245-24-
01 - 2024-05-31\check_images\76138              9800.00 USD.pdf                                   57577       9/5/2023 13:26




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               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__852714_item-22_147816102-22-
01 - 2024-05-31\check_images\76138              9800.00 USD.pdf                                 61418       10/3/2023 7:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__866843_item-8_147833002-8-
01 - 2024-05-31\check_images\76138              9800.00 USD.pdf                                 56631       11/3/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__879206_item-18_147849404-18-
01 - 2024-05-31\check_images\76138              9800.00 USD.pdf                                 53063       12/4/2023 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__891862_item-38_147865574-38-
01 - 2024-05-31\check_images\76138              9800.00 USD.pdf                                 56144       1/2/2024 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__906722_item-14_147883251-14-
01 - 2024-05-31\check_images\76138              9800.00 USD.pdf                                 64196       2/5/2024 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__919621_item-35_147899477-35-
01 - 2024-05-31\check_images\76138              9800.00 USD.pdf                                 56072        3/4/2024 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__932090_item-17_147915539-17-
01 - 2024-05-31\check_images\76138              9800.00 USD.pdf                                 61122       4/2/2024 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__944869_item-18_147932497-18-
01 - 2024-05-31\check_images\76138              9800.00 USD.pdf                                 56500       5/1/2024 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-01__828284_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144              11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-01__828285_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144              11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-01__828287_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144              11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-01__828289_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144              11875.77 USD.pdf                                62554       8/7/2023 10:39




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-01__828294_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144              11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-01__828296_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144              11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-01__828298_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144              11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__828301_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144              11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__828304_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144              11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__828305_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144              11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__828308_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144              11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__828309_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144              11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__828310_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144              11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__828312_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144              11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__828314_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144              11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__836610_item-32_1000298522-32-
01 - 2024-05-31\check_images\78144              825.00 USD.pdf                                  57552      8/28/2023 10:49




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 60 of
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               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__849519_item-20_1000303949-20-
01 - 2024-05-31\check_images\78144              825.00 USD.pdf                                  64296      9/26/2023 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__865459_item-30_1000309451-30-
01 - 2024-05-31\check_images\78144              825.00 USD.pdf                                  54991     10/31/2023 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__877140_item-1_1000315017-1-
01 - 2024-05-31\check_images\78144              825.00 USD.pdf                                  50242      11/29/2023 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__889057_item-20_1000319437-20-
01 - 2024-05-31\check_images\78144              825.00 USD.pdf                                  51822     12/27/2023 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__902911_item-12_1000324644-12-
01 - 2024-05-31\check_images\78144              825.00 USD.pdf                                  55409       1/29/2024 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__914784_item-35_1000329939-35-
01 - 2024-05-31\check_images\78144              825.00 USD.pdf                                  51557      2/26/2024 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-25__673882_33432385-13-10000.00
01 - 2024-05-31\check_images\78146              USD.pdf                                        117564      8/22/2022 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-25__836171_item-29_33772961-29-
01 - 2024-05-31\check_images\78146              10000.00 USD.pdf                                49915      8/28/2023 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-25__836173_item-30_33772960-30-
01 - 2024-05-31\check_images\78146              494.61 USD.pdf                                  93807      8/28/2023 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-25__848583_item-40_33799310-40-
01 - 2024-05-31\check_images\78146              494.61 USD.pdf                                  99623      9/25/2023 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-25__860908_item-6_33824651-6-
01 - 2024-05-31\check_images\78146              494.61 USD.pdf                                  98355     10/23/2023 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-25__875231_item-19_33853608-19-
01 - 2024-05-31\check_images\78146              494.61 USD.pdf                                  97325     11/27/2023 13:41




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 61 of
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               All Paths/Locations                               Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-25__889540_item-25_33888638-25-
01 - 2024-05-31\check_images\78146              494.61 USD.pdf                               102090     12/27/2023 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-25__901883_item-33_33917493-33-
01 - 2024-05-31\check_images\78146              494.61 USD.pdf                                82848      1/26/2024 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-25__915361_item-1_33945486-1-
01 - 2024-05-31\check_images\78146              494.61 USD.pdf                                97585      2/26/2024 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-25__927083_item-41_33971967-41-
01 - 2024-05-31\check_images\78146              494.61 USD.pdf                                56573      3/22/2024 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-25__939812_item-18_33997988-18-
01 - 2024-05-31\check_images\78146              494.61 USD.pdf                                55743      4/22/2024 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-25__953045_item-43_34023932-43-
01 - 2024-05-31\check_images\78146              494.61 USD.pdf                                61576      5/20/2024 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-10__696864_item-15_5136428-15-
01 - 2024-05-31\check_images\78155              30000.00 USD.pdf                              79393      10/11/2022 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-03-19__601983_51027662-1-297.69
01 - 2024-05-31\check_images\78207              USD.pdf                                       49673      3/21/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-19__617316_51028277-5-297.69
01 - 2024-05-31\check_images\78207              USD.pdf                                       49330      4/14/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-19__629978_51028886-29-297.69
01 - 2024-05-31\check_images\78207              USD.pdf                                       44828       5/13/2022 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-19__646467_51029487-39-297.69
01 - 2024-05-31\check_images\78207              USD.pdf                                       50103      6/21/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-19__657679_51030096-37-297.69
01 - 2024-05-31\check_images\78207              USD.pdf                                       47810      7/14/2022 11:34




                                                            60
   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 62 of
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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-19__670845_51030770-40-297.69
01 - 2024-05-31\check_images\78207              USD.pdf                                       47430       8/15/2022 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-19__685199_item-4_51031387-4-
01 - 2024-05-31\check_images\78207              297.69 USD.pdf                                45399       9/15/2022 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-19__697646_item-8_51031954-8-
01 - 2024-05-31\check_images\78207              297.69 USD.pdf                                50627      10/13/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-19__710039_item-11_51032544-11-
01 - 2024-05-31\check_images\78207              297.69 USD.pdf                                45898      11/14/2022 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-19__724489_item-5_51033152-5-
01 - 2024-05-31\check_images\78207              297.69 USD.pdf                                59430     12/15/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-19__736891_item-4_51033716-4-
01 - 2024-05-31\check_images\78207              297.69 USD.pdf                                67677       1/13/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-19__751448_item-31_51034295-31-
01 - 2024-05-31\check_images\78207              297.69 USD.pdf                                45494      2/15/2023 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-19__764156_item-29_51034879-29-
01 - 2024-05-31\check_images\78207              297.69 USD.pdf                                46039      3/15/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-19__777059_item-43_51035458-43-
01 - 2024-05-31\check_images\78207              297.69 USD.pdf                                43148      4/13/2023 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-19__790325_item-23_51036052-23-
01 - 2024-05-31\check_images\78207              297.69 USD.pdf                                51718      5/15/2023 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-19__804999_item-17_51036652-17-
01 - 2024-05-31\check_images\78207              297.69 USD.pdf                                52099      6/15/2023 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-19__817641_item-13_51037202-13-
01 - 2024-05-31\check_images\78207              297.69 USD.pdf                                55409       7/13/2023 9:24




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 63 of
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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-19__831680_item-3_51037780-3-
01 - 2024-05-31\check_images\78207              297.69 USD.pdf                                44787       8/15/2023 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-19__844656_item-38_51038351-38-
01 - 2024-05-31\check_images\78207              297.69 USD.pdf                                51358      9/14/2023 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-19__857459_item-2_51038902-2-
01 - 2024-05-31\check_images\78207              297.69 USD.pdf                                48854      10/13/2023 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-19__871842_item-33_51039455-33-
01 - 2024-05-31\check_images\78207              297.69 USD.pdf                                50551     11/15/2023 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-19__893547_item-25_51040016-25-
01 - 2024-05-31\check_images\78207              297.69 USD.pdf                                46975       1/3/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-19__899019_item-45_51040572-45-
01 - 2024-05-31\check_images\78207              297.69 USD.pdf                                69430      1/17/2024 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-19__912055_item-17_51041149-17-
01 - 2024-05-31\check_images\78207              297.69 USD.pdf                                59273       2/16/2024 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-19__924589_item-18_51041690-18-
01 - 2024-05-31\check_images\78207              297.69 USD.pdf                                66023      3/15/2024 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-19__937115_item-38_51042235-38-
01 - 2024-05-31\check_images\78207              297.69 USD.pdf                                49214      4/15/2024 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-19__951895_item-29_51042787-29-
01 - 2024-05-31\check_images\78207              297.69 USD.pdf                                48977       5/16/2024 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2022-05-10__631620_2265_27_13.pdf             74300      5/16/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2022-06-10__646082_2265_33_16.pdf             74254      6/17/2022 13:55




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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2022-07-10__657428_2265_26_5.pdf                 75766      7/13/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2022-08-10__671830_2265_27_24.pdf                77370      8/15/2022 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2022-09-10__685545_item-1_2265_20_1.pdf          74460      9/15/2022 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2022-10-10__697856_item-32_2265_20_32.pdf        75891     10/12/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2022-11-10__712625_item-211_2265_24_31.pdf       78136     11/15/2022 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2022-12-10__724677_item-90_2265_23_9.pdf         73729     12/15/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2023-01-10__736852_item-9_2265_24_9.pdf          92545      1/12/2023 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2023-02-10__750773_item-132_2265_23_36.pdf       73892      2/13/2023 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2023-03-10__764427_item-27_2265_29_14.pdf        75794      3/15/2023 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2023-04-10__776308_item-22_2265_18_22.pdf        75144      4/11/2023 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2023-05-10__789676_item-36_2265_22_6.pdf         69037       5/11/2023 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2023-06-10__803387_item-65_2265_19_5.pdf         72860      6/12/2023 10:25




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 65 of
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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2023-07-10__816239_item-109_2265_21_23.pdf       72799      7/10/2023 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2023-08-10__830900_item-32_2265_23_7.pdf         77339      8/14/2023 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2023-09-10__844016_item-1_2265_20_1.pdf          71462      9/12/2023 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2023-10-10__859481_item-44_2265_35_44.pdf        69485     10/17/2023 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2023-11-10__869908_item-5_2265_20_5.pdf          70727     11/13/2023 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2023-12-10__885170_item-49_2265_27_49.pdf        86150     12/15/2023 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2024-01-10__898703_item-124_2265_36_10.pdf       71364       1/16/2024 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2024-02-10__910054_item-148_2265_20_49.pdf       82512       2/12/2024 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2024-03-10__928860_item-10_2265_50_10.pdf        91415       3/27/2024 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2024-04-10__936265_item-42_2265_26_42.pdf        77684      4/11/2024 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295              2024-05-10__949554_item-129_2265_23_21.pdf       74372       5/13/2024 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-12__923387_item-31_2402959003-31-
01 - 2024-05-31\check_images\78296              1889.44 USD.pdf                                  44121      3/12/2024 13:15




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 66 of
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               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-12__938421_item-30_2402964190-30-
01 - 2024-05-31\check_images\78296              1889.44 USD.pdf                                 42715      4/16/2024 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-12__949602_item-6_2402968961-6-
01 - 2024-05-31\check_images\78296              1889.44 USD.pdf                                 41910      5/13/2024 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-17__806334_item-18_4491141950-18-
01 - 2024-05-31\check_images\78363              15000.00 USD.pdf                                94222      6/20/2023 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__727088_item-10_4300390260-10-
01 - 2024-05-31\check_images\78397              110000.00 USD.pdf                               66486     12/22/2022 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-03__652197_373835-5-15000.00
01 - 2024-05-31\check_images\78416              USD.pdf                                         45986        7/1/2022 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-03__812121_item-6_414779-6-250.00
01 - 2024-05-31\check_images\78416              USD.pdf                                         44981       7/3/2023 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-03__826355_item-31_418300-31-
01 - 2024-05-31\check_images\78416              250.00 USD.pdf                                  52756       8/1/2023 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-03__840408_item-22_422074-22-
01 - 2024-05-31\check_images\78416              250.00 USD.pdf                                  55702        9/5/2023 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-03__852416_item-16_425499-16-
01 - 2024-05-31\check_images\78416              250.00 USD.pdf                                  45441      10/2/2023 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-03__866652_item-5_428945-5-250.00
01 - 2024-05-31\check_images\78416              USD.pdf                                         46553      11/2/2023 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-03__880873_item-30_432475-30-
01 - 2024-05-31\check_images\78416              250.00 USD.pdf                                  43950      12/5/2023 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-03__893274_item-16_436128-16-
01 - 2024-05-31\check_images\78416              250.00 USD.pdf                                  46030       1/3/2024 15:29




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 67 of
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               All Paths/Locations                               Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-03__907940_item-8_439638-8-250.00
01 - 2024-05-31\check_images\78416              USD.pdf                                             52145       2/6/2024 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-03__919203_item-10_443112-10-
01 - 2024-05-31\check_images\78416              250.00 USD.pdf                                      45586       3/4/2024 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-03__934105_item-39_446586-39-
01 - 2024-05-31\check_images\78416              250.00 USD.pdf                                      43248       4/4/2024 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-03__947275_item-6_450154-6-250.00
01 - 2024-05-31\check_images\78416              USD.pdf                                             47233       5/6/2024 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__891764_item-14_435874-14-
01 - 2024-05-31\check_images\78451              801.00 USD.pdf                                      47524       1/2/2024 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__904947_item-44_439389-44-
01 - 2024-05-31\check_images\78451              801.00 USD.pdf                                      44676      1/31/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__918385_item-16_442911-16-
01 - 2024-05-31\check_images\78451              801.00 USD.pdf                                      42692        3/4/2024 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__932118_item-20_446333-20-
01 - 2024-05-31\check_images\78451              801.00 USD.pdf                                      49489       4/2/2024 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__946350_item-45_449893-45-
01 - 2024-05-31\check_images\78451              801.00 USD.pdf                                      48486       5/2/2024 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-03-13__618744_Copy of SuttonPark Capital
01 - 2024-05-31\check_images\78492              Payments Goldstar.xls                               54784      4/19/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-13__622527_Goldstar Lockbox Postings
01 - 2024-05-31\check_images\78492              2 26 2022.pdf                                      996441      4/27/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-13__632764_GoldStar Wire Info 5 19
01 - 2024-05-31\check_images\78492              2022.pdf                                           327430      5/19/2022 13:04




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 68 of
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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-13__647732_Goldstar Deposit 6 23
01 - 2024-05-31\check_images\78492              2022.pdf                                        922852      6/23/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-13__659661_Goldstar Deposit 7 20
01 - 2024-05-31\check_images\78492              2022.pdf                                        283773       7/20/2022 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-13__674830_Goldstar Posting
01 - 2024-05-31\check_images\78492              08252022.pdf                                    928740      8/25/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492              2022-09-13__687362_Goldstar 9 22 2022.pdf       928591       9/22/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492              2022-10-13__700213_Goldstar 10 20 22.pdf        895377     10/20/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492              2022-11-13__712298_Goldstar 11 17 2022.pdf      907056      11/17/2022 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492              2022-12-13__724366_Goldstar 12 152022.pdf       904822     12/15/2022 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492              2023-01-13__739572_goldstar 1 20 2023.pdf       909380       1/20/2023 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492              2023-02-13__755621_goldstar 2 27 2023.pdf       907345      2/27/2023 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492              2023-03-13__764149_Goldstar 3 15 2023.pdf       894690      3/15/2023 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492              2023-04-13__777030_Goldstar 4 13 2023.pdf       908219       4/13/2023 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492              2023-05-13__791593_goldstar 5 16 2023.pdf       905623      5/16/2023 10:37




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               All Paths/Locations                               Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492              2023-06-13__803726_goldstar 6 13 2023.pdf          893315      6/13/2023 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492              2023-07-13__818125_goldstar 7 17 2023.pdf          893871      7/17/2023 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492              2023-08-13__832738_goldstar 8 16 2023.pdf          894995      8/16/2023 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-13__867448_FW Goldstar Deposit from
01 - 2024-05-31\check_images\78492              10_11_2023 to 11_03_2023.pdf                       899493      11/6/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492              2023-11-13__870846_Goldstar 11 14 2023.pdf         890838      11/14/2023 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492              2023-12-13__886368_GoldStar 12192023.pdf           106232      12/19/2023 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492              2024-01-13__899942_GoldStar 01182024.pdf           103557      1/18/2024 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492              2024-02-13__910734_GoldStar 02132024.pdf            87110      2/13/2024 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492              2024-04-13__938057_GoldStar 04162024.pdf           155229       4/16/2024 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-03-15__618743_Copy of SuttonPark Capital
01 - 2024-05-31\check_images\78496              Payments Goldstar.xls                               54784      4/19/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-15__619283_Goldstar Deposit for 4 19
01 - 2024-05-31\check_images\78496              2022.pdf                                           662925      4/20/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-15__632762_GoldStar Wire Info 5 19
01 - 2024-05-31\check_images\78496              2022.pdf                                           327430      5/19/2022 13:04




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               All Paths/Locations                              Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496              2022-06-15__645387_Goldstar 6 16 2022.pdf         156113       6/16/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496              2022-07-15__658651_Goldstar 7 18 2022.pdf         311135      7/18/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-15__671786_Goldstar Deposit 8 16
01 - 2024-05-31\check_images\78496              2022.pdf                                          283480      8/16/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496              2022-09-15__685260_Goldstar 9 15 2022.pdf         926396      9/15/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496              2022-10-15__700111_Goldstar 10 18 thomas.pdf      896021      10/20/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496              2022-11-15__712310_Goldstar 11 17 2022.pdf        907056      11/17/2022 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496              2022-12-15__725344_Goldstar 12 19 2022.pdf        907848     12/19/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496              2023-01-15__739571_goldstar 1 20 2023.pdf         909380       1/20/2023 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496              2023-02-15__751926_goldstar 2 17 2023.pdf         905972       2/17/2023 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496              2023-03-15__764780_goldstar 3 16 2023.pdf         894514       3/16/2023 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496              2023-04-15__779692_goldstar 4 20 2023.pdf         907347       4/20/2023 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496              2023-05-15__792081_goldstar 5 17 2023.pdf         908997       5/17/2023 9:27




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               All Paths/Locations                              Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496              2023-06-15__804974_goldstar 6 14 2023.pdf        895189       6/15/2023 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496              2023-07-15__820933_goldstar 7 24 2023.pdf        890927      7/24/2023 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496              2023-08-15__832735_goldstar 8 16 2023.pdf        894995      8/16/2023 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-15__846874_FW Goldstar Deposit from
01 - 2024-05-31\check_images\78496              9_13_2023 to 9_19_2023.pdf                       204737      9/20/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-15__867468_FW Goldstar Deposit from
01 - 2024-05-31\check_images\78496              10_11_2023 to 11_03_2023.pdf                     899493      11/6/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496              2023-11-15__876133_goldstar 11 28 2023.pdf       970498      11/28/2023 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496              2023-12-15__894516_GoldStar 01052024.pdf          63936        1/5/2024 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496              2024-01-15__899993_GoldStar 01182024.pdf         103557      1/18/2024 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496              2024-02-15__911822_GoldStar 02152024.pdf          67813       2/15/2024 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496              2024-03-15__925946_GoldStar 03192024.pdf         112061      3/19/2024 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496              2024-04-15__938066_GoldStar 04162024.pdf         155229       4/16/2024 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496              2024-05-15__952756_GoldStar 05202024.pdf         151695      5/20/2024 11:39




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 72 of
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               All Paths/Locations                               Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-06__907327_item-4_147890153-4-
01 - 2024-05-31\check_images\78515              65000.00 USD.pdf                                 56988       2/5/2024 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78679              2023-06-03__800897_11033816 12500.00.pdf        420048        6/6/2023 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-09__656268_4491039789-40-75000.00
01 - 2024-05-31\check_images\78728              USD.pdf                                          97066      7/11/2022 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-09__816309_item-6_4491149427-6-
01 - 2024-05-31\check_images\78728              75000.00 USD.pdf                                 82439      7/11/2023 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-31__892294_item-23_4150720-23-
01 - 2024-05-31\check_images\78734              23000.00 USD.pdf                                 42158        1/3/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-06__740334_11139_item-
01 - 2024-05-31\check_images\78740              22_2265_38_22.pdf                                71235      1/20/2023 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-06__740913_480978 3646.08
01 - 2024-05-31\check_images\78740              01202023.pdf                                     69330      1/20/2023 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740              2023-02-06__745522_item-89_2265_2_48.pdf         69998       2/1/2023 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740              2023-03-06__756139_item-82_2265_47_5.pdf         68586      2/27/2023 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740              2023-04-06__771174_item-6_2265_56_6.pdf          74322      3/31/2023 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740              2023-05-06__786393_item-12_2265_8_12.pdf         74283        5/3/2023 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740              2023-06-06__799600_item-166_2265_54_16.pdf       67357       6/1/2023 11:19




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 73 of
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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740              2023-07-06__811168_item-1_2265_49_1.pdf          76743       6/30/2023 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740              2023-08-06__826376_item-193_2265_55_6.pdf        74543      7/31/2023 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740              2023-09-06__838898_item-72_2265_57_6.pdf         68886      8/30/2023 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740              2023-10-06__853748_item-105_2265_9_5.pdf         67581      10/3/2023 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740              2023-11-06__866483_item-99_2265_2_49.pdf         68645      11/1/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740              2023-12-06__876641_item-22_2265_47_22.pdf        68820     11/28/2023 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740              2024-01-06__889933_item-33_2265_47_11.pdf        81802     12/27/2023 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740              2024-02-06__905116_item-14_2265_57_14.pdf        70949        2/1/2024 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740              2024-03-06__919283_item-37_2265_2_37.pdf         78199        3/4/2024 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740              2024-04-06__932818_item-33_2265_16_20.pdf        69742        4/3/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740              2024-05-06__942528_item-173_2265_56_25.pdf       66558       4/29/2024 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-06__740258_11139_item-
01 - 2024-05-31\check_images\78741              22_2265_38_22.pdf                                71235      1/20/2023 10:42




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 74 of
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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-06__740910_480978 3646.08
01 - 2024-05-31\check_images\78741              01202023.pdf                                     69330      1/20/2023 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741              2023-02-06__745519_item-88_2265_2_47.pdf         80166       2/1/2023 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741              2023-03-06__756137_item-81_2265_47_4.pdf         79860      2/27/2023 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741              2023-04-06__771244_item-7_2265_56_7.pdf          73327      3/31/2023 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741              2023-05-06__786391_item-11_2265_8_11.pdf         68686        5/3/2023 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741              2023-06-06__799602_item-167_2265_54_17.pdf       67542       6/1/2023 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741              2023-07-06__811515_item-15_2265_49_15.pdf        75864       6/30/2023 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741              2023-08-06__826378_item-194_2265_55_7.pdf        66003      7/31/2023 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741              2023-09-06__838896_item-71_2265_57_5.pdf         67831      8/30/2023 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741              2023-10-06__853746_item-106_2265_9_6.pdf         67408      10/3/2023 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741              2023-11-06__866481_item-98_2265_2_48.pdf         68061      11/1/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741              2023-12-06__876645_item-23_2265_47_23.pdf        69729     11/28/2023 15:23




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 75 of
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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741              2024-01-06__889931_item-32_2265_47_10.pdf        81478     12/27/2023 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741              2024-02-06__905119_item-15_2265_57_15.pdf        70264        2/1/2024 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741              2024-03-06__919288_item-38_2265_2_38.pdf         67916        3/4/2024 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741              2024-04-06__932821_item-34_2265_16_21.pdf        68864        4/3/2024 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741              2024-05-06__942532_item-174_2265_56_26.pdf       78137       4/29/2024 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-01__665985_4200381233-19-1700.00
01 - 2024-05-31\check_images\78744              USD.pdf                                          62351       8/2/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-01__667248_4200384015-45-1700.00
01 - 2024-05-31\check_images\78744              USD.pdf                                          70672       8/4/2022 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-01__681992_item-12_4200386690-12-
01 - 2024-05-31\check_images\78744              1751.00 USD.pdf                                  66618       9/7/2022 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-01__695129_item-25_4200389404-25-
01 - 2024-05-31\check_images\78744              1751.00 USD.pdf                                  40063      10/6/2022 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-01__709372_item-5_4200392115-5-
01 - 2024-05-31\check_images\78744              1751.00 USD.pdf                                  59813      11/10/2022 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-01__716583_item-36_4200394616-36-
01 - 2024-05-31\check_images\78744              1751.00 USD.pdf                                  79034     11/29/2022 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__733484_item-44_4200397467-44-
01 - 2024-05-31\check_images\78744              1751.00 USD.pdf                                  66559       1/6/2023 11:49




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   Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 76 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__747499_item-31_4200400107-31-
01 - 2024-05-31\check_images\78744              1751.00 USD.pdf                                 58309        2/7/2023 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__761088_item-34_4200402748-34-
01 - 2024-05-31\check_images\78744              1751.00 USD.pdf                                 63265       3/8/2023 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__778686_item-13_4200405430-13-
01 - 2024-05-31\check_images\78744              1751.00 USD.pdf                                 63767      4/18/2023 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__788808_item-3_4200408053-3-
01 - 2024-05-31\check_images\78744              1751.00 USD.pdf                                 61573       5/10/2023 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__802294_item-29_4200410658-29-
01 - 2024-05-31\check_images\78744              1751.00 USD.pdf                                 50871       6/9/2023 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__813479_item-25_4200413309-25-
01 - 2024-05-31\check_images\78744              1751.00 USD.pdf                                 68117       7/5/2023 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__829530_item-20_4200415887-20-
01 - 2024-05-31\check_images\78744              1751.00 USD.pdf                                 64286       8/9/2023 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__840730_item-33_4200418410-33-
01 - 2024-05-31\check_images\78744              1803.54 USD.pdf                                 67373       9/5/2023 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__853074_item-41_4200421047-41-
01 - 2024-05-31\check_images\78744              1803.54 USD.pdf                                 57769      10/3/2023 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__867805_item-40_4200423621-40-
01 - 2024-05-31\check_images\78744              1803.54 USD.pdf                                 71225      11/6/2023 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__880223_item-22_4200426187-22-
01 - 2024-05-31\check_images\78744              1803.54 USD.pdf                                 61966       12/4/2023 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__895117_item-25_4200428758-25-
01 - 2024-05-31\check_images\78744              1803.54 USD.pdf                                 76805       1/8/2024 14:42




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__906759_item-13_4200431281-13-
01 - 2024-05-31\check_images\78744              1803.54 USD.pdf                                 61963       2/5/2024 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__918533_item-27_4200433778-27-
01 - 2024-05-31\check_images\78744              1803.54 USD.pdf                                 63192        3/4/2024 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes            78383.jpg                                       39816      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes            78384.jpg                                       36485      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes            78405.jpg                                       42910      10/9/2024 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes            78408.jpg                                       34964      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes            78416.jpg                                       42958      10/9/2024 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes            78422.jpg                                       42132      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes            78430.jpg                                       56089      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes            78438.jpg                                       28984      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes            78439.jpg                                       39450      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes            78440.jpg                                       35869      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes            78450.jpg                                       41023      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes            78451.jpg                                       42193      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes            78458.jpg                                       33730      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes            78459.jpg                                       32089      10/9/2024 17:52


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               All Paths/Locations                         Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78465.jpg                        41788      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78472.jpg                        34628      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78479.jpg                        37416      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78480.jpg                        44188      10/9/2024 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78490.jpg                        31384      10/9/2024 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78492.jpg                        36583      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78493.jpg                        33732      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78495.jpg                        35409      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78496.jpg                        34716      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78497.jpg                        31640      10/9/2024 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78500.jpg                        37218      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78513.jpg                        37090      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78514.jpg                        41048      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78520.jpg                        36746      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78531.jpg                        49395      10/9/2024 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78534.jpg                        38927      10/9/2024 18:00




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               All Paths/Locations                         Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78548.jpg                        32232      10/9/2024 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78549.jpg                        31530      10/9/2024 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78557.jpg                        30101      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78569.jpg                        34758      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78577.jpg                        44395      10/9/2024 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78582.jpg                        35496      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78595.jpg                        45633      10/9/2024 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78663.jpg                        30349      10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78664.jpg                        31974      10/9/2024 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78666.jpg                        34041      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78667.jpg                        40018      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78669.jpg                        37076      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78670.jpg                        35704      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78674.jpg                        35780      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78679.jpg                        60227      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78682.jpg                        44589      10/9/2024 18:07




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               All Paths/Locations                         Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78685.jpg                        37365      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78686.jpg                        39251      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78699.jpg                        37677      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78700.jpg                        35296      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78711.jpg                        40577      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78712.jpg                        36159      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78720.jpg                        38051      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78721.jpg                        43514      10/9/2024 18:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78722.jpg                        42320      10/9/2024 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78723.jpg                        36203      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78728.jpg                        35158      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78729.jpg                        39076      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78733.jpg                        35979      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78734.jpg                        31912      10/9/2024 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78737.jpg                        38503      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78738.jpg                        39155      10/9/2024 18:00




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               All Paths/Locations                         Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78740.jpg                        40004      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78741.jpg                        39602      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78743.jpg                        47573      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78744.jpg                        40731      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78745.jpg                        37096      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78749.jpg                        47779      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78752.jpg                        38029      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78768.jpg                        40618      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78771.jpg                        36942      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78773.jpg                        38882      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78798.jpg                        41074      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78813.jpg                        40115      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78815.jpg                        45572      10/9/2024 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78826.jpg                        37148      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78831.jpg                        40648      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78833.jpg                        37028      10/9/2024 17:58




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               All Paths/Locations                         Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78836.jpg                        37576      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78838.jpg                        43187      10/9/2024 18:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78839.jpg                        30853      10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78842.jpg                        36605      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78843.jpg                        31165      10/9/2024 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78848.jpg                        34797      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78856.jpg                        37921      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78859.jpg                        37535      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78862.jpg                        39610      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78864.jpg                        31298      10/9/2024 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78865.jpg                        36719      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78866.jpg                        37594      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78867.jpg                        44444      10/9/2024 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78868.jpg                        38140      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78880.jpg                        45738      10/9/2024 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78881.jpg                        28182      10/9/2024 17:42




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               All Paths/Locations                         Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78884.jpg                        38277      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78886.jpg                        34995      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78888.jpg                        42475      10/9/2024 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78889.jpg                        34854      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78891.jpg                        35679      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78897.jpg                        31828      10/9/2024 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78900.jpg                        50724      10/9/2024 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78903.jpg                        38351      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78905.jpg                        42877      10/9/2024 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78906.jpg                        41077      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78907.jpg                        34134      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78909.jpg                        34594      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78910.jpg                        36866      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78911.jpg                        36473      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78912.jpg                        35623      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78915.jpg                        39099      10/9/2024 18:00




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               All Paths/Locations                         Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78916.jpg                        34386      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78917.jpg                        39462      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78918.jpg                        39315      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78921.jpg                        39406      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78922.jpg                        40376      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78923.jpg                        39287      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78924.jpg                        39101      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78925.jpg                        55176      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78926.jpg                        40286      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78927.jpg                        45655      10/9/2024 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78928.jpg                        39598      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78929.jpg                        39001      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78930.jpg                        36817      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78934.jpg                        41969      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78935.jpg                        37321      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78936.jpg                        40068      10/9/2024 18:02




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               All Paths/Locations                         Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78937.jpg                        35861      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78939.jpg                        40561      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78941.jpg                        30204      10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78942.jpg                        38567      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78943.jpg                        28917      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78946.jpg                        38382      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78948.jpg                        39050      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78949.jpg                        38049      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78953.jpg                        35966      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78954.jpg                        37785      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78958.jpg                        36627      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78964.jpg                        38754      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78965.jpg                        30376      10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78966.jpg                        36532      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78968.jpg                        39573      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78970.jpg                        32963      10/9/2024 17:53




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               All Paths/Locations                         Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78971.jpg                        59265      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78974.jpg                        33927      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78976.jpg                        35682      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78977.jpg                        33319      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78980.jpg                        38060      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78981.jpg                        41256      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78982.jpg                        39979      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78983.jpg                        34674      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78991.jpg                        40838      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78995.jpg                        41527      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78996.jpg                        37071      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78997.jpg                        37766      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78998.jpg                        39209      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78999.jpg                        42053      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79002.jpg                        36929      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79003.jpg                        36963      10/9/2024 17:58




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               All Paths/Locations                         Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79004.jpg                        41113      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79005.jpg                        38698      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79007.jpg                        40915      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79015.jpg                        36060      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79016.jpg                        35761      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79024.jpg                        34950      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79031.jpg                        37260      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79048.jpg                        38446      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79049.jpg                        48505      10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79050.jpg                        30701      10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79051.jpg                        37753      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79053.jpg                        39606      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79054.jpg                        40293      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79055.jpg                        34223      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79056.jpg                        40097      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79058.jpg                        39753      10/9/2024 18:01




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               All Paths/Locations                         Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79059.jpg                        37138      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79061.jpg                        36884      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79062.jpg                        35398      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79068.jpg                        37446      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79069.jpg                        45090      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79070.jpg                        41081      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79071.jpg                        33925      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79072.jpg                        33146      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79073.jpg                        37193      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79088.jpg                        29810      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79089.jpg                        36088      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79090.jpg                        36192      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79091.jpg                        28848      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79092.jpg                        37129      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79093.jpg                        27873      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79096.jpg                        29097      10/9/2024 17:45




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               All Paths/Locations                         Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79097.jpg                        42212      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79098.jpg                        33288      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79101.jpg                        34704      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79104.jpg                        30941      10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79105.jpg                        31994      10/9/2024 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79106.jpg                        33294      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79107.jpg                        29527      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79108.jpg                        34870      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79109.jpg                        30587      10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79110.jpg                        37691      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79111.jpg                        32060      10/9/2024 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79112.jpg                        32653      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79113.jpg                        40291      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79114.jpg                        38363      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79115.jpg                        31807      10/9/2024 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79116.jpg                        39541      10/9/2024 18:01




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               All Paths/Locations                         Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79117.jpg                        27909      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79120.jpg                        27380      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79122.jpg                        29940      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79123.jpg                        33170      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79127.jpg                        36142      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79128.jpg                        30735      10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79129.jpg                        33961      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79131.jpg                        39129      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79132.jpg                        28265      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79133.jpg                        31397      10/9/2024 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79135.jpg                        53678      10/9/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79136.jpg                        29232      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79137.jpg                        34860      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79140.jpg                        30979      10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79142.jpg                        38232      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79143.jpg                        31009      10/9/2024 17:48




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               All Paths/Locations                         Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79145.jpg                        29517      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79149.jpg                        33671      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79150.jpg                        29828      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79151.jpg                        36521      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79152.jpg                        40246      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79153.jpg                        30598      10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79154.jpg                        30355      10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79155.jpg                        31270      10/9/2024 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79156.jpg                        32233      10/9/2024 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79157.jpg                        31861      10/9/2024 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79158.jpg                        31108      10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79159.jpg                        29672      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79161.jpg                        33136      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79166.jpg                        34986      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79168.jpg                        31757      10/9/2024 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79170.jpg                        33886      10/9/2024 17:54




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               All Paths/Locations                         Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79173.jpg                        32772      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79174.jpg                        33876      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79176.jpg                        29518      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79177.jpg                        30253      10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79178.jpg                        40011      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79179.jpg                        31255      10/9/2024 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79181.jpg                        28968      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79182.jpg                        30734      10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79184.jpg                        36787      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79186.jpg                        39302      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79189.jpg                        30506      10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79191.jpg                        36043      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79192.jpg                        31874      10/9/2024 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79197.jpg                        28408      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79200.jpg                        30414      10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79201.jpg                        26782      10/9/2024 17:42




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               All Paths/Locations                         Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79202.jpg                        31858      10/9/2024 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79205.jpg                        29664      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79206.jpg                        37787      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79211.jpg                        31096      10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79214.jpg                        40155      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79219.jpg                        33300      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79225.jpg                        33872      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79228.jpg                        34952      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79234.jpg                        40065      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79238.jpg                        38601      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79260.jpg                        28760      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79264.jpg                        28583      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79265.jpg                        26814      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79268.jpg                        41066      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79271.jpg                        33581      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79277.jpg                        32281      10/9/2024 17:52




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               All Paths/Locations                         Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79281.jpg                        29998      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79282.jpg                        35634      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79283.jpg                        43882      10/9/2024 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79290.jpg                        33995      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79291.jpg                        37016      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79298.jpg                        29034      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79301.jpg                        30288      10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79308.jpg                        28740      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79314.jpg                        28996      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79315.jpg                        37629      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79316.jpg                        36559      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79317.jpg                        28363      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79323.jpg                        29748      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79335.jpg                        36289      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79344.jpg                        37550      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79346.jpg                        34296      10/9/2024 17:55




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               All Paths/Locations                         Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79348.jpg                        32059      10/9/2024 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79350.jpg                        39240      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79351.jpg                        37057      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79353.jpg                        25702      10/9/2024 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79354.jpg                        37987      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79355.jpg                        39077      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79356.jpg                        35180      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79358.jpg                        33025      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79359.jpg                        28654      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79360.jpg                        31615      10/9/2024 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79361.jpg                        33186      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79362.jpg                        32082      10/9/2024 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79363.jpg                        32818      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79364.jpg                        32592      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79365.jpg                        34178      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79366.jpg                        30040      10/9/2024 17:46




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               All Paths/Locations                         Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79367.jpg                        34193      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79368.jpg                        31515      10/9/2024 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79369.jpg                        51354      10/9/2024 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79374.jpg                        35003      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79375.jpg                        49712      10/9/2024 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79377.jpg                        56428      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79378.jpg                        27206      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79382.jpg                        38084      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79384.jpg                        38701      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79387.jpg                        34487      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79389.jpg                        38341      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79390.jpg                        39236      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79393.jpg                        37101      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79395.jpg                        52674      10/9/2024 18:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79398.jpg                        31610      10/9/2024 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79410.jpg                        38566      10/9/2024 18:00




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               All Paths/Locations                         Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79411.jpg                        24861      10/9/2024 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79412.jpg                        40190      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79415.jpg                        30661      10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79417.jpg                        29085      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79418.jpg                        29620      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79445.jpg                        33625      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79446.jpg                        30274      10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79447.jpg                        32613      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79501.jpg                        31040      10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79520.jpg                        33208      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79521.jpg                        31593      10/9/2024 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79526.jpg                        31301      10/9/2024 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79538.jpg                        41410      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79539.jpg                        38642      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79563.jpg                        51025      10/9/2024 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79565.jpg                        38971      10/9/2024 18:00




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               All Paths/Locations                         Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79568.jpg                        34244      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79571.jpg                        37729      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79572.jpg                        43489      10/9/2024 18:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79574.jpg                        36533      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79589.jpg                        38284      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79593.jpg                        28871      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79596.jpg                        44144      10/9/2024 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79598.jpg                        52993      10/9/2024 18:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79603.jpg                        30898      10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79604.jpg                        32195      10/9/2024 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79606.jpg                        38780      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79628.jpg                        39441      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79644.jpg                        33990      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79733.jpg                        29269      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79743.jpg                        29760      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79746.jpg                        29693      10/9/2024 17:46




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               All Paths/Locations                         Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79757.jpg                        30120      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79776.jpg                        28832      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79780.jpg                        29070      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79792.jpg                        41754      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79794.jpg                        34451      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79796.jpg                        32871      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79800.jpg                        26277      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79801.jpg                        30956      10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79802.jpg                        36938      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79830.jpg                        32587      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79831.jpg                        29270      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79836.jpg                        38654      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79841.jpg                        36543      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79845.jpg                        33566      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79912.jpg                        34311      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79916.jpg                        34230      10/9/2024 17:55




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               All Paths/Locations                         Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79917.jpg                        29481      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79924.jpg                        51347      10/9/2024 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79942.jpg                        29710      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          79943.jpg                        36697      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          80236.jpg                        30215      10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          80248.jpg                        28927      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          80251.jpg                        33167      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          80267.jpg                        37540      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          80285.jpg                        30404      10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          80289.jpg                        28200      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          80382.jpg                        33224      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          80389.jpg                        42302      10/9/2024 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          80422.jpg                        26495      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          80486.jpg                        28244      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          80492.jpg                        49334      10/9/2024 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          80568.jpg                        39341      10/9/2024 18:01




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          80575.jpg                         38022      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81335.jpg                         39264      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81374.jpg                         34980      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81394.jpg                         38369      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81412.jpg                         37441      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81413.jpg                         52445      10/9/2024 18:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81415.jpg                         55836      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81443.jpg                         38191      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81468.jpg                         41239      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81550.jpg                         24622      10/9/2024 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81551.jpg                         35818      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81552.jpg                         36494      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81553.jpg                         35181      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81554.jpg                         30034      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81555.jpg                         36646      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81556.jpg                         38888      10/9/2024 18:00




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81557.jpg                         35984      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81558.jpg                         33481      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81559.jpg                         36952      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81560.jpg                         33364      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81561.jpg                         40232      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81562.jpg                         41900      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81563.jpg                         36215      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81564.jpg                         38744      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81565.jpg                         38262      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81566.jpg                         36766      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81567.jpg                         37525      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81568.jpg                         34622      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81569.jpg                         37373      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81571.jpg                         32268      10/9/2024 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81573.jpg                         32695      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81574.jpg                         36618      10/9/2024 17:57




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81575.jpg                         36826      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81576.jpg                         28556      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81577.jpg                         37055      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81578.jpg                         32616      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81579.jpg                         38086      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81580.jpg                         32863      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81581.jpg                         39783      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81582.jpg                         34931      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81583.jpg                         35636      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81584.jpg                         37390      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81585.jpg                         33977      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81586.jpg                         33147      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81587.jpg                         32815      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81588.jpg                         35295      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81589.jpg                         36450      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81590.jpg                         34644      10/9/2024 17:55




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                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81591.jpg                         36774      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81592.jpg                         38789      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81593.jpg                         30948      10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81594.jpg                         36713      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81595.jpg                         36338      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81596.jpg                         35732      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81597.jpg                         37624      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81598.jpg                         38971      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81599.jpg                         32578      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81600.jpg                         31218      10/9/2024 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81601.jpg                         33772      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81602.jpg                         25856      10/9/2024 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81603.jpg                         29935      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81604.jpg                         30046      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81605.jpg                         28303      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81606.jpg                         35535      10/9/2024 17:56




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                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81607.jpg                         37164      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81608.jpg                         36140      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81609.jpg                         38714      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81610.jpg                         31521      10/9/2024 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81611.jpg                         35776      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81612.jpg                         40151      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81613.jpg                         35375      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81614.jpg                         32467      10/9/2024 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81615.jpg                         36237      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81616.jpg                         35416      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81617.jpg                         35561      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81618.jpg                         35215      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81620.jpg                         29276      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81621.jpg                         35872      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81622.jpg                         33493      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81623.jpg                         35337      10/9/2024 17:56




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                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81624.jpg                         35089      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81625.jpg                         37317      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81626.jpg                         34304      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81627.jpg                         40624      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81628.jpg                         40609      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81629.jpg                         35898      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81630.jpg                         35833      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81631.jpg                         31986      10/9/2024 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81632.jpg                         37725      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81633.jpg                         36134      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81634.jpg                         31502      10/9/2024 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81635.jpg                         35800      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81636.jpg                         35722      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81637.jpg                         31340      10/9/2024 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81638.jpg                         27822      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81639.jpg                         40482      10/9/2024 18:02




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                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81640.jpg                         33732      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81641.jpg                         37225      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81642.jpg                         38551      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81643.jpg                         33468      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81644.jpg                         31448      10/9/2024 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81645.jpg                         30931      10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81646.jpg                         33412      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81647.jpg                         35137      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81648.jpg                         35012      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81649.jpg                         37821      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81650.jpg                         34444      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81652.jpg                         35869      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81653.jpg                         36242      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81654.jpg                         36850      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81655.jpg                         34851      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81656.jpg                         39764      10/9/2024 18:01




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                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81658.jpg                         30349      10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81659.jpg                         36313      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81660.jpg                         36324      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81661.jpg                         37981      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81662.jpg                         27993      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81663.jpg                         40287      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81664.jpg                         32077      10/9/2024 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81665.jpg                         34691      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81666.jpg                         37981      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81667.jpg                         32269      10/9/2024 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81668.jpg                         30574      10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81669.jpg                         31738      10/9/2024 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81670.jpg                         28992      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81671.jpg                         32173      10/9/2024 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81672.jpg                         32554      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81673.jpg                         35782      10/9/2024 17:56




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                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81674.jpg                         32798      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81675.jpg                         34034      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81676.jpg                         33576      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81678.jpg                         28878      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81679.jpg                         33517      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81691.jpg                         31961      10/9/2024 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81696.jpg                         33541      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81697.jpg                         32567      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81698.jpg                         21929      10/9/2024 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81699.jpg                         28840      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81702.jpg                         30373      10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81704.jpg                         26260      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81705.jpg                         23675      10/9/2024 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81708.jpg                         30630      10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81709.jpg                         26816      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81711.jpg                         30028      10/9/2024 17:46




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                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81712.jpg                         37277      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81717.jpg                         32654      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81719.jpg                         28290      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81721.jpg                         26018      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81722.jpg                         28951      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81724.jpg                         28250      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81725.jpg                         29761      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81726.jpg                         26606      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81736.jpg                         26777      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81738.jpg                         23556      10/9/2024 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81739.jpg                         29031      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81740.jpg                         27968      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81741.jpg                         27254      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81742.jpg                         32517      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81746.jpg                         31579      10/9/2024 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81748.jpg                         29142      10/9/2024 17:45




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81749.jpg                         28271      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81753.jpg                         29677      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81755.jpg                         22968      10/9/2024 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81756.jpg                         24052      10/9/2024 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81758.jpg                         25130      10/9/2024 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81760.jpg                         29444      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81766.jpg                         33767      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81770.jpg                         23265      10/9/2024 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81771.jpg                         35642      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81773.jpg                         26676      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81775.jpg                         31125      10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81776.jpg                         30066      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81777.jpg                         23292      10/9/2024 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81781.jpg                         31029      10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81783.jpg                         27723      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81790.jpg                         42489      10/9/2024 18:04




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81791.jpg                         29417      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81793.jpg                         27781      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81795.jpg                         29087      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81798.jpg                         25845      10/9/2024 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81801.jpg                         28453      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81802.jpg                         27559      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81803.jpg                         24890      10/9/2024 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81804.jpg                         22970      10/9/2024 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81805.jpg                         29215      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81808.jpg                         22630      10/9/2024 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81814.jpg                         32963      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81822.jpg                         29105      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81823.jpg                         32884      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81826.jpg                         33002      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81828.jpg                         38571      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          81829.jpg                         34424      10/9/2024 17:55




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          8295.jpg                          66129      10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          8472.jpg                          69789      10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        3794.pdf                         291865      12/7/2023 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        67542.pdf                         83358      12/7/2023 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        69673.pdf                        102611      12/7/2023 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        70582.pdf                         34520      12/7/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        71091.pdf                        186134      12/7/2023 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        71115.pdf                        187534      12/7/2023 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        71127.pdf                        301765      12/7/2023 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        71284.pdf                        394780      12/7/2023 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        71680.pdf                        288488      12/7/2023 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        71738.pdf                        362151      12/7/2023 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        72950.pdf                        186134      12/7/2023 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        72974.pdf                        354172      12/7/2023 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        72986.pdf                        114819      12/7/2023 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        74454.pdf                        338264      12/7/2023 12:56




                                                          112
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 114 of
                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        74589.pdf                        186134      12/7/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        76138.pdf                        372921      12/7/2023 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78146.pdf                        368857      12/7/2023 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78155.pdf                        288647      12/7/2023 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78207.pdf                        242921      12/7/2023 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78295.pdf                        121452      12/7/2023 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78363.pdf                         94222      6/20/2023 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78397.pdf                         66486     12/22/2022 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78408.pdf                         43560       10/6/2023 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78416.pdf                         43950      12/5/2023 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78422.pdf                         60551       5/15/2023 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78492.pdf                        890838      11/14/2023 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78496.pdf                        890838      11/14/2023 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78679.pdf                        420048        6/6/2023 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78685.pdf                         59510       7/3/2023 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78728.pdf                         82439      7/11/2023 11:36




                                                          113
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 115 of
                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78740.pdf                         68820     11/28/2023 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78741.pdf                         69729     11/28/2023 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78744.pdf                         61966       12/4/2023 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78768.pdf                         68279       12/4/2023 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78798.pdf                         45453     11/30/2023 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78813.pdf                         93963      12/28/2022 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78815.pdf                         89294     11/14/2023 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78827.pdf                         36135     11/17/2023 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78833.pdf                        103297     11/14/2023 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78843.pdf                         34227       1/3/2023 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78856.pdf                         31350      12/4/2023 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78865.pdf                         78807     12/19/2022 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78880.pdf                         75519      11/15/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78903.pdf                         41015      9/25/2023 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78905.pdf                         78814     12/14/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78906.pdf                         99164     12/12/2022 16:14




                                                          114
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 116 of
                                       3467



               All Paths/Locations                             Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78911.pdf                            54093     11/13/2023 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78918.pdf                           219916      12/7/2023 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78937.pdf                           254694      12/7/2023 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78939.pdf                           152162      12/7/2023 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78948.pdf                           187632      12/7/2023 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78953.pdf                           146880      12/7/2023 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78954.pdf                           270779      12/7/2023 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78969.pdf                           179730      12/7/2023 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78976.pdf                           172853      12/7/2023 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78977.pdf                           169345      12/7/2023 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78980.pdf                           152032      12/7/2023 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        78996.pdf                           233860      12/7/2023 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79002.pdf                           148612      12/7/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79003 lump.pdf                      217539      12/7/2023 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79003 monthly.pdf                   231948      12/7/2023 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79049.pdf                           185391      12/7/2023 12:54




                                                            115
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 117 of
                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79056.pdf                        180523      12/7/2023 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79059.pdf                        152312      12/7/2023 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79087.pdf                         37859      12/7/2023 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79088.pdf                         38202      12/7/2023 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79089.pdf                         40279      12/7/2023 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79091.pdf                         38503      12/7/2023 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79093.pdf                         38576      12/7/2023 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79094.pdf                         38503      12/7/2023 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79095.pdf                         90129      12/7/2023 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79096.pdf                         96621      12/7/2023 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79098.pdf                         56091      12/7/2023 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79101.pdf                         31009      12/7/2023 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79102.pdf                         28064      12/7/2023 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79103.pdf                         31009      12/7/2023 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79104.pdf                         28064      12/7/2023 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79105.pdf                         55620      12/7/2023 12:19




                                                          116
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 118 of
                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79106.pdf                         37007      12/7/2023 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79107.pdf                         22310      12/7/2023 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79108.pdf                         49317      12/7/2023 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79109.pdf                         55620      12/7/2023 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79111.pdf                         71509      12/7/2023 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79112.pdf                         51024      12/7/2023 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79115.pdf                         56091      12/7/2023 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79116.pdf                         49228      12/7/2023 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79117.pdf                         87009      12/7/2023 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79118.pdf                         33853      12/7/2023 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79120.pdf                         46811      12/7/2023 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79121.pdf                         34659      12/7/2023 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79122.pdf                         64124      12/7/2023 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79123.pdf                         23683      12/7/2023 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79125.pdf                         22021      12/7/2023 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79127.pdf                         53824      12/7/2023 12:33




                                                          117
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 119 of
                                       3467



               All Paths/Locations                          Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79128.pdf                         21649       12/7/2023 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79129.pdf                         43543       12/7/2023 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79130.pdf                         75037       12/7/2023 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79131.pdf                         49228       12/7/2023 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79260.pdf                           6307       9/23/2022 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79270.pdf                         43188      11/15/2023 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79279.pdf                         43188      11/15/2023 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79280.pdf                         28745       11/30/2023 7:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79281.pdf                         31843      11/15/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79282.pdf                         31843      11/15/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79285.pdf                           2791      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79286.pdf                           2791      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79287.pdf                         30423       10/26/2023 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79290.pdf                           2395      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79292.pdf                         33142        12/7/2023 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79293.pdf                         43188      11/15/2023 13:43




                                                          118
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 120 of
                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79296.pdf                         31024      11/21/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79298.pdf                         38036      12/7/2023 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79374.pdf                        103869     11/16/2023 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79375.pdf                         67136       12/4/2023 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79377.pdf                         73552       12/4/2023 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79382.pdf                         83439       3/6/2023 16:11
Saiph consulting|\Audit Materials Received-
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Images                                        79390.pdf                         63815      6/16/2023 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79395.pdf                         52833       12/4/2023 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79398.pdf                         43837     11/30/2023 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79410.pdf                         74781       12/4/2023 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79424.pdf                         36973      12/7/2023 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79425.pdf                         38117      12/7/2023 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79644.pdf                        391777       6/1/2023 10:31
Saiph consulting|\Audit Materials Received-
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Images                                        79791.pdf                        397016      3/28/2023 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79792.pdf                         95532       12/4/2023 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79802.pdf                         37721        3/8/2023 9:46




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79831.pdf                         74847      7/31/2023 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79924.pdf                         42615     11/27/2023 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        79942.pdf                         69185        7/3/2023 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        80389.pdf                         73965      11/1/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        81374.pdf                         87173     11/22/2023 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        81394.pdf                         67402     10/17/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        81412.pdf                         76121      7/31/2023 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        81415.pdf                         37544     11/27/2023 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        81443.pdf                         45709      12/5/2023 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images                                        81468.pdf                        155342      11/14/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  3794.pdf                         291865      12/7/2023 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  71127.pdf                        301765      12/7/2023 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  71284.pdf                        394780      12/7/2023 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  71680.pdf                        288488      12/7/2023 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  71738.pdf                        362151      12/7/2023 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  72974.pdf                        354172      12/7/2023 12:50




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  72986.pdf                        114819      12/7/2023 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  74454.pdf                        338264      12/7/2023 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  76138.pdf                        372921      12/7/2023 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78146.pdf                        368857      12/7/2023 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78155.pdf                        288647      12/7/2023 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78207.pdf                        242921      12/7/2023 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78295.pdf                        121452      12/7/2023 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78363.pdf                         94222      6/20/2023 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78397.pdf                         66486     12/22/2022 13:08
Saiph consulting|\Audit Materials Received-
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Images\Check                                  78408.pdf                         43560       10/6/2023 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78416.pdf                         43950      12/5/2023 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78422.pdf                         60551       5/15/2023 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78679.pdf                        420048        6/6/2023 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78685.pdf                         59510       7/3/2023 13:55
Saiph consulting|\Audit Materials Received-
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Images\Check                                  78728.pdf                         82439      7/11/2023 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78740.pdf                         68820     11/28/2023 15:21




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78741.pdf                         69729     11/28/2023 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78744.pdf                         61966       12/4/2023 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78768.pdf                         68279       12/4/2023 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78798.pdf                         45453     11/30/2023 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78813.pdf                         93963      12/28/2022 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78815.pdf                         89294     11/14/2023 15:05
Saiph consulting|\Audit Materials Received-
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Images\Check                                  78827.pdf                         36135     11/17/2023 13:45
Saiph consulting|\Audit Materials Received-
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Images\Check                                  78833.pdf                        103297     11/14/2023 12:07
Saiph consulting|\Audit Materials Received-
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Images\Check                                  78843.pdf                         34227       1/3/2023 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78856.pdf                         31350      12/4/2023 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78865.pdf                         78807     12/19/2022 13:15
Saiph consulting|\Audit Materials Received-
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Images\Check                                  78880.pdf                         75519      11/15/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78903.pdf                         41015      9/25/2023 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78905.pdf                         78814     12/14/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78906.pdf                         99164     12/12/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78911.pdf                         54093     11/13/2023 11:18




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               All Paths/Locations                             Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78918.pdf                           219916      12/7/2023 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78937.pdf                           254694      12/7/2023 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78939.pdf                           152162      12/7/2023 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78948.pdf                           187632      12/7/2023 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78953.pdf                           146880      12/7/2023 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78954.pdf                           270779      12/7/2023 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78969.pdf                           179730      12/7/2023 12:31
Saiph consulting|\Audit Materials Received-
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Images\Check                                  78976.pdf                           172853      12/7/2023 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78977.pdf                           169345      12/7/2023 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78980.pdf                           152032      12/7/2023 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  78996.pdf                           233860      12/7/2023 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  79002.pdf                           148612      12/7/2023 12:52
Saiph consulting|\Audit Materials Received-
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Images\Check                                  79003 lump.pdf                      217539      12/7/2023 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  79003 monthly.pdf                   231948      12/7/2023 12:53
Saiph consulting|\Audit Materials Received-
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Images\Check                                  79049.pdf                           185391      12/7/2023 12:54
Saiph consulting|\Audit Materials Received-
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Images\Check                                  79056.pdf                           180523      12/7/2023 12:55




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  79059.pdf                        152312      12/7/2023 12:56
Saiph consulting|\Audit Materials Received-
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Images\Check                                  79374.pdf                        103869     11/16/2023 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  79375.pdf                         67136       12/4/2023 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  79377.pdf                         73552       12/4/2023 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  79382.pdf                         83439       3/6/2023 16:11
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Saiph consulting|\Audit Materials Received-
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Images\Check                                  79410.pdf                         74781       12/4/2023 9:32
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Saiph consulting|\Audit Materials Received-
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Images\Check                                  79831.pdf                         74847      7/31/2023 13:52
Saiph consulting|\Audit Materials Received-
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Images\Check                                  79924.pdf                         42615     11/27/2023 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  79942.pdf                         69185        7/3/2023 9:55




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               All Paths/Locations                             Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  80389.pdf                            73965      11/1/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  81374.pdf                            87173     11/22/2023 11:11
Saiph consulting|\Audit Materials Received-
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Images\Check                                  81394.pdf                            67402     10/17/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  81412.pdf                            76121      7/31/2023 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  81415.pdf                            37544     11/27/2023 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  81443.pdf                            45709      12/5/2023 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Check                                  81468.pdf                           155342      11/14/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              67542 nc.pdf                         83358      12/7/2023 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              69673.pdf                           102611      12/7/2023 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              70582.pdf                            34520      12/7/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              71091.pdf                           186134      12/7/2023 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              71115.pdf                           187534      12/7/2023 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              72950.pdf                           186134      12/7/2023 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              74589.pdf                           186134      12/7/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              78492.pdf                           890838      11/14/2023 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              78496.pdf                           890838      11/14/2023 9:21




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79087.pdf                         37859      12/7/2023 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79088.pdf                         38202      12/7/2023 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79089.pdf                         40279      12/7/2023 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79091.pdf                         38503      12/7/2023 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79093.pdf                         38576      12/7/2023 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79094.pdf                         38503      12/7/2023 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79095.pdf                         90129      12/7/2023 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79096.pdf                         96621      12/7/2023 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79098.pdf                         56091      12/7/2023 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79101.pdf                         31009      12/7/2023 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79102.pdf                         28064      12/7/2023 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79103.pdf                         31009      12/7/2023 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79104.pdf                         28064      12/7/2023 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79105.pdf                         55620      12/7/2023 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79106.pdf                         37007      12/7/2023 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79107.pdf                         22310      12/7/2023 12:21




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79108.pdf                         49317      12/7/2023 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79109.pdf                         55620      12/7/2023 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79111.pdf                         71509      12/7/2023 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79112.pdf                         51024      12/7/2023 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79115.pdf                         56091      12/7/2023 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79116.pdf                         49228      12/7/2023 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79117.pdf                         87009      12/7/2023 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79118.pdf                         33853      12/7/2023 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79120.pdf                         46811      12/7/2023 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79121.pdf                         34659      12/7/2023 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79122.pdf                         64124      12/7/2023 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79123.pdf                         23683      12/7/2023 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79125.pdf                         22021      12/7/2023 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79127.pdf                         53824      12/7/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79128.pdf                         21649      12/7/2023 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79129.pdf                         43543      12/7/2023 12:36




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               All Paths/Locations                          Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79130.pdf                         75037       12/7/2023 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79131.pdf                         49228       12/7/2023 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79260.pdf                           6307       9/23/2022 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79270.pdf                         43188      11/15/2023 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79279.pdf                         43188      11/15/2023 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79280.pdf                         28745       11/30/2023 7:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79281.pdf                         31843      11/15/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79282.pdf                         31843      11/15/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79285.pdf                           2791      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79286.pdf                           2791      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79287.pdf                         30423       10/26/2023 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79290.pdf                           2395      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79292.pdf                         33142        12/7/2023 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79293.pdf                         43188      11/15/2023 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79296.pdf                         31024       11/21/2023 7:45
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79424.pdf                         36973      12/7/2023 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images\Not Check                              79425.pdf                         38117      12/7/2023 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                3794.pdf                         291865      12/7/2023 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                67542.pdf                         83358      12/7/2023 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                69673.pdf                        102611      12/7/2023 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                70582.pdf                         34520      12/7/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                71091.pdf                        186134      12/7/2023 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                71115.pdf                        187534      12/7/2023 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                71127.pdf                        301765      12/7/2023 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                71284.pdf                        394780      12/7/2023 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                71680.pdf                        288488      12/7/2023 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                71738.pdf                        362151      12/7/2023 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                72950.pdf                        186134      12/7/2023 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                72974.pdf                        354172      12/7/2023 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                72986.pdf                        114819      12/7/2023 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                74454.pdf                        338264      12/7/2023 12:56




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                74589.pdf                        186134      12/7/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                76138.pdf                        372921      12/7/2023 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78146.pdf                        368857      12/7/2023 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78155.pdf                        288647      12/7/2023 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78207.pdf                        242921      12/7/2023 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78295.pdf                        121452      12/7/2023 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78363.pdf                         94222      6/20/2023 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78397.pdf                         66486     12/22/2022 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78408.pdf                         43560       10/6/2023 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78416.pdf                         43950      12/5/2023 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78422.pdf                         60551       5/15/2023 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78492.pdf                        890838      11/14/2023 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78496.pdf                        890838      11/14/2023 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78679.pdf                        420048        6/6/2023 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78685.pdf                         59510       7/3/2023 13:55
Saiph consulting|\Audit Materials Received-
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Images 6.20.24                                78728.pdf                         82439      7/11/2023 11:36




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78740.pdf                         68820     11/28/2023 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78741.pdf                         69729     11/28/2023 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78744.pdf                         61966       12/4/2023 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78768.pdf                         68279       12/4/2023 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78798.pdf                         45453     11/30/2023 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78813.pdf                         93963      12/28/2022 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78815.pdf                         89294     11/14/2023 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78827.pdf                         36135     11/17/2023 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78833.pdf                        103297     11/14/2023 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78843.pdf                         34227       1/3/2023 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78856.pdf                         31350      12/4/2023 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78865.pdf                         78807     12/19/2022 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78880.pdf                         75519      11/15/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78903.pdf                         41015      9/25/2023 10:47
Saiph consulting|\Audit Materials Received-
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Images 6.20.24                                78905.pdf                         78814     12/14/2022 15:49
Saiph consulting|\Audit Materials Received-
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Images 6.20.24                                78906.pdf                         99164     12/12/2022 16:14




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               All Paths/Locations                             Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78911.pdf                            54093     11/13/2023 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78918.pdf                           219916      12/7/2023 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78937.pdf                           254694      12/7/2023 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78939.pdf                           152162      12/7/2023 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78948.pdf                           187632      12/7/2023 12:28
Saiph consulting|\Audit Materials Received-
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Images 6.20.24                                78953.pdf                           146880      12/7/2023 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78954.pdf                           270779      12/7/2023 12:30
Saiph consulting|\Audit Materials Received-
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Images 6.20.24                                78969.pdf                           179730      12/7/2023 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78976.pdf                           172853      12/7/2023 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78977.pdf                           169345      12/7/2023 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78980.pdf                           152032      12/7/2023 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                78996.pdf                           233860      12/7/2023 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79002.pdf                           148612      12/7/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79003 lump.pdf                      217539      12/7/2023 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79003 monthly.pdf                   231948      12/7/2023 12:53
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Images 6.20.24                                79049.pdf                           185391      12/7/2023 12:54




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79056.pdf                        180523      12/7/2023 12:55
Saiph consulting|\Audit Materials Received-
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Images 6.20.24                                79059.pdf                        152312      12/7/2023 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79069.pdf                        165915      12/7/2023 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79087.pdf                         37859      12/7/2023 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79088.pdf                         38202      12/7/2023 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79089.pdf                         40279      12/7/2023 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79091.pdf                         38503      12/7/2023 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79093.pdf                         38576      12/7/2023 13:13
Saiph consulting|\Audit Materials Received-
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Images 6.20.24                                79094.pdf                         38503      12/7/2023 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79095.pdf                         90129      12/7/2023 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79096.pdf                         96621      12/7/2023 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79098.pdf                         56091      12/7/2023 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79101.pdf                         31009      12/7/2023 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79102.pdf                         28064      12/7/2023 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79103.pdf                         31009      12/7/2023 12:14
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Images 6.20.24                                79104.pdf                         28064      12/7/2023 12:18




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79105.pdf                         55620      12/7/2023 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79106.pdf                         37007      12/7/2023 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79107.pdf                         22310      12/7/2023 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79108.pdf                         49317      12/7/2023 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79109.pdf                         55620      12/7/2023 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79111.pdf                         71509      12/7/2023 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79112.pdf                         51024      12/7/2023 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79115.pdf                         56091      12/7/2023 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79116.pdf                         49228      12/7/2023 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79117.pdf                         87009      12/7/2023 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79118.pdf                         33853      12/7/2023 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79120.pdf                         46811      12/7/2023 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79121.pdf                         34659      12/7/2023 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79122.pdf                         64124      12/7/2023 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79123.pdf                         23683      12/7/2023 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79125.pdf                         22021      12/7/2023 12:32




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                                       3467



               All Paths/Locations                          Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79127.pdf                         53824       12/7/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79128.pdf                         21649       12/7/2023 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79129.pdf                         43543       12/7/2023 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79130.pdf                         75037       12/7/2023 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79131.pdf                         49228       12/7/2023 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79260.pdf                           6307       9/23/2022 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79270.pdf                         43188      11/15/2023 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79279.pdf                         43188      11/15/2023 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79280.pdf                         28745       11/30/2023 7:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79281.pdf                         31843      11/15/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79282.pdf                         31843      11/15/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79285.pdf                           2791      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79286.pdf                           2791      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79287.pdf                         30423       10/26/2023 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79290.pdf                           2395      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79292.pdf                         33142        12/7/2023 9:33




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79293.pdf                         43188     11/15/2023 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79296.pdf                         31024      11/21/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79298.pdf                         38036      12/7/2023 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79374.pdf                        103869     11/16/2023 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79375.pdf                         67136       12/4/2023 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79377.pdf                         73552       12/4/2023 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79382.pdf                         83439       3/6/2023 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79390.pdf                         63815      6/16/2023 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79395.pdf                         52833       12/4/2023 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79398.pdf                         43837     11/30/2023 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79410.pdf                         74781       12/4/2023 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79424.pdf                         36973      12/7/2023 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79425.pdf                         38117      12/7/2023 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79644.pdf                        391777       6/1/2023 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79791.pdf                        397016      3/28/2023 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                79792.pdf                         95532       12/4/2023 9:54




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               All Paths/Locations                             Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                 79802.pdf                                        37721        3/8/2023 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                 79831.pdf                                        74847      7/31/2023 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                 79924.pdf                                        42615     11/27/2023 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                 79942.pdf                                        69185        7/3/2023 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                 80389.pdf                                        73965      11/1/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                 81374.pdf                                        87173     11/22/2023 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                 81394.pdf                                        67402     10/17/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                 81412.pdf                                        76121      7/31/2023 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                 81415.pdf                                        37544     11/27/2023 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                 81443.pdf                                        45709      12/5/2023 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester Check
Images 6.20.24                                 81468.pdf                                       155342      11/14/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-01-01__414842_4302033600-11-
01 - 2024-05-31\check_images\3794              300.00.pdf                                       87847     12/28/2020 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\3794              2021-02-01__427466_4302044586-9-300.00.pdf       88624      1/26/2021 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-03-01__438645_4302055247-44-
01 - 2024-05-31\check_images\3794              300.00.pdf                                       85831      2/23/2021 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\3794              2021-04-01__451802_4302066252-3-300.00.pdf       83203      3/29/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-05-01__463525_4302076728-45-
01 - 2024-05-31\check_images\3794              300.00.pdf                                       86258      4/27/2021 20:18




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               All Paths/Locations                             Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-06-01__474585_4302087339-17-
01 - 2024-05-31\check_images\3794              300.00.pdf                                    85479      5/26/2021 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-07-01__486210_4302097327-9-300.00
01 - 2024-05-31\check_images\3794              USD.pdf                                       35973      6/25/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-08-01__498363_4302108220-20-300.00
01 - 2024-05-31\check_images\3794              USD.pdf                                       80670      7/26/2021 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-09-01__513329_4302118692-39-300.00
01 - 2024-05-31\check_images\3794              USD.pdf                                       89614      8/25/2021 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-10-01__528086_4302128776-20-300.00
01 - 2024-05-31\check_images\3794              USD.pdf                                       85962      9/27/2021 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-11-01__540212_4302138985-1-300.00
01 - 2024-05-31\check_images\3794              USD.pdf                                       87994     10/27/2021 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-12-01__552404_4302149133-32-300.00
01 - 2024-05-31\check_images\3794              USD.pdf                                       83598     11/23/2021 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-01-01__568057_4302159267-35-300.00
01 - 2024-05-31\check_images\3794              USD.pdf                                       86960     12/30/2021 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-02-01__580811_4302169431-5-300.00
01 - 2024-05-31\check_images\3794              USD.pdf                                       87831       2/1/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-03-01__609122_4302179109-15-300.00
01 - 2024-05-31\check_images\3794              USD.pdf                                       90560      3/30/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-01__606387_4302189039-6-300.00
01 - 2024-05-31\check_images\3794              USD.pdf                                       82312      3/28/2022 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-01__620744_4302198503-5-300.00
01 - 2024-05-31\check_images\3794              USD.pdf                                       87429       4/25/2022 6:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-01__633659_4302208371-8-300.00
01 - 2024-05-31\check_images\3794              USD.pdf                                      111113      5/23/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-01__649399_4302217871-31-300.00
01 - 2024-05-31\check_images\3794              USD.pdf                                      126024      6/27/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-01__661816_4302227501-31-300.00
01 - 2024-05-31\check_images\3794              USD.pdf                                       71942       7/26/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-01__675153_4302237016-13-300.00
01 - 2024-05-31\check_images\3794              USD.pdf                                       71437      8/25/2022 13:52




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               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-01__689428_item-26_4302246183-26-
01 - 2024-05-31\check_images\3794              300.00 USD.pdf                                 116726      9/27/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-01__701632_item-39_4302255694-39-
01 - 2024-05-31\check_images\3794              300.00 USD.pdf                                  84518     10/24/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__714211_item-5_4302264979-5-
01 - 2024-05-31\check_images\3794              300.00 USD.pdf                                  75663     11/22/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__727236_item-32_4302274140-32-
01 - 2024-05-31\check_images\3794              300.00 USD.pdf                                  69303     12/22/2022 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__740600_item-32_4302283692-32-
01 - 2024-05-31\check_images\3794              300.00 USD.pdf                                  82430      1/23/2023 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__753578_item-42_4302292659-42-
01 - 2024-05-31\check_images\3794              300.00 USD.pdf                                  83489      2/22/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__768658_item-24_4302301841-24-
01 - 2024-05-31\check_images\3794              300.00 USD.pdf                                  84198      3/27/2023 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__780948_item-39_4302310830-39-
01 - 2024-05-31\check_images\3794              300.00 USD.pdf                                  86794      4/24/2023 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__796284_item-11_4302319883-11-
01 - 2024-05-31\check_images\3794              300.00 USD.pdf                                  93404      5/30/2023 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__809571_item-16_4302328619-16-
01 - 2024-05-31\check_images\3794              300.00 USD.pdf                                  82437      6/27/2023 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__824376_item-31_4302337612-31-
01 - 2024-05-31\check_images\3794              300.00 USD.pdf                                  89298      7/31/2023 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__837029_item-13_4302346325-13-
01 - 2024-05-31\check_images\3794              300.00 USD.pdf                                  82238       8/29/2023 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__850771_item-17_4302354769-17-
01 - 2024-05-31\check_images\3794              300.00 USD.pdf                                  81556      9/28/2023 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__862225_item-45_4302363723-45-
01 - 2024-05-31\check_images\3794              300.00 USD.pdf                                  62686      10/26/2023 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__876389_item-9_4302372332-9-
01 - 2024-05-31\check_images\3794              300.00 USD.pdf                                  82318     11/28/2023 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__889034_item-35_4302380724-35-
01 - 2024-05-31\check_images\3794              300.00 USD.pdf                                  68778     12/26/2023 13:56




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               All Paths/Locations                             Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__902241_item-20_4302389701-20-
01 - 2024-05-31\check_images\3794              300.00 USD.pdf                                    89477       1/29/2024 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__917618_item-36_4302398139-36-
01 - 2024-05-31\check_images\3794              300.00 USD.pdf                                    76575       2/29/2024 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__928220_item-22_4302406605-22-
01 - 2024-05-31\check_images\3794              300.00 USD.pdf                                   111786       3/26/2024 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__941447_item-6_4302415160-6-
01 - 2024-05-31\check_images\3794              300.00 USD.pdf                                    74954      4/25/2024 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\67542             2021-04-20__500818_splcss III 7-30-2021.pdf       97284      7/30/2021 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\67542             2021-05-20__566851_splcss II 12-29-2021.pdf      232803     12/29/2021 22:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\67542             2021-06-20__516732_Mila.pdf                       62464      8/31/2021 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-07-20__524602_DRB Old Payments 9-17-
01 - 2024-05-31\check_images\67542             2021.pdf                                         188999      9/17/2021 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-08-20__513487_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 08-25-2021.pdf                  160923      8/25/2021 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-09-20__526656_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 09-22-2021.pdf                  192565      9/22/2021 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-10-20__538748_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 10-20-2021.pdf                  186752     10/20/2021 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-11-20__550647_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 11-17-2021.pdf                  179641     11/17/2021 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-12-20__564641_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 12-22-2021.pdf                  190296     12/22/2021 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-01-20__575950_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 01-19-2022.pdf                  198404      1/19/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-02-20__589728_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 02-23-2022.pdf                  170725      2/23/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-20__619647_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 04-20-2022.pdf                  180879      4/20/2022 15:19




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               All Paths/Locations                             Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-20__634943_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 5-25-2022.pdf            157181      5/25/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-20__647511_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 6-22-2022.pdf            188411      6/22/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-20__660125_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 7-20-2022.pdf            192303      7/20/2022 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-20__674594_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 8-24-2022.pdf            156062      8/24/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-20__687245_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 9-21-2022.pdf            185984      9/21/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-20__726761_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 12-21-2022.pdf           205972     12/21/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-20__739167_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 1-18-2023.pdf            215009      1/18/2023 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-20__751443_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 2-15-2023.pdf            195089      2/15/2023 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-20__766758_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 3-22-2023.pdf            171363      3/22/2023 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-20__779590_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 4-19-2023.pdf            179337      4/19/2023 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-20__792587_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 5-17-2023.pdf            191198      5/17/2023 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-20__807240_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 6-21-2023.pdf            187448      6/21/2023 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-20__822002_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 7-26-2023.pdf            145522      7/26/2023 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-20__834946_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 8-23-2023.pdf            170224      8/23/2023 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-20__847139_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 9-20-2023.pdf            186661      9/20/2023 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-20__874655_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 11-22-2023.pdf           145529     11/22/2023 12:37




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 143 of
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               All Paths/Locations                             Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-20__887516_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 12-20-2023.pdf                   197646     12/20/2023 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-20__899633_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 1-17-2024.pdf                    188534      1/17/2024 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-20__914221_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 2-21-2024.pdf                    188853      2/21/2024 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-20__926514_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 3-20-2024.pdf                    161334      3/20/2024 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-20__941170_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 4-24-2024.pdf                    162996      4/24/2024 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-20__954017_DRB Check Booking
01 - 2024-05-31\check_images\67542             Template Updated 5-22-2024.pdf                    175513      5/22/2024 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-28__941219_DRB Check Booking
01 - 2024-05-31\check_images\69608             Template Updated 4-24-2024.pdf                    162996      4/24/2024 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\69673             2021-04-01__507377_nala 4-2021 checks.pdf         257992      8/14/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\69673             2021-05-01__509471_nala 5-2021 checks.pdf         217977      8/16/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-06-01__516454_Drb payments part 1 8-31-
01 - 2024-05-31\check_images\69673             2021.pdf                                           74554      8/31/2021 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-07-01__523965_DRB Old Payments 9-17-
01 - 2024-05-31\check_images\69673             2021.pdf                                          188999      9/17/2021 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-08-01__524924_DRB Old Payments 9-17-
01 - 2024-05-31\check_images\69673             2021.pdf                                          188999      9/17/2021 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-09-01__520663_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 09-08-2021.pdf                   208178       9/8/2021 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-10-01__533983_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 10-06-2021.pdf                   238482      10/6/2021 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-11-01__544676_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 11-03-2021.pdf                   211151      11/3/2021 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-12-01__559071_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 12-08-2021.pdf                   181678      12/8/2021 15:05




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               All Paths/Locations                             Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-01-01__570025_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 01-05-2022.pdf           193092       1/5/2022 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-02-01__585294_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 02-09-2022.pdf           191569       2/9/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-03-01__596117_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 03-09-2022.pdf           229139       3/9/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-01__613502_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 04-06-2022.pdf           208191       4/6/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-01__629241_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 5-11-2022.pdf            193228      5/11/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-01__647167_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 6-22-2022.pdf            188411      6/22/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-01__654730_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 7-06-2022.pdf            233409       7/6/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-01__666776_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 8-3-2022.pdf             197412       8/3/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-01__682171_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 9-7-2022.pdf             196534       9/7/2022 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-01__706523_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 11-02-2022.pdf           190649      11/2/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__717469_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 11-30-2022.pdf           151904     11/30/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__736034_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 1-11-2023.pdf            219221      1/11/2023 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__748076_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 2-8-2023.pdf             263071       2/8/2023 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__761334_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 3-8-2023.pdf             233288       3/8/2023 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__774161_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 4-5-2023.pdf             225330       4/5/2023 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__786451_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 5-03-2023.pdf            186899       5/3/2023 13:48




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__797699_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 5-31-2023.pdf                    153983      5/31/2023 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__814061_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 7-5-2023.pdf                     230892       7/5/2023 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__829929_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 8-9-2023.pdf                     212058       8/9/2023 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__842010_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 9-06-2023.pdf                    214600       9/6/2023 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__854377_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 10-04-2023.pdf                   202783      10/4/2023 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__881845_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 12-06-2023.pdf                   193382      12/6/2023 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__896546_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 1-10-2024.pdf                    188175      1/10/2024 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__921224_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 3-06-2024.pdf                    210889       3/6/2024 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__933614_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 4-03-2024.pdf                    204241       4/3/2024 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__945589_DRB Check Booking
01 - 2024-05-31\check_images\69673             Template Updated 5-01-2024.pdf                    196497       5/1/2024 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582             2021-11-01__578438_90day 1.25.2022.pdf            112148      1/25/2022 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582             2021-12-01__608138_90day float 3-29-2022.pdf       88526      3/29/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-01-01__621054_90 day floats 4-25-
01 - 2024-05-31\check_images\70582             2022.pdf                                           83472      4/25/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582             RE: Concentration IN - 01.24.2024                 280576      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582             RE: Concentration IN - 01.24.2024                 280576      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582             RE: Concentration IN - 01.24.2024                 280576      1/26/2024 15:54




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582             RE: Concentration IN - 01.24.2024               280576      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582             RE: Concentration IN - 01.24.2024               280576      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582             RE: Concentration IN - 01.24.2024               280576      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582             RE: Concentration IN - 01.24.2024               280576      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582             RE: Concentration IN - 01.24.2024               280576      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582             RE: Concentration IN - 01.24.2024               280576      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582             RE: Concentration IN - 01.24.2024               280576      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582             RE: Concentration IN - 01.24.2024               280576      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__907505_$500 Thomas Belanger ID
01 - 2024-05-31\check_images\70582             70582.pdf                                       105927       2/5/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__912001_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582             02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__912003_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582             02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__912004_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582             02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__912005_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582             02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__912007_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582             02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__912010_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582             02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__912012_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582             02122024.pdf                                    180902       2/16/2024 8:23




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__912013_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582             02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__912014_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582             02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__912016_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582             02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-    2023-12-01__898250_RE_ 0328359 Provident
SuttonPark\Check Images\Dorchester II 2021-01- Trust Group LLC FBO Wayne E Anderson SDIRA
01 - 2024-05-31\check_images\70582             Thomas Belanger.pdf                             319816      1/16/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582             image002.png                                     15879
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582             image003.png                                     11266
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\70582             RE: Concentration IN - 01.24.2024               280576      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__912020_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582             02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__912021_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582             02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__912024_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582             02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__912027_Thomas Belanger 70582
01 - 2024-05-31\check_images\70582             02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__903097_item-18_4302389613-18-
01 - 2024-05-31\check_images\71089             518.00 USD.pdf                                   89288       1/29/2024 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__917529_item-15_4302398053-15-
01 - 2024-05-31\check_images\71089             518.00 USD.pdf                                   75878      2/27/2024 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__928228_item-27_4302406517-27-
01 - 2024-05-31\check_images\71089             518.00 USD.pdf                                  111905       3/26/2024 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__941530_item-25_4302415066-25-
01 - 2024-05-31\check_images\71089             518.00 USD.pdf                                   73961       4/25/2024 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091             2022-01-17__609795_Goldstar 3 24 2022.pdf       239637      3/31/2022 10:38




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               All Paths/Locations                             Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091             2022-02-17__609797_Goldstar 3 24 2022.pdf         239637      3/31/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091             2022-03-17__609798_Goldstar 3 24 2022.pdf         239637      3/31/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-17__619281_Goldstar Deposit for 4 19
01 - 2024-05-31\check_images\71091             2022.pdf                                          662925      4/20/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-17__632760_GoldStar Wire Info 5 19
01 - 2024-05-31\check_images\71091             2022.pdf                                          327430      5/19/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091             2022-06-17__646109_Goldstar 6 21 2022.pdf         921719       6/21/2022 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091             2022-07-17__658636_Goldstar 7 18 2022.pdf         311135      7/18/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-17__672810_Goldstar Deposit 8 18
01 - 2024-05-31\check_images\71091             2022.pdf                                          923486      8/18/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091             2022-09-17__687354_Goldstar 9 22 2022.pdf         928591       9/22/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091             2022-10-17__700108_Goldstar 10 18 thomas.pdf      896021      10/20/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091             2022-11-17__712828_Goldsar 11 1 82022.pdf         907835      11/18/2022 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091             2022-12-17__725825_Goldstar 12 20 2022.pdf        908811      12/20/2022 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091             2023-01-17__738614_Goldstar 1 18 2023.pdf         909662      1/18/2023 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091             2023-02-17__753383_goldstar 2 22 2023.pdf         909247       2/22/2023 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091             2023-03-17__765402_goldstar 3 20 2023 II.pdf      918044      3/20/2023 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091             2023-04-17__777489_goldstar 4 14 2023.pdf         910583      4/14/2023 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091             2023-05-17__792719_goldstar 5 18 2023.pdf         908350       5/18/2023 9:10




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               All Paths/Locations                                Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091             2023-06-17__806552_goldstar 6 21 2023.pdf           895237      6/21/2023 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091             2023-07-17__818126_goldstar 7 17 2023.pdf           893871      7/17/2023 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091             2023-08-17__833315_goldstar 8 18 2023.pdf           894017      8/18/2023 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-17__846855_FW Goldstar Deposit from
01 - 2024-05-31\check_images\71091             9_13_2023 to 9_19_2023.pdf                          204737      9/20/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-17__867462_FW Goldstar Deposit from
01 - 2024-05-31\check_images\71091             10_11_2023 to 11_03_2023.pdf                        899493      11/6/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091             2023-11-17__876136_goldstar 11 28 2023.pdf          970498      11/28/2023 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091             2023-12-17__886373_GoldStar 12192023.pdf            106232      12/19/2023 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091             2024-01-17__899953_GoldStar 01182024.pdf            103557      1/18/2024 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091             2024-02-17__912754_GoldStar 02202024.pdf             77568      2/20/2024 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091             2024-03-17__925952_GoldStar 03192024.pdf            112061      3/19/2024 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71091             2024-05-17__952768_GoldStar 05202024.pdf            151695      5/20/2024 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71115             2023-08-01__831817_goldstar 8 15 2023.pdf           892891      8/15/2023 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__844112_FW_ EXTERNAL SENDER
01 - 2024-05-31\check_images\71115             Goldstar Deposit from 8_31_2023 to Present.pdf      203508      9/13/2023 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71115             2023-10-01__856426_goldstar 10 11 2023.pdf          896776     10/11/2023 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__867518_FW Goldstar Deposit from
01 - 2024-05-31\check_images\71115             10_11_2023 to 11_03_2023.pdf                        899493      11/6/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71115             2023-12-01__882747_goldstar 12 11 2023.pdf          892222     12/11/2023 12:35




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71115             2024-01-01__894573_GoldStar 01052024.pdf       63936        1/5/2024 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71115             2024-02-01__910729_GoldStar 02132024.pdf       87110      2/13/2024 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71115             2024-03-01__922079_GoldStar 03112024.pdf      111610      3/11/2024 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71115             2024-04-01__934738_GoldStar 04082024.pdf      161409       4/8/2024 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71115             2024-05-01__946761_GoldStar 05062024.pdf      153522        5/6/2024 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-06__664989_33416179-20-444.93
01 - 2024-05-31\check_images\71284             USD.pdf                                        97702        8/1/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-06__680232_item-11_33442543-11-
01 - 2024-05-31\check_images\71284             444.93 USD.pdf                                 94748       9/2/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-06__692366_item-23_33467865-23-
01 - 2024-05-31\check_images\71284             444.93 USD.pdf                                 97587      10/3/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-06__707398_item-6_33495525-6-
01 - 2024-05-31\check_images\71284             444.93 USD.pdf                                 95830      11/4/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-06__719300_item-11_33524093-11-
01 - 2024-05-31\check_images\71284             444.93 USD.pdf                                 93876      12/5/2022 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-06__734476_item-8_33560736-8-
01 - 2024-05-31\check_images\71284             444.93 USD.pdf                                 91613       1/9/2023 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-06__747037_item-23_33592216-23-
01 - 2024-05-31\check_images\71284             444.93 USD.pdf                                 93258        2/6/2023 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-06__760717_item-8_33619115-8-
01 - 2024-05-31\check_images\71284             444.93 USD.pdf                                 96387       3/7/2023 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-06__772604_item-14_33645718-14-
01 - 2024-05-31\check_images\71284             444.93 USD.pdf                                 91106       4/3/2023 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-06__787210_item-29_33672934-29-
01 - 2024-05-31\check_images\71284             444.93 USD.pdf                                 90438       5/5/2023 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71284             2023-06-06__800831_453.83.pdf                 110160        6/6/2023 8:16




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               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-06__812256_item-15_33725867-15-
01 - 2024-05-31\check_images\71284             453.83 USD.pdf                                  98506       7/3/2023 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-06__828521_item-38_33756038-38-
01 - 2024-05-31\check_images\71284             453.83 USD.pdf                                  93851       8/7/2023 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-06__840460_item-11_33782250-11-
01 - 2024-05-31\check_images\71284             453.83 USD.pdf                                  93245       9/5/2023 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-06__852593_item-27_33808202-27-
01 - 2024-05-31\check_images\71284             453.83 USD.pdf                                  99097      10/2/2023 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-06__867900_item-30_33835642-30-
01 - 2024-05-31\check_images\71284             453.83 USD.pdf                                  94672      11/6/2023 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-06__880267_item-14_33862654-14-
01 - 2024-05-31\check_images\71284             453.83 USD.pdf                                  93569       12/5/2023 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-06__895088_item-40_33899453-40-
01 - 2024-05-31\check_images\71284             453.83 USD.pdf                                 102974       1/8/2024 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\71284             2024-02-06__907757_453.83.pdf                   95900        2/6/2024 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-06__918269_item-33_33953787-33-
01 - 2024-05-31\check_images\71284             453.83 USD.pdf                                  64262       3/1/2024 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-06__933134_item-28_33981927-28-
01 - 2024-05-31\check_images\71284             453.83 USD.pdf                                  66816       4/3/2024 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-06__946542_item-6_34008665-6-
01 - 2024-05-31\check_images\71284             453.83 USD.pdf                                  63461       5/3/2024 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-06__893505_item-8_4300413712-8-
01 - 2024-05-31\check_images\71466             200000.00 USD.pdf                               73598       1/3/2024 19:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-16__896664_item-36_4302358251-36-
01 - 2024-05-31\check_images\71586             1578.85 USD.pdf                                 72295      1/10/2024 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-16__910527_item-20_4302367341-20-
01 - 2024-05-31\check_images\71586             1578.85 USD.pdf                                 75042       2/13/2024 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-16__922925_item-16_4302376111-16-
01 - 2024-05-31\check_images\71586             1578.85 USD.pdf                                 94200       3/12/2024 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-16__935977_item-24_4302385266-24-
01 - 2024-05-31\check_images\71586             1578.85 USD.pdf                                 97130      4/10/2024 13:30




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               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-16__950924_item-28_4302394251-28-
01 - 2024-05-31\check_images\71586             1626.22 USD.pdf                                 71499      5/14/2024 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-11-23__550742_4302146042-38-250.00
01 - 2024-05-31\check_images\71680             USD.pdf                                         95559      11/18/2021 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2021-12-23__564101_4302156193-9-250.00
01 - 2024-05-31\check_images\71680             USD.pdf                                        100301     12/21/2021 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-01-23__577475_4302166086-30-250.00
01 - 2024-05-31\check_images\71680             USD.pdf                                         82856      1/24/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-02-23__595281_4302176213-20-250.00
01 - 2024-05-31\check_images\71680             USD.pdf                                         84890       3/7/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-03-23__603420_4302185977-43-250.00
01 - 2024-05-31\check_images\71680             USD.pdf                                         85672      3/22/2022 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-23__618464_4302195632-16-250.00
01 - 2024-05-31\check_images\71680             USD.pdf                                         85478       4/19/2022 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-23__631316_4302205387-32-250.00
01 - 2024-05-31\check_images\71680             USD.pdf                                         83089      5/16/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-23__645064_4302214850-18-250.00
01 - 2024-05-31\check_images\71680             USD.pdf                                         91120      6/15/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-23__665457_4302224451-37-250.00
01 - 2024-05-31\check_images\71680             USD.pdf                                         68571       8/1/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-23__673159_4302234054-37-250.00
01 - 2024-05-31\check_images\71680             USD.pdf                                         98638      8/19/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-23__686141_item-5_4302243450-5-
01 - 2024-05-31\check_images\71680             250.00 USD.pdf                                 117220      9/19/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-23__698010_item-26_4302252596-26-
01 - 2024-05-31\check_images\71680             250.00 USD.pdf                                  65650      10/14/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-23__713258_item-34_4302262111-34-
01 - 2024-05-31\check_images\71680             250.00 USD.pdf                                  80035     11/21/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-23__724993_item-34_4302271466-34-
01 - 2024-05-31\check_images\71680             250.00 USD.pdf                                  81525     12/16/2022 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-23__737790_item-11_4302280760-11-
01 - 2024-05-31\check_images\71680             250.00 USD.pdf                                  75920       1/17/2023 9:50




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               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-23__751556_item-5_4302290016-5-
01 - 2024-05-31\check_images\71680             250.00 USD.pdf                                  82667       2/16/2023 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-23__765632_item-20_4302299106-20-
01 - 2024-05-31\check_images\71680             250.00 USD.pdf                                  96447      3/20/2023 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-23__778721_item-29_4302307935-29-
01 - 2024-05-31\check_images\71680             250.00 USD.pdf                                  84613      4/18/2023 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-23__792747_item-23_4302317117-23-
01 - 2024-05-31\check_images\71680             250.00 USD.pdf                                  82023       5/18/2023 8:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-23__805786_item-5_4302326041-5-
01 - 2024-05-31\check_images\71680             250.00 USD.pdf                                  96001      6/20/2023 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-23__819428_item-27_4302334747-27-
01 - 2024-05-31\check_images\71680             250.00 USD.pdf                                  88169      7/18/2023 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-23__832438_item-25_4302343620-25-
01 - 2024-05-31\check_images\71680             250.00 USD.pdf                                  79101      8/16/2023 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-23__846295_item-8_4302352240-8-
01 - 2024-05-31\check_images\71680             250.00 USD.pdf                                  83631       9/19/2023 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-23__859237_item-43_4302361026-43-
01 - 2024-05-31\check_images\71680             250.00 USD.pdf                                  90389     10/17/2023 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-23__872365_item-15_4302369599-15-
01 - 2024-05-31\check_images\71680             250.00 USD.pdf                                  70508      11/16/2023 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-23__887102_item-15_4302378258-15-
01 - 2024-05-31\check_images\71680             250.00 USD.pdf                                  71250      12/20/2023 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-23__899948_item-4_4302387015-4-
01 - 2024-05-31\check_images\71680             250.00 USD.pdf                                  80446      1/18/2024 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-23__912960_item-21_4302395593-21-
01 - 2024-05-31\check_images\71680             250.00 USD.pdf                                  70803      2/20/2024 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-23__925928_item-44_4302404033-44-
01 - 2024-05-31\check_images\71680             250.00 USD.pdf                                  77177      3/19/2024 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-23__939574_item-33_4302412601-33-
01 - 2024-05-31\check_images\71680             250.00 USD.pdf                                  87617      4/18/2024 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-23__953005_item-19_4302421067-19-
01 - 2024-05-31\check_images\71680             250.00 USD.pdf                                  66321       5/20/2024 8:57




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 154 of
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               All Paths/Locations                              Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-09__656266_4491039789-40-75000.00
01 - 2024-05-31\check_images\71738             USD.pdf                                             97066      7/11/2022 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-09__816308_item-6_4491149427-6-
01 - 2024-05-31\check_images\71738             75000.00 USD.pdf                                    82439      7/11/2023 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-01-15__640418_Goldstar Lockbox Postings
01 - 2024-05-31\check_images\72950             dor 6 1 2022.pdf                                 1006478        6/6/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-02-15__618710_Copy of SuttonPark Capital
01 - 2024-05-31\check_images\72950             Payments Goldstar.xls                               54784      4/19/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-03-15__618713_Copy of SuttonPark Capital
01 - 2024-05-31\check_images\72950             Payments Goldstar.xls                               54784      4/19/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-15__619278_Goldstar Deposit for 4 19
01 - 2024-05-31\check_images\72950             2022.pdf                                           662925      4/20/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-15__632845_GoldStar Wire Info 5 19
01 - 2024-05-31\check_images\72950             2022.pdf                                           327430      5/19/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-15__647728_Goldstar Deposit 6 23
01 - 2024-05-31\check_images\72950             2022.pdf                                           922852      6/23/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-15__674826_Goldstar Posting
01 - 2024-05-31\check_images\72950             08252022.pdf                                       928740      8/25/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-15__674824_Goldstar Posting
01 - 2024-05-31\check_images\72950             08252022.pdf                                       928740      8/25/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950             2022-09-15__687384_Goldstar 9 22 2022.pdf          928591       9/22/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950             2022-10-15__700307_Goldstar 10 21 22.pdf           894046      10/21/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950             2022-11-15__712304_Goldstar 11 17 2022.pdf         907056      11/17/2022 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950             2022-12-15__726410_Goldstar 12 21 2022.pdf         906329     12/21/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950             2023-01-15__739568_goldstar 1 20 2023.pdf          909380       1/20/2023 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950             2023-02-15__755615_goldstar 2 27 2023.pdf          907345      2/27/2023 13:22




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               All Paths/Locations                             Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950             2023-03-15__766444_goldstar 3 22 2023.pdf        909323       3/22/2023 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950             2023-04-15__779695_goldstar 4 20 2023.pdf        907347       4/20/2023 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950             2023-05-15__792075_goldstar 5 17 2023.pdf        908997       5/17/2023 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950             2023-06-15__807336_goldstr 6 22 23.pdf           893785       6/22/2023 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950             2023-07-15__820977_goldstar 7 24 2023.pdf        890927      7/24/2023 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950             2023-08-15__834665_goldstar 8 23 2023.pdf        896008      8/23/2023 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-15__846868_FW Goldstar Deposit from
01 - 2024-05-31\check_images\72950             9_13_2023 to 9_19_2023.pdf                       204737      9/20/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-15__867465_FW Goldstar Deposit from
01 - 2024-05-31\check_images\72950             10_11_2023 to 11_03_2023.pdf                     899493      11/6/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950             2023-11-15__876120_goldstar 11 28 2023.pdf       970498      11/28/2023 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950             2023-12-15__886378_GoldStar 12192023.pdf         106232      12/19/2023 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950             2024-01-15__901268_Goldstar 1 24 2024.pdf        881192       1/24/2024 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950             2024-03-15__925949_GoldStar 03192024.pdf         112061      3/19/2024 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950             2024-04-15__938061_GoldStar 04162024.pdf         155229       4/16/2024 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72950             2024-05-15__952760_GoldStar 05202024.pdf         151695      5/20/2024 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-17__631563_1000255942-1-28000.00
01 - 2024-05-31\check_images\72974             USD.pdf                                           82823      5/17/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-17__646482_1000262467-1-3000.00
01 - 2024-05-31\check_images\72974             USD.pdf                                           73868      6/21/2022 13:49




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               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-17__658780_1000268944-4-3000.00
01 - 2024-05-31\check_images\72974             USD.pdf                                         79661      7/18/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-17__672705_1000275383-1-3000.00
01 - 2024-05-31\check_images\72974             USD.pdf                                         79102      8/18/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-17__686272_item-38_1000281746-38-
01 - 2024-05-31\check_images\72974             3000.00 USD.pdf                                 70927      9/19/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-17__699192_item-36_1000288146-36-
01 - 2024-05-31\check_images\72974             3000.00 USD.pdf                                 74882      10/18/2022 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-17__712737_item-28_1000294791-28-
01 - 2024-05-31\check_images\72974             3000.00 USD.pdf                                 74222     11/18/2022 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-17__725953_item-14_1000300879-14-
01 - 2024-05-31\check_images\72974             3000.00 USD.pdf                                 74290     12/19/2022 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-17__738323_item-18_1000307278-18-
01 - 2024-05-31\check_images\72974             3000.00 USD.pdf                                 53539      1/17/2023 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-17__753481_item-20_1000313712-20-
01 - 2024-05-31\check_images\72974             3000.00 USD.pdf                                 77544      2/22/2023 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-17__765071_item-4_1000319971-4-
01 - 2024-05-31\check_images\72974             3000.00 USD.pdf                                 71344       3/17/2023 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-17__778354_item-41_1000326177-41-
01 - 2024-05-31\check_images\72974             3000.00 USD.pdf                                 77762      4/17/2023 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-17__792706_item-2_1000332400-2-
01 - 2024-05-31\check_images\72974             3000.00 USD.pdf                                 73454       5/18/2023 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-17__805550_item-38_1000344597-38-
01 - 2024-05-31\check_images\72974             3000.00 USD.pdf                                 71546      6/16/2023 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-17__818499_item-9_1000355206-9-
01 - 2024-05-31\check_images\72974             3000.00 USD.pdf                                 53684      7/17/2023 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-17__833253_item-43_1000365754-43-
01 - 2024-05-31\check_images\72974             3000.00 USD.pdf                                 72541       8/18/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-17__845141_item-6_1000375984-6-
01 - 2024-05-31\check_images\72974             3000.00 USD.pdf                                 70064       9/18/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-17__858568_item-15_1000386175-15-
01 - 2024-05-31\check_images\72974             3000.00 USD.pdf                                 48204      10/16/2023 9:05




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               All Paths/Locations                               Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-17__873027_item-39_1000396474-39-
01 - 2024-05-31\check_images\72974             3000.00 USD.pdf                                    72228     11/17/2023 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-17__886052_item-27_1000406492-27-
01 - 2024-05-31\check_images\72974             3000.00 USD.pdf                                    68047      12/18/2023 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-17__900533_item-27_1000416870-27-
01 - 2024-05-31\check_images\72974             3000.00 USD.pdf                                    78706      1/22/2024 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-17__912665_item-32_1000426782-32-
01 - 2024-05-31\check_images\72974             3000.00 USD.pdf                                    71038      2/20/2024 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-17__925355_item-24_1000437162-24-
01 - 2024-05-31\check_images\72974             3000.00 USD.pdf                                    53838      3/18/2024 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-17__939645_item-17_1000447235-17-
01 - 2024-05-31\check_images\72974             3000.00 USD.pdf                                    80940       4/19/2024 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-17__953038_item-15_1000457175-15-
01 - 2024-05-31\check_images\72974             3000.00 USD.pdf                                    52726      5/20/2024 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986\2022-02-
01__585965_Re_ Servicing HB Release 02-10-     Re_ Servicing HB Release 02-10-2022 APPROVAL
2022 APPROVAL NEEDED.pdf                       N___.pdf                                          263690      2/10/2022 19:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2022-03-01__592842_2265_3_4.pdf                    76370       3/2/2022 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2022-04-01__611938_2265_6_44.pdf                   75165       4/4/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2022-05-01__624918_2265_1_24.pdf                   73931       5/2/2022 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2022-06-01__637002_2265_47_11.pdf                  79531      5/31/2022 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2022-07-01__648689_2265_48_3.pdf                   79557       6/27/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2022-08-01__665493_2265_3_23.pdf                   79438       8/1/2022 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2022-09-01__678256_2265_50_5.pdf                   75313      8/30/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2022-10-01__691313_item-6_2265_41_6.pdf            75213      9/28/2022 12:08


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               All Paths/Locations                             Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2022-11-01__706726_item-84_2265_2_36.pdf         74785      11/2/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2022-12-01__720845_item-27_2265_11_27.pdf        78461      12/7/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2023-01-01__730113_item-16_2265_1_16.pdf         73943       1/3/2023 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2023-02-01__743475_item-206_2265_53_42.pdf       77606       1/30/2023 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2023-03-01__757003_item-105_2265_48_3.pdf        78800      2/27/2023 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2023-04-01__770842_item-12_2265_54_12.pdf        75874       3/30/2023 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2023-05-01__785615_item-187_2265_5_18.pdf        73816       5/1/2023 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2023-06-01__799115_item-212_2265_55_12.pdf       84659       6/1/2023 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2023-07-01__812891_item-64_2265_3_14.pdf         83783       7/3/2023 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2023-08-01__826300_item-242_2265_56_5.pdf        78373      7/31/2023 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2023-09-01__838407_item-1_2265_55_1.pdf          74574      8/30/2023 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2023-10-01__853792_item-55_2265_10_5.pdf         76625      10/3/2023 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2023-11-01__865263_item-330_2265_58_49.pdf       75827     10/30/2023 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2023-12-01__879467_item-88_2265_6_19.pdf         75101       12/4/2023 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2024-01-01__892950_item-262_2265_10_17.pdf       73841        1/2/2024 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2024-02-01__905237_item-33_2265_57_33.pdf        76465        2/1/2024 9:57




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               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2024-03-01__914792_item-138_2265_38_2.pdf       69948       2/26/2024 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2024-04-01__930711_item-23_2265_2_3.pdf        119851       4/1/2024 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\72986             2024-05-01__941725_item-17_2265_50_17.pdf       83806       4/26/2024 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-14__948977_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146             2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-14__948979_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146             2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-14__948981_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146             2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-14__948982_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146             2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-14__948983_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146             2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-14__948984_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146             2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-14__948985_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146             2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-14__948986_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146             2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-14__948987_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146             2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-14__948988_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146             2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-14__948989_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146             2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-14__948990_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146             2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-14__948991_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146             2022 Mar 2024.pdf                              244602       4/29/2024 9:43




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-14__948992_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146             2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-14__948994_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146             2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-14__948993_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146             2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-14__948995_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146             2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-14__948996_73146 Melvin Jones Oct
01 - 2024-05-31\check_images\73146             2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-14__937998_item-40_4491233387-40-
01 - 2024-05-31\check_images\73146             400.00 USD.pdf                                  80609       4/16/2024 7:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-14__951241_item-13_4491242228-13-
01 - 2024-05-31\check_images\73146             400.00 USD.pdf                                  98201      5/14/2024 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-02-17__587300_41217849-10-2308.43
01 - 2024-05-31\check_images\74454             USD.pdf                                         70267       2/16/2022 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-03-17__603424_41276299-23-2308.43
01 - 2024-05-31\check_images\74454             USD.pdf                                         72383       3/22/2022 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-17__618145_41340040-24-2308.43
01 - 2024-05-31\check_images\74454             USD.pdf                                         77437      4/18/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-17__630102_41396660-16-2308.43
01 - 2024-05-31\check_images\74454             USD.pdf                                         70833      5/13/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-17__645973_41453948-19-2308.43
01 - 2024-05-31\check_images\74454             USD.pdf                                         69957      6/17/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-17__659024_41507535-23-2308.43
01 - 2024-05-31\check_images\74454             USD.pdf                                         69178      7/18/2022 22:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-17__671995_41563540-22-2308.43
01 - 2024-05-31\check_images\74454             USD.pdf                                         71476      8/16/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-17__686290_item-1_41619633-1-
01 - 2024-05-31\check_images\74454             2308.43 USD.pdf                                 71108      9/19/2022 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74454             2022-10-17__699959_item 12 - 2308.43.pdf        79201     10/19/2022 16:04




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               All Paths/Locations                             Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-17__711661_item-35_41726734-35-
01 - 2024-05-31\check_images\74454             2308.43 USD.pdf                               78181     11/16/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-17__726156_item-26_41780585-26-
01 - 2024-05-31\check_images\74454             2308.43 USD.pdf                               75738     12/19/2022 16:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-17__737848_item-4_41832665-4-
01 - 2024-05-31\check_images\74454             2377.68 USD.pdf                               68537      1/17/2023 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-17__751462_item-14_41892336-14-
01 - 2024-05-31\check_images\74454             2377.68 USD.pdf                               66106      2/15/2023 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-17__764057_item-27_41944802-27-
01 - 2024-05-31\check_images\74454             2377.68 USD.pdf                               75191      3/14/2023 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-17__778191_item-18_41998279-18-
01 - 2024-05-31\check_images\74454             2377.68 USD.pdf                               68920      4/17/2023 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-17__791627_item-5_42055378-5-
01 - 2024-05-31\check_images\74454             2377.68 USD.pdf                               65688      5/16/2023 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-17__805363_item-6_42110392-6-
01 - 2024-05-31\check_images\74454             2377.68 USD.pdf                               65281      6/16/2023 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-17__818144_item-5_42159155-5-
01 - 2024-05-31\check_images\74454             2377.68 USD.pdf                               71241      7/17/2023 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-17__832446_item-29_42214876-29-
01 - 2024-05-31\check_images\74454             2377.68 USD.pdf                               71974      8/16/2023 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-17__846268_item-9_42267022-9-
01 - 2024-05-31\check_images\74454             2377.68 USD.pdf                               69795       9/19/2023 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-17__858597_item-21_42319707-21-
01 - 2024-05-31\check_images\74454             2377.68 USD.pdf                               64292      10/16/2023 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-17__872963_item-2_42376120-2-
01 - 2024-05-31\check_images\74454             2377.68 USD.pdf                               71521     11/17/2023 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-17__885404_item-10_42426481-10-
01 - 2024-05-31\check_images\74454             2377.68 USD.pdf                               69720      12/18/2023 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-17__900476_item-18_42479417-18-
01 - 2024-05-31\check_images\74454             2449.01 USD.pdf                               68925      1/22/2024 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-17__913042_item-42_42536340-42-
01 - 2024-05-31\check_images\74454             2449.01 USD.pdf                               70964       2/20/2024 9:32




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               All Paths/Locations                             Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-17__925788_item-4_42587471-4-
01 - 2024-05-31\check_images\74454             2449.01 USD.pdf                                    79295       3/19/2024 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-17__939564_item-24_42640226-24-
01 - 2024-05-31\check_images\74454             2449.01 USD.pdf                                    74767      4/18/2024 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-17__953424_item-43_42695781-43-
01 - 2024-05-31\check_images\74454             2449.01 USD.pdf                                    70630      5/21/2024 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589             2022-01-19__609800_Goldstar 3 24 2022.pdf         239637      3/31/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589             2022-02-19__609801_Goldstar 3 24 2022.pdf         239637      3/31/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589             2022-03-19__609802_Goldstar 3 24 2022.pdf         239637      3/31/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-19__619285_Goldstar Deposit for 4 19
01 - 2024-05-31\check_images\74589             2022.pdf                                          662925      4/20/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-19__632846_GoldStar Wire Info 5 19
01 - 2024-05-31\check_images\74589             2022.pdf                                          327430      5/19/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589             2022-06-19__646111_Goldstar 6 21 2022.pdf         921719       6/21/2022 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-19__659660_Goldstar Deposit 7 20
01 - 2024-05-31\check_images\74589             2022.pdf                                          283773       7/20/2022 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-19__674810_Goldstar Posting
01 - 2024-05-31\check_images\74589             08252022.pdf                                      928740      8/25/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589             2022-09-19__687356_Goldstar 9 22 2022.pdf         928591       9/22/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589             2022-10-19__700313_Goldstar 10 21 22.pdf          894046      10/21/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589             2022-11-19__714026_Goldstar 11 22 2022.pdf        907841     11/22/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589             2022-12-19__725844_Goldstar 12 20 2022.pdf        908811      12/20/2022 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589             2023-01-19__739573_goldstar 1 20 2023 II.pdf      917176       1/20/2023 9:30




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               All Paths/Locations                             Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589             2023-02-19__753387_goldstar 2 22 2023.pdf        909247       2/22/2023 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589             2023-03-19__766462_goldstar 3 22 2023.pdf        909323       3/22/2023 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589             2023-04-19__777490_goldstar 4 14 2023.pdf        910583      4/14/2023 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589             2023-05-19__793167_goldstar 5 22 2023.pdf        906383       5/22/2023 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589             2023-06-19__806558_goldstar 6 21 2023.pdf        895237      6/21/2023 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589             2023-07-19__820991_goldstar 7 24 2023.pdf        890927      7/24/2023 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589             2023-08-19__834532_goldstar 8 22 2023.pdf        893607      8/22/2023 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-19__846871_FW Goldstar Deposit from
01 - 2024-05-31\check_images\74589             9_13_2023 to 9_19_2023.pdf                       204737      9/20/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-19__867474_FW Goldstar Deposit from
01 - 2024-05-31\check_images\74589             10_11_2023 to 11_03_2023.pdf                     899493      11/6/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589             2023-11-19__876143_goldstar 11 28 2023.pdf       970498      11/28/2023 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589             2023-12-19__886379_GoldStar 12192023.pdf         106232      12/19/2023 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589             2024-01-19__900568_Goldstar 1 22 2024.pdf        886744       1/22/2024 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589             2024-02-19__912774_GoldStar 02202024.pdf          77568      2/20/2024 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589             2024-03-19__926256_GoldStar 03202024.pdf         110965      3/20/2024 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589             2024-04-19__939998_GoldStar 04192024.pdf         152225      4/22/2024 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\74589             2024-05-19__953469_GoldStar 05212024.pdf         154004      5/21/2024 13:37




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               All Paths/Locations                              Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__813115_item-24_147765052-24-
01 - 2024-05-31\check_images\76138             9800.00 USD.pdf                                 56376       7/3/2023 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__827413_item-16_147782124-16-
01 - 2024-05-31\check_images\76138             9800.00 USD.pdf                                 56120        8/3/2023 9:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__840590_item-24_147799245-24-
01 - 2024-05-31\check_images\76138             9800.00 USD.pdf                                 57577       9/5/2023 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__852714_item-22_147816102-22-
01 - 2024-05-31\check_images\76138             9800.00 USD.pdf                                 61418       10/3/2023 7:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__866843_item-8_147833002-8-
01 - 2024-05-31\check_images\76138             9800.00 USD.pdf                                 56631       11/3/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__879206_item-18_147849404-18-
01 - 2024-05-31\check_images\76138             9800.00 USD.pdf                                 53063       12/4/2023 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__891862_item-38_147865574-38-
01 - 2024-05-31\check_images\76138             9800.00 USD.pdf                                 56144       1/2/2024 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__906722_item-14_147883251-14-
01 - 2024-05-31\check_images\76138             9800.00 USD.pdf                                 64196       2/5/2024 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__919621_item-35_147899477-35-
01 - 2024-05-31\check_images\76138             9800.00 USD.pdf                                 56072        3/4/2024 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__932090_item-17_147915539-17-
01 - 2024-05-31\check_images\76138             9800.00 USD.pdf                                 61122       4/2/2024 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__944869_item-18_147932497-18-
01 - 2024-05-31\check_images\76138             9800.00 USD.pdf                                 56500       5/1/2024 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-01__828284_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144             11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-01__828285_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144             11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-01__828287_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144             11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-01__828289_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144             11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-01__828294_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144             11875.77 USD.pdf                                62554       8/7/2023 10:39




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               All Paths/Locations                              Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-01__828296_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144             11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__828298_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144             11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__828301_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144             11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__828304_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144             11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__828305_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144             11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__828308_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144             11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__828309_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144             11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__828310_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144             11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__828312_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144             11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__828314_item-31_1000294362-31-
01 - 2024-05-31\check_images\78144             11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__836610_item-32_1000298522-32-
01 - 2024-05-31\check_images\78144             825.00 USD.pdf                                  57552      8/28/2023 10:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__849519_item-20_1000303949-20-
01 - 2024-05-31\check_images\78144             825.00 USD.pdf                                  64296      9/26/2023 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__865459_item-30_1000309451-30-
01 - 2024-05-31\check_images\78144             825.00 USD.pdf                                  54991     10/31/2023 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__877140_item-1_1000315017-1-
01 - 2024-05-31\check_images\78144             825.00 USD.pdf                                  50242      11/29/2023 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__889057_item-20_1000319437-20-
01 - 2024-05-31\check_images\78144             825.00 USD.pdf                                  51822     12/27/2023 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__902911_item-12_1000324644-12-
01 - 2024-05-31\check_images\78144             825.00 USD.pdf                                  55409       1/29/2024 9:28




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               All Paths/Locations                              Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__914784_item-35_1000329939-35-
01 - 2024-05-31\check_images\78144             825.00 USD.pdf                                  51557      2/26/2024 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-25__673882_33432385-13-10000.00
01 - 2024-05-31\check_images\78146             USD.pdf                                        117564      8/22/2022 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-25__836171_item-29_33772961-29-
01 - 2024-05-31\check_images\78146             10000.00 USD.pdf                                49915      8/28/2023 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-25__836173_item-30_33772960-30-
01 - 2024-05-31\check_images\78146             494.61 USD.pdf                                  93807      8/28/2023 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-25__848583_item-40_33799310-40-
01 - 2024-05-31\check_images\78146             494.61 USD.pdf                                  99623      9/25/2023 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-25__860908_item-6_33824651-6-
01 - 2024-05-31\check_images\78146             494.61 USD.pdf                                  98355     10/23/2023 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-25__875231_item-19_33853608-19-
01 - 2024-05-31\check_images\78146             494.61 USD.pdf                                  97325     11/27/2023 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-25__889540_item-25_33888638-25-
01 - 2024-05-31\check_images\78146             494.61 USD.pdf                                 102090     12/27/2023 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-25__901883_item-33_33917493-33-
01 - 2024-05-31\check_images\78146             494.61 USD.pdf                                  82848      1/26/2024 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-25__915361_item-1_33945486-1-
01 - 2024-05-31\check_images\78146             494.61 USD.pdf                                  97585      2/26/2024 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-25__927083_item-41_33971967-41-
01 - 2024-05-31\check_images\78146             494.61 USD.pdf                                  56573      3/22/2024 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-25__939812_item-18_33997988-18-
01 - 2024-05-31\check_images\78146             494.61 USD.pdf                                  55743      4/22/2024 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-25__953045_item-43_34023932-43-
01 - 2024-05-31\check_images\78146             494.61 USD.pdf                                  61576      5/20/2024 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-10__696864_item-15_5136428-15-
01 - 2024-05-31\check_images\78155             30000.00 USD.pdf                                79393      10/11/2022 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-03-19__601983_51027662-1-297.69
01 - 2024-05-31\check_images\78207             USD.pdf                                         49673      3/21/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-19__617316_51028277-5-297.69
01 - 2024-05-31\check_images\78207             USD.pdf                                         49330      4/14/2022 13:49




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               All Paths/Locations                             Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-19__629978_51028886-29-297.69
01 - 2024-05-31\check_images\78207             USD.pdf                                       44828       5/13/2022 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-19__646467_51029487-39-297.69
01 - 2024-05-31\check_images\78207             USD.pdf                                       50103      6/21/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-19__657679_51030096-37-297.69
01 - 2024-05-31\check_images\78207             USD.pdf                                       47810      7/14/2022 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-19__670845_51030770-40-297.69
01 - 2024-05-31\check_images\78207             USD.pdf                                       47430       8/15/2022 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-19__685199_item-4_51031387-4-
01 - 2024-05-31\check_images\78207             297.69 USD.pdf                                45399       9/15/2022 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-19__697646_item-8_51031954-8-
01 - 2024-05-31\check_images\78207             297.69 USD.pdf                                50627      10/13/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-19__710039_item-11_51032544-11-
01 - 2024-05-31\check_images\78207             297.69 USD.pdf                                45898      11/14/2022 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-19__724489_item-5_51033152-5-
01 - 2024-05-31\check_images\78207             297.69 USD.pdf                                59430     12/15/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-19__736891_item-4_51033716-4-
01 - 2024-05-31\check_images\78207             297.69 USD.pdf                                67677       1/13/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-19__751448_item-31_51034295-31-
01 - 2024-05-31\check_images\78207             297.69 USD.pdf                                45494      2/15/2023 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-19__764156_item-29_51034879-29-
01 - 2024-05-31\check_images\78207             297.69 USD.pdf                                46039      3/15/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-19__777059_item-43_51035458-43-
01 - 2024-05-31\check_images\78207             297.69 USD.pdf                                43148      4/13/2023 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-19__790325_item-23_51036052-23-
01 - 2024-05-31\check_images\78207             297.69 USD.pdf                                51718      5/15/2023 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-19__804999_item-17_51036652-17-
01 - 2024-05-31\check_images\78207             297.69 USD.pdf                                52099      6/15/2023 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-19__817641_item-13_51037202-13-
01 - 2024-05-31\check_images\78207             297.69 USD.pdf                                55409       7/13/2023 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-19__831680_item-3_51037780-3-
01 - 2024-05-31\check_images\78207             297.69 USD.pdf                                44787       8/15/2023 9:14




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               All Paths/Locations                             Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-19__844656_item-38_51038351-38-
01 - 2024-05-31\check_images\78207             297.69 USD.pdf                                   51358      9/14/2023 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-19__857459_item-2_51038902-2-
01 - 2024-05-31\check_images\78207             297.69 USD.pdf                                   48854      10/13/2023 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-19__871842_item-33_51039455-33-
01 - 2024-05-31\check_images\78207             297.69 USD.pdf                                   50551     11/15/2023 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-19__893547_item-25_51040016-25-
01 - 2024-05-31\check_images\78207             297.69 USD.pdf                                   46975       1/3/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-19__899019_item-45_51040572-45-
01 - 2024-05-31\check_images\78207             297.69 USD.pdf                                   69430      1/17/2024 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-19__912055_item-17_51041149-17-
01 - 2024-05-31\check_images\78207             297.69 USD.pdf                                   59273       2/16/2024 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-19__924589_item-18_51041690-18-
01 - 2024-05-31\check_images\78207             297.69 USD.pdf                                   66023      3/15/2024 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-19__937115_item-38_51042235-38-
01 - 2024-05-31\check_images\78207             297.69 USD.pdf                                   49214      4/15/2024 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-19__951895_item-29_51042787-29-
01 - 2024-05-31\check_images\78207             297.69 USD.pdf                                   48977       5/16/2024 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2022-05-10__631620_2265_27_13.pdf                74300      5/16/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2022-06-10__646082_2265_33_16.pdf                74254      6/17/2022 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2022-07-10__657428_2265_26_5.pdf                 75766      7/13/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2022-08-10__671830_2265_27_24.pdf                77370      8/15/2022 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2022-09-10__685545_item-1_2265_20_1.pdf          74460      9/15/2022 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2022-10-10__697856_item-32_2265_20_32.pdf        75891     10/12/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2022-11-10__712625_item-211_2265_24_31.pdf       78136     11/15/2022 17:47




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               All Paths/Locations                             Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2022-12-10__724677_item-90_2265_23_9.pdf         73729     12/15/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2023-01-10__736852_item-9_2265_24_9.pdf          92545      1/12/2023 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2023-02-10__750773_item-132_2265_23_36.pdf       73892      2/13/2023 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2023-03-10__764427_item-27_2265_29_14.pdf        75794      3/15/2023 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2023-04-10__776308_item-22_2265_18_22.pdf        75144      4/11/2023 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2023-05-10__789676_item-36_2265_22_6.pdf         69037       5/11/2023 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2023-06-10__803387_item-65_2265_19_5.pdf         72860      6/12/2023 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2023-07-10__816239_item-109_2265_21_23.pdf       72799      7/10/2023 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2023-08-10__830900_item-32_2265_23_7.pdf         77339      8/14/2023 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2023-09-10__844016_item-1_2265_20_1.pdf          71462      9/12/2023 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2023-10-10__859481_item-44_2265_35_44.pdf        69485     10/17/2023 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2023-11-10__869908_item-5_2265_20_5.pdf          70727     11/13/2023 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2023-12-10__885170_item-49_2265_27_49.pdf        86150     12/15/2023 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2024-01-10__898703_item-124_2265_36_10.pdf       71364       1/16/2024 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2024-02-10__910054_item-148_2265_20_49.pdf       82512       2/12/2024 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2024-03-10__928860_item-10_2265_50_10.pdf        91415       3/27/2024 9:39




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               All Paths/Locations                               Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2024-04-10__936265_item-42_2265_26_42.pdf          77684      4/11/2024 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78295             2024-05-10__949554_item-129_2265_23_21.pdf         74372       5/13/2024 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-12__923387_item-31_2402959003-31-
01 - 2024-05-31\check_images\78296             1889.44 USD.pdf                                    44121      3/12/2024 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-12__938421_item-30_2402964190-30-
01 - 2024-05-31\check_images\78296             1889.44 USD.pdf                                    42715      4/16/2024 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-12__949602_item-6_2402968961-6-
01 - 2024-05-31\check_images\78296             1889.44 USD.pdf                                    41910      5/13/2024 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-17__806334_item-18_4491141950-18-
01 - 2024-05-31\check_images\78363             15000.00 USD.pdf                                   94222      6/20/2023 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__727088_item-10_4300390260-10-
01 - 2024-05-31\check_images\78397             110000.00 USD.pdf                                  66486     12/22/2022 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78408\2022-02-
01__585968_Re_ Servicing HB Release 02-10-     Re_ Servicing HB Release 02-10-2022 APPROVAL
2022 APPROVAL NEEDED.pdf                       N___.pdf                                          263690      2/10/2022 19:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-03-01__602072_3780054546-30-550.00
01 - 2024-05-31\check_images\78408             USD.pdf                                            45630      3/21/2022 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-01__618726_4491008577-11-550.00
01 - 2024-05-31\check_images\78408             USD.pdf                                            38720      4/19/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-01__628304_4491017220-3-550.00
01 - 2024-05-31\check_images\78408             USD.pdf                                            38532       5/9/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-01__640197_4491026253-21-550.00
01 - 2024-05-31\check_images\78408             USD.pdf                                            34852       6/3/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-01__654002_4491035295-38-550.00
01 - 2024-05-31\check_images\78408             USD.pdf                                            32234       7/5/2022 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-01__666934_4491045382-14-550.00
01 - 2024-05-31\check_images\78408             USD.pdf                                            43415       8/3/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-01__681161_item-3_4491054836-3-
01 - 2024-05-31\check_images\78408             550.00 USD.pdf                                     37231       9/6/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-01__693464_item-10_4491063654-10-
01 - 2024-05-31\check_images\78408             550.00 USD.pdf                                     42249       10/4/2022 8:53


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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 171 of
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               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-01__705929_item-14_4491072401-14-
01 - 2024-05-31\check_images\78408             550.00 USD.pdf                                  41243      11/2/2022 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__733721_item-9_4491090372-9-
01 - 2024-05-31\check_images\78408             550.00 USD.pdf                                  40226       1/6/2023 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__770200_item-15_4491120410-15-
01 - 2024-05-31\check_images\78408             550.00 USD.pdf                                  41928      3/29/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__770201_item-16_4491120411-16-
01 - 2024-05-31\check_images\78408             550.00 USD.pdf                                  42478      3/29/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__770202_item-17_4491120412-17-
01 - 2024-05-31\check_images\78408             550.00 USD.pdf                                  41267      3/29/2023 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__772928_item-43_4491118041-43-
01 - 2024-05-31\check_images\78408             550.00 USD.pdf                                  43021       4/3/2023 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__802172_item-6_3780056686-6-
01 - 2024-05-31\check_images\78408             550.00 USD.pdf                                  36001        6/9/2023 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__807909_item-4_4491144054-4-
01 - 2024-05-31\check_images\78408             550.00 USD.pdf                                  42460      6/26/2023 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__813465_item-35_4491144882-35-
01 - 2024-05-31\check_images\78408             550.00 USD.pdf                                  40124       7/5/2023 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__827764_item-1_4491155015-1-
01 - 2024-05-31\check_images\78408             550.00 USD.pdf                                  46936        8/4/2023 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__841597_item-8_4491164581-8-
01 - 2024-05-31\check_images\78408             550.00 USD.pdf                                  38127       9/6/2023 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__854724_item-7_4491173398-7-
01 - 2024-05-31\check_images\78408             550.00 USD.pdf                                  43560       10/6/2023 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__958271_item-7_4491250000-7-
01 - 2024-05-31\check_images\78408             550.00 USD.pdf                                  38810      5/31/2024 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__881424_item-7_4491191499-7-
01 - 2024-05-31\check_images\78408             550.00 USD.pdf                                  42856       12/6/2023 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__894378_item-23_4491200953-23-
01 - 2024-05-31\check_images\78408             550.00 USD.pdf                                  41331       1/5/2024 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__905265_item-22_4491210962-22-
01 - 2024-05-31\check_images\78408             550.00 USD.pdf                                  43945       2/1/2024 10:05




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               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__919644_item-8_4491219698-8-
01 - 2024-05-31\check_images\78408             550.00 USD.pdf                                  40261        3/4/2024 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__932566_item-37_4491228920-37-
01 - 2024-05-31\check_images\78408             550.00 USD.pdf                                  48694        4/3/2024 0:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__945324_item-43_4491237725-43-
01 - 2024-05-31\check_images\78408             550.00 USD.pdf                                  37658       5/1/2024 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-03__652197_373835-5-15000.00
01 - 2024-05-31\check_images\78416             USD.pdf                                         45986        7/1/2022 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-03__812121_item-6_414779-6-250.00
01 - 2024-05-31\check_images\78416             USD.pdf                                         44981       7/3/2023 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-03__826355_item-31_418300-31-
01 - 2024-05-31\check_images\78416             250.00 USD.pdf                                  52756       8/1/2023 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-03__840408_item-22_422074-22-
01 - 2024-05-31\check_images\78416             250.00 USD.pdf                                  55702        9/5/2023 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-03__852416_item-16_425499-16-
01 - 2024-05-31\check_images\78416             250.00 USD.pdf                                  45441      10/2/2023 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-03__866652_item-5_428945-5-250.00
01 - 2024-05-31\check_images\78416             USD.pdf                                         46553      11/2/2023 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-03__880873_item-30_432475-30-
01 - 2024-05-31\check_images\78416             250.00 USD.pdf                                  43950      12/5/2023 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-03__893274_item-16_436128-16-
01 - 2024-05-31\check_images\78416             250.00 USD.pdf                                  46030       1/3/2024 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-03__907940_item-8_439638-8-250.00
01 - 2024-05-31\check_images\78416             USD.pdf                                         52145       2/6/2024 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-03__919203_item-10_443112-10-
01 - 2024-05-31\check_images\78416             250.00 USD.pdf                                  45586       3/4/2024 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-03__934105_item-39_446586-39-
01 - 2024-05-31\check_images\78416             250.00 USD.pdf                                  43248       4/4/2024 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-03__947275_item-6_450154-6-250.00
01 - 2024-05-31\check_images\78416             USD.pdf                                         47233       5/6/2024 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__891764_item-14_435874-14-
01 - 2024-05-31\check_images\78451             801.00 USD.pdf                                  47524       1/2/2024 11:01




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               All Paths/Locations                              Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__904947_item-44_439389-44-
01 - 2024-05-31\check_images\78451             801.00 USD.pdf                                      44676      1/31/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__918385_item-16_442911-16-
01 - 2024-05-31\check_images\78451             801.00 USD.pdf                                      42692        3/4/2024 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__932118_item-20_446333-20-
01 - 2024-05-31\check_images\78451             801.00 USD.pdf                                      49489       4/2/2024 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__946350_item-45_449893-45-
01 - 2024-05-31\check_images\78451             801.00 USD.pdf                                      48486       5/2/2024 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-03-13__618744_Copy of SuttonPark Capital
01 - 2024-05-31\check_images\78492             Payments Goldstar.xls                               54784      4/19/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-13__622527_Goldstar Lockbox Postings
01 - 2024-05-31\check_images\78492             2 26 2022.pdf                                      996441      4/27/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-13__632764_GoldStar Wire Info 5 19
01 - 2024-05-31\check_images\78492             2022.pdf                                           327430      5/19/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-13__647732_Goldstar Deposit 6 23
01 - 2024-05-31\check_images\78492             2022.pdf                                           922852      6/23/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-13__659661_Goldstar Deposit 7 20
01 - 2024-05-31\check_images\78492             2022.pdf                                           283773       7/20/2022 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-13__674830_Goldstar Posting
01 - 2024-05-31\check_images\78492             08252022.pdf                                       928740      8/25/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492             2022-09-13__687362_Goldstar 9 22 2022.pdf          928591       9/22/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492             2022-10-13__700213_Goldstar 10 20 22.pdf           895377     10/20/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492             2022-11-13__712298_Goldstar 11 17 2022.pdf         907056      11/17/2022 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492             2022-12-13__724366_Goldstar 12 152022.pdf          904822     12/15/2022 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492             2023-01-13__739572_goldstar 1 20 2023.pdf          909380       1/20/2023 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492             2023-02-13__755621_goldstar 2 27 2023.pdf          907345      2/27/2023 13:22




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492             2023-03-13__764149_Goldstar 3 15 2023.pdf           894690      3/15/2023 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492             2023-04-13__777030_Goldstar 4 13 2023.pdf           908219       4/13/2023 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492             2023-05-13__791593_goldstar 5 16 2023.pdf           905623      5/16/2023 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492             2023-06-13__803726_goldstar 6 13 2023.pdf           893315      6/13/2023 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492             2023-07-13__818125_goldstar 7 17 2023.pdf           893871      7/17/2023 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492             2023-08-13__832738_goldstar 8 16 2023.pdf           894995      8/16/2023 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-13__844115_FW_ EXTERNAL SENDER
01 - 2024-05-31\check_images\78492             Goldstar Deposit from 8_31_2023 to Present.pdf      203508      9/13/2023 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-13__867448_FW Goldstar Deposit from
01 - 2024-05-31\check_images\78492             10_11_2023 to 11_03_2023.pdf                        899493      11/6/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492             2023-11-13__870846_Goldstar 11 14 2023.pdf          890838      11/14/2023 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492             2023-12-13__886368_GoldStar 12192023.pdf            106232      12/19/2023 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492             2024-01-13__899942_GoldStar 01182024.pdf            103557      1/18/2024 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492             2024-02-13__910734_GoldStar 02132024.pdf             87110      2/13/2024 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78492             2024-04-13__938057_GoldStar 04162024.pdf            155229       4/16/2024 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-03-15__618743_Copy of SuttonPark Capital
01 - 2024-05-31\check_images\78496             Payments Goldstar.xls                                54784      4/19/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-15__619283_Goldstar Deposit for 4 19
01 - 2024-05-31\check_images\78496             2022.pdf                                            662925      4/20/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-15__632762_GoldStar Wire Info 5 19
01 - 2024-05-31\check_images\78496             2022.pdf                                            327430      5/19/2022 13:04




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496             2022-06-15__645387_Goldstar 6 16 2022.pdf         156113       6/16/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496             2022-07-15__658651_Goldstar 7 18 2022.pdf         311135      7/18/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-15__671786_Goldstar Deposit 8 16
01 - 2024-05-31\check_images\78496             2022.pdf                                          283480      8/16/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496             2022-09-15__685260_Goldstar 9 15 2022.pdf         926396      9/15/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496             2022-10-15__700111_Goldstar 10 18 thomas.pdf      896021      10/20/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496             2022-11-15__712310_Goldstar 11 17 2022.pdf        907056      11/17/2022 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496             2022-12-15__725344_Goldstar 12 19 2022.pdf        907848     12/19/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496             2023-01-15__739571_goldstar 1 20 2023.pdf         909380       1/20/2023 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496             2023-02-15__751926_goldstar 2 17 2023.pdf         905972       2/17/2023 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496             2023-03-15__764780_goldstar 3 16 2023.pdf         894514       3/16/2023 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496             2023-04-15__779692_goldstar 4 20 2023.pdf         907347       4/20/2023 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496             2023-05-15__792081_goldstar 5 17 2023.pdf         908997       5/17/2023 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496             2023-06-15__804974_goldstar 6 14 2023.pdf         895189       6/15/2023 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496             2023-07-15__820933_goldstar 7 24 2023.pdf         890927      7/24/2023 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496             2023-08-15__832735_goldstar 8 16 2023.pdf         894995      8/16/2023 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-15__846874_FW Goldstar Deposit from
01 - 2024-05-31\check_images\78496             9_13_2023 to 9_19_2023.pdf                        204737      9/20/2023 11:48




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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-15__867468_FW Goldstar Deposit from
01 - 2024-05-31\check_images\78496             10_11_2023 to 11_03_2023.pdf                     899493      11/6/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496             2023-11-15__876133_goldstar 11 28 2023.pdf       970498      11/28/2023 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496             2023-12-15__894516_GoldStar 01052024.pdf          63936        1/5/2024 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496             2024-01-15__899993_GoldStar 01182024.pdf         103557      1/18/2024 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496             2024-02-15__911822_GoldStar 02152024.pdf          67813       2/15/2024 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496             2024-03-15__925946_GoldStar 03192024.pdf         112061      3/19/2024 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496             2024-04-15__938066_GoldStar 04162024.pdf         155229       4/16/2024 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78496             2024-05-15__952756_GoldStar 05202024.pdf         151695      5/20/2024 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-06__907327_item-4_147890153-4-
01 - 2024-05-31\check_images\78515             65000.00 USD.pdf                                  56988       2/5/2024 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78679             2023-06-03__800897_11033816 12500.00.pdf         420048        6/6/2023 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-09__656268_4491039789-40-75000.00
01 - 2024-05-31\check_images\78728             USD.pdf                                           97066      7/11/2022 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-09__816309_item-6_4491149427-6-
01 - 2024-05-31\check_images\78728             75000.00 USD.pdf                                  82439      7/11/2023 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-31__892294_item-23_4150720-23-
01 - 2024-05-31\check_images\78734             23000.00 USD.pdf                                  42158        1/3/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-06__740334_11139_item-
01 - 2024-05-31\check_images\78740             22_2265_38_22.pdf                                 71235      1/20/2023 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-06__740913_480978 3646.08
01 - 2024-05-31\check_images\78740             01202023.pdf                                      69330      1/20/2023 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740             2023-02-06__745522_item-89_2265_2_48.pdf          69998       2/1/2023 11:09




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               All Paths/Locations                             Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740             2023-03-06__756139_item-82_2265_47_5.pdf         68586      2/27/2023 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740             2023-04-06__771174_item-6_2265_56_6.pdf          74322      3/31/2023 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740             2023-05-06__786393_item-12_2265_8_12.pdf         74283        5/3/2023 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740             2023-06-06__799600_item-166_2265_54_16.pdf       67357       6/1/2023 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740             2023-07-06__811168_item-1_2265_49_1.pdf          76743       6/30/2023 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740             2023-08-06__826376_item-193_2265_55_6.pdf        74543      7/31/2023 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740             2023-09-06__838898_item-72_2265_57_6.pdf         68886      8/30/2023 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740             2023-10-06__853748_item-105_2265_9_5.pdf         67581      10/3/2023 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740             2023-11-06__866483_item-99_2265_2_49.pdf         68645      11/1/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740             2023-12-06__876641_item-22_2265_47_22.pdf        68820     11/28/2023 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740             2024-01-06__889933_item-33_2265_47_11.pdf        81802     12/27/2023 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740             2024-02-06__905116_item-14_2265_57_14.pdf        70949        2/1/2024 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740             2024-03-06__919283_item-37_2265_2_37.pdf         78199        3/4/2024 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740             2024-04-06__932818_item-33_2265_16_20.pdf        69742        4/3/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78740             2024-05-06__942528_item-173_2265_56_25.pdf       66558       4/29/2024 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-06__740258_11139_item-
01 - 2024-05-31\check_images\78741             22_2265_38_22.pdf                                71235      1/20/2023 10:42




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-06__740910_480978 3646.08
01 - 2024-05-31\check_images\78741             01202023.pdf                                     69330      1/20/2023 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741             2023-02-06__745519_item-88_2265_2_47.pdf         80166       2/1/2023 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741             2023-03-06__756137_item-81_2265_47_4.pdf         79860      2/27/2023 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741             2023-04-06__771244_item-7_2265_56_7.pdf          73327      3/31/2023 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741             2023-05-06__786391_item-11_2265_8_11.pdf         68686        5/3/2023 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741             2023-06-06__799602_item-167_2265_54_17.pdf       67542       6/1/2023 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741             2023-07-06__811515_item-15_2265_49_15.pdf        75864       6/30/2023 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741             2023-08-06__826378_item-194_2265_55_7.pdf        66003      7/31/2023 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741             2023-09-06__838896_item-71_2265_57_5.pdf         67831      8/30/2023 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741             2023-10-06__853746_item-106_2265_9_6.pdf         67408      10/3/2023 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741             2023-11-06__866481_item-98_2265_2_48.pdf         68061      11/1/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741             2023-12-06__876645_item-23_2265_47_23.pdf        69729     11/28/2023 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741             2024-01-06__889931_item-32_2265_47_10.pdf        81478     12/27/2023 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741             2024-02-06__905119_item-15_2265_57_15.pdf        70264        2/1/2024 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741             2024-03-06__919288_item-38_2265_2_38.pdf         67916        3/4/2024 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741             2024-04-06__932821_item-34_2265_16_21.pdf        68864        4/3/2024 9:40




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SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78741             2024-05-06__942532_item-174_2265_56_26.pdf       78137       4/29/2024 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-01__665985_4200381233-19-1700.00
01 - 2024-05-31\check_images\78744             USD.pdf                                          62351       8/2/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-01__667248_4200384015-45-1700.00
01 - 2024-05-31\check_images\78744             USD.pdf                                          70672       8/4/2022 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-01__681992_item-12_4200386690-12-
01 - 2024-05-31\check_images\78744             1751.00 USD.pdf                                  66618       9/7/2022 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-01__695129_item-25_4200389404-25-
01 - 2024-05-31\check_images\78744             1751.00 USD.pdf                                  40063      10/6/2022 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-01__709372_item-5_4200392115-5-
01 - 2024-05-31\check_images\78744             1751.00 USD.pdf                                  59813      11/10/2022 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__716583_item-36_4200394616-36-
01 - 2024-05-31\check_images\78744             1751.00 USD.pdf                                  79034     11/29/2022 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__733484_item-44_4200397467-44-
01 - 2024-05-31\check_images\78744             1751.00 USD.pdf                                  66559       1/6/2023 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__747499_item-31_4200400107-31-
01 - 2024-05-31\check_images\78744             1751.00 USD.pdf                                  58309        2/7/2023 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__761088_item-34_4200402748-34-
01 - 2024-05-31\check_images\78744             1751.00 USD.pdf                                  63265       3/8/2023 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__778686_item-13_4200405430-13-
01 - 2024-05-31\check_images\78744             1751.00 USD.pdf                                  63767      4/18/2023 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__788808_item-3_4200408053-3-
01 - 2024-05-31\check_images\78744             1751.00 USD.pdf                                  61573       5/10/2023 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__802294_item-29_4200410658-29-
01 - 2024-05-31\check_images\78744             1751.00 USD.pdf                                  50871       6/9/2023 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__813479_item-25_4200413309-25-
01 - 2024-05-31\check_images\78744             1751.00 USD.pdf                                  68117       7/5/2023 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__829530_item-20_4200415887-20-
01 - 2024-05-31\check_images\78744             1751.00 USD.pdf                                  64286       8/9/2023 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__840730_item-33_4200418410-33-
01 - 2024-05-31\check_images\78744             1803.54 USD.pdf                                  67373       9/5/2023 14:18




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               All Paths/Locations                             Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__853074_item-41_4200421047-41-
01 - 2024-05-31\check_images\78744             1803.54 USD.pdf                                   57769      10/3/2023 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__867805_item-40_4200423621-40-
01 - 2024-05-31\check_images\78744             1803.54 USD.pdf                                   71225      11/6/2023 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__880223_item-22_4200426187-22-
01 - 2024-05-31\check_images\78744             1803.54 USD.pdf                                   61966       12/4/2023 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__895117_item-25_4200428758-25-
01 - 2024-05-31\check_images\78744             1803.54 USD.pdf                                   76805       1/8/2024 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__906759_item-13_4200431281-13-
01 - 2024-05-31\check_images\78744             1803.54 USD.pdf                                   61963       2/5/2024 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__918533_item-27_4200433778-27-
01 - 2024-05-31\check_images\78744             1803.54 USD.pdf                                   63192        3/4/2024 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__934468_item-13_4200436380-13-
01 - 2024-05-31\check_images\78744             1803.54 USD.pdf                                   52389        4/8/2024 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__946751_item-15_4200438896-15-
01 - 2024-05-31\check_images\78744             1803.54 USD.pdf                                   64678        5/6/2024 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-28__917047_item-7_4491218961-7-
01 - 2024-05-31\check_images\78752             601.80 USD.pdf                                    82963      2/27/2024 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-28__928845_item-8_4491227945-8-
01 - 2024-05-31\check_images\78752             601.80 USD.pdf                                    80893       3/27/2024 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-28__943498_item-1_4491236852-1-
01 - 2024-05-31\check_images\78752             601.80 USD.pdf                                    81151      4/29/2024 22:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-28__955189_item-9_4491245734-9-
01 - 2024-05-31\check_images\78752             601.80 USD.pdf                                    86687      5/28/2024 13:22
Saiph consulting|\Audit Materials Received-    2022-04-01__620479_RE_ Servicing HB Release
SuttonPark\Check Images\Dorchester II 2021-01- 04_21_2022 APPROVAL NEEDED-FLove
01 - 2024-05-31\check_images\78768             Approval.pdf                                     218535      4/22/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-01__625311_41362211-17-3105.38
01 - 2024-05-31\check_images\78768             USD.pdf                                           69705        5/2/2022 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-01__637728_41428644-3-3198.54
01 - 2024-05-31\check_images\78768             USD.pdf                                           69572       6/1/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-01__652113_41474832-29-3198.54
01 - 2024-05-31\check_images\78768             USD.pdf                                           69212      6/30/2022 16:01




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               All Paths/Locations                             Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-01__664295_41526901-8-3198.54
01 - 2024-05-31\check_images\78768             USD.pdf                                       72794        8/1/2022 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-01__678229_41585420-11-3198.54
01 - 2024-05-31\check_images\78768             USD.pdf                                       74214      8/31/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-01__693366_item-3_41638717-3-
01 - 2024-05-31\check_images\78768             3198.54 USD.pdf                               75261       10/4/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-01__704781_item-10_41690978-10-
01 - 2024-05-31\check_images\78768             3198.54 USD.pdf                               71420      11/1/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__719173_item-35_41757090-35-
01 - 2024-05-31\check_images\78768             3198.54 USD.pdf                               78871      12/5/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__730980_item-6_41812266-6-
01 - 2024-05-31\check_images\78768             3198.54 USD.pdf                               72620       1/3/2023 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__746429_item-20_41854572-20-
01 - 2024-05-31\check_images\78768             3198.54 USD.pdf                               69538       2/3/2023 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__759939_item-35_41907664-35-
01 - 2024-05-31\check_images\78768             3198.54 USD.pdf                               69750       3/6/2023 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__773674_item-12_41966728-12-
01 - 2024-05-31\check_images\78768             3198.54 USD.pdf                               71501       4/5/2023 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__784786_item-1_42018451-1-
01 - 2024-05-31\check_images\78768             3198.54 USD.pdf                               67179        5/2/2023 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__799414_item-19_42086546-19-
01 - 2024-05-31\check_images\78768             3294.50 USD.pdf                               70850       6/2/2023 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__814325_item-42_42129786-42-
01 - 2024-05-31\check_images\78768             3294.50 USD.pdf                               69026       7/5/2023 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__825346_item-23_42180160-23-
01 - 2024-05-31\check_images\78768             3294.50 USD.pdf                               66553      7/31/2023 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__839772_item-8_42235620-8-
01 - 2024-05-31\check_images\78768             3294.50 USD.pdf                               76403        9/1/2023 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__852632_item-27_42286370-27-
01 - 2024-05-31\check_images\78768             3294.50 USD.pdf                               72058       10/2/2023 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__866089_item-39_42340522-39-
01 - 2024-05-31\check_images\78768             3294.50 USD.pdf                               73114      11/1/2023 12:07




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               All Paths/Locations                              Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__879452_item-35_42405503-35-
01 - 2024-05-31\check_images\78768             3294.50 USD.pdf                                 68279       12/4/2023 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__890974_item-22_42443807-22-
01 - 2024-05-31\check_images\78768             3294.50 USD.pdf                                 71416       1/2/2024 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__905932_item-36_42501164-36-
01 - 2024-05-31\check_images\78768             3294.50 USD.pdf                                 81066       2/1/2024 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__918823_item-26_42553767-26-
01 - 2024-05-31\check_images\78768             3294.50 USD.pdf                                 70700       3/4/2024 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__931079_item-11_42616474-11-
01 - 2024-05-31\check_images\78768             3294.50 USD.pdf                                 76510       4/1/2024 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__945231_item-38_42661918-38-
01 - 2024-05-31\check_images\78768             3294.50 USD.pdf                                 66403       5/1/2024 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-28__728380_item-24_4491089252-24-
01 - 2024-05-31\check_images\78813             40000.00 USD.pdf                                93963      12/28/2022 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-17__735359_11107_4300391258
01 - 2024-05-31\check_images\78815             2112.60.pdf                                     97161       1/11/2023 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-17__748891_item-6_4300393181-6-
01 - 2024-05-31\check_images\78815             2112.60 USD.pdf                                 75795      2/10/2023 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-17__761962_item-12_4300395114-12-
01 - 2024-05-31\check_images\78815             2112.60 USD.pdf                                 87056       3/10/2023 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-17__774909_item-20_4300397072-20-
01 - 2024-05-31\check_images\78815             2112.60 USD.pdf                                 92497       4/7/2023 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-17__794199_item-12_4300399106-12-
01 - 2024-05-31\check_images\78815             2112.60 USD.pdf                                 87455       5/24/2023 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-17__802712_item-7_4300401035-7-
01 - 2024-05-31\check_images\78815             2112.60 USD.pdf                                 87016      6/12/2023 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-17__815529_item-27_4300402957-27-
01 - 2024-05-31\check_images\78815             2112.60 USD.pdf                                 82392      7/10/2023 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-17__831692_item-32_4300404894-32-
01 - 2024-05-31\check_images\78815             2112.60 USD.pdf                                 91065      8/14/2023 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-17__843208_item-38_4300406779-38-
01 - 2024-05-31\check_images\78815             2112.60 USD.pdf                                 84199      9/11/2023 15:26




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               All Paths/Locations                             Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-17__856765_item-37_4300408710-37-
01 - 2024-05-31\check_images\78815             2112.60 USD.pdf                                  71672     10/11/2023 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-17__871519_item-39_4300410604-39-
01 - 2024-05-31\check_images\78815             2175.98 USD.pdf                                  89294     11/14/2023 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-17__885923_item-15_4300412453-15-
01 - 2024-05-31\check_images\78815             2175.98 USD.pdf                                  82241     12/18/2023 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-17__897031_item-1_4300414341-1-
01 - 2024-05-31\check_images\78815             2175.98 USD.pdf                                  73009       1/12/2024 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-17__911074_item-17_4300416186-17-
01 - 2024-05-31\check_images\78815             2175.98 USD.pdf                                  71708      2/13/2024 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-17__922206_item-44_4300418022-44-
01 - 2024-05-31\check_images\78815             2175.98 USD.pdf                                  74540      3/11/2024 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-17__937076_item-5_4300419984-5-
01 - 2024-05-31\check_images\78815             2175.98 USD.pdf                                  75109      4/15/2024 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-17__950725_item-16_4300421904-16-
01 - 2024-05-31\check_images\78815             2175.98 USD.pdf                                  68865      5/14/2024 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-23__617725_3264412-19-939.66
01 - 2024-05-31\check_images\78827             USD.pdf                                          36032      4/18/2022 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-23__631470_3296602-19-939.66
01 - 2024-05-31\check_images\78827             USD.pdf                                          41515      5/17/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-23__645991_3328808-6-939.66
01 - 2024-05-31\check_images\78827             USD.pdf                                          43156      6/17/2022 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-23__658985_3360937-13-939.66
01 - 2024-05-31\check_images\78827             USD.pdf                                          42821       7/18/2022 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-23__671920_3392687-32-939.66
01 - 2024-05-31\check_images\78827             USD.pdf                                          33832      8/16/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-23__686096_item-31_3424226-31-
01 - 2024-05-31\check_images\78827             939.66 USD.pdf                                   32588      9/19/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-23__698860_item-28_3455304-28-
01 - 2024-05-31\check_images\78827             939.66 USD.pdf                                   39616     10/17/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-23__712741_item-6_3487002-6-939.66
01 - 2024-05-31\check_images\78827             USD.pdf                                          37784      11/18/2022 9:57




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               All Paths/Locations                             Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-23__725852_item-10_3518362-10-
01 - 2024-05-31\check_images\78827             939.66 USD.pdf                                   34656     12/19/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-23__738448_item-35_3549936-35-
01 - 2024-05-31\check_images\78827             939.66 USD.pdf                                   34662      1/17/2023 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-23__751638_item-23_3581127-23-
01 - 2024-05-31\check_images\78827             939.66 USD.pdf                                   34368       2/16/2023 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-23__765298_item-5_3611930-5-939.66
01 - 2024-05-31\check_images\78827             USD.pdf                                          44836      3/17/2023 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-23__778494_item-21_3641850-21-
01 - 2024-05-31\check_images\78827             939.66 USD.pdf                                   36517       4/17/2023 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-23__791407_item-30_3670807-30-
01 - 2024-05-31\check_images\78827             939.66 USD.pdf                                   41782       5/16/2023 7:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-23__806908_item-12_3693782-12-
01 - 2024-05-31\check_images\78827             939.66 USD.pdf                                   34990      6/21/2023 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-23__818573_item-39_3716281-39-
01 - 2024-05-31\check_images\78827             939.66 USD.pdf                                   42012      7/17/2023 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-23__833235_item-32_3737667-32-
01 - 2024-05-31\check_images\78827             939.66 USD.pdf                                   38284       8/18/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-23__845711_item-31_3754586-31-
01 - 2024-05-31\check_images\78827             939.66 USD.pdf                                   38043      9/18/2023 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-23__858412_item-35_3770732-35-
01 - 2024-05-31\check_images\78827             939.66 USD.pdf                                   33253     10/16/2023 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-23__873125_item-13_3784358-13-
01 - 2024-05-31\check_images\78827             939.66 USD.pdf                                   36135     11/17/2023 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-23__886316_item-29_3798159-29-
01 - 2024-05-31\check_images\78827             939.66 USD.pdf                                   39658     12/18/2023 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-23__900199_item-7_3812359-7-939.66
01 - 2024-05-31\check_images\78827             USD.pdf                                          43891       1/19/2024 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-23__913373_item-5_3825953-5-939.66
01 - 2024-05-31\check_images\78827             USD.pdf                                          34900       2/20/2024 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-23__925367_item-35_3833211-35-
01 - 2024-05-31\check_images\78827             939.66 USD.pdf                                   35519       3/18/2024 9:49




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               All Paths/Locations                             Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-23__938445_item-34_3840739-34-
01 - 2024-05-31\check_images\78827             939.66 USD.pdf                                36201      4/16/2024 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-23__952922_item-14_3848144-14-
01 - 2024-05-31\check_images\78827             939.66 USD.pdf                                34187      5/20/2024 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-02__934247_item-17_42622595-17-
01 - 2024-05-31\check_images\78831             7500.00 USD.pdf                               64918       4/5/2024 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-15__643719_33370039-30-1764.77
01 - 2024-05-31\check_images\78833             USD.pdf                                       96294      6/13/2022 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-15__657064_33397217-11-1764.77
01 - 2024-05-31\check_images\78833             USD.pdf                                       98999      7/12/2022 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-15__670578_33424960-40-1764.77
01 - 2024-05-31\check_images\78833             USD.pdf                                      100902      8/12/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-15__683614_item-35_33450330-35-
01 - 2024-05-31\check_images\78833             1764.77 USD.pdf                               95108       9/12/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-15__696781_item-11_33476775-11-
01 - 2024-05-31\check_images\78833             1764.77 USD.pdf                               95867      10/12/2022 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-15__710717_item-10_33503712-10-
01 - 2024-05-31\check_images\78833             1764.77 USD.pdf                               98902      11/15/2022 8:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-15__723342_item-44_33533858-44-
01 - 2024-05-31\check_images\78833             1764.77 USD.pdf                               94678     12/13/2022 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-15__738434_item-17_33571928-17-
01 - 2024-05-31\check_images\78833             1764.77 USD.pdf                              102431      1/17/2023 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-15__749362_item-15_33600103-15-
01 - 2024-05-31\check_images\78833             1764.77 USD.pdf                               92613       2/13/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-15__763163_item-42_33626676-42-
01 - 2024-05-31\check_images\78833             1764.77 USD.pdf                               91881       3/13/2023 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-15__777346_item-19_33654788-19-
01 - 2024-05-31\check_images\78833             1764.77 USD.pdf                               92292      4/14/2023 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-15__790321_item-20_33681348-20-
01 - 2024-05-31\check_images\78833             1764.77 USD.pdf                               96173      5/15/2023 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-15__803461_item-31_33706356-31-
01 - 2024-05-31\check_images\78833             1764.77 USD.pdf                               99406      6/12/2023 10:23




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-15__817856_item-44_33734972-44-
01 - 2024-05-31\check_images\78833             1764.77 USD.pdf                                  93783      7/13/2023 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-15__830740_item-19_33764155-19-
01 - 2024-05-31\check_images\78833             1764.77 USD.pdf                                  98635      8/14/2023 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-15__847587_item-7_33789650-7-
01 - 2024-05-31\check_images\78833             1764.77 USD.pdf                                  69914      9/22/2023 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-15__857682_item-23_33816331-23-
01 - 2024-05-31\check_images\78833             1764.77 USD.pdf                                 103893     10/13/2023 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-15__871086_item-6_33842825-6-
01 - 2024-05-31\check_images\78833             1764.77 USD.pdf                                 103297     11/14/2023 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-15__883875_item-33_33873000-33-
01 - 2024-05-31\check_images\78833             1764.77 USD.pdf                                 110982     12/12/2023 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-15__897773_item-36_33909224-36-
01 - 2024-05-31\check_images\78833             1764.77 USD.pdf                                 107236      1/16/2024 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-15__910470_item-41_33936420-41-
01 - 2024-05-31\check_images\78833             1764.77 USD.pdf                                  99811       2/12/2024 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-15__922695_item-2_33962392-2-
01 - 2024-05-31\check_images\78833             1764.77 USD.pdf                                  58529       3/11/2024 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-15__936967_item-2_33990009-2-
01 - 2024-05-31\check_images\78833             1764.77 USD.pdf                                  52465      4/15/2024 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-15__950658_item-38_34015147-38-
01 - 2024-05-31\check_images\78833             1764.77 USD.pdf                                  62611      5/14/2024 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-04__731680_item-20_3522611-20-
01 - 2024-05-31\check_images\78843             15000.00 USD.pdf                                 34227       1/3/2023 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__718714_item-15_2392369-15-
01 - 2024-05-31\check_images\78856             12500.00 USD.pdf                                 37954      12/2/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__880613_item-20_2410198-20-
01 - 2024-05-31\check_images\78856             12500.00 USD.pdf                                 31350      12/4/2023 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78865             2022-12-20__726212_item-71_2265_31_30.pdf        78807     12/19/2022 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78865             2023-12-20__885381_item-140_2265_34_17.pdf       78490      12/18/2023 7:47




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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78880             2023-11-17__871704_item-11_2265_26_11.pdf         75519      11/15/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78880             2023-12-17__885731_item-64_2265_31_3.pdf          76883     12/18/2023 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78880             2024-01-17__899845_item-33_2265_39_33.pdf         73996       1/18/2024 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78880             2024-02-17__912156_item-37_2265_27_18.pdf         73009       2/16/2024 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78880             2024-03-17__925726_item-9_2265_34_9.pdf           73532       3/19/2024 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78880             2024-04-17__939434_item-10_2265_41_9.pdf          74984       4/18/2024 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78880             2024-05-17__951341_item-19_2265_28_19.pdf         75047       5/15/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-14__899354_item-6_42475225-6-
01 - 2024-05-31\check_images\78884             10000.00 USD.pdf                                  76615      1/17/2024 14:43
Saiph consulting|\Audit Materials Received-    2022-04-01__620480_RE_ Servicing HB Release
SuttonPark\Check Images\Dorchester II 2021-01- 04_21_2022 APPROVAL NEEDED-FLove
01 - 2024-05-31\check_images\78903             Approval.pdf                                     218535      4/22/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-01__688825_item-23_4025190-23-
01 - 2024-05-31\check_images\78903             2510.00 USD.pdf                                   40820      9/26/2022 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__769851_item-3_4074122-3-
01 - 2024-05-31\check_images\78903             2510.00 USD.pdf                                   44838      3/28/2023 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__847845_item-7_4123917-7-
01 - 2024-05-31\check_images\78903             2510.00 USD.pdf                                   41015      9/25/2023 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__931277_item-37_4174768-37-
01 - 2024-05-31\check_images\78903             2510.00 USD.pdf                                   38181       4/1/2024 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-13__724051_item-18_999441-18-
01 - 2024-05-31\check_images\78905             10000.00 USD.pdf                                  78814     12/14/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-13__882770_item-21_1000018945-21-
01 - 2024-05-31\check_images\78905             1277.90 USD.pdf                                   52691     12/11/2023 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-13__895501_item-13_1000022865-13-
01 - 2024-05-31\check_images\78905             1277.90 USD.pdf                                   52212        1/9/2024 8:54




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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-13__909644_item-14_1000026360-14-
01 - 2024-05-31\check_images\78905             1277.90 USD.pdf                                   56616      2/12/2024 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-13__922869_item-20_1000029652-20-
01 - 2024-05-31\check_images\78905             1277.90 USD.pdf                                   58363       3/11/2024 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-13__935524_item-33_1000033069-33-
01 - 2024-05-31\check_images\78905             1277.90 USD.pdf                                   47699       4/9/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-13__949860_item-31_1000036621-31-
01 - 2024-05-31\check_images\78905             1277.90 USD.pdf                                   54448      5/13/2024 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-13__723410_item-25_30686577-25-
01 - 2024-05-31\check_images\78906             10000.00 USD.pdf                                  99164     12/12/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-13__882758_item-4_30764065-4-
01 - 2024-05-31\check_images\78906             1270.00 USD.pdf                                   93566     12/11/2023 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-13__897994_item-36_30772748-36-
01 - 2024-05-31\check_images\78906             1270.00 USD.pdf                                   98304      1/16/2024 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-13__909972_item-14_30779488-14-
01 - 2024-05-31\check_images\78906             1270.00 USD.pdf                                  105314      2/12/2024 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-13__921652_item-3_30785118-3-
01 - 2024-05-31\check_images\78906             1270.00 USD.pdf                                   55772       3/8/2024 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-13__935621_item-20_30791740-20-
01 - 2024-05-31\check_images\78906             1270.00 USD.pdf                                   61870       4/10/2024 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-13__950579_item-26_30798404-26-
01 - 2024-05-31\check_images\78906             1270.00 USD.pdf                                   68503       5/14/2024 9:33
Saiph consulting|\Audit Materials Received-    2022-03-15__613941_FW_ Servicing HB Release
SuttonPark\Check Images\Dorchester II 2021-01- 03-29-2022 APPROVAL NEEDED-FLove
01 - 2024-05-31\check_images\78911             Approval.pdf                                     263877        4/7/2022 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-15__618967_1000205459-6-760.91
01 - 2024-05-31\check_images\78911             USD.pdf                                           70260      4/19/2022 19:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-15__628961_1000211286-44-760.91
01 - 2024-05-31\check_images\78911             USD.pdf                                           63307      5/10/2022 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-15__643482_1000217115-10-760.91
01 - 2024-05-31\check_images\78911             USD.pdf                                           64142      6/13/2022 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-15__655723_1000222782-42-760.91
01 - 2024-05-31\check_images\78911             USD.pdf                                           64971      7/11/2022 11:47




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               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-15__670955_1000228591-5-760.91
01 - 2024-05-31\check_images\78911             USD.pdf                                         67803      8/15/2022 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-15__682878_item-15_1000234325-15-
01 - 2024-05-31\check_images\78911             760.91 USD.pdf                                  47074       9/12/2022 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-15__696323_item-36_1000239963-36-
01 - 2024-05-31\check_images\78911             760.91 USD.pdf                                  64866     10/11/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-15__710624_item-16_1000245789-16-
01 - 2024-05-31\check_images\78911             760.91 USD.pdf                                  66228     11/14/2022 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-15__722150_item-22_1000251233-22-
01 - 2024-05-31\check_images\78911             760.91 USD.pdf                                  67713     12/12/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-15__734686_item-25_1000256887-25-
01 - 2024-05-31\check_images\78911             760.91 USD.pdf                                  57935       1/9/2023 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-15__749333_item-16_1000262540-16-
01 - 2024-05-31\check_images\78911             760.91 USD.pdf                                  64174      2/13/2023 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-15__762675_item-13_1000268083-13-
01 - 2024-05-31\check_images\78911             760.91 USD.pdf                                  67845      3/13/2023 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-15__776357_item-25_1000273556-25-
01 - 2024-05-31\check_images\78911             760.91 USD.pdf                                  58143      4/11/2023 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-15__790453_item-3_1000279078-3-
01 - 2024-05-31\check_images\78911             760.91 USD.pdf                                  66569      5/15/2023 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-15__802880_item-13_1000284539-13-
01 - 2024-05-31\check_images\78911             760.91 USD.pdf                                  74487      6/12/2023 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-15__816487_item-10_1000290023-10-
01 - 2024-05-31\check_images\78911             760.91 USD.pdf                                  59124      7/11/2023 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-15__830555_item-24_1000295642-24-
01 - 2024-05-31\check_images\78911             760.91 USD.pdf                                  75169      8/14/2023 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-15__842675_item-17_1000300960-17-
01 - 2024-05-31\check_images\78911             760.91 USD.pdf                                  68591      9/11/2023 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-15__858425_item-40_1000306383-40-
01 - 2024-05-31\check_images\78911             760.91 USD.pdf                                  58782     10/16/2023 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-15__869742_item-22_1000311885-22-
01 - 2024-05-31\check_images\78911             760.91 USD.pdf                                  54093     11/13/2023 11:18




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               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-15__883056_item-40_1000317247-40-
01 - 2024-05-31\check_images\78911             760.91 USD.pdf                                  37662      12/11/2023 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-15__897722_item-12_1000322654-12-
01 - 2024-05-31\check_images\78911             760.91 USD.pdf                                  55876      1/16/2024 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-15__909314_item-21_1000327941-21-
01 - 2024-05-31\check_images\78911             760.91 USD.pdf                                  55893      2/12/2024 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-15__922709_item-19_1000333243-19-
01 - 2024-05-31\check_images\78911             760.91 USD.pdf                                  51132       3/11/2024 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-15__937355_item-39_1000338502-39-
01 - 2024-05-31\check_images\78911             760.91 USD.pdf                                  49958      4/15/2024 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-15__950591_item-19_1000343761-19-
01 - 2024-05-31\check_images\78911             760.91 USD.pdf                                  48029       5/13/2024 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-01__653799_4491037892-2-5000.00
01 - 2024-05-31\check_images\78918             USD.pdf                                         32143       7/5/2022 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__733733_item-19_4491092861-19-
01 - 2024-05-31\check_images\78918             5000.00 USD.pdf                                 40913       1/6/2023 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__835673_item-10_4491164054-10-
01 - 2024-05-31\check_images\78918             5000.00 USD.pdf                                 55835      8/28/2023 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__894539_item-34_4491203398-34-
01 - 2024-05-31\check_images\78918             5000.00 USD.pdf                                 40042       1/5/2024 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-07__628541_684292-33-1875.54
01 - 2024-05-31\check_images\78927             USD.pdf                                         40582      5/10/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-07__642760_689048-34-1875.54
01 - 2024-05-31\check_images\78927             USD.pdf                                         45339      6/10/2022 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-07__657171_693265-34-1875.54
01 - 2024-05-31\check_images\78927             USD.pdf                                         39837       7/13/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-07__669208_697939-7-1875.54
01 - 2024-05-31\check_images\78927             USD.pdf                                         43479       8/9/2022 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-07__683830_item-37_702466-37-
01 - 2024-05-31\check_images\78927             1875.54 USD.pdf                                 44788       9/13/2022 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-07__696214_item-13_706520-13-
01 - 2024-05-31\check_images\78927             1875.54 USD.pdf                                 39401     10/11/2022 14:45




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               All Paths/Locations                             Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-07__708900_item-6_711740-6-1875.54
01 - 2024-05-31\check_images\78927             USD.pdf                                          42775      11/8/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-07__721817_item-1_716636-1-1875.54
01 - 2024-05-31\check_images\78927             USD.pdf                                          39113      12/9/2022 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-07__736474_item-40_721015-40-
01 - 2024-05-31\check_images\78927             1875.54 USD.pdf                                  39771      1/11/2023 20:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-07__747534_item-41_726397-41-
01 - 2024-05-31\check_images\78927             1875.54 USD.pdf                                  40897       2/7/2023 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-07__760773_item-30_730978-30-
01 - 2024-05-31\check_images\78927             1875.54 USD.pdf                                  41751       3/7/2023 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-07__775175_item-32_735555-32-
01 - 2024-05-31\check_images\78927             1875.54 USD.pdf                                  45267      4/10/2023 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-07__788078_item-6_740221-6-1875.54
01 - 2024-05-31\check_images\78927             USD.pdf                                          40137        5/8/2023 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-07__802276_item-38_744612-38-
01 - 2024-05-31\check_images\78927             1875.54 USD.pdf                                  42811       6/9/2023 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-07__814763_item-2_748739-2-1875.54
01 - 2024-05-31\check_images\78927             USD.pdf                                          38464       7/10/2023 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-07__828874_item-21_753347-21-
01 - 2024-05-31\check_images\78927             1875.54 USD.pdf                                  41597        8/7/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-07__842954_item-10_758062-10-
01 - 2024-05-31\check_images\78927             1875.54 USD.pdf                                  42618      9/11/2023 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-07__855611_item-19_762427-19-
01 - 2024-05-31\check_images\78927             1875.54 USD.pdf                                  44048     10/10/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-07__868268_item-6_768254-6-1875.54
01 - 2024-05-31\check_images\78927             USD.pdf                                          45472      11/7/2023 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-07__883004_item-33_772422-33-
01 - 2024-05-31\check_images\78927             1875.54 USD.pdf                                  41049      12/11/2023 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-07__895053_item-35_777392-35-
01 - 2024-05-31\check_images\78927             1875.54 USD.pdf                                  39755       1/8/2024 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-07__909461_item-18_782529-18-
01 - 2024-05-31\check_images\78927             1875.54 USD.pdf                                  44844      2/12/2024 11:52




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               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-07__923977_Check 786822 and Advice
01 - 2024-05-31\check_images\78927             Letter 1875.54.pdf                              652760       3/14/2024 7:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-07__934627_item-10_791806-10-
01 - 2024-05-31\check_images\78927             1875.54 USD.pdf                                  43637        4/8/2024 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-07__949154_item-43_797328-43-
01 - 2024-05-31\check_images\78927             1875.54 USD.pdf                                  47360      5/10/2024 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-09__909809_item-7_4491214611-7-
01 - 2024-05-31\check_images\78930             5000.00 USD.pdf                                  88330      2/12/2024 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__734142_732210_item-
01 - 2024-05-31\check_images\78937             35_33558170-35-2075.00 USD.pdf                   98737       1/4/2023 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__743630_item-18_33586116-18-
01 - 2024-05-31\check_images\78937             2075.00 USD.pdf                                  92961      1/30/2023 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__756225_item-32_33613538-32-
01 - 2024-05-31\check_images\78937             2075.00 USD.pdf                                  92320      2/27/2023 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__770913_item-2_33641373-2-
01 - 2024-05-31\check_images\78937             2075.00 USD.pdf                                  93273       3/31/2023 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__784931_item-9_33668288-9-
01 - 2024-05-31\check_images\78937             2075.00 USD.pdf                                  76379       5/2/2023 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__797245_item-14_33694261-14-
01 - 2024-05-31\check_images\78937             2075.00 USD.pdf                                  96598      5/31/2023 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__810980_item-21_33721419-21-
01 - 2024-05-31\check_images\78937             2075.00 USD.pdf                                  95715      6/29/2023 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__825432_item-29_33750407-29-
01 - 2024-05-31\check_images\78937             2075.00 USD.pdf                                  96172       8/1/2023 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__839040_item-13_33778196-13-
01 - 2024-05-31\check_images\78937             2075.00 USD.pdf                                  96178       8/31/2023 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__852261_item-13_33803516-13-
01 - 2024-05-31\check_images\78937             2075.00 USD.pdf                                  93991      10/2/2023 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__863818_item-40_33829745-40-
01 - 2024-05-31\check_images\78937             2075.00 USD.pdf                                  91943     10/30/2023 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__880671_item-13_33858408-13-
01 - 2024-05-31\check_images\78937             2075.00 USD.pdf                                  95327      12/4/2023 14:39




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               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__893091_item-12_33896035-12-
01 - 2024-05-31\check_images\78937             2075.00 USD.pdf                                 93099       1/3/2024 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__904308_item-17_33923189-17-
01 - 2024-05-31\check_images\78937             2075.00 USD.pdf                                 91231      1/30/2024 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__916134_915226_item-
01 - 2024-05-31\check_images\78937             18_33949157-18-2075.00 USD.pdf                  57681       2/26/2024 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__929377_item-26_33978304-26-
01 - 2024-05-31\check_images\78937             2075.00 USD.pdf                                 55574       3/28/2024 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__943320_item-15_34002652-15-
01 - 2024-05-31\check_images\78937             2075.00 USD.pdf                                 55456      4/29/2024 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-22__619789_1000206225-5-925.00
01 - 2024-05-31\check_images\78939             USD.pdf                                         60059       4/21/2022 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-22__632730_1000212037-17-925.00
01 - 2024-05-31\check_images\78939             USD.pdf                                         68894      5/19/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-22__646707_1000217837-33-925.00
01 - 2024-05-31\check_images\78939             USD.pdf                                         74876      6/21/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-22__658388_1000223582-28-925.00
01 - 2024-05-31\check_images\78939             USD.pdf                                         68290       7/18/2022 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-22__673632_1000229332-28-925.00
01 - 2024-05-31\check_images\78939             USD.pdf                                         85251      8/22/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-22__685856_item-14_1000234912-14-
01 - 2024-05-31\check_images\78939             925.00 USD.pdf                                  70350      9/19/2022 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-22__700321_item-30_1000240700-30-
01 - 2024-05-31\check_images\78939             925.00 USD.pdf                                  66029      10/21/2022 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-22__712995_item-29_1000246484-29-
01 - 2024-05-31\check_images\78939             925.00 USD.pdf                                  79788      11/21/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-22__724130_item-39_1000252091-39-
01 - 2024-05-31\check_images\78939             925.00 USD.pdf                                  72628     12/14/2022 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-22__740447_item-12_1000257621-12-
01 - 2024-05-31\check_images\78939             925.00 USD.pdf                                  75325      1/23/2023 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-22__752636_item-45_1000263232-45-
01 - 2024-05-31\check_images\78939             925.00 USD.pdf                                  85948      2/21/2023 12:27




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               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-22__765780_item-36_1000268749-36-
01 - 2024-05-31\check_images\78939             925.00 USD.pdf                                  78678      3/20/2023 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-22__779793_item-22_1000274289-22-
01 - 2024-05-31\check_images\78939             925.00 USD.pdf                                  60954      4/20/2023 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-22__792873_item-4_1000279795-4-
01 - 2024-05-31\check_images\78939             925.00 USD.pdf                                  64601       5/19/2023 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-22__806186_item-5_1000285187-5-
01 - 2024-05-31\check_images\78939             925.00 USD.pdf                                  72174      6/20/2023 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-22__819349_item-12_1000290736-12-
01 - 2024-05-31\check_images\78939             925.00 USD.pdf                                  62393      7/18/2023 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-22__833466_item-4_1000296301-4-
01 - 2024-05-31\check_images\78939             925.00 USD.pdf                                  64322      8/21/2023 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-22__845215_item-6_1000301640-6-
01 - 2024-05-31\check_images\78939             925.00 USD.pdf                                  79076       9/18/2023 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-22__860208_item-29_1000307075-29-
01 - 2024-05-31\check_images\78939             925.00 USD.pdf                                  51400     10/20/2023 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-22__873292_item-4_1000312545-4-
01 - 2024-05-31\check_images\78939             925.00 USD.pdf                                  50364     11/20/2023 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-22__883488_item-19_1000318000-19-
01 - 2024-05-31\check_images\78939             925.00 USD.pdf                                  55708      12/12/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-22__900611_item-3_1000323340-3-
01 - 2024-05-31\check_images\78939             925.00 USD.pdf                                  50198      1/22/2024 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-22__912551_item-33_1000328571-33-
01 - 2024-05-31\check_images\78939             925.00 USD.pdf                                  51303       2/20/2024 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-22__927196_item-17_1000333926-17-
01 - 2024-05-31\check_images\78939             925.00 USD.pdf                                  54820      3/25/2024 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-22__939642_item-20_1000339198-20-
01 - 2024-05-31\check_images\78939             925.00 USD.pdf                                  47626       4/19/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-22__953383_item-14_1000344398-14-
01 - 2024-05-31\check_images\78939             925.00 USD.pdf                                  50922      5/21/2024 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-01__636402_5097518-14-5000.00
01 - 2024-05-31\check_images\78948             USD.pdf                                         89256      5/27/2022 13:19




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 195 of
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               All Paths/Locations                             Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-01__650376_5107512-15-2817.92
01 - 2024-05-31\check_images\78948             USD.pdf                                           57480      6/28/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__730099_item-45_5159635-45-
01 - 2024-05-31\check_images\78948             2817.92 USD.pdf                                   81219       1/3/2023 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__808080_item-10_5210158-10-
01 - 2024-05-31\check_images\78948             2817.92 USD.pdf                                   81172      6/26/2023 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__891186_item-1_5258806-1-
01 - 2024-05-31\check_images\78948             2817.92 USD.pdf                                   79478       1/2/2024 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-01__741000_FW_ Servicing HB Release
01 - 2024-05-31\check_images\78953             04 22 2023 APPROVAL NEEDED-PForde.pdf          1484977       1/25/2023 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-01__741003_FW_ Servicing HB Release
01 - 2024-05-31\check_images\78953             04 22 2023 APPROVAL NEEDED-PForde.pdf          1484977       1/25/2023 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-01__741006_FW_ Servicing HB Release
01 - 2024-05-31\check_images\78953             04 22 2023 APPROVAL NEEDED-PForde.pdf          1484977       1/25/2023 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-01__741010_FW_ Servicing HB Release
01 - 2024-05-31\check_images\78953             04 22 2023 APPROVAL NEEDED-PForde.pdf          1484977       1/25/2023 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-01__741013_FW_ Servicing HB Release
01 - 2024-05-31\check_images\78953             04 22 2023 APPROVAL NEEDED-PForde.pdf          1484977       1/25/2023 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-01__741014_FW_ Servicing HB Release
01 - 2024-05-31\check_images\78953             04 22 2023 APPROVAL NEEDED-PForde.pdf          1484977       1/25/2023 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-01__741015_FW_ Servicing HB Release
01 - 2024-05-31\check_images\78953             04 22 2023 APPROVAL NEEDED-PForde.pdf          1484977       1/25/2023 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-01__705077_item-5_387053-5-444.00
01 - 2024-05-31\check_images\78953             USD.pdf                                           48722      11/1/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__715986_item-29_390483-29-
01 - 2024-05-31\check_images\78953             444.00 USD.pdf                                    47004     11/29/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__730950_item-23_394098-23-
01 - 2024-05-31\check_images\78953             444.00 USD.pdf                                    49131       1/3/2023 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__746345_item-23_397522-23-
01 - 2024-05-31\check_images\78953             444.00 USD.pdf                                    46047        2/3/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__757063_item-38_400852-38-
01 - 2024-05-31\check_images\78953             444.00 USD.pdf                                   146460      2/28/2023 16:00




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 196 of
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               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__772279_item-25_404261-25-
01 - 2024-05-31\check_images\78953             444.00 USD.pdf                                  51868       4/3/2023 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__784753_item-19_407568-19-
01 - 2024-05-31\check_images\78953             444.00 USD.pdf                                  45888        5/2/2023 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__796754_item-14_410966-14-
01 - 2024-05-31\check_images\78953             444.00 USD.pdf                                  47386       5/31/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__811384_item-31_414512-31-
01 - 2024-05-31\check_images\78953             444.00 USD.pdf                                  45021      6/30/2023 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__824322_item-13_418015-13-
01 - 2024-05-31\check_images\78953             444.00 USD.pdf                                  52781      7/31/2023 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__839862_item-30_421807-30-
01 - 2024-05-31\check_images\78953             444.00 USD.pdf                                  57418       9/1/2023 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__852799_item-43_425266-43-
01 - 2024-05-31\check_images\78953             444.00 USD.pdf                                  44597       10/3/2023 8:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__865200_item-6_428679-6-444.00
01 - 2024-05-31\check_images\78953             USD.pdf                                         46227     10/31/2023 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__878403_item-11_432249-11-
01 - 2024-05-31\check_images\78953             444.00 USD.pdf                                  45682     11/30/2023 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__891777_item-21_435833-21-
01 - 2024-05-31\check_images\78953             444.00 USD.pdf                                  48337       1/2/2024 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__904757_item-26_439384-26-
01 - 2024-05-31\check_images\78953             444.00 USD.pdf                                  45557      1/31/2024 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__918405_item-28_442898-28-
01 - 2024-05-31\check_images\78953             444.00 USD.pdf                                  42343        3/4/2024 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__932464_item-4_446365-4-444.00
01 - 2024-05-31\check_images\78953             USD.pdf                                         46872       4/2/2024 22:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__946242_item-6_449884-6-444.00
01 - 2024-05-31\check_images\78953             USD.pdf                                         55432       5/2/2024 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-15__631558_33343909-39-13537.27
01 - 2024-05-31\check_images\78954             USD.pdf                                        101890       5/13/2022 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-15__643669_33369384-24-13537.27
01 - 2024-05-31\check_images\78954             USD.pdf                                        100206      6/13/2022 15:47




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               All Paths/Locations                              Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-15__656968_33396995-2-13537.27
01 - 2024-05-31\check_images\78954             USD.pdf                                      104938      7/12/2022 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-15__670565_33424690-31-13537.27
01 - 2024-05-31\check_images\78954             USD.pdf                                      104586      8/12/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-15__683238_item-43_33450125-43-
01 - 2024-05-31\check_images\78954             13537.27 USD.pdf                              98932      9/12/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-15__696865_item-18_33476570-18-
01 - 2024-05-31\check_images\78954             13537.27 USD.pdf                             100275      10/12/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-15__711182_item-13_33503454-13-
01 - 2024-05-31\check_images\78954             13537.27 USD.pdf                              99189     11/15/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-15__723299_item-36_33533656-36-
01 - 2024-05-31\check_images\78954             13537.27 USD.pdf                              99534     12/13/2022 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-15__738424_item-16_33571699-16-
01 - 2024-05-31\check_images\78954             13537.27 USD.pdf                             105031      1/17/2023 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-15__749490_item-25_33599842-25-
01 - 2024-05-31\check_images\78954             13537.27 USD.pdf                              96516       2/13/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-15__762764_item-10_33626444-10-
01 - 2024-05-31\check_images\78954             13537.27 USD.pdf                              94996       3/13/2023 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-15__777324_item-41_33654597-41-
01 - 2024-05-31\check_images\78954             13537.27 USD.pdf                              94727      4/14/2023 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-15__789985_item-35_33681094-35-
01 - 2024-05-31\check_images\78954             13943.39 USD.pdf                             100764      5/12/2023 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-15__803432_item-23_33706164-23-
01 - 2024-05-31\check_images\78954             13943.39 USD.pdf                             103196      6/12/2023 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-15__817746_item-8_33734767-8-
01 - 2024-05-31\check_images\78954             13943.39 USD.pdf                              95603      7/13/2023 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-15__831411_item-39_33763924-39-
01 - 2024-05-31\check_images\78954             13943.39 USD.pdf                             103033      8/14/2023 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-15__847469_item-33_33789473-33-
01 - 2024-05-31\check_images\78954             13943.39 USD.pdf                              61421      9/22/2023 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-15__857711_item-29_33816161-29-
01 - 2024-05-31\check_images\78954             13943.39 USD.pdf                             109877     10/13/2023 11:35




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               All Paths/Locations                              Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78954             2023-11-15__871676_13943.39.pdf                113490      11/15/2023 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-15__883843_item-24_33872831-24-
01 - 2024-05-31\check_images\78954             13943.39 USD.pdf                               116310     12/12/2023 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-15__897462_item-18_33908967-18-
01 - 2024-05-31\check_images\78954             13943.39 USD.pdf                                97429      1/16/2024 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-15__910715_item-14_33936235-14-
01 - 2024-05-31\check_images\78954             13943.39 USD.pdf                               103714       2/13/2024 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-15__923127_item-25_33962233-25-
01 - 2024-05-31\check_images\78954             13943.39 USD.pdf                                62067      3/11/2024 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-15__937228_item-1_33989795-1-
01 - 2024-05-31\check_images\78954             13943.39 USD.pdf                                72875      4/15/2024 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-15__949668_item-37_34014947-37-
01 - 2024-05-31\check_images\78954             14361.69 USD.pdf                                65270       5/13/2024 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__892322_item-45_435846-45-
01 - 2024-05-31\check_images\78965             795.00 USD.pdf                                  49082       1/3/2024 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__904559_item-41_439392-41-
01 - 2024-05-31\check_images\78965             795.00 USD.pdf                                  45242      1/31/2024 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__918388_item-18_442909-18-
01 - 2024-05-31\check_images\78965             795.00 USD.pdf                                  42245        3/4/2024 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__932100_item-5_446348-5-795.00
01 - 2024-05-31\check_images\78965             USD.pdf                                         44607       4/2/2024 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__946121_item-3_449889-3-795.00
01 - 2024-05-31\check_images\78965             USD.pdf                                         50386       5/2/2024 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-08__684365_item-42_5129899-42-
01 - 2024-05-31\check_images\78969             550.00 USD.pdf                                  83093      9/13/2022 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-08__695763_item-12_5138405-12-
01 - 2024-05-31\check_images\78969             550.00 USD.pdf                                  87180     10/11/2022 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-08__701132_item-30_5559170-30-
01 - 2024-05-31\check_images\78969             1100.00 USD.pdf                                 54439      10/24/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-08__701133_item-30_5559170-30-
01 - 2024-05-31\check_images\78969             1100.00 USD.pdf                                 54439      10/24/2022 9:44




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-08__708811_item-33_5146880-33-
01 - 2024-05-31\check_images\78969             550.00 USD.pdf                                   85605      11/8/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-08__721853_item-18_5155383-18-
01 - 2024-05-31\check_images\78969             550.00 USD.pdf                                   89771      12/9/2022 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-08__734353_item-16_5164428-16-
01 - 2024-05-31\check_images\78969             550.00 USD.pdf                                   77808       1/9/2023 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-08__749180_item-16_5172808-16-
01 - 2024-05-31\check_images\78969             550.00 USD.pdf                                   76338       2/13/2023 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-08__762482_item-20_5181146-20-
01 - 2024-05-31\check_images\78969             550.00 USD.pdf                                   75050       3/13/2023 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-08__775703_item-44_5189730-44-
01 - 2024-05-31\check_images\78969             550.00 USD.pdf                                   78158      4/10/2023 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-08__787891_item-20_5197800-20-
01 - 2024-05-31\check_images\78969             550.00 USD.pdf                                   79175       5/8/2023 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-08__800887_item-14_5206208-14-
01 - 2024-05-31\check_images\78969             550.00 USD.pdf                                   78490        6/6/2023 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-08__815644_item-14_5214807-14-
01 - 2024-05-31\check_images\78969             550.00 USD.pdf                                   71539      7/10/2023 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-08__828160_item-9_5223127-9-550.00
01 - 2024-05-31\check_images\78969             USD.pdf                                          72895        8/7/2023 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-08__828845_item-44_5223060-44-
01 - 2024-05-31\check_images\78969             23000.00 USD.pdf                                 71240        8/7/2023 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-08__842699_item-38_5231378-38-
01 - 2024-05-31\check_images\78969             550.00 USD.pdf                                   80070      9/11/2023 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-08__854846_item-8_5239452-8-550.00
01 - 2024-05-31\check_images\78969             USD.pdf                                          82753      10/6/2023 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-08__868678_item-41_5247704-41-
01 - 2024-05-31\check_images\78969             550.00 USD.pdf                                   78251      11/8/2023 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-08__882943_item-20_5255472-20-
01 - 2024-05-31\check_images\78969             550.00 USD.pdf                                   77614     12/11/2023 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-08__895406_item-19_5263884-19-
01 - 2024-05-31\check_images\78969             550.00 USD.pdf                                   76832        1/9/2024 8:51




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               All Paths/Locations                             Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-08__908861_item-12_5271709-12-
01 - 2024-05-31\check_images\78969             550.00 USD.pdf                                    73178        2/8/2024 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-08__922262_item-26_5279527-26-
01 - 2024-05-31\check_images\78969             550.00 USD.pdf                                    74615      3/11/2024 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-08__935382_item-30_5287400-30-
01 - 2024-05-31\check_images\78969             550.00 USD.pdf                                    91392       4/9/2024 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-08__948138_item-2_5295327-2-550.00
01 - 2024-05-31\check_images\78969             USD.pdf                                           78763        5/8/2024 8:51
Saiph consulting|\Audit Materials Received-    2022-04-04__623799_RE_ Servicing HB Release
SuttonPark\Check Images\Dorchester II 2021-01- 04-28-2022 APPROVAL NEEDED- FLove
01 - 2024-05-31\check_images\78976             Approval.pdf                                     214715      4/29/2022 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-04__626483_4491020091-30-275.00
01 - 2024-05-31\check_images\78976             USD.pdf                                           96967       5/4/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-04__640943_4491029228-6-275.00
01 - 2024-05-31\check_images\78976             USD.pdf                                           92828       6/6/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-04__653871_4491039011-31-275.00
01 - 2024-05-31\check_images\78976             USD.pdf                                           34781       7/5/2022 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-04__666553_4491048614-2-275.00
01 - 2024-05-31\check_images\78976             USD.pdf                                           43610       8/3/2022 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-04__681312_item-35_4491057629-35-
01 - 2024-05-31\check_images\78976             275.00 USD.pdf                                    33513        9/6/2022 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-04__694339_item-21_4491066498-21-
01 - 2024-05-31\check_images\78976             275.00 USD.pdf                                    48488      10/5/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-04__708245_item-43_4491075260-43-
01 - 2024-05-31\check_images\78976             275.00 USD.pdf                                    37416       11/7/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-04__720385_item-37_4491084160-37-
01 - 2024-05-31\check_images\78976             275.00 USD.pdf                                    38830      12/6/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-04__731713_item-7_4491093899-7-
01 - 2024-05-31\check_images\78976             275.00 USD.pdf                                    40337       1/4/2023 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-04__747157_item-20_4491103028-20-
01 - 2024-05-31\check_images\78976             275.00 USD.pdf                                    40353       2/6/2023 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-04__759948_item-1_4491111800-1-
01 - 2024-05-31\check_images\78976             275.00 USD.pdf                                    42780       3/6/2023 10:30




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               All Paths/Locations                             Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-04__773491_item-2_4491120835-2-
01 - 2024-05-31\check_images\78976             275.00 USD.pdf                                    57383       4/4/2023 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-04__785994_item-1_4491129616-1-
01 - 2024-05-31\check_images\78976             275.00 USD.pdf                                    35918       5/3/2023 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-04__801040_item-11_4491138745-11-
01 - 2024-05-31\check_images\78976             275.00 USD.pdf                                    98658        6/6/2023 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-04__813971_item-21_4491148531-21-
01 - 2024-05-31\check_images\78976             275.00 USD.pdf                                    41561       7/5/2023 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-04__828642_item-10_4491158240-10-
01 - 2024-05-31\check_images\78976             275.00 USD.pdf                                    45891       8/7/2023 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-04__840621_item-6_4491167323-6-
01 - 2024-05-31\check_images\78976             275.00 USD.pdf                                    35926       9/5/2023 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-04__853545_item-11_4491176182-11-
01 - 2024-05-31\check_images\78976             275.00 USD.pdf                                    39988      10/3/2023 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-04__868394_item-45_4491185295-45-
01 - 2024-05-31\check_images\78976             275.00 USD.pdf                                    41237      11/7/2023 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-04__879857_item-23_4491194434-23-
01 - 2024-05-31\check_images\78976             275.00 USD.pdf                                    36502       12/4/2023 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-04__894189_item-10_4491204528-10-
01 - 2024-05-31\check_images\78976             275.00 USD.pdf                                    41154       1/4/2024 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-04__907665_item-21_4491213767-21-
01 - 2024-05-31\check_images\78976             275.00 USD.pdf                                    44598       2/5/2024 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-04__920846_item-11_4491222642-11-
01 - 2024-05-31\check_images\78976             275.00 USD.pdf                                    37622        3/6/2024 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-04__938048_item-3_4491231675-3-
01 - 2024-05-31\check_images\78976             275.00 USD.pdf                                    37916       4/16/2024 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-04__947795_item-2_4491240541-2-
01 - 2024-05-31\check_images\78976             275.00 USD.pdf                                    49717       5/7/2024 10:13
Saiph consulting|\Audit Materials Received-    2022-04-04__623800_RE_ Servicing HB Release
SuttonPark\Check Images\Dorchester II 2021-01- 04-28-2022 APPROVAL NEEDED- FLove
01 - 2024-05-31\check_images\78977             Approval.pdf                                     214715      4/29/2022 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-04__626479_4491020090-29-184.00
01 - 2024-05-31\check_images\78977             USD.pdf                                           41400       5/4/2022 13:13




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-04__640941_4491029227-5-184.00
01 - 2024-05-31\check_images\78977             USD.pdf                                         36720       6/6/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-04__653870_4491039010-32-184.00
01 - 2024-05-31\check_images\78977             USD.pdf                                         91838       7/5/2022 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-04__666551_4491048613-1-184.00
01 - 2024-05-31\check_images\78977             USD.pdf                                         43878       8/3/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-04__681308_item-34_4491057628-34-
01 - 2024-05-31\check_images\78977             184.00 USD.pdf                                 130728        9/6/2022 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-04__694337_item-20_4491066497-20-
01 - 2024-05-31\check_images\78977             184.00 USD.pdf                                  47546      10/5/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-04__708244_item-42_4491075259-42-
01 - 2024-05-31\check_images\78977             184.00 USD.pdf                                  56112       11/7/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-04__720388_item-36_4491084159-36-
01 - 2024-05-31\check_images\78977             184.00 USD.pdf                                  46050      12/6/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-04__731712_item-6_4491093898-6-
01 - 2024-05-31\check_images\78977             184.00 USD.pdf                                  53544       1/4/2023 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-04__747153_item-19_4491103027-19-
01 - 2024-05-31\check_images\78977             184.00 USD.pdf                                  59913       2/6/2023 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-04__759877_item-45_4491111799-45-
01 - 2024-05-31\check_images\78977             184.00 USD.pdf                                  59034        3/6/2023 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-04__773492_item-3_4491120834-3-
01 - 2024-05-31\check_images\78977             184.00 USD.pdf                                  39798       4/4/2023 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-04__785997_item-3_4491129615-3-
01 - 2024-05-31\check_images\78977             184.00 USD.pdf                                  58120       5/3/2023 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-04__801036_item-10_4491138744-10-
01 - 2024-05-31\check_images\78977             184.00 USD.pdf                                  40933        6/6/2023 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-04__813966_item-20_4491148530-20-
01 - 2024-05-31\check_images\78977             184.00 USD.pdf                                  40868       7/5/2023 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-04__828641_item-9_4491158239-9-
01 - 2024-05-31\check_images\78977             184.00 USD.pdf                                  59644       8/7/2023 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-04__840612_item-5_4491167322-5-
01 - 2024-05-31\check_images\78977             184.00 USD.pdf                                  77793       9/5/2023 10:00




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               All Paths/Locations                              Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-04__853536_item-10_4491176181-10-
01 - 2024-05-31\check_images\78977             184.00 USD.pdf                                  41136      10/3/2023 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-04__868390_item-44_4491185294-44-
01 - 2024-05-31\check_images\78977             184.00 USD.pdf                                  40862      11/7/2023 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-04__879855_item-22_4491194433-22-
01 - 2024-05-31\check_images\78977             184.00 USD.pdf                                  36140       12/4/2023 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-04__894188_item-9_4491204527-9-
01 - 2024-05-31\check_images\78977             184.00 USD.pdf                                  40575       1/4/2024 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-04__907664_item-20_4491213766-20-
01 - 2024-05-31\check_images\78977             184.00 USD.pdf                                  45176       2/5/2024 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-04__920843_item-10_4491222641-10-
01 - 2024-05-31\check_images\78977             184.00 USD.pdf                                  92645        3/6/2024 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-04__938047_item-2_4491231674-2-
01 - 2024-05-31\check_images\78977             184.00 USD.pdf                                  37743       4/16/2024 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-04__947796_item-1_4491240540-1-
01 - 2024-05-31\check_images\78977             184.00 USD.pdf                                  77309       5/7/2024 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-01__673930_33433846-20-2500.00
01 - 2024-05-31\check_images\78996             USD.pdf                                         93964       8/22/2022 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__824259_item-34_33751132-34-
01 - 2024-05-31\check_images\78996             2500.00 USD.pdf                                 99543      7/31/2023 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-06__889902_item-11_3808901-11-
01 - 2024-05-31\check_images\78999             40000.00 USD.pdf                                54642      12/28/2023 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-01__610312_9441977-5-3490.37
01 - 2024-05-31\check_images\79002             USD.pdf                                         32620      3/31/2022 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-01__625985_9466808-12-3490.37
01 - 2024-05-31\check_images\79002             USD.pdf                                         31989       5/4/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-01__639279_9489652-37-3490.37
01 - 2024-05-31\check_images\79002             USD.pdf                                         31754       6/2/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79002             2022-07-01__656672_33382844 3490.37.pdf        312846      7/12/2022 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-01__677288_9560987-3-3490.37
01 - 2024-05-31\check_images\79002             USD.pdf                                         34802       8/30/2022 8:50




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               All Paths/Locations                             Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-01__684050_item-6_9570498-6-
01 - 2024-05-31\check_images\79002             3490.37 USD.pdf                              37237      9/13/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-01__692113_item-5_9587164-5-
01 - 2024-05-31\check_images\79002             3490.37 USD.pdf                              30435      9/30/2022 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-01__704277_item-17_9609674-17-
01 - 2024-05-31\check_images\79002             3490.37 USD.pdf                              37513     10/31/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__715980_item-1_9632280-1-
01 - 2024-05-31\check_images\79002             3490.37 USD.pdf                              39271      11/29/2022 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__729680_item-7_9661060-7-
01 - 2024-05-31\check_images\79002             3490.37 USD.pdf                              32444     12/30/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__743777_item-16_9686565-16-
01 - 2024-05-31\check_images\79002             3490.37 USD.pdf                              30595      1/30/2023 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__756591_item-24_9710637-24-
01 - 2024-05-31\check_images\79002             3490.37 USD.pdf                              34975      2/28/2023 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__771709_item-42_9737899-42-
01 - 2024-05-31\check_images\79002             3490.37 USD.pdf                              35202        4/3/2023 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__783181_item-32_9761045-32-
01 - 2024-05-31\check_images\79002             3490.37 USD.pdf                              36913      4/28/2023 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__795776_item-9_9785271-9-
01 - 2024-05-31\check_images\79002             3490.37 USD.pdf                              37735      5/30/2023 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__811285_item-15_9811408-15-
01 - 2024-05-31\check_images\79002             3490.37 USD.pdf                              30838      6/30/2023 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__823692_item-18_9833523-18-
01 - 2024-05-31\check_images\79002             3490.37 USD.pdf                              38390      7/31/2023 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__839239_item-21_9858789-21-
01 - 2024-05-31\check_images\79002             3490.37 USD.pdf                              38880      8/31/2023 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__851277_item-34_9882186-34-
01 - 2024-05-31\check_images\79002             3490.37 USD.pdf                              40424      9/29/2023 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__869263_item-19_9906650-19-
01 - 2024-05-31\check_images\79002             3490.37 USD.pdf                              36402       11/9/2023 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__878343_item-32_9931772-32-
01 - 2024-05-31\check_images\79002             3490.37 USD.pdf                              37119     11/30/2023 10:05




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__889890_item-32_9957557-32-
01 - 2024-05-31\check_images\79002             3490.37 USD.pdf                               38756      12/28/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__906108_item-21_9985785-21-
01 - 2024-05-31\check_images\79002             3490.37 USD.pdf                               34605        2/2/2024 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__919534_item-24_10012436-24-
01 - 2024-05-31\check_images\79002             3490.37 USD.pdf                               31057       3/4/2024 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__931000_item-39_10037314-39-
01 - 2024-05-31\check_images\79002             3490.37 USD.pdf                               35995       4/1/2024 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__942376_item-4_10062438-4-
01 - 2024-05-31\check_images\79002             3490.37 USD.pdf                               31423      4/29/2024 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-18__738436_item-43_30696289-43-
01 - 2024-05-31\check_images\79003             1617.87 USD.pdf                               89323      1/17/2023 18:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-18__750693_item-35_30702944-35-
01 - 2024-05-31\check_images\79003             1617.87 USD.pdf                               93615      2/14/2023 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-18__764917_item-40_30708744-40-
01 - 2024-05-31\check_images\79003             1617.87 USD.pdf                               91987      3/16/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-18__778545_item-18_30715476-18-
01 - 2024-05-31\check_images\79003             1617.87 USD.pdf                              102706      4/17/2023 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-18__790065_item-6_30720666-6-
01 - 2024-05-31\check_images\79003             1617.87 USD.pdf                              102005      5/15/2023 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-18__805443_item-2_30726939-2-
01 - 2024-05-31\check_images\79003             1617.87 USD.pdf                               98926      6/16/2023 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-18__818834_item-14_30733922-14-
01 - 2024-05-31\check_images\79003             1617.87 USD.pdf                              104296      7/17/2023 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79003             2023-08-18__832347_1617.87.pdf                96786       8/16/2023 8:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-18__845142_item-2_30746748-2-
01 - 2024-05-31\check_images\79003             1617.87 USD.pdf                              101867       9/18/2023 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-18__858384_item-40_30751874-40-
01 - 2024-05-31\check_images\79003             1617.87 USD.pdf                               99449     10/16/2023 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-18__872353_item-22_30758265-22-
01 - 2024-05-31\check_images\79003             60000.00 USD.pdf                              57156      11/16/2023 9:15




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-18__872355_item-23_30758264-23-
01 - 2024-05-31\check_images\79003             1666.41 USD.pdf                                 96256      11/16/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-18__886670_item-44_30766908-44-
01 - 2024-05-31\check_images\79003             1666.41 USD.pdf                                 90395     12/19/2023 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-18__899066_item-15_30773563-15-
01 - 2024-05-31\check_images\79003             1666.41 USD.pdf                                103902      1/17/2024 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-18__912335_item-12_30780497-12-
01 - 2024-05-31\check_images\79003             1666.41 USD.pdf                                 98835      2/20/2024 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-18__924153_item-3_30786926-3-
01 - 2024-05-31\check_images\79003             1666.41 USD.pdf                                 53735       3/14/2024 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-18__937519_item-11_30792524-11-
01 - 2024-05-31\check_images\79003             1666.41 USD.pdf                                 54505      4/15/2024 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-18__950977_item-2_30799052-2-
01 - 2024-05-31\check_images\79003             1666.41 USD.pdf                                 56660      5/14/2024 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-16__659398_4491042023-36-750.00
01 - 2024-05-31\check_images\79056             USD.pdf                                         90360      7/19/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-16__659399_4491042024-35-5000.00
01 - 2024-05-31\check_images\79056             USD.pdf                                         37355      7/19/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-16__699228_item-8_4491069408-8-
01 - 2024-05-31\check_images\79056             750.00 USD.pdf                                  38314     10/17/2022 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-16__738236_item-36_4491097189-36-
01 - 2024-05-31\check_images\79056             750.00 USD.pdf                                  37220       1/17/2023 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-16__777942_item-23_4491123827-23-
01 - 2024-05-31\check_images\79056             750.00 USD.pdf                                  43962      4/17/2023 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-16__818658_item-28_4491151729-28-
01 - 2024-05-31\check_images\79056             750.00 USD.pdf                                  38872      7/17/2023 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-16__859050_item-39_4491179269-39-
01 - 2024-05-31\check_images\79056             750.00 USD.pdf                                  40604      10/16/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-16__898631_item-45_4491207731-45-
01 - 2024-05-31\check_images\79056             750.00 USD.pdf                                  88493      1/16/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-16__937916_item-6_4491234731-6-
01 - 2024-05-31\check_images\79056             750.00 USD.pdf                                  98429      4/15/2024 13:25




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               All Paths/Locations                                Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-01__652510_373469-42-6500.00
01 - 2024-05-31\check_images\79059             USD.pdf                                         45370         7/1/2022 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__730427_item-18_394002-18-
01 - 2024-05-31\check_images\79059             6500.00 USD.pdf                                 48426        1/3/2023 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-28__765609_item-5_23829873-5-
01 - 2024-05-31\check_images\79069             2250.00 USD.pdf                                 63601       3/20/2023 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-28__806907_item-16_23958472-16-
01 - 2024-05-31\check_images\79069             2250.00 USD.pdf                                 61927       6/21/2023 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-28__847267_item-1_24087358-1-
01 - 2024-05-31\check_images\79069             2250.00 USD.pdf                                 59487        9/22/2023 8:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-28__887914_item-31_24219126-31-
01 - 2024-05-31\check_images\79069             2250.00 USD.pdf                                 61889       12/22/2023 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-28__927428_item-12_24357032-12-
01 - 2024-05-31\check_images\79069             2250.00 USD.pdf                                 60198       3/25/2024 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-10__896894_item-14_4491205719-14-
01 - 2024-05-31\check_images\79070             1741.14 USD.pdf                                 83741       1/11/2024 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-10__910286_item-32_4491214879-32-
01 - 2024-05-31\check_images\79070             1741.14 USD.pdf                                 93358        2/12/2024 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-10__922868_item-19_4491223762-19-
01 - 2024-05-31\check_images\79070             1741.14 USD.pdf                                 94066        3/11/2024 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-10__935443_item-44_4491232807-44-
01 - 2024-05-31\check_images\79070             1741.14 USD.pdf                                 97070        4/9/2024 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-10__949023_item-17_4491241659-17-
01 - 2024-05-31\check_images\79070             1741.14 USD.pdf                                 82238        5/9/2024 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-03-16__613976_Copy of JGW Sutton
01 - 2024-05-31\check_images\79087             Collections March.xlsx                          20239        4/7/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-16__622225_Collections by
01 - 2024-05-31\check_images\79087             Securitization 1.pdf                              2154      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-16__632646_Collections by
01 - 2024-05-31\check_images\79087             Securitization 05162022.pdf                       2391      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-16__646108_Collections by
01 - 2024-05-31\check_images\79087             Securitization 06162022.pdf                       2152      10/9/2024 17:19




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-16__659632_Collections by
01 - 2024-05-31\check_images\79087             Securitization.pdf                        6309       7/20/2022 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-16__672638_Collections by
01 - 2024-05-31\check_images\79087             Securitization 08152022.pdf               2391      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-16__686824_Collections by
01 - 2024-05-31\check_images\79087             Securitization 09162022.pdf               2383      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-16__701137_Collections by
01 - 2024-05-31\check_images\79087             Securitization.pdf                        8780      10/25/2022 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-16__712936_Collections by
01 - 2024-05-31\check_images\79087             Securitization.pdf                        6305      11/21/2022 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-16__726956_Collections by
01 - 2024-05-31\check_images\79087             Securitization 1219022.pdf                2582      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-16__739679_Collections by
01 - 2024-05-31\check_images\79087             Securitization.pdf                        8212       1/23/2023 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-16__754580_Collections by
01 - 2024-05-31\check_images\79087             Securitization.pdf                        9443       2/24/2023 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-16__766422_Collections by
01 - 2024-05-31\check_images\79087             Securitization.pdf                        8218       3/22/2023 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-16__779682_Collections by
01 - 2024-05-31\check_images\79087             Securitization 04172023.pdf               2575      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-16__792844_Collections by
01 - 2024-05-31\check_images\79087             Securitization 05162023.pdf               2587      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-16__807465_Collections by
01 - 2024-05-31\check_images\79087             Securitization 06202023.pdf               2767      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-16__819581_Collections by
01 - 2024-05-31\check_images\79087             Securitization.pdf                      31684        7/19/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-16__834255_Collections by
01 - 2024-05-31\check_images\79087             Securitization.pdf                     182959        8/22/2023 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-16__846685_Collections by
01 - 2024-05-31\check_images\79087             Securitization.pdf                      28759        9/20/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-16__860168_Collections by
01 - 2024-05-31\check_images\79087             Securitization 10172023.pdf               2772      10/9/2024 17:20




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-16__874199_Collections by
01 - 2024-05-31\check_images\79087             Securitization.pdf                          29002       11/22/2023 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-16__887642_Collections by
01 - 2024-05-31\check_images\79087             Securitization 12182023.pdf                 32743      12/21/2023 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-16__900312_Collections by
01 - 2024-05-31\check_images\79087             Securitization.pdf                          31424        1/22/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-16__914410_Collections by
01 - 2024-05-31\check_images\79087             Securitization.pdf                          31579        2/23/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-16__926550_Collections by
01 - 2024-05-31\check_images\79087             Securitization.pdf                          31183        3/21/2024 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-16__939596_Collections by
01 - 2024-05-31\check_images\79087             Securitization.pdf                          28843        4/19/2024 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-16__953169_Collections by
01 - 2024-05-31\check_images\79087             Securitization.pdf                          30900        5/21/2024 7:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-03-19__613978_Copy of JGW Sutton
01 - 2024-05-31\check_images\79088             Collections March.xlsx                      20239        4/7/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-19__622242_Collections by
01 - 2024-05-31\check_images\79088             Securitization 4 22 2022.pdf                32068       4/26/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-19__634224_Collections by
01 - 2024-05-31\check_images\79088             Securitization 05192022.pdf                   2388      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-19__648305_Collections by
01 - 2024-05-31\check_images\79088             Securitization 06212022.pdf                   2584      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-19__661753_Collections by
01 - 2024-05-31\check_images\79088             Securitization 07212022.pdf                   2969      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-19__674703_Collections by
01 - 2024-05-31\check_images\79088             Securitization 08222022.pdf                   2383      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-19__687924_Collections by
01 - 2024-05-31\check_images\79088             Securitization.pdf                            9026       9/26/2022 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-19__702308_Collections by
01 - 2024-05-31\check_images\79088             Securitization.pdf                            8600      10/27/2022 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-19__715871_Collections by
01 - 2024-05-31\check_images\79088             Securitization 11212022.pdf                   2781      10/9/2024 17:20




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-19__740964_Collections by
01 - 2024-05-31\check_images\79088             Securitization 01202023.pdf               2569      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-19__755230_Collections by
01 - 2024-05-31\check_images\79088             Securitization 02222023.pdf               2154      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-19__766969_Collections by
01 - 2024-05-31\check_images\79088             Securitization.pdf                        8415       3/24/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-19__781145_Collections by
01 - 2024-05-31\check_images\79088             Securitization.pdf                        8409       4/25/2023 8:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-19__910112_Collections by
01 - 2024-05-31\check_images\79088             Securitization 12212022.pdf             12943       2/12/2024 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-19__794607_Collections by
01 - 2024-05-31\check_images\79088             Securitization.pdf                        8218       5/25/2023 8:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-19__810185_Collections by
01 - 2024-05-31\check_images\79088             Securitization.pdf                      31281        6/28/2023 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-19__821380_Collections by
01 - 2024-05-31\check_images\79088             Securitization.pdf                      28452        7/25/2023 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-19__835029_Collections by
01 - 2024-05-31\check_images\79088             Securitization.pdf                     180803        8/24/2023 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-19__847637_Collections by
01 - 2024-05-31\check_images\79088             Securitization.pdf                      29441        9/25/2023 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-19__861863_Collections by
01 - 2024-05-31\check_images\79088             Securitization.pdf                      30423       10/26/2023 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-19__910120_Collections by
01 - 2024-05-31\check_images\79088             Securitization.pdf                      70667       2/12/2024 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-19__890609_Collections by
01 - 2024-05-31\check_images\79088             Securitization.pdf                      30313       12/29/2023 7:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-19__901572_Collections by
01 - 2024-05-31\check_images\79088             Securitization.pdf                      30610        1/25/2024 7:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-19__914590_Collections by
01 - 2024-05-31\check_images\79088             Securitization.pdf                      30644        2/26/2024 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-19__927094_Collections by
01 - 2024-05-31\check_images\79088             Securitization.pdf                        6308       3/25/2024 8:19




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               All Paths/Locations                                Unified Title        File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-19__941684_Collections by
01 - 2024-05-31\check_images\79088             Securitization.pdf                          30833        4/26/2024 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-19__954777_Collections by
01 - 2024-05-31\check_images\79088             Securitization.pdf                          31189        5/28/2024 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-03-25__613982_Copy of JGW Sutton
01 - 2024-05-31\check_images\79089             Collections March.xlsx                      20237        4/7/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-25__623832_Collections by
01 - 2024-05-31\check_images\79089             Securitization.pdf                            3147      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-25__637610_Collections by
01 - 2024-05-31\check_images\79089             Securitization.pdf                            8415       6/1/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-25__652919_Collections by
01 - 2024-05-31\check_images\79089             Securitization 06292022.pdf                   3695      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-25__664227_Collections by
01 - 2024-05-31\check_images\79089             Securitization.pdf                            9248        8/1/2022 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-25__679255_Collections by
01 - 2024-05-31\check_images\79089             Securitization 08292022.pdf                   2785      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-25__691412_Collections by
01 - 2024-05-31\check_images\79089             Securitization.pdf                            8417       9/29/2022 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-25__703729_Collections by
01 - 2024-05-31\check_images\79089             Securitization.pdf                            8421      10/31/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-25__718753_Collections by
01 - 2024-05-31\check_images\79089             Securitization 11302022.pdf                   3154      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-25__731031_Collections by
01 - 2024-05-31\check_images\79089             Securitization.pdf                            8806        1/4/2023 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-25__742250_Collections by
01 - 2024-05-31\check_images\79089             Securitization 01252023.pdf                   2790      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-25__760132_Collections by
01 - 2024-05-31\check_images\79089             Securitization 03012023.pdf                   3713      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-25__783272_Collections by
01 - 2024-05-31\check_images\79089             Securitization.pdf                            9021        5/1/2023 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-25__816645_Collections by
01 - 2024-05-31\check_images\79089             Securitization 03292023.pdf                   4263      10/9/2024 17:23




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               All Paths/Locations                                Unified Title             File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-25__796798_Collections by
01 - 2024-05-31\check_images\79089             Securitization.pdf                                 6305       5/31/2023 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-25__813136_Collections by
01 - 2024-05-31\check_images\79089             Securitization.pdf                               31296         7/5/2023 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-25__823542_Collections by
01 - 2024-05-31\check_images\79089             Securitization.pdf                              129406        7/31/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-25__839482_Collections by
01 - 2024-05-31\check_images\79089             Securitization.pdf                               31310         9/1/2023 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-25__850909_Collections by
01 - 2024-05-31\check_images\79089             Securitization.pdf                               31964        9/29/2023 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-25__862973_Collections by
01 - 2024-05-31\check_images\79089             Securitization.pdf                               31502       10/30/2023 8:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-25__879066_Collections by
01 - 2024-05-31\check_images\79089             Securitization.pdf                               32282        12/4/2023 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-25__891998_Collections by
01 - 2024-05-31\check_images\79089             Securitization.pdf                               31844         1/3/2024 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-25__908989_Collections by
01 - 2024-05-31\check_images\79089             Securitization.pdf                               31708         2/9/2024 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-25__918399_Collections by
01 - 2024-05-31\check_images\79089             Securitization.pdf                               31315         3/4/2024 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-25__931365_Collections by
01 - 2024-05-31\check_images\79089             Securitization.pdf                               29001         4/2/2024 7:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-25__946802_Collections by
01 - 2024-05-31\check_images\79089             Securitization.pdf                               32235         5/6/2024 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-25__960649_Collections by
01 - 2024-05-31\check_images\79089             Securitization.pdf                                 9653        6/7/2024 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-03-29__615975_Copy of Copy of Copy of
01 - 2024-05-31\check_images\79091             Sutton Collections new.xlsx                      28967       4/13/2022 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-29__627017_Collections by
01 - 2024-05-31\check_images\79091             Securitization 05052022.pdf                        8779        5/5/2022 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-29__651620_Collections by
01 - 2024-05-31\check_images\79091             Securitization 06272022.pdf                        4080      10/9/2024 17:23




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-29__667127_Collections by
01 - 2024-05-31\check_images\79091             Securitization 08012022.pdf               3692      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-29__679256_Collections by
01 - 2024-05-31\check_images\79091             Securitization 08292022.pdf               2785      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-29__693262_Collections by
01 - 2024-05-31\check_images\79091             Securitization.pdf                        8784       10/4/2022 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-29__704691_Collections by
01 - 2024-05-31\check_images\79091             Securitization 10272022.pdf               2775      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-29__817664_Collections by
01 - 2024-05-31\check_images\79091             Securitization 05312022.pdf               4255      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-29__719735_Collections by
01 - 2024-05-31\check_images\79091             Securitization.pdf                        9023       12/6/2022 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-29__731035_Collections by
01 - 2024-05-31\check_images\79091             Securitization.pdf                        8806        1/4/2023 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-29__746091_Collections by
01 - 2024-05-31\check_images\79091             Securitization.pdf                        9432        2/3/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-28__760112_Collections by
01 - 2024-05-31\check_images\79091             Securitization 03012023.pdf               3713      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-29__816643_Collections by
01 - 2024-05-31\check_images\79091             Securitization 03292023.pdf               4263      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-29__788752_Collections by
01 - 2024-05-31\check_images\79091             Securitization 05042023.pdf               2590      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-29__799803_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-29__814453_Collections by
01 - 2024-05-31\check_images\79091             Securitization.pdf                      31640         7/6/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-29__823543_Collections by
01 - 2024-05-31\check_images\79091             Securitization.pdf                     129406        7/31/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-29__841418_Collections by
01 - 2024-05-31\check_images\79091             Securitization 08312023.pdf               3707      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-29__851347_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-29__866809_Collections by
01 - 2024-05-31\check_images\79091             Securitization 10302023.pdf                        4835      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-29__882112_Collections by
01 - 2024-05-31\check_images\79091             Securitization 12042023.pdf                      33142        12/7/2023 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-29__894281_Collections by
01 - 2024-05-31\check_images\79091             Securitization.pdf                               31605         1/5/2024 7:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-29__908817_Collections by
01 - 2024-05-31\check_images\79091             Securitization.pdf                               31265         2/8/2024 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-29__921553_Collections by
01 - 2024-05-31\check_images\79091             Securitization.pdf                               31318         3/8/2024 7:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-29__930141_Collections by
01 - 2024-05-31\check_images\79091             Securitization.pdf                               30853         4/1/2024 7:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-29__946132_Collections by
01 - 2024-05-31\check_images\79091             Securitization 04292024.pdf                      33919         5/2/2024 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-29__957340_Collections by
01 - 2024-05-31\check_images\79091             Securitization 05242024.pdf                      46855        5/30/2024 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-01__615984_Copy of Copy of Copy of
01 - 2024-05-31\check_images\79093             Sutton Collections new.xlsx                      28968       4/13/2022 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-01__627015_Collections by
01 - 2024-05-31\check_images\79093             Securitization 05052022.pdf                        8779        5/5/2022 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-01__652923_Collections by
01 - 2024-05-31\check_images\79093             Securitization 06292022.pdf                        3695      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-01__814711_Collections by
01 - 2024-05-31\check_images\79093             Securitization.pdf                               28273        7/10/2023 8:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-01__667928_Collections by
01 - 2024-05-31\check_images\79093             Securitization.pdf                                 9203        8/8/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-01__680447_Collections by
01 - 2024-05-31\check_images\79093             Securitization.pdf                                 8409        9/6/2022 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-01__693239_Collections by
01 - 2024-05-31\check_images\79093             Securitization.pdf                                 8784       10/4/2022 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-01__707526_Collections by
01 - 2024-05-31\check_images\79093             Securitization 11022022.pdf                        2769      10/9/2024 17:20




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__721691_Collections by
01 - 2024-05-31\check_images\79093             Securitization.pdf                        8219       12/9/2022 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__734735_Collections by
01 - 2024-05-31\check_images\79093             Securitization.pdf                        9402       1/10/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__745729_Collections by
01 - 2024-05-31\check_images\79093             Securitization.pdf                        8601        2/2/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__761021_Collections by
01 - 2024-05-31\check_images\79093             Securitization 03022023.pdf               4079      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__774408_Collections by
01 - 2024-05-31\check_images\79093             Securitization.pdf                        9949        4/6/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__787450_Collections by
01 - 2024-05-31\check_images\79093             Securitization.pdf                        9967        5/8/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__800833_Collections by
01 - 2024-05-31\check_images\79093             Securitization.pdf                        8407        6/6/2023 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__817663_Collections by
01 - 2024-05-31\check_images\79093             Securitization 05312022.pdf               4255      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__827755_Collections by
01 - 2024-05-31\check_images\79093             Securitization.pdf                     114137         8/4/2023 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__842193_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__855141_Collections by
01 - 2024-05-31\check_images\79093             Securitization.pdf                      32433      10/10/2023 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__866824_Collections by
01 - 2024-05-31\check_images\79093             Securitization.pdf                      31511        11/3/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__882208_Collections by
01 - 2024-05-31\check_images\79093             Securitization.pdf                      31102        12/8/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__895378_Collections by
01 - 2024-05-31\check_images\79093             Securitization.pdf                      31952         1/9/2024 7:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__911182_Collections by
01 - 2024-05-31\check_images\79093             Securitization.pdf                      30052        2/14/2024 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__919814_Collections by
01 - 2024-05-31\check_images\79093             Securitization.pdf                      32339         3/5/2024 7:49




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__934133_Collections by
01 - 2024-05-31\check_images\79093             Securitization.pdf                               31771         4/5/2024 7:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__946139_Collections by
01 - 2024-05-31\check_images\79093             Securitization 04292024.pdf                      33919         5/2/2024 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-01__615981_Copy of Copy of Copy of
01 - 2024-05-31\check_images\79094             Sutton Collections new.xlsx                      28969       4/13/2022 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-01__627007_Collections by
01 - 2024-05-31\check_images\79094             Securitization 05052022.pdf                        8779        5/5/2022 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-01__641234_Collections by
01 - 2024-05-31\check_images\79094             Securitization.pdf                                 8592        6/7/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-01__654946_Collections by
01 - 2024-05-31\check_images\79094             Securitization.pdf                                 6303        7/7/2022 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-01__667128_Collections by
01 - 2024-05-31\check_images\79094             Securitization 08012022.pdf                        3692      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-01__681683_Collections by
01 - 2024-05-31\check_images\79094             Securitization.pdf                                 9208        9/7/2022 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-01__695010_Collections by
01 - 2024-05-31\check_images\79094             Securitization.pdf                                 8591       10/6/2022 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-01__707524_Collections by
01 - 2024-05-31\check_images\79094             Securitization 11022022.pdf                        2769      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__718754_Collections by
01 - 2024-05-31\check_images\79094             Securitization 11302022.pdf                        3154      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__734010_Collections by
01 - 2024-05-31\check_images\79094             Securitization 01042023.pdf                        2765      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__749147_Collections by
01 - 2024-05-31\check_images\79094             Securitization 02082023.pdf                        2970      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__761048_Collections by
01 - 2024-05-31\check_images\79094             Securitization 03022023.pdf                        4079      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__774415_Collections by
01 - 2024-05-31\check_images\79094             Securitization.pdf                                 9949        4/6/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__786672_Collections by
01 - 2024-05-31\check_images\79094             Securitization.pdf                                 8401        5/4/2023 7:44




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               All Paths/Locations                                Unified Title             File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__801980_Collections by
01 - 2024-05-31\check_images\79094             Securitization.pdf                                 9411        6/8/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__814589_Collections by
01 - 2024-05-31\check_images\79094             Securitization.pdf                               31454         7/7/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__827964_Collections by
01 - 2024-05-31\check_images\79094             Securitization.pdf                              185664         8/7/2023 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__842276_Collections by
01 - 2024-05-31\check_images\79094             Securitization.pdf                               31292         9/8/2023 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__854478_Collections by
01 - 2024-05-31\check_images\79094             Securitization.pdf                               31318        10/5/2023 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__868562_Collections by
01 - 2024-05-31\check_images\79094             Securitization.pdf                               30923        11/8/2023 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__882089_Collections by
01 - 2024-05-31\check_images\79094             Securitization 12042023.pdf                      33142        12/7/2023 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__894279_Collections by
01 - 2024-05-31\check_images\79094             Securitization.pdf                               31605         1/5/2024 7:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__921401_Collections by
01 - 2024-05-31\check_images\79094             Securitization.pdf                               28729         3/7/2024 7:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__934129_Collections by
01 - 2024-05-31\check_images\79094             Securitization.pdf                               31771         4/5/2024 7:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__946815_Collections by
01 - 2024-05-31\check_images\79094             Securitization.pdf                               32235         5/6/2024 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-01__615995_Copy of Copy of Copy of
01 - 2024-05-31\check_images\79095             Sutton Collections new.xlsx                      28965       4/13/2022 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-01__616002_Copy of Copy of Copy of
01 - 2024-05-31\check_images\79095             Sutton Collections new.xlsx                      28965       4/13/2022 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79095             2022-06-01__623215_JGW 4 28 2022.pdf             33647       4/28/2022 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-01__637607_Collections by
01 - 2024-05-31\check_images\79095             Securitization.pdf                                 8415       6/1/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-01__666348_Collections by
01 - 2024-05-31\check_images\79095             Securitization.pdf                                 6310        8/3/2022 8:37




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               All Paths/Locations                                Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-01__679920_Collections by
01 - 2024-05-31\check_images\79095             Securitization.pdf                        7959        9/2/2022 9:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-01__694241_Collections by
01 - 2024-05-31\check_images\79095             Securitization 09302022.pdf               2158      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-01__704706_Collections by
01 - 2024-05-31\check_images\79095             Securitization 10272022.pdf               2775      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__716957_Collections by
01 - 2024-05-31\check_images\79095             Securitization.pdf                        9039      11/30/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__728403_Collections by
01 - 2024-05-31\check_images\79095             Securitization.pdf                        8416      12/28/2022 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__744750_Collections by
01 - 2024-05-31\check_images\79095             Securitization.pdf                        7956        2/1/2023 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__757093_Collections by
01 - 2024-05-31\check_images\79095             Securitization 02232023.pdf               2977      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__770895_Collections by
01 - 2024-05-31\check_images\79095             Securitization.pdf                        8223       3/31/2023 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__782973_Collections by
01 - 2024-05-31\check_images\79095             Securitization.pdf                        8415       4/28/2023 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__799826_Collections by
01 - 2024-05-31\check_images\79095             Securitization 05312023.pdf               4084      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__811545_Collections by
01 - 2024-05-31\check_images\79095             Securitization.pdf                      29714         7/3/2023 7:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__827969_Collections by
01 - 2024-05-31\check_images\79095             Securitization.pdf                     185664         8/7/2023 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__840236_Collections by
01 - 2024-05-31\check_images\79095             Securitization 08302023.pdf               3727      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__851344_Collections by
01 - 2024-05-31\check_images\79095             Securitization.pdf                      31066        10/2/2023 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__866806_Collections by
01 - 2024-05-31\check_images\79095             Securitization 10302023.pdf               4835      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__882085_Collections by
01 - 2024-05-31\check_images\79095             Securitization 12042023.pdf             33142        12/7/2023 9:33




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__893629_Collections by
01 - 2024-05-31\check_images\79095             Securitization.pdf                               28963         1/4/2024 7:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__920719_Collections by
01 - 2024-05-31\check_images\79095             Securitization.pdf                               30675         3/6/2024 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__929780_Collections by
01 - 2024-05-31\check_images\79095             Securitization.pdf                               31203        3/29/2024 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__944707_Collections by
01 - 2024-05-31\check_images\79095             Securitization.pdf                                 6459        5/1/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-01__615972_Copy of Copy of Copy of
01 - 2024-05-31\check_images\79096             Sutton Collections new.xlsx                      28961       4/13/2022 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-01__624324_Collections by
01 - 2024-05-31\check_images\79096             Securitization 05022022.pdf                        2774      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-01__637507_Collections by
01 - 2024-05-31\check_images\79096             Securitization.pdf                                 8410        6/1/2022 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-01__652129_Collections by
01 - 2024-05-31\check_images\79096             Securitization 06282022.pdf                        2155      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-01__664225_Collections by
01 - 2024-05-31\check_images\79096             Securitization.pdf                                 9248        8/1/2022 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-01__679258_Collections by
01 - 2024-05-31\check_images\79096             Securitization 08292022.pdf                        2785      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-01__692261_Collections by
01 - 2024-05-31\check_images\79096             Securitization.pdf                                 8607       10/3/2022 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-01__704696_Collections by
01 - 2024-05-31\check_images\79096             Securitization 10272022.pdf                        2775      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__716956_Collections by
01 - 2024-05-31\check_images\79096             Securitization.pdf                                 9039      11/30/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__729812_Collections by
01 - 2024-05-31\check_images\79096             Securitization.pdf                                 8809        1/3/2023 8:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__746623_Collections by
01 - 2024-05-31\check_images\79096             Securitization.pdf                                 8217        2/6/2023 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__759126_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__770896_Collections by
01 - 2024-05-31\check_images\79096             Securitization.pdf                                 8223       3/31/2023 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__783276_Collections by
01 - 2024-05-31\check_images\79096             Securitization.pdf                                 9021        5/1/2023 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__799191_Collections by
01 - 2024-05-31\check_images\79096             Securitization 05302023.pdf                        3519      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__810577_Collections by
01 - 2024-05-31\check_images\79096             Securitization.pdf                               28901        6/29/2023 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__823548_Collections by
01 - 2024-05-31\check_images\79096             Securitization.pdf                              129406        7/31/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__840179_Collections by
01 - 2024-05-31\check_images\79096             Securitization 08302023.pdf                        3727      10/9/2024 17:22
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SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__850911_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__866807_Collections by
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SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__879028_Collections by
01 - 2024-05-31\check_images\79096             Securitization.pdf                               32282        12/4/2023 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__890608_Collections by
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SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__905069_Collections by
01 - 2024-05-31\check_images\79096             Securitization.pdf                               31474         2/1/2024 8:22
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SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__919803_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__929776_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__946137_Collections by
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SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-01__615978_Copy of Copy of Copy of
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SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-01__627381_Collections by
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SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-01__641233_Collections by
01 - 2024-05-31\check_images\79098             Securitization.pdf                        8592        6/7/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-01__655165_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-01__667923_Collections by
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SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-01__681672_Collections by
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SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-01__695274_Collections by
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SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-01__708524_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__719734_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__733356_Collections by
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SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__747886_Collections by
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SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__761417_Collections by
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SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__774677_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__788753_Collections by
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SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__802000_Collections by
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SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__816075_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__827981_Collections by
01 - 2024-05-31\check_images\79098             Securitization.pdf                     185664         8/7/2023 8:28
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SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__841409_Collections by
01 - 2024-05-31\check_images\79098             Securitization 08312023.pdf               3707      10/9/2024 17:22




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__855128_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__868565_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__880285_Collections by
01 - 2024-05-31\check_images\79098             Securitization.pdf                       30766        12/5/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__895374_Collections by
01 - 2024-05-31\check_images\79098             Securitization.pdf                       31952         1/9/2024 7:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__920695_Collections by
01 - 2024-05-31\check_images\79098             Securitization.pdf                       30675         3/6/2024 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__935172_Collections by
01 - 2024-05-31\check_images\79098             Securitization.pdf                       31194         4/9/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__947663_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79101             2022-04-05__618605_JGW Deposit.pdf      168286       4/19/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-05__622352_Collections by
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SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-05__629819_Collections by
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SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-05__644686_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-05__671036_Collections by
01 - 2024-05-31\check_images\79101             Securitization 08102022.pdf                3335      10/9/2024 17:21
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SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-05__683845_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-05__697896_Collections by
01 - 2024-05-31\check_images\79101             Securitization.pdf                         8813      10/14/2022 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-05__710719_Collections by
01 - 2024-05-31\check_images\79101             Securitization.pdf                         8604      11/15/2022 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-05__725757_Collections by
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SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-05__736923_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-05__751530_Collections by
01 - 2024-05-31\check_images\79101             Securitization.pdf                        8995       2/16/2023 8:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-05__762414_Collections by
01 - 2024-05-31\check_images\79101             Securitization.pdf                        9823       3/13/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-05__778613_Collections by
01 - 2024-05-31\check_images\79101             Securitization.pdf                        8591       4/18/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-05__790016_Collections by
01 - 2024-05-31\check_images\79101             Securitization 05102023.pdf               3153      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-05__804309_Collections by
01 - 2024-05-31\check_images\79101             Securitization.pdf                        8403       6/14/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-05__817593_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-05__830472_Collections by
01 - 2024-05-31\check_images\79101             Securitization 08092023.pdf               2779      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-05__878182_Collections by
01 - 2024-05-31\check_images\79101             Securitization.pdf                      29479       11/30/2023 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-05__887645_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-05__894284_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-05__909152_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-05__916095_Collections by
01 - 2024-05-31\check_images\79101             Securitization.pdf                      31476        2/27/2024 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-05__917390_Collections by
01 - 2024-05-31\check_images\79101             Securitization.pdf                      31373        2/29/2024 7:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-05__929262_Collections by
01 - 2024-05-31\check_images\79101             Securitization.pdf                      31574        3/28/2024 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-05__936187_Collections by
01 - 2024-05-31\check_images\79101             Securitization.pdf                      31176        4/11/2024 7:31




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-05__637494_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-05__637496_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-05__642665_Collections by
01 - 2024-05-31\check_images\79102             Securitization.pdf                        8591       6/10/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-05__656611_Collections by
01 - 2024-05-31\check_images\79102             Securitization.pdf                        8786       7/12/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-05__671005_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-05__683827_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-05__695703_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-05__710092_Collections by
01 - 2024-05-31\check_images\79102             Securitization.pdf                        8421     11/14/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-05__723838_Collections by
01 - 2024-05-31\check_images\79102             Securitization.pdf                        8797     12/14/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-05__736917_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-05__749154_Collections by
01 - 2024-05-31\check_images\79102             Securitization 02082023.pdf               2970      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-05__762432_Collections by
01 - 2024-05-31\check_images\79102             Securitization.pdf                        9823       3/13/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-05__776959_Collections by
01 - 2024-05-31\check_images\79102             Securitization.pdf                        8591       4/13/2023 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-05__789710_Collections by
01 - 2024-05-31\check_images\79102             Securitization.pdf                        9232       5/12/2023 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-05__802346_Collections by
01 - 2024-05-31\check_images\79102             Securitization.pdf                        8222       6/12/2023 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-05__817589_Collections by
01 - 2024-05-31\check_images\79102             Securitization.pdf                      32183        7/13/2023 8:27




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-05__830243_Collections by
01 - 2024-05-31\check_images\79102             Securitization.pdf                      182688        8/11/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-05__843433_Collections by
01 - 2024-05-31\check_images\79102             Securitization.pdf                       31977        9/12/2023 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-05__857416_Collections by
01 - 2024-05-31\check_images\79102             Securitization 10102023.pdf              32534       10/13/2023 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-05__869525_Collections by
01 - 2024-05-31\check_images\79102             Securitization 11102023.pdf                2391      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-05__884803_Collections by
01 - 2024-05-31\check_images\79102             Securitization.pdf                       31832       12/14/2023 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-05__896802_Collections by
01 - 2024-05-31\check_images\79102             Securitization.pdf                       31483        1/11/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-05__911711_Collections by
01 - 2024-05-31\check_images\79102             Securitization.pdf                       30701        2/15/2024 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-05__923448_Collections by
01 - 2024-05-31\check_images\79102             Securitization.pdf                       29778        3/13/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-05__936184_Collections by
01 - 2024-05-31\check_images\79102             Securitization.pdf                       31176        4/11/2024 7:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-05__949051_Collections by
01 - 2024-05-31\check_images\79102             Securitization 05072024.pdf              50371        5/10/2024 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79103             2022-04-05__618607_JGW Deposit.pdf      168286       4/19/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-05__629813_Collections by
01 - 2024-05-31\check_images\79103             Securitization 05092022.pdf                2965      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-05__644687_Collections by
01 - 2024-05-31\check_images\79103             Securitization 06102022.pdf                2389      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-05__657592_Collections by
01 - 2024-05-31\check_images\79103             Securitization.pdf                         8408       7/14/2022 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-05__671032_Collections by
01 - 2024-05-31\check_images\79103             Securitization 08102022.pdf                3335      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-05__683836_Collections by
01 - 2024-05-31\check_images\79103             Securitization.pdf                         9406       9/13/2022 8:22




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-05__697899_Collections by
01 - 2024-05-31\check_images\79103             Securitization.pdf                        8813      10/14/2022 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-05__710714_Collections by
01 - 2024-05-31\check_images\79103             Securitization.pdf                        8604      11/15/2022 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-05__725751_Collections by
01 - 2024-05-31\check_images\79103             Securitization.pdf                        8421      12/20/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-05__736927_Collections by
01 - 2024-05-31\check_images\79103             Securitization.pdf                        9411       1/13/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-05__751529_Collections by
01 - 2024-05-31\check_images\79103             Securitization.pdf                        8995       2/16/2023 8:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-05__762450_Collections by
01 - 2024-05-31\check_images\79103             Securitization.pdf                        9823       3/13/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-05__778605_Collections by
01 - 2024-05-31\check_images\79103             Securitization.pdf                        8591       4/18/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-05__790020_Collections by
01 - 2024-05-31\check_images\79103             Securitization 05102023.pdf               3153      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-05__804310_Collections by
01 - 2024-05-31\check_images\79103             Securitization.pdf                        8403       6/14/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-05__817594_Collections by
01 - 2024-05-31\check_images\79103             Securitization.pdf                      32183        7/13/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-05__830473_Collections by
01 - 2024-05-31\check_images\79103             Securitization 08092023.pdf               2779      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-05__887136_Collections by
01 - 2024-05-31\check_images\79103             Securitization 12142023.pdf             31616       12/20/2023 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-05__887648_Collections by
01 - 2024-05-31\check_images\79103             Securitization 12182023.pdf             32743      12/21/2023 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-05__878183_Collections by
01 - 2024-05-31\check_images\79103             Securitization.pdf                      29479       11/30/2023 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-05__917385_Collections by
01 - 2024-05-31\check_images\79103             Securitization.pdf                      31373        2/29/2024 7:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-05__909153_Collections by
01 - 2024-05-31\check_images\79103             Securitization.pdf                      32078        2/12/2024 8:09




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-05__916094_Collections by
01 - 2024-05-31\check_images\79103             Securitization.pdf                       31476        2/27/2024 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-05__929261_Collections by
01 - 2024-05-31\check_images\79103             Securitization.pdf                       31574        3/28/2024 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-05__936185_Collections by
01 - 2024-05-31\check_images\79103             Securitization.pdf                       31176        4/11/2024 7:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-05__957333_Collections by
01 - 2024-05-31\check_images\79103             Securitization 05242024.pdf              46855        5/30/2024 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79104             2022-04-06__618596_JGW Deposit.pdf      168286       4/19/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-06__629815_Collections by
01 - 2024-05-31\check_images\79104             Securitization 05092022.pdf                2965      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-06__642666_Collections by
01 - 2024-05-31\check_images\79104             Securitization.pdf                         8591       6/10/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-06__655166_Collections by
01 - 2024-05-31\check_images\79104             Securitization.pdf                         8575        7/8/2022 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-06__667921_Collections by
01 - 2024-05-31\check_images\79104             Securitization.pdf                         9203        8/8/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-06__682593_Collections by
01 - 2024-05-31\check_images\79104             Securitization.pdf                         8213        9/9/2022 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-06__695007_Collections by
01 - 2024-05-31\check_images\79104             Securitization.pdf                         8591       10/6/2022 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-06__709354_Collections by
01 - 2024-05-31\check_images\79104             Securitization.pdf                         7956      11/11/2022 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-06__723842_Collections by
01 - 2024-05-31\check_images\79104             Securitization.pdf                         8797     12/14/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-06__735759_Collections by
01 - 2024-05-31\check_images\79104             Securitization.pdf                         8784       1/11/2023 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-06__749162_Collections by
01 - 2024-05-31\check_images\79104             Securitization 02082023.pdf                2970      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-06__762404_Collections by
01 - 2024-05-31\check_images\79104             Securitization.pdf                         9823       3/13/2023 9:04




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-06__775027_Collections by
01 - 2024-05-31\check_images\79104             Securitization.pdf                         8218       4/10/2023 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-06__789567_Collections by
01 - 2024-05-31\check_images\79104             Securitization.pdf                         8779       5/11/2023 7:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-06__802125_Collections by
01 - 2024-05-31\check_images\79104             Securitization.pdf                         8767        6/9/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-06__816753_Collections by
01 - 2024-05-31\check_images\79104             Securitization.pdf                       31083        7/12/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-06__830143_Collections by
01 - 2024-05-31\check_images\79104             Securitization.pdf                      182885        8/10/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-06__842274_Collections by
01 - 2024-05-31\check_images\79104             Securitization.pdf                       31292         9/8/2023 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-06__856239_Collections by
01 - 2024-05-31\check_images\79104             Securitization.pdf                       29423       10/11/2023 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-06__869527_Collections by
01 - 2024-05-31\check_images\79104             Securitization 11102023.pdf                2391      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-06__882205_Collections by
01 - 2024-05-31\check_images\79104             Securitization.pdf                       31102        12/8/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-06__908815_Collections by
01 - 2024-05-31\check_images\79104             Securitization.pdf                       31265         2/8/2024 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-06__908816_Collections by
01 - 2024-05-31\check_images\79104             Securitization.pdf                       31265         2/8/2024 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-06__921550_Collections by
01 - 2024-05-31\check_images\79104             Securitization.pdf                       31318         3/8/2024 7:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-06__936188_Collections by
01 - 2024-05-31\check_images\79104             Securitization.pdf                       31176        4/11/2024 7:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79105             2022-04-12__618579_JGW Deposit.pdf      168286       4/19/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-12__632645_Collections by
01 - 2024-05-31\check_images\79105             Securitization 05162022.pdf                2391      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-12__645700_Collections by
01 - 2024-05-31\check_images\79105             Securitization.pdf                         6309       6/17/2022 8:03




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               All Paths/Locations                                Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-12__658346_Collections by
01 - 2024-05-31\check_images\79105             Securitization.pdf                        8420       7/18/2022 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-12__672637_Collections by
01 - 2024-05-31\check_images\79105             Securitization 08152022.pdf               2391      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-12__685801_Collections by
01 - 2024-05-31\check_images\79105             Securitization 09142022.pdf               2779      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-12__699156_Collections by
01 - 2024-05-31\check_images\79105             Securitization 10132022.pdf               2397      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-12__713606_Collections by
01 - 2024-05-31\check_images\79105             Securitization.pdf                        8593      11/22/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-12__724762_Collections by
01 - 2024-05-31\check_images\79105             Securitization.pdf                        8215      12/16/2022 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-12__739563_Collections by
01 - 2024-05-31\check_images\79105             Securitization.pdf                        8212       1/20/2023 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-12__752271_Collections by
01 - 2024-05-31\check_images\79105             Securitization.pdf                        8410       2/21/2023 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-12__765327_Collections by
01 - 2024-05-31\check_images\79105             Securitization.pdf                        8779       3/20/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-12__778610_Collections by
01 - 2024-05-31\check_images\79105             Securitization.pdf                        8591       4/18/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-12__792700_Collections by
01 - 2024-05-31\check_images\79105             Securitization.pdf                        8594       5/18/2023 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-12__805751_Collections by
01 - 2024-05-31\check_images\79105             Securitization 06142023.pdf               3139      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-12__819586_Collections by
01 - 2024-05-31\check_images\79105             Securitization.pdf                      31684        7/19/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-12__833368_Collections by
01 - 2024-05-31\check_images\79105             Securitization.pdf                     181803        8/21/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-12__844749_Collections by
01 - 2024-05-31\check_images\79105             Securitization.pdf                      31157        9/15/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-12__859983_Collections by
01 - 2024-05-31\check_images\79105             Securitization.pdf                      31388       10/19/2023 7:32




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               All Paths/Locations                                 Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-12__866819_Collections by
01 - 2024-05-31\check_images\79105             Securitization 10302023.pdf                   4835      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-12__873847_Collections by
01 - 2024-05-31\check_images\79105             Securitization.pdf                          31024       11/21/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-12__885365_Collections by
01 - 2024-05-31\check_images\79105             Securitization 12132023.pdf                 32493       12/18/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-12__900315_Collections by
01 - 2024-05-31\check_images\79105             Securitization.pdf                          31424        1/22/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-12__912234_Collections by
01 - 2024-05-31\check_images\79105             Securitization 02152024.pdf                 31275        2/20/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-12__926549_Collections by
01 - 2024-05-31\check_images\79105             Securitization.pdf                          31672        3/21/2024 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-12__941284_Collections by
01 - 2024-05-31\check_images\79105             Securitization.pdf                          28318        4/25/2024 7:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-12__952485_Collections by
01 - 2024-05-31\check_images\79105             Securitization.pdf                          31993        5/20/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-13__618526_JGW Copy of Sutton
01 - 2024-05-31\check_images\79106             Collections - April 19.xlsx                 88251       4/19/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-13__632009_Collections by
01 - 2024-05-31\check_images\79106             Securitization 05132022.pdf                   2151      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-13__645356_Collections by
01 - 2024-05-31\check_images\79106             Securitization.pdf                            8790       6/16/2022 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-13__656607_Collections by
01 - 2024-05-31\check_images\79106             Securitization.pdf                            8786       7/12/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-13__674702_Collections by
01 - 2024-05-31\check_images\79106             Securitization 08222022.pdf                   2383      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-13__685802_Collections by
01 - 2024-05-31\check_images\79106             Securitization 09142022.pdf                   2779      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-13__699591_Collections by
01 - 2024-05-31\check_images\79106             Securitization 10142022.pdf                   2574      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-13__712285_Collections by
01 - 2024-05-31\check_images\79106             Securitization.pdf                            8221      11/17/2022 8:23




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-13__724764_Collections by
01 - 2024-05-31\check_images\79106             Securitization.pdf                        8215      12/16/2022 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-13__739221_Collections by
01 - 2024-05-31\check_images\79106             Securitization.pdf                        8782       1/19/2023 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-13__753364_Collections by
01 - 2024-05-31\check_images\79106             Securitization.pdf                        8219       2/22/2023 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-13__765324_Collections by
01 - 2024-05-31\check_images\79106             Securitization.pdf                        8779       3/20/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-13__778612_Collections by
01 - 2024-05-31\check_images\79106             Securitization.pdf                        8591       4/18/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-13__792688_Collections by
01 - 2024-05-31\check_images\79106             Securitization.pdf                        8594       5/18/2023 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-13__805415_Collections by
01 - 2024-05-31\check_images\79106             Securitization.pdf                      31629       6/16/2023 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-13__819578_Collections by
01 - 2024-05-31\check_images\79106             Securitization.pdf                      31684        7/19/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-13__833056_Collections by
01 - 2024-05-31\check_images\79106             Securitization.pdf                     183339        8/17/2023 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-13__845130_Collections by
01 - 2024-05-31\check_images\79106             Securitization.pdf                      30962        9/18/2023 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-13__859102_Collections by
01 - 2024-05-31\check_images\79106             Securitization.pdf                      30561       10/17/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-13__873165_Collections by
01 - 2024-05-31\check_images\79106             Securitization.pdf                      29249       11/20/2023 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-13__887849_Collections by
01 - 2024-05-31\check_images\79106             Securitization.pdf                      30919       12/22/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-13__900186_Collections by
01 - 2024-05-31\check_images\79106             Securitization 01162024.pdf               8218       1/19/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-13__911998_Collections by
01 - 2024-05-31\check_images\79106             Securitization.pdf                      28875        2/16/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-13__924817_Collections by
01 - 2024-05-31\check_images\79106             Securitization.pdf                      30862        3/18/2024 8:22




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-13__939713_Collections by
01 - 2024-05-31\check_images\79106             Securitization.pdf                              30991        4/22/2024 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-13__952486_Collections by
01 - 2024-05-31\check_images\79106             Securitization.pdf                              31993        5/20/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-15__622232_Copy of Collections by
01 - 2024-05-31\check_images\79107             Securitization 2.xlsx                           17034       4/26/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-15__632842_Collections by
01 - 2024-05-31\check_images\79107             Securitization 05202022.pdf                       7955       5/20/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-15__648615_Collections by
01 - 2024-05-31\check_images\79107             Securitization.pdf                                8419       6/27/2022 8:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-15__660253_Collections by
01 - 2024-05-31\check_images\79107             Securitization.pdf                                6308       7/21/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-15__674317_Collections by
01 - 2024-05-31\check_images\79107             Securitization 08172022.pdf                       2583      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-15__687312_Collections by
01 - 2024-05-31\check_images\79107             Securitization 09192022.pdf                       2387      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-15__701134_Collections by
01 - 2024-05-31\check_images\79107             Securitization.pdf                                8780      10/25/2022 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-15__713607_Collections by
01 - 2024-05-31\check_images\79107             Securitization.pdf                                8593      11/22/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-15__727405_Collections by
01 - 2024-05-31\check_images\79107             Securitization.pdf                                8410      12/23/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-15__740615_Collections by
01 - 2024-05-31\check_images\79107             Securitization.pdf                                8208       1/24/2023 7:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-15__752272_Collections by
01 - 2024-05-31\check_images\79107             Securitization.pdf                                8410       2/21/2023 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-15__766107_Collections by
01 - 2024-05-31\check_images\79107             Securitization.pdf                                7953       3/21/2023 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-15__780327_Collections by
01 - 2024-05-31\check_images\79107             Securitization.pdf                                7954       4/24/2023 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-15__793118_Collections by
01 - 2024-05-31\check_images\79107             Securitization.pdf                                8787       5/22/2023 7:59




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-15__807464_Collections by
01 - 2024-05-31\check_images\79107             Securitization 06202023.pdf               2767      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-15__821660_Collections by
01 - 2024-05-31\check_images\79107             Securitization.pdf                      30573        7/26/2023 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-15__834257_Collections by
01 - 2024-05-31\check_images\79107             Securitization.pdf                     182959        8/22/2023 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-15__847153_Collections by
01 - 2024-05-31\check_images\79107             Securitization.pdf                      30952        9/21/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-15__860353_Collections by
01 - 2024-05-31\check_images\79107             Securitization 10182023.pdf               2153      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-15__876074_Collections by
01 - 2024-05-31\check_images\79107             Securitization 11212023.pdf               2153      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-15__887847_Collections by
01 - 2024-05-31\check_images\79107             Securitization.pdf                      30919       12/22/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-15__901571_Collections by
01 - 2024-05-31\check_images\79107             Securitization.pdf                      30610        1/25/2024 7:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-15__914409_Collections by
01 - 2024-05-31\check_images\79107             Securitization.pdf                      31579        2/23/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-15__926755_Collections by
01 - 2024-05-31\check_images\79107             Securitization.pdf                      30446        3/22/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-15__940736_Collections by
01 - 2024-05-31\check_images\79107             Securitization.pdf                      27761        4/24/2024 7:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-15__954080_Collections by
01 - 2024-05-31\check_images\79107             Securitization.pdf                      31453        5/23/2024 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-16__622349_Collections by
01 - 2024-05-31\check_images\79108             Securitization 4 23 2022.pdf            33700       4/26/2022 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-16__634223_Collections by
01 - 2024-05-31\check_images\79108             Securitization 05192022.pdf               2388      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-16__648307_Collections by
01 - 2024-05-31\check_images\79108             Securitization 06212022.pdf               2584      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-16__661747_Collections by
01 - 2024-05-31\check_images\79108             Securitization 07212022.pdf               2969      10/9/2024 17:21




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               All Paths/Locations                                Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-16__674321_Collections by
01 - 2024-05-31\check_images\79108             Securitization 08182022.pdf               2154      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-16__687923_Collections by
01 - 2024-05-31\check_images\79108             Securitization.pdf                        9026       9/26/2022 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-16__701771_Collections by
01 - 2024-05-31\check_images\79108             Securitization.pdf                        6307      10/26/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-16__717804_Collections by
01 - 2024-05-31\check_images\79108             Securitization.pdf                        8221       12/1/2022 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-16__728397_Collections by
01 - 2024-05-31\check_images\79108             Securitization.pdf                        8416      12/28/2022 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-16__740963_Collections by
01 - 2024-05-31\check_images\79108             Securitization 01202023.pdf               2569      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-16__757100_Collections by
01 - 2024-05-31\check_images\79108             Securitization 02232023.pdf               2977      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-16__766420_Collections by
01 - 2024-05-31\check_images\79108             Securitization.pdf                        8218       3/22/2023 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-16__782971_Collections by
01 - 2024-05-31\check_images\79108             Securitization.pdf                        8415       4/28/2023 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-16__794606_Collections by
01 - 2024-05-31\check_images\79108             Securitization.pdf                        8218       5/25/2023 8:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-16__810181_Collections by
01 - 2024-05-31\check_images\79108             Securitization.pdf                      31281        6/28/2023 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-16__821663_Collections by
01 - 2024-05-31\check_images\79108             Securitization.pdf                      30573        7/26/2023 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-16__859978_Collections by
01 - 2024-05-31\check_images\79108             Securitization.pdf                      31388       10/19/2023 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-16__861864_Collections by
01 - 2024-05-31\check_images\79108             Securitization.pdf                      30423       10/26/2023 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-16__854689_Collections by
01 - 2024-05-31\check_images\79108             Securitization Combined.pdf             36260       10/19/2023 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-16__869239_Collections by
01 - 2024-05-31\check_images\79108             Securitization.pdf                      31359        11/9/2023 7:41




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               All Paths/Locations                                Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-16__885014_Collections by
01 - 2024-05-31\check_images\79108             Securitization.pdf                      31216       12/15/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-16__901570_Collections by
01 - 2024-05-31\check_images\79108             Securitization.pdf                      30610        1/25/2024 7:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-16__896977_Collections by
01 - 2024-05-31\check_images\79108             Securitization.pdf                      30558        1/12/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-16__903453_Collections by
01 - 2024-05-31\check_images\79108             Securitization.pdf                      28909        1/30/2024 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-16__916090_Collections by
01 - 2024-05-31\check_images\79108             Securitization.pdf                      31476        2/27/2024 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-16__929259_Collections by
01 - 2024-05-31\check_images\79108             Securitization.pdf                      31574        3/28/2024 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-16__946793_Collections by
01 - 2024-05-31\check_images\79108             Securitization.pdf                      32235         5/6/2024 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-16__957329_Collections by
01 - 2024-05-31\check_images\79108             Securitization 05242024.pdf             46855        5/30/2024 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-20__633149_Collections by
01 - 2024-05-31\check_images\79109             Securitization 05182022.pdf               2950      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-20__651611_Collections by
01 - 2024-05-31\check_images\79109             Securitization 06272022.pdf               4080      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-20__652931_Collections by
01 - 2024-05-31\check_images\79109             Securitization 06292022.pdf               3695      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-20__658345_Collections by
01 - 2024-05-31\check_images\79109             Securitization.pdf                        8420       7/18/2022 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-20__672880_Collections by
01 - 2024-05-31\check_images\79109             Securitization.pdf                        8223       8/19/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-20__686821_Collections by
01 - 2024-05-31\check_images\79109             Securitization 09162022.pdf               2383      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-20__701138_Collections by
01 - 2024-05-31\check_images\79109             Securitization.pdf                        8780      10/25/2022 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-20__713605_Collections by
01 - 2024-05-31\check_images\79109             Securitization.pdf                        8593      11/22/2022 8:22




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-20__725760_Collections by
01 - 2024-05-31\check_images\79109             Securitization.pdf                        8421      12/20/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-20__740962_Collections by
01 - 2024-05-31\check_images\79109             Securitization 01202023.pdf               2569      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-20__752270_Collections by
01 - 2024-05-31\check_images\79109             Securitization.pdf                        8410       2/21/2023 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-20__765323_Collections by
01 - 2024-05-31\check_images\79109             Securitization.pdf                        8779       3/20/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-20__779686_Collections by
01 - 2024-05-31\check_images\79109             Securitization 04172023.pdf               2575      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-20__793122_Collections by
01 - 2024-05-31\check_images\79109             Securitization.pdf                        8787       5/22/2023 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-20__805748_Collections by
01 - 2024-05-31\check_images\79109             Securitization 06142023.pdf               3139      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-20__820494_Collections by
01 - 2024-05-31\check_images\79109             Securitization.pdf                      30165        7/24/2023 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-20__833370_Collections by
01 - 2024-05-31\check_images\79109             Securitization.pdf                     181803        8/21/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-20__845131_Collections by
01 - 2024-05-31\check_images\79109             Securitization.pdf                      30962        9/18/2023 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-20__861402_Collections by
01 - 2024-05-31\check_images\79109             Securitization.pdf                      27974       10/25/2023 8:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-20__873843_Collections by
01 - 2024-05-31\check_images\79109             Securitization.pdf                      31024       11/21/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-20__887652_Collections by
01 - 2024-05-31\check_images\79109             Securitization 12182023.pdf             32743      12/21/2023 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-20__901057_Collections by
01 - 2024-05-31\check_images\79109             Securitization.pdf                      28502        1/23/2024 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-20__912205_Collections by
01 - 2024-05-31\check_images\79109             Securitization 02142024.pdf             32391        2/20/2024 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-20__926546_Collections by
01 - 2024-05-31\check_images\79109             Securitization.pdf                      31672        3/21/2024 7:43




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-20__939715_Collections by
01 - 2024-05-31\check_images\79109             Securitization.pdf                      30991        4/22/2024 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-20__953168_Collections by
01 - 2024-05-31\check_images\79109             Securitization.pdf                      30900        5/21/2024 7:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-29__641236_Collections by
01 - 2024-05-31\check_images\79111             Securitization.pdf                        8592        6/7/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-29__719732_Collections by
01 - 2024-05-31\check_images\79111             Securitization.pdf                        9023       12/6/2022 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-29__801984_Collections by
01 - 2024-05-31\check_images\79111             Securitization.pdf                        9411        6/8/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-29__883292_Collections by
01 - 2024-05-31\check_images\79111             Securitization.pdf                      30328       12/12/2023 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-07__656609_Collections by
01 - 2024-05-31\check_images\79112             Securitization.pdf                        8786       7/12/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-27__681686_Collections by
01 - 2024-05-31\check_images\79115             Securitization.pdf                        9208        9/7/2022 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-27__693241_Collections by
01 - 2024-05-31\check_images\79115             Securitization.pdf                        8784       10/4/2022 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-27__704702_Collections by
01 - 2024-05-31\check_images\79115             Securitization 10272022.pdf               2775      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-27__719731_Collections by
01 - 2024-05-31\check_images\79115             Securitization.pdf                        9023       12/6/2022 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-27__731034_Collections by
01 - 2024-05-31\check_images\79115             Securitization.pdf                        8806        1/4/2023 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-27__744747_Collections by
01 - 2024-05-31\check_images\79115             Securitization.pdf                        7956        2/1/2023 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-27__761024_Collections by
01 - 2024-05-31\check_images\79115             Securitization 03022023.pdf               4079      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-27__772951_Collections by
01 - 2024-05-31\check_images\79115             Securitization.pdf                        8800        4/4/2023 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-27__786673_Collections by
01 - 2024-05-31\check_images\79115             Securitization.pdf                        8401        5/4/2023 7:44




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               All Paths/Locations                                Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-27__801993_Collections by
01 - 2024-05-31\check_images\79115             Securitization.pdf                                9411        6/8/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-27__813138_Collections by
01 - 2024-05-31\check_images\79115             Securitization.pdf                              31296         7/5/2023 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-27__825084_Collections by
01 - 2024-05-31\check_images\79115             Securitization.pdf                             102380         8/1/2023 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-27__840188_Collections by
01 - 2024-05-31\check_images\79115             Securitization 08302023.pdf                       3727      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-27__852871_Collections by
01 - 2024-05-31\check_images\79115             Securitization.pdf                              29646        10/3/2023 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-27__864291_Collections by
01 - 2024-05-31\check_images\79115             Securitization.pdf                              28677       10/31/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-27__880291_Collections by
01 - 2024-05-31\check_images\79115             Securitization.pdf                              30766        12/5/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-27__894285_Collections by
01 - 2024-05-31\check_images\79115             Securitization.pdf                              31605         1/5/2024 7:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-27__905072_Collections by
01 - 2024-05-31\check_images\79115             Securitization.pdf                              31474         2/1/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-27__918373_30782199 5038.00 Ruben
01 - 2024-05-31\check_images\79115             and Jemma Serrano 03042024.pdf                  92591         3/4/2024 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-27__930140_Collections by
01 - 2024-05-31\check_images\79115             Securitization.pdf                              30853         4/1/2024 7:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-27__946789_Collections by
01 - 2024-05-31\check_images\79115             Securitization.pdf                              32235         5/6/2024 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-27__960636_Collections by
01 - 2024-05-31\check_images\79115             Securitization.pdf                              10041         6/7/2024 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-15__685195_Collections by
01 - 2024-05-31\check_images\79116             Securitization 09122022.pdf                       2383      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-15__699592_Collections by
01 - 2024-05-31\check_images\79116             Securitization 10142022.pdf                       2574      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-15__710711_Collections by
01 - 2024-05-31\check_images\79116             Securitization.pdf                                8604      11/15/2022 8:08




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-15__724563_Collections by
01 - 2024-05-31\check_images\79116             Securitization.pdf                        6302     12/15/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-15__737176_Collections by
01 - 2024-05-31\check_images\79116             Securitization.pdf                        8606       1/17/2023 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-15__751527_Collections by
01 - 2024-05-31\check_images\79116             Securitization.pdf                        8995       2/16/2023 8:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-15__764737_Collections by
01 - 2024-05-31\check_images\79116             Securitization.pdf                        8783       3/16/2023 7:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-15__777130_Collections by
01 - 2024-05-31\check_images\79116             Securitization.pdf                        8604       4/14/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-15__789707_Collections by
01 - 2024-05-31\check_images\79116             Securitization.pdf                        9232       5/12/2023 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-15__804935_Collections by
01 - 2024-05-31\check_images\79116             Securitization.pdf                        8790       6/15/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-15__819579_Collections by
01 - 2024-05-31\check_images\79116             Securitization.pdf                      31684        7/19/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-15__830474_Collections by
01 - 2024-05-31\check_images\79116             Securitization 08092023.pdf               2779      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-15__844754_Collections by
01 - 2024-05-31\check_images\79116             Securitization.pdf                      31157        9/15/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-15__859101_Collections by
01 - 2024-05-31\check_images\79116             Securitization.pdf                      30561       10/17/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-15__872302_Collections by
01 - 2024-05-31\check_images\79116             Securitization.pdf                      30783       11/16/2023 7:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-15__885016_Collections by
01 - 2024-05-31\check_images\79116             Securitization.pdf                      31216       12/15/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-15__896976_Collections by
01 - 2024-05-31\check_images\79116             Securitization.pdf                      30558        1/12/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-15__911708_Collections by
01 - 2024-05-31\check_images\79116             Securitization.pdf                      30701        2/15/2024 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-15__924241_Collections by
01 - 2024-05-31\check_images\79116             Securitization 03122024.pdf             54223        3/15/2024 8:07




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               All Paths/Locations                                Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-15__936678_Collections by
01 - 2024-05-31\check_images\79116             Securitization.pdf                      31638        4/15/2024 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-15__951812_Collections by
01 - 2024-05-31\check_images\79116             Securitization.pdf                      31331        5/16/2024 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-01__708523_Collections by
01 - 2024-05-31\check_images\79117             Securitization.pdf                        9211       11/8/2022 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__721689_Collections by
01 - 2024-05-31\check_images\79117             Securitization.pdf                        8219       12/9/2022 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__734724_Collections by
01 - 2024-05-31\check_images\79117             Securitization.pdf                        9402       1/10/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__745725_Collections by
01 - 2024-05-31\check_images\79117             Securitization.pdf                        8601        2/2/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__761042_Collections by
01 - 2024-05-31\check_images\79117             Securitization 03022023.pdf               4079      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__774414_Collections by
01 - 2024-05-31\check_images\79117             Securitization.pdf                        9949        4/6/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__787499_Collections by
01 - 2024-05-31\check_images\79117             Securitization.pdf                        9967        5/8/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__799812_Collections by
01 - 2024-05-31\check_images\79117             Securitization 05312023.pdf               4084      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__814710_Collections by
01 - 2024-05-31\check_images\79117             Securitization.pdf                      28273        7/10/2023 8:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__827754_Collections by
01 - 2024-05-31\check_images\79117             Securitization.pdf                     114137         8/4/2023 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__842208_Collections by
01 - 2024-05-31\check_images\79117             Securitization 09012023.pdf               3500      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__855123_Collections by
01 - 2024-05-31\check_images\79117             Securitization.pdf                      32433      10/10/2023 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__866823_Collections by
01 - 2024-05-31\check_images\79117             Securitization.pdf                      31511        11/3/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__882212_Collections by
01 - 2024-05-31\check_images\79117             Securitization.pdf                      31102        12/8/2023 7:37




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__895373_Collections by
01 - 2024-05-31\check_images\79117             Securitization.pdf                      31952         1/9/2024 7:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__911181_Collections by
01 - 2024-05-31\check_images\79117             Securitization.pdf                      30052        2/14/2024 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__919836_Collections by
01 - 2024-05-31\check_images\79117             Securitization.pdf                      32339         3/5/2024 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__934127_Collections by
01 - 2024-05-31\check_images\79117             Securitization.pdf                      31771         4/5/2024 7:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__946164_Collections by
01 - 2024-05-31\check_images\79117             Securitization 04292024.pdf             33919         5/2/2024 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-29__712284_Collections by
01 - 2024-05-31\check_images\79118             Securitization.pdf                        8221      11/17/2022 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-17__739564_Collections by
01 - 2024-05-31\check_images\79121             Securitization.pdf                        8212       1/20/2023 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-30__746619_Collections by
01 - 2024-05-31\check_images\79123             Securitization.pdf                        8217        2/6/2023 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-28__760118_Collections by
01 - 2024-05-31\check_images\79123             Securitization 03012023.pdf               3713      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-30__770554_Collections by
01 - 2024-05-31\check_images\79123             Securitization.pdf                        8607       3/30/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-30__784603_Collections by
01 - 2024-05-31\check_images\79123             Securitization.pdf                        8596        5/2/2023 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-30__800835_Collections by
01 - 2024-05-31\check_images\79123             Securitization.pdf                        8407        6/6/2023 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-30__814451_Collections by
01 - 2024-05-31\check_images\79123             Securitization.pdf                      31640         7/6/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-30__823544_Collections by
01 - 2024-05-31\check_images\79123             Securitization.pdf                     129406        7/31/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-30__838956_Collections by
01 - 2024-05-31\check_images\79123             Securitization.pdf                      30469        8/31/2023 7:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-30__850910_Collections by
01 - 2024-05-31\check_images\79123             Securitization.pdf                      31964        9/29/2023 7:44




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-30__866816_Collections by
01 - 2024-05-31\check_images\79123             Securitization 10302023.pdf               4835      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-30__878601_Collections by
01 - 2024-05-31\check_images\79123             Securitization.pdf                      28309        12/1/2023 7:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-30__892002_Collections by
01 - 2024-05-31\check_images\79123             Securitization.pdf                      31844         1/3/2024 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-30__905057_Collections by
01 - 2024-05-31\check_images\79123             Securitization.pdf                      31474         2/1/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-29__919832_Collections by
01 - 2024-05-31\check_images\79123             Securitization.pdf                      32339         3/5/2024 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-30__929777_Collections by
01 - 2024-05-31\check_images\79123             Securitization.pdf                      31203        3/29/2024 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-30__946799_Collections by
01 - 2024-05-31\check_images\79123             Securitization.pdf                      32235         5/6/2024 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-30__958117_Collections by
01 - 2024-05-31\check_images\79123             Securitization.pdf                      31216        5/31/2024 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__801997_Collections by
01 - 2024-05-31\check_images\79128             Securitization.pdf                        9411        6/8/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__867267_Collections by
01 - 2024-05-31\check_images\79128             Securitization.pdf                        6304       11/6/2023 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-09__872297_Collections by
01 - 2024-05-31\check_images\79131             Securitization.pdf                      30783       11/16/2023 7:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__896061_Collections by
01 - 2024-05-31\check_images\79132             Securitization.pdf                      31409        1/10/2024 7:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__906459_Collections by
01 - 2024-05-31\check_images\79132             Securitization.pdf                      30866         2/5/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__921403_Collections by
01 - 2024-05-31\check_images\79132             Securitization.pdf                      28729         3/7/2024 7:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__935166_Collections by
01 - 2024-05-31\check_images\79132             Securitization.pdf                      31194         4/9/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__948096_Collections by
01 - 2024-05-31\check_images\79132             Securitization.pdf                      28803         5/8/2024 7:39




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-24__909157_Collections by
01 - 2024-05-31\check_images\79133             Securitization.pdf                       32078        2/12/2024 8:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-24__929263_Collections by
01 - 2024-05-31\check_images\79133             Securitization.pdf                       31574        3/28/2024 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-24__957327_Collections by
01 - 2024-05-31\check_images\79133             Securitization 05242024.pdf                4083      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-24__958114_Collections by
01 - 2024-05-31\check_images\79133             Securitization.pdf                       31216        5/31/2024 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-03__928834_Collections by
01 - 2024-05-31\check_images\79134             Securitization.pdf                       29247        3/27/2024 7:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__935539_Collections by
01 - 2024-05-31\check_images\79136             Securitization.pdf                         6307       4/10/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__948097_Collections by
01 - 2024-05-31\check_images\79136             Securitization.pdf                       28803         5/8/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-21__687737_Collections by
01 - 2024-05-31\check_images\79260             Securitization.pdf                         6307       9/23/2022 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-27__888927_Collections by
01 - 2024-05-31\check_images\79262             Securitization.pdf                       29089       12/27/2023 8:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79270             2022-04-08__618590_JGW Deposit.pdf      168286       4/19/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-08__629816_Collections by
01 - 2024-05-31\check_images\79270             Securitization 05092022.pdf                2965      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-08__642663_Collections by
01 - 2024-05-31\check_images\79270             Securitization.pdf                         8591       6/10/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-08__657595_Collections by
01 - 2024-05-31\check_images\79270             Securitization.pdf                         8408       7/14/2022 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-08__670289_Collections by
01 - 2024-05-31\check_images\79270             Securitization 08092022.pdf                2390      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-08__683833_Collections by
01 - 2024-05-31\check_images\79270             Securitization.pdf                         9406       9/13/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-08__698257_Collections by
01 - 2024-05-31\check_images\79270             Securitization 10122022.pdf                2156      10/9/2024 17:19




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-08__710101_Collections by
01 - 2024-05-31\check_images\79270             Securitization.pdf                        8421     11/14/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-08__723835_Collections by
01 - 2024-05-31\check_images\79270             Securitization.pdf                        8797     12/14/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-08__738385_Collections by
01 - 2024-05-31\check_images\79270             Securitization.pdf                        7954       1/18/2023 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-08__750250_Collections by
01 - 2024-05-31\check_images\79270             Securitization.pdf                        8599       2/14/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-08__763500_Collections by
01 - 2024-05-31\check_images\79270             Securitization.pdf                        7947       3/14/2023 8:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-08__777129_Collections by
01 - 2024-05-31\check_images\79270             Securitization.pdf                        8604       4/14/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-08__790015_Collections by
01 - 2024-05-31\check_images\79270             Securitization 05102023.pdf               3153      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-08__804312_Collections by
01 - 2024-05-31\check_images\79270             Securitization.pdf                        8403       6/14/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-08__819580_Collections by
01 - 2024-05-31\check_images\79270             Securitization.pdf                      31684        7/19/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-08__831640_Collections by
01 - 2024-05-31\check_images\79270             Securitization.pdf                     183258        8/15/2023 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-08__844752_Collections by
01 - 2024-05-31\check_images\79270             Securitization.pdf                      31157        9/15/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-08__857948_Collections by
01 - 2024-05-31\check_images\79270             Securitization.pdf                      30670       10/16/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-08__871967_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-08__885357_Collections by
01 - 2024-05-31\check_images\79270             Securitization 12132023.pdf             32493       12/18/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-08__899706_Collections by
01 - 2024-05-31\check_images\79270             Securitization.pdf                      31257        1/18/2024 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-08__912000_Collections by
01 - 2024-05-31\check_images\79270             Securitization.pdf                      28875        2/16/2024 7:39




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-08__924234_Collections by
01 - 2024-05-31\check_images\79270             Securitization 03122024.pdf             54223        3/15/2024 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-08__939410_Collections by
01 - 2024-05-31\check_images\79270             Securitization.pdf                      31175        4/18/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-08__951340_Collections by
01 - 2024-05-31\check_images\79270             Securitization.pdf                        6460       5/15/2024 8:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-15__912221_Collections by
01 - 2024-05-31\check_images\79272             Securitization 02142024.pdf             32391        2/20/2024 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-01__625901_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-01__642664_Collections by
01 - 2024-05-31\check_images\79279             Securitization.pdf                        8591       6/10/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-01__645354_Collections by
01 - 2024-05-31\check_images\79279             Securitization.pdf                        8790       6/16/2022 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-01__656603_Collections by
01 - 2024-05-31\check_images\79279             Securitization.pdf                        8786       7/12/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-01__667930_Collections by
01 - 2024-05-31\check_images\79279             Securitization.pdf                        9203        8/8/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-01__682840_Collections by
01 - 2024-05-31\check_images\79279             Securitization.pdf                        7949       9/12/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-01__695706_Collections by
01 - 2024-05-31\check_images\79279             Securitization.pdf                        8791      10/10/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-01__709352_Collections by
01 - 2024-05-31\check_images\79279             Securitization.pdf                        7956      11/11/2022 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__721690_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__734731_Collections by
01 - 2024-05-31\check_images\79279             Securitization.pdf                        9402       1/10/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__761023_Collections by
01 - 2024-05-31\check_images\79279             Securitization 03022023.pdf               4079      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__761760_Collections by
01 - 2024-05-31\check_images\79279             Securitization 03062023.pdf               2764      10/9/2024 17:20




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__774684_Collections by
01 - 2024-05-31\check_images\79279             Securitization.pdf                            9225        4/7/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__787401_Collections by
01 - 2024-05-31\check_images\79279             Securitization.pdf                            9967        5/8/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__802121_Collections by
01 - 2024-05-31\check_images\79279             Securitization.pdf                            8767        6/9/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__816757_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__829219_Collections by
01 - 2024-05-31\check_images\79279             Securitization.pdf                         182881         8/9/2023 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__843437_Collections by
01 - 2024-05-31\check_images\79279             Securitization.pdf                          31977        9/12/2023 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__857413_Collections by
01 - 2024-05-31\check_images\79279             Securitization 10102023.pdf                 32534       10/13/2023 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__872017_Collections by
01 - 2024-05-31\check_images\79279             Securitization 11102023.pdf                 43188      11/15/2023 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__884801_Collections by
01 - 2024-05-31\check_images\79279             Securitization.pdf                          31832       12/14/2023 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__896063_Collections by
01 - 2024-05-31\check_images\79279             Securitization.pdf                          31409        1/10/2024 7:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__908987_Collections by
01 - 2024-05-31\check_images\79279             Securitization.pdf                          31708         2/9/2024 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__921716_Collections by
01 - 2024-05-31\check_images\79279             Securitization.pdf                          28801        3/11/2024 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__935165_Collections by
01 - 2024-05-31\check_images\79279             Securitization.pdf                          31194         4/9/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__948914_Collections by
01 - 2024-05-31\check_images\79279             Securitization.pdf                          30949         5/9/2024 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-01__613991_Copy of JGW Sutton
01 - 2024-05-31\check_images\79280             Collections March.xlsx                      20238        4/7/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79280             2022-05-01__623220_JGW 4 28 2022.pdf        33647       4/28/2022 10:23




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-01__635119_Collections by
01 - 2024-05-31\check_images\79280             Securitization 05232022.pdf               2969      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-01__651619_Collections by
01 - 2024-05-31\check_images\79280             Securitization 06272022.pdf               4080      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-01__664223_Collections by
01 - 2024-05-31\check_images\79280             Securitization.pdf                        9248        8/1/2022 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-01__677295_Collections by
01 - 2024-05-31\check_images\79280             Securitization 08252022.pdf               2595      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-01__691411_Collections by
01 - 2024-05-31\check_images\79280             Securitization.pdf                        8417       9/29/2022 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-01__702954_Collections by
01 - 2024-05-31\check_images\79280             Securitization.pdf                        8223      10/28/2022 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__716967_Collections by
01 - 2024-05-31\check_images\79280             Securitization.pdf                        9039      11/30/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__729485_Collections by
01 - 2024-05-31\check_images\79280             Securitization.pdf                        8633      12/30/2022 8:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__741538_Collections by
01 - 2024-05-31\check_images\79280             Securitization 01232023.pdf               3158      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__754583_Collections by
01 - 2024-05-31\check_images\79280             Securitization.pdf                        9443       2/24/2023 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__770555_Collections by
01 - 2024-05-31\check_images\79280             Securitization.pdf                        8607       3/30/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__782969_Collections by
01 - 2024-05-31\check_images\79280             Securitization.pdf                        8415       4/28/2023 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__799194_Collections by
01 - 2024-05-31\check_images\79280             Securitization 05302023.pdf               3519      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__811544_Collections by
01 - 2024-05-31\check_images\79280             Securitization.pdf                      29714         7/3/2023 7:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__827360_Collections by
01 - 2024-05-31\check_images\79280             Securitization.pdf                     157010         8/3/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__838957_Collections by
01 - 2024-05-31\check_images\79280             Securitization.pdf                      30469        8/31/2023 7:47




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__850513_Collections by
01 - 2024-05-31\check_images\79280             Securitization.pdf                       30785        9/28/2023 7:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__866812_Collections by
01 - 2024-05-31\check_images\79280             Securitization 10302023.pdf                4835      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__878178_Collections by
01 - 2024-05-31\check_images\79280             Securitization.pdf                       28745       11/30/2023 7:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__892035_Collections by
01 - 2024-05-31\check_images\79280             Securitization.pdf                       31012         1/3/2024 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__905070_Collections by
01 - 2024-05-31\check_images\79280             Securitization.pdf                       31474         2/1/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__917386_Collections by
01 - 2024-05-31\check_images\79280             Securitization.pdf                       31373        2/29/2024 7:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__933944_Collections by
01 - 2024-05-31\check_images\79280             Securitization.pdf                       32309         4/4/2024 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__942027_Collections by
01 - 2024-05-31\check_images\79280             Securitization.pdf                       30591        4/29/2024 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79281             2022-04-02__618610_JGW Deposit.pdf      168286       4/19/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-02__622353_Collections by
01 - 2024-05-31\check_images\79281             Securitization 4 23 2022.pdf             33700       4/26/2022 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-02__629814_Collections by
01 - 2024-05-31\check_images\79281             Securitization 05092022.pdf                2965      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-02__642160_Collections by
01 - 2024-05-31\check_images\79281             Securitization 06062022.pdf                2390      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-02__656615_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-02__670029_Collections by
01 - 2024-05-31\check_images\79281             Securitization.pdf                         7951       8/11/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-02__682592_Collections by
01 - 2024-05-31\check_images\79281             Securitization.pdf                         8213        9/9/2022 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-02__697900_Collections by
01 - 2024-05-31\check_images\79281             Securitization.pdf                         8813      10/14/2022 8:07




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SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-02__710099_Collections by
01 - 2024-05-31\check_images\79281             Securitization.pdf                        8421     11/14/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-02__722849_Collections by
01 - 2024-05-31\check_images\79281             Securitization.pdf                        9222      12/13/2022 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-02__736563_Collections by
01 - 2024-05-31\check_images\79281             Securitization 01092023.pdf               2151      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-02__748363_Collections by
01 - 2024-05-31\check_images\79281             Securitization.pdf                        8766        2/9/2023 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-02__762471_Collections by
01 - 2024-05-31\check_images\79281             Securitization.pdf                        9823       3/13/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-02__774674_Collections by
01 - 2024-05-31\check_images\79281             Securitization.pdf                        9225        4/7/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-02__789709_Collections by
01 - 2024-05-31\check_images\79281             Securitization.pdf                        9232       5/12/2023 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-02__802345_Collections by
01 - 2024-05-31\check_images\79281             Securitization.pdf                        8222       6/12/2023 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-02__816751_Collections by
01 - 2024-05-31\check_images\79281             Securitization.pdf                      31083        7/12/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-02__830471_Collections by
01 - 2024-05-31\check_images\79281             Securitization 08092023.pdf               2779      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-02__844494_Collections by
01 - 2024-05-31\check_images\79281             Securitization.pdf                        6310       9/14/2023 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-02__859100_Collections by
01 - 2024-05-31\check_images\79281             Securitization.pdf                      30561       10/17/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-02__871947_Collections by
01 - 2024-05-31\check_images\79281             Securitization 11092023.pdf             31843      11/15/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-02__884807_Collections by
01 - 2024-05-31\check_images\79281             Securitization.pdf                      31832       12/14/2023 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-02__900310_Collections by
01 - 2024-05-31\check_images\79281             Securitization.pdf                      31424        1/22/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-02__908992_Collections by
01 - 2024-05-31\check_images\79281             Securitization.pdf                      31708         2/9/2024 7:35




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-02__923445_Collections by
01 - 2024-05-31\check_images\79281             Securitization.pdf                       29778        3/13/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-02__936346_Collections by
01 - 2024-05-31\check_images\79281             Securitization.pdf                       31113        4/12/2024 7:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-02__949054_Collections by
01 - 2024-05-31\check_images\79281             Securitization 05072024.pdf              50371        5/10/2024 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79282             2022-04-08__618540_JGW Deposit.pdf      168286       4/19/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-08__627765_Collections by
01 - 2024-05-31\check_images\79282             Securitization 05042022.pdf                2579      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-08__642667_Collections by
01 - 2024-05-31\check_images\79282             Securitization.pdf                         8591       6/10/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-08__655564_Collections by
01 - 2024-05-31\check_images\79282             Securitization.pdf                         8215       7/11/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-08__683831_Collections by
01 - 2024-05-31\check_images\79282             Securitization.pdf                         9406       9/13/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-08__683829_Collections by
01 - 2024-05-31\check_images\79282             Securitization.pdf                         9406       9/13/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-08__695709_Collections by
01 - 2024-05-31\check_images\79282             Securitization.pdf                         8791      10/10/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-08__709359_Collections by
01 - 2024-05-31\check_images\79282             Securitization.pdf                         7954      11/11/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-08__721988_Collections by
01 - 2024-05-31\check_images\79282             Securitization.pdf                         7954      12/12/2022 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-08__735753_Collections by
01 - 2024-05-31\check_images\79282             Securitization.pdf                         8784       1/11/2023 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-08__748361_Collections by
01 - 2024-05-31\check_images\79282             Securitization.pdf                         8766        2/9/2023 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-08__761921_Collections by
01 - 2024-05-31\check_images\79282             Securitization.pdf                         8417       3/10/2023 8:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-08__775028_Collections by
01 - 2024-05-31\check_images\79282             Securitization.pdf                         8218       4/10/2023 8:45




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-08__789569_Collections by
01 - 2024-05-31\check_images\79282             Securitization.pdf                        8779       5/11/2023 7:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-08__802126_Collections by
01 - 2024-05-31\check_images\79282             Securitization.pdf                        8767        6/9/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-08__817590_Collections by
01 - 2024-05-31\check_images\79282             Securitization.pdf                      32183        7/13/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-08__833052_Collections by
01 - 2024-05-31\check_images\79282             Securitization.pdf                     183339        8/17/2023 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-08__843434_Collections by
01 - 2024-05-31\check_images\79282             Securitization.pdf                      31977        9/12/2023 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-08__856236_Collections by
01 - 2024-05-31\check_images\79282             Securitization.pdf                      27972       10/11/2023 7:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-08__871949_Collections by
01 - 2024-05-31\check_images\79282             Securitization 11092023.pdf             31843      11/15/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-08__883295_Collections by
01 - 2024-05-31\check_images\79282             Securitization.pdf                      30328       12/12/2023 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-08__896800_Collections by
01 - 2024-05-31\check_images\79282             Securitization.pdf                      31483        1/11/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-08__908993_Collections by
01 - 2024-05-31\check_images\79282             Securitization.pdf                      31708         2/9/2024 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-08__924818_Collections by
01 - 2024-05-31\check_images\79282             Securitization.pdf                      30862        3/18/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-08__936343_Collections by
01 - 2024-05-31\check_images\79282             Securitization.pdf                      31113        4/12/2024 7:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-08__948921_Collections by
01 - 2024-05-31\check_images\79282             Securitization.pdf                      30949         5/9/2024 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-04-23__622253_Collections by
01 - 2024-05-31\check_images\79285             Securitization 4 22 2022.pdf            32068       4/26/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-23__632843_Collections by
01 - 2024-05-31\check_images\79285             Securitization 05202022.pdf               7955       5/20/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-23__648306_Collections by
01 - 2024-05-31\check_images\79285             Securitization 06212022.pdf               2584      10/9/2024 17:20




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-23__660426_Collections by
01 - 2024-05-31\check_images\79285             Securitization.pdf                        6309       7/22/2022 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-23__674319_Collections by
01 - 2024-05-31\check_images\79285             Securitization 08172022.pdf               2583      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-23__687925_Collections by
01 - 2024-05-31\check_images\79285             Securitization.pdf                        9026       9/26/2022 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-23__701139_Collections by
01 - 2024-05-31\check_images\79285             Securitization.pdf                        8780      10/25/2022 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-23__715861_Collections by
01 - 2024-05-31\check_images\79285             Securitization 11212022.pdf               2781      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-23__727406_Collections by
01 - 2024-05-31\check_images\79285             Securitization.pdf                        8410      12/23/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-23__739678_Collections by
01 - 2024-05-31\check_images\79285             Securitization.pdf                        8212       1/23/2023 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-23__754581_Collections by
01 - 2024-05-31\check_images\79285             Securitization.pdf                        9443       2/24/2023 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-23__766796_Collections by
01 - 2024-05-31\check_images\79285             Securitization.pdf                        7951       3/23/2023 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-23__781146_Collections by
01 - 2024-05-31\check_images\79285             Securitization.pdf                        8409       4/25/2023 8:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-23__793123_Collections by
01 - 2024-05-31\check_images\79285             Securitization.pdf                        8787       5/22/2023 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-23__810184_Collections by
01 - 2024-05-31\check_images\79285             Securitization.pdf                      31281        6/28/2023 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-23__823091_Collections by
01 - 2024-05-31\check_images\79285             Securitization.pdf                      28821        7/28/2023 7:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-23__835028_Collections by
01 - 2024-05-31\check_images\79285             Securitization.pdf                     180803        8/24/2023 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-23__847264_Collections by
01 - 2024-05-31\check_images\79285             Securitization.pdf                      29837        9/22/2023 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-23__860170_Collections by
01 - 2024-05-31\check_images\79285             Securitization 10172023.pdf               2772      10/9/2024 17:20




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-23__876057_Collections by
01 - 2024-05-31\check_images\79285             Securitization 11202023.pdf                2791      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-23__887852_Collections by
01 - 2024-05-31\check_images\79285             Securitization.pdf                       30919       12/22/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-23__901573_Collections by
01 - 2024-05-31\check_images\79285             Securitization.pdf                       30610        1/25/2024 7:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-23__914592_Collections by
01 - 2024-05-31\check_images\79285             Securitization.pdf                       30644        2/26/2024 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-23__926758_Collections by
01 - 2024-05-31\check_images\79285             Securitization.pdf                       30446        3/22/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-23__939716_Collections by
01 - 2024-05-31\check_images\79285             Securitization.pdf                       30991        4/22/2024 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-23__954778_Collections by
01 - 2024-05-31\check_images\79285             Securitization.pdf                       31189        5/28/2024 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79286             2022-04-26__618539_JGW Deposit.pdf      168286       4/19/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-26__635117_Collections by
01 - 2024-05-31\check_images\79286             Securitization 05232022.pdf                2969      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-26__648618_Collections by
01 - 2024-05-31\check_images\79286             Securitization.pdf                         8419       6/27/2022 8:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-26__661751_Collections by
01 - 2024-05-31\check_images\79286             Securitization 07212022.pdf                2969      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-26__677291_Collections by
01 - 2024-05-31\check_images\79286             Securitization 08252022.pdf                2595      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-26__687922_Collections by
01 - 2024-05-31\check_images\79286             Securitization.pdf                         9026       9/26/2022 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-26__702310_Collections by
01 - 2024-05-31\check_images\79286             Securitization.pdf                         8600      10/27/2022 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-26__715877_Collections by
01 - 2024-05-31\check_images\79286             Securitization 11212022.pdf                2781      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-26__727407_Collections by
01 - 2024-05-31\check_images\79286             Securitization.pdf                         8410      12/23/2022 8:34




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               All Paths/Locations                                Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-26__741537_Collections by
01 - 2024-05-31\check_images\79286             Securitization 01232023.pdf               3158      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-26__754572_Collections by
01 - 2024-05-31\check_images\79286             Securitization.pdf                        9443       2/24/2023 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-26__766971_Collections by
01 - 2024-05-31\check_images\79286             Securitization.pdf                        8415       3/24/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-26__782688_Collections by
01 - 2024-05-31\check_images\79286             Securitization.pdf                        7955       4/27/2023 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-26__794712_Collections by
01 - 2024-05-31\check_images\79286             Securitization.pdf                        8599       5/26/2023 8:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-26__810183_Collections by
01 - 2024-05-31\check_images\79286             Securitization.pdf                      31281        6/28/2023 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-26__823090_Collections by
01 - 2024-05-31\check_images\79286             Securitization.pdf                      28821        7/28/2023 7:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-26__835111_Collections by
01 - 2024-05-31\check_images\79286             Securitization.pdf                      31442        8/25/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-26__847638_Collections by
01 - 2024-05-31\check_images\79286             Securitization.pdf                      29441        9/25/2023 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-26__862230_Collections by
01 - 2024-05-31\check_images\79286             Securitization.pdf                      30920       10/27/2023 7:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-26__876053_Collections by
01 - 2024-05-31\check_images\79286             Securitization 11202023.pdf               2791      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-26__887959_Collections by
01 - 2024-05-31\check_images\79286             Securitization.pdf                        6305      12/26/2023 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-26__901756_Collections by
01 - 2024-05-31\check_images\79286             Securitization.pdf                      31059        1/26/2024 7:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-26__916092_Collections by
01 - 2024-05-31\check_images\79286             Securitization.pdf                      31476        2/27/2024 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-26__929260_Collections by
01 - 2024-05-31\check_images\79286             Securitization.pdf                      31574        3/28/2024 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-26__941681_Collections by
01 - 2024-05-31\check_images\79286             Securitization.pdf                      30833        4/26/2024 7:35




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-26__954774_Collections by
01 - 2024-05-31\check_images\79286             Securitization.pdf                      31189        5/28/2024 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-01__627773_Collections by
01 - 2024-05-31\check_images\79287             Securitization 05042022.pdf               2579      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-01__641235_Collections by
01 - 2024-05-31\check_images\79287             Securitization.pdf                        8592        6/7/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-01__655566_Collections by
01 - 2024-05-31\check_images\79287             Securitization.pdf                        8215       7/11/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-01__670028_Collections by
01 - 2024-05-31\check_images\79287             Securitization.pdf                        7951       8/11/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-13__672878_Collections by
01 - 2024-05-31\check_images\79287             Securitization.pdf                        8223       8/19/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-01__682839_Collections by
01 - 2024-05-31\check_images\79287             Securitization.pdf                        7949       9/12/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-01__696819_Collections by
01 - 2024-05-31\check_images\79287             Securitization.pdf                        6308      10/12/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-01__709361_Collections by
01 - 2024-05-31\check_images\79287             Securitization.pdf                        7952      11/11/2022 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__723832_Collections by
01 - 2024-05-31\check_images\79287             Securitization.pdf                        8797     12/14/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__736938_Collections by
01 - 2024-05-31\check_images\79287             Securitization.pdf                        9411       1/13/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__748367_Collections by
01 - 2024-05-31\check_images\79287             Securitization.pdf                        8766        2/9/2023 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__763498_Collections by
01 - 2024-05-31\check_images\79287             Securitization.pdf                        7947       3/14/2023 8:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__776958_Collections by
01 - 2024-05-31\check_images\79287             Securitization.pdf                        8591       4/13/2023 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__789564_Collections by
01 - 2024-05-31\check_images\79287             Securitization.pdf                        8779       5/11/2023 7:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__801979_Collections by
01 - 2024-05-31\check_images\79287             Securitization.pdf                        9411        6/8/2023 7:56




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__818116_Collections by
01 - 2024-05-31\check_images\79287             Securitization.pdf                      28027        7/17/2023 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__829220_Collections by
01 - 2024-05-31\check_images\79287             Securitization.pdf                     182881         8/9/2023 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-13__833369_Collections by
01 - 2024-05-31\check_images\79287             Securitization.pdf                     181803        8/21/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__850908_Collections by
01 - 2024-05-31\check_images\79287             Securitization.pdf                      31964        9/29/2023 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__861866_Collections by
01 - 2024-05-31\check_images\79287             Securitization.pdf                      30423       10/26/2023 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__902027_Collections by
01 - 2024-05-31\check_images\79287             Securitization 01292024.pdf               2157      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__896975_Collections by
01 - 2024-05-31\check_images\79287             Securitization.pdf                      30558        1/12/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__896979_Collections by
01 - 2024-05-31\check_images\79287             Securitization.pdf                      30558        1/12/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__916091_Collections by
01 - 2024-05-31\check_images\79287             Securitization.pdf                      31476        2/27/2024 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__929257_Collections by
01 - 2024-05-31\check_images\79287             Securitization.pdf                      31574        3/28/2024 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__957345_Collections by
01 - 2024-05-31\check_images\79287             Securitization 05242024.pdf             46855        5/30/2024 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__948911_Collections by
01 - 2024-05-31\check_images\79287             Securitization.pdf                      30949         5/9/2024 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-06__644113_Collections by
01 - 2024-05-31\check_images\79290             Securitization.pdf                        6308       6/14/2022 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-06__655565_Collections by
01 - 2024-05-31\check_images\79290             Securitization.pdf                        8215       7/11/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-06__672879_Collections by
01 - 2024-05-31\check_images\79290             Securitization.pdf                        8223       8/19/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-06__683838_Collections by
01 - 2024-05-31\check_images\79290             Securitization.pdf                        9406       9/13/2022 8:22




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-06__695721_Collections by
01 - 2024-05-31\check_images\79290             Securitization.pdf                        7959     10/11/2022 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-06__709356_Collections by
01 - 2024-05-31\check_images\79290             Securitization.pdf                        7954      11/11/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-06__722848_Collections by
01 - 2024-05-31\check_images\79290             Securitization.pdf                        9222      12/13/2022 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-06__735757_Collections by
01 - 2024-05-31\check_images\79290             Securitization.pdf                        8784       1/11/2023 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-06__749175_Collections by
01 - 2024-05-31\check_images\79290             Securitization 02082023.pdf               2970      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-06__762422_Collections by
01 - 2024-05-31\check_images\79290             Securitization.pdf                        9823       3/13/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-06__776077_Collections by
01 - 2024-05-31\check_images\79290             Securitization.pdf                        7944       4/11/2023 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-06__789717_Collections by
01 - 2024-05-31\check_images\79290             Securitization.pdf                        9232       5/12/2023 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-06__804311_Collections by
01 - 2024-05-31\check_images\79290             Securitization.pdf                        8403       6/14/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-06__817595_Collections by
01 - 2024-05-31\check_images\79290             Securitization.pdf                      32183        7/13/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-06__830141_Collections by
01 - 2024-05-31\check_images\79290             Securitization.pdf                     182885        8/10/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-06__843435_Collections by
01 - 2024-05-31\check_images\79290             Securitization.pdf                      31977        9/12/2023 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-06__857414_Collections by
01 - 2024-05-31\check_images\79290             Securitization 10102023.pdf             32534       10/13/2023 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-06__869534_Collections by
01 - 2024-05-31\check_images\79290             Securitization 11082023.pdf               2395      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-06__882508_Collections by
01 - 2024-05-31\check_images\79290             Securitization.pdf                      31746       12/11/2023 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-06__897180_Collections by
01 - 2024-05-31\check_images\79290             Securitization 01102024.pdf               7955       1/16/2024 9:28




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-06__908990_Collections by
01 - 2024-05-31\check_images\79290             Securitization.pdf                      31708         2/9/2024 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-06__923976_Collections by
01 - 2024-05-31\check_images\79290             Securitization.pdf                      28835        3/14/2024 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-06__936347_Collections by
01 - 2024-05-31\check_images\79290             Securitization.pdf                      31113        4/12/2024 7:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-06__948917_Collections by
01 - 2024-05-31\check_images\79290             Securitization.pdf                      30949         5/9/2024 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-01__667125_Collections by
01 - 2024-05-31\check_images\79292             Securitization 08012022.pdf               3692      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-08__685198_Collections by
01 - 2024-05-31\check_images\79292             Securitization 09122022.pdf               2383      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-01__695009_Collections by
01 - 2024-05-31\check_images\79292             Securitization.pdf                        8591       10/6/2022 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-01__708526_Collections by
01 - 2024-05-31\check_images\79292             Securitization.pdf                        9211       11/8/2022 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-01__721252_Collections by
01 - 2024-05-31\check_images\79292             Securitization 12052022.pdf               2382      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-01__734005_Collections by
01 - 2024-05-31\check_images\79292             Securitization 01042023.pdf               2765      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-01__748364_Collections by
01 - 2024-05-31\check_images\79292             Securitization.pdf                        8766        2/9/2023 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-01__761428_Collections by
01 - 2024-05-31\check_images\79292             Securitization 03032023.pdf               2765      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-01__774413_Collections by
01 - 2024-05-31\check_images\79292             Securitization.pdf                        9949        4/6/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-01__787404_Collections by
01 - 2024-05-31\check_images\79292             Securitization.pdf                        9967        5/8/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-01__802124_Collections by
01 - 2024-05-31\check_images\79292             Securitization.pdf                        8767        6/9/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-01__814588_Collections by
01 - 2024-05-31\check_images\79292             Securitization.pdf                      31454         7/7/2023 7:56




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               All Paths/Locations                                Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-01__827976_Collections by
01 - 2024-05-31\check_images\79292             Securitization.pdf                     185664         8/7/2023 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__842194_Collections by
01 - 2024-05-31\check_images\79292             Securitization 09012023.pdf               3500      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-01__854480_Collections by
01 - 2024-05-31\check_images\79292             Securitization.pdf                      31318        10/5/2023 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-01__868564_Collections by
01 - 2024-05-31\check_images\79292             Securitization.pdf                      30923        11/8/2023 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-01__882103_Collections by
01 - 2024-05-31\check_images\79292             Securitization 12042023.pdf             33142        12/7/2023 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-01__896068_Collections by
01 - 2024-05-31\check_images\79292             Securitization.pdf                      31409        1/10/2024 7:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-01__908818_Collections by
01 - 2024-05-31\check_images\79292             Securitization.pdf                      31265         2/8/2024 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-01__920713_Collections by
01 - 2024-05-31\check_images\79292             Securitization.pdf                      30675         3/6/2024 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-01__934128_Collections by
01 - 2024-05-31\check_images\79292             Securitization.pdf                      31771         4/5/2024 7:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-01__947660_Collections by
01 - 2024-05-31\check_images\79292             Securitization.pdf                      30959         5/7/2024 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-07__671020_Collections by
01 - 2024-05-31\check_images\79293             Securitization 08102022.pdf               3335      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-07__683841_Collections by
01 - 2024-05-31\check_images\79293             Securitization.pdf                        9406       9/13/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-07__697894_Collections by
01 - 2024-05-31\check_images\79293             Securitization.pdf                        8813      10/14/2022 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-07__709362_Collections by
01 - 2024-05-31\check_images\79293             Securitization.pdf                        7952      11/11/2022 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-07__723865_Collections by
01 - 2024-05-31\check_images\79293             Securitization.pdf                        8797     12/14/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-07__737177_Collections by
01 - 2024-05-31\check_images\79293             Securitization.pdf                        8606       1/17/2023 8:26




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               All Paths/Locations                                Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-07__750249_Collections by
01 - 2024-05-31\check_images\79293             Securitization.pdf                        8599       2/14/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-07__762458_Collections by
01 - 2024-05-31\check_images\79293             Securitization.pdf                        9823       3/13/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-07__779031_Collections by
01 - 2024-05-31\check_images\79293             Securitization.pdf                        7950       4/19/2023 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-07__790018_Collections by
01 - 2024-05-31\check_images\79293             Securitization 05102023.pdf               3153      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-07__803528_Collections by
01 - 2024-05-31\check_images\79293             Securitization.pdf                        6306       6/13/2023 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-07__819584_Collections by
01 - 2024-05-31\check_images\79293             Securitization.pdf                      31684        7/19/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-07__830244_Collections by
01 - 2024-05-31\check_images\79293             Securitization.pdf                     182688        8/11/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-07__857947_Collections by
01 - 2024-05-31\check_images\79293             Securitization.pdf                      30670       10/16/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-07__872013_Collections by
01 - 2024-05-31\check_images\79293             Securitization 11102023.pdf             43188      11/15/2023 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-07__885010_Collections by
01 - 2024-05-31\check_images\79293             Securitization.pdf                      31216       12/15/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-07__887156_Collections by
01 - 2024-05-31\check_images\79293             Securitization 12142023.pdf             31616       12/20/2023 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-07__899693_Collections by
01 - 2024-05-31\check_images\79293             Securitization.pdf                      31257        1/18/2024 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-07__909159_Collections by
01 - 2024-05-31\check_images\79293             Securitization.pdf                      32078        2/12/2024 8:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-07__922895_Collections by
01 - 2024-05-31\check_images\79293             Securitization.pdf                      29327        3/12/2024 7:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-07__939413_Collections by
01 - 2024-05-31\check_images\79293             Securitization.pdf                      31175        4/18/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-07__949052_Collections by
01 - 2024-05-31\check_images\79293             Securitization 05072024.pdf             50371        5/10/2024 8:30




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               All Paths/Locations                                Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-12__739219_Collections by
01 - 2024-05-31\check_images\79296             Securitization.pdf                        8782       1/19/2023 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-12__752269_Collections by
01 - 2024-05-31\check_images\79296             Securitization.pdf                        8410       2/21/2023 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-12__765322_Collections by
01 - 2024-05-31\check_images\79296             Securitization.pdf                        8779       3/20/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-12__779844_Collections by
01 - 2024-05-31\check_images\79296             Securitization.pdf                        6309       4/21/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-12__792847_Collections by
01 - 2024-05-31\check_images\79296             Securitization 05162023.pdf               2587      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-12__805420_Collections by
01 - 2024-05-31\check_images\79296             Securitization.pdf                      31629       6/16/2023 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-12__819585_Collections by
01 - 2024-05-31\check_images\79296             Securitization.pdf                      31684        7/19/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-12__833164_Collections by
01 - 2024-05-31\check_images\79296             Securitization.pdf                     181752        8/18/2023 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-12__846249_Collections by
01 - 2024-05-31\check_images\79296             Securitization.pdf                        6309       9/19/2023 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-12__859556_Collections by
01 - 2024-05-31\check_images\79296             Securitization.pdf                      28575       10/18/2023 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-12__873840_Collections by
01 - 2024-05-31\check_images\79296             Securitization.pdf                      31024       11/21/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-12__893631_Collections by
01 - 2024-05-31\check_images\79296             Securitization.pdf                      28963         1/4/2024 7:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-12__900313_Collections by
01 - 2024-05-31\check_images\79296             Securitization.pdf                      31424        1/22/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-12__912207_Collections by
01 - 2024-05-31\check_images\79296             Securitization 02142024.pdf             32391        2/20/2024 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-12__939414_Collections by
01 - 2024-05-31\check_images\79296             Securitization.pdf                      31175        4/18/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-12__952489_Collections by
01 - 2024-05-31\check_images\79296             Securitization.pdf                      31993        5/20/2024 7:57




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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-12__957335_Collections by
01 - 2024-05-31\check_images\79296             Securitization 05242024.pdf                     46855       5/30/2024 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-22__835110_Collections by
01 - 2024-05-31\check_images\79298             Securitization.pdf                              31442       8/25/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-01__675739_3394751-13-6000.00
01 - 2024-05-31\check_images\79353             USD.pdf                                         31879      8/26/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-01__837291_item-3_3739619-3-
01 - 2024-05-31\check_images\79353             6000.00 USD.pdf                                 36359      8/29/2023 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-10__895666_item-10_42468523-10-
01 - 2024-05-31\check_images\79368             1875.14 USD.pdf                                 74716       1/9/2024 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-10__910181_item-14_42526560-14-
01 - 2024-05-31\check_images\79368             1875.14 USD.pdf                                 67506      2/12/2024 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-10__922235_item-33_42577385-33-
01 - 2024-05-31\check_images\79368             1875.14 USD.pdf                                 69697       3/11/2024 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-10__940622_item-18_42630986-18-
01 - 2024-05-31\check_images\79368             1875.14 USD.pdf                                 78089      4/23/2024 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-10__949003_item-2_42686526-2-
01 - 2024-05-31\check_images\79368             1875.14 USD.pdf                                 75664       5/9/2024 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-05-16__631030_3750296023-32-1150.92
01 - 2024-05-31\check_images\79374             USD.pdf                                         92602      5/16/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-06-16__644990_3750297691-4-1150.92
01 - 2024-05-31\check_images\79374             USD.pdf                                         95537      6/15/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-07-16__659381_3750299462-33-1150.92
01 - 2024-05-31\check_images\79374             USD.pdf                                         38572      7/19/2022 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-08-16__671694_3750301256-1-1150.92
01 - 2024-05-31\check_images\79374             USD.pdf                                         93267      8/15/2022 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-09-16__686236_item-11_3750302908-11-
01 - 2024-05-31\check_images\79374             1150.92 USD.pdf                                109233      9/19/2022 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-10-16__699221_item-11_3750304516-11-
01 - 2024-05-31\check_images\79374             1150.92 USD.pdf                                 93355     10/17/2022 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-11-16__711455_item-36_3750306132-36-
01 - 2024-05-31\check_images\79374             1150.92 USD.pdf                                104593     11/15/2022 15:58




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               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2022-12-16__725235_item-7_3750307864-7-
01 - 2024-05-31\check_images\79374             1150.92 USD.pdf                                 96943     12/19/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-01-16__738235_item-35_3750309634-35-
01 - 2024-05-31\check_images\79374             1150.92 USD.pdf                                 92824       1/17/2023 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-02-16__751927_item-1_3750311202-1-
01 - 2024-05-31\check_images\79374             1150.92 USD.pdf                                 77790       2/17/2023 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-03-16__766828_item-14_3750312770-14-
01 - 2024-05-31\check_images\79374             1150.92 USD.pdf                                 92740       3/23/2023 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-04-16__777992_item-30_3750314400-30-
01 - 2024-05-31\check_images\79374             1150.92 USD.pdf                                 99751      4/17/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-05-16__791368_item-28_3750316033-28-
01 - 2024-05-31\check_images\79374             1185.45 USD.pdf                                100806      5/15/2023 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-06-16__805762_item-5_3750317666-5-
01 - 2024-05-31\check_images\79374             1185.45 USD.pdf                                 97153      6/20/2023 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-07-16__818675_item-31_3750319437-31-
01 - 2024-05-31\check_images\79374             1185.45 USD.pdf                                 95428      7/17/2023 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-08-16__832203_item-8_3750321156-8-
01 - 2024-05-31\check_images\79374             1185.45 USD.pdf                                 96843      8/15/2023 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-16__845327_item-13_3750322676-13-
01 - 2024-05-31\check_images\79374             1185.45 USD.pdf                                 91246       9/18/2023 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-16__859057_item-44_3750324236-44-
01 - 2024-05-31\check_images\79374             1185.45 USD.pdf                                103031      10/16/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-16__872444_item-2_3750325919-2-
01 - 2024-05-31\check_images\79374             1185.45 USD.pdf                                103869     11/16/2023 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-16__890727_item-37_3750327527-37-
01 - 2024-05-31\check_images\79374             1185.45 USD.pdf                                 92284     12/29/2023 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-01-16__898621_item-37_3750329243-37-
01 - 2024-05-31\check_images\79374             1185.45 USD.pdf                                 75232      1/16/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-16__913251_item-13_3750330902-13-
01 - 2024-05-31\check_images\79374             1185.45 USD.pdf                                 76606      2/20/2024 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-16__925312_item-27_3750332445-27-
01 - 2024-05-31\check_images\79374             1185.45 USD.pdf                                 99676       3/18/2024 9:48




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-16__937680_item-28_3750333997-28-
01 - 2024-05-31\check_images\79374              1185.45 USD.pdf                                 37699      4/15/2024 17:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-05-16__951402_item-16_3750335551-16-
01 - 2024-05-31\check_images\79374              1221.01 USD.pdf                                 46994       5/15/2024 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-09-07__841091_item-29_4300406150-29-
01 - 2024-05-31\check_images\79375              2699.26 USD.pdf                                 85324       9/5/2023 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-10-07__853388_item-35_4300408054-35-
01 - 2024-05-31\check_images\79375              2699.26 USD.pdf                                 94910      10/3/2023 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-11-07__867493_item-43_4300409993-43-
01 - 2024-05-31\check_images\79375              2699.26 USD.pdf                                 91115      11/6/2023 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2023-12-07__880095_item-39_4300411847-39-
01 - 2024-05-31\check_images\79375              2699.26 USD.pdf                                 67136       12/4/2023 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79375              2024-01-07__894290_4300413691 2699.26.pdf      453873        1/5/2024 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-02-07__907167_item-24_4300415572-24-
01 - 2024-05-31\check_images\79375              2699.26 USD.pdf                                 85171       2/5/2024 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-03-07__920898_item-37_4300417413-37-
01 - 2024-05-31\check_images\79375              2699.26 USD.pdf                                100802       3/6/2024 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Dorchester II 2021-01- 2024-04-07__933209_item-19_4300419325-19-
01 - 2024-05-31\check_images\79375              2699.26 USD.pdf                                 75048       4/3/2024 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2022-08-01__665493_2265_3_23.pdf                79438       8/1/2022 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2022-09-01__678256_2265_50_5.pdf                75313      8/30/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2022-10-01__691313_item-6_2265_41_6.pdf         75213      9/28/2022 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2022-11-01__706726_item-84_2265_2_36.pdf        74785      11/2/2022 10:41



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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2022-12-01__720845_item-27_2265_11_27.pdf        78461      12/7/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2023-01-01__730113_item-16_2265_1_16.pdf         73943       1/3/2023 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2023-02-01__743475_item-206_2265_53_42.pdf       77606       1/30/2023 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2023-03-01__757003_item-105_2265_48_3.pdf        78800      2/27/2023 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2023-04-01__770842_item-12_2265_54_12.pdf        75874       3/30/2023 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2023-05-01__785615_item-187_2265_5_18.pdf        73816       5/1/2023 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2023-06-01__799115_item-212_2265_55_12.pdf       84659       6/1/2023 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2023-07-01__812891_item-64_2265_3_14.pdf         83783       7/3/2023 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2023-08-01__826300_item-242_2265_56_5.pdf        78373      7/31/2023 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2023-09-01__838407_item-1_2265_55_1.pdf          74574      8/30/2023 10:52



                                                           264
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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2023-10-01__853792_item-55_2265_10_5.pdf         76625      10/3/2023 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2023-11-01__865263_item-330_2265_58_49.pdf       75827     10/30/2023 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2023-12-01__879467_item-88_2265_6_19.pdf         75101       12/4/2023 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2024-01-01__892950_item-262_2265_10_17.pdf       73841        1/2/2024 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2024-02-01__905237_item-33_2265_57_33.pdf        76465        2/1/2024 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2024-03-01__914792_item-138_2265_38_2.pdf        69948       2/26/2024 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2024-04-01__930711_item-23_2265_2_3.pdf         119851       4/1/2024 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2024-05-01__941725_item-17_2265_50_17.pdf        83806       4/26/2024 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-14__948977_73146 Melvin Jones Oct
2024-05-31\check_images\73146                   2022 Mar 2024.pdf                               244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-14__948979_73146 Melvin Jones Oct
2024-05-31\check_images\73146                   2022 Mar 2024.pdf                               244602       4/29/2024 9:43



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 267 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-14__948981_73146 Melvin Jones Oct
2024-05-31\check_images\73146                   2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-14__948982_73146 Melvin Jones Oct
2024-05-31\check_images\73146                   2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-14__948983_73146 Melvin Jones Oct
2024-05-31\check_images\73146                   2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-14__948984_73146 Melvin Jones Oct
2024-05-31\check_images\73146                   2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-14__948985_73146 Melvin Jones Oct
2024-05-31\check_images\73146                   2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-14__948986_73146 Melvin Jones Oct
2024-05-31\check_images\73146                   2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-14__948987_73146 Melvin Jones Oct
2024-05-31\check_images\73146                   2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-14__948988_73146 Melvin Jones Oct
2024-05-31\check_images\73146                   2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-14__948989_73146 Melvin Jones Oct
2024-05-31\check_images\73146                   2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-14__948990_73146 Melvin Jones Oct
2024-05-31\check_images\73146                   2022 Mar 2024.pdf                              244602       4/29/2024 9:43



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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-14__948991_73146 Melvin Jones Oct
2024-05-31\check_images\73146                   2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-14__948992_73146 Melvin Jones Oct
2024-05-31\check_images\73146                   2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-14__948994_73146 Melvin Jones Oct
2024-05-31\check_images\73146                   2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-14__948993_73146 Melvin Jones Oct
2024-05-31\check_images\73146                   2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-14__948995_73146 Melvin Jones Oct
2024-05-31\check_images\73146                   2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-14__948996_73146 Melvin Jones Oct
2024-05-31\check_images\73146                   2022 Mar 2024.pdf                              244602       4/29/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-14__937998_item-40_4491233387-40-
2024-05-31\check_images\73146                   400.00 USD.pdf                                  80609       4/16/2024 7:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-14__951241_item-13_4491242228-13-
2024-05-31\check_images\73146                   400.00 USD.pdf                                  98201      5/14/2024 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-02-17__587300_41217849-10-2308.43
2024-05-31\check_images\74454                   USD.pdf                                         70267       2/16/2022 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-03-17__603424_41276299-23-2308.43
2024-05-31\check_images\74454                   USD.pdf                                         72383       3/22/2022 9:52



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               All Paths/Locations                              Unified Title              File Size   Primary Date/Time
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-17__618145_41340040-24-2308.43
2024-05-31\check_images\74454                   USD.pdf                                        77437      4/18/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-17__630102_41396660-16-2308.43
2024-05-31\check_images\74454                   USD.pdf                                        70833      5/13/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-17__645973_41453948-19-2308.43
2024-05-31\check_images\74454                   USD.pdf                                        69957      6/17/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-17__659024_41507535-23-2308.43
2024-05-31\check_images\74454                   USD.pdf                                        69178      7/18/2022 22:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-17__671995_41563540-22-2308.43
2024-05-31\check_images\74454                   USD.pdf                                        71476      8/16/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-17__686290_item-1_41619633-1-
2024-05-31\check_images\74454                   2308.43 USD.pdf                                71108      9/19/2022 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\74454                   2022-10-17__699959_item 12 - 2308.43.pdf       79201     10/19/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-17__711661_item-35_41726734-35-
2024-05-31\check_images\74454                   2308.43 USD.pdf                                78181     11/16/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-17__726156_item-26_41780585-26-
2024-05-31\check_images\74454                   2308.43 USD.pdf                                75738     12/19/2022 16:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-17__737848_item-4_41832665-4-
2024-05-31\check_images\74454                   2377.68 USD.pdf                                68537      1/17/2023 12:34



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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-17__751462_item-14_41892336-14-
2024-05-31\check_images\74454                   2377.68 USD.pdf                               66106      2/15/2023 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-17__764057_item-27_41944802-27-
2024-05-31\check_images\74454                   2377.68 USD.pdf                               75191      3/14/2023 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-17__778191_item-18_41998279-18-
2024-05-31\check_images\74454                   2377.68 USD.pdf                               68920      4/17/2023 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-17__791627_item-5_42055378-5-
2024-05-31\check_images\74454                   2377.68 USD.pdf                               65688      5/16/2023 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-17__805363_item-6_42110392-6-
2024-05-31\check_images\74454                   2377.68 USD.pdf                               65281      6/16/2023 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-17__818144_item-5_42159155-5-
2024-05-31\check_images\74454                   2377.68 USD.pdf                               71241      7/17/2023 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-17__832446_item-29_42214876-29-
2024-05-31\check_images\74454                   2377.68 USD.pdf                               71974      8/16/2023 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-17__846268_item-9_42267022-9-
2024-05-31\check_images\74454                   2377.68 USD.pdf                               69795       9/19/2023 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-17__858597_item-21_42319707-21-
2024-05-31\check_images\74454                   2377.68 USD.pdf                               64292      10/16/2023 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-17__872963_item-2_42376120-2-
2024-05-31\check_images\74454                   2377.68 USD.pdf                               71521     11/17/2023 10:40



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               All Paths/Locations                              Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-17__885404_item-10_42426481-10-
2024-05-31\check_images\74454                   2377.68 USD.pdf                                    69720      12/18/2023 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-17__900476_item-18_42479417-18-
2024-05-31\check_images\74454                   2449.01 USD.pdf                                    68925      1/22/2024 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-17__913042_item-42_42536340-42-
2024-05-31\check_images\74454                   2449.01 USD.pdf                                    70964       2/20/2024 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-17__925788_item-4_42587471-4-
2024-05-31\check_images\74454                   2449.01 USD.pdf                                    79295       3/19/2024 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-17__939564_item-24_42640226-24-
2024-05-31\check_images\74454                   2449.01 USD.pdf                                    74767      4/18/2024 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-17__953424_item-43_42695781-43-
2024-05-31\check_images\74454                   2449.01 USD.pdf                                    70630      5/21/2024 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\74589                   2022-01-19__609800_Goldstar 3 24 2022.pdf         239637      3/31/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\74589                   2022-02-19__609801_Goldstar 3 24 2022.pdf         239637      3/31/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\74589                   2022-03-19__609802_Goldstar 3 24 2022.pdf         239637      3/31/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-19__619285_Goldstar Deposit for 4 19
2024-05-31\check_images\74589                   2022.pdf                                          662925      4/20/2022 12:23



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               All Paths/Locations                              Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-19__632846_GoldStar Wire Info 5 19
2024-05-31\check_images\74589                   2022.pdf                                          327430      5/19/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\74589                   2022-06-19__646111_Goldstar 6 21 2022.pdf         921719       6/21/2022 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-19__659660_Goldstar Deposit 7 20
2024-05-31\check_images\74589                   2022.pdf                                          283773       7/20/2022 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-19__674810_Goldstar Posting
2024-05-31\check_images\74589                   08252022.pdf                                      928740      8/25/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\74589                   2022-09-19__687356_Goldstar 9 22 2022.pdf         928591       9/22/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\74589                   2022-10-19__700313_Goldstar 10 21 22.pdf          894046      10/21/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\74589                   2022-11-19__714026_Goldstar 11 22 2022.pdf        907841     11/22/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\74589                   2022-12-19__725844_Goldstar 12 20 2022.pdf        908811      12/20/2022 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\74589                   2023-01-19__739573_goldstar 1 20 2023 II.pdf      917176       1/20/2023 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\74589                   2023-02-19__753387_goldstar 2 22 2023.pdf         909247       2/22/2023 9:28



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               All Paths/Locations                              Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\74589                   2023-03-19__766462_goldstar 3 22 2023.pdf        909323       3/22/2023 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\74589                   2023-04-19__777490_goldstar 4 14 2023.pdf        910583      4/14/2023 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\74589                   2023-05-19__793167_goldstar 5 22 2023.pdf        906383       5/22/2023 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\74589                   2023-06-19__806558_goldstar 6 21 2023.pdf        895237      6/21/2023 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\74589                   2023-07-19__820991_goldstar 7 24 2023.pdf        890927      7/24/2023 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\74589                   2023-08-19__834532_goldstar 8 22 2023.pdf        893607      8/22/2023 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-19__846871_FW Goldstar Deposit from
2024-05-31\check_images\74589                   9_13_2023 to 9_19_2023.pdf                       204737      9/20/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-19__867474_FW Goldstar Deposit from
2024-05-31\check_images\74589                   10_11_2023 to 11_03_2023.pdf                     899493      11/6/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\74589                   2023-11-19__876143_goldstar 11 28 2023.pdf       970498      11/28/2023 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\74589                   2023-12-19__886379_GoldStar 12192023.pdf         106232      12/19/2023 9:40



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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\74589                   2024-01-19__900568_Goldstar 1 22 2024.pdf      886744       1/22/2024 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\74589                   2024-02-19__912774_GoldStar 02202024.pdf        77568      2/20/2024 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\74589                   2024-03-19__926256_GoldStar 03202024.pdf       110965      3/20/2024 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\74589                   2024-04-19__939998_GoldStar 04192024.pdf       152225      4/22/2024 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\74589                   2024-05-19__953469_GoldStar 05212024.pdf       154004      5/21/2024 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__813115_item-24_147765052-24-
2024-05-31\check_images\76138                   9800.00 USD.pdf                                 56376       7/3/2023 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__827413_item-16_147782124-16-
2024-05-31\check_images\76138                   9800.00 USD.pdf                                 56120        8/3/2023 9:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__840590_item-24_147799245-24-
2024-05-31\check_images\76138                   9800.00 USD.pdf                                 57577       9/5/2023 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__852714_item-22_147816102-22-
2024-05-31\check_images\76138                   9800.00 USD.pdf                                 61418       10/3/2023 7:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__866843_item-8_147833002-8-
2024-05-31\check_images\76138                   9800.00 USD.pdf                                 56631       11/3/2023 8:27



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               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__879206_item-18_147849404-18-
2024-05-31\check_images\76138                   9800.00 USD.pdf                                 53063       12/4/2023 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__891862_item-38_147865574-38-
2024-05-31\check_images\76138                   9800.00 USD.pdf                                 56144       1/2/2024 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__906722_item-14_147883251-14-
2024-05-31\check_images\76138                   9800.00 USD.pdf                                 64196       2/5/2024 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__919621_item-35_147899477-35-
2024-05-31\check_images\76138                   9800.00 USD.pdf                                 56072        3/4/2024 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__932090_item-17_147915539-17-
2024-05-31\check_images\76138                   9800.00 USD.pdf                                 61122       4/2/2024 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__944869_item-18_147932497-18-
2024-05-31\check_images\76138                   9800.00 USD.pdf                                 56500       5/1/2024 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-01__828284_item-31_1000294362-31-
2024-05-31\check_images\78144                   11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-01__828285_item-31_1000294362-31-
2024-05-31\check_images\78144                   11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-01__828287_item-31_1000294362-31-
2024-05-31\check_images\78144                   11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-01__828289_item-31_1000294362-31-
2024-05-31\check_images\78144                   11875.77 USD.pdf                                62554       8/7/2023 10:39



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               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-01__828294_item-31_1000294362-31-
2024-05-31\check_images\78144                   11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-01__828296_item-31_1000294362-31-
2024-05-31\check_images\78144                   11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-01__828298_item-31_1000294362-31-
2024-05-31\check_images\78144                   11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__828301_item-31_1000294362-31-
2024-05-31\check_images\78144                   11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__828304_item-31_1000294362-31-
2024-05-31\check_images\78144                   11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__828305_item-31_1000294362-31-
2024-05-31\check_images\78144                   11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__828308_item-31_1000294362-31-
2024-05-31\check_images\78144                   11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__828309_item-31_1000294362-31-
2024-05-31\check_images\78144                   11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__828310_item-31_1000294362-31-
2024-05-31\check_images\78144                   11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__828312_item-31_1000294362-31-
2024-05-31\check_images\78144                   11875.77 USD.pdf                                62554       8/7/2023 10:39



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               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__828314_item-31_1000294362-31-
2024-05-31\check_images\78144                   11875.77 USD.pdf                                62554       8/7/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__836610_item-32_1000298522-32-
2024-05-31\check_images\78144                   825.00 USD.pdf                                  57552      8/28/2023 10:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__849519_item-20_1000303949-20-
2024-05-31\check_images\78144                   825.00 USD.pdf                                  64296      9/26/2023 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__865459_item-30_1000309451-30-
2024-05-31\check_images\78144                   825.00 USD.pdf                                  54991     10/31/2023 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__877140_item-1_1000315017-1-
2024-05-31\check_images\78144                   825.00 USD.pdf                                  50242      11/29/2023 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__889057_item-20_1000319437-20-
2024-05-31\check_images\78144                   825.00 USD.pdf                                  51822     12/27/2023 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__902911_item-12_1000324644-12-
2024-05-31\check_images\78144                   825.00 USD.pdf                                  55409       1/29/2024 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__914784_item-35_1000329939-35-
2024-05-31\check_images\78144                   825.00 USD.pdf                                  51557      2/26/2024 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-25__673882_33432385-13-10000.00
2024-05-31\check_images\78146                   USD.pdf                                        117564      8/22/2022 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-25__836171_item-29_33772961-29-
2024-05-31\check_images\78146                   10000.00 USD.pdf                                49915      8/28/2023 15:56



                                                           276
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 278 of
                                       3467



               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-25__836173_item-30_33772960-30-
2024-05-31\check_images\78146                   494.61 USD.pdf                                93807      8/28/2023 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-25__848583_item-40_33799310-40-
2024-05-31\check_images\78146                   494.61 USD.pdf                                99623      9/25/2023 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-25__860908_item-6_33824651-6-
2024-05-31\check_images\78146                   494.61 USD.pdf                                98355     10/23/2023 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-25__875231_item-19_33853608-19-
2024-05-31\check_images\78146                   494.61 USD.pdf                                97325     11/27/2023 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-25__889540_item-25_33888638-25-
2024-05-31\check_images\78146                   494.61 USD.pdf                               102090     12/27/2023 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-25__901883_item-33_33917493-33-
2024-05-31\check_images\78146                   494.61 USD.pdf                                82848      1/26/2024 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-25__915361_item-1_33945486-1-
2024-05-31\check_images\78146                   494.61 USD.pdf                                97585      2/26/2024 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-25__927083_item-41_33971967-41-
2024-05-31\check_images\78146                   494.61 USD.pdf                                56573      3/22/2024 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-25__939812_item-18_33997988-18-
2024-05-31\check_images\78146                   494.61 USD.pdf                                55743      4/22/2024 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-25__953045_item-43_34023932-43-
2024-05-31\check_images\78146                   494.61 USD.pdf                                61576      5/20/2024 15:09



                                                           277
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 279 of
                                       3467



               All Paths/Locations                               Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-10__696864_item-15_5136428-15-
2024-05-31\check_images\78155                   30000.00 USD.pdf                              79393      10/11/2022 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-03-19__601983_51027662-1-297.69
2024-05-31\check_images\78207                   USD.pdf                                       49673      3/21/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-19__617316_51028277-5-297.69
2024-05-31\check_images\78207                   USD.pdf                                       49330      4/14/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-19__629978_51028886-29-297.69
2024-05-31\check_images\78207                   USD.pdf                                       44828       5/13/2022 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-19__646467_51029487-39-297.69
2024-05-31\check_images\78207                   USD.pdf                                       50103      6/21/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-19__657679_51030096-37-297.69
2024-05-31\check_images\78207                   USD.pdf                                       47810      7/14/2022 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-19__670845_51030770-40-297.69
2024-05-31\check_images\78207                   USD.pdf                                       47430       8/15/2022 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-19__685199_item-4_51031387-4-
2024-05-31\check_images\78207                   297.69 USD.pdf                                45399       9/15/2022 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-19__697646_item-8_51031954-8-
2024-05-31\check_images\78207                   297.69 USD.pdf                                50627      10/13/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-19__710039_item-11_51032544-11-
2024-05-31\check_images\78207                   297.69 USD.pdf                                45898      11/14/2022 9:03



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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-19__724489_item-5_51033152-5-
2024-05-31\check_images\78207                   297.69 USD.pdf                                59430     12/15/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-19__736891_item-4_51033716-4-
2024-05-31\check_images\78207                   297.69 USD.pdf                                67677       1/13/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-19__751448_item-31_51034295-31-
2024-05-31\check_images\78207                   297.69 USD.pdf                                45494      2/15/2023 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-19__764156_item-29_51034879-29-
2024-05-31\check_images\78207                   297.69 USD.pdf                                46039      3/15/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-19__777059_item-43_51035458-43-
2024-05-31\check_images\78207                   297.69 USD.pdf                                43148      4/13/2023 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-19__790325_item-23_51036052-23-
2024-05-31\check_images\78207                   297.69 USD.pdf                                51718      5/15/2023 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-19__804999_item-17_51036652-17-
2024-05-31\check_images\78207                   297.69 USD.pdf                                52099      6/15/2023 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-19__817641_item-13_51037202-13-
2024-05-31\check_images\78207                   297.69 USD.pdf                                55409       7/13/2023 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-19__831680_item-3_51037780-3-
2024-05-31\check_images\78207                   297.69 USD.pdf                                44787       8/15/2023 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-19__844656_item-38_51038351-38-
2024-05-31\check_images\78207                   297.69 USD.pdf                                51358      9/14/2023 10:33



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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-19__857459_item-2_51038902-2-
2024-05-31\check_images\78207                   297.69 USD.pdf                                48854      10/13/2023 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-19__871842_item-33_51039455-33-
2024-05-31\check_images\78207                   297.69 USD.pdf                                50551     11/15/2023 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-19__893547_item-25_51040016-25-
2024-05-31\check_images\78207                   297.69 USD.pdf                                46975       1/3/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-19__899019_item-45_51040572-45-
2024-05-31\check_images\78207                   297.69 USD.pdf                                69430      1/17/2024 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-19__912055_item-17_51041149-17-
2024-05-31\check_images\78207                   297.69 USD.pdf                                59273       2/16/2024 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-19__924589_item-18_51041690-18-
2024-05-31\check_images\78207                   297.69 USD.pdf                                66023      3/15/2024 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-19__937115_item-38_51042235-38-
2024-05-31\check_images\78207                   297.69 USD.pdf                                49214      4/15/2024 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-19__951895_item-29_51042787-29-
2024-05-31\check_images\78207                   297.69 USD.pdf                                48977       5/16/2024 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2022-05-10__631620_2265_27_13.pdf             74300      5/16/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2022-06-10__646082_2265_33_16.pdf             74254      6/17/2022 13:55



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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2022-07-10__657428_2265_26_5.pdf                 75766      7/13/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2022-08-10__671830_2265_27_24.pdf                77370      8/15/2022 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2022-09-10__685545_item-1_2265_20_1.pdf          74460      9/15/2022 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2022-10-10__697856_item-32_2265_20_32.pdf        75891     10/12/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2022-11-10__712625_item-211_2265_24_31.pdf       78136     11/15/2022 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2022-12-10__724677_item-90_2265_23_9.pdf         73729     12/15/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2023-01-10__736852_item-9_2265_24_9.pdf          92545      1/12/2023 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2023-02-10__750773_item-132_2265_23_36.pdf       73892      2/13/2023 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2023-03-10__764427_item-27_2265_29_14.pdf        75794      3/15/2023 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2023-04-10__776308_item-22_2265_18_22.pdf        75144      4/11/2023 10:26



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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2023-05-10__789676_item-36_2265_22_6.pdf         69037       5/11/2023 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2023-06-10__803387_item-65_2265_19_5.pdf         72860      6/12/2023 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2023-07-10__816239_item-109_2265_21_23.pdf       72799      7/10/2023 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2023-08-10__830900_item-32_2265_23_7.pdf         77339      8/14/2023 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2023-09-10__844016_item-1_2265_20_1.pdf          71462      9/12/2023 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2023-10-10__859481_item-44_2265_35_44.pdf        69485     10/17/2023 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2023-11-10__869908_item-5_2265_20_5.pdf          70727     11/13/2023 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2023-12-10__885170_item-49_2265_27_49.pdf        86150     12/15/2023 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2024-01-10__898703_item-124_2265_36_10.pdf       71364       1/16/2024 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2024-02-10__910054_item-148_2265_20_49.pdf       82512       2/12/2024 8:30



                                                           282
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 284 of
                                       3467



               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2024-03-10__928860_item-10_2265_50_10.pdf          91415       3/27/2024 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2024-04-10__936265_item-42_2265_26_42.pdf          77684      4/11/2024 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78295                   2024-05-10__949554_item-129_2265_23_21.pdf         74372       5/13/2024 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-12__923387_item-31_2402959003-31-
2024-05-31\check_images\78296                   1889.44 USD.pdf                                    44121      3/12/2024 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-12__938421_item-30_2402964190-30-
2024-05-31\check_images\78296                   1889.44 USD.pdf                                    42715      4/16/2024 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-12__949602_item-6_2402968961-6-
2024-05-31\check_images\78296                   1889.44 USD.pdf                                    41910      5/13/2024 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-17__806334_item-18_4491141950-18-
2024-05-31\check_images\78363                   15000.00 USD.pdf                                   94222      6/20/2023 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__727088_item-10_4300390260-10-
2024-05-31\check_images\78397                   110000.00 USD.pdf                                  66486     12/22/2022 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78408\2022-02-
01__585968_Re_ Servicing HB Release 02-10-      Re_ Servicing HB Release 02-10-2022 APPROVAL
2022 APPROVAL NEEDED.pdf                        N___.pdf                                          263690      2/10/2022 19:36




                                                            283
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 285 of
                                       3467



               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-03-01__602072_3780054546-30-550.00
2024-05-31\check_images\78408                   USD.pdf                                         45630      3/21/2022 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-01__618726_4491008577-11-550.00
2024-05-31\check_images\78408                   USD.pdf                                         38720      4/19/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-01__628304_4491017220-3-550.00
2024-05-31\check_images\78408                   USD.pdf                                         38532       5/9/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-01__640197_4491026253-21-550.00
2024-05-31\check_images\78408                   USD.pdf                                         34852       6/3/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-01__654002_4491035295-38-550.00
2024-05-31\check_images\78408                   USD.pdf                                         32234       7/5/2022 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-01__666934_4491045382-14-550.00
2024-05-31\check_images\78408                   USD.pdf                                         43415       8/3/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-01__681161_item-3_4491054836-3-
2024-05-31\check_images\78408                   550.00 USD.pdf                                  37231       9/6/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-01__693464_item-10_4491063654-10-
2024-05-31\check_images\78408                   550.00 USD.pdf                                  42249       10/4/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-01__705929_item-14_4491072401-14-
2024-05-31\check_images\78408                   550.00 USD.pdf                                  41243      11/2/2022 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-01__733721_item-9_4491090372-9-
2024-05-31\check_images\78408                   550.00 USD.pdf                                  40226       1/6/2023 15:10



                                                           284
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                                       3467



               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__770200_item-15_4491120410-15-
2024-05-31\check_images\78408                   550.00 USD.pdf                                  41928      3/29/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__770201_item-16_4491120411-16-
2024-05-31\check_images\78408                   550.00 USD.pdf                                  42478      3/29/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__770202_item-17_4491120412-17-
2024-05-31\check_images\78408                   550.00 USD.pdf                                  41267      3/29/2023 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__772928_item-43_4491118041-43-
2024-05-31\check_images\78408                   550.00 USD.pdf                                  43021       4/3/2023 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__802172_item-6_3780056686-6-
2024-05-31\check_images\78408                   550.00 USD.pdf                                  36001        6/9/2023 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__807909_item-4_4491144054-4-
2024-05-31\check_images\78408                   550.00 USD.pdf                                  42460      6/26/2023 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__813465_item-35_4491144882-35-
2024-05-31\check_images\78408                   550.00 USD.pdf                                  40124       7/5/2023 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__827764_item-1_4491155015-1-
2024-05-31\check_images\78408                   550.00 USD.pdf                                  46936        8/4/2023 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__841597_item-8_4491164581-8-
2024-05-31\check_images\78408                   550.00 USD.pdf                                  38127       9/6/2023 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__854724_item-7_4491173398-7-
2024-05-31\check_images\78408                   550.00 USD.pdf                                  43560       10/6/2023 8:55



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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__958271_item-7_4491250000-7-
2024-05-31\check_images\78408                   550.00 USD.pdf                                  38810      5/31/2024 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__881424_item-7_4491191499-7-
2024-05-31\check_images\78408                   550.00 USD.pdf                                  42856       12/6/2023 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__894378_item-23_4491200953-23-
2024-05-31\check_images\78408                   550.00 USD.pdf                                  41331       1/5/2024 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__905265_item-22_4491210962-22-
2024-05-31\check_images\78408                   550.00 USD.pdf                                  43945       2/1/2024 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__919644_item-8_4491219698-8-
2024-05-31\check_images\78408                   550.00 USD.pdf                                  40261        3/4/2024 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__932566_item-37_4491228920-37-
2024-05-31\check_images\78408                   550.00 USD.pdf                                  48694        4/3/2024 0:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__945324_item-43_4491237725-43-
2024-05-31\check_images\78408                   550.00 USD.pdf                                  37658       5/1/2024 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-03__652197_373835-5-15000.00
2024-05-31\check_images\78416                   USD.pdf                                         45986        7/1/2022 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-03__812121_item-6_414779-6-250.00
2024-05-31\check_images\78416                   USD.pdf                                         44981       7/3/2023 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-03__826355_item-31_418300-31-
2024-05-31\check_images\78416                   250.00 USD.pdf                                  52756       8/1/2023 13:59



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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-03__840408_item-22_422074-22-
2024-05-31\check_images\78416                   250.00 USD.pdf                                  55702        9/5/2023 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-03__852416_item-16_425499-16-
2024-05-31\check_images\78416                   250.00 USD.pdf                                  45441      10/2/2023 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-03__866652_item-5_428945-5-250.00
2024-05-31\check_images\78416                   USD.pdf                                         46553      11/2/2023 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-03__880873_item-30_432475-30-
2024-05-31\check_images\78416                   250.00 USD.pdf                                  43950      12/5/2023 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-03__893274_item-16_436128-16-
2024-05-31\check_images\78416                   250.00 USD.pdf                                  46030       1/3/2024 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-03__907940_item-8_439638-8-250.00
2024-05-31\check_images\78416                   USD.pdf                                         52145       2/6/2024 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-03__919203_item-10_443112-10-
2024-05-31\check_images\78416                   250.00 USD.pdf                                  45586       3/4/2024 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-03__934105_item-39_446586-39-
2024-05-31\check_images\78416                   250.00 USD.pdf                                  43248       4/4/2024 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-03__947275_item-6_450154-6-250.00
2024-05-31\check_images\78416                   USD.pdf                                         47233       5/6/2024 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__891764_item-14_435874-14-
2024-05-31\check_images\78451                   801.00 USD.pdf                                  47524       1/2/2024 11:01



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               All Paths/Locations                               Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__904947_item-44_439389-44-
2024-05-31\check_images\78451                   801.00 USD.pdf                                      44676      1/31/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__918385_item-16_442911-16-
2024-05-31\check_images\78451                   801.00 USD.pdf                                      42692        3/4/2024 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__932118_item-20_446333-20-
2024-05-31\check_images\78451                   801.00 USD.pdf                                      49489       4/2/2024 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__946350_item-45_449893-45-
2024-05-31\check_images\78451                   801.00 USD.pdf                                      48486       5/2/2024 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-03-13__618744_Copy of SuttonPark Capital
2024-05-31\check_images\78492                   Payments Goldstar.xls                               37888      4/19/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-13__622527_Goldstar Lockbox Postings
2024-05-31\check_images\78492                   2 26 2022.pdf                                      996441      4/27/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-13__632764_GoldStar Wire Info 5 19
2024-05-31\check_images\78492                   2022.pdf                                           327430      5/19/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-13__647732_Goldstar Deposit 6 23
2024-05-31\check_images\78492                   2022.pdf                                           922852      6/23/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-13__659661_Goldstar Deposit 7 20
2024-05-31\check_images\78492                   2022.pdf                                           283773       7/20/2022 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-13__674830_Goldstar Posting
2024-05-31\check_images\78492                   08252022.pdf                                       928740      8/25/2022 10:37



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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78492                   2022-09-13__687362_Goldstar 9 22 2022.pdf       928591       9/22/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78492                   2022-10-13__700213_Goldstar 10 20 22.pdf        895377     10/20/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78492                   2022-11-13__712298_Goldstar 11 17 2022.pdf      907056      11/17/2022 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78492                   2022-12-13__724366_Goldstar 12 152022.pdf       904822     12/15/2022 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78492                   2023-01-13__739572_goldstar 1 20 2023.pdf       909380       1/20/2023 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78492                   2023-02-13__755621_goldstar 2 27 2023.pdf       907345      2/27/2023 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78492                   2023-03-13__764149_Goldstar 3 15 2023.pdf       894690      3/15/2023 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78492                   2023-04-13__777030_Goldstar 4 13 2023.pdf       908219       4/13/2023 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78492                   2023-05-13__791593_goldstar 5 16 2023.pdf       905623      5/16/2023 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78492                   2023-06-13__803726_goldstar 6 13 2023.pdf       893315      6/13/2023 10:21



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               All Paths/Locations                                 Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78492                   2023-07-13__818125_goldstar 7 17 2023.pdf           893871      7/17/2023 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78492                   2023-08-13__832738_goldstar 8 16 2023.pdf           894995      8/16/2023 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-13__844115_FW_ EXTERNAL SENDER
2024-05-31\check_images\78492                   Goldstar Deposit from 8_31_2023 to Present.pdf      203508      9/13/2023 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-13__867448_FW Goldstar Deposit from
2024-05-31\check_images\78492                   10_11_2023 to 11_03_2023.pdf                        899493      11/6/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78492                   2023-11-13__870846_Goldstar 11 14 2023.pdf          890838      11/14/2023 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78492                   2023-12-13__886368_GoldStar 12192023.pdf            106232      12/19/2023 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78492                   2024-01-13__899942_GoldStar 01182024.pdf            103557      1/18/2024 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78492                   2024-02-13__910734_GoldStar 02132024.pdf             87110      2/13/2024 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78492                   2024-04-13__938057_GoldStar 04162024.pdf            155229       4/16/2024 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-03-15__618743_Copy of SuttonPark Capital
2024-05-31\check_images\78496                   Payments Goldstar.xls                                37888      4/19/2022 14:39



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               All Paths/Locations                              Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-15__619283_Goldstar Deposit for 4 19
2024-05-31\check_images\78496                   2022.pdf                                          662925      4/20/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-15__632762_GoldStar Wire Info 5 19
2024-05-31\check_images\78496                   2022.pdf                                          327430      5/19/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78496                   2022-06-15__645387_Goldstar 6 16 2022.pdf         156113       6/16/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78496                   2022-07-15__658651_Goldstar 7 18 2022.pdf         311135      7/18/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-15__671786_Goldstar Deposit 8 16
2024-05-31\check_images\78496                   2022.pdf                                          283480      8/16/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78496                   2022-09-15__685260_Goldstar 9 15 2022.pdf         926396      9/15/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78496                   2022-10-15__700111_Goldstar 10 18 thomas.pdf      896021      10/20/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78496                   2022-11-15__712310_Goldstar 11 17 2022.pdf        907056      11/17/2022 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78496                   2022-12-15__725344_Goldstar 12 19 2022.pdf        907848     12/19/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78496                   2023-01-15__739571_goldstar 1 20 2023.pdf         909380       1/20/2023 9:18



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               All Paths/Locations                              Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78496                   2023-02-15__751926_goldstar 2 17 2023.pdf        905972       2/17/2023 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78496                   2023-03-15__764780_goldstar 3 16 2023.pdf        894514       3/16/2023 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78496                   2023-04-15__779692_goldstar 4 20 2023.pdf        907347       4/20/2023 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78496                   2023-05-15__792081_goldstar 5 17 2023.pdf        908997       5/17/2023 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78496                   2023-06-15__804974_goldstar 6 14 2023.pdf        895189       6/15/2023 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78496                   2023-07-15__820933_goldstar 7 24 2023.pdf        890927      7/24/2023 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78496                   2023-08-15__832735_goldstar 8 16 2023.pdf        894995      8/16/2023 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-15__846874_FW Goldstar Deposit from
2024-05-31\check_images\78496                   9_13_2023 to 9_19_2023.pdf                       204737      9/20/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-15__867468_FW Goldstar Deposit from
2024-05-31\check_images\78496                   10_11_2023 to 11_03_2023.pdf                     899493      11/6/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78496                   2023-11-15__876133_goldstar 11 28 2023.pdf       970498      11/28/2023 9:24



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               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78496                   2023-12-15__894516_GoldStar 01052024.pdf        63936        1/5/2024 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78496                   2024-01-15__899993_GoldStar 01182024.pdf       103557      1/18/2024 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78496                   2024-02-15__911822_GoldStar 02152024.pdf        67813       2/15/2024 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78496                   2024-03-15__925946_GoldStar 03192024.pdf       112061      3/19/2024 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78496                   2024-04-15__938066_GoldStar 04162024.pdf       155229       4/16/2024 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78496                   2024-05-15__952756_GoldStar 05202024.pdf       151695      5/20/2024 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-06__907327_item-4_147890153-4-
2024-05-31\check_images\78515                   65000.00 USD.pdf                                56988       2/5/2024 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78679                   2023-06-03__800897_11033816 12500.00.pdf       420048        6/6/2023 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-09__656268_4491039789-40-75000.00
2024-05-31\check_images\78728                   USD.pdf                                         97066      7/11/2022 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-09__816309_item-6_4491149427-6-
2024-05-31\check_images\78728                   75000.00 USD.pdf                                82439      7/11/2023 11:36



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               All Paths/Locations                               Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-31__892294_item-23_4150720-23-
2024-05-31\check_images\78734                   23000.00 USD.pdf                                 42158        1/3/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-06__740334_11139_item-
2024-05-31\check_images\78740                   22_2265_38_22.pdf                                71235      1/20/2023 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-06__740913_480978 3646.08
2024-05-31\check_images\78740                   01202023.pdf                                     69330      1/20/2023 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78740                   2023-02-06__745522_item-89_2265_2_48.pdf         69998       2/1/2023 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78740                   2023-03-06__756139_item-82_2265_47_5.pdf         68586      2/27/2023 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78740                   2023-04-06__771174_item-6_2265_56_6.pdf          74322      3/31/2023 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78740                   2023-05-06__786393_item-12_2265_8_12.pdf         74283        5/3/2023 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78740                   2023-06-06__799600_item-166_2265_54_16.pdf       67357       6/1/2023 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78740                   2023-07-06__811168_item-1_2265_49_1.pdf          76743       6/30/2023 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78740                   2023-08-06__826376_item-193_2265_55_6.pdf        74543      7/31/2023 10:56



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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78740                   2023-09-06__838898_item-72_2265_57_6.pdf         68886      8/30/2023 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78740                   2023-10-06__853748_item-105_2265_9_5.pdf         67581      10/3/2023 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78740                   2023-11-06__866483_item-99_2265_2_49.pdf         68645      11/1/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78740                   2023-12-06__876641_item-22_2265_47_22.pdf        68820     11/28/2023 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78740                   2024-01-06__889933_item-33_2265_47_11.pdf        81802     12/27/2023 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78740                   2024-02-06__905116_item-14_2265_57_14.pdf        70949        2/1/2024 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78740                   2024-03-06__919283_item-37_2265_2_37.pdf         78199        3/4/2024 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78740                   2024-04-06__932818_item-33_2265_16_20.pdf        69742        4/3/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78740                   2024-05-06__942528_item-173_2265_56_25.pdf       66558       4/29/2024 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-06__740258_11139_item-
2024-05-31\check_images\78741                   22_2265_38_22.pdf                                71235      1/20/2023 10:42



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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-06__740910_480978 3646.08
2024-05-31\check_images\78741                   01202023.pdf                                     69330      1/20/2023 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78741                   2023-02-06__745519_item-88_2265_2_47.pdf         80166       2/1/2023 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78741                   2023-03-06__756137_item-81_2265_47_4.pdf         79860      2/27/2023 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78741                   2023-04-06__771244_item-7_2265_56_7.pdf          73327      3/31/2023 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78741                   2023-05-06__786391_item-11_2265_8_11.pdf         68686        5/3/2023 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78741                   2023-06-06__799602_item-167_2265_54_17.pdf       67542       6/1/2023 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78741                   2023-07-06__811515_item-15_2265_49_15.pdf        75864       6/30/2023 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78741                   2023-08-06__826378_item-194_2265_55_7.pdf        66003      7/31/2023 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78741                   2023-09-06__838896_item-71_2265_57_5.pdf         67831      8/30/2023 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78741                   2023-10-06__853746_item-106_2265_9_6.pdf         67408      10/3/2023 10:52



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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78741                   2023-11-06__866481_item-98_2265_2_48.pdf         68061      11/1/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78741                   2023-12-06__876645_item-23_2265_47_23.pdf        69729     11/28/2023 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78741                   2024-01-06__889931_item-32_2265_47_10.pdf        81478     12/27/2023 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78741                   2024-02-06__905119_item-15_2265_57_15.pdf        70264        2/1/2024 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78741                   2024-03-06__919288_item-38_2265_2_38.pdf         67916        3/4/2024 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78741                   2024-04-06__932821_item-34_2265_16_21.pdf        68864        4/3/2024 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78741                   2024-05-06__942532_item-174_2265_56_26.pdf       78137       4/29/2024 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-01__665985_4200381233-19-1700.00
2024-05-31\check_images\78744                   USD.pdf                                          62351       8/2/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-01__667248_4200384015-45-1700.00
2024-05-31\check_images\78744                   USD.pdf                                          70672       8/4/2022 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-01__681992_item-12_4200386690-12-
2024-05-31\check_images\78744                   1751.00 USD.pdf                                  66618       9/7/2022 13:26



                                                           297
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                                       3467



               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-01__695129_item-25_4200389404-25-
2024-05-31\check_images\78744                   1751.00 USD.pdf                                 40063      10/6/2022 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-01__709372_item-5_4200392115-5-
2024-05-31\check_images\78744                   1751.00 USD.pdf                                 59813      11/10/2022 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-01__716583_item-36_4200394616-36-
2024-05-31\check_images\78744                   1751.00 USD.pdf                                 79034     11/29/2022 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__733484_item-44_4200397467-44-
2024-05-31\check_images\78744                   1751.00 USD.pdf                                 66559       1/6/2023 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__747499_item-31_4200400107-31-
2024-05-31\check_images\78744                   1751.00 USD.pdf                                 58309        2/7/2023 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__761088_item-34_4200402748-34-
2024-05-31\check_images\78744                   1751.00 USD.pdf                                 63265       3/8/2023 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__778686_item-13_4200405430-13-
2024-05-31\check_images\78744                   1751.00 USD.pdf                                 63767      4/18/2023 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__788808_item-3_4200408053-3-
2024-05-31\check_images\78744                   1751.00 USD.pdf                                 61573       5/10/2023 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__802294_item-29_4200410658-29-
2024-05-31\check_images\78744                   1751.00 USD.pdf                                 50871       6/9/2023 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__813479_item-25_4200413309-25-
2024-05-31\check_images\78744                   1751.00 USD.pdf                                 68117       7/5/2023 12:51



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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__829530_item-20_4200415887-20-
2024-05-31\check_images\78744                   1751.00 USD.pdf                                 64286       8/9/2023 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__840730_item-33_4200418410-33-
2024-05-31\check_images\78744                   1803.54 USD.pdf                                 67373       9/5/2023 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__853074_item-41_4200421047-41-
2024-05-31\check_images\78744                   1803.54 USD.pdf                                 57769      10/3/2023 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__867805_item-40_4200423621-40-
2024-05-31\check_images\78744                   1803.54 USD.pdf                                 71225      11/6/2023 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__880223_item-22_4200426187-22-
2024-05-31\check_images\78744                   1803.54 USD.pdf                                 61966       12/4/2023 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__895117_item-25_4200428758-25-
2024-05-31\check_images\78744                   1803.54 USD.pdf                                 76805       1/8/2024 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__906759_item-13_4200431281-13-
2024-05-31\check_images\78744                   1803.54 USD.pdf                                 61963       2/5/2024 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__918533_item-27_4200433778-27-
2024-05-31\check_images\78744                   1803.54 USD.pdf                                 63192        3/4/2024 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__934468_item-13_4200436380-13-
2024-05-31\check_images\78744                   1803.54 USD.pdf                                 52389        4/8/2024 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__946751_item-15_4200438896-15-
2024-05-31\check_images\78744                   1803.54 USD.pdf                                 64678        5/6/2024 9:51



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               All Paths/Locations                              Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-28__917047_item-7_4491218961-7-
2024-05-31\check_images\78752                   601.80 USD.pdf                                    82963      2/27/2024 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-28__928845_item-8_4491227945-8-
2024-05-31\check_images\78752                   601.80 USD.pdf                                    80893       3/27/2024 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-28__943498_item-1_4491236852-1-
2024-05-31\check_images\78752                   601.80 USD.pdf                                    81151      4/29/2024 22:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-28__955189_item-9_4491245734-9-
2024-05-31\check_images\78752                   601.80 USD.pdf                                    86687      5/28/2024 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-01__620479_RE_ Servicing HB Release
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  04_21_2022 APPROVAL NEEDED-FLove
2024-05-31\check_images\78768                   Approval.pdf                                     218535      4/22/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-01__625311_41362211-17-3105.38
2024-05-31\check_images\78768                   USD.pdf                                           69705        5/2/2022 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-01__637728_41428644-3-3198.54
2024-05-31\check_images\78768                   USD.pdf                                           69572       6/1/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-01__652113_41474832-29-3198.54
2024-05-31\check_images\78768                   USD.pdf                                           69212      6/30/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-01__664295_41526901-8-3198.54
2024-05-31\check_images\78768                   USD.pdf                                           72794        8/1/2022 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-01__678229_41585420-11-3198.54
2024-05-31\check_images\78768                   USD.pdf                                           74214      8/31/2022 10:02



                                                             300
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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-01__693366_item-3_41638717-3-
2024-05-31\check_images\78768                   3198.54 USD.pdf                               75261       10/4/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-01__704781_item-10_41690978-10-
2024-05-31\check_images\78768                   3198.54 USD.pdf                               71420      11/1/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-01__719173_item-35_41757090-35-
2024-05-31\check_images\78768                   3198.54 USD.pdf                               78871      12/5/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__730980_item-6_41812266-6-
2024-05-31\check_images\78768                   3198.54 USD.pdf                               72620       1/3/2023 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__746429_item-20_41854572-20-
2024-05-31\check_images\78768                   3198.54 USD.pdf                               69538       2/3/2023 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__759939_item-35_41907664-35-
2024-05-31\check_images\78768                   3198.54 USD.pdf                               69750       3/6/2023 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__773674_item-12_41966728-12-
2024-05-31\check_images\78768                   3198.54 USD.pdf                               71501       4/5/2023 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__784786_item-1_42018451-1-
2024-05-31\check_images\78768                   3198.54 USD.pdf                               67179        5/2/2023 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__799414_item-19_42086546-19-
2024-05-31\check_images\78768                   3294.50 USD.pdf                               70850       6/2/2023 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__814325_item-42_42129786-42-
2024-05-31\check_images\78768                   3294.50 USD.pdf                               69026       7/5/2023 14:14



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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__825346_item-23_42180160-23-
2024-05-31\check_images\78768                   3294.50 USD.pdf                               66553      7/31/2023 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__839772_item-8_42235620-8-
2024-05-31\check_images\78768                   3294.50 USD.pdf                               76403        9/1/2023 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__852632_item-27_42286370-27-
2024-05-31\check_images\78768                   3294.50 USD.pdf                               72058       10/2/2023 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__866089_item-39_42340522-39-
2024-05-31\check_images\78768                   3294.50 USD.pdf                               73114      11/1/2023 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__879452_item-35_42405503-35-
2024-05-31\check_images\78768                   3294.50 USD.pdf                               68279       12/4/2023 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__890974_item-22_42443807-22-
2024-05-31\check_images\78768                   3294.50 USD.pdf                               71416       1/2/2024 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__905932_item-36_42501164-36-
2024-05-31\check_images\78768                   3294.50 USD.pdf                               81066       2/1/2024 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__918823_item-26_42553767-26-
2024-05-31\check_images\78768                   3294.50 USD.pdf                               70700       3/4/2024 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__931079_item-11_42616474-11-
2024-05-31\check_images\78768                   3294.50 USD.pdf                               76510       4/1/2024 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__945231_item-38_42661918-38-
2024-05-31\check_images\78768                   3294.50 USD.pdf                               66403       5/1/2024 12:11



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 304 of
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               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-28__728380_item-24_4491089252-24-
2024-05-31\check_images\78813                   40000.00 USD.pdf                                93963      12/28/2022 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-17__735359_11107_4300391258
2024-05-31\check_images\78815                   2112.60.pdf                                     97161       1/11/2023 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-17__748891_item-6_4300393181-6-
2024-05-31\check_images\78815                   2112.60 USD.pdf                                 75795      2/10/2023 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-17__761962_item-12_4300395114-12-
2024-05-31\check_images\78815                   2112.60 USD.pdf                                 87056       3/10/2023 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-17__774909_item-20_4300397072-20-
2024-05-31\check_images\78815                   2112.60 USD.pdf                                 92497       4/7/2023 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-17__794199_item-12_4300399106-12-
2024-05-31\check_images\78815                   2112.60 USD.pdf                                 87455       5/24/2023 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-17__802712_item-7_4300401035-7-
2024-05-31\check_images\78815                   2112.60 USD.pdf                                 87016      6/12/2023 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-17__815529_item-27_4300402957-27-
2024-05-31\check_images\78815                   2112.60 USD.pdf                                 82392      7/10/2023 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-17__831692_item-32_4300404894-32-
2024-05-31\check_images\78815                   2112.60 USD.pdf                                 91065      8/14/2023 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-17__843208_item-38_4300406779-38-
2024-05-31\check_images\78815                   2112.60 USD.pdf                                 84199      9/11/2023 15:26



                                                           303
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 305 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-17__856765_item-37_4300408710-37-
2024-05-31\check_images\78815                   2112.60 USD.pdf                                 71672     10/11/2023 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-17__871519_item-39_4300410604-39-
2024-05-31\check_images\78815                   2175.98 USD.pdf                                 89294     11/14/2023 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-17__885923_item-15_4300412453-15-
2024-05-31\check_images\78815                   2175.98 USD.pdf                                 82241     12/18/2023 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-17__897031_item-1_4300414341-1-
2024-05-31\check_images\78815                   2175.98 USD.pdf                                 73009       1/12/2024 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-17__911074_item-17_4300416186-17-
2024-05-31\check_images\78815                   2175.98 USD.pdf                                 71708      2/13/2024 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-17__922206_item-44_4300418022-44-
2024-05-31\check_images\78815                   2175.98 USD.pdf                                 74540      3/11/2024 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-17__937076_item-5_4300419984-5-
2024-05-31\check_images\78815                   2175.98 USD.pdf                                 75109      4/15/2024 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-17__950725_item-16_4300421904-16-
2024-05-31\check_images\78815                   2175.98 USD.pdf                                 68865      5/14/2024 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-23__617725_3264412-19-939.66
2024-05-31\check_images\78827                   USD.pdf                                         36032      4/18/2022 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-23__631470_3296602-19-939.66
2024-05-31\check_images\78827                   USD.pdf                                         41515      5/17/2022 10:52



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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-23__645991_3328808-6-939.66
2024-05-31\check_images\78827                   USD.pdf                                          43156      6/17/2022 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-23__658985_3360937-13-939.66
2024-05-31\check_images\78827                   USD.pdf                                          42821       7/18/2022 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-23__671920_3392687-32-939.66
2024-05-31\check_images\78827                   USD.pdf                                          33832      8/16/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-23__686096_item-31_3424226-31-
2024-05-31\check_images\78827                   939.66 USD.pdf                                   32588      9/19/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-23__698860_item-28_3455304-28-
2024-05-31\check_images\78827                   939.66 USD.pdf                                   39616     10/17/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-23__712741_item-6_3487002-6-939.66
2024-05-31\check_images\78827                   USD.pdf                                          37784      11/18/2022 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-23__725852_item-10_3518362-10-
2024-05-31\check_images\78827                   939.66 USD.pdf                                   34656     12/19/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-23__738448_item-35_3549936-35-
2024-05-31\check_images\78827                   939.66 USD.pdf                                   34662      1/17/2023 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-23__751638_item-23_3581127-23-
2024-05-31\check_images\78827                   939.66 USD.pdf                                   34368       2/16/2023 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-23__765298_item-5_3611930-5-939.66
2024-05-31\check_images\78827                   USD.pdf                                          44836      3/17/2023 13:33



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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-23__778494_item-21_3641850-21-
2024-05-31\check_images\78827                   939.66 USD.pdf                                   36517       4/17/2023 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-23__791407_item-30_3670807-30-
2024-05-31\check_images\78827                   939.66 USD.pdf                                   41782       5/16/2023 7:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-23__806908_item-12_3693782-12-
2024-05-31\check_images\78827                   939.66 USD.pdf                                   34990      6/21/2023 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-23__818573_item-39_3716281-39-
2024-05-31\check_images\78827                   939.66 USD.pdf                                   42012      7/17/2023 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-23__833235_item-32_3737667-32-
2024-05-31\check_images\78827                   939.66 USD.pdf                                   38284       8/18/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-23__845711_item-31_3754586-31-
2024-05-31\check_images\78827                   939.66 USD.pdf                                   38043      9/18/2023 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-23__858412_item-35_3770732-35-
2024-05-31\check_images\78827                   939.66 USD.pdf                                   33253     10/16/2023 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-23__873125_item-13_3784358-13-
2024-05-31\check_images\78827                   939.66 USD.pdf                                   36135     11/17/2023 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-23__886316_item-29_3798159-29-
2024-05-31\check_images\78827                   939.66 USD.pdf                                   39658     12/18/2023 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-23__900199_item-7_3812359-7-939.66
2024-05-31\check_images\78827                   USD.pdf                                          43891       1/19/2024 8:53



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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-23__913373_item-5_3825953-5-939.66
2024-05-31\check_images\78827                   USD.pdf                                          34900       2/20/2024 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-23__925367_item-35_3833211-35-
2024-05-31\check_images\78827                   939.66 USD.pdf                                   35519       3/18/2024 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-23__938445_item-34_3840739-34-
2024-05-31\check_images\78827                   939.66 USD.pdf                                   36201      4/16/2024 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-23__952922_item-14_3848144-14-
2024-05-31\check_images\78827                   939.66 USD.pdf                                   34187      5/20/2024 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-02__934247_item-17_42622595-17-
2024-05-31\check_images\78831                   7500.00 USD.pdf                                  64918       4/5/2024 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-15__643719_33370039-30-1764.77
2024-05-31\check_images\78833                   USD.pdf                                          96294      6/13/2022 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-15__657064_33397217-11-1764.77
2024-05-31\check_images\78833                   USD.pdf                                          98999      7/12/2022 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-15__670578_33424960-40-1764.77
2024-05-31\check_images\78833                   USD.pdf                                         100902      8/12/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-15__683614_item-35_33450330-35-
2024-05-31\check_images\78833                   1764.77 USD.pdf                                  95108       9/12/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-15__696781_item-11_33476775-11-
2024-05-31\check_images\78833                   1764.77 USD.pdf                                  95867      10/12/2022 8:25



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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-15__710717_item-10_33503712-10-
2024-05-31\check_images\78833                   1764.77 USD.pdf                               98902      11/15/2022 8:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-15__723342_item-44_33533858-44-
2024-05-31\check_images\78833                   1764.77 USD.pdf                               94678     12/13/2022 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-15__738434_item-17_33571928-17-
2024-05-31\check_images\78833                   1764.77 USD.pdf                              102431      1/17/2023 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-15__749362_item-15_33600103-15-
2024-05-31\check_images\78833                   1764.77 USD.pdf                               92613       2/13/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-15__763163_item-42_33626676-42-
2024-05-31\check_images\78833                   1764.77 USD.pdf                               91881       3/13/2023 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-15__777346_item-19_33654788-19-
2024-05-31\check_images\78833                   1764.77 USD.pdf                               92292      4/14/2023 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-15__790321_item-20_33681348-20-
2024-05-31\check_images\78833                   1764.77 USD.pdf                               96173      5/15/2023 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-15__803461_item-31_33706356-31-
2024-05-31\check_images\78833                   1764.77 USD.pdf                               99406      6/12/2023 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-15__817856_item-44_33734972-44-
2024-05-31\check_images\78833                   1764.77 USD.pdf                               93783      7/13/2023 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-15__830740_item-19_33764155-19-
2024-05-31\check_images\78833                   1764.77 USD.pdf                               98635      8/14/2023 12:30



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 310 of
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               All Paths/Locations                               Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-15__847587_item-7_33789650-7-
2024-05-31\check_images\78833                   1764.77 USD.pdf                               69914      9/22/2023 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-15__857682_item-23_33816331-23-
2024-05-31\check_images\78833                   1764.77 USD.pdf                              103893     10/13/2023 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-15__871086_item-6_33842825-6-
2024-05-31\check_images\78833                   1764.77 USD.pdf                              103297     11/14/2023 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-15__883875_item-33_33873000-33-
2024-05-31\check_images\78833                   1764.77 USD.pdf                              110982     12/12/2023 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-15__897773_item-36_33909224-36-
2024-05-31\check_images\78833                   1764.77 USD.pdf                              107236      1/16/2024 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-15__910470_item-41_33936420-41-
2024-05-31\check_images\78833                   1764.77 USD.pdf                               99811       2/12/2024 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-15__922695_item-2_33962392-2-
2024-05-31\check_images\78833                   1764.77 USD.pdf                               58529       3/11/2024 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-15__936967_item-2_33990009-2-
2024-05-31\check_images\78833                   1764.77 USD.pdf                               52465      4/15/2024 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-15__950658_item-38_34015147-38-
2024-05-31\check_images\78833                   1764.77 USD.pdf                               62611      5/14/2024 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-04__731680_item-20_3522611-20-
2024-05-31\check_images\78843                   15000.00 USD.pdf                              34227       1/3/2023 10:10



                                                           309
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 311 of
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               All Paths/Locations                               Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-01__718714_item-15_2392369-15-
2024-05-31\check_images\78856                   12500.00 USD.pdf                                 37954      12/2/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__880613_item-20_2410198-20-
2024-05-31\check_images\78856                   12500.00 USD.pdf                                 31350      12/4/2023 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78865                   2022-12-20__726212_item-71_2265_31_30.pdf        78807     12/19/2022 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78865                   2023-12-20__885381_item-140_2265_34_17.pdf       78490      12/18/2023 7:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78880                   2023-11-17__871704_item-11_2265_26_11.pdf        75519      11/15/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78880                   2023-12-17__885731_item-64_2265_31_3.pdf         76883     12/18/2023 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78880                   2024-01-17__899845_item-33_2265_39_33.pdf        73996       1/18/2024 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78880                   2024-02-17__912156_item-37_2265_27_18.pdf        73009       2/16/2024 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78880                   2024-03-17__925726_item-9_2265_34_9.pdf          73532       3/19/2024 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78880                   2024-04-17__939434_item-10_2265_41_9.pdf         74984       4/18/2024 8:30



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               All Paths/Locations                               Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78880                   2024-05-17__951341_item-19_2265_28_19.pdf         75047       5/15/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-14__899354_item-6_42475225-6-
2024-05-31\check_images\78884                   10000.00 USD.pdf                                  76615      1/17/2024 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-01__620480_RE_ Servicing HB Release
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  04_21_2022 APPROVAL NEEDED-FLove
2024-05-31\check_images\78903                   Approval.pdf                                     218535      4/22/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-01__688825_item-23_4025190-23-
2024-05-31\check_images\78903                   2510.00 USD.pdf                                   40820      9/26/2022 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__769851_item-3_4074122-3-
2024-05-31\check_images\78903                   2510.00 USD.pdf                                   44838      3/28/2023 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__847845_item-7_4123917-7-
2024-05-31\check_images\78903                   2510.00 USD.pdf                                   41015      9/25/2023 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__931277_item-37_4174768-37-
2024-05-31\check_images\78903                   2510.00 USD.pdf                                   38181       4/1/2024 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-13__724051_item-18_999441-18-
2024-05-31\check_images\78905                   10000.00 USD.pdf                                  78814     12/14/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-13__882770_item-21_1000018945-21-
2024-05-31\check_images\78905                   1277.90 USD.pdf                                   52691     12/11/2023 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-13__895501_item-13_1000022865-13-
2024-05-31\check_images\78905                   1277.90 USD.pdf                                   52212        1/9/2024 8:54



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               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-13__909644_item-14_1000026360-14-
2024-05-31\check_images\78905                   1277.90 USD.pdf                                 56616      2/12/2024 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-13__922869_item-20_1000029652-20-
2024-05-31\check_images\78905                   1277.90 USD.pdf                                 58363       3/11/2024 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-13__935524_item-33_1000033069-33-
2024-05-31\check_images\78905                   1277.90 USD.pdf                                 47699       4/9/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-13__949860_item-31_1000036621-31-
2024-05-31\check_images\78905                   1277.90 USD.pdf                                 54448      5/13/2024 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-13__723410_item-25_30686577-25-
2024-05-31\check_images\78906                   10000.00 USD.pdf                                99164     12/12/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-13__882758_item-4_30764065-4-
2024-05-31\check_images\78906                   1270.00 USD.pdf                                 93566     12/11/2023 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-13__897994_item-36_30772748-36-
2024-05-31\check_images\78906                   1270.00 USD.pdf                                 98304      1/16/2024 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-13__909972_item-14_30779488-14-
2024-05-31\check_images\78906                   1270.00 USD.pdf                                105314      2/12/2024 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-13__921652_item-3_30785118-3-
2024-05-31\check_images\78906                   1270.00 USD.pdf                                 55772       3/8/2024 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-13__935621_item-20_30791740-20-
2024-05-31\check_images\78906                   1270.00 USD.pdf                                 61870       4/10/2024 9:27



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               All Paths/Locations                              Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-13__950579_item-26_30798404-26-
2024-05-31\check_images\78906                   1270.00 USD.pdf                                   68503       5/14/2024 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-03-15__613941_FW_ Servicing HB Release
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  03-29-2022 APPROVAL NEEDED-FLove
2024-05-31\check_images\78911                   Approval.pdf                                     263877        4/7/2022 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-15__618967_1000205459-6-760.91
2024-05-31\check_images\78911                   USD.pdf                                           70260      4/19/2022 19:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-15__628961_1000211286-44-760.91
2024-05-31\check_images\78911                   USD.pdf                                           63307      5/10/2022 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-15__643482_1000217115-10-760.91
2024-05-31\check_images\78911                   USD.pdf                                           64142      6/13/2022 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-15__655723_1000222782-42-760.91
2024-05-31\check_images\78911                   USD.pdf                                           64971      7/11/2022 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-15__670955_1000228591-5-760.91
2024-05-31\check_images\78911                   USD.pdf                                           67803      8/15/2022 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-15__682878_item-15_1000234325-15-
2024-05-31\check_images\78911                   760.91 USD.pdf                                    47074       9/12/2022 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-15__696323_item-36_1000239963-36-
2024-05-31\check_images\78911                   760.91 USD.pdf                                    64866     10/11/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-15__710624_item-16_1000245789-16-
2024-05-31\check_images\78911                   760.91 USD.pdf                                    66228     11/14/2022 17:53



                                                            313
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-15__722150_item-22_1000251233-22-
2024-05-31\check_images\78911                   760.91 USD.pdf                                  67713     12/12/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-15__734686_item-25_1000256887-25-
2024-05-31\check_images\78911                   760.91 USD.pdf                                  57935       1/9/2023 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-15__749333_item-16_1000262540-16-
2024-05-31\check_images\78911                   760.91 USD.pdf                                  64174      2/13/2023 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-15__762675_item-13_1000268083-13-
2024-05-31\check_images\78911                   760.91 USD.pdf                                  67845      3/13/2023 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-15__776357_item-25_1000273556-25-
2024-05-31\check_images\78911                   760.91 USD.pdf                                  58143      4/11/2023 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-15__790453_item-3_1000279078-3-
2024-05-31\check_images\78911                   760.91 USD.pdf                                  66569      5/15/2023 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-15__802880_item-13_1000284539-13-
2024-05-31\check_images\78911                   760.91 USD.pdf                                  74487      6/12/2023 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-15__816487_item-10_1000290023-10-
2024-05-31\check_images\78911                   760.91 USD.pdf                                  59124      7/11/2023 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-15__830555_item-24_1000295642-24-
2024-05-31\check_images\78911                   760.91 USD.pdf                                  75169      8/14/2023 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-15__842675_item-17_1000300960-17-
2024-05-31\check_images\78911                   760.91 USD.pdf                                  68591      9/11/2023 10:58



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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-15__858425_item-40_1000306383-40-
2024-05-31\check_images\78911                   760.91 USD.pdf                                  58782     10/16/2023 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-15__869742_item-22_1000311885-22-
2024-05-31\check_images\78911                   760.91 USD.pdf                                  54093     11/13/2023 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-15__883056_item-40_1000317247-40-
2024-05-31\check_images\78911                   760.91 USD.pdf                                  37662      12/11/2023 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-15__897722_item-12_1000322654-12-
2024-05-31\check_images\78911                   760.91 USD.pdf                                  55876      1/16/2024 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-15__909314_item-21_1000327941-21-
2024-05-31\check_images\78911                   760.91 USD.pdf                                  55893      2/12/2024 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-15__922709_item-19_1000333243-19-
2024-05-31\check_images\78911                   760.91 USD.pdf                                  51132       3/11/2024 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-15__937355_item-39_1000338502-39-
2024-05-31\check_images\78911                   760.91 USD.pdf                                  49958      4/15/2024 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-15__950591_item-19_1000343761-19-
2024-05-31\check_images\78911                   760.91 USD.pdf                                  48029       5/13/2024 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-01__653799_4491037892-2-5000.00
2024-05-31\check_images\78918                   USD.pdf                                         32143       7/5/2022 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__733733_item-19_4491092861-19-
2024-05-31\check_images\78918                   5000.00 USD.pdf                                 40913       1/6/2023 15:11



                                                           315
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 317 of
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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__835673_item-10_4491164054-10-
2024-05-31\check_images\78918                   5000.00 USD.pdf                                  55835      8/28/2023 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__894539_item-34_4491203398-34-
2024-05-31\check_images\78918                   5000.00 USD.pdf                                  40042       1/5/2024 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-07__628541_684292-33-1875.54
2024-05-31\check_images\78927                   USD.pdf                                          40582      5/10/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-07__642760_689048-34-1875.54
2024-05-31\check_images\78927                   USD.pdf                                          45339      6/10/2022 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-07__657171_693265-34-1875.54
2024-05-31\check_images\78927                   USD.pdf                                          39837       7/13/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-07__669208_697939-7-1875.54
2024-05-31\check_images\78927                   USD.pdf                                          43479       8/9/2022 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-07__683830_item-37_702466-37-
2024-05-31\check_images\78927                   1875.54 USD.pdf                                  44788       9/13/2022 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-07__696214_item-13_706520-13-
2024-05-31\check_images\78927                   1875.54 USD.pdf                                  39401     10/11/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-07__708900_item-6_711740-6-1875.54
2024-05-31\check_images\78927                   USD.pdf                                          42775      11/8/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-07__721817_item-1_716636-1-1875.54
2024-05-31\check_images\78927                   USD.pdf                                          39113      12/9/2022 13:26



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 318 of
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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-07__736474_item-40_721015-40-
2024-05-31\check_images\78927                   1875.54 USD.pdf                                  39771      1/11/2023 20:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-07__747534_item-41_726397-41-
2024-05-31\check_images\78927                   1875.54 USD.pdf                                  40897       2/7/2023 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-07__760773_item-30_730978-30-
2024-05-31\check_images\78927                   1875.54 USD.pdf                                  41751       3/7/2023 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-07__775175_item-32_735555-32-
2024-05-31\check_images\78927                   1875.54 USD.pdf                                  45267      4/10/2023 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-07__788078_item-6_740221-6-1875.54
2024-05-31\check_images\78927                   USD.pdf                                          40137        5/8/2023 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-07__802276_item-38_744612-38-
2024-05-31\check_images\78927                   1875.54 USD.pdf                                  42811       6/9/2023 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-07__814763_item-2_748739-2-1875.54
2024-05-31\check_images\78927                   USD.pdf                                          38464       7/10/2023 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-07__828874_item-21_753347-21-
2024-05-31\check_images\78927                   1875.54 USD.pdf                                  41597        8/7/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-07__842954_item-10_758062-10-
2024-05-31\check_images\78927                   1875.54 USD.pdf                                  42618      9/11/2023 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-07__855611_item-19_762427-19-
2024-05-31\check_images\78927                   1875.54 USD.pdf                                  44048     10/10/2023 14:47



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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-07__868268_item-6_768254-6-1875.54
2024-05-31\check_images\78927                   USD.pdf                                          45472      11/7/2023 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-07__883004_item-33_772422-33-
2024-05-31\check_images\78927                   1875.54 USD.pdf                                  41049      12/11/2023 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-07__895053_item-35_777392-35-
2024-05-31\check_images\78927                   1875.54 USD.pdf                                  39755       1/8/2024 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-07__909461_item-18_782529-18-
2024-05-31\check_images\78927                   1875.54 USD.pdf                                  44844      2/12/2024 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-07__923977_Check 786822 and Advice
2024-05-31\check_images\78927                   Letter 1875.54.pdf                              652760       3/14/2024 7:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-07__934627_item-10_791806-10-
2024-05-31\check_images\78927                   1875.54 USD.pdf                                  43637        4/8/2024 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-07__949154_item-43_797328-43-
2024-05-31\check_images\78927                   1875.54 USD.pdf                                  47360      5/10/2024 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-09__909809_item-7_4491214611-7-
2024-05-31\check_images\78930                   5000.00 USD.pdf                                  88330      2/12/2024 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__734142_732210_item-
2024-05-31\check_images\78937                   35_33558170-35-2075.00 USD.pdf                   98737       1/4/2023 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__743630_item-18_33586116-18-
2024-05-31\check_images\78937                   2075.00 USD.pdf                                  92961      1/30/2023 14:33



                                                           318
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                                       3467



               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__756225_item-32_33613538-32-
2024-05-31\check_images\78937                   2075.00 USD.pdf                               92320      2/27/2023 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__770913_item-2_33641373-2-
2024-05-31\check_images\78937                   2075.00 USD.pdf                               93273       3/31/2023 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__784931_item-9_33668288-9-
2024-05-31\check_images\78937                   2075.00 USD.pdf                               76379       5/2/2023 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__797245_item-14_33694261-14-
2024-05-31\check_images\78937                   2075.00 USD.pdf                               96598      5/31/2023 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__810980_item-21_33721419-21-
2024-05-31\check_images\78937                   2075.00 USD.pdf                               95715      6/29/2023 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__825432_item-29_33750407-29-
2024-05-31\check_images\78937                   2075.00 USD.pdf                               96172       8/1/2023 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__839040_item-13_33778196-13-
2024-05-31\check_images\78937                   2075.00 USD.pdf                               96178       8/31/2023 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__852261_item-13_33803516-13-
2024-05-31\check_images\78937                   2075.00 USD.pdf                               93991      10/2/2023 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__863818_item-40_33829745-40-
2024-05-31\check_images\78937                   2075.00 USD.pdf                               91943     10/30/2023 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__880671_item-13_33858408-13-
2024-05-31\check_images\78937                   2075.00 USD.pdf                               95327      12/4/2023 14:39



                                                           319
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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__893091_item-12_33896035-12-
2024-05-31\check_images\78937                   2075.00 USD.pdf                               93099       1/3/2024 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__904308_item-17_33923189-17-
2024-05-31\check_images\78937                   2075.00 USD.pdf                               91231      1/30/2024 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__916134_915226_item-
2024-05-31\check_images\78937                   18_33949157-18-2075.00 USD.pdf                57681       2/26/2024 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__929377_item-26_33978304-26-
2024-05-31\check_images\78937                   2075.00 USD.pdf                               55574       3/28/2024 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__943320_item-15_34002652-15-
2024-05-31\check_images\78937                   2075.00 USD.pdf                               55456      4/29/2024 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-22__619789_1000206225-5-925.00
2024-05-31\check_images\78939                   USD.pdf                                       60059       4/21/2022 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-22__632730_1000212037-17-925.00
2024-05-31\check_images\78939                   USD.pdf                                       68894      5/19/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-22__646707_1000217837-33-925.00
2024-05-31\check_images\78939                   USD.pdf                                       74876      6/21/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-22__658388_1000223582-28-925.00
2024-05-31\check_images\78939                   USD.pdf                                       68290       7/18/2022 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-22__673632_1000229332-28-925.00
2024-05-31\check_images\78939                   USD.pdf                                       85251      8/22/2022 12:45



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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-22__685856_item-14_1000234912-14-
2024-05-31\check_images\78939                   925.00 USD.pdf                                  70350      9/19/2022 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-22__700321_item-30_1000240700-30-
2024-05-31\check_images\78939                   925.00 USD.pdf                                  66029      10/21/2022 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-22__712995_item-29_1000246484-29-
2024-05-31\check_images\78939                   925.00 USD.pdf                                  79788      11/21/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-22__724130_item-39_1000252091-39-
2024-05-31\check_images\78939                   925.00 USD.pdf                                  72628     12/14/2022 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-22__740447_item-12_1000257621-12-
2024-05-31\check_images\78939                   925.00 USD.pdf                                  75325      1/23/2023 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-22__752636_item-45_1000263232-45-
2024-05-31\check_images\78939                   925.00 USD.pdf                                  85948      2/21/2023 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-22__765780_item-36_1000268749-36-
2024-05-31\check_images\78939                   925.00 USD.pdf                                  78678      3/20/2023 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-22__779793_item-22_1000274289-22-
2024-05-31\check_images\78939                   925.00 USD.pdf                                  60954      4/20/2023 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-22__792873_item-4_1000279795-4-
2024-05-31\check_images\78939                   925.00 USD.pdf                                  64601       5/19/2023 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-22__806186_item-5_1000285187-5-
2024-05-31\check_images\78939                   925.00 USD.pdf                                  72174      6/20/2023 16:52



                                                           321
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 323 of
                                       3467



               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-22__819349_item-12_1000290736-12-
2024-05-31\check_images\78939                   925.00 USD.pdf                                  62393      7/18/2023 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-22__833466_item-4_1000296301-4-
2024-05-31\check_images\78939                   925.00 USD.pdf                                  64322      8/21/2023 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-22__845215_item-6_1000301640-6-
2024-05-31\check_images\78939                   925.00 USD.pdf                                  79076       9/18/2023 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-22__860208_item-29_1000307075-29-
2024-05-31\check_images\78939                   925.00 USD.pdf                                  51400     10/20/2023 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-22__873292_item-4_1000312545-4-
2024-05-31\check_images\78939                   925.00 USD.pdf                                  50364     11/20/2023 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-22__883488_item-19_1000318000-19-
2024-05-31\check_images\78939                   925.00 USD.pdf                                  55708      12/12/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-22__900611_item-3_1000323340-3-
2024-05-31\check_images\78939                   925.00 USD.pdf                                  50198      1/22/2024 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-22__912551_item-33_1000328571-33-
2024-05-31\check_images\78939                   925.00 USD.pdf                                  51303       2/20/2024 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-22__927196_item-17_1000333926-17-
2024-05-31\check_images\78939                   925.00 USD.pdf                                  54820      3/25/2024 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-22__939642_item-20_1000339198-20-
2024-05-31\check_images\78939                   925.00 USD.pdf                                  47626       4/19/2024 8:54



                                                           322
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 324 of
                                       3467



               All Paths/Locations                              Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-22__953383_item-14_1000344398-14-
2024-05-31\check_images\78939                   925.00 USD.pdf                                    50922      5/21/2024 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-01__636402_5097518-14-5000.00
2024-05-31\check_images\78948                   USD.pdf                                           89256      5/27/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-01__650376_5107512-15-2817.92
2024-05-31\check_images\78948                   USD.pdf                                           57480      6/28/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__730099_item-45_5159635-45-
2024-05-31\check_images\78948                   2817.92 USD.pdf                                   81219       1/3/2023 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__808080_item-10_5210158-10-
2024-05-31\check_images\78948                   2817.92 USD.pdf                                   81172      6/26/2023 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__891186_item-1_5258806-1-
2024-05-31\check_images\78948                   2817.92 USD.pdf                                   79478       1/2/2024 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-01__741000_FW_ Servicing HB Release
2024-05-31\check_images\78953                   04 22 2023 APPROVAL NEEDED-PForde.pdf          1484977       1/25/2023 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-01__741003_FW_ Servicing HB Release
2024-05-31\check_images\78953                   04 22 2023 APPROVAL NEEDED-PForde.pdf          1484977       1/25/2023 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-01__741006_FW_ Servicing HB Release
2024-05-31\check_images\78953                   04 22 2023 APPROVAL NEEDED-PForde.pdf          1484977       1/25/2023 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-01__741010_FW_ Servicing HB Release
2024-05-31\check_images\78953                   04 22 2023 APPROVAL NEEDED-PForde.pdf          1484977       1/25/2023 10:14



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               All Paths/Locations                              Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-01__741013_FW_ Servicing HB Release
2024-05-31\check_images\78953                   04 22 2023 APPROVAL NEEDED-PForde.pdf          1484977       1/25/2023 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-01__741014_FW_ Servicing HB Release
2024-05-31\check_images\78953                   04 22 2023 APPROVAL NEEDED-PForde.pdf          1484977       1/25/2023 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-01__741015_FW_ Servicing HB Release
2024-05-31\check_images\78953                   04 22 2023 APPROVAL NEEDED-PForde.pdf          1484977       1/25/2023 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-01__705077_item-5_387053-5-444.00
2024-05-31\check_images\78953                   USD.pdf                                           48722      11/1/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-01__715986_item-29_390483-29-
2024-05-31\check_images\78953                   444.00 USD.pdf                                    47004     11/29/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__730950_item-23_394098-23-
2024-05-31\check_images\78953                   444.00 USD.pdf                                    49131       1/3/2023 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__746345_item-23_397522-23-
2024-05-31\check_images\78953                   444.00 USD.pdf                                    46047        2/3/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__757063_item-38_400852-38-
2024-05-31\check_images\78953                   444.00 USD.pdf                                   146460      2/28/2023 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__772279_item-25_404261-25-
2024-05-31\check_images\78953                   444.00 USD.pdf                                    51868       4/3/2023 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__784753_item-19_407568-19-
2024-05-31\check_images\78953                   444.00 USD.pdf                                    45888        5/2/2023 9:46



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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__796754_item-14_410966-14-
2024-05-31\check_images\78953                   444.00 USD.pdf                                  47386       5/31/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__811384_item-31_414512-31-
2024-05-31\check_images\78953                   444.00 USD.pdf                                  45021      6/30/2023 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__824322_item-13_418015-13-
2024-05-31\check_images\78953                   444.00 USD.pdf                                  52781      7/31/2023 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__839862_item-30_421807-30-
2024-05-31\check_images\78953                   444.00 USD.pdf                                  57418       9/1/2023 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__852799_item-43_425266-43-
2024-05-31\check_images\78953                   444.00 USD.pdf                                  44597       10/3/2023 8:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__865200_item-6_428679-6-444.00
2024-05-31\check_images\78953                   USD.pdf                                         46227     10/31/2023 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__878403_item-11_432249-11-
2024-05-31\check_images\78953                   444.00 USD.pdf                                  45682     11/30/2023 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__891777_item-21_435833-21-
2024-05-31\check_images\78953                   444.00 USD.pdf                                  48337       1/2/2024 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__904757_item-26_439384-26-
2024-05-31\check_images\78953                   444.00 USD.pdf                                  45557      1/31/2024 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__918405_item-28_442898-28-
2024-05-31\check_images\78953                   444.00 USD.pdf                                  42343        3/4/2024 9:17



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               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__932464_item-4_446365-4-444.00
2024-05-31\check_images\78953                   USD.pdf                                         46872       4/2/2024 22:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__946242_item-6_449884-6-444.00
2024-05-31\check_images\78953                   USD.pdf                                         55432       5/2/2024 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-15__631558_33343909-39-13537.27
2024-05-31\check_images\78954                   USD.pdf                                        101890       5/13/2022 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-15__643669_33369384-24-13537.27
2024-05-31\check_images\78954                   USD.pdf                                        100206      6/13/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-15__656968_33396995-2-13537.27
2024-05-31\check_images\78954                   USD.pdf                                        104938      7/12/2022 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-15__670565_33424690-31-13537.27
2024-05-31\check_images\78954                   USD.pdf                                        104586      8/12/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-15__683238_item-43_33450125-43-
2024-05-31\check_images\78954                   13537.27 USD.pdf                                98932      9/12/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-15__696865_item-18_33476570-18-
2024-05-31\check_images\78954                   13537.27 USD.pdf                               100275      10/12/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-15__711182_item-13_33503454-13-
2024-05-31\check_images\78954                   13537.27 USD.pdf                                99189     11/15/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-15__723299_item-36_33533656-36-
2024-05-31\check_images\78954                   13537.27 USD.pdf                                99534     12/13/2022 17:57



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               All Paths/Locations                               Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-15__738424_item-16_33571699-16-
2024-05-31\check_images\78954                   13537.27 USD.pdf                             105031      1/17/2023 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-15__749490_item-25_33599842-25-
2024-05-31\check_images\78954                   13537.27 USD.pdf                              96516       2/13/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-15__762764_item-10_33626444-10-
2024-05-31\check_images\78954                   13537.27 USD.pdf                              94996       3/13/2023 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-15__777324_item-41_33654597-41-
2024-05-31\check_images\78954                   13537.27 USD.pdf                              94727      4/14/2023 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-15__789985_item-35_33681094-35-
2024-05-31\check_images\78954                   13943.39 USD.pdf                             100764      5/12/2023 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-15__803432_item-23_33706164-23-
2024-05-31\check_images\78954                   13943.39 USD.pdf                             103196      6/12/2023 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-15__817746_item-8_33734767-8-
2024-05-31\check_images\78954                   13943.39 USD.pdf                              95603      7/13/2023 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-15__831411_item-39_33763924-39-
2024-05-31\check_images\78954                   13943.39 USD.pdf                             103033      8/14/2023 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-15__847469_item-33_33789473-33-
2024-05-31\check_images\78954                   13943.39 USD.pdf                              61421      9/22/2023 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-15__857711_item-29_33816161-29-
2024-05-31\check_images\78954                   13943.39 USD.pdf                             109877     10/13/2023 11:35



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 329 of
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               All Paths/Locations                               Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\78954                   2023-11-15__871676_13943.39.pdf              113490      11/15/2023 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-15__883843_item-24_33872831-24-
2024-05-31\check_images\78954                   13943.39 USD.pdf                             116310     12/12/2023 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-15__897462_item-18_33908967-18-
2024-05-31\check_images\78954                   13943.39 USD.pdf                              97429      1/16/2024 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-15__910715_item-14_33936235-14-
2024-05-31\check_images\78954                   13943.39 USD.pdf                             103714       2/13/2024 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-15__923127_item-25_33962233-25-
2024-05-31\check_images\78954                   13943.39 USD.pdf                              62067      3/11/2024 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-15__937228_item-1_33989795-1-
2024-05-31\check_images\78954                   13943.39 USD.pdf                              72875      4/15/2024 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-15__949668_item-37_34014947-37-
2024-05-31\check_images\78954                   14361.69 USD.pdf                              65270       5/13/2024 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__892322_item-45_435846-45-
2024-05-31\check_images\78965                   795.00 USD.pdf                                49082       1/3/2024 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__904559_item-41_439392-41-
2024-05-31\check_images\78965                   795.00 USD.pdf                                45242      1/31/2024 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__918388_item-18_442909-18-
2024-05-31\check_images\78965                   795.00 USD.pdf                                42245        3/4/2024 9:17



                                                           328
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 330 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__932100_item-5_446348-5-795.00
2024-05-31\check_images\78965                   USD.pdf                                         44607       4/2/2024 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__946121_item-3_449889-3-795.00
2024-05-31\check_images\78965                   USD.pdf                                         50386       5/2/2024 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-08__684365_item-42_5129899-42-
2024-05-31\check_images\78969                   550.00 USD.pdf                                  83093      9/13/2022 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-08__695763_item-12_5138405-12-
2024-05-31\check_images\78969                   550.00 USD.pdf                                  87180     10/11/2022 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-08__701132_item-30_5559170-30-
2024-05-31\check_images\78969                   1100.00 USD.pdf                                 54439      10/24/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-08__701133_item-30_5559170-30-
2024-05-31\check_images\78969                   1100.00 USD.pdf                                 54439      10/24/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-08__708811_item-33_5146880-33-
2024-05-31\check_images\78969                   550.00 USD.pdf                                  85605      11/8/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-08__721853_item-18_5155383-18-
2024-05-31\check_images\78969                   550.00 USD.pdf                                  89771      12/9/2022 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-08__734353_item-16_5164428-16-
2024-05-31\check_images\78969                   550.00 USD.pdf                                  77808       1/9/2023 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-08__749180_item-16_5172808-16-
2024-05-31\check_images\78969                   550.00 USD.pdf                                  76338       2/13/2023 9:24



                                                           329
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 331 of
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               All Paths/Locations                               Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-08__762482_item-20_5181146-20-
2024-05-31\check_images\78969                   550.00 USD.pdf                                   75050       3/13/2023 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-08__775703_item-44_5189730-44-
2024-05-31\check_images\78969                   550.00 USD.pdf                                   78158      4/10/2023 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-08__787891_item-20_5197800-20-
2024-05-31\check_images\78969                   550.00 USD.pdf                                   79175       5/8/2023 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-08__800887_item-14_5206208-14-
2024-05-31\check_images\78969                   550.00 USD.pdf                                   78490        6/6/2023 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-08__815644_item-14_5214807-14-
2024-05-31\check_images\78969                   550.00 USD.pdf                                   71539      7/10/2023 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-08__828160_item-9_5223127-9-550.00
2024-05-31\check_images\78969                   USD.pdf                                          72895        8/7/2023 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-08__828845_item-44_5223060-44-
2024-05-31\check_images\78969                   23000.00 USD.pdf                                 71240        8/7/2023 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-08__842699_item-38_5231378-38-
2024-05-31\check_images\78969                   550.00 USD.pdf                                   80070      9/11/2023 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-08__854846_item-8_5239452-8-550.00
2024-05-31\check_images\78969                   USD.pdf                                          82753      10/6/2023 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-08__868678_item-41_5247704-41-
2024-05-31\check_images\78969                   550.00 USD.pdf                                   78251      11/8/2023 10:19



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               All Paths/Locations                              Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-08__882943_item-20_5255472-20-
2024-05-31\check_images\78969                   550.00 USD.pdf                                    77614     12/11/2023 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-08__895406_item-19_5263884-19-
2024-05-31\check_images\78969                   550.00 USD.pdf                                    76832        1/9/2024 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-08__908861_item-12_5271709-12-
2024-05-31\check_images\78969                   550.00 USD.pdf                                    73178        2/8/2024 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-08__922262_item-26_5279527-26-
2024-05-31\check_images\78969                   550.00 USD.pdf                                    74615      3/11/2024 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-08__935382_item-30_5287400-30-
2024-05-31\check_images\78969                   550.00 USD.pdf                                    91392       4/9/2024 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-08__948138_item-2_5295327-2-550.00
2024-05-31\check_images\78969                   USD.pdf                                           78763        5/8/2024 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-04__623799_RE_ Servicing HB Release
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  04-28-2022 APPROVAL NEEDED- FLove
2024-05-31\check_images\78976                   Approval.pdf                                     214715      4/29/2022 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-04__626483_4491020091-30-275.00
2024-05-31\check_images\78976                   USD.pdf                                           96967       5/4/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-04__640943_4491029228-6-275.00
2024-05-31\check_images\78976                   USD.pdf                                           92828       6/6/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-04__653871_4491039011-31-275.00
2024-05-31\check_images\78976                   USD.pdf                                           34781       7/5/2022 14:58



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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-04__666553_4491048614-2-275.00
2024-05-31\check_images\78976                   USD.pdf                                         43610       8/3/2022 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-04__681312_item-35_4491057629-35-
2024-05-31\check_images\78976                   275.00 USD.pdf                                  33513        9/6/2022 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-04__694339_item-21_4491066498-21-
2024-05-31\check_images\78976                   275.00 USD.pdf                                  48488      10/5/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-04__708245_item-43_4491075260-43-
2024-05-31\check_images\78976                   275.00 USD.pdf                                  37416       11/7/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-04__720385_item-37_4491084160-37-
2024-05-31\check_images\78976                   275.00 USD.pdf                                  38830      12/6/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-04__731713_item-7_4491093899-7-
2024-05-31\check_images\78976                   275.00 USD.pdf                                  40337       1/4/2023 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-04__747157_item-20_4491103028-20-
2024-05-31\check_images\78976                   275.00 USD.pdf                                  40353       2/6/2023 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-04__759948_item-1_4491111800-1-
2024-05-31\check_images\78976                   275.00 USD.pdf                                  42780       3/6/2023 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-04__773491_item-2_4491120835-2-
2024-05-31\check_images\78976                   275.00 USD.pdf                                  57383       4/4/2023 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-04__785994_item-1_4491129616-1-
2024-05-31\check_images\78976                   275.00 USD.pdf                                  35918       5/3/2023 10:11



                                                           332
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 334 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-04__801040_item-11_4491138745-11-
2024-05-31\check_images\78976                   275.00 USD.pdf                                  98658        6/6/2023 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-04__813971_item-21_4491148531-21-
2024-05-31\check_images\78976                   275.00 USD.pdf                                  41561       7/5/2023 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-04__828642_item-10_4491158240-10-
2024-05-31\check_images\78976                   275.00 USD.pdf                                  45891       8/7/2023 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-04__840621_item-6_4491167323-6-
2024-05-31\check_images\78976                   275.00 USD.pdf                                  35926       9/5/2023 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-04__853545_item-11_4491176182-11-
2024-05-31\check_images\78976                   275.00 USD.pdf                                  39988      10/3/2023 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-04__868394_item-45_4491185295-45-
2024-05-31\check_images\78976                   275.00 USD.pdf                                  41237      11/7/2023 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-04__879857_item-23_4491194434-23-
2024-05-31\check_images\78976                   275.00 USD.pdf                                  36502       12/4/2023 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-04__894189_item-10_4491204528-10-
2024-05-31\check_images\78976                   275.00 USD.pdf                                  41154       1/4/2024 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-04__907665_item-21_4491213767-21-
2024-05-31\check_images\78976                   275.00 USD.pdf                                  44598       2/5/2024 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-04__920846_item-11_4491222642-11-
2024-05-31\check_images\78976                   275.00 USD.pdf                                  37622        3/6/2024 8:46



                                                           333
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 335 of
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               All Paths/Locations                              Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-04__938048_item-3_4491231675-3-
2024-05-31\check_images\78976                   275.00 USD.pdf                                    37916       4/16/2024 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-04__947795_item-2_4491240541-2-
2024-05-31\check_images\78976                   275.00 USD.pdf                                    49717       5/7/2024 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-04__623800_RE_ Servicing HB Release
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  04-28-2022 APPROVAL NEEDED- FLove
2024-05-31\check_images\78977                   Approval.pdf                                     214715      4/29/2022 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-04__626479_4491020090-29-184.00
2024-05-31\check_images\78977                   USD.pdf                                           41400       5/4/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-04__640941_4491029227-5-184.00
2024-05-31\check_images\78977                   USD.pdf                                           36720       6/6/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-04__653870_4491039010-32-184.00
2024-05-31\check_images\78977                   USD.pdf                                           91838       7/5/2022 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-04__666551_4491048613-1-184.00
2024-05-31\check_images\78977                   USD.pdf                                           43878       8/3/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-04__681308_item-34_4491057628-34-
2024-05-31\check_images\78977                   184.00 USD.pdf                                   130728        9/6/2022 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-04__694337_item-20_4491066497-20-
2024-05-31\check_images\78977                   184.00 USD.pdf                                    47546      10/5/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-04__708244_item-42_4491075259-42-
2024-05-31\check_images\78977                   184.00 USD.pdf                                    56112       11/7/2022 9:20



                                                            334
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 336 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-04__720388_item-36_4491084159-36-
2024-05-31\check_images\78977                   184.00 USD.pdf                                  46050      12/6/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-04__731712_item-6_4491093898-6-
2024-05-31\check_images\78977                   184.00 USD.pdf                                  53544       1/4/2023 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-04__747153_item-19_4491103027-19-
2024-05-31\check_images\78977                   184.00 USD.pdf                                  59913       2/6/2023 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-04__759877_item-45_4491111799-45-
2024-05-31\check_images\78977                   184.00 USD.pdf                                  59034        3/6/2023 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-04__773492_item-3_4491120834-3-
2024-05-31\check_images\78977                   184.00 USD.pdf                                  39798       4/4/2023 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-04__785997_item-3_4491129615-3-
2024-05-31\check_images\78977                   184.00 USD.pdf                                  58120       5/3/2023 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-04__801036_item-10_4491138744-10-
2024-05-31\check_images\78977                   184.00 USD.pdf                                  40933        6/6/2023 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-04__813966_item-20_4491148530-20-
2024-05-31\check_images\78977                   184.00 USD.pdf                                  40868       7/5/2023 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-04__828641_item-9_4491158239-9-
2024-05-31\check_images\78977                   184.00 USD.pdf                                  59644       8/7/2023 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-04__840612_item-5_4491167322-5-
2024-05-31\check_images\78977                   184.00 USD.pdf                                  77793       9/5/2023 10:00



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 337 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-04__853536_item-10_4491176181-10-
2024-05-31\check_images\78977                   184.00 USD.pdf                                  41136      10/3/2023 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-04__868390_item-44_4491185294-44-
2024-05-31\check_images\78977                   184.00 USD.pdf                                  40862      11/7/2023 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-04__879855_item-22_4491194433-22-
2024-05-31\check_images\78977                   184.00 USD.pdf                                  36140       12/4/2023 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-04__894188_item-9_4491204527-9-
2024-05-31\check_images\78977                   184.00 USD.pdf                                  40575       1/4/2024 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-04__907664_item-20_4491213766-20-
2024-05-31\check_images\78977                   184.00 USD.pdf                                  45176       2/5/2024 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-04__920843_item-10_4491222641-10-
2024-05-31\check_images\78977                   184.00 USD.pdf                                  92645        3/6/2024 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-04__938047_item-2_4491231674-2-
2024-05-31\check_images\78977                   184.00 USD.pdf                                  37743       4/16/2024 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-04__947796_item-1_4491240540-1-
2024-05-31\check_images\78977                   184.00 USD.pdf                                  77309       5/7/2024 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-01__673930_33433846-20-2500.00
2024-05-31\check_images\78996                   USD.pdf                                         93964       8/22/2022 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__824259_item-34_33751132-34-
2024-05-31\check_images\78996                   2500.00 USD.pdf                                 99543      7/31/2023 10:11



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               All Paths/Locations                               Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-06__889902_item-11_3808901-11-
2024-05-31\check_images\78999                   40000.00 USD.pdf                              54642      12/28/2023 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-01__610312_9441977-5-3490.37
2024-05-31\check_images\79002                   USD.pdf                                       32620      3/31/2022 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-01__625985_9466808-12-3490.37
2024-05-31\check_images\79002                   USD.pdf                                       31989       5/4/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-01__639279_9489652-37-3490.37
2024-05-31\check_images\79002                   USD.pdf                                       31754       6/2/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\79002                   2022-07-01__656672_33382844 3490.37.pdf      312846      7/12/2022 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-01__677288_9560987-3-3490.37
2024-05-31\check_images\79002                   USD.pdf                                       34802       8/30/2022 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-01__684050_item-6_9570498-6-
2024-05-31\check_images\79002                   3490.37 USD.pdf                               37237      9/13/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-01__692113_item-5_9587164-5-
2024-05-31\check_images\79002                   3490.37 USD.pdf                               30435      9/30/2022 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-01__704277_item-17_9609674-17-
2024-05-31\check_images\79002                   3490.37 USD.pdf                               37513     10/31/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-01__715980_item-1_9632280-1-
2024-05-31\check_images\79002                   3490.37 USD.pdf                               39271      11/29/2022 9:55



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               All Paths/Locations                              Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__729680_item-7_9661060-7-
2024-05-31\check_images\79002                   3490.37 USD.pdf                              32444     12/30/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__743777_item-16_9686565-16-
2024-05-31\check_images\79002                   3490.37 USD.pdf                              30595      1/30/2023 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__756591_item-24_9710637-24-
2024-05-31\check_images\79002                   3490.37 USD.pdf                              34975      2/28/2023 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__771709_item-42_9737899-42-
2024-05-31\check_images\79002                   3490.37 USD.pdf                              35202        4/3/2023 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__783181_item-32_9761045-32-
2024-05-31\check_images\79002                   3490.37 USD.pdf                              36913      4/28/2023 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__795776_item-9_9785271-9-
2024-05-31\check_images\79002                   3490.37 USD.pdf                              37735      5/30/2023 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__811285_item-15_9811408-15-
2024-05-31\check_images\79002                   3490.37 USD.pdf                              30838      6/30/2023 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__823692_item-18_9833523-18-
2024-05-31\check_images\79002                   3490.37 USD.pdf                              38390      7/31/2023 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__839239_item-21_9858789-21-
2024-05-31\check_images\79002                   3490.37 USD.pdf                              38880      8/31/2023 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__851277_item-34_9882186-34-
2024-05-31\check_images\79002                   3490.37 USD.pdf                              40424      9/29/2023 13:32



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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__869263_item-19_9906650-19-
2024-05-31\check_images\79002                   3490.37 USD.pdf                               36402       11/9/2023 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__878343_item-32_9931772-32-
2024-05-31\check_images\79002                   3490.37 USD.pdf                               37119     11/30/2023 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__889890_item-32_9957557-32-
2024-05-31\check_images\79002                   3490.37 USD.pdf                               38756      12/28/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__906108_item-21_9985785-21-
2024-05-31\check_images\79002                   3490.37 USD.pdf                               34605        2/2/2024 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__919534_item-24_10012436-24-
2024-05-31\check_images\79002                   3490.37 USD.pdf                               31057       3/4/2024 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__931000_item-39_10037314-39-
2024-05-31\check_images\79002                   3490.37 USD.pdf                               35995       4/1/2024 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__942376_item-4_10062438-4-
2024-05-31\check_images\79002                   3490.37 USD.pdf                               31423      4/29/2024 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-18__738436_item-43_30696289-43-
2024-05-31\check_images\79003                   1617.87 USD.pdf                               89323      1/17/2023 18:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-18__750693_item-35_30702944-35-
2024-05-31\check_images\79003                   1617.87 USD.pdf                               93615      2/14/2023 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-18__764917_item-40_30708744-40-
2024-05-31\check_images\79003                   1617.87 USD.pdf                               91987      3/16/2023 12:33



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               All Paths/Locations                               Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-18__778545_item-18_30715476-18-
2024-05-31\check_images\79003                   1617.87 USD.pdf                              102706      4/17/2023 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-18__790065_item-6_30720666-6-
2024-05-31\check_images\79003                   1617.87 USD.pdf                              102005      5/15/2023 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-18__805443_item-2_30726939-2-
2024-05-31\check_images\79003                   1617.87 USD.pdf                               98926      6/16/2023 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-18__818834_item-14_30733922-14-
2024-05-31\check_images\79003                   1617.87 USD.pdf                              104296      7/17/2023 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\79003                   2023-08-18__832347_1617.87.pdf                96786       8/16/2023 8:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-18__845142_item-2_30746748-2-
2024-05-31\check_images\79003                   1617.87 USD.pdf                              101867       9/18/2023 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-18__858384_item-40_30751874-40-
2024-05-31\check_images\79003                   1617.87 USD.pdf                               99449     10/16/2023 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-18__872353_item-22_30758265-22-
2024-05-31\check_images\79003                   60000.00 USD.pdf                              57156      11/16/2023 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-18__872355_item-23_30758264-23-
2024-05-31\check_images\79003                   1666.41 USD.pdf                               96256      11/16/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-18__886670_item-44_30766908-44-
2024-05-31\check_images\79003                   1666.41 USD.pdf                               90395     12/19/2023 12:30



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 342 of
                                       3467



               All Paths/Locations                              Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-18__899066_item-15_30773563-15-
2024-05-31\check_images\79003                   1666.41 USD.pdf                                  103902      1/17/2024 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-18__912335_item-12_30780497-12-
2024-05-31\check_images\79003                   1666.41 USD.pdf                                   98835      2/20/2024 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-18__924153_item-3_30786926-3-
2024-05-31\check_images\79003                   1666.41 USD.pdf                                   53735       3/14/2024 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-18__937519_item-11_30792524-11-
2024-05-31\check_images\79003                   1666.41 USD.pdf                                   54505      4/15/2024 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-18__950977_item-2_30799052-2-
2024-05-31\check_images\79003                   1666.41 USD.pdf                                   56660      5/14/2024 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-16__627520_Re_ Servicing HB Release
2024-05-31\check_images\79056                   05-05-22 APPROVAL NEEDED.pdf                     240482       5/6/2022 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-16__659398_4491042023-36-750.00
2024-05-31\check_images\79056                   USD.pdf                                           90360      7/19/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-16__659399_4491042024-35-5000.00
2024-05-31\check_images\79056                   USD.pdf                                           37355      7/19/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-16__699228_item-8_4491069408-8-
2024-05-31\check_images\79056                   750.00 USD.pdf                                    38314     10/17/2022 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-16__738236_item-36_4491097189-36-
2024-05-31\check_images\79056                   750.00 USD.pdf                                    37220       1/17/2023 9:55



                                                            341
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                                       3467



               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-16__777942_item-23_4491123827-23-
2024-05-31\check_images\79056                   750.00 USD.pdf                                  43962      4/17/2023 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-16__818658_item-28_4491151729-28-
2024-05-31\check_images\79056                   750.00 USD.pdf                                  38872      7/17/2023 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-16__859050_item-39_4491179269-39-
2024-05-31\check_images\79056                   750.00 USD.pdf                                  40604      10/16/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-16__898631_item-45_4491207731-45-
2024-05-31\check_images\79056                   750.00 USD.pdf                                  88493      1/16/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-16__937916_item-6_4491234731-6-
2024-05-31\check_images\79056                   750.00 USD.pdf                                  98429      4/15/2024 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-01__652510_373469-42-6500.00
2024-05-31\check_images\79059                   USD.pdf                                         45370        7/1/2022 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__730427_item-18_394002-18-
2024-05-31\check_images\79059                   6500.00 USD.pdf                                 48426       1/3/2023 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-28__765609_item-5_23829873-5-
2024-05-31\check_images\79069                   2250.00 USD.pdf                                 63601      3/20/2023 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-28__806907_item-16_23958472-16-
2024-05-31\check_images\79069                   2250.00 USD.pdf                                 61927      6/21/2023 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-28__847267_item-1_24087358-1-
2024-05-31\check_images\79069                   2250.00 USD.pdf                                 59487       9/22/2023 8:14



                                                           342
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               All Paths/Locations                                 Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-28__887914_item-31_24219126-31-
2024-05-31\check_images\79069                   2250.00 USD.pdf                                 61889       12/22/2023 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-28__927428_item-12_24357032-12-
2024-05-31\check_images\79069                   2250.00 USD.pdf                                 60198       3/25/2024 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-10__896894_item-14_4491205719-14-
2024-05-31\check_images\79070                   1741.14 USD.pdf                                 83741       1/11/2024 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-10__910286_item-32_4491214879-32-
2024-05-31\check_images\79070                   1741.14 USD.pdf                                 93358        2/12/2024 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-10__922868_item-19_4491223762-19-
2024-05-31\check_images\79070                   1741.14 USD.pdf                                 94066        3/11/2024 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-10__935443_item-44_4491232807-44-
2024-05-31\check_images\79070                   1741.14 USD.pdf                                 97070        4/9/2024 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-10__949023_item-17_4491241659-17-
2024-05-31\check_images\79070                   1741.14 USD.pdf                                 82238        5/9/2024 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-03-16__613976_Copy of JGW Sutton
2024-05-31\check_images\79087                   Collections March.xlsx                          13132        4/7/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-16__622225_Collections by
2024-05-31\check_images\79087                   Securitization 1.pdf                              2154      6/13/2024 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-16__632646_Collections by
2024-05-31\check_images\79087                   Securitization 05162022.pdf                       2391      6/13/2024 11:18



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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-16__646108_Collections by
2024-05-31\check_images\79087                   Securitization 06162022.pdf               2152      6/13/2024 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-16__659632_Collections by
2024-05-31\check_images\79087                   Securitization.pdf                        6309       7/20/2022 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-16__672638_Collections by
2024-05-31\check_images\79087                   Securitization 08152022.pdf               2391      6/13/2024 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-16__686824_Collections by
2024-05-31\check_images\79087                   Securitization 09162022.pdf               2383      6/13/2024 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-16__701137_Collections by
2024-05-31\check_images\79087                   Securitization.pdf                        8780      10/25/2022 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-16__712936_Collections by
2024-05-31\check_images\79087                   Securitization.pdf                        6305      11/21/2022 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-16__726956_Collections by
2024-05-31\check_images\79087                   Securitization 1219022.pdf                2582      6/13/2024 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-16__739679_Collections by
2024-05-31\check_images\79087                   Securitization.pdf                        8212       1/23/2023 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-16__754580_Collections by
2024-05-31\check_images\79087                   Securitization.pdf                        9443       2/24/2023 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-16__766422_Collections by
2024-05-31\check_images\79087                   Securitization.pdf                        8218       3/22/2023 8:18



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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-16__779682_Collections by
2024-05-31\check_images\79087                   Securitization 04172023.pdf               2575      6/13/2024 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-16__792844_Collections by
2024-05-31\check_images\79087                   Securitization 05162023.pdf               2587      6/13/2024 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-16__807465_Collections by
2024-05-31\check_images\79087                   Securitization 06202023.pdf               2767      6/13/2024 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-16__819581_Collections by
2024-05-31\check_images\79087                   Securitization.pdf                      31684        7/19/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-16__834255_Collections by
2024-05-31\check_images\79087                   Securitization.pdf                     182959        8/22/2023 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-16__846685_Collections by
2024-05-31\check_images\79087                   Securitization.pdf                      28759        9/20/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-16__860168_Collections by
2024-05-31\check_images\79087                   Securitization 10172023.pdf               2772      6/13/2024 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-16__874199_Collections by
2024-05-31\check_images\79087                   Securitization.pdf                      29002       11/22/2023 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-16__887642_Collections by
2024-05-31\check_images\79087                   Securitization 12182023.pdf             32743      12/21/2023 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-16__900312_Collections by
2024-05-31\check_images\79087                   Securitization.pdf                      31424        1/22/2024 8:01



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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-16__914410_Collections by
2024-05-31\check_images\79087                   Securitization.pdf                          31579        2/23/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-16__926550_Collections by
2024-05-31\check_images\79087                   Securitization.pdf                          31183        3/21/2024 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-16__939596_Collections by
2024-05-31\check_images\79087                   Securitization.pdf                          28843        4/19/2024 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-16__953169_Collections by
2024-05-31\check_images\79087                   Securitization.pdf                          30900        5/21/2024 7:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-03-19__613978_Copy of JGW Sutton
2024-05-31\check_images\79088                   Collections March.xlsx                      13132        4/7/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-19__622242_Collections by
2024-05-31\check_images\79088                   Securitization 4 22 2022.pdf                32068       4/26/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-19__634224_Collections by
2024-05-31\check_images\79088                   Securitization 05192022.pdf                   2388      6/13/2024 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-19__648305_Collections by
2024-05-31\check_images\79088                   Securitization 06212022.pdf                   2584      6/13/2024 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-19__661753_Collections by
2024-05-31\check_images\79088                   Securitization 07212022.pdf                   2969      6/13/2024 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-19__674703_Collections by
2024-05-31\check_images\79088                   Securitization 08222022.pdf                   2383      6/13/2024 11:19



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-19__687924_Collections by
2024-05-31\check_images\79088                   Securitization.pdf                        9026       9/26/2022 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-19__702308_Collections by
2024-05-31\check_images\79088                   Securitization.pdf                        8600      10/27/2022 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-19__715871_Collections by
2024-05-31\check_images\79088                   Securitization 11212022.pdf               2781      6/13/2024 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-19__740964_Collections by
2024-05-31\check_images\79088                   Securitization 01202023.pdf               2569      6/13/2024 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-19__755230_Collections by
2024-05-31\check_images\79088                   Securitization 02222023.pdf               2154      6/13/2024 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-19__766969_Collections by
2024-05-31\check_images\79088                   Securitization.pdf                        8415       3/24/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-19__781145_Collections by
2024-05-31\check_images\79088                   Securitization.pdf                        8409       4/25/2023 8:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-19__910112_Collections by
2024-05-31\check_images\79088                   Securitization 12212022.pdf             12943       2/12/2024 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-19__794607_Collections by
2024-05-31\check_images\79088                   Securitization.pdf                        8218       5/25/2023 8:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-19__810185_Collections by
2024-05-31\check_images\79088                   Securitization.pdf                      31281        6/28/2023 9:43



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-19__821380_Collections by
2024-05-31\check_images\79088                   Securitization.pdf                      28452        7/25/2023 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-19__835029_Collections by
2024-05-31\check_images\79088                   Securitization.pdf                     180803        8/24/2023 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-19__847637_Collections by
2024-05-31\check_images\79088                   Securitization.pdf                      29441        9/25/2023 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-19__861863_Collections by
2024-05-31\check_images\79088                   Securitization.pdf                      30423       10/26/2023 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-19__910120_Collections by
2024-05-31\check_images\79088                   Securitization.pdf                      70667       2/12/2024 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-19__890609_Collections by
2024-05-31\check_images\79088                   Securitization.pdf                      30313       12/29/2023 7:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-19__901572_Collections by
2024-05-31\check_images\79088                   Securitization.pdf                      30610        1/25/2024 7:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-19__914590_Collections by
2024-05-31\check_images\79088                   Securitization.pdf                      30644        2/26/2024 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-19__927094_Collections by
2024-05-31\check_images\79088                   Securitization.pdf                        6308       3/25/2024 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-19__941684_Collections by
2024-05-31\check_images\79088                   Securitization.pdf                      30833        4/26/2024 7:35



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               All Paths/Locations                                 Unified Title        File Size    Primary Date/Time
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-19__954777_Collections by
2024-05-31\check_images\79088                   Securitization.pdf                          31189        5/28/2024 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-03-25__613982_Copy of JGW Sutton
2024-05-31\check_images\79089                   Collections March.xlsx                      13132        4/7/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-25__623832_Collections by
2024-05-31\check_images\79089                   Securitization.pdf                            3147      6/13/2024 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-25__637610_Collections by
2024-05-31\check_images\79089                   Securitization.pdf                            8415       6/1/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-25__652919_Collections by
2024-05-31\check_images\79089                   Securitization 06292022.pdf                   3695      6/13/2024 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-25__664227_Collections by
2024-05-31\check_images\79089                   Securitization.pdf                            9248        8/1/2022 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-25__679255_Collections by
2024-05-31\check_images\79089                   Securitization 08292022.pdf                   2785      6/13/2024 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-25__691412_Collections by
2024-05-31\check_images\79089                   Securitization.pdf                            8417       9/29/2022 8:04
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-25__718753_Collections by
2024-05-31\check_images\79089                   Securitization 11302022.pdf                   3154      6/13/2024 11:20



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Image Request - EXTERNAL\Dorchester II 2021-01-
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2024-05-31\check_images\79089                   Securitization.pdf                        8806        1/4/2023 8:21
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-25__742250_Collections by
2024-05-31\check_images\79089                   Securitization 01252023.pdf               2790      6/13/2024 11:20
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-25__760132_Collections by
2024-05-31\check_images\79089                   Securitization 03012023.pdf               3713      6/13/2024 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-25__783272_Collections by
2024-05-31\check_images\79089                   Securitization.pdf                        9021        5/1/2023 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-25__816645_Collections by
2024-05-31\check_images\79089                   Securitization 03292023.pdf               4263      6/13/2024 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-25__796798_Collections by
2024-05-31\check_images\79089                   Securitization.pdf                        6305       5/31/2023 9:00
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
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2024-05-31\check_images\79089                   Securitization.pdf                      31296         7/5/2023 8:46
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
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2024-05-31\check_images\79089                   Securitization.pdf                     129406        7/31/2023 8:39
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
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2024-05-31\check_images\79089                   Securitization.pdf                      31310         9/1/2023 7:42
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
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2024-05-31\check_images\79089                   Securitization.pdf                      31964        9/29/2023 7:44



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Image Request - EXTERNAL\Dorchester II 2021-01-
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2024-05-31\check_images\79089                   Securitization.pdf                               31502       10/30/2023 8:10
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-25__879066_Collections by
2024-05-31\check_images\79089                   Securitization.pdf                               32282        12/4/2023 8:21
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-25__891998_Collections by
2024-05-31\check_images\79089                   Securitization.pdf                               31844         1/3/2024 8:42
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
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Saiph consulting|\Audit Materials Received-
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01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-25__946802_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
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Image Request - EXTERNAL\Dorchester II 2021-01-
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-29__667127_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-29__679256_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-29__693262_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-29__704691_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-29__817664_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-28__760112_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-29__816643_Collections by
2024-05-31\check_images\79091                   Securitization 03292023.pdf               4263      6/13/2024 11:21
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-29__788752_Collections by
2024-05-31\check_images\79091                   Securitization 05042023.pdf               2590      6/13/2024 11:21
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-29__799803_Collections by
2024-05-31\check_images\79091                   Securitization 05312023.pdf               4084      6/13/2024 11:21
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-29__814453_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-29__841418_Collections by
2024-05-31\check_images\79091                   Securitization 08312023.pdf               3707      6/13/2024 11:21
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-29__851347_Collections by
2024-05-31\check_images\79091                   Securitization.pdf                      31066        10/2/2023 8:41
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-29__866809_Collections by
2024-05-31\check_images\79091                   Securitization 10302023.pdf               4835      6/13/2024 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-29__882112_Collections by
2024-05-31\check_images\79091                   Securitization 12042023.pdf             33142        12/7/2023 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-29__894281_Collections by
2024-05-31\check_images\79091                   Securitization.pdf                      31605         1/5/2024 7:33



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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-29__908817_Collections by
2024-05-31\check_images\79091                   Securitization.pdf                               31265         2/8/2024 7:32
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-29__921553_Collections by
2024-05-31\check_images\79091                   Securitization.pdf                               31318         3/8/2024 7:21
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-29__930141_Collections by
2024-05-31\check_images\79091                   Securitization.pdf                               30853         4/1/2024 7:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-29__946132_Collections by
2024-05-31\check_images\79091                   Securitization 04292024.pdf                      33919         5/2/2024 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-29__957340_Collections by
2024-05-31\check_images\79091                   Securitization 05242024.pdf                      46855        5/30/2024 8:42
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-01__615984_Copy of Copy of Copy of
2024-05-31\check_images\79093                   Sutton Collections new.xlsx                      21861       4/13/2022 10:56
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
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2024-05-31\check_images\79093                   Securitization 05052022.pdf                        8779        5/5/2022 8:24
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-01__652923_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-01__814711_Collections by
2024-05-31\check_images\79093                   Securitization.pdf                               28273        7/10/2023 8:36
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-01__667928_Collections by
2024-05-31\check_images\79093                   Securitization.pdf                                 9203        8/8/2022 8:52



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-01__680447_Collections by
2024-05-31\check_images\79093                   Securitization.pdf                        8409        9/6/2022 8:30
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-01__693239_Collections by
2024-05-31\check_images\79093                   Securitization.pdf                        8784       10/4/2022 8:08
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-01__707526_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__761021_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__774408_Collections by
2024-05-31\check_images\79093                   Securitization.pdf                        9949        4/6/2023 8:01
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__787450_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__800833_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__817663_Collections by
2024-05-31\check_images\79093                   Securitization 05312022.pdf               4255      6/13/2024 11:21
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__827755_Collections by
2024-05-31\check_images\79093                   Securitization.pdf                     114137         8/4/2023 7:38
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__842193_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__855141_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__866824_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__882208_Collections by
2024-05-31\check_images\79093                   Securitization.pdf                      31102        12/8/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__895378_Collections by
2024-05-31\check_images\79093                   Securitization.pdf                      31952         1/9/2024 7:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__911182_Collections by
2024-05-31\check_images\79093                   Securitization.pdf                      30052        2/14/2024 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__919814_Collections by
2024-05-31\check_images\79093                   Securitization.pdf                      32339         3/5/2024 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__934133_Collections by
2024-05-31\check_images\79093                   Securitization.pdf                      31771         4/5/2024 7:30



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               All Paths/Locations                                 Unified Title             File Size    Primary Date/Time
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__946139_Collections by
2024-05-31\check_images\79093                   Securitization 04292024.pdf                      33919         5/2/2024 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-01__615981_Copy of Copy of Copy of
2024-05-31\check_images\79094                   Sutton Collections new.xlsx                      21861       4/13/2022 10:56
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-01__627007_Collections by
2024-05-31\check_images\79094                   Securitization 05052022.pdf                        8779        5/5/2022 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-01__641234_Collections by
2024-05-31\check_images\79094                   Securitization.pdf                                 8592        6/7/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-01__654946_Collections by
2024-05-31\check_images\79094                   Securitization.pdf                                 6303        7/7/2022 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-01__667128_Collections by
2024-05-31\check_images\79094                   Securitization 08012022.pdf                        3692      6/13/2024 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-01__681683_Collections by
2024-05-31\check_images\79094                   Securitization.pdf                                 9208        9/7/2022 8:38
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-01__695010_Collections by
2024-05-31\check_images\79094                   Securitization.pdf                                 8591       10/6/2022 8:28
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-01__707524_Collections by
2024-05-31\check_images\79094                   Securitization 11022022.pdf                        2769      6/13/2024 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-01__718754_Collections by
2024-05-31\check_images\79094                   Securitization 11302022.pdf                        3154      6/13/2024 11:22



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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__734010_Collections by
2024-05-31\check_images\79094                   Securitization 01042023.pdf               2765      6/13/2024 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__749147_Collections by
2024-05-31\check_images\79094                   Securitization 02082023.pdf               2970      6/13/2024 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__761048_Collections by
2024-05-31\check_images\79094                   Securitization 03022023.pdf               4079      6/13/2024 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__774415_Collections by
2024-05-31\check_images\79094                   Securitization.pdf                        9949        4/6/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__786672_Collections by
2024-05-31\check_images\79094                   Securitization.pdf                        8401        5/4/2023 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__801980_Collections by
2024-05-31\check_images\79094                   Securitization.pdf                        9411        6/8/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__814589_Collections by
2024-05-31\check_images\79094                   Securitization.pdf                      31454         7/7/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__827964_Collections by
2024-05-31\check_images\79094                   Securitization.pdf                     185664         8/7/2023 8:28
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__842276_Collections by
2024-05-31\check_images\79094                   Securitization.pdf                      31292         9/8/2023 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__854478_Collections by
2024-05-31\check_images\79094                   Securitization.pdf                      31318        10/5/2023 8:08



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               All Paths/Locations                                 Unified Title             File Size    Primary Date/Time
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__868562_Collections by
2024-05-31\check_images\79094                   Securitization.pdf                               30923        11/8/2023 7:49
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__882089_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__894279_Collections by
2024-05-31\check_images\79094                   Securitization.pdf                               31605         1/5/2024 7:33
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__934129_Collections by
2024-05-31\check_images\79094                   Securitization.pdf                               31771         4/5/2024 7:30
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__946815_Collections by
2024-05-31\check_images\79094                   Securitization.pdf                               32235         5/6/2024 8:21
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-01__615995_Copy of Copy of Copy of
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-01__616002_Copy of Copy of Copy of
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\79095                   2022-06-01__623215_JGW 4 28 2022.pdf             33647       4/28/2022 10:23
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-01__637607_Collections by
2024-05-31\check_images\79095                   Securitization.pdf                                 8415       6/1/2022 10:19



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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-01__666348_Collections by
2024-05-31\check_images\79095                   Securitization.pdf                        6310        8/3/2022 8:37
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-01__679920_Collections by
2024-05-31\check_images\79095                   Securitization.pdf                        7959        9/2/2022 9:11
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-01__694241_Collections by
2024-05-31\check_images\79095                   Securitization 09302022.pdf               2158      6/13/2024 11:23
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-01__704706_Collections by
2024-05-31\check_images\79095                   Securitization 10272022.pdf               2775      6/13/2024 11:23
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-01__716957_Collections by
2024-05-31\check_images\79095                   Securitization.pdf                        9039      11/30/2022 9:06
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__728403_Collections by
2024-05-31\check_images\79095                   Securitization.pdf                        8416      12/28/2022 9:16
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__744750_Collections by
2024-05-31\check_images\79095                   Securitization.pdf                        7956        2/1/2023 8:20
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__757093_Collections by
2024-05-31\check_images\79095                   Securitization 02232023.pdf               2977      6/13/2024 11:23
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__770895_Collections by
2024-05-31\check_images\79095                   Securitization.pdf                        8223       3/31/2023 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__782973_Collections by
2024-05-31\check_images\79095                   Securitization.pdf                        8415       4/28/2023 8:07



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__799826_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__811545_Collections by
2024-05-31\check_images\79095                   Securitization.pdf                      29714         7/3/2023 7:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__827969_Collections by
2024-05-31\check_images\79095                   Securitization.pdf                     185664         8/7/2023 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__840236_Collections by
2024-05-31\check_images\79095                   Securitization 08302023.pdf               3727      6/13/2024 11:23
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__851344_Collections by
2024-05-31\check_images\79095                   Securitization.pdf                      31066        10/2/2023 8:41
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__866806_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__882085_Collections by
2024-05-31\check_images\79095                   Securitization 12042023.pdf             33142        12/7/2023 9:33
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__893629_Collections by
2024-05-31\check_images\79095                   Securitization.pdf                      28963         1/4/2024 7:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__920719_Collections by
2024-05-31\check_images\79095                   Securitization.pdf                      30675         3/6/2024 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__929780_Collections by
2024-05-31\check_images\79095                   Securitization.pdf                      31203        3/29/2024 7:45



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               All Paths/Locations                                 Unified Title             File Size    Primary Date/Time
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__944707_Collections by
2024-05-31\check_images\79095                   Securitization.pdf                                 6459        5/1/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-01__615972_Copy of Copy of Copy of
2024-05-31\check_images\79096                   Sutton Collections new.xlsx                      21861       4/13/2022 10:56
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-01__624324_Collections by
2024-05-31\check_images\79096                   Securitization 05022022.pdf                        2774      6/13/2024 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-01__637507_Collections by
2024-05-31\check_images\79096                   Securitization.pdf                                 8410        6/1/2022 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-01__652129_Collections by
2024-05-31\check_images\79096                   Securitization 06282022.pdf                        2155      6/13/2024 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-01__664225_Collections by
2024-05-31\check_images\79096                   Securitization.pdf                                 9248        8/1/2022 7:44
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-01__679258_Collections by
2024-05-31\check_images\79096                   Securitization 08292022.pdf                        2785      6/13/2024 11:23
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-01__692261_Collections by
2024-05-31\check_images\79096                   Securitization.pdf                                 8607       10/3/2022 8:42
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-01__704696_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-01__716956_Collections by
2024-05-31\check_images\79096                   Securitization.pdf                                 9039      11/30/2022 9:06



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               All Paths/Locations                                 Unified Title              File Size    Primary Date/Time
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__729812_Collections by
2024-05-31\check_images\79096                   Securitization.pdf                                  8809        1/3/2023 8:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__746623_Collections by
2024-05-31\check_images\79096                   Securitization.pdf                                  8217        2/6/2023 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__759126_Collections by
2024-05-31\check_images\79096                   Securitization 02272023.pdf                         2963      6/13/2024 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__770896_Collections by
2024-05-31\check_images\79096                   Securitization.pdf                                  8223       3/31/2023 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__783276_Collections by
2024-05-31\check_images\79096                   Securitization.pdf                                  9021        5/1/2023 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__799191_Collections by
2024-05-31\check_images\79096                   Securitization 05302023.pdf                         3519      6/13/2024 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__810577_Collections by
2024-05-31\check_images\79096                   Securitization.pdf                                28901        6/29/2023 7:57
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_8_8_2024_10_58_56_
SuttonPark\Annuity Masters                      AM.xls                                              2122      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_8_8_2024_10_59_14_
SuttonPark\Annuity Masters                      AM.xls                                              2863      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_8_8_2024_10_59_30_
SuttonPark\Annuity Masters                      AM.xls                                              3215      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_8_8_2024_10_59_43_
SuttonPark\Annuity Masters                      AM.xls                                              2120      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_8_8_2024_10_59_59_
SuttonPark\Annuity Masters                      AM.xls                                              2850      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_8_8_2024_11_00_13_
SuttonPark\Annuity Masters                      AM.xls                                              2462      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_8_8_2024_11_00_23_
SuttonPark\Annuity Masters                      AM.xls                                              2132      10/9/2024 16:19




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Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_00_35_
SuttonPark\Annuity Masters                    AM.xls                                              3584      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_00_46_
SuttonPark\Annuity Masters                    AM.xls                                              2129      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_00_59_
SuttonPark\Annuity Masters                    AM.xls                                              1774      10/9/2024 16:17
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_01_07_
SuttonPark\Annuity Masters                    AM.xls                                              2120      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_03_48_
SuttonPark\Annuity Masters                    AM.xls                                              1775      10/9/2024 16:17
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_04_10_
SuttonPark\Annuity Masters                    AM.xls                                              1775      10/9/2024 16:17
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_04_28_
SuttonPark\Annuity Masters                    AM.xls                                              2837      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_04_34_
SuttonPark\Annuity Masters                    AM.xls                                              2837      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_04_51_
SuttonPark\Annuity Masters                    AM.xls                                              2118      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_05_06_
SuttonPark\Annuity Masters                    AM.xls                                              2119      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_05_20_
SuttonPark\Annuity Masters                    AM.xls                                              2122      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_05_41_
SuttonPark\Annuity Masters                    AM.xls                                              6756      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_06_13_
SuttonPark\Annuity Masters                    AM.xls                                              2489      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_07_28_
SuttonPark\Annuity Masters                    AM.xls                                              2122      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_07_40_
SuttonPark\Annuity Masters                    AM.xls                                              2115      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_08_13_
SuttonPark\Annuity Masters                    AM.xls                                              2120      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_08_24_
SuttonPark\Annuity Masters                    AM.xls                                              2819      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_08_40_
SuttonPark\Annuity Masters                    AM.xls                                              2125      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_08_52_
SuttonPark\Annuity Masters                    AM.xls                                              2844      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_09_14_
SuttonPark\Annuity Masters                    AM.xls                                              2125      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_09_26_
SuttonPark\Annuity Masters                    AM.xls                                              2853      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_09_37_
SuttonPark\Annuity Masters                    AM.xls                                              2123      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_09_46_
SuttonPark\Annuity Masters                    AM.xls                                              2116      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_09_57_
SuttonPark\Annuity Masters                    AM.xls                                              1778      10/9/2024 16:17




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               All Paths/Locations                              Unified Title               File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_10_06_
SuttonPark\Annuity Masters                    AM.xls                                              2479      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_10_17_
SuttonPark\Annuity Masters                    AM.xls                                              2854      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_10_29_
SuttonPark\Annuity Masters                    AM.xls                                              2117      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_10_42_
SuttonPark\Annuity Masters                    AM.xls                                              2499      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_10_52_
SuttonPark\Annuity Masters                    AM.xls                                              2100      10/9/2024 16:17
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_11_01_
SuttonPark\Annuity Masters                    AM.xls                                              3246      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_11_10_
SuttonPark\Annuity Masters                    AM.xls                                              3188      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_11_20_
SuttonPark\Annuity Masters                    AM.xls                                              1753      10/9/2024 16:17
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_11_45_
SuttonPark\Annuity Masters                    AM.xls                                              2845      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_11_56_
SuttonPark\Annuity Masters                    AM.xls                                              1765      10/9/2024 16:17
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_12_09_
SuttonPark\Annuity Masters                    AM.xls                                              2836      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_12_23_
SuttonPark\Annuity Masters                    AM.xls                                              1763      10/9/2024 16:17
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_12_50_
SuttonPark\Annuity Masters                    AM.xls                                              1760      10/9/2024 16:17
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_13_04_
SuttonPark\Annuity Masters                    AM.xls                                              2819      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_13_16_
SuttonPark\Annuity Masters                    AM.xls                                              2135      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_13_31_
SuttonPark\Annuity Masters                    AM.xls                                              2135      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_13_50_
SuttonPark\Annuity Masters                    AM.xls                                              2487      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_14_06_
SuttonPark\Annuity Masters                    AM.xls                                              1757      10/9/2024 16:17
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_14_18_
SuttonPark\Annuity Masters                    AM.xls                                              2807      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_14_28_
SuttonPark\Annuity Masters                    AM.xls                                              2852      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_14_42_
SuttonPark\Annuity Masters                    AM.xls                                              2487      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_15_01_
SuttonPark\Annuity Masters                    AM.xls                                              2124      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_15_09_
SuttonPark\Annuity Masters                    AM.xls                                              2481      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_15_58_
SuttonPark\Annuity Masters                    AM.xls                                              2112      10/9/2024 16:18




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               All Paths/Locations                              Unified Title               File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_16_08_
SuttonPark\Annuity Masters                    AM.xls                                              2483      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_16_20_
SuttonPark\Annuity Masters                    AM.xls                                              2121      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_16_35_
SuttonPark\Annuity Masters                    AM.xls                                              2478      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_16_48_
SuttonPark\Annuity Masters                    AM.xls                                              2125      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_17_02_
SuttonPark\Annuity Masters                    AM.xls                                              2831      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_17_13_
SuttonPark\Annuity Masters                    AM.xls                                              2860      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_17_28_
SuttonPark\Annuity Masters                    AM.xls                                              2497      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_17_40_
SuttonPark\Annuity Masters                    AM.xls                                              2115      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_18_29_
SuttonPark\Annuity Masters                    AM.xls                                              2115      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_18_45_
SuttonPark\Annuity Masters                    AM.xls                                              3207      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_18_55_
SuttonPark\Annuity Masters                    AM.xls                                              2828      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_19_04_
SuttonPark\Annuity Masters                    AM.xls                                              2123      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_19_13_
SuttonPark\Annuity Masters                    AM.xls                                              2122      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_19_24_
SuttonPark\Annuity Masters                    AM.xls                                              2474      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_19_33_
SuttonPark\Annuity Masters                    AM.xls                                              2112      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_19_47_
SuttonPark\Annuity Masters                    AM.xls                                              2844      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_19_59_
SuttonPark\Annuity Masters                    AM.xls                                              2497      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_20_12_
SuttonPark\Annuity Masters                    AM.xls                                              2476      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_20_24_
SuttonPark\Annuity Masters                    AM.xls                                              2861      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_20_32_
SuttonPark\Annuity Masters                    AM.xls                                              3912      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_20_43_
SuttonPark\Annuity Masters                    AM.xls                                              2122      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_20_51_
SuttonPark\Annuity Masters                    AM.xls                                              2481      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_21_05_
SuttonPark\Annuity Masters                    AM.xls                                              2104      10/9/2024 16:17
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_21_15_
SuttonPark\Annuity Masters                    AM.xls                                              2491      10/9/2024 16:19




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Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_21_25_
SuttonPark\Annuity Masters                    AM.xls                                              3930      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_21_35_
SuttonPark\Annuity Masters                    AM.xls                                              2494      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_21_44_
SuttonPark\Annuity Masters                    AM.xls                                              2118      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_21_56_
SuttonPark\Annuity Masters                    AM.xls                                              2488      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_22_05_
SuttonPark\Annuity Masters                    AM.xls                                              2462      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_22_13_
SuttonPark\Annuity Masters                    AM.xls                                              2120      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_22_21_
SuttonPark\Annuity Masters                    AM.xls                                              2845      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_22_30_
SuttonPark\Annuity Masters                    AM.xls                                              2859      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_22_40_
SuttonPark\Annuity Masters                    AM.xls                                              2109      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_22_50_
SuttonPark\Annuity Masters                    AM.xls                                              2470      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_23_03_
SuttonPark\Annuity Masters                    AM.xls                                              2480      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_23_13_
SuttonPark\Annuity Masters                    AM.xls                                              2826      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_23_43_
SuttonPark\Annuity Masters                    AM.xls                                              2111      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_23_53_
SuttonPark\Annuity Masters                    AM.xls                                              1760      10/9/2024 16:17
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_24_04_
SuttonPark\Annuity Masters                    AM.xls                                              2100      10/9/2024 16:17
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_24_25_
SuttonPark\Annuity Masters                    AM.xls                                              2104      10/9/2024 16:17
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_24_34_
SuttonPark\Annuity Masters                    AM.xls                                              2104      10/9/2024 16:17
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_24_44_
SuttonPark\Annuity Masters                    AM.xls                                              2455      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_25_10_
SuttonPark\Annuity Masters                    AM.xls                                              1778      10/9/2024 16:17
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_25_23_
SuttonPark\Annuity Masters                    AM.xls                                              2443      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_25_46_
SuttonPark\Annuity Masters                    AM.xls                                              2079      10/9/2024 16:17
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_26_14_
SuttonPark\Annuity Masters                    AM.xls                                              2105      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_26_24_
SuttonPark\Annuity Masters                    AM.xls                                              2847      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_26_34_
SuttonPark\Annuity Masters                    AM.xls                                              2114      10/9/2024 16:18




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Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_26_47_
SuttonPark\Annuity Masters                    AM.xls                                              3913      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_27_01_
SuttonPark\Annuity Masters                    AM.xls                                              2120      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_27_11_
SuttonPark\Annuity Masters                    AM.xls                                              2125      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_27_27_
SuttonPark\Annuity Masters                    AM.xls                                              2102      10/9/2024 16:17
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_27_48_
SuttonPark\Annuity Masters                    AM.xls                                              1763      10/9/2024 16:17
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_27_57_
SuttonPark\Annuity Masters                    AM.xls                                              2481      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_28_09_
SuttonPark\Annuity Masters                    AM.xls                                              2484      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_28_17_
SuttonPark\Annuity Masters                    AM.xls                                              2107      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_28_28_
SuttonPark\Annuity Masters                    AM.xls                                              2832      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_28_54_
SuttonPark\Annuity Masters                    AM.xls                                              2469      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_29_07_
SuttonPark\Annuity Masters                    AM.xls                                              2469      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_29_16_
SuttonPark\Annuity Masters                    AM.xls                                              2120      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_29_28_
SuttonPark\Annuity Masters                    AM.xls                                              2110      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_8_8_2024_11_29_40_
SuttonPark\Annuity Masters                    AM.xls                                              3547      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_1
SuttonPark\Annuity Masters                    9_28_PM.xls                                       50629       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_2
SuttonPark\Annuity Masters                    5_16_PM.xls                                      240785       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_1
SuttonPark\Annuity Masters                    9_09_AM.xls                                      122388       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_1
SuttonPark\Annuity Masters                    9_50_AM.xls                                      122388       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_18
SuttonPark\Annuity Masters                    _02_PM.xls                                        52816       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_10_5
SuttonPark\Annuity Masters                    2_44_AM.xls                                      198666       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_10_5
SuttonPark\Annuity Masters                    3_02_AM.xls                                      132215       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_10_5
SuttonPark\Annuity Masters                    3_17_AM.xls                                         8798      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_10_5
SuttonPark\Annuity Masters                    4_35_AM.xls                                         2403      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_10_5
SuttonPark\Annuity Masters                    4_50_AM.xls                                         7771      10/9/2024 16:19




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Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_10_5
SuttonPark\Annuity Masters                    5_06_AM.xls                                    182031      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_10_5
SuttonPark\Annuity Masters                    5_22_AM.xls                                     40487      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_10_5
SuttonPark\Annuity Masters                    5_38_AM.xls                                    193364      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_10_5
SuttonPark\Annuity Masters                    5_54_AM.xls                                    195739      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_10_5
SuttonPark\Annuity Masters                    6_08_AM.xls                                    201527      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_10_5
SuttonPark\Annuity Masters                    6_21_AM.xls                                    190477      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_10_5
SuttonPark\Annuity Masters                    6_55_AM.xls                                    136069      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_10_5
SuttonPark\Annuity Masters                    7_10_AM.xls                                    219855      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_10_5
SuttonPark\Annuity Masters                    7_24_AM.xls                                     14593      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_10_5
SuttonPark\Annuity Masters                    7_39_AM.xls                                    329834      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_10_5
SuttonPark\Annuity Masters                    8_24_AM.xls                                    170701      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_10_5
SuttonPark\Annuity Masters                    8_42_AM.xls                                    213339      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_10_5
SuttonPark\Annuity Masters                    8_57_AM.xls                                    130052      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_10_5
SuttonPark\Annuity Masters                    9_16_AM.xls                                    277576      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_10_5
SuttonPark\Annuity Masters                    9_31_AM.xls                                    273614      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_10_5
SuttonPark\Annuity Masters                    9_44_AM.xls                                     52772      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    0_01_AM.xls                                    236363      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    0_14_AM.xls                                    199429      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    0_24_AM.xls                                     89627      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    0_36_AM.xls                                    364246      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    0_48_AM.xls                                     44435      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    1_00_AM.xls                                     59637      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    1_09_AM.xls                                    215554      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    3_50_AM.xls                                     78162      10/9/2024 16:19




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Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    4_11_AM.xls                                     78162      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    4_33_AM.xls                                    295686      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    4_52_AM.xls                                    254111      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    5_07_AM.xls                                    220940      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    5_21_AM.xls                                    178352      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    5_44_AM.xls                                    649102      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    6_14_AM.xls                                    172655      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    7_29_AM.xls                                    220940      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    7_41_AM.xls                                    129512      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    8_15_AM.xls                                    223120      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    8_26_AM.xls                                    258240      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    8_42_AM.xls                                    186937      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    8_53_AM.xls                                    302746      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    9_15_AM.xls                                    199126      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    9_28_AM.xls                                    246451      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    9_38_AM.xls                                    222983      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    9_47_AM.xls                                    215667      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_0
SuttonPark\Annuity Masters                    9_58_AM.xls                                     47937      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    0_07_AM.xls                                    261593      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    0_18_AM.xls                                    269339      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    0_30_AM.xls                                    223639      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    0_43_AM.xls                                    262310      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    0_53_AM.xls                                    259553      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    1_02_AM.xls                                    334686      10/9/2024 16:20




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Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    1_11_AM.xls                                    186037       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    1_21_AM.xls                                     25887       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    1_46_AM.xls                                    272028       10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    1_57_AM.xls                                     47937       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    2_11_AM.xls                                    211958       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    2_25_AM.xls                                     29217       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    2_51_AM.xls                                     56907       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    3_05_AM.xls                                    286035       10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    3_18_AM.xls                                    122660       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    3_33_AM.xls                                  1690944        10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    3_52_AM.xls                                    262580       10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    4_07_AM.xls                                       2769      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    4_20_AM.xls                                    140126       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    4_29_AM.xls                                    298814       10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    4_43_AM.xls                                    262731       10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    5_03_AM.xls                                    206993       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    5_11_AM.xls                                    222709       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    5_59_AM.xls                                    133899       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    6_09_AM.xls                                    180265       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    6_22_AM.xls                                    207234       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    6_36_AM.xls                                    195266       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    6_49_AM.xls                                    176411       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    7_03_AM.xls                                    259014       10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    7_14_AM.xls                                    275649       10/9/2024 16:20




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Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    7_30_AM.xls                                    150630      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    7_41_AM.xls                                    170832      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    8_30_AM.xls                                    170832      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    8_46_AM.xls                                    321552      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    8_56_AM.xls                                    243249      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    9_05_AM.xls                                    195296      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    9_15_AM.xls                                    211112      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    9_25_AM.xls                                     83686      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    9_34_AM.xls                                    220940      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_1
SuttonPark\Annuity Masters                    9_48_AM.xls                                    233835      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    0_00_AM.xls                                    260185      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    0_13_AM.xls                                    140278      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    0_25_AM.xls                                    282944      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    0_33_AM.xls                                    239175      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    0_43_AM.xls                                     30837      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    0_52_AM.xls                                    248062      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    1_06_AM.xls                                    215753      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    1_16_AM.xls                                    170450      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    1_26_AM.xls                                    232799      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    1_36_AM.xls                                    190887      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    1_46_AM.xls                                    211438      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    1_57_AM.xls                                    249753      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    2_06_AM.xls                                     22156      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    2_14_AM.xls                                    210296      10/9/2024 16:19




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Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    2_22_AM.xls                                    301661       10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    2_32_AM.xls                                    235563       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    2_41_AM.xls                                     97684       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    2_51_AM.xls                                    259618       10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    3_04_AM.xls                                       5518      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    3_14_AM.xls                                    278208       10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    3_44_AM.xls                                     21650       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    3_54_AM.xls                                     25122       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    4_05_AM.xls                                       6113      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    4_26_AM.xls                                       6113      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    4_35_AM.xls                                       6113      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    4_44_AM.xls                                     59173       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    5_11_AM.xls                                     71337       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    5_13_AM.xls                                     71337       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    5_24_AM.xls                                     33600       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    5_47_AM.xls                                    131396       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    6_15_AM.xls                                       3905      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    6_25_AM.xls                                    127449       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    6_35_AM.xls                                     30386       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    6_49_AM.xls                                    252056       10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    7_02_AM.xls                                     77135       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    7_12_AM.xls                                     78446       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    7_29_AM.xls                                     74066       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    7_49_AM.xls                                     21612       10/9/2024 16:19




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Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    7_58_AM.xls                                    168451      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    8_10_AM.xls                                    217706      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    8_18_AM.xls                                    116108      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    8_29_AM.xls                                    272097      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    8_56_AM.xls                                    156661      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    9_08_AM.xls                                    156661      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    9_17_AM.xls                                     79799      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    9_29_AM.xls                                     65738      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_8_8_2024_11_2
SuttonPark\Annuity Masters                    9_42_AM.xls                                    294568      10/9/2024 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      10983 Annuity Master.tv5                        10386      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      17248 Annuity Master.tv5                        10385      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      17284 Annuity Master.tv5                        10197      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      17473 Annuity Master.tv5                        10009      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      18366 Annuity Master.tv5                        10391      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      19384 Annuity Master.tv5                        10008      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      19391 Annuity Master.tv5                        10008      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      19396 Annuity Master.tv5                        11116      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      19418 Annuity Master.tv5                        10832      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      21340 Annuity Master.tv5                        11467      10/9/2024 16:19




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               All Paths/Locations                             Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      21341 Annuity Master.tv5             10437      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      21342 Annuity Master.tv5             10007      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      21343 Annuity Master.tv5             10008      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      22715 Annuity Master.tv5             10008      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      29465 Annuity Master.tv5             10009      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      33487 Annuity Master.tv5             10200      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      33551 Annuity Master.tv5             10008      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      33590 Annuity Master.tv5             10008      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      35687 Annuity Master.tv5             10198      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      35688 Annuity Master.tv5             10356      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      44198 Annuity Master.tv5             10008      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      44281 Annuity Master.tv5             10199      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      44409 Annuity Master.tv5             10008      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      46938 Annuity Master.tv5             10873      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      46957 Annuity Master.tv5             10681      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      49028 Annuity Master.tv5             10198      10/9/2024 16:19




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               All Paths/Locations                             Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      49035 Annuity Master.tv5             10008      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      49036 Annuity Master.tv5             10008      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      49048 Annuity Master.tv5             10681      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      52897 Annuity Master.tv5             10009      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      52904 Annuity Master.tv5             10292      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      52933 Annuity Master.tv5             10799      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      56629 Annuity Master.tv5             10008      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      56642 Annuity Master.tv5             10009      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      56727 Annuity Master.tv5             10198      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      56891 Annuity Master.tv5             10009      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      64272 Annuity Master.tv5             12175      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      64396 Annuity Master.tv5             10250      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      64402 Annuity Master.tv5             11150      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      64770 Annuity Master.tv5             11263      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      64870 Annuity Master.tv5             10249      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      64871 Annuity Master.tv5             10250      10/9/2024 16:19




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               All Paths/Locations                             Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      64891 Annuity Master.tv5             10200      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      64899 Annuity Master.tv5             10681      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      64918 Annuity Master.tv5             10200      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      64930 Annuity Master.tv5             11022      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      64939 Annuity Master.tv5             11116      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      64945 Annuity Master.tv5             10682      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      64952 Annuity Master.tv5             10680      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      64966 Annuity Master.tv5             10680      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      64969 Annuity Master.tv5             11591      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      64970 Annuity Master.tv5             10009      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      64971 Annuity Master.tv5             10327      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      64975 Annuity Master.tv5             10671      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      64978 Annuity Master.tv5             11338      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      65027 Annuity Master.tv5             10250      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      65029 Annuity Master.tv5             11662      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      65039 Annuity Master.tv5             10198      10/9/2024 16:19




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Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      65497 Annuity Master.tv5             11822      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      65998 Annuity Master.tv5             10007      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      67348 Annuity Master.tv5             10008      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      70363 Annuity Master.tv5             10249      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      7050 Annuity Master.tv5              10197      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      70536 Annuity Master.tv5             10007      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      7079 Annuity Master.tv5              10199      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      71138 Annuity Master.tv5             10009      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      71816 Annuity Master.tv5             10009      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      72624 Annuity Master.tv5             10198      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      72967 Annuity Master.tv5             10517      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      73134 Annuity Master.tv5             10010      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      73145 Annuity Master.tv5             10008      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      74474 Annuity Master.tv5             10356      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      78271 Annuity Master.tv5             10250      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      78276 Annuity Master.tv5             10440      10/9/2024 16:19




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Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      78279 Annuity Master.tv5             10010      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      78284 Annuity Master.tv5             10628      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      78288 Annuity Master.tv5             10008      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      78836 Annuity Master.tv5             10008      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      78867 Annuity Master.tv5             10249      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      78881 Annuity Master.tv5             10517      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      78968 Annuity Master.tv5             10485      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      78981 Annuity Master.tv5             10250      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      78983 Annuity Master.tv5             10681      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      79005 Annuity Master.tv5             10009      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      79589 Annuity Master.tv5             10008      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81553 Annuity Master.tv5             10198      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81561 Annuity Master.tv5             10388      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81569 Annuity Master.tv5             12728      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81576 Annuity Master.tv5             10009      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81579 Annuity Master.tv5             10871      10/9/2024 16:19




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Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81580 Annuity Master.tv5             10991      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81582 Annuity Master.tv5             10198      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81584 Annuity Master.tv5             10681      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81586 Annuity Master.tv5             10576      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81590 Annuity Master.tv5             10009      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81595 Annuity Master.tv5             10009      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81597 Annuity master.tv5             10514      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81598 Annuity Master.tv5             10325      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81604 Annuity Master.tv5             10482      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81605 Annuity Master.tv5             10008      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81611 Annuity Master.tv5             10198      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81612 Annuity Master.tv5             10008      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81613 Annuity Master.tv5             11222      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81614 Annuity Master.tv5             10009      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81620 Annuity Master.tv5             10482      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81621 Annuity Master.tv5             10009      10/9/2024 16:19




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               All Paths/Locations                             Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81627 Annuity Master.tv5             10008      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81628 Annuity Master.tv5             10838      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81633 Annuity Master.tv5             10008      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81634 Annuity Master.tv5             11610      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81636 Annuity Master.tv5             10951      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81637 Annuity Master.tv5             10871      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81643 Annuity Master.tv5             10198      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81649 Annuity Master.tv5             10408      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81650 Annuity Master.tv5             12286      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81658 Annuity Master.tv5             10391      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81670 Annuity Master.tv5             12212      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81675 Annuity Master.tv5             10915      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81756 Annuity master.tv5             10009      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81758 Annuity Master.tv5             10008      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81760 Annuity Master.tv5             10250      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81770 Annuity Master.tv5             10008      10/9/2024 16:19




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               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81775 Annuity Master.tv5                          10198      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81795 Annuity Master.tv5                          10682      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81802 Annuity Master.tv5                          10008      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\TValue
Annuities\Annuity Master                      81823 Annuity Master.tv5                          10008      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-
24.zip\Assignment and Release\Dorchester      Dorchester Assignment - 20210519.docx.pdf        269412       6/4/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-
24.zip\Assignment and Release\Dorchester      PAYOFF~1.PDF                                     205759       6/4/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-
24.zip\Assignment and Release\SPLCSS          Assign.pdf                                       144633       6/4/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-
24.zip\Assignment and Release\SPLCSS          Assignment.pdf                                   144744       6/4/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-    Payoff and Release Agreement (SPLCSS II) -
24.zip\Assignment and Release\SPLCSS          20210326.docx.pdf                                256705       6/4/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-    Payoff and Release Agreement (SPLCSS II) -
24.zip\Assignment and Release\SPLCSS          20210331.docx.pdf                                252038       6/4/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-    Payoff and Release Agreement (SPLCSS III) -
24.zip\Assignment and Release\SPLCSS          20210602 (v2).docx.pdf                           338616       6/4/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-    Payoff and Release Agreement (SPLCSS III) -
24.zip\Assignment and Release\SPLCSS          20210902.docx.pdf                                361247       6/4/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-    Payoff and Release Agreement (SPLCSS III) -
24.zip\Assignment and Release\SPLCSS          20211230.docx.pdf                                246543       6/4/2024 15:02




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-    Payoff and Release Agreement (SPLCSS III) -
24.zip\Assignment and Release\SPLCSS          20220228.docx.pdf                                237972       6/4/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-    Payoff and Release Agreement (SPLCSS III) -
24.zip\Assignment and Release\SPLCSS          20220429 v1.docx.pdf                             241541       6/4/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-    Payoff and Release Agreement (SPLCSS III) -
24.zip\Assignment and Release\SPLCSS          20220930.docx.pdf                                522782       6/4/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-
24.zip\Assignment and Release\SPLCSS          Payoff_and_Release.pdf                           246543       6/4/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-    Payoff_and_Release_Agreement_(SPLCSS_III)_-
24.zip\Assignment and Release\SPLCSS          _20221230.docx.pdf                               138811       6/4/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-
24.zip\Assignment and Release\SPLCSS          SPLCSS Assignment - 20210622.docx.pdf            280667       6/4/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-
24.zip\Assignment and Release\SPLCSS          SPLCSS Assignment - 20210630.docx.pdf            267828       6/4/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-
24.zip\Assignment and Release\SPLCSS          SPLCSS Assignment - 20210909.docx.pdf            142759       6/4/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-
24.zip\Assignment and Release\SPLCSS          SPLCSS Assignment - 20211230.docx.pdf            144744       6/4/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-
24.zip\Assignment and Release\SPLCSS          SPLCSS Assignment - 20220131.docx.pdf            258772       6/4/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-
24.zip\Assignment and Release\SPLCSS          SPLCSS Assignment - 20220228.docx.pdf            149780       6/4/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-
24.zip\Assignment and Release\SPLCSS          SPLCSS Assignment - 20220331.docx.pdf            149338       6/4/2024 15:02




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               All Paths/Locations                              Unified Title                   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-
24.zip\Assignment and Release\SPLCSS          SPLCSS Assignment - 20220429 v1.docx.pdf             160088       6/4/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-
24.zip\Assignment and Release\SPLCSS          SPLCSS Assignment - 20220930.docx.pdf                316441       6/4/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-
24.zip\Assignment and Release\SPLCSS          SPLCSS II - Assignment - 20210326.docx.pdf           327693       6/4/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-
24.zip\Assignment and Release\SPLCSS          SPLCSS II - Assignment - 20210331.docx.pdf           352135       6/4/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-
24.zip\Assignment and Release\SPLCSS          SPLCSS III Assignment - 20211130.pdf                 209925     12/23/2021 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-
24.zip\Assignment and Release\SPLCSS          SPLCSS_Assignment_-_20221230.docx.pdf                 51387       6/4/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Assignments and Releases- LH 6-4-
24.zip\Assignment and Release\SPLCSS          SPLCSS_II_-_Assignment_-_20210226.docx.pdf           197837       6/4/2024 15:02

Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and Releases Chain of Title Tracking (Informational).docx         23996       6/4/2024 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and          777 Master Agreement - Dorchester Assignment -
Releases\Complete\Dorchester                   1.25.2022.docx.pdf                                  141617      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and          777 Master Agreement - Dorchester Assignment -
Releases\Complete\Dorchester                   1.26.2022.docx.pdf                                  141431      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and          777 Master Agreement - Dorchester Assignment -
Releases\Complete\Dorchester                   12.30.2021.pdf                                      147789      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and          777 Master Agreement - Dorchester Assignment -
Releases\Complete\Dorchester                   2.25.2022.docx.pdf                                  145181      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and          777 Master Agreement - Dorchester Assignment -
Releases\Complete\Dorchester                   2.28.2022.docx.pdf                                  145810      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and          777 Master Agreement - Dorchester Assignment -
Releases\Complete\Dorchester                   3.17.2022.docx.pdf                                  149036      10/9/2024 16:53




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               All Paths/Locations                              Unified Title                   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and         777 Master Agreement - Dorchester Assignment -
Releases\Complete\Dorchester                  3.18.2022.docx.pdf                                   149728      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and         777 Master Agreement - Dorchester Assignment -
Releases\Complete\Dorchester                  9.2.2021.docx.pdf                                     44514      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and         777 Master Agreement - Dorchester Assignment -
Releases\Complete\Dorchester                  9.24.2021.pdf                                        142998      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and         777 Master Agreement - Dorchester Assignment -
Releases\Complete\Dorchester                  9.27.2021.pdf                                        142596      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and         777 Master Agreement - Dorchester Assignment -
Releases\Complete\Dorchester                  9.29.2021.docx.pdf                                   137484      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and         777 Master Agreement - Dorchester Assignment -
Releases\Complete\Dorchester                  1.24.2022.docx.pdf                                   141225      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Complete\Dorchester                  Assignment - 12.30.2021.xlsx                          20366       6/4/2024 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Complete\Dorchester                  Assignment (Payoff and Release) - 9.2.2021.xlsx       24241       6/4/2024 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Complete\Dorchester                  Assignment (PayoffRelease) - 12.30.2021.xlsx          24658       6/4/2024 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Complete\Dorchester                  Assignment - 1.24.2022.xlsx                           19028       6/4/2024 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Complete\Dorchester                  Assignment - 1.25.2022.xlsx                           19169       6/4/2024 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Complete\Dorchester                  Assignment - 1.26.2022.xlsx                           18999       6/4/2024 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Complete\Dorchester                  Assignment - 2.25.2022.xlsx                           18991       6/4/2024 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Complete\Dorchester                  Assignment - 2.28.2022.xlsx                           18957       6/4/2024 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Complete\Dorchester                  Assignment - 3.17.2022.xlsx                           19946       6/4/2024 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Complete\Dorchester                  Assignment - 3.18.2022.xlsx                           21581       6/4/2024 14:30




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               All Paths/Locations                                Unified Title                   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Complete\Dorchester                    Assignment - 5.12.2021.xlsx                           26189       6/4/2024 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Complete\Dorchester                    Assignment - 5.19.2021.xlsx                           21797       6/4/2024 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Complete\Dorchester                    Assignment - 9.2.2021.xlsx                            22059       6/4/2024 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Complete\Dorchester                    Assignment - 9.24.2021.xlsx                           18929       6/4/2024 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Complete\Dorchester                    Assignment - 9.27.2021.xlsx                           16059       6/4/2024 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Complete\Dorchester                    Assignment - 9.29.2021.xlsx                           18931       6/4/2024 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Complete\Dorchester                    Dorchester Assignment - 5.12.2021 - v2.docx.pdf      261919      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Complete\Dorchester                    Dorchester Assignment - 5.19.2021.docx.pdf           269412      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and           Payoff and Release Agreement (Dorchester) -
Releases\Complete\Dorchester                    9.2.21.docx.pdf                                      205759      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Complete\Dorchester                    PayoffRelease - 12.30.2021.pdf                       200548      10/9/2024 16:53

Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and Releases LCP_Documentation Request_v2 IP.pdf                    29397      7/23/2024 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and          LCP_Payoff and Release Documentation
Releases\OneDrive_1_3-5-2024                   Request.xlsx                                           19975       2/20/2024 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and          Volans - National Founders - Notice of Approved
Releases\OneDrive_1_3-5-2024                   Sale - July 2021.docx.pdf                             263014      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and          Volans Approved Sale - 20210720 (Schedule
Releases\OneDrive_1_3-5-2024                   I).xlsx                                                80567       2/9/2024 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Payoff and Release OneDrive_2024-03- LCP_Payoff and Release Documentation
05.zip\Payoff & Release Documents\Sutton       Request.xlsx                                           16647       2/20/2024 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Payoff and Release OneDrive_2024-03- Volans - National Founders - Notice of Approved
05.zip\Payoff & Release Documents\Sutton       Sale - July 2021.docx.pdf                             263014       3/5/2024 17:38


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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\Payoff and Release OneDrive_2024-03-   Volans Approved Sale - 20210720 (Schedule
05.zip\Payoff & Release Documents\Sutton        I).xlsx                                           77239       2/9/2024 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\6.10.24
COMPLETED                                       Assign 11.30.2021.pdf                            144633      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\6.10.24               Payoff and Release Agreement (SPLCSS II) -
COMPLETED                                       20210326.docx.pdf                                256705      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\6.10.24               Payoff and Release Agreement (SPLCSS II) -
COMPLETED                                       20210331.docx.pdf                                252038      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\6.10.24               Payoff and Release Agreement (SPLCSS III) -
COMPLETED                                       20210602 (v2).docx.pdf                           338616      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\6.10.24               Payoff and Release Agreement (SPLCSS III) -
COMPLETED                                       20210902.docx.pdf                                361247      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\6.10.24               Payoff and Release Agreement (SPLCSS III) -
COMPLETED                                       20220228.docx.pdf                                237972      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\6.10.24               Payoff and Release Agreement (SPLCSS III) -
COMPLETED                                       20220429 v1.docx.pdf                             241541      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\6.10.24               Payoff and Release Agreement (SPLCSS III) -
COMPLETED                                       20220930.docx.pdf                                522782      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\6.10.24               Payoff_and_Release_Agreement_(SPLCSS_III)_-
COMPLETED                                       _20221230.docx.pdf                               138811      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\6.10.24
COMPLETED                                       SPLCSS Assignment - 20210622.docx.pdf            280667      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\6.10.24
COMPLETED                                       SPLCSS Assignment - 20210630.docx.pdf            267828      10/9/2024 16:53




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               All Paths/Locations                               Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\6.10.24
COMPLETED                                     SPLCSS Assignment - 20210909.docx.pdf                142759      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\6.10.24
COMPLETED                                     SPLCSS Assignment - 20220131.docx.pdf                258772      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\6.10.24
COMPLETED                                     SPLCSS Assignment - 20220228.docx.pdf                149780      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\6.10.24
COMPLETED                                     SPLCSS Assignment - 20220331.docx.pdf                149338      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\6.10.24
COMPLETED                                     SPLCSS Assignment - 20220429 v1.docx.pdf             160088      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\6.10.24
COMPLETED                                     SPLCSS Assignment - 20220930.docx.pdf                316441      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\6.10.24
COMPLETED                                     SPLCSS II - Assignment - 20210326.docx.pdf           327693      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\6.10.24
COMPLETED                                     SPLCSS II - Assignment - 20210331.docx.pdf           352135      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\6.10.24
COMPLETED                                     SPLCSS_Assignment_-_20221230.docx.pdf                 51387      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\6.10.24
COMPLETED                                     SPLCSS_II_-_Assignment_-_20210226.docx.pdf           197837      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24                     Assignments and Releases Recieved Breakout.xlsx       90490      6/10/2024 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\NO DEAL IDS
PRESENT                                       Assignment.pdf                                       144744      10/9/2024 16:53




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               All Paths/Locations                              Unified Title                    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\NO DEAL IDS         Payoff and Release Agreement (SPLCSS III) -
PRESENT                                       20211230.docx.pdf                                     246543      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\NO DEAL IDS
PRESENT                                       Payoff_and_Release.pdf                                246543      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and
Releases\UpLOADED 6.10.24\NO DEAL IDS
PRESENT                                       SPLCSS Assignment - 20211230.docx.pdf                 144744      10/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Assignments and Payoff and         Not Assignment - Compliance Report -
Releases\UpLOADED 6.10.24                     20211130.pdf                                          209925     12/23/2021 12:14
Saiph consulting|\Audit Materials Received-   Leadenhall- SPLCSS and Dorchester Audit Results-
SuttonPark\Audit Results                      Final 9-5-24.xlsx                                     553344       9/5/2024 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Audit Results                      LH Receivable Audit Report- 9-5-24 vF.pdf             329913      9/10/2024 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          10735.jpg                                              56999      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          10766.jpg                                              71668      10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          10983.jpg                                              60757      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          13240.jpg                                              59884      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          17248.jpg                                              70697      10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          17284.jpg                                              66414      10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          17471.jpg                                              74373      10/9/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          17473.jpg                                              66648      10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          17916.jpg                                              64696      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          18044.jpg                                              53883      10/9/2024 18:18




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          18113.jpg                         65813      10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          18138.jpg                         75398      10/9/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          18192.jpg                         53374      10/9/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          18252.jpg                         52634      10/9/2024 18:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          18317.jpg                         77219      10/9/2024 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          18366.jpg                         65264      10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          18368.jpg                         79019      10/9/2024 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          18431.jpg                         65681      10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          18435.jpg                         54973      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          18604.jpg                         65244      10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          18617.jpg                         61408      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          18623.jpg                         69382      10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          18731.jpg                         72188      10/9/2024 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          18783.jpg                         62412      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          18803.jpg                         51779      10/9/2024 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          18812.jpg                         71181      10/9/2024 18:22




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                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          18813.jpg                         67680      10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          18833.jpg                         80385      10/9/2024 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          19384.jpg                         63307      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          19391.jpg                         65071      10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          19396.jpg                         63827      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          19405.jpg                         66011      10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          19418.jpg                         58767      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          21340.jpg                         66411      10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          21341.jpg                         56449      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          21342.jpg                         55259      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          21343.jpg                         64051      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          22693.jpg                         53229      10/9/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          22708.jpg                         46247      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          22713.jpg                         52138      10/9/2024 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          22715.jpg                         64056      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          22717.jpg                         54045      10/9/2024 18:18




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          23316.jpg                         53294      10/9/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          29413.jpg                         59980      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          29465.jpg                         53773      10/9/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          29475.jpg                         58489      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          29656.jpg                         54139      10/9/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          29663.jpg                         52437      10/9/2024 18:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          29699.jpg                         52931      10/9/2024 18:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          29700.jpg                         53843      10/9/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          30856.jpg                         59546      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          31067.jpg                         55220      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          31115.jpg                         50494      10/9/2024 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          31364.jpg                         58617      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          31762.jpg                         67907      10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          33487.jpg                         52761      10/9/2024 18:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          33551.jpg                         57677      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          33582.jpg                         70840      10/9/2024 18:22




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               All Paths/Locations                           Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          33590.jpg                          51101      10/9/2024 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          34894.jpg                          46651      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          34982.jpg                          44811      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          35021.jpg                          44592      10/9/2024 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          35130.jpg                          46900      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          35254.jpg                          54084      10/9/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          35314.jpg                          44414      10/9/2024 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          35407 .jpg                         59004      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          35493.jpg                          45678      10/9/2024 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          35499.jpg                          48621      10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          35504.jpg                          47423      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          35526.jpg                          46836      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          35568.jpg                          45278      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          35586.jpg                          48650      10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          35687.jpg                          48610      10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          35688.jpg                          46287      10/9/2024 18:10




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          35898.jpg                         46756      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          36116.jpg                         43918      10/9/2024 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          36123.jpg                         52135      10/9/2024 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          3749.jpg                          59403      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          37796.jpg                         51080      10/9/2024 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          38923.jpg                         52494      10/9/2024 18:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          38942.jpg                         56217      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          39017.jpg                         49843      10/9/2024 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          39019.jpg                         56779      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          39876.jpg                         54934      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          39888.jpg                         48376      10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          39891.jpg                         53938      10/9/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          39893.jpg                         57158      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          39895.jpg                         55904      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          39911.jpg                         51499      10/9/2024 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          39927.jpg                         50480      10/9/2024 18:15




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          39938.jpg                         51991      10/9/2024 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          43965.jpg                         54248      10/9/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          44090.jpg                         46390      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          44198.jpg                         41685      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          44215.jpg                         43434      10/9/2024 18:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          44248.jpg                         47097      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          44281.jpg                         46826      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          44380.jpg                         46384      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          44406.jpg                         46155      10/9/2024 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          44409.jpg                         45916      10/9/2024 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          45738.jpg                         37653      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          46938.jpg                         45177      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          46956.jpg                         44891      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          46957.jpg                         45027      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          46968.jpg                         51955      10/9/2024 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          46979.jpg                         44769      10/9/2024 18:08




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          47010.jpg                         47649      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          47046.jpg                         44450      10/9/2024 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          47090.jpg                         48792      10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          47100.jpg                         46960      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          49022.jpg                         44115      10/9/2024 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          49023.jpg                         52250      10/9/2024 18:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          49025.jpg                         42072      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          49026.jpg                         51974      10/9/2024 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          49028.jpg                         45484      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          49035.jpg                         45455      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          49036.jpg                         43658      10/9/2024 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          49041.jpg                         50633      10/9/2024 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          49045.jpg                         45023      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          49047.jpg                         45159      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          49048.jpg                         47230      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          54533.jpg                         52490      10/9/2024 18:17




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          56542.jpg                         60778      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          56580.jpg                         62325      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          56629.jpg                         56667      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          56641.jpg                         65515      10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          56642.jpg                         65106      10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          56727.jpg                         76992      10/9/2024 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          56758.jpg                         78388      10/9/2024 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          56770.jpg                         74026      10/9/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          56813.jpg                         79375      10/9/2024 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          56846.jpg                         53628      10/9/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          56891.jpg                         69551      10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          56905.jpg                         68892      10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          56979.jpg                         74599      10/9/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          57159.jpg                         43840      10/9/2024 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          61274.jpg                         48636      10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          62133.jpg                         48745      10/9/2024 18:12




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          63558.jpg                         50113      10/9/2024 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64190.jpg                         63441      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64204.jpg                         63333      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64208.jpg                         58834      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64272.jpg                         67274      10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64296.jpg                         61673      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64299.jpg                         62941      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64331.jpg                         57604      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64343.jpg                         62413      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64351.jpg                         61382      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64371.jpg                         59639      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64377.jpg                         58294      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64379.jpg                         63079      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64382.jpg                         55282      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64384.jpg                         62638      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64396.jpg                         51363      10/9/2024 18:16




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64401.jpg                         63898      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64402.jpg                         58303      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64449.jpg                         54228      10/9/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64557.jpg                         59452      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64624.jpg                         62235      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64719.jpg                         61380      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64738.jpg                         56672      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64761.jpg                         62510      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64766.jpg                         62798      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64767.jpg                         65136      10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64770.jpg                         61301      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64784.jpg                         55807      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64818.jpg                         59381      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64866.jpg                         38578      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64868.jpg                         45297      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64869.jpg                         48747      10/9/2024 18:12




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64870.jpg                         48613      10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64871.jpg                         50729      10/9/2024 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64873.jpg                         50328      10/9/2024 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64878.jpg                         48601      10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64880.jpg                         46350      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64881.jpg                         45596      10/9/2024 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64891.jpg                         48026      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64897.jpg                         48789      10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64899.jpg                         44243      10/9/2024 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64900.jpg                         48731      10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64901.jpg                         47413      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64904.jpg                         45195      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64906.jpg                         48331      10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64918.jpg                         42629      10/9/2024 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64924.jpg                         47893      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64928.jpg                         53200      10/9/2024 18:18




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                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64930.jpg                         49103      10/9/2024 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64933.jpg                         54193      10/9/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64938.jpg                         47559      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64939.jpg                         45110      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64940.jpg                         46468      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64941.jpg                         45765      10/9/2024 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64945.jpg                         48969      10/9/2024 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64946.jpg                         49287      10/9/2024 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64950.jpg                         50000      10/9/2024 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64951.jpg                         42381      10/9/2024 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64952.jpg                         44456      10/9/2024 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64954.jpg                         41423      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64958.jpg                         45141      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64966.jpg                         47004      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64969.jpg                         47597      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64971.jpg                         46565      10/9/2024 18:10




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64974.jpg                         46676      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64975.jpg                         46813      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64978.jpg                         45524      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64982.jpg                         54943      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          64983.jpg                         45878      10/9/2024 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          65008.jpg                         46474      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          65009.jpg                         48006      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          65012.jpg                         44801      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          65024.jpg                         49720      10/9/2024 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          65027.jpg                         48142      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          65029.jpg                         45998      10/9/2024 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          65033.jpg                         49302      10/9/2024 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          65047.jpg                         53213      10/9/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          65052.jpg                         44090      10/9/2024 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          65671.jpg                         47208      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          65695.jpg                         60731      10/9/2024 18:20




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          65917.jpg                         56240      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          66001.jpg                         42585      10/9/2024 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          66187.jpg                         48011      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          66232.jpg                         39062      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          67348.jpg                         36582      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          67542.jpg                         50683      10/9/2024 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          69608.jpg                         38457      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          69673.jpg                         37180      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          69673.png                         61678      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          69730.jpg                         63500      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          70416.jpg                         37554      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          70423.jpg                         35918      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          70424.jpg                         31461      10/9/2024 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          7050.jpg                          68418      10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          70506.jpg                         38891      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          70536.jpg                         38260      10/9/2024 17:59




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                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          70537.jpg                         39982      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          70538.jpg                         39094      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          70539.jpg                         35668      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          70577.jpg                         35647      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          70582.jpg                         36545      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          70604.jpg                         38947      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          70772.jpg                         38641      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          7079.jpg                          67917      10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          70843.jpg                         42245      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          7085.jpg                          66197      10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          70893.jpg                         38827      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          70934.jpg                         34751      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          70988.jpg                         49563      10/9/2024 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71038.jpg                         39632      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71044.jpg                         28955      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71049.jpg                         37862      10/9/2024 17:59




                                                          404
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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71077.jpg                         32279      10/9/2024 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71089.jpg                         38749      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71091.jpg                         32973      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71104.jpg                         35709      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71115.jpg                         32692      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71127.jpg                         33959      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71138.jpg                         42062      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71181.jpg                         39327      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71216.jpg                         34704      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71217.jpg                         41665      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71232.jpg                         39232      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71234.jpg                         32113      10/9/2024 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71274.jpg                         38122      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71284.jpg                         32497      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71368.jpg                         38495      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          7137.jpg                          70209      10/9/2024 18:22




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71398.jpg                         37285      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71400.jpg                         45548      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71401.jpg                         39915      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71422.jpg                         39224      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          7145.jpg                          66603      10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71466.jpg                         37618      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71467.jpg                         37506      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          7156.jpg                          65855      10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71564.jpg                         41249      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71565.jpg                         43818      10/9/2024 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71573.jpg                         35658      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71574.jpg                         40202      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71579.jpg                         33836      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71586.jpg                         38316      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71680.jpg                         39478      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71728.jpg                         48577      10/9/2024 18:12




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71738.jpg                         33393      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71768.jpg                         37939      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71816.jpg                         40403      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71887.jpg                         38240      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71888.jpg                         36956      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71900.jpg                         41208      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71913.jpg                         32659      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71916.jpg                         35847      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71926.jpg                         36259      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71943.jpg                         36146      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71944.jpg                         35977      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71947.jpg                         38302      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71960.jpg                         36536      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71963.jpg                         41661      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71966.jpg                         40133      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71968.jpg                         30155      10/9/2024 17:46




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                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          71999.jpg                         28872      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72018.jpg                         39789      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72021.jpg                         41171      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72044.jpg                         34670      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72199.jpg                         38684      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72270.jpg                         37745      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72273.jpg                         37507      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72619.jpg                         37046      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72620.jpg                         37021      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72624.jpg                         36862      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72655.jpg                         39309      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72793.jpg                         44496      10/9/2024 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72802.jpg                         34734      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72805.jpg                         37488      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72810.jpg                         40799      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72838.jpg                         38301      10/9/2024 18:00




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                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72894.jpg                         50892      10/9/2024 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72901.jpg                         37952      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72943.jpg                         46462      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72948.jpg                         31719      10/9/2024 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72950.jpg                         30480      10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72956.jpg                         40963      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72959.jpg                         41122      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72966.jpg                         28227      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72967.jpg                         39608      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          72986.jpg                         34635      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          73027.jpg                         39970      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          73040.jpg                         39017      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          73068.jpg                         43967      10/9/2024 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          73091.jpg                         44302      10/9/2024 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          73092.jpg                         47436      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          73134.jpg                         39926      10/9/2024 18:01




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                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          73135.jpg                         38298      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          73136.jpg                         36641      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          73145.jpg                         32892      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          73146.jpg                         32840      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          73153.jpg                         33833      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          73154.jpg                         31440      10/9/2024 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          73155.jpg                         32102      10/9/2024 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74208.jpg                         40002      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74228.jpg                         38245      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74243.jpg                         32503      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74251.jpg                         41785      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74253.jpg                         37771      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74257.jpg                         43215      10/9/2024 18:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74261.jpg                         31567      10/9/2024 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74300.jpg                         36410      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74302.jpg                         35463      10/9/2024 17:56




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74305.jpg                         42928      10/9/2024 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74339.jpg                         39841      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74351.jpg                         37589      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74365.jpg                         34809      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74387.jpg                         45240      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74408.jpg                         38233      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74409.jpg                         43352      10/9/2024 18:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74417.jpg                         38409      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74434.jpg                         28637      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74435.jpg                         37530      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74438.jpg                         36944      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74450.jpg                         34165      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74454.jpg                         39271      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74455.jpg                         32996      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74461.jpg                         40060      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74474.jpg                         38069      10/9/2024 17:59




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                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74475.jpg                         36185      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74490.jpg                         40909      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74531.jpg                         36306      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74542.jpg                         35755      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74559.jpg                         38765      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74560.jpg                         35008      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74561.jpg                         40782      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74589.jpg                         34401      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74590.jpg                         31681      10/9/2024 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74604.jpg                         41889      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74607.jpg                         48523      10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74637.jpg                         35840      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74639.jpg                         28501      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74705.jpg                         36529      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74723.jpg                         35418      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74787.jpg                         37146      10/9/2024 17:58




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74803.jpg                         37718      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74817.jpg                         38937      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74855.jpg                         36886      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74859.jpg                         31546      10/9/2024 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74885.jpg                         39855      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74909.jpg                         32890      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74934.jpg                         38650      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74938.jpg                         36294      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74963.jpg                         30841      10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74976.jpg                         32608      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          74978.jpg                         34208      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          75011.jpg                         36873      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          75012.jpg                         36084      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          75030.jpg                         36773      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          75035.jpg                         37110      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          75050.jpg                         37272      10/9/2024 17:58




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          75060.jpg                         40165      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          75065.jpg                         33834      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          75074.jpg                         35621      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          75075.jpg                         31499      10/9/2024 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          75094.jpg                         38679      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          75258.jpg                         36909      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          75276.jpg                         35643      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          75643.jpg                         35616      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76113.jpg                         40675      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76130.jpg                         48608      10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76132.jpg                         36406      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76134.jpg                         37439      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76135.jpg                         34296      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76138.jpg                         47226      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76176.jpg                         38437      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76177.jpg                         37371      10/9/2024 17:58




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76178.jpg                         39768      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76210.jpg                         37569      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76211.jpg                         37025      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76225.jpg                         38464      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76248.jpg                         32443      10/9/2024 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76259.jpg                         38964      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76262.jpg                         35993      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76271.jpg                         34814      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76297.jpg                         37040      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76309.jpg                         39653      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76324.jpg                         35881      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76339.jpg                         34932      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76342.jpg                         30984      10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76361.jpg                         35419      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76432.jpg                         36951      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76451.jpg                         34839      10/9/2024 17:55




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76462.jpg                         32901      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76474.jpg                         26530      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76475.jpg                         35773      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76483.jpg                         37147      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76507.jpg                         36099      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76514.jpg                         34948      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76528.jpg                         35478      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76547.jpg                         31214      10/9/2024 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76549.jpg                         32612      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76557.jpg                         29729      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76565.jpg                         38436      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76571.jpg                         27973      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76575.jpg                         36731      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76593.jpg                         35287      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76597.jpg                         34125      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76598.jpg                         28630      10/9/2024 17:45




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76649.jpg                         37897      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76704.jpg                         37902      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76732.jpg                         38743      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76780.jpg                         35745      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76794.jpg                         39909      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76804.jpg                         36150      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76886.jpg                         35449      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76900.jpg                         35086      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76906.jpg                         35113      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76908.jpg                         34928      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76935.jpg                         37601      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76948.jpg                         33894      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76966.jpg                         39232      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76979.jpg                         33364      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76983.jpg                         35870      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76992.jpg                         38072      10/9/2024 17:59




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          76999.jpg                         34787      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          77021.jpg                         36142      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          77083.jpg                         38207      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          77087.jpg                         34361      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          77090.jpg                         36946      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          77118.jpg                         35623      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          77131.jpg                         35568      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          77132.jpg                         36235      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          77146.jpg                         34166      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          77160.jpg                         35422      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          77173.jpg                         28732      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          77175.jpg                         33525      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          77183.jpg                         35919      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          77719.jpg                         35768      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78144.jpg                         35198      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78146.jpg                         35799      10/9/2024 17:56




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                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78153.jpg                         41466      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78155.jpg                         37579      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78164.jpg                         47547      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78166.jpg                         40429      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78171.jpg                         35865      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78198.jpg                         33758      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78207.jpg                         38400      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78208.jpg                         44117      10/9/2024 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78218.jpg                         36753      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78228.jpg                         35640      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78235.jpg                         25229      10/9/2024 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78249.jpg                         25111      10/9/2024 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78250.jpg                         37090      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78252.jpg                         40820      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78262.jpg                         37543      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78270.jpg                         31512      10/9/2024 17:50




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                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78271.jpg                         29972      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78272.jpg                         34986      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78273.jpg                         26704      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78274.jpg                         32636      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78275.jpg                         29441      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78276.jpg                         29888      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78277.jpg                         29925      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78278.jpg                         29535      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78279.jpg                         30267      10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78280.jpg                         31791      10/9/2024 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78281.jpg                         28244      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78282.jpg                         28795      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78283.jpg                         31429      10/9/2024 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78284.jpg                         33626      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78285.jpg                         31771      10/9/2024 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78286.jpg                         31434      10/9/2024 17:50




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               All Paths/Locations                           Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78287.jpg                                       28582      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78288.jpg                                       31299      10/9/2024 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78295.jpg                                       41885      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78296.jpg                                       41838      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78297.jpg                                       30585      10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78305.jpg                                       34539      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78321.jpg                                       41204      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78323.jpg                                       34482      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78344.jpg                                       35840      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78345.jpg                                       37819      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78348.jpg                                       39070      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78357.jpg                                       37360      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78361.jpg                                       36269      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78363.jpg                                       39391      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Chain of Title\MpFin
Screengrabs\SPSS - Portfolio Changes          78382.jpg                                       36185      10/9/2024 17:57
                                              78923
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_1
SuttonPark\Annuity Masters                    0_47_AM.xls                                    209543      10/9/2024 16:19




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                                       3467



              All Paths/Locations                               Unified Title               File Size    Primary Date/Time
                                              78924
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_26_06_P
SuttonPark\Annuity Masters                    M.xls                                               2113      10/9/2024 16:18
                                              78924
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_26
SuttonPark\Annuity Masters                    _07_PM.xls                                          2011      10/9/2024 16:17
                                              78925
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_30_54_
SuttonPark\Annuity Masters                    PM.xls                                              2118      10/9/2024 16:18
                                              78925
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_3
SuttonPark\Annuity Masters                    0_55_PM.xls                                         2012      10/9/2024 16:17
                                              78926
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_26_35_P
SuttonPark\Annuity Masters                    M.xls                                               2125      10/9/2024 16:19
                                              78926
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_26
SuttonPark\Annuity Masters                    _36_PM.xls                                          2011      10/9/2024 16:17
                                              78927
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_18_36_P
SuttonPark\Annuity Masters                    M.xls                                               2129      10/9/2024 16:19
                                              78927
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_18
SuttonPark\Annuity Masters                    _37_PM.xls                                        67615       10/9/2024 16:19
                                              78928
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_54_37_P
SuttonPark\Annuity Masters                    M.xls                                               1785      10/9/2024 16:17
                                              78928
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_54
SuttonPark\Annuity Masters                    _38_PM.xls                                          1540      10/9/2024 16:17
                                              78929
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_04_58_
SuttonPark\Annuity Masters                    PM.xls                                              1788      10/9/2024 16:17
                                              78929
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_0
SuttonPark\Annuity Masters                    5_00_PM.xls                                         1541      10/9/2024 16:17
                                              78930
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_52_33_P
SuttonPark\Annuity Masters                    M.xls                                               2112      10/9/2024 16:18
                                              78930
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_52
SuttonPark\Annuity Masters                    _34_PM.xls                                          2561      10/9/2024 16:19
                                              78934
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_11_09_
SuttonPark\Annuity Masters                    AM.xls                                              2468      10/9/2024 16:19
                                              78934
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_1
SuttonPark\Annuity Masters                    1_10_AM.xls                                      246538       10/9/2024 16:19




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                                              78935
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_11_33_
SuttonPark\Annuity Masters                    AM.xls                                              2126      10/9/2024 16:19
                                              78935
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_1
SuttonPark\Annuity Masters                    1_34_AM.xls                                      117060       10/9/2024 16:19
                                              78936
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_11_58_
SuttonPark\Annuity Masters                    AM.xls                                              1772      10/9/2024 16:17
                                              78936
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_1
SuttonPark\Annuity Masters                    1_59_AM.xls                                       72103       10/9/2024 16:19
                                              78937
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_12_55_P
SuttonPark\Annuity Masters                    M.xls                                               2831      10/9/2024 16:19
                                              78937
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_12
SuttonPark\Annuity Masters                    _56_PM.xls                                       261420       10/9/2024 16:20
                                              78939
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_34_45_
SuttonPark\Annuity Masters                    PM.xls                                              2122      10/9/2024 16:18
                                              78939
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_3
SuttonPark\Annuity Masters                    4_46_PM.xls                                      229502       10/9/2024 16:20
                                              78941
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_25_37_
SuttonPark\Annuity Masters                    PM.xls                                              2470      10/9/2024 16:19
                                              78941
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_2
SuttonPark\Annuity Masters                    4_31_PM.xls                                      247933       10/9/2024 16:19
                                              78942
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_54_11_P
SuttonPark\Annuity Masters                    M.xls                                               2108      10/9/2024 16:18
                                              78942
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_54
SuttonPark\Annuity Masters                    _12_PM.xls                                          7748      10/9/2024 16:19
                                              78943
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_12_18_
SuttonPark\Annuity Masters                    AM.xls                                              1777      10/9/2024 16:17
                                              78943
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_1
SuttonPark\Annuity Masters                    2_19_AM.xls                                       24343       10/9/2024 16:19
                                              78946
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_12_43_
SuttonPark\Annuity Masters                    AM.xls                                              2114      10/9/2024 16:18
                                              78946
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_1
SuttonPark\Annuity Masters                    2_44_AM.xls                                       39416       10/9/2024 16:19




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                                              78948
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_49_58_
SuttonPark\Annuity Masters                    PM.xls                                              2117      10/9/2024 16:18
                                              78948
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_5
SuttonPark\Annuity Masters                    0_00_PM.xls                                         3116      10/9/2024 16:19
                                              78953
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_40_59_
SuttonPark\Annuity Masters                    PM.xls                                              1775      10/9/2024 16:17
                                              78953
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_4
SuttonPark\Annuity Masters                    1_00_PM.xls                                       92399       10/9/2024 16:19
                                              78954
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_21_49_
SuttonPark\Annuity Masters                    PM.xls                                              5161      10/9/2024 16:19
                                              78954
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_2
SuttonPark\Annuity Masters                    1_51_PM.xls                                      480216       10/9/2024 16:20
                                              78964
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_30_05_P
SuttonPark\Annuity Masters                    M.xls                                               2108      10/9/2024 16:18
                                              78964
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_30
SuttonPark\Annuity Masters                    _06_PM.xls                                        51146       10/9/2024 16:19
                                              78965
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_46_10_
SuttonPark\Annuity Masters                    PM.xls                                              3231      10/9/2024 16:19
                                              78965
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_4
SuttonPark\Annuity Masters                    6_11_PM.xls                                      340340       10/9/2024 16:20
                                              78966
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_33_21_
SuttonPark\Annuity Masters                    PM.xls                                              2115      10/9/2024 16:18
                                              78966
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_3
SuttonPark\Annuity Masters                    3_22_PM.xls                                      157606       10/9/2024 16:19
                                              78969
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_31_09_
SuttonPark\Annuity Masters                    PM.xls                                              2121      10/9/2024 16:18
                                              78969
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_3
SuttonPark\Annuity Masters                    1_12_PM.xls                                      223492       10/9/2024 16:19
                                              78970
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_48_08_
SuttonPark\Annuity Masters                    PM.xls                                              2124      10/9/2024 16:19
                                              78970
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_4
SuttonPark\Annuity Masters                    8_10_PM.xls                                      184765       10/9/2024 16:19




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                                              78971
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_28_13_
SuttonPark\Annuity Masters                    PM.xls                                              1778      10/9/2024 16:17
                                              78971
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_2
SuttonPark\Annuity Masters                    8_14_PM.xls                                         2132      10/9/2024 16:19
                                              78976
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_27_32_
SuttonPark\Annuity Masters                    PM.xls                                              2127      10/9/2024 16:19
                                              78976
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_2
SuttonPark\Annuity Masters                    7_34_PM.xls                                       57404       10/9/2024 16:19
                                              78977
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_28_00_
SuttonPark\Annuity Masters                    PM.xls                                              1776      10/9/2024 16:17
                                              78977
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_2
SuttonPark\Annuity Masters                    8_01_PM.xls                                       29024       10/9/2024 16:19
                                              78991
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_36_09_
SuttonPark\Annuity Masters                    PM.xls                                              2119      10/9/2024 16:18
                                              78991
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_3
SuttonPark\Annuity Masters                    6_10_PM.xls                                         5699      10/9/2024 16:19
                                              78995
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_35_10_
SuttonPark\Annuity Masters                    PM.xls                                              1771      10/9/2024 16:17
                                              78995
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_3
SuttonPark\Annuity Masters                    5_11_PM.xls                                         1751      10/9/2024 16:17
                                              78996
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_25_22_
SuttonPark\Annuity Masters                    PM.xls                                              1780      10/9/2024 16:17
                                              78996
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_2
SuttonPark\Annuity Masters                    5_23_PM.xls                                         3911      10/9/2024 16:19
                                              78997
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_13_24_
SuttonPark\Annuity Masters                    AM.xls                                              1771      10/9/2024 16:17
                                              78997
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_1
SuttonPark\Annuity Masters                    3_26_AM.xls                                       55984       10/9/2024 16:19
                                              78998
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_13_51_
SuttonPark\Annuity Masters                    AM.xls                                              3199      10/9/2024 16:19
                                              78998
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_1
SuttonPark\Annuity Masters                    3_52_AM.xls                                      303952       10/9/2024 16:20




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                                              78999
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_49_25_
SuttonPark\Annuity Masters                    PM.xls                                              2485      10/9/2024 16:19
                                              78999
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_4
SuttonPark\Annuity Masters                    9_27_PM.xls                                         2207      10/9/2024 16:19
                                              79002
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_55_03_
SuttonPark\Annuity Masters                    PM.xls                                              2116      10/9/2024 16:18
                                              79002
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_5
SuttonPark\Annuity Masters                    5_05_PM.xls                                      100797       10/9/2024 16:19
                                              79003
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_37_01_
SuttonPark\Annuity Masters                    PM.xls                                              2108      10/9/2024 16:18
                                              79003
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_3
SuttonPark\Annuity Masters                    7_02_PM.xls                                      223547       10/9/2024 16:20
                                              79004
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_15_15_
SuttonPark\Annuity Masters                    AM.xls                                              2482      10/9/2024 16:19
                                              79004
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_1
SuttonPark\Annuity Masters                    5_16_AM.xls                                       98708       10/9/2024 16:19
                                              79007
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_07_02_
SuttonPark\Annuity Masters                    PM.xls                                              1767      10/9/2024 16:17
                                              79007
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_0
SuttonPark\Annuity Masters                    7_03_PM.xls                                         1742      10/9/2024 16:17
                                              79015
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_15_37_
SuttonPark\Annuity Masters                    AM.xls                                              4655      10/9/2024 16:19
                                              79015
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_1
SuttonPark\Annuity Masters                    5_38_AM.xls                                      576888       10/9/2024 16:20
                                              79016
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_16_00_
SuttonPark\Annuity Masters                    AM.xls                                              2469      10/9/2024 16:19
                                              79016
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_1
SuttonPark\Annuity Masters                    6_03_AM.xls                                         1898      10/9/2024 16:17
                                              79031
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_16_28_
SuttonPark\Annuity Masters                    AM.xls                                              2111      10/9/2024 16:18
                                              79031
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_1
SuttonPark\Annuity Masters                    6_30_AM.xls                                      200369       10/9/2024 16:19




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                                              79048
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_16_50_
SuttonPark\Annuity Masters                    AM.xls                                              2119      10/9/2024 16:18
                                              79048
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_1
SuttonPark\Annuity Masters                    6_52_AM.xls                                       14922       10/9/2024 16:19
                                              79051
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_17_28_
SuttonPark\Annuity Masters                    AM.xls                                              2123      10/9/2024 16:18
                                              79051
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_1
SuttonPark\Annuity Masters                    7_29_AM.xls                                       35230       10/9/2024 16:19
                                              79054
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_57_56_
SuttonPark\Annuity Masters                    PM.xls                                              2491      10/9/2024 16:19
                                              79054
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_5
SuttonPark\Annuity Masters                    7_57_PM.xls                                      118114       10/9/2024 16:19
                                              79055
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_18_58_
SuttonPark\Annuity Masters                    PM.xls                                              2476      10/9/2024 16:19
                                              79055
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_1
SuttonPark\Annuity Masters                    8_59_PM.xls                                         2874      10/9/2024 16:19
                                              79056
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_55_16_
SuttonPark\Annuity Masters                    PM.xls                                              2120      10/9/2024 16:18
                                              79056
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_5
SuttonPark\Annuity Masters                    5_18_PM.xls                                       33143       10/9/2024 16:19
                                              79058
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_39_38_
SuttonPark\Annuity Masters                    PM.xls                                              2511      10/9/2024 16:19
                                              79058
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_3
SuttonPark\Annuity Masters                    9_39_PM.xls                                         1552      10/9/2024 16:17
                                              79059
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_41_42_
SuttonPark\Annuity Masters                    PM.xls                                              2118      10/9/2024 16:18
                                              79059
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_4
SuttonPark\Annuity Masters                    1_45_PM.xls                                       31573       10/9/2024 16:19
                                              79061
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_35_41_
SuttonPark\Annuity Masters                    PM.xls                                              2124      10/9/2024 16:19
                                              79061
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_3
SuttonPark\Annuity Masters                    5_44_PM.xls                                      137113       10/9/2024 16:19




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                                              79062
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_17_55_
SuttonPark\Annuity Masters                    AM.xls                                              3270      10/9/2024 16:19
                                              79062
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_1
SuttonPark\Annuity Masters                    7_56_AM.xls                                      343854       10/9/2024 16:20
                                              79069
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_13_17_
SuttonPark\Annuity Masters                    PM.xls                                              1769      10/9/2024 16:17
                                              79069
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_1
SuttonPark\Annuity Masters                    3_18_PM.xls                                         5891      10/9/2024 16:19
                                              79070
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_54_14_
SuttonPark\Annuity Masters                    PM.xls                                              2125      10/9/2024 16:19
                                              79070
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_5
SuttonPark\Annuity Masters                    4_16_PM.xls                                      101808       10/9/2024 16:19
                                              79071
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_54_51_
SuttonPark\Annuity Masters                    PM.xls                                              2118      10/9/2024 16:18
                                              79071
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_5
SuttonPark\Annuity Masters                    4_52_PM.xls                                         2018      10/9/2024 16:17
                                              79072
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_23_22_
SuttonPark\Annuity Masters                    PM.xls                                              2126      10/9/2024 16:19
                                              79072
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_2
SuttonPark\Annuity Masters                    3_23_PM.xls                                      223499       10/9/2024 16:19
                                              79073
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_18_45_
SuttonPark\Annuity Masters                    AM.xls                                              2116      10/9/2024 16:18
                                              79073
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_1
SuttonPark\Annuity Masters                    8_46_AM.xls                                      101679       10/9/2024 16:19
                                              79087
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_45_28_
SuttonPark\Annuity Masters                    PM.xls                                              2109      10/9/2024 16:18
                                              79087
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_4
SuttonPark\Annuity Masters                    5_29_PM.xls                                      221204       10/9/2024 16:19
                                              79088
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_14_22_
SuttonPark\Annuity Masters                    PM.xls                                              2107      10/9/2024 16:18
                                              79088
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_1
SuttonPark\Annuity Masters                    4_24_PM.xls                                       34364       10/9/2024 16:19




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                                              79089
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_24_08_P
SuttonPark\Annuity Masters                    M.xls                                               3217      10/9/2024 16:19
                                              79089
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_24
SuttonPark\Annuity Masters                    _09_PM.xls                                       413102       10/9/2024 16:20
                                              79091
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_4_00_06_P
SuttonPark\Annuity Masters                    M.xls                                               2109      10/9/2024 16:18
                                              79091
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_4_00
SuttonPark\Annuity Masters                    _07_PM.xls                                       214626       10/9/2024 16:19
                                              79092
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_19_07_
SuttonPark\Annuity Masters                    AM.xls                                              2097      10/9/2024 16:17
                                              79092
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_1
SuttonPark\Annuity Masters                    9_08_AM.xls                                       54993       10/9/2024 16:19
                                              79093
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_4_13_58_P
SuttonPark\Annuity Masters                    M.xls                                               2113      10/9/2024 16:18
                                              79093
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_4_14
SuttonPark\Annuity Masters                    _00_PM.xls                                        83178       10/9/2024 16:19
                                              79094
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_6_2024_9_08_20_A
SuttonPark\Annuity Masters                    M.xls                                               2111      10/9/2024 16:18
                                              79094
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_6_2024_9_08
SuttonPark\Annuity Masters                    _21_AM.xls                                        50598       10/9/2024 16:19
                                              79095
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_41_26_
SuttonPark\Annuity Masters                    PM.xls                                              2114      10/9/2024 16:18
                                              79095
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_4
SuttonPark\Annuity Masters                    1_27_PM.xls                                       92800       10/9/2024 16:19
                                              79096
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_28_03_P
SuttonPark\Annuity Masters                    M.xls                                               2103      10/9/2024 16:17
                                              79096
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_28
SuttonPark\Annuity Masters                    _04_PM.xls                                        51124       10/9/2024 16:19
                                              79097
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_19_28_
SuttonPark\Annuity Masters                    AM.xls                                              2106      10/9/2024 16:18
                                              79097
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_1
SuttonPark\Annuity Masters                    9_29_AM.xls                                       95908       10/9/2024 16:19




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                                              79098
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_57_32_P
SuttonPark\Annuity Masters                    M.xls                                               2833      10/9/2024 16:19
                                              79098
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_57
SuttonPark\Annuity Masters                    _33_PM.xls                                       368342       10/9/2024 16:20
                                              79101
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_34_14_P
SuttonPark\Annuity Masters                    M.xls                                               2480      10/9/2024 16:19
                                              79101
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_34
SuttonPark\Annuity Masters                    _16_PM.xls                                        97145       10/9/2024 16:19
                                              79102
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_37_39_
SuttonPark\Annuity Masters                    PM.xls                                              2889      10/9/2024 16:19
                                              79102
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_3
SuttonPark\Annuity Masters                    7_41_PM.xls                                      300621       10/9/2024 16:20
                                              79103
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_03_27_
SuttonPark\Annuity Masters                    PM.xls                                              2105      10/9/2024 16:17
                                              79103
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_0
SuttonPark\Annuity Masters                    3_28_PM.xls                                       67570       10/9/2024 16:19
                                              79104
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_11_20_P
SuttonPark\Annuity Masters                    M.xls                                               2122      10/9/2024 16:18
                                              79104
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_11
SuttonPark\Annuity Masters                    _21_PM.xls                                       200525       10/9/2024 16:19
                                              79105
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_25_20_P
SuttonPark\Annuity Masters                    M.xls                                               2859      10/9/2024 16:19
                                              79105
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_25
SuttonPark\Annuity Masters                    _21_PM.xls                                       300588       10/9/2024 16:20
                                              79106
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_16_16_P
SuttonPark\Annuity Masters                    M.xls                                               2122      10/9/2024 16:18
                                              79106
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_16
SuttonPark\Annuity Masters                    _17_PM.xls                                       223596       10/9/2024 16:19
                                              79107
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_18_53_
SuttonPark\Annuity Masters                    PM.xls                                              2127      10/9/2024 16:19
                                              79108
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_55_05_P
SuttonPark\Annuity Masters                    M.xls                                               3192      10/9/2024 16:19




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                                              79108
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_55
SuttonPark\Annuity Masters                    _06_PM.xls                                       195520       10/9/2024 16:19
                                              79109
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_30_35_P
SuttonPark\Annuity Masters                    M.xls                                               2108      10/9/2024 16:18
                                              79109
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_30
SuttonPark\Annuity Masters                    _36_PM.xls                                        50205       10/9/2024 16:19
                                              79110
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_19_51_
SuttonPark\Annuity Masters                    AM.xls                                              2104      10/9/2024 16:17
                                              79110
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_1
SuttonPark\Annuity Masters                    9_52_AM.xls                                      210181       10/9/2024 16:19
                                              79111
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_59_37_P
SuttonPark\Annuity Masters                    M.xls                                               2110      10/9/2024 16:18
                                              79111
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_59
SuttonPark\Annuity Masters                    _38_PM.xls                                          7844      10/9/2024 16:19
                                              79112
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_17_05_P
SuttonPark\Annuity Masters                    M.xls                                               2107      10/9/2024 16:18
                                              79112
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_17
SuttonPark\Annuity Masters                    _07_PM.xls                                          2862      10/9/2024 16:19
                                              79113
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_20_17_
SuttonPark\Annuity Masters                    AM.xls                                              2098      10/9/2024 16:17
                                              79113
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_2
SuttonPark\Annuity Masters                    0_18_AM.xls                                         3112      10/9/2024 16:19
                                              79114
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_20_41_
SuttonPark\Annuity Masters                    AM.xls                                              2094      10/9/2024 16:17
                                              79114
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_2
SuttonPark\Annuity Masters                    0_42_AM.xls                                       13374       10/9/2024 16:19
                                              79115
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_57_02_P
SuttonPark\Annuity Masters                    M.xls                                               2105      10/9/2024 16:17
                                              79115
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_57
SuttonPark\Annuity Masters                    _03_PM.xls                                       201657       10/9/2024 16:19
                                              79116
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_27_33_P
SuttonPark\Annuity Masters                    M.xls                                               2104      10/9/2024 16:17




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                                              79116
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_27
SuttonPark\Annuity Masters                    _35_PM.xls                                        17556       10/9/2024 16:19
                                              79117
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_4_13_27_P
SuttonPark\Annuity Masters                    M.xls                                               2117      10/9/2024 16:18
                                              79117
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_4_13
SuttonPark\Annuity Masters                    _30_PM.xls                                       103336       10/9/2024 16:19
                                              79118
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_43_14_
SuttonPark\Annuity Masters                    PM.xls                                              2474      10/9/2024 16:19
                                              79118
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_4
SuttonPark\Annuity Masters                    3_15_PM.xls                                         2536      10/9/2024 16:19
                                              79121
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_49_03_
SuttonPark\Annuity Masters                    PM.xls                                              2109      10/9/2024 16:18
                                              79121
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_4
SuttonPark\Annuity Masters                    9_04_PM.xls                                         2297      10/9/2024 16:19
                                              79123
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_31_06_P
SuttonPark\Annuity Masters                    M.xls                                               2113      10/9/2024 16:18
                                              79123
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_31
SuttonPark\Annuity Masters                    _07_PM.xls                                       174438       10/9/2024 16:19
                                              79128
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_13_58_
SuttonPark\Annuity Masters                    PM.xls                                              2103      10/9/2024 16:17
                                              79128
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_1
SuttonPark\Annuity Masters                    3_59_PM.xls                                         5660      10/9/2024 16:19
                                              79131
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_20_11_P
SuttonPark\Annuity Masters                    M.xls                                               2112      10/9/2024 16:18
                                              79131
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_20
SuttonPark\Annuity Masters                    _12_PM.xls                                       221002       10/9/2024 16:19
                                              79132
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_53_06_P
SuttonPark\Annuity Masters                    M.xls                                               3198      10/9/2024 16:19
                                              79132
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_53
SuttonPark\Annuity Masters                    _07_PM.xls                                       312864       10/9/2024 16:20
                                              79133
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_03_51_
SuttonPark\Annuity Masters                    PM.xls                                              2474      10/9/2024 16:19




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                                              79133
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_0
SuttonPark\Annuity Masters                    3_52_PM.xls                                      248289       10/9/2024 16:19
                                              79134
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_02_00_
SuttonPark\Annuity Masters                    PM.xls                                              2115      10/9/2024 16:18
                                              79134
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_0
SuttonPark\Annuity Masters                    2_02_PM.xls                                      202159       10/9/2024 16:19
                                              79136
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_19_37_
SuttonPark\Annuity Masters                    PM.xls                                              2120      10/9/2024 16:18
                                              79136
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_1
SuttonPark\Annuity Masters                    8_54_PM.xls                                       50601       10/9/2024 16:19
                                              79137
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_21_01_
SuttonPark\Annuity Masters                    AM.xls                                              2092      10/9/2024 16:17
                                              79137
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_2
SuttonPark\Annuity Masters                    1_03_AM.xls                                         1461      10/9/2024 16:17
                                              79138
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_6_2024_9_10_10_A
SuttonPark\Annuity Masters                    M.xls                                               2833      10/9/2024 16:19
                                              79138
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_6_2024_9_10
SuttonPark\Annuity Masters                    _11_AM.xls                                       284602       10/9/2024 16:20
                                              79140
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_56_03_P
SuttonPark\Annuity Masters                    M.xls                                               2103      10/9/2024 16:17
                                              79140
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_56
SuttonPark\Annuity Masters                    _04_PM.xls                                          3131      10/9/2024 16:19
                                              79141
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_42_17_
SuttonPark\Annuity Masters                    PM.xls                                              2106      10/9/2024 16:18
                                              79141
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_4
SuttonPark\Annuity Masters                    2_18_PM.xls                                         4245      10/9/2024 16:19
                                              79142
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_21_23_
SuttonPark\Annuity Masters                    AM.xls                                              2097      10/9/2024 16:17
                                              79142
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_2
SuttonPark\Annuity Masters                    1_24_AM.xls                                         2852      10/9/2024 16:19
                                              79143
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_53_41_P
SuttonPark\Annuity Masters                    M.xls                                               2461      10/9/2024 16:19




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                                              79143
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_53
SuttonPark\Annuity Masters                    _43_PM.xls                                          2539      10/9/2024 16:19
                                              79145
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_49_41_P
SuttonPark\Annuity Masters                    M.xls                                               5681      10/9/2024 16:19
                                              79145
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_49
SuttonPark\Annuity Masters                    _42_PM.xls                                        48507       10/9/2024 16:19
                                              79146
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_36_43_
SuttonPark\Annuity Masters                    PM.xls                                              2109      10/9/2024 16:18
                                              79146
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_3
SuttonPark\Annuity Masters                    6_45_PM.xls                                         3427      10/9/2024 16:19
                                              79149
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_20_00_
SuttonPark\Annuity Masters                    PM.xls                                              2106      10/9/2024 16:18
                                              79149
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_2
SuttonPark\Annuity Masters                    0_01_PM.xls                                         3694      10/9/2024 16:19
                                              79150
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_6_2024_9_09_21_A
SuttonPark\Annuity Masters                    M.xls                                               2098      10/9/2024 16:17
                                              79150
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_6_2024_9_09
SuttonPark\Annuity Masters                    _22_AM.xls                                          2285      10/9/2024 16:19
                                              79151
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_21_48_
SuttonPark\Annuity Masters                    AM.xls                                              2099      10/9/2024 16:17
                                              79151
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_2
SuttonPark\Annuity Masters                    1_48_AM.xls                                         1457      10/9/2024 16:17
                                              79152
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_29_20_P
SuttonPark\Annuity Masters                    M.xls                                               3546      10/9/2024 16:19
                                              79152
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_29
SuttonPark\Annuity Masters                    _21_PM.xls                                       142384       10/9/2024 16:19
                                              79153
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_4_14_59_P
SuttonPark\Annuity Masters                    M.xls                                               2109      10/9/2024 16:18
                                              79153
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_4_15
SuttonPark\Annuity Masters                    _00_PM.xls                                        17876       10/9/2024 16:19
                                              79154
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_4_11_46_P
SuttonPark\Annuity Masters                    M.xls                                               2102      10/9/2024 16:17




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                                              79154
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_4_11
SuttonPark\Annuity Masters                    _48_PM.xls                                          2862      10/9/2024 16:19
                                              79155
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_4_14_28_P
SuttonPark\Annuity Masters                    M.xls                                               5027      10/9/2024 16:19
                                              79155
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_4_14
SuttonPark\Annuity Masters                    _29_PM.xls                                       533261       10/9/2024 16:20
                                              79156
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_17_53_P
SuttonPark\Annuity Masters                    M.xls                                               3180      10/9/2024 16:19
                                              79156
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_17
SuttonPark\Annuity Masters                    _54_PM.xls                                          4694      10/9/2024 16:19
                                              79157
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_6_2024_9_06_46_A
SuttonPark\Annuity Masters                    M.xls                                               3179      10/9/2024 16:19
                                              79157
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_6_2024_9_06
SuttonPark\Annuity Masters                    _47_AM.xls                                          2996      10/9/2024 16:19
                                              79158
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_4_13_01_P
SuttonPark\Annuity Masters                    M.xls                                               2110      10/9/2024 16:18
                                              79158
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_4_13
SuttonPark\Annuity Masters                    _01_PM.xls                                          6442      10/9/2024 16:19
                                              79159
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_6_2024_9_08_44_A
SuttonPark\Annuity Masters                    M.xls                                               2104      10/9/2024 16:17
                                              79159
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_6_2024_9_08
SuttonPark\Annuity Masters                    _45_AM.xls                                          3703      10/9/2024 16:19
                                              79160
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_51_23_
SuttonPark\Annuity Masters                    PM.xls                                              2098      10/9/2024 16:17
                                              79160
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_5
SuttonPark\Annuity Masters                    1_24_PM.xls                                         1458      10/9/2024 16:17
                                              79161
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_12_06_P
SuttonPark\Annuity Masters                    M.xls                                               2114      10/9/2024 16:18
                                              79161
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_12
SuttonPark\Annuity Masters                    _07_PM.xls                                       118596       10/9/2024 16:19
                                              79162
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_01_04_
SuttonPark\Annuity Masters                    PM.xls                                              3208      10/9/2024 16:19




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                                              79162
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_0
SuttonPark\Annuity Masters                    1_06_PM.xls                                         3858      10/9/2024 16:19
                                              79163
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_6_2024_9_09_43_A
SuttonPark\Annuity Masters                    M.xls                                               4241      10/9/2024 16:19
                                              79163
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_6_2024_9_09
SuttonPark\Annuity Masters                    _44_AM.xls                                          4846      10/9/2024 16:19
                                              79165
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_46_50_
SuttonPark\Annuity Masters                    PM.xls                                              2110      10/9/2024 16:18
                                              79165
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_4
SuttonPark\Annuity Masters                    6_52_PM.xls                                       34585       10/9/2024 16:19
                                              79166
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_14_52_P
SuttonPark\Annuity Masters                    M.xls                                               1757      10/9/2024 16:17
                                              79166
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_14
SuttonPark\Annuity Masters                    _53_PM.xls                                          9256      10/9/2024 16:19
                                              79168
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_56_32_P
SuttonPark\Annuity Masters                    M.xls                                               2103      10/9/2024 16:17
                                              79168
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_56
SuttonPark\Annuity Masters                    _34_PM.xls                                          3138      10/9/2024 16:19
                                              79170
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_12_29_P
SuttonPark\Annuity Masters                    M.xls                                               2099      10/9/2024 16:17
                                              79170
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_12
SuttonPark\Annuity Masters                    _31_PM.xls                                          6446      10/9/2024 16:19
                                              79172
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_38_05_
SuttonPark\Annuity Masters                    PM.xls                                              2116      10/9/2024 16:18
                                              79172
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_3
SuttonPark\Annuity Masters                    8_06_PM.xls                                         2584      10/9/2024 16:19
                                              79173
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_50_07_P
SuttonPark\Annuity Masters                    M.xls                                               2103      10/9/2024 16:17
                                              79173
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_50
SuttonPark\Annuity Masters                    _08_PM.xls                                          2023      10/9/2024 16:17
                                              79174
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_32_27_P
SuttonPark\Annuity Masters                    M.xls                                               2811      10/9/2024 16:19




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                                              79174
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_32
SuttonPark\Annuity Masters                    _28_PM.xls                                          2395      10/9/2024 16:19
                                              79175
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_42_49_
SuttonPark\Annuity Masters                    PM.xls                                              2107      10/9/2024 16:18
                                              79175
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_4
SuttonPark\Annuity Masters                    2_50_PM.xls                                         3445      10/9/2024 16:19
                                              79176
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_51_29_P
SuttonPark\Annuity Masters                    M.xls                                               2102      10/9/2024 16:17
                                              79176
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_51
SuttonPark\Annuity Masters                    _30_PM.xls                                        15291       10/9/2024 16:19
                                              79177
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_21_10_P
SuttonPark\Annuity Masters                    M.xls                                               2804      10/9/2024 16:19
                                              79177
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_21
SuttonPark\Annuity Masters                    _12_PM.xls                                       249033       10/9/2024 16:19
                                              79178
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_22_09_
SuttonPark\Annuity Masters                    AM.xls                                              2096      10/9/2024 16:17
                                              79178
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_2
SuttonPark\Annuity Masters                    2_10_AM.xls                                       35153       10/9/2024 16:19
                                              79179
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_14_03_P
SuttonPark\Annuity Masters                    M.xls                                               2110      10/9/2024 16:18
                                              79179
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_14
SuttonPark\Annuity Masters                    _04_PM.xls                                       225371       10/9/2024 16:20
                                              79180
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_40_58_
SuttonPark\Annuity Masters                    PM.xls                                              2100      10/9/2024 16:17
                                              79180
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_4
SuttonPark\Annuity Masters                    1_00_PM.xls                                         2026      10/9/2024 16:17
                                              79181
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_22_42_P
SuttonPark\Annuity Masters                    M.xls                                               2823      10/9/2024 16:19
                                              79181
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_22
SuttonPark\Annuity Masters                    _43_PM.xls                                          7298      10/9/2024 16:19
                                              79182
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_15_50_P
SuttonPark\Annuity Masters                    M.xls                                               2107      10/9/2024 16:18




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                                              79182
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_15
SuttonPark\Annuity Masters                    _51_PM.xls                                        41216       10/9/2024 16:19
                                              79184
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_55_34_P
SuttonPark\Annuity Masters                    M.xls                                               2464      10/9/2024 16:19
                                              79184
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_55
SuttonPark\Annuity Masters                    _35_PM.xls                                       317954       10/9/2024 16:20
                                              79185
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_37_13_
SuttonPark\Annuity Masters                    PM.xls                                              2105      10/9/2024 16:17
                                              79185
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_3
SuttonPark\Annuity Masters                    7_14_PM.xls                                         3974      10/9/2024 16:19
                                              79186
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_22_29_
SuttonPark\Annuity Masters                    AM.xls                                              2104      10/9/2024 16:17
                                              79186
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_2
SuttonPark\Annuity Masters                    2_31_AM.xls                                      193687       10/9/2024 16:19
                                              79189
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_51_59_P
SuttonPark\Annuity Masters                    M.xls                                               2104      10/9/2024 16:17
                                              79189
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_52
SuttonPark\Annuity Masters                    _00_PM.xls                                          2865      10/9/2024 16:19
                                              79191
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_58_11_P
SuttonPark\Annuity Masters                    M.xls                                               2107      10/9/2024 16:18
                                              79191
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_58
SuttonPark\Annuity Masters                    _12_PM.xls                                          2294      10/9/2024 16:19
                                              79192
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_13_18_P
SuttonPark\Annuity Masters                    M.xls                                               2143      10/9/2024 16:19
                                              79192
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_13
SuttonPark\Annuity Masters                    _19_PM.xls                                       182520       10/9/2024 16:19
                                              79197
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_16_43_P
SuttonPark\Annuity Masters                    M.xls                                               2127      10/9/2024 16:19
                                              79197
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_16
SuttonPark\Annuity Masters                    _44_PM.xls                                       147744       10/9/2024 16:19
                                              79200
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_50_31_P
SuttonPark\Annuity Masters                    M.xls                                               2108      10/9/2024 16:18




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                                              79200
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_50
SuttonPark\Annuity Masters                    _32_PM.xls                                          2022      10/9/2024 16:17
                                              79201
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_22_14_P
SuttonPark\Annuity Masters                    M.xls                                               2487      10/9/2024 16:19
                                              79201
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_22
SuttonPark\Annuity Masters                    _15_PM.xls                                       263296       10/9/2024 16:20
                                              79202
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_11_41_P
SuttonPark\Annuity Masters                    M.xls                                               2480      10/9/2024 16:19
                                              79202
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_11
SuttonPark\Annuity Masters                    _42_PM.xls                                       261672       10/9/2024 16:20
                                              79205
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_33_20_P
SuttonPark\Annuity Masters                    M.xls                                               2114      10/9/2024 16:18
                                              79205
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_33
SuttonPark\Annuity Masters                    _21_PM.xls                                       151919       10/9/2024 16:19
                                              79206
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_23_02_
SuttonPark\Annuity Masters                    AM.xls                                              2452      10/9/2024 16:19
                                              79206
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_2
SuttonPark\Annuity Masters                    3_03_AM.xls                                      262177       10/9/2024 16:20
                                              79211
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_50_59_P
SuttonPark\Annuity Masters                    M.xls                                               2104      10/9/2024 16:17
                                              79211
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_51
SuttonPark\Annuity Masters                    _00_PM.xls                                       221497       10/9/2024 16:19
                                              79214
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_23_44_
SuttonPark\Annuity Masters                    AM.xls                                              2098      10/9/2024 16:17
                                              79214
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_2
SuttonPark\Annuity Masters                    3_45_AM.xls                                      132406       10/9/2024 16:19
                                              79225
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_33_47_P
SuttonPark\Annuity Masters                    M.xls                                               4246      10/9/2024 16:19
                                              79225
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_33
SuttonPark\Annuity Masters                    _48_PM.xls                                        86167       10/9/2024 16:19
                                              79228
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_13_39_P
SuttonPark\Annuity Masters                    M.xls                                               1760      10/9/2024 16:17




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                                              79228
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_13
SuttonPark\Annuity Masters                    _40_PM.xls                                          1339      10/9/2024 16:17
                                              79234
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_26_10_
SuttonPark\Annuity Masters                    AM.xls                                              2108      10/9/2024 16:18
                                              79234
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_2
SuttonPark\Annuity Masters                    6_11_AM.xls                                      166836       10/9/2024 16:19
                                              79256
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_39_55_
SuttonPark\Annuity Masters                    PM.xls                                              2120      10/9/2024 16:18
                                              79256
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_3
SuttonPark\Annuity Masters                    9_56_PM.xls                                         3699      10/9/2024 16:19
                                              79260
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_18_21_
SuttonPark\Annuity Masters                    PM.xls                                              2102      10/9/2024 16:17
                                              79260
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_1
SuttonPark\Annuity Masters                    8_23_PM.xls                                         3971      10/9/2024 16:19
                                              79262
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_49_30_
SuttonPark\Annuity Masters                    PM.xls                                              2472      10/9/2024 16:19
                                              79262
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_4
SuttonPark\Annuity Masters                    9_31_PM.xls                                         4803      10/9/2024 16:19
                                              79264
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_4_12_12_P
SuttonPark\Annuity Masters                    M.xls                                               2108      10/9/2024 16:18
                                              79264
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_4_12
SuttonPark\Annuity Masters                    _13_PM.xls                                          3425      10/9/2024 16:19
                                              79265
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_16_55_
SuttonPark\Annuity Masters                    PM.xls                                              2111      10/9/2024 16:18
                                              79265
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_1
SuttonPark\Annuity Masters                    6_56_PM.xls                                         2023      10/9/2024 16:17
                                              79268
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_26_32_
SuttonPark\Annuity Masters                    AM.xls                                              2112      10/9/2024 16:18
                                              79268
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_2
SuttonPark\Annuity Masters                    6_33_AM.xls                                      190046       10/9/2024 16:19
                                              79269
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_55_06_
SuttonPark\Annuity Masters                    PM.xls                                              2115      10/9/2024 16:18




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                                              79269
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_5
SuttonPark\Annuity Masters                    5_07_PM.xls                                       15157       10/9/2024 16:19
                                              79270
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_01_29_
SuttonPark\Annuity Masters                    PM.xls                                              2114      10/9/2024 16:18
                                              79270
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_0
SuttonPark\Annuity Masters                    1_31_PM.xls                                      192355       10/9/2024 16:19
                                              79271
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_13_29_
SuttonPark\Annuity Masters                    PM.xls                                              2110      10/9/2024 16:18
                                              79271
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_1
SuttonPark\Annuity Masters                    3_30_PM.xls                                       34587       10/9/2024 16:19
                                              79272
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_38_30_
SuttonPark\Annuity Masters                    PM.xls                                              2114      10/9/2024 16:18
                                              79272
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_3
SuttonPark\Annuity Masters                    8_31_PM.xls                                      271591       10/9/2024 16:20
                                              79274
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_6_2024_9_10_34_A
SuttonPark\Annuity Masters                    M.xls                                               2102      10/9/2024 16:17
                                              79274
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_6_2024_9_10
SuttonPark\Annuity Masters                    _35_AM.xls                                          2019      10/9/2024 16:17
                                              79277
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_6_2024_9_07
SuttonPark\Annuity Masters                    _54_AM.xls                                          5054      10/9/2024 16:19
                                              79279
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_47_32_
SuttonPark\Annuity Masters                    PM.xls                                              2474      10/9/2024 16:19
                                              79279
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_4
SuttonPark\Annuity Masters                    7_33_PM.xls                                      244670       10/9/2024 16:19
                                              79280
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_38_56_
SuttonPark\Annuity Masters                    PM.xls                                              2119      10/9/2024 16:18
                                              79280
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_3
SuttonPark\Annuity Masters                    8_57_PM.xls                                      231864       10/9/2024 16:19
                                              79281
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_6_2024_9_07_23_A
SuttonPark\Annuity Masters                    M.xls                                               2458      10/9/2024 16:19
                                              79281
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_6_2024_9_07
SuttonPark\Annuity Masters                    _24_AM.xls                                       118034       10/9/2024 16:19




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                                              79282
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_17_54_
SuttonPark\Annuity Masters                    PM.xls                                              2116      10/9/2024 16:18
                                              79282
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_1
SuttonPark\Annuity Masters                    7_55_PM.xls                                      186122       10/9/2024 16:19
                                              79283
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_26_56_
SuttonPark\Annuity Masters                    AM.xls                                              2096      10/9/2024 16:17
                                              79283
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_2
SuttonPark\Annuity Masters                    6_57_AM.xls                                       20286       10/9/2024 16:19
                                              79285
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_48_15_
SuttonPark\Annuity Masters                    PM.xls                                              2114      10/9/2024 16:18
                                              79285
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_4
SuttonPark\Annuity Masters                    8_16_PM.xls                                       41270       10/9/2024 16:19
                                              79286
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_50_01_
SuttonPark\Annuity Masters                    PM.xls                                              2109      10/9/2024 16:18
                                              79286
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_5
SuttonPark\Annuity Masters                    0_04_PM.xls                                      101271       10/9/2024 16:19
                                              79287
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_52_37_
SuttonPark\Annuity Masters                    PM.xls                                              3184      10/9/2024 16:19
                                              79287
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_5
SuttonPark\Annuity Masters                    2_38_PM.xls                                      320770       10/9/2024 16:20
                                              79290
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_15_13_
SuttonPark\Annuity Masters                    PM.xls                                              2119      10/9/2024 16:18
                                              79290
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_1
SuttonPark\Annuity Masters                    5_14_PM.xls                                      191173       10/9/2024 16:19
                                              79291
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_27_17_
SuttonPark\Annuity Masters                    AM.xls                                              2100      10/9/2024 16:17
                                              79291
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_2
SuttonPark\Annuity Masters                    7_18_AM.xls                                      225743       10/9/2024 16:19
                                              79292
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_45_53_
SuttonPark\Annuity Masters                    PM.xls                                              2107      10/9/2024 16:18
                                              79292
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_4
SuttonPark\Annuity Masters                    5_54_PM.xls                                       50372       10/9/2024 16:19




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                                              79293
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_02_28_
SuttonPark\Annuity Masters                    PM.xls                                              2111      10/9/2024 16:18
                                              79293
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_0
SuttonPark\Annuity Masters                    2_29_PM.xls                                      220942       10/9/2024 16:20
                                              79296
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_02_59_
SuttonPark\Annuity Masters                    PM.xls                                              2847      10/9/2024 16:19
                                              79296
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_0
SuttonPark\Annuity Masters                    3_01_PM.xls                                       56007       10/9/2024 16:19
                                              79298
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_20_23_
SuttonPark\Annuity Masters                    PM.xls                                              2114      10/9/2024 16:18
                                              79298
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_2
SuttonPark\Annuity Masters                    0_24_PM.xls                                         3985      10/9/2024 16:19
                                              79300
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_48_40_
SuttonPark\Annuity Masters                    PM.xls                                              2111      10/9/2024 16:18
                                              79300
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_4
SuttonPark\Annuity Masters                    8_41_PM.xls                                      220837       10/9/2024 16:19
                                              79301
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_14_47_
SuttonPark\Annuity Masters                    PM.xls                                              2115      10/9/2024 16:18
                                              79301
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_1
SuttonPark\Annuity Masters                    4_48_PM.xls                                         2857      10/9/2024 16:19
                                              79302
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_43_42_
SuttonPark\Annuity Masters                    PM.xls                                              3200      10/9/2024 16:19
                                              79302
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_4
SuttonPark\Annuity Masters                    3_43_PM.xls                                      213915       10/9/2024 16:19
                                              79303
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_51_50_
SuttonPark\Annuity Masters                    PM.xls                                              2104      10/9/2024 16:17
                                              79303
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_5
SuttonPark\Annuity Masters                    1_51_PM.xls                                         2303      10/9/2024 16:19
                                              79305
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_50_51_
SuttonPark\Annuity Masters                    PM.xls                                              2105      10/9/2024 16:17
                                              79305
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_5
SuttonPark\Annuity Masters                    0_53_PM.xls                                         2574      10/9/2024 16:19




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                                              79306
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_40_29_
SuttonPark\Annuity Masters                    PM.xls                                              2110      10/9/2024 16:18
                                              79306
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_4
SuttonPark\Annuity Masters                    0_30_PM.xls                                      210643       10/9/2024 16:19
                                              79307
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_35_50_
SuttonPark\Annuity Masters                    PM.xls                                              2468      10/9/2024 16:19
                                              79307
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_3
SuttonPark\Annuity Masters                    5_51_PM.xls                                       77730       10/9/2024 16:19
                                              79308
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_4_12_38_P
SuttonPark\Annuity Masters                    M.xls                                               2100      10/9/2024 16:17
                                              79308
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_4_12
SuttonPark\Annuity Masters                    _39_PM.xls                                          2580      10/9/2024 16:19
                                              79314
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_16_20_
SuttonPark\Annuity Masters                    PM.xls                                              2108      10/9/2024 16:18
                                              79314
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_1
SuttonPark\Annuity Masters                    6_21_PM.xls                                       67259       10/9/2024 16:19
                                              79315
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_27_39_
SuttonPark\Annuity Masters                    AM.xls                                              2088      10/9/2024 16:17
                                              79315
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_2
SuttonPark\Annuity Masters                    7_40_AM.xls                                       31245       10/9/2024 16:19
                                              79316
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_28_03_
SuttonPark\Annuity Masters                    AM.xls                                              2457      10/9/2024 16:19
                                              79316
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_2
SuttonPark\Annuity Masters                    8_05_AM.xls                                      263740       10/9/2024 16:20
                                              79317
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_17_23_
SuttonPark\Annuity Masters                    PM.xls                                              2103      10/9/2024 16:17
                                              79317
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_1
SuttonPark\Annuity Masters                    7_24_PM.xls                                         3412      10/9/2024 16:19
                                              79322
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_39_20_
SuttonPark\Annuity Masters                    PM.xls                                              2113      10/9/2024 16:18
                                              79322
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_3
SuttonPark\Annuity Masters                    9_21_PM.xls                                       18997       10/9/2024 16:19




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                                              79323
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_4_15_31_P
SuttonPark\Annuity Masters                    M.xls                                               2109      10/9/2024 16:18
                                              79323
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_4_15
SuttonPark\Annuity Masters                    _32_PM.xls                                        22758       10/9/2024 16:19
                                              79330
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_41_53_
SuttonPark\Annuity Masters                    PM.xls                                              2463      10/9/2024 16:19
                                              79330
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_4
SuttonPark\Annuity Masters                    1_55_PM.xls                                      249814       10/9/2024 16:19
                                              79335
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_00_34_
SuttonPark\Annuity Masters                    PM.xls                                              2457      10/9/2024 16:19
                                              79335
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_0
SuttonPark\Annuity Masters                    0_36_PM.xls                                         2543      10/9/2024 16:19
                                              79344
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_28_33_
SuttonPark\Annuity Masters                    AM.xls                                              3185      10/9/2024 16:19
                                              79344
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_2
SuttonPark\Annuity Masters                    8_34_AM.xls                                       65179       10/9/2024 16:19
                                              79346
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_28_59_
SuttonPark\Annuity Masters                    AM.xls                                              2123      10/9/2024 16:18
                                              79346
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_2
SuttonPark\Annuity Masters                    9_00_AM.xls                                       17890       10/9/2024 16:19
                                              79348
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_50_57_
SuttonPark\Annuity Masters                    PM.xls                                              2867      10/9/2024 16:19
                                              79348
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_5
SuttonPark\Annuity Masters                    0_58_PM.xls                                         2393      10/9/2024 16:19
                                              79350
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_29_20_
SuttonPark\Annuity Masters                    AM.xls                                              2126      10/9/2024 16:19
                                              79350
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_2
SuttonPark\Annuity Masters                    9_21_AM.xls                                      166464       10/9/2024 16:19
                                              79351
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_29_42_
SuttonPark\Annuity Masters                    AM.xls                                              2126      10/9/2024 16:19
                                              79351
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_2
SuttonPark\Annuity Masters                    9_43_AM.xls                                      166464       10/9/2024 16:19




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                                              79353
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_23_01_
SuttonPark\Annuity Masters                    PM.xls                                              2115      10/9/2024 16:18
                                              79353
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_2
SuttonPark\Annuity Masters                    3_02_PM.xls                                         2562      10/9/2024 16:19
                                              79354
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_30_12_
SuttonPark\Annuity Masters                    AM.xls                                              2113      10/9/2024 16:18
                                              79354
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_3
SuttonPark\Annuity Masters                    0_12_AM.xls                                       18648       10/9/2024 16:19
                                              79355
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_30_34_
SuttonPark\Annuity Masters                    AM.xls                                              4655      10/9/2024 16:19
                                              79355
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_3
SuttonPark\Annuity Masters                    0_35_AM.xls                                      442697       10/9/2024 16:20
                                              79356
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_31_03_
SuttonPark\Annuity Masters                    AM.xls                                              2118      10/9/2024 16:18
                                              79356
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_3
SuttonPark\Annuity Masters                    1_04_AM.xls                                       18710       10/9/2024 16:19
                                              79358
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_52_14_
SuttonPark\Annuity Masters                    PM.xls                                              3613      10/9/2024 16:19
                                              79358
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_5
SuttonPark\Annuity Masters                    2_15_PM.xls                                      201032       10/9/2024 16:19
                                              79359
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_42_50_
SuttonPark\Annuity Masters                    PM.xls                                              2120      10/9/2024 16:18
                                              79359
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_4
SuttonPark\Annuity Masters                    2_52_PM.xls                                      128168       10/9/2024 16:19
                                              79360
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_39_26_
SuttonPark\Annuity Masters                    PM.xls                                              2126      10/9/2024 16:19
                                              79360
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_3
SuttonPark\Annuity Masters                    9_27_PM.xls                                      117421       10/9/2024 16:19
                                              79361
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_22_29_
SuttonPark\Annuity Masters                    PM.xls                                              2845      10/9/2024 16:19
                                              79361
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_2
SuttonPark\Annuity Masters                    2_30_PM.xls                                       90588       10/9/2024 16:19




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                                              79362
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_44_23_
SuttonPark\Annuity Masters                    PM.xls                                              2117      10/9/2024 16:18
                                              79362
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_4
SuttonPark\Annuity Masters                    4_24_PM.xls                                         9474      10/9/2024 16:19
                                              79363
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_23_27_
SuttonPark\Annuity Masters                    PM.xls                                              2126      10/9/2024 16:19
                                              79363
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_2
SuttonPark\Annuity Masters                    3_28_PM.xls                                      132771       10/9/2024 16:19
                                              79364
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_39_53_
SuttonPark\Annuity Masters                    PM.xls                                              2858      10/9/2024 16:19
                                              79364
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_3
SuttonPark\Annuity Masters                    9_54_PM.xls                                      185877       10/9/2024 16:19
                                              79365
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_50_26_
SuttonPark\Annuity Masters                    PM.xls                                              3222      10/9/2024 16:19
                                              79365
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_5
SuttonPark\Annuity Masters                    0_27_PM.xls                                      229267       10/9/2024 16:20
                                              79366
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_31_25_
SuttonPark\Annuity Masters                    AM.xls                                              2122      10/9/2024 16:18
                                              79366
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_3
SuttonPark\Annuity Masters                    1_26_AM.xls                                      148376       10/9/2024 16:19
                                              79367
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_31_58_
SuttonPark\Annuity Masters                    AM.xls                                              2131      10/9/2024 16:19
                                              79367
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_3
SuttonPark\Annuity Masters                    1_59_AM.xls                                      133916       10/9/2024 16:19
                                              79368
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_54_07_
SuttonPark\Annuity Masters                    PM.xls                                              2140      10/9/2024 16:19
                                              79368
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_5
SuttonPark\Annuity Masters                    4_09_PM.xls                                      136961       10/9/2024 16:19
                                              79369
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_13_44_
SuttonPark\Annuity Masters                    PM.xls                                              2110      10/9/2024 16:18
                                              79369
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_1
SuttonPark\Annuity Masters                    3_45_PM.xls                                         3690      10/9/2024 16:19




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                                              79374
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_28_28_
SuttonPark\Annuity Masters                    PM.xls                                              2124      10/9/2024 16:19
                                              79374
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_2
SuttonPark\Annuity Masters                    8_29_PM.xls                                      200653       10/9/2024 16:19
                                              79375
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_19_57_
SuttonPark\Annuity Masters                    PM.xls                                              2125      10/9/2024 16:19
                                              79375
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_1
SuttonPark\Annuity Masters                    9_58_PM.xls                                      211896       10/9/2024 16:19
                                              79377
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_14_09_
SuttonPark\Annuity Masters                    PM.xls                                              2500      10/9/2024 16:19
                                              79377
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_1
SuttonPark\Annuity Masters                    4_10_PM.xls                                      118613       10/9/2024 16:19
                                              79378
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_32_23_
SuttonPark\Annuity Masters                    AM.xls                                              2102      10/9/2024 16:17
                                              79378
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_3
SuttonPark\Annuity Masters                    2_24_AM.xls                                       18648       10/9/2024 16:19
                                              79382
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_07_34_
SuttonPark\Annuity Masters                    PM.xls                                              2853      10/9/2024 16:19
                                              79382
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_0
SuttonPark\Annuity Masters                    7_35_PM.xls                                       31588       10/9/2024 16:19
                                              79384
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_06_00_
SuttonPark\Annuity Masters                    PM.xls                                              2461      10/9/2024 16:19
                                              79384
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_0
SuttonPark\Annuity Masters                    6_01_PM.xls                                         3187      10/9/2024 16:19
                                              79389
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_43_01_
SuttonPark\Annuity Masters                    PM.xls                                              2463      10/9/2024 16:19
                                              79389
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_4
SuttonPark\Annuity Masters                    3_02_PM.xls                                         4499      10/9/2024 16:19
                                              79390
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_05_33_
SuttonPark\Annuity Masters                    PM.xls                                              2130      10/9/2024 16:19
                                              79390
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_0
SuttonPark\Annuity Masters                    5_35_PM.xls                                       18630       10/9/2024 16:19




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                                              79393
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_32_56_
SuttonPark\Annuity Masters                    AM.xls                                              2115      10/9/2024 16:18
                                              79393
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_3
SuttonPark\Annuity Masters                    2_58_AM.xls                                      203778       10/9/2024 16:19
                                              79395
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_20_24_
SuttonPark\Annuity Masters                    PM.xls                                              2493      10/9/2024 16:19
                                              79395
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_2
SuttonPark\Annuity Masters                    0_25_PM.xls                                      242065       10/9/2024 16:19
                                              79398
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_40_48_
SuttonPark\Annuity Masters                    PM.xls                                              2116      10/9/2024 16:18
                                              79398
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_4
SuttonPark\Annuity Masters                    0_49_PM.xls                                       47894       10/9/2024 16:19
                                              79410
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_44_12_
SuttonPark\Annuity Masters                    PM.xls                                              2126      10/9/2024 16:19
                                              79410
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_4
SuttonPark\Annuity Masters                    4_14_PM.xls                                      217641       10/9/2024 16:19
                                              79412
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_58_21_
SuttonPark\Annuity Masters                    PM.xls                                              2115      10/9/2024 16:18
                                              79412
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_5
SuttonPark\Annuity Masters                    8_22_PM.xls                                         5386      10/9/2024 16:19
                                              79415
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_06_27_
SuttonPark\Annuity Masters                    PM.xls                                              2112      10/9/2024 16:18
                                              79415
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_0
SuttonPark\Annuity Masters                    6_28_PM.xls                                         2565      10/9/2024 16:19
                                              79417
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_46_59_
SuttonPark\Annuity Masters                    PM.xls                                              2112      10/9/2024 16:18
                                              79417
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_4
SuttonPark\Annuity Masters                    7_00_PM.xls                                         2577      10/9/2024 16:19
                                              79418
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_27_05_
SuttonPark\Annuity Masters                    PM.xls                                              2108      10/9/2024 16:18
                                              79418
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_2
SuttonPark\Annuity Masters                    7_07_PM.xls                                         2028      10/9/2024 16:17




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                                              79419
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_24_00_
SuttonPark\Annuity Masters                    PM.xls                                              2134      10/9/2024 16:19
                                              79419
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_2
SuttonPark\Annuity Masters                    4_01_PM.xls                                      220987       10/9/2024 16:19
                                              79422
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_21_56_
SuttonPark\Annuity Masters                    PM.xls                                              2107      10/9/2024 16:18
                                              79422
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_2
SuttonPark\Annuity Masters                    1_57_PM.xls                                       24646       10/9/2024 16:19
                                              79423
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_52_41_
SuttonPark\Annuity Masters                    PM.xls                                              2119      10/9/2024 16:18
                                              79423
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_5
SuttonPark\Annuity Masters                    2_42_PM.xls                                       57435       10/9/2024 16:19
                                              79424
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_53_42_
SuttonPark\Annuity Masters                    PM.xls                                              2119      10/9/2024 16:18
                                              79424
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_5
SuttonPark\Annuity Masters                    3_43_PM.xls                                         2842      10/9/2024 16:19
                                              79425
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_36_35_
SuttonPark\Annuity Masters                    PM.xls                                              2130      10/9/2024 16:19
                                              79425
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_3
SuttonPark\Annuity Masters                    6_36_PM.xls                                      165075       10/9/2024 16:19
                                              79426
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_36_49_
SuttonPark\Annuity Masters                    PM.xls                                              2117      10/9/2024 16:18
                                              79426
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_3
SuttonPark\Annuity Masters                    6_50_PM.xls                                      223363       10/9/2024 16:20
                                              79427
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_37_25_
SuttonPark\Annuity Masters                    PM.xls                                              2106      10/9/2024 16:18
                                              79427
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_3
SuttonPark\Annuity Masters                    7_26_PM.xls                                         2859      10/9/2024 16:19
                                              79429
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_43_15_
SuttonPark\Annuity Masters                    PM.xls                                              2131      10/9/2024 16:19
                                              79429
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_4
SuttonPark\Annuity Masters                    3_16_PM.xls                                      133898       10/9/2024 16:19




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                                              79430
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_40_19_
SuttonPark\Annuity Masters                    PM.xls                                              2114      10/9/2024 16:18
                                              79430
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_4
SuttonPark\Annuity Masters                    0_20_PM.xls                                      223669       10/9/2024 16:20
                                              79431
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_33_53_
SuttonPark\Annuity Masters                    PM.xls                                              2130      10/9/2024 16:19
                                              79431
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_3
SuttonPark\Annuity Masters                    3_54_PM.xls                                         3979      10/9/2024 16:19
                                              79432
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_38_54_
SuttonPark\Annuity Masters                    PM.xls                                              2113      10/9/2024 16:18
                                              79432
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_3
SuttonPark\Annuity Masters                    8_55_PM.xls                                      212583       10/9/2024 16:19
                                              79433
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_51_22_
SuttonPark\Annuity Masters                    PM.xls                                              2138      10/9/2024 16:19
                                              79433
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_5
SuttonPark\Annuity Masters                    1_23_PM.xls                                      223520       10/9/2024 16:19
                                              79434
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_29_00_
SuttonPark\Annuity Masters                    PM.xls                                              2107      10/9/2024 16:18
                                              79434
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_3
SuttonPark\Annuity Masters                    2_17_PM.xls                                      153340       10/9/2024 16:19
                                              79435
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_21_19_
SuttonPark\Annuity Masters                    PM.xls                                              2117      10/9/2024 16:18
                                              79435
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_2
SuttonPark\Annuity Masters                    1_20_PM.xls                                      263239       10/9/2024 16:20
                                              79436
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_24_52_
SuttonPark\Annuity Masters                    PM.xls                                              2480      10/9/2024 16:19
                                              79436
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_2
SuttonPark\Annuity Masters                    4_54_PM.xls                                       17768       10/9/2024 16:19
                                              79437
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_51_48_
SuttonPark\Annuity Masters                    PM.xls                                              2142      10/9/2024 16:19
                                              79437
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_5
SuttonPark\Annuity Masters                    1_50_PM.xls                                      221103       10/9/2024 16:19




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                                              79438
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_47_28_
SuttonPark\Annuity Masters                    PM.xls                                              2839      10/9/2024 16:19
                                              79438
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_4
SuttonPark\Annuity Masters                    7_28_PM.xls                                         3898      10/9/2024 16:19
                                              79439
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_54_34_
SuttonPark\Annuity Masters                    PM.xls                                              2123      10/9/2024 16:18
                                              79439
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_5
SuttonPark\Annuity Masters                    4_35_PM.xls                                      165799       10/9/2024 16:19
                                              79441
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_32_47_
SuttonPark\Annuity Masters                    PM.xls                                              2132      10/9/2024 16:19
                                              79441
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_3
SuttonPark\Annuity Masters                    2_49_PM.xls                                      168684       10/9/2024 16:19
                                              79442
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_29_30_
SuttonPark\Annuity Masters                    PM.xls                                              2872      10/9/2024 16:19
                                              79442
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_2
SuttonPark\Annuity Masters                    9_33_PM.xls                                      347559       10/9/2024 16:20
                                              79443
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_44_50_
SuttonPark\Annuity Masters                    PM.xls                                              2127      10/9/2024 16:19
                                              79443
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_4
SuttonPark\Annuity Masters                    4_51_PM.xls                                       54247       10/9/2024 16:19
                                              79444
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_20_45_
SuttonPark\Annuity Masters                    PM.xls                                              2110      10/9/2024 16:18
                                              79444
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_2
SuttonPark\Annuity Masters                    0_46_PM.xls                                       50912       10/9/2024 16:19
                                              79445
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_47_54_
SuttonPark\Annuity Masters                    PM.xls                                              2112      10/9/2024 16:18
                                              79445
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_4
SuttonPark\Annuity Masters                    7_55_PM.xls                                       69124       10/9/2024 16:19
                                              79446
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_35_12_
SuttonPark\Annuity Masters                    PM.xls                                              2128      10/9/2024 16:19
                                              79446
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_3
SuttonPark\Annuity Masters                    5_13_PM.xls                                       26638       10/9/2024 16:19




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                                              79447
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_26_06_
SuttonPark\Annuity Masters                    PM.xls                                              2115      10/9/2024 16:18
                                              79447
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_2
SuttonPark\Annuity Masters                    6_07_PM.xls                                      273401       10/9/2024 16:20
                                              79520
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_42_29_
SuttonPark\Annuity Masters                    PM.xls                                              2104      10/9/2024 16:17
                                              79520
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_4
SuttonPark\Annuity Masters                    2_30_PM.xls                                       45154       10/9/2024 16:19
                                              79521
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_11_25_
SuttonPark\Annuity Masters                    PM.xls                                              2493      10/9/2024 16:19
                                              79521
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_1
SuttonPark\Annuity Masters                    1_26_PM.xls                                      101833       10/9/2024 16:19
                                              79526
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_40_14_
SuttonPark\Annuity Masters                    PM.xls                                              3578      10/9/2024 16:19
                                              79526
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_4
SuttonPark\Annuity Masters                    0_15_PM.xls                                      293967       10/9/2024 16:20
                                              79539
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_38_54_
SuttonPark\Annuity Masters                    PM.xls                                              3559      10/9/2024 16:19
                                              79539
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_3
SuttonPark\Annuity Masters                    8_56_PM.xls                                      378994       10/9/2024 16:20
                                              79563
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_14_36_
SuttonPark\Annuity Masters                    PM.xls                                              2119      10/9/2024 16:18
                                              79563
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_1
SuttonPark\Annuity Masters                    4_37_PM.xls                                      223399       10/9/2024 16:19
                                              79565
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_44_56_
SuttonPark\Annuity Masters                    PM.xls                                              2850      10/9/2024 16:19
                                              79565
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_4
SuttonPark\Annuity Masters                    4_58_PM.xls                                      236416       10/9/2024 16:19
                                              79568
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_33_41_
SuttonPark\Annuity Masters                    AM.xls                                              1781      10/9/2024 16:17
                                              79568
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_3
SuttonPark\Annuity Masters                    3_42_AM.xls                                       28048       10/9/2024 16:19




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                                              79571
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_55_46_
SuttonPark\Annuity Masters                    PM.xls                                              2880      10/9/2024 16:19
                                              79571
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_5
SuttonPark\Annuity Masters                    5_47_PM.xls                                       45547       10/9/2024 16:19
                                              79572
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_56_14_
SuttonPark\Annuity Masters                    PM.xls                                              2496      10/9/2024 16:19
                                              79572
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_5
SuttonPark\Annuity Masters                    6_16_PM.xls                                       59696       10/9/2024 16:19
                                              79574
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_34_07_
SuttonPark\Annuity Masters                    AM.xls                                              1768      10/9/2024 16:17
                                              79574
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_3
SuttonPark\Annuity Masters                    4_08_AM.xls                                       70042       10/9/2024 16:19
                                              79593
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_34_30_
SuttonPark\Annuity Masters                    AM.xls                                              3224      10/9/2024 16:19
                                              79593
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_3
SuttonPark\Annuity Masters                    4_31_AM.xls                                       68627       10/9/2024 16:19
                                              79603
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_50_00_
SuttonPark\Annuity Masters                    PM.xls                                              2113      10/9/2024 16:18
                                              79603
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_5
SuttonPark\Annuity Masters                    0_01_PM.xls                                         1739      10/9/2024 16:17
                                              79604
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_35_00_
SuttonPark\Annuity Masters                    AM.xls                                              1773      10/9/2024 16:17
                                              79604
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_3
SuttonPark\Annuity Masters                    5_03_AM.xls                                       10642       10/9/2024 16:19
                                              79606
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_35_29_
SuttonPark\Annuity Masters                    AM.xls                                              2855      10/9/2024 16:19
                                              79606
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_3
SuttonPark\Annuity Masters                    5_30_AM.xls                                      355253       10/9/2024 16:20
                                              79628
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_35_53_
SuttonPark\Annuity Masters                    AM.xls                                              5160      10/9/2024 16:19
                                              79628
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_3
SuttonPark\Annuity Masters                    5_55_AM.xls                                      480215       10/9/2024 16:20




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                                              79644
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_50_41_
SuttonPark\Annuity Masters                    PM.xls                                              2499      10/9/2024 16:19
                                              79644
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_5
SuttonPark\Annuity Masters                    0_42_PM.xls                                         2861      10/9/2024 16:19
                                              79733
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_36_15_
SuttonPark\Annuity Masters                    AM.xls                                              2472      10/9/2024 16:19
                                              79733
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_3
SuttonPark\Annuity Masters                    6_16_AM.xls                                      129138       10/9/2024 16:19
                                              79746
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_36_36_
SuttonPark\Annuity Masters                    AM.xls                                              2847      10/9/2024 16:19
                                              79746
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_3
SuttonPark\Annuity Masters                    6_37_AM.xls                                      302305       10/9/2024 16:20
                                              79776
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_37_16_
SuttonPark\Annuity Masters                    AM.xls                                              4342      10/9/2024 16:19
                                              79780
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_37_40_
SuttonPark\Annuity Masters                    AM.xls                                              1763      10/9/2024 16:17
                                              79780
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_3
SuttonPark\Annuity Masters                    7_41_AM.xls                                      114199       10/9/2024 16:19
                                              79792
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_21_16_
SuttonPark\Annuity Masters                    PM.xls                                              3227      10/9/2024 16:19
                                              79792
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_2
SuttonPark\Annuity Masters                    1_17_PM.xls                                      228431       10/9/2024 16:19
                                              79794
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_38_09_
SuttonPark\Annuity Masters                    AM.xls                                              2109      10/9/2024 16:18
                                              79794
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_3
SuttonPark\Annuity Masters                    8_10_AM.xls                                       14988       10/9/2024 16:19
                                              79796
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_08_30_
SuttonPark\Annuity Masters                    PM.xls                                              2832      10/9/2024 16:19
                                              79796
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_0
SuttonPark\Annuity Masters                    8_31_PM.xls                                       11784       10/9/2024 16:19
                                              79800
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_38_31_
SuttonPark\Annuity Masters                    AM.xls                                              2861      10/9/2024 16:19




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                                              79800
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_3
SuttonPark\Annuity Masters                    8_32_AM.xls                                       68327       10/9/2024 16:19
                                              79801
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_38_53_
SuttonPark\Annuity Masters                    AM.xls                                              3928      10/9/2024 16:19
                                              79801
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_3
SuttonPark\Annuity Masters                    8_55_AM.xls                                      453143       10/9/2024 16:20
                                              79802
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_10_58_
SuttonPark\Annuity Masters                    PM.xls                                              2120      10/9/2024 16:18
                                              79802
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_1
SuttonPark\Annuity Masters                    0_59_PM.xls                                         2015      10/9/2024 16:17
                                              79831
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_08_04_
SuttonPark\Annuity Masters                    PM.xls                                              2493      10/9/2024 16:19
                                              79831
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_0
SuttonPark\Annuity Masters                    8_05_PM.xls                                         4799      10/9/2024 16:19
                                              79836
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_10_32_
SuttonPark\Annuity Masters                    PM.xls                                              1770      10/9/2024 16:17
                                              79836
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_1
SuttonPark\Annuity Masters                    0_33_PM.xls                                         1934      10/9/2024 16:17
                                              79841
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_39_17_
SuttonPark\Annuity Masters                    AM.xls                                              3232      10/9/2024 16:19
                                              79841
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_3
SuttonPark\Annuity Masters                    9_18_AM.xls                                       46261       10/9/2024 16:19
                                              79845
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_39_43_
SuttonPark\Annuity Masters                    AM.xls                                              2485      10/9/2024 16:19
                                              79845
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_3
SuttonPark\Annuity Masters                    9_44_AM.xls                                       59674       10/9/2024 16:19
                                              79912
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_09_26_
SuttonPark\Annuity Masters                    PM.xls                                              3193      10/9/2024 16:19
                                              79912
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_0
SuttonPark\Annuity Masters                    9_28_PM.xls                                       51871       10/9/2024 16:19
                                              79917
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_40_09_
SuttonPark\Annuity Masters                    AM.xls                                              2119      10/9/2024 16:18




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                                              79917
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_4
SuttonPark\Annuity Masters                    0_09_AM.xls                                      100776       10/9/2024 16:19
                                              79924
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_24_33_
SuttonPark\Annuity Masters                    PM.xls                                              2491      10/9/2024 16:19
                                              79924
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_2
SuttonPark\Annuity Masters                    4_34_PM.xls                                       80361       10/9/2024 16:19
                                              79942
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_08_58_
SuttonPark\Annuity Masters                    PM.xls                                              2847      10/9/2024 16:19
                                              79942
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_0
SuttonPark\Annuity Masters                    9_00_PM.xls                                       51541       10/9/2024 16:19
                                              79943
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_10_06_
SuttonPark\Annuity Masters                    PM.xls                                              3202      10/9/2024 16:19
                                              79943
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_1
SuttonPark\Annuity Masters                    0_06_PM.xls                                       60733       10/9/2024 16:19
                                              80236
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_41_21_
SuttonPark\Annuity Masters                    AM.xls                                              2148      10/9/2024 16:19
                                              80236
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_4
SuttonPark\Annuity Masters                    1_22_AM.xls                                       89736       10/9/2024 16:19
                                              80248
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_41_44_
SuttonPark\Annuity Masters                    AM.xls                                              2126      10/9/2024 16:19
                                              80248
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_4
SuttonPark\Annuity Masters                    1_45_AM.xls                                       22470       10/9/2024 16:19
                                              80251
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_42_08_
SuttonPark\Annuity Masters                    AM.xls                                              2148      10/9/2024 16:19
                                              80251
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_4
SuttonPark\Annuity Masters                    2_10_AM.xls                                       89736       10/9/2024 16:19
                                              80267
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_42_31_
SuttonPark\Annuity Masters                    AM.xls                                              1755      10/9/2024 16:17
                                              80267
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_4
SuttonPark\Annuity Masters                    2_32_AM.xls                                         1540      10/9/2024 16:17
                                              80285
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_42_54_
SuttonPark\Annuity Masters                    AM.xls                                              3204      10/9/2024 16:19




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                                              80285
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_4
SuttonPark\Annuity Masters                    2_56_AM.xls                                       73177       10/9/2024 16:19
                                              80382
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_43_57_
SuttonPark\Annuity Masters                    AM.xls                                              3213      10/9/2024 16:19
                                              80382
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_4
SuttonPark\Annuity Masters                    3_58_AM.xls                                       80107       10/9/2024 16:19
                                              80389
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_16_38_
SuttonPark\Annuity Masters                    PM.xls                                              1770      10/9/2024 16:17
                                              80389
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_1
SuttonPark\Annuity Masters                    6_40_PM.xls                                       60809       10/9/2024 16:19
                                              80486
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_44_20_
SuttonPark\Annuity Masters                    AM.xls                                              3621      10/9/2024 16:19
                                              80486
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_4
SuttonPark\Annuity Masters                    4_21_AM.xls                                         3238      10/9/2024 16:19
                                              80492
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_20_50_
SuttonPark\Annuity Masters                    PM.xls                                              2837      10/9/2024 16:19
                                              80492
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_2
SuttonPark\Annuity Masters                    0_51_PM.xls                                         3128      10/9/2024 16:19
                                              80568
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_21_48_
SuttonPark\Annuity Masters                    PM.xls                                              1776      10/9/2024 16:17
                                              80568
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_2
SuttonPark\Annuity Masters                    1_49_PM.xls                                         1340      10/9/2024 16:17
                                              81335
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_22_35_
SuttonPark\Annuity Masters                    PM.xls                                              1787      10/9/2024 16:17
                                              81335
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_2
SuttonPark\Annuity Masters                    2_36_PM.xls                                         3491      10/9/2024 16:19
                                              81374
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_22_12_
SuttonPark\Annuity Masters                    PM.xls                                              2494      10/9/2024 16:19
                                              81374
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_2
SuttonPark\Annuity Masters                    2_13_PM.xls                                       73977       10/9/2024 16:19
                                              81394
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_23_24_
SuttonPark\Annuity Masters                    PM.xls                                              2485      10/9/2024 16:19




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                                              81394
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_2
SuttonPark\Annuity Masters                    3_25_PM.xls                                         7733      10/9/2024 16:19
                                              81412
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_23_00_
SuttonPark\Annuity Masters                    PM.xls                                              2493      10/9/2024 16:19
                                              81412
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_2
SuttonPark\Annuity Masters                    3_01_PM.xls                                         4799      10/9/2024 16:19
                                              81413
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_19_09_
SuttonPark\Annuity Masters                    PM.xls                                              1781      10/9/2024 16:17
                                              81413
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_1
SuttonPark\Annuity Masters                    9_10_PM.xls                                         1343      10/9/2024 16:17
                                              81415
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_23_46_
SuttonPark\Annuity Masters                    PM.xls                                              2489      10/9/2024 16:19
                                              81415
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_2
SuttonPark\Annuity Masters                    3_48_PM.xls                                       39737       10/9/2024 16:19
                                              81443
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_24_09_
SuttonPark\Annuity Masters                    PM.xls                                              2880      10/9/2024 16:19
                                              81443
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_2
SuttonPark\Annuity Masters                    4_11_PM.xls                                       45547       10/9/2024 16:19
                                              81468
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_19_33_
SuttonPark\Annuity Masters                    PM.xls                                              1789      10/9/2024 16:17
                                              81468
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_1
SuttonPark\Annuity Masters                    9_34_PM.xls                                       24929       10/9/2024 16:19
                                              81550
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_44_44_
SuttonPark\Annuity Masters                    AM.xls                                              4722      10/9/2024 16:19
                                              81550
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_4
SuttonPark\Annuity Masters                    4_45_AM.xls                                      224176       10/9/2024 16:19
                                              81551
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_45_10_
SuttonPark\Annuity Masters                    AM.xls                                              2116      10/9/2024 16:18
                                              81551
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_4
SuttonPark\Annuity Masters                    5_11_AM.xls                                      220953       10/9/2024 16:19
                                              81552
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_45_33_
SuttonPark\Annuity Masters                    AM.xls                                              2111      10/9/2024 16:18




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                                              81552
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_4
SuttonPark\Annuity Masters                    5_34_AM.xls                                      220941       10/9/2024 16:19
                                              81554
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_45_59_
SuttonPark\Annuity Masters                    AM.xls                                              2485      10/9/2024 16:19
                                              81554
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_4
SuttonPark\Annuity Masters                    6_01_AM.xls                                      254027       10/9/2024 16:20
                                              81555
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_46_25_
SuttonPark\Annuity Masters                    AM.xls                                              1774      10/9/2024 16:17
                                              81555
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_4
SuttonPark\Annuity Masters                    7_10_AM.xls                                       20746       10/9/2024 16:19
                                              81556
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_46_48_
SuttonPark\Annuity Masters                    AM.xls                                              1773      10/9/2024 16:17
                                              81556
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_4
SuttonPark\Annuity Masters                    6_50_AM.xls                                       46084       10/9/2024 16:19
                                              81557
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_47_38_
SuttonPark\Annuity Masters                    AM.xls                                              2482      10/9/2024 16:19
                                              81557
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_4
SuttonPark\Annuity Masters                    7_39_AM.xls                                      233636       10/9/2024 16:19
                                              81558
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_48_03_
SuttonPark\Annuity Masters                    AM.xls                                              2843      10/9/2024 16:19
                                              81558
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_4
SuttonPark\Annuity Masters                    8_04_AM.xls                                      185858       10/9/2024 16:19
                                              81559
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_48_25_
SuttonPark\Annuity Masters                    AM.xls                                              1773      10/9/2024 16:17
                                              81559
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_4
SuttonPark\Annuity Masters                    8_26_AM.xls                                       47938       10/9/2024 16:19
                                              81560
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_48_48_
SuttonPark\Annuity Masters                    AM.xls                                              1779      10/9/2024 16:17
                                              81560
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_4
SuttonPark\Annuity Masters                    8_52_AM.xls                                       36238       10/9/2024 16:19
                                              81562
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_49_13_
SuttonPark\Annuity Masters                    AM.xls                                              1778      10/9/2024 16:17




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                                              81562
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_4
SuttonPark\Annuity Masters                    9_14_AM.xls                                       31558       10/9/2024 16:19
                                              81563
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_49_35_
SuttonPark\Annuity Masters                    AM.xls                                              2118      10/9/2024 16:18
                                              81563
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_4
SuttonPark\Annuity Masters                    9_36_AM.xls                                      119385       10/9/2024 16:19
                                              81564
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_49_57_
SuttonPark\Annuity Masters                    AM.xls                                              1778      10/9/2024 16:17
                                              81564
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_4
SuttonPark\Annuity Masters                    9_58_AM.xls                                       47938       10/9/2024 16:19
                                              81565
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_50_22_
SuttonPark\Annuity Masters                    AM.xls                                              2836      10/9/2024 16:19
                                              81565
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_5
SuttonPark\Annuity Masters                    0_23_AM.xls                                      295990       10/9/2024 16:20
                                              81566
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_51_51_
SuttonPark\Annuity Masters                    AM.xls                                              1766      10/9/2024 16:17
                                              81566
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_5
SuttonPark\Annuity Masters                    1_52_AM.xls                                       24538       10/9/2024 16:19
                                              81567
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_52_13_
SuttonPark\Annuity Masters                    AM.xls                                              2120      10/9/2024 16:18
                                              81567
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_5
SuttonPark\Annuity Masters                    2_14_AM.xls                                      221136       10/9/2024 16:20
                                              81568
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_52_52_
SuttonPark\Annuity Masters                    AM.xls                                              2126      10/9/2024 16:19
                                              81568
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_5
SuttonPark\Annuity Masters                    2_53_AM.xls                                      155670       10/9/2024 16:19
                                              81571
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_53_22_
SuttonPark\Annuity Masters                    AM.xls                                              2472      10/9/2024 16:19
                                              81571
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_5
SuttonPark\Annuity Masters                    3_24_AM.xls                                      220778       10/9/2024 16:19
                                              81573
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_53_45_
SuttonPark\Annuity Masters                    AM.xls                                              2122      10/9/2024 16:18




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                                              81573
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_5
SuttonPark\Annuity Masters                    3_46_AM.xls                                         2313      10/9/2024 16:19
                                              81574
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_54_08_
SuttonPark\Annuity Masters                    AM.xls                                              2526      10/9/2024 16:19
                                              81574
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_5
SuttonPark\Annuity Masters                    4_09_AM.xls                                      138780       10/9/2024 16:19
                                              81575
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_54_29_
SuttonPark\Annuity Masters                    AM.xls                                              2110      10/9/2024 16:18
                                              81575
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_5
SuttonPark\Annuity Masters                    4_30_AM.xls                                      186768       10/9/2024 16:19
                                              81577
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_56_56_
SuttonPark\Annuity Masters                    AM.xls                                              3555      10/9/2024 16:19
                                              81577
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_5
SuttonPark\Annuity Masters                    6_57_AM.xls                                      234566       10/9/2024 16:19
                                              81578
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_57_18_
SuttonPark\Annuity Masters                    AM.xls                                              2126      10/9/2024 16:19
                                              81578
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_5
SuttonPark\Annuity Masters                    7_19_AM.xls                                      178353       10/9/2024 16:19
                                              81581
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_57_38_
SuttonPark\Annuity Masters                    AM.xls                                              2117      10/9/2024 16:18
                                              81581
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_5
SuttonPark\Annuity Masters                    7_39_AM.xls                                      220941       10/9/2024 16:19
                                              81583
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_57_58_
SuttonPark\Annuity Masters                    AM.xls                                              2842      10/9/2024 16:19
                                              81583
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_5
SuttonPark\Annuity Masters                    7_59_AM.xls                                      271360       10/9/2024 16:20
                                              81585
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_58_18_
SuttonPark\Annuity Masters                    AM.xls                                              2128      10/9/2024 16:19
                                              81585
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_5
SuttonPark\Annuity Masters                    8_19_AM.xls                                      223427       10/9/2024 16:20
                                              81587
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_58_37_
SuttonPark\Annuity Masters                    AM.xls                                              2137      10/9/2024 16:19




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                                              81587
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_5
SuttonPark\Annuity Masters                    8_38_AM.xls                                      220961       10/9/2024 16:19
                                              81588
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_58_57_
SuttonPark\Annuity Masters                    AM.xls                                              2124      10/9/2024 16:19
                                              81588
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_5
SuttonPark\Annuity Masters                    8_58_AM.xls                                      156966       10/9/2024 16:19
                                              81589
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_59_16_
SuttonPark\Annuity Masters                    AM.xls                                              2130      10/9/2024 16:19
                                              81589
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_5
SuttonPark\Annuity Masters                    9_17_AM.xls                                      142317       10/9/2024 16:19
                                              81591
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_59_36_
SuttonPark\Annuity Masters                    AM.xls                                              3199      10/9/2024 16:19
                                              81591
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_5
SuttonPark\Annuity Masters                    9_38_AM.xls                                      213914       10/9/2024 16:19
                                              81592
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_59_56_
SuttonPark\Annuity Masters                    AM.xls                                              2847      10/9/2024 16:19
                                              81592
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_5
SuttonPark\Annuity Masters                    9_58_AM.xls                                      110422       10/9/2024 16:19
                                              81593
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_00_17_
SuttonPark\Annuity Masters                    PM.xls                                              2118      10/9/2024 16:18
                                              81593
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_0
SuttonPark\Annuity Masters                    0_18_PM.xls                                      220941       10/9/2024 16:20
                                              81594
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_00_37_
SuttonPark\Annuity Masters                    PM.xls                                              2124      10/9/2024 16:19
                                              81594
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_0
SuttonPark\Annuity Masters                    0_38_PM.xls                                      224172       10/9/2024 16:20
                                              81596
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_00_56_
SuttonPark\Annuity Masters                    PM.xls                                              2120      10/9/2024 16:18
                                              81596
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_0
SuttonPark\Annuity Masters                    0_57_PM.xls                                      221922       10/9/2024 16:19
                                              81599
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_01_16_
SuttonPark\Annuity Masters                    PM.xls                                              2125      10/9/2024 16:19




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                                              81599
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_0
SuttonPark\Annuity Masters                    1_17_PM.xls                                      211404       10/9/2024 16:19
                                              81600
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_01_38_
SuttonPark\Annuity Masters                    PM.xls                                              2490      10/9/2024 16:19
                                              81600
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_0
SuttonPark\Annuity Masters                    1_39_PM.xls                                      262218       10/9/2024 16:20
                                              81601
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_02_47_
SuttonPark\Annuity Masters                    PM.xls                                              2130      10/9/2024 16:19
                                              81601
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_0
SuttonPark\Annuity Masters                    2_46_PM.xls                                      214267       10/9/2024 16:19
                                              81602
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_03_09_
SuttonPark\Annuity Masters                    PM.xls                                              2123      10/9/2024 16:18
                                              81602
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_0
SuttonPark\Annuity Masters                    3_10_PM.xls                                      197331       10/9/2024 16:19
                                              81603
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_03_33_
SuttonPark\Annuity Masters                    PM.xls                                              2123      10/9/2024 16:18
                                              81603
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_0
SuttonPark\Annuity Masters                    3_34_PM.xls                                      211131       10/9/2024 16:19
                                              81606
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_04_04_
SuttonPark\Annuity Masters                    PM.xls                                              2118      10/9/2024 16:18
                                              81606
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_0
SuttonPark\Annuity Masters                    4_05_PM.xls                                      216873       10/9/2024 16:19
                                              81607
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_04_26_
SuttonPark\Annuity Masters                    PM.xls                                              2123      10/9/2024 16:18
                                              81607
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_0
SuttonPark\Annuity Masters                    4_27_PM.xls                                      152991       10/9/2024 16:19
                                              81608
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_04_52_
SuttonPark\Annuity Masters                    PM.xls                                              2130      10/9/2024 16:19
                                              81608
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_0
SuttonPark\Annuity Masters                    4_53_PM.xls                                       51252       10/9/2024 16:19
                                              81609
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_05_13_
SuttonPark\Annuity Masters                    PM.xls                                              2123      10/9/2024 16:18




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                                              81609
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_0
SuttonPark\Annuity Masters                    5_14_PM.xls                                      150948       10/9/2024 16:19
                                              81610
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_08_07_
SuttonPark\Annuity Masters                    PM.xls                                              2136      10/9/2024 16:19
                                              81610
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_0
SuttonPark\Annuity Masters                    8_08_PM.xls                                      208953       10/9/2024 16:19
                                              81616
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_11_10_
SuttonPark\Annuity Masters                    PM.xls                                              3960      10/9/2024 16:19
                                              81616
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_1
SuttonPark\Annuity Masters                    1_11_PM.xls                                      417218       10/9/2024 16:20
                                              81617
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_11_32_
SuttonPark\Annuity Masters                    PM.xls                                              3191      10/9/2024 16:19
                                              81617
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_1
SuttonPark\Annuity Masters                    1_35_PM.xls                                      319276       10/9/2024 16:20
                                              81618
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_11_57_
SuttonPark\Annuity Masters                    PM.xls                                              2485      10/9/2024 16:19
                                              81618
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_1
SuttonPark\Annuity Masters                    1_58_PM.xls                                      219695       10/9/2024 16:19
                                              81622
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_12_18_
SuttonPark\Annuity Masters                    PM.xls                                              2474      10/9/2024 16:19
                                              81622
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_1
SuttonPark\Annuity Masters                    2_19_PM.xls                                      244211       10/9/2024 16:19
                                              81623
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_12_42_
SuttonPark\Annuity Masters                    PM.xls                                              2127      10/9/2024 16:19
                                              81623
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_1
SuttonPark\Annuity Masters                    2_43_PM.xls                                      137088       10/9/2024 16:19
                                              81624
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_13_15_
SuttonPark\Annuity Masters                    PM.xls                                              2126      10/9/2024 16:19
                                              81624
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_1
SuttonPark\Annuity Masters                    3_16_PM.xls                                      150198       10/9/2024 16:19
                                              81625
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_13_36_
SuttonPark\Annuity Masters                    PM.xls                                              2125      10/9/2024 16:19




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                                              81625
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_1
SuttonPark\Annuity Masters                    3_37_PM.xls                                      222228       10/9/2024 16:19
                                              81626
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_13_56_
SuttonPark\Annuity Masters                    PM.xls                                              2125      10/9/2024 16:19
                                              81626
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_1
SuttonPark\Annuity Masters                    3_58_PM.xls                                      222231       10/9/2024 16:19
                                              81629
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_14_18_
SuttonPark\Annuity Masters                    PM.xls                                              2133      10/9/2024 16:19
                                              81629
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_1
SuttonPark\Annuity Masters                    4_19_PM.xls                                       58678       10/9/2024 16:19
                                              81630
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_14_55_
SuttonPark\Annuity Masters                    PM.xls                                              2834      10/9/2024 16:19
                                              81630
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_1
SuttonPark\Annuity Masters                    4_56_PM.xls                                      287716       10/9/2024 16:20
                                              81631
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_15_16_
SuttonPark\Annuity Masters                    PM.xls                                              2121      10/9/2024 16:18
                                              81631
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_1
SuttonPark\Annuity Masters                    5_18_PM.xls                                      208425       10/9/2024 16:19
                                              81632
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_15_37_
SuttonPark\Annuity Masters                    PM.xls                                              3917      10/9/2024 16:19
                                              81632
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_1
SuttonPark\Annuity Masters                    5_38_PM.xls                                      414874       10/9/2024 16:20
                                              81635
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_15_57_
SuttonPark\Annuity Masters                    PM.xls                                              2113      10/9/2024 16:18
                                              81635
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_1
SuttonPark\Annuity Masters                    5_58_PM.xls                                      215106       10/9/2024 16:19
                                              81638
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_16_18_
SuttonPark\Annuity Masters                    PM.xls                                              2115      10/9/2024 16:18
                                              81638
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_1
SuttonPark\Annuity Masters                    6_19_PM.xls                                      223776       10/9/2024 16:20
                                              81639
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_16_38_
SuttonPark\Annuity Masters                    PM.xls                                              2119      10/9/2024 16:18




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                                              81639
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_1
SuttonPark\Annuity Masters                    6_39_PM.xls                                      236019       10/9/2024 16:19
                                              81640
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_17_00_
SuttonPark\Annuity Masters                    PM.xls                                              1780      10/9/2024 16:17
                                              81640
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_1
SuttonPark\Annuity Masters                    7_01_PM.xls                                       40738       10/9/2024 16:19
                                              81641
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_17_23_
SuttonPark\Annuity Masters                    PM.xls                                              1773      10/9/2024 16:17
                                              81641
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_1
SuttonPark\Annuity Masters                    7_24_PM.xls                                       40738       10/9/2024 16:19
                                              81642
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_17_45_
SuttonPark\Annuity Masters                    PM.xls                                              2490      10/9/2024 16:19
                                              81642
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_1
SuttonPark\Annuity Masters                    7_46_PM.xls                                      227063       10/9/2024 16:19
                                              81644
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_18_05_
SuttonPark\Annuity Masters                    PM.xls                                              1771      10/9/2024 16:17
                                              81644
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_1
SuttonPark\Annuity Masters                    8_06_PM.xls                                       36238       10/9/2024 16:19
                                              81645
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_18_25_
SuttonPark\Annuity Masters                    PM.xls                                              2845      10/9/2024 16:19
                                              81645
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_1
SuttonPark\Annuity Masters                    8_26_PM.xls                                      287597       10/9/2024 16:20
                                              81646
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_19_00_
SuttonPark\Annuity Masters                    PM.xls                                              1768      10/9/2024 16:17
                                              81646
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_1
SuttonPark\Annuity Masters                    9_01_PM.xls                                       12622       10/9/2024 16:19
                                              81647
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_19_39_
SuttonPark\Annuity Masters                    PM.xls                                              2125      10/9/2024 16:19
                                              81647
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_1
SuttonPark\Annuity Masters                    9_40_PM.xls                                      195816       10/9/2024 16:19
                                              81648
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_20_12_
SuttonPark\Annuity Masters                    PM.xls                                              1769      10/9/2024 16:17




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                                              81648
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_2
SuttonPark\Annuity Masters                    0_13_PM.xls                                       48514       10/9/2024 16:19
                                              81652
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_20_45_
SuttonPark\Annuity Masters                    PM.xls                                              1771      10/9/2024 16:17
                                              81652
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_2
SuttonPark\Annuity Masters                    0_47_PM.xls                                       60808       10/9/2024 16:19
                                              81653
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_21_22_
SuttonPark\Annuity Masters                    PM.xls                                              2487      10/9/2024 16:19
                                              81653
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_2
SuttonPark\Annuity Masters                    1_23_PM.xls                                      262322       10/9/2024 16:20
                                              81654
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_21_58_
SuttonPark\Annuity Masters                    PM.xls                                              2132      10/9/2024 16:19
                                              81654
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_2
SuttonPark\Annuity Masters                    1_59_PM.xls                                      223596       10/9/2024 16:20
                                              81655
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_22_35_
SuttonPark\Annuity Masters                    PM.xls                                              1773      10/9/2024 16:17
                                              81655
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_2
SuttonPark\Annuity Masters                    2_36_PM.xls                                       48658       10/9/2024 16:19
                                              81656
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_23_08_
SuttonPark\Annuity Masters                    PM.xls                                              2126      10/9/2024 16:19
                                              81656
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_2
SuttonPark\Annuity Masters                    3_11_PM.xls                                      220941       10/9/2024 16:20
                                              81659
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_51_26_
SuttonPark\Annuity Masters                    PM.xls                                              2127      10/9/2024 16:19
                                              81659
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_5
SuttonPark\Annuity Masters                    1_27_PM.xls                                      156084       10/9/2024 16:19
                                              81660
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_52_21_
SuttonPark\Annuity Masters                    PM.xls                                              3567      10/9/2024 16:19
                                              81660
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_5
SuttonPark\Annuity Masters                    2_21_PM.xls                                      385148       10/9/2024 16:20
                                              81661
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_54_56_
SuttonPark\Annuity Masters                    PM.xls                                              2126      10/9/2024 16:19




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                                              81661
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_5
SuttonPark\Annuity Masters                    4_57_PM.xls                                      222991       10/9/2024 16:20
                                              81662
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_55_29_
SuttonPark\Annuity Masters                    PM.xls                                              2507      10/9/2024 16:19
                                              81662
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_5
SuttonPark\Annuity Masters                    5_30_PM.xls                                      247441       10/9/2024 16:19
                                              81663
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_56_05_
SuttonPark\Annuity Masters                    PM.xls                                              2128      10/9/2024 16:19
                                              81663
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_5
SuttonPark\Annuity Masters                    6_08_PM.xls                                      135164       10/9/2024 16:19
                                              81664
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_56_36_
SuttonPark\Annuity Masters                    PM.xls                                              3208      10/9/2024 16:19
                                              81664
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_5
SuttonPark\Annuity Masters                    6_37_PM.xls                                      320553       10/9/2024 16:20
                                              81665
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_57_24_
SuttonPark\Annuity Masters                    PM.xls                                              2138      10/9/2024 16:19
                                              81665
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_5
SuttonPark\Annuity Masters                    7_25_PM.xls                                      221133       10/9/2024 16:19
                                              81666
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_58_10_
SuttonPark\Annuity Masters                    PM.xls                                              5752      10/9/2024 16:19
                                              81666
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_5
SuttonPark\Annuity Masters                    8_12_PM.xls                                      716301       10/9/2024 16:20
                                              81667
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_12_59_12_
SuttonPark\Annuity Masters                    PM.xls                                              2489      10/9/2024 16:19
                                              81667
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_12_5
SuttonPark\Annuity Masters                    9_13_PM.xls                                      107633       10/9/2024 16:19
                                              81668
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_02_10_P
SuttonPark\Annuity Masters                    M.xls                                               1772      10/9/2024 16:17
                                              81668
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_02
SuttonPark\Annuity Masters                    _11_PM.xls                                        39118       10/9/2024 16:19
                                              81669
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_02_44_P
SuttonPark\Annuity Masters                    M.xls                                               5051      10/9/2024 16:19




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                                              81669
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_02
SuttonPark\Annuity Masters                    _47_PM.xls                                       534208       10/9/2024 16:20
                                              81671
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_03_27_P
SuttonPark\Annuity Masters                    M.xls                                               2854      10/9/2024 16:19
                                              81671
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_03
SuttonPark\Annuity Masters                    _30_PM.xls                                       265809       10/9/2024 16:20
                                              81672
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_04_05_P
SuttonPark\Annuity Masters                    M.xls                                               1774      10/9/2024 16:17
                                              81672
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_04
SuttonPark\Annuity Masters                    _06_PM.xls                                        20146       10/9/2024 16:19
                                              81674
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_04_34_P
SuttonPark\Annuity Masters                    M.xls                                               1779      10/9/2024 16:17
                                              81674
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_04
SuttonPark\Annuity Masters                    _36_PM.xls                                        27472       10/9/2024 16:19
                                              81676
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_05_10_P
SuttonPark\Annuity Masters                    M.xls                                               1774      10/9/2024 16:17
                                              81676
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_05
SuttonPark\Annuity Masters                    _12_PM.xls                                        32026       10/9/2024 16:19
                                              81677
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_06_15_P
SuttonPark\Annuity Masters                    M.xls                                               1769      10/9/2024 16:17
                                              81677
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_06
SuttonPark\Annuity Masters                    _17_PM.xls                                        28105       10/9/2024 16:19
                                              81678
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_10_47_P
SuttonPark\Annuity Masters                    M.xls                                               5061      10/9/2024 16:19
                                              81678
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_10
SuttonPark\Annuity Masters                    _49_PM.xls                                       582690       10/9/2024 16:20
                                              81679
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_11_39_P
SuttonPark\Annuity Masters                    M.xls                                               2477      10/9/2024 16:19
                                              81679
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_11
SuttonPark\Annuity Masters                    _40_PM.xls                                       192938       10/9/2024 16:19
                                              81691
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_12_26_P
SuttonPark\Annuity Masters                    M.xls                                               1760      10/9/2024 16:17




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                                              81691
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_12
SuttonPark\Annuity Masters                    _27_PM.xls                                        24898       10/9/2024 16:19
                                              81696
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_12_58_P
SuttonPark\Annuity Masters                    M.xls                                               2814      10/9/2024 16:19
                                              81696
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_12
SuttonPark\Annuity Masters                    _59_PM.xls                                       197734       10/9/2024 16:19
                                              81697
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_13_27_P
SuttonPark\Annuity Masters                    M.xls                                               3564      10/9/2024 16:19
                                              81697
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_13
SuttonPark\Annuity Masters                    _29_PM.xls                                       464242       10/9/2024 16:20
                                              81698
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_13_54_P
SuttonPark\Annuity Masters                    M.xls                                               1757      10/9/2024 16:17
                                              81698
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_13
SuttonPark\Annuity Masters                    _55_PM.xls                                        38956       10/9/2024 16:19
                                              81699
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_14_19_P
SuttonPark\Annuity Masters                    M.xls                                               1768      10/9/2024 16:17
                                              81699
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_14
SuttonPark\Annuity Masters                    _21_PM.xls                                        24898       10/9/2024 16:19
                                              81702
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_14_48_P
SuttonPark\Annuity Masters                    M.xls                                               3937      10/9/2024 16:19
                                              81702
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_14
SuttonPark\Annuity Masters                    _49_PM.xls                                       390615       10/9/2024 16:20
                                              81704
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_15_18_P
SuttonPark\Annuity Masters                    M.xls                                               2478      10/9/2024 16:19
                                              81704
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_15
SuttonPark\Annuity Masters                    _19_PM.xls                                        95788       10/9/2024 16:19
                                              81705
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_15_46_P
SuttonPark\Annuity Masters                    M.xls                                               1757      10/9/2024 16:17
                                              81705
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_15
SuttonPark\Annuity Masters                    _48_PM.xls                                        46678       10/9/2024 16:19
                                              81708
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_16_13_P
SuttonPark\Annuity Masters                    M.xls                                               2440      10/9/2024 16:19




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                                              81708
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_16
SuttonPark\Annuity Masters                    _14_PM.xls                                        61977       10/9/2024 16:19
                                              81709
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_16_43_P
SuttonPark\Annuity Masters                    M.xls                                               3182      10/9/2024 16:19
                                              81709
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_16
SuttonPark\Annuity Masters                    _45_PM.xls                                       315212       10/9/2024 16:20
                                              81711
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_17_10_P
SuttonPark\Annuity Masters                    M.xls                                               1763      10/9/2024 16:17
                                              81711
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_17
SuttonPark\Annuity Masters                    _11_PM.xls                                        24898       10/9/2024 16:19
                                              81712
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_18_24_P
SuttonPark\Annuity Masters                    M.xls                                               1757      10/9/2024 16:17
                                              81712
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_18
SuttonPark\Annuity Masters                    _25_PM.xls                                        52816       10/9/2024 16:19
                                              81717
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_18_50_P
SuttonPark\Annuity Masters                    M.xls                                               1753      10/9/2024 16:17
                                              81719
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_19_17_P
SuttonPark\Annuity Masters                    M.xls                                               3191      10/9/2024 16:19
                                              81719
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_19
SuttonPark\Annuity Masters                    _19_PM.xls                                       330523       10/9/2024 16:20
                                              81721
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_19_50_P
SuttonPark\Annuity Masters                    M.xls                                               3980      10/9/2024 16:19
                                              81721
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_19
SuttonPark\Annuity Masters                    _52_PM.xls                                       420022       10/9/2024 16:20
                                              81722
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_20_27_P
SuttonPark\Annuity Masters                    M.xls                                               2474      10/9/2024 16:19
                                              81722
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_20
SuttonPark\Annuity Masters                    _29_PM.xls                                       227910       10/9/2024 16:19
                                              81724
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_21_32_P
SuttonPark\Annuity Masters                    M.xls                                               2474      10/9/2024 16:19
                                              81724
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_21
SuttonPark\Annuity Masters                    _34_PM.xls                                       227910       10/9/2024 16:19




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                                              81725
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_22_08_P
SuttonPark\Annuity Masters                    M.xls                                               2124      10/9/2024 16:19
                                              81725
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_22
SuttonPark\Annuity Masters                    _09_PM.xls                                        42504       10/9/2024 16:19
                                              81726
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_22_54_P
SuttonPark\Annuity Masters                    M.xls                                               3194      10/9/2024 16:19
                                              81726
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_22
SuttonPark\Annuity Masters                    _55_PM.xls                                       339600       10/9/2024 16:20
                                              81736
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_23_39_P
SuttonPark\Annuity Masters                    M.xls                                               3187      10/9/2024 16:19
                                              81738
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_24_04_P
SuttonPark\Annuity Masters                    M.xls                                               1761      10/9/2024 16:17
                                              81738
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_24
SuttonPark\Annuity Masters                    _06_PM.xls                                        13018       10/9/2024 16:19
                                              81739
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_24_59_P
SuttonPark\Annuity Masters                    M.xls                                               7390      10/9/2024 16:19
                                              81739
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_25
SuttonPark\Annuity Masters                    _01_PM.xls                                       616305       10/9/2024 16:20
                                              81740
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_25_59_P
SuttonPark\Annuity Masters                    M.xls                                               1759      10/9/2024 16:17
                                              81740
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_26
SuttonPark\Annuity Masters                    _00_PM.xls                                          8374      10/9/2024 16:19
                                              81742
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_26_41_P
SuttonPark\Annuity Masters                    M.xls                                               3159      10/9/2024 16:19
                                              81742
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_26
SuttonPark\Annuity Masters                    _43_PM.xls                                       339530       10/9/2024 16:20
                                              81746
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_27_17_P
SuttonPark\Annuity Masters                    M.xls                                               2827      10/9/2024 16:19
                                              81746
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_27
SuttonPark\Annuity Masters                    _18_PM.xls                                       207935       10/9/2024 16:19
                                              81748
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_27_45_P
SuttonPark\Annuity Masters                    M.xls                                               3590      10/9/2024 16:19




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                                              81748
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_27
SuttonPark\Annuity Masters                    _47_PM.xls                                       170447       10/9/2024 16:19
                                              81749
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_28_14_P
SuttonPark\Annuity Masters                    M.xls                                               2469      10/9/2024 16:19
                                              81749
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_28
SuttonPark\Annuity Masters                    _17_PM.xls                                       262173       10/9/2024 16:20
                                              81753
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_28_46_P
SuttonPark\Annuity Masters                    M.xls                                               5399      10/9/2024 16:19
                                              81753
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_28
SuttonPark\Annuity Masters                    _47_PM.xls                                       580710       10/9/2024 16:20
                                              81755
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_29_18_P
SuttonPark\Annuity Masters                    M.xls                                               2453      10/9/2024 16:19
                                              81755
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_29
SuttonPark\Annuity Masters                    _19_PM.xls                                       259142       10/9/2024 16:20
                                              81766
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_30_47_P
SuttonPark\Annuity Masters                    M.xls                                               3175      10/9/2024 16:19
                                              81766
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_30
SuttonPark\Annuity Masters                    _49_PM.xls                                       322714       10/9/2024 16:20
                                              81771
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_31_20_P
SuttonPark\Annuity Masters                    M.xls                                               2114      10/9/2024 16:18
                                              81771
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_31
SuttonPark\Annuity Masters                    _22_PM.xls                                       148080       10/9/2024 16:19
                                              81773
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_31_55_P
SuttonPark\Annuity Masters                    M.xls                                               3987      10/9/2024 16:19
                                              81773
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_31
SuttonPark\Annuity Masters                    _56_PM.xls                                       420270       10/9/2024 16:20
                                              81776
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_32_37_P
SuttonPark\Annuity Masters                    M.xls                                               3223      10/9/2024 16:19
                                              81776
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_32
SuttonPark\Annuity Masters                    _39_PM.xls                                       310353       10/9/2024 16:20
                                              81777
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_33_10_P
SuttonPark\Annuity Masters                    M.xls                                               1758      10/9/2024 16:17




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                                              81777
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_33
SuttonPark\Annuity Masters                    _11_PM.xls                                        33298       10/9/2024 16:19
                                              81781
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_33_42_P
SuttonPark\Annuity Masters                    M.xls                                               4673      10/9/2024 16:19
                                              81781
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_33
SuttonPark\Annuity Masters                    _43_PM.xls                                       310885       10/9/2024 16:20
                                              81783
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_34_53_P
SuttonPark\Annuity Masters                    M.xls                                               1757      10/9/2024 16:17
                                              81783
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_34
SuttonPark\Annuity Masters                    _54_PM.xls                                        15610       10/9/2024 16:19
                                              81790
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_35_31_P
SuttonPark\Annuity Masters                    M.xls                                               1754      10/9/2024 16:17
                                              81790
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_35
SuttonPark\Annuity Masters                    _32_PM.xls                                        33898       10/9/2024 16:19
                                              81791
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_37_02_P
SuttonPark\Annuity Masters                    M.xls                                               4734      10/9/2024 16:19
                                              81791
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_37
SuttonPark\Annuity Masters                    _03_PM.xls                                       503446       10/9/2024 16:20
                                              81793
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_37_38_P
SuttonPark\Annuity Masters                    M.xls                                               4294      10/9/2024 16:19
                                              81793
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_37
SuttonPark\Annuity Masters                    _40_PM.xls                                       445269       10/9/2024 16:20
                                              81798
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_38_07_P
SuttonPark\Annuity Masters                    M.xls                                               2456      10/9/2024 16:19
                                              81798
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_38
SuttonPark\Annuity Masters                    _07_PM.xls                                       224633       10/9/2024 16:19
                                              81801
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_38_32_P
SuttonPark\Annuity Masters                    M.xls                                               1754      10/9/2024 16:17
                                              81801
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_38
SuttonPark\Annuity Masters                    _33_PM.xls                                        36778       10/9/2024 16:19
                                              81803
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_38_58_P
SuttonPark\Annuity Masters                    M.xls                                               3596      10/9/2024 16:19




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                                              81803
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_39
SuttonPark\Annuity Masters                    _00_PM.xls                                       379662       10/9/2024 16:20
                                              81804
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_39_29_P
SuttonPark\Annuity Masters                    M.xls                                               1763      10/9/2024 16:17
                                              81804
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_39
SuttonPark\Annuity Masters                    _30_PM.xls                                        15394       10/9/2024 16:19
                                              81805
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_39_59_P
SuttonPark\Annuity Masters                    M.xls                                               1756      10/9/2024 16:17
                                              81805
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_40
SuttonPark\Annuity Masters                    _03_PM.xls                                        19858       10/9/2024 16:19
                                              81808
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_40_31_P
SuttonPark\Annuity Masters                    M.xls                                               3564      10/9/2024 16:19
                                              81808
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_40
SuttonPark\Annuity Masters                    _33_PM.xls                                       351529       10/9/2024 16:20
                                              81814
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_41_02_P
SuttonPark\Annuity Masters                    M.xls                                               5699      10/9/2024 16:19
                                              81814
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_41
SuttonPark\Annuity Masters                    _04_PM.xls                                       482050       10/9/2024 16:20
                                              81822
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_41_30_P
SuttonPark\Annuity Masters                    M.xls                                               1755      10/9/2024 16:17
                                              81822
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_41
SuttonPark\Annuity Masters                    _32_PM.xls                                        24898       10/9/2024 16:19
                                              81826
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_41_59_P
SuttonPark\Annuity Masters                    M.xls                                               2841      10/9/2024 16:19
                                              81826
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_42
SuttonPark\Annuity Masters                    _01_PM.xls                                       249243       10/9/2024 16:19
                                              81828
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_42_28_P
SuttonPark\Annuity Masters                    M.xls                                               1757      10/9/2024 16:17
                                              81828
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_42
SuttonPark\Annuity Masters                    _31_PM.xls                                        16543       10/9/2024 16:19
                                              81829
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_1_42_56_P
SuttonPark\Annuity Masters                    M.xls                                               2466      10/9/2024 16:19




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              All Paths/Locations                               Unified Title               File Size    Primary Date/Time
                                              81829
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_1_42
SuttonPark\Annuity Masters                    _57_PM.xls                                       256408       10/9/2024 16:19
                                              8295
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_06_40
SuttonPark\Annuity Masters                    _PM.xls                                             2803      10/9/2024 16:19
                                              8295
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    06_42_PM.xls                                     217210       10/9/2024 16:19
                                              8472
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_07_17
SuttonPark\Annuity Masters                    _PM.xls                                             2471      10/9/2024 16:19
                                              8472
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    07_19_PM.xls                                     255445       10/9/2024 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Analysis           Annuity Master Initial Analysis ND.xlsx          679671       8/23/2024 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Analysis           Annuity Master Initial Analysis.xlsx             425640        9/6/2024 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        64371 Annuity Master.tv5                          10463       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        66001 Annuity Master.tv5                          10389       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        70240 Annuity Master.tv5                          10358       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        71217 Annuity Master.tv5                            9979      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        78275 Annuity Master.tv5                          10116       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        78348 Annuity Master.tv5                            9917      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        78465 Annuity Master.tv5                            9949      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        78839 Annuity Master.tv5                          10539       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        78842 Annuity Master.tv5                            9788      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        78880 Annuity Master.tv5                          10611       10/9/2024 16:19




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               All Paths/Locations                             Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        78906 Annuity Master.tv5             11288       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        78910 Annuity Master.tv5               9949      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        78911 Annuity Master.tv5             10306       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        78922 Annuity Master.tv5             10305       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        78928 Annuity Master.tv5             10073       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        78929 Annuity Master.tv5             10073       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        78936 Annuity Master.tv5             11634       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        78943 Annuity Master.tv5               9789      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        78953 Annuity Master.tv5               9979      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        78971 Annuity Master.tv5             10542       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        78977 Annuity Master.tv5               9978      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        78995 Annuiyt Master.tv5             10615       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        78996 Annuity Master.tv5               9790      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        78997 Annuity Master.tv5             10463       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        79005 Annuity Master.tv5               9790      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        79007 Annuity Master.tv5             10548       10/9/2024 16:19




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               All Paths/Locations                             Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        79069 Annuity Master.tv5               9790      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        79166 Annuity Master.tv5             10168       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        79228 Annuity Master.tv5             10971       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        79322 Annuity Master.tv5             10772       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        79568 Annuity Master.tv5             10139       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        79574 Annuity Master.tv5             10462       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        79604 Annuity Master.tv5               9790      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        79780 Annuity Master.tv5             10654       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        79836 Annuity Master.tv5               9947      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        80267 Annuity Master.tv5             10580       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        80389 Annuity Master.tv5               9981      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        80568 Annuity Master.tv5             10590       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81335 Annuity Master.tv5               9979      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81374 Annuity Master.tv5             11878       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81413 Annuity Master.tv5             10584       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81468 Annuity Master.tv5               9979      10/9/2024 16:19




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               All Paths/Locations                             Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81555 Annuity Master.tv5               9981      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81556 Annuity Master.tv5             10117       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81559 Annuity Master.tv5             10306       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81560 Annuity Master.tv5             10813       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81561 Annuity Master.tv5             10169       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81562 Annuity Master.tv5             10790       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81564 Annuity Master.tv5             10308       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81566 Annuity Master.tv5             10547       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81582 Annuity Master.tv5               9789      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81627 Annuity Master.tv5               9789      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81640 Annuity Master.tv5             10790       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81641 Annuity Master.tv5             10790       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81643 Annuity Master.tv5               9979      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81644 Annuity Master.tv5             10306       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81646 Annuity Master.tv5             10308       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81648 Annuity Master.tv5             10788       10/9/2024 16:19




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               All Paths/Locations                             Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81652 Annuity Master.tv5             10306      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81655 Annuity Master.tv5             10789      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81668 Annuity Master.tv5             11170      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81672 Annuity Master.tv5             12513      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81674 Annuity Master.tv5             10789      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81676 Annuity Master.tv5             10980      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81677 Annuity Master.tv5             10981      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81691 Annuity Master.tv5             10688      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81698 Annuity Master.tv5             10308      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81699 Annuity Master.tv5             10308      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81705 Annuity Master.tv5             19541      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81708 Annuity Master.tv5             11917      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81711 Annuity Master.tv5             11137      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81712 Annuity Master.tv5             10308      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81717 Annuity Master.tv5             11221      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81725 Annuity Master.tv5             10308      10/9/2024 16:19




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               All Paths/Locations                             Unified Title                File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81738 Annuity Master.tv5                          10737       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81740 Annuity Master.tv5                          11455       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81741 Annuity Master.tv5                            9985      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81758 Annuity Master.tv5                            9789      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81770 Annuity Master.tv5                            9979      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81771 Annuity Master.tv5                          10358       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81775 Annuity Master.tv5                            9979      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81777 Annuity Master.tv5                          11169       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81783 Annuity Master.tv5                          17252       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81790 Annuity Master.tv5                          10940       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81795 Annuity Master.tv5                          10463       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81801 Annuity Master.tv5                          11206       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81804 Annuity Master.tv5                          10845       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81805 Annuity Master.tv5                          10305       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81822 Annuity Master.tv5                          10921       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Annuity Masters\Annuity Master
TValue                                        81828 Annuity Master.tv5                          10128       10/9/2024 16:19
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_19_27_
SuttonPark\Annuity Masters                    PM.xls                                              2120      10/9/2024 16:18


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               All Paths/Locations                                 Unified Title              File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_6_18_2024_3_25_15_
SuttonPark\Annuity Masters                      PM.xls                                              2470      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_6_4_2024_10_19_12_
SuttonPark\Annuity Masters                      AM.xls                                              2107      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_6_4_2024_1_18_00_P
SuttonPark\Annuity Masters                      M.xls                                               1757      10/9/2024 16:17
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_6_6_2024_9_07_51_A
SuttonPark\Annuity Masters                      M.xls                                               2099      10/9/2024 16:17
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_8_8_2024_10_52_29_
SuttonPark\Annuity Masters                      AM.xls                                              2475      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_8_8_2024_10_53_00_
SuttonPark\Annuity Masters                      AM.xls                                              2118      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_8_8_2024_10_53_15_
SuttonPark\Annuity Masters                      AM.xls                                              2875      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_8_8_2024_10_54_33_
SuttonPark\Annuity Masters                      AM.xls                                              2844      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_8_8_2024_10_54_47_
SuttonPark\Annuity Masters                      AM.xls                                              2498      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_8_8_2024_10_55_05_
SuttonPark\Annuity Masters                      AM.xls                                              2481      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_8_8_2024_10_55_21_
SuttonPark\Annuity Masters                      AM.xls                                              2119      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_8_8_2024_10_55_37_
SuttonPark\Annuity Masters                      AM.xls                                              2100      10/9/2024 16:17
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_8_8_2024_10_55_52_
SuttonPark\Annuity Masters                      AM.xls                                              2503      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_8_8_2024_10_56_07_
SuttonPark\Annuity Masters                      AM.xls                                              2120      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_8_8_2024_10_56_20_
SuttonPark\Annuity Masters                      AM.xls                                              2479      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_8_8_2024_10_56_50_
SuttonPark\Annuity Masters                      AM.xls                                              2481      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_8_8_2024_10_57_09_
SuttonPark\Annuity Masters                      AM.xls                                              2847      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_8_8_2024_10_57_21_
SuttonPark\Annuity Masters                      AM.xls                                              2122      10/9/2024 16:18
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_8_8_2024_10_57_37_
SuttonPark\Annuity Masters                      AM.xls                                              3530      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_8_8_2024_10_58_22_
SuttonPark\Annuity Masters                      AM.xls                                              2484      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-     List_of_Associated_Deals_8_8_2024_10_58_40_
SuttonPark\Annuity Masters                      AM.xls                                              2127      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__823548_Collections by
2024-05-31\check_images\79096                   Securitization.pdf                               129406        7/31/2023 8:39




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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__840179_Collections by
2024-05-31\check_images\79096                   Securitization 08302023.pdf                        3727      6/13/2024 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__850911_Collections by
2024-05-31\check_images\79096                   Securitization.pdf                               31964        9/29/2023 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__866807_Collections by
2024-05-31\check_images\79096                   Securitization 10302023.pdf                        4835      6/13/2024 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__879028_Collections by
2024-05-31\check_images\79096                   Securitization.pdf                               32282        12/4/2023 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__890608_Collections by
2024-05-31\check_images\79096                   Securitization.pdf                               30313       12/29/2023 7:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__905069_Collections by
2024-05-31\check_images\79096                   Securitization.pdf                               31474         2/1/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__919803_Collections by
2024-05-31\check_images\79096                   Securitization.pdf                               32339         3/5/2024 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__929776_Collections by
2024-05-31\check_images\79096                   Securitization.pdf                               31203        3/29/2024 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__946137_Collections by
2024-05-31\check_images\79096                   Securitization 04292024.pdf                      33919         5/2/2024 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-01__615978_Copy of Copy of Copy of
2024-05-31\check_images\79098                   Sutton Collections new.xlsx                      21861       4/13/2022 10:56



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-01__627381_Collections by
2024-05-31\check_images\79098                   Securitization 05032022.pdf               2149      6/13/2024 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-01__641233_Collections by
2024-05-31\check_images\79098                   Securitization.pdf                        8592        6/7/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-01__655165_Collections by
2024-05-31\check_images\79098                   Securitization.pdf                        8575        7/8/2022 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-01__667923_Collections by
2024-05-31\check_images\79098                   Securitization.pdf                        9203        8/8/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-01__681672_Collections by
2024-05-31\check_images\79098                   Securitization.pdf                        9208        9/7/2022 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-01__695274_Collections by
2024-05-31\check_images\79098                   Securitization 10042022.pdf               2577      6/13/2024 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-01__708524_Collections by
2024-05-31\check_images\79098                   Securitization.pdf                        9211       11/8/2022 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-01__719734_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__733356_Collections by
2024-05-31\check_images\79098                   Securitization 01032023.pdf               3135      6/13/2024 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__747886_Collections by
2024-05-31\check_images\79098                   Securitization 02032023.pdf               3514      6/13/2024 11:24



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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__761417_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__774677_Collections by
2024-05-31\check_images\79098                   Securitization.pdf                        9225        4/7/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__788753_Collections by
2024-05-31\check_images\79098                   Securitization 05042023.pdf               2590      6/13/2024 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__802000_Collections by
2024-05-31\check_images\79098                   Securitization.pdf                        9411        6/8/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__816075_Collections by
2024-05-31\check_images\79098                   Securitization.pdf                      30706        7/11/2023 8:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__827981_Collections by
2024-05-31\check_images\79098                   Securitization.pdf                     185664         8/7/2023 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__841409_Collections by
2024-05-31\check_images\79098                   Securitization 08312023.pdf               3707      6/13/2024 11:24
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__855128_Collections by
2024-05-31\check_images\79098                   Securitization.pdf                      32433      10/10/2023 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
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2024-05-31\check_images\79098                   Securitization.pdf                      30923        11/8/2023 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__880285_Collections by
2024-05-31\check_images\79098                   Securitization.pdf                      30766        12/5/2023 8:27



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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__895374_Collections by
2024-05-31\check_images\79098                   Securitization.pdf                       31952         1/9/2024 7:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__920695_Collections by
2024-05-31\check_images\79098                   Securitization.pdf                       30675         3/6/2024 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__935172_Collections by
2024-05-31\check_images\79098                   Securitization.pdf                       31194         4/9/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__947663_Collections by
2024-05-31\check_images\79098                   Securitization.pdf                       30959         5/7/2024 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\79101                   2022-04-05__618605_JGW Deposit.pdf      168286       4/19/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-05__622352_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-05__629819_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-05__644686_Collections by
2024-05-31\check_images\79101                   Securitization 06102022.pdf                2389      6/13/2024 11:25
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-05__671036_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-05__683845_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01-
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-05__710719_Collections by
2024-05-31\check_images\79101                   Securitization.pdf                        8604      11/15/2022 8:08
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-05__725757_Collections by
2024-05-31\check_images\79101                   Securitization.pdf                        8421      12/20/2022 8:05
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-05__751530_Collections by
2024-05-31\check_images\79101                   Securitization.pdf                        8995       2/16/2023 8:10
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-05__762414_Collections by
2024-05-31\check_images\79101                   Securitization.pdf                        9823       3/13/2023 9:04
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-05__778613_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-05__790016_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-05__804309_Collections by
2024-05-31\check_images\79101                   Securitization.pdf                        8403       6/14/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-05__817593_Collections by
2024-05-31\check_images\79101                   Securitization.pdf                      32183        7/13/2023 8:27



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-05__830472_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-05__878182_Collections by
2024-05-31\check_images\79101                   Securitization.pdf                      29479       11/30/2023 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-05__887645_Collections by
2024-05-31\check_images\79101                   Securitization 12182023.pdf             32743      12/21/2023 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-05__894284_Collections by
2024-05-31\check_images\79101                   Securitization.pdf                      31605         1/5/2024 7:33
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-05__909152_Collections by
2024-05-31\check_images\79101                   Securitization.pdf                      32078        2/12/2024 8:09
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
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2024-05-31\check_images\79101                   Securitization.pdf                      31476        2/27/2024 7:42
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-05__917390_Collections by
2024-05-31\check_images\79101                   Securitization.pdf                      31373        2/29/2024 7:30
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-05__929262_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-05__936187_Collections by
2024-05-31\check_images\79101                   Securitization.pdf                      31176        4/11/2024 7:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-05__637494_Collections by
2024-05-31\check_images\79102                   Securitization.pdf                        8410        6/1/2022 8:35



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-05__637496_Collections by
2024-05-31\check_images\79102                   Securitization 05262022.pdf               2764      6/13/2024 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-05__642665_Collections by
2024-05-31\check_images\79102                   Securitization.pdf                        8591       6/10/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-05__656611_Collections by
2024-05-31\check_images\79102                   Securitization.pdf                        8786       7/12/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-05__671005_Collections by
2024-05-31\check_images\79102                   Securitization 08102022.pdf               3335      6/13/2024 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-05__683827_Collections by
2024-05-31\check_images\79102                   Securitization.pdf                        9406       9/13/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-05__695703_Collections by
2024-05-31\check_images\79102                   Securitization.pdf                        8791      10/10/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-05__710092_Collections by
2024-05-31\check_images\79102                   Securitization.pdf                        8421     11/14/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-05__723838_Collections by
2024-05-31\check_images\79102                   Securitization.pdf                        8797     12/14/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-05__736917_Collections by
2024-05-31\check_images\79102                   Securitization.pdf                        9411       1/13/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-05__749154_Collections by
2024-05-31\check_images\79102                   Securitization 02082023.pdf               2970      6/13/2024 11:26



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-05__762432_Collections by
2024-05-31\check_images\79102                   Securitization.pdf                        9823       3/13/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-05__776959_Collections by
2024-05-31\check_images\79102                   Securitization.pdf                        8591       4/13/2023 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-05__789710_Collections by
2024-05-31\check_images\79102                   Securitization.pdf                        9232       5/12/2023 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-05__802346_Collections by
2024-05-31\check_images\79102                   Securitization.pdf                        8222       6/12/2023 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-05__817589_Collections by
2024-05-31\check_images\79102                   Securitization.pdf                      32183        7/13/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-05__830243_Collections by
2024-05-31\check_images\79102                   Securitization.pdf                     182688        8/11/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-05__843433_Collections by
2024-05-31\check_images\79102                   Securitization.pdf                      31977        9/12/2023 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-05__857416_Collections by
2024-05-31\check_images\79102                   Securitization 10102023.pdf             32534       10/13/2023 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-05__869525_Collections by
2024-05-31\check_images\79102                   Securitization 11102023.pdf               2391      6/13/2024 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-05__884803_Collections by
2024-05-31\check_images\79102                   Securitization.pdf                      31832       12/14/2023 9:21



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               All Paths/Locations                                 Unified Title     File Size    Primary Date/Time
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-05__896802_Collections by
2024-05-31\check_images\79102                   Securitization.pdf                       31483        1/11/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-05__911711_Collections by
2024-05-31\check_images\79102                   Securitization.pdf                       30701        2/15/2024 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-05__923448_Collections by
2024-05-31\check_images\79102                   Securitization.pdf                       29778        3/13/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-05__936184_Collections by
2024-05-31\check_images\79102                   Securitization.pdf                       31176        4/11/2024 7:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-05__949051_Collections by
2024-05-31\check_images\79102                   Securitization 05072024.pdf              50371        5/10/2024 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\79103                   2022-04-05__618607_JGW Deposit.pdf      168286       4/19/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-05__629813_Collections by
2024-05-31\check_images\79103                   Securitization 05092022.pdf                2965      6/13/2024 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-05__644687_Collections by
2024-05-31\check_images\79103                   Securitization 06102022.pdf                2389      6/13/2024 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-05__657592_Collections by
2024-05-31\check_images\79103                   Securitization.pdf                         8408       7/14/2022 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-05__671032_Collections by
2024-05-31\check_images\79103                   Securitization 08102022.pdf                3335      6/13/2024 11:26



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-05__683836_Collections by
2024-05-31\check_images\79103                   Securitization.pdf                        9406       9/13/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-05__697899_Collections by
2024-05-31\check_images\79103                   Securitization.pdf                        8813      10/14/2022 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-05__710714_Collections by
2024-05-31\check_images\79103                   Securitization.pdf                        8604      11/15/2022 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-05__725751_Collections by
2024-05-31\check_images\79103                   Securitization.pdf                        8421      12/20/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-05__736927_Collections by
2024-05-31\check_images\79103                   Securitization.pdf                        9411       1/13/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-05__751529_Collections by
2024-05-31\check_images\79103                   Securitization.pdf                        8995       2/16/2023 8:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-05__762450_Collections by
2024-05-31\check_images\79103                   Securitization.pdf                        9823       3/13/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-05__778605_Collections by
2024-05-31\check_images\79103                   Securitization.pdf                        8591       4/18/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-05__790020_Collections by
2024-05-31\check_images\79103                   Securitization 05102023.pdf               3153      6/13/2024 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-05__804310_Collections by
2024-05-31\check_images\79103                   Securitization.pdf                        8403       6/14/2023 9:05



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 495 of
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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-05__817594_Collections by
2024-05-31\check_images\79103                   Securitization.pdf                      32183        7/13/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-05__830473_Collections by
2024-05-31\check_images\79103                   Securitization 08092023.pdf               2779      6/13/2024 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-05__887136_Collections by
2024-05-31\check_images\79103                   Securitization 12142023.pdf             31616       12/20/2023 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-05__887648_Collections by
2024-05-31\check_images\79103                   Securitization 12182023.pdf             32743      12/21/2023 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-05__878183_Collections by
2024-05-31\check_images\79103                   Securitization.pdf                      29479       11/30/2023 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-05__917385_Collections by
2024-05-31\check_images\79103                   Securitization.pdf                      31373        2/29/2024 7:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-05__909153_Collections by
2024-05-31\check_images\79103                   Securitization.pdf                      32078        2/12/2024 8:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-05__916094_Collections by
2024-05-31\check_images\79103                   Securitization.pdf                      31476        2/27/2024 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-05__929261_Collections by
2024-05-31\check_images\79103                   Securitization.pdf                      31574        3/28/2024 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-05__936185_Collections by
2024-05-31\check_images\79103                   Securitization.pdf                      31176        4/11/2024 7:31



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 496 of
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               All Paths/Locations                                 Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-05__957333_Collections by
2024-05-31\check_images\79103                   Securitization 05242024.pdf              46855        5/30/2024 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\79104                   2022-04-06__618596_JGW Deposit.pdf      168286       4/19/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-06__629815_Collections by
2024-05-31\check_images\79104                   Securitization 05092022.pdf                2965      6/13/2024 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-06__642666_Collections by
2024-05-31\check_images\79104                   Securitization.pdf                         8591       6/10/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-06__655166_Collections by
2024-05-31\check_images\79104                   Securitization.pdf                         8575        7/8/2022 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-06__667921_Collections by
2024-05-31\check_images\79104                   Securitization.pdf                         9203        8/8/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-06__682593_Collections by
2024-05-31\check_images\79104                   Securitization.pdf                         8213        9/9/2022 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-06__695007_Collections by
2024-05-31\check_images\79104                   Securitization.pdf                         8591       10/6/2022 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-06__709354_Collections by
2024-05-31\check_images\79104                   Securitization.pdf                         7956      11/11/2022 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-06__723842_Collections by
2024-05-31\check_images\79104                   Securitization.pdf                         8797     12/14/2022 14:13



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-06__735759_Collections by
2024-05-31\check_images\79104                   Securitization.pdf                        8784       1/11/2023 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-06__749162_Collections by
2024-05-31\check_images\79104                   Securitization 02082023.pdf               2970      6/13/2024 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-06__762404_Collections by
2024-05-31\check_images\79104                   Securitization.pdf                        9823       3/13/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-06__775027_Collections by
2024-05-31\check_images\79104                   Securitization.pdf                        8218       4/10/2023 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-06__789567_Collections by
2024-05-31\check_images\79104                   Securitization.pdf                        8779       5/11/2023 7:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-06__802125_Collections by
2024-05-31\check_images\79104                   Securitization.pdf                        8767        6/9/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-06__816753_Collections by
2024-05-31\check_images\79104                   Securitization.pdf                      31083        7/12/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-06__830143_Collections by
2024-05-31\check_images\79104                   Securitization.pdf                     182885        8/10/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-06__842274_Collections by
2024-05-31\check_images\79104                   Securitization.pdf                      31292         9/8/2023 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-06__856239_Collections by
2024-05-31\check_images\79104                   Securitization.pdf                      29423       10/11/2023 8:04



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               All Paths/Locations                                 Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-06__869527_Collections by
2024-05-31\check_images\79104                   Securitization 11102023.pdf                2391      6/13/2024 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-06__882205_Collections by
2024-05-31\check_images\79104                   Securitization.pdf                       31102        12/8/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-06__908815_Collections by
2024-05-31\check_images\79104                   Securitization.pdf                       31265         2/8/2024 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-06__908816_Collections by
2024-05-31\check_images\79104                   Securitization.pdf                       31265         2/8/2024 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-06__921550_Collections by
2024-05-31\check_images\79104                   Securitization.pdf                       31318         3/8/2024 7:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-06__936188_Collections by
2024-05-31\check_images\79104                   Securitization.pdf                       31176        4/11/2024 7:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\79105                   2022-04-12__618579_JGW Deposit.pdf      168286       4/19/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-12__632645_Collections by
2024-05-31\check_images\79105                   Securitization 05162022.pdf                2391      6/13/2024 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-12__645700_Collections by
2024-05-31\check_images\79105                   Securitization.pdf                         6309       6/17/2022 8:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-12__658346_Collections by
2024-05-31\check_images\79105                   Securitization.pdf                         8420       7/18/2022 8:15



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-12__672637_Collections by
2024-05-31\check_images\79105                   Securitization 08152022.pdf               2391      6/13/2024 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-12__685801_Collections by
2024-05-31\check_images\79105                   Securitization 09142022.pdf               2779      6/13/2024 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-12__699156_Collections by
2024-05-31\check_images\79105                   Securitization 10132022.pdf               2397      6/13/2024 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-12__713606_Collections by
2024-05-31\check_images\79105                   Securitization.pdf                        8593      11/22/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-12__724762_Collections by
2024-05-31\check_images\79105                   Securitization.pdf                        8215      12/16/2022 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-12__739563_Collections by
2024-05-31\check_images\79105                   Securitization.pdf                        8212       1/20/2023 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-12__752271_Collections by
2024-05-31\check_images\79105                   Securitization.pdf                        8410       2/21/2023 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-12__765327_Collections by
2024-05-31\check_images\79105                   Securitization.pdf                        8779       3/20/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-12__778610_Collections by
2024-05-31\check_images\79105                   Securitization.pdf                        8591       4/18/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-12__792700_Collections by
2024-05-31\check_images\79105                   Securitization.pdf                        8594       5/18/2023 8:16



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-12__805751_Collections by
2024-05-31\check_images\79105                   Securitization 06142023.pdf               3139      6/13/2024 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-12__819586_Collections by
2024-05-31\check_images\79105                   Securitization.pdf                      31684        7/19/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-12__833368_Collections by
2024-05-31\check_images\79105                   Securitization.pdf                     181803        8/21/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-12__844749_Collections by
2024-05-31\check_images\79105                   Securitization.pdf                      31157        9/15/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-12__859983_Collections by
2024-05-31\check_images\79105                   Securitization.pdf                      31388       10/19/2023 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-12__866819_Collections by
2024-05-31\check_images\79105                   Securitization 10302023.pdf               4835      6/13/2024 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-12__873847_Collections by
2024-05-31\check_images\79105                   Securitization.pdf                      31024       11/21/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-12__885365_Collections by
2024-05-31\check_images\79105                   Securitization 12132023.pdf             32493       12/18/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-12__900315_Collections by
2024-05-31\check_images\79105                   Securitization.pdf                      31424        1/22/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-12__912234_Collections by
2024-05-31\check_images\79105                   Securitization 02152024.pdf             31275        2/20/2024 9:43



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               All Paths/Locations                                  Unified Title       File Size    Primary Date/Time
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-12__926549_Collections by
2024-05-31\check_images\79105                   Securitization.pdf                          31672        3/21/2024 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-12__941284_Collections by
2024-05-31\check_images\79105                   Securitization.pdf                          28318        4/25/2024 7:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-12__952485_Collections by
2024-05-31\check_images\79105                   Securitization.pdf                          31993        5/20/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-13__618526_JGW Copy of Sutton
2024-05-31\check_images\79106                   Collections - April 19.xlsx                 81148       4/19/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-13__632009_Collections by
2024-05-31\check_images\79106                   Securitization 05132022.pdf                   2151      6/13/2024 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-13__645356_Collections by
2024-05-31\check_images\79106                   Securitization.pdf                            8790       6/16/2022 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-13__656607_Collections by
2024-05-31\check_images\79106                   Securitization.pdf                            8786       7/12/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-13__674702_Collections by
2024-05-31\check_images\79106                   Securitization 08222022.pdf                   2383      6/13/2024 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-13__685802_Collections by
2024-05-31\check_images\79106                   Securitization 09142022.pdf                   2779      6/13/2024 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-13__699591_Collections by
2024-05-31\check_images\79106                   Securitization 10142022.pdf                   2574      6/13/2024 11:28



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-13__712285_Collections by
2024-05-31\check_images\79106                   Securitization.pdf                        8221      11/17/2022 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-13__724764_Collections by
2024-05-31\check_images\79106                   Securitization.pdf                        8215      12/16/2022 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-13__739221_Collections by
2024-05-31\check_images\79106                   Securitization.pdf                        8782       1/19/2023 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-13__753364_Collections by
2024-05-31\check_images\79106                   Securitization.pdf                        8219       2/22/2023 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-13__765324_Collections by
2024-05-31\check_images\79106                   Securitization.pdf                        8779       3/20/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-13__778612_Collections by
2024-05-31\check_images\79106                   Securitization.pdf                        8591       4/18/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-13__792688_Collections by
2024-05-31\check_images\79106                   Securitization.pdf                        8594       5/18/2023 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-13__805415_Collections by
2024-05-31\check_images\79106                   Securitization.pdf                      31629       6/16/2023 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-13__819578_Collections by
2024-05-31\check_images\79106                   Securitization.pdf                      31684        7/19/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-13__833056_Collections by
2024-05-31\check_images\79106                   Securitization.pdf                     183339        8/17/2023 8:23



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               All Paths/Locations                                  Unified Title           File Size    Primary Date/Time
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-13__845130_Collections by
2024-05-31\check_images\79106                   Securitization.pdf                              30962        9/18/2023 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-13__859102_Collections by
2024-05-31\check_images\79106                   Securitization.pdf                              30561       10/17/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-13__873165_Collections by
2024-05-31\check_images\79106                   Securitization.pdf                              29249       11/20/2023 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-13__887849_Collections by
2024-05-31\check_images\79106                   Securitization.pdf                              30919       12/22/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-13__900186_Collections by
2024-05-31\check_images\79106                   Securitization 01162024.pdf                       8218       1/19/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-13__911998_Collections by
2024-05-31\check_images\79106                   Securitization.pdf                              28875        2/16/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-13__924817_Collections by
2024-05-31\check_images\79106                   Securitization.pdf                              30862        3/18/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-13__939713_Collections by
2024-05-31\check_images\79106                   Securitization.pdf                              30991        4/22/2024 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-13__952486_Collections by
2024-05-31\check_images\79106                   Securitization.pdf                              31993        5/20/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-15__622232_Copy of Collections by
2024-05-31\check_images\79107                   Securitization 2.xlsx                             9930      4/26/2022 13:39



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-15__632842_Collections by
2024-05-31\check_images\79107                   Securitization 05202022.pdf               7955       5/20/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-15__648615_Collections by
2024-05-31\check_images\79107                   Securitization.pdf                        8419       6/27/2022 8:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-15__660253_Collections by
2024-05-31\check_images\79107                   Securitization.pdf                        6308       7/21/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-15__674317_Collections by
2024-05-31\check_images\79107                   Securitization 08172022.pdf               2583      6/13/2024 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-15__687312_Collections by
2024-05-31\check_images\79107                   Securitization 09192022.pdf               2387      6/13/2024 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-15__701134_Collections by
2024-05-31\check_images\79107                   Securitization.pdf                        8780      10/25/2022 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-15__713607_Collections by
2024-05-31\check_images\79107                   Securitization.pdf                        8593      11/22/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-15__727405_Collections by
2024-05-31\check_images\79107                   Securitization.pdf                        8410      12/23/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-15__740615_Collections by
2024-05-31\check_images\79107                   Securitization.pdf                        8208       1/24/2023 7:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-15__752272_Collections by
2024-05-31\check_images\79107                   Securitization.pdf                        8410       2/21/2023 8:08



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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-15__766107_Collections by
2024-05-31\check_images\79107                   Securitization.pdf                        7953       3/21/2023 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-15__780327_Collections by
2024-05-31\check_images\79107                   Securitization.pdf                        7954       4/24/2023 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-15__793118_Collections by
2024-05-31\check_images\79107                   Securitization.pdf                        8787       5/22/2023 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-15__807464_Collections by
2024-05-31\check_images\79107                   Securitization 06202023.pdf               2767      6/13/2024 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-15__821660_Collections by
2024-05-31\check_images\79107                   Securitization.pdf                      30573        7/26/2023 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-15__834257_Collections by
2024-05-31\check_images\79107                   Securitization.pdf                     182959        8/22/2023 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-15__847153_Collections by
2024-05-31\check_images\79107                   Securitization.pdf                      30952        9/21/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-15__860353_Collections by
2024-05-31\check_images\79107                   Securitization 10182023.pdf               2153      6/13/2024 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-15__876074_Collections by
2024-05-31\check_images\79107                   Securitization 11212023.pdf               2153      6/13/2024 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-15__887847_Collections by
2024-05-31\check_images\79107                   Securitization.pdf                      30919       12/22/2023 7:43



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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-15__901571_Collections by
2024-05-31\check_images\79107                   Securitization.pdf                      30610        1/25/2024 7:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-15__914409_Collections by
2024-05-31\check_images\79107                   Securitization.pdf                      31579        2/23/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-15__926755_Collections by
2024-05-31\check_images\79107                   Securitization.pdf                      30446        3/22/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-15__940736_Collections by
2024-05-31\check_images\79107                   Securitization.pdf                      27761        4/24/2024 7:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-15__954080_Collections by
2024-05-31\check_images\79107                   Securitization.pdf                      31453        5/23/2024 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-16__622349_Collections by
2024-05-31\check_images\79108                   Securitization 4 23 2022.pdf            33700       4/26/2022 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-16__634223_Collections by
2024-05-31\check_images\79108                   Securitization 05192022.pdf               2388      6/13/2024 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-16__648307_Collections by
2024-05-31\check_images\79108                   Securitization 06212022.pdf               2584      6/13/2024 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-16__661747_Collections by
2024-05-31\check_images\79108                   Securitization 07212022.pdf               2969      6/13/2024 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-16__674321_Collections by
2024-05-31\check_images\79108                   Securitization 08182022.pdf               2154      6/13/2024 11:30



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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-16__687923_Collections by
2024-05-31\check_images\79108                   Securitization.pdf                        9026       9/26/2022 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-16__701771_Collections by
2024-05-31\check_images\79108                   Securitization.pdf                        6307      10/26/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-16__717804_Collections by
2024-05-31\check_images\79108                   Securitization.pdf                        8221       12/1/2022 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-16__728397_Collections by
2024-05-31\check_images\79108                   Securitization.pdf                        8416      12/28/2022 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-16__740963_Collections by
2024-05-31\check_images\79108                   Securitization 01202023.pdf               2569      6/13/2024 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-16__757100_Collections by
2024-05-31\check_images\79108                   Securitization 02232023.pdf               2977      6/13/2024 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-16__766420_Collections by
2024-05-31\check_images\79108                   Securitization.pdf                        8218       3/22/2023 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-16__782971_Collections by
2024-05-31\check_images\79108                   Securitization.pdf                        8415       4/28/2023 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-16__794606_Collections by
2024-05-31\check_images\79108                   Securitization.pdf                        8218       5/25/2023 8:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-16__810181_Collections by
2024-05-31\check_images\79108                   Securitization.pdf                      31281        6/28/2023 9:43



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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-16__821663_Collections by
2024-05-31\check_images\79108                   Securitization.pdf                      30573       7/26/2023 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-16__859978_Collections by
2024-05-31\check_images\79108                   Securitization.pdf                      31388      10/19/2023 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-16__861864_Collections by
2024-05-31\check_images\79108                   Securitization.pdf                      30423      10/26/2023 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-16__854689_Collections by
2024-05-31\check_images\79108                   Securitization Combined.pdf             36260      10/19/2023 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-16__869239_Collections by
2024-05-31\check_images\79108                   Securitization.pdf                      31359       11/9/2023 7:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-16__885014_Collections by
2024-05-31\check_images\79108                   Securitization.pdf                      31216      12/15/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-16__901570_Collections by
2024-05-31\check_images\79108                   Securitization.pdf                      30610       1/25/2024 7:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-16__896977_Collections by
2024-05-31\check_images\79108                   Securitization.pdf                      30558       1/12/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-16__903453_Collections by
2024-05-31\check_images\79108                   Securitization.pdf                      28909       1/30/2024 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-16__916090_Collections by
2024-05-31\check_images\79108                   Securitization.pdf                      31476       2/27/2024 7:42



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-16__929259_Collections by
2024-05-31\check_images\79108                   Securitization.pdf                      31574        3/28/2024 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-16__946793_Collections by
2024-05-31\check_images\79108                   Securitization.pdf                      32235         5/6/2024 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-16__957329_Collections by
2024-05-31\check_images\79108                   Securitization 05242024.pdf             46855        5/30/2024 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-20__633149_Collections by
2024-05-31\check_images\79109                   Securitization 05182022.pdf               2950      6/13/2024 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-20__651611_Collections by
2024-05-31\check_images\79109                   Securitization 06272022.pdf               4080      6/13/2024 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-20__652931_Collections by
2024-05-31\check_images\79109                   Securitization 06292022.pdf               3695      6/13/2024 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-20__658345_Collections by
2024-05-31\check_images\79109                   Securitization.pdf                        8420       7/18/2022 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-20__672880_Collections by
2024-05-31\check_images\79109                   Securitization.pdf                        8223       8/19/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-20__686821_Collections by
2024-05-31\check_images\79109                   Securitization 09162022.pdf               2383      6/13/2024 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-20__701138_Collections by
2024-05-31\check_images\79109                   Securitization.pdf                        8780      10/25/2022 7:46



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-20__713605_Collections by
2024-05-31\check_images\79109                   Securitization.pdf                        8593      11/22/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-20__725760_Collections by
2024-05-31\check_images\79109                   Securitization.pdf                        8421      12/20/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-20__740962_Collections by
2024-05-31\check_images\79109                   Securitization 01202023.pdf               2569      6/13/2024 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-20__752270_Collections by
2024-05-31\check_images\79109                   Securitization.pdf                        8410       2/21/2023 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-20__765323_Collections by
2024-05-31\check_images\79109                   Securitization.pdf                        8779       3/20/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-20__779686_Collections by
2024-05-31\check_images\79109                   Securitization 04172023.pdf               2575      6/13/2024 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-20__793122_Collections by
2024-05-31\check_images\79109                   Securitization.pdf                        8787       5/22/2023 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-20__805748_Collections by
2024-05-31\check_images\79109                   Securitization 06142023.pdf               3139      6/13/2024 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-20__820494_Collections by
2024-05-31\check_images\79109                   Securitization.pdf                      30165        7/24/2023 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-20__833370_Collections by
2024-05-31\check_images\79109                   Securitization.pdf                     181803        8/21/2023 8:39



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-20__845131_Collections by
2024-05-31\check_images\79109                   Securitization.pdf                      30962        9/18/2023 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-20__861402_Collections by
2024-05-31\check_images\79109                   Securitization.pdf                      27974       10/25/2023 8:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-20__873843_Collections by
2024-05-31\check_images\79109                   Securitization.pdf                      31024       11/21/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-20__887652_Collections by
2024-05-31\check_images\79109                   Securitization 12182023.pdf             32743      12/21/2023 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-20__901057_Collections by
2024-05-31\check_images\79109                   Securitization.pdf                      28502        1/23/2024 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-20__912205_Collections by
2024-05-31\check_images\79109                   Securitization 02142024.pdf             32391        2/20/2024 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-20__926546_Collections by
2024-05-31\check_images\79109                   Securitization.pdf                      31672        3/21/2024 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-20__939715_Collections by
2024-05-31\check_images\79109                   Securitization.pdf                      30991        4/22/2024 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-20__953168_Collections by
2024-05-31\check_images\79109                   Securitization.pdf                      30900        5/21/2024 7:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-29__641236_Collections by
2024-05-31\check_images\79111                   Securitization.pdf                        8592        6/7/2022 8:51



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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-29__719732_Collections by
2024-05-31\check_images\79111                   Securitization.pdf                        9023       12/6/2022 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-29__801984_Collections by
2024-05-31\check_images\79111                   Securitization.pdf                        9411        6/8/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-29__883292_Collections by
2024-05-31\check_images\79111                   Securitization.pdf                      30328       12/12/2023 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-07__656609_Collections by
2024-05-31\check_images\79112                   Securitization.pdf                        8786       7/12/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-27__681686_Collections by
2024-05-31\check_images\79115                   Securitization.pdf                        9208        9/7/2022 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-27__693241_Collections by
2024-05-31\check_images\79115                   Securitization.pdf                        8784       10/4/2022 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-27__704702_Collections by
2024-05-31\check_images\79115                   Securitization 10272022.pdf               2775      6/13/2024 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-27__719731_Collections by
2024-05-31\check_images\79115                   Securitization.pdf                        9023       12/6/2022 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-27__731034_Collections by
2024-05-31\check_images\79115                   Securitization.pdf                        8806        1/4/2023 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-27__744747_Collections by
2024-05-31\check_images\79115                   Securitization.pdf                        7956        2/1/2023 8:20



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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-27__761024_Collections by
2024-05-31\check_images\79115                   Securitization 03022023.pdf               4079      6/13/2024 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-27__772951_Collections by
2024-05-31\check_images\79115                   Securitization.pdf                        8800        4/4/2023 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-27__786673_Collections by
2024-05-31\check_images\79115                   Securitization.pdf                        8401        5/4/2023 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-27__801993_Collections by
2024-05-31\check_images\79115                   Securitization.pdf                        9411        6/8/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-27__813138_Collections by
2024-05-31\check_images\79115                   Securitization.pdf                      31296         7/5/2023 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-27__825084_Collections by
2024-05-31\check_images\79115                   Securitization.pdf                     102380         8/1/2023 8:34
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-27__840188_Collections by
2024-05-31\check_images\79115                   Securitization 08302023.pdf               3727      6/13/2024 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-27__852871_Collections by
2024-05-31\check_images\79115                   Securitization.pdf                      29646        10/3/2023 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-27__864291_Collections by
2024-05-31\check_images\79115                   Securitization.pdf                      28677       10/31/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-27__880291_Collections by
2024-05-31\check_images\79115                   Securitization.pdf                      30766        12/5/2023 8:27



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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-27__894285_Collections by
2024-05-31\check_images\79115                   Securitization.pdf                              31605         1/5/2024 7:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-27__905072_Collections by
2024-05-31\check_images\79115                   Securitization.pdf                              31474         2/1/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-27__918373_30782199 5038.00 Ruben
2024-05-31\check_images\79115                   and Jemma Serrano 03042024.pdf                  92591         3/4/2024 9:17
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-27__930140_Collections by
2024-05-31\check_images\79115                   Securitization.pdf                              30853         4/1/2024 7:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-27__946789_Collections by
2024-05-31\check_images\79115                   Securitization.pdf                              32235         5/6/2024 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-27__960636_Collections by
2024-05-31\check_images\79115                   Securitization.pdf                              10041         6/7/2024 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-15__685195_Collections by
2024-05-31\check_images\79116                   Securitization 09122022.pdf                       2383      6/13/2024 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-15__699592_Collections by
2024-05-31\check_images\79116                   Securitization 10142022.pdf                       2574      6/13/2024 11:32
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-15__710711_Collections by
2024-05-31\check_images\79116                   Securitization.pdf                                8604      11/15/2022 8:08
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-15__724563_Collections by
2024-05-31\check_images\79116                   Securitization.pdf                                6302     12/15/2022 13:16



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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-15__737176_Collections by
2024-05-31\check_images\79116                   Securitization.pdf                        8606       1/17/2023 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-15__751527_Collections by
2024-05-31\check_images\79116                   Securitization.pdf                        8995       2/16/2023 8:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-15__764737_Collections by
2024-05-31\check_images\79116                   Securitization.pdf                        8783       3/16/2023 7:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-15__777130_Collections by
2024-05-31\check_images\79116                   Securitization.pdf                        8604       4/14/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-15__789707_Collections by
2024-05-31\check_images\79116                   Securitization.pdf                        9232       5/12/2023 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-15__804935_Collections by
2024-05-31\check_images\79116                   Securitization.pdf                        8790       6/15/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-15__819579_Collections by
2024-05-31\check_images\79116                   Securitization.pdf                      31684        7/19/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-15__830474_Collections by
2024-05-31\check_images\79116                   Securitization 08092023.pdf               2779      6/13/2024 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-15__844754_Collections by
2024-05-31\check_images\79116                   Securitization.pdf                      31157        9/15/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-15__859101_Collections by
2024-05-31\check_images\79116                   Securitization.pdf                      30561       10/17/2023 7:56



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-15__872302_Collections by
2024-05-31\check_images\79116                   Securitization.pdf                      30783       11/16/2023 7:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-15__885016_Collections by
2024-05-31\check_images\79116                   Securitization.pdf                      31216       12/15/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-15__896976_Collections by
2024-05-31\check_images\79116                   Securitization.pdf                      30558        1/12/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-15__911708_Collections by
2024-05-31\check_images\79116                   Securitization.pdf                      30701        2/15/2024 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-15__924241_Collections by
2024-05-31\check_images\79116                   Securitization 03122024.pdf             54223        3/15/2024 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-15__936678_Collections by
2024-05-31\check_images\79116                   Securitization.pdf                      31638        4/15/2024 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-15__951812_Collections by
2024-05-31\check_images\79116                   Securitization.pdf                      31331        5/16/2024 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-01__708523_Collections by
2024-05-31\check_images\79117                   Securitization.pdf                        9211       11/8/2022 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-01__721689_Collections by
2024-05-31\check_images\79117                   Securitization.pdf                        8219       12/9/2022 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__734724_Collections by
2024-05-31\check_images\79117                   Securitization.pdf                        9402       1/10/2023 8:24



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__745725_Collections by
2024-05-31\check_images\79117                   Securitization.pdf                        8601        2/2/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__761042_Collections by
2024-05-31\check_images\79117                   Securitization 03022023.pdf               4079      6/13/2024 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__774414_Collections by
2024-05-31\check_images\79117                   Securitization.pdf                        9949        4/6/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__787499_Collections by
2024-05-31\check_images\79117                   Securitization.pdf                        9967        5/8/2023 9:48
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__799812_Collections by
2024-05-31\check_images\79117                   Securitization 05312023.pdf               4084      6/13/2024 11:32
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__814710_Collections by
2024-05-31\check_images\79117                   Securitization.pdf                      28273        7/10/2023 8:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__827754_Collections by
2024-05-31\check_images\79117                   Securitization.pdf                     114137         8/4/2023 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__842208_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__855123_Collections by
2024-05-31\check_images\79117                   Securitization.pdf                      32433      10/10/2023 10:56
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__866823_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__882212_Collections by
2024-05-31\check_images\79117                   Securitization.pdf                      31102        12/8/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__895373_Collections by
2024-05-31\check_images\79117                   Securitization.pdf                      31952         1/9/2024 7:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__911181_Collections by
2024-05-31\check_images\79117                   Securitization.pdf                      30052        2/14/2024 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__919836_Collections by
2024-05-31\check_images\79117                   Securitization.pdf                      32339         3/5/2024 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__934127_Collections by
2024-05-31\check_images\79117                   Securitization.pdf                      31771         4/5/2024 7:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__946164_Collections by
2024-05-31\check_images\79117                   Securitization 04292024.pdf             33919         5/2/2024 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-29__712284_Collections by
2024-05-31\check_images\79118                   Securitization.pdf                        8221      11/17/2022 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-17__739564_Collections by
2024-05-31\check_images\79121                   Securitization.pdf                        8212       1/20/2023 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-30__746619_Collections by
2024-05-31\check_images\79123                   Securitization.pdf                        8217        2/6/2023 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-28__760118_Collections by
2024-05-31\check_images\79123                   Securitization 03012023.pdf               3713      6/13/2024 11:33



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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-30__770554_Collections by
2024-05-31\check_images\79123                   Securitization.pdf                        8607       3/30/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-30__784603_Collections by
2024-05-31\check_images\79123                   Securitization.pdf                        8596        5/2/2023 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-30__800835_Collections by
2024-05-31\check_images\79123                   Securitization.pdf                        8407        6/6/2023 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-30__814451_Collections by
2024-05-31\check_images\79123                   Securitization.pdf                      31640         7/6/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-30__823544_Collections by
2024-05-31\check_images\79123                   Securitization.pdf                     129406        7/31/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-30__838956_Collections by
2024-05-31\check_images\79123                   Securitization.pdf                      30469        8/31/2023 7:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-30__850910_Collections by
2024-05-31\check_images\79123                   Securitization.pdf                      31964        9/29/2023 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-30__866816_Collections by
2024-05-31\check_images\79123                   Securitization 10302023.pdf               4835      6/13/2024 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-30__878601_Collections by
2024-05-31\check_images\79123                   Securitization.pdf                      28309        12/1/2023 7:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-30__892002_Collections by
2024-05-31\check_images\79123                   Securitization.pdf                      31844         1/3/2024 8:42



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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-30__905057_Collections by
2024-05-31\check_images\79123                   Securitization.pdf                      31474         2/1/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-29__919832_Collections by
2024-05-31\check_images\79123                   Securitization.pdf                      32339         3/5/2024 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-30__929777_Collections by
2024-05-31\check_images\79123                   Securitization.pdf                      31203        3/29/2024 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-30__946799_Collections by
2024-05-31\check_images\79123                   Securitization.pdf                      32235         5/6/2024 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-30__958117_Collections by
2024-05-31\check_images\79123                   Securitization.pdf                      31216        5/31/2024 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__801997_Collections by
2024-05-31\check_images\79128                   Securitization.pdf                        9411        6/8/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__867267_Collections by
2024-05-31\check_images\79128                   Securitization.pdf                        6304       11/6/2023 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-09__872297_Collections by
2024-05-31\check_images\79131                   Securitization.pdf                      30783       11/16/2023 7:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__896061_Collections by
2024-05-31\check_images\79132                   Securitization.pdf                      31409        1/10/2024 7:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__906459_Collections by
2024-05-31\check_images\79132                   Securitization.pdf                      30866         2/5/2024 7:57



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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__921403_Collections by
2024-05-31\check_images\79132                   Securitization.pdf                      28729         3/7/2024 7:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__935166_Collections by
2024-05-31\check_images\79132                   Securitization.pdf                      31194         4/9/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__948096_Collections by
2024-05-31\check_images\79132                   Securitization.pdf                      28803         5/8/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-24__909157_Collections by
2024-05-31\check_images\79133                   Securitization.pdf                      32078        2/12/2024 8:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-24__929263_Collections by
2024-05-31\check_images\79133                   Securitization.pdf                      31574        3/28/2024 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-24__957327_Collections by
2024-05-31\check_images\79133                   Securitization 05242024.pdf               4083      6/13/2024 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-24__958114_Collections by
2024-05-31\check_images\79133                   Securitization.pdf                      31216        5/31/2024 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-03__928834_Collections by
2024-05-31\check_images\79134                   Securitization.pdf                      29247        3/27/2024 7:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__935539_Collections by
2024-05-31\check_images\79136                   Securitization.pdf                        6307       4/10/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__948097_Collections by
2024-05-31\check_images\79136                   Securitization.pdf                      28803         5/8/2024 7:39



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Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-21__687737_Collections by
2024-05-31\check_images\79260                   Securitization.pdf                         6307       9/23/2022 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-27__888927_Collections by
2024-05-31\check_images\79262                   Securitization.pdf                       29089       12/27/2023 8:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\79270                   2022-04-08__618590_JGW Deposit.pdf      168286       4/19/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-08__629816_Collections by
2024-05-31\check_images\79270                   Securitization 05092022.pdf                2965      6/13/2024 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-08__642663_Collections by
2024-05-31\check_images\79270                   Securitization.pdf                         8591       6/10/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-08__657595_Collections by
2024-05-31\check_images\79270                   Securitization.pdf                         8408       7/14/2022 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-08__670289_Collections by
2024-05-31\check_images\79270                   Securitization 08092022.pdf                2390      6/13/2024 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-08__683833_Collections by
2024-05-31\check_images\79270                   Securitization.pdf                         9406       9/13/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-08__698257_Collections by
2024-05-31\check_images\79270                   Securitization 10122022.pdf                2156      6/13/2024 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-08__710101_Collections by
2024-05-31\check_images\79270                   Securitization.pdf                         8421     11/14/2022 12:15



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-08__723835_Collections by
2024-05-31\check_images\79270                   Securitization.pdf                        8797     12/14/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-08__738385_Collections by
2024-05-31\check_images\79270                   Securitization.pdf                        7954       1/18/2023 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-08__750250_Collections by
2024-05-31\check_images\79270                   Securitization.pdf                        8599       2/14/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-08__763500_Collections by
2024-05-31\check_images\79270                   Securitization.pdf                        7947       3/14/2023 8:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-08__777129_Collections by
2024-05-31\check_images\79270                   Securitization.pdf                        8604       4/14/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-08__790015_Collections by
2024-05-31\check_images\79270                   Securitization 05102023.pdf               3153      6/13/2024 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-08__804312_Collections by
2024-05-31\check_images\79270                   Securitization.pdf                        8403       6/14/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-08__819580_Collections by
2024-05-31\check_images\79270                   Securitization.pdf                      31684        7/19/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-08__831640_Collections by
2024-05-31\check_images\79270                   Securitization.pdf                     183258        8/15/2023 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-08__844752_Collections by
2024-05-31\check_images\79270                   Securitization.pdf                      31157        9/15/2023 7:43



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-08__857948_Collections by
2024-05-31\check_images\79270                   Securitization.pdf                      30670       10/16/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-08__871967_Collections by
2024-05-31\check_images\79270                   Securitization 11102023.pdf             43188      11/15/2023 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-08__885357_Collections by
2024-05-31\check_images\79270                   Securitization 12132023.pdf             32493       12/18/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-08__899706_Collections by
2024-05-31\check_images\79270                   Securitization.pdf                      31257        1/18/2024 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-08__912000_Collections by
2024-05-31\check_images\79270                   Securitization.pdf                      28875        2/16/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-08__924234_Collections by
2024-05-31\check_images\79270                   Securitization 03122024.pdf             54223        3/15/2024 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-08__939410_Collections by
2024-05-31\check_images\79270                   Securitization.pdf                      31175        4/18/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-08__951340_Collections by
2024-05-31\check_images\79270                   Securitization.pdf                        6460       5/15/2024 8:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-15__912221_Collections by
2024-05-31\check_images\79272                   Securitization 02142024.pdf             32391        2/20/2024 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-01__625901_Collections by
2024-05-31\check_images\79279                   Securitization 04292022.pdf               2154      6/13/2024 11:34



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-01__642664_Collections by
2024-05-31\check_images\79279                   Securitization.pdf                        8591       6/10/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-01__645354_Collections by
2024-05-31\check_images\79279                   Securitization.pdf                        8790       6/16/2022 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-01__656603_Collections by
2024-05-31\check_images\79279                   Securitization.pdf                        8786       7/12/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-01__667930_Collections by
2024-05-31\check_images\79279                   Securitization.pdf                        9203        8/8/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-01__682840_Collections by
2024-05-31\check_images\79279                   Securitization.pdf                        7949       9/12/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-01__695706_Collections by
2024-05-31\check_images\79279                   Securitization.pdf                        8791      10/10/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-01__709352_Collections by
2024-05-31\check_images\79279                   Securitization.pdf                        7956      11/11/2022 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-01__721690_Collections by
2024-05-31\check_images\79279                   Securitization.pdf                        8219       12/9/2022 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__734731_Collections by
2024-05-31\check_images\79279                   Securitization.pdf                        9402       1/10/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__761023_Collections by
2024-05-31\check_images\79279                   Securitization 03022023.pdf               4079      6/13/2024 11:35



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__761760_Collections by
2024-05-31\check_images\79279                   Securitization 03062023.pdf               2764      6/13/2024 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__774684_Collections by
2024-05-31\check_images\79279                   Securitization.pdf                        9225        4/7/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__787401_Collections by
2024-05-31\check_images\79279                   Securitization.pdf                        9967        5/8/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__802121_Collections by
2024-05-31\check_images\79279                   Securitization.pdf                        8767        6/9/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__816757_Collections by
2024-05-31\check_images\79279                   Securitization.pdf                      31083        7/12/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__829219_Collections by
2024-05-31\check_images\79279                   Securitization.pdf                     182881         8/9/2023 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__843437_Collections by
2024-05-31\check_images\79279                   Securitization.pdf                      31977        9/12/2023 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__857413_Collections by
2024-05-31\check_images\79279                   Securitization 10102023.pdf             32534       10/13/2023 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__872017_Collections by
2024-05-31\check_images\79279                   Securitization 11102023.pdf             43188      11/15/2023 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__884801_Collections by
2024-05-31\check_images\79279                   Securitization.pdf                      31832       12/14/2023 9:21



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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__896063_Collections by
2024-05-31\check_images\79279                   Securitization.pdf                          31409        1/10/2024 7:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__908987_Collections by
2024-05-31\check_images\79279                   Securitization.pdf                          31708         2/9/2024 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__921716_Collections by
2024-05-31\check_images\79279                   Securitization.pdf                          28801        3/11/2024 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__935165_Collections by
2024-05-31\check_images\79279                   Securitization.pdf                          31194         4/9/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__948914_Collections by
2024-05-31\check_images\79279                   Securitization.pdf                          30949         5/9/2024 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-01__613991_Copy of JGW Sutton
2024-05-31\check_images\79280                   Collections March.xlsx                      13132        4/7/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\79280                   2022-05-01__623220_JGW 4 28 2022.pdf        33647       4/28/2022 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-01__635119_Collections by
2024-05-31\check_images\79280                   Securitization 05232022.pdf                   2969      6/13/2024 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-01__651619_Collections by
2024-05-31\check_images\79280                   Securitization 06272022.pdf                   4080      6/13/2024 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-01__664223_Collections by
2024-05-31\check_images\79280                   Securitization.pdf                            9248        8/1/2022 7:44



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-01__677295_Collections by
2024-05-31\check_images\79280                   Securitization 08252022.pdf               2595      6/13/2024 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-01__691411_Collections by
2024-05-31\check_images\79280                   Securitization.pdf                        8417       9/29/2022 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-01__702954_Collections by
2024-05-31\check_images\79280                   Securitization.pdf                        8223      10/28/2022 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-01__716967_Collections by
2024-05-31\check_images\79280                   Securitization.pdf                        9039      11/30/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__729485_Collections by
2024-05-31\check_images\79280                   Securitization.pdf                        8633      12/30/2022 8:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__741538_Collections by
2024-05-31\check_images\79280                   Securitization 01232023.pdf               3158      6/13/2024 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__754583_Collections by
2024-05-31\check_images\79280                   Securitization.pdf                        9443       2/24/2023 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__770555_Collections by
2024-05-31\check_images\79280                   Securitization.pdf                        8607       3/30/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__782969_Collections by
2024-05-31\check_images\79280                   Securitization.pdf                        8415       4/28/2023 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__799194_Collections by
2024-05-31\check_images\79280                   Securitization 05302023.pdf               3519      6/13/2024 11:35



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__811544_Collections by
2024-05-31\check_images\79280                   Securitization.pdf                      29714         7/3/2023 7:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__827360_Collections by
2024-05-31\check_images\79280                   Securitization.pdf                     157010         8/3/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__838957_Collections by
2024-05-31\check_images\79280                   Securitization.pdf                      30469        8/31/2023 7:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__850513_Collections by
2024-05-31\check_images\79280                   Securitization.pdf                      30785        9/28/2023 7:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__866812_Collections by
2024-05-31\check_images\79280                   Securitization 10302023.pdf               4835      6/13/2024 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__878178_Collections by
2024-05-31\check_images\79280                   Securitization.pdf                      28745       11/30/2023 7:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__892035_Collections by
2024-05-31\check_images\79280                   Securitization.pdf                      31012         1/3/2024 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__905070_Collections by
2024-05-31\check_images\79280                   Securitization.pdf                      31474         2/1/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__917386_Collections by
2024-05-31\check_images\79280                   Securitization.pdf                      31373        2/29/2024 7:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__933944_Collections by
2024-05-31\check_images\79280                   Securitization.pdf                      32309         4/4/2024 8:34



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               All Paths/Locations                                 Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__942027_Collections by
2024-05-31\check_images\79280                   Securitization.pdf                       30591        4/29/2024 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\79281                   2022-04-02__618610_JGW Deposit.pdf      168286       4/19/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-02__622353_Collections by
2024-05-31\check_images\79281                   Securitization 4 23 2022.pdf             33700       4/26/2022 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-02__629814_Collections by
2024-05-31\check_images\79281                   Securitization 05092022.pdf                2965      6/13/2024 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-02__642160_Collections by
2024-05-31\check_images\79281                   Securitization 06062022.pdf                2390      6/13/2024 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-02__656615_Collections by
2024-05-31\check_images\79281                   Securitization.pdf                         8786       7/12/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-02__670029_Collections by
2024-05-31\check_images\79281                   Securitization.pdf                         7951       8/11/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-02__682592_Collections by
2024-05-31\check_images\79281                   Securitization.pdf                         8213        9/9/2022 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-02__697900_Collections by
2024-05-31\check_images\79281                   Securitization.pdf                         8813      10/14/2022 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-02__710099_Collections by
2024-05-31\check_images\79281                   Securitization.pdf                         8421     11/14/2022 12:15



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-02__722849_Collections by
2024-05-31\check_images\79281                   Securitization.pdf                        9222      12/13/2022 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-02__736563_Collections by
2024-05-31\check_images\79281                   Securitization 01092023.pdf               2151      6/13/2024 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-02__748363_Collections by
2024-05-31\check_images\79281                   Securitization.pdf                        8766        2/9/2023 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-02__762471_Collections by
2024-05-31\check_images\79281                   Securitization.pdf                        9823       3/13/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-02__774674_Collections by
2024-05-31\check_images\79281                   Securitization.pdf                        9225        4/7/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-02__789709_Collections by
2024-05-31\check_images\79281                   Securitization.pdf                        9232       5/12/2023 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-02__802345_Collections by
2024-05-31\check_images\79281                   Securitization.pdf                        8222       6/12/2023 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-02__816751_Collections by
2024-05-31\check_images\79281                   Securitization.pdf                      31083        7/12/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-02__830471_Collections by
2024-05-31\check_images\79281                   Securitization 08092023.pdf               2779      6/13/2024 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-02__844494_Collections by
2024-05-31\check_images\79281                   Securitization.pdf                        6310       9/14/2023 8:06



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               All Paths/Locations                                 Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-02__859100_Collections by
2024-05-31\check_images\79281                   Securitization.pdf                       30561       10/17/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-02__871947_Collections by
2024-05-31\check_images\79281                   Securitization 11092023.pdf              31843      11/15/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-02__884807_Collections by
2024-05-31\check_images\79281                   Securitization.pdf                       31832       12/14/2023 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-02__900310_Collections by
2024-05-31\check_images\79281                   Securitization.pdf                       31424        1/22/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-02__908992_Collections by
2024-05-31\check_images\79281                   Securitization.pdf                       31708         2/9/2024 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-02__923445_Collections by
2024-05-31\check_images\79281                   Securitization.pdf                       29778        3/13/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-02__936346_Collections by
2024-05-31\check_images\79281                   Securitization.pdf                       31113        4/12/2024 7:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-02__949054_Collections by
2024-05-31\check_images\79281                   Securitization 05072024.pdf              50371        5/10/2024 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\79282                   2022-04-08__618540_JGW Deposit.pdf      168286       4/19/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-08__627765_Collections by
2024-05-31\check_images\79282                   Securitization 05042022.pdf                2579      6/13/2024 11:36



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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-08__642667_Collections by
2024-05-31\check_images\79282                   Securitization.pdf                        8591       6/10/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-08__655564_Collections by
2024-05-31\check_images\79282                   Securitization.pdf                        8215       7/11/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-08__683831_Collections by
2024-05-31\check_images\79282                   Securitization.pdf                        9406       9/13/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-08__683829_Collections by
2024-05-31\check_images\79282                   Securitization.pdf                        9406       9/13/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-08__695709_Collections by
2024-05-31\check_images\79282                   Securitization.pdf                        8791      10/10/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-08__709359_Collections by
2024-05-31\check_images\79282                   Securitization.pdf                        7954      11/11/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-08__721988_Collections by
2024-05-31\check_images\79282                   Securitization.pdf                        7954      12/12/2022 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-08__735753_Collections by
2024-05-31\check_images\79282                   Securitization.pdf                        8784       1/11/2023 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-08__748361_Collections by
2024-05-31\check_images\79282                   Securitization.pdf                        8766        2/9/2023 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-08__761921_Collections by
2024-05-31\check_images\79282                   Securitization.pdf                        8417       3/10/2023 8:09



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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-08__775028_Collections by
2024-05-31\check_images\79282                   Securitization.pdf                        8218       4/10/2023 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-08__789569_Collections by
2024-05-31\check_images\79282                   Securitization.pdf                        8779       5/11/2023 7:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-08__802126_Collections by
2024-05-31\check_images\79282                   Securitization.pdf                        8767        6/9/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-08__817590_Collections by
2024-05-31\check_images\79282                   Securitization.pdf                      32183        7/13/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-08__833052_Collections by
2024-05-31\check_images\79282                   Securitization.pdf                     183339        8/17/2023 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-08__843434_Collections by
2024-05-31\check_images\79282                   Securitization.pdf                      31977        9/12/2023 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-08__856236_Collections by
2024-05-31\check_images\79282                   Securitization.pdf                      27972       10/11/2023 7:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-08__871949_Collections by
2024-05-31\check_images\79282                   Securitization 11092023.pdf             31843      11/15/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-08__883295_Collections by
2024-05-31\check_images\79282                   Securitization.pdf                      30328       12/12/2023 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-08__896800_Collections by
2024-05-31\check_images\79282                   Securitization.pdf                      31483        1/11/2024 8:01



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-08__908993_Collections by
2024-05-31\check_images\79282                   Securitization.pdf                      31708         2/9/2024 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-08__924818_Collections by
2024-05-31\check_images\79282                   Securitization.pdf                      30862        3/18/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-08__936343_Collections by
2024-05-31\check_images\79282                   Securitization.pdf                      31113        4/12/2024 7:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-08__948921_Collections by
2024-05-31\check_images\79282                   Securitization.pdf                      30949         5/9/2024 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-23__622253_Collections by
2024-05-31\check_images\79285                   Securitization 4 22 2022.pdf            32068       4/26/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-23__632843_Collections by
2024-05-31\check_images\79285                   Securitization 05202022.pdf               7955       5/20/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-23__648306_Collections by
2024-05-31\check_images\79285                   Securitization 06212022.pdf               2584      6/13/2024 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-23__660426_Collections by
2024-05-31\check_images\79285                   Securitization.pdf                        6309       7/22/2022 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-23__674319_Collections by
2024-05-31\check_images\79285                   Securitization 08172022.pdf               2583      6/13/2024 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-23__687925_Collections by
2024-05-31\check_images\79285                   Securitization.pdf                        9026       9/26/2022 7:58



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 536 of
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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-23__701139_Collections by
2024-05-31\check_images\79285                   Securitization.pdf                        8780      10/25/2022 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-23__715861_Collections by
2024-05-31\check_images\79285                   Securitization 11212022.pdf               2781      6/13/2024 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-23__727406_Collections by
2024-05-31\check_images\79285                   Securitization.pdf                        8410      12/23/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-23__739678_Collections by
2024-05-31\check_images\79285                   Securitization.pdf                        8212       1/23/2023 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-23__754581_Collections by
2024-05-31\check_images\79285                   Securitization.pdf                        9443       2/24/2023 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-23__766796_Collections by
2024-05-31\check_images\79285                   Securitization.pdf                        7951       3/23/2023 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-23__781146_Collections by
2024-05-31\check_images\79285                   Securitization.pdf                        8409       4/25/2023 8:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-23__793123_Collections by
2024-05-31\check_images\79285                   Securitization.pdf                        8787       5/22/2023 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-23__810184_Collections by
2024-05-31\check_images\79285                   Securitization.pdf                      31281        6/28/2023 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-23__823091_Collections by
2024-05-31\check_images\79285                   Securitization.pdf                      28821        7/28/2023 7:33



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-23__835028_Collections by
2024-05-31\check_images\79285                   Securitization.pdf                     180803        8/24/2023 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-23__847264_Collections by
2024-05-31\check_images\79285                   Securitization.pdf                      29837        9/22/2023 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-23__860170_Collections by
2024-05-31\check_images\79285                   Securitization 10172023.pdf               2772      6/13/2024 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-23__876057_Collections by
2024-05-31\check_images\79285                   Securitization 11202023.pdf               2791      6/13/2024 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-23__887852_Collections by
2024-05-31\check_images\79285                   Securitization.pdf                      30919       12/22/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-23__901573_Collections by
2024-05-31\check_images\79285                   Securitization.pdf                      30610        1/25/2024 7:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-23__914592_Collections by
2024-05-31\check_images\79285                   Securitization.pdf                      30644        2/26/2024 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-23__926758_Collections by
2024-05-31\check_images\79285                   Securitization.pdf                      30446        3/22/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-23__939716_Collections by
2024-05-31\check_images\79285                   Securitization.pdf                      30991        4/22/2024 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-23__954778_Collections by
2024-05-31\check_images\79285                   Securitization.pdf                      31189        5/28/2024 8:05



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               All Paths/Locations                                 Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\79286                   2022-04-26__618539_JGW Deposit.pdf      168286       4/19/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-26__635117_Collections by
2024-05-31\check_images\79286                   Securitization 05232022.pdf                2969      6/13/2024 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-26__648618_Collections by
2024-05-31\check_images\79286                   Securitization.pdf                         8419       6/27/2022 8:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-26__661751_Collections by
2024-05-31\check_images\79286                   Securitization 07212022.pdf                2969      6/13/2024 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-26__677291_Collections by
2024-05-31\check_images\79286                   Securitization 08252022.pdf                2595      6/13/2024 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-26__687922_Collections by
2024-05-31\check_images\79286                   Securitization.pdf                         9026       9/26/2022 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-26__702310_Collections by
2024-05-31\check_images\79286                   Securitization.pdf                         8600      10/27/2022 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-26__715877_Collections by
2024-05-31\check_images\79286                   Securitization 11212022.pdf                2781      6/13/2024 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-26__727407_Collections by
2024-05-31\check_images\79286                   Securitization.pdf                         8410      12/23/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-26__741537_Collections by
2024-05-31\check_images\79286                   Securitization 01232023.pdf                3158      6/13/2024 11:38



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-26__754572_Collections by
2024-05-31\check_images\79286                   Securitization.pdf                        9443       2/24/2023 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-26__766971_Collections by
2024-05-31\check_images\79286                   Securitization.pdf                        8415       3/24/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-26__782688_Collections by
2024-05-31\check_images\79286                   Securitization.pdf                        7955       4/27/2023 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-26__794712_Collections by
2024-05-31\check_images\79286                   Securitization.pdf                        8599       5/26/2023 8:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-26__810183_Collections by
2024-05-31\check_images\79286                   Securitization.pdf                      31281        6/28/2023 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-26__823090_Collections by
2024-05-31\check_images\79286                   Securitization.pdf                      28821        7/28/2023 7:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-26__835111_Collections by
2024-05-31\check_images\79286                   Securitization.pdf                      31442        8/25/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-26__847638_Collections by
2024-05-31\check_images\79286                   Securitization.pdf                      29441        9/25/2023 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-26__862230_Collections by
2024-05-31\check_images\79286                   Securitization.pdf                      30920       10/27/2023 7:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-26__876053_Collections by
2024-05-31\check_images\79286                   Securitization 11202023.pdf               2791      6/13/2024 11:38



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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-26__887959_Collections by
2024-05-31\check_images\79286                   Securitization.pdf                        6305      12/26/2023 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-26__901756_Collections by
2024-05-31\check_images\79286                   Securitization.pdf                      31059        1/26/2024 7:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-26__916092_Collections by
2024-05-31\check_images\79286                   Securitization.pdf                      31476        2/27/2024 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-26__929260_Collections by
2024-05-31\check_images\79286                   Securitization.pdf                      31574        3/28/2024 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-26__941681_Collections by
2024-05-31\check_images\79286                   Securitization.pdf                      30833        4/26/2024 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-26__954774_Collections by
2024-05-31\check_images\79286                   Securitization.pdf                      31189        5/28/2024 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-01__627773_Collections by
2024-05-31\check_images\79287                   Securitization 05042022.pdf               2579      6/13/2024 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-01__641235_Collections by
2024-05-31\check_images\79287                   Securitization.pdf                        8592        6/7/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-01__655566_Collections by
2024-05-31\check_images\79287                   Securitization.pdf                        8215       7/11/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-01__670028_Collections by
2024-05-31\check_images\79287                   Securitization.pdf                        7951       8/11/2022 8:18



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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-13__672878_Collections by
2024-05-31\check_images\79287                   Securitization.pdf                        8223       8/19/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-01__682839_Collections by
2024-05-31\check_images\79287                   Securitization.pdf                        7949       9/12/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-01__696819_Collections by
2024-05-31\check_images\79287                   Securitization.pdf                        6308      10/12/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-01__709361_Collections by
2024-05-31\check_images\79287                   Securitization.pdf                        7952      11/11/2022 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-01__723832_Collections by
2024-05-31\check_images\79287                   Securitization.pdf                        8797     12/14/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__736938_Collections by
2024-05-31\check_images\79287                   Securitization.pdf                        9411       1/13/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__748367_Collections by
2024-05-31\check_images\79287                   Securitization.pdf                        8766        2/9/2023 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__763498_Collections by
2024-05-31\check_images\79287                   Securitization.pdf                        7947       3/14/2023 8:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__776958_Collections by
2024-05-31\check_images\79287                   Securitization.pdf                        8591       4/13/2023 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__789564_Collections by
2024-05-31\check_images\79287                   Securitization.pdf                        8779       5/11/2023 7:40



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__801979_Collections by
2024-05-31\check_images\79287                   Securitization.pdf                        9411        6/8/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__818116_Collections by
2024-05-31\check_images\79287                   Securitization.pdf                      28027        7/17/2023 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__829220_Collections by
2024-05-31\check_images\79287                   Securitization.pdf                     182881         8/9/2023 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-13__833369_Collections by
2024-05-31\check_images\79287                   Securitization.pdf                     181803        8/21/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__850908_Collections by
2024-05-31\check_images\79287                   Securitization.pdf                      31964        9/29/2023 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__861866_Collections by
2024-05-31\check_images\79287                   Securitization.pdf                      30423       10/26/2023 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__902027_Collections by
2024-05-31\check_images\79287                   Securitization 01292024.pdf               2157      6/13/2024 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__896975_Collections by
2024-05-31\check_images\79287                   Securitization.pdf                      30558        1/12/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__896979_Collections by
2024-05-31\check_images\79287                   Securitization.pdf                      30558        1/12/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__916091_Collections by
2024-05-31\check_images\79287                   Securitization.pdf                      31476        2/27/2024 7:42



                                                             541
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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__929257_Collections by
2024-05-31\check_images\79287                   Securitization.pdf                      31574        3/28/2024 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__957345_Collections by
2024-05-31\check_images\79287                   Securitization 05242024.pdf             46855        5/30/2024 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__948911_Collections by
2024-05-31\check_images\79287                   Securitization.pdf                      30949         5/9/2024 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-06__644113_Collections by
2024-05-31\check_images\79290                   Securitization.pdf                        6308       6/14/2022 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-06__655565_Collections by
2024-05-31\check_images\79290                   Securitization.pdf                        8215       7/11/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-06__672879_Collections by
2024-05-31\check_images\79290                   Securitization.pdf                        8223       8/19/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-06__683838_Collections by
2024-05-31\check_images\79290                   Securitization.pdf                        9406       9/13/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-06__695721_Collections by
2024-05-31\check_images\79290                   Securitization.pdf                        7959     10/11/2022 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-06__709356_Collections by
2024-05-31\check_images\79290                   Securitization.pdf                        7954      11/11/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-06__722848_Collections by
2024-05-31\check_images\79290                   Securitization.pdf                        9222      12/13/2022 8:06



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-06__735757_Collections by
2024-05-31\check_images\79290                   Securitization.pdf                        8784       1/11/2023 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-06__749175_Collections by
2024-05-31\check_images\79290                   Securitization 02082023.pdf               2970      6/13/2024 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-06__762422_Collections by
2024-05-31\check_images\79290                   Securitization.pdf                        9823       3/13/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-06__776077_Collections by
2024-05-31\check_images\79290                   Securitization.pdf                        7944       4/11/2023 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-06__789717_Collections by
2024-05-31\check_images\79290                   Securitization.pdf                        9232       5/12/2023 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-06__804311_Collections by
2024-05-31\check_images\79290                   Securitization.pdf                        8403       6/14/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-06__817595_Collections by
2024-05-31\check_images\79290                   Securitization.pdf                      32183        7/13/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-06__830141_Collections by
2024-05-31\check_images\79290                   Securitization.pdf                     182885        8/10/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-06__843435_Collections by
2024-05-31\check_images\79290                   Securitization.pdf                      31977        9/12/2023 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-06__857414_Collections by
2024-05-31\check_images\79290                   Securitization 10102023.pdf             32534       10/13/2023 8:25



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-06__869534_Collections by
2024-05-31\check_images\79290                   Securitization 11082023.pdf               2395      6/13/2024 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-06__882508_Collections by
2024-05-31\check_images\79290                   Securitization.pdf                      31746       12/11/2023 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-06__897180_Collections by
2024-05-31\check_images\79290                   Securitization 01102024.pdf               7955       1/16/2024 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-06__908990_Collections by
2024-05-31\check_images\79290                   Securitization.pdf                      31708         2/9/2024 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-06__923976_Collections by
2024-05-31\check_images\79290                   Securitization.pdf                      28835        3/14/2024 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-06__936347_Collections by
2024-05-31\check_images\79290                   Securitization.pdf                      31113        4/12/2024 7:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-06__948917_Collections by
2024-05-31\check_images\79290                   Securitization.pdf                      30949         5/9/2024 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-01__667125_Collections by
2024-05-31\check_images\79292                   Securitization 08012022.pdf               3692      6/13/2024 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-08__685198_Collections by
2024-05-31\check_images\79292                   Securitization 09122022.pdf               2383      6/13/2024 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-01__695009_Collections by
2024-05-31\check_images\79292                   Securitization.pdf                        8591       10/6/2022 8:28



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-01__708526_Collections by
2024-05-31\check_images\79292                   Securitization.pdf                        9211       11/8/2022 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-01__721252_Collections by
2024-05-31\check_images\79292                   Securitization 12052022.pdf               2382      6/13/2024 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__734005_Collections by
2024-05-31\check_images\79292                   Securitization 01042023.pdf               2765      6/13/2024 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__748364_Collections by
2024-05-31\check_images\79292                   Securitization.pdf                        8766        2/9/2023 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__761428_Collections by
2024-05-31\check_images\79292                   Securitization 03032023.pdf               2765      6/13/2024 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__774413_Collections by
2024-05-31\check_images\79292                   Securitization.pdf                        9949        4/6/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__787404_Collections by
2024-05-31\check_images\79292                   Securitization.pdf                        9967        5/8/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__802124_Collections by
2024-05-31\check_images\79292                   Securitization.pdf                        8767        6/9/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__814588_Collections by
2024-05-31\check_images\79292                   Securitization.pdf                      31454         7/7/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__827976_Collections by
2024-05-31\check_images\79292                   Securitization.pdf                     185664         8/7/2023 8:28



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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__842194_Collections by
2024-05-31\check_images\79292                   Securitization 09012023.pdf               3500      6/13/2024 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__854480_Collections by
2024-05-31\check_images\79292                   Securitization.pdf                      31318        10/5/2023 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__868564_Collections by
2024-05-31\check_images\79292                   Securitization.pdf                      30923        11/8/2023 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__882103_Collections by
2024-05-31\check_images\79292                   Securitization 12042023.pdf             33142        12/7/2023 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__896068_Collections by
2024-05-31\check_images\79292                   Securitization.pdf                      31409        1/10/2024 7:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__908818_Collections by
2024-05-31\check_images\79292                   Securitization.pdf                      31265         2/8/2024 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__920713_Collections by
2024-05-31\check_images\79292                   Securitization.pdf                      30675         3/6/2024 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__934128_Collections by
2024-05-31\check_images\79292                   Securitization.pdf                      31771         4/5/2024 7:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__947660_Collections by
2024-05-31\check_images\79292                   Securitization.pdf                      30959         5/7/2024 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-07__671020_Collections by
2024-05-31\check_images\79293                   Securitization 08102022.pdf               3335      6/13/2024 11:41



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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-07__683841_Collections by
2024-05-31\check_images\79293                   Securitization.pdf                        9406       9/13/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-07__697894_Collections by
2024-05-31\check_images\79293                   Securitization.pdf                        8813      10/14/2022 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-07__709362_Collections by
2024-05-31\check_images\79293                   Securitization.pdf                        7952      11/11/2022 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-07__723865_Collections by
2024-05-31\check_images\79293                   Securitization.pdf                        8797     12/14/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-07__737177_Collections by
2024-05-31\check_images\79293                   Securitization.pdf                        8606       1/17/2023 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-07__750249_Collections by
2024-05-31\check_images\79293                   Securitization.pdf                        8599       2/14/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-07__762458_Collections by
2024-05-31\check_images\79293                   Securitization.pdf                        9823       3/13/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-07__779031_Collections by
2024-05-31\check_images\79293                   Securitization.pdf                        7950       4/19/2023 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-07__790018_Collections by
2024-05-31\check_images\79293                   Securitization 05102023.pdf               3153      6/13/2024 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-07__803528_Collections by
2024-05-31\check_images\79293                   Securitization.pdf                        6306       6/13/2023 8:07



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               All Paths/Locations                                 Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-07__819584_Collections by
2024-05-31\check_images\79293                   Securitization.pdf                      31684       7/19/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-07__830244_Collections by
2024-05-31\check_images\79293                   Securitization.pdf                     182688       8/11/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-07__857947_Collections by
2024-05-31\check_images\79293                   Securitization.pdf                      30670      10/16/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-07__872013_Collections by
2024-05-31\check_images\79293                   Securitization 11102023.pdf             43188     11/15/2023 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-07__885010_Collections by
2024-05-31\check_images\79293                   Securitization.pdf                      31216      12/15/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-07__887156_Collections by
2024-05-31\check_images\79293                   Securitization 12142023.pdf             31616      12/20/2023 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-07__899693_Collections by
2024-05-31\check_images\79293                   Securitization.pdf                      31257       1/18/2024 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-07__909159_Collections by
2024-05-31\check_images\79293                   Securitization.pdf                      32078       2/12/2024 8:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-07__922895_Collections by
2024-05-31\check_images\79293                   Securitization.pdf                      29327       3/12/2024 7:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-07__939413_Collections by
2024-05-31\check_images\79293                   Securitization.pdf                      31175       4/18/2024 7:39



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-07__949052_Collections by
2024-05-31\check_images\79293                   Securitization 05072024.pdf             50371        5/10/2024 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-12__739219_Collections by
2024-05-31\check_images\79296                   Securitization.pdf                        8782       1/19/2023 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-12__752269_Collections by
2024-05-31\check_images\79296                   Securitization.pdf                        8410       2/21/2023 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-12__765322_Collections by
2024-05-31\check_images\79296                   Securitization.pdf                        8779       3/20/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-12__779844_Collections by
2024-05-31\check_images\79296                   Securitization.pdf                        6309       4/21/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-12__792847_Collections by
2024-05-31\check_images\79296                   Securitization 05162023.pdf               2587      6/13/2024 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-12__805420_Collections by
2024-05-31\check_images\79296                   Securitization.pdf                      31629       6/16/2023 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-12__819585_Collections by
2024-05-31\check_images\79296                   Securitization.pdf                      31684        7/19/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-12__833164_Collections by
2024-05-31\check_images\79296                   Securitization.pdf                     181752        8/18/2023 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-12__846249_Collections by
2024-05-31\check_images\79296                   Securitization.pdf                        6309       9/19/2023 8:30



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               All Paths/Locations                                 Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-12__859556_Collections by
2024-05-31\check_images\79296                   Securitization.pdf                          28575      10/18/2023 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-12__873840_Collections by
2024-05-31\check_images\79296                   Securitization.pdf                          31024      11/21/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-12__893631_Collections by
2024-05-31\check_images\79296                   Securitization.pdf                          28963        1/4/2024 7:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-12__900313_Collections by
2024-05-31\check_images\79296                   Securitization.pdf                          31424       1/22/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-12__912207_Collections by
2024-05-31\check_images\79296                   Securitization 02142024.pdf                 32391       2/20/2024 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-12__939414_Collections by
2024-05-31\check_images\79296                   Securitization.pdf                          31175       4/18/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-12__952489_Collections by
2024-05-31\check_images\79296                   Securitization.pdf                          31993       5/20/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-12__957335_Collections by
2024-05-31\check_images\79296                   Securitization 05242024.pdf                 46855       5/30/2024 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-22__835110_Collections by
2024-05-31\check_images\79298                   Securitization.pdf                          31442       8/25/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-01__675739_3394751-13-6000.00
2024-05-31\check_images\79353                   USD.pdf                                     31879      8/26/2022 14:19



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               All Paths/Locations                              Unified Title              File Size   Primary Date/Time
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__837291_item-3_3739619-3-
2024-05-31\check_images\79353                   6000.00 USD.pdf                                36359      8/29/2023 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-10__895666_item-10_42468523-10-
2024-05-31\check_images\79368                   1875.14 USD.pdf                                74716       1/9/2024 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-10__910181_item-14_42526560-14-
2024-05-31\check_images\79368                   1875.14 USD.pdf                                67506      2/12/2024 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-10__922235_item-33_42577385-33-
2024-05-31\check_images\79368                   1875.14 USD.pdf                                69697       3/11/2024 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-10__940622_item-18_42630986-18-
2024-05-31\check_images\79368                   1875.14 USD.pdf                                78089      4/23/2024 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-10__949003_item-2_42686526-2-
2024-05-31\check_images\79368                   1875.14 USD.pdf                                75664       5/9/2024 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-16__631030_3750296023-32-1150.92
2024-05-31\check_images\79374                   USD.pdf                                        92602      5/16/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-16__644990_3750297691-4-1150.92
2024-05-31\check_images\79374                   USD.pdf                                        95537      6/15/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-16__659381_3750299462-33-1150.92
2024-05-31\check_images\79374                   USD.pdf                                        38572      7/19/2022 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-16__671694_3750301256-1-1150.92
2024-05-31\check_images\79374                   USD.pdf                                        93267      8/15/2022 15:03



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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-16__686236_item-11_3750302908-11-
2024-05-31\check_images\79374                   1150.92 USD.pdf                                109233      9/19/2022 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-16__699221_item-11_3750304516-11-
2024-05-31\check_images\79374                   1150.92 USD.pdf                                 93355     10/17/2022 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-16__711455_item-36_3750306132-36-
2024-05-31\check_images\79374                   1150.92 USD.pdf                                104593     11/15/2022 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-16__725235_item-7_3750307864-7-
2024-05-31\check_images\79374                   1150.92 USD.pdf                                 96943     12/19/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-16__738235_item-35_3750309634-35-
2024-05-31\check_images\79374                   1150.92 USD.pdf                                 92824       1/17/2023 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-16__751927_item-1_3750311202-1-
2024-05-31\check_images\79374                   1150.92 USD.pdf                                 77790       2/17/2023 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-16__766828_item-14_3750312770-14-
2024-05-31\check_images\79374                   1150.92 USD.pdf                                 92740       3/23/2023 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-16__777992_item-30_3750314400-30-
2024-05-31\check_images\79374                   1150.92 USD.pdf                                 99751      4/17/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-16__791368_item-28_3750316033-28-
2024-05-31\check_images\79374                   1185.45 USD.pdf                                100806      5/15/2023 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-16__805762_item-5_3750317666-5-
2024-05-31\check_images\79374                   1185.45 USD.pdf                                 97153      6/20/2023 10:09



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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-16__818675_item-31_3750319437-31-
2024-05-31\check_images\79374                   1185.45 USD.pdf                                 95428      7/17/2023 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-16__832203_item-8_3750321156-8-
2024-05-31\check_images\79374                   1185.45 USD.pdf                                 96843      8/15/2023 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-16__845327_item-13_3750322676-13-
2024-05-31\check_images\79374                   1185.45 USD.pdf                                 91246       9/18/2023 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-16__859057_item-44_3750324236-44-
2024-05-31\check_images\79374                   1185.45 USD.pdf                                103031      10/16/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-16__872444_item-2_3750325919-2-
2024-05-31\check_images\79374                   1185.45 USD.pdf                                103869     11/16/2023 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-16__890727_item-37_3750327527-37-
2024-05-31\check_images\79374                   1185.45 USD.pdf                                 92284     12/29/2023 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-16__898621_item-37_3750329243-37-
2024-05-31\check_images\79374                   1185.45 USD.pdf                                 75232      1/16/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-16__913251_item-13_3750330902-13-
2024-05-31\check_images\79374                   1185.45 USD.pdf                                 76606      2/20/2024 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-16__925312_item-27_3750332445-27-
2024-05-31\check_images\79374                   1185.45 USD.pdf                                 99676       3/18/2024 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-16__937680_item-28_3750333997-28-
2024-05-31\check_images\79374                   1185.45 USD.pdf                                 37699      4/15/2024 17:04



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 555 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-16__951402_item-16_3750335551-16-
2024-05-31\check_images\79374                   1221.01 USD.pdf                                 46994       5/15/2024 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-07__841091_item-29_4300406150-29-
2024-05-31\check_images\79375                   2699.26 USD.pdf                                 85324       9/5/2023 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-07__853388_item-35_4300408054-35-
2024-05-31\check_images\79375                   2699.26 USD.pdf                                 94910      10/3/2023 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-07__867493_item-43_4300409993-43-
2024-05-31\check_images\79375                   2699.26 USD.pdf                                 91115      11/6/2023 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-07__880095_item-39_4300411847-39-
2024-05-31\check_images\79375                   2699.26 USD.pdf                                 67136       12/4/2023 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\79375                   2024-01-07__894290_4300413691 2699.26.pdf      453873        1/5/2024 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-07__907167_item-24_4300415572-24-
2024-05-31\check_images\79375                   2699.26 USD.pdf                                 85171       2/5/2024 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-07__920898_item-37_4300417413-37-
2024-05-31\check_images\79375                   2699.26 USD.pdf                                100802       3/6/2024 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-07__933209_item-19_4300419325-19-
2024-05-31\check_images\79375                   2699.26 USD.pdf                                 75048       4/3/2024 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-07__943025_item-8_4300421249-8-
2024-05-31\check_images\79375                   2699.26 USD.pdf                                 70892      4/29/2024 14:20



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 556 of
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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-01__640973_41434289-19-1265.00
2024-05-31\check_images\79377                   USD.pdf                                       70165        6/6/2022 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-01__653086_41490004-1-1265.00
2024-05-31\check_images\79377                   USD.pdf                                       73227        7/5/2022 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-01__666501_41542432-25-1265.00
2024-05-31\check_images\79377                   USD.pdf                                       71188       8/3/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-01__681692_item-10_41600650-10-
2024-05-31\check_images\79377                   1265.00 USD.pdf                               74222        9/6/2022 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-01__694105_item-22_41653960-22-
2024-05-31\check_images\79377                   1265.00 USD.pdf                               72736      10/4/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-01__707206_item-45_41706527-45-
2024-05-31\check_images\79377                   1265.00 USD.pdf                               70433      11/3/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-01__721511_item-20_41760527-20-
2024-05-31\check_images\79377                   1265.00 USD.pdf                               71317      12/8/2022 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__731320_item-23_41813824-23-
2024-05-31\check_images\79377                   1265.00 USD.pdf                               73144        1/4/2023 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__744925_item-9_41870337-9-
2024-05-31\check_images\79377                   1265.00 USD.pdf                               72709       2/1/2023 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__759583_item-18_41923504-18-
2024-05-31\check_images\79377                   1265.00 USD.pdf                               75333       3/6/2023 10:18



                                                           555
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 557 of
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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__773346_item-13_41981402-13-
2024-05-31\check_images\79377                   1265.00 USD.pdf                               64491       4/4/2023 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__787144_item-14_42033700-14-
2024-05-31\check_images\79377                   1265.00 USD.pdf                               69659        5/5/2023 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__800722_item-1_42091620-1-
2024-05-31\check_images\79377                   1265.00 USD.pdf                               72596       6/5/2023 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__812444_item-40_42144620-40-
2024-05-31\check_images\79377                   1265.00 USD.pdf                               68869        7/3/2023 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__826134_item-37_42195823-37-
2024-05-31\check_images\79377                   1265.00 USD.pdf                               73547       8/1/2023 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__840968_item-2_42250644-2-
2024-05-31\check_images\79377                   1265.00 USD.pdf                               70331        9/5/2023 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__853814_item-19_42301483-19-
2024-05-31\check_images\79377                   1265.00 USD.pdf                               68153       10/4/2023 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__866399_item-8_42355925-8-
2024-05-31\check_images\79377                   1265.00 USD.pdf                               67443      11/1/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__879922_item-40_42408038-40-
2024-05-31\check_images\79377                   1265.00 USD.pdf                               73552       12/4/2023 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__893595_item-14_42459331-14-
2024-05-31\check_images\79377                   1265.00 USD.pdf                               79077       1/3/2024 18:26



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 558 of
                                       3467



               All Paths/Locations                               Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__906081_item-22_42516113-22-
2024-05-31\check_images\79377                   1265.00 USD.pdf                                70261        2/2/2024 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__920516_item-19_42569308-19-
2024-05-31\check_images\79377                   1265.00 USD.pdf                                68569       3/5/2024 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__933410_item-12_42620612-12-
2024-05-31\check_images\79377                   1265.00 USD.pdf                                74485       4/3/2024 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__947568_item-5_42676207-5-
2024-05-31\check_images\79377                   1265.00 USD.pdf                                74602       5/6/2024 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-05__760328_item-25_1003909-25-
2024-05-31\check_images\79382                   40000.00 USD.pdf                               83439       3/6/2023 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-18__646203_147544877-23-75000.00
2024-05-31\check_images\79390                   USD.pdf                                        54116      6/21/2022 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-18__805590_item-32_147759862-32-
2024-05-31\check_images\79390                   225000.00 USD.pdf                              63815      6/16/2023 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-01__627181_147512561-35-4580.15
2024-05-31\check_images\79395                   USD.pdf                                        48690       5/5/2022 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-01__642187_147531208-30-4580.15
2024-05-31\check_images\79395                   USD.pdf                                        62240        6/9/2022 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-01__653028_147549999-3-4580.15
2024-05-31\check_images\79395                   USD.pdf                                        57879        7/5/2022 9:58



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               All Paths/Locations                              Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-01__663529_147568533-8-4580.15
2024-05-31\check_images\79395                   USD.pdf                                        60791       7/29/2022 9:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-01__679637_147587409-8-4580.15
2024-05-31\check_images\79395                   USD.pdf                                        64953       9/1/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-01__692287_item-9_147605457-9-
2024-05-31\check_images\79395                   4580.15 USD.pdf                                84871      10/3/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-01__704616_item-19_147623236-19-
2024-05-31\check_images\79395                   4580.15 USD.pdf                                55620       11/1/2022 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-01__718085_item-17_147640850-17-
2024-05-31\check_images\79395                   4580.15 USD.pdf                                66514      12/1/2022 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__732863_item-41_147658744-41-
2024-05-31\check_images\79395                   4580.15 USD.pdf                                51852       1/5/2023 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__744896_item-6_147677419-6-
2024-05-31\check_images\79395                   4580.15 USD.pdf                                63583       2/1/2023 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__758264_item-31_147694425-31-
2024-05-31\check_images\79395                   4717.55 USD.pdf                                58516       3/1/2023 10:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__773114_item-31_147713308-31-
2024-05-31\check_images\79395                   4717.55 USD.pdf                                72161        4/3/2023 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__783608_item-9_147729766-9-
2024-05-31\check_images\79395                   4717.55 USD.pdf                                71234       5/1/2023 12:44



                                                           558
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               All Paths/Locations                              Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__798064_item-18_147747495-18-
2024-05-31\check_images\79395                   4717.55 USD.pdf                                63198      5/31/2023 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__813151_item-38_147765211-38-
2024-05-31\check_images\79395                   4717.55 USD.pdf                                58705       7/3/2023 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__827417_item-17_147782128-17-
2024-05-31\check_images\79395                   4717.55 USD.pdf                                54717        8/3/2023 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__840599_item-25_147799249-25-
2024-05-31\check_images\79395                   4717.55 USD.pdf                                57800       9/5/2023 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__852724_item-32_147816106-32-
2024-05-31\check_images\79395                   4717.55 USD.pdf                                59372       10/3/2023 7:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__866844_item-9_147833006-9-
2024-05-31\check_images\79395                   4717.55 USD.pdf                                54951       11/3/2023 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__879217_item-17_147849408-17-
2024-05-31\check_images\79395                   4717.55 USD.pdf                                52833       12/4/2023 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__891867_item-39_147865578-39-
2024-05-31\check_images\79395                   4717.55 USD.pdf                                55783       1/2/2024 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__906877_item-33_147883255-33-
2024-05-31\check_images\79395                   4717.55 USD.pdf                                56140       2/5/2024 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__919620_item-34_147899481-34-
2024-05-31\check_images\79395                   4859.08 USD.pdf                                55360        3/4/2024 9:27



                                                           559
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 561 of
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               All Paths/Locations                              Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__932016_item-16_147915543-16-
2024-05-31\check_images\79395                   4859.08 USD.pdf                                60587       4/2/2024 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__944873_item-19_147932501-19-
2024-05-31\check_images\79395                   4859.08 USD.pdf                                54971       5/1/2024 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-01__705295_item-11_387052-11-
2024-05-31\check_images\79398                   1000.00 USD.pdf                                47450      11/1/2022 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-01__715979_item-28_390482-28-
2024-05-31\check_images\79398                   1000.00 USD.pdf                                46619     11/29/2022 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__730919_item-38_394097-38-
2024-05-31\check_images\79398                   1000.00 USD.pdf                                48578       1/3/2023 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__746344_item-22_397521-22-
2024-05-31\check_images\79398                   1000.00 USD.pdf                                47159        2/3/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__756907_item-34_400830-34-
2024-05-31\check_images\79398                   1000.00 USD.pdf                               146283      2/28/2023 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__772481_item-34_404246-34-
2024-05-31\check_images\79398                   1000.00 USD.pdf                                52324       4/3/2023 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__784796_item-33_407592-33-
2024-05-31\check_images\79398                   1000.00 USD.pdf                                43583       5/2/2023 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__796752_item-12_410968-12-
2024-05-31\check_images\79398                   1000.00 USD.pdf                                45096       5/31/2023 8:08



                                                           560
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 562 of
                                       3467



               All Paths/Locations                              Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__811383_item-30_414511-30-
2024-05-31\check_images\79398                   1000.00 USD.pdf                             47077      6/30/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__825409_item-45_418034-45-
2024-05-31\check_images\79398                   1000.00 USD.pdf                             57341       8/1/2023 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__839602_item-30_421794-30-
2024-05-31\check_images\79398                   1000.00 USD.pdf                             52900       9/1/2023 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__852947_item-41_425229-41-
2024-05-31\check_images\79398                   1000.00 USD.pdf                             50448       10/3/2023 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__867028_item-20_428675-20-
2024-05-31\check_images\79398                   1000.00 USD.pdf                             46010       11/3/2023 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__878351_item-38_432237-38-
2024-05-31\check_images\79398                   1000.00 USD.pdf                             43837     11/30/2023 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__892229_item-17_435844-17-
2024-05-31\check_images\79398                   1000.00 USD.pdf                             48057       1/3/2024 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__904944_item-41_439386-41-
2024-05-31\check_images\79398                   1000.00 USD.pdf                             43683      1/31/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__919741_item-28_442924-28-
2024-05-31\check_images\79398                   1000.00 USD.pdf                             42706        3/4/2024 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__932474_item-14_446342-14-
2024-05-31\check_images\79398                   1000.00 USD.pdf                             42483       4/2/2024 22:36



                                                           561
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 563 of
                                       3467



               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__946377_item-12_449915-12-
2024-05-31\check_images\79398                   1000.00 USD.pdf                                 48192       5/2/2024 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-04__653181_1000266524-37-2500.00
2024-05-31\check_images\79410                   USD.pdf                                         70908       7/5/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-04__667681_1000273310-1-2500.00
2024-05-31\check_images\79410                   USD.pdf                                         76202       8/5/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-04__680462_item-6_1000279419-6-
2024-05-31\check_images\79410                   2500.00 USD.pdf                                 90675        9/6/2022 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-04__693375_item-20_1000285793-20-
2024-05-31\check_images\79410                   2500.00 USD.pdf                                 71732       10/4/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-04__707315_item-11_1000292295-11-
2024-05-31\check_images\79410                   2500.00 USD.pdf                                 74167       11/4/2022 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-04__718790_item-16_1000298562-16-
2024-05-31\check_images\79410                   2500.00 USD.pdf                                 74543      12/5/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-04__734247_item-38_1000304965-38-
2024-05-31\check_images\79410                   2500.00 USD.pdf                                 79208       1/9/2023 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-04__746074_item-5_1000311224-5-
2024-05-31\check_images\79410                   2500.00 USD.pdf                                 76702        2/3/2023 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-04__759835_item-20_1000317505-20-
2024-05-31\check_images\79410                   2500.00 USD.pdf                                 79613       3/6/2023 12:19



                                                           562
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 564 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-04__771930_item-14_1000323856-14-
2024-05-31\check_images\79410                   2500.00 USD.pdf                                 71111       4/3/2023 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-04__789630_item-43_1000330387-43-
2024-05-31\check_images\79410                   2500.00 USD.pdf                                 73676       5/11/2023 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-04__800847_item-4_1000339109-4-
2024-05-31\check_images\79410                   2500.00 USD.pdf                                 72798        6/6/2023 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-04__812580_item-11_1000351408-11-
2024-05-31\check_images\79410                   2500.00 USD.pdf                                 69913        7/3/2023 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-04__827843_item-29_1000361741-29-
2024-05-31\check_images\79410                   2500.00 USD.pdf                                 78831       8/4/2023 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-04__840816_item-5_1000372198-5-
2024-05-31\check_images\79410                   2500.00 USD.pdf                                 70073        9/5/2023 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-04__860171_item-6_1000382443-6-
2024-05-31\check_images\79410                   2500.00 USD.pdf                                 73528      10/20/2023 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-04__871648_item-34_1000392292-34-
2024-05-31\check_images\79410                   2500.00 USD.pdf                                 75989     11/14/2023 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-04__880180_item-30_1000402816-30-
2024-05-31\check_images\79410                   2500.00 USD.pdf                                 74781       12/4/2023 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-04__894798_item-30_1000413394-30-
2024-05-31\check_images\79410                   2500.00 USD.pdf                                 72440       1/8/2024 10:14



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               All Paths/Locations                                 Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-04__906574_item-16_1000423309-16-
2024-05-31\check_images\79410                   2500.00 USD.pdf                                 81628        2/5/2024 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-04__920422_item-30_1000433381-30-
2024-05-31\check_images\79410                   2500.00 USD.pdf                                 79900        3/5/2024 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-04__935412_item-24_1000443763-24-
2024-05-31\check_images\79410                   2500.00 USD.pdf                                 71476        4/9/2024 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-04__947185_item-14_1000453177-14-
2024-05-31\check_images\79410                   2500.00 USD.pdf                                 54048        5/6/2024 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-22__901915_item-30_147878824-30-
2024-05-31\check_images\79415                   3984.38 USD.pdf                                 54987       1/26/2024 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-21__838958_Collections by
2024-05-31\check_images\79424                   Securitization.pdf                              30469        8/31/2023 7:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-02__652925_Collections by
2024-05-31\check_images\79425                   Securitization 06292022.pdf                       3695      6/13/2024 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-02__816072_Collections by
2024-05-31\check_images\79425                   Securitization.pdf                              30706        7/11/2023 8:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-02__667926_Collections by
2024-05-31\check_images\79425                   Securitization.pdf                                9203        8/8/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-02__680448_Collections by
2024-05-31\check_images\79425                   Securitization.pdf                                8409        9/6/2022 8:30



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-02__693255_Collections by
2024-05-31\check_images\79425                   Securitization.pdf                        8784       10/4/2022 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-02__708522_Collections by
2024-05-31\check_images\79425                   Securitization.pdf                        9211       11/8/2022 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-02__722838_Collections by
2024-05-31\check_images\79425                   Securitization.pdf                        9222      12/13/2022 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-02__736934_Collections by
2024-05-31\check_images\79425                   Securitization.pdf                        9411       1/13/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-02__748362_Collections by
2024-05-31\check_images\79425                   Securitization.pdf                        8766        2/9/2023 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-02__760099_Collections by
2024-05-31\check_images\79425                   Securitization 03012023.pdf               3713      6/13/2024 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-02__774410_Collections by
2024-05-31\check_images\79425                   Securitization.pdf                        9949        4/6/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-02__787458_Collections by
2024-05-31\check_images\79425                   Securitization.pdf                        9967        5/8/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-02__801998_Collections by
2024-05-31\check_images\79425                   Securitization.pdf                        9411        6/8/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-02__822488_Collections by
2024-05-31\check_images\79425                   Securitization 05312022.pdf               4255      6/13/2024 11:46



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-02__827960_Collections by
2024-05-31\check_images\79425                   Securitization.pdf                     185664         8/7/2023 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-02__842192_Collections by
2024-05-31\check_images\79425                   Securitization 09012023.pdf               3500      6/13/2024 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-02__855134_Collections by
2024-05-31\check_images\79425                   Securitization.pdf                      32433      10/10/2023 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-02__866825_Collections by
2024-05-31\check_images\79425                   Securitization.pdf                      31511        11/3/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-02__882210_Collections by
2024-05-31\check_images\79425                   Securitization.pdf                      31102        12/8/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-02__895376_Collections by
2024-05-31\check_images\79425                   Securitization.pdf                      31952         1/9/2024 7:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-02__908813_Collections by
2024-05-31\check_images\79425                   Securitization.pdf                      31265         2/8/2024 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-02__919817_Collections by
2024-05-31\check_images\79425                   Securitization.pdf                      32339         3/5/2024 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-02__934134_Collections by
2024-05-31\check_images\79425                   Securitization.pdf                      31771         4/5/2024 7:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-02__946172_Collections by
2024-05-31\check_images\79425                   Securitization 04292024.pdf             33919         5/2/2024 9:05



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-16__645357_Collections by
2024-05-31\check_images\79437                   Securitization.pdf                        8790       6/16/2022 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-16__629958_Collections by
2024-05-31\check_images\79437                   Securitization 05132022.pdf               8226       5/13/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-16__657594_Collections by
2024-05-31\check_images\79437                   Securitization.pdf                        8408       7/14/2022 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-16__670288_Collections by
2024-05-31\check_images\79437                   Securitization 08092022.pdf               2390      6/13/2024 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-16__685804_Collections by
2024-05-31\check_images\79437                   Securitization 09142022.pdf               2779      6/13/2024 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-16__817674_Collections by
2024-05-31\check_images\79437                   Securitization 05312022.pdf               4255      6/13/2024 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-16__697895_Collections by
2024-05-31\check_images\79437                   Securitization.pdf                        8813      10/14/2022 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-16__710712_Collections by
2024-05-31\check_images\79437                   Securitization.pdf                        8604      11/15/2022 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-16__725083_Collections by
2024-05-31\check_images\79437                   Securitization 12142022.pdf               2153      6/13/2024 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-16__737179_Collections by
2024-05-31\check_images\79437                   Securitization.pdf                        8606       1/17/2023 8:26



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-16__750867_Collections by
2024-05-31\check_images\79437                   Securitization.pdf                        6306       2/15/2023 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-16__764092_Collections by
2024-05-31\check_images\79437                   Securitization.pdf                        6307       3/15/2023 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-16__776957_Collections by
2024-05-31\check_images\79437                   Securitization.pdf                        8591       4/13/2023 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-16__790019_Collections by
2024-05-31\check_images\79437                   Securitization 05102023.pdf               3153      6/13/2024 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-16__805423_Collections by
2024-05-31\check_images\79437                   Securitization.pdf                      31629       6/16/2023 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-16__817592_Collections by
2024-05-31\check_images\79437                   Securitization.pdf                      32183        7/13/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-16__833165_Collections by
2024-05-31\check_images\79437                   Securitization.pdf                     181752        8/18/2023 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-16__845129_Collections by
2024-05-31\check_images\79437                   Securitization.pdf                      30955        9/18/2023 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-16__859555_Collections by
2024-05-31\check_images\79437                   Securitization.pdf                      28575       10/18/2023 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-16__874198_Collections by
2024-05-31\check_images\79437                   Securitization.pdf                      29002       11/22/2023 7:46



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 570 of
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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-16__885353_Collections by
2024-05-31\check_images\79437                   Securitization 12132023.pdf             32493       12/18/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-16__899704_Collections by
2024-05-31\check_images\79437                   Securitization.pdf                      31257        1/18/2024 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-16__911999_Collections by
2024-05-31\check_images\79437                   Securitization.pdf                      28875        2/16/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-16__924821_Collections by
2024-05-31\check_images\79437                   Securitization.pdf                      30862        3/18/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-16__938762_Collections by
2024-05-31\check_images\79437                   Securitization.pdf                        6308       4/17/2024 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-16__952488_Collections by
2024-05-31\check_images\79437                   Securitization.pdf                      31993        5/20/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-15__701135_Collections by
2024-05-31\check_images\79447                   Securitization.pdf                        8780      10/25/2022 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-15__713608_Collections by
2024-05-31\check_images\79447                   Securitization.pdf                        8593      11/22/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-15__726955_Collections by
2024-05-31\check_images\79447                   Securitization 1219022.pdf                2582      6/13/2024 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-15__740616_Collections by
2024-05-31\check_images\79447                   Securitization.pdf                        8208       1/24/2023 7:51



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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-15__766100_Collections by
2024-05-31\check_images\79447                   Securitization.pdf                        7953       3/21/2023 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-15__780326_Collections by
2024-05-31\check_images\79447                   Securitization.pdf                        7954       4/24/2023 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-15__793119_Collections by
2024-05-31\check_images\79447                   Securitization.pdf                        8787       5/22/2023 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-15__806431_Collections by
2024-05-31\check_images\79447                   Securitization.pdf                      29583        6/21/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-15__820492_Collections by
2024-05-31\check_images\79447                   Securitization.pdf                      30165        7/24/2023 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-15__834253_Collections by
2024-05-31\check_images\79447                   Securitization.pdf                     182959        8/22/2023 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-15__834259_Collections by
2024-05-31\check_images\79447                   Securitization.pdf                     182959        8/22/2023 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-15__847262_Collections by
2024-05-31\check_images\79447                   Securitization.pdf                      29837        9/22/2023 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-15__860159_Collections by
2024-05-31\check_images\79447                   Securitization 10172023.pdf               2772      6/13/2024 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-15__874197_Collections by
2024-05-31\check_images\79447                   Securitization.pdf                      29002       11/22/2023 7:46



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               All Paths/Locations                                 Unified Title          File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-15__891983_Collections by
2024-05-31\check_images\79447                   Securitization.pdf                            31844         1/3/2024 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-15__900311_Collections by
2024-05-31\check_images\79447                   Securitization.pdf                            31424        1/22/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-15__914583_Collections by
2024-05-31\check_images\79447                   Securitization.pdf                            30644        2/26/2024 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-15__926147_Collections by
2024-05-31\check_images\79447                   Securitization.pdf                              6305       3/20/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-15__939714_Collections by
2024-05-31\check_images\79447                   Securitization.pdf                            30991        4/22/2024 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-15__952487_Collections by
2024-05-31\check_images\79447                   Securitization.pdf                            31993        5/20/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-03__905462_item-28_5268562-28-
2024-05-31\check_images\79520                   15000.00 USD.pdf                              65758        2/1/2024 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-15__746866_item-6_23770036-6-
2024-05-31\check_images\79521                   625.00 USD.pdf                                60023         2/6/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-15__748575_item-7_23773598-7-
2024-05-31\check_images\79521                   625.00 USD.pdf                                55071        2/9/2023 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-15__760971_item-13_23816872-13-
2024-05-31\check_images\79521                   625.00 USD.pdf                                56586        3/7/2023 18:28



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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-15__775278_item-43_23861655-43-
2024-05-31\check_images\79521                   625.00 USD.pdf                                57819      4/10/2023 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-15__788599_item-30_23903865-30-
2024-05-31\check_images\79521                   625.00 USD.pdf                                58275       5/9/2023 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-15__802237_item-27_23947568-27-
2024-05-31\check_images\79521                   625.00 USD.pdf                                63064       6/9/2023 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-15__814681_item-4_23988049-4-
2024-05-31\check_images\79521                   625.00 USD.pdf                                60584       7/7/2023 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-15__828881_item-26_24030809-26-
2024-05-31\check_images\79521                   625.00 USD.pdf                                58840        8/7/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-15__843060_item-25_24075015-25-
2024-05-31\check_images\79521                   625.00 USD.pdf                                59558      9/11/2023 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-15__854728_item-12_24115062-12-
2024-05-31\check_images\79521                   625.00 USD.pdf                                58957       10/6/2023 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-15__868649_item-28_24160847-28-
2024-05-31\check_images\79521                   625.00 USD.pdf                                58906       11/8/2023 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-15__882424_item-25_24206315-25-
2024-05-31\check_images\79521                   625.00 USD.pdf                                61880      12/8/2023 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-15__895102_item-43_24248778-43-
2024-05-31\check_images\79521                   625.00 USD.pdf                                62244       1/8/2024 10:20



                                                           572
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-15__909452_item-16_24298479-16-
2024-05-31\check_images\79521                   625.00 USD.pdf                                     60415      2/12/2024 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-15__922610_item-32_24343479-32-
2024-05-31\check_images\79521                   625.00 USD.pdf                                     55584      3/11/2024 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-15__935497_item-7_24388379-7-
2024-05-31\check_images\79521                   625.00 USD.pdf                                     57787       4/9/2024 18:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-15__947944_item-1_24435096-1-
2024-05-31\check_images\79521                   625.00 USD.pdf                                     61129       5/7/2024 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-30__810002_M and T Checks for 6 27
2024-05-31\check_images\79539                   2023 II_Part2.pdf                                 348791      6/27/2023 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-30__810120_33718131 75000.00 M
2024-05-31\check_images\79539                   and T Bank 06272023.pdf                           240524       6/28/2023 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-30__826198_M and T Bank Checks for 7
2024-05-31\check_images\79539                   31 2023_Part4.pdf                                 451721       8/1/2023 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-30__835305_M and T Check for 8 28
2024-05-31\check_images\79539                   2023_Part3.pdf                                    402735       8/28/2023 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-30__853711_M and T Checks for 10 2
2024-05-31\check_images\79539                   2023_Part3.pdf                                    413309      10/3/2023 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-30__864609_M and T Bank Checks for
2024-05-31\check_images\79539                   10 31 2023_Part6.pdf                              403386     10/31/2023 11:22



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-30__878701_M and T Bank Checks for
2024-05-31\check_images\79539                   12 1 2023_Part2.pdf                               410831       12/1/2023 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-30__890841_M and T Bank Check for 12
2024-05-31\check_images\79539                   29 2023 II_Part2.pdf                              466183     12/29/2023 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-30__902201_MT Bank Checks for 1 29
2024-05-31\check_images\79539                   2024 I_Part4.pdf                                  417333      1/29/2024 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-29__920060_M and T Bank Checks for 3
2024-05-31\check_images\79539                   4 2024_Part6.pdf                                  409697       3/4/2024 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\79539                   2024-03-30__928851_C Jerry 03272024.pdf           407125       3/27/2024 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-30__941678_M and T Bank Checks for 4
2024-05-31\check_images\79539                   25 2024.pdf                                       914153       4/26/2024 6:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\79539                   2024-05-30__954419_C Jerry 05242024.pdf           370363      5/24/2024 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-02__700252_9932_1000251680-8-
2024-05-31\check_images\79565                   450.00 Rhonda Cowles.pdf                           73267      4/29/2022 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-02__700253_10108_1000258724-5-
2024-05-31\check_images\79565                   450.00 Rhonda Cowles.pdf                           77331       6/1/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-02__700254_10276_1000265155-13-
2024-05-31\check_images\79565                   450.00 Rhonda Cowles.pdf                           80409      6/29/2022 16:31



                                                             574
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-02__700255_10439_1000271044-35-
2024-05-31\check_images\79565                   468.00 Rhonda Cowles.pdf                        78904      7/29/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-02__700256_10578_1000278189
2024-05-31\check_images\79565                   Rhonda Cowles.pdf                              105616      8/31/2022 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-02__700257_10716_item-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  40_1000284795-40-468.00 USD Rhonda
2024-05-31\check_images\79565                   Cowles.pdf                                      75075       10/3/2022 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-02__704089_item-24_1000290954-24-
2024-05-31\check_images\79565                   468.00 USD.pdf                                  76410     10/31/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-02__718008_item-34_1000297357-34-
2024-05-31\check_images\79565                   468.00 USD.pdf                                  77013      12/1/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-02__730628_item-18_1000303294-18-
2024-05-31\check_images\79565                   468.00 USD.pdf                                  57040       1/3/2023 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-02__744196_item-28_1000310035-28-
2024-05-31\check_images\79565                   468.00 USD.pdf                                  54811      1/31/2023 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-02__756022_item-7_1000316258-7-
2024-05-31\check_images\79565                   468.00 USD.pdf                                  79477      2/27/2023 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-02__771022_item-31_1000322900-31-
2024-05-31\check_images\79565                   468.00 USD.pdf                                  78688       3/31/2023 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-02__783085_item-30_1000328136-30-
2024-05-31\check_images\79565                   468.00 USD.pdf                                  75843      4/28/2023 10:05



                                                           575
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 577 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-02__799702_item-18_1000337181-18-
2024-05-31\check_images\79565                   468.00 USD.pdf                                  70073        6/2/2023 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-02__811420_item-41_1000349520-41-
2024-05-31\check_images\79565                   468.00 USD.pdf                                  53922       6/30/2023 8:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-02__824103_item-8_1000359522-8-
2024-05-31\check_images\79565                   486.72 USD.pdf                                  72712      7/31/2023 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-02__839220_item-10_1000369970-10-
2024-05-31\check_images\79565                   486.72 USD.pdf                                  74040      8/31/2023 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-02__851263_item-11_1000379574-11-
2024-05-31\check_images\79565                   486.72 USD.pdf                                  71879      9/29/2023 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-02__863528_item-11_1000390434-11-
2024-05-31\check_images\79565                   486.72 USD.pdf                                  76807     10/30/2023 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-02__878857_item-6_1000399935-6-
2024-05-31\check_images\79565                   486.72 USD.pdf                                  75111      12/1/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-02__891208_item-3_1000409864-3-
2024-05-31\check_images\79565                   486.72 USD.pdf                                  54687       1/2/2024 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-02__906079_item-18_1000421218-18-
2024-05-31\check_images\79565                   486.72 USD.pdf                                  80370        2/2/2024 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-02__918199_item-9_1000431264-9-
2024-05-31\check_images\79565                   486.72 USD.pdf                                  80256        3/1/2024 9:10



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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-02__931329_item-22_1000440501-22-
2024-05-31\check_images\79565                   486.72 USD.pdf                                  54719       4/1/2024 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-02__944150_item-15_1000451392-15-
2024-05-31\check_images\79565                   486.72 USD.pdf                                  80503      4/30/2024 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-01__639001_4491028138-40-290.00
2024-05-31\check_images\79571                   USD.pdf                                         35997       6/1/2022 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-01__653404_4491037444-8-290.00
2024-05-31\check_images\79571                   USD.pdf                                         33107       7/5/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-01__667115_4491047414-41-290.00
2024-05-31\check_images\79571                   USD.pdf                                         42298       8/3/2022 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-01__681147_item-13_4491056619-13-
2024-05-31\check_images\79571                   290.00 USD.pdf                                  37116       9/6/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-01__693918_item-29_4491065456-29-
2024-05-31\check_images\79571                   290.00 USD.pdf                                  46508       10/4/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-01__705840_item-40_4491074161-40-
2024-05-31\check_images\79571                   290.00 USD.pdf                                  43566       11/2/2022 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-01__733824_item-44_4491092424-44-
2024-05-31\check_images\79571                   890.18 USD.pdf                                  44020       1/6/2023 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__767938_item-1_4491117495-1-
2024-05-31\check_images\79571                   890.18 USD.pdf                                  48617       3/27/2023 9:48



                                                           577
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__767941_item-2_4491117496-2-
2024-05-31\check_images\79571                   890.18 USD.pdf                                  50552       3/27/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__767957_item-3_4491117497-3-
2024-05-31\check_images\79571                   290.00 USD.pdf                                  50821       3/27/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__772789_item-33_4491119782-33-
2024-05-31\check_images\79571                   890.18 USD.pdf                                  41836       4/3/2023 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__804358_item-21_3780056681-21-
2024-05-31\check_images\79571                   890.18 USD.pdf                                  94266       6/14/2023 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__811175_item-17_4491148635-17-
2024-05-31\check_images\79571                   890.18 USD.pdf                                  41157      6/30/2023 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__813689_item-27_4491146937-27-
2024-05-31\check_images\79571                   890.18 USD.pdf                                  41601       7/5/2023 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__827874_item-43_4491157004-43-
2024-05-31\check_images\79571                   890.18 USD.pdf                                  47897       8/4/2023 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__841364_item-6_4491166328-6-
2024-05-31\check_images\79571                   890.18 USD.pdf                                  40009       9/6/2023 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__854866_item-6_4491175165-6-
2024-05-31\check_images\79571                   890.18 USD.pdf                                  46301      10/6/2023 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__957744_item-24_4491249286-24-
2024-05-31\check_images\79571                   890.18 USD.pdf                                  38269      5/30/2024 15:18



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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__880589_item-7_4491193338-7-
2024-05-31\check_images\79571                   890.18 USD.pdf                                  45709      12/5/2023 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__894523_item-26_4491202974-26-
2024-05-31\check_images\79571                   890.18 USD.pdf                                  41990       1/5/2024 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__905122_item-19_4491212713-19-
2024-05-31\check_images\79571                   890.18 USD.pdf                                  72346        2/1/2024 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__919696_item-6_4491221525-6-
2024-05-31\check_images\79571                   890.18 USD.pdf                                  39306        3/4/2024 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__932918_item-33_4491230649-33-
2024-05-31\check_images\79571                   890.18 USD.pdf                                  46536        4/3/2024 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__945728_item-40_4491239506-40-
2024-05-31\check_images\79571                   890.18 USD.pdf                                  39267       5/1/2024 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-01__693937_Pages from
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  IFTSBRW20221003_PHL-9582-
2024-05-31\check_images\79572                   4052_100323P868.pdf                             53174      10/4/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-01__705788_item-18_4491073007-18-
2024-05-31\check_images\79572                   1142.60 USD.pdf                                 41706       11/2/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-01__733791_item-21_4491091047-21-
2024-05-31\check_images\79572                   1142.60 USD.pdf                                 43236       1/6/2023 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__768063_item-20_4491117261-20-
2024-05-31\check_images\79572                   1142.60 USD.pdf                                 42575      3/27/2023 13:22



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 581 of
                                       3467



               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__768066_item-21_4491117262-21-
2024-05-31\check_images\79572                   1142.60 USD.pdf                                 43148      3/27/2023 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__768067_item-22_4491117263-22-
2024-05-31\check_images\79572                   1142.60 USD.pdf                                 44515      3/27/2023 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__773042_item-5_4491118642-5-
2024-05-31\check_images\79572                   1142.60 USD.pdf                                 43353       4/3/2023 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__813497_item-43_4491145566-43-
2024-05-31\check_images\79572                   1142.60 USD.pdf                                 44018       7/5/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__800200_item-9_3780056615-9-
2024-05-31\check_images\79572                   1142.60 USD.pdf                                 39234       6/5/2023 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__807932_item-6_4491144057-6-
2024-05-31\check_images\79572                   1142.60 USD.pdf                                 42859      6/26/2023 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__827784_item-10_4491155696-10-
2024-05-31\check_images\79572                   1142.60 USD.pdf                                 48514        8/4/2023 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__841623_item-17_4491165190-17-
2024-05-31\check_images\79572                   1142.60 USD.pdf                                 41793       9/6/2023 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__854762_item-16_4491174012-16-
2024-05-31\check_images\79572                   1142.60 USD.pdf                                 41084       10/6/2023 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__957630_item-2_4491249264-2-
2024-05-31\check_images\79572                   1142.60 USD.pdf                                 37592      5/30/2024 14:14



                                                           580
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 582 of
                                       3467



               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__881469_item-16_4491192143-16-
2024-05-31\check_images\79572                   1142.60 USD.pdf                                 44784       12/6/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__894397_item-32_4491201634-32-
2024-05-31\check_images\79572                   1142.60 USD.pdf                                 41639       1/5/2024 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__905295_item-31_4491211569-31-
2024-05-31\check_images\79572                   1142.60 USD.pdf                                 43783       2/1/2024 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__919653_item-17_4491220355-17-
2024-05-31\check_images\79572                   1142.60 USD.pdf                                 43441        3/4/2024 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__933094_item-1_4491229513-1-
2024-05-31\check_images\79572                   1142.60 USD.pdf                                 44543        4/3/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__945455_item-7_4491238342-7-
2024-05-31\check_images\79572                   1142.60 USD.pdf                                 39256       5/1/2024 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\79644                   2023-06-05__798557_3675332 15000.00.pdf        391777       6/1/2023 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__733342_item-16_33559016-16-
2024-05-31\check_images\79792                   1797.53 USD.pdf                                 90065       1/5/2023 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__743613_item-8_33586833-8-
2024-05-31\check_images\79792                   1797.53 USD.pdf                                 94872      1/30/2023 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__756212_item-24_33614321-24-
2024-05-31\check_images\79792                   1797.53 USD.pdf                                 92687      2/27/2023 10:18



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 583 of
                                       3467



               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__771263_item-20_33642073-20-
2024-05-31\check_images\79792                   1797.53 USD.pdf                               93609      3/31/2023 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__784562_item-41_33669063-41-
2024-05-31\check_images\79792                   1797.53 USD.pdf                               75056       5/1/2023 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__796631_item-25_33694958-25-
2024-05-31\check_images\79792                   1797.53 USD.pdf                               94106      5/30/2023 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__810996_item-31_33722199-31-
2024-05-31\check_images\79792                   1797.53 USD.pdf                               97458      6/29/2023 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__823853_item-35_33751221-35-
2024-05-31\check_images\79792                   1797.53 USD.pdf                               95157      7/31/2023 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__839099_item-22_33778912-22-
2024-05-31\check_images\79792                   1797.53 USD.pdf                               92033      8/31/2023 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__852294_item-24_33804245-24-
2024-05-31\check_images\79792                   1797.53 USD.pdf                               92100      10/2/2023 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__863910_item-6_33830536-6-
2024-05-31\check_images\79792                   1797.53 USD.pdf                               90150     10/30/2023 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__880125_item-14_33859103-14-
2024-05-31\check_images\79792                   1797.53 USD.pdf                               95532       12/4/2023 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__891344_item-39_33896809-39-
2024-05-31\check_images\79792                   1797.53 USD.pdf                               96317       1/2/2024 12:58



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               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__904279_item-6_33923768-6-
2024-05-31\check_images\79792                   1797.53 USD.pdf                                 92403      1/30/2024 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__916029_item-9_33949735-9-
2024-05-31\check_images\79792                   1797.53 USD.pdf                                 56628      2/26/2024 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__929680_item-24_33978993-24-
2024-05-31\check_images\79792                   1797.53 USD.pdf                                 56143      3/28/2024 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__942012_item-21_34003323-21-
2024-05-31\check_images\79792                   1797.53 USD.pdf                                 57692      4/26/2024 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\79796                   2024-05-06__947818_5293276 67554.03.pdf        367612       5/7/2024 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-09__761053_item-15_4491112619-15-
2024-05-31\check_images\79802                   10000.00 USD.pdf                                37721        3/8/2023 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-01__667160_5115432-15-2500.00
2024-05-31\check_images\79831                   USD.pdf                                         60239        8/4/2022 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__743866_item-1_5168637-1-
2024-05-31\check_images\79831                   2500.00 USD.pdf                                 79110       1/31/2023 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__824065_item-20_5217961-20-
2024-05-31\check_images\79831                   2500.00 USD.pdf                                 74847      7/31/2023 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__934468_item-13_4200436380-13-
01 - 2024-05-31\check_images\78744              1803.54 USD.pdf                                 52389        4/8/2024 8:56




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__946751_item-15_4200438896-15-
01 - 2024-05-31\check_images\78744              1803.54 USD.pdf                                 64678        5/6/2024 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-28__917047_item-7_4491218961-7-
01 - 2024-05-31\check_images\78752              601.80 USD.pdf                                  82963      2/27/2024 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-28__928845_item-8_4491227945-8-
01 - 2024-05-31\check_images\78752              601.80 USD.pdf                                  80893       3/27/2024 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-28__943498_item-1_4491236852-1-
01 - 2024-05-31\check_images\78752              601.80 USD.pdf                                  81151      4/29/2024 22:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-28__955189_item-9_4491245734-9-
01 - 2024-05-31\check_images\78752              601.80 USD.pdf                                  86687      5/28/2024 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-01__625311_41362211-17-3105.38
01 - 2024-05-31\check_images\78768              USD.pdf                                         69705        5/2/2022 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-01__637728_41428644-3-3198.54
01 - 2024-05-31\check_images\78768              USD.pdf                                         69572       6/1/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-01__652113_41474832-29-3198.54
01 - 2024-05-31\check_images\78768              USD.pdf                                         69212      6/30/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-01__664295_41526901-8-3198.54
01 - 2024-05-31\check_images\78768              USD.pdf                                         72794        8/1/2022 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-01__678229_41585420-11-3198.54
01 - 2024-05-31\check_images\78768              USD.pdf                                         74214      8/31/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-01__693366_item-3_41638717-3-
01 - 2024-05-31\check_images\78768              3198.54 USD.pdf                                 75261       10/4/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-01__704781_item-10_41690978-10-
01 - 2024-05-31\check_images\78768              3198.54 USD.pdf                                 71420      11/1/2022 10:17




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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-01__719173_item-35_41757090-35-
01 - 2024-05-31\check_images\78768              3198.54 USD.pdf                               78871      12/5/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__730980_item-6_41812266-6-
01 - 2024-05-31\check_images\78768              3198.54 USD.pdf                               72620       1/3/2023 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__746429_item-20_41854572-20-
01 - 2024-05-31\check_images\78768              3198.54 USD.pdf                               69538       2/3/2023 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__759939_item-35_41907664-35-
01 - 2024-05-31\check_images\78768              3198.54 USD.pdf                               69750       3/6/2023 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__773674_item-12_41966728-12-
01 - 2024-05-31\check_images\78768              3198.54 USD.pdf                               71501       4/5/2023 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__784786_item-1_42018451-1-
01 - 2024-05-31\check_images\78768              3198.54 USD.pdf                               67179        5/2/2023 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__799414_item-19_42086546-19-
01 - 2024-05-31\check_images\78768              3294.50 USD.pdf                               70850       6/2/2023 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__814325_item-42_42129786-42-
01 - 2024-05-31\check_images\78768              3294.50 USD.pdf                               69026       7/5/2023 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__825346_item-23_42180160-23-
01 - 2024-05-31\check_images\78768              3294.50 USD.pdf                               66553      7/31/2023 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__839772_item-8_42235620-8-
01 - 2024-05-31\check_images\78768              3294.50 USD.pdf                               76403        9/1/2023 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__852632_item-27_42286370-27-
01 - 2024-05-31\check_images\78768              3294.50 USD.pdf                               72058       10/2/2023 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__866089_item-39_42340522-39-
01 - 2024-05-31\check_images\78768              3294.50 USD.pdf                               73114      11/1/2023 12:07




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 587 of
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               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__879452_item-35_42405503-35-
01 - 2024-05-31\check_images\78768              3294.50 USD.pdf                                 68279       12/4/2023 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__890974_item-22_42443807-22-
01 - 2024-05-31\check_images\78768              3294.50 USD.pdf                                 71416       1/2/2024 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__905932_item-36_42501164-36-
01 - 2024-05-31\check_images\78768              3294.50 USD.pdf                                 81066       2/1/2024 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__918823_item-26_42553767-26-
01 - 2024-05-31\check_images\78768              3294.50 USD.pdf                                 70700       3/4/2024 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__931079_item-11_42616474-11-
01 - 2024-05-31\check_images\78768              3294.50 USD.pdf                                 76510       4/1/2024 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__945231_item-38_42661918-38-
01 - 2024-05-31\check_images\78768              3294.50 USD.pdf                                 66403       5/1/2024 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-28__728380_item-24_4491089252-24-
01 - 2024-05-31\check_images\78813              40000.00 USD.pdf                                93963      12/28/2022 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-17__735359_11107_4300391258
01 - 2024-05-31\check_images\78815              2112.60.pdf                                     97161       1/11/2023 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-17__748891_item-6_4300393181-6-
01 - 2024-05-31\check_images\78815              2112.60 USD.pdf                                 75795      2/10/2023 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-17__761962_item-12_4300395114-12-
01 - 2024-05-31\check_images\78815              2112.60 USD.pdf                                 87056       3/10/2023 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-17__774909_item-20_4300397072-20-
01 - 2024-05-31\check_images\78815              2112.60 USD.pdf                                 92497       4/7/2023 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-17__794199_item-12_4300399106-12-
01 - 2024-05-31\check_images\78815              2112.60 USD.pdf                                 87455       5/24/2023 8:56




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 588 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-17__802712_item-7_4300401035-7-
01 - 2024-05-31\check_images\78815              2112.60 USD.pdf                                 87016      6/12/2023 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-17__815529_item-27_4300402957-27-
01 - 2024-05-31\check_images\78815              2112.60 USD.pdf                                 82392      7/10/2023 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-17__831692_item-32_4300404894-32-
01 - 2024-05-31\check_images\78815              2112.60 USD.pdf                                 91065      8/14/2023 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-17__843208_item-38_4300406779-38-
01 - 2024-05-31\check_images\78815              2112.60 USD.pdf                                 84199      9/11/2023 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-17__856765_item-37_4300408710-37-
01 - 2024-05-31\check_images\78815              2112.60 USD.pdf                                 71672     10/11/2023 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-17__871519_item-39_4300410604-39-
01 - 2024-05-31\check_images\78815              2175.98 USD.pdf                                 89294     11/14/2023 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-17__885923_item-15_4300412453-15-
01 - 2024-05-31\check_images\78815              2175.98 USD.pdf                                 82241     12/18/2023 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-17__897031_item-1_4300414341-1-
01 - 2024-05-31\check_images\78815              2175.98 USD.pdf                                 73009       1/12/2024 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-17__911074_item-17_4300416186-17-
01 - 2024-05-31\check_images\78815              2175.98 USD.pdf                                 71708      2/13/2024 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-17__922206_item-44_4300418022-44-
01 - 2024-05-31\check_images\78815              2175.98 USD.pdf                                 74540      3/11/2024 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-17__937076_item-5_4300419984-5-
01 - 2024-05-31\check_images\78815              2175.98 USD.pdf                                 75109      4/15/2024 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-17__950725_item-16_4300421904-16-
01 - 2024-05-31\check_images\78815              2175.98 USD.pdf                                 68865      5/14/2024 10:36




                                                           587
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 589 of
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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-23__617725_3264412-19-939.66
01 - 2024-05-31\check_images\78827              USD.pdf                                          36032      4/18/2022 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-23__631470_3296602-19-939.66
01 - 2024-05-31\check_images\78827              USD.pdf                                          41515      5/17/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-23__645991_3328808-6-939.66
01 - 2024-05-31\check_images\78827              USD.pdf                                          43156      6/17/2022 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-23__658985_3360937-13-939.66
01 - 2024-05-31\check_images\78827              USD.pdf                                          42821       7/18/2022 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-23__671920_3392687-32-939.66
01 - 2024-05-31\check_images\78827              USD.pdf                                          33832      8/16/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-23__686096_item-31_3424226-31-
01 - 2024-05-31\check_images\78827              939.66 USD.pdf                                   32588      9/19/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-23__698860_item-28_3455304-28-
01 - 2024-05-31\check_images\78827              939.66 USD.pdf                                   39616     10/17/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-23__712741_item-6_3487002-6-939.66
01 - 2024-05-31\check_images\78827              USD.pdf                                          37784      11/18/2022 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-23__725852_item-10_3518362-10-
01 - 2024-05-31\check_images\78827              939.66 USD.pdf                                   34656     12/19/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-23__738448_item-35_3549936-35-
01 - 2024-05-31\check_images\78827              939.66 USD.pdf                                   34662      1/17/2023 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-23__751638_item-23_3581127-23-
01 - 2024-05-31\check_images\78827              939.66 USD.pdf                                   34368       2/16/2023 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-23__765298_item-5_3611930-5-939.66
01 - 2024-05-31\check_images\78827              USD.pdf                                          44836      3/17/2023 13:33




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 590 of
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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-23__778494_item-21_3641850-21-
01 - 2024-05-31\check_images\78827              939.66 USD.pdf                                   36517       4/17/2023 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-23__791407_item-30_3670807-30-
01 - 2024-05-31\check_images\78827              939.66 USD.pdf                                   41782       5/16/2023 7:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-23__806908_item-12_3693782-12-
01 - 2024-05-31\check_images\78827              939.66 USD.pdf                                   34990      6/21/2023 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-23__818573_item-39_3716281-39-
01 - 2024-05-31\check_images\78827              939.66 USD.pdf                                   42012      7/17/2023 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-23__833235_item-32_3737667-32-
01 - 2024-05-31\check_images\78827              939.66 USD.pdf                                   38284       8/18/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-23__845711_item-31_3754586-31-
01 - 2024-05-31\check_images\78827              939.66 USD.pdf                                   38043      9/18/2023 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-23__858412_item-35_3770732-35-
01 - 2024-05-31\check_images\78827              939.66 USD.pdf                                   33253     10/16/2023 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-23__873125_item-13_3784358-13-
01 - 2024-05-31\check_images\78827              939.66 USD.pdf                                   36135     11/17/2023 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-23__886316_item-29_3798159-29-
01 - 2024-05-31\check_images\78827              939.66 USD.pdf                                   39658     12/18/2023 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-23__900199_item-7_3812359-7-939.66
01 - 2024-05-31\check_images\78827              USD.pdf                                          43891       1/19/2024 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-23__913373_item-5_3825953-5-939.66
01 - 2024-05-31\check_images\78827              USD.pdf                                          34900       2/20/2024 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-23__925367_item-35_3833211-35-
01 - 2024-05-31\check_images\78827              939.66 USD.pdf                                   35519       3/18/2024 9:49




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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-23__938445_item-34_3840739-34-
01 - 2024-05-31\check_images\78827              939.66 USD.pdf                                36201      4/16/2024 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-23__952922_item-14_3848144-14-
01 - 2024-05-31\check_images\78827              939.66 USD.pdf                                34187      5/20/2024 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-02__934247_item-17_42622595-17-
01 - 2024-05-31\check_images\78831              7500.00 USD.pdf                               64918       4/5/2024 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-15__643719_33370039-30-1764.77
01 - 2024-05-31\check_images\78833              USD.pdf                                       96294      6/13/2022 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-15__657064_33397217-11-1764.77
01 - 2024-05-31\check_images\78833              USD.pdf                                       98999      7/12/2022 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-15__670578_33424960-40-1764.77
01 - 2024-05-31\check_images\78833              USD.pdf                                      100902      8/12/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-15__683614_item-35_33450330-35-
01 - 2024-05-31\check_images\78833              1764.77 USD.pdf                               95108       9/12/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-15__696781_item-11_33476775-11-
01 - 2024-05-31\check_images\78833              1764.77 USD.pdf                               95867      10/12/2022 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-15__710717_item-10_33503712-10-
01 - 2024-05-31\check_images\78833              1764.77 USD.pdf                               98902      11/15/2022 8:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-15__723342_item-44_33533858-44-
01 - 2024-05-31\check_images\78833              1764.77 USD.pdf                               94678     12/13/2022 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-15__738434_item-17_33571928-17-
01 - 2024-05-31\check_images\78833              1764.77 USD.pdf                              102431      1/17/2023 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-15__749362_item-15_33600103-15-
01 - 2024-05-31\check_images\78833              1764.77 USD.pdf                               92613       2/13/2023 8:39




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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-15__763163_item-42_33626676-42-
01 - 2024-05-31\check_images\78833              1764.77 USD.pdf                               91881       3/13/2023 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-15__777346_item-19_33654788-19-
01 - 2024-05-31\check_images\78833              1764.77 USD.pdf                               92292      4/14/2023 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-15__790321_item-20_33681348-20-
01 - 2024-05-31\check_images\78833              1764.77 USD.pdf                               96173      5/15/2023 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-15__803461_item-31_33706356-31-
01 - 2024-05-31\check_images\78833              1764.77 USD.pdf                               99406      6/12/2023 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-15__817856_item-44_33734972-44-
01 - 2024-05-31\check_images\78833              1764.77 USD.pdf                               93783      7/13/2023 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-15__830740_item-19_33764155-19-
01 - 2024-05-31\check_images\78833              1764.77 USD.pdf                               98635      8/14/2023 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-15__847587_item-7_33789650-7-
01 - 2024-05-31\check_images\78833              1764.77 USD.pdf                               69914      9/22/2023 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-15__857682_item-23_33816331-23-
01 - 2024-05-31\check_images\78833              1764.77 USD.pdf                              103893     10/13/2023 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-15__871086_item-6_33842825-6-
01 - 2024-05-31\check_images\78833              1764.77 USD.pdf                              103297     11/14/2023 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-15__883875_item-33_33873000-33-
01 - 2024-05-31\check_images\78833              1764.77 USD.pdf                              110982     12/12/2023 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-15__897773_item-36_33909224-36-
01 - 2024-05-31\check_images\78833              1764.77 USD.pdf                              107236      1/16/2024 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-15__910470_item-41_33936420-41-
01 - 2024-05-31\check_images\78833              1764.77 USD.pdf                               99811       2/12/2024 9:53




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               All Paths/Locations                               Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-15__922695_item-2_33962392-2-
01 - 2024-05-31\check_images\78833              1764.77 USD.pdf                                  58529       3/11/2024 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-15__936967_item-2_33990009-2-
01 - 2024-05-31\check_images\78833              1764.77 USD.pdf                                  52465      4/15/2024 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-15__950658_item-38_34015147-38-
01 - 2024-05-31\check_images\78833              1764.77 USD.pdf                                  62611      5/14/2024 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-04__731680_item-20_3522611-20-
01 - 2024-05-31\check_images\78843              15000.00 USD.pdf                                 34227       1/3/2023 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-01__718714_item-15_2392369-15-
01 - 2024-05-31\check_images\78856              12500.00 USD.pdf                                 37954      12/2/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__880613_item-20_2410198-20-
01 - 2024-05-31\check_images\78856              12500.00 USD.pdf                                 31350      12/4/2023 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78865              2022-12-20__726212_item-71_2265_31_30.pdf        78807     12/19/2022 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78865              2023-12-20__885381_item-140_2265_34_17.pdf       78490      12/18/2023 7:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78880              2023-11-17__871704_item-11_2265_26_11.pdf        75519      11/15/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78880              2023-12-17__885731_item-64_2265_31_3.pdf         76883     12/18/2023 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78880              2024-01-17__899845_item-33_2265_39_33.pdf        73996       1/18/2024 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78880              2024-02-17__912156_item-37_2265_27_18.pdf        73009       2/16/2024 9:41




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               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78880              2024-03-17__925726_item-9_2265_34_9.pdf         73532       3/19/2024 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78880              2024-04-17__939434_item-10_2265_41_9.pdf        74984       4/18/2024 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78880              2024-05-17__951341_item-19_2265_28_19.pdf       75047       5/15/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-14__899354_item-6_42475225-6-
01 - 2024-05-31\check_images\78884              10000.00 USD.pdf                                76615      1/17/2024 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-01__688825_item-23_4025190-23-
01 - 2024-05-31\check_images\78903              2510.00 USD.pdf                                 40820      9/26/2022 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__769851_item-3_4074122-3-
01 - 2024-05-31\check_images\78903              2510.00 USD.pdf                                 44838      3/28/2023 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__847845_item-7_4123917-7-
01 - 2024-05-31\check_images\78903              2510.00 USD.pdf                                 41015      9/25/2023 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__931277_item-37_4174768-37-
01 - 2024-05-31\check_images\78903              2510.00 USD.pdf                                 38181       4/1/2024 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-13__724051_item-18_999441-18-
01 - 2024-05-31\check_images\78905              10000.00 USD.pdf                                78814     12/14/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-13__882770_item-21_1000018945-21-
01 - 2024-05-31\check_images\78905              1277.90 USD.pdf                                 52691     12/11/2023 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-13__895501_item-13_1000022865-13-
01 - 2024-05-31\check_images\78905              1277.90 USD.pdf                                 52212        1/9/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-13__909644_item-14_1000026360-14-
01 - 2024-05-31\check_images\78905              1277.90 USD.pdf                                 56616      2/12/2024 13:03




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               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-13__922869_item-20_1000029652-20-
01 - 2024-05-31\check_images\78905              1277.90 USD.pdf                                 58363       3/11/2024 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-13__935524_item-33_1000033069-33-
01 - 2024-05-31\check_images\78905              1277.90 USD.pdf                                 47699       4/9/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-13__949860_item-31_1000036621-31-
01 - 2024-05-31\check_images\78905              1277.90 USD.pdf                                 54448      5/13/2024 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-13__723410_item-25_30686577-25-
01 - 2024-05-31\check_images\78906              10000.00 USD.pdf                                99164     12/12/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-13__882758_item-4_30764065-4-
01 - 2024-05-31\check_images\78906              1270.00 USD.pdf                                 93566     12/11/2023 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-13__897994_item-36_30772748-36-
01 - 2024-05-31\check_images\78906              1270.00 USD.pdf                                 98304      1/16/2024 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-13__909972_item-14_30779488-14-
01 - 2024-05-31\check_images\78906              1270.00 USD.pdf                                105314      2/12/2024 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-13__921652_item-3_30785118-3-
01 - 2024-05-31\check_images\78906              1270.00 USD.pdf                                 55772       3/8/2024 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-13__935621_item-20_30791740-20-
01 - 2024-05-31\check_images\78906              1270.00 USD.pdf                                 61870       4/10/2024 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-13__950579_item-26_30798404-26-
01 - 2024-05-31\check_images\78906              1270.00 USD.pdf                                 68503       5/14/2024 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-15__618967_1000205459-6-760.91
01 - 2024-05-31\check_images\78911              USD.pdf                                         70260      4/19/2022 19:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-15__628961_1000211286-44-760.91
01 - 2024-05-31\check_images\78911              USD.pdf                                         63307      5/10/2022 16:19




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-15__643482_1000217115-10-760.91
01 - 2024-05-31\check_images\78911              USD.pdf                                         64142      6/13/2022 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-15__655723_1000222782-42-760.91
01 - 2024-05-31\check_images\78911              USD.pdf                                         64971      7/11/2022 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-15__670955_1000228591-5-760.91
01 - 2024-05-31\check_images\78911              USD.pdf                                         67803      8/15/2022 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-15__682878_item-15_1000234325-15-
01 - 2024-05-31\check_images\78911              760.91 USD.pdf                                  47074       9/12/2022 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-15__696323_item-36_1000239963-36-
01 - 2024-05-31\check_images\78911              760.91 USD.pdf                                  64866     10/11/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-15__710624_item-16_1000245789-16-
01 - 2024-05-31\check_images\78911              760.91 USD.pdf                                  66228     11/14/2022 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-15__722150_item-22_1000251233-22-
01 - 2024-05-31\check_images\78911              760.91 USD.pdf                                  67713     12/12/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-15__734686_item-25_1000256887-25-
01 - 2024-05-31\check_images\78911              760.91 USD.pdf                                  57935       1/9/2023 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-15__749333_item-16_1000262540-16-
01 - 2024-05-31\check_images\78911              760.91 USD.pdf                                  64174      2/13/2023 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-15__762675_item-13_1000268083-13-
01 - 2024-05-31\check_images\78911              760.91 USD.pdf                                  67845      3/13/2023 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-15__776357_item-25_1000273556-25-
01 - 2024-05-31\check_images\78911              760.91 USD.pdf                                  58143      4/11/2023 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-15__790453_item-3_1000279078-3-
01 - 2024-05-31\check_images\78911              760.91 USD.pdf                                  66569      5/15/2023 13:18




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-15__802880_item-13_1000284539-13-
01 - 2024-05-31\check_images\78911              760.91 USD.pdf                                  74487      6/12/2023 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-15__816487_item-10_1000290023-10-
01 - 2024-05-31\check_images\78911              760.91 USD.pdf                                  59124      7/11/2023 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-15__830555_item-24_1000295642-24-
01 - 2024-05-31\check_images\78911              760.91 USD.pdf                                  75169      8/14/2023 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-15__842675_item-17_1000300960-17-
01 - 2024-05-31\check_images\78911              760.91 USD.pdf                                  68591      9/11/2023 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-15__858425_item-40_1000306383-40-
01 - 2024-05-31\check_images\78911              760.91 USD.pdf                                  58782     10/16/2023 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-15__869742_item-22_1000311885-22-
01 - 2024-05-31\check_images\78911              760.91 USD.pdf                                  54093     11/13/2023 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-15__883056_item-40_1000317247-40-
01 - 2024-05-31\check_images\78911              760.91 USD.pdf                                  37662      12/11/2023 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-15__897722_item-12_1000322654-12-
01 - 2024-05-31\check_images\78911              760.91 USD.pdf                                  55876      1/16/2024 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-15__909314_item-21_1000327941-21-
01 - 2024-05-31\check_images\78911              760.91 USD.pdf                                  55893      2/12/2024 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-15__922709_item-19_1000333243-19-
01 - 2024-05-31\check_images\78911              760.91 USD.pdf                                  51132       3/11/2024 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-15__937355_item-39_1000338502-39-
01 - 2024-05-31\check_images\78911              760.91 USD.pdf                                  49958      4/15/2024 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-15__950591_item-19_1000343761-19-
01 - 2024-05-31\check_images\78911              760.91 USD.pdf                                  48029       5/13/2024 9:27




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 598 of
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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-01__653799_4491037892-2-5000.00
01 - 2024-05-31\check_images\78918              USD.pdf                                          32143       7/5/2022 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__733733_item-19_4491092861-19-
01 - 2024-05-31\check_images\78918              5000.00 USD.pdf                                  40913       1/6/2023 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__835673_item-10_4491164054-10-
01 - 2024-05-31\check_images\78918              5000.00 USD.pdf                                  55835      8/28/2023 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__894539_item-34_4491203398-34-
01 - 2024-05-31\check_images\78918              5000.00 USD.pdf                                  40042       1/5/2024 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-07__628541_684292-33-1875.54
01 - 2024-05-31\check_images\78927              USD.pdf                                          40582      5/10/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-07__642760_689048-34-1875.54
01 - 2024-05-31\check_images\78927              USD.pdf                                          45339      6/10/2022 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-07__657171_693265-34-1875.54
01 - 2024-05-31\check_images\78927              USD.pdf                                          39837       7/13/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-07__669208_697939-7-1875.54
01 - 2024-05-31\check_images\78927              USD.pdf                                          43479       8/9/2022 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-07__683830_item-37_702466-37-
01 - 2024-05-31\check_images\78927              1875.54 USD.pdf                                  44788       9/13/2022 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-07__696214_item-13_706520-13-
01 - 2024-05-31\check_images\78927              1875.54 USD.pdf                                  39401     10/11/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-07__708900_item-6_711740-6-1875.54
01 - 2024-05-31\check_images\78927              USD.pdf                                          42775      11/8/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-07__721817_item-1_716636-1-1875.54
01 - 2024-05-31\check_images\78927              USD.pdf                                          39113      12/9/2022 13:26




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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-07__736474_item-40_721015-40-
01 - 2024-05-31\check_images\78927              1875.54 USD.pdf                                  39771      1/11/2023 20:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-07__747534_item-41_726397-41-
01 - 2024-05-31\check_images\78927              1875.54 USD.pdf                                  40897       2/7/2023 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-07__760773_item-30_730978-30-
01 - 2024-05-31\check_images\78927              1875.54 USD.pdf                                  41751       3/7/2023 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-07__775175_item-32_735555-32-
01 - 2024-05-31\check_images\78927              1875.54 USD.pdf                                  45267      4/10/2023 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-07__788078_item-6_740221-6-1875.54
01 - 2024-05-31\check_images\78927              USD.pdf                                          40137        5/8/2023 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-07__802276_item-38_744612-38-
01 - 2024-05-31\check_images\78927              1875.54 USD.pdf                                  42811       6/9/2023 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-07__814763_item-2_748739-2-1875.54
01 - 2024-05-31\check_images\78927              USD.pdf                                          38464       7/10/2023 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-07__828874_item-21_753347-21-
01 - 2024-05-31\check_images\78927              1875.54 USD.pdf                                  41597        8/7/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-07__842954_item-10_758062-10-
01 - 2024-05-31\check_images\78927              1875.54 USD.pdf                                  42618      9/11/2023 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-07__855611_item-19_762427-19-
01 - 2024-05-31\check_images\78927              1875.54 USD.pdf                                  44048     10/10/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-07__868268_item-6_768254-6-1875.54
01 - 2024-05-31\check_images\78927              USD.pdf                                          45472      11/7/2023 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-07__883004_item-33_772422-33-
01 - 2024-05-31\check_images\78927              1875.54 USD.pdf                                  41049      12/11/2023 9:56




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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-07__895053_item-35_777392-35-
01 - 2024-05-31\check_images\78927              1875.54 USD.pdf                                  39755       1/8/2024 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-07__909461_item-18_782529-18-
01 - 2024-05-31\check_images\78927              1875.54 USD.pdf                                  44844      2/12/2024 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-07__923977_Check 786822 and Advice
01 - 2024-05-31\check_images\78927              Letter 1875.54.pdf                              652760       3/14/2024 7:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-07__934627_item-10_791806-10-
01 - 2024-05-31\check_images\78927              1875.54 USD.pdf                                  43637        4/8/2024 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-07__949154_item-43_797328-43-
01 - 2024-05-31\check_images\78927              1875.54 USD.pdf                                  47360      5/10/2024 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-09__909809_item-7_4491214611-7-
01 - 2024-05-31\check_images\78930              5000.00 USD.pdf                                  88330      2/12/2024 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__734142_732210_item-
01 - 2024-05-31\check_images\78937              35_33558170-35-2075.00 USD.pdf                   98737       1/4/2023 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__743630_item-18_33586116-18-
01 - 2024-05-31\check_images\78937              2075.00 USD.pdf                                  92961      1/30/2023 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__756225_item-32_33613538-32-
01 - 2024-05-31\check_images\78937              2075.00 USD.pdf                                  92320      2/27/2023 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__770913_item-2_33641373-2-
01 - 2024-05-31\check_images\78937              2075.00 USD.pdf                                  93273       3/31/2023 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__784931_item-9_33668288-9-
01 - 2024-05-31\check_images\78937              2075.00 USD.pdf                                  76379       5/2/2023 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__797245_item-14_33694261-14-
01 - 2024-05-31\check_images\78937              2075.00 USD.pdf                                  96598      5/31/2023 13:19




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 601 of
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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__810980_item-21_33721419-21-
01 - 2024-05-31\check_images\78937              2075.00 USD.pdf                               95715      6/29/2023 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__825432_item-29_33750407-29-
01 - 2024-05-31\check_images\78937              2075.00 USD.pdf                               96172       8/1/2023 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__839040_item-13_33778196-13-
01 - 2024-05-31\check_images\78937              2075.00 USD.pdf                               96178       8/31/2023 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__852261_item-13_33803516-13-
01 - 2024-05-31\check_images\78937              2075.00 USD.pdf                               93991      10/2/2023 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__863818_item-40_33829745-40-
01 - 2024-05-31\check_images\78937              2075.00 USD.pdf                               91943     10/30/2023 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__880671_item-13_33858408-13-
01 - 2024-05-31\check_images\78937              2075.00 USD.pdf                               95327      12/4/2023 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__893091_item-12_33896035-12-
01 - 2024-05-31\check_images\78937              2075.00 USD.pdf                               93099       1/3/2024 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__904308_item-17_33923189-17-
01 - 2024-05-31\check_images\78937              2075.00 USD.pdf                               91231      1/30/2024 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__916134_915226_item-
01 - 2024-05-31\check_images\78937              18_33949157-18-2075.00 USD.pdf                57681       2/26/2024 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__929377_item-26_33978304-26-
01 - 2024-05-31\check_images\78937              2075.00 USD.pdf                               55574       3/28/2024 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__943320_item-15_34002652-15-
01 - 2024-05-31\check_images\78937              2075.00 USD.pdf                               55456      4/29/2024 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-22__619789_1000206225-5-925.00
01 - 2024-05-31\check_images\78939              USD.pdf                                       60059       4/21/2022 9:09




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 602 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-22__632730_1000212037-17-925.00
01 - 2024-05-31\check_images\78939              USD.pdf                                         68894      5/19/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-22__646707_1000217837-33-925.00
01 - 2024-05-31\check_images\78939              USD.pdf                                         74876      6/21/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-22__658388_1000223582-28-925.00
01 - 2024-05-31\check_images\78939              USD.pdf                                         68290       7/18/2022 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-22__673632_1000229332-28-925.00
01 - 2024-05-31\check_images\78939              USD.pdf                                         85251      8/22/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-22__685856_item-14_1000234912-14-
01 - 2024-05-31\check_images\78939              925.00 USD.pdf                                  70350      9/19/2022 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-22__700321_item-30_1000240700-30-
01 - 2024-05-31\check_images\78939              925.00 USD.pdf                                  66029      10/21/2022 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-22__712995_item-29_1000246484-29-
01 - 2024-05-31\check_images\78939              925.00 USD.pdf                                  79788      11/21/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-22__724130_item-39_1000252091-39-
01 - 2024-05-31\check_images\78939              925.00 USD.pdf                                  72628     12/14/2022 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-22__740447_item-12_1000257621-12-
01 - 2024-05-31\check_images\78939              925.00 USD.pdf                                  75325      1/23/2023 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-22__752636_item-45_1000263232-45-
01 - 2024-05-31\check_images\78939              925.00 USD.pdf                                  85948      2/21/2023 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-22__765780_item-36_1000268749-36-
01 - 2024-05-31\check_images\78939              925.00 USD.pdf                                  78678      3/20/2023 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-22__779793_item-22_1000274289-22-
01 - 2024-05-31\check_images\78939              925.00 USD.pdf                                  60954      4/20/2023 13:19




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 603 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-22__792873_item-4_1000279795-4-
01 - 2024-05-31\check_images\78939              925.00 USD.pdf                                  64601       5/19/2023 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-22__806186_item-5_1000285187-5-
01 - 2024-05-31\check_images\78939              925.00 USD.pdf                                  72174      6/20/2023 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-22__819349_item-12_1000290736-12-
01 - 2024-05-31\check_images\78939              925.00 USD.pdf                                  62393      7/18/2023 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-22__833466_item-4_1000296301-4-
01 - 2024-05-31\check_images\78939              925.00 USD.pdf                                  64322      8/21/2023 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-22__845215_item-6_1000301640-6-
01 - 2024-05-31\check_images\78939              925.00 USD.pdf                                  79076       9/18/2023 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-22__860208_item-29_1000307075-29-
01 - 2024-05-31\check_images\78939              925.00 USD.pdf                                  51400     10/20/2023 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-22__873292_item-4_1000312545-4-
01 - 2024-05-31\check_images\78939              925.00 USD.pdf                                  50364     11/20/2023 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-22__883488_item-19_1000318000-19-
01 - 2024-05-31\check_images\78939              925.00 USD.pdf                                  55708      12/12/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-22__900611_item-3_1000323340-3-
01 - 2024-05-31\check_images\78939              925.00 USD.pdf                                  50198      1/22/2024 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-22__912551_item-33_1000328571-33-
01 - 2024-05-31\check_images\78939              925.00 USD.pdf                                  51303       2/20/2024 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-22__927196_item-17_1000333926-17-
01 - 2024-05-31\check_images\78939              925.00 USD.pdf                                  54820      3/25/2024 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-22__939642_item-20_1000339198-20-
01 - 2024-05-31\check_images\78939              925.00 USD.pdf                                  47626       4/19/2024 8:54




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               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-22__953383_item-14_1000344398-14-
01 - 2024-05-31\check_images\78939              925.00 USD.pdf                                  50922      5/21/2024 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-01__636402_5097518-14-5000.00
01 - 2024-05-31\check_images\78948              USD.pdf                                         89256      5/27/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-01__650376_5107512-15-2817.92
01 - 2024-05-31\check_images\78948              USD.pdf                                         57480      6/28/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__730099_item-45_5159635-45-
01 - 2024-05-31\check_images\78948              2817.92 USD.pdf                                 81219       1/3/2023 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__808080_item-10_5210158-10-
01 - 2024-05-31\check_images\78948              2817.92 USD.pdf                                 81172      6/26/2023 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__891186_item-1_5258806-1-
01 - 2024-05-31\check_images\78948              2817.92 USD.pdf                                 79478       1/2/2024 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-15__631558_33343909-39-13537.27
01 - 2024-05-31\check_images\78954              USD.pdf                                        101890       5/13/2022 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-15__643669_33369384-24-13537.27
01 - 2024-05-31\check_images\78954              USD.pdf                                        100206      6/13/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-15__656968_33396995-2-13537.27
01 - 2024-05-31\check_images\78954              USD.pdf                                        104938      7/12/2022 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-15__670565_33424690-31-13537.27
01 - 2024-05-31\check_images\78954              USD.pdf                                        104586      8/12/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-15__683238_item-43_33450125-43-
01 - 2024-05-31\check_images\78954              13537.27 USD.pdf                                98932      9/12/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-15__696865_item-18_33476570-18-
01 - 2024-05-31\check_images\78954              13537.27 USD.pdf                               100275      10/12/2022 8:37




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               All Paths/Locations                               Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-15__711182_item-13_33503454-13-
01 - 2024-05-31\check_images\78954              13537.27 USD.pdf                              99189     11/15/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-15__723299_item-36_33533656-36-
01 - 2024-05-31\check_images\78954              13537.27 USD.pdf                              99534     12/13/2022 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-15__738424_item-16_33571699-16-
01 - 2024-05-31\check_images\78954              13537.27 USD.pdf                             105031      1/17/2023 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-15__749490_item-25_33599842-25-
01 - 2024-05-31\check_images\78954              13537.27 USD.pdf                              96516       2/13/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-15__762764_item-10_33626444-10-
01 - 2024-05-31\check_images\78954              13537.27 USD.pdf                              94996       3/13/2023 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-15__777324_item-41_33654597-41-
01 - 2024-05-31\check_images\78954              13537.27 USD.pdf                              94727      4/14/2023 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-15__789985_item-35_33681094-35-
01 - 2024-05-31\check_images\78954              13943.39 USD.pdf                             100764      5/12/2023 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-15__803432_item-23_33706164-23-
01 - 2024-05-31\check_images\78954              13943.39 USD.pdf                             103196      6/12/2023 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-15__817746_item-8_33734767-8-
01 - 2024-05-31\check_images\78954              13943.39 USD.pdf                              95603      7/13/2023 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-15__831411_item-39_33763924-39-
01 - 2024-05-31\check_images\78954              13943.39 USD.pdf                             103033      8/14/2023 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-15__847469_item-33_33789473-33-
01 - 2024-05-31\check_images\78954              13943.39 USD.pdf                              61421      9/22/2023 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-15__857711_item-29_33816161-29-
01 - 2024-05-31\check_images\78954              13943.39 USD.pdf                             109877     10/13/2023 11:35




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               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\78954              2023-11-15__871676_13943.39.pdf                113490      11/15/2023 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-15__883843_item-24_33872831-24-
01 - 2024-05-31\check_images\78954              13943.39 USD.pdf                               116310     12/12/2023 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-15__897462_item-18_33908967-18-
01 - 2024-05-31\check_images\78954              13943.39 USD.pdf                                97429      1/16/2024 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-15__910715_item-14_33936235-14-
01 - 2024-05-31\check_images\78954              13943.39 USD.pdf                               103714       2/13/2024 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-15__923127_item-25_33962233-25-
01 - 2024-05-31\check_images\78954              13943.39 USD.pdf                                62067      3/11/2024 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-15__937228_item-1_33989795-1-
01 - 2024-05-31\check_images\78954              13943.39 USD.pdf                                72875      4/15/2024 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-15__949668_item-37_34014947-37-
01 - 2024-05-31\check_images\78954              14361.69 USD.pdf                                65270       5/13/2024 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__892322_item-45_435846-45-
01 - 2024-05-31\check_images\78965              795.00 USD.pdf                                  49082       1/3/2024 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__904559_item-41_439392-41-
01 - 2024-05-31\check_images\78965              795.00 USD.pdf                                  45242      1/31/2024 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__918388_item-18_442909-18-
01 - 2024-05-31\check_images\78965              795.00 USD.pdf                                  42245        3/4/2024 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__932100_item-5_446348-5-795.00
01 - 2024-05-31\check_images\78965              USD.pdf                                         44607       4/2/2024 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__946121_item-3_449889-3-795.00
01 - 2024-05-31\check_images\78965              USD.pdf                                         50386       5/2/2024 10:05




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               All Paths/Locations                              Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-08__684365_item-42_5129899-42-
01 - 2024-05-31\check_images\78969              550.00 USD.pdf                               83093      9/13/2022 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-08__695763_item-12_5138405-12-
01 - 2024-05-31\check_images\78969              550.00 USD.pdf                               87180     10/11/2022 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-08__701132_item-30_5559170-30-
01 - 2024-05-31\check_images\78969              1100.00 USD.pdf                              54439      10/24/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-08__701133_item-30_5559170-30-
01 - 2024-05-31\check_images\78969              1100.00 USD.pdf                              54439      10/24/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-08__708811_item-33_5146880-33-
01 - 2024-05-31\check_images\78969              550.00 USD.pdf                               85605      11/8/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-08__721853_item-18_5155383-18-
01 - 2024-05-31\check_images\78969              550.00 USD.pdf                               89771      12/9/2022 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-08__734353_item-16_5164428-16-
01 - 2024-05-31\check_images\78969              550.00 USD.pdf                               77808       1/9/2023 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-08__749180_item-16_5172808-16-
01 - 2024-05-31\check_images\78969              550.00 USD.pdf                               76338       2/13/2023 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-08__762482_item-20_5181146-20-
01 - 2024-05-31\check_images\78969              550.00 USD.pdf                               75050       3/13/2023 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-08__775703_item-44_5189730-44-
01 - 2024-05-31\check_images\78969              550.00 USD.pdf                               78158      4/10/2023 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-08__787891_item-20_5197800-20-
01 - 2024-05-31\check_images\78969              550.00 USD.pdf                               79175       5/8/2023 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-08__800887_item-14_5206208-14-
01 - 2024-05-31\check_images\78969              550.00 USD.pdf                               78490        6/6/2023 9:42




                                                           606
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 608 of
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               All Paths/Locations                               Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-08__815644_item-14_5214807-14-
01 - 2024-05-31\check_images\78969              550.00 USD.pdf                                   71539      7/10/2023 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-08__828160_item-9_5223127-9-550.00
01 - 2024-05-31\check_images\78969              USD.pdf                                          72895        8/7/2023 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-08__828845_item-44_5223060-44-
01 - 2024-05-31\check_images\78969              23000.00 USD.pdf                                 71240        8/7/2023 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-08__842699_item-38_5231378-38-
01 - 2024-05-31\check_images\78969              550.00 USD.pdf                                   80070      9/11/2023 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-08__854846_item-8_5239452-8-550.00
01 - 2024-05-31\check_images\78969              USD.pdf                                          82753      10/6/2023 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-08__868678_item-41_5247704-41-
01 - 2024-05-31\check_images\78969              550.00 USD.pdf                                   78251      11/8/2023 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-08__882943_item-20_5255472-20-
01 - 2024-05-31\check_images\78969              550.00 USD.pdf                                   77614     12/11/2023 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-08__895406_item-19_5263884-19-
01 - 2024-05-31\check_images\78969              550.00 USD.pdf                                   76832        1/9/2024 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-08__908861_item-12_5271709-12-
01 - 2024-05-31\check_images\78969              550.00 USD.pdf                                   73178        2/8/2024 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-08__922262_item-26_5279527-26-
01 - 2024-05-31\check_images\78969              550.00 USD.pdf                                   74615      3/11/2024 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-08__935382_item-30_5287400-30-
01 - 2024-05-31\check_images\78969              550.00 USD.pdf                                   91392       4/9/2024 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-08__948138_item-2_5295327-2-550.00
01 - 2024-05-31\check_images\78969              USD.pdf                                          78763        5/8/2024 8:51




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 609 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-04__626483_4491020091-30-275.00
01 - 2024-05-31\check_images\78976              USD.pdf                                         96967       5/4/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-04__640943_4491029228-6-275.00
01 - 2024-05-31\check_images\78976              USD.pdf                                         92828       6/6/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-04__653871_4491039011-31-275.00
01 - 2024-05-31\check_images\78976              USD.pdf                                         34781       7/5/2022 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-04__666553_4491048614-2-275.00
01 - 2024-05-31\check_images\78976              USD.pdf                                         43610       8/3/2022 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-04__681312_item-35_4491057629-35-
01 - 2024-05-31\check_images\78976              275.00 USD.pdf                                  33513        9/6/2022 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-04__694339_item-21_4491066498-21-
01 - 2024-05-31\check_images\78976              275.00 USD.pdf                                  48488      10/5/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-04__708245_item-43_4491075260-43-
01 - 2024-05-31\check_images\78976              275.00 USD.pdf                                  37416       11/7/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-04__720385_item-37_4491084160-37-
01 - 2024-05-31\check_images\78976              275.00 USD.pdf                                  38830      12/6/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-04__731713_item-7_4491093899-7-
01 - 2024-05-31\check_images\78976              275.00 USD.pdf                                  40337       1/4/2023 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-04__747157_item-20_4491103028-20-
01 - 2024-05-31\check_images\78976              275.00 USD.pdf                                  40353       2/6/2023 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-04__759948_item-1_4491111800-1-
01 - 2024-05-31\check_images\78976              275.00 USD.pdf                                  42780       3/6/2023 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-04__773491_item-2_4491120835-2-
01 - 2024-05-31\check_images\78976              275.00 USD.pdf                                  57383       4/4/2023 17:07




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-04__785994_item-1_4491129616-1-
01 - 2024-05-31\check_images\78976              275.00 USD.pdf                                  35918       5/3/2023 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-04__801040_item-11_4491138745-11-
01 - 2024-05-31\check_images\78976              275.00 USD.pdf                                  98658        6/6/2023 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-04__813971_item-21_4491148531-21-
01 - 2024-05-31\check_images\78976              275.00 USD.pdf                                  41561       7/5/2023 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-04__828642_item-10_4491158240-10-
01 - 2024-05-31\check_images\78976              275.00 USD.pdf                                  45891       8/7/2023 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-04__840621_item-6_4491167323-6-
01 - 2024-05-31\check_images\78976              275.00 USD.pdf                                  35926       9/5/2023 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-04__853545_item-11_4491176182-11-
01 - 2024-05-31\check_images\78976              275.00 USD.pdf                                  39988      10/3/2023 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-04__868394_item-45_4491185295-45-
01 - 2024-05-31\check_images\78976              275.00 USD.pdf                                  41237      11/7/2023 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-04__879857_item-23_4491194434-23-
01 - 2024-05-31\check_images\78976              275.00 USD.pdf                                  36502       12/4/2023 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-04__894189_item-10_4491204528-10-
01 - 2024-05-31\check_images\78976              275.00 USD.pdf                                  41154       1/4/2024 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-04__907665_item-21_4491213767-21-
01 - 2024-05-31\check_images\78976              275.00 USD.pdf                                  44598       2/5/2024 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-04__920846_item-11_4491222642-11-
01 - 2024-05-31\check_images\78976              275.00 USD.pdf                                  37622        3/6/2024 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-04__938048_item-3_4491231675-3-
01 - 2024-05-31\check_images\78976              275.00 USD.pdf                                  37916       4/16/2024 9:23




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-04__947795_item-2_4491240541-2-
01 - 2024-05-31\check_images\78976              275.00 USD.pdf                                  49717       5/7/2024 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-04__626479_4491020090-29-184.00
01 - 2024-05-31\check_images\78977              USD.pdf                                         41400       5/4/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-04__640941_4491029227-5-184.00
01 - 2024-05-31\check_images\78977              USD.pdf                                         36720       6/6/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-04__653870_4491039010-32-184.00
01 - 2024-05-31\check_images\78977              USD.pdf                                         91838       7/5/2022 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-04__666551_4491048613-1-184.00
01 - 2024-05-31\check_images\78977              USD.pdf                                         43878       8/3/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-04__681308_item-34_4491057628-34-
01 - 2024-05-31\check_images\78977              184.00 USD.pdf                                 130728        9/6/2022 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-04__694337_item-20_4491066497-20-
01 - 2024-05-31\check_images\78977              184.00 USD.pdf                                  47546      10/5/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-04__708244_item-42_4491075259-42-
01 - 2024-05-31\check_images\78977              184.00 USD.pdf                                  56112       11/7/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-04__720388_item-36_4491084159-36-
01 - 2024-05-31\check_images\78977              184.00 USD.pdf                                  46050      12/6/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-04__731712_item-6_4491093898-6-
01 - 2024-05-31\check_images\78977              184.00 USD.pdf                                  53544       1/4/2023 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-04__747153_item-19_4491103027-19-
01 - 2024-05-31\check_images\78977              184.00 USD.pdf                                  59913       2/6/2023 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-04__759877_item-45_4491111799-45-
01 - 2024-05-31\check_images\78977              184.00 USD.pdf                                  59034        3/6/2023 9:15




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-04__773492_item-3_4491120834-3-
01 - 2024-05-31\check_images\78977              184.00 USD.pdf                                  39798       4/4/2023 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-04__785997_item-3_4491129615-3-
01 - 2024-05-31\check_images\78977              184.00 USD.pdf                                  58120       5/3/2023 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-04__801036_item-10_4491138744-10-
01 - 2024-05-31\check_images\78977              184.00 USD.pdf                                  40933        6/6/2023 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-04__813966_item-20_4491148530-20-
01 - 2024-05-31\check_images\78977              184.00 USD.pdf                                  40868       7/5/2023 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-04__828641_item-9_4491158239-9-
01 - 2024-05-31\check_images\78977              184.00 USD.pdf                                  59644       8/7/2023 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-04__840612_item-5_4491167322-5-
01 - 2024-05-31\check_images\78977              184.00 USD.pdf                                  77793       9/5/2023 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-04__853536_item-10_4491176181-10-
01 - 2024-05-31\check_images\78977              184.00 USD.pdf                                  41136      10/3/2023 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-04__868390_item-44_4491185294-44-
01 - 2024-05-31\check_images\78977              184.00 USD.pdf                                  40862      11/7/2023 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-04__879855_item-22_4491194433-22-
01 - 2024-05-31\check_images\78977              184.00 USD.pdf                                  36140       12/4/2023 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-04__894188_item-9_4491204527-9-
01 - 2024-05-31\check_images\78977              184.00 USD.pdf                                  40575       1/4/2024 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-04__907664_item-20_4491213766-20-
01 - 2024-05-31\check_images\78977              184.00 USD.pdf                                  45176       2/5/2024 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-04__920843_item-10_4491222641-10-
01 - 2024-05-31\check_images\78977              184.00 USD.pdf                                  92645        3/6/2024 8:46




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 613 of
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               All Paths/Locations                               Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-04__938047_item-2_4491231674-2-
01 - 2024-05-31\check_images\78977              184.00 USD.pdf                                37743       4/16/2024 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-04__947796_item-1_4491240540-1-
01 - 2024-05-31\check_images\78977              184.00 USD.pdf                                77309       5/7/2024 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-01__673930_33433846-20-2500.00
01 - 2024-05-31\check_images\78996              USD.pdf                                       93964       8/22/2022 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__824259_item-34_33751132-34-
01 - 2024-05-31\check_images\78996              2500.00 USD.pdf                               99543      7/31/2023 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-06__889902_item-11_3808901-11-
01 - 2024-05-31\check_images\78999              40000.00 USD.pdf                              54642      12/28/2023 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-01__610312_9441977-5-3490.37
01 - 2024-05-31\check_images\79002              USD.pdf                                       32620      3/31/2022 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-01__625985_9466808-12-3490.37
01 - 2024-05-31\check_images\79002              USD.pdf                                       31989       5/4/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-01__639279_9489652-37-3490.37
01 - 2024-05-31\check_images\79002              USD.pdf                                       31754       6/2/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79002              2022-07-01__656672_33382844 3490.37.pdf      312846      7/12/2022 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-01__677288_9560987-3-3490.37
01 - 2024-05-31\check_images\79002              USD.pdf                                       34802       8/30/2022 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-01__684050_item-6_9570498-6-
01 - 2024-05-31\check_images\79002              3490.37 USD.pdf                               37237      9/13/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-01__692113_item-5_9587164-5-
01 - 2024-05-31\check_images\79002              3490.37 USD.pdf                               30435      9/30/2022 14:37




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 614 of
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               All Paths/Locations                              Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-01__704277_item-17_9609674-17-
01 - 2024-05-31\check_images\79002              3490.37 USD.pdf                              37513     10/31/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-01__715980_item-1_9632280-1-
01 - 2024-05-31\check_images\79002              3490.37 USD.pdf                              39271      11/29/2022 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__729680_item-7_9661060-7-
01 - 2024-05-31\check_images\79002              3490.37 USD.pdf                              32444     12/30/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__743777_item-16_9686565-16-
01 - 2024-05-31\check_images\79002              3490.37 USD.pdf                              30595      1/30/2023 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__756591_item-24_9710637-24-
01 - 2024-05-31\check_images\79002              3490.37 USD.pdf                              34975      2/28/2023 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__771709_item-42_9737899-42-
01 - 2024-05-31\check_images\79002              3490.37 USD.pdf                              35202        4/3/2023 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__783181_item-32_9761045-32-
01 - 2024-05-31\check_images\79002              3490.37 USD.pdf                              36913      4/28/2023 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__795776_item-9_9785271-9-
01 - 2024-05-31\check_images\79002              3490.37 USD.pdf                              37735      5/30/2023 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__811285_item-15_9811408-15-
01 - 2024-05-31\check_images\79002              3490.37 USD.pdf                              30838      6/30/2023 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__823692_item-18_9833523-18-
01 - 2024-05-31\check_images\79002              3490.37 USD.pdf                              38390      7/31/2023 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__839239_item-21_9858789-21-
01 - 2024-05-31\check_images\79002              3490.37 USD.pdf                              38880      8/31/2023 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__851277_item-34_9882186-34-
01 - 2024-05-31\check_images\79002              3490.37 USD.pdf                              40424      9/29/2023 13:32




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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__869263_item-19_9906650-19-
01 - 2024-05-31\check_images\79002              3490.37 USD.pdf                               36402       11/9/2023 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__878343_item-32_9931772-32-
01 - 2024-05-31\check_images\79002              3490.37 USD.pdf                               37119     11/30/2023 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__889890_item-32_9957557-32-
01 - 2024-05-31\check_images\79002              3490.37 USD.pdf                               38756      12/28/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__906108_item-21_9985785-21-
01 - 2024-05-31\check_images\79002              3490.37 USD.pdf                               34605        2/2/2024 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__919534_item-24_10012436-24-
01 - 2024-05-31\check_images\79002              3490.37 USD.pdf                               31057       3/4/2024 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__931000_item-39_10037314-39-
01 - 2024-05-31\check_images\79002              3490.37 USD.pdf                               35995       4/1/2024 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__942376_item-4_10062438-4-
01 - 2024-05-31\check_images\79002              3490.37 USD.pdf                               31423      4/29/2024 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-18__738436_item-43_30696289-43-
01 - 2024-05-31\check_images\79003              1617.87 USD.pdf                               89323      1/17/2023 18:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-18__750693_item-35_30702944-35-
01 - 2024-05-31\check_images\79003              1617.87 USD.pdf                               93615      2/14/2023 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-18__764917_item-40_30708744-40-
01 - 2024-05-31\check_images\79003              1617.87 USD.pdf                               91987      3/16/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-18__778545_item-18_30715476-18-
01 - 2024-05-31\check_images\79003              1617.87 USD.pdf                              102706      4/17/2023 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-18__790065_item-6_30720666-6-
01 - 2024-05-31\check_images\79003              1617.87 USD.pdf                              102005      5/15/2023 10:03




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               All Paths/Locations                               Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-18__805443_item-2_30726939-2-
01 - 2024-05-31\check_images\79003              1617.87 USD.pdf                               98926      6/16/2023 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-18__818834_item-14_30733922-14-
01 - 2024-05-31\check_images\79003              1617.87 USD.pdf                              104296      7/17/2023 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79003              2023-08-18__832347_1617.87.pdf                96786       8/16/2023 8:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-18__845142_item-2_30746748-2-
01 - 2024-05-31\check_images\79003              1617.87 USD.pdf                              101867       9/18/2023 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-18__858384_item-40_30751874-40-
01 - 2024-05-31\check_images\79003              1617.87 USD.pdf                               99449     10/16/2023 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-18__872353_item-22_30758265-22-
01 - 2024-05-31\check_images\79003              60000.00 USD.pdf                              57156      11/16/2023 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-18__872355_item-23_30758264-23-
01 - 2024-05-31\check_images\79003              1666.41 USD.pdf                               96256      11/16/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-18__886670_item-44_30766908-44-
01 - 2024-05-31\check_images\79003              1666.41 USD.pdf                               90395     12/19/2023 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-18__899066_item-15_30773563-15-
01 - 2024-05-31\check_images\79003              1666.41 USD.pdf                              103902      1/17/2024 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-18__912335_item-12_30780497-12-
01 - 2024-05-31\check_images\79003              1666.41 USD.pdf                               98835      2/20/2024 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-18__924153_item-3_30786926-3-
01 - 2024-05-31\check_images\79003              1666.41 USD.pdf                               53735       3/14/2024 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-18__937519_item-11_30792524-11-
01 - 2024-05-31\check_images\79003              1666.41 USD.pdf                               54505      4/15/2024 15:07




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-18__950977_item-2_30799052-2-
01 - 2024-05-31\check_images\79003              1666.41 USD.pdf                                 56660      5/14/2024 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-16__659398_4491042023-36-750.00
01 - 2024-05-31\check_images\79056              USD.pdf                                         90360      7/19/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-16__659399_4491042024-35-5000.00
01 - 2024-05-31\check_images\79056              USD.pdf                                         37355      7/19/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-16__699228_item-8_4491069408-8-
01 - 2024-05-31\check_images\79056              750.00 USD.pdf                                  38314     10/17/2022 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-16__738236_item-36_4491097189-36-
01 - 2024-05-31\check_images\79056              750.00 USD.pdf                                  37220       1/17/2023 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-16__777942_item-23_4491123827-23-
01 - 2024-05-31\check_images\79056              750.00 USD.pdf                                  43962      4/17/2023 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-16__818658_item-28_4491151729-28-
01 - 2024-05-31\check_images\79056              750.00 USD.pdf                                  38872      7/17/2023 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-16__859050_item-39_4491179269-39-
01 - 2024-05-31\check_images\79056              750.00 USD.pdf                                  40604      10/16/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-16__898631_item-45_4491207731-45-
01 - 2024-05-31\check_images\79056              750.00 USD.pdf                                  88493      1/16/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-16__937916_item-6_4491234731-6-
01 - 2024-05-31\check_images\79056              750.00 USD.pdf                                  98429      4/15/2024 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-01__652510_373469-42-6500.00
01 - 2024-05-31\check_images\79059              USD.pdf                                         45370        7/1/2022 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__730427_item-18_394002-18-
01 - 2024-05-31\check_images\79059              6500.00 USD.pdf                                 48426       1/3/2023 11:09




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 618 of
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               All Paths/Locations                                 Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-28__765609_item-5_23829873-5-
01 - 2024-05-31\check_images\79069              2250.00 USD.pdf                                 63601       3/20/2023 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-28__806907_item-16_23958472-16-
01 - 2024-05-31\check_images\79069              2250.00 USD.pdf                                 61927       6/21/2023 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-28__847267_item-1_24087358-1-
01 - 2024-05-31\check_images\79069              2250.00 USD.pdf                                 59487        9/22/2023 8:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-28__887914_item-31_24219126-31-
01 - 2024-05-31\check_images\79069              2250.00 USD.pdf                                 61889       12/22/2023 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-28__927428_item-12_24357032-12-
01 - 2024-05-31\check_images\79069              2250.00 USD.pdf                                 60198       3/25/2024 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-10__896894_item-14_4491205719-14-
01 - 2024-05-31\check_images\79070              1741.14 USD.pdf                                 83741       1/11/2024 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-10__910286_item-32_4491214879-32-
01 - 2024-05-31\check_images\79070              1741.14 USD.pdf                                 93358        2/12/2024 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-10__922868_item-19_4491223762-19-
01 - 2024-05-31\check_images\79070              1741.14 USD.pdf                                 94066        3/11/2024 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-10__935443_item-44_4491232807-44-
01 - 2024-05-31\check_images\79070              1741.14 USD.pdf                                 97070        4/9/2024 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-10__949023_item-17_4491241659-17-
01 - 2024-05-31\check_images\79070              1741.14 USD.pdf                                 82238        5/9/2024 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-03-16__613976_Copy of JGW Sutton
01 - 2024-05-31\check_images\79087              Collections March.xlsx                          20238        4/7/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-16__622225_Collections by
01 - 2024-05-31\check_images\79087              Securitization 1.pdf                              2154      10/9/2024 17:19




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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-16__632646_Collections by
01 - 2024-05-31\check_images\79087              Securitization 05162022.pdf               2391      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-16__646108_Collections by
01 - 2024-05-31\check_images\79087              Securitization 06162022.pdf               2152      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-16__659632_Collections by
01 - 2024-05-31\check_images\79087              Securitization.pdf                        6309       7/20/2022 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-16__672638_Collections by
01 - 2024-05-31\check_images\79087              Securitization 08152022.pdf               2391      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-16__686824_Collections by
01 - 2024-05-31\check_images\79087              Securitization 09162022.pdf               2383      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-16__701137_Collections by
01 - 2024-05-31\check_images\79087              Securitization.pdf                        8780      10/25/2022 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-16__712936_Collections by
01 - 2024-05-31\check_images\79087              Securitization.pdf                        6305      11/21/2022 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-16__726956_Collections by
01 - 2024-05-31\check_images\79087              Securitization 1219022.pdf                2582      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-16__739679_Collections by
01 - 2024-05-31\check_images\79087              Securitization.pdf                        8212       1/23/2023 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-16__754580_Collections by
01 - 2024-05-31\check_images\79087              Securitization.pdf                        9443       2/24/2023 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-16__766422_Collections by
01 - 2024-05-31\check_images\79087              Securitization.pdf                        8218       3/22/2023 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-16__779682_Collections by
01 - 2024-05-31\check_images\79087              Securitization 04172023.pdf               2575      10/9/2024 17:19




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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-16__792844_Collections by
01 - 2024-05-31\check_images\79087              Securitization 05162023.pdf               2587      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-16__807465_Collections by
01 - 2024-05-31\check_images\79087              Securitization 06202023.pdf               2767      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-16__819581_Collections by
01 - 2024-05-31\check_images\79087              Securitization.pdf                      31684        7/19/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-16__834255_Collections by
01 - 2024-05-31\check_images\79087              Securitization.pdf                     182959        8/22/2023 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-16__846685_Collections by
01 - 2024-05-31\check_images\79087              Securitization.pdf                      28759        9/20/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-16__860168_Collections by
01 - 2024-05-31\check_images\79087              Securitization 10172023.pdf               2772      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-16__874199_Collections by
01 - 2024-05-31\check_images\79087              Securitization.pdf                      29002       11/22/2023 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-16__887642_Collections by
01 - 2024-05-31\check_images\79087              Securitization 12182023.pdf             32743      12/21/2023 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-16__900312_Collections by
01 - 2024-05-31\check_images\79087              Securitization.pdf                      31424        1/22/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-16__914410_Collections by
01 - 2024-05-31\check_images\79087              Securitization.pdf                      31579        2/23/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-16__926550_Collections by
01 - 2024-05-31\check_images\79087              Securitization.pdf                      31183        3/21/2024 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-16__939596_Collections by
01 - 2024-05-31\check_images\79087              Securitization.pdf                      28843        4/19/2024 7:38




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 621 of
                                       3467



               All Paths/Locations                                 Unified Title        File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-16__953169_Collections by
01 - 2024-05-31\check_images\79087              Securitization.pdf                          30900        5/21/2024 7:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-03-19__613978_Copy of JGW Sutton
01 - 2024-05-31\check_images\79088              Collections March.xlsx                      20232        4/7/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-19__622242_Collections by
01 - 2024-05-31\check_images\79088              Securitization 4 22 2022.pdf                32068       4/26/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-19__634224_Collections by
01 - 2024-05-31\check_images\79088              Securitization 05192022.pdf                   2388      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-19__648305_Collections by
01 - 2024-05-31\check_images\79088              Securitization 06212022.pdf                   2584      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-19__661753_Collections by
01 - 2024-05-31\check_images\79088              Securitization 07212022.pdf                   2969      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-19__674703_Collections by
01 - 2024-05-31\check_images\79088              Securitization 08222022.pdf                   2383      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-19__687924_Collections by
01 - 2024-05-31\check_images\79088              Securitization.pdf                            9026       9/26/2022 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-19__702308_Collections by
01 - 2024-05-31\check_images\79088              Securitization.pdf                            8600      10/27/2022 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-19__715871_Collections by
01 - 2024-05-31\check_images\79088              Securitization 11212022.pdf                   2781      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-19__740964_Collections by
01 - 2024-05-31\check_images\79088              Securitization 01202023.pdf                   2569      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-19__755230_Collections by
01 - 2024-05-31\check_images\79088              Securitization 02222023.pdf                   2154      10/9/2024 17:19




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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-19__766969_Collections by
01 - 2024-05-31\check_images\79088              Securitization.pdf                        8415       3/24/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-19__781145_Collections by
01 - 2024-05-31\check_images\79088              Securitization.pdf                        8409       4/25/2023 8:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-19__910112_Collections by
01 - 2024-05-31\check_images\79088              Securitization 12212022.pdf             12943       2/12/2024 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-19__794607_Collections by
01 - 2024-05-31\check_images\79088              Securitization.pdf                        8218       5/25/2023 8:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-19__810185_Collections by
01 - 2024-05-31\check_images\79088              Securitization.pdf                      31281        6/28/2023 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-19__821380_Collections by
01 - 2024-05-31\check_images\79088              Securitization.pdf                      28452        7/25/2023 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-19__835029_Collections by
01 - 2024-05-31\check_images\79088              Securitization.pdf                     180803        8/24/2023 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-19__847637_Collections by
01 - 2024-05-31\check_images\79088              Securitization.pdf                      29441        9/25/2023 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-19__861863_Collections by
01 - 2024-05-31\check_images\79088              Securitization.pdf                      30423       10/26/2023 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-19__910120_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-19__890609_Collections by
01 - 2024-05-31\check_images\79088              Securitization.pdf                      30313       12/29/2023 7:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-19__901572_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-19__914590_Collections by
01 - 2024-05-31\check_images\79088              Securitization.pdf                          30644        2/26/2024 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-19__927094_Collections by
01 - 2024-05-31\check_images\79088              Securitization.pdf                            6308       3/25/2024 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-19__941684_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-19__954777_Collections by
01 - 2024-05-31\check_images\79088              Securitization.pdf                          31189        5/28/2024 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-03-25__613982_Copy of JGW Sutton
01 - 2024-05-31\check_images\79089              Collections March.xlsx                      20234        4/7/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-25__623832_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-25__637610_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-25__652919_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-25__664227_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-25__679255_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-25__691412_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-25__703729_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-25__718753_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-25__731031_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-25__742250_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-25__760132_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-25__783272_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-25__816645_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-25__796798_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-25__813136_Collections by
01 - 2024-05-31\check_images\79089              Securitization.pdf                      31296         7/5/2023 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-25__823542_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-25__839482_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-25__850909_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-25__862973_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-25__879066_Collections by
01 - 2024-05-31\check_images\79089              Securitization.pdf                               32282        12/4/2023 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-25__891998_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-25__908989_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-25__918399_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-25__931365_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-25__946802_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-25__960649_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-03-29__615975_Copy of Copy of Copy of
01 - 2024-05-31\check_images\79091              Sutton Collections new.xlsx                      28965       4/13/2022 10:56
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-29__627017_Collections by
01 - 2024-05-31\check_images\79091              Securitization 05052022.pdf                        8779        5/5/2022 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-29__651620_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-29__667127_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-29__679256_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-29__693262_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-29__704691_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-29__817664_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-29__719735_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-29__731035_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-29__746091_Collections by
01 - 2024-05-31\check_images\79091              Securitization.pdf                        9432        2/3/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-28__760112_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-29__816643_Collections by
01 - 2024-05-31\check_images\79091              Securitization 03292023.pdf               4263      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-29__788752_Collections by
01 - 2024-05-31\check_images\79091              Securitization 05042023.pdf               2590      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-29__799803_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-29__814453_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-29__823543_Collections by
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               All Paths/Locations                                 Unified Title             File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-29__841418_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-29__851347_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-29__866809_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-29__882112_Collections by
01 - 2024-05-31\check_images\79091              Securitization 12042023.pdf                      33142        12/7/2023 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-29__894281_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-29__908817_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-29__921553_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-29__930141_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-29__946132_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-29__957340_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-01__615984_Copy of Copy of Copy of
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-01__627015_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-01__652923_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-01__814711_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-01__667928_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-01__680447_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-01__693239_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-01__707526_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-01__721691_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__734735_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__745729_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__761021_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__774408_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__787450_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__800833_Collections by
01 - 2024-05-31\check_images\79093              Securitization.pdf                        8407        6/6/2023 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__817663_Collections by
01 - 2024-05-31\check_images\79093              Securitization 05312022.pdf               4255      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__827755_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__842193_Collections by
01 - 2024-05-31\check_images\79093              Securitization 09012023.pdf               3500      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__855141_Collections by
01 - 2024-05-31\check_images\79093              Securitization.pdf                      32433      10/10/2023 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__866824_Collections by
01 - 2024-05-31\check_images\79093              Securitization.pdf                      31511        11/3/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__882208_Collections by
01 - 2024-05-31\check_images\79093              Securitization.pdf                      31102        12/8/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__895378_Collections by
01 - 2024-05-31\check_images\79093              Securitization.pdf                      31952         1/9/2024 7:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__911182_Collections by
01 - 2024-05-31\check_images\79093              Securitization.pdf                      30052        2/14/2024 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__919814_Collections by
01 - 2024-05-31\check_images\79093              Securitization.pdf                      32339         3/5/2024 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__934133_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__946139_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-01__615981_Copy of Copy of Copy of
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-01__627007_Collections by
01 - 2024-05-31\check_images\79094              Securitization 05052022.pdf                        8779        5/5/2022 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-01__641234_Collections by
01 - 2024-05-31\check_images\79094              Securitization.pdf                                 8592        6/7/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-01__654946_Collections by
01 - 2024-05-31\check_images\79094              Securitization.pdf                                 6303        7/7/2022 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-01__667128_Collections by
01 - 2024-05-31\check_images\79094              Securitization 08012022.pdf                        3692      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-01__681683_Collections by
01 - 2024-05-31\check_images\79094              Securitization.pdf                                 9208        9/7/2022 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-01__695010_Collections by
01 - 2024-05-31\check_images\79094              Securitization.pdf                                 8591       10/6/2022 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-01__707524_Collections by
01 - 2024-05-31\check_images\79094              Securitization 11022022.pdf                        2769      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-01__718754_Collections by
01 - 2024-05-31\check_images\79094              Securitization 11302022.pdf                        3154      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__734010_Collections by
01 - 2024-05-31\check_images\79094              Securitization 01042023.pdf                        2765      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__749147_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__761048_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__774415_Collections by
01 - 2024-05-31\check_images\79094              Securitization.pdf                        9949        4/6/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__786672_Collections by
01 - 2024-05-31\check_images\79094              Securitization.pdf                        8401        5/4/2023 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__801980_Collections by
01 - 2024-05-31\check_images\79094              Securitization.pdf                        9411        6/8/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__814589_Collections by
01 - 2024-05-31\check_images\79094              Securitization.pdf                      31454         7/7/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__827964_Collections by
01 - 2024-05-31\check_images\79094              Securitization.pdf                     185664         8/7/2023 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__842276_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__854478_Collections by
01 - 2024-05-31\check_images\79094              Securitization.pdf                      31318        10/5/2023 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__868562_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__882089_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__894279_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__921401_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__934129_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__946815_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-01__615995_Copy of Copy of Copy of
01 - 2024-05-31\check_images\79095              Sutton Collections new.xlsx                      28967       4/13/2022 10:56
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-01__616002_Copy of Copy of Copy of
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79095              2022-06-01__623215_JGW 4 28 2022.pdf             33647       4/28/2022 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-01__637607_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-01__666348_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-01__679920_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-01__694241_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-01__704706_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-01__716957_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__728403_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__744750_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__757093_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__770895_Collections by
01 - 2024-05-31\check_images\79095              Securitization.pdf                        8223       3/31/2023 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__782973_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__799826_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__811545_Collections by
01 - 2024-05-31\check_images\79095              Securitization.pdf                      29714         7/3/2023 7:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__827969_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__840236_Collections by
01 - 2024-05-31\check_images\79095              Securitization 08302023.pdf               3727      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__851344_Collections by
01 - 2024-05-31\check_images\79095              Securitization.pdf                      31066        10/2/2023 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__866806_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__882085_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__893629_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__920719_Collections by
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               All Paths/Locations                                 Unified Title             File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__929780_Collections by
01 - 2024-05-31\check_images\79095              Securitization.pdf                               31203        3/29/2024 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__944707_Collections by
01 - 2024-05-31\check_images\79095              Securitization.pdf                                 6459        5/1/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-01__615972_Copy of Copy of Copy of
01 - 2024-05-31\check_images\79096              Sutton Collections new.xlsx                      28961       4/13/2022 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-01__624324_Collections by
01 - 2024-05-31\check_images\79096              Securitization 05022022.pdf                        2774      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-01__637507_Collections by
01 - 2024-05-31\check_images\79096              Securitization.pdf                                 8410        6/1/2022 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-01__652129_Collections by
01 - 2024-05-31\check_images\79096              Securitization 06282022.pdf                        2155      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-01__664225_Collections by
01 - 2024-05-31\check_images\79096              Securitization.pdf                                 9248        8/1/2022 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-01__679258_Collections by
01 - 2024-05-31\check_images\79096              Securitization 08292022.pdf                        2785      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-01__692261_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-01__704696_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-01__716956_Collections by
01 - 2024-05-31\check_images\79096              Securitization.pdf                                 9039      11/30/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__729812_Collections by
01 - 2024-05-31\check_images\79096              Securitization.pdf                                 8809        1/3/2023 8:36




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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__746623_Collections by
01 - 2024-05-31\check_images\79096              Securitization.pdf                        8217        2/6/2023 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__759126_Collections by
01 - 2024-05-31\check_images\79096              Securitization 02272023.pdf               2963      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__770896_Collections by
01 - 2024-05-31\check_images\79096              Securitization.pdf                        8223       3/31/2023 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__783276_Collections by
01 - 2024-05-31\check_images\79096              Securitization.pdf                        9021        5/1/2023 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__799191_Collections by
01 - 2024-05-31\check_images\79096              Securitization 05302023.pdf               3519      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__810577_Collections by
01 - 2024-05-31\check_images\79096              Securitization.pdf                      28901        6/29/2023 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__823548_Collections by
01 - 2024-05-31\check_images\79096              Securitization.pdf                     129406        7/31/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__840179_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__850911_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__866807_Collections by
01 - 2024-05-31\check_images\79096              Securitization 10302023.pdf               4835      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__879028_Collections by
01 - 2024-05-31\check_images\79096              Securitization.pdf                      32282        12/4/2023 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__890608_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__905069_Collections by
01 - 2024-05-31\check_images\79096              Securitization.pdf                               31474         2/1/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__919803_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__929776_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__946137_Collections by
01 - 2024-05-31\check_images\79096              Securitization 04292024.pdf                      33919         5/2/2024 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-01__615978_Copy of Copy of Copy of
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-01__627381_Collections by
01 - 2024-05-31\check_images\79098              Securitization 05032022.pdf                        2149      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-01__641233_Collections by
01 - 2024-05-31\check_images\79098              Securitization.pdf                                 8592        6/7/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-01__655165_Collections by
01 - 2024-05-31\check_images\79098              Securitization.pdf                                 8575        7/8/2022 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-01__667923_Collections by
01 - 2024-05-31\check_images\79098              Securitization.pdf                                 9203        8/8/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-01__681672_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-01__695274_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-01__708524_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-01__719734_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__733356_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__747886_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__761417_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__774677_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__788753_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__802000_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__816075_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__827981_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__841409_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__855128_Collections by
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__868565_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__895374_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__920695_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__935172_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__947663_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01-
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-05__622352_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-05__629819_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-05__644686_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-05__671036_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-05__683845_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-05__697896_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-05__710719_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-05__725757_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-05__736923_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-05__751530_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-05__762414_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-05__778613_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-05__790016_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-05__804309_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-05__817593_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-05__830472_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-05__878182_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-05__887645_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-05__894284_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-05__909152_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-05__916095_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-05__917390_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-05__929262_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-05__936187_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-05__637494_Collections by
01 - 2024-05-31\check_images\79102              Securitization.pdf                        8410        6/1/2022 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-05__637496_Collections by
01 - 2024-05-31\check_images\79102              Securitization 05262022.pdf               2764      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-05__642665_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-05__656611_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-05__671005_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-05__683827_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-05__695703_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-05__710092_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-05__723838_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-05__736917_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-05__749154_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-05__762432_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-05__776959_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-05__789710_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-05__802346_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-05__817589_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-05__830243_Collections by
01 - 2024-05-31\check_images\79102              Securitization.pdf                     182688        8/11/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-05__843433_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-05__857416_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-05__869525_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-05__884803_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-05__896802_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-05__911711_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-05__923448_Collections by
01 - 2024-05-31\check_images\79102              Securitization.pdf                       29778        3/13/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-05__936184_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-05__949051_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01-
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-05__629813_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-05__644687_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-05__657592_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-05__683836_Collections by
01 - 2024-05-31\check_images\79103              Securitization.pdf                        9406       9/13/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-05__697899_Collections by
01 - 2024-05-31\check_images\79103              Securitization.pdf                        8813      10/14/2022 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-05__710714_Collections by
01 - 2024-05-31\check_images\79103              Securitization.pdf                        8604      11/15/2022 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-05__725751_Collections by
01 - 2024-05-31\check_images\79103              Securitization.pdf                        8421      12/20/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-05__736927_Collections by
01 - 2024-05-31\check_images\79103              Securitization.pdf                        9411       1/13/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-05__751529_Collections by
01 - 2024-05-31\check_images\79103              Securitization.pdf                        8995       2/16/2023 8:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-05__762450_Collections by
01 - 2024-05-31\check_images\79103              Securitization.pdf                        9823       3/13/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-05__778605_Collections by
01 - 2024-05-31\check_images\79103              Securitization.pdf                        8591       4/18/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-05__790020_Collections by
01 - 2024-05-31\check_images\79103              Securitization 05102023.pdf               3153      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-05__804310_Collections by
01 - 2024-05-31\check_images\79103              Securitization.pdf                        8403       6/14/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-05__817594_Collections by
01 - 2024-05-31\check_images\79103              Securitization.pdf                      32183        7/13/2023 8:27




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-05__830473_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-05__887136_Collections by
01 - 2024-05-31\check_images\79103              Securitization 12142023.pdf              31616       12/20/2023 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-05__887648_Collections by
01 - 2024-05-31\check_images\79103              Securitization 12182023.pdf              32743      12/21/2023 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-05__878183_Collections by
01 - 2024-05-31\check_images\79103              Securitization.pdf                       29479       11/30/2023 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-05__917385_Collections by
01 - 2024-05-31\check_images\79103              Securitization.pdf                       31373        2/29/2024 7:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-05__909153_Collections by
01 - 2024-05-31\check_images\79103              Securitization.pdf                       32078        2/12/2024 8:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-05__916094_Collections by
01 - 2024-05-31\check_images\79103              Securitization.pdf                       31476        2/27/2024 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-05__929261_Collections by
01 - 2024-05-31\check_images\79103              Securitization.pdf                       31574        3/28/2024 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-05__936185_Collections by
01 - 2024-05-31\check_images\79103              Securitization.pdf                       31176        4/11/2024 7:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-05__957333_Collections by
01 - 2024-05-31\check_images\79103              Securitization 05242024.pdf              46855        5/30/2024 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79104              2022-04-06__618596_JGW Deposit.pdf      168286       4/19/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-06__629815_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-06__642666_Collections by
01 - 2024-05-31\check_images\79104              Securitization.pdf                        8591       6/10/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-06__655166_Collections by
01 - 2024-05-31\check_images\79104              Securitization.pdf                        8575        7/8/2022 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-06__667921_Collections by
01 - 2024-05-31\check_images\79104              Securitization.pdf                        9203        8/8/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-06__682593_Collections by
01 - 2024-05-31\check_images\79104              Securitization.pdf                        8213        9/9/2022 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-06__695007_Collections by
01 - 2024-05-31\check_images\79104              Securitization.pdf                        8591       10/6/2022 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-06__709354_Collections by
01 - 2024-05-31\check_images\79104              Securitization.pdf                        7956      11/11/2022 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-06__723842_Collections by
01 - 2024-05-31\check_images\79104              Securitization.pdf                        8797     12/14/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-06__735759_Collections by
01 - 2024-05-31\check_images\79104              Securitization.pdf                        8784       1/11/2023 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-06__749162_Collections by
01 - 2024-05-31\check_images\79104              Securitization 02082023.pdf               2970      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-06__762404_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-06__775027_Collections by
01 - 2024-05-31\check_images\79104              Securitization.pdf                        8218       4/10/2023 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-06__789567_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-06__802125_Collections by
01 - 2024-05-31\check_images\79104              Securitization.pdf                         8767        6/9/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-06__816753_Collections by
01 - 2024-05-31\check_images\79104              Securitization.pdf                       31083        7/12/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-06__830143_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-06__842274_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-06__856239_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-06__869527_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-06__882205_Collections by
01 - 2024-05-31\check_images\79104              Securitization.pdf                       31102        12/8/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-06__908815_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-06__908816_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-06__921550_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-06__936188_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-12__632645_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-12__645700_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-12__658346_Collections by
01 - 2024-05-31\check_images\79105              Securitization.pdf                        8420       7/18/2022 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-12__672637_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-12__685801_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-12__699156_Collections by
01 - 2024-05-31\check_images\79105              Securitization 10132022.pdf               2397      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-12__713606_Collections by
01 - 2024-05-31\check_images\79105              Securitization.pdf                        8593      11/22/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-12__724762_Collections by
01 - 2024-05-31\check_images\79105              Securitization.pdf                        8215      12/16/2022 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-12__739563_Collections by
01 - 2024-05-31\check_images\79105              Securitization.pdf                        8212       1/20/2023 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-12__752271_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-12__765327_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-12__778610_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-12__792700_Collections by
01 - 2024-05-31\check_images\79105              Securitization.pdf                        8594       5/18/2023 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-12__805751_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-12__819586_Collections by
01 - 2024-05-31\check_images\79105              Securitization.pdf                      31684        7/19/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-12__833368_Collections by
01 - 2024-05-31\check_images\79105              Securitization.pdf                     181803        8/21/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-12__844749_Collections by
01 - 2024-05-31\check_images\79105              Securitization.pdf                      31157        9/15/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-12__859983_Collections by
01 - 2024-05-31\check_images\79105              Securitization.pdf                      31388       10/19/2023 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-12__866819_Collections by
01 - 2024-05-31\check_images\79105              Securitization 10302023.pdf               4835      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-12__873847_Collections by
01 - 2024-05-31\check_images\79105              Securitization.pdf                      31024       11/21/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-12__885365_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-12__900315_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-12__912234_Collections by
01 - 2024-05-31\check_images\79105              Securitization 02152024.pdf             31275        2/20/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-12__926549_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-12__941284_Collections by
01 - 2024-05-31\check_images\79105              Securitization.pdf                          28318        4/25/2024 7:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-12__952485_Collections by
01 - 2024-05-31\check_images\79105              Securitization.pdf                          31993        5/20/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-13__618526_JGW Copy of Sutton
01 - 2024-05-31\check_images\79106              Collections - April 19.xlsx                 88251       4/19/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-13__632009_Collections by
01 - 2024-05-31\check_images\79106              Securitization 05132022.pdf                   2151      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-13__645356_Collections by
01 - 2024-05-31\check_images\79106              Securitization.pdf                            8790       6/16/2022 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-13__656607_Collections by
01 - 2024-05-31\check_images\79106              Securitization.pdf                            8786       7/12/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-13__674702_Collections by
01 - 2024-05-31\check_images\79106              Securitization 08222022.pdf                   2383      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-13__685802_Collections by
01 - 2024-05-31\check_images\79106              Securitization 09142022.pdf                   2779      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-13__699591_Collections by
01 - 2024-05-31\check_images\79106              Securitization 10142022.pdf                   2574      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-13__712285_Collections by
01 - 2024-05-31\check_images\79106              Securitization.pdf                            8221      11/17/2022 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-13__724764_Collections by
01 - 2024-05-31\check_images\79106              Securitization.pdf                            8215      12/16/2022 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-13__739221_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-13__753364_Collections by
01 - 2024-05-31\check_images\79106              Securitization.pdf                        8219       2/22/2023 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-13__765324_Collections by
01 - 2024-05-31\check_images\79106              Securitization.pdf                        8779       3/20/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-13__778612_Collections by
01 - 2024-05-31\check_images\79106              Securitization.pdf                        8591       4/18/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-13__792688_Collections by
01 - 2024-05-31\check_images\79106              Securitization.pdf                        8594       5/18/2023 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-13__805415_Collections by
01 - 2024-05-31\check_images\79106              Securitization.pdf                      31629       6/16/2023 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-13__819578_Collections by
01 - 2024-05-31\check_images\79106              Securitization.pdf                      31684        7/19/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-13__833056_Collections by
01 - 2024-05-31\check_images\79106              Securitization.pdf                     183339        8/17/2023 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-13__845130_Collections by
01 - 2024-05-31\check_images\79106              Securitization.pdf                      30962        9/18/2023 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-13__859102_Collections by
01 - 2024-05-31\check_images\79106              Securitization.pdf                      30561       10/17/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-13__873165_Collections by
01 - 2024-05-31\check_images\79106              Securitization.pdf                      29249       11/20/2023 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-13__887849_Collections by
01 - 2024-05-31\check_images\79106              Securitization.pdf                      30919       12/22/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-13__900186_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-13__911998_Collections by
01 - 2024-05-31\check_images\79106              Securitization.pdf                              28875        2/16/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-13__924817_Collections by
01 - 2024-05-31\check_images\79106              Securitization.pdf                              30862        3/18/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-13__939713_Collections by
01 - 2024-05-31\check_images\79106              Securitization.pdf                              30991        4/22/2024 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-13__952486_Collections by
01 - 2024-05-31\check_images\79106              Securitization.pdf                              31993        5/20/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-15__622232_Copy of Collections by
01 - 2024-05-31\check_images\79107              Securitization 2.xlsx                           17036       4/26/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-15__632842_Collections by
01 - 2024-05-31\check_images\79107              Securitization 05202022.pdf                       7955       5/20/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-15__648615_Collections by
01 - 2024-05-31\check_images\79107              Securitization.pdf                                8419       6/27/2022 8:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-15__660253_Collections by
01 - 2024-05-31\check_images\79107              Securitization.pdf                                6308       7/21/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-15__674317_Collections by
01 - 2024-05-31\check_images\79107              Securitization 08172022.pdf                       2583      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-15__687312_Collections by
01 - 2024-05-31\check_images\79107              Securitization 09192022.pdf                       2387      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-15__701134_Collections by
01 - 2024-05-31\check_images\79107              Securitization.pdf                                8780      10/25/2022 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-15__713607_Collections by
01 - 2024-05-31\check_images\79107              Securitization.pdf                                8593      11/22/2022 8:22




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-15__727405_Collections by
01 - 2024-05-31\check_images\79107              Securitization.pdf                        8410      12/23/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-15__740615_Collections by
01 - 2024-05-31\check_images\79107              Securitization.pdf                        8208       1/24/2023 7:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-15__752272_Collections by
01 - 2024-05-31\check_images\79107              Securitization.pdf                        8410       2/21/2023 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-15__766107_Collections by
01 - 2024-05-31\check_images\79107              Securitization.pdf                        7953       3/21/2023 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-15__780327_Collections by
01 - 2024-05-31\check_images\79107              Securitization.pdf                        7954       4/24/2023 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-15__793118_Collections by
01 - 2024-05-31\check_images\79107              Securitization.pdf                        8787       5/22/2023 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-15__807464_Collections by
01 - 2024-05-31\check_images\79107              Securitization 06202023.pdf               2767      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-15__821660_Collections by
01 - 2024-05-31\check_images\79107              Securitization.pdf                      30573        7/26/2023 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-15__834257_Collections by
01 - 2024-05-31\check_images\79107              Securitization.pdf                     182959        8/22/2023 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-15__847153_Collections by
01 - 2024-05-31\check_images\79107              Securitization.pdf                      30952        9/21/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-15__860353_Collections by
01 - 2024-05-31\check_images\79107              Securitization 10182023.pdf               2153      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-15__876074_Collections by
01 - 2024-05-31\check_images\79107              Securitization 11212023.pdf               2153      10/9/2024 17:19




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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-15__887847_Collections by
01 - 2024-05-31\check_images\79107              Securitization.pdf                      30919       12/22/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-15__901571_Collections by
01 - 2024-05-31\check_images\79107              Securitization.pdf                      30610        1/25/2024 7:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-15__914409_Collections by
01 - 2024-05-31\check_images\79107              Securitization.pdf                      31579        2/23/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-15__926755_Collections by
01 - 2024-05-31\check_images\79107              Securitization.pdf                      30446        3/22/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-15__940736_Collections by
01 - 2024-05-31\check_images\79107              Securitization.pdf                      27761        4/24/2024 7:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-15__954080_Collections by
01 - 2024-05-31\check_images\79107              Securitization.pdf                      31453        5/23/2024 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-16__622349_Collections by
01 - 2024-05-31\check_images\79108              Securitization 4 23 2022.pdf            33700       4/26/2022 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-16__634223_Collections by
01 - 2024-05-31\check_images\79108              Securitization 05192022.pdf               2388      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-16__648307_Collections by
01 - 2024-05-31\check_images\79108              Securitization 06212022.pdf               2584      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-16__661747_Collections by
01 - 2024-05-31\check_images\79108              Securitization 07212022.pdf               2969      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-16__674321_Collections by
01 - 2024-05-31\check_images\79108              Securitization 08182022.pdf               2154      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-16__687923_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-16__701771_Collections by
01 - 2024-05-31\check_images\79108              Securitization.pdf                        6307      10/26/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-16__717804_Collections by
01 - 2024-05-31\check_images\79108              Securitization.pdf                        8221       12/1/2022 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-16__728397_Collections by
01 - 2024-05-31\check_images\79108              Securitization.pdf                        8416      12/28/2022 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-16__740963_Collections by
01 - 2024-05-31\check_images\79108              Securitization 01202023.pdf               2569      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-16__757100_Collections by
01 - 2024-05-31\check_images\79108              Securitization 02232023.pdf               2977      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-16__766420_Collections by
01 - 2024-05-31\check_images\79108              Securitization.pdf                        8218       3/22/2023 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-16__782971_Collections by
01 - 2024-05-31\check_images\79108              Securitization.pdf                        8415       4/28/2023 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-16__794606_Collections by
01 - 2024-05-31\check_images\79108              Securitization.pdf                        8218       5/25/2023 8:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-16__810181_Collections by
01 - 2024-05-31\check_images\79108              Securitization.pdf                      31281        6/28/2023 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-16__821663_Collections by
01 - 2024-05-31\check_images\79108              Securitization.pdf                      30573        7/26/2023 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-16__859978_Collections by
01 - 2024-05-31\check_images\79108              Securitization.pdf                      31388       10/19/2023 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-16__861864_Collections by
01 - 2024-05-31\check_images\79108              Securitization.pdf                      30423       10/26/2023 7:32




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-16__854689_Collections by
01 - 2024-05-31\check_images\79108              Securitization Combined.pdf             36260       10/19/2023 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-16__869239_Collections by
01 - 2024-05-31\check_images\79108              Securitization.pdf                      31359        11/9/2023 7:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-16__885014_Collections by
01 - 2024-05-31\check_images\79108              Securitization.pdf                      31216       12/15/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-16__901570_Collections by
01 - 2024-05-31\check_images\79108              Securitization.pdf                      30610        1/25/2024 7:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-16__896977_Collections by
01 - 2024-05-31\check_images\79108              Securitization.pdf                      30558        1/12/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-16__903453_Collections by
01 - 2024-05-31\check_images\79108              Securitization.pdf                      28909        1/30/2024 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-16__916090_Collections by
01 - 2024-05-31\check_images\79108              Securitization.pdf                      31476        2/27/2024 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-16__929259_Collections by
01 - 2024-05-31\check_images\79108              Securitization.pdf                      31574        3/28/2024 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-16__946793_Collections by
01 - 2024-05-31\check_images\79108              Securitization.pdf                      32235         5/6/2024 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-16__957329_Collections by
01 - 2024-05-31\check_images\79108              Securitization 05242024.pdf             46855        5/30/2024 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-20__633149_Collections by
01 - 2024-05-31\check_images\79109              Securitization 05182022.pdf               2950      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-20__651611_Collections by
01 - 2024-05-31\check_images\79109              Securitization 06272022.pdf               4080      10/9/2024 17:23




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 656 of
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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-20__652931_Collections by
01 - 2024-05-31\check_images\79109              Securitization 06292022.pdf               3695      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-20__658345_Collections by
01 - 2024-05-31\check_images\79109              Securitization.pdf                        8420       7/18/2022 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-20__672880_Collections by
01 - 2024-05-31\check_images\79109              Securitization.pdf                        8223       8/19/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-20__686821_Collections by
01 - 2024-05-31\check_images\79109              Securitization 09162022.pdf               2383      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-20__701138_Collections by
01 - 2024-05-31\check_images\79109              Securitization.pdf                        8780      10/25/2022 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-20__713605_Collections by
01 - 2024-05-31\check_images\79109              Securitization.pdf                        8593      11/22/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-20__725760_Collections by
01 - 2024-05-31\check_images\79109              Securitization.pdf                        8421      12/20/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-20__740962_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-20__752270_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-20__765323_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-20__779686_Collections by
01 - 2024-05-31\check_images\79109              Securitization 04172023.pdf               2575      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-20__793122_Collections by
01 - 2024-05-31\check_images\79109              Securitization.pdf                        8787       5/22/2023 7:59




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-20__805748_Collections by
01 - 2024-05-31\check_images\79109              Securitization 06142023.pdf               3139      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-20__820494_Collections by
01 - 2024-05-31\check_images\79109              Securitization.pdf                      30165        7/24/2023 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-20__833370_Collections by
01 - 2024-05-31\check_images\79109              Securitization.pdf                     181803        8/21/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-20__845131_Collections by
01 - 2024-05-31\check_images\79109              Securitization.pdf                      30962        9/18/2023 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-20__861402_Collections by
01 - 2024-05-31\check_images\79109              Securitization.pdf                      27974       10/25/2023 8:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-20__873843_Collections by
01 - 2024-05-31\check_images\79109              Securitization.pdf                      31024       11/21/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-20__887652_Collections by
01 - 2024-05-31\check_images\79109              Securitization 12182023.pdf             32743      12/21/2023 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-20__901057_Collections by
01 - 2024-05-31\check_images\79109              Securitization.pdf                      28502        1/23/2024 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-20__912205_Collections by
01 - 2024-05-31\check_images\79109              Securitization 02142024.pdf             32391        2/20/2024 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-20__926546_Collections by
01 - 2024-05-31\check_images\79109              Securitization.pdf                      31672        3/21/2024 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-20__939715_Collections by
01 - 2024-05-31\check_images\79109              Securitization.pdf                      30991        4/22/2024 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-20__953168_Collections by
01 - 2024-05-31\check_images\79109              Securitization.pdf                      30900        5/21/2024 7:50




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-29__641236_Collections by
01 - 2024-05-31\check_images\79111              Securitization.pdf                        8592        6/7/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-29__719732_Collections by
01 - 2024-05-31\check_images\79111              Securitization.pdf                        9023       12/6/2022 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-29__801984_Collections by
01 - 2024-05-31\check_images\79111              Securitization.pdf                        9411        6/8/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-29__883292_Collections by
01 - 2024-05-31\check_images\79111              Securitization.pdf                      30328       12/12/2023 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-07__656609_Collections by
01 - 2024-05-31\check_images\79112              Securitization.pdf                        8786       7/12/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-27__681686_Collections by
01 - 2024-05-31\check_images\79115              Securitization.pdf                        9208        9/7/2022 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-27__693241_Collections by
01 - 2024-05-31\check_images\79115              Securitization.pdf                        8784       10/4/2022 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-27__704702_Collections by
01 - 2024-05-31\check_images\79115              Securitization 10272022.pdf               2775      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-27__719731_Collections by
01 - 2024-05-31\check_images\79115              Securitization.pdf                        9023       12/6/2022 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-27__731034_Collections by
01 - 2024-05-31\check_images\79115              Securitization.pdf                        8806        1/4/2023 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-27__744747_Collections by
01 - 2024-05-31\check_images\79115              Securitization.pdf                        7956        2/1/2023 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-27__761024_Collections by
01 - 2024-05-31\check_images\79115              Securitization 03022023.pdf               4079      10/9/2024 17:23




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-27__772951_Collections by
01 - 2024-05-31\check_images\79115              Securitization.pdf                                8800        4/4/2023 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-27__786673_Collections by
01 - 2024-05-31\check_images\79115              Securitization.pdf                                8401        5/4/2023 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-27__801993_Collections by
01 - 2024-05-31\check_images\79115              Securitization.pdf                                9411        6/8/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-27__813138_Collections by
01 - 2024-05-31\check_images\79115              Securitization.pdf                              31296         7/5/2023 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-27__825084_Collections by
01 - 2024-05-31\check_images\79115              Securitization.pdf                             102380         8/1/2023 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-27__840188_Collections by
01 - 2024-05-31\check_images\79115              Securitization 08302023.pdf                       3727      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-27__852871_Collections by
01 - 2024-05-31\check_images\79115              Securitization.pdf                              29646        10/3/2023 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-27__864291_Collections by
01 - 2024-05-31\check_images\79115              Securitization.pdf                              28677       10/31/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-27__880291_Collections by
01 - 2024-05-31\check_images\79115              Securitization.pdf                              30766        12/5/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-27__894285_Collections by
01 - 2024-05-31\check_images\79115              Securitization.pdf                              31605         1/5/2024 7:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-27__905072_Collections by
01 - 2024-05-31\check_images\79115              Securitization.pdf                              31474         2/1/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-27__918373_30782199 5038.00 Ruben
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-27__930140_Collections by
01 - 2024-05-31\check_images\79115              Securitization.pdf                      30853         4/1/2024 7:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-27__946789_Collections by
01 - 2024-05-31\check_images\79115              Securitization.pdf                      32235         5/6/2024 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-27__960636_Collections by
01 - 2024-05-31\check_images\79115              Securitization.pdf                      10041         6/7/2024 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-15__685195_Collections by
01 - 2024-05-31\check_images\79116              Securitization 09122022.pdf               2383      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-15__699592_Collections by
01 - 2024-05-31\check_images\79116              Securitization 10142022.pdf               2574      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-15__710711_Collections by
01 - 2024-05-31\check_images\79116              Securitization.pdf                        8604      11/15/2022 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-15__724563_Collections by
01 - 2024-05-31\check_images\79116              Securitization.pdf                        6302     12/15/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-15__737176_Collections by
01 - 2024-05-31\check_images\79116              Securitization.pdf                        8606       1/17/2023 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-15__751527_Collections by
01 - 2024-05-31\check_images\79116              Securitization.pdf                        8995       2/16/2023 8:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-15__764737_Collections by
01 - 2024-05-31\check_images\79116              Securitization.pdf                        8783       3/16/2023 7:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-15__777130_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-15__789707_Collections by
01 - 2024-05-31\check_images\79116              Securitization.pdf                        9232       5/12/2023 7:58




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-15__804935_Collections by
01 - 2024-05-31\check_images\79116              Securitization.pdf                        8790       6/15/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-15__819579_Collections by
01 - 2024-05-31\check_images\79116              Securitization.pdf                      31684        7/19/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-15__830474_Collections by
01 - 2024-05-31\check_images\79116              Securitization 08092023.pdf               2779      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-15__844754_Collections by
01 - 2024-05-31\check_images\79116              Securitization.pdf                      31157        9/15/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-15__859101_Collections by
01 - 2024-05-31\check_images\79116              Securitization.pdf                      30561       10/17/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-15__872302_Collections by
01 - 2024-05-31\check_images\79116              Securitization.pdf                      30783       11/16/2023 7:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-15__885016_Collections by
01 - 2024-05-31\check_images\79116              Securitization.pdf                      31216       12/15/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-15__896976_Collections by
01 - 2024-05-31\check_images\79116              Securitization.pdf                      30558        1/12/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-15__911708_Collections by
01 - 2024-05-31\check_images\79116              Securitization.pdf                      30701        2/15/2024 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-15__924241_Collections by
01 - 2024-05-31\check_images\79116              Securitization 03122024.pdf             54223        3/15/2024 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-15__936678_Collections by
01 - 2024-05-31\check_images\79116              Securitization.pdf                      31638        4/15/2024 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-15__951812_Collections by
01 - 2024-05-31\check_images\79116              Securitization.pdf                      31331        5/16/2024 7:35




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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-01__708523_Collections by
01 - 2024-05-31\check_images\79117              Securitization.pdf                        9211       11/8/2022 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-01__721689_Collections by
01 - 2024-05-31\check_images\79117              Securitization.pdf                        8219       12/9/2022 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__734724_Collections by
01 - 2024-05-31\check_images\79117              Securitization.pdf                        9402       1/10/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__745725_Collections by
01 - 2024-05-31\check_images\79117              Securitization.pdf                        8601        2/2/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__761042_Collections by
01 - 2024-05-31\check_images\79117              Securitization 03022023.pdf               4079      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__774414_Collections by
01 - 2024-05-31\check_images\79117              Securitization.pdf                        9949        4/6/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__787499_Collections by
01 - 2024-05-31\check_images\79117              Securitization.pdf                        9967        5/8/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__799812_Collections by
01 - 2024-05-31\check_images\79117              Securitization 05312023.pdf               4084      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__814710_Collections by
01 - 2024-05-31\check_images\79117              Securitization.pdf                      28273        7/10/2023 8:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__827754_Collections by
01 - 2024-05-31\check_images\79117              Securitization.pdf                     114137         8/4/2023 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__842208_Collections by
01 - 2024-05-31\check_images\79117              Securitization 09012023.pdf               3500      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__855123_Collections by
01 - 2024-05-31\check_images\79117              Securitization.pdf                      32433      10/10/2023 10:56




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__866823_Collections by
01 - 2024-05-31\check_images\79117              Securitization.pdf                      31511        11/3/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__882212_Collections by
01 - 2024-05-31\check_images\79117              Securitization.pdf                      31102        12/8/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__895373_Collections by
01 - 2024-05-31\check_images\79117              Securitization.pdf                      31952         1/9/2024 7:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__911181_Collections by
01 - 2024-05-31\check_images\79117              Securitization.pdf                      30052        2/14/2024 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__919836_Collections by
01 - 2024-05-31\check_images\79117              Securitization.pdf                      32339         3/5/2024 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__934127_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__946164_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-29__712284_Collections by
01 - 2024-05-31\check_images\79118              Securitization.pdf                        8221      11/17/2022 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-17__739564_Collections by
01 - 2024-05-31\check_images\79121              Securitization.pdf                        8212       1/20/2023 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-30__746619_Collections by
01 - 2024-05-31\check_images\79123              Securitization.pdf                        8217        2/6/2023 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-28__760118_Collections by
01 - 2024-05-31\check_images\79123              Securitization 03012023.pdf               3713      10/9/2024 17:22
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-30__770554_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-30__784603_Collections by
01 - 2024-05-31\check_images\79123              Securitization.pdf                        8596        5/2/2023 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-30__800835_Collections by
01 - 2024-05-31\check_images\79123              Securitization.pdf                        8407        6/6/2023 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-30__814451_Collections by
01 - 2024-05-31\check_images\79123              Securitization.pdf                      31640         7/6/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-30__823544_Collections by
01 - 2024-05-31\check_images\79123              Securitization.pdf                     129406        7/31/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-30__838956_Collections by
01 - 2024-05-31\check_images\79123              Securitization.pdf                      30469        8/31/2023 7:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-30__850910_Collections by
01 - 2024-05-31\check_images\79123              Securitization.pdf                      31964        9/29/2023 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-30__866816_Collections by
01 - 2024-05-31\check_images\79123              Securitization 10302023.pdf               4835      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-30__878601_Collections by
01 - 2024-05-31\check_images\79123              Securitization.pdf                      28309        12/1/2023 7:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-30__892002_Collections by
01 - 2024-05-31\check_images\79123              Securitization.pdf                      31844         1/3/2024 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-30__905057_Collections by
01 - 2024-05-31\check_images\79123              Securitization.pdf                      31474         2/1/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-29__919832_Collections by
01 - 2024-05-31\check_images\79123              Securitization.pdf                      32339         3/5/2024 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-30__929777_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-30__946799_Collections by
01 - 2024-05-31\check_images\79123              Securitization.pdf                      32235         5/6/2024 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-30__958117_Collections by
01 - 2024-05-31\check_images\79123              Securitization.pdf                      31216        5/31/2024 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__801997_Collections by
01 - 2024-05-31\check_images\79128              Securitization.pdf                        9411        6/8/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__867267_Collections by
01 - 2024-05-31\check_images\79128              Securitization.pdf                        6304       11/6/2023 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-09__872297_Collections by
01 - 2024-05-31\check_images\79131              Securitization.pdf                      30783       11/16/2023 7:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__896061_Collections by
01 - 2024-05-31\check_images\79132              Securitization.pdf                      31409        1/10/2024 7:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__906459_Collections by
01 - 2024-05-31\check_images\79132              Securitization.pdf                      30866         2/5/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__921403_Collections by
01 - 2024-05-31\check_images\79132              Securitization.pdf                      28729         3/7/2024 7:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__935166_Collections by
01 - 2024-05-31\check_images\79132              Securitization.pdf                      31194         4/9/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__948096_Collections by
01 - 2024-05-31\check_images\79132              Securitization.pdf                      28803         5/8/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-24__909157_Collections by
01 - 2024-05-31\check_images\79133              Securitization.pdf                      32078        2/12/2024 8:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-24__929263_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-24__957327_Collections by
01 - 2024-05-31\check_images\79133              Securitization 05242024.pdf                4083      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-24__958114_Collections by
01 - 2024-05-31\check_images\79133              Securitization.pdf                       31216        5/31/2024 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-03__928834_Collections by
01 - 2024-05-31\check_images\79134              Securitization.pdf                       29247        3/27/2024 7:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__935539_Collections by
01 - 2024-05-31\check_images\79136              Securitization.pdf                         6307       4/10/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__948097_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-21__687737_Collections by
01 - 2024-05-31\check_images\79260              Securitization.pdf                         6307       9/23/2022 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-27__888927_Collections by
01 - 2024-05-31\check_images\79262              Securitization.pdf                       29089       12/27/2023 8:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79270              2022-04-08__618590_JGW Deposit.pdf      168286       4/19/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-08__629816_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-08__642663_Collections by
01 - 2024-05-31\check_images\79270              Securitization.pdf                         8591       6/10/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-08__657595_Collections by
01 - 2024-05-31\check_images\79270              Securitization.pdf                         8408       7/14/2022 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-08__670289_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-08__683833_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-08__698257_Collections by
01 - 2024-05-31\check_images\79270              Securitization 10122022.pdf               2156      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-08__710101_Collections by
01 - 2024-05-31\check_images\79270              Securitization.pdf                        8421     11/14/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-08__723835_Collections by
01 - 2024-05-31\check_images\79270              Securitization.pdf                        8797     12/14/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-08__738385_Collections by
01 - 2024-05-31\check_images\79270              Securitization.pdf                        7954       1/18/2023 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-08__750250_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-08__763500_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-08__777129_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-08__790015_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-08__804312_Collections by
01 - 2024-05-31\check_images\79270              Securitization.pdf                        8403       6/14/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-08__819580_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-08__831640_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-08__844752_Collections by
01 - 2024-05-31\check_images\79270              Securitization.pdf                      31157        9/15/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-08__857948_Collections by
01 - 2024-05-31\check_images\79270              Securitization.pdf                      30670       10/16/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-08__871967_Collections by
01 - 2024-05-31\check_images\79270              Securitization 11102023.pdf             43188      11/15/2023 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-08__885357_Collections by
01 - 2024-05-31\check_images\79270              Securitization 12132023.pdf             32493       12/18/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-08__899706_Collections by
01 - 2024-05-31\check_images\79270              Securitization.pdf                      31257        1/18/2024 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-08__912000_Collections by
01 - 2024-05-31\check_images\79270              Securitization.pdf                      28875        2/16/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-08__924234_Collections by
01 - 2024-05-31\check_images\79270              Securitization 03122024.pdf             54223        3/15/2024 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-08__939410_Collections by
01 - 2024-05-31\check_images\79270              Securitization.pdf                      31175        4/18/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-08__951340_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-15__912221_Collections by
01 - 2024-05-31\check_images\79272              Securitization 02142024.pdf             32391        2/20/2024 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-01__625901_Collections by
01 - 2024-05-31\check_images\79279              Securitization 04292022.pdf               2154      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-01__642664_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-01__645354_Collections by
01 - 2024-05-31\check_images\79279              Securitization.pdf                        8790       6/16/2022 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-01__656603_Collections by
01 - 2024-05-31\check_images\79279              Securitization.pdf                        8786       7/12/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-01__667930_Collections by
01 - 2024-05-31\check_images\79279              Securitization.pdf                        9203        8/8/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-01__682840_Collections by
01 - 2024-05-31\check_images\79279              Securitization.pdf                        7949       9/12/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-01__695706_Collections by
01 - 2024-05-31\check_images\79279              Securitization.pdf                        8791      10/10/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-01__709352_Collections by
01 - 2024-05-31\check_images\79279              Securitization.pdf                        7956      11/11/2022 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-01__721690_Collections by
01 - 2024-05-31\check_images\79279              Securitization.pdf                        8219       12/9/2022 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__734731_Collections by
01 - 2024-05-31\check_images\79279              Securitization.pdf                        9402       1/10/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__761023_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__761760_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__774684_Collections by
01 - 2024-05-31\check_images\79279              Securitization.pdf                        9225        4/7/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__787401_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__802121_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__816757_Collections by
01 - 2024-05-31\check_images\79279              Securitization.pdf                      31083        7/12/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__829219_Collections by
01 - 2024-05-31\check_images\79279              Securitization.pdf                     182881         8/9/2023 8:20
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__843437_Collections by
01 - 2024-05-31\check_images\79279              Securitization.pdf                      31977        9/12/2023 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__857413_Collections by
01 - 2024-05-31\check_images\79279              Securitization 10102023.pdf             32534       10/13/2023 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__872017_Collections by
01 - 2024-05-31\check_images\79279              Securitization 11102023.pdf             43188      11/15/2023 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__884801_Collections by
01 - 2024-05-31\check_images\79279              Securitization.pdf                      31832       12/14/2023 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__896063_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__908987_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__921716_Collections by
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Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__935165_Collections by
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__948914_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-01__613991_Copy of JGW Sutton
01 - 2024-05-31\check_images\79280              Collections March.xlsx                      20237        4/7/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79280              2022-05-01__623220_JGW 4 28 2022.pdf        33647       4/28/2022 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-01__635119_Collections by
01 - 2024-05-31\check_images\79280              Securitization 05232022.pdf                   2969      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-01__651619_Collections by
01 - 2024-05-31\check_images\79280              Securitization 06272022.pdf                   4080      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-01__664223_Collections by
01 - 2024-05-31\check_images\79280              Securitization.pdf                            9248        8/1/2022 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-01__677295_Collections by
01 - 2024-05-31\check_images\79280              Securitization 08252022.pdf                   2595      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-01__691411_Collections by
01 - 2024-05-31\check_images\79280              Securitization.pdf                            8417       9/29/2022 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-01__702954_Collections by
01 - 2024-05-31\check_images\79280              Securitization.pdf                            8223      10/28/2022 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-01__716967_Collections by
01 - 2024-05-31\check_images\79280              Securitization.pdf                            9039      11/30/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__729485_Collections by
01 - 2024-05-31\check_images\79280              Securitization.pdf                            8633      12/30/2022 8:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__741538_Collections by
01 - 2024-05-31\check_images\79280              Securitization 01232023.pdf                   3158      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__754583_Collections by
01 - 2024-05-31\check_images\79280              Securitization.pdf                            9443       2/24/2023 8:15




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__770555_Collections by
01 - 2024-05-31\check_images\79280              Securitization.pdf                        8607       3/30/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__782969_Collections by
01 - 2024-05-31\check_images\79280              Securitization.pdf                        8415       4/28/2023 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__799194_Collections by
01 - 2024-05-31\check_images\79280              Securitization 05302023.pdf               3519      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__811544_Collections by
01 - 2024-05-31\check_images\79280              Securitization.pdf                      29714         7/3/2023 7:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__827360_Collections by
01 - 2024-05-31\check_images\79280              Securitization.pdf                     157010         8/3/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__838957_Collections by
01 - 2024-05-31\check_images\79280              Securitization.pdf                      30469        8/31/2023 7:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__850513_Collections by
01 - 2024-05-31\check_images\79280              Securitization.pdf                      30785        9/28/2023 7:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__866812_Collections by
01 - 2024-05-31\check_images\79280              Securitization 10302023.pdf               4835      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__878178_Collections by
01 - 2024-05-31\check_images\79280              Securitization.pdf                      28745       11/30/2023 7:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__892035_Collections by
01 - 2024-05-31\check_images\79280              Securitization.pdf                      31012         1/3/2024 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__905070_Collections by
01 - 2024-05-31\check_images\79280              Securitization.pdf                      31474         2/1/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__917386_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__933944_Collections by
01 - 2024-05-31\check_images\79280              Securitization.pdf                       32309         4/4/2024 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__942027_Collections by
01 - 2024-05-31\check_images\79280              Securitization.pdf                       30591        4/29/2024 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79281              2022-04-02__618610_JGW Deposit.pdf      168286       4/19/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-02__622353_Collections by
01 - 2024-05-31\check_images\79281              Securitization 4 23 2022.pdf             33700       4/26/2022 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-02__629814_Collections by
01 - 2024-05-31\check_images\79281              Securitization 05092022.pdf                2965      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-02__642160_Collections by
01 - 2024-05-31\check_images\79281              Securitization 06062022.pdf                2390      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-02__656615_Collections by
01 - 2024-05-31\check_images\79281              Securitization.pdf                         8786       7/12/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-02__670029_Collections by
01 - 2024-05-31\check_images\79281              Securitization.pdf                         7951       8/11/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-02__682592_Collections by
01 - 2024-05-31\check_images\79281              Securitization.pdf                         8213        9/9/2022 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-02__697900_Collections by
01 - 2024-05-31\check_images\79281              Securitization.pdf                         8813      10/14/2022 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-02__710099_Collections by
01 - 2024-05-31\check_images\79281              Securitization.pdf                         8421     11/14/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-02__722849_Collections by
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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-02__736563_Collections by
01 - 2024-05-31\check_images\79281              Securitization 01092023.pdf               2151      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-02__748363_Collections by
01 - 2024-05-31\check_images\79281              Securitization.pdf                        8766        2/9/2023 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-02__762471_Collections by
01 - 2024-05-31\check_images\79281              Securitization.pdf                        9823       3/13/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-02__774674_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-02__789709_Collections by
01 - 2024-05-31\check_images\79281              Securitization.pdf                        9232       5/12/2023 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-02__802345_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-02__816751_Collections by
01 - 2024-05-31\check_images\79281              Securitization.pdf                      31083        7/12/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-02__830471_Collections by
01 - 2024-05-31\check_images\79281              Securitization 08092023.pdf               2779      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-02__844494_Collections by
01 - 2024-05-31\check_images\79281              Securitization.pdf                        6310       9/14/2023 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-02__859100_Collections by
01 - 2024-05-31\check_images\79281              Securitization.pdf                      30561       10/17/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-02__871947_Collections by
01 - 2024-05-31\check_images\79281              Securitization 11092023.pdf             31843      11/15/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-02__884807_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-02__900310_Collections by
01 - 2024-05-31\check_images\79281              Securitization.pdf                       31424        1/22/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-02__908992_Collections by
01 - 2024-05-31\check_images\79281              Securitization.pdf                       31708         2/9/2024 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-02__923445_Collections by
01 - 2024-05-31\check_images\79281              Securitization.pdf                       29778        3/13/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-02__936346_Collections by
01 - 2024-05-31\check_images\79281              Securitization.pdf                       31113        4/12/2024 7:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-02__949054_Collections by
01 - 2024-05-31\check_images\79281              Securitization 05072024.pdf              50371        5/10/2024 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79282              2022-04-08__618540_JGW Deposit.pdf      168286       4/19/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-08__627765_Collections by
01 - 2024-05-31\check_images\79282              Securitization 05042022.pdf                2579      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-08__642667_Collections by
01 - 2024-05-31\check_images\79282              Securitization.pdf                         8591       6/10/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-08__655564_Collections by
01 - 2024-05-31\check_images\79282              Securitization.pdf                         8215       7/11/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-08__683831_Collections by
01 - 2024-05-31\check_images\79282              Securitization.pdf                         9406       9/13/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-08__683829_Collections by
01 - 2024-05-31\check_images\79282              Securitization.pdf                         9406       9/13/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-08__695709_Collections by
01 - 2024-05-31\check_images\79282              Securitization.pdf                         8791      10/10/2022 8:31




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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-08__709359_Collections by
01 - 2024-05-31\check_images\79282              Securitization.pdf                        7954      11/11/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-08__721988_Collections by
01 - 2024-05-31\check_images\79282              Securitization.pdf                        7954      12/12/2022 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-08__735753_Collections by
01 - 2024-05-31\check_images\79282              Securitization.pdf                        8784       1/11/2023 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-08__748361_Collections by
01 - 2024-05-31\check_images\79282              Securitization.pdf                        8766        2/9/2023 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-08__761921_Collections by
01 - 2024-05-31\check_images\79282              Securitization.pdf                        8417       3/10/2023 8:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-08__775028_Collections by
01 - 2024-05-31\check_images\79282              Securitization.pdf                        8218       4/10/2023 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-08__789569_Collections by
01 - 2024-05-31\check_images\79282              Securitization.pdf                        8779       5/11/2023 7:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-08__802126_Collections by
01 - 2024-05-31\check_images\79282              Securitization.pdf                        8767        6/9/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-08__817590_Collections by
01 - 2024-05-31\check_images\79282              Securitization.pdf                      32183        7/13/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-08__833052_Collections by
01 - 2024-05-31\check_images\79282              Securitization.pdf                     183339        8/17/2023 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-08__843434_Collections by
01 - 2024-05-31\check_images\79282              Securitization.pdf                      31977        9/12/2023 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-08__856236_Collections by
01 - 2024-05-31\check_images\79282              Securitization.pdf                      27972       10/11/2023 7:54




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-08__871949_Collections by
01 - 2024-05-31\check_images\79282              Securitization 11092023.pdf             31843      11/15/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-08__883295_Collections by
01 - 2024-05-31\check_images\79282              Securitization.pdf                      30328       12/12/2023 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-08__896800_Collections by
01 - 2024-05-31\check_images\79282              Securitization.pdf                      31483        1/11/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-08__908993_Collections by
01 - 2024-05-31\check_images\79282              Securitization.pdf                      31708         2/9/2024 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-08__924818_Collections by
01 - 2024-05-31\check_images\79282              Securitization.pdf                      30862        3/18/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-08__936343_Collections by
01 - 2024-05-31\check_images\79282              Securitization.pdf                      31113        4/12/2024 7:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-08__948921_Collections by
01 - 2024-05-31\check_images\79282              Securitization.pdf                      30949         5/9/2024 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-23__622253_Collections by
01 - 2024-05-31\check_images\79285              Securitization 4 22 2022.pdf            32068       4/26/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-23__632843_Collections by
01 - 2024-05-31\check_images\79285              Securitization 05202022.pdf               7955       5/20/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-23__648306_Collections by
01 - 2024-05-31\check_images\79285              Securitization 06212022.pdf               2584      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-23__660426_Collections by
01 - 2024-05-31\check_images\79285              Securitization.pdf                        6309       7/22/2022 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-23__674319_Collections by
01 - 2024-05-31\check_images\79285              Securitization 08172022.pdf               2583      10/9/2024 17:20




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-23__687925_Collections by
01 - 2024-05-31\check_images\79285              Securitization.pdf                        9026       9/26/2022 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-23__701139_Collections by
01 - 2024-05-31\check_images\79285              Securitization.pdf                        8780      10/25/2022 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-23__715861_Collections by
01 - 2024-05-31\check_images\79285              Securitization 11212022.pdf               2781      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-23__727406_Collections by
01 - 2024-05-31\check_images\79285              Securitization.pdf                        8410      12/23/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-23__739678_Collections by
01 - 2024-05-31\check_images\79285              Securitization.pdf                        8212       1/23/2023 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-23__754581_Collections by
01 - 2024-05-31\check_images\79285              Securitization.pdf                        9443       2/24/2023 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-23__766796_Collections by
01 - 2024-05-31\check_images\79285              Securitization.pdf                        7951       3/23/2023 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-23__781146_Collections by
01 - 2024-05-31\check_images\79285              Securitization.pdf                        8409       4/25/2023 8:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-23__793123_Collections by
01 - 2024-05-31\check_images\79285              Securitization.pdf                        8787       5/22/2023 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-23__810184_Collections by
01 - 2024-05-31\check_images\79285              Securitization.pdf                      31281        6/28/2023 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-23__823091_Collections by
01 - 2024-05-31\check_images\79285              Securitization.pdf                      28821        7/28/2023 7:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-23__835028_Collections by
01 - 2024-05-31\check_images\79285              Securitization.pdf                     180803        8/24/2023 7:38




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-23__847264_Collections by
01 - 2024-05-31\check_images\79285              Securitization.pdf                       29837        9/22/2023 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-23__860170_Collections by
01 - 2024-05-31\check_images\79285              Securitization 10172023.pdf                2772      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-23__876057_Collections by
01 - 2024-05-31\check_images\79285              Securitization 11202023.pdf                2791      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-23__887852_Collections by
01 - 2024-05-31\check_images\79285              Securitization.pdf                       30919       12/22/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-23__901573_Collections by
01 - 2024-05-31\check_images\79285              Securitization.pdf                       30610        1/25/2024 7:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-23__914592_Collections by
01 - 2024-05-31\check_images\79285              Securitization.pdf                       30644        2/26/2024 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-23__926758_Collections by
01 - 2024-05-31\check_images\79285              Securitization.pdf                       30446        3/22/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-23__939716_Collections by
01 - 2024-05-31\check_images\79285              Securitization.pdf                       30991        4/22/2024 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-23__954778_Collections by
01 - 2024-05-31\check_images\79285              Securitization.pdf                       31189        5/28/2024 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79286              2022-04-26__618539_JGW Deposit.pdf      168286       4/19/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-26__635117_Collections by
01 - 2024-05-31\check_images\79286              Securitization 05232022.pdf                2969      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-26__648618_Collections by
01 - 2024-05-31\check_images\79286              Securitization.pdf                         8419       6/27/2022 8:03




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-26__661751_Collections by
01 - 2024-05-31\check_images\79286              Securitization 07212022.pdf               2969      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-26__677291_Collections by
01 - 2024-05-31\check_images\79286              Securitization 08252022.pdf               2595      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-26__687922_Collections by
01 - 2024-05-31\check_images\79286              Securitization.pdf                        9026       9/26/2022 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-26__702310_Collections by
01 - 2024-05-31\check_images\79286              Securitization.pdf                        8600      10/27/2022 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-26__715877_Collections by
01 - 2024-05-31\check_images\79286              Securitization 11212022.pdf               2781      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-26__727407_Collections by
01 - 2024-05-31\check_images\79286              Securitization.pdf                        8410      12/23/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-26__741537_Collections by
01 - 2024-05-31\check_images\79286              Securitization 01232023.pdf               3158      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-26__754572_Collections by
01 - 2024-05-31\check_images\79286              Securitization.pdf                        9443       2/24/2023 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-26__766971_Collections by
01 - 2024-05-31\check_images\79286              Securitization.pdf                        8415       3/24/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-26__782688_Collections by
01 - 2024-05-31\check_images\79286              Securitization.pdf                        7955       4/27/2023 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-26__794712_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-26__810183_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-26__823090_Collections by
01 - 2024-05-31\check_images\79286              Securitization.pdf                      28821        7/28/2023 7:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-26__835111_Collections by
01 - 2024-05-31\check_images\79286              Securitization.pdf                      31442        8/25/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-26__847638_Collections by
01 - 2024-05-31\check_images\79286              Securitization.pdf                      29441        9/25/2023 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-26__862230_Collections by
01 - 2024-05-31\check_images\79286              Securitization.pdf                      30920       10/27/2023 7:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-26__876053_Collections by
01 - 2024-05-31\check_images\79286              Securitization 11202023.pdf               2791      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-26__887959_Collections by
01 - 2024-05-31\check_images\79286              Securitization.pdf                        6305      12/26/2023 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-26__901756_Collections by
01 - 2024-05-31\check_images\79286              Securitization.pdf                      31059        1/26/2024 7:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-26__916092_Collections by
01 - 2024-05-31\check_images\79286              Securitization.pdf                      31476        2/27/2024 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-26__929260_Collections by
01 - 2024-05-31\check_images\79286              Securitization.pdf                      31574        3/28/2024 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-26__941681_Collections by
01 - 2024-05-31\check_images\79286              Securitization.pdf                      30833        4/26/2024 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-26__954774_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-01__627773_Collections by
01 - 2024-05-31\check_images\79287              Securitization 05042022.pdf               2579      10/9/2024 17:20




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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-01__641235_Collections by
01 - 2024-05-31\check_images\79287              Securitization.pdf                        8592        6/7/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-01__655566_Collections by
01 - 2024-05-31\check_images\79287              Securitization.pdf                        8215       7/11/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-01__670028_Collections by
01 - 2024-05-31\check_images\79287              Securitization.pdf                        7951       8/11/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-13__672878_Collections by
01 - 2024-05-31\check_images\79287              Securitization.pdf                        8223       8/19/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-01__682839_Collections by
01 - 2024-05-31\check_images\79287              Securitization.pdf                        7949       9/12/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-01__696819_Collections by
01 - 2024-05-31\check_images\79287              Securitization.pdf                        6308      10/12/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-01__709361_Collections by
01 - 2024-05-31\check_images\79287              Securitization.pdf                        7952      11/11/2022 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-01__723832_Collections by
01 - 2024-05-31\check_images\79287              Securitization.pdf                        8797     12/14/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__736938_Collections by
01 - 2024-05-31\check_images\79287              Securitization.pdf                        9411       1/13/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__748367_Collections by
01 - 2024-05-31\check_images\79287              Securitization.pdf                        8766        2/9/2023 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__763498_Collections by
01 - 2024-05-31\check_images\79287              Securitization.pdf                        7947       3/14/2023 8:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__776958_Collections by
01 - 2024-05-31\check_images\79287              Securitization.pdf                        8591       4/13/2023 7:42




                                                             681
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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__789564_Collections by
01 - 2024-05-31\check_images\79287              Securitization.pdf                        8779       5/11/2023 7:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__801979_Collections by
01 - 2024-05-31\check_images\79287              Securitization.pdf                        9411        6/8/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__818116_Collections by
01 - 2024-05-31\check_images\79287              Securitization.pdf                      28027        7/17/2023 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__829220_Collections by
01 - 2024-05-31\check_images\79287              Securitization.pdf                     182881         8/9/2023 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-13__833369_Collections by
01 - 2024-05-31\check_images\79287              Securitization.pdf                     181803        8/21/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__850908_Collections by
01 - 2024-05-31\check_images\79287              Securitization.pdf                      31964        9/29/2023 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__861866_Collections by
01 - 2024-05-31\check_images\79287              Securitization.pdf                      30423       10/26/2023 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__902027_Collections by
01 - 2024-05-31\check_images\79287              Securitization 01292024.pdf               2157      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__896975_Collections by
01 - 2024-05-31\check_images\79287              Securitization.pdf                      30558        1/12/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__896979_Collections by
01 - 2024-05-31\check_images\79287              Securitization.pdf                      30558        1/12/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__916091_Collections by
01 - 2024-05-31\check_images\79287              Securitization.pdf                      31476        2/27/2024 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__929257_Collections by
01 - 2024-05-31\check_images\79287              Securitization.pdf                      31574        3/28/2024 7:58




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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__957345_Collections by
01 - 2024-05-31\check_images\79287              Securitization 05242024.pdf             46855        5/30/2024 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__948911_Collections by
01 - 2024-05-31\check_images\79287              Securitization.pdf                      30949         5/9/2024 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-06__644113_Collections by
01 - 2024-05-31\check_images\79290              Securitization.pdf                        6308       6/14/2022 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-06__655565_Collections by
01 - 2024-05-31\check_images\79290              Securitization.pdf                        8215       7/11/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-06__672879_Collections by
01 - 2024-05-31\check_images\79290              Securitization.pdf                        8223       8/19/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-06__683838_Collections by
01 - 2024-05-31\check_images\79290              Securitization.pdf                        9406       9/13/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-06__695721_Collections by
01 - 2024-05-31\check_images\79290              Securitization.pdf                        7959     10/11/2022 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-06__709356_Collections by
01 - 2024-05-31\check_images\79290              Securitization.pdf                        7954      11/11/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-06__722848_Collections by
01 - 2024-05-31\check_images\79290              Securitization.pdf                        9222      12/13/2022 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-06__735757_Collections by
01 - 2024-05-31\check_images\79290              Securitization.pdf                        8784       1/11/2023 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-06__749175_Collections by
01 - 2024-05-31\check_images\79290              Securitization 02082023.pdf               2970      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-06__762422_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-06__776077_Collections by
01 - 2024-05-31\check_images\79290              Securitization.pdf                        7944       4/11/2023 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-06__789717_Collections by
01 - 2024-05-31\check_images\79290              Securitization.pdf                        9232       5/12/2023 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-06__804311_Collections by
01 - 2024-05-31\check_images\79290              Securitization.pdf                        8403       6/14/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-06__817595_Collections by
01 - 2024-05-31\check_images\79290              Securitization.pdf                      32183        7/13/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-06__830141_Collections by
01 - 2024-05-31\check_images\79290              Securitization.pdf                     182885        8/10/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-06__843435_Collections by
01 - 2024-05-31\check_images\79290              Securitization.pdf                      31977        9/12/2023 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-06__857414_Collections by
01 - 2024-05-31\check_images\79290              Securitization 10102023.pdf             32534       10/13/2023 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-06__869534_Collections by
01 - 2024-05-31\check_images\79290              Securitization 11082023.pdf               2395      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-06__882508_Collections by
01 - 2024-05-31\check_images\79290              Securitization.pdf                      31746       12/11/2023 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-06__897180_Collections by
01 - 2024-05-31\check_images\79290              Securitization 01102024.pdf               7955       1/16/2024 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-06__908990_Collections by
01 - 2024-05-31\check_images\79290              Securitization.pdf                      31708         2/9/2024 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-06__923976_Collections by
01 - 2024-05-31\check_images\79290              Securitization.pdf                      28835        3/14/2024 7:43




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-06__936347_Collections by
01 - 2024-05-31\check_images\79290              Securitization.pdf                      31113        4/12/2024 7:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-06__948917_Collections by
01 - 2024-05-31\check_images\79290              Securitization.pdf                      30949         5/9/2024 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-01__667125_Collections by
01 - 2024-05-31\check_images\79292              Securitization 08012022.pdf               3692      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-08__685198_Collections by
01 - 2024-05-31\check_images\79292              Securitization 09122022.pdf               2383      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-01__695009_Collections by
01 - 2024-05-31\check_images\79292              Securitization.pdf                        8591       10/6/2022 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-01__708526_Collections by
01 - 2024-05-31\check_images\79292              Securitization.pdf                        9211       11/8/2022 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-01__721252_Collections by
01 - 2024-05-31\check_images\79292              Securitization 12052022.pdf               2382      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__734005_Collections by
01 - 2024-05-31\check_images\79292              Securitization 01042023.pdf               2765      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__748364_Collections by
01 - 2024-05-31\check_images\79292              Securitization.pdf                        8766        2/9/2023 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__761428_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__774413_Collections by
01 - 2024-05-31\check_images\79292              Securitization.pdf                        9949        4/6/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__787404_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__802124_Collections by
01 - 2024-05-31\check_images\79292              Securitization.pdf                        8767        6/9/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__814588_Collections by
01 - 2024-05-31\check_images\79292              Securitization.pdf                      31454         7/7/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__827976_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__842194_Collections by
01 - 2024-05-31\check_images\79292              Securitization 09012023.pdf               3500      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__854480_Collections by
01 - 2024-05-31\check_images\79292              Securitization.pdf                      31318        10/5/2023 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__868564_Collections by
01 - 2024-05-31\check_images\79292              Securitization.pdf                      30923        11/8/2023 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__882103_Collections by
01 - 2024-05-31\check_images\79292              Securitization 12042023.pdf             33142        12/7/2023 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__896068_Collections by
01 - 2024-05-31\check_images\79292              Securitization.pdf                      31409        1/10/2024 7:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__908818_Collections by
01 - 2024-05-31\check_images\79292              Securitization.pdf                      31265         2/8/2024 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__920713_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__934128_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__947660_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-07__671020_Collections by
01 - 2024-05-31\check_images\79293              Securitization 08102022.pdf               3335      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-07__683841_Collections by
01 - 2024-05-31\check_images\79293              Securitization.pdf                        9406       9/13/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-07__697894_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-07__709362_Collections by
01 - 2024-05-31\check_images\79293              Securitization.pdf                        7952      11/11/2022 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-07__723865_Collections by
01 - 2024-05-31\check_images\79293              Securitization.pdf                        8797     12/14/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-07__737177_Collections by
01 - 2024-05-31\check_images\79293              Securitization.pdf                        8606       1/17/2023 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-07__750249_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-07__762458_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-07__779031_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-07__790018_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-07__803528_Collections by
01 - 2024-05-31\check_images\79293              Securitization.pdf                        6306       6/13/2023 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-07__819584_Collections by
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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-07__830244_Collections by
01 - 2024-05-31\check_images\79293              Securitization.pdf                     182688        8/11/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-07__857947_Collections by
01 - 2024-05-31\check_images\79293              Securitization.pdf                      30670       10/16/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-07__872013_Collections by
01 - 2024-05-31\check_images\79293              Securitization 11102023.pdf             43188      11/15/2023 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-07__885010_Collections by
01 - 2024-05-31\check_images\79293              Securitization.pdf                      31216       12/15/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-07__887156_Collections by
01 - 2024-05-31\check_images\79293              Securitization 12142023.pdf             31616       12/20/2023 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-07__899693_Collections by
01 - 2024-05-31\check_images\79293              Securitization.pdf                      31257        1/18/2024 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-07__909159_Collections by
01 - 2024-05-31\check_images\79293              Securitization.pdf                      32078        2/12/2024 8:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-07__922895_Collections by
01 - 2024-05-31\check_images\79293              Securitization.pdf                      29327        3/12/2024 7:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-07__939413_Collections by
01 - 2024-05-31\check_images\79293              Securitization.pdf                      31175        4/18/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-07__949052_Collections by
01 - 2024-05-31\check_images\79293              Securitization 05072024.pdf             50371        5/10/2024 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-12__739219_Collections by
01 - 2024-05-31\check_images\79296              Securitization.pdf                        8782       1/19/2023 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-12__752269_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-12__765322_Collections by
01 - 2024-05-31\check_images\79296              Securitization.pdf                        8779       3/20/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-12__779844_Collections by
01 - 2024-05-31\check_images\79296              Securitization.pdf                        6309       4/21/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-12__792847_Collections by
01 - 2024-05-31\check_images\79296              Securitization 05162023.pdf               2587      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-12__805420_Collections by
01 - 2024-05-31\check_images\79296              Securitization.pdf                      31629       6/16/2023 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-12__819585_Collections by
01 - 2024-05-31\check_images\79296              Securitization.pdf                      31684        7/19/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-12__833164_Collections by
01 - 2024-05-31\check_images\79296              Securitization.pdf                     181752        8/18/2023 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-12__846249_Collections by
01 - 2024-05-31\check_images\79296              Securitization.pdf                        6309       9/19/2023 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-12__859556_Collections by
01 - 2024-05-31\check_images\79296              Securitization.pdf                      28575       10/18/2023 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-12__873840_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-12__893631_Collections by
01 - 2024-05-31\check_images\79296              Securitization.pdf                      28963         1/4/2024 7:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-12__900313_Collections by
01 - 2024-05-31\check_images\79296              Securitization.pdf                      31424        1/22/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-12__912207_Collections by
01 - 2024-05-31\check_images\79296              Securitization 02142024.pdf             32391        2/20/2024 9:23




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-12__939414_Collections by
01 - 2024-05-31\check_images\79296              Securitization.pdf                             31175       4/18/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-12__952489_Collections by
01 - 2024-05-31\check_images\79296              Securitization.pdf                             31993       5/20/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-12__957335_Collections by
01 - 2024-05-31\check_images\79296              Securitization 05242024.pdf                    46855       5/30/2024 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-22__835110_Collections by
01 - 2024-05-31\check_images\79298              Securitization.pdf                             31442       8/25/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-01__675739_3394751-13-6000.00
01 - 2024-05-31\check_images\79353              USD.pdf                                        31879      8/26/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__837291_item-3_3739619-3-
01 - 2024-05-31\check_images\79353              6000.00 USD.pdf                                36359      8/29/2023 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-10__895666_item-10_42468523-10-
01 - 2024-05-31\check_images\79368              1875.14 USD.pdf                                74716       1/9/2024 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-10__910181_item-14_42526560-14-
01 - 2024-05-31\check_images\79368              1875.14 USD.pdf                                67506      2/12/2024 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-10__922235_item-33_42577385-33-
01 - 2024-05-31\check_images\79368              1875.14 USD.pdf                                69697       3/11/2024 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-10__940622_item-18_42630986-18-
01 - 2024-05-31\check_images\79368              1875.14 USD.pdf                                78089      4/23/2024 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-10__949003_item-2_42686526-2-
01 - 2024-05-31\check_images\79368              1875.14 USD.pdf                                75664       5/9/2024 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-16__631030_3750296023-32-1150.92
01 - 2024-05-31\check_images\79374              USD.pdf                                        92602      5/16/2022 11:03




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-16__644990_3750297691-4-1150.92
01 - 2024-05-31\check_images\79374              USD.pdf                                         95537      6/15/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-16__659381_3750299462-33-1150.92
01 - 2024-05-31\check_images\79374              USD.pdf                                         38572      7/19/2022 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-16__671694_3750301256-1-1150.92
01 - 2024-05-31\check_images\79374              USD.pdf                                         93267      8/15/2022 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-16__686236_item-11_3750302908-11-
01 - 2024-05-31\check_images\79374              1150.92 USD.pdf                                109233      9/19/2022 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-16__699221_item-11_3750304516-11-
01 - 2024-05-31\check_images\79374              1150.92 USD.pdf                                 93355     10/17/2022 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-16__711455_item-36_3750306132-36-
01 - 2024-05-31\check_images\79374              1150.92 USD.pdf                                104593     11/15/2022 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-16__725235_item-7_3750307864-7-
01 - 2024-05-31\check_images\79374              1150.92 USD.pdf                                 96943     12/19/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-16__738235_item-35_3750309634-35-
01 - 2024-05-31\check_images\79374              1150.92 USD.pdf                                 92824       1/17/2023 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-16__751927_item-1_3750311202-1-
01 - 2024-05-31\check_images\79374              1150.92 USD.pdf                                 77790       2/17/2023 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-16__766828_item-14_3750312770-14-
01 - 2024-05-31\check_images\79374              1150.92 USD.pdf                                 92740       3/23/2023 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-16__777992_item-30_3750314400-30-
01 - 2024-05-31\check_images\79374              1150.92 USD.pdf                                 99751      4/17/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-16__791368_item-28_3750316033-28-
01 - 2024-05-31\check_images\79374              1185.45 USD.pdf                                100806      5/15/2023 18:06




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-16__805762_item-5_3750317666-5-
01 - 2024-05-31\check_images\79374              1185.45 USD.pdf                                 97153      6/20/2023 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-16__818675_item-31_3750319437-31-
01 - 2024-05-31\check_images\79374              1185.45 USD.pdf                                 95428      7/17/2023 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-16__832203_item-8_3750321156-8-
01 - 2024-05-31\check_images\79374              1185.45 USD.pdf                                 96843      8/15/2023 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-16__845327_item-13_3750322676-13-
01 - 2024-05-31\check_images\79374              1185.45 USD.pdf                                 91246       9/18/2023 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-16__859057_item-44_3750324236-44-
01 - 2024-05-31\check_images\79374              1185.45 USD.pdf                                103031      10/16/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-16__872444_item-2_3750325919-2-
01 - 2024-05-31\check_images\79374              1185.45 USD.pdf                                103869     11/16/2023 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-16__890727_item-37_3750327527-37-
01 - 2024-05-31\check_images\79374              1185.45 USD.pdf                                 92284     12/29/2023 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-16__898621_item-37_3750329243-37-
01 - 2024-05-31\check_images\79374              1185.45 USD.pdf                                 75232      1/16/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-16__913251_item-13_3750330902-13-
01 - 2024-05-31\check_images\79374              1185.45 USD.pdf                                 76606      2/20/2024 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-16__925312_item-27_3750332445-27-
01 - 2024-05-31\check_images\79374              1185.45 USD.pdf                                 99676       3/18/2024 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-16__937680_item-28_3750333997-28-
01 - 2024-05-31\check_images\79374              1185.45 USD.pdf                                 37699      4/15/2024 17:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-16__951402_item-16_3750335551-16-
01 - 2024-05-31\check_images\79374              1221.01 USD.pdf                                 46994       5/15/2024 9:52




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 694 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-07__841091_item-29_4300406150-29-
01 - 2024-05-31\check_images\79375              2699.26 USD.pdf                                 85324       9/5/2023 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-07__853388_item-35_4300408054-35-
01 - 2024-05-31\check_images\79375              2699.26 USD.pdf                                 94910      10/3/2023 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-07__867493_item-43_4300409993-43-
01 - 2024-05-31\check_images\79375              2699.26 USD.pdf                                 91115      11/6/2023 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-07__880095_item-39_4300411847-39-
01 - 2024-05-31\check_images\79375              2699.26 USD.pdf                                 67136       12/4/2023 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79375              2024-01-07__894290_4300413691 2699.26.pdf      453873        1/5/2024 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-07__907167_item-24_4300415572-24-
01 - 2024-05-31\check_images\79375              2699.26 USD.pdf                                 85171       2/5/2024 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-07__920898_item-37_4300417413-37-
01 - 2024-05-31\check_images\79375              2699.26 USD.pdf                                100802       3/6/2024 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-07__933209_item-19_4300419325-19-
01 - 2024-05-31\check_images\79375              2699.26 USD.pdf                                 75048       4/3/2024 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-07__943025_item-8_4300421249-8-
01 - 2024-05-31\check_images\79375              2699.26 USD.pdf                                 70892      4/29/2024 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-01__640973_41434289-19-1265.00
01 - 2024-05-31\check_images\79377              USD.pdf                                         70165        6/6/2022 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-01__653086_41490004-1-1265.00
01 - 2024-05-31\check_images\79377              USD.pdf                                         73227        7/5/2022 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-01__666501_41542432-25-1265.00
01 - 2024-05-31\check_images\79377              USD.pdf                                         71188       8/3/2022 10:32




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 695 of
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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-01__681692_item-10_41600650-10-
01 - 2024-05-31\check_images\79377              1265.00 USD.pdf                               74222        9/6/2022 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-01__694105_item-22_41653960-22-
01 - 2024-05-31\check_images\79377              1265.00 USD.pdf                               72736      10/4/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-01__707206_item-45_41706527-45-
01 - 2024-05-31\check_images\79377              1265.00 USD.pdf                               70433      11/3/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-01__721511_item-20_41760527-20-
01 - 2024-05-31\check_images\79377              1265.00 USD.pdf                               71317      12/8/2022 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__731320_item-23_41813824-23-
01 - 2024-05-31\check_images\79377              1265.00 USD.pdf                               73144        1/4/2023 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__744925_item-9_41870337-9-
01 - 2024-05-31\check_images\79377              1265.00 USD.pdf                               72709       2/1/2023 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__759583_item-18_41923504-18-
01 - 2024-05-31\check_images\79377              1265.00 USD.pdf                               75333       3/6/2023 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__773346_item-13_41981402-13-
01 - 2024-05-31\check_images\79377              1265.00 USD.pdf                               64491       4/4/2023 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__787144_item-14_42033700-14-
01 - 2024-05-31\check_images\79377              1265.00 USD.pdf                               69659        5/5/2023 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__800722_item-1_42091620-1-
01 - 2024-05-31\check_images\79377              1265.00 USD.pdf                               72596       6/5/2023 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__812444_item-40_42144620-40-
01 - 2024-05-31\check_images\79377              1265.00 USD.pdf                               68869        7/3/2023 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__826134_item-37_42195823-37-
01 - 2024-05-31\check_images\79377              1265.00 USD.pdf                               73547       8/1/2023 15:10




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 696 of
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               All Paths/Locations                               Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__840968_item-2_42250644-2-
01 - 2024-05-31\check_images\79377              1265.00 USD.pdf                                70331        9/5/2023 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__853814_item-19_42301483-19-
01 - 2024-05-31\check_images\79377              1265.00 USD.pdf                                68153       10/4/2023 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__866399_item-8_42355925-8-
01 - 2024-05-31\check_images\79377              1265.00 USD.pdf                                67443      11/1/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__879922_item-40_42408038-40-
01 - 2024-05-31\check_images\79377              1265.00 USD.pdf                                73552       12/4/2023 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__893595_item-14_42459331-14-
01 - 2024-05-31\check_images\79377              1265.00 USD.pdf                                79077       1/3/2024 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__906081_item-22_42516113-22-
01 - 2024-05-31\check_images\79377              1265.00 USD.pdf                                70261        2/2/2024 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__920516_item-19_42569308-19-
01 - 2024-05-31\check_images\79377              1265.00 USD.pdf                                68569       3/5/2024 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__933410_item-12_42620612-12-
01 - 2024-05-31\check_images\79377              1265.00 USD.pdf                                74485       4/3/2024 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__947568_item-5_42676207-5-
01 - 2024-05-31\check_images\79377              1265.00 USD.pdf                                74602       5/6/2024 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-05__760328_item-25_1003909-25-
01 - 2024-05-31\check_images\79382              40000.00 USD.pdf                               83439       3/6/2023 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-18__646203_147544877-23-75000.00
01 - 2024-05-31\check_images\79390              USD.pdf                                        54116      6/21/2022 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-18__805590_item-32_147759862-32-
01 - 2024-05-31\check_images\79390              225000.00 USD.pdf                              63815      6/16/2023 16:13




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 697 of
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               All Paths/Locations                              Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-01__627181_147512561-35-4580.15
01 - 2024-05-31\check_images\79395              USD.pdf                                        48690       5/5/2022 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-01__642187_147531208-30-4580.15
01 - 2024-05-31\check_images\79395              USD.pdf                                        62240        6/9/2022 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-01__653028_147549999-3-4580.15
01 - 2024-05-31\check_images\79395              USD.pdf                                        57879        7/5/2022 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-01__663529_147568533-8-4580.15
01 - 2024-05-31\check_images\79395              USD.pdf                                        60791       7/29/2022 9:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-01__679637_147587409-8-4580.15
01 - 2024-05-31\check_images\79395              USD.pdf                                        64953       9/1/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-01__692287_item-9_147605457-9-
01 - 2024-05-31\check_images\79395              4580.15 USD.pdf                                84871      10/3/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-01__704616_item-19_147623236-19-
01 - 2024-05-31\check_images\79395              4580.15 USD.pdf                                55620       11/1/2022 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-01__718085_item-17_147640850-17-
01 - 2024-05-31\check_images\79395              4580.15 USD.pdf                                66514      12/1/2022 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__732863_item-41_147658744-41-
01 - 2024-05-31\check_images\79395              4580.15 USD.pdf                                51852       1/5/2023 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__744896_item-6_147677419-6-
01 - 2024-05-31\check_images\79395              4580.15 USD.pdf                                63583       2/1/2023 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__758264_item-31_147694425-31-
01 - 2024-05-31\check_images\79395              4717.55 USD.pdf                                58516       3/1/2023 10:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__773114_item-31_147713308-31-
01 - 2024-05-31\check_images\79395              4717.55 USD.pdf                                72161        4/3/2023 9:44




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               All Paths/Locations                              Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__783608_item-9_147729766-9-
01 - 2024-05-31\check_images\79395              4717.55 USD.pdf                                71234       5/1/2023 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__798064_item-18_147747495-18-
01 - 2024-05-31\check_images\79395              4717.55 USD.pdf                                63198      5/31/2023 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__813151_item-38_147765211-38-
01 - 2024-05-31\check_images\79395              4717.55 USD.pdf                                58705       7/3/2023 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__827417_item-17_147782128-17-
01 - 2024-05-31\check_images\79395              4717.55 USD.pdf                                54717        8/3/2023 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__840599_item-25_147799249-25-
01 - 2024-05-31\check_images\79395              4717.55 USD.pdf                                57800       9/5/2023 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__852724_item-32_147816106-32-
01 - 2024-05-31\check_images\79395              4717.55 USD.pdf                                59372       10/3/2023 7:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__866844_item-9_147833006-9-
01 - 2024-05-31\check_images\79395              4717.55 USD.pdf                                54951       11/3/2023 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__879217_item-17_147849408-17-
01 - 2024-05-31\check_images\79395              4717.55 USD.pdf                                52833       12/4/2023 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__891867_item-39_147865578-39-
01 - 2024-05-31\check_images\79395              4717.55 USD.pdf                                55783       1/2/2024 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__906877_item-33_147883255-33-
01 - 2024-05-31\check_images\79395              4717.55 USD.pdf                                56140       2/5/2024 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__919620_item-34_147899481-34-
01 - 2024-05-31\check_images\79395              4859.08 USD.pdf                                55360        3/4/2024 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__932016_item-16_147915543-16-
01 - 2024-05-31\check_images\79395              4859.08 USD.pdf                                60587       4/2/2024 12:50




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               All Paths/Locations                              Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__944873_item-19_147932501-19-
01 - 2024-05-31\check_images\79395              4859.08 USD.pdf                                54971       5/1/2024 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-01__705295_item-11_387052-11-
01 - 2024-05-31\check_images\79398              1000.00 USD.pdf                                47450      11/1/2022 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-01__715979_item-28_390482-28-
01 - 2024-05-31\check_images\79398              1000.00 USD.pdf                                46619     11/29/2022 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__730919_item-38_394097-38-
01 - 2024-05-31\check_images\79398              1000.00 USD.pdf                                48578       1/3/2023 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__746344_item-22_397521-22-
01 - 2024-05-31\check_images\79398              1000.00 USD.pdf                                47159        2/3/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__756907_item-34_400830-34-
01 - 2024-05-31\check_images\79398              1000.00 USD.pdf                               146283      2/28/2023 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__772481_item-34_404246-34-
01 - 2024-05-31\check_images\79398              1000.00 USD.pdf                                52324       4/3/2023 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__784796_item-33_407592-33-
01 - 2024-05-31\check_images\79398              1000.00 USD.pdf                                43583       5/2/2023 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__796752_item-12_410968-12-
01 - 2024-05-31\check_images\79398              1000.00 USD.pdf                                45096       5/31/2023 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__811383_item-30_414511-30-
01 - 2024-05-31\check_images\79398              1000.00 USD.pdf                                47077      6/30/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__825409_item-45_418034-45-
01 - 2024-05-31\check_images\79398              1000.00 USD.pdf                                57341       8/1/2023 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__839602_item-30_421794-30-
01 - 2024-05-31\check_images\79398              1000.00 USD.pdf                                52900       9/1/2023 10:17




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__852947_item-41_425229-41-
01 - 2024-05-31\check_images\79398              1000.00 USD.pdf                                 50448       10/3/2023 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__867028_item-20_428675-20-
01 - 2024-05-31\check_images\79398              1000.00 USD.pdf                                 46010       11/3/2023 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__878351_item-38_432237-38-
01 - 2024-05-31\check_images\79398              1000.00 USD.pdf                                 43837     11/30/2023 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__892229_item-17_435844-17-
01 - 2024-05-31\check_images\79398              1000.00 USD.pdf                                 48057       1/3/2024 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__904944_item-41_439386-41-
01 - 2024-05-31\check_images\79398              1000.00 USD.pdf                                 43683      1/31/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__919741_item-28_442924-28-
01 - 2024-05-31\check_images\79398              1000.00 USD.pdf                                 42706        3/4/2024 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__932474_item-14_446342-14-
01 - 2024-05-31\check_images\79398              1000.00 USD.pdf                                 42483       4/2/2024 22:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__946377_item-12_449915-12-
01 - 2024-05-31\check_images\79398              1000.00 USD.pdf                                 48192       5/2/2024 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-04__653181_1000266524-37-2500.00
01 - 2024-05-31\check_images\79410              USD.pdf                                         70908       7/5/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-04__667681_1000273310-1-2500.00
01 - 2024-05-31\check_images\79410              USD.pdf                                         76202       8/5/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-04__680462_item-6_1000279419-6-
01 - 2024-05-31\check_images\79410              2500.00 USD.pdf                                 90675        9/6/2022 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-04__693375_item-20_1000285793-20-
01 - 2024-05-31\check_images\79410              2500.00 USD.pdf                                 71732       10/4/2022 8:52




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-04__707315_item-11_1000292295-11-
01 - 2024-05-31\check_images\79410              2500.00 USD.pdf                                 74167       11/4/2022 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-04__718790_item-16_1000298562-16-
01 - 2024-05-31\check_images\79410              2500.00 USD.pdf                                 74543      12/5/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-04__734247_item-38_1000304965-38-
01 - 2024-05-31\check_images\79410              2500.00 USD.pdf                                 79208       1/9/2023 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-04__746074_item-5_1000311224-5-
01 - 2024-05-31\check_images\79410              2500.00 USD.pdf                                 76702        2/3/2023 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-04__759835_item-20_1000317505-20-
01 - 2024-05-31\check_images\79410              2500.00 USD.pdf                                 79613       3/6/2023 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-04__771930_item-14_1000323856-14-
01 - 2024-05-31\check_images\79410              2500.00 USD.pdf                                 71111       4/3/2023 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-04__789630_item-43_1000330387-43-
01 - 2024-05-31\check_images\79410              2500.00 USD.pdf                                 73676       5/11/2023 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-04__800847_item-4_1000339109-4-
01 - 2024-05-31\check_images\79410              2500.00 USD.pdf                                 72798        6/6/2023 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-04__812580_item-11_1000351408-11-
01 - 2024-05-31\check_images\79410              2500.00 USD.pdf                                 69913        7/3/2023 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-04__827843_item-29_1000361741-29-
01 - 2024-05-31\check_images\79410              2500.00 USD.pdf                                 78831       8/4/2023 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-04__840816_item-5_1000372198-5-
01 - 2024-05-31\check_images\79410              2500.00 USD.pdf                                 70073        9/5/2023 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-04__860171_item-6_1000382443-6-
01 - 2024-05-31\check_images\79410              2500.00 USD.pdf                                 73528      10/20/2023 9:13




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               All Paths/Locations                                 Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-04__871648_item-34_1000392292-34-
01 - 2024-05-31\check_images\79410              2500.00 USD.pdf                                 75989      11/14/2023 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-04__880180_item-30_1000402816-30-
01 - 2024-05-31\check_images\79410              2500.00 USD.pdf                                 74781        12/4/2023 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-04__894798_item-30_1000413394-30-
01 - 2024-05-31\check_images\79410              2500.00 USD.pdf                                 72440        1/8/2024 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-04__906574_item-16_1000423309-16-
01 - 2024-05-31\check_images\79410              2500.00 USD.pdf                                 81628        2/5/2024 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-04__920422_item-30_1000433381-30-
01 - 2024-05-31\check_images\79410              2500.00 USD.pdf                                 79900        3/5/2024 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-04__935412_item-24_1000443763-24-
01 - 2024-05-31\check_images\79410              2500.00 USD.pdf                                 71476        4/9/2024 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-04__947185_item-14_1000453177-14-
01 - 2024-05-31\check_images\79410              2500.00 USD.pdf                                 54048        5/6/2024 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-22__901915_item-30_147878824-30-
01 - 2024-05-31\check_images\79415              3984.38 USD.pdf                                 54987       1/26/2024 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-21__838958_Collections by
01 - 2024-05-31\check_images\79424              Securitization.pdf                              30469        8/31/2023 7:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-02__652925_Collections by
01 - 2024-05-31\check_images\79425              Securitization 06292022.pdf                       3695      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-02__816072_Collections by
01 - 2024-05-31\check_images\79425              Securitization.pdf                              30706        7/11/2023 8:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-02__667926_Collections by
01 - 2024-05-31\check_images\79425              Securitization.pdf                                9203        8/8/2022 8:52




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 703 of
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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-02__680448_Collections by
01 - 2024-05-31\check_images\79425              Securitization.pdf                        8409        9/6/2022 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-02__693255_Collections by
01 - 2024-05-31\check_images\79425              Securitization.pdf                        8784       10/4/2022 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-02__708522_Collections by
01 - 2024-05-31\check_images\79425              Securitization.pdf                        9211       11/8/2022 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-02__722838_Collections by
01 - 2024-05-31\check_images\79425              Securitization.pdf                        9222      12/13/2022 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-02__736934_Collections by
01 - 2024-05-31\check_images\79425              Securitization.pdf                        9411       1/13/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-02__748362_Collections by
01 - 2024-05-31\check_images\79425              Securitization.pdf                        8766        2/9/2023 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-02__760099_Collections by
01 - 2024-05-31\check_images\79425              Securitization 03012023.pdf               3713      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-02__774410_Collections by
01 - 2024-05-31\check_images\79425              Securitization.pdf                        9949        4/6/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-02__787458_Collections by
01 - 2024-05-31\check_images\79425              Securitization.pdf                        9967        5/8/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-02__801998_Collections by
01 - 2024-05-31\check_images\79425              Securitization.pdf                        9411        6/8/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-02__822488_Collections by
01 - 2024-05-31\check_images\79425              Securitization 05312022.pdf               4255      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-02__827960_Collections by
01 - 2024-05-31\check_images\79425              Securitization.pdf                     185664         8/7/2023 8:28




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               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-02__842192_Collections by
01 - 2024-05-31\check_images\79425              Securitization 09012023.pdf               3500      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-02__855134_Collections by
01 - 2024-05-31\check_images\79425              Securitization.pdf                      32433      10/10/2023 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-02__866825_Collections by
01 - 2024-05-31\check_images\79425              Securitization.pdf                      31511        11/3/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-02__882210_Collections by
01 - 2024-05-31\check_images\79425              Securitization.pdf                      31102        12/8/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-02__895376_Collections by
01 - 2024-05-31\check_images\79425              Securitization.pdf                      31952         1/9/2024 7:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-02__908813_Collections by
01 - 2024-05-31\check_images\79425              Securitization.pdf                      31265         2/8/2024 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-02__919817_Collections by
01 - 2024-05-31\check_images\79425              Securitization.pdf                      32339         3/5/2024 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-02__934134_Collections by
01 - 2024-05-31\check_images\79425              Securitization.pdf                      31771         4/5/2024 7:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-02__946172_Collections by
01 - 2024-05-31\check_images\79425              Securitization 04292024.pdf             33919         5/2/2024 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-04-16__645357_Collections by
01 - 2024-05-31\check_images\79437              Securitization.pdf                        8790       6/16/2022 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-05-16__629958_Collections by
01 - 2024-05-31\check_images\79437              Securitization 05132022.pdf               8226       5/13/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-16__657594_Collections by
01 - 2024-05-31\check_images\79437              Securitization.pdf                        8408       7/14/2022 8:23




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-16__670288_Collections by
01 - 2024-05-31\check_images\79437              Securitization 08092022.pdf               2390      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-16__685804_Collections by
01 - 2024-05-31\check_images\79437              Securitization 09142022.pdf               2779      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-16__817674_Collections by
01 - 2024-05-31\check_images\79437              Securitization 05312022.pdf               4255      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-16__697895_Collections by
01 - 2024-05-31\check_images\79437              Securitization.pdf                        8813      10/14/2022 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-16__710712_Collections by
01 - 2024-05-31\check_images\79437              Securitization.pdf                        8604      11/15/2022 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-16__725083_Collections by
01 - 2024-05-31\check_images\79437              Securitization 12142022.pdf               2153      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-16__737179_Collections by
01 - 2024-05-31\check_images\79437              Securitization.pdf                        8606       1/17/2023 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-16__750867_Collections by
01 - 2024-05-31\check_images\79437              Securitization.pdf                        6306       2/15/2023 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-16__764092_Collections by
01 - 2024-05-31\check_images\79437              Securitization.pdf                        6307       3/15/2023 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-16__776957_Collections by
01 - 2024-05-31\check_images\79437              Securitization.pdf                        8591       4/13/2023 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-16__790019_Collections by
01 - 2024-05-31\check_images\79437              Securitization 05102023.pdf               3153      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-16__805423_Collections by
01 - 2024-05-31\check_images\79437              Securitization.pdf                      31629       6/16/2023 14:45




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-16__817592_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-16__833165_Collections by
01 - 2024-05-31\check_images\79437              Securitization.pdf                     181752        8/18/2023 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-16__845129_Collections by
01 - 2024-05-31\check_images\79437              Securitization.pdf                      30955        9/18/2023 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-16__859555_Collections by
01 - 2024-05-31\check_images\79437              Securitization.pdf                      28575       10/18/2023 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-16__874198_Collections by
01 - 2024-05-31\check_images\79437              Securitization.pdf                      29002       11/22/2023 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-16__885353_Collections by
01 - 2024-05-31\check_images\79437              Securitization 12132023.pdf             32493       12/18/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-16__899704_Collections by
01 - 2024-05-31\check_images\79437              Securitization.pdf                      31257        1/18/2024 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-16__911999_Collections by
01 - 2024-05-31\check_images\79437              Securitization.pdf                      28875        2/16/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-16__924821_Collections by
01 - 2024-05-31\check_images\79437              Securitization.pdf                      30862        3/18/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-16__938762_Collections by
01 - 2024-05-31\check_images\79437              Securitization.pdf                        6308       4/17/2024 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-16__952488_Collections by
01 - 2024-05-31\check_images\79437              Securitization.pdf                      31993        5/20/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-15__701135_Collections by
01 - 2024-05-31\check_images\79447              Securitization.pdf                        8780      10/25/2022 7:46




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-15__713608_Collections by
01 - 2024-05-31\check_images\79447              Securitization.pdf                        8593      11/22/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-15__726955_Collections by
01 - 2024-05-31\check_images\79447              Securitization 1219022.pdf                2582      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-15__740616_Collections by
01 - 2024-05-31\check_images\79447              Securitization.pdf                        8208       1/24/2023 7:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-15__766100_Collections by
01 - 2024-05-31\check_images\79447              Securitization.pdf                        7953       3/21/2023 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-15__780326_Collections by
01 - 2024-05-31\check_images\79447              Securitization.pdf                        7954       4/24/2023 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-15__793119_Collections by
01 - 2024-05-31\check_images\79447              Securitization.pdf                        8787       5/22/2023 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-15__806431_Collections by
01 - 2024-05-31\check_images\79447              Securitization.pdf                      29583        6/21/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-15__820492_Collections by
01 - 2024-05-31\check_images\79447              Securitization.pdf                      30165        7/24/2023 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-15__834253_Collections by
01 - 2024-05-31\check_images\79447              Securitization.pdf                     182959        8/22/2023 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-15__834259_Collections by
01 - 2024-05-31\check_images\79447              Securitization.pdf                     182959        8/22/2023 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-15__847262_Collections by
01 - 2024-05-31\check_images\79447              Securitization.pdf                      29837        9/22/2023 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-15__860159_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-15__874197_Collections by
01 - 2024-05-31\check_images\79447              Securitization.pdf                            29002       11/22/2023 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-15__891983_Collections by
01 - 2024-05-31\check_images\79447              Securitization.pdf                            31844         1/3/2024 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-15__900311_Collections by
01 - 2024-05-31\check_images\79447              Securitization.pdf                            31424        1/22/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-15__914583_Collections by
01 - 2024-05-31\check_images\79447              Securitization.pdf                            30644        2/26/2024 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-15__926147_Collections by
01 - 2024-05-31\check_images\79447              Securitization.pdf                              6305       3/20/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-15__939714_Collections by
01 - 2024-05-31\check_images\79447              Securitization.pdf                            30991        4/22/2024 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-15__952487_Collections by
01 - 2024-05-31\check_images\79447              Securitization.pdf                            31993        5/20/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-03__905462_item-28_5268562-28-
01 - 2024-05-31\check_images\79520              15000.00 USD.pdf                              65758        2/1/2024 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-15__746866_item-6_23770036-6-
01 - 2024-05-31\check_images\79521              625.00 USD.pdf                                60023         2/6/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-15__748575_item-7_23773598-7-
01 - 2024-05-31\check_images\79521              625.00 USD.pdf                                55071        2/9/2023 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-15__760971_item-13_23816872-13-
01 - 2024-05-31\check_images\79521              625.00 USD.pdf                                56586        3/7/2023 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-15__775278_item-43_23861655-43-
01 - 2024-05-31\check_images\79521              625.00 USD.pdf                                57819       4/10/2023 12:15




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 709 of
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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-15__788599_item-30_23903865-30-
01 - 2024-05-31\check_images\79521              625.00 USD.pdf                                58275       5/9/2023 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-15__802237_item-27_23947568-27-
01 - 2024-05-31\check_images\79521              625.00 USD.pdf                                63064       6/9/2023 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-15__814681_item-4_23988049-4-
01 - 2024-05-31\check_images\79521              625.00 USD.pdf                                60584       7/7/2023 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-15__828881_item-26_24030809-26-
01 - 2024-05-31\check_images\79521              625.00 USD.pdf                                58840        8/7/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-15__843060_item-25_24075015-25-
01 - 2024-05-31\check_images\79521              625.00 USD.pdf                                59558      9/11/2023 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-15__854728_item-12_24115062-12-
01 - 2024-05-31\check_images\79521              625.00 USD.pdf                                58957       10/6/2023 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-15__868649_item-28_24160847-28-
01 - 2024-05-31\check_images\79521              625.00 USD.pdf                                58906       11/8/2023 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-15__882424_item-25_24206315-25-
01 - 2024-05-31\check_images\79521              625.00 USD.pdf                                61880      12/8/2023 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-15__895102_item-43_24248778-43-
01 - 2024-05-31\check_images\79521              625.00 USD.pdf                                62244       1/8/2024 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-15__909452_item-16_24298479-16-
01 - 2024-05-31\check_images\79521              625.00 USD.pdf                                60415      2/12/2024 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-15__922610_item-32_24343479-32-
01 - 2024-05-31\check_images\79521              625.00 USD.pdf                                55584      3/11/2024 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-15__935497_item-7_24388379-7-
01 - 2024-05-31\check_images\79521              625.00 USD.pdf                                57787       4/9/2024 18:17




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 710 of
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-15__947944_item-1_24435096-1-
01 - 2024-05-31\check_images\79521              625.00 USD.pdf                                     61129       5/7/2024 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-30__810002_M and T Checks for 6 27
01 - 2024-05-31\check_images\79539              2023 II_Part2.pdf                                 348791      6/27/2023 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-30__826198_M and T Bank Checks for 7
01 - 2024-05-31\check_images\79539              31 2023_Part4.pdf                                 451721       8/1/2023 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-30__835305_M and T Check for 8 28
01 - 2024-05-31\check_images\79539              2023_Part3.pdf                                    402735       8/28/2023 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-30__853711_M and T Checks for 10 2
01 - 2024-05-31\check_images\79539              2023_Part3.pdf                                    413309      10/3/2023 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-30__864609_M and T Bank Checks for
01 - 2024-05-31\check_images\79539              10 31 2023_Part6.pdf                              403386     10/31/2023 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-30__878701_M and T Bank Checks for
01 - 2024-05-31\check_images\79539              12 1 2023_Part2.pdf                               410831       12/1/2023 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-30__890841_M and T Bank Check for 12
01 - 2024-05-31\check_images\79539              29 2023 II_Part2.pdf                              466183     12/29/2023 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-30__902201_MT Bank Checks for 1 29
01 - 2024-05-31\check_images\79539              2024 I_Part4.pdf                                  417333      1/29/2024 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-29__920060_M and T Bank Checks for 3
01 - 2024-05-31\check_images\79539              4 2024_Part6.pdf                                  409697       3/4/2024 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79539              2024-03-30__928851_C Jerry 03272024.pdf           407125       3/27/2024 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-30__941678_M and T Bank Checks for 4
01 - 2024-05-31\check_images\79539              25 2024.pdf                                       914153       4/26/2024 6:09




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79539              2024-05-30__954419_C Jerry 05242024.pdf        370363      5/24/2024 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-06-01__639001_4491028138-40-290.00
01 - 2024-05-31\check_images\79571              USD.pdf                                         35997       6/1/2022 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-01__653404_4491037444-8-290.00
01 - 2024-05-31\check_images\79571              USD.pdf                                         33107       7/5/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-01__667115_4491047414-41-290.00
01 - 2024-05-31\check_images\79571              USD.pdf                                         42298       8/3/2022 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-01__681147_item-13_4491056619-13-
01 - 2024-05-31\check_images\79571              290.00 USD.pdf                                  37116       9/6/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-01__693918_item-29_4491065456-29-
01 - 2024-05-31\check_images\79571              290.00 USD.pdf                                  46508       10/4/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-01__705840_item-40_4491074161-40-
01 - 2024-05-31\check_images\79571              290.00 USD.pdf                                  43566       11/2/2022 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-01__733824_item-44_4491092424-44-
01 - 2024-05-31\check_images\79571              890.18 USD.pdf                                  44020       1/6/2023 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__767938_item-1_4491117495-1-
01 - 2024-05-31\check_images\79571              890.18 USD.pdf                                  48617       3/27/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__767941_item-2_4491117496-2-
01 - 2024-05-31\check_images\79571              890.18 USD.pdf                                  50552       3/27/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__767957_item-3_4491117497-3-
01 - 2024-05-31\check_images\79571              290.00 USD.pdf                                  50821       3/27/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__772789_item-33_4491119782-33-
01 - 2024-05-31\check_images\79571              890.18 USD.pdf                                  41836       4/3/2023 16:37




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__804358_item-21_3780056681-21-
01 - 2024-05-31\check_images\79571              890.18 USD.pdf                                  94266       6/14/2023 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__811175_item-17_4491148635-17-
01 - 2024-05-31\check_images\79571              890.18 USD.pdf                                  41157      6/30/2023 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__813689_item-27_4491146937-27-
01 - 2024-05-31\check_images\79571              890.18 USD.pdf                                  41601       7/5/2023 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__827874_item-43_4491157004-43-
01 - 2024-05-31\check_images\79571              890.18 USD.pdf                                  47897       8/4/2023 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__841364_item-6_4491166328-6-
01 - 2024-05-31\check_images\79571              890.18 USD.pdf                                  40009       9/6/2023 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__854866_item-6_4491175165-6-
01 - 2024-05-31\check_images\79571              890.18 USD.pdf                                  46301      10/6/2023 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__957744_item-24_4491249286-24-
01 - 2024-05-31\check_images\79571              890.18 USD.pdf                                  38269      5/30/2024 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__880589_item-7_4491193338-7-
01 - 2024-05-31\check_images\79571              890.18 USD.pdf                                  45709      12/5/2023 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__894523_item-26_4491202974-26-
01 - 2024-05-31\check_images\79571              890.18 USD.pdf                                  41990       1/5/2024 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__905122_item-19_4491212713-19-
01 - 2024-05-31\check_images\79571              890.18 USD.pdf                                  72346        2/1/2024 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__919696_item-6_4491221525-6-
01 - 2024-05-31\check_images\79571              890.18 USD.pdf                                  39306        3/4/2024 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__932918_item-33_4491230649-33-
01 - 2024-05-31\check_images\79571              890.18 USD.pdf                                  46536        4/3/2024 9:45




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__945728_item-40_4491239506-40-
01 - 2024-05-31\check_images\79571              890.18 USD.pdf                                  39267       5/1/2024 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check        2022-10-01__693937_Pages from
Image Request - EXTERNAL\Dorchester II 2021-01- IFTSBRW20221003_PHL-9582-
01 - 2024-05-31\check_images\79572              4052_100323P868.pdf                             53174      10/4/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-01__705788_item-18_4491073007-18-
01 - 2024-05-31\check_images\79572              1142.60 USD.pdf                                 41706       11/2/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-01__733791_item-21_4491091047-21-
01 - 2024-05-31\check_images\79572              1142.60 USD.pdf                                 43236       1/6/2023 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__768063_item-20_4491117261-20-
01 - 2024-05-31\check_images\79572              1142.60 USD.pdf                                 42575      3/27/2023 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__768066_item-21_4491117262-21-
01 - 2024-05-31\check_images\79572              1142.60 USD.pdf                                 43148      3/27/2023 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__768067_item-22_4491117263-22-
01 - 2024-05-31\check_images\79572              1142.60 USD.pdf                                 44515      3/27/2023 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__773042_item-5_4491118642-5-
01 - 2024-05-31\check_images\79572              1142.60 USD.pdf                                 43353       4/3/2023 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__813497_item-43_4491145566-43-
01 - 2024-05-31\check_images\79572              1142.60 USD.pdf                                 44018       7/5/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__800200_item-9_3780056615-9-
01 - 2024-05-31\check_images\79572              1142.60 USD.pdf                                 39234       6/5/2023 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__807932_item-6_4491144057-6-
01 - 2024-05-31\check_images\79572              1142.60 USD.pdf                                 42859      6/26/2023 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__827784_item-10_4491155696-10-
01 - 2024-05-31\check_images\79572              1142.60 USD.pdf                                 48514        8/4/2023 9:10




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__841623_item-17_4491165190-17-
01 - 2024-05-31\check_images\79572              1142.60 USD.pdf                                 41793       9/6/2023 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__854762_item-16_4491174012-16-
01 - 2024-05-31\check_images\79572              1142.60 USD.pdf                                 41084       10/6/2023 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__957630_item-2_4491249264-2-
01 - 2024-05-31\check_images\79572              1142.60 USD.pdf                                 37592      5/30/2024 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__881469_item-16_4491192143-16-
01 - 2024-05-31\check_images\79572              1142.60 USD.pdf                                 44784       12/6/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__894397_item-32_4491201634-32-
01 - 2024-05-31\check_images\79572              1142.60 USD.pdf                                 41639       1/5/2024 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__905295_item-31_4491211569-31-
01 - 2024-05-31\check_images\79572              1142.60 USD.pdf                                 43783       2/1/2024 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__919653_item-17_4491220355-17-
01 - 2024-05-31\check_images\79572              1142.60 USD.pdf                                 43441        3/4/2024 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__933094_item-1_4491229513-1-
01 - 2024-05-31\check_images\79572              1142.60 USD.pdf                                 44543        4/3/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__945455_item-7_4491238342-7-
01 - 2024-05-31\check_images\79572              1142.60 USD.pdf                                 39256       5/1/2024 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79644              2023-06-05__798557_3675332 15000.00.pdf        391777       6/1/2023 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__733342_item-16_33559016-16-
01 - 2024-05-31\check_images\79792              1797.53 USD.pdf                                 90065       1/5/2023 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__743613_item-8_33586833-8-
01 - 2024-05-31\check_images\79792              1797.53 USD.pdf                                 94872      1/30/2023 14:33




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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__756212_item-24_33614321-24-
01 - 2024-05-31\check_images\79792              1797.53 USD.pdf                               92687      2/27/2023 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__771263_item-20_33642073-20-
01 - 2024-05-31\check_images\79792              1797.53 USD.pdf                               93609      3/31/2023 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__784562_item-41_33669063-41-
01 - 2024-05-31\check_images\79792              1797.53 USD.pdf                               75056       5/1/2023 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__796631_item-25_33694958-25-
01 - 2024-05-31\check_images\79792              1797.53 USD.pdf                               94106      5/30/2023 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__810996_item-31_33722199-31-
01 - 2024-05-31\check_images\79792              1797.53 USD.pdf                               97458      6/29/2023 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__823853_item-35_33751221-35-
01 - 2024-05-31\check_images\79792              1797.53 USD.pdf                               95157      7/31/2023 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__839099_item-22_33778912-22-
01 - 2024-05-31\check_images\79792              1797.53 USD.pdf                               92033      8/31/2023 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__852294_item-24_33804245-24-
01 - 2024-05-31\check_images\79792              1797.53 USD.pdf                               92100      10/2/2023 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__863910_item-6_33830536-6-
01 - 2024-05-31\check_images\79792              1797.53 USD.pdf                               90150     10/30/2023 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__880125_item-14_33859103-14-
01 - 2024-05-31\check_images\79792              1797.53 USD.pdf                               95532       12/4/2023 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__891344_item-39_33896809-39-
01 - 2024-05-31\check_images\79792              1797.53 USD.pdf                               96317       1/2/2024 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__904279_item-6_33923768-6-
01 - 2024-05-31\check_images\79792              1797.53 USD.pdf                               92403      1/30/2024 14:53




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 716 of
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               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__916029_item-9_33949735-9-
01 - 2024-05-31\check_images\79792              1797.53 USD.pdf                                 56628      2/26/2024 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__929680_item-24_33978993-24-
01 - 2024-05-31\check_images\79792              1797.53 USD.pdf                                 56143      3/28/2024 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__942012_item-21_34003323-21-
01 - 2024-05-31\check_images\79792              1797.53 USD.pdf                                 57692      4/26/2024 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\79796              2024-05-06__947818_5293276 67554.03.pdf        367612       5/7/2024 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-09__761053_item-15_4491112619-15-
01 - 2024-05-31\check_images\79802              10000.00 USD.pdf                                37721        3/8/2023 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-01__667160_5115432-15-2500.00
01 - 2024-05-31\check_images\79831              USD.pdf                                         60239        8/4/2022 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__743866_item-1_5168637-1-
01 - 2024-05-31\check_images\79831              2500.00 USD.pdf                                 79110       1/31/2023 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__824065_item-20_5217961-20-
01 - 2024-05-31\check_images\79831              2500.00 USD.pdf                                 74847      7/31/2023 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__905036_item-33_5267540-33-
01 - 2024-05-31\check_images\79831              2500.00 USD.pdf                                 79136      1/31/2024 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__821730_item-15_496064-15-
01 - 2024-05-31\check_images\79924              13003.96 USD.pdf                                35880       7/26/2023 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__837252_item-39_498465-39-
01 - 2024-05-31\check_images\79924              13003.96 USD.pdf                                35234      8/29/2023 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__849008_item-21_500631-21-
01 - 2024-05-31\check_images\79924              13003.96 USD.pdf                                39293       9/25/2023 9:36




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               All Paths/Locations                               Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__862437_item-34_502871-34-
01 - 2024-05-31\check_images\79924              13003.96 USD.pdf                              41812     10/27/2023 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__875020_item-34_505168-34-
01 - 2024-05-31\check_images\79924              13003.96 USD.pdf                              42615     11/27/2023 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__888759_item-35_507395-35-
01 - 2024-05-31\check_images\79924              13003.96 USD.pdf                              38179      12/26/2023 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__903172_item-4_509795-4-
01 - 2024-05-31\check_images\79924              13003.96 USD.pdf                              33441       1/29/2024 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__915070_item-36_512084-36-
01 - 2024-05-31\check_images\79924              13003.96 USD.pdf                              40255      2/26/2024 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__928065_item-41_514253-41-
01 - 2024-05-31\check_images\79924              13003.96 USD.pdf                              37989      3/25/2024 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__942200_item-17_516468-17-
01 - 2024-05-31\check_images\79924              13003.96 USD.pdf                              34186       4/29/2024 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__811739_item-12_42144580-12-
01 - 2024-05-31\check_images\79942              25000.00 USD.pdf                              69185        7/3/2023 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-07-01__657341_10299_41490003-42-
01 - 2024-05-31\check_images\80389              500.00 USD.pdf                                68130        7/5/2022 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-08-01__666499_41542431-24-500.00
01 - 2024-05-31\check_images\80389              USD.pdf                                       70788       8/3/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-09-01__681689_item-9_41600649-9-
01 - 2024-05-31\check_images\80389              500.00 USD.pdf                                71068        9/6/2022 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-10-01__694089_item-17_41653959-17-
01 - 2024-05-31\check_images\80389              500.00 USD.pdf                                70684      10/4/2022 15:21




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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-11-01__707111_item-1_41706526-1-
01 - 2024-05-31\check_images\80389              500.00 USD.pdf                                70108      11/3/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2022-12-01__721520_item-26_41760526-26-
01 - 2024-05-31\check_images\80389              500.00 USD.pdf                                74462      12/8/2022 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__731331_item-22_41813823-22-
01 - 2024-05-31\check_images\80389              500.00 USD.pdf                                72304        1/4/2023 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__747202_item-12_41870336-12-
01 - 2024-05-31\check_images\80389              500.00 USD.pdf                                67351       2/6/2023 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__759587_item-19_41923503-19-
01 - 2024-05-31\check_images\80389              500.00 USD.pdf                                65577       3/6/2023 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__773367_item-22_41981391-22-
01 - 2024-05-31\check_images\80389              500.00 USD.pdf                                65234       4/4/2023 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__787100_item-7_42033691-7-
01 - 2024-05-31\check_images\80389              500.00 USD.pdf                                67222        5/5/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__800925_item-2_42091609-2-
01 - 2024-05-31\check_images\80389              500.00 USD.pdf                                72861        6/6/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__813190_item-6_42144609-6-
01 - 2024-05-31\check_images\80389              500.00 USD.pdf                                67469        7/5/2023 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__826443_item-1_42195814-1-
01 - 2024-05-31\check_images\80389              500.00 USD.pdf                                74703        8/2/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__841064_item-19_42250633-19-
01 - 2024-05-31\check_images\80389              500.00 USD.pdf                                71724        9/5/2023 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__853794_item-10_42301474-10-
01 - 2024-05-31\check_images\80389              500.00 USD.pdf                                69044       10/4/2023 9:44




                                                           717
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 719 of
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               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__866417_item-15_42355916-15-
01 - 2024-05-31\check_images\80389              500.00 USD.pdf                                  73965      11/1/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__879069_item-13_42408027-13-
01 - 2024-05-31\check_images\80389              500.00 USD.pdf                                  69676       12/4/2023 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__893617_item-36_42459319-36-
01 - 2024-05-31\check_images\80389              500.00 USD.pdf                                  69804       1/3/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__906046_item-8_42516099-8-
01 - 2024-05-31\check_images\80389              500.00 USD.pdf                                  81330        2/2/2024 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__920518_item-7_42569294-7-
01 - 2024-05-31\check_images\80389              500.00 USD.pdf                                  70674       3/5/2024 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__933465_item-24_42620600-24-
01 - 2024-05-31\check_images\80389              500.00 USD.pdf                                  74149       4/3/2024 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__947576_item-13_42676195-13-
01 - 2024-05-31\check_images\80389              500.00 USD.pdf                                  73261       5/6/2024 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-29__927998_item-39_5282447-39-
01 - 2024-05-31\check_images\80568              30000.00 USD.pdf                                78709      3/25/2024 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-27__740170_item-43_4302247984-43-
01 - 2024-05-31\check_images\81374              570.00 USD.pdf                                  95188       1/23/2023 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-27__752139_item-16_4302257549-16-
01 - 2024-05-31\check_images\81374              570.00 USD.pdf                                  80942      2/17/2023 19:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-27__766203_item-32_4302267064-32-
01 - 2024-05-31\check_images\81374              570.00 USD.pdf                                  83617      3/21/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-27__779669_item-12_4302276631-12-
01 - 2024-05-31\check_images\81374              570.00 USD.pdf                                  88686       4/20/2023 9:12




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-27__793854_item-17_4302286043-17-
01 - 2024-05-31\check_images\81374              570.00 USD.pdf                                  87418      5/22/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-27__806274_item-42_4302295476-42-
01 - 2024-05-31\check_images\81374              570.00 USD.pdf                                  88216      6/20/2023 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31\check_images\81374              2023-07-27__821382_570.00.pdf                   87239       7/25/2023 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-27__834387_item-23_4302314103-23-
01 - 2024-05-31\check_images\81374              880.00 USD.pdf                                  84194      8/22/2023 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-27__848758_item-18_4302323499-18-
01 - 2024-05-31\check_images\81374              880.00 USD.pdf                                  91154      9/25/2023 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-27__861231_item-38_4302332692-38-
01 - 2024-05-31\check_images\81374              880.00 USD.pdf                                  91877     10/24/2023 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-27__874351_item-35_4302341852-35-
01 - 2024-05-31\check_images\81374              880.00 USD.pdf                                  87173     11/22/2023 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-27__887636_item-10_4302350985-10-
01 - 2024-05-31\check_images\81374              880.00 USD.pdf                                  70179     12/21/2023 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-27__901807_item-5_4302360078-5-
01 - 2024-05-31\check_images\81374              880.00 USD.pdf                                  66467      1/26/2024 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-27__913065_item-4_4302369165-4-
01 - 2024-05-31\check_images\81374              880.00 USD.pdf                                  71256      2/20/2024 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-27__926625_item-36_4302378155-36-
01 - 2024-05-31\check_images\81374              880.00 USD.pdf                                  74383      3/21/2024 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-27__940633_item-3_4302387071-3-
01 - 2024-05-31\check_images\81374              880.00 USD.pdf                                  74855      4/23/2024 10:31




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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-27__952661_item-36_4302395970-36-
01 - 2024-05-31\check_images\81374              880.00 USD.pdf                                  67095      5/20/2024 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-13__778071_item-43_41998306-43-
01 - 2024-05-31\check_images\81394              3200.00 USD.pdf                                 68419      4/17/2023 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-13__859421_item-7_42319713-7-
01 - 2024-05-31\check_images\81394              3200.00 USD.pdf                                 67402     10/17/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-13__939514_item-37_42640245-37-
01 - 2024-05-31\check_images\81394              3200.00 USD.pdf                                 76838       4/18/2024 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__824070_item-21_5217971-21-
01 - 2024-05-31\check_images\81412              2500.00 USD.pdf                                 76121      7/31/2023 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__905046_item-43_5267514-43-
01 - 2024-05-31\check_images\81412              2500.00 USD.pdf                                 68367      1/31/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__747062_item-27_3577952-27-
01 - 2024-05-31\check_images\81415              1767.50 USD.pdf                                 38043        2/6/2023 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__747063_item-27_3577952-27-
01 - 2024-05-31\check_images\81415              1767.50 USD.pdf                                 38043        2/6/2023 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__754996_item-42_3584534-42-
01 - 2024-05-31\check_images\81415              883.75 USD.pdf                                  33718      2/24/2023 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__768647_item-21_3615499-21-
01 - 2024-05-31\check_images\81415              883.75 USD.pdf                                  41264       3/27/2023 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__781361_item-29_3645345-29-
01 - 2024-05-31\check_images\81415              883.75 USD.pdf                                  34482      4/24/2023 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__795155_item-30_3674367-30-
01 - 2024-05-31\check_images\81415              883.75 USD.pdf                                  34840       5/26/2023 8:28




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 722 of
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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__807833_item-32_3697373-32-
01 - 2024-05-31\check_images\81415              883.75 USD.pdf                                   34586      6/26/2023 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__822132_item-23_3719876-23-
01 - 2024-05-31\check_images\81415              883.75 USD.pdf                                   32946      7/26/2023 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__837195_item-28_3741101-28-
01 - 2024-05-31\check_images\81415              883.75 USD.pdf                                   34116      8/29/2023 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__848644_item-25_3757838-25-
01 - 2024-05-31\check_images\81415              883.75 USD.pdf                                   37862       9/25/2023 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__862420_item-30_3773934-30-
01 - 2024-05-31\check_images\81415              883.75 USD.pdf                                   44372     10/27/2023 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__875247_item-31_3787832-31-
01 - 2024-05-31\check_images\81415              883.75 USD.pdf                                   37544     11/27/2023 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__888514_item-45_3801538-45-
01 - 2024-05-31\check_images\81415              883.75 USD.pdf                                   37948      12/26/2023 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__904061_item-37_3815518-37-
01 - 2024-05-31\check_images\81415              883.75 USD.pdf                                   33562      1/30/2024 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__915413_item-41_3829133-41-
01 - 2024-05-31\check_images\81415              883.75 USD.pdf                                   33353       2/26/2024 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__928376_item-41_3836351-41-
01 - 2024-05-31\check_images\81415              883.75 USD.pdf                                   36237      3/26/2024 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__942131_item-5_3843814-5-883.75
01 - 2024-05-31\check_images\81415              USD.pdf                                          33774       4/29/2024 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-01-01__733822_item-44_4491092424-44-
01 - 2024-05-31\check_images\81443              890.18 USD.pdf                                   44020       1/6/2023 15:15




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 723 of
                                       3467



               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-02-01__767933_item-1_4491117495-1-
01 - 2024-05-31\check_images\81443              890.18 USD.pdf                                  48617       3/27/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-03-01__767936_item-2_4491117496-2-
01 - 2024-05-31\check_images\81443              890.18 USD.pdf                                  50552       3/27/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-04-01__772792_item-33_4491119782-33-
01 - 2024-05-31\check_images\81443              890.18 USD.pdf                                  41836       4/3/2023 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-05-01__804359_item-21_3780056681-21-
01 - 2024-05-31\check_images\81443              890.18 USD.pdf                                  94266       6/14/2023 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-06-01__811177_item-17_4491148635-17-
01 - 2024-05-31\check_images\81443              890.18 USD.pdf                                  41157      6/30/2023 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-07-01__813691_item-27_4491146937-27-
01 - 2024-05-31\check_images\81443              890.18 USD.pdf                                  41601       7/5/2023 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-08-01__827875_item-43_4491157004-43-
01 - 2024-05-31\check_images\81443              890.18 USD.pdf                                  47897       8/4/2023 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-09-01__841365_item-6_4491166328-6-
01 - 2024-05-31\check_images\81443              890.18 USD.pdf                                  40009       9/6/2023 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-01__854867_item-6_4491175165-6-
01 - 2024-05-31\check_images\81443              890.18 USD.pdf                                  46301      10/6/2023 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-01__957746_item-24_4491249286-24-
01 - 2024-05-31\check_images\81443              890.18 USD.pdf                                  38269      5/30/2024 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__880572_item-7_4491193338-7-
01 - 2024-05-31\check_images\81443              890.18 USD.pdf                                  45709      12/5/2023 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-01__894524_item-26_4491202974-26-
01 - 2024-05-31\check_images\81443              890.18 USD.pdf                                  41990       1/5/2024 12:39




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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 724 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-01__905126_item-19_4491212713-19-
01 - 2024-05-31\check_images\81443              890.18 USD.pdf                                  72346        2/1/2024 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-01__919695_item-6_4491221525-6-
01 - 2024-05-31\check_images\81443              890.18 USD.pdf                                  39306        3/4/2024 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-01__932912_item-33_4491230649-33-
01 - 2024-05-31\check_images\81443              890.18 USD.pdf                                  46536        4/3/2024 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-01__945731_item-40_4491239506-40-
01 - 2024-05-31\check_images\81443              890.18 USD.pdf                                  39267       5/1/2024 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-10-10__857628_item-5_11058072-5-
01 - 2024-05-31\check_images\81468              565.66 USD.pdf                                 168276     10/13/2023 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-11-10__870782_item-5_11064001-5-
01 - 2024-05-31\check_images\81468              565.66 USD.pdf                                 155342      11/14/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-10__883674_item-43_11070994-43-
01 - 2024-05-31\check_images\81468              565.66 USD.pdf                                 179632     12/12/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-01-10__897129_item-44_11080185-44-
01 - 2024-05-31\check_images\81468              565.66 USD.pdf                                 152156      1/12/2024 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-02-10__910812_item-7_11086353-7-
01 - 2024-05-31\check_images\81468              565.66 USD.pdf                                 156942      2/13/2024 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-03-10__924067_item-22_11092394-22-
01 - 2024-05-31\check_images\81468              565.66 USD.pdf                                 151677       3/14/2024 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-04-10__937069_item-28_11098663-28-
01 - 2024-05-31\check_images\81468              565.66 USD.pdf                                  81948      4/15/2024 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2024-05-10__949518_item-11_11104306-11-
01 - 2024-05-31\check_images\81468              565.66 USD.pdf                                 152858      5/13/2024 11:30




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               All Paths/Locations                               Unified Title               File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31                                 Deal ID List.csv                                 10897       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31                                 job_details.txt                                     238      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31                                 Payment Streams.csv                             109097       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31                                 Payments Received.csv                           374899       10/9/2024 20:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-01-01__414842_4302033600-11-
2024-05-31\check_images\3794                    300.00.pdf                                       87847      12/28/2020 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\3794                    2021-02-01__427466_4302044586-9-300.00.pdf       88624       1/26/2021 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-03-01__438645_4302055247-44-
2024-05-31\check_images\3794                    300.00.pdf                                       85831       2/23/2021 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\3794                    2021-04-01__451802_4302066252-3-300.00.pdf       83203       3/29/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-05-01__463525_4302076728-45-
2024-05-31\check_images\3794                    300.00.pdf                                       86258       4/27/2021 20:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-06-01__474585_4302087339-17-
2024-05-31\check_images\3794                    300.00.pdf                                       85479       5/26/2021 13:29




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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-07-01__486210_4302097327-9-300.00
2024-05-31\check_images\3794                    USD.pdf                                       35973      6/25/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-08-01__498363_4302108220-20-300.00
2024-05-31\check_images\3794                    USD.pdf                                       80670      7/26/2021 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-09-01__513329_4302118692-39-300.00
2024-05-31\check_images\3794                    USD.pdf                                       89614      8/25/2021 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-10-01__528086_4302128776-20-300.00
2024-05-31\check_images\3794                    USD.pdf                                       85962      9/27/2021 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-11-01__540212_4302138985-1-300.00
2024-05-31\check_images\3794                    USD.pdf                                       87994     10/27/2021 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-12-01__552404_4302149133-32-300.00
2024-05-31\check_images\3794                    USD.pdf                                       83598     11/23/2021 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-01-01__568057_4302159267-35-300.00
2024-05-31\check_images\3794                    USD.pdf                                       86960     12/30/2021 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-02-01__580811_4302169431-5-300.00
2024-05-31\check_images\3794                    USD.pdf                                       87831       2/1/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-03-01__609122_4302179109-15-300.00
2024-05-31\check_images\3794                    USD.pdf                                       90560      3/30/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-01__606387_4302189039-6-300.00
2024-05-31\check_images\3794                    USD.pdf                                       82312      3/28/2022 11:28



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 727 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-01__620744_4302198503-5-300.00
2024-05-31\check_images\3794                    USD.pdf                                         87429       4/25/2022 6:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-01__633659_4302208371-8-300.00
2024-05-31\check_images\3794                    USD.pdf                                        111113      5/23/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-01__649399_4302217871-31-300.00
2024-05-31\check_images\3794                    USD.pdf                                        126024      6/27/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-01__661816_4302227501-31-300.00
2024-05-31\check_images\3794                    USD.pdf                                         71942       7/26/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-01__675153_4302237016-13-300.00
2024-05-31\check_images\3794                    USD.pdf                                         71437      8/25/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-01__689428_item-26_4302246183-26-
2024-05-31\check_images\3794                    300.00 USD.pdf                                 116726      9/27/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-01__701632_item-39_4302255694-39-
2024-05-31\check_images\3794                    300.00 USD.pdf                                  84518     10/24/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-01__714211_item-5_4302264979-5-
2024-05-31\check_images\3794                    300.00 USD.pdf                                  75663     11/22/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__727236_item-32_4302274140-32-
2024-05-31\check_images\3794                    300.00 USD.pdf                                  69303     12/22/2022 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__740600_item-32_4302283692-32-
2024-05-31\check_images\3794                    300.00 USD.pdf                                  82430      1/23/2023 13:26



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 728 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__753578_item-42_4302292659-42-
2024-05-31\check_images\3794                    300.00 USD.pdf                                  83489      2/22/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__768658_item-24_4302301841-24-
2024-05-31\check_images\3794                    300.00 USD.pdf                                  84198      3/27/2023 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__780948_item-39_4302310830-39-
2024-05-31\check_images\3794                    300.00 USD.pdf                                  86794      4/24/2023 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__796284_item-11_4302319883-11-
2024-05-31\check_images\3794                    300.00 USD.pdf                                  93404      5/30/2023 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__809571_item-16_4302328619-16-
2024-05-31\check_images\3794                    300.00 USD.pdf                                  82437      6/27/2023 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__824376_item-31_4302337612-31-
2024-05-31\check_images\3794                    300.00 USD.pdf                                  89298      7/31/2023 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__837029_item-13_4302346325-13-
2024-05-31\check_images\3794                    300.00 USD.pdf                                  82238       8/29/2023 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__850771_item-17_4302354769-17-
2024-05-31\check_images\3794                    300.00 USD.pdf                                  81556      9/28/2023 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__862225_item-45_4302363723-45-
2024-05-31\check_images\3794                    300.00 USD.pdf                                  62686      10/26/2023 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__876389_item-9_4302372332-9-
2024-05-31\check_images\3794                    300.00 USD.pdf                                  82318     11/28/2023 12:25



                                                           727
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 729 of
                                       3467



               All Paths/Locations                              Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__889034_item-35_4302380724-35-
2024-05-31\check_images\3794                    300.00 USD.pdf                                    68778     12/26/2023 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__902241_item-20_4302389701-20-
2024-05-31\check_images\3794                    300.00 USD.pdf                                    89477       1/29/2024 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__917618_item-36_4302398139-36-
2024-05-31\check_images\3794                    300.00 USD.pdf                                    76575       2/29/2024 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__928220_item-22_4302406605-22-
2024-05-31\check_images\3794                    300.00 USD.pdf                                   111786       3/26/2024 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__941447_item-6_4302415160-6-
2024-05-31\check_images\3794                    300.00 USD.pdf                                    74954      4/25/2024 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\67542                   2021-04-20__500818_splcss III 7-30-2021.pdf       97284      7/30/2021 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\67542                   2021-05-20__566851_splcss II 12-29-2021.pdf      232803     12/29/2021 22:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\67542                   2021-06-20__516732_Mila.pdf                       62464      8/31/2021 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-07-20__524602_DRB Old Payments 9-17-
2024-05-31\check_images\67542                   2021.pdf                                         188999      9/17/2021 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-08-20__513487_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 08-25-2021.pdf                  160923      8/25/2021 16:53



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               All Paths/Locations                              Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-09-20__526656_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 09-22-2021.pdf           192565      9/22/2021 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-10-20__538748_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 10-20-2021.pdf           186752     10/20/2021 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-11-20__550647_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 11-17-2021.pdf           179641     11/17/2021 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-12-20__564641_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 12-22-2021.pdf           190296     12/22/2021 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-01-20__575950_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 01-19-2022.pdf           198404      1/19/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-02-20__589728_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 02-23-2022.pdf           170725      2/23/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-03-20__604648_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 03-23-2022.pdf           174089      3/23/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-20__619647_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 04-20-2022.pdf           180879      4/20/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-20__634943_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 5-25-2022.pdf            157181      5/25/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-20__647511_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 6-22-2022.pdf            188411      6/22/2022 13:19



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               All Paths/Locations                              Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-20__660125_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 7-20-2022.pdf            192303      7/20/2022 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-20__674594_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 8-24-2022.pdf            156062      8/24/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-20__687245_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 9-21-2022.pdf            185984      9/21/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-20__699974_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 10-19-2022.pdf           165840     10/19/2022 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-20__715290_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 11-28-2022.pdf           201812     11/28/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-20__726761_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 12-21-2022.pdf           205972     12/21/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-20__739167_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 1-18-2023.pdf            215009      1/18/2023 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-20__751443_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 2-15-2023.pdf            195089      2/15/2023 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-20__766758_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 3-22-2023.pdf            171363      3/22/2023 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-20__779590_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 4-19-2023.pdf            179337      4/19/2023 13:16



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               All Paths/Locations                              Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-20__792587_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 5-17-2023.pdf            191198      5/17/2023 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-20__807240_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 6-21-2023.pdf            187448      6/21/2023 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-20__822002_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 7-26-2023.pdf            145522      7/26/2023 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-20__834946_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 8-23-2023.pdf            170224      8/23/2023 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-20__847139_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 9-20-2023.pdf            186661      9/20/2023 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-20__861779_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 10-25-2023.pdf           201473     10/25/2023 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-20__874655_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 11-22-2023.pdf           145529     11/22/2023 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-20__887516_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 12-20-2023.pdf           197646     12/20/2023 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-20__899633_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 1-17-2024.pdf            188534      1/17/2024 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-20__914221_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 2-21-2024.pdf            188853      2/21/2024 12:34



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               All Paths/Locations                              Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-20__926514_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 3-20-2024.pdf                    161334      3/20/2024 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-20__941170_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 4-24-2024.pdf                    162996      4/24/2024 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-20__954017_DRB Check Booking
2024-05-31\check_images\67542                   Template Updated 5-22-2024.pdf                    175513      5/22/2024 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-28__941219_DRB Check Booking
2024-05-31\check_images\69608                   Template Updated 4-24-2024.pdf                    162996      4/24/2024 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\69673                   2021-04-01__507377_nala 4-2021 checks.pdf         257992      8/14/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\69673                   2021-05-01__509471_nala 5-2021 checks.pdf         217977      8/16/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-06-01__516454_Drb payments part 1 8-31-
2024-05-31\check_images\69673                   2021.pdf                                           74554      8/31/2021 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-07-01__523965_DRB Old Payments 9-17-
2024-05-31\check_images\69673                   2021.pdf                                          188999      9/17/2021 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-08-01__524924_DRB Old Payments 9-17-
2024-05-31\check_images\69673                   2021.pdf                                          188999      9/17/2021 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-09-01__520663_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 09-08-2021.pdf                   208178       9/8/2021 16:57



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               All Paths/Locations                              Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-10-01__533983_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 10-06-2021.pdf           238482      10/6/2021 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-11-01__544676_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 11-03-2021.pdf           211151      11/3/2021 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-12-01__559071_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 12-08-2021.pdf           181678      12/8/2021 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-01-01__570025_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 01-05-2022.pdf           193092       1/5/2022 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-02-01__585294_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 02-09-2022.pdf           191569       2/9/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-03-01__596117_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 03-09-2022.pdf           229139       3/9/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-01__613502_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 04-06-2022.pdf           208191       4/6/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-01__629241_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 5-11-2022.pdf            193228      5/11/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-01__647167_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 6-22-2022.pdf            188411      6/22/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-01__654730_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 7-06-2022.pdf            233409       7/6/2022 17:37



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               All Paths/Locations                              Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-01__666776_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 8-3-2022.pdf             197412       8/3/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-01__682171_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 9-7-2022.pdf             196534       9/7/2022 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-01__694855_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 10-05-2022.pdf           201947      10/5/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-01__706523_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 11-02-2022.pdf           190649      11/2/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-01__717469_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 11-30-2022.pdf           151904     11/30/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__736034_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 1-11-2023.pdf            219221      1/11/2023 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__748076_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 2-8-2023.pdf             263071       2/8/2023 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__761334_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 3-8-2023.pdf             233288       3/8/2023 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__774161_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 4-5-2023.pdf             225330       4/5/2023 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__786451_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 5-03-2023.pdf            186899       5/3/2023 13:48



                                                            734
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                                       3467



               All Paths/Locations                              Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__797699_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 5-31-2023.pdf            153983      5/31/2023 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__814061_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 7-5-2023.pdf             230892       7/5/2023 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__829929_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 8-9-2023.pdf             212058       8/9/2023 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__842010_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 9-06-2023.pdf            214600       9/6/2023 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__854377_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 10-04-2023.pdf           202783      10/4/2023 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__866323_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 11-01-2023.pdf           154320      11/1/2023 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__881845_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 12-06-2023.pdf           193382      12/6/2023 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__896546_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 1-10-2024.pdf            188175      1/10/2024 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__904658_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 1-31-2024.pdf            151342      1/31/2024 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__921224_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 3-06-2024.pdf            210889       3/6/2024 13:55



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__933614_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 4-03-2024.pdf                    204241       4/3/2024 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__945589_DRB Check Booking
2024-05-31\check_images\69673                   Template Updated 5-01-2024.pdf                    196497       5/1/2024 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-10-01__566152_Dorchester 12-29-
2024-05-31\check_images\70582                   2021.pdf                                          142763     12/29/2021 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\70582                   2021-11-01__578438_90day 1.25.2022.pdf            112148      1/25/2022 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\70582                   2021-12-01__608138_90day float 3-29-2022.pdf       88526      3/29/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-01-01__621054_90 day floats 4-25-
2024-05-31\check_images\70582                   2022.pdf                                           83472      4/25/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\70582                   RE: Concentration IN - 01.24.2024                 264192      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\70582                   RE: Concentration IN - 01.24.2024                 264192      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\70582                   RE: Concentration IN - 01.24.2024                 264192      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\70582                   RE: Concentration IN - 01.24.2024                 264192      1/26/2024 15:54



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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\70582                   RE: Concentration IN - 01.24.2024               264192      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\70582                   RE: Concentration IN - 01.24.2024               264192      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\70582                   RE: Concentration IN - 01.24.2024               264192      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\70582                   RE: Concentration IN - 01.24.2024               264192      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\70582                   RE: Concentration IN - 01.24.2024               264192      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\70582                   RE: Concentration IN - 01.24.2024               264192      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\70582                   RE: Concentration IN - 01.24.2024               264192      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__907505_$500 Thomas Belanger ID
2024-05-31\check_images\70582                   70582.pdf                                       105927       2/5/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__912001_Thomas Belanger 70582
2024-05-31\check_images\70582                   02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__912003_Thomas Belanger 70582
2024-05-31\check_images\70582                   02122024.pdf                                    180902       2/16/2024 8:23



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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__912004_Thomas Belanger 70582
2024-05-31\check_images\70582                   02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__912005_Thomas Belanger 70582
2024-05-31\check_images\70582                   02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__912007_Thomas Belanger 70582
2024-05-31\check_images\70582                   02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__912010_Thomas Belanger 70582
2024-05-31\check_images\70582                   02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__912012_Thomas Belanger 70582
2024-05-31\check_images\70582                   02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__912013_Thomas Belanger 70582
2024-05-31\check_images\70582                   02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__912014_Thomas Belanger 70582
2024-05-31\check_images\70582                   02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__912016_Thomas Belanger 70582
2024-05-31\check_images\70582                   02122024.pdf                                    180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01- 2023-12-01__898250_RE_ 0328359 Provident
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  Trust Group LLC FBO Wayne E Anderson SDIRA
2024-05-31\check_images\70582                   Thomas Belanger.pdf                             319816      1/16/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\70582                   image002.png                                     15879



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\70582                   image003.png                                    11266
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\70582                   RE: Concentration IN - 01.24.2024              264192      1/26/2024 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__912020_Thomas Belanger 70582
2024-05-31\check_images\70582                   02122024.pdf                                   180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__912021_Thomas Belanger 70582
2024-05-31\check_images\70582                   02122024.pdf                                   180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__912024_Thomas Belanger 70582
2024-05-31\check_images\70582                   02122024.pdf                                   180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__912027_Thomas Belanger 70582
2024-05-31\check_images\70582                   02122024.pdf                                   180902       2/16/2024 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__903097_item-18_4302389613-18-
2024-05-31\check_images\71089                   518.00 USD.pdf                                  89288       1/29/2024 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__917529_item-15_4302398053-15-
2024-05-31\check_images\71089                   518.00 USD.pdf                                  75878      2/27/2024 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__928228_item-27_4302406517-27-
2024-05-31\check_images\71089                   518.00 USD.pdf                                 111905       3/26/2024 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__941530_item-25_4302415066-25-
2024-05-31\check_images\71089                   518.00 USD.pdf                                  73961       4/25/2024 8:59



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 741 of
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               All Paths/Locations                              Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71091                   2022-01-17__609795_Goldstar 3 24 2022.pdf         239637      3/31/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71091                   2022-02-17__609797_Goldstar 3 24 2022.pdf         239637      3/31/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71091                   2022-03-17__609798_Goldstar 3 24 2022.pdf         239637      3/31/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-17__619281_Goldstar Deposit for 4 19
2024-05-31\check_images\71091                   2022.pdf                                          662925      4/20/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-17__632760_GoldStar Wire Info 5 19
2024-05-31\check_images\71091                   2022.pdf                                          327430      5/19/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71091                   2022-06-17__646109_Goldstar 6 21 2022.pdf         921719       6/21/2022 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71091                   2022-07-17__658636_Goldstar 7 18 2022.pdf         311135      7/18/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-17__672810_Goldstar Deposit 8 18
2024-05-31\check_images\71091                   2022.pdf                                          923486      8/18/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71091                   2022-09-17__687354_Goldstar 9 22 2022.pdf         928591       9/22/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71091                   2022-10-17__700108_Goldstar 10 18 thomas.pdf      896021      10/20/2022 8:16



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               All Paths/Locations                              Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71091                   2022-11-17__712828_Goldsar 11 1 82022.pdf         907835      11/18/2022 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71091                   2022-12-17__725825_Goldstar 12 20 2022.pdf        908811      12/20/2022 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71091                   2023-01-17__738614_Goldstar 1 18 2023.pdf         909662      1/18/2023 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71091                   2023-02-17__753383_goldstar 2 22 2023.pdf         909247       2/22/2023 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71091                   2023-03-17__765402_goldstar 3 20 2023 II.pdf      918044      3/20/2023 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71091                   2023-04-17__777489_goldstar 4 14 2023.pdf         910583      4/14/2023 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71091                   2023-05-17__792719_goldstar 5 18 2023.pdf         908350       5/18/2023 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71091                   2023-06-17__806552_goldstar 6 21 2023.pdf         895237      6/21/2023 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71091                   2023-07-17__818126_goldstar 7 17 2023.pdf         893871      7/17/2023 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71091                   2023-08-17__833315_goldstar 8 18 2023.pdf         894017      8/18/2023 10:51



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               All Paths/Locations                              Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-17__846855_FW Goldstar Deposit from
2024-05-31\check_images\71091                   9_13_2023 to 9_19_2023.pdf                       204737      9/20/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-17__867462_FW Goldstar Deposit from
2024-05-31\check_images\71091                   10_11_2023 to 11_03_2023.pdf                     899493      11/6/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71091                   2023-11-17__876136_goldstar 11 28 2023.pdf       970498      11/28/2023 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71091                   2023-12-17__886373_GoldStar 12192023.pdf         106232      12/19/2023 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71091                   2024-01-17__899953_GoldStar 01182024.pdf         103557      1/18/2024 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71091                   2024-02-17__912754_GoldStar 02202024.pdf          77568      2/20/2024 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71091                   2024-03-17__925952_GoldStar 03192024.pdf         112061      3/19/2024 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71091                   2024-04-17__939527_GoldStar 04182024.pdf         154317      4/18/2024 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71091                   2024-05-17__952768_GoldStar 05202024.pdf         151695      5/20/2024 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71115                   2023-08-01__831817_goldstar 8 15 2023.pdf        892891      8/15/2023 10:16



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               All Paths/Locations                                 Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__844112_FW_ EXTERNAL SENDER
2024-05-31\check_images\71115                   Goldstar Deposit from 8_31_2023 to Present.pdf      203508      9/13/2023 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71115                   2023-10-01__856426_goldstar 10 11 2023.pdf          896776     10/11/2023 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__867518_FW Goldstar Deposit from
2024-05-31\check_images\71115                   10_11_2023 to 11_03_2023.pdf                        899493      11/6/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71115                   2023-12-01__882747_goldstar 12 11 2023.pdf          892222     12/11/2023 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71115                   2024-01-01__894573_GoldStar 01052024.pdf             63936        1/5/2024 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71115                   2024-02-01__910729_GoldStar 02132024.pdf             87110      2/13/2024 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71115                   2024-03-01__922079_GoldStar 03112024.pdf            111610      3/11/2024 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71115                   2024-04-01__934738_GoldStar 04082024.pdf            161409       4/8/2024 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71115                   2024-05-01__946761_GoldStar 05062024.pdf            153522        5/6/2024 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-06__664989_33416179-20-444.93
2024-05-31\check_images\71284                   USD.pdf                                              97702        8/1/2022 9:27



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 745 of
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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-06__680232_item-11_33442543-11-
2024-05-31\check_images\71284                   444.93 USD.pdf                                94748       9/2/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-06__692366_item-23_33467865-23-
2024-05-31\check_images\71284                   444.93 USD.pdf                                97587      10/3/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-06__707398_item-6_33495525-6-
2024-05-31\check_images\71284                   444.93 USD.pdf                                95830      11/4/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-06__719300_item-11_33524093-11-
2024-05-31\check_images\71284                   444.93 USD.pdf                                93876      12/5/2022 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-06__734476_item-8_33560736-8-
2024-05-31\check_images\71284                   444.93 USD.pdf                                91613       1/9/2023 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-06__747037_item-23_33592216-23-
2024-05-31\check_images\71284                   444.93 USD.pdf                                93258        2/6/2023 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-06__760717_item-8_33619115-8-
2024-05-31\check_images\71284                   444.93 USD.pdf                                96387       3/7/2023 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-06__772604_item-14_33645718-14-
2024-05-31\check_images\71284                   444.93 USD.pdf                                91106       4/3/2023 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-06__787210_item-29_33672934-29-
2024-05-31\check_images\71284                   444.93 USD.pdf                                90438       5/5/2023 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71284                   2023-06-06__800831_453.83.pdf                110160        6/6/2023 8:16



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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-06__812256_item-15_33725867-15-
2024-05-31\check_images\71284                   453.83 USD.pdf                                98506       7/3/2023 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-06__828521_item-38_33756038-38-
2024-05-31\check_images\71284                   453.83 USD.pdf                                93851       8/7/2023 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-06__840460_item-11_33782250-11-
2024-05-31\check_images\71284                   453.83 USD.pdf                                93245       9/5/2023 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-06__852593_item-27_33808202-27-
2024-05-31\check_images\71284                   453.83 USD.pdf                                99097      10/2/2023 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-06__867900_item-30_33835642-30-
2024-05-31\check_images\71284                   453.83 USD.pdf                                94672      11/6/2023 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-06__880267_item-14_33862654-14-
2024-05-31\check_images\71284                   453.83 USD.pdf                                93569       12/5/2023 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-06__895088_item-40_33899453-40-
2024-05-31\check_images\71284                   453.83 USD.pdf                               102974       1/8/2024 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\71284                   2024-02-06__907757_453.83.pdf                 95900        2/6/2024 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-06__918269_item-33_33953787-33-
2024-05-31\check_images\71284                   453.83 USD.pdf                                64262       3/1/2024 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-06__933134_item-28_33981927-28-
2024-05-31\check_images\71284                   453.83 USD.pdf                                66816       4/3/2024 12:03



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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-06__946542_item-6_34008665-6-
2024-05-31\check_images\71284                   453.83 USD.pdf                                  63461       5/3/2024 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-06__893505_item-8_4300413712-8-
2024-05-31\check_images\71466                   200000.00 USD.pdf                               73598       1/3/2024 19:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-16__896664_item-36_4302358251-36-
2024-05-31\check_images\71586                   1578.85 USD.pdf                                 72295      1/10/2024 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-16__910527_item-20_4302367341-20-
2024-05-31\check_images\71586                   1578.85 USD.pdf                                 75042       2/13/2024 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-16__922925_item-16_4302376111-16-
2024-05-31\check_images\71586                   1578.85 USD.pdf                                 94200       3/12/2024 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-16__935977_item-24_4302385266-24-
2024-05-31\check_images\71586                   1578.85 USD.pdf                                 97130      4/10/2024 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-16__950924_item-28_4302394251-28-
2024-05-31\check_images\71586                   1626.22 USD.pdf                                 71499      5/14/2024 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-11-23__550742_4302146042-38-250.00
2024-05-31\check_images\71680                   USD.pdf                                         95559      11/18/2021 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2021-12-23__564101_4302156193-9-250.00
2024-05-31\check_images\71680                   USD.pdf                                        100301     12/21/2021 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-01-23__577475_4302166086-30-250.00
2024-05-31\check_images\71680                   USD.pdf                                         82856      1/24/2022 10:17



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 748 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-02-23__595281_4302176213-20-250.00
2024-05-31\check_images\71680                   USD.pdf                                         84890       3/7/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-03-23__603420_4302185977-43-250.00
2024-05-31\check_images\71680                   USD.pdf                                         85672      3/22/2022 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-23__618464_4302195632-16-250.00
2024-05-31\check_images\71680                   USD.pdf                                         85478       4/19/2022 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-23__631316_4302205387-32-250.00
2024-05-31\check_images\71680                   USD.pdf                                         83089      5/16/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-23__645064_4302214850-18-250.00
2024-05-31\check_images\71680                   USD.pdf                                         91120      6/15/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-23__665457_4302224451-37-250.00
2024-05-31\check_images\71680                   USD.pdf                                         68571       8/1/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-23__673159_4302234054-37-250.00
2024-05-31\check_images\71680                   USD.pdf                                         98638      8/19/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-23__686141_item-5_4302243450-5-
2024-05-31\check_images\71680                   250.00 USD.pdf                                 117220      9/19/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-23__698010_item-26_4302252596-26-
2024-05-31\check_images\71680                   250.00 USD.pdf                                  65650      10/14/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-23__713258_item-34_4302262111-34-
2024-05-31\check_images\71680                   250.00 USD.pdf                                  80035     11/21/2022 11:57



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 749 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-23__724993_item-34_4302271466-34-
2024-05-31\check_images\71680                   250.00 USD.pdf                                  81525     12/16/2022 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-23__737790_item-11_4302280760-11-
2024-05-31\check_images\71680                   250.00 USD.pdf                                  75920       1/17/2023 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-23__751556_item-5_4302290016-5-
2024-05-31\check_images\71680                   250.00 USD.pdf                                  82667       2/16/2023 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-23__765632_item-20_4302299106-20-
2024-05-31\check_images\71680                   250.00 USD.pdf                                  96447      3/20/2023 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-23__778721_item-29_4302307935-29-
2024-05-31\check_images\71680                   250.00 USD.pdf                                  84613      4/18/2023 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-23__792747_item-23_4302317117-23-
2024-05-31\check_images\71680                   250.00 USD.pdf                                  82023       5/18/2023 8:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-23__805786_item-5_4302326041-5-
2024-05-31\check_images\71680                   250.00 USD.pdf                                  96001      6/20/2023 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-23__819428_item-27_4302334747-27-
2024-05-31\check_images\71680                   250.00 USD.pdf                                  88169      7/18/2023 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-23__832438_item-25_4302343620-25-
2024-05-31\check_images\71680                   250.00 USD.pdf                                  79101      8/16/2023 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-23__846295_item-8_4302352240-8-
2024-05-31\check_images\71680                   250.00 USD.pdf                                  83631       9/19/2023 9:08



                                                           748
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 750 of
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               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-23__859237_item-43_4302361026-43-
2024-05-31\check_images\71680                   250.00 USD.pdf                                  90389     10/17/2023 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-23__872365_item-15_4302369599-15-
2024-05-31\check_images\71680                   250.00 USD.pdf                                  70508      11/16/2023 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-23__887102_item-15_4302378258-15-
2024-05-31\check_images\71680                   250.00 USD.pdf                                  71250      12/20/2023 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-23__899948_item-4_4302387015-4-
2024-05-31\check_images\71680                   250.00 USD.pdf                                  80446      1/18/2024 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-23__912960_item-21_4302395593-21-
2024-05-31\check_images\71680                   250.00 USD.pdf                                  70803      2/20/2024 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-23__925928_item-44_4302404033-44-
2024-05-31\check_images\71680                   250.00 USD.pdf                                  77177      3/19/2024 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-23__939574_item-33_4302412601-33-
2024-05-31\check_images\71680                   250.00 USD.pdf                                  87617      4/18/2024 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-23__953005_item-19_4302421067-19-
2024-05-31\check_images\71680                   250.00 USD.pdf                                  66321       5/20/2024 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-09__656266_4491039789-40-75000.00
2024-05-31\check_images\71738                   USD.pdf                                         97066      7/11/2022 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-09__816308_item-6_4491149427-6-
2024-05-31\check_images\71738                   75000.00 USD.pdf                                82439      7/11/2023 11:36



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               All Paths/Locations                               Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-01-15__640418_Goldstar Lockbox Postings
2024-05-31\check_images\72950                   dor 6 1 2022.pdf                                 1006478        6/6/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-02-15__618710_Copy of SuttonPark Capital
2024-05-31\check_images\72950                   Payments Goldstar.xls                               37888      4/19/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-03-15__618713_Copy of SuttonPark Capital
2024-05-31\check_images\72950                   Payments Goldstar.xls                               37888      4/19/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-04-15__619278_Goldstar Deposit for 4 19
2024-05-31\check_images\72950                   2022.pdf                                           662925      4/20/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-15__632845_GoldStar Wire Info 5 19
2024-05-31\check_images\72950                   2022.pdf                                           327430      5/19/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-15__647728_Goldstar Deposit 6 23
2024-05-31\check_images\72950                   2022.pdf                                           922852      6/23/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-15__674826_Goldstar Posting
2024-05-31\check_images\72950                   08252022.pdf                                       928740      8/25/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-15__674824_Goldstar Posting
2024-05-31\check_images\72950                   08252022.pdf                                       928740      8/25/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72950                   2022-09-15__687384_Goldstar 9 22 2022.pdf          928591       9/22/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72950                   2022-10-15__700307_Goldstar 10 21 22.pdf           894046      10/21/2022 9:23



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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72950                   2022-11-15__712304_Goldstar 11 17 2022.pdf      907056      11/17/2022 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72950                   2022-12-15__726410_Goldstar 12 21 2022.pdf      906329     12/21/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72950                   2023-01-15__739568_goldstar 1 20 2023.pdf       909380       1/20/2023 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72950                   2023-02-15__755615_goldstar 2 27 2023.pdf       907345      2/27/2023 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72950                   2023-03-15__766444_goldstar 3 22 2023.pdf       909323       3/22/2023 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72950                   2023-04-15__779695_goldstar 4 20 2023.pdf       907347       4/20/2023 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72950                   2023-05-15__792075_goldstar 5 17 2023.pdf       908997       5/17/2023 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72950                   2023-06-15__807336_goldstr 6 22 23.pdf          893785       6/22/2023 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72950                   2023-07-15__820977_goldstar 7 24 2023.pdf       890927      7/24/2023 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72950                   2023-08-15__834665_goldstar 8 23 2023.pdf       896008      8/23/2023 10:43



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               All Paths/Locations                              Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-15__846868_FW Goldstar Deposit from
2024-05-31\check_images\72950                   9_13_2023 to 9_19_2023.pdf                       204737      9/20/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-15__867465_FW Goldstar Deposit from
2024-05-31\check_images\72950                   10_11_2023 to 11_03_2023.pdf                     899493      11/6/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72950                   2023-11-15__876120_goldstar 11 28 2023.pdf       970498      11/28/2023 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72950                   2023-12-15__886378_GoldStar 12192023.pdf         106232      12/19/2023 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72950                   2024-01-15__901268_Goldstar 1 24 2024.pdf        881192       1/24/2024 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72950                   2024-03-15__925949_GoldStar 03192024.pdf         112061      3/19/2024 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72950                   2024-04-15__938061_GoldStar 04162024.pdf         155229       4/16/2024 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72950                   2024-05-15__952760_GoldStar 05202024.pdf         151695      5/20/2024 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-05-17__631563_1000255942-1-28000.00
2024-05-31\check_images\72974                   USD.pdf                                           82823      5/17/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-06-17__646482_1000262467-1-3000.00
2024-05-31\check_images\72974                   USD.pdf                                           73868      6/21/2022 13:49



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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-17__658780_1000268944-4-3000.00
2024-05-31\check_images\72974                   USD.pdf                                         79661      7/18/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-17__672705_1000275383-1-3000.00
2024-05-31\check_images\72974                   USD.pdf                                         79102      8/18/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-17__686272_item-38_1000281746-38-
2024-05-31\check_images\72974                   3000.00 USD.pdf                                 70927      9/19/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-17__699192_item-36_1000288146-36-
2024-05-31\check_images\72974                   3000.00 USD.pdf                                 74882      10/18/2022 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-17__712737_item-28_1000294791-28-
2024-05-31\check_images\72974                   3000.00 USD.pdf                                 74222     11/18/2022 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-17__725953_item-14_1000300879-14-
2024-05-31\check_images\72974                   3000.00 USD.pdf                                 74290     12/19/2022 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-17__738323_item-18_1000307278-18-
2024-05-31\check_images\72974                   3000.00 USD.pdf                                 53539      1/17/2023 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-17__753481_item-20_1000313712-20-
2024-05-31\check_images\72974                   3000.00 USD.pdf                                 77544      2/22/2023 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-17__765071_item-4_1000319971-4-
2024-05-31\check_images\72974                   3000.00 USD.pdf                                 71344       3/17/2023 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-17__778354_item-41_1000326177-41-
2024-05-31\check_images\72974                   3000.00 USD.pdf                                 77762      4/17/2023 17:15



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 755 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-17__792706_item-2_1000332400-2-
2024-05-31\check_images\72974                   3000.00 USD.pdf                                 73454       5/18/2023 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-17__805550_item-38_1000344597-38-
2024-05-31\check_images\72974                   3000.00 USD.pdf                                 71546      6/16/2023 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-17__818499_item-9_1000355206-9-
2024-05-31\check_images\72974                   3000.00 USD.pdf                                 53684      7/17/2023 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-17__833253_item-43_1000365754-43-
2024-05-31\check_images\72974                   3000.00 USD.pdf                                 72541       8/18/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-17__845141_item-6_1000375984-6-
2024-05-31\check_images\72974                   3000.00 USD.pdf                                 70064       9/18/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-17__858568_item-15_1000386175-15-
2024-05-31\check_images\72974                   3000.00 USD.pdf                                 48204      10/16/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-17__873027_item-39_1000396474-39-
2024-05-31\check_images\72974                   3000.00 USD.pdf                                 72228     11/17/2023 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-17__886052_item-27_1000406492-27-
2024-05-31\check_images\72974                   3000.00 USD.pdf                                 68047      12/18/2023 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-17__900533_item-27_1000416870-27-
2024-05-31\check_images\72974                   3000.00 USD.pdf                                 78706      1/22/2024 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-17__912665_item-32_1000426782-32-
2024-05-31\check_images\72974                   3000.00 USD.pdf                                 71038      2/20/2024 12:23



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-17__925355_item-24_1000437162-24-
2024-05-31\check_images\72974                   3000.00 USD.pdf                                    53838      3/18/2024 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-17__939645_item-17_1000447235-17-
2024-05-31\check_images\72974                   3000.00 USD.pdf                                    80940       4/19/2024 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-17__953038_item-15_1000457175-15-
2024-05-31\check_images\72974                   3000.00 USD.pdf                                    52726      5/20/2024 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986\2022-02-
01__585965_Re_ Servicing HB Release 02-10-      Re_ Servicing HB Release 02-10-2022 APPROVAL
2022 APPROVAL NEEDED.pdf                        N___.pdf                                          263690      2/10/2022 19:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2022-03-01__592842_2265_3_4.pdf                    76370       3/2/2022 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2022-04-01__611938_2265_6_44.pdf                   75165       4/4/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2022-05-01__624918_2265_1_24.pdf                   73931       5/2/2022 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2022-06-01__637002_2265_47_11.pdf                  79531      5/31/2022 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\72986                   2022-07-01__648689_2265_48_3.pdf                   79557       6/27/2022 9:41




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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__842003_DRB Check Booking
31\check_images\39019                             Template Updated 9-06-2023.pdf            214600       9/6/2023 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__854370_DRB Check Booking
31\check_images\39019                             Template Updated 10-04-2023.pdf           202783      10/4/2023 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__868935_DRB Check Booking
31\check_images\39019                             Template Updated 11-08-2023.pdf           231346      11/8/2023 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__881725_DRB Check Booking
31\check_images\39019                             Template Updated 12-06-2023.pdf           193382      12/6/2023 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__892698_DRB Check Booking
31\check_images\39019                             Template Updated 1-03-2024.pdf            171669       1/3/2024 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__908516_DRB Check Booking
31\check_images\39019                             Template Updated 2-07-2024.pdf            217252       2/7/2024 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__921094_DRB Check Booking
31\check_images\39019                             Template Updated 3-06-2024.pdf            210889       3/6/2024 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__933365_DRB Check Booking
31\check_images\39019                             Template Updated 4-03-2024.pdf            204241       4/3/2024 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__948633_DRB Check Booking
31\check_images\39019                             Template Updated 5-08-2024.pdf            186338       5/8/2024 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-01__419898_DRB Check Booking
31\check_images\39938                             Template Updated 01-06-2021.pdf           130484       1/6/2021 16:17



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-01__433855_DRB Check Booking
31\check_images\39938                             Template Updated 02-10-2021.pdf           124767      2/10/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-01__445382_DRB Check Booking
31\check_images\39938                             Template Updated 03-10-2021.pdf           154529      3/10/2021 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-01__459282_DRB Check Booking
31\check_images\39938                             Template Updated 04-14-2021.pdf           116579      4/14/2021 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-01__470048_DRB Check Booking
31\check_images\39938                             Template Updated 05-12-2021.pdf           111377      5/12/2021 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-01__483554_DRB Check Booking
31\check_images\39938                             Template Updated 06-16-2021.pdf           131297      6/16/2021 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-01__494575_DRB Check Booking
31\check_images\39938                             Template Updated 07-14-2021.pdf           111100      7/14/2021 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-01__505978_DRB Check Booking
31\check_images\39938                             Template Updated 08-11-2021.pdf           115605      8/11/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-01__520502_DRB Check Booking
31\check_images\39938                             Template Updated 09-08-2021.pdf           208178       9/8/2021 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-01__536140_DRB Check Booking
31\check_images\39938                             Template Updated 10-13-2021.pdf           165790     10/13/2021 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-01__547935_DRB Check Booking
31\check_images\39938                             Template Updated 11-10-2021.pdf           199775     11/10/2021 10:55



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-01__562191_DRB Check Booking
31\check_images\39938                             Template Updated 12-15-2021.pdf           172522     12/15/2021 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-01__573166_DRB Check Booking
31\check_images\39938                             Template Updated 01-12-2022.pdf           181016      1/12/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-01__585489_DRB Check Booking
31\check_images\39938                             Template Updated 02-09-2022.pdf           191569       2/9/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-01__599700_DRB Check Booking
31\check_images\39938                             Template Updated 03-16-2022.pdf           171148      3/16/2022 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-01__616583_DRB Check Booking
31\check_images\39938                             Template Updated 04-13-2022.pdf           191763      4/13/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__629598_DRB Check Booking
31\check_images\39938                             Template Updated 5-11-2022.pdf            193228      5/11/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__645220_DRB Check Booking
31\check_images\39938                             Template Updated 6-15-2022.pdf            171255      6/15/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__657536_DRB Check Booking
31\check_images\39938                             Template Updated 7-13-2022.pdf            158766      7/13/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__669886_DRB Check Booking
31\check_images\39938                             Template Updated 8-10-2022.pdf            196078      8/10/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__685131_DRB Check Booking
31\check_images\39938                             Template Updated 9-14-2022.pdf            149383      9/14/2022 14:31



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__697570_DRB Check Booking
31\check_images\39938                             Template Updated 10-12-2022.pdf           212739     10/12/2022 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__709295_DRB Check Booking
31\check_images\39938                             Template Updated 11-09-2022.pdf           192449      11/9/2022 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__723932_DRB Check Booking
31\check_images\39938                             Template Updated 12-14-2022.pdf           236362     12/14/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__736394_DRB Check Booking
31\check_images\39938                             Template Updated 1-11-2023.pdf            219221      1/11/2023 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__748351_DRB Check Booking
31\check_images\39938                             Template Updated 2-8-2023.pdf             263071       2/8/2023 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__764686_DRB Check Booking
31\check_images\39938                             Template Updated 3-15-2023.pdf            185325      3/15/2023 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__774392_DRB Check Booking
31\check_images\39938                             Template Updated 4-5-2023.pdf             225330       4/5/2023 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__789524_DRB Check Booking
31\check_images\39938                             Template Updated 5-10-2023.pdf            204462      5/10/2023 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__804889_DRB Check Booking
31\check_images\39938                             Template Updated 6-14-2023.pdf            177247      6/14/2023 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__817271_DRB Check Booking
31\check_images\39938                             Template Updated 7-12-2023.pdf            164322      7/12/2023 11:51



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                                       3467



               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__829998_DRB Check Booking
31\check_images\39938                             Template Updated 8-9-2023.pdf             212058       8/9/2023 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__844285_DRB Check Booking
31\check_images\39938                             Template Updated 9-13-2023.pdf            179308      9/13/2023 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__856998_DRB Check Booking
31\check_images\39938                             Template Updated 10-11-2023.pdf           200449     10/11/2023 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__872002_DRB Check Booking
31\check_images\39938                             Template Updated 11-15-2023.pdf           182663     11/15/2023 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__884430_DRB Check Booking
31\check_images\39938                             Template Updated 12-13-2023.pdf           193108     12/13/2023 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__896402_DRB Check Booking
31\check_images\39938                             Template Updated 1-10-2024.pdf            188175      1/10/2024 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__911376_DRB Check Booking
31\check_images\39938                             Template Updated 2-14-2024.pdf            171109      2/14/2024 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__923671_DRB Check Booking
31\check_images\39938                             Template Updated 3-13-2024.pdf            172826      3/13/2024 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__935903_DRB Check Booking
31\check_images\39938                             Template Updated 4-10-2024.pdf            174189      4/10/2024 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__951541_DRB Check Booking
31\check_images\39938                             Template Updated 5-15-2024.pdf            159346      5/15/2024 13:33



                                                             760
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 762 of
                                       3467



               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44090                             2021-01-01__418655_32868011-45-5627.72.pdf       81424       1/4/2021 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44090                             2021-02-01__430391_32898885-3-5627.72.pdf        83002       2/2/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44090                             2021-03-01__442381_32924841-11-5796.55.pdf       88202       3/2/2021 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44090                             2021-04-01__454176_32956844-13-5796.55.pdf      104360      3/31/2021 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44090                             2021-05-01__465782_32986179-34-5796.55.pdf       81424        5/3/2021 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44090                             2021-06-01__478336_33014935-45-5796.55.pdf       72651       6/2/2021 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-01__487550_33043002-3-5796.55
31\check_images\44090                             USD.pdf                                          64048      6/28/2021 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-01__501103_33072626-28-5796.55
31\check_images\44090                             USD.pdf                                          66834      7/30/2021 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-01__518644_33099444-23-5796.55
31\check_images\44090                             USD.pdf                                          78483        9/2/2021 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-01__530811_33126104-1-5796.55
31\check_images\44090                             USD.pdf                                          72109      9/30/2021 11:08



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-01__542732_33153646-6-5796.55
31\check_images\44090                             USD.pdf                                      62431      11/1/2021 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-01__558213_33184272-9-5796.55
31\check_images\44090                             USD.pdf                                      62480      12/6/2021 21:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-01__571398_33223268-8-5796.55
31\check_images\44090                             USD.pdf                                      98625      1/10/2022 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-01__586205_33252545-31-5796.55
31\check_images\44090                             USD.pdf                                      90582      2/11/2022 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-01__593714_33276513-5-5970.45
31\check_images\44090                             USD.pdf                                      92573       3/3/2022 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-01__611136_33306222-2-5970.45
31\check_images\44090                             USD.pdf                                      98781       4/4/2022 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__625381_33333070-22-5970.45
31\check_images\44090                             USD.pdf                                     102447       5/2/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__636995_33357342-27-5970.45
31\check_images\44090                             USD.pdf                                     102570      5/31/2022 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__649189_33384093-35-5970.45
31\check_images\44090                             USD.pdf                                     104066      6/27/2022 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__664928_33413373-39-5970.45
31\check_images\44090                             USD.pdf                                      97218       8/1/2022 14:00



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__676486_33438027-34-5970.45
31\check_images\44090                             USD.pdf                                      101097      8/29/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__689290_item-8_33464071-8-
31\check_images\44090                             5970.45 USD.pdf                              102032      9/27/2022 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__704537_item-33_33490956-33-
31\check_images\44090                             5970.45 USD.pdf                              100754     10/31/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__719872_item-7_33519371-7-
31\check_images\44090                             5970.45 USD.pdf                               98576      12/6/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__732541_item-30_33558421-30-
31\check_images\44090                             5970.45 USD.pdf                               93889       1/5/2023 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__744001_item-18_33586376-18-
31\check_images\44090                             5970.45 USD.pdf                               98125      1/31/2023 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__756250_item-45_33613841-45-
31\check_images\44090                             6149.56 USD.pdf                               94750      2/27/2023 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__771331_item-30_33641661-30-
31\check_images\44090                             6149.56 USD.pdf                               96413      3/31/2023 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__784436_item-44_33668570-44-
31\check_images\44090                             6149.56 USD.pdf                               96454       5/1/2023 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__797429_item-45_33694503-45-
31\check_images\44090                             6149.56 USD.pdf                               98531      5/31/2023 13:58



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__811137_item-12_33721665-12-
31\check_images\44090                             6149.56 USD.pdf                              100545       6/30/2023 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__823610_item-13_33750655-13-
31\check_images\44090                             6149.56 USD.pdf                              100573      7/31/2023 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__839042_item-23_33778429-23-
31\check_images\44090                             6149.56 USD.pdf                               96274       8/31/2023 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__853372_item-36_33803750-36-
31\check_images\44090                             6149.56 USD.pdf                              108243      10/3/2023 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__863718_item-37_33829992-37-
31\check_images\44090                             6149.56 USD.pdf                              102060     10/30/2023 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__880698_item-11_33858630-11-
31\check_images\44090                             6149.56 USD.pdf                               98245       12/5/2023 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__891298_item-5_33896291-5-
31\check_images\44090                             6149.56 USD.pdf                               96562       1/2/2024 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__904526_item-32_33923401-32-
31\check_images\44090                             6149.56 USD.pdf                              103868      1/31/2024 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__915156_item-11_33949370-11-
31\check_images\44090                             6334.05 USD.pdf                               61432       2/26/2024 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__929292_item-2_33978586-2-
31\check_images\44090                             6334.05 USD.pdf                               59330       3/28/2024 8:57



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__943386_item-21_34002895-21-
31\check_images\44090                             6334.05 USD.pdf                               63203      4/29/2024 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-26__430746_DRB Check Booking
31\check_images\44198                             Template Updated 02-03-2021.pdf              142692       2/3/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-26__450152_DRB Check Booking
31\check_images\44198                             Template Updated 03-24-2021.pdf              128070      3/24/2021 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-26__456719_DRB Check Booking
31\check_images\44198                             Template Updated 04-07-2021.pdf              148781       4/7/2021 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-26__467652_DRB Check Booking
31\check_images\44198                             Template Updated 05-05-2021.pdf              160734       5/5/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-26__478106_DRB Check Booking
31\check_images\44198                             Template Updated 06-02-2021.pdf              123020       6/2/2021 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-26__492069_DRB Check Booking
31\check_images\44198                             Template Updated 07-07-2021.pdf              148309       7/7/2021 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-26__503899_DRB Check Booking
31\check_images\44198                             Template Updated 08-04-2021.pdf              140172       8/4/2021 21:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-26__517855_DRB Check Booking
31\check_images\44198                             Template Updated 09-01-2021.pdf              193077       9/1/2021 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-26__530455_DRB Check Booking
31\check_images\44198                             Template Updated 09-29-2021.pdf              148423      9/29/2021 13:15



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 767 of
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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-26__544817_DRB Check Booking
31\check_images\44198                             Template Updated 11-03-2021.pdf           211151      11/3/2021 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-26__559249_DRB Check Booking
31\check_images\44198                             Template Updated 12-08-2021.pdf           181678      12/8/2021 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-26__570200_DRB Check Booking
31\check_images\44198                             Template Updated 01-05-2022.pdf           193092       1/5/2022 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-26__581924_DRB Check Booking
31\check_images\44198                             Template Updated 02-02-2022.pdf           178470       2/2/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-26__593160_DRB Check Booking
31\check_images\44198                             Template Updated 03-02-2022.pdf           179961       3/2/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-26__613712_DRB Check Booking
31\check_images\44198                             Template Updated 04-06-2022.pdf           208191       4/6/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-26__626761_DRB Check Booking
31\check_images\44198                             Template Updated 5-04-2022.pdf            200928       5/4/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-26__638597_DRB Check Booking
31\check_images\44198                             Template Updated 6-01-2022.pdf            193601       6/1/2022 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-26__651237_DRB Check Booking
31\check_images\44198                             Template Updated 6-29-2022.pdf            146625      6/29/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-26__666842_DRB Check Booking
31\check_images\44198                             Template Updated 8-3-2022.pdf             197412       8/3/2022 10:55



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 768 of
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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-26__679129_DRB Check Booking
31\check_images\44198                             Template Updated 8-31-2022.pdf            192588      8/31/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-26__694953_DRB Check Booking
31\check_images\44198                             Template Updated 10-05-2022.pdf           201947      10/5/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-26__706614_DRB Check Booking
31\check_images\44198                             Template Updated 11-02-2022.pdf           190649      11/2/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-26__721211_DRB Check Booking
31\check_images\44198                             Template Updated 12-7-2022.pdf            190554      12/7/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-26__731596_DRB Check Booking
31\check_images\44198                             Template Updated 1-04-2023.pdf            147950        1/4/2023 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-26__745503_DRB Check Booking
31\check_images\44198                             Template Updated 2-1-2023.pdf             182292       2/1/2023 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-26__758242_DRB Check Booking
31\check_images\44198                             Template Updated 3-1-2023.pdf             195871       3/1/2023 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-26__770536_DRB Check Booking
31\check_images\44198                             Template Updated 3-29-2023.pdf            144392      3/29/2023 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-26__786601_DRB Check Booking
31\check_images\44198                             Template Updated 5-03-2023.pdf            186899       5/3/2023 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-26__801976_DRB Check Booking
31\check_images\44198                             Template Updated 6 07 2023.pdf            214225        6/8/2023 7:44



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-26__814278_DRB Check Booking
31\check_images\44198                             Template Updated 7-5-2023.pdf             230892       7/5/2023 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-26__827219_DRB Check Booking
31\check_images\44198                             Template Updated 8-2-2023.pdf             207599       8/2/2023 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-26__841720_DRB Check Booking
31\check_images\44198                             Template Updated 9-06-2023.pdf            214600       9/6/2023 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-26__854094_DRB Check Booking
31\check_images\44198                             Template Updated 10-04-2023.pdf           202783      10/4/2023 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-26__866172_DRB Check Booking
31\check_images\44198                             Template Updated 11-01-2023.pdf           154320      11/1/2023 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-26__878004_DRB Check Booking
31\check_images\44198                             Template Updated 11-29-2023.pdf           142089     11/29/2023 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-26__892530_DRB Check Booking
31\check_images\44198                             Template Updated 1-03-2024.pdf            171669       1/3/2024 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-26__908437_DRB Check Booking
31\check_images\44198                             Template Updated 2-07-2024.pdf            217252       2/7/2024 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-26__921021_DRB Check Booking
31\check_images\44198                             Template Updated 3-06-2024.pdf            210889       3/6/2024 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-26__933200_DRB Check Booking
31\check_images\44198                             Template Updated 4-03-2024.pdf            204241       4/3/2024 12:49



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-26__945192_DRB Check Booking
31\check_images\44198                             Template Updated 5-01-2024.pdf            196497       5/1/2024 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-26__959913_DRB Check Booking
31\check_images\44198                             Template Updated 6-05-2024.pdf            184494       6/5/2024 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-18__564434_DRB Check Booking
31\check_images\44215                             Template Updated 12-22-2021.pdf           190296     12/22/2021 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-18__575903_DRB Check Booking
31\check_images\44215                             Template Updated 01-19-2022.pdf           198404      1/19/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-18__589694_DRB Check Booking
31\check_images\44215                             Template Updated 02-23-2022.pdf           170725      2/23/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-18__604580_DRB Check Booking
31\check_images\44215                             Template Updated 03-23-2022.pdf           174089      3/23/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-18__619633_DRB Check Booking
31\check_images\44215                             Template Updated 04-20-2022.pdf           180879      4/20/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-18__632396_DRB Check Booking
31\check_images\44215                             Template Updated 5-18-2022.pdf            176699      5/18/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-18__647477_DRB Check Booking
31\check_images\44215                             Template Updated 6-22-2022.pdf            188411      6/22/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-18__660110_DRB Check Booking
31\check_images\44215                             Template Updated 7-20-2022.pdf            192303      7/20/2022 11:54



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                                       3467



               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-18__672541_DRB Check Booking
31\check_images\44215                             Template Updated 8-17-2022.pdf            174465      8/17/2022 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-18__687221_DRB Check Booking
31\check_images\44215                             Template Updated 9-21-2022.pdf            185984      9/21/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-18__699942_DRB Check Booking
31\check_images\44215                             Template Updated 10-19-2022.pdf           165840     10/19/2022 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-18__715227_DRB Check Booking
31\check_images\44215                             Template Updated 11-28-2022.pdf           201812     11/28/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-18__726730_DRB Check Booking
31\check_images\44215                             Template Updated 12-21-2022.pdf           205972     12/21/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-18__739153_DRB Check Booking
31\check_images\44215                             Template Updated 1-18-2023.pdf            215009      1/18/2023 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-18__751438_DRB Check Booking
31\check_images\44215                             Template Updated 2-15-2023.pdf            195089      2/15/2023 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-18__766738_DRB Check Booking
31\check_images\44215                             Template Updated 3-22-2023.pdf            171363      3/22/2023 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-18__779576_DRB Check Booking
31\check_images\44215                             Template Updated 4-19-2023.pdf            179337      4/19/2023 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-18__792580_DRB Check Booking
31\check_images\44215                             Template Updated 5-17-2023.pdf            191198      5/17/2023 12:01



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                                       3467



               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-18__807203_DRB Check Booking
31\check_images\44215                             Template Updated 6-21-2023.pdf            187448      6/21/2023 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-18__820200_DRB Check Booking
31\check_images\44215                             Template Updated 7-19-2023.pdf            189211      7/19/2023 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-18__834908_DRB Check Booking
31\check_images\44215                             Template Updated 8-23-2023.pdf            170224      8/23/2023 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-18__847123_DRB Check Booking
31\check_images\44215                             Template Updated 9-20-2023.pdf            186661      9/20/2023 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-18__859943_DRB Check Booking
31\check_images\44215                             Template Updated 10-18-2023.pdf           159153     10/18/2023 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-18__872292_DRB Check Booking
31\check_images\44215                             Template Updated 11-15-2023.pdf           182663     11/15/2023 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-18__887494_DRB Check Booking
31\check_images\44215                             Template Updated 12-20-2023.pdf           197646     12/20/2023 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-18__899630_DRB Check Booking
31\check_images\44215                             Template Updated 1-17-2024.pdf            188534      1/17/2024 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-18__914194_DRB Check Booking
31\check_images\44215                             Template Updated 2-21-2024.pdf            188853      2/21/2024 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-18__926505_DRB Check Booking
31\check_images\44215                             Template Updated 3-20-2024.pdf            161334      3/20/2024 14:25



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-18__941136_DRB Check Booking
31\check_images\44215                             Template Updated 4-24-2024.pdf            162996      4/24/2024 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-18__951800_DRB Check Booking
31\check_images\44215                             Template Updated 5-15-2024.pdf            159346      5/15/2024 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-17__425119_DRB Check Booking
31\check_images\44248                             Template Updated 01-20-2021.pdf           151242      1/20/2021 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-17__439152_DRB Check Booking
31\check_images\44248                             Template Updated 02-24-2021.pdf           108406      2/24/2021 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-17__450262_DRB Check Booking
31\check_images\44248                             Template Updated 03-24-2021.pdf           128070      3/24/2021 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-17__463865_DRB Check Booking
31\check_images\44248                             Template Updated 04-28-2021.pdf           114162      4/28/2021 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-17__475213_DRB Check Booking
31\check_images\44248                             Template Updated 05-27-2021.pdf           113953       5/27/2021 1:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-17__485239_DRB Check Booking
31\check_images\44248                             Template Updated 06-23-2021.pdf           116332      6/23/2021 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-17__496804_DRB Check Booking
31\check_images\44248                             Template Updated 07-21-2021.pdf           128680      7/21/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-17__513271_DRB Check Booking
31\check_images\44248                             Template Updated 08-25-2021.pdf           160923      8/25/2021 16:53



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                                       3467



               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-17__526623_DRB Check Booking
31\check_images\44248                             Template Updated 09-22-2021.pdf           192565      9/22/2021 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-17__544789_DRB Check Booking
31\check_images\44248                             Template Updated 11-03-2021.pdf           211151      11/3/2021 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-17__552976_DRB Check Booking
31\check_images\44248                             Template Updated 11-24-2021.pdf           160479     11/24/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-17__564611_DRB Check Booking
31\check_images\44248                             Template Updated 12-22-2021.pdf           190296     12/22/2021 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-17__579645_DRB Check Booking
31\check_images\44248                             Template Updated 01-26-2022.pdf           163842      1/26/2022 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-17__589787_DRB Check Booking
31\check_images\44248                             Template Updated 02-23-2022.pdf           170725      2/23/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-17__604780_DRB Check Booking
31\check_images\44248                             Template Updated 03-23-2022.pdf           174089      3/23/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-17__622996_DRB Check Booking
31\check_images\44248                             Template Updated 04-27-2022.pdf           164287      4/27/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-17__635036_DRB Check Booking
31\check_images\44248                             Template Updated 5-25-2022.pdf            157181      5/25/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-17__647573_DRB Check Booking
31\check_images\44248                             Template Updated 6-22-2022.pdf            188411      6/22/2022 13:19



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                                       3467



               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-17__660222_DRB Check Booking
31\check_images\44248                             Template Updated 7-20-2022.pdf            192303      7/20/2022 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-17__672611_DRB Check Booking
31\check_images\44248                             Template Updated 8-17-2022.pdf            174465      8/17/2022 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-17__687300_DRB Check Booking
31\check_images\44248                             Template Updated 9-21-2022.pdf            185984      9/21/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-17__702213_DRB Check Booking
31\check_images\44248                             Template Updated 10-26-2022.pdf           157049     10/26/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-17__715458_DRB Check Booking
31\check_images\44248                             Template Updated 11-28-2022.pdf           201812     11/28/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-17__726892_DRB Check Booking
31\check_images\44248                             Template Updated 12-21-2022.pdf           205972     12/21/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-17__741299_DRB Check Booking
31\check_images\44248                             Template Updated 1-25-2023.pdf            174622      1/25/2023 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-17__754041_DRB Check Booking
31\check_images\44248                             Template Updated 2-22-2023.pdf            188121      2/22/2023 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-17__766787_DRB Check Booking
31\check_images\44248                             Template Updated 3-22-2023.pdf            171363      3/22/2023 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-17__782643_DRB Check Booking
31\check_images\44248                             Template Updated 4-26-2023.pdf            169218      4/26/2023 13:18



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-17__792592_DRB Check Booking
31\check_images\44248                             Template Updated 5-17-2023.pdf            191198      5/17/2023 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-17__807291_DRB Check Booking
31\check_images\44248                             Template Updated 6-21-2023.pdf            187448      6/21/2023 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-17__827214_DRB Check Booking
31\check_images\44248                             Template Updated 8-2-2023.pdf             207599       8/2/2023 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-17__834888_DRB Check Booking
31\check_images\44248                             Template Updated 8-23-2023.pdf            170224      8/23/2023 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-17__850036_DRB Check Booking
31\check_images\44248                             Template Updated 9-27-2023.pdf            153410      9/27/2023 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-17__861696_DRB Check Booking
31\check_images\44248                             Template Updated 10-25-2023.pdf           201473     10/25/2023 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-17__874610_DRB Check Booking
31\check_images\44248                             Template Updated 11-22-2023.pdf           145529     11/22/2023 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-17__889293_DRB Check Booking
31\check_images\44248                             Template Updated 12-27-2023.pdf           153014     12/27/2023 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-17__899623_DRB Check Booking
31\check_images\44248                             Template Updated 1-17-2024.pdf            188534      1/17/2024 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-17__914165_DRB Check Booking
31\check_images\44248                             Template Updated 2-21-2024.pdf            188853      2/21/2024 12:34



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-17__926498_DRB Check Booking
31\check_images\44248                             Template Updated 3-20-2024.pdf            161334      3/20/2024 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-17__939393_DRB Check Booking
31\check_images\44248                             Template Updated 4-17-2024.pdf            182239      4/17/2024 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-17__953961_DRB Check Booking
31\check_images\44248                             Template Updated 5-22-2024.pdf            175513      5/22/2024 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-19__889348_DRB Check Booking
31\check_images\44281                             Template Updated 12-27-2023.pdf           153014     12/27/2023 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-19__908416_DRB Check Booking
31\check_images\44281                             Template Updated 2-07-2024.pdf            217252       2/7/2024 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-19__914206_DRB Check Booking
31\check_images\44281                             Template Updated 2-21-2024.pdf            188853      2/21/2024 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-19__929117_DRB Check Booking
31\check_images\44281                             Template Updated 3-27-2024.pdf            165350      3/27/2024 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-19__941151_DRB Check Booking
31\check_images\44281                             Template Updated 4-24-2024.pdf            162996      4/24/2024 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-19__954006_DRB Check Booking
31\check_images\44281                             Template Updated 5-22-2024.pdf            175513      5/22/2024 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2021-01-18__425681_2265_35_42.pdf         109371       1/21/2021 5:08



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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2021-02-18__436158_2265_28_8.pdf               89354       2/16/2021 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2021-03-18__446998_2265_30_12.pdf             147566       3/15/2021 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2021-04-18__459832_2265_28_5.pdf              138652       4/15/2021 5:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2021-05-18__470795_2265_26_29.pdf             124378       5/14/2021 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2021-06-18__483226_483011_2265_36_14.pdf      133183       6/14/2021 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2021-07-18__494937_2265_26_23.pdf             133074       7/15/2021 6:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2021-08-18__510229_2265_29_1.pdf               69517       8/16/2021 3:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2021-09-18__522738_2265_20_27.pdf              67104       9/15/2021 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2021-10-18__537211_2265_27_20.pdf              73035      10/18/2021 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2021-11-18__548947_2265_31_46.pdf              72614      11/15/2021 6:58



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2021-12-18__562572_2265_28_32.pdf               84099     12/16/2021 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2022-01-18__575529_2265_34_31.pdf               66049      1/18/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2022-02-18__588056_2265_29_16.pdf               83535      2/16/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2022-03-18__601703_2265_28_24.pdf               67169      3/16/2022 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2022-04-18__618916_2265_26_14.pdf               83180      4/18/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2022-05-18__632481_2265_31_35.pdf               74844      5/18/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2022-06-18__645626_2265_28_15.pdf               67272      6/15/2022 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2022-07-18__659555_2265_33_44.pdf               76833       7/18/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2022-08-18__671942_2265_30_4.pdf                67481      8/15/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2022-09-18__685782_item-16_2265_21_16.pdf       67793      9/16/2022 13:29



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 780 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2022-10-18__699916_item-80_2265_30_30.pdf       73262      10/19/2022 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2022-11-18__711704_item-46_2265_21_1.pdf        77703     11/16/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2022-12-18__725015_item-8_2265_28_8.pdf         68729     12/16/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2023-01-18__739430_item-14_2265_35_14.pdf       66998      1/19/2023 12:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2023-02-18__750903_item-25_2265_26_17.pdf       71572      2/14/2023 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2023-03-18__764518_item-51_2265_29_38.pdf       76963      3/15/2023 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2023-04-18__778365_item-63_2265_26_16.pdf       75570      4/17/2023 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2023-05-18__792570_item-20_2265_31_15.pdf       79552      5/16/2023 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2023-06-18__806818_item-38_2265_28_38.pdf       69051       6/21/2023 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2023-07-18__818577_item-13_2265_32_13.pdf       78357      7/17/2023 11:27



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2023-08-18__833152_item-39_2265_31_39.pdf        76280      8/16/2023 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2023-09-18__846064_item-41_2265_26_26.pdf        67489       9/18/2023 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2023-10-18__859429_item-12_2265_35_12.pdf        68522     10/17/2023 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2023-11-18__871261_item-21_2265_26_21.pdf        68874     11/14/2023 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2023-12-18__885871_item-57_2265_30_21.pdf        68773     12/18/2023 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2024-01-18__899010_item-2_2265_38_2.pdf          74758      1/17/2024 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2024-02-18__912170_item-44_2265_27_25.pdf        75005      2/16/2024 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2024-03-18__925768_item-41_2265_35_16.pdf        69050       3/19/2024 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2024-04-18__938112_item-199_2265_37_29.pdf       66949       4/15/2024 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                             2024-05-18__952261_item-17_2265_30_17.pdf        67311       5/17/2024 9:22



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-25__433775_DRB Check Booking
31\check_images\44409                             Template Updated 02-10-2021.pdf           124767      2/10/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-25__450150_DRB Check Booking
31\check_images\44409                             Template Updated 03-24-2021.pdf           128070      3/24/2021 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-25__456712_DRB Check Booking
31\check_images\44409                             Template Updated 04-07-2021.pdf           148781       4/7/2021 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-25__470007_DRB Check Booking
31\check_images\44409                             Template Updated 05-12-2021.pdf           111377      5/12/2021 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-25__480841_DRB Check Booking
31\check_images\44409                             Template Updated 06-09-2021.pdf           141843       6/9/2021 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-25__494540_DRB Check Booking
31\check_images\44409                             Template Updated 07-14-2021.pdf           111100      7/14/2021 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-25__505903_DRB Check Booking
31\check_images\44409                             Template Updated 08-11-2021.pdf           115605      8/11/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-25__520838_DRB Check Booking
31\check_images\44409                             Template Updated 09-08-2021.pdf           208178       9/8/2021 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-25__534166_DRB Check Booking
31\check_images\44409                             Template Updated 10-06-2021.pdf           238482      10/6/2021 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-25__547926_DRB Check Booking
31\check_images\44409                             Template Updated 11-10-2021.pdf           199775     11/10/2021 10:55



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-25__559248_DRB Check Booking
31\check_images\44409                             Template Updated 12-08-2021.pdf           181678      12/8/2021 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-25__573158_DRB Check Booking
31\check_images\44409                             Template Updated 01-12-2022.pdf           181016      1/12/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-25__587878_DRB Check Booking
31\check_images\44409                             Template Updated 02-16-2022.pdf           192792      2/16/2022 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-25__599693_DRB Check Booking
31\check_images\44409                             Template Updated 03-16-2022.pdf           171148      3/16/2022 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-25__616576_DRB Check Booking
31\check_images\44409                             Template Updated 04-13-2022.pdf           191763      4/13/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-25__629583_DRB Check Booking
31\check_images\44409                             Template Updated 5-11-2022.pdf            193228      5/11/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-25__645216_DRB Check Booking
31\check_images\44409                             Template Updated 6-15-2022.pdf            171255      6/15/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-25__654877_DRB Check Booking
31\check_images\44409                             Template Updated 7-06-2022.pdf            233409       7/6/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-25__669878_DRB Check Booking
31\check_images\44409                             Template Updated 8-10-2022.pdf            196078      8/10/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-25__682340_DRB Check Booking
31\check_images\44409                             Template Updated 9-7-2022.pdf             196534       9/7/2022 16:30



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-25__697565_DRB Check Booking
31\check_images\44409                             Template Updated 10-12-2022.pdf           212739     10/12/2022 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-25__709284_DRB Check Booking
31\check_images\44409                             Template Updated 11-09-2022.pdf           192449      11/9/2022 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-25__723915_DRB Check Booking
31\check_images\44409                             Template Updated 12-14-2022.pdf           236362     12/14/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-25__736388_DRB Check Booking
31\check_images\44409                             Template Updated 1-11-2023.pdf            219221      1/11/2023 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-25__748345_DRB Check Booking
31\check_images\44409                             Template Updated 2-8-2023.pdf             263071       2/8/2023 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-25__764683_DRB Check Booking
31\check_images\44409                             Template Updated 3-15-2023.pdf            185325      3/15/2023 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-25__776921_DRB Check Booking
31\check_images\44409                             Template Updated 4-12-2023.pdf            210658      4/12/2023 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-25__789515_DRB Check Booking
31\check_images\44409                             Template Updated 5-10-2023.pdf            204462      5/10/2023 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-25__804887_DRB Check Booking
31\check_images\44409                             Template Updated 6-14-2023.pdf            177247      6/14/2023 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-25__817263_DRB Check Booking
31\check_images\44409                             Template Updated 7-12-2023.pdf            164322      7/12/2023 11:51



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-25__829612_DRB Check Booking
31\check_images\44409                             Template Updated 8-9-2023.pdf             212058       8/9/2023 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-25__844180_DRB Check Booking
31\check_images\44409                             Template Updated 9-13-2023.pdf            179308      9/13/2023 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-25__856660_DRB Check Booking
31\check_images\44409                             Template Updated 10-11-2023.pdf           200449     10/11/2023 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-25__869000_DRB Check Booking
31\check_images\44409                             Template Updated 11-08-2023.pdf           231346      11/8/2023 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-25__884384_DRB Check Booking
31\check_images\44409                             Template Updated 12-13-2023.pdf           193108     12/13/2023 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-25__896277_DRB Check Booking
31\check_images\44409                             Template Updated 1-10-2024.pdf            188175      1/10/2024 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-25__908430_DRB Check Booking
31\check_images\44409                             Template Updated 2-07-2024.pdf            217252       2/7/2024 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-25__923636_DRB Check Booking
31\check_images\44409                             Template Updated 3-13-2024.pdf            172826      3/13/2024 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-25__935826_DRB Check Booking
31\check_images\44409                             Template Updated 4-10-2024.pdf            174189      4/10/2024 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-25__948563_DRB Check Booking
31\check_images\44409                             Template Updated 5-08-2024.pdf            186338       5/8/2024 13:41



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-25__961843_DRB Check Booking
31\check_images\44409                             Template Updated 6-12-2024.pdf            187373      6/12/2024 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-15__427736_DRB Check Booking
31\check_images\46968                             Template Updated 01-27-2021.pdf           110373      1/27/2021 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-15__436428_DRB Check Booking
31\check_images\46968                             Template Updated 02-17-2021.pdf           130316      2/17/2021 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-15__448417_DRB Check Booking
31\check_images\46968                             Template Updated 03-17-2021.pdf           125046      3/17/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-15__459404_DRB Check Booking
31\check_images\46968                             Template Updated 04-14-2021.pdf           116579      4/14/2021 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-15__472406_DRB Check Booking
31\check_images\46968                             Template Updated 05-19-2021.pdf           132088      5/19/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-15__483669_DRB Check Booking
31\check_images\46968                             Template Updated 06-16-2021.pdf           131297      6/16/2021 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-15__494675_DRB Check Booking
31\check_images\46968                             Template Updated 07-14-2021.pdf           111100      7/14/2021 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-15__511537_DRB Check Booking
31\check_images\46968                             Template Updated 08-18-2021.pdf           133501      8/18/2021 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-15__522975_DRB Check Booking
31\check_images\46968                             Template Updated 09-15-2021.pdf           156530      9/15/2021 13:10



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-15__538445_DRB Check Booking
31\check_images\46968                             Template Updated 10-20-2021.pdf           186752     10/20/2021 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-15__550471_DRB Check Booking
31\check_images\46968                             Template Updated 11-17-2021.pdf           179641     11/17/2021 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-15__562127_DRB Check Booking
31\check_images\46968                             Template Updated 12-15-2021.pdf           172522     12/15/2021 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-15__579450_DRB Check Booking
31\check_images\46968                             Template Updated 01-26-2022.pdf           163842      1/26/2022 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-15__587716_DRB Check Booking
31\check_images\46968                             Template Updated 02-16-2022.pdf           192792      2/16/2022 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-15__599492_DRB Check Booking
31\check_images\46968                             Template Updated 03-16-2022.pdf           171148      3/16/2022 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-15__616551_DRB Check Booking
31\check_images\46968                             Template Updated 04-13-2022.pdf           191763      4/13/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-15__629520_DRB Check Booking
31\check_images\46968                             Template Updated 5-11-2022.pdf            193228      5/11/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-15__645157_DRB Check Booking
31\check_images\46968                             Template Updated 6-15-2022.pdf            171255      6/15/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-15__657504_DRB Check Booking
31\check_images\46968                             Template Updated 7-13-2022.pdf            158766      7/13/2022 13:13



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-15__672369_DRB Check Booking
31\check_images\46968                             Template Updated 8-17-2022.pdf            174465      8/17/2022 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-15__687019_DRB Check Booking
31\check_images\46968                             Template Updated 9-21-2022.pdf            185984      9/21/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-15__697519_DRB Check Booking
31\check_images\46968                             Template Updated 10-12-2022.pdf           212739     10/12/2022 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-15__712104_DRB Check Booking
31\check_images\46968                             Template Updated 11-16-2022.pdf           183638     11/16/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-15__723709_DRB Check Booking
31\check_images\46968                             Template Updated 12-14-2022.pdf           236362     12/14/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-15__738975_DRB Check Booking
31\check_images\46968                             Template Updated 1-18-2023.pdf            215009      1/18/2023 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-15__751346_DRB Check Booking
31\check_images\46968                             Template Updated 2-15-2023.pdf            195089      2/15/2023 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-15__764605_DRB Check Booking
31\check_images\46968                             Template Updated 3-15-2023.pdf            185325      3/15/2023 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-15__776888_DRB Check Booking
31\check_images\46968                             Template Updated 4-12-2023.pdf            210658      4/12/2023 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-15__792397_DRB Check Booking
31\check_images\46968                             Template Updated 5-17-2023.pdf            191198      5/17/2023 12:01



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-15__806937_DRB Check Booking
31\check_images\46968                             Template Updated 6-21-2023.pdf            187448      6/21/2023 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-15__819998_DRB Check Booking
31\check_images\46968                             Template Updated 7-19-2023.pdf            189211      7/19/2023 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-15__832831_DRB Check Booking
31\check_images\46968                             Template Updated 8-16-2023.pdf            172227      8/16/2023 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-15__846963_DRB Check Booking
31\check_images\46968                             Template Updated 9-20-2023.pdf            186661      9/20/2023 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-15__859859_DRB Check Booking
31\check_images\46968                             Template Updated 10-18-2023.pdf           159153     10/18/2023 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-15__872209_DRB Check Booking
31\check_images\46968                             Template Updated 11-15-2023.pdf           182663     11/15/2023 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-15__887296_DRB Check Booking
31\check_images\46968                             Template Updated 12-20-2023.pdf           197646     12/20/2023 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-15__899491_DRB Check Booking
31\check_images\46968                             Template Updated 1-17-2024.pdf            188534      1/17/2024 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__914001_DRB Check Booking
31\check_images\46968                             Template Updated 2-21-2024.pdf            188853      2/21/2024 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-15__923914_DRB Check Booking
31\check_images\46968                             Template Updated 3-13-2024.pdf            172826      3/13/2024 13:04



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-15__939225_DRB Check Booking
31\check_images\46968                             Template Updated 4-17-2024.pdf            182239      4/17/2024 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-15__951722_DRB Check Booking
31\check_images\46968                             Template Updated 5-15-2024.pdf            159346      5/15/2024 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-06__422965_DRB Check Booking
31\check_images\49025                             Template Updated 01-13-2021.pdf           129791      1/13/2021 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-06__433937_DRB Check Booking
31\check_images\49025                             Template Updated 02-10-2021.pdf           124767      2/10/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-06__445515_DRB Check Booking
31\check_images\49025                             Template Updated 03-10-2021.pdf           154529      3/10/2021 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-06__456949_DRB Check Booking
31\check_images\49025                             Template Updated 04-07-2021.pdf           148781       4/7/2021 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-06__470080_DRB Check Booking
31\check_images\49025                             Template Updated 05-12-2021.pdf           111377      5/12/2021 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-06__481164_DRB Check Booking
31\check_images\49025                             Template Updated 06-09-2021.pdf           141843       6/9/2021 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-06__492250_DRB Check Booking
31\check_images\49025                             Template Updated 07-07-2021.pdf           148309       7/7/2021 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-06__506027_DRB Check Booking
31\check_images\49025                             Template Updated 08-11-2021.pdf           115605      8/11/2021 11:48



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-06__520581_DRB Check Booking
31\check_images\49025                             Template Updated 09-08-2021.pdf           208178       9/8/2021 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-06__535978_DRB Check Booking
31\check_images\49025                             Template Updated 10-13-2021.pdf           165790     10/13/2021 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-06__547863_DRB Check Booking
31\check_images\49025                             Template Updated 11-10-2021.pdf           199775     11/10/2021 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-06__559208_DRB Check Booking
31\check_images\49025                             Template Updated 12-08-2021.pdf           181678      12/8/2021 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-06__573040_DRB Check Booking
31\check_images\49025                             Template Updated 01-12-2022.pdf           181016      1/12/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-06__585450_DRB Check Booking
31\check_images\49025                             Template Updated 02-09-2022.pdf           191569       2/9/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-06__595946_DRB Check Booking
31\check_images\49025                             Template Updated 03-09-2022.pdf           229139       3/9/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-06__616455_DRB Check Booking
31\check_images\49025                             Template Updated 04-13-2022.pdf           191763      4/13/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-06__629397_DRB Check Booking
31\check_images\49025                             Template Updated 5-11-2022.pdf            193228      5/11/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-06__642061_DRB Check Booking
31\check_images\49025                             Template Updated 6-08-2022.pdf            172148       6/8/2022 15:13



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-06__657447_DRB Check Booking
31\check_images\49025                             Template Updated 7-13-2022.pdf            158766      7/13/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-06__669803_DRB Check Booking
31\check_images\49025                             Template Updated 8-10-2022.pdf            196078      8/10/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-06__682306_DRB Check Booking
31\check_images\49025                             Template Updated 9-7-2022.pdf             196534       9/7/2022 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-06__697391_DRB Check Booking
31\check_images\49025                             Template Updated 10-12-2022.pdf           212739     10/12/2022 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-06__709250_DRB Check Booking
31\check_images\49025                             Template Updated 11-09-2022.pdf           192449      11/9/2022 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-06__723824_DRB Check Booking
31\check_images\49025                             Template Updated 12-14-2022.pdf           236362     12/14/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-06__736328_DRB Check Booking
31\check_images\49025                             Template Updated 1-11-2023.pdf            219221      1/11/2023 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-06__748329_DRB Check Booking
31\check_images\49025                             Template Updated 2-8-2023.pdf             263071       2/8/2023 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-06__761623_DRB Check Booking
31\check_images\49025                             Template Updated 3-8-2023.pdf             233288       3/8/2023 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-06__776783_DRB Check Booking
31\check_images\49025                             Template Updated 4-12-2023.pdf            210658      4/12/2023 12:16



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-06__789426_DRB Check Booking
31\check_images\49025                             Template Updated 5-10-2023.pdf            204462      5/10/2023 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-06__804640_DRB Check Booking
31\check_images\49025                             Template Updated 6-14-2023.pdf            177247      6/14/2023 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-06__817134_DRB Check Booking
31\check_images\49025                             Template Updated 7-12-2023.pdf            164322      7/12/2023 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-06__830088_DRB Check Booking
31\check_images\49025                             Template Updated 8-9-2023.pdf             212058       8/9/2023 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-06__842145_DRB Check Booking
31\check_images\49025                             Template Updated 9-06-2023.pdf            214600       9/6/2023 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-06__857128_DRB Check Booking
31\check_images\49025                             Template Updated 10-11-2023.pdf           200449     10/11/2023 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-06__869210_DRB Check Booking
31\check_images\49025                             Template Updated 11-08-2023.pdf           231346      11/8/2023 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-06__884635_DRB Check Booking
31\check_images\49025                             Template Updated 12-13-2023.pdf           193108     12/13/2023 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-06__896761_DRB Check Booking
31\check_images\49025                             Template Updated 1-10-2024.pdf            188175      1/10/2024 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-06__908795_DRB Check Booking
31\check_images\49025                             Template Updated 2-07-2024.pdf            217252       2/7/2024 12:49



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-06__923803_DRB Check Booking
31\check_images\49025                             Template Updated 3-13-2024.pdf            172826      3/13/2024 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-06__936126_DRB Check Booking
31\check_images\49025                             Template Updated 4-10-2024.pdf            174189      4/10/2024 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-06__948860_DRB Check Booking
31\check_images\49025                             Template Updated 5-08-2024.pdf            186338       5/8/2024 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-24__427795_DRB Check Booking
31\check_images\49026                             Template Updated 01-27-2021.pdf           110373      1/27/2021 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-24__442971_DRB Check Booking
31\check_images\49026                             Template Updated 03-03-2021.pdf           127737       3/3/2021 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-24__454115_DRB Check Booking
31\check_images\49026                             Template Updated 03-31-2021.pdf           122275      3/31/2021 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-24__463973_DRB Check Booking
31\check_images\49026                             Template Updated 04-28-2021.pdf           114162      4/28/2021 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-24__475256_DRB Check Booking
31\check_images\49026                             Template Updated 05-27-2021.pdf           113953       5/27/2021 1:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-24__489696_DRB Check Booking
31\check_images\49026                             Template Updated 06-30-2021.pdf           121086      6/30/2021 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-24__499663_DRB Check Booking
31\check_images\49026                             Template Updated 07-28-2021.pdf           123180      7/28/2021 16:22



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-24__513362_DRB Check Booking
31\check_images\49026                             Template Updated 08-25-2021.pdf           160923      8/25/2021 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-24__530432_DRB Check Booking
31\check_images\49026                             Template Updated 09-29-2021.pdf           148423      9/29/2021 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-24__540760_DRB Check Booking
31\check_images\49026                             Template Updated 10-27-2021.pdf           154603     10/27/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-24__552980_DRB Check Booking
31\check_images\49026                             Template Updated 11-24-2021.pdf           160479     11/24/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-24__564651_DRB Check Booking
31\check_images\49026                             Template Updated 12-22-2021.pdf           190296     12/22/2021 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-24__579670_DRB Check Booking
31\check_images\49026                             Template Updated 01-26-2022.pdf           163842      1/26/2022 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-24__593151_DRB Check Booking
31\check_images\49026                             Template Updated 03-02-2022.pdf           179961       3/2/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-24__609560_DRB Check Booking
31\check_images\49026                             Template Updated 03-30-2022.pdf           141649      3/30/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-24__623026_DRB Check Booking
31\check_images\49026                             Template Updated 04-27-2022.pdf           164287      4/27/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-24__635083_DRB Check Booking
31\check_images\49026                             Template Updated 5-25-2022.pdf            157181      5/25/2022 13:42



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-24__651226_DRB Check Booking
31\check_images\49026                             Template Updated 6-29-2022.pdf            146625      6/29/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-24__662969_DRB Check Booking
31\check_images\49026                             Template Updated 7-27-2022.pdf            149687      7/27/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-24__679113_DRB Check Booking
31\check_images\49026                             Template Updated 8-31-2022.pdf            192588      8/31/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-24__691373_DRB Check Booking
31\check_images\49026                             Template Updated 9-28-2022.pdf            154172      9/28/2022 19:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-24__702236_DRB Check Booking
31\check_images\49026                             Template Updated 10-26-2022.pdf           157049     10/26/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-24__715507_DRB Check Booking
31\check_images\49026                             Template Updated 11-28-2022.pdf           201812     11/28/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-24__726908_DRB Check Booking
31\check_images\49026                             Template Updated 12-21-2022.pdf           205972     12/21/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-24__745497_DRB Check Booking
31\check_images\49026                             Template Updated 2-1-2023.pdf             182292       2/1/2023 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-24__758236_DRB Check Booking
31\check_images\49026                             Template Updated 3-1-2023.pdf             195871       3/1/2023 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-24__770534_DRB Check Booking
31\check_images\49026                             Template Updated 3-29-2023.pdf            144392      3/29/2023 14:30



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-24__782649_DRB Check Booking
31\check_images\49026                             Template Updated 4-26-2023.pdf            169218      4/26/2023 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-24__794596_DRB Check Booking
31\check_images\49026                             Template Updated 5-24-2023.pdf            181428      5/24/2023 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-24__810497_DRB Check Booking
31\check_images\49026                             Template Updated 6-28-2023.pdf            141760      6/28/2023 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-24__827216_DRB Check Booking
31\check_images\49026                             Template Updated 8-2-2023.pdf             207599       8/2/2023 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-24__834988_DRB Check Booking
31\check_images\49026                             Template Updated 8-23-2023.pdf            170224      8/23/2023 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-24__850166_DRB Check Booking
31\check_images\49026                             Template Updated 9-27-2023.pdf            153410      9/27/2023 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-24__866141_DRB Check Booking
31\check_images\49026                             Template Updated 11-01-2023.pdf           154320      11/1/2023 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-24__877988_DRB Check Booking
31\check_images\49026                             Template Updated 11-29-2023.pdf           142089     11/29/2023 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-24__887539_DRB Check Booking
31\check_images\49026                             Template Updated 12-20-2023.pdf           197646     12/20/2023 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-24__918000_DRB Check Booking
31\check_images\49026                             Template Updated 2-28-2024.pdf            156962      2/28/2024 11:33



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-24__929252_DRB Check Booking
31\check_images\49026                             Template Updated 3-27-2024.pdf            165350      3/27/2024 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-24__941260_DRB Check Booking
31\check_images\49026                             Template Updated 4-24-2024.pdf            162996      4/24/2024 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-24__957105_DRB Check Booking
31\check_images\49026                             Template Updated 5-29-2024.pdf            162228      5/29/2024 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-24__430737_DRB Check Booking
31\check_images\49035                             Template Updated 02-03-2021.pdf           142692       2/3/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-24__442972_DRB Check Booking
31\check_images\49035                             Template Updated 03-03-2021.pdf           127737       3/3/2021 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-24__454118_DRB Check Booking
31\check_images\49035                             Template Updated 03-31-2021.pdf           122275      3/31/2021 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-24__467640_DRB Check Booking
31\check_images\49035                             Template Updated 05-05-2021.pdf           160734       5/5/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-24__478080_DRB Check Booking
31\check_images\49035                             Template Updated 06-02-2021.pdf           123020       6/2/2021 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-24__489697_DRB Check Booking
31\check_images\49035                             Template Updated 06-30-2021.pdf           121086      6/30/2021 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-24__503893_DRB Check Booking
31\check_images\49035                             Template Updated 08-04-2021.pdf           140172       8/4/2021 21:13



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-24__517821_DRB Check Booking
31\check_images\49035                             Template Updated 09-01-2021.pdf           193077       9/1/2021 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-24__530434_DRB Check Booking
31\check_images\49035                             Template Updated 09-29-2021.pdf           148423      9/29/2021 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-24__544803_DRB Check Booking
31\check_images\49035                             Template Updated 11-03-2021.pdf           211151      11/3/2021 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-24__556621_DRB Check Booking
31\check_images\49035                             Template Updated 12-01-2021.pdf           218425      12/1/2021 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-24__570192_DRB Check Booking
31\check_images\49035                             Template Updated 01-05-2022.pdf           193092       1/5/2022 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-24__581917_DRB Check Booking
31\check_images\49035                             Template Updated 02-02-2022.pdf           178470       2/2/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-24__593152_DRB Check Booking
31\check_images\49035                             Template Updated 03-02-2022.pdf           179961       3/2/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-24__609561_DRB Check Booking
31\check_images\49035                             Template Updated 03-30-2022.pdf           141649      3/30/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-24__626750_DRB Check Booking
31\check_images\49035                             Template Updated 5-04-2022.pdf            200928       5/4/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-24__638582_DRB Check Booking
31\check_images\49035                             Template Updated 6-01-2022.pdf            193601       6/1/2022 12:11



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-24__651228_DRB Check Booking
31\check_images\49035                             Template Updated 6-29-2022.pdf            146625      6/29/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-24__662971_DRB Check Booking
31\check_images\49035                             Template Updated 7-27-2022.pdf            149687      7/27/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-24__679114_DRB Check Booking
31\check_images\49035                             Template Updated 8-31-2022.pdf            192588      8/31/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-24__691375_DRB Check Booking
31\check_images\49035                             Template Updated 9-28-2022.pdf            154172      9/28/2022 19:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-24__706607_DRB Check Booking
31\check_images\49035                             Template Updated 11-02-2022.pdf           190649      11/2/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-24__721208_DRB Check Booking
31\check_images\49035                             Template Updated 12-7-2022.pdf            190554      12/7/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-24__728821_DRB Check Booking
31\check_images\49035                             Template Updated 12-28-2022.pdf           148321     12/28/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-24__745500_DRB Check Booking
31\check_images\49035                             Template Updated 2-1-2023.pdf             182292       2/1/2023 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-24__758239_DRB Check Booking
31\check_images\49035                             Template Updated 3-1-2023.pdf             195871       3/1/2023 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-24__770535_DRB Check Booking
31\check_images\49035                             Template Updated 3-29-2023.pdf            144392      3/29/2023 14:30



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-24__786600_DRB Check Booking
31\check_images\49035                             Template Updated 5-03-2023.pdf            186899       5/3/2023 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-24__797829_DRB Check Booking
31\check_images\49035                             Template Updated 5-31-2023.pdf            153983      5/31/2023 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-24__814275_DRB Check Booking
31\check_images\49035                             Template Updated 7-5-2023.pdf             230892       7/5/2023 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-24__827217_DRB Check Booking
31\check_images\49035                             Template Updated 8-2-2023.pdf             207599       8/2/2023 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-24__838438_DRB Check Booking
31\check_images\49035                             Template Updated 8-30-2023.pdf            145984      8/30/2023 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-24__854054_DRB Check Booking
31\check_images\49035                             Template Updated 10-04-2023.pdf           202783      10/4/2023 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-24__866144_DRB Check Booking
31\check_images\49035                             Template Updated 11-01-2023.pdf           154320      11/1/2023 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-24__877990_DRB Check Booking
31\check_images\49035                             Template Updated 11-29-2023.pdf           142089     11/29/2023 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-24__892389_DRB Check Booking
31\check_images\49035                             Template Updated 1-03-2024.pdf            171669       1/3/2024 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-24__921392_DRB Check Booking
31\check_images\49035                             Template Updated 3-06-2024.pdf            210889       3/6/2024 13:55



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-24__933774_DRB Check Booking
31\check_images\49035                             Template Updated 4-03-2024.pdf            204241       4/3/2024 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-24__945875_DRB Check Booking
31\check_images\49035                             Template Updated 5-01-2024.pdf            196497       5/1/2024 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-24__960374_DRB Check Booking
31\check_images\49035                             Template Updated 6-05-2024.pdf            184494       6/5/2024 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-16__427743_DRB Check Booking
31\check_images\49036                             Template Updated 01-27-2021.pdf           110373      1/27/2021 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-16__442938_DRB Check Booking
31\check_images\49036                             Template Updated 03-03-2021.pdf           127737       3/3/2021 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-16__450259_DRB Check Booking
31\check_images\49036                             Template Updated 03-24-2021.pdf           128070      3/24/2021 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-16__463863_DRB Check Booking
31\check_images\49036                             Template Updated 04-28-2021.pdf           114162      4/28/2021 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-16__475211_DRB Check Booking
31\check_images\49036                             Template Updated 05-27-2021.pdf           113953       5/27/2021 1:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-16__485233_DRB Check Booking
31\check_images\49036                             Template Updated 06-23-2021.pdf           116332      6/23/2021 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-16__499620_DRB Check Booking
31\check_images\49036                             Template Updated 07-28-2021.pdf           123180      7/28/2021 16:22



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-16__513262_DRB Check Booking
31\check_images\49036                             Template Updated 08-25-2021.pdf           160923      8/25/2021 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-16__526588_DRB Check Booking
31\check_images\49036                             Template Updated 09-22-2021.pdf           192565      9/22/2021 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-16__540720_DRB Check Booking
31\check_images\49036                             Template Updated 10-27-2021.pdf           154603     10/27/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-16__552981_DRB Check Booking
31\check_images\49036                             Template Updated 11-24-2021.pdf           160479     11/24/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-16__564602_DRB Check Booking
31\check_images\49036                             Template Updated 12-22-2021.pdf           190296     12/22/2021 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-16__579640_DRB Check Booking
31\check_images\49036                             Template Updated 01-26-2022.pdf           163842      1/26/2022 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-16__589781_DRB Check Booking
31\check_images\49036                             Template Updated 02-23-2022.pdf           170725      2/23/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-16__604768_DRB Check Booking
31\check_images\49036                             Template Updated 03-23-2022.pdf           174089      3/23/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-16__622990_DRB Check Booking
31\check_images\49036                             Template Updated 04-27-2022.pdf           164287      4/27/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-16__635028_DRB Check Booking
31\check_images\49036                             Template Updated 5-25-2022.pdf            157181      5/25/2022 13:42



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-16__647566_DRB Check Booking
31\check_images\49036                             Template Updated 6-22-2022.pdf            188411      6/22/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-16__662908_DRB Check Booking
31\check_images\49036                             Template Updated 7-27-2022.pdf            149687      7/27/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-16__674667_DRB Check Booking
31\check_images\49036                             Template Updated 8-24-2022.pdf            156062      8/24/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-16__691328_DRB Check Booking
31\check_images\49036                             Template Updated 9-28-2022.pdf            154172      9/28/2022 19:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-16__702207_DRB Check Booking
31\check_images\49036                             Template Updated 10-26-2022.pdf           157049     10/26/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-16__715444_DRB Check Booking
31\check_images\49036                             Template Updated 11-28-2022.pdf           201812     11/28/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-16__726886_DRB Check Booking
31\check_images\49036                             Template Updated 12-21-2022.pdf           205972     12/21/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-16__741298_DRB Check Booking
31\check_images\49036                             Template Updated 1-25-2023.pdf            174622      1/25/2023 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-16__754040_DRB Check Booking
31\check_images\49036                             Template Updated 2-22-2023.pdf            188121      2/22/2023 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-16__766786_DRB Check Booking
31\check_images\49036                             Template Updated 3-22-2023.pdf            171363      3/22/2023 14:16



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-16__782642_DRB Check Booking
31\check_images\49036                             Template Updated 4-26-2023.pdf            169218      4/26/2023 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-16__794594_DRB Check Booking
31\check_images\49036                             Template Updated 5-24-2023.pdf            181428      5/24/2023 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-16__807289_DRB Check Booking
31\check_images\49036                             Template Updated 6-21-2023.pdf            187448      6/21/2023 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-16__822097_DRB Check Booking
31\check_images\49036                             Template Updated 7-26-2023.pdf            145522      7/26/2023 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-16__834864_DRB Check Booking
31\check_images\49036                             Template Updated 8-23-2023.pdf            170224      8/23/2023 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-16__850020_DRB Check Booking
31\check_images\49036                             Template Updated 9-27-2023.pdf            153410      9/27/2023 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-16__861683_DRB Check Booking
31\check_images\49036                             Template Updated 10-25-2023.pdf           201473     10/25/2023 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-16__874604_DRB Check Booking
31\check_images\49036                             Template Updated 11-22-2023.pdf           145529     11/22/2023 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-16__889279_DRB Check Booking
31\check_images\49036                             Template Updated 12-27-2023.pdf           153014     12/27/2023 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-16__901377_DRB Check Booking
31\check_images\49036                             Template Updated 1-24-2024.pdf            152789      1/24/2024 10:48



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               All Paths/Locations                                Unified Title              File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-16__917471_DRB Check Booking
31\check_images\49036                             Template Updated 2-28-2024.pdf                156962       2/28/2024 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-16__929083_DRB Check Booking
31\check_images\49036                             Template Updated 3-27-2024.pdf                165350       3/27/2024 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-16__941114_DRB Check Booking
31\check_images\49036                             Template Updated 4-24-2024.pdf                162996       4/24/2024 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-16__953930_DRB Check Booking
31\check_images\49036                             Template Updated 5-22-2024.pdf                175513       5/22/2024 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\52904                             2023-10-20__891150_BOI 1-2-2024.pdf              8837       1/2/2024 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\52933                             2021-10-20__578790_Doubles 1.25.2022.pdf       90731       1/25/2022 20:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\52933                             2022-10-20__952193_BOI 5-2-2024.pdf            48067       5/16/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                             2022-10-12__716434_Vida 11-29-2022.pdf         95226      11/29/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                             2022-11-12__732683_Vida 1-5-2023.pdf          105180        1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                             2022-12-12__741414_Vida 1-25-2023.pdf          85854       1/25/2023 15:23



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                             2023-01-12__767343_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                             2023-02-12__780148_Vida 4-21-2023.pdf         94535      4/21/2023 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                             2023-03-12__822723_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                             2023-04-12__805354_Vida 6-15-2023.pdf         77678      6/15/2023 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                             2023-05-12__823042_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                             2023-06-12__836469_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                             2023-07-12__850490_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                             2023-08-12__872585_Vida 11-16-2023.pdf        72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                             2023-09-12__886793_Vida 12-19-2023.pdf       104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                             2023-10-12__897347_Vida 1-16-2024.pdf         72527       1/16/2024 9:19



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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                             2023-11-12__913599_Vida 2-21-2024.pdf          70776       2/21/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                             2023-12-12__924787_Vida 3-15-2024.pdf          61110      3/15/2024 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                             2024-01-12__938505_Vida 4-16-2024.pdf          56528      4/16/2024 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                             2024-02-12__956143_Vida 5-29-2024.pdf          64069       5/29/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                             2024-03-12__963027_Vida 6-13-2024.pdf          74462      6/13/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-05__434916_Vida January to be
31\check_images\56629                             Booked.pdf                                     48047       2/15/2021 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2021-02-05__437939_Vida Feb Payments.pdf      134014      2/22/2021 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-05__454920_VidaPayments 4-1-
31\check_images\56629                             2021.pdf                                       85998       4/1/2021 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2021-04-05__474799_Vida 5-26-2021.pdf         150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2021-05-05__475031_Vida 5-26-2021.pdf         150188      5/26/2021 13:11



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               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2021-06-05__487183_vida checks 6.28.2021.pdf       87662      6/28/2021 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2021-07-05__499442_Vida 7.28.2021.pdf              96576      7/28/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-08-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 05__515473_Payment_Report_8_30_2021.xls.pd
31\check_images\56629                             f                                                 103499      8/30/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2021-09-05__531311_vidas 9-30-2021.pdf             91617      9/30/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2021-10-05__540264_Vida 10-27-2021.pdf             94412     10/27/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2021-11-05__554783_vida - 11.29.2021.pdf           78515     11/29/2021 22:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2021-12-05__563530_Vida 12-20-2021.pdf             89997     12/20/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2022-01-05__579314_Vida 1.26.2022.pdf             109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2022-02-05__589403_Vida 2-23-2022.pdf              88611      2/23/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2022-03-05__608002_Vida 3-29-2022.pdf             100935      3/29/2022 11:35



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2022-04-05__647841_Vida 6-23-2022.pdf        141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2022-05-05__648117_Vida 6-23-2022.pdf        141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2022-06-05__661461_Vida 7-25-2022.pdf         99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2022-07-05__676605_Vida 8-29-2022.pdf        126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2022-08-05__676997_Vida 8-29-2022.pdf        126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2022-09-05__703507_Vida 10-28-2022.pdf        71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2022-10-05__716753_Vida 11-29-2022.pdf        95226     11/29/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2022-11-05__733057_Vida 1-5-2023.pdf         105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2022-12-05__741502_Vida 1-25-2023.pdf         85854      1/25/2023 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2023-01-05__767493_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2023-02-05__780252_Vida 4-21-2023.pdf         94535      4/21/2023 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2023-03-05__791234_Vida 5-15-2023.pdf         90684      5/15/2023 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2023-04-05__805348_Vida 6-15-2023.pdf         77678      6/15/2023 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2023-05-05__823036_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2023-06-05__836426_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2023-07-05__850448_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2023-08-05__865608_Vida 10-31-2023.pdf        77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2023-09-05__886730_Vida 12-19-2023.pdf       104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2023-10-05__897253_Vida 1-16-2024.pdf         72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2023-11-05__913485_Vida 2-21-2024.pdf         70776       2/21/2024 8:54



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               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2023-12-05__924743_Vida 3-15-2024.pdf              61110      3/15/2024 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2024-01-05__938422_Vida 4-16-2024.pdf              56528      4/16/2024 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2024-02-05__956052_Vida 5-29-2024.pdf              64069       5/29/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56629                             2024-03-05__962982_Vida 6-13-2024.pdf              74462      6/13/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-01__434921_Vida January to be
31\check_images\56641                             Booked.pdf                                         48047       2/15/2021 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2021-02-01__437634_Vida Feb Payments.pdf          134014      2/22/2021 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-01__454816_VidaPayments 4-1-
31\check_images\56641                             2021.pdf                                           85998       4/1/2021 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2021-04-01__474687_Vida 5-26-2021.pdf             150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2021-05-01__474947_Vida 5-26-2021.pdf             150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2021-06-01__486918_vida checks 6.28.2021.pdf       87662      6/28/2021 12:51



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                                       3467



               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2021-07-01__499347_Vida 7.28.2021.pdf            96576      7/28/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-08-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 01__515399_Payment_Report_8_30_2021.xls.pd
31\check_images\56641                             f                                               103499      8/30/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2021-09-01__531149_vidas 9-30-2021.pdf           91617      9/30/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2021-10-01__540104_Vida 10-27-2021.pdf           94412     10/27/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2021-11-01__541225_Vida p2 10-28-2021.pdf        66982     10/28/2021 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2021-12-01__563456_Vida 12-20-2021.pdf           89997     12/20/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2022-01-01__579222_Vida 1.26.2022.pdf           109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2022-02-01__589324_Vida 2-23-2022.pdf            88611      2/23/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2022-03-01__607858_Vida 3-29-2022.pdf           100935      3/29/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2022-04-01__620221_Vida 4-21-2022.pdf            86859      4/21/2022 12:33



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2022-05-01__648032_Vida 6-23-2022.pdf        141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2022-06-01__661404_Vida 7-25-2022.pdf         99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2022-07-01__676396_Vida 8-29-2022.pdf        126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2022-08-01__676875_Vida 8-29-2022.pdf        126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2022-09-01__690905_Vida 9-28-2022.pdf         71423      9/28/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2022-10-01__703619_Vida 10-28-2022.pdf        71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2022-11-01__732942_Vida 1-5-2023.pdf         105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2022-12-01__741446_Vida 1-25-2023.pdf         85854      1/25/2023 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2023-01-01__767437_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2023-02-01__780196_Vida 4-21-2023.pdf         94535      4/21/2023 16:11



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2023-03-01__791217_Vida 5-15-2023.pdf         90684      5/15/2023 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2023-04-01__798265_Vida 5-31-2023.pdf         94469      5/31/2023 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2023-05-01__823019_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2023-06-01__836231_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2023-07-01__850346_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2023-08-01__865418_Vida 10-31-2023.pdf        77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2023-09-01__886674_Vida 12-19-2023.pdf       104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2023-10-01__887161_Vida 12-19-2023.pdf       104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2023-11-01__897749_Vida 1-16-2024.pdf         72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2023-12-01__913911_Vida 2-21-2024.pdf         70776       2/21/2024 8:54



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2024-01-01__932379_Vida - 4-2-2024.pdf           72367       4/2/2024 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2024-02-01__948400_Vida 5-7-2024.pdf             93508        5/8/2024 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56641                             2024-03-01__962881_Vida 6-13-2024.pdf            74462      6/13/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2021-01-27__432943_Vida 12.21.20.pdf            137422       2/9/2021 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2021-02-27__437778_Vida Feb.pdf                  63175      2/22/2021 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-27__454762_VidaPayments 4-1-
31\check_images\56642                             2021.pdf                                         85998       4/1/2021 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2021-04-27__474457_Vida 5-26-2021.pdf           150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2021-05-27__475165_Vida 5-26-2021.pdf           150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2021-06-27__499223_Vida 7.28.2021.pdf            96576      7/28/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-07-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 27__515371_Payment_Report_8_30_2021.xls.pd
31\check_images\56642                             f                                               103499      8/30/2021 18:37



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2021-08-27__531058_vidas 9-30-2021.pdf          91617      9/30/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2021-09-27__540043_Vida 10-27-2021.pdf          94412     10/27/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2021-10-27__541120_Vida p2 10-28-2021.pdf       66982     10/28/2021 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2021-11-27__563421_Vida 12-20-2021.pdf          89997     12/20/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2021-12-27__579177_Vida 1.26.2022.pdf          109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2022-01-27__589292_Vida 2-23-2022.pdf           88611      2/23/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2022-02-27__607760_Vida 3-29-2022.pdf          100935      3/29/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2022-03-27__620160_Vida 4-21-2022.pdf           86859      4/21/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2022-04-27__647993_Vida 6-23-2022.pdf          141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2022-05-27__648268_Vida 6-23-2022.pdf          141689      6/23/2022 13:29



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2022-06-27__661584_Vida 7-25-2022.pdf         99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2022-07-27__676818_Vida 8-29-2022.pdf        126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2022-08-27__690832_Vida 9-28-2022.pdf         71423      9/28/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2022-09-27__703599_Vida 10-28-2022.pdf        71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2022-10-27__732847_Vida 1-5-2023.pdf         105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2022-11-27__741421_Vida 1-25-2023.pdf         85854      1/25/2023 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2022-12-27__753202_Vida 2.21.2023.pdf         75171      2/21/2023 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2023-01-27__767594_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2023-02-27__791213_Vida 5-15-2023.pdf         90684      5/15/2023 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2023-03-27__798248_Vida 5-31-2023.pdf         94469      5/31/2023 17:18



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2023-04-27__823015_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2023-05-27__836036_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2023-06-27__850298_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2023-07-27__865205_Vida 10-31-2023.pdf        77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2023-08-27__872725_Vida 11-16-2023.pdf        72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2023-09-27__886931_Vida 12-19-2023.pdf       104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2023-10-27__897633_Vida 1-16-2024.pdf         72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2023-11-27__913840_Vida 2-21-2024.pdf         70776       2/21/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2023-12-27__932307_Vida - 4-2-2024.pdf        72367       4/2/2024 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2024-01-27__948314_Vida 5-7-2024.pdf          93508        5/8/2024 9:58



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               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56642                             2024-02-27__962809_Vida 6-13-2024.pdf              74462      6/13/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-01__434950_Vida January to be
31\check_images\56770                             Booked.pdf                                         48047       2/15/2021 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2021-02-01__437707_Vida Feb Payments.pdf          134014      2/22/2021 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-01__454842_VidaPayments 4-1-
31\check_images\56770                             2021.pdf                                           85998       4/1/2021 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2021-04-01__474715_Vida 5-26-2021.pdf             150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2021-05-01__474962_Vida 5-26-2021.pdf             150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2021-06-01__487011_vida checks 6.28.2021.pdf       87662      6/28/2021 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2021-07-01__499362_Vida 7.28.2021.pdf              96576      7/28/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-08-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 01__515680_Payment_Report_8_30_2021.xls.pd
31\check_images\56770                             f                                                 103499      8/30/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2021-09-01__531188_vidas 9-30-2021.pdf             91617      9/30/2021 11:56



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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2021-10-01__540132_Vida 10-27-2021.pdf         94412     10/27/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2021-11-01__554711_vida - 11.29.2021.pdf       78515     11/29/2021 22:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2021-12-01__563471_Vida 12-20-2021.pdf         89997     12/20/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2022-01-01__579240_Vida 1.26.2022.pdf         109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2022-02-01__589338_Vida 2-23-2022.pdf          88611      2/23/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2022-03-01__607890_Vida 3-29-2022.pdf         100935      3/29/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2022-04-01__620241_Vida 4-21-2022.pdf          86859      4/21/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2022-05-01__648045_Vida 6-23-2022.pdf         141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2022-06-01__661429_Vida 7-25-2022.pdf          99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2022-07-01__676424_Vida 8-29-2022.pdf         126327      8/29/2022 12:30



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2022-08-01__676904_Vida 8-29-2022.pdf        126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2022-09-01__690936_Vida 9-28-2022.pdf         71423      9/28/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2022-10-01__703620_Vida 10-28-2022.pdf        71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2022-11-01__732957_Vida 1-5-2023.pdf         105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2022-12-01__741454_Vida 1-25-2023.pdf         85854      1/25/2023 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2023-01-01__767445_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2023-02-01__780204_Vida 4-21-2023.pdf         94535      4/21/2023 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2023-03-01__791219_Vida 5-15-2023.pdf         90684      5/15/2023 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2023-04-01__798272_Vida 5-31-2023.pdf         94469      5/31/2023 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2023-05-01__823021_Vida 7-27-2023.pdf        138197      7/27/2023 18:07



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2023-06-01__836273_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2023-07-01__850361_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2023-08-01__865466_Vida 10-31-2023.pdf        77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2023-09-01__886676_Vida 12-19-2023.pdf       104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2023-10-01__887165_Vida 12-19-2023.pdf       104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2023-11-01__897784_Vida 1-16-2024.pdf         72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2023-12-01__924619_Vida 3-15-2024.pdf         61110      3/15/2024 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2024-01-01__932400_Vida - 4-2-2024.pdf        72367       4/2/2024 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2024-02-01__948419_Vida 5-7-2024.pdf          93508        5/8/2024 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56770                             2024-03-01__962896_Vida 6-13-2024.pdf         74462      6/13/2024 16:21



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-30__435051_Vida January to be
31\check_images\56846                             Booked.pdf                                       48047       2/15/2021 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2021-02-28__437636_Vida Feb.pdf                  63175      2/22/2021 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-30__454771_VidaPayments 4-1-
31\check_images\56846                             2021.pdf                                         85998       4/1/2021 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2021-04-30__474462_Vida 5-26-2021.pdf           150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2021-05-30__475182_Vida 5-26-2021.pdf           150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2021-06-30__499229_Vida 7.28.2021.pdf            96576      7/28/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-07-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 30__515385_Payment_Report_8_30_2021.xls.pd
31\check_images\56846                             f                                               103499      8/30/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2021-08-30__531097_vidas 9-30-2021.pdf           91617      9/30/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2021-09-30__540067_Vida 10-27-2021.pdf           94412     10/27/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2021-10-30__541152_Vida p2 10-28-2021.pdf        66982     10/28/2021 12:37



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2021-11-30__563435_Vida 12-20-2021.pdf       89997     12/20/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2021-12-30__579197_Vida 1.26.2022.pdf       109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2022-01-30__589306_Vida 2-23-2022.pdf        88611      2/23/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2022-02-28__607789_Vida 3-29-2022.pdf       100935      3/29/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2022-03-30__620191_Vida 4-21-2022.pdf        86859      4/21/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2022-04-30__648010_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2022-05-30__648285_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2022-06-30__661594_Vida 7-25-2022.pdf        99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2022-07-30__676842_Vida 8-29-2022.pdf       126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2022-08-30__690856_Vida 9-28-2022.pdf        71423      9/28/2022 11:53



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2022-09-30__703612_Vida 10-28-2022.pdf        71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2022-10-30__732888_Vida 1-5-2023.pdf         105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2022-11-30__741434_Vida 1-25-2023.pdf         85854      1/25/2023 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2022-12-30__753232_Vida 2.21.2023.pdf         75171      2/21/2023 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2023-01-30__767593_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2023-02-28__791214_Vida 5-15-2023.pdf         90684      5/15/2023 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2023-03-30__798250_Vida 5-31-2023.pdf         94469      5/31/2023 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2023-04-30__823016_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2023-05-30__836134_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2023-06-30__850319_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08



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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2023-07-30__865308_Vida 10-31-2023.pdf         77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2023-08-30__872748_Vida 11-16-2023.pdf         72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2023-09-30__886977_Vida 12-19-2023.pdf        104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2023-10-30__897679_Vida 1-16-2024.pdf          72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2023-11-30__913879_Vida 2-21-2024.pdf          70776       2/21/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2023-12-30__932335_Vida - 4-2-2024.pdf         72367       4/2/2024 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2024-01-30__948354_Vida 5-7-2024.pdf           93508        5/8/2024 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56846                             2024-02-29__962837_Vida 6-13-2024.pdf          74462      6/13/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-09__435127_Vida January to be
31\check_images\56905                             Booked.pdf                                     48047       2/15/2021 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2021-02-09__437956_Vida Feb Payments.pdf      134014      2/22/2021 15:24



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               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-09__454938_VidaPayments 4-1-
31\check_images\56905                             2021.pdf                                           85998       4/1/2021 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2021-04-09__474814_Vida 5-26-2021.pdf             150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2021-05-09__475044_Vida 5-26-2021.pdf             150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2021-06-09__487213_vida checks 6.28.2021.pdf       87662      6/28/2021 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2021-07-09__499462_Vida 7.28.2021.pdf              96576      7/28/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-08-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 09__515745_Payment_Report_8_30_2021.xls.pd
31\check_images\56905                             f                                                 103499      8/30/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2021-09-09__531342_vidas 9-30-2021.pdf             91617      9/30/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2021-10-09__540291_Vida 10-27-2021.pdf             94412     10/27/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2021-11-09__554799_vida - 11.29.2021.pdf           78515     11/29/2021 22:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2021-12-09__563542_Vida 12-20-2021.pdf             89997     12/20/2021 13:01



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2022-01-09__579333_Vida 1.26.2022.pdf       109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2022-02-09__589419_Vida 2-23-2022.pdf        88611      2/23/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2022-03-09__608026_Vida 3-29-2022.pdf       100935      3/29/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2022-04-09__647856_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2022-05-09__648131_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2022-06-09__661482_Vida 7-25-2022.pdf        99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2022-07-09__676657_Vida 8-29-2022.pdf       126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2022-08-09__690650_Vida 9-28-2022.pdf        71423      9/28/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2022-09-09__703519_Vida 10-28-2022.pdf       71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2022-10-09__716763_Vida 11-29-2022.pdf       95226     11/29/2022 11:25



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2022-11-09__733074_Vida 1-5-2023.pdf         105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2022-12-09__741510_Vida 1-25-2023.pdf         85854      1/25/2023 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2023-01-09__767501_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2023-02-09__780260_Vida 4-21-2023.pdf         94535      4/21/2023 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2023-03-09__791236_Vida 5-15-2023.pdf         90684      5/15/2023 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2023-04-09__805350_Vida 6-15-2023.pdf         77678      6/15/2023 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2023-05-09__823038_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2023-06-09__836451_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2023-07-09__850471_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2023-08-09__872569_Vida 11-16-2023.pdf        72124     11/16/2023 16:51



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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2023-09-09__886773_Vida 12-19-2023.pdf        104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2023-10-09__897293_Vida 1-16-2024.pdf          72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2023-11-09__913548_Vida 2-21-2024.pdf          70776       2/21/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2023-12-09__924767_Vida 3-15-2024.pdf          61110      3/15/2024 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2024-01-09__938475_Vida 4-16-2024.pdf          56528      4/16/2024 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2024-02-09__956095_Vida 5-29-2024.pdf          64069       5/29/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56905                             2024-03-09__963006_Vida 6-13-2024.pdf          74462      6/13/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2021-01-15__433005_Vida 12.21.20.pdf          137507       2/9/2021 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2021-02-15__438325_Vida Feb Payments.pdf      134014      2/22/2021 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-15__454684_VidaPayments 4-1-
31\check_images\57159                             2021.pdf                                       85998       4/1/2021 10:34



                                                              830
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               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2021-04-15__474425_Vida 5-26-2021.pdf             150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2021-05-15__475098_Vida 5-26-2021.pdf             150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2021-06-15__486744_vida checks 6.28.2021.pdf       87662      6/28/2021 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2021-07-15__499281_Vida 7.28.2021.pdf              96576      7/28/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-08-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 15__515531_Payment_Report_8_30_2021.xls.pd
31\check_images\57159                             f                                                 103499      8/30/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2021-09-15__531412_vidas 9-30-2021.pdf             91617      9/30/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2021-10-15__540386_Vida 10-27-2021.pdf             94412     10/27/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2021-11-15__554843_vida - 11.29.2021.pdf           78515     11/29/2021 22:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2021-12-15__579106_Vida 1.26.2022.pdf             109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2022-01-15__579392_Vida 1.26.2022.pdf             109457      1/26/2022 11:13



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2022-02-15__607595_Vida 3-29-2022.pdf       100935      3/29/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2022-03-15__620085_Vida 4-21-2022.pdf        86859      4/21/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2022-04-15__647916_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2022-05-15__648191_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2022-06-15__661542_Vida 7-25-2022.pdf        99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2022-07-15__676743_Vida 8-29-2022.pdf       126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2022-08-15__690737_Vida 9-28-2022.pdf        71423      9/28/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2022-09-15__703558_Vida 10-28-2022.pdf       71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2022-10-15__716824_Vida 11-29-2022.pdf       95226     11/29/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2022-11-15__733184_Vida 1-5-2023.pdf        105180       1/5/2023 12:52



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2022-12-15__753096_Vida 2.21.2023.pdf         75171      2/21/2023 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2023-01-15__767540_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2023-02-15__780299_Vida 4-21-2023.pdf         94535      4/21/2023 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2023-03-15__798215_Vida 5-31-2023.pdf         94469      5/31/2023 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2023-04-15__823002_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2023-05-15__823063_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2023-06-15__850220_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2023-07-15__864921_Vida 10-31-2023.pdf        77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2023-08-15__872651_Vida 11-16-2023.pdf        72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2023-09-15__886845_Vida 12-19-2023.pdf       104880     12/19/2023 13:01



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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2023-10-15__897453_Vida 1-16-2024.pdf          72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2023-11-15__913681_Vida 2-21-2024.pdf          70776       2/21/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2023-12-15__932214_Vida - 4-2-2024.pdf         72367       4/2/2024 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2024-01-15__948162_Vida 5-7-2024.pdf           93508        5/8/2024 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\57159                             2024-02-15__956231_Vida 5-29-2024.pdf          64069       5/29/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\5981                              2022-04-23__620519_2265_36_13.pdf              67868      4/22/2022 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-10__435256_Vida January to be
31\check_images\64208                             Booked.pdf                                     48047       2/15/2021 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2021-02-10__438251_Vida Feb Payments.pdf      134014      2/22/2021 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-10__454952_VidaPayments 4-1-
31\check_images\64208                             2021.pdf                                       85998       4/1/2021 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2021-04-10__474824_Vida 5-26-2021.pdf         150188      5/26/2021 13:11



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               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2021-05-10__475055_Vida 5-26-2021.pdf             150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2021-06-10__487242_vida checks 6.28.2021.pdf       87662      6/28/2021 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2021-07-10__499474_Vida 7.28.2021.pdf              96576      7/28/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-08-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 10__515754_Payment_Report_8_30_2021.xls.pd
31\check_images\64208                             f                                                 103499      8/30/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2021-09-10__531359_vidas 9-30-2021.pdf             91617      9/30/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2021-10-10__540314_Vida 10-27-2021.pdf             94412     10/27/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2021-11-10__554810_vida - 11.29.2021.pdf           78515     11/29/2021 22:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2021-12-10__563551_Vida 12-20-2021.pdf             89997     12/20/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2022-01-10__579342_Vida 1.26.2022.pdf             109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2022-02-10__589433_Vida 2-23-2022.pdf              88611      2/23/2022 11:36



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2022-03-10__608047_Vida 3-29-2022.pdf       100935      3/29/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2022-04-10__647870_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2022-05-10__648145_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2022-06-10__661488_Vida 7-25-2022.pdf        99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2022-07-10__676688_Vida 8-29-2022.pdf       126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2022-08-10__690676_Vida 9-28-2022.pdf        71423      9/28/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2022-09-10__703528_Vida 10-28-2022.pdf       71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2022-10-10__716775_Vida 11-29-2022.pdf       95226     11/29/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2022-11-10__733089_Vida 1-5-2023.pdf        105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2022-12-10__741519_Vida 1-25-2023.pdf        85854      1/25/2023 15:23



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2023-01-10__767510_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2023-02-10__780269_Vida 4-21-2023.pdf         94535      4/21/2023 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2023-03-10__791237_Vida 5-15-2023.pdf         90684      5/15/2023 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2023-04-10__805351_Vida 6-15-2023.pdf         77678      6/15/2023 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2023-05-10__823039_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2023-06-10__836463_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2023-07-10__850485_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2023-08-10__872577_Vida 11-16-2023.pdf        72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2023-09-10__886788_Vida 12-19-2023.pdf       104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2023-10-10__897337_Vida 1-16-2024.pdf         72527       1/16/2024 9:19



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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2023-11-10__913586_Vida 2-21-2024.pdf          70776       2/21/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2023-12-10__924782_Vida 3-15-2024.pdf          61110      3/15/2024 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2024-01-10__938498_Vida 4-16-2024.pdf          56528      4/16/2024 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2024-02-10__956132_Vida 5-29-2024.pdf          64069       5/29/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64208                             2024-03-10__963021_Vida 6-13-2024.pdf          74462      6/13/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-01__435221_Vida January to be
31\check_images\64272                             Booked.pdf                                     48047       2/15/2021 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2021-02-01__437888_Vida Feb Payments.pdf      134014      2/22/2021 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-01__454886_VidaPayments 4-1-
31\check_images\64272                             2021.pdf                                       85998       4/1/2021 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2021-04-01__474774_Vida 5-26-2021.pdf         150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2021-05-01__475002_Vida 5-26-2021.pdf         150188      5/26/2021 13:11



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               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2021-06-01__487123_vida checks 6.28.2021.pdf       87662      6/28/2021 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2021-07-01__499402_Vida 7.28.2021.pdf              96576      7/28/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-08-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 01__515717_Payment_Report_8_30_2021.xls.pd
31\check_images\64272                             f                                                 103499      8/30/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2021-09-01__531272_vidas 9-30-2021.pdf             91617      9/30/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2021-10-01__540201_Vida 10-27-2021.pdf             94412     10/27/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2021-11-01__554761_vida - 11.29.2021.pdf           78515     11/29/2021 22:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2021-12-01__563510_Vida 12-20-2021.pdf             89997     12/20/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2022-01-01__579288_Vida 1.26.2022.pdf             109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2022-02-01__589377_Vida 2-23-2022.pdf              88611      2/23/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2022-03-01__607954_Vida 3-29-2022.pdf             100935      3/29/2022 11:35



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2022-04-01__647803_Vida 6-23-2022.pdf        141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2022-05-01__648084_Vida 6-23-2022.pdf        141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2022-06-01__661437_Vida 7-25-2022.pdf         99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2022-07-01__676534_Vida 8-29-2022.pdf        126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2022-08-01__676965_Vida 8-29-2022.pdf        126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2022-09-01__703488_Vida 10-28-2022.pdf        71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2022-10-01__703621_Vida 10-28-2022.pdf        71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2022-11-01__733012_Vida 1-5-2023.pdf         105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2022-12-01__741483_Vida 1-25-2023.pdf         85854      1/25/2023 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2023-01-01__767474_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2023-02-01__780233_Vida 4-21-2023.pdf         94535      4/21/2023 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2023-03-01__791229_Vida 5-15-2023.pdf         90684      5/15/2023 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2023-04-01__805343_Vida 6-15-2023.pdf         77678      6/15/2023 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2023-05-01__823031_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2023-06-01__836386_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2023-07-01__850411_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2023-08-01__865563_Vida 10-31-2023.pdf        77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2023-09-01__886694_Vida 12-19-2023.pdf       104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2023-10-01__897204_Vida 1-16-2024.pdf         72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2023-11-01__902781_Vida 1-29-2024.pdf         49667      1/29/2024 13:36



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2023-12-01__924685_Vida 3-15-2024.pdf        61110      3/15/2024 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2024-01-01__932449_Vida - 4-2-2024.pdf       72367       4/2/2024 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2024-02-01__948482_Vida 5-7-2024.pdf         93508        5/8/2024 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64272                             2024-03-01__962943_Vida 6-13-2024.pdf        74462      6/13/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-23__435107_Vida January to be
31\check_images\64331                             Booked.pdf                                   48047       2/15/2021 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2021-02-23__437867_Vida Feb.pdf              63175      2/22/2021 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-23__455058_VidaPayments 4-1-
31\check_images\64331                             2021.pdf                                     85998       4/1/2021 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2021-04-23__474909_Vida 5-26-2021.pdf       150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2021-05-23__475144_Vida 5-26-2021.pdf       150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2021-06-23__499305_Vida 7.28.2021.pdf        96576      7/28/2021 11:26



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-07-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 23__515604_Payment_Report_8_30_2021.xls.pd
31\check_images\64331                             f                                               103499      8/30/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2021-08-23__531025_vidas 9-30-2021.pdf           91617      9/30/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2021-09-23__540028_Vida 10-27-2021.pdf           94412     10/27/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2021-10-23__541083_Vida p2 10-28-2021.pdf        66982     10/28/2021 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2021-11-23__563410_Vida 12-20-2021.pdf           89997     12/20/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2021-12-23__579160_Vida 1.26.2022.pdf           109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2022-01-23__589273_Vida 2-23-2022.pdf            88611      2/23/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2022-02-23__607690_Vida 3-29-2022.pdf           100935      3/29/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2022-03-23__620140_Vida 4-21-2022.pdf            86859      4/21/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2022-04-23__647971_Vida 6-23-2022.pdf           141689      6/23/2022 13:29



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2022-05-23__648245_Vida 6-23-2022.pdf        141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2022-06-23__661571_Vida 7-25-2022.pdf         99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2022-07-23__676796_Vida 8-29-2022.pdf        126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2022-08-23__690809_Vida 9-28-2022.pdf         71423      9/28/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2022-09-23__703589_Vida 10-28-2022.pdf        71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2022-10-23__716859_Vida 11-29-2022.pdf        95226     11/29/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2022-11-23__733242_Vida 1-5-2023.pdf         105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2022-12-23__753178_Vida 2.21.2023.pdf         75171      2/21/2023 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2023-01-23__767571_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2023-02-23__791211_Vida 5-15-2023.pdf         90684      5/15/2023 17:58



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2023-03-23__798244_Vida 5-31-2023.pdf         94469      5/31/2023 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2023-04-23__823012_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2023-05-23__835996_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2023-06-23__850277_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2023-07-23__865130_Vida 10-31-2023.pdf        77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2023-08-23__872701_Vida 11-16-2023.pdf        72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2023-09-23__886908_Vida 12-19-2023.pdf       104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2023-10-23__897571_Vida 1-16-2024.pdf         72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2023-11-23__913802_Vida 2-21-2024.pdf         70776       2/21/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2023-12-23__932284_Vida - 4-2-2024.pdf        72367       4/2/2024 16:38



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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2024-01-23__948275_Vida 5-7-2024.pdf           93508        5/8/2024 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64331                             2024-02-23__956353_Vida 5-29-2024.pdf          64069       5/29/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2021-11-01__554644_vida - 11.29.2021.pdf       78515     11/29/2021 22:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2021-12-01__563339_Vida 12-20-2021.pdf         89997     12/20/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2022-01-01__579037_Vida 1.26.2022.pdf         109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2022-02-01__589201_Vida 2-23-2022.pdf          88611      2/23/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2022-03-01__607476_Vida 3-29-2022.pdf         100935      3/29/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2022-04-01__647745_Vida 6-23-2022.pdf         141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2022-05-01__648090_Vida 6-23-2022.pdf         141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2022-06-01__661041_Vida 7-25-2022.pdf          99843      7/25/2022 14:32



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2022-07-01__676052_Vida 8-29-2022.pdf        126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2022-08-01__676972_Vida 8-29-2022.pdf        126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2022-09-01__703291_Vida 10-28-2022.pdf        71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2022-10-01__703622_Vida 10-28-2022.pdf        71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2022-11-01__732626_Vida 1-5-2023.pdf         105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2022-12-01__741385_Vida 1-25-2023.pdf         85854      1/25/2023 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2023-01-01__767299_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2023-02-01__780106_Vida 4-21-2023.pdf         94535      4/21/2023 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2023-03-01__791131_Vida 5-15-2023.pdf         90684      5/15/2023 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2023-04-01__805253_Vida 6-15-2023.pdf         77678      6/15/2023 18:14



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2023-05-01__822916_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2023-06-01__836395_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2023-07-01__850418_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2023-08-01__865576_Vida 10-31-2023.pdf        77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2023-09-01__872828_Vida 11-16-2023.pdf        72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2023-10-01__897212_Vida 1-16-2024.pdf         72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2023-11-01__902796_Vida 1-29-2024.pdf         49667      1/29/2024 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2023-12-01__924699_Vida 3-15-2024.pdf         61110      3/15/2024 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2024-01-01__938333_Vida 4-16-2024.pdf         56528      4/16/2024 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2024-02-01__948489_Vida 5-7-2024.pdf          93508        5/8/2024 9:58



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               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                             2024-03-01__962950_Vida 6-13-2024.pdf              74462      6/13/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-01__435090_Vida January to be
31\check_images\64371                             Booked.pdf                                         48047       2/15/2021 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2021-02-01__437908_Vida Feb Payments.pdf          134014      2/22/2021 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-01__454892_VidaPayments 4-1-
31\check_images\64371                             2021.pdf                                           85998       4/1/2021 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2021-04-01__474781_Vida 5-26-2021.pdf             150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2021-05-01__475008_Vida 5-26-2021.pdf             150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2021-06-01__487138_vida checks 6.28.2021.pdf       87662      6/28/2021 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2021-07-01__499412_Vida 7.28.2021.pdf              96576      7/28/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-08-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 01__515722_Payment_Report_8_30_2021.xls.pd
31\check_images\64371                             f                                                 103499      8/30/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2021-09-01__531282_vidas 9-30-2021.pdf             91617      9/30/2021 11:56



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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2021-10-01__540408_Vida 10-27-2021.pdf         94412     10/27/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2021-11-01__554766_vida - 11.29.2021.pdf       78515     11/29/2021 22:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2021-12-01__563515_Vida 12-20-2021.pdf         89997     12/20/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2022-01-01__579295_Vida 1.26.2022.pdf         109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2022-02-01__589385_Vida 2-23-2022.pdf          88611      2/23/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2022-03-01__607965_Vida 3-29-2022.pdf         100935      3/29/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2022-04-01__647814_Vida 6-23-2022.pdf         141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2022-05-01__648092_Vida 6-23-2022.pdf         141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2022-06-01__648297_Vida 6-23-2022.pdf         141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2022-07-01__676548_Vida 8-29-2022.pdf         126327      8/29/2022 12:30



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2022-08-01__676974_Vida 8-29-2022.pdf        126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2022-09-01__703493_Vida 10-28-2022.pdf        71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2022-10-01__703623_Vida 10-28-2022.pdf        71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2022-11-01__733032_Vida 1-5-2023.pdf         105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2022-12-01__741488_Vida 1-25-2023.pdf         85854      1/25/2023 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2023-01-01__767479_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2023-02-01__780238_Vida 4-21-2023.pdf         94535      4/21/2023 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2023-03-01__791231_Vida 5-15-2023.pdf         90684      5/15/2023 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2023-04-01__805345_Vida 6-15-2023.pdf         77678      6/15/2023 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2023-05-01__823033_Vida 7-27-2023.pdf        138197      7/27/2023 18:07



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2023-06-01__836397_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2023-07-01__850420_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2023-08-01__865579_Vida 10-31-2023.pdf        77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2023-09-01__886702_Vida 12-19-2023.pdf       104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2023-10-01__897214_Vida 1-16-2024.pdf         72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2023-11-01__902801_Vida 1-29-2024.pdf         49667      1/29/2024 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2023-12-01__924702_Vida 3-15-2024.pdf         61110      3/15/2024 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2024-01-01__938336_Vida 4-16-2024.pdf         56528      4/16/2024 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2024-02-01__948491_Vida 5-7-2024.pdf          93508        5/8/2024 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64371                             2024-03-01__962952_Vida 6-13-2024.pdf         74462      6/13/2024 16:21



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2021-07-07__499262_Vida 7.28.2021.pdf            96576      7/28/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-08-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 07__515482_Payment_Report_8_30_2021.xls.pd
31\check_images\64384                             f                                               103499      8/30/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2021-09-07__531333_vidas 9-30-2021.pdf           91617      9/30/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2021-10-07__540284_Vida 10-27-2021.pdf           94412     10/27/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2021-11-07__554795_vida - 11.29.2021.pdf         78515     11/29/2021 22:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2021-12-07__563538_Vida 12-20-2021.pdf           89997     12/20/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2022-01-07__579328_Vida 1.26.2022.pdf           109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2022-02-07__589415_Vida 2-23-2022.pdf            88611      2/23/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2022-03-07__608021_Vida 3-29-2022.pdf           100935      3/29/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2022-04-07__647852_Vida 6-23-2022.pdf           141689      6/23/2022 13:29



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2022-05-07__648127_Vida 6-23-2022.pdf        141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2022-06-07__661471_Vida 7-25-2022.pdf         99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2022-07-07__676637_Vida 8-29-2022.pdf        126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2022-08-07__677010_Vida 8-29-2022.pdf        126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2022-09-07__703515_Vida 10-28-2022.pdf        71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2022-10-07__716758_Vida 11-29-2022.pdf        95226     11/29/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2022-11-07__733067_Vida 1-5-2023.pdf         105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2022-12-07__741506_Vida 1-25-2023.pdf         85854      1/25/2023 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2023-01-07__767497_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2023-02-07__780256_Vida 4-21-2023.pdf         94535      4/21/2023 16:11



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2023-03-07__791235_Vida 5-15-2023.pdf         90684      5/15/2023 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2023-04-07__805349_Vida 6-15-2023.pdf         77678      6/15/2023 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2023-05-07__823037_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2023-06-07__836444_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2023-07-07__850464_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2023-08-07__865625_Vida 10-31-2023.pdf        77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2023-09-07__886763_Vida 12-19-2023.pdf       104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2023-10-07__897276_Vida 1-16-2024.pdf         72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2023-11-07__913522_Vida 2-21-2024.pdf         70776       2/21/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2023-12-07__924759_Vida 3-15-2024.pdf         61110      3/15/2024 14:09



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                             2024-02-05__905614_item-28_2265_2_13.pdf         69581       2/1/2024 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                             2024-03-05__919278_item-36_2265_2_36.pdf         68168        3/4/2024 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                             2024-04-05__931523_item-82_2265_5_22.pdf         67868       4/1/2024 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                             2024-05-05__947166_item-92_2265_12_20.pdf        69741        5/6/2024 8:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-14__734992_CT Lottery SPLCSS II
31\check_images\70988                             01092023.pdf                                    167569       1/10/2023 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70988                             2023-02-14__750496_CT Lottery 02132023.pdf      212536       2/14/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-14__764213_Volans Collection
31\check_images\70988                             03132023.pdf                                    166671       3/14/2023 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70988                             2023-04-14__776354_CT Lottery 04062023.pdf      247028       4/10/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-14__787485_CT Lottery SPLCSS II
31\check_images\70988                             05042023.pdf                                    217991        5/5/2023 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70988                             2023-06-14__803984_CT Lottery 06122023.pdf      213086       6/13/2023 9:57



                                                             856
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 858 of
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-14__820260_CT Lottery SPLCSS II
31\check_images\70988                             07102023.pdf                                    207413       7/11/2023 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70988                             2023-08-14__832156_CT Lottery 08142023.pdf      202330      8/15/2023 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70988                             2023-09-14__855057_Gerst.pdf                     22712      10/10/2023 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-25__577432_4300022881-26-400.00
31\check_images\71181                             USD.pdf                                          83293      1/24/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-25__605161_4300023125-13-400.00
31\check_images\71181                             USD.pdf                                          83852      3/24/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-25__607708_4300023003-35-400.00
31\check_images\71181                             USD.pdf                                          85028      3/29/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-25__617918_4300023241-39-400.00
31\check_images\71181                             USD.pdf                                          82100       4/18/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-25__632689_4300023360-7-400.00
31\check_images\71181                             USD.pdf                                          87099       5/19/2022 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-25__645728_4300023474-3-400.00
31\check_images\71181                             USD.pdf                                          71804       6/17/2022 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-25__659197_4300023596-17-400.00
31\check_images\71181                             USD.pdf                                          68665      7/19/2022 11:48



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 859 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-25__672710_4300023728-22-400.00
31\check_images\71181                             USD.pdf                                        105263      8/18/2022 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-25__685994_item-43_4300023838-43-
31\check_images\71181                             400.00 USD.pdf                                 119670      9/19/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-25__699496_item-3_4300023951-3-
31\check_images\71181                             400.00 USD.pdf                                  68723     10/18/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-25__712464_item-5_4300024059-5-
31\check_images\71181                             400.00 USD.pdf                                  81497      11/17/2022 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-25__724977_item-18_4300024162-18-
31\check_images\71181                             400.00 USD.pdf                                  77544     12/16/2022 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-25__738592_item-19_4300024270-19-
31\check_images\71181                             400.00 USD.pdf                                 108766      1/17/2023 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-25__751604_item-12_4300024388-12-
31\check_images\71181                             400.00 USD.pdf                                  86871       2/16/2023 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-25__765081_item-17_4300024501-17-
31\check_images\71181                             400.00 USD.pdf                                  79560       3/17/2023 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-25__778151_item-37_4300024613-37-
31\check_images\71181                             400.00 USD.pdf                                  79549       4/17/2023 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-25__793601_item-9_4300024721-9-
31\check_images\71181                             400.00 USD.pdf                                  84097      5/22/2023 14:07



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-25__806007_item-16_4300024824-16-
31\check_images\71181                             400.00 USD.pdf                                  92099      6/20/2023 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-25__819377_item-19_4300024932-19-
31\check_images\71181                             400.00 USD.pdf                                  89340      7/18/2023 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-25__834533_item-8_4300025053-8-
31\check_images\71181                             400.00 USD.pdf                                  83711      8/22/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-25__846731_item-19_4300025153-19-
31\check_images\71181                             400.00 USD.pdf                                  86768       9/20/2023 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-25__860422_item-12_4300025257-12-
31\check_images\71181                             400.00 USD.pdf                                  85555     10/23/2023 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-25__873488_item-16_4300025362-16-
31\check_images\71181                             400.00 USD.pdf                                  68354     11/20/2023 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-25__886966_item-1_4300025459-1-
31\check_images\71181                             400.00 USD.pdf                                  73525      12/20/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-25__901080_item-3_4300025567-3-
31\check_images\71181                             400.00 USD.pdf                                  80159       1/23/2024 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-25__913216_item-2_4300025674-2-
31\check_images\71181                             400.00 USD.pdf                                  72509      2/20/2024 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-25__928731_item-34_4300025777-34-
31\check_images\71181                             400.00 USD.pdf                                  76643      3/26/2024 13:23



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-01__417571_1000111484-17-
31\check_images\7137                              750.00.pdf                                       63852     12/31/2020 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\7137                              2021-02-01__430070_1000117751-5-750.00.pdf       59323       2/2/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-01__445942_1000122733-38-
31\check_images\7137                              750.00.pdf                                       75994      3/11/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-01__451851_1000128853-19-
31\check_images\7137                              750.00.pdf                                       66705      3/29/2021 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-01__463027_1000136194-33-
31\check_images\7137                              750.00.pdf                                       69206      4/27/2021 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-01__476740_1000142334-37-
31\check_images\7137                              750.00.pdf                                       78185       6/1/2021 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-01__493231_1000147235-15-750.00
31\check_images\7137                              USD.pdf                                          84821      7/12/2021 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-01__498536_1000154530-32-750.00
31\check_images\7137                              USD.pdf                                          65267       7/27/2021 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-01__514655_1000159469-13-750.00
31\check_images\7137                              USD.pdf                                          69410      8/30/2021 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-01__527909_1000166678-15-750.00
31\check_images\7137                              USD.pdf                                          62798      9/27/2021 15:36



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-01__545512_1000171616-36-750.00
31\check_images\7137                              USD.pdf                                       67969      11/4/2021 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-01__553671_1000177615-34-750.00
31\check_images\7137                              USD.pdf                                       69710     11/29/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-01__569336_1000184816-28-750.00
31\check_images\7137                              USD.pdf                                       64299        1/5/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-01__583684_1000190752-39-750.00
31\check_images\7137                              USD.pdf                                       63218       2/7/2022 23:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-01__600772_1000196632-25-750.00
31\check_images\7137                              USD.pdf                                       74794      3/17/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-01__609450_1000202455-33-750.00
31\check_images\7137                              USD.pdf                                       78591      3/30/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__623435_1000208277-15-750.00
31\check_images\7137                              USD.pdf                                       74018       4/28/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__638475_1000212986-26-750.00
31\check_images\7137                              USD.pdf                                       64429      5/31/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__649634_1000219876-18-750.00
31\check_images\7137                              USD.pdf                                       78117       6/28/2022 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__663785_1000225615-4-750.00
31\check_images\7137                              USD.pdf                                       71929       7/29/2022 8:58



                                                            861
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__675324_1000230253-39-750.00
31\check_images\7137                              USD.pdf                                         68282      8/26/2022 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__689015_item-15_1000237021-15-
31\check_images\7137                              750.00 USD.pdf                                  71401       9/27/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__703014_item-17_1000242735-17-
31\check_images\7137                              750.00 USD.pdf                                  76784     10/28/2022 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__715728_item-39_1000247275-39-
31\check_images\7137                              750.00 USD.pdf                                  80714     11/28/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__729840_item-4_1000254039-4-
31\check_images\7137                              750.00 USD.pdf                                  73974       1/3/2023 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__743122_item-22_1000258540-22-
31\check_images\7137                              750.00 USD.pdf                                  60755      1/30/2023 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__758452_item-36_1000264104-36-
31\check_images\7137                              750.00 USD.pdf                                  68867       3/1/2023 18:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__769808_item-29_1000270711-29-
31\check_images\7137                              750.00 USD.pdf                                  74774      3/28/2023 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__783519_item-1_1000276252-1-
31\check_images\7137                              750.00 USD.pdf                                  58549       5/1/2023 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__796464_item-32_1000280695-32-
31\check_images\7137                              750.00 USD.pdf                                  57896      5/30/2023 10:51



                                                            862
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__809005_item-15_1000287240-15-
31\check_images\7137                              750.00 USD.pdf                                  74042      6/26/2023 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\7137                              2023-08-01__824520_1000292709 750.00.pdf       342619      7/31/2023 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__836206_item-11_1000298164-11-
31\check_images\7137                              750.00 USD.pdf                                  56183      8/28/2023 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__849585_item-27_1000303600-27-
31\check_images\7137                              750.00 USD.pdf                                  62850      9/26/2023 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__865156_item-17_1000309037-17-
31\check_images\7137                              750.00 USD.pdf                                  51938     10/31/2023 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__876998_item-35_1000314526-35-
31\check_images\7137                              750.00 USD.pdf                                  50095     11/27/2023 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__888449_item-37_1000318894-37-
31\check_images\7137                              750.00 USD.pdf                                  51783     12/26/2023 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__902296_item-18_1000324232-18-
31\check_images\7137                              750.00 USD.pdf                                  50780       1/29/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__915189_item-37_1000329535-37-
31\check_images\7137                              750.00 USD.pdf                                  50613      2/26/2024 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__930779_item-41_1000335813-41-
31\check_images\7137                              750.00 USD.pdf                                  44340       4/1/2024 10:39



                                                            863
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               All Paths/Locations                                 Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__943862_item-6_1000341071-6-
31\check_images\7137                              750.00 USD.pdf                                   53985      4/30/2024 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-23__645716_249883-9-15000.00
31\check_images\71422                             USD.pdf                                          55431       6/17/2022 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-23__805634_item-6_428181-6-
31\check_images\71422                             15000.00 USD.pdf                                 62014      6/20/2023 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\7145                              2021-01-15__427892_1000113959-9-948.00.pdf       69688      1/27/2021 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\7145                              2021-02-15__440442_1000120294-7-948.00.pdf       64721       3/1/2021 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-15__449254_1000126431-31-
31\check_images\7145                              948.00.pdf                                       65393      3/22/2021 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\7145                              2021-04-15__457884_40.pdf                       221665       4/12/2021 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-15__470934_1000138695-32-
31\check_images\7145                              948.00.pdf                                       76703       5/17/2021 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-15__485055_1000144818-2-948.00
31\check_images\7145                              USD.pdf                                          79440       6/23/2021 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-15__492704_1000151568-32-948.00
31\check_images\7145                              USD.pdf                                          75374       7/12/2021 9:32



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-15__505777_1000157019-1-948.00
31\check_images\7145                              USD.pdf                                       70689      8/10/2021 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-15__521900_1000163757-35-948.00
31\check_images\7145                              USD.pdf                                       62526      9/13/2021 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-15__535465_1000169111-21-948.00
31\check_images\7145                              USD.pdf                                       71182     10/12/2021 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-15__548475_1000175191-4-948.00
31\check_images\7145                              USD.pdf                                       82538     11/14/2021 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-15__563100_1000181787-14-948.00
31\check_images\7145                              USD.pdf                                       62577      12/20/2021 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-15__572461_1000187202-19-948.00
31\check_images\7145                              USD.pdf                                       61045      1/10/2022 22:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-15__595309_1000193131-27-948.00
31\check_images\7145                              USD.pdf                                       73338        3/8/2022 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-15__597175_1000198998-28-948.00
31\check_images\7145                              USD.pdf                                       73293       3/14/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-15__617596_1000204784-40-948.00
31\check_images\7145                              USD.pdf                                       80819      4/18/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-15__628567_1000210654-10-948.00
31\check_images\7145                              USD.pdf                                       65605       5/10/2022 9:58



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-15__643470_1000217015-4-948.00
31\check_images\7145                              USD.pdf                                         66554      6/13/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-15__655907_1000222678-31-948.00
31\check_images\7145                              USD.pdf                                         84427      7/11/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-15__670234_1000227973-38-948.00
31\check_images\7145                              USD.pdf                                         76320      8/11/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-15__682974_item-3_1000234219-3-
31\check_images\7145                              948.00 USD.pdf                                  61995       9/12/2022 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-15__695756_item-9_1000239362-9-
31\check_images\7145                              948.00 USD.pdf                                  68885     10/11/2022 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-15__710491_item-36_1000245048-36-
31\check_images\7145                              948.00 USD.pdf                                  72463      11/14/2022 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-15__727889_item-27_1000251143-27-
31\check_images\7145                              948.00 USD.pdf                                  72959     12/27/2022 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-15__735123_item-21_1000256298-21-
31\check_images\7145                              948.00 USD.pdf                                  69375      1/10/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-15__751892_item-3_1000262440-3-
31\check_images\7145                              948.00 USD.pdf                                  58500      2/16/2023 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-15__763921_item-27_1000267981-27-
31\check_images\7145                              948.00 USD.pdf                                  65368      3/14/2023 15:00



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-15__775856_item-45_1000272978-45-
31\check_images\7145                              948.00 USD.pdf                                  64782       4/10/2023 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-15__788486_item-5_1000278498-5-
31\check_images\7145                              948.00 USD.pdf                                  68316       5/9/2023 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-15__802683_item-13_1000284449-13-
31\check_images\7145                              948.00 USD.pdf                                  78368      6/12/2023 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-15__816743_item-40_1000289946-40-
31\check_images\7145                              948.00 USD.pdf                                  57617      7/11/2023 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-15__831084_item-36_1000294943-36-
31\check_images\7145                              948.00 USD.pdf                                  61284      8/14/2023 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-15__843578_item-20_1000300849-20-
31\check_images\7145                              948.00 USD.pdf                                  69107       9/12/2023 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-15__856279_item-10_1000305820-10-
31\check_images\7145                              948.00 USD.pdf                                  52747      10/11/2023 9:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\7145                              2023-11-15__870804_ck 1000311793.pdf            60368      11/14/2023 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-15__882878_item-44_1000316634-44-
31\check_images\7145                              948.00 USD.pdf                                  55905     12/11/2023 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-15__897074_item-13_1000322099-13-
31\check_images\7145                              948.00 USD.pdf                                  54561      1/12/2024 10:14



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__909370_item-33_1000327857-33-
31\check_images\7145                              948.00 USD.pdf                                  52399      2/12/2024 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-15__923549_item-20_1000332651-20-
31\check_images\7145                              948.00 USD.pdf                                  63053       3/13/2024 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-15__938254_item-23_1000337958-23-
31\check_images\7145                              948.00 USD.pdf                                  45621      4/16/2024 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-15__950767_item-45_1000343673-45-
31\check_images\7145                              948.00 USD.pdf                                  49026       5/13/2024 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-05__589379_HB Release 02162022
31\check_images\71564                             Memo Style.pdf                                 315404      2/23/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2022-03-05__610371_2265_53_4.pdf                66403       4/1/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2022-04-05__624165_2265_50_19.pdf               65209      4/29/2022 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2022-05-05__639840_2265_1_23.pdf                86779       6/3/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2022-06-05__654072_2265_8_35.pdf                85420       7/5/2022 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2022-07-05__665955_2265_4_15.pdf                67604       8/1/2022 10:52



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2022-08-05__680416_item-27_2265_4_27.pdf        70207       9/2/2022 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-05__710135_705463_item-
31\check_images\71564                             81_2265_44_4.pdf                                84994     11/14/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-05__710216_Miscellaneous
31\check_images\71564                             Payments.pdf                                   109555     11/14/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2022-11-05__716586_item-42_2265_38_6.pdf        68859     11/28/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2022-12-05__717545_item-169_2265_42_1.pdf       69989     11/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2023-01-05__730586_item-48_2265_2_23.pdf       104107       1/3/2023 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2023-02-05__746016_item-23_2265_5_23.pdf        64691       2/2/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2023-03-05__759398_item-7_2265_5_3.pdf          71384       3/3/2023 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2023-04-05__770777_item-53_2265_55_17.pdf       67951       3/30/2023 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2023-05-05__784166_item-42_2265_2_23.pdf        67735       5/1/2023 12:04



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2023-06-05__800154_item-6_2265_2_6.pdf          70294       6/5/2023 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2023-07-05__812955_item-124_2265_5_24.pdf       74836       7/3/2023 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2023-08-05__824542_item-69_2265_51_4.pdf        88785      7/31/2023 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2023-09-05__840067_item-59_2265_2_9.pdf         81236       9/1/2023 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2023-10-05__850663_item-35_2265_43_33.pdf       72318      9/28/2023 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2023-11-05__866489_item-105_2265_3_5.pdf        82908      11/1/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2023-12-05__875399_item-220_2265_46_3.pdf       70729     11/27/2023 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2024-01-05__892380_item-28_2265_1_28.pdf        96898        1/2/2024 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2024-02-05__907831_item-1_2265_13_1.pdf         71589        2/6/2024 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2024-03-05__924523_item-53_2265_30_32.pdf       69820      3/15/2024 11:31



                                                             870
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2024-04-05__932794_item-23_2265_16_10.pdf       73916        4/3/2024 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71564                             2024-05-05__945638_item-66_2265_2_16.pdf        75255       5/1/2024 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-01__575608_5227757-35-5363.81
31\check_images\71913                             USD.pdf                                         87222      1/14/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-01__584986_5242880-36-5363.81
31\check_images\71913                             USD.pdf                                         88346       2/9/2022 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-01__597335_5256716-41-5363.81
31\check_images\71913                             USD.pdf                                         98141      3/14/2022 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-01__625872_5288399-23-5363.81
31\check_images\71913                             USD.pdf                                         77093        5/4/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__631147_5274775-14-5363.81
31\check_images\71913                             USD.pdf                                         79349      5/16/2022 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__653903_5314174-38-5363.81
31\check_images\71913                             USD.pdf                                         56852       7/5/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__664432_5326228-35-5363.81
31\check_images\71913                             USD.pdf                                         92541        8/1/2022 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__677963_5339234-25-5363.81
31\check_images\71913                             USD.pdf                                         82507      8/30/2022 13:17



                                                             871
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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__693012_item-6_5351002-6-
31\check_images\71913                             5363.81 USD.pdf                              97425      10/3/2022 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__705430_item-38_5364844-38-
31\check_images\71913                             5363.81 USD.pdf                              83514      11/1/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__716268_item-5_5379676-5-
31\check_images\71913                             5363.81 USD.pdf                              99262     11/29/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__731516_item-9_5399429-9-
31\check_images\71913                             5632.00 USD.pdf                              97438        1/4/2023 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__746379_item-40_5415093-40-
31\check_images\71913                             5632.00 USD.pdf                              85920        2/3/2023 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__759177_item-3_5428992-3-
31\check_images\71913                             5632.00 USD.pdf                             102649        3/3/2023 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__772124_item-6_5444999-6-
31\check_images\71913                             5632.00 USD.pdf                              68471       4/3/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__785368_item-32_5459772-32-
31\check_images\71913                             5632.00 USD.pdf                             106657       5/2/2023 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__796246_item-38_5474946-38-
31\check_images\71913                             5632.00 USD.pdf                             101936      5/30/2023 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__812207_item-13_5488394-13-
31\check_images\71913                             5632.00 USD.pdf                             101412       7/3/2023 13:38



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71913                             2023-08-01__826282_5503391 5632.00.pdf      464334       8/1/2023 16:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__840058_item-35_5520244-35-
31\check_images\71913                             5632.00 USD.pdf                              71841       9/1/2023 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__851285_item-36_5534947-36-
31\check_images\71913                             5632.00 USD.pdf                              91544      9/29/2023 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__867882_item-15_5552691-15-
31\check_images\71913                             5632.00 USD.pdf                              70390      11/6/2023 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__882020_item-12_5569426-12-
31\check_images\71913                             5632.00 USD.pdf                              79184       12/7/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__894303_item-1_5588996-1-
31\check_images\71913                             5913.60 USD.pdf                              81058        1/5/2024 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__904403_item-10_5606183-10-
31\check_images\71913                             5913.60 USD.pdf                              51369      1/31/2024 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__919235_item-30_5621605-30-
31\check_images\71913                             5913.60 USD.pdf                              55366        3/4/2024 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__930215_item-22_5637839-22-
31\check_images\71913                             5913.60 USD.pdf                              49840       4/1/2024 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__942840_item-23_5654461-23-
31\check_images\71913                             5913.60 USD.pdf                              55548      4/29/2024 14:20



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71966                             2021-11-01__565745_7819 675.32.pdf              333931      12/29/2021 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71966                             2021-12-01__565746_7819 675.32.pdf              333931      12/29/2021 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-01__620982_90 day floats 4-25-
31\check_images\71966                             2022.pdf                                         83472      4/25/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-01__646693_10101_7867-38-1350.64
31\check_images\71966                             USD.pdf                                         226668      6/21/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-01__646704_10101_7867-38-1350.64
31\check_images\71966                             USD.pdf                                         226668      6/21/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71966                             2022-04-01__637520_7867-38-1350.64 USD.pdf       46941        6/1/2022 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71966                             2022-05-01__637523_7867-38-1350.64 USD.pdf       46941        6/1/2022 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71966                             2022-06-01__651829_7880-2-337.55 USD.pdf         49862      6/30/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\71966                             2022-07-01__665074_7885-2-337.55 USD.pdf         47573       8/1/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__681299_item-29_7898-29-337.55
31\check_images\71966                             USD.pdf                                          29118       9/6/2022 15:51



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__681303_item-30_7894-30-337.55
31\check_images\71966                             USD.pdf                                          38992       9/6/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__703400_item-45_7905-45-337.55
31\check_images\71966                             USD.pdf                                          42036     10/28/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-18__819596_item-7_4497841-7-500.00
31\check_images\72793                             USD.pdf                                          54429       7/19/2023 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-18__832330_item-27_4504015-27-
31\check_images\72793                             500.00 USD.pdf                                   52183      8/15/2023 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-18__845456_item-6_4510403-6-500.00
31\check_images\72793                             USD.pdf                                          53368       9/18/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-18__861010_item-45_4516715-45-
31\check_images\72793                             500.00 USD.pdf                                   50040     10/23/2023 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-18__873229_item-7_4522719-7-500.00
31\check_images\72793                             USD.pdf                                          89605      11/20/2023 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-18__885801_item-3_4529153-3-500.00
31\check_images\72793                             USD.pdf                                          53469     12/18/2023 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-18__899470_item-5_4535529-5-500.00
31\check_images\72793                             USD.pdf                                          47195      1/17/2024 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-18__913176_item-12_4541769-12-
31\check_images\72793                             500.00 USD.pdf                                   45656      2/20/2024 13:10



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 877 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-18__926138_item-18_4547928-18-
31\check_images\72793                             500.00 USD.pdf                                  47605      3/19/2024 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-18__939143_item-36_4554091-36-
31\check_images\72793                             500.00 USD.pdf                                  47671      4/17/2024 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-18__952809_item-27_4560344-27-
31\check_images\72793                             500.00 USD.pdf                                  46451      5/20/2024 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\72802                             2021-11-27__548350_22.pdf                      284661     11/12/2021 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-27__571835_4302162417-41-11118.61
31\check_images\72802                             USD.pdf                                         91852      1/11/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-27__584499_4302172527-19-11118.61
31\check_images\72802                             USD.pdf                                         80309       2/8/2022 19:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-27__595138_4302182992-12-11118.61
31\check_images\72802                             USD.pdf                                         83617       3/7/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-27__613305_4302192144-12-11118.61
31\check_images\72802                             USD.pdf                                         85829       4/6/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-27__624815_4302201938-15-11118.61
31\check_images\72802                             USD.pdf                                         83424       5/2/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-27__640784_4302211770-21-11118.61
31\check_images\72802                             USD.pdf                                        116887        6/6/2022 9:46



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               All Paths/Locations                                 Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-27__653509_4302221325-4-11118.61
31\check_images\72802                             USD.pdf                                        110346       7/5/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-27__665249_4302230461-26-11118.61
31\check_images\72802                             USD.pdf                                         71692       8/1/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-27__681447_item-7_4302240484-7-
31\check_images\72802                             11118.61 USD.pdf                               101640       9/6/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-27__692298_item-4_4302249401-4-
31\check_images\72802                             11118.61 USD.pdf                                87921      10/3/2022 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-27__706150_item-37_4302258576-37-
31\check_images\72802                             11118.61 USD.pdf                                75614      11/2/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-27__719414_item-36_4302268125-36-
31\check_images\72802                             11118.61 USD.pdf                                80624      12/5/2022 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-27__730703_item-36_4302277468-36-
31\check_images\72802                             11118.61 USD.pdf                               110123       1/3/2023 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-27__747246_item-3_4302286564-3-
31\check_images\72802                             11118.61 USD.pdf                                79273       2/6/2023 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-27__759553_item-4_4302296055-4-
31\check_images\72802                             11118.61 USD.pdf                                72363        3/6/2023 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-27__773270_item-4_4302304833-4-
31\check_images\72802                             11118.61 USD.pdf                                92655       4/4/2023 13:38



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               All Paths/Locations                                 Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-27__786732_item-21_4302313909-21-
31\check_images\72802                             11118.61 USD.pdf                                81288        5/4/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-27__800975_item-10_4302323311-10-
31\check_images\72802                             11118.61 USD.pdf                                89943       6/6/2023 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-27__814368_item-17_4302331974-17-
31\check_images\72802                             11118.61 USD.pdf                                88298       7/5/2023 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-27__826534_item-26_4302340325-26-
31\check_images\72802                             11118.61 USD.pdf                                71779        8/2/2023 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-27__840532_item-5_4302349430-5-
31\check_images\72802                             11118.61 USD.pdf                                87342       9/5/2023 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-27__854520_item-18_4302357883-18-
31\check_images\72802                             11118.61 USD.pdf                                85862      10/5/2023 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-27__868432_item-41_4302366451-41-
31\check_images\72802                             11118.61 USD.pdf                                95817      11/7/2023 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-27__881382_item-29_4302375092-29-
31\check_images\72802                             11118.61 USD.pdf                                90273      12/5/2023 18:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-27__895977_item-28_4302383947-28-
31\check_images\72802                             11118.61 USD.pdf                                68915       1/9/2024 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-27__907549_item-7_4302392643-7-
31\check_images\72802                             11118.61 USD.pdf                                90986       2/5/2024 10:17



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               All Paths/Locations                                 Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-27__920538_item-26_4302401298-26-
31\check_images\72802                             11118.61 USD.pdf                                  75815       3/5/2024 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-27__935108_item-1_4302409503-1-
31\check_images\72802                             11118.61 USD.pdf                                  57473        4/8/2024 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-27__948062_item-29_4302418251-29-
31\check_images\72802                             11118.61 USD.pdf                                  68836       5/7/2024 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-27__959048_item-12_4302426375-12-
31\check_images\72802                             11118.61 USD.pdf                                  70510        6/4/2024 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-25__558795_Re_ Servicing HB Release
31\check_images\72838                             12_08_2021 APPROVAL NEEDED.pdf                   234177      12/8/2021 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-25__564118_3134223-25-917.51
31\check_images\72838                             USD.pdf                                           40868     12/21/2021 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-25__578060_3167492-15-917.51
31\check_images\72838                             USD.pdf                                           39261       1/25/2022 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-25__603698_3232399-32-917.51
31\check_images\72838                             USD.pdf                                           40783      3/22/2022 22:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-25__609121_3200048-21-917.51
31\check_images\72838                             USD.pdf                                           41314      3/29/2022 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-25__619901_3264645-12-917.51
31\check_images\72838                             USD.pdf                                           34199       4/21/2022 9:09



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-25__633117_3296876-20-917.51
31\check_images\72838                             USD.pdf                                          41288      5/20/2022 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-25__646849_3328964-23-917.51
31\check_images\72838                             USD.pdf                                          36311       6/21/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-25__658994_3361187-3-917.51
31\check_images\72838                             USD.pdf                                          41529       7/18/2022 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-25__673289_3392951-5-917.51
31\check_images\72838                             USD.pdf                                          44186       8/22/2022 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-25__686062_item-24_3424081-24-
31\check_images\72838                             917.51 USD.pdf                                   31988      9/19/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-25__699128_item-6_3455730-6-917.51
31\check_images\72838                             USD.pdf                                          36039      10/18/2022 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-25__712790_item-21_3486798-21-
31\check_images\72838                             917.51 USD.pdf                                   32780     11/18/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-25__725868_item-13_3518203-13-
31\check_images\72838                             917.51 USD.pdf                                   32398     12/19/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-25__737718_item-9_3550056-9-917.51
31\check_images\72838                             USD.pdf                                          33801      1/17/2023 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-25__752432_item-35_3581232-35-
31\check_images\72838                             917.51 USD.pdf                                   33958      2/21/2023 10:51



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-25__765807_item-31_3612077-31-
31\check_images\72838                             917.51 USD.pdf                                   35555       3/20/2023 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-25__777900_item-4_3642220-4-917.51
31\check_images\72838                             USD.pdf                                          35613      4/17/2023 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-25__793316_item-41_3671052-41-
31\check_images\72838                             917.51 USD.pdf                                   39108      5/22/2023 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-25__806982_item-22_6936565-22-
31\check_images\72838                             917.51 USD.pdf                                   32652      6/21/2023 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-25__818206_item-10_3716707-10-
31\check_images\72838                             917.51 USD.pdf                                   33621      7/17/2023 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-25__833760_item-7_3737902-7-917.51
31\check_images\72838                             USD.pdf                                          37857      8/21/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-25__845154_item-12_3754873-12-
31\check_images\72838                             917.51 USD.pdf                                   38569       9/18/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-25__860016_item-8_3770947-8-917.51
31\check_images\72838                             USD.pdf                                          39118      10/19/2023 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-25__872538_item-45_3784178-45-
31\check_images\72838                             917.51 USD.pdf                                   44605     11/16/2023 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-25__886312_item-27_3798016-27-
31\check_images\72838                             917.51 USD.pdf                                   37012     12/18/2023 16:30



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               All Paths/Locations                                 Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-25__900744_item-31_3812524-31-
31\check_images\72838                             917.51 USD.pdf                                   34096      1/22/2024 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-25__913425_item-44_3825837-44-
31\check_images\72838                             917.51 USD.pdf                                   32417       2/20/2024 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-25__925285_item-1_3833471-1-917.51
31\check_images\72838                             USD.pdf                                          38779      3/18/2024 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-25__940321_item-30_3840924-30-
31\check_images\72838                             917.51 USD.pdf                                   37139      4/22/2024 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-25__952868_item-42_3848256-42-
31\check_images\72838                             917.51 USD.pdf                                   37054      5/20/2024 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__718708_item-9_2402877150-9-
31\check_images\73134                             18515.00 USD.pdf                                 32518      12/2/2022 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__881262_item-16_2402940736-16-
31\check_images\73134                             18515.00 USD.pdf                                 41193      12/5/2023 18:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-29__862357_861437_item-26_966917-
31\check_images\73145                             26-101.11 USD.pdf                                69329      10/25/2023 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-29__874267_item-30_971686-30-
31\check_images\73145                             101.11 USD.pdf                                   65652      11/22/2023 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\73145                             2023-12-29__889894_976185.pdf                    78347      12/28/2023 0:22



                                                             882
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 884 of
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-29__901142_item-31_979578-31-
31\check_images\73145                             101.11 USD.pdf                                61194       1/23/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-29__915696_item-37_983551-37-
31\check_images\73145                             101.11 USD.pdf                                57738      2/26/2024 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-29__928153_item-13_989082-13-
31\check_images\73145                             101.11 USD.pdf                                58992       3/26/2024 8:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-29__940396_item-43_993110-43-
31\check_images\73145                             101.11 USD.pdf                                56119      4/22/2024 19:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-29__954209_item-10_997776-10-
31\check_images\73145                             101.11 USD.pdf                                69311      5/23/2024 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-24__560620_17729497-12-526.32
31\check_images\74228                             USD.pdf                                       57216     12/13/2021 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-24__582822_17764805-31-526.32
31\check_images\74228                             USD.pdf                                       56893       2/7/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-24__588883_IFTSBRW20220110_PHL-
31\check_images\74228                             9582-2140_000721P504.pdf                     379128      2/22/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-24__598168_17781002-20-526.32
31\check_images\74228                             USD.pdf                                       56508      3/15/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-24__611185_17795702-36-526.32
31\check_images\74228                             USD.pdf                                       61254       4/4/2022 11:05



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-24__624263_17810367-4-526.32
31\check_images\74228                             USD.pdf                                       55958        5/2/2022 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-24__638803_17825312-3-526.32
31\check_images\74228                             USD.pdf                                       54406       6/1/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-24__664596_17852634-2-526.32
31\check_images\74228                             USD.pdf                                       63522       8/1/2022 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-24__665914_17839551-40-526.32
31\check_images\74228                             USD.pdf                                       59495       8/2/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-24__679820_item-33_17867257-33-
31\check_images\74228                             526.32 USD.pdf                                57403       9/1/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-24__692227_item-17_17881332-17-
31\check_images\74228                             526.32 USD.pdf                                59573      10/2/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-24__705072_item-16_17895838-16-
31\check_images\74228                             526.32 USD.pdf                                61892     10/31/2022 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-24__718125_item-4_17912031-4-
31\check_images\74228                             526.32 USD.pdf                                54167      12/1/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-24__730882_item-4_17931649-4-
31\check_images\74228                             526.32 USD.pdf                                54608       1/3/2023 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-24__743776_item-15_17945732-15-
31\check_images\74228                             526.32 USD.pdf                                58810      1/30/2023 14:45



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-24__759663_item-9_17960758-9-
31\check_images\74228                             526.32 USD.pdf                                58748       3/6/2023 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-24__771607_item-13_17974228-13-
31\check_images\74228                             526.32 USD.pdf                                55472       3/31/2023 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-24__783357_item-17_17987425-17-
31\check_images\74228                             526.32 USD.pdf                                57373       5/1/2023 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-24__798834_item-2_18000954-2-
31\check_images\74228                             526.32 USD.pdf                                56032       6/1/2023 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-24__811440_item-1_18013899-1-
31\check_images\74228                             526.32 USD.pdf                                60563      6/30/2023 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\74228                             2023-07-24__825839_18026749 526.32.pdf       330955       8/1/2023 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-24__839515_item-10_18040032-10-
31\check_images\74228                             526.32 USD.pdf                                60724        9/1/2023 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-24__851100_item-24_18052511-24-
31\check_images\74228                             526.32 USD.pdf                                56483      9/29/2023 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-24__863926_item-35_18066462-35-
31\check_images\74228                             526.32 USD.pdf                                56106      10/30/2023 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-24__879121_item-27_18081617-27-
31\check_images\74228                             526.32 USD.pdf                                56142       12/4/2023 9:38



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               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-24__892182_item-10_18098261-10-
31\check_images\74228                             526.32 USD.pdf                                     62367       1/3/2024 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-24__904422_item-15_18111863-15-
31\check_images\74228                             526.32 USD.pdf                                     55377      1/31/2024 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-24__918205_item-12_18125311-12-
31\check_images\74228                             526.32 USD.pdf                                     56908        3/1/2024 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-24__933864_item-11_18137239-11-
31\check_images\74228                             526.32 USD.pdf                                     52546       4/3/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-24__944912_item-26_18150828-26-
31\check_images\74228                             526.32 USD.pdf                                     59692       5/1/2024 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-24__958881_item-30_18163463-30-
31\check_images\74228                             526.32 USD.pdf                                     52968       6/3/2024 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__810706_Ck 3842 and Return Notice
31\check_images\74243                             07052023.pdf                                      449256        7/6/2023 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__824111_item-12_3970-12-1001.76
31\check_images\74243                             USD.pdf                                            44125      7/31/2023 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__836567_item-7_4071-7-1001.76
31\check_images\74243                             USD.pdf                                            42160      8/28/2023 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__855883_item-6_4191-6-1001.76
31\check_images\74243                             USD.pdf                                            37340     10/10/2023 16:38



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               All Paths/Locations                                 Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__863061_item-2_4317-2-1001.76
31\check_images\74243                             USD.pdf                                          33389      10/30/2023 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__880218_item-17_4447-17-1001.76
31\check_images\74243                             USD.pdf                                          44769       12/4/2023 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__892350_item-5_4590-5-1001.76
31\check_images\74243                             USD.pdf                                          51747       1/2/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__906686_item-39_4747-39-1001.76
31\check_images\74243                             USD.pdf                                          49261        2/5/2024 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__917947_item-16_4892-16-1001.76
31\check_images\74243                             USD.pdf                                          47088      2/29/2024 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__931625_item-33_5038-33-1001.76
31\check_images\74243                             USD.pdf                                          40689       4/2/2024 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__942614_item-12_5186-12-1001.76
31\check_images\74243                             USD.pdf                                          39236       4/29/2024 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\74261                             2022-05-01__634280_354600.pdf                   304906       5/24/2022 7:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__793867_item-1_2082600-1-
31\check_images\74261                             20826.00 USD.pdf                                 97264      5/22/2023 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__793870_item-1_2082600-1-
31\check_images\74261                             20826.00 USD.pdf                                 97264      5/22/2023 14:24



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               All Paths/Locations                                 Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-15__846379_item-36_42268786-36-
31\check_images\74302                             1374.05 USD.pdf                               71058      9/19/2023 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-15__859599_item-35_42321578-35-
31\check_images\74302                             1374.05 USD.pdf                               69049      10/18/2023 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-15__872874_item-13_42376126-13-
31\check_images\74302                             1374.05 USD.pdf                               69420      11/17/2023 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-15__885582_item-13_42428339-13-
31\check_images\74302                             1374.05 USD.pdf                               69040     12/18/2023 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-15__900460_item-14_42479422-14-
31\check_images\74302                             1374.05 USD.pdf                               71050      1/22/2024 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__913282_item-36_42536348-36-
31\check_images\74302                             1374.05 USD.pdf                               78154       2/20/2024 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-15__925812_item-10_42589097-10-
31\check_images\74302                             1374.05 USD.pdf                               76679       3/19/2024 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-15__939493_item-26_42640231-26-
31\check_images\74302                             1374.05 USD.pdf                               74692       4/18/2024 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-15__953544_item-43_42695786-43-
31\check_images\74302                             1374.05 USD.pdf                               71246      5/21/2024 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-20__956743_item-1_1918080707-3-
31\check_images\74305                             24198.19 USD.pdf                              70421      5/29/2024 14:19



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               All Paths/Locations                                 Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-02__934999_item-3_5001071971-3-
31\check_images\74339                             21000.00 USD.pdf                                  53362       4/8/2024 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-02__935000_item-3_5001071971-3-
31\check_images\74339                             21000.00 USD.pdf                                  53362       4/8/2024 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-02__935001_item-3_5001071971-3-
31\check_images\74339                             21000.00 USD.pdf                                  53362       4/8/2024 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-02__935002_item-3_5001071971-3-
31\check_images\74339                             21000.00 USD.pdf                                  53362       4/8/2024 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-02__947505_item-9_5001095701-9-
31\check_images\74339                             5250.00 USD.pdf                                   60434       5/6/2024 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-05__573423_FW_ Servicing HB Release
31\check_images\74365                             01 12 2022 APPROVAL NEEDED-Fred Love.pdf         217543      1/14/2022 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-05__589383_HB Release 02162022
31\check_images\74365                             Memo Style.pdf                                   315404      2/23/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-05__598650_4302181115-15-950.00
31\check_images\74365                             USD.pdf                                           77643       3/16/2022 6:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-05__612993_4302191086-5-950.00
31\check_images\74365                             USD.pdf                                           97536       4/5/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-05__624573_4302200769-37-950.00
31\check_images\74365                             USD.pdf                                           88675       5/2/2022 10:38



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-05__635703_4302210168-31-950.00
31\check_images\74365                             USD.pdf                                        102160      5/26/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-05__650628_4302219798-6-950.00
31\check_images\74365                             USD.pdf                                         69739      6/28/2022 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-05__665401_4302229562-2-950.00
31\check_images\74365                             USD.pdf                                         69005       8/1/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-05__676007_4302238677-15-950.00
31\check_images\74365                             USD.pdf                                         75635      8/29/2022 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-05__692635_item-29_4302248267-29-
31\check_images\74365                             950.00 USD.pdf                                  71403      10/3/2022 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-05__703324_item-17_4302257591-17-
31\check_images\74365                             950.00 USD.pdf                                  89279     10/28/2022 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-05__716254_item-7_4302266838-7-
31\check_images\74365                             950.00 USD.pdf                                  79692     11/29/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-05__729465_item-8_4302276358-8-
31\check_images\74365                             950.00 USD.pdf                                  69352      12/30/2022 6:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-05__742557_item-11_4302285469-11-
31\check_images\74365                             950.00 USD.pdf                                  79104      1/30/2023 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-05__758659_item-23_4302294413-23-
31\check_images\74365                             950.00 USD.pdf                                 110243       3/2/2023 10:46



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-05__769483_item-42_4302303806-42-
31\check_images\74365                             950.00 USD.pdf                                  85694      3/28/2023 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-05__786303_item-42_4302312822-42-
31\check_images\74365                             950.00 USD.pdf                                  91376       5/3/2023 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-05__796159_item-3_4302321705-3-
31\check_images\74365                             950.00 USD.pdf                                  85146      5/30/2023 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-05__810389_item-22_4302330661-22-
31\check_images\74365                             950.00 USD.pdf                                  69626      6/28/2023 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-05__824865_item-41_4302339408-41-
31\check_images\74365                             950.00 USD.pdf                                  88534      7/31/2023 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-05__835991_item-24_4302348087-24-
31\check_images\74365                             950.00 USD.pdf                                  76758      8/28/2023 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-05__852513_item-34_4302356820-34-
31\check_images\74365                             950.00 USD.pdf                                  84698      10/2/2023 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-05__864593_item-45_4302365436-45-
31\check_images\74365                             950.00 USD.pdf                                  73220     10/31/2023 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-05__878130_item-4_4302374150-4-
31\check_images\74365                             950.00 USD.pdf                                  78455     11/29/2023 21:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-05__894023_item-9_4302382899-9-
31\check_images\74365                             950.00 USD.pdf                                  73794       1/4/2024 11:58



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-05__904928_item-24_4302391487-24-
31\check_images\74365                             950.00 USD.pdf                                  88841      1/31/2024 18:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-05__917350_item-16_4302399964-16-
31\check_images\74365                             950.00 USD.pdf                                  88752       2/29/2024 0:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-05__932987_item-6_4302408500-6-
31\check_images\74365                             950.00 USD.pdf                                  99070       4/3/2024 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-05__942538_item-20_4302416829-20-
31\check_images\74365                             950.00 USD.pdf                                  75688      4/29/2024 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-07__655012_147557586-2-300.00
31\check_images\74461                             USD.pdf                                         66360       7/7/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-07__668508_147576793-25-300.00
31\check_images\74461                             USD.pdf                                         85328        8/8/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-07__680958_item-22_147594755-22-
31\check_images\74461                             300.00 USD.pdf                                  70834        9/6/2022 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-07__695626_item-13_147612839-13-
31\check_images\74461                             300.00 USD.pdf                                  77574      10/7/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-07__708016_item-11_147630895-11-
31\check_images\74461                             300.00 USD.pdf                                  59208      11/7/2022 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-07__721521_item-27_147648797-27-
31\check_images\74461                             300.00 USD.pdf                                  67943      12/8/2022 14:36



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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-07__734063_item-21_147667061-21-
31\check_images\74461                             300.00 USD.pdf                                 77987       1/9/2023 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-07__746755_item-25_147685030-25-
31\check_images\74461                             300.00 USD.pdf                                 67992        2/6/2023 8:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-07__761789_item-7_147702023-7-
31\check_images\74461                             300.00 USD.pdf                                 64048       3/9/2023 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-07__774737_item-14_147720537-14-
31\check_images\74461                             300.00 USD.pdf                                 71502        4/7/2023 8:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-07__787814_item-5_147737884-5-
31\check_images\74461                             300.00 USD.pdf                                 56739       5/8/2023 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-07__802579_item-43_147755200-43-
31\check_images\74461                             300.00 USD.pdf                                 65680      6/12/2023 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-07__814751_item-20_147772003-20-
31\check_images\74461                             309.00 USD.pdf                                 65050      7/10/2023 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-07__828117_item-9_147789470-9-
31\check_images\74461                             309.00 USD.pdf                                 55774       8/7/2023 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-07__842307_item-3_147806556-3-
31\check_images\74461                             309.00 USD.pdf                                 59966        9/8/2023 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-07__856105_item-37_147824369-37-
31\check_images\74461                             309.00 USD.pdf                                 55890     10/10/2023 10:32



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-07__868325_item-26_147840305-26-
31\check_images\74461                             309.00 USD.pdf                                  54982      11/7/2023 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-07__882993_item-28_147856700-28-
31\check_images\74461                             309.00 USD.pdf                                  57641      12/11/2023 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-07__895345_item-20_147873313-20-
31\check_images\74461                             309.00 USD.pdf                                  69400       1/8/2024 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-07__907040_item-43_147890537-43-
31\check_images\74461                             309.00 USD.pdf                                  58978       2/5/2024 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-07__922204_item-20_147906752-20-
31\check_images\74461                             309.00 USD.pdf                                  55794       3/11/2024 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-07__935127_item-18_147923646-18-
31\check_images\74461                             309.00 USD.pdf                                  70886        4/8/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-07__949181_item-16_147939587-16-
31\check_images\74461                             309.00 USD.pdf                                  57687      5/10/2024 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__702612_item-18_1463533-18-
31\check_images\74474                             300.00 USD.pdf                                  60081      10/27/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__716740_item-25_5000536040-25-
31\check_images\74474                             300.00 USD.pdf                                  71025     11/29/2022 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__730097_item-32_5000577116-32-
31\check_images\74474                             300.00 USD.pdf                                  63552       1/3/2023 11:04



                                                            894
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 896 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__744680_item-23_5000610108-23-
31\check_images\74474                             300.00 USD.pdf                                  60836      1/31/2023 20:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__758470_item-7_5000641190-7-
31\check_images\74474                             300.00 USD.pdf                                  73127       3/1/2023 18:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__770594_item-15_5000673221-15-
31\check_images\74474                             300.00 USD.pdf                                  59972       3/30/2023 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__786032_item-22_5000704363-22-
31\check_images\74474                             300.00 USD.pdf                                  63493       5/3/2023 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__799200_item-1_5000734689-1-
31\check_images\74474                             300.00 USD.pdf                                  73905        6/2/2023 8:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__811183_item-19_5000764542-19-
31\check_images\74474                             1180.00 USD.pdf                                 72284       6/30/2023 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__828602_item-44_5000795764-44-
31\check_images\74474                             300.00 USD.pdf                                  62996       8/7/2023 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__836631_item-8_5000826007-8-
31\check_images\74474                             300.00 USD.pdf                                  63492      8/28/2023 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__849335_item-6_5000856702-6-
31\check_images\74474                             300.00 USD.pdf                                  63446      9/26/2023 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__877209_item-27_5000889029-27-
31\check_images\74474                             300.00 USD.pdf                                  40174      11/29/2023 9:56



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 897 of
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               All Paths/Locations                                  Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__881330_item-28_5000923029-28-
31\check_images\74474                             300.00 USD.pdf                                      46757      12/5/2023 18:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__896514_item-16_5000963437-16-
31\check_images\74474                             300.00 USD.pdf                                      56060      1/10/2024 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__914324_item-12_5000995445-12-
31\check_images\74474                             300.00 USD.pdf                                      53155       2/22/2024 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__920764_item-3_5001026228-3-
31\check_images\74474                             300.00 USD.pdf                                      53884        3/6/2024 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__959939_item-12_5001059689-12-
31\check_images\74474                             300.00 USD.pdf                                      45928       6/5/2024 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__947854_item-16_5001091092-16-
31\check_images\74474                             300.00 USD.pdf                                      54097       5/7/2024 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-03-01__611902_FW_ APPROVAL NEEDED_
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- Servicing HB Release 03-22-2022 CONFIRMATION-
31\check_images\74475                             Fred Love Approval.pdf                             218059       4/5/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-04-01__620477_RE_ Servicing HB Release
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 04_21_2022 APPROVAL NEEDED-FLove
31\check_images\74475                             Approval.pdf                                       218535      4/22/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__666026_10261_1989-1-2677.64
31\check_images\74475                             USD.pdf                                             35489      6/27/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__666022_10261_1989-1-2677.64
31\check_images\74475                             USD.pdf                                             35489      6/27/2022 10:40



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__666016_10310_1992-32-669.41
31\check_images\74475                             USD.pdf                                       27652       7/6/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__665799_2385656-45-7274.46
31\check_images\74475                             USD.pdf                                       47943        8/2/2022 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__680206_item-19_2387414-19-
31\check_images\74475                             7274.46 USD.pdf                               33563       9/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__692718_item-27_2388969-27-
31\check_images\74475                             7274.46 USD.pdf                               40212      10/3/2022 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__708190_item-8_2390648-8-
31\check_images\74475                             7274.46 USD.pdf                               32462      11/7/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__718738_item-35_2392262-35-
31\check_images\74475                             7274.46 USD.pdf                               40192      12/2/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__730257_item-10_2393783-10-
31\check_images\74475                             7274.46 USD.pdf                               35405       1/3/2023 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__745966_item-24_2395409-24-
31\check_images\74475                             7274.46 USD.pdf                               38641       2/2/2023 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__759582_item-15_2396965-15-
31\check_images\74475                             7492.69 USD.pdf                               77806        3/6/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__772697_item-34_2398536-34-
31\check_images\74475                             7492.69 USD.pdf                               42651       4/3/2023 16:16



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__785823_item-6_2400099-6-
31\check_images\74475                             7492.69 USD.pdf                                 42560       5/2/2023 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__795815_item-22_2401630-22-
31\check_images\74475                             7492.69 USD.pdf                                 30983      5/30/2023 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__812543_item-22_2403125-22-
31\check_images\74475                             7492.69 USD.pdf                                 39619       7/3/2023 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__826241_item-32_2404610-32-
31\check_images\74475                             7492.69 USD.pdf                                 35473       8/1/2023 16:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__840136_item-2_2406121-2-
31\check_images\74475                             7492.69 USD.pdf                                 29968        9/5/2023 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__897183_12273_item-43_2013-43-
31\check_images\74475                             3779.54 USD.pdf                                 37176     10/13/2023 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__897161_12341_item-1_2017-1-
31\check_images\74475                             3779.54 USD.pdf                                 45382      11/6/2023 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__897163_12462_2061 3779.54
31\check_images\74475                             Hammond.pdf                                    322933       12/8/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__905544_item-1_2024-1-7559.08
31\check_images\74475                             USD.pdf                                         32540       1/31/2024 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__905547_item-1_2024-1-7559.08
31\check_images\74475                             USD.pdf                                         32540       1/31/2024 9:13



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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__920951_item-4_2027-4-3892.93
31\check_images\74475                             USD.pdf                                        34417       3/6/2024 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\74475                             2024-04-01__933928_2072 3892.93.pdf           308575        4/4/2024 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\74475                             2024-05-01__947831_2036 3892.93.pdf           393744       5/7/2024 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-29__741591_Volans Collection
31\check_images\74560                             01232023.pdf                                  224881       1/24/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-28__758756_Volans Collection
31\check_images\74560                             02272023.pdf                                  252652       2/28/2023 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\74560                             2023-03-29__767301_volans 3.23.23.pdf         228378       3/24/2023 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-29__779720_Volans Collection
31\check_images\74560                             04192023.pdf                                  231301       4/20/2023 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-29__798839_Volans Collection
31\check_images\74560                             05302023.pdf                                  244735       6/1/2023 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-29__809680_Volans Collection
31\check_images\74560                             06262023.pdf                                  236511       6/27/2023 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-29__822136_Volans Collection
31\check_images\74560                             07242023.pdf                                  240505       7/25/2023 9:30



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               All Paths/Locations                                Unified Title                   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-29__855028_Volans August 23
31\check_images\74560                             Statement.pdf                                       39210      10/6/2023 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-29__861347_Volans September 23
31\check_images\74560                             Statement.pdf                                       43279     10/23/2023 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-29__873791_Volans Collection
31\check_images\74560                             10232023.pdf                                       145917       11/1/2023 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-29__885425_Volans Collection
31\check_images\74560                             Statement Nov 2023.pdf                              42743     12/15/2023 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-29__900091_Volans Collection 1201-
31\check_images\74560                             12312023.pdf                                       131777     12/30/2023 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-29__906425_Volans January 24
31\check_images\74560                             Statement.pdf                                      982493       2/2/2024 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-29__906426_Volans January 24
31\check_images\74560                             Statement.pdf                                      982493       2/2/2024 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\74560                             2024-02-29__925373_CT Lottery 03142024.pdf          39294      3/14/2024 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-29__935048_Volans Collection
31\check_images\74560                             03312024.pdf                                        41357       4/5/2024 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-29__946631_Volans Collections April 1
31\check_images\74560                             to 30.pdf                                        1589054        5/1/2024 16:10



                                                               900
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               All Paths/Locations                                 Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-15__615838_RE_ Servicing HB Release
31\check_images\76113                             04-07-2022 APPROVAL NEEDED.pdf                   211263       4/13/2022 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__928693_item-10_5302900079-10-
31\check_images\76113                             100000.00 USD.pdf                                 23158      3/26/2024 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__715514_item-18_335180-18-
31\check_images\76134                             17000.00 USD.pdf                                  57460      11/28/2022 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__875721_item-16_517778-16-
31\check_images\76134                             17000.00 USD.pdf                                  52349     11/27/2023 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-20__725556_item-8_5000562731-8-
31\check_images\78166                             69849.41 USD.pdf                                  78125     12/19/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-20__885724_item-8_5000948789-8-
31\check_images\78166                             69849.41 USD.pdf                                  45954      12/18/2023 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-30__585967_312904648-12-1510.31
31\check_images\78262                             USD.pdf                                           61805       6/1/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-28__591499_312870796-39-1510.31
31\check_images\78262                             USD.pdf                                           50639      2/28/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-30__599599_312879235-19-1510.31
31\check_images\78262                             USD.pdf                                           61469      3/16/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-30__613479_312888110-34-1510.31
31\check_images\78262                             USD.pdf                                           59492       4/6/2022 13:41



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-30__623518_312896143-15-1510.31
31\check_images\78262                             USD.pdf                                         58195      4/28/2022 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-30__652352_312913360-23-1510.31
31\check_images\78262                             USD.pdf                                         57755       7/1/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-30__665346_312921436-13-1510.31
31\check_images\78262                             USD.pdf                                         59412       8/1/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-30__679716_item-36_312929816-36-
31\check_images\78262                             1510.31 USD.pdf                                 57481       9/1/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-30__693280_item-18_312937992-18-
31\check_images\78262                             1510.31 USD.pdf                                 52732       10/4/2022 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-30__705547_item-10_312947923-10-
31\check_images\78262                             1510.31 USD.pdf                                 51611      11/1/2022 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-30__718447_item-17_5000539696-17-
31\check_images\78262                             1510.31 USD.pdf                                 60766      12/2/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-30__732615_item-41_5000580563-41-
31\check_images\78262                             1510.31 USD.pdf                                 66805       1/5/2023 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-30__743773_item-10_5000613691-10-
31\check_images\78262                             1510.31 USD.pdf                                 57603      1/30/2023 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-28__759024_item-26_5000643642-26-
31\check_images\78262                             1510.31 USD.pdf                                 65603        3/2/2023 8:58



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-30__774615_item-39_5000676626-39-
31\check_images\78262                             1510.31 USD.pdf                                 60478       4/6/2023 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-30__783809_item-18_5000707266-18-
31\check_images\78262                             1510.31 USD.pdf                                 59920       5/1/2023 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-30__800497_item-6_5000738270-6-
31\check_images\78262                             1510.31 USD.pdf                                 81638       6/5/2023 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-30__812566_item-30_5000767799-30-
31\check_images\78262                             1200.08 USD.pdf                                 60282        7/3/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-30__825132_item-7_5000798340-7-
31\check_images\78262                             1057.22 USD.pdf                                 60213      7/31/2023 18:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-30__840751_item-37_5000830403-37-
31\check_images\78262                             1057.22 USD.pdf                                 52979       9/5/2023 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-30__851611_item-2_5000859292-2-
31\check_images\78262                             1057.22 USD.pdf                                 52431      10/2/2023 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-30__867289_item-12_5000892346-12-
31\check_images\78262                             1057.22 USD.pdf                                 43942       11/6/2023 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-30__879415_item-4_5000927098-4-
31\check_images\78262                             1057.22 USD.pdf                                 53229      12/4/2023 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-30__892832_item-16_5000965566-16-
31\check_images\78262                             1057.22 USD.pdf                                 57452       1/2/2024 17:31



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-30__908195_item-15_5000999234-15-
31\check_images\78262                             1057.22 USD.pdf                                 47011       2/6/2024 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-29__918581_item-34_5001030559-34-
31\check_images\78262                             1057.22 USD.pdf                                 60400        3/4/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-30__933450_item-9_5001062725-9-
31\check_images\78262                             1057.22 USD.pdf                                 46519       4/3/2024 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-30__947130_item-25_5001094293-25-
31\check_images\78262                             1057.22 USD.pdf                                 45495       5/6/2024 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-30__959068_item-20_5001126100-20-
31\check_images\78262                             1057.22 USD.pdf                                 52599        6/4/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-19__588826_3321844-27-310.03
31\check_images\78321                             USD.pdf                                         59962      2/22/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-19__603870_3372250-1-310.03
31\check_images\78321                             USD.pdf                                         60241       3/23/2022 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-19__618060_3423121-11-310.03
31\check_images\78321                             USD.pdf                                         56797      4/18/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-19__630930_3473706-9-310.03
31\check_images\78321                             USD.pdf                                         57717      5/16/2022 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-19__643355_3524086-20-310.03
31\check_images\78321                             USD.pdf                                         55121       6/13/2022 9:39



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-19__657884_3574331-7-310.03
31\check_images\78321                             USD.pdf                                          53408      7/14/2022 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-19__671346_3624530-31-310.03
31\check_images\78321                             USD.pdf                                          53273      8/15/2022 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-19__684212_item-6_3673436-6-310.03
31\check_images\78321                             USD.pdf                                          47993      9/13/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-19__698117_item-39_3722290-39-
31\check_images\78321                             310.03 USD.pdf                                   54189      10/14/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-19__709908_item-28_3770833-28-
31\check_images\78321                             310.03 USD.pdf                                   57618     11/14/2022 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-19__722208_item-44_3818977-44-
31\check_images\78321                             310.03 USD.pdf                                   57204     12/12/2022 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-19__737072_item-1_3866911-1-310.03
31\check_images\78321                             USD.pdf                                          55586       1/13/2023 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-19__750018_item-16_3914525-16-
31\check_images\78321                             310.03 USD.pdf                                   56637      2/13/2023 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-19__763136_item-45_3961097-45-
31\check_images\78321                             310.03 USD.pdf                                   58423      3/13/2023 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78321                             2023-04-19__778629_310.03.pdf                    60046       4/18/2023 8:53



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-19__791326_item-40_4054625-40-
31\check_images\78321                             310.03 USD.pdf                                   58680      5/15/2023 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-19__802881_item-18_4099151-18-
31\check_images\78321                             310.03 USD.pdf                                   56882      6/12/2023 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-19__818333_item-30_4144813-30-
31\check_images\78321                             310.03 USD.pdf                                   57426      7/17/2023 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-19__831748_item-28_4192977-28-
31\check_images\78321                             310.03 USD.pdf                                   51186       8/15/2023 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-19__844518_item-15_4237056-15-
31\check_images\78321                             310.03 USD.pdf                                   53735       9/14/2023 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-19__857744_item-14_4280811-14-
31\check_images\78321                             310.03 USD.pdf                                   54877     10/13/2023 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-19__870306_item-6_4323747-6-310.03
31\check_images\78321                             USD.pdf                                          53143     11/13/2023 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-19__885067_item-11_4366951-11-
31\check_images\78321                             310.03 USD.pdf                                   53892      12/15/2023 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-19__899026_item-32_4409677-32-
31\check_images\78321                             310.03 USD.pdf                                   55209      1/17/2024 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78321                             2024-02-19__910495_310.03.pdf                    57250       2/13/2024 7:52



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 908 of
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               All Paths/Locations                                 Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-19__925156_item-24_4492326-24-
31\check_images\78321                             310.03 USD.pdf                                52886      3/18/2024 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-19__936906_item-23_4533453-23-
31\check_images\78321                             310.03 USD.pdf                                49837      4/15/2024 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-19__950421_item-15_4573537-15-
31\check_images\78321                             310.03 USD.pdf                                54920      5/13/2024 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-08__807551_item-35_33716099-35-
31\check_images\78345                             90561.40 USD.pdf                             100100       6/23/2023 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-08__807553_item-35_33716099-35-
31\check_images\78345                             90561.40 USD.pdf                             100100       6/23/2023 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-08__807554_item-35_33716099-35-
31\check_images\78345                             90561.40 USD.pdf                             100100       6/23/2023 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-08__807556_item-35_33716099-35-
31\check_images\78345                             90561.40 USD.pdf                             100100       6/23/2023 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-08__807557_item-35_33716099-35-
31\check_images\78345                             90561.40 USD.pdf                             100100       6/23/2023 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-08__807559_item-35_33716099-35-
31\check_images\78345                             90561.40 USD.pdf                             100100       6/23/2023 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-08__807560_item-35_33716099-35-
31\check_images\78345                             90561.40 USD.pdf                             100100       6/23/2023 9:49



                                                             907
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 909 of
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               All Paths/Locations                                 Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-08__807561_item-35_33716099-35-
31\check_images\78345                             90561.40 USD.pdf                             100100       6/23/2023 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-08__807563_item-35_33716099-35-
31\check_images\78345                             90561.40 USD.pdf                             100100       6/23/2023 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-08__807564_item-35_33716099-35-
31\check_images\78345                             90561.40 USD.pdf                             100100       6/23/2023 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-08__812758_item-33_33727735-33-
31\check_images\78345                             9056.14 USD.pdf                               96858       7/3/2023 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-08__828673_item-24_33758624-24-
31\check_images\78345                             9056.14 USD.pdf                               98452       8/7/2023 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-25__585951_17763595-31-305.46
31\check_images\78361                             USD.pdf                                       60308      2/10/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-25__598060_17779302-6-305.46
31\check_images\78361                             USD.pdf                                       51604      3/15/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-25__606763_17793845-16-305.46
31\check_images\78361                             USD.pdf                                       56996      3/28/2022 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-25__623877_17809559-22-305.46
31\check_images\78361                             USD.pdf                                       54976      4/29/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-25__637434_17824512-15-305.46
31\check_images\78361                             USD.pdf                                       55972      5/31/2022 20:38



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 910 of
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-25__651286_17837659-4-305.46
31\check_images\78361                             USD.pdf                                       51872      6/29/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-25__664104_17851797-11-305.46
31\check_images\78361                             USD.pdf                                       57533      7/29/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-25__677791_17865962-43-305.46
31\check_images\78361                             USD.pdf                                       54978      8/30/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-25__691459_item-9_17879938-9-
31\check_images\78361                             305.46 USD.pdf                                56446       9/29/2022 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-25__704979_item-19_17894767-19-
31\check_images\78361                             305.46 USD.pdf                                56250      11/1/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-25__716324_item-23_17910338-23-
31\check_images\78361                             305.46 USD.pdf                                54315     11/29/2022 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-25__728808_item-19_17929781-19-
31\check_images\78361                             305.46 USD.pdf                                53669     12/28/2022 10:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-25__742284_item-4_17944892-4-
31\check_images\78361                             305.46 USD.pdf                                59030      1/30/2023 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-25__756704_item-34_17958766-34-
31\check_images\78361                             305.46 USD.pdf                                58237      2/28/2023 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-25__767027_item-10_17972315-10-
31\check_images\78361                             305.46 USD.pdf                                53017       3/24/2023 9:24



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-25__782882_item-11_17986429-11-
31\check_images\78361                             305.46 USD.pdf                                53123      4/27/2023 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-25__795447_item-26_17999764-26-
31\check_images\78361                             305.46 USD.pdf                                52523       5/26/2023 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-25__807945_item-36_18012616-36-
31\check_images\78361                             305.46 USD.pdf                                53377      6/26/2023 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-25__824026_item-5_18025826-5-
31\check_images\78361                             305.46 USD.pdf                                55515      7/31/2023 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-25__835730_item-4_18038493-4-
31\check_images\78361                             305.46 USD.pdf                                59147      8/28/2023 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-25__849104_item-3_18051795-3-
31\check_images\78361                             305.46 USD.pdf                                51802       9/26/2023 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-25__862467_item-44_18065731-44-
31\check_images\78361                             305.46 USD.pdf                                57178     10/27/2023 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-25__876101_item-15_18079877-15-
31\check_images\78361                             305.46 USD.pdf                                61600      11/28/2023 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-25__891220_item-9_18097287-9-
31\check_images\78361                             305.46 USD.pdf                                52659       1/2/2024 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-25__901853_item-7_18110574-7-
31\check_images\78361                             305.46 USD.pdf                                51981      1/26/2024 13:37



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               All Paths/Locations                                 Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-25__915733_item-40_18123872-40-
31\check_images\78361                             305.46 USD.pdf                                      53773      2/26/2024 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-25__929844_item-1_18136622-1-
31\check_images\78361                             305.46 USD.pdf                                      53862      3/29/2024 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-25__942536_item-1_18149732-1-
31\check_images\78361                             305.46 USD.pdf                                      50924      4/29/2024 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-25__957603_item-39_18161805-39-
31\check_images\78361                             305.46 USD.pdf                                      55171      5/30/2024 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-19__601771_456947-36-20000.00
31\check_images\78405                             USD.pdf                                             33537      3/20/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__916762_item-26_4480033-26-
31\check_images\78440                             20314.99 USD.pdf                                    51797      2/27/2024 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-15__618722_Copy of SuttonPark Capital
31\check_images\78495                             Payments Goldstar.xls                               37888      4/19/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-15__618754_Copy of SuttonPark Capital
31\check_images\78495                             Payments Goldstar.xls                               37888      4/19/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-15__632746_GoldStar Wire Info 5 19
31\check_images\78495                             2022.pdf                                           327430      5/19/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78495                             2022-06-15__646112_Goldstar 6 21 2022.pdf          921719       6/21/2022 8:42



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               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78495                             2022-07-15__658629_Goldstar 7 18 2022.pdf         311135      7/18/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-15__674821_Goldstar Posting
31\check_images\78495                             08252022.pdf                                      928740      8/25/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78495                             2022-09-15__685263_Goldstar 9 15 2022.pdf         926396      9/15/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78495                             2022-10-15__700110_Goldstar 10 18 thomas.pdf      896021      10/20/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78495                             2022-11-15__714031_Goldstar 11 22 2022.pdf        907841     11/22/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78495                             2022-12-15__725352_Goldstar 12 19 2022.pdf        907848     12/19/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78495                             2023-01-15__738647_Goldstar 1 18 2023.pdf         909662      1/18/2023 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-15__751955_goldstar 2 17 2023
31\check_images\78495                             2nd.pdf                                           916898       2/17/2023 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78495                             2023-03-15__765325_goldstar 3 20 2023.pdf         907883       3/20/2023 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78495                             2023-04-15__777491_goldstar 4 14 2023.pdf         910583      4/14/2023 10:30



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               All Paths/Locations                                Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78495                             2023-05-15__792727_goldstar 5 18 2023.pdf        908350       5/18/2023 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78495                             2023-06-15__804978_goldstar 6 14 2023.pdf        895189       6/15/2023 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78495                             2023-07-15__820954_goldstar 7 24 2023.pdf        890927      7/24/2023 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78495                             2023-08-15__833314_goldstar 8 18 2023.pdf        894017      8/18/2023 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-15__846849_FW Goldstar Deposit from
31\check_images\78495                             9_13_2023 to 9_19_2023.pdf                       204737      9/20/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-15__867471_FW Goldstar Deposit from
31\check_images\78495                             10_11_2023 to 11_03_2023.pdf                     899493      11/6/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78495                             2023-11-15__876125_goldstar 11 28 2023.pdf       970498      11/28/2023 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78495                             2023-12-15__886371_GoldStar 12192023.pdf         106232      12/19/2023 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78495                             2024-01-15__899957_GoldStar 01182024.pdf         103557      1/18/2024 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78495                             2024-02-15__911806_GoldStar 02152024.pdf          67813       2/15/2024 9:31



                                                              913
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78495                             2024-03-15__925959_GoldStar 03192024.pdf       112061      3/19/2024 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78495                             2024-04-15__939529_GoldStar 04182024.pdf       154317      4/18/2024 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-12__603542_1906580899-41-577.03
31\check_images\78500                             USD.pdf                                         54520      3/22/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-12__646036_1906593349-29-577.03
31\check_images\78500                             USD.pdf                                         71951       6/17/2022 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-12__683712_item-36_1906605561-36-
31\check_images\78500                             577.03 USD.pdf                                 166461      9/12/2022 18:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-12__722226_item-36_1906617829-36-
31\check_images\78500                             577.03 USD.pdf                                 103693     12/12/2022 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-12__762833_item-5_1906629778-5-
31\check_images\78500                             577.03 USD.pdf                                  65116      3/13/2023 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-12__804002_item-11_1906641261-11-
31\check_images\78500                             577.03 USD.pdf                                  66314      6/13/2023 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-12__844598_item-18_1906652542-18-
31\check_images\78500                             577.03 USD.pdf                                  89232       9/14/2023 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-12__885142_item-27_1906663661-27-
31\check_images\78500                             577.03 USD.pdf                                  74683     12/15/2023 10:47



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               All Paths/Locations                                 Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-12__924443_item-12_1906674343-12-
31\check_images\78500                             577.03 USD.pdf                                     56492      3/15/2024 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-27__618461_RE_ Servicing HB Release
31\check_images\78514                             04 14 2022 CONFIRMATION - FLove Approval.pdf      257917      4/19/2022 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-27__632709_Re_ Servicing HB Release
31\check_images\78514                             05 12 2022 FLove Approval.pdf                     240036      5/19/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78514                             2022-05-27__664239_11218434 203.73.pdf            424567        8/1/2022 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-27__677502_11220945-27-203.73
31\check_images\78514                             USD.pdf                                            95283      8/30/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-27__691831_item-40_11223382-40-
31\check_images\78514                             203.73 USD.pdf                                     93391       9/30/2022 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-27__703981_item-10_11225758-10-
31\check_images\78514                             203.73 USD.pdf                                     91708      10/31/2022 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-27__716568_item-32_11228306-32-
31\check_images\78514                             203.73 USD.pdf                                     35484     11/29/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-27__731862_item-19_11232006-19-
31\check_images\78514                             203.73 USD.pdf                                     34587       1/4/2023 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-27__743144_item-14_11234630-14-
31\check_images\78514                             203.73 USD.pdf                                     38787      1/30/2023 13:26



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-27__756533_item-28_11237181-28-
31\check_images\78514                             203.73 USD.pdf                                39279      2/27/2023 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-27__768811_item-6_11240030-6-
31\check_images\78514                             203.73 USD.pdf                                40108      3/27/2023 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-27__782977_item-6_11242966-6-
31\check_images\78514                             203.73 USD.pdf                                37272       4/28/2023 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-27__796847_item-22_11245663-22-
31\check_images\78514                             203.73 USD.pdf                               141685       5/31/2023 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-27__902075_item-10_11267317-10-
31\check_images\78514                             203.73 USD.pdf                                38151       1/29/2024 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-27__943783_item-3_11275205-3-
31\check_images\78514                             203.73 USD.pdf                                34247      4/30/2024 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-27__809918_item-37_11248268-37-
31\check_images\78514                             203.73 USD.pdf                                43044      6/27/2023 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-27__823907_item-29_11251020-29-
31\check_images\78514                             203.73 USD.pdf                                42843      7/31/2023 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-27__836787_item-9_11253479-9-
31\check_images\78514                             203.73 USD.pdf                                40474      8/28/2023 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-27__851325_item-40_11256197-40-
31\check_images\78514                             203.73 USD.pdf                                33619      9/29/2023 14:15



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-27__864166_item-43_11258811-43-
31\check_images\78514                             203.73 USD.pdf                                36531      10/30/2023 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-27__878617_item-1_11261418-1-
31\check_images\78514                             203.73 USD.pdf                                41253       12/1/2023 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-27__891218_item-8_11264970-8-
31\check_images\78514                             203.73 USD.pdf                                43385       1/2/2024 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-27__917796_item-25_11269947-25-
31\check_images\78514                             203.73 USD.pdf                                39462      2/29/2024 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-27__929802_item-9_11272593-9-
31\check_images\78514                             203.73 USD.pdf                                34695       3/29/2024 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-27__955087_item-1_11277715-1-
31\check_images\78514                             203.73 USD.pdf                                32022      5/28/2024 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-29__741595_Volans Collection
31\check_images\78534                             01232023.pdf                                 224881       1/24/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-28__758761_Volans Collection
31\check_images\78534                             02272023.pdf                                 252652       2/28/2023 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78534                             2023-03-29__767308_volans 3.23.23.pdf        228378       3/24/2023 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-29__779722_Volans Collection
31\check_images\78534                             04192023.pdf                                 231301       4/20/2023 9:32



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-29__798845_Volans Collection
31\check_images\78534                             05302023.pdf                                    244735       6/1/2023 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-29__809692_Volans Collection
31\check_images\78534                             06262023.pdf                                    236511       6/27/2023 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-29__822143_Volans Collection
31\check_images\78534                             07242023.pdf                                    240505       7/25/2023 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-29__855030_Volans August 23
31\check_images\78534                             Statement.pdf                                    39210      10/6/2023 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-29__861350_Volans September 23
31\check_images\78534                             Statement.pdf                                    43279     10/23/2023 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-29__873789_Volans Collection
31\check_images\78534                             10232023.pdf                                    145917       11/1/2023 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-29__885431_Volans Collection
31\check_images\78534                             Statement Nov 2023.pdf                           42743     12/15/2023 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-29__900094_Volans Collection 1201-
31\check_images\78534                             12312023.pdf                                    131777     12/30/2023 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-29__906427_Volans January 24
31\check_images\78534                             Statement.pdf                                   982493       2/2/2024 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78534                             2024-02-29__925384_CT Lottery 03142024.pdf       39294      3/14/2024 16:48



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               All Paths/Locations                                Unified Title                   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78534                             2024-02-29__925388_CT Lottery 03142024.pdf          39294      3/14/2024 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-29__935050_Volans Collection
31\check_images\78534                             03312024.pdf                                        41357       4/5/2024 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-29__946626_Volans Collections April 1
31\check_images\78534                             to 30.pdf                                        1589054        5/1/2024 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78557                             2022-05-22__637662_1917413106 85260.00.pdf         245161      5/31/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-22__797069_11732_item-
31\check_images\78557                             1_1917744173-1-127890.00 USD.pdf                   279352      5/31/2023 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-22__955339_Asellus Receivables II
31\check_images\78557                             1918080711 05282024.pdf                             79920      5/28/2024 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-01__612018_10168713-30-3997.72
31\check_images\78595                             USD.pdf                                             75412       4/5/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__624275_10210529-6-3997.72
31\check_images\78595                             USD.pdf                                             72509        5/2/2022 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__637564_10252145-24-3997.72
31\check_images\78595                             USD.pdf                                             70286        6/1/2022 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__652140_10291907-17-3997.72
31\check_images\78595                             USD.pdf                                             70681        7/1/2022 8:36



                                                               919
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 921 of
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__664274_10329715-37-4137.24
31\check_images\78595                             USD.pdf                                       71786        8/1/2022 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__678561_10369890-8-4137.24
31\check_images\78595                             USD.pdf                                       69665      8/31/2022 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__693137_item-31_10409423-31-
31\check_images\78595                             4137.24 USD.pdf                               76006      10/3/2022 20:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__704125_item-30_10448896-30-
31\check_images\78595                             4137.24 USD.pdf                               70164     10/31/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__719337_item-8_10495289-8-
31\check_images\78595                             4137.24 USD.pdf                               74591      12/5/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__732068_item-18_10546687-18-
31\check_images\78595                             4137.24 USD.pdf                               71872       1/4/2023 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__747396_item-26_10589290-26-
31\check_images\78595                             4137.24 USD.pdf                               72475        2/6/2023 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__760058_item-43_10629391-43-
31\check_images\78595                             4137.24 USD.pdf                               71792       3/6/2023 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__773756_item-31_10676400-31-
31\check_images\78595                             4137.24 USD.pdf                               69791       4/5/2023 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__784020_item-24_10716118-24-
31\check_images\78595                             4137.24 USD.pdf                               66183       5/1/2023 15:35



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 922 of
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__798788_item-17_10760115-17-
31\check_images\78595                             4137.24 USD.pdf                               68757       6/1/2023 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__813434_item-14_10800292-14-
31\check_images\78595                             4137.24 USD.pdf                               68144       7/5/2023 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__825948_item-31_10839336-31-
31\check_images\78595                             4280.95 USD.pdf                               76018       8/1/2023 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__840370_item-14_10879380-14-
31\check_images\78595                             4280.95 USD.pdf                               74070        9/5/2023 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__852469_item-25_10917173-25-
31\check_images\78595                             4280.95 USD.pdf                               71886      10/2/2023 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__866327_item-34_10958212-34-
31\check_images\78595                             4280.95 USD.pdf                               65094      11/1/2023 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__879654_item-24_11002286-24-
31\check_images\78595                             4280.95 USD.pdf                               66343       12/4/2023 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__891027_item-3_11050440-3-
31\check_images\78595                             4280.95 USD.pdf                               73289       1/2/2024 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__904761_item-9_11095589-9-
31\check_images\78595                             4280.95 USD.pdf                               70682      1/31/2024 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__919029_item-12_11135635-12-
31\check_images\78595                             4280.95 USD.pdf                               70197       3/4/2024 13:10



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               All Paths/Locations                                 Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__933075_item-43_11177911-43-
31\check_images\78595                             4280.95 USD.pdf                                   60619       4/3/2024 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__944579_item-16_11219108-16-
31\check_images\78595                             4280.95 USD.pdf                                   66678      4/30/2024 18:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-06__918741_item-7_5001031655-7-
31\check_images\78674                             8000.00 USD.pdf                                   46846        3/4/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-03-28__620478_RE_ Servicing HB Release
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 04_21_2022 APPROVAL NEEDED-FLove
31\check_images\78711                             Approval.pdf                                     218535      4/22/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-28__632710_Re_ Servicing HB Release
31\check_images\78711                             05 12 2022 FLove Approval.pdf                    240036      5/19/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-28__644280_Re_ Servicing HB Release
31\check_images\78711                             06-13-22 APPROVAL NEEDED.pdf                     233123      6/14/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-06-28__659530_Re_ Servicing HB Release
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 07_19_22 APPROVAL NEEDED- FLove
31\check_images\78711                             Approval.pdf                                     242661      7/19/2022 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-28__683083_IFTSBRW20220825_PHL-
31\check_images\78711                             9582-3744_024305P759.pdf                         264417      9/12/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-28__681414_item-1_10373821-1-
31\check_images\78711                             794.60 USD.pdf                                    78822        9/6/2022 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-28__694192_item-27_10414406-27-
31\check_images\78711                             794.60 USD.pdf                                    70323      10/4/2022 13:24



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-28__707647_item-32_10455366-32-
31\check_images\78711                             794.60 USD.pdf                                67907      11/7/2022 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-28__707651_item-32_10455366-32-
31\check_images\78711                             794.60 USD.pdf                                67907      11/7/2022 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-28__719553_item-44_10499112-44-
31\check_images\78711                             794.60 USD.pdf                                68549      12/5/2022 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-28__736459_item-29_10551173-29-
31\check_images\78711                             794.60 USD.pdf                                68234      1/11/2023 20:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-28__746638_item-3_10594866-3-
31\check_images\78711                             794.60 USD.pdf                                67543        2/6/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-28__761069_item-23_10638741-23-
31\check_images\78711                             794.60 USD.pdf                                68919       3/8/2023 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-28__761070_item-23_10638741-23-
31\check_images\78711                             794.60 USD.pdf                                68919       3/8/2023 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-28__772137_item-6_10680300-6-
31\check_images\78711                             794.60 USD.pdf                                76007       4/3/2023 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-28__787282_item-1_10725160-1-
31\check_images\78711                             794.60 USD.pdf                                71936       5/5/2023 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-28__799824_item-16_10764078-16-
31\check_images\78711                             794.60 USD.pdf                                71234        6/5/2023 9:09



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-28__814005_item-2_10805182-2-
31\check_images\78711                             794.60 USD.pdf                                69775       7/5/2023 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-28__827813_item-17_10845532-17-
31\check_images\78711                             794.60 USD.pdf                                67546        8/4/2023 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-28__840557_item-41_10882252-41-
31\check_images\78711                             794.60 USD.pdf                                70309       9/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-28__854668_item-40_10923214-40-
31\check_images\78711                             794.60 USD.pdf                                66898      10/5/2023 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-28__867873_item-13_10963421-13-
31\check_images\78711                             794.60 USD.pdf                                67705      11/6/2023 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-28__880198_item-1_11007242-1-
31\check_images\78711                             794.60 USD.pdf                                68056       12/4/2023 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-28__894549_item-41_11057761-41-
31\check_images\78711                             794.60 USD.pdf                                66842       1/5/2024 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-28__906935_item-22_11099685-22-
31\check_images\78711                             794.60 USD.pdf                                71788       2/5/2024 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-28__921500_item-13_11142692-13-
31\check_images\78711                             794.60 USD.pdf                                72625        3/7/2024 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-28__933809_item-4_11184178-4-
31\check_images\78711                             1018.59 USD.pdf                               63340       4/3/2024 17:17



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               All Paths/Locations                                 Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-28__947563_item-1_11225877-1-
31\check_images\78711                             1018.59 USD.pdf                                  67948       5/6/2024 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-28__958727_item-31_11262751-31-
31\check_images\78711                             1018.59 USD.pdf                                  69939       6/3/2024 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-22__636398_1917413099-3-35525.00
31\check_images\78722                             USD.pdf                                          78867      5/27/2022 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-22__795227_item-1_1917744172-2-
31\check_images\78722                             35525.00 USD.pdf                                 79099      5/26/2023 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-22__955533_item-1_1918080710-2-
31\check_images\78722                             35525.00 USD.pdf                                 74386      5/28/2024 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78826                             2022-06-29__651560_volans 6.27.22.pdf           193339      6/29/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78826                             2022-07-29__663398_volans 7.25.22.pdf           209045      7/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78826                             2022-08-29__679275_volans 8.29.22.pdf           200079      8/30/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78826                             2022-09-29__691085_CT Lottery 09262022.pdf      192424       9/27/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78826                             2022-10-29__702679_Volans 10242022.pdf          192412      10/25/2022 9:44



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78826                             2022-11-29__717611_Volans 11282022.pdf      198440     11/30/2022 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78826                             2022-12-29__728499_volans 12.27.22.pdf      201370     12/28/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-29__741617_Volans Collection
31\check_images\78826                             01232023.pdf                                224881       1/24/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-28__758784_Volans Collection
31\check_images\78826                             02272023.pdf                                252652       2/28/2023 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78826                             2023-03-29__767338_volans 3.23.23.pdf       228378       3/24/2023 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-29__779731_Volans Collection
31\check_images\78826                             04192023.pdf                                231301       4/20/2023 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-29__798914_Volans Collection
31\check_images\78826                             05302023.pdf                                244735       6/1/2023 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-29__809814_Volans Collection
31\check_images\78826                             06262023.pdf                                236511       6/27/2023 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-29__822195_Volans Collection
31\check_images\78826                             07242023.pdf                                240505       7/25/2023 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-29__855032_Volans August 23
31\check_images\78826                             Statement.pdf                                39210      10/6/2023 14:51



                                                             926
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 928 of
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               All Paths/Locations                                Unified Title                   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-29__861326_Volans September 23
31\check_images\78826                             Statement.pdf                                       43279     10/23/2023 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-29__873781_Volans Collection
31\check_images\78826                             10232023.pdf                                       145917       11/1/2023 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-29__885377_Volans Collection
31\check_images\78826                             Statement Nov 2023.pdf                              42743     12/15/2023 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-29__900117_Volans Collection 1201-
31\check_images\78826                             12312023.pdf                                       131777     12/30/2023 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-29__906435_Volans January 24
31\check_images\78826                             Statement.pdf                                      982493       2/2/2024 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-29__906436_Volans January 24
31\check_images\78826                             Statement.pdf                                      982493       2/2/2024 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78826                             2024-02-29__924463_CT Lottery 03142024.pdf          39294      3/14/2024 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-29__935042_Volans Collection
31\check_images\78826                             03312024.pdf                                        41357       4/5/2024 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-29__946561_Volans Collections April 1
31\check_images\78826                             to 30.pdf                                        1589054        5/1/2024 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-01__596890_9438_4389452-13-493.83
31\check_images\78836                             USD.pdf                                             41690       3/3/2022 19:01



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-01__610357_4396029-34-493.83
31\check_images\78836                             USD.pdf                                      41075       4/1/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__626306_4402849-13-493.83
31\check_images\78836                             USD.pdf                                      46044       5/4/2022 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__677267_4428001-2-493.83
31\check_images\78836                             USD.pdf                                      55163       8/30/2022 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__677910_4428064-6-493.83
31\check_images\78836                             USD.pdf                                      52659      8/30/2022 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__677945_4428083-42-493.83
31\check_images\78836                             USD.pdf                                      55706      8/30/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__678219_4429333-39-493.83
31\check_images\78836                             USD.pdf                                      53412       8/31/2022 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__692968_item-23_4435852-23-
31\check_images\78836                             493.83 USD.pdf                               56219      10/3/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__706100_item-33_4442341-33-
31\check_images\78836                             493.83 USD.pdf                               55036      11/2/2022 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__717361_item-11_4448577-11-
31\check_images\78836                             493.83 USD.pdf                               52891     11/30/2022 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__734145_item-20_4457205-20-
31\check_images\78836                             493.83 USD.pdf                               51386       1/9/2023 10:34



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__745674_item-11_4461837-11-
31\check_images\78836                             493.83 USD.pdf                                   51483       2/1/2023 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__757830_item-20_4468204-20-
31\check_images\78836                             493.83 USD.pdf                                   52244       3/1/2023 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__772936_item-31_4474523-31-
31\check_images\78836                             493.83 USD.pdf                                   51858        4/3/2023 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__783676_item-1_4481037-1-493.83
31\check_images\78836                             USD.pdf                                          50394       5/1/2023 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__797153_item-34_4487582-34-
31\check_images\78836                             493.83 USD.pdf                                   53295      5/31/2023 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__812056_item-43_4493894-43-
31\check_images\78836                             493.83 USD.pdf                                   51322        7/3/2023 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__824625_item-2_4500307-2-493.83
31\check_images\78836                             USD.pdf                                          51157      7/31/2023 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__838065_item-33_4506457-33-
31\check_images\78836                             493.83 USD.pdf                                   55021      8/29/2023 22:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__851685_item-5_4512807-5-493.83
31\check_images\78836                             USD.pdf                                          50035      10/2/2023 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__866651_item-1_4519112-1-493.83
31\check_images\78836                             USD.pdf                                          51875      11/2/2023 12:17



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__878095_item-21_4524873-21-
31\check_images\78836                             493.83 USD.pdf                                   52687     11/29/2023 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__895481_item-25_4533403-25-
31\check_images\78836                             493.83 USD.pdf                                   51270       1/9/2024 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__905080_item-12_4537954-12-
31\check_images\78836                             493.83 USD.pdf                                   47599        2/1/2024 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__918011_item-35_4543941-35-
31\check_images\78836                             493.83 USD.pdf                                   48463      2/29/2024 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__930749_item-43_4550336-43-
31\check_images\78836                             493.83 USD.pdf                                   57689       4/1/2024 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__946261_item-3_4556654-3-493.83
31\check_images\78836                             USD.pdf                                          59079       5/2/2024 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-27__955249_item-20_3849061-20-
31\check_images\78842                             195.16 USD.pdf                                   34707      5/28/2024 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-30__614155_1183451-18-65.71
31\check_images\78848                             USD.pdf                                          46627       4/7/2022 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-30__624949_1186510-21-65.71
31\check_images\78848                             USD.pdf                                          56118       5/2/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-30__638090_1191155-11-65.71
31\check_images\78848                             USD.pdf                                          49415      5/31/2022 12:54



                                                             930
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-30__652255_1194582-28-65.71
31\check_images\78848                             USD.pdf                                          51224        7/1/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78848                             2022-07-30__664091_1198333-6-65.71 USD.pdf       45735      7/29/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78848                             2022-08-30__677362_1202117-4-65.71 USD.pdf       48451      8/30/2022 10:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-30__691848_item-3_1205762-3-65.71
31\check_images\78848                             USD.pdf                                          57099      9/30/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-30__704960_item-13_1211307-13-
31\check_images\78848                             65.71 USD.pdf                                    48842      11/1/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-30__716019_item-1_1214835-1-65.71
31\check_images\78848                             USD.pdf                                          63059     11/29/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-30__728080_item-30_1218757-30-
31\check_images\78848                             65.71 USD.pdf                                    47905     12/27/2022 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-30__745196_item-24_1222959-24-
31\check_images\78848                             65.71 USD.pdf                                    54114       2/1/2023 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-28__758383_item-20_1226418-20-
31\check_images\78848                             65.71 USD.pdf                                    50493       3/1/2023 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-30__772583_item-9_1230403-9-65.71
31\check_images\78848                             USD.pdf                                          53696       4/3/2023 15:46



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 933 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-30__786722_item-18_407945-18-
31\check_images\78848                             735.00 USD.pdf                                  47347        5/4/2023 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-30__798865_item-1_1238590-1-65.71
31\check_images\78848                             USD.pdf                                         66092       6/1/2023 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-30__810616_item-7_1241732-7-65.71
31\check_images\78848                             USD.pdf                                         63969       6/29/2023 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-30__825903_item-22_1245348-22-
31\check_images\78848                             65.71 USD.pdf                                   64564       8/1/2023 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-30__838841_item-7_1248662-7-65.71
31\check_images\78848                             USD.pdf                                         62347      8/30/2023 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-30__853319_item-27_1252036-27-
31\check_images\78848                             65.71 USD.pdf                                   48341      10/3/2023 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-30__866750_item-11_1256993-11-
31\check_images\78848                             65.71 USD.pdf                                   56363      11/2/2023 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-30__878442_item-31_1259826-31-
31\check_images\78848                             65.71 USD.pdf                                   68947     11/30/2023 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-30__894971_item-31_1263800-31-
31\check_images\78848                             65.71 USD.pdf                                   60473       1/8/2024 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-30__905849_item-45_1267314-45-
31\check_images\78848                             65.71 USD.pdf                                   47352       2/1/2024 17:33



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 934 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-29__917948_item-17_1270293-17-
31\check_images\78848                             65.71 USD.pdf                                   50706      2/29/2024 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-30__947414_item-3_1275188-3-65.71
31\check_images\78848                             USD.pdf                                         45129       5/6/2024 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-30__946388_item-21_1278431-21-
31\check_images\78848                             65.71 USD.pdf                                   51509       5/2/2024 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-30__958212_item-1_1281643-1-65.71
31\check_images\78848                             USD.pdf                                         50593      5/31/2024 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2022-04-02__610474_2265_2_2.pdf                 80019       4/1/2022 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2022-05-02__622372_2265_38_3.pdf                76901      4/25/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2022-06-02__635093_2265_43_31.pdf               72012      5/25/2022 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2022-07-02__650033_2265_46_18.pdf               70029       6/27/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2022-08-02__663425_2265_48_2.pdf                80169      7/28/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2022-09-02__679457_2265_56_20.pdf               72383        9/1/2022 8:54



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 935 of
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2022-10-02__690295_item-177_2265_39_32.pdf       70584      9/26/2022 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2022-11-02__705227_item-141_2265_46_27.pdf       71287      10/31/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2022-12-02__717308_item-118_2265_40_21.pdf       71185     11/28/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2023-01-02__729024_item-61_2265_40_2.pdf         70515      12/29/2022 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2023-02-02__742224_item-46_2265_46_31.pdf        77746       1/27/2023 8:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2023-03-02__754457_item-4_2265_39_4.pdf          70466      2/23/2023 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2023-04-02__769716_item-215_2265_49_31.pdf       69662      3/27/2023 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2023-05-02__782953_item-5_2265_42_5.pdf          70231       4/27/2023 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2023-06-02__799609_item-172_2265_54_22.pdf       70494       6/1/2023 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2023-07-02__810269_item-36_2265_47_20.pdf        71835      6/28/2023 11:14



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2023-08-02__826589_item-134_2265_4_7.pdf         70649       8/2/2023 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2023-09-02__836351_item-124_2265_46_10.pdf       69223       8/28/2023 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2023-10-02__849378_item-102_2265_39_33.pdf       79649      9/26/2023 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2023-11-02__866495_item-108_2265_3_8.pdf         71242      11/1/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2023-12-02__875051_item-209_2265_45_1.pdf        77003     11/27/2023 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2024-01-02__890347_item-36_2265_49_36.pdf        81866     12/28/2023 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2024-02-02__902327_item-152_2265_53_4.pdf        70133       1/29/2024 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2024-03-02__916236_item-195_2265_41_15.pdf       77028       2/26/2024 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2024-04-02__928855_item-5_2265_50_5.pdf          85147       3/27/2024 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                             2024-05-02__943560_item-105_2265_54_11.pdf       70608       4/29/2024 8:01



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-15__642030_Atlantic Recev Check for 6
31\check_images\78881                             8 2022.pdf                                         172046       6/8/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-15__680862_Atlantic Receivables LLC
31\check_images\78881                             Check for 9 6 2022.pdf                           1124925        9/6/2022 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-15__684823_Atlantic Receivables LLC
31\check_images\78881                             Check for 9 14 2022.pdf                          1347605       9/14/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-15__698187_Atlantic Receivables LLC
31\check_images\78881                             Check for 10 14 2022.pdf                         1340772      10/14/2022 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-15__707814_Atlantic Receivables LLC
31\check_images\78881                             Check for 11 7 2022.pdf                          1236615       11/7/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-15__736166_Atlantic Receivables LLC
31\check_images\78881                             Check for 1 11 2023.pdf                          1284115       1/11/2023 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-15__740895_Atlantic Receivables LLC
31\check_images\78881                             Check for 1 24 2023.pdf                          1310410       1/24/2023 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-15__747776_Atlantic Receivables LLC
31\check_images\78881                             Check for 2 7 2023.pdf                           1338421        2/7/2023 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-15__759870_Atlantic Receivables LLC
31\check_images\78881                             Check for 3 6 2023.pdf                           1619826        3/6/2023 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-15__775000_Atlantic Receivables LLC
31\check_images\78881                             04072023.pdf                                        59597       4/7/2023 13:02



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-15__810493_Atlantic Receivables
31\check_images\78881                             06282023.pdf                                        57996      6/28/2023 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-15__802850_Atlantic Receivables
31\check_images\78881                             06122023.pdf                                        48687      6/12/2023 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-15__814769_Atlantic Receivables
31\check_images\78881                             07102023.pdf                                        62141       7/10/2023 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78881                             2023-08-15__830146_4302342090 400.00.pdf           748178       8/10/2023 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-15__843685_SearchResults - 2023-09-
31\check_images\78881                             11T155721.422.pdf                                   55435      9/11/2023 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78881                             2023-10-15__855889_Albino.pdf                      151702     10/10/2023 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-15__871873_Atlantic Receivables Check
31\check_images\78881                             for 11 13 2023.pdf                               1195992      11/15/2023 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-15__886364_SearchResults - 2023-12-
31\check_images\78881                             19T092456.411.pdf                                   56031      12/19/2023 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78881                             2024-01-15__896529_R Albino 01152024.pdf           159012      1/10/2024 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__910925_4302394179 400.00
31\check_images\78881                             02132024.pdf                                        51015      2/13/2024 13:31



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78881                             2024-03-15__922915_4302402911 400.00.pdf        41659       3/12/2024 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78881                             2024-04-15__935912_R Albino 04102024.pdf       130993      4/10/2024 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78881                             2024-05-15__947983_R Albino 05072024.pdf       137086       5/7/2024 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78891                             2023-08-15__833809_5000002035 7600.00.pdf      437129      8/21/2023 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__620879_230796-39-1277.30
31\check_images\78917                             USD.pdf                                         57324      4/25/2022 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__636176_245748-31-1277.30
31\check_images\78917                             USD.pdf                                         56451       5/27/2022 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__649973_260564-40-1277.30
31\check_images\78917                             USD.pdf                                         53936      6/28/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__661112_275416-37-1277.30
31\check_images\78917                             USD.pdf                                         62384      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__677726_290244-26-1277.30
31\check_images\78917                             USD.pdf                                         58191      8/30/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__688985_item-35_304711-35-
31\check_images\78917                             1277.30 USD.pdf                                 49594      9/26/2022 10:38



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 940 of
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__702723_item-6_320181-6-1277.30
31\check_images\78917                             USD.pdf                                          49911     10/27/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__714835_item-43_335178-43-
31\check_images\78917                             1277.30 USD.pdf                                  56655     11/28/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__728094_item-32_349630-32-
31\check_images\78917                             1277.30 USD.pdf                                  55367      12/27/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__742568_item-45_365196-45-
31\check_images\78917                             1277.30 USD.pdf                                  56519      1/30/2023 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__754185_item-18_379887-18-
31\check_images\78917                             1277.30 USD.pdf                                  57031      2/23/2023 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__768305_item-15_394405-15-
31\check_images\78917                             1277.30 USD.pdf                                  54814      3/27/2023 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__781219_item-34_409170-34-
31\check_images\78917                             1277.30 USD.pdf                                  58322       4/25/2023 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__794735_item-16_423699-16-
31\check_images\78917                             1277.30 USD.pdf                                  53959       5/26/2023 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__808441_item-15_437866-15-
31\check_images\78917                             1277.30 USD.pdf                                  53738      6/26/2023 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__822531_item-27_454154-27-
31\check_images\78917                             1277.30 USD.pdf                                  53464      7/27/2023 12:01



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 941 of
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               All Paths/Locations                                Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__836920_item-39_470201-39-
31\check_images\78917                             1277.30 USD.pdf                             57283       8/29/2023 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__848032_item-44_485587-44-
31\check_images\78917                             1277.30 USD.pdf                             52565       9/25/2023 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__862955_item-32_501947-32-
31\check_images\78917                             1277.30 USD.pdf                             53272     10/27/2023 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__876268_item-31_517791-31-
31\check_images\78917                             1277.30 USD.pdf                             56508     11/27/2023 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__890095_item-25_532893-25-
31\check_images\78917                             1277.30 USD.pdf                             52248     12/28/2023 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__903787_item-28_549472-28-
31\check_images\78917                             1277.30 USD.pdf                             52973      1/30/2024 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__917008_item-41_565203-41-
31\check_images\78917                             1277.30 USD.pdf                             52793      2/27/2024 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__928812_item-25_580707-25-
31\check_images\78917                             1277.30 USD.pdf                             51983      3/26/2024 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__942913_item-18_596147-18-
31\check_images\78917                             1277.30 USD.pdf                             51668      4/29/2024 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__625182_33331278-4-4483.71
31\check_images\78936                             USD.pdf                                     97686       5/2/2022 13:13



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__638583_33357490-24-4483.71
31\check_images\78936                             USD.pdf                                       98556      5/31/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__649607_33384211-16-4483.71
31\check_images\78936                             USD.pdf                                      100644      6/27/2022 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__664933_33413491-33-4483.71
31\check_images\78936                             USD.pdf                                       92519       8/1/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__676026_33438140-34-4483.71
31\check_images\78936                             USD.pdf                                       94599      8/29/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__689224_item-4_33464182-4-
31\check_images\78936                             4483.71 USD.pdf                               96182      9/26/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__704655_item-20_33491071-20-
31\check_images\78936                             4483.71 USD.pdf                               95444     10/31/2022 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__719669_item-39_33519480-39-
31\check_images\78936                             4483.71 USD.pdf                               93475      12/5/2022 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__732109_item-7_33558524-7-
31\check_images\78936                             4483.71 USD.pdf                               90582       1/4/2023 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__744025_item-42_33586496-42-
31\check_images\78936                             4483.71 USD.pdf                               91942      1/31/2023 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__755342_item-16_33613979-16-
31\check_images\78936                             4618.23 USD.pdf                               45273       2/27/2023 9:38



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               All Paths/Locations                                 Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__755374_item-17_33613980-17-
31\check_images\78936                             87500.00 USD.pdf                              89396       2/27/2023 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__771015_item-14_33641770-14-
31\check_images\78936                             4618.23 USD.pdf                               91318       3/31/2023 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__784353_item-38_33668697-38-
31\check_images\78936                             4618.23 USD.pdf                               91766       5/1/2023 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__798582_item-41_33694611-41-
31\check_images\78936                             4618.23 USD.pdf                               94309      5/30/2023 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__810757_item-6_33721770-6-
31\check_images\78936                             4618.23 USD.pdf                               95114      6/29/2023 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__825146_item-18_33750763-18-
31\check_images\78936                             4618.23 USD.pdf                               95512        8/1/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__839149_item-38_33778530-38-
31\check_images\78936                             4618.23 USD.pdf                               95496      8/31/2023 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__852872_item-8_33803852-8-
31\check_images\78936                             4618.23 USD.pdf                               96505       10/3/2023 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__863260_item-4_33830106-4-
31\check_images\78936                             4618.23 USD.pdf                               92863     10/30/2023 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__881133_item-17_33858731-17-
31\check_images\78936                             4618.23 USD.pdf                               93241      12/5/2023 14:48



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__892217_item-16_33896393-16-
31\check_images\78936                             4618.23 USD.pdf                                  97999        1/3/2024 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__905400_item-9_33923500-9-
31\check_images\78936                             4618.23 USD.pdf                                  92184       2/1/2024 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78936                             2024-03-01__916152_33949468 4756.77.pdf         354877       2/27/2024 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__929337_item-16_33978689-16-
31\check_images\78936                             4756.77 USD.pdf                                  55564       3/28/2024 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__942819_item-3_34003024-3-
31\check_images\78936                             4756.77 USD.pdf                                  56112      4/29/2024 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-01__714837_item-44_3804182-44-
31\check_images\78943                             850.00 USD.pdf                                   57713     11/28/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__728091_item-31_3852093-31-
31\check_images\78943                             850.00 USD.pdf                                   55701      12/27/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__742594_item-1_3899851-1-850.00
31\check_images\78943                             USD.pdf                                          55540      1/30/2023 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__754182_item-17_3946767-17-
31\check_images\78943                             850.00 USD.pdf                                   56436      2/23/2023 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__768497_item-16_3993691-16-
31\check_images\78943                             850.00 USD.pdf                                   55706      3/27/2023 15:18



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               All Paths/Locations                                  Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__781214_item-33_4040124-33-
31\check_images\78943                             850.00 USD.pdf                                   55131       4/25/2023 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__822532_item-28_4178919-28-
31\check_images\78943                             850.00 USD.pdf                                   52960      7/27/2023 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__834507_10820_item-5_3755923-5-
31\check_images\78943                             850.00 USD.pdf                                   49401     10/27/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__834509_10007_3472986-27-
31\check_images\78943                             1700.00 April and May 2022.pdf                   58896      5/11/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__834510_10007_3472986-27-
31\check_images\78943                             1700.00 April and May 2022.pdf                   58896      5/11/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__834511_10077_3508405-32-
31\check_images\78943                             850.00 USD.pdf                                   56373       5/27/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__834515_10272_3559134-41-
31\check_images\78943                             850.00 USD.pdf                                   55544       6/29/2022 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__834519_10408_3608718-38-
31\check_images\78943                             850.00 USD.pdf                                   56045      7/25/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__834521_10577_3658366-27-
31\check_images\78943                             850.00 USD.pdf                                   56307      8/30/2022 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__794732_item-14_4085524-14-
31\check_images\78943                             850.00 USD.pdf                                   53909       5/26/2023 8:49



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 946 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__808439_item-14_4130879-14-
31\check_images\78943                             850.00 USD.pdf                                  52961      6/26/2023 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__834524_10683_item-36_3707448-
31\check_images\78943                             36-850.00.pdf                                   49989      9/26/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__836919_item-38_4224029-38-
31\check_images\78943                             850.00 USD.pdf                                  56317       8/29/2023 8:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__848013_item-41_4267216-41-
31\check_images\78943                             850.00 USD.pdf                                  53374       9/25/2023 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__862951_item-28_4310683-28-
31\check_images\78943                             850.00 USD.pdf                                  53354     10/27/2023 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__876296_item-35_4353788-35-
31\check_images\78943                             850.00 USD.pdf                                  53137     11/27/2023 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__890090_item-21_4395579-21-
31\check_images\78943                             850.00 USD.pdf                                  52383     12/28/2023 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__903789_item-29_4438317-29-
31\check_images\78943                             850.00 USD.pdf                                  53723      1/30/2024 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__916758_item-27_4480032-27-
31\check_images\78943                             850.00 USD.pdf                                  50753      2/27/2024 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__928813_item-26_4520630-26-
31\check_images\78943                             850.00 USD.pdf                                  50935      3/26/2024 13:25



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 947 of
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__942915_item-19_4561298-19-
31\check_images\78943                             850.00 USD.pdf                                   52317      4/29/2024 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-23__900064_item-9_4410947-9-860.53
31\check_images\78946                             USD.pdf                                          52363      1/18/2024 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-23__912518_item-10_4452848-10-
31\check_images\78946                             860.53 USD.pdf                                   51954      2/20/2024 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-23__926054_item-21_4493780-21-
31\check_images\78946                             860.53 USD.pdf                                   52450      3/19/2024 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-23__939667_item-38_4534488-38-
31\check_images\78946                             860.53 USD.pdf                                   50579       4/19/2024 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-23__952783_item-18_4575178-18-
31\check_images\78946                             860.53 USD.pdf                                   52723      5/20/2024 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-15__643303_7377811-9-900.00
31\check_images\79005                             USD.pdf                                          38041       6/13/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-15__656467_4001413-13-900.00
31\check_images\79005                             USD.pdf                                          42185      7/11/2022 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-15__670115_4010165-22-900.00
31\check_images\79005                             USD.pdf                                          43989       8/11/2022 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-15__685599_item-20_4019072-20-
31\check_images\79005                             900.00 USD.pdf                                   42362       9/16/2022 9:19



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 948 of
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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-15__696262_item-43_4027017-43-
31\check_images\79005                             900.00 USD.pdf                               45000      10/11/2022 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-15__709939_item-37_4035528-37-
31\check_images\79005                             900.00 USD.pdf                               49631     11/14/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-15__721781_item-34_4043778-34-
31\check_images\79005                             900.00 USD.pdf                               41765       12/9/2022 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-15__734644_item-34_4052509-34-
31\check_images\79005                             900.00 USD.pdf                               37175       1/9/2023 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-15__749864_item-12_4060846-12-
31\check_images\79005                             900.00 USD.pdf                               42095      2/13/2023 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-15__761979_item-36_4069082-36-
31\check_images\79005                             900.00 USD.pdf                               41989       3/10/2023 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-15__775549_item-34_4077347-34-
31\check_images\79005                             900.00 USD.pdf                               44845      4/10/2023 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-15__790104_item-18_4085567-18-
31\check_images\79005                             900.00 USD.pdf                               38173      5/15/2023 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-15__802754_item-28_4093881-28-
31\check_images\79005                             900.00 USD.pdf                               41345      6/12/2023 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-15__814838_item-13_4102442-13-
31\check_images\79005                             900.00 USD.pdf                               39837      7/10/2023 11:05



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-15__831145_item-29_4111123-29-
31\check_images\79005                             900.00 USD.pdf                               41669      8/14/2023 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-15__843209_item-13_4119186-13-
31\check_images\79005                             900.00 USD.pdf                               41874      9/11/2023 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-15__857305_item-23_4127562-23-
31\check_images\79005                             900.00 USD.pdf                               42777      10/12/2023 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-15__870047_item-31_4135774-31-
31\check_images\79005                             900.00 USD.pdf                               42725     11/13/2023 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-15__883263_item-21_4144096-21-
31\check_images\79005                             900.00 USD.pdf                               36912     12/11/2023 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-15__899031_item-14_4152607-14-
31\check_images\79005                             200.00 USD.pdf                               36530      1/16/2024 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__909941_item-18_4160582-18-
31\check_images\79005                             900.00 USD.pdf                               40071      2/12/2024 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-15__921995_item-36_4168661-36-
31\check_images\79005                             900.00 USD.pdf                               34007       3/11/2024 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-15__936824_item-33_4176675-33-
31\check_images\79005                             900.00 USD.pdf                               38847      4/15/2024 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-15__949434_item-12_4184659-12-
31\check_images\79005                             900.00 USD.pdf                               35694       5/13/2024 9:53



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-15__738289_item-33_763377-33-
31\check_images\79031                             1000.00 USD.pdf                                  39077       1/17/2023 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-15__753233_item-17_766184-17-
31\check_images\79031                             1000.00 USD.pdf                                  58283      2/21/2023 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-15__765547_item-43_768930-43-
31\check_images\79031                             1000.00 USD.pdf                                  50626       3/20/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-15__777531_item-4_771468-4-1000.00
31\check_images\79031                             USD.pdf                                          62004      4/17/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-15__791669_item-19_774098-19-
31\check_images\79031                             1000.00 USD.pdf                                  64707      5/16/2023 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-15__806574_item-26_776772-26-
31\check_images\79031                             1000.00 USD.pdf                                  61473      6/20/2023 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-15__818750_item-30_779503-30-
31\check_images\79031                             1000.00 USD.pdf                                  47312      7/17/2023 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-15__833400_item-10_782198-10-
31\check_images\79031                             1000.00 USD.pdf                                  64190       8/21/2023 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-15__845417_item-27_784846-27-
31\check_images\79031                             1000.00 USD.pdf                                  46699      9/18/2023 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-15__858581_item-11_787424-11-
31\check_images\79031                             1000.00 USD.pdf                                  59570     10/16/2023 14:45



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               All Paths/Locations                                 Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-15__873243_item-5_790051-5-1000.00
31\check_images\79031                             USD.pdf                                          66535      11/20/2023 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-15__886081_item-4_792506-4-1000.00
31\check_images\79031                             USD.pdf                                          50862      12/18/2023 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-15__898580_item-37_795061-37-
31\check_images\79031                             1000.00 USD.pdf                                  55618      1/16/2024 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__912599_item-4_797807-4-1000.00
31\check_images\79031                             USD.pdf                                          68050      2/20/2024 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-15__925690_item-38_800285-38-
31\check_images\79031                             1000.00 USD.pdf                                  64492      3/18/2024 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-15__938211_item-14_802617-14-
31\check_images\79031                             1000.00 USD.pdf                                  53842      4/16/2024 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-15__953340_item-11_805356-11-
31\check_images\79031                             1000.00 USD.pdf                                  57388      5/21/2024 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__645590_205647-2-20000.00
31\check_images\79048                             USD.pdf                                          27339      6/16/2022 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__714840_item-45_3804183-45-
31\check_images\79048                             20000.00 USD.pdf                                 58249     11/28/2022 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__794733_item-15_4085525-15-
31\check_images\79048                             20000.00 USD.pdf                                 53674       5/26/2023 8:50



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 952 of
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               All Paths/Locations                                 Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__876289_item-34_4353789-34-
31\check_images\79048                             20000.00 USD.pdf                             52545     11/27/2023 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-15__617064_220392-29-2000.00
31\check_images\79051                             USD.pdf                                      49790      4/14/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-15__627857_234375-9-2000.00
31\check_images\79051                             USD.pdf                                      53189        5/9/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-15__642685_249185-40-2000.00
31\check_images\79051                             USD.pdf                                      53819       6/10/2022 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-15__656415_264044-39-2000.00
31\check_images\79051                             USD.pdf                                      56543      7/11/2022 16:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-15__668781_278856-30-2000.00
31\check_images\79051                             USD.pdf                                      51629       8/8/2022 18:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-15__683889_item-30_293705-30-
31\check_images\79051                             2000.00 USD.pdf                              66170       9/13/2022 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-15__695847_item-27_308592-27-
31\check_images\79051                             2000.00 USD.pdf                              50344     10/11/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-15__708096_item-37_323714-37-
31\check_images\79051                             2000.00 USD.pdf                              56457      11/7/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-15__722199_item-43_338665-43-
31\check_images\79051                             2000.00 USD.pdf                              56514     12/12/2022 12:37



                                                             951
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 953 of
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-15__734200_item-30_353704-30-
31\check_images\79051                             2000.00 USD.pdf                                  52595       1/9/2023 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-15__748923_item-39_368708-39-
31\check_images\79051                             2000.00 USD.pdf                                  53389       2/10/2023 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-15__762228_item-9_383361-9-2000.00
31\check_images\79051                             USD.pdf                                          52137       3/10/2023 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-15__775059_item-3_398065-3-2000.00
31\check_images\79051                             USD.pdf                                          55669      4/10/2023 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-15__787530_item-34_412682-34-
31\check_images\79051                             2000.00 USD.pdf                                  56892       5/8/2023 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-15__803579_item-39_427193-39-
31\check_images\79051                             2000.00 USD.pdf                                  51828      6/12/2023 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-15__815346_item-17_441821-17-
31\check_images\79051                             2000.00 USD.pdf                                  53498      7/10/2023 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-15__829315_item-22_458000-22-
31\check_images\79051                             2000.00 USD.pdf                                  50612        8/9/2023 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-15__847412_item-34_474080-34-
31\check_images\79051                             2000.00 USD.pdf                                  38178      9/22/2023 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-15__855333_item-13_489979-13-
31\check_images\79051                             2000.00 USD.pdf                                  54541     10/10/2023 12:44



                                                             952
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 954 of
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               All Paths/Locations                                   Unified Title             File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-15__869572_item-8_506016-8-2000.00
31\check_images\79051                             USD.pdf                                          50964      11/13/2023 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-15__883610_item-24_521796-24-
31\check_images\79051                             2000.00 USD.pdf                                  56174      12/12/2023 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-15__895532_item-2_537593-2-2000.00
31\check_images\79051                             USD.pdf                                          53623        1/9/2024 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__910669_item-43_553703-43-
31\check_images\79051                             2000.00 USD.pdf                                  52412       2/13/2024 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-15__923134_item-37_569392-37-
31\check_images\79051                             2000.00 USD.pdf                                  49558       3/12/2024 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-15__935337_item-27_584820-27-
31\check_images\79051                             2000.00 USD.pdf                                  54318        4/9/2024 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-15__949344_item-25_600430-25-
31\check_images\79051                             2000.00 USD.pdf                                  51524       5/13/2024 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-01__615974_Copy of Copy of Copy of
31\check_images\79092                             Sutton Collections new.xlsx                      21861       4/13/2022 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__623828_Collections by
31\check_images\79092                             Securitization 05012022.pdf                      46628       6/30/2023 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__652921_Collections by
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Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__667124_Collections by
31\check_images\79092                             Securitization 08012022.pdf               3692      6/14/2024 19:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__681680_Collections by
31\check_images\79092                             Securitization.pdf                        9208        9/7/2022 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__692259_Collections by
31\check_images\79092                             Securitization.pdf                        8607       10/3/2022 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__707285_Collections by
31\check_images\79092                             Securitization 11012022.pdf               2383      6/14/2024 19:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__817690_Collections by
31\check_images\79092                             Securitization 05312022.pdf               4255      6/14/2024 19:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__718253_Collections by
31\check_images\79092                             Securitization.pdf                        8425       12/2/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__729815_Collections by
31\check_images\79092                             Securitization.pdf                        8809        1/3/2023 8:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__746071_Collections by
31\check_images\79092                             Securitization.pdf                        9432        2/3/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__757580_Collections by
31\check_images\79092                             Securitization 02242023.pdf               2581      6/14/2024 19:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__816657_Collections by
31\check_images\79092                             Securitization 03292023.pdf               4263      6/14/2024 19:39



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__785923_Collections by
31\check_images\79092                             Securitization.pdf                        8596        5/3/2023 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__799796_Collections by
31\check_images\79092                             Securitization 05312023.pdf               4084      6/14/2024 19:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__814591_Collections by
31\check_images\79092                             Securitization.pdf                      31454         7/7/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__827361_Collections by
31\check_images\79092                             Securitization.pdf                     157010         8/3/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__839478_Collections by
31\check_images\79092                             Securitization.pdf                      31310         9/1/2023 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__850912_Collections by
31\check_images\79092                             Securitization.pdf                      31964        9/29/2023 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__866817_Collections by
31\check_images\79092                             Securitization 10302023.pdf               4835      6/14/2024 19:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__879033_Collections by
31\check_images\79092                             Securitization.pdf                      32282        12/4/2023 8:21
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__892040_Collections by
31\check_images\79092                             Securitization.pdf                      31012         1/3/2024 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__905958_Collections by
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Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__919824_Collections by
31\check_images\79092                             Securitization.pdf                               32339         3/5/2024 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__930144_Collections by
31\check_images\79092                             Securitization.pdf                               30853         4/1/2024 7:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__946457_Collections by
31\check_images\79092                             Securitization.pdf                               29231         5/3/2024 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-01__616008_Copy of Copy of Copy of
31\check_images\79097                             Sutton Collections new.xlsx                      21861       4/13/2022 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__623843_Collections by
31\check_images\79097                             Securitization.pdf                                 3147      6/14/2024 19:39
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__652916_Collections by
31\check_images\79097                             Securitization 06292022.pdf                        3695      6/14/2024 19:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__664219_Collections by
31\check_images\79097                             Securitization.pdf                                 9248        8/1/2022 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__700537_Collections by
31\check_images\79097                             Securitization1.pdf                              31140      10/24/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__680449_Collections by
31\check_images\79097                             Securitization.pdf                                 8409        9/6/2022 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__707286_Collections by
31\check_images\79097                             Securitization 11012022.pdf                        2383      6/14/2024 19:40



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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__718871_Collections by
31\check_images\79097                             Securitization 11302022.pdf               3154      6/14/2024 19:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__817678_Collections by
31\check_images\79097                             Securitization 05312022.pdf               4255      6/14/2024 19:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__729816_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__746105_Collections by
31\check_images\79097                             Securitization.pdf                        9432        2/3/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__759117_Collections by
31\check_images\79097                             Securitization 02272023.pdf               2963      6/14/2024 19:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__816655_Collections by
31\check_images\79097                             Securitization 03292023.pdf               4263      6/14/2024 19:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__783274_Collections by
31\check_images\79097                             Securitization.pdf                        9021        5/1/2023 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__799800_Collections by
31\check_images\79097                             Securitization 05312023.pdf               4084      6/14/2024 19:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__813146_Collections by
31\check_images\79097                             Securitization.pdf                      31296         7/5/2023 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__825079_Collections by
31\check_images\79097                             Securitization.pdf                     102380         8/1/2023 8:34



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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__841407_Collections by
31\check_images\79097                             Securitization 08312023.pdf               3707      6/14/2024 19:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__850918_Collections by
31\check_images\79097                             Securitization.pdf                      31964        9/29/2023 7:44
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__866818_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__879051_Collections by
31\check_images\79097                             Securitization.pdf                      32282        12/4/2023 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__892031_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__905950_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__918386_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__930143_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__946196_Collections by
31\check_images\79097                             Securitization 04292024.pdf             33919         5/2/2024 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__623830_Collections by
31\check_images\79110                             Securitization.pdf                        3147      6/14/2024 19:40



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__652917_Collections by
31\check_images\79110                             Securitization 06292022.pdf               3695      6/14/2024 19:40
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Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__652918_Collections by
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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__664228_Collections by
31\check_images\79110                             Securitization.pdf                        9248        8/1/2022 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__681675_Collections by
31\check_images\79110                             Securitization.pdf                        9208        9/7/2022 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__692258_Collections by
31\check_images\79110                             Securitization.pdf                        8607       10/3/2022 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__705752_Collections by
31\check_images\79110                             Securitization 10282022.pdf               2600      6/14/2024 19:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__718252_Collections by
31\check_images\79110                             Securitization.pdf                        8425       12/2/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__729814_Collections by
31\check_images\79110                             Securitization.pdf                        8809        1/3/2023 8:36
Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__746085_Collections by
31\check_images\79110                             Securitization.pdf                        9432        2/3/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__757577_Collections by
31\check_images\79110                             Securitization 02242023.pdf               2581      6/14/2024 19:40



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__798370_Collections by
31\check_images\79110                             Securitization.pdf                        7965        6/1/2023 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__816649_Collections by
31\check_images\79110                             Securitization 03292023.pdf               4263      6/14/2024 19:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__799809_Collections by
31\check_images\79110                             Securitization 05312023.pdf               4084      6/14/2024 19:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__892025_Collections by
31\check_images\79110                             Securitization.pdf                      31483        1/11/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__783277_Collections by
31\check_images\79110                             Securitization Combined.pdf             11940         6/1/2023 8:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__813142_Collections by
31\check_images\79110                             Securitization.pdf                      31296         7/5/2023 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__846684_Collections by
31\check_images\79110                             Securitization.pdf                      28759        9/20/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__825091_Collections by
31\check_images\79110                             Securitization.pdf                     102380         8/1/2023 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__839480_Collections by
31\check_images\79110                             Securitization.pdf                      31310         9/1/2023 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__850915_Collections by
31\check_images\79110                             Securitization.pdf                      31964        9/29/2023 7:44



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__896801_Collections by
31\check_images\79110                             Securitization.pdf                      31483       1/11/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__866814_Collections by
31\check_images\79110                             Securitization.pdf                      31483       1/11/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__879050_Collections by
31\check_images\79110                             Securitization.pdf                      32282       12/4/2023 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__892043_Collections by
31\check_images\79110                             Securitization.pdf                      31012        1/3/2024 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__905957_Collections by
31\check_images\79110                             Securitization.pdf                      31822        2/2/2024 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__919839_Collections by
31\check_images\79110                             Securitization.pdf                      32339        3/5/2024 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__930142_Collections by
31\check_images\79110                             Securitization.pdf                      30853        4/1/2024 7:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__943544_Collections by
31\check_images\79110                             Securitization.pdf                      31476       4/30/2024 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__946186_Collections by
31\check_images\79110                             Securitization 04292024.pdf             33919        5/2/2024 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__953167_Collections by
31\check_images\79110                             Securitization.pdf                      30900       5/21/2024 7:50



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__667191_Collections by
31\check_images\79113                             Securitization 08012022.pdf               3692      6/17/2024 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-24__957338_Collections by
31\check_images\79113                             Securitization 05242024.pdf             46855        5/30/2024 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__667123_Collections by
31\check_images\79114                             Securitization 08012022.pdf               3692      6/14/2024 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__746102_Collections by
31\check_images\79114                             Securitization.pdf                        9432        2/3/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__827362_Collections by
31\check_images\79114                             Securitization.pdf                     157010         8/3/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-12__936344_Collections by
31\check_images\79137                             Securitization.pdf                      31113        4/12/2024 7:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-20__633148_Collections by
31\check_images\79283                             Securitization 05182022.pdf               2950      6/14/2024 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-20__651622_Collections by
31\check_images\79283                             Securitization 06272022.pdf               4080      6/14/2024 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-20__660659_Collections by
31\check_images\79283                             Securitization 07202022.pdf               2371      6/14/2024 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-20__660660_Collections by
31\check_images\79283                             Securitization 07202022.pdf               2371      6/14/2024 19:41



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Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-20__674320_Collections by
31\check_images\79283                             Securitization 08172022.pdf               2583      6/14/2024 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-20__687311_Collections by
31\check_images\79283                             Securitization 09192022.pdf               2387      6/14/2024 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-20__701136_Collections by
31\check_images\79283                             Securitization.pdf                        8780      10/25/2022 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-20__713604_Collections by
31\check_images\79283                             Securitization.pdf                        8593      11/22/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-20__726957_Collections by
31\check_images\79283                             Securitization 1219022.pdf                2582      6/14/2024 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-20__739565_Collections by
31\check_images\79283                             Securitization.pdf                        8212       1/20/2023 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-20__751921_Collections by
31\check_images\79283                             Securitization.pdf                        6307       2/17/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-20__765320_Collections by
31\check_images\79283                             Securitization.pdf                        8779       3/20/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-20__781143_Collections by
31\check_images\79283                             Securitization.pdf                        8409       4/25/2023 8:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-20__793120_Collections by
31\check_images\79283                             Securitization.pdf                        8787       5/22/2023 7:59



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Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-20__805753_Collections by
31\check_images\79283                             Securitization 06142023.pdf               3139      6/14/2024 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-20__820495_Collections by
31\check_images\79283                             Securitization.pdf                      30165        7/24/2023 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-20__833163_Collections by
31\check_images\79283                             Securitization.pdf                     181752        8/18/2023 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-20__847152_Collections by
31\check_images\79283                             Securitization.pdf                      30952        9/21/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-20__860139_Collections by
31\check_images\79283                             Securitization 10172023.pdf               2772      6/14/2024 19:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-20__873846_Collections by
31\check_images\79283                             Securitization.pdf                      31024       11/21/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-20__887848_Collections by
31\check_images\79283                             Securitization.pdf                      30919       12/22/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-20__900318_Collections by
31\check_images\79283                             Securitization.pdf                      31424        1/22/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-20__912248_Collections by
31\check_images\79283                             Securitization 02152024.pdf             31275        2/20/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-20__926548_Collections by
31\check_images\79283                             Securitization.pdf                      31672        3/21/2024 7:43



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               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-20__939597_Collections by
31\check_images\79283                             Securitization.pdf                      28843        4/19/2024 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-20__953166_Collections by
31\check_images\79283                             Securitization.pdf                      30918        5/21/2024 7:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-25__648617_Collections by
31\check_images\79291                             Securitization.pdf                        8419       6/27/2022 8:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-25__661745_Collections by
31\check_images\79291                             Securitization 07212022.pdf               2969      6/14/2024 19:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-25__677311_Collections by
31\check_images\79291                             Securitization 08242022.pdf               2968      6/14/2024 19:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-25__687921_Collections by
31\check_images\79291                             Securitization.pdf                        9026       9/26/2022 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-25__702307_Collections by
31\check_images\79291                             Securitization.pdf                        8600      10/27/2022 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-25__716960_Collections by
31\check_images\79291                             Securitization.pdf                        9039      11/30/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-25__727489_Collections by
31\check_images\79291                             Securitization.pdf                        6310      12/27/2022 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-25__741536_Collections by
31\check_images\79291                             Securitization 01232023.pdf               3158      6/14/2024 19:42



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-25__754579_Collections by
31\check_images\79291                             Securitization.pdf                        9443       2/24/2023 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-25__766970_Collections by
31\check_images\79291                             Securitization.pdf                        8415       3/24/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-25__782076_Collections by
31\check_images\79291                             Securitization.pdf                        8222       4/26/2023 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-25__794709_Collections by
31\check_images\79291                             Securitization.pdf                        8599       5/26/2023 8:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-25__807628_Collections by
31\check_images\79291                             Securitization 06212023.pdf               2393      6/14/2024 19:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-25__821662_Collections by
31\check_images\79291                             Securitization.pdf                      30573        7/26/2023 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-25__835109_Collections by
31\check_images\79291                             Securitization.pdf                      31442        8/25/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-25__849721_Collections by
31\check_images\79291                             Securitization.pdf                      29693        9/27/2023 8:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-25__862233_Collections by
31\check_images\79291                             Securitization.pdf                      30920       10/27/2023 7:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-25__889864_Collections by
31\check_images\79291                             Securitization.pdf                      29689       12/28/2023 8:46



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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-25__901760_Collections by
31\check_images\79291                             Securitization.pdf                              31059       1/26/2024 7:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-25__914405_Collections by
31\check_images\79291                             Securitization.pdf                              31579       2/23/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-25__914412_Collections by
31\check_images\79291                             Securitization.pdf                              31579       2/23/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-25__928835_Collections by
31\check_images\79291                             Securitization.pdf                              29247       3/27/2024 7:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-25__942025_Collections by
31\check_images\79291                             Securitization.pdf                              30591       4/29/2024 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-25__954773_Collections by
31\check_images\79291                             Securitization.pdf                              31189       5/28/2024 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-17__820955_item-7_5000789723-7-
31\check_images\79344                             500.00 USD.pdf                                  60849       7/24/2023 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-17__820719_item-24_5000789726-24-
31\check_images\79344                             500.00 USD.pdf                                  60155       7/24/2023 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-17__820715_item-23_5000789725-23-
31\check_images\79344                             500.00 USD.pdf                                  59825       7/24/2023 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-17__820713_item-22_5000789724-22-
31\check_images\79344                             500.00 USD.pdf                                  58275       7/24/2023 9:07



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-17__820712_item-21_5000789722-21-
31\check_images\79344                             500.00 USD.pdf                                  54714       7/24/2023 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-17__820707_item-20_5000789721-20-
31\check_images\79344                             500.00 USD.pdf                                  59477       7/24/2023 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-17__833256_item-31_5000815244-31-
31\check_images\79344                             500.00 USD.pdf                                  54874       8/18/2023 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-17__845201_item-3_5000845271-3-
31\check_images\79344                             500.00 USD.pdf                                  74614       9/18/2023 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-17__860058_item-32_5000877421-32-
31\check_images\79344                             500.00 USD.pdf                                  64385      10/19/2023 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-17__873379_item-38_5000911361-38-
31\check_images\79344                             500.00 USD.pdf                                  59692     11/20/2023 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-17__885626_item-6_5000948466-6-
31\check_images\79344                             500.00 USD.pdf                                  48517      12/18/2023 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-17__899866_item-31_5000984574-31-
31\check_images\79344                             500.00 USD.pdf                                  51188      1/18/2024 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-17__912712_item-32_5001016596-32-
31\check_images\79344                             500.00 USD.pdf                                  49368      2/20/2024 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-17__927608_item-23_5001047403-23-
31\check_images\79344                             500.00 USD.pdf                                  49961      3/25/2024 13:46



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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-17__945628_item-2_5001080298-2-
31\check_images\79344                             500.00 USD.pdf                                   50916       5/1/2024 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-17__953448_item-42_5001112014-42-
31\check_images\79344                             500.00 USD.pdf                                   48891      5/21/2024 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-06-01__645792_Re_ Servicing HB Release
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 06 16 2022A.xlsx APPROVAL NEEDED-Fred Love
31\check_images\79346                             Approval.pdf                                    235158      6/17/2022 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-07-01__659533_Re_ Servicing HB Release
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 07_19_22 APPROVAL NEEDED- FLove
31\check_images\79346                             Approval.pdf                                    242661      7/19/2022 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__662491_1449713-26-355.82
31\check_images\79346                             USD.pdf                                          64764       7/27/2022 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__674813_1454387-30-355.82
31\check_images\79346                             USD.pdf                                          62810      8/25/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__688285_item-26_1459031-26-
31\check_images\79346                             355.82 USD.pdf                                   61519      9/26/2022 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__702646_item-37_1463581-37-
31\check_images\79346                             355.82 USD.pdf                                   63042     10/27/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__715619_item-1_5000536112-1-
31\check_images\79346                             355.82 USD.pdf                                   61717     11/28/2022 18:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__730808_item-25_5000577207-25-
31\check_images\79346                             355.82 USD.pdf                                   67710       1/3/2023 17:41



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__743752_item-35_5000610192-35-
31\check_images\79346                             355.82 USD.pdf                                  56704       1/31/2023 7:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__757040_item-37_5000641274-37-
31\check_images\79346                             355.82 USD.pdf                                  65130      2/27/2023 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__770016_item-16_5000673305-16-
31\check_images\79346                             355.82 USD.pdf                                  73211       3/29/2023 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__784930_item-39_5000704445-39-
31\check_images\79346                             355.82 USD.pdf                                  59750       5/2/2023 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__796560_item-30_5000734774-30-
31\check_images\79346                             355.82 USD.pdf                                  68421      5/30/2023 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__808363_item-44_5000764630-44-
31\check_images\79346                             355.82 USD.pdf                                  72479      6/26/2023 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__825993_item-38_5000795852-38-
31\check_images\79346                             355.82 USD.pdf                                  60220      7/31/2023 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__837564_item-31_5000826092-31-
31\check_images\79346                             355.82 USD.pdf                                  57701      8/28/2023 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__849107_item-1_5000856787-1-
31\check_images\79346                             355.82 USD.pdf                                  55208       9/26/2023 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__865195_item-24_5000889115-24-
31\check_images\79346                             355.82 USD.pdf                                  53061     10/31/2023 14:40



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               All Paths/Locations                                  Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__876696_item-28_5000923110-28-
31\check_images\79346                             355.82 USD.pdf                                    58594     11/28/2023 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__893671_item-16_5000963528-16-
31\check_images\79346                             355.82 USD.pdf                                    51899        1/3/2024 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__902723_item-4_5000995528-4-
31\check_images\79346                             355.82 USD.pdf                                    57819      1/29/2024 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__914844_item-1_5001026310-1-
31\check_images\79346                             355.82 USD.pdf                                    51250      2/26/2024 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__930836_item-7_5001059764-7-
31\check_images\79346                             355.83 USD.pdf                                    55518       4/1/2024 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__942164_item-16_5001091164-16-
31\check_images\79346                             355.83 USD.pdf                                    44476       4/29/2024 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__632700_RE_ Servicing HB Release
31\check_images\79354                             05 19 2022 FLove Approval.pdf                    208385      5/19/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-06-01__645794_Re_ Servicing HB Release
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 06 16 2022A.xlsx APPROVAL NEEDED-Fred Love
31\check_images\79354                             Approval.pdf                                     235158      6/17/2022 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79354                             2022-07-01__868226_5000893466 6049.11.pdf        328131       11/7/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79354                             2022-08-01__868227_5000893466 6049.11.pdf        328131       11/7/2023 8:22



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79354                             2022-09-01__868243_5000893466 6049.11.pdf      328131       11/7/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79354                             2022-10-01__868244_5000893466 6049.11.pdf      328131       11/7/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79354                             2022-11-01__868245_5000893466 6049.11.pdf      328131       11/7/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79354                             2022-12-01__868246_5000893466 6049.11.pdf      328131       11/7/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79354                             2023-01-01__868247_5000893466 6049.11.pdf      328131       11/7/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79354                             2023-02-01__868240_5000893466 6049.11.pdf      328131       11/7/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79354                             2023-03-01__868239_5000893466 6049.11.pdf      328131       11/7/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79354                             2023-04-01__868237_5000893466 6049.11.pdf      328131       11/7/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79354                             2023-05-01__868236_5000893466 6049.11.pdf      328131       11/7/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79354                             2023-06-01__868234_5000893466 6049.11.pdf      328131       11/7/2023 8:22



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79354                             2023-07-01__868233_5000893466 6049.11.pdf      328131       11/7/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79354                             2023-08-01__868232_5000893466 6049.11.pdf      328131       11/7/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79354                             2023-09-01__868230_5000893466 6049.11.pdf      328131       11/7/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79354                             2023-10-01__868229_5000893466 6049.11.pdf      328131       11/7/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79354                             2023-11-01__868228_5000893466 6049.11.pdf      328131       11/7/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__909145_item-35_5000963522-35-
31\check_images\79354                             355.83 USD.pdf                                  47341       2/9/2024 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__891254_item-19_5000964152-19-
31\check_images\79354                             355.83 USD.pdf                                  58835       1/2/2024 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__902773_item-10_5000995523-10-
31\check_images\79354                             355.83 USD.pdf                                  55383      1/29/2024 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__914848_item-2_5001026309-2-
31\check_images\79354                             355.82 USD.pdf                                  49845      2/26/2024 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__930814_item-4_5001059768-4-
31\check_images\79354                             355.82 USD.pdf                                  54021       4/1/2024 10:50



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               All Paths/Locations                                  Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__942156_item-13_5001091169-13-
31\check_images\79354                             355.82 USD.pdf                                    44206       4/29/2024 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__632702_RE_ Servicing HB Release
31\check_images\79356                             05 19 2022 FLove Approval.pdf                    208385      5/19/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-06-01__645795_Re_ Servicing HB Release
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 06 16 2022A.xlsx APPROVAL NEEDED-Fred Love
31\check_images\79356                             Approval.pdf                                     235158      6/17/2022 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__674746_1454388-15-355.82
31\check_images\79356                             USD.pdf                                           62475       8/25/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__688050_item-31_1459032-31-
31\check_images\79356                             355.82 USD.pdf                                    63806      9/26/2022 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__702644_item-36_1463582-36-
31\check_images\79356                             355.82 USD.pdf                                    60714     10/27/2022 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-10-01__716370_Pages from
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- IFTSBRW20221128_PHL-9582-
31\check_images\79356                             4427_001155P685.pdf                               79722     11/29/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__730807_item-24_5000577208-24-
31\check_images\79356                             355.82 USD.pdf                                    66192       1/3/2023 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__743754_item-36_5000610193-36-
31\check_images\79356                             355.82 USD.pdf                                    76541       1/31/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__757045_item-38_5000641275-38-
31\check_images\79356                             355.82 USD.pdf                                    66024      2/27/2023 12:09



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__770018_item-17_5000673304-17-
31\check_images\79356                             355.82 USD.pdf                                   70646       3/29/2023 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__784940_item-43_5000704446-43-
31\check_images\79356                             355.82 USD.pdf                                   60333       5/2/2023 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79356                             2023-04-01__830240_HB Release 08012023.pdf      508436      8/10/2023 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79356                             2023-05-01__830241_HB Release 08012023.pdf      508436      8/10/2023 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__796599_item-44_5000734773-44-
31\check_images\79356                             355.82 USD.pdf                                   64337      5/30/2023 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__808381_item-45_5000764631-45-
31\check_images\79356                             355.82 USD.pdf                                   70150      6/26/2023 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__825997_item-39_5000795853-39-
31\check_images\79356                             355.82 USD.pdf                                   54743      7/31/2023 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__836827_item-40_5000826091-40-
31\check_images\79356                             355.82 USD.pdf                                   62659      8/28/2023 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__849110_item-3_5000856788-3-
31\check_images\79356                             355.82 USD.pdf                                   58823       9/26/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__865288_item-15_5000889114-15-
31\check_images\79356                             355.82 USD.pdf                                   55788     10/31/2023 12:11



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__876697_item-29_5000923111-29-
31\check_images\79356                             355.82 USD.pdf                                  57128     11/28/2023 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__893668_item-15_5000963527-15-
31\check_images\79356                             355.82 USD.pdf                                  58423        1/3/2024 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__902742_item-6_5000995527-6-
31\check_images\79356                             355.82 USD.pdf                                  61442      1/29/2024 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__914863_item-5_5001026305-5-
31\check_images\79356                             355.83 USD.pdf                                  49252      2/26/2024 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__930808_item-3_5001059769-3-
31\check_images\79356                             355.82 USD.pdf                                  48989       4/1/2024 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__942741_item-35_5001091168-35-
31\check_images\79356                             355.82 USD.pdf                                  52632      4/29/2024 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-10__895039_item-8_4405858-8-
31\check_images\79367                             1810.81 USD.pdf                                 54263       1/8/2024 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-10__907637_item-41_4447654-41-
31\check_images\79367                             1810.81 USD.pdf                                 52150       2/5/2024 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-10__926267_item-7_4488621-7-
31\check_images\79367                             1810.81 USD.pdf                                 51065      3/20/2024 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-10__934695_item-39_4529605-39-
31\check_images\79367                             1810.81 USD.pdf                                 52902       4/8/2024 12:47



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-10__947371_item-33_4570534-33-
31\check_images\79367                             1810.81 USD.pdf                                 52257       5/6/2024 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-15__627771_1438121-41-417.68
31\check_images\79378                             USD.pdf                                         59374        5/9/2022 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-15__642293_1442777-30-417.68
31\check_images\79378                             USD.pdf                                         60723        6/9/2022 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-15__655465_1447353-40-417.68
31\check_images\79378                             USD.pdf                                         63121       7/8/2022 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-15__670041_1452310-25-417.68
31\check_images\79378                             USD.pdf                                         61166       8/11/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-15__682677_item-39_1456849-39-
31\check_images\79378                             417.68 USD.pdf                                  61237       9/9/2022 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-15__695823_item-37_1461435-37-
31\check_images\79378                             417.68 USD.pdf                                  61863      10/11/2022 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-15__709728_item-42_1466000-42-
31\check_images\79378                             417.68 USD.pdf                                  61462     11/11/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-15__722149_item-21_5000556496-21-
31\check_images\79378                             417.68 USD.pdf                                  68231     12/12/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-15__736636_item-2_5000593186-2-
31\check_images\79378                             417.68 USD.pdf                                  57873       1/12/2023 8:57



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 979 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-15__749171_item-8_5000626395-8-
31\check_images\79378                             417.68 USD.pdf                                  61888       2/13/2023 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-15__763236_item-37_5000657252-37-
31\check_images\79378                             417.68 USD.pdf                                  70287      3/13/2023 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-15__776195_item-39_5000689433-39-
31\check_images\79378                             417.68 USD.pdf                                  56306      4/11/2023 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-15__791073_item-14_5000719869-14-
31\check_images\79378                             417.68 USD.pdf                                  60617      5/15/2023 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-15__802648_item-5_5000749839-5-
31\check_images\79378                             417.68 USD.pdf                                  74115      6/12/2023 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-15__816702_item-1_5000779732-1-
31\check_images\79378                             417.68 USD.pdf                                  71788      7/11/2023 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-15__831319_item-3_5000811307-3-
31\check_images\79378                             417.68 USD.pdf                                  63528      8/14/2023 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-15__842917_item-21_5000841218-21-
31\check_images\79378                             417.68 USD.pdf                                  59059       9/11/2023 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-15__856228_item-41_5000872982-41-
31\check_images\79378                             417.68 USD.pdf                                  66155     10/10/2023 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-15__869654_item-19_5000906184-19-
31\check_images\79378                             417.68 USD.pdf                                  60462     11/13/2023 11:39



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-15__883286_item-40_5000943310-40-
31\check_images\79378                             417.68 USD.pdf                                  38428     12/11/2023 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-15__897830_item-24_5000979866-24-
31\check_images\79378                             417.68 USD.pdf                                  53485      1/16/2024 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__910643_item-32_5001011600-32-
31\check_images\79378                             417.68 USD.pdf                                  54717      2/13/2024 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-15__922814_item-10_5001043145-10-
31\check_images\79378                             417.68 USD.pdf                                  46270       3/11/2024 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-15__936724_item-6_5001075792-6-
31\check_images\79378                             417.68 USD.pdf                                  53242       4/15/2024 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-15__950803_item-7_5001106938-7-
31\check_images\79378                             417.68 USD.pdf                                  47920       5/13/2024 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-30__649357_3527985-9-2445.95
31\check_images\79393                             USD.pdf                                         67750      6/27/2022 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-30__661477_3578209-30-2445.95
31\check_images\79393                             USD.pdf                                         59477      7/25/2022 17:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-30__674766_3627285-25-2445.95
31\check_images\79393                             USD.pdf                                         57296      8/25/2022 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-30__688201_item-32_3707346-32-
31\check_images\79393                             2445.95 USD.pdf                                 52359      9/26/2022 13:24



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               All Paths/Locations                                 Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-30__701652_item-12_3725355-12-
31\check_images\79393                             2445.95 USD.pdf                              49328     10/25/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-30__715488_item-21_3774516-21-
31\check_images\79393                             2519.33 USD.pdf                              56440      11/28/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-30__716129_item-33_3774515-33-
31\check_images\79393                             75000.00 USD.pdf                             54816      11/28/2022 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-30__727910_item-20_3851991-20-
31\check_images\79393                             2519.33 USD.pdf                              54670      12/27/2022 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-30__740083_item-21_3870199-21-
31\check_images\79393                             2519.33 USD.pdf                              54895       1/23/2023 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-28__753064_item-11_3917700-11-
31\check_images\79393                             2519.33 USD.pdf                              56044      2/21/2023 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-30__766984_item-8_3964540-8-
31\check_images\79393                             2519.33 USD.pdf                              57360       3/24/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-30__781791_item-16_4011865-16-
31\check_images\79393                             2519.33 USD.pdf                              57874      4/25/2023 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-30__793719_item-37_4057245-37-
31\check_images\79393                             2519.33 USD.pdf                              52602      5/22/2023 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-30__808573_item-31_4130778-31-
31\check_images\79393                             2519.33 USD.pdf                              52584      6/26/2023 15:35



                                                             980
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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-30__824968_item-6_4147751-6-
31\check_images\79393                             2519.33 USD.pdf                              52563        8/1/2023 7:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-30__835283_item-33_4195916-33-
31\check_images\79393                             2519.33 USD.pdf                              52819      8/25/2023 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-30__848467_item-45_4267111-45-
31\check_images\79393                             2519.33 USD.pdf                              54049      9/25/2023 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-30__861507_item-30_4283697-30-
31\check_images\79393                             2519.33 USD.pdf                              53121     10/25/2023 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-30__876351_item-45_4327324-45-
31\check_images\79393                             2594.91 USD.pdf                              52649     11/27/2023 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-30__890514_item-26_4395463-26-
31\check_images\79393                             2594.91 USD.pdf                              52762      12/28/2023 2:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79393                             2024-01-30__902030_2594.91.pdf               53733       1/29/2024 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-29__915398_item-9_4454509-9-
31\check_images\79393                             2594.91 USD.pdf                              52496      2/26/2024 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-30__927759_item-31_4495682-31-
31\check_images\79393                             2594.91 USD.pdf                              49328      3/25/2024 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-30__943105_item-25_4536633-25-
31\check_images\79393                             2594.91 USD.pdf                              54848      4/29/2024 13:30



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-30__954839_item-16_4576749-16-
31\check_images\79393                             2594.91 USD.pdf                                  49368      5/28/2024 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-27__634577_7369341-6-528.06
31\check_images\79589                             USD.pdf                                          69857      5/24/2022 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-27__648945_7379661-45-528.06
31\check_images\79589                             USD.pdf                                          40133      6/27/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-27__660490_4003233-1-528.06
31\check_images\79589                             USD.pdf                                          41531      7/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-27__673942_4011816-21-528.06
31\check_images\79589                             USD.pdf                                          43814       8/22/2022 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-27__687829_item-41_4020370-41-
31\check_images\79589                             528.06 USD.pdf                                   37906      9/23/2022 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-27__700316_item-7_4028538-7-528.06
31\check_images\79589                             USD.pdf                                          39936      10/21/2022 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-27__713500_item-20_4037138-20-
31\check_images\79589                             528.06 USD.pdf                                   40534      11/21/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-27__728027_item-3_4045654-3-528.06
31\check_images\79589                             USD.pdf                                          43003      12/27/2022 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-27__739817_item-33_4054039-33-
31\check_images\79589                             528.06 USD.pdf                                   42074      1/23/2023 11:07



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-27__754607_item-2_4062563-2-528.06
31\check_images\79589                             USD.pdf                                          44861      2/24/2023 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-27__768073_item-32_4070767-32-
31\check_images\79589                             528.06 USD.pdf                                   41907      3/27/2023 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-27__780583_item-40_4078850-40-
31\check_images\79589                             528.06 USD.pdf                                   43008       4/24/2023 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-27__820517_item-12_4104122-12-
31\check_images\79589                             528.06 USD.pdf                                   49461       7/24/2023 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-27__793487_item-13_4087346-13-
31\check_images\79589                             528.06 USD.pdf                                   40988      5/22/2023 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-27__808988_item-43_4096279-43-
31\check_images\79589                             528.06 USD.pdf                                   42996      6/26/2023 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-27__940957_item-22_4178352-22-
31\check_images\79589                             528.06 USD.pdf                                   39718      4/24/2024 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-27__834171_item-8_4112746-8-528.06
31\check_images\79589                             USD.pdf                                          38636      8/21/2023 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-27__847301_item-24_4121063-24-
31\check_images\79589                             528.06 USD.pdf                                   44202       9/22/2023 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-27__860945_item-16_4129275-16-
31\check_images\79589                             528.06 USD.pdf                                   40926     10/23/2023 14:23



                                                             983
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 985 of
                                       3467



               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-27__875114_item-4_4137565-4-528.06
31\check_images\79589                             USD.pdf                                          46219     11/27/2023 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-27__888741_item-30_4145919-30-
31\check_images\79589                             528.06 USD.pdf                                   32761      12/26/2023 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-27__901157_item-42_4154382-42-
31\check_images\79589                             528.06 USD.pdf                                   38696       1/23/2024 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-27__915454_item-27_4163356-27-
31\check_images\79589                             528.06 USD.pdf                                   43260      2/26/2024 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-27__927638_item-1_4170355-1-528.06
31\check_images\79589                             USD.pdf                                          38814      3/25/2024 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-27__954664_item-2_4186372-2-528.06
31\check_images\79589                             USD.pdf                                          38572      5/24/2024 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-15__646063_4491031911-10-2003.78
31\check_images\79800                             USD.pdf                                          31930      6/17/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-15__659076_4491041649-20-2043.86
31\check_images\79800                             USD.pdf                                          37013       7/19/2022 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-15__672488_4491051389-15-2043.86
31\check_images\79800                             USD.pdf                                          40837      8/17/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-15__685838_item-10_4491060320-10-
31\check_images\79800                             2043.86 USD.pdf                                  42482      9/19/2022 10:58



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  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 986 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-15__699449_item-11_4491069103-11-
31\check_images\79800                             2043.86 USD.pdf                                 41348     10/18/2022 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-15__712573_item-19_4491077909-19-
31\check_images\79800                             2043.86 USD.pdf                                 43385     11/17/2022 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-15__725082_item-11_4491086909-11-
31\check_images\79800                             2043.86 USD.pdf                                 42046      12/19/2022 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-15__738503_item-7_4491096855-7-
31\check_images\79800                             2043.86 USD.pdf                                 40450      1/18/2023 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-15__752009_item-13_4491105750-13-
31\check_images\79800                             2043.86 USD.pdf                                 41465      2/17/2023 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-15__765489_item-12_4491114428-12-
31\check_images\79800                             2043.86 USD.pdf                                 42745      3/20/2023 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-15__811216_item-20_4491148638-20-
31\check_images\79800                             2043.86 USD.pdf                                 38647      6/30/2023 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-15__792128_item-14_4491132280-14-
31\check_images\79800                             2043.86 USD.pdf                                 43333      5/17/2023 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-15__850531_item-1_3780057154-1-
31\check_images\79800                             2043.86 USD.pdf                                 50981       9/28/2023 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-15__822489_item-42_4491151338-42-
31\check_images\79800                             2084.74 USD.pdf                                 40894      7/27/2023 11:32



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-15__833606_item-10_4491161094-10-
31\check_images\79800                             2084.74 USD.pdf                                 40863      8/21/2023 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-15__845993_item-36_4491170077-36-
31\check_images\79800                             2084.74 USD.pdf                                 45186      9/18/2023 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-15__859381_item-31_4491178978-31-
31\check_images\79800                             2084.74 USD.pdf                                 43264     10/17/2023 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-15__874003_item-30_4491188071-30-
31\check_images\79800                             2084.74 USD.pdf                                 42463     11/21/2023 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-15__886573_item-24_4491197242-24-
31\check_images\79800                             2084.74 USD.pdf                                 40636     12/19/2023 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-15__899889_item-34_4491207389-34-
31\check_images\79800                             2084.74 USD.pdf                                 40093      1/18/2024 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__911781_item-8_4491216498-8-
31\check_images\79800                             2084.74 USD.pdf                                 37378       2/15/2024 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-15__925654_item-26_4491225396-26-
31\check_images\79800                             2084.74 USD.pdf                                 39583      3/18/2024 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-15__938402_item-25_4491234443-25-
31\check_images\79800                             2084.74 USD.pdf                                 35586      4/16/2024 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-15__952037_item-31_4491243302-31-
31\check_images\79800                             2084.74 USD.pdf                                 38258      5/16/2024 11:16



                                                            986
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-05__746666_item-9_10588320-9-
31\check_images\79830                             154.50 USD.pdf                                88623        2/6/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-05__787152_item-13_10642801-13-
31\check_images\79830                             154.50 USD.pdf                                83633        5/5/2023 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-05__828021_item-21_10695022-21-
31\check_images\79830                             154.50 USD.pdf                                89556        8/7/2023 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-05__834577_10312_10450040-9-
31\check_images\79830                             154.50 USD.pdf                                80640       7/6/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79830                             2022-10-05__834579_10592_10888313.pdf        113090        9/6/2022 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79830                             2022-11-05__720677_10550707 154.50.pdf       326677       12/7/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79830                             2022-12-05__720672_10550714 154.50.pdf       305928       12/7/2022 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-05__734965_item-12_10572415-12-
31\check_images\79830                             154.50 USD.pdf                                53700      1/10/2023 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-05__748706_item-2_10588328-2-
31\check_images\79830                             154.50 USD.pdf                                83187       2/10/2023 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2023-03-05__760520_Pages from
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- IFTSBRW20230306_PHL-9582-
31\check_images\79830                             5115_001211P409.pdf                           94689        3/7/2023 9:14



                                                             987
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 989 of
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-05__772095_item-11_10624755-11-
31\check_images\79830                             154.50 USD.pdf                                82336       4/3/2023 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-05__787160_item-16_10642807-16-
31\check_images\79830                             154.50 USD.pdf                                82131        5/5/2023 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-05__799975_item-17_10661286-17-
31\check_images\79830                             154.50 USD.pdf                                82773        6/5/2023 9:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-05__812544_item-24_10677344-24-
31\check_images\79830                             154.50 USD.pdf                                86522        7/3/2023 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-05__828520_item-9_10695011-9-
31\check_images\79830                             154.50 USD.pdf                                86076        8/7/2023 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-05__841230_item-25_10711220-25-
31\check_images\79830                             154.50 USD.pdf                                84390        9/5/2023 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-05__852332_item-3_10727942-3-
31\check_images\79830                             154.50 USD.pdf                                98146      10/2/2023 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-05__867721_item-41_10744810-41-
31\check_images\79830                             154.50 USD.pdf                                86613      11/6/2023 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-05__880092_item-31_10768238-31-
31\check_images\79830                             154.50 USD.pdf                                80542       12/4/2023 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-05__894731_item-14_10787423-14-
31\check_images\79830                             154.50 USD.pdf                                83865       1/8/2024 10:12



                                                             988
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               All Paths/Locations                                  Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-05__908319_item-25_10802975-25-
31\check_images\79830                             154.50 USD.pdf                                  114753       2/7/2024 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-05__920515_item-13_10818873-13-
31\check_images\79830                             154.50 USD.pdf                                   81789       3/5/2024 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-05__934576_item-8_10835675-8-
31\check_images\79830                             154.50 USD.pdf                                   81230       4/8/2024 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-05__947797_item-35_10851930-35-
31\check_images\79830                             154.50 USD.pdf                                   87975       5/7/2024 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-06-01__645798_Re_ Servicing HB Release
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 06 16 2022A.xlsx APPROVAL NEEDED-Fred Love
31\check_images\79841                             Approval.pdf                                    235158      6/17/2022 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79841                             2022-07-01__651598_3332856 850.00.pdf           409232       6/30/2022 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__661775_3364512-38-850.00
31\check_images\79841                             USD.pdf                                          32783       7/26/2022 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__675760_3396196-15-850.00
31\check_images\79841                             USD.pdf                                          32243      8/26/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__688460_item-34_3427793-34-
31\check_images\79841                             850.00 USD.pdf                                   42562      9/26/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__700982_item-39_3458982-39-
31\check_images\79841                             850.00 USD.pdf                                   31093     10/24/2022 15:32



                                                              989
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 991 of
                                       3467



               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__714159_item-35_3490313-35-
31\check_images\79841                             850.00 USD.pdf                                   33432     11/22/2022 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__727875_item-10_3521987-10-
31\check_images\79841                             850.00 USD.pdf                                   42196      12/27/2022 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__741797_item-8_3553362-8-850.00
31\check_images\79841                             USD.pdf                                          41965      1/26/2023 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__754950_item-43_3584553-43-
31\check_images\79841                             850.00 USD.pdf                                   33673      2/24/2023 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__768653_item-22_3615519-22-
31\check_images\79841                             850.00 USD.pdf                                   38866       3/27/2023 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79841                             2023-05-01__781954_3645361 850.00.pdf           317170      4/25/2023 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\79841                             2023-06-01__795651_850.00.pdf                    43384       5/30/2023 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__807837_item-33_3697398-33-
31\check_images\79841                             850.00 USD.pdf                                   33876      6/26/2023 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__822135_item-24_3719894-24-
31\check_images\79841                             850.00 USD.pdf                                   36723      7/26/2023 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__837193_item-27_3741119-27-
31\check_images\79841                             850.00 USD.pdf                                   34744      8/29/2023 10:17



                                                             990
  Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 992 of
                                       3467



               All Paths/Locations                                Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__848637_item-24_3757857-24-
31\check_images\79841                             850.00 USD.pdf                                    37140       9/25/2023 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__862419_item-29_3773956-29-
31\check_images\79841                             850.00 USD.pdf                                    44064     10/27/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__875257_item-32_3787862-32-
31\check_images\79841                             850.00 USD.pdf                                    37595     11/27/2023 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__888231_item-26_3801573-26-
31\check_images\79841                             850.00 USD.pdf                                    37291     12/26/2023 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__904062_item-38_3815535-38-
31\check_images\79841                             850.00 USD.pdf                                    33714      1/30/2024 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__916106_item-30_3829154-30-
31\check_images\79841                             850.00 USD.pdf                                    33250      2/26/2024 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__928382_item-40_3836370-40-
31\check_images\79841                             850.00 USD.pdf                                    36496      3/26/2024 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__942120_item-4_3843831-4-850.00
31\check_images\79841                             USD.pdf                                           32609       4/29/2024 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-15__654947_Re_ Servicing HB Release
31\check_images\79917                             07 06 22 APPROVAL NEEDED_FLove Approval.pdf      285235        7/7/2022 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-15__656519_1000267896-14-185.00
31\check_images\79917                             USD.pdf                                           77757      7/11/2022 16:34



                                                             991
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-15__670378_1000274423-7-185.00
31\check_images\79917                             USD.pdf                                         81281      8/12/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-15__683760_item-36_1000280792-36-
31\check_images\79917                             185.00 USD.pdf                                  81117      9/12/2022 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-15__697687_item-24_1000287166-24-
31\check_images\79917                             185.00 USD.pdf                                  76632      10/13/2022 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-15__710088_item-41_1000293486-41-
31\check_images\79917                             185.00 USD.pdf                                  73071     11/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-15__722988_item-31_1000299924-31-
31\check_images\79917                             185.00 USD.pdf                                  57911     12/13/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-15__737163_item-33_1000306473-33-
31\check_images\79917                             185.00 USD.pdf                                  75684       1/13/2023 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-15__749614_item-35_1000312649-35-
31\check_images\79917                             185.00 USD.pdf                                  52653       2/13/2023 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-15__762503_item-20_1000318920-20-
31\check_images\79917                             185.00 USD.pdf                                  76066       3/13/2023 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-15__777683_item-8_1000325578-8-
31\check_images\79917                             185.00 USD.pdf                                  76254      4/17/2023 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-15__791821_item-39_1000331478-39-
31\check_images\79917                             185.00 USD.pdf                                  77659      5/16/2023 12:50



                                                            992
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-15__805026_item-39_1000343277-39-
31\check_images\79917                             185.00 USD.pdf                                  73704      6/15/2023 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-15__817647_item-19_1000353684-19-
31\check_images\79917                             185.00 USD.pdf                                  71659       7/13/2023 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-15__830275_item-25_1000363636-25-
31\check_images\79917                             185.00 USD.pdf                                  73405       8/11/2023 8:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-15__845299_item-22_1000374411-22-
31\check_images\79917                             185.00 USD.pdf                                  73411      9/18/2023 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-15__857825_item-16_1000384840-16-
31\check_images\79917                             185.00 USD.pdf                                  79679      10/13/2023 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-15__870007_item-20_1000394917-20-
31\check_images\79917                             185.00 USD.pdf                                  80776     11/13/2023 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-15__890622_item-7_1000404981-7-
31\check_images\79917                             185.00 USD.pdf                                  82282      12/29/2023 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-15__898042_item-10_1000415134-10-
31\check_images\79917                             185.00 USD.pdf                                  52238      1/16/2024 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__910248_item-41_1000425513-41-
31\check_images\79917                             185.00 USD.pdf                                  76441       2/12/2024 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-15__925108_item-9_1000435658-9-
31\check_images\79917                             185.00 USD.pdf                                  57711      3/18/2024 12:08



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-15__938835_item-22_1000445658-22-
31\check_images\79917                             185.00 USD.pdf                                  55630       4/17/2024 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-15__950529_item-23_1000455670-23-
31\check_images\79917                             185.00 USD.pdf                                  77987       5/14/2024 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-28__864469_item-24_4491181502-24-
31\check_images\80267                             24000.00 USD.pdf                                39580     10/31/2023 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-05__772105_item-10_10624754-10-
31\check_images\80289                             141.07 USD.pdf                                  82123       4/3/2023 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-05__800263_item-35_10661294-35-
31\check_images\80289                             141.07 USD.pdf                                  81169       6/5/2023 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-05__828017_item-19_10695012-19-
31\check_images\80289                             141.07 USD.pdf                                  90773        8/7/2023 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\80289                             2022-09-05__834619_10594_10488320.pdf          107968        9/6/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\80289                             2022-10-05__834620_10595_10488314.pdf          245983        9/6/2022 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\80289                             2022-11-05__720674_10550708 141.07.pdf         309892       12/7/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\80289                             2022-12-05__720673_10550713 141.07.pdf         311329       12/7/2022 8:50



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-05__734966_item-11_10572416-11-
31\check_images\80289                             141.07 USD.pdf                                  48890      1/10/2023 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\80289                             2023-02-05__747495_10588321 141.07.pdf         559117        2/7/2023 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2023-03-05__760523_Pages from
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- IFTSBRW20230306_PHL-9582-5115_001211P409-
31\check_images\80289                             2.pdf                                           93827        3/7/2023 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-05__787158_item-15_10642806-15-
31\check_images\80289                             141.07 USD.pdf                                  82375        5/5/2023 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-05__787155_item-14_10642802-14-
31\check_images\80289                             141.07 USD.pdf                                  83017        5/5/2023 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-05__799979_item-18_10661287-18-
31\check_images\80289                             141.07 USD.pdf                                  80536        6/5/2023 9:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-05__812552_item-23_10677343-23-
31\check_images\80289                             141.07 USD.pdf                                  85759        7/3/2023 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-05__834621_10481_10469225-40-
31\check_images\80289                             141.07 USD.pdf                                  38136       8/5/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-05__841231_item-26_10711221-26-
31\check_images\80289                             141.07 USD.pdf                                  91516        9/5/2023 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-05__852323_item-2_10727941-2-
31\check_images\80289                             141.07 USD.pdf                                  96158      10/2/2023 14:39



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               All Paths/Locations                                   Unified Title          File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-05__867723_item-42_10744809-42-
31\check_images\80289                             141.07 USD.pdf                                83946       11/6/2023 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-05__880096_item-30_10768243-30-
31\check_images\80289                             141.07 USD.pdf                                80077        12/4/2023 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-05__894737_item-16_10787402-16-
31\check_images\80289                             141.07 USD.pdf                                81564        1/8/2024 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-05__908161_item-26_10802976-26-
31\check_images\80289                             141.07 USD.pdf                               109475        2/6/2024 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-05__920517_item-14_10818874-14-
31\check_images\80289                             141.07 USD.pdf                                80758        3/5/2024 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-05__934574_item-7_10835676-7-
31\check_images\80289                             141.07 USD.pdf                                84018        4/8/2024 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-05__947772_item-29_10851929-29-
31\check_images\80289                             141.07 USD.pdf                               102218        5/7/2024 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-22__797075_11732_item-
31\check_images\80422                             1_1917744173-1-127890.00 USD.pdf             279352       5/31/2023 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__776899_Collections by
31\check_images\81550                             Securitization.pdf                              9222      12/13/2022 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__776803_Collections by
31\check_images\81550                             Securitization.pdf                              9411       1/13/2023 8:32



                                                             996
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               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__776804_Collections by
31\check_images\81550                             Securitization Combined.pdf            106619       6/17/2024 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__776824_Collections by
31\check_images\81550                             Securitization.pdf                        9823       3/13/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__776452_Collections by
31\check_images\81550                             Securitization.pdf                        6306       4/12/2023 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__789563_Collections by
31\check_images\81550                             Securitization.pdf                        8779       5/11/2023 7:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__804934_Collections by
31\check_images\81550                             Securitization.pdf                        8790       6/15/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__819577_Collections by
31\check_images\81550                             Securitization.pdf                      31684        7/19/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__832354_Collections by
31\check_images\81550                             Securitization.pdf                     182862        8/16/2023 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__847151_Collections by
31\check_images\81550                             Securitization.pdf                      30952        9/21/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__857412_Collections by
31\check_images\81550                             Securitization 10102023.pdf             32534       10/13/2023 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__872837_Collections by
31\check_images\81550                             Securitization.pdf                        6309      11/17/2023 7:26



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               All Paths/Locations                                   Unified Title           File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__882515_Collections by
31\check_images\81550                             Securitization.pdf                             31746       12/11/2023 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__896804_Collections by
31\check_images\81550                             Securitization.pdf                             31483        1/11/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__911706_Collections by
31\check_images\81550                             Securitization.pdf                             30701        2/15/2024 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__924231_Collections by
31\check_images\81550                             Securitization 03122024.pdf                    54223        3/15/2024 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\81550                             2024-04-01__932096_item-68_2265_5_8.pdf        72548         4/2/2024 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\81550                             2024-05-01__940839_item-19_2265_48_6.pdf       70538        4/24/2024 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-15__777078_Collections by
31\check_images\81551                             Securitization.pdf                               8797     12/14/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-15__777079_Collections by
31\check_images\81551                             Securitization.pdf                               8606       1/17/2023 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-15__777080_Collections by
31\check_images\81551                             Securitization.pdf                               8599       2/14/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-15__777081_Collections by
31\check_images\81551                             Securitization.pdf                               9823       3/13/2023 9:04



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-15__776956_Collections by
31\check_images\81551                             Securitization.pdf                        8591       4/13/2023 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-15__789715_Collections by
31\check_images\81551                             Securitization.pdf                        9232       5/12/2023 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-15__805730_Collections by
31\check_images\81551                             Securitization 06142023.pdf               3139      6/17/2024 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-15__817591_Collections by
31\check_images\81551                             Securitization.pdf                      32183        7/13/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-15__831638_Collections by
31\check_images\81551                             Securitization.pdf                     183258        8/15/2023 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-15__845133_Collections by
31\check_images\81551                             Securitization.pdf                      30962        9/18/2023 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-15__859104_Collections by
31\check_images\81551                             Securitization.pdf                      30561       10/17/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-15__873842_Collections by
31\check_images\81551                             Securitization.pdf                      31024       11/21/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-15__885351_Collections by
31\check_images\81551                             Securitization 12132023.pdf             32493       12/18/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-15__899688_Collections by
31\check_images\81551                             Securitization.pdf                      31257        1/18/2024 8:24



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__912218_Collections by
31\check_images\81551                             Securitization 02142024.pdf             32391        2/20/2024 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-15__924819_Collections by
31\check_images\81551                             Securitization.pdf                      30862        3/18/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-15__936679_Collections by
31\check_images\81551                             Securitization.pdf                      31638        4/15/2024 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-15__949055_Collections by
31\check_images\81551                             Securitization 05072024.pdf             50371        5/10/2024 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-30__777122_Collections by
31\check_images\81552                             Securitization.pdf                        8806        1/4/2023 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-30__777123_Collections by
31\check_images\81552                             Securitization.pdf                        8601        2/2/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-28__777124_Collections by
31\check_images\81552                             Securitization.pdf                        2963      6/17/2024 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-30__777125_Collections by
31\check_images\81552                             Securitization.pdf                        8800        4/4/2023 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-30__784598_Collections by
31\check_images\81552                             Securitization.pdf                        8596        5/2/2023 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-30__801996_Collections by
31\check_images\81552                             Securitization.pdf                        9411        6/8/2023 8:27



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-30__813144_Collections by
31\check_images\81552                             Securitization.pdf                      31296         7/5/2023 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-30__825086_Collections by
31\check_images\81552                             Securitization.pdf                     102380         8/1/2023 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-30__841412_Collections by
31\check_images\81552                             Securitization 08312023.pdf               3707      6/17/2024 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-30__851348_Collections by
31\check_images\81552                             Securitization.pdf                      31066        10/2/2023 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-30__866822_Collections by
31\check_images\81552                             Securitization.pdf                      31511        11/3/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-30__882511_Collections by
31\check_images\81552                             Securitization.pdf                      31746       12/11/2023 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-30__894282_Collections by
31\check_images\81552                             Securitization.pdf                      31605         1/5/2024 7:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-30__905971_Collections by
31\check_images\81552                             Securitization.pdf                      31822         2/2/2024 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-29__918390_Collections by
31\check_images\81552                             Securitization.pdf                      31315         3/4/2024 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-30__931360_Collections by
31\check_images\81552                             Securitization.pdf                      29001         4/2/2024 7:28



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-30__947662_Collections by
31\check_images\81552                             Securitization.pdf                      30959         5/7/2024 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-30__960638_Collections by
31\check_images\81552                             Securitization.pdf                      10041         6/7/2024 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__777107_Collections by
31\check_images\81553                             Securitization.pdf                        3154      6/17/2024 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__777108_Collections by
31\check_images\81553                             Securitization.pdf                        3135      6/17/2024 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__777105_Collections by
31\check_images\81553                             Securitization.pdf                        9432        2/3/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__777109_Collections by
31\check_images\81553                             Securitization.pdf                        4079      6/17/2024 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__777106_Collections by
31\check_images\81553                             Securitization.pdf                        8800        4/4/2023 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__787386_Collections by
31\check_images\81553                             Securitization.pdf                        9967        5/8/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__799792_Collections by
31\check_images\81553                             Securitization 05312023.pdf               4084      6/17/2024 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__814587_Collections by
31\check_images\81553                             Securitization.pdf                      31454         7/7/2023 7:56



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               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__827357_Collections by
31\check_images\81553                             Securitization.pdf                     157010         8/3/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__841396_Collections by
31\check_images\81553                             Securitization 08312023.pdf               3707      6/17/2024 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__851349_Collections by
31\check_images\81553                             Securitization.pdf                      31066        10/2/2023 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__866810_Collections by
31\check_images\81553                             Securitization 10302023.pdf               4835      6/17/2024 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__880296_Collections by
31\check_images\81553                             Securitization.pdf                      30766        12/5/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__894276_Collections by
31\check_images\81553                             Securitization.pdf                      31605         1/5/2024 7:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__905067_Collections by
31\check_images\81553                             Securitization.pdf                      31474         2/1/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__919822_Collections by
31\check_images\81553                             Securitization.pdf                      32339         3/5/2024 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__933945_Collections by
31\check_images\81553                             Securitization.pdf                      32309         4/4/2024 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__946826_Collections by
31\check_images\81553                             Securitization.pdf                      32235         5/6/2024 8:21



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               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__777082_Collections by
31\check_images\81554                             Securitization.pdf                        9023       12/6/2022 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__777083_Collections by
31\check_images\81554                             Securitization.pdf                        3135      6/17/2024 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__777084_Collections by
31\check_images\81554                             Securitization.pdf                        3514      6/17/2024 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__777085_Collections by
31\check_images\81554                             Securitization.pdf                        2765      6/17/2024 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__774670_Collections by
31\check_images\81554                             Securitization.pdf                        9225        4/7/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__787427_Collections by
31\check_images\81554                             Securitization.pdf                        9967        5/8/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__801985_Collections by
31\check_images\81554                             Securitization.pdf                        9411        6/8/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__816067_Collections by
31\check_images\81554                             Securitization.pdf                      30706        7/11/2023 8:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__827966_Collections by
31\check_images\81554                             Securitization.pdf                     185664         8/7/2023 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__841392_Collections by
31\check_images\81554                             Securitization 08312023.pdf               3707      6/17/2024 11:19



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__855151_Collections by
31\check_images\81554                             Securitization.pdf                      32433      10/10/2023 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__868563_Collections by
31\check_images\81554                             Securitization.pdf                      30923        11/8/2023 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__880301_Collections by
31\check_images\81554                             Securitization.pdf                      30766        12/5/2023 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__895372_Collections by
31\check_images\81554                             Securitization.pdf                      31952         1/9/2024 7:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__920696_Collections by
31\check_images\81554                             Securitization.pdf                      30675         3/6/2024 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__935170_Collections by
31\check_images\81554                             Securitization.pdf                      31194         4/9/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__947659_Collections by
31\check_images\81554                             Securitization.pdf                      30959         5/7/2024 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__777096_Collections by
31\check_images\81555                             Securitization.pdf                        9023       12/6/2022 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__777097_Collections by
31\check_images\81555                             Securitization.pdf                        3135      6/17/2024 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__777095_Collections by
31\check_images\81555                             Securitization.pdf                        9432        2/3/2023 8:24



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Saiph consulting|\Audit Materials Received-
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Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__777098_Collections by
31\check_images\81555                             Securitization.pdf                        2158      6/17/2024 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__777099_Collections by
31\check_images\81555                             Securitization.pdf                        2157      6/17/2024 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__786671_Collections by
31\check_images\81555                             Securitization.pdf                        8401        5/4/2023 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__801978_Collections by
31\check_images\81555                             Securitization.pdf                        9411        6/8/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__814459_Collections by
31\check_images\81555                             Securitization.pdf                      31640         7/6/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__826440_Collections by
31\check_images\81555                             Securitization 07282023.pdf               2159      6/17/2024 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__842202_Collections by
31\check_images\81555                             Securitization 09012023.pdf               3500      6/17/2024 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__853704_Collections by
31\check_images\81555                             Securitization 09292023.pdf               2392      6/17/2024 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__866813_Collections by
31\check_images\81555                             Securitization 10302023.pdf               4835      6/17/2024 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__882107_Collections by
31\check_images\81555                             Securitization 12042023.pdf             33142        12/7/2023 9:33



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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__894277_Collections by
31\check_images\81555                             Securitization.pdf                      31605         1/5/2024 7:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__905956_Collections by
31\check_images\81555                             Securitization.pdf                      31822         2/2/2024 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__919830_Collections by
31\check_images\81555                             Securitization.pdf                      32339         3/5/2024 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__933951_Collections by
31\check_images\81555                             Securitization.pdf                      32309         4/4/2024 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__946135_Collections by
31\check_images\81555                             Securitization 04292024.pdf             33919         5/2/2024 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-03__777114_Collections by
31\check_images\81556                             Securitization.pdf                        8416      12/28/2022 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-03__777112_Collections by
31\check_images\81556                             Securitization.pdf                        3158      6/17/2024 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-03__777113_Collections by
31\check_images\81556                             Securitization.pdf                        3713      6/17/2024 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-03__777110_Collections by
31\check_images\81556                             Securitization.pdf                        8607       3/30/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-03__777111_Collections by
31\check_images\81556                             Securitization.pdf                        8607       3/30/2023 8:13



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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-03__788754_Collections by
31\check_images\81556                             Securitization 05042023.pdf               2590      6/17/2024 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-03__801981_Collections by
31\check_images\81556                             Securitization.pdf                        9411        6/8/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-03__816750_Collections by
31\check_images\81556                             Securitization.pdf                      31083        7/12/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-03__827353_Collections by
31\check_images\81556                             Securitization.pdf                     157010         8/3/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-03__839476_Collections by
31\check_images\81556                             Securitization.pdf                      31310         9/1/2023 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-03__854479_Collections by
31\check_images\81556                             Securitization.pdf                      31318        10/5/2023 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-03__866815_Collections by
31\check_images\81556                             Securitization 10302023.pdf               4835      6/17/2024 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-03__879047_Collections by
31\check_images\81556                             Securitization.pdf                      32282        12/4/2023 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-03__894280_Collections by
31\check_images\81556                             Securitization.pdf                      31605         1/5/2024 7:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-03__907756_Collections by
31\check_images\81556                             Securitization.pdf                      28242         2/6/2024 7:46



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               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-03__921402_Collections by
31\check_images\81556                             Securitization.pdf                      28729         3/7/2024 7:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-03__934443_Collections by
31\check_images\81556                             Securitization.pdf                      28828         4/8/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-03__946822_Collections by
31\check_images\81556                             Securitization.pdf                      32235         5/6/2024 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-08__776406_Collections by
31\check_images\81557                             Securitization.pdf                        9222      12/13/2022 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-08__785208_Collections by
31\check_images\81557                             Securitization 1112023.pdf                8784       5/2/2023 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-08__776407_Collections by
31\check_images\81557                             Securitization.pdf                        9411       1/13/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-08__776408_Collections by
31\check_images\81557                             Securitization.pdf                        9823       3/13/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-08__776075_Collections by
31\check_images\81557                             Securitization.pdf                        7944       4/11/2023 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-08__789565_Collections by
31\check_images\81557                             Securitization.pdf                        8779       5/11/2023 7:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-08__802122_Collections by
31\check_images\81557                             Securitization.pdf                        8767        6/9/2023 8:22



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-08__816070_Collections by
31\check_images\81557                             Securitization.pdf                      30706       7/11/2023 8:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-08__833055_Collections by
31\check_images\81557                             Securitization.pdf                     183339       8/17/2023 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-08__843436_Collections by
31\check_images\81557                             Securitization.pdf                      31977       9/12/2023 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-08__856235_Collections by
31\check_images\81557                             Securitization.pdf                      27972      10/11/2023 7:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-08__871957_Collections by
31\check_images\81557                             Securitization 11092023.pdf             31843     11/15/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-08__883296_Collections by
31\check_images\81557                             Securitization.pdf                      30328      12/12/2023 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-08__896806_Collections by
31\check_images\81557                             Securitization.pdf                      31483       1/11/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-08__908988_Collections by
31\check_images\81557                             Securitization.pdf                      31708        2/9/2024 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-08__924820_Collections by
31\check_images\81557                             Securitization.pdf                      30862       3/18/2024 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-08__936348_Collections by
31\check_images\81557                             Securitization.pdf                      31113       4/12/2024 7:34



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-08__948915_Collections by
31\check_images\81557                             Securitization.pdf                      30949         5/9/2024 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-15__777100_Collections by
31\check_images\81558                             Securitization.pdf                        8782       1/19/2023 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-15__777102_Collections by
31\check_images\81558                             Securitization.pdf                        8219       2/22/2023 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-15__777103_Collections by
31\check_images\81558                             Securitization.pdf                        8800        4/4/2023 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-15__777104_Collections by
31\check_images\81558                             Securitization.pdf                        8783       3/16/2023 7:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-15__779032_Collections by
31\check_images\81558                             Securitization.pdf                        7950       4/19/2023 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-15__792694_Collections by
31\check_images\81558                             Securitization.pdf                        8594       5/18/2023 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-15__804937_Collections by
31\check_images\81558                             Securitization.pdf                        8790       6/15/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-15__840224_Collections by
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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-15__840193_Collections by
31\check_images\81558                             Securitization 08302023.pdf               3727      6/17/2024 11:21



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-15__857950_Collections by
31\check_images\81558                             Securitization.pdf                      30670       10/16/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-15__859981_Collections by
31\check_images\81558                             Securitization.pdf                      31388       10/19/2023 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-15__873167_Collections by
31\check_images\81558                             Securitization.pdf                      29249       11/20/2023 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-15__885371_Collections by
31\check_images\81558                             Securitization 12132023.pdf             32493       12/18/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-15__899694_Collections by
31\check_images\81558                             Securitization.pdf                      31257        1/18/2024 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__911709_Collections by
31\check_images\81558                             Securitization.pdf                      30701        2/15/2024 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-15__924232_Collections by
31\check_images\81558                             Securitization 03122024.pdf             54223        3/15/2024 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-15__939411_Collections by
31\check_images\81558                             Securitization.pdf                      31175        4/18/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-15__952490_Collections by
31\check_images\81558                             Securitization.pdf                      31993        5/20/2024 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__777086_Collections by
31\check_images\81559                             Securitization.pdf                        8809        1/3/2023 8:36



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               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__777087_Collections by
31\check_images\81559                             Securitization.pdf                        9432        2/3/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__777088_Collections by
31\check_images\81559                             Securitization.pdf                        2581      6/17/2024 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__816637_Collections by
31\check_images\81559                             Securitization 03292023.pdf               4263      6/17/2024 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__784608_Collections by
31\check_images\81559                             Securitization.pdf                        8596        5/2/2023 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__799193_Collections by
31\check_images\81559                             Securitization 05302023.pdf               3519      6/17/2024 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__814458_Collections by
31\check_images\81559                             Securitization.pdf                      31640         7/6/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__825087_Collections by
31\check_images\81559                             Securitization.pdf                     102380         8/1/2023 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__839477_Collections by
31\check_images\81559                             Securitization.pdf                      31310         9/1/2023 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__850914_Collections by
31\check_images\81559                             Securitization.pdf                      31964        9/29/2023 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__866811_Collections by
31\check_images\81559                             Securitization 10302023.pdf               4835      6/17/2024 11:22



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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__879057_Collections by
31\check_images\81559                             Securitization.pdf                      32282        12/4/2023 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__892015_Collections by
31\check_images\81559                             Securitization.pdf                      31012         1/3/2024 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__905972_Collections by
31\check_images\81559                             Securitization.pdf                      31822         2/2/2024 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__919838_Collections by
31\check_images\81559                             Securitization.pdf                      32339         3/5/2024 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__931358_Collections by
31\check_images\81559                             Securitization.pdf                      29001         4/2/2024 7:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__946168_Collections by
31\check_images\81559                             Securitization 04292024.pdf             33919         5/2/2024 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__777115_Collections by
31\check_images\81560                             Securitization.pdf                        9402       1/10/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__777116_Collections by
31\check_images\81560                             Securitization.pdf                        8586        2/7/2023 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__777118_Collections by
31\check_images\81560                             Securitization.pdf                        3713      6/17/2024 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__777117_Collections by
31\check_images\81560                             Securitization.pdf                        9949        4/6/2023 8:01



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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__787046_Collections by
31\check_images\81560                             Securitization.pdf                        8582        5/5/2023 7:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__799847_Collections by
31\check_images\81560                             Securitization 05312023.pdf               4084      6/17/2024 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__816066_Collections by
31\check_images\81560                             Securitization.pdf                      30706        7/11/2023 8:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__827963_Collections by
31\check_images\81560                             Securitization.pdf                     185664         8/7/2023 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__842196_Collections by
31\check_images\81560                             Securitization 09012023.pdf               3500      6/17/2024 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__855126_Collections by
31\check_images\81560                             Securitization.pdf                      32433      10/10/2023 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__866821_Collections by
31\check_images\81560                             Securitization.pdf                      31511        11/3/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__882206_Collections by
31\check_images\81560                             Securitization.pdf                      31102        12/8/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__895377_Collections by
31\check_images\81560                             Securitization.pdf                      31952         1/9/2024 7:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__911179_Collections by
31\check_images\81560                             Securitization.pdf                      30052        2/14/2024 7:38



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               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__919802_Collections by
31\check_images\81560                             Securitization.pdf                      32339         3/5/2024 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__934132_Collections by
31\check_images\81560                             Securitization.pdf                      31771         4/5/2024 7:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__946183_Collections by
31\check_images\81560                             Securitization 04292024.pdf             33919         5/2/2024 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-05__777119_Collections by
31\check_images\81561                             Securitization.pdf                        9402       1/10/2023 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-05__777120_Collections by
31\check_images\81561                             Securitization.pdf                        3514      6/17/2024 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-05__777121_Collections by
31\check_images\81561                             Securitization.pdf                        3713      6/17/2024 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-05__774679_Collections by
31\check_images\81561                             Securitization.pdf                        9225        4/7/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-05__787462_Collections by
31\check_images\81561                             Securitization.pdf                        9967        5/8/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-05__801983_Collections by
31\check_images\81561                             Securitization.pdf                        9411        6/8/2023 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-05__814592_Collections by
31\check_images\81561                             Securitization.pdf                      31454         7/7/2023 7:56



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               All Paths/Locations                                   Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-05__828906_Collections by
31\check_images\81561                             Securitization.pdf                     182501        8/8/2023 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-05__842281_Collections by
31\check_images\81561                             Securitization.pdf                      31292        9/8/2023 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-05__855145_Collections by
31\check_images\81561                             Securitization.pdf                      32433     10/10/2023 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-05__868566_Collections by
31\check_images\81561                             Securitization.pdf                      30923       11/8/2023 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-05__879035_Collections by
31\check_images\81561                             Securitization.pdf                      32282       12/4/2023 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-05__891979_Collections by
31\check_images\81561                             Securitization.pdf                      31844        1/3/2024 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-05__908814_Collections by
31\check_images\81561                             Securitization.pdf                      31265        2/8/2024 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-05__921548_Collections by
31\check_images\81561                             Securitization.pdf                      31318        3/8/2024 7:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-05__934444_Collections by
31\check_images\81561                             Securitization.pdf                      28828        4/8/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-05__947658_Collections by
31\check_images\81561                             Securitization.pdf                      30959        5/7/2024 8:06



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               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-10__777073_Collections by
31\check_images\81562                             Securitization.pdf                        8782       1/19/2023 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-10__777074_Collections by
31\check_images\81562                             Securitization.pdf                        8599       2/14/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-10__777075_Collections by
31\check_images\81562                             Securitization.pdf                        8783       3/16/2023 7:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-10__776955_Collections by
31\check_images\81562                             Securitization.pdf                        8591       4/13/2023 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-10__789714_Collections by
31\check_images\81562                             Securitization.pdf                        9232       5/12/2023 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-10__804936_Collections by
31\check_images\81562                             Securitization.pdf                        8790       6/15/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-10__819271_Collections by
31\check_images\81562                             Securitization.pdf                        6309       7/18/2023 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-10__830242_Collections by
31\check_images\81562                             Securitization.pdf                     182688        8/11/2023 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-10__844750_Collections by
31\check_images\81562                             Securitization.pdf                      31157        9/15/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-10__857415_Collections by
31\check_images\81562                             Securitization 10102023.pdf             32534       10/13/2023 8:25



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               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-10__869541_Collections by
31\check_images\81562                             Securitization 11082023.pdf               2395      6/17/2024 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-10__884805_Collections by
31\check_images\81562                             Securitization.pdf                      31832       12/14/2023 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-10__901757_Collections by
31\check_images\81562                             Securitization.pdf                      31059        1/26/2024 7:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-10__909162_Collections by
31\check_images\81562                             Securitization.pdf                      32078        2/12/2024 8:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-10__922897_Collections by
31\check_images\81562                             Securitization.pdf                      29327        3/12/2024 7:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-10__936186_Collections by
31\check_images\81562                             Securitization.pdf                      31176        4/11/2024 7:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-10__948920_Collections by
31\check_images\81562                             Securitization.pdf                      30949         5/9/2024 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-15__777133_Collections by
31\check_images\81563                             Securitization.pdf                        8782       1/19/2023 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-15__777134_Collections by
31\check_images\81563                             Securitization.pdf                        8995       2/16/2023 8:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-15__777135_Collections by
31\check_images\81563                             Securitization.pdf                        8783       3/16/2023 7:53



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-15__777131_Collections by
31\check_images\81563                             Securitization.pdf                        8604       4/14/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-15__792690_Collections by
31\check_images\81563                             Securitization.pdf                        8594       5/18/2023 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-15__804933_Collections by
31\check_images\81563                             Securitization.pdf                        8790       6/15/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-15__818115_Collections by
31\check_images\81563                             Securitization.pdf                      28027        7/17/2023 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-15__833053_Collections by
31\check_images\81563                             Securitization.pdf                     183339        8/17/2023 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-15__845132_Collections by
31\check_images\81563                             Securitization.pdf                      30962        9/18/2023 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-15__859982_Collections by
31\check_images\81563                             Securitization.pdf                      31388       10/19/2023 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-15__872301_Collections by
31\check_images\81563                             Securitization.pdf                      30783       11/16/2023 7:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-15__885020_Collections by
31\check_images\81563                             Securitization.pdf                      31216       12/15/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-15__900188_Collections by
31\check_images\81563                             Securitization 01162024.pdf               8218       1/19/2024 8:23



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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__911707_Collections by
31\check_images\81563                             Securitization.pdf                      30701        2/15/2024 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-15__924237_Collections by
31\check_images\81563                             Securitization 03122024.pdf             54223        3/15/2024 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-15__939412_Collections by
31\check_images\81563                             Securitization.pdf                      31175        4/18/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-15__951806_Collections by
31\check_images\81563                             Securitization.pdf                      31331        5/16/2024 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-16__777089_Collections by
31\check_images\81564                             Securitization.pdf                        9411       1/13/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-16__777090_Collections by
31\check_images\81564                             Securitization.pdf                        8995       2/16/2023 8:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-16__777091_Collections by
31\check_images\81564                             Securitization.pdf                        8779       3/20/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-16__777132_Collections by
31\check_images\81564                             Securitization.pdf                        8604       4/14/2023 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-16__792698_Collections by
31\check_images\81564                             Securitization.pdf                        8594       5/18/2023 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-16__805758_Collections by
31\check_images\81564                             Securitization 06142023.pdf               3139      6/17/2024 11:24



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-16__820268_Collections by
31\check_images\81564                             Securitization.pdf                      28531       7/20/2023 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-16__833054_Collections by
31\check_images\81564                             Securitization.pdf                     183339       8/17/2023 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-16__844748_Collections by
31\check_images\81564                             Securitization.pdf                      31157       9/15/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-16__857949_Collections by
31\check_images\81564                             Securitization.pdf                      30670      10/16/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-16__872299_Collections by
31\check_images\81564                             Securitization.pdf                      30783      11/16/2023 7:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-16__885018_Collections by
31\check_images\81564                             Securitization.pdf                      31216      12/15/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-16__899686_Collections by
31\check_images\81564                             Securitization.pdf                      31257       1/18/2024 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-16__912226_Collections by
31\check_images\81564                             Securitization 02142024.pdf             32391       2/20/2024 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-16__924236_Collections by
31\check_images\81564                             Securitization 03122024.pdf             54223       3/15/2024 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-16__936680_Collections by
31\check_images\81564                             Securitization.pdf                      31638       4/15/2024 8:06



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               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-16__951809_Collections by
31\check_images\81564                             Securitization.pdf                      31331        5/16/2024 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-18__777092_Collections by
31\check_images\81565                             Securitization.pdf                        8212       1/23/2023 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-18__777093_Collections by
31\check_images\81565                             Securitization.pdf                        8212       1/23/2023 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-18__777094_Collections by
31\check_images\81565                             Securitization.pdf                        7951       3/23/2023 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-18__781144_Collections by
31\check_images\81565                             Securitization.pdf                        8409       4/25/2023 8:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-18__793121_Collections by
31\check_images\81565                             Securitization.pdf                        8787       5/22/2023 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-18__807467_Collections by
31\check_images\81565                             Securitization 06202023.pdf               2767      6/17/2024 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-18__820493_Collections by
31\check_images\81565                             Securitization.pdf                      30165        7/24/2023 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-18__834626_Collections by
31\check_images\81565                             Securitization.pdf                        6306       8/23/2023 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-18__847154_Collections by
31\check_images\81565                             Securitization.pdf                      30952        9/21/2023 7:45



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               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-18__861401_Collections by
31\check_images\81565                             Securitization.pdf                      27974       10/25/2023 8:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-18__876059_Collections by
31\check_images\81565                             Securitization 11202023.pdf               2791      6/17/2024 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-18__887851_Collections by
31\check_images\81565                             Securitization.pdf                      30919       12/22/2023 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-18__900314_Collections by
31\check_images\81565                             Securitization.pdf                      31424        1/22/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-18__914406_Collections by
31\check_images\81565                             Securitization.pdf                      31579        2/23/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-18__926545_Collections by
31\check_images\81565                             Securitization.pdf                      31672        3/21/2024 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-18__941283_Collections by
31\check_images\81565                             Securitization.pdf                      28318        4/25/2024 7:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-18__954077_Collections by
31\check_images\81565                             Securitization.pdf                      31453        5/23/2024 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-15__872298_Collections by
31\check_images\81566                             Securitization.pdf                      30783       11/16/2023 7:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-15__885021_Collections by
31\check_images\81566                             Securitization.pdf                      31216       12/15/2023 9:17



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Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-15__896978_Collections by
31\check_images\81566                             Securitization.pdf                      30558       1/12/2024 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__911710_Collections by
31\check_images\81566                             Securitization.pdf                      30701       2/15/2024 7:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-15__924233_Collections by
31\check_images\81566                             Securitization 03122024.pdf             54223       3/15/2024 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-15__936675_Collections by
31\check_images\81566                             Securitization.pdf                      31638       4/15/2024 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-15__951808_Collections by
31\check_images\81566                             Securitization.pdf                      31331       5/16/2024 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-18__901574_Collections by
31\check_images\81567                             Securitization.pdf                      30610       1/25/2024 7:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-18__914585_Collections by
31\check_images\81567                             Securitization.pdf                      30644       2/26/2024 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-18__926759_Collections by
31\check_images\81567                             Securitization.pdf                      30446       3/22/2024 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-18__941682_Collections by
31\check_images\81567                             Securitization.pdf                      30833       4/26/2024 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-18__954775_Collections by
31\check_images\81567                             Securitization.pdf                      31189       5/28/2024 8:05



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               All Paths/Locations                                   Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-23__901758_Collections by
31\check_images\81568                             Securitization.pdf                        31059        1/26/2024 7:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-23__914588_Collections by
31\check_images\81568                             Securitization.pdf                        30644        2/26/2024 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-23__928106_Collections by
31\check_images\81568                             Securitization.pdf                        28553        3/26/2024 7:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-23__940737_Collections by
31\check_images\81568                             Securitization.pdf                        27761        4/24/2024 7:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-23__953551_Collections by
31\check_images\81568                             Securitization.pdf                          6458       5/22/2024 7:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-09__909160_Collections by
31\check_images\81569                             Securitization.pdf                        32078        2/12/2024 8:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-19__941683_Collections by
31\check_images\81571                             Securitization.pdf                        30833        4/26/2024 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-19__951810_Collections by
31\check_images\81571                             Securitization.pdf                        31331        5/16/2024 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-15__911272_North-SuttonPark
31\check_images\81704                             Servicing Report 2401 Jan 2024.pdf       107837        2/14/2024 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__926744_North-SuttonPark
31\check_images\81704                             Servicing Report 2402 Feb 2024.pdf       109241       3/21/2024 13:59



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Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-15__940672_North-SuttonPark
31\check_images\81704                             Servicing Report 2403 Mar 2024.pdf       445492      4/23/2024 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-15__952216_North-SuttonPark
31\check_images\81704                             Servicing Report 2404 Apr 2024.pdf       108585       5/17/2024 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-15__773741_North-SuttonPark
31\check_images\81708                             Servicing Report 2212 Dec 2022.pdf       107321       4/5/2023 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-15__773772_North-SuttonPark
31\check_images\81708                             Servicing Report 2301 Jan. 2023.pdf      107899       4/5/2023 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-15__773773_North-SuttonPark
31\check_images\81708                             Servicing Report 2302 Feb. 2023.pdf      109137       4/5/2023 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-15__780120_North-SuttonPark
31\check_images\81708                             Servicing Report 2303 Mar. 2023.pdf      109197      4/21/2023 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-15__792491_North-SuttonPark
31\check_images\81708                             Servicing Report 2304 Apr. 2023.pdf      109005      5/17/2023 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-15__805791_North-SuttonPark
31\check_images\81708                             Servicing Report 2305 May 2023.pdf       108954      6/20/2023 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-15__818952_North-SuttonPark
31\check_images\81708                             Servicing Report 2306 Jun 2023.pdf       108755      7/17/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-15__832701_North-SuttonPark
31\check_images\81708                             Servicing Report 2307 Jul 2023.pdf       108729      8/16/2023 11:14



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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-15__847378_North-SuttonPark
31\check_images\81708                             Servicing Report 2308 Aug 2023.pdf       107350      9/21/2023 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-15__859589_North-SuttonPark
31\check_images\81708                             Servicing Report 2309 Sept 2023.pdf      107295      10/18/2023 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-15__873802_North-SuttonPark
31\check_images\81708                             Servicing Report 2310 Oct 2023.pdf       107616     11/20/2023 23:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-15__887723_North-SuttonPark
31\check_images\81708                             Servicing Report 2311 Nov 2023.pdf       107169     12/21/2023 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-15__898645_North-SuttonPark
31\check_images\81708                             Servicing Report 2312 Dec 2023.pdf       107157       1/17/2024 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-15__911244_North-SuttonPark
31\check_images\81708                             Servicing Report 2401 Jan 2024.pdf       107837       2/14/2024 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__926738_North-SuttonPark
31\check_images\81708                             Servicing Report 2402 Feb 2024.pdf       109241      3/21/2024 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-15__940667_North-SuttonPark
31\check_images\81708                             Servicing Report 2403 Mar 2024.pdf       445492      4/23/2024 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-12__773745_North-SuttonPark
31\check_images\81712                             Servicing Report 2212 Dec 2022.pdf       107321       4/5/2023 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-12__773793_North-SuttonPark
31\check_images\81712                             Servicing Report 2301 Jan. 2023.pdf      107899       4/5/2023 11:27



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               All Paths/Locations                                  Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-12__773796_North-SuttonPark
31\check_images\81712                             Servicing Report 2302 Feb. 2023.pdf      109137       4/5/2023 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-12__780122_North-SuttonPark
31\check_images\81712                             Servicing Report 2303 Mar. 2023.pdf      109197      4/21/2023 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-12__792510_North-SuttonPark
31\check_images\81712                             Servicing Report 2304 Apr. 2023.pdf      109005      5/17/2023 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-12__805796_North-SuttonPark
31\check_images\81712                             Servicing Report 2305 May 2023.pdf       108954      6/20/2023 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-12__818957_North-SuttonPark
31\check_images\81712                             Servicing Report 2306 Jun 2023.pdf       108755      7/17/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-12__832708_North-SuttonPark
31\check_images\81712                             Servicing Report 2307 Jul 2023.pdf       108729      8/16/2023 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-12__847385_North-SuttonPark
31\check_images\81712                             Servicing Report 2308 Aug 2023.pdf       107350      9/21/2023 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-12__859593_North-SuttonPark
31\check_images\81712                             Servicing Report 2309 Sept 2023.pdf      107295      10/18/2023 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-12__873804_North-SuttonPark
31\check_images\81712                             Servicing Report 2310 Oct 2023.pdf       107616     11/20/2023 23:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-12__887726_North-SuttonPark
31\check_images\81712                             Servicing Report 2311 Nov 2023.pdf       107169     12/21/2023 14:27



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               All Paths/Locations                                  Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-12__898648_North-SuttonPark
31\check_images\81712                             Servicing Report 2312 Dec 2023.pdf       107157       1/17/2024 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-12__911249_North-SuttonPark
31\check_images\81712                             Servicing Report 2401 Jan 2024.pdf       107837       2/14/2024 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-12__926741_North-SuttonPark
31\check_images\81712                             Servicing Report 2402 Feb 2024.pdf       109241      3/21/2024 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-12__940669_North-SuttonPark
31\check_images\81712                             Servicing Report 2403 Mar 2024.pdf       445492      4/23/2024 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-12__952209_North-SuttonPark
31\check_images\81712                             Servicing Report 2404 Apr 2024.pdf       108585       5/17/2024 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-15__773738_North-SuttonPark
31\check_images\81717                             Servicing Report 2212 Dec 2022.pdf       107321       4/5/2023 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-15__773769_North-SuttonPark
31\check_images\81717                             Servicing Report 2301 Jan. 2023.pdf      107899       4/5/2023 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-15__773770_North-SuttonPark
31\check_images\81717                             Servicing Report 2302 Feb. 2023.pdf      109137       4/5/2023 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-15__780119_North-SuttonPark
31\check_images\81717                             Servicing Report 2303 Mar. 2023.pdf      109197      4/21/2023 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-15__792479_North-SuttonPark
31\check_images\81717                             Servicing Report 2304 Apr. 2023.pdf      109005      5/17/2023 14:14



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               All Paths/Locations                                  Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-15__805789_North-SuttonPark
31\check_images\81717                             Servicing Report 2305 May 2023.pdf       108954      6/20/2023 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-15__818948_North-SuttonPark
31\check_images\81717                             Servicing Report 2306 Jun 2023.pdf       108755      7/17/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-15__832699_North-SuttonPark
31\check_images\81717                             Servicing Report 2307 Jul 2023.pdf       108729      8/16/2023 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-15__847374_North-SuttonPark
31\check_images\81717                             Servicing Report 2308 Aug 2023.pdf       107350      9/21/2023 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-15__859588_North-SuttonPark
31\check_images\81717                             Servicing Report 2309 Sept 2023.pdf      107295      10/18/2023 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-15__873801_North-SuttonPark
31\check_images\81717                             Servicing Report 2310 Oct 2023.pdf       107616     11/20/2023 23:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-15__887718_North-SuttonPark
31\check_images\81717                             Servicing Report 2311 Nov 2023.pdf       107169     12/21/2023 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-15__898644_North-SuttonPark
31\check_images\81717                             Servicing Report 2312 Dec 2023.pdf       107157       1/17/2024 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-15__911232_North-SuttonPark
31\check_images\81717                             Servicing Report 2401 Jan 2024.pdf       107837       2/14/2024 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__926734_North-SuttonPark
31\check_images\81717                             Servicing Report 2402 Feb 2024.pdf       109241      3/21/2024 13:59



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               All Paths/Locations                                  Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-15__940665_North-SuttonPark
31\check_images\81717                             Servicing Report 2403 Mar 2024.pdf       445492      4/23/2024 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-15__952204_North-SuttonPark
31\check_images\81717                             Servicing Report 2404 Apr 2024.pdf       108585       5/17/2024 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__773750_North-SuttonPark
31\check_images\81748                             Servicing Report 2212 Dec 2022.pdf       107321       4/5/2023 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__773808_North-SuttonPark
31\check_images\81748                             Servicing Report 2301 Jan. 2023.pdf      107899       4/5/2023 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__773810_North-SuttonPark
31\check_images\81748                             Servicing Report 2302 Feb. 2023.pdf      109137       4/5/2023 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__780130_North-SuttonPark
31\check_images\81748                             Servicing Report 2303 Mar. 2023.pdf      109197      4/21/2023 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__792533_North-SuttonPark
31\check_images\81748                             Servicing Report 2304 Apr. 2023.pdf      109005      5/17/2023 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__805802_North-SuttonPark
31\check_images\81748                             Servicing Report 2305 May 2023.pdf       108954      6/20/2023 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__818964_North-SuttonPark
31\check_images\81748                             Servicing Report 2306 Jun 2023.pdf       108755      7/17/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__832715_North-SuttonPark
31\check_images\81748                             Servicing Report 2307 Jul 2023.pdf       108729      8/16/2023 11:14



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__847395_North-SuttonPark
31\check_images\81748                             Servicing Report 2308 Aug 2023.pdf       107350      9/21/2023 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__859600_North-SuttonPark
31\check_images\81748                             Servicing Report 2309 Sept 2023.pdf      107295      10/18/2023 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__873807_North-SuttonPark
31\check_images\81748                             Servicing Report 2310 Oct 2023.pdf       107616     11/20/2023 23:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__887731_North-SuttonPark
31\check_images\81748                             Servicing Report 2311 Nov 2023.pdf       107169     12/21/2023 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__898655_North-SuttonPark
31\check_images\81748                             Servicing Report 2312 Dec 2023.pdf       107157       1/17/2024 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__911274_North-SuttonPark
31\check_images\81748                             Servicing Report 2401 Jan 2024.pdf       107837       2/14/2024 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__926745_North-SuttonPark
31\check_images\81748                             Servicing Report 2402 Feb 2024.pdf       109241      3/21/2024 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__940673_North-SuttonPark
31\check_images\81748                             Servicing Report 2403 Mar 2024.pdf       445492      4/23/2024 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__952219_North-SuttonPark
31\check_images\81748                             Servicing Report 2404 Apr 2024.pdf       108585       5/17/2024 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-29__773743_North-SuttonPark
31\check_images\81753                             Servicing Report 2212 Dec 2022.pdf       107321       4/5/2023 11:05



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-29__773786_North-SuttonPark
31\check_images\81753                             Servicing Report 2301 Jan. 2023.pdf      107899       4/5/2023 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-28__773787_North-SuttonPark
31\check_images\81753                             Servicing Report 2302 Feb. 2023.pdf      109137       4/5/2023 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-29__780121_North-SuttonPark
31\check_images\81753                             Servicing Report 2303 Mar. 2023.pdf      109197      4/21/2023 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-29__792504_North-SuttonPark
31\check_images\81753                             Servicing Report 2304 Apr. 2023.pdf      109005      5/17/2023 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-29__805794_North-SuttonPark
31\check_images\81753                             Servicing Report 2305 May 2023.pdf       108954      6/20/2023 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-29__818954_North-SuttonPark
31\check_images\81753                             Servicing Report 2306 Jun 2023.pdf       108755      7/17/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-29__832704_North-SuttonPark
31\check_images\81753                             Servicing Report 2307 Jul 2023.pdf       108729      8/16/2023 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-29__847380_North-SuttonPark
31\check_images\81753                             Servicing Report 2308 Aug 2023.pdf       107350      9/21/2023 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-29__859591_North-SuttonPark
31\check_images\81753                             Servicing Report 2309 Sept 2023.pdf      107295      10/18/2023 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-29__873803_North-SuttonPark
31\check_images\81753                             Servicing Report 2310 Oct 2023.pdf       107616     11/20/2023 23:57



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-29__887725_North-SuttonPark
31\check_images\81753                             Servicing Report 2311 Nov 2023.pdf       107169     12/21/2023 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-29__898646_North-SuttonPark
31\check_images\81753                             Servicing Report 2312 Dec 2023.pdf       107157       1/17/2024 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-29__911246_North-SuttonPark
31\check_images\81753                             Servicing Report 2401 Jan 2024.pdf       107837       2/14/2024 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-29__926739_North-SuttonPark
31\check_images\81753                             Servicing Report 2402 Feb 2024.pdf       109241      3/21/2024 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-29__940668_North-SuttonPark
31\check_images\81753                             Servicing Report 2403 Mar 2024.pdf       445492      4/23/2024 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-29__952208_North-SuttonPark
31\check_images\81753                             Servicing Report 2404 Apr 2024.pdf       108585       5/17/2024 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__773812_North-SuttonPark
31\check_images\81790                             Servicing Report 2301 Jan. 2023.pdf      107899       4/5/2023 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__773814_North-SuttonPark
31\check_images\81790                             Servicing Report 2302 Feb. 2023.pdf      109137       4/5/2023 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__780133_North-SuttonPark
31\check_images\81790                             Servicing Report 2303 Mar. 2023.pdf      109197      4/21/2023 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__792539_North-SuttonPark
31\check_images\81790                             Servicing Report 2304 Apr. 2023.pdf      109005      5/17/2023 14:14



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               All Paths/Locations                                  Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__805804_North-SuttonPark
31\check_images\81790                             Servicing Report 2305 May 2023.pdf       108954      6/20/2023 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__818966_North-SuttonPark
31\check_images\81790                             Servicing Report 2306 Jun 2023.pdf       108755      7/17/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__832717_North-SuttonPark
31\check_images\81790                             Servicing Report 2307 Jul 2023.pdf       108729      8/16/2023 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__847397_North-SuttonPark
31\check_images\81790                             Servicing Report 2308 Aug 2023.pdf       107350      9/21/2023 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__859601_North-SuttonPark
31\check_images\81790                             Servicing Report 2309 Sept 2023.pdf      107295      10/18/2023 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__873808_North-SuttonPark
31\check_images\81790                             Servicing Report 2310 Oct 2023.pdf       107616     11/20/2023 23:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__887735_North-SuttonPark
31\check_images\81790                             Servicing Report 2311 Nov 2023.pdf       107169     12/21/2023 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__898658_North-SuttonPark
31\check_images\81790                             Servicing Report 2312 Dec 2023.pdf       107157       1/17/2024 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__911271_North-SuttonPark
31\check_images\81790                             Servicing Report 2401 Jan 2024.pdf       107837       2/14/2024 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__926743_North-SuttonPark
31\check_images\81790                             Servicing Report 2402 Feb 2024.pdf       109241      3/21/2024 13:59



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               All Paths/Locations                                  Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__940671_North-SuttonPark
31\check_images\81790                             Servicing Report 2403 Mar 2024.pdf       445492      4/23/2024 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__952214_North-SuttonPark
31\check_images\81790                             Servicing Report 2404 Apr 2024.pdf       108585       5/17/2024 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-15__773751_North-SuttonPark
31\check_images\81802                             Servicing Report 2212 Dec 2022.pdf       107321       4/5/2023 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-15__773816_North-SuttonPark
31\check_images\81802                             Servicing Report 2301 Jan. 2023.pdf      107899       4/5/2023 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-15__773818_North-SuttonPark
31\check_images\81802                             Servicing Report 2302 Feb. 2023.pdf      109137       4/5/2023 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-15__780135_North-SuttonPark
31\check_images\81802                             Servicing Report 2303 Mar. 2023.pdf      109197      4/21/2023 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-15__792551_North-SuttonPark
31\check_images\81802                             Servicing Report 2304 Apr. 2023.pdf      109005      5/17/2023 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-15__805806_North-SuttonPark
31\check_images\81802                             Servicing Report 2305 May 2023.pdf       108954      6/20/2023 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-15__818967_North-SuttonPark
31\check_images\81802                             Servicing Report 2306 Jun 2023.pdf       108755      7/17/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-15__832719_North-SuttonPark
31\check_images\81802                             Servicing Report 2307 Jul 2023.pdf       108729      8/16/2023 11:14



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-15__847400_North-SuttonPark
31\check_images\81802                             Servicing Report 2308 Aug 2023.pdf       107350      9/21/2023 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-15__859603_North-SuttonPark
31\check_images\81802                             Servicing Report 2309 Sept 2023.pdf      107295      10/18/2023 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-15__873809_North-SuttonPark
31\check_images\81802                             Servicing Report 2310 Oct 2023.pdf       107616     11/20/2023 23:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-15__887736_North-SuttonPark
31\check_images\81802                             Servicing Report 2311 Nov 2023.pdf       107169     12/21/2023 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-15__898661_North-SuttonPark
31\check_images\81802                             Servicing Report 2312 Dec 2023.pdf       107157       1/17/2024 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-15__911276_North-SuttonPark
31\check_images\81802                             Servicing Report 2401 Jan 2024.pdf       107837       2/14/2024 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__926747_North-SuttonPark
31\check_images\81802                             Servicing Report 2402 Feb 2024.pdf       109241      3/21/2024 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-15__940674_North-SuttonPark
31\check_images\81802                             Servicing Report 2403 Mar 2024.pdf       445492      4/23/2024 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-15__952222_North-SuttonPark
31\check_images\81802                             Servicing Report 2404 Apr 2024.pdf       108585       5/17/2024 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__773803_North-SuttonPark
31\check_images\81805                             Servicing Report 2301 Jan. 2023.pdf      107899       4/5/2023 11:27



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               All Paths/Locations                                  Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__773806_North-SuttonPark
31\check_images\81805                             Servicing Report 2302 Feb. 2023.pdf      109137       4/5/2023 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__780128_North-SuttonPark
31\check_images\81805                             Servicing Report 2303 Mar. 2023.pdf      109197      4/21/2023 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__792528_North-SuttonPark
31\check_images\81805                             Servicing Report 2304 Apr. 2023.pdf      109005      5/17/2023 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__805800_North-SuttonPark
31\check_images\81805                             Servicing Report 2305 May 2023.pdf       108954      6/20/2023 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__818962_North-SuttonPark
31\check_images\81805                             Servicing Report 2306 Jun 2023.pdf       108755      7/17/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__832712_North-SuttonPark
31\check_images\81805                             Servicing Report 2307 Jul 2023.pdf       108729      8/16/2023 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__847391_North-SuttonPark
31\check_images\81805                             Servicing Report 2308 Aug 2023.pdf       107350      9/21/2023 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__859598_North-SuttonPark
31\check_images\81805                             Servicing Report 2309 Sept 2023.pdf      107295      10/18/2023 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__873806_North-SuttonPark
31\check_images\81805                             Servicing Report 2310 Oct 2023.pdf       107616     11/20/2023 23:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__887729_North-SuttonPark
31\check_images\81805                             Servicing Report 2311 Nov 2023.pdf       107169     12/21/2023 14:27



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               All Paths/Locations                                  Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__898654_North-SuttonPark
31\check_images\81805                             Servicing Report 2312 Dec 2023.pdf       107157       1/17/2024 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__911262_North-SuttonPark
31\check_images\81805                             Servicing Report 2401 Jan 2024.pdf       107837       2/14/2024 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__926742_North-SuttonPark
31\check_images\81805                             Servicing Report 2402 Feb 2024.pdf       109241      3/21/2024 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__940670_North-SuttonPark
31\check_images\81805                             Servicing Report 2403 Mar 2024.pdf       445492      4/23/2024 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__952212_North-SuttonPark
31\check_images\81805                             Servicing Report 2404 Apr 2024.pdf       108585       5/17/2024 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-15__773747_North-SuttonPark
31\check_images\81828                             Servicing Report 2212 Dec 2022.pdf       107321       4/5/2023 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-15__773798_North-SuttonPark
31\check_images\81828                             Servicing Report 2301 Jan. 2023.pdf      107899       4/5/2023 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-15__773801_North-SuttonPark
31\check_images\81828                             Servicing Report 2302 Feb. 2023.pdf      109137       4/5/2023 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-15__780126_North-SuttonPark
31\check_images\81828                             Servicing Report 2303 Mar. 2023.pdf      109197      4/21/2023 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-15__792512_North-SuttonPark
31\check_images\81828                             Servicing Report 2304 Apr. 2023.pdf      109005      5/17/2023 14:14



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               All Paths/Locations                                  Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-15__805798_North-SuttonPark
31\check_images\81828                             Servicing Report 2305 May 2023.pdf       108954      6/20/2023 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-15__818959_North-SuttonPark
31\check_images\81828                             Servicing Report 2306 Jun 2023.pdf       108755      7/17/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-15__832710_North-SuttonPark
31\check_images\81828                             Servicing Report 2307 Jul 2023.pdf       108729      8/16/2023 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-15__847388_North-SuttonPark
31\check_images\81828                             Servicing Report 2308 Aug 2023.pdf       107350      9/21/2023 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-15__859595_North-SuttonPark
31\check_images\81828                             Servicing Report 2309 Sept 2023.pdf      107295      10/18/2023 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-15__873805_North-SuttonPark
31\check_images\81828                             Servicing Report 2310 Oct 2023.pdf       107616     11/20/2023 23:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-15__887728_North-SuttonPark
31\check_images\81828                             Servicing Report 2311 Nov 2023.pdf       107169     12/21/2023 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-15__898652_North-SuttonPark
31\check_images\81828                             Servicing Report 2312 Dec 2023.pdf       107157       1/17/2024 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-15__911252_North-SuttonPark
31\check_images\81828                             Servicing Report 2401 Jan 2024.pdf       107837       2/14/2024 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__952210_North-SuttonPark
31\check_images\81828                             Servicing Report 2404 Apr 2024.pdf       108585       5/17/2024 8:26



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               All Paths/Locations                                  Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-15__952211_North-SuttonPark
31\check_images\81828                             Servicing Report 2404 Apr 2024.pdf            108585       5/17/2024 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\8472                              2021-01-01__418569_1821088-40-648.00.pdf       46535       1/4/2021 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\8472                              2021-02-01__429208_1822314-10-648.00.pdf       50189       2/1/2021 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\8472                              2021-03-01__441363_1823526-20-648.00.pdf       41136       3/1/2021 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\8472                              2021-04-01__455372_1824777-2-648.00.pdf        41262       4/5/2021 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\8472                              2021-05-01__466495_1825957-4-648.00.pdf        50383       5/3/2021 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\8472                              2021-06-01__477804_1827112-19-648.00.pdf       37443       6/2/2021 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-01__490237_1828263-42-648.00
31\check_images\8472                              USD.pdf                                        42625        7/2/2021 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-01__502290_1829387-34-648.00
31\check_images\8472                              USD.pdf                                        34755       8/2/2021 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-01__519214_1830572-20-648.00
31\check_images\8472                              USD.pdf                                        31599        9/7/2021 9:06



                                                            1042
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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-01__532798_1831709-1-648.00
31\check_images\8472                              USD.pdf                                    31774      10/4/2021 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-01__544135_1832808-36-648.00
31\check_images\8472                              USD.pdf                                    36619      11/2/2021 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-01__557122_1833927-13-648.00
31\check_images\8472                              USD.pdf                                    40240      12/3/2021 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-01__572637_1835103-15-648.00
31\check_images\8472                              USD.pdf                                    36437       1/12/2022 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\8472                              2022-02-01__585873_29.pdf                 231961      2/10/2022 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-01__600827_1837411-24-648.00
31\check_images\8472                              USD.pdf                                    32401      3/17/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-01__614758_1838571-30-648.00
31\check_images\8472                              USD.pdf                                    32921      4/11/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__625667_1839668-8-648.00
31\check_images\8472                              USD.pdf                                    42193       5/3/2022 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__638857_1840835-41-648.00
31\check_images\8472                              USD.pdf                                    44569       6/1/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__653406_1841977-25-648.00
31\check_images\8472                              USD.pdf                                    33370       7/5/2022 11:18



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__665572_1843053-31-648.00
31\check_images\8472                              USD.pdf                                          52606        8/2/2022 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__680275_item-8_1844178-8-648.00
31\check_images\8472                              USD.pdf                                          36070       9/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__692928_item-41_1845243-41-
31\check_images\8472                              648.00 USD.pdf                                   42455      10/3/2022 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__708398_item-44_1846340-44-
31\check_images\8472                              648.00 USD.pdf                                   35049      11/7/2022 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__718692_item-41_1847423-41-
31\check_images\8472                              648.00 USD.pdf                                   43678      12/2/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__730768_item-4_1848527-4-648.00
31\check_images\8472                              USD.pdf                                          34271       1/3/2023 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__745941_item-13_1849657-13-
31\check_images\8472                              648.00 USD.pdf                                   41782       2/2/2023 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__759614_item-25_1850736-25-
31\check_images\8472                              648.00 USD.pdf                                   76247        3/6/2023 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__771852_item-4_1851789-4-648.00
31\check_images\8472                              USD.pdf                                          41659       4/3/2023 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__785790_item-23_1852865-23-
31\check_images\8472                              648.00 USD.pdf                                   44981       5/2/2023 18:35



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__796174_item-25_1853915-25-
31\check_images\8472                              648.00 USD.pdf                                   34501      5/30/2023 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__812722_item-28_1854939-28-
31\check_images\8472                              648.00 USD.pdf                                   37589       7/3/2023 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__826025_item-3_1855975-3-648.00
31\check_images\8472                              USD.pdf                                          39395       8/1/2023 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__840142_item-7_1857044-7-648.00
31\check_images\8472                              USD.pdf                                          38035        9/5/2023 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__853331_item-25_1858000-25-
31\check_images\8472                              648.00 USD.pdf                                   34127      10/3/2023 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__867104_item-12_1859055-12-
31\check_images\8472                              648.00 USD.pdf                                   44039      11/3/2023 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__880501_item-42_1860055-42-
31\check_images\8472                              648.00 USD.pdf                                   34151      12/4/2023 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__892366_item-4_1861068-4-648.00
31\check_images\8472                              USD.pdf                                          40718       1/3/2024 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__907175_item-10_1862160-10-
31\check_images\8472                              648.00 USD.pdf                                   40916       2/5/2024 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__920074_item-14_1863228-14-
31\check_images\8472                              648.00 USD.pdf                                   36048       3/5/2024 10:31



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               All Paths/Locations                                 Unified Title           File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__931627_item-43_1864263-43-
31\check_images\8472                              648.00 USD.pdf                               35013        4/2/2024 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__947145_item-35_1865312-35-
31\check_images\8472                              648.00 USD.pdf                               39571        5/6/2024 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31                                                Deal ID List.csv                             22788       6/17/2024 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31                                                job_details.txt                                 235      6/17/2024 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31                                                Payment Streams.csv                         249535       6/17/2024 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31                                                Payments Received.csv                       821661       6/17/2024 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    10735.pdf                                   193382       12/6/2023 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    10983.pdf                                   182663      11/15/2023 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    13240.pdf                                    82427       12/5/2023 18:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    17248.pdf                                   280296      11/16/2023 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    17473.pdf                                    36583      11/28/2023 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    18113.pdf                                    30883       12/4/2023 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    18138.pdf                                    83731       11/7/2023 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    18192.pdf                                    72289      11/27/2023 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    18252.pdf                                   243611        6/15/2023 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    18366.pdf                                    42714      10/16/2023 15:53


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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                18368.pdf                         71819       3/7/2023 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                18431.pdf                         81428     11/28/2023 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                18623.pdf                         52049     11/29/2023 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                18731.pdf                         42335     11/14/2023 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                18813.pdf                         37241      11/17/2023 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                19418.pdf                         85227      12/5/2023 18:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                21342.pdf                         64716      12/6/2023 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                22693.pdf                         63386      12/7/2023 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                22713.pdf                         48028     12/30/2019 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                22717.pdf                         88895      12/7/2023 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                23316.pdf                         51134      12/7/2023 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                29413.pdf                         34209      12/7/2023 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                29465.pdf                         59161      12/7/2023 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                29663.pdf                         66939      12/7/2023 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                33487.pdf                        145343      12/7/2023 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                33551.pdf                        182484      12/7/2023 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                34894.pdf                         76962      12/7/2023 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                34982.pdf                         70660      12/7/2023 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                35130.pdf                         72292      12/7/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                35254.pdf                         62458      12/7/2023 12:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                35314.pdf                         49729      12/7/2023 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                35407.pdf                         73400      12/7/2023 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                35493.pdf                         60703      12/7/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                35499.pdf                         51629      12/7/2023 12:58




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                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                35504.pdf                         46033      12/7/2023 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                35526.pdf                         48890      12/7/2023 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                35568.pdf                         83812      12/7/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                35586.pdf                         71577      12/7/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                35687.pdf                         90649      12/7/2023 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                35688.pdf                         67215      12/7/2023 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                36116.pdf                         61820      12/7/2023 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                36123.pdf                         50829      12/7/2023 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                37796.pdf                         61758      12/7/2023 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                3793.pdf                          69582      11/16/2023 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                3827.pdf                          86144       5/26/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                3886.pdf                          50929      12/7/2023 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                38923.pdf                        145343      12/7/2023 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                39019.pdf                        231175      12/7/2023 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                39314.pdf                         69859      6/30/2021 19:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                39366.pdf                         57132      4/25/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                39398.pdf                        232803     12/29/2021 22:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                39408.pdf                         69859      6/30/2021 19:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                39418.pdf                         57132      4/25/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                39422.pdf                         61197      5/27/2022 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                39424.pdf                         57132      4/25/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                39450.pdf                         89661      5/27/2021 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                39938.pdf                        182663     11/15/2023 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                44090.pdf                         98245       12/5/2023 9:45




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                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                44198.pdf                        142089     11/29/2023 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                44215.pdf                        182663     11/15/2023 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                44248.pdf                        145529     11/22/2023 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                44380.pdf                         68874     11/14/2023 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                44409.pdf                        231346      11/8/2023 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                46968.pdf                        182663     11/15/2023 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                49025.pdf                        231346      11/8/2023 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                49026.pdf                        142089     11/29/2023 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                49035.pdf                        142089     11/29/2023 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                49036.pdf                        145529     11/22/2023 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                52879.pdf                        232803     12/29/2021 22:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                52889.pdf                        232803     12/29/2021 22:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                52898.pdf                        232803     12/29/2021 22:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                52912.pdf                        232803     12/29/2021 22:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                52925.pdf                        232803     12/29/2021 22:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                52933.pdf                         90731      1/25/2022 20:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                54533.pdf                         77277      11/6/2023 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                56580.pdf                         72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                56629.pdf                         77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                56641.pdf                         77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                56642.pdf                         72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                56770.pdf                         77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                56846.pdf                         72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                56905.pdf                         72124     11/16/2023 16:51




                                                          1049
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1051 of
                                       3467



               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    57159.pdf                                      72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    5943.pdf                                      386820     12/14/2016 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    5981.pdf                                       67868      4/22/2022 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    6038.pdf                                      386820     12/14/2016 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    64208.pdf                                      72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    64272.pdf                                      77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    64331.pdf                                      72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    64343.pdf                                      72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    64371.pdf                                      77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    64384.pdf                                      77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    64401.pdf                                      72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    64719.pdf                                      65727      12/4/2023 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2024-01-07__938454_Vida 4-16-2024.pdf          56528      4/16/2024 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2024-02-07__956080_Vida 5-29-2024.pdf          64069       5/29/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64384                             2024-03-07__962998_Vida 6-13-2024.pdf          74462      6/13/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-15__435072_Vida January to be
31\check_images\64401                             Booked.pdf                                     48047       2/15/2021 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2021-02-15__438336_Vida Feb Payments.pdf      134014      2/22/2021 15:24




                                                             1050
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                                       3467



               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-15__455015_VidaPayments 4-1-
31\check_images\64401                             2021.pdf                                           85998       4/1/2021 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2021-04-15__474882_Vida 5-26-2021.pdf             150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2021-05-15__475106_Vida 5-26-2021.pdf             150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2021-06-15__487377_vida checks 6.28.2021.pdf       87662      6/28/2021 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2021-07-15__499538_Vida 7.28.2021.pdf              96576      7/28/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-08-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 15__515790_Payment_Report_8_30_2021.xls.pd
31\check_images\64401                             f                                                 103499      8/30/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2021-09-15__531420_vidas 9-30-2021.pdf             91617      9/30/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2021-10-15__540396_Vida 10-27-2021.pdf             94412     10/27/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2021-11-15__554849_vida - 11.29.2021.pdf           78515     11/29/2021 22:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2021-12-15__579117_Vida 1.26.2022.pdf             109457      1/26/2022 11:13



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2022-01-15__579400_Vida 1.26.2022.pdf       109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2022-02-15__607608_Vida 3-29-2022.pdf       100935      3/29/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2022-03-15__620100_Vida 4-21-2022.pdf        86859      4/21/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2022-04-15__647924_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2022-05-15__648199_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2022-06-15__661546_Vida 7-25-2022.pdf        99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2022-07-15__676751_Vida 8-29-2022.pdf       126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2022-08-15__690748_Vida 9-28-2022.pdf        71423      9/28/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2022-09-15__703564_Vida 10-28-2022.pdf       71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2022-10-15__716833_Vida 11-29-2022.pdf       95226     11/29/2022 11:25



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2022-11-15__733193_Vida 1-5-2023.pdf         105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2022-12-15__753109_Vida 2.21.2023.pdf         75171      2/21/2023 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2023-01-15__767545_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2023-02-15__780304_Vida 4-21-2023.pdf         94535      4/21/2023 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2023-03-15__798221_Vida 5-31-2023.pdf         94469      5/31/2023 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2023-04-15__823004_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2023-05-15__823071_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2023-06-15__850227_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2023-07-15__864959_Vida 10-31-2023.pdf        77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2023-08-15__872654_Vida 11-16-2023.pdf        72124     11/16/2023 16:51



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2023-09-15__886854_Vida 12-19-2023.pdf      104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2023-10-15__897469_Vida 1-16-2024.pdf        72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2023-11-15__913690_Vida 2-21-2024.pdf        70776       2/21/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2023-12-15__932227_Vida - 4-2-2024.pdf       72367       4/2/2024 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2024-01-15__948178_Vida 5-7-2024.pdf         93508        5/8/2024 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64401                             2024-02-15__956253_Vida 5-29-2024.pdf        64069       5/29/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64719                             2021-06-01__493429_INF 7.1.21.pdf           295175      7/12/2021 19:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-01__506537_Volans Floats 8-12-
31\check_images\64719                             2021.pdf                                     51694      8/12/2021 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-01__517858_INF Payments
31\check_images\64719                             08.31.2021.pdf                               91722      8/31/2021 16:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64719                             2021-09-01__530755_9.30.21.pdf              129549      9/30/2021 10:59



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1056 of
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-01__552472_Sutton Park Payments
31\check_images\64719                             110121.pdf                                    33362      11/3/2021 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-01__576146_PHL-9582-
31\check_images\64719                             2216_105322P422.pdf                          384116      1/19/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-01__576408_41007678-34-1460.00
31\check_images\64719                             USD.pdf                                       73412      1/19/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-01__576409_41105320-30-1460.00
31\check_images\64719                             USD.pdf                                       69114      1/19/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-01__591687_41178069-24-1460.00
31\check_images\64719                             USD.pdf                                       67737      2/28/2022 19:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-01__597562_41247111-35-1460.00
31\check_images\64719                             USD.pdf                                       72308       3/14/2022 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-01__615523_41301471-5-1460.00
31\check_images\64719                             USD.pdf                                       77201      4/12/2022 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__633618_41362152-35-1460.00
31\check_images\64719                             USD.pdf                                       72527      5/23/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__639825_41428597-10-1460.00
31\check_images\64719                             USD.pdf                                       82880       6/3/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__665950_41474784-41-1460.00
31\check_images\64719                             USD.pdf                                       76705       8/2/2022 12:40



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1057 of
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__667271_41526849-27-1460.00
31\check_images\64719                             USD.pdf                                       69030       8/4/2022 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__680538_item-40_41585375-40-
31\check_images\64719                             1460.00 USD.pdf                               80054       9/6/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__694562_item-5_41638665-5-
31\check_images\64719                             1460.00 USD.pdf                               73904      10/5/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__707798_item-34_41690934-34-
31\check_images\64719                             1460.00 USD.pdf                               72499      11/7/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__723414_item-4_41757045-4-
31\check_images\64719                             1460.00 USD.pdf                               69433     12/13/2022 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__733436_item-5_41799013-5-
31\check_images\64719                             1460.00 USD.pdf                               71796       1/6/2023 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__748093_item-6_41854524-6-
31\check_images\64719                             1460.00 USD.pdf                               67728       2/8/2023 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__761018_item-6_41907616-6-
31\check_images\64719                             1460.00 USD.pdf                               70379        3/8/2023 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__778701_item-20_41966689-20-
31\check_images\64719                             1460.00 USD.pdf                               73010      4/18/2023 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__783878_item-14_42018427-14-
31\check_images\64719                             1460.00 USD.pdf                               70304       5/1/2023 14:45



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__798652_item-14_42086524-14-
31\check_images\64719                             1460.00 USD.pdf                               67195       6/1/2023 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__814145_item-26_42129759-26-
31\check_images\64719                             1460.00 USD.pdf                               68962       7/5/2023 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__823844_item-24_42180137-24-
31\check_images\64719                             1460.00 USD.pdf                               76658      7/31/2023 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__839838_item-29_42235597-29-
31\check_images\64719                             1460.00 USD.pdf                               80781        9/1/2023 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__852384_item-4_42286344-4-
31\check_images\64719                             1460.00 USD.pdf                               72409      10/2/2023 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__865849_item-13_42340499-13-
31\check_images\64719                             1460.00 USD.pdf                               65751      11/1/2023 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__879789_item-8_42405480-8-
31\check_images\64719                             1460.00 USD.pdf                               65727      12/4/2023 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__890933_item-6_42443780-6-
31\check_images\64719                             1460.00 USD.pdf                               71046       1/2/2024 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__904767_item-33_42501141-33-
31\check_images\64719                             1460.00 USD.pdf                               72264      1/31/2024 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__918704_item-5_42553744-5-
31\check_images\64719                             1460.00 USD.pdf                               72612       3/4/2024 11:21



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               All Paths/Locations                                Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__930603_item-23_42616449-23-
31\check_images\64719                             1460.00 USD.pdf                                   74923       4/1/2024 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__944538_item-29_42661895-29-
31\check_images\64719                             1460.00 USD.pdf                                   76064      4/30/2024 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64730                             2021-01-28__456883_434412_INF 2.05.21.pdf        488285      2/11/2021 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64730                             2021-02-28__456892_444521_INF 3.5.21.pdf         151375       3/8/2021 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-28__456900_Sutton Park Payments
31\check_images\64730                             033121.pdf                                        54596      3/31/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64730                             2021-04-28__465177_INF 04.30.21 back up.pdf      179185      4/30/2021 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64730                             2021-05-28__493443_INF 7.1.21.pdf                295175      7/12/2021 19:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-28__493745_6732_4302032619-6-
31\check_images\64730                             550.00.pdf                                        87440       4/20/2021 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-28__493759_6732_4302032619-6-
31\check_images\64730                             550.00.pdf                                        87440       4/20/2021 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-28__493760_6845_4302043545-20-
31\check_images\64730                             550.00.pdf                                        82197      5/18/2021 12:03



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-28__517853_INF Payments
31\check_images\64730                             08.31.2021.pdf                                   91722      8/31/2021 16:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64730                             2021-08-28__530968_9.30.21.pdf                  129549      9/30/2021 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64730                             2021-09-28__542968_536443-3-679.00 USD.pdf       68385      11/1/2021 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-28__552496_Sutton Park Payments
31\check_images\64730                             110121.pdf                                       33362      11/3/2021 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64730                             2021-11-28__564793_536528-6-679.00 USD.pdf       42676      12/27/2021 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-28__568258_536606-22-679.00
31\check_images\64730                             USD.pdf                                          41589        1/3/2022 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-28__583653_536696-31-679.00
31\check_images\64730                             USD.pdf                                          67429        2/8/2022 6:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-28__600437_536776-11-679.00
31\check_images\64730                             USD.pdf                                          80068      3/17/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64730                             2022-03-28__611673_536864-9-679.00 USD.pdf       61153       4/4/2022 21:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-28__626908_536944-18-679.00
31\check_images\64730                             USD.pdf                                          63161       5/4/2022 18:55



                                                            1059
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-28__639912_537022-40-679.00
31\check_images\64730                             USD.pdf                                          68820       6/3/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64730                             2022-06-28__649998_537098-8-679.00 USD.pdf       68179      6/28/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-28__664329_537178-24-679.00
31\check_images\64730                             USD.pdf                                          69506       8/1/2022 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-28__677759_537252-44-679.00
31\check_images\64730                             USD.pdf                                          77668      8/30/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-28__691561_item-4_537325-4-679.00
31\check_images\64730                             USD.pdf                                          72754      9/29/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-28__706890_item-27_537398-27-
31\check_images\64730                             679.00 USD.pdf                                   83885      11/3/2022 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-28__723972_item-41_537473-41-
31\check_images\64730                             679.00 USD.pdf                                   63976     12/14/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-28__734454_item-6_537547-6-679.00
31\check_images\64730                             USD.pdf                                          62093       1/9/2023 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-28__742283_item-16_537619-16-
31\check_images\64730                             679.00 USD.pdf                                   65581      1/30/2023 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-28__759668_item-5_537693-5-679.00
31\check_images\64730                             USD.pdf                                          85537       3/6/2023 10:24



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-28__770084_item-14_537764-14-
31\check_images\64730                             679.00 USD.pdf                                  67936      3/29/2023 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-28__783183_item-20_537839-20-
31\check_images\64730                             679.00 USD.pdf                                  62679       4/28/2023 8:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-28__798091_item-1_537913-1-679.00
31\check_images\64730                             USD.pdf                                         70563      5/31/2023 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-28__812271_item-1_537985-1-679.00
31\check_images\64730                             USD.pdf                                         63494       7/3/2023 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-28__840973_item-22_538058-22-
31\check_images\64730                             679.00 USD.pdf                                  66338       9/5/2023 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-28__837656_item-5_538131-5-679.00
31\check_images\64730                             USD.pdf                                         67536      8/29/2023 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-28__856517_item-20_538203-20-
31\check_images\64730                             679.00 USD.pdf                                  45404     10/11/2023 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-28__868334_item-30_538276-30-
31\check_images\64730                             679.00 USD.pdf                                  70330      11/7/2023 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-28__877739_item-5_538346-5-679.00
31\check_images\64730                             USD.pdf                                         60793     11/29/2023 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-28__889102_item-12_538418-12-
31\check_images\64730                             679.00 USD.pdf                                  67341     12/26/2023 13:47



                                                            1061
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1063 of
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               All Paths/Locations                                Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-28__904268_item-21_538487-21-
31\check_images\64730                             679.00 USD.pdf                                    53091      1/30/2024 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-28__917874_item-9_538561-9-679.00
31\check_images\64730                             USD.pdf                                           57698      2/29/2024 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-28__932519_item-43_538632-43-
31\check_images\64730                             679.00 USD.pdf                                    49396       4/2/2024 22:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-28__943725_item-15_538705-15-
31\check_images\64730                             679.00 USD.pdf                                    56904      4/30/2024 10:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-28__957153_item-11_538779-11-
31\check_images\64730                             679.00 USD.pdf                                    51640      5/29/2024 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64738                             2021-01-12__439522_439245_INF 2.01.21.pdf        365960      2/24/2021 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64738                             2021-02-12__439245_INF 2.18.21.pdf                17896      2/25/2021 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-12__454371_Sutton Park Payments
31\check_images\64738                             033121.pdf                                        54596      3/31/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64738                             2021-04-12__465174_INF 04.30.21 back up.pdf      179185      4/30/2021 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-12__489938_Weekly floats 6-30-
31\check_images\64738                             2021.pdf                                         140710      6/30/2021 20:46



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64738                             2021-06-12__493441_INF 7.1.21.pdf               295175      7/12/2021 19:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64738                             2021-07-12__509165_INF 8.2.21.pdf               141301      8/16/2021 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-12__517860_INF Payments
31\check_images\64738                             08.31.2021.pdf                                   91722      8/31/2021 16:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64738                             2021-09-12__530954_9.30.21.pdf                  129549      9/30/2021 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-12__550087_33163984 4884.01 Dragos
31\check_images\64738                             Ries.pdf                                        350926      11/17/2021 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-12__550089_33163984 4884.01 Dragos
31\check_images\64738                             Ries.pdf                                        350926      11/17/2021 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-12__563231_33194248-31-4884.01
31\check_images\64738                             USD.pdf                                          92904      12/20/2021 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-12__576818_33234434-42-4884.01
31\check_images\64738                             USD.pdf                                          89347      1/21/2022 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-12__595295_33261852 4884.01 Diego
31\check_images\64738                             Ries.pdf                                        111991        3/8/2022 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-12__604048_33287078-35-4884.01
31\check_images\64738                             USD.pdf                                          88918      3/22/2022 21:59



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1065 of
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-12__616368_33315196-12-4884.01
31\check_images\64738                             USD.pdf                                       96922      4/13/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-12__628877_33342666-7-4884.01
31\check_images\64738                             USD.pdf                                      102673      5/10/2022 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-12__642623_33368140-40-4884.01
31\check_images\64738                             USD.pdf                                      103924        6/9/2022 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-12__656058_33394871-19-5030.53
31\check_images\64738                             USD.pdf                                       96820      7/11/2022 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-12__668878_33422287-39-5030.53
31\check_images\64738                             USD.pdf                                      106439       8/8/2022 16:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-12__683286_item-11_33448946-11-
31\check_images\64738                             5030.53 USD.pdf                               98694      9/12/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-12__695384_item-27_33472945-27-
31\check_images\64738                             5030.53 USD.pdf                               98379       10/7/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-12__708820_item-38_33501837-38-
31\check_images\64738                             5030.53 USD.pdf                              103572      11/8/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-12__723415_item-28_33532448-28-
31\check_images\64738                             5030.53 USD.pdf                              104164     12/12/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-12__735784_item-14_33568868-14-
31\check_images\64738                             5030.53 USD.pdf                               92734       1/11/2023 8:47



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-12__748587_item-19_33598463-19-
31\check_images\64738                             5030.53 USD.pdf                              100383       2/9/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-12__763428_item-45_33625220-45-
31\check_images\64738                             5030.53 USD.pdf                               95047       3/13/2023 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-12__775100_item-17_33650819-17-
31\check_images\64738                             5030.53 USD.pdf                               98472      4/10/2023 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-12__789816_item-2_33678750-2-
31\check_images\64738                             5030.53 USD.pdf                              100671       5/12/2023 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-12__802821_item-18_33704995-18-
31\check_images\64738                             5030.53 USD.pdf                              102539      6/12/2023 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-12__816448_item-39_33731217-39-
31\check_images\64738                             5181.45 USD.pdf                               91458      7/11/2023 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-12__828964_item-11_33761940-11-
31\check_images\64738                             5181.45 USD.pdf                               94769        8/8/2023 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-12__842967_item-35_33787445-35-
31\check_images\64738                             5181.45 USD.pdf                              106987       9/11/2023 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-12__855259_item-28_33813003-28-
31\check_images\64738                             5181.45 USD.pdf                               96875     10/10/2023 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-12__871118_item-25_33841386-25-
31\check_images\64738                             5181.45 USD.pdf                              111585     11/14/2023 12:33



                                                            1065
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-12__882665_item-41_33869854-41-
31\check_images\64738                             5181.45 USD.pdf                                 96892     12/11/2023 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-12__895871_item-16_33905573-16-
31\check_images\64738                             5181.45 USD.pdf                                 95088       1/9/2024 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-12__910083_item-44_33934973-44-
31\check_images\64738                             5181.45 USD.pdf                                 93415      2/12/2024 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-12__921626_item-6_33959295-6-
31\check_images\64738                             5181.45 USD.pdf                                 63554       3/8/2024 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-12__936241_item-7_33987333-7-
31\check_images\64738                             5181.45 USD.pdf                                 60437      4/11/2024 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-12__948390_item-43_34013808-43-
31\check_images\64738                             5181.45 USD.pdf                                 59399       5/8/2024 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64761                             2021-01-15__452457_6170_INF 011921.pdf         257580      1/20/2021 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64761                             2021-02-15__439523_INF 2.18.21.pdf              17896      2/25/2021 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-15__454319_Sutton Park Payments
31\check_images\64761                             033121.pdf                                      54596      3/31/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64761                             2021-04-15__458333_1825348-26-1750.00.pdf       40372      4/12/2021 17:09



                                                            1066
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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64761                             2021-05-15__471990_1826512-4-1750.00.pdf       41320      5/18/2021 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-15__482446_1827656-19-1750.00
31\check_images\64761                             USD.pdf                                        37965      6/14/2021 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-15__494099_1828815-38-1750.00
31\check_images\64761                             USD.pdf                                        39336      7/13/2021 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-15__508792_1829974-26-1750.00
31\check_images\64761                             USD.pdf                                        29748      8/16/2021 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-15__521898_1831074-39-1750.00
31\check_images\64761                             USD.pdf                                        38294      9/13/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64761                             2021-10-15__536800_16.pdf                     172207      10/15/2021 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-15__549332_1833360-37-1750.00
31\check_images\64761                             USD.pdf                                        31618     11/15/2021 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-15__561396_1834446-19-1750.00
31\check_images\64761                             USD.pdf                                        39166      12/15/2021 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-15__575173_1835663-9-1750.00
31\check_images\64761                             USD.pdf                                        28677      1/19/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-15__586945_1836806-15-1750.00
31\check_images\64761                             USD.pdf                                        38854      2/15/2022 10:39



                                                            1067
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1069 of
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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-15__601049_1837945-28-1750.00
31\check_images\64761                             USD.pdf                                      31581       3/18/2022 6:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-15__616975_1839088-35-1750.00
31\check_images\64761                             USD.pdf                                      33535       4/14/2022 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-15__630293_1840247-22-1750.00
31\check_images\64761                             USD.pdf                                      39113      5/13/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-15__643076_1841317-29-1750.00
31\check_images\64761                             USD.pdf                                      40622      6/13/2022 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-15__656546_1842481-39-1750.00
31\check_images\64761                             USD.pdf                                      28600      7/11/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-15__671469_1843594-30-1750.00
31\check_images\64761                             USD.pdf                                      37186      8/15/2022 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-15__684094_item-15_1844675-15-
31\check_images\64761                             1750.00 USD.pdf                              36508      9/13/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-15__698211_item-6_1845767-6-
31\check_images\64761                             1750.00 USD.pdf                              38372     10/14/2022 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-15__710195_item-2_1846856-2-
31\check_images\64761                             1750.00 USD.pdf                              31687     11/14/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-15__722865_item-7_1847943-7-
31\check_images\64761                             1750.00 USD.pdf                              28176      12/13/2022 8:52



                                                            1068
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1070 of
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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-15__737247_item-2_1849062-2-
31\check_images\64761                             1750.00 USD.pdf                              40619       1/17/2023 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-15__750130_item-31_1850119-31-
31\check_images\64761                             1750.00 USD.pdf                              32455       2/13/2023 8:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-15__763386_item-17_1851193-17-
31\check_images\64761                             1750.00 USD.pdf                              31994       3/13/2023 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-15__777232_item-20_1852283-20-
31\check_images\64761                             1750.00 USD.pdf                              33261       4/14/2023 8:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-15__790757_item-40_1853360-40-
31\check_images\64761                             1750.00 USD.pdf                              32428      5/15/2023 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-15__803223_item-37_1854381-37-
31\check_images\64761                             1750.00 USD.pdf                              34382      6/12/2023 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-15__816606_item-28_1855424-28-
31\check_images\64761                             1750.00 USD.pdf                              33367      7/11/2023 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-15__831059_item-19_1856452-19-
31\check_images\64761                             1750.00 USD.pdf                              34005      8/14/2023 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-15__843745_item-34_1857483-34-
31\check_images\64761                             1750.00 USD.pdf                              34616       9/12/2023 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-15__857494_item-10_1858503-10-
31\check_images\64761                             1750.00 USD.pdf                              41511      10/13/2023 9:51



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1071 of
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-15__871040_item-30_1859476-30-
31\check_images\64761                             1750.00 USD.pdf                               42281     11/14/2023 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-15__883719_item-18_1860523-18-
31\check_images\64761                             1750.00 USD.pdf                               43408      12/12/2023 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-15__898862_item-40_1861604-40-
31\check_images\64761                             1750.00 USD.pdf                               32860      1/16/2024 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__910452_item-29_1862636-29-
31\check_images\64761                             1750.00 USD.pdf                               37531       2/12/2024 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-15__924185_item-11_1863684-11-
31\check_images\64761                             1750.00 USD.pdf                               32668       3/14/2024 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-15__938844_item-33_1864766-33-
31\check_images\64761                             1750.00 USD.pdf                               33922       4/17/2024 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-15__950696_item-22_1865736-22-
31\check_images\64761                             1750.00 USD.pdf                               33912      5/14/2024 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64766                             2021-01-30__439370_INF 2.01.21.pdf           365960      2/24/2021 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64766                             2021-02-28__439246_INF 2.01.21.pdf           365960      2/24/2021 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-30__454349_Sutton Park Payments
31\check_images\64766                             033121.pdf                                    54596      3/31/2021 16:12



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               All Paths/Locations                                Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64766                             2021-04-30__465162_INF 04.30.21 back up.pdf      179185      4/30/2021 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-30__489999_Weekly floats 6-30-
31\check_images\64766                             2021.pdf                                         140710      6/30/2021 20:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64766                             2021-06-30__493438_INF 7.1.21.pdf                295175      7/12/2021 19:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64766                             2021-07-30__553668_136426-1-340.00 USD.pdf        40435     11/29/2021 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-30__565637_172013-44-500.00
31\check_images\64766                             USD.pdf                                           43792     12/28/2021 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64766                             2021-09-30__567771_splcss II 12-29-2021.pdf      232803     12/29/2021 22:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64766                             2021-10-30__578594_90day 1.25.2022.pdf           112148      1/25/2022 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64766                             2021-11-30__579820_136520 340.00.pdf             389430       1/28/2022 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-30__605886_136602-17-680.00
31\check_images\64766                             USD.pdf                                           46384       3/25/2022 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-30__605887_136602-17-680.00
31\check_images\64766                             USD.pdf                                           46384       3/25/2022 9:17



                                                             1071
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-28__621706_136648-45-340.00
31\check_images\64766                             USD.pdf                                          41534      4/25/2022 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64766                             2022-03-30__635603_136688-3-340.00 USD.pdf       40879      5/26/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-30__651271_136737-21-340.00
31\check_images\64766                             USD.pdf                                          36747      6/29/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-30__660865_136780-41-340.00
31\check_images\64766                             USD.pdf                                          40899      7/25/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64766                             2022-06-30__675362_136833-1-340.00 USD.pdf       34456      8/26/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-30__692596_7114_136206-1-340.00
31\check_images\64766                             USD.pdf                                          33561      7/12/2021 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-30__700522_698045_item-6_136914-6-
31\check_images\64766                             340.00 USD.pdf                                  303779     10/24/2022 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-30__692582_item-1_136897-1-340.00
31\check_images\64766                             USD.pdf                                          38517      10/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-30__703664_item-38_136933-38-
31\check_images\64766                             340.00 USD.pdf                                   34785      10/28/2022 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-30__719479_item-36_136997-36-
31\check_images\64766                             340.00 USD.pdf                                   35464      12/5/2022 16:47



                                                            1072
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-30__730724_item-30_137043-30-
31\check_images\64766                             340.00 USD.pdf                                  58902       1/3/2023 17:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-30__740441_item-6_137078-6-340.00
31\check_images\64766                             USD.pdf                                         45635      1/23/2023 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-28__758360_item-1_137122-1-340.00
31\check_images\64766                             USD.pdf                                         38570       3/1/2023 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-30__767929_item-7_137154-7-340.00
31\check_images\64766                             USD.pdf                                         37053      3/27/2023 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-30__785958_item-1_137201-1-340.00
31\check_images\64766                             USD.pdf                                         48586        5/3/2023 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-30__794847_item-6_137245-6-340.00
31\check_images\64766                             USD.pdf                                         44833       5/26/2023 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-30__811866_item-13_137298-13-
31\check_images\64766                             340.00 USD.pdf                                  35587        7/3/2023 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-30__826491_item-1_137336-1-340.00
31\check_images\64766                             USD.pdf                                         36971        8/2/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-30__851363_item-1_137427-1-340.00
31\check_images\64766                             USD.pdf                                         56442      10/2/2023 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-30__874910_item-1_137538-1-340.00
31\check_images\64766                             USD.pdf                                         44780      11/27/2023 9:18



                                                            1073
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1075 of
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-30__894422_item-41_137619-41-
31\check_images\64766                             340.00 USD.pdf                                   30839       1/5/2024 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-29__918354_item-3_137707-3-340.00
31\check_images\64766                             USD.pdf                                          48503        3/4/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-30__946711_item-6_137777-6-680.00
31\check_images\64766                             USD.pdf                                          36551        5/6/2024 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-30__946712_item-6_137777-6-680.00
31\check_images\64766                             USD.pdf                                          36551        5/6/2024 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-30__954785_item-2_137802-2-340.00
31\check_images\64766                             USD.pdf                                          31199       5/28/2024 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64767                             2021-01-23__439224_INF 1.22.21.pdf              318046      2/24/2021 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64767                             2021-02-23__444088_INF 3.5.21.pdf               151375       3/8/2021 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-23__454390_Sutton Park Payments
31\check_images\64767                             033121.pdf                                       54596      3/31/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64767                             2021-04-23__469961_4200340173-4-500.00.pdf       64431      5/12/2021 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-23__489996_Weekly floats 6-30-
31\check_images\64767                             2021.pdf                                        140710      6/30/2021 20:46



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1076 of
                                       3467



               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-23__494723_4200345999-7-500.00
31\check_images\64767                             USD.pdf                                       80359      7/14/2021 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-23__495964_4200348840-2-500.00
31\check_images\64767                             USD.pdf                                       69570      7/19/2021 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-08-23__513812_Pages from
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- IFTSBRW20210826_PHL-9582-
31\check_images\64767                             1342_030356P639.pdf                           75563       8/27/2021 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-23__525688_4200354516-6-500.00
31\check_images\64767                             USD.pdf                                       67998      9/21/2021 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-23__539015_4200357336-1-500.00
31\check_images\64767                             USD.pdf                                       68145      10/25/2021 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-23__560142_4200360168-18-500.00
31\check_images\64767                             USD.pdf                                       71026     12/10/2021 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-23__576173_4200362974-9-500.00
31\check_images\64767                             USD.pdf                                       60757      1/19/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-23__605291_4200368593-41-500.00
31\check_images\64767                             USD.pdf                                       52221       3/24/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-23__605822_4200371368-9-500.00
31\check_images\64767                             USD.pdf                                       66679      3/24/2022 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-23__609796_4200368592-11-500.00
31\check_images\64767                             USD.pdf                                       80427      3/29/2022 16:50



                                                            1075
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1077 of
                                       3467



               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-23__631004_4200374119-15-500.00
31\check_images\64767                             USD.pdf                                         61188      5/16/2022 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-23__640185_4200376875-44-500.00
31\check_images\64767                             USD.pdf                                         59241       6/3/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-23__647160_4200379585-40-500.00
31\check_images\64767                             USD.pdf                                         60623       6/22/2022 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-23__673777_4200385013-35-500.00
31\check_images\64767                             USD.pdf                                         70408      8/22/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-23__687775_item-15_4200387718-15-
31\check_images\64767                             500.00 USD.pdf                                  77474       9/23/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-23__702476_item-45_4200390405-45-
31\check_images\64767                             500.00 USD.pdf                                  63026      10/27/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-23__715557_item-7_4200393116-7-
31\check_images\64767                             500.00 USD.pdf                                  57489     11/28/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-23__726803_item-7_4200395790-7-
31\check_images\64767                             500.00 USD.pdf                                  61721     12/21/2022 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-23__740878_item-7_4200398443-7-
31\check_images\64767                             500.00 USD.pdf                                  56063      1/24/2023 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-23__753600_item-19_4200401086-19-
31\check_images\64767                             500.00 USD.pdf                                  67306      2/22/2023 11:53



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-23__767131_item-28_4200403759-28-
31\check_images\64767                             500.00 USD.pdf                                  65154       3/24/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-23__779776_item-4_4200406412-4-
31\check_images\64767                             500.00 USD.pdf                                  58353      4/20/2023 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-23__939820_item-18_4200437323-18-
31\check_images\64767                             500.00 USD.pdf                                  55325      4/22/2024 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-23__794276_item-35_4200409034-35-
31\check_images\64767                             500.00 USD.pdf                                  58365       5/24/2023 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-23__807761_item-40_4200411666-40-
31\check_images\64767                             500.00 USD.pdf                                  64310      6/26/2023 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-23__819376_item-30_4200414254-30-
31\check_images\64767                             500.00 USD.pdf                                  64717      7/18/2023 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-23__833725_item-45_4200416841-45-
31\check_images\64767                             500.00 USD.pdf                                  61019      8/21/2023 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-23__845869_item-21_4200419416-21-
31\check_images\64767                             500.00 USD.pdf                                  84819      9/18/2023 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-23__860137_item-18_4200421993-18-
31\check_images\64767                             500.00 USD.pdf                                  63630      10/20/2023 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-23__873551_item-28_4200424567-28-
31\check_images\64767                             500.00 USD.pdf                                  60207     11/20/2023 13:31



                                                            1077
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               All Paths/Locations                                Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-23__886439_item-18_4200427134-18-
31\check_images\64767                             500.00 USD.pdf                                    66512     12/19/2023 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-23__900515_item-35_4200429697-35-
31\check_images\64767                             500.00 USD.pdf                                    58361      1/22/2024 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-23__913327_item-13_4200432248-13-
31\check_images\64767                             500.00 USD.pdf                                    59695       2/20/2024 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-23__926598_item-14_4200434783-14-
31\check_images\64767                             500.00 USD.pdf                                    54755       3/21/2024 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-23__953423_item-31_4200439825-31-
31\check_images\64767                             500.00 USD.pdf                                    54245      5/21/2024 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64770                             2021-01-01__463423_6116 INF 1.8.21.pdf           192877      1/11/2021 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64770                             2021-02-01__434408_INF 2.05.21.pdf               488285      2/11/2021 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-01__454385_Sutton Park Payments
31\check_images\64770                             033121.pdf                                        54596      3/31/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64770                             2021-04-01__465083_INF 04.30.21 back up.pdf      179185      4/30/2021 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-01__463421_1000136686-17-
31\check_images\64770                             1384.24.pdf                                       80273      4/27/2021 16:44



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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-01__487502_1000142912-26-1384.24
31\check_images\64770                             USD.pdf                                        37085      6/28/2021 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-01__488679_1000147835-28-1384.24
31\check_images\64770                             USD.pdf                                        73834      6/29/2021 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-01__498845_1000155014-26-1384.24
31\check_images\64770                             USD.pdf                                        67718      7/27/2021 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-01__514411_1000160103-5-1384.24
31\check_images\64770                             USD.pdf                                        74612       8/30/2021 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-01__529501_1000167166-37-1384.24
31\check_images\64770                             USD.pdf                                        67214      9/28/2021 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-01__542710_1000172318-16-1384.24
31\check_images\64770                             USD.pdf                                        66683       11/1/2021 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-01__564883_1000178244-12-1425.77
31\check_images\64770                             USD.pdf                                        41043      12/27/2021 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-01__569855_1000185496-14-1425.77
31\check_images\64770                             USD.pdf                                        66346       1/5/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-01__583588_1000191302-28-1425.77
31\check_images\64770                             USD.pdf                                        70273        2/8/2022 6:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-01__601480_1000197217-21-1425.77
31\check_images\64770                             USD.pdf                                        77526      3/18/2022 14:14



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-01__612913_1000202922-12-1425.77
31\check_images\64770                             USD.pdf                                         62621       4/5/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__625450_1000208746-20-1425.77
31\check_images\64770                             USD.pdf                                         87745       5/3/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__640839_1000213602-13-1425.77
31\check_images\64770                             USD.pdf                                         75059       6/6/2022 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__648938_1000220343-9-1425.77
31\check_images\64770                             USD.pdf                                         75725      6/27/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__663384_1000226083-21-1425.77
31\check_images\64770                             USD.pdf                                         51775      7/28/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__675385_1000230825-4-1425.77
31\check_images\64770                             USD.pdf                                         71496      8/26/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__691777_item-21_1000237485-21-
31\check_images\64770                             1425.77 USD.pdf                                 76951       9/30/2022 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__706915_item-33_1000243272-33-
31\check_images\64770                             1425.77 USD.pdf                                 83794      11/3/2022 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__720405_item-31_1000247842-31-
31\check_images\64770                             1468.54 USD.pdf                                 85465      12/6/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__736916_item-17_1000254638-17-
31\check_images\64770                             1468.54 USD.pdf                                 71803       1/13/2023 9:35



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1082 of
                                       3467



               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__747003_item-31_1000259128-31-
31\check_images\64770                             1468.54 USD.pdf                                 62008        2/6/2023 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__760345_item-38_1000264730-38-
31\check_images\64770                             1468.54 USD.pdf                                 93917       3/6/2023 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__769771_item-1_1000271157-1-
31\check_images\64770                             1468.54 USD.pdf                                 71491      3/28/2023 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__783189_item-22_1000276690-22-
31\check_images\64770                             1468.54 USD.pdf                                 59205       4/28/2023 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__796801_item-8_1000281231-8-
31\check_images\64770                             1468.54 USD.pdf                                 65066       5/31/2023 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__818969_item-40_1000287680-40-
31\check_images\64770                             1468.54 USD.pdf                                 62882      7/17/2023 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__831623_item-11_1000293213-11-
31\check_images\64770                             1468.54 USD.pdf                                 63246      8/14/2023 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__853275_item-2_1000298597-2-
31\check_images\64770                             1468.54 USD.pdf                                 58191      10/3/2023 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__849645_item-21_1000304024-21-
31\check_images\64770                             1468.54 USD.pdf                                 63401      9/26/2023 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__864652_item-6_1000309545-6-
31\check_images\64770                             1468.54 USD.pdf                                 50324     10/31/2023 12:04



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1083 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__877198_item-17_1000315123-17-
31\check_images\64770                             1512.60 USD.pdf                                 52066      11/29/2023 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__888284_item-43_1000319549-43-
31\check_images\64770                             1512.60 USD.pdf                                 52778     12/26/2023 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__902759_item-44_1000324728-44-
31\check_images\64770                             1512.60 USD.pdf                                 51790       1/29/2024 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__915574_item-35_1000330033-35-
31\check_images\64770                             1512.60 USD.pdf                                 52226      2/26/2024 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__930536_item-25_1000336223-25-
31\check_images\64770                             1512.60 USD.pdf                                 62287       4/1/2024 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__943847_item-1_1000341516-1-
31\check_images\64770                             1512.60 USD.pdf                                 47273      4/30/2024 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-21__439907_More Vida to Book
31\check_images\64881                             2.25.21.pdf                                     65232      2/26/2021 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-21__439908_More Vida to Book
31\check_images\64881                             2.25.21.pdf                                     65232      2/26/2021 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-21__455047_VidaPayments 4-1-
31\check_images\64881                             2021.pdf                                        85998       4/1/2021 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2021-04-21__474442_Vida 5-26-2021.pdf          150188      5/26/2021 13:11



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2021-05-21__475137_Vida 5-26-2021.pdf           150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2021-06-21__499207_Vida 7.28.2021.pdf            96576      7/28/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-07-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 21__515331_Payment_Report_8_30_2021.xls.pd
31\check_images\64881                             f                                               103499      8/30/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-08-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 21__515810_Payment_Report_8_30_2021.xls.pd
31\check_images\64881                             f                                               103499      8/30/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2021-09-21__540020_Vida 10-27-2021.pdf           94412     10/27/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2021-10-21__541070_Vida p2 10-28-2021.pdf        66982     10/28/2021 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2021-11-21__563405_Vida 12-20-2021.pdf           89997     12/20/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2021-12-21__579151_Vida 1.26.2022.pdf           109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2022-01-21__589264_Vida 2-23-2022.pdf            88611      2/23/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2022-02-21__607672_Vida 3-29-2022.pdf           100935      3/29/2022 11:35



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2022-03-21__620134_Vida 4-21-2022.pdf        86859      4/21/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2022-04-21__647964_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2022-05-21__648238_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2022-06-21__661564_Vida 7-25-2022.pdf        99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2022-07-21__676791_Vida 8-29-2022.pdf       126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2022-08-21__690797_Vida 9-28-2022.pdf        71423      9/28/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2022-09-21__703584_Vida 10-28-2022.pdf       71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2022-10-21__716854_Vida 11-29-2022.pdf       95226     11/29/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2022-11-21__733233_Vida 1-5-2023.pdf        105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2022-12-21__753162_Vida 2.21.2023.pdf        75171      2/21/2023 14:13



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2023-01-21__767566_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2023-02-21__791209_Vida 5-15-2023.pdf         90684      5/15/2023 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2023-03-21__798238_Vida 5-31-2023.pdf         94469      5/31/2023 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2023-04-21__823010_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2023-05-21__835976_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2023-06-21__850268_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2023-07-21__865095_Vida 10-31-2023.pdf        77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2023-08-21__872691_Vida 11-16-2023.pdf        72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2023-09-21__886899_Vida 12-19-2023.pdf       104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2023-10-21__897548_Vida 1-16-2024.pdf         72527       1/16/2024 9:19



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SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2023-11-21__913782_Vida 2-21-2024.pdf         70776       2/21/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2023-12-21__932275_Vida - 4-2-2024.pdf        72367       4/2/2024 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2024-01-21__948261_Vida 5-7-2024.pdf          93508        5/8/2024 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64881                             2024-02-21__956337_Vida 5-29-2024.pdf         64069       5/29/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                             2023-01-01__767305_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                             2023-02-01__780111_Vida 4-21-2023.pdf         94535      4/21/2023 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                             2023-03-01__791143_Vida 5-15-2023.pdf         90684      5/15/2023 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                             2023-04-01__805260_Vida 6-15-2023.pdf         77678      6/15/2023 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                             2023-05-01__822923_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                             2023-06-01__836404_Vida 8-28-2023.pdf        126993      8/28/2023 15:35



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                             2023-07-01__850426_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                             2023-08-01__865587_Vida 10-31-2023.pdf        77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                             2023-09-01__886709_Vida 12-19-2023.pdf       104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                             2023-10-01__897223_Vida 1-16-2024.pdf         72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                             2023-11-01__902813_Vida 1-29-2024.pdf         49667      1/29/2024 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                             2023-12-01__924714_Vida 3-15-2024.pdf         61110      3/15/2024 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                             2024-01-01__938353_Vida 4-16-2024.pdf         56528      4/16/2024 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                             2024-02-01__956005_Vida 5-29-2024.pdf         64069       5/29/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                             2024-03-01__962958_Vida 6-13-2024.pdf         74462      6/13/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-15__439915_More Vida to Book
31\check_images\64904                             2.25.21.pdf                                   65232      2/26/2021 13:47



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               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-15__439916_More Vida to Book
31\check_images\64904                             2.25.21.pdf                                        65232      2/26/2021 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-15__455018_VidaPayments 4-1-
31\check_images\64904                             2021.pdf                                           85998       4/1/2021 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2021-04-15__474428_Vida 5-26-2021.pdf             150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2021-05-15__475108_Vida 5-26-2021.pdf             150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2021-06-15__486753_vida checks 6.28.2021.pdf       87662      6/28/2021 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2021-07-15__499285_Vida 7.28.2021.pdf              96576      7/28/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-08-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 15__515538_Payment_Report_8_30_2021.xls.pd
31\check_images\64904                             f                                                 103499      8/30/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2021-09-15__531423_vidas 9-30-2021.pdf             91617      9/30/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2021-10-15__540398_Vida 10-27-2021.pdf             94412     10/27/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2021-11-15__554851_vida - 11.29.2021.pdf           78515     11/29/2021 22:00



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2021-12-15__579119_Vida 1.26.2022.pdf       109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2022-01-15__579402_Vida 1.26.2022.pdf       109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2022-02-15__607612_Vida 3-29-2022.pdf       100935      3/29/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2022-03-15__620103_Vida 4-21-2022.pdf        86859      4/21/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2022-04-15__647926_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2022-05-15__648201_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2022-06-15__661540_Vida 7-25-2022.pdf        99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2022-07-15__676754_Vida 8-29-2022.pdf       126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2022-08-15__690751_Vida 9-28-2022.pdf        71423      9/28/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2022-09-15__703566_Vida 10-28-2022.pdf       71424     10/28/2022 15:35



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2022-10-15__716835_Vida 11-29-2022.pdf        95226     11/29/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2022-11-15__733195_Vida 1-5-2023.pdf         105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2022-12-15__753114_Vida 2.21.2023.pdf         75171      2/21/2023 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2023-01-15__767547_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2023-02-15__780306_Vida 4-21-2023.pdf         94535      4/21/2023 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2023-03-15__798223_Vida 5-31-2023.pdf         94469      5/31/2023 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2023-04-15__823005_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2023-05-15__823073_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2023-06-15__850229_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2023-07-15__864966_Vida 10-31-2023.pdf        77246     10/31/2023 14:07



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2023-08-15__872655_Vida 11-16-2023.pdf       72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2023-09-15__886856_Vida 12-19-2023.pdf      104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2023-10-15__897473_Vida 1-16-2024.pdf        72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2023-11-15__913693_Vida 2-21-2024.pdf        70776       2/21/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2023-12-15__932230_Vida - 4-2-2024.pdf       72367       4/2/2024 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2024-01-15__948183_Vida 5-7-2024.pdf         93508        5/8/2024 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64904                             2024-02-15__956257_Vida 5-29-2024.pdf        64069       5/29/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-15__439919_More Vida to Book
31\check_images\64918                             2.25.21.pdf                                  65232      2/26/2021 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-15__439920_More Vida to Book
31\check_images\64918                             2.25.21.pdf                                  65232      2/26/2021 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-15__455020_VidaPayments 4-1-
31\check_images\64918                             2021.pdf                                     85998       4/1/2021 10:34



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               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2021-04-15__474429_Vida 5-26-2021.pdf             150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2021-05-15__475109_Vida 5-26-2021.pdf             150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2021-06-15__486756_vida checks 6.28.2021.pdf       87662      6/28/2021 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2021-07-15__499286_Vida 7.28.2021.pdf              96576      7/28/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-08-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 15__515540_Payment_Report_8_30_2021.xls.pd
31\check_images\64918                             f                                                 103499      8/30/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2021-09-15__531425_vidas 9-30-2021.pdf             91617      9/30/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2021-10-15__540401_Vida 10-27-2021.pdf             94412     10/27/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2021-11-15__554852_vida - 11.29.2021.pdf           78515     11/29/2021 22:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2021-12-15__579121_Vida 1.26.2022.pdf             109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2022-01-15__579403_Vida 1.26.2022.pdf             109457      1/26/2022 11:13



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2022-02-15__607616_Vida 3-29-2022.pdf       100935      3/29/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2022-03-15__620105_Vida 4-21-2022.pdf        86859      4/21/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2022-04-15__647927_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2022-05-15__648202_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2022-06-15__661541_Vida 7-25-2022.pdf        99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2022-07-15__676757_Vida 8-29-2022.pdf       126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2022-08-15__690754_Vida 9-28-2022.pdf        71423      9/28/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2022-09-15__703567_Vida 10-28-2022.pdf       71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2022-10-15__716836_Vida 11-29-2022.pdf       95226     11/29/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2022-11-15__733196_Vida 1-5-2023.pdf        105180       1/5/2023 12:52



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2022-12-15__753116_Vida 2.21.2023.pdf         75171      2/21/2023 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2023-01-15__767548_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2023-02-15__780307_Vida 4-21-2023.pdf         94535      4/21/2023 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2023-03-15__798226_Vida 5-31-2023.pdf         94469      5/31/2023 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2023-04-15__823006_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2023-05-15__823074_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2023-06-15__850230_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2023-07-15__864968_Vida 10-31-2023.pdf        77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2023-08-15__872656_Vida 11-16-2023.pdf        72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2023-09-15__886857_Vida 12-19-2023.pdf       104880     12/19/2023 13:01



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2023-10-15__897474_Vida 1-16-2024.pdf           72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2023-11-15__913695_Vida 2-21-2024.pdf           70776       2/21/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2023-12-15__932233_Vida - 4-2-2024.pdf          72367       4/2/2024 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2024-01-15__948185_Vida 5-7-2024.pdf            93508        5/8/2024 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64918                             2024-02-15__956258_Vida 5-29-2024.pdf           64069       5/29/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2021-10-30__541006_Vida p2 10-28-2021.pdf       66982     10/28/2021 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2021-11-30__563315_Vida 12-20-2021.pdf          89997     12/20/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2021-12-30__579011_Vida 1.26.2022.pdf          109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2022-01-30__589174_Vida 2-23-2022.pdf           88611      2/23/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2022-02-28__607410_Vida 3-29-2022.pdf          100935      3/29/2022 11:35



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2022-03-30__620000_Vida 4-21-2022.pdf        86859      4/21/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2022-04-30__647756_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2022-05-30__648290_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2022-06-30__661258_Vida 7-25-2022.pdf        99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2022-07-30__676265_Vida 8-29-2022.pdf       126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2022-08-30__690546_Vida 9-28-2022.pdf        71423      9/28/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2022-09-30__703455_Vida 10-28-2022.pdf       71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2022-10-30__732510_Vida 1-5-2023.pdf        105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2022-11-30__741340_Vida 1-25-2023.pdf        85854      1/25/2023 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2022-12-30__753058_Vida 2.21.2023.pdf        75171      2/21/2023 14:13



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2023-01-30__767432_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2023-02-28__791011_Vida 5-15-2023.pdf         90684      5/15/2023 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2023-03-30__798120_Vida 5-31-2023.pdf         94469      5/31/2023 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2023-04-30__822834_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2023-05-30__836156_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2023-06-30__850326_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2023-07-30__865334_Vida 10-31-2023.pdf        77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2023-08-30__872749_Vida 11-16-2023.pdf        72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2023-09-30__886993_Vida 12-19-2023.pdf       104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2023-10-30__897694_Vida 1-16-2024.pdf         72527       1/16/2024 9:19



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2023-11-30__913890_Vida 2-21-2024.pdf        70776       2/21/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2023-12-30__932345_Vida - 4-2-2024.pdf       72367       4/2/2024 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2024-01-30__948364_Vida 5-7-2024.pdf         93508        5/8/2024 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                             2024-02-29__962857_Vida 6-13-2024.pdf        74462      6/13/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-25__439923_More Vida to Book
31\check_images\64938                             2.25.21.pdf                                  65232      2/26/2021 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-25__439924_More Vida to Book
31\check_images\64938                             2.25.21.pdf                                  65232      2/26/2021 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-25__455068_VidaPayments 4-1-
31\check_images\64938                             2021.pdf                                     85998       4/1/2021 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2021-04-25__474453_Vida 5-26-2021.pdf       150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2021-05-25__475157_Vida 5-26-2021.pdf       150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2021-06-25__499218_Vida 7.28.2021.pdf        96576      7/28/2021 11:26



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-07-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 25__515360_Payment_Report_8_30_2021.xls.pd
31\check_images\64938                             f                                               103499      8/30/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2021-08-25__531042_vidas 9-30-2021.pdf           91617      9/30/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2021-09-25__540036_Vida 10-27-2021.pdf           94412     10/27/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2021-10-25__541106_Vida p2 10-28-2021.pdf        66982     10/28/2021 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2021-11-25__563416_Vida 12-20-2021.pdf           89997     12/20/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2021-12-25__579169_Vida 1.26.2022.pdf           109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2022-01-25__589283_Vida 2-23-2022.pdf            88611      2/23/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2022-02-25__607712_Vida 3-29-2022.pdf           100935      3/29/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2022-03-25__620151_Vida 4-21-2022.pdf            86859      4/21/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2022-04-25__647985_Vida 6-23-2022.pdf           141689      6/23/2022 13:29



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2022-05-25__648260_Vida 6-23-2022.pdf        141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2022-06-25__661576_Vida 7-25-2022.pdf         99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2022-07-25__676808_Vida 8-29-2022.pdf        126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2022-08-25__690821_Vida 9-28-2022.pdf         71423      9/28/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2022-09-25__703595_Vida 10-28-2022.pdf        71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2022-10-25__732837_Vida 1-5-2023.pdf         105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2022-11-25__741417_Vida 1-25-2023.pdf         85854      1/25/2023 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2022-12-25__753192_Vida 2.21.2023.pdf         75171      2/21/2023 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2023-01-25__767577_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2023-02-25__791212_Vida 5-15-2023.pdf         90684      5/15/2023 17:58



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2023-03-25__798246_Vida 5-31-2023.pdf         94469      5/31/2023 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2023-04-25__823014_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2023-05-25__836020_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2023-06-25__850291_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2023-07-25__865171_Vida 10-31-2023.pdf        77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2023-08-25__872714_Vida 11-16-2023.pdf        72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2023-09-25__886924_Vida 12-19-2023.pdf       104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2023-10-25__897612_Vida 1-16-2024.pdf         72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2023-11-25__913828_Vida 2-21-2024.pdf         70776       2/21/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2023-12-25__932300_Vida - 4-2-2024.pdf        72367       4/2/2024 16:38



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               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2024-01-25__948303_Vida 5-7-2024.pdf               93508        5/8/2024 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64938                             2024-02-25__956370_Vida 5-29-2024.pdf              64069       5/29/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2021-04-01__474398_Vida 5-26-2021.pdf             150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2021-05-01__475015_Vida 5-26-2021.pdf             150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2021-06-01__486659_vida checks 6.28.2021.pdf       87662      6/28/2021 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2021-07-01__499253_Vida 7.28.2021.pdf              96576      7/28/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-08-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 01__515455_Payment_Report_8_30_2021.xls.pd
31\check_images\64945                             f                                                 103499      8/30/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2021-09-01__531289_vidas 9-30-2021.pdf             91617      9/30/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2021-10-01__540231_Vida 10-27-2021.pdf             94412     10/27/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2021-11-01__554770_vida - 11.29.2021.pdf           78515     11/29/2021 22:00



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2021-12-01__563519_Vida 12-20-2021.pdf       89997     12/20/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2022-01-01__579299_Vida 1.26.2022.pdf       109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2022-02-01__589390_Vida 2-23-2022.pdf        88611      2/23/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2022-03-01__607976_Vida 3-29-2022.pdf       100935      3/29/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2022-04-01__647822_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2022-05-01__648098_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2022-06-01__661331_Vida 7-25-2022.pdf        99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2022-07-01__676562_Vida 8-29-2022.pdf       126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2022-08-01__676980_Vida 8-29-2022.pdf       126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2022-09-01__703496_Vida 10-28-2022.pdf       71424     10/28/2022 15:35



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2022-10-01__716730_Vida 11-29-2022.pdf        95226     11/29/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2022-11-01__733037_Vida 1-5-2023.pdf         105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2022-12-01__741491_Vida 1-25-2023.pdf         85854      1/25/2023 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2023-01-01__767482_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2023-02-01__780241_Vida 4-21-2023.pdf         94535      4/21/2023 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2023-03-01__791232_Vida 5-15-2023.pdf         90684      5/15/2023 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2023-04-01__805346_Vida 6-15-2023.pdf         77678      6/15/2023 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2023-05-01__823034_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2023-06-01__836405_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2023-07-01__850427_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2023-08-01__865588_Vida 10-31-2023.pdf       77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2023-09-01__886710_Vida 12-19-2023.pdf      104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2023-10-01__897224_Vida 1-16-2024.pdf        72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2023-11-01__902815_Vida 1-29-2024.pdf        49667      1/29/2024 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2023-12-01__924716_Vida 3-15-2024.pdf        61110      3/15/2024 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2024-01-01__938356_Vida 4-16-2024.pdf        56528      4/16/2024 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2024-02-01__956009_Vida 5-29-2024.pdf        64069       5/29/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64945                             2024-03-01__962959_Vida 6-13-2024.pdf        74462      6/13/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-21__439929_More Vida to Book
31\check_images\64952                             2.25.21.pdf                                  65232      2/26/2021 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-21__439930_More Vida to Book
31\check_images\64952                             2.25.21.pdf                                  65232      2/26/2021 13:47



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-21__455050_VidaPayments 4-1-
31\check_images\64952                             2021.pdf                                         85998       4/1/2021 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2021-04-21__474444_Vida 5-26-2021.pdf           150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2021-05-21__475139_Vida 5-26-2021.pdf           150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2021-06-21__499209_Vida 7.28.2021.pdf            96576      7/28/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-07-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 21__515336_Payment_Report_8_30_2021.xls.pd
31\check_images\64952                             f                                               103499      8/30/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-08-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 21__515812_Payment_Report_8_30_2021.xls.pd
31\check_images\64952                             f                                               103499      8/30/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2021-09-21__540022_Vida 10-27-2021.pdf           94412     10/27/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2021-10-21__541073_Vida p2 10-28-2021.pdf        66982     10/28/2021 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2021-11-21__563406_Vida 12-20-2021.pdf           89997     12/20/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2021-12-21__579152_Vida 1.26.2022.pdf           109457      1/26/2022 11:13



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1108 of
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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2022-01-21__589265_Vida 2-23-2022.pdf        88611      2/23/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2022-02-21__607676_Vida 3-29-2022.pdf       100935      3/29/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2022-03-21__620135_Vida 4-21-2022.pdf        86859      4/21/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2022-04-21__647966_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2022-05-21__648240_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2022-06-21__661563_Vida 7-25-2022.pdf        99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2022-07-21__676792_Vida 8-29-2022.pdf       126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2022-08-21__690799_Vida 9-28-2022.pdf        71423      9/28/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2022-09-21__703585_Vida 10-28-2022.pdf       71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2022-10-21__716855_Vida 11-29-2022.pdf       95226     11/29/2022 11:25



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2022-11-21__733235_Vida 1-5-2023.pdf         105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2022-12-21__753164_Vida 2.21.2023.pdf         75171      2/21/2023 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2023-01-21__767567_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2023-02-21__791210_Vida 5-15-2023.pdf         90684      5/15/2023 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2023-03-21__798242_Vida 5-31-2023.pdf         94469      5/31/2023 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2023-04-21__823011_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2023-05-21__835983_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2023-06-21__850270_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2023-07-21__865102_Vida 10-31-2023.pdf        77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2023-08-21__872692_Vida 11-16-2023.pdf        72124     11/16/2023 16:51



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2023-09-21__886901_Vida 12-19-2023.pdf      104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2023-10-21__897551_Vida 1-16-2024.pdf        72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2023-11-21__913785_Vida 2-21-2024.pdf        70776       2/21/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2023-12-21__932277_Vida - 4-2-2024.pdf       72367       4/2/2024 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2024-01-21__948263_Vida 5-7-2024.pdf         93508        5/8/2024 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64952                             2024-02-21__956341_Vida 5-29-2024.pdf        64069       5/29/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-14__439931_More Vida to Book
31\check_images\64958                             2.25.21.pdf                                  65232      2/26/2021 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-14__439932_More Vida to Book
31\check_images\64958                             2.25.21.pdf                                  65232      2/26/2021 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-14__454962_VidaPayments 4-1-
31\check_images\64958                             2021.pdf                                     85998       4/1/2021 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2021-04-14__474414_Vida 5-26-2021.pdf       150188      5/26/2021 13:11



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               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2021-05-14__475063_Vida 5-26-2021.pdf             150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2021-06-14__486702_vida checks 6.28.2021.pdf       87662      6/28/2021 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2021-07-14__499267_Vida 7.28.2021.pdf              96576      7/28/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-08-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 14__515495_Payment_Report_8_30_2021.xls.pd
31\check_images\64958                             f                                                 103499      8/30/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2021-09-14__531377_vidas 9-30-2021.pdf             91617      9/30/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2021-10-14__540334_Vida 10-27-2021.pdf             94412     10/27/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2021-11-14__554818_vida - 11.29.2021.pdf           78515     11/29/2021 22:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2021-12-14__563558_Vida 12-20-2021.pdf             89997     12/20/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2022-01-14__579349_Vida 1.26.2022.pdf             109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2022-02-14__607548_Vida 3-29-2022.pdf             100935      3/29/2022 11:35



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2022-03-14__608064_Vida 3-29-2022.pdf       100935      3/29/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2022-04-14__647879_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2022-05-14__648154_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2022-06-14__661503_Vida 7-25-2022.pdf        99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2022-07-14__676703_Vida 8-29-2022.pdf       126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2022-08-14__690693_Vida 9-28-2022.pdf        71423      9/28/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2022-09-14__703535_Vida 10-28-2022.pdf       71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2022-10-14__716786_Vida 11-29-2022.pdf       95226     11/29/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2022-11-14__733114_Vida 1-5-2023.pdf        105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2022-12-14__741526_Vida 1-25-2023.pdf        85854      1/25/2023 15:23



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2023-01-14__767517_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2023-02-14__780276_Vida 4-21-2023.pdf         94535      4/21/2023 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2023-03-14__823001_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2023-04-14__805357_Vida 6-15-2023.pdf         77678      6/15/2023 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2023-05-14__823045_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2023-06-14__836480_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2023-07-14__850496_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2023-08-14__872588_Vida 11-16-2023.pdf        72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2023-09-14__886798_Vida 12-19-2023.pdf       104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2023-10-14__897361_Vida 1-16-2024.pdf         72527       1/16/2024 9:19



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2023-11-14__913610_Vida 2-21-2024.pdf        70776       2/21/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2023-12-14__924793_Vida 3-15-2024.pdf        61110      3/15/2024 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2024-01-14__938513_Vida 4-16-2024.pdf        56528      4/16/2024 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2024-02-14__956154_Vida 5-29-2024.pdf        64069       5/29/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64958                             2024-03-14__963032_Vida 6-13-2024.pdf        74462      6/13/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2021-11-23__563288_Vida 12-20-2021.pdf       89997     12/20/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2021-12-23__578981_Vida 1.26.2022.pdf       109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2022-01-23__589151_Vida 2-23-2022.pdf        88611      2/23/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2022-02-23__607343_Vida 3-29-2022.pdf       100935      3/29/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2022-03-23__619978_Vida 4-21-2022.pdf        86859      4/21/2022 12:33



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2022-04-23__647753_Vida 6-23-2022.pdf        141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2022-05-23__648248_Vida 6-23-2022.pdf        141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2022-06-23__661196_Vida 7-25-2022.pdf         99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2022-07-23__676222_Vida 8-29-2022.pdf        126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2022-08-23__690510_Vida 9-28-2022.pdf         71423      9/28/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2022-09-23__703426_Vida 10-28-2022.pdf        71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2022-10-23__716562_Vida 11-29-2022.pdf        95226     11/29/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2022-11-23__732814_Vida 1-5-2023.pdf         105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2022-12-23__753000_Vida 2.21.2023.pdf         75171      2/21/2023 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2023-01-23__767411_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2023-02-23__790945_Vida 5-15-2023.pdf         90684      5/15/2023 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2023-03-23__798019_Vida 5-31-2023.pdf         94469      5/31/2023 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2023-04-23__822793_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2023-05-23__836002_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2023-06-23__850280_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2023-07-23__865137_Vida 10-31-2023.pdf        77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2023-08-23__872702_Vida 11-16-2023.pdf        72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2023-09-23__886911_Vida 12-19-2023.pdf       104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2023-10-23__897584_Vida 1-16-2024.pdf         72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2023-11-23__913809_Vida 2-21-2024.pdf         70776       2/21/2024 8:54



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               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2023-12-23__932287_Vida - 4-2-2024.pdf             72367       4/2/2024 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2024-01-23__948280_Vida 5-7-2024.pdf               93508        5/8/2024 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                             2024-02-23__956358_Vida 5-29-2024.pdf              64069       5/29/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-15__439934_More Vida to Book
31\check_images\65009                             2.25.21.pdf                                        65232      2/26/2021 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-15__455022_VidaPayments 4-1-
31\check_images\65009                             2021.pdf                                           85998       4/1/2021 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2021-04-15__474431_Vida 5-26-2021.pdf             150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2021-05-15__475111_Vida 5-26-2021.pdf             150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2021-06-15__486761_vida checks 6.28.2021.pdf       87662      6/28/2021 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2021-07-15__499288_Vida 7.28.2021.pdf              96576      7/28/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-08-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 15__515545_Payment_Report_8_30_2021.xls.pd
31\check_images\65009                             f                                                 103499      8/30/2021 18:37



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2021-09-15__531426_vidas 9-30-2021.pdf       91617      9/30/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2021-10-15__578582_90day 1.25.2022.pdf      112148      1/25/2022 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2021-11-15__563387_Vida 12-20-2021.pdf       89997     12/20/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2021-12-15__579122_Vida 1.26.2022.pdf       109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2022-01-15__579405_Vida 1.26.2022.pdf       109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2022-02-15__607618_Vida 3-29-2022.pdf       100935      3/29/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2022-03-15__620106_Vida 4-21-2022.pdf        86859      4/21/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2022-04-15__647929_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2022-05-15__648204_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2022-06-15__661510_Vida 7-25-2022.pdf        99843      7/25/2022 14:32



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2022-07-15__676761_Vida 8-29-2022.pdf        126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2022-08-15__690755_Vida 9-28-2022.pdf         71423      9/28/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2022-09-15__703568_Vida 10-28-2022.pdf        71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2022-10-15__716837_Vida 11-29-2022.pdf        95226     11/29/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2022-11-15__733198_Vida 1-5-2023.pdf         105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2022-12-15__753117_Vida 2.21.2023.pdf         75171      2/21/2023 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2023-01-15__767549_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2023-02-15__780308_Vida 4-21-2023.pdf         94535      4/21/2023 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2023-03-15__798230_Vida 5-31-2023.pdf         94469      5/31/2023 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2023-04-15__823007_Vida 7-27-2023.pdf        138197      7/27/2023 18:07



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2023-05-15__823077_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2023-06-15__850233_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2023-07-15__864978_Vida 10-31-2023.pdf        77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2023-08-15__872657_Vida 11-16-2023.pdf        72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2023-09-15__886861_Vida 12-19-2023.pdf       104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2023-10-15__897480_Vida 1-16-2024.pdf         72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2023-11-15__913700_Vida 2-21-2024.pdf         70776       2/21/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2023-12-15__932238_Vida - 4-2-2024.pdf        72367       4/2/2024 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2024-01-15__948192_Vida 5-7-2024.pdf          93508        5/8/2024 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65009                             2024-02-15__956268_Vida 5-29-2024.pdf         64069       5/29/2024 9:38



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               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-15__439938_More Vida to Book
31\check_images\65039                             2.25.21.pdf                                        65232      2/26/2021 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-15__439940_More Vida to Book
31\check_images\65039                             2.25.21.pdf                                        65232      2/26/2021 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-15__455024_VidaPayments 4-1-
31\check_images\65039                             2021.pdf                                           85998       4/1/2021 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2021-04-15__474432_Vida 5-26-2021.pdf             150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2021-05-15__475112_Vida 5-26-2021.pdf             150188      5/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2021-06-15__486762_vida checks 6.28.2021.pdf       87662      6/28/2021 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2021-07-15__499289_Vida 7.28.2021.pdf              96576      7/28/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-08-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 15__515547_Payment_Report_8_30_2021.xls.pd
31\check_images\65039                             f                                                 103499      8/30/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2021-09-15__531427_vidas 9-30-2021.pdf             91617      9/30/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2021-10-15__540402_Vida 10-27-2021.pdf             94412     10/27/2021 11:17



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2021-11-15__563388_Vida 12-20-2021.pdf       89997     12/20/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2021-12-15__579123_Vida 1.26.2022.pdf       109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2022-01-15__579406_Vida 1.26.2022.pdf       109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2022-02-15__607619_Vida 3-29-2022.pdf       100935      3/29/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2022-03-15__620108_Vida 4-21-2022.pdf        86859      4/21/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2022-04-15__647930_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2022-05-15__648205_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2022-06-15__661519_Vida 7-25-2022.pdf        99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2022-07-15__676763_Vida 8-29-2022.pdf       126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2022-08-15__690757_Vida 9-28-2022.pdf        71423      9/28/2022 11:53



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                                       3467



               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2022-09-15__703569_Vida 10-28-2022.pdf        71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2022-10-15__716838_Vida 11-29-2022.pdf        95226     11/29/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2022-11-15__733199_Vida 1-5-2023.pdf         105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2022-12-15__753120_Vida 2.21.2023.pdf         75171      2/21/2023 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2023-01-15__767550_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2023-02-15__780309_Vida 4-21-2023.pdf         94535      4/21/2023 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2023-03-15__798233_Vida 5-31-2023.pdf         94469      5/31/2023 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2023-04-15__823008_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2023-05-15__823078_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2023-06-15__850234_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08



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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2023-07-15__864980_Vida 10-31-2023.pdf       77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2023-08-15__872658_Vida 11-16-2023.pdf       72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2023-09-15__886862_Vida 12-19-2023.pdf      104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2023-10-15__897482_Vida 1-16-2024.pdf        72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2023-11-15__913702_Vida 2-21-2024.pdf        70776       2/21/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2023-12-15__932239_Vida - 4-2-2024.pdf       72367       4/2/2024 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2024-01-15__948196_Vida 5-7-2024.pdf         93508        5/8/2024 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65039                             2024-02-15__956271_Vida 5-29-2024.pdf        64069       5/29/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65047                             2023-11-04__913478_Vida 2-21-2024.pdf        70776       2/21/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65047                             2023-12-04__924740_Vida 3-15-2024.pdf        61110      3/15/2024 14:09



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               All Paths/Locations                                  Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65047                             2024-01-04__938414_Vida 4-16-2024.pdf             56528      4/16/2024 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65047                             2024-02-04__956046_Vida 5-29-2024.pdf             64069       5/29/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65047                             2024-03-04__962979_Vida 6-13-2024.pdf             74462      6/13/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-01__484118_RE_ Servicing HB Release
31\check_images\65292                             06 17 21 Approval Needed-FLove Approval.pdf      221005      6/18/2021 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-01__487448_1000142761-33-750.00
31\check_images\65292                             USD.pdf                                           41920      6/28/2021 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-01__498844_1000154897-27-750.00
31\check_images\65292                             USD.pdf                                           66826      7/27/2021 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-01__514399_1000159936-4-750.00
31\check_images\65292                             USD.pdf                                           74462       8/30/2021 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-01__529500_1000167049-38-750.00
31\check_images\65292                             USD.pdf                                           68196      9/28/2021 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-01__542700_1000172134-17-750.00
31\check_images\65292                             USD.pdf                                           74248       11/1/2021 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-01__561642_1000178074-42-750.00
31\check_images\65292                             USD.pdf                                           40704      12/15/2021 9:11



                                                              1124
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-01__569849_1000185333-13-750.00
31\check_images\65292                             USD.pdf                                         68208       1/5/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-01__583584_1000191159-29-750.00
31\check_images\65292                             USD.pdf                                         70834        2/8/2022 6:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-01__600442_1000197066-12-750.00
31\check_images\65292                             USD.pdf                                         78916      3/17/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-01__609241_1000202808-44-750.00
31\check_images\65292                             USD.pdf                                         79024      3/30/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__625449_1000208631-19-750.00
31\check_images\65292                             USD.pdf                                         72656       5/3/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__640525_1000213435-26-750.00
31\check_images\65292                             USD.pdf                                         64184       6/6/2022 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__648671_1000220224-32-750.00
31\check_images\65292                             USD.pdf                                         66800      6/27/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__663362_1000225968-22-750.00
31\check_images\65292                             USD.pdf                                         49978      7/28/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__675384_1000230673-3-750.00
31\check_images\65292                             USD.pdf                                         71641      8/26/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__695157_item-34_1000237367-34-
31\check_images\65292                             750.00 USD.pdf                                  80426      10/6/2022 11:14



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__706922_item-36_1000243128-36-
31\check_images\65292                             750.00 USD.pdf                                  71541      11/3/2022 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__720410_item-30_1000247691-30-
31\check_images\65292                             750.00 USD.pdf                                  72576      12/6/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__736914_item-15_1000254482-15-
31\check_images\65292                             750.00 USD.pdf                                  79823       1/13/2023 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__747000_item-30_1000258967-30-
31\check_images\65292                             750.00 USD.pdf                                  68060        2/6/2023 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__762528_item-19_1000264550-19-
31\check_images\65292                             750.00 USD.pdf                                  84518      3/13/2023 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__769899_item-45_1000271045-45-
31\check_images\65292                             750.00 USD.pdf                                  67989      3/28/2023 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__783215_item-23_1000276578-23-
31\check_images\65292                             750.00 USD.pdf                                  65705       4/28/2023 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__797122_item-7_1000281084-7-
31\check_images\65292                             750.00 USD.pdf                                  59125      5/30/2023 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__808999_item-9_1000287566-9-
31\check_images\65292                             750.00 USD.pdf                                  70634      6/26/2023 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__825215_item-43_1000293076-43-
31\check_images\65292                             750.00 USD.pdf                                  67204        8/1/2023 9:16



                                                            1126
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__835709_item-7_1000298487-7-
31\check_images\65292                             750.00 USD.pdf                                  66772      8/28/2023 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__850662_item-27_1000303914-27-
31\check_images\65292                             750.00 USD.pdf                                  55150      9/28/2023 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__865189_item-10_1000309401-10-
31\check_images\65292                             750.00 USD.pdf                                  54872     10/31/2023 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__877237_item-35_1000314970-35-
31\check_images\65292                             750.00 USD.pdf                                  49990     11/29/2023 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__888791_item-13_1000319372-13-
31\check_images\65292                             750.00 USD.pdf                                  49354     12/26/2023 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__902984_item-19_1000324606-19-
31\check_images\65292                             750.00 USD.pdf                                  60587       1/29/2024 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__914944_item-39_1000329901-39-
31\check_images\65292                             750.00 USD.pdf                                  52055      2/26/2024 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__930359_item-35_1000336118-35-
31\check_images\65292                             750.00 USD.pdf                                  63539       4/1/2024 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__867409_item-23_4000288966-23-
31\check_images\65360                             1050.00 USD.pdf                                 51771      11/6/2023 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__867411_item-23_4000288966-23-
31\check_images\65360                             1050.00 USD.pdf                                 51771      11/6/2023 10:18



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1129 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__867413_item-23_4000288966-23-
31\check_images\65360                             1050.00 USD.pdf                                 51771      11/6/2023 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__876525_item-1_4000290861-1-
31\check_images\65360                             350.00 USD.pdf                                  58663     11/28/2023 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__888322_item-40_4000292892-40-
31\check_images\65360                             350.00 USD.pdf                                  51390     12/26/2023 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__902950_item-29_4000294964-29-
31\check_images\65360                             350.00 USD.pdf                                  57475      1/29/2024 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__915143_item-28_4000297053-28-
31\check_images\65360                             350.00 USD.pdf                                  51938      2/26/2024 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__930859_item-30_4000299252-30-
31\check_images\65360                             350.00 USD.pdf                                  48249       4/1/2024 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__942495_item-25_4000301310-25-
31\check_images\65360                             350.00 USD.pdf                                  48355      4/29/2024 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-05__456881_4302027968-34-
31\check_images\65998                             402.66.pdf                                      61429       4/7/2021 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-05__469850_4302038913-38-
31\check_images\65998                             402.66.pdf                                      60513      5/11/2021 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-05__482834_4302049702-1-402.66
31\check_images\65998                             USD.pdf                                         64095      6/14/2021 11:04



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-05__491583_4302060208-18-402.66
31\check_images\65998                             USD.pdf                                       56690       7/6/2021 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-05__505380_4302071175-32-402.66
31\check_images\65998                             USD.pdf                                       57525       8/9/2021 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-05__520917_4302081976-33-402.66
31\check_images\65998                             USD.pdf                                       62755       9/10/2021 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-05__532964_4302092734-2-402.66
31\check_images\65998                             USD.pdf                                       63383      10/4/2021 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-05__546582_4302103197-1-402.66
31\check_images\65998                             USD.pdf                                       61817      11/8/2021 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-05__558658_4302113538-2-402.66
31\check_images\65998                             USD.pdf                                       65268      12/8/2021 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-05__570400_4302124050-3-402.66
31\check_images\65998                             USD.pdf                                       55871       1/6/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65998                             2022-02-05__582615_1.pdf                     262626       2/4/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-05__595508_4302144436-3-402.66
31\check_images\65998                             USD.pdf                                       63721       3/8/2022 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-05__612733_4302154605-26-402.66
31\check_images\65998                             USD.pdf                                       87026        4/6/2022 6:14



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-05__624563_4302164711-35-402.66
31\check_images\65998                             USD.pdf                                         89451       5/2/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-05__635722_4302174792-26-402.66
31\check_images\65998                             USD.pdf                                         99444      5/26/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-05__650471_4302184850-38-402.66
31\check_images\65998                             USD.pdf                                         70155      6/28/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-05__665353_4302194816-17-402.66
31\check_images\65998                             USD.pdf                                         69024       8/1/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-05__675952_4302204645-6-402.66
31\check_images\65998                             USD.pdf                                         73656      8/29/2022 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-05__692641_item-31_4302214585-31-
31\check_images\65998                             402.66 USD.pdf                                  67459      10/3/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-05__703356_item-30_4302224253-30-
31\check_images\65998                             402.66 USD.pdf                                  79409     10/28/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-05__716278_item-31_4302234042-31-
31\check_images\65998                             402.66 USD.pdf                                  74927     11/29/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-05__729462_item-5_4302243626-5-
31\check_images\65998                             402.66 USD.pdf                                  67071      12/30/2022 6:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-05__744225_item-38_4302253102-38-
31\check_images\65998                             402.66 USD.pdf                                  77844      1/30/2023 17:05



                                                            1130
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-05__758624_item-9_4302262640-9-
31\check_images\65998                             402.66 USD.pdf                                 110404       3/2/2023 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-05__769474_item-39_4302272268-39-
31\check_images\65998                             402.66 USD.pdf                                  92196      3/28/2023 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-05__786253_item-33_4302281788-33-
31\check_images\65998                             402.66 USD.pdf                                  85521       5/3/2023 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-05__796542_item-31_4302291217-31-
31\check_images\65998                             402.66 USD.pdf                                  84327      5/30/2023 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-05__810342_item-15_4302300614-15-
31\check_images\65998                             402.66 USD.pdf                                  68237      6/28/2023 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-05__824852_item-29_4302309876-29-
31\check_images\65998                             402.66 USD.pdf                                  87543      7/31/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-05__835947_item-22_4302319243-22-
31\check_images\65998                             402.66 USD.pdf                                  75572      8/28/2023 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-05__852519_item-41_4302328516-41-
31\check_images\65998                             402.66 USD.pdf                                  81508      10/2/2023 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-05__864243_item-31_4302337595-31-
31\check_images\65998                             402.66 USD.pdf                                  70604     10/30/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-05__878138_item-11_4302346924-11-
31\check_images\65998                             402.66 USD.pdf                                  79068     11/29/2023 21:20



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-05__893942_item-3_4302356008-3-
31\check_images\65998                             402.66 USD.pdf                                  77999       1/4/2024 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-05__904929_item-25_4302365061-25-
31\check_images\65998                             402.66 USD.pdf                                  88844      1/31/2024 18:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-05__917355_item-11_4302374101-11-
31\check_images\65998                             402.66 USD.pdf                                  84990       2/29/2024 0:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-05__931011_item-37_4302383043-37-
31\check_images\65998                             402.66 USD.pdf                                  81428       4/1/2024 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-05__942708_item-9_4302391936-9-
31\check_images\65998                             402.66 USD.pdf                                  76254      4/29/2024 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\66004                             2024-04-28__942413_GoldStar 04292024.pdf       153010      4/29/2024 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\67348                             2021-04-17__507866_nala 4-2021 checks.pdf      257992      8/14/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\67348                             2021-05-17__509859_nala 5-2021 checks.pdf      217977      8/16/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\67348                             2021-06-17__516676_DRB 08.30-june.pdf          194321      8/31/2021 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-17__524305_DRB Old Payments 9-17-
31\check_images\67348                             2021.pdf                                       188999      9/17/2021 12:28



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-17__513457_DRB Check Booking
31\check_images\67348                             Template Updated 08-25-2021.pdf           160923      8/25/2021 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-17__526640_DRB Check Booking
31\check_images\67348                             Template Updated 09-22-2021.pdf           192565      9/22/2021 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-17__538645_DRB Check Booking
31\check_images\67348                             Template Updated 10-20-2021.pdf           186752     10/20/2021 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-17__552871_DRB Check Booking
31\check_images\67348                             Template Updated 11-24-2021.pdf           160479     11/24/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-17__564442_DRB Check Booking
31\check_images\67348                             Template Updated 12-22-2021.pdf           190296     12/22/2021 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-17__579539_DRB Check Booking
31\check_images\67348                             Template Updated 01-26-2022.pdf           163842      1/26/2022 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-17__589699_DRB Check Booking
31\check_images\67348                             Template Updated 02-23-2022.pdf           170725      2/23/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-17__604588_DRB Check Booking
31\check_images\67348                             Template Updated 03-23-2022.pdf           174089      3/23/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-17__619635_DRB Check Booking
31\check_images\67348                             Template Updated 04-20-2022.pdf           180879      4/20/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-17__634903_DRB Check Booking
31\check_images\67348                             Template Updated 5-25-2022.pdf            157181      5/25/2022 13:42



                                                            1133
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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-17__647480_DRB Check Booking
31\check_images\67348                             Template Updated 6-22-2022.pdf            188411      6/22/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-17__662695_DRB Check Booking
31\check_images\67348                             Template Updated 7-27-2022.pdf            149687      7/27/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-17__672545_DRB Check Booking
31\check_images\67348                             Template Updated 8-17-2022.pdf            174465      8/17/2022 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-17__687226_DRB Check Booking
31\check_images\67348                             Template Updated 9-21-2022.pdf            185984      9/21/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-17__702047_DRB Check Booking
31\check_images\67348                             Template Updated 10-26-2022.pdf           157049     10/26/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-17__715243_DRB Check Booking
31\check_images\67348                             Template Updated 11-28-2022.pdf           201812     11/28/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-17__726726_DRB Check Booking
31\check_images\67348                             Template Updated 12-21-2022.pdf           205972     12/21/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-17__739151_DRB Check Booking
31\check_images\67348                             Template Updated 1-18-2023.pdf            215009      1/18/2023 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-17__753945_DRB Check Booking
31\check_images\67348                             Template Updated 2-22-2023.pdf            188121      2/22/2023 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-17__766733_DRB Check Booking
31\check_images\67348                             Template Updated 3-22-2023.pdf            171363      3/22/2023 14:16



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-17__782433_DRB Check Booking
31\check_images\67348                             Template Updated 4-26-2023.pdf            169218      4/26/2023 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-17__794481_DRB Check Booking
31\check_images\67348                             Template Updated 5-24-2023.pdf            181428      5/24/2023 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-17__807195_DRB Check Booking
31\check_images\67348                             Template Updated 6-21-2023.pdf            187448      6/21/2023 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-17__821970_DRB Check Booking
31\check_images\67348                             Template Updated 7-26-2023.pdf            145522      7/26/2023 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-17__834915_DRB Check Booking
31\check_images\67348                             Template Updated 8-23-2023.pdf            170224      8/23/2023 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-17__847128_DRB Check Booking
31\check_images\67348                             Template Updated 9-20-2023.pdf            186661      9/20/2023 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-17__861730_DRB Check Booking
31\check_images\67348                             Template Updated 10-25-2023.pdf           201473     10/25/2023 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-17__874625_DRB Check Booking
31\check_images\67348                             Template Updated 11-22-2023.pdf           145529     11/22/2023 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-17__887492_DRB Check Booking
31\check_images\67348                             Template Updated 12-20-2023.pdf           197646     12/20/2023 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-17__901412_DRB Check Booking
31\check_images\67348                             Template Updated 1-24-2024.pdf            152789      1/24/2024 10:48



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-17__914187_DRB Check Booking
31\check_images\67348                             Template Updated 2-21-2024.pdf                 188853      2/21/2024 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-17__926503_DRB Check Booking
31\check_images\67348                             Template Updated 3-20-2024.pdf                 161334      3/20/2024 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-17__941133_DRB Check Booking
31\check_images\67348                             Template Updated 4-24-2024.pdf                 162996      4/24/2024 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-17__953985_DRB Check Booking
31\check_images\67348                             Template Updated 5-22-2024.pdf                 175513      5/22/2024 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\7050                              2021-01-12__430327_60137893-9-170.02.pdf        79309       2/2/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\7050                              2021-02-12__466293_60171584-32-170.02.pdf       87596       5/3/2021 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\7050                              2021-03-12__449754_60160515-4-170.02.pdf        78489       3/23/2021 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\7050                              2021-04-12__466296_60182497-17-170.02.pdf       74299       5/3/2021 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-12__485477_60193269-12-170.02
31\check_images\7050                              USD.pdf                                         65088       6/24/2021 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\7050                              2021-06-12__493588_60203994 170.02.pdf         325377       7/13/2021 9:27



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               All Paths/Locations                                Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\7050                              2021-07-12__506079_12.pdf                  228883       8/11/2021 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-12__523654_60226218-16-170.02
31\check_images\7050                              USD.pdf                                     95959      9/16/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\7050                              2021-09-12__534249_24.pdf                  254397       10/7/2021 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-12__548052_60248384-4-170.02
31\check_images\7050                              USD.pdf                                     37149      11/11/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-12__555992_60258570-4-170.02
31\check_images\7050                              USD.pdf                                     52155       12/1/2021 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-12__570437_60269126-41-170.02
31\check_images\7050                              USD.pdf                                     39393        1/7/2022 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-12__583313_60280081-23-170.02
31\check_images\7050                              USD.pdf                                     38784       2/7/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-12__596612_60290741-9-170.02
31\check_images\7050                              USD.pdf                                     57956      3/10/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-12__614811_60301205-38-170.02
31\check_images\7050                              USD.pdf                                     59345       4/11/2022 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-12__629871_60312402-6-170.02
31\check_images\7050                              USD.pdf                                     56903      5/12/2022 11:04



                                                            1137
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-12__640642_60322065-7-170.02
31\check_images\7050                              USD.pdf                                       58654       6/6/2022 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-12__653641_60332298-5-170.02
31\check_images\7050                              USD.pdf                                       61218       7/5/2022 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-12__670239_60344145-19-170.02
31\check_images\7050                              USD.pdf                                      114221      8/11/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-12__680130_item-5_60353391-5-
31\check_images\7050                              170.02 USD.pdf                                57369        9/2/2022 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-12__697058_item-17_60366266-17-
31\check_images\7050                              170.02 USD.pdf                                78201     10/12/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-12__712370_item-14_60377785-14-
31\check_images\7050                              170.02 USD.pdf                                44094     11/17/2022 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-12__729691_item-19_60387497-19-
31\check_images\7050                              170.02 USD.pdf                                59674     12/30/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-12__734123_item-30_60401041-30-
31\check_images\7050                              170.02 USD.pdf                                55871       1/9/2023 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-12__754152_item-9_60412263-9-
31\check_images\7050                              170.02 USD.pdf                                59497       2/23/2023 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-12__762861_item-16_60423308-16-
31\check_images\7050                              170.02 USD.pdf                                55149      3/13/2023 13:17



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-12__776962_item-3_60435242-3-
31\check_images\7050                              170.02 USD.pdf                                56476       4/13/2023 8:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-12__936652_item-11_60566482-11-
31\check_images\7050                              170.02 USD.pdf                                40977      4/12/2024 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-12__789624_item-36_60446983-36-
31\check_images\7050                              170.02 USD.pdf                                61741       5/11/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-12__799264_item-14_60458521-14-
31\check_images\7050                              170.02 USD.pdf                                61830        6/2/2023 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-12__814639_item-17_60469943-17-
31\check_images\7050                              170.02 USD.pdf                                96488        7/7/2023 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-12__830193_item-22_60481333-22-
31\check_images\7050                              170.02 USD.pdf                                58710       8/10/2023 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-12__842317_item-12_60492067-12-
31\check_images\7050                              170.02 USD.pdf                                60185        9/8/2023 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-12__860294_item-26_60503505-26-
31\check_images\7050                              170.02 USD.pdf                                56468      10/20/2023 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-12__868595_item-8_60513934-8-
31\check_images\7050                              170.02 USD.pdf                                58689       11/8/2023 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-12__882254_item-6_60524546-6-
31\check_images\7050                              170.02 USD.pdf                                50160       12/8/2023 9:05



                                                            1139
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-12__896958_item-14_60535377-14-
31\check_images\7050                              170.02 USD.pdf                                59476      1/11/2024 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-12__909257_item-4_60545517-4-
31\check_images\7050                              170.02 USD.pdf                                85661      2/12/2024 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-12__921990_item-5_60555834-5-
31\check_images\7050                              170.02 USD.pdf                                33968      3/11/2024 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-12__946701_item-1_60576345-1-
31\check_images\7050                              170.02 USD.pdf                                79923        5/6/2024 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-12__962843_item-17_60586578-17-
31\check_images\7050                              170.02 USD.pdf                                31608      6/13/2024 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-14__672403_27426377-1-665.61
31\check_images\70536                             USD.pdf                                       47963      8/17/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-14__832455_item-34_28576541-34-
31\check_images\70536                             665.61 USD.pdf                                54227      8/16/2023 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-14__672154_27426373-1-665.61
31\check_images\70537                             USD.pdf                                       49548       8/17/2022 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-14__832464_item-37_28576538-37-
31\check_images\70537                             665.61 USD.pdf                                49984      8/16/2023 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-14__672525_27426374-44-665.61
31\check_images\70538                             USD.pdf                                       48068      8/17/2022 14:47



                                                            1140
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1142 of
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-14__832461_item-36_28576539-36-
31\check_images\70538                             665.61 USD.pdf                                50111      8/16/2023 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-14__672527_27426376-45-665.61
31\check_images\70539                             USD.pdf                                       45969      8/17/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-14__832458_item-35_28576540-35-
31\check_images\70539                             665.61 USD.pdf                                53910      8/16/2023 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-01__527098_2989005-4-540.28
31\check_images\70577                             USD.pdf                                       53789       7/26/2021 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-01__527099_3042902-27-540.28
31\check_images\70577                             USD.pdf                                       47980       8/27/2021 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-01__528735_3096038-35-540.28
31\check_images\70577                             USD.pdf                                       47177       9/28/2021 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-01__541257_3148199-25-540.28
31\check_images\70577                             USD.pdf                                       48279     10/28/2021 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-01__551701_3166620-25-540.28
31\check_images\70577                             USD.pdf                                       54431      11/22/2021 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-01__567037_3253425-35-540.28
31\check_images\70577                             USD.pdf                                       51298     12/30/2021 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-01__584534_3305524-38-540.28
31\check_images\70577                             USD.pdf                                       51166       2/8/2022 20:02



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1143 of
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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-01__605283_3356024-10-540.28
31\check_images\70577                             USD.pdf                                      54057      3/24/2022 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-01__622489_3457711-33-540.28
31\check_images\70577                             USD.pdf                                      57280       4/27/2022 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__635171_3508289-27-540.28
31\check_images\70577                             USD.pdf                                      55501       5/26/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__642284_3520526-34-540.28
31\check_images\70577                             USD.pdf                                      55733       6/9/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__649333_3559006-1-540.28
31\check_images\70577                             USD.pdf                                      63068      6/27/2022 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__662361_3608604-36-540.28
31\check_images\70577                             USD.pdf                                      31490      7/26/2022 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__676783_3658251-3-540.28
31\check_images\70577                             USD.pdf                                      53151      8/29/2022 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__688763_item-22_3707325-22-
31\check_images\70577                             540.28 USD.pdf                               50145      9/26/2022 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__702763_item-44_3755809-44-
31\check_images\70577                             540.28 USD.pdf                               49774      10/27/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__720305_item-45_3804060-45-
31\check_images\70577                             540.28 USD.pdf                               66853      12/5/2022 10:10



                                                            1142
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__728236_item-19_3851966-19-
31\check_images\70577                             540.28 USD.pdf                                   55829     12/27/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__744809_item-15_3899781-15-
31\check_images\70577                             540.28 USD.pdf                                   65963        2/1/2023 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__755126_item-6_3946696-6-540.28
31\check_images\70577                             USD.pdf                                          63655      2/24/2023 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__780374_item-2_4039991-2-540.28
31\check_images\70577                             USD.pdf                                          54987      4/24/2023 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__808162_item-6_4130730-6-540.28
31\check_images\70577                             USD.pdf                                          56536      6/26/2023 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__796334_item-2_4085386-2-540.28
31\check_images\70577                             USD.pdf                                          69192      5/30/2023 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__828119_item-32_4189462-32-
31\check_images\70577                             540.28 USD.pdf                                   51918       8/7/2023 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__822375_item-14_4178773-14-
31\check_images\70577                             540.28 USD.pdf                                   53521      7/27/2023 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__837068_item-24_4223860-24-
31\check_images\70577                             540.28 USD.pdf                                   65626       8/29/2023 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__847868_item-32_4267050-32-
31\check_images\70577                             540.28 USD.pdf                                   54402      9/25/2023 10:58



                                                            1143
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__868128_item-9_4310535-9-540.28
31\check_images\70577                             USD.pdf                                          66116      11/6/2023 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__878112_item-38_4353630-38-
31\check_images\70577                             540.28 USD.pdf                                   56665     11/29/2023 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__890364_item-20_4395419-20-
31\check_images\70577                             540.28 USD.pdf                                   54400     12/28/2023 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__902300_item-9_4438170-9-540.28
31\check_images\70577                             USD.pdf                                          50649       1/29/2024 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__917634_item-35_4479878-35-
31\check_images\70577                             540.28 USD.pdf                                   55545       2/29/2024 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__928445_item-8_4520487-8-540.28
31\check_images\70577                             USD.pdf                                          52164      3/26/2024 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__944501_item-34_4561156-34-
31\check_images\70577                             540.28 USD.pdf                                   52019      4/30/2024 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\7079                              2021-01-14__443428_4302048954-9-300.00.pdf       84610       3/4/2021 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-14__449767_4302059666-13-
31\check_images\7079                              300.00.pdf                                       86568       3/23/2021 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-14__464985_41 day floats 4-29-
31\check_images\7079                              2021.pdf                                         66823      4/30/2021 12:21



                                                            1144
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-14__466378_4302070574-19-
31\check_images\7079                              300.00.pdf                                       83832       5/3/2021 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\7079                              2021-05-14__478706_4302081305-6-300.00.pdf       87549       6/2/2021 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-14__485481_4302091757-15-300.00
31\check_images\7079                              USD.pdf                                         111330       6/24/2021 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-14__493491_4302102074-10-300.00
31\check_images\7079                              USD.pdf                                          34930      7/12/2021 20:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\7079                              2021-08-14__506065_2.pdf                        237858       8/11/2021 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-14__513879_4302112542-2-300.00
31\check_images\7079                              USD.pdf                                          98994      8/27/2021 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-14__543509_4302133030-6-300.00
31\check_images\7079                              USD.pdf                                          87657      11/1/2021 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-14__550281_4302143125-5-300.00
31\check_images\7079                              USD.pdf                                          34447     11/17/2021 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-14__580013_4302166716-12-300.00
31\check_images\7079                              USD.pdf                                          34045       1/31/2022 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-14__583319_4302163616-25-300.00
31\check_images\7079                              USD.pdf                                          37552       2/7/2022 10:13



                                                            1145
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1147 of
                                       3467



               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-14__588942_4302173562-1-300.00
31\check_images\7079                              USD.pdf                                         33124      2/22/2022 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-14__605503_4302183294-9-300.00
31\check_images\7079                              USD.pdf                                         33779      3/24/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-14__617649_4302193107-3-300.00
31\check_images\7079                              USD.pdf                                         35894      4/18/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-14__633067_4302202694-31-300.00
31\check_images\7079                              USD.pdf                                         75941      5/20/2022 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-14__652906_4302212380-33-300.00
31\check_images\7079                              USD.pdf                                         33686       7/1/2022 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-14__656351_4302221850-10-300.00
31\check_images\7079                              USD.pdf                                         35030      7/11/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-14__670224_4302231294-44-300.00
31\check_images\7079                              USD.pdf                                         33972      8/11/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-14__687317_item-5_4302240816-5-
31\check_images\7079                              300.00 USD.pdf                                  33853       9/22/2022 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-14__697057_item-15_4302250238-15-
31\check_images\7079                              300.00 USD.pdf                                  36815     10/12/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-14__712353_item-5_4302259534-5-
31\check_images\7079                              300.00 USD.pdf                                  36394     11/17/2022 10:02



                                                            1146
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-14__729636_item-25_4302268892-25-
31\check_images\7079                              300.00 USD.pdf                                  35290     12/30/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-14__739580_item-5_4302278163-5-
31\check_images\7079                              300.00 USD.pdf                                  35203       1/20/2023 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-14__754156_item-13_4302287542-13-
31\check_images\7079                              300.00 USD.pdf                                  38322      2/23/2023 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-14__764751_item-2_4302296634-2-
31\check_images\7079                              300.00 USD.pdf                                  39010       3/16/2023 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-14__776964_item-6_4302305582-6-
31\check_images\7079                              300.00 USD.pdf                                  36891       4/13/2023 8:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-14__789625_item-38_4302314498-38-
31\check_images\7079                              300.00 USD.pdf                                  35095       5/11/2023 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-14__805071_item-5_4302323639-5-
31\check_images\7079                              300.00 USD.pdf                                  31852      6/15/2023 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-14__816756_item-3_4302332419-3-
31\check_images\7079                              300.00 USD.pdf                                  35699       7/12/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-14__830194_item-23_4302341214-23-
31\check_images\7079                              300.00 USD.pdf                                  42841       8/10/2023 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-14__844538_item-9_4302349899-9-
31\check_images\7079                              300.00 USD.pdf                                  35858       9/14/2023 8:08



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1149 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-14__860280_item-30_4302358558-30-
31\check_images\7079                              300.00 USD.pdf                                  36909      10/20/2023 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-14__878361_item-10_4302367354-10-
31\check_images\7079                              300.00 USD.pdf                                  68600     11/30/2023 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-14__884791_item-2_4302376017-2-
31\check_images\7079                              300.00 USD.pdf                                  35121      12/14/2023 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-14__901187_item-42_4302384507-42-
31\check_images\7079                              300.00 USD.pdf                                  36742      1/23/2024 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-14__912087_item-4_4302393311-4-
31\check_images\7079                              300.00 USD.pdf                                  37745       2/16/2024 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-14__924840_item-3_4302401812-3-
31\check_images\7079                              300.00 USD.pdf                                  37200       3/18/2024 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-14__941940_item-9_4302410109-9-
31\check_images\7079                              300.00 USD.pdf                                  47987      4/26/2024 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-14__949287_item-4_4302418760-4-
31\check_images\7079                              300.00 USD.pdf                                  37297       5/13/2024 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                             2022-09-05__681859_item-25_2265_8_24.pdf        68516       9/6/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                             2022-10-05__691869_item-2_2265_46_2.pdf         69401      9/30/2022 10:58



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                             2022-11-05__705220_item-143_2265_46_29.pdf       72294      10/31/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                             2022-12-05__718214_item-5_2265_1_5.pdf           69528      12/1/2022 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                             2023-01-05__733563_item-90_2265_9_22.pdf         70001       1/6/2023 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                             2023-02-05__743260_item-125_2265_52_10.pdf       73496       1/30/2023 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                             2023-03-05__759413_item-17_2265_5_13.pdf         73500       3/3/2023 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                             2023-04-05__770763_item-39_2265_55_3.pdf         75675       3/30/2023 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                             2023-05-05__783881_item-28_2265_2_9.pdf          68857       5/1/2023 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                             2023-06-05__800197_item-12_2265_2_12.pdf         71863       6/5/2023 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                             2023-07-05__811499_item-12_2265_49_12.pdf        70680       6/30/2023 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                             2023-08-05__824576_item-76_2265_51_11.pdf        68239      7/31/2023 10:55



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               All Paths/Locations                                 Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                             2023-09-05__840099_item-37_2265_1_37.pdf         68197       9/1/2023 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                             2023-10-05__851143_item-40_2265_45_4.pdf         74827       9/29/2023 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                             2023-11-05__864781_item-259_2265_57_28.pdf       68490     10/30/2023 10:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                             2023-12-05__878255_item-20_2265_53_10.pdf        69651     11/30/2023 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                             2024-01-05__892291_item-14_2265_1_14.pdf         67844        1/2/2024 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -    2024-02-01__905036_item-33_5267540-33-
2024-05-31\check_images\79831                     2500.00 USD.pdf                                  79136      1/31/2024 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -    2023-08-01__821730_item-15_496064-15-
2024-05-31\check_images\79924                     13003.96 USD.pdf                                 35880       7/26/2023 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -    2023-09-01__837252_item-39_498465-39-
2024-05-31\check_images\79924                     13003.96 USD.pdf                                 35234      8/29/2023 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -    2023-10-01__849008_item-21_500631-21-
2024-05-31\check_images\79924                     13003.96 USD.pdf                                 39293       9/25/2023 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -    2023-11-01__862437_item-34_502871-34-
2024-05-31\check_images\79924                     13003.96 USD.pdf                                 41812     10/27/2023 11:57



                                                            1150
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1152 of
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               All Paths/Locations                               Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__875020_item-34_505168-34-
2024-05-31\check_images\79924                   13003.96 USD.pdf                              42615     11/27/2023 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__888759_item-35_507395-35-
2024-05-31\check_images\79924                   13003.96 USD.pdf                              38179      12/26/2023 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__903172_item-4_509795-4-
2024-05-31\check_images\79924                   13003.96 USD.pdf                              33441       1/29/2024 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__915070_item-36_512084-36-
2024-05-31\check_images\79924                   13003.96 USD.pdf                              40255      2/26/2024 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__928065_item-41_514253-41-
2024-05-31\check_images\79924                   13003.96 USD.pdf                              37989      3/25/2024 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__942200_item-17_516468-17-
2024-05-31\check_images\79924                   13003.96 USD.pdf                              34186       4/29/2024 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__811739_item-12_42144580-12-
2024-05-31\check_images\79942                   25000.00 USD.pdf                              69185        7/3/2023 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-07-01__657341_10299_41490003-42-
2024-05-31\check_images\80389                   500.00 USD.pdf                                68130        7/5/2022 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-08-01__666499_41542431-24-500.00
2024-05-31\check_images\80389                   USD.pdf                                       70788       8/3/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-09-01__681689_item-9_41600649-9-
2024-05-31\check_images\80389                   500.00 USD.pdf                                71068        9/6/2022 9:19



                                                           1151
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1153 of
                                       3467



               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-10-01__694089_item-17_41653959-17-
2024-05-31\check_images\80389                   500.00 USD.pdf                                70684      10/4/2022 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-11-01__707111_item-1_41706526-1-
2024-05-31\check_images\80389                   500.00 USD.pdf                                70108      11/3/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2022-12-01__721520_item-26_41760526-26-
2024-05-31\check_images\80389                   500.00 USD.pdf                                74462      12/8/2022 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__731331_item-22_41813823-22-
2024-05-31\check_images\80389                   500.00 USD.pdf                                72304        1/4/2023 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__747202_item-12_41870336-12-
2024-05-31\check_images\80389                   500.00 USD.pdf                                67351       2/6/2023 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__759587_item-19_41923503-19-
2024-05-31\check_images\80389                   500.00 USD.pdf                                65577       3/6/2023 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__773367_item-22_41981391-22-
2024-05-31\check_images\80389                   500.00 USD.pdf                                65234       4/4/2023 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__787100_item-7_42033691-7-
2024-05-31\check_images\80389                   500.00 USD.pdf                                67222        5/5/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__800925_item-2_42091609-2-
2024-05-31\check_images\80389                   500.00 USD.pdf                                72861        6/6/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__813190_item-6_42144609-6-
2024-05-31\check_images\80389                   500.00 USD.pdf                                67469        7/5/2023 9:46



                                                           1152
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1154 of
                                       3467



               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__826443_item-1_42195814-1-
2024-05-31\check_images\80389                   500.00 USD.pdf                                74703        8/2/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__841064_item-19_42250633-19-
2024-05-31\check_images\80389                   500.00 USD.pdf                                71724        9/5/2023 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__853794_item-10_42301474-10-
2024-05-31\check_images\80389                   500.00 USD.pdf                                69044       10/4/2023 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__866417_item-15_42355916-15-
2024-05-31\check_images\80389                   500.00 USD.pdf                                73965      11/1/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__879069_item-13_42408027-13-
2024-05-31\check_images\80389                   500.00 USD.pdf                                69676       12/4/2023 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__893617_item-36_42459319-36-
2024-05-31\check_images\80389                   500.00 USD.pdf                                69804       1/3/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__906046_item-8_42516099-8-
2024-05-31\check_images\80389                   500.00 USD.pdf                                81330        2/2/2024 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__920518_item-7_42569294-7-
2024-05-31\check_images\80389                   500.00 USD.pdf                                70674       3/5/2024 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__933465_item-24_42620600-24-
2024-05-31\check_images\80389                   500.00 USD.pdf                                74149       4/3/2024 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__947576_item-13_42676195-13-
2024-05-31\check_images\80389                   500.00 USD.pdf                                73261       5/6/2024 13:21



                                                           1153
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1155 of
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               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-29__927998_item-39_5282447-39-
2024-05-31\check_images\80568                   30000.00 USD.pdf                                78709      3/25/2024 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-27__740170_item-43_4302247984-43-
2024-05-31\check_images\81374                   570.00 USD.pdf                                  95188       1/23/2023 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-27__752139_item-16_4302257549-16-
2024-05-31\check_images\81374                   570.00 USD.pdf                                  80942      2/17/2023 19:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-27__766203_item-32_4302267064-32-
2024-05-31\check_images\81374                   570.00 USD.pdf                                  83617      3/21/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-27__779669_item-12_4302276631-12-
2024-05-31\check_images\81374                   570.00 USD.pdf                                  88686       4/20/2023 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-27__793854_item-17_4302286043-17-
2024-05-31\check_images\81374                   570.00 USD.pdf                                  87418      5/22/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-27__806274_item-42_4302295476-42-
2024-05-31\check_images\81374                   570.00 USD.pdf                                  88216      6/20/2023 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31\check_images\81374                   2023-07-27__821382_570.00.pdf                   87239       7/25/2023 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-27__834387_item-23_4302314103-23-
2024-05-31\check_images\81374                   880.00 USD.pdf                                  84194      8/22/2023 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-27__848758_item-18_4302323499-18-
2024-05-31\check_images\81374                   880.00 USD.pdf                                  91154      9/25/2023 16:52



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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-27__861231_item-38_4302332692-38-
2024-05-31\check_images\81374                   880.00 USD.pdf                                  91877     10/24/2023 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-27__874351_item-35_4302341852-35-
2024-05-31\check_images\81374                   880.00 USD.pdf                                  87173     11/22/2023 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-27__887636_item-10_4302350985-10-
2024-05-31\check_images\81374                   880.00 USD.pdf                                  70179     12/21/2023 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-27__901807_item-5_4302360078-5-
2024-05-31\check_images\81374                   880.00 USD.pdf                                  66467      1/26/2024 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-27__913065_item-4_4302369165-4-
2024-05-31\check_images\81374                   880.00 USD.pdf                                  71256      2/20/2024 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-27__926625_item-36_4302378155-36-
2024-05-31\check_images\81374                   880.00 USD.pdf                                  74383      3/21/2024 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-27__940633_item-3_4302387071-3-
2024-05-31\check_images\81374                   880.00 USD.pdf                                  74855      4/23/2024 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-27__952661_item-36_4302395970-36-
2024-05-31\check_images\81374                   880.00 USD.pdf                                  67095      5/20/2024 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-13__778071_item-43_41998306-43-
2024-05-31\check_images\81394                   3200.00 USD.pdf                                 68419      4/17/2023 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-13__859421_item-7_42319713-7-
2024-05-31\check_images\81394                   3200.00 USD.pdf                                 67402     10/17/2023 12:52



                                                          1155
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1157 of
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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-13__939514_item-37_42640245-37-
2024-05-31\check_images\81394                   3200.00 USD.pdf                               76838       4/18/2024 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__824070_item-21_5217971-21-
2024-05-31\check_images\81412                   2500.00 USD.pdf                               76121      7/31/2023 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__905046_item-43_5267514-43-
2024-05-31\check_images\81412                   2500.00 USD.pdf                               68367      1/31/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__747062_item-27_3577952-27-
2024-05-31\check_images\81415                   1767.50 USD.pdf                               38043        2/6/2023 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__747063_item-27_3577952-27-
2024-05-31\check_images\81415                   1767.50 USD.pdf                               38043        2/6/2023 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__754996_item-42_3584534-42-
2024-05-31\check_images\81415                   883.75 USD.pdf                                33718      2/24/2023 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__768647_item-21_3615499-21-
2024-05-31\check_images\81415                   883.75 USD.pdf                                41264       3/27/2023 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__781361_item-29_3645345-29-
2024-05-31\check_images\81415                   883.75 USD.pdf                                34482      4/24/2023 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__795155_item-30_3674367-30-
2024-05-31\check_images\81415                   883.75 USD.pdf                                34840       5/26/2023 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__807833_item-32_3697373-32-
2024-05-31\check_images\81415                   883.75 USD.pdf                                34586      6/26/2023 11:31



                                                           1156
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1158 of
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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__822132_item-23_3719876-23-
2024-05-31\check_images\81415                   883.75 USD.pdf                                   32946      7/26/2023 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__837195_item-28_3741101-28-
2024-05-31\check_images\81415                   883.75 USD.pdf                                   34116      8/29/2023 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__848644_item-25_3757838-25-
2024-05-31\check_images\81415                   883.75 USD.pdf                                   37862       9/25/2023 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__862420_item-30_3773934-30-
2024-05-31\check_images\81415                   883.75 USD.pdf                                   44372     10/27/2023 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__875247_item-31_3787832-31-
2024-05-31\check_images\81415                   883.75 USD.pdf                                   37544     11/27/2023 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__888514_item-45_3801538-45-
2024-05-31\check_images\81415                   883.75 USD.pdf                                   37948      12/26/2023 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__904061_item-37_3815518-37-
2024-05-31\check_images\81415                   883.75 USD.pdf                                   33562      1/30/2024 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__915413_item-41_3829133-41-
2024-05-31\check_images\81415                   883.75 USD.pdf                                   33353       2/26/2024 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__928376_item-41_3836351-41-
2024-05-31\check_images\81415                   883.75 USD.pdf                                   36237      3/26/2024 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__942131_item-5_3843814-5-883.75
2024-05-31\check_images\81415                   USD.pdf                                          33774       4/29/2024 9:10



                                                           1157
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1159 of
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-01-01__733822_item-44_4491092424-44-
2024-05-31\check_images\81443                   890.18 USD.pdf                                  44020       1/6/2023 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-02-01__767933_item-1_4491117495-1-
2024-05-31\check_images\81443                   890.18 USD.pdf                                  48617       3/27/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-03-01__767936_item-2_4491117496-2-
2024-05-31\check_images\81443                   890.18 USD.pdf                                  50552       3/27/2023 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-04-01__772792_item-33_4491119782-33-
2024-05-31\check_images\81443                   890.18 USD.pdf                                  41836       4/3/2023 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-05-01__804359_item-21_3780056681-21-
2024-05-31\check_images\81443                   890.18 USD.pdf                                  94266       6/14/2023 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-06-01__811177_item-17_4491148635-17-
2024-05-31\check_images\81443                   890.18 USD.pdf                                  41157      6/30/2023 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-07-01__813691_item-27_4491146937-27-
2024-05-31\check_images\81443                   890.18 USD.pdf                                  41601       7/5/2023 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-08-01__827875_item-43_4491157004-43-
2024-05-31\check_images\81443                   890.18 USD.pdf                                  47897       8/4/2023 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-09-01__841365_item-6_4491166328-6-
2024-05-31\check_images\81443                   890.18 USD.pdf                                  40009       9/6/2023 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-01__854867_item-6_4491175165-6-
2024-05-31\check_images\81443                   890.18 USD.pdf                                  46301      10/6/2023 10:58



                                                          1158
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1160 of
                                       3467



               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-01__957746_item-24_4491249286-24-
2024-05-31\check_images\81443                   890.18 USD.pdf                                  38269      5/30/2024 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-01__880572_item-7_4491193338-7-
2024-05-31\check_images\81443                   890.18 USD.pdf                                  45709      12/5/2023 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-01__894524_item-26_4491202974-26-
2024-05-31\check_images\81443                   890.18 USD.pdf                                  41990       1/5/2024 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-01__905126_item-19_4491212713-19-
2024-05-31\check_images\81443                   890.18 USD.pdf                                  72346        2/1/2024 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-01__919695_item-6_4491221525-6-
2024-05-31\check_images\81443                   890.18 USD.pdf                                  39306        3/4/2024 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-01__932912_item-33_4491230649-33-
2024-05-31\check_images\81443                   890.18 USD.pdf                                  46536        4/3/2024 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-01__945731_item-40_4491239506-40-
2024-05-31\check_images\81443                   890.18 USD.pdf                                  39267       5/1/2024 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-10-10__857628_item-5_11058072-5-
2024-05-31\check_images\81468                   565.66 USD.pdf                                 168276     10/13/2023 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-11-10__870782_item-5_11064001-5-
2024-05-31\check_images\81468                   565.66 USD.pdf                                 155342      11/14/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2023-12-10__883674_item-43_11070994-43-
2024-05-31\check_images\81468                   565.66 USD.pdf                                 179632     12/12/2023 12:33



                                                          1159
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1161 of
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               All Paths/Locations                               Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-01-10__897129_item-44_11080185-44-
2024-05-31\check_images\81468                   565.66 USD.pdf                               152156       1/12/2024 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-02-10__910812_item-7_11086353-7-
2024-05-31\check_images\81468                   565.66 USD.pdf                               156942       2/13/2024 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-03-10__924067_item-22_11092394-22-
2024-05-31\check_images\81468                   565.66 USD.pdf                               151677        3/14/2024 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-04-10__937069_item-28_11098663-28-
2024-05-31\check_images\81468                   565.66 USD.pdf                                81948       4/15/2024 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -  2024-05-10__949518_item-11_11104306-11-
2024-05-31\check_images\81468                   565.66 USD.pdf                               152858       5/13/2024 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31                                      Deal ID List.csv                              10897       6/13/2024 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31                                      job_details.txt                                  238      6/13/2024 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31                                      Payment Streams.csv                          109097       6/13/2024 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\Dorchester II 2021-01-
01 - 2024-05-31.zip\Dorchester II 2021-01-01 -
2024-05-31                                      Payments Received.csv                        374899       6/13/2024 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18368                           2021-03-15__444300_2265_19_6.pdf              99847         3/8/2021 9:10



                                                           1160
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                                       3467



               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18368                          2022-03-15__596572_2265_17_14.pdf               70666       3/9/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18368                          2023-03-15__760934_item-1_2265_17_1.pdf         71819       3/7/2023 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18368                          2024-03-15__923094_item-13_2265_24_13.pdf       71495      3/12/2024 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2021-01-03__414644_2265_39_20.pdf               87583     12/27/2020 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2021-02-03__428280_2265_44_34.pdf               94997       1/28/2021 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2021-03-03__439014_2265_46_15.pdf               91246       2/24/2021 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2021-04-03__450846_2265_47_32.pdf               86423       3/26/2021 6:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2021-05-03__463697_2265_42_24.pdf               95861      4/27/2021 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2021-06-03__475776_2265_46_28.pdf               92816       5/28/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2021-07-03__486292_2265_47_13.pdf               91079       6/25/2021 6:43



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               All Paths/Locations                             Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2021-08-03__500357_2265_54_3.pdf        79596       7/30/2021 5:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2021-09-03__514617_2265_47_44.pdf       90599       8/30/2021 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2021-10-03__527257_2265_36_41.pdf       72286       9/27/2021 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2021-11-03__539862_2265_41_12.pdf       72480      10/27/2021 6:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2021-12-03__553722_2265_52_16.pdf       70384      11/29/2021 6:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2022-01-03__566815_2265_50_43.pdf       72882     12/29/2021 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2022-02-03__580507_2265_54_35.pdf       72078      1/31/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2022-03-03__589621_2265_39_33.pdf       70580      2/23/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2022-04-03__606511_2265_39_10.pdf       71722      3/28/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2022-05-03__622380_2265_42_8.pdf        70234      4/26/2022 16:58



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               All Paths/Locations                             Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2022-06-03__635385_2265_44_5.pdf                 70967      5/26/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2022-07-03__650038_2265_46_17.pdf                70470       6/27/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2022-08-03__663210_2265_47_1.pdf                 70439      7/27/2022 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2022-09-03__679459_2265_56_21.pdf                71179        9/1/2022 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2022-10-03__691110_item-89_2265_42_41.pdf        71163      9/28/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2022-11-03__705476_item-78_2265_44_1.pdf         69675      10/31/2022 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2022-12-03__717304_item-117_2265_40_20.pdf       70840     11/28/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2023-01-03__729154_item-111_2265_44_18.pdf       70651     12/29/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2023-02-03__745226_item-60_2265_2_19.pdf         70939       2/1/2023 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2023-03-03__757791_item-233_2265_54_8.pdf        69987      2/27/2023 10:48



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                                       3467



               All Paths/Locations                             Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2023-04-03__778914_item-133_2265_29_11.pdf       79155      4/17/2023 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2023-05-03__783450_item-3_2265_1_3.pdf           70718       5/1/2023 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2023-06-03__799608_item-171_2265_54_21.pdf       69960       6/1/2023 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2023-07-03__810833_item-10_2265_48_10.pdf        70489      6/29/2023 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2023-08-03__827314_item-31_2265_6_31.pdf         69271       8/2/2023 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2023-09-03__836797_item-122_2265_46_8.pdf        77827       8/28/2023 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2023-10-03__849947_item-77_2265_41_9.pdf         71416      9/27/2023 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2023-11-03__865658_item-49_2265_60_49.pdf        81885     10/31/2023 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2023-12-03__876243_item-174_2265_44_11.pdf       76962     11/28/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2024-01-03__890276_item-17_2265_49_17.pdf        83521     12/28/2023 13:57



                                                          1164
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1166 of
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               All Paths/Locations                             Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2024-02-03__902331_item-153_2265_53_5.pdf        70617       1/29/2024 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2024-03-03__916312_item-217_2265_41_37.pdf       69916       2/26/2024 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2024-04-03__929578_item-36_2265_52_16.pdf        71891       3/28/2024 8:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                          2024-05-03__942095_item-42_2265_52_6.pdf         71079       4/29/2024 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2021-02-01__428674_2265_47_32.pdf                97881      1/29/2021 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2021-03-01__439861_2265_51_18.pdf               108408       2/26/2021 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2021-04-01__453254_2265_66_5.pdf                117926       3/30/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2021-05-01__462026_2265_39_9.pdf                 95215       4/26/2021 4:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2021-07-01__486875_2265_51_19.pdf               105814       6/25/2021 6:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2021-08-01__499850_2265_50_39.pdf                68167       7/28/2021 6:07



                                                          1165
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1167 of
                                       3467



               All Paths/Locations                             Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2021-09-01__515150_2265_51_10.pdf       67854       8/30/2021 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2021-10-01__530702_2265_50_36.pdf       65684       9/30/2021 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2021-11-01__542738_2265_2_6.pdf         64662       11/1/2021 6:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2021-12-01__555039_2265_56_5.pdf        64334      11/29/2021 6:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2022-01-01__565978_2265_47_36.pdf       66394     12/29/2021 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2022-02-01__579925_2265_48_8.pdf        73019      1/28/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2022-03-01__593330_2265_4_10.pdf        74063       3/2/2022 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2022-04-01__610022_2265_49_9.pdf       129215      3/31/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2022-05-01__623662_2265_46_15.pdf       93815      4/28/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2022-06-01__637754_2265_50_1.pdf       125081      5/31/2022 11:16



                                                          1166
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               All Paths/Locations                             Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2022-07-01__648470_2265_42_26.pdf                82001      6/24/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2022-08-01__664118_2265_51_38.pdf                65741       7/29/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2022-09-01__675360_2265_46_37.pdf                70620       8/26/2022 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2022-10-01__689835_item-137_2265_38_42.pdf      109765      9/26/2022 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2022-11-01__703459_item-48_2265_41_16.pdf        90058     10/28/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2022-12-01__716736_item-64_2265_38_28.pdf        64792     11/28/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2023-01-01__733865_item-80_2265_11_35.pdf        67078       1/6/2023 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2023-02-01__742605_item-41_2265_48_16.pdf        66216       1/30/2023 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2023-03-01__757517_item-196_2265_51_19.pdf       72346      2/27/2023 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2023-04-01__768446_item-32_2265_43_2.pdf         67484      3/27/2023 11:14



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               All Paths/Locations                             Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2023-05-01__782795_item-23_2265_43_10.pdf        67217       4/27/2023 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2023-06-01__795346_item-77_2265_44_41.pdf        67375      5/26/2023 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2023-07-01__809626_item-74_2265_39_4.pdf         98761      6/26/2023 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2023-08-01__822617_item-19_2265_44_10.pdf        89523       7/27/2023 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2023-09-01__836930_item-187_2265_48_23.pdf       68685       8/28/2023 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2023-10-01__849952_item-78_2265_41_10.pdf        73057      9/27/2023 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2023-11-01__864056_item-212_2265_56_6.pdf        67250     10/30/2023 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2023-12-01__876011_item-72_2265_41_10.pdf        71577      11/28/2023 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2024-01-01__889131_item-118_2265_44_13.pdf       71613     12/26/2023 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2024-02-01__903015_item-73_2265_51_5.pdf         67991       1/29/2024 8:14



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1170 of
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               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2024-03-01__915354_item-37_2265_34_37.pdf       71501       2/26/2024 8:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2024-04-01__929948_item-21_2265_54_21.pdf       79416      3/29/2024 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                          2024-05-01__945723_item-82_2265_3_13.pdf        76424       5/1/2024 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2021-01-01__418502_2558_1_9.pdf                 92856       1/4/2021 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2021-02-01__430147_2558_3_5.pdf                100511       2/2/2021 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2021-03-01__442843_2558_1_11.pdf                96201       3/2/2021 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2021-04-01__454648_2558_16_1.pdf                96340       4/1/2021 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2021-05-01__466924_2558_17_2.pdf                93642       5/4/2021 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2021-06-01__478599_2558_1_8.pdf                 97978       6/2/2021 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2021-07-01__496640_2558_7_2.pdf                 97292      7/21/2021 10:02



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               All Paths/Locations                             Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2021-08-01__502790_2558_1_6.pdf        96518       8/3/2021 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2021-09-01__518551_2558_9_9.pdf        93466        9/2/2021 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2021-10-01__533879_2558_1_9.pdf        99387      10/6/2021 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2021-11-01__544248_2558_2_1.pdf        97817      11/3/2021 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2021-12-01__556800_2558_1_1.pdf        86330      12/2/2021 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2022-01-01__569337_2558_1_7.pdf        86157       1/4/2022 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2022-02-01__582117_2558_1_8.pdf        85029       2/3/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2022-03-01__593518_2558_1_13.pdf      125033       3/2/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2022-04-01__610809_2558_1_8.pdf       101038       4/1/2022 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2022-05-01__627051_2558_2_8.pdf       117198       5/5/2022 10:03



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               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2022-06-01__639207_2558_1_8.pdf                104934       6/2/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2022-07-01__654178_2558_1_7.pdf                 81200       7/6/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2022-08-01__667073_2558_2_8.pdf                 99069       8/3/2022 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2022-09-01__679365_2558_11_6.pdf                83242       9/1/2022 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2022-10-01__694233_item-9_2558_1_9.pdf          99026      10/4/2022 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2022-11-01__707032_item-14_2558_12_7.pdf        84326      11/3/2022 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2022-12-01__723553_item-8_2558_3_8.pdf          97854      12/14/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2023-01-01__733434_item-9_2558_3_9.pdf         102675       1/6/2023 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2023-02-01__746058_item-12_2558_11_12.pdf       93933       2/2/2023 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2023-03-01__759375_item-1_2558_1_1.pdf          96895       3/2/2023 18:06



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               All Paths/Locations                             Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2023-04-01__773666_item-8_2558_1_8.pdf        81986       4/4/2023 18:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2023-05-01__787172_item-1_2558_3_1.pdf       100632        5/4/2023 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2023-06-01__800771_item-1_2558_1_1.pdf        95650       6/2/2023 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2023-07-01__814315_item-8_2558_1_8.pdf        98320       7/5/2023 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2023-08-01__830368_item-8_2558_4_8.pdf        93937      8/10/2023 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2023-09-01__841973_item-8_2558_1_8.pdf        82090       9/6/2023 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2023-10-01__854678_item-1_2558_3_1.pdf        92353      10/5/2023 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2023-11-01__868620_item-9_2558_2_9.pdf        89313       11/8/2023 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2023-12-01__913710_3740395064.pdf            156450      2/21/2024 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2024-01-01__920844_item-13_2558_3_7.pdf       95122        3/6/2024 9:31



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                                       3467



               All Paths/Locations                             Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2024-02-01__944774_item-14_2558_12_8.pdf       83566        5/1/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2024-03-01__923373_item-9_2558_2_7.pdf         88519      3/12/2024 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                          2024-04-01__933336_item-13_2558_3_9.pdf       101553       4/3/2024 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2021-01-18__425681_2265_35_42.pdf             109371       1/21/2021 5:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2021-02-18__436158_2265_28_8.pdf               89354       2/16/2021 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2021-03-18__446998_2265_30_12.pdf             147566       3/15/2021 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2021-04-18__459832_2265_28_5.pdf              138652       4/15/2021 5:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2021-05-18__470795_2265_26_29.pdf             124378       5/14/2021 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2021-08-18__510229_2265_29_1.pdf               69517       8/16/2021 3:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2021-09-18__522738_2265_20_27.pdf              67104       9/15/2021 8:25



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               All Paths/Locations                             Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2021-10-18__537211_2265_27_20.pdf       73035      10/18/2021 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2021-11-18__548947_2265_31_46.pdf       72614      11/15/2021 6:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2021-12-18__562572_2265_28_32.pdf       84099     12/16/2021 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2022-01-18__575529_2265_34_31.pdf       66049      1/18/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2022-02-18__588056_2265_29_16.pdf       83535      2/16/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2022-03-18__601703_2265_28_24.pdf       67169      3/16/2022 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2022-04-18__618916_2265_26_14.pdf       83180      4/18/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2022-05-18__632481_2265_31_35.pdf       74844      5/18/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2022-06-18__645626_2265_28_15.pdf       67272      6/15/2022 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2022-07-18__659555_2265_33_44.pdf       76833       7/18/2022 9:24



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               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2022-08-18__671942_2265_30_4.pdf                67481      8/15/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2022-09-18__685782_item-16_2265_21_16.pdf       67793      9/16/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2022-10-18__699916_item-80_2265_30_30.pdf       73262      10/19/2022 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2022-11-18__711704_item-46_2265_21_1.pdf        77703     11/16/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2022-12-18__725015_item-8_2265_28_8.pdf         68729     12/16/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2023-01-18__739430_item-14_2265_35_14.pdf       66998      1/19/2023 12:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2023-02-18__750903_item-25_2265_26_17.pdf       71572      2/14/2023 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2023-03-18__764518_item-51_2265_29_38.pdf       76963      3/15/2023 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2023-04-18__778365_item-63_2265_26_16.pdf       75570      4/17/2023 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2023-05-18__792570_item-20_2265_31_15.pdf       79552      5/16/2023 16:59



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               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2023-06-18__806818_item-38_2265_28_38.pdf       69051       6/21/2023 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2023-07-18__818577_item-13_2265_32_13.pdf       78357      7/17/2023 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2023-08-18__833152_item-39_2265_31_39.pdf       76280      8/16/2023 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2023-09-18__846064_item-41_2265_26_26.pdf       67489       9/18/2023 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2023-10-18__859429_item-12_2265_35_12.pdf       68522     10/17/2023 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2023-11-18__871261_item-21_2265_26_21.pdf       68874     11/14/2023 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2023-12-18__885871_item-57_2265_30_21.pdf       68773     12/18/2023 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2024-01-18__899010_item-2_2265_38_2.pdf         74758      1/17/2024 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2024-02-18__912170_item-44_2265_27_25.pdf       75005      2/16/2024 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2024-03-18__925768_item-41_2265_35_16.pdf       69050       3/19/2024 9:10



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               All Paths/Locations                             Unified Title                File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2024-04-18__938112_item-199_2265_37_29.pdf       66949        4/15/2024 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\44380                          2024-05-18__952261_item-17_2265_30_17.pdf        67311        5/17/2024 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\52904                          2023-10-20__891150_BOI 1-2-2024.pdf                8837       1/2/2024 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\52933                          2021-10-20__578790_Doubles 1.25.2022.pdf         90731       1/25/2022 20:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\52933                          2022-10-20__952193_BOI 5-2-2024.pdf              48067       5/16/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                          2022-10-12__716434_Vida 11-29-2022.pdf           95226      11/29/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                          2022-11-12__732683_Vida 1-5-2023.pdf            105180        1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                          2022-12-12__741414_Vida 1-25-2023.pdf            85854       1/25/2023 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                          2023-01-12__767343_Vida - 3.24.2023.pdf         103788       3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                          2023-02-12__780148_Vida 4-21-2023.pdf            94535       4/21/2023 16:11



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1179 of
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               All Paths/Locations                             Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                          2023-03-12__822723_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                          2023-04-12__805354_Vida 6-15-2023.pdf         77678      6/15/2023 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                          2023-05-12__823042_Vida 7-27-2023.pdf        138197      7/27/2023 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                          2023-06-12__836469_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                          2023-07-12__850490_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                          2023-08-12__872585_Vida 11-16-2023.pdf        72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                          2023-09-12__886793_Vida 12-19-2023.pdf       104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                          2023-10-12__897347_Vida 1-16-2024.pdf         72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                          2023-11-12__913599_Vida 2-21-2024.pdf         70776       2/21/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                          2023-12-12__924787_Vida 3-15-2024.pdf         61110      3/15/2024 14:09



                                                            1178
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1180 of
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               All Paths/Locations                             Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                          2024-01-12__938505_Vida 4-16-2024.pdf          56528      4/16/2024 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                          2024-02-12__956143_Vida 5-29-2024.pdf          64069       5/29/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\56580                          2024-03-12__963027_Vida 6-13-2024.pdf          74462      6/13/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\5981                           2022-04-23__620519_2265_36_13.pdf              67868      4/22/2022 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2021-11-01__554644_vida - 11.29.2021.pdf       78515     11/29/2021 22:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2021-12-01__563339_Vida 12-20-2021.pdf         89997     12/20/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2022-01-01__579037_Vida 1.26.2022.pdf         109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2022-02-01__589201_Vida 2-23-2022.pdf          88611      2/23/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2022-03-01__607476_Vida 3-29-2022.pdf         100935      3/29/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2022-04-01__647745_Vida 6-23-2022.pdf         141689      6/23/2022 13:29



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               All Paths/Locations                             Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2022-05-01__648090_Vida 6-23-2022.pdf        141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2022-06-01__661041_Vida 7-25-2022.pdf         99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2022-07-01__676052_Vida 8-29-2022.pdf        126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2022-08-01__676972_Vida 8-29-2022.pdf        126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2022-09-01__703291_Vida 10-28-2022.pdf        71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2022-10-01__703622_Vida 10-28-2022.pdf        71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2022-11-01__732626_Vida 1-5-2023.pdf         105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2022-12-01__741385_Vida 1-25-2023.pdf         85854      1/25/2023 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2023-01-01__767299_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2023-02-01__780106_Vida 4-21-2023.pdf         94535      4/21/2023 16:11



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               All Paths/Locations                             Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2023-03-01__791131_Vida 5-15-2023.pdf         90684      5/15/2023 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2023-04-01__805253_Vida 6-15-2023.pdf         77678      6/15/2023 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2023-06-01__836395_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2023-07-01__850418_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2023-08-01__865576_Vida 10-31-2023.pdf        77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2023-09-01__872828_Vida 11-16-2023.pdf        72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2023-10-01__897212_Vida 1-16-2024.pdf         72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2023-11-01__902796_Vida 1-29-2024.pdf         49667      1/29/2024 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2023-12-01__924699_Vida 3-15-2024.pdf         61110      3/15/2024 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2024-01-01__938333_Vida 4-16-2024.pdf         56528      4/16/2024 14:18



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               All Paths/Locations                             Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2024-02-01__948489_Vida 5-7-2024.pdf          93508        5/8/2024 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64343                          2024-03-01__962950_Vida 6-13-2024.pdf         74462      6/13/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                          2023-01-01__767305_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                          2023-02-01__780111_Vida 4-21-2023.pdf         94535      4/21/2023 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                          2023-03-01__791143_Vida 5-15-2023.pdf         90684      5/15/2023 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                          2023-04-01__805260_Vida 6-15-2023.pdf         77678      6/15/2023 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                          2023-06-01__836404_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                          2023-07-01__850426_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                          2023-08-01__865587_Vida 10-31-2023.pdf        77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                          2023-09-01__886709_Vida 12-19-2023.pdf       104880     12/19/2023 13:01



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               All Paths/Locations                             Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                          2023-10-01__897223_Vida 1-16-2024.pdf           72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                          2023-11-01__902813_Vida 1-29-2024.pdf           49667      1/29/2024 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                          2023-12-01__924714_Vida 3-15-2024.pdf           61110      3/15/2024 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                          2024-01-01__938353_Vida 4-16-2024.pdf           56528      4/16/2024 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                          2024-02-01__956005_Vida 5-29-2024.pdf           64069       5/29/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64891                          2024-03-01__962958_Vida 6-13-2024.pdf           74462      6/13/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2021-10-30__541006_Vida p2 10-28-2021.pdf       66982     10/28/2021 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2021-11-30__563315_Vida 12-20-2021.pdf          89997     12/20/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2021-12-30__579011_Vida 1.26.2022.pdf          109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2022-01-30__589174_Vida 2-23-2022.pdf           88611      2/23/2022 11:36



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               All Paths/Locations                             Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2022-02-28__607410_Vida 3-29-2022.pdf       100935      3/29/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2022-03-30__620000_Vida 4-21-2022.pdf        86859      4/21/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2022-04-30__647756_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2022-05-30__648290_Vida 6-23-2022.pdf       141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2022-06-30__661258_Vida 7-25-2022.pdf        99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2022-07-30__676265_Vida 8-29-2022.pdf       126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2022-08-30__690546_Vida 9-28-2022.pdf        71423      9/28/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2022-09-30__703455_Vida 10-28-2022.pdf       71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2022-10-30__732510_Vida 1-5-2023.pdf        105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2022-11-30__741340_Vida 1-25-2023.pdf        85854      1/25/2023 15:23



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1186 of
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               All Paths/Locations                             Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2022-12-30__753058_Vida 2.21.2023.pdf         75171      2/21/2023 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2023-01-30__767432_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2023-02-28__791011_Vida 5-15-2023.pdf         90684      5/15/2023 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2023-03-30__798120_Vida 5-31-2023.pdf         94469      5/31/2023 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2023-05-30__836156_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2023-06-30__850326_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2023-07-30__865334_Vida 10-31-2023.pdf        77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2023-08-30__872749_Vida 11-16-2023.pdf        72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2023-09-30__886993_Vida 12-19-2023.pdf       104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2023-10-30__897694_Vida 1-16-2024.pdf         72527       1/16/2024 9:19



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               All Paths/Locations                             Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2023-11-30__913890_Vida 2-21-2024.pdf        70776       2/21/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2023-12-30__932345_Vida - 4-2-2024.pdf       72367       4/2/2024 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2024-01-30__948364_Vida 5-7-2024.pdf         93508        5/8/2024 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64924                          2024-02-29__962857_Vida 6-13-2024.pdf        74462      6/13/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2021-11-23__563288_Vida 12-20-2021.pdf       89997     12/20/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2021-12-23__578981_Vida 1.26.2022.pdf       109457      1/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2022-01-23__589151_Vida 2-23-2022.pdf        88611      2/23/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2022-02-23__607343_Vida 3-29-2022.pdf       100935      3/29/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2022-03-23__619978_Vida 4-21-2022.pdf        86859      4/21/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2022-04-23__647753_Vida 6-23-2022.pdf       141689      6/23/2022 13:29



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               All Paths/Locations                             Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2022-05-23__648248_Vida 6-23-2022.pdf        141689      6/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2022-06-23__661196_Vida 7-25-2022.pdf         99843      7/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2022-07-23__676222_Vida 8-29-2022.pdf        126327      8/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2022-08-23__690510_Vida 9-28-2022.pdf         71423      9/28/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2022-09-23__703426_Vida 10-28-2022.pdf        71424     10/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2022-10-23__716562_Vida 11-29-2022.pdf        95226     11/29/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2022-11-23__732814_Vida 1-5-2023.pdf         105180       1/5/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2022-12-23__753000_Vida 2.21.2023.pdf         75171      2/21/2023 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2023-01-23__767411_Vida - 3.24.2023.pdf      103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2023-02-23__790945_Vida 5-15-2023.pdf         90684      5/15/2023 17:58



                                                            1187
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1189 of
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               All Paths/Locations                             Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2023-03-23__798019_Vida 5-31-2023.pdf         94469      5/31/2023 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2023-05-23__836002_Vida 8-28-2023.pdf        126993      8/28/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2023-06-23__850280_Vida - 9-27-2023.pdf      117596      9/27/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2023-07-23__865137_Vida 10-31-2023.pdf        77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2023-08-23__872702_Vida 11-16-2023.pdf        72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2023-09-23__886911_Vida 12-19-2023.pdf       104880     12/19/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2023-10-23__897584_Vida 1-16-2024.pdf         72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2023-11-23__913809_Vida 2-21-2024.pdf         70776       2/21/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2023-12-23__932287_Vida - 4-2-2024.pdf        72367       4/2/2024 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2024-01-23__948280_Vida 5-7-2024.pdf          93508        5/8/2024 9:58



                                                            1188
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               All Paths/Locations                             Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\64968                          2024-02-23__956358_Vida 5-29-2024.pdf            64069       5/29/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65047                          2023-11-04__913478_Vida 2-21-2024.pdf            70776       2/21/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65047                          2023-12-04__924740_Vida 3-15-2024.pdf            61110      3/15/2024 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65047                          2024-01-04__938414_Vida 4-16-2024.pdf            56528      4/16/2024 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65047                          2024-02-04__956046_Vida 5-29-2024.pdf            64069       5/29/2024 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\65047                          2024-03-04__962979_Vida 6-13-2024.pdf            74462      6/13/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\66004                          2024-04-28__942413_GoldStar 04292024.pdf        153010      4/29/2024 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                          2022-09-05__681859_item-25_2265_8_24.pdf         68516       9/6/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                          2022-10-05__691869_item-2_2265_46_2.pdf          69401      9/30/2022 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                          2022-11-05__705220_item-143_2265_46_29.pdf       72294      10/31/2022 9:43



                                                          1189
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1191 of
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               All Paths/Locations                             Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                          2022-12-05__718214_item-5_2265_1_5.pdf           69528      12/1/2022 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                          2023-01-05__733563_item-90_2265_9_22.pdf         70001       1/6/2023 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                          2023-02-05__743260_item-125_2265_52_10.pdf       73496       1/30/2023 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                          2023-03-05__759413_item-17_2265_5_13.pdf         73500       3/3/2023 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                          2023-04-05__770763_item-39_2265_55_3.pdf         75675       3/30/2023 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                          2023-05-05__783881_item-28_2265_2_9.pdf          68857       5/1/2023 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                          2023-06-05__800197_item-12_2265_2_12.pdf         71863       6/5/2023 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                          2023-07-05__811499_item-12_2265_49_12.pdf        70680       6/30/2023 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                          2023-08-05__824576_item-76_2265_51_11.pdf        68239      7/31/2023 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                          2023-09-05__840099_item-37_2265_1_37.pdf         68197       9/1/2023 10:28



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1192 of
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               All Paths/Locations                             Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                          2023-10-05__851143_item-40_2265_45_4.pdf         74827       9/29/2023 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                          2023-11-05__864781_item-259_2265_57_28.pdf       68490     10/30/2023 10:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                          2023-12-05__878255_item-20_2265_53_10.pdf        69651     11/30/2023 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                          2024-01-05__892291_item-14_2265_1_14.pdf         67844        1/2/2024 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                          2024-02-05__905614_item-28_2265_2_13.pdf         69581       2/1/2024 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                          2024-03-05__919278_item-36_2265_2_36.pdf         68168        3/4/2024 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                          2024-04-05__931523_item-82_2265_5_22.pdf         67868       4/1/2024 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\70893                          2024-05-05__947166_item-92_2265_12_20.pdf        69741        5/6/2024 8:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2022-04-02__610474_2265_2_2.pdf                  80019       4/1/2022 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2022-05-02__622372_2265_38_3.pdf                 76901      4/25/2022 12:52



                                                          1191
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1193 of
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               All Paths/Locations                             Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2022-06-02__635093_2265_43_31.pdf                72012      5/25/2022 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2022-07-02__650033_2265_46_18.pdf                70029       6/27/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2022-08-02__663425_2265_48_2.pdf                 80169      7/28/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2022-09-02__679457_2265_56_20.pdf                72383        9/1/2022 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2022-10-02__690295_item-177_2265_39_32.pdf       70584      9/26/2022 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2022-11-02__705227_item-141_2265_46_27.pdf       71287      10/31/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2022-12-02__717308_item-118_2265_40_21.pdf       71185     11/28/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2023-01-02__729024_item-61_2265_40_2.pdf         70515      12/29/2022 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2023-02-02__742224_item-46_2265_46_31.pdf        77746       1/27/2023 8:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2023-03-02__754457_item-4_2265_39_4.pdf          70466      2/23/2023 14:16



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1194 of
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               All Paths/Locations                             Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2023-04-02__769716_item-215_2265_49_31.pdf       69662      3/27/2023 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2023-05-02__782953_item-5_2265_42_5.pdf          70231       4/27/2023 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2023-06-02__799609_item-172_2265_54_22.pdf       70494       6/1/2023 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2023-07-02__810269_item-36_2265_47_20.pdf        71835      6/28/2023 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2023-08-02__826589_item-134_2265_4_7.pdf         70649       8/2/2023 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2023-09-02__836351_item-124_2265_46_10.pdf       69223       8/28/2023 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2023-10-02__849378_item-102_2265_39_33.pdf       79649      9/26/2023 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2023-11-02__866495_item-108_2265_3_8.pdf         71242      11/1/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2023-12-02__875051_item-209_2265_45_1.pdf        77003     11/27/2023 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2024-01-02__890347_item-36_2265_49_36.pdf        81866     12/28/2023 14:46



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               All Paths/Locations                             Unified Title                File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2024-02-02__902327_item-152_2265_53_4.pdf        70133        1/29/2024 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2024-03-02__916236_item-195_2265_41_15.pdf       77028        2/26/2024 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2024-04-02__928855_item-5_2265_50_5.pdf          85147        3/27/2024 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78867                          2024-05-02__943560_item-105_2265_54_11.pdf       70608        4/29/2024 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\78891                          2023-08-15__833809_5000002035 7600.00.pdf       437129       8/21/2023 13:00

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-31 Deal ID List.csv                                22788       10/9/2024 17:41

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-31 job_details.txt                                    235      10/9/2024 17:19

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-31 Payment Streams.csv                            249535       10/9/2024 20:10

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31\SPLCSS III 2021-01-01 - 2024-05-31 Payments Received.csv                          821661       10/9/2024 21:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-01__416412_DRB Check Booking
31\check_images\10735                             Template Updated 12-30-2020.pdf              108050      12/30/2020 11:38



                                                                   1194
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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-01__430941_DRB Check Booking
31\check_images\10735                             Template Updated 02-03-2021.pdf           142692       2/3/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-01__443062_DRB Check Booking
31\check_images\10735                             Template Updated 03-03-2021.pdf           127737       3/3/2021 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-01__454284_DRB Check Booking
31\check_images\10735                             Template Updated 03-31-2021.pdf           122275      3/31/2021 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-01__467884_DRB Check Booking
31\check_images\10735                             Template Updated 05-05-2021.pdf           160734       5/5/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-01__478359_DRB Check Booking
31\check_images\10735                             Template Updated 06-02-2021.pdf           123020       6/2/2021 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-01__489800_DRB Check Booking
31\check_images\10735                             Template Updated 06-30-2021.pdf           121086      6/30/2021 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-01__499741_DRB Check Booking
31\check_images\10735                             Template Updated 07-28-2021.pdf           123180      7/28/2021 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-01__517936_DRB Check Booking
31\check_images\10735                             Template Updated 09-01-2021.pdf           193077       9/1/2021 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-01__533943_DRB Check Booking
31\check_images\10735                             Template Updated 10-06-2021.pdf           238482      10/6/2021 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-01__544902_DRB Check Booking
31\check_images\10735                             Template Updated 11-03-2021.pdf           211151      11/3/2021 12:25



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-01__556643_DRB Check Booking
31\check_images\10735                             Template Updated 12-01-2021.pdf           218425      12/1/2021 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-01__570256_DRB Check Booking
31\check_images\10735                             Template Updated 01-05-2022.pdf           193092       1/5/2022 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-01__581961_DRB Check Booking
31\check_images\10735                             Template Updated 02-02-2022.pdf           178470       2/2/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-01__593190_DRB Check Booking
31\check_images\10735                             Template Updated 03-02-2022.pdf           179961       3/2/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-01__619660_DRB Check Booking
31\check_images\10735                             Template Updated 04-20-2022.pdf           180879      4/20/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__623035_DRB Check Booking
31\check_images\10735                             Template Updated 04-27-2022.pdf           164287      4/27/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__638650_DRB Check Booking
31\check_images\10735                             Template Updated 6-01-2022.pdf            193601       6/1/2022 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__654896_DRB Check Booking
31\check_images\10735                             Template Updated 7-06-2022.pdf            233409       7/6/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__666864_DRB Check Booking
31\check_images\10735                             Template Updated 8-3-2022.pdf             197412       8/3/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__679167_DRB Check Booking
31\check_images\10735                             Template Updated 8-31-2022.pdf            192588      8/31/2022 13:57



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__694974_DRB Check Booking
31\check_images\10735                             Template Updated 10-05-2022.pdf           201947      10/5/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__706639_DRB Check Booking
31\check_images\10735                             Template Updated 11-02-2022.pdf           190649      11/2/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__717628_DRB Check Booking
31\check_images\10735                             Template Updated 11-30-2022.pdf           151904     11/30/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__728831_DRB Check Booking
31\check_images\10735                             Template Updated 12-28-2022.pdf           148321     12/28/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__745518_DRB Check Booking
31\check_images\10735                             Template Updated 2-1-2023.pdf             182292       2/1/2023 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__758249_DRB Check Booking
31\check_images\10735                             Template Updated 3-1-2023.pdf             195871       3/1/2023 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__774396_DRB Check Booking
31\check_images\10735                             Template Updated 4-5-2023.pdf             225330       4/5/2023 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__794591_DRB Check Booking
31\check_images\10735                             Template Updated 5-24-2023.pdf            181428      5/24/2023 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__797837_DRB Check Booking
31\check_images\10735                             Template Updated 5-31-2023.pdf            153983      5/31/2023 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__814294_DRB Check Booking
31\check_images\10735                             Template Updated 7-5-2023.pdf             230892       7/5/2023 12:39



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__829910_DRB Check Booking
31\check_images\10735                             Template Updated 8-9-2023.pdf             212058       8/9/2023 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__838757_DRB Check Booking
31\check_images\10735                             Template Updated 8-30-2023.pdf            145984      8/30/2023 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__854360_DRB Check Booking
31\check_images\10735                             Template Updated 10-04-2023.pdf           202783      10/4/2023 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__866302_DRB Check Booking
31\check_images\10735                             Template Updated 11-01-2023.pdf           154320      11/1/2023 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__881856_DRB Check Booking
31\check_images\10735                             Template Updated 12-06-2023.pdf           193382      12/6/2023 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__889598_DRB Check Booking
31\check_images\10735                             Template Updated 12-27-2023.pdf           153014     12/27/2023 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__904667_DRB Check Booking
31\check_images\10735                             Template Updated 1-31-2024.pdf            151342      1/31/2024 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__917797_DRB Check Booking
31\check_images\10735                             Template Updated 2-28-2024.pdf            156962      2/28/2024 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__933629_DRB Check Booking
31\check_images\10735                             Template Updated 4-03-2024.pdf            204241       4/3/2024 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__945618_DRB Check Booking
31\check_images\10735                             Template Updated 5-01-2024.pdf            196497       5/1/2024 12:21



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-07__422972_DRB Check Booking
31\check_images\10983                             Template Updated 01-13-2021.pdf           129791      1/13/2021 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-07__433947_DRB Check Booking
31\check_images\10983                             Template Updated 02-10-2021.pdf           124767      2/10/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-07__445521_DRB Check Booking
31\check_images\10983                             Template Updated 03-10-2021.pdf           154529      3/10/2021 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-07__459316_DRB Check Booking
31\check_images\10983                             Template Updated 04-14-2021.pdf           116579      4/14/2021 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-07__470086_DRB Check Booking
31\check_images\10983                             Template Updated 05-12-2021.pdf           111377      5/12/2021 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-07__483571_DRB Check Booking
31\check_images\10983                             Template Updated 06-16-2021.pdf           131297      6/16/2021 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-07__492253_DRB Check Booking
31\check_images\10983                             Template Updated 07-07-2021.pdf           148309       7/7/2021 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-07__506032_DRB Check Booking
31\check_images\10983                             Template Updated 08-11-2021.pdf           115605      8/11/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-07__520583_DRB Check Booking
31\check_images\10983                             Template Updated 09-08-2021.pdf           208178       9/8/2021 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-07__533877_DRB Check Booking
31\check_images\10983                             Template Updated 10-06-2021.pdf           238482      10/6/2021 13:12



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-07__547878_DRB Check Booking
31\check_images\10983                             Template Updated 11-10-2021.pdf           199775     11/10/2021 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-07__561950_DRB Check Booking
31\check_images\10983                             Template Updated 12-15-2021.pdf           172522     12/15/2021 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-07__573069_DRB Check Booking
31\check_images\10983                             Template Updated 01-12-2022.pdf           181016      1/12/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-07__585459_DRB Check Booking
31\check_images\10983                             Template Updated 02-09-2022.pdf           191569       2/9/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-07__595994_DRB Check Booking
31\check_images\10983                             Template Updated 03-09-2022.pdf           229139       3/9/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-07__613647_DRB Check Booking
31\check_images\10983                             Template Updated 04-06-2022.pdf           208191       4/6/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-07__629421_DRB Check Booking
31\check_images\10983                             Template Updated 5-11-2022.pdf            193228      5/11/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-07__644998_DRB Check Booking
31\check_images\10983                             Template Updated 6-15-2022.pdf            171255      6/15/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-07__657461_DRB Check Booking
31\check_images\10983                             Template Updated 7-13-2022.pdf            158766      7/13/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-07__669822_DRB Check Booking
31\check_images\10983                             Template Updated 8-10-2022.pdf            196078      8/10/2022 12:20



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-07__685011_DRB Check Booking
31\check_images\10983                             Template Updated 9-14-2022.pdf            149383      9/14/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-07__697430_DRB Check Booking
31\check_images\10983                             Template Updated 10-12-2022.pdf           212739     10/12/2022 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-07__711940_DRB Check Booking
31\check_images\10983                             Template Updated 11-16-2022.pdf           183638     11/16/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-07__721192_DRB Check Booking
31\check_images\10983                             Template Updated 12-7-2022.pdf            190554      12/7/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-07__736342_DRB Check Booking
31\check_images\10983                             Template Updated 1-11-2023.pdf            219221      1/11/2023 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-07__751182_DRB Check Booking
31\check_images\10983                             Template Updated 2-15-2023.pdf            195089      2/15/2023 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-07__761636_DRB Check Booking
31\check_images\10983                             Template Updated 3-8-2023.pdf             233288       3/8/2023 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-07__776796_DRB Check Booking
31\check_images\10983                             Template Updated 4-12-2023.pdf            210658      4/12/2023 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-07__789437_DRB Check Booking
31\check_images\10983                             Template Updated 5-10-2023.pdf            204462      5/10/2023 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-07__804673_DRB Check Booking
31\check_images\10983                             Template Updated 6-14-2023.pdf            177247      6/14/2023 12:17



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-07__817161_DRB Check Booking
31\check_images\10983                             Template Updated 7-12-2023.pdf            164322      7/12/2023 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-07__830094_DRB Check Booking
31\check_images\10983                             Template Updated 8-9-2023.pdf             212058       8/9/2023 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-07__842153_DRB Check Booking
31\check_images\10983                             Template Updated 9-06-2023.pdf            214600       9/6/2023 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-07__857150_DRB Check Booking
31\check_images\10983                             Template Updated 10-11-2023.pdf           200449     10/11/2023 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-07__872068_DRB Check Booking
31\check_images\10983                             Template Updated 11-15-2023.pdf           182663     11/15/2023 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-07__884666_DRB Check Booking
31\check_images\10983                             Template Updated 12-13-2023.pdf           193108     12/13/2023 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-07__899296_DRB Check Booking
31\check_images\10983                             Template Updated 1-17-2024.pdf            188534      1/17/2024 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-07__908811_DRB Check Booking
31\check_images\10983                             Template Updated 2-07-2024.pdf            217252       2/7/2024 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-07__923838_DRB Check Booking
31\check_images\10983                             Template Updated 3-13-2024.pdf            172826      3/13/2024 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-07__936146_DRB Check Booking
31\check_images\10983                             Template Updated 4-10-2024.pdf            174189      4/10/2024 14:51



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-07__948871_DRB Check Booking
31\check_images\10983                             Template Updated 5-08-2024.pdf                  186338       5/8/2024 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-10__431935_4302007285-21-
31\check_images\13240                             742.87.pdf                                       87083       2/5/2021 19:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-10__439716_4301996257-23-
31\check_images\13240                             742.87.pdf                                       89401      2/25/2021 16:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\13240                             2021-03-10__444333_4302018209-3-742.87.pdf       87382       3/8/2021 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-10__456146_4302029264-12-
31\check_images\13240                             742.87.pdf                                       86799       4/6/2021 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-10__467330_4302040028-14-
31\check_images\13240                             742.87.pdf                                       84726       5/4/2021 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-10__486433_4302050866-42-742.87
31\check_images\13240                             USD.pdf                                          87469      6/28/2021 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\13240                             2021-07-10__494740_13.pdf                       241815      7/14/2021 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-10__503391_4302072334-5-742.87
31\check_images\13240                             USD.pdf                                          87146        8/4/2021 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-10__532190_4302093848-13-742.87
31\check_images\13240                             USD.pdf                                          86757       10/4/2021 9:04



                                                            1203
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-10__550730_4302107289-19-742.87
31\check_images\13240                             USD.pdf                                       93619      11/18/2021 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-10__555405_4302104332-20-742.87
31\check_images\13240                             USD.pdf                                       85924     11/30/2021 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-10__559383_4302114951-38-742.87
31\check_images\13240                             USD.pdf                                       85223       12/9/2021 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-10__572336_4302125115-20-742.87
31\check_images\13240                             USD.pdf                                       88712      1/11/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-10__590409_4302135416-17-742.87
31\check_images\13240                             USD.pdf                                       84378      2/24/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-10__597729_4302145512-13-742.87
31\check_images\13240                             USD.pdf                                      101573      3/14/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-10__613224_4302155636-33-742.87
31\check_images\13240                             USD.pdf                                       86512       4/6/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-10__624750_4302165812-12-742.87
31\check_images\13240                             USD.pdf                                       90709       5/2/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-10__640565_4302176206-23-742.87
31\check_images\13240                             USD.pdf                                      107247        6/6/2022 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-10__652904_4302185917-16-742.87
31\check_images\13240                             USD.pdf                                       71279       7/1/2022 15:11



                                                            1204
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1206 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-10__667392_4302195890-18-742.87
31\check_images\13240                             USD.pdf                                         68317       8/4/2022 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-10__680113_item-39_4302205911-39-
31\check_images\13240                             742.87 USD.pdf                                 102813        9/2/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-10__692319_item-9_4302215564-9-
31\check_images\13240                             742.87 USD.pdf                                  77556      10/3/2022 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-10__708154_item-29_4302225324-29-
31\check_images\13240                             742.87 USD.pdf                                  84544      11/7/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-10__719373_item-25_4302235135-25-
31\check_images\13240                             742.87 USD.pdf                                  92929      12/5/2022 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-10__731870_item-17_4302244576-17-
31\check_images\13240                             742.87 USD.pdf                                  53543       1/4/2023 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-10__746575_item-35_4302254443-35-
31\check_images\13240                             742.87 USD.pdf                                  76940        2/3/2023 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-10__759982_item-17_4302264004-17-
31\check_images\13240                             742.87 USD.pdf                                  78245       3/6/2023 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-10__773391_item-17_4302273219-17-
31\check_images\13240                             742.87 USD.pdf                                  87011       4/4/2023 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-10__787851_item-15_4302282750-15-
31\check_images\13240                             742.87 USD.pdf                                  85595       5/8/2023 13:29



                                                            1205
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-10__800705_item-36_4302292289-36-
31\check_images\13240                             742.87 USD.pdf                                  92929       6/5/2023 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-10__812808_item-45_4302301571-45-
31\check_images\13240                             742.87 USD.pdf                                  79666       7/3/2023 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-10__828380_item-18_4302310885-18-
31\check_images\13240                             742.87 USD.pdf                                  87087        8/7/2023 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-10__840406_item-10_4302320206-10-
31\check_images\13240                             742.87 USD.pdf                                  66312       9/5/2023 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-10__854506_item-4_4302329449-4-
31\check_images\13240                             742.87 USD.pdf                                  92739       10/5/2023 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-10__868079_item-3_4302338845-3-
31\check_images\13240                             742.87 USD.pdf                                  86927      11/6/2023 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-10__881361_item-13_4302347849-13-
31\check_images\13240                             742.87 USD.pdf                                  82427      12/5/2023 18:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-10__896145_item-28_4302356934-28-
31\check_images\13240                             742.87 USD.pdf                                  78035       1/10/2024 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-10__907543_item-2_4302366140-2-
31\check_images\13240                             742.87 USD.pdf                                  87622       2/5/2024 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-10__920397_item-35_4302375034-35-
31\check_images\13240                             742.87 USD.pdf                                  90240       3/5/2024 13:35



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-10__934324_item-33_4302383968-33-
31\check_images\13240                             742.87 USD.pdf                                  69490       4/5/2024 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-10__948629_item-32_4302393182-32-
31\check_images\13240                             742.87 USD.pdf                                  66962       5/8/2024 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\17248                             2021-01-10__423518_42021___9-9.pdf             170862      1/14/2021 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\17248                             2021-02-10__436407_32026___13-13.pdf           171689      2/17/2021 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\17248                             2021-03-10__447680_22050___21-21.pdf           186367      3/16/2021 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\17248                             2021-04-10__458599_22028___18-18.pdf           160656      4/13/2021 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\17248                             2021-05-10__470365_42037___5-5.pdf             157723      5/13/2021 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\17248                             2021-06-10__482294_12009___20-20.pdf           162794      6/14/2021 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\17248                             2021-07-10__494288_32008___8-8.pdf             165325      7/14/2021 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\17248                             2021-08-10__506877_52000___11-11.pdf           133255      8/13/2021 11:16



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               All Paths/Locations                                Unified Title                    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\17248                             2021-09-10__522936_32000___6-6.pdf                  131969      9/15/2021 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\17248                             2021-10-10__535795_32018___4-4.pdf                  131828     10/13/2021 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-10__548806_Firstrust Lockbox for 11 15
31\check_images\17248                             2021_Part3.pdf                                      247580     11/15/2021 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-10__561183_Firstrust Checks for 12 14
31\check_images\17248                             2021_Part14.pdf                                     255662     12/14/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\17248                             2022-01-10__573273_tthu 13_Part7.pdf                150396      1/13/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-10__586601_Firstrust 2 14
31\check_images\17248                             2022_Part20.pdf                                     268117      2/14/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\17248                             2022-03-10__597154_mon 14_Part3.pdf                 130281      3/14/2022 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-04-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 10__615444_4200373831_R83530000141250.pd
31\check_images\17248                             f                                                   152959      4/11/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-05-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 10__630446_4200376583_R83530000172157.pd
31\check_images\17248                             f                                                   140550      5/13/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-06-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 10__643777_4200378950_R83530000198301.pd
31\check_images\17248                             f                                                   144655      6/13/2022 15:23



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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-07-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 10__656759_4200382018_R83530000235265.pd
31\check_images\17248                             f                                             159515      7/12/2022 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-08-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 10__671147_4200384722_R83530000269265.pd
31\check_images\17248                             f                                             109440      8/15/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-10__683912_item-
31\check_images\17248                             22_4200387034_R83530000294211.pdf             180923      9/12/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-10__697764_item-
31\check_images\17248                             3_4200390113_R83530000324151.pdf              110129     10/13/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-10__711479_item-
31\check_images\17248                             6_4200392549_R83530000355571.pdf              108264     11/15/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-10__723283_item-
31\check_images\17248                             5_4200395502_R83530000382923.pdf              158770     12/13/2022 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-10__737086_item-
31\check_images\17248                             11_4200398162_R83530000415439.pdf              88553      1/13/2023 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-10__750604_item-
31\check_images\17248                             32_4200400462_R83530000449183.pdf              88616      2/13/2023 21:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-10__764611_item-
31\check_images\17248                             5_4200403120_R83530000487060.pdf               97141      3/15/2023 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-10__776565_item-
31\check_images\17248                             5_4200406126_R83530000518860.pdf               84261      4/12/2023 10:44



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-10__791984_item-
31\check_images\17248                             20_4200408742_R83530000556130.pdf       83415      5/16/2023 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-10__804217_item-
31\check_images\17248                             31_4200411382_R83530000592496.pdf      103878      6/13/2023 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-10__818013_item-
31\check_images\17248                             7_4200413977_R83530000628583.pdf        92988      7/14/2023 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-10__831892_item-
31\check_images\17248                             7_4200416288_R83530000660294.pdf       115584      8/15/2023 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-10__843833_item-
31\check_images\17248                             18_4200418750_R83530000686798.pdf      118332      9/11/2023 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-10__859316_item-
31\check_images\17248                             27_4200421715_R83530000724886.pdf      118638     10/16/2023 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\17248                             2023-11-10__872559_4200423964.pdf      280296     11/16/2023 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-10__883971_item-
31\check_images\17248                             9_4200426853_R83530000794360.pdf        98028     12/12/2023 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-10__899916_item-
31\check_images\17248                             12_4200429428_R83530000831712.pdf      140631      1/16/2024 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-10__910502_item-
31\check_images\17248                             9_4200431977_R83530000865822.pdf       135232      2/12/2024 15:31



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1212 of
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               All Paths/Locations                                Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-10__926711_item-
31\check_images\17248                             2_4200434515_R83530000908510.pdf       93152      3/21/2024 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-10__937221_item-
31\check_images\17248                             3_4200437042_R83530000933920.pdf      111346      4/15/2024 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-10__951638_item-
31\check_images\17248                             9_4200439229_R83530000971180.pdf      179104      5/15/2024 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__690272_item-
31\check_images\17473                             36_471658_R83530000306179.pdf          39719      9/27/2022 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__701596_item-
31\check_images\17473                             1_474028_R83530000335305.pdf           38482     10/25/2022 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__714197_item-
31\check_images\17473                             6_476396_R83530000362344.pdf           34699     11/22/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__728412_item-
31\check_images\17473                             20_478761_R83530000395083.pdf          43312     12/27/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__744553_item-
31\check_images\17473                             15_481304_R83530000432475.pdf          35060      1/30/2023 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\17473                             2023-03-01__754784_483689.pdf         193414      2/24/2023 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__770075_item-
31\check_images\17473                             11_486094_R83530000496774.pdf          41307      3/28/2023 14:22



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__782021_item-
31\check_images\17473                             3_488506_R83530000530796.pdf        50016      4/25/2023 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__795697_item-
31\check_images\17473                             15_490906_R83530000569707.pdf       39033      5/26/2023 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__809927_item-
31\check_images\17473                             17_493264_R83530000605666.pdf       32587      6/27/2023 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__821458_item-
31\check_images\17473                             4_495664_R83530000641661.pdf        34500      7/25/2023 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__838378_item-
31\check_images\17473                             7_498049_R83530000673021.pdf        34278       8/30/2023 8:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__849282_item-
31\check_images\17473                             16_500217_R83530000705021.pdf       45955      9/26/2023 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__863093_item-
31\check_images\17473                             15_502494_R83530000741211.pdf       36082      10/30/2023 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__876526_item-
31\check_images\17473                             6_504748_R83530000774476.pdf        36583     11/28/2023 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__890681_item-
31\check_images\17473                             19_506949_R83530000808006.pdf       45273      12/29/2023 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__904858_item-
31\check_images\17473                             24_509411_R83530000847809.pdf       44402      1/30/2024 15:33



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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__916751_item-
31\check_images\17473                             18_511679_R83530000879715.pdf                  41595      2/26/2024 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__928955_item-
31\check_images\17473                             2_513881_R83530000915272.pdf                   42987      3/27/2024 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__944460_item-
31\check_images\17473                             40_516088_R83530000949154.pdf                  40009      4/30/2024 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18113                             2021-01-01__418607_1821284-1-500.00.pdf        43498       1/4/2021 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18113                             2021-02-01__428951_1822490-43-500.00.pdf       47581       2/1/2021 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18113                             2021-03-01__441350_1823704-23-500.00.pdf       37822       3/1/2021 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18113                             2021-04-01__454574_1824954-42-500.00.pdf       35127        4/1/2021 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18113                             2021-05-01__466562_1826151-1-500.00.pdf        45894       5/3/2021 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18113                             2021-06-01__477881_1827290-25-500.00.pdf       37908       6/2/2021 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-01__490244_1828443-22-500.00
31\check_images\18113                             USD.pdf                                        40119        7/2/2021 8:58



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-01__502322_1829576-41-500.00
31\check_images\18113                             USD.pdf                                    28458       8/2/2021 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-01__519230_1830745-9-500.00
31\check_images\18113                             USD.pdf                                    29357        9/7/2021 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-01__532832_1831890-6-500.00
31\check_images\18113                             USD.pdf                                    29659      10/4/2021 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-01__544139_1832980-40-500.00
31\check_images\18113                             USD.pdf                                    33368      11/2/2021 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-01__557136_1834101-17-500.00
31\check_images\18113                             USD.pdf                                    36752      12/3/2021 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-01__572690_1835288-22-500.00
31\check_images\18113                             USD.pdf                                    30232       1/12/2022 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18113                             2022-02-01__585883_33.pdf                 223200      2/10/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-01__598935_1837571-35-500.00
31\check_images\18113                             USD.pdf                                    33203      3/16/2022 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-01__615500_1838739-35-500.00
31\check_images\18113                             USD.pdf                                    33512      4/12/2022 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__625700_1839848-40-500.00
31\check_images\18113                             USD.pdf                                    40492       5/3/2022 16:06



                                                            1214
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__638161_1840993-29-500.00
31\check_images\18113                             USD.pdf                                          33341       6/1/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__653880_1842155-8-500.00
31\check_images\18113                             USD.pdf                                          31065       7/5/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__665592_1843210-40-500.00
31\check_images\18113                             USD.pdf                                          47479        8/2/2022 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__680263_item-11_1844337-11-
31\check_images\18113                             500.00 USD.pdf                                   30378       9/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__692883_item-36_1845421-36-
31\check_images\18113                             500.00 USD.pdf                                   39457      10/3/2022 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__708194_item-4_1846494-4-500.00
31\check_images\18113                             USD.pdf                                          35314      11/7/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__718687_item-36_1847571-36-
31\check_images\18113                             500.00 USD.pdf                                   40633      12/2/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__731247_item-9_1848689-9-500.00
31\check_images\18113                             USD.pdf                                          32919       1/4/2023 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__745951_item-17_1849796-17-
31\check_images\18113                             500.00 USD.pdf                                   39538       2/2/2023 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__759606_item-21_1850872-21-
31\check_images\18113                             500.00 USD.pdf                                   29154        3/6/2023 9:05



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__772671_item-29_1851936-29-
31\check_images\18113                             500.00 USD.pdf                                   40686       4/3/2023 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__785813_item-43_1853002-43-
31\check_images\18113                             500.00 USD.pdf                                   42141       5/2/2023 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__795769_item-15_1854053-15-
31\check_images\18113                             500.00 USD.pdf                                   31882      5/30/2023 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__813094_item-35_1855094-35-
31\check_images\18113                             500.00 USD.pdf                                   35191        7/5/2023 7:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__826343_item-19_1856111-19-
31\check_images\18113                             500.00 USD.pdf                                   36011       8/1/2023 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__840140_item-5_1857193-5-500.00
31\check_images\18113                             USD.pdf                                          31920        9/5/2023 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__853270_item-37_1858155-37-
31\check_images\18113                             500.00 USD.pdf                                   31140      10/3/2023 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__867099_item-9_1859188-9-500.00
31\check_images\18113                             USD.pdf                                          42836      11/3/2023 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__880507_item-1_1860198-1-500.00
31\check_images\18113                             USD.pdf                                          30883      12/4/2023 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__892989_item-45_1861223-45-
31\check_images\18113                             500.00 USD.pdf                                   37776       1/3/2024 14:50



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__907840_item-26_1862292-26-
31\check_images\18113                             500.00 USD.pdf                                36239       2/5/2024 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__919475_item-25_1863367-25-
31\check_images\18113                             500.00 USD.pdf                                33276       3/4/2024 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__931675_item-38_1864393-38-
31\check_images\18113                             500.00 USD.pdf                                31401       4/2/2024 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__947346_item-33_1865440-33-
31\check_images\18113                             500.00 USD.pdf                                32889       5/6/2024 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-25__781490_item-8_42009827-8-
31\check_images\18192                             1278.96 USD.pdf                               68139      4/25/2023 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-25__794147_item-7_42066318-7-
31\check_images\18192                             1278.96 USD.pdf                               67250       5/24/2023 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-25__808164_item-24_42119434-24-
31\check_images\18192                             1278.96 USD.pdf                               70872      6/26/2023 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-25__820672_item-11_42169775-11-
31\check_images\18192                             1278.96 USD.pdf                               70956       7/24/2023 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-25__835383_item-15_42225437-15-
31\check_images\18192                             1278.96 USD.pdf                               67585      8/28/2023 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-25__848115_item-27_42276359-27-
31\check_images\18192                             1278.96 USD.pdf                               69808      9/25/2023 12:25



                                                            1217
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1219 of
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               All Paths/Locations                                  Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-25__861210_item-15_42330620-15-
31\check_images\18192                             1278.96 USD.pdf                                  72895      10/24/2023 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-25__874956_item-35_42387597-35-
31\check_images\18192                             1278.96 USD.pdf                                  72289     11/27/2023 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-25__888427_item-26_42436074-26-
31\check_images\18192                             1278.96 USD.pdf                                  68704      12/26/2023 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-25__901512_item-10_42489923-10-
31\check_images\18192                             1278.96 USD.pdf                                  64713      1/24/2024 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-25__919389_item-3_42545968-3-
31\check_images\18192                             1278.96 USD.pdf                                  71845       3/4/2024 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-25__927288_item-4_42596223-4-
31\check_images\18192                             1278.96 USD.pdf                                  72335      3/25/2024 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-25__940958_item-20_42652676-20-
31\check_images\18192                             1278.96 USD.pdf                                  67707      4/24/2024 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-25__958155_item-18_42706893-18-
31\check_images\18192                             1278.96 USD.pdf                                  72194       5/31/2024 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-15__579780_Copy of Percys Copy of
31\check_images\18252                             Leadenhall Payments Recd thru 12312021.pdf       74982      1/27/2022 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-06-15__662248_Copy of Percys Copy of
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- June Leadenhall Payments Recd thru 7 25
31\check_images\18252                             2022.xlsm                                    16913682       7/26/2022 12:54



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               All Paths/Locations                                  Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-12-15__741692_Copy of Copy of Percys
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- Copy of Habitus Lockbox Payments Recd for Dec
31\check_images\18252                             2022.pdf                                           238593       1/26/2023 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-15__804950_33706147 6396.84 John
31\check_images\18252                             Reeves ID 18252 06122023.pdf                       243611       6/15/2023 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-15__887942_33872812 6396.84 John
31\check_images\18252                             Reeves ID 18252 12182023.pdf                        84807      6/14/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18366                             2021-04-23__460585_7226083-25-3500.00.pdf           58413       4/19/2021 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-23__537083_7292275-41-3500.00
31\check_images\18366                             USD.pdf                                             47793      10/18/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-23__618787_7357824-38-3500.00
31\check_images\18366                             USD.pdf                                             74361      4/19/2022 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-23__699052_item-29_4028009-29-
31\check_images\18366                             3500.00 USD.pdf                                     51583     10/17/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-23__778305_item-20_4078336-20-
31\check_images\18366                             3500.00 USD.pdf                                     51280      4/17/2023 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-23__858818_item-22_4128546-22-
31\check_images\18366                             3500.00 USD.pdf                                     42714     10/16/2023 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-23__939680_item-5_4177740-5-
31\check_images\18366                             3500.00 USD.pdf                                     38789      4/19/2024 10:49



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18368                             2021-03-15__444300_2265_19_6.pdf                99847        3/8/2021 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18368                             2022-03-15__596572_2265_17_14.pdf               70666       3/9/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18368                             2023-03-15__760934_item-1_2265_17_1.pdf         71819       3/7/2023 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18368                             2024-03-15__923094_item-13_2265_24_13.pdf       71495      3/12/2024 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-01__474617_4302088610-21-
31\check_images\18431                             876.60.pdf                                      85482      5/26/2021 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-01__497543_4302109628-30-876.60
31\check_images\18431                             USD.pdf                                         85072       7/26/2021 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-01__523727_4302125699-39-876.60
31\check_images\18431                             USD.pdf                                         89411       9/17/2021 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-01__527754_4302125700-14-876.60
31\check_images\18431                             USD.pdf                                         86639      9/27/2021 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-01__550748_4302146145-30-876.60
31\check_images\18431                             USD.pdf                                         93013      11/18/2021 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-01__550909_4302140226-30-876.60
31\check_images\18431                             USD.pdf                                         89110      11/18/2021 9:19



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-01__555999_4302150339-8-876.60
31\check_images\18431                             USD.pdf                                       90504     11/30/2021 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-01__567306_4302160621-11-876.60
31\check_images\18431                             USD.pdf                                       88222     12/30/2021 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-01__580905_4302170602-7-876.60
31\check_images\18431                             USD.pdf                                       83908       2/1/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-01__609402_4302180309-29-876.60
31\check_images\18431                             USD.pdf                                       89936      3/29/2022 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-01__607938_4302190441-22-876.60
31\check_images\18431                             USD.pdf                                       85524      3/29/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__620731_4302199893-44-876.60
31\check_images\18431                             USD.pdf                                       88874       4/25/2022 6:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__633720_4302209533-21-876.60
31\check_images\18431                             USD.pdf                                      108397      5/23/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__648870_4302219323-26-876.60
31\check_images\18431                             USD.pdf                                      109186      6/27/2022 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__662008_4302228628-16-876.60
31\check_images\18431                             USD.pdf                                       71856       7/26/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__675108_4302238140-33-876.60
31\check_images\18431                             USD.pdf                                       72810      8/25/2022 15:10



                                                            1221
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__688637_item-35_4302247554-35-
31\check_images\18431                             876.60 USD.pdf                                 118061      9/26/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__701148_item-6_4302256795-6-
31\check_images\18431                             876.60 USD.pdf                                  86987      10/25/2022 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__714255_item-19_4302266094-19-
31\check_images\18431                             876.60 USD.pdf                                  94072     11/22/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__727269_item-35_4302275471-35-
31\check_images\18431                             876.60 USD.pdf                                  67309     12/22/2022 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__740236_item-34_4302284803-34-
31\check_images\18431                             876.60 USD.pdf                                  82943      1/23/2023 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__755159_item-29_4302293792-29-
31\check_images\18431                             876.60 USD.pdf                                  84962      2/24/2023 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__769431_item-33_4302303121-33-
31\check_images\18431                             876.60 USD.pdf                                  85911      3/27/2023 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__781279_item-23_4302311950-23-
31\check_images\18431                             876.60 USD.pdf                                  97094       4/25/2023 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__798415_item-10_4302320968-10-
31\check_images\18431                             876.60 USD.pdf                                  85108      5/30/2023 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__809498_item-45_4302329939-45-
31\check_images\18431                             876.60 USD.pdf                                  86219      6/27/2023 11:22



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__824505_item-27_4302338675-27-
31\check_images\18431                             876.60 USD.pdf                                  92964      7/31/2023 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__837403_item-5_4302347660-5-
31\check_images\18431                             876.60 USD.pdf                                  81052      8/29/2023 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__850807_item-28_4302356016-28-
31\check_images\18431                             876.60 USD.pdf                                  84511      9/28/2023 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__861934_item-25_4302364806-25-
31\check_images\18431                             876.60 USD.pdf                                  67993      10/26/2023 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__876660_item-26_4302373559-26-
31\check_images\18431                             876.60 USD.pdf                                  81428     11/28/2023 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__889704_item-12_4302381974-12-
31\check_images\18431                             876.60 USD.pdf                                  73105     12/27/2023 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__903235_item-9_4302390733-9-
31\check_images\18431                             876.60 USD.pdf                                  81165      1/29/2024 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__917435_item-6_4302399351-6-
31\check_images\18431                             876.60 USD.pdf                                  78308       2/29/2024 8:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__927403_item-23_4302407715-23-
31\check_images\18431                             876.60 USD.pdf                                  71796      3/25/2024 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__941314_item-5_4302416210-5-
31\check_images\18431                             876.60 USD.pdf                                  78074       4/25/2024 8:57



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1225 of
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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18623                             2021-01-01__429767_4297279-31-350.00.pdf       51050       2/1/2021 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18623                             2021-02-01__431697_4298176-27-350.00.pdf       51190       2/4/2021 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18623                             2021-03-01__442541_4305277-43-350.00.pdf       72588       3/2/2021 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18623                             2021-04-01__452319_4312440-27-350.00.pdf       67923      3/30/2021 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18623                             2021-05-01__464978_44.pdf                     284219       4/30/2021 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18623                             2021-06-01__476521_4326601-12-350.00.pdf       51130       6/1/2021 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-01__489522_4333617-39-350.00
31\check_images\18623                             USD.pdf                                        65061      6/30/2021 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-01__502024_4340727-22-350.00
31\check_images\18623                             USD.pdf                                        55165       8/2/2021 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-01__517676_4347900-31-350.00
31\check_images\18623                             USD.pdf                                        52952       9/1/2021 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-01__529909_4354576-5-350.00
31\check_images\18623                             USD.pdf                                        52430      9/29/2021 11:01



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1226 of
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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18623                             2021-11-01__545558_37.pdf                 215159      11/4/2021 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-01__558585_4368550-8-350.00
31\check_images\18623                             USD.pdf                                    50806      12/8/2021 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-01__578283_4380099-6-350.00
31\check_images\18623                             USD.pdf                                    54563       1/25/2022 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-01__590910_4382500-1-350.00
31\check_images\18623                             USD.pdf                                    54883       2/28/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-01__599303_4389206-39-350.00
31\check_images\18623                             USD.pdf                                    55712      3/16/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-01__612844_4395768-35-350.00
31\check_images\18623                             USD.pdf                                    55492        4/6/2022 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__626846_4402606-18-350.00
31\check_images\18623                             USD.pdf                                    53092       5/4/2022 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__639458_4409383-2-350.00
31\check_images\18623                             USD.pdf                                    55420       6/2/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__651696_4415768-29-350.00
31\check_images\18623                             USD.pdf                                    55959      6/30/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__666241_4422556-4-350.00
31\check_images\18623                             USD.pdf                                    53597       8/2/2022 16:03



                                                            1225
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__679159_4429067-7-350.00
31\check_images\18623                             USD.pdf                                          52839      8/31/2022 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__693228_item-31_4435615-31-
31\check_images\18623                             350.00 USD.pdf                                   54600      10/3/2022 23:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__706742_item-3_4442104-3-350.00
31\check_images\18623                             USD.pdf                                          53028       11/3/2022 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__717369_item-15_4448289-15-
31\check_images\18623                             350.00 USD.pdf                                   49674     11/30/2022 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__731252_item-33_4454487-33-
31\check_images\18623                             350.00 USD.pdf                                   48249       1/3/2023 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__745047_item-34_4461567-34-
31\check_images\18623                             350.00 USD.pdf                                   52818       2/1/2023 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__757707_item-27_4467936-27-
31\check_images\18623                             350.00 USD.pdf                                   54548       3/1/2023 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__772290_item-5_4474291-5-350.00
31\check_images\18623                             USD.pdf                                          51889        4/3/2023 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__784170_item-40_4480811-40-
31\check_images\18623                             350.00 USD.pdf                                   51630       5/1/2023 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__797154_item-16_4487319-16-
31\check_images\18623                             350.00 USD.pdf                                   52440       5/31/2023 9:45



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__811939_item-30_4493675-30-
31\check_images\18623                             350.00 USD.pdf                                   47788        7/3/2023 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__825264_item-42_4500090-42-
31\check_images\18623                             350.00 USD.pdf                                   50258      7/31/2023 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__838004_item-32_4506219-32-
31\check_images\18623                             350.00 USD.pdf                                   54274      8/29/2023 19:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__851459_item-15_4512592-15-
31\check_images\18623                             350.00 USD.pdf                                   46353      10/2/2023 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__866708_item-6_4518865-6-350.00
31\check_images\18623                             USD.pdf                                          50820      11/2/2023 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__877611_item-28_4524605-28-
31\check_images\18623                             350.00 USD.pdf                                   52049     11/29/2023 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__891611_item-11_4531057-11-
31\check_images\18623                             350.00 USD.pdf                                   46158       1/2/2024 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__905638_item-45_4537714-45-
31\check_images\18623                             350.00 USD.pdf                                   43591        2/1/2024 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__917995_item-5_4543683-5-350.00
31\check_images\18623                             USD.pdf                                          47385      2/29/2024 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__931589_item-22_4550118-22-
31\check_images\18623                             350.00 USD.pdf                                   54180       4/2/2024 11:00



                                                            1227
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__946266_item-8_4556400-8-350.00
31\check_images\18623                             USD.pdf                                          74768       5/2/2024 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18731                             2021-01-10__421680_2352643-9-522.00.pdf          38932      1/11/2021 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18731                             2021-02-10__435005_2354567-13-522.00.pdf         43027       2/16/2021 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18731                             2021-03-10__444886_2356430-18-522.00.pdf         36278       3/9/2021 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18731                             2021-04-10__459520_2358237-26-522.00.pdf         34352       4/15/2021 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18731                             2021-05-10__469291_2360024-26-522.00.pdf         43413      5/10/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-10__482418_2361819-43-522.00
31\check_images\18731                             USD.pdf                                          38653      6/14/2021 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-10__493898_2363524-8-522.00
31\check_images\18731                             USD.pdf                                          38992      7/13/2021 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-10__505692_2365316-10-522.00
31\check_images\18731                             USD.pdf                                          37862      8/10/2021 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-10__521893_2367097-43-522.00
31\check_images\18731                             USD.pdf                                          38220      9/13/2021 14:53



                                                            1228
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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18731                             2021-10-10__536530_37.pdf                 220552      10/14/2021 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-10__547445_2370581-28-522.00
31\check_images\18731                             USD.pdf                                    36220      11/10/2021 0:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18731                             2021-12-10__573026_1.pdf                  174229      1/12/2022 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18731                             2022-01-10__575358_24.pdf                 224227       1/19/2022 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-10__587093_2375631-24-522.00
31\check_images\18731                             USD.pdf                                    37023      2/15/2022 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-10__603601_2377317-32-522.00
31\check_images\18731                             USD.pdf                                    31383      3/22/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-10__617578_2379051-21-522.00
31\check_images\18731                             USD.pdf                                    32085      4/18/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-10__629825_2380963-2-522.00
31\check_images\18731                             USD.pdf                                    32398       5/12/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-10__643336_2382798-8-522.00
31\check_images\18731                             USD.pdf                                    31941      6/13/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-10__655968_2384399-9-522.00
31\check_images\18731                             USD.pdf                                    30159      7/11/2022 14:32



                                                            1229
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1231 of
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-10__670491_2386257-35-522.00
31\check_images\18731                             USD.pdf                                          40792      8/12/2022 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-10__683494_item-24_2387885-24-
31\check_images\18731                             522.00 USD.pdf                                   40509      9/12/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-10__696662_item-13_2389519-13-
31\check_images\18731                             522.00 USD.pdf                                   31942     10/11/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-10__710846_item-7_2391192-7-522.00
31\check_images\18731                             USD.pdf                                          30076      11/15/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-10__722824_item-39_2392776-39-
31\check_images\18731                             522.00 USD.pdf                                   26611     12/12/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-10__735621_item-19_2394304-19-
31\check_images\18731                             522.00 USD.pdf                                   36453      1/10/2023 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-10__750134_item-35_2395978-35-
31\check_images\18731                             522.00 USD.pdf                                   30982       2/13/2023 8:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-10__763381_item-14_2397477-14-
31\check_images\18731                             522.00 USD.pdf                                   31102       3/13/2023 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-10__775694_item-42_2399032-42-
31\check_images\18731                             522.00 USD.pdf                                   33663      4/10/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-10__789953_item-12_2400605-12-
31\check_images\18731                             522.00 USD.pdf                                   34164      5/12/2023 14:13



                                                            1230
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1232 of
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-10__803164_item-28_2402116-28-
31\check_images\18731                             522.00 USD.pdf                                   33971      6/12/2023 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-10__814894_item-2_2403582-2-522.00
31\check_images\18731                             USD.pdf                                          36928      7/10/2023 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-10__830694_item-20_2405115-20-
31\check_images\18731                             522.00 USD.pdf                                   30048      8/14/2023 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-10__842895_item-1_2406488-1-522.00
31\check_images\18731                             USD.pdf                                          35027      9/11/2023 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-10__856201_item-16_2407920-16-
31\check_images\18731                             522.00 USD.pdf                                   32396     10/10/2023 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-10__870981_item-15_2409246-15-
31\check_images\18731                             522.00 USD.pdf                                   42335     11/14/2023 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-10__882826_item-3_2410446-3-522.00
31\check_images\18731                             USD.pdf                                          30873     12/11/2023 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-10__897077_item-17_2411704-17-
31\check_images\18731                             522.00 USD.pdf                                   38755       1/12/2024 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-10__910708_item-20_2412910-20-
31\check_images\18731                             522.00 USD.pdf                                   33394      2/13/2024 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-10__922104_item-5_2414137-5-522.00
31\check_images\18731                             USD.pdf                                          31627       3/11/2024 8:36



                                                            1231
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1233 of
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-10__937495_item-2_2415375-2-522.00
31\check_images\18731                             USD.pdf                                          44236      4/15/2024 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-10__950738_item-29_2416602-29-
31\check_images\18731                             522.00 USD.pdf                                   33653      5/14/2024 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18813                             2021-01-18__424364_1820516-33-382.00.pdf         55417      1/19/2021 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18813                             2021-02-18__435841_1822979-23-382.00.pdf         35236      2/16/2021 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18813                             2021-03-18__446864_20.pdf                       234151       3/15/2021 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18813                             2021-04-18__459904_1825453-43-382.00.pdf         35613       4/16/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18813                             2021-05-18__471994_1826573-22-382.00.pdf         45168      5/18/2021 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-18__483059_1827751-11-382.00
31\check_images\18813                             USD.pdf                                          37052       6/15/2021 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-18__495347_1828907-7-382.00
31\check_images\18813                             USD.pdf                                          38266      7/16/2021 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-18__508927_1830021-14-382.00
31\check_images\18813                             USD.pdf                                          28540      8/16/2021 15:12



                                                            1232
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1234 of
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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-18__524721_1831207-32-382.00
31\check_images\18813                             USD.pdf                                    31886       9/20/2021 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-18__537649_1832321-5-382.00
31\check_images\18813                             USD.pdf                                    38660     10/18/2021 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-18__549961_1833433-23-382.00
31\check_images\18813                             USD.pdf                                    31013     11/16/2021 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-18__564255_1834567-35-382.00
31\check_images\18813                             USD.pdf                                    38006      12/22/2021 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-18__575265_1835723-36-382.00
31\check_images\18813                             USD.pdf                                    31609      1/19/2022 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\18813                             2022-02-18__587307_2.pdf                  226163       2/16/2022 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-18__603224_1838040-37-382.00
31\check_images\18813                             USD.pdf                                    38913      3/22/2022 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-18__617683_1839195-12-382.00
31\check_images\18813                             USD.pdf                                    32304      4/18/2022 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-18__632790_1840295-4-382.00
31\check_images\18813                             USD.pdf                                    33241      5/19/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-18__644468_1841442-45-382.00
31\check_images\18813                             USD.pdf                                    33448      6/14/2022 15:45



                                                            1233
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-18__658978_1842578-27-382.00
31\check_images\18813                             USD.pdf                                          39827       7/18/2022 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-18__670765_1843664-7-382.00
31\check_images\18813                             USD.pdf                                          38467       8/15/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-18__685740_item-4_1844784-4-382.00
31\check_images\18813                             USD.pdf                                          36983      9/16/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-18__698879_item-35_1845830-35-
31\check_images\18813                             382.00 USD.pdf                                   33790     10/17/2022 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-18__711975_item-22_1846949-22-
31\check_images\18813                             382.00 USD.pdf                                   34539     11/16/2022 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-18__726222_item-38_1848040-38-
31\check_images\18813                             382.00 USD.pdf                                   29030     12/19/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-18__737756_item-19_1849104-19-
31\check_images\18813                             382.00 USD.pdf                                   42652      1/17/2023 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-18__751692_item-37_1850247-37-
31\check_images\18813                             382.00 USD.pdf                                   33073       2/16/2023 8:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-18__764761_item-1_1851310-1-382.00
31\check_images\18813                             USD.pdf                                          37979       3/16/2023 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-18__778475_item-7_1852360-7-382.00
31\check_images\18813                             USD.pdf                                          33310       4/17/2023 9:58



                                                            1234
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-18__791623_item-3_1853431-3-382.00
31\check_images\18813                             USD.pdf                                          32792      5/16/2023 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-18__805635_item-7_1854468-7-382.00
31\check_images\18813                             USD.pdf                                          32107      6/20/2023 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-18__818637_item-2_1855492-2-382.00
31\check_images\18813                             USD.pdf                                          41939      7/17/2023 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-18__832768_item-10_1856536-10-
31\check_images\18813                             382.00 USD.pdf                                   33729       8/16/2023 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-18__845694_item-25_1857581-25-
31\check_images\18813                             382.00 USD.pdf                                   35077      9/18/2023 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-18__858501_item-3_1858551-3-382.00
31\check_images\18813                             USD.pdf                                          43545     10/16/2023 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-18__872851_item-4_1859591-4-382.00
31\check_images\18813                             USD.pdf                                          37241      11/17/2023 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-18__886289_item-10_1860624-10-
31\check_images\18813                             382.00 USD.pdf                                   32948     12/18/2023 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-18__898526_item-13_1861665-13-
31\check_images\18813                             382.00 USD.pdf                                   30979      1/16/2024 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-18__912228_item-13_1862738-13-
31\check_images\18813                             382.00 USD.pdf                                   37327       2/20/2024 9:18



                                                            1235
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-18__924979_item-41_1863772-41-
31\check_images\18813                             382.00 USD.pdf                                   32016      3/18/2024 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-18__938778_item-4_1864831-4-382.00
31\check_images\18813                             USD.pdf                                          34251       4/17/2024 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-18__953059_item-26_1865854-26-
31\check_images\18813                             382.00 USD.pdf                                   32312      5/20/2024 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-09__419187_4301995893-36-
31\check_images\19418                             400.00.pdf                                       85865        1/5/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-09__431721_4302006968-10-
31\check_images\19418                             400.00.pdf                                       87883       2/4/2021 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-09__444399_4302017884-15-
31\check_images\19418                             400.00.pdf                                       84872       3/8/2021 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\19418                             2021-04-09__456119_4302028808-5-400.00.pdf       87668       4/6/2021 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-09__466827_4302039650-13-
31\check_images\19418                             400.00.pdf                                       89107       5/4/2021 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-09__477730_4302050545-19-
31\check_images\19418                             400.00.pdf                                       86689        6/2/2021 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-09__490382_4302061211-38-400.00
31\check_images\19418                             USD.pdf                                          85350        7/2/2021 8:59



                                                            1236
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1238 of
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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-09__501594_4302071994-17-400.00
31\check_images\19418                             USD.pdf                                        91134       8/2/2021 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-09__521592_4302082879-34-400.00
31\check_images\19418                             USD.pdf                                        89258      9/13/2021 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-09__532181_4302093491-21-400.00
31\check_images\19418                             USD.pdf                                        88979       10/4/2021 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\19418                             2021-11-09__545387_4302104016 400.00.pdf      356821      11/4/2021 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-09__557153_4302114368-14-400.00
31\check_images\19418                             USD.pdf                                        84954      12/3/2021 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-09__571876_4302124756-18-400.00
31\check_images\19418                             USD.pdf                                        87100      1/11/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-09__584492_4302135108-20-400.00
31\check_images\19418                             USD.pdf                                        84317       2/8/2022 19:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-09__601098_4302145207-5-400.00
31\check_images\19418                             USD.pdf                                        74844       3/18/2022 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-09__613207_4302155303-23-400.00
31\check_images\19418                             USD.pdf                                        85379       4/6/2022 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-09__625158_4302165486-15-400.00
31\check_images\19418                             USD.pdf                                        80477       5/2/2022 11:18



                                                            1237
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-09__638631_4302175644-21-400.00
31\check_images\19418                             USD.pdf                                        100331        6/1/2022 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-09__652894_4302185588-28-400.00
31\check_images\19418                             USD.pdf                                         72137       7/1/2022 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-09__665634_4302195578-21-400.00
31\check_images\19418                             USD.pdf                                         73039        8/2/2022 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-09__680111_item-17_4302205498-17-
31\check_images\19418                             400.00 USD.pdf                                 104571       9/2/2022 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-09__693696_item-20_4302215238-20-
31\check_images\19418                             400.00 USD.pdf                                 118134      10/4/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-09__706152_item-38_4302225042-38-
31\check_images\19418                             400.00 USD.pdf                                  73894      11/2/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-09__719371_item-23_4302235033-23-
31\check_images\19418                             1150.00 USD.pdf                                 90895      12/5/2022 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-09__731064_item-5_4302244297-5-
31\check_images\19418                             400.00 USD.pdf                                  79204        1/4/2023 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-09__746981_item-38_4302253894-38-
31\check_images\19418                             400.00 USD.pdf                                  77743       2/6/2023 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-09__759761_item-25_4302263446-25-
31\check_images\19418                             400.00 USD.pdf                                  85783        3/6/2023 9:14



                                                            1238
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-09__773156_item-11_4302272863-11-
31\check_images\19418                             400.00 USD.pdf                                  96113       4/4/2023 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-09__786710_item-6_4302282491-6-
31\check_images\19418                             400.00 USD.pdf                                  88867        5/4/2023 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-09__800340_item-11_4302291913-11-
31\check_images\19418                             400.00 USD.pdf                                  92661       6/5/2023 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-09__812643_item-4_4302301250-4-
31\check_images\19418                             400.00 USD.pdf                                  83230       7/3/2023 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-09__826568_item-39_4302310610-39-
31\check_images\19418                             400.00 USD.pdf                                  69141       8/2/2023 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-09__840729_item-14_4302319892-14-
31\check_images\19418                             400.00 USD.pdf                                  70708       9/5/2023 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-09__853987_item-25_4302329200-25-
31\check_images\19418                             400.00 USD.pdf                                  92450      10/4/2023 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-09__868433_item-42_4302338331-42-
31\check_images\19418                             400.00 USD.pdf                                  88387      11/7/2023 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-09__881384_item-31_4302347553-31-
31\check_images\19418                             400.00 USD.pdf                                  85227      12/5/2023 18:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-09__895754_item-35_4302356664-35-
31\check_images\19418                             400.00 USD.pdf                                  71198       1/9/2024 14:50



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-09__907535_item-39_4302365760-39-
31\check_images\19418                             400.00 USD.pdf                                  76541       2/5/2024 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-09__920004_item-1_4302374732-1-
31\check_images\19418                             400.00 USD.pdf                                  76418       3/5/2024 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-09__933400_item-9_4302383708-9-
31\check_images\19418                             400.00 USD.pdf                                  79560       4/3/2024 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-09__946503_item-18_4302392674-18-
31\check_images\19418                             400.00 USD.pdf                                  73405        5/3/2024 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\21342                             2021-01-07__422198_12022___36-36.pdf           115909      1/11/2021 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\21342                             2021-02-07__432205_12000___10-10.pdf           133213       2/8/2021 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\21342                             2021-03-07__444287_12005___25-25.pdf           120997       3/8/2021 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\21342                             2021-04-07__457193_42010___13-13.pdf           136157       4/8/2021 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\21342                             2021-05-07__465458_12009___8-8.pdf             118476       5/3/2021 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\21342                             2021-06-07__476507_22000___16-16.pdf           115758       6/1/2021 12:41



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\21342                             2021-07-07__491161_22008___14-14.pdf               114096       7/6/2021 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\21342                             2021-08-07__504537_42006___7-7.pdf                 117832       8/6/2021 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\21342                             2021-09-07__521000_52014___4-4.pdf                 116062      9/10/2021 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\21342                             2021-10-07__533248_22008___4-4.pdf                 137636      10/5/2021 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-07__544701_Firstrust Lockbox for 11 3
31\check_images\21342                             2021_Part2.pdf                                     255644      11/3/2021 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\21342                             2021-12-07__557852_mon 6_Part28.pdf                135649      12/6/2021 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\21342                             2022-01-07__571208_mon 10_Part3.pdf                 81840      1/10/2022 16:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\21342                             2022-02-07__582484_fri 4_Part1.pdf                 108857       2/4/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\21342                             2022-03-07__593862_fri 4_Part2.pdf                  80405       3/4/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-
31\check_images\21342                             07__611621_10175399_R83530000135588.pdf             77839        4/5/2022 9:11



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-
31\check_images\21342                             07__627460_10217187_R83530000166701.pdf       80532       5/6/2022 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-
31\check_images\21342                             07__641340_10256680_R83530000194931.pdf       74114        6/7/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-
31\check_images\21342                             07__653583_10297839_R83530000224062.pdf       78006       7/5/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-
31\check_images\21342                             07__669074_1033666_R83530000265740.pdf        67904       8/9/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-07__681931_item-
31\check_images\21342                             15_10374918_R83530000291987.pdf               66811       9/7/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-07__694156_item-
31\check_images\21342                             2_10415271_R83530000316515.pdf                79203      10/4/2022 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-07__707417_item-
31\check_images\21342                             1_10454581_R83530000344911.pdf                85667      11/4/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-07__721442_item-
31\check_images\21342                             2_10500310_R83530000377598.pdf               133902      12/8/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-07__735865_item-
31\check_images\21342                             2_10556076_R83530000413924.pdf                65516      1/11/2023 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-07__747309_item-
31\check_images\21342                             12_10593805_R83530000442098.pdf               60433       2/6/2023 12:38



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1244 of
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               All Paths/Locations                                Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-07__760463_item-
31\check_images\21342                             5_10634218_R83530000474326.pdf        63262        3/7/2023 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-07__773673_item-
31\check_images\21342                             14_10682750_R83530000509624.pdf      109336       4/4/2023 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-07__787272_item-
31\check_images\21342                             2_10723310_R83530000546706.pdf        77995       5/5/2023 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-07__801251_item-
31\check_images\21342                             10_10764941_R83530000582663.pdf       66527       6/6/2023 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-07__816988_item-
31\check_images\21342                             1_10806026_R83530000626206.pdf        87941      7/12/2023 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-07__827889_item-
31\check_images\21342                             4_10844803_R83530000652881.pdf        63238       8/4/2023 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-07__841817_item-
31\check_images\21342                             2_10885407_R83530000684621.pdf        58040       9/6/2023 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-07__856649_item-
31\check_images\21342                             4_10924095_R83530000718359.pdf        66834     10/11/2023 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\21342                             2023-11-07__867695_10962568.pdf      234412      11/6/2023 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-07__882008_item-
31\check_images\21342                             3_11007952_R83530000785081.pdf        64716      12/6/2023 11:01



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               All Paths/Locations                                 Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-07__895662_item-
31\check_images\21342                             4_11061861_R83530000827309.pdf                      66382       1/9/2024 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-07__908026_item-
31\check_images\21342                             4_11100582_R83530000857200.pdf                      67099       2/5/2024 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-07__920969_item-
31\check_images\21342                             2_11141732_R83530000891974.pdf                      64802       3/6/2024 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-07__934114_item-
31\check_images\21342                             1_11185117_R83530000923989.pdf                      65316       4/4/2024 17:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-07__948039_item-
31\check_images\21342                             10_11223381_R83530000960846.pdf                    125669       5/7/2024 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-01__439087_Copy of Percys Copy of
31\check_images\22693                             Leadenhall Payment through 01312021.pdf             81548       2/24/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-01__451464_Copy of Percys Copy of
31\check_images\22693                             Leadenhall Payments 2282021 Updated.xlsx            23744      3/29/2021 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-03-01__463331_Copy of Percys Copy of
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- Leadenhall Payments Received through 033121
31\check_images\22693                             Final.pdf                                           80227      4/27/2021 16:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-04-01__474887_Copy of Percys Copy of
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- Leadenhall Pending Payments for period ending
31\check_images\22693                             43021.pdf                                           67645      5/26/2021 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-01__485539_Copy of Percys Copy of
31\check_images\22693                             Leadenhall Payments Received thru 62321.pdf         82142      6/24/2021 12:23



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               All Paths/Locations                                 Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-01__497093_Copy of Percys Copy of
31\check_images\22693                             Leadenhall Payments Received thru 063021.pdf      353698       7/23/2021 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-01__506476_Volans Floats 8-12-
31\check_images\22693                             2021.pdf                                           51694      8/12/2021 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2021-08-01__527075_Copy of Percys Copy of
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- Leadenhall Payments Received thru
31\check_images\22693                             08312021.pdf                                       82651      9/24/2021 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-01__539675_Copy of Percys Copy of
31\check_images\22693                             Leadenhall Payments Due thru 09302021.pdf          81586     10/26/2021 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-01__552932_Copy of Percys Copy of
31\check_images\22693                             Leadenhall Payments Thru 10312021.pdf              93264     11/24/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-01__565723_Copy of Percys Copy of
31\check_images\22693                             Leadenhall Payments Thru 11302021.pdf              73507     12/28/2021 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-01__579776_Copy of Percys Copy of
31\check_images\22693                             Leadenhall Payments Recd thru 12312021.pdf         74982      1/27/2022 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-01__590355_Copy of Percys Copy of
31\check_images\22693                             Leadenhall Payment thru 013122.pdf                 83564      2/24/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-01__609976_Leadenhall Payments
31\check_images\22693                             03282022.pdf                                      240575      3/31/2022 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-01__622670_Percys Copy of Leadenhall
31\check_images\22693                             Payments Recd thru 4 26 2022.pdf                   76511      4/27/2022 12:02



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               All Paths/Locations                                  Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-04-01__636891_Copy of Percys Copy of
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- Leadenhall Acquisition Payments Recd thru 5 26
31\check_images\22693                             2022.pdf                                            246216      5/31/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__650447_PDF of Percys Leadenhall
31\check_images\22693                             Payments Recd thru 6 27 2022.pdf                     82117      6/28/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-06-01__662306_Copy of Percys Copy of
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- June Leadenhall Payments Recd thru 7 25
31\check_images\22693                             2022.xlsm                                        16913682       7/26/2022 12:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__678405_Copy of Percys Copy of
31\check_images\22693                             Leadenhall Payments Recd thru 08 2022.pdf           319530      8/31/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-08-01__690726_Copy of Copy of Percys
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- Copy of Leadenhall Payments Recd thru 8 30
31\check_images\22693                             2022.pdf                                            514997      9/28/2022 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-09-01__703378_Copy of Copy of Percys
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- Copy of Leadenhall Payments Recd thru
31\check_images\22693                             09302022.pdf                                        517886     10/28/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-10-01__717092_Copy of Copy of Percys
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- Copy of Habitus Lockbox Payments Recd thru
31\check_images\22693                             10222022.pdf                                        516626     11/30/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-11-01__728915_Copy of Copy of Percys
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- Copy of Habitus Lockbox Payments Recd for Nov
31\check_images\22693                             2022.pdf                                            516049     12/28/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-12-01__741696_Copy of Copy of Percys
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- Copy of Habitus Lockbox Payments Recd for Dec
31\check_images\22693                             2022.pdf                                            238593       1/26/2023 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\22693                             2023-01-01__756500_Acq leadenhall.xlsm            9375327        2/28/2023 9:01



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               All Paths/Locations                                  Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2023-02-01__770209_Copy of Copy of Percys
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- Copy of Habitus Lockbox Payments Recd for Feb
31\check_images\22693                             2023.pdf                                           359296      3/29/2023 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__783831_item-3_42018400-3-50.00
31\check_images\22693                             USD.pdf                                             66258       5/1/2023 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__840334_item-4_42235573-4-50.00
31\check_images\22693                             USD.pdf                                             73243        9/5/2023 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2023-05-01__846498_Copy of Updated Percys
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- Copy of Leadenhall Payments Recd March 2023
31\check_images\22693                             through June 2023.pdf                              109330      9/19/2023 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__798780_item-13_42086500-13-
31\check_images\22693                             50.00 USD.pdf                                       67034       6/1/2023 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__813378_item-4_42129728-4-50.00
31\check_images\22693                             USD.pdf                                             68435       7/5/2023 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__825965_item-35_42180113-35-
31\check_images\22693                             50.00 USD.pdf                                       64428       8/1/2023 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2023-09-01__846501_Copy of Updated Percys
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- Copy of Leadenhall Payments Recd March 2023
31\check_images\22693                             through June 2023.pdf                              109330      9/19/2023 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__852578_item-28_42286310-28-
31\check_images\22693                             50.00 USD.pdf                                       65046      10/2/2023 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__865950_item-36_42340474-36-
31\check_images\22693                             50.00 USD.pdf                                       63381      11/1/2023 10:46



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               All Paths/Locations                                 Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__879689_item-32_42405455-32-
31\check_images\22693                             50.00 USD.pdf                                    66853       12/4/2023 9:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__891964_item-8_42443747-8-50.00
31\check_images\22693                             USD.pdf                                          66247        1/3/2024 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__905939_item-43_42501117-43-
31\check_images\22693                             50.00 USD.pdf                                    71185       2/1/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__918622_item-44_42553719-44-
31\check_images\22693                             50.00 USD.pdf                                    68165       3/4/2024 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__931065_item-18_42616422-18-
31\check_images\22693                             50.00 USD.pdf                                    72829       4/1/2024 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__944565_item-2_42661871-2-50.00
31\check_images\22693                             USD.pdf                                          75021      4/30/2024 18:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__909817_item-8_4540347-8-
31\check_images\22713                             40000.00 USD.pdf                                 46524      2/12/2024 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-29__518887_8618230-7-846.92
31\check_images\22715                             USD.pdf                                         267671        9/3/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\22715                             2021-03-29__454335_8490611-27-846.92.pdf        355606      3/31/2021 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\22715                             2021-04-29__466921_8518166-2-846.92.pdf         353061       5/4/2021 10:35



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               All Paths/Locations                                Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-29__479664_8542870-43-846.92
31\check_images\22715                             USD.pdf                                    149298        6/7/2021 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-29__491432_8566438-5-846.92
31\check_images\22715                             USD.pdf                                    144279       7/6/2021 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\22715                             2021-07-29__504329_8.pdf                   423095        8/6/2021 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\22715                             2021-08-29__572573_8736242 846.21.pdf      549974      1/12/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-29__531906_8642138-32-846.92
31\check_images\22715                             USD.pdf                                    247622      10/1/2021 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-29__545508_8669538-28-846.92
31\check_images\22715                             USD.pdf                                    297988      11/4/2021 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-29__558303_8701476-21-846.92
31\check_images\22715                             USD.pdf                                    218655      12/7/2021 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-29__569810_8728188-1-846.92
31\check_images\22715                             USD.pdf                                    151360       1/5/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-29__583030_8765480-41-846.92
31\check_images\22715                             USD.pdf                                    153229       2/7/2022 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-28__600338_8788373-29-846.92
31\check_images\22715                             USD.pdf                                    150647      3/17/2022 12:39



                                                             1249
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1251 of
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-29__612100_8814392-8-846.92
31\check_images\22715                             USD.pdf                                         287879       4/5/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-29__627218_8840205-11-846.92
31\check_images\22715                             USD.pdf                                         333585       5/5/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-29__638235_8870559-30-846.92
31\check_images\22715                             USD.pdf                                         273137       6/1/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-29__654115_8899268-45-846.92
31\check_images\22715                             USD.pdf                                         155297       7/6/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-29__666907_8922455-36-846.92
31\check_images\22715                             USD.pdf                                         305064       8/3/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-29__681040_item-39_8945080-39-
31\check_images\22715                             846.92 USD.pdf                                  194424       9/6/2022 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-29__694246_item-2_8970348-2-846.92
31\check_images\22715                             USD.pdf                                         195727       10/5/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-29__708214_item-12_9000754-12-
31\check_images\22715                             846.92 USD.pdf                                  189623       11/7/2022 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-29__717900_item-39_9038386-39-
31\check_images\22715                             846.92 USD.pdf                                  325481       12/1/2022 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-29__730988_item-14_9094835-14-
31\check_images\22715                             846.92 USD.pdf                                  188285       1/3/2023 17:59



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-29__746675_item-7_9128119-7-846.92
31\check_images\22715                             USD.pdf                                         199374        2/6/2023 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-28__759660_item-1_9150945-1-846.92
31\check_images\22715                             USD.pdf                                         313688       3/6/2023 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-29__773145_item-4_9179161-4-846.92
31\check_images\22715                             USD.pdf                                         174794       4/4/2023 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-29__787133_item-10_9203945-10-
31\check_images\22715                             846.92 USD.pdf                                  194807        5/5/2023 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-29__798761_item-3_9224587-3-846.92
31\check_images\22715                             USD.pdf                                         135815       6/1/2023 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-29__812591_item-9_9250149-9-846.92
31\check_images\22715                             USD.pdf                                         174951        7/3/2023 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-29__826582_item-42_9272653-42-
31\check_images\22715                             846.92 USD.pdf                                  204495       8/2/2023 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-29__840565_item-8_9293307-8-846.92
31\check_images\22715                             USD.pdf                                         174386       9/5/2023 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-29__853960_item-32_9317145-32-
31\check_images\22715                             846.92 USD.pdf                                  228074      10/4/2023 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-29__865992_item-3_9346288-3-846.92
31\check_images\22715                             USD.pdf                                         140315      11/1/2023 11:14



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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-29__882333_item-21_9381287-21-
31\check_images\22715                             846.92 USD.pdf                                140101      12/8/2023 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-01__438871_1000117873-30-
31\check_images\23316                             2500.00.pdf                                    64343      2/23/2021 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-01__446079_1000122921-32-
31\check_images\23316                             2500.00.pdf                                    76858      3/11/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-01__449420_1000111671-25-
31\check_images\23316                             2500.00.pdf                                    66513      3/22/2021 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-01__451709_1000129003-7-
31\check_images\23316                             2500.00.pdf                                    71373      3/29/2021 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-01__483090_1000142476-31-2500.00
31\check_images\23316                             USD.pdf                                        67032      6/15/2021 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-01__486400_1000136313-41-2500.00
31\check_images\23316                             USD.pdf                                        70838       6/28/2021 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-01__492403_1000147383-21-2500.00
31\check_images\23316                             USD.pdf                                        77455        7/9/2021 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-01__539437_1000166796-12-2500.00
31\check_images\23316                             USD.pdf                                        75116     10/25/2021 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-01__550058_1000159631-19-2500.00
31\check_images\23316                             USD.pdf                                        55749     11/16/2021 19:11



                                                            1252
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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-01__555359_1000177773-5-2500.00
31\check_images\23316                             USD.pdf                                        69935     11/29/2021 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-01__546095_1000171797-35-2500.00
31\check_images\23316                             USD.pdf                                        62798       11/5/2021 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-01__569589_1000184990-8-2500.00
31\check_images\23316                             USD.pdf                                        65240       1/5/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-01__583016_1000190893-3-2500.00
31\check_images\23316                             USD.pdf                                        73105       2/7/2022 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-01__602514_1000196782-5-2500.00
31\check_images\23316                             USD.pdf                                        53492      3/21/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-01__612119_1000202568-26-2500.00
31\check_images\23316                             USD.pdf                                        73452       4/5/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-01__623277_1000208391-45-2500.00
31\check_images\23316                             USD.pdf                                        64120       4/28/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__638489_1000213141-23-2500.00
31\check_images\23316                             USD.pdf                                        66784      5/31/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__649641_1000219987-35-2500.00
31\check_images\23316                             USD.pdf                                        71388       6/28/2022 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__663673_1000225725-42-2500.00
31\check_images\23316                             USD.pdf                                        72025       7/29/2022 8:50



                                                            1253
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__675842_1000230390-25-2500.00
31\check_images\23316                             USD.pdf                                         70148       8/29/2022 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__689026_item-19_1000237130-19-
31\check_images\23316                             2500.00 USD.pdf                                 66986       9/27/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__706230_item-15_1000242871-15-
31\check_images\23316                             2500.00 USD.pdf                                 64353      11/2/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__716649_item-14_1000247412-14-
31\check_images\23316                             2500.00 USD.pdf                                 70557     11/29/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__731088_item-29_1000254196-29-
31\check_images\23316                             2500.00 USD.pdf                                 65776        1/4/2023 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__744098_item-24_1000258690-24-
31\check_images\23316                             2500.00 USD.pdf                                 62640      1/31/2023 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__758757_item-14_1000264265-14-
31\check_images\23316                             2500.00 USD.pdf                                 72351       3/2/2023 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__768901_item-32_1000270823-32-
31\check_images\23316                             2500.00 USD.pdf                                 79834      3/27/2023 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__814141_item-11_1000289002-11-
31\check_images\23316                             2500.00 USD.pdf                                 72428       7/5/2023 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__788269_item-39_1000276358-39-
31\check_images\23316                             2500.00 USD.pdf                                 66401        5/8/2023 9:42



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__796872_item-27_1000280828-27-
31\check_images\23316                             2500.00 USD.pdf                                 57576      5/30/2023 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__809034_item-37_1000287347-37-
31\check_images\23316                             2500.00 USD.pdf                                 70356      6/26/2023 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__825247_item-13_1000292839-13-
31\check_images\23316                             2500.00 USD.pdf                                 67960        8/1/2023 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__835796_item-34_1000298269-34-
31\check_images\23316                             2500.00 USD.pdf                                 64360      8/28/2023 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__849204_item-20_1000303701-20-
31\check_images\23316                             2500.00 USD.pdf                                 64199      9/26/2023 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__865393_item-1_1000309168-1-
31\check_images\23316                             2500.00 USD.pdf                                 59309     10/31/2023 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__876568_item-32_1000314684-32-
31\check_images\23316                             2500.00 USD.pdf                                 51131     11/28/2023 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__889087_item-35_1000319074-35-
31\check_images\23316                             2500.00 USD.pdf                                 52423     12/27/2023 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__903667_item-42_1000324360-42-
31\check_images\23316                             2500.00 USD.pdf                                 57484      1/30/2024 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__915060_item-14_1000329659-14-
31\check_images\23316                             2500.00 USD.pdf                                 51757      2/26/2024 12:25



                                                            1255
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1257 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__930562_item-29_1000335915-29-
31\check_images\23316                             2500.00 USD.pdf                                 54691       4/1/2024 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__943072_item-8_1000341189-8-
31\check_images\23316                             2500.00 USD.pdf                                 43469      4/29/2024 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\29413                             2021-01-07__420215_11169603-11-250.00.pdf       36966       1/7/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\29413                             2021-02-07__431084_11172114-13-250.00.pdf       41059       2/3/2021 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\29413                             2021-03-07__441890_11174521-38-250.00.pdf       41578       3/2/2021 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\29413                             2021-04-07__452468_11177255-33-250.00.pdf       37313      3/30/2021 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\29413                             2021-05-07__466506_11179977-45-250.00.pdf       38095       5/3/2021 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\29413                             2021-06-07__477912_11182633-21-250.00.pdf       38023       6/2/2021 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-07__487961_11184941-14-250.00
31\check_images\29413                             USD.pdf                                         41481      6/29/2021 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\29413                             2021-08-07__501141_30.pdf                      222025       7/30/2021 9:47



                                                            1256
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1258 of
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               All Paths/Locations                                Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-07__517455_11189902-34-250.00
31\check_images\29413                             USD.pdf                                     37836       8/31/2021 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-07__530644_11192340-25-250.00
31\check_images\29413                             USD.pdf                                     40118       9/30/2021 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-07__543591_11194907-9-250.00
31\check_images\29413                             USD.pdf                                     37043      11/1/2021 23:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-07__557224_11197353-7-250.00
31\check_images\29413                             USD.pdf                                     39811       12/6/2021 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-07__571790_11201066-14-250.00
31\check_images\29413                             USD.pdf                                     38179      1/10/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-07__583803_11203615-8-250.00
31\check_images\29413                             USD.pdf                                     40549       2/8/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-07__598052_11205997-15-250.00
31\check_images\29413                             USD.pdf                                     40194      3/15/2022 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-07__612581_11208640-4-250.00
31\check_images\29413                             USD.pdf                                     36670       4/5/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-07__624783_11211242-16-250.00
31\check_images\29413                             USD.pdf                                     37435       5/2/2022 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-07__638724_11213684-31-250.00
31\check_images\29413                             USD.pdf                                     79509      5/31/2022 17:41



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-07__653205_11216089-6-250.00
31\check_images\29413                             USD.pdf                                       37314       7/5/2022 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-07__665261_11218644-42-250.00
31\check_images\29413                             USD.pdf                                       52499       8/1/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-07__677584_11221150-7-250.00
31\check_images\29413                             USD.pdf                                      100044      8/30/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-07__692189_item-11_11223485-11-
31\check_images\29413                             250.00 USD.pdf                                89977      9/30/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-07__703950_item-4_11225890-4-
31\check_images\29413                             250.00 USD.pdf                                50170      10/31/2022 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-07__716531_item-23_11228522-23-
31\check_images\29413                             250.00 USD.pdf                                36313     11/29/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-07__730078_item-2_11232241-2-
31\check_images\29413                             250.00 USD.pdf                                38861       1/3/2023 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-07__743268_item-3_11234674-3-
31\check_images\29413                             250.00 USD.pdf                                38931      1/30/2023 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-07__756609_item-32_11237249-32-
31\check_images\29413                             250.00 USD.pdf                                41925      2/27/2023 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-07__771324_item-10_11240243-10-
31\check_images\29413                             250.00 USD.pdf                                39986       3/31/2023 9:13



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-07__788021_item-20_11243094-20-
31\check_images\29413                             250.00 USD.pdf                                47550       5/8/2023 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-07__796633_item-27_11245891-27-
31\check_images\29413                             250.00 USD.pdf                                40445      5/30/2023 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-07__811131_item-13_11248372-13-
31\check_images\29413                             250.00 USD.pdf                                35973       6/30/2023 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-07__824882_item-12_11251231-12-
31\check_images\29413                             250.00 USD.pdf                                36901      7/31/2023 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-07__837788_item-29_11253770-29-
31\check_images\29413                             250.00 USD.pdf                                42144      8/29/2023 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-07__852063_item-19_11256308-19-
31\check_images\29413                             250.00 USD.pdf                                34456      10/2/2023 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-07__864168_item-44_11258859-44-
31\check_images\29413                             250.00 USD.pdf                                38785      10/30/2023 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-07__879179_item-1_11261532-1-
31\check_images\29413                             250.00 USD.pdf                                32588       12/4/2023 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-07__893446_item-26_11265217-26-
31\check_images\29413                             250.00 USD.pdf                                47647       1/2/2024 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-07__905179_item-6_11267520-6-
31\check_images\29413                             250.00 USD.pdf                                42923        2/1/2024 9:42



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-07__917854_item-15_11269970-15-
31\check_images\29413                             250.00 USD.pdf                                  35347      2/29/2024 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-07__931463_item-14_11272797-14-
31\check_images\29413                             250.00 USD.pdf                                  38884        4/2/2024 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-07__943517_item-8_11275255-8-
31\check_images\29413                             250.00 USD.pdf                                  33754      4/29/2024 22:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__797702_item-35_4000278434-35-
31\check_images\29465                             1447.75 USD.pdf                                 57229      5/30/2023 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__809512_item-35_4000280529-35-
31\check_images\29465                             1447.75 USD.pdf                                 76068      6/27/2023 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__824228_item-39_4000282613-39-
31\check_images\29465                             1447.75 USD.pdf                                 57943      7/31/2023 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__849572_item-24_4000286717-24-
31\check_images\29465                             1447.75 USD.pdf                                 56198      9/26/2023 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__853012_item-43_4000284651-43-
31\check_images\29465                             1447.75 USD.pdf                                 62369       10/2/2023 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__864709_item-7_4000288813-7-
31\check_images\29465                             1447.75 USD.pdf                                 53119     10/31/2023 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__876529_item-3_4000290902-3-
31\check_images\29465                             1447.75 USD.pdf                                 57646     11/28/2023 13:50



                                                            1260
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1262 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__888269_item-44_4000292930-44-
31\check_images\29465                             1447.75 USD.pdf                                 51358     12/26/2023 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__902670_item-42_4000294997-42-
31\check_images\29465                             1447.75 USD.pdf                                 53494      1/29/2024 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__915420_item-22_4000297082-22-
31\check_images\29465                             1447.75 USD.pdf                                 52521      2/26/2024 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__930850_item-28_4000299281-28-
31\check_images\29465                             1447.75 USD.pdf                                 60584       4/1/2024 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__942517_item-20_4000301348-20-
31\check_images\29465                             1447.75 USD.pdf                                 48040       4/29/2024 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-01__419893_DRB Check Booking
31\check_images\33487                             Template Updated 01-06-2021.pdf                130484       1/6/2021 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-01__433848_DRB Check Booking
31\check_images\33487                             Template Updated 02-10-2021.pdf                124767      2/10/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-01__445372_DRB Check Booking
31\check_images\33487                             Template Updated 03-10-2021.pdf                154529      3/10/2021 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-01__456857_DRB Check Booking
31\check_images\33487                             Template Updated 04-07-2021.pdf                148781       4/7/2021 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-01__467786_DRB Check Booking
31\check_images\33487                             Template Updated 05-05-2021.pdf                160734       5/5/2021 14:53



                                                            1261
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1263 of
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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-01__481037_DRB Check Booking
31\check_images\33487                             Template Updated 06-09-2021.pdf           141843       6/9/2021 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-01__492179_DRB Check Booking
31\check_images\33487                             Template Updated 07-07-2021.pdf           148309       7/7/2021 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-01__505969_DRB Check Booking
31\check_images\33487                             Template Updated 08-11-2021.pdf           115605      8/11/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-01__520489_DRB Check Booking
31\check_images\33487                             Template Updated 09-08-2021.pdf           208178       9/8/2021 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-01__533938_DRB Check Booking
31\check_images\33487                             Template Updated 10-06-2021.pdf           238482      10/6/2021 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-01__547930_DRB Check Booking
31\check_images\33487                             Template Updated 11-10-2021.pdf           199775     11/10/2021 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-01__559263_DRB Check Booking
31\check_images\33487                             Template Updated 12-08-2021.pdf           181678      12/8/2021 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-01__573162_DRB Check Booking
31\check_images\33487                             Template Updated 01-12-2022.pdf           181016      1/12/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-01__587882_DRB Check Booking
31\check_images\33487                             Template Updated 02-16-2022.pdf           192792      2/16/2022 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-01__596292_DRB Check Booking
31\check_images\33487                             Template Updated 03-09-2022.pdf           229139       3/9/2022 14:10



                                                            1262
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1264 of
                                       3467



               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-01__616580_DRB Check Booking
31\check_images\33487                             Template Updated 04-13-2022.pdf           191763      4/13/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__629594_DRB Check Booking
31\check_images\33487                             Template Updated 5-11-2022.pdf            193228      5/11/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__642094_DRB Check Booking
31\check_images\33487                             Template Updated 6-08-2022.pdf            172148       6/8/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__654892_DRB Check Booking
31\check_images\33487                             Template Updated 7-06-2022.pdf            233409       7/6/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__669883_DRB Check Booking
31\check_images\33487                             Template Updated 8-10-2022.pdf            196078      8/10/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__682356_DRB Check Booking
31\check_images\33487                             Template Updated 9-7-2022.pdf             196534       9/7/2022 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__697567_DRB Check Booking
31\check_images\33487                             Template Updated 10-12-2022.pdf           212739     10/12/2022 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__709292_DRB Check Booking
31\check_images\33487                             Template Updated 11-09-2022.pdf           192449      11/9/2022 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__721225_DRB Check Booking
31\check_images\33487                             Template Updated 12-7-2022.pdf            190554      12/7/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__731634_DRB Check Booking
31\check_images\33487                             Template Updated 1-04-2023.pdf            147950        1/4/2023 9:57



                                                            1263
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1265 of
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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__748347_DRB Check Booking
31\check_images\33487                             Template Updated 2-8-2023.pdf             263071       2/8/2023 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__761662_DRB Check Booking
31\check_images\33487                             Template Updated 3-8-2023.pdf             233288       3/8/2023 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__776923_DRB Check Booking
31\check_images\33487                             Template Updated 4-12-2023.pdf            210658      4/12/2023 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__789518_DRB Check Booking
31\check_images\33487                             Template Updated 5-10-2023.pdf            204462      5/10/2023 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__801965_DRB Check Booking
31\check_images\33487                             Template Updated 6-07-2023.pdf            214387       6/7/2023 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__814300_DRB Check Booking
31\check_images\33487                             Template Updated 7-5-2023.pdf             230892       7/5/2023 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__877801_DRB Check Booking
31\check_images\33487                             Template Updated 11-29-2023.pdf           142089     11/29/2023 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__878069_DRB Check Booking
31\check_images\33487                             Template Updated 11-29-2023.pdf           142089     11/29/2023 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__874439_DRB Check Booking
31\check_images\33487                             Template Updated 11-22-2023.pdf           145529     11/22/2023 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__874449_DRB Check Booking
31\check_images\33487                             Template Updated 11-22-2023.pdf           145529     11/22/2023 12:37



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__881722_DRB Check Booking
31\check_images\33487                             Template Updated 12-06-2023.pdf           193382      12/6/2023 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__896347_DRB Check Booking
31\check_images\33487                             Template Updated 1-10-2024.pdf            188175      1/10/2024 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__908514_DRB Check Booking
31\check_images\33487                             Template Updated 2-07-2024.pdf            217252       2/7/2024 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__921092_DRB Check Booking
31\check_images\33487                             Template Updated 3-06-2024.pdf            210889       3/6/2024 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__935883_DRB Check Booking
31\check_images\33487                             Template Updated 4-10-2024.pdf            174189      4/10/2024 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__948630_DRB Check Booking
31\check_images\33487                             Template Updated 5-08-2024.pdf            186338       5/8/2024 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-01__419894_DRB Check Booking
31\check_images\33551                             Template Updated 01-06-2021.pdf           130484       1/6/2021 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-01__433850_DRB Check Booking
31\check_images\33551                             Template Updated 02-10-2021.pdf           124767      2/10/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-01__445373_DRB Check Booking
31\check_images\33551                             Template Updated 03-10-2021.pdf           154529      3/10/2021 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-01__459276_DRB Check Booking
31\check_images\33551                             Template Updated 04-14-2021.pdf           116579      4/14/2021 14:55



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-01__470047_DRB Check Booking
31\check_images\33551                             Template Updated 05-12-2021.pdf           111377      5/12/2021 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-01__481038_DRB Check Booking
31\check_images\33551                             Template Updated 06-09-2021.pdf           141843       6/9/2021 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-01__494571_DRB Check Booking
31\check_images\33551                             Template Updated 07-14-2021.pdf           111100      7/14/2021 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-01__505971_DRB Check Booking
31\check_images\33551                             Template Updated 08-11-2021.pdf           115605      8/11/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-01__520490_DRB Check Booking
31\check_images\33551                             Template Updated 09-08-2021.pdf           208178       9/8/2021 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-01__536137_DRB Check Booking
31\check_images\33551                             Template Updated 10-13-2021.pdf           165790     10/13/2021 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-01__547932_DRB Check Booking
31\check_images\33551                             Template Updated 11-10-2021.pdf           199775     11/10/2021 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-01__562190_DRB Check Booking
31\check_images\33551                             Template Updated 12-15-2021.pdf           172522     12/15/2021 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-01__573163_DRB Check Booking
31\check_images\33551                             Template Updated 01-12-2022.pdf           181016      1/12/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-01__585487_DRB Check Booking
31\check_images\33551                             Template Updated 02-09-2022.pdf           191569       2/9/2022 13:05



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-01__599699_DRB Check Booking
31\check_images\33551                             Template Updated 03-16-2022.pdf           171148      3/16/2022 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-01__616582_DRB Check Booking
31\check_images\33551                             Template Updated 04-13-2022.pdf           191763      4/13/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__629595_DRB Check Booking
31\check_images\33551                             Template Updated 5-11-2022.pdf            193228      5/11/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__645219_DRB Check Booking
31\check_images\33551                             Template Updated 6-15-2022.pdf            171255      6/15/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__657534_DRB Check Booking
31\check_images\33551                             Template Updated 7-13-2022.pdf            158766      7/13/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__669884_DRB Check Booking
31\check_images\33551                             Template Updated 8-10-2022.pdf            196078      8/10/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__685130_DRB Check Booking
31\check_images\33551                             Template Updated 9-14-2022.pdf            149383      9/14/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__697568_DRB Check Booking
31\check_images\33551                             Template Updated 10-12-2022.pdf           212739     10/12/2022 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__709293_DRB Check Booking
31\check_images\33551                             Template Updated 11-09-2022.pdf           192449      11/9/2022 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__723924_DRB Check Booking
31\check_images\33551                             Template Updated 12-14-2022.pdf           236362     12/14/2022 10:43



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__736392_DRB Check Booking
31\check_images\33551                             Template Updated 1-11-2023.pdf            219221      1/11/2023 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__748349_DRB Check Booking
31\check_images\33551                             Template Updated 2-8-2023.pdf             263071       2/8/2023 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__764685_DRB Check Booking
31\check_images\33551                             Template Updated 3-15-2023.pdf            185325      3/15/2023 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__774390_DRB Check Booking
31\check_images\33551                             Template Updated 4-5-2023.pdf             225330       4/5/2023 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__789520_DRB Check Booking
31\check_images\33551                             Template Updated 5-10-2023.pdf            204462      5/10/2023 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__804888_DRB Check Booking
31\check_images\33551                             Template Updated 6-14-2023.pdf            177247      6/14/2023 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__817269_DRB Check Booking
31\check_images\33551                             Template Updated 7-12-2023.pdf            164322      7/12/2023 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__829991_DRB Check Booking
31\check_images\33551                             Template Updated 8-9-2023.pdf             212058       8/9/2023 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__844280_DRB Check Booking
31\check_images\33551                             Template Updated 9-13-2023.pdf            179308      9/13/2023 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__856992_DRB Check Booking
31\check_images\33551                             Template Updated 10-11-2023.pdf           200449     10/11/2023 13:03



                                                            1268
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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__871999_DRB Check Booking
31\check_images\33551                             Template Updated 11-15-2023.pdf           182663     11/15/2023 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__884403_DRB Check Booking
31\check_images\33551                             Template Updated 12-13-2023.pdf           193108     12/13/2023 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__896319_DRB Check Booking
31\check_images\33551                             Template Updated 1-10-2024.pdf            188175      1/10/2024 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__911366_DRB Check Booking
31\check_images\33551                             Template Updated 2-14-2024.pdf            171109      2/14/2024 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__923656_DRB Check Booking
31\check_images\33551                             Template Updated 3-13-2024.pdf            172826      3/13/2024 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__935860_DRB Check Booking
31\check_images\33551                             Template Updated 4-10-2024.pdf            174189      4/10/2024 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__951535_DRB Check Booking
31\check_images\33551                             Template Updated 5-15-2024.pdf            159346      5/15/2024 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2021-01-03__414644_2265_39_20.pdf          87583     12/27/2020 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2021-02-03__428280_2265_44_34.pdf          94997       1/28/2021 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2021-03-03__439014_2265_46_15.pdf          91246       2/24/2021 8:38



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2021-04-03__450846_2265_47_32.pdf       86423       3/26/2021 6:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2021-05-03__463697_2265_42_24.pdf       95861      4/27/2021 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2021-06-03__475776_2265_46_28.pdf       92816       5/28/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2021-07-03__486292_2265_47_13.pdf       91079       6/25/2021 6:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2021-08-03__500357_2265_54_3.pdf        79596       7/30/2021 5:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2021-09-03__514617_2265_47_44.pdf       90599       8/30/2021 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2021-10-03__527257_2265_36_41.pdf       72286       9/27/2021 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2021-11-03__539862_2265_41_12.pdf       72480      10/27/2021 6:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2021-12-03__553722_2265_52_16.pdf       70384      11/29/2021 6:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2022-01-03__566815_2265_50_43.pdf       72882     12/29/2021 17:23



                                                            1270
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1272 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2022-02-03__580507_2265_54_35.pdf               72078      1/31/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2022-03-03__589621_2265_39_33.pdf               70580      2/23/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2022-04-03__606511_2265_39_10.pdf               71722      3/28/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2022-05-03__622380_2265_42_8.pdf                70234      4/26/2022 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2022-06-03__635385_2265_44_5.pdf                70967      5/26/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2022-07-03__650038_2265_46_17.pdf               70470       6/27/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2022-08-03__663210_2265_47_1.pdf                70439      7/27/2022 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2022-09-03__679459_2265_56_21.pdf               71179        9/1/2022 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2022-10-03__691110_item-89_2265_42_41.pdf       71163      9/28/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2022-11-03__705476_item-78_2265_44_1.pdf        69675      10/31/2022 9:42



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1273 of
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2022-12-03__717304_item-117_2265_40_20.pdf       70840     11/28/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2023-01-03__729154_item-111_2265_44_18.pdf       70651     12/29/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2023-02-03__745226_item-60_2265_2_19.pdf         70939       2/1/2023 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2023-03-03__757791_item-233_2265_54_8.pdf        69987      2/27/2023 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2023-04-03__778914_item-133_2265_29_11.pdf       79155      4/17/2023 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2023-05-03__783450_item-3_2265_1_3.pdf           70718       5/1/2023 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2023-06-03__799608_item-171_2265_54_21.pdf       69960       6/1/2023 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2023-07-03__810833_item-10_2265_48_10.pdf        70489      6/29/2023 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2023-08-03__827314_item-31_2265_6_31.pdf         69271       8/2/2023 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2023-09-03__836797_item-122_2265_46_8.pdf        77827       8/28/2023 9:45



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2023-10-03__849947_item-77_2265_41_9.pdf         71416      9/27/2023 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2023-11-03__865658_item-49_2265_60_49.pdf        81885     10/31/2023 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2023-12-03__876243_item-174_2265_44_11.pdf       76962     11/28/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2024-01-03__890276_item-17_2265_49_17.pdf        83521     12/28/2023 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2024-02-03__902331_item-153_2265_53_5.pdf        70617       1/29/2024 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2024-03-03__916312_item-217_2265_41_37.pdf       69916       2/26/2024 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2024-04-03__929578_item-36_2265_52_16.pdf        71891       3/28/2024 8:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34894                             2024-05-03__942095_item-42_2265_52_6.pdf         71079       4/29/2024 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34982                             2021-01-07__416735_4302036770-3-500.00.pdf       89166     12/30/2020 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34982                             2021-02-07__429635_4302047599-3-500.00.pdf       87348       2/1/2021 16:37



                                                            1273
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1275 of
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-07__442172_4302058231-14-
31\check_images\34982                             500.00.pdf                                       88055       3/2/2021 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34982                             2021-04-07__453490_4302069095-4-500.00.pdf       88038      3/31/2021 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-07__467176_4302080041-39-
31\check_images\34982                             500.00.pdf                                       84718       5/4/2021 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-07__475962_4302090212-22-
31\check_images\34982                             500.00.pdf                                       82889      5/28/2021 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-07__490315_4302100652-18-500.00
31\check_images\34982                             USD.pdf                                          85326        7/2/2021 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\34982                             2021-08-07__500547_2.pdf                        233657       7/30/2021 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-07__517538_4302121400-22-500.00
31\check_images\34982                             USD.pdf                                          86060       8/31/2021 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-07__532082_4302131586-44-500.00
31\check_images\34982                             USD.pdf                                          92555      10/1/2021 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-07__543338_4302141801-5-500.00
31\check_images\34982                             USD.pdf                                          90911      11/1/2021 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-07__558078_4302151868-31-500.00
31\check_images\34982                             USD.pdf                                          83499      12/6/2021 21:30



                                                            1274
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1276 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-07__571820_4302162490-42-500.00
31\check_images\34982                             USD.pdf                                         85434      1/11/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-07__591028_4302172191-14-500.00
31\check_images\34982                             USD.pdf                                         84274       2/28/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-07__595145_4302183410-16-500.00
31\check_images\34982                             USD.pdf                                         84451       3/7/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-07__613271_4302191733-19-500.00
31\check_images\34982                             USD.pdf                                         83773       4/6/2022 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-07__625372_4302201495-15-500.00
31\check_images\34982                             USD.pdf                                         90911       5/3/2022 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-07__639180_4302211023-6-500.00
31\check_images\34982                             USD.pdf                                        101524      5/31/2022 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-07__649974_4302220541-5-500.00
31\check_images\34982                             USD.pdf                                         71257      6/28/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-07__665407_4302230259-4-500.00
31\check_images\34982                             USD.pdf                                         69706       8/1/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-07__677896_4302239552-45-500.00
31\check_images\34982                             USD.pdf                                         97182      8/30/2022 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-07__693754_item-40_4302249122-40-
31\check_images\34982                             500.00 USD.pdf                                 119050      10/4/2022 12:11



                                                            1275
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1277 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-07__704203_item-8_4302258266-8-
31\check_images\34982                             500.00 USD.pdf                                  71470     10/31/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-07__718271_item-4_4302267525-4-
31\check_images\34982                             500.00 USD.pdf                                  96825       12/2/2022 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-07__729535_item-17_4302276990-17-
31\check_images\34982                             500.00 USD.pdf                                 108238     12/30/2022 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-07__744620_item-13_4302286250-13-
31\check_images\34982                             500.00 USD.pdf                                  88789      1/31/2023 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-07__759555_item-8_4302295248-8-
31\check_images\34982                             500.00 USD.pdf                                  72006        3/6/2023 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-07__773169_item-13_4302304523-13-
31\check_images\34982                             500.00 USD.pdf                                  90548       4/4/2023 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-07__786235_item-31_4302313396-31-
31\check_images\34982                             500.00 USD.pdf                                  92554       5/3/2023 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-07__798843_item-6_4302322393-6-
31\check_images\34982                             500.00 USD.pdf                                  84731       6/1/2023 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-07__812690_item-16_4302331396-16-
31\check_images\34982                             500.00 USD.pdf                                  82651       7/3/2023 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-07__826476_item-34_4302340031-34-
31\check_images\34982                             500.00 USD.pdf                                  85098       8/1/2023 14:26



                                                            1276
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1278 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-07__840922_item-38_4302348707-38-
31\check_images\34982                             500.00 USD.pdf                                  87571       9/5/2023 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-07__853279_item-9_4302357494-9-
31\check_images\34982                             500.00 USD.pdf                                 100002      10/3/2023 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-07__867395_item-24_4302366159-24-
31\check_images\34982                             500.00 USD.pdf                                  93989      11/6/2023 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-07__880147_item-1_4302374773-1-
31\check_images\34982                             500.00 USD.pdf                                  68485       12/4/2023 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-07__893979_item-34_4302383393-34-
31\check_images\34982                             500.00 USD.pdf                                  80645       1/4/2024 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-07__907170_item-25_4302392089-25-
31\check_images\34982                             500.00 USD.pdf                                  77341       2/5/2024 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-07__920867_item-30_4302400562-30-
31\check_images\34982                             500.00 USD.pdf                                 100627        3/6/2024 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-07__933237_item-14_4302408981-14-
31\check_images\34982                             500.00 USD.pdf                                  75375       4/3/2024 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-07__943015_item-10_4302417562-10-
31\check_images\34982                             500.00 USD.pdf                                  70692      4/29/2024 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2021-01-01__418975_2558_1_2.pdf                 91260       1/4/2021 17:42



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2021-02-01__428369_2558_11_3.pdf        79681      1/28/2021 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2021-03-01__442857_2558_1_13.pdf        78320       3/2/2021 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2021-04-01__451674_2558_14_2.pdf        73368      3/29/2021 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2021-05-01__466955_2558_1_2.pdf         88341       5/4/2021 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2021-06-01__478619_2558_1_12.pdf        97036       6/2/2021 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2021-07-01__488916_2558_11_1.pdf        84544      6/29/2021 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2021-08-01__499227_2558_10_1.pdf        76760      7/28/2021 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2021-08-01__504105_1100463251.pdf       63836       8/5/2021 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2021-09-01__518536_2558_9_2.pdf         70730        9/2/2021 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2021-10-01__529842_2558_9_3.pdf         72828      9/29/2021 10:56



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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2021-11-01__545476_2558_3_1.pdf                70214      11/4/2021 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2021-12-01__556321_2558_11_1.pdf               71682      12/1/2021 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2022-01-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 01__566765_ExportedData_20211230_1038398
31\check_images\35130                             57.pdf                                         71282     12/30/2021 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2022-02-01__580959_2558_9_3.pdf                74559       2/1/2022 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2022-03-01__593468_2558_1_4.pdf                79921       3/2/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2022-04-01__608799_2558_6_3.pdf                67837      3/30/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2022-05-01__625336_2558_10_3.pdf               77097       5/3/2022 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2022-06-01__639186_2558_10_2.pdf               69471       6/2/2022 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2022-07-01__651524_2558_11_2.pdf               80702      6/29/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2022-08-01__664511_2558_10_3.pdf               76814       8/1/2022 10:58



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2022-09-01__677355_2558_9_3.pdf                 67256      8/30/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2022-10-01__690973_item-1_2558_7_1.pdf          64172      9/28/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2022-11-01__707036_item-17_2558_12_10.pdf       66021      11/3/2022 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2022-12-01__717044_item-1_2558_8_1.pdf          63022     11/30/2022 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2023-01-01__729611_item-4_2558_11_4.pdf         74259     12/29/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2023-02-01__746544_item-1_2558_1_1.pdf          61396       2/3/2023 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2023-03-01__758329_item-1_2558_11_1.pdf         76560       3/1/2023 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2023-04-01__770553_item-5_2558_11_4.pdf         72281      3/29/2023 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2023-05-01__783384_item-2_2558_10_2.pdf         71014       5/1/2023 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2023-06-01__798681_item-2_2558_10_2.pdf         64380       6/1/2023 11:22



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1282 of
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2023-07-01__810363_item-3_2558_8_3.pdf        62178      6/28/2023 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2023-08-01__826645_item-4_2558_9_4.pdf        69573      7/31/2023 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2023-09-01__839465_item-2_2558_9_2.pdf        75132      8/31/2023 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2023-10-01__854255_item-4_2558_1_4.pdf        63711      10/4/2023 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2023-11-01__866356_item-2_2558_10_2.pdf       62772      11/1/2023 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2023-12-01__878591_item-3_2558_11_3.pdf       70955     11/30/2023 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2024-01-01__920773_item-1_2558_1_1.pdf        76780       3/5/2024 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2024-02-01__920996_item-2_2558_8_2.pdf        77446       3/6/2024 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2024-03-01__923364_item-11_2558_2_9.pdf       65459      3/12/2024 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2024-04-01__942102_item-1_2558_10_1.pdf       63394       4/29/2024 9:12



                                                            1281
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1283 of
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35130                             2024-05-01__942130_item-3_2558_11_3.pdf          71793       4/29/2024 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-01__416957_1000111987-29-
31\check_images\35314                             811.71.pdf                                       62823     12/30/2020 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-01__429515_1000118092-15-
31\check_images\35314                             836.06.pdf                                       58799       2/1/2021 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-01__441240_1000123219-21-
31\check_images\35314                             836.06.pdf                                       69026       3/1/2021 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35314                             2021-04-01__452594_1000129267-4-836.06.pdf       65625      3/30/2021 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-01__463091_1000136525-43-
31\check_images\35314                             836.06.pdf                                       72790      4/27/2021 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-01__476475_1000142720-18-
31\check_images\35314                             836.06.pdf                                       88383       6/1/2021 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-01__487779_1000147636-12-836.06
31\check_images\35314                             USD.pdf                                          70313      6/28/2021 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-01__498903_1000154858-28-836.06
31\check_images\35314                             USD.pdf                                          64050      7/27/2021 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-01__514398_1000159894-26-836.06
31\check_images\35314                             USD.pdf                                          83000       8/30/2021 9:22



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1284 of
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-01__528701_1000167010-5-836.06
31\check_images\35314                             USD.pdf                                       62576      9/27/2021 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-01__542698_1000172088-2-836.06
31\check_images\35314                             USD.pdf                                       57423       11/1/2021 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-01__553523_1000178034-17-836.06
31\check_images\35314                             USD.pdf                                       64412     11/29/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-01__569969_1000185286-15-836.06
31\check_images\35314                             USD.pdf                                       62752        1/5/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-01__584687_1000191118-35-861.14
31\check_images\35314                             USD.pdf                                       64135        2/9/2022 5:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-01__597642_1000197025-28-861.14
31\check_images\35314                             USD.pdf                                       57098      3/14/2022 22:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-01__609187_1000202772-9-861.14
31\check_images\35314                             USD.pdf                                       70535      3/30/2022 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__623323_1000208594-17-861.14
31\check_images\35314                             USD.pdf                                       66823      4/28/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__639112_1000213396-14-861.14
31\check_images\35314                             USD.pdf                                       63288        6/2/2022 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__648738_1000220189-36-861.14
31\check_images\35314                             USD.pdf                                       76648      6/27/2022 11:07



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__663354_1000225933-12-861.14
31\check_images\35314                             USD.pdf                                         63309      7/28/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__675214_1000230635-31-861.14
31\check_images\35314                             USD.pdf                                         65339       8/26/2022 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__688912_item-17_1000237332-17-
31\check_images\35314                             861.14 USD.pdf                                  63631       9/27/2022 0:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__703086_item-6_1000243090-6-
31\check_images\35314                             861.14 USD.pdf                                  70870     10/28/2022 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__716277_item-10_1000247654-10-
31\check_images\35314                             861.14 USD.pdf                                  63036     11/29/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__730558_item-32_1000254439-32-
31\check_images\35314                             861.14 USD.pdf                                  47784       1/3/2023 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__742448_item-12_1000258932-12-
31\check_images\35314                             886.98 USD.pdf                                  67761      1/30/2023 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__756461_item-7_1000264510-7-
31\check_images\35314                             886.98 USD.pdf                                  65036      2/28/2023 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__769873_item-22_1000271013-22-
31\check_images\35314                             886.98 USD.pdf                                  64090      3/28/2023 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__783350_item-18_1000276545-18-
31\check_images\35314                             886.98 USD.pdf                                  59686       5/1/2023 11:27



                                                            1284
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__797299_item-16_1000281054-16-
31\check_images\35314                             886.98 USD.pdf                                  55075      5/30/2023 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__808995_item-5_1000287537-5-
31\check_images\35314                             886.98 USD.pdf                                  69603      6/26/2023 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35314                             2023-08-01__824614_1000293045 886.98.pdf       343681      7/31/2023 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__835582_item-34_1000298458-34-
31\check_images\35314                             886.98 USD.pdf                                  56571      8/28/2023 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__849530_item-23_1000303885-23-
31\check_images\35314                             886.98 USD.pdf                                  62441      9/26/2023 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__865215_item-14_1000309369-14-
31\check_images\35314                             886.98 USD.pdf                                  54058     10/31/2023 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__877285_item-39_1000314932-39-
31\check_images\35314                             886.98 USD.pdf                                  49728     11/29/2023 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__888755_item-10_1000319336-10-
31\check_images\35314                             886.98 USD.pdf                                  52013     12/26/2023 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__903035_item-21_1000324576-21-
31\check_images\35314                             913.59 USD.pdf                                  54588       1/29/2024 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__914959_item-42_1000329871-42-
31\check_images\35314                             913.59 USD.pdf                                  51070      2/26/2024 11:55



                                                            1285
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__930545_item-26_1000336090-26-
31\check_images\35314                             913.59 USD.pdf                                  62666       4/1/2024 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__943739_item-24_1000341373-24-
31\check_images\35314                             913.59 USD.pdf                                  52874      4/30/2024 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-15__423850_1000148514-17-
31\check_images\35407                             1738.91.pdf                                     53219      1/15/2021 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-15__436038_1000155135-25-
31\check_images\35407                             1738.91.pdf                                     75978      2/16/2021 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-15__447319_1000161699-35-
31\check_images\35407                             1738.91.pdf                                     74213      3/15/2021 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-15__460152_1000168379-16-
31\check_images\35407                             1738.91.pdf                                     76883      4/16/2021 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-15__470416_1000174735-14-
31\check_images\35407                             1738.91.pdf                                     72548      5/13/2021 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-15__482812_1000181402-30-1738.91
31\check_images\35407                             USD.pdf                                         81304      6/14/2021 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35407                             2021-07-15__495304_24.pdf                      297003      7/16/2021 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-15__508732_1000195187-41-1738.91
31\check_images\35407                             USD.pdf                                         71480      8/16/2021 10:54



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1288 of
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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-15__523625_1000201751-20-1738.91
31\check_images\35407                             USD.pdf                                        69322      9/16/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-15__536928_1000208321-28-1738.91
31\check_images\35407                             USD.pdf                                        72719     10/15/2021 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-15__549713_1000215356-16-1738.91
31\check_images\35407                             USD.pdf                                        54903     11/16/2021 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-15__563866_1000222010-33-1791.08
31\check_images\35407                             USD.pdf                                        79138      12/21/2021 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-15__577869_1000228649-35-1791.08
31\check_images\35407                             USD.pdf                                        78501      1/24/2022 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-15__587687_1000235270-42-1791.08
31\check_images\35407                             USD.pdf                                        82424      2/16/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-15__602478_1000242605-8-1791.08
31\check_images\35407                             USD.pdf                                        77231      3/21/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-15__617997_1000249073-7-1791.08
31\check_images\35407                             USD.pdf                                        74703       4/18/2022 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-15__630861_1000255488-14-1791.08
31\check_images\35407                             USD.pdf                                        82453      5/16/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-15__645521_1000261914-41-1791.08
31\check_images\35407                             USD.pdf                                        78511      6/16/2022 13:10



                                                            1287
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1289 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-15__658312_1000268464-45-1791.08
31\check_images\35407                             USD.pdf                                         75976       7/17/2022 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-15__671504_1000274924-13-1791.08
31\check_images\35407                             USD.pdf                                         75263      8/15/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-15__686175_item-9_1000281430-9-
31\check_images\35407                             1791.08 USD.pdf                                 76611      9/19/2022 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-15__698299_item-10_1000287560-10-
31\check_images\35407                             1791.08 USD.pdf                                 69824     10/17/2022 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-15__712254_item-27_1000294120-27-
31\check_images\35407                             1791.08 USD.pdf                                 72652     11/16/2022 22:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-15__725486_item-42_1000300565-42-
31\check_images\35407                             1844.81 USD.pdf                                 75070     12/19/2022 16:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-15__737932_item-31_1000306825-31-
31\check_images\35407                             1844.81 USD.pdf                                 79942      1/17/2023 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-15__752531_item-20_1000313165-20-
31\check_images\35407                             1844.81 USD.pdf                                 79904       2/21/2023 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-15__765076_item-14_1000319431-14-
31\check_images\35407                             1844.81 USD.pdf                                 69539       3/17/2023 8:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-15__778117_item-35_1000325348-35-
31\check_images\35407                             1844.81 USD.pdf                                 75354      4/17/2023 15:30



                                                            1288
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1290 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-15__791250_item-13_1000331955-13-
31\check_images\35407                             1844.81 USD.pdf                                 52982      5/15/2023 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-15__805473_item-14_1000344276-14-
31\check_images\35407                             1844.81 USD.pdf                                 75058       6/16/2023 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-15__818183_item-10_1000354185-10-
31\check_images\35407                             1844.81 USD.pdf                                 76530      7/17/2023 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-15__832506_item-15_1000364855-15-
31\check_images\35407                             1844.81 USD.pdf                                 70543       8/16/2023 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-15__845675_item-17_1000375169-17-
31\check_images\35407                             1844.81 USD.pdf                                 82960      9/18/2023 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-15__858687_item-45_1000385521-45-
31\check_images\35407                             1844.81 USD.pdf                                 74581     10/16/2023 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-15__872331_item-15_1000395823-15-
31\check_images\35407                             1844.81 USD.pdf                                 73394      11/16/2023 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-15__885667_item-36_1000405701-36-
31\check_images\35407                             1900.15 USD.pdf                                 71058      12/18/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-15__898429_item-16_1000416169-16-
31\check_images\35407                             1900.15 USD.pdf                                 77066      1/16/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__912694_item-40_1000426474-40-
31\check_images\35407                             1900.15 USD.pdf                                 70788      2/20/2024 12:33



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1291 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-15__925010_item-42_1000436378-42-
31\check_images\35407                             1900.15 USD.pdf                                 79604      3/18/2024 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-15__937976_item-28_1000446560-28-
31\check_images\35407                             1900.15 USD.pdf                                 71016      4/15/2024 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-15__952306_item-25_1000456543-25-
31\check_images\35407                             1900.15 USD.pdf                                 55768       5/17/2024 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-06__416859_1000111707-17-
31\check_images\35493                             2178.12.pdf                                     62860     12/30/2020 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-06__430015_1000119472-12-
31\check_images\35493                             2178.12.pdf                                     65045       2/2/2021 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-06__441408_1000125611-21-
31\check_images\35493                             2178.12.pdf                                     72502       3/1/2021 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-06__456224_1000131808-33-
31\check_images\35493                             2178.12.pdf                                     66827       4/6/2021 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-06__466264_1000137743-16-
31\check_images\35493                             2178.12.pdf                                     64775       5/3/2021 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-06__479810_1000144008-8-2178.12
31\check_images\35493                             USD.pdf                                         61146        6/7/2021 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-06__491472_1000150173-36-2178.12
31\check_images\35493                             USD.pdf                                         69102       7/6/2021 16:34



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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-06__501910_1000156217-23-2178.12
31\check_images\35493                             USD.pdf                                        69048       8/2/2021 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-06__518950_1000162312-37-2178.12
31\check_images\35493                             USD.pdf                                        63542        9/3/2021 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-06__532103_1000168293-1-2178.12
31\check_images\35493                             USD.pdf                                        70604      10/1/2021 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-06__545557_1000174397-2-2178.12
31\check_images\35493                             USD.pdf                                        61978      11/4/2021 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-06__554275_1000180202-8-2199.90
31\check_images\35493                             USD.pdf                                        61862     11/29/2021 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-06__569474_1000185024-41-2199.90
31\check_images\35493                             USD.pdf                                        68200        1/5/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-06__585585_1000192357-44-2199.90
31\check_images\35493                             USD.pdf                                        71739        2/9/2022 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-06__600660_1000198216-35-2199.90
31\check_images\35493                             USD.pdf                                        69429      3/17/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-06__612177_1000204010-36-2199.90
31\check_images\35493                             USD.pdf                                        67173       4/4/2022 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-06__625452_1000209880-17-2199.90
31\check_images\35493                             USD.pdf                                        69875       5/3/2022 12:30



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-06__640935_1000215695-39-2199.90
31\check_images\35493                             USD.pdf                                         63293       6/6/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-06__653447_1000221404-32-2199.90
31\check_images\35493                             USD.pdf                                         67183       7/5/2022 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-06__665784_1000227200-22-2199.90
31\check_images\35493                             USD.pdf                                         68702       8/2/2022 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-06__680155_item-42_1000232984-42-
31\check_images\35493                             2199.90 USD.pdf                                 67666       9/2/2022 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-06__692007_item-23_1000238447-23-
31\check_images\35493                             2199.90 USD.pdf                                 74684      9/30/2022 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-06__707004_item-7_1000244280-7-
31\check_images\35493                             2199.90 USD.pdf                                 62665      11/3/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-06__716083_item-36_1000249647-36-
31\check_images\35493                             2221.90 USD.pdf                                 77776     11/28/2022 18:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-06__730952_item-25_1000255544-25-
31\check_images\35493                             2221.90 USD.pdf                                 54488       1/3/2023 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-06__745923_item-2_1000261155-2-
31\check_images\35493                             2221.90 USD.pdf                                 58443       2/2/2023 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-06__759322_item-42_1000266696-42-
31\check_images\35493                             2221.90 USD.pdf                                 65915       3/3/2023 11:38



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-06__772344_item-15_1000272096-15-
31\check_images\35493                             2221.90 USD.pdf                                 58375       4/3/2023 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-06__785793_item-26_1000277765-26-
31\check_images\35493                             2221.90 USD.pdf                                 64208       5/2/2023 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-06__800344_item-13_1000283378-13-
31\check_images\35493                             2221.90 USD.pdf                                 69365       6/5/2023 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-06__811607_item-9_1000288605-9-
31\check_images\35493                             2221.90 USD.pdf                                 66890        7/3/2023 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-06__827740_item-32_1000294207-32-
31\check_images\35493                             2221.90 USD.pdf                                 74233       8/3/2023 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-06__840706_item-27_1000299602-27-
31\check_images\35493                             2221.90 USD.pdf                                 65023       9/5/2023 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-06__853121_item-5_1000305077-5-
31\check_images\35493                             2221.90 USD.pdf                                 58144      10/3/2023 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-06__867405_item-40_1000310511-40-
31\check_images\35493                             2221.90 USD.pdf                                 46814      11/6/2023 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-06__876462_item-38_1000314710-38-
31\check_images\35493                             2244.12 USD.pdf                                 60699     11/28/2023 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-06__893476_item-42_1000321380-42-
31\check_images\35493                             2244.12 USD.pdf                                 60214        1/3/2024 8:59



                                                            1293
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1295 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-06__906957_item-18_1000326763-18-
31\check_images\35493                             2244.12 USD.pdf                                 50004       2/5/2024 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-06__918903_item-31_1000331931-31-
31\check_images\35493                             2244.12 USD.pdf                                 47934        3/4/2024 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-06__932829_item-33_1000337240-33-
31\check_images\35493                             2244.12 USD.pdf                                 57760        4/3/2024 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-06__950872_item-11_1000342507-11-
31\check_images\35493                             2244.12 USD.pdf                                 53755      5/14/2024 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-01__417612_1000111914-15-
31\check_images\35499                             648.67.pdf                                      64180     12/31/2020 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-01__432701_1000118043-14-
31\check_images\35499                             648.67.pdf                                      70092       2/8/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-01__445812_1000123153-41-
31\check_images\35499                             648.67.pdf                                      77871       3/11/2021 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-01__452508_1000129210-14-
31\check_images\35499                             648.67.pdf                                      65074      3/30/2021 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-01__463200_1000136478-34-
31\check_images\35499                             668.13.pdf                                      74925      4/27/2021 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-01__477027_1000142667-11-
31\check_images\35499                             668.13.pdf                                      75138       6/1/2021 15:29



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1296 of
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35499                             2021-07-01__492533_15.pdf                    289781       7/9/2021 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-01__498807_1000154811-13-668.13
31\check_images\35499                             USD.pdf                                       60778       7/27/2021 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-01__515968_1000159840-25-668.13
31\check_images\35499                             USD.pdf                                       77851       8/30/2021 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-01__529245_1000166964-21-668.13
31\check_images\35499                             USD.pdf                                       63193      9/28/2021 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-01__545706_1000172026-5-668.13
31\check_images\35499                             USD.pdf                                       67017      11/4/2021 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-01__553625_1000177981-25-668.13
31\check_images\35499                             USD.pdf                                       62869     11/29/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-01__569350_1000185217-42-668.13
31\check_images\35499                             USD.pdf                                       64630        1/5/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-01__583097_1000191070-18-668.13
31\check_images\35499                             USD.pdf                                       66200       2/7/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-01__597624_1000196974-17-668.13
31\check_images\35499                             USD.pdf                                       55163      3/14/2022 22:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-01__611358_1000202728-42-668.13
31\check_images\35499                             USD.pdf                                       58129       4/4/2022 16:09



                                                            1295
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__623384_1000208551-13-688.17
31\check_images\35499                             USD.pdf                                         74021      4/28/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__637657_1000213343-11-688.17
31\check_images\35499                             USD.pdf                                         64952      5/31/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__649707_1000220146-41-688.17
31\check_images\35499                             USD.pdf                                         77025       6/28/2022 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__663555_1000225886-33-688.17
31\check_images\35499                             USD.pdf                                         73138       7/29/2022 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__675576_1000230582-4-688.17
31\check_images\35499                             USD.pdf                                         67150       8/26/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__689984_item-39_1000237286-39-
31\check_images\35499                             688.17 USD.pdf                                  70506      9/27/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__703642_item-19_1000243040-19-
31\check_images\35499                             688.17 USD.pdf                                  74994      10/28/2022 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__715645_item-5_1000247602-5-
31\check_images\35499                             688.17 USD.pdf                                  67830     11/28/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__732437_item-3_1000254383-3-
31\check_images\35499                             688.17 USD.pdf                                  68451       1/5/2023 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__742530_item-31_1000258880-31-
31\check_images\35499                             688.17 USD.pdf                                  60528      1/30/2023 12:19



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__758735_item-9_1000264456-9-
31\check_images\35499                             688.17 USD.pdf                                  70622       3/2/2023 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__768809_item-20_1000270968-20-
31\check_images\35499                             688.17 USD.pdf                                  80065      3/27/2023 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__788266_item-35_1000276501-35-
31\check_images\35499                             708.82 USD.pdf                                  68573        5/8/2023 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__796075_item-18_1000281005-18-
31\check_images\35499                             708.82 USD.pdf                                  57668      5/30/2023 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__809067_item-20_1000287491-20-
31\check_images\35499                             708.82 USD.pdf                                  69003      6/26/2023 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__823792_item-19_1000292996-19-
31\check_images\35499                             708.82 USD.pdf                                  59672      7/31/2023 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__837829_item-10_1000298414-10-
31\check_images\35499                             708.82 USD.pdf                                  63102      8/29/2023 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__849164_item-14_1000303842-14-
31\check_images\35499                             708.82 USD.pdf                                  62471       9/26/2023 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__864743_item-19_1000309321-19-
31\check_images\35499                             708.82 USD.pdf                                  54461     10/31/2023 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__876860_item-39_1000314871-39-
31\check_images\35499                             708.82 USD.pdf                                  50121     11/27/2023 15:03



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__888555_item-7_1000319279-7-
31\check_images\35499                             708.82 USD.pdf                                   51585     12/26/2023 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__903106_item-28_1000324529-28-
31\check_images\35499                             708.82 USD.pdf                                   60705       1/29/2024 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__914797_item-38_1000329828-38-
31\check_images\35499                             708.82 USD.pdf                                   51721      2/26/2024 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__932067_item-44_1000336052-44-
31\check_images\35499                             708.82 USD.pdf                                   59333       4/1/2024 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__942775_item-41_1000341332-41-
31\check_images\35499                             730.08 USD.pdf                                   46207      4/29/2024 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35504                             2021-01-15__431326_51018310-5-1000.00.pdf        52969       2/3/2021 17:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35504                             2021-02-15__437877_51019041-12-1000.00.pdf       51480      2/22/2021 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35504                             2021-03-15__449442_51019752-35-1000.00.pdf       49953       3/22/2021 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35504                             2021-04-15__458931_51020431-21-1000.00.pdf       50042      4/13/2021 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35504                             2021-05-15__470236_8.pdf                        213970       5/13/2021 8:59



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Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-15__482266_51022029-10-1000.00
31\check_images\35504                             USD.pdf                                      83930      6/14/2021 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-15__492507_51022671-31-1000.00
31\check_images\35504                             USD.pdf                                      52310       7/9/2021 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35504                             2021-08-15__506116_33.pdf                   192357       8/11/2021 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-15__521005_51023922-14-1000.00
31\check_images\35504                             USD.pdf                                      41808      9/10/2021 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-15__535442_51024583-9-1000.00
31\check_images\35504                             USD.pdf                                      42159     10/12/2021 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-15__548363_51025207-41-1000.00
31\check_images\35504                             USD.pdf                                      48347     11/12/2021 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-15__560765_51025805-24-1000.00
31\check_images\35504                             USD.pdf                                      50029      12/13/2021 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-15__574115_51026412-8-1000.00
31\check_images\35504                             USD.pdf                                      44800      1/18/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-15__594201_51027011-11-1000.00
31\check_images\35504                             USD.pdf                                      43775       3/5/2022 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-15__597158_51027610-24-1000.00
31\check_images\35504                             USD.pdf                                      41751       3/14/2022 9:43



                                                            1299
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-15__614778_51028213-22-1000.00
31\check_images\35504                             USD.pdf                                       49137      4/11/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-15__629632_51028816-15-1000.00
31\check_images\35504                             USD.pdf                                       45162      5/11/2022 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-15__642491_51029425-16-1000.00
31\check_images\35504                             USD.pdf                                       49386       6/9/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-15__656129_51030030-5-1000.00
31\check_images\35504                             USD.pdf                                       48962      7/11/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-15__670170_51030725-16-1000.00
31\check_images\35504                             USD.pdf                                       45997      8/11/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-15__682635_item-27_51031310-27-
31\check_images\35504                             1000.00 USD.pdf                               43117        9/9/2022 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-15__696240_item-23_51031907-23-
31\check_images\35504                             1000.00 USD.pdf                               42864     10/11/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-15__709675_item-17_51032492-17-
31\check_images\35504                             1000.00 USD.pdf                               47411     11/11/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-15__721767_item-29_51033080-29-
31\check_images\35504                             1000.00 USD.pdf                               48003       12/9/2022 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-15__736543_item-18_51033665-18-
31\check_images\35504                             1000.00 USD.pdf                               41951      1/11/2023 13:05



                                                            1300
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-15__748475_item-43_51034239-43-
31\check_images\35504                             1000.00 USD.pdf                               44993       2/9/2023 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-15__761690_item-10_51034823-10-
31\check_images\35504                             1000.00 USD.pdf                               43280        3/9/2023 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-15__775510_item-4_51035408-4-
31\check_images\35504                             1000.00 USD.pdf                               43399      4/10/2023 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-15__789587_item-10_51036008-10-
31\check_images\35504                             1000.00 USD.pdf                               53798       5/11/2023 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-15__802142_item-9_51036583-9-
31\check_images\35504                             1000.00 USD.pdf                               46320        6/9/2023 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-15__816235_item-7_51037155-7-
31\check_images\35504                             1000.00 USD.pdf                               45130      7/11/2023 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-15__830196_item-25_51037729-25-
31\check_images\35504                             1000.00 USD.pdf                               47720      8/10/2023 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-15__843280_item-3_51038293-3-
31\check_images\35504                             1000.00 USD.pdf                               51473      9/11/2023 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-15__857311_item-18_51038851-18-
31\check_images\35504                             1000.00 USD.pdf                               47286      10/12/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-15__869348_item-6_51039401-6-
31\check_images\35504                             1000.00 USD.pdf                               46031      11/9/2023 14:02



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               All Paths/Locations                                   Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-15__882640_item-20_51039958-20-
31\check_images\35504                             1000.00 USD.pdf                                    45925     12/11/2023 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-15__896895_item-44_51040527-44-
31\check_images\35504                             1000.00 USD.pdf                                    45985      1/11/2024 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__909352_item-31_51041081-31-
31\check_images\35504                             1000.00 USD.pdf                                    51889      2/12/2024 10:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-15__921798_item-14_51041632-14-
31\check_images\35504                             1000.00 USD.pdf                                    49423       3/11/2024 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-15__937292_item-15_51042191-15-
31\check_images\35504                             1000.00 USD.pdf                                    55938      4/15/2024 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-15__949098_item-19_51042732-19-
31\check_images\35504                             1000.00 USD.pdf                                    49333       5/10/2024 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-24__439421_Copy of Volans of 30 plus
31\check_images\35526                             Days to Book as a Float for 2 26 2021.xlsx      1095608       2/25/2021 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35526                             2021-02-24__443178_25588342-1-5020.61.pdf          53160       3/3/2021 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35526                             2021-03-24__456204_25685818-23-5020.61.pdf         51211       4/6/2021 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35526                             2021-04-24__467375_25799712-10-5020.61.pdf         40646       5/4/2021 14:45



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1304 of
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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-24__479340_25907422-11-5020.61
31\check_images\35526                             USD.pdf                                      53714       6/4/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-24__494701_26020052-2-5020.61
31\check_images\35526                             USD.pdf                                      51974      7/14/2021 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-24__505519_26134884-1-5171.23
31\check_images\35526                             USD.pdf                                      45045       8/9/2021 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-24__519113_26234597-10-5171.23
31\check_images\35526                             USD.pdf                                      47176       9/3/2021 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-24__527261_26342718-13-5171.23
31\check_images\35526                             USD.pdf                                      38581       9/27/2021 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-24__540305_26450319-24-5171.23
31\check_images\35526                             USD.pdf                                      45912     10/27/2021 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-24__560110_26547803-24-5171.23
31\check_images\35526                             USD.pdf                                      41336     12/10/2021 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-24__571644_26651981-39-5171.23
31\check_images\35526                             USD.pdf                                      49398       1/11/2022 7:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-24__584246_26760346-8-5171.23
31\check_images\35526                             USD.pdf                                      51814       2/8/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-24__604957_26855371-5-5171.23
31\check_images\35526                             USD.pdf                                      48467       3/24/2022 5:59



                                                            1303
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-24__606714_26944768-6-5171.23
31\check_images\35526                             USD.pdf                                       55780      3/28/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-24__623887_27049310-25-5171.23
31\check_images\35526                             USD.pdf                                       49176      4/29/2022 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-24__638329_27142392-28-5171.23
31\check_images\35526                             USD.pdf                                       46917        6/1/2022 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-24__647153_27245459-41-5171.23
31\check_images\35526                             USD.pdf                                       44704       6/22/2022 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-24__662515_27344896-5-5326.37
31\check_images\35526                             USD.pdf                                       48525      7/27/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-24__678591_27447769-40-5326.37
31\check_images\35526                             USD.pdf                                       41253      8/31/2022 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-24__695165_item-19_27548692-19-
31\check_images\35526                             5326.37 USD.pdf                               47051      10/6/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-24__702457_item-41_27644847-41-
31\check_images\35526                             5326.37 USD.pdf                               40955     10/27/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-24__716659_item-37_27746548-37-
31\check_images\35526                             5326.37 USD.pdf                               54149     11/29/2022 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-24__729550_item-25_27843278-25-
31\check_images\35526                             5326.37 USD.pdf                               52180     12/30/2022 10:28



                                                            1304
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-24__742047_item-31_27939060-31-
31\check_images\35526                             5326.37 USD.pdf                               54813      1/27/2023 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-24__753669_item-28_28034663-28-
31\check_images\35526                             5326.37 USD.pdf                               41147      2/22/2023 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-24__768086_item-33_28123822-33-
31\check_images\35526                             5326.37 USD.pdf                               50394      3/27/2023 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-24__785749_item-36_28222334-36-
31\check_images\35526                             5326.37 USD.pdf                               53236       5/2/2023 18:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-24__794246_item-26_28315835-26-
31\check_images\35526                             5326.37 USD.pdf                               50284       5/24/2023 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-24__808980_item-37_28413344-37-
31\check_images\35526                             5326.37 USD.pdf                               51632      6/26/2023 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-24__820614_item-4_28501881-4-
31\check_images\35526                             5486.16 USD.pdf                               52589       7/24/2023 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-24__834407_item-23_28597166-23-
31\check_images\35526                             5486.16 USD.pdf                               54720      8/22/2023 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-24__859129_item-4_28697217-4-
31\check_images\35526                             5486.16 USD.pdf                               51501      10/17/2023 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-24__860428_item-9_28782158-9-
31\check_images\35526                             5486.16 USD.pdf                               49885     10/23/2023 10:20



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-24__874299_item-24_28878277-24-
31\check_images\35526                             5486.16 USD.pdf                               48887      11/22/2023 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-24__890179_item-18_28973228-18-
31\check_images\35526                             5486.16 USD.pdf                               49653     12/28/2023 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-24__901650_item-18_29057021-18-
31\check_images\35526                             5486.16 USD.pdf                               45894      1/25/2024 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-24__916811_item-30_29148538-30-
31\check_images\35526                             5486.16 USD.pdf                               55602      2/27/2024 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-24__927412_item-18_29230980-18-
31\check_images\35526                             5486.16 USD.pdf                               40566      3/25/2024 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-24__940837_item-16_29310768-16-
31\check_images\35526                             5486.16 USD.pdf                               49187       4/24/2024 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-24__954095_item-1_29395321-1-
31\check_images\35526                             5486.16 USD.pdf                               47635       5/23/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-21__422842_4302040972-15-
31\check_images\35568                             1800.00.pdf                                   87624      1/13/2021 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-21__438905_4302051603-16-
31\check_images\35568                             1800.00.pdf                                   87384      2/23/2021 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-21__446748_4302062519-43-
31\check_images\35568                             1800.00.pdf                                   87041      3/15/2021 10:18



                                                            1306
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1308 of
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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-21__459677_4302073308-15-
31\check_images\35568                             1800.00.pdf                                    85204       4/15/2021 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-21__470657_4302084163-9-
31\check_images\35568                             1800.00.pdf                                    84389      5/14/2021 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-21__483693_4302094320-9-1800.00
31\check_images\35568                             USD.pdf                                        92303      6/16/2021 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-21__494382_4302104812-18-1800.00
31\check_images\35568                             USD.pdf                                        84400       7/14/2021 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-21__510006_4302115329-37-1800.00
31\check_images\35568                             USD.pdf                                        87552       8/17/2021 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-21__521317_4302125350-18-1800.00
31\check_images\35568                             USD.pdf                                        91878      9/13/2021 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-21__536851_4302135583-1-1800.00
31\check_images\35568                             USD.pdf                                        78725     10/15/2021 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-21__548796_4302145773-2-1800.00
31\check_images\35568                             USD.pdf                                        91189      11/15/2021 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-21__561375_4302155913-27-1800.00
31\check_images\35568                             USD.pdf                                        85872      12/15/2021 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-21__577499_4302166289-3-1800.00
31\check_images\35568                             USD.pdf                                        84513      1/24/2022 10:17



                                                            1307
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1309 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-21__593856_4302175931-15-1800.00
31\check_images\35568                             USD.pdf                                         86636        3/4/2022 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-21__603566_4302185711-11-1800.00
31\check_images\35568                             USD.pdf                                         82625      3/22/2022 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-21__616082_4302195508-31-1800.00
31\check_images\35568                             USD.pdf                                         82020      4/13/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-21__631184_4302205272-26-1800.00
31\check_images\35568                             USD.pdf                                         82884       5/16/2022 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-21__643775_4302214630-33-1800.00
31\check_images\35568                             USD.pdf                                        108472      6/13/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-21__658013_4302224312-44-1800.00
31\check_images\35568                             USD.pdf                                         73906       7/15/2022 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-21__670849_4302233804-9-1800.00
31\check_images\35568                             USD.pdf                                         74566      8/15/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-21__684372_item-6_4302243215-6-
31\check_images\35568                             1800.00 USD.pdf                                102829      9/13/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-21__698002_item-22_4302252833-22-
31\check_images\35568                             1800.00 USD.pdf                                 67637      10/14/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-21__709955_item-30_4302261863-30-
31\check_images\35568                             1800.00 USD.pdf                                 92555      11/14/2022 8:49



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-21__724972_item-13_4302271207-13-
31\check_images\35568                             1800.00 USD.pdf                                 70187     12/16/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-21__736692_item-39_4302280651-39-
31\check_images\35568                             1800.00 USD.pdf                                 80612       1/12/2023 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-21__749878_item-21_4302289782-21-
31\check_images\35568                             1800.00 USD.pdf                                 91097      2/13/2023 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-21__763790_item-26_4302298883-26-
31\check_images\35568                             1800.00 USD.pdf                                 90284      3/14/2023 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-21__778742_item-34_4302308183-34-
31\check_images\35568                             1800.00 USD.pdf                                 84281      4/18/2023 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-21__790323_item-35_4302316866-35-
31\check_images\35568                             1800.00 USD.pdf                                 89533      5/15/2023 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-21__804350_item-18_4302325824-18-
31\check_images\35568                             1800.00 USD.pdf                                 93563       6/14/2023 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-21__819440_item-30_4302334963-30-
31\check_images\35568                             1800.00 USD.pdf                                 91442      7/18/2023 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-21__832060_item-36_4302343392-36-
31\check_images\35568                             1800.00 USD.pdf                                 89638      8/15/2023 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-21__846333_item-15_4302352116-15-
31\check_images\35568                             1800.00 USD.pdf                                 81618       9/19/2023 9:37



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-21__858409_item-10_4302360930-10-
31\check_images\35568                             1800.00 USD.pdf                                 83716     10/16/2023 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-21__872368_item-27_4302369485-27-
31\check_images\35568                             1800.00 USD.pdf                                 83811      11/16/2023 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-21__886115_item-9_4302378123-9-
31\check_images\35568                             1800.00 USD.pdf                                 72923     12/18/2023 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-21__898471_item-6_4302386760-6-
31\check_images\35568                             1800.00 USD.pdf                                 90439      1/16/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-21__911986_item-41_4302395392-41-
31\check_images\35568                             1800.00 USD.pdf                                101805      2/15/2024 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-21__925279_item-1_4302403912-1-
31\check_images\35568                             1800.00 USD.pdf                                 55778      3/18/2024 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-21__938390_item-42_4302412400-42-
31\check_images\35568                             1800.00 USD.pdf                                 99348      4/16/2024 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-21__950494_item-21_4302420829-21-
31\check_images\35568                             1800.00 USD.pdf                                 72253      5/13/2024 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2021-01-01__416256_2265_48_10.pdf              143389      12/30/2020 6:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2021-02-01__428674_2265_47_32.pdf               97881      1/29/2021 14:07



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2021-03-01__439861_2265_51_18.pdf      108408       2/26/2021 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2021-04-01__453254_2265_66_5.pdf       117926       3/30/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2021-05-01__462026_2265_39_9.pdf        95215       4/26/2021 4:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2021-06-01__476419_2265_1_32.pdf       151392        6/1/2021 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2021-07-01__486875_2265_51_19.pdf      105814       6/25/2021 6:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2021-08-01__499850_2265_50_39.pdf       68167       7/28/2021 6:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2021-09-01__515150_2265_51_10.pdf       67854       8/30/2021 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2021-10-01__530702_2265_50_36.pdf       65684       9/30/2021 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2021-11-01__542738_2265_2_6.pdf         64662       11/1/2021 6:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2021-12-01__555039_2265_56_5.pdf        64334      11/29/2021 6:43



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1313 of
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2022-01-01__565978_2265_47_36.pdf                66394     12/29/2021 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2022-02-01__579925_2265_48_8.pdf                 73019      1/28/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2022-03-01__593330_2265_4_10.pdf                 74063       3/2/2022 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2022-04-01__610022_2265_49_9.pdf                129215      3/31/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2022-05-01__623662_2265_46_15.pdf                93815      4/28/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2022-06-01__637754_2265_50_1.pdf                125081      5/31/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2022-07-01__648470_2265_42_26.pdf                82001      6/24/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2022-08-01__664118_2265_51_38.pdf                65741       7/29/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2022-09-01__675360_2265_46_37.pdf                70620       8/26/2022 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2022-10-01__689835_item-137_2265_38_42.pdf      109765      9/26/2022 10:28



                                                            1312
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1314 of
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2022-11-01__703459_item-48_2265_41_16.pdf        90058     10/28/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2022-12-01__716736_item-64_2265_38_28.pdf        64792     11/28/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2023-01-01__733865_item-80_2265_11_35.pdf        67078       1/6/2023 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2023-02-01__742605_item-41_2265_48_16.pdf        66216       1/30/2023 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2023-03-01__757517_item-196_2265_51_19.pdf       72346      2/27/2023 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2023-04-01__768446_item-32_2265_43_2.pdf         67484      3/27/2023 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2023-05-01__782795_item-23_2265_43_10.pdf        67217       4/27/2023 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2023-06-01__795346_item-77_2265_44_41.pdf        67375      5/26/2023 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2023-07-01__809626_item-74_2265_39_4.pdf         98761      6/26/2023 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2023-08-01__822617_item-19_2265_44_10.pdf        89523       7/27/2023 9:45



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1315 of
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2023-09-01__836930_item-187_2265_48_23.pdf       68685       8/28/2023 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2023-10-01__849952_item-78_2265_41_10.pdf        73057      9/27/2023 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2023-11-01__864056_item-212_2265_56_6.pdf        67250     10/30/2023 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2023-12-01__876011_item-72_2265_41_10.pdf        71577      11/28/2023 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2024-01-01__889131_item-118_2265_44_13.pdf       71613     12/26/2023 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2024-02-01__903015_item-73_2265_51_5.pdf         67991       1/29/2024 8:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2024-03-01__915354_item-37_2265_34_37.pdf        71501       2/26/2024 8:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2024-04-01__929948_item-21_2265_54_21.pdf        79416      3/29/2024 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35586                             2024-05-01__945723_item-82_2265_3_13.pdf         76424       5/1/2024 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2021-01-01__418502_2558_1_9.pdf                  92856       1/4/2021 17:42



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               All Paths/Locations                                Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2021-02-01__430147_2558_3_5.pdf       100511       2/2/2021 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2021-03-01__442843_2558_1_11.pdf       96201       3/2/2021 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2021-04-01__454648_2558_16_1.pdf       96340       4/1/2021 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2021-05-01__466924_2558_17_2.pdf       93642       5/4/2021 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2021-06-01__478599_2558_1_8.pdf        97978       6/2/2021 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2021-07-01__496640_2558_7_2.pdf        97292      7/21/2021 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2021-08-01__502790_2558_1_6.pdf        96518       8/3/2021 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2021-09-01__518551_2558_9_9.pdf        93466        9/2/2021 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2021-10-01__533879_2558_1_9.pdf        99387      10/6/2021 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2021-11-01__544248_2558_2_1.pdf        97817      11/3/2021 11:02



                                                            1315
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               All Paths/Locations                                Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2021-12-01__556800_2558_1_1.pdf        86330      12/2/2021 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2022-01-01__569337_2558_1_7.pdf        86157       1/4/2022 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2022-02-01__582117_2558_1_8.pdf        85029       2/3/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2022-03-01__593518_2558_1_13.pdf      125033       3/2/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2022-04-01__610809_2558_1_8.pdf       101038       4/1/2022 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2022-05-01__627051_2558_2_8.pdf       117198       5/5/2022 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2022-06-01__639207_2558_1_8.pdf       104934       6/2/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2022-07-01__654178_2558_1_7.pdf        81200       7/6/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2022-08-01__667073_2558_2_8.pdf        99069       8/3/2022 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2022-09-01__679365_2558_11_6.pdf       83242       9/1/2022 10:27



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2022-10-01__694233_item-9_2558_1_9.pdf          99026      10/4/2022 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2022-11-01__707032_item-14_2558_12_7.pdf        84326      11/3/2022 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2022-12-01__723553_item-8_2558_3_8.pdf          97854      12/14/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2023-01-01__733434_item-9_2558_3_9.pdf         102675       1/6/2023 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2023-02-01__746058_item-12_2558_11_12.pdf       93933       2/2/2023 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2023-03-01__759375_item-1_2558_1_1.pdf          96895       3/2/2023 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2023-04-01__773666_item-8_2558_1_8.pdf          81986       4/4/2023 18:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2023-05-01__787172_item-1_2558_3_1.pdf         100632        5/4/2023 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2023-06-01__800771_item-1_2558_1_1.pdf          95650       6/2/2023 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2023-07-01__814315_item-8_2558_1_8.pdf          98320       7/5/2023 17:17



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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2023-08-01__830368_item-8_2558_4_8.pdf         93937      8/10/2023 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2023-09-01__841973_item-8_2558_1_8.pdf         82090       9/6/2023 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2023-10-01__854678_item-1_2558_3_1.pdf         92353      10/5/2023 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2023-11-01__868620_item-9_2558_2_9.pdf         89313       11/8/2023 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2023-12-01__913710_3740395064.pdf             156450      2/21/2024 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2024-01-01__920844_item-13_2558_3_7.pdf        95122        3/6/2024 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2024-02-01__944774_item-14_2558_12_8.pdf       83566        5/1/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2024-03-01__923373_item-9_2558_2_7.pdf         88519      3/12/2024 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35687                             2024-04-01__933336_item-13_2558_3_9.pdf       101553       4/3/2024 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2021-01-01__418932_6238_1_6.pdf                69718       1/4/2021 17:42



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               All Paths/Locations                                Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2021-02-01__431390_6238_4_1.pdf       64442        2/4/2021 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2021-03-01__443032_6238_2_5.pdf       67145       3/3/2021 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2021-04-01__455416_chk.pdf            59564       4/5/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2021-05-01__466898_6238_1_2.pdf       66925       5/4/2021 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2021-06-01__479067_6238_3_1.pdf       63874       6/3/2021 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2021-07-01__491941_6238_1_2.pdf       67560       7/7/2021 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2021-08-01__503247_6238_2_1.pdf       66281       8/4/2021 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2021-09-01__518583_6238_7_1.pdf       64263       9/2/2021 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2021-10-01__533884_6238_1_1.pdf       68094      10/6/2021 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2021-11-01__544401_6238_2_1.pdf       67444      11/3/2021 11:02



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1321 of
                                       3467



               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2021-12-01__557915_10925891.pdf              61623      12/7/2021 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2022-01-01__569373_6238_1_2.pdf              65575       1/4/2022 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2022-02-01__582465_10941122.pdf              60053       2/4/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2022-03-01__594570_10946737.pdf              60173       3/7/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2022-04-01__614277_10951922.pdf              63528       4/8/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2022-05-01__627056_6238_2_1.pdf              64156       5/5/2022 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2022-06-01__641740_6238_2_1.pdf              64994       6/8/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2022-07-01__654233_10966928.pdf              60030       7/6/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2022-08-01__667920_10972027.pdf              61067       8/5/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2022-09-01__682591_item-3_6238_1_1.pdf       66153       9/8/2022 15:37



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2022-10-01__694240_item-15_6238_1_5.pdf       65332      10/4/2022 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2022-11-01__707062_10987869.pdf               61147      11/3/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2022-12-01__721486_item-5_6238_1_5.pdf        65166      12/8/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2023-01-01__733435_item-10_6238_1_1.pdf       65961       1/6/2023 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2023-02-01__746063_item-16_6238_5_3.pdf       64498       2/2/2023 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2023-03-01__758338_item-5_6238_4_2.pdf        64786       3/1/2023 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2023-04-01__773667_item-9_6238_1_1.pdf        64409       4/4/2023 18:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2023-05-01__786445_item-8_6238_1_5.pdf        65322       5/3/2023 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2023-06-01__800779_item-3_6238_1_1.pdf        63108       6/5/2023 17:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2023-07-01__814317_item-9_6238_1_1.pdf        65854       7/5/2023 17:17



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2023-08-01__826946_item-2_6238_1_1.pdf          64969       8/2/2023 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2023-09-01__841941_11050697.pdf                 62330       9/6/2023 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2023-10-01__946493_item-1_6238_1_1.pdf          65898        5/3/2024 8:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2023-11-01__868618_item-10_6238_2_1.pdf         65881       11/8/2023 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2023-12-01__913067_item-1_6238_1_1.pdf          66945      2/20/2024 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2024-01-01__920794_item-1_6238_1_1.pdf          64505       3/5/2024 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2024-02-01__921541_2 5 2024 new.pdf             85678      2/26/2024 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\35688                             2024-03-01__923355_item-13_6238_1_1.pdf         57124      3/12/2024 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01 2024-04-
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 01__934197_ExportedData_20240405_0942593
31\check_images\35688                             31.pdf                                          61039        4/5/2024 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-16__898330_item-23_1000322841-23-
31\check_images\35898                             1500.00 USD.pdf                                 63931      1/16/2024 15:46



                                                            1322
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-16__910818_item-34_1000328081-34-
31\check_images\35898                             1500.00 USD.pdf                                 73510      2/12/2024 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-16__925187_item-33_1000333353-33-
31\check_images\35898                             1500.00 USD.pdf                                 58846      3/18/2024 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-16__937057_item-25_1000338695-25-
31\check_images\35898                             1500.00 USD.pdf                                 60463      4/15/2024 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-16__950730_item-36_1000343548-36-
31\check_images\35898                             1500.00 USD.pdf                                 48924       5/13/2024 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-21__427479_1000109242-38-
31\check_images\36116                             1500.00.pdf                                     69647      1/26/2021 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-21__436915_1000121649-40-
31\check_images\36116                             1500.00.pdf                                     68266      2/18/2021 19:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-21__453957_1000127774-11-
31\check_images\36116                             1500.00.pdf                                     67998       3/31/2021 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-21__460628_1000133827-14-
31\check_images\36116                             1500.00.pdf                                     64349       4/19/2021 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-21__475925_1000140029-33-
31\check_images\36116                             1500.00.pdf                                     67600      5/28/2021 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-21__484928_1000146151-4-1500.00
31\check_images\36116                             USD.pdf                                         82858       6/22/2021 9:12



                                                            1323
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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-21__495503_1000152160-29-1500.00
31\check_images\36116                             USD.pdf                                        75867       7/19/2021 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-21__510123_1000158373-31-1500.00
31\check_images\36116                             USD.pdf                                        72145       8/17/2021 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-21__526001_1000164448-43-1500.00
31\check_images\36116                             USD.pdf                                        68094       9/21/2021 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-21__539642_1000170295-20-1500.00
31\check_images\36116                             USD.pdf                                        65591     10/26/2021 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-21__551644_1000176514-14-1500.00
31\check_images\36116                             USD.pdf                                        73321     11/22/2021 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-21__568173_1000182490-43-1500.00
31\check_images\36116                             USD.pdf                                        73780        1/3/2022 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-21__580991_1000188501-14-1500.00
31\check_images\36116                             USD.pdf                                        77265       2/1/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-21__605140_1000200281-1-1500.00
31\check_images\36116                             USD.pdf                                        66627      3/24/2022 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-21__609237_1000194442-32-1500.00
31\check_images\36116                             USD.pdf                                        82886      3/29/2022 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-21__618229_1000205929-44-1500.00
31\check_images\36116                             USD.pdf                                        64316      4/18/2022 16:47



                                                            1324
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1326 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-21__631499_1000211927-6-1500.00
31\check_images\36116                             USD.pdf                                         73987      5/17/2022 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-21__646439_1000217757-37-1500.00
31\check_images\36116                             USD.pdf                                         62102      6/21/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-21__658422_1000223298-30-1500.00
31\check_images\36116                             USD.pdf                                         70463       7/18/2022 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-21__674144_1000229221-9-1500.00
31\check_images\36116                             USD.pdf                                         68865      8/23/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-21__686561_item-10_1000234828-10-
31\check_images\36116                             1500.00 USD.pdf                                 63875      9/19/2022 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-21__699117_item-42_1000240585-42-
31\check_images\36116                             1500.00 USD.pdf                                 64576     10/17/2022 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-21__712447_item-38_1000246272-38-
31\check_images\36116                             1500.00 USD.pdf                                 78450     11/17/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-21__724328_item-36_1000251812-36-
31\check_images\36116                             1500.00 USD.pdf                                 61882     12/14/2022 18:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-21__739866_item-18_1000257509-18-
31\check_images\36116                             1500.00 USD.pdf                                 71745       1/23/2023 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-21__752691_item-32_1000263162-32-
31\check_images\36116                             1500.00 USD.pdf                                 74334      2/21/2023 12:37



                                                            1325
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1327 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-21__765347_item-1_1000268676-1-
31\check_images\36116                             1500.00 USD.pdf                                 80155       3/20/2023 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-21__778581_item-6_1000274165-6-
31\check_images\36116                             1500.00 USD.pdf                                 62842       4/18/2023 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-21__791757_item-6_1000279690-6-
31\check_images\36116                             1500.00 USD.pdf                                 57949      5/16/2023 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-21__806589_item-14_1000285102-14-
31\check_images\36116                             1500.00 USD.pdf                                 91009      6/21/2023 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-21__819310_item-5_1000290623-5-
31\check_images\36116                             1500.00 USD.pdf                                 65447       7/18/2023 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-21__839242_item-23_1000296100-23-
31\check_images\36116                             1500.00 USD.pdf                                 59188      8/31/2023 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-21__845005_item-34_1000301368-34-
31\check_images\36116                             1500.00 USD.pdf                                 62460      9/15/2023 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-21__860133_item-14_1000306971-14-
31\check_images\36116                             1500.00 USD.pdf                                 53397      10/20/2023 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-21__873418_item-11_1000312473-11-
31\check_images\36116                             1500.00 USD.pdf                                 60316      11/20/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-21__883629_item-20_1000317722-20-
31\check_images\36116                             1500.00 USD.pdf                                 50351     12/12/2023 12:12



                                                            1326
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1328 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-21__899359_item-8_1000323234-8-
31\check_images\36116                             1500.00 USD.pdf                                 52946      1/17/2024 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-21__912578_item-41_1000328496-41-
31\check_images\36116                             1500.00 USD.pdf                                 50758       2/20/2024 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-21__925965_item-13_1000333674-13-
31\check_images\36116                             1500.00 USD.pdf                                 57817      3/19/2024 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-21__945650_item-8_1000339081-8-
31\check_images\36116                             1500.00 USD.pdf                                 52727       5/1/2024 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-21__953400_item-21_1000344336-21-
31\check_images\36116                             1500.00 USD.pdf                                 54067      5/21/2024 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-01__417521_1000111301-45-
31\check_images\36123                             266.01.pdf                                      66098     12/31/2020 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-01__429499_1000117607-38-
31\check_images\36123                             266.01.pdf                                      60670       2/1/2021 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-01__445842_1000122564-36-
31\check_images\36123                             266.01.pdf                                      77261       3/11/2021 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-01__452361_1000128697-17-
31\check_images\36123                             266.01.pdf                                      67835      3/30/2021 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-01__463188_1000136056-17-
31\check_images\36123                             266.01.pdf                                      76428      4/27/2021 13:30



                                                            1327
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1329 of
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\36123                             2021-06-01__477117_1000142188-6-266.01.pdf       79500       6/1/2021 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-01__487226_1000147079-11-273.99
31\check_images\36123                             USD.pdf                                          72299      6/28/2021 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-01__498517_1000154396-23-273.99
31\check_images\36123                             USD.pdf                                          61344       7/27/2021 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-01__514487_1000159308-1-273.99
31\check_images\36123                             USD.pdf                                          75659       8/30/2021 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-01__529362_1000166541-16-273.99
31\check_images\36123                             USD.pdf                                          63538      9/28/2021 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\36123                             2021-11-01__545998_43.pdf                       223941      11/5/2021 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-01__554154_1000177460-1-273.99
31\check_images\36123                             USD.pdf                                          70181     11/29/2021 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-01__569457_1000184654-44-273.99
31\check_images\36123                             USD.pdf                                          67995        1/5/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-01__583643_1000190617-18-273.99
31\check_images\36123                             USD.pdf                                          65927       2/7/2022 23:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-01__597664_1000196490-39-273.99
31\check_images\36123                             USD.pdf                                          57036      3/14/2022 23:01



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-01__609151_1000202320-1-273.99
31\check_images\36123                             USD.pdf                                         68762      3/30/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-01__623174_1000208144-10-273.99
31\check_images\36123                             USD.pdf                                         60827       4/28/2022 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-01__637009_1000212832-11-273.99
31\check_images\36123                             USD.pdf                                         64664      5/31/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-01__650051_1000219743-1-282.21
31\check_images\36123                             USD.pdf                                         69302       6/28/2022 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-01__663865_1000225486-5-282.21
31\check_images\36123                             USD.pdf                                         69705       7/29/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-01__675484_1000230105-15-282.21
31\check_images\36123                             USD.pdf                                         68386      8/26/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-01__689223_item-28_1000236890-28-
31\check_images\36123                             282.21 USD.pdf                                  66235      9/27/2022 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-01__703193_item-1_1000242603-1-
31\check_images\36123                             282.21 USD.pdf                                  68404     10/28/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-01__715192_item-21_1000247134-21-
31\check_images\36123                             282.21 USD.pdf                                  62657     11/28/2022 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-01__730024_item-39_1000253891-39-
31\check_images\36123                             282.21 USD.pdf                                  63366       1/3/2023 11:54



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-01__742471_item-18_1000258394-18-
31\check_images\36123                             282.21 USD.pdf                                  60729      1/30/2023 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-01__760529_item-33_1000263958-33-
31\check_images\36123                             282.21 USD.pdf                                  67140        3/7/2023 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-01__769236_item-32_1000270586-32-
31\check_images\36123                             282.21 USD.pdf                                  72116      3/28/2023 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-01__788268_item-37_1000276128-37-
31\check_images\36123                             282.21 USD.pdf                                  64572        5/8/2023 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-01__796457_item-25_1000280553-25-
31\check_images\36123                             282.21 USD.pdf                                  58099      5/30/2023 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__809483_item-34_1000287110-34-
31\check_images\36123                             290.68 USD.pdf                                  89598      6/27/2023 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__833201_item-14_1000292577-14-
31\check_images\36123                             290.68 USD.pdf                                  58522       8/18/2023 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-01__837136_item-7_1000298035-7-
31\check_images\36123                             290.68 USD.pdf                                  67929       8/29/2023 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-01__854133_item-3_1000303473-3-
31\check_images\36123                             290.68 USD.pdf                                  57395      10/4/2023 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-01__865016_item-44_1000308909-44-
31\check_images\36123                             290.68 USD.pdf                                  54092     10/31/2023 13:57



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               All Paths/Locations                                 Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-01__876875_item-45_1000314378-45-
31\check_images\36123                             290.68 USD.pdf                                  48629     11/27/2023 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-01__888024_item-30_1000318733-30-
31\check_images\36123                             290.68 USD.pdf                                  51009     12/26/2023 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-01__902748_item-10_1000324096-10-
31\check_images\36123                             290.68 USD.pdf                                  58983      1/29/2024 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-01__916243_item-34_1000329404-34-
31\check_images\36123                             290.68 USD.pdf                                  51298       2/27/2024 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-01__930294_item-29_1000335691-29-
31\check_images\36123                             290.68 USD.pdf                                  65981       4/1/2024 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-01__942344_item-11_1000340947-11-
31\check_images\36123                             290.68 USD.pdf                                  46936      4/29/2024 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-17__458839_Wire Payment
31\check_images\36973                             Confirmation 245822.96.pdf                     908508      4/13/2021 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-17__655632_WMS Lockbox 7 7
31\check_images\36973                             2022.pdf                                       124630      7/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\36973                             2023-03-17__788645_Vega.pdf                    202053       5/9/2023 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\36973                             2024-03-17__933899_WMS Payment.pdf             373929        4/4/2024 7:04



                                                            1331
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               All Paths/Locations                                 Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-15__721405_item-34_1000250548-34-
31\check_images\37796                             34701.48 USD.pdf                                68293      12/8/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-15__721407_item-34_1000250548-34-
31\check_images\37796                             34701.48 USD.pdf                                68293      12/8/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-15__721408_item-34_1000250548-34-
31\check_images\37796                             34701.48 USD.pdf                                68293      12/8/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-15__721409_item-34_1000250548-34-
31\check_images\37796                             34701.48 USD.pdf                                68293      12/8/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-15__721410_item-34_1000250548-34-
31\check_images\37796                             34701.48 USD.pdf                                68293      12/8/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-15__721411_item-34_1000250548-34-
31\check_images\37796                             34701.48 USD.pdf                                68293      12/8/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-15__721413_item-34_1000250548-34-
31\check_images\37796                             34701.48 USD.pdf                                68293      12/8/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-15__721414_item-34_1000250548-34-
31\check_images\37796                             34701.48 USD.pdf                                68293      12/8/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-15__721415_item-34_1000250548-34-
31\check_images\37796                             34701.48 USD.pdf                                68293      12/8/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-15__721416_item-34_1000250548-34-
31\check_images\37796                             34701.48 USD.pdf                                68293      12/8/2022 11:19



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1334 of
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               All Paths/Locations                                 Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-15__721417_item-34_1000250548-34-
31\check_images\37796                             34701.48 USD.pdf                                68293      12/8/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-15__721419_item-34_1000250548-34-
31\check_images\37796                             34701.48 USD.pdf                                68293      12/8/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-15__721420_item-34_1000250548-34-
31\check_images\37796                             34701.48 USD.pdf                                68293      12/8/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-15__721422_item-34_1000250548-34-
31\check_images\37796                             34701.48 USD.pdf                                68293      12/8/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-15__721424_item-34_1000250548-34-
31\check_images\37796                             34701.48 USD.pdf                                68293      12/8/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-15__721425_item-34_1000250548-34-
31\check_images\37796                             34701.48 USD.pdf                                68293      12/8/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-15__721426_item-34_1000250548-34-
31\check_images\37796                             34701.48 USD.pdf                                68293      12/8/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-15__721428_item-34_1000250548-34-
31\check_images\37796                             34701.48 USD.pdf                                68293      12/8/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-15__721430_item-34_1000250548-34-
31\check_images\37796                             34701.48 USD.pdf                                68293      12/8/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-15__721431_item-34_1000250548-34-
31\check_images\37796                             34701.48 USD.pdf                                68293      12/8/2022 11:19



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1335 of
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               All Paths/Locations                                 Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-15__721432_item-34_1000250548-34-
31\check_images\37796                             34701.48 USD.pdf                                68293      12/8/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-15__721433_item-34_1000250548-34-
31\check_images\37796                             34701.48 USD.pdf                                68293      12/8/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-15__721434_item-34_1000250548-34-
31\check_images\37796                             34701.48 USD.pdf                                68293      12/8/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-15__722157_item-25_1000250632-25-
31\check_images\37796                             1492.62 USD.pdf                                 71660     12/12/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-15__734669_item-10_1000256397-10-
31\check_images\37796                             1492.62 USD.pdf                                 54899       1/9/2023 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-15__749161_item-9_1000261942-9-
31\check_images\37796                             1492.62 USD.pdf                                 79045       2/13/2023 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-15__762671_item-3_1000267487-3-
31\check_images\37796                             1492.62 USD.pdf                                 83438      3/13/2023 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-15__776284_item-7_1000273077-7-
31\check_images\37796                             1492.62 USD.pdf                                 59475      4/11/2023 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-15__790661_item-26_1000278597-26-
31\check_images\37796                             1492.62 USD.pdf                                 63255      5/15/2023 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-15__802765_item-42_1000283955-42-
31\check_images\37796                             1492.62 USD.pdf                                 68026      6/12/2023 10:10



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-15__816509_item-18_1000289499-18-
31\check_images\37796                             1537.40 USD.pdf                                 78208      7/11/2023 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-15__831369_item-4_1000295049-4-
31\check_images\37796                             1537.40 USD.pdf                                 57675      8/14/2023 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-15__842932_item-5_1000300286-5-
31\check_images\37796                             1537.40 USD.pdf                                 60798      9/11/2023 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-15__858518_item-30_1000305914-30-
31\check_images\37796                             1537.40 USD.pdf                                 63813      10/16/2023 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-15__869480_item-13_1000311314-13-
31\check_images\37796                             1537.40 USD.pdf                                 61757     11/13/2023 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-15__883240_item-45_1000316785-45-
31\check_images\37796                             1537.40 USD.pdf                                 38138      12/11/2023 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-15__898199_item-12_1000322197-12-
31\check_images\37796                             1537.40 USD.pdf                                 55046      1/16/2024 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__909754_item-2_1000327386-2-
31\check_images\37796                             1537.40 USD.pdf                                 52703      2/12/2024 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-15__922832_item-26_1000332791-26-
31\check_images\37796                             1537.40 USD.pdf                                 46708       3/11/2024 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-15__937210_item-2_1000338053-2-
31\check_images\37796                             1537.40 USD.pdf                                 49679      4/15/2024 13:07



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-15__949617_item-9_1000343204-9-
31\check_images\37796                             1537.40 USD.pdf                                  49693      5/13/2024 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\3793                              2021-01-22__424287_4301999217-8-700.00.pdf       83469      1/19/2021 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-22__435886_4302010181-15-
31\check_images\3793                              700.00.pdf                                       88666      2/16/2021 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-22__447917_4302021061-10-
31\check_images\3793                              700.00.pdf                                       88705      3/16/2021 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\3793                              2021-04-22__461320_12.pdf                       207729       4/21/2021 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-05-22__470585_4302042938-43-
31\check_images\3793                              700.00.pdf                                       85879       5/14/2021 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-22__482651_4302053674-34-700.00
31\check_images\3793                              USD.pdf                                          82122      6/14/2021 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\3793                              2021-07-22__495370_14.pdf                       234517      7/16/2021 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-22__510026_4302075099-24-700.00
31\check_images\3793                              USD.pdf                                          90997       8/17/2021 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-22__521817_4302086026-13-700.00
31\check_images\3793                              USD.pdf                                          88639      9/13/2021 14:06



                                                            1336
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-22__536839_4302096615-38-700.00
31\check_images\3793                              USD.pdf                                       83308     10/15/2021 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-22__549701_4302107070-31-700.00
31\check_images\3793                              USD.pdf                                       86375     11/16/2021 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-22__563236_4302117473-3-700.00
31\check_images\3793                              USD.pdf                                       81952      12/20/2021 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-22__577416_4302127864-11-700.00
31\check_images\3793                              USD.pdf                                       83391      1/24/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-22__594777_4302138110-23-700.00
31\check_images\3793                              USD.pdf                                       84231       3/7/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-22__602630_4302148245-29-700.00
31\check_images\3793                              USD.pdf                                       84514      3/21/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-22__617757_4302158335-42-700.00
31\check_images\3793                              USD.pdf                                       79690       4/18/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-22__631545_4302168416-6-700.00
31\check_images\3793                              USD.pdf                                       84237      5/16/2022 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-22__644436_4302178514-27-700.00
31\check_images\3793                              USD.pdf                                       95712      6/14/2022 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-22__665377_4302188564-18-700.00
31\check_images\3793                              USD.pdf                                       66341       8/1/2022 15:50



                                                            1337
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1339 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-22__671377_4302198583-16-700.00
31\check_images\3793                              USD.pdf                                         98606       8/15/2022 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-22__685588_item-11_4302208449-11-
31\check_images\3793                              700.00 USD.pdf                                 105138      9/16/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-22__697940_item-8_4302218122-8-
31\check_images\3793                              700.00 USD.pdf                                  68346      10/14/2022 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-22__711255_item-4_4302227919-4-
31\check_images\3793                              700.00 USD.pdf                                  78259     11/15/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-22__726727_item-10_4302237577-10-
31\check_images\3793                              700.00 USD.pdf                                  78695     12/21/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-22__736593_item-18_4302247064-18-
31\check_images\3793                              700.00 USD.pdf                                  77741       1/12/2023 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-22__750662_item-17_4302256727-17-
31\check_images\3793                              700.00 USD.pdf                                  79864      2/14/2023 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-22__764015_item-1_4302266281-1-
31\check_images\3793                              700.00 USD.pdf                                  60091      3/14/2023 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-22__778808_item-8_4302275781-8-
31\check_images\3793                              700.00 USD.pdf                                  81520      4/18/2023 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-22__792066_item-5_4302285263-5-
31\check_images\3793                              700.00 USD.pdf                                  92255       5/17/2023 9:15



                                                            1338
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1340 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-22__804339_item-13_4302294705-13-
31\check_images\3793                              700.00 USD.pdf                                  91541       6/14/2023 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-22__819590_item-2_4302304067-2-
31\check_images\3793                              700.00 USD.pdf                                  97976       7/19/2023 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-22__832430_item-25_4302313386-25-
31\check_images\3793                              700.00 USD.pdf                                  82622      8/16/2023 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-22__846259_item-5_4302322741-5-
31\check_images\3793                              700.00 USD.pdf                                  84382       9/19/2023 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-22__858967_item-44_4302331800-44-
31\check_images\3793                              700.00 USD.pdf                                  82556     10/16/2023 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-22__872373_item-13_4302341065-13-
31\check_images\3793                              700.00 USD.pdf                                  69582      11/16/2023 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-22__886982_item-1_4302350286-1-
31\check_images\3793                              700.00 USD.pdf                                  67882      12/20/2023 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-22__899269_item-21_4302359366-21-
31\check_images\3793                              700.00 USD.pdf                                  66766      1/17/2024 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-22__911956_item-40_4302368395-40-
31\check_images\3793                              700.00 USD.pdf                                  97139      2/15/2024 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-22__925792_item-9_4302377455-9-
31\check_images\3793                              700.00 USD.pdf                                  73299       3/19/2024 9:24



                                                            1339
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1341 of
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               All Paths/Locations                                   Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-22__939677_item-2_4302386367-2-
31\check_images\3793                              700.00 USD.pdf                                       72303      4/19/2024 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-22__951423_item-26_4302395353-26-
31\check_images\3793                              700.00 USD.pdf                                       67633      5/15/2024 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-01-29__467576_EquiTrust Payments Never
31\check_images\3827                              Sent to EquiTrust 3.31.21 floated 05072021.pdf       63439       5/5/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-02-28__467577_EquiTrust Payments Never
31\check_images\3827                              Sent to EquiTrust 3.31.21 floated 05072021.pdf       63439       5/5/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-03-29__467578_EquiTrust Payments Never
31\check_images\3827                              Sent to EquiTrust 3.31.21 floated 05072021.pdf       63439       5/5/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-04-29__500347_90 day floats 7-29-
31\check_images\3827                              2021.pdf                                             86811      7/29/2021 20:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\3827                              2021-05-29__566923_splcss II 12-29-2021.pdf         232803     12/29/2021 22:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\3827                              2021-06-29__567036_splcss II 12-29-2021.pdf         232803     12/29/2021 22:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\3827                              2021-07-29__567409_splcss II 12-29-2021.pdf         232803     12/29/2021 22:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\3827                              2021-08-29__565045_979444-6-527.99 USD.pdf          101826     12/27/2021 15:10



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               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\3827                              2021-09-29__567769_splcss II 12-29-2021.pdf       232803     12/29/2021 22:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\3827                              2021-10-29__564942_979445-5-558.83 USD.pdf         94146     12/27/2021 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\3827                              2021-11-29__608252_90day float 3-29-2022.pdf       88526      3/29/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-29__569823_979910-40-558.83
31\check_images\3827                              USD.pdf                                            67597        1/5/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-29__583658_981762-25-558.83
31\check_images\3827                              USD.pdf                                            79931       2/7/2022 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-28__597383_983523-29-558.83
31\check_images\3827                              USD.pdf                                            79520      3/14/2022 17:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\3827                              2022-03-29__606474_985372-8-558.83 USD.pdf         94427      3/28/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-29__627867_987227-15-558.83
31\check_images\3827                              USD.pdf                                            88051        5/9/2022 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\3827                              2022-05-29__636274_988989-7-558.83 USD.pdf         91888      5/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-29__650398_990558-21-558.83
31\check_images\3827                              USD.pdf                                            56875      6/28/2022 13:45



                                                              1341
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-29__661641_992176-45-558.83
31\check_images\3827                              USD.pdf                                         54258      7/25/2022 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-29__675978_993809-19-558.83
31\check_images\3827                              USD.pdf                                         83137      8/29/2022 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-29__688034_item-16_995432-16-
31\check_images\3827                              558.83 USD.pdf                                  79120      9/26/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-29__700819_item-14_997069-14-
31\check_images\3827                              590.59 USD.pdf                                  83970     10/24/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-29__716981_item-3_998646-3-590.59
31\check_images\3827                              USD.pdf                                         77882      11/30/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-29__728297_item-33_1000191-33-
31\check_images\3827                              590.59 USD.pdf                                  80308     12/27/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-29__741662_item-45_1001866-45-
31\check_images\3827                              590.59 USD.pdf                                  81084      1/26/2023 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-28__755839_item-45_1003426-45-
31\check_images\3827                              590.59 USD.pdf                                  81270      2/27/2023 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-29__768432_item-28_1004944-28-
31\check_images\3827                              590.59 USD.pdf                                  71866      3/27/2023 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-29__782043_item-35_1006505-35-
31\check_images\3827                              590.59 USD.pdf                                  74548       4/26/2023 7:29



                                                            1342
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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-29__795521_item-41_1008112-41-
31\check_images\3827                              590.59 USD.pdf                                 86144       5/26/2023 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\3827                              2023-06-29__877444_BOI 11-28-2023.pdf         102934     11/28/2023 20:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\3827                              2023-07-29__877636_BOI 11-28-2023.pdf         102934     11/28/2023 20:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\3827                              2023-08-29__895823_BOI Nov23.pdf               50587       1/9/2024 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\3827                              2023-09-29__878532_BOI 11-30-2023.pdf          90804     11/30/2023 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\3827                              2023-10-29__895825_BOI Nov23.pdf               50587       1/9/2024 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\3827                              2024-02-29__952191_BOI 5-2-2024.pdf            48067      5/16/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\3886                              2021-01-08__420276_4293355-36-380.04.pdf       57430       1/7/2021 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\3886                              2021-02-08__433461_4300812-11-391.44.pdf       66801       2/9/2021 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\3886                              2021-03-08__444971_4307921-8-391.44.pdf        71876       3/9/2021 19:05



                                                            1343
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1345 of
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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\3886                              2021-04-08__456178_4315015-4-391.44.pdf        56426       4/6/2021 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05-
31\check_images\3886                              2021-05-08__468541_4322157-23-391.44.pdf       54889       5/7/2021 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-06-08__480566_4329262-8-391.44
31\check_images\3886                              USD.pdf                                        59260       6/8/2021 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-07-08__492724_4336366-8-391.44
31\check_images\3886                              USD.pdf                                       105687      7/12/2021 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-08-08__505341_4343360-11-391.44
31\check_images\3886                              USD.pdf                                        54551       8/9/2021 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-09-08__519382_4350537-40-391.44
31\check_images\3886                              USD.pdf                                        62029       9/7/2021 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-10-08__533330_4357150-22-391.44
31\check_images\3886                              USD.pdf                                        53271      10/5/2021 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-11-08__548244_4364290-41-391.44
31\check_images\3886                              USD.pdf                                        59814     11/12/2021 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2021-12-08__560051_4371329-30-391.44
31\check_images\3886                              USD.pdf                                        95015     12/10/2021 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-01-08__576907_4377361-11-391.44
31\check_images\3886                              USD.pdf                                        57943      1/21/2022 13:55



                                                            1344
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1346 of
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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-02-08__594119_4384983-19-403.17
31\check_images\3886                              USD.pdf                                      51032        3/5/2022 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-03-08__600966_4391690-28-403.17
31\check_images\3886                              USD.pdf                                      53726      3/17/2022 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-04-08__614431_4398199-3-403.17
31\check_images\3886                              USD.pdf                                      51289       4/8/2022 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-08__628664_4405038-21-403.17
31\check_images\3886                              USD.pdf                                      54234      5/10/2022 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-08__641890_4411895-25-403.17
31\check_images\3886                              USD.pdf                                      57185       6/8/2022 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-08__654976_4418258-29-403.17
31\check_images\3886                              USD.pdf                                      56138       7/7/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-08__669126_4424996-9-403.17
31\check_images\3886                              USD.pdf                                      54979       8/9/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-08__681812_item-26_4431511-26-
31\check_images\3886                              403.17 USD.pdf                               53436       9/7/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-08__696160_item-27_4438014-27-
31\check_images\3886                              403.17 USD.pdf                               54122      10/11/2022 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-08__709391_item-17_4444500-17-
31\check_images\3886                              403.17 USD.pdf                               48597      11/11/2022 8:47



                                                            1345
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1347 of
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-08__720710_item-16_4450856-16-
31\check_images\3886                              403.17 USD.pdf                                   53361      12/7/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-08__734386_item-37_4456703-37-
31\check_images\3886                              403.17 USD.pdf                                   53398       1/9/2023 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-08__747767_item-27_4463971-27-
31\check_images\3886                              415.27 USD.pdf                                   55271       2/7/2023 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-08__761085_item-26_4470318-26-
31\check_images\3886                              415.27 USD.pdf                                   53664        3/8/2023 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-08__774890_item-28_4476658-28-
31\check_images\3886                              415.27 USD.pdf                                   51658       4/7/2023 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-08__787910_item-27_4483165-27-
31\check_images\3886                              415.27 USD.pdf                                   49740       5/8/2023 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-08__800995_item-21_4489631-21-
31\check_images\3886                              415.27 USD.pdf                                   54113       6/6/2023 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-08__815377_item-12_4496116-12-
31\check_images\3886                              415.27 USD.pdf                                   55510      7/10/2023 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-08__828734_item-8_4502409-8-415.27
31\check_images\3886                              USD.pdf                                          52012        8/7/2023 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-08__841667_item-35_4508537-35-
31\check_images\3886                              415.27 USD.pdf                                   53798       9/6/2023 14:47



                                                            1346
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1348 of
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-08__855562_item-12_4514890-12-
31\check_images\3886                              415.27 USD.pdf                                   50075     10/10/2023 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-08__868768_item-21_4521139-21-
31\check_images\3886                              415.27 USD.pdf                                   46370      11/8/2023 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-08__882144_item-12_4527110-12-
31\check_images\3886                              415.27 USD.pdf                                   50929      12/7/2023 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-08__895399_item-12_4533367-12-
31\check_images\3886                              415.27 USD.pdf                                   48293        1/9/2024 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-08__908941_item-21_4539954-21-
31\check_images\3886                              427.73 USD.pdf                                   47928        2/8/2024 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-08__920784_item-5_4546077-5-427.73
31\check_images\3886                              USD.pdf                                          44474        3/6/2024 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-08__935225_item-11_4552405-11-
31\check_images\3886                              427.73 USD.pdf                                   60888        4/9/2024 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-08__948218_item-16_4558664-16-
31\check_images\3886                              427.73 USD.pdf                                   48672        5/8/2024 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-05-15__632274_DRB Check Booking
31\check_images\38923                             Template Updated 5-18-2022.pdf                  176699      5/18/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-06-15__647266_DRB Check Booking
31\check_images\38923                             Template Updated 6-22-2022.pdf                  188411      6/22/2022 13:19



                                                            1347
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1349 of
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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-07-15__659906_DRB Check Booking
31\check_images\38923                             Template Updated 7-20-2022.pdf            192303      7/20/2022 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-08-15__674481_DRB Check Booking
31\check_images\38923                             Template Updated 8-24-2022.pdf            156062      8/24/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-09-15__687027_DRB Check Booking
31\check_images\38923                             Template Updated 9-21-2022.pdf            185984      9/21/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-10-15__701971_DRB Check Booking
31\check_images\38923                             Template Updated 10-26-2022.pdf           157049     10/26/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-11-15__714957_DRB Check Booking
31\check_images\38923                             Template Updated 11-28-2022.pdf           201812     11/28/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2022-12-15__726535_DRB Check Booking
31\check_images\38923                             Template Updated 12-21-2022.pdf           205972     12/21/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-01-15__741105_DRB Check Booking
31\check_images\38923                             Template Updated 1-25-2023.pdf            174622      1/25/2023 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-02-15__753713_DRB Check Booking
31\check_images\38923                             Template Updated 2-22-2023.pdf            188121      2/22/2023 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-03-15__766618_DRB Check Booking
31\check_images\38923                             Template Updated 3-22-2023.pdf            171363      3/22/2023 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-04-15__782296_DRB Check Booking
31\check_images\38923                             Template Updated 4-26-2023.pdf            169218      4/26/2023 13:18



                                                            1348
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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-05-15__794396_DRB Check Booking
31\check_images\38923                             Template Updated 5-24-2023.pdf            181428      5/24/2023 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-06-15__806944_DRB Check Booking
31\check_images\38923                             Template Updated 6-21-2023.pdf            187448      6/21/2023 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-15__821922_DRB Check Booking
31\check_images\38923                             Template Updated 7-26-2023.pdf            145522      7/26/2023 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-15__849900_DRB Check Booking
31\check_images\38923                             Template Updated 9-27-2023.pdf            153410      9/27/2023 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-09-15__850208_DRB Check Booking
31\check_images\38923                             Template Updated 9-27-2023.pdf            153410      9/27/2023 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-10-15__854454_DRB Check Booking
31\check_images\38923                             Template Updated 10-04-2023.pdf           202783      10/4/2023 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-11-15__874398_DRB Check Booking
31\check_images\38923                             Template Updated 11-22-2023.pdf           145529     11/22/2023 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-12-15__889230_DRB Check Booking
31\check_images\38923                             Template Updated 12-27-2023.pdf           153014     12/27/2023 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-01-15__901315_DRB Check Booking
31\check_images\38923                             Template Updated 1-24-2024.pdf            152789      1/24/2024 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-02-15__913998_DRB Check Booking
31\check_images\38923                             Template Updated 2-21-2024.pdf            188853      2/21/2024 12:34



                                                            1349
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1351 of
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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-03-15__929006_DRB Check Booking
31\check_images\38923                             Template Updated 3-27-2024.pdf            165350      3/27/2024 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-04-15__941048_DRB Check Booking
31\check_images\38923                             Template Updated 4-24-2024.pdf            162996      4/24/2024 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2024-05-15__953777_DRB Check Booking
31\check_images\38923                             Template Updated 5-22-2024.pdf            175513      5/22/2024 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-07-01__814035_DRB Check Booking
31\check_images\39019                             Template Updated 7-5-2023.pdf             230892       7/5/2023 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\Leadenhall Check
Image Request - EXTERNAL\SPLCSS III 2021-01-01
- 2024-05-31.zip\SPLCSS III 2021-01-01 - 2024-05- 2023-08-01__827155_DRB Check Booking
31\check_images\39019                             Template Updated 8-2-2023.pdf             207599       8/2/2023 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    64730.pdf                                  60793     11/29/2023 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    64738.pdf                                 111585     11/14/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    64761.pdf                                  42281     11/14/2023 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    64766.pdf                                  44780      11/27/2023 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    64767.pdf                                  60207     11/20/2023 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    64770.pdf                                  52066      11/29/2023 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    64868.pdf                                 103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    64881.pdf                                  72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    64891.pdf                                  77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    64904.pdf                               2291427       12/7/2023 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    64918.pdf                               2291427       12/7/2023 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                    64924.pdf                               2291427       12/7/2023 13:40




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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                64938.pdf                      2291427       12/7/2023 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                64945.pdf                      2527494       12/7/2023 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                64952.pdf                      2291427       12/7/2023 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                64958.pdf                      2291427       12/7/2023 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                64968.pdf                      2291427       12/7/2023 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                65009.pdf                      2291427       12/7/2023 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                65039.pdf                      2291427       12/7/2023 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                65292.pdf                        199326      12/7/2023 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                65360.pdf                        257773      12/7/2023 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                65998.pdf                        282933      12/7/2023 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                67348.pdf                         83358      12/7/2023 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                7050.pdf                          58689       11/8/2023 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                7079.pdf                          68600     11/30/2023 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                7145.pdf                          50095     11/27/2023 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS                8472.pdf                          34151      12/4/2023 11:00

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 13240.pdf                         82427      12/5/2023 18:50

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 17248.pdf                        280296     11/16/2023 14:15

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 17473.pdf                         36583     11/28/2023 13:06

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 18113.pdf                         30883      12/4/2023 13:07

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 18138.pdf                         83731      11/7/2023 10:15

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 18192.pdf                         72289     11/27/2023 10:47




                                                          1351
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1353 of
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             All Paths/Locations                            Unified Title   File Size   Primary Date/Time

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 18252.pdf                        243611       6/15/2023 9:39

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 18366.pdf                         42714     10/16/2023 15:53

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 18368.pdf                         71819       3/7/2023 15:04

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 18431.pdf                         81428     11/28/2023 12:20

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 18623.pdf                         52049     11/29/2023 11:21

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 18731.pdf                         42335     11/14/2023 11:01

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 18813.pdf                         37241      11/17/2023 8:50

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 19418.pdf                         85227      12/5/2023 18:51

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 21342.pdf                         64716      12/6/2023 11:01

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 22693.pdf                         63386      12/7/2023 12:16

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 22713.pdf                         48028     12/30/2019 14:27

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 22717.pdf                         88895      12/7/2023 12:22

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 23316.pdf                         51134      12/7/2023 12:23

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 29413.pdf                         34209      12/7/2023 12:24

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 29465.pdf                         59161      12/7/2023 12:24

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 29663.pdf                         66939      12/7/2023 12:28




                                                          1352
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1354 of
                                       3467



             All Paths/Locations                            Unified Title   File Size   Primary Date/Time

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 34894.pdf                         76962      12/7/2023 12:50

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 34982.pdf                         70660      12/7/2023 12:51

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 35130.pdf                         72292      12/7/2023 12:52

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 35254.pdf                         62458      12/7/2023 12:54

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 35314.pdf                         49729      12/7/2023 12:55

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 35407.pdf                         73400      12/7/2023 12:56

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 35493.pdf                         60703      12/7/2023 12:57

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 35499.pdf                         51629      12/7/2023 12:58

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 35504.pdf                         46033      12/7/2023 12:59

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 35526.pdf                         48890      12/7/2023 13:00

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 35568.pdf                         83812      12/7/2023 13:01

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 35586.pdf                         71577      12/7/2023 13:01

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 35687.pdf                         90649      12/7/2023 13:02

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 35688.pdf                         67215      12/7/2023 13:03

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 36116.pdf                         61820      12/7/2023 13:06

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 36123.pdf                         50829      12/7/2023 13:07




                                                          1353
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1355 of
                                       3467



             All Paths/Locations                            Unified Title   File Size   Primary Date/Time

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 37796.pdf                         61758      12/7/2023 13:09

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 3793.pdf                          69582      11/16/2023 9:14

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 3827.pdf                          86144       5/26/2023 8:32

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 3886.pdf                          50929      12/7/2023 11:12

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 44090.pdf                         98245       12/5/2023 9:45

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 44380.pdf                         68874     11/14/2023 14:19

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 54533.pdf                         77277      11/6/2023 11:40

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 5981.pdf                          67868      4/22/2022 10:35

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 64719.pdf                         65727      12/4/2023 10:52

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 64730.pdf                         60793     11/29/2023 13:53

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 64767.pdf                         60207     11/20/2023 13:31

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 64770.pdf                         52066      11/29/2023 9:51

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 65292.pdf                        199326      12/7/2023 14:06

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 65360.pdf                        257773      12/7/2023 14:19

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 65998.pdf                        282933      12/7/2023 14:36

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 7079.pdf                          68600     11/30/2023 10:03




                                                          1354
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1356 of
                                       3467



             All Paths/Locations                            Unified Title   File Size   Primary Date/Time

Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check Images 7145.pdf                          50095     11/27/2023 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             10735.pdf                        193382      12/6/2023 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             10983.pdf                        182663     11/15/2023 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             33487.pdf                        145343      12/7/2023 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             33551.pdf                        182484      12/7/2023 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             38923.pdf                        145343      12/7/2023 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             39019.pdf                        231175      12/7/2023 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             39314.pdf                         69859      6/30/2021 19:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             39366.pdf                         57132      4/25/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             39398.pdf                        232803     12/29/2021 22:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             39408.pdf                         69859      6/30/2021 19:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             39418.pdf                         57132      4/25/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             39422.pdf                         61197      5/27/2022 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             39424.pdf                         57132      4/25/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             39450.pdf                         89661      5/27/2021 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             39938.pdf                        182663     11/15/2023 11:29




                                                          1355
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               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             44198.pdf                        142089     11/29/2023 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             44215.pdf                        182663     11/15/2023 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             44248.pdf                        145529     11/22/2023 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             44409.pdf                        231346      11/8/2023 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             46968.pdf                        182663     11/15/2023 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             49025.pdf                        231346      11/8/2023 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             49026.pdf                        142089     11/29/2023 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             49035.pdf                        142089     11/29/2023 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             49036.pdf                        145529     11/22/2023 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             52879.pdf                        232803     12/29/2021 22:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             52889.pdf                        232803     12/29/2021 22:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             52898.pdf                        232803     12/29/2021 22:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             52912.pdf                        232803     12/29/2021 22:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             52925.pdf                        232803     12/29/2021 22:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             52933.pdf                         90731      1/25/2022 20:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             56580.pdf                         72124     11/16/2023 16:51




                                                          1356
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1358 of
                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             56629.pdf                         77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             56641.pdf                         77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             56642.pdf                         72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             56770.pdf                         77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             56846.pdf                         72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             56905.pdf                         72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             57159.pdf                         72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             5943.pdf                         386820     12/14/2016 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             6038.pdf                         386820     12/14/2016 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             64208.pdf                         72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             64272.pdf                         77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             64331.pdf                         72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             64343.pdf                         72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             64371.pdf                         77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             64384.pdf                         77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             64401.pdf                         72124     11/16/2023 16:51




                                                          1357
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1359 of
                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             64868.pdf                        103788      3/24/2023 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             64881.pdf                         72124     11/16/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             64891.pdf                         77246     10/31/2023 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             64904.pdf                      2291427       12/7/2023 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             64918.pdf                      2291427       12/7/2023 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             64924.pdf                      2291427       12/7/2023 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             64938.pdf                      2291427       12/7/2023 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             64945.pdf                      2527494       12/7/2023 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             64952.pdf                      2291427       12/7/2023 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             64958.pdf                      2291427       12/7/2023 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             64968.pdf                      2291427       12/7/2023 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             65009.pdf                      2291427       12/7/2023 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             65039.pdf                      2291427       12/7/2023 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS - Check
Images\Not Checks                             67348.pdf                         83358      12/7/2023 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        70536.pdf                        249729      12/7/2023 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        70537.pdf                        243364      12/7/2023 14:47




                                                          1358
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1360 of
                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        70538.pdf                        243039      12/7/2023 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        70539.pdf                        248244      12/7/2023 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        70577.pdf                        271113      12/7/2023 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        70893.pdf                        100810      12/7/2023 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        71181.pdf                        289199      12/7/2023 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        71422.pdf                        269950      12/7/2023 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        71564.pdf                         92459      12/7/2023 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        71913.pdf                         79184       12/7/2023 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        72793.pdf                         89605      11/20/2023 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        72802.pdf                         90273      12/5/2023 18:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        72838.pdf                         44605     11/16/2023 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        72966.pdf                         45176       9/25/2023 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        73092.pdf                         40500      9/18/2023 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        73145.pdf                         65652      11/22/2023 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        74228.pdf                        164495      12/7/2023 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        74243.pdf                         44769       12/4/2023 9:34




                                                          1359
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1361 of
                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        74261.pdf                         97264      5/22/2023 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        74300.pdf                         81628      11/28/2023 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        74302.pdf                         69420      11/17/2023 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        74365.pdf                         78455     11/29/2023 21:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        74409.pdf                         32748      8/28/2023 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        74450.pdf                         46199     11/27/2023 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        74461.pdf                         54982      11/7/2023 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        74474.pdf                         46757      12/5/2023 18:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        74475.pdf                         29968        9/5/2023 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        74542.pdf                         65650      4/25/2023 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        74559.pdf                         75993     11/13/2023 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        78917.pdf                        248585      12/7/2023 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        78936.pdf                        328206      12/7/2023 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        78943.pdf                        211894      12/7/2023 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        78974.pdf                        210539      12/7/2023 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        79005.pdf                        180577      12/7/2023 15:13




                                                          1360
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1362 of
                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        79015.pdf                        203670      12/7/2023 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        79031.pdf                        264779      12/7/2023 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        79048.pdf                        209715      12/7/2023 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        79051.pdf                        200638      12/7/2023 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        79344.pdf                        206447      12/7/2023 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        79346.pdf                        208895      12/7/2023 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        79354.pdf                        852729      12/7/2023 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        79356.pdf                        206375      12/7/2023 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        79378.pdf                        207132      12/7/2023 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        79393.pdf                        210406      12/7/2023 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        79589.pdf                        183447      12/7/2023 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        79776.pdf                        210575      12/7/2023 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        79800.pdf                        221133      12/7/2023 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        79830.pdf                        348511      12/7/2023 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        79841.pdf                        217503      12/7/2023 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        79917.pdf                        303307      12/7/2023 15:38




                                                          1361
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1363 of
                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        80248.pdf                        127383      12/7/2023 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        80267.pdf                        217508      12/7/2023 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        80289.pdf                        348345      12/7/2023 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        80382.pdf                        252737      12/7/2023 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images                                        80422.pdf                        931815      12/7/2023 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             70988.pdf                         25805      12/7/2023 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             71044.pdf                        195307      12/7/2023 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             74560.pdf                        224881       1/24/2023 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             79068.pdf                        393517      12/7/2023 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             79090.pdf                         36904      12/7/2023 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             79092.pdf                         96621      12/7/2023 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             79097.pdf                         96621      12/7/2023 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             79110.pdf                         96621      12/7/2023 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             79113.pdf                         69468      12/7/2023 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             79114.pdf                        131695      12/7/2023 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             79283.pdf                         55620      12/7/2023 15:23




                                                          1362
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1364 of
                                       3467



               All Paths/Locations                          Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             79291.pdf                         42080      12/7/2023 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81550.pdf                         21815      12/7/2023 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81551.pdf                         55620      12/7/2023 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81552.pdf                         87009      12/7/2023 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81553.pdf                         56091      12/7/2023 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81554.pdf                         56091      12/7/2023 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81555.pdf                         90129      12/7/2023 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81556.pdf                         96621      12/7/2023 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81557.pdf                         49119      12/7/2023 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81558.pdf                         37007      12/7/2023 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81559.pdf                         96621      12/7/2023 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81560.pdf                         87009      12/7/2023 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81561.pdf                         40279      12/7/2023 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81562.pdf                         33659      12/7/2023 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81563.pdf                         39032      12/7/2023 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81564.pdf                         39032      12/7/2023 15:15




                                                          1363
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1365 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81565.pdf                                 35618      12/7/2023 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81566.pdf                                 39033      12/7/2023 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81708.pdf                                102044      12/7/2023 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81712.pdf                                102044      12/7/2023 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81717.pdf                                102044      12/7/2023 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81748.pdf                                102044      12/7/2023 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81753.pdf                                102044      12/7/2023 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81790.pdf                                102042      12/7/2023 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81802.pdf                                102043      12/7/2023 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81805.pdf                                102043      12/7/2023 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Check Images\SPLCSS2 - Check
Images\Not Checks                             81828.pdf                                102045      12/7/2023 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10735              10735 Fasano.pdf                          82754       3/8/2016 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10735              10735 Sandora, Joseph.tv5                 10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10735              10735.pdf                             24178996        5/27/2016 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10735              Annuity Contract.pdf                   6871538       3/15/2019 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10735              Application.pdf                          358296      3/15/2019 10:20
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\10735              Information.pdf                          253469      3/15/2019 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10735              Court Order.pdf                          418533      3/15/2019 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10735              Disclosure - FL.pdf                      108370      3/15/2019 10:20




                                                             1364
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                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10735              Disclosure - NJ.pdf                        55960      3/15/2019 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10735              Disclosure - VA.pdf                       108210      3/15/2019 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10735              Divorce.pdf                               546102      3/15/2019 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10735              Drivers License.pdf                       164227      3/15/2019 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10735              fasano.pdf                                 82754       3/8/2016 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10735              Notice of Hearing.pdf                      37169      3/15/2019 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10735              Pleadings.pdf                              66958      3/15/2019 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10735              Proof of Service.pdf                       18207      3/15/2019 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10735              Purchase Agreement.pdf                  1182724       3/15/2019 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10735              Sandora, J-Ack 04.08.16.pdf                77037        8/9/2016 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10735              Searches.pdf                            1426298       3/15/2019 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10735              Seller Affidavit.pdf                      160587      3/15/2019 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10735              SSN.pdf                                    59342      3/15/2019 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              10766 Fasano.pdf                           82149      1/28/2016 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              10766 Pardi, Patrick.tv5                   10260      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              10766.pdf                              16828290       5/26/2016 18:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Annuity Contract.pdf                      299491      5/29/2020 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Application.pdf                           348571      5/29/2020 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Benefits Letter.pdf                        71122      5/29/2020 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Court Order 0003162016.pdf                180636      5/29/2020 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Court Order Certification.pdf              67665      5/29/2020 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Credit Report.pdf                       1449177       5/29/2020 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Disclosure - CT.pdf                       181522      5/29/2020 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Disclosure - NY.pdf                       265124      5/29/2020 15:14




                                                              1365
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                                       3467



               All Paths/Locations                                   Unified Title         File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              fasano.pdf                                       82149       1/28/2016 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              HIPAA.pdf                                       397629       5/29/2020 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Judgment of Divorce from Theresa Pardi.pdf      187293       5/29/2020 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Medical Affidavit.pdf                            50975       5/29/2020 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Medical Questionnaire.pdf                       349826       5/29/2020 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Order - Final.pdf                               182450       6/15/2024 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Pleadings.pdf                                   182103       5/29/2020 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Prior Court Order 20262010.pdf                  207844       5/29/2020 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Prior Court Order 202710.pdf                    246475       5/29/2020 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Prior Court Order 46120120129.pdf               348879       5/29/2020 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Prior Deal.pdf                                2677370        5/29/2020 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Proof of Disclosure Delivery.pdf                123547       5/29/2020 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Purchase Agreement.pdf                          593890       5/29/2020 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Release and Settlement Agreement.pdf             94668       5/29/2020 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Searches.pdf                                    289314       5/29/2020 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Seller Affidavit.pdf                            190422       5/29/2020 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Seller Identification.pdf                     3810807        5/29/2020 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Settlement Agreement Declaration.pdf             64159       5/29/2020 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Transferees Affidavit.pdf                        26431       5/29/2020 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10766              Transmittal Cover Sheet.pdf                        7131      5/29/2020 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10983              10983 Davis, Robert.tv5                          10207       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10983              BL-N25967148A.pdf                                42483        9/3/2015 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10983              Confirmation of Change.pdf                       26797      12/22/2015 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10983              Contract.pdf                                  1259876       12/17/2015 10:44




                                                               1366
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                                       3467



               All Paths/Locations                               Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10983              Credit.pdf                              1293308       12/17/2015 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10983              CS Payoff.pdf                              35531       10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10983              Davis.Robert.MUR.pdf                       80897      12/23/2015 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10983              HIPAA.pdf                               2915189        10/9/2024 22:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10983              LCQ.pdf                                 5785716        10/9/2024 22:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10983              Life Aff.pdf                              626683       10/9/2024 21:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10983              NASP Clearance from Client First.pdf      103623      12/17/2015 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10983              NASP Clearance from JG.pdf                150771      12/18/2015 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10983              NASP Clearance from PT.pdf                152857      12/17/2015 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10983              NASP.pdf                                   10476       7/15/2015 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10983              New HIPAA.pdf                           1537999        10/9/2024 21:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10983              Notifier.pdf                              496187       10/9/2024 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10983              Ofac.pdf                                   48679      10/22/2015 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10983              PACER.pdf                                  19263      10/22/2015 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10983              POR.pdf                                 1097565        10/9/2024 21:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10983              SSN.pdf                                   573689        8/11/2015 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10983              TLO-Judgments.pdf                            8008     10/22/2015 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10983              TLO.pdf                                      8210     10/22/2015 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10983              UCC.pdf                                   143058      12/17/2015 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\10983              Unsigned LCQ.pdf                          164650       10/9/2024 19:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\13240              123458496R03 James Foster.pdf              27145       10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\13240              13240 - Default Judgment.pdf              847118       10/9/2024 21:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\13240              13240 check .pdf                           84726        5/4/2021 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\13240              13240 Foster, James.tv5                    10017       10/9/2024 17:30




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                                       3467



               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\13240              13240.pdf                                            27145      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\13240              7 Foster, James 123458496R03 -7_Part1.pdf        73124086        6/5/2015 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\13240              7 Foster, James 123458496R03 -7_Part2.pdf        65548988        6/5/2015 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\13240              Annuity Contract.pdf                                337179     11/15/2017 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\13240              Application.pdf                                     953004     11/15/2017 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\13240              Drivers License.pdf                                 249165     11/15/2017 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\13240              Genworth Life Reconfig Letter up04-11-2022.pdf      476916      4/11/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\13240              New - Default Judgment.pdf                          847118      10/9/2024 21:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\13240              Questionnaire.pdf                                 1479645      11/15/2017 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\13240              Redirection Confirmation New up07-27-2022.pdf       481472      7/26/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\13240              SSN.pdf                                             249165     11/15/2017 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17248              17248 Allen, Scott.tv5                               10391      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-   17248-Scott Allen Acknowledgement ID and SS
SuttonPark\Closing Binders\17248              Card.pdf                                          1157773       10/9/2024 21:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17248              Acknowledgement.pdf                                  17431       4/14/2020 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17248              Admin Fee Checks.pdf                                224550       4/14/2020 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17248              Allen, Scott (3) closing binder.pdf              17374447       4/25/2017 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17248              Application .pdf                                     56235       4/14/2020 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17248              Benefits Letter.pdf                                  75949       4/14/2020 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17248              Court Order 2016-3430.pdf                           369781       4/14/2020 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17248              Credit Report.pdf                                    69506       4/14/2020 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17248              Drivers License.pdf                                  97930       4/14/2020 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17248              Payment Schedule.pdf                                277791       4/14/2020 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17248              Pleadings.pdf                                     5239143        4/14/2020 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17248              Purchase Agreement.pdf                              211464       4/14/2020 8:41




                                                              1368
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                                       3467



               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17248              Redirection Confirmation.pdf                          202721      8/30/2017 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17248              Request For Acknowledgement.pdf                        63291       4/14/2020 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17248              Searches.pdf                                          275927       4/14/2020 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17248              Seller Identification.pdf                             561160       4/14/2020 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17248              Social Security Card.pdf                              532860       4/14/2020 9:13
Saiph consulting|\Audit Materials Received-   Sutton Park Life Contingent Redirection Letter -
SuttonPark\Closing Binders\17248              Scott Allen - 20170502185153.pdf                       65114       5/2/2017 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17284              17284 Anita Thomas clean PA & Disclosure.pdf          384801      10/9/2024 20:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17284              17284 Anita Thomas.pdf                              1526244       10/9/2024 21:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17284              17284 ID.pdf                                           81055      7/21/2015 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17284              17284 Thomas, Anita.tv5                                10014      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17284              Acknowledgement.pdf                                    44896      2/26/2021 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17284              Benefits Letter.pdf                                    70196      2/26/2021 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17284              Disclosure.pdf                                        154824      2/26/2021 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17284              Judgement.pdf                                         223083      2/26/2021 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17284              Petition.pdf                                          246310      2/26/2021 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17284              Purchase Agreement.pdf                                210985      2/26/2021 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17284              Questionnaire.pdf                                     421448      2/26/2021 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17284              Redirection Confirmation New.pdf                      209705      8/16/2023 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17284              Request For Acknowledgement.pdf                        21653      2/26/2021 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17284              Settlement Agreement.pdf                              803523      2/26/2021 15:53
Saiph consulting|\Audit Materials Received-   Sutton Park Life Contingent Redirection Letter -
SuttonPark\Closing Binders\17284              Anita Thomas - 20170502212852.pdf                      63635       5/2/2017 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17284              Thomas, Anita (LO) closing binder.pdf               1266466       4/25/2017 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17471              17471 closing binder.pdf                           10354479        5/1/2017 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17471              17471.tv5                                              10018      10/9/2024 17:30




                                                               1369
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1371 of
                                       3467



               All Paths/Locations                                   Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17471              27315 Tyrone Dillard Docs.pdf                         311933      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17471              Absolute Assignment and Waiver of Claim.pdf            65078      10/8/2021 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17471              Acknowledgement.pdf                                    63079      10/8/2021 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17471              Application.pdf                                       559449      10/8/2021 16:06
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\17471              Information.pdf                                       227544      10/8/2021 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17471              Change of Beneficiary.pdf                              55112      10/8/2021 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17471              Court Order.pdf                                       500655      10/8/2021 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17471              Credit Report.pdf                                     109788      10/8/2021 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17471              Disclosure.pdf                                        693265      10/8/2021 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17471              Fasano Report.pdf                                     121100       7/23/2019 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17471              Power of Attorney.pdf                                 138586      10/8/2021 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17471              Professional Representation.pdf                       252785      10/8/2021 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17471              Purchase Agreement.pdf                              1354309       10/8/2021 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17471              Questionnaire.pdf                                     581994      10/8/2021 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17471              Release Information.pdf                                53228      10/8/2021 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17471              Request For Acknowledgement.pdf                        27897      10/8/2021 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17471              Seller Affidavit.pdf                                  340735      10/8/2021 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17471              Spousal Signature.pdf                                  73912      10/8/2021 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17471              Stipulation.pdf                                     1184722       10/8/2021 16:06
Saiph consulting|\Audit Materials Received-   Sutton Park Life Contingent Redirection Letter -
SuttonPark\Closing Binders\17471              Tyrone Dillard - 20170502191609.pdf                    64970       5/2/2017 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17471              Terms Rider.pdf                                       163431      10/8/2021 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17473              17473 closing binder.pdf                            3493449        5/1/2017 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17473              17473 Thornton, Donald.tv5                             10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17473              Absolute Assignment.pdf                                37606     10/20/2020 13:28




                                                               1370
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1372 of
                                       3467



               All Paths/Locations                               Unified Title                   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17473              Application.pdf                                        51309      10/20/2020 13:29
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\17473              Information.pdf                                       102277      10/20/2020 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17473              Change of owner-bene confirmation.pdf                 107626      10/20/2020 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17473              Disclosure.pdf                                         82013      10/20/2020 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17473              Fasano Auto Sliced.pdf                                 47541       3/14/2019 23:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17473              Medical Questionnaire.pdf                             170664      10/20/2020 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17473              Purchase Agreement.pdf                                242129      10/20/2020 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17473              Searches.pdf                                          287586      10/20/2020 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17473              Seller Identification.pdf                              81905      10/20/2020 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17916              17916 Flowers, Bobby.tv5                               10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17916              Annuity Contract.pdf                                  170431      11/27/2018 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17916              Benefits Letter.pdf                                      9844     11/27/2018 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17916              Case 1027 - Bobby Flowers Combined Docs.pdf        15554942         9/3/2018 23:20
Saiph consulting|\Audit Materials Received-   CaseB FlowersBTG AdvisorsLCSSTXFasano 2017-
SuttonPark\Closing Binders\17916              01-20.PDF                                              81133        1/5/2017 14:27
Saiph consulting|\Audit Materials Received-   Confidential agreement-corp res-admin fee check-
SuttonPark\Closing Binders\17916              JH up05-10-2019.pdf                                 1635256        5/10/2019 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17916              Court Order.pdf                                       329071      11/27/2018 13:50
Saiph consulting|\Audit Materials Received-   JH-Colonia-Unexecuted Confidential
SuttonPark\Closing Binders\17916              Agreement.pdf                                         390535       3/25/2019 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\17916              Redirection confirmation 17916.pdf                     22996        6/8/2020 17:16
Saiph consulting|\Audit Materials Received-   Redirection Reconfiguration JHL up11-11-
SuttonPark\Closing Binders\17916              2022.pdf                                            1624916       11/11/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              18044 Perez, Yobani.tv5                                10018       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Acknowledgment.pdf                                     50017        5/14/2020 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Annuity Contract.pdf                                  146021        5/14/2020 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Application.pdf                                       752567        5/14/2020 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Case 32555 - SAF - Fasano 20151102.pdf                 96417      10/30/2015 16:29




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               All Paths/Locations                                  Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Credit Report.pdf                                   44514       5/14/2020 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Disclosure - CA.pdf                                 29336       5/14/2020 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Disclosure - CT.pdf                                 27194       5/14/2020 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Disclosure - DE.pdf                                 26505       5/14/2020 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Disclosure - MA.pdf                                 26815       5/14/2020 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Final closing binder Perez.pdf                  12773847       1/27/2017 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Partial Compromise and Release.pdf                 230283       5/14/2020 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Pleadings.pdf                                    8149149        5/14/2020 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Purchase Agreement.pdf                           4806957        5/14/2020 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Qualified Assignment.pdf                            63484       5/14/2020 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Redirection Confirmation 18044.pdf                  35426      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Redirection Confirmation New 18044.pdf             298573     11/29/2022 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Redirection Reconfig Letter up04-07-2022.pdf     7222890        4/6/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Redirection Reconfiguration Letters 18044.pdf      341764     11/16/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Request for Acknowledgment.pdf                     266102       5/14/2020 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              RSPA.pdf                                         1162693        5/14/2020 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Searches.pdf                                       325109       5/14/2020 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Seller Declaration.pdf                           1260906        5/14/2020 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Seller Identification.pdf                          297780       5/14/2020 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Talcott-Colonia redirection letter.pdf             138818      2/15/2019 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Transaction Summary.pdf                             37326       5/14/2020 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Yobani Perez 2011 Court Order.pdf                  219797       5/14/2020 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18044              Yobani Perez Court Order.pdf                       490366       5/14/2020 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18113              18113 Holloway, Cleveland.tv5                       10013      10/9/2024 17:30




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                                       3467



               All Paths/Locations                                   Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18113              Annuity Contract.pdf                               505617       4/3/2021 22:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18113              Application.pdf                                     88503       4/3/2021 22:22
Saiph consulting|\Audit Materials Received-   Case 1127 - Cleveland Holloway Combined
SuttonPark\Closing Binders\18113              Docs.pdf                                         9017280       9/13/2018 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18113              Certificate of Marital Status.pdf                   14215       4/3/2021 22:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18113              Certificate of Service.pdf                         363822       4/3/2021 22:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18113              Credit Report.pdf                                   52744       4/3/2021 22:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18113              Disclosure - AL.pdf                                326465       4/3/2021 22:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18113              Disclosure - CT.pdf                                325868       4/3/2021 22:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18113              Disclosure - MD.pdf                                141663       4/3/2021 22:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18113              Drivers License.pdf                                 78869       4/3/2021 22:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18113              F and G-Colonia redirection letter.pdf              51364        2/6/2019 6:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18113              F&G-Colonia FedEx shipping label.pdf                57938      2/19/2019 13:04
Saiph consulting|\Audit Materials Received-   F&G-Colonia-Redirection Letter with Corporate
SuttonPark\Closing Binders\18113              Resolution up04-09-2019.pdf                        146454       4/9/2019 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18113              Notice of Hearing.pdf                              508603       4/3/2021 22:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18113              Pleadings.pdf                                    2143636        4/3/2021 22:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18113              Prior Court Orders.pdf                             387062       4/3/2021 22:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18113              Redirection confirmation 18113.pdf                 155166       5/6/2019 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18113              Searches.pdf                                       221564       4/3/2021 22:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18113              Seller Affidavit.pdf                             1122380        4/3/2021 22:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18113              Transfer agreement.pdf                           2284908        4/3/2021 22:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18113              Waiver of IPA.pdf                                  301866       4/3/2021 22:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18138              18138 Berghman, Earle.tv5                           10009      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18138              Annuity Contract.pdf                             1203017       7/10/2017 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18138              Application.pdf                                    491834      7/10/2017 11:00




                                                              1373
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                                       3467



               All Paths/Locations                               Unified Title                   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-   Authorization for Disclosure of Protected Health
SuttonPark\Closing Binders\18138              Information.pdf                                       444293      7/10/2017 11:18
Saiph consulting|\Audit Materials Received-   Authorization for the Release of Patient
SuttonPark\Closing Binders\18138              Information.pdf                                       439333      7/10/2017 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18138              Authorization to Release Information.pdf              227203      7/10/2017 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18138              Benefits Letter.pdf                                   137225      7/10/2017 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18138              Berghman order new.pdf                             29689237      11/20/2018 18:16
Saiph consulting|\Audit Materials Received-   Berghman, Earle - 708308 - NF2216 - Closing
SuttonPark\Closing Binders\18138              Binder.pdf                                         18296441       10/3/2015 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18138              Court Order.pdf                                     3466968       7/10/2017 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18138              Disclosure.pdf                                        661577      7/10/2017 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18138              Drivers License.pdf                                 1883906       7/10/2017 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18138              Fasano.pdf                                            244736      7/10/2017 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18138              Medical Questionnaire.pdf                             563136      7/10/2017 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18138              Medicare Card.pdf                                   1341263       7/10/2017 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18138              Multiple Disclosure.pdf                               750209      7/10/2017 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18138              NASP Search.pdf                                       254851      7/10/2017 11:21
Saiph consulting|\Audit Materials Received-   Novation-Prudential changed mailing address
SuttonPark\Closing Binders\18138              confirmation.pdf                                       78404       6/5/2019 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18138              Pleadings.pdf                                       3874851       7/10/2017 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18138              Purchase Agreement.pdf                                713798      7/10/2017 12:15
Saiph consulting|\Audit Materials Received-   Redirection confirmation-Novation up04-24-
SuttonPark\Closing Binders\18138              2019.pdf                                              169874       4/24/2019 9:28
Saiph consulting|\Audit Materials Received-   Redirection Letter-Novation-Leadenhall up04-09-
SuttonPark\Closing Binders\18138              2019.pdf                                              261709       4/9/2019 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18138              Searches.pdf                                        8247604       7/10/2017 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18138              Sellers Affidavit.pdf                                 236993      7/10/2017 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18138              Settlement Agreement.pdf                              155737      7/10/2017 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              18192 Stringfellow, Joseph.tv5                         10025      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              Application.pdf                                       256387      9/30/2020 21:39




                                                               1374
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                                       3467



               All Paths/Locations                                 Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              Assignment Agreement.pdf                          358422      9/30/2020 21:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              Benefit Letter.pdf                                 42389      9/30/2020 21:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              Court Order.pdf                                   215490      9/30/2020 21:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              Final closing binder Stringfellow.pdf          12629314       12/15/2015 6:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              NYLife-Colonia redirection letter.pdf             106808      2/15/2019 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              Redirection Confirmation New 18192.pdf            615343        4/5/2023 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              Redirection Reconfiguration up07-11-2022.pdf    2180777        7/8/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              Redirection Assignee List NYLIC.pdf               222753       7/7/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              COA Policy FP200974.pdf                            52947       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              COA Policy 74758034.pdf                            52951       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              COA Policy 77422032.pdf                            52926       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              COA Policy FP200974 (2).pdf                        52949       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              COA Policy FP200974.pdf                            52991       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              COA Policy FP201158.pdf                            52930       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              COA Policy FP205723.pdf                            52948       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              COA Policy FP206266.pdf                            52989       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              COA Policy FP206275.pdf                            52951       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              COA Policy FP207071.pdf                            52987       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              COA Policy FP207808.pdf                            52960       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              COA Policy FP210013.pdf                            52983       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              COA Policy FP210674.pdf                            52959       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              COA Policy FP216554.pdf                            52928       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              COA Policy FP220022.pdf                            53010       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              COA Policy FP220028.pdf                            52980       4/8/2022 13:24




                                                             1375
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1377 of
                                       3467



               All Paths/Locations                                  Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              COA Policy FP220219.pdf                                  52981       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              COA Policy FP220714.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              COA Policy FP244114.pdf                                  52993       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              Security TItle Corporate Resolution 11.2021 si.pdf      937256       4/1/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              Seller Identification.pdf                                49058      9/30/2020 21:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18192              Structured Settlement Questionaire.pdf                2672867       9/30/2020 21:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18252              18252 - FE Stipulation.pdf                              980262      1/11/2024 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18252              18252 Reeves, John.tv5                                   10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18252              Affidavit In Lieu Of Settlement Agreement.pdf           205364      4/20/2021 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18252              American General-Colonia redirection letter1.pdf        118497      2/14/2019 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18252              Annuity Contract Certificate.pdf                         22084      4/20/2021 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18252              Annuity Purchase Application.pdf                        538618      4/20/2021 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18252              Authorization For Release Of Information.pdf            105842      4/20/2021 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18252              Closing Binder.pdf                                   32649676        6/8/2018 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18252              Court Order.pdf                                       2094542       4/20/2021 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18252              Declaration Of John Reeves.pdf                        1200748       4/20/2021 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18252              Disclosure - TX.pdf                                   1864718       4/20/2021 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18252              Disclosure - VA.pdf                                     310537      4/20/2021 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18252              New - FE Stipulation.pdf                                980262      1/11/2024 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18252              Notice Of Assignment.pdf                                167168      4/20/2021 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18252              Receivable Purchase And Sale Agreement.pdf              717267      4/20/2021 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18252              Request for Change of Beneficiary.pdf                    99687      4/20/2021 12:35
Saiph consulting|\Audit Materials Received-   Revised American General-Colonia redirection
SuttonPark\Closing Binders\18252              letter up04-11-2019.pdf                                 177778      4/11/2019 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18252              Searches.pdf                                            430103      4/20/2021 12:35




                                                              1376
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1378 of
                                       3467



               All Paths/Locations                                   Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18252              Seller Identification.pdf                        89142      4/20/2021 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18252              Stipulation.pdf                                 561530      4/20/2021 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18252              Transfer Agreement.pdf                       14476169       4/20/2021 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18317              18317 Carter, Nathaniel.tv5                      10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18317              Acknowledgment.pdf                               53234       8/4/2017 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18317              Affidavit in Lieu.pdf                            70935       8/4/2017 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18317              Annuity Contract.pdf                             32041       8/4/2017 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18317              Application.pdf                                 404085       8/4/2017 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18317              Court Order.pdf                                 159774       8/4/2017 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18317              Credit Report.pdf                                25666       8/4/2017 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18317              Declaration.pdf                                 109808       8/4/2017 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18317              Erie Family-Colonia redirection letter.pdf       45755        2/6/2019 6:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18317              Final closing binder Carter.pdf               5113393         6/6/2017 5:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18317              Lien searches.pdf                               137341       8/4/2017 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18317              PA.pdf                                          225222       8/4/2017 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18317              Partial pleadings.pdf                         1474370        8/4/2017 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18317              Photo ID.pdf                                    822083       8/4/2017 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18317              Purchase Agreement.pdf                        1244220        8/4/2017 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18317              Redirection confirmation-18317.pdf               22543       3/7/2019 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18317              Seller Affidavit.pdf                             73839       8/4/2017 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18317              Social Security card.pdf                        745281       8/4/2017 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18366              18366 Diffenderfer, James.tv5                    10023      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18366              Closing Binder.pdf                            6189979        9/9/2014 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18366              Court Order.pdf                                  55642      10/9/2024 18:19




                                                                1377
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                                       3467



               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18366              Designation of Continued Contact.pdf           25831      9/22/2014 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18366              LE report.pdf                                  17358     10/30/2018 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18366              Liberty-Colonia redirection letter.pdf        100193      2/14/2019 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18366              NASP 9.09.pdf                                  93518      10/9/2024 18:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18366              Partial Benefits Letter.pdf                   118780      9/22/2014 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18366              Proof of Admin Fee Pmt.pdf                    154019      10/9/2024 19:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18366              Redirection conf Diffenderfer James.pdf       482055       3/8/2019 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18366              Stipulation.pdf                                65376      9/23/2014 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              18368 Duncan, Douglas.tv5                      13167      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              Acknowledgement.pdf                            41619      3/26/2021 16:25
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\18368              Information.pdf                               234655      3/26/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              Authorization to Release Information.pdf       55959      3/26/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              Benefits Letter.pdf                           261164      3/26/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              Certificate of Service.pdf                     59682      3/26/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              Combined closing binder Duncan.pdf          6389532       10/14/2015 6:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              Court Order.pdf                             2188160       3/26/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              Credit Report.pdf                              78591      3/26/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              Disclosure.pdf                                126106      3/26/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              Drivers License.pdf                           409164      3/26/2021 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              Duncan Order new.pdf                       36383912      11/20/2018 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              Fasano Auto-Sliced.pdf                         75991       5/3/2018 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              Fasano Report.pdf                              77776      3/26/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              NASP Clearance.pdf                            207090      3/26/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              NASP Search.pdf                                74290      3/26/2021 16:25




                                                                1378
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                                       3467



               All Paths/Locations                                   Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              Person Search Plus 09072023.pdf                      215433       9/7/2023 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              Personal Information.pdf                             287647      3/26/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              Pleadings.pdf                                         76032      3/26/2021 16:25
Saiph consulting|\Audit Materials Received-   Redirection confirmation-Novation up04-24-
SuttonPark\Closing Binders\18368              2019.pdf                                             169874       4/24/2019 9:28
Saiph consulting|\Audit Materials Received-   Redirection Letter-Novation-Leadenhall up04-09-
SuttonPark\Closing Binders\18368              2019.pdf                                             261709       4/9/2019 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              Sale Agreement.pdf                                   327663      3/26/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              Searches.pdf                                         194798      3/26/2021 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              Seller Affidavit.pdf                                 331425      3/26/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              SSN.pdf                                               58488      3/26/2021 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              Structured Settlement Questionaire.pdf               223679      3/26/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              UCC Financing Statement.pdf                          639642      3/26/2021 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18368              Waiver of IPA.pdf                                     21731      3/26/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              18431 Tripp, Rosa.tv5                                 10013      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              Application.pdf                                      326689      3/29/2021 22:23
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\18431              Information.pdf                                    1008342       3/29/2021 22:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              Authorization to Release Information.pdf             247378      3/29/2021 22:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              Bankruptcy.pdf                                       198681      3/29/2021 22:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              Benefits Letter.pdf                                   62533      3/29/2021 22:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              Court Order.pdf                                      385016      3/29/2021 22:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              Credit Report.pdf                                  1106403       3/29/2021 22:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              Disclosure.pdf                                       210117      3/29/2021 22:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              Drivers License.pdf                                  652040      3/29/2021 22:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              Fasano Auto-Sliced.pdf                                88524       8/9/2018 21:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              Fasano Report.pdf                                    221576      3/29/2021 22:23




                                                               1379
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                                       3467



               All Paths/Locations                              Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-   Genworth Life and Annuity-WMS redirection
SuttonPark\Closing Binders\18431              letter up04-25-2019.pdf                             239379      4/24/2019 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              Genworth Life Reconfig Letter up04-11-2022.pdf      476916      4/11/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              Notice of Servicing.pdf                             139681      3/29/2021 22:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              Personal Information.pdf                            306517      3/29/2021 22:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              Proof of Delivery.pdf                               147403      3/29/2021 22:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              Proof of Service.pdf                                266969      3/29/2021 22:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              Purchase Agreement.pdf                              889534      3/29/2021 22:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              Qualified Assignement.pdf                           237545      3/29/2021 22:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              Redirection Confirmation New up07-27-2022.pdf       481472      7/26/2022 16:18
Saiph consulting|\Audit Materials Received-   Redirection Confirmation-WMS-Genworth up04-
SuttonPark\Closing Binders\18431              30-2019.pdf                                         189198      4/30/2019 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              Searches.pdf                                      1700833       3/29/2021 22:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              Settlement Agreement.pdf                            646939      3/29/2021 22:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              SSN.pdf                                             479203      3/29/2021 22:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              Structured Settlement Questionaire.pdf              551319      3/29/2021 22:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              Verification of Survival.pdf                         99677      3/29/2021 22:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              Waiver of IPA.pdf                                    68833      3/29/2021 22:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18431              WMS-Tripp - Closing Binder.pdf                   10189929        1/20/2017 5:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              18435 Martin, Tamara.tv5                             10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Acknowledgement.pdf                                  71988        4/7/2021 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Affidavit in Lieu of Settlement Agreement.pdf       109651        4/7/2021 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Application.pdf                                     307327        4/7/2021 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Assignment.pdf                                      103089        4/7/2021 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Back Up List of Contacts.pdf                         63628        4/7/2021 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Benefits Letter.pdf                                  63759        4/7/2021 9:06




                                                              1380
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                                       3467



               All Paths/Locations                                   Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Case 34405 - SAF - Fasano 20160502.pdf               87850      4/29/2016 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Court Order.pdf                                   1270193         4/7/2021 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Credit Report.pdf                                    31347        4/7/2021 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Disclosure - MO.pdf                                 148186        4/7/2021 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Final closing binder Tamara Martin.pdf            8622202       12/19/2016 4:07
Saiph consulting|\Audit Materials Received-   Genworth Life and Annuity-Colonia redirection
SuttonPark\Closing Binders\18435              letter.pdf                                           62632        2/6/2019 6:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Genworth Life Reconfig Letter up04-11-2022.pdf      476916      4/11/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              NASP Clearance.pdf                                  193798        4/7/2021 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Notice of Assignment.pdf                            156593        4/7/2021 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Notice of Hearing.pdf                                53949        4/7/2021 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Pleadings.pdf                                        53949        4/7/2021 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Proof of Delivery.pdf                             1381871         4/7/2021 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Purchase Agreement.pdf                              301064        4/7/2021 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Redirection confirmation Genworth-Colonia.pdf       328788       6/8/2020 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Redirection Confirmation New up07-27-2022.pdf       481472      7/26/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Request for Benefits Letter.pdf                     104390        4/7/2021 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Request for Change of Beneficiary.pdf                88638        4/7/2021 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Searches.pdf                                        513673        4/7/2021 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Seller Affidavit.pdf                                163413        4/7/2021 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Seller Identification.pdf                            89746        4/7/2021 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18435              Transfer Agreement.pdf                            1323962         4/7/2021 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              18604 Nelson, John.tv5                               10258      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              Application.pdf                                      43791      6/19/2019 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              Assignment.pdf                                      254757      6/19/2019 10:47




                                                              1381
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1383 of
                                       3467



               All Paths/Locations                               Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\18604              Information.pdf                                 91567      6/19/2019 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              Authorization to Release Information.pdf        13653      6/19/2019 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              Benefits Letter SPC mislabeled.pdf              59338      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              Benefits Letter.pdf                             59256      6/19/2019 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              Case 1106 - John Nelson Combined Docs.pdf   12843065       9/13/2018 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              Credit Report.pdf                               32878      6/19/2019 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              Disclosure.pdf                               1619062       6/19/2019 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              Fasano Auto-Sliced.pdf                          78432      1/18/2019 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              Fasano.pdf                                      78434      6/19/2019 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              Limited Power of Attorney.pdf                  285680      6/19/2019 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              Memorandum of Law.pdf                          623758      6/19/2019 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              Petition.pdf                                 1236143       6/19/2019 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              Proof of Service.pdf                           244755      6/19/2019 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              Purchase Agreement.pdf                       2334196       6/19/2019 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              Redirection 18604 up07-20-2020.pdf             284609      7/20/2020 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              Redirection Confirmation 18604.pdf              67186      7/27/2020 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              Request For Acknowledgement.pdf                 25885      6/19/2019 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              Request for Change of Beneficiary.pdf           16907      6/19/2019 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              Searches.pdf                                   282222      6/19/2019 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              Seller Affidavit.pdf                         1108681       6/19/2019 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              Seller Identification.pdf                       70961      6/19/2019 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              UCC Financing Statement.pdf                    253712      6/19/2019 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18604              Waiver of IPA.pdf                              302671      6/19/2019 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18617              18617 - Benefits LTR.pdf                        59338      3/27/2021 10:40




                                                               1382
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1384 of
                                       3467



               All Paths/Locations                                   Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18617              18617 Nelson, John.tv5                          10258      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18617              Application.pdf                                 48731      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18617              Assignment.pdf                                  59290      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18617              BL.pdf                                          59338      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18617              Case 1055 - John Nelson Combined Docs.pdf    5411856       9/13/2018 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18617              Certificate of Service.pdf                      59894      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18617              Court Order.pdf                                156592      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18617              Credit Report.pdf                               84117      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18617              Disclosure.pdf                                 112522      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18617              Drivers License.pdf                             73426      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18617              Fasano Auto-Sliced.pdf                          78601      1/18/2019 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18617              Fasano Report.pdf                               78601      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18617              Liean Search.pdf                               160745      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18617              Mislabeled Benefits Letter SPC.pdf              59338      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18617              Pleadings.pdf                                  647644      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18617              Power of Attorney.pdf                          286012      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18617              Redirection 18617 up07-20-2020.pdf             284655      7/20/2020 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18617              Redirection Confirmation 18617.pdf              68168      7/27/2020 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18617              Searches.pdf                                   111149      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18617              Seller Affidavit.pdf                            70698      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18617              UCC Financing Statement.pdf                    439730      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18617              Verification.pdf                                11323      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18617              Waiver of IPA.pdf                               19893      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18623              18623 Ozuk, Thomas.tv5                          10015      10/9/2024 17:30




                                                               1383
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1385 of
                                       3467



               All Paths/Locations                              Unified Title                   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18623              Berwyn Death Search 011323 Thomas Ozuk.pdf           152342      2/10/2023 13:39
Saiph consulting|\Audit Materials Received-   Berwyn Death Search 10162023 Thomas Zane
SuttonPark\Closing Binders\18623              Ozuk POLICY AA0515500.pdf                            113442     10/16/2023 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18623              Berwyn Death Search_040621 Thomas Ozuk.pdf           152639       4/7/2021 14:57
Saiph consulting|\Audit Materials Received-   Berwyn Death Search_082421 Thomas Zane
SuttonPark\Closing Binders\18623              Ozuk.pdf                                             164816      9/13/2021 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18623              Case 983 - Thomas Ozuk Combined Docs.pdf          58743479        9/5/2018 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18623              Fax Transmission 12302020.pdf                        111484      1/18/2021 14:28
Saiph consulting|\Audit Materials Received-   Fax Transmission Quarterly Berwyn Search
SuttonPark\Closing Binders\18623              10282020.pdf                                         481739      10/28/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18623              Fax Transmission Result Berwyn 03102020.pdf          133349      3/10/2020 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18623              20200310152138260.tif                                 38436
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18623              In Lieu of VLS 03192019.pdf                           88222      3/19/2019 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18623              In Lieu of VLS 05152019.pdf                          337637      5/15/2019 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18623              In Lieu of VLS 06232020.pdf                          375296      6/23/2020 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18623              In Lieu of VLS 06232020.pdf                          276467      6/23/2020 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18623              In Lieu of VLS 06232020.pdf                          276467      6/23/2020 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18623              Quarterly Berwyn Death Search 03102020.pdf           141921      3/10/2020 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18623              Quarterly Berwyn Death Search 09042019.pdf           400231       9/4/2019 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18623              Quarterly Berwyn Death Search 10282020.pdf           256509      10/28/2020 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18623              Quarterly Berwyn Death Search 12272019.pdf           383476     12/27/2019 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18623              Quarterly Berwyn Search 02182021.pdf                 257427      2/18/2021 17:35
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Thomas Ozuk POLICY
SuttonPark\Closing Binders\18623              AA0515500 02102023.pdf                               484499      2/14/2023 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18623\Successful
transmission BERWYN MORTALITY SEARCH
REPORT FOR Thomas Zane Ozuk POLICY            Successful transmission to 18668178780. Re_
AA0515500 91621.pdf                           BER___.pdf                                           131336      9/16/2021 16:47
                                              Successful transmission Berwyn Mortality Search
Saiph consulting|\Audit Materials Received-   Report for Thomas Zane Ozuk Policy
SuttonPark\Closing Binders\18623              AA0515500.pdf                                        116092      11/3/2023 16:08



                                                            1384
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1386 of
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               All Paths/Locations                            Unified Title                   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-   Symetra VOS Authorisation Letter - Colonia
SuttonPark\Closing Binders\18623              Executed.pdf                                       264042      6/17/2020 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18623              Symetra-Colonia redirection letter.pdf             124339      2/15/2019 15:31
Saiph consulting|\Audit Materials Received-   Transmission Result : OK From
SuttonPark\Closing Binders\18623              "18006622218"(Fax Message NO.1571)                 168448      7/10/2019 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18623              20190710115756440.tif                               41082      7/10/2019 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18623              VLS 06172019.pdf                                    31415      7/10/2019 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18623              VLS and LC Notifier 12302020.pdf                    53543      1/18/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18731              18731 Jordan, Clifton.tv5                           10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18731              Case 1131 - Clifton Jordan Combined Docs.pdf    13825885       9/13/2018 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18731              F and G-Colonia redirection letter.pdf              51364        2/6/2019 6:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18731              F&G-Colonia FedEx shipping label.pdf                57938      2/19/2019 13:04
Saiph consulting|\Audit Materials Received-   F&G-Colonia-Redirection Letter with Corporate
SuttonPark\Closing Binders\18731              Resolution up04-09-2019.pdf                        146454       4/9/2019 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18731              Fasano Auto-Sliced.pdf                              29197      1/18/2019 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18731              Redirection confirmation-18731.pdf                 155957       5/3/2019 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              18783 Duke, Russell.tv5                             10258      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              Annuity Contract.pdf                               256193     12/17/2020 23:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              Application.pdf                                    148154     12/17/2020 23:06
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\18783              Information.pdf                                    376591     12/17/2020 23:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              Authorization to Release Information.pdf            73166     12/17/2020 23:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              Case 1044 - Russell Duke Combined Docs.pdf       4291734        9/5/2018 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              Contact Information.pdf                             72744     12/17/2020 23:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              Court Order.pdf                                    362998     12/17/2020 23:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              Credit Report.pdf                                  233742     12/17/2020 23:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              Delivery Notification.pdf                          210303     12/17/2020 23:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              Disclosure.pdf                                     391498     12/17/2020 23:06




                                                               1385
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                                       3467



               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              Drivers License.pdf                               331701     12/17/2020 23:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              Fasano Auto-Sliced.pdf                             63337      1/18/2019 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              Fasano Report.pdf                                  70335     12/17/2020 23:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              JH-WMS redirection letter up04-25-2019.pdf        125972      4/24/2019 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              Notice of Servicing.pdf                            44743     12/17/2020 23:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              Purchase Agreement.pdf                            360233     12/17/2020 23:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              Redirection Confirmation 18783.pdf                 80393       1/4/2021 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              Request for Change of Beneficiary.pdf              20628     12/17/2020 23:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              Searches.pdf                                       57845     12/17/2020 23:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              Settlement Agreement.pdf                          471545     12/17/2020 23:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              SSN Verification.pdf                              469719     12/17/2020 23:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              Structured Settlement Questionaire.pdf            214325     12/17/2020 23:06
Saiph consulting|\Audit Materials Received-   Unexecuted WMS Allegheny-JH Conf
SuttonPark\Closing Binders\18783              Agreement.pdf                                     519655      5/31/2019 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              Verification of Survival.pdf                       33515     12/17/2020 23:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              Waiver of IPA.pdf                                  26233     12/17/2020 23:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18783              WMS Allegheny-JH Exhibit A clear.pdf              970519      6/13/2019 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18803              18803 Brandao, Daniel.tv5                          10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18803              Annuity Contract.pdf                            2712426        4/3/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18803              Application.pdf                                    94814       4/3/2021 11:01
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\18803              Information.pdf                                   235583       4/3/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18803              Case 1058 - Daniel Brandao Combined Docs.pdf   15665271        9/5/2018 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18803              Court Order.pdf                                 1667574        4/3/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18803              Credit Report.pdf                                  81707       4/3/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18803              Disclosure.pdf                                    305161       4/3/2021 11:01




                                                               1386
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1388 of
                                       3467



               All Paths/Locations                                   Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18803              Drivers License.pdf                                    45606       4/3/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18803              Fasano Report.pdf                                     150853       4/3/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18803              General Release.pdf                                 6082246        4/3/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18803              Lien Search.pdf                                       236806       4/3/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18803              Notice of Hearing.pdf                                 415027       4/3/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18803              Pleadings.pdf                                         309478       4/3/2021 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18803              Purchase Agreement.pdf                                400349       4/3/2021 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18803              Qualified Assignement.pdf                           2113321        4/3/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18803              Redirection Confirmation 18803.pdf                     35854      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18803              Redirection Reconfig Letter up04-07-2022.pdf        7222890        4/6/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18803              Redirection Reconfiguration Letters 18803.pdf         394511     11/16/2022 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18803              Searches.pdf                                          209499       4/3/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18803              Seller Affidavit.pdf                                   72009       4/3/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18803              SSN.pdf                                                35083       4/3/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18803              Structured Settlement Questionaire.pdf                451129       4/3/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18803              Talcott-Colonia redirection letter.pdf                138818      2/15/2019 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18803              Waiver of IPA.pdf                                      48730       4/3/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18812              18812 Applebee, Thomas.tv5                             10262      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18812              Annuity Contract.pdf                                1309051       10/8/2020 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18812              Application.pdf                                     1168349       10/8/2020 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18812              Assignment Agreement.pdf                            1451057       10/8/2020 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18812              Case 382 - Thomas Applebee Combined Docs.pdf        5658826        9/5/2018 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18812              Certificate of Marital Status.pdf                     571210      10/8/2020 13:55
Saiph consulting|\Audit Materials Received-   Confidential agreement-corp res-admin fee check-
SuttonPark\Closing Binders\18812              JH up05-10-2019.pdf                                 1635256       5/10/2019 11:15




                                                              1387
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1389 of
                                       3467



               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18812              Court Order.pdf                                  1789468       10/8/2020 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18812              fasano.pdf                                          79484       8/8/2018 17:03
Saiph consulting|\Audit Materials Received-   JH-Colonia-Unexecuted Confidential
SuttonPark\Closing Binders\18812              Agreement.pdf                                      390535      3/25/2019 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18812              Notice of Hearing.pdf                              999281      10/8/2020 13:58
Saiph consulting|\Audit Materials Received-   Redirection confirmation-30724-18812-
SuttonPark\Closing Binders\18812              18811.pdf                                          172884       7/8/2019 12:00
Saiph consulting|\Audit Materials Received-   Redirection Reconfiguration JHL up11-11-
SuttonPark\Closing Binders\18812              2022.pdf                                         1624916      11/11/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18812              Seller Identification.pdf                        1483507       10/8/2020 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18813              18813 Anderson, Alan.tv5                            10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18813              Case 1095 - Alan Anderson Combined Docs.pdf      7510952        9/5/2018 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18813              F and G-Colonia redirection letter.pdf              51364        2/6/2019 6:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18813              F&G-Colonia FedEx shipping label.pdf                57938      2/19/2019 13:04
Saiph consulting|\Audit Materials Received-   F&G-Colonia-Redirection Letter with Corporate
SuttonPark\Closing Binders\18813              Resolution up04-09-2019.pdf                        146454       4/9/2019 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18813              fasano.pdf                                          80555       8/8/2018 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18813              Redirection confirmation-18813.pdf                 152899       5/3/2019 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18833              18833 Bizick, Mark.tv5                              10448      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18833              Acknowledgment.pdf                                  71573
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18833              Application.pdf                                    921445      4/14/2017 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18833              Authorization for Disclosure of PHI.pdf          1966191        6/8/2017 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18833              Bizick Assignment Agreement.pdf                     97684      6/19/2017 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18833              Certified Order.PDF                                380118
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18833              Court Order.pdf                                  1051431       10/9/2024 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18833              Divorce Decree.pdf                               3421529        6/7/2017 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18833              Fasano Report.pdf                                   81581      4/28/2017 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18833              Medical Questionaire.pdf                         4234899        6/8/2017 10:57




                                                              1388
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               All Paths/Locations                                  Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18833              NY.pdf                                              34446       6/5/2017 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18833              Pleadings.pdf                                    6113225        6/5/2017 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18833              Purchase Agreement.pdf                           1760079        6/8/2017 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18833              Searches.pdf                                       327962      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18833              Sellers Affidavit.pdf                              139225       6/5/2017 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18833              Settlement Agreement.pdf                         1872783        6/6/2017 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\18833              TX.pdf                                              27507       6/5/2017 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19384              19384 - Acknowledgment.pdf                          23641      1/10/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19384              19384 Whitmer, Peter.tv5                            10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-   2017 - Whitmer, Peter - cbcdeal_28073 closing
SuttonPark\Closing Binders\19384              binder.pdf                                      16025848       9/26/2017 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19384              Amended Petition.pdf                                97559     10/22/2020 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19384              Application.pdf                                    370552     10/22/2020 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19384              Assignment of Purchase Agreement.pdf                38505     10/22/2020 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19384              Court Order.pdf                                    830596     10/22/2020 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19384              Credit Report.pdf                                  376915     10/22/2020 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19384              Disclosure - FL.pdf                                 90300     10/22/2020 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19384              Disclosure - WA.pdf                                 96042     10/22/2020 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19384              Disclosure.pdf                                      90850     10/22/2020 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19384              New - Acknowledgment.pdf                            23641      1/10/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19384              NOH.pdf                                            117119     10/22/2020 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19384              Purchase Agreement.pdf                             579457     10/22/2020 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19384              Questionnaire.pdf                                  212159     10/22/2020 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19384              Seller Identification.pdf                           34658     10/22/2020 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19384              Settlement Agreement Affadavit.pdf                  32580     10/22/2020 12:51




                                                               1389
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1391 of
                                       3467



               All Paths/Locations                                   Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19384              Stipulation.pdf                                     296224      6/13/2024 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19391              19391 Newmans. David.tv5                             10009      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-   2017 - Newmans, David - cbcdeal_28106 closing
SuttonPark\Closing Binders\19391              binder.pdf                                       21274968       9/26/2017 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19391              Acknowledgement.pdf                                  78823     10/20/2020 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19391              Court Order.pdf                                     237739     10/20/2020 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19391              Credit Report.pdf                                    32425     10/20/2020 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19391              Disclosure.pdf                                      106326     10/20/2020 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19391              Fasano.pdf                                           77829     10/20/2020 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19391              Purchase Agreement.pdf                              236347     10/20/2020 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19391              Request For Acknowledgement.pdf                      27759     10/20/2020 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19391              Seller Affidavit.pdf                                164674     10/20/2020 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19391              Seller Identification.pdf                           210168     10/20/2020 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19396              19396 Morrison, Justin.tv5                           10022      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-   2017 - Morrison, David - cbcdeal_23982 closing
SuttonPark\Closing Binders\19396              binder.pdf                                       56098168       9/27/2017 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19396              Absolute Assignment.pdf                             354642       3/8/2021 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19396              Annuity Contract.pdf                              1318472        3/8/2021 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19396              Application.pdf                                     183936       3/8/2021 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19396              Authorization to Release Informatiomn.pdf            54710       3/8/2021 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19396              Benefits Letter.pdf                                 373511     11/27/2017 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19396              Court Order.pdf                                     204548     11/27/2017 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19396              Credit Report.pdf                                   137439       3/8/2021 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19396              Disclosure - NY.pdf                                 911286       3/8/2021 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19396              Disclosure.pdf                                      915091     11/27/2017 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19396              IPA.pdf                                              84778       3/8/2021 12:14




                                                                1390
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                                       3467



               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19396              List of Dpendents.pdf                                 263139       3/8/2021 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19396              Matrimonial Settlement Agreement.pdf               25132258        3/8/2021 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19396              Purchase Agreement.pdf                              3244202        3/8/2021 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19396              Seller Identification.pdf                             944387       3/8/2021 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19405              19405 CBC missing files 12-5-2017.pdf               1384987       12/5/2017 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19405              19405 Davis, Jordan.tv5                                10015      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-   2017 - Davis, Jordan (4) - cbcdeal_28864 closing
SuttonPark\Closing Binders\19405              binder.pdf                                            291388      9/27/2017 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19405              Annuity Contract.pdf                                   72642      8/24/2021 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19405              Application.pdf                                        49347      8/24/2021 12:06
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\19405              Information.pdf                                        97390      8/24/2021 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19405              Authorization To Release Information.pdf               26716      8/24/2021 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19405              Certificate of Acknowledgement.pdf                    205596      8/24/2021 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19405              Correspondence.pdf                                     46263      8/24/2021 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19405              Disclosure.pdf                                         68629      8/24/2021 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19405              Fasano Auto Sliced.pdf                                 77195      3/14/2019 23:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19405              Fasano Report.pdf                                      94308      8/24/2021 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19405              Purchase Agreement.pdf                                201972      8/24/2021 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19405              Redirection Confirmation new 19405.pdf                466184      9/20/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19405              Request for Change of Beneficiary.pdf                  16738      8/24/2021 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19405              Seller Identification.pdf                             219535      8/24/2021 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19418              19418 - FE Stipulation.pdf                            504846      1/10/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19418              19418 CBC missing files 12-5-2017.pdf                 760734      12/5/2017 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19418              19418 Inscore, Scotty.tv5                              10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-   2017 - Inscore, Scotty - cbcdeal_28358 closing
SuttonPark\Closing Binders\19418              binder.pdf                                         19934225       9/27/2017 10:54




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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19418              Acknowledgement.pdf                                  22541      6/13/2024 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19418              Annuity Contract.pdf                                162672      6/13/2024 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19418              Berwyn Death Search_031723 Scotty Inscore.pdf       153863      3/22/2023 13:49
Saiph consulting|\Audit Materials Received-   Berwyn Death Search_Jan2022_050422_Scotty
SuttonPark\Closing Binders\19418              Inscore.pdf                                         155409      5/25/2022 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19418              Court Order.pdf                                     271989      6/13/2024 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19418              Genworth Life Reconfig Letter up04-11-2022.pdf      476916      4/11/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19418              New - FE Stipulation.pdf                            504846      1/10/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19418              Redirection Confirmation New up07-27-2022.pdf       481472      7/26/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\19418              Stipulation.pdf                                     544007      6/13/2024 12:25
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Scotty Inscore POLICY
SuttonPark\Closing Binders\19418              K001068002 032223.pdf                               485038      3/22/2023 14:35
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Scotty Inscore POLICY
SuttonPark\Closing Binders\19418              K001068002 060622.pdf                               484912       6/6/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21340              21340 Birge, Rickey.tv5                              10016      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21340              Application.pdf                                      66181      2/15/2018 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21340              Birge, Rickey CBC NEW Binder.pdf                 27155762        2/7/2018 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21340              Court Order.pdf                                   1462100       2/15/2018 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21340              Credit Report.pdf                                    25886      2/15/2018 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21340              Disclosure.pdf                                      227525      2/15/2018 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21340              Fasano Report.pdf                                   107184      2/15/2018 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21340              New - FE Stipulation.pdf                            385245      1/10/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21340              Pleadings.pdf                                       296904      2/15/2018 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21340              Purchase Agreement.pdf                              231591      2/15/2018 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21341              21341 Deala, Tobie.tv5                               10255      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21341              Application.pdf                                     172942      2/15/2018 12:13




                                                               1392
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               All Paths/Locations                                   Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21341              Court Order.pdf                                      279744      2/15/2018 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21341              Credit Report.pdf                                     35790      2/15/2018 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21341              Disclosure.pdf                                       179132      2/15/2018 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21341              Drivers License.pdf                                  472750      2/15/2018 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21341              Fasano Auto Sliced.pdf                                61124      3/14/2019 23:44
Saiph consulting|\Audit Materials Received-   Owen, Tobie - cbc_deal_id_29061 combined
SuttonPark\Closing Binders\21341              binder.pdf                                        40137721      11/27/2017 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21341              Pleadings.pdf                                      1356124       2/15/2018 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21341              Purchase Agreement.pdf                               316900      2/15/2018 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21341              Seller Affidavit.pdf                                 100064      2/15/2018 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21341              Stipulation.pdf                                    1076908       2/15/2018 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21341              UCC Financing Statement.pdf                           89753      2/15/2018 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21342              21342 Williams, Jennifer.tv5                          10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21342              Application.pdf                                       45083      2/15/2018 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21342              Change of Ownership.pdf                               21988      2/15/2018 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21342              Disclosure.pdf                                        56817      2/15/2018 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21342              Drivers License.pdf                                  939788      2/15/2018 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21342              Fasano Report.pdf                                     73271      2/15/2018 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21342              Purchase Agreement.pdf                               188769      2/15/2018 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21342              UCC Financing Statement.pdf                          156863      2/15/2018 11:56
Saiph consulting|\Audit Materials Received-   Williams, Jennifer - cbc_deal_id_28673 combined
SuttonPark\Closing Binders\21342              binder.pdf                                         5997829      11/27/2017 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21343              21343 Cole-Angelo, Sara.tv5                           10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21343              Application.pdf                                       69585      2/15/2018 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21343              Benefits Letter.pdf                                   31141      2/15/2018 11:34
Saiph consulting|\Audit Materials Received-   Cole-Angelo, Sara - cbc_deal_id_26197 combined
SuttonPark\Closing Binders\21343              binder.pdf                                        26080511      11/27/2017 15:14




                                                                1393
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                                       3467



               All Paths/Locations                                   Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21343              Court Order.pdf                                    228739      2/15/2018 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21343              Credit Report.pdf                                   25004      2/15/2018 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21343              Disclosure.pdf                                     130992      2/15/2018 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21343              Fasano Report.pdf                                  173187      2/15/2018 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21343              Purchase Agreement Sara Cole 21343.pdf           2505160       2/20/2018 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21343              Seller Affidavit.pdf                                65729      2/15/2018 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\21343              UCC Financing Statement.pdf                         53241      2/15/2018 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22693              22693 Collateral File Sarver.pdf                 4648310       7/18/2017 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22693              22693 Sarver, Jules.tv5                             10206      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22693              Affidavit in Lieu of Settlement Agreement.pdf      120179      4/20/2021 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22693              Application.pdf                                    218333      4/20/2021 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22693              Benefits Letter.pdf                                 35951      4/20/2021 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22693              Court Order.pdf                                  1484615      10/31/2018 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22693              Disclosure - LA.pdf                                123021      4/20/2021 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22693              Disclosure - NY.pdf                                120976      4/20/2021 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22693              IPA.pdf                                            344462      4/20/2021 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22693              NYLife-Colonia redirection letter.pdf              106808      2/15/2019 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22693              Pleadings.pdf                                      363747      4/20/2021 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22693              Purchase Agreement.pdf                             713688      4/20/2021 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22693              Searches.pdf                                       391464      4/20/2021 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22693              Seller Affidavit.pdf                               213498      4/20/2021 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22693              Short form binder Sarver.pdf                    11047705       9/29/2017 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22693              Stipulation.pdf                                    378690      4/20/2021 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22708              22708 Mobray, Timothy.tv5                           10019      10/9/2024 17:31




                                                                1394
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                                       3467



               All Paths/Locations                              Unified Title                      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-   Allstate-Streams-Colonia v2 redirection
SuttonPark\Closing Binders\22708              confirmation.pdf                                        101782      2/21/2019 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22708              Allstate-Streams-Colonia v2 redirection letter.pdf      176581      2/15/2019 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22708              MobrayClosingBinder.pdf                              19800166      12/29/2023 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22713              22713 Williams, Patrick.tv5                              10148      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22713              Application.pdf                                         123913      11/28/2020 8:37
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\22713              Information.pdf                                         218094      11/28/2020 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22713              Back Up List of Continued Contacts.pdf                   16978      11/28/2020 8:37
Saiph consulting|\Audit Materials Received-   Berwyn Death Search_063022 Patrick J
SuttonPark\Closing Binders\22713              Williams.pdf                                            170066      7/23/2022 21:19
Saiph consulting|\Audit Materials Received-   Berwyn Death Search_Oct 22_Patrick
SuttonPark\Closing Binders\22713              Williams.pdf                                            153563       2/2/2023 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22713              Combined closing binder - Williams DRB.pdf           14554165       12/21/2017 3:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22713              Court Order.pdf                                         534378      11/28/2020 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22713              Credit Report.pdf                                     3635172       11/28/2020 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22713              Disclosure - CA.pdf                                     119632      11/28/2020 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22713              Disclosure - WA.pdf                                     108195      11/28/2020 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22713              Drivers License.pdf                                      94540      11/28/2020 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22713              Fasano Auto Sliced.pdf                                   80364      3/14/2019 23:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22713              Fasano Report.pdf                                        80364      11/28/2020 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22713              NASP Search.pdf                                         180476      11/28/2020 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22713              Petition.pdf                                          1217842       11/28/2020 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22713              Pleadings .pdf                                          756290      11/28/2020 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22713              Sale Agreement.pdf                                    2091557       11/28/2020 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22713              Searches.pdf                                          2343221       11/28/2020 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22713              Seller Affidavit.pdf                                     77377      11/28/2020 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22713              SSN Verification.pdf                                    111202      11/28/2020 8:37




                                                               1395
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1397 of
                                       3467



               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22713              Stipulation.pdf                                1048367       11/28/2020 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22713              Structured Settlement Questionaire.pdf           173190      11/28/2020 8:37
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Patrick J Williams POLICY
SuttonPark\Closing Binders\22713              AA0656458 072422.pdf                             357842      7/24/2022 14:03
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Patrick Williams POLICY
SuttonPark\Closing Binders\22713              AA0656458 021523.pdf                             485286      2/15/2023 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22713              Symetra-Colonia redirection letter.pdf           124339      2/15/2019 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22713              Waiver of IPA.pdf                                 15802      11/28/2020 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22715              22715 Leach, Donald.tv5                           10206      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22715              Application.pdf                                2983091       4/23/2021 15:01
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\22715              Information.pdf                                1882931       4/23/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22715              Bankruptcy Search.pdf                             95925      4/23/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22715              Benefits Letter.pdf                               24055      4/23/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22715              Berwyn and Fax Confirmation 03162020.pdf          73693      3/16/2020 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22715              Berwyn Death Search_021923 Donald Leach.pdf      153491       3/8/2023 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22715              Berwyn Death Search_42121 Donald Leach.pdf       156520      4/22/2021 13:59
Saiph consulting|\Audit Materials Received-   Berwyn Death Search_Dec21 04112022 Donald
SuttonPark\Closing Binders\22715              Leach.pdf                                        158445      4/25/2022 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35898              Williams.Carolyn.HIPAA.pdf                       296111      4/12/2011 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35898              Williams.Carolyn.LCQ.pdf                         279783      4/12/2011 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35898              Williams.Carolyn.MUR.pdf                          44206      4/12/2011 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35898              Williams.Carolyn.Purchase Contract.pdf           499463      4/12/2011 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35898              Williams.Carolyn.Stip.pdf                        426091      4/12/2011 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35898              Williams.Carolyn.UCC.pdf                       1329963      11/11/2011 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36116              36116 Additional Docs - Combined.pdf              70013       6/19/2019 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36116              36116 Lamoreaux, Jon.tv5                          10018      10/9/2024 17:30




                                                                1396
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                                       3467



               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36116              Application up07242019.pdf                        211945      7/22/2019 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36116              FASANO REPORT FROM DATA TAPE - 36116.pdf          553965      6/18/2019 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36116              FASANO REPORT FROM DATA TAPE.pdf                  553965      6/18/2019 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36116              Lamoreaux.Jon.Annuity Contract.pdf                164951       4/6/2011 16:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36116              Lamoreaux.Jon.Benefit Letter.pdf                   27416      6/13/2012 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36116              Lamoreaux.Jon.Best Interest Affidavit.pdf         172942     11/21/2012 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36116              Lamoreaux.Jon.Court Order.pdf                   1719612       7/16/2012 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36116              Lamoreaux.Jon.Credit.pdf                          638710      10/9/2024 21:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36116              Lamoreaux.Jon.Fasano MUR - 36116.pdf               82831       1/3/2013 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36116              Lamoreaux.Jon.Fasano MUR.pdf                      110683     11/21/2012 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36116              Lamoreaux.Jon.HIPAA.pdf                           300106     11/21/2012 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36116              Lamoreaux.Jon.LCQ.pdf                             283294     11/21/2012 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36116              Lamoreaux.Jon.POR.pdf                             402579      7/16/2012 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36116              Lamoreaux.Jon.Purcahse Contract.pdf               469954     11/21/2012 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36116              Lamoreaux.Jon.Qualified Assignment.pdf             73439       4/6/2011 16:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36116              Lamoreaux.Jon.Stip.pdf                          2598953       7/16/2012 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36116              Lamoreaux.Jon.UCC.pdf                           1088192       10/9/2024 21:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36116              Redirection Confirmation 36116.pdf                275704      2/20/2020 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36116              Redirection Confirmation New 36116.pdf            705223      3/23/2023 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36116              Redirection_Compass TransAm up01-31-2020.pdf      666080      1/31/2020 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36116              20200131132909811.tif                              34094
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36116              SSC up07242019.pdf                                 39210      7/22/2019 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36123              36123 Additional Docs - Combined.pdf            4063031        6/19/2019 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36123              36123 Sanchez, J. Hurtado.tv5                      10451      10/9/2024 17:36




                                                            1397
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                                       3467



               All Paths/Locations                                Unified Title                   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36123              Ack up07102019.pdf                                      47570        6/2/2014 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36123              Court Processing Verification.pdf                       71761       10/9/2024 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36123              FASANO REPORT FROM DATA TAPE - 36123.pdf               450060       6/18/2019 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36123              FASANO REPORT FROM DATA TAPE.pdf                       450060       6/18/2019 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36123              Hurtado Sanchez.Jaime.Benefit Letter.pdf                21773      10/10/2012 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36123              Hurtado Sanchez.Jaime.Best Interest Affidavit.pdf      269802      11/20/2012 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36123              Hurtado Sanchez.Jaime.Contract.pdf                     789207      11/20/2012 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36123              Hurtado Sanchez.Jaime.Credit.pdf                        39467       9/25/2012 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36123              Hurtado Sanchez.Jaime.Disclosures.pdf                  682650       11/8/2012 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36123              Hurtado Sanchez.Jaime.Fasano MUR - 36123.pdf            82108       1/14/2013 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36123              Hurtado Sanchez.Jaime.Fasano MUR.pdf                    81507        9/29/2012 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36123              Hurtado Sanchez.Jaime.HIPAA.pdf                        428075      11/21/2012 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36123              Hurtado Sanchez.Jaime.LCQ.pdf                          524405      11/21/2012 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36123              Hurtado Sanchez.Jaime.Name Addendum.pdf                 15043       11/2/2012 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36123              Hurtado Sanchez.Jaime.Qualified Assignment.pdf          55377      10/10/2012 17:18
Saiph consulting|\Audit Materials Received-   Hurtado Sanchez.Jaime.Release and
SuttonPark\Closing Binders\36123              Settlement.pdf                                         120934      10/10/2012 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36123              Hurtado Sanchez.Jaime.STIP.pdf                          65819       11/8/2012 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36123              Hurtado Sanchez.Jaime.UCC.pdf                        1106952       10/30/2012 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36123              Redirection Confirmation 36123.pdf                     278315       2/20/2020 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36123              Redirection Confirmation New 36123.pdf                 252341       11/8/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36973              36973 Vega, Michael.tv5                                   9968      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36973              Acknowledgement .pdf                                    11439       8/14/2019 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36973              Bankruptcy Search.pdf                                  187833       8/14/2019 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36973              Credit Report.pdf                                      269309       8/14/2019 13:23




                                                             1398
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                                       3467



               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36973              Lien Search .pdf                                   180691      8/14/2019 13:23
                                              Michael Vega IGT Casino Winning WMS IOF
Saiph consulting|\Audit Materials Received-   Closing Binder W0047510xABA0B up08-20-
SuttonPark\Closing Binders\36973              2019.pdf                                         2138422         5/6/2007 9:26
                                              Michael Vega IGT Casino Winning WMS IOF
Saiph consulting|\Audit Materials Received-   Closing Binder W0047510xABA0B_2 up08-21-
SuttonPark\Closing Binders\36973              2019.pdf                                         2118074        9/5/2019 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36973              New - Sale and Assignment Agreement.pdf            181747      10/9/2024 19:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36973              Release.pdf                                         17205      8/14/2019 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36973              Searches.pdf                                       377196      8/14/2019 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36973              Seller Identification.pdf                           79734      8/14/2019 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36973              UCC Search.pdf                                     606449      8/14/2019 13:23
Saiph consulting|\Audit Materials Received-   Vega Letter of Direction W0392857xABA0B up01-
SuttonPark\Closing Binders\36973              24-2020.PDF                                         27983      3/30/2017 10:39

Saiph consulting|\Audit Materials Received-   VEGA Michael Vega IGT Casino Winning WMS IOF
SuttonPark\Closing Binders\36973              Closing Binder W0047510 up08072019.PDF           2138422         5/6/2007 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\36973              W-9.pdf                                             41478      8/14/2019 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\37796              37796 Thompson, Ruth.tv5                            10447      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\37796              Application for Medical History.pdf                396030      8/24/2019 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\37796              Court Order.pdf                                    127218       9/8/2019 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\37796              Credit Report.pdf                                   42863      2/12/2020 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\37796              ID.pdf                                              12104      2/12/2020 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\37796              Proof of Payments.pdf                              226994     12/30/2019 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\37796              Proof of Service.pdf                               519286      8/24/2019 11:19
Saiph consulting|\Audit Materials Received-   Ruth Ann Thompson Lexis Nexis Person Search
SuttonPark\Closing Binders\37796              Plus 05062021.pdf                                  293442       5/6/2021 16:33

Saiph consulting|\Audit Materials Received-   Ruth Ann Thompson transamerica structured
SuttonPark\Closing Binders\37796              settlement W0082744xABA0B up02-05-2020.PDF          36644      2/17/2009 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\37796              RuthAnnBinderpages.pdf                           1384538      10/30/2019 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\37796              Stipulation1.pdf                                   558293      8/24/2019 11:24




                                                              1399
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                                       3467



               All Paths/Locations                              Unified Title                      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-   Successful transmission-Re_ Verification of Living
SuttonPark\Closing Binders\37796              Statement 08042021.pdf                                  111718       8/4/2021 15:58
Saiph consulting|\Audit Materials Received-   THOMPSON2 file 37796 Life Insurance policy
SuttonPark\Closing Binders\37796              W0549812xABA0B up02-05-2020.PDF                         951573       2/3/2020 12:21
Saiph consulting|\Audit Materials Received-   THOMPSON2 Thompson Ruth Ann LB W0081547
SuttonPark\Closing Binders\37796              up08072019.pdf                                          316032       2/3/2009 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\37796              VLS 06032021.pdf                                        148176       8/4/2021 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               3793 - Acknowledgment.pdf                               118783      1/10/2024 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               3793 Mattingly, David.tv5                                10015      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               58001231 Mattingly.pdf                               16324779       8/22/2013 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               Abstract of Judgement Notice.pdf                        199903     10/16/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               Application.pdf                                       1611132      10/16/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               Bankruptcy Court.pdf                                    152267     10/16/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               Benefits Letter.pdf                                      30012     10/16/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               Certificate of Qualification.pdf                         26187     10/16/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               Court Order Petition.pdf                              1847341      10/16/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               Court Order.pdf                                       1389487      10/16/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               Death Certificate.pdf                                    86040     10/16/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               Disclosure - KY.pdf                                     657519     10/16/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               Divorce.pdf                                           1121927      10/16/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               Genworth Life Reconfig Letter up04-11-2022.pdf          476916      4/11/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               Genworth Redirection Letter.pdf                          47802      10/2/2013 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               New - Acknowledgment.pdf                                118783      1/10/2024 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               Notice of Assignment.pdf                                337105     10/16/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               Notice of Ruling.pdf                                  1036447      10/16/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               Order Completion Report.pdf                              96628     10/16/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               PACER Report.pdf                                         13870     10/16/2020 10:47




                                                              1400
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                                       3467



               All Paths/Locations                                   Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               Proof of Service.pdf                                229492     10/16/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               Purchase Agreement.pdf                            5329435      10/16/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               Redirection Confirmation New up07-27-2022.pdf       481472      7/26/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               Seller Affidavit.pdf                                712605     10/16/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               Seller Identification.pdf                            64591     10/16/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               Settlement Agreement.pdf                            612939     10/16/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               Spousal Consent.pdf                                 150750     10/16/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               SSN.pdf                                              39916       7/9/2024 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3793               Waiver of Professional Advice.pdf                   352080     10/16/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               3794 York, Brenda.tv5                                10188      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               Acknowledgement.pdf                                  83114      7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               Advance repayment.pdf                               364570      7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               Affidavit in lieu of Settlement Agreement.pdf       162362      7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               Affidavit of service.pdf                            583157      7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               Annuity Contract.pdf                              1236421       7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               Application.pdf                                     129591      7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               Closing Book (pt 1) - York.pdf                    4899959       7/14/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               Closing Book (pt 2) - York.pdf                    5686100       7/14/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               Court Order 58003278.pdf                            231471      12/4/2008 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               Disclosure - SC.pdf                                 327925      7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               Disclosure - VA.pdf                                 322623      7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               Genworth Life Reconfig Letter up04-11-2022.pdf      476916      4/11/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               Genworth Redirection Letter.pdf                      47802      10/2/2013 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               Independent Professional Advice .pdf                 66144      7/14/2021 13:20




                                                              1401
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1403 of
                                       3467



               All Paths/Locations                                   Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               Irr. Designation.pdf                                    41329      7/14/2021 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               Lien search.pdf                                        198911      7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               Party information.pdf                                   62926      7/14/2021 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               Pleadings.pdf                                        4580100       7/14/2021 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               Purchase Agreement.pdf                               1023337       7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               Qualified Assignment.pdf                               312977      7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               Redirection Confirmation New up07-27-2022.pdf          481472      7/26/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               Seller Affidavit.pdf                                   372906      7/14/2021 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               Statement of Dependents.pdf                             60713      7/14/2021 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               Supplemental Declaration.pdf                           398778      7/14/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3794               UCC search.pdf                                         232365      7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3827               3827 Annuity Contract.pdf                              230147      11/2/2007 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3827               3827 Potter, Feliciano.tv5                              10961      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3827               58002288 Potter.pdf                                  8737229       9/26/2013 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3827               Affidavit in Lieu of Settlement Agreement.pdf          269761     12/29/2020 16:07
Saiph consulting|\Audit Materials Received-   Allstate Life Insurance Co. of NY Redirection
SuttonPark\Closing Binders\3827               Letter.pdf                                              36008      10/2/2013 14:16
Saiph consulting|\Audit Materials Received-   Allstate Ltr - Feliciano Potter Policy 95006477 -
SuttonPark\Closing Binders\3827               Nov 2019.pdf                                           115386     12/17/2019 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3827               Application.pdf                                        160150     12/29/2020 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3827               Disclosure.pdf                                         252428     12/29/2020 16:07

Saiph consulting|\Audit Materials Received-   Fax Transmisson Results Allstate Ltr - Feliciano
SuttonPark\Closing Binders\3827               Potter Policy 95006477 -Nov 2019.pdf                   473202     12/17/2019 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3827               Infant Compromise Order.pdf                            260140     12/29/2020 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3827               List of Dependents.pdf                                  24653     12/29/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3827               Notice of Hearing.pdf                                  229209     12/29/2020 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3827               Petition.pdf                                           257472     12/29/2020 16:07



                                                               1402
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1404 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3827               Potter, Feliciano.docx                     25280      9/26/2013 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3827               Searches.pdf                              378874     12/29/2020 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3827               Seller Affidavit.pdf                      264355     12/29/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3827               Seller Identification.pdf                  21379     12/29/2020 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3827               Stipulation.pdf                         3274532      12/29/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3827               Transfer Agreement.pdf                    993303     12/29/2020 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3827               Waiver of IPA.pdf                          27022     12/29/2020 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3886               Redirection Letter-Guthrie.pdf             34235      11/13/2013 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\3886               Symetra Redirection Letter.pdf             41092      10/2/2013 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38923              118217 up11-12-2019.pdf                 1285153       11/4/2019 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38923              118217.pdf                             13284704       7/19/2019 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38923              image001.png                               41050
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38923              38923 Godwin, Franklin.tv5                 13419      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38923              Benefits Letter.pdf                     8067924      10/28/2019 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38923              Court Order.pdf                           201670     10/28/2019 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38923              Credit Report.pdf                          54727     10/28/2019 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38923              Disclosure - DE.pdf                       104792     10/28/2019 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38923              Disclosure - FL.pdf                       104963     10/28/2019 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38923              Disclosure - GA.pdf                       111546     10/28/2019 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38923              Fasano Report.pdf                          82489     10/28/2019 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38923              NASP.pdf                                1556924       11/5/2019 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38923              image001.png                               41050
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38923              Purchase Agreement.pdf                    237076     10/28/2019 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38923              Seller Identification.pdf               2316438      10/28/2019 11:56




                                                                1403
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1405 of
                                       3467



               All Paths/Locations                                  Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38942              118160 up11-12-2019.pdf                         2190233       11/4/2019 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38942              118160.pdf                                      8442156       7/10/2019 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38942              38942 Willingham, Damascus.tv5                     10025      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38942              Court Order.pdf                                   120478     10/26/2019 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38942              Credit Report.pdf                                 381249     10/26/2019 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38942              Damascus Willingham Annuity Contract.pdf          192465      4/24/2020 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38942              Damascus Willingham Benefits Letter.pdf            29981      4/24/2020 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38942              Damascus Willingham ID Card.pdf                   120044      4/24/2020 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38942              Damascus Willingham Qualified Assignment.pdf      268030      4/24/2020 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38942              Damascus Willingham Settlement Agreement.pdf      451826      4/24/2020 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38942              Damascus Willingham SSN Verification.pdf          124559      4/24/2020 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38942              Disclosure - NJ.pdf                               383930     10/26/2019 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38942              Disclosure - TN.pdf                               106589     10/26/2019 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38942              Drivers License.pdf                                90047     10/26/2019 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38942              Fasano.pdf                                         80886     10/26/2019 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38942              Purchase Agreement.pdf                            263323     10/26/2019 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38942              Request For Acknowledgement.pdf                   205308     10/26/2019 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38942              Searches.pdf                                    1672519      10/26/2019 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\38942              Stipulation.pdf                                 5260432      10/26/2019 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39017              117904.pdf                                     16065333       4/25/2019 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39017              39017 Parker, David.tv5                            10259      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39017              Benefits Letter.pdf                             1537635      10/15/2019 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39017              Court Order.pdf                                   207465     10/15/2019 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39017              Credit Report.pdf                               5032353      10/15/2019 14:15




                                                                1404
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                                       3467



               All Paths/Locations                                  Unified Title          File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39017              David Parker Temp TX ID.pdf                     127998      10/24/2019 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39017              Disclosure - TX.pdf                             230277      10/15/2019 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39017              Fasano Report.pdf                                77680      10/15/2019 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39017              Judgment.pdf                                    120052      10/15/2019 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39017              Purchase Agreement.pdf                        1759120       10/15/2019 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39017              Seller Identification.pdf                       215033      10/15/2019 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39017              Stipulation.pdf                               5655211        11/4/2019 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39019              117900 up11-12-2019.pdf                         380886       11/5/2019 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39019              117900.pdf                                    3793598        5/21/2019 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39019              image001.png                                     41050
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39019              39019 Reda, Carmen.tv5                           10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39019              Annuity Contract.pdf                            200581      10/15/2019 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39019              Bankruptcy Search.pdf                           175319       11/4/2019 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39019              Benefits Letter.pdf                             123043      10/15/2019 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39019              Court Order.pdf                                 213328      10/15/2019 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39019              Credit Report.pdf                               191553      10/15/2019 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39019              Disclosure - OH.pdf                             333322      10/15/2019 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39019              Fasano Report.pdf                                83024      10/15/2019 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39019              NASP.pdf                                        419032       11/4/2019 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39019              image001.png                                     41050
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39019              Purchase Agreement.pdf                        1213242       10/15/2019 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39019              Seller Identification.pdf                       226696      10/15/2019 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39314              39314 Damore, David.tv5                            9965      10/9/2024 17:27

Saiph consulting|\Audit Materials Received-   58011115_David
SuttonPark\Closing Binders\39314              DAmore_SpecialtyFinance_09172019171529.pdf   17410619        9/17/2019 20:12



                                                                1405
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                                       3467



               All Paths/Locations                                Unified Title          File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39314              Acknowledgement to Trinity.pdf                206300      12/16/2021 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39314              Assignment to Trinity.pdf                      44617       1/26/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39314              Court Order.pdf                               357147       9/25/2019 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39314              Credit Report.pdf                             594665       9/25/2019 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39314              Disclosure - NY.pdf                           374230       9/25/2019 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39314              Filed Petition to Trinity.pdf               2074086       11/15/2021 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39314              Order to Trinity.pdf                          266449       1/10/2022 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39314              Purchase Agreement.pdf                      1661600        9/25/2019 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39314              Seller Identification.pdf                      99638       9/25/2019 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39314              SSN.pdf                                        31820       9/25/2019 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39314              Win Letter.pdf                                930611      10/27/2019 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39357              39357 Vice, Michael.tv5                          9967      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-   58018698_Michael
SuttonPark\Closing Binders\39357              Vice_SpecialtyFinance_09162019131140.pdf   68081463        9/16/2019 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39357              Acknowledgement to Trinity.pdf                203020      12/16/2021 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39357              Acknowledgement.pdf                            74246      10/11/2019 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39357              Affidavit.pdf                                 702073      10/11/2019 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39357              Assignment Agreement to Trinity.pdf            48064       3/11/2022 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39357              Assignment.pdf                              2901438       10/11/2019 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39357              Certified Order to Trinity.pdf                267628       4/19/2022 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39357              Court Order.pdf                               370781      10/11/2019 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39357              Credit Report.pdf                           4131881       10/11/2019 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39357              Disclosure.pdf                                262997      10/11/2019 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39357              Divorce Docs.pdf                              572250      10/11/2019 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39357              Drivers License.pdf                           393872      10/11/2019 15:12




                                                               1406
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                                       3467



               All Paths/Locations                                   Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39357              Filed Petition to Trinity.pdf                 2163082      11/15/2021 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39357              Michael Vice People Search 10112019.pdf         775916     10/11/2019 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39357              Pleadings.pdf                                 1798298      10/11/2019 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39357              Prior Court Orders.pdf                        5988491      10/11/2019 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39357              Prize Certificate.pdf                           373664     10/11/2019 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39357              Purchase Agreement.pdf                        4239974      10/11/2019 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39357              Seller Affidavit.pdf                            337934     10/11/2019 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39357              Social Security Card.pdf                        732044     10/11/2019 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39357              UCC Financing Statement.pdf                   2580546      10/11/2019 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39357              W2G.pdf                                         635550     10/11/2019 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39357              W9.pdf                                          326217     10/11/2019 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39366              39366 Torres, Maria.tv5                          10440      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-   58019456_Maria
SuttonPark\Closing Binders\39366              Torres_SpecialtyFinance_09162019125915.pdf   12076246       9/16/2019 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39366              Acknowledgement to Trinity.pdf                  203080     12/16/2021 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39366              Assignment to Trinity.pdf                        44520      1/26/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39366              Assignment.pdf                                2121688       9/27/2019 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39366              Certified Order to Trinity.pdf                  267690      4/19/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39366              Court Order.pdf                                 365488      9/27/2019 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39366              Credit Report.pdf                               312550      9/27/2019 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39366              Disclosure - NY.pdf                             197906      9/27/2019 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39366              Divorce.pdf                                     289403      9/27/2019 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39366              Filed Petition to Trinity.pdf                 2069179      11/15/2021 17:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39366              Order to Trinity.pdf                            169274      1/25/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39366              Prior Court Orders.pdf                          925404      9/27/2019 11:47




                                                              1407
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                                       3467



               All Paths/Locations                                   Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39366              Proof of Service.pdf                                 549274      9/27/2019 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39366              Purchase Agreement.pdf                             2152672       9/27/2019 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39366              Searches.pdf                                       1076956       9/27/2019 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39366              Seller Affidavit.pdf                                 821444      9/27/2019 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39366              Seller Identification.pdf                            117893      9/27/2019 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39366              UCC.pdf                                            2135483       9/27/2019 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39366              W9.pdf                                               231315      9/27/2019 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39366              Win Letter.pdf                                       349019      9/27/2019 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39398              39398 Czerniawski, Ralph.tv5                          10123      10/9/2024 17:32
                                              58021437_Ralph
Saiph consulting|\Audit Materials Received-   Czerniawski_SpecialtyFinance_09172019161439.
SuttonPark\Closing Binders\39398              pdf                                               32339783       9/17/2019 19:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39398              Acknowledgement to Texas Republic.pdf                188458      12/6/2021 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39398              Affidavit of David H. LaBorde.pdf                    583501      10/8/2019 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39398              Affidavit of Ralph Czerniawski.pdf                 3057867       10/8/2019 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39398              Affidavit of Service.pdf                             152277      10/8/2019 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39398              Affidavit.pdf                                         77603      10/8/2019 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39398              Affirmation of Service.pdf                            75352      10/8/2019 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39398              Amended Disclose Statement.pdf                     1440561       10/8/2019 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39398              Amended Terms Rider.pdf                              870156      10/8/2019 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39398              Attorney Verification.pdf                             72466      10/8/2019 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39398              Bofi Lottery Receivables Purchase Agreement.pdf    3153103       10/8/2019 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39398              Certificate of Term Payment.pdf                      490197      10/8/2019 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39398              Court Order.pdf                                      688700      10/8/2019 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39398              Credit Report.pdf                                  5248107       10/8/2019 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39398              Disclosure .pdf                                      482552      10/8/2019 12:20



                                                                1408
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1410 of
                                       3467



               All Paths/Locations                               Unified Title              File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39398              McKinney Tax Law.pdf                             659464       10/8/2019 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39398              Notice of Entry.pdf                               94546       10/8/2019 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39398              Order to Texas Republic.pdf                      278181       1/10/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39398              Prior Court Orders.pdf                           856009       10/8/2019 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39398              Proof of Service.pdf                          32434633        10/8/2019 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39398              Sale and Assignment Agreement.pdf              5562983        10/8/2019 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39398              Searches.pdf                                   1948947        10/8/2019 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39398              Terms Rider.pdf                                  990471       10/8/2019 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39398              W-9 Form.pdf                                     955271       10/8/2019 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39408              39408 Fabiano, Frances.tv5                          9998      10/9/2024 17:29

Saiph consulting|\Audit Materials Received-   58021718_Frances
SuttonPark\Closing Binders\39408              Fabiano_SpecialtyFinance_09162019152513.pdf   13932032        9/16/2019 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39408              Acknowledgement to Trinity.pdf                   206520      12/16/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39408              Assignment to Trinity.pdf                         44353       1/26/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39408              Court Order to B of I.pdf                      3115621       11/27/2019 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39408              Court Order.pdf                                1219818        10/1/2019 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39408              Disclosure.pdf                                   279318       10/1/2019 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39408              Order to Trinity.pdf                             303526       1/10/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39408              Petition to Trinity.pdf                        2185260       11/15/2021 17:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39408              Purchase Agreement.pdf                         2124222        10/1/2019 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39408              Seller Identification.pdf                         65659       10/1/2019 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39408              SSN.pdf                                          221838       10/1/2019 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39408              UCC Financing Statement.pdf                      782502       10/1/2019 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39408              W-9.pdf                                          406711       10/1/2019 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39408              Win letter.pdf                                   846451       10/1/2019 14:22



                                                               1409
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1411 of
                                       3467



               All Paths/Locations                                   Unified Title         File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39418              39418 Moss, Olga.tv5                               9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-   58021916_Olga
SuttonPark\Closing Binders\39418              Moss_SpecialtyFinance_09172019150847.pdf     14160483        9/17/2019 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39418              Ack to Texas Republic.pdf                        20086        2/15/2022 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39418              Acknowledgement.pdf                             169850       10/1/2019 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39418              Affidavit Statutory Compliance.pdf            1656685        10/1/2019 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39418              Affidavit.pdf                                   845624       10/1/2019 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39418              Affirmation.pdf                                 141579       10/1/2019 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39418              Assignment Agreement to Texas Republic.pdf       45109       3/11/2022 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39418              Assignment Agreement.pdf                        314937       10/1/2019 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39418              Certificate of Death.pdf                        447011       10/1/2019 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39418              Certificate of Term Payment.pdf                 736997       10/1/2019 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39418              Certified Order to Texas Republic.pdf           267306        3/11/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39418              Court Order to B of I.pdf                       579606      11/27/2019 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39418              Court Order.pdf                                 602450       10/1/2019 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39418              Disclosure.pdf                                  254290       10/1/2019 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39418              Filed Petition.pdf                            2184744       10/29/2021 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39418              Lottery Prize Assignment Agreement.pdf        1935848        10/1/2019 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39418              Lottery Prize Assignmentr Agreement.pdf       1935848        10/1/2019 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39418              Order to Texas Republic.pdf                     181930        2/15/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39418              Prior Court Orders.pdf                        1011570        10/1/2019 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39418              Searches.pdf                                    959042       10/1/2019 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39418              Seller Affidavit.pdf                            720046       10/1/2019 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39418              Seller Identification.pdf                       213964       10/1/2019 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39418              W 2G Statement.pdf                              101947       10/1/2019 11:10




                                                               1410
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                                       3467



               All Paths/Locations                                 Unified Title          File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39418              W-9 Form.pdf                                   182338       10/1/2019 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39422              39422 Ponzi, Joanne.tv5                           9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-   58021965_Joanne
SuttonPark\Closing Binders\39422              Ponzi_SpecialtyFinance_09172019151601.pdf   12407554        9/17/2019 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39422              Affidavit of Statutory Compliance.pdf        1853322        10/1/2019 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39422              Affidavit.pdf                                1510108        10/1/2019 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39422              Affirmation.pdf                                136523       10/1/2019 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39422              Certificate of Term Payment.pdf                765759       10/1/2019 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39422              Certified Order to Texas Republic.pdf          279526        2/4/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39422              Court Order to B of I.pdf                      321913      11/27/2019 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39422              Court Order.pdf                                603744       10/1/2019 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39422              Disclosure.pdf                                 230565       10/1/2019 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39422              Ex Parte Application.pdf                        79162       10/1/2019 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39422              Filed Petition.pdf                           2217385       10/29/2021 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39422              Lottery Prize Assignment Agreement.pdf       2065775        10/1/2019 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39422              Order to Texas Republic.pdf                    181819       1/25/2022 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39422              Searches.pdf                                 1582296        10/1/2019 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39422              Seller Identification.pdf                      117870       10/1/2019 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39422              Seneca One Letter.pdf                          188974       10/1/2019 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39422              W-9 Form.pdf                                   195925       10/1/2019 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39424              39424 Bernett, Shaw.tv5                           9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-   58022005_Bernett
SuttonPark\Closing Binders\39424              Shaw_SpecialtyFinance_09172019145651.pdf    11934758        9/17/2019 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39424              Ack to Texas Republic.pdf                      110620       2/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39424              Affidavit of Service.pdf                       211724        10/2/2019 6:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39424              Affidavit of Statutory Compliance.pdf        1578144         10/2/2019 6:27




                                                               1411
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                                       3467



               All Paths/Locations                                 Unified Title          File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39424              Affidavit.pdf                                1047382         10/2/2019 6:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39424              Affirmation.pdf                                118622        10/2/2019 6:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39424              Assignment Agreement.pdf                       105593        10/2/2019 6:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39424              Certificate of Service.pdf                     582394        10/2/2019 6:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39424              Certificate Of Term Payment.pdf                540020        10/2/2019 6:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39424              Court Order to B of I.pdf                    3196487       11/27/2019 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39424              Court Order.pdf                                482488        10/2/2019 6:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39424              Disclosure.pdf                                 180842        10/2/2019 6:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39424              Ex Parte Application.pdf                        85042        10/2/2019 6:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39424              Filed Petition.pdf                           1530271       10/29/2021 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39424              Lottery Prize Assignment Agreement.pdf       1901844         10/2/2019 6:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39424              Prior Court Order.pdf                        1257746         10/2/2019 6:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39424              Searches.pdf                                 2019752         10/2/2019 6:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39424              Seller Identification.pdf                      151721        10/2/2019 6:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39424              Seneca One Letter.pdf                           93244        10/2/2019 6:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39450              39450 Fusco, Jerry.tv5                            9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-   58023250_Jerry
SuttonPark\Closing Binders\39450              Fusco_SpecialtyFinance_09172019170902.pdf   38471197        9/17/2019 20:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39450              Acknowledgement.pdf                             58235      10/13/2021 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39450              Certified Order to Texas Republic.pdf          276594       4/19/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39450              Court Order.pdf                              2365544        10/2/2019 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39450              Credit Report.pdf                            3519254        10/2/2019 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39450              Declaration of Residence.pdf                   134938       10/2/2019 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39450              Marital Status.pdf                              86071       10/2/2019 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39450              Purchase Agreement.pdf                         859649       10/2/2019 16:50




                                                               1412
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                                       3467



               All Paths/Locations                                   Unified Title         File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39450              Seller Affidavit.pdf                            251043       10/2/2019 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39450              Seller Identification.pdf                        87039       10/2/2019 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39450              SSN.pdf                                          98468       10/2/2019 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39450              UCC Financing Statement.pdf                   5468279        10/2/2019 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39450              W-9.pdf                                         420786       10/2/2019 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39450              Win Letter.pdf                                  619874       10/2/2019 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39467              39467 Steadman, Raymond.tv5                        9965      10/9/2024 17:27
                                              58026337_Raymond
Saiph consulting|\Audit Materials Received-   Steadman_SpecialtyFinance_09172019173209.p
SuttonPark\Closing Binders\39467              df                                           14684417        9/17/2019 20:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39467              Acknowledgement to Trinity.pdf                  203680      12/16/2021 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39467              Acknowledgement.pdf                              55414      10/13/2021 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39467              Assignment to Trinity.pdf                        45024       1/26/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39467              Assignment.pdf                                1345526        10/8/2019 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39467              Certified Order to Trinity.pdf                  265396       4/19/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39467              Court Order.pdf                                 438646       9/24/2019 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39467              Credit Report.pdf                               882370       9/24/2019 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39467              Disclosure.pdf                                   76005       9/24/2019 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39467              Filed Petition to Trinity.pdf                 2133184       11/15/2021 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39467              Lottery Certificate.pdf                         301417       9/24/2019 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39467              Purchase Agreement.pdf                          395215       9/24/2019 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39467              Seller Identification.pdf                        75959       9/24/2019 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39467              SSN.pdf                                         119198       9/24/2019 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39467              UCC Financing Statement.pdf                   2072155       10/29/2019 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39467              W-9.pdf                                         171397      10/29/2019 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39467              Win Letter.pdf                                  301417       10/8/2019 16:57



                                                               1413
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                                       3467



               All Paths/Locations                                  Unified Title              File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39876              118274.pdf                                        3428600         8/1/2019 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39876              image001.png                                         62961
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39876              39876 Graziano, Michael.tv5                            9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39876              Acknowledgement Letter confirmation rquest.pdf      251851       10/28/2019 7:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39876              Annuity Contract.pdf                                144522       10/28/2019 7:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39876              Benefits Letter.pdf                                  47243       10/28/2019 7:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39876              Court Order.pdf                                     158379       10/28/2019 7:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39876              Credit Report.pdf                                    34707       10/28/2019 7:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39876              Disclosure - AL.pdf                                 101893       10/28/2019 7:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39876              Disclosure - FL.pdf                                 100605       10/28/2019 7:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39876              Disclosure - MO.pdf                                  91159       10/28/2019 7:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39876              DRG Correspondence.pdf                              168492       10/28/2019 7:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39876              image001.png                                         62961
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39876              Fasano.pdf                                           78933       10/28/2019 7:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39876              Purchase Agreement.pdf                              193285       10/28/2019 7:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39876              Searches.pdf                                      1634684        10/28/2019 7:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39876              Seller Identification.pdf                           275033       10/28/2019 7:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39876              Settlement Agreement.pdf                            199752       10/28/2019 7:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39885              118785.pdf                                        9140311         8/8/2019 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39885              image001.png                                         62961
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39885              image001.png                                         62961
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39885              39885 Lancaster, Cliff.tv5                           10673       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39885              Acknowledgement Letter.pdf                          244865      10/27/2019 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39885              Cliff Lancaster Annuity Contract.pdf              2644346         4/28/2020 9:33




                                                              1414
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                                       3467



               All Paths/Locations                                  Unified Title        File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39885              Cliff Lancaster Qualified Assignment.pdf      142250        4/28/2020 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39885              Cliff Lancaster Settlement Agreement.pdf      274823        4/28/2020 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39885              Cliff Lancaster SSN Verification.pdf          183787       4/28/2020 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39885              Court Order.pdf                               528148      10/27/2019 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39885              Credit Report.pdf                              37511      10/27/2019 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39885              Disclosure - IL.pdf                           674305      10/27/2019 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39885              Disclosure - NJ.pdf                           628519      10/27/2019 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39885              Fasano.pdf                                     80564      10/27/2019 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39885              Prior Court Orders.pdf                        349076      10/27/2019 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39885              Purchase Agreement.pdf                      2963829       10/27/2019 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39885              Searches.pdf                                1879588       10/27/2019 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39885              image001.png                                   62961
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39885              image001.png                                   62961
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39885              Seller Identification.pdf                     878180      10/27/2019 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39885              Stipulation.pdf                               927245      10/27/2019 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39888              118790.pdf                                 35013087         9/4/2019 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39888              image001.png                                   62961
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39888              39888 Herbert, Nancy.tv5                         9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39888              Acknowledgement.pdf                           182824      10/10/2019 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39888              Benefits Letter.pdf                            59220      10/10/2019 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39888              Court Order.pdf                               450689      10/10/2019 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39888              Credit Report.pdf                             615699      10/10/2019 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39888              Disclosure - DE.pdf                         2087951       10/10/2019 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39888              Disclosure - FL.pdf                         2113205       10/10/2019 16:22




                                                                1415
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                                       3467



               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39888              Disclosure - MD.pdf                  1525577       10/10/2019 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39888              Disclosure - WA.pdf                  2229688       10/10/2019 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39888              Drivers License.pdf                 14925626       10/10/2019 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39888              Fasano Docs.pdf                         78984      10/10/2019 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39888              NASP.pdf                            16446433       10/10/2019 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39888              image001.png                            62961
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39888              Pacer.pdf                              177550      10/10/2019 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39888              Purchase Agreement.pdf               7677283       10/10/2019 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39888              Searches.pdf                           127134      10/10/2019 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39888              Stip.pdf                             1249820       10/10/2019 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39891              118798.pdf                          35236017        10/8/2019 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39891              39891 Reiche, Brent.tv5                   9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39891              Court Order.pdf                        191736      10/11/2019 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39891              Credit Report.pdf                      412121      10/11/2019 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39891              Disclosure - AZ.pdf                  3203865       10/11/2019 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39891              Disclosure - CO.pdf                  3189223       10/11/2019 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39891              Disclosure - UT.pdf                  3312557       10/11/2019 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39891              Drivers License.pdf                     71840      10/11/2019 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39891              Fasano.pdf                              78378      10/11/2019 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39891              NASP.pdf                             2508518       10/11/2019 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39891              Pacer.pdf                              125184      10/11/2019 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39891              Proof of Service.pdf                    84458      10/11/2019 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39891              Purchase Agreement.pdf              11849231       10/11/2019 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39891              Reiche SSN.pdf                         645954      10/23/2019 15:01




                                                               1416
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1418 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39891              Searches.pdf                            171237      10/11/2019 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39891              Stipulation.pdf                         430923      10/11/2019 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39893              118802.pdf                            8852117        8/21/2019 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39893              image002.png                               4835
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39893              image003.png                             62961
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39893              39893 Mason, Yolanda.tv5                   9988      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39893              Benefit letter.pdf                      378554      10/24/2019 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39893              Court Order.pdf                         673757      10/11/2019 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39893              Credit Report.pdf                     2709420       10/11/2019 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39893              Disclosure - GA.pdf                      94414      10/11/2019 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39893              Disclosure - NY.pdf                     103567      10/11/2019 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39893              Drivers License.pdf                     155423      10/11/2019 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39893              Fasano.pdf                               16301      10/11/2019 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39893              NASP.pdf                              2823479       10/11/2019 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39893              image002.png                               4835
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39893              image003.png                             62961
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39893              Pacer.pdf                               183137      10/11/2019 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39893              Purchase Agreement.pdf                  276875      10/11/2019 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39893              Searches.pdf                            140996      10/11/2019 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39893              SSC 39893.pdf                           119674      10/24/2019 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39893              Stipulation.pdf                       1472055       10/11/2019 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39895              118806.pdf                            7187308        8/21/2019 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39895              image001.png                             62961
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39895              39895 Helmick, Christopher.tv5             9999      10/9/2024 17:29




                                                                1417
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1419 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39895              Annuity Contract.pdf                     334212      10/15/2019 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39895              Court Order.pdf                           37474      10/15/2019 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39895              Credit Report.pdf                         37153      10/15/2019 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39895              Disclosure - IA.pdf                      486010      10/15/2019 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39895              Disclosure - NM.pdf                      496935      10/15/2019 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39895              Fasano.pdf                                83185      10/15/2019 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39895              Helmick SSN.pdf                          449410      10/24/2019 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39895              NASP.pdf                               1549130       10/15/2019 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39895              image001.png                              62961
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39895              Pacer.pdf                                175205      10/15/2019 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39895              Purchase Agreement.pdf                 1758869       10/15/2019 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39895              Searches.pdf                             154917      10/15/2019 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39895              Seller Identification.pdf                771115      10/15/2019 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39895              Settlement Agreement.pdf                 469646      10/15/2019 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39895              Stipulation.pdf                          224238      10/15/2019 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39911              118929.pdf                            10401757         10/9/2019 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39911              39911 Price, Emick.tv5                      9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39911              Annuity Contract.pdf                      39930      10/18/2019 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39911              Court Order.pdf                          170025      10/18/2019 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39911              Credit Report.pdf                         60987      10/18/2019 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39911              Disclosure - LA.pdf                      209587      10/18/2019 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39911              Disclosure - TN.pdf                      359405      10/18/2019 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39911              Drivers License.pdf                      318602      10/18/2019 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39911              Fasano.pdf                                78569      10/18/2019 11:14




                                                                1418
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                                       3467



               All Paths/Locations                                  Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39911              NASP.pdf                                  1323081       10/18/2019 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39911              Purchase Agreement.pdf                    1063048       10/18/2019 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39911              Qualified Assignement.pdf                   156438      10/18/2019 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39911              Settlement Agreement.pdf                    333633      10/18/2019 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39911              Stipulation.pdf                           5520838       10/18/2019 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39927              119204.pdf                               15704142        10/8/2019 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39927              39927 Seube, Charles.tv5                       9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39927              Bankruptcy Search.pdf                       172678      10/29/2019 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39927              Charles Seube Annuity Contract.pdf          860337        6/4/2020 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39927              Charles Seube Qualified Assignment.pdf      244287        6/4/2020 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39927              Charles Seube Settlement Agreement.pdf      534686        6/4/2020 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39927              Charles Seube SSN Verification.pdf          267010        6/4/2020 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39927              Court Order.pdf                           1717267       10/12/2019 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39927              Credit Report.pdf                           276724      10/12/2019 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39927              Disclosure - KY.pdf                         463812      10/12/2019 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39927              Disclosure - MA.pdf                         447856      10/12/2019 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39927              Disclosure - TX.pdf                         449624      10/12/2019 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39927              Fasano Report.pdf                            78499      10/12/2019 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39927              NASP.pdf                                    131552      10/29/2019 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39927              Purchase Agreement.pdf                    6222621       10/12/2019 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39927              Seller Identification.pdf                    40219      10/12/2019 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39927              Stipulation.pdf                           8847323       10/28/2019 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39938              119231.pdf                                8628323        10/9/2019 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39938              39938 Gewgory, Hermann.tv5                   10189       10/9/2024 17:32




                                                                1419
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1421 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39938              Acknowledgement.pdf                       54051      10/14/2019 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39938              Bankruptcy Search.pdf                     59172       10/28/2019 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39938              Benefits Letter.pdf                       35845      10/14/2019 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39938              Court Order.pdf                        3936745       10/14/2019 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39938              Credit Report.pdf                         94511      10/14/2019 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39938              Disclosure - DE.pdf                       86494      10/14/2019 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39938              Disclosure - IA.pdf                       79184      10/14/2019 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39938              Fasano Report.pdf                        633307      10/14/2019 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39938              New - Stipulation.pdf                  1752754       10/14/2019 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39938              Purchase Agreement.pdf                   839806      10/14/2019 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39938              Seller Identification.pdf                141890      10/14/2019 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39938              Settlement Agreement.pdf                 580416      10/14/2019 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\39938              Stipulation.pdf                        1752754       10/14/2019 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\43965              43965 Hovatter, Maxine.tv5                  9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\43965              Bankruptcy Search.pdf                     21181        1/17/2020 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\43965              Benefits Letter.pdf                       15678        1/17/2020 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\43965              Court Order.pdf                        1675862         1/17/2020 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\43965              Credit Report.pdf                        525758        1/17/2020 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\43965              Disclosure - DE.pdf                      104388        1/17/2020 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\43965              Disclosure - IN.pdf                      102405        1/17/2020 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\43965              Disclosure - MI.pdf                      115918        1/17/2020 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\43965              Disclosure - NY.pdf                      160118        1/17/2020 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\43965              Drivers License.pdf                      263217        1/17/2020 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\43965              Fasano Report.pdf                         81476        1/17/2020 9:32




                                                                1420
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                                       3467



               All Paths/Locations                                  Unified Title         File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\43965              Hovatter_100398.pdf                          4441222        10/9/2014 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\43965              Nasp Clearance.pdf                              78658        1/17/2020 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\43965              Nasp Search.pdf                                 62675        1/17/2020 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\43965              Purchase Agreement.pdf                         465150        1/17/2020 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\43965              Settlement Agreement Affidavit.pdf              80875        1/17/2020 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\43965              UCC Search.pdf                                 739684        1/17/2020 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44090              104643.pdf                                  10828697          2/3/2016 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44090              44090 Buckalew, Shayne.tv5                      10448       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44090              44090 response_docs up02-28-2020.pdf            44597       2/14/2020 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44090              Annuity Contract.pdf                            47080        1/23/2020 4:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44090              Berwyn Death Search.pdf                        142462       9/29/2020 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44090              Court Order.pdf                              1763414         1/23/2020 4:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44090              Credit Report.pdf                            6103984         1/23/2020 4:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44090              Disclosure - TX.pdf                            159917        1/23/2020 4:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44090              Fasano.pdf                                      80508        1/23/2020 4:58
Saiph consulting|\Audit Materials Received-   Fax Transmission Results Quarterly Berwyn
SuttonPark\Closing Binders\44090              09282020.pdf                                   487420       9/30/2020 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44090              NASP Search.pdf                                 59075        1/23/2020 4:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44090              Purchase Agreement.pdf                       1354518         1/23/2020 4:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44090              Seller Identification.pdf                      346965        1/23/2020 4:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44090              Stipulation.pdf                                564486        1/23/2020 4:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44198              107026.pdf                                   6859994         9/7/2016 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44198              44198 Hoffer, Richard.tv5                         9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44198              Annuity Contract.pdf                            73567       1/24/2020 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44198              Change of Ownership.pdf                         44592       1/24/2020 12:57




                                                                1421
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                                       3467



               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44198              Credit Report.pdf                        333072       1/24/2020 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44198              Drivers License.pdf                      210440       1/24/2020 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44198              Fasano.pdf                                77033       1/24/2020 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44198              NASP.pdf                                  28118       1/24/2020 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44198              Purchase Agreement.pdf                 3892293        1/24/2020 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44198              Request for Change of Ownership.pdf    1445879        1/24/2020 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44198              Searches.pdf                              55353       1/24/2020 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44198              W9.pdf                                   732207       1/24/2020 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44215              107373.pdf                            25866258         3/1/2017 16:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44215              44215 Kennedy, Willa.tv5                    9996      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44215              Acknowledgement Letter.pdf                15035       1/25/2020 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44215              Bankruptcy Search.pdf                    338666       1/25/2020 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44215              Court Order.pdf                        4870915        1/25/2020 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44215              Credit Report.pdf                      2614125        1/25/2020 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44215              Disclosure - IN.pdf                    1028980        1/25/2020 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44215              Disclosure - PA.pdf                    1242457        1/25/2020 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44215              Disclosure - TN.pdf                    1108113        1/25/2020 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44215              Disclosure - VA.pdf                    1175717        1/25/2020 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44215              Fasano.pdf                               689915       1/25/2020 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44215              Independent Professional Advice.pdf      129465       1/25/2020 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44215              NASP Search.pdf                          161606       1/25/2020 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44215              Purchase Agreement.pdf                 3261896        1/30/2020 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44215              Seller Identification.pdf                 31762       1/25/2020 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44215              SSN Verification.pdf                      89698       1/30/2020 10:46




                                                              1422
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1424 of
                                       3467



               All Paths/Locations                                 Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44215              Stipulation.pdf                          8415367        1/25/2020 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44215              Verification of Benefits.pdf                30367       1/25/2020 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44215              WestLaw Search.pdf                         796232       1/25/2020 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44248              108107 up01-16-2020.pdf                  5731168        1/16/2020 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44248              108107.pdf                                  11949      12/27/2016 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44248              44248 Jones, Freddie.tv5                      9996      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44248              AL DS.pdf                                  344668       1/22/2020 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44248              Court Order.pdf                            258898       1/22/2020 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44248              Credit Report.pdf                          247846       1/22/2020 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44248              Driver License.pdf                         100783       1/22/2020 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44248              Fasano Docs.pdf                             36424       1/22/2020 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44248              NASP Search.pdf                             27710       1/22/2020 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44248              NY DS.pdf                                  429077       1/22/2020 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44248              Purchase Agreement.pdf                     585121       1/22/2020 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44248              Searches.pdf                               304236       1/22/2020 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44248              Stipulation.pdf                          3498742        1/22/2020 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44281              108632.pdf                              12372393         3/1/2017 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44281              44281 Gloster, Gretchen.tv5                   9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44281              44281 response_docs up02-28-2020.pdf     4511388        2/18/2020 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44281              Change of Ownership Confirmation .pdf       95956       1/19/2020 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44281              Credit Report.pdf                           90861       1/19/2020 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44281              Fasano Report.pdf                           77659       1/19/2020 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44281              Purchase Agreement.pdf                   4996657        1/19/2020 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44281              Request for Change of Ownership .pdf     2767102        1/19/2020 12:53




                                                                1423
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1425 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44281              Searches.pdf                              275417       1/19/2020 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44281              Seller Identification.pdf               4079589        1/19/2020 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44380              109069 up01-16-2020.pdf                11691302        1/15/2020 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44380              109069.pdf                                179378       4/10/2017 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44380              44380 Griffin, Percy.tv5                     9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44380              Annuity Contract.pdf                       53837       1/20/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44380              Bankruptcy Search.pdf                     170894       1/20/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44380              Change of Beneficiary.pdf                  16320       1/20/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44380              Court Order.pdf                           145477       1/20/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44380              Credit Report.pdf                       5892729        1/20/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44380              Disclosure - IL.pdf                       171013       1/20/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44380              Disclosure - MS.pdf                        53896       1/20/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44380              Disclosure - NE.pdf                       176514       1/20/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44380              Drivers License.pdf                       130873       1/20/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44380              Fasano Report.pdf                          76656       1/20/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44380              NASP Search.pdf                           411279       1/20/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44380              Purchase Agreement.pdf                  2188413        1/20/2020 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44380              Searches.pdf                              235619       1/20/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44380              Seller Affidavit.pdf                      397127       1/20/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44380              Settlement Agreement.pdf                   74051       1/20/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44380              Stipulation.pdf                         1074935        1/20/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44406              109939.pdf                              5342141        1/10/2020 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44406              image003.png                               41050
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44406              44406 Horner, Paula.tv5                      9998      10/9/2024 17:29




                                                                1424
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1426 of
                                       3467



               All Paths/Locations                                  Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44406              44406 response_docs up02-28-2020.pdf    7620924       2/20/2020 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44406              Annuity Contract.pdf                       54480       1/24/2020 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44406              Bankruptcy Search.pdf                      46040       1/24/2020 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44406              Court Order.pdf                            71083       1/24/2020 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44406              Credit Report.pdf                          36567       1/24/2020 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44406              Disclosure - TX.pdf                       461363       1/24/2020 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44406              Fasano Report.pdf                         114650       1/24/2020 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44406              Horner SSN.pdf                            147421      1/25/2020 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44406              NASP.pdf                                  235115       1/24/2020 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44406              image003.png                               41050
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44406              Purchase Agreement.pdf                  2404436        1/24/2020 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44406              Seller Identification.pdf                  19233       1/24/2020 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44406              Settlement Agreement.pdf                1110532        1/24/2020 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44406              Stipulation.pdf                           286984       1/24/2020 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44406              Terms Rider.pdf                           135102       1/24/2020 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44409              110019.pdf                             20180553       7/31/2017 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44409              44409 Gordon, Therese.tv5                  10185      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44409              44409 response_docs up02-28-2020.pdf   16506678       2/20/2020 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44409              Bankruptcy Search.pdf                     478803       1/20/2020 7:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44409              Change of Beneficiary.pdf                 388546       1/20/2020 7:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44409              Change of Ownership.pdf                   333786       1/20/2020 7:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44409              Credit Report.pdf                       1656259        1/20/2020 7:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44409              Disclosure.pdf                            131051       1/20/2020 7:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44409              Fasano .pdf                                80542       1/20/2020 7:48




                                                                1425
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               All Paths/Locations                                  Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44409              NASP Search.pdf                           285323        1/20/2020 7:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44409              Purchase Agreement.pdf                 16472286         1/20/2020 7:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44409              Verification of Benefits Letter.pdf       183284        1/20/2020 7:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\44409              WestLaw Search.pdf                        181222        1/20/2020 7:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\45738              104643.pdf                             10828697          2/3/2016 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\45738              45738 Buckalew, Douglas.tv5                  9994      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\45738              45738 response_docs up02-28-2020.pdf       44597       2/21/2020 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\45738              Annuity Contract.pdf                       47080        1/23/2020 4:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\45738              Court Order.pdf                         1763414         1/23/2020 4:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\45738              Credit Report.pdf                       6103984         1/23/2020 4:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\45738              Disclosure - TX.pdf                       159917        1/23/2020 4:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\45738              Fasano.pdf                                 80508        1/23/2020 4:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\45738              NASP Search.pdf                            59075        1/23/2020 4:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\45738              Purchase Agreement.pdf                  1354518         1/23/2020 4:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\45738              Seller Identification.pdf                 346965        1/23/2020 4:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\45738              Stipulation.pdf                           564486        1/23/2020 4:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46938              119609.pdf                              9755763        2/20/2020 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46938              46938 Docs 3.24.2021.pdf                2227824        3/24/2021 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46938              46938 Phillips, Alejandro.tv5              10239       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46938              Acknowledgement.pdf                       389850       2/25/2020 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46938              Annuity Contract.pdf                       56041       2/25/2020 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46938              Benefits Letter.pdf                        25069       2/25/2020 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46938              Court Order.pdf                         1107740        2/25/2020 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46938              Credit Report.pdf                         406317       2/25/2020 17:43




                                                                1426
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                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46938              Disclosure - CA.pdf                    1958637       2/25/2020 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46938              Disclosure - IL.pdf                    1885024       2/25/2020 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46938              Fasano .pdf                               83096      2/25/2020 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46938              Purchase Agreement.pdf                   819662      2/25/2020 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46938              Request For Acknowledgement.pdf          248638      2/25/2020 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46938              Searches.pdf                           1674094       2/25/2020 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46938              Seller Identification.pdf                282878      2/25/2020 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46938              Settlement Agreement.pdf                 133407      2/25/2020 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46938              Stipulation.pdf                          733698      2/25/2020 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46956              119910.pdf                             5178124       2/20/2020 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46956              46956 - Acknowledgment.pdf                52447      1/12/2024 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46956              46956 Docs 3.24.2021.pdf                 100604      3/24/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46956              46956 Pardi, Patrick.tv5                  10429      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46956              Addendum to Purchase Agreement.pdf        14669      2/24/2020 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46956              Annuity Contract.pdf                     563742      2/24/2020 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46956              Benefits Letter.pdf                       56119      2/24/2020 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46956              Court Order.pdf                        2453054       2/24/2020 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46956              Disclosure - CT.pdf                      113133      2/24/2020 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46956              Disclosure - NY.pdf                      132521      2/24/2020 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46956              Drivers License.pdf                       65095      2/24/2020 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46956              Fasano Report.pdf                        177165      2/24/2020 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46956              NASP Search.pdf                        1012772       2/24/2020 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46956              New - Acknowledgment.pdf                  52447      1/12/2024 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46956              Searches.pdf                           1187182       2/24/2020 11:22




                                                                1427
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                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46956              Settlement Agreement.pdf                93107      2/24/2020 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46957              119911.pdf                           2757303       2/20/2020 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46957              46957 Docs 3.24.2021.pdf             1904622       3/24/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46957              46957 Pardi, Patrick.tv5                10419      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46957              Annuity Contract.pdf                   124349      2/26/2020 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46957              Benefits Letter.pdf                     54493      2/26/2020 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46957              Court Order.pdf                      1054099       2/26/2020 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46957              Credit Report.pdf                       52355      2/26/2020 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46957              Disclosure - DE.pdf                    112047      2/26/2020 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46957              Drivers License.pdf                     59451      2/26/2020 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46957              Fasano Report.pdf                       80810      2/26/2020 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46957              Nasp Clearance.pdf                     108731      2/26/2020 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46957              Nasp Search.pdf                        102188      2/26/2020 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46957              Purchase Agreement.pdf                 471657      2/26/2020 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46957              Request For Acknowledgement.pdf        226817      2/26/2020 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46957              UCC Search.pdf                         109919      2/26/2020 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46968              119929.pdf                           3873774       2/20/2020 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46968              46968 Barkley, Samuel.tv5               10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46968              46968 Docs 3.24.2021.pdf               408483      3/24/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46968              Annuity Contract.pdf                   259581      2/27/2020 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46968              Bankruptcy Search.pdf                  181232      2/27/2020 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46968              Benefits Letter.pdf                    732615      2/27/2020 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46968              Court Order.pdf                        132171      2/27/2020 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46968              Credit Report.pdf                      440789      2/27/2020 15:50




                                                             1428
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1430 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46968              Disclosure - KY.pdf                       82895       2/27/2020 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46968              Disclosure - MD.pdf                       76433       2/27/2020 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46968              Disclosure - VA.pdf                      102750       2/27/2020 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46968              Drivers License.pdf                      179988       2/27/2020 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46968              IPA Waiver.pdf                           196284       2/27/2020 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46968              Mortality Profile Report.pdf              20531       2/27/2020 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46968              NASP Search.pdf                          311317       2/27/2020 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46968              Request For Acknowledgement.pdf          255307       2/27/2020 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46968              Settlement Agreement.pdf                 348425       2/27/2020 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46968              UCC Search.pdf                           307124       2/27/2020 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46979              119969.pdf                             5949434        2/20/2020 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46979              46979 Bays, Willard.tv5                     9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46979              46979 Docs 3.24.2021.pdf                  96458       3/24/2021 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46979              Court Application.pdf                    261642        3/4/2020 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46979              Court Order.pdf                          329666        3/4/2020 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46979              Credit Report.pdf                        380144        3/4/2020 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46979              Disclosure - DE.pdf                      112052        3/4/2020 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46979              Disclosure - NY.pdf                      134445        3/4/2020 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46979              Disclosure - WV.pdf                      113180        3/4/2020 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46979              fasano.pdf                                80897       2/20/2020 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46979              NASP.pdf                                 139563        3/4/2020 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46979              Purchase Agreement.pdf                   430332        3/4/2020 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46979              Sanctions List Search.pdf                168810        3/4/2020 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46979              Seller Identification.pdf                182344        3/4/2020 10:11




                                                               1429
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1431 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46979              SSN.pdf                                  182344        3/4/2020 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\46979              Stipulation.pdf                        1322597         3/4/2020 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47010              120153.pdf                             4037600        2/20/2020 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47010              image002.png                                4835
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47010              47010 Docs 3.24.2021.pdf               1110779        3/24/2021 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47010              47010 Garza, Fernando.tv5                   9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47010              Annuity Contract.pdf                      41770       2/26/2020 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47010              Bankruptcy Search.pdf                    175306       2/26/2020 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47010              Court Order.pdf                          926849       2/26/2020 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47010              Credit Report.pdf                         52064       2/26/2020 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47010              Disclosure - AZ.pdf                       84947       2/26/2020 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47010              Disclosure - TX.pdf                       85173       2/26/2020 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47010              Disclosure - WA.pdf                       84464       2/26/2020 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47010              Drivers License.pdf                    1196950        2/26/2020 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47010              Fasano Report.pdf                         79903       2/26/2020 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47010              Nasp Search.pdf                          269179       2/26/2020 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47010              Purchase Agreement.pdf                   361050       2/26/2020 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47010              Request For Acknowledgement.pdf          251311       2/26/2020 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47010              Stipulation.pdf                          435551       2/26/2020 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47010              UCC Search.pdf                           108724       2/26/2020 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47046              120749.pdf                            10751536        2/20/2020 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47046              47046 - Stipulation.pdf                  489292       1/11/2024 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47046              47046 Docs 3.24.2021.pdf                 865309       3/24/2021 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47046              47046 Stowe, Robert.tv5                   10430       10/9/2024 17:35




                                                                1430
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1432 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47046              Annuity Contract.pdf                   1521406        2/25/2020 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47046              Court Order.pdf                        4383279        2/25/2020 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47046              Credit Report.pdf                         45060       2/25/2020 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47046              Disclosure - FL.pdf                       63199       2/25/2020 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47046              Disclosure - WA.pdf                       58722       2/25/2020 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47046              Fasano.pdf                                82274       2/25/2020 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47046              New - Stipulation.pdf                    489292       1/11/2024 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47046              Purchase Agreement.pdf                   574762       2/25/2020 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47046              Request For Acknowledgement.pdf          589737       2/25/2020 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47046              Searches.pdf                             501993       2/25/2020 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47046              Seller Identification.pdf                345913       2/25/2020 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47046              Stipulation.pdf                        2483020        2/25/2020 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47090              121108.pdf                             5428103        2/20/2020 17:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47090              47090 Jones, John.tv5                       9989      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47090              Annuity Contract.pdf                      55716        3/3/2020 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47090              Benefits Letter.pdf                       32951        3/3/2020 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47090              Court Order.pdf                          156201        3/3/2020 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47090              Credit Report.pdf                         51213        3/3/2020 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47090              Disclosure - IA.pdf                    1083196         3/3/2020 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47090              Disclosure - KY.pdf                    1295070         3/3/2020 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47090              Disclosure - NJ.pdf                    1077291         3/3/2020 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47090              Fasano.pdf                                81571        3/3/2020 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47090              Purchase Agreement.pdf                   372934        3/3/2020 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47090              Qualified Assignement.pdf                103447        3/3/2020 10:43




                                                                1431
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1433 of
                                       3467



               All Paths/Locations                                Unified Title                  File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47090              Searches.pdf                                          407489        3/3/2020 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47090              Seller Identification.pdf                             220342        3/3/2020 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47090              Stipulation.pdf                                       317593        3/3/2020 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47100              121451.pdf                                         22466642        2/20/2020 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47100              47100 Docs 3.24.2021.pdf                            1018309        3/24/2021 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47100              47100 Underwood, Jonathan.tv5                            9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47100              Credit Report.pdf                                      36939        2/28/2020 6:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47100              Fasano Report.pdf                                      77806        2/28/2020 6:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47100              Hold Harmless Agreement.pdf                         1018309        3/24/2021 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47100              NASP Search.pdf                                       141644        2/28/2020 6:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47100              Purchase Agreement.pdf                             12972396         2/28/2020 6:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47100              Request for Change of Beneficiary.pdf               5397421         2/28/2020 6:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47100              Request for Change of Ownership .pdf                1585628         2/28/2020 6:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47100              Seller Identification.pdf                           2190375         2/28/2020 6:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\47100              WestLaw Search.pdf                                    197760        2/28/2020 6:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49022              122023.pdf                                          2770292        3/20/2020 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49022              49022 Bergeron, Sandra.tv5                             10239       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49022              Amended Pleading.pdf                               30645803        2/13/2020 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49022              Application signed.pdf                                 80991      11/18/2019 11:22
Saiph consulting|\Audit Materials Received-   Authorization for Disclosure of Protected Health
SuttonPark\Closing Binders\49022              Information.pdf                                       610348        2/18/2020 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49022              Benefits Letter.pdf                                    92022       3/23/2020 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49022              Court Order.pdf                                       297720       3/23/2020 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49022              Credit Report.pdf                                      83800       3/23/2020 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49022              Disclosure - VA.pdf                                    82207       3/23/2020 15:02




                                                                1432
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                                       3467



               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49022              Drivers License.pdf                    1103439        3/23/2020 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49022              Fasano.pdf                                78462       3/23/2020 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49022              Medical Questionnaire.pdf              1186060         2/18/2020 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49022              NASP.pdf                                 131257       3/23/2020 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49022              Purchase Agreement.pdf                   658526       3/23/2020 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49022              Searches.pdf                              81765       3/23/2020 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49022              Social Security Card.pdf               2000462         2/18/2020 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49023              122028.pdf                             9532088        3/20/2020 19:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49023              49023 Sharp, Jimmie.tv5                     9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49023              Annuity Contract.pdf                     193901       3/23/2020 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49023              Court Order.pdf                          288301       3/23/2020 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49023              Credit Report.pdf                         29957       3/23/2020 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49023              Disclosure - IL.pdf                    1139500        3/23/2020 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49023              Disclosure - OH.pdf                    1158422        3/23/2020 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49023              Drivers License.pdf                    2010438        3/23/2020 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49023              Fasano.pdf                                79065       3/23/2020 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49023              Purchase Agreement.pdf                 4434288        3/23/2020 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49025              122150.pdf                            10247272        3/20/2020 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49025              49025 Harris, Ruth.tv5                      9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49025              Benefits Letter.pdf                       78040        3/24/2020 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49025              Court Order.pdf                        1121849         3/24/2020 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49025              Credit Report.pdf                        265021        3/24/2020 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49025              Disclosure - DE.pdf                      678173        3/24/2020 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49025              Disclosure - LA.pdf                      683194        3/24/2020 9:39




                                                              1433
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                                       3467



               All Paths/Locations                                  Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49025              Disclosure - NY.pdf                                  558334       3/24/2020 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49025              Drivers License.pdf                                1765808        3/24/2020 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49025              Fasano.pdf                                            77808       3/24/2020 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49025              NASP.pdf                                             267779       3/24/2020 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49025              Purchase Agreement.pdf                             4595356        3/24/2020 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49025              Request For Acknowledgement (not signed).pdf          37997       3/24/2020 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49026              122151.pdf                                         9305022       3/20/2020 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49026              49026 Babcock, Marla.tv5                              10186      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49026              Annuity Contract.pdf                                 321698      3/24/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49026              Benefits Letter.pdf                                   41832      3/24/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49026              Court Order.pdf                                      169937      3/24/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49026              Credit Report.pdf                                    375544      3/24/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49026              Disclosure - IA.pdf                                  662927      3/24/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49026              Disclosure - MI.pdf                                  725519      3/24/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49026              Drivers License.pdf                                3196494       3/24/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49026              Fasano.pdf                                            77602      3/24/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49026              NASP.pdf                                             136318      3/24/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49026              Purchase Agreement.pdf                             2571018       3/24/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49026              Qualified Assignement.pdf                            195683      3/24/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49026              Report of Independent Certified Accountants.pdf       37906      3/24/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49026              Searches.pdf                                         255387      3/24/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49026              Settlement Agreement.pdf                             333053      3/24/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49026              Stipulation.pdf                                      369120      3/24/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49028              122158.pdf                                        16525748       3/22/2020 16:46




                                                                1434
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                                       3467



               All Paths/Locations                                Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49028              49028 Miller, Annette.tv5                     9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49028              Acknowledgment 49028.pdf                    13726       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49028              Amendment to the LLC Agreement.pdf         138402       3/23/2020 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49028              Annuity Contract.pdf                       164217       3/23/2020 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49028              Certificate of Authorization.pdf           359804       3/23/2020 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49028              Confirmation of changes.pdf                 16235       3/23/2020 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49028              Credit Report.pdf                           41578       3/23/2020 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49028              Delegation of Authority.pdf                 65451       3/23/2020 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49028              Drivers License.pdf                      2088908        3/23/2020 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49028              Fasano.pdf                                  80605       3/23/2020 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49028              Purchase Agreement.pdf                   6908310        3/23/2020 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49028              Request for Change of Beneficiary.pdf      589857       3/23/2020 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49028              Searches.pdf                               367441       3/23/2020 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49028              W9.pdf                                     116516       3/23/2020 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49035              122168.pdf                               4451018        3/22/2020 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49035              49035 Mcilvain, Nelson.tv5                    9996      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49035              Change of Beneficiary.pdf                   21615       3/24/2020 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49035              Credit Report.pdf                          560757       3/24/2020 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49035              Fasano.pdf                                  77758       3/24/2020 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49035              NASP.pdf                                   134688       3/24/2020 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49035              Purchase Agreement.pdf                   1795554        3/24/2020 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49035              Request for Change of Beneficiary.pdf    1007336        3/24/2020 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49035              Searches.pdf                               292019       3/24/2020 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49035              W9.pdf                                     116516       3/24/2020 16:57




                                                             1435
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1437 of
                                       3467



               All Paths/Locations                                Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49036              122169.pdf                               4376572        3/22/2020 17:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49036              49036 Mcilvain, Nelson.tv5                    9996      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49036              Change of Beneficiary.pdf                   21091        3/25/2020 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49036              Credit Report.pdf                          560757        3/25/2020 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49036              Fasano.pdf                                  77758        3/25/2020 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49036              NASP.pdf                                   152429        3/25/2020 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49036              Purchase Agreement.pdf                   1788646         3/25/2020 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49036              Request for Change of Beneficiary.pdf    1193946         3/25/2020 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49036              Searches.pdf                               309748        3/25/2020 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49036              W9.pdf                                     116516        3/25/2020 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49041              122177.pdf                               2718421        3/20/2020 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49041              49041 White, Leslie.tv5                     10239       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49041              Acknowledgement.pdf                         48066       3/25/2020 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49041              Benefits Letter.pdf                        157873       3/25/2020 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49041              Court Order.pdf                            114771       3/25/2020 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49041              Credit Report.pdf                          242994       3/25/2020 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49041              Disclosure - CA.pdf                        160016       3/25/2020 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49041              Disclosure - NV.pdf                        175349       3/25/2020 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49041              Drivers License.pdf                         77033       3/25/2020 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49041              Fasano.pdf                                  81408       3/25/2020 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49041              NASP.pdf                                   349340       3/25/2020 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49041              Purchase Agreement.pdf                   1240341        3/25/2020 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49041              Request For Acknowledgement.pdf             48066       3/25/2020 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49041              Searches.pdf                               217163       3/25/2020 11:46




                                                             1436
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1438 of
                                       3467



               All Paths/Locations                                  Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49041              ssn.pdf                                           313153      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49045              122190.pdf                                      9670179       3/22/2020 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49045              49045 Wooten, Dennis.tv5                           10240      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49045              Annuity Contract.pdf                              249996      3/25/2020 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49045              Benefits Letter.pdf                                43691      3/25/2020 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49045              Court Order.pdf                                   106261      3/25/2020 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49045              Credit Report.pdf                                 505722      3/25/2020 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49045              Disclosure - LA.pdf                             1123120       3/25/2020 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49045              Disclosure - VA.pdf                             1096715       3/25/2020 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49045              Drivers License.pdf                               124345      3/25/2020 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49045              Fasano.pdf                                         80134      3/25/2020 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49045              NASP.pdf                                          290301      3/25/2020 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49045              Purchase Agreement.pdf                          5442016       3/25/2020 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49045              Request For Acknowledgement (not signed).pdf       21156      3/25/2020 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49045              Searches.pdf                                      164293      3/25/2020 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49045              Settlement Agreement.pdf                          640645      3/25/2020 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49047              122197.pdf                                      8176386       3/20/2020 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49047              49047 Hollinsl, Dawan.tv5                          10189      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49047              Acknowledgement.pdf                                62512      3/25/2020 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49047              Annuity Contract.pdf                              288772      3/25/2020 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49047              Court Order.pdf                                 1456818       3/25/2020 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49047              Credit Report.pdf                               2221821       3/25/2020 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49047              Disclosure - GA.pdf                               257231      3/25/2020 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49047              Disclosure - KY.pdf                               251307      3/25/2020 16:12




                                                             1437
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1439 of
                                       3467



               All Paths/Locations                                   Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49047              Disclosure - NY.pdf                                98818      3/25/2020 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49047              Disclosure - RI.pdf                               251454      3/25/2020 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49047              Drivers License.pdf                                83860      3/25/2020 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49047              Fasano.pdf                                         80593      3/25/2020 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49047              NASP.pdf                                          346356      3/25/2020 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49047              Purchase Agreement.pdf                            517046      3/25/2020 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49047              Searches.pdf                                      621793      3/25/2020 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49047              Seller Affidavit.pdf                              201950      3/25/2020 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49047              Settlement Agreement.pdf                        1894694       3/25/2020 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49048              122198.pdf                                     10479897       3/20/2020 19:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22715              Combined Closing Binder - Leach (1).pdf        39812888        5/2/2017 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22715              Court Order.pdf                                   241756      4/23/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22715              Disclosure - CT.pdf                             2376397       4/23/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22715              Disclosure - NY.pdf                             2880323       4/23/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22715              Fasano Auto Sliced.pdf                             77735      3/14/2019 23:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22715              Fasano Report.pdf                                  77737      4/23/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22715              HIPPA.pdf                                       3900569       4/23/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22715              NASP Search.pdf                                    63223      4/23/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22715              Pleadings.pdf                                   5242465       4/23/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22715              Purchase Agreement.pdf                          9267032       4/23/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22715              Searches.pdf                                       97273      4/23/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22715              Seller Affidavit.pdf                              852656      4/23/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22715              Seller Identification.pdf                         254906      4/23/2021 15:01
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Donald Fay Leach Jr POLICY
SuttonPark\Closing Binders\22715              SC05070751 030923.pdf                             251217      3/10/2023 15:54



                                                              1438
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1440 of
                                       3467



              All Paths/Locations                               Unified Title                  File Size   Primary Date/Time
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Donald Leach POLICY
SuttonPark\Closing Binders\22715              SC05070751 04272022.pdf                             485041      4/27/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22715              UCC Search.pdf                                      182186      4/23/2021 15:01
Saiph consulting|\Audit Materials Received-   WILCAC-WMS redirection letter up04-25-
SuttonPark\Closing Binders\22715              2019.pdf                                            116528      4/24/2019 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              22717 - Acknowledgment.pdf                           95174      10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              22717 payment received.pdf                           85674      5/26/2021 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              22717 Shackleford, Arthur.tv5                        10213      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              Annuity Contract.pdf                                461541       3/1/2021 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              Application.pdf                                     138511       3/1/2021 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              Assignment Security Agreement.pdf                   586470       3/1/2021 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              Authorization for Deductions.pdf                    124189       3/1/2021 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              Certificate of Marital Status.pdf                    86680       3/1/2021 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              Complaint for Divorce.pdf                           165252       3/1/2021 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              Disclosure - GA.pdf                                 290274       3/1/2021 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              Disclosure - NY.pdf                                 214318       3/1/2021 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              Disclosure.pdf                                       21356       3/1/2021 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              Fasano Auto Sliced.pdf                               35223      3/14/2019 23:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              Fasano Report.pdf                                    35223       3/1/2021 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              Final Divorce Decree.pdf                             35135       3/1/2021 12:22
Saiph consulting|\Audit Materials Received-   Genworth Life of NY-Colonia redirection
SuttonPark\Closing Binders\22717              letter.pdf                                          102439      2/14/2019 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              Genworth Life Reconfig Letter up04-11-2022.pdf      476916      4/11/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              IPA.pdf                                              25684       3/1/2021 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              New - Acknowledgment.pdf                             95174      10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              NOH.pdf                                              34667       3/1/2021 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              Purchase Agreement.pdf                              123583       3/1/2021 12:22



                                                               1439
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                                       3467



               All Paths/Locations                                   Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              Redirection Confirmation New up07-27-2022.pdf      481472      7/26/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              Searches.pdf                                       179325       3/1/2021 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              Seller Identification.pdf                           44232       3/1/2021 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              Settlement Agreement and Release.pdf               739558       3/1/2021 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              ShacklefordArthur3ClosingBinder.pdf              8705522       6/14/2018 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              Shackleford CO .pdf                                530428     11/30/2017 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\22717              Statement of Dependents.pdf                        138663       3/1/2021 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\23316              14941-Carter, Rosie D.pdf                       11768583       3/13/2017 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\23316              23316 - SSC.pdf                                     31104      1/11/2024 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\23316              23316 Nixon, Rosie.tv5                              10016      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\23316              Acknowledgement.pdf                                 46322      3/16/2018 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\23316              Annuity Contract.pdf                               253988      3/16/2018 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\23316              Court Order.pdf                                    526591      3/16/2018 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\23316              Disclosure - TX.pdf                                138671      3/16/2018 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\23316              Drivers License.pdf                                 40144      3/16/2018 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\23316              New - SSC.pdf                                       31104      1/11/2024 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\23316              Purchase Agreement.pdf                           1218339       3/16/2018 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\23316              Redirection Confirmation New 23316.pdf              57264      5/17/2023 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\23316              Seller Affidavit.pdf                               244542      3/16/2018 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\23316              Seller Identification.pdf                           75017      3/16/2018 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\23316              Settlement Agreement.pdf                         2372886       3/16/2018 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\23316              Transamerica Change of Address Letter.pdf          273334       1/7/2019 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\23316              UCC Financing Statement.pdf                      1182884       3/16/2018 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              29413 Williams, Edward.tv5                          10018      10/9/2024 17:30




                                                              1440
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                                       3467



               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              362539.pdf                                 24440760       8/16/2018 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Annuity Contract.pdf                          530297      11/1/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Application.pdf                               284062      11/1/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Assignment Agreement.pdf                      386470      11/1/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Assignment and Assumption Agreement.pdf       195022      11/1/2021 18:35
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\29413              Information.pdf                             1223812       11/1/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Authorization to Release Information.pdf       90649      11/1/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Bankruptcy Search.pdf                         281343      11/1/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Benefits Letter.pdf                            35067      11/1/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Birth Certificate.pdf                         197007      11/1/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Certificate of Service.pdf                     29395      11/1/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Court Order.pdf                               514958      11/1/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Disclosure - MS.pdf                           103078      11/1/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Fasano Auto Sliced.pdf                         90144      1/21/2019 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Fasano Report.pdf                             105354      11/1/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Identification and POR.pdf                    604238       9/7/2018 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Lien Search.pdf                             1696224       11/1/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              List of Dependents.pdf                         29627      11/1/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Notice of Hearing.pdf                          62669      11/1/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Pleadings.pdf                                 290986      11/1/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Proof of Delivery.pdf                         504792      11/1/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Redirection confirmation.pdf                   23326      12/18/2018 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Redirection Letter.pdf                         56368     10/24/2018 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Request For Acknowledgement.pdf                42761      11/1/2021 18:35




                                                              1441
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                                       3467



               All Paths/Locations                                   Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Searches.pdf                                3711472       11/1/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Seller Affidavit.pdf                          207270      11/1/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Settlement Agreement.pdf                      597809      11/1/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              SSN.pdf                                        48309      11/1/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              Structured Settlement Questionaire.pdf      2261846       11/1/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29413              UCC Financing.pdf                           8008971       11/1/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              29465 Bame, Robert.tv5                         10015      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              949952.pdf                                  9778729       8/14/2018 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              Application.pdf                               152100      5/10/2021 20:00
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\29465              Information.pdf                               413718      5/10/2021 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              Authorization to Release Information.pdf       38305      5/10/2021 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              Bankruptcy.pdf                                147212      5/10/2021 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              Benefits Letter.pdf                            25847      5/10/2021 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              Court Order.pdf                               222143      5/10/2021 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              Credit Report.pdf                             256962      5/10/2021 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              Disclosure - FL.pdf                            81572      5/10/2021 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              Fasano Auto Sliced.pdf                         77837      1/21/2019 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              Fasano Report.pdf                              77837      5/10/2021 20:00
Saiph consulting|\Audit Materials Received-   Fax Conf WILCAC Continental 18033334944
SuttonPark\Closing Binders\29465              01122021.pdf                                  112320       1/13/2021 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              Irrevocable Assignment.pdf                     48465      5/10/2021 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              List of Dependents.pdf                         26423      5/10/2021 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              NASP Clearance.pdf                             66325      5/10/2021 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              NASP Search.pdf                                47582      5/10/2021 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              New - Stipulation.pdf                         407557      4/24/2018 22:06




                                                              1442
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1444 of
                                       3467



               All Paths/Locations                                   Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              Notice of Filing.pdf                         100350      5/10/2021 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              Pleadings.pdf                                127826      5/10/2021 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              Proof of Delivery.pdf                        100870      5/10/2021 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              Purchase Agreement.pdf                     1068343       5/10/2021 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              Redirection Confirmation New 29465.pdf        45938       4/19/2023 9:17
Saiph consulting|\Audit Materials Received-   Redirection Letter Continental Casualty
SuttonPark\Closing Binders\29465              02162021.pdf                                 361067      2/16/2021 13:11
Saiph consulting|\Audit Materials Received-   Redirection Letter Continental Casualty
SuttonPark\Closing Binders\29465              11182020.pdf                                 359750     11/18/2020 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              Redirection Reconfiguration 29465.pdf        601100      4/18/2023 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              Request For Acknowledgement.pdf               66259      5/10/2021 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              Searches.pdf                                 377413      5/10/2021 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              Seller Affidavit.pdf                         342899      5/10/2021 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              Servicing Agreement.pdf                      783654      5/10/2021 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              Settlement Agreement.pdf                      75362      5/10/2021 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              Stipulation.pdf                              249697      5/10/2021 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              Structured Settlement Questionaire.pdf       310550      5/10/2021 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              Waiver of IPA.pdf                             45063      5/10/2021 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29465              WILCAC Conf Robert Bame.pdf                   21015      4/27/2021 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29475              195398.pdf                                 9127037         8/2/2018 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29475              29475 Baker-Puryear, Amanda.tv5               10026      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29475              Annuity Contract.pdf                         273790     11/16/2020 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29475              Court Order.pdf                              577662     11/16/2020 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29475              Credit Report.pdf                            266313     11/16/2020 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29475              Disclosure - IL.pdf                          121269     11/16/2020 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29475              Disclosure - TX.pdf                          124720     11/16/2020 12:10




                                                                1443
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1445 of
                                       3467



               All Paths/Locations                                Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29475              Drivers License.pdf                             22351     11/16/2020 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29475              Nasp Search.pdf                                 37324     11/16/2020 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29475              Purchase Agreement.pdf                       1809880      11/16/2020 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29475              Social Security Card.pdf                        25053     11/16/2020 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29475              UCC Financing.pdf                              162984     11/16/2020 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              29656 - Acknowledgment request.pdf              84868     11/18/2011 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              29656 Britton, Sonya.tv5                        10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              523629 - Britton, Sonya Combined Docs.pdf   14980322       6/13/2018 20:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              image003.png                                    33806
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              image003.png                                    33806
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              Annuity-LOB.pdf                                 25923      8/23/2011 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              Application.pdf                                467187       9/1/2011 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              Assignment Agreement.pdf                        98331     10/26/2011 20:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              Authorization to Release Information.pdf        70293      8/25/2011 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              Change of Bene.pdf                             121728       9/9/2011 16:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              Confirmation.pdf                                84868     11/18/2011 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              Court Order.pdf                                357693     10/24/2011 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              Credit Report.pdf                               87475      8/17/2011 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              Disclosure-CT.pdf                               74550      9/13/2011 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              Disclosure-DE.pdf                               87628      9/13/2011 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              Disclosure-MA.pdf                               96607      9/13/2011 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              Disclosure-MI.pdf                               77272      9/13/2011 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              Disclosure-Proof of Delivery 8.30.11.pdf        19536      8/30/2011 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              Disclosure-TN.pdf                               98080      9/13/2011 14:42




                                                             1444
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1446 of
                                       3467



               All Paths/Locations                                 Unified Title         File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              Divorce Decree.pdf                             46416      10/23/2011 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              IPA Waiver.pdf                                 24746       8/17/2011 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              Marital Settlement Agreement.pdf              282086      10/23/2011 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              NASP Resolution.pdf                           116945       8/17/2011 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              image003.png                                   33806
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              NASP-KBack.pdf                                 18817       8/17/2011 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              New - Acknowledgment request.pdf               84868      11/18/2011 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              Notice of Hearing.pdf                          67078       10/3/2011 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              Parenting Plan.pdf                            360056      10/23/2011 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              Pleadings.pdf                               3148019       10/25/2011 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              Proof of Identification.pdf                   141086       8/17/2011 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              R&S Waiver.pdf                                 37059       10/24/2011 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              Searches-Other Info.pdf                       113447       8/17/2011 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              Searches.pdf                                   41965       8/18/2011 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              Spousal Consent- OK to waive.pdf              130691       8/18/2011 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              image003.png                                   33806
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              Terms Rider.pdf                                21281       9/13/2011 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29656              usps verf.pdf                                 275313        8/5/2011 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29663              29663 Batten, Jennifer.tv5                       9821      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29663              Acknowledgement.pdf                            25658        2/1/2008 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29663              Annuity Contract - Waiver.pdf                  34819      12/17/2007 19:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29663              Assignment Agreement - EB to PH.pdf            57987        8/20/2012 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29663              Authorization to Release Information.pdf       38196       7/23/2007 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29663              Bene Change.pdf                                76775       7/31/2007 16:09




                                                               1445
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1447 of
                                       3467



               All Paths/Locations                                 Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29663              Check - Funding.pdf                             28816       2/5/2008 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29663              Closing Package 1.4.08.pdf                     117951       1/7/2008 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29663              Court Order Final.pdf                           58897     11/27/2007 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29663              Court Order.pdf                                 57059       7/19/2018 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29663              Disclosure-AL&IA.pdf                            14344      5/20/2016 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29663              K Back.pdf                                     293052      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29663              Letter enclosing Order Stip Admin Fee.pdf       12276     12/19/2007 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29663              Letter to Trustee re BK Bid 4-5-07.pdf          17975       4/5/2007 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29663              Order.pdf                                      749055     10/24/2007 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29663              Settlement Agreement - Waiver.pdf               34825     12/17/2007 19:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29663              Settlement Agreement.pdf                       238913       7/19/2018 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29663              Stip and Order.pdf                             744589     10/24/2007 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29663              Stipulation.pdf                                429713       7/19/2018 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29663              Terms Rider.pdf                                 14621      7/23/2007 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29663              Transfer Agreement.pdf                         252342      7/23/2007 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29663              UPS - Funding.pdf                               49624       1/7/2008 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29699              29699 Westberry, Edward.tv5                     10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29699              Affidavit - Amended 10.25.16.pdf               188870     10/25/2016 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29699              Affidavit.pdf                                  124674      2/25/2015 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29699              Annuity.pdf                                     58411      2/10/2015 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29699              Application - Notes.pdf                        430031      9/29/2016 19:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29699              Application.pdf                                253194      9/30/2016 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29699              Auth to Release.pdf                             68767      3/26/2015 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29699              Confirmation.pdf                                88050      10/9/2024 18:29




                                                                1446
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                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29699              Court Order.pdf                         849374      3/24/2015 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29699              Credit Report.pdf                        89574       1/8/2015 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29699              Disclosure Proof of Delivery.pdf         39460      9/30/2016 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29699              Disclosure- FL.pdf                      124347      2/25/2015 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29699              IPA Waiver.pdf                           22060       1/9/2015 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29699              NASP -KBack.pdf                         251556      9/29/2016 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29699              Pleadings - 2nd Amended.pdf             268035      10/9/2024 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29699              Pleadings.pdf                           632944      3/24/2015 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29699              Proof of Identification.pdf           1811958        3/6/2015 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29699              Proof of Service.pdf                    952763     11/15/2016 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29699              Research Letter-Owner.pdf                74548      2/25/2015 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29699              Searches.pdf                             55388      3/24/2015 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29699              Terms Rider.pdf                          54708      2/26/2015 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29699              Transfer Agreement.pdf                  469878       1/9/2015 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29700              29700 Watkins, John.tv5                  10013      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29700              Annuity Contract.pdf                    320504      12/9/2015 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29700              Annuity LOB.pdf                          45697      12/9/2015 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29700              Application Esign.pdf                 1354107      11/30/2015 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29700              Auth to Release.pdf                      68286     12/14/2015 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29700              Court Order - Amended.pdf               167297       3/3/2016 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29700              Credit Report- 10.21.15.pdf             105313       3/4/2016 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29700              Disclosure Proof of Delivery.pdf         53980     12/15/2015 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29700              Disclosure-GA.pdf                        88749      2/16/2016 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29700              Disclosure-NJ.pdf                       108153      2/16/2016 14:55




                                                               1447
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                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29700              IPA Waiver.pdf                          180656      12/8/2015 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29700              NASP - Kback.pdf                         83762      11/27/2015 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29700              NASP - Resolution JGW.pdf               110424      2/12/2016 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29700              Pleadings.pdf                           725138      12/21/2015 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29700              Proof of Identification.pdf           1172552       12/8/2015 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29700              Proof of Service.pdf                     19929      2/11/2016 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29700              Qualified Assignment.pdf                299392      12/9/2015 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29700              Searches- 10.21.15.pdf                  129451       3/4/2016 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29700              Searches-Other Info- 10.21.15.pdf       268836     10/21/2015 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29700              Settlement Agreement.pdf                473530      12/9/2015 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29700              Stipulation.pdf                         648447       3/4/2016 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29700              Terms Rider.pdf                          25808      2/16/2016 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\29700              Transfer Agreement.pdf                5387755       12/8/2015 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              30856 Summerson, Marla.tv5               10692      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Amended IA Disclosure.pdf               107969      11/21/2018 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Amended TX Disclosure.pdf               108348      11/21/2018 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Application.pdf                         635637       11/2/2018 9:48
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\30856              Information.pdf                         234741       11/2/2018 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Authorization to Release.pdf            238331       11/2/2018 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Bankruptcy Search.pdf                   218344       11/2/2018 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Benefits Letter.pdf                      43470       11/2/2018 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Closing Binder.pdf                   10300356       11/1/2018 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Court Order.pdf                         220102       11/2/2018 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Credit Report.pdf                       187403      11/7/2018 11:02




                                                                1448
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1450 of
                                       3467



               All Paths/Locations                                   Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Disclosure - IA.pdf                               115348       11/2/2018 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Disclosure - TX.pdf                               115191       11/2/2018 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Divorce Danny.pdf                                 355802       11/2/2018 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Divorce David.pdf                                 188679       11/2/2018 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Divorce Lucas.pdf                                 175548       11/2/2018 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Docusign Certificate amended disclosures.pdf       61035      11/21/2018 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              DocuSign Certificate.pdf                           34892       11/2/2018 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Fasano.pdf                                         80301       11/2/2018 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Filed Amended Disclosures.pdf                     117708     11/26/2018 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Life Contingent continued contract.pdf            258595       11/2/2018 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Medical Questionnaire.pdf                         200112       11/2/2018 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Pleadings.pdf                                   2243863        11/2/2018 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Prior Orders.pdf                               12406811      11/15/2018 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Purchase Agreement.pdf                          1359643        11/2/2018 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Redirection Confirmation New 30856.pdf             85540      5/30/2023 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Request for Change of Beneficiary.pdf             236005       11/2/2018 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Searches.pdf                                      530314       11/2/2018 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Seller Affidavit.pdf                              129651       11/2/2018 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Seller Identification.pdf                         279008       11/2/2018 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Settlement Agreement.pdf                          334244       11/2/2018 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              SSN Verification.pdf                              230871      11/2/2018 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\30856              Stipulation.pdf                                   225448      11/21/2018 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              31039 St Germain, Sandra.tv5                       10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              Acknowledgment.pdf                                 74853      3/27/2019 11:43




                                                                1449
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1451 of
                                       3467



               All Paths/Locations                                   Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              Application.pdf                               125356      9/24/2018 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              Authorization to Release Information.pdf       45442     11/15/2018 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              Benefits Letter.pdf                            53833       6/6/2013 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              Confirmation of Owner.pdf                      69946      5/21/2013 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              Court Order.pdf                               475828      3/14/2019 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              Credit Report.pdf                             204605     11/16/2018 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              Disclosure proof of delivery.pdf               18655      9/21/2018 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              Disclosure- FL.pdf                            542831     10/17/2018 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              Fasano Report updated.pdf                     192063      3/27/2019 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              Fasano Report.pdf                              82750      10/9/2018 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              HIPAA Complaint.pdf                           478740       10/2/2018 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              HIPAA.pdf                                      75442       9/24/2018 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              Husband Death Certificate.pdf                 128943      4/11/2013 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              Identification Card.pdf                       626577      9/24/2018 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              LE Analysis.pdf                                86496       3/19/2019 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              Medical Questionnaire.pdf                     223853       10/2/2018 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              NASP Clearance - JGW.pdf                      179903      3/14/2019 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              NASP Searches.pdf                             104864       3/14/2019 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              NOH.pdf                                        51745      11/16/2018 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              Pleadings.pdf                               1324091       11/16/2018 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              Purchase Agreement.pdf                        406544      11/16/2018 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              Research Letters.pdf                          177900      2/28/2013 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              Searches.pdf                                2408553      11/16/2018 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              Seller Affidavit.pdf                          113401      9/21/2018 15:13




                                                                1450
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1452 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              Settlement Agreement.pdf                299081       6/6/2013 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              Social Security Card.pdf                319400      9/24/2018 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31039              St Germain Assignment.pdf               187816      3/27/2019 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31067              31067 Majesty, Patrick.tv5               10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31067              Amortization Schedule.pdf                59351     11/19/2018 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31067              Annuity Contract.pdf                    220875     11/19/2018 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31067              Application.pdf                         682374     11/19/2018 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31067              AR Disclosure.pdf                       276367     11/19/2018 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31067              Assignment Agreements.pdf               405572      11/21/2018 3:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31067              Court Order.pdf                         572952     11/19/2018 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31067              Credit Report.pdf                        91649     11/19/2018 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31067              Identification.pdf                      105427     11/19/2018 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31067              Pleadings.pdf                         8350072      11/19/2018 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31067              POS to seller.pdf                       243386     11/20/2018 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31067              Proof of Disclosure Delivery.pdf        121255     11/21/2018 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31067              Purchase Agreement.pdf                2415965      11/19/2018 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31067              Seamans Release of all Claims.pdf       688821     11/19/2018 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31067              SSC.pdf                                 124073     11/19/2018 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31067              Stip.pdf                                356901     11/13/2018 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31067              Transaction Summary.pdf                 236424     11/19/2018 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31067              USPS.pdf                                 58831     11/19/2018 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              126748 - Application.pdf                195911       3/7/2019 19:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              126748-785967.pdf                    18773888      12/19/2018 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              31115 Payne, Kevin.tv5                   10017      10/9/2024 17:30




                                                              1451
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1453 of
                                       3467



               All Paths/Locations                                   Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              Addendum.pdf                                          5255      5/21/2019 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              Application.pdf                                    192573       5/21/2019 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              Benefits Letter.pdf                                 40423       5/21/2019 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              Consent to Purchase Life Insurance Policy.pdf      579015       5/21/2019 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              Credit Report.pdf                                   52358       5/21/2019 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              Declaration in Support of Transfer.pdf             360378       5/21/2019 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              Disclosure.pdf                                     355154       5/21/2019 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              Fasano 2 Auto Sliced.pdf                           148880       3/14/2019 23:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              Fasano Auto Sliced.pdf                             148880       3/14/2019 23:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              New - Ack.pdf                                      103272      11/14/2017 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              Overpayments Letter 31115.pdf                       89339        8/26/2021 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              Petition.pdf                                     5186976        5/21/2019 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              Purchase Agreement.pdf                          19562181        5/21/2019 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              Questionnaire.pdf                                1069938        5/21/2019 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              Redirection 2RESENT 31115.pdf                       48336       6/10/2021 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              Redirection 31115.pdf                              152323      12/23/2019 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              Redirecton Confirmation 31115.pdf                   19449       6/29/2021 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              Searches.pdf                                     1468584        5/21/2019 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              Seller Affidavit.pdf                               117522       5/21/2019 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              Seller Identification.pdf                          121027       5/21/2019 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              Statement of IPA.pdf                                66642       5/21/2019 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31115              UCC Financing.pdf                                  127588       5/21/2019 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31364              31364 Gutierrez, Brenda.tv5                         10021       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31364              959040-549420.pdf                                4738441       12/26/2018 21:00




                                                               1452
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1454 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31364              Application.pdf                         115508     10/26/2020 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31364              Change of Address.pdf                    45302     10/26/2020 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31364              Change of Beneficiary.pdf               126809     10/26/2020 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31364              Credit Report.pdf                       575682     10/26/2020 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31364              Disclosure.pdf                           36843     10/26/2020 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31364              Judgement Pre-Act.pdf                   423820      4/16/2018 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31364              Judgement.pdf                           279390       3/1/2024 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31364              Purchase Agreement.pdf                1451873      10/26/2020 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31364              Settlement Agreement.pdf                519337     10/26/2020 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31364              UCC Financing Statement.pdf             120619     10/26/2020 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31397              31397 Rios, Ernestina.tv5                10010      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31397              Acknowledgment.pdf                      195275      2/21/2019 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31397              Application.pdf                         180922      1/11/2019 18:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31397              Authorization for Disclosure.pdf        116124      1/11/2019 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31397              Benefit Letter.pdf                       60068      1/11/2019 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31397              Catalina to CS Collections.pdf           49200      1/11/2019 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31397              Closing Binder.pdf                    1571853       1/10/2019 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31397              Court Order.pdf                         409008      1/23/2019 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31397              Driver License.pdf                      418001      1/11/2019 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31397              Fasano Report.pdf                       191814      1/11/2019 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31397              PI case docket sheet.pdf                119655      1/25/2019 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31397              Pleadings.pdf                           409973      1/11/2019 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31397              Purchase Agreement.pdf                  326582      1/11/2019 18:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31397              Rios Assignment Agreement.docx           25583      1/29/2019 12:26




                                                               1453
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                                       3467



               All Paths/Locations                                  Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31397              Searches.pdf                                       642052      1/11/2019 18:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31397              Seller Declaration.pdf                              69555      1/11/2019 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31397              Stip missing Symetra.pdf                           264624      1/15/2019 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31397              Stipulation.pdf                                    486342      2/21/2019 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31397              TX.pdf                                              67639      1/11/2019 18:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31397              Verification of ID.pdf                              38004      1/11/2019 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31397              WA.pdf                                              68005      1/11/2019 18:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              31561 Jeter, Lindsey.tv5                            10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              Affidavit in Lieu of Settlement Agreement.pdf      149000      3/13/2019 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              Affidavit of Same Name.pdf                         302665      3/20/2019 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              Annuity Contract.pdf                             1764157       3/13/2019 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              Application.pdf                                    281403      3/13/2019 15:22
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\31561              Information.pdf                                    203665      3/13/2019 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              Bankruptcy Search.pdf                              382811      3/13/2019 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              Closing Binder Lindsey Jeter.pdf                 6842365       3/12/2019 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              Court Order.pdf                                    196538      3/13/2019 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              Credit Report.pdf                                1922642       3/13/2019 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              Disclosure - TX.pdf                                183403      3/13/2019 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              Disclosure - WI.pdf                                230634      3/13/2019 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              Divorce Docket sheet.pdf                            42748      3/20/2019 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              DocuSign Certificate.pdf                           203677      3/19/2019 21:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              Driver License.pdf                                 245612      3/13/2019 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              Jeter Assignment.docx                               25631      3/13/2019 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              Medical Questionnaire.pdf                          204525      3/13/2019 15:22




                                                                1454
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                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              PI Case docket sheet.pdf                   76744      3/20/2019 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              Pleadings.pdf                           3421145       3/13/2019 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              Purchase Agreement.pdf                  1455852       3/19/2019 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              Request For Acknowledgement.pdf           388567      3/13/2019 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              Searches.pdf                            9527400       3/13/2019 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              Seller Affidavit.pdf                      481763      3/13/2019 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              Social Security Card.pdf                  214249      3/13/2019 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              Stipulation.pdf                         1130897       3/13/2019 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31561              Updated Fasano Report.pdf                  82890      3/20/2019 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31762              116326.pdf                              1850175      12/18/2018 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31762              116326.pdf - 1.3.2019.pdf                  39436      3/12/2018 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31762              31762 Kravis Acknowledgment.pdf            39436      3/12/2018 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31762              31762 Kravis, Rebecca.tv5                  10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31762              Benefits Letter.pdf                        23920       7/2/2019 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31762              Change of Address.pdf                      23920       7/2/2019 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31762              Change of Beneficiary.pdf                  23920       7/2/2019 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31762              Credit Report.pdf                          40583     12/31/2020 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31762              Fasano Auto Sliced.pdf                    323500      3/14/2019 23:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31762              Fasano.pdf                                 78552     12/31/2020 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31762              Purchase Agreement.pdf                    349376     12/31/2020 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31762              Searches.pdf                              201811     12/31/2020 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31762              Seller Identification.pdf                 995758     12/31/2020 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\31762              Terms Rider.pdf                            18795     12/31/2020 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33487              117343.pdf                             22825094      12/21/2018 16:32




                                                                1455
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                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33487              image001.png                            41050
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33487              33487 Kaufman, John.tv5                 10208      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33487              Acknowledgement.pdf                    191629      5/15/2019 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33487              Bankruptcy Search.pdf                  314746      5/15/2019 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33487              Benefits Letter.pdf                     26665      5/15/2019 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33487              Court Order.pdf                        480959      5/15/2019 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33487              Credit Report.pdf                      382148      5/15/2019 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33487              Disclosure - OK.pdf                  2854760       5/15/2019 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33487              Disclosure - WA.pdf                  2937066       5/15/2019 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33487              Drivers License.pdf                  4555604       5/15/2019 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33487              Fasano Auto Sliced.pdf                  79326      4/14/2019 21:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33487              Fasano Report.pdf                       79326      5/15/2019 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33487              IPA Waiver.pdf                         472461      5/15/2019 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33487              NASP Clearance.pdf                     184711      5/15/2019 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33487              image001.png                            41050
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33487              NASP Search.pdf                        298036      5/15/2019 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33487              Purchase Agreement.pdf               9184707       5/15/2019 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33487              Stipulation.pdf                        325475      5/15/2019 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33487              UCC Search.pdf                         703240      5/15/2019 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33551              117575.pdf                           3362519       1/30/2019 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33551              33551 De Los Rios, Humberto.tv5         10024      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33551              Benefits Letter.pdf                     17527      10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33551              Court Order.pdf                        858079      10/9/2024 21:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33551              Disclosure Statement - CA.pdf          195077      10/9/2024 19:47




                                                                1456
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                                       3467



               All Paths/Locations                                 Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33551              Disclosure Statement - IA.pdf             158627      10/9/2024 19:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33551              Fasano Auto Sliced.pdf                     79198      4/14/2019 21:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33551              Identification - CA.pdf                    53352      10/9/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33551              NASP Entry.pdf                            141907      10/9/2024 18:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33551              NASP Search.pdf                           129863      10/9/2024 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33551              Purchase Agreement.pdf                    770413      10/9/2024 21:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33551              Request for Acknowledgment.pdf            103021      10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33551              Searches.pdf                              725524      10/9/2024 21:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33551              Stipulation.pdf                           255324      10/9/2024 20:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33551              Waiver of IPA.pdf                          21530      10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33582              117685.pdf                             19965666         3/1/2019 7:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33582              33582 Bilger, Albert.tv5                   10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33582              Benefits Letter.pdf                       226142      6/13/2024 16:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33582              Court Order.pdf                         3843620       10/9/2024 22:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33582              Credit Report.pdf                          35945      10/9/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33582              Driver License.pdf                      3656800       10/9/2024 22:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33582              Fasano Auto Sliced.pdf                     77549      4/14/2019 21:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33582              Fasano.pdf                                 77227      10/9/2024 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33582              NASP Clearance.pdf                        546578      10/9/2024 21:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33582              NASP Search.pdf                           198622      10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33582              Qualified Assignment and Consent.pdf    1134446       10/9/2024 21:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33582              Release and Settlement Agreement.pdf    2524128       10/9/2024 22:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33582              Request for Acknowledgement.pdf           509595      10/9/2024 20:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33582              Terms Rider.pdf                           236394      10/9/2024 20:06




                                                                1457
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1459 of
                                       3467



               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33582              Transfer Agreement.pdf                      3368673       10/9/2024 22:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33582              Waiver of IPA.pdf                              26600      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33590              117703.pdf                                  9679586         4/2/2019 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33590              33590 Anas, Dawn.tv5                           10004      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33590              Absolute Sale and Security Agreement.pdf    6147604       10/9/2024 22:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33590              Acknowledgement of Waiver of IPA.pdf          204711      10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33590              Bankruptcy Search.pdf                         176886      10/9/2024 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33590              Benefits Letter.pdf                           189704      10/9/2024 19:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33590              Court Order.pdf                                72475      10/9/2024 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33590              Drivers License.pdf                           120651      10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33590              Fasano Auto Sliced - 33590.pdf                 79975      4/14/2019 21:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33590              Fasano Auto Sliced.pdf                         79975      4/14/2019 21:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33590              Fasano.pdf                                     79270      10/9/2024 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33590              Florida Disclosure Statement.pdf            1325434       10/9/2024 21:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33590              NASP Inquiry.pdf                              227374      10/9/2024 20:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33590              NASP Search.pdf                               133272      10/9/2024 18:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33590              New - Purchase Agreement.pdf                4751224        1/11/2024 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33590              Request for Acknowledgment.pdf                115317      10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33590              Stipulation.pdf                               260121      10/9/2024 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33590              UCC Search.pdf                                127438      10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\33590              Washington Disclosure Statement.pdf         1521525       10/9/2024 21:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              34894 Benbow, Fredrick.tv5                     11729      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              34894 Combined Docs.pdf                    12421077       6/18/2019 20:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              Annuity.pdf                                   164766      7/18/2013 16:11




                                                                1458
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1460 of
                                       3467



               All Paths/Locations                               Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              Application.pdf                                 288673      9/20/2013 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              Authorization to Release Information.pdf        583154      10/9/2024 21:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              Berwyn Death Search 09252019.pdf                 93007      9/25/2019 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              Check-Tax Lien Payoff.pdf                        40895      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              Civil Docket Report.pdf                          69208     10/21/2015 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              Confirmation.pdf                                 39582       1/7/2014 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              Court Processing Verification - Page 2.pdf      259776      10/9/2024 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              Court Processing Verification - Page 3.pdf      262164      10/9/2024 20:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              Court Processing Verification.pdf               158410      10/9/2024 19:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              Court Verification.pdf                          203884     10/30/2014 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              Credit report up07102019.pdf                     72114      7/16/2013 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              Disclosure - PA.pdf                             144625      7/17/2013 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              Divorce Decree.pdf                               40408      7/18/2013 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              Fasano Report- signed.pdf                       179334      10/9/2024 19:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              HIPAA Auth 702511.pdf                           107678      9/11/2013 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              Medical Records 1.pdf                         1131184       10/9/2024 21:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              Medical Records 2.pdf                           949325      10/9/2024 21:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              Pleadings.pdf                                 5494008       12/12/2013 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              PMOF.pdf                                         90893      12/9/2013 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              Searches.pdf                                     72114      7/16/2013 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              Terms Rider 702511.pdf                           25907      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              Transfer Agreement 702511.pdf                   491477      7/17/2013 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              Wire Confirmation - $1k - 10.2.13.pdf            15770      10/2/2013 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34894              Wire Confirmation - Funding - 12.13.13.pdf      101482      10/9/2024 18:33




                                                              1459
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1461 of
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               All Paths/Locations                            Unified Title                    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-   120426 IMPERIAL Mary Jane Graham 21543 -
SuttonPark\Closing Binders\34982              244738 COMP - ACK.pdf                                34421      4/30/2012 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34982              34982 Additional Docs - Combined.pdf                690870      6/22/2019 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34982              34982 Graham, Mary.tv5                               10014      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34982              Address Search-Mary Jane Graham.pdf                  24319      9/29/2014 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34982              Application up07222019.pdf                          215438      7/21/2019 21:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34982              Court Processing Verification.pdf                   214538      10/9/2024 19:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34982              Disclosure up07222019.pdf                           290749      7/21/2019 21:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34982              FASANO FROM DATA TAPE.pdf                            89065      6/20/2019 16:04
Saiph consulting|\Audit Materials Received-   Fax Transmission Results In Lieu of VLS
SuttonPark\Closing Binders\34982              11182020.pdf                                        481611     11/18/2020 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34982              Genworth Life Reconfig Letter up04-11-2022.pdf      476916      4/11/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34982              Graham, M-Ack 04.30.12.pdf                           34421      4/30/2012 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34982              Graham.Mary.Benefit Letter.pdf                       44756      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34982              Graham.Mary.Best Interest Affidavit.pdf             179497      4/11/2012 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34982              Graham.Mary.Contract.pdf                            492768      4/11/2012 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34982              Graham.Mary.Court Order.pdf                       1247189        3/14/2012 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34982              Graham.Mary.Credit.pdf                              674011      10/9/2024 21:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34982              Graham.Mary.Hipaa.pdf                               306203      4/11/2012 10:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34982              Graham.Mary.ISC-MUR.pdf                              43324       1/11/2012 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34982              Graham.Mary.LCQ.pdf                                 247180      4/11/2012 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34982              Graham.Mary.POR.pdf                                 377976      1/30/2012 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34982              Graham.Mary.UCC.pdf                                 842875      10/9/2024 21:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34982              In Lieu of VLS 11182020.pdf                         111206     11/18/2020 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34982              Redirection Confirmation New up07-27-2022.pdf       481472      7/26/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34982              Redirection Confirmaton 34982.pdf                    63182      3/29/2020 11:17




                                                             1460
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                                       3467



               All Paths/Locations                                 Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34982              Redirection_Compass up01-17-2020.pdf      316134      1/16/2020 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\34982              SSC up07222019.pdf                        328538      7/21/2019 21:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              35021 Additional Docs - Combined.pdf      152550       6/21/2019 4:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              35021 Foster, Johnny.tv5                   10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Annuity Policy.pdf                        683586      10/9/2024 21:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Application.pdf                           188478      10/9/2024 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Bankruptcy.pdf                             21251      10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Bankruptcy_EBCEB.pdf                       21366      10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Bankruptcy_EC26A.pdf                       57607      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Bankruptcy_EC865.pdf                       44969      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Bankruptcy_ECE12.pdf                       44956      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Check Stub.pdf                             19943      10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Credit Check.pdf                          604344      10/9/2024 21:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Disclosure Statement.pdf                  146418      10/9/2024 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Divorce Decree.pdf                         32075      10/9/2024 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              FASANO REPORT FROM DATA TAPE.pdf          398524      6/20/2019 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Green Card.pdf                             96927      10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Identification.pdf                         62978      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Identification_E04A3.pdf                   41950      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Identification_EF939.pdf                   41950      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              IPA Letter_Waiver.pdf                      55980      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Letters of Direction.pdf                  141722      10/9/2024 18:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Lien Searches.pdf                          56975      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Life Insurance.pdf                        377032      10/9/2024 20:23




                                                               1461
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                                       3467



               All Paths/Locations                                 Unified Title              File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Life Insurance_EA387.pdf                           352090       10/9/2024 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Life Insurance_EAA8C.pdf                           241927       10/9/2024 20:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Order.pdf                                          444474       10/9/2024 20:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Purchase Agreement.pdf                             746894       10/9/2024 21:28
Saiph consulting|\Audit Materials Received-   Redirection Resent_Allstate Compass up01-22-
SuttonPark\Closing Binders\35021              2020.pdf                                           244462       1/22/2020 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Settlement Agreement.pdf                           575453       10/9/2024 21:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Spousal Consent.pdf                                110474       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Spousal Death Certificate.pdf                       26722       10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              SSN up07222019.pdf                                  43858       7/21/2019 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35021              Stipulation.pdf                                  1104959        10/9/2024 21:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              35130 Additional Docs - Combined.pdf            26279592        6/20/2019 20:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              35130 Poltrock, Kevin.tv5                           12851       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Additinal Medical Authorization.pdf                 57795       6/13/2014 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Affidavit (Medical).pdf                             30517       6/13/2014 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Annuity Policy.pdf                                 516886       6/13/2014 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Application.pdf                                     94580       6/13/2014 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Benefits Letter.pdf                                 53213       6/13/2014 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Berwyn Death Search_061121 Kevin Poltrock.pdf      151760       6/17/2021 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Berwyn Death Search_110920 Kevin Poltrock.pdf      146225      11/10/2020 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Confirmation of Court Order Filing.pdf                6477      6/13/2014 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Court Order.pdf                                    334037       6/13/2014 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Court Processing Verification - Page 2.pdf            4764      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Court Processing Verification.pdf                     2530      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Credit Report.pdf                                  106268       6/13/2014 13:31




                                                                1462
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                                       3467



               All Paths/Locations                               Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Declaration in Support of Transfer.pdf           94872      6/13/2014 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Dependents.pdf                                   18711      6/13/2014 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Disclosure Statement.pdf                        161303      9/18/2014 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              FASANO NQ FROM DATA TAPE.pdf                     79781      6/19/2019 18:35
                                              Fax transmission Re BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT Kevin Poltrock POLICY
SuttonPark\Closing Binders\35130              154396130.pdf                                   468463     11/11/2020 12:35
Saiph consulting|\Audit Materials Received-   Fax Transmission Results Quarterly Berwyn
SuttonPark\Closing Binders\35130              01152020.pdf                                    113438      1/15/2020 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              ID and SSN.pdf                                6249223       6/13/2014 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              IPA Waiver.pdf                                   19600      6/13/2014 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              LC Notifier 05102021.pdf                        152556      5/19/2021 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              LC Notifier 10132021.pdf                        141882     10/21/2021 16:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Marital Status and Divorce Decree.pdf           677686      6/13/2014 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Medical Authorization.pdf                       239096      6/13/2014 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Medical Questionnaire.pdf                       163461      6/13/2014 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              NASP.pdf                                        111151      6/13/2014 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              PBI Address Search.pdf                           21619      6/13/2014 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Poltrock - Closing Binder.pdf                12173010       5/23/2014 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Poltruck - Acknowedgment Letter (2).pdf          41910       7/3/2014 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Poltruck - Acknowedgment Letter.pdf              41910       7/3/2014 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Quarterly Berwyn Death Search 01152020.pdf      132337      1/15/2020 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Redirection 35130 Security.pdf                  545067      10/1/2020 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Redirection Email 35130.pdf                   2191677       10/1/2020 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Redirection 35889 Security.pdf                  545081      10/1/2020 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Redirection 35130 Security.pdf                  545067      10/1/2020 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Redirection 35839 Security.pdf                  545041      10/1/2020 16:47



                                                               1463
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                                       3467



               All Paths/Locations                            Unified Title                     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-   Compass LEGACY Resolution (signed 7-31-2019)
SuttonPark\Closing Binders\35130              t.pdf                                                345141      8/20/2020 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Compass Corp Resolution_PK.pdf                        60082      1/14/2020 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Request for Acknowledgement.pdf                      155647      6/13/2014 13:35
Saiph consulting|\Audit Materials Received-   Security Benefit Compass Redirection Letter and
SuttonPark\Closing Binders\35130              docs 35839 35889 35130.pdf                           580532      4/20/2020 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              20200102150218872.tif                                 33442
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Settlement Agreement.pdf                             259124      6/13/2014 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              Settlement Purchase Agreement.pdf                    315951      6/13/2014 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              State Disclosure Documents.pdf                       161302      6/13/2014 13:13
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Kevin Poltrock POLICY
SuttonPark\Closing Binders\35130              154396130 052622.pdf                                 359419      6/13/2022 23:47
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Kevin Poltrock POLICY
SuttonPark\Closing Binders\35130              154396130 12202021.pdf                               484264     12/20/2021 12:14
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Kevin Poltrock POLICY
SuttonPark\Closing Binders\35130              154396130.pdf                                        485098      6/17/2021 15:09
Saiph consulting|\Audit Materials Received-   Successful transmission-Verification of Living
SuttonPark\Closing Binders\35130              Statement 05192021.pdf                               110692      5/19/2021 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              UCC, Judgment and Lien Search.pdf                    391801      6/13/2014 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35130              VLS 10132021_Compass.pdf                             633926     10/21/2021 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35254              35254 Additional Docs - Combined.pdf                 771105       6/22/2019 2:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35254              35254 Dillard, Tyrone.tv5                             10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-   Berwyn Death Search 08012023 Tyrone
SuttonPark\Closing Binders\35254              Dillard.pdf                                           93731       8/1/2023 15:37
Saiph consulting|\Audit Materials Received-   Berwyn Death Search_12082022 Tyrone
SuttonPark\Closing Binders\35254              Dillard.pdf                                          153259      2/10/2023 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35254              Court Processing Verification - Page 2.pdf           163063      10/9/2024 19:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35254              Court Processing Verification - Page 3.pdf           160343      10/9/2024 19:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35254              Dillard.Tyrone.Best Interest Affidavit.pdf           185921       7/12/2011 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35254              Dillard.Tyrone.Contract.pdf                          463864       7/12/2011 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35254              Dillard.Tyrone.Court Order.pdf                       164106       7/12/2011 9:27



                                                             1464
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1466 of
                                       3467



               All Paths/Locations                               Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35254              Dillard.Tyrone.Credit.pdf                            788043      11/7/2011 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35254              Dillard.Tyrone.HIPAA.pdf                             299340       7/12/2011 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35254              Dillard.Tyrone.ISC-MUR.pdf                            48490       7/12/2011 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35254              Dillard.Tyrone.LCQ.pdf                               223180       7/12/2011 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35254              Dillard.Tyrone.POR.pdf                                32545      11/8/2011 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35254              Dillard.Tyrone.Stip.pdf                              339843       7/12/2011 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35254              Dillard.Tyrone.UCC.pdf                               199698      11/7/2011 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35254              Disclosure Statements up07242019.pdf                 574416      7/22/2019 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35254              Fasano Report - 35254.pdf                            121100       7/23/2019 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35254              FASANO REPORT FROM DATA TAPE.pdf                     542327      6/20/2019 23:35
                                              Fax transmission Re BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT Tyrone Dillard POLICY
SuttonPark\Closing Binders\35254              3960795A01Z.pdf                                      470576     10/28/2020 14:55
Saiph consulting|\Audit Materials Received-   Transmission Result : OK From
SuttonPark\Closing Binders\35254              "18006622218"(Fax Message NO.3050)                   168960      2/28/2020 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35254              20200228155021080.tif                                 40966      2/28/2020 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35254              Quarterly Berwyn Search 02282020.pdf                 148408      2/28/2020 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35254              Redirection confirmation 35254.pdf                   196288      5/11/2020 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35254              Redirection Confirmation New 35254.pdf               206137       5/9/2023 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35254              SPSS Quarterly Berwyn Search 11232020.pdf            134952     11/23/2020 11:53
                                              Successful transmission Berwyn Mortality Search
Saiph consulting|\Audit Materials Received-   Report 08012023 Tyrone Dillard Policy
SuttonPark\Closing Binders\35254              3960795A01Z.pdf                                      115780       8/2/2023 12:37
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Tyrone Dillard POLICY
SuttonPark\Closing Binders\35254              3960795A01Z 060622.pdf                               485581       6/6/2022 13:53
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Tyrone Dillard POLICY
SuttonPark\Closing Binders\35254              3960795A01Z.pdf                                      484662      5/27/2021 16:54
                                              Successful transmission to 18885604860 Re
Saiph consulting|\Audit Materials Received-   BERWYN MORTALITY SEARCH REPORT FOR
SuttonPark\Closing Binders\35254              Tyrone Dillard POLICY 3960795A01Z.pdf                113300       3/3/2023 11:12
Saiph consulting|\Audit Materials Received-   Successful transmission-Berwyn Death
SuttonPark\Closing Binders\35254              Search11252020.pdf                                   110977      11/25/2020 9:56



                                                             1465
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                                       3467



               All Paths/Locations                               Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-   Tyrone Dillard Correspondence to Transamerica
SuttonPark\Closing Binders\35254              11022023.pdf                                        827663      11/4/2023 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35314              35314 Additional Docs - Combined.pdf                238759      6/20/2019 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35314              35314 Belcher, Rodney.tv5                            10171      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35314              Application up07222019.pdf                          215163      7/21/2019 22:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35314              Belcher.Rodney.Best Interest Affidavit.pdf          181177      12/8/2011 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35314              Belcher.Rodney.Contract.pdf                         476572      12/8/2011 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35314              Belcher.Rodney.Court Order.pdf                      175707      12/8/2011 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35314              Belcher.Rodney.Credit.pdf                           443906      12/8/2011 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35314              Belcher.Rodney.HIPAA.pdf                            293180      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35314              Belcher.Rodney.IPA Waiver.pdf                        26911     12/12/2011 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35314              Belcher.Rodney.ISC-MUR.pdf                           51552      12/8/2011 17:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35314              Belcher.Rodney.LCQ.pdf                              231690      12/8/2011 17:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35314              Belcher.Rodney.POR.pdf                            1120469      12/12/2011 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35314              Belcher.Rodney.Release and Settlement.pdf           289014      7/27/2011 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35314              Belcher.Rodney.STIP.pdf                             394813      12/8/2011 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35314              Belcher.Rodney.UCC.pdf                              445410      12/8/2011 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35314              Court Processing Verification.pdf                   148559       8/6/2014 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35314              Disclosure up07222019.pdf                           432628      7/21/2019 22:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35314              Fasano Auto-Sliced - 35314.pdf                      178185       5/3/2018 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35314              FASANO REPORT FROM DATA TAPE.pdf                    454059      6/19/2019 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35314              Pleadings up07222019.pdf                            208832      7/21/2019 22:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35314              Redirection Confirmation 35314.pdf                  403386       5/8/2020 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35314              SSC up07222019.pdf                                  344877      7/21/2019 22:50
Saiph consulting|\Audit Materials Received-   Transamerica Contingent Redirection Letter and
SuttonPark\Closing Binders\35314              doc 35314.pdf                                       348358       5/1/2020 13:44




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               All Paths/Locations                                 Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              35407 Additional Docs - Combined.pdf               183082       6/22/2019 2:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              35407 Williams, Tyree.tv5                           12109      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Annuity Policy.pdf                                 134691      10/9/2024 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Application.pdf                                    148488      10/9/2024 19:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Bankruptcy.pdf                                      18474      10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Bankruptcy_E824B.pdf                                19282      10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Berwyn Death Search_042220 Tyree Williams.pdf      147617      4/22/2021 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Berwyn Death Search_060822 Tyree Williams.pdf      170694       7/7/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Berwyn Death Search_062321 Tyree Williams.pdf      153159       7/2/2021 14:36
Saiph consulting|\Audit Materials Received-   Berwyn Death Search_07292022_Tyree
SuttonPark\Closing Binders\35407              Williams.pdf                                       152555     10/13/2022 16:44
Saiph consulting|\Audit Materials Received-   Berwyn Death Search_1272022 Tyree
SuttonPark\Closing Binders\35407              Williams.pdf                                       156565       2/1/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Check Stub.pdf                                      15056      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Check up07242019.pdf                                73273      7/23/2019 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Court Processing Verification.pdf                  170632      10/9/2024 19:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Credit Check.pdf                                   347778      10/9/2024 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Disclosure Statement.pdf                            68278      10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Disclosure Statement_E177C.pdf                     112480      10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Disclosure Statement_E1C2F.pdf                     194956      10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Disclosure Statement_E2140.pdf                     152782      10/9/2024 19:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Disclosure Statement_E2612.pdf                     172620      10/9/2024 19:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Disclosure Statement_E2AF4.pdf                     194131      10/9/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Divorce Decree.pdf                                 316128      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Divorce Decree_E720F.pdf                           613233      10/9/2024 21:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Failed VLS mailing attempt 01282021.png             61881      10/9/2024 18:20




                                                               1467
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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Fasano 2 Auto Sliced - 35407.pdf                     78633      1/21/2019 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Fasano Auto Sliced - 35407.pdf                      112789      1/21/2019 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              FASANO REPORT FROM DATA TAPE.pdf                    513536      6/19/2019 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Your fax to John Hancock Life has succeeded         145408       2/2/2021 13:58
Saiph consulting|\Audit Materials Received-   fax transmission Re_Tyree Williams Quarterly
SuttonPark\Closing Binders\35407              Berwyn 17152300033784143.pdf                        469694      10/5/2020 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Green Card.pdf                                      448254      10/9/2024 20:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Identification.pdf                                  565821      10/9/2024 21:09
Saiph consulting|\Audit Materials Received-   In Lieu of VLS with Berwyn Death Search
SuttonPark\Closing Binders\35407              02022021.pdf                                        112908       2/2/2021 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              IPA Letter_Waiver.pdf                                53045      10/9/2024 18:17
Saiph consulting|\Audit Materials Received-   JHL Confidential Compass wCk Cy FedEx up05-01-
SuttonPark\Closing Binders\35407              2020.pdf                                            712563       5/1/2020 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              LC Notifier 05132021.pdf                            111771      5/18/2021 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Lien Searches.pdf                                    59782      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Life InsuranceQ.pdf                                 394136      10/9/2024 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Life Insurance_E5679-authorization.pdf              355888      10/9/2024 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Order.pdf                                           292225      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Quarterly Berwyn Search 11012019.pdf                142047      11/1/2019 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Redirection 35407.pdf                               572853       4/7/2020 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Redirection Confirmation 35407.pdf.pdf              363108      5/27/2020 16:00
Saiph consulting|\Audit Materials Received-   Redirection Reconfiguration JHL up11-11-
SuttonPark\Closing Binders\35407              2022.pdf                                          1624916      11/11/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Settlement Agreement.pdf                            856586      10/9/2024 21:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Spousal Consent.pdf                                 162911      10/9/2024 19:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              Stipulation.pdf                                     783791      10/9/2024 21:31
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Tyree Williams POLICY
SuttonPark\Closing Binders\35407              17152300033784143 02022022.pdf                      485296       2/2/2022 14:23




                                                            1468
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                                       3467



              All Paths/Locations                               Unified Title                   File Size   Primary Date/Time
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Tyree Williams POLICY
SuttonPark\Closing Binders\35407              17152300033784143 10172022.pdf                       485031     10/17/2022 13:39

Saiph consulting|\Audit Materials Received-   Successful transmission BERWYN MORTALITY
SuttonPark\Closing Binders\35407              SEARCH REPORT FOR Tyree Williams POLICY.pdf          357715      7/12/2022 12:18
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT TYREE WILLIAMS 3 FOR POLICY
SuttonPark\Closing Binders\35407              17152300033784143 030823.pdf                         484396       3/9/2023 10:59
                                              Successful transmission to Re BERWYN
Saiph consulting|\Audit Materials Received-   MORTALITY SEARCH REPORT FOR Tyree Williams
SuttonPark\Closing Binders\35407              POLICY 17152300033784143.pdf                         484868      4/23/2021 15:04
Saiph consulting|\Audit Materials Received-   Successful transmission- Verification of Living
SuttonPark\Closing Binders\35407              Statement- 05182021.pdf                              109798      5/18/2021 17:13
Saiph consulting|\Audit Materials Received-   Tyree Williams Lexis Nexis Person Search Plus
SuttonPark\Closing Binders\35407              02022021.pdf                                         322938       2/2/2021 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35407              VLS 05132021.pdf                                     139932      5/18/2021 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              35493 Additional Docs - Combined.pdf                 199283      6/20/2019 21:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              35493 Harris, Brenda.tv5                              10206      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-   Berwyn Death Search 06212023 Brenda Costella
SuttonPark\Closing Binders\35493              Bryant Harris.pdf                                     93319      6/21/2023 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              Berwyn Death Search_010521 Brenda Harris.pdf         145394      1/12/2021 13:50
Saiph consulting|\Audit Materials Received-   Berwyn Death Search_07112021 Brenda
SuttonPark\Closing Binders\35493              Harris.pdf                                           152841      8/19/2021 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              Court Processing Verification.pdf                    213728      10/9/2024 19:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              Disclosure Statements up07242019.pdf                 526686      7/22/2019 16:58
                                              Fax transmission Re BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT Brenda Harris POLICY
SuttonPark\Closing Binders\35493              892190TO01Z.pdf                                      469752     10/26/2020 14:53
Saiph consulting|\Audit Materials Received-   Transmission Result : OK From
SuttonPark\Closing Binders\35493              "18006622218"(Fax Message NO.2762)                   168448      1/24/2020 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              20200124103949258.tif                                 41032      1/24/2020 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              Harris.Brenda.Annuity Contract.pdf                   172802        8/8/2011 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              Harris.Brenda.Best Interest Affidavit.pdf            191832        8/8/2011 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              Harris.Brenda.Contract.pdf                           467006        8/8/2011 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              Harris.Brenda.Court Order.pdf                        323955        8/8/2011 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              Harris.Brenda.Credit.pdf                             686800      12/8/2011 16:51



                                                             1469
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1471 of
                                       3467



               All Paths/Locations                               Unified Title                    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              Harris.Brenda.HIPAA.pdf                                304540        8/8/2011 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              Harris.Brenda.ISC-MUR.pdf                               47292       1/5/2012 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              Harris.Brenda.LCQ.pdf                                  294849      12/8/2011 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              Harris.Brenda.POR.pdf                                   54992      12/8/2011 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              Harris.Brenda.Stip.pdf                                 517787        8/8/2011 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              Harris.Brenda.UCC.pdf                                1603820       12/8/2011 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              LC Notifier 01252021.pdf                                18571       2/4/2021 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              LexisNexis 11242021.pdf                                237639     11/24/2021 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              Quarterly Berwyn Search 01242020.pdf                   180059      1/24/2020 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              Redirection confirmation 35493.pdf                     196455      5/11/2020 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              Redirection Confirmation New 35493.pdf                 206530       5/9/2023 16:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              SPC Quarterly Berwyn Search 11192020.pdf               200067     11/19/2020 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              SS Card up07242019.pdf                                 209340      7/22/2019 16:57
                                              Successful transmission Berwyn Mortality Search
Saiph consulting|\Audit Materials Received-   Report 06212023 for Brenda Costella Bryant
SuttonPark\Closing Binders\35493              Harris Policy 892190TO01Z.pdf                          116293      6/21/2023 13:05
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Brenda Bryant Harris
SuttonPark\Closing Binders\35493              POLICY 892190TO01Z 060322.pdf                          484906       6/3/2022 15:52
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Brenda Costella Bryant
SuttonPark\Closing Binders\35493              Harris POLICY 892190TO01Z.pdf                          484918       2/2/2023 15:06
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Brenda Harris POLICY
SuttonPark\Closing Binders\35493              892190TO01Z.pdf                                        467492      1/18/2021 16:26
Saiph consulting|\Audit Materials Received-   Successful transmission-In Lieu of
SuttonPark\Closing Binders\35493              VLS11192020.pdf                                        110503     11/19/2020 14:51
Saiph consulting|\Audit Materials Received-   Successful transmission-Verification of Living
SuttonPark\Closing Binders\35493              Status 01272021.pdf                                    110385       2/4/2021 13:36
Saiph consulting|\Audit Materials Received-   Transamerica Contingent Redirection Letter and
SuttonPark\Closing Binders\35493              doc 35493.pdf                                          347055      4/29/2020 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              VLS - LC Notifier - Fax Confirmation 11242021.pdf      401947     11/24/2021 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35493              VLS 01272021.pdf                                        29434       2/4/2021 11:55




                                                             1470
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1472 of
                                       3467



               All Paths/Locations                                 Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              35499 Additional Docs - Combined.pdf              104809       6/21/2019 5:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              35499 Paiz, Cruz.tv5                               10766      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              Berwyn Death Search_010521 Cruz Paiz.pdf          144812      1/12/2021 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              FASANO REPORT FROM DATA TAPE.pdf                   81433      10/3/2012 13:55
Saiph consulting|\Audit Materials Received-   Transmission Result : OK From
SuttonPark\Closing Binders\35499              "18006622218"(Fax Message NO.2354)                165376      12/6/2019 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              20191206173359625.tif                              39690      12/6/2019 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              Paiz.Cruz.Annuity Contract.pdf                     95317      10/2/2012 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              Paiz.Cruz.Benefit Letter.pdf                       21335      10/2/2012 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              Paiz.Cruz.Contract.pdf                            430165      11/6/2012 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              Paiz.Cruz.Court Order.pdf                       1668118      11/20/2012 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              Paiz.Cruz.Credit.pdf                              850039      10/9/2024 21:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              Paiz.Cruz.Disclosures.pdf                         351705      11/6/2012 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              Paiz.Cruz.Fasano MUR.pdf                           82677      10/3/2012 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              Paiz.Cruz.HIPAA.pdf                               293639     11/21/2012 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              Paiz.Cruz.LCQ.pdf                                 311845     11/21/2012 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              Paiz.Cruz.Name Addendum.pdf                        54332      10/9/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              Paiz.Cruz.Release and Settlement.pdf              134445      10/2/2012 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              Paiz.Cruz.Stip.pdf                              3693303      11/20/2012 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              Paiz.Cruz.UCC.pdf                                 356948      11/6/2012 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              Quarterly Berwyn Search 12062019.pdf              138538      12/6/2019 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              Quarterly Berwyn Search 01242020.pdf              180485      1/24/2020 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              Redirection Confirmation 35499.pdf                 33856      2/18/2020 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              Redirection Confirmation New 35499.pdf            215147       5/9/2023 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              Redirection_Compass TransAm up01-31-2020.pdf      666080      1/31/2020 13:50




                                                             1471
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1473 of
                                       3467



               All Paths/Locations                                 Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              20200131132909811.tif                           34094
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35499              SSN up07222019.pdf                              31486      7/21/2019 23:25
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Cruz Paiz POLICY
SuttonPark\Closing Binders\35499              920406TO01Z.pdf                                467458      1/18/2021 16:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              0792 Derryberry, Stanley - ACK.pdf             810705       6/2/2014 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              35504 Additional Docs - Combined.pdf           196876       6/22/2019 2:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              35504 Derryberry, Stanley.tv5                   10024      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Amended Disclosure.pdf                          98771      10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Amended Purchase Agreement.pdf                  98771      10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Amended Purchase Agreement_Pg 1.pdf             51342      10/9/2024 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Annuity Policy.pdf                              39787      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Application.pdf                                 60510      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Bankruptcy.pdf                                  19272      10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Bankruptcy_E3E5E.pdf                            18252      10/9/2024 17:40
Saiph consulting|\Audit Materials Received-   Berwyn Death Search 08012023 Stanley
SuttonPark\Closing Binders\35504              Derryberry.pdf                                  94208       8/1/2023 15:39
Saiph consulting|\Audit Materials Received-   Berwyn Death Search_010521 Stanley
SuttonPark\Closing Binders\35504              Derryberry.pdf                                 145831      1/12/2021 13:50
Saiph consulting|\Audit Materials Received-   Berwyn Death Search_07112021 Stanley
SuttonPark\Closing Binders\35504              Derryberry.pdf                                 152845      8/19/2021 14:38
Saiph consulting|\Audit Materials Received-   Berwyn Death Search_6302022_Stanley
SuttonPark\Closing Binders\35504              Deryberry.pdf                                  156826      7/19/2022 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Check Stub.pdf                                  15168      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Court Processing Verification.htm.pdf          146413      8/26/2015 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Credit Check.pdf                               288543      10/9/2024 20:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Disclosure Statement.pdf                       137390      10/9/2024 18:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Divorce Decree.pdf                             746128      10/9/2024 21:28
                                              Email Sent Berwyn Mortality Search Report
Saiph consulting|\Audit Materials Received-   08012023 Stanley M Derryberry POLICY
SuttonPark\Closing Binders\35504              SA1101540.pdf                                  152129       8/2/2023 12:44




                                                               1472
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1474 of
                                       3467



               All Paths/Locations                                 Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Fasano Report.pdf                                132064      10/9/2024 18:39
                                              Fax transmission Re BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT Stanley Derryberry POLICY
SuttonPark\Closing Binders\35504              SA1101540.pdf                                    468841     10/26/2020 15:44
Saiph consulting|\Audit Materials Received-   Transmission Result : OK From
SuttonPark\Closing Binders\35504              "18006622218"(Fax Message NO.3057)               169472       3/2/2020 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              20200302112311920.tif                             41872       3/2/2020 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Green Card.pdf                                   285149      10/9/2024 20:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              ID up07242019.pdf                                291470      7/22/2019 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Identification.pdf                               132362      10/9/2024 18:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Identification_E6945.pdf                         160508      10/9/2024 19:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              IPA Letter_Waiver.pdf                             38343      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Letters of Direction.pdf                          96410      10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Lien Searches.pdf                                 65004      10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Life Insurance questionnaire.pdf                 285346      10/9/2024 20:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Life Insurance_E5A76 health info.pdf             177943      10/9/2024 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Life Insurance_E6204-disclosure protect.pdf      107314      10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Order.pdf                                        473504      10/9/2024 20:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Purchase Agreement.pdf                           521645      10/9/2024 21:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Quarterly Berwyn Search 03022020.pdf             139553       3/2/2020 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Redirection 35504.pdf                          1188240        6/1/2020 16:08
                                              SENT Confirmation 08252021 BERWYN
Saiph consulting|\Audit Materials Received-   MORTALITY SEARCH REPORT FOR Stanley
SuttonPark\Closing Binders\35504              Derryberry POLICY SA1101540.pdf                  621984       9/1/2021 16:31
                                              Sent Confirmation BERWYN MORTALITY SEARCH
Saiph consulting|\Audit Materials Received-   REPORT FOR Stanley Derryberry POLICY
SuttonPark\Closing Binders\35504              SA1101540 03012022.pdf                           620569       3/1/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Spousal Consent.pdf                              103174      10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Statement of Facts.pdf                           188910      10/9/2024 19:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35504              Stipulation.pdf                                  327197      10/9/2024 20:21



                                                                1473
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                                       3467



              All Paths/Locations                               Unified Title                File Size   Primary Date/Time
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Stanley Derryberry POLICY
SuttonPark\Closing Binders\35504              SA1101540.pdf                                     468207      1/18/2021 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              35526 Additional Docs - Combined.pdf            5951547        6/22/2019 2:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              35526 Nunez, Lidia.tv5                             11722      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              Annuity Policy.pdf                                129318      10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              Application.pdf                                   209741      10/9/2024 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              Bankruptcy.pdf                                     34822      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              Berwyn Death Search_12082022 Lidia Nunez.pdf      149939      2/10/2023 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              Berwyn Search 08062020.pdf                        135135       8/6/2020 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              Check Stub.pdf                                     34516      10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              Confirmation of Court Order Filing.pdf             12644       9/9/2014 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              Credit Check.pdf                                  253504      10/9/2024 20:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              Disclosure Statement.pdf                          149176      10/9/2024 19:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              FASANO REPORT FROM DATA TAPE - 35526.pdf          106649      6/20/2019 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              FASANO REPORT FROM DATA TAPE.pdf                  106649      6/20/2019 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              Green Card.pdf                                    165277      10/9/2024 19:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              Identification.pdf                                613202      10/9/2024 21:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              Identification_E169B.pdf                          219665      10/9/2024 19:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              In Lieu of VLS 08262020.pdf                       109915      8/26/2020 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              IPA Letter_Waiver.pdf                              39732      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              Letters of Direction.pdf                          180735      10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              Lien Searches.pdf                               1551732       10/1/2014 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              Life Insurance Questionnaire.pdf                  742260      10/9/2024 21:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              Life Insurance_E1E39.pdf                          105780      10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              LN Person Search Results -Lidia Nunez.pdf         126075       6/3/2015 16:23



                                                               1474
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                                       3467



               All Paths/Locations                                 Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              Order.pdf                                          178717      10/9/2024 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              page from Lien Searches.pdf                         49199      10/9/2024 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              PBI Address Search.pdf                              21841       9/8/2014 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              Proof of Funding.pdf                                92392      1/16/2015 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              Purchase Agreement.pdf                              74151      10/9/2024 18:24
Saiph consulting|\Audit Materials Received-   Redirection confirmation 34943-34997-35526-
SuttonPark\Closing Binders\35526              35674.pdf                                          227569      6/16/2020 11:10
Saiph consulting|\Audit Materials Received-   Redirection Letters Lincoln National Life GFG
SuttonPark\Closing Binders\35526              34943-34997-35526-35674.pdf                        219759      6/16/2020 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              Settlement Agreement.pdf                           102999      10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              Stipulation for 9490220004.pdf                     781653      11/3/2014 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              Stipulation.pdf                                    781653      11/3/2014 13:45
                                              Successful transmission to 18008191987 Re
Saiph consulting|\Audit Materials Received-   BERWYN MORTALITY SEARCH REPORT FOR Lidia
SuttonPark\Closing Binders\35526              Nunez POLICY ALXH4000037590.pdf                    114183      2/23/2023 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              Successful transmission- Berwyn 08062020.pdf       108237       8/6/2020 12:06
Saiph consulting|\Audit Materials Received-   Successful transmission-In Lieu of VLS
SuttonPark\Closing Binders\35526              08262020.pdf                                       478579      8/26/2020 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              VLS 08042021.pdf                                   144586      8/19/2021 16:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35526              Your fax to Lincoln National has succeeded         155648       8/23/2021 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              35568 Additional Docs - Combined.pdf                83044       6/21/2019 5:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              35568 Roy, Robert.tv5                               10015      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              599697 - Ack.pdf                                    34206      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Annuity Policy.pdf                                 897291      10/9/2024 21:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Application.pdf                                    123942      10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Bankruptcy.pdf                                      59062      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Bankruptcy_EB01F.pdf                                59034      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Check Stub.pdf                                      74139      10/9/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Court Order from Website.pdf                       215583      10/9/2024 19:58



                                                               1475
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1477 of
                                       3467



               All Paths/Locations                                 Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Credit Check.pdf                                    345959      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Disclosure Statement.pdf                            122989      10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Divorce Decree.pdf                                1271976       10/9/2024 21:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              FASANO REPORT FROM DATA TAPE.pdf                    103049        4/4/2012 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Your fax to Genworth has succeeded                  157696       5/5/2021 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Genworth Life Reconfig Letter up04-11-2022.pdf      476916      4/11/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Green Card.pdf                                       90142      10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Health Info_E70FD.pdf                               119427      10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Health info_EBECF.pdf                                88391      10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Identification.pdf                                  218106      10/9/2024 19:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Identification_E897D.pdf                            282671      10/9/2024 20:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              IPA Letter_Waiver.pdf                                44678      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Letters of Direction.pdf                            101507      10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Lien Searches.pdf                                   188697      10/9/2024 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Life contingent Questionnaire.pdf                   203456      10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              New - Ack.pdf                                        34206      10/9/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Order.pdf                                           314720      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Purchase Agreement.pdf                              578214      10/9/2024 21:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Redirection Confirmation 35568.pdf                   63162       3/31/2020 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Redirection Confirmation New up07-27-2022.pdf       481472      7/26/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Redirection_Compass up01-17-2020.pdf                316134      1/16/2020 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Returned countersignature VLS 04192021.pdf          234789       5/4/2021 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Returned VLS 04192021.pdf                           258654       5/4/2021 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Settlement Agreement.pdf                          2175898       10/9/2024 22:04




                                                              1476
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1478 of
                                       3467



               All Paths/Locations                                Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35568              Spousal Consent.pdf                                   48475      10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              (SFDC) Closing Package - 12.24.2013 -702376.pdf      223304       1/7/2014 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              35586 Additional Docs - Combined.pdf                 877223       6/19/2019 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              35586 Barker, Tracie.tv5                              10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              Amended order and stip up07102019.pdf                611747      11/5/2014 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              Annuity - LOB.pdf                                     94395      9/19/2013 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              Annuity Contract.pdf                                 290979      9/19/2013 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              Application Ciera.pdf                                747224       7/2/2013 19:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              Auth to Release 702376.pdf                            65592     12/26/2013 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              Berwyn Death Search 02192023 Ciera Reed.pdf          150662      3/14/2023 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              Berwyn Death Search_07292022_Ciera Reed.pdf          152126     10/13/2022 16:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              Check-Monthly Holdback Release.pdf                    44331      10/9/2024 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              Court Order-Reed.PDF                                 462422     12/20/2013 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              Disclosure - IA 702376.pdf                           115860      9/24/2013 20:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              Disclosure - NV 702376.pdf                            92338      9/24/2013 20:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              FASANO FROM DATA TAPE.pdf                            145508      6/18/2019 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              Fasano Report - 35586.pdf                             82733      3/29/2019 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              Fasano report- signed.pdf                            186331      10/9/2024 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              HIPAA Authorization 702376.pdf                       125374       7/1/2013 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              medical records 1.pdf                                493542      9/10/2013 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              medical records 2.pdf                                116781      9/10/2013 10:06
Saiph consulting|\Audit Materials Received-   Novation Tracie Barker Check Image Print
SuttonPark\Closing Binders\35586              View.pdf                                             363614     10/15/2019 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              Order Approving Minor Compromise.pdf               3122302       4/26/2019 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              Pleadings.pdf                                      2698119      12/24/2013 11:41




                                                              1477
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1479 of
                                       3467



               All Paths/Locations                                Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              PMOF 702376.pdf                                      208535     12/16/2013 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              Proof of Identification.pdf                          137313      9/19/2013 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              R&S.pdf                                              585869      9/19/2013 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              Searches - Ciera.pdf                                 543766       7/1/2013 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              Stipulation.pdf                                      781902      12/2/2013 16:39

Saiph consulting|\Audit Materials Received-   Successful transmission Berwyn Mortality Search
SuttonPark\Closing Binders\35586              Report for Ciera Reed Policy 921825TO01Z.pdf         115664       3/15/2023 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              Terms Rider.pdf                                       21368      9/23/2013 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35586              Transfer Agreement (2).pdf                           485980      9/25/2013 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35687              35687 Additional Docs - Combined.pdf                 313408       6/20/2019 4:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35687              35687 Santiago, Lydia.tv5                             10206      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35687              Court Order STAMPED COPY 2012.pdf                    336643      7/11/2019 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35687              Court Processing Verification.pdf                    214213      10/9/2024 19:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35687              Disclosure up07222019.pdf                            717959      7/21/2019 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35687              FASANO REPORT FROM DATA TAPE - 35687.pdf             522886      6/19/2019 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35687              FASANO REPORT FROM DATA TAPE.pdf                     522886      6/19/2019 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35687              Santiago.Lydia.Annuity Contract.pdf                   54585       2/7/2012 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35687              Santiago.Lydia.Best Interest Affidavit.pdf           176334       3/8/2012 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35687              Santiago.Lydia.Contract.pdf                          469518       3/8/2012 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35687              Santiago.Lydia.Court Order.pdf                     1573755        3/8/2012 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35687              Santiago.Lydia.Credit.pdf                            663572      10/9/2024 21:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35687              Santiago.Lydia.HIPAA.pdf                             298733       3/8/2012 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35687              Santiago.Lydia.ISC-MUR.pdf                            44325       2/7/2012 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35687              Santiago.Lydia.LCQ.pdf                               259135       3/8/2012 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35687              Santiago.Lydia.POR.pdf                                77528       3/8/2012 13:08



                                                                1478
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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35687              Santiago.Lydia.Release and Settlement.pdf        376600      10/9/2024 20:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35687              Santiago.Lydia.STIP.pdf                          564068      2/28/2012 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35687              Santiago.Lydia.UCC.pdf                           761006      10/9/2024 21:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35687              SS Card.pdf                                      128458      10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35688              35688 Drain, Josephine.tv5                        10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35688              Application up07222019.pdf                       323179      7/20/2019 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35688              Disclosure up07222019.pdf                        849094      7/20/2019 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35688              Drain.Josephine.Annuity Contract.pdf              15196      5/25/2011 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35688              Drain.Josephine.Best Interest Affidavit.pdf      180005      5/25/2011 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35688              Drain.Josephine.Contract.pdf                     482241      5/25/2011 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35688              Drain.Josephine.Court Order.pdf                  466201      5/25/2011 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35688              Drain.Josephine.Credit.pdf                       694458      11/8/2011 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35688              Drain.Josephine.HIPAA.pdf                        306688      5/25/2011 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35688              Drain.Josephine.ISC-MUR.pdf                       70183      5/25/2011 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35688              Drain.Josephine.LCQ.pdf                          227672      5/25/2011 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35688              Drain.Josephine.POR.pdf                          146164      11/8/2011 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35688              Drain.Josephine.Stip.pdf                         506987      5/25/2011 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35688              Drain.Josephine.UCC.pdf                          577422      11/8/2011 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35688              FASANO FROM DATA TAPE.pdf                         88933      6/20/2019 21:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35688              Redirection Confirmation 35688.pdf                52485       6/9/2020 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35688              SSC up07222019.pdf                               254319      7/20/2019 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35688              USAA Redirection letter and docs 35688.pdf       113998       4/1/2020 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35898              35898 Additional Docs - Combined.pdf             261110       6/21/2019 5:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35898              35898 Williams, Carolyn.tv5                       10022      10/9/2024 17:31




                                                             1479
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                                       3467



               All Paths/Locations                                  Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35898              Court Processing Verification.pdf                   629750      10/9/2024 21:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35898              Drivers License.pdf                                  97169      10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35898              FASANO REPORT FROM DATA TAPE - 35898.pdf            399895      6/18/2019 19:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35898              FASANO REPORT FROM DATA TAPE.pdf                    399895      6/18/2019 19:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35898              Redirection confirmation 35898.pdf                  197332      5/11/2020 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35898              Redirection Confirmation New 35898.pdf              207475       5/9/2023 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35898              SSN.pdf                                             172644      10/9/2024 19:31
Saiph consulting|\Audit Materials Received-   Transamerica Contingent Redirection Letter and
SuttonPark\Closing Binders\35898              doc 35898.pdf                                       347227      4/29/2020 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35898              Williams.Carolyn.Annuity Contract.pdf               395916      4/12/2011 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35898              Williams.Carolyn.Best Interest Affidavit.pdf        191397      4/12/2011 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35898              Williams.Carolyn.Court Order.pdf                    220829      4/12/2011 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\35898              Williams.Carolyn.Credit.pdf                       1537311      11/11/2011 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49048              49048 Knox, Kayla.tv5                                10240      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49048              Annuity Contract.pdf                                647041      3/25/2020 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49048              Benefits Letter.pdf                                  44430      3/25/2020 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49048              Court Order.pdf                                   1569815       3/25/2020 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49048              Credit Report.pdf                                    51558      3/25/2020 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49048              Disclosure - AZ.pdf                                 900078      3/25/2020 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49048              Disclosure - CT.pdf                                 910560      3/25/2020 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49048              Drivers License.pdf                                 279151      3/25/2020 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49048              Fasano.pdf                                           81283      3/25/2020 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49048              NASP.pdf                                            278692      3/25/2020 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49048              Purchase Agreement.pdf                            3537365       3/25/2020 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49048              Qualified Assignement.pdf                           255788      3/25/2020 16:29




                                                             1480
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                                       3467



               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49048              Searches.pdf                               163731       3/25/2020 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\49048              Settlement Agreement.pdf                 2044874        3/25/2020 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52879              52879 Acosta, Elvira.tv5                      9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52879              58013087.pdf                             3487098        6/15/2020 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52879              Acknowledgement.pdf                        122442       7/10/2020 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52879              Acknowledgment to FB.pdf                   137684      10/10/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52879              Amended Order - FB.pdf                   3229903         9/8/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52879              Court Order.pdf                            169780       7/10/2020 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52879              Disclosure.pdf                              94059       7/10/2020 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52879              Filed Petition to Family Benefit.pdf     1360078         7/26/2022 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52879              Purchase Agreement.pdf                     736603       7/10/2020 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52879              Searches.pdf                               760517       7/10/2020 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52879              Seller Affidavit.pdf                        59971       7/10/2020 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52879              Seller Identification.pdf                  631123       7/10/2020 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52879              Win Letter.pdf                              40898       7/10/2020 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              52888 Oliver, Miosha.tv5                    10123       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              58016536.pdf                            15596545        6/15/2020 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              Acknowledgement to Texas Republic.pdf      137381       8/18/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              Acknowledgement.pdf                        122733       7/13/2020 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              Amended Acknowledgment to TR.pdf           136103      10/10/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              Amended Order - TR.pdf                   2699047         9/8/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              Assignment to Texas Republic.pdf            45420        8/1/2022 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              Assignment.pdf                           1571998        7/13/2020 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              Certified Order to Texas Republic.pdf    2594184         7/26/2022 9:40




                                                               1481
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                                       3467



               All Paths/Locations                                   Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              Court Order.pdf                           661182       7/13/2020 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              Credit Report.pdf                         501984       7/13/2020 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              Death Certificate.pdf                     494415       7/13/2020 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              Declaration of Matt Eason.pdf              54246        7/26/2022 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              Declaration.pdf                           580158       7/13/2020 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              Disclosure - NV.pdf                        74207       7/13/2020 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              Divorce Decree from Jason Young.pdf     1137672        7/13/2020 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              Divorce Decree from Rickie Lamb.pdf     1868168        7/13/2020 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              Drivers License.pdf                       430690       7/13/2020 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              Pleadings.pdf                             634965       7/13/2020 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              Purchase Agreement.pdf                  1164476        7/13/2020 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              Searches.pdf                            2307853        7/13/2020 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              Seller Affidavit.pdf                      104894       7/13/2020 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              Social Security Card.pdf                   41772       7/13/2020 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              UCC Financing Statement.pdf               344325       7/13/2020 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              W9.pdf                                    145450       7/13/2020 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52888              Win Letter.pdf                            124313       7/13/2020 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52889              52889 Nash, Jacque.tv5                       9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52889              58016593.pdf                           28018398        6/15/2020 18:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52889              Acknowledgement.pdf                       118731       7/13/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52889              Acknowledgment to FB.pdf                  137684      10/10/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52889              Amended Order - FB.pdf                  3229903         9/8/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52889              Assignment.pdf                          1576307        7/13/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52889              Court Order.pdf                           449021       7/13/2020 17:20




                                                               1482
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1484 of
                                       3467



               All Paths/Locations                                Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52889              Credit Report.pdf                               488741       7/13/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52889              Declaration.pdf                                 342245       7/13/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52889              Divoce Docs.pdf                               1056726        7/13/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52889              Drivers License.pdf                             195245       7/13/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52889              Filed Petition to Family Benefit.pdf          1360078         7/26/2022 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52889              Purchase Agreement.pdf                        1122128        7/13/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52889              UCC Financing Agreement.pdf                   1724991        7/13/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52889              W9.pdf                                          142002       7/13/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52889              Win Letter.pdf                                  145568       7/13/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52890              52890 Galloway, James.tv5                          9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52890              58016650.pdf                                 26395728        6/15/2020 18:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52890              Acknowledgment to Texas Republic.pdf            197190       4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52890              Acknowledgment.pdf                              191238       10/9/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52890              Assignment Agreement to Texas Republic.pdf       45108       4/29/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52890              Court Order.pdf                                 752979       7/15/2020 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52890              Disclosure.pdf                                  171168       7/15/2020 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52890              Filed Amended Petition.pdf                    5613329        3/21/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52890              ID.pdf                                           32356       7/15/2020 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52890              NOH.pdf                                         212723       3/21/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52890              Order to Texas Republic.pdf                     218985       4/26/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52890              Purchase Agreement.pdf                        4910482        7/15/2020 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52890              Win Letter.pdf                                   58516       10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52891              52891 Coleman, Claude.tv5                          9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52891              58017351.pdf                                 22653972        6/15/2020 18:54




                                                               1483
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1485 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52891              Acknowledgment to FB.pdf                  137684      10/10/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52891              Acknowledgment.pdf                        398666       7/13/2020 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52891              Assignment.pdf                          2267200        7/13/2020 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52891              Court Order.pdf                         2233428        7/13/2020 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52891              Credit Report.pdf                         809054       7/13/2020 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52891              Disclosure - CA.pdf                        76304       7/13/2020 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52891              Drivers License.pdf                        87565       7/13/2020 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52891              Pleadings.pdf                           1166967        7/13/2020 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52891              Purchase Agreement.pdf                  1361637        7/13/2020 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52891              Searches.pdf                            4109662        7/13/2020 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52891              Seller Affidavit.pdf                      114922       7/13/2020 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52891              Win Letter.pdf                            173041       7/13/2020 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52893              52893 Blades, Brian.tv5                      9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52893              58017385.pdf                           13616893        6/15/2020 18:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52893              Acknowledgement.pdf                       519834       7/13/2020 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52893              Acknowledgment to FB.pdf                  137684      10/10/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52893              Amended Order - FB.pdf                  3229903         9/8/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52893              Benefits Letter.pdf                       376040       7/13/2020 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52893              Court Order.pdf                           754233       7/13/2020 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52893              Credit Report.pdf                         439410       7/13/2020 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52893              Petiton.pdf                               525034       7/13/2020 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52893              Purchase Agreement.pdf                  3683380        7/13/2020 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52893              Searches.pdf                            1822308        7/13/2020 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52893              Seller Identification.pdf                 501795       7/13/2020 17:41




                                                               1484
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1486 of
                                       3467



               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52893              Win Letter.pdf                          33700682         7/17/2020 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52894              52894 Jones, Alphonso.tv5                     9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52894              58017419.pdf                            19622506        6/15/2020 18:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52894              Acknowledgement to Texas Republic.pdf       47767        6/1/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52894              Acknowledgement.pdf                         77122       7/14/2020 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52894              Assignment Agreement to Texas Rep.pdf      101074        6/3/2022 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52894              Benefits Letter.pdf                         83900       7/14/2020 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52894              Certificate of Death .pdf                  813291       7/14/2020 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52894              Court Order.pdf                            841997       7/14/2020 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52894              Credit Report.pdf                          509204       7/14/2020 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52894              Disclosure.pdf                             157464       7/14/2020 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52894              Divorce Decree.pdf                         244085       7/14/2020 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52894              Filed Petition to Texas Republic.pdf       745108       4/21/2022 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52894              Order to Texas Republic.pdf                213839        6/1/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52894              Petition.pdf                               387722       7/14/2020 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52894              Purchase Agreement.pdf                   5578681        7/14/2020 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52894              Searches .pdf                            1860164        7/14/2020 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52894              Seller Affidavit.pdf                       246677       7/14/2020 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52894              Seller Identification.pdf                  341230       7/14/2020 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52894              Trust Agreement.pdf                      1607658        7/14/2020 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52897              52897 Coyac,Hugo.tv5                          9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52897              58017575.pdf                            29845701        6/15/2020 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52897              Assignment.pdf                             923680       7/14/2020 23:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52897              Certfied Order Coyac20141124.pdf         1882102        6/27/2023 20:45




                                                               1485
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                                       3467



               All Paths/Locations                                   Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52897              Declaration.pdf                           322691       7/14/2020 23:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52897              Offsets letter.pdf                      1813841        7/14/2020 23:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52897              Pleadings.pdf                           3799154        7/14/2020 23:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52897              Prior Deal .pdf                         4161161        7/14/2020 23:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52897              Purchase Agreement.pdf                  2329841        7/14/2020 23:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52897              Searches.pdf                            5297620        7/14/2020 23:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52897              Seller Affidavit.pdf                    1109494        7/14/2020 23:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52897              Seller Identification.pdf                 766544       7/14/2020 23:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52897              Win Letter.pdf                            199769       7/14/2020 23:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52898              52898 Farwell, Stephen.tv5                   9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52898              58017724.pdf                           10936221        6/15/2020 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52898              Acknowledgement.pdf                       273875       7/15/2020 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52898              Acknowledgment to FB.pdf                  137684      10/10/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52898              Amended Court Order.pdf                   503552       7/15/2020 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52898              Amended Order - FB.pdf                  3229903         9/8/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52898              Assignment.pdf                          2436731        7/15/2020 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52898              Benefits Letter.pdf                       422731       7/15/2020 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52898              Court Order.pdf                           497090       7/15/2020 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52898              Credit Report .pdf                        640466       7/15/2020 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52898              Declaration of Elyssia Jenna .pdf         373722       7/15/2020 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52898              Petition.pdf                              429681       7/15/2020 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52898              Purchase Agreement Farwell.pdf          2309428        10/9/2024 22:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52898              Searches .pdf                             899428       7/15/2020 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52898              Seller Affidavit.pdf                      311378       7/15/2020 18:00




                                                                1486
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                                       3467



               All Paths/Locations                                   Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52898              Seller Identification.pdf                    777809       7/15/2020 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52898              W-9.pdf                                      182442       7/15/2020 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52904              52904 Johnson, Miosha.tv5                       9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52904              58019092.pdf                              34163334        6/15/2020 19:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52904              Acknowledgement.pdf                          139779       7/15/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52904              Court Order.pdf                              924041       7/15/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52904              Court Pleadings.pdf                        7269183        7/15/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52904              Credit Report.pdf                          1433366        7/15/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52904              Disclosure - CA.pdf                          140928       7/15/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52904              Divorce.pdf                                4357852        7/15/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52904              Drivers License.pdf                          755622       7/15/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52904              Lexis Nexis Search.pdf                     1441601        7/15/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52904              Lottery Assignment.pdf                     2605379        7/15/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52904              Lottery Purchase Agreement.pdf             1965314        7/15/2020 17:20
Saiph consulting|\Audit Materials Received-   Miosha Oliver Lexis Neixs People Search
SuttonPark\Closing Binders\52904              07152020.pdf                                 148885       7/15/2020 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52904              Prior Court Orders.pdf                     1501675        7/15/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52904              Proof of Residency.pdf                     5292101        7/15/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52904              Seller Affidavit.pdf                         303549       7/15/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52904              SSN.pdf                                       49862       7/15/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52904              State Credit Rating.pdf                      224947       7/15/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52904              UCC Financing Statement.pdf                4379575        7/15/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52904              W9.pdf                                       130692       7/15/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52904              Win Letter.pdf                               266826       7/15/2020 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52908              52902 signed co.pdf                          139877       10/9/2024 18:51




                                                               1487
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                                       3467



               All Paths/Locations                                Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52908              52908 Lawhead, Daniel.tv5                   9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52908              58020405.pdf                          18923105        6/16/2020 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52908              Amended Order - FB.pdf                 3229903         9/8/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52908              Assignment Stone Street to Bofi.pdf    2606619        7/16/2020 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52908              Benefits Letter.pdf                      314152       7/16/2020 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52908              Court order-unsigned.pdf                 431845       10/9/2024 20:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52908              Credit Report.pdf                      2029426        7/16/2020 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52908              Disclosure.pdf                            76238       7/16/2020 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52908              Purchase Agreement.pdf                 1075659        7/16/2020 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52908              Searches.pdf                           1625498        7/16/2020 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52908              Seller Identification.pdf                783661       7/16/2020 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52908              SSN verification.pdf                     120262       7/16/2020 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52908              UCC.pdf                                1454779        7/16/2020 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52908              W-9.pdf                                  124955       7/16/2020 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52912              52912 Osborn, Jack.tv5                      9799      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52912              58021205.pdf                          16845407        6/16/2020 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52912              Assignment.pdf                         1743020        7/17/2020 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52912              Court Order.pdf                          989895       7/17/2020 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52912              Credit Report.pdf                        906993       7/17/2020 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52912              Disclosure.pdf                            80147       7/17/2020 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52912              Lien.pdf                                  64433       7/17/2020 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52912              Pleadings.pdf                            616713       7/17/2020 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52912              Purchase Agreement.pdf                 1503298        7/17/2020 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52912              Searches.pdf                             584299       7/17/2020 13:46




                                                               1488
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                                       3467



               All Paths/Locations                                   Unified Title         File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52912              Seller Affidavit.pdf                            532401       7/17/2020 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52912              Seller Identification.pdf                       306684       7/17/2020 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52912              UCC Financing Statement.pdf                   4002446        7/17/2020 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52912              W9.pdf                                          123378       7/17/2020 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52912              Win Letter.pdf                                1222501        7/17/2020 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52913              52913 Brown, Donald.tv5                            9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52913              58021379.pdf                                 15675007        6/16/2020 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52913              Acknowledgment to Texas Republic.pdf            195866       4/26/2022 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52913              Assignment Agreement to Texas Republic.pdf       45025       4/29/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52913              Assignment.pdf                                1600220         7/16/2020 0:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52913              Court Order.pdf                                 543505        7/16/2020 0:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52913              Disclosure.pdf                                  109218        7/16/2020 0:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52913              Filed Amended Petition.pdf                      868749       3/21/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52913              GA Acknowledgement.pdf                          283537        7/16/2020 0:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52913              NOH.pdf                                         212822       3/21/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52913              Petition to Texas Republic.pdf                  868765       4/26/2022 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52913              Pleadings.pdf                                 2993057         7/16/2020 0:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52913              Purchase Agreement.pdf                        1943553         7/16/2020 0:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52913              Searches.pdf                                  6769974         7/16/2020 0:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52913              Seller Identification.pdf                     1738212         7/16/2020 0:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52913              W9.pdf                                          160996        7/16/2020 0:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52913              Win Letter.pdf                                  822882        7/16/2020 0:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52925              52925 Bajtarevic, Anel.tv5                         9799      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52925              58022427.pdf                                 28386265        6/16/2020 12:00




                                                               1489
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1491 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52925              Acknowledgment to Family Benefit.pdf       52562       3/24/2022 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52925              Certificate of Marital Status.pdf         347519       7/15/2020 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52925              Court Order.pdf                           481558       7/15/2020 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52925              Disclosure - IL.pdf                       124808       7/15/2020 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52925              IPA Certificate.pdf                        47837       7/15/2020 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52925              NOH Bajtarevic.pdf                         72437        2/17/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52925              Order to Family Benefit.pdf               276959       3/24/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52925              Petition.pdf                            3414650        2/15/2022 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52925              Purchase Agreement.pdf                  3358099        7/15/2020 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52925              Request For Acknowledgement.pdf           172909       7/15/2020 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52925              Searches.pdf                            7388224        7/15/2020 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52925              Seller Identification.pdf               1524671        7/15/2020 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52925              UCC Financing Statement.pdf               304006       7/15/2020 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52925              Win Letter.pdf                          2211548        7/15/2020 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52933              52933 Breitbarth, Mary.tv5                   9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52933              52933 Court order.pdf                     126491       10/11/2017 4:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52933              58026352.pdf                           16159446        6/16/2020 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52933              Assignment.pdf                          1414790        7/13/2020 19:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52933              Divorce.pdf                             2925014        7/13/2020 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52933              Drivers License.pdf                       874249       7/13/2020 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52933              Petition.pdf                              479787       7/13/2020 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52933              Purchase Agreement-.pdf                   743232       7/13/2020 19:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52933              Searches.pdf                            5125440        7/13/2020 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52933              Seller Affidavit.pdf                      287409       7/13/2020 18:49




                                                               1490
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1492 of
                                       3467



               All Paths/Locations                                 Unified Title             File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52933              W-2G.pdf                                           65987       7/13/2020 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52933              W-9.pdf                                           181231       7/13/2020 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\52933              Win Letter.pdf                                    184795       7/13/2020 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              0B2B.pdf                                          181742       5/27/2020 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              329C.pdf                                          181659       5/27/2020 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              54533 Reinhardt.tv5                                10569       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              A4AC.pdf                                          186841       5/27/2020 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              Annuity Contract.pdf                            3107930        5/22/2020 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              Application.pdf                                 6819978         4/6/2020 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              Bankruptcy backup.pdf                                2649      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              Benefits Letter.pdf                               631128       5/22/2020 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              Closing statement-Revised 2.pdf                   107179        6/9/2020 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              Court Order - Amended.pdf                       6567389          6/9/2020 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              Credit Report with correct address.pdf             81651       5/27/2020 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              Credit Report.pdf                                  81014        4/7/2020 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              Disclosure NY.pdf                                 286975       5/22/2020 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              Disclosure Statement.pdf                          339533       5/22/2020 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              Driver License.pdf                              3706085        5/29/2020 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              Judgment backup.pdf                                  3050      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              NOH.pdf                                            80213       4/17/2020 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              Pleadings.pdf                                   4427480        4/17/2020 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              POS.pdf                                         1889795        5/29/2020 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              Purchase Agreement.pdf                          1025915        5/22/2020 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              Redirection Reconfiguration up07-11-2022.pdf    2180777         7/8/2022 10:47




                                                               1491
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1493 of
                                       3467



               All Paths/Locations                              Unified Title                      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              Redirection Assignee List NYLIC.pdf                     222753        7/7/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              COA Policy FP200974.pdf                                  52947        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              COA Policy 74758034.pdf                                  52951        4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              COA Policy 77422032.pdf                                  52926        4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              COA Policy FP200974 (2).pdf                              52949        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              COA Policy FP200974.pdf                                  52991        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              COA Policy FP201158.pdf                                  52930        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              COA Policy FP205723.pdf                                  52948        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              COA Policy FP206266.pdf                                  52989        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              COA Policy FP206275.pdf                                  52951        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              COA Policy FP207071.pdf                                  52987        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              COA Policy FP207808.pdf                                  52960        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              COA Policy FP210013.pdf                                  52983        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              COA Policy FP210674.pdf                                  52959        4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              COA Policy FP216554.pdf                                  52928        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              COA Policy FP220022.pdf                                  53010        4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              COA Policy FP220028.pdf                                  52980        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              COA Policy FP220219.pdf                                  52981        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              COA Policy FP220714.pdf                                  52980        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              COA Policy FP244114.pdf                                  52993        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              Security TItle Corporate Resolution 11.2021 si.pdf      937256        4/1/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              SAR.pdf                                               7766983        5/29/2020 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              Searches.pdf                                               7919      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              Stipulation - amend.pdf                               1546706         6/16/2020 9:35




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               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\54533              UCC.pdf                                   65273       10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56542              548930_4_FinalPackage.pdf             14973036        5/22/2019 17:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56542              image007.png                              35421
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56542              56542 Lemon, Willie.tv5                     9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56542              Annuity Contract.pdf                     395374       6/29/2020 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56542              Application.pdf                          198361       6/29/2020 11:24
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\56542              Information.pdf                          278738       6/29/2020 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56542              Bankruptcy Search.pdf                    376147       6/29/2020 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56542              Certificate of Completion.pdf            348378       6/29/2020 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56542              Confirmation JGW up04-01-2021.pdf      1073660         4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56542              Court Order.pdf                        2668028        6/29/2020 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56542              Credit Report.pdf                         71547       6/29/2020 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56542              Disclosure - MO.pdf                      230172       6/29/2020 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56542              Disclosure - TX.pdf                      230324       6/29/2020 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56542              Fasano Auto-Sliced.pdf                   134518       6/17/2020 18:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56542              List of Dependents.pdf                   160218       6/29/2020 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56542              Medical Addendum.pdf                     185619       6/29/2020 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56542              NASP.pdf                                 136486       6/29/2020 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56542              Notice of Hearing.pdf                     81577       6/29/2020 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56542              PeopleMap Report.pdf                     545187       6/29/2020 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56542              Purchase Agreement.pdf                   719158       6/29/2020 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56542              Questionnaire.pdf                        245892       6/29/2020 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56542              Seller Identification.pdf              2378967        6/29/2020 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56542              SSN.pdf                                   83343       6/29/2020 11:24




                                                              1493
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                                       3467



               All Paths/Locations                                  Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56542              Statement of Professional Representation.pdf      188258       6/29/2020 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56542              Stipulation.pdf                                 5910453        6/29/2020 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56580              56580 Gosnell, Darrell.tv5                           9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56580              820182-2-N.pdf                                  8375885        6/13/2019 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56580              Application.pdf                                   150275       6/26/2020 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56580              Confirmation JGW up04-01-2021.pdf               1073660         4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56580              Court Order.pdf                                   453982       6/26/2020 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56580              Disclosure - KY.pdf                               156807       6/26/2020 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56580              Exception Docs up2021-02-17.pdf                   396402       1/19/2021 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56580              Fasano Auto-Sliced.pdf                            227494       6/17/2020 18:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56580              Fasano.pdf                                        407844       6/26/2020 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56580              IPA.pdf                                           182241       6/26/2020 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56580              List of Dependents.pdf                            162925       6/26/2020 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56580              Searches.pdf                                    1503267        6/26/2020 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56580              Seller Identification.pdf                       2080975        6/26/2020 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56580              Settlement Agreement up2021-02-17.pdf              95610       9/18/2018 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56580              Settlement Agreement.pdf                          709344       6/26/2020 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56629              56629 Renish, Michael.tv5                            9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56629              86034_1_FinalPackage.pdf                       15809402         7/5/2019 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56629              Application.pdf                                   368494       7/30/2020 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56629              Confirmation JGW up04-01-2021.pdf               1073660         4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56629              Disclosure.pdf                                  1493483        7/30/2020 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56629              Fasano Auto-Sliced.pdf                            445423       6/17/2020 19:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56629              Fasano Report.pdf                                 445423       7/30/2020 14:24




                                                                1494
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                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56629              Purchase Agreement.pdf                  7471781       7/30/2020 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56629              Verification of Benefits.pdf              413301      7/30/2020 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              558798_2_FinalPackage.pdf              12551661       8/16/2019 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              56641 Ferrell, Betty.tv5                   10185      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              Annuity Contract.pdf                      400333      7/31/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              Application.pdf                           320150      7/31/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              Assignment Novation to Peachtree.pdf      169508       8/7/2020 10:48
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\56641              Information.pdf                         2091467       7/31/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              Bankruptcy Search.pdf                     238750      7/31/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              Benefits Letter.pdf                        94434      7/31/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              Confirmation JGW up04-01-2021.pdf       1073660        4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              Court Order.pdf                           170660      7/31/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              Credit Report.pdf                         236981      7/31/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              Disclosure.pdf                            870188      7/31/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              Divorce.pdf                               910453      7/31/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              Exception Docs up2021-02-17.pdf           247314       1/19/2021 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              Fasano Report.pdf                         250103      7/31/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              Final Order Confirmation.pdf              175312      7/31/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              List of Dependents.pdf                    211055      7/31/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              NASP.pdf                                  131591      7/31/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              PeopleMap Report.pdf                      155166      7/31/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              Purchase Agreement.pdf                    656245      7/31/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              Questionnaire.pdf                         491852      7/31/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              Seller Affidavit.pdf                      487210      7/31/2020 16:06




                                                               1495
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                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              Seller Identification.pdf                 496498      7/31/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              Settlement Agreement.pdf                  262042      7/31/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              SSN.pdf                                   380606       7/9/2024 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              Submission Package.pdf                    340619      7/31/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              UCC Filings.pdf                           472091      7/31/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56641              W-9.pdf                                   124229      7/31/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56642              546670_4_FinalPackage.pdf               3625464        8/2/2019 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56642              56642 Brown, Marvina.tv5                   10188      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56642              Annuity Contract.pdf                       90578       6/30/2020 7:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56642              Application.pdf                           212596       6/30/2020 7:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56642              Bankruptcy Search.pdf                     231576       6/30/2020 7:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56642              Confirmation JGW up04-01-2021.pdf       1073660        4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56642              Court Order.pdf                           332619       6/30/2020 7:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56642              Credit Report.pdf                          73287       6/30/2020 7:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56642              Docusign Certificate.pdf                   85205       6/30/2020 7:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56642              Exception Docs up2021-02-17.pdf            74211       1/15/2021 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56642              Fasano Auto-Sliced.pdf                    138904      6/17/2020 19:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56642              Fasano Report.pdf                         138904       6/30/2020 7:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56642              Judgment of Divorce.pdf                   285605       6/30/2020 7:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56642              Nasp Clearance.pdf                        155377       6/30/2020 7:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56642              Purchase Agreement.pdf                    491449       6/30/2020 7:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56642              Request For Acknowledgement.pdf           109660       6/30/2020 7:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56642              Searches.pdf                              198145       6/30/2020 7:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56642              Seller Affidavit.pdf                       95112       6/30/2020 7:16




                                                                1496
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                                       3467



               All Paths/Locations                                Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56642              Seller Identification.pdf                  247114        6/30/2020 7:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56642              Settlement Agreement and Release.pdf       392009        6/30/2020 7:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56642              Social Security Card.pdf                    53317        6/30/2020 7:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56642              UCC Search.pdf                             382618        6/30/2020 7:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56727              56727 Grathwohl, Carla.tv5                    9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56727              86922_1_FinalPacket.pdf                  2199371        8/27/2019 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56727              Application.pdf                            131776       7/27/2020 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56727              Benefits Letter.pdf                        106178       7/27/2020 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56727              Change of Beneficiary.pdf                   87070       7/27/2020 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56727              Confirmation JGW up04-01-2021.pdf        1073660         4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56727              Disclosure.pdf                             164952       7/27/2020 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56727              Fasano Auto-Sliced.pdf                     272246       6/17/2020 19:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56727              Fasano.pdf                                 272246       7/27/2020 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56727              Life Contingent Medical Addendum .pdf      104187       7/27/2020 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56727              owner payee change.pdf                      26517       10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56727              Purchase Agreement.pdf                     359390       7/27/2020 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56727              Questionnaire.pdf                          177352       7/27/2020 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56727              Searches.pdf                               606914       7/27/2020 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56727              Seller Identification.pdf                   85655       7/27/2020 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56727              UCC Financing Statement.pdf                316043       7/27/2020 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56727              W9.pdf                                     104733       7/27/2020 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56758              429897_5_FinalPackage.pdf                6907509         9/4/2019 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56758              56758 Graham, Noelani.tv5                   10240       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56758              Application.pdf                            318546         7/9/2020 8:49




                                                               1497
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1499 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56758              Confirmation JGW up04-01-2021.pdf      1073660         4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56758              Court Order.pdf                          324188         7/9/2020 8:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56758              Disclosure - HI.pdf                      155966         7/9/2020 8:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56758              Drivers License.pdf                      759081         7/9/2020 8:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56758              Exception Docs up2021-02-17.pdf           41984       1/15/2021 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56758              Fasano Report.pdf                        228529         7/9/2020 8:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56758              Purchase Agreement.pdf                 1128342          7/9/2020 8:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56758              Request For Acknowledgement.pdf          116380         7/9/2020 8:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56758              Social Security.pdf                      597000         7/9/2020 8:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56758              Verification of Benefits.pdf             862233         7/9/2020 8:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56770              1659192_1_FinalPackage.pdf             8923972         9/9/2019 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56770              56770 Bomar, Elizabeth.tv5                  9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56770              Amended Disclosure - CT.pdf               81300       7/21/2020 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56770              Amended Disclosure - MA.pdf               81201       7/21/2020 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56770              Amended Disclosure - MI.pdf               81253       7/21/2020 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56770              Amended Disclosure - OH.pdf               81341       7/21/2020 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56770              Annuity Contract.pdf                   1245551        7/21/2020 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56770              Application.pdf                          319594       7/21/2020 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56770              Confirmation JGW up04-01-2021.pdf      1073660         4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56770              Court Order.pdf                          622033       7/21/2020 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56770              Drivers License.pdf                      213202       7/21/2020 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56770              Exception Docs up2021-02-17.pdf           75964       1/15/2021 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56770              Fasano Report.pdf                        211590       7/21/2020 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56770              Notice of Hearing.pdf                    124311       7/21/2020 18:25




                                                             1498
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                                       3467



               All Paths/Locations                                  Unified Title               File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56770              Proof of Service.pdf                                 432857       7/21/2020 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56770              Purchase Agreement.pdf                               384495       7/21/2020 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56770              Searches.pdf                                         625144       7/21/2020 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56770              Settlement Agreement.pdf                             978178       7/21/2020 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56770              SSN.pdf                                              254221       7/21/2020 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56770              W-9.pdf                                              724791       7/21/2020 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56813              56813 Osborne, Marcia.tv5                               9996      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56813              63001_16_FinalPackage.pdf                         12535173        9/30/2019 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56813              Annuity Contract.pdf                                 153709        7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56813              Application.pdf                                      128428        7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56813              Confirmation JGW up04-01-2021.pdf                  1073660         4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56813              Court Order.pdf                                    5138257         7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56813              Disclosure - TX.pdf                                   91018        7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56813              Disclosure - VA.pdf                                   91077        7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56813              Drivers License.pdf                                1625588         7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56813              Fasano Auto-Sliced.pdf                               301911       6/17/2020 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56813              Fasano Report.pdf                                    301911        7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56813              IPA Waiver.pdf                                        83600        7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56813              LC Medical Addendum.pdf                              105523        7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56813              Notice of Sale-Assignment of Payment Rights.pdf       95303        7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56813              Purchase Agreement.pdf                             1168426         7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56813              Questionnaire.pdf                                    187691        7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56813              Request For Acknowledgement.pdf                      117935        7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              332841_2_FinalPackage.pdf                         12465004       10/31/2019 17:32




                                                               1499
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                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              56846 Cochran, Gernald.tv5                10185      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              Annuity Contract.pdf                     123468       8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              Application.pdf                          273214       8/3/2020 12:44
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\56846              Information.pdf                        1080097        8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              Bankruptcy Search.pdf                    239605       8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              Certificate of Service.pdf               183431       8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              Comprehensive Report.pdf                 264396       8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              Confirmation JGW up04-01-2021.pdf      1073660        4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              Court Order.pdf                        4730264        8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              Credit Report.pdf                         73784       8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              Customer Transaction Summary.pdf          70454       8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              Disclosure - AL.pdf                      342311       8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              Disclosure - TX.pdf                      432402       8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              Divorce.pdf                              427630       8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              Fasano Auto-Sliced.pdf                   277531      6/17/2020 20:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              Fasano Report.pdf                        277531       8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              List of Dependents.pdf                   117390       8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              Medical Addendum.pdf                     191123       8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              NASP.pdf                                 131054       8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              Notice of Hearing.pdf                    226760       8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              PeopleMap Report.pdf                     216544       8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              PSR 56846.pdf                             56087       9/2/2020 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              Purchase Agreement.pdf                 2517793        8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              Questionnaire.pdf                        496058       8/3/2020 12:44




                                                              1500
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                                       3467



               All Paths/Locations                                  Unified Title               File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              Seller Identification.pdf                             90278        8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              SS Administration.pdf                                 87662        8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              SSN.pdf                                               90278        8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              Statement of Professional Representation.pdf         152072        8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              Stipulation.pdf                                      528561        8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              Submission Package.pdf                               250914        8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56846              UCC Filings.pdf                                      464546        8/3/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56891              551388_6_FinalPackage.pdf                         27411725       10/24/2019 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56891              56891 Deadwyler, Dwight.tv5                             9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56891              Annuity Contract.pdf                                 323986       6/26/2020 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56891              Application.pdf                                      203029       6/26/2020 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56891              Confirmation JGW up04-01-2021.pdf                  1073660         4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56891              Consumer Disclosure.pdf                              301809       6/26/2020 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56891              Court Order.pdf                                    7424673        6/26/2020 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56891              Disclosure - GA.pdf                                  236050       6/26/2020 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56891              Disclosure - IL.pdf                                  236404       6/26/2020 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56891              Fasano Report.pdf                                    138920       6/26/2020 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56891              IPA.pdf                                              179275       6/26/2020 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56891              Notice of Sale-Assignment of Payment Rights.pdf       87307       6/26/2020 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56891              Purchase Agreement.pdf                               417254       6/26/2020 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56891              Questionnaire.pdf                                    236779       6/26/2020 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56891              Request For Acknowledgement.pdf                      119838       6/26/2020 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56891              Seller Identification.pdf                            303989       6/26/2020 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56891              Settlement Agreement.pdf                             325972       6/26/2020 12:46




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                                       3467



               All Paths/Locations                                Unified Title           File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56891              Stipulation.pdf                             14803776        6/26/2020 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56905              550556_5_FinalPackage.pdf                   10620251       11/19/2019 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56905              56905 Mayo, Michele.tv5                         11235       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56905              Annuity Contract.pdf                           158501       6/27/2020 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56905              Application.pdf                                188572       6/27/2020 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56905              Confirmation JGW up04-01-2021.pdf            1073660         4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56905              Court Order.pdf                                332774       6/27/2020 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56905              Disclosure - NY.pdf                            213822       6/27/2020 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56905              Drivers License- Social Security Card.pdf    2414482        6/27/2020 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56905              Purchase Agreement.pdf                         762493       6/27/2020 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56905              Qualified Assignement.pdf                      139163       6/27/2020 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56905              Settlement Agreement.pdf                     2344334        6/27/2020 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56905              Stipulation.pdf                                674705       6/27/2020 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56979              1379399_6_FinalPackage.pdf                  19245671       12/13/2019 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56979              56979 Geter, Tammie.tv5                           9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56979              Application.pdf                                288796       6/29/2020 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56979              Benefits Letter.pdf                             81276       6/29/2020 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56979              Confirmation JGW up04-01-2021.pdf            1073660         4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56979              Court Order.pdf                              3029013        6/29/2020 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56979              Disclosure - CA.pdf                            160014       6/29/2020 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56979              Disclosure - NY.pdf                            158997       6/29/2020 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56979              Divorce.pdf                                    334560       6/29/2020 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56979              Fasano Auto Sliced.pdf                         552453       6/22/2020 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56979              HIPPA.pdf                                      325801       6/29/2020 12:43




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1504 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56979              Notice of Hearing.pdf                    262717       6/29/2020 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56979              Petition.pdf                           1406065        6/29/2020 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56979              Proof of Service.pdf                     244406       6/29/2020 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56979              Purchase Agreement.pdf                 8976505        6/29/2020 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56979              Qualified Assignment.pdf                 540438       6/29/2020 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56979              Questionnaire.pdf                        252425       6/29/2020 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56979              Searches.pdf                             200310       6/29/2020 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56979              Seller Identification.pdf                362126       6/29/2020 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56979              Settlement Agreement.pdf                 311199       6/29/2020 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\56979              Stipulation.pdf                        3097604        10/9/2024 22:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\57159              57159 Allis, Stephen.tv5                  10186       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\57159              628999_3_FinalPackage.pdf             10597553        2/24/2020 19:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\57159              image001.png                                4495
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\57159              Application.pdf                          436369       6/26/2020 13:21
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\57159              Information.pdf                        1456805        6/26/2020 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\57159              Bankruptcy Search.pdf                    396983       6/26/2020 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\57159              Benefits Letter.pdf                      119127       6/26/2020 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\57159              Confirmation JGW up04-01-2021.pdf      1073660         4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\57159              Court Order.pdf                          205260       6/26/2020 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\57159              Credit Report.pdf                         74993       6/26/2020 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\57159              Disclosure - CA.pdf                      318928       6/26/2020 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\57159              Disclosure - IA.pdf                      217098       6/26/2020 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\57159              Divorce.pdf                              189692       6/26/2020 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\57159              Fasano Auto-Sliced.pdf                   288498       6/17/2020 22:05




                                                                1503
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1505 of
                                       3467



               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\57159              List of Dependents .pdf                           126863      6/26/2020 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\57159              Medical Addendum.pdf                              306285      6/26/2020 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\57159              NASP.pdf                                          170331      6/26/2020 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\57159              PeopleMap Search.pdf                              719423      6/26/2020 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\57159              Purchase Agreement.pdf                          1605125       6/26/2020 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\57159              Questionnaire.pdf                                 795691      6/26/2020 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\57159              Seller Identification.pdf                       2614552       6/26/2020 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\57159              Statement of Professional Representation.pdf      182200      6/26/2020 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\57159              Stipulation Allis.pdf                           1169599       6/26/2020 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\57159              Stipulation up2021-02-17.pdf                    1109390       1/18/2021 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\57159              U.S. Bankruptcy Court.pdf                         149151      6/26/2020 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5943               5943 Butler, Scott.tv5                             10141      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5943               Authorization to Release Info.pdf                  69724     10/20/2014 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5943               Butler (2), Scott.pdf                             173043      2/11/2015 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5943               Change of Bene.pdf                                 86962     10/20/2014 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5943               Court Order.pdf                                 1293007      10/16/2014 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5943               Credit Report.pdf                               2744310       8/22/2014 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5943               Disclosure OK.pdf                                  85556      8/25/2014 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5943               Distribution of Payments US Trust.pdf              97229      4/21/2014 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5943               IPA Wavier.pdf                                     19210      8/25/2014 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5943               NASP K Back.pdf                                   257570      8/22/2014 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5943               NASP Resolution.pdf                                76642       8/26/2014 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5943               Pleadings.pdf                                   6892843       9/15/2014 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5943               Proof of Identification.pdf                        30448      4/21/2014 11:28




                                                               1504
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1506 of
                                       3467



               All Paths/Locations                                Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5943               Release & Settlement Agreement.pdf    2150870        4/21/2014 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5943               Searches.pdf                            164829      10/13/2014 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5943               Terms Rider.pdf                          21193       8/25/2014 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5943               Transfer Agreement.pdf                  321146       8/25/2014 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5981               5981 Fraga, David.tv5                      9982      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5981               Affidavit.pdf                           161173        9/29/2014 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5981               Annuity Contract.pdf                    407131       1/23/2017 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5981               Auth to Release.pdf                      85274       11/7/2014 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5981               Change of Bene.pdf                      113077       11/7/2014 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5981               Credit Report 11.12.2014.pdf             76664      11/12/2014 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5981               Disclosure - IL & TX.pdf                 81031       8/25/2014 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5981               Disclosure - NV.pdf                      57154       8/25/2014 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5981               Divorce Order.pdf                     2838752         8/1/2014 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5981               Fraga Docket.pdf                        102706        7/7/2021 20:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5981               NASP K Back.pdf                         234703       7/28/2014 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5981               NASP Resolution- JGW.pdf                 72093       7/30/2014 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5981               Proof of Identification - NV.pdf        546731        2/4/2015 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\5981               Searches.pdf                             43084        5/1/2014 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\6038               6038 Butler, Scott.tv5                   10141       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\6038               Auth to Release.pdf                     644800       7/14/2014 19:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\6038               Benefits Letter.pdf                      97229       4/21/2014 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\6038               Butler, Scott.pdf                       172943       2/10/2015 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\6038               Change of Bene.pdf                      766175       7/14/2014 19:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\6038               Confirmation.pdf                        209721       10/9/2024 19:55




                                                              1505
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                                       3467



               All Paths/Locations                                  Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\6038               Court Order.pdf                                    1292097       7/10/2014 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\6038               Credit Report.pdf                                    173106      4/14/2014 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\6038               Dislcosure OK.pdf                                    112178      4/25/2014 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\6038               IPA Waiver.pdf                                        24672      4/21/2014 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\6038               NASP kback.pdf                                       106084       4/18/2014 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\6038               NASP Resolution.pdf                                   74094       7/17/2014 5:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\6038               Pleadings.pdf                                      5910611       5/29/2014 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\6038               Proof of Identification.pdf                           30448      4/21/2014 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\6038               Searches.pdf                                         478584      7/18/2014 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\6038               Terms Rider.pdf                                       27044      4/25/2014 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\6038               Transfer Agreement.pdf                               520597      4/21/2014 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\61274              61274 Osborne, Marcia.tv5                             10193      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\61274              63001_16_FinalPackage.pdf                         12535173       9/30/2019 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\61274              Annuity Contract.pdf                                 153709       7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\61274              Application.pdf                                      128428       7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\61274              Court Order.pdf                                    5138257        7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\61274              Disclosure - TX.pdf                                   91018       7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\61274              Disclosure - VA.pdf                                   91077       7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\61274              Drivers License.pdf                                1625588        7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\61274              Fasano Auto-Sliced.pdf                               301911      6/17/2020 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\61274              Fasano Report.pdf                                    301911       7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\61274              IPA Waiver.pdf                                        83600       7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\61274              LC Medical Addendum.pdf                              105523       7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\61274              Notice of Sale-Assignment of Payment Rights.pdf       95303       7/1/2020 17:34




                                                               1506
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                                       3467



               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\61274              Purchase Agreement.pdf                   1168426        7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\61274              Questionnaire.pdf                          187691       7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\61274              Request For Acknowledgement.pdf            117935       7/1/2020 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62133              62133 Combined Docs.pdf                 20465173      12/14/2020 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62133              62133 Hall, Deneen.tv5                      10239      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62133              Acknowledgement.pdf                         71673      4/14/2021 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62133              Application.pdf                            420723      1/11/2021 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62133              Court Order.pdf                          3301849       1/11/2021 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62133              Credit Report.pdf                          139080      1/11/2021 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62133              Disclosure.pdf                             833602      1/11/2021 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62133              Drivers License.pdf                        619762      1/11/2021 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62133              Fasano Report.pdf                           81047      1/11/2021 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62133              Purchase Agreement.pdf                   2641631       1/11/2021 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62133              Settlement Agreement Order.pdf             403906      1/11/2021 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62133              Social Security Card .pdf                  619762      1/11/2021 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62133              Verification of Benefits.pdf               580002      1/11/2021 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62481              62481 Combined Docs.pdf                  4513809      12/14/2020 19:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62481              62481 Thomas, Ina.tv5                       10117      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62481              Acknowledgement.pdf                        262892     12/29/2020 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62481              Annuity Contract.pdf                       129845     12/27/2020 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62481              Irrevocable Power Of Attorney.pdf           75218     12/29/2020 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62481              Judgement.pdf                              306210       3/1/2024 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62481              Purchase Agreement.pdf                   1446900      12/27/2020 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62481              Request for Change of Beneficiary.pdf       16861     12/27/2020 17:13




                                                               1507
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                                       3467



               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62481              Security Agreement.pdf                   599188      12/29/2020 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62481              Settlement Agreement.pdf                 773743      12/27/2020 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62481              Spousal Consent.pdf                      103116      12/27/2020 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62481              Stipulation.pdf                          267338      12/29/2020 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62481              Testamentary Agreement.pdf               100685      12/29/2020 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62481              UCC Financing Statement.pdf              218835      12/27/2020 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\62481              UCC.pdf                                  218835      12/29/2020 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\63558              63558 Ramey, Daniel.tv5                     9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\63558              Acknowledgment.pdf                       120408       3/25/2021 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\63558              Additional DocuSign Certificate.pdf      192992       10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\63558              Annuity Contract.pdf                      81891       7/28/2017 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\63558              Application.pdf                          109312      12/29/2020 13:42
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\63558              Information.pdf                           99038       1/14/2021 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\63558              Closing Binder.pdf                     4936648       12/29/2020 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\63558              Court Order.pdf                        2224526         1/7/2021 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\63558              Credit Report.pdf                         43493      11/11/2020 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\63558              Disclosure.pdf                           339232      12/29/2020 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\63558              DocuSign Certificates.pdf                121842        1/7/2021 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\63558              Drivers License.pdf                      275392        1/7/2021 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\63558              Fasano.pdf                               101389        1/7/2021 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\63558              PI Case Docket.pdf                        54128       1/14/2021 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\63558              Pleadings.pdf                          2140722       12/29/2020 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\63558              Purchase Agreement.pdf                   611455      12/29/2020 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\63558              Searches.pdf                              25403      12/29/2020 13:41




                                                                1508
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                                       3467



               All Paths/Locations                                 Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\63558              Social Security Card.pdf                 285638       1/7/2021 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\63558              UCC Search.pdf                            56031     12/29/2020 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64043              64043 Brown, Caitlin.tv5                  10439      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64043              Acknowledgment.pdf                        52967     12/16/2020 18:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64043              Amended Court Order.pdf                  170561     11/24/2020 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64043              Application.pdf                        1065667      11/17/2020 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64043              Assignment.pdf                            91610     11/17/2020 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64043              Benefits Letter Brown.pdf                412529      11/19/2020 7:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64043              Benefits Letter.pdf                      262716       9/21/2020 6:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64043              Closing Binder.pdf                     5851491      11/17/2020 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64043              Closing Statement - Notarized.pdf        219240     11/24/2020 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64043              Closing Statement - unexecuted.docx       35152     11/19/2020 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64043              Court Order.pdf                          161261      11/19/2020 7:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64043              Credit Report.pdf                         33922     11/17/2020 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64043              Disclosure MS.pdf                        545765     11/17/2020 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64043              DocuSign Cert F616.pdf                   194954     11/19/2020 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64043              Identification Card.pdf                  636527     11/17/2020 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64043              Pleadings.pdf                          2341461      11/17/2020 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64043              Purchase Agreement.pdf                   792881     11/17/2020 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64043              Searches.pdf                              21576     11/17/2020 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64043              Settlement Docs.pdf                      169437     11/23/2020 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64043              UCC Search.pdf                            61034     11/19/2020 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64177              1766196_1_FinalPackage.pdf            11707597       5/27/2020 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64177              64177 Boyd, Kevin.tv5                     10670      10/9/2024 17:37




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1511 of
                                       3467



               All Paths/Locations                                  Unified Title             File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64177              Application.pdf                                    748278       12/3/2020 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64177              Benefits Letter.pdf                                395455       12/3/2020 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64177              Confirmation JGW up04-01-2021.pdf                1073660         4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64177              Court Order.pdf                                    296739       12/3/2020 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64177              Disclosure - NY.pdf                              1469143        12/3/2020 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64177              Disclosure - TX.pdf                                656935       12/3/2020 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64177              Fasano Report.pdf                                   95707       12/3/2020 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64177              Purchase Agreement.pdf                           1082945        12/3/2020 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64177              Seller Identification.pdf                          629422       12/3/2020 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64177              Settlement Release and Indemity Agreement.pdf      236058       12/3/2020 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64190              507773_3_FinalPackage.pdf                        9127955         6/9/2020 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64190              64190 Benton, Pamela.tv5                              9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64190              Application.pdf                                    300225       12/1/2020 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64190              Benefits Letter.pdf                                263578       12/1/2020 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64190              Confirmation JGW up04-01-2021.pdf                1073660         4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64190              Court Order.pdf                                    514609       12/1/2020 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64190              Disclosure - AZ.pdf                                173742       12/1/2020 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64190              Disclosure - CO.pdf                                173726       12/1/2020 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64190              Disclosure - FL.pdf                                173559       12/1/2020 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64190              Divorce.pdf                                         77941       12/1/2020 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64190              Drivers License.pdf                                257033       12/1/2020 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64190              Fasano Report.pdf                                  146245       12/1/2020 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64190              HIPPA.pdf                                          343252       12/1/2020 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64190              Medical Questionnaire.pdf                          415616       12/1/2020 15:06




                                                              1510
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1512 of
                                       3467



               All Paths/Locations                                  Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64190              Motion to Approve Settlement.pdf                1567622        12/1/2020 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64190              Purchase Agreement.pdf                            606204       12/1/2020 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64190              Qualified Assignement.pdf                         164178       12/1/2020 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64190              Searches.pdf                                    1316475        12/1/2020 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64190              Stipulation.pdf                                 2935415        12/1/2020 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64204              64204 Smith, Robert.tv5                              9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64204              667244_10_FinalPackage.pdf                     11191816        6/10/2020 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64204              Annuity Contract.pdf                              149728        12/2/2020 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64204              Application and Proof of Residency.pdf            548176        12/2/2020 9:44
Saiph consulting|\Audit Materials Received-   Authorization and Direction to Provide Death
SuttonPark\Closing Binders\64204              Certificate.pdf                                   176468        12/2/2020 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64204              Bankruptcy Search.pdf                             222805        12/2/2020 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64204              Confirmation JGW up04-01-2021.pdf               1073660         4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64204              Court Order.pdf                                   219709        12/2/2020 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64204              Credit Report.pdf                                  74486        12/2/2020 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64204              Death Records Search.pdf                          319442        12/2/2020 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64204              Disclosure - CT.pdf                               276575        12/2/2020 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64204              Disclosure - TX.pdf                               273123        12/2/2020 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64204              Divorce Decree.pdf                                192615        12/2/2020 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64204              DocuSign Cert 12DE0.pdf                           112038        12/2/2020 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64204              Drivers License.pdf                               178567        12/2/2020 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64204              Fasano Report.pdf                                 191862        12/2/2020 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64204              HIPAA.pdf                                       1833049         12/2/2020 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64204              Medical Addendum.pdf                              415213        12/2/2020 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64204              Medical Questionnaire.pdf                         960737        12/2/2020 9:44




                                                                1511
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1513 of
                                       3467



               All Paths/Locations                                Unified Title         File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64204              NASP.pdf                                      82015        12/2/2020 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64204              Purchase Agreement.pdf                       520883        12/2/2020 9:44
Saiph consulting|\Audit Materials Received-   Releease of All Claims and Release of
SuttonPark\Closing Binders\64204              Judgment.pdf                                 181496        12/2/2020 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64204              Request For Acknowledgement.pdf              113555        12/2/2020 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64204              Robert Smith 64204 SSN Verification.pdf      853654       12/2/2020 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64204              Searches.pdf                               1627771         12/2/2020 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64208              64208 Teal, Jacqueline.tv5                      9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64208              783625_1_FinalPackage.pdf                  8842758        5/28/2020 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64208              Amended Notice of Hearing.pdf                353319      11/23/2020 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64208              Annuity Contract.pdf                          74661      11/23/2020 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64208              Application.pdf                              223685      11/23/2020 11:45
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64208              Information.pdf                              278013      11/23/2020 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64208              Confirmation JGW up04-01-2021.pdf          1073660         4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64208              Court Order.pdf                              186523      11/23/2020 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64208              Credit Report.pdf                             74660      11/23/2020 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64208              Disclosure - CA.pdf                          157696      11/23/2020 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64208              Fasano.pdf                                   248456      11/23/2020 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64208              Life Contingent Medical Addendum.pdf         189895      11/23/2020 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64208              Marriage License.pdf                         448522      11/23/2020 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64208              Name Change Form.pdf                         567175      11/23/2020 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64208              NASP.pdf                                      77964      11/23/2020 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64208              Purchase Agreement.pdf                     2047656       11/23/2020 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64208              Request For Acknowledgement.pdf              142558      11/23/2020 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64208              Searches.pdf                                 480016      11/23/2020 11:45




                                                             1512
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                                       3467



               All Paths/Locations                                   Unified Title               File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64208              Seller Affidavit.pdf                                  290411      11/23/2020 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64208              Seller Identification.pdf                             215223      11/23/2020 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64208              Stipulation.pdf                                     3862428       11/23/2020 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64208              Structured Settlement Questionnaire.pdf               245930      11/23/2020 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              1755272_1_FinalPackage.pdf                         10648512         7/2/2020 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              64245 Hankins, Sandra.tv5                                9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Acknowledgement.pdf                                    83077        12/5/2020 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Annuity Contract.pdf                                  185569        12/5/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Application.pdf                                       318642        12/5/2020 9:05
Saiph consulting|\Audit Materials Received-   Authorization for Disclosure of Protected Health
SuttonPark\Closing Binders\64245              Information.pdf                                       293056        12/5/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Authorization to Release Information .pdf             182026        12/5/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Bankruptcy Search.pdf                                 355081        12/5/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Benefits Letter.pdf                                   504277        12/5/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Birth Certificate.pdf                                 419254        12/5/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Confirmation JGW up04-01-2021.pdf                   1073660         4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Court Order.pdf                                     1472429         12/5/2020 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Credit Report.pdf                                     116626        12/5/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Disclosure - AK.pdf                                   167572        12/5/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Disclosure - AZ.pdf                                   167553        12/5/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Disclosure - CO.pdf                                   167540        12/5/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Divorce Docs.pdf                                      986476        12/5/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Drivers License.pdf                                   288874        12/5/2020 9:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Fasano Report .pdf                                    278634        12/5/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Lien and Judgment Searches.pdf                        764005        12/5/2020 9:05




                                                                1513
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1515 of
                                       3467



               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              List of Dependents .pdf                           182495       12/5/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Medical Questionnaire.pdf                         376515       12/5/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              NASP Search.pdf                                   248216       12/5/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Power of Attorney .pdf                            187015       12/5/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Purchase Agreement.pdf                            470680       12/5/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Qualified Assignement.pdf                         155143       12/5/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Request for Redirection of the Payments .pdf      116444       12/5/2020 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Settlement Agreement.pdf                          142104       12/5/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Stipulation.pdf                                 2494594        12/5/2020 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              UCC Search.pdf                                    229011       12/5/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64245              Waiver of IPA.pdf                                 197552       12/5/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64272              549180_4_FinalPackage.pdf                      12031232       6/29/2020 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64272              image001.png                                       42506
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64272              64272 Topij, Walter.tv5                            11129      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64272              Annuity Contract.pdf                              479557     11/24/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64272              Application.pdf                                   216092     11/24/2020 14:17
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64272              Information.pdf                                   303971     11/24/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64272              Bankruptcy.pdf                                    267406     11/24/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64272              Confirmation JGW up04-01-2021.pdf               1073660        4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64272              Court Order.pdf                                 3566787      11/24/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64272              Disclosure - MI.pdf                               170619     11/24/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64272              Divorce.pdf                                       269887     11/24/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64272              Fasano.pdf                                        288982     11/24/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64272              Life Contingent Medical Addendum.pdf              208681     11/24/2020 14:17




                                                                1514
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                                       3467



               All Paths/Locations                                   Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64272              NASP.pdf                                     171028      11/24/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64272              Purchase Agreement.pdf                       552371      11/24/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64272              Qualified Assignement.pdf                  2325320       11/24/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64272              Request For Acknowledgement.pdf              110124      11/24/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64272              Searches.pdf                               1215425       11/24/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64272              Seller Affidavit.pdf                         168338      11/24/2020 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64272              Seller Identification.pdf                    391269      11/24/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64272              Settlement Agreement.pdf                     305150      11/24/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64272              Structured Settlement Questionnaire.pdf      289246      11/24/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              1200080_2_FinalPackage.pdf                15454471        8/10/2020 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              64296 Clemens, Christopher.tv5                  9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              Annuity Contract.pdf                       1991640        12/9/2020 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              Application.pdf                              373333       12/9/2020 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              Confirmation JGW up04-01-2021.pdf          1073660         4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              Court Order.pdf                            1773715        12/9/2020 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              Credit Report.pdf                             68802       12/9/2020 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              Disclosure - AZ.pdf                          224518       12/9/2020 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              Disclosure - CO.pdf                          217102       12/9/2020 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              Disclosure - PA.pdf                          227965       12/9/2020 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              Divorce.pdf                                  252218       12/9/2020 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              DocuSign .pdf                                109835       12/9/2020 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              Drivers License.pdf                          126924       12/9/2020 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              Fasano.pdf                                   197093       12/9/2020 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              Marriage License .pdf                        212254       12/9/2020 18:36




                                                              1515
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                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              Medical Addendum .pdf                     269743      12/9/2020 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              Pleadings.pdf                             119549      12/9/2020 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              Proof of Service.pdf                      325122      12/9/2020 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              Purchase Agreement.pdf                  1938209       12/9/2020 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              Qualified Assignement.pdf                 672699      12/9/2020 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              Questionnaire.pdf                         665628      12/9/2020 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              Request For Acknowledgement.pdf            95883      12/9/2020 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              Searches.pdf                              918064      12/9/2020 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              Seller Affidavit.pdf                      101466      12/9/2020 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              Settlement Agreement .pdf               2317593       12/9/2020 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              Stipulation.pdf                         1827663       12/9/2020 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64296              Submission Package .pdf                    81131      12/9/2020 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64299              1439865-1 Amended Binder.pdf              105185     12/11/2020 18:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64299              1439865_1_FinalPackage.pdf              3983907       8/11/2020 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64299              64299 Kennedy, Sharon.tv5                  10154      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64299              Amended Court Order.pdf                   105188     12/30/2020 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64299              Application.pdf                           154947     12/11/2020 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64299              Assignment Agreement.pdf                  421589     12/11/2020 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64299              Confirmation JGW up04-01-2021.pdf       1073660        4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64299              Court Order.pdf                           291876     12/11/2020 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64299              Disclosure - AL.pdf                       251918     12/11/2020 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64299              Fasano Report.pdf                         222297     12/11/2020 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64299              Purchase Agreement.pdf                    126778     12/11/2020 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64299              Seller Identification.pdf                 274996     12/11/2020 13:01




                                                                1516
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1518 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64299              Settlement Agreement.pdf                 870957      12/11/2020 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64299              Verification Benefits.pdf                128496      12/11/2020 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64309              1742203_1_FinalPackage.pdf             8429422        7/31/2020 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64309              image001.png                                8543
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64309              64309 Tramontana, Mary.tv5                10429       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64309              Annuity Contract.pdf                     361722       12/2/2020 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64309              Application.pdf                          673159       12/2/2020 16:51
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64309              Information.pdf                          367809       12/2/2020 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64309              Benefits Letter.pdf                      176252       12/2/2020 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64309              Confirmation JGW up04-01-2021.pdf      1073660         4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64309              Consumer Disclosure.pdf                  242772       12/2/2020 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64309              Court Order.pdf                        2630228        12/2/2020 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64309              Disclosure - NJ.pdf                      309740       12/2/2020 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64309              Drivers License.pdf                      225795       12/2/2020 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64309              Fasano Report.pdf                        269479       12/2/2020 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64309              Notice of Sale.pdf                       192237       12/2/2020 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64309              Purchase Agreement.pdf                   832292       12/2/2020 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64309              Searches.pdf                           1453695        12/2/2020 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64309              Stipulation.pdf                          482051       12/2/2020 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              550964_3_FinalPackage.pdf             24081820        8/14/2020 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              image002.png                                7287
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              image003.png                                2556
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              image001.png                              24173
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              64331 Daugherty, Allan.tv5                10186       10/9/2024 17:32




                                                                1517
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1519 of
                                       3467



               All Paths/Locations                                   Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              Application.pdf                              506019     11/25/2020 11:28
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64331              Information.pdf                            5842205      11/25/2020 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              Benefits Letter.pdf                           81576     11/25/2020 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              Confirmation JGW up04-01-2021.pdf          1073660        4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              Court Order.pdf                              750557     11/25/2020 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              Credit Report.pdf                             72716     11/25/2020 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              Disclosure - TN.pdf                          845946     11/25/2020 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              Disclosure - TX.pdf                          879523     11/25/2020 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              Divorce.pdf                                  580346     11/25/2020 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              Fasano.pdf                                   312674     11/25/2020 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              Life Contingent Medical Addendum.pdf       1095283      11/25/2020 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              NASP.pdf                                      73502     11/25/2020 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              Purchase Agreement.pdf                       869930     11/25/2020 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              Request For Acknowledgement.pdf              108792     11/25/2020 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              Searches.pdf                               1126987      11/25/2020 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              Seller Affidavit.pdf                         205033     11/25/2020 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              Seller Identification.pdf                  2127900      11/25/2020 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              Settlement Agreement Affidavit.pdf            81984     11/25/2020 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              Settlement Agreement.pdf                     520675     11/25/2020 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              Stipulation.pdf                            1754243      11/25/2020 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64331              Structured Settlement Questionnaire.pdf    3638054      11/25/2020 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64343              64343 Myreholt, Michael.tv5                   10427      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64343              698487_2_FinalPackage.pdf                 13876855        8/4/2020 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64343              Annuity Contract.pdf                          74488     12/16/2020 13:25




                                                                1518
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1520 of
                                       3467



               All Paths/Locations                                  Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64343              Application.pdf                              184719      12/16/2020 13:25
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64343              Information.pdf                              316536      12/16/2020 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64343              Confirmation JGW up04-01-2021.pdf          1073660         4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64343              Court Order.pdf                              190646      12/16/2020 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64343              Disclosure - OK.pdf                          168953      12/16/2020 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64343              Disclosure - TX.pdf                          168955      12/16/2020 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64343              Drivers License.pdf                          154842      12/16/2020 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64343              Fasano.pdf                                   294388      12/16/2020 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64343              Life Contingent Medical Addendum.pdf         168841      12/16/2020 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64343              Purchase Agreement.pdf                       635305      12/16/2020 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64343              Request For Acknowledgement.pdf              139174      12/16/2020 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64343              Searches.pdf                               1222259       12/16/2020 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64343              Stipulation.pdf                            5317774       12/16/2020 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64343              Structured Settlement Questionnaire.pdf      645624      12/16/2020 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64351              64351 Starr, Ernest.tv5                         9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64351              855586_3_FinalPackage.pdf                  8630744        7/31/2020 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64351              image001.png                                    8638
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64351              Application.pdf                              412418       12/7/2020 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64351              Assignment.pdf                                86890       12/7/2020 11:41
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64351              Information.pdf                              860309       12/7/2020 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64351              Benefits Letter.pdf                          102032       12/7/2020 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64351              Confirmation JGW up04-01-2021.pdf          1073660         4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64351              Consumer Disclosure.pdf                      107645       12/7/2020 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64351              Court Order.pdf                              231096       12/7/2020 11:41




                                                                1519
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1521 of
                                       3467



               All Paths/Locations                                  Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64351              Credit Report.pdf                         114292      12/7/2020 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64351              Disclosure - WV.pdf                       254195      12/7/2020 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64351              Drivers License.pdf                     2731532       12/7/2020 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64351              Fasano Report.pdf                         295918      12/7/2020 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64351              Medical Addendum.pdf                      184768      12/7/2020 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64351              Name Addendum.pdf                          77562      12/7/2020 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64351              Objection to Transfer Petition.pdf        113516      12/7/2020 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64351              Purchase Agreement.pdf                  2468618       12/7/2020 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64351              Questionnaire.pdf                         404797      12/7/2020 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64351              Request For Acknowledgement.pdf           142065      12/7/2020 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64351              Searches.pdf                              605469      12/7/2020 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64351              URC Exception Report.pdf                  127547      12/7/2020 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64371              1721189_2_FinalPackage.pdf             15281509       8/27/2020 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64371              64371 Sotello, Robert.tv5                  10429      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64371              Application.pdf                           860814      12/9/2020 12:10
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64371              Information.pdf                         2192288       12/9/2020 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64371              Bankruptcy.pdf                            371077      12/9/2020 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64371              Benefits Letter.pdf                       101872      12/9/2020 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64371              Confirmation JGW up04-01-2021.pdf       1073660        4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64371              Court Order.pdf                         1650586       12/9/2020 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64371              Credit Report.pdf                          80361      12/9/2020 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64371              Disclosure - TX.pdf                       331758      12/9/2020 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64371              Life Contingent Medical Addendum.pdf    2235577       12/9/2020 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64371              NASP.pdf                                  346367      12/9/2020 12:10




                                                             1520
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                                       3467



               All Paths/Locations                                  Unified Title                File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64371              Purchase Agreement.pdf                              2121233        12/9/2020 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64371              Request For Acknowledgement.pdf                       139228       12/9/2020 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64371              Searches.pdf                                          653278       12/9/2020 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64371              Seller Identification.pdf                             251558       12/9/2020 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64371              Settlement Agreement.pdf                              774520       12/9/2020 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              1779072_1_FinalPackage.pdf                         20628735        8/26/2020 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              64377 Repko, Jerry.tv5                                   9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              Annuity Contract .pdf                                 390001       12/16/2020 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              Application.pdf                                       840304       12/16/2020 9:10
Saiph consulting|\Audit Materials Received-   Authorization for Disclosure of Protected Health
SuttonPark\Closing Binders\64377              Information.pdf                                     1036620        12/16/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              Authorization to Release Information .pdf             170605       12/16/2020 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              Bankruptcy Search.pdf                                 334759       12/16/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              Benefits Letter.pdf                                   124661       12/16/2020 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              Confirmation JGW up04-01-2021.pdf                   1073660         4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              Court Order.pdf                                       235805       12/16/2020 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              Credit Report.pdf                                        8224      12/16/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              Disclosure - CT.pdf                                   309151       12/16/2020 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              Disclosure - VA.pdf                                   266360       12/16/2020 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              Divorce Docs.pdf                                       78268       12/16/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              Drivers License.pdf                                   118039       12/16/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              Fasano Report .pdf                                     45860       12/16/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              IPA Letter.pdf                                        146004       12/16/2020 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              Lien and Judgment Searches.pdf                      1146716        12/16/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              List of Dependents .pdf                               107976       12/16/2020 9:05




                                                               1521
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1523 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              Medical Questionnaire.pdf              2903632        12/16/2020 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              mislabeled spc doc.pdf                 1622886        12/16/2020 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              NASP Search.pdf                             8592      12/16/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              Pleadings.pdf                          1383253        12/16/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              Power of Attorney .pdf                   713292       12/16/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              Purchase Agreement.pdf                 1009088        12/16/2020 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              Request For Acknowledgement.pdf           35155       12/16/2020 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              Settlement Agreement.pdf               1536568        12/16/2020 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              SSN Verification.pdf                     145434       9/10/2019 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64377              UCC Search.pdf                           790475       12/16/2020 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64379              1782055_1_FinalPackage.pdf            17540477         9/3/2020 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64379              64379 Kreamer, Rebecca.tv5                  9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64379              Annuity Contract.pdf                   2170207        12/3/2020 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64379              Assignment.pdf                           223704       12/3/2020 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64379              Confirmation JGW up04-01-2021.pdf      1073660         4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64379              Court Order.pdf                          687659       12/3/2020 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64379              Credit Report.pdf                         77134       12/3/2020 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64379              Death Certificate .pdf                 1032261        12/3/2020 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64379              Disclosure - KY.pdf                      311821       12/3/2020 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64379              Drivers License.pdf                    2100429        12/3/2020 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64379              LC Medical Addendum .pdf                 264883       12/3/2020 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64379              Marriage License.pdf                     117453       12/3/2020 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64379              Proof of Service.pdf                     356738       12/3/2020 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64379              Purchase Agreement.pdf                 2975865        12/3/2020 15:18




                                                              1522
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                                       3467



               All Paths/Locations                                  Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64379              Qualified Assignement.pdf                1591105        12/3/2020 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64379              Questionnaire.pdf                          594272       12/3/2020 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64379              Request For Acknowledgement.pdf            136715       12/3/2020 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64379              Searches.pdf                             1254918        12/3/2020 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64379              Settlement Agreement.pdf                 1877807        12/3/2020 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64379              Stipulation.pdf                            581304       12/3/2020 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64382              262497_3_FinalPackage.pdf                5083953         9/3/2020 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64382              64382 Antley, Francis.tv5                     9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64382              Annuity Contract.pdf                       187393      12/16/2020 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64382              Application.pdf                            156071      12/16/2020 15:32
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64382              Information.pdf                            388350      12/16/2020 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64382              Confirmation JGW up04-01-2021.pdf        1073660         4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64382              Court Order.pdf                            194695      12/16/2020 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64382              Credit Report.pdf                          129321      12/16/2020 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64382              Disclosure - SC.pdf                         99117      12/16/2020 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64382              Drivers License.pdf                        621783      12/16/2020 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64382              Fasano.pdf                                 136895      12/16/2020 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64382              Life Contingent Medidcal Addendum.pdf      124320      12/16/2020 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64382              NASP.pdf                                   162615      12/16/2020 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64382              Objection to Transfer.pdf                   99423      12/16/2020 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64382              Purchase Agreement.pdf                   1223533       12/16/2020 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64382              Request For Acknowledgement.pdf            118033      12/16/2020 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64382              Searches.pdf                               921685      12/16/2020 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64382              Settlement Agreement.pdf                   279483      12/16/2020 15:32




                                                                1523
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1525 of
                                       3467



               All Paths/Locations                                   Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64382              SSN.pdf                                      123475     12/16/2020 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64382              Structured Settlement Questionnaire.pdf      252978     12/16/2020 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64384              318006_5_FinalPackage.pdf                  8523649       9/14/2020 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64384              64384 Jackson, Curtis.tv5                     10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64384              Application.pdf                              273221       12/8/2020 8:08
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64384              Information.pdf                              742780       12/8/2020 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64384              Benefits Letter.pdf                           96746       12/8/2020 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64384              Confirmation JGW up04-01-2021.pdf          1073660        4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64384              Credit Report.pdf                            862614       12/8/2020 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64384              Dependents.pdf                                80149       12/8/2020 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64384              Disclosure - PA.pdf                          119494       12/8/2020 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64384              Divorce.pdf                                1280899        12/8/2020 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64384              Drivers license.pdf                          130853      10/9/2024 18:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64384              Fasano.pdf                                 1340845        12/8/2020 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64384              IPA.pdf                                      255236       12/8/2020 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64384              Medical Addendum.pdf                         162583       12/8/2020 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64384              Purchase Agreement.pdf                       867212       12/8/2020 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64384              Questionnaire.pdf                            430641       12/8/2020 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64384              Searches.pdf                                 238639       12/8/2020 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64384              Seller Affidavit.pdf                         101405       12/8/2020 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64384              Settlement Agreement.pdf                   1276945        12/8/2020 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64384              Stipulation.pdf                              398574       12/8/2020 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64396              578736_1_FinalPackage.pdf                  8328616         9/4/2020 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64396              64396 Villasenor, Octavia.tv5                 10264      10/9/2024 17:34




                                                                1524
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1526 of
                                       3467



               All Paths/Locations                                Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64396              Annuity Contract.pdf                    655406       12/7/2020 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64396              Application.pdf                         222829       12/7/2020 9:03
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64396              Information.pdf                         340361       12/7/2020 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64396              Change of Address.pdf                   300823       12/7/2020 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64396              Confirmation JGW up04-01-2021.pdf     1073660        4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64396              Court Order.pdf                         335822       12/7/2020 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64396              Credit Report.pdf                       628904       12/7/2020 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64396              Dependents.pdf                          177772       12/7/2020 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64396              Fasano.pdf                              138537       12/7/2020 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64396              IPA.pdf                                 197160       12/7/2020 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64396              Medical Addendum.pdf                    227946       12/7/2020 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64396              Proof of Service.pdf                    544271       12/7/2020 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64396              Purchase Agreement.pdf                  401968       12/7/2020 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64396              Qualified Assignement.pdf               280059       12/7/2020 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64396              Questionnaire.pdf                       332905       12/7/2020 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64396              Searches.pdf                          2109466        12/7/2020 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64396              Seller Identification.pdf               553647       12/7/2020 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64401              64401 Agathluk, Simeon.tv5               10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64401              66823_6_FinalPackage.pdf              7207098       8/27/2020 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64401              Affidavit of Service.pdf              2116878       12/8/2020 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64401              Application.pdf                         191793      12/8/2020 16:04
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64401              Information.pdf                         261455      12/8/2020 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64401              Confirmation JGW up04-01-2021.pdf     1073660        4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64401              Court Order.pdf                         331544      12/8/2020 16:04




                                                              1525
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1527 of
                                       3467



               All Paths/Locations                                Unified Title         File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64401              Credit Report.pdf                             74625       12/8/2020 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64401              Fasano.pdf                                   275510       12/8/2020 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64401              Life Contingent Medical Addendum.pdf         223112       12/8/2020 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64401              NASP.pdf                                      81513       12/8/2020 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64401              Purchase Agreement.pdf                       607782       12/8/2020 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64401              Request For Acknowledgement.pdf              116403       12/8/2020 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64401              Searches.pdf                                 682106       12/8/2020 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64401              Seller Identification.pdf                    114838       12/8/2020 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64401              Settlement Agreement.pdf                   2206498        12/8/2020 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64401              Stipulation.pdf                              409008       12/8/2020 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64401              Structured Settlement Questionnaire.pdf      226308       12/8/2020 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64402              64402 Smith, Keith.tv5                        10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64402              66870_2_FinalPackage.pdf                   6739048        9/10/2020 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64402              image001.png                                    8571
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64402              Affidavit in Support of Transfer.pdf         143143       12/9/2020 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64402              Annuity Contract.pdf                         222775       12/9/2020 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64402              Application.pdf                              327298       12/9/2020 11:03
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64402              Information.pdf                              290447       12/9/2020 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64402              Benefits Letter.pdf                          108498       12/9/2020 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64402              Confirmation JGW up04-01-2021.pdf          1073660         4/1/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64402              Court Order.pdf                              194637       12/9/2020 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64402              Credit Report.pdf                            783482       12/9/2020 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64402              Dependents.pdf                               160982       12/9/2020 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64402              Disclosure - NY.pdf                          162040       12/9/2020 11:03




                                                                1526
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                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64402              Divorce.pdf                             316643      12/9/2020 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64402              Fasano.pdf                              282771      12/9/2020 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64402              IPA.pdf                                 179416      12/9/2020 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64402              Medical Addendum.pdf                    211925      12/9/2020 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64402              Proof of Service.pdf                    137326      12/9/2020 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64402              Purchase Agreement.pdf                  681743      12/9/2020 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64402              Questionnaire.pdf                       296971      12/9/2020 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64402              Request for Change of Address.pdf        97926      12/9/2020 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64402              Searches.pdf                            542285      12/9/2020 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64402              Seller Identification.pdf             1325160       12/9/2020 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              64449 Jackson, Aaliyah.tv5               10262      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              Application.pdf                         101333     11/25/2020 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              Benefit Letter.pdf                      223468       2/1/2021 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              Closing Binder.pdf                   42498514       12/2/2020 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              Court Order.pdf                      19300297       12/2/2020 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              Credit Report.pdf                        35275     11/23/2020 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              Disclosure IL.pdf                        90771     11/25/2020 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              Disclosure LA.pdf                       896987      12/2/2020 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              Disclosure.pdf                        1969847      11/30/2020 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              DocuSign Cert 167B.pdf                   71180      12/3/2020 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              DocuSign Cert 173E.pdf                  121890      12/2/2020 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              DocuSign Cert 2D2E.pdf                  121907      12/2/2020 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              DocuSign cert 44D2.pdf                  121656      12/3/2020 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              DocuSign Cert 6ACD.pdf                   71566      12/3/2020 15:25




                                                               1527
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               All Paths/Locations                                 Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              DocuSign Cert 72E6.pdf                           121997      12/2/2020 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              DocuSign Cert 8CD9.pdf                           121985      12/3/2020 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              Docusign cert 9DAF.pdf                           121996      12/3/2020 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              DocuSign cert A3E4.pdf                           121901      12/3/2020 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              DocuSign Cert E5E5.pdf                           121946      12/2/2020 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              DocuSign Certificate- closing statement.pdf       65407      12/4/2020 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              Driver License.pdf                             3501807      11/25/2020 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              email to Judge hearing date.pdf                   67482     11/25/2020 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              Executed Stip.pdf                                479197      12/2/2020 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              Fasano Report.pdf                                206598      12/2/2020 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              LC Assignment Agreement.pdf                       97921      12/3/2020 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              List Of Deps.pdf                                  40900      12/2/2020 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              Medical Questionnaire.pdf                        814625      12/2/2020 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              Plead.pdf                                     13149986       11/30/2020 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              Purchase Agreement.pdf                         1008327       11/30/2020 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              Searches.pdf                                      72012     11/25/2020 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              Settlement Agreement.pdf                         151926      12/2/2020 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              Social Security Card.pdf                       3351506       12/2/2020 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              UCC Search.pdf                                   143058      12/3/2020 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64449              ZIP Code USPS.pdf                                 72678      11/30/2020 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64557              64557 Dennis, Duane.tv5                           10259      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64557              Acknowledgment.pdf                                52586       6/8/2021 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64557              Application.pdf                                  135032     12/30/2020 15:57
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64557              Information.pdf                                3132156        1/7/2021 16:14




                                                             1528
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                                       3467



               All Paths/Locations                                   Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64557              Benefits Letter.pdf                               108666      10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64557              Closing Binder.pdf                             60328175      12/30/2020 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64557              Court Order.pdf                                    99906       1/4/2021 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64557              Credit.pdf                                         33460      12/3/2020 23:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64557              Disclosure.pdf                                    391042     12/30/2020 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64557              Divorce Decree.pdf                              3847596        4/2/2018 20:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64557              Divorce Documents.pdf                             156851        3/2/2015 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64557              Drivers License.pdf                               556266     12/30/2020 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64557              Fasano.pdf                                        110742       1/4/2021 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64557              Medical Questionnaire.pdf                       6030547      12/30/2020 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64557              Pleadings.pdf                                  44094789      12/30/2020 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64557              Purchase Agreement.pdf                            625024     12/30/2020 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64557              Redirection Confirmation New 64557.pdf             59549      4/25/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64557              Redirection Reconfig Letter up04-07-2022.pdf    7222890        4/6/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64557              Searches.pdf                                       18303     12/30/2020 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64557              Seller Affidavit.pdf                            2389815      12/30/2020 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64557              Settlement Agreement & Release.pdf              1936916       9/18/2017 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64557              Social Security Card.pdf                        1257660       1/12/2016 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64557              UCC Search.pdf                                     57496     12/30/2020 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64624              64624 Whitaker, Maris.tv5                          10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64624              Anniuty Docs.pdf                                  532986      10/9/2024 21:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64624              APP.pdf                                         1014562      12/14/2020 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64624              Change of Owner Confirm.pdf                        21239      10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64624              Confirmation of Owner and Payee Change.pdf        430463      4/29/2020 15:44




                                                               1529
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                                       3467



               All Paths/Locations                                 Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64624              Credit Report.pdf                                 88059      10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64624              Disclsoure Statement.pdf                       1224898       11/30/2020 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64624              DocuSign Certificate- Closing statement.pdf      127606      10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64624              Driver License.pdf                               955082     12/11/2020 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64624              Fasano Report.pdf                                 96492      12/3/2020 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64624              Medical Questionnaire.pdf                        342243      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64624              Owner confirm and original submission.pdf        745043      10/9/2024 21:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64624              PA with correct policy number.pdf              5192399      12/14/2020 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64624              Purchase Agreement.pdf                         4044714       11/30/2020 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64624              Redirection Confirmation New 64624.pdf           510365       1/18/2023 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64624              Searches.pdf                                     330313      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64624              SS card.pdf                                    3298568      12/11/2020 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64624              W9.pdf                                         1397226       10/9/2024 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64624              Whitaker Assignment.pdf                          232082     12/14/2020 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              64719 Boudreau, Steven.tv5                        10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              Acknowledgement.pdf                               50817      4/24/2020 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              Amended Court Order.pdf                          227673      4/24/2020 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              Application.pdf                                  866336      2/15/2021 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              Benefits Letter.pdf                               58010      2/15/2021 16:03
Saiph consulting|\Audit Materials Received-   Berwyn Death Search 09222021_Steven
SuttonPark\Closing Binders\64719              Boudreau.pdf                                     152763     10/14/2021 12:26
Saiph consulting|\Audit Materials Received-   Berwyn Death Search_07292022_Steven
SuttonPark\Closing Binders\64719              Boudreau.pdf                                     153926     10/13/2022 16:44
Saiph consulting|\Audit Materials Received-   Berwyn Death Search_Dec21 04112022 Steven
SuttonPark\Closing Binders\64719              Boudreau.pdf                                     155729      4/25/2022 16:19
Saiph consulting|\Audit Materials Received-   Boudreau, Steven 4AV0001 & 5AV0002
SuttonPark\Closing Binders\64719              Combined Docs.pdf                             34664060      12/17/2020 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              Collateral Assignment Form.pdf                   442278      2/15/2021 15:19




                                                             1530
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1532 of
                                       3467



               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              Copy of SP November Cases VOC Info.pdf             56757      1/12/2021 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              Credit Report.pdf                                  47151      2/15/2021 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              Death Certificate Rita.pdf                        103940       3/8/2021 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              Declaration of Service.pdf                         86799      2/15/2021 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              Disclosure - NV.pdf                             1586813       2/15/2021 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              Health Credit Worksheet.pdf                        63471      2/15/2021 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              Personal Information.pdf                          262143      2/15/2021 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              Pleadings.pdf                                  18933277        3/8/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              Professional Advice.pdf                           254940      2/15/2021 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              Purchase Agreement.pdf                          3925503       2/15/2021 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              Redirection 64719.pdf                             929819      10/5/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              Redirection Reconfiguration up07-11-2022.pdf    2180777        7/8/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              Redirection Assignee List NYLIC.pdf               222753       7/7/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              COA Policy FP200974.pdf                            52947       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              COA Policy 74758034.pdf                            52951       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              COA Policy 77422032.pdf                            52926       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              COA Policy FP200974 (2).pdf                        52949       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              COA Policy FP200974.pdf                            52991       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              COA Policy FP201158.pdf                            52930       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              COA Policy FP205723.pdf                            52948       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              COA Policy FP206266.pdf                            52989       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              COA Policy FP206275.pdf                            52951       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              COA Policy FP207071.pdf                            52987       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              COA Policy FP207808.pdf                            52960       4/8/2022 13:24




                                                              1531
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1533 of
                                       3467



               All Paths/Locations                                   Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              COA Policy FP210013.pdf                                  52983       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              COA Policy FP210674.pdf                                  52959       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              COA Policy FP216554.pdf                                  52928       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              COA Policy FP220022.pdf                                  53010       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              COA Policy FP220028.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              COA Policy FP220219.pdf                                  52981       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              COA Policy FP220714.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              COA Policy FP244114.pdf                                  52993       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              Security TItle Corporate Resolution 11.2021 si.pdf      937256       4/1/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              Searches.pdf                                          9712499        3/8/2021 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              Seller Affidavit.pdf                                  1690438       2/15/2021 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              Seller Identification.pdf                               208775       8/26/2019 6:00
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Steven Boudreau POLICY
SuttonPark\Closing Binders\64719              FP208703 10182021.pdf                                   482475     10/19/2021 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              Terms Rider.pdf                                         148094      2/15/2021 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64719              VOC.pdf                                                 197161      4/24/2020 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64730              64730 Wilson, Larry.tv5                                  10016      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64730              ACK letter.pdf                                           52537      3/12/2021 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64730              Assignment Agreement.pdf                                337826      2/17/2021 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64730              Collateral Assignment.pdf                               286737      2/17/2021 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64730              Court Order.pdf                                       1058967       2/17/2021 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64730              Life insurance policy.pdf                             5092726       2/17/2021 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64730              Payment Stream.pdf                                       15777      3/12/2021 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64730              premium statement.pdf                                   113438      2/17/2021 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64730              Redirection 64730.pdf                                   876217      9/10/2021 14:30



                                                               1532
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1534 of
                                       3467



               All Paths/Locations                                  Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64730              Redirection Confirmation Email.pdf                  115422     10/22/2021 15:32
Saiph consulting|\Audit Materials Received-   Transamerica Life Insurance 000065208790 Larry
SuttonPark\Closing Binders\64730              Wilson June 2023.pdf                                 85403       6/6/2023 10:12

Saiph consulting|\Audit Materials Received-   Transamerica Life Insurance 000065208790 Larry
SuttonPark\Closing Binders\64730              Wilson Sept 2023 Premium Confirmation.pdf            85259       9/5/2023 11:55

Saiph consulting|\Audit Materials Received-   Transamerica Life Insurance 000065208790
SuttonPark\Closing Binders\64730              Premium Confirmation Larry Wilson Dec 2022.pdf       83737      12/1/2022 10:42
                                              Transamerica Life Insurance Company
Saiph consulting|\Audit Materials Received-   000065208790 Premium Confirmation Larry
SuttonPark\Closing Binders\64730              Wilson March 2022.pdf                                72893      2/28/2022 13:39
                                              Transamerica Life Insurance Company
Saiph consulting|\Audit Materials Received-   000065208790 Premium Confirmation Larry
SuttonPark\Closing Binders\64730              Wilson Sept 2022.pdf                                 87870        9/6/2022 9:40
                                              Transamerica Life Insurance Company
Saiph consulting|\Audit Materials Received-   65208790_Larry Wilson Dec 2021 Payment
SuttonPark\Closing Binders\64730              Confirmation.pdf                                    472520      12/2/2021 10:21
Saiph consulting|\Audit Materials Received-   Transamerica Life Insurance Premium
SuttonPark\Closing Binders\64730              Confirmation 65208790 Wilson June 2022.pdf           73689      10/9/2024 18:23
Saiph consulting|\Audit Materials Received-   Transamerica policy 65208790 Larry Wilson
SuttonPark\Closing Binders\64730              Premium Due 092023.pdf                              400608      10/9/2024 20:26
Saiph consulting|\Audit Materials Received-   Transamerica Premium Payment Confirmation
SuttonPark\Closing Binders\64730              Policy 65208790_Larry Wilson Sept 2021.pdf          809209       9/2/2021 16:37
                                              Transamerica Premium Payment
Saiph consulting|\Audit Materials Received-   Confirmation_Larry Wilson ID 64730_June
SuttonPark\Closing Binders\64730              2021.pdf                                             89278       6/9/2021 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64730              voc .pdf                                             72325      3/12/2021 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64730              Wilson, Larry 5AJ0060 Combined Docs.pdf           9167306      12/17/2020 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64738              64738 Ries, Dragos.tv5                               13245      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64738              Affidavit of Service.pdf                          2517398       2/12/2021 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64738              Application.pdf                                   2427903       2/12/2021 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64738              Court Order.pdf                                   2999354       2/12/2021 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64738              Credit Report.pdf                                   237376      2/12/2021 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64738              Disclosure - NJ.pdf                                 123408      2/12/2021 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64738              Marital Status.pdf                                   46340      2/12/2021 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64738              Professional Advice.pdf                              26013      2/12/2021 13:28




                                                              1533
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                                       3467



               All Paths/Locations                                   Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64738              Proof of Payment - Check.pdf                     111585     11/14/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64738              Purchase Agreement.pdf                           474960      2/12/2021 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64738              Ries, Dragos 6AY0007 Guar Combined Docs.pdf    9957252      12/17/2020 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64738              Seller Affidavit.pdf                              94949      2/12/2021 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64738              Seller Identification.pdf                        408163      2/12/2021 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64738              SSN.pdf                                          408163      2/12/2021 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64738              Terms Rider.pdf                                   32826      2/12/2021 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64761              64761 Jackson, Larry.tv5                          10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64761              Annual Berwyn Death Search 04152021.pdf           99798      4/15/2021 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64761              Annuity Contract-application.pdf                  99940       3/2/2021 16:10
Saiph consulting|\Audit Materials Received-   Berwyn Death Search_03172023 Larry Wayne
SuttonPark\Closing Binders\64761              Jackson.pdf                                      149549      3/21/2023 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64761              Court Order-.pdf                                 517595       3/2/2021 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64761              Credit report.pdf                                133571      3/11/2021 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64761              Disclosure - CT.pdf                            1042836       2/15/2021 18:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64761              Disclosure - MD.pdf                            1065533       2/15/2021 18:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64761              Disclosure - TN.pdf                            1042836       2/17/2021 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64761              Disclosure - TX.pdf                              992534      2/15/2021 18:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64761              Your fax to F&G has succeeded                    161280       5/4/2021 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64761              INF Verification 01272021.pdf                     47921       2/4/2021 16:33
Saiph consulting|\Audit Materials Received-   Jackson Larry Combined Docs reupload_12-28-
SuttonPark\Closing Binders\64761              2020.pdf                                      12449356      12/22/2020 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64761              Proof of Payment - Check.pdf                      42281     11/14/2023 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64761              Purchase Agreement.pdf                         1313173       2/15/2021 18:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64761              Redirection 64761.pdf                            905237       3/26/2021 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64761              Redirection Confirmation 64761.pdf                80854        4/6/2021 9:09




                                                              1534
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                                       3467



               All Paths/Locations                                 Unified Title                   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64761              Returned VLS 04222021.pdf                               132368       5/4/2021 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64761              Searches.pdf                                            123665      3/11/2021 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64761              Seller Identification.pdf                                80660      2/15/2021 18:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64761              Settlement Agreement.pdf                                114870      2/15/2021 18:56
                                              Successful transmission to 14023282266 Re
Saiph consulting|\Audit Materials Received-   BERWYN MORTALITY SEARCH REPORT FOR Larry
SuttonPark\Closing Binders\64761              Wayne Jackson POLICY I501796.pdf                        113744      3/22/2023 10:56
Saiph consulting|\Audit Materials Received-   Successful transmission-Re_ Verification of Living
SuttonPark\Closing Binders\64761              Statement- Larry Jackson 12212021.pdf                   110166     12/22/2021 10:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64761              VLS 06112021 2.pdf                                      520443      6/15/2021 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64766              64766 Leizear-Lanman, Kathryn.tv5                        10025      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64766              Application.pdf                                         487024      2/10/2021 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64766              Assignment Agreement.pdf                              2297959       2/10/2021 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64766              Assignment of Life Insurance Policy-Unsigned.pdf        162772      2/23/2021 18:59
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64766              Information.pdf                                         438205      2/10/2021 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64766              Benefits Letter.pdf                                     101023      2/10/2021 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64766              Disclosure - FL.pdf                                     292267      2/10/2021 11:59
Saiph consulting|\Audit Materials Received-   Leizear-Lanman Kathryn Combined Docs
SuttonPark\Closing Binders\64766              reupload_12-28-2020.pdf                              10325875      12/22/2020 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64766              Life Insurance Policy.pdf                             1136233       2/10/2021 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64766              NASP.pdf                                                362794      2/10/2021 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64766              Power of Attorney.pdf                                   266902      2/10/2021 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64766              Privacy Policy.pdf                                      341295      2/10/2021 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64766              Professional Advice.pdf                                 131136      2/10/2021 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64766              Proof of Payment - Check.pdf                             44780      11/27/2023 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64766              Purchase Agreement.pdf                                1083041       2/10/2021 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64766              Settlement Agreement.pdf                                773063      2/10/2021 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64767              64767 Hicks, Darnell.tv5                                 10017      10/9/2024 17:30



                                                              1535
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                                       3467



               All Paths/Locations                                   Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64767              Assignment.pdf                                        44808      2/15/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64767              Authorization to Release Information .pdf             44653      2/15/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64767              Benefits Letter.pdf                                   94657      2/15/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64767              Court Order.pdf                                      733962      2/15/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64767              Disclosure - FL.pdf                                  466708      2/15/2021 13:05
Saiph consulting|\Audit Materials Received-   Hicks Darnell Combined Docs reupload_12-28-
SuttonPark\Closing Binders\64767              2020.pdf                                          10485123      12/22/2020 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64767              Letter of Direction .pdf                             243188      2/15/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64767              Master Sales Agreement.pdf                            75029      2/15/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64767              Mortality Agreement.pdf                              984902      2/15/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64767              New - Ack - Letter of Direction.pdf                  243188      2/15/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64767              Pleadings.pdf                                        812722      6/21/2022 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64767              Purchase Agreement.pdf                             3219527       2/15/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64767              Redirection 64767.pdf                                904678      3/26/2021 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64767              Redirection Confirmation 64767.pdf                    90638        4/8/2021 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64767              Redirection Confirmation New.pdf                     209705      8/16/2023 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64767              Searches.pdf                                         663114      2/15/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64767              Seller Affidavit.pdf                                 651696      2/15/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64767              Waiver of Service of Process.pdf                     105270      2/15/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64770              64770 Elliot, Robert.tv5                              10776      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64770              Application.pdf                                      285485      2/15/2021 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64770              Berwyn Death Search 02102022_Robert Elliot.pdf       157919      2/23/2022 16:10
Saiph consulting|\Audit Materials Received-   Berwyn Death Search 07072023 Robert Dennis
SuttonPark\Closing Binders\64770              Elliott.pdf                                           97703       7/7/2023 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64770              Berwyn Death Search 12082022 Robert Elliott.pdf      153752      1/25/2023 14:37
Saiph consulting|\Audit Materials Received-   Berwyn Death Search_6302022_Robert
SuttonPark\Closing Binders\64770              Dennis.pdf                                           160642      7/19/2022 13:21




                                                              1536
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1538 of
                                       3467



               All Paths/Locations                                   Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64770              Court Order.pdf                                      158710      2/15/2021 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64770              Credit Report.pdf                                    169336      2/15/2021 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64770              Disclosure - FL.pdf                                  101673      2/15/2021 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64770              Disclosure - WA.pdf                                   78642      2/15/2021 17:27
Saiph consulting|\Audit Materials Received-   Elliot Robert Combined Docs reupload_12-28-
SuttonPark\Closing Binders\64770              2020.pdf                                           8450882      12/22/2020 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64770              Fasano Elliot.pdf                                    139333       7/1/2020 19:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64770              Pleadings.pdf                                        440770      2/15/2021 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64770              Purchase Agreement.pdf                             1144451       2/15/2021 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64770              Redirection 64770.pdf                                904930       3/26/2021 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64770              Redirection Confirmation 64770.pdf                    91698        4/6/2021 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64770              Redirection Confirmation New 64770.pdf               200079      5/12/2023 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64770              Searches.pdf                                         763519      2/15/2021 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64770              Seller Affidavit.pdf                                 145519      2/15/2021 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64770              Seller Identification.pdf                             81907      2/15/2021 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64770              Settlement Agreement.pdf                             237579      2/15/2021 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64770              Social Security Card.pdf                           3147911        3/5/2021 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64770              Stipulation.pdf                                      226073      2/15/2021 17:27
                                              Successful transmission Berwyn Mortality Search
Saiph consulting|\Audit Materials Received-   Report 07072023 Robert Dennis Elliott POLICY
SuttonPark\Closing Binders\64770              950418TO01Z.pdf                                      115955      7/12/2023 12:34
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Robert Dennis Elliott
SuttonPark\Closing Binders\64770              POLICY 950418TO01Z 012623.pdf                        486039       2/2/2023 10:47
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Robert Elliott POLICY
SuttonPark\Closing Binders\64770              950418TO01Z 03022022.pdf                             484777       3/3/2022 15:50
                                              Successful transmission to 18885604860. Re:
Saiph consulting|\Audit Materials Received-   BERWYN MORTALITY SEARCH REPORT FOR
SuttonPark\Closing Binders\64770              Robert Elliott POLICY 950418TO01Z                    126464      7/21/2022 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64784              64784 Floyd, Janice.tv5                               10259      10/9/2024 17:33




                                                              1537
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1539 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64784              Acknowledgment.pdf                       40834       2/2/2021 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64784              Affidavit.pdf                           159309     12/16/2020 18:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64784              Amended Court Order.pdf                 135370      12/30/2020 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64784              Annuity Contract.pdf                  2141230       12/11/2020 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64784              Application.pdf                       2145443       12/11/2020 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64784              Assignment.pdf                          206788     12/18/2020 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64784              Closing Binder.pdf                   12300876      12/16/2020 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64784              Court Order.pdf                         361435       12/8/2020 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64784              Credit Report.pdf                        49583     12/16/2020 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64784              Disclosure NY.pdf                       196823     12/16/2020 18:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64784              Fasano Report.pdf                        82729      9/28/2020 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64784              HIPAA.pdf                               417065     12/16/2020 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64784              Identification Card.pdf                  69123     12/16/2020 19:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64784              IPA Letter.pdf                          187653     12/17/2020 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64784              Medical Questionnaire.pdf               861695     12/16/2020 18:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64784              Pleadings.pdf                         4463328      12/16/2020 19:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64784              Purchase Agreement.pdf                1288860      12/16/2020 18:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64784              Searches.pdf                             29118     12/16/2020 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64784              Settlement Agreement.pdf              1698209      12/16/2020 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64784              Social Secuirty Card.pdf                 81314     12/16/2020 19:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              64800.tv5                                10004      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              Annuity Contract.pdf                  1259380      12/21/2020 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              Application.pdf                         127774     12/21/2020 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              Bankruptcy Search.pdf                    38164      12/22/2020 9:28




                                                               1538
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                                       3467



               All Paths/Locations                                 Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              Benefit Letter.pdf                           72733     12/21/2020 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              Child Support Balances.pdf                  273962       1/11/2021 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              Child Support Payment.pdf                 1605816        1/11/2021 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              Closing Binder.pdf                        7507246      12/20/2020 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              Court Order.pdf                           2114167      12/30/2020 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              Disclosure Texas.pdf                         96878     12/21/2020 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              DocuSign Cert ending 1D72.pdf               236094     12/21/2020 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              Executed Assignment Agreement.pdf            85561      12/31/2020 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              Executed Stipulation.pdf                    974137      12/22/2020 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              Fasano Report.pdf                           199692     12/21/2020 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              Notice of ACK.pdf                         1148024      12/30/2020 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              Pleading.pdf                             11258734      12/21/2020 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              Purchase Agreement.pdf                   11009888      12/21/2020 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              Qualified Assignment.pdf                    403333     12/21/2020 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              Questionnaire.pdf                            94469     12/21/2020 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              Redirection Confirmation New 64800.pdf       85273      5/23/2023 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              Settlement Agreement.pdf                  2218789      12/21/2020 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              Social Security Card.pdf                     96286     12/21/2020 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              Updated Credit Report.pdf                    46256       1/11/2021 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              Updated Driver license.pdf                   48219      12/22/2020 9:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              Updated Searches.pdf                        355341      12/22/2020 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64800              ZIP Code USPS.pdf                            76742     12/21/2020 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64818              64818 Gibson, James.tv5                      10587      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64818              Acknowledgment.pdf                           62107       4/1/2021 15:30




                                                             1539
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                                       3467



               All Paths/Locations                                  Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64818              Annuity Contract.pdf                              421660      9/25/2017 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64818              Application.pdf                                   204576      12/9/2020 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64818              Assignment CBC to Hudson.pdf                      290280       1/5/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64818              Benefits Letter.pdf                               612510       9/9/2020 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64818              Credit Report.pdf                                  31524     12/21/2020 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64818              Disclosure Statement.pdf                          171260      12/8/2020 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64818              Driver License.pdf                                161039      10/9/2024 19:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64818              Fasano Report.pdf                                 107107      12/3/2020 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64818              Gibson Assignment.pdf                             239459       1/6/2021 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64818              HIPAA and Medical Questionnaire.pdf             3919640      11/11/2020 22:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64818              Order Approving Minors Settlement.pdf             327392     10/11/2017 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64818              Pleadings.pdf                                   2056913      12/28/2020 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64818              Purchase Agreement.pdf                            825023     12/28/2020 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64818              Searches.pdf                                       10190      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64818              Settlement Agreement.pdf                          228307      9/25/2017 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64818              Social Security Card.pdf                          183438      9/25/2017 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64818              social security.pdf                             1864167      12/28/2020 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64818              UCC.pdf                                           243313      10/9/2024 20:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64866              1337829_1_FinalPackage.pdf                      8048847       9/22/2020 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64866              64866 Atkins, Arwanna.tv5                          10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64866              64866 Binder.pdf                                8048847       9/22/2020 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64866              A notice of cancelation.pdf                       157924       1/7/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64866              Application.pdf                                   321354       1/7/2021 12:45
Saiph consulting|\Audit Materials Received-   Authorization and direction to provide Death
SuttonPark\Closing Binders\64866              Certificate.pdf                                   180142       1/7/2021 12:45




                                                              1540
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                                       3467



               All Paths/Locations                               Unified Title              File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64866              Information.pdf                                  307430        1/7/2021 12:45
Saiph consulting|\Audit Materials Received-   Authorization to Release Personal
SuttonPark\Closing Binders\64866              Information.pdf                                  178961        1/7/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64866              Benefits Letter.pdf                              466853        1/7/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64866              Confirmation JGW Tranche C up08-04-2022.pdf      650209        8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64866              Court Order.pdf                                  566814        1/7/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64866              Credit Report.pdf                                139101        1/7/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64866              Disclosure - GA.pdf                              282540        1/7/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64866              Divorce.pdf                                      203805        1/7/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64866              Docusined certificate.pdf                        225451        1/7/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64866              Drivers License.pdf                              409453        1/7/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64866              Fasano questionnaire.pdf                         292732        1/7/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64866              Fasano.pdf                                       138888        1/7/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64866              Life continent addendum.pdf                      215417        1/7/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64866              Marriage docket.pdf                              244905        1/7/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64866              Purchase Agreement.pdf                           452461        1/7/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64866              Searches.pdf                                   1055348         1/7/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64866              Settlement Agreement.pdf                         557464        1/7/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64866              Social security card.pdf                         297936        1/7/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64866              Stipulation not fully executed.pdf             1432952         1/7/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64868              1468679_1_FinalPackage.pdf                    21826533        10/8/2020 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64868              64868 Binder.pdf                              21826533        10/8/2020 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64868              64868 Schleyhahn, Paul.tv5                          9971      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64868              Application.pdf                                  414305        1/7/2021 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64868              Assignment.pdf                                    90521        1/7/2021 14:48




                                                             1541
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                                       3467



               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64868              Information.pdf                                1440213        1/7/2021 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64868              Benefits Letter.pdf                              546789       1/7/2021 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64868              Change of Beneficiary.pdf                        308510       1/7/2021 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64868              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64868              Court Order.pdf                                  404543       1/7/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64868              Credit Report.pdf                                 80316       1/7/2021 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64868              Divorce.pdf                                    5366156        1/7/2021 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64868              Docusign certificates.pdf                        356616       1/7/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64868              Fasano.pdf                                       271593       1/7/2021 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64868              Identification card.pdf                          898430       1/7/2021 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64868              Life Contingent Medical Addendum.pdf             397204       1/7/2021 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64868              Obituary Cheryl Schleyhahn.pdf                   258078       1/7/2021 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64868              Paul Schleyhahn Annuity Contract.pdf             973870      1/20/2021 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64868              Paul Schleyhahn SSN Confirmation.pdf             580646      1/20/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64868              Purchase Agreement.pdf                         1859627        1/7/2021 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64868              Request For Acknowledgement.pdf                  208721       1/7/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64868              Searches.pdf                                     874875       1/7/2021 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64868              Settlement Documents.pdf                       7018822        1/7/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64868              Structured Settlement Questionnaire.pdf          914048       1/7/2021 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64869              1580111_3_FinalPackage.pdf                     8488705       10/8/2020 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64869              64869 Abert, Robert.tv5                           10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64869              64869 Binder.pdf                               8567693       10/9/2024 22:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64869              Annuity Contract.pdf                             320646       1/7/2021 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64869              Application.pdf                                   46604       1/7/2021 16:43




                                                             1542
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1544 of
                                       3467



               All Paths/Locations                               Unified Title              File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64869              Information.pdf                                   86228        1/7/2021 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64869              Benefits Letter.pdf                               77726        1/7/2021 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64869              Confirmation JGW Tranche C up08-04-2022.pdf      650209        8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64869              Court Order.pdf                                1696955         1/7/2021 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64869              Credit Report.pdf                                   8636       1/7/2021 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64869              Disclosure - CT.pdf                               27006        1/7/2021 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64869              Disclosure - DE.pdf                               30450        1/7/2021 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64869              Disclosure - MI.pdf                               26979        1/7/2021 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64869              Disclosure - NY.pdf                               28610        1/7/2021 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64869              Divorce.pdf                                      488768        1/7/2021 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64869              Docusin certificates.pdf                          65244        1/7/2021 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64869              Drivers License.pdf                               65121        1/7/2021 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64869              Fasano.pdf                                       162349        1/7/2021 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64869              Life Contingent Medical Addendum.pdf             179721        1/7/2021 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64869              Purchase Agreement.pdf                         1312159         1/7/2021 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64869              Searches.pdf                                     850593        1/7/2021 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64869              Seller Affidavit.pdf                             346849        1/7/2021 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64869              Settlement Agreement.pdf                       1551330         1/7/2021 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64869              W-9.pdf                                          325537        1/7/2021 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64870              1588406_3_FinalPackage.pdf                     6556191       10/23/2020 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64870              64870 binder.pdf                               6556191       10/23/2020 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64870              64870 Piontek, Christina.tv5                      10023       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64870              Annuity Contract.pdf                             253294        1/7/2021 22:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64870              Application.pdf                                  218259        1/7/2021 22:48




                                                              1543
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1545 of
                                       3467



               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64870              Information.pdf                                  351974       1/7/2021 22:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64870              Benefits Letter.pdf                            1187231        1/7/2021 22:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64870              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64870              Court Order.pdf                                  391812       1/7/2021 22:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64870              Credit Report.pdf                                 73862       1/7/2021 22:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64870              Disclosure - CT.pdf                              158552       1/7/2021 22:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64870              Disclosure - NY.pdf                              158577       1/7/2021 22:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64870              Fasano.pdf                                       284850       1/7/2021 22:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64870              Life Contingent Medical Addendum.pdf             207261       1/7/2021 22:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64870              Medical Questionnaire.pdf                        251339       1/7/2021 22:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64870              Purchase Agreement.pdf                           595938       1/7/2021 22:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64870              Searches.pdf                                     596172       1/7/2021 22:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64870              Seller Identification.pdf                        793876       1/7/2021 22:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64870              Settlement Agreement.pdf                         498337       1/7/2021 22:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64870              SSN.pdf                                           30692      9/16/2019 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64871              1673901_2_FinalPackage.pdf                    13012744      10/13/2020 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64871              image001.png                                      15793
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64871              64871 Binder.pdf                              13012744      10/13/2020 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64871              image001.png                                      15793
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64871              64871 Voss, Robert.tv5                            10258      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64871              Application.pdf                                  255722        1/8/2021 0:38
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64871              Information.pdf                                  303237        1/8/2021 0:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64871              Benefits Letter.pdf                               79651        1/8/2021 0:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64871              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35




                                                              1544
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1546 of
                                       3467



               All Paths/Locations                                  Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64871              Court Order.pdf                                3520966         1/8/2021 0:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64871              Credit Report.pdf                                149348        1/8/2021 0:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64871              Declaration.pdf                                1582828         1/8/2021 0:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64871              Divorce.pdf                                      365212        1/8/2021 0:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64871              Docusign Cert.pdf                                399444        1/8/2021 0:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64871              Drivers License.pdf                              175203        1/8/2021 0:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64871              Fasano.pdf                                       299905        1/8/2021 0:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64871              Life Contingent Medical Addendum.pdf             229552        1/8/2021 0:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64871              Proof of residency.pdf                           318809        1/8/2021 0:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64871              Purchase Agreement.pdf                           516163        1/8/2021 0:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64871              Questionnaire.pdf                                327660        1/8/2021 0:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64871              Searches.pdf                                     881588        1/8/2021 0:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64871              Settlement Agreement.pdf                         856767        1/8/2021 0:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64871              Stipulation.pdf                                2635291         1/8/2021 0:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64873              1731136_2_FinalPackage.pdf                     6229306       9/25/2020 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64873              64873 Gamble, Glenzina.tv5                        10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64873              Application.pdf                                  126899       1/8/2021 19:34
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64873              Information.pdf                                  647419       1/8/2021 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64873              Benefits Letter.pdf                               95897       1/8/2021 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64873              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64873              Court Order.pdf                                  282110       1/8/2021 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64873              Credit Report.pdf                                164055       1/8/2021 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64873              Disclosure - SC.pdf                               96635       1/8/2021 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64873              Fasano.pdf                                       288339       1/8/2021 19:34




                                                                1545
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1547 of
                                       3467



               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64873              Life Contingent Medical Addendum.pdf             270383       1/8/2021 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64873              Purchase Agreement.pdf                         1702057        1/8/2021 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64873              SA exception.pdf                                 139570       1/8/2021 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64873              Searches.pdf                                     881203       1/8/2021 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64873              Seller Identification.pdf                        397891       1/8/2021 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64873              SSN verification.pdf                             205474       1/8/2021 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64873              WIlie Gamble .pdf                              1336693        1/8/2021 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64878              222754_4_FinalPackage.pdf                     15443035      10/15/2020 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64878              image001.png                                      12574
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64878              64878 Hecke, Michael.tv5                          10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64878              Annuity Contract.pdf                             422881       1/5/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64878              Application.pdf                                  708478       1/5/2021 15:07
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64878              Information.pdf                                2242403        1/5/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64878              Bankruptcy Search.pdf                          3510480        1/5/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64878              Benefits Letter.pdf                              253796       1/5/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64878              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64878              Court Order.pdf                                  192818       1/5/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64878              Credit Report.pdf                                 74960       1/5/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64878              Disclosure - WI.pdf                              262035       1/5/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64878              Divorce.pdf                                      244741       1/5/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64878              Drivers License.pdf                              237031       1/5/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64878              Nasp Search.pdf                                   72876       1/5/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64878              Purchase Agreement.pdf                         3062520        1/5/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64878              Qualified Assignement.pdf                        294041       1/5/2021 15:07




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                                       3467



               All Paths/Locations                                   Unified Title          File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64878              Questionnaire.pdf                              1809209         1/5/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64878              Searches.pdf                                     322338        1/5/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64878              Seller Affidavit.pdf                             227486        1/5/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64878              Settlement Agreement.pdf                         232527        1/5/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64878              Stipulation.pdf                                  347644        1/5/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64878              Ucc Search.pdf                                   426366        1/5/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64880              234119_3_FinalPackage.pdf                      8501298        10/23/2020 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64880              image002.png                                      10695
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64880              image001.png                                        8526
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64880              64880 Lewelling, Bennie.tv5                       10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64880              Annuity Contract.pdf                             579294         1/6/2021 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64880              Application.pdf                                  292442         1/6/2021 9:49
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64880              Information.pdf                                  350573         1/6/2021 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64880              Bankruptcy Search.pdf                            310156         1/6/2021 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64880              Confirmation JGW Tranche C up08-04-2022.pdf      650209        8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64880              Court order.pdf                                  279110         1/6/2021 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64880              Credit Report.pdf                                 74740         1/6/2021 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64880              Disclosure - MI.pdf                              173406         1/6/2021 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64880              Divorce.pdf                                      136365         1/6/2021 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64880              Docusign Cert.pdf                                414509         1/6/2021 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64880              Fasano Report.pdf                                136888         1/6/2021 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64880              Proof of residency .pdf                        1289179          1/6/2021 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64880              Purchase Agreement.pdf                           439226         1/6/2021 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64880              Questionnaire.pdf                                392426         1/6/2021 9:49




                                                                1547
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1549 of
                                       3467



               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64880              Request For Acknowledgement.pdf                  119747        1/6/2021 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64880              Searches.pdf                                     695488        1/6/2021 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64880              Seller Identification.pdf                        952657        1/6/2021 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64880              Settlement Agreement.pdf                         300914        1/6/2021 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64880              UCC Search.pdf                                   396266        1/6/2021 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64881              242353_3_FinalPackage.pdf                     13198617       10/8/2020 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64881              64881 Green, William.tv5                          10208      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64881              Annuity Contract 64881.pdf                     1560901       1/13/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64881              Application.pdf                                  338117       1/6/2021 11:39
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64881              Information.pdf                                1425394        1/6/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64881              Bankruptcy Search.pdf                            321237       1/6/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64881              Benefits Letter.pdf                               24646       1/6/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64881              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64881              Court Order.pdf                                1590740        1/6/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64881              Credit Report.pdf                                 10639       1/6/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64881              Disclosure CT.pdf                                251022      1/13/2021 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64881              DocuSign Cert.pdf                                203196       1/6/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64881              Drivers License.pdf                              182086       1/6/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64881              Fasano Report.pdf                                190874       1/6/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64881              Judge Approval.pdf                               381031      1/13/2021 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64881              Not an Acknowledgement.pdf                        73820       1/6/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64881              Purchase Agreement.pdf                         6348942        1/6/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64881              Qualified Assignement.pdf                        197499       1/6/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64881              Questionnaire.pdf                                928740       1/6/2021 11:39




                                                              1548
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1550 of
                                       3467



               All Paths/Locations                                  Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64881              Settlement Agreement.pdf                         314101       1/6/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64881              UCC Search.pdf                                   342167       1/6/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64891              338505_5_FinalPackage.pdf                      8228318       9/23/2020 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64891              64891 Smith, Daile.tv5                            10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64891              Application.pdf                                  748290       1/7/2021 15:13
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64891              Information.pdf                                  756543       1/7/2021 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64891              Benefits Letter.pdf                               91103       1/7/2021 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64891              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64891              Court Order.pdf                                  420659       1/7/2021 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64891              Credit Report.pdf                                 84121       1/7/2021 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64891              Disclosure - CT.pdf                              172818       1/7/2021 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64891              Disclosure - IA.pdf                              172761       1/7/2021 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64891              Disclosure - NM.pdf                              172855       1/7/2021 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64891              Divorce.pdf                                       79429       1/7/2021 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64891              Fasano.pdf                                       275325       1/7/2021 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64891              Life Contingent Medical Addendum.pdf             613778       1/7/2021 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64891              Purchase Agreement.pdf                         1088414        1/7/2021 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64891              Request For Acknowledgement.pdf                  139146       1/7/2021 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64891              Searches.pdf                                     905998       1/7/2021 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64891              Seller Identification.pdf                        301052       1/7/2021 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64891              Settlement Agreement.pdf                         412437       1/7/2021 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64891              Structured Settlement Questionnaire.pdf          716080       1/7/2021 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64897              363880_1_FinalPackage.pdf                      8385476      10/19/2020 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64897              64897 Willis, Omeekah.tv5                         10450      10/9/2024 17:36




                                                              1549
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1551 of
                                       3467



               All Paths/Locations                                  Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64897              Affidavit.pdf                                    129512       1/4/2021 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64897              Application.pdf                                  296658       1/4/2021 17:05
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64897              Information.pdf                                  353450       1/4/2021 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64897              Bankruptcy Search.pdf                            239348       1/4/2021 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64897              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64897              Consumer Disclosure.pdf                          650724       1/4/2021 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64897              Court Order.pdf                                  639207       1/4/2021 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64897              Credit Report.pdf                                 74438       1/4/2021 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64897              Disclosure - NJ.pdf                              147186       1/4/2021 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64897              Drivers License.pdf                              439660       1/4/2021 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64897              Fasano Report.pdf                                273148       1/4/2021 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64897              Infants Order.pdf                                953900       1/4/2021 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64897              IPA Waiver.pdf                                   200796       1/4/2021 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64897              LC Medical Addendum.pdf                          215608       1/4/2021 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64897              Notice of Sale.pdf                               152367       1/4/2021 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64897              Objection to Amended Petition.pdf                111571       1/4/2021 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64897              Purchase Agreement.pdf                         2343863        1/4/2021 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64897              Questionnaire.pdf                                248418       1/4/2021 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64897              Searches.pdf                                   1069319        1/4/2021 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64897              Submission Package.pdf                           184289       1/4/2021 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64899              447954_3_FinalPackage.pdf                     10739116      10/16/2020 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64899              image001.png                                      24265
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64899              64899 Garvey, Earl.tv5                            10257      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64899              Annuity Contract.pdf                             107084       1/8/2021 14:54




                                                               1550
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1552 of
                                       3467



               All Paths/Locations                                  Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64899              Application.pdf                                  316761       1/8/2021 14:54
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64899              Information.pdf                                  343406       1/8/2021 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64899              Bankruptcy.pdf                                 2634795        1/8/2021 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64899              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64899              Court Order.pdf                                  488025       1/8/2021 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64899              Credit Report.pdf                                 75450       1/8/2021 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64899              Disclosure - CT.pdf                              167978       1/8/2021 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64899              Divorce.pdf                                    2184556        1/8/2021 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64899              Fasano.pdf                                       265341       1/8/2021 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64899              Life Contingent Medical Addedum.pdf              236316       1/8/2021 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64899              NASP.pdf                                          72820       1/8/2021 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64899              Purchase Agreement.pdf                         1037209        1/8/2021 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64899              Request For Acknowledgement.pdf                  138845       1/8/2021 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64899              Searches.pdf                                   1287505        1/8/2021 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64899              Seller Identification.pdf                        293737       1/8/2021 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64899              Settlement Agreement.pdf                         562769       1/8/2021 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64899              Structured Settlement Questionnaire.pdf          318371       1/8/2021 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64900              535710_4_FinalPackage.pdf                     11546463       10/6/2020 21:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64900              64900 Jaquez, Cody.tv5                            10258      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64900              Annuity Contract.pdf                              84638       1/4/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64900              Application.pdf                                  205868       1/4/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64900              Benefits Letter.pdf                              111489       1/4/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64900              Cash Advance Agreement .pdf                      555667       1/4/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64900              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35




                                                              1551
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1553 of
                                       3467



               All Paths/Locations                                   Unified Title          File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64900              Court Order.pdf                                  913268        1/4/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64900              Disclosure - CT.pdf                              186593        1/4/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64900              Disclosure - DE.pdf                              153766        1/4/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64900              Docusign.pdf                                     835796        1/4/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64900              Fasano.pdf                                       324438        1/4/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64900              Life Contingent Medical Addendum.pdf             207765        1/4/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64900              Proof of Service.pdf                             196465        1/4/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64900              Purchase Agreement.pdf                         1531965         1/4/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64900              Questionnaire.pdf                                320293        1/4/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64900              Request For Acknowledgement.pdf                  131512        1/4/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64900              Searches.pdf                                   2278350         1/4/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64900              Seller Affidavit.pdf                             106187        1/4/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64900              Seller Identification.pdf                        294038        1/4/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64900              Settlement Agreement (Memo).pdf                  148729        1/4/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64900              W9.pdf                                           900818        1/4/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              535850_6_FinalPackage.pdf                     20564858        10/5/2020 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              image001.png                                        8423
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              64901 Garcia, Ernesto.tv5                         10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              Annuity Contract Certificate.pdf                  95952         1/7/2021 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              Application.pdf                                  268221         1/7/2021 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              Authorizations.pdf                               191867         1/7/2021 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              Bankruptcy Search.pdf                            600519         1/7/2021 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              Confirmation JGW Tranche C up08-04-2022.pdf      650209        8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              Court Order.pdf                                  218979         1/7/2021 9:29




                                                              1552
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1554 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              Credit Report.pdf                        220585        1/7/2021 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              Disclosure - IL.pdf                      170987        1/7/2021 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              Disclosure - TX.pdf                      171040        1/7/2021 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              Divorce Docs.pdf                       4564360         1/7/2021 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              DocuSign Certs.pdf                       356940        1/7/2021 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              Fasano Report.pdf                        294702        1/7/2021 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              HIPAA.pdf                                320377        1/7/2021 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              Medical Addendum.pdf                     204234        1/7/2021 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              Medical Questionnaire.pdf                246724        1/7/2021 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              Minors Trust Agreement.pdf             1985429         1/7/2021 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              NASP.pdf                                 120408        1/7/2021 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              Notice of Sale.pdf                       173570        1/7/2021 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              PI Case Docket.pdf                     2510169         1/7/2021 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              Proof of Residency.pdf                   286933        1/7/2021 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              Purchase Agreement.pdf                   748342        1/7/2021 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              Request For Acknowledgement.pdf          142136        1/7/2021 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              Searches.pdf                           2988706         1/7/2021 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              Seller Identification.pdf                605041        1/7/2021 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              Stipulation.pdf                        2441156         1/7/2021 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              Submission Form.pdf                       81833        1/7/2021 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64901              UCC Search.pdf                           634536        1/7/2021 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              545796_3_FinalPackage.pdf             13153531      10/23/2020 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              64904 Close, Tina.tv5                     10014      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              Annuity Contract.pdf                     333660       1/6/2021 19:14




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                                       3467



               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              Application.pdf                                  397943       1/6/2021 19:15
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64904              Information.pdf                                  704120       1/6/2021 19:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              Authorization to Release Information.pdf          88337       1/6/2021 19:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              Benefits Letter.pdf                               85628       1/6/2021 19:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              Court Order.pdf                                  354469       1/6/2021 19:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              Credit Report.pdf                                 72346       1/6/2021 19:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              Disclosure - OH.pdf                               90347       1/6/2021 19:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              Drivers License.pdf                              266848       1/6/2021 19:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              Fasano Report.pdf                                137395       1/6/2021 19:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              Life Contingent Medical Addendum.pdf             102629       1/6/2021 19:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              List of Dependents.pdf                           289780       1/6/2021 19:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              Notice of Assignment.pdf                         118085       1/6/2021 19:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              Pleadings.pdf                                    148516       1/6/2021 19:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              Power of Attorney.pdf                            109318       1/6/2021 19:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              Purchase Agreement.pdf                           367851       1/6/2021 19:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              Qualified Assignement.pdf                        229097       1/6/2021 19:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              Request For Acknowledgement.pdf                  131413       1/6/2021 19:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              Searches.pdf                                     740224       1/6/2021 19:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              Settlement Agreement.pdf                         290360       1/6/2021 19:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              SSN Verification.pdf                             258309       1/6/2021 19:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              Structured Settlement Questionaire.pdf           736626       1/6/2021 19:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64904              Waiver of IPA.pdf                                610356       1/6/2021 19:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64906              546910_4_FinalPackage.pdf                      6543471      10/14/2020 16:06




                                                              1554
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                                       3467



               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64906              64906 Collins, Joshua.tv5                              10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64906              Application.pdf                                       219491       1/6/2021 19:33
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64906              Information.pdf                                       299366       1/6/2021 19:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64906              Authorization to Release Information.pdf              203132       1/6/2021 19:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64906              Confirmation JGW Tranche C up08-04-2022.pdf           650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64906              Credit Report.pdf                                     117533       1/6/2021 19:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64906              Drivers License.pdf                                   621018       1/6/2021 19:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64906              Fasano Report.pdf                                     288294       1/6/2021 19:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64906              Joshua Collins Dismissal with Prejudice 2001.pdf      249427      1/20/2021 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64906              Joshua Collins SSN Verification.pdf                   313906      1/20/2021 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64906              Life Contingent Medical Addendum.pdf                  218407       1/6/2021 19:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64906              List of Dependents.pdf                                195514       1/6/2021 19:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64906              Notice of Assignment.pdf                               86906       1/6/2021 19:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64906              Pleadings.pdf                                         788139       1/6/2021 19:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64906              Power of Attorney.pdf                                 184017       1/6/2021 19:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64906              Proof of Service.pdf                                  198344       1/6/2021 19:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64906              Purchase Contract.pdf                               1084983        1/6/2021 19:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64906              Qualified Assignement.pdf                             428917       1/6/2021 19:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64906              Request For Acknowledgement.pdf                       108490       1/6/2021 19:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64906              Searches.pdf                                        1400454        1/6/2021 19:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64906              Structured Settlement Questionaire.pdf                269603       1/6/2021 19:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64906              UCC Financing.pdf                                     140158       1/6/2021 19:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64906              Waiver of IPA.pdf                                     196934       1/6/2021 19:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64918              64918 Savage, Tanya.tv5                                10396      10/9/2024 17:35




                                                              1555
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                                       3467



               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64918              67559_16_FinalPackage.pdf                     11623525       10/5/2020 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64918              Application.pdf                                  248513       1/6/2021 21:39
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64918              Information.pdf                                  250082       1/6/2021 21:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64918              Authorization to Release Information.pdf         167636       1/6/2021 21:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64918              Benefits Letter.pdf                               82272       1/6/2021 21:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64918              Certificate of Service.pdf                        78331       1/6/2021 21:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64918              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64918              Credit Report.pdf                                 76371       1/6/2021 21:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64918              Disclosure - ME.pdf                              167326       1/6/2021 21:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64918              Divorce.pdf                                      138698       1/6/2021 21:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64918              Drivers License.pdf                            1621480        1/6/2021 21:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64918              Fasano Report.pdf                                274692       1/6/2021 21:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64918              Life Contingent Medical Addendum.pdf             233939       1/6/2021 21:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64918              List of Dependents.pdf                           161811       1/6/2021 21:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64918              NASP Search.pdf                                   87528       1/6/2021 21:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64918              Notice of Assignment.pdf                          95117       1/6/2021 21:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64918              Power of Attorney.pdf                            170106       1/6/2021 21:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64918              Purchase Agreement.pdf                           827015       1/6/2021 21:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64918              Qualified Assignement.pdf                        256761       1/6/2021 21:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64918              Request For Acknowledgement.pdf                  117861       1/6/2021 21:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64918              Searches.pdf                                   4931155        1/6/2021 21:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64918              Settlement Agreement.pdf                         383126       1/6/2021 21:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64918              Structured Settlement Questionaire.pdf           244941       1/6/2021 21:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64918              UCC Financing.pdf                                158228       1/6/2021 21:39




                                                             1556
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                                       3467



               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64924              64924 Lopez, Rebecca.tv5                          10208      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64924              76320_6_FinalPackage.pdf                      11779987       10/9/2020 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64924              Annuity Contract.pdf                             102766       1/5/2021 14:25
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64924              Information.pdf                                2084907        1/5/2021 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64924              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64924              Court Order.pdf                                  357769       1/5/2021 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64924              Credit Report.pdf                                 76122       1/5/2021 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64924              Divorce.pdf                                    3620671        1/5/2021 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64924              Fasano.pdf                                       277929       1/5/2021 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64924              IPA.pdf                                          335412       1/5/2021 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64924              Medical Addendum.pdf                             423071       1/5/2021 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64924              Name Change.pdf                                  287556       1/5/2021 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64924              Proof of Service.pdf                             233283       1/5/2021 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64924              Purchase Agreement.pdf                         1374028        1/5/2021 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64924              Qualified Assignment.pdf                         123646       1/5/2021 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64924              Questionnaire.pdf                              1077168        1/5/2021 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64924              Searches.pdf                                   1064655        1/5/2021 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64924              Seller Identification.pdf                        237503       1/5/2021 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64924              Settlement Agreement.pdf                         197348       1/5/2021 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64928              64928 Silva, Rosalinda.tv5                        10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64928              852052_4_FinalPackage.pdf                     10651403      10/12/2020 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64928              Annuity Contract.pdf                             207443       1/7/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64928              Application.pdf                                  408505       1/7/2021 13:05
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64928              Information.pdf                                  342962       1/7/2021 13:05




                                                              1557
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                                       3467



               All Paths/Locations                                  Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64928              Change of Beneficiary.pdf                         78061       1/7/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64928              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64928              Court Order.pdf                                1784149        1/7/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64928              Credit Report.pdf                                 83540       1/7/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64928              Disclosure - CT.pdf                              108541       1/7/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64928              Disclosure - TX.pdf                              142434       1/7/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64928              Fasano.pdf                                       270037       1/7/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64928              IPA.pdf                                          215542       1/7/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64928              Marriage License.pdf                             527342       1/7/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64928              Medical Addendum.pdf                             216155       1/7/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64928              Prior Court Orders.pdf                           270128       1/7/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64928              Proof of Service.pdf                             237145       1/7/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64928              Purchase Agreement.pdf                           593895       1/7/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64928              Qualified Assignment.pdf                         143192       1/7/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64928              Questionnaire.pdf                                318144       1/7/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64928              Searches.pdf                                   1283369        1/7/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64928              Seller Identification.pdf                        170137       1/7/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64928              Settlement Agreement.pdf                         606300       1/7/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64930              64930 Arellano, Jose.tv5                          10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64930              89792_2_FinalPacket.pdf                       15865081      10/22/2020 17:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64930              Application.pdf                                  563234       1/8/2021 15:33
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64930              Information.pdf                                4105168        1/8/2021 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64930              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64930              Drivers License.pdf                              866410       1/8/2021 15:33




                                                              1558
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1560 of
                                       3467



               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64930              Fasano Report.pdf                                236678       1/8/2021 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64930              Medical Addendum.pdf                             664633       1/8/2021 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64930              Purchase Agreement.pdf                         5407627        1/8/2021 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64930              Questionnaire.pdf                              1754712        1/8/2021 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64930              Searches.pdf                                     533274       1/8/2021 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64930              UCC.pdf                                          199243       1/8/2021 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64930              Waiver of Annuity.pdf                            335782       1/8/2021 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64933              64933 Nary, Walter.tv5                            10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64933              987917_2_FinalPackage.pdf                      9884473       9/29/2020 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64933              Annuity Contract.pdf                             142996        1/8/2021 6:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64933              Application.pdf                                  208256        1/8/2021 6:59
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64933              Information.pdf                                  349820        1/8/2021 6:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64933              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64933              Court Order.pdf                                  278098        1/8/2021 6:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64933              Credit Report.pdf                                 75759        1/8/2021 6:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64933              Dependents.pdf                                   180706        1/8/2021 6:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64933              Divorce.pdf                                       97642        1/8/2021 6:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64933              IPA.pdf                                          199923        1/8/2021 6:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64933              Medical Addendum.pdf                             206234        1/8/2021 6:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64933              Objection to Transfer.pdf                         97683        1/8/2021 6:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64933              Prior Court Orders.pdf                           911986        1/8/2021 6:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64933              Purchase Agreement.pdf                           769899        1/8/2021 6:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64933              Questionnaire.pdf                                304244        1/8/2021 6:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64933              Searches.pdf                                   3948363         1/8/2021 6:59




                                                             1559
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                                       3467



               All Paths/Locations                                  Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64933              Seller Identification.pdf                      2885358         1/8/2021 6:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64933              Settlement Agreement.pdf                         623467        1/8/2021 6:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64938              151539_6_FinalPackage.pdf                      9600711      11/13/2020 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64938              64938 Witko, Christopher.tv5                      10212      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64938              Annuity Contract.pdf                             590505       1/7/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64938              Application.pdf                                  505416       1/7/2021 12:48
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64938              Information.pdf                                  356709       1/7/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64938              Benefits Letter.pdf                              431829       1/7/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64938              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64938              Court Order.pdf                                3217507        1/7/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64938              Credit Report.pdf                                 74569       1/7/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64938              Disclosure - LA.pdf                              371084       1/7/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64938              Fasano.pdf                                       138718       1/7/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64938              IPA.pdf                                          106197       1/7/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64938              Medical Addendum.pdf                             217591       1/7/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64938              Objection to Transfer Petition.pdf                97028       1/7/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64938              Proof of Service.pdf                             137674       1/7/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64938              Purchase Agreement.pdf                           536915       1/7/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64938              Questionnaire.pdf                                226492       1/7/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64938              Searches.pdf                                     882448       1/7/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64938              Seller Identification.pdf                        247175       1/7/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64938              Settlement Agreement.pdf                         960510       1/7/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64939              1587647_3_FinalPackage.pdf                     6774438      10/28/2020 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64939              64939 Blowers, Michael.tv5                        10022      10/9/2024 17:31




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                                       3467



               All Paths/Locations                                   Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64939              Annuity Contract 64939.pdf                       817342      10/9/2024 21:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64939              Application.pdf                                  109611       1/5/2021 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64939              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64939              Court Order.pdf                                1863169        1/5/2021 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64939              Credit Report.pdf                                 72104       1/5/2021 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64939              Disclosure - NY.pdf                              222467       1/5/2021 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64939              Docusign .pdf                                    179712       1/5/2021 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64939              Drivers License.pdf                              261498       1/5/2021 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64939              Fasano.pdf                                       220486       1/5/2021 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64939              Infants Compromise.pdf                           713162      10/9/2024 21:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64939              Life Contingent Medical Addendum .pdf            141994       1/5/2021 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64939              Proof of Service.pdf                             137403       1/5/2021 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64939              Purchase Agreement.pdf                         1663747        1/5/2021 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64939              Questionnaire.pdf                                153516       1/5/2021 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64939              Request For Acknowledgement.pdf                   79748       1/5/2021 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64939              Searches.pdf                                     568047       1/5/2021 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64939              Seller Affidavit.pdf                             343146       1/5/2021 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64939              Submission Package .pdf                           92782       1/5/2021 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              1600819_5_FinalPackage.pdf                     7423756       11/9/2020 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              64940 McIntire, Michelle.tv5                      10265      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              Affidavit of Return.pdf                          387002       1/7/2021 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              Application.pdf                                  137145       1/7/2021 20:13
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64940              Information.pdf                                  168877       1/7/2021 20:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              Bankruptcy.pdf                                   326474       1/7/2021 20:14




                                                              1561
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1563 of
                                       3467



               All Paths/Locations                                 Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              Benefits Letter.pdf                               92677        1/7/2021 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              Confirmation JGW Tranche C up08-04-2022.pdf      650209        8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              Consumer Disclosure.pdf                          224884        1/7/2021 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              Court Order.pdf                                  381168        1/7/2021 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              Credit Report.pdf                                 70632        1/7/2021 20:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              Disclosure - OH.pdf                              110260        1/7/2021 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              Drivers License.pdf                              131832        1/7/2021 20:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              Fasano Report.pdf                                239894        1/7/2021 20:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              Funding Documents.pdf                            277134        1/7/2021 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              LC Medical Addendum.pdf                          144200        1/7/2021 20:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              Notice of Sale.pdf                                87910        1/7/2021 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              Proof of Delivery.pdf                          1977296         1/7/2021 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              Purchase Agreement.pdf                         2452493         1/7/2021 20:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              Questionnaire.pdf                                155307        1/7/2021 20:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              Request For Acknowledgement.pdf                  100326        1/7/2021 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              Searches.pdf                                     682808        1/7/2021 20:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              Settlement Agreement.pdf                         667604        1/7/2021 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              Signing Fee.pdf                                  147369        1/7/2021 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              Submission Package.pdf                            75069        1/7/2021 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              Verbal Confirmation.pdf                           77018        1/7/2021 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64940              W-9.pdf                                          195043        1/7/2021 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64941              1617754_2_FinalPackage.pdf                    10518040        11/3/2020 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64941              image001.png                                        4348
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64941              Copy of 1617754.xlsm                             724706        11/3/2020 9:41




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                                       3467



               All Paths/Locations                                Unified Title             File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64941              image002.png                                        8182
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64941              image006.png                                      14599
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64941              image007.png                                        1590
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64941              image008.png                                        1831
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64941              image009.png                                        1687
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64941              image001.png                                      26439
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64941              64941 Hall, Richard.tv5                           10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64941              Annuity Contract.pdf                             475815        1/7/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64941              Application.pdf                                  415317        1/7/2021 11:48
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64941              Information.pdf                                  300418        1/7/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64941              Confirmation JGW Tranche C up08-04-2022.pdf      650209        8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64941              Court Order.pdf                                2426693         1/7/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64941              Credit Report.pdf                                 75730        1/7/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64941              Divorce.pdf                                      106014        1/7/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64941              Fasano.pdf                                       274452        1/7/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64941              IPA.pdf                                          200437        1/7/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64941              Medical Addendum.pdf                             236028        1/7/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64941              Proof of Service.pdf                             103536        1/7/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64941              Purchase Agreement.pdf                           396241        1/7/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64941              Searches.pdf                                   1175858         1/7/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64941              Settlement Agreement.pdf                         748328        1/7/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64945              1719424_3_FinalPackage.pdf                     4521307       10/19/2020 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64945              64945 Migot, Joshua.tv5                           10685       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64945              Application.pdf                                  300132        1/7/2021 14:17




                                                             1563
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1565 of
                                       3467



               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64945              Information.pdf                                  309090       1/7/2021 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64945              Bankruptcy Search .pdf                           269962       1/7/2021 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64945              Benefit Letter.pdf                                33763      1/14/2021 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64945              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64945              Court Order.pdf                                  594147       1/7/2021 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64945              Credit Report.pdf                                 78366       1/7/2021 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64945              Disclosure - PA.pdf                              277172       1/7/2021 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64945              Drivers License.pdf                              509230       1/7/2021 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64945              Fasano Report.pdf                                275764       1/7/2021 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64945              Joshua Mignot Acknowledgment.pdf                  61043      2/26/2021 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64945              Purchase Agreement.pdf                           514657       1/7/2021 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64945              Questionnaire.pdf                                368031       1/7/2021 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64945              Searches.pdf                                     245373       1/7/2021 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64945              Seller Affidavit.pdf                             262679       1/7/2021 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64945              Ucc Search.pdf                                   400953       1/7/2021 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64946              217690_3_FinalPackage.pdf                      6914212       11/9/2020 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64946              64946 Walls, Roy.tv5                              10015      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64946              Application.pdf                                  297894       1/7/2021 14:58
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64946              Information.pdf                                  339970       1/7/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64946              Bankruptcy Search.pdf                            239413       1/7/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64946              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64946              Court Order.pdf                                  952249       1/7/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64946              Credit Report.pdf                                 73049       1/7/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64946              Disclosure TX.pdf                                107030      1/14/2021 13:11




                                                               1564
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1566 of
                                       3467



               All Paths/Locations                                  Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64946              Divorce.pdf                                      214135       1/7/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64946              Drivers License.pdf                              542315       1/7/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64946              Fasano Report.pdf                                136746       1/7/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64946              Proof of Service.pdf                             278981       1/7/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64946              Purchase Agreement.pdf                           338900       1/7/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64946              Qualified Assignement.pdf                        176367       1/7/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64946              Questionnaire.pdf                                310350       1/7/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64946              Searches.pdf                                     400413       1/7/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64946              UCC Search .pdf                                  419962       1/7/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64950              277333_6_FinalPackage.pdf                      7286537      11/17/2020 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64950              64950 Mendez, Jovita.tv5                          10260      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64950              Application.pdf                                  336189       1/7/2021 21:53
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64950              Information.pdf                                  302717       1/7/2021 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64950              Bankruptcy Search.pdf                            155399       1/7/2021 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64950              Benefits Letter.pdf                              293969       1/7/2021 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64950              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64950              Consumer Disclosure.pdf                          163527       1/7/2021 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64950              Court Order-.pdf                                 514446      10/9/2024 20:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64950              Credit Report.pdf                                 74535       1/7/2021 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64950              Disclosure - TX.pdf                              176342       1/7/2021 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64950              Fasano Report.pdf                                862067       1/7/2021 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64950              LC Medical Addendum.pdf                          221406       1/7/2021 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64950              NASP Search.pdf                                  146005       1/7/2021 21:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64950              Notice of Sale.pdf                                96973       1/7/2021 21:53




                                                             1565
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1567 of
                                       3467



               All Paths/Locations                                  Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64950              Proof of Domicile.pdf                            822450       1/7/2021 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64950              Purchase Agreement.pdf                         2609081        1/7/2021 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64950              Questionnaire.pdf                                330575       1/7/2021 21:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64950              Request For Acknowledgement.pdf                  179528       1/7/2021 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64950              Searches.pdf                                     611601       1/7/2021 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64950              Seller Identification.pdf                        127256       1/7/2021 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64950              Settlement Agreement.pdf                         324617       1/7/2021 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64950              Stipulation.pdf                                  823481       1/7/2021 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64950              Submission Package.pdf                            76328       1/7/2021 21:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64951              300681_3_FinalPackage.pdf                      7469724      10/28/2020 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64951              64951 Shelton, Christopher.tv5                    10024      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64951              Annuity Contract.pdf                           1246858        1/7/2021 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64951              Application.pdf                                  315794       1/7/2021 16:49
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64951              Information.pdf                                  357896       1/7/2021 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64951              Bankruptcy Search .pdf                           309978       1/7/2021 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64951              Benefits Letter.pdf                              105918       1/7/2021 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64951              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64951              Court Order.pdf                                  192812       1/7/2021 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64951              Credit Report.pdf                                 74013       1/7/2021 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64951              Disclosure - FL.pdf                              328283       1/7/2021 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64951              Drivers License.pdf                              309588       1/7/2021 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64951              PI Docket.pdf                                  1017789       1/14/2021 16:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64951              Pleadings.pdf                                    249149       1/7/2021 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64951              Purchase Agreement.pdf                           292294       1/7/2021 16:49




                                                                1566
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                                       3467



               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64951              Questionnaire.pdf                                357456       1/7/2021 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64951              Searches.pdf                                     322885       1/7/2021 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64951              UCC Search.pdf                                   108972       1/7/2021 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64952              305794_2_FinalPackage.pdf                     23263142      10/28/2020 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64952              image001.png                                      24950
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64952              64952 Carpenter, Marvin.tv5                       11723      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64952              Application.pdf                                1180937        1/7/2021 17:16
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64952              Information.pdf                                4433178        1/7/2021 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64952              Bankruptcy Search.pdf                            265398       1/7/2021 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64952              Benefits Letter.pdf                              108923       1/7/2021 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64952              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64952              Court Order.pdf                                1872824        1/7/2021 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64952              Credit Report.pdf                                 72813       1/7/2021 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64952              Disclosure - VA.pdf                              549649       1/7/2021 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64952              Divorce.pdf                                      939604       1/7/2021 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64952              Drivers License.pdf                              425502       1/7/2021 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64952              Fasano Report.pdf                                137146       1/7/2021 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64952              Purchase Agreement.pdf                         5494866        1/7/2021 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64952              Questionnaire.pdf                              3255373        1/7/2021 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64952              Searches.pdf                                   1213537        1/7/2021 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64952              Settlement Agreement.pdf                         382285       1/7/2021 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64952              Stipulation.pdf                                  301587       1/7/2021 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64952              UCC Search .pdf                                  394709       1/7/2021 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64952              W9.pdf                                           731436       1/7/2021 17:16




                                                                1567
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                                       3467



               All Paths/Locations                                  Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64954              329719_3_FinalPackage.pdf                     17619439      11/16/2020 22:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64954              64954 Carver, Vernon.tv5                          10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64954              Application.pdf                                  293003       1/8/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64954              Benefits Letter.pdf                               86503       1/8/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64954              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64954              Court Order.pdf                                3262001        1/8/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64954              Credit Report.pdf                                 74757       1/8/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64954              Divorce.pdf                                      850523       1/8/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64954              Fasano.pdf                                       271869       1/8/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64954              HIPAA.pdf                                        362063       1/8/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64954              Purchase Agreement.pdf                           293363       1/8/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64954              Questionnaire.pdf                                542984       1/8/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64954              Request For Acknowledgement.pdf                  148727       1/8/2021 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64954              Searches.pdf                                   1574151        1/8/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64954              Seller Identification.pdf                      3805882        1/8/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64954              Settlement Agreement.pdf                       2203336        1/8/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64954              Vernon Carver SSC.pdf                            681206      1/27/2021 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64958              367595_1_FinalPackage.pdf                     12876723       11/2/2020 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64958              64958 Haqq, Ameen.tv5                             10014      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64958              Application.pdf                                   67324       1/8/2021 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64958              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64958              Court Order.pdf                                1981058        1/8/2021 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64958              Disclosure - TX.pdf                               33299       1/8/2021 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64958              Driver License.pdf                             1401144        1/8/2021 17:14




                                                              1568
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                                       3467



               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64958              Fasano.pdf                                       234663       1/8/2021 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64958              HIPPA.pdf                                        153623       1/8/2021 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64958              Letter of Benefits.pdf                            34488       1/8/2021 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64958              Life Contingent Medical Addedum.pdf               51308       1/8/2021 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64958              Purchase Agreement.pdf                         9027977       1/20/2021 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64958              Searches.pdf                                   7920344        1/8/2021 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64958              Settlement Agreement.pdf                         770746       1/8/2021 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64958              Stipulation.pdf                                  398574       1/8/2021 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64959              368264_1_FinalPackage.pdf                     22346296      11/16/2020 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64959              64959 Ward, Patricia.tv5                          10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64959              Amended Purchase Agreement.pdf                 4839335        1/8/2021 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64959              Annuity Contract.pdf                             958257       1/8/2021 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64959              Application.pdf                                  887613       1/8/2021 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64959              Benefits Letter.pdf                               74654       1/8/2021 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64959              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64959              Court Order.pdf                                  302927       1/8/2021 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64959              Disclosure - NY.pdf                              624760       1/8/2021 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64959              Fasano Report.pdf                                162814       1/8/2021 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64959              HIPPA.pdf                                      1509478       1/20/2021 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64959              Patricia Ward Increase to PP.pdf                  51385      1/28/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64959              Pleadings.pdf                                  1401971        1/8/2021 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64959              Purchase Agreement.pdf                         2447938        1/8/2021 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64959              Qualified Assignement.pdf                        144898       1/8/2021 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64959              Searches.pdf                                   1586478        1/8/2021 14:15




                                                                1569
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                                       3467



               All Paths/Locations                                Unified Title             File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64959              Stipulation.pdf                                2530993         1/8/2021 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64960              374340_3_FinalPackage.pdf                      9565000        11/5/2020 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64960              image001.png                                        4275
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64960              64960 Edwards, Jujuan.tv5                         10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64960              Application.pdf                                  293592        1/8/2021 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64960              Benefits Letter.pdf                              395604        1/8/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64960              Confirmation JGW Tranche C up08-04-2022.pdf      650209        8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64960              Court Order.pdf                                1447848         1/8/2021 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64960              Disclosure - VA.pdf                              208567        1/8/2021 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64960              Divorce.pdf                                    1732398         1/8/2021 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64960              Drivers License.pdf                              398531        1/8/2021 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64960              Fasano Report.pdf                                139176        1/8/2021 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64960              HIPPA.pdf                                        250631       1/20/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64960              Order Approving Settlement.pdf                   214136        1/8/2021 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64960              Purchase Agreement.pdf                           384416        1/8/2021 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64960              Searches.pdf                                   1275700         1/8/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64960              Settlement Agreement.pdf                         333629        1/8/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64962              403223_1_FinalPackage.pdf                     12138796       11/17/2020 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64962              64962 Infiesta, Robert.tv5                        10021       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64962              Application.pdf                                  432660        1/7/2021 10:23
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64962              Information.pdf                                  350256        1/7/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64962              Bankruptcy.pdf                                   214787        1/7/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64962              Benefits Letter.pdf                              283476        1/7/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64962              Confirmation JGW Tranche C up08-04-2022.pdf      650209        8/4/2022 13:35




                                                                1570
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1572 of
                                       3467



               All Paths/Locations                                   Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64962              Court Order.pdf                                  135241       1/7/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64962              Credit Report.pdf                                 74571       1/7/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64962              Disclosure - FL.pdf                              150319       1/7/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64962              Disclosure - NY.pdf                              155141       1/7/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64962              Divorce.pdf                                    4926412        1/7/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64962              Fasano.pdf                                       137322       1/7/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64962              IPA.pdf                                          878693       1/7/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64962              Medical Addendum.pdf                             214437       1/7/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64962              Proof of Service.pdf                             103161       1/7/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64962              Purchase Agreement.pdf                           538766       1/7/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64962              Questionnaire.pdf                                269527       1/7/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64962              Searches.pdf                                   2102874        1/7/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64962              Seller Affidavit.pdf                              82017       1/7/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64962              Seller Identification.pdf                        269743       1/7/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64962              Stipulation.pdf                                  468120       1/7/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64966              489071_1_FinalPackage.pdf                     11980987      11/13/2020 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64966              64966 Scott, Tarell.tv5                           10259      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64966              Annuity Contract.pdf                             347403       1/5/2021 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64966              Application.pdf                                  309688       1/5/2021 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64966              Benefits Letter.pdf                              213783       1/5/2021 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64966              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64966              Court Order.pdf                                  299712       1/5/2021 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64966              Cover Letters.pdf                                107831       1/5/2021 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64966              Disclosure - NY.pdf                              278333       1/5/2021 14:09




                                                                1571
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1573 of
                                       3467



               All Paths/Locations                                   Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64966              DocuSign .pdf                                    218631       1/5/2021 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64966              Fasano.pdf                                       147542       1/5/2021 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64966              Life Contingent Medical Addendum .pdf            192147       1/5/2021 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64966              Objection to Amended Petition .pdf               103567       1/5/2021 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64966              Purchase Agreement.pdf                         6006571        1/5/2021 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64966              Qualified Assignement.pdf                        634077       1/5/2021 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64966              Questionnaire.pdf                                223426       1/5/2021 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64966              Request For Acknowledgement.pdf                  138520       1/5/2021 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64966              Searches.pdf                                     690347       1/5/2021 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64966              Seller Affidavit.pdf                             647306       1/5/2021 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64966              Seller Identification.pdf                        620994       1/5/2021 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64966              Settlement Agreement.pdf                       1083105        1/5/2021 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64966              Submission Package .pdf                          106603       1/5/2021 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64968              2007 Benefits Letter.pdf                          83563       1/7/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64968              540880_1_FinalPackage.pdf                      5741282      10/29/2020 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64968              64968 Lowerre, Franklin.tv5                       10209      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64968              Application.pdf                                  243695       1/7/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64968              Bankruptcy Search.pdf                            282597       1/7/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64968              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64968              Court Order.pdf                                  247015       1/7/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64968              Credit Report.pdf                                 72078       1/7/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64968              Disclosure - PA.pdf                              199171       1/7/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64968              DocusSign Cert.pdf                               227383       1/7/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64968              Drivers License.pdf                              163523       1/7/2021 15:39




                                                              1572
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1574 of
                                       3467



               All Paths/Locations                                   Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64968              Fasano Report.pdf                                288674       1/7/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64968              Medical Questionnaire.pdf                        303955       1/7/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64968              NASP.pdf                                          72837       1/7/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64968              Notice of Sale.pdf                                90753       1/7/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64968              Purchase Agreement.pdf                           363969       1/7/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64968              Request For Acknowledgement.pdf                  645020       1/7/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64968              Searches.pdf                                     619552       1/7/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64968              Seller Affidavit.pdf                             193370       1/7/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64968              Settlement Agreement.pdf                         173533       1/7/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64968              Stipulation.pdf                                1123709        1/7/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64968              Submission Form.pdf                               84603       1/7/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64968              UCC Search.pdf                                   402585       1/7/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64968              Verification.pdf                                  66966       1/7/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              546058_2_FinalPackage.pdf                     16245277      11/18/2020 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              64969 Franklin, Lu.tv5                            10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              Annuity Contract.pdf                           1018151         1/8/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              Application.pdf                                  319147        1/8/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              Authorizations.pdf                               115557        1/8/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              Bankruptcy Search.pdf                            309761        1/8/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              Benefits Letter.pdf                              123773        1/8/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              Court Order.pdf                                  360332        1/8/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              Credit Report.pdf                                 75499        1/8/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              Disclosure - MI.pdf                              163112        1/8/2021 9:16




                                                                1573
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                                       3467



               All Paths/Locations                                   Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              Divorce Docs.pdf                                 356353        1/8/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              DocuSign Certs.pdf                               453433        1/8/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              Drivers License.pdf                              183307        1/8/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              Fasano Report.pdf                                275981        1/8/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              HIPAA.pdf                                        580579        1/8/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              Medical Addendum.pdf                             345890        1/8/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              Medical Questionnaire.pdf                        628864        1/8/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              Name Addendum.pdf                                140861        1/8/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              Partial Pleadings.pdf                            279732        1/8/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              Purchase Agreement.pdf                           334172        1/8/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              Request For Acknowledgement.pdf                  108497        1/8/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              Searches.pdf                                     712937        1/8/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              Seller Affidavit.pdf                             145141        1/8/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              Settlement Agreement.pdf                       9314526         1/8/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              Submission Form.pdf                               72751        1/8/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64969              UCC Search.pdf                                   418229        1/8/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64970              546178_3_FinalPackage.pdf                      4272309      11/16/2020 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64970              64970 Pyles, Thomas.tv5                           10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64970              Annuity Contract.pdf                             152970       1/8/2021 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64970              Application.pdf                                  278674       1/8/2021 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64970              Authorizations.pdf                               191656       1/8/2021 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64970              Bankruptcy Search.pdf                            759434       1/8/2021 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64970              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64970              Court Order.pdf                                  282951       1/8/2021 10:03




                                                              1574
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                                       3467



               All Paths/Locations                                 Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64970              Credit Report.pdf                                 77532       1/8/2021 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64970              DocuSign Cert.pdf                                157903       1/8/2021 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64970              Drivers License.pdf                              342106       1/8/2021 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64970              Fasano Report.pdf                                136630       1/8/2021 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64970              Full and Final Release of All Claims.pdf         323520       1/8/2021 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64970              HIPAA.pdf                                        319491       1/8/2021 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64970              Medical Addendum.pdf                             204168       1/8/2021 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64970              Medical Questionnaire.pdf                        303529       1/8/2021 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64970              Notice of Sale.pdf                                90113       1/8/2021 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64970              Purchase Agreement.pdf                           555687       1/8/2021 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64970              Report of Guardian ad Litem.pdf                  172819       1/8/2021 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64970              Request For Acknowledgement.pdf                  142947       1/8/2021 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64970              Searches.pdf                                     297753       1/8/2021 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64970              Submission Form.pdf                               84672       1/8/2021 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64970              UCC Search.pdf                                   123152       1/8/2021 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64971              546295_13_FinalPackage.pdf                    12309881      11/18/2020 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64971              64971 Jordan, Christopher.tv5                     10212      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64971              Acknowledgement.pdf                               93673        1/7/2021 7:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64971              Annuity Contract.pdf                             272491        1/7/2021 7:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64971              Application.pdf                                1068516         1/7/2021 7:02
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64971              Information.pdf                                4148483         1/7/2021 7:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64971              Benefits Letter.pdf                              103450        1/7/2021 7:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64971              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64971              Court Order.pdf                                  346346        1/7/2021 7:02




                                                             1575
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1577 of
                                       3467



               All Paths/Locations                                  Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64971              Credit Report.pdf                                 76439        1/7/2021 7:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64971              Disclosure - FL.pdf                              404985        1/7/2021 7:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64971              IPA.pdf                                          431246        1/7/2021 7:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64971              Medical Addendum.pdf                             797648        1/7/2021 7:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64971              Objection to Transfer.pdf                         96224        1/7/2021 7:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64971              Proof of Service.pdf                             188901        1/7/2021 7:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64971              Purchase Agreement.pdf                         1305098         1/7/2021 7:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64971              Qualified Assignment.pdf                         194106        1/7/2021 7:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64971              Questionnaire.pdf                              2211378         1/7/2021 7:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64971              Searches.pdf                                     513783        1/7/2021 7:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64971              Seller Identification.pdf                        230797        1/7/2021 7:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64971              Settlement Agreement.pdf                         484717        1/7/2021 7:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              576930_10_FinalPackage.pdf                     6280225      10/27/2020 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              64974 Stabler, Wilmer.tv5                         10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              Annuity Contract.pdf                             131479       1/8/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              Application.pdf                                  215916       1/8/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              Authorizations.pdf                               190525       1/8/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              Bankruptcy Search .pdf                           237780       1/8/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              Benefits Letter.pdf                              139105       1/8/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              Court Order.pdf                                  239507       1/8/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              Credit Report.pdf                                 89155       1/8/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              Disclosure - AL.pdf                              171181       1/8/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              Disclosure - CT.pdf                              171147       1/8/2021 10:45




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                                       3467



               All Paths/Locations                                  Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              DocuSign Certs.pdf                                    253865       1/8/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              Fasano Report.pdf                                     296212       1/8/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              HIPAA.pdf                                             319155       1/8/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              Medical Addendum.pdf                                  228633       1/8/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              Medical Questionnaire.pdf                             313320       1/8/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              Notice of Sale.pdf                                     90342       1/8/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              Purchase Agreement.pdf                                867181       1/8/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              Release and Settlement Agreement.pdf                  211396       1/8/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              Request For Acknowledgement.pdf                       143181       1/8/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              Searches.pdf                                          279121       1/8/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              Seller Identification.pdf                           2144490        1/8/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              Submission Form.pdf                                    85442       1/8/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64974              UCC Search.pdf                                        472985       1/8/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64975              580603_5_FinalPackage.pdf                           6379515      11/10/2020 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64975              64975 Whitten, Lori.tv5                                12446      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64975              Application.pdf                                       106841       1/6/2021 15:58
Saiph consulting|\Audit Materials Received-   Authorization for Disclosure of Protected Health
SuttonPark\Closing Binders\64975              Information.pdf                                       266040       1/15/2021 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64975              Benefits Letter.pdf                                    83758       1/6/2021 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64975              Confirmation JGW Tranche C up08-04-2022.pdf           650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64975              Court Order.pdf                                       178099       1/6/2021 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64975              Credit Report.pdf                                      73885       1/6/2021 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64975              Disclosure - AL.pdf                                   107591       1/6/2021 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64975              Disclosure - CT.pdf                                   104114       1/6/2021 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64975              Drivers License.pdf                                   215437       1/6/2021 15:58




                                                              1577
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1579 of
                                       3467



               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64975              Fasano.pdf                                       137321       1/6/2021 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64975              Life Contingent Medical Addendum .pdf            106180       1/6/2021 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64975              Proof of Service.pdf                           2101166        1/6/2021 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64975              Purchase Agreement.pdf                         1458864        1/6/2021 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64975              Qualified Assignement.pdf                        109635       1/6/2021 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64975              Questionnaire.pdf                                179466       1/6/2021 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64975              Request For Acknowledgement.pdf                  131317       1/6/2021 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64975              Searches.pdf                                   2026282        1/6/2021 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64975              Settlement Agreement.pdf                         246998       1/6/2021 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64975              SSN Verification.pdf                              99194       1/15/2021 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64975              Submission Package .pdf                          103381       1/6/2021 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64978              616321_1_FinalPackage.pdf                     26794406       11/6/2020 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64978              64978 Allen, Anthony.tv5                          10208      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64978              64978 binder.pdf                              26794406       11/6/2020 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64978              Application.pdf                                1666376        1/8/2021 20:46
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64978              Information.pdf                                4433041        1/8/2021 20:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64978              Benefits Letter.pdf                               96875       1/8/2021 20:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64978              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64978              Court Order.pdf                                9077224        1/8/2021 20:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64978              Credit Report.pdf                                 74493       1/8/2021 20:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64978              Disclosure - MA.pdf                              157644       1/8/2021 20:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64978              Disclosure - MI.pdf                              157640       1/8/2021 20:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64978              Disclosure - PA.pdf                              158687       1/8/2021 20:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64978              Divorce.pdf                                      893148       1/8/2021 20:46




                                                             1578
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1580 of
                                       3467



               All Paths/Locations                                   Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64978              Docusign cert.pdf                                291328       1/8/2021 20:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64978              Drivers License.pdf                              109838       1/8/2021 20:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64978              Fasano.pdf                                       299042       1/8/2021 20:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64978              Life Contingent Medical Addendum.pdf             779755       1/8/2021 20:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64978              Purchase Agreement.pdf                           889598       1/8/2021 20:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64978              Questionnaire.pdf                              2220420        1/8/2021 20:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64978              Searches.pdf                                   1506040        1/8/2021 20:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64978              Seller Affidavit.pdf                             270974       1/8/2021 20:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64978              Settlement Agreement Documents.pdf             3142877        1/8/2021 20:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64978              SSN Verification.pdf                              92512      1/14/2021 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64978              W9.pdf                                           206774       1/8/2021 20:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64982              64982 Jones, Johnny.tv5                           10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64982              663785_3_FinalPackage.pdf                     15060532      10/28/2020 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64982              Application.pdf                                  323709       1/6/2021 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64982              Benefits Letter.pdf                              105581       1/6/2021 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64982              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64982              Court Order.pdf                                1710062        1/6/2021 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64982              Disclosure - AL.pdf                              186783       1/6/2021 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64982              DocuSign .pdf                                    544421       1/6/2021 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64982              Fasano.pdf                                       137274       1/6/2021 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64982              Judgement.pdf                                  4105990        1/6/2021 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64982              Life Contingent Medical Addendum .pdf            206029       1/6/2021 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64982              Medical Questionnaire.pdf                        282676       1/6/2021 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64982              Prior Court Order.pdf                            351719       1/6/2021 20:22




                                                              1579
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1581 of
                                       3467



               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64982              Proof of Service.pdf                           2957793        1/6/2021 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64982              Purchase Agreement.pdf                           596627       1/6/2021 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64982              Request For Acknowledgement.pdf                  131268       1/6/2021 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64982              Searches.pdf                                   1547371        1/6/2021 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64982              Seller Identification.pdf                        314812       1/6/2021 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64982              SSN Verification.pdf                             102636      1/14/2021 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64982              Submission Package .pdf                          168754       1/6/2021 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64983              64983 Gerstenlauer, Christine.tv5                 10459      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64983              66493_6_FinalPackage.pdf                       7622196      11/16/2020 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64983              Annuity Contract.pdf                           4816042       1/15/2021 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64983              Application.pdf                                  291896       1/7/2021 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64983              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64983              Court Order.pdf                                  627741       1/7/2021 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64983              Disclosure - GA.pdf                              179217       1/7/2021 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64983              DocuSign .pdf                                    169290       1/7/2021 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64983              Fasano .pdf                                      279522       1/7/2021 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64983              HIPAA .pdf                                       300433       1/7/2021 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64983              Life Contingent Medical Addendum .pdf            218432       1/7/2021 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64983              Name Change Request .pdf                         314899       1/7/2021 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64983              Order for Judgment of Settlement.pdf             147976       1/15/2021 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64983              Purchase Agreement.pdf                           637282       1/7/2021 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64983              Questionnaire.pdf                                281325       1/7/2021 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64983              Searches.pdf                                     676852       1/7/2021 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64983              Seller Identification.pdf                        308841       1/7/2021 14:45




                                                              1580
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                                       3467



               All Paths/Locations                                  Unified Title           File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64983              Social Security Card.pdf                          28735       1/15/2021 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64983              Submission Package .pdf                          178383        1/7/2021 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              64984 Jamieson, Robert.tv5                        10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              670987_2_FinalPackage.pdf                      6414726       10/26/2020 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              image001.png                                        8506
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              Amended Motion for GAL.pdf                       297352        1/7/2021 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              Annuity Contract.pdf                              66719       1/15/2021 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              Application.pdf                                  254360        1/7/2021 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              Benefits Letter.pdf                               89477        1/7/2021 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              Confirmation JGW Tranche C up08-04-2022.pdf      650209        8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              Court Order.pdf                                  263961        1/7/2021 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              Credit Report.pdf                                 85025        1/7/2021 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              Death Certificate .pdf                           183637        1/7/2021 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              Disclosure - FL.pdf                              178123        1/7/2021 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              DocuSign .pdf                                    126484        1/7/2021 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              Drivers License.pdf                              367323        1/7/2021 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              Fasano .pdf                                      272820        1/7/2021 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              HIPAA.pdf                                        305640        1/7/2021 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              Life Contingent Medical Addendum .pdf            222714        1/7/2021 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              Purchase Agreement.pdf                           311227        1/7/2021 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              Questionnaire.pdf                                233679        1/7/2021 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              Searches.pdf                                     583689        1/7/2021 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              Settlement Agreement .pdf                        405654        1/7/2021 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              Settlement agreement and release.pdf             675372        1/7/2021 15:57




                                                              1581
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                                       3467



               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              Settlement Document .pdf                         517041       1/7/2021 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              SSN Verification.pdf                             102814      1/15/2021 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64984              Submission Package .pdf                          106717       1/7/2021 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64989              64989 Lamb, Bonny.tv5                             10015      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64989              78377_5_FinalPackage.pdf                       9253095      10/29/2020 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64989              Annuity Contract.pdf                             224826       1/7/2021 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64989              Application.pdf                                  303862       1/7/2021 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64989              Benefits Letter.pdf                              484666       1/7/2021 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64989              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64989              Court Order.pdf                                3294549        1/7/2021 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64989              Credit Report.pdf                                 79867       1/7/2021 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64989              Divorce.pdf                                      212049       1/7/2021 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64989              DocuSign .pdf                                    157957       1/7/2021 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64989              Drivers License.pdf                              353255       1/7/2021 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64989              Fasano .pdf                                      138186       1/7/2021 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64989              HIPAA.pdf                                        345996       1/7/2021 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64989              Life Contingent Medical Addendum .pdf            214188       1/7/2021 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64989              Name Change.pdf                                   87091       1/7/2021 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64989              Purchase Agreement.pdf                           569197       1/7/2021 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64989              Questionnaire.pdf                                242474       1/7/2021 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64989              Request For Acknowledgement.pdf                  139237       1/7/2021 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64989              Searches.pdf                                   1366538        1/7/2021 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64989              Settlement Agreement.pdf                       1398708        1/7/2021 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64989              Submission Package .pdf                          207584       1/7/2021 21:07




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                                       3467



               All Paths/Locations                                  Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64994              64994 Bowden, Trhave.tv5                          10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64994              90676_3_FinalPackage.pdf                       9600421      10/28/2020 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64994              Annuity Contract.pdf                             419399       1/8/2021 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64994              Application.pdf                                  388325       1/8/2021 10:25
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\64994              Information.pdf                                1039285        1/8/2021 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64994              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64994              Court Order.pdf                                2196109        1/8/2021 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64994              Credit Report.pdf                                 72468       1/8/2021 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64994              Disclosure - FL.pdf                              178883       1/8/2021 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64994              Fasano.pdf                                       249946       1/8/2021 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64994              IPA.pdf                                          151829       1/8/2021 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64994              Purchase Agreement.pdf                         1203102        1/8/2021 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64994              Questionnaire.pdf                                659530       1/8/2021 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64994              Searches.pdf                                   2556177        1/8/2021 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64994              Seller Identification.pdf                        258813       1/8/2021 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\64994              Settlement Agreement.pdf                         617165       1/8/2021 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65008              1696351_4_FinalPackage.pdf                    11963666      12/11/2020 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65008              65008 Maxwell, Walter.tv5                         10210      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65008              Application.pdf                                1035478        1/3/2021 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65008              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65008              Court Order.pdf                                  566851       1/3/2021 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65008              Disclosure - GA.pdf                              173430       1/3/2021 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65008              Fasano Report.pdf                                162157       1/3/2021 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65008              Purchase Agreement.pdf                           340964       1/3/2021 14:08




                                                              1583
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                                       3467



               All Paths/Locations                                  Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65008              Seller Identification.pdf                        344334       1/3/2021 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65008              Verification of Benefits.pdf                     371023       1/3/2021 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65009              1698534_3_FinalPackage.pdf                    18262209      12/15/2020 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65009              65009 Fields, Tommie.tv5                          11314      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65009              Application.pdf                                  339173       1/3/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65009              Benefits Letter.pdf                              300118       1/3/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65009              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65009              Court Order.pdf                                3265445        1/3/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65009              Disclosure - GA.pdf                              204336       1/3/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65009              Disclosure - OK.pdf                              211543       1/3/2021 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65009              Fasano Report.pdf                                162259       1/3/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65009              Purchase Agreement.pdf                         1787980        1/3/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65009              Seller Identification.pdf                        425172       1/3/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65009              Stipulation.pdf                                  709899       1/3/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65012              1778696_2_FinalPackage.pdf                     3491566       12/2/2020 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65012              65012 Cox, Stacy.tv5                              10445      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65012              Application.pdf                                  110223        1/4/2021 5:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65012              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65012              Court Order.pdf                                  140258        1/4/2021 5:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65012              Disclosure - FL.pdf                               87034        1/4/2021 5:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65012              Fasano Report.pdf                                144312        1/4/2021 5:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65012              Purchase Agreement.pdf                           149680        1/4/2021 5:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65012              Seller Identification.pdf                        274557        1/4/2021 5:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65012              Stacy Ann Cox SSN Verification.pdf               192957       1/5/2021 13:56




                                                                1584
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1586 of
                                       3467



               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65012              Verification of Benefits.pdf                     136679        1/4/2021 5:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65013              1790309_1_FinalPackage.pdf                    15999975      11/25/2020 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65013              65013 Wellman, Leanne.tv5                         10207      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65013              Application.pdf                                  287624        1/4/2021 6:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65013              Benefits Letter.pdf                              158673      1/13/2021 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65013              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65013              Court Order.pdf                                  391066        1/4/2021 6:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65013              Declaration.pdf                                  784477      1/13/2021 18:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65013              Disclosure - MI.pdf                              201998        1/4/2021 6:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65013              Disclosure MI - Amended.pdf                       47640      1/13/2021 18:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65013              Fasano Report.pdf                                137555        1/4/2021 6:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65013              HIPAA.pdf                                        533606      1/13/2021 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65013              Medical Questionnaire.pdf                        590736      1/13/2021 18:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65013              Pleadings.pdf                                  1813326       1/13/2021 18:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65013              Purchase Agreement.pdf                         6516814       1/13/2021 18:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65013              Searches.pdf                                     717447      1/13/2021 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65013              Seller Identification.pdf                      1372815         1/4/2021 6:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65019              248051_4_FinalPackage.pdf                     25866723       12/4/2020 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65019              65019 Connor, Lorri.tv5                           10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65019              Annuity Contract.pdf                             565353       1/5/2021 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65019              Application.pdf                                  263061       1/5/2021 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65019              Bankruptcy Search.pdf                            193555      1/17/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65019              Benefits Letter.pdf                              328727      1/17/2021 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65019              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35




                                                              1585
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1587 of
                                       3467



               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65019              Court Order.pdf                                   5874539        1/5/2021 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65019              Credit Report.pdf                                    59167      1/17/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65019              Disclosure - OK.pdf                                 282786       1/5/2021 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65019              Fasano Report.pdf                                   278687       1/5/2021 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65019              HIPAA.pdf                                           153572      1/17/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65019              Medical Questionnaire.pdf                           145290      1/17/2021 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65019              Seller Identification.pdf                           509655       1/5/2021 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65019              Stipulation.pdf                                  11224689        1/5/2021 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65019              UCC Search.pdf                                       75892      1/17/2021 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65019              Uniform Qualified Assignment.pdf                    377450       1/5/2021 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              506063_8_FinalPackage.pdf                         8614422      12/15/2020 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              65024 Grissom, Joshua.tv5                            10260      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Annuity Contract.pdf                                499383        1/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Application.pdf                                     252032        1/7/2021 9:13
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\65024              Information.pdf                                     222650        1/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Authorization to Discuss Information.pdf            162035        1/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Authorization to Provide Death Certificate.pdf      162355        1/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Authorization to Release.pdf                        161927        1/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Bankruptcy Search.pdf                               110692        1/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Benefits Letter.pdf                                 116710        1/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Chauffeur License .pdf                              245693        1/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Confirmation JGW Tranche C up08-04-2022.pdf         650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Court Order.pdf                                   4437752         1/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Credit Report.pdf                                   111052        1/7/2021 9:13




                                                                1586
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1588 of
                                       3467



               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Declaration.pdf                                   250001        1/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Disclosure - MI.pdf                               156700        1/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Docusign Cert E08.pdf                             161418        1/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Docusign Cert FC6.pdf                             161380        1/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Fasano Report.pdf                                 186642        1/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Irrevocable Special Power of Attorney.pdf         164686        1/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Medical Addendum.pdf                              229595        1/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Medical Questionnaire.pdf                         236029        1/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Notice of Hearing.pdf                             212973        1/7/2021 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Objection to Transfer Petition.pdf                 87748        1/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Order Granting Motion to Amend Complaint.pdf      136089        1/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Proof of Service.pdf                              292065        1/7/2021 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Purchase Agreement.pdf                            404961        1/7/2021 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Request For Acknowledgement.pdf                   192066        1/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Searches.pdf                                      542544        1/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Second Amended Complaint.pdf                      940989        1/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              Stipulation Order of Dismissal.pdf                343892        1/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65024              UCC Search.pdf                                    120350        1/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65027              546679_4_FinalPackage.pdf                      13802289       12/3/2020 19:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65027              65027 Wilcox, Joseph.tv5                           10260      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65027              Annuity Contract.pdf                              247098        1/7/2021 6:25
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\65027              Information.pdf                                   161298        1/7/2021 6:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65027              Child Support.pdf                               1030794         1/7/2021 6:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65027              Confirmation JGW Tranche C up08-04-2022.pdf       650209       8/4/2022 13:35




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               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65027              Court Order.pdf                         1491864         1/7/2021 6:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65027              Credit Report.pdf                          88360        1/7/2021 6:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65027              Dependents.pdf                             93761        1/7/2021 6:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65027              Disclosure - MI.pdf                        87447        1/7/2021 6:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65027              Disclosure - TX.pdf                        87439        1/7/2021 6:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65027              Divorce.pdf                               956284        1/7/2021 6:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65027              Fasano.pdf                                223525        1/7/2021 6:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65027              IPA.pdf                                    94397        1/7/2021 6:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65027              Medical Addendum.pdf                      148351        1/7/2021 6:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65027              Notice of Hearing.pdf                     344356        1/7/2021 6:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65027              Proof of Service.pdf                    1457664         1/7/2021 6:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65027              Purchase Agreement.pdf                    661115        1/7/2021 6:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65027              Questionnaire.pdf                         158744        1/7/2021 6:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65027              Searches.pdf                              771460        1/7/2021 6:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65027              Seller Affidavit.pdf                      137368        1/7/2021 6:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65027              Seller Identification.pdf                 391796        1/7/2021 6:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65027              Settlement Agreement Affidavit.pdf        253576        1/7/2021 6:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65027              Settlement Agreement.pdf                  234512        1/7/2021 6:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65027              Stipulation.pdf                         4371442         1/7/2021 6:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              548113_2_FinalPackage.pdf              12256730      11/19/2020 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              65029 Mitchell, Joan.tv5                   10449      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              Annuity Contract.pdf                      514931       1/7/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              Application.pdf                           365348       1/7/2021 12:36
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\65029              Information.pdf                           411368       1/7/2021 12:36




                                                                1588
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                                       3467



               All Paths/Locations                                  Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              Authorization to Provide Death Certificate.pdf      299332       1/7/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              Authorization to Release Information.pdf            298163       1/7/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              Bankruptcy Search.pdf                               330436       1/7/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              Benefits Letter.pdf                                 336724       1/7/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              Confirmation JGW Tranche C up08-04-2022.pdf         650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              Court Order.pdf                                   1091663        1/7/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              Credit Report.pdf                                   195846       1/7/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              Disclosure - TX.pdf                                 279018       1/7/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              Docusign Cert 7244.pdf                              277528       1/7/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              Docusign Cert 87A.pdf                               277379       1/7/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              Docusign Cert A1C9.pdf                              277381       1/7/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              Fasano Report.pdf                                   257796       1/7/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              Irrevocable POA.pdf                                 307240       1/7/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              Medical Addendum.pdf                                327919       1/7/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              Medical Questionnaire.pdf                           465611       1/7/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              Order Approving Settlement.pdf                      742644       1/7/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              Proof of Service.pdf                                279892       1/7/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              Purchase Agreement.pdf                              683918       1/7/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              Request For Acknowledgement.pdf                     229407       1/7/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              Searches.pdf                                      1226326        1/7/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65029              UCC Search.pdf                                      616077       1/7/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              554274_1_FinalPackage.pdf                         8435441      12/14/2020 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              65033 Jimenez, Heriberto.tv5                         10022      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              Application.pdf                                     209148       1/7/2021 19:41




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1591 of
                                       3467



               All Paths/Locations                               Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\65033              Information.pdf                                     304584       1/7/2021 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              Authorization to Discuss Information.pdf            180467       1/7/2021 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              Authorization to Provide Death Certificate.pdf      181551       1/7/2021 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              Authorization to Release.pdf                        180387       1/7/2021 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              Bankruptcy Search.pdf                               128673       1/7/2021 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              Benefits Letter.pdf                                 360518       1/7/2021 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              Confirmation JGW Tranche C up08-04-2022.pdf         650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              Court Order.pdf                                   2193340        1/7/2021 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              Credit Report.pdf                                   122234       1/7/2021 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              Docusign Cert 1C3.pdf                               124841       1/7/2021 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              Docusign Cert 915.pdf                               158819       1/7/2021 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              Drivers License.pdf                                 179260       1/7/2021 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              Fasano Report.pdf                                   137478       1/7/2021 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              Irrevocable POA.pdf                                 187156       1/7/2021 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              Medical Addendum.pdf                                209630       1/7/2021 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              Medical Questionnaire.pdf                           249528       1/7/2021 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              Proof of Service.pdf                              1014741        1/7/2021 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              Purchase Agreement.pdf                              561679       1/7/2021 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              Qualified Assignement.pdf                           226925       1/7/2021 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              Request For Acknowledgement.pdf                     106617       1/7/2021 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              Searches.pdf                                        755266       1/7/2021 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              Settlement Agreement and Release.pdf                301752       1/7/2021 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65033              UCC Search.pdf                                      110003       1/7/2021 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65039              63902_3_FinalPackage.pdf                          4913534      11/19/2020 16:11




                                                             1590
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1592 of
                                       3467



               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65039              65039 Woods, Edgar.tv5                               10016      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65039              Annuity Contract.pdf                                263912       1/8/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65039              Application.pdf                                     285867       1/8/2021 12:43
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\65039              Information.pdf                                     306524       1/8/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65039              Authorization to Provide Death Certificate.pdf      181907       1/8/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65039              Authorization to Release Information.pdf            180726       1/8/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65039              Bankruptcy Search.pdf                               315074       1/8/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65039              Confirmation JGW Tranche C up08-04-2022.pdf         650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65039              Court Order.pdf                                     280524       1/8/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65039              Credit Report.pdf                                    72796       1/8/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65039              Docusign Cert 9A4.pdf                               159394       1/8/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65039              Docusign Cert AC2.pdf                               159110       1/8/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65039              Drivers License.pdf                                 328891       1/8/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65039              Fasano Report.pdf                                   249448       1/8/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65039              Irrevocable POA.pdf                                 187476       1/8/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65039              Medical Addendum.pdf                                220879       1/8/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65039              Medical Questionnaire.pdf                           329138       1/8/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65039              Purchase Agreement.pdf                              551526       1/8/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65039              Searches.pdf                                        272762       1/8/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65039              Settlement Agreement.pdf                            369491       1/8/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65039              UCC Search.pdf                                      399080       1/8/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65039              W9.pdf                                              212235       1/8/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65047              65047 Faircloth, Danielle.tv5                        10213      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65047              73446_6_FinalPackage.pdf                         28617484      12/11/2020 13:41




                                                             1591
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1593 of
                                       3467



               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65047              image002.png                                      29683
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65047              image001.png                                      12856
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65047              Annuity Contract.pdf                             489246       1/7/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65047              Application.pdf                                1431684        1/7/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65047              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65047              Court Order.pdf                                7015493        1/7/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65047              Disclosures.pdf                                  139052       1/7/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65047              Divorce .pdf                                     387688       1/7/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65047              Divorce Alexander.pdf                            298736       1/7/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65047              Divorce Faircloth.pdf                            398356       1/7/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65047              Fasano.pdf                                       284127       1/7/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65047              ID.pdf                                         1213293        1/7/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65047              IPA.pdf                                          158287       1/7/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65047              Life Insurance questionaire.pdf                9020018        1/7/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65047              List of Dependents.pdf                           355627       1/7/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65047              Marriage Certificate.pdf                         161567       1/7/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65047              Purchase Agreement.pdf                         6279030        1/7/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65047              Searches.pdf                                   1166879        1/7/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65047              Settlement Agreement.pdf                         524901       1/7/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65052              65052 Henderson, Bettie.tv5                       10210      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65052              847616_3_FinalPackage.pdf                     18187146       12/8/2020 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65052              Application.pdf                                  515555       1/7/2021 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65052              Benefits Letter.pdf                              317740       1/7/2021 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65052              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35




                                                             1592
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1594 of
                                       3467



               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65052              Court Order.pdf                                  342857       1/7/2021 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65052              Disclosures.pdf                                  251702       1/7/2021 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65052              Divorce memo.pdf                                 160565       1/7/2021 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65052              Fasano.pdf                                       288889       1/7/2021 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65052              ID.pdf                                           196752       1/7/2021 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65052              IPA.pdf                                          249200       1/7/2021 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65052              Life Contingent Docs.pdf                       2577088        1/7/2021 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65052              List of Dependents.pdf                           208180       1/7/2021 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65052              Order Approving Settlement.pdf                 2902906        1/7/2021 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65052              Purchase Agreement.pdf                         3907588        1/7/2021 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65052              Searches.pdf                                     890666       1/7/2021 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65052              Settlement Agreement.pdf                       5577670        1/7/2021 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65055              65055 Burrell, Rogelio.tv5                        10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65055              89314_6_FinalPackage.pdf                      10405882       12/9/2020 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65055              Annuity Contract.pdf                             177040       1/7/2021 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65055              Application.pdf                                  258049       1/7/2021 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65055              Confirmation JGW Tranche C up08-04-2022.pdf      650209       8/4/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65055              Court Order.pdf                                  299217       1/7/2021 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65055              Disclosures.pdf                                  180404       1/7/2021 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65055              Fasano.pdf                                       137633       1/7/2021 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65055              ID.pdf                                         3246239        1/7/2021 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65055              IPA.pdf                                          105047       1/7/2021 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65055              Life Contingent Docs.pdf                       1037002        1/7/2021 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65055              List of Dependents.pdf                            77689       1/7/2021 17:38




                                                             1593
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               All Paths/Locations                                 Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65055              Purchase Agreement.pdf                           4305268        1/7/2021 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65055              Qualified Assignment.pdf                           114566       1/7/2021 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65055              Searches.pdf                                       768050       1/7/2021 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65055              Settlement Agreement.pdf                           337141       1/7/2021 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              65292 Harris, Michael.tv5                           10208      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Allied Servicing Agreement.pdf                     244814      1/24/2021 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Annuity Contract.pdf                               148024      1/24/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Application.pdf                                    113108      1/24/2021 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Assignment Catalina to CS Collections.pdf           25465      1/24/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Assignment to Allied.pdf                           157418      1/24/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Benefits Letter.pdf                                 47807      1/24/2021 15:01
Saiph consulting|\Audit Materials Received-   Berwyn Death Search 09012023 Michael Earl
SuttonPark\Closing Binders\65292              Harris Policy 931504TO01Z.pdf                      307312       9/1/2023 12:24
Saiph consulting|\Audit Materials Received-   Berwyn Death Search_12082022 Michael
SuttonPark\Closing Binders\65292              Harris.pdf                                         150464      2/10/2023 13:04
Saiph consulting|\Audit Materials Received-   Berwyn Death Search_Jan2022_050422_Michael
SuttonPark\Closing Binders\65292              Harris.pdf                                         154930      5/25/2022 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Closing Binder.pdf                              18801544       1/21/2021 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Collateral Assignment.pdf                          666186      1/24/2021 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Court Order.pdf                                    548221      1/24/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Credit Report.pdf                                   33122      1/24/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Declaration.pdf                                    199668      1/24/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Disclosure - CA.pdf                                102315      1/24/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Harris Michael Redirection confirmation.pdf        116327      4/13/2021 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Harris Michael Redirection Letter and POA.pdf      314299      3/30/2021 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Life Insurance Policy.pdf                       13315535       1/24/2021 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Life Insurance Premium.pdf                         198641      1/24/2021 15:02




                                                             1594
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               All Paths/Locations                                Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Life Insurance TValue Full payment stream.pdf         46875      2/10/2021 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Notary Verification of Identification.pdf             22706      1/24/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Pleadings.pdf                                      2502426       1/24/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Purchase Agreement.pdf                               773109      1/24/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Qualified Assignment.pdf                              92112      1/24/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Redirection - TBE.pdf                                203174      3/18/2021 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Redirection Confirmation New 65292.pdf               604176       5/8/2023 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Searches.pdf                                         167737      1/24/2021 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Seller Identification.pdf                            107923      1/24/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Settlement Agreement.pdf                             226113      1/24/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65292              Stipulation.pdf                                      316932      1/24/2021 15:01
                                              Successful transmission Berwyn Mortality Search
Saiph consulting|\Audit Materials Received-   Report 09012023 Michael Earl Harris Policy
SuttonPark\Closing Binders\65292              931504TO01Z.pdf                                      115947       9/5/2023 14:11
                                              Successful transmission to 18885604860 Re
Saiph consulting|\Audit Materials Received-   BERWYN MORTALITY SEARCH REPORT FOR
SuttonPark\Closing Binders\65292              Michael Earl Harris POLICY 931504TO01Z.pdf           113774      2/23/2023 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65360              65360 Broglin, Barry.tv5                              10207      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65360              Assignment Agreement to St James.pdf                 557570      10/9/2024 21:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65360              Benefits Letter.pdf                                   55386       2/1/2021 11:30
Saiph consulting|\Audit Materials Received-   Broglin Barry Change of address form and
SuttonPark\Closing Binders\65360              redirection.pdf                                      641807      3/30/2021 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65360              Closing Binder.pdf                                13609480        2/1/2021 11:10
Saiph consulting|\Audit Materials Received-   Confirmation of St James as Collateral
SuttonPark\Closing Binders\65360              Assignee.pdf                                       1142113        6/1/2021 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65360              Court Order.pdf                                    3408542        2/1/2021 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65360              Credit Report.pdf                                    322906       2/1/2021 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65360              FL Disclosure.pdf                                     87509       2/1/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65360              IL Disclosure.pdf                                     74884       2/1/2021 11:17




                                                              1595
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1597 of
                                       3467



               All Paths/Locations                                   Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65360              Life Insurance Policy.pdf                      1886554        2/1/2021 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65360              New Executed POA - Cawley.pdf                  1339529       4/29/2021 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65360              Pleadings.pdf                                  4803938        2/1/2021 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65360              Purchase Agreement.pdf                         1126324        2/1/2021 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65360              Qualified Assignment.pdf                         726767       2/1/2021 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65360              Redirection Confirmation New 65360.pdf           234306      4/25/2023 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65360              Redirection Reconfiguration 65360.pdf            609590      4/17/2023 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65360              Release of Collateral Assignee.pdf               382340       6/1/2021 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65360              Searches.pdf                                   1596754        2/1/2021 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65360              Seller Affidavit.pdf                             144961       2/1/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65360              Settlement Agreement.pdf                       1447637        2/1/2021 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65360              Stipulation.pdf                                  304944       2/1/2021 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65497              65497 Busby, Isaac.tv5                            10260      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65497              Amended Court Order.pdf                          639131      1/18/2024 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65497              Annuity Contract.pdf                             155242      2/10/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65497              Application.pdf                                  447804      2/10/2021 11:48
Saiph consulting|\Audit Materials Received-   Assignment from NE Associates to SuttonPark
SuttonPark\Closing Binders\65497              Capital.pdf                                      632577      6/17/2024 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65497              Assignment.pdf                                   192540      2/10/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65497              Busby Isaac MetLife 2019 Goldstar.pdf            632570      6/25/2021 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65497              Busby Isaac Servicng Agreement.pdf               577718      6/25/2021 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65497              CA Busby.pdf                                     196392      6/10/2021 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65497              Contact Information.pdf                          117626      2/10/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65497              Court Order.pdf                                3687035       2/10/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65497              Disclosure.pdf                                 1126415       2/10/2021 11:48




                                                                1596
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                                       3467



               All Paths/Locations                                Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65497              ISABUS Combined Docs.pdf                  43958605        2/8/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65497              Life Insurance Policy.pdf                 25913781       2/10/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65497              Partial Annuity Contract.pdf                 898952      2/10/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65497              Pleadings.pdf                              3653925       2/10/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65497              Purchase Agreement.pdf                     4967886       2/10/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65497              Qualified Assignement.pdf                    136894      2/10/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65497              Searches.pdf                                 101530      2/10/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65497              Seller Identification.pdf                    300276      2/10/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65497              SSN.pdf                                      975034      2/10/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              027C.pdf                                      77968        3/2/2021 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              07B8.pdf                                      76551        3/2/2021 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              182f.pdf                                      65451        3/2/2021 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              1AE7.pdf                                      71237        3/2/2021 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              65671 Kirby, Jeremiah.tv5                     10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Admin Fee Package.pdf                      2775846       4/29/2021 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Annuity Contract.pdf                       1876046        2/26/2021 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Application.pdf                            1637880         3/2/2021 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Assignment of Policy.pdf                     363315      4/23/2021 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Berwyn.pdf                                    53129        3/2/2021 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              BK Search.pdf                                 53800        3/2/2021 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Blank CA.pdf                                 312757     11/18/2020 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Confirmation of Collateral Assignee.pdf      206647       5/10/2021 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Court Order.pdf                              294355       3/4/2021 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Credit Report.pdf                            109270        3/2/2021 9:19




                                                              1597
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1599 of
                                       3467



               All Paths/Locations                                 Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Data Field Sheet.pdf                               73441       2/26/2021 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Declaration.pdf                                   260671       2/26/2021 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Disclosure FL.pdf                                 103010       2/26/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Disclosure GA.pdf                                 101383       2/26/2021 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Disclosure IL.pdf                                  94377       2/26/2021 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Disclosure NE.pdf                                 103147       2/26/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Driver License.pdf                                500187       2/26/2021 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Fasano Report.pdf                                  98558      1/25/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Final Transfer Package.pdf                      8157657        2/5/2021 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Guardianship Doc.pdf                              189211       2/26/2021 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              HIPAA.pdf                                         105799        3/2/2021 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Kirby 190- Trans Policy.pdf                     2684302        4/9/2021 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Kirby CA.PDF                                       53189      4/29/2021 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Lien and Judgment Searches.pdf                    344317        3/2/2021 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Medical Questionnaire.pdf                         494629        3/2/2021 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              NASP.pdf                                          118509        3/2/2021 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Notice of Cancellation Rights.pdf                  76163       2/26/2021 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Pleadings.pdf                                     991120        3/2/2021 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Prior Order.pdf                                10187002        2/26/2021 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Proof of SSN.pdf                                  168760      3/16/2021 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Proof premium was paid by Kirby.pdf               963490        5/4/2021 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Purchase Agreement.pdf                            528078       2/26/2021 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Qualified Assignment.pdf                        1160901        2/26/2021 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Request to issuer send billing to Sutton.pdf       29233      4/29/2021 14:20




                                                              1598
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1600 of
                                       3467



               All Paths/Locations                                 Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Same Name Affidavit.pdf                           235793        3/2/2021 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              Signed Assignement Sutton Park.pdf                 74127       5/6/2021 10:08
Saiph consulting|\Audit Materials Received-   Transamerica - Entity Certification of
SuttonPark\Closing Binders\65671              Authority.pdf                                     514778      4/23/2021 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65671              UCC.pdf                                           377859        3/2/2021 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              65695 Pouncy, Quajena.tv5                          15224      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Affidavit in Support - Amended.pdf                179914       3/2/2021 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Affidavit in Support.pdf                           91715       3/2/2021 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Annuity Payments.pdf                               83215       3/2/2021 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Application.pdf                                   265178       3/1/2021 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Assignment Pouncy - LC.pdf                        222291       3/3/2021 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Closing Binder.pdf                              7542809        3/2/2021 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Court Order.pdf                                 2048739        3/2/2021 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Credit Report.pdf                                  57654       3/2/2021 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Disclosue NY - Amended.pdf                         71520       3/2/2021 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Disclosure NJ - 2nd Amended.pdf                    70492       3/3/2021 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Disclosure NJ - Amended.pdf                        70806       3/2/2021 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Disclosure NJ.pdf                                  78319       3/2/2021 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Disclosure NY - 2nd Amended.pdf                    71214       3/3/2021 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Disclosure NY.pdf                                  93202       3/2/2021 15:45
Saiph consulting|\Audit Materials Received-   DocuSign Cert - 2nd Amended docs and Closing
SuttonPark\Closing Binders\65695              statement.pdf                                     329726      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              DocuSign Cert - Closing Statement.pdf             276418       3/5/2021 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              DocuSign Certificate - Amended Docs.pdf           309565      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Fasano Report.pdf                                  98232     11/18/2020 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              HIPAA.pdf                                       1376532        3/3/2021 11:13




                                                             1599
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1601 of
                                       3467



               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Identification Card.pdf                           478674      10/9/2024 20:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              IPA Letter.pdf                                    720462        3/4/2021 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              LE Analysis.pdf                                   187731       3/3/2021 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Medical Questionnaire.pdf                       2591875        3/3/2021 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              PI Case Docket.pdf                              1300187      12/11/2020 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Pleadings.pdf                                   4141827        3/2/2021 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Purchase Agreement - 2nd Amended.pdf              176820       3/3/2021 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Purchase Agreement - Amended.pdf                  173125       3/2/2021 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Purchase Agreement.pdf                            437336       3/2/2021 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Redirection Confirmation New_NYLIC.pdf            193182       7/5/2023 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              image001.png                                       10159
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Redirection Reconfiguration up07-11-2022.pdf    2180777        7/8/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Redirection Assignee List NYLIC.pdf               222753       7/7/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              COA Policy FP200974.pdf                            52947       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              COA Policy 74758034.pdf                            52951       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              COA Policy 77422032.pdf                            52926       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              COA Policy FP200974 (2).pdf                        52949       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              COA Policy FP200974.pdf                            52991       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              COA Policy FP201158.pdf                            52930       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              COA Policy FP205723.pdf                            52948       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              COA Policy FP206266.pdf                            52989       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              COA Policy FP206275.pdf                            52951       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              COA Policy FP207071.pdf                            52987       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              COA Policy FP207808.pdf                            52960       4/8/2022 13:24




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                                       3467



               All Paths/Locations                                  Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              COA Policy FP210013.pdf                                  52983       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              COA Policy FP210674.pdf                                  52959       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              COA Policy FP216554.pdf                                  52928       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              COA Policy FP220022.pdf                                  53010       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              COA Policy FP220028.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              COA Policy FP220219.pdf                                  52981       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              COA Policy FP220714.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              COA Policy FP244114.pdf                                  52993       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Security TItle Corporate Resolution 11.2021 si.pdf      937256       4/1/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Searches.pdf                                             39509       3/2/2021 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Social Security Card.pdf                                226132     12/11/2020 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65695              Stipulation.pdf                                       1870093        3/2/2021 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              65786 Laccetti, Vanessa.tv5                              10263      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              Acknowledgment.pdf                                       25905      3/24/2021 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              Application.pdf                                       4479707        3/8/2021 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              Binda Assignment Agreement.pdf                          106393      3/12/2021 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              BK Search.pdf                                            54458       3/8/2021 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              BL - 2007.pdf                                           136247       3/8/2021 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              Collateral File.pdf                                  16588655        3/5/2021 19:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              Court Order.pdf                                         160052       3/8/2021 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              Credit Report.pdf                                        55664       3/8/2021 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              Declaration.pdf                                         130530       3/8/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              Disclosure Statment.pdf                               2481922        3/8/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              Divorce Decree.pdf                                    6358372        3/8/2021 11:42




                                                                1601
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                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              Fasano Report.pdf                       196932       3/8/2021 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              HIPAA.pdf                               132391       3/8/2021 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              Identification Card.pdf               4082953        3/8/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              Medical Questionnaire.pdf               199238       3/8/2021 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              Name Verification.pdf                   532717       3/8/2021 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              NOA.pdf                                 336205      3/10/2021 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              Pleadings.pdf                         3210844        3/8/2021 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              POR phone bill.pdf                       25684      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              Purchase Agreement.pdf                2120610        3/8/2021 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              Qualified Assignment.pdf              1147948        3/8/2021 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              Searches.pdf                            189233       3/8/2021 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              Settlement Agreement.pdf              1088110        3/8/2021 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              SSN Verification.pdf                    221228       3/8/2021 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              Transaction Summary.pdf                  51746       3/8/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65786              Updated BL.pdf                           67386      3/12/2021 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              65917 Alvarado, Iveet.tv5                10261      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              Acknowledgment.pdf                       52556       5/6/2021 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              Annuity Contract.pdf                  4025422       3/10/2021 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              Application.pdf                       2256368       3/10/2021 17:02
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\65917              Information.pdf                       2113136       3/10/2021 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              Authorization to Release.pdf          2061727       3/10/2021 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              Closing Binder.pdf                   10003981        3/3/2021 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              Court Order.pdf                         209537      3/17/2021 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              Credit Report.pdf                     2680004       3/10/2021 17:02




                                                              1602
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                                       3467



               All Paths/Locations                                  Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              Declaration.pdf                         2055662       3/10/2021 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              Disclosure - DE.pdf                     1999146       3/10/2021 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              Disclosure - TX.pdf                     1999580       3/10/2021 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              DocuSign Certificates.pdf               2211599       3/10/2021 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              Fasano OLD.pdf                          2040977       3/10/2021 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              Fraud Affidavit.pdf                        33624      3/17/2021 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              Judgment and PI Case Docket.pdf         3284339       3/10/2021 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              Medical Questionnaire.pdf               2160301       3/10/2021 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              NASP Search.pdf                         2022646       3/10/2021 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              Pleadings.pdf                           2737618       3/10/2021 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              Prior Court Orders.pdf                  2504418       3/10/2021 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              Proof of SSN.pdf                        2135335       3/10/2021 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              Purchase Agreement.pdf                  2363953       3/10/2021 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              Searches.pdf                            2041107       3/10/2021 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              Seller Identification.pdf               2120836       3/10/2021 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              UCC Search.pdf                          2008643       3/10/2021 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              Updated Fasano.pdf                        105556      3/17/2021 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65917              Updated Seller Identification.pdf       1818012       3/19/2021 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65998              65998 Etchen, Carole.tv5                   10016      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65998              Application.pdf                           399601      3/17/2021 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65998              Assignment.pdf                            785765      3/25/2021 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65998              Benefits Letter.pdf                        21624      3/17/2021 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65998              Closing Binder.pdf                     12306538       3/15/2021 16:04
Saiph consulting|\Audit Materials Received-   Confirmation of Owner Payee and Bene
SuttonPark\Closing Binders\65998              Change.pdf                                 30378       3/18/2021 9:58




                                                              1603
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1605 of
                                       3467



               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65998              Corrected Confirmation.pdf                         26508      3/18/2021 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65998              Credit Report.pdf                                 106447      3/17/2021 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65998              Drivers License.pdf                             2924671       3/17/2021 14:32
Saiph consulting|\Audit Materials Received-   Genworth - Annuity Contract Change Form -
SuttonPark\Closing Binders\65998              Carole Etchen.pdf                                 955734      7/26/2024 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65998              Proof of SSN.pdf                                  347686       3/18/2021 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65998              Purchase Agreement.pdf                          6685203       3/17/2021 14:32
Saiph consulting|\Audit Materials Received-   Request for Change of Owner Payee and
SuttonPark\Closing Binders\65998              Bene.pdf                                        1479200       3/17/2021 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\65998              Searches.pdf                                      114091      3/17/2021 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66001              66001 Combined Docs.pdf                        12541675       3/16/2021 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66001              66001 Furedi, Mark.tv5                             10128      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66001              Acknowledgment.pdf                                 35496      3/19/2021 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66001              Annuity Cert.pdf                                2703631       3/19/2021 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66001              Assignment.pdf                                  3050293       3/19/2021 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66001              Court Order.pdf                                 2782976       3/19/2021 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66001              Purchase Agreement.pdf                         11820408       3/19/2021 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66001              Request to change assignee address.pdf          2861537       3/19/2021 15:46
Saiph consulting|\Audit Materials Received-   6 - Patricia Anderson Purchaser Closing Book
SuttonPark\Closing Binders\66004              (HUB-VV071317B-3) - Signed.pdf                  6473359       1/11/2018 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66004              66004 Anderson, Patricia.tv5                       11058      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66004              Acknowledgment.pdf                                157463      3/19/2021 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66004              Assignment.pdf                                    218827      3/19/2021 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66004              Benefits Letter.pdf                               196848      3/19/2021 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66004              Court Order.pdf                                   324155      3/19/2021 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66004              Purchase Agreement.pdf                            583247      3/19/2021 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66004              Servicing Agreement.pdf                         3191906       3/19/2021 12:03




                                                             1604
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1606 of
                                       3467



               All Paths/Locations                                 Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66021              2013 W2G.pdf                                           47167      3/19/2021 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66021              66021 Combined Docs.pdf                            24130645       3/16/2021 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66021              66021 Zheng, Yi.tv5                                    10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66021              Annuity Contract.pdf                                   77635      3/19/2021 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66021              Assignee Acknowledgement.pdf                          130511      3/16/2021 14:33
Saiph consulting|\Audit Materials Received-   Assignment from Seneca One to Elizabeth Ann
SuttonPark\Closing Binders\66021              Colatonio.pdf                                         860344      3/19/2021 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66021              Court Order.pdf                                       481553      3/19/2021 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66021              Credit Report.pdf                                      97505      3/19/2021 10:51
Saiph consulting|\Audit Materials Received-   Decree of Divorce Yi Zheng v Kitty Chung Kit
SuttonPark\Closing Binders\66021              Iam.pdf                                               804362      3/19/2021 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66021              Decree of Divorce Yi Zheng v Ying Hui Ni.pdf          366023      3/19/2021 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66021              Decreee of Divorce Qing Zhang v Yi Zheng.pdf          985057      3/19/2021 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66021              Drivers License.pdf                                    37462      3/19/2021 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66021              Fasano Report.pdf                                      79731      3/19/2021 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66021              ILien Search Results.pdf                               17222      3/19/2021 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66021              Medical Questionnaire.pdf                             885833      3/19/2021 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66021              Pleadings.pdf                                       4303689       3/19/2021 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66021              Prior Court Order 2014CV10907LT.pdf                    76953      3/19/2021 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66021              Purchase Agreement.pdf                              1002526       3/19/2021 10:52
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\71947              Information.pdf                                       617617      5/26/2020 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Authorization to Release.pdf                           50193      11/3/2021 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Bankruptcy Search.pdf                                  54325       11/3/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Benefits Letter old.pdf                                42404     11/10/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Closing Binder.pdf                                  5223784       9/20/2021 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Collateral Assignments - blank and completed.pdf    2180984      11/15/2021 14:56




                                                              1605
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1607 of
                                       3467



               All Paths/Locations                                  Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Confirmation of Collateral Assignment.pdf          16362     11/15/2021 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Court Order.pdf                                   451005       11/3/2021 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Credit Report.pdf                               1481736       11/9/2021 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Disclosure - DE.pdf                               131326      9/22/2021 19:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Disclosure - FL.pdf                               144522      9/22/2021 19:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Disclosure - NY.pdf                               146653      9/22/2021 19:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Disclosure Affidavit.pdf                           41598      9/22/2021 19:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              DocuSign Certificate.pdf                          334609      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Fasano.pdf                                         80990      11/3/2021 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              IPA Letter.pdf                                    475175       8/13/2021 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Legible Drivers License.pdf                        25440       11/3/2021 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Lien Search.pdf                                   266097      11/9/2021 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Life Insurance Policy.pdf                       3011085       11/3/2021 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Pleadings.pdf                                   3752724       9/22/2021 19:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Proof of Premium Payment.pdf                    1056405      11/11/2021 21:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Proof of Residence.pdf                          1721707       11/3/2021 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Purchase Agreement.pdf                            657085      9/22/2021 19:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Redirection Confirmation New 71947.pdf            375861       3/2/2023 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Redirection Reconfiguration up07-11-2022.pdf    2180777        7/8/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Redirection Assignee List NYLIC.pdf               222753       7/7/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              COA Policy FP200974.pdf                            52947       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              COA Policy 74758034.pdf                            52951       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              COA Policy 77422032.pdf                            52926       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              COA Policy FP200974 (2).pdf                        52949       4/8/2022 13:24




                                                               1606
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1608 of
                                       3467



               All Paths/Locations                                   Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              COA Policy FP200974.pdf                                  52991       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              COA Policy FP201158.pdf                                  52930       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              COA Policy FP205723.pdf                                  52948       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              COA Policy FP206266.pdf                                  52989       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              COA Policy FP206275.pdf                                  52951       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              COA Policy FP207071.pdf                                  52987       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              COA Policy FP207808.pdf                                  52960       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              COA Policy FP210013.pdf                                  52983       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              COA Policy FP210674.pdf                                  52959       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              COA Policy FP216554.pdf                                  52928       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              COA Policy FP220022.pdf                                  53010       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              COA Policy FP220028.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              COA Policy FP220219.pdf                                  52981       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              COA Policy FP220714.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              COA Policy FP244114.pdf                                  52993       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Security TItle Corporate Resolution 11.2021 si.pdf      937256       4/1/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Seller Affidavit.pdf                                    287477      9/22/2021 19:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Settlement Approval.pdf                                  81814       11/3/2021 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Social Security Card.pdf                                556603       11/3/2021 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Stipulation.pdf                                       1152680        11/3/2021 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              UCC Search.pdf                                          164295       11/3/2021 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Updated Fasano.pdf                                      100182      11/8/2021 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71960              71960 Floyd, Janice.tv5                                  10259      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71960              Acknowledgment.pdf                                       52753     10/18/2021 11:56




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1609 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71960              Affidavit.pdf                           223395      9/22/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71960              Annuity Contract.pdf                  2141230       12/11/2020 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71960              Application.pdf                       1424451        8/2/2021 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71960              Assignment.pdf                           67247      9/29/2021 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71960              Closing Binder.pdf                    5788430       9/22/2021 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71960              Court Order.pdf                         135486      9/16/2021 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71960              Credit Report.pdf                        44694      9/22/2021 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71960              Disclosure NJ - Revised.pdf             308809       9/29/2021 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71960              Disclosure NJ.pdf                       243658      9/22/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71960              Disclosure NY - Revised.pdf             351200       9/29/2021 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71960              Disclosure NY.pdf                       293244      9/22/2021 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71960              Fasano Report Updated.pdf               107443      10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71960              HIPPA.pdf                               779176      9/28/2021 20:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71960              Identification Card.pdf                  69123     12/16/2020 19:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71960              IPA Letter.pdf                           18352      9/27/2021 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71960              Medical Questionnaire.pdf             7446516       9/28/2021 20:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71960              Pleadings.pdf                         4161338       9/22/2021 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71960              Purchase Agreement - Revised.pdf      2517559        9/29/2021 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71960              Purchase Agreement.pdf                1850292       9/22/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71960              Searches.pdf                             26174      9/22/2021 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71960              Settlement Agreement.pdf              1698209      12/16/2020 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71960              Social Secuirty Card.pdf                 81314     12/16/2020 19:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              71963 Madison, Conner.tv5                10261      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Acknowledgment.pdf                       86426      1/26/2022 18:16




                                                               1608
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1610 of
                                       3467



               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Application.pdf                          2840687      10/12/2021 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Auth to Run Credit.pdf                      59259     10/12/2021 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Benefits Letter.pdf                        131990      9/24/2021 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              BK Search.pdf                               51688       8/13/2021 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Closing Binder for C. M_.pdf             1643183        9/22/2021 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Collateral Ack.pdf                          16414      12/6/2021 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Collateral Assignment - blank.pdf       16307019       12/7/2021 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Collateral Assignment - completed.pdf    3210867       10/9/2024 22:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Court Order.pdf                            403858      11/5/2021 19:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Credit Report.pdf                          179946      12/7/2021 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Declaration.pdf                          2519939       9/24/2021 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Disclosure Affidavit.pdf                   126507      9/24/2021 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Disclosure OR.pdf                          211749      9/24/2021 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Disclosure WA.pdf                          149566      9/24/2021 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              DocuSign Cert - Closing Statement.pdf      378553      10/9/2024 20:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              DocuSign Cert.pdf                          342818      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Driver License.pdf                       2387937       9/24/2021 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              HIPAA and Medical Questionnire.PDF         838320      10/9/2024 21:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Liens Search-SSN ONLY.pdf                  163958       8/13/2021 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Life Application.pdf                    11317219       10/9/2024 23:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Life Policy.pdf                         18090272      11/30/2021 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Pleadings.pdf                            3535276      10/11/2021 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Proof of Premium Paid.pdf                  300523      12/7/2021 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Purchase Agreement.pdf                   9654568       9/24/2021 13:58




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                                       3467



               All Paths/Locations                                   Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Request ot Discount Premiums.pdf           2459884       12/7/2021 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              SA.pdf                                       694428      10/9/2024 21:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Seller Affidavit.pdf                       1910390       9/24/2021 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              SIGNED Executive Assignment-Madison.pdf      149600      10/9/2024 19:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Social Security Card.pdf                     496032       6/8/2017 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71963              Stipulation.pdf                            1519875       10/9/2024 21:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71966              71966 Swanson, Timothy.tv5                    11717      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71966              Affidavit in Lieu of SA.pdf                  109879      9/23/2021 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71966              Affidavit.pdf                                128863      9/23/2021 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71966              Annuity Contract.pdf                         265291       4/6/2021 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71966              Annuity Payment Schedule.pdf                  91681      7/11/2019 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71966              Application.pdf                              282934      9/23/2021 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71966              Closing Book - Timothy Swanson.pdf        12730803       9/22/2021 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71966              COB Request.pdf                               95579      9/23/2021 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71966              Court Order.pdf                            2585944       9/23/2021 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71966              Credit Report.pdf                            549969      9/23/2021 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71966              Disclosure AZ.pdf                            172607      9/23/2021 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71966              Disclosure NJ.pdf                            172905      9/23/2021 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71966              Order Approving Compromise.pdf               126316      9/23/2021 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71966              Pleadings.pdf                              3709497       9/23/2021 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71966              Proof of Payment - Check.pdf                  42036     10/28/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71966              Purchase Agreement.pdf                       701655      9/23/2021 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71966              Searches.pdf                                  78694      9/23/2021 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71966              Social Security Card.pdf                   1023641       9/23/2021 15:56




                                                                1610
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1612 of
                                       3467



               All Paths/Locations                             Unified Title                   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-   Swanson - Change of Ownership and Collateral
SuttonPark\Closing Binders\71966              Assignment.pdf                                    1174483       11/4/2021 17:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71966              Swanson - Life Insurance Policy.pdf               3128577       11/4/2021 17:26
Saiph consulting|\Audit Materials Received-   Timothy Swanson - CERT028267 - Assignee and
SuttonPark\Closing Binders\71966              Change of Ownership request.pdf                   1853531       11/9/2021 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71966              UCC Search.pdf                                       47167      9/23/2021 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              0B87.pdf                                            333572      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              71968 Garza, Norma (Revised).tv5                     10673      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              71968 Gaza, Norma.tv5                                10448      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              Ack for deals 70848 70953 71913 71968.pdf           342974       10/6/2021 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              Affidavit.pdf                                     2910732       9/22/2021 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              Application for this deal.pdf                     1568027       9/28/2021 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              Application.pdf                                     140097       8/5/2021 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              Bankruptcy Search-NO BK.pdf                         163303       8/3/2021 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              Benefits Letter.pdf                                  27079       5/4/2021 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              C446.pdf                                            343779      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              Closing Binder for.pdf                            9804315       10/9/2024 23:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              Court Order.pdf                                     301001      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              Credit Report.pdf                                 2381119        8/6/2021 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              Disclosure Affidavit.pdf                            774974      9/22/2021 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              Disclosure IA.pdf                                 2762582       9/22/2021 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              Disclosure NY.pdf                                 2923573       9/22/2021 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              Disclosure TX.pdf                                    90578      9/22/2021 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              Driver License.pdf                                1646783       9/22/2021 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              Fasano Report.pdf                                    99353       8/9/2021 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              Garza Norma Benefit Letter with issue date.pdf       21451      10/1/2021 12:02




                                                              1611
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                                       3467



               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              HIPPA.pdf                                        626341      10/9/2024 21:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              Judgement.pdf                                    121227      1/20/2020 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              Liens Search-NAME ONLY.pdf                       226646       8/3/2021 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              Liens Search.pdf                                 162923       8/3/2021 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              New - Acknowledgment.pdf                         348867       1/11/2024 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              PACER Case Locator - NO BK.pdf                    51458       8/3/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              Pleadings.pdf                                  1408923       9/22/2021 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              Purchase Agreement.pdf                        11925725       9/22/2021 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              Req for ACK.pdf                                3090425        10/1/2021 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              Social Secuirty Card.pdf                          35121       8/4/2021 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71968              UCC Search-SSN ONLY.pdf                          238466       8/3/2021 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              71999 Nipper, Clarence.tv5                        10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Acknowledgement.pdf                               65879      11/3/2021 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Acknowledgment of Collateral Assignment.pdf       60716     10/25/2021 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Affidavit.pdf                                    116494      9/24/2021 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Application.pdf                                  524498      9/24/2021 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Assignment.pdf                                    34756       10/8/2021 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Authorization to Release.pdf                     114469      9/24/2021 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Bankruptcy Search.pdf                            111733      9/24/2021 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Benefits Letter.pdf                              204235      9/24/2021 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Berwyn Search.pdf                                 74925      9/24/2021 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              BinderForDealNumber50666.pdf                   4172164       9/23/2021 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Certificate of Service.pdf                       214686       9/2/2021 21:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Collateral Assigment - Signed.pdf                323288     10/25/2021 13:56




                                                              1612
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1614 of
                                       3467



               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Collateral Assignment - Blank.PDF                  40031     10/25/2021 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Court Order.pdf                                   222814      10/4/2021 22:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Credit Report.pdf                                  77550      9/24/2021 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Disclosure DE.pdf                                  72807      9/24/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Disclosure HI.pdf                                  73394      9/24/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Entity Authorization Form.pdf                     184372     10/18/2021 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Fasano Report.pdf                                  97200      8/13/2021 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Final Transfer Package.pdf                      2226116       8/24/2021 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              HIPAA.pdf                                         283373      9/24/2021 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Lien and Judgment Search.pdf                      356554      9/24/2021 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Life Insurance Policy.pdf                       1968246      10/11/2021 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Medical Questionnaire.pdf                       6489499       9/24/2021 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              NASP Search.pdf                                    75557      9/24/2021 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Pleadings.pdf                                     787482      9/24/2021 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Policy Summary.pdf                                 39130     10/25/2021 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Prior Order - SAF 2017.pdf                        548300      9/24/2021 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Prior Order - SAF 2016.pdf                        325198      9/24/2021 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Proof of premium payment.pdf                    2002391      10/25/2021 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Purchase Agreement.pdf                            531785      9/24/2021 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Request for Acknowledgment.pdf                    468604     10/25/2021 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Settlement Agreement.pdf                          443853      9/24/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              SSC.PDF                                           321800     10/25/2021 13:24
                                              Transamerica Life Insurance 6601204863
Saiph consulting|\Audit Materials Received-   Clarence NIpper Premium Confirmation October
SuttonPark\Closing Binders\71999              2023.pdf                                           85351     10/12/2023 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              UCC Search.pdf                                    388550      9/24/2021 11:40



                                                              1613
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1615 of
                                       3467



               All Paths/Locations                                 Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71999              Updated Benefits Letter.PDF               397687      10/26/2021 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72018              72018 Palmer, Jamelia.tv5                  10262      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72018              Acknowledgment.pdf                        230305     10/14/2021 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72018              Annuity Contract.pdf                      740533      9/26/2021 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72018              Application.pdf                           201375      9/26/2021 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72018              Assignment.pdf                            866729      10/9/2024 21:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72018              Benefits Letter.pdf                        31600      9/26/2021 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72018              Court Order.pdf                           156773      9/28/2021 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72018              Credit Report.pdf                         146977      9/26/2021 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72018              Disclosure OH.pdf                         180796      9/26/2021 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72018              Disclosure VA.pdf                         152331      9/26/2021 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72018              Driver License.pdf                        110356      9/26/2021 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72018              Fasano Report.pdf                         106055      9/26/2021 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72018              Giotto 7 - Formation.pdf                  223059      6/14/2021 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72018              HIPAA.pdf                                 560701      9/26/2021 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72018              Pleadings.pdf                           1766226       9/26/2021 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72018              Pre-Closing Book - Rev. 09.24.21.pdf    4557849       9/24/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72018              Proof of Disc Delivery.pdf                 75010      9/26/2021 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72018              Purchase Agreement.pdf                    315796      9/26/2021 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72018              Searches.pdf                              133484      9/26/2021 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72018              Settlement Statement.pdf                  205771      9/26/2021 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72018              Social Security Card.pdf                   87320      9/26/2021 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72018              Statement in Support.pdf                  238378      9/26/2021 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              72021 Jacobs, Sanquia.tv5                  10241      10/9/2024 17:32




                                                              1614
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1616 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Acknowledgment New 72021.pdf                79416      7/27/2022 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Acknowledgment.pdf                         169522      11/4/2021 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Annuity Contract.pdf                       233580     10/22/2021 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Assignment Barrington to BTG.pdf           125881     10/22/2021 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Assignment BTG to St James.pdf             125772     10/22/2021 16:14
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\72021              Information.pdf                            358249     10/22/2021 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Authorization to Release.pdf               199195     10/22/2021 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Bankruptcy Search.pdf                      144560     10/22/2021 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Closing Binder.pdf                       7711103      10/21/2021 22:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Court Order.pdf                            180661     10/21/2021 21:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Credit Report.pdf                          916025     10/22/2021 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Disclosure - IL.pdf                        316925     10/22/2021 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Disclosure - NE.pdf                        195840     10/22/2021 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Disclosure Affidavit.pdf                    51744     10/22/2021 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Drivers License.pdf                        103850     10/22/2021 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Fasano.pdf                                  74921     10/22/2021 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Fully executed Transfer Agreement.pdf    1925228      10/25/2021 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Lien Search.pdf                            220601     10/22/2021 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Life Affidavit.pdf                         118420     10/22/2021 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Medical Questionnaire.pdf                  635810     10/22/2021 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Pleadings.pdf                            2551980      10/22/2021 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Proof of Residence.pdf                   1752284      10/25/2021 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Purchase Agreement.pdf                     660686     10/22/2021 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Qualified Assignment.pdf                   302005     10/22/2021 16:14




                                                              1615
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                                       3467



               All Paths/Locations                                   Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Request for Change of Beneficiary.pdf            68788     10/22/2021 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Seller Affidavit.pdf                            316390     10/22/2021 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Settlement Agreement.pdf                        709312     10/22/2021 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Settlement Order.pdf                            157825     10/22/2021 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Social Security Card.pdf                        223055     10/22/2021 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              UCC Search.pdf                                  372196     10/22/2021 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72021              Verification of Life Procedure for BHG.pdf      182647     10/25/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              72044 Kizer, Nichelle.tv5                        10261      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Acknowledgment 72044.pdf                         98893      11/15/2021 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Acknowledgment.pdf                               24854      11/3/2021 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Affidavit in Lieu of SA - Amended.pdf           119290      10/2/2021 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Affidavit in Lieu of SA.pdf                     117330      10/2/2021 21:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Application.pdf                                 325463      9/22/2021 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Assignment.pdf                                  148531     10/18/2021 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Back up Contact for LC.pdf                      425805      10/2/2021 21:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Benefits Letter.pdf                              92582      9/30/2021 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Closing Binder.pdf                           14567864       10/2/2021 21:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Court Order.pdf                               1084081       10/9/2024 21:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Credit Report.pdf                                58972      7/21/2021 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Declaration - 2nd Amended.pdf                   315243      10/3/2021 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Declaration - Amended.pdf                       288641      10/2/2021 21:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Declaration.pdf                                 306655      10/2/2021 21:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Disclosure FL - 2nd Amended.pdf                  66234      10/3/2021 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Disclosure FL - Amended.pdf                     147931      10/2/2021 21:31




                                                              1616
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                                       3467



               All Paths/Locations                                Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Disclosure FL.pdf                            147588      10/2/2021 21:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Disclosure OH.pdf                            160526      10/2/2021 21:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Disclosure TX - 2nd Amended.pdf               73484      10/3/2021 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Disclosure TX - Amended.pdf                  134399      10/2/2021 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Disclosure VA - 2nd Amended.pdf               66271      10/3/2021 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Disclosure VA - Amended.pdf                  148440      10/2/2021 21:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Disclosure VA.pdf                            145924      10/2/2021 21:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Docusign Cert - 3F7B.pdf                     335963      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Docusign Cert - 608A.pdf                     341334      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Docusign Cert - 7436.pdf                     350395      10/9/2024 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Docusign Cert - 7BCD.pdf                     338954      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Docusign Cert - 944B.pdf                     338101      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Fasano Report.pdf                             97357      7/23/2021 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              HIPAA.pdf                                    301651      10/2/2021 21:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Identification Card.pdf                      865838      10/2/2021 21:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Judgement.pdf                                606245       8/2/2021 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Medical Affidavit.pdf                        371518      10/2/2021 21:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Medical Questionnaire.pdf                    125574      10/2/2021 21:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Notarized Declaration - 2nd Amended.pdf      115039      10/7/2021 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Order Approving Settlement.pdf                86753      12/6/2019 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Pleadings.pdf                              7066714       10/2/2021 21:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Purchase Agreement - 2nd Amended.pdf         221176      10/3/2021 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Purchase Agreement - Amended.pdf           1610787       10/2/2021 21:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Purchase Agreement.pdf                     1616706       10/2/2021 21:25




                                                              1617
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1619 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Searches.pdf                            392316      10/3/2021 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72044              Social Security Card.pdf                518960      10/2/2021 21:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72199              72199 Doyle, Lawrence.tv5                10881      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72199              Acknowledgment.pdf                       32725       12/2/2021 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72199              Application.pdf                       1320751        8/9/2021 10:48
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\72199              Information.pdf                       1159629      10/12/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72199              Benefits Letter.pdf                      53817      8/19/2021 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72199              Closing Binder.pdf                   12144966       10/6/2021 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72199              Court Order.pdf                         177279      10/1/2021 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72199              Credit Report.pdf                       872030     10/12/2021 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72199              DocuSign Certificate.pdf                281255     10/20/2021 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72199              Drivers License.pdf                     767607      10/6/2021 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72199              Fasano.pdf                              101812     10/12/2021 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72199              Medical Questionnaire.pdf               503718     10/21/2021 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72199              Notarized Document.pdf                  274678     10/12/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72199              PI Case Docket.pdf                      162498     10/21/2021 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72199              Pleadings.pdf                         5716521       10/7/2021 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72199              Purchase Agreement.pdf                1103547       10/7/2021 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72199              Searches.pdf                             49562      10/6/2021 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72199              Social Security Card.pdf                852034      10/6/2021 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72199              Stip.pdf                                603953      10/7/2021 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72199              Stipulation Continental.pdf             592967     10/21/2021 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72199              TX Disclosure.pdf                       140782      10/7/2021 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72199              WA Disclosure.pdf                       139796      10/7/2021 14:36




                                                              1618
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1620 of
                                       3467



               All Paths/Locations                                 Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72270              72270 Wheeler, Rebecca.tv5                      10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-   Allianz confirmation of address update to
SuttonPark\Closing Binders\72270              789582.pdf                                     260779      8/18/2022 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72270              Amended Disclosure.pdf                         102592      10/13/2021 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72270              Amended Purchase Agreement.pdf                 226227      10/13/2021 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72270              Application.pdf                                 42339     10/11/2021 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72270              Assignment.pdf                                 226876     10/15/2021 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72270              Benefits Letter.pdf                             72295     10/11/2021 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72270              Closing Binder.pdf                           1354202      10/11/2021 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72270              Confirmation of Beneficiary Change.pdf          30166      10/13/2021 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72270              Confirmation of Missing Payments.pdf           990515     10/14/2021 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72270              Confirmation of Payee Change.pdf                23375      10/13/2021 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72270              Credit Report.pdf                               32986      10/5/2021 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72270              Disclosure.pdf                                  55159     10/11/2021 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72270              DocuSign Certificates.pdf                      156490     10/15/2021 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72270              Notarized Document.pdf                          33902     10/15/2021 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72270              Purchase Agreement.pdf                         204948     10/11/2021 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72270              Searches.pdf                                    19740     10/11/2021 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72270              Seller Identification.pdf                      279248     10/11/2021 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72270              Social Security Card.pdf                       211813     10/11/2021 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72270              SPIA LKBX Reconfiguration Allianz.pdf           61455      8/18/2022 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72270              Submission Documents.pdf                        57341      9/27/2021 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72270              Updated Transfer Agreement.pdf                 568381     10/14/2021 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72270              W9 incomplete.pdf                               74866     10/11/2021 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72270              W9.pdf                                          76426      10/13/2021 9:22




                                                               1619
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1621 of
                                       3467



               All Paths/Locations                                 Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              72273 Cigarroa, Daniel.tv5                 10263      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              Annuity Contract.pdf                      639222      2/13/2020 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              Application.pdf                           317992      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              Assignment.pdf                            976824     10/11/2021 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              Benefits Letter.pdf                        37092      10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              Closing Binder.pdf                     15075186       10/7/2021 19:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              Court Order.pdf                           286073      10/1/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              Credit Report.pdf                         688403      10/5/2021 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              Disclosure NE.pdf                         935519      10/8/2021 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              Disclosure NJ.pdf                         891317      10/8/2021 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              DocuSgn Cert - Funding Agreement.pdf      279566     10/11/2021 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              DocuSign Cert - Application.pdf           279581     10/12/2021 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              Drivers License.pdf                       556497       5/1/2020 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              Fasano Report.pdf                          99859       8/5/2021 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              HIPAA.pdf                                 177953      10/8/2021 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              Medical Questionnaire.pdf                 362881      10/8/2021 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              Pleadings - Redacted.pdf                3109455       10/8/2021 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              Pleadings - Unredacted.pdf              2765962       10/8/2021 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              Purchase Agreement.pdf                  6311894       10/8/2021 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              Qualified Assignment.pdf                   82068      10/9/2024 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              Searches.pdf                               30596      10/8/2021 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              Settlement Agreement.pdf                  199189      10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              SSC.pdf                                   544548       5/1/2020 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              UCC Searches.pdf                           34165      10/8/2021 12:03




                                                             1620
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1622 of
                                       3467



               All Paths/Locations                                Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72273              Unredated Waiver of Service.pdf         1045897       8/25/2021 16:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              72619 Andrews, Precious.tv5                10022      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              Affidavit in Lieu of SA.pdf               580574     10/15/2021 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              Affidavit.pdf                           1485103      10/15/2021 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              Amended Court Order.pdf                   185116      10/9/2024 19:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              Application.pdf                           167593      10/7/2021 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              Assignment.pdf                            234696     10/25/2021 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              Back Up Contacts for LC.pdf               286645     10/15/2021 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              Benefits Letter.pdf                        18030      10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              Consent Order.pdf                         117370     10/15/2021 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              Court Order.pdf                           197638      10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              Credit Report - Precious Andrews.pdf      248490      10/7/2021 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              Disclosure AL.pdf                         690456     10/15/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              Disclosure DE.pdf                         693105     10/15/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              Disclosure TX.pdf                         653262     10/15/2021 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              DL and SSC.pdf                          3230059      10/15/2021 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              Docusign Cert.pdf                         384348      10/9/2024 20:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              Fasano Report.pdf                         619475      10/5/2021 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              HIPAA.pdf                               1368268      10/15/2021 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              IPA Letter.pdf                            140817     10/19/2021 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              Lead Paint Affidavit.pdf                   26591     10/15/2021 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              Medical Affidavit.pdf                     422389     10/15/2021 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              Medical Questionnaire.pdf               1944324      10/15/2021 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              Pleadings.pdf                           3765955      10/15/2021 12:03




                                                               1621
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1623 of
                                       3467



               All Paths/Locations                                 Unified Title                File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              POS - Seller.pdf                                     267189      10/15/2021 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              POS - Spouse.pdf                                     271149      10/15/2021 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              Proof of Disc Delivery.pdf                           191663      10/15/2021 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              image002.png                                            1437
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              image004.png                                            1544
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              image003.png                                            1413
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              Purchase Agreement.pdf                             7358025       10/15/2021 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              Searches.pdf                                         386611      10/13/2021 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72619              Stipulation.pdf                                      528150      10/20/2021 14:17
Saiph consulting|\Audit Materials Received-   Underlying Settlement Search Results - Precious
SuttonPark\Closing Binders\72619              Andrews.pdf                                          288710      10/14/2021 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              72620 Andrews, Precious.tv5                           10022       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Affidavit.pdf                                        285731      10/15/2021 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Amended Court Order.pdf                              184764       10/9/2024 19:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Annuity Contract Cert.pdf                             18031       10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Application.pdf                                      167593       10/7/2021 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Assignment.pdf                                       148774      10/25/2021 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Back Up Contacts for LC.pdf                          286645      10/15/2021 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Closing Binder.pdf                                 6676687       10/15/2021 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Consent Order.pdf                                    117370      10/15/2021 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Court Order.pdf                                      197677       10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Credit Report.pdf                                    248490       10/7/2021 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Disclosure DE.pdf                                    143274      10/15/2021 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Disclosure TX.pdf                                    131571      10/15/2021 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Docusign Cert - PA Docs.pdf                          384348       10/9/2024 20:23




                                                              1622
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1624 of
                                       3467



               All Paths/Locations                                 Unified Title              File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Driver License.pdf                                  48320      10/15/2021 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Fasano Report.pdf                                  619475       10/5/2021 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              HIPAA.pdf                                        1368268       10/15/2021 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              IPA Letter.pdf                                     140817      10/19/2021 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Lead Paint Affidavit.pdf                            26591      10/15/2021 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Medical Affidavit.pdf                              422389      10/15/2021 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Medical Questionnaire.pdf                        1944324       10/15/2021 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Pleadings.pdf                                    3765955       10/15/2021 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              POS - Seller.pdf                                   267189      10/15/2021 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              POS - Spouse.pdf                                   271149      10/15/2021 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Proof of Disc Delivery.pdf                         584246      10/15/2021 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              image002.png                                          1437
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              image001.jpg                                       186060
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              image004.png                                          1544
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              image003.png                                          1413
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              image001.jpg                                       186060
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              image002.png                                          1437
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              image003.png                                          1413
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              image004.png                                          1544
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Disclosure AL (427250) - Precious Andrews.pdf      116107       9/23/2021 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Disclosure AL (428896) - Precious Andrews.pdf      116099       9/23/2021 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Purchase Agreement.pdf                           1580430       10/15/2021 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Searches.pdf                                       401476      10/15/2021 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Social Security Card.pdf                            27692      10/15/2021 11:54




                                                               1623
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1625 of
                                       3467



               All Paths/Locations                                Unified Title          File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Stipulation.pdf                               526741      10/20/2021 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72620              Underlying Settlement Search Results.pdf      288710      10/14/2021 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              72624 Gardner, Kerri.tv5                       10018       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Amended Disclosure IN.pdf                     180296       7/22/2021 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Amended Purchase Agreement.pdf              2596233        10/9/2024 22:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Annuity Contract Cert.pdf                        9155     10/15/2021 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Application.pdf                               772185      10/15/2021 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Assignment.pdf                                155995       10/9/2024 19:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Court Order.pdf                               191237      10/12/2021 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Credit Report.pdf                              16521       10/12/2021 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Disclosure IN.pdf                              86549       8/19/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              DocuSign Cert - Fasano Docs.pdf               181314       10/9/2024 19:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Fasano Report.pdf                              74034      10/15/2021 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              HIPAA.pdf                                     286233       10/9/2024 20:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Identification Card.pdf                     1058459       10/15/2021 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              IPA form.pdf                                  104966       6/22/2021 19:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Lien and Judgment Search.pdf                  552279      10/18/2021 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Medical Questsionnaire.pdf                    187069       10/9/2024 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Pleadings - Amended.pdf                     9607679       10/18/2021 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Pleadings.pdf                               6025123       10/18/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Purchase Agreement.pdf                        402507        7/5/2021 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Request for Acknowledgment.pdf                282171      10/19/2021 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Searches.pdf                                   37841       10/19/2021 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Social Security Card.pdf                    1262157       10/15/2021 10:26




                                                                1624
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1626 of
                                       3467



               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Stip.pdf                                      2143356       10/9/2024 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Stipulation.pdf                               2217356       10/19/2021 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Updated Declaration.pdf                         113320       8/4/2021 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Zoho Sign Cert - Amended DS.pdf                  59652      7/22/2021 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Zoho Sign Cert - Amended PA.pdf                  94179       8/3/2021 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Zoho Sign Cert - Application.pdf                 43768      7/21/2021 21:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Zoho Sign Cert - DS and Contract docs.pdf       102935      10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Zoho Sign Cert - Final Promissory note.pdf       94171     10/12/2021 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Zoho Sign Cert - Funding Agreement.pdf           92002     10/19/2021 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Zoho Sign Cert - Interested Party DS.pdf         52569      8/19/2021 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Zoho Sign Cert - PA and Dec.pdf                  31463       7/5/2021 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72624              Zoho Sign Cert - Updated Declaration.pdf         92594       8/4/2021 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              72655 Auilina, Susan.tv5                         10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Annuity Contract.pdf                            118267     10/18/2021 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Application.pdf                               4824869      10/18/2021 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Assignment.pdf                                   35248     10/25/2021 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Authorization.pdf                             1169825      10/18/2021 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Bankruptcy Search.pdf                            62018     10/18/2021 18:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Benefits Letter.pdf                              33156      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Berwyn Search.pdf                                60424     10/18/2021 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              BinderForDealNumber50689.pdf                 16925723      10/18/2021 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Confirmation of Obligor.pdf                     316438     10/27/2021 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Court Order.pdf                                 227657      11/2/2021 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Credit Report.pdf                               614518     10/18/2021 18:57




                                                                1625
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1627 of
                                       3467



               All Paths/Locations                                 Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Declaration.pdf                           243503     10/17/2021 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Designation of Continued Contact.pdf      640914      9/27/2021 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Disclosure CT.pdf                          51055     10/17/2021 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Disclosure FL.pdf                          49976     10/17/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Disclosure NE.pdf                          51300     10/17/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Disclosure SC.pdf                          53207     10/17/2021 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Divorce Judgment- Grier.pdf             1062987       11/3/2021 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              DoCuSign Cert - 447F.pdf                   68242      10/17/2021 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              DoCuSign Cert - 663C.pdf                   68303     10/18/2021 19:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              DocuSign Cert - A4F1.pdf                   68218     10/18/2021 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              DocuSign Cert - B9F4.pdf                   68101     10/18/2021 18:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Driver License.pdf                      2829231      10/17/2021 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Fasano Report.pdf                          95495      9/10/2021 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Final Transfer Package.pdf              6435963       10/6/2021 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              HIPAA.pdf                                 224545      10/17/2021 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Lien Search.pdf                            58650     10/18/2021 18:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Life Affidavit.pdf                      1022721       9/27/2021 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Medical Questionnaire.pdf               5835638       10/17/2021 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              NASP Search.pdf                            94486     10/18/2021 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Pleadings.pdf                           1569578      10/25/2021 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Purchase Agreement.pdf                  2770672      10/18/2021 18:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Request for Acknowledgment.pdf            449180      11/2/2021 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Settlement Agreement.pdf                   69477      4/29/2011 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Social Security Card.pdf                2652668      10/18/2021 18:55




                                                              1626
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1628 of
                                       3467



               All Paths/Locations                                Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Stipulation.pdf                                      621029      11/2/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Sworn Affidavit in Lieu of SA.pdf                  1214169      10/17/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              UCC Search.pdf                                        37633     10/18/2021 18:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              Updated Benefits Letter.PDF                          439604     10/20/2021 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72655              W9.pdf                                            10913167       9/27/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              72793 Lee, Tommy.tv5                                  10013      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Acknowledgment - Lee.pdf                             106795     11/14/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Application.pdf                                      362537     10/20/2021 13:26
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\72793              Information.pdf                                      177300     10/20/2021 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Backup List of Continued Contacts.pdf                110736     10/20/2021 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Benefits Letter.pdf                                1273074      10/20/2021 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Court Order - Amended.pdf                         12006957      11/14/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Court Order.pdf                                      493278     10/21/2021 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Credit Report updated.pdf                             57457     10/21/2021 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Declaration in Lieu of Settlement Agreement.pdf      269984     10/20/2021 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Disclosure TN updated.pdf                            760912     10/22/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Disclosure WA updated.pdf                            758277     10/22/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Docusign Certificate 7F4.pdf                         299447      2/10/2021 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Docusign Certificate 966.pdf                         285679      5/13/2021 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Docusign Certificate B4D.pdf                         277804     12/14/2020 19:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Docusign Certificate E90.pdf                         289479      5/28/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Drivers License.pdf                                4331144      10/20/2021 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Executed Lee Assignment.pdf                          167311     10/22/2021 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Fasano Report.pdf                                    123759     10/20/2021 13:26




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                                       3467



               All Paths/Locations                                Unified Title                 File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Lee Assignment updated.docx                           25812      10/22/2021 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Lee Closing Binder.pdf                            22479372        10/9/2024 23:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Medical Questionnaire.pdf                            260673      10/20/2021 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              PI Case Docket Sheet.pdf                              87497      10/29/2021 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Pleadings updated.pdf                             13208445       10/22/2021 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Purchase Agreement Final.pdf                       5774329       10/22/2021 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Purchase Agreement.pdf                             5030764       10/20/2021 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Searches updated.pdf                                 334133      10/21/2021 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Social Security Card.pdf                           4331121       10/20/2021 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Stipulation - Lee.pdf                                355922       10/9/2024 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Stipulation missing Symetras signature.pdf         1623990       10/21/2021 16:15
                                              Successful transmission Berwyn Mortality Search
Saiph consulting|\Audit Materials Received-   Report 08282023 Tommy Oliver Lee Policy
SuttonPark\Closing Binders\72793              AA0487014.pdf                                        117125        9/1/2023 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72793              Supplemental Affidavit.pdf                           903892      10/22/2021 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72802              72802 Pierce, Paul.tv5                                10018       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72802              Additional Genworth Document.pdf                   1156004       10/26/2021 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72802              Amended Submission Docs.pdf                        1189055       10/13/2021 21:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72802              Annuity.pdf                                        8780038        11/4/2021 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72802              Application.pdf                                       43499      10/28/2021 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72802              Attorney letter regarding Divorce.pdf                305569       11/4/2021 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72802              Back up for Liens on Searches.pdf                       9034      11/8/2021 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72802              BL - Annuitization Confirmation.pdf                   40366       11/8/2021 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72802              Closing Binder.pdf                                 7951432       10/28/2021 14:10
Saiph consulting|\Audit Materials Received-   Confirmation of Owner Payee and Bene
SuttonPark\Closing Binders\72802              Change.pdf                                            35941       11/4/2021 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72802              Credit Report.pdf                                     70637      10/18/2021 11:30



                                                             1628
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                                       3467



               All Paths/Locations                                  Unified Title              File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72802              Disclosure.pdf                                       62471      10/28/2021 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72802              Divorce Judgment.pdf                              1135475        11/4/2021 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72802              DocuSign Certificate.pdf                            203042       10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72802              Drivers License.pdf                                 754450        10/8/2021 8:14

Saiph consulting|\Audit Materials Received-   Genworth Correspondence _ Jan 2023 Quarterly
SuttonPark\Closing Binders\72802              Statement Paul Pierce T06414202A.pdf              1489940         1/11/2023 8:23
Saiph consulting|\Audit Materials Received-   Genworth Correspondence _Quarterly Statement
SuttonPark\Closing Binders\72802              Paul Pierce T06414202A.pdf                          832498      10/12/2022 11:49
Saiph consulting|\Audit Materials Received-   Genworth Quarterly Statement for Paul Pierce
SuttonPark\Closing Binders\72802              Apr 2023.pdf                                      1062522         4/13/2023 7:59
Saiph consulting|\Audit Materials Received-   Genworth Quarterly Statement for Paul Pierce
SuttonPark\Closing Binders\72802              July 2023.pdf                                     1613686         7/14/2023 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72802              Genworth Quarterly Statement.pdf                    115056       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-   Partial divorce showing Annuity is sole
SuttonPark\Closing Binders\72802              Property.pdf                                      4217484        11/8/2021 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72802              partial divorce.pdf                                 280574      10/28/2021 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72802              Pierce Paul Divorce Summary.pdf                   3711141       10/18/2021 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72802              Quarterly Statement.pdf                             197825       4/14/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72802              Redirection Confirmation 72802.pdf                   25831       11/18/2021 8:53
Saiph consulting|\Audit Materials Received-   Redirection Confirmation New Bluehill Genworth
SuttonPark\Closing Binders\72802              789582.pdf                                          157298       7/21/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72802              Searches.pdf                                         24374      10/28/2021 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72802              Transfer Agreement original.pdf                     212874      10/28/2021 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72802              UCC Filing.pdf                                      155272      10/28/2021 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72802              UCC Search.pdf                                      116672       11/8/2021 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72802              Updated Transfer Agreement.pdf                      539665       11/8/2021 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72805              72805 Smith, Brian.tv5                                 9983      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72805              Acknowledgment.pdf                                   26231       11/1/2017 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72805              Annuity Contract.pdf                              4713360       10/23/2017 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72805              Application.pdf                                      43080       9/17/2021 14:57



                                                               1629
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                                       3467



               All Paths/Locations                                 Unified Title         File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72805              certificate for closing statement.pdf         217513       10/9/2024 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72805              Court Order.pdf                               180710       11/4/2021 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72805              Credit Report.pdf                              23363       10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72805              Disclosure Statement.pdf                      118442       9/17/2021 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72805              ID.pdf                                      2290016       10/22/2021 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72805              Pleadings.pdf                               1026474       10/22/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72805              proof of services_ Brian Smith.pdf            263164       10/9/2024 20:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72805              Proof of SSN.pdf                              557310       9/27/2017 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72805              Purchase Agreement.pdf                        190115      10/22/2021 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72805              Qualified Assignment.pdf                    1866439       10/23/2017 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72805              Searches.pdf                                     3792      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72805              Seller Dependents.pdf                          17202       9/17/2021 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72805              Settlement Agreement.pdf                    4073861       10/23/2017 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72805              UCC Brian Smith Equipment Liens Only.pdf      574205       10/9/2024 21:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72810              72810 Brown, Tawanda.tv5                         9985      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72810              Acknowledgment.pdf                             29130      10/28/2021 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72810              Assignment.pdf                                358602      10/28/2021 13:04
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\72810              Information.pdf                            16479914       10/28/2021 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72810              Closing Binder.pdf                         42213869       10/27/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72810              Court Order.pdf                             1474596       10/28/2021 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72810              Credit Report.pdf                              98012      10/28/2021 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72810              Disclosure - NY.pdf                           167082      10/28/2021 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72810              Divorce Decree.pdf                          7855538         1/4/2021 17:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72810              Drivers License.pdf                           191189      10/28/2021 12:40




                                                              1630
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1632 of
                                       3467



               All Paths/Locations                                   Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72810              Fasano.pdf                                 267472     10/28/2021 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72810              IPA Bill.pdf                                56646     10/29/2021 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72810              IPA letter.pdf                              67037     10/29/2021 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72810              Medical Questionnaire.pdf                4450415      10/28/2021 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72810              Pleadings.pdf                           10308307      10/28/2021 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72810              Purchase Agreement.pdf                   4934900      10/28/2021 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72810              Request for Win Letter.pdf                  65379     10/28/2021 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72810              Searches .pdf                              636323     10/28/2021 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72810              Seller Affidavit.pdf                       826666     10/28/2021 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72810              Social Security Card.pdf                    56543     10/28/2021 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72810              W9.pdf                                   6140394      10/28/2021 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72810              WIN Letter.pdf                             442936     10/27/2021 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72838              0261.pdf                                   192275      10/9/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72838              1B91.pdf                                   191107      10/9/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72838              72838 Corbett, Cindy.tv5                    10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72838              Application.pdf                            102207      10/26/2021 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72838              Assignment.pdf                             227809     11/15/2021 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72838              Benefits Letter.pdf                         26486      9/28/2021 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72838              certificate 9CBC.pdf                       192397      10/9/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72838              certificate closing statement.pdf          194062      10/9/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72838              credit report.pdf                           49148       9/7/2021 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72838              Disclosure Statement - Revised.pdf         113938       11/1/2021 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72838              Disclosure Statement 2nd Revision.pdf      101461     11/15/2021 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72838              Disclosure Statement.pdf                   157450      10/26/2021 8:13




                                                               1631
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1633 of
                                       3467



               All Paths/Locations                                 Unified Title         File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72838              Divorce.pdf                                   192329       9/28/2021 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72838              Driver License.pdf                          4194127        10/26/2021 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72838              Judgments.pdf                                    3043      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72838              Purchase Agreement - Revised.pdf              233950        11/1/2021 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72838              Purchase Agreement 2nd Revision 11-5.pdf      250691      11/15/2021 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72838              Purchase Agreement.pdf                        479421       10/26/2021 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72838              Searches.pdf                                   14682       10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72838              SSC.pdf                                       929862       9/28/2021 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72838              Stipulation.pdf                               399445      11/15/2021 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72838              Tax Lien.pdf                                1369195        10/26/2021 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72838              UCC.pdf                                        48651       10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72838              W9.pdf                                      1531314        9/28/2021 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72894              72894 Miles, Georgia.tv5                         9967      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72894              Acknowledgment.pdf                            187201       2/18/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72894              Application.pdf                               404543       12/7/2021 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72894              Benefits Letter.pdf                            59427       1/28/2013 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72894              Change of Bene Request.pdf                     64965       12/7/2021 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72894              Closing Binder.pdf                          1523477         1/5/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72894              Court Order.pdf                             1281442         2/1/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72894              Credit Report.pdf                           1470561         1/4/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72894              Declaration.pdf                               113064       12/7/2021 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72894              Disclosure NC - Increased PP.pdf              207794       1/31/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72894              Disclosure Statement - NC.pdf                 101506       12/7/2021 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72894              Driver License.pdf                            577214        1/5/2022 13:59




                                                                1632
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1634 of
                                       3467



               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72894              Esign Certificate -10-23-21.pdf                   45818      12/7/2021 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72894              Esign Certificate -11-1-21.pdf                    46076      12/7/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72894              IPA Letter - Miles.pdf                           109823       2/1/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72894              Pleadings.pdf                                 13163300       1/14/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72894              Purchase Agreement.pdf                           286162       1/5/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72894              Searches.pdf                                     718015       1/4/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72894              Settlement Agreement - Unable to locate.pdf      184332       1/5/2022 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72894              Social Secuirty Card.pdf                          60300       1/5/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72894              Terms Rider - Increased PP.pdf                   164341      1/31/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72894              Updated Benefits Letter.pdf                      546470       1/6/2022 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72901              72901 Cotriche, Emilio.tv5                        10240      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72901              Acknowledgment.pdf                                44586       1/3/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72901              Affidavit.pdf                                    149427     10/26/2021 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72901              Application.pdf                                   94506      7/13/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72901              Benefits Letter.pdf                               62752      9/29/2021 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72901              Court Order.pdf                                  126037     10/28/2021 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72901              Credit Report.pdf                                281727     10/11/2021 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72901              Disclosure CT.pdf                                160730     10/26/2021 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72901              Disclosure FL.pdf                                169532     10/26/2021 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72901              Disclosure NY.pdf                                 43951      10/9/2024 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72901              Divorce Decree.pdf                             7117973      10/16/2019 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72901              docusign.pdf                                     280849     10/28/2021 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72901              Fasano Report.pdf                                 99881      10/27/2021 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72901              HIPAA and Medical Questionnaire.pdf              291714      7/12/2021 12:23




                                                              1633
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1635 of
                                       3467



               All Paths/Locations                                 Unified Title              File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72901              Identification.pdf                               3521489       10/25/2021 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72901              Pleadings.pdf                                   13294630       10/26/2021 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72901              Purchase Agreement.pdf                             789131      10/26/2021 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72901              Qualified Assignment.pdf                           169682       9/15/2020 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72901              Redirection Reconfig Letter up04-07-2022.pdf     7222890         4/6/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72901              Searches TLO.pdf                                    32115       10/9/2024 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72901              Searches.pdf                                        14787       10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72901              Settlement Agreement.pdf                           181374        9/19/2016 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72901              SSC.pdf                                          2739013         8/8/2016 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72901              UCC Search.pdf                                      24083       10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72943              72943 Chrys, Chrys.tv5                                9970      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72943              72943 Docs 11-30-2021.pdf                        5590581       11/30/2021 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72943              Annuity Contract.pdf                               325770       12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72943              Application.pdf                                     78835       12/2/2021 12:45
Saiph consulting|\Audit Materials Received-   Assignment from Income Stream to Provident
SuttonPark\Closing Binders\72943              Trust Group.pdf                                     16026       12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72943              Assignment from StratCap to Income Stream.pdf       17460       12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72943              Bankruptcy Search.pdf                                 6727      12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72943              Court Order.pdf                                  1106587        12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72943              Credit Report Equifax Only.pdf                      56177       12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72943              Disclosure - CA.pdf                                 75183       12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72943              Dissolution of Marriage.pdf                      1872481        12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72943              Drivers License.pdf                                268001       12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72943              IPA.pdf                                             30011       12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72943              Marital Status.pdf                                  27825       12/2/2021 12:45




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1636 of
                                       3467



               All Paths/Locations                                Unified Title                 File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72943              Purchase Agreement.pdf                               453340       12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72943              Redirection Confirmation New 72943.pdf               215184       6/21/2023 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72943              Request for Change of Beneficiary.pdf                 45939       12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72943              Searches.pdf                                         527645       12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72943              Settlement Authorization.pdf                          44705       12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72943              SSN Verification Chrys Ernest Chrys.pdf              172948       12/6/2021 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72943              STA Servicing Agreement.pdf                        1706353        1/31/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72943              Stipulation.pdf                                       56127       12/2/2021 12:45
Saiph consulting|\Audit Materials Received-   Transaction Summary and Contact
SuttonPark\Closing Binders\72943              Information.pdf                                         9738      12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72948              72948 Docs 11-30-2021.pdf                         11587124       11/30/2021 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72948              72948 White, Marquita.tv5                             10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72948              Acknowledgment.pdf                                    70735       12/2/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72948              Application.pdf                                    1112725        12/2/2021 14:53
Saiph consulting|\Audit Materials Received-   Assignment from Income Stream to Provident
SuttonPark\Closing Binders\72948              Trust Group.pdf                                      147610       12/2/2021 14:53
Saiph consulting|\Audit Materials Received-   Assignment from Liberty Settlement Solutions to
SuttonPark\Closing Binders\72948              Income Stream .pdf                                   105863       12/2/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72948              Bankruptcy Search.pdf                                 18923       12/2/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72948              Benefits Letter.pdf                                   84668       12/2/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72948              Court Order.pdf                                      659617       12/2/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72948              Credit Report.pdf                                    413356       12/2/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72948              Disclosure - DE REDACTED.pdf                         135183       12/2/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72948              Disclosure - GA REDACTED.pdf                         149701       12/2/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72948              Disclosure - MI REDACTED.pdf                         134999       12/2/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72948              Disclosure - NY REDACTED.pdf                         199336       12/2/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72948              Insurance Policy.pdf                                 548150       12/2/2021 14:53




                                                             1635
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1637 of
                                       3467



               All Paths/Locations                                  Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72948              IPA Waiver REDACTED.pdf                          36689      12/2/2021 14:53
Saiph consulting|\Audit Materials Received-   Life Insurance Policy and Proof of Premium
SuttonPark\Closing Binders\72948              Payment.pdf                                   4922565       12/2/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72948              Purchase Agreement REDACTED.pdf                 386203      12/2/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72948              Redirection Confirmation New 72948.pdf           73473      5/22/2023 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72948              Requests for Acknowledgment.pdf                 359993      12/2/2021 14:53
Saiph consulting|\Audit Materials Received-   Satisfaction of Judgment Agreement and
SuttonPark\Closing Binders\72948              Release.pdf                                     391157      12/2/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72948              Searches.pdf                                    228724      12/2/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72948              Seller Affidavit REDACTED.pdf                   183269      12/2/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72948              Seller Identification.pdf                       188185      12/2/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72948              Spousal Consent.pdf                             109310      12/2/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72948              STA Servicing Agreement.pdf                   1735906       1/31/2022 11:52
Saiph consulting|\Audit Materials Received-   Transaction Summary and Contact
SuttonPark\Closing Binders\72948              Information.pdf                                 396331      12/2/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72948              UCC Searches.pdf                                311458      12/2/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72950              72950 Combined Docs - 1-03-2022.pdf           8106173        1/3/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72950              72950 Mckenna, Scott.tv5                         12089      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72950              Annuity Contract.pdf                            182503      1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72950              Application.pdf                               1004561       1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72950              Assignment Peachtree to Even MS.pdf              16334      1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72950              Assignment Peachtree to Income Stream.pdf        15428      1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72950              Closing Binder.pdf                            8106173        1/3/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72950              Court Order.pdf                                 194720      1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72950              Credit Report.pdf                                55525      1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72950              Disclosure - CT.pdf                              27737      1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72950              Disclosure - TX.pdf                              32104      1/14/2022 14:35




                                                              1636
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1638 of
                                       3467



               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72950              Divorce Decree.pdf                                    187344      1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72950              Drivers License.pdf                                   944506      1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72950              New - Acknowledgement.pdf                              46066      5/24/2016 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72950              Purchase Agreement.pdf                              3864304       1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72950              Qualified Assignment.pdf                              199129      1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72950              Redirection Reconfig Letter up04-07-2022.pdf        7222890        4/6/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72950              Redirection Reconfig Letters 72950 -11-17-22.pdf      358872     11/17/2022 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72950              Request for Change of Beneficiary.pdf                 110961      1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72950              Searches.pdf                                          537334      1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72950              Servicing Agreement 2022.pdf                        1548877       3/24/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72950              Settlement Agreement.pdf                              341870      1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              72956 Carter, Kimberly.tv5                             10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              Acknowledgment Letter.pdf                              47132      12/22/2021 2:37
Saiph consulting|\Audit Materials Received-   Acknowledgment of Insurance Premium
SuttonPark\Closing Binders\72956              Payment.pdf                                           139863      10/9/2024 18:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              Affidavit of Same Name.pdf                            498426      11/3/2021 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              App.pdf                                             1681588      10/12/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              Benefits Letter.pdf                                   151680      11/3/2021 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              BK Search.pdf                                          46876     10/15/2021 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              CA- Ack.pdf                                         2339908      12/16/2021 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              CA- Blank signed.pdf                                2959070      11/30/2021 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              CA- Complete Signed.pdf                               553898     11/30/2021 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              Court Order.pdf                                       157747     11/29/2021 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              Credit Report.PDF                                     171124      9/16/2021 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              Declaration.pdf                                       239609      11/3/2021 10:06




                                                              1637
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1639 of
                                       3467



               All Paths/Locations                                 Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              Disclosure DE.pdf                             105866      11/3/2021 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              Disclosure MI.pdf                             102639      11/3/2021 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              Driver License.pdf                            188660      11/3/2021 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              Fasano Report.pdf                              97360      10/7/2021 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              Final Transfer Package.pdf                  2381936      10/22/2021 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              HIPAA and Medical Questionnaire.pdf           618731      10/5/2021 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              IPA Waiver.pdf                                 80653      11/3/2021 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              Lien Search.pdf                                64254      10/6/2021 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              Life Insurance Policy.pdf                   1878414      11/19/2021 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              NOH.pdf                                       547612     11/18/2021 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              Pleadings.pdf                              21104574      11/22/2021 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              Prior order.pdf                               315227      11/3/2021 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              Proof of Insurance Premium Withdraw.pdf       185320      12/20/2021 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              Proof of Premium Payment and Inforce.pdf    1993553      12/17/2021 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              Purchase Agreement.pdf                      1928161       11/3/2021 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              Signed Assignment Attached.pdf                 34885     12/17/2021 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              SSC.PDF                                       128211      10/4/2021 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              Sworn Affidavit in Lieu of SA.pdf             414355      11/3/2021 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              Transaction Summary.pdf                        71140      11/3/2021 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72956              UCC Search Results.pdf                        556043     11/18/2021 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              72959 Ruiz, Sergio.tv5                         10259      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              Application.pdf                               553696      11/4/2021 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              Benefit Letter - old.pdf                      335450      7/19/2018 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              Closing Binder.pdf                         15567965       10/9/2024 23:42




                                                                1638
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1640 of
                                       3467



               All Paths/Locations                               Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-   Colllateral Assignments blank and completed
SuttonPark\Closing Binders\72959              forms.pdf                                       1544154        11/9/2021 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              Confirmation of Collateral Assignee.pdf           793124     11/24/2021 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              Court Order.pdf                                 1692752       11/3/2021 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              Credit Report.pdf                                 250158      11/4/2021 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              Declaration.pdf                                 2470977       11/4/2021 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              Disclosure Affidavit.pdf                        1032352        11/4/2021 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              Disclosure CA - Amended.pdf                     2294883        11/4/2021 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              Disclosure TX - amended.pdf                     1543856       11/4/2021 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              DocuSign Cert - Closing Statement.pdf             370451      10/9/2024 20:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              Driver Licenses.pdf                             1173355        11/4/2021 9:50
Saiph consulting|\Audit Materials Received-   Email from KC confirming amended app was rec
SuttonPark\Closing Binders\72959              and no changes.pdf                                254789      12/10/2021 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              Fasano Report.pdf                                 105252      12/1/2021 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              HIPAA and Medical Questionnaire.pdf               472672      10/9/2024 20:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              Life App - revised.pdf                            191943      10/9/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              Life policy app.pdf                             1229682       10/9/2024 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              Life Policy.pdf                                14780071        9/7/2021 22:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              OC email on sellers competency.pdf                213524     12/16/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              Pleadings.pdf                                  29723535       11/5/2021 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              Proof of premium payment.pdf                      202504       12/3/2021 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              image003.png                                       18206
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              Purchase Agreement.pdf                         13650808       11/4/2021 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              Searches.pdf                                      515614      11/4/2021 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              Settlement Agreement.pdf                        1895996       7/19/2018 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              SIGNED AUTH TO RUN CREDIT.pdf                     163328      11/2/2021 11:12




                                                                1639
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1641 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              Social Security card.pdf                 168850      7/19/2018 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72959              Stipulation - Fully executed.pdf       1390396      12/13/2021 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Annuity Contract.pdf                   2203890       11/4/2021 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Application.pdf                        2192412       11/4/2021 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Assignment Agreement Executed.pdf         24928     12/17/2021 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Authorizations.pdf                     2055647       11/4/2021 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Certification.pdf                      2052988       11/4/2021 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Closing Book Jayden Krone.pdf          4988676       11/3/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Court Order.pdf                          205098     12/15/2021 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Credit Report.pdf                      2236229       11/4/2021 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Disclosure - DE.pdf                    2009240       11/4/2021 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Disclosure - KY.pdf                    2012326       11/4/2021 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              DocuSign Cert CDE.pdf                    201973      10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Docusign Certificate 0CC.pdf             213171      10/9/2024 19:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Docusign Certificate 210.pdf             201780      10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Docusign Certificate 51B.pdf             212407      10/9/2024 19:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Docusign Certificate 939.pdf           2031026       11/4/2021 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Docusign Certificate EEF.pdf             212399      10/9/2024 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Docusign CertificateA40.pdf            2034491       11/4/2021 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Krone Assignment.docx                     26029     12/15/2021 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Nasp Search.pdf                        2113843       11/4/2021 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              PI Case Docket Sheet.pdf                 508987     12/17/2021 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Pleadings redacted.pdf                 9480280      11/30/2021 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Proof of SSN.pdf                       1033590      11/30/2021 15:12




                                                             1640
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1642 of
                                       3467



               All Paths/Locations                                 Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Purchase Agreement.pdf                          2651980       11/4/2021 14:03
Saiph consulting|\Audit Materials Received-   Redirection Confirmation New_Protective Life
SuttonPark\Closing Binders\72966              up03-03-2023.pdf                                  340590        3/3/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Request for Change of Beneficiary.pdf           2093606       11/4/2021 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Searches.pdf                                    2018545       11/4/2021 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Seller Identification.pdf                         451542     12/15/2021 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Stipulation Fully Executed.pdf                    498420     12/17/2021 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Stipulation missing Lincolns signature.pdf        490800     11/30/2021 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              UCC Search.pdf                                  2010779       11/4/2021 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72966              Unredacted exhibits.pdf                           776606      12/16/2021 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72967              72967 Teundria, Kelley.tv5                         10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72967              Acknowledgment.pdf                                110271      12/29/2021 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72967              Application.pdf                                    49587      11/4/2021 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72967              Assignment.pdf                                    226935      11/15/2021 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72967              Benefits Letter.pdf                                50463      9/28/2017 16:45
Saiph consulting|\Audit Materials Received-   Berwyn Death Search_Dec21 04112022 Teundria
SuttonPark\Closing Binders\72967              Kelley.pdf                                        146608      4/25/2022 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72967              Closing Binder.pdf                              4445096       11/4/2021 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72967              Court Order.pdf                                   533612      11/4/2021 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72967              Credit Report.pdf                                  34735     10/25/2021 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72967              Disclosure AR.pdf                                 114760      11/4/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72967              DocuSign Cert - 0A34.pdf                          231807      10/9/2024 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72967              DocuSign Cert - Assignment.pdf                    143273      10/9/2024 18:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72967              Fasano Report.pdf                                 106549      8/30/2021 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72967              HIPAA.pdf                                         115186      11/4/2021 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72967              Identification Card.pdf                           596035      11/4/2021 11:15




                                                              1641
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1643 of
                                       3467



               All Paths/Locations                                 Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72967              Medical Questionnaire.pdf                       159079      11/4/2021 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72967              pleadings.pdf                                 2973343      11/10/2021 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72967              Purchase Agreement.pdf                          202396      11/4/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72967              Searches.pdf                                     23472      11/4/2021 16:33
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Teundria Kelley POLICY
SuttonPark\Closing Binders\72967              K2818884 04272022.pdf                           485283      4/27/2022 15:10
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR TeUndria Shawntae Kelley
SuttonPark\Closing Binders\72967              POLICY K2818884.pdf                             249147      3/10/2023 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72967              UCC Search.pdf                                   58928     11/10/2021 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72967              Updated Benefits Letter.pdf                      84401     11/15/2021 19:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              72974 Chapman, Nanigue.tv5                       12250      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Acknowledgment New 72974.pdf                     88501      5/23/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Acknowledgment.pdf                               42428      3/31/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Affidavit - Notarized.pdf                     2338840       10/9/2024 22:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Affidavit in Lieu of SA.pdf                     380670      11/8/2021 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Affidavit.pdf                                   472729      11/8/2021 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Application.pdf                                 496728      11/5/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Approval from Settling Court.pdf                 52359      3/11/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Assignment.pdf                                  170345       3/25/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Bankruptcy Search.pdf                            81888      11/8/2021 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Benefits Letter.pdf                              46900       10/7/2021 1:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Closing Binder.pdf                           36556882       11/8/2021 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Court Order.pdf                                 277509      3/24/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Credit Report.pdf                                51372      11/5/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Disclosure CT.pdf                               371900      11/8/2021 17:10




                                                              1642
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1644 of
                                       3467



               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Disclosure DE.pdf                        383664       11/8/2021 17:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Disclosure MA.pdf                        398709       11/8/2021 17:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Disclosure NJ.pdf                        366885       11/8/2021 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Disclosure NY.pdf                        425131       11/8/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              DocuSign Cert - All PA Docs.pdf          245831       10/9/2024 20:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Identification Card - NJ.pdf              93743       3/31/2022 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Identification Card- NY.pdf               44907       11/8/2021 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Infants Compromise Order.pdf           1222582        10/9/2024 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              PI Docket Search Results.pdf          14151521        11/5/2021 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Pleadings - NJ.pdf                     2926793        11/8/2021 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Pleadings - NY.pdf                    10027980        11/5/2021 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              POR -Utility Bill.pdf                    307361       11/8/2021 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Proof of Disc Delivery.pdf               383388       11/8/2021 16:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Disclosure NJ - NANIGUE CHAPMAN.pdf       75113        9/28/2021 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Purchase Agreement.pdf                 4958851        11/8/2021 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Searches.pdf                             306432       11/8/2021 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Social Security Card.pdf                  59393       11/8/2021 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Updated Bankruptcy Search.pdf            131649       3/15/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Updated Credit Report.pdf                 50028       3/15/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72974              Updated Searches.pdf                     271290       3/15/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72986              72986 Hall, Marva.tv5                       9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72986              Affidavit Same Name.pdf                   18016       1/21/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72986              Affidavit.pdf                          1527979       12/14/2021 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72986              Annuity Contract.pdf                      43402      12/14/2021 17:01




                                                              1643
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1645 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72986              Application-notes.pdf                    329027      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72986              Application.pdf                          435683      10/9/2024 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72986              Authorization to Release.pdf              77469     12/14/2021 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72986              Change of Bene Request.pdf               165475     12/14/2021 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72986              Closing Binder.pdf                    11192062        1/6/2022 22:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72986              Court Order.pdf                          208979       1/24/2022 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72986              Credit Report.pdf                        699535      1/24/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72986              Disclosure - PA.pdf                       36338     12/14/2021 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72986              Disclosure - TX.pdf                      130165     12/14/2021 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72986              Disclosure Proof of Delivery.pdf          83351       8/5/2021 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72986              E-Sign Certificate 11.1.2021.pdf          37830      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72986              PI Case Docket.pdf                     5749137      12/14/2021 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72986              Pleadings.pdf                          3355595       1/24/2022 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72986              Purchase Agreement.pdf                   199572       1/6/2022 22:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72986              Searches.pdf                             573718      1/24/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72986              Social Security Card.pdf                 344292       1/3/2022 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\72986              Stipulation.pdf                          363708       1/24/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              73027 Sykes, Breanna.tv5                  10261      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              Affidavit in Lieu of SA.pdf              337933     11/11/2021 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              Annuity Contract.pdf                     470851      6/19/2020 16:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              Application.pdf                          268861      11/8/2021 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              Back up Contact for LC.pdf               120435     11/11/2021 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              Bankruptcy Search.pdf                     81374     11/11/2021 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              Closing Binder.pdf                    12591414      11/11/2021 17:12




                                                                1644
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1646 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              Credit Report.pdf                         54272     11/10/2021 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              Declaration.pdf                          712436     11/11/2021 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              Disclosure FL.pdf                        360851     11/11/2021 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              Disclosure IL.pdf                        372993     11/11/2021 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              Disclosure NY.pdf                        179169     11/11/2021 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              Fasano Report.pdf                         98743      10/4/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              HIPAA.pdf                                766901     11/11/2021 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              Identification Card.pdf                1089500      11/11/2021 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              Infant Order Compromise.pdf              244904     12/19/2007 16:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              List of Prior Transfers.pdf               62055     11/11/2021 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              Medical Affidavit.pdf                    202878     11/11/2021 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              Medical Questionnaire.pdf              1491647      11/11/2021 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              Pleadings.pdf                          1503207      11/11/2021 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              Purchase Agreement.pdf                 3662362      11/11/2021 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              Qualified Assignment.pdf                 376699      6/19/2020 16:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              Searches.pdf                             293986     11/11/2021 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              SSC.pdf                                   99949     11/11/2021 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              Stip - St James.pdf                      551244     11/15/2021 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73027              Stipulation.pdf                          657026     11/16/2021 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73040              73040 Scheff, Desarie.tv5                 10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73040              Acknowledgment.pdf                       213008     12/10/2021 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73040              Annuity Contract.pdf                     279459     11/15/2021 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73040              Application.pdf                          424363     11/15/2021 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73040              Assignment.pdf                           272155     11/17/2021 17:28




                                                                1645
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1647 of
                                       3467



               All Paths/Locations                                   Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73040              Authorization to Release and Run Credit.pdf    1061002      11/15/2021 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73040              Bankruptcy Search.pdf                             68137     11/15/2021 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73040              Court Order.pdf                                1710434      11/16/2021 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73040              Credit Report.pdf                                389167     11/16/2021 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73040              Disclosure - NY.pdf                              146537     11/15/2021 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73040              Docusign Certificate 150.pdf                      18143     11/15/2021 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73040              Docusign Certificate 9F2.pdf                      18136     11/15/2021 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73040              Infants Compromise Order.pdf                     248574     11/15/2021 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73040              Pleadings.pdf                                  8018452      11/16/2021 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73040              Purchase Agreement.pdf                         6645725      11/15/2021 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73040              Qualified Assignment.pdf                         255630     11/15/2021 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73040              Scheff Assignment.docx                            25847      11/17/2021 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73040              Scheff Binder.pdf                             17678289      10/26/2021 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73040              Searches.pdf                                     351605     11/15/2021 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73040              Seller Affidavit.pdf                           1171326      11/15/2021 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73040              Seller Identification.pdf                      2674271      11/15/2021 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73040              Settlement Agreement.pdf                         702937     11/15/2021 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73040              Social Security Card.pdf                          39616     11/15/2021 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73068              73068 Simas, Ricardo.tv5                          10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73068              Ack to Trinity.pdf                               344904      2/22/2023 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73068              Acknowledgement Letter.pdf                       452175       1/19/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73068              Amended Court Order.pdf                        1641179       2/14/2023 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73068              Assignment to Trinity.pdf                         86331       6/5/2023 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73068              Authorization.pdf                                992859       1/18/2022 9:31




                                                              1646
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1648 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73068              Award Letter.pdf                           42360       6/19/2019 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73068              Certificate of Good Standin.pdf           138485     12/28/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73068              D9D7.pdf                                1485047       1/18/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73068              Disclosure Statement.pdf                1087941      11/10/2021 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73068              Driver License.pdf                         62269     11/10/2021 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73068              Global Order to Trinity.pdf               370246      2/22/2023 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73068              Mini Assignment.pdf                       509547      10/9/2024 20:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73068              Order to Trinity.pdf                      211074      2/22/2023 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73068              Pleadings.pdf                           1703391       1/18/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73068              Purchase Agreement.pdf                  8987454       1/20/2022 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73068              Searches.pdf                              585399     12/29/2021 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66021              Searches.pdf                            8607554       3/19/2021 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66021              Seller Affidavit.pdf                      164186      3/19/2021 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66021              UCC Search.pdf                          6864980       3/19/2021 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66021              W9.pdf                                    267103      3/19/2021 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66021              Win Letter.pdf                             22911      3/19/2021 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66187              66187 Figueroa, Kassandra.tv5              10265      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66187              AC Schedule.pdf                           149586      4/30/2021 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66187              Acknowledgment.pdf                         38998      6/24/2021 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66187              Application.pdf                            99905      4/30/2021 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66187              Court Order.pdf                           141830      10/9/2024 18:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66187              Credit Report.pdf                          24062      3/31/2021 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66187              Disclosure Statement.pdf                  305702      4/30/2021 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66187              DL.pdf                                    272400       5/6/2021 15:08




                                                               1647
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                                       3467



               All Paths/Locations                                 Unified Title        File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66187              Fasano Report.pdf                             98548        3/9/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66187              Figueroa Assignment.pdf                      221651       10/9/2024 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66187              HIPAA and Medical Questionnaire.pdf          220615       10/9/2024 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66187              Order for judgment Disburs of funds.pdf      237327       4/30/2021 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66187              Pleadings.pdf                              8101920        4/30/2021 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66187              POS.pdf                                      250596        5/3/2021 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66187              Purchase Agreement.pdf                       531962       4/30/2021 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66187              Qualified Assignment.pdf                     377038       4/30/2021 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66187              SA.pdf                                     1633029        4/30/2021 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66187              Searches.pdf                                    5494      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66187              SSN Verification.pdf                          90562      11/21/2019 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66187              UCC.pdf                                      109454       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66232              66232 Sherman, Kendre.tv5                     10262       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66232              Acknowledgment - Sherman.pdf                 111778        5/7/2021 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66232              Application.pdf                              158320       1/11/2021 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66232              Benefits Letter.pdf                          113214       9/17/2019 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66232              Closing Binder.pdf                         7742657        3/26/2021 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66232              Court Order.pdf                            3430831         3/25/2021 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66232              CT Disclosure.pdf                            442128       3/29/2021 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66232              DocuSign Certificates.pdf                    197658        4/1/2021 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66232              GA Disclosure.pdf                            470099       3/29/2021 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66232              Minors Order.pdf                              60179       10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66232              Passport.pdf                                 611353       5/29/2020 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66232              Pleadings.pdf                              2918900        3/29/2021 15:52




                                                              1648
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                                       3467



               All Paths/Locations                                   Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66232              Purchase Agreement.pdf                     5181601        4/1/2021 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66232              Searches.pdf                                  20362       4/1/2021 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66232              Seller Affidavit.pdf                       1147768        4/1/2021 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\66232              Transfer Agreement.pdf                     3533700       3/29/2021 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67348              104928.pdf                                 9664001       4/14/2016 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67348              67348 Cain, Emory.tv5                         10012      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67348              67348.pdf                                  9664001       4/14/2016 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67348              Annuitant requests .pdf                      799451      8/11/2021 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67348              Annuity Contract.pdf                         193230      8/11/2021 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67348              Bankruptcy search.pdf                         18660      8/11/2021 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67348              Change of Beneficiary.pdf                     26424      8/11/2021 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67348              Change of Payee.pdf                           39455      8/11/2021 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67348              Corporate Resolution & W9.pdf              1396214       8/11/2021 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67348              Credit Report.pdf                            945175      8/11/2021 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67348              Drivers License.pdf                        2331532       8/11/2021 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67348              NASP .pdf                                     15885      8/11/2021 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67348              New - Change of Payee and Bene Conf.pdf       67531      1/11/2024 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67348              Purchase Agreement.pdf                       317249      8/11/2021 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67348              Request for Change of Beneficiary.pdf        544865      8/11/2021 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67348              Request for Change of Payee.pdf               26879      8/11/2021 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67348              Request for changes.pdf                    3019954       8/11/2021 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67348              UCC search.pdf                                31195      8/11/2021 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67542              01Application.pdf                            199211       4/5/2016 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67542              01Bankruptcy.pdf                              20492      10/9/2024 17:40




                                                              1649
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                                       3467



               All Paths/Locations                                Unified Title          File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67542              01Disclosure Statement.pdf                    115173        4/5/2016 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67542              01Divorce Decree.pdf                          428159        4/5/2016 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67542              105256.pdf                                    258176       4/29/2021 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67542              67542 Acknowledgement.pdf                      45364       10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67542              67542 Amended Disclosure.pdf                   80108       10/9/2024 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67542              67542 Amended Purchase Agreement.pdf          131814        4/5/2016 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67542              67542 Annuity Policy.pdf                      583098        4/5/2016 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67542              67542 Berg, Samuel.tv5                         10016       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-   67542 Exceptions - Combined Docs - 2-22-
SuttonPark\Closing Binders\67542              2022.pdf                                    1166743        2/22/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67542              Bankruptcy.pdf                                 46353       3/14/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67542              Court Order.pdf                               247283        5/27/2021 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67542              Credit Report.pdf                             308067       3/14/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67542              ID.pdf                                        331050       3/14/2022 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67542              Search.pdf                                    309981       3/14/2022 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67542              SS card.pdf                                   109691       3/14/2022 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67577              105428.pdf                                  5012551        4/14/2016 15:51
Saiph consulting|\Audit Materials Received-   67577 Exceptions - Combined Docs - 2-22-
SuttonPark\Closing Binders\67577              2022.pdf                                      321040       2/22/2022 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67577              67577 Lozano, Michael.tv5                        9988      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67577              Acknowledgement.pdf                           124414       3/16/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67577              Court Order.pdf                               318390       5/26/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67577              Credit Report.pdf                           1864259        5/26/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67577              Disclosure.pdf                                128986       5/26/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67577              Independent Professional Advice.pdf            37500       5/26/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67577              Petition.pdf                                  124614       3/16/2022 13:47




                                                               1650
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1652 of
                                       3467



               All Paths/Locations                                  Unified Title        File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67577              Purchase Agreement.pdf                        722077       5/26/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67577              Searches.pdf                                  978754       5/26/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67577              Seller Identification.pdf                     313630       5/26/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67577              Social Security Card.pdf                      235670       5/26/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\67577              Verification Of Benefits.pdf                  242654       5/26/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69608              110743.pdf                                 12452973        12/27/2017 5:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69608              69608 Annuity Contract Declaration.pdf        733114       10/9/2024 21:26
Saiph consulting|\Audit Materials Received-   69608 Exceptions - Combined Docs - 2-22-
SuttonPark\Closing Binders\69608              2022.pdf                                    8649351        2/22/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69608              69608 GA ID.pdf                               100715       10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69608              69608 Signed Purchase Agreement.pdf         7408094        10/9/2024 22:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69608              69608 Stipulation.pdf                         305003       10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69608              69608 Timms, Charles.tv5                       10127       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69608              Disclosure - CO.pdf                         2305431        6/25/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69608              Disclosure - GA.pdf                         2393284        6/25/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69608              Sale Agreement.pdf                          7370764        6/25/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69608              Waiver of IPA.pdf                             379077       6/25/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69673              111178.pdf                                  8629650         2/8/2018 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69673              69673 Acknowledgment.pdf                      520551       10/9/2024 21:01
Saiph consulting|\Audit Materials Received-   69673 Exceptions - Combined Docs - 2-22-
SuttonPark\Closing Binders\69673              2022.pdf                                      570938       2/22/2022 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69673              69673 Green, LaSha.tv5                           9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69673              Benefits Letter.pdf                            31349       6/24/2021 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69673              Court Order.pdf                               462083       6/24/2021 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69673              Credit Report.pdf                           6263439        6/24/2021 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69673              Disclosure - TX.pdf                           109914       6/24/2021 13:53




                                                              1651
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1653 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69673              IPA waiver.pdf                             36465      6/24/2021 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69673              New - Acknowledgment.pdf                  520551      10/9/2024 21:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69673              Purchase Agreement.pdf                    488936      6/24/2021 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69673              Request For Acknowledgement.pdf           465766      6/24/2021 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69673              Seller Identification.pdf                 117467      6/24/2021 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69673              Settlement Agreement.pdf                  258907      6/24/2021 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69730              111550.pdf                             19108480        2/1/2018 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69730              image001.png                               41050
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69730              69730 Briseno, Michael.tv5                 10131      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69730              Annuity Contract.pdf                       65944        6/1/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69730              Bankruptcy Search.pdf                     156236        6/1/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69730              Benefits Letter.pdf                        19331        6/1/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69730              Court Order.pdf                         4392226         6/1/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69730              Credit Report.pdf                       3090315         6/1/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69730              Disclosure - IL.pdf                       763205        6/1/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69730              Disclosure - TX.pdf                       815729        6/1/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69730              NASP Search.pdf                           388313        6/1/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69730              image001.png                               41050
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69730              Passport.pdf                            4564998         6/1/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69730              Purchase Agreement.pdf                  2589317         6/1/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69730              Seller Affidavit.pdf                      549217        6/1/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69730              Seller Identification.pdf                  42533        6/1/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69730              Stipulation.pdf                         1139886         6/1/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\69730              Waiver of IPA.pdf                         107489        6/1/2021 9:58




                                                                1652
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1654 of
                                       3467



               All Paths/Locations                                  Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70237              70237 Maldonado, Beatrice.tv5              10265      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70237              Acknowledgment.pdf                         72336      8/20/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70237              Annuity.pdf                               591100        3/7/2006 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70237              Application.pdf                         1947189       5/14/2021 11:25
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\70237              Information.pdf                         1646937       5/14/2021 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70237              Closing Binder.pdf                     32531187       7/27/2021 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70237              Court Order.pdf                           329211       8/4/2021 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70237              Credit Report.pdf                       8642630       5/14/2021 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70237              Disclosure - TX.pdf                     3360288         7/8/2021 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70237              Disclosure Proof of Delivery.pdf           92831       7/6/2021 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70237              Divorce Docket.pdf                         26084       6/2/2021 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70237              Esign Certificates.pdf                     84264       8/5/2021 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70237              Fasano.pdf                                 97813      5/21/2021 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70237              IPA Waiver.pdf                            170978       8/4/2021 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70237              Medical Questionnaire.pdf                 489836      5/17/2021 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70237              Pleadings.pdf                           2268724       7/28/2021 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70237              Searches.pdf                            1214327       5/14/2021 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70237              Settlement Agreement.pdf                3051972         3/7/2006 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70237              Social Security Card.pdf                   91009       5/14/2021 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70237              Transfer Agreement.pdf                  7136175       7/28/2021 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              70240 Collins, William.tv5                 10451      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              Application Notes - updated 6-17.pdf      382402      6/17/2021 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              Application.pdf                           235015      5/12/2021 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              Assignment.pdf                            216738       9/9/2021 11:44




                                                               1653
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1655 of
                                       3467



               All Paths/Locations                                  Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              Bankrupty Search.pdf                           203253      9/19/2017 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              Benefits Letter.pdf                            469478      8/13/2021 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              BK Waiver SP.pdf                               131907      6/22/2021 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              Court Order.pdf                                407242        9/8/2021 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              Credit Report.pdf                            2648412       5/12/2021 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              Declaration.pdf                                137144      5/12/2021 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              Disclosure - LA.pdf                            246781      5/12/2021 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              Disclosure Proof of Delivery.pdf               203772      5/13/2021 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              Divorce Decree Waiver.pdf                      141110      12/1/2017 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              image001.png                                    16200
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              Divorce docket.pdf                             372994      5/17/2021 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              Driver License.pdf                             189191       1/4/2018 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              Esign Certificate- Closing Statement.pdf        47985       9/8/2021 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              Esign Certificate- Transfer Agreement.pdf       47776      6/11/2021 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              Esign Certificate.pdf                           38131      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              Fasano Report.pdf                              104074      5/18/2021 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              PI Docket.pdf                                3772368       5/17/2021 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              Pleadings.pdf                                6339320       7/29/2021 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              POS.pdf                                      2348625        8/3/2021 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              Purchase Agreement.pdf                         406431       8/30/2021 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              Script HIPAA.pdf                               543785      5/12/2021 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              Searches.pdf                                 5526345       5/20/2021 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              Spousal Consent.pdf                            145764       9/8/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70240              Stipulation.pdf                                278910       9/8/2021 15:02




                                                                1654
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               All Paths/Locations                                  Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              70363 Drawhorn, Evette.tv5                         10261      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              Application.pdf                                   208658     10/14/2021 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              Assignment.pdf                                    896908      10/9/2024 21:37
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\70363              Information.pdf                                 2472364      10/14/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              Benefits Letter.pdf                                10023     10/14/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              Closing Book Drawhorn.pdf                      11080556      10/12/2021 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              Credit Report.pdf                                  99007     10/14/2021 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              Disclosure - DE.pdf                               338189     10/14/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              Disclosure - FL.pdf                               351532     10/14/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              Disclosure - NY.pdf                               338216     10/14/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              Docusign Certificate 1DD.pdf                       23407     10/14/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              Docusign Certificate AC9.pdf                       22668     10/14/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              Drawhorn Assignment.docx                           25252     10/14/2021 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              Drivers License.pdf                                62240     10/14/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              Fasano Report updated.pdf                         101578     10/19/2021 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              Infants Compromise Order.pdf                      537007     10/14/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              Medical Questionnaire.pdf                         288853     10/14/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              Pleadings.pdf                                   4228208      10/14/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              Purchase Agreement.pdf                          1209451      10/14/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              Redirection Reconfiguration up07-11-2022.pdf    2180777        7/8/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              Redirection Assignee List NYLIC.pdf               222753       7/7/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              COA Policy FP200974.pdf                            52947       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              COA Policy 74758034.pdf                            52951       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              COA Policy 77422032.pdf                            52926       4/8/2022 13:25




                                                              1655
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                                       3467



               All Paths/Locations                                   Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              COA Policy FP200974 (2).pdf                              52949       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              COA Policy FP200974.pdf                                  52991       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              COA Policy FP201158.pdf                                  52930       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              COA Policy FP205723.pdf                                  52948       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              COA Policy FP206266.pdf                                  52989       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              COA Policy FP206275.pdf                                  52951       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              COA Policy FP207071.pdf                                  52987       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              COA Policy FP207808.pdf                                  52960       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              COA Policy FP210013.pdf                                  52983       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              COA Policy FP210674.pdf                                  52959       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              COA Policy FP216554.pdf                                  52928       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              COA Policy FP220022.pdf                                  53010       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              COA Policy FP220028.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              COA Policy FP220219.pdf                                  52981       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              COA Policy FP220714.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              COA Policy FP244114.pdf                                  52993       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              Security TItle Corporate Resolution 11.2021 si.pdf      937256       4/1/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              Seller Affidavit.pdf                                    353305     10/14/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              Social Security Card.pdf                                 38434     10/14/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70363              Stipulation.pdf                                         308863     10/14/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              70416 Shaw, Leslie.tv5                                   10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Acknowledgment.pdf                                    1305668       8/10/2021 19:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Affidavit in Lieu of SA.pdf                             113714      7/23/2021 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Affidavit Notarized.pdf                               3848542       7/23/2021 13:20




                                                                1656
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                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Application.pdf                          167821      7/23/2021 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Assignment.pdf                            56565      7/23/2021 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Award Letter - updated.pdf               116530      8/18/2021 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              BK Search Updated.pdf                     45348      7/26/2021 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              BK Search.pdf                             83624      7/23/2021 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Collateral File.pdf                    7276642       7/22/2021 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Comp Report Updated.pdf                  395189      10/9/2024 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Court Order.pdf                          367321      7/23/2021 19:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Credit Report Updated.pdf                 48846      10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Credit Report.pdf                         67030      7/23/2021 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Disclosure GA.pdf                         78767      7/23/2021 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Divorce Decree.pdf                     3701842       7/23/2021 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Driver License.pdf                     1143349       7/23/2021 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Fasano Report.pdf                        197163      7/23/2021 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Medical Questionnaire and HIPAA.pdf      306003      7/23/2021 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Pleadings.pdf                          4744609       7/23/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              POS.pdf                                   95260      7/23/2021 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Purchase Agreement.pdf                 2081587       7/23/2021 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Searches.pdf                             738399      7/23/2021 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              SSC.pdf                                2084276       7/23/2021 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Summary C465.pdf                         282014      5/10/2021 21:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Summary 2FA3.pdf                         283579      7/26/2021 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Summary 52CA.pdf                         284796      7/26/2021 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Summary 55FF.pdf                         285420      7/26/2021 12:06




                                                              1657
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1659 of
                                       3467



               All Paths/Locations                                 Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Transaction Summary.pdf                            88461      7/23/2021 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              W-9.pdf                                           633927       6/3/2021 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70416              Win Letter.pdf                                    325975     12/29/2020 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              70423 Mendez, Edgar.tv5                            10259      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Acknowledgement.pdf                                14894      7/23/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Annuity Contract.pdf                              120750      7/23/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Application.pdf                                   537328      7/23/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Benefits Letter.pdf                               183697      7/23/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              CA Disclosure.pdf                                 260535      7/23/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Closing Binder.pdf                             21802779        5/3/2021 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Collateral Assignment confirmation.pdf          1197623      10/29/2021 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Court Order.pdf                                    93278      7/23/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Credit Report.pdf                                  54284      7/23/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Declaration.pdf                                   821015      7/23/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Drivers License.pdf                                85481      7/23/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Edgar Mendez - Executed Redirection.pdf           235487       8/2/2021 10:54
Saiph consulting|\Audit Materials Received-   Edgar Mendez Change of Address - Executed by
SuttonPark\Closing Binders\70423              Goldstar.pdf                                      417755      10/6/2021 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Edgar Mendez Change of Address.pdf                584387      9/13/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Edgar Mendez Executed POA.pdf                     239302       8/2/2021 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Life Insurance Policy premiums.pdf              3718466       7/23/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Life Insurance Policy.pdf                       9412926       7/23/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Notary Confirmation of Identification.pdf          97811      7/23/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Original Assignment Agreement.pdf                  46391      7/23/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Original Collateral Assignment.pdf                124362      7/23/2021 13:59




                                                               1658
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                                       3467



               All Paths/Locations                                 Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Pleadings.pdf                           5365418       7/23/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Premiums for Both Life Policies.pdf       395577      7/23/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Purchase Agreement.pdf                  2739070       7/23/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Qualified Assignment.pdf                   45928      7/23/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Searches.pdf                               95982      7/23/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Settlement Agreement Affidavit.pdf        271602      7/23/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Social Security Card.pdf                  129151      7/23/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              Stipulation.pdf                           196796      7/23/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70423              WA Disclosure.pdf                         266739      7/23/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              70424 Cooper, Sheila.tv5                   10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Acknowledgement.pdf                        80805      10/4/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Application.pdf                           132075      10/4/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Assignment Catalina to Sierra.pdf          15182      10/4/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Benefits Letter.pdf                       172693      10/4/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Closing Binder.pdf                     14500679        5/3/2021 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Collateral Assignee to St James.pdf     1992352      10/25/2021 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Court Order.pdf                           862300      10/4/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Credit Report.pdf                          59451      10/4/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Disclosure - MD.pdf                        17879      10/4/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Illustration.pdf                        1495228      10/25/2021 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Life Insurance Policy.pdf               4061579       10/4/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Life Insurance Premium Original.pdf       192775      10/4/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Life Insurance Status - Oct 2021.pdf      162589     10/11/2021 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Life Insurance Status Report.pdf          158762       5/6/2021 15:18




                                                                 1659
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1661 of
                                       3467



               All Paths/Locations                                   Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Notary Verification of ID.pdf                      30365      10/4/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Original Collateral Assignment.pdf              5357418       10/4/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Pleadings.pdf                                   2329769       10/4/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Purchase Agreement.pdf                            815497      10/4/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Request For Acknowledgement.pdf                   307567      10/4/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Searches.pdf                                      192190      10/4/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Seller Affidavit.pdf                              136198      10/4/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Seller Identification.pdf                         125317      10/4/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Settlement Agreement Affidavit.pdf                 64256      10/4/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Sheila Cooper - Redirection Confirmation.pdf      122657      10/1/2021 16:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70424              Social Security Card.pdf                          125317      10/4/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7050               7050 Green, Diane.tv5                              10006      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7050               7050.pdf                                        6346271       6/20/2016 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7050               Alt Contact Form.pdf                               30729      10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7050               Annuity.pdf                                     1314314       10/9/2024 21:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7050               Assignable Agreement-3-6-14.pdf                 3863431       10/9/2024 22:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7050               Ch of Addr Request.pdf                            423923      10/9/2024 20:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7050               Change of Ownership Confirmation.pdf              423666      10/9/2024 20:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7050               DL.pdf                                             62715      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7050               experian.pdf                                      464945      3/10/2014 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7050               FedEx Delivery Confirmation-K Out.pdf             109588       3/6/2014 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7050               FedEx Label-K Out.pdf                             145254       3/5/2014 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7050               IRS W-9 FORM.pdf                                   72318       3/5/2014 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7050               NASP-Final.pdf                                     88167      3/18/2014 17:52




                                                               1660
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1662 of
                                       3467



               All Paths/Locations                                 Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7050               NASP.pdf                                   88153      3/10/2014 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7050               Proof of Payment - Check.pdf               58689       11/8/2023 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7050               Shuler (2), Diane.pdf                     172912      7/21/2015 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7050               SS.pdf                                     56949      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7050               UCC-Singer.pdf                            128934      3/10/2014 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              70506 McKeon, Robert.tv5                   10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              Affidavit.pdf                           2326891       10/9/2024 22:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              Annuity Contract.pdf                      230304       9/15/2021 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              Authorization.pdf                       1095560       6/24/2021 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              B965.pdf                                  303163      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              Court Order.pdf                           255550      8/31/2021 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              Credit Report.pdf                         235669      9/15/2021 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              Disclosure.pdf                          1090054       10/9/2024 21:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              Docusign Cert for Auth 9-22-2021.pdf      303645      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              Docusign Cert for Auth 9-24-2021.pdf      303724      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              Driver License.pdf                        565840      5/16/2019 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              Fasano Report - 2021.pdf                   97674       6/3/2021 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              HIPAA Authorization.pdf                   352239       6/1/2021 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              Lien Satisfaction SS.pdf                  114228       9/8/2021 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              Medical Questionnaire.pdf                 230922       6/2/2021 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              Mini Assignment.pdf                       490581      10/9/2024 20:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              Pleadings.pdf                          13008616       9/14/2021 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              Prior Orders.pdf                       10111114        9/15/2021 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              Purchase Agreement.pdf                  8639570       9/14/2021 14:49




                                                               1661
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                                       3467



               All Paths/Locations                                 Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              Search.pdf                                     940870       8/31/2021 7:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              Signed Residence.pdf                           602193      6/24/2021 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              Signed W9.pdf                                2093400       7/13/2021 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              Social Security Card.pdf                     3163349        7/16/2018 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              Tax Payment Receipt.pdf                         51528      8/31/2021 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              Tax Payment Receipt2.pdf                       776798      8/31/2021 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              UCC.pdf                                        980320      8/31/2021 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70506              Win Letter.pdf                                  38888       9/15/2021 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70536              70536 Taylor, Tim.tv5                           10012      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70536              Annuity Docs Request.pdf                       158149      5/21/2021 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70536              Application.pdf                                 92980      4/28/2021 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70536              Cert of Martial Status.pdf                     104386      5/21/2021 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70536              Change of Bene Request.pdf                      70870      5/21/2021 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70536              Confirmation of Bene and Payee change.pdf      137199       9/9/2021 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70536              Contract Change Request.pdf                     53992      5/21/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70536              Credit Report.pdf                               37501      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70536              ID and SS Card.pdf                              81659      8/16/2021 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70536              Policy Contract.pdf                            237348      4/28/2021 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70536              Purchase Agreement.pdf                         519584      5/21/2021 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70536              Redirection Confirmation New 70536.pdf         416184       3/1/2023 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70536              Searches.pdf                                   218437       6/1/2021 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70536              Submission Letter.pdf                          154994      5/21/2021 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70536              Terms Rider -revised.pdf                       282386      8/24/2021 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70536              Terms Rider.pdf                                163713      5/21/2021 10:34




                                                               1662
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                                       3467



               All Paths/Locations                                 Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70536              W-9.pdf                                             91909      5/21/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70537              70537 Taylor, Larry.tv5                             10014      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70537              Acknowledgment.pdf                                 136796       9/3/2021 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70537              Application.pdf                                    102558      4/28/2021 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70537              Change of Beneficiary Request.pdf                   69487      5/21/2021 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70537              Closing Binder.pdf                               1662772       6/22/2021 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70537              Contract Change Request.pdf                         55675      5/21/2021 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70537              Credit Report.pdf                                   40319      10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70537              Driver License.pdf                                  36660       9/9/2021 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70537              Purchase Agreement.pdf                             715539      6/22/2021 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70537              Redirection Confirmation New 70537.pdf             420306       3/1/2023 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70537              Revised -Terms Rider.pdf                           283638      8/24/2021 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70537              Searches.pdf                                       231001      6/22/2021 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70537              Social Security Card.pdf                            39293       9/9/2021 12:46
Saiph consulting|\Audit Materials Received-   Submisson Docs - Assignment and Authorization
SuttonPark\Closing Binders\70537              Request.pdf                                        149921      5/21/2021 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70537              UCC Search.pdf                                     651986       9/9/2021 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70537              W-9.pdf                                             91674      5/21/2021 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70538              70538 Taylor, Jerry.tv5                             10014      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70538              Annuity Policy request.pdf                         191250      5/21/2021 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70538              Application.pdf                                    154774      4/28/2021 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70538              Cert of Martial Status.pdf                         100493      5/21/2021 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70538              COB Request.pdf                                     70699      5/21/2021 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70538              Confirmation of Bene and Payee change.pdf          136761       9/3/2021 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70538              Contract Change Request.pdf                         54980      5/21/2021 11:29




                                                             1663
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                                       3467



               All Paths/Locations                                 Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70538              Credit Report.pdf                               38814      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70538              ID and SS Card.pdf                              72025       9/10/2021 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70538              Policy Contract.pdf                            237348      4/28/2021 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70538              Purchase Agreement.pdf                         508158      5/21/2021 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70538              Redirection Confirmation New 70538.pdf         408450       3/1/2023 17:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70538              Searches.pdf                                   181500       6/1/2021 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70538              Submission doc.pdf                             150125      5/21/2021 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70538              Terms Rider - revised.pdf                      283600      8/24/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70538              Terms Rider.pdf                                160845      5/21/2021 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70538              UCC.pdf                                        955056       9/9/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70538              w9.pdf                                         114583      5/21/2021 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70539              70539 Jacobs, Kathy.tv5                         10014      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70539              Application.pdf                                 92232      4/28/2021 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70539              Closing Binder.pdf                           1850471       6/24/2021 16:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70539              Confirmation of Bene and Payee Change.pdf      137180       9/9/2021 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70539              Credit Report.pdf                               44940       9/9/2021 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70539              Purchase Agreement.pdf                         635315      6/24/2021 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70539              Redirection Confirmation New 70539.pdf         462110       3/1/2023 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70539              Request for Annuity Documents.pdf              152220      5/21/2021 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70539              Searches.pdf                                   186878      6/24/2021 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70539              Seller Identification.pdf                       64460       9/9/2021 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70539              Social Security Card.pdf                        76554       9/9/2021 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70539              Submission Documents.pdf                       380019      6/24/2021 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70539              UCC Search.pdf                                 258480       9/9/2021 12:14




                                                              1664
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1666 of
                                       3467



               All Paths/Locations                                 Unified Title         File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70539              Updated Terms Rider.pdf                       283735        9/9/2021 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70539              W9.pdf                                         92204       5/21/2021 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70577              70577 Coulon, Jackie.tv5                       10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70577              Acknowledgment.pdf                             35818        9/9/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70577              Annuity Contract.pdf                          113626        8/6/2021 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70577              Closing Binder.pdf                          3843628         9/9/2021 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70577              Confirmation of Redirection.pdf               986402        9/9/2021 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70577              Court Order.pdf                               181571        9/9/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70577              Deal Affidavit for Missing Documents.pdf       78330        9/9/2021 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70577              Drivers License.pdf                            23771        9/9/2021 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70577              Investor Binder.pdf                           807725       6/17/2021 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70577              Searches.pdf                                   62434       3/13/2013 22:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70577              SSN Verification.pdf                          105964        8/6/2021 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70577              Transfer Agreement.pdf                      1830090        12/7/2012 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70582              70582 Belanger, Thomas.tv5                       9995      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70582              Acknowledgment.pdf                             48388       9/14/2021 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70582              Annuity Contract.pdf                          508369        8/6/2021 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70582              Closing Binder.pdf                          1833306        9/14/2021 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70582              Court Order.pdf                               464552       9/14/2021 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70582              Disclosure.pdf                                150250       7/20/2021 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70582              FG Redirection Letter - Fax.pdf               119098        2/6/2023 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70582              Lien Search.pdf                               355982       9/14/2021 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70582              Passport.pdf                                  211863       9/14/2021 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70582              Pleadings.pdf                               5290710        7/20/2021 13:32




                                                               1665
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1667 of
                                       3467



               All Paths/Locations                                 Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70582              Purchase Agreement.pdf                           1047069       9/14/2021 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70582              Receivable Purchase and Sale Agreement.pdf         808583      9/14/2021 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70582              Settlement Agreement partial.pdf                   445857      9/14/2021 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70582              UCC Search.pdf                                     124149      9/14/2021 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              70604 Cohen, Jeffrey.tv5                            10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              Acknowledgement.pdf                                115914      12/7/2021 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              Affidavit in Lieu of Settlement Agreement.pdf      277152      9/22/2021 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              Annuity Contract.pdf                               593890      9/22/2021 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              Application.pdf                                     94973      9/22/2021 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              Assignment.docx                                     26093      9/22/2021 16:54
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\70604              Information.pdf                                    181223      9/22/2021 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              Authorizations.pdf                                 231853      9/22/2021 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              Bankruptcy Search.pdf                               76389      9/22/2021 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              Benefits Letter.pdf                                156593      9/22/2021 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              Cohen Closing Binder.pdf                         9431101       9/22/2021 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              Conformed Notice of Errata.pdf                     375488      10/5/2021 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              Court Order.pdf                                    290221      9/22/2021 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              Credit Report.pdf                                   73077      9/22/2021 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              Disclosure NJ.pdf                                  163110       9/23/2021 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              Divorce Docs.pdf                                   264046      9/29/2021 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              Drivers License.pdf                                 46284      9/22/2021 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              Executed Assignment.pdf                            137619       9/23/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              Fasano Report.pdf                                  119657      9/22/2021 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              Medical Questionnaire.pdf                          243932      9/22/2021 15:46




                                                             1666
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1668 of
                                       3467



               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              Pleadings.pdf                            2182560        9/23/2021 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              Purchase Agreement.pdf                     804141       9/23/2021 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              Request for Acknowledgment.pdf             570754      9/23/2021 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              Searches.pdf                               152093      9/22/2021 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              Social Security Card.pdf                    40599      9/22/2021 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70604              Stipulation.pdf                          1868037       9/23/2021 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              70772 Pouncy, Quajena.tv5                   10345      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              Affidavit.pdf                              259637      10/9/2024 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              Application.pdf                             70848     10/13/2021 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              Assignment - LC.pdf                        225129      10/9/2024 20:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              Benefits Letter.pdf                        167740     10/13/2021 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              Closing Binder.pdf                       2600431      10/13/2021 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              Court Order.pdf                          4923391      10/15/2021 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              Credit Report.pdf                           26836      7/21/2021 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              Disclosure NJ.pdf                          131764     10/13/2021 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              DocuSign Cert - 1B32.pdf                   190960      10/9/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              DocuSign Cert - 1E8C.pdf                   204537      10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              DocuSign Cert - 56B3.pdf                   190727      10/9/2024 19:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              DocuSign Cert - Assignments.pdf            146254      10/9/2024 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              DocuSign Cert - Closing Statement.pdf      192808      10/9/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              Fasano Report .pdf                         102850      5/12/2021 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              HIPAA.pdf                                  129374     10/13/2021 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              LE Analysis.pdf                            188254     10/20/2021 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              News Article.pdf                           569954     10/12/2021 15:13




                                                                1667
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                                       3467



               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              Pleadings.pdf                                   2756916      10/18/2021 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              Purchase Agreement.pdf                            297999     10/13/2021 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              Redirection Confirmation New_NYLIC.pdf            193182       7/5/2023 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              image001.png                                       10159
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              Redirection Reconfiguration up07-11-2022.pdf    2180777        7/8/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              Redirection Assignee List NYLIC.pdf               222753       7/7/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              COA Policy FP200974.pdf                            52947       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              COA Policy 74758034.pdf                            52951       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              COA Policy 77422032.pdf                            52926       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              COA Policy FP200974 (2).pdf                        52949       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              COA Policy FP200974.pdf                            52991       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              COA Policy FP201158.pdf                            52930       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              COA Policy FP205723.pdf                            52948       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              COA Policy FP206266.pdf                            52989       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              COA Policy FP206275.pdf                            52951       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              COA Policy FP207071.pdf                            52987       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              COA Policy FP207808.pdf                            52960       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              COA Policy FP210013.pdf                            52983       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              COA Policy FP210674.pdf                            52959       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              COA Policy FP216554.pdf                            52928       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              COA Policy FP220022.pdf                            53010       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              COA Policy FP220028.pdf                            52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              COA Policy FP220219.pdf                            52981       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              COA Policy FP220714.pdf                            52980       4/8/2022 13:24




                                                              1668
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                                       3467



               All Paths/Locations                                Unified Title                    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              COA Policy FP244114.pdf                                  52993       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              Security TItle Corporate Resolution 11.2021 si.pdf      937256       4/1/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              Searches.pdf                                             18508     10/13/2021 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              Social Security Card.pdf                                232201     10/13/2021 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              Stipulation.pdf                                       7400724      10/19/2021 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70772              UCC Search.pdf                                           59375     10/13/2021 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               7079 Ivory, Ronald.tv5                                   10206      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               7079.pdf                                             17753507       6/16/2016 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               9.15.14 benefits letter.pdf                             220950      10/9/2024 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               Alt Data Form.pdf                                       425297      10/9/2024 20:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               Annuity.pdf                                           1407882       7/30/2014 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               Assignment Agreement-Settlement Funding.pdf           2543027       7/30/2014 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               Certified Card-recd.pdf                                 427185      10/9/2024 20:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               child support 9-10-14 Check# 40435 Clrd.pdf             203284       9/19/2014 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               child support 9-10-14.pdf                               850901      9/10/2014 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               Child Support Packet.pdf                              1271859       10/9/2024 21:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               Child Support.pdf                                       425286      10/9/2024 20:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               comp report.pdf                                         200455      10/9/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               COO & COA confirmation.pdf                              727759      10/9/2024 21:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               e-mail from Erika Kaplan of SAF 8-26-14.pdf             162818      9/22/2014 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               Experian.pdf                                             25037       9/8/2014 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               FASANO Questionnaire.pdf                              5076860       9/17/2014 11:08
Saiph consulting|\Audit Materials Received-   Fax Confirmation-Letter of Instruction to
SuttonPark\Closing Binders\7079               Genworth.pdf                                            100232       9/8/2014 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               FedEx Delivery Confirmation-Funding.pdf                 109076      9/23/2014 18:25




                                                                1669
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                                       3467



               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               HIPPA.pdf                                1272421       10/9/2024 21:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               Letter from Genworth 9-15-14.pdf            13734      9/15/2014 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               Letter from Genworth 9-22-14.pdf           427448       10/6/2014 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               Letter of instruction to Genworth.pdf      438532      10/9/2024 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               NASP-Conflict Check Novation.pdf           297268       9/9/2014 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               NASP-Conflict Check Peachtree.pdf          191946       9/8/2014 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               NASP-Final.pdf                             101743      9/19/2014 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               NASP.pdf                                   101672       9/8/2014 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               New - COO Confirmation.pdf                 727583      10/9/2024 21:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               Payment Purchase Agreement.pdf           5794414       10/9/2024 22:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               PoA (Latricha).pdf                       2979713       9/17/2014 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               Purchase Agreement-7-31-14.pdf           5916457       10/9/2024 22:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               Signature Page.pdf                         428420       9/8/2014 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               SS.pdf                                     424075      10/9/2024 20:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               UCC.pdf                                     96383       9/8/2014 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               W-9- Ivory-Singer.pdf                      856412      10/9/2024 21:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7079               W-9-Genworth 12-17-14.pdf                1066765      12/17/2014 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              70843 Reid, Kevin.tv5                       10259      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              Affidavit in Lieu of SA.pdf                751071       9/1/2021 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              Application.pdf                            587705       9/1/2021 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              Assignment BTG to St James.pdf             114015       9/1/2021 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              Assignment Sempra to BTG.pdf               113524       9/1/2021 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              Authorization for deductions.pdf           717734       9/1/2021 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              Authorization.pdf                          693784       9/1/2021 14:29




                                                               1670
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                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              Benefits Letter 2021.pdf               898084       9/7/2021 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              Benefits Letter.pdf                     57599       9/1/2021 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              BK Search.pdf                          290503       9/1/2021 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              Closing Book - Kevin Reid.pdf        8008829        8/31/2021 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              COB Request.pdf                        442116       9/1/2021 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              Court Order.pdf                        419408       9/3/2021 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              Credit Report.pdf                      164348       9/1/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              Disclosure Affidavit.pdf               356167       9/1/2021 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              Disclosure GA.pdf                      913868       9/1/2021 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              Disclosure MI.pdf                      708564       9/1/2021 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              Disclosure NE.pdf                    1156337        9/1/2021 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              Fasano Report.pdf                      165246       9/1/2021 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              HIPAA.pdf                            2621265        9/1/2021 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              LC Affidavit.pdf                       555580       9/1/2021 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              LC Contact.pdf                         352131       9/1/2021 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              Lien and Judgment.pdf                  146696       9/1/2021 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              Medical Questionnaire.pdf            4703163        9/1/2021 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              PI Research notes.pdf                   44381       9/1/2021 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              Pleadings.pdf                        6960119        9/1/2021 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              POR.pdf                                575458      8/17/2021 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              Purchase Agreement.pdf               3716600        9/1/2021 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              Social Security Card.pdf             4452978        9/1/2021 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              Stipulation.pdf                        228584       9/7/2021 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              Temp Driver License.pdf                304266      2/21/2020 12:50




                                                                1671
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                                       3467



               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70843              UCC.pdf                                       347878       9/1/2021 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7085               123459974R03 Aaron Gates.pdf                   27021      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7085               7085 - Default Judgment.pdf                   708027      10/9/2024 21:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7085               7085 Gates, Aaron DEFAULT JUDGEMENT.tv5        10207      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7085               7085 Gates, Aaron.tv5                          10005      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7085               7085.pdf                                       24261      6/20/2016 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7085               9 Gates, Aaron 123459974R03 -9_Part1.pdf   72318117       6/11/2015 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7085               9 Gates, Aaron 123459974R03 -9_Part2.pdf   64566585       6/11/2015 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7085               Annuity Contract.pdf                        2727720        1/8/2021 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7085               Assignment Agreement.pdf                      799170       1/8/2021 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7085               Divorce.pdf                                 1997603        1/8/2021 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7085               Loan Application and Agreement.pdf          6767859        1/8/2021 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7085               New - Default Judgment.pdf                    708027      10/9/2024 21:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7085               Proof of Payment.pdf                           28025      6/15/2024 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7085               Questionnaire.pdf                           1106271        1/8/2021 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7085               Security Agreement.pdf                      1699652        1/8/2021 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7085               Seller Identification.pdf                     194144       1/8/2021 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7085               Settlement Agreement.pdf                    8130394        1/8/2021 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7085               SSN.pdf                                       194144       1/8/2021 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7085               Terms Rider.pdf                               903525       1/8/2021 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70893              70893 Garcia, Maria.tv5                        10206      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70893              Annuity Application.pdf                     2381936       12/3/2013 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70893              Application-notes.pdf                         377031       8/4/2021 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70893              Application.pdf                               386579       8/4/2021 10:49




                                                              1672
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1674 of
                                       3467



               All Paths/Locations                                 Unified Title         File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70893              Authorization to Release Information.pdf       71833        8/4/2021 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70893              Closing Binder.pdf                         24072855        8/31/2021 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70893              Court Order.pdf                             1599301        9/13/2021 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70893              Credit Report.pdf                           2426814         8/4/2021 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70893              Declaration.pdf                               268537        8/4/2021 10:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70893              Disclosure Proof of Delivery.pdf              205639        8/3/2021 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70893              Driver License.pdf                          1567003         8/31/2021 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70893              Fasano Report.pdf                             102528        8/9/2021 16:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70893              HIPAA.pdf                                     364815        8/4/2021 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70893              Medical Questionnaire.pdf                     203061        8/5/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70893              Pleadings.pdf                               1181225         9/13/2021 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70893              Purchase Agreement.pdf                        394990        9/1/2021 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70893              Searches.pdf                                8403582         8/4/2021 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70893              Settlement Agreement.pdf                    4427291        12/17/2013 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70893              Social Security Card.pdf                      815693       9/24/2019 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70893              Stip - Missing Liberty.pdf                    283658       9/10/2021 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70893              Stipulation.pdf                               762531       9/16/2021 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              70934 Hamrick, Janiece.tv5                       9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              Acknowledgment.pdf                            106429       10/4/2021 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              Amended Pleadings.pdf                       1754266        8/25/2021 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              Annuity Contract.pdf                          586480       10/2/2018 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              Application.pdf                               150672       7/23/2021 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              Authorization to Release Info.pdf              41918       7/23/2021 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              Benefits Letter.pdf                           102164       7/28/2021 19:42




                                                                1673
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                                       3467



               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              COB Request.pdf                                   116136      7/23/2021 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              Court Order.pdf                                   290974      10/9/2024 20:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              Credit Report.pdf                                  43116        9/3/2021 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              Disclosure CT.pdf                                 193229       8/12/2021 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              Disclosure DE.pdf                                 183271       8/12/2021 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              Fasano Report.pdf                                  96935      7/27/2021 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              Hamrick Assignment.pdf                            209210      10/9/2024 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              Medical Questionnaire.pdf                         222845      7/23/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              Payee Affidavit.pdf                                87922      7/23/2021 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              Pleadings.pdf                                   2435186        8/12/2021 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              POR -phone bill.pdf                               291959        9/3/2021 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              POR-bank statement.pdf                          1523392         9/3/2021 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              Probate Docs.pdf                                  402538      10/2/2018 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              Purchase Agreement.pdf                          1337296        8/12/2021 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              Qualified Assignment.pdf                          320959      10/2/2018 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              Redirection Confirmation New.pdf                   58725      4/25/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              Redirection Reconfig Letter up04-07-2022.pdf    7222890        4/6/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              Searches.pdf                                       59371        9/3/2021 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              Settlement Agreement.pdf                          745303      10/2/2018 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              SS Card.pdf                                       416909        9/3/2021 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              UCC.pdf                                           299858       9/1/2021 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70934              Waiver Anti Assignment Language.pdf                30929      7/23/2021 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70988              70988 Gerst, Amy.tv5                               10773      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70988              Affidavit.pdf                                   1010719       9/21/2021 12:44




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1676 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70988              Application.pdf                        1789126        9/21/2021 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70988              Assignment.pdf                           221329       9/21/2021 12:44
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\70988              Information.pdf                        2781334        9/21/2021 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70988              Closing Binder.pdf                    24751725        9/15/2021 18:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70988              Court Order.pdf                          226625       9/21/2021 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70988              Credit Report.pdf                         81359       9/21/2021 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70988              Disclosure - CT.pdf                      427028       9/21/2021 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70988              DocuSign Certificate.pdf                 285339       8/17/2021 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70988              Drivers License.pdf                    2483310        9/21/2021 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70988              Fasano.pdf                               129395       9/21/2021 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70988              Medical Questionnaire.pdf              3718236        9/21/2021 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70988              Pleadings.pdf                          9795505        9/21/2021 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70988              Purchase Agreement.pdf                 4806063        9/21/2021 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70988              Searches.pdf                             296117       9/21/2021 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70988              Social Security Card.pdf               2472386        9/21/2021 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\70988              Win Letter.pdf                           397485       9/21/2021 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              71038 McAfee, Savana.tv5                    9987      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              Acknowledgment.pdf                        42126        9/22/2021 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              Affidavit.pdf                            429976       6/29/2021 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              Amended Pleadings.pdf                  3051156        10/9/2024 22:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              Annuity Contract.pdf                   5656813         9/9/2019 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              Application.pdf                          324690       4/23/2021 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              Assignment.pdf                           547086       10/9/2024 21:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              Authorization.pdf                        258526       6/29/2021 16:24




                                                               1675
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1677 of
                                       3467



               All Paths/Locations                                 Unified Title        File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              Benefits Letter Request - Notarized.pdf       60175       8/19/2021 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              Benefits Letter.pdf                          136589      11/25/2019 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              Closing Binder.pdf                        10611676        8/19/2021 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              Cour Order.pdf                               847380       10/9/2024 21:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              Credit Report.pdf                             39267       8/19/2021 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              Disclosure CA.pdf                            132214       6/29/2021 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              Identification Card.pdf                       23522       8/19/2021 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              MetLife Objection.pdf                         34177        8/24/2021 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              NOH.pdf                                    2503481        10/9/2024 22:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              Pleadings.pdf                              2314222        10/9/2024 22:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              Proof of Disc Delivery.pdf                   236985        9/1/2021 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              Outlook-lk1aja1d.png                          31527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              Savana McAfee Disclosure.pdf                 100321       10/5/2020 19:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              Purchase Agreement.pdf                     2868059        8/19/2021 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              Searches.pdf                                  61874        9/2/2021 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              ssn verification.pdf                         184884        9/2/2021 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              UCC Search.pdf                                47578        9/2/2021 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71038              Updated Benefits Letter.pdf                  229166       8/31/2021 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71044              71044 Harris, Ashley.tv5                        9969      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71044              Annuity Contract.pdf                          94527       12/3/2021 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71044              Application.pdf                              100095        12/3/2021 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71044              ASHAR - Signed Assignment.pdf                693055       11/19/2021 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71044              ASHHAR - CB.pdf                            4419648       11/18/2021 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71044              ASHHAR - Signed GS Assignment.pdf             46951       11/19/2021 8:32




                                                              1676
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1678 of
                                       3467



               All Paths/Locations                             Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-   Assignment from Income Stream to John A and
SuttonPark\Closing Binders\71044              Kathleen W Sutherland .pdf                          17638       12/3/2021 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71044              Assignment from StratCap to Income Stream.pdf       19027       12/3/2021 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71044              Authorization.pdf                                   24461       12/3/2021 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71044              Bankruptcy Search.pdf                               75354       12/3/2021 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71044              Court Order.pdf                                  2293732       12/3/2021 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71044              Credit Report Equifax Only.pdf                      81788       12/3/2021 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71044              Disclosure - TX.pdf                                 66472      12/3/2021 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71044              Divorce Decree.pdf                               1266003        12/3/2021 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71044              Goldstar Reassignment.pdf                        1008144       2/11/2022 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71044              IPA Waiver.pdf                                      57119       12/3/2021 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71044              Marital Status.pdf                                  34803       12/3/2021 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71044              Purchase Agreement.pdf                             598667       12/3/2021 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71044              Request for Change of Beneficiary.pdf               25013       12/3/2021 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71044              Searches.pdf                                       468628       12/3/2021 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71044              Seller Identification.pdf                          225946       12/3/2021 9:54
Saiph consulting|\Audit Materials Received-   Transaction Summary and Contact
SuttonPark\Closing Binders\71044              Information.pdf                                     15078       12/3/2021 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71049              71049 Acknowledgement.pdf                           83416     12/19/2023 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71049              71049 Verkleeren, Caitlin.tv5                       10002      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71049              Annuity Contract Affidavit.pdf                     303926      2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71049              Application.pdf                                    124398      2/22/2022 11:41
Saiph consulting|\Audit Materials Received-   Assignment Income Stream to Allison Romberg
SuttonPark\Closing Binders\71049              Trust.pdf                                          159276      2/22/2022 11:41
Saiph consulting|\Audit Materials Received-   Assignment Yellow Diamond to Income
SuttonPark\Closing Binders\71049              Stream.pdf                                         159376      2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71049              Benefits Letter.pdf                                 26116      2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71049              CB.pdf                                           7673080       10/9/2015 13:39




                                                               1677
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1679 of
                                       3467



               All Paths/Locations                                   Unified Title           File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71049              Closing Binder.pdf                              7677291        2/22/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71049              Court Order.pdf                                   224390       2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71049              Credit Report.pdf                               2734691        2/22/2022 11:41
Saiph consulting|\Audit Materials Received-   Direction of Payments to Allison Romberg
SuttonPark\Closing Binders\71049              Trust.pdf                                         306570       2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71049              Disclosure - CA.pdf                               317046       2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71049              Disclosure - VA.pdf                               168020       2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71049              Drivers License.pdf                                50703       2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71049              New - Acknowledgement.pdf                          83416      12/19/2023 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71049              Purchase Agreement.pdf                          1814703        2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71049              Qualified Assignment Affidavit.pdf                303769       2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71049              Redirection Confirmation New 71049.pdf            249674       6/13/2023 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71049              Redirection Reconfiguration RESENT 71049.pdf    1100628        6/12/2023 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71049              Change of Address Policy No K3900081.pdf          196551       6/12/2023 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71049              Request for Change of Beneficiary.pdf              28593       2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71049              Searches.pdf                                      348874       2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71049              Seller Affidavit.pdf                               76615       2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71049              Settlement Agreement Affidavit.pdf                305505       2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71049              Social Security Card.pdf                           51109       2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71077              71077 Combined Docs - 1-03-2022.pdf             5621558         1/3/2022 13:04
Saiph consulting|\Audit Materials Received-   71077 Huizar, Gloria and Ruiz, Marco
SuttonPark\Closing Binders\71077              JUDGEMENT.tv5                                        9961      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71077              Acknowledgment from Genworth .pdf                  42792       1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71077              Annuity Check Stub.pdf                             15813       1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71077              Annuity Contract.pdf                              243765       1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71077              Application.pdf                                   110225       1/14/2022 16:01




                                                              1678
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1680 of
                                       3467



               All Paths/Locations                            Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-   Assignment Income Stream to Nancy and
SuttonPark\Closing Binders\71077              Ruggiero.pdf                                      197210      1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71077              Assignment R and P to Settlement Capital.pdf      120153      1/14/2022 16:01
Saiph consulting|\Audit Materials Received-   Assignment Settlement Capital to Income
SuttonPark\Closing Binders\71077              Stream.pdf                                         19597      1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71077              Closing Binder.pdf                              5625566       1/14/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71077              Garnishment Order.pdf                             287532      1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71077              Letter Agreeing to Terms.pdf                       59566      1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71077              Partial Qualified Assignment.pdf                   20838      1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71077              Power of Attorney.pdf                              97826      1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71077              Purchase Agreement.pdf                          1139591       1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71077              Servicing Agreement 2022.pdf                    1077438       3/24/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71077              Servicing Agreement.pdf                         2143484       1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71077              Settlement Agreement.pdf                          307739      1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71077              Testamentary Agreement.pdf                         62345      1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71077              UCC Filing.pdf                                     85310      1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              71089 Combined Docs - 1-03-2022.pdf             3935471        1/3/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              71089 Farrell, Joel.tv5                            10002      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              Acknowledgment.pdf                                 24617      1/26/2022 19:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              Annuity Contract.pdf                              231786      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              Application.pdf                                    94205      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              Assignment Goldstar to Sutton.pdf               1428657       1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              Assignment Income Stream to Lovelady.pdf           15672      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              Assignment Stratcap to Income Stream.pdf           17250      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              Authorization to Release.pdf                       18301      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              Closing Binder.pdf                              3935471        1/3/2022 13:04




                                                               1679
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1681 of
                                       3467



               All Paths/Locations                                 Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              Court Order.pdf                               121597      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              Credit Report.pdf                              89733      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              Disclosure - MT.pdf                            71473      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              Drivers License.pdf                           192089      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              Proof of Email 71089.pdf                      713461      12/8/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              Redirection Reconfiguration 74376.pdf         127309       12/8/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              Redirection Reconfiguration 71089.pdf          69589       12/8/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              Redirection Reconfiguration 74135.pdf          69643       12/8/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              StratCap Corporate Resolution 2022.pdf        440291     10/12/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              Purchase Agreement.pdf                        708801      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              Redirection Confirmation New 71089.pdf        188691     12/16/2022 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              Redirection Reconfiguration 71089.pdf          69589       12/8/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              Request for Acknowledgment.pdf                188284      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              Request for Change of Beneficiary.pdf          17851      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71089              Searches.pdf                                  512956      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71091              71091 Collier, Juwan.tv5                       10945      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71091              71091 Combined Docs - 1-03-2022.pdf         5729916        1/3/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71091              Acknowledgment.pdf                            126388      1/26/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71091              Annuity Contract.pdf                        1354688       1/14/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71091              Application.pdf                                95245      1/14/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71091              Assignment Income Stream to McGinty.pdf        15991      1/14/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71091              Assignment StratCap to Income Stream.pdf       17499      1/14/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71091              Authorization to Release.pdf                   36113      1/14/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71091              Closing Binder.pdf                          5733950       1/14/2022 16:43




                                                             1680
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1682 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71091              Court order.pdf                          1562035       1/14/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71091              Credit Report.pdf                           21825      1/14/2022 16:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71091              Disclosure - TX.pdf                         74365      1/14/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71091              Drivers License.pdf                        725477      1/14/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71091              Purchase Agreement.pdf                     722705      1/14/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71091              Request for Acknowledgment.pdf             532698      1/14/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71091              Request for Change of Beneficiary.pdf       34653      1/14/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71091              Searches.pdf                               467310      1/14/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71091              Servicing Agreement 2022.pdf             1675168       3/24/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71104              71104 Allen III, Michael.tv5                10129      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71104              71104 Combined Docs - 1-03-2022.pdf      5558529        1/3/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71104              Acknowledgement.pdf                         35304      1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71104              Annuity Contract.pdf                       269123      1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71104              Application.pdf                            177292      1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71104              Assignment to Income Stream.pdf            563780      1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71104              Benefits Letter.pdf                        307799      1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71104              Closing Binder.pdf                       5558529        1/3/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71104              Court Order.pdf                            560777      1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71104              Credit Report.pdf                          186595      1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71104              Disclosure - CA.pdf                        149727      1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71104              Disclosure - VA.pdf                        115019      1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71104              DocuSign Certificate.pdf                    42205      1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71104              Drivers License.pdf                      1049770       1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71104              Purchase Agreement.pdf                     384277      1/14/2022 17:11




                                                             1681
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                                       3467



               All Paths/Locations                                  Unified Title        File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71104              Request for Change of Beneficiary.pdf          30973       1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71104              Searches.pdf                                1210838        1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71104              Servicing Agreement 2022.pdf                1126355        3/24/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71104              Settlement Agreement Affidavit.pdf             47977       1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71115              600586 - Richard Bryant Reassignment.pdf      638242        5/5/2022 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71115              71115 Bryant, Richard.tv5                      10379       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71115              71115 Combined Docs - 1-03-2022.pdf         3233936         1/3/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71115              Acknowledgment.pdf                             22317       1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71115              Application.pdf                                87844       1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71115              Assignment to Clarke Trust.pdf                217716       1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71115              Assignment to Income Stream.pdf                22209       1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71115              Assignment to SuttonPark.pdf                  638246       6/19/2024 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71115              Benefits Letter.pdf                            58979       1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71115              Closing Binder.pdf                          3238164        1/14/2022 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71115              Court Order.pdf                                69052       1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71115              Credit Report.pdf                             191040       1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71115              Disclosure - TX amended.pdf                    73956       1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71115              Disclosure - TX.pdf                            59806       1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71115              Drivers License.pdf                           129561       1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71115              Notice of Hearing and POS.pdf                 419948       1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71115              Purchase Agreement.pdf                        439678       1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71115              Request for Change of Beneficiary.pdf            7434      1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71115              Searches.pdf                                  155524       1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71115              Servicing Agreement 2022.pdf                1158907        3/24/2022 11:52




                                                             1682
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                                       3467



               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71115              Servicing Agreement.pdf                    584417       1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71115              Settlement Agreement.pdf                   103094       1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71115              Social Security Card.pdf                   129413       1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71127              71127 Combined Docs - 1-03-2022.pdf     14848841         1/3/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71127              71127 Stokes, Sylvia.tv5                      9966      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71127              Acknowledgement.pdf                         88639       1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71127              Application.pdf                            272256       1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71127              Assignment to Income.pdf                    17497       1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71127              Assignment to Osterman.pdf                  15989       1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71127              Assignment to Patil.pdf                     31975       1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71127              Assignment to StratCap.pdf                  14664       1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71127              Assignment to Sutton.pdf                   320696       1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71127              Benefits Letter.pdf                        189608       1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71127              Closing Binder.pdf                      14848841         1/3/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71127              Court Order.pdf                            608854       1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71127              Disclosure - DE.pdf                      1733427        1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71127              Disclosure - GA.pdf                      1707510        1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71127              Drivers License.pdf                        105922       1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71127              Letters of Administration.pdf            2277139        1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71127              Purchase Agreement.pdf                   1066976        1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71127              Request for Change of Beneficiary.pdf       47463       1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71127              Searches.pdf                             4322800        1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71127              Seller Affidavit.pdf                     1944916        1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              71138 Payne, Michael.tv5                    10019       10/9/2024 17:31




                                                              1683
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                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              AF98.pdf                                 85132       9/8/2021 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              Annuity Contract.pdf                  3000761        9/8/2021 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              Application.pdf                       2472810        9/8/2021 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              Assignment BTG to STJ.pdf               128057       9/8/2021 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              Assignment JLC to BTG.pdf               110417       9/8/2021 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              Authorization.pdf                       107389       9/8/2021 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              BK Search.pdf                            72828       9/8/2021 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              Closing Book - Michael Payne.pdf      8058719        9/7/2021 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              image001.png                            482894
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              image002.png                             21011
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              COB Request.pdf                         570845       9/8/2021 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              Court Order.pdf                         667788      10/9/2024 21:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              Credit Report.pdf                       183670       9/9/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              Disclosure Affidavit.pdf                230326       9/8/2021 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              Disclosure NJ.pdf                     1066576        9/8/2021 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              Disclosure PA.pdf                     1171560        9/8/2021 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              Driver License.pdf                      145442       9/8/2021 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              F71D.pdf                                 74951       9/8/2021 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              Fasano Report.pdf                       157242       9/8/2021 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              HIPAA.pdf                             2740200        9/8/2021 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              Important Notice.pdf                    281990       9/8/2021 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              LC Affidavit.pdf                        303626       9/8/2021 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              LC Contact.pdf                          369413       9/8/2021 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              Liens and Judgments.pdf                 147050       9/8/2021 15:21




                                                               1684
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                                       3467



               All Paths/Locations                                 Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              Medical Questionnaire.pdf              4747727        9/8/2021 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              NOH.pdf                                  149937       9/9/2021 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              Notarized RFBL.pdf                        37339       9/2/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              OAS.pdf                                1735147        9/8/2021 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              Payee Affidavit.pdf                    1518564        9/8/2021 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              Pleadings.pdf                          2506939        9/8/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              Purchase Agreement.pdf                 4388100        9/8/2021 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              Qualified Assignment.pdf               6435191        9/8/2021 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              Settlement Agreement.pdf               6985517        9/8/2021 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              SS Card.pdf                              307052       9/8/2021 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              Stipulation.pdf                          591271      9/10/2021 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71138              UCC.pdf                                  360835       9/8/2021 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              71181 Mendez, Gilberto.tv5                10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Acknowledgment.pdf                        42347      10/8/2021 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Affidavit.pdf                          1821089       9/20/2021 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Annuity Contract.pdf                   2199336       9/20/2021 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Application.pdf                        1247116       8/17/2021 16:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Assignment Well Red to Redstone.pdf       67611      9/17/2021 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Authorization to Release.pdf             452115      9/17/2021 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Back up Contacts for LC.pdf              158986      9/13/2021 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Bankruptcy Search.pdf                     87865      9/20/2021 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Benefits Letter.pdf                    2622185       9/22/2021 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Closing Binder.pdf                    20135288       9/20/2021 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Court Order.pdf                          119871      9/27/2021 14:33




                                                                1685
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                                       3467



               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Credit Report.pdf                          464662      9/20/2021 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Declaration.pdf                          1072930       9/20/2021 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Disclosure CA.pdf                          544856      9/20/2021 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              DocuSign Cert - Closing Statement.pdf      327631      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Docusign Cert - Fasano Docs.pdf            407164      10/9/2024 20:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Fasano Report.pdf                           99190      9/17/2021 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              HIPAA.pdf                                  225126      9/20/2021 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Identification Card.pdf                     45285      9/20/2021 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Medical Questionnaire.pdf                  130825      9/20/2021 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Pleadings.pdf                            3926635       9/23/2021 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Proof of Disc Delivery.pdf                 147808      9/20/2021 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Proof of SSN.pdf                            73511      9/20/2021 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Purchase Agreement.pdf                   4431679       9/23/2021 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Qualified Assignment.pdf                 1153211       9/20/2021 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Request for Acknowledgment.pdf             292269      9/27/2021 19:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Searches.pdf                             1309319       9/20/2021 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71181              Settlement Agreement.pdf                 1842693       9/20/2021 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              71216 Jackson, Najarian.tv5                 10262      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Ack of Collateral Assignment.pdf            52118     10/21/2021 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Acknowledgment.pdf                          71044      10/14/2021 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Annuity Contract.pdf                       275193      2/12/2021 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Application.pdf                            268386      8/30/2021 16:25
Saiph consulting|\Audit Materials Received-   Assignment Capital Now to Structured
SuttonPark\Closing Binders\71216              Settlement Cap.pdf                          43399      8/30/2021 18:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Assignment.pdf                              39152     10/12/2021 16:26




                                                              1686
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1688 of
                                       3467



               All Paths/Locations                                 Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Authorization.pdf                         71386      8/30/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Bankruptcy Search.pdf                     42892      8/30/2021 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Benefits Letter.pdf                       63621      8/30/2021 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Berwyn Search.pdf                         69271      8/30/2021 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              BinderForDealNumber50623.pdf           3582039       8/30/2021 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Collateral Assignement - Signed.pdf      313559     10/14/2021 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Collateral Assignment - Blank.pdf        108695     10/21/2021 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Court Order.pdf                        1508855       10/8/2021 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Credit Report.pdf                         40724      8/30/2021 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Declaration.pdf                           54943      8/30/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Disclosure - GA.pdf                      120154      8/31/2021 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Disclosure GA - Amended.pdf               69372      8/30/2021 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Divorce Decree.pdf                       116415     10/12/2021 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Driver License.pdf                       363951      8/30/2021 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Entity Authorization.pdf                 188230     10/14/2021 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Fasano Report.pdf                        108891      6/25/2021 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Final Transfer Package.pdf             1557308       7/28/2021 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              HIPAA.pdf                                289147      8/30/2021 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Lien and Judgment Search.pdf             364197      8/30/2021 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Life Insurance Policy.pdf              2448325        9/22/2021 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Medical Questionnaire.pdf              6591792       8/30/2021 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              NASP Search.pdf                           81839      8/30/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Pleadings.pdf                          1358092       10/6/2021 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Policy Summary.pdf                        38967     10/21/2021 10:17




                                                              1687
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                                       3467



               All Paths/Locations                                 Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Proof of Premium Payment.pdf                  2002360      10/21/2021 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Purchase Agreement.pdf                          403417      8/30/2021 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Redirection Reconfiguration 71216.pdf           215004     11/15/2023 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Settlement Agreement.pdf                        164303      2/12/2021 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Social Security Card.pdf                        268523      8/30/2021 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              Sworn Affidavit in Lieu of SA.pdf                84382      8/30/2021 16:30
                                              Transamerica Life Insurance 6601176729
Saiph consulting|\Audit Materials Received-   Najarian Jackson ID 71216 Oct 2023 Premium
SuttonPark\Closing Binders\71216              Confirmation.pdf                                 84473     10/12/2023 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              UCC Search.pdf                                  675947      8/30/2021 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71216              W9.pdf                                          629940      8/30/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              71217 Best, Eric.tv5                             10014      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              Affidavit in Lieu of SA.pdf                     102583      8/26/2021 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              Affidavit.pdf                                    86947      8/26/2021 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              Application.pdf                                 353668      8/26/2021 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              Assignment-executed.pdf                          33356      9/29/2021 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              Authorization.pdf                                89455      8/26/2021 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              Benefits Letter.PDF                              49248       9/7/2021 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              BinderForDealNumber50655.pdf                  5132329       8/25/2021 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              BK.pdf                                           84995      8/26/2021 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              Dec signature page.pdf                           25932       8/27/2021 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              Disclosure IN.pdf                               153255      8/26/2021 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              Disclosure MA.pdf                               160607      8/26/2021 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              Driver License.pdf                            4620757       8/26/2021 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              Fasano Report.pdf                                95319      7/22/2021 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              HIPAA and Medical Questionnaire.pdf           4725540       7/19/2021 16:07



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                                       3467



               All Paths/Locations                                 Unified Title                File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              Lien and Judgment Search.pdf                         342362       8/26/2021 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              NASP.pdf                                              49640       8/26/2021 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              Pleadings.pdf                                     11265647         9/23/2021 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              Purchase Agreement.pdf                             1318976        8/26/2021 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              Same Name Affidavit.pdf                               56879       8/26/2021 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              Same Name signature page.pdf                          30473        8/27/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              Social Security Card.pdf                              40352       8/26/2021 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              SOD signature page.pdf                                14014        8/27/2021 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              Stip.pdf                                             588395        9/29/2021 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              Terms Rider.pdf                                      230889       8/26/2021 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71217              UCC Search.pdf                                       375931       8/26/2021 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              71232 Glendenning, Heather.tv5                          9996      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Affidavit.pdf                                         55979       8/18/2021 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Amended Disclosure - Proof of Hand Delivery.pdf       22282      10/25/2021 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Annuity Contract.PDF                                 338366       9/29/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Application.pdf                                      132017       8/18/2021 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Assignment.pdf                                       172892       1/24/2022 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Authorization to Release Information.pdf              33463       8/18/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Benefits Letter.pdf                                   30262       9/29/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Change of Bene Request.pdf                            29832       8/18/2021 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Closing Binder.pdf                                 9591128        9/29/2021 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Closing Statement - E-SIGN.pdf                       158128       1/12/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Closing Statement - Revised.pdf                      278066       10/9/2024 20:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Court Order - Amended.pdf                            188790       1/24/2022 12:44




                                                              1689
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                                       3467



               All Paths/Locations                                Unified Title                    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Court order.pdf                                         268600      1/18/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Credit Report - Updated.pdf                             343821      1/12/2022 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Credit Report.pdf                                     1719867       8/18/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Disclosure IA - Increased PP 1-11-22.pdf                123280      1/12/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Disclosure - MN.pdf                                      60370      8/18/2021 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Disclosure - Proof of Hand Delivery.pdf                  37209      8/18/2021 17:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Disclosure - WA.pdf                                      64697      8/18/2021 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Disclosure IA - Increased PP 10-22-21.pdf               113197     10/25/2021 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Disclosure MN - Increased PP 10-22-21.pdf               103421     10/25/2021 11:46
Saiph consulting|\Audit Materials Received-   E-Sign Certificate - Closing Statement and Revised
SuttonPark\Closing Binders\71232              Terms.pdf                                                46153      1/12/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              E-Sign Certificate - Closing Statement Revised.pdf       37934      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              OAMC docket.pdf                                         208156      8/18/2021 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              OAMC.pdf                                                675850      8/30/2021 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Pleadings.pdf                                         1069327      10/26/2021 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Purchase Agreement - Increased PP 10-22-21.pdf          359829     10/26/2021 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Purchase Agreement.pdf                                  250981      9/29/2021 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Qualified Assignment.pdf                                365481      8/18/2021 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Searches - Updated.pdf                                  496476      1/12/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Searches.pdf                                          1961188       8/18/2021 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Seller Identification.pdf                                23848      9/29/2021 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Settlement Agreement.pdf                                268902      1/12/2012 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              SSC.pdf                                                  29627      9/29/2021 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Stipulation.pdf                                         409273      1/12/2022 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71232              Terms Rider - Increased PP 1-11-22.pdf                   64101      1/12/2022 12:29




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1692 of
                                       3467



               All Paths/Locations                                 Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71234              6114.pdf                                   74951       9/3/2021 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71234              71234 Manning, Carnesha.tv5                10371      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71234              9E80.pdf                                   74490       9/3/2021 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71234              Acknowledgment.pdf                         44019      10/1/2021 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71234              Application.pdf                           205946       9/3/2021 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71234              Assignment.pdf                          1441402       10/9/2024 21:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71234              Benefits Letter.pdf                       517595       9/3/2021 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71234              Court Order.pdf                           189312        9/7/2021 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71234              Credit Report.pdf                         100644       9/3/2021 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71234              Disc proof of delivery.pdf                 64088       9/3/2021 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71234              Disclosure DE.pdf                         111728       9/3/2021 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71234              Disclosure NY.pdf                         108697       9/3/2021 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71234              Disclosure TX.pdf                         163780       9/3/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71234              Driver License.pdf                        788196       9/3/2021 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71234              PI Docket.pdf                              80576       9/3/2021 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71234              Pleadings.pdf                           2586453        9/3/2021 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71234              POS.pdf                                   258830       9/3/2021 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71234              Pre-Closing Book - Rev. 09.02.21.pdf    6832823        9/2/2021 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71234              Purchase Agreement.pdf                  2310069        9/3/2021 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71234              Searches - microbilt.pdf                   58951       9/3/2021 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71234              Searches.pdf                               96406       9/3/2021 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71234              SSC.pdf                                 1033387        9/3/2021 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71234              Statement in lieu of SA.pdf               118884       9/3/2021 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              71274 Morgan, Donovan.tv5                  10241      10/9/2024 17:32




                                                              1691
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1693 of
                                       3467



               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              Acknowledgment.pdf                                   51764     10/15/2021 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              Affidavit.pdf                                     1056662       8/27/2021 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              Application.pdf                                     134840      7/23/2021 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              Collateral Assignment - blank and executed.pdf    2942642       10/25/2021 8:04
Saiph consulting|\Audit Materials Received-   Collateral Assignment - completed and
SuttonPark\Closing Binders\71274              executed.pdf                                      2990722       10/25/2021 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              Confirmation of CA.pdf                            1120451       11/3/2021 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              Court Order - Amended.pdf                           259203     10/18/2021 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              Court Order.pdf                                     291042      8/25/2021 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              Disclosure FL.pdf                                   381995      8/27/2021 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              Driver License.pdf                                  126826      4/21/2021 16:31
Saiph consulting|\Audit Materials Received-   Equitable LIfe insurance policy 171303994
SuttonPark\Closing Binders\71274              Donovan Morgan Lapse noticie 05192023.pdf           226179       5/31/2023 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              Fasano Report.pdf                                    98497       8/6/2021 10:14
Saiph consulting|\Audit Materials Received-   Illustration 171303994 Donovan Morgan 0
SuttonPark\Closing Binders\71274              illustration.pdf                                  5367838       10/16/2023 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              Infant Compromise Order.pdf                         302439      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              Life Policy.pdf                                   1337508      10/13/2021 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              Med Questionnaire and HIPAA.pdf                     474691       9/8/2021 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              Pleadings.pdf                                     5920878       8/27/2021 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              POR.pdf                                             278135       9/15/2021 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              POS.pdf                                             676073      8/25/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              Premium Payment.pdf                               1992086       10/9/2024 22:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              Purchase Agreement.pdf                            5915410       8/27/2021 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              Searches updated.pdf                                 23588      10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              Searches.pdf                                         23650      10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              Social Security Card.pdf                            880009      8/27/2021 11:39




                                                                1692
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1694 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              Table B.pdf                              453359      10/9/2024 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              ucc updated.pdf                           24022      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71274              UCC.pdf                                   22716      10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71284              71284 Harrison, Jazmine.tv5               10425      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71284              Amended Order.pdf                        421147      3/22/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71284              Annuity Contract.pdf                     112777       9/3/2021 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71284              Application.pdf                          180091       9/3/2021 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71284              Benefits Letter OLD.pdf                3240746       4/14/2021 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71284              BK Search.pdf                             49696       9/3/2021 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71284              Collateral File.pdf                    3624065       10/9/2024 22:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71284              Credit Report.pdf                         53964       9/3/2021 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71284              Declaration in Lieu of SA.pdf            119352       9/3/2021 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71284              Disclosure MI.pdf                         91066       9/3/2021 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71284              Disclosure TX.pdf                         91214       9/3/2021 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71284              NOA.pdf                                  111874      3/23/2022 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71284              Notarized Auth.pdf                        68815      7/27/2021 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71284              Pleadings.pdf                            782827       9/3/2021 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71284              Purchase Agreement.pdf                   452821       9/3/2021 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71284              SS Card.pdf                              552205       9/3/2021 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71284              Stipulation.PDF                        1188069       3/23/2022 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71284              Summary62B8.pdf                          188154      7/21/2021 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              71368 Maxwell, Tequill.tv5                10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Acknowledgment.pdf                        40862       9/24/2021 4:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Affidavit.pdf                            234834      8/31/2021 17:46




                                                              1693
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1695 of
                                       3467



               All Paths/Locations                                 Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Annuity Contract - partial copy.pdf                  134847      8/30/2021 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Application.pdf                                    1806172       8/30/2021 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Assignment.pdf                                        34729      9/23/2021 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Authorization.pdf                                    413550      8/30/2021 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Bankruptcy Search.pdf                                 51618      8/30/2021 20:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Benefits Letter - updated.PDF                        600275       9/7/2021 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Berwyn Search.pdf                                     53318      8/30/2021 20:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              BinderForDealNumber50654.pdf                      27396550       8/30/2021 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Collateral Assignee confirmation.pdf                 214874     10/18/2021 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Collateral Assignment of Policy - Blank.pdf           54000      10/5/2021 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Collateral Assignment of Policy - Completed.pdf      364211      10/5/2021 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Court Order.pdf                                      234037       9/8/2021 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Credit Report.pdf                                    112116      8/30/2021 20:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Disclosure DE.pdf                                  1018946       8/30/2021 20:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Disclosure FL.pdf                                    802973      8/30/2021 20:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Disclosure PA.pdf                                    737302      8/30/2021 20:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Driver License.pdf                                    53988      8/30/2021 20:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Entity Authorization.pdf                             187162      9/24/2021 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Fasano Report.pdf                                     99433       8/2/2021 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Final Transfer Pkg_.pdf                           12743866        8/3/2021 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              HIPAA.pdf                                            286508       9/1/2021 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Lien and Judgment Search.pdf                         360714      8/30/2021 20:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Life Insurance Policy.pdf                          2331680       9/17/2021 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Medical Questionnaire.pdf                          5596620        9/1/2021 12:15




                                                             1694
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                                       3467



               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              NASP Search.pdf                                    82228      8/30/2021 20:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Pleadings.pdf                                  18736363       8/31/2021 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Purchase agreement.pdf                          6130315       8/31/2021 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Request for Acknowledgment.pdf                     87840      9/17/2021 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Social Security Card.pdf                           52216      8/30/2021 20:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              Sworn Affidavit in Lieu of SA.pdf                 172997      8/30/2021 20:21

Saiph consulting|\Audit Materials Received-   Transamerica Confirmation 6601186105 Tequill
SuttonPark\Closing Binders\71368              Maxwell Sept 2023 premium confirmation.pdf         84958      9/18/2023 14:37
Saiph consulting|\Audit Materials Received-   Transamerica Policy Summary_Tequill Maxwell
SuttonPark\Closing Binders\71368              6601186105 Sept 2021.pdf                           41773       10/6/2021 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71368              UCC Search.pdf                                    391823      8/30/2021 20:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7137               7137 Tidey, David.tv5                              10193      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7137               7137.pdf                                        9890501       6/16/2016 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7137               Annuity.pdf                                       299029      5/21/2012 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7137               Death Certificate - Bobbi Jo Tidey.pdf            116398      5/21/2012 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7137               Disclosure.pdf                                     26672      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7137               Div Docs-Eva.pdf                                  340828      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7137               Div Docs.pdf                                       84996      5/21/2012 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7137               experian.pdf                                      452100       6/1/2012 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7137               FedEx Delivery Confirmation-K Out.pdf             131955      5/29/2012 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7137               FedEx Label-Discl Out.pdf                         145182      5/21/2012 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7137               ID.pdf                                             26325      5/21/2012 14:23
Saiph consulting|\Audit Materials Received-   Proposed Order & Stip - executed by AEGON
SuttonPark\Closing Binders\7137               only.pdf                                           49727       7/9/2012 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7137               Puchase Agreement-5-28-12.pdf                   3353913       10/9/2024 22:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7137               Questionnaire.pdf                                 469969      10/9/2024 20:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7137               R&S.pdf                                           298947      5/21/2012 14:22



                                                               1695
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                                       3467



               All Paths/Locations                                 Unified Title          File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7137               Redirection Confirmation New 7137.pdf          217292       3/28/2023 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7137               SS.pdf                                          28481       5/21/2012 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7137               Stipulation-signed by all except cust.pdf      113432       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7137               Transfer Order 7-16-12.pdf                   4988483         7/17/2012 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71387              6A56.pdf                                        84200       10/4/2021 21:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71387              71387 Foster, Arla.tv5                            9967      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71387              Application.pdf                              1521544        10/4/2021 21:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71387              Assignment BTG to STJ.pdf                      111702       10/4/2021 21:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71387              Assignment Sempra to BTG.pdf                   106778       10/4/2021 21:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71387              Benefits Letter.pdf                            210949       10/4/2021 21:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71387              Closing Book - Arla Foster.pdf               4594865        10/1/2021 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71387              COB Request.pdf                                139616       10/4/2021 21:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71387              Court Order.pdf                                202788       10/4/2021 21:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71387              Credit.pdf                                     197709       10/4/2021 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71387              D576.pdf                                        71638       10/4/2021 21:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71387              Declaration.pdf                                156780       10/4/2021 21:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71387              Disclosure Affidavit.pdf                       228044       10/4/2021 21:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71387              Disclosure DE.pdf                            1084883        10/4/2021 21:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71387              Disclosure OH.pdf                            1180879        10/4/2021 21:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71387              Driver License.pdf                             586786       10/4/2021 21:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71387              Foster ACK.pdf                                  58303       11/1/2021 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71387              Judgement and Order.pdf                        245592       10/4/2021 21:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71387              Notarized Document.pdf                         179378       10/5/2021 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71387              Pleadings.pdf                                7473155        10/4/2021 21:10




                                                               1696
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                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71387              Purchase Agreement.pdf                3754033       10/4/2021 21:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71387              RS search.pdf                           400723      10/4/2021 21:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71387              Searches.pdf                            549396      10/4/2021 21:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              71398 Delavega, Emilio.tv5               11071      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              Acknowledgmnet.pdf                       49606     10/14/2021 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              Affidavit.pdf                           367469        9/2/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              Amended Court Order.pdf                 311106      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              Application.pdf                         337716       9/2/2021 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              Authorization.pdf                       169059       9/2/2021 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              Benefits Letter.pdf                   2160648         9/2/2021 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              Berwyn.pdf                              171144        9/2/2021 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              BinderForDealNumber50633.pdf         15015441       8/31/2021 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              BK Search.pdf                           231359        9/2/2021 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              Court Order.pdf                         145283      10/9/2024 18:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              Disclosure FL.pdf                       953245        9/2/2021 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              Disclosure NY.pdf                     1055063         9/2/2021 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              Disclosure RI.pdf                       865461        9/2/2021 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              Driver License.pdf                      289791        9/2/2021 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              Fasano Report.pdf                       100449       9/3/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              Lien and Judgment.pdf                    60454        9/2/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              Life Affidavit.pdf                       64387       6/9/2021 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              Med Questionnaire and HIPAA.pdf       7437644       8/31/2021 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              NASP.pdf                                 49322       9/2/2021 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              Notice Of Hearing.pdf                   101049       7/13/2021 9:16




                                                              1697
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                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              Pleadings.pdf                        3075248         9/2/2021 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              POR.pdf                                281132      10/9/2024 20:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              POS Delavega.pdf                        99818      7/15/2021 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              POS Farmers Group Ins.pdf              137293      7/16/2021 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              POS Metropolitan Life Ins.pdf           99996       7/16/2021 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              Purchase Agreement.pdf               5450614         9/2/2021 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              Rider for PA.pdf                     1033610         9/2/2021 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              SA Docket.pdf                           81816       9/8/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              Same Name Affidavit.pdf                309994        9/2/2021 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              SSC.pdf                                 28193       2/5/2020 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              Sworn Affidavit in Lieu of SA.pdf      213320        9/2/2021 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              UCC Search.pdf                          80395        9/2/2021 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71398              W9.pdf                                 690108       6/9/2021 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              4AFE.pdf                                76665       9/2/2021 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              71400 Berry, Naomi.tv5                  10016      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              7A2A.pdf                                72571       9/2/2021 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Acknowledgment of CA.pdf                52128     10/20/2021 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Affidavit in Lieu of SA.pdf            189530       9/2/2021 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Annuity Contract.pdf                   203047       9/2/2021 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Application.pdf                        650347       9/2/2021 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Assignment of Policy.pdf               343413     10/19/2021 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Authorization.pdf                      152770       9/2/2021 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Berwyn.pdf                             202605       9/2/2021 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              BinderForDealNumber50658.pdf         5653035        9/1/2021 11:26




                                                              1698
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1700 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              BK Search.pdf                            84581       9/2/2021 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Blank Assignment of Policy.pdf           50735     10/19/2021 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              C96D.pdf                                 76453       9/2/2021 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Court Order.pdf                       1040244       9/29/2021 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Credit Report.pdf                       171132       9/2/2021 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Disclosure AZ.pdf                       101394       9/2/2021 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Disclosure TX.pdf                       101881       9/2/2021 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Divorce Decree.pdf                      436348      10/9/2024 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Driver License.pdf                      104368       9/2/2021 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Executed Assignment.pdf                  34527     10/20/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Fasano Report.pdf                        95486       8/6/2021 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Lien and Judgment.pdf                   341169       9/2/2021 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Life Insurance Policy.pdf             2331394       10/1/2021 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Medical Questionnaire.pdf               554133       9/2/2021 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              NASP.pdf                                 48409       9/2/2021 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Payees Declaration.pdf                  230245       9/2/2021 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Pleadings.pdf                         4675150        9/2/2021 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Policy Summary- CA.PDF                   79726     10/19/2021 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Proof of Policy Payment.pdf           1146260      10/20/2021 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Purchase Agreement.pdf                  555454       9/2/2021 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Qualified Assignment.pdf                203979       9/2/2021 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Same Name Affidavit.pdf                 132193       9/2/2021 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Settlement Agreement.pdf                318205      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Spousal Death Certificate.pdf           413017      10/9/2024 20:31




                                                              1699
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1701 of
                                       3467



               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              SS Card.pdf                                        41792       9/2/2021 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              Stipulation.pdf                                 2567416      10/20/2021 12:30
                                              Transamerica Life Insurance 6601192546 Naomi
Saiph consulting|\Audit Materials Received-   Berry ID 71400 Oct 2023 Premium
SuttonPark\Closing Binders\71400              Confirmation.pdf                                   84809     10/12/2023 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71400              UCC.pdf                                           375588       9/2/2021 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              71401 Biscardi, Sharon.tv5                         10209      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Acknowledgment.pdf                                297751     11/22/2021 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Annuity Contract.pdf                              218892     10/23/2019 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Application.pdf                                   233974       9/2/2021 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Assignment.pdf                                     44608       9/3/2021 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Authorization.pdf                                  32210       9/2/2021 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Bankruptcy Search.pdf                             232353       9/2/2021 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Benefits Letter.pdf                                23036       9/2/2021 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Berwyn Search.pdf                                  69106       9/2/2021 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              BinderForDealNumber50650.pdf                   14586126       8/31/2021 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Court Order.pdf                                   792248     10/20/2021 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Credit Report.pdf                                  50753       9/2/2021 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Declaration.pdf                                    22202       9/2/2021 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Disclosure - OH.pdf                               107493       9/2/2021 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Disclosure - SD.pdf                               114565      10/20/2021 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Divorce Decree.pdf                                194761       3/6/2019 16:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              DocuSign Cert - Fasano Docs.pdf                    69131      9/20/2021 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Drivers License.pdf                               123674     10/23/2019 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Fasano Report.pdf                                 108355      9/17/2021 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Final Transfer Package.pdf                      8675175       8/19/2021 14:29



                                                             1700
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1702 of
                                       3467



               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              General Release.pdf                               40513       9/2/2021 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              HIPAA.pdf                                        225722      9/20/2021 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              LE Analysis.pdf                                  188499      9/20/2021 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Lien and Judgment Search.pdf                      64132       9/2/2021 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Medical Questionnaire.pdf                      4084855       9/20/2021 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              NASP Search.pdf                                   80693       9/2/2021 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Pleadings.pdf                                  8947745        9/2/2021 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Purchase agreement.pdf                           346270       9/2/2021 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Qualified Assignment.pdf                          84485       9/2/2021 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Request for Acknowledgment.pdf                   406960     10/20/2021 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Settlement Agreement.pdf                         103448       9/2/2021 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              Social Security Card.pdf                       3768774        9/2/2021 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71401              UCC Search.pdf                                   100629       9/2/2021 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71422              71422 Garcia, Emmanuel.tv5                        10337      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71422              7C7A.pdf                                          74371       9/7/2021 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71422              Acknowledgment.pdf                                57968       9/27/2021 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71422              Affidavit.pdf                                    263669        9/8/2021 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71422              Annuity Contract.pdf                           2601080        9/7/2021 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71422              Application.pdf                                1876865        9/7/2021 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71422              Authorization.pdf                                789565       9/7/2021 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71422              Closing Book - Emmanuel Garcia.pdf            10545591       8/20/2021 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71422              Closing Statement Executed via DocuSign.pdf      199382      10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71422              COB Request.pdf                                1129015        9/7/2021 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71422              Court Order.pdf                                  595165       9/2/2021 15:44




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                                       3467



               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71422              Credit Report.pdf                                152141       9/7/2021 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71422              Disclosure AZ.pdf                              1171281        9/7/2021 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71422              Disclosure DE.pdf                              1011548        9/7/2021 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71422              Disclosure NE.pdf                              1195297        9/7/2021 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71422              Identification Card.pdf                          552302       9/7/2021 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71422              Minors Compromise.pdf                          1453360        9/7/2021 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71422              Pleadings.pdf                                  7668430        9/7/2021 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71422              Purchase Agreement.pdf                         4598999        9/7/2021 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71422              Searches.pdf                                      53840       9/7/2021 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71422              SSC 2018 tax return.pdf                          470892        9/8/2021 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71422              UCC Search.pdf                                    45142       9/7/2021 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7145               7145 - Default Judgment.pdf                      193373      10/9/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7145               7145 Muncy, Shawn Judgement Calculation.tv5       10056      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7145               7145 Muncy, Shawn.tv5                             10005      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7145               7145.pdf                                      42082300       6/16/2016 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7145               Annuity Contract.pdf                           3324204       4/28/2015 21:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7145               Court Order.pdf                                  195742      4/21/2015 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7145               ID.pdf                                           336989      4/21/2015 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7145               Muncy 6434- proof of payment.pdf                 424428      4/22/2015 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7145               New - Default Judgment.pdf                       193373      10/9/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7145               Purchase Agreement.pdf                        33379587       4/28/2015 21:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7145               Redirection Confirmation New 7145.pdf             85200      5/15/2023 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7145               Searches.pdf                                   1492150       4/28/2015 21:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7145               Settlement Agreement and Release.pdf           2807141       4/28/2015 21:44




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                                       3467



               All Paths/Locations                                   Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71466              71466 Santos, Roberto.tv5                           10285      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71466              Acknowledgement.pdf                                 57836      10/4/2021 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71466              Affidavit in Lieu of Settlement Agreement.pdf      131223       9/7/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71466              Application.pdf                                     87322       9/7/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71466              Assignment.pdf                                     218665      9/14/2021 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71466              Authorizations.pdf                                  26085       9/7/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71466              Benefits Letter.pdf                                 81966      9/10/2021 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71466              Court Order.pdf                                  1049889       9/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71466              Credit Report.pdf                                   64810       9/2/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71466              Disclosure - NY.pdf                                 40971       9/7/2021 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71466              Disclosure - TX.pdf                                 33831       9/7/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71466              Disclosure - VA.pdf                                 36735       9/7/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71466              Drivers License.pdf                              2955742        9/7/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71466              Lien Search.pdf                                    194931       9/7/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71466              PI Case Docket Search Attempt.pdf               17283800        9/7/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71466              Pleadings.pdf                                    8439480        9/7/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71466              Purchase Agreement.pdf                             493891       9/7/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71466              Santos Closing Binder.pdf                       30972015        9/7/2021 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71466              Seller Affidavit.pdf                               146230       9/7/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71466              Social Security Card.pdf                           934702       9/7/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71466              UCC Search.pdf                                      90134       9/7/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71467              71467 Johnson,Lisa.tv5                              10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71467              Application.pdf                                    340893        9/8/2021 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71467              Benefits Letter 2021.pdf                           413883        9/8/2021 9:09




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                                       3467



               All Paths/Locations                                  Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71467              Benefits Letter.pdf                       424024         9/8/2021 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71467              BK Search.pdf                             230259         9/8/2021 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71467              Collateral File.pdf                    11430225          9/3/2021 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71467              Court Order.pdf                         1929678        9/24/2021 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71467              Credit Report.pdf                          76836         9/8/2021 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71467              Declaration.pdf                           205411         9/8/2021 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71467              Designation of Continued Contact.pdf       88854         9/8/2021 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71467              Disclosure Statement - rev.pdf            411532        9/8/2021 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71467              Divorce Johnson.pdf                     2618224        10/9/2024 22:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71467              Driver License.pdf                      4532086          9/8/2021 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71467              Fasano Report.pdf                         209583         9/8/2021 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71467              Hild Deceased - ex spouse.pdf                9247      10/9/2024 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71467              HIPAA.pdf                                 243233         9/8/2021 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71467              Pleadings.pdf                           8016005          9/8/2021 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71467              Purchase Agreement.pdf                    564313         9/8/2021 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71467              Searches.pdf                              333555         9/8/2021 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71467              Settlement Agreement.pdf               16492658        5/13/2019 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71467              SS Card.pdf                             3569577          9/8/2021 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71467              Stipulation.pdf                           777676       9/27/2021 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               7156 Moore, Charles.tv5                    10008       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               7156.pdf                                       15      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Acknowledgment.pdf                        424486       10/9/2024 20:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               admin fee and package 6-16-14.pdf       1610796        6/16/2014 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               admin fee and package.pdf               5630593        7/14/2014 13:18




                                                                1704
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                                       3467



               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Admin Fee-cashed.pdf                                286430       7/25/2014 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Advance & Promissory note Signed by Moore.pdf       673864      6/26/2014 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               advance 6-26-14.pdf                               1274748       6/26/2014 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Advance of Holdback-cashed.pdf                      221309       7/25/2014 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Advance-cashed.pdf                                  298279       7/9/2014 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Alt Contact Form.pdf                                 28236      5/12/2014 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Annuity.pdf                                       1735601       10/9/2024 22:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Auth to Release.pdf                                 138784       5/7/2014 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               balance of funding 7-25-14.pdf                      851188      7/25/2014 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Child Support.pdf                                    37293        5/8/2014 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Civil Cover Sheet.pdf                                82063      5/13/2014 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               comp report.pdf                                     178068      10/9/2024 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Dependents Form.pdf                                  11250      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Disclosures.pdf                                   1291117       4/29/2014 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               DL SS.pdf                                            26321      5/12/2014 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               DL.pdf                                               46258      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               experian.pdf                                         18443       5/7/2014 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               fedex 6-26-14.pdf                                   428798       7/2/2014 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               FedEx Delivery Confirmation-Discl Out.pdf           109540      4/11/2014 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               FedEx Delivery Confirmation-Holdback funds.pdf      109675      7/28/2014 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               FedEx Delivery Confirmation-K Out.pdf               110646      4/30/2014 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               fedex label advance.pdf                             428798      6/26/2014 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               FedEx Label-Discl Out.pdf                           146583      4/10/2014 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               FedEx Label-K Out.pdf                               149769      4/29/2014 16:59




                                                             1705
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1707 of
                                       3467



               All Paths/Locations                                 Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               FedEx Shipment 770594525732 Delivered.pdf           17426      7/15/2014 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               FL-Disclosure -Amended-6-17-2014.pdf             1694168       6/19/2014 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               HIPPA.pdf                                           98311       5/7/2014 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Holdback Funding Packet.pdf                      1272306       10/9/2024 21:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               JGW Contract.pdf                                 2638700       6/17/2014 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Lease Agreement.pdf                              2995300       10/9/2024 22:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               legal bill 8-6-2014.pdf                          2118059       8/15/2014 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               NASP.pdf                                            92190       5/7/2014 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               NJ-Disclosure-Amended-6-17-2014.pdf                849776      6/19/2014 17:42
Saiph consulting|\Audit Materials Received-   Notice of Deduction Statement Moore
SuttonPark\Closing Binders\7156               Charles.pdf                                         12058      6/26/2014 13:53
Saiph consulting|\Audit Materials Received-   Notice of Filing Copy of Notice to Interested
SuttonPark\Closing Binders\7156               Parties.pdf                                        557951      5/19/2014 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Notice of Hearing.pdf                               58288      5/19/2014 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Petition.pdf                                       486068      5/13/2014 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               POS - insurers (amended).pdf                       419394      6/30/2014 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               POS - insurers.pdf                                 466436      5/28/2014 16:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               POS - Moore.pdf                                    242559      6/26/2014 11:54
Saiph consulting|\Audit Materials Received-   Proposed Amended Order & Stipulation -
SuttonPark\Closing Binders\7156               executed by AEGON & JGW only.pdf                   722946      6/26/2014 13:42
Saiph consulting|\Audit Materials Received-   Proposed Amended Order & Stipulation -
SuttonPark\Closing Binders\7156               executed by AEGON only.pdf                          82941      6/26/2014 12:58
Saiph consulting|\Audit Materials Received-   Proposed Amended Order & Stipulation - fully
SuttonPark\Closing Binders\7156               executed.pdf                                       495257      6/26/2014 15:40
Saiph consulting|\Audit Materials Received-   Proposed Order & Stipulation - executed by
SuttonPark\Closing Binders\7156               AEGON only.pdf                                      73493      6/11/2014 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Purchase Agreement-4-30-14.pdf                   1401981        5/7/2014 16:27
Saiph consulting|\Audit Materials Received-   Purchase Agreement-Amended-Moore-6-17-
SuttonPark\Closing Binders\7156               2014.pdf                                         1275148       6/19/2014 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               QA.pdf                                             675993      10/9/2024 21:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Questionnaire.pdf                                1695338       10/9/2024 21:59




                                                             1706
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1708 of
                                       3467



               All Paths/Locations                                 Unified Title           File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Redirection Confirmation New 7156.pdf           208314       10/17/2023 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               reissue advance 6-30-2014.pdf                   427662       6/30/2014 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Request for Doc(s) Ltr-fax to Singer.doc         39936       4/10/2014 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Research Letter.pdf                             423720       10/9/2024 20:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               RS.pdf                                        1618093        10/9/2024 21:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Sign pg-Ded Stm-Note- 6-26-2014.pdf             940477       6/26/2014 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Signature Page of Contract-.pdf                 102350       6/16/2014 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Signature Pg- Moore-6-26-2014.pdf               424206       10/9/2024 20:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Transfer Order (Amended) 7-09-14.pdf            786856       7/14/2014 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Transfer Order 6-16-14.pdf                      727636       6/16/2014 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               Transfer Order-Certified.pdf                  3555531        10/9/2024 22:16
Saiph consulting|\Audit Materials Received-   Transmission Result OK Fax Message NO.6200
SuttonPark\Closing Binders\7156               (Stip to customer).txt                              799      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-   Transmission Result OK Fax Message NO.6206
SuttonPark\Closing Binders\7156               (Stip to UPS store).txt                             798      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\7156               UPS fax recpt (Stip remittance).pdf              20612       6/12/2014 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              71564 Johnson, Brian.tv5                         10395       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              Acknowledgment.pdf                               94198        3/8/2022 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              Annuity LOB.pdf                                 147399       8/27/2021 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              Application notes.pdf                           370159       8/24/2021 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              Application.pdf                                 393412       8/23/2021 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              Assignment Agreement Signed.pdf                 183045       1/31/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              Closing Binder.pdf                            9338912       11/17/2021 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              Court Order.pdf                                 283198       1/27/2022 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              Credit Report.pdf                             1800317        8/23/2021 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              Disclosure OH.pdf                                36850        9/20/2021 9:17




                                                             1707
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                                       3467



               All Paths/Locations                                 Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              Disclosure Proof of Delivery.pdf              206098      8/19/2021 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              Divorce docket.pdf                            149594      8/24/2021 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              Esign Certificate 1.pdf                        38750      10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              Esign Certificate.pdf                          47760      8/23/2021 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              Fasano Report updated.pdf                     657273      1/24/2022 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              Fasano Report.pdf                             103015      8/27/2021 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              HIPAA.pdf                                     370570      8/23/2021 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              Medical Questionnaire .pdf                    187815      8/25/2021 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              Notice of hearing.pdf                          47994      1/31/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              Pleadings Johnson.pdf                       1308228       1/31/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              Proof of Identification.PDF                 1469514      10/21/2021 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              Purchase Agreement.pdf                        232513      11/17/2021 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              Searches.pdf                                2854271       8/23/2021 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              Social Security Card.pdf                      232042      8/24/2021 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71564              ZIP Code USPS.pdf                              64628     11/17/2021 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              71565 Grffin, Susan.tv5                        10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              Annuity Contract.pdf                          148721       9/3/2021 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              Application - Notes.pdf                       372010      8/24/2021 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              Application.pdf                               395241      8/23/2021 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              Assignment.pdf                                160109       11/1/2021 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              Authorization to Release Information.pdf       73565      8/23/2021 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              Closing Binder.pdf                         11200036      10/11/2021 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              Court Order.pdf                             1396589        11/2/2021 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              Credit Report.pdf                           2650986       8/23/2021 13:12




                                                             1708
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                                       3467



               All Paths/Locations                                 Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              Disclosure - CT and NJ.pdf                      203642       9/9/2021 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              Driver License - Griffin.pdf                    686003      8/26/2021 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              Driver License.pdf                              686003      8/26/2021 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              E-sign Certificate - Closing Statement.pdf       45696       11/2/2021 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              E-sign Certificate 8.23.21.pdf                   66124      8/23/2021 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              E-sign Certificate 9.8.21.pdf                    45310       9/9/2021 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              Fasano Report.pdf                                98051      8/30/2021 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              HIPAA.pdf                                       368326      8/23/2021 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              LE Analysis.pdf                                 194321     10/12/2021 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              Medical Questionnaire.pdf                       225495       8/26/2021 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              Pleadings.pdf                                 2116732      10/26/2021 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              Purchase Agreement.pdf                          423285     10/11/2021 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              Qualified Assignment.pdf                        227210       9/3/2021 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              SA Search - Not Found.pdf                       398575      10/11/2021 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              Searches.pdf                                  3820003       8/23/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              Social Security Card.pdf                        542880      8/25/2021 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71565              Stipulation.pdf                                 338751       11/1/2021 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              71573 Cooper, Vachannoncon.tv5                   10697      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Annuity Contract.pdf                            551073      10/4/2021 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Application.pdf                                 565040      10/4/2021 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Assignment BTG to STJ.pdf                       107579      10/4/2021 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Assignment Sempra to BTG.pdf                    110774      10/4/2021 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Authorization for ded.pdf                       451870      10/4/2021 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Benefits Letter 2020.pdf                         69599      10/4/2021 11:25




                                                                1709
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                                       3467



               All Paths/Locations                                Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Benefits Letter.pdf                          57882      10/4/2021 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              BK Search.pdf                                74672      10/4/2021 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Closing Book - Vachannoncan Cooper.pdf    6641672       10/1/2021 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              COB Request.pdf                             422933      10/4/2021 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Court Order.pdf                           1324314       10/8/2021 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Credit.pdf                                  237750      10/4/2021 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Disclosure Affidavit.pdf                    345166      10/4/2021 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Disclosure IA.pdf                           743890      10/4/2021 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Disclosure IL.pdf                           802140      10/4/2021 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Disclosure MS.pdf                           711418      10/4/2021 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Disclosure TX.pdf                           847719      10/4/2021 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Fasano Report.pdf                           167620      10/4/2021 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Identification Card.pdf                   1472366       10/4/2021 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Lien Search.pdf                             148318      10/4/2021 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Medical Questionnaire and HIPAA.pdf       6747827       10/4/2021 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Payee request ot conceal.pdf                391110      10/4/2021 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Pleadings.pdf                             2830490       10/4/2021 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Proof of Residence.pdf                      301382      10/8/2021 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Purchase Agreement.pdf                    3436286       10/4/2021 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Qualified Assignment.pdf                    203711      10/4/2021 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Redirection Confirmation New 71573.pdf      416280      3/29/2023 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Settlement Agreement.pdf                    657924      10/4/2021 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              SS Card.pdf                               1245087       10/4/2021 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              Stipulation.pdf                             515505      10/8/2021 15:32




                                                                1710
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                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71573              UCC Search.pdf                          296961      10/4/2021 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              71574 Kornegay, Larry.tv5                10261      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              Additional POS.pdf                       77107      9/28/2021 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              Application.pdf                         158896       9/26/2021 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              Assignment BTG to St James.pdf          128034       9/26/2021 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              Assignment Rightway to BTG.pdf          128124       9/26/2021 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              Authorization for Deductions.pdf        109896       9/26/2021 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              Authorizations.pdf                      121255       9/26/2021 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              Back up contact for LC.pdf               61265       9/26/2021 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              Bankruptcy Search.pdf                   150779       9/26/2021 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              Closing Book - Larry Kornegay.pdf     9329109        9/24/2021 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              Court Order.pdf                         697221      9/30/2021 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              Credit Report.pdf                       571374      9/27/2021 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              Disclosure Affidavit.pdf                 71763       9/26/2021 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              Disclosure CT.pdf                       176129       9/26/2021 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              Disclosure IA.pdf                       176349       9/26/2021 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              Disclosure MD.pdf                       228073       9/26/2021 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              Driver License.pdf                    1491331        9/26/2021 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              Fasano Report - Updated.pdf              97788      9/30/2021 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              Fasano Report.pdf                        75623       9/26/2021 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              HIPAA.pdf                               275226       9/26/2021 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              IPA Affidavit.pdf                       175448       9/26/2021 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              Judgment and Lien Search.pdf            231001       9/26/2021 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              Medical Affidavit.pdf                    83402       9/26/2021 9:36




                                                             1711
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1713 of
                                       3467



               All Paths/Locations                                  Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              Medical Questionnaire.pdf                 699303       9/26/2021 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              PI Case Docket.pdf                        295946       9/26/2021 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              Pleadings.pdf                           2612000        9/26/2021 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              Purchase Agreement.pdf                    810763       9/26/2021 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              Release and Settlement Agreement.pdf      904216       9/26/2021 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              SS Verification.pdf                       289956      10/1/2021 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71574              UCC Search.pdf                            380237       9/26/2021 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              0221.pdf                                   77992      9/10/2021 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              09EC.pdf                                   78021      9/10/2021 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              2 Person Notifier.pdf                     369799      7/20/2021 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              5464B.pdf                                  78414      9/10/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              71579 Jackson, Lynette.tv5                112790      10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Acknowledgment.pdf                         96358      10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Affidavit in Lieu of SA.pdf             1343528       9/10/2021 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Application.pdf                         5516879       9/10/2021 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Assignment.pdf                             41408      10/4/2021 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Authorization.pdf                       1255139       9/10/2021 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Benefits Letter.pdf                       746750      9/10/2021 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Berwyn.pdf                                 58425      9/10/2021 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              BinderForDealNumber50638.pdf            8324874       8/23/2021 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              BK Search.pdf                              38494      9/10/2021 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Court Order.pdf                         3769977        10/1/2021 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Credit Report.pdf                         111800      9/10/2021 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Declaration.pdf                           684874      9/10/2021 11:50




                                                              1712
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1714 of
                                       3467



               All Paths/Locations                                 Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Disclosure AZ.pdf                        103110      9/10/2021 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Disclosure CO.pdf                        101605      9/10/2021 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Disclosure FL.pdf                        103743      9/10/2021 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Disclosure GA - Amended.pdf               97239      9/10/2021 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Disclosure GA.pdf                        102606      9/10/2021 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Driver License.pdf                       426326      9/10/2021 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Fasano Report.pdf                         97424      7/13/2021 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              HIPAA and Medical Questionnaire.pdf      607318       7/9/2021 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Lien and Judgment.pdf                     61029      9/10/2021 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Life Affidavit.pdf                       467118      7/20/2021 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              NASP.pdf                                  50810      9/10/2021 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Notice of Cancellation Rights.pdf         74822      9/10/2021 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Pleadings.pdf                          1438220       9/10/2021 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              POS.PDF                                  187007      8/31/2021 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Purchase Agreement.pdf                 1296302       9/10/2021 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Qualified Assignment.pdf                 383169      9/10/2021 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Same Name Affidavit.pdf                  680479      9/10/2021 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              SS Card.pdf                              440795      9/10/2021 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Stip.pdf                                 775196       10/5/2021 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              Stipulation.pdf                          250719      10/6/2021 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              UCC.pdf                                   77026      9/10/2021 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71579              W-9.pdf                                4831438       7/20/2021 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71586              71586 Wise, Laura.tv5                     10429      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71586              Acknowledgment.pdf                        27781      10/21/2021 8:51




                                                                1713
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1715 of
                                       3467



               All Paths/Locations                                Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71586              Affidavit.pdf                              216412       9/13/2021 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71586              Application.pdf                             92187        7/23/2021 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71586              Assignment.pdf                              78802      10/20/2021 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71586              Attorney- ServiceRequirment-Payee.pdf      351789       9/15/2021 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71586              Benefits Letter.pdf                         27349        9/9/2021 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71586              Court Order.pdf                            202376        9/9/2021 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71586              Credit Report.pdf                          404061        9/9/2021 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71586              Disclosure AR.pdf                          219138       9/13/2021 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71586              Disclosure VA.pdf                          256688       9/13/2021 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71586              Drivers License.pdf                      1618089        9/13/2021 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71586              Pleadings.pdf                            4735919        9/13/2021 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71586              Purchase Agreement.pdf                   1610414        9/13/2021 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71586              Searches.pdf                                23413       10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71586              Social Security Card.pdf                 2437320        9/13/2021 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71586              UCC.pdf                                     23553       10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71680              71680 Hines, Courtney.tv5                     9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71680              Acknowledgment.pdf                         219362       9/29/2021 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71680              Applicaiton.pdf                            284948       9/13/2021 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71680              Assignment.pdf                              25286        9/14/2021 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71680              Authorization for Deductions.pdf            46716       9/13/2021 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71680              Benefits Letter.pdf                      1267515        9/13/2021 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71680              Certification.pdf                          117084       9/13/2021 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71680              Closing Book - Courtney Hines.pdf        7819810        9/13/2021 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71680              COB Request.pdf                             82894       9/13/2021 14:31




                                                              1714
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1716 of
                                       3467



               All Paths/Locations                                 Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71680              Court Order.pdf                                     203702      9/13/2021 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71680              Credit Report.pdf                                   642172      9/13/2021 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71680              Disclosure AL.pdf                                    37608      9/13/2021 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71680              Disclosure VA.pdf                                    38887      9/13/2021 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71680              DocuSign Certs.pdf                                   94406      9/13/2021 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71680              Driver License.pdf                                  288968      9/13/2021 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71680              Genworth Life Reconfig Letter up04-11-2022.pdf      476916      4/11/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71680              Pleadings.pdf                                     1389890       9/13/2021 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71680              Purchase Agreement.pdf                              349317      9/13/2021 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71680              Redirection Confirmation New up07-27-2022.pdf       481472      7/26/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71680              Searches.pdf                                         58748      9/13/2021 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71680              Settlement Agreement.pdf                            246137      9/13/2021 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71680              Social Security Card.pdf                            311444      9/13/2021 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71680              UCC Search.pdf                                      114033      9/13/2021 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71728              71728 Rivera, Miguel.tv5                             10261      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71728              Acknowledgement.pdf                                 104998     11/23/2021 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71728              Affidavit.pdf                                       251940       11/2/2021 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71728              Annuity Contract.pdf                                558676      11/8/2019 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71728              Application.pdf                                     185066     10/29/2021 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71728              Court Order - Amended.pdf                         1598828      11/12/2021 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71728              Court Order.pdf                                     711960     10/28/2021 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71728              Credit Report.pdf                                    31576     10/29/2021 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71728              Disclosure CT.pdf                                   262209       11/2/2021 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71728              Disclosure NJ.pdf                                   260196       11/2/2021 8:52




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                                       3467



               All Paths/Locations                                 Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71728              Disclosure NY.pdf                           307908       11/2/2021 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71728              Fasano Report Updated.pdf                    99098      10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71728              HIPPA and Questionnaire.pdf               1857905       10/9/2024 22:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71728              Infants Compromise Order.pdf                484717       6/9/2020 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71728              Pleadings.pdf                             3838471        11/2/2021 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71728              Proof of Residence.pdf                    4986956       10/9/2024 22:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71728              Purchase Agreement.pdf                    2782520        11/2/2021 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71728              Qualified Assignment.pdf                    215600      11/8/2019 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71728              Searches.pdf                                 14340      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71728              Seller Identification.PDF                   364508      10/9/2024 20:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71728              Settlement Agreement.pdf                    851661      11/8/2019 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71728              Social Security Card.pdf                    804105       6/9/2020 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71738              71738 Griffith, Shornnel.tv5                 10400      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71738              Affidavit of Lieu of SA.pdf                 112332      9/16/2021 18:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71738              Annuity Contract.pdf                        173452      9/16/2021 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71738              Application.pdf                             173110       9/2/2021 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71738              Assignment.pdf                              163986      9/28/2021 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71738              Closing Binder.pdf                       16018884       9/16/2021 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71738              Court Order.pdf                             245942      9/28/2021 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71738              Credit Report.pdf                            35665       9/2/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71738              Disclosure FL.pdf                           153279      9/16/2021 18:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71738              Disclosure NJ.pdf                           139275      9/16/2021 18:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71738              Docusign Cert - Split Payment Form.pdf      335920      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71738              Docusign Cert -PA Docs.pdf                  324448      10/9/2024 20:21




                                                              1716
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                                       3467



               All Paths/Locations                                 Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71738              Pleadings.pdf                                   2377194       9/16/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71738              POR - Full Lease Agreement.pdf                  9295300       9/15/2021 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71738              POR - Utility Bill.pdf                             55808      9/16/2021 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71738              Purchase Agreement.pdf                          1379090       9/16/2021 18:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71738              Searches.pdf                                      402022      9/16/2021 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71738              Seller Identification.pdf                          38855      9/16/2021 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71738              Settlement Agreement and Release.pdf              246023      9/16/2021 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71738              Social Security Card.pdf                        2262780       9/16/2021 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71738              Stipulation.pdf                                   562081      9/28/2021 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              71768 Brown, Darien.tv5                            10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Acknowledgment.pdf                                130673      12/8/2021 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Annuity Contract.pdf                              149421      9/17/2021 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Application.pdf                                   363085      9/17/2021 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Assignment BTG to St James.pdf                    128418      9/17/2021 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Assignment Rightway to BTG Advisors.pdf           128571      9/17/2021 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Authorization for Deductions - Notarized.pdf       94944      9/17/2021 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Authorizations.pdf                                109259      9/17/2021 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Back Up Contact for LC Deal.pdf                    51774      9/17/2021 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Benefits Letter - updated.pdf                     201985      9/29/2021 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Benefits Letter.pdf                               381935      9/17/2021 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Closing Book - Darien Brown.pdf                10930320       9/16/2021 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              COB Request.pdf                                   126009      9/17/2021 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Court Order.pdf                                    74123      9/17/2021 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Credit Report.pdf                                 618698      9/29/2021 16:25




                                                                1717
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1719 of
                                       3467



               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Declaration of Payee.pdf                    57140      9/17/2021 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Diclosure GA.pdf                           210715      9/17/2021 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Disclosure Affidavit.pdf                    49907      9/17/2021 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Disclosure DE.pdf                          185029      9/17/2021 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Disclosure NY.pdf                          222009      9/17/2021 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Doc Request Letter.pdf                      87843      9/17/2021 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              DocuSign Cert - 99D0.pdf                    18386      9/17/2021 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Driver License.pdf                       1139890       9/17/2021 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Fasano Report.pdf                           75583      9/17/2021 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              HIPAA.pdf                                  333428      9/17/2021 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Lien and Judgment Search.pdf               224624      9/17/2021 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Medical Affidavit.pdf                       77782      9/17/2021 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Medical Questionnaire - notarized.pdf      650770      9/17/2021 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              PI Case Docket.pdf                         870708      9/17/2021 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Pleadings.pdf                            2521276       9/17/2021 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Purchase Agreement.pdf                   1898904       9/17/2021 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Qualified Assignment - partial.pdf         201739      9/17/2021 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Request for Acknowledgment.pdf             726554      9/22/2021 19:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              Social Security Card.pdf                   256421      9/17/2021 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71768              UCC Search.pdf                             477999      9/17/2021 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71816              55DD.pdf                                   243509      10/9/2024 20:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71816              71816 Myers, Stacy.tv5                      10188      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71816              AC - Schedule page.pdf                      76468      9/22/2021 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71816              Affidavit.pdf                               87109      9/20/2021 12:20




                                                              1718
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1720 of
                                       3467



               All Paths/Locations                                 Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71816              Application.pdf                          706162      9/20/2021 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71816              Assignment.pdf                            65179      9/20/2021 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71816              Authorization.pdf                         67813      9/20/2021 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71816              BK Search.pdf                            229840      9/20/2021 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71816              Court Order.pdf                          192153      9/28/2021 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71816              Credit Report.pdf                        264678      9/22/2021 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71816              Disclosure IN.pdf                         80361      9/20/2021 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71816              Driver License and SSC.pdf               411375      10/5/2020 19:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71816              Fasano Report.pdf                        100547      9/20/2021 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71816              Life Affidavit.pdf                        35939      9/20/2021 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71816              Medical Questionnaire and HIPAA.pdf      229950      9/20/2021 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71816              Notify.pdf                                30578      9/20/2021 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71816              Pleadings.pdf                          4836826       9/29/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71816              psa.pdf                                1866252       9/22/2021 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71816              Purchase Agreement.pdf                   364779      9/22/2021 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71816              Qualified Assignment.pdf                 432454      9/22/2021 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71816              Searches.pdf                              81009      9/29/2021 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71816              Settlement Agreement.pdf               1294515       9/22/2021 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71816              Stipulation.pdf                          651395      9/28/2021 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              71887 Finley, Frederick.tv5               10263      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              Acknowledgment.pdf                       232503      9/29/2021 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              Application.pdf                          462060      10/9/2024 20:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              Assignment.pdf                           153591      9/24/2021 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              BK Search.pdf                             55532      9/21/2021 12:48




                                                                1719
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1721 of
                                       3467



               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              Collateral File (JH2).pdf               10724171       10/9/2024 23:06
Saiph consulting|\Audit Materials Received-   Complete Release with Confidentiality
SuttonPark\Closing Binders\71887              Agreement.pdf                           39484554       8/21/2017 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              Court Order.pdf                            563325       9/21/2021 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              Credit Report.pdf                           68831      9/21/2021 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              Disclosue CT.pdf                            86230      9/21/2021 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              Disclosure DE.pdf                           86396      9/21/2021 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              Disclosure MA.pdf                           86406      9/21/2021 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              Disclosure MI.pdf                           86162      9/21/2021 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              DocuSign 8DD9.pdf                          290610      6/29/2021 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              DocuSign Cert 02C5.pdf                     318644      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              DocuSign Cert 0E38.pdf                     287722      9/21/2021 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              DocuSign Cert 6AE4.pdf                     323738      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              DocuSign Cert C9C0.pdf                     267239       9/9/2021 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              Fasano Report.pdf                          194977      9/21/2021 12:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              HIPAA.pdf                                  228567      9/21/2021 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              Identification Card.pdf                  4795057       9/21/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              LC Contact.pdf                             717615      9/21/2021 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              Medical Questionnaire.pdf                  202489      9/21/2021 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              Pleadings.pdf                            1713935       9/21/2021 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              Proofs of Service.pdf                    2359357       10/9/2024 22:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              Purchase Agreement - 9-17-21.pdf           235783      9/20/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              Purchase Agreement.pdf                   1078741       9/21/2021 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              Qualified Assignment.pdf                 6327648       8/21/2017 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              Searches.pdf                               161236      9/21/2021 12:47




                                                               1720
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1722 of
                                       3467



               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              SSC.pdf                                    522057     10/25/2018 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71887              Transaction Summary.pdf                     52246      9/21/2021 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              71888 Finley, Frederick.tv5                 10263      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Acknowledgment.pdf                         233530      9/29/2021 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Application.pdf                            462060      10/9/2024 20:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Assignment.pdf                             153559      9/24/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Bankruptcy Search.pdf                       63126      9/21/2021 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Benefits Letter.pdf                        195979      9/21/2021 13:25
Saiph consulting|\Audit Materials Received-   Berwyn Death Search_052622 Frederick
SuttonPark\Closing Binders\71888              Finley.pdf                                 170122        6/6/2022 0:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Collateral File (JH1).pdf               10775252       10/9/2024 23:07
Saiph consulting|\Audit Materials Received-   Complete Release with Confidentiality
SuttonPark\Closing Binders\71888              Agreement.pdf                           39484554       8/21/2017 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Court Order.pdf                            553563       9/21/2021 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Credit Report.pdf                           68831      9/21/2021 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Declaration in Lieu of SA.pdf              499135      9/21/2021 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Desiganted of Continued Contact.pdf        170328      9/21/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Disclosure CT.pdf                          343938      9/21/2021 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Disclosure DE.pdf                          343890      9/21/2021 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Disclosure MA.pdf                          344453      9/21/2021 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Disclosure MI.pdf                           84582      9/21/2021 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              DocuSign 8DD9.pdf                          290610      6/29/2021 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              DocuSign Cert 02C5.pdf                     318644      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              DocuSign Cert 0E38.pdf                     287722      9/21/2021 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              DocuSign Cert 6AE4.pdf                     323738      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              DocuSign Cert C9C0.pdf                     267239       9/9/2021 16:29




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                                       3467



               All Paths/Locations                                Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Fasano Report.pdf                              194977      9/21/2021 12:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              HIPAA.pdf                                      228567      9/21/2021 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Identification Card.pdf                      4795057       9/21/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Medical Questionnaire.pdf                      202489      9/21/2021 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              PI Docket Sheet.pdf                          1060270       4/12/2017 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              PI Related Documents.pdf                    21299104       4/13/2017 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Pleadings.pdf                                1713935       9/21/2021 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Proofs of Service.pdf                        2359357       10/9/2024 22:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Purchase Agreement - 9-17-21.pdf               237266      9/20/2021 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Purchase Agreement.pdf                         778744      9/21/2021 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Request for Acknowledgment.pdf                 384918      9/23/2021 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Searches.pdf                                   161236      9/21/2021 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Social Security Card.pdf                       522057     10/25/2018 16:41
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Frederick Finley POLICY
SuttonPark\Closing Binders\71888              1496110005200301151 052622.pdf                 360086       7/7/2022 14:51
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR FREDERICK FINLEY JR
SuttonPark\Closing Binders\71888              POLICY 1496110005200301151 03032023.pdf        484680       3/3/2023 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71888              Transaction Summary.pdf                         51397      9/21/2021 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              71900 Finley, Frederick.tv5                     10265      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              Acknowledgment.pdf                              46971      10/6/2021 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              Annuity Contract.pdf                           265410      4/12/2017 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              Application.pdf                                462060      10/9/2024 20:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              Bankruptcy Search.pdf                           63126      9/21/2021 11:12
Saiph consulting|\Audit Materials Received-   Complete Release with Confidentiality
SuttonPark\Closing Binders\71900              Agreement.pdf                               39484554       8/21/2017 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              Court Order.pdf                                261809      9/16/2021 12:17




                                                              1722
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                                       3467



               All Paths/Locations                                Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              Credit Report.pdf                         82609      9/21/2021 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              Declaration in Lieu of SA.pdf            468371      9/21/2021 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              Desiganted of Continued Contact.pdf      170328      9/21/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              Disclosure MI.pdf                        353428      9/21/2021 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              DocuSign 8DD9.pdf                        290610      6/29/2021 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              DocuSign Cert 02C5.pdf                   318644      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              DocuSign Cert 0E38.pdf                   287722      9/21/2021 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              DocuSign Cert 6AE4.pdf                   323738      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              DocuSign Cert C9C0.pdf                   267239       9/9/2021 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              Fasano Report.pdf                        120507      9/21/2021 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              HIPAA.pdf                                250595      9/21/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              Identification Card.pdf                2683431       9/21/2021 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              Medical Questionnaire.pdf                258075      9/21/2021 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              PI Docket Sheet.pdf                    1060270       4/12/2017 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              PI Related Documents.pdf              21299104       4/13/2017 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              Pleadings.pdf                          4461753       9/21/2021 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              POR.pdf                                  238635      9/21/2021 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              Proofs of Service.pdf                  2359357       10/9/2024 22:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              Purchase Agreement.pdf                   545379      9/21/2021 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              Request for Acknowledgment.pdf           355720      9/21/2021 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              Searches.pdf                              77854      9/21/2021 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              Social Security Card.pdf                 522057     10/25/2018 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              Transaction Summary.pdf                  521415      9/21/2021 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71900              Updated Benefits Letter.pdf               87182      9/23/2021 16:06




                                                              1723
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                                       3467



               All Paths/Locations                                 Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              0B87.pdf                                       333572      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              71913 Gaza, Norma.tv5                           10254      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              Ack for deals 70848 70953 71913 71968.pdf      342974       10/6/2021 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              Affidavit.pdf                                2910732       9/22/2021 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              Application for this deal.pdf                1568027       9/28/2021 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              Bankruptcy Search-NO BK.pdf                    163303       8/3/2021 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              Benefits Letter.pdf                             27079       5/4/2021 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              C446.pdf                                       343779      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              Closing Binder for.pdf                       9804315       10/9/2024 23:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              Court Order.pdf                                301001      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              Credit Report.pdf                            2381119        8/6/2021 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              Disclosure Affidavit.pdf                       774974      9/22/2021 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              Disclosure IA.pdf                            2762582       9/22/2021 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              Disclosure NY.pdf                            2923573       9/22/2021 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              Disclosure TX.pdf                               90578      9/22/2021 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              Driver License.pdf                           1646783       9/22/2021 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              Fasano Report.pdf                               99353       8/9/2021 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              HIPPA.pdf                                      626341      10/9/2024 21:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              Judgement.pdf                                  121227      1/20/2020 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              Liens Search-NAME ONLY.pdf                     226646       8/3/2021 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              Liens Search.pdf                               162923       8/3/2021 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              PACER Case Locator - NO BK.pdf                  51458       8/3/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              Pleadings.pdf                                1408923       9/22/2021 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              Purchase Agreement.pdf                      11925725       9/22/2021 11:46




                                                              1724
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                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              Req for ACK.pdf                       3090425        10/1/2021 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              Social Secuirty Card.pdf                 35121       8/4/2021 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              UCC Search-NAME ONLY.pdf                239945       8/3/2021 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71913              UCC Search-SSN ONLY.pdf                 238466       8/3/2021 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              71916 Martin, Robert.tv5                 10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              8023.pdf                                141988      10/9/2024 18:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              Acknowledgment.pdf                       31558     12/16/2021 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              Amended Court Order.pdf                 338635      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              Application.pdf                          69448      9/21/2021 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              Assignment - Martin.pdf                 226496      10/1/2021 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              Benefits Letter.pdf                     423970      9/21/2021 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              C59D.pdf                                201237      10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              C77D.pdf                                187161      10/9/2024 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              Closing Binder.pdf                    9681303       9/21/2021 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              Court Order.pdf                       4502882       10/9/2024 22:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              Credit Report.pdf                        36209       8/9/2021 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              Disclosure OH.pdf                       238885      9/21/2021 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              DocuSign Cert - 106E.pdf                231495      10/9/2024 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              DocuSign Cert - B668.pdf                188117      10/9/2024 19:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              DocuSign Cert - E0F4.pdf                187881      10/9/2024 19:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              Fasano Report.pdf                        97856       8/6/2021 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              HIPAA.pdf                               115121      9/29/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              Identification Card.pdf                 558331      9/21/2021 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              Medical Questionnaire.pdf               152469      9/29/2021 11:39




                                                             1725
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1727 of
                                       3467



               All Paths/Locations                                 Unified Title           File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              Pleadings.pdf                                 1476946        9/21/2021 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              Proofs of Residency.pdf                         806014       9/29/2021 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              Purchase Agreement- Hold Time.pdf               398234       9/17/2021 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              Purchase Agreement.pdf                          464048       9/21/2021 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              SA Search Results.pdf                           280111       9/30/2021 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              image001.png                                       4751
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              image002.png                                     13308
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              Martin, Robert Network Rental Summary.pdf        46924
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              Martin, Robert Park West Manor Summary.pdf       47484
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              Searches.pdf                                     32078       9/21/2021 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              Social Secuirty Card.pdf                        725768       9/29/2021 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              Stip - Missing Symetra.pdf                      629571       9/30/2021 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              Stipulation.pdf                                 435642       10/9/2024 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71916              UCC Search.pdf                                  781151       9/21/2021 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71926              71926 Maxwell, Misty.tv5                         10211       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71926              Acknowledgment.pdf                              161651      10/14/2021 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71926              Amended Court Order.pdf                       2145483       10/14/2021 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71926              Amendment to Purcahse Agreement.pdf             260985       1/16/2024 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71926              Assignment.pdf                                  371009       10/8/2021 16:33
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\71926              Information.pdf                               2524663        10/8/2021 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71926              Authorization to Release.pdf                  1405524        10/8/2021 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71926              Certificate of Residence.pdf                     79918      10/15/2021 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71926              Closing Binder.pdf                           20829841        10/5/2021 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71926              Court Order.pdf                               2375469        10/8/2021 16:33




                                                                1726
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1728 of
                                       3467



               All Paths/Locations                                   Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71926              Credit Report.pdf                                253930      10/8/2021 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71926              Disclosure - GA.pdf                              373758      10/8/2021 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71926              Drivers License.pdf                              648784      10/8/2021 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71926              Fasano.pdf                                       372242      10/8/2021 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71926              GA State WH Tax Check.pdf                        208870     10/19/2021 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71926              Medical Questionnaire.pdf                      4227046       10/8/2021 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71926              Pleadings.pdf                                  4907143       10/8/2021 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71926              Purcahse Agreement.pdf                         2957938       10/8/2021 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71926              Searches.pdf                                   2002285       10/8/2021 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71926              Seller Affidavit.pdf                             346756      10/8/2021 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71926              Social Security Card.pdf                         477158      10/8/2021 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71926              Tax Withholding Statement.pdf                    332615      10/8/2021 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71926              W2G.pdf                                          254824      10/8/2021 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71926              Win Letter.pdf                                   576990      10/8/2021 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              71943 Locklear, Natalie.tv5                       10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Acknowledgment of Collateral Assignment.pdf       54107      11/8/2021 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Application.pdf                                  846926      9/28/2021 19:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Assignment.pdf                                   336649     11/15/2021 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Authorization to Release.pdf                     187016      9/28/2021 19:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Bankruptcy Search.pdf                             60904      9/28/2021 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Benefits Letter.pdf                               19600      9/28/2021 19:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Berwyn Search.pdf                                 59596      9/28/2021 19:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              BinderForDealNumber50661.pdf                  31394033       9/27/2021 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Collateral Assignment Blank.pdf                  976530      11/9/2021 11:47




                                                               1727
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1729 of
                                       3467



               All Paths/Locations                                 Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Collateral Assignment - Signed.pdf          285225     10/28/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Court Order.pdf                           7305835       11/8/2021 16:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Credit Report.pdf                           343378      9/28/2021 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Declaration.pdf                              65963      9/28/2021 19:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Disclosure IL.pdf                           168377      9/28/2021 19:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Disclosure NC.pdf                           412401      9/28/2021 19:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              DocuSign Cert - Fasano Docs.pdf              69194      9/29/2021 18:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Driver License.pdf                           94664      9/28/2021 19:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Entity Authorization.pdf                    179905     10/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Fasano Report.pdf                           108010      7/12/2021 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              HIPAA.PDF                                   631276      9/29/2021 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              IPA Letter.pdf                               78477      11/8/2021 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Lien Search.pdf                             362221      9/28/2021 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Life Insurance Policy.pdf                 2470437        9/21/2021 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Medical Questionnaire.pdf                 6579168       9/29/2021 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              NASP Search.pdf                              91560      9/28/2021 19:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Pleadings.pdf                            24619548       9/28/2021 19:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Proof of Policy Payment.pdf                 104869      11/8/2021 20:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Proofs of service.pdf                       864881     11/10/2021 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Purchase Agreement.pdf                    2908895       9/28/2021 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Redirection Confirmation New 71943.pdf      142244        5/2/2023 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Settlement Agreement.pdf                    258247      9/28/2021 19:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              SSC.PDF                                     315009      11/9/2021 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Stipulation.pdf                           1108589      11/16/2021 10:31




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                                       3467



               All Paths/Locations                                 Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              Sworn Afidavit in Lieu of SA.pdf                 206667      9/28/2021 19:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71943              UCC Search.pdf                                   394306      9/28/2021 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              71944 Locklear, Natalie.tv5                       10023      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Acknowledgment of Collateral Assignment.pdf       54107      11/8/2021 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Application.pdf                                  846926      9/28/2021 19:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Articles of Formation.pdf                        130158       11/9/2021 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Assignment.pdf                                   336649     11/15/2021 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Authorization to Release.pdf                     187016      9/28/2021 19:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Bankruptcy Search.pdf                             60904      9/28/2021 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Benefits Letter.pdf                               19600      9/28/2021 19:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Berwyn Search.pdf                                 59596      9/28/2021 19:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              BinderForDealNumber50661.pdf                  31394033       9/27/2021 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Collateral Assignment Blank.pdf                  976530      11/9/2021 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Collateral Assignment - Signed.pdf               285225     10/28/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Court Order.pdf                                7305835       11/8/2021 16:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Credit Report.pdf                                343378      9/28/2021 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Declaration.pdf                                   65963      9/28/2021 19:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Disclosure IL.pdf                                168377      9/28/2021 19:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Disclosure NC.pdf                                412401      9/28/2021 19:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              DocuSign Cert - Fasano Docs.pdf                   69194      9/29/2021 18:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Driver License.pdf                                94664      9/28/2021 19:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Entity Authorization.pdf                         179905     10/26/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Fasano Report.pdf                                108010      7/12/2021 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Final Transfer Package.pdf                     5055768       8/30/2021 15:40




                                                             1729
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1731 of
                                       3467



               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              HIPAA.PDF                                          631276      9/29/2021 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              IPA Letter.pdf                                      78477      11/8/2021 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Lien Search.pdf                                    362221      9/28/2021 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Life Insurance Policy.pdf                        2470437        9/21/2021 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Medical Questionnaire.pdf                        6579168       9/29/2021 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              NASP Search.pdf                                     91560      9/28/2021 19:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Pleadings.pdf                                   24619548       9/28/2021 19:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Proof of Policy Payment.pdf                        104869      11/8/2021 20:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Proofs of service.pdf                              864881     11/10/2021 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Purchase Agreement.pdf                           2908895       9/28/2021 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Redirection Confirmation New 71944.pdf             142322        5/2/2023 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Redirection Reconfiguration 71944.pdf              392700      4/20/2023 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Settlement Agreement.pdf                           258247      9/28/2021 19:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              SSC.PDF                                            315009      11/9/2021 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Stipulation.pdf                                  1108589      11/16/2021 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              Sworn Afidavit in Lieu of SA.pdf                   206667      9/28/2021 19:14
                                              Transamerica Life Insurance Company 660117813
Saiph consulting|\Audit Materials Received-   Natalie Pierce Locklear Oct 2023 Payment
SuttonPark\Closing Binders\71944              Confirmation.pdf                                    86066      10/24/2023 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71944              UCC Search.pdf                                     394306      9/28/2021 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              71947 Zamboli, Alana.tv5                            10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\71947              Application.pdf                                    154017      11/3/2021 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73068              Signed Affidavit.pdf                             2634335      11/10/2021 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73068              Signed Residence.pdf                               580058      5/12/2021 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73068              SSC.pdf                                          8230802       5/12/2021 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73068              UCC.pdf                                          7039540        1/18/2022 9:55



                                                                1730
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                                       3467



               All Paths/Locations                                  Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73068              W9.pdf                                          1629139       5/12/2021 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              73091 Jones, Dahnari.tv5                           10301      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              Annuity Contract.pdf                            2863179      11/19/2021 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              Application.pdf                                   656738     11/19/2021 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              Bankruptcy Search.pdf                             278189     11/19/2021 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              Closing Binder.pdf                             12249902      11/19/2021 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              Court Order.pdf                                   346890       12/1/2021 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              Credit Report.pdf                                 499258     11/19/2021 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              Disclosure - IL.pdf                               333009     11/19/2021 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              Disclosure - NY.pdf                               357092     11/19/2021 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              Purchase Agreement.pdf                          2280363      11/19/2021 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              Qualified Assignment.pdf                          592520     11/19/2021 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              Redirection Reconfiguration up07-11-2022.pdf    2180777        7/8/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              Redirection Assignee List NYLIC.pdf               222753       7/7/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              COA Policy FP200974.pdf                            52947       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              COA Policy 74758034.pdf                            52951       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              COA Policy 77422032.pdf                            52926       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              COA Policy FP200974 (2).pdf                        52949       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              COA Policy FP200974.pdf                            52991       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              COA Policy FP201158.pdf                            52930       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              COA Policy FP205723.pdf                            52948       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              COA Policy FP206266.pdf                            52989       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              COA Policy FP206275.pdf                            52951       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              COA Policy FP207071.pdf                            52987       4/8/2022 13:24




                                                              1731
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1733 of
                                       3467



               All Paths/Locations                                  Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              COA Policy FP207808.pdf                                  52960       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              COA Policy FP210013.pdf                                  52983       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              COA Policy FP210674.pdf                                  52959       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              COA Policy FP216554.pdf                                  52928       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              COA Policy FP220022.pdf                                  53010       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              COA Policy FP220028.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              COA Policy FP220219.pdf                                  52981       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              COA Policy FP220714.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              COA Policy FP244114.pdf                                  52993       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              Security TItle Corporate Resolution 11.2021 si.pdf      937256       4/1/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              Searches.pdf                                            609025     11/19/2021 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              Seller ID.pdf                                           269556     11/19/2021 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              Settlement Agreement Affidavit.pdf                      388522     11/19/2021 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              Social Security Card.pdf                                178087     11/19/2021 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73091              Stipulation.pdf                                         760258     11/19/2021 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73092              73092 Jones, Darnell.tv5                                 10334      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73092              Acknowledgement.pdf                                     204280     12/15/2021 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73092              Annuity Contract.pdf                                  1852148      11/19/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73092              Bankruptcy Search.pdf                                   278552     11/19/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73092              Closing Binder.pdf                                   12007973      11/19/2021 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73092              Court Order.pdf                                         287076      12/1/2021 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73092              Credit Report.pdf                                       684905     11/19/2021 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73092              Disclosure - GA.pdf                                     343200     11/19/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73092              Disclosure - IL.pdf                                     344488     11/19/2021 12:43




                                                                1732
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1734 of
                                       3467



               All Paths/Locations                                   Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73092              Purchase Agreement.pdf                   2296439      11/19/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73092              Qualified Assignment.pdf                   923218     11/19/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73092              Request for Annuity Documents.pdf          153038     11/19/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73092              Request for Change of Beneficiary.pdf      148967     11/19/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73092              Searches.pdf                             1075351      11/19/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73092              Seller Affidavit.pdf                       467782     11/19/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73092              Seller Identification.pdf                  209072     11/19/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73092              Settlement Agreement Affidavit.pdf         388938     11/19/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73092              Stipulation.pdf                            968860     11/19/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              73134 Zolna, Joseph.tv5                     10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              Acknowledgment.pdf                       1627207        2/22/2022 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              Affidavit.pdf                               91073     11/18/2021 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              Annuity Contract.pdf                        96537     11/18/2021 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              Application.pdf                             81469     11/18/2021 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              Assignment Executed.pdf                    187185       1/18/2022 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              Benefit 2.pdf                            1187193       1/17/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              Benefit letter.pdf                          54535      1/17/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              Closing Binder.pdf                       3421709        1/11/2022 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              Court Order.pdf                            587805      10/9/2024 21:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              Credit Report.pdf                           51030      10/9/2024 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              Disclosure PA.pdf                          144875     11/18/2021 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              DocuSign Cert 2FC6.pdf                     188865      10/9/2024 19:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              DocuSign Cert CF1F.pdf                     215035      10/9/2024 19:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              Driver License.pdf                         840693     11/18/2021 15:26




                                                                1733
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1735 of
                                       3467



               All Paths/Locations                                Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              Fasano Report.pdf                        95917     11/19/2021 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              HIPAA.pdf                               118864       1/11/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              Medical Questionnaire.pdf               160332       1/11/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              PI Docket No Results.pdf                195725       1/17/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              Pleadings JZ.pdf                      1921920       1/17/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              Proof of Payment - Check.pdf             41193      12/5/2023 18:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              Purchase Agreement.pdf                  429517       1/11/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              Searches.pdf                             29163       1/11/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              Social Secuirty Card.pdf                 26190      1/17/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              UCC Search.pdf                           54940       1/11/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73134              ZIP Code USPS 73134.pdf                  79000      1/11/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              73135 Darby, Rosanne.tv5                 10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Additional DocuSign.pdf                 175057     12/30/2021 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Annuity Contract.pdf                    363355     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Application.pdf                         161448     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\73135              Information.pdf                         227972     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Authorization to Release.pdf             36837     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Bankruptcy Search.pdf                    42777     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Benefits Letter.pdf                   5774788      11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Court Order.pdf                         122494     12/10/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Credit Report.pdf                        26063     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Darby Closing Binder.pdf             17529988      11/23/2021 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Declaration.pdf                          28000     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Disclosure - AK.pdf                      55072     11/23/2021 16:19




                                                             1734
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1736 of
                                       3467



               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Disclosure - DE.pdf                                66228     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Disclosure - NY.pdf                                57741     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Divorce Docs from Marcus Everett.pdf              260423     11/23/2021 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Divorce Docs from Wayne Wilson.pdf                 53840     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Docusign Certificate 932.pdf                       69506     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Drivers License.pdf                                28948     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Fasano Report.pdf                                  99552     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              IPA letter.pdf                                    321139     12/30/2021 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Life Insurance Policy.pdf                       5455235      12/13/2021 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Medical Questionnaire.pdf                       3802788      11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Pleadings.pdf                                   2803549      11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Proof of Disclosure Delivery.pdf                   72498     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Purchase Agreement updated.pdf                  5092573       12/10/2021 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Qualified Assignment.pdf                          148021     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Redirection Reconfiguration up07-11-2022.pdf    2180777        7/8/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Redirection Assignee List NYLIC.pdf               222753       7/7/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              COA Policy FP200974.pdf                            52947       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              COA Policy 74758034.pdf                            52951       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              COA Policy 77422032.pdf                            52926       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              COA Policy FP200974 (2).pdf                        52949       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              COA Policy FP200974.pdf                            52991       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              COA Policy FP201158.pdf                            52930       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              COA Policy FP205723.pdf                            52948       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              COA Policy FP206266.pdf                            52989       4/8/2022 13:24




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                                       3467



               All Paths/Locations                                Unified Title                    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              COA Policy FP206275.pdf                                  52951        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              COA Policy FP207071.pdf                                  52987        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              COA Policy FP207808.pdf                                  52960        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              COA Policy FP210013.pdf                                  52983        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              COA Policy FP210674.pdf                                  52959        4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              COA Policy FP216554.pdf                                  52928        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              COA Policy FP220022.pdf                                  53010        4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              COA Policy FP220028.pdf                                  52980        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              COA Policy FP220219.pdf                                  52981        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              COA Policy FP220714.pdf                                  52980        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              COA Policy FP244114.pdf                                  52993        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Security TItle Corporate Resolution 11.2021 si.pdf      937256        4/1/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Settlement Agreement and Release.pdf                    681217      11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Social Security Card.pdf                                 32288      11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              Stipulation.pdf                                         118267      12/10/2021 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              UCC Filings.pdf                                         453488      12/30/2021 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73135              UCC Search.pdf                                          964490      11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              73136 Darby, Rosanne.tv5                                   9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Ackowledgment of Collateral Assignee.pdf                135275      12/30/2021 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Additional DocuSign.pdf                                 175057      12/30/2021 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Annuity Contract.pdf                                    363355      11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Application.pdf                                         161448      11/23/2021 16:19
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\73136              Information.pdf                                         227972      11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Authorization to Release.pdf                             36837      11/23/2021 16:19




                                                                1736
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1738 of
                                       3467



               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Bankruptcy Search.pdf                              42777     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Benefits Letter.pdf                             5774788      11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Collateral Assignment signed.pdf                  322921     12/30/2021 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Court Order.pdf                                   122494     12/10/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Credit Report.pdf                                  26063     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Darby Closing Binder.pdf                       17529988      11/23/2021 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Disclosure - AK.pdf                                55072     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Disclosure - DE.pdf                                66228     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Disclosure - NY.pdf                                57741     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Divorce Docs from Marcus Everett.pdf              260423     11/23/2021 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Divorce Docs from Wayne Wilson.pdf                 53840     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Docusign Certificate 932.pdf                       69506     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Drivers License.pdf                                28948     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Fasano Report.pdf                                  99552     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              IPA letter.pdf                                    321139     12/30/2021 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Life Insurance Policy.pdf                       5455235      12/13/2021 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Medical Questionnaire.pdf                       3802788      11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Pleadings.pdf                                   2803549      11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Policy Summary.pdf                              1031711      12/30/2021 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Purchase Agreement updated.pdf                  5092573       12/10/2021 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Qualified Assignment.pdf                          148021     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Redirection Reconfiguration up07-11-2022.pdf    2180777        7/8/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Redirection Assignee List NYLIC.pdf               222753       7/7/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              COA Policy FP200974.pdf                            52947       4/8/2022 13:24




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1739 of
                                       3467



               All Paths/Locations                              Unified Title                      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              COA Policy 74758034.pdf                                  52951       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              COA Policy 77422032.pdf                                  52926       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              COA Policy FP200974 (2).pdf                              52949       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              COA Policy FP200974.pdf                                  52991       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              COA Policy FP201158.pdf                                  52930       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              COA Policy FP205723.pdf                                  52948       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              COA Policy FP206266.pdf                                  52989       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              COA Policy FP206275.pdf                                  52951       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              COA Policy FP207071.pdf                                  52987       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              COA Policy FP207808.pdf                                  52960       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              COA Policy FP210013.pdf                                  52983       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              COA Policy FP210674.pdf                                  52959       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              COA Policy FP216554.pdf                                  52928       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              COA Policy FP220022.pdf                                  53010       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              COA Policy FP220028.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              COA Policy FP220219.pdf                                  52981       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              COA Policy FP220714.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              COA Policy FP244114.pdf                                  52993       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Security TItle Corporate Resolution 11.2021 si.pdf      937256       4/1/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Settlement Agreement and Release.pdf                    681217     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Social Security Card.pdf                                 32288     11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Stipulation.pdf                                         118267     12/10/2021 12:13
                                              Transamerica Correspondence
Saiph consulting|\Audit Materials Received-   03162023_Rosanne Darby Policy 6601209327
SuttonPark\Closing Binders\73136              lapse notice.pdf                                      1040804        3/28/2023 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              Transamerica lapse notice dated 12162022.pdf            526863      12/29/2022 8:28



                                                             1738
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1740 of
                                       3467



               All Paths/Locations                              Unified Title                 File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-   Transamerica Policy 6601209327 Rosanne Darby
SuttonPark\Closing Binders\73136              Policy Summary 04132023.pdf                        125192        4/13/2023 9:09
Saiph consulting|\Audit Materials Received-   Transamerica Policy 6601209327 Roseanne
SuttonPark\Closing Binders\73136              Darby Lapse Notice.pdf                             811936        4/3/2023 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              UCC Filings.pdf                                    453488      12/30/2021 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73136              UCC Search.pdf                                     964490      11/23/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73145              73145 Docs 11-30-2021.pdf                        7323736       11/30/2021 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73145              73145 Robinson, Jay.tv5                             10014       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73145              Acknowledgment.pdf                                 353967       12/1/2021 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73145              Annuity Contract.pdf                             1076447        12/1/2021 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73145              Application.pdf                                     36833       12/1/2021 14:33
Saiph consulting|\Audit Materials Received-   Assignment from City of West Haven to
SuttonPark\Closing Binders\73145              SuttonPark.pdf                                     671805       12/2/2021 10:03
Saiph consulting|\Audit Materials Received-   Assignment from Income Stream to West Haven
SuttonPark\Closing Binders\73145              Fire Department.pdf                                 57097       12/2/2021 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73145              Assignment from StratCap to Income Stream.pdf       61327       12/2/2021 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73145              Authorization.pdf                                   16844       12/1/2021 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73145              Bankruptcy Search.pdf                                 7822      12/1/2021 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73145              Credit Report Equifax Only.pdf                      61648       12/1/2021 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73145              Drivers License.pdf                                274673       12/1/2021 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73145              Marital Status and Spousal Consent.pdf              18974       12/1/2021 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73145              Purchase Agreement.pdf                             214731       12/1/2021 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73145              Redirection Confirmation New 73145.pdf             408520       2/10/2023 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73145              Release and Hold Harmless Agreement.pdf          3653300        12/1/2021 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73145              Request For Acknowledgment.pdf                     128788       12/1/2021 14:33
Saiph consulting|\Audit Materials Received-   Request for Change of Owner Payee and
SuttonPark\Closing Binders\73145              Beneficiary.pdf                                     35963       12/1/2021 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73145              Searches.pdf                                       115547       12/1/2021 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73145              SSN Verification Jay Michael Robinson.pdf          244724       12/2/2021 10:00




                                                                1739
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1741 of
                                       3467



               All Paths/Locations                                 Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73145              STA Servicing Agreement.pdf                      514699      1/31/2022 11:49
Saiph consulting|\Audit Materials Received-   Transaction Summary and Contact Information
SuttonPark\Closing Binders\73145              Sheets.pdf                                        36375      12/1/2021 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73146              73146 Jones, Melvin.tv5                           11387      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73146              Annuity Contract.pdf                             320286      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73146              Application.pdf                                  101867      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73146              Assignment Income Stream to West Haven.pdf        18764      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73146              Assignment StratCap to Income Stream.pdf          20271      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73146              Authorization to Release.pdf                     284107      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73146              Closing Binder.pdf                             4135894      12/11/2014 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73146              Closing Book - Melvin Jones.pdf                4135894      12/11/2014 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73146              Court Order.pdf                                  307402      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73146              Credit Report.pdf                                 45319      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73146              Disclosure - MA.pdf                              123733      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73146              Purchase Agreement.pdf                           733807      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73146              Qualified Assignment.pdf                         270481      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73146              Request for Change of Beneficiary.pdf            286865      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73146              Searches.pdf                                     185492      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73146              Seller Identification.pdf                        241827      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73146              Settlement Agreement.pdf                         311993      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73146              Stip.pdf                                         398418      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              73153 Guffey, Jacob.tv5                           10691      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Agreement between SAF and Red Beads.pdf        1556372       2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Allied Agreement for VOS.pdf                     130582      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Annuity Contract.pdf                             288598     10/26/2016 17:34




                                                              1740
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1742 of
                                       3467



               All Paths/Locations                                   Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Application.pdf                                      727333      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Assignment NEAA to West Haven.pdf                    288625      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Assignment Red Beads to NEAA.pdf                     213968      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\73153              Information.pdf                                      767617      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              CB F1 Jacob Guffey - 601145 Allingtown.pdf        22524524         5/4/2020 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Closing Binder.pdf                                22524524         5/4/2020 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Collateral Assignee.pdf                               12222      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Court Order.pdf                                      177238      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Credit Report.pdf                                     51164      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Direction of Payments to City of West Haven.pdf      568291      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Disclosure - AL.pdf                                  516463      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Disclosure - TX.pdf                                  496851      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Disclosure Affidavit.pdf                             204350      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Drivers License.pdf                                2477634       2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Life Affidavit.pdf                                   148468      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Life Insurance.pdf                                 4166934       2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Medical Questionnaire.pdf                          1912939       2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Premium Payment.pdf                                  300456      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Purchase Agreement.pdf                             3960432       2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Qualified Assignment.pdf                             160759     10/26/2016 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Searches.pdf                                         588486      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Seller Affidavit.pdf                                 740656      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Servicing Agreement 2022.pdf                       2658913       3/24/2022 16:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Settlement Agreement.pdf                             662523     10/26/2016 17:34




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                                       3467



               All Paths/Locations                                  Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Social Security Card.pdf                      75810      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73153              Stip.pdf                                     942375      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              73154 Guffey, Jacob.tv5                       10239      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Agreement between SAF and Red Beads.pdf    1556372       2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Allied Agreement for VOS.pdf                 130582      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Annuity Contract.pdf                         288598     10/26/2016 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Application.pdf                              727333      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Assignment NEAA to West Haven.pdf            303543      2/21/2022 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Assignment Red Beads to NEAA.pdf             213968      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\73154              Information.pdf                              767617      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              CB F1 Jacob Guffey - 601145 WH3.pdf       22118098         5/4/2020 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Closing Binder.pdf                        22118098         5/4/2020 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Collateral Assignee.pdf                       12222      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Court Order.pdf                              177238      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Credit Report.pdf                             51164      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Direction of Payments to West Haven.pdf      584500      2/21/2022 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Disclosure - AL.pdf                          516463      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Disclosure - TX.pdf                          496851      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Disclosure Affidavit.pdf                     204350      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Drivers License.pdf                        2477634       2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Life Affidavit.pdf                           148468      2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Life Insurance.pdf                         4166934       2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Medical Questionnaire.pdf                  1912939       2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Premium Payment.pdf                          300456      2/21/2022 14:16




                                                              1742
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                                       3467



               All Paths/Locations                                   Unified Title           File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Purchase Agreement.pdf                          3960432        2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Qualified Assignment.pdf                          160759      10/26/2016 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Searches.pdf                                      588486       2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Seller Affidavit.pdf                              740656       2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Servicing Agreement 2022.pdf                      690220       3/24/2022 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Settlement Agreement.pdf                          662523      10/26/2016 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Social Security Card.pdf                           75810       2/21/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73154              Stip.pdf                                          942375       2/21/2022 14:16
                                              01-07-19 Jason Kowalsky - AV SGQ000041240 GA
Saiph consulting|\Audit Materials Received-   600983 - Buyer West Haven Fire Department -
SuttonPark\Closing Binders\73155              Final Closing.pdf                               6945158         1/7/2019 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73155              73155 Kowalsky, Jason.tv5                            9970      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73155              Annuity Contract.pdf                              605704       2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73155              Application.pdf                                   208503       2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73155              Assignment JGW to NEAA.pdf                        192830       2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73155              Assignment NEAA to West Haven.pdf                 422972       2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73155              Closing Binder.pdf                              6945158         1/7/2019 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73155              Court Order.pdf                                   577568       2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73155              Credit Report.pdf                                  14246       2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73155              Direction of Payments to West Haven.pdf           122377       2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73155              Disclosure - FL.pdf                                96638       2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73155              Purchase Agreement.pdf                            249393       2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73155              Request for Change of Beneficiary.pdf              93572       2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73155              Searches.pdf                                      574061       2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73155              Seller Identification.pdf                         511451       2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73155              Servicing Agreement 2022.pdf                   24689439        3/24/2022 16:28



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                                       3467



               All Paths/Locations                                  Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73155              Settlement Agreement.pdf                     622585      2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\73155              Stipulation.pdf                              385258      2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              74208 Campos, Rmiro.tv5                       10259      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Acknowledgment of Collateral.pdf              48825     12/29/2021 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Acknowledgment.pdf                            52558     12/29/2021 14:06
Saiph consulting|\Audit Materials Received-   Amended Prior Court Order JGW September
SuttonPark\Closing Binders\74208              2007.pdf                                     603022     11/30/2021 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Assignment.pdf                                46692     12/29/2021 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Authorization to Release.pdf                 549359     11/30/2021 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Bankruptcy Search.pdf                         64055     11/30/2021 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Benefits Letter.pdf                           45549     11/30/2021 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Berwyn Search.pdf                             63265     11/30/2021 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Blank Collateral Assignment Request.pdf      310059     12/29/2021 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Court Order.pdf                            5938404       12/6/2021 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Credit Report.pdf                            624806     11/30/2021 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Declaration.pdf                              144279     11/30/2021 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Disclosure - CT.pdf                        1078222      11/30/2021 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Disclosure - NC.pdf                        1333496      11/30/2021 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Disclosure - NY.pdf                           49893     11/30/2021 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Docusign Certificate 63F.pdf                 173558      10/21/2021 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Docusign Certificate C15.pdf                  20483     11/30/2021 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Docusign Certificate FDA.pdf                 132150      12/3/2021 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Drivers License.pdf                          544551     11/30/2021 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Fasano Report.pdf                            104379     11/30/2021 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Lien Search.pdf                               59653     11/30/2021 16:20




                                                                1744
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                                       3467



               All Paths/Locations                               Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Life insurance policy.pdf                       2477175        1/3/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Medical Questionnaire.pdf                         228436      12/3/2021 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Nasp Search.pdf                                    95691     11/30/2021 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Order of Discontinuance Sempra.pdf                 85614     11/30/2021 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Order Withdrawing JLC Capital.pdf                  15533     11/30/2021 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Pleadings.pdf                                  16609594      11/30/2021 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Premium Payment.pdf                               153978     12/29/2021 14:15
Saiph consulting|\Audit Materials Received-   Prior Court Order Greenwood Funding February
SuttonPark\Closing Binders\74208              2017.pdf                                          552393     11/30/2021 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Prior Court Order JGW January 2007.pdf            891240     11/30/2021 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Prior Court Orderr JGW December 2008.pdf          734383     11/30/2021 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Proof of policy Inforce and paid.pdf              101092     12/29/2021 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Purchase Agreement updated.pdf                  8253677      11/30/2021 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Qualified Assignment.pdf                          164345     11/30/2021 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Ramiro Campos Closing Binder.pdf               31185091      11/29/2021 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Redirection Reconfig Letter up04-07-2022.pdf    7222890        4/6/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Same Name Affidavit.pdf                           173086     11/30/2021 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Settlement Agreement and Release.pdf              497585     11/30/2021 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Signed Life Insurance Premium Ack.pdf             205113     12/27/2021 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Signed Request for Collateral.pdf                 318632     12/29/2021 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              Social Security Card.pdf                          580783     11/30/2021 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74208              UCC Search.pdf                                     66846     11/30/2021 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              74228 Merrill, Barbara.tv5                         10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-   Amendment to Purchase Agreement - correct
SuttonPark\Closing Binders\74228              payment.pdf                                       164849      10/9/2024 19:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              Application.pdf                                    99749      12/2/2021 14:26




                                                              1745
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1747 of
                                       3467



               All Paths/Locations                                Unified Title                File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              Assignment.pdf                                      148722       1/27/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              Benefits Letter 6004.pdf                             91397        1/20/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              Cashed Nov and Dec - Proof of Payee change.pdf       67151       10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              certificate 8d5b.pdf                                221523       10/9/2024 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              Change forms.pdf                                    753787       10/9/2024 21:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              Confirmation of bene change email.pdf               502315       4/21/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              image001.png                                         68467
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              image002.png                                            915
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              image003.png                                            645
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              image006.png                                           4751
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              image007.png                                         19224
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              image008.png                                        183752
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              Confirmation.pdf                                     42117      11/30/2021 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              Credit Report.pdf                                    29939       12/1/2021 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              DL.pdf                                            1020423        12/2/2021 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              Image to confirmation of bene change email.pdf       80552       4/21/2022 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              Notarized Doc.pdf                                 9220068       10/19/2021 22:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              Purchase Agreement.pdf                              474494       12/2/2021 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              Searches.pdf                                           9805      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              SSN Verification.pdf                                204468       12/10/2021 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              Submission Docs.pdf                              13175499        12/2/2021 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              UCC.pdf                                             184725       10/9/2024 19:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74228              W9.pdf                                            7998792        12/2/2021 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              74243 Constantino, Enrique.tv5                       10025       10/9/2024 17:32




                                                             1746
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1748 of
                                       3467



               All Paths/Locations                                 Unified Title                File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              Annuity Contract.pdf                                 211432       8/25/2021 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              Application EC.pdf                                   113672       12/3/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              CA Delcaration .pdf                                  161582       12/3/2021 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              Closing Binder.pdf                                12135131       12/14/2021 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              Closing Statement.pdf                                 94513      12/14/2021 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              Court Order.pdf                                      269526       12/9/2021 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              Credit Report.pdf                                    127760       12/9/2021 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              Declaration.pdf                                       96051       12/3/2021 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              Disclosure Statement.pdf                              95003       8/24/2021 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              DocuSign Cert 2055.pdf                               121993       12/9/2021 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              DocuSign Cert 9808.pdf                               120544       12/9/2021 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              Docusign Cert B177.pdf                               122010       12/9/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              DocuSign Cert CBAE.pdf                               194184       10/9/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              Executed Assignment Agreement.pdf                    111043       12/9/2021 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              ILIC-SPSS Redirection Reconfiguration 74243.pdf      113807       6/27/2023 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              Pleadings.pdf                                      2381788        12/3/2021 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              Proof of SSN.pdf                                   1225177        12/3/2021 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              Purchase Agreement EC.pdf                            293117      12/14/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              Qualified Assignment.pdf                             146464       8/25/2021 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              Redirection Confirmation New 74243.pdf               509794         7/5/2023 7:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              Searches.pdf                                            8364      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              Seller ID.pdf                                        475933       8/24/2021 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              Settlement Agreement Release.pdf                     214703       12/9/2021 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              Signed Notarized Doc.pdf                           1044382        12/9/2021 12:22




                                                              1747
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                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              Stipulation.pdf                         873301     12/15/2021 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              W-2.pdf                                 912841      8/24/2021 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74243              ZIP Code USPS.pdf                        76807      12/3/2021 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74251              74251 King, Gayle.tv5                    10258      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74251              Application.pdf                         282436      10/9/2024 20:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74251              Assigned executed.pdf                 1326365       10/9/2024 21:52
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\74251              Information.pdf                         765879      12/6/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74251              Benefits Letter.pdf                      27067      12/6/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74251              Closing Binder.pdf                    6484545       12/3/2021 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74251              Court Order.pdf                         210640      10/9/2024 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74251              Credit Report.pdf                       200946      12/6/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74251              Disclosure - NE.pdf                     300982      12/6/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74251              Disclosure MT.pdf                       275434      10/9/2024 20:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74251              DocuSign Cert C262.pdf                   94418      10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74251              Drivers License.pdf                      40292      12/6/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74251              E Williams SSC.pdf                      453216       12/9/2021 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74251              Fasano Report.pdf                       103058      12/6/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74251              Gayle King Partial SSC.pdf              730856       12/9/2021 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74251              IPA Waiver.pdf                          257809      10/9/2024 20:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74251              Medical Questionnaire.pdf             1988019       12/6/2021 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74251              PI Docket.pdf                            92543      12/6/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74251              Pleadings EW.pdf                      1716003       12/22/2021 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74251              Purchase Agreement.pdf                1430027       10/9/2024 21:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74251              Searches.pdf                            145348      12/6/2021 12:48




                                                                1748
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                                       3467



               All Paths/Locations                                   Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74251              Settlement Statment .pdf                     265680      12/6/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74251              Stipulation.pdf                              512264       12/9/2021 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74251              ZIP Code USPS.pdf                             76756      12/6/2021 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74253              74253 Stuckey, Corey.tv5                      10175      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74253              Application.pdf                              771876      11/2/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74253              Benefits Letter.pdf                          422847      12/8/2021 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74253              Closing Binder.pdf                        15229209      12/15/2021 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74253              Court Order.pdf                              150780     12/23/2021 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74253              Credit Report.pdf                             93936     12/13/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74253              Disclosure Affidavit.pdf                     210244      11/2/2021 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74253              Disclosure Delivery.pdf                      452080     12/15/2021 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74253              Disclosure VA.pdf                            602121      11/2/2021 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74253              Infants Compromise Order.pdf               6794779       10/9/2024 22:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74253              Order from Settling Court Approving.pdf       85398       8/9/2021 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74253              Pleadings.pdf                              1510323      12/16/2021 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74253              Purchase Agreement.pdf                     2980398      12/16/2021 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74253              Searches.pdf                                 441948     12/16/2021 20:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74253              Seller Affidavit.pdf                         512632      11/2/2021 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74253              Seller Identification.pdf                    405028       6/7/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74253              Social Security Card.pdf                     117319      8/17/2021 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74253              Stip.pdf                                     505415     12/27/2021 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74253              Stipulation.pdf                            1094494       1/11/2022 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              74257 Draper, Kenneth.tv5                     10123      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              Affidavit.pdf                                 89586     11/15/2021 13:02




                                                                1749
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1751 of
                                       3467



               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              Annuity Contract - Partial.pdf             195428      1/11/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              Application.pdf                            209524     11/15/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              Assignment.pdf                              41442      1/10/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              Closing Binder.pdf                       5623624        1/3/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              Court Order.pdf                            562692      1/24/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              Credit Report.pdf                          112138       1/3/2022 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              Disclosure Affidavit.pdf                    61842     11/15/2021 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              Disclosure AZ.pdf                           88271     11/15/2021 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              DocuSign Cert -7D7D.pdf                    305178      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              Driver License.pdf                         327783      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              Order Terminating Conservatorship.pdf      118946       1/3/2022 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              Page from SA - payment stream.pdf          108500      1/11/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              Payee Declaration.pdf                      120824     11/15/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              Petition for Appt of Conservator.pdf       833531       1/3/2022 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              Pleadings.pdf                            3622269        1/3/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              KD2 NOH & COS conf copy.pdf                135435     12/18/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              KD2 AFACAOTSS conf copy.pdf              1291274      11/10/2021 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              Draper2 EXH A-F.pdf                      1063509      12/18/2021 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              Proof of Disc Delivery.pdf                 538095       1/3/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              Document Package_Draper.pdf                446340      11/4/2021 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              Proof of SSN - W2.pdf                      478023      5/17/2021 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              Purchase Agreement.pdf                     877020       1/3/2022 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              Searches.pdf                               445856       1/3/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74257              Stipulation.pdf                            163176      1/24/2022 16:13




                                                                1750
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1752 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74261              74261 Marenkovic, Diane.tv5              10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74261              Acknowledgment.pdf                      122298     12/15/2021 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74261              Authorization.pdf                        43985       7/22/2021 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74261              Court Order.pdf                         335618      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74261              Credit Report.pdf                       196312      12/6/2021 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74261              Disclosure Statement.pdf                 65222       7/22/2021 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74261              DocuSign Cert -DAE5.pdf                 301026      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74261              Driver License.pdf                       73145       7/22/2021 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74261              Marenkovic - Mini Assignment.pdf        504228      10/9/2024 20:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74261              Microbilt - SSN Verification.pdf        262142      12/6/2021 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74261              Pleadings.pdf                         2133076       12/6/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74261              Purchase Agreement.pdf                7545307       12/6/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74261              Request for Ack.pdf                     329033      12/7/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74261              Searches.pdf                            884667       12/3/2021 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74261              Signed Residence.pdf                     38698       7/23/2021 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74261              Signed W9.pdf                         1753487       10/9/2024 22:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74261              SSN Verification.pdf                    376266      11/29/2021 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74261              UCC Search.pdf                        5009238       10/9/2024 22:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74261              Win Letter.pdf                          204834       10/4/2021 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74300              74300 Olivares, Martha.tv5               10449      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74300              Affidavit in lieu of SA.pdf             145946       12/8/2021 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74300              Annuity Contract.pdf                    161991       12/8/2021 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74300              Application.pdf                         180819     11/15/2021 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74300              Court Order.pdf                       2565318       1/19/2022 13:18




                                                               1751
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1753 of
                                       3467



               All Paths/Locations                                 Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74300              Credit Report.pdf                            31357     11/18/2021 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74300              Disclosure CA.pdf                            96789       12/8/2021 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74300              Disclosure NJ.pdf                            81101       12/8/2021 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74300              Docusign Cert D141.pdf                      322682      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74300              Identification Card.pdf                   2223286        12/8/2021 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74300              Pleadings.pdf                             5293117        12/8/2021 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74300              Proof of Disc Delivery.pdf                  753527       12/8/2021 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74300              Purchase Agreement.pdf                    2068572        12/8/2021 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74300              Searches - Martha Sanchez Olivares.pdf      382545      12/6/2021 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74300              Searches.pdf                                399458      12/6/2021 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74300              Settlement Agreement.pdf                    319593       12/8/2021 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74300              Signed APA - Olivares.pdf                   180736      1/20/2022 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74300              SSC.pdf                                   1805975        12/8/2021 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              74302 Freeman, David.tv5                     10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              Application.pdf                             144617     12/15/2021 19:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              Bankruptcy Schedule.pdf                     411745     12/15/2021 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              Benefits Letter.pdf                         263747     12/15/2021 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              Court Order.pdf                             950124      12/9/2021 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              Credit Report.pdf                           227728     12/15/2021 19:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              Disclosure DE.pdf                           153481     12/15/2021 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              Disclosure OR.pdf                           170527     12/15/2021 19:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              Discosure NY.pdf                            155640     12/15/2021 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              Driver License.pdf                          118213     12/15/2021 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              Fasano Report.pdf                            80999     12/15/2021 19:06




                                                              1752
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1754 of
                                       3467



               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              HIPAA.pdf                                       3262075      12/15/2021 19:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              PI Docket.pdf                                      79248     12/15/2021 19:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              Pleadings.pdf                                   3888562      12/15/2021 18:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              Pre-Closing Book - Rev. 12.14.21.pdf           11143067      12/15/2021 19:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              Purchase Agreement.pdf                            305056     12/15/2021 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              Qualified Assignment.pdf                        1061849      12/15/2021 19:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              Redirection Reconfiguration up07-11-2022.pdf    2180777        7/8/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              Redirection Assignee List NYLIC.pdf               222753       7/7/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              COA Policy FP200974.pdf                            52947       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              COA Policy 74758034.pdf                            52951       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              COA Policy 77422032.pdf                            52926       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              COA Policy FP200974 (2).pdf                        52949       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              COA Policy FP200974.pdf                            52991       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              COA Policy FP201158.pdf                            52930       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              COA Policy FP205723.pdf                            52948       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              COA Policy FP206266.pdf                            52989       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              COA Policy FP206275.pdf                            52951       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              COA Policy FP207071.pdf                            52987       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              COA Policy FP207808.pdf                            52960       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              COA Policy FP210013.pdf                            52983       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              COA Policy FP210674.pdf                            52959       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              COA Policy FP216554.pdf                            52928       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              COA Policy FP220022.pdf                            53010       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              COA Policy FP220028.pdf                            52980       4/8/2022 13:24




                                                              1753
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1755 of
                                       3467



               All Paths/Locations                                 Unified Title                   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              COA Policy FP220219.pdf                                  52981       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              COA Policy FP220714.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              COA Policy FP244114.pdf                                  52993       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              Security TItle Corporate Resolution 11.2021 si.pdf      937256       4/1/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              Searches.pdf                                            149676     12/15/2021 19:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              SSC.pdf                                                 116777     12/15/2021 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74302              Stipulation.pdf                                         486437     12/15/2021 18:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              74305 Kendall, Benjamin.tv5                              10022      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Ack of Collateral Assignment.pdf                         56945     12/15/2021 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Acknowledgment.pdf                                       36303     12/13/2021 17:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Affidavit.pdf                                           339503      12/8/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Amended Court Order.pdf                               1169064       12/8/2021 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Application.pdf                                         664241      12/8/2021 18:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Assignment.pdf                                          168708      12/8/2021 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Authorization to Release.pdf                             68488      12/8/2021 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Collateral Assignment- Acubens.pdf                      654597      12/7/2021 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Collateral Assignment- Blank.pdf                        564205      12/10/2021 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Confirmation - No CS due.pdf                            192873      12/8/2021 18:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Designation of Counsel.pdf                               91769      12/10/2021 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Designation of Previous Addresses.pdf                    80425      12/8/2021 18:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Disclosure Statement.pdf                                 69397      12/8/2021 18:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Divorce Decree.pdf                                       65737      12/8/2021 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Driver License.pdf                                      116928      12/8/2021 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Funding Package.pdf                                   9148425       12/7/2021 10:00




                                                                1754
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1756 of
                                       3467



               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              HIPAA.pdf                                         379072      12/8/2021 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Joint Parenting Plan Agreement and Order.pdf      538373      12/8/2021 18:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Life Insurance App Packet.pdf                   7148398        12/7/2021 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Life Insurance Policy.pdf                       2292861      12/16/2021 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Marital Settlement Agreement.pdf                  617963      12/8/2021 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Motion to Amend Order.pdf                       1274834      11/24/2021 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Pleadings.pdf                                   7152655      12/13/2021 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Proof of Premium Payment.pdf                      620006     12/15/2021 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Purchase Agreement.pdf                            811411      12/8/2021 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Searches - Updated.pdf                             40665     12/18/2021 11:18
Saiph consulting|\Audit Materials Received-   Security Mutual policy 001358587 Benjamin
SuttonPark\Closing Binders\74305              Kendall Premium Confirmation 11132023.pdf         791199     11/13/2023 10:47
Saiph consulting|\Audit Materials Received-   Security Mutual policy 001358587 Benjamin
SuttonPark\Closing Binders\74305              Kendall Premium Due Nov 2023.pdf                  169051      10/31/2023 8:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              Updated - Credit Report.pdf                        53024     12/10/2021 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74305              W9.pdf                                            381706      12/8/2021 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74339              74339 Willette, Charles.tv5                        10022      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74339              Acknowledgment.pdf                                126158      1/19/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74339              Annuity Contract.pdf                            1385579      12/16/2021 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74339              Application.pdf                                 1620934      12/15/2021 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74339              Assignment.pdf                                    885540      10/9/2024 21:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74339              Credit Report.pdf                                 278743     12/15/2021 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74339              Disclosure DE.pdf                                  71280     12/15/2021 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74339              Disclosure MN.pdf                                  72313     12/15/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74339              Disclosure NY.pdf                                  99987     12/15/2021 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74339              Disclosure WA.pdf                                 113037     12/15/2021 16:19




                                                              1755
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1757 of
                                       3467



               All Paths/Locations                                 Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74339              Driver License.pdf                         76161     12/15/2021 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74339              Fasano Report.pdf                         106041     12/15/2021 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74339              HIPAA.pdf                                 190404     12/15/2021 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74339              LE Analysis.pdf                           192906     12/15/2021 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74339              Medical Questionnaire.pdf                 380882     12/15/2021 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74339              Pleadings.pdf                           3195909      12/15/2021 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74339              Pre-Closing Book - Rev. 12.13.21.pdf    7073247      12/14/2021 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74339              Proof of Disc Delivery.pdf                876569     12/15/2021 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74339              Settlement Agreement Affidavit.pdf         62513     12/15/2021 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74339              SSN Verification.pdf                      530439     12/20/2021 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74339              Statement in Support.pdf                  124515     12/15/2021 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              74351 Getchel, Jesse.tv5                   10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              Affidavit.pdf                             250663     12/13/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              Affirmation of Service.pdf              1127434      12/13/2021 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              Application.pdf                           109563     12/13/2021 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              Backup Search.pdf                          53830     12/20/2021 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              Benefit Letter.pdf                         58608     12/13/2021 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              Court Order.pdf                           643356     12/15/2021 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              Disclosure.pdf                            111304     12/13/2021 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              DocuSign Cert 3B4.pdf                     129148      10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              DocuSign Cert 80C9.pdf                    189120      10/9/2024 19:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              DocuSign Cert E5F0.pdf                    193282      10/9/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              Driver License.pdf                      1592910      12/17/2021 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              Fasano Report.pdf                          97964      8/25/2021 14:01




                                                                1756
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                                       3467



               All Paths/Locations                                Unified Title        File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              IPA.pdf                                      61999      12/13/2021 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              List of Dependents.pdf                       44399      12/13/2021 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              Medical Quesstionnaire.pdf                  762327      12/17/2021 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              NOH.pdf                                     306037       9/22/2021 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              Order Approving Compromise.pdf              756781      12/13/2021 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              Pleadings.pdf                             1725932        9/22/2021 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              Policy Specifications.pdf                   304078      12/13/2021 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              Qualified Assignment.pdf                    329914      12/13/2021 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              Redirection Confirmation New 74351.pdf       57650        5/22/2023 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              Searches.pdf                                   5948      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              Settlement agreement request.pdf             46999       10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              SS card.pdf                               1955585       12/17/2021 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              Stipulation.pdf                             342889      12/13/2021 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              UCC.pdf                                      49879       10/9/2024 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              Updated Credit.pdf                           55218      12/10/2021 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              Updated purchase agreement.pdf              245145      12/13/2021 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74351              ZIP Code USPS.pdf                            79613      12/13/2021 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74365              74365 McQueen, Roy.tv5                       10013       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74365              Acknowledgment.pdf                           29622       5/11/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74365              Application.pdf                              40755      12/16/2021 21:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74365              Benefits Letter.pdf                         745831       10/9/2024 21:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74365              Court Order.pdf                             110519        1/3/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74365              Credit Report.pdf                            54910       12/1/2021 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74365              Disclosure.pdf                              114812      12/16/2021 21:12




                                                                1757
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1759 of
                                       3467



               All Paths/Locations                                  Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74365              DocuSign Certificate.pdf                     210908       10/9/2024 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74365              Drivers License.pdf                          356253      12/16/2021 20:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74365              Genworth email showing Roy as Payee.pdf      826092       5/11/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74365              Pleadings.pdf                              6199186       12/16/2021 21:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74365              Proof of Service.pdf                       1384581       12/29/2021 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74365              Purchase Agreement.pdf                       204826      12/16/2021 21:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74365              Searches.pdf                                    8171      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74365              Settlement Agreement Search Results.pdf      838212      12/16/2021 20:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74365              Social Security Card.pdf                     361034      12/30/2021 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74365              SS Verification.pdf                          464435         2/2/2021 7:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74365              UCC Search.pdf                                82020       10/9/2024 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74387              74387 Sparks, Joseph.tv5                        9987      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74387              Affidavit.pdf                                152996      12/16/2021 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74387              Aknowledgment.pdf                            343208       1/14/2022 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74387              Application.pdf                              158386      12/16/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74387              Assignment.pdf                               122698      12/20/2021 19:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74387              Bankruptcy Search.pdf                         55515      12/20/2021 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74387              Collateral File.pdf                        3729770       12/15/2021 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74387              Court Order.pdf                              145232       12/8/2021 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74387              Credit Report.pdf                             64271      12/20/2021 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74387              Divorce Decree - Amy Sparks.pdf              403943      12/16/2021 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74387              Divorce Decree - Angela Sparks.pdf           464566      12/16/2021 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74387              Driver License.pdf                           152561      12/16/2021 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74387              Filed Petition to Trinity.pdf              3656625        11/6/2023 14:36




                                                              1758
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1760 of
                                       3467



               All Paths/Locations                               Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-   Notice of Federal Tax Lien and Release - 03-19-
SuttonPark\Closing Binders\74387              2013.pdf                                              64874      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-   Notice of Federal Tax Lien and Release - 10-20-
SuttonPark\Closing Binders\74387              2010.pdf                                              37691      10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74387              Pleadings.pdf                                      7420335      12/20/2021 23:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74387              Purchase Agreement.pdf                               722204     12/16/2021 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74387              Searches.pdf                                         282129     12/20/2021 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74387              SSN Verification.pdf                                  95316      1/17/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74387              Win Letter.pdf                                        51961     12/16/2021 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74408              74408 Newingham, Nicole.tv5                           10023      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74408              9C74.pdf                                              72493     12/16/2021 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74408              Application.pdf                                      199202     12/16/2021 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74408              Assignment Agreement Executed.pdf                     20588     12/16/2021 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74408              Authorization.pdf                                     66097     12/16/2021 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74408              Benefits Letter.pdf                                1645824        11/9/2021 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74408              C5B7.pdf                                              71936     12/16/2021 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74408              Certification.pdf                                     92201     12/16/2021 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74408              Closing Book - Nicole Newingham.pdf               15916861      11/29/2021 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74408              COB Request.pdf                                       96130     12/16/2021 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74408              Court Order.pdf                                      223355       1/7/2022 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74408              Credit Report.pdf                                    158811     12/16/2021 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74408              Disclosure FL.pdf                                     46317     12/16/2021 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74408              Disclosure IL.pdf                                     47145     12/16/2021 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74408              Disclosure NE.pdf                                     47213     12/16/2021 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74408              Driver License.pdf                                   640569     12/16/2021 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74408              NASP.pdf                                              61852     12/16/2021 11:50




                                                               1759
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1761 of
                                       3467



               All Paths/Locations                                 Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74408              OAS.pdf                                               383115     12/16/2021 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74408              Pleading.pdf                                       11272873      12/16/2021 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74408              Prior Orders.pdf                                    4454456      12/16/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74408              Searches.pdf                                           58345     12/16/2021 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74408              SSC.pdf                                               435550     12/16/2021 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74408              Stipulation.pdf                                       270887       1/10/2022 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74408              UCC Search.pdf                                         52022     12/16/2021 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74409              74409 Sattam, Jason.tv5                                10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74409              Acknowledgment.pdf                                    207139     12/28/2021 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74409              Affidavit UPDATED.pdf                                 624041      11/22/2021 8:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74409              Court Order.pdf                                     1539220      12/17/2021 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74409              Credit Report.pdf                                     219037     12/17/2021 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74409              DocuSign Cert for Signed Auth for Deductions.pdf      307559      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74409              Driver License.pdf                                    354739     11/11/2021 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74409              FCRA.pdf                                               67751      10/26/2021 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74409              IPA Letter.pdf                                        239285     12/17/2021 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74409              IPA.pdf                                                28993      10/26/2021 7:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74409              Mini Assignment.pdf                                   508538      10/9/2024 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74409              Pleading.pdf                                        9898867      11/10/2021 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74409              Purchase Agreement.pdf                              7461909      12/16/2021 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74409              Searches.pdf                                          237711      10/9/2024 20:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74409              Signed Residence.pdf                                   45704      10/26/2021 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74409              Signed W9.pdf                                         119520      10/26/2021 7:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74409              SSN Verification.pdf                                  230787      11/13/2019 9:25




                                                                1760
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1762 of
                                       3467



               All Paths/Locations                                Unified Title        File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74409              UCC Search.pdf                              913112      11/11/2021 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74409              Win Letter.pdf                              189074       11/16/2021 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74417              74417 Baltrip, Ravella.tv5                     9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74417              Annuity Contract.pdf                      2342380        1/24/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74417              Application.pdf                           1869726        1/24/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74417              Assignment.pdf                               68079       1/24/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74417              Authorization Letter.pdf                    645876       1/24/2022 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74417              BK Search.pdf                                52396       1/24/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74417              Closing Book Baltrip.pdf                  4365055        1/21/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74417              Court Order.pdf                           7438100        1/24/2022 12:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74417              Credit Report.pdf                            68674       1/24/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74417              Disclosure TX.pdf                           613881       1/24/2022 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74417              DL and SSC.pdf                            1650635        1/24/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74417              Payees Request to Conceal ID.pdf            549002       1/24/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74417              Pleadings.pdf                             2184982        1/24/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74417              Purchase Agreement.pdf                    3655006        1/24/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74417              Searches.pdf                                266271       1/24/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74417              Stipulation.pdf                           2140257        1/24/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74417              Transaction Summary.pdf                      59098       1/24/2022 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              2C55.pdf                                    198506       10/9/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              74434 Jackson, Al.tv5                        10013       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              Ack Letter.pdf                               95385      12/22/2021 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              Acknowledgment of Service Executed.pdf      248254       10/9/2024 20:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              Affidavit.pdf                               173546      12/17/2021 10:47




                                                                1761
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                                       3467



               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              Annuity Contract.pdf                              721263     12/17/2021 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              Application.pdf                                   227680     12/17/2021 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              Assignment Agreement Executed.pdf                  21168     12/17/2021 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              C891.pdf                                           75528     12/17/2021 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              Closing Book - Al Jackson.pdf                   8837472      12/16/2021 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              COB Request.pdf                                   164529     12/17/2021 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              Court Order.pdf                                   420175     12/16/2021 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              Credit Report.pdf                                 150849     12/17/2021 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              Disclosure - Multi-State.pdf                      150082     12/17/2021 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              Disclosure CT.pdf                                 105881     12/17/2021 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              Disclosure GA.pdf                                 139433     12/17/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              Driver License and SSC.pdf                      1193744      12/17/2021 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              Fasano Report.pdf                                 183433     12/17/2021 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              HIPAA.pdf                                         175512     12/17/2021 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              Medical Questionnaire.pdf                         183242     12/17/2021 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              NASP.pdf                                           62076     12/17/2021 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              Pleadings.pdf                                   3722646      12/17/2021 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              POS - AI and AO.pdf                               296056     12/20/2021 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              Prior Orders.pdf                                  746236     12/17/2021 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              Purchase Agreement.pdf                            769058     12/17/2021 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              Redirection Reconfig Letter up04-07-2022.pdf    7222890        4/6/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              Searches.pdf                                       53115     12/17/2021 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              Settlement Agreement.pdf                          951655     12/17/2021 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74434              UCC Search.pdf                                     43904     12/17/2021 10:58




                                                              1762
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                                       3467



               All Paths/Locations                                  Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              74435 Alston, Brian.tv5                              10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Acknowledgment - Amended Order.pdf                   77784      3/14/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Acknowledgment.pdf                                   35272       3/1/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              additional premium payment proof.pdf                 81024       3/1/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Amended Court Order.pdf                           7549254       3/14/2022 15:22
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\74435              Information.pdf                                     226065     12/30/2021 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Benefits Letter.pdf                                  29100     12/30/2021 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Blank Collateral Assignment.pdf                  12758447       2/28/2022 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Closing Binder.pdf                                8886209      12/30/2021 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Confirmation of Collateral Assignee Change.pdf      754999      2/28/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Conversation with Carrier.pdf                       107758      2/14/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Court Order.pdf                                     498184      2/28/2022 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Declaration.pdf                                      42422     12/30/2021 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Deposit Voucher.pdf                                  72758       3/1/2022 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Disclosure - CO.pdf                                  52502     12/30/2021 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Disclosure - CT.pdf                                  52634     12/30/2021 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Disclosure - DE.pdf                                  55095     12/30/2021 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Disclosure - MA.pdf                                  46652     12/30/2021 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Disclosure - MI.pdf                                  53337     12/30/2021 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Disclosure - NC.pdf                                  55471     12/30/2021 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Docusign Cert K AC28.pdf                            181954     11/29/2021 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Docusign Cert Offer 0185.pdf                        175764      11/16/2021 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              DocuSign.pdf                                         66870     12/30/2021 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Drivers License.pdf                                 206812     12/30/2021 16:22




                                                             1763
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                                       3467



               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Fasano.pdf                                        101739     12/30/2021 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Letter regarding Collateral Assignee.pdf           62736      2/28/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Lien Search.pdf                                   358531      2/14/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Life Insurance policy.pdf                       1797634       2/23/2022 16:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Medical Questionnaire.pdf                       5479467      12/30/2021 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Pleadings.pdf                                  18669366       2/28/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Prior Court Orders.pdf                          1173209      12/30/2021 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Proof policy is inforce.pdf                       167575      2/28/2022 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Purchase Agreement.pdf                            653357     12/30/2021 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Request for Collateral Assignment Change.pdf    6185284       2/28/2022 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Settlement Agreement.pdf                          873016     12/30/2021 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Social Security Card.pdf                        2218177       2/14/2022 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Transaction Summary.pdf                            15289     12/30/2021 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              UCC Search.pdf                                    390127      2/14/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Updated Bankruptcy Search.pdf                      49324      2/23/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Updated Credit Report.pdf                          45513      2/23/2022 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74435              Updated Fasano.pdf                                127564      2/23/2022 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              2C36.pdf                                           78967     12/17/2021 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              74438 Jones, Krystal.tv5                           10260      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Ack Letter.pdf                                     87558       1/27/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Annuity Contract.pdf                              318067     12/17/2021 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Application.pdf                                   399138     12/17/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Authorization.pdf                               1196259      12/17/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Berwyn.pdf                                        165439     12/17/2021 12:35




                                                               1764
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                                       3467



               All Paths/Locations                                 Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              BinderForDealNumber50709.pdf                  10404625      12/15/2021 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Court's Courtesy of Notice of Hearing.pdf      1912355       11/9/2021 17:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              BK Search.pdf                                    205932     12/17/2021 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              CA Signed- Blank.pdf                             314674      1/24/2022 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              collateral assignment confirmation.pdf            51940       1/24/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Complete CA.PDF                                  319057      1/13/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Court Order.pdf                                  826860        1/5/2022 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Credit Report.pdf                                180170     12/17/2021 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Disclosure IL.pdf                                 96761     12/17/2021 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Disclosure TX.pdf                                103833     12/17/2021 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Driver License.pdf                             2195920      12/17/2021 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              FFA2.pdf                                          76001     12/17/2021 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Life Insurance Policy.pdf                      1808500        1/4/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Marriage Cert.pdf                                730089      1/11/2022 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Medical Questionnaire and HIPAA.pdf            4822175      10/11/2021 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              MR- Fasano Report.pdf                             97685     10/19/2021 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              NASP.pdf                                          47657     12/17/2021 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Pending premium payment.pdf                       89800      1/24/2022 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Pleadings.pdf                                  3085746      12/17/2021 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Proof of premium withdrawn from account.pdf      279162      1/24/2022 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Purchase Agreement.pdf                         2146770      12/17/2021 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Same Name Affidavit.pdf                          360150     12/17/2021 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Searches.pdf                                      49922     12/17/2021 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Signed - Updated Insurance Premium Ack.pdf       141105      10/9/2024 18:53




                                                              1765
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                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Signed Assignment.pdf                    35273      1/25/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              SSC.pdf                                 221401     12/17/2021 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Sworn Affidavit.pdf                   1836029      12/17/2021 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              UCC Search.pdf                           60570     12/17/2021 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74438              Updated Fasano Report.pdf               117981      1/17/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74450              74450 Edick, Zachary.tv5                 10016      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74450              Admin Fee Mail Proof.pdf                 83871      1/24/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74450              Affidavit In Lieu of SA.pdf           1026752      12/20/2021 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74450              Affidavit.pdf                         1543629      12/20/2021 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74450              Application.pdf                         607665     12/17/2021 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74450              Assignment.pdf                          205575      10/9/2024 19:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74450              Bankruptcy Search.pdf                   859535     12/20/2021 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74450              Benefits Letter.pdf                     101888      1/21/2022 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74450              Closing Binder.pdf                   43867122      12/20/2021 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74450              Court Order.pdf                       1640657       1/18/2022 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74450              Credit Report.pdf                        28918     12/17/2021 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74450              Disclosure AZ.pdf                     4069981      12/20/2021 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74450              Disclosure GA.pdf                     1228361      12/20/2021 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74450              Disclosure Nebraska.pdf               1021370      12/20/2021 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74450              Disclosure NY.pdf                       994089     12/20/2021 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74450              Disclosure.pdf                        1207094      12/20/2021 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74450              Identification Card.pdf                 900917      12/20/2021 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74450              PI Docket Research Results.pdf        2390948      10/19/2021 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74450              Pleadings.pdf                         9265451      12/20/2021 17:50




                                                               1766
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                                       3467



               All Paths/Locations                                 Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74450              POS.pdf                                           332021     12/16/2021 19:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74450              Purchase Agreement.pdf                          7110586      12/20/2021 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74450              Searches.pdf                                      283692     12/17/2021 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74450              Social Secuirty Card.pdf                          121198      1/21/2022 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74450              Stipulation.pdf                                   914475      1/21/2022 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              74454 Campofiori, Jared.tv5                        10240      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              Affidavit in Lieu of SA.pdf                       279957     12/21/2021 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              Affidavit.pdf                                     794529     12/21/2021 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              Application.pdf                                   582828      11/9/2021 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              Benefit Letter.pdf                              2028110      12/21/2021 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              Court Order.pdf                                 5600034       1/25/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              Credit Report.pdf                                  67151      11/9/2021 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              Disclosure NY.pdf                                 233533     12/21/2021 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              Driver License.pdf                              1262250      12/21/2021 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              Pleadings.pdf                                  11905085      12/21/2021 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              POS - Jared Campofiori.pdf                         77751     12/18/2021 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              Proof of Disc Delivery.pdf                        710349     12/21/2021 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              Proof of Social -Tax Return.pdf                   904317      10/9/2024 21:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              Purchase Agreement.pdf                          5435505      12/21/2021 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              Qualified Assignment.pdf                           91519       2/8/2021 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              Redirection Reconfiguration up07-11-2022.pdf    2180777        7/8/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              Redirection Assignee List NYLIC.pdf               222753       7/7/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              COA Policy FP200974.pdf                            52947       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              COA Policy 74758034.pdf                            52951       4/8/2022 13:25




                                                                1767
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1769 of
                                       3467



               All Paths/Locations                                Unified Title                    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              COA Policy 77422032.pdf                                  52926        4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              COA Policy FP200974 (2).pdf                              52949        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              COA Policy FP200974.pdf                                  52991        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              COA Policy FP201158.pdf                                  52930        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              COA Policy FP205723.pdf                                  52948        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              COA Policy FP206266.pdf                                  52989        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              COA Policy FP206275.pdf                                  52951        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              COA Policy FP207071.pdf                                  52987        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              COA Policy FP207808.pdf                                  52960        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              COA Policy FP210013.pdf                                  52983        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              COA Policy FP210674.pdf                                  52959        4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              COA Policy FP216554.pdf                                  52928        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              COA Policy FP220022.pdf                                  53010        4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              COA Policy FP220028.pdf                                  52980        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              COA Policy FP220219.pdf                                  52981        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              COA Policy FP220714.pdf                                  52980        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              COA Policy FP244114.pdf                                  52993        4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              Security TItle Corporate Resolution 11.2021 si.pdf      937256        4/1/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              Searches.pdf                                            375895      12/16/2021 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              Settlement Agreement.pdf                                268610        2/8/2021 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              SSN Verification.pdf                                    160269       6/29/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74454              Stipulation.pdf                                         688474       1/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              74455 Rocker, Jacob.tv5                                    9984      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              Acknowledgment.pdf                                       59068        1/7/2022 11:03




                                                                1768
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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              Affidavit.pdf                                     106335     12/20/2021 23:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              Amended Court Order.pdf                           158030       1/6/2022 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              Annuity Contract.pdf                              818817     12/20/2021 23:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              Application.pdf                                   693148     12/20/2021 23:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              Assignment.pdf                                     34064     12/28/2021 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              Bankruptcy Search.pdf                              80793     12/21/2021 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              Benefits Letter.pdf                               184342     12/20/2021 23:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              BinderForDealNumber50718.pdf                    7161955      12/15/2021 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              Court Order.pdf                                 1304409       10/9/2024 21:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              Credit Report.pdf                                  78445     12/20/2021 23:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              Disclosure CT.pdf                                 840583     12/20/2021 23:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              Disclosure FL.pdf                                 960700     12/20/2021 23:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              Identification Card.pdf                           119851     12/20/2021 23:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              Lien Search.pdf                                    64452     12/20/2021 23:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              Minor Settlement.pdf                              137557     12/20/2021 23:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              NASP Search.pdf                                    76538     12/20/2021 23:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              Pleadings.pdf                                   1989218      12/28/2021 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              Purchase Agreement.pdf                          1204346      12/21/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              Redirection Confirmation New 74455.pdf             59282      4/22/2022 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              Redirection Reconfig Letter up04-07-2022.pdf    7222890        4/6/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              Request for Acknowledgment.pdf                     12526     12/28/2021 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              Settlement Agreement.pdf                          831733     12/20/2021 23:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              SSC.PDF                                           127874     12/17/2021 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74455              UCC Search.pdf                                    107909     12/20/2021 23:17




                                                              1769
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                                       3467



               All Paths/Locations                                Unified Title              File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74461              74461 Felipe, Gladys.tv5                           10446       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74461              Acknowledgment.pdf                                108087       1/10/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74461              Affidavit.pdf                                     367202      12/21/2021 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74461              Application.pdf                                   749508       12/23/2021 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74461              Assignment Agreement.pdf                          136007      12/23/2021 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74461              Benefits Letter.pdf                                25545       4/14/2017 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74461              Court order.pdf                                   182047      12/17/2021 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74461              Credit Report.pdf                                  67964      12/20/2021 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74461              Disclosure CT.pdf                                 389182      12/21/2021 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74461              Disclosure NJ.pdf                                 388766      12/21/2021 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74461              Disclosure NY.pdf                                 462027      12/21/2021 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74461              ID.pdf                                          1417508       12/23/2021 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74461              Identification Card.PDF                            81462       4/14/2017 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74461              IPA Letter to Gladys Felipe.pdf                    94096      12/23/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74461              Minors Order.pdf                                2115359        10/9/2024 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74461              Pleadings.pdf                                   4002857       12/21/2021 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74461              Proof of Residence.PDF                          1509667        10/9/2024 21:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74461              Purchase Agreement.pdf                          3292815       12/21/2021 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74461              Redirection Confirmation New 74461.pdf             57234       4/25/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74461              Redirection Reconfig Letter up04-07-2022.pdf    7222890         4/6/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74461              Searches.pdf                                       13868       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74461              Social Security Card.pdf                           69252       5/15/2017 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              74474 Jacobs, Bellina.tv5                            9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              Acknowledgment.pdf                                 47320       1/28/2022 15:30




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                                       3467



               All Paths/Locations                                 Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              Affidavit in Lieu of SA.pdf                        344101     12/22/2021 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              Application.pdf                                    287726     12/17/2021 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              Assignment.pdf                                     163540       1/4/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              Backup Contact for LC.pdf                          114713     12/27/2021 18:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              Bankruptcy Search.pdf                              328726      6/10/2021 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              Benefits Letter.pdf                                228472       6/8/2021 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              Berwyn Death Search 011323 Bellina Jacobs.pdf      149821      2/10/2023 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              BK Case Summary.pdf                                 79452     12/22/2021 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              BK Final Decree.pdf                                 17849       6/10/2021 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              BK Sch Dismissed.pdf                               353358      6/15/2021 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              BK Voluntary Petition.pdf                          145511       6/10/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              Closing Binder.pdf                              25831854      12/22/2021 17:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              Court Order.pdf                                     84514      10/9/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              Credit Report.pdf                                   63871     12/21/2021 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              Declaration.pdf                                    744325     12/22/2021 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              Disclosure FL.pdf                                  379527     12/22/2021 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              Disclosure KY.pdf                                  338410     12/22/2021 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              Disclosure NY.pdf                                  426493     12/22/2021 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              Driver License.pdf                               2186972        6/9/2021 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              Email regarding Judges signature.pdf               257182       1/3/2022 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              Fasano Report.pdf                                   99689      10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              HIPAA.pdf                                          822896     12/27/2021 18:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              Medical Affidavit.pdf                              216810     12/27/2021 18:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              Medical Questionnaire.pdf                        1486764      12/27/2021 18:41




                                                              1771
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                                       3467



               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              PI Docket - Search Results.pdf                  13711020      12/21/2021 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              Pleadings.pdf                                    5878053      12/22/2021 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              Purchase Agreement.pdf                           3805079      12/22/2021 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              Searches.pdf                                       274336        1/3/2022 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74474              Social Security Card.pdf                         2783484        6/9/2021 17:47
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Bellina Jacobs POLICY
SuttonPark\Closing Binders\74474              0000034842 02102023.pdf                            485188      2/14/2023 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74475              74475 Hammond, Michelle.tv5                         10616      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74475              Acknowledgment.pdf                                 533133       2/23/2022 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74475              Affidavit.pdf                                      127511     12/21/2021 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74475              Application.pdf                                    300074     12/21/2021 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74475              Assignment Broadscope to Redstone.pdf               67038     12/21/2021 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74475              Authorization.pdf                                   65843     12/21/2021 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              Application.pdf                                    186954      4/11/2022 14:32
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\78278              Information.pdf                                  1415604       4/11/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              Authorization to obtain death certificate.pdf      143241      4/11/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              Cancellation of hearing .pdf                       184421      4/11/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              Credit Report.pdf                                  739431      4/11/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              Disclosure - PA.pdf                                473163      4/11/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              Docusign certificates.pdf                          641462      4/11/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              Fasano.pdf                                         515725      4/11/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              Petition.pdf                                    16359387       4/11/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              Purchase Agreement.pdf                           2581595       10/9/2024 22:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              Qualified Assignment.pdf                           958985      4/11/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              Questionnaire.pdf                                  504361      4/11/2022 14:32



                                                              1772
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                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              Searches.pdf                            1017626       4/11/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              Seller Affidavit.pdf                      427589      4/11/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              Settlement Agreement.pdf                2794773       4/11/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              Stipulation.pdf                         1516308       4/11/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              Tax form 1040.pdf                         584719      4/11/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78279              404369-752962.pdf                      80869659        1/10/2022 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78279              78279 Court Order.pdf                   3713865       6/11/2024 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78279              78279 Daivd, Patrick.tv5                   10436      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78279              78279 Purchase Agreement.pdf            5599660       4/11/2022 20:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78279              Allied letter.pdf                         522628      4/11/2022 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78279              Allied Servicing Agreement.pdf            177499      4/11/2022 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78279              Annuity Contract.pdf                      190250      4/11/2022 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78279              Application.pdf                           849698      4/11/2022 19:35
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\78279              Information.pdf                         1832525       4/11/2022 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78279              Benefits Letter.pdf                       417334      4/11/2022 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78279              Declaration.pdf                         3381454       4/11/2022 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78279              Disclosure - CA.pdf                       621270      4/11/2022 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78279              Docusign certificates.pdf               1695673       4/11/2022 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78279              Fasano.pdf                                508608      4/11/2022 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78279              Issuer acknowledgment.pdf                 231384      4/11/2022 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78279              Owner Acknowledgment.pdf                  270328      4/11/2022 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78279              Pleadings.pdf                          45586406       4/11/2022 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78279              Questionnaire.pdf                       4411369       4/11/2022 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78279              Searches.pdf                            1270910       4/11/2022 19:35




                                                                1773
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                                       3467



               All Paths/Locations                                   Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78279              Social security card.pdf                           192197      4/11/2022 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78280              484665-503265.pdf                               23810839       1/10/2022 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78280              78280 Rainey, Vernedia.tv5                          10241      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78280              Affidavit in lieu of SA.pdf                        366794      4/12/2022 13:02
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\78280              Information.pdf                                  1535820       4/12/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78280              Authorization to obtain Death Certificate.pdf      144504      4/12/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78280              Benefits Letter.pdf                                549091      4/12/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78280              Court Order.pdf                                    549496      4/12/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78280              Credit Report.pdf                                  186263      4/12/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78280              Disclosure - PA.pdf                                577775      4/12/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78280              Disclosure - SC.pdf                                292074      4/12/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78280              Docusign certificates.pdf                          930569      4/12/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78280              Fasano.pdf                                         512114      4/12/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78280              Identification.pdf                                 190761      4/12/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78280              Pleadings.pdf                                    6153863       4/12/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78280              Proof of SS Number .pdf                            651107      4/25/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78280              Purchase Agreement.pdf                           1391135       4/12/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78280              Questionnaire.pdf                                  495038      4/12/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78280              Searches.pdf                                       639647      4/12/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78280              Seller Affidavit.pdf                               176683      4/12/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78280              Stipulation.pdf                                  4652122       4/12/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78281              494288-772197.pdf                               44242112        1/10/2022 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78281              78281 Broudrick, Chantail.tv5                       10240      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78281              Acknowledgement.pdf                                 76470      4/12/2022 17:45




                                                                1774
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                                       3467



               All Paths/Locations                                Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78281              Adobe sign certificate.pdf                  200433      4/12/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78281              Annuity Contract.pdf                        825922      4/12/2022 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78281              Application.pdf                             524195      4/12/2022 17:45
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\78281              Information.pdf                           1418629       4/12/2022 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78281              Authorization to obtain death cert.pdf      232894      4/12/2022 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78281              Benefits Letter.pdf                          91075      4/12/2022 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78281              Court Order.pdf                           3352549       4/12/2022 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78281              Credit Report.pdf                         1986197       4/12/2022 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78281              Disclosure.pdf                              943913      4/12/2022 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78281              Divorce decree.pdf                        9439804       4/12/2022 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78281              Drivers License.pdf                         296399      4/12/2022 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78281              Fasano.pdf                                  587697      4/12/2022 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78281              Pleadings.pdf                            12299717       4/12/2022 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78281              Purchase Agreement.pdf                    1797213       4/12/2022 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78281              Qualified Assignment.pdf                    936640      4/12/2022 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78281              Questionnaire.pdf                         1157794       4/12/2022 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78281              Searches.pdf                              1603918       4/12/2022 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78281              Settlement Agreement Documents.pdf          800326      4/12/2022 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78281              Social security card.pdf                    190634      4/12/2022 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              504698-283288.pdf                        56371514       1/10/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              78282 Gonzales, David.tv5                    10241      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Acknowledgement.pdf                         124684      4/12/2022 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Affidavit.pdf                               577884      4/12/2022 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Annuity Contract.pdf                        937915      4/12/2022 20:16




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                                       3467



               All Paths/Locations                                  Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Application.pdf                                  1300513       4/12/2022 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Assignment.pdf                                      78498      4/12/2022 20:11
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\78282              Information.pdf                                  2910767       4/12/2022 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Authorization to obtain death certificate.pdf      139392      4/12/2022 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Bankruptcy Search.pdf                               51038      4/12/2022 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Benefits Letter.pdf                                471416      4/12/2022 20:16
Saiph consulting|\Audit Materials Received-   Compromise Settlement Agreement and Full
SuttonPark\Closing Binders\78282              Release.pdf                                      3044191      12/17/2020 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Court Order.pdf                                    808149      4/12/2022 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Disclosure - DE.pdf                              1132448       4/12/2022 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Disclosure - NY.pdf                              1443090       4/12/2022 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Disclosure - TX.pdf                              1267341       4/12/2022 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Disclosure Affidavit.pdf                           443508      4/12/2022 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Docusign Certificate.pdf                         1777905       4/12/2022 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Drivers License.pdf                                373258      4/12/2022 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Fasano.pdf                                         530391      4/12/2022 20:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              LC Contact.pdf                                     449514      4/12/2022 20:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Personal Info Conceal request.pdf                  523159      4/12/2022 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Pleadings.pdf                                   18423266       4/12/2022 20:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Proof of residency.pdf                             981584      4/12/2022 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Purchase Agreement.pdf                           3498338       4/12/2022 20:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Questionnaire.pdf                                2894061       4/12/2022 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Request For Acknowledgement.pdf                  1459239       4/12/2022 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Searches.pdf                                     2688891       4/12/2022 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Social security card.pdf                           281040      4/12/2022 20:16




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                                       3467



               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Third party Authorization.pdf            552009       4/12/2022 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78282              Trust Agreement.pdf                    4314982        4/12/2022 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78283              634635-213242.pdf                     29713110         1/7/2022 19:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78283              78283 Essang, Ini.tv5                       9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78283              Acknowledgement.pdf                       80652       4/13/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78283              Affidavit in lieu of SA.pdf              606903       4/13/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78283              Affidavit.pdf                            403143       4/13/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78283              Application.pdf                        1159617        4/13/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78283              Assignment.pdf                            59608       4/13/2022 14:53
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\78283              Information.pdf                        1644038        4/13/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78283              Bankruptcy search.pdf                    127992       4/13/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78283              Benefits letter.pdf                      227687       4/13/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78283              Court Order.pdf                        1303508        4/13/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78283              Credit Report.pdf                      2095112        4/13/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78283              Disclosure - GA.pdf                      203609       4/13/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78283              Docusign certificates.pdf              2464428        4/13/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78283              Drivers License.pdf                      189032       4/13/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78283              Fasano.pdf                               481674       4/13/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78283              Pleadings unredacted.pdf               3556158        4/13/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78283              Pleadings.pdf                          4748006        4/13/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78283              Purchase Agreement.pdf                 2180919        4/13/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78283              Questionnaire.pdf                      2229857         5/3/2022 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78283              Request For Acknowledgement.pdf          932400       4/13/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78283              Searches.pdf                           7425293        4/13/2022 14:53




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                                       3467



               All Paths/Locations                                  Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78283              Social security card.pdf                      314685      4/13/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              654523-881627.pdf                          65424463        1/10/2022 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              78284 Dontje, Judith.tv5                       10241      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              Acknowledgement.pdf                           220503      4/13/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              Affidavit in lieu of SA.pdf                   829286      4/13/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              Application.pdf                             2460643       4/13/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              Assignment of CO.pdf                           51847      4/13/2022 19:17
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\78284              Information.pdf                               679406      4/13/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              Authorization to release information.pdf      675029      4/13/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              Bankruptcy Search.pdf                          27889      4/13/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              Benefits Letter.pdf                           465869      4/13/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              Berwyn Search.pdf                              66952      4/13/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              clearer copy of ssc.pdf                        53548      4/24/2009 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              Court Order.pdf                             1159532       4/13/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              Credit Report.pdf                             612057      4/13/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              Disclosure - CT.pdf                         1277596       4/13/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              Disclosure - FL.pdf                           899953      4/13/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              Divorce Decree.pdf                          6281269       4/13/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              Drivers License.pdf                           190238      4/13/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              Fasano.pdf                                  1058899       4/13/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              Pleadings.pdf                              29868071       4/13/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              Prior orders.pdf                            9061660       4/13/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              Proof of residency.pdf                        361387      4/13/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              Purchase Agreement.pdf                     10088339       4/13/2022 19:17




                                                              1778
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1780 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              Qualified Assignment.pdf                 157075       4/24/2009 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              Questionnaire.pdf                      1288534        4/13/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              Same Name Affidavit.pdf                  756261       4/13/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              Searches.pdf                           2296728        4/13/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78284              Social security card.pdf               1358191        4/13/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78285              684696-303287.pdf                     20929574        1/10/2022 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78285              78285 Decker, Denise.tv5                    9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78285              Acknowledgement.pdf                       64065       4/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78285              Affidavit in lieu of SA.pdf              309655       4/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78285              Annuity Contract 78285.pdf               102730       7/30/2019 17:02
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\78285              Information.pdf                          776265       4/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78285              Benefits Letter.pdf                      246348       4/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78285              Court Order.pdf                        1139062        4/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78285              Credit Report.pdf                      1300458        4/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78285              Disclosure - NE.pdf                      522650       4/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78285              Disclosure - PA.pdf                      488784       4/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78285              Disclosure - SC.pdf                      452759       4/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78285              Disclosure Statement .pdf                 66156       4/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78285              Docusign Certificate.pdf                 801050       4/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78285              Drivers License.pdf                      552485       4/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78285              Fasano.pdf                               384687       4/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78285              Marriage certificate.pdf                 448120       4/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78285              Pleadings.pdf                            748015       4/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78285              Purchase Agreement.pdf                 2877525        4/14/2022 12:13




                                                              1779
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1781 of
                                       3467



               All Paths/Locations                                   Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78285              Qualified Assignment 78285.pdf                     217811       7/30/2019 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78285              Questionnaire.pdf                                1912406        4/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78285              Searches.pdf                                       385288       4/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78285              Seller Affidavit.pdf                               311240       4/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78285              Settlement Agreement 78285.pdf                     292536       7/30/2019 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78285              Social security card.pdf                           336293       4/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78286              78286 Mcdougall, Brittany.tv5                         9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78286              824584-462999.pdf                               33974537         1/10/2022 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78286              Affidavit in lieu of SA.pdf                        530534       4/14/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78286              Annuity Contract Schedule 403301.PDF                54030       6/26/2015 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78286              Application.pdf                                    156359       4/14/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78286              Auth to release transcational information.pdf      232026       4/14/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78286              Authorization to obtain Death cert.pdf              81297       4/14/2022 15:51
Saiph consulting|\Audit Materials Received-   Authorization to Release Protected Medical
SuttonPark\Closing Binders\78286              Information.pdf                                  1472747         5/3/2022 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78286              Consent to release Personal information.pdf         94949       4/14/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78286              Court Order.pdf                                    782569       4/14/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78286              Disclosure - PA.pdf                                245647       4/14/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78286              Disclosure - TX.pdf                                243816       4/14/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78286              Docusign cert.pdf                                  249289       4/14/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78286              Fasano.pdf                                         639476       4/14/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78286              Order Approving Settlement.pdf                     496151       4/14/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78286              Pleadings.pdf                                    4511215        4/14/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78286              Proof of residency.pdf                             153838       4/14/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78286              Purchase Agreement.pdf                           1435805        4/14/2022 15:51




                                                              1780
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1782 of
                                       3467



               All Paths/Locations                                  Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78286              Questionnaire.pdf                       1121267       4/14/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78286              Request for acknowledgment.pdf            658545      4/14/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78286              Searches.pdf                              486827      4/14/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78286              Seller Identification.pdf                 135455      4/14/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78286              Settlement Authorization.pdf              464692      4/14/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78286              Stipulation.pdf                         2288234       4/14/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78287              78287 Page, Asaad.tv5                      10241      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78287              904633-433240.pdf                      32266053        1/7/2022 18:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78287              Acknowledgement.pdf                       161121      4/14/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78287              Annuity Contract.pdf                      298508      4/14/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78287              Application.pdf                           710762      4/14/2022 17:46
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\78287              Information.pdf                           679214      4/14/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78287              Benefits Letter.pdf                       147220      4/14/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78287              Berwyn search.pdf                          59657      4/14/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78287              Court Order.pdf                         3015376       4/14/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78287              Credit Report.pdf                         466981      4/14/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78287              Disclosure - CT.pdf                       220015      4/14/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78287              Disclosure - NY.pdf                       310686      4/14/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78287              Fasano.pdf                                494742      4/14/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78287              Identification.pdf                        417327      4/14/2022 17:46
Saiph consulting|\Audit Materials Received-   Infants Compromise order & settement
SuttonPark\Closing Binders\78287              documents.pdf                             993442      4/14/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78287              Page address verification.pdf             147073     11/18/2019 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78287              Pleadings.pdf                          15139908       4/14/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78287              Proof of Notary.pdf                       258621      4/14/2022 17:46




                                                                1781
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1783 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78287              Purchase Agreement.pdf                  1394687        4/14/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78287              Qualified Assignment.pdf                  148454       4/14/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78287              Questionnaire.pdf                       2741795        4/14/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78287              Same name Affidavit.pdf                    41883       4/14/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78287              Searches.pdf                              875417       4/14/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78287              Seller Affidavit.pdf                    1676608        4/14/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78288              78288 Cortorreal, Elizabeth.tv5              9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78288              914636-253243.pdf                      16242419         1/7/2022 19:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78288              Acknowledgement.pdf                        50862       4/14/2022 19:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78288              Amended Order.pdf                         556139       4/14/2022 19:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78288              Auth to obtain Death cert.pdf             134738       4/14/2022 19:10
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\78288              Information.pdf                         1891197        4/14/2022 19:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78288              Benefits Letter.pdf                       229285       4/14/2022 19:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78288              Court order.pdf                           633906       4/14/2022 19:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78288              Credit Report.pdf                         293703       4/14/2022 19:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78288              Disclosure - PA.pdf                       607781       4/14/2022 19:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78288              Disclosure - VA.pdf                       586826       4/14/2022 19:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78288              Docusign cert.pdf                         273033       4/14/2022 19:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78288              Drivers License.pdf                       269244       4/14/2022 19:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78288              Fasano.pdf                                372002       4/14/2022 19:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78288              Pleadings.pdf                           6444025        4/14/2022 19:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78288              Purchase Agreement.pdf                  4824187        4/14/2022 19:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78288              Questionnaire.pdf                       1145302        4/14/2022 19:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78288              Searches.pdf                              487413       4/14/2022 19:10




                                                              1782
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                                       3467



               All Paths/Locations                                   Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78288              Seller Affidavit.pdf                        340480      4/14/2022 19:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78288              SSN verification W2.pdf                     795597      4/14/2022 19:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78295              78295 Moxham, Richard.tv5                    10615      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78295              Acknowledgment.pdf                          105273       2/1/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78295              Affidavit.pdf                             1662449      12/10/2021 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78295              Annuity Quotes.pdf                        1034412       12/6/2021 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78295              Application.pdf                           2059712       12/7/2021 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78295              Assignment.pdf                              177482       1/25/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78295              Benefits Letter.pdf                         472805      9/22/2020 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78295              Change of Bene.pdf                          261497      12/7/2021 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78295              Court Order.pdf                             274394      1/24/2022 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78295              Credit Report.pdf                           686036       12/7/2021 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78295              Disclosure Proof of Delivery- USPS.pdf      568234     12/13/2021 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78295              Disclosure proof of Hand Delivery.pdf       223768      12/7/2021 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78295              Disclosure-CT.pdf                         1385839       12/7/2021 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78295              Disclosure-NY.pdf                         1709384       12/7/2021 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78295              Driver License.pdf                        5003910       10/9/2024 22:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78295              E-sign Certificate Revised Terms.pdf         46258      1/24/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78295              Pleadings.pdf                             2556505       1/24/2022 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78295              Purchase Agreement.pdf                    3315054       1/11/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78295              Qualified Assignment.pdf                     82334      12/19/2016 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78295              Revised Disclosure - CT.pdf                 125082      1/24/2022 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78295              Revised Terms Rider.pdf                      64576      1/24/2022 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78295              Searches.pdf                                749884       12/7/2021 9:27




                                                              1783
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                                       3467



               All Paths/Locations                                 Unified Title              File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78295              Settlement Agreement.pdf                           552809      12/20/2016 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78295              Social Security Card.pdf                           232954       9/21/2020 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78296              78296 Harris, Marissa.tv5                             9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78296              Acknowledgment.pdf                                  76242       2/15/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78296              Affidavit.pdf                                      177351      12/15/2021 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78296              Annuity Contract.pdf                               159359      10/26/2020 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78296              Application.pdf                                    256077      12/15/2021 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78296              Assignment Executed.pdf                             35231       1/18/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78296              Closing Binder.pdf                               5587063        1/11/2022 20:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78296              Court Order.pdf                                    269976       1/18/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78296              Credit Report.pdf                                  301607       1/11/2022 20:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78296              Disclosure Affidavit.pdf                            62243      12/15/2021 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78296              Disclosure AL.pdf                                  215471      12/15/2021 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78296              Driver License - AZ.pdf                            311356      10/29/2020 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78296              Order Appointing Convervator.pdf                   124620       1/11/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78296              Petition for Order Appointing Conservator.pdf      255005       1/11/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78296              Pleadings.pdf                                    2061313        1/11/2022 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78296              Proof of Disc Delivery.pdf                         521176       1/11/2022 20:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78296              New Document Package_Harris.pdf                    427856       12/7/2021 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78296              Purchase Agreement.pdf                           1146779        1/11/2022 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78296              Searches.pdf                                       491619       1/11/2022 20:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78296              Social Security Card.pdf                           268538      10/29/2020 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78296              ZIP Code USPS.pdf                                   66266       1/13/2022 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78305              3A21.pdf                                           191745       10/9/2024 19:44




                                                              1784
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                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78305              78305 Corbett, Cindy.tv5                   9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78305              Application.pdf                          86362       1/11/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78305              Assignment.pdf                          225492       1/13/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78305              Benefits Letter.pdf                      26486       9/28/2021 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78305              Credit.pdf                               44691       1/10/2022 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78305              Disclosure Statement.pdf                114325        1/13/2022 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78305              Divorce.pdf                             192329       9/28/2021 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78305              Driver License.pdf                    4194127         1/13/2022 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78305              Purchase Agreement.pdf                  242468        1/13/2022 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78305              Searches.pdf                             19576       10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78305              SSC.pdf                                 929862       9/28/2021 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78305              Stipulation.pdf                         566075       1/13/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78305              UCC.pdf                                  48369       10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78321              78321 Mcinturff, Emily.tv5               10154       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78321              Acknowledgment Letter.pdf                54523        2/4/2022 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78321              Application.pdf                          52264       1/11/2022 21:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78321              Assignment Executed.pdf                 194523       1/19/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78321              Benefits Letter.pdf                     348577       12/13/2021 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78321              Closing Binder.pdf                    6471801        1/11/2022 20:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78321              Closing Statement updated.pdf            95691        1/20/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78321              Court Order.pdf                         143272       10/9/2024 18:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78321              Credit Report.pdf                        40290      11/18/2021 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78321              Disclosure OH.pdf                       105289       1/11/2022 21:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78321              DocuSign Cert - 3436.pdf                191926       10/9/2024 19:45




                                                                1785
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1787 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78321              DocuSign Cert 7D4F .pdf                 206674       10/9/2024 19:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78321              Driver License.pdf                       70584       1/11/2022 20:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78321              Notarized Closing Statement.pdf       1000745        1/19/2022 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78321              PI Docket.pdf                         1193923        12/1/2021 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78321              Pleadings.pdf                         1624697        1/11/2022 20:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78321              FW: McInturff - Final Order              91648        1/13/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78321              image001.png                               4751       1/13/2022 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78321              Proof of SSN.pdf                        230629       1/11/2022 20:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78321              Purchase Agreement.pdf                  248428       1/11/2022 21:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78321              Searches.pdf                             16956       1/11/2022 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78321              Settlement Agreement Request.pdf         50391       10/9/2024 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78321              UCC Search.pdf                           62277       1/11/2022 21:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78321              ZIP Code USPS.pdf                        64248       1/12/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              78323 Marquez, Felicia.tv5               10263       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              Acknowledgment.pdf                      171112        2/4/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              Affidavit - Amended.pdf                 235387       1/11/2022 21:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              Affidavit.pdf                           771858       1/11/2022 21:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              Annuity Contract.pdf                  1992731        1/12/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              Application.pdf                       1222557        10/9/2024 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              Assignment.pdf                          124845       1/18/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              Berkshire Objection.pdf               1398071        1/11/2022 21:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              Closing Binder.pdf                   14995965        1/11/2022 21:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              Court Order.pdf                         208768       1/21/2022 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              Credit Report.pdf                        47343       1/11/2022 21:47




                                                              1786
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1788 of
                                       3467



               All Paths/Locations                                Unified Title             File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              Disclosure NE - Amended.pdf                      323877       1/11/2022 21:49
Saiph consulting|\Audit Materials Received-   Disclosure NE Amended - Correcting due date
SuttonPark\Closing Binders\78323              and increased PP.pdf                             159370       1/21/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              Disclosure NE.pdf                                913810       1/11/2022 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              Disclosure NM - Amended.pdf                      302661       1/11/2022 21:49
Saiph consulting|\Audit Materials Received-   Disclosure NM Amended -Correcting due date
SuttonPark\Closing Binders\78323              and increased PP.pdf                             129257       1/21/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              Disclosure NM.pdf                                818475       1/11/2022 21:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              Identification Card.pdf                          782627       1/18/2022 20:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              PI Docket.pdf                                     80333       10/9/2024 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              pleadings.pdf                                 10195510        1/21/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              Purchase Agreement - Amended.pdf               1766633        1/11/2022 21:51
Saiph consulting|\Audit Materials Received-   Purchase Agreement Amended - Correcting due
SuttonPark\Closing Binders\78323              date and increased PP.pdf                      1124528        1/21/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              Purchase Agreement.pdf                         5236176        1/11/2022 21:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              Redirection Confirmation New 78323.pdf            82165       7/29/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              Redirection Reconfiguration 78323.pdf          2666432        7/22/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              WFB Letter RE-NEW POB.pdf                        558429        3/30/2022 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              Redirection Reconfig SPSS.pdf                  1505441        6/27/2022 17:25
Saiph consulting|\Audit Materials Received-   SuttonPark - Corp Resolution 2022 POB
SuttonPark\Closing Binders\78323              789582.pdf                                       980063        3/9/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              Searches.pdf                                      37250       1/11/2022 21:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78323              Social Security Card.pdf                         892394       1/18/2022 20:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              78344 Garcia , Isaac.tv5                            9967      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              Affidavit.pdf                                  2155904         1/14/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              Annuity Contract.pdf                             344459       1/19/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              Application.pdf                                1101065        11/19/2021 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              Assignment Agreement .pdf                        132547       1/19/2022 11:12




                                                              1787
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1789 of
                                       3467



               All Paths/Locations                                 Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              Benefit Letter.pdf                          404169      1/13/2022 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              Closing Binder.pdf                       31584661       1/14/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              Closing Statement executed.pdf              191026      10/9/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              Court Order.pdf                             286277      1/12/2022 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              Credit Profile Report.pdf                   573417      1/12/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              Disclosure NE.pdf                         2471615        1/14/2022 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              Disclosure TX.pdf                         2813529        1/14/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              DocuSign Cert E957.pdf                      280052      1/19/2022 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              Driver License.pdf                          115519      11/18/2021 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              Pleadings.pdf                             1535280        1/14/2022 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              Proof of service.pdf                         44822      1/19/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              Purchase agreementt.pdf                  16704201        1/14/2022 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              Redirection Confirmation New 78344.pdf       81607      7/25/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              Redirection Reconfiguration 78344.pdf     2666363       7/22/2022 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              WFB Letter RE-NEW POB.pdf                   558429       3/30/2022 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              Redirection Reconfig SPSS.pdf             1505441       6/27/2022 17:25
Saiph consulting|\Audit Materials Received-   SuttonPark - Corp Resolution 2022 POB
SuttonPark\Closing Binders\78344              789582.pdf                                  980063       3/9/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              Searches.pdf                                 23734      10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              settlement docket.pdf                     8223603      10/13/2021 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              Social Security Card.pdf                  3923276       1/12/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              UCC Search.pdf                               23090      10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78344              ZIP Code USPS.pdf                            66253      1/14/2022 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78345              78345 Corkill, Pamela.tv5                    10188      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78345              Affidavit in Lieu of SA.pdf               3336389       1/14/2022 11:43




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                                       3467



               All Paths/Locations                               Unified Title                      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-   AIG Correspondence 08092023_Pamela Sue
SuttonPark\Closing Binders\78345              Corkill Policy 402975 Payments on Hold.pdf               164313       8/22/2023 7:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78345              Annuity Schedule.pdf                                      82750      1/14/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78345              Application.pdf                                          196492      1/14/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78345              BK Search.pdf                                             49558      1/14/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78345              Closing Binder - Pamela Corkill.pdf                    9028565       1/12/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78345              Court Order.pdf                                        1893184       1/27/2022 16:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78345              Credit Report.pdf                                         90401      1/14/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78345              Disclosure TX.pdf                                         81978      1/14/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78345              Docusign Summary C242.pdf                                288391      12/3/2021 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78345              Docusign Summary E63D.PDF                                287703      12/3/2021 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78345              HIPAA and Medical Questionnaire.pdf                      438179      1/14/2022 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78345              Identification and SSC.pdf                             1193241       1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78345              Pleadings.pdf                                         18299324       1/14/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78345              Purchase Agreement.pdf                                20001785       1/14/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78345              QA.pdf                                                   310953      1/14/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78345              Searches.pdf                                             675607      1/14/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78345              Stipulation - Fully Executed.pdf                         864467       1/28/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78345              Summary D750F.PDF                                        284405      1/14/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78345              VERIFICATION OF LIVING PROOF STATEMENT.pdf                56065      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78345              Verification of Survival Letter - not notarized.pdf       60193      4/19/2023 16:52
Saiph consulting|\Audit Materials Received-   Verification of Survival Letter for Pamela Corkill
SuttonPark\Closing Binders\78345              21172 - Email.pdf                                        217689      4/19/2023 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78345              Verification of Survival Letter.pdf                       58064
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              78348 Marquez, Felicia.tv5                                10149      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              Acknowledgment.pdf                                       171112       2/4/2022 12:20




                                                              1789
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                                       3467



               All Paths/Locations                                 Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              Affidavit - Amended.pdf                          235387      1/11/2022 21:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              Affidavit.pdf                                    771858      1/11/2022 21:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              Annuity contract.pdf                           2106546       1/12/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              Application.pdf                                1222557       10/9/2024 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              Assignment.pdf                                   197155       1/24/2022 3:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              Berkshire Objection.pdf                        1398071       1/11/2022 21:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              Closing Binder.pdf                            14995965       1/11/2022 21:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              Court Order.pdf                                  208768      1/21/2022 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              Credit Report.pdf                                 47343      1/11/2022 21:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              Disclosure NE - Amended.pdf                      323877      1/11/2022 21:49
Saiph consulting|\Audit Materials Received-   Disclosure NE Amended - Correcting due date
SuttonPark\Closing Binders\78348              and increased PP.pdf                             159370      1/21/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              Disclosure NE.pdf                                913810      1/11/2022 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              Disclosure NM - Amended.pdf                      302661      1/11/2022 21:49
Saiph consulting|\Audit Materials Received-   Disclosure NM Amended -Correcting due date
SuttonPark\Closing Binders\78348              and increased PP.pdf                             129257      1/21/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              Disclosure NM.pdf                                818475      1/11/2022 21:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              Identification Card.pdf                          782627      1/18/2022 20:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              PI Docket.pdf                                     80333      10/9/2024 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              pleadings.pdf                                 10195510       1/21/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              Purchase Agreement - Amended.pdf               1766633       1/11/2022 21:51
Saiph consulting|\Audit Materials Received-   Purchase Agreement Amended - Correcting due
SuttonPark\Closing Binders\78348              date and increased PP.pdf                      1124528       1/21/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              Purchase Agreement.pdf                         5236176       1/11/2022 21:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              Redirection Confirmation New 78348.pdf            82164      7/29/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              Redirection Reconfiguration 78348.pdf          2666421       7/22/2022 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              WFB Letter RE-NEW POB.pdf                        558429       3/30/2022 8:41




                                                              1790
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                                       3467



               All Paths/Locations                                 Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              Redirection Reconfig SPSS.pdf            1505441        6/27/2022 17:25
Saiph consulting|\Audit Materials Received-   SuttonPark - Corp Resolution 2022 POB
SuttonPark\Closing Binders\78348              789582.pdf                                 980063        3/9/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              Searches.pdf                                37250       1/11/2022 21:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78348              Social Security Card.pdf                   892394       1/18/2022 20:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78357              52F9.pdf                                   170860       10/25/2021 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78357              78357 Robinson, Rachel.tv5                    9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78357              7878.pdf                                    63310        1/14/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78357              Application.pdf                            485806       10/9/2024 20:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78357              Benefits Letter.pdf                      3776797         1/14/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78357              Court Order.pdf                          2758255        10/9/2024 22:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78357              Credit Report.pdf                           58067       11/9/2021 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78357              Disclosure CA.pdf                          130312        1/14/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78357              Disclosure GA.pdf                           90346        1/14/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78357              Driver License.pdf                       8338760         1/14/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78357              Fasano Report.pdf                           98330       10/12/2021 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78357              HIPAA and Medical Questionnaire.pdf        566408        1/14/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78357              Pleadings.pdf                            4664802         1/14/2022 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78357              POR.pdf                                  1640167         1/14/2022 8:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78357              Purchase Agreement.pdf                   4175165         1/14/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78357              Searches.pdf                             2421788         1/14/2022 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78357              Social Security Card.pdf                 5814308         1/14/2022 8:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78357              Stipulation.pdf                            830168       1/13/2022 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78361              78361 Drew, Stephen.tv5                       9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78361              Application.pdf                             66394       1/16/2022 12:08




                                                                1791
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                                       3467



               All Paths/Locations                                 Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78361              Assignment.pdf                                  171021      1/25/2022 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78361              Benefits Letter.pdf                              75729      1/11/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78361              Closing Binder.pdf                            1715956       1/16/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78361              Confirmation of Bene Change.pdf               1101121        3/27/2019 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78361              Confirmation of Owner and Payee Change.pdf       58861      3/15/2019 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78361              Credit Report.pdf                                35807      1/11/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78361              Disclosure Statement.pdf                         71205      1/16/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78361              Driver License.pdf                               19979      1/24/2022 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78361              Email confirming change to BlueHill.pdf         223164      1/16/2022 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78361              Fasano Report.pdf                               110800     12/30/2021 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78361              HIPAA - Notarized.pdf                           128399      1/24/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78361              Medical Questionnaire - Notarized.pdf           239966      1/24/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78361              Purchase agreement.pdf                          202946      1/16/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78361              Searches.pdf                                     14226      1/16/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78361              Social Security Card.pdf                         25207      1/24/2022 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78361              Submission Docs.pdf                              81698      1/16/2022 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78361              UCC Search.pdf                                   63525      1/24/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              78363 Hunt, Alexandria.tv5                       10123      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              Annuity Contract.pdf                            329564      1/13/2022 22:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              Application.pdf                                 191731      1/13/2022 22:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              Assignment.pdf                                   28561       1/17/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              Authorization for Deductions.pdf                 41699      1/13/2022 22:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              Birth Certificate.pdf                         1111377       1/18/2022 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              Certification.pdf                               115401      1/13/2022 22:15




                                                              1792
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1794 of
                                       3467



               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              Change of Bene Request.pdf                  61617      1/13/2022 22:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              Closing Book - Alexandria Hunt.pdf       7578237       1/13/2022 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              Court Order.pdf                             63785      1/13/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              Credit Report.pdf                          127400      1/14/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              Disclosure NJ.pdf                           49529      1/13/2022 22:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              Disclosure NM.pdf                           49559      1/13/2022 22:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              DisclosureTX.pdf                            49260      1/13/2022 22:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              DocuSign Cert - 6AC2.pdf                    69368      1/13/2022 22:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              DocuSign Cert - Closing Statement.pdf      198698      10/9/2024 19:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              DocuSign Cert 18A8.pdf                     202378      10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              Driver License.pdf                       1017131       1/13/2022 22:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              Name Declaration.pdf                       110209      1/13/2022 22:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              NASP Search.pdf                             92185      1/13/2022 22:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              Pleadings.pdf                            2215141       1/13/2022 22:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              Purchase Agreement.pdf                     343450      1/13/2022 22:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              Request for Annuity Docs.pdf                53132      1/13/2022 22:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              Searches.pdf                               105615      1/14/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              Settlement Agreement.pdf                   258941      1/13/2022 22:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              Social Security Card.pdf                   529877      1/13/2022 22:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              Stipulation - Missing SP.pdf             3300662       1/13/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              Stipulation.pdf                          3210455       1/14/2022 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78363              UCC Search.pdf                              98315      1/14/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              78382 Broadnax, Kiontra.tv5                 10000      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              Acknowledgment.pdf                          93632       2/8/2022 12:13




                                                                1793
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1795 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              Affidavit.pdf                           107219      1/16/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              Application.pdf                         189845      1/16/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              Assignment executed.pdf                  93003      1/20/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              Authorization for Deductions.pdf        116885      1/16/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              Benefit Letter.pdf                      183763      1/21/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              Bill POR.pdf                            121041      1/20/2022 17:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              Court Order.pdf                         706174      1/19/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              Credit Report.pdf                       122494      1/16/2022 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              Disclosure Affidavit.pdf                 78058      1/16/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              Disclosure KY.pdf                       173675      1/16/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              Disclosure NV.pdf                       168060      1/16/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              DocuSign Cert A558.pdf                   64169      1/17/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              DocuSign Cert A93B.pdf                  173385      10/9/2024 19:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              Fasano Report.pdf                       107022      1/16/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              ID.pdf                                1654709       1/21/2022 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              K Broadnax Closing Binder.pdf         4449294       1/13/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              Medical Questionnaire.pdf               610672      1/13/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              Pleadings.pdf                         2338546       1/16/2022 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              POR.pdf                               4493672       1/21/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              Proof of disclosure.pdf                 349929       1/14/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              Purchase Agreement.pdf                  643529      1/16/2022 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              Searches.pdf                             81903      1/16/2022 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              Settlement Agreement Affidavit.pdf       69563      1/16/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              Settlement Agreement.pdf              1273726        4/9/2019 17:03




                                                              1794
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                                       3467



               All Paths/Locations                                 Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              SSC.pdf                                           72691      1/16/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              UCC Search.pdf                                    76548      1/16/2022 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78382              ZIP Code USPS.pdf                                 64604      1/14/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78383              78383 Overton, Kerby.tv5                          10672      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78383              Benefits Letter.pdf                              647619      1/16/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78383              Closing Binder.pdf                             5190545       1/14/2022 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78383              Closing Statement.pdf                            126614      1/14/2022 20:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78383              Court Order.pdf                                3278816       10/9/2024 22:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78383              Credit Report.pdf                                155222      1/17/2022 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78383              Disclosure Affidavit.pdf                         161288      1/16/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78383              Disclosure MI.pdf                                145989       1/21/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78383              DocuSign Cert - Final Closing Statement.pdf      170939      10/9/2024 19:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78383              Driver License.pdf                                74351      1/16/2022 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78383              Final Closing Statement.pdf                      176792      1/21/2022 17:01
Saiph consulting|\Audit Materials Received-   Order Approving Guardian and Compromise
SuttonPark\Closing Binders\78383              Settlement.pdf                                   242848      7/13/2021 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78383              Pleadings.pdf                                  1775894       1/16/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78383              Purchase Agreement.pdf                         1288170       1/25/2022 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78383              Revised Closing Statement.pdf                    154834      1/25/2022 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78383              Searches.pdf                                      82827      1/17/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78383              Social Security Card.pdf                          56583      1/16/2022 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78383              Stip - Missing Cozen.pdf                       2160197       1/17/2022 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78383              Stipulation.pdf                                  771692      1/25/2022 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78383              UCC Search.pdf                                    65847      1/16/2022 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78384              78384 Overton, Kerby.tv5                          10239      10/9/2024 17:32




                                                                1795
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1797 of
                                       3467



               All Paths/Locations                                 Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78384              Assignment.pdf                                   154835      1/25/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78384              Benefits Letter.pdf                              647619      1/16/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78384              Closing Binder.pdf                             5190545       1/14/2022 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78384              Closing Statement.pdf                            126614      1/14/2022 20:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78384              Court Order.pdf                                3278816       10/9/2024 22:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78384              Credit Report.pdf                                155222      1/17/2022 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78384              Disclosure Affidavit.pdf                         161288      1/16/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78384              Disclosure MI.pdf                                145989       1/21/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78384              DocuSign Cert - Final Closing Statement.pdf      170939      10/9/2024 19:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78384              Driver License.pdf                                74351      1/16/2022 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78384              Fasano Report.pdf                                100585      1/16/2022 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78384              Final Closing Statement.pdf                      176792      1/21/2022 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78384              HIPAA.pdf                                        171190      1/16/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78384              Medical Questionnaire.pdf                      1009678        1/18/2022 9:28
Saiph consulting|\Audit Materials Received-   Order Approving Guardian and Compromise
SuttonPark\Closing Binders\78384              Settlement.pdf                                   242848      7/13/2021 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78384              Pleadings.pdf                                  1775894       1/16/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78384              Purchase Agreement.pdf                         1288170       1/25/2022 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78384              Revised Closing Statement.pdf                    154834      1/25/2022 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78384              Searches.pdf                                      82827      1/17/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78384              Social Security Card.pdf                          56583      1/16/2022 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78384              Stip - Missing Cozen.pdf                       2160197       1/17/2022 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78384              Stipulation.pdf                                  771692      1/25/2022 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78384              UCC Search.pdf                                    65847      1/16/2022 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              78397 Caldero, Jose.tv5                           10131      10/9/2024 17:32




                                                                1796
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1798 of
                                       3467



               All Paths/Locations                                Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              Acknowledgement Letter.pdf                    29943       2/8/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              Affidavit of Service.pdf                      55189      1/26/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              Application.pdf                              708704     11/21/2021 21:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              Authorization to Release Info.pdf            489258     11/21/2021 21:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              Bank Statement.pdf                           279111      10/9/2024 20:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              Beneficiary Change Letter1.pdf               164819       1/24/2022 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              COB Request.pdf                              786672      1/18/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              Court Order.pdf                              190955      1/21/2022 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              Credit Report.pdf                            176173      1/25/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              Disclosure DE.pdf                            534381      1/18/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              Disclosure NY.pdf                            216183      1/18/2022 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              Disclosure VA.pdf                            604476      1/18/2022 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              Genworth Email regarding payments.pdf        646051      1/25/2022 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              NY Disc POD.pdf                              631860     11/11/2021 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              Payee Affidavit.pdf                          593805     11/21/2021 21:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              Pleadings.pdf                             10254686       1/18/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              Purchase Agreement.pdf                     1473872       1/18/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              Release and Settlement.pdf                 3225301       4/21/2021 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              Request for Benefits.pdf                     994501      1/18/2022 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              Searches.pdf                                  81705      1/25/2022 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              SS Card.pdf                                  452371     12/14/2021 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              State ID.pdf                                 157663       1/24/2022 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              UCC.pdf                                       49343      1/25/2022 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              USPS Change of Address Confirmation.pdf      243398       1/4/2022 10:05




                                                              1797
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                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78397              Waiver of Anti Assignment.pdf           299711     11/21/2021 21:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              78405 Adams, Kadeem.tv5                  10282      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              Affidavit.pdf                           313244      2/16/2022 19:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              Application.pdf                          98872      2/16/2022 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              Assignment.pdf                          142039      2/17/2022 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              Authorization.pdf                        42237      2/16/2022 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              Bankruptcy Search.pdf                   107170      2/16/2022 20:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              Birth Certificate.pdf                   572131      10/9/2024 21:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              Closing Binder.pdf                    5224805       2/16/2022 19:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              Compromise Order.pdf                  1149730       5/15/2018 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              Court Order.pdf                         349975      2/15/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              Credit Report.pdf                        31602      2/15/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              Disclosure PA - Revised.pdf             285864      10/9/2024 20:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              Disclosure PA.pdf                       187261      2/16/2022 19:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              Docusign Cert - 24AE.pdf                223381      10/9/2024 20:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              Docusign Cert - EECC.pdf                169744      11/18/2021 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              Docusign Cert 1927.pdf                  224339      10/9/2024 20:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              Docusign Cert 6F56.pdf                  186378      10/9/2024 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              Driver License.pdf                      284421      2/16/2022 19:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              Fasano Report.pdf                       106790       2/8/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              HIPAA.pdf                               319383      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              Liens and Judgements Search.pdf          77728      2/16/2022 20:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              Medical Questionnaire.pdf               314460      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              Pleadings.pdf                         1223641       2/16/2022 19:10




                                                              1798
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                                       3467



               All Paths/Locations                                Unified Title          File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              Purchase Agreement - Revised.pdf              394900       10/9/2024 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              Purchase Agreement.pdf                        430550       2/16/2022 19:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              SSC.pdf                                       156646       2/18/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              Stipulation.pdf                             3269336        2/17/2022 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78405              UCC Search.pdf                                 82113       2/16/2022 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78408              78408 Shiflett, Lisa.tv5                         9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78408              Annuity Contract.pdf                          318300       1/18/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78408              Assignment.pdf                                105171       1/19/2022 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78408              Court Order.pdf                                75396       1/18/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78408              Credit Report.pdf                              39300       1/18/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78408              David Clayton Shiflett - Deceased.pdf          16112       1/20/2022 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78408              Declaration.pdf                               287168       12/2/2021 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78408              Disclosure FL.pdf                              62956       12/2/2021 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78408              Divorce Decree - Muller 1996.pdf            3918653        10/9/2024 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78408              Funding Book.pdf                            6368032        1/17/2022 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78408              Identification Card.pdf                       202586       1/18/2022 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78408              Pleadings.pdf                               2462381        1/18/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78408              Proof of Disc Delivery.pdf                     96849       1/18/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78408              Proof of SSN.pdf                              197268       1/18/2022 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78408              Purchase Agreement.pdf                        656116       1/19/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78408              Qualified Assignment.pdf                      404966       1/18/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78408              Redirection Confirmation New-Various.pdf      335471       3/23/2023 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78408              Redirection Reconfiguration 78408.pdf         362043       3/21/2023 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78408              Searches.pdf                                   22979       1/18/2022 15:13




                                                                1799
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1801 of
                                       3467



               All Paths/Locations                                Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78408              Settlement Agreement.pdf                    281601      1/18/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78408              Stipulation.pdf                             603380      10/9/2024 21:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78416              78416 Valadez, Hector.tv5                    10378      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78416              Annuity Contract.pdf                        265021      1/18/2022 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78416              Application.pdf                             143155      1/18/2022 21:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78416              Court Order.pdf                           2827568       1/19/2022 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78416              Credit Report.pdf                           120652      1/18/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78416              Disclosure IL.pdf                           178374      1/18/2022 20:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78416              Disclosure MO.pdf                           151879      1/18/2022 20:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78416              Disclosure NE.pdf                           119081      1/18/2022 20:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78416              Identification Card.pdf                     228366      1/18/2022 20:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78416              Notarized Docs.pdf                        1265702       1/13/2022 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78416              Order Approving Settlement.pdf              159618      1/18/2022 20:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78416              Pleadings.pdf                             9669336       1/18/2022 20:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78416              Pre- Closing Book - Rev. 01.18.22.pdf    12261559       1/18/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78416              Proof of Disc Delivery.pdf                  135948      1/18/2022 20:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78416              Purchase Agreement.pdf                      302674      1/18/2022 20:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78416              Redirection Confirmation New 78416.pdf      115829      8/11/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78416              Searches.pdf                                286862      1/18/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78416              Settlement Agreement.pdf                    664316      1/18/2022 20:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78416              Social Security Card.pdf                    224339      1/18/2022 21:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78416              Statement in Support.pdf                    180421      1/18/2022 20:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78416              Valadez Acknowledgement.pdf                 351100       4/7/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78416              ZIP Code USPS 78416.pdf                      62079      1/19/2022 16:45




                                                                1800
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1802 of
                                       3467



               All Paths/Locations                                 Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78422              78422 Ocampo, Luis.tv5                         9967      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78422              Acknowledgment.pdf                          100413       3/29/2022 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78422              Annuity Contract.pdf                        496401        2/1/2022 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78422              Application.pdf                             342408      11/15/2021 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78422              Assignment Agreement.pdf                     39380       3/15/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78422              Benefits Letter.pdf                          85554        2/1/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78422              Court Order.pdf                             194125       3/14/2022 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78422              Credit Report.pdf                            97881       1/10/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78422              Declaration.pdf                             292713      11/15/2021 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78422              Disclosure Affidavit.pdf                     63847      11/15/2021 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78422              Disclosure CA.pdf                           316273        2/1/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78422              Disclosure CT.pdf                           258347        2/1/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78422              Driver License.pdf                          134610      11/22/2021 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78422              Pleadings.pdf                            28611079         2/1/2022 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78422              Proof of SSN.pdf                          1527788        1/31/2022 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78422              Purchase Agreement.pdf                      274000        2/1/2022 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78422              Redirection Confirmation New 78422.pdf       57758       4/20/2022 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78422              Searches.pdf                                607179       1/19/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78422              Settlement Agreement.pdf                    968556       1/11/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78422              Signed Name Affidavit.pdf                   304076       3/14/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              78430 Freeman, Victor.tv5                      9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Acknowledgment.pdf                           35330        4/18/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Annuity Contract.pdf                        202873        1/14/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Application.pdf                             197363       1/18/2022 21:11




                                                              1801
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1803 of
                                       3467



               All Paths/Locations                                 Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Assignment Agreement Executed.pdf                  24880      3/14/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Authorization for Deductions - Notarized.pdf      348712      1/18/2022 21:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Change of Bene Request - Notarized.pdf            513742      1/18/2022 21:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Closing Book - Victor Freeman.pdf              16572417       1/18/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Closing Statement Executed via DocuSign.pdf       204037      10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Closing Statement Executed.pdf                    412256      10/9/2024 20:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Court Order.pdf                                   260640      3/14/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Declaration.pdf                                   233647      10/9/2024 20:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Disclosure CA.pdf                                  61966      1/18/2022 21:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Disclosure IA.pdf                                  53247      1/18/2022 21:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Disclosure MS.pdf                                  48189      1/18/2022 21:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Disclosure WA.pdf                                  52847      1/18/2022 21:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              DocuSign Cert 6FCD.pdf                            228651      10/9/2024 20:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              DocuSign Cert 7357.pdf                            122479      1/21/2022 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              DocuSign Certs.pdf                                108007      1/18/2022 21:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Driver License.pdf                              2632665       1/18/2022 21:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Pleadings.pdf                                   1166370       1/18/2022 21:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Purchase Agreement.pdf                            273407      1/18/2022 21:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Request for Annuity Docs - Notarized.pdf          597406      1/18/2022 21:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Searches Freeman.pdf                               72488       1/21/2022 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Settlement Agreement.pdf                          752074       1/14/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Social Secuirty Card.pdf                        3786181       1/18/2022 21:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Stipulation Executed.pdf                          431016      10/9/2024 20:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Stipulation Missing signature Symetra.pdf       1632748       3/15/2022 11:43




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                                       3467



               All Paths/Locations                                 Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              UCC Search.pdf                            43763      1/21/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              Updated Credit report.pdf                155975      1/19/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78430              ZIP Code USPS 78430.pdf                   66091      1/19/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78438              78438 Poah, Leon.tv5                      10000      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78438              Acknowledgment.pdf                       419474      3/29/2022 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78438              Additional DocuSign Certificate.pdf    1532711       3/29/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78438              Assignment.pdf                           499990      10/9/2024 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78438              Authorization to Release.pdf             273742        8/4/2021 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78438              Closing Binder.pdf                    18754439       3/24/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78438              Court Order.pdf                          145144      3/13/2022 19:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78438              Credit Report.pdf                      1065238       3/24/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78438              Disclosure.pdf                           489270        8/4/2021 7:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78438              DocuSign Certificate.pdf               1470240       3/16/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78438              Drivers License.pdf                       75978       8/4/2021 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78438              Pleadings correct.pdf                  1447513       3/29/2022 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78438              Pleadings incorrect.pdf                2025695       3/24/2022 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78438              Purchase Agreement.pdf                 8312023       3/24/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78438              Searches.pdf                           1513696       3/17/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78438              Social Security Card.pdf                  88182        8/4/2021 7:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78438              UCC Search.pdf                         1868485        3/15/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78438              W9.pdf                                   414051        8/4/2021 7:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78438              Win Letter.pdf                           601876        8/5/2021 7:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78439              78439 Gabaldon, Robert.tv5                10281      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78439              Acknowledgment.pdf                       155278      4/27/2022 17:42




                                                               1803
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1805 of
                                       3467



               All Paths/Locations                                 Unified Title             File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78439              Application.pdf                                    43418      10/14/2021 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78439              Assignment Executed.pdf                           111396        2/8/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78439              Benefit letter.pdf                              1367543        1/26/2022 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78439              Closing Binder.pdf                              2522482        1/19/2022 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78439              Closing Statement.pdf                             419382       10/9/2024 20:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78439              Court Order.pdf                                   189775        2/4/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78439              Disclosure NM.pdf                                 126200      10/14/2021 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78439              DocuSign Cert B69E.pdf                            192400       10/9/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78439              DocuSign Certificate.pdf                          134452       10/9/2024 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78439              Identification Card.pdf                           402827       1/19/2022 18:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78439              PI Docket.pdf                                      81630       1/20/2022 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78439              Pleadings RG.pdf                                3577720        1/26/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78439              Purchase Agreement.pdf                            243631       1/19/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78439              Redirection Confirmation New 78439.pdf             92930        5/2/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78439              Redirection Reconfig Letter up04-07-2022.pdf    7222890         4/6/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78439              SAR.pdf                                            20460       10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78439              Searches.pdf                                       13805       1/19/2022 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78439              Signed closing statement.pdf                      471493        2/15/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78439              SSC.pdf                                            15896       1/26/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78439              UCC.pdf                                           146607       10/9/2024 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78439              Updated credit report.pdf                          15121       1/24/2022 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78439              ZIP Code USPS.pdf                                  66494       1/20/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78440              78440 Darner, Brett.tv5                              9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78440              Acknowledgment.pdf                                 76736       3/20/2022 17:47




                                                              1804
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                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78440              Annuity Check Stub.pdf                  187638      10/8/2019 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78440              Application.pdf                          42876      12/9/2021 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78440              Benefits Letter.pdf                     503622      10/9/2024 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78440              Closing Binder.pdf                    2427834       1/19/2022 19:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78440              Court Order.pdf                         155128       3/1/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78440              Credit Report.pdf                        51853      1/19/2022 21:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78440              Declaration.pdf                         107708      10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78440              Disclosure CA.pdf                        88801      12/9/2021 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78440              DocuSign Cert - 4F6F.pdf                109031       3/1/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78440              Identification Card.pdf                 542724      10/9/2024 21:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78440              New - SSN Verification.pdf              128305      1/10/2024 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78440              PI Docket.pdf                            78837      10/9/2024 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78440              Pleadings.pdf                         2568050       3/21/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78440              Purchase Agreement.pdf                  296373      1/19/2022 20:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78440              Searches.pdf                             20964      1/19/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78440              Settlement Agreement Request.pdf         41351      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78440              SSN Verification.pdf                    128291      3/21/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78440              UCC Search.pdf                           57069      1/19/2022 20:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78450              78450 Porsch, Erich.tv5                  10376      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78450              Affidavit.pdf                           922490      1/20/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78450              Annuity Contract.pdf                  2098771        3/1/2021 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78450              Application.pdf                       1190351       1/20/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78450              Assignment.pdf                          235773      1/24/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78450              Authorization.pdf                       121001      1/20/2022 11:30




                                                              1805
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                                       3467



               All Paths/Locations                                Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78450              Bankruptcy Search updated.pdf             89679       1/24/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78450              Benefits Letter.pdf                       65869       1/20/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78450              Court Order.pdf                          205866       1/20/2022 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78450              Credit Report.pdf                      1021701        1/24/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78450              Disclosure NY.pdf                        261458       1/20/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78450              NJ Driver License.pdf                     52974       1/24/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78450              Pleadings.pdf                          8713689        1/20/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78450              Porsch- Closing Binder 1.13.22_.pdf   22422453        1/20/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78450              Proof of Delivery.pdf                    514821       1/20/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78450              Proof of Residency.pdf                   271167       1/24/2022 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78450              Purchase Agreement.pdf                 1547052        1/20/2022 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78450              Qualified Assignment.pdf               1055002         3/1/2021 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78450              Settlement Agreement.pdf               1102317         3/1/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78450              Social Security Card.pdf                 109700        3/1/2021 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78450              Stipulation executed.pdf               6251912        1/21/2022 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78450              Temporary ID.pdf                         693793       1/26/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              78451 Brown, Latasha.tv5                    9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              Affidavit.pdf                            528956       1/20/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              Annuity Contract.pdf                     687977       1/20/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              Application.pdf                          811883       1/20/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              Assignment.pdf                           236503       10/9/2024 20:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              Authorization to Release.pdf              64753       1/20/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              Bankruptcy Search.pdf                    122871       1/20/2022 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              Benefits Letter.pdf                      123989       1/20/2022 17:56




                                                              1806
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1808 of
                                       3467



               All Paths/Locations                                 Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              Brown, L 2- Closing Binder 1.20.22.pdf   21496100        1/20/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              Court Order.pdf                             139415       1/18/2022 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              Credit Report.pdf                           613601       1/21/2022 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              Disclosure MD.pdf                            68843       1/20/2022 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              Divorce Decree Docket.pdf                   422397       1/20/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              Driver License.pdf                           33688       1/20/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              IPA Letter.pdf                              303755       1/20/2022 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              Pleadings.pdf                            14083483        1/20/2022 18:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              Proof of Disc Delivery.pdf                   82842       1/20/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              Purchase Agreement.pdf                      606481       1/20/2022 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              Redirection Confirmation New 78451.pdf       80845       7/28/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              Redirection Reconfiguration 78451.pdf     2653783        6/28/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              WFB Letter RE-NEW POB.pdf                   558429        3/30/2022 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              Redirection Reconfig SPSS.pdf             1505441        6/27/2022 17:25
Saiph consulting|\Audit Materials Received-   SuttonPark - Corp Resolution 2022 POB
SuttonPark\Closing Binders\78451              789582.pdf                                  980063        3/9/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              Searches.pdf                                378420       1/20/2022 19:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              Settlement Agreement.pdf                  2627083        1/20/2022 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78451              Social Security Card.pdf                    100500       1/20/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78465              78465 Rebollar, Flocelo.tv5                    9967      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78465              Annuity Contract.pdf                      1007370         1/24/2022 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78465              Application.pdf                           1925582         1/24/2022 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78465              Assignment StratCap to Sutton.pdf            73571        1/24/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78465              Authorization Letter.pdf                    619924        1/24/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78465              Bankruptcy Search.pdf                        38730        1/24/2022 9:29




                                                               1807
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1809 of
                                       3467



               All Paths/Locations                                 Unified Title                 File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78465              Closing Documents - Flocelo Rebollar .pdf           7000896        1/21/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78465              COB Request.pdf                                       716283        1/24/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78465              Court Order.pdf                                       499536        1/24/2022 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78465              Credit Report.pdf                                      43245        1/24/2022 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78465              Disclosure CO.pdf                                   1354969         1/24/2022 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78465              Disclosure TX.pdf                                   1459682         1/24/2022 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78465              ID.pdf                                                410785        1/24/2022 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78465              Payees Request to Conceal ID.pdf                      516711        1/24/2022 9:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78465              Pleadings.pdf                                       2533622         1/24/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78465              Purchase Agreement.pdf                             13615102         1/24/2022 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78465              Searches.pdf                                          499975        1/24/2022 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78465              Settlement Docket.pdf                                  93577       1/24/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78465              Stipulation.pdf                                     1614102        1/24/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78465              Transaction Summary.pdf                                63452        1/24/2022 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78472              78472 Gracia, Peter.tv5                                  9967      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78472              Ack to Trinity.pdf                                    162874      10/24/2023 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78472              Acknowledgment.pdf                                    199452       3/30/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78472              Amended Court Order.pdf                               479979        8/3/2023 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78472              Application.pdf                                       188349       6/24/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78472              Assignment to Trinity.pdf                             100148      10/30/2023 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78472              Assignment.pdf                                        652950       3/30/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78472              Attorney Affidavit.pdf                              5223884        3/30/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78472              Closing Binder.pdf                                 52211712        3/30/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78472              Confirmation Notice - Re-Assignment Petition.pdf       57057       9/15/2023 10:34




                                                                1808
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1810 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78472              Court Order.pdf                           510091      3/30/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78472              Credit Report.pdf                         225994      3/30/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78472              Disclosure.pdf                            739299      3/30/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78472              Drivers License.pdf                       163476      3/30/2022 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78472              FILED - Assignment Petition.pdf         1211660       9/15/2023 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78472              Letter from IPA.pdf                       186309       4/4/2022 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78472              Order to Trinity.pdf                      178915     10/30/2023 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78472              Pleadings.pdf                          30659787       3/30/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78472              Purchase Agreement.pdf                 11588911       3/30/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78472              Searches.pdf                              222675      3/30/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78472              Seller Affidavit.pdf                    2966618       3/30/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78472              W2G.pdf                                   360888       4/4/2022 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78472              W9.pdf                                  1097255        4/4/2022 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78472              Win Letter.pdf                          1051009       3/30/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              78479 Brown-Street, Jordyn.tv5             10241      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Annuity Contract.pdf                      246118      1/26/2022 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Application.pdf                         1224550       1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Assignment BTG to St James.pdf            128312      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Assignment Rightway to BTG.pdf            128467      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\78479              Information.pdf                           339808      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Authorization to Release.pdf               43733      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Bankruptcy Search.pdf                     147994      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Closing Binder.pdf                     22987611       1/25/2022 18:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Court Order.pdf                           656414      1/28/2022 15:33




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                                       3467



               All Paths/Locations                                  Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Credit Report.pdf                         1485764       1/26/2022 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Declaration.pdf                             107703      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Disclosure - CA.pdf                          94851      1/26/2022 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Disclosure - IA.pdf                          52099      1/26/2022 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Disclosure - IL.pdf                          54709      1/26/2022 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Disclosure - NV.pdf                          58185      1/26/2022 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Disclosure Affidavit.pdf                     38779      1/26/2022 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              DocuSign Certificate.pdf                    327806      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Drivers License.pdf                          45057      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Fasano.pdf                                   74622      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Lien Search.pdf                             199885      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Life Affidavit.pdf                          105134      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Medical Questionnaire.pdf                   603530      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Pleadings.pdf                            18969753       1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Purchase Agreement.pdf                      325349      1/26/2022 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Qualified Assignment.pdf                     96709      1/26/2022 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Redirection Confirmation New 78479.pdf      208864      4/25/2023 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Request for Change of Beneficiary.pdf        47082      1/26/2022 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Settlement Agreement.pdf                    131052      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Social Security Card.pdf                     54855      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              Stipulation.pdf                             292873      1/26/2022 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78479              UCC Search.pdf                              376602      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              78480 Brown-Street, Jordyn.tv5               10241      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              Application.pdf                           1224550       1/26/2022 18:26




                                                                1810
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1812 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              Assignment BTG to St James.pdf             128312      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              Assignment Rightway to BTG.pdf             128467      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\78480              Information.pdf                            339808      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              Authorization to Release.pdf                43733      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              Bankruptcy Search.pdf                      147994      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              Closing Binder.pdf                      22987611       1/25/2022 18:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              Court Order.pdf                            377973      1/28/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              Credit Report.pdf                        1485764       1/26/2022 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              Declaration.pdf                            107703      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              Disclosure - CA.pdf                         96157      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              Disclosure - NV.pdf                         61541      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              Disclosure - TX.pdf                         55505      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              Disclosure Affidavit.pdf                    37346      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              DocuSign Certificate.pdf                   327806      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              Drivers License.pdf                         45057      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              Fasano.pdf                                  74622      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              Lien Search.pdf                            199885      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              Life Affidavit.pdf                         105134      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              Medical Questionnaire.pdf                  603530      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              Pleadings.pdf                           18969753       1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              Purchase Agreement.pdf                     342386      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              Request for Change of Beneficiary.pdf       43869      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              Settlement Agreement.pdf                   131052      1/26/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              Social Security Card.pdf                    54855      1/26/2022 18:26




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1813 of
                                       3467



               All Paths/Locations                                  Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78480              UCC Search.pdf                                        376602      1/26/2022 18:26
                                              1-07-18 Bryan Chancellor 1 - AC FP200681 GS
Saiph consulting|\Audit Materials Received-   600803 - Buyer Stephanie Nardone - Final Closing
SuttonPark\Closing Binders\78490              Book (002).pdf                                     20618507      11/18/2019 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78490              78490 Chancellor, Bryan.tv5                            10948      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78490              Assignment NEAA to Stefany Nardone.pdf                 55373      2/16/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78490              Assignment WePayMore to NEAA.pdf                       38577      2/16/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78490              Benefits Letter.pdf                                   324409      2/16/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78490              Closing Binder.pdf                                 26074025       2/16/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78490              Collateral Assignment NEAA.pdf                      1155526       2/16/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78490              Court Order.pdf                                     2861495       2/16/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78490              Credit Report.pdf                                      95024      2/16/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78490              Declaration.pdf                                       222958      2/16/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78490              Disclosure - NY.pdf                                    36104      2/16/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78490              Disclosure - TX.pdf                                   120760      2/16/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78490              Divorce Decree.pdf                                  2575595       2/16/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78490              Drivers License.pdf                                    39413      2/16/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78490              Life Insurance Policy.pdf                           4132194       2/16/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78490              Premium Payment Confirmation.pdf                      411395      2/16/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78490              Purchase Agreement.pdf                                845724      2/16/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78490              Reassignment request for Stefany Nardone.pdf          491547      2/16/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78490              Searches.pdf                                           49010      2/16/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78490              Second Life Insurance Policy.pdf                    1059984       2/16/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78490              Servicing Agreement 2022.pdf                          732725      3/24/2022 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78490              Settlement Agreement Affidavit.pdf                    119757      2/16/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78490              Stipulation.pdf                                       977815      2/16/2022 13:40



                                                                1812
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1814 of
                                       3467



               All Paths/Locations                                  Unified Title              File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78490              UCC Search.pdf                                       45716       2/16/2022 13:40
                                              10-17-18 Frank Zapata - AC CCX0024841 GS
Saiph consulting|\Audit Materials Received-   600985 - Buyer Stefany Nardone - Final Closing
SuttonPark\Closing Binders\78492              Book (2).pdf                                      6502542       10/17/2018 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78492              78492 Zapata, Frank.tv5                                9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78492              Annuity Contract.pdf                                 97239      12/13/2023 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78492              Benefits Letter.pdf                                  67862      12/13/2023 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78492              Servicing Agreement 2022.pdf                      4865047        3/24/2022 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              78493 Acknowledgement.pdf                            47456       10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              78493 Annuity Policy.pdf                          2644334        10/9/2024 22:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              78493 Paquette, Monique.tv5                            9972      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              Application.pdf                                      55874       2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              Assignment Bentzen to Income Stream.pdf             169209       2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              Assignment Income Stream to Sprockett.pdf           112106       2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              Bankruptcy Search.pdf                                60197       2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              Closing Binder.pdf                                1990259        1/15/2014 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              ClosingBook-M.Paquette 2.pdf                      1990259        1/15/2014 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              Court Order.pdf                                     125474       2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              Disclosure - CT.pdf                                  28043       2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              Disclosure - DE.pdf                                  27796       2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              Disclosure - MA.pdf                                  31188       2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              Disclosure - MI.pdf                                  28019       2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              Drivers License.pdf                                  41343       2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              Letter requesting payments to Sprocett.pdf          221093       2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              New - Acknowledgement.pdf                            47456       10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              New - Annuity Policy.pdf                          2644334        10/9/2024 22:09



                                                             1813
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1815 of
                                       3467



               All Paths/Locations                                 Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              Purchase Agreement.pdf                      212794       2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              Redirection Confirmation New 78493.pdf       84967       6/27/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              Redirection Reconfiguration 78493.pdf     1254663        10/9/2024 21:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              Request For Acknowledgement.pdf              85278       2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74475              Benefits Letter.pdf                          31502      12/21/2021 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74475              BK Search.pdf                                99770      12/21/2021 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74475              Court Order.pdf                           1121801       12/21/2021 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74475              Disclosure ID.pdf                            94899      12/21/2021 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74475              Driver License and SSC.pdf                  323111      12/21/2021 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74475              Fasano Report.pdf                           100528      12/21/2021 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74475              HIPAA and Medical Questionnaire.pdf         523011      12/21/2021 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74475              IPA Letter.pdf                              106287      12/29/2021 22:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74475              Life Affidavit.pdf                           28191      12/21/2021 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74475              Pleadings.pdf                             1895556        12/23/2021 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74475              Purchase Agreement.pdf                      369793       12/23/2021 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74475              Searches.pdf                                 84995      12/21/2021 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              74490 Heinitz, Jason.tv5                       9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Ack of Life Insurance Premium.pdf            19296        2/2/2022 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Acknowledgment.pdf                           69693       10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Benefits Letter.pdf                       2036415       12/23/2021 11:42
Saiph consulting|\Audit Materials Received-   Berwyn Death Search 04042023 Jason T
SuttonPark\Closing Binders\74490              Heinitz.pdf                                  75974        4/4/2023 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Berwyn.pdf                                   92167      11/17/2021 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              BK Search.pdf                               102317      11/16/2021 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              CA Ack.pdf                                   30183        2/1/2022 10:03




                                                               1814
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1816 of
                                       3467



               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              CA- Blank.pdf                                 318997       2/1/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              CA- Complete.pdf                              334513       1/21/2022 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Court Order - Amended.pdf                     384617      1/14/2022 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Court Order.pdf                               684444       1/6/2022 18:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Credit Report.pdf                              24836      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Declaration.pdf                               104457     12/23/2021 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Disclosure CT.pdf                              99396     12/23/2021 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Disclosure NE.pdf                             102384     12/23/2021 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Disclosure WA.pdf                             100812     12/23/2021 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Docusign Cert 49EC.pdf                        175215     11/10/2021 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Docusign Cert ED1B.PDF                        182785      11/16/2021 6:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Fasano Report.pdf                             105238     11/17/2021 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Final Transfer Package.pdf                  7280074       12/9/2021 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              IPA Waiver.pdf                                 84902     12/23/2021 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Lien Search.pdf                                70090      12/30/2021 7:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Life Insurance Policy.pdf                   1604280        1/6/2022 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Medical Queationnaire and HIPAA.pdf         7502424       11/3/2021 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              NASP Search.pdf                                99873     11/17/2021 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              OAS.pdf                                     1136278      12/23/2021 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Pending - TransACT - Producer.pdf              92363       2/1/2022 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Petition for OAS.pdf                        1674152      12/23/2021 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Pleadings.pdf                               2769598      12/29/2021 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Prior Orders.pdf                            4559765      12/23/2021 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Proof premium withdrawn from account.pdf      602668       2/1/2022 17:10




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               All Paths/Locations                                Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Purchase Agreement.pdf                               331470     12/23/2021 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Redirection Confirmation New 74490.pdf               549015      8/24/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Same Name Affidavit.pdf                              105110     12/23/2021 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              Signed Assignment.pdf                                 34082       2/2/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              SSC.PDF                                               35977     12/29/2021 14:38
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Jason Heinitz POLICY 85057
SuttonPark\Closing Binders\74490              052622.pdf                                           358283      6/14/2022 10:45
Saiph consulting|\Audit Materials Received-   Successful transmission Berwyn Mortality Search
SuttonPark\Closing Binders\74490              Report for Jason T Heinitz.pdf                       116376       4/4/2023 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74490              UCC Search.pdf                                        96604      12/30/2021 7:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74531              74531 Hammond, Michelle.tv5                           10240      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74531              Acknowledgment.pdf                                   533133       2/23/2022 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74531              Affidavit.pdf                                        127511     12/21/2021 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74531              Application.pdf                                      300074     12/21/2021 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74531              Assignment Broadscope to Redstone.pdf                 67038     12/21/2021 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74531              Authorization.pdf                                     65843     12/21/2021 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74531              Benefits Letter.pdf                                   31502     12/21/2021 16:10
Saiph consulting|\Audit Materials Received-   Berwyn Death Search 04052023 Michelle Marie
SuttonPark\Closing Binders\74531              Hammond.pdf                                           81463       4/5/2023 12:08
Saiph consulting|\Audit Materials Received-   Berwyn Death Search_052622 Michelle
SuttonPark\Closing Binders\74531              Hammond.pdf                                          168973        6/6/2022 0:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74531              BK Search.pdf                                         99770     12/21/2021 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74531              Court Order.pdf                                    1121801      12/21/2021 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74531              Disclosure ID.pdf                                     94899     12/21/2021 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74531              Driver License and SSC.pdf                           323111     12/21/2021 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74531              Fasano Report.pdf                                    100528     12/21/2021 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74531              HIPAA and Medical Questionnaire.pdf                  523011     12/21/2021 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74531              IPA Letter.pdf                                       106287     12/29/2021 22:57



                                                               1816
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1818 of
                                       3467



               All Paths/Locations                                 Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74531              Life Affidavit.pdf                                    28191     12/21/2021 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74531              Pleadings.pdf                                      1895556       12/23/2021 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74531              Purchase Agreement.pdf                               369793      12/23/2021 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74531              Searches.pdf                                          84995     12/21/2021 16:15
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Michelle Marie Hammond
SuttonPark\Closing Binders\74531              POLICY I668619 052622.pdf                            358934      6/14/2022 10:39
                                              Successful transmission Berwyn Mortality Search
Saiph consulting|\Audit Materials Received-   Report for Michelle Marie Hammond Policy
SuttonPark\Closing Binders\74531              I668619.pdf                                          117061       4/5/2023 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74542              74542 Green, Dayshawn.tv5                             10439      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74542              Affidavit in Lieu of SA.pdf                          217537     12/28/2021 17:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74542              Affidavit.pdf                                        382422     12/28/2021 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74542              Application.pdf                                      127382     12/20/2021 19:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74542              Assignment.pdf                                       156212      1/20/2022 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74542              Benefits Letter.pdf                                2377294       1/19/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74542              Court Order.pdf                                      115884      10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74542              Credit Report.pdf                                     25513     12/20/2021 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74542              Disclosure IA.pdf                                    282043     12/28/2021 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74542              Disclosure NY.pdf                                    341832     12/28/2021 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74542              Identification Card.pdf                            2382610      12/28/2021 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74542              Infant Compromise Order.pdf                          379327       5/20/2021 5:11
Saiph consulting|\Audit Materials Received-   Luigis Memo on why approval from settling court
SuttonPark\Closing Binders\74542              isnt needed.pdf                                      148678      1/19/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74542              Pleadings.pdf                                      3138939      12/28/2021 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74542              Proof of Disc Delivery.pdf                           775083     12/28/2021 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74542              Purchase Agreement.pdf                             2480767      12/28/2021 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74542              Searches.pdf                                         382491     12/20/2021 19:42




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                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74542              Social Security Card.pdf              1643190       12/28/2021 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74542              Stipulation.pdf                          87225        1/20/2022 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74559              74559 Brown, Madison.tv5                   9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74559              Affidavit.pdf                            61367      12/28/2021 16:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74559              Application.pdf                       1493270       12/30/2021 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74559              Bankruptcy Search.pdf                    53301      12/28/2021 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74559              Closing Binder.pdf                    4401362       12/27/2021 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74559              Court Order.pdf                       3445578       12/29/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74559              Credit Report.pdf                        56672        1/3/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74559              Disclosure IL.pdf                        61989      12/28/2021 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74559              Disclosure IN.pdf                        55739      12/28/2021 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74559              DocuSign 138.pdf                         45872      12/28/2021 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74559              DocuSign 905.pdf                         73397      12/28/2021 17:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74559              Driver License.pdf                    1026785       12/28/2021 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74559              Madison Brown Assignment.pdf            216288        1/5/2022 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74559              PI Docket MB.pdf                        709920        1/4/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74559              Pleadings.pdf                        10857474       12/28/2021 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74559              Purchase Agreement.pdf                  565749      12/28/2021 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74559              Searches.pdf                             76395      12/28/2021 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74559              Settlement Agreement Affidavit.pdf       55294      12/28/2021 16:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74559              SS Card.pdf                             257254      12/28/2021 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74559              Stipulation.pdf                       1087359         1/4/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74559              ZIP Code USPS.pdf                        77728         1/3/2022 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74560              74560 Smith, Joel.tv5                    10378       10/9/2024 17:35




                                                                1818
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1820 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74560              Ack Letter.pdf                          61881     12/21/2021 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74560              Authorization.pdf                      992830       8/9/2021 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74560              Award Letter.pdf                       581813       8/25/2021 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74560              Court Order.pdf                        148990      12/3/2021 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74560              Disclosure CT.pdf                    1209962      10/20/2021 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74560              DL.pdf                                 321334       2/23/2021 7:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74560              Mini Assignment.pdf                    505865     11/19/2021 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74560              Pleading.pdf                         8863451       10/9/2024 22:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74560              POS TO LOTTERY.pdf                     463571     12/23/2021 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74560              POS.pdf                                495395     11/23/2021 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74560              Purchase Agreement.pdf               8986546      12/28/2021 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74560              Residence.pdf                          522058     10/20/2021 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74560              Searches.pdf                           668302      12/28/2021 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74560              Signed Affidavit.pdf                 2654492      10/20/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74560              SSN Verification.pdf                   382478      8/31/2020 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74560              UCC Search.pdf                         585791      12/28/2021 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74560              W9.pdf                               1631781      10/20/2021 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              2 Person Notifier.pdf                  364205      11/15/2021 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              74561 Sepulvado, John.tv5               10430      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Acknowledgment.pdf                      77596        2/2/2022 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Annuity Application.pdf                136192     12/30/2021 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Application.pdf                      2322259      12/28/2021 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Assignment.pdf                          38487      1/12/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Authorization.pdf                      511625     12/30/2021 14:10




                                                               1819
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1821 of
                                       3467



               All Paths/Locations                                 Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Bankruptcy Search.pdf                               229209     12/30/2021 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Benefits Letter.pdf                                  22495     12/30/2021 14:06
                                              Berwyn Death Search 09012023 John Sepulvado
Saiph consulting|\Audit Materials Received-   aka John F Sepulvado aka John Farron Sepulvado
SuttonPark\Closing Binders\74561              Policy 86382937I.pdf                                330853       9/1/2023 12:19
Saiph consulting|\Audit Materials Received-   Berwyn Death Search_12082022 John
SuttonPark\Closing Binders\74561              Sepulvado.pdf                                       151996      2/10/2023 13:04
Saiph consulting|\Audit Materials Received-   Berwyn Death Search_6302022_John
SuttonPark\Closing Binders\74561              Sepulvado.pdf                                       159300      7/19/2022 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              BinderForDealNumber50725.pdf                     11234819      12/30/2021 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Court Order.pdf                                     249393      10/9/2024 20:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Credit Report.pdf                                   448042     12/30/2021 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Disclosure DE.pdf                                 1389093      12/28/2021 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Disclosure OH.pdf                                 1229853      12/28/2021 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Disclosure TX.pdf                                 1049212      12/28/2021 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Divorce Decree.pdf                                  312252     12/16/2021 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Driver License.pdf                                  374613     12/28/2021 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Fasano Report.pdf                                   102828     11/18/2021 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Final Transfer Package.pdf                        8235129      11/17/2021 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              HIPAA.pdf                                         1453536      12/28/2021 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Lien Search.pdf                                      68422     12/30/2021 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Life Affidavit.pdf                                  431001      11/15/2021 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Medical Questionnaire.pdf                           362078     12/28/2021 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Order.PDF                                           111730      12/7/2021 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Payees Request to Conceal.pdf                       252306     12/28/2021 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Pleadings.pdf                                     1863406      12/30/2021 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Prior Order - 2010 SCC.pdf                          269560     12/28/2021 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Proof of SSN.pdf                                    421107      1/12/2022 13:24



                                                              1820
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1822 of
                                       3467



               All Paths/Locations                                 Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              Purchase Agreement.pdf                         1153648      12/30/2021 14:05
                                              Successful transmission to 15134192715. Re:
Saiph consulting|\Audit Materials Received-   BERWYN MORTALITY SEARCH REPORT FOR John
SuttonPark\Closing Binders\74561              Sepulvado POLICY 86382937I                       124416      7/21/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              UCC Search.pdf                                    72074     12/30/2021 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74561              W-9.pdf                                        4415294       11/15/2021 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74589              74589 Combined Docs - 1-03-2022.pdf           13629787        1/3/2022 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74589              74589 Jacobs, Jason.tv5                           10001      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74589              Acknowledgement.pdf                               24328      1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74589              Annuity Contract.pdf                             760546      1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74589              Application.pdf                                1648937       1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74589              Assignment Marinaro Trust to Sutton.pdf          425798      1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74589              Assignment to Income Stream.pdf                   15144      1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74589              Assignment to Marinaro.pdf                       153781      1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74589              Benefits Letter.pdf                            1700696       1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74589              Closing Binder.pdf                            13629787        1/3/2022 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74589              Court Order.pdf                                  195517      1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74589              Credit Report.pdf                                 54776      1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74589              Disclosure - OH.pdf                              581769      1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74589              Purchase Agreement.pdf                         5488781       1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74589              Request For Acknowledgement.pdf                  109392      1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74589              Request for Change of Beneficiary.pdf            497922      1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74589              Searches.pdf                                     600728      1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74589              Servicing Agreement.pdf                        3127243       3/30/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74589              Settlement Agreement.pdf                         911430      1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74590              74590 Combined Docs - 1-03-2022.pdf            3368756        1/3/2022 13:06



                                                             1821
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1823 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74590              74590 Stipulation Fully signed.pdf         844630      1/19/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74590              74590 Williams-Gilmore, Mychal.tv5          10951      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74590              Annuity Contract.pdf                       324309      1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74590              Application.pdf                            104140      1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74590              Assignment JG to StratCap.pdf              119510      1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74590              Assignment StratCap to NEAA.pdf             15703      1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74590              Closing Binder.pdf                       3368756        1/3/2022 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74590              Court Order.pdf                            106274      1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74590              Credit Report.pdf                           73973      1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74590              Disclosure - TX.pdf                         35950      1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74590              New - Stipulation.pdf                      844630      1/19/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74590              Purchase Agreement.pdf                     119833      1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74590              Request for Annuity Contract.pdf            33625      1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74590              Request for Change of Beneficiary.pdf       33858      1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74590              Searches.pdf                               600484      1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74590              Seller Identification.pdf                  213006      1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74590              Servicing Agreement 2022.pdf               681926      3/24/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74590              Stip.pdf                                 1504922       1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74590              Stipulation.pdf                            844629      1/24/2022 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74604              2735.pdf                                   303691      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74604              74604 Posada-Estrada, Patricia.tv5          10440      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74604              75CC.pdf                                   309046      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74604              Ack Letter.pdf                             207495      12/30/2021 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74604              Affidavit.pdf                            2798618       10/9/2024 22:11




                                                                1822
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                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74604              Assignment.pdf                          518601       10/9/2024 21:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74604              Authorization.pdf                       529231       9/29/2021 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74604              Award Letter.pdf                        184335       11/16/2021 7:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74604              Court Order.pdf                         149707      12/17/2021 18:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74604              Credit.pdf                              210577        1/4/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74604              Driver License.pdf                       81653      10/21/2020 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74604              Pleading.pdf                            754907      12/17/2021 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74604              Purchase Agreement.pdf                8008121          1/4/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74604              Residence.pdf                           277224       9/29/2021 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74604              Searches.pdf                          1305168        12/8/2021 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74604              SSC.pdf                               1499937         11/3/2020 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74604              UCC Search.pdf                        3282028        12/8/2021 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74604              W9.pdf                                  873307       9/29/2021 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74607              74607 Lindo, Oral.tv5                      9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74607              Acknowledgment.pdf                      169706      12/30/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74607              Affidavit.pdf                           660532       10/15/2021 7:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74607              Assignment to Trinity.pdf               101835      10/30/2023 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74607              Assignment.pdf                          504911       10/9/2024 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74607              Closing Binder.pdf                   19146933       12/30/2021 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74607              Court Order.pdf                         946261      11/22/2021 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74607              Declaration of Residence.pdf            158037       10/15/2021 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74607              Disclosure NY.pdf                       256737       10/15/2021 7:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74607              DocuSign Cert - CD4B.pdf              1471841         1/4/2022 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74607              Driver License - Spouse.pdf             121231        1/3/2022 12:18




                                                              1823
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                                       3467



               All Paths/Locations                                 Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74607              FCRA Disclosure and Authorization.pdf                251276      10/15/2021 8:01
Saiph consulting|\Audit Materials Received-   FILED - Lindo Oral Re-Assignment Petition 2021-
SuttonPark\Closing Binders\74607              2218.pdf                                           1883857      10/24/2023 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74607              Identification Card.pdf                               48873       1/3/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74607              NuPoint Affidavit.pdf                                437317        1/3/2022 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74607              ORDER - Oral Lindo 2021-2218.pdf                     167676     10/24/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74607              Pleadings.pdf                                      5082927         1/3/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74607              Purchase Agreement.pdf                             7210403         1/3/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74607              Searches.pdf                                         203823        1/3/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74607              UCC Search.pdf                                       684782        1/3/2022 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74607              W9.pdf                                               389494      10/15/2021 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74607              Win Letter - Unredacted.pdf                          757092      6/30/2020 19:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\74607              Win Letter.pdf                                     1189544      10/22/2021 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\75643              75643 Houck, Christopher.tv5                          10123      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\75643              ACK Letter.pdf                                       220832      1/13/2022 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\75643              Affidavit.pdf                                        118245        1/4/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\75643              Application.pdf                                      211183       1/3/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\75643              Assignment Agreement Executed.pdf                     25384        1/4/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\75643              Authorization for deductions.pdf                      71431       1/3/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\75643              Benefit Letter.pdf                                 1495391        1/3/2022 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\75643              Closing Book.pdf                                  14611711      12/30/2021 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\75643              Closing Statement Executed.pdf                       522680        1/5/2022 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\75643              Credit Report.pdf                                    201894       1/3/2022 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\75643              Disclosure IL.pdf                                     66639       1/3/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\75643              Disclosure VA.pdf                                     66898       1/3/2022 14:47




                                                               1824
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1826 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\75643              DocuSign D40.pdf                        160790        1/3/2022 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\75643              Driver License.pdf                       48588        1/3/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\75643              Final Order.pdf                         106259      12/30/2021 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\75643              List deps.pdf                           112080        1/3/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\75643              PI Docket.pdf                            98005        1/3/2022 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\75643              Pleadings.pdf                        14936871         1/3/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\75643              Purchase Agreement.pdf                  243181        1/3/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\75643              Searches.pdf                             89079        1/3/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\75643              Settlement Proposal.pdf                 143254        1/3/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\75643              Social Security card.pdf              1853133         1/3/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76113              76113 Springfield, Christopher.tv5         9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76113              Acknowledgment.pdf                      927992       1/24/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76113              Anti Garnishment Waiver.pdf             179439      12/30/2021 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76113              Application.pdf                         994394      12/30/2021 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76113              Assignment and Waiver.pdf               305030      12/30/2021 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76113              Authorization to Release.pdf            227515      12/30/2021 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76113              Award Letter.pdf                        500080         3/6/2018 7:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76113              CBC ucc.Pdf                              66939      12/28/2021 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76113              Closing Binder.pdf                    6308537       12/30/2021 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76113              Credit Report no info.pdf                14222       10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76113              Drivers License.pdf                     137402      12/30/2021 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76113              Instructions to Estate.pdf              468186      12/30/2021 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76113              New - Acknowledgment.pdf                927992       1/24/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76113              Power of Attorney.pdf                   689704      12/30/2021 15:14




                                                                1825
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1827 of
                                       3467



               All Paths/Locations                                 Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76113              Purchase Agreement.pdf                          1372357      10/30/2021 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76113              Request for Address Change.pdf                    510923      10/9/2024 20:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76113              Searches.pdf                                       15796      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76113              Social Security Card.pdf                          361040     12/30/2021 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76113              Testamentary Agreement.pdf                      1052914      12/30/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76113              UCC filing.pdf                                    173001      10/9/2024 19:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76113              W9.pdf                                            411095     12/30/2021 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76130              76130 Sarappa, Austin.tv5                          10445      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76130              Acknowledgment.pdf                                 99880      2/15/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76130              Affidavit in Lieu of SA.pdf                       105618      1/21/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76130              Annuity Contract.pdf                              528225     12/17/2021 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76130              Application.pdf                                   625565       1/6/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76130              Benefits Letter.pdf                               101353     12/17/2021 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76130              Closing Binder.pdf                              6012781       1/21/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76130              Court Order.pdf                                   415171        2/1/2022 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76130              Credit Report.pdf                                  29084       1/6/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76130              Disclosure CT.pdf                                 130565      1/21/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76130              Disclosure FL.pdf                                 135693      1/21/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76130              Docusign Cert - CT Disc.pdf                       338614      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76130              Driver License.pdf                                281115      1/21/2022 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76130              Pleadings.pdf                                   1962140       1/21/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76130              Purchase Agreement.pdf                          1330880       1/21/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76130              Redirection Confirmation New 76130.pdf             52754       5/2/2022 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76130              Redirection Reconfig Letter up04-07-2022.pdf    7222890        4/6/2022 15:47




                                                               1826
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1828 of
                                       3467



               All Paths/Locations                                 Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76130              Searches.pdf                                      402254      1/21/2022 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76130              Settlement Agreement.pdf                          797879     12/17/2021 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76130              Social Secuirty Card.pdf                          132436      1/21/2022 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76132              76132 Aviles, Victor.tv5                           10442      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76132              Affidavit in Lieu of SA.pdf                       114798      1/19/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76132              Annuity Info Ltr - Policy number.pdf            2798795       1/19/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76132              Application.pdf                                   160842       1/6/2022 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76132              Benefits Letter.pdf                                82702      1/24/2022 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76132              Closing Binder.pdf                             13506505       1/19/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76132              Court Order.pdf                                   180680      1/24/2022 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76132              Credit Report.pdf                                  45730       1/6/2022 19:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76132              Declaration - Notarized.pdf                     2889116       1/24/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76132              Declaration.pdf                                   170599      1/19/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76132              Description of Periodic Payments.pdf              108883      1/19/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76132              Disclosure MA.pdf                                 154731      1/19/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76132              Docusign Cert - PA Docs.pdf                       321225      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76132              Driver License.pdf                              4063021       1/19/2022 10:42
Saiph consulting|\Audit Materials Received-   Order Approving Settlement - Wrong
SuttonPark\Closing Binders\76132              Payments.pdf                                       56465       8/30/2021 4:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76132              Pleadings.pdf                                   2140299       1/19/2022 10:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76132              Purchase Agreement.pdf                          1355900       1/19/2022 10:44
Saiph consulting|\Audit Materials Received-   Redirection Confirmation New_Protective Life
SuttonPark\Closing Binders\76132              up03-03-2023.pdf                                  340590        3/3/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76132              Searches.pdf                                      415511      1/19/2022 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76132              Settlement Docket.pdf                             614042      1/20/2022 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76132              Social Security Card.pdf                        2552500       1/19/2022 10:42




                                                              1827
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1829 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76132              Stip - Missing Lincoln.pdf              185816       1/24/2022 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76132              Stipulation.pdf                         167809        1/27/2022 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76134              76134 Booth, Serenity.tv5                10282       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76134              Acknowledgment.pdf                       66002       2/10/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76134              Affidavit Notarized.pdf                 114525       4/22/2019 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76134              Affidavit.pdf                           129842        1/5/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76134              Benefit Letter.pdf                      108126        1/24/2022 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76134              Closing Binder.pdf                    8461578         1/5/2022 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76134              Court Order.pdf                       2137933        1/18/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76134              Credit Report.pdf                        31666        1/3/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76134              Disclosure KY.pdf                       127071        1/5/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76134              Disclosure MN.pdf                       145385        1/5/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76134              Docusign Cert - PA Docs.pdf             315931       10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76134              Driver License.pdf                      150717        1/5/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76134              IPA Letter.pdf                          180187         1/6/2022 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76134              Order Approving Settlement.pdf          199796       6/15/2021 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76134              Pleadings.pdf                         1223379         1/5/2022 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76134              POS-Memo.pdf                             81448       1/19/2022 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76134              Proof of SSN - W2.pdf                 4185504         1/5/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76134              Purchase Agreement.pdf                1337201         1/5/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76134              Searches.pdf                            406213        1/5/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76134              ZIP Code USPS.pdf                        79905        1/5/2022 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              2D36.pdf                                167944       1/13/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              76135 Garza, Esteban.tv5                   9999      10/9/2024 17:29




                                                                1828
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1830 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Acknowledgment.pdf                      202595       1/28/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Affidavit.pdf                           162359        1/17/2022 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Annuity Contract.pdf                    152904        7/13/2021 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Application.pdf                         510688        1/14/2022 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Bankruptcy Searches.pdf                 118163      12/10/2021 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Benefits Letter.pdf                     353938        1/17/2022 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Court Order.pdf                         471483       1/21/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Credit Report.pdf                       219030      12/14/2021 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Disclosure CT.pdf                       105569        1/17/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Disclosure NY.pdf                        83755        1/17/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Disclosure TX.pdf                        96719        1/17/2022 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              DocuSign Cert 9FE1.pdf                   66820      11/18/2021 18:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Driver License.pdf                      208646        1/17/2022 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Fasano Report.pdf                        99213      11/23/2021 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              HIPAA.pdf                             7865340         1/14/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Judgement backup.pdf                       2147      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Judgment Searches.pdf                   148436      12/10/2021 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Lien Searches.pdf                       109525      12/10/2021 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Medical Questionnaire.pdf               353883       10/9/2024 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Notarized Doc.PDF                        66390        1/20/2022 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Notice of Child Support lien.pdf         93543       1/10/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Payees Request to conceal ID.pdf         91883        1/17/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Pleadings.pdf                         5469715        1/17/2022 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Purchase Agreement.pdf                4199707        1/17/2022 10:03




                                                              1829
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1831 of
                                       3467



               All Paths/Locations                                Unified Title              File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Redirection Confirmation New 76135.pdf             56027        5/6/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Redirection Reconfig Letter up04-07-2022.pdf    7222890         4/6/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              Release Indemity and Covenant Not To Sue.pdf    6858109         7/13/2021 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              SSN Verification.pdf                              249411       1/17/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76135              UCC Searches.pdf                                  124494      12/10/2021 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              76138 Nino, Maria.tv5                                9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Acknowledgment.pdf                                100843        2/1/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Affidavit in Lieu of SA.pdf                       100613       1/23/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Annuity Contract.pdf                              102413       1/23/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Application.pdf                                   356971       1/23/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Assignment JCL Capital to BTG Advisors.pdf        127652       1/21/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Assignment to BTG Advisors to St James.pdf        127500       1/21/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Authorization.pdf                                  98421       1/23/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Bankruptcy Search.pdf                             149119       1/23/2022 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Benefits Letter.pdf                                26112       1/23/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Closing Book - Maria Nino.pdf                   6149598        1/20/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              COB Request - Notarized.pdf                        69692       1/23/2022 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Court Order.pdf                                   222214       1/23/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Credit Report.pdf                                 580074       1/24/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Declaration.pdf                                   251786       1/24/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Disclosure Affidavit.pdf                           46768       1/23/2022 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Disclosure AZ.pdf                                 160378       1/23/2022 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Disclosure CT.pdf                                 143129       1/23/2022 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Disclosure TX.pdf                                 163700       1/23/2022 11:06




                                                              1830
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                                       3467



               All Paths/Locations                                Unified Title                  File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Doc Request Letter - Notarized.pdf                     87854       1/23/2022 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Permanent Resident ID Card.pdf                        245773       1/23/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Pleadings.pdf                                       3762704        1/23/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Purchase Agreement.pdf                                619205       1/23/2022 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Qualified Assigment.pdf                                72926       1/23/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Redirection Reconfig Letters 76138- 11-17-22.pdf      348740      11/17/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Request for Acknowledgment.pdf                        729215       1/21/2022 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              SA Search Results.pdf                                  78539       1/23/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Searches.pdf                                          205457       1/23/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              Social Security Card.pdf                              118494       1/23/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\76138              UCC Search.pdf                                        379522       1/23/2022 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              78144 Sewalish, Anthony.tv5                              9994      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              Annuity Contract.pdf                                  236864        1/5/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              Application.pdf                                       283707        1/5/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              Assigment.pdf                                          27411        1/5/2022 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              Authorization for Deductions.pdf                       65129        1/5/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              Benefts Letter - Updated.pdf                           25362        1/5/2022 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              Closing Book - Anthony Sewalish.pdf                13261956       12/13/2021 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              Court Order - Singer.pdf                              350127        6/9/2015 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              Court Order.pdf                                     3094732        1/19/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              Disclosure FL.pdf                                      38921        1/5/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              Disclosure IA.pdf                                      39057        1/5/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              Disclosure NM.pdf                                      39143        1/5/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              Disclosure OH.pdf                                      40588        1/5/2022 10:38




                                                              1831
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                                       3467



               All Paths/Locations                                 Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              DocuSign Cert- Closing Statement.pdf      194724       10/9/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              DocuSign Certs.pdf                         99005        1/5/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              Driver License.pdf                        136647        1/5/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              Final Default Judgement - Singer.pdf      287558        1/5/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              NASP Seach.pdf                             91767        1/5/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              Pleadings.pdf                           8430230         1/5/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              Proof of SSN.pdf                          193240        1/5/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              Purchase Agreement.pdf                    346940        1/5/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              Request for Annuity Docs.pdf               63046        1/5/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              Searches.pdf                              107678        1/5/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              Settlement Agreement.pdf                  673672        1/5/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              Stipulation.pdf                         4957304        1/19/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78144              UCC Search.pdf                            102800        1/5/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78146              78146 Mobley, Ladarius.tv5                   9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78146              Annuity Contract Cert.pdf                  19220        1/5/2022 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78146              Application.pdf                           198631        1/5/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78146              Assignment.pdf                             21891        1/5/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78146              Authorization for Deductions.pdf           91532        1/5/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78146              Certification.pdf                         118541        1/5/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78146              Change of Bene Request.pdf                106931        1/5/2022 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78146              Closing Book - Ladarius Mobley.pdf     10991781       12/20/2021 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78146              Court Order.pdf                         1390705         1/14/2022 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78146              Credit Report.pdf                         118173        1/5/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78146              Disclosure FL.pdf                          54475        1/5/2022 12:47




                                                                1832
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1834 of
                                       3467



               All Paths/Locations                                 Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78146              Disclosure TX.pdf                           53982        1/5/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78146              DocuSign Cert - Closing Statement.pdf      205849       10/9/2024 19:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78146              DocuSign Cert.pdf                           75093        1/5/2022 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78146              Driver License.pdf                       2309064         1/4/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78146              NASP Search.pdf                             91819        1/5/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78146              PI Docket.pdf                               72830        1/5/2022 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78146              Pleadings.pdf                            7185382         1/5/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78146              Purchase Agreement.pdf                     379070        1/5/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78146              Searches.pdf                                98897        1/5/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78146              Social Security Card.pdf                 3693441         1/4/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78146              Stipulation.pdf                            528768       1/21/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78146              UCC Search.pdf                             102144        1/5/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78153              78153 Andresen, Robert.tv5                    9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78153              Affidavit.pdf                              220296      11/29/2021 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78153              Application.pdf                            335150      11/29/2021 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78153              Assignment executed.pdf                     37433       1/10/2022 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78153              Closing Binder.pdf                      20959179         1/25/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78153              Court Order.pdf                            235485       1/24/2022 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78153              Credit Report.pdf                          203660        1/3/2022 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78153              Disclosure Affidavit.pdf                    82576      11/29/2021 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78153              Disclosure IL.pdf                        1360170         1/5/2022 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78153              Disclosure MI.pdf                        1557986         1/5/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78153              Disclosure.pdf                           1911994         1/5/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78153              Documents                                  710144       11/8/2021 17:57




                                                                1833
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1835 of
                                       3467



               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78153              Document Package_Andresen.pdf          627171       11/8/2021 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78153              Partial Annuity Contract.pdf           249525       7/15/2021 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78153              Pleadings.pdf                       10133801         1/5/2022 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78153              Purchase Agreement.pdf               2632821         1/5/2022 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78153              Rayvin Driver License.pdf               98756        1/5/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78153              Reason for Settlement.pdf            1301054        1/10/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78153              Robert ID.pdf                           87432         1/5/2022 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78153              Searches.pdf                           417726        1/5/2022 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78153              SS Card.pdf                             91161      11/29/2021 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78153              Stipulation.pdf                        310270        1/25/2022 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78153              ZIP Code USPS.pdf                       79121        1/5/2022 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78155              78155 Lugo, David.tv5                     9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78155              AL.pdf                                  43748         1/6/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78155              Annuity Payment Description.pdf        942121         2/7/2022 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78155              Application.pdf                        195365         1/6/2022 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78155              Assignment Agreement Executed.pdf       23079       1/19/2022 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78155              Authorization.pdf                       65143         1/6/2022 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78155              Certification.pdf                       91396         1/6/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78155              Closing Book - David Lugo.pdf        5975509         1/4/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78155              Court Order.pdf                        634031       1/17/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78155              Credit.pdf                             100776         1/6/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78155              D437.pdf                                70468         1/6/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78155              DL and SSC.pdf                       1005797          1/6/2022 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78155              IL.pdf                                  44146         1/6/2022 8:56




                                                                1834
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1836 of
                                       3467



               All Paths/Locations                                Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78155              NE.pdf                                     44575         1/6/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78155              PI Docket.pdf                             148105         1/6/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78155              Pleadings.pdf                           1789069          1/6/2022 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78155              Purchase Agreement.pdf                    338739         1/6/2022 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78155              Searches.pdf                               57459         1/6/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78155              Stipulation.pdf                           349864        1/18/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78155              ucc.pdf                                    51242         1/6/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78164              78164 Sarzynski, Patience.tv5                9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78164              Annuity Contract.pdf                      917998        1/6/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78164              Application.pdf                           234948        1/6/2022 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78164              Assignment.pdf                            880603       10/9/2024 21:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78164              Court Order.pdf                         1984741         1/7/2022 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78164              Credit Report.pdf                          85284        1/6/2022 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78164              Disclosure CO.pdf                         335278        1/6/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78164              Disclosure NE.pdf                         488424        1/6/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78164              Disclosure WA.pdf                         348590        1/6/2022 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78164              Divorce Decree.pdf                        421827       5/27/2021 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78164              DocuSign Cert - 58FF.pdf                   25214        1/6/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78164              Identification Card.pdf                    41520        1/6/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78164              Order Approving Minor Settlement.pdf      892700        1/6/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78164              Pleadings.pdf                           3157992         1/6/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78164              Pre-Closing Book - Rev. 01.05.22.pdf    9150494          1/5/2022 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78164              Proof of Disc Delivery.pdf                113247        1/6/2022 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78164              Purchase Agreement.pdf                  1412217         1/6/2022 10:28




                                                                1835
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                                       3467



               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78164              Qualified Assignment.pdf                 439049        1/6/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78164              Searches.pdf                             125919        1/6/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78164              Social Security Card.pdf                 388337        1/6/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78164              Statement in Support.pdf                 382106        1/6/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78164              Stip.pdf                                 384935        1/6/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78164              Stipulation.pdf                        1416991        1/18/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78166              78166 Norton, Benjamin.tv5                  9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78166              Ack Letter - Benjamin Norton.pdf          41786       4/18/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78166              Affidavit in Lieu Of Settlement.pdf      350894       3/10/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78166              Affidavit.pdf                            550286       3/10/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78166              Application Norton.pdf                   319850        3/8/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78166              Bankruptcy.pdf                           116135       3/10/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78166              Benefit Letter.pdf                       107325       3/28/2022 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78166              Closing Binder.pdf                    57363567        3/29/2022 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78166              Court Order.pdf                          237785       3/24/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78166              Credit Report.pdf                         34436         1/5/2022 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78166              Disclosure KY.pdf                        379855       3/10/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78166              Disclosure MN.pdf                        424602       3/10/2022 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78166              Disclosure NY.pdf                        467763       3/10/2022 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78166              DocuSign Cert 4CE4.pdf                   234874       10/9/2024 20:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78166              Driver License.pdf                       140943       3/10/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78166              IPA Letter.pdf                           167555      12/29/2021 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78166              LEXIS Docket Search.pdf               14371453          1/5/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78166              New - Acknowledgment.pdf                  41786       4/18/2022 11:36




                                                                1836
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                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78166              Norton Notarized Doc.pdf                  886838      3/30/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78166              Pleadings.pdf                           2494695       3/10/2022 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78166              Purchase Agreement.pdf                  6699253       3/10/2022 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78166              Searches.pdf                              288859       3/8/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78166              Social Security Card.pdf                  229880      3/10/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78166              USPS Zip Code.pdf                         155763      3/10/2022 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78171              78171 Grissom, Dajyne.tv5                  10128      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78171              Application.pdf                           215562       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78171              Authorization to Release.pdf              205834       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78171              Bankruptcy Search.pdf                      91924       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78171              Benefits Letter.pdf                        47745       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78171              Closing Binder.pdf                     13445963        1/5/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78171              Court Order.pdf                           391633       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78171              Credit Report.pdf                         261780       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78171              Disclosure - NV.pdf                       418739       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78171              Disclosure - TX.pdf                       349979       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78171              DocuSign Certificates.pdf                 124472       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78171              Judgment.pdf                               27071      9/21/2021 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78171              PI Case Docket.pdf                        500060       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78171              Pleadings.pdf                           6495750        1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78171              Purchase Agreement.pdf                  2803511        1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78171              Searches.pdf                              337956       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78171              Seller Affidavit.pdf                      362454       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78171              Seller Identification.pdf                 114110       1/5/2022 13:37




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               All Paths/Locations                                  Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78171              Social Security Card.pdf                     118921        1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78171              Stipulation.pdf                              405652       1/18/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78198              78198 Luis, Sergio.tv5                          9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78198              Annuity Contract.pdf                       1255788        4/18/2022 22:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78198              Application.pdf                            1354867        10/9/2024 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78198              Authorization for Annuity Documents.pdf       52945       4/18/2022 22:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78198              Closing Binder.pdf                         6454231        4/18/2022 22:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78198              Credit Report.pdf                            599036       4/19/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78198              Declaration.pdf                              431605       4/18/2022 22:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78198              Disclosure - NJ.pdf                           94252       4/18/2022 22:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78198              Disclosure - TX.pdf                           78147       4/18/2022 22:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78198              Luis Signed Order.pdf                      1991237       11/22/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78198              PO Stip.pdf                                5475566       10/26/2023 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78198              Purchase Agreement.pdf                     6719471        4/18/2022 22:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78198              Request for Change of Beneficiary.pdf         51887       4/18/2022 22:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78198              Searches.pdf                                  77079       4/19/2022 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78198              Seller Identification.pdf                    363617       4/18/2022 22:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78198              Settlement Agreement Affidavit.pdf           312822       4/18/2022 22:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78198              Settlement Proposal.PDF                      136119       1/11/2018 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78198              Social Security Card.pdf                     454107       4/18/2022 22:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78198              Stipulation.pdf                              845582       4/18/2022 22:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78198              UCC Search.pdf                                69869       4/19/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78207              5A98.pdf                                      46642        1/10/2022 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78207              78207 Denzer, Brandi.tv5                        9994      10/9/2024 17:29




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                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78207              Affidavit.pdf                            53772        1/10/2022 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78207              Application.pdf                          93335        1/10/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78207              bank statement - POR.pdf              2635082        1/18/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78207              Benefits Letter.pdf                     218009        1/10/2022 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78207              Child Support Garnishment.pdf           746695       7/15/2021 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78207              Court Order.pdf                         757694       1/20/2022 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78207              Credit Report.pdf                        82562       1/17/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78207              Disclosure FL.pdf                        78342        1/10/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78207              Disclosure OH.pdf                        95328        1/10/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78207              Disclosure PA.pdf                        74931        1/10/2022 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78207              Divorce decree.pdf                    1396216        5/15/2014 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78207              DL with updated address.pdf             255344       1/18/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78207              Driver License.pdf                      389032        1/10/2022 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78207              Executed Denzer APA.PDF                 508708       10/9/2024 20:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78207              Funding File Brandi Denzer.pdf        6719371         1/6/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78207              OAMC.pdf                                267371       1/23/2020 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78207              PA - Important Notice.pdf                44585        1/10/2022 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78207              Pleadings.pdf                        17388354         1/10/2022 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78207              Purchase Agreement.pdf                  593468        1/10/2022 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78207              SA Affidavit.pdf                         53820        1/10/2022 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78207              SSC.pdf                                 253266        1/10/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78207              Stipulation.pdf                       4246418        1/20/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              5A98.pdf                                 46642        1/10/2022 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              78208 Denzer, Brandi.tv5                   9997      10/9/2024 17:29




                                                                1839
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1841 of
                                       3467



               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              Affidavit.pdf                               53772       1/10/2022 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              Application.pdf                             93335       1/10/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              bank statement - POR.pdf                 2635082       1/18/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              Benefits Letter.pdf                        218009       1/10/2022 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              Child Support Garnishment.pdf              746695      7/15/2021 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              Court Order.pdf                            757694      1/20/2022 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              Credit Report.pdf                           82562      1/17/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              Disclosure FL.pdf                           78342       1/10/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              Disclosure OH.pdf                           95328       1/10/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              Disclosure PA.pdf                           74931       1/10/2022 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              Divorce decree.pdf                       1396216       5/15/2014 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              DL with updated address.pdf                255344      1/18/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              Driver License.pdf                         389032       1/10/2022 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              Executed Denzer APA.PDF                    508708      10/9/2024 20:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              Fasano Report.pdf                          136638       1/10/2022 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              Funding File Brandi Denzer.pdf           6719371        1/6/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              HIPAA.pdf                                1366534        1/10/2022 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              LE Analysis - Brandi Denzer 78208.pdf      190928      1/18/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              Medical Questionnaire.pdf                2532999        1/10/2022 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              OAMC.pdf                                   267371      1/23/2020 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              PA - Important Notice.pdf                   44585       1/10/2022 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              Pleadings.pdf                           17388354        1/10/2022 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              Purchase Agreement.pdf                     593468       1/10/2022 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              SA Affidavit.pdf                            53820       1/10/2022 9:04




                                                              1840
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1842 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              SSC.pdf                                 253266       1/10/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78208              Stipulation.pdf                       4246418       1/20/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78218              78218 Ziegler, Kenseth.tv5               10124      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78218              Application.pdf                          50488      1/10/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78218              Assignment.pdf                          171185      1/10/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78218              Closing Binder.pdf                    2355206       1/10/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78218              Closing Statement.pdf                   411021      10/9/2024 20:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78218              Court Order.pdf                         263469       1/6/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78218              Credit Report.pdf                        14688       1/6/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78218              Disclosure.pdf                          110982      1/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78218              Docusign Cert 70D7.pdf                  196170      10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78218              DocuSign Cert 8174.pdf                  198907      10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78218              Driver License.pdf                      426752       3/9/2021 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78218              News Article for Settlement.pdf         375104      5/19/2021 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78218              Payment Info.pdf                      2830155       4/27/2021 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78218              Pleadings.pdf                         1121207       1/10/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78218              Purchase Agreement.pdf                  228624      1/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78218              Searches.pdf                             10016      1/10/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78218              Social Security Card.pdf                310733      4/22/2021 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78218              Stipulation Executed.pdf              1699180       1/24/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78218              Ucc Search.pdf                           47930      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78218              Zip Code Look up 78218.pdf               80187      1/10/2022 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78228              78228 Aviles, Edgar.tv5                  15387      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78228              Affidavit.pdf                           109038      11/2/2021 12:01




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1843 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78228              Annuity Cert.pdf                         52598       11/2/2021 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78228              Application.pdf                         156909       11/2/2021 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78228              Benefits Letter.pdf                     296167       11/8/2021 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78228              Court Order.pdf                         122486       2/23/2022 16:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78228              Credit Report.pdf                       216468       1/12/2022 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78228              Declaration.pdf                         163699       11/2/2021 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78228              Disclosure Affidavit.pdf                 44467       1/20/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78228              Disclosure CA.pdf                       247825        1/21/2022 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78228              Disclosure TX.pdf                       249058       1/21/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78228              ID.pdf                                  121801        2/1/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78228              IPA Waiver.pdf                          474946       1/21/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78228              Pleadings.pdf                        28194604        1/21/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78228              Purchase Agreement.pdf                  628010       1/21/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78228              Reason for Settlement.pdf             1180604       12/14/2021 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78228              Samperio Assignment.pdf                  44333        3/9/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78228              Searches.pdf                            414019       1/12/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78228              SSC.pdf                                 131388        2/1/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78228              Stipulation.pdf                         481475        2/24/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78235              78235 Staker, Trae.tv5                     9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78235              Affidavit.pdf                           745599      11/22/2021 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78235              Annuity Contract.pdf                    185126       1/10/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78235              Application.pdf                         307586      11/17/2021 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78235              Assignment executed.pdf                 110049       1/20/2022 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78235              Benefit Letter.pdf                      567501        1/20/2022 9:54




                                                                1842
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1844 of
                                       3467



               All Paths/Locations                                 Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78235              Closing Binder.pdf                      31066344        1/10/2022 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78235              Closing Statement executed.pdf             409569       10/9/2024 20:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78235              Court Order.pdf                          1512079        10/9/2024 21:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78235              Credit Report.pdf                           53770       10/9/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78235              Disclosure FL.pdf                        2194009        1/10/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78235              DocuSign Cert 1329.pdf                     117728       1/20/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78235              DocuSign Cert 16C8.pdf                     185084       10/9/2024 19:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78235              DocuSign Cert B9B1.pdf                     187265       10/9/2024 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78235              Driver License.pdf                         200420       1/10/2022 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78235              NOH.pdf                                     67405       1/20/2022 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78235              PI Dcoket search results.pdf               250615       1/11/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78235              Pleadings.pdf                           29059899        1/10/2022 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78235              Purchase Agreement - Increased PP.pdf      377377        1/6/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78235              Purchase Agreement.pdf                   4174119        1/10/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78235              Searches.pdf                                15749       1/10/2022 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78235              SS Card.pdf                              3021172        1/20/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78235              UCC Search.pdf                             110157       1/10/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78249              78249 Nugent, Jaleel.tv5                      9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78249              Affidavit in lieu of SA.pdf                 85104       1/10/2022 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78249              Affidavit.pdf                               85577       1/10/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78249              Application.pdf                          1620087        1/10/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78249              Assignment.pdf                             143136       1/10/2022 16:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78249              Auth.pdf                                   117275       1/10/2022 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78249              Closing docs.pdf                        22176656         1/7/2022 15:25




                                                              1843
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1845 of
                                       3467



               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78249              COB Request.pdf                           65578       1/10/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78249              Court Order.pdf                          408954       1/10/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78249              Credit Report.pdf                        723406       1/10/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78249              Disclosure FL.pdf                        135126       1/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78249              Disclosure PA.pdf                        145148       1/10/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78249              Driver License.pdf                     1145461        1/10/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78249              Fasano Report.pdf                        153643       1/10/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78249              Medical Questionnaire and HIPAA.pdf    4510990        1/10/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78249              Pleadings.pdf                         22179624        1/10/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78249              Purchase Agreement.pdf                   489510       1/10/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78249              QA -Partial.pdf                       11244991        1/11/2022 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78249              Searches with SSN.pdf                    211195       1/10/2022 16:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78249              Searches.pdf                             195541       1/10/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78249              Settlement Doc.pdf                     4774596        1/11/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78249              Social Security Card.pdf               5301666        1/10/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78249              Stipulation.pdf                          349151       1/10/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78249              UCC.pdf                                   54322       1/10/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              78250 Reese, Tina.tv5                       9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              Affidavit in Lieu of SA.pdf               52029       1/10/2022 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              Annuity Contract.pdf                     247450       4/18/2013 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              Application.pdf                          347350       1/12/2022 20:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              Assignment.pdf                            17831       10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              Authorization.pdf                         58925       1/12/2022 20:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              Bankruptcy Search.pdf                     43015       1/12/2022 20:46




                                                                1844
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                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              BinderForDealNumber50741.pdf         6681586       1/12/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              Court Order.pdf                        441837      1/27/2022 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              Credit Report.pdf                       29453      1/12/2022 20:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              Disclosure IN.pdf                       85120      1/10/2022 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              Disclosure TX.pdf                       85202      1/10/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              Fasano Report.pdf                       98724      12/7/2021 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              Final Transfer Package.pdf           2447427      12/15/2021 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              Fraud Affidavit.pdf                     43434       1/26/2022 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              HIPAA.pdf                              299222      1/12/2022 20:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              Identification Card.pdf                 87392      1/10/2022 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              LE Analysis - corrected rate.pdf       191606      1/28/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              LE Analysis.pdf                      2628801       1/28/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              LC-Analysis-1-28-2022 Reese.xlsx     2914146       1/28/2022 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              Lien Search.pdf                         61685      1/12/2022 20:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              Medical Affidavit.pdf                   45682      12/13/2021 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              Medical Questionnaire.pdf              291756      1/12/2022 20:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              NASP Search.pdf                         82222      1/12/2022 20:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              Pleadings.pdf                       13591369       1/27/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              Purchase Agreement.pdf               1172959       1/12/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              SSC.PDF                                101933      1/24/2022 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              Stipulation.pdf                        364144      1/27/2022 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              UCC Search.pdf                         101996      1/12/2022 20:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78250              W9.pdf                                 102055      12/13/2021 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78252              55FB.pdf                               188781      10/9/2024 19:41




                                                                1845
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1847 of
                                       3467



               All Paths/Locations                                 Unified Title           File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78252              78252 Cambridge, Rita.tv5                          9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-   Allianz confirmation of address update to
SuttonPark\Closing Binders\78252              789582.pdf                                      260779       8/18/2022 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78252              Annuity Agreement.pdf                            28495       8/31/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78252              Application.pdf                               1331830         1/11/2022 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78252              Credit Report.pdf                                43735       1/10/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78252              Disclosure Statement.pdf                        146133        1/11/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78252              Driver License.pdf                            1867698         1/11/2022 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78252              Proof of SSN.pdf                              2795453         1/11/2022 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78252              Purchase Agreement.pdf                          848226        1/11/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78252              Searches.pdf                                       5235      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78252              SPIA LKBX Reconfiguration Allianz.pdf            61455       8/18/2022 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78252              Submission Docs.pdf                             139608        1/5/2022 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78252              UCC.pdf                                          48739       10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78252              Updated Confirmation of Payee and Bene.pdf       18032       1/20/2022 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78252              W9.pdf                                           68528        1/11/2022 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78262              78262 Schottler, Vincent.tv5                       9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78262              Application.pdf                                  44237       1/12/2022 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78262              Assignment Executed.pdf                         189193       1/18/2022 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78262              Closing Binder.pdf                            3891401        1/12/2022 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78262              Confirmation of Bene Change.pdf                 104395       1/14/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78262              Confirmation of Payee Change.pdf                113038       1/17/2022 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78262              Credit Report.pdf                                82925       1/10/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78262              Death Cert.pdf                                2646204        1/18/2022 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78262              Disclosure Statement.pdf                         55912       1/12/2022 11:07




                                                               1846
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1848 of
                                       3467



               All Paths/Locations                                 Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78262              DocuSign Cert D3FB.pdf                             198774      10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78262              Driver License.pdf                                  46019      1/12/2022 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78262              Purchase Agreement.pdf                             205832      1/12/2022 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78262              Redirection Confirmation New 78262.pdf             504549      1/18/2023 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78262              Searches.pdf                                        42258      1/12/2022 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78262              Social Security Card.pdf                           740281      1/12/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78262              Submission Docs.pdf                              1531106       9/16/2021 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78262              UCC Search.pdf                                      99727      10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78262              W-9.PDF                                            636586      9/17/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              114640-833245.pdf                               54934283        1/7/2022 20:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              78270 Annuity Contract.pdf                         223380       3/4/2016 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              78270 Lewis, Satira.tv5                             10431      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Acknowledgement.pdf                                194519       4/6/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Affidavit in lieu of Settlement Agreement.pdf      755568       4/6/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Amended Disclosures.pdf                          3564562        4/6/2022 20:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Amended Terms rider.pdf                            282024       4/6/2022 20:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Application.pdf                                  2329945        4/6/2022 18:59
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\78270              Information.pdf                                  1969016        4/6/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Authorization to release Medical records.pdf     3887559        4/6/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Benefits Letter.pdf                              1053295        4/6/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Change of Beneficiary.pdf                          844665       4/6/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Continued Contact form.pdf                         554791       4/6/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Court Order.pdf                                    941525       4/6/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Declaration.pdf                                  6248709        4/6/2022 18:59




                                                             1847
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1849 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Disclosure - CA.pdf                       962899       4/6/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Disclosure - CT.pdf                       683574       4/6/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Disclosure - DE.pdf                       763344       4/6/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Disclosure - NY.pdf                       860403       4/6/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Docusign certificates.pdf               2110511        4/6/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Drivers license.pdf                       129567       4/6/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Fasano.pdf                                515207       4/6/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Life Contingent Affidavit.pdf           1609284        4/6/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Life Contingent Rider.pdf               1947560        4/6/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Minors Order.pdf                          346901     10/31/2018 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Petition.pdf                           16049196        4/6/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Purchase Agreement.pdf                  3518394        4/6/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Questionnaire.pdf                       1113101        4/6/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Searches .pdf                             238232       4/6/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Seller Affidavit.pdf                    1699735        4/6/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78270              Social security card.pdf                  194722       4/6/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78271              124398-353076.pdf                      15403653        1/10/2022 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78271              78271 Smith, Ladonna.tv5                   10240      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78271              Acknowledgement.pdf                        28516       4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78271              Application.pdf                         1164801        4/7/2022 12:56
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\78271              Information.pdf                         1274764        4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78271              Bankruptcy.pdf                             57366       4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78271              Benefits Letter.pdf                       128742       4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78271              Contacts.pdf                              221554       4/7/2022 12:56




                                                              1848
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1850 of
                                       3467



               All Paths/Locations                                 Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78271              Court Order.pdf                                    203250       4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78271              Credit report.pdf                                   66621       4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78271              Declaration.pdf                                    183580       4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78271              Disclosure - MO.pdf                                146498       4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78271              Divorce Petition.pdf                               242287       4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78271              Docusign certificates.pdf                          223417       4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78271              Identification.pdf                                 154899       4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78271              Lien searches.pdf                                  317597       4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78271              NASP clearance.pdf                                 190381       4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78271              Pleadings.pdf                                    4477995        4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78271              Purchase Agreement 51920.pdf                     3604664        4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78271              Purchase Agreement 5420.pdf                      2239993        4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78271              Questionnaire.pdf                                  226389       4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78271              Request For Acknowledgement.pdf                    517354       4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78271              Social security card.pdf                           177433       4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78272              154522-241290.pdf                               33094333        1/10/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78272              78272 Dent, Delnice.tv5                             10240      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78272              78272 Purchase Agreement.pdf                     5449724        4/7/2022 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78272              Affidavit in lieu of SA.pdf                        290224       4/7/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78272              Annuity Certificate.pdf                             88768       4/7/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78272              Assignment.pdf                                     441359       4/7/2022 13:39
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\78272              Information.pdf                                  1852612        4/7/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78272              Authorization to obtain death certificate.pdf       79694       4/7/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78272              Bankruptcy Search.pdf                              424057       4/7/2022 13:39




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               All Paths/Locations                                   Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78272              Court Order.pdf                                     604501       4/7/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78272              Credit Report.pdf                                 2745672        4/7/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78272              Disclosure - MI.pdf                                 344126       4/7/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78272              Disclosure - TX.pdf                               2133594        4/7/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78272              Docusign Certificate.pdf                          1473020        4/7/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78272              Fasano.pdf                                          708097       4/7/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78272              MI Identification.pdf                               424287       4/7/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78272              Pleadings.pdf                                     7828423        4/7/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78272              Questionnaire.pdf                                 1256098        4/7/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78272              Request For Acknowledgement.pdf                   1503936        4/7/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78272              Seller Affidavit.pdf                                964506       4/7/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78272              Socia security card.pdf                              62101       4/7/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78272              Stipulation.pdf                                   3348223        4/7/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              164690-793281.pdf                                24254023        1/9/2022 23:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              78273 Scott, Shawanda.tv5                            10240      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              Acknowledgement.pdf                                 196753       4/7/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              Affidavit in lieu of SA.pdf                         334844       4/7/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              Amended Court Order.pdf                             360614       4/7/2022 15:09
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\78273              Information.pdf                                   1827685        4/7/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              Authorization to provide death certificate.pdf      148893       4/7/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              Benefits Letter.pdf                                 194372       4/7/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              Credit Report.pdf                                   552758       4/7/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              Disclosure - GA.pdf                               1355479        4/7/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              Disclosure - KY.pdf                               1221820        4/7/2022 15:09




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                                       3467



               All Paths/Locations                                   Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              Disclosure - PA.pdf                            1223011        4/7/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              Docusign certificate.pdf                         536887       4/7/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              Drivers License.pdf                              230798       4/7/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              Fasano.pdf                                       374185       4/7/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              Lien search.pdf                                  630773       4/7/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              Notice of Transfer.pdf                           710130       4/7/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              OAMC.pdf                                       1367911       2/20/2018 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              image001.png                                      16200
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              Pleadings.pdf                                  6178180        4/7/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              Purchase Agreement.pdf                         5501667        4/7/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              Questionnaire.pdf                              1355573        4/7/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              Seller Affidavit.pdf                             273232       4/7/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              Settlement Agreement.pdf                         251357      2/20/2018 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              Social security card.pdf                         428474       4/7/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78273              UCC clearance.pdf                                132441       4/7/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78274              274267-871166.pdf                             30889313        1/10/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78274              78274 Doran, Raymond.tv5                          10242      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78274              Acknowledgement.pdf                              280900       4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78274              Affidavit in lieu of SA.pdf                      182029       4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78274              Application_.pdf                                 225970       4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78274              Assignment.pdf                                   227583       4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78274              Authorization to pull death certificate.pdf      279778       4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78274              Benefits Letter.pdf                              209464       4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78274              Court Order.pdf                                1339194        4/8/2022 12:52




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1853 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78274              Credit Report.pdf                      1836907         4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78274              Declaration.pdf                          262621        4/8/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78274              Disclosure - KS.pdf                      452901        4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78274              Disclosure - WA.pdf                      454379        4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78274              Drivers License.pdf                      250832        4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78274              Fasano .pdf                            1894360         4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78274              Medical Authorizations.pdf             1626914         4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78274              Pleadings.pdf                         10413950         4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78274              Proof of ssn.pdf                          63701        4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78274              Purchase Agreement.pdf                 2180515         4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78274              Questionnaire.pdf                      1043900         4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78274              Request For Acknowledgement.pdf        3576925         4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78274              Searches.pdf                           4360905         4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78275              304399-353076.pdf                     13218024         1/10/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78275              78275 acknowledgment.pdf                 250714        4/8/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78275              78275 benefits letter.pdf                160591        4/8/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78275              78275 Boyer, Ladonna.tv5                    9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78275              Application.pdf                        1164801         4/7/2022 12:56
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\78275              Information.pdf                        1274764         4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78275              Bankruptcy.pdf                            57366        4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78275              Contacts.pdf                             221554        4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78275              Court Order.pdf                          203250        4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78275              Credit report.pdf                         66621        4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78275              Declaration.pdf                          183580        4/7/2022 12:56




                                                              1852
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                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78275              Disclosure - MO.pdf                      146498       4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78275              Docusign certificates.pdf                223417       4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78275              Fasano.pdf                               171337       4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78275              Identification.pdf                       154899       4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78275              Lien searches.pdf                        317597       4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78275              NASP clearance.pdf                       190381       4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78275              Pleadings.pdf                          4477995        4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78275              Purchase Agreement 51920.pdf           3604664        4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78275              Purchase Agreement 5420.pdf            2239993        4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78275              Questionnaire.pdf                        226389       4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78275              Request For Acknowledgement.pdf          517354       4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78275              Social security card.pdf                 177433       4/7/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              374699-203289.pdf                     35465593       1/10/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              78276 Evenou, Kersty.tv5                  10430      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              Acknowledgement 92021.pdf                 47548       4/8/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              Acknowledgement 9821.pdf                 125787       4/8/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              Affidavit in lieu of SA.pdf              331509       4/8/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              Application.pdf                           73662       4/8/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              Assignment of PA & CO.pdf                192226       4/8/2022 20:44
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\78276              Information.pdf                          491230       4/8/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              Benefits Letter.pdf                      260455       4/8/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              Court Order.pdf                        2045411        4/8/2022 20:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              Credit Report.pdf                        958698       4/8/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              Disclosure - FL.pdf                      547856       4/8/2022 20:44




                                                              1853
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1855 of
                                       3467



               All Paths/Locations                                  Unified Title             File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              Disclosure - KY.pdf                                565267        4/8/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              Disclosure - PA.pdf                                558789        4/8/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              Docusign certificates.pdf                          632626        4/8/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              Drivers License.pdf                                129134        4/8/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              Fasano.pdf                                       1459746         4/8/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              Guardianship docket.pdf                            302925        4/8/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              New - Ack.pdf                                       97772       1/22/2024 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              Payee affidavit.pdf                                352386        4/8/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              Pleadings.pdf                                   12900962         4/8/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              Proof of Residency.pdf                          12866367         4/8/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              Purchase Agreement.pdf                           1788586         4/8/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              Questionnaire.pdf                                  700212        4/8/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              Request For Acknowledgement.pdf                    494784        4/8/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              Searches.pdf                                       368051        4/8/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              Settlement documents.pdf                           280627        4/8/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78276              Social security card.pdf                           227263        4/8/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78277              394667-571384.pdf                               50276408        1/10/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78277              78277 Reyes, Richard.tv5                              9996      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78277              Affidavit in Lieu of Settlement Agreement.pdf      337908        4/6/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78277              Application.pdf                                    418793        4/6/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78277              Assignment.pdf                                      59507        4/6/2022 15:32
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\78277              Information.pdf                                  3115529         4/6/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78277              Bankruptcy search.pdf                           16647771         4/6/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78277              Benefits Letter.pdf                                175522        4/6/2022 15:32




                                                              1854
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1856 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78277              Court Order.pdf                          914316       4/6/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78277              Credit Report.pdf                        373553      10/9/2024 20:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78277              Disclosure - FL.pdf                      183035       4/6/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78277              Drivers License.pdf                      227459       4/6/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78277              Fasano Hipaa.pdf                         359827       4/6/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78277              Lien search.pdf                       14326183        4/6/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78277              Pleadings.pdf                          7152415        4/6/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78277              Purchase agreement.pdf                 2808781        4/6/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78277              Questionnaire.pdf                     39087500        4/6/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78277              Request For Acknowledgement.pdf          729564       4/6/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78277              Sellers Affidavit.pdf                  2125136        4/6/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78277              W2.pdf                                   285990       4/6/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              394764-781898.pdf                     54553820       1/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              78278 Villafane, Mark.tv5                 10433      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              Admin fee payments.pdf                   321237      4/11/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              Amended Court Order.pdf                4371264       4/11/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              Amended FL disclosure.pdf                823344      4/11/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              Amended NY disclosures.pdf             1808237       4/11/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              Amended PA Disclosure.pdf                825480      4/11/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              Amended Pleadings.pdf                 14453324       4/11/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78278              Amended Purchase Agreement.pdf         3341529       4/11/2022 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              Searches.pdf                              36092      2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              Settlement Agreement.pdf                 511185      2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78493              Social Security Card.pdf                  41343      2/17/2022 10:11




                                                              1855
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1857 of
                                       3467



              All Paths/Locations                               Unified Title                  File Size    Primary Date/Time
                                              01-15-19 Roger Thibodeau - AC 901654TO01Z GS
Saiph consulting|\Audit Materials Received-   600862 - Buyer Stefany Nardone - Final Closing
SuttonPark\Closing Binders\78495              Book.pdf                                         35211202        1/15/2019 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78495              78495 Thibodeau, Roger.tv5                             9996      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78495              Application.pdf                                   2353373        2/18/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78495              Assignment NEAA to Stefany Nardone.pdf              204285       2/18/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78495              Assignment Settlement Funding to NEAA.pdf           274688       2/18/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78495              Authorization to Deduct for Life Ins.pdf            249516       2/18/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78495              Authorization to Release.pdf                        489820       2/18/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78495              Benefits Letter.pdf                                 334907       2/18/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78495              Closing Binder.pdf                               31709533        2/17/2022 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78495              Collateral Assignment.pdf                         1154263        2/18/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78495              Court Order.pdf                                   2671200        2/18/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78495              Credit Report.pdf                                 3212584        2/18/2022 10:54
Saiph consulting|\Audit Materials Received-   Direction to Goldstar for payments to Stefany
SuttonPark\Closing Binders\78495              Nardone.pdf                                          76133       2/18/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78495              Disclosure - CT.pdf                                 107522       2/18/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78495              Disclosure - IA.pdf                                  93812       2/18/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78495              Disclosure - NM.pdf                                  89226       2/18/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78495              Drivers License.pdf                                 121288       2/18/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78495              Life Insurance Policy.pdf                         9017003        2/18/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78495              Purchase Agreement.pdf                            1515871        2/18/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78495              Request for Change of Beneficiary.pdf               578163       2/18/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78495              Searches.pdf                                      3960248        2/18/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78495              Seller Affidavit.pdf                              1080643        2/18/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78495              Servicing Agreement 2022.pdf                      1077563        3/24/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78495              Settlement Agreement.pdf                          3003885        2/18/2022 10:54



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                                       3467



               All Paths/Locations                                  Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78495              SS Verification.pdf                                 344269      2/18/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78495              Stipulation.pdf                                   1831632       2/18/2022 10:54
                                              10-17-18 Sheldon Stormoen - AC SGQ000041178
Saiph consulting|\Audit Materials Received-   GS 600981 - Buyer Stefany Nardone - Final
SuttonPark\Closing Binders\78496              Closing Book (3).pdf                             13376953      10/17/2018 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78496              78496 Stormoen, Sheldon.tv5                          10022      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78496              Annuity Contract.pdf                                384815      7/22/2024 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78496              Application.pdf                                     858441      2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78496              Assignment Bentzen to NEAA.pdf                      808184      2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78496              Assignment NEAA to Nardone.pdf                      293478      2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78496              Closing Binder.pdf                               13376953      10/17/2018 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78496              Court Order.pdf                                   2593887       2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78496              Credit Report.pdf                                    32507      2/18/2022 11:26
Saiph consulting|\Audit Materials Received-   Direction to Goldstar for Payments to Stefany
SuttonPark\Closing Binders\78496              Nardone.pdf                                         345903      2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78496              Disclosure - NJ.pdf                                 554139      2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78496              Disclosure - OK.pdf                                 527269      2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78496              Purchase Agreement.pdf                            2476529       2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78496              Request for Change of Beneficiary.pdf               440952      2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78496              Searches.pdf                                        116115      2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78496              Seller Identification.pdf                           332248      2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78496              Servicing Agreement 2022.pdf                      3617136       3/24/2022 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78496              Settlement Agreement.pdf                            597346      2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78496              Social Security Card.pdf                            332248      2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78496              Stipulation.pdf                                   1772608       2/18/2022 11:26

Saiph consulting|\Audit Materials Received-   01-15-19 Tracy McDonald - AC 31689 GS 601027 -
SuttonPark\Closing Binders\78497              Buyer Stefany Nardone - Final Closing Book.pdf   41741118       1/15/2019 11:31




                                                                1857
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                                       3467



               All Paths/Locations                                   Unified Title           File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78497              78497 McDonald, Tracy.tv5                            9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78497              Annuity Contract.pdf                              723016       2/18/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78497              Application.pdf                                 3360041        2/18/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78497              Assignment NEAA to Nardone.pdf                     49862       2/18/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78497              Authorization to Release.pdf                      107841       2/18/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78497              Closing Binder.pdf                             33599381        2/18/2022 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78497              Collateral Assignment Settlement Funding.pdf    2080159        2/18/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78497              Court Order.pdf                                   582542       2/18/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78497              Credit Report.pdf                               4752403        2/18/2022 12:16
Saiph consulting|\Audit Materials Received-   Direction of Payments to Goldstar for
SuttonPark\Closing Binders\78497              Nardone.pdf                                        82040       2/18/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78497              Disclosure - AR.pdf                                67467       2/18/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78497              Disclosure - AZ.pdf                                71179       2/18/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78497              Disclosure - CT.pdf                                62487       2/18/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78497              Drivers License.pdf                               118770       2/18/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78497              Life Insurance Policy.pdf                      11247111        2/18/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78497              Marriage Certificate.pdf                        1122397        2/18/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78497              Qualified Assignment.pdf                        1027828        2/18/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78497              Searches.pdf                                    2429858        2/18/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78497              Seller Affidavit.pdf                            1371171        2/18/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78497              Servicing Agreement 2022.pdf                    1035875        3/24/2022 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78497              Settlement Agreement.pdf                        2680842        2/18/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78497              Social Security Card.pdf                          277033       2/18/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78500              78500 Stillman, Alan.tv5                           10000       10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78500              Acknowledgment.pdf                                122586       2/18/2022 14:29




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                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78500              Annuity contract.pdf                    503779       2/17/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78500              Application.pdf                         104543       1/26/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78500              Assignment.pdf                          171123        2/22/2022 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78500              Change Beneficiary.pdf                1337086        1/26/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78500              Closing Binder.pdf                    4877437        2/18/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78500              Credit report.pdf                        50605       1/24/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78500              Disclosure - Revised.pdf                179676       2/21/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78500              Disclosure.pdf                          155992       1/26/2022 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78500              DocuSign Cert - 3F68.pdf                191088       10/9/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78500              DocuSign Cert 451F.pdf                  195355       10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78500              ID.pdf                                  140928       10/9/2024 18:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78500              Purchase Agreement - Revised.pdf        440454       2/21/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78500              Request For Benefit letter.pdf           39019       1/26/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78500              Request transfer to BIueHill.pdf        123915       1/26/2022 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78500              Searches.pdf                            117934       1/26/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78500              SSC Proof.pdf                         1061068        2/18/2022 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78500              UCC Search.pdf                           49900       10/9/2024 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78500              ZIP Code USPS.pdf                        64334       1/26/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              78513 Caldero, Jose.tv5                    9967      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              Acknowledgement Letter.pdf               29943        2/8/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              Affidavit of Service.pdf                 55189       1/26/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              Application.pdf                         708704      11/21/2021 21:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              Authorization to Release Info.pdf       489258      11/21/2021 21:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              Bank Statement.pdf                      279111       10/9/2024 20:18




                                                               1859
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1861 of
                                       3467



               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              Beneficiary Change Letter1.pdf                     164819       1/24/2022 9:59

                                              Benefits Letter with errors- 2023 lump is
Saiph consulting|\Audit Materials Received-   incorrect shows more that what is due and
SuttonPark\Closing Binders\78513              payments are due every 3Years not monthly.pdf      180145      1/24/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              COB Request.pdf                                    786672      1/18/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              Court Order.pdf                                    190955      1/21/2022 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              Credit Report.pdf                                  176173      1/25/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              Disclosure DE.pdf                                  534381      1/18/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              Disclosure NY.pdf                                  216183      1/18/2022 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              Disclosure VA.pdf                                  604476      1/18/2022 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              Fasano Report.pdf                                  110981      1/12/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              Genworth Email regarding payments.pdf              646051      1/25/2022 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              HIPAA and Medical Questionnaire.pdf                663294      1/10/2022 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              NY Disc POD.pdf                                    631860     11/11/2021 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              Payee Affidavit.pdf                                593805     11/21/2021 21:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              Pleadings.pdf                                   10254686       1/18/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              Purchase Agreement.pdf                           1473872       1/18/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              Release and Settlement.pdf                       3225301       4/21/2021 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              Request for Benefits.pdf                           994501      1/18/2022 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              Searches.pdf                                        81705      1/25/2022 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              SS Card.pdf                                        452371     12/14/2021 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              State ID.pdf                                       157663       1/24/2022 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              UCC.pdf                                             49343      1/25/2022 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              USPS Change of Address Confirmation.pdf            243398       1/4/2022 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78513              Waiver of Anti Assignment.pdf                      299711     11/21/2021 21:22




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                                       3467



               All Paths/Locations                                 Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78514              78514 De Giuseppe, Anthony.tv5               10002       10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78514              Acknowledgment.pdf                          336954        7/18/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78514              Annuity Contract.pdf                        898674        1/14/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78514              Application.pdf                              40047       12/7/2021 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78514              Assignment.pdf                              192634       3/18/2022 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78514              Closing Binder.pdf                        3057059        1/27/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78514              Credit Report.pdf                            49593       10/9/2024 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78514              Disclosure Statement.pdf                     54774       12/7/2021 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78514              DocuSign Cert B7CA.pdf                      207753       10/9/2024 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78514              DocuSign Cert D99A.pdf                      199421       10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78514              DocuSign Cert DE13.pdf                      200979       10/9/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78514              Hold Harmless Agreement .pdf                279401       3/10/2022 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78514              ID.pdf                                    1512931        3/14/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78514              Ownership Change Request.pdf                276335       12/7/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78514              Payment Direction Agreement.pdf             155723       10/9/2024 19:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78514              Purchase Agreement Updated.pdf              186743       2/24/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78514              Purchase Agreement.pdf                      178310       12/7/2021 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78514              Redirection Confirmation New 78514.pdf      424983        9/14/2022 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78514              Searches.pdf                                   7654      1/27/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78514              Social Security Card.pdf                  1515604        3/14/2022 12:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78514              W-9.pdf                                     236474         1/4/2022 5:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78515              78515 Chaffe, Dakota.tv5                     10601       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78515              Acknowledgment.pdf                           75306        2/10/2022 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78515              Application.pdf                             579841       12/9/2021 11:18




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                                       3467



               All Paths/Locations                                 Unified Title             File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78515              Assignment executed.pdf                           349190       1/28/2022 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78515              Benefit letter.pdf                                 97575       1/11/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78515              Closing Binder.pdf                             10683437         2/7/2022 19:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78515              Court Order.pdf                                 2125405         2/3/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78515              Credit Report.pdf                                  96764       1/18/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78515              Disclosure AZ.pdf                               1683781        1/27/2022 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78515              Disclosure CT.pdf                               1692518        1/27/2022 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78515              Disclosure FL.pdf                               1835152        1/27/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78515              Docusign Cert CCC8.pdf                            304571       10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78515              DocuSign Cert F64A.pdf                            299464       10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78515              Driver License.pdf                                 46920       1/27/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78515              IPA Letter Chaffee.pdf                            432460       1/28/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78515              Pleadings.pdf                                   1654935        1/27/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78515              Purchase Agreement.pdf                            626357       1/27/2022 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78515              Redirection Confirmation New 78515.pdf             57941       4/25/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78515              Redirection Reconfig Letter up04-07-2022.pdf    7222890         4/6/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78515              Searches.pdf                                      493492       1/27/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78515              Settlement Agreement.pdf                          617125       1/11/2022 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78515              Social Security Card.pdf                           53142       1/27/2022 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78515              ZIP Code USPS.pdf                                  69634       1/27/2022 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78520              78520 Carranza-Castellanos, Richard.tv5              9799      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78520              Annuity Contract.pdf                              408050       8/23/2018 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78520              Application.pdf                                   325469       1/26/2022 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78520              Assignment.pdf                                    172767       1/28/2022 11:29




                                                              1862
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                                       3467



               All Paths/Locations                                 Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78520              certificate 642D.pdf                        189082       10/9/2024 19:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78520              Credit Report.pdf                            46388       1/26/2022 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78520              Disclosure FL.pdf                           261063       10/9/2024 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78520              Disclosure Statement.pdf                    153768       1/27/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78520              Divorce Decree.pdf                        8555506        8/31/2021 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78520              Driver License.pdf                        2436890        1/27/2022 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78520              Judgment backup.pdf                            2800      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78520              Purchase Agreement.pdf                      873235       1/27/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78520              Searches.pdf                                 21725       10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78520              SSN Verification.pdf                        180317       1/27/2022 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78520              Stipulation.pdf                           3910026        1/28/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78520              W9.pdf                                    3600953        8/30/2021 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              78531 Cook-Bey, Jasmine.tv5                    9967      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              Affidavit in Support.pdf                     90016       12/9/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              Amended Payee Affidavit in Support.pdf      155464         2/7/2022 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              Annuity Contract.pdf                         48655       9/23/2019 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              Application.pdf                             324837       12/9/2021 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              Authorization to Release Info.pdf            90822       12/9/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              Closing Binder.pdf                       15340569        2/17/2022 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              Court Order.pdf                             288175       10/9/2024 20:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              Credit Report.pdf                            29164       2/18/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              Disclosure DE.pdf                           107021       2/17/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              Disclosure PA.pdf                           163955       2/17/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              DocuSign Cert - Assignment.pdf              142953       10/9/2024 18:56




                                                                1863
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                                       3467



               All Paths/Locations                                 Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              DocuSign Cert - Funding Agreement.pdf      302691       10/9/2024 20:20
Saiph consulting|\Audit Materials Received-   Funding Agreement - Signed Closing
SuttonPark\Closing Binders\78531              Statement.pdf                              196234       2/20/2022 12:03
Saiph consulting|\Audit Materials Received-   Funding Agreement - Unsigned Closing
SuttonPark\Closing Binders\78531              Statement.pdf                               69988        2/18/2022 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              Identification Card.pdf                    265042      12/13/2021 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              Payee Affidavit in Support.pdf             268156       12/9/2021 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              Pleadings.pdf                            9656812        2/17/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              Praecipe to Attach.pdf                   1224931        2/18/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              Purchase Agreeemnt.pdf                   1434167        2/17/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              Qualified Assignment.pdf                   503119       9/23/2019 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              Sale Agreement Assignment.pdf              190781       2/18/2022 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              Searches.pdf                                25055       2/18/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              Settlement Agreement.pdf                   750099       9/23/2019 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              Social Security Card.pdf                    90748       2/11/2022 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              Stip - Missing Atlantic.pdf              1015868        2/12/2022 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              Stipulation.pdf                          1050428        2/17/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78531              Waiver of Anti Assignment.pdf              104499       12/9/2021 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78534              0D09.pdf                                 1477257       12/28/2021 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78534              78534 Smith, Joel.tv5                         9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78534              Acknowledgment letter.pdf                  325809        2/2/2022 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78534              Affidavit.pdf                            2686608        10/9/2024 22:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78534              Award Letter.pdf                           108213       1/24/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78534              Court Order.pdf                            206736       1/19/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78534              Disclosure.pdf                             731601       1/11/2022 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78534              Driver License.pdf                       1634338        1/11/2022 15:00




                                                                1864
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                                       3467



               All Paths/Locations                                Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78534              FCRA.pdf                               1036689       11/30/2021 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78534              Mini Assignment.pdf                      507206       1/11/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78534              Pleadings.pdf                          8619759        10/9/2024 22:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78534              POS.pdf                                  465462       1/26/2022 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78534              Purchase Agreement.pdf                 8724272        1/28/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78534              Searches.pdf                             756120        1/24/2022 7:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78534              Signed Residence.pdf                     552788      11/30/2021 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78534              Smith - POS.pdf                          465379       1/14/2022 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78534              SSN Verification.pdf                     382478       8/31/2020 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78534              UCC Search.pdf                           590010       1/24/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78534              W9.pdf                                 1727253       11/30/2021 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78548              78548 Dagenhart, Catherine.tv5              9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78548              AC.pdf                                    59143       1/31/2022 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78548              Court Order - Amended.pdf                221782        1/24/2022 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78548              Disclosure SC - Amended.pdf            2958461        1/27/2022 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78548              Disclsoure TX - Amended.pdf            2950754        1/27/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78548              Fasano Report.pdf                         97615      10/22/2021 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78548              HIPAA and Medical Questionnaire.pdf      407295      10/18/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78548              Pleadings- amended.pdf                 7245664        1/27/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78548              Post Stipulation - executed.pdf          230296       2/11/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78548              Purchase Agreement - Amended.pdf      17563917        1/27/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78548              Signed Contract.pdf                      763387       2/11/2022 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78548              Stip - Amended.PDF                       754853       1/26/2022 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              78549 Davis, Nathan.tv5                     9999      10/9/2024 17:29




                                                              1865
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1867 of
                                       3467



               All Paths/Locations                                  Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              Acknowledgment 78549.pdf                        52315       3/22/2022 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              Acknowledgment of Collateral Assignee.pdf       68313      2/22/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              Application.pdf                              1296351        2/3/2022 13:18
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\78549              Information.pdf                                224244      2/22/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              Bankruptcy Search.pdf                           54408       2/3/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              Benefits Letter.pdf                            197678       2/3/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              Berwyn.pdf                                      47448       2/3/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              Closing Binder.pdf                           6181007        2/2/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              Court Order.pdf                                710502      2/23/2022 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              Credit Report.pdf                              111356       2/3/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              Declaration.pdf                                 76357       2/3/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              Disclosure - PA.pdf                             51036       2/3/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              Disclosure - SC.pdf                             51272       2/3/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              DocuSign Certificate for LC docs.pdf            67400      2/22/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              DocuSign Certificates.pdf                       49008       2/3/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              Drivers License.pdf                             55757       2/3/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              Fasano.pdf                                     114830      2/25/2022 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              Final Life Insurance Policy.pdf              1798930       2/22/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              Lien Search.pdf                                358604       2/3/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              Life Insurance Policy.pdf                    1796627        2/3/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              Medical Questionnaire.pdf                    2510292       2/22/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              NASP Search.pdf                                 76899       2/3/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              Pleadings.pdf                                  803007       2/3/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              Purchase Agreement.pdf                         748193       2/3/2022 13:18




                                                              1866
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1868 of
                                       3467



               All Paths/Locations                                 Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              Request for Collateral Assignment blank.pdf         318969      2/22/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              Request for Collateral Assignment executed.pdf      332224      2/22/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              Settlement Agreement Affidavit.pdf                  253985       2/3/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              Stipulation.pdf                                     851230      2/22/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78549              UCC Search.pdf                                      389173       2/3/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78557              6A36.pdf                                             74289       2/1/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78557              78557 Wilson, Teresa.tv5                             10002      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78557              Acknowledgment.pdf                                   31670       2/24/2022 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78557              Affidavit for Lottery Funding.pdf                 1198695        2/1/2022 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78557              Affidavit.pdf                                       270014       2/1/2022 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78557              Assignment Agreement.pdf                            126855       2/1/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78557              Assignment.pdf                                      230974      2/16/2022 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78557              Auth to Release.pdf                                 420245       2/1/2022 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78557              Bankruptcy Backup.pdf                               116352       2/1/2022 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78557              Confirmation of Right to Cancellation.pdf           123702       2/1/2022 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78557              Court Order.pdf                                   1347245        2/4/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78557              Credit Report.pdf                                    67278       2/1/2022 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78557              Designation of Address.pdf                          231895       2/1/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78557              Disclosure Statement.pdf                             90687       2/1/2022 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78557              Divorce Docket.pdf                                  110227       2/1/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78557              Driver License.pdf                                  144634       2/1/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78557              IL Lottery Assignment- Teresa Wilson.pdf          2794910       1/28/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78557              IPA Form.pdf                                        104489       2/1/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78557              Pleadings.pdf                                    11346388        2/2/2022 10:24




                                                                1867
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1869 of
                                       3467



               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78557              Purchase Agreement.pdf                   1003200        2/1/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78557              Searches.pdf                             1083757        2/1/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78557              W9.pdf                                     409930       2/1/2022 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78557              Win Letter.pdf                             565022       2/1/2022 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              78569 Moore-Pineda, Evernie.tv5             10241      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Ack of Life Insurance Premium.pdf           49292       3/9/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Acknowledgment of Collateral.PDF            35849      3/10/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Acknowledgment.pdf                          61369      2/24/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Affidavit in Lieu of SA.pdf                137071       2/1/2022 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Annuity Contract.pdf                       500166       2/1/2022 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Application.pdf                          1030051        2/1/2022 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Assignment.pdf                             250852       3/9/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Authorization.pdf                          242351       2/1/2022 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Bankruptcy Search.pdf                       61177       2/1/2022 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Benefits Letter.pdf                         44567      1/31/2022 19:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              BinderForDealNumber50749.pdf             8421903        2/1/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Collateral Assginment - Completed.pdf    3123504        3/9/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Collateral Assignement - Blank.pdf       3349144        3/9/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Court Order.pdf                          1021853       2/16/2022 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Credit Report.pdf                          232025       2/1/2022 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Declaration.pdf                             73803      1/31/2022 19:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Disclosure AZ.pdf                           56079      1/31/2022 19:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Disclosure CT.pdf                           53671      1/31/2022 19:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              DocuSign Cert - 5ED3.pdf                    69298       2/1/2022 17:23




                                                               1868
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1870 of
                                       3467



               All Paths/Locations                                 Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Driver License.PDF                                 295640      2/16/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Fasano Report.pdf                                   98741     12/15/2021 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Final Transfer Package.pdf                       6469800        1/7/2022 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              HIPAA.pdf                                          293832      1/31/2022 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Lien and Judgment Search.pdf                       357310       2/1/2022 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Life Insurance Policy - Better copy.pdf          1733727       2/22/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Life Insurance Policy.pdf                       21788553       2/18/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Medical Questionnaire.pdf                        1827202       1/31/2022 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              NASP Search.pdf                                     91824       2/1/2022 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Pleadings.pdf                                    2501026        2/1/2022 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Policy Summary Letter.pdf                          125243      3/22/2022 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Proof of Funds Withdrawn from seller acct.pdf      272720       3/9/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Purchase Agreement.pdf                           1349336       1/31/2022 19:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Qualified Assignment.pdf                           232011      1/31/2022 19:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Settlement Agreement.pdf                           926343      1/31/2022 19:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              Social Security Card.PDF                           377888      2/16/2022 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78569              UCC Search.pdf                                     388526       2/1/2022 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              78577 De Jesus, Ramon.tv5                           10242      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Acknowledgment.pdf                                  49303      3/21/2022 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Affidavit.pdf                                      170371      2/23/2022 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Application.pdf                                     89632      2/22/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Assignment.pdf                                     194957       3/1/2022 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Back Up Contact for LC.pdf                          13387      2/22/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Bankruptcy Search.pdf                               76949      2/23/2022 12:11




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                                       3467



               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Benefits Letter.pdf                         90996      2/22/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Closing Binder.pdf                       3099278       2/22/2022 18:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Court Order.pdf                            424216       2/23/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Credit Report.pdf                           77555      2/22/2022 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Disclosure GA.pdf                           35331      2/23/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Disclosure KY.pdf                           29188      2/23/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Disclosure NY.pdf                           43814      2/23/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Driver License.pdf                          75065      2/22/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Fasano Report.pdf                          114206     12/23/2021 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              HIPAA.pdf                                  158429      2/22/2022 18:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              IPA Letter.pdf                             120073      2/28/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              LE Analysis.pdf                            196353      2/23/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Lead Poisoning Affidavit.pdf                17531      2/23/2022 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Medical Affidavit.pdf                       26632      2/22/2022 18:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Medical Questionnaire - Notarized.pdf      122829      2/22/2022 18:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Memo to File regarding hearing.pdf          58578      2/23/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Pleadings.pdf                            1310509       2/22/2022 18:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Proof of Disc Delivery.pdf                 409167      2/22/2022 18:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Disclosure GA - Ramon DeJesus.pdf           67070      12/1/2021 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Purchase Agreement.pdf                     598785      2/23/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Searches.pdf                               296473      2/22/2022 18:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Settlement Agreement Affidavit.pdf          35394      2/23/2022 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78577              Social Security Card.pdf                    48346      2/22/2022 18:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78582              78582 Scott-Wright, Kalin.tv5               10398      10/9/2024 17:35




                                                                1870
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                                       3467



               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78582              Application.pdf                                   399786      1/31/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78582              Assignment.pdf                                    235137       2/1/2022 20:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78582              Authorization.pdf                                 278482      1/31/2022 19:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78582              Bankruptcy Search.pdf                             101312       2/1/2022 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78582              Benefits Letter.pdf                               703699      1/31/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78582              Court Order.pdf                                   300243       2/4/2022 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78582              Credit Report.pdf                                 635769       2/1/2022 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78582              Declaration.pdf                                   300547      1/31/2022 19:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78582              Disclosure CA.pdf                                 274091      1/31/2022 19:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78582              DocuSign Cert - 432D.pdf                           20073      1/31/2022 19:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78582              Identification Card.pdf                            71895      1/31/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78582              Pleadings.pdf                                   1970119        2/1/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78582              Proof of Disc Delivery.pdf                         77092      1/31/2022 19:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78582              Purchase Agreement.pdf                          1648849       1/31/2022 19:17
Saiph consulting|\Audit Materials Received-   Redirection Confirmation New_Protective Life
SuttonPark\Closing Binders\78582              up03-03-2023.pdf                                  340590        3/3/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78582              SA - Search Results.pdf                            89587       2/1/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78582              Scott-Wright 2 Binder 1.31.22.pdf               6822860        1/31/2022 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78582              SSN Verification.pdf                              289412       2/1/2022 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78582              Stip - Missing Lincoln.pdf                      2335820         2/2/2022 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78582              Stipulation.pdf                                 2476038        2/7/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78582              Updated Benefits Letter.pdf                     2226981        3/1/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              055C.pdf                                           73393       2/2/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              78595 Rodgers, Misty.tv5                           15797      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              Affidavit.pdf                                      58377       2/2/2022 11:14




                                                                1871
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                                       3467



               All Paths/Locations                                 Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              Application.pdf                                 1787215        2/2/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              BL 2008.pdf                                       487462        2/2/2022 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              Court Order.PDF                                   471097      10/9/2024 20:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              Credit Report.pdf                                 394629       2/2/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              Disclosure FL.pdf                                  76664       2/2/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              Disclosure NY.pdf                                  89065       2/2/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              Dislcosure DE.pdf                                  84648       2/2/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              Driver License.pdf                              2041881         2/2/2022 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              F214.pdf                                           45234       2/2/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              Funding File Misty Rogers.pdf                  19383430       1/31/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              HIPAA and Medical Questionnaire.pdf             1726049        2/2/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              IPA Statement.pdf                                 468068       2/1/2022 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              PI Docket.pdf                                     112773       2/2/2022 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              Pleadings.pdf                                  63633917        2/2/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              Purchase Agreement.pdf                            242105       2/2/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              Redirection Reconfiguration up07-11-2022.pdf    2180777        7/8/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              Redirection Assignee List NYLIC.pdf               222753       7/7/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              COA Policy FP200974.pdf                            52947       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              COA Policy 74758034.pdf                            52951       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              COA Policy 77422032.pdf                            52926       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              COA Policy FP200974 (2).pdf                        52949       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              COA Policy FP200974.pdf                            52991       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              COA Policy FP201158.pdf                            52930       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              COA Policy FP205723.pdf                            52948       4/8/2022 13:24




                                                              1872
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                                       3467



               All Paths/Locations                                 Unified Title                   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              COA Policy FP206266.pdf                                  52989       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              COA Policy FP206275.pdf                                  52951       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              COA Policy FP207071.pdf                                  52987       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              COA Policy FP207808.pdf                                  52960       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              COA Policy FP210013.pdf                                  52983       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              COA Policy FP210674.pdf                                  52959       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              COA Policy FP216554.pdf                                  52928       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              COA Policy FP220022.pdf                                  53010       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              COA Policy FP220028.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              COA Policy FP220219.pdf                                  52981       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              COA Policy FP220714.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              COA Policy FP244114.pdf                                  52993       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              Security TItle Corporate Resolution 11.2021 si.pdf      937256       4/1/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              Searches.pdf                                            277681       2/2/2022 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              Settlement Agreement Affidavit.pdf                       63232       2/2/2022 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78595              Stipulation.pdf                                         683423       2/8/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78663              78663 Hopkins, Bernell.tv5                               14386      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78663              Application.pdf                                         232027      7/22/2013 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78663              Assignment to MDB.pdf                                 1376239        3/8/2022 20:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78663              Benefits Letter.pdf                                      20287      5/29/2013 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78663              Closing Binder.pdf                                    5701937        2/16/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78663              Court Order.pdf                                       1418101       2/16/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78663              Credit Report.pdf                                       179457       6/4/2013 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78663              Disclosure.pdf                                          306720      7/22/2013 14:14




                                                                1873
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1875 of
                                       3467



               All Paths/Locations                                   Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78663              Pleadings.pdf                              5934929         3/8/2022 20:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78663              Prior Court Orders.pdf                     1457250         3/8/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78663              Purchase Agreement.pdf                     2888045         3/8/2022 20:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78663              Redirection File 78663.pdf                   861000        3/15/2022 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78663              Redirection File Confirmation 78663.pdf      222314        4/15/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78663              Searches.pdf                                  46957        3/8/2022 20:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78663              Seller Affidavit.pdf                         543334        3/8/2022 20:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78663              Seller Identification.pdf                    511960        2/7/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78663              Settlement Agreement.pdf                   2851335        10/9/2024 22:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78663              Social Security Card.pdf                      93207       2/16/2022 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78663              Stipulation.pdf                            1213533        9/16/2013 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78664              78664 Stehli, Jonathan.tv5                      9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78664              Acknowledgment.pdf                            88552       7/30/2013 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78664              Addendum to Affidavit.pdf                    572415        3/8/2022 20:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78664              Additional Searches.pdf                      387812        3/8/2022 20:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78664              Agreement Correcting Life Language.pdf       359654       7/24/2013 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78664              Annuity Contract.pdf                         616558       2/10/2021 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78664              Authorization to Release.pdf                 109205        3/8/2022 20:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78664              Closing Binder.pdf                         3174964        2/16/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78664              Court Order with Stip.pdf                  1478012         3/8/2022 19:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78664              Court Order.PDF                            2611655        7/16/2013 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78664              Credit Report.pdf                            424172        3/8/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78664              Disclosure.pdf                               285490       6/25/2013 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78664              Drivers License.pdf                          195600       3/11/2022 15:55




                                                                1874
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1876 of
                                       3467



               All Paths/Locations                                   Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78664              Prior Orders.pdf                          2860206        6/25/2013 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78664              Proof of Service.pdf                        190345        3/8/2022 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78664              Purchase Agreement.pdf                    3727146         3/8/2022 20:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78664              Redirection Confirmation New 78664.pdf       24035       10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78664              Searches.pdf                                 91469       6/20/2013 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78664              Seller Affidavit.pdf                        323720        3/8/2022 20:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78664              Settlement Agreement.pdf                    263165       2/10/2021 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78664              Social Security Card.pdf                    123475       2/16/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78664              Stipulation.pdf                             884243        3/8/2022 19:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78666              78666 James, Diantis.tv5                       9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78666              Acknowledgment.pdf                           77199       7/15/2013 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78666              Affidavit.pdf                                67630        2/8/2022 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78666              Application.pdf                              66995        2/8/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78666              Bankruptcy Search.pdf                       145117       3/11/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78666              Benefits Letter.pdf                          46841       2/22/2013 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78666              Closing Binder.pdf                        5128514        6/10/2013 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78666              Court Order.pdf                             947313        2/9/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78666              Credit Report.pdf                           225664       3/11/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78666              Disclosure IL.pdf                            87482        2/8/2022 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78666              Order Approving Settlement.pdf              142113       7/23/2013 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78666              Pleadings.pdf                             6464234         3/2/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78666              POA-MDB Equit.pdf                           285192        3/1/2022 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78666              Purchase Agreement.pdf                      766234        2/8/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78666              Redirection Confirmation NEW.pdf            150107       3/29/2022 12:28




                                                                1875
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1877 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78666              Request for Acknowledgment.pdf          272178        2/9/2022 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78666              Request for Redirection.pdf             917776        3/15/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78666              Search - results.pdf                    641251       3/11/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78666              Searches.pdf                          6757924        3/11/2022 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78666              Seller Identification.pdf               102410        2/8/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78666              Stipulation.pdf                       1429893         2/9/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78666              UCC Search.pdf                          193383       3/11/2022 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78667              78667 Reed, Michael.tv5                    9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78667              Acknowledgment New 78667.pdf            108279       3/25/2022 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78667              Affidavit.pdf                         1515862         2/8/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78667              Application.pdf                       1071498         2/8/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78667              Authorization.pdf                       506424        2/8/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78667              Benefits Letter.pdf                     874310        2/8/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78667              Court Order.pdf                       1876062         2/8/2022 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78667              Credit Report.pdf                       112991        2/8/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78667              Disclosure Statement - Amended.pdf      411318        2/8/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78667              Disclosure Statement.pdf                938975        2/8/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78667              Driver License.pdf                      503493        2/8/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78667              Fasano Report.pdf                        79139       6/25/2014 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78667              Investor Closing File Part 2.pdf     14682747         2/7/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78667              Investor Closing File.pdf            11598100         2/7/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78667              Pleadings.pdf                        16932006         2/8/2022 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78667              POA-MDB Equity-Reed.pdf                 282092        3/1/2022 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78667              Prior Orders.pdf                      4210030         2/8/2022 12:15




                                                                1876
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1878 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78667              Purchase Agreement.pdf               13790310        2/8/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78667              Redirection File 78667.pdf              854818       3/15/2022 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78667              Searches - updated.pdf                   14887      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78667              Searches.pdf                            331197       2/8/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78667              SSC.pdf                                 789076       2/8/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78667              Stip signed by seller.pdf               112143      10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78667              Stipulation.pdf                       1880040        2/8/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78669              78669 Martin, Fallon.tv5                 13776      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78669              Acknowldgment.pdf                        37452        4/6/2022 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78669              Acknowledgment Package.pdf            1325317       8/12/2013 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78669              Affidavit of Seller.pdf                 605679       8/1/2013 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78669              Amended Court Order.pdf                 361079      2/15/2022 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78669              Authorization.pdf                       113247       8/1/2013 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78669              Benefit Letter.pdf                       70729      8/10/2019 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78669              Closing Binder.pdf                   11897265       2/14/2022 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78669              Court Order.pdf                         492923       8/9/2013 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78669              Credit Report.pdf                        39685       8/1/2013 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78669              Disclosure Statement.pdf                610310       8/1/2013 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78669              Pleadings.pdf                         2353509       2/20/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78669              Prior Court Orders.pdf                1696333        7/8/2013 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78669              Purchase Agreement.pdf                3815072       2/20/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78669              Redirection Letter- unexecuted.pdf       58457      3/19/2022 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78669              Searches.pdf                             67602      2/15/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78669              Seller Identification.pdf               100727      2/14/2022 17:53




                                                                1877
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                                       3467



               All Paths/Locations                                 Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78669              Settlement Agreement.pdf                       1005767        8/10/2019 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78669              SSC.pdf                                           16152       2/24/2022 19:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78669              Stipulation for Dismissal and Judgement.pdf       27397      10/11/2013 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78669              Updated Benefits Letter.pdf                      162970      10/23/2013 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78670              78670 Dixon, Julia.tv5                              9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78670              Acknowledgment.pdf                                86567       3/29/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78670              Affidavit.pdf                                     80475        2/8/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78670              Application.pdf                                1845079        3/11/2022 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78670              Bankruptcy Search.pdf                             68956        2/8/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78670              Benefit Letter.pdf                               111998       3/15/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78670              Court Order.pdf                                  927574        3/9/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78670              Disclosure DE.pdf                                101242        2/8/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78670              Disclosure FL.pdf                                 72896        2/8/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78670              Disclosure NY.pdf                                 74658        2/8/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78670              DocuSign Cert - 72AD.pdf                          43260        2/8/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78670              Fasano Report.pdf                                 77170        2/8/2022 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78670              Funding File Julia Linnen-Dixon.pdf            8570658         2/7/2022 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78670              HIPAA.pdf                                        663771        2/8/2022 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78670              Medical Questionnaire.pdf                      1394922         2/8/2022 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78670              Pleadings.pdf                                  4940049         2/8/2022 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78670              POS Dixon.pdf                                    996679         2/9/2022 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78670              Purchase Agreement.pdf                           227947        2/8/2022 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78670              Searches.pdf                                      13758        2/8/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78670              Settlement Agreement Affidavit.pdf               285135        2/8/2022 15:35




                                                              1878
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                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78670              Settlement MEMO.pdf                       872147      3/15/2022 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78670              SSC.pdf                                 2734226       2/18/2022 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78670              UCC Search.pdf                            130185       2/8/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78674              78674 Osterlund, Sofia.tv5                 10314      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78674              Acknowledgment.pdf                         45541       4/6/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78674              Application.pdf                           243137      2/23/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78674              Benefits Letter.pdf                       127999       3/16/2022 7:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78674              Closing Binder.pdf                     20863921        3/3/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78674              Court Order.pdf                           716852       3/8/2022 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78674              Credit Report.pdf                          35685      2/23/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78674              CT Disclosure.pdf                       1045586        3/3/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78674              Declaration.pdf                         1299784        3/3/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78674              DocuSign Certificate.pdf                  324175      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78674              Drivers License.pdf                       492799       3/3/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78674              IPA Letter.pdf                            167749       3/8/2022 20:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78674              KY Disclosure.pdf                       1002570        3/3/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78674              MN Disclosure.pdf                       1114641        3/3/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78674              Pleadings.pdf                           1927926        3/3/2022 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78674              Purchase Agreement.pdf                  9856319        3/3/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78674              Searches.pdf                              163394       3/1/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78674              Seller Affidavit.pdf                    1912908        3/9/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78674              Settlement Agreement Affidavit.pdf        857361       3/3/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78674              Social Security Card.pdf                2908644        3/3/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78674              UCC Search.pdf                             70179       3/3/2022 16:19




                                                               1879
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                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              78679 Comer, Daniel.tv5                  10279      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              Affidavit in Lieu of SA.pdf             312435      3/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              Amended Pleadings.pdf                 5848023       3/16/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              Annuity Contract.pdf                    601843      3/23/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              Application.pdf                         179124      3/15/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              Assignment.pdf                          164382       4/8/2022 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              Closing Binder.pdf                   10645342       3/23/2022 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              Court Order.pdf                         162458        4/7/2022 3:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              Credit Report.pdf                        31792      3/21/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              Disclosure CA.pdf                       330144      3/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              Disclosure NY.pdf                       184734      3/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              Docusign Cert - PA Docs.pdf             327506      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              Driver License.pdf                    1058233       3/23/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              Order Approving Compromise.pdf          232604       1/18/2017 3:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              Pleadings.pdf                         6236556       3/23/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              Proof of Disc Delivery.pdf              345349      3/23/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              image001.png                             12284
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              image002.jpg                             10260
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              Disclosure CA - Daniel Comer.pdf         90423     12/13/2021 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              image001.png                             12284
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              image002.jpg                             10260
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              image001.png                             12284
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              Purchase Agreement.pdf                3096160       3/23/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              Qualified Assignment.pdf              1184927       3/23/2022 11:00




                                                              1880
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1882 of
                                       3467



               All Paths/Locations                                 Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              Searches.pdf                                 19971       3/23/2022 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              Social Security Card.pdf                  1005226        3/23/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78679              Stipulation.pdf                           1071742        3/30/2022 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              78682 Washington, Markita.tv5                  9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              Affidavit in Lieu of SA.pdf                 103476        3/2/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              Amended Order Approving Settlement.pdf      560619        2/24/2022 5:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              Annuity Contract Cert.pdf                    17871       10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              Application.pdf                             167202       2/23/2022 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              Assignment.pdf                              162988        3/9/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              Closing Binder.pdf                        8788175         3/2/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              Court Order.pdf                             169507       10/9/2024 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              Credit Report.pdf                            76272       2/23/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              Declaration.pdf                             152498        3/2/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              Disclosure AR.pdf                           131213        3/2/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              Disclosure TX.pdf                           126510        3/2/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              Docusign Cert - PA Docs.pdf                 345054       10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              Driver License.pdf                           47919        3/2/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              Palmetto Park Agency.pdf                     50982       1/25/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              Pleadings.pdf                             5473559         3/2/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              POR.pdf                                      75414        3/2/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              POS - proof seller rec pck.pdf              852759        3/3/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              Proof of Disc Delivery.pdf                  552623        3/2/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              image001.jpg                                 25364
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              image002.png                                 12284




                                                                1881
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1883 of
                                       3467



               All Paths/Locations                                 Unified Title             File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              image003.jpg                                       10260
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              Disclosure AR - Markita Washington.pdf            116384       1/27/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              Purchase Agreement.pdf                          1359345         3/2/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              Searches.pdf                                      185997        3/2/2022 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              Social Security Card.pdf                           85077        3/2/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              Stip - Missing SP.pdf                             393590        3/8/2022 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              Stipulation.pdf                                   396248        3/8/2022 19:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78682              UCC Search.pdf                                     44608        3/2/2022 16:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78685              78685 Davis, Lyric.tv5                               9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78685              Application.pdf                                   282560        2/8/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78685              Assignment.pdf                                     22676        2/9/2022 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78685              Authorization for Deductions - Notarized.pdf       75466        2/8/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78685              Benefits Leter.pdf                              3648015         2/9/2022 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78685              Certification.pdf                                 114614        2/8/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78685              Change of Bene Requests - Notarized.pdf           127568        2/8/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78685              Closing Book - Lyric Davis.pdf                  8137170         2/8/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78685              Court Order.pdf                                   486616       3/30/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78685              Credit Report.pdf                                 159060        2/8/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78685              Disclosure DE.pdf                                  37251        2/8/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78685              Disclosure TX.pdf                                  37678        2/8/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78685              DocuSign Cert - CASA.pdf                          194122       10/9/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78685              DocuSign Cert - Closing Statement.pdf             199875       10/9/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78685              DocuSign Certs.pdf                                135410        2/8/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78685              Identification Card.pdf                         1336186         2/8/2022 15:22




                                                                1882
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1884 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78685              NASP Search.pdf                           91910       2/8/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78685              Pleadings.pdf                          1062755        2/8/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78685              Purchase Agreement.pdf                   357954       2/8/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78685              Searches.pdf                             104215       2/8/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78685              Settlement Agreement Docket.pdf           48153       2/8/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78685              Social Security Card.pdf               1216404        2/8/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78685              Stipulation.pdf                          700588      3/31/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78685              UCC Search.pdf                           100218       2/8/2022 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78686              78686 Harvey, Anthony.tv5                 10246      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78686              Annuity Contract.pdf                     575580       2/9/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78686              Application.pdf                          205801       2/9/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78686              Assignment Executed.pdf                2068973       2/11/2022 12:30
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\78686              Information.pdf                          886877       2/9/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78686              Closing Binder.pdf                    19699662        2/8/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78686              Court Order Harvey.PDF                 3480615        2/11/2022 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78686              Credit Report.pdf                        115097       2/9/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78686              Disclosure - IN.pdf                      239484       2/9/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78686              Disclosure - NJ.pdf                      163785       2/9/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78686              Disclosure - TN.pdf                      228275       2/9/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78686              Divorce Decree.pdf                       988172       2/9/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78686              DocuSign Cert C218.pdf                    20258       2/9/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78686              DocuSign Cert E359.pdf                    20594       2/9/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78686              Fasano Report.pdf                        100091       2/9/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78686              Medical Questionnaire.pdf              2365712        2/9/2022 14:59




                                                                1883
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                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78686              PI Docket.pdf                            139981       2/9/2022 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78686              Pleadings.pdf                         10581576        2/9/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78686              Purchase Agreement.pdf                   558594       2/9/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78686              Search 2.pdf                              60126       2/9/2022 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78686              Searches.pdf                              66743       2/9/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78686              Settlement Statement.pdf                 321735       2/9/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78686              Statement In Support.pdf                 345473       2/9/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78686              Stipulation.pdf                          794288       2/9/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              78699 Robinson, Deborah.tv5               10240      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              Application.pdf                          218306      2/14/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              Assignment BTG to Sutton.pdf             126570      2/14/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              Assignment Greenwood to BTG.pdf          126740      2/14/2022 10:59
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\78699              Information.pdf                          230434      2/14/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              Benefits Letter.pdf                       13000      2/14/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              Closing Binder.pdf                    12699229        2/9/2022 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              Court Order.pdf                          149022      2/14/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              Disclosure - FL.pdf                      157068      2/14/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              Disclosure - IL.pdf                      149640      2/14/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              Disclosure - PA.pdf                      179638      2/14/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              Disclosure - TX.pdf                      134653      2/14/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              Disclosure Affidavit.pdf                  57358      2/14/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              DocuSign Certificate.pdf                  11501      2/14/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              Fasano.pdf                                76008      2/14/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              Lien Search.pdf                          200501      2/14/2022 11:00




                                                                1884
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                                       3467



               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              Life Affidavit.pdf                          79656       2/14/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              Medical Questionnaire.pdf                  329217       2/14/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              Pleadings.pdf                            1975159        2/14/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              Purchase Agreement.pdf                     702027       2/14/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              Request for Change of Beneficiary.pdf       76313       2/14/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              Seller Affidavit.pdf                       280326       2/14/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              Seller Identification.pdf                   98190       2/14/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              Settlement Agreement Affidavit.pdf         118239       2/14/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              Social Security Card.pdf                    50154       2/14/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              Stipulation.pdf                          6816032        7/26/2024 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78699              UCC Search.pdf                             413801       2/14/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              78700 Martinez, Melissa.tv5                   9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Acknowledgment.pdf                          37915       3/14/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Affidavit.pdf                               67169        2/9/2022 17:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Annuity Contract.pdf                        27300       4/28/2015 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Application.pdf                          1763219         2/9/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Assignment.pdf                             492294       10/9/2024 20:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Bankruptcy Search.pdf                       57258        2/9/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Benefits Letter.pdf                        267631        2/22/2017 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Court Order.pdf                            161913       2/16/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Credit Report.pdf                          707158       2/16/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Disclosure Acknowledgment.pdf               67059        2/9/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Disclosure DE.pdf                          106452        2/9/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Disclosure NY.pdf                           98442        2/9/2022 17:05




                                                                1885
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                                       3467



               All Paths/Locations                                 Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Disclosure TX.pdf                                   104846       2/9/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Divorce Decree - Herrera.pdf                        139468      4/28/2015 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              DocuSign Cert - A992.pdf                             52236       2/9/2022 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Driver License.pdf                                  489464       2/9/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Fasano Report.pdf                                   103103       2/9/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Funding File Martinez, Melissa.pdf                6540196        2/9/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              HIPAA.pdf                                           512637       2/9/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Marriage Certificate - Martinez.pdf               1953224      11/12/2020 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Medical Questionnaire - Notarized.pdf             1567155        2/9/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Pleadings.pdf                                     1587504        2/9/2022 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Purchase Agreement.pdf                              312683       2/9/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Searches.pdf                                         79466      2/10/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Settlement Agreement Affidavit - Notarized.pdf      105057      10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Social Security Card.pdf                             53796     11/20/2014 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78700              Updated Benefits Letter.pdf                         284096      2/16/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78711              78711 Kennedy, Mary.tv5                              10002      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78711              Annuity Contract.pdf                              3066443       2/10/2022 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78711              Application.pdf                                     243152      2/10/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78711              Authorization to Release.pdf                         48537      2/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78711              Closing Binder.pdf                                3532492        2/9/2022 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78711              Credit Report.pdf                                   525522      2/25/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78711              Driver License - Joanne.pdf                          30644      2/25/2022 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78711              Driver License - Mary expired.pdf                    33318      2/25/2022 12:17
Saiph consulting|\Audit Materials Received-   Mary Kennedy - Change of Payee and Beneficiary
SuttonPark\Closing Binders\78711              Executed.pdf                                        539531      7/19/2022 10:06




                                                              1886
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                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78711              Power of Attorney.pdf                 1982068        2/9/2022 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78711              Proof of SSN - Mary.pdf                 162244      2/25/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78711              Purchase Agreement.pdf                  304092      2/25/2022 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78711              Searches.pdf                             50610      2/25/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78711              UCC Search.pdf                           39655      2/25/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78712              78712 Green, Raymir.tv5                  10123      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78712              Ackwonledgment.pdf                      382389      5/11/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78712              Affidavit - Notarized doc.pdf         1115918       3/13/2022 18:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78712              Affidavit.pdf                           129696      2/10/2022 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78712              Application.pdf                         158379      1/10/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78712              Benefits Letter.pdf                     110261      3/28/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78712              Closing Binder.pdf                   11063877       2/10/2022 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78712              Court Order.pdf                         714929      3/10/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78712              Credit Report.pdf                        25493      1/10/2022 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78712              Disclosure KY.pdf                       141080      2/10/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78712              Disclosure OH.pdf                       170556      2/10/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78712              Docusign Cert - PA Docs.pdf             354124      10/9/2024 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78712              Identifcation Card.pdf                7997259       2/10/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78712              Pleadings.pdf                         2140621       2/10/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78712              Proof of Disc Delivery.pdf              338219      2/10/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78712              Disclosure OH - Raymir Green.pdf         54857     12/22/2021 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78712              Purchase Agreement.pdf                  926534      2/10/2022 16:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78712              Searches.pdf                            394387      2/10/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78712              Settlement Agreement.pdf                218352     11/13/2021 11:26




                                                              1887
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1889 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78712              Social Security Card.pdf                1567187       2/11/2022 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78720              78720 Howell, Christina.tv5                10003      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78720              Acknowledgment.pdf                         33596      2/25/2022 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78720              Amended Court Order.pdf                 1313154        2/4/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78720              Bankruptcy Search.pdf                     180662      2/15/2022 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78720              Closing Binder.pdf                      2183576      12/10/2021 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78720              Credit Report.pdf                          18329      2/15/2022 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78720              Disclosure.pdf                             52769      2/15/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78720              Drivers License.pdf                       103929      2/15/2022 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78720              Original Acknowledgment.pdf                37529      2/15/2022 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78720              Original Court Order.pdf                  120284      2/15/2022 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78720              Originator Affidavit.pdf                   38883      2/15/2022 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78720              Purchase Agreement.pdf                    383801      2/15/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78720              Searches.pdf                              954703      2/15/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78720              Seller Affidavit.pdf                       78031      2/15/2022 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78720              W9.pdf                                    126716      2/15/2022 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78720              Win Letter.pdf                            158768      2/15/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78721              78721 Howell, Christina.tv5                10004      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78721              Acknowledgment.pdf                         34281      2/25/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78721              Amended Court Order.pdf                 1292505        2/4/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78721              Closing Binder.pdf                      4072943      12/13/2021 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78721              Credit report.pdf                          19041      2/15/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78721              Disclosure .pdf                            52972      2/15/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78721              DocuSign Certificate.pdf                   18463      2/15/2022 14:46




                                                                1888
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1890 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78721              Drivers License.pdf                       105400      2/15/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78721              Original Acknowledgment.pdf                35737      2/15/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78721              Original Court Order.pdf                  326788      2/15/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78721              Originator Affidavit.pdf                  388698      2/15/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78721              Purchase Agreement.pdf                  1190691       2/15/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78721              Searches.pdf                            1211132       2/15/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78721              Seller Affidavit.pdf                       81398      2/15/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78721              W9.pdf                                    139120      2/15/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78721              Win Letter.pdf                            160240      2/15/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78722              78722 Mcpherson, Darwin.tv5                10005      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78722              Acknowledgment.pdf                         32972      2/25/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78722              Amended Court Order.pdf                 1306420        2/4/2022 16:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78722              Closing Binder.pdf                     11273341       2/15/2022 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78722              Credit Report.pdf                          14117      2/15/2022 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78722              Disclosure.pdf                             58842      2/15/2022 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78722              Drivers License.pdf                     1968065       2/15/2022 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78722              Original Acknowledgment.pdf                34038      2/15/2022 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78722              Original Court Order.pdf                1664740       2/15/2022 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78722              Purchase Agreement.pdf                    235703      2/15/2022 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78722              Searches.pdf                            2043314       2/15/2022 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78722              Seller Affidavit.pdf                       84199      2/15/2022 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78722              W9.pdf                                    120131      2/15/2022 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78722              Win Letter.pdf                            152572      2/15/2022 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              78723 Faust, Billie.tv5                    10375      10/9/2024 17:35




                                                               1889
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1891 of
                                       3467



               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              Affidavit.pdf                               56712      2/11/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              Application.pdf                            121351       2/7/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              Assignment.pdf                             221005      10/9/2024 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              Authorization for Deductions.pdf            38188       2/7/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              Benefits Letter.pdf                        248652      12/5/2018 11:40
Saiph consulting|\Audit Materials Received-   Billie Faust 2754505289AN Request for
SuttonPark\Closing Binders\78723              Acknowledgment.pdf                       1506078        3/3/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              78723 Faust CO.pdf                       1051096
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              78723 Faust Stip.pdf                       523195
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              Civil Cover Sheet - Nevada County.pdf      169659       1/5/2022 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              Closing Binder.pdf                       4785513       2/10/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              Closing Statement - unsigned.pdf            46112      2/16/2022 19:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              Court order.pdf                          1053111       2/17/2022 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              Credit Report.pdf                          450183      2/17/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              Disclosure AR.pdf                           97760      2/11/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              Disclosure AZ.pdf                           97994      2/11/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              Disclosure CO.pdf                           97452      2/11/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              Disclosure NE.pdf                           83130      2/11/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              DocuSign Cert - 2128.pdf                   149138      10/9/2024 19:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              DocuSign Cert - Assignment and PA.pdf      278818      2/17/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              Drivers License.pdf                      1760871       12/5/2018 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              Order Granting Transfer.pdf                191218       1/5/2022 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              PA - signed by SS Exchange Rep.pdf         287534      10/9/2024 20:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              Pleadings.pdf                            1732160       2/11/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              Purchase Agreement.pdf                     188016      2/11/2022 13:51




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                                       3467



               All Paths/Locations                                Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              Searches.pdf                               40013      2/17/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              Settlement Agreement Affidavit.pdf         38732       2/7/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              Social Security Card.pdf                   40101      2/22/2018 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              Stip - Missing Cozen.pdf                  761574      2/11/2022 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78723              stipulation.pdf                           520257      2/18/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78728              78728 Griffith, Shornnel.tv5               10836      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78728              Affidavit.pdf                           6572109       2/10/2022 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78728              Annuity Contract.pdf                      203172       1/27/2022 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78728              Application.pdf                           908116      1/10/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78728              assignment to JJWR.pdf                     51253      2/10/2022 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78728              Court Order - Amended.pdf                 114999      2/18/2022 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78728              Court Order.pdf                           277325      2/11/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78728              Credit Report.pdf                         167657      1/12/2022 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78728              Disclosure FL.pdf                         733253      2/14/2022 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78728              Disclosure NJ.pdf                         515197      2/14/2022 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78728              Lien and Judgement.pdf                     23496      10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78728              Petition Amended.pdf                   12566553       2/17/2022 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78728              Pleadings.pdf                           9712955       2/14/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78728              Purchase Agreement.pdf                  7902610       2/14/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78728              Settlement Agreement and Release.pdf      246023      9/16/2021 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78728              Social Security Card and ID.pdf         3407451       2/10/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78728              Stipulation - Final.pdf                   651149      3/23/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78728              Stipulation.pdf                         1123551       2/25/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78728              UCC Searches.pdf                           23773      10/9/2024 17:41




                                                                1891
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                                       3467



               All Paths/Locations                                 Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              78729 Montalvo, Mark.tv5                              56197      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              Ack of CA - 9629.pdf                                 586307       2/16/2022 7:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              Ack of CA - 9636.pdf                                 587532       2/16/2022 7:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              Affidavit.pdf                                        102164      2/11/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              Annuity Contract.pdf                                 317814      2/11/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              Application.pdf                                      107333      2/11/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              Assignment Agreement.pdf                             110891      2/16/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              Authorization.pdf                                    195761      2/11/2022 15:13
Saiph consulting|\Audit Materials Received-   Banner Life Insurance Policy 181929629_Mark
SuttonPark\Closing Binders\78729              Montalvo Feb 2023.pdf                              1483194        2/14/2023 7:48
Saiph consulting|\Audit Materials Received-   Banner Life Insurance Policy 181929636_Mark
SuttonPark\Closing Binders\78729              Montalvo Feb 2023.pdf                                504951       2/14/2023 7:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              CA - Blank.pdf                                     1429175       2/11/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              CA - completed.pdf                                 1541558       2/11/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              COB Request.pdf                                      172805      2/11/2022 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              Court Order.pdf                                      176845      2/11/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              Credit Report.pdf                                     29165      2/11/2022 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              Driver License.pdf                                   100661      2/11/2022 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              Fasano Report.pdf                                    154906      2/11/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              Funding Book.pdf                                  32150996       2/10/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              HIPAA signed.pdf                                     148185      10/9/2024 19:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              Irrevocable POA.pdf                                  182347      2/11/2022 15:12
Saiph consulting|\Audit Materials Received-   Legal and General Grace Notice policy 18129636
SuttonPark\Closing Binders\78729              Mark Montalvo.pdf                                    156140        3/7/2023 8:20
Saiph consulting|\Audit Materials Received-   Legal and General Grace Notice policy
SuttonPark\Closing Binders\78729              181929629.pdf                                        156140        3/7/2023 8:20
Saiph consulting|\Audit Materials Received-   Life Ins Payments Banner Wells Fargo - proof of
SuttonPark\Closing Binders\78729              premium payment.pdf                                   62750       2/4/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              Life Policy - 9629.pdf                             4430615       2/11/2022 15:26




                                                               1892
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                                       3467



               All Paths/Locations                                  Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              Life Policy - 9636.pdf                        4287330       2/11/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              Medical Questionnaire.pdf                       945714      2/11/2022 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              Pleading.pdf                                 43262044       2/11/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              Policy Info.pdf                                  46997      2/11/2022 15:09
Saiph consulting|\Audit Materials Received-   Proof of Premium payment 2 - Screenshot of
SuttonPark\Closing Binders\78729              Bank Acct.pdf                                   261201       2/16/2022 7:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              Purchase Agreement.pdf                          812758      2/11/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              Searches.pdf                                     70050      2/11/2022 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              Settlement Agreement.pdf                        936441      2/11/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              SSC.pdf                                          48566      2/11/2022 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78729              Stipulations.pdf                              3746720       2/11/2022 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78733              78733 Chenevert, Anthony.tv5                     10125      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78733              AnnuityContract.pdf                          11079946        5/5/2022 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78733              Application.pdf                                 911318       5/5/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78733              Assignment.pdf                                   91803      5/13/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78733              Authorizations.pdf                              106481       5/5/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78733              Bankruptcy Search.pdf                            98706       5/5/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78733              Chenevert Closing Binder.pdf                 13919148        5/4/2022 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78733              Court Order.pdf                                 789437      5/10/2022 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78733              Credit Report.pdf                                23399       5/5/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78733              Disclosure - TX.pdf                             105448       5/5/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78733              Docusign Certificate 803.pdf                     17169       5/5/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78733              Docusign Certificate E77.pdf                     17176       5/5/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78733              Drivers License.pdf                              89863       5/5/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78733              Final Judgment.pdf                              110487       5/5/2022 16:36




                                                              1893
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                                       3467



               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78733              Pleadings.pdf                                   9278747        5/5/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78733              Purchase Agreement date March 3 2022.pdf          180576       5/5/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78733              Purchase Agreement dated March 9 2022.pdf       2021651        5/5/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78733              Searches.pdf                                      384207       5/5/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78733              Seller Identification.pdf                         106816       5/5/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78733              Social Security Card.pdf                          170954       5/5/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78734              78734 Shelby, Alexzandrea.tv5                      10756      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78734              AC- Partial.pdf                                   102258      2/22/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78734              Annuity Contract.pdf                            2124058       2/24/2022 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78734              Application.pdf                                   153428      2/18/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78734              Court Order.pdf                                   351922      2/24/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78734              Credit Report.pdf                                 138703      2/18/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78734              Disclosure Statement.pdf                           90158      2/18/2022 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78734              DocuSign Cert - 65AE.pdf                           24255      2/18/2022 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78734              Identification Card.pdf                            68021      2/18/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78734              Pleadings.pdf                                   3028303       2/18/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78734              Pre-Closing Book.pdf                            4889452       2/17/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78734              Proof of Disc Delivery.pdf                        127830      2/18/2022 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78734              Purchase Agreement.pdf                            369221      2/18/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78734              Qualified Assignment.pdf                          665221      2/24/2022 19:59
Saiph consulting|\Audit Materials Received-   Redirection Confirmation New_Protective Life
SuttonPark\Closing Binders\78734              up03-03-2023.pdf                                  340590        3/3/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78734              Searches.pdf                                      114813      2/18/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78734              Settlement Docket.pdf                             208094      2/18/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78734              Social Security Card.pdf                           92679      2/18/2022 16:51




                                                                1894
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1896 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78734              Statement in Support.pdf                162488      2/18/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78734              Stip - Missing Lincoln.pdf              686273      2/18/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78734              Stipulation.pdf                         634622       3/1/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78737              78737 Swims, Dana.tv5                    10187      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78737              Affidavit in Support.pdf                143158      2/14/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78737              Annuity Contract.pdf                  2059917       2/14/2022 16:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78737              Application.pdf                         412741      2/14/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78737              Assignment Executed.pdf                 755827      2/16/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78737              Bankruptcy Search.pdf                   397756      2/14/2022 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78737              Benefit Letter.pdf                      948963      2/14/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78737              Closing Binder.pdf                   14065238       2/10/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78737              Court Order.pdf                         321201      2/11/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78737              Credit Report.pdf                       518956      2/15/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78737              DcouSign Cert 2A90.pdf                   55809      2/15/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78737              DcouSign Cert 3F55.pdf                   72264      2/14/2022 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78737              Disclosure.pdf                          107829      2/14/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78737              Divorce Decree.pdf                      150241      2/14/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78737              DocuSign Cert 7968.pdf                   82148      2/14/2022 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78737              Driver License.pdf                    3766006       2/14/2022 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78737              Notice Of Hearing.pdf                 1705047       2/15/2022 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78737              Pleadings.pdf                         1525677       2/14/2022 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78737              Purchase agreement.pdf                  895349      2/14/2022 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78737              Searches.pdf                            809249      2/14/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78737              Settlement Agreement.pdf              3956606       2/14/2022 16:51




                                                                1895
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1897 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78737              Social Security Card.pdf                193414      2/14/2022 16:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78737              Stipulation executed.pdf              1067152       2/16/2022 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78737              ZIP Code USPS.pdf                        63025      2/14/2022 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738              78738 Delgado, Jose.tv5                  10241      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738              Acknowledgment.PDF                       53292       3/10/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738              Affidavit.pdf                            93434      2/15/2022 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738              Application.pdf                         117266      2/11/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738              Assignment.pdf                           78618      2/16/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738              Benefits Letter.pdf                     176523      2/11/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738              Best Structure LLC.pdf                   39644      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738              Closing Binder.pdf                   18220857       2/13/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738              Court Order.pdf                         366175      2/11/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738              Credit Report.pdf                        19768      2/14/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738              Disclosure DE.pdf                       129754      2/13/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738              Disclosure MA.pdf                       136301      2/13/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738              Disclosure NJ.pdf                       128614      2/13/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738              DocuSign Cert - 0235.pdf                295955      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738              Fasano Report.pdf                       117939      1/25/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738              HIPAA.pdf                               143217      2/16/2022 17:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738              Identification Card.pdf                 518293      2/16/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738              LE Analysis.pdf                         195981      2/17/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738              Medical Questionnaire.pdf               551328      2/16/2022 17:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738              New - Acknowledgment.pdf                 53292       3/10/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738              Pleadings.pdf                         3947348       2/13/2022 17:18




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               All Paths/Locations                                 Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738               POR - Current bil.pdf                            112038       2/7/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738               POR - Utility Bill.pdf                            86995      2/16/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738               Proof of SSN.pdf                                 631624      11/4/2021 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738               Purchase Agreement.pdf                           997476      2/16/2022 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738               Searches.pdf                                      30984      2/14/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738               Settlement Agreement.pdf                       12509879     10/28/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738               SSN Verification.pdf                             158399       7/29/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738               UCC Search.pdf                                    27672      2/16/2022 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78738               Updated Searches.pdf                              32536      2/16/2022 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740               78740 Samuel, Shera.tv5                           10668      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740               Amended Court order.pdf                          121957      3/23/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740               Annuity Contract.pdf                            9520423      1/30/2023 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740               Application.pdf                                  423470     12/20/2021 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740               Assignment.pdf                                   181179      3/23/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740               Auth to Release Info.pdf                          73832     12/20/2021 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2021                                      01.31.21.xlsx                                  76244913      2/19/2021 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2021                                      02.28.21.xlsx                                  82047671      3/19/2021 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2021                                      03.31.21.xlsx                                 149776694       6/7/2024 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2021                                      04.30.21.xlsx                                 151451103       6/7/2024 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2021                                      05.31.21-1.xlsx                               252067659       6/7/2024 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2021                                      06.30.21.xlsx                                 224194582       6/7/2024 12:13




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               All Paths/Locations                               Unified Title                   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2021                                      07.31.21.xlsx                                     191670770       6/7/2024 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2021                                      08.31.21.xlsx                                     192055830      9/27/2021 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2021                                      09.30.21.xlsx                                      76060697      11/1/2021 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2021                                      10.31.21-1.xlsx                                    49768084      12/1/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2021                                      11.30.21.xlsx                                      43018232      12/23/2021 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2021                                      12.31.21 updated 12.19.22-jp.xlsx                  29676732       6/7/2024 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2021                                      12.31.21 updated 12.19.22.xlsx                     29263703       1/3/2023 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2021                                      12.31.21 updated 2.3.22.xlsx                       50762185       6/7/2024 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2021                                      12.31.21 updated 9.7.22.xlsx                       47779791       9/8/2022 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2021                                      12.31.21 updated 9.7.22jp.xlsx                     47813607       6/7/2024 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2021                                      12.31.21-1.xlsx                                    51071369       6/7/2024 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\2022\Email backup                         Dorchester July distribution due today              4384768      8/25/2021 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   Copy of Dorchester II Monthly Report - 20210730
2024\2022\Email backup                         (Draft) v1.xlsm                                     3993828      8/25/2021 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\2022\Email backup                         FW: Dorchester Distribution - 11.30.21 Report        125952     12/15/2021 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\2022\Email backup                         FW: Dorchester Monthly Report - 9.30.21 (Draft)      203776     10/27/2021 12:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\2022\Email backup                         FW: Over 90 Days Payments December                  1728512     12/23/2021 14:08




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               All Paths/Locations                               Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\2022\Email backup                         December 90 Day + .xlsx                        1436252      12/23/2021 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\2022\Email backup                         RE: Dorchester Collection Topoff                 287744      12/29/2021 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\2022\Email backup                         RE: Dorchester July distribution due today       320512      8/25/2021 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\2022\Email backup                         RE: Dorchester June distribution due today       314880      7/21/2021 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\2022\Email backup                         RE: FoF - 11.23.21 SPC                           211456     11/29/2021 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\2022\Email backup                         RE: Over 90 Day Floats                        14987264       8/25/2021 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\2022\Email backup                         90 Days_August.xlsx                           14608049       8/25/2021 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   Re: SPC Over 90 Day Floats - Payment Due on
2024\2022\Email backup                         October 28                                       209920     11/17/2021 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      02.28.22 - updated 01.05.23.xlsx              42419965        1/5/2023 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      02.28.22 - updated 09.07.22.xlsx              60916298        9/8/2022 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      02.28.22.xlsx                                 63918763       3/24/2022 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      03.31.22 - updated 01.05.23.xlsx              64834223        1/6/2023 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      03.31.22 - updated 09.07.22.xlsx              82986139        9/8/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      03.31.22.xlsx                                 85980762       4/29/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      04.30.22 - updated 01.09.23.xlsx              75188695        1/9/2023 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      04.30.22 - updated 09.07.22 .xlsx             92834874       8/22/2024 18:17




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               All Paths/Locations                               Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      04.30.22.xlsx                                 96076726        6/6/2022 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      05.31.22 - updated 01.09.23.xlsx              74188796        1/9/2023 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      05.31.22 - updated 09.07.22.xlsx              92323784        9/8/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      05.31.22.xlsx                                 95319240         7/8/2022 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      06.30.22 - updated 01.09.23.xlsx              60683093        1/9/2023 19:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      06.30.22 - updated 09.07.22.xlsx              78630636        9/8/2022 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      06.30.22.xlsx                                 81182511        8/2/2022 19:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      07.31.22 - updated 01.10.23.xlsx              60649598        1/10/2023 6:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      07.31.22 - updated 09.07.22.xlsx              78623778        9/8/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      07.31.22.xlsx                                 81172323       8/17/2022 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      08.31.22 updated 01.10.23.xlsx                60995723       1/10/2023 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      08.31.22.xlsx                                 81549414       9/21/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      09.30.22 - updated 01.10.23.xlsx              58753491       1/10/2023 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      09.30.22.xlsx                                 79358889      10/26/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      1.31.22 - updated 01.05.23.xlsx               35561758        1/5/2023 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      1.31.22 - updated 09.07.22.xlsx               53948339        9/8/2022 12:13




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               All Paths/Locations                               Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      1.31.22.xlsx                                  56943924        3/2/2022 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      10.31.22 - updated 01.12.23.xlsx              59062731       1/12/2023 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      10.31.22.xlsx                                 79711342       12/5/2022 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      11.30.22.xlsx                                 59124024       1/17/2023 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2022                                      12.31.22.xlsx                                 70591660       8/22/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2023                                      01.31.23.xlsx                                 70755642        4/4/2023 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2023                                      02.28.23.xlsx                                 70755231        4/4/2023 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2023                                      03.31.23.xlsx                                 70716535        5/2/2023 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2023                                      04.30.23.xlsx                                 70740861       5/22/2023 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2023                                      05.31.23.xlsx                                 70737147       7/12/2023 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2023                                      06.30.23.xlsx                                 70500558       7/25/2023 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2023                                      07.31.23.xlsx                                 70448281       8/22/2023 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2023                                      08.31.23.xlsx                                 70386837       9/27/2023 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2023                                      09.30.23.xlsx                                 70296971      12/21/2023 19:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2023                                      10.31.23.xlsx                                 70388086         2/7/2024 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2023                                      11.30.23.xlsx                                 70150800       2/22/2024 17:05




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               All Paths/Locations                               Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2024                                      01.31.24.xlsx                                  69878535      4/26/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2024                                      02.29.24.xlsx                                  69485197       6/3/2024 19:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-   SuttonPark - Structured Settlement Matrix -
2024\2024                                      03.31.24.xlsx                                  68701806      8/22/2024 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2021\Volans
Matrices 06.30.21                              Volans Aggregate File_20210630 (1).xlsb       249277065      7/29/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2021\Volans
Matrices 06.30.21                              Volans Matrix_20210630.xlsb                   329843254       8/2/2021 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2021\Volans
Matrices 07.31.21                              Volans Matrix_20210731.xlsb                   313767580      8/24/2021 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2021\Volans
Matrices 08.31.21                              Volans Matrix_20210831.xlsb                   317627402      9/27/2021 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2021\Volans
Matrices 09.30.21                              Volans Matrix_20210930.xlsb                   284905669     10/28/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2021               Volans Matrix_20211031.xlsb                   302235793     11/29/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2021               Volans Matrix_20211031.xlsx                   302235793     11/29/2021 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2021               Volans Matrix_20211130.xlsb                   309695559      12/23/2021 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2022               Volans Matrix_20220131.xlsb                   321066549      2/25/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2022               Volans Matrix_20220228.xlsb                   320609316      3/24/2022 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2022               Volans Matrix_20220331.xlsb                   320456744       4/25/2022 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2022               Volans Matrix_20220430.xlsb                   321313819       6/7/2022 13:46


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               All Paths/Locations                             Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2022               Volans Matrix_20220531.xlsb     322040949       7/7/2022 19:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2022               Volans Matrix_20220630.xlsb     330352529       8/1/2022 20:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2022               Volans Matrix_20220731.xlsb     331260544      8/25/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2022               Volans Matrix_20220831.xlsb     329841746      9/22/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2022               Volans Matrix_20220930.xlsb     329422369      11/1/2022 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2022               Volans Matrix_20221031.xlsb     330048682     11/29/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2022               Volans Matrix_20221130.xlsb     329003829      1/17/2023 19:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2022               Volans Matrix_20221231.xlsb     228606176      1/27/2023 19:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2023               Volans Matrix_20230131.xlsb     228299397      2/27/2023 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2023               Volans Matrix_20230228.xlsb     228972326      3/29/2023 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2023               Volans Matrix_20230331.xlsb     228599144      4/28/2023 19:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2023               Volans Matrix_20230430.xlsb     227033426      5/24/2023 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2023               Volans Matrix_20230531.xlsb     226661285      7/17/2023 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2023               Volans Matrix_20230630.xlsb     227169329      7/21/2023 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2023               Volans Matrix_20230731.xlsb     226062010      8/23/2023 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2023               Volans Matrix_20230831.xlsb     226625761      11/1/2023 19:06




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Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2023               Volans Matrix_20230930.xlsb                   226537963      12/22/2023 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2023               Volans Matrix_20231031.xlsb                   225479048      11/30/2023 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2023               Volans Matrix_20231130.xlsb                   225365887       2/26/2024 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2023               Volans Matrix_20231231.xlsb                   225189527       3/14/2024 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2024               Volans Matrix_20240131.xlsb                   224987243        5/2/2024 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting Records\Matrices 2022-
2024\Volans Matrices\Volans 2024               Volans Matrix_20240229.xlsb                   224887006       8/22/2024 18:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting                          Approval Request_Flow of Funds (SPLCSS &
Records\SPLCSS\2022\Email backup               DORCHESTER_SWAPTIONS)                           1550336      10/29/2021 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting
Records\SPLCSS\2022\Email backup               Copy of Flow of Funds - 10.29.21.xlsm           1374195      10/29/2021 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting
Records\SPLCSS\2022\Email backup               Default Payments to be floated Draft             333312       9/29/2021 12:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Accounting
Records\SPLCSS\2022\Email backup               September Default.xlsx                            98699       9/29/2021 12:53
Saiph consulting|\Audit Materials Received-    SuttonPark - Structured Settlement Matrix -
SuttonPark\Accounting Records\SPLCSS\2023      12.31.23.xlsx                                  69839616       3/18/2024 14:57
                                               10735
Saiph consulting|\Audit Materials Received-    List_of_Associated_Deals_5_29_2024_12_07_59
SuttonPark\Annuity Masters                     _PM.xls                                             2491      10/9/2024 16:19
                                               10735
Saiph consulting|\Audit Materials Received-    Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                     08_01_PM.xls                                     145673       10/9/2024 16:19
                                               10766
Saiph consulting|\Audit Materials Received-    List_of_Associated_Deals_5_29_2024_12_08_39
SuttonPark\Annuity Masters                     _PM.xls                                             3207      10/9/2024 16:19
                                               10766
Saiph consulting|\Audit Materials Received-    Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                     08_41_PM.xls                                     278036       10/9/2024 16:20
                                               13240
Saiph consulting|\Audit Materials Received-    List_of_Associated_Deals_5_29_2024_12_09_20
SuttonPark\Annuity Masters                     _PM.xls                                             2460      10/9/2024 16:19
                                               13240
Saiph consulting|\Audit Materials Received-    Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                     09_22_PM.xls                                     182258       10/9/2024 16:19


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                                              17916
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_09_52
SuttonPark\Annuity Masters                    _PM.xls                                             2120      10/9/2024 16:18
                                              17916
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    09_54_PM.xls                                     168460       10/9/2024 16:19
                                              18044
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_11_17
SuttonPark\Annuity Masters                    _PM.xls                                             2477      10/9/2024 16:19
                                              18044
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    11_18_PM.xls                                     180271       10/9/2024 16:19
                                              18113
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_11_49
SuttonPark\Annuity Masters                    _PM.xls                                             2142      10/9/2024 16:19
                                              18113
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    11_55_PM.xls                                     151873       10/9/2024 16:19
                                              18192
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_13_47
SuttonPark\Annuity Masters                    _PM.xls                                             2128      10/9/2024 16:19
                                              18192
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    13_49_PM.xls                                      99865       10/9/2024 16:19
                                              18252
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_14_31
SuttonPark\Annuity Masters                    _PM.xls                                             2109      10/9/2024 16:18
                                              18252
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    14_33_PM.xls                                        9760      10/9/2024 16:19
                                              18317
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_15_12
SuttonPark\Annuity Masters                    _PM.xls                                             2117      10/9/2024 16:18
                                              18317
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    15_14_PM.xls                                     206473       10/9/2024 16:19
                                              18368
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_16_20
SuttonPark\Annuity Masters                    _PM.xls                                             2129      10/9/2024 16:19
                                              18368
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    16_24_PM.xls                                      55660       10/9/2024 16:19
                                              18431
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_17_07
SuttonPark\Annuity Masters                    _PM.xls                                             2118      10/9/2024 16:18
                                              18431
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    17_09_PM.xls                                     114457       10/9/2024 16:19




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                                              18435
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_17_46
SuttonPark\Annuity Masters                    _PM.xls                                             2471      10/9/2024 16:19
                                              18435
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    17_49_PM.xls                                     209241       10/9/2024 16:19
                                              18604
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_18_22
SuttonPark\Annuity Masters                    _PM.xls                                             2837      10/9/2024 16:19
                                              18604
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    18_23_PM.xls                                     209959       10/9/2024 16:19
                                              18617
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_19_01
SuttonPark\Annuity Masters                    _PM.xls                                             2837      10/9/2024 16:19
                                              18617
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    19_02_PM.xls                                     209959       10/9/2024 16:19
                                              18623
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_19_30
SuttonPark\Annuity Masters                    _PM.xls                                             2115      10/9/2024 16:18
                                              18623
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    19_32_PM.xls                                     167489       10/9/2024 16:19
                                              18731
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_20_02
SuttonPark\Annuity Masters                    _PM.xls                                             2127      10/9/2024 16:19
                                              18731
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    20_03_PM.xls                                     159790       10/9/2024 16:19
                                              18783
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_20_34
SuttonPark\Annuity Masters                    _PM.xls                                             2492      10/9/2024 16:19
                                              18783
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    20_36_PM.xls                                     176473       10/9/2024 16:19
                                              18803
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_21_12
SuttonPark\Annuity Masters                    _PM.xls                                             2124      10/9/2024 16:18
                                              18803
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    21_13_PM.xls                                     138529       10/9/2024 16:19
                                              18812
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_26_27
SuttonPark\Annuity Masters                    _PM.xls                                             3231      10/9/2024 16:19
                                              18812
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    26_28_PM.xls                                     282287       10/9/2024 16:20




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                                              18813
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_27_07
SuttonPark\Annuity Masters                    _PM.xls                                             2115      10/9/2024 16:18
                                              18813
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    27_10_PM.xls                                     165831       10/9/2024 16:19
                                              18833
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_27_45
SuttonPark\Annuity Masters                    _PM.xls                                             2109      10/9/2024 16:18
                                              18833
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    27_47_PM.xls                                     186337       10/9/2024 16:19
                                              22693
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_28_18
SuttonPark\Annuity Masters                    _PM.xls                                             2106      10/9/2024 16:17
                                              22693
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    28_18_PM.xls                                     132806       10/9/2024 16:19
                                              22708
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_28_51
SuttonPark\Annuity Masters                    _PM.xls                                             2114      10/9/2024 16:18
                                              22708
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    28_53_PM.xls                                      83590       10/9/2024 16:19
                                              22713
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_29_30
SuttonPark\Annuity Masters                    _PM.xls                                             2128      10/9/2024 16:19
                                              22713
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    29_32_PM.xls                                        2024      10/9/2024 16:17
                                              22717
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_30_11
SuttonPark\Annuity Masters                    _PM.xls                                             2854      10/9/2024 16:19
                                              22717
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    30_11_PM.xls                                     255438       10/9/2024 16:20
                                              23316
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_30_38
SuttonPark\Annuity Masters                    _PM.xls                                             2108      10/9/2024 16:18
                                              23316
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    30_39_PM.xls                                     219069       10/9/2024 16:19
                                              29413
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_31_28
SuttonPark\Annuity Masters                    _PM.xls                                             2117      10/9/2024 16:18
                                              29413
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    31_12_PM.xls                                     156514       10/9/2024 16:19




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                                              29475
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_32_06
SuttonPark\Annuity Masters                    _PM.xls                                             3176      10/9/2024 16:19
                                              29475
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    32_07_PM.xls                                     329858       10/9/2024 16:20
                                              29656
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_33_06
SuttonPark\Annuity Masters                    _PM.xls                                             2836      10/9/2024 16:19
                                              29656
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    33_13_PM.xls                                     231511       10/9/2024 16:19
                                              29699
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_33_54
SuttonPark\Annuity Masters                    _PM.xls                                             3229      10/9/2024 16:19
                                              29699
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    33_56_PM.xls                                     343753       10/9/2024 16:20
                                              29700
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_34_47
SuttonPark\Annuity Masters                    _PM.xls                                             2818      10/9/2024 16:19
                                              29700
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    34_53_PM.xls                                     166143       10/9/2024 16:19
                                              30856
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_35_48
SuttonPark\Annuity Masters                    _PM.xls                                             2845      10/9/2024 16:19
                                              30856
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    35_50_PM.xls                                     284170       10/9/2024 16:20
                                              31039
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_36_30
SuttonPark\Annuity Masters                    _PM.xls                                             2490      10/9/2024 16:19
                                              31039
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    36_32_PM.xls                                      71070       10/9/2024 16:19
                                              31067
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_37_16
SuttonPark\Annuity Masters                    _PM.xls                                             2486      10/9/2024 16:19
                                              31067
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    37_18_PM.xls                                     210015       10/9/2024 16:19
                                              31115
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_37_58
SuttonPark\Annuity Masters                    _PM.xls                                             2107      10/9/2024 16:18
                                              31115
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    38_01_PM.xls                                     124275       10/9/2024 16:19




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                                              31364
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_38_39
SuttonPark\Annuity Masters                    _PM.xls                                             2117      10/9/2024 16:18
                                              31364
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    38_40_PM.xls                                     166101       10/9/2024 16:19
                                              31397
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_39_18
SuttonPark\Annuity Masters                    _PM.xls                                             2113      10/9/2024 16:18
                                              31397
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    39_19_PM.xls                                     132217       10/9/2024 16:19
                                              31561
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_39_56
SuttonPark\Annuity Masters                    _PM.xls                                             2110      10/9/2024 16:18
                                              31561
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    39_57_PM.xls                                     134947       10/9/2024 16:19
                                              31762
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_40_30
SuttonPark\Annuity Masters                    _PM.xls                                             2465      10/9/2024 16:19
                                              31762
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    40_32_PM.xls                                      14213       10/9/2024 16:19
                                              33582
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_51_35
SuttonPark\Annuity Masters                    _PM.xls                                             2117      10/9/2024 16:18
                                              33582
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    51_36_PM.xls                                     219613       10/9/2024 16:19
                                              34894
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_52_21
SuttonPark\Annuity Masters                    _PM.xls                                             2495      10/9/2024 16:19
                                              34894
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    52_22_PM.xls                                     210653       10/9/2024 16:19
                                              34982
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_52_59
SuttonPark\Annuity Masters                    _PM.xls                                             2117      10/9/2024 16:18
                                              34982
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    53_00_PM.xls                                      56323       10/9/2024 16:19
                                              35021
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_53_35
SuttonPark\Annuity Masters                    _PM.xls                                             2123      10/9/2024 16:18
                                              35021
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    53_36_PM.xls                                     171385       10/9/2024 16:19




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                                              35130
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_54_37
SuttonPark\Annuity Masters                    _PM.xls                                             3911      10/9/2024 16:19
                                              35130
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    54_44_PM.xls                                     404828       10/9/2024 16:20
                                              35314
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_57_54
SuttonPark\Annuity Masters                    _PM.xls                                             3194      10/9/2024 16:19
                                              35314
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    57_56_PM.xls                                     200535       10/9/2024 16:19
                                              35407
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_58_38
SuttonPark\Annuity Masters                    _PM.xls                                             3238      10/9/2024 16:19
                                              35407
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    58_40_PM.xls                                     254143       10/9/2024 16:19
                                              35493
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_59_17
SuttonPark\Annuity Masters                    _PM.xls                                             2124      10/9/2024 16:19
                                              35493
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    59_18_PM.xls                                     123514       10/9/2024 16:19
                                              35499
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_59_52
SuttonPark\Annuity Masters                    _PM.xls                                             2095      10/9/2024 16:17
                                              35499
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    59_54_PM.xls                                     139244       10/9/2024 16:19
                                              35504
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_1_15_23_
SuttonPark\Annuity Masters                    PM.xls                                              2138      10/9/2024 16:19
                                              35504
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_1_1
SuttonPark\Annuity Masters                    5_25_PM.xls                                       77570       10/9/2024 16:19
                                              35526
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_1_16_09_
SuttonPark\Annuity Masters                    PM.xls                                              3906      10/9/2024 16:19
                                              35526
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_1_1
SuttonPark\Annuity Masters                    6_10_PM.xls                                      301641       10/9/2024 16:20
                                              35568
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_1_17_27_
SuttonPark\Annuity Masters                    PM.xls                                              2113      10/9/2024 16:18
                                              35568
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_1_1
SuttonPark\Annuity Masters                    7_29_PM.xls                                      177426       10/9/2024 16:19




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                                              35586
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_1_18_14_
SuttonPark\Annuity Masters                    PM.xls                                              2489      10/9/2024 16:19
                                              35586
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_1_1
SuttonPark\Annuity Masters                    8_16_PM.xls                                      317551       10/9/2024 16:20
                                              35898
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_1_18_56_
SuttonPark\Annuity Masters                    PM.xls                                              2493      10/9/2024 16:19
                                              35898
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_1_1
SuttonPark\Annuity Masters                    8_48_PM.xls                                      161495       10/9/2024 16:19
                                              36116
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_1_19_33_
SuttonPark\Annuity Masters                    PM.xls                                              2472      10/9/2024 16:19
                                              36116
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_1_1
SuttonPark\Annuity Masters                    9_34_PM.xls                                      199445       10/9/2024 16:19
                                              36123
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_1_20_20_
SuttonPark\Annuity Masters                    PM.xls                                              2815      10/9/2024 16:19
                                              36123
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_1_2
SuttonPark\Annuity Masters                    0_21_PM.xls                                      300377       10/9/2024 16:20
                                              37796
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_23_54_
SuttonPark\Annuity Masters                    PM.xls                                              2493      10/9/2024 16:19
                                              37796
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_2
SuttonPark\Annuity Masters                    3_55_PM.xls                                      235669       10/9/2024 16:19
                                              3793
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_00_23
SuttonPark\Annuity Masters                    _PM.xls                                             2150      10/9/2024 16:19
                                              3793
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    00_27_PM.xls                                      66711       10/9/2024 16:19
                                              3794
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_33_31_
SuttonPark\Annuity Masters                    PM.xls                                              2478      10/9/2024 16:19
                                              3794
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_3
SuttonPark\Annuity Masters                    3_32_PM.xls                                      204996       10/9/2024 16:19
                                              3827
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_11_59_02
SuttonPark\Annuity Masters                    _AM.xls                                             2488      10/9/2024 16:19
                                              3827
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_11_
SuttonPark\Annuity Masters                    58_08_AM.xls                                     261389       10/9/2024 16:20




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                                              38923
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_25_39_
SuttonPark\Annuity Masters                    PM.xls                                              2124      10/9/2024 16:18
                                              38923
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_2
SuttonPark\Annuity Masters                    5_41_PM.xls                                       81281       10/9/2024 16:19
                                              38942
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_26_26_
SuttonPark\Annuity Masters                    PM.xls                                              2492      10/9/2024 16:19
                                              38942
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_2
SuttonPark\Annuity Masters                    6_27_PM.xls                                      220266       10/9/2024 16:20
                                              39017
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_27_22_
SuttonPark\Annuity Masters                    PM.xls                                              5352      10/9/2024 16:19
                                              39017
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_2
SuttonPark\Annuity Masters                    7_23_PM.xls                                      515335       10/9/2024 16:20
                                              39019
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_28_12_
SuttonPark\Annuity Masters                    PM.xls                                              2121      10/9/2024 16:18
                                              39019
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_2
SuttonPark\Annuity Masters                    8_13_PM.xls                                      147131       10/9/2024 16:20
                                              39876
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_28_51_
SuttonPark\Annuity Masters                    PM.xls                                              2129      10/9/2024 16:19
                                              39876
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_2
SuttonPark\Annuity Masters                    8_52_PM.xls                                      201271       10/9/2024 16:19
                                              39885
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_29_35_
SuttonPark\Annuity Masters                    PM.xls                                              5059      10/9/2024 16:19
                                              39885
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_2
SuttonPark\Annuity Masters                    9_36_PM.xls                                      534878       10/9/2024 16:20
                                              39891
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_30_17_
SuttonPark\Annuity Masters                    PM.xls                                              2118      10/9/2024 16:18
                                              39891
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_3
SuttonPark\Annuity Masters                    0_18_PM.xls                                      130509       10/9/2024 16:19
                                              39893
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_30_47_
SuttonPark\Annuity Masters                    PM.xls                                              2851      10/9/2024 16:19
                                              39893
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_3
SuttonPark\Annuity Masters                    0_48_PM.xls                                      209369       10/9/2024 16:19




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                                              39895
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_31_19_
SuttonPark\Annuity Masters                    PM.xls                                              2136      10/9/2024 16:19
                                              39895
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_3
SuttonPark\Annuity Masters                    1_20_PM.xls                                      222991       10/9/2024 16:19
                                              39911
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_31_52_
SuttonPark\Annuity Masters                    PM.xls                                              2112      10/9/2024 16:18
                                              39911
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_3
SuttonPark\Annuity Masters                    1_53_PM.xls                                      123864       10/9/2024 16:19
                                              39927
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_32_30_
SuttonPark\Annuity Masters                    PM.xls                                              2470      10/9/2024 16:19
                                              39927
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_3
SuttonPark\Annuity Masters                    2_31_PM.xls                                      164604       10/9/2024 16:19
                                              39938
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_34_12_
SuttonPark\Annuity Masters                    PM.xls                                              3950      10/9/2024 16:19
                                              39938
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_3
SuttonPark\Annuity Masters                    4_13_PM.xls                                      416215       10/9/2024 16:20
                                              43965
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_35_16_
SuttonPark\Annuity Masters                    PM.xls                                              2498      10/9/2024 16:19
                                              43965
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_3
SuttonPark\Annuity Masters                    5_18_PM.xls                                      188072       10/9/2024 16:19
                                              44090
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_37_31_
SuttonPark\Annuity Masters                    PM.xls                                              4378      10/9/2024 16:19
                                              44090
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_3
SuttonPark\Annuity Masters                    7_39_PM.xls                                      180982       10/9/2024 16:19
                                              44215
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_38_42_
SuttonPark\Annuity Masters                    PM.xls                                              2836      10/9/2024 16:19
                                              44215
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_3
SuttonPark\Annuity Masters                    8_48_PM.xls                                       85050       10/9/2024 16:19
                                              44248
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_39_21_
SuttonPark\Annuity Masters                    PM.xls                                              2129      10/9/2024 16:19
                                              44248
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_3
SuttonPark\Annuity Masters                    9_22_PM.xls                                      151327       10/9/2024 16:19




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                                              44380
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_40_01_
SuttonPark\Annuity Masters                    PM.xls                                              2461      10/9/2024 16:19
                                              44380
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_4
SuttonPark\Annuity Masters                    0_02_PM.xls                                      207449       10/9/2024 16:19
                                              44406
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_40_32_
SuttonPark\Annuity Masters                    PM.xls                                              2468      10/9/2024 16:19
                                              44406
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_4
SuttonPark\Annuity Masters                    0_33_PM.xls                                      139887       10/9/2024 16:19
                                              45738
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_41_01_
SuttonPark\Annuity Masters                    PM.xls                                              4378      10/9/2024 16:19
                                              45738
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_4
SuttonPark\Annuity Masters                    1_02_PM.xls                                      180982       10/9/2024 16:19
                                              46956
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_43_07_
SuttonPark\Annuity Masters                    PM.xls                                              3207      10/9/2024 16:19
                                              46956
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_4
SuttonPark\Annuity Masters                    3_10_PM.xls                                      278036       10/9/2024 16:20
                                              46968
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_43_37_
SuttonPark\Annuity Masters                    PM.xls                                              2124      10/9/2024 16:19
                                              46968
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_4
SuttonPark\Annuity Masters                    3_38_PM.xls                                      181114       10/9/2024 16:19
                                              46979
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_44_08_
SuttonPark\Annuity Masters                    PM.xls                                              2127      10/9/2024 16:19
                                              46979
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_4
SuttonPark\Annuity Masters                    4_09_PM.xls                                       37741       10/9/2024 16:19
                                              47010
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_44_39_
SuttonPark\Annuity Masters                    PM.xls                                              2869      10/9/2024 16:19
                                              47010
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_4
SuttonPark\Annuity Masters                    4_40_PM.xls                                      324951       10/9/2024 16:20
                                              47046
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_45_14_
SuttonPark\Annuity Masters                    PM.xls                                              2860      10/9/2024 16:19
                                              47046
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_4
SuttonPark\Annuity Masters                    5_16_PM.xls                                      284932       10/9/2024 16:20




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                                              47090
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_45_46_
SuttonPark\Annuity Masters                    PM.xls                                              2461      10/9/2024 16:19
                                              47090
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_4
SuttonPark\Annuity Masters                    5_47_PM.xls                                      165710       10/9/2024 16:19
                                              49022
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_46_14_
SuttonPark\Annuity Masters                    PM.xls                                              3969      10/9/2024 16:19
                                              49022
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_4
SuttonPark\Annuity Masters                    6_31_PM.xls                                      404419       10/9/2024 16:20
                                              49023
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_46_59_
SuttonPark\Annuity Masters                    PM.xls                                              2487      10/9/2024 16:19
                                              49023
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_4
SuttonPark\Annuity Masters                    7_02_PM.xls                                      238113       10/9/2024 16:19
                                              49025
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_47_32_
SuttonPark\Annuity Masters                    PM.xls                                              2114      10/9/2024 16:18
                                              49025
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_4
SuttonPark\Annuity Masters                    7_33_PM.xls                                       82671       10/9/2024 16:19
                                              49026
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_48_06_
SuttonPark\Annuity Masters                    PM.xls                                              2461      10/9/2024 16:19
                                              49026
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_4
SuttonPark\Annuity Masters                    8_07_PM.xls                                      228674       10/9/2024 16:19
                                              49045
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_48_37_
SuttonPark\Annuity Masters                    PM.xls                                              2130      10/9/2024 16:19
                                              49045
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_4
SuttonPark\Annuity Masters                    8_45_PM.xls                                      230458       10/9/2024 16:19
                                              49047
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_49_18_
SuttonPark\Annuity Masters                    PM.xls                                              2858      10/9/2024 16:19
                                              49047
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_4
SuttonPark\Annuity Masters                    9_20_PM.xls                                      301344       10/9/2024 16:20
                                              54533
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_49_46_
SuttonPark\Annuity Masters                    PM.xls                                              3925      10/9/2024 16:19
                                              54533
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_4
SuttonPark\Annuity Masters                    9_47_PM.xls                                      280929       10/9/2024 16:20




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                                              56542
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_50_38_
SuttonPark\Annuity Masters                    PM.xls                                              2121      10/9/2024 16:18
                                              56542
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_5
SuttonPark\Annuity Masters                    0_39_PM.xls                                      159244       10/9/2024 16:19
                                              56580
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_51_06_
SuttonPark\Annuity Masters                    PM.xls                                              2133      10/9/2024 16:19
                                              56580
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_5
SuttonPark\Annuity Masters                    1_08_PM.xls                                       79525       10/9/2024 16:19
                                              56641
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_53_14_
SuttonPark\Annuity Masters                    PM.xls                                              2125      10/9/2024 16:19
                                              56641
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_5
SuttonPark\Annuity Masters                    3_15_PM.xls                                      160863       10/9/2024 16:19
                                              56758
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_53_45_
SuttonPark\Annuity Masters                    PM.xls                                              2122      10/9/2024 16:18
                                              56758
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_5
SuttonPark\Annuity Masters                    3_46_PM.xls                                      154897       10/9/2024 16:19
                                              56770
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_54_12_
SuttonPark\Annuity Masters                    PM.xls                                              2114      10/9/2024 16:18
                                              56770
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_5
SuttonPark\Annuity Masters                    4_13_PM.xls                                      195553       10/9/2024 16:19
                                              56813
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_54_42_
SuttonPark\Annuity Masters                    PM.xls                                              2130      10/9/2024 16:19
                                              56813
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_5
SuttonPark\Annuity Masters                    4_43_PM.xls                                      249334       10/9/2024 16:20
                                              56846
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_55_11_
SuttonPark\Annuity Masters                    PM.xls                                              2125      10/9/2024 16:19
                                              56846
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_5
SuttonPark\Annuity Masters                    5_12_PM.xls                                      217666       10/9/2024 16:19
                                              56905
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_55_44_
SuttonPark\Annuity Masters                    PM.xls                                              2119      10/9/2024 16:18
                                              56905
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_5
SuttonPark\Annuity Masters                    5_45_PM.xls                                      144010       10/9/2024 16:19




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                                              56979
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_56_15_
SuttonPark\Annuity Masters                    PM.xls                                              2108      10/9/2024 16:18
                                              56979
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_5
SuttonPark\Annuity Masters                    6_16_PM.xls                                      127465       10/9/2024 16:19
                                              57159
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_56_44_
SuttonPark\Annuity Masters                    PM.xls                                              2827      10/9/2024 16:19
                                              57159
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_5
SuttonPark\Annuity Masters                    6_46_PM.xls                                      282184       10/9/2024 16:20
                                              5943
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_01_17
SuttonPark\Annuity Masters                    _PM.xls                                             2819      10/9/2024 16:19
                                              5943
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    01_24_PM.xls                                      38900       10/9/2024 16:19
                                              5981
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_02_07
SuttonPark\Annuity Masters                    _PM.xls                                             2447      10/9/2024 16:19
                                              5981
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    02_09_PM.xls                                        2536      10/9/2024 16:19
                                              6038
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_02_50
SuttonPark\Annuity Masters                    _PM.xls                                             2819      10/9/2024 16:19
                                              6038
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    02_52_PM.xls                                      38900       10/9/2024 16:19
                                              61274
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_57_29_
SuttonPark\Annuity Masters                    PM.xls                                              2129      10/9/2024 16:19
                                              61274
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_5
SuttonPark\Annuity Masters                    7_30_PM.xls                                      152826       10/9/2024 16:19
                                              62133
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_58_08_
SuttonPark\Annuity Masters                    PM.xls                                              4723      10/9/2024 16:19
                                              62133
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_5
SuttonPark\Annuity Masters                    8_11_PM.xls                                      224177       10/9/2024 16:20
                                              62481
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_58_54_
SuttonPark\Annuity Masters                    PM.xls                                              2100      10/9/2024 16:17
                                              62481
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_5
SuttonPark\Annuity Masters                    8_55_PM.xls                                      149418       10/9/2024 16:19




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                                              63558
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_3_59_29_
SuttonPark\Annuity Masters                    PM.xls                                              2462      10/9/2024 16:19
                                              63558
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_3_5
SuttonPark\Annuity Masters                    9_35_PM.xls                                      259620       10/9/2024 16:20
                                              64043
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_00_01_
SuttonPark\Annuity Masters                    PM.xls                                              2100      10/9/2024 16:17
                                              64043
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_0
SuttonPark\Annuity Masters                    0_02_PM.xls                                         2301      10/9/2024 16:19
                                              64177
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_00_34_
SuttonPark\Annuity Masters                    PM.xls                                              2833      10/9/2024 16:19
                                              64177
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_0
SuttonPark\Annuity Masters                    0_36_PM.xls                                      262983       10/9/2024 16:20
                                              64190
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_01_08_
SuttonPark\Annuity Masters                    PM.xls                                              2126      10/9/2024 16:19
                                              64190
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_0
SuttonPark\Annuity Masters                    1_14_PM.xls                                      162745       10/9/2024 16:19
                                              64204
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_01_42_
SuttonPark\Annuity Masters                    PM.xls                                              2115      10/9/2024 16:18
                                              64204
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_0
SuttonPark\Annuity Masters                    1_43_PM.xls                                      160273       10/9/2024 16:19
                                              64208
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_02_09_
SuttonPark\Annuity Masters                    PM.xls                                              2492      10/9/2024 16:19
                                              64208
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_0
SuttonPark\Annuity Masters                    2_09_PM.xls                                      204557       10/9/2024 16:19
                                              64245
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_02_35_
SuttonPark\Annuity Masters                    PM.xls                                              2487      10/9/2024 16:19
                                              64245
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_0
SuttonPark\Annuity Masters                    2_36_PM.xls                                      171961       10/9/2024 16:19
                                              64296
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_03_01_
SuttonPark\Annuity Masters                    PM.xls                                              2132      10/9/2024 16:19
                                              64296
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_0
SuttonPark\Annuity Masters                    3_02_PM.xls                                      133321       10/9/2024 16:19




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                                              64299
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_03_27_
SuttonPark\Annuity Masters                    PM.xls                                              2485      10/9/2024 16:19
                                              64299
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_0
SuttonPark\Annuity Masters                    3_29_PM.xls                                      244254       10/9/2024 16:19
                                              64309
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_04_01_
SuttonPark\Annuity Masters                    PM.xls                                              2477      10/9/2024 16:19
                                              64309
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_0
SuttonPark\Annuity Masters                    4_02_PM.xls                                      260723       10/9/2024 16:20
                                              64331
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_04_30_
SuttonPark\Annuity Masters                    PM.xls                                              2123      10/9/2024 16:18
                                              64331
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_0
SuttonPark\Annuity Masters                    4_31_PM.xls                                      220942       10/9/2024 16:19
                                              64343
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_04_56_
SuttonPark\Annuity Masters                    PM.xls                                              2497      10/9/2024 16:19
                                              64343
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_0
SuttonPark\Annuity Masters                    4_57_PM.xls                                      196709       10/9/2024 16:19
                                              64351
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_05_32_
SuttonPark\Annuity Masters                    PM.xls                                              2124      10/9/2024 16:19
                                              64351
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_0
SuttonPark\Annuity Masters                    5_34_PM.xls                                      116725       10/9/2024 16:19
                                              64371
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_06_02_
SuttonPark\Annuity Masters                    PM.xls                                              1777      10/9/2024 16:17
                                              64371
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_0
SuttonPark\Annuity Masters                    6_07_PM.xls                                       35393       10/9/2024 16:19
                                              64377
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_06_39_
SuttonPark\Annuity Masters                    PM.xls                                              2123      10/9/2024 16:18
                                              64377
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_0
SuttonPark\Annuity Masters                    6_40_PM.xls                                      164977       10/9/2024 16:19
                                              64379
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_07_07_
SuttonPark\Annuity Masters                    PM.xls                                              2126      10/9/2024 16:19
                                              64379
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_0
SuttonPark\Annuity Masters                    7_09_PM.xls                                      111133       10/9/2024 16:19




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                                              64382
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_07_51_
SuttonPark\Annuity Masters                    PM.xls                                              2127      10/9/2024 16:19
                                              64382
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_0
SuttonPark\Annuity Masters                    7_52_PM.xls                                      106009       10/9/2024 16:19
                                              64384
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_08_25_
SuttonPark\Annuity Masters                    PM.xls                                              2125      10/9/2024 16:19
                                              64384
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_0
SuttonPark\Annuity Masters                    8_26_PM.xls                                      142945       10/9/2024 16:19
                                              64401
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_08_52_
SuttonPark\Annuity Masters                    PM.xls                                              2127      10/9/2024 16:19
                                              64401
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_0
SuttonPark\Annuity Masters                    8_53_PM.xls                                      220957       10/9/2024 16:19
                                              64449
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_09_19_
SuttonPark\Annuity Masters                    PM.xls                                              3219      10/9/2024 16:19
                                              64449
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_0
SuttonPark\Annuity Masters                    9_20_PM.xls                                      338683       10/9/2024 16:20
                                              64557
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_17_37_
SuttonPark\Annuity Masters                    PM.xls                                              7129      10/9/2024 16:19
                                              64557
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_1
SuttonPark\Annuity Masters                    7_44_PM.xls                                      651230       10/9/2024 16:20
                                              64719
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_19_06_
SuttonPark\Annuity Masters                    PM.xls                                              2496      10/9/2024 16:19
                                              64719
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_1
SuttonPark\Annuity Masters                    9_08_PM.xls                                      203526       10/9/2024 16:19
                                              64730
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_19_42_
SuttonPark\Annuity Masters                    PM.xls                                              1776      10/9/2024 16:17
                                              64730
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_1
SuttonPark\Annuity Masters                    9_45_PM.xls                                       30194       10/9/2024 16:19
                                              64738
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_20_11_
SuttonPark\Annuity Masters                    PM.xls                                              2132      10/9/2024 16:19
                                              64738
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_2
SuttonPark\Annuity Masters                    0_12_PM.xls                                       75025       10/9/2024 16:19




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                                              64761
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_20_40_
SuttonPark\Annuity Masters                    PM.xls                                              2474      10/9/2024 16:19
                                              64761
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_2
SuttonPark\Annuity Masters                    0_43_PM.xls                                      204579       10/9/2024 16:19
                                              64766
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_21_07_
SuttonPark\Annuity Masters                    PM.xls                                              2124      10/9/2024 16:19
                                              64766
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_2
SuttonPark\Annuity Masters                    1_08_PM.xls                                      220787       10/9/2024 16:19
                                              64767
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_21_33_
SuttonPark\Annuity Masters                    PM.xls                                              2863      10/9/2024 16:19
                                              64767
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_2
SuttonPark\Annuity Masters                    1_34_PM.xls                                      212824       10/9/2024 16:19
                                              64784
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_22_01_
SuttonPark\Annuity Masters                    PM.xls                                              2836      10/9/2024 16:19
                                              64784
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_2
SuttonPark\Annuity Masters                    2_02_PM.xls                                      247163       10/9/2024 16:19
                                              64800
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_22_37_
SuttonPark\Annuity Masters                    PM.xls                                              3931      10/9/2024 16:19
                                              64800
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_2
SuttonPark\Annuity Masters                    2_38_PM.xls                                      454744       10/9/2024 16:20
                                              64818
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_23_05_
SuttonPark\Annuity Masters                    PM.xls                                              4299      10/9/2024 16:19
                                              64818
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_2
SuttonPark\Annuity Masters                    3_06_PM.xls                                      437512       10/9/2024 16:20
                                              64866
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_23_32_
SuttonPark\Annuity Masters                    PM.xls                                              2489      10/9/2024 16:19
                                              64866
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_2
SuttonPark\Annuity Masters                    3_33_PM.xls                                      197094       10/9/2024 16:19
                                              64869
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_24_00_
SuttonPark\Annuity Masters                    PM.xls                                              3907      10/9/2024 16:19
                                              64869
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_2
SuttonPark\Annuity Masters                    4_01_PM.xls                                      364160       10/9/2024 16:20




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                                              64878
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_24_51_
SuttonPark\Annuity Masters                    PM.xls                                              2461      10/9/2024 16:19
                                              64878
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_2
SuttonPark\Annuity Masters                    4_52_PM.xls                                      200020       10/9/2024 16:19
                                              64880
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_25_21_
SuttonPark\Annuity Masters                    PM.xls                                              2108      10/9/2024 16:18
                                              64880
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_2
SuttonPark\Annuity Masters                    5_22_PM.xls                                      176716       10/9/2024 16:19
                                              64881
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_25_50_
SuttonPark\Annuity Masters                    PM.xls                                              2520      10/9/2024 16:19
                                              64881
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_2
SuttonPark\Annuity Masters                    5_51_PM.xls                                      142767       10/9/2024 16:19
                                              64897
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_26_19_
SuttonPark\Annuity Masters                    PM.xls                                              2493      10/9/2024 16:19
                                              64897
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_2
SuttonPark\Annuity Masters                    6_20_PM.xls                                      133987       10/9/2024 16:19
                                              64900
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_26_45_
SuttonPark\Annuity Masters                    PM.xls                                              2840      10/9/2024 16:19
                                              64900
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_2
SuttonPark\Annuity Masters                    6_46_PM.xls                                      303217       10/9/2024 16:20
                                              64901
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_27_12_
SuttonPark\Annuity Masters                    PM.xls                                              2482      10/9/2024 16:19
                                              64901
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_2
SuttonPark\Annuity Masters                    7_13_PM.xls                                      203625       10/9/2024 16:19
                                              64904
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_27_41_
SuttonPark\Annuity Masters                    PM.xls                                              2112      10/9/2024 16:18
                                              64904
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_2
SuttonPark\Annuity Masters                    7_42_PM.xls                                      170225       10/9/2024 16:19
                                              64906
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_28_40_
SuttonPark\Annuity Masters                    PM.xls                                              2484      10/9/2024 16:19
                                              64906
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_2
SuttonPark\Annuity Masters                    8_41_PM.xls                                      228339       10/9/2024 16:19




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                                              64924
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_29_05_
SuttonPark\Annuity Masters                    PM.xls                                              2127      10/9/2024 16:19
                                              64924
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_2
SuttonPark\Annuity Masters                    9_06_PM.xls                                      209953       10/9/2024 16:19
                                              64928
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_29_30_
SuttonPark\Annuity Masters                    PM.xls                                              2114      10/9/2024 16:18
                                              64928
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_2
SuttonPark\Annuity Masters                    9_31_PM.xls                                      220249       10/9/2024 16:19
                                              64933
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_30_01_
SuttonPark\Annuity Masters                    PM.xls                                              2124      10/9/2024 16:19
                                              64933
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_3
SuttonPark\Annuity Masters                    0_03_PM.xls                                      111733       10/9/2024 16:19
                                              64938
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_30_29_
SuttonPark\Annuity Masters                    PM.xls                                              2131      10/9/2024 16:19
                                              64938
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_3
SuttonPark\Annuity Masters                    0_30_PM.xls                                      197879       10/9/2024 16:19
                                              64940
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_30_55_
SuttonPark\Annuity Masters                    PM.xls                                              3639      10/9/2024 16:19
                                              64940
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_3
SuttonPark\Annuity Masters                    0_57_PM.xls                                      339817       10/9/2024 16:20
                                              64941
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_31_23_
SuttonPark\Annuity Masters                    PM.xls                                              2500      10/9/2024 16:19
                                              64941
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_3
SuttonPark\Annuity Masters                    1_25_PM.xls                                      205837       10/9/2024 16:19
                                              64946
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_32_01_
SuttonPark\Annuity Masters                    PM.xls                                              2114      10/9/2024 16:18
                                              64946
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_3
SuttonPark\Annuity Masters                    2_02_PM.xls                                      200857       10/9/2024 16:19
                                              64950
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_32_36_
SuttonPark\Annuity Masters                    PM.xls                                              2498      10/9/2024 16:19
                                              64950
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_3
SuttonPark\Annuity Masters                    2_38_PM.xls                                      229065       10/9/2024 16:19




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                                              64951
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_33_03_
SuttonPark\Annuity Masters                    PM.xls                                              2135      10/9/2024 16:19
                                              64951
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_3
SuttonPark\Annuity Masters                    3_05_PM.xls                                      187090       10/9/2024 16:19
                                              64954
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_33_28_
SuttonPark\Annuity Masters                    PM.xls                                              2141      10/9/2024 16:19
                                              64954
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_3
SuttonPark\Annuity Masters                    3_30_PM.xls                                      114199       10/9/2024 16:19
                                              64958
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_34_14_
SuttonPark\Annuity Masters                    PM.xls                                              2111      10/9/2024 16:18
                                              64958
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_3
SuttonPark\Annuity Masters                    4_15_PM.xls                                      176807       10/9/2024 16:19
                                              64959
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_34_46_
SuttonPark\Annuity Masters                    PM.xls                                              2483      10/9/2024 16:19
                                              64959
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_3
SuttonPark\Annuity Masters                    4_47_PM.xls                                      131937       10/9/2024 16:19
                                              64960
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_35_12_
SuttonPark\Annuity Masters                    PM.xls                                              2105      10/9/2024 16:17
                                              64960
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_3
SuttonPark\Annuity Masters                    5_13_PM.xls                                      216829       10/9/2024 16:19
                                              64962
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_35_42_
SuttonPark\Annuity Masters                    PM.xls                                              2129      10/9/2024 16:19
                                              64962
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_3
SuttonPark\Annuity Masters                    5_43_PM.xls                                       77257       10/9/2024 16:19
                                              64968
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_36_07_
SuttonPark\Annuity Masters                    PM.xls                                              2125      10/9/2024 16:19
                                              64968
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_3
SuttonPark\Annuity Masters                    6_08_PM.xls                                      209782       10/9/2024 16:19
                                              64974
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_36_41_
SuttonPark\Annuity Masters                    PM.xls                                              3248      10/9/2024 16:19
                                              64974
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_3
SuttonPark\Annuity Masters                    6_44_PM.xls                                      235267       10/9/2024 16:19




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                                              64983
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_38_20_
SuttonPark\Annuity Masters                    PM.xls                                              4341      10/9/2024 16:19
                                              64983
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_3
SuttonPark\Annuity Masters                    8_21_PM.xls                                      454127       10/9/2024 16:20
                                              64984
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_38_53_
SuttonPark\Annuity Masters                    PM.xls                                              2127      10/9/2024 16:19
                                              64984
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_3
SuttonPark\Annuity Masters                    8_55_PM.xls                                      114745       10/9/2024 16:19
                                              64989
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_40_04_
SuttonPark\Annuity Masters                    PM.xls                                              2098      10/9/2024 16:17
                                              64989
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_4
SuttonPark\Annuity Masters                    0_06_PM.xls                                       14161       10/9/2024 16:19
                                              64994
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_40_30_
SuttonPark\Annuity Masters                    PM.xls                                              2125      10/9/2024 16:19
                                              64994
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_4
SuttonPark\Annuity Masters                    0_31_PM.xls                                      116110       10/9/2024 16:19
                                              65008
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_40_58_
SuttonPark\Annuity Masters                    PM.xls                                              2875      10/9/2024 16:19
                                              65008
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_4
SuttonPark\Annuity Masters                    0_59_PM.xls                                      168212       10/9/2024 16:19
                                              65009
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_41_23_
SuttonPark\Annuity Masters                    PM.xls                                              2845      10/9/2024 16:19
                                              65009
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_4
SuttonPark\Annuity Masters                    1_24_PM.xls                                      210009       10/9/2024 16:19
                                              65012
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_41_48_
SuttonPark\Annuity Masters                    PM.xls                                              2488      10/9/2024 16:19
                                              65012
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_4
SuttonPark\Annuity Masters                    1_49_PM.xls                                      123994       10/9/2024 16:19
                                              65013
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_42_34_
SuttonPark\Annuity Masters                    PM.xls                                              2122      10/9/2024 16:18
                                              65013
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_4
SuttonPark\Annuity Masters                    2_37_PM.xls                                      101549       10/9/2024 16:19




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                                              65019
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_43_37_
SuttonPark\Annuity Masters                    PM.xls                                              2124      10/9/2024 16:19
                                              65019
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_4
SuttonPark\Annuity Masters                    3_40_PM.xls                                      148111       10/9/2024 16:19
                                              65024
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_44_26_
SuttonPark\Annuity Masters                    PM.xls                                              2872      10/9/2024 16:19
                                              65024
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_4
SuttonPark\Annuity Masters                    4_29_PM.xls                                      247454       10/9/2024 16:20
                                              65033
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_45_15_
SuttonPark\Annuity Masters                    PM.xls                                              2489      10/9/2024 16:19
                                              65033
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_4
SuttonPark\Annuity Masters                    5_16_PM.xls                                      178407       10/9/2024 16:19
                                              65047
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_47_43_
SuttonPark\Annuity Masters                    PM.xls                                              2119      10/9/2024 16:18
                                              65047
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_4
SuttonPark\Annuity Masters                    7_44_PM.xls                                      220486       10/9/2024 16:19
                                              65052
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_48_09_
SuttonPark\Annuity Masters                    PM.xls                                              2857      10/9/2024 16:19
                                              65052
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_4
SuttonPark\Annuity Masters                    8_10_PM.xls                                      252849       10/9/2024 16:19
                                              65055
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_48_37_
SuttonPark\Annuity Masters                    PM.xls                                              2131      10/9/2024 16:19
                                              65055
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_4
SuttonPark\Annuity Masters                    8_38_PM.xls                                      140365       10/9/2024 16:19
                                              65292
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_49_03_
SuttonPark\Annuity Masters                    PM.xls                                              2823      10/9/2024 16:19
                                              65292
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_4
SuttonPark\Annuity Masters                    9_04_PM.xls                                      207187       10/9/2024 16:19
                                              65360
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_49_38_
SuttonPark\Annuity Masters                    PM.xls                                              3203      10/9/2024 16:19
                                              65360
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_4
SuttonPark\Annuity Masters                    9_39_PM.xls                                      309499       10/9/2024 16:20




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                                              65671
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_50_09_
SuttonPark\Annuity Masters                    PM.xls                                              3576      10/9/2024 16:19
                                              65671
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_5
SuttonPark\Annuity Masters                    0_11_PM.xls                                      377974       10/9/2024 16:20
                                              65695
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_50_39_
SuttonPark\Annuity Masters                    PM.xls                                              4651      10/9/2024 16:19
                                              65695
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_5
SuttonPark\Annuity Masters                    0_40_PM.xls                                      468177       10/9/2024 16:20
                                              65786
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_51_08_
SuttonPark\Annuity Masters                    PM.xls                                              2123      10/9/2024 16:18
                                              65786
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_5
SuttonPark\Annuity Masters                    1_09_PM.xls                                       67291       10/9/2024 16:19
                                              65917
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_51_38_
SuttonPark\Annuity Masters                    PM.xls                                              2841      10/9/2024 16:19
                                              65917
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_5
SuttonPark\Annuity Masters                    1_39_PM.xls                                      250036       10/9/2024 16:20
                                              66001
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_26_59_
SuttonPark\Annuity Masters                    PM.xls                                              1774      10/9/2024 16:17
                                              66001
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_2
SuttonPark\Annuity Masters                    7_00_PM.xls                                         1541      10/9/2024 16:17
                                              66004
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_52_10_
SuttonPark\Annuity Masters                    PM.xls                                              2486      10/9/2024 16:19
                                              66004
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_5
SuttonPark\Annuity Masters                    2_16_PM.xls                                       68149       10/9/2024 16:19
                                              66187
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_52_45_
SuttonPark\Annuity Masters                    PM.xls                                              2493      10/9/2024 16:19
                                              66187
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_5
SuttonPark\Annuity Masters                    2_47_PM.xls                                      247914       10/9/2024 16:20
                                              66232
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_53_15_
SuttonPark\Annuity Masters                    PM.xls                                              4306      10/9/2024 16:19
                                              66232
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_5
SuttonPark\Annuity Masters                    3_16_PM.xls                                      457538       10/9/2024 16:20




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                                              67542
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_33_58_
SuttonPark\Annuity Masters                    PM.xls                                              2479      10/9/2024 16:19
                                              67542
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_3
SuttonPark\Annuity Masters                    3_59_PM.xls                                      262683       10/9/2024 16:20
                                              67577
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_54_03_
SuttonPark\Annuity Masters                    PM.xls                                              2112      10/9/2024 16:18
                                              67577
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_5
SuttonPark\Annuity Masters                    4_04_PM.xls                                      149941       10/9/2024 16:19
                                              69608
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_17_21_P
SuttonPark\Annuity Masters                    M.xls                                               1774      10/9/2024 16:17
                                              69608
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_17
SuttonPark\Annuity Masters                    _23_PM.xls                                          1537      10/9/2024 16:17
                                              69673
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_14_05_P
SuttonPark\Annuity Masters                    M.xls                                               2471      10/9/2024 16:19
                                              69673
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_14
SuttonPark\Annuity Masters                    _11_PM.xls                                        71154       10/9/2024 16:19
                                              69730
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_35_11_
SuttonPark\Annuity Masters                    PM.xls                                              2855      10/9/2024 16:19
                                              69730
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_3
SuttonPark\Annuity Masters                    5_12_PM.xls                                       20483       10/9/2024 16:19
                                              70237
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_54_31_
SuttonPark\Annuity Masters                    PM.xls                                              2126      10/9/2024 16:19
                                              70237
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_5
SuttonPark\Annuity Masters                    4_32_PM.xls                                      170095       10/9/2024 16:19
                                              70240
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_55_02_
SuttonPark\Annuity Masters                    PM.xls                                              2121      10/9/2024 16:18
                                              70240
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_5
SuttonPark\Annuity Masters                    5_03_PM.xls                                       42505       10/9/2024 16:19
                                              70423
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_55_54_
SuttonPark\Annuity Masters                    PM.xls                                              2128      10/9/2024 16:19
                                              70423
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_5
SuttonPark\Annuity Masters                    5_55_PM.xls                                      226783       10/9/2024 16:19




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                                              70424
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_56_21_
SuttonPark\Annuity Masters                    PM.xls                                              2488      10/9/2024 16:19
                                              70424
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_5
SuttonPark\Annuity Masters                    6_23_PM.xls                                      242440       10/9/2024 16:19
                                              70577
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_57_23_
SuttonPark\Annuity Masters                    PM.xls                                              2448      10/9/2024 16:19
                                              70577
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_5
SuttonPark\Annuity Masters                    7_24_PM.xls                                       86272       10/9/2024 16:19
                                              70582
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_18_58_P
SuttonPark\Annuity Masters                    M.xls                                               2124      10/9/2024 16:19
                                              70582
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_18
SuttonPark\Annuity Masters                    _59_PM.xls                                       162246       10/9/2024 16:19
                                              70604
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_57_51_
SuttonPark\Annuity Masters                    PM.xls                                              2475      10/9/2024 16:19
                                              70604
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_5
SuttonPark\Annuity Masters                    7_52_PM.xls                                      213075       10/9/2024 16:19
                                              70772
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_4_58_20_
SuttonPark\Annuity Masters                    PM.xls                                              4651      10/9/2024 16:19
                                              70772
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_4_5
SuttonPark\Annuity Masters                    8_21_PM.xls                                      468177       10/9/2024 16:20
                                              70843
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_10_07_
SuttonPark\Annuity Masters                    PM.xls                                              3228      10/9/2024 16:19
                                              70843
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_1
SuttonPark\Annuity Masters                    0_08_PM.xls                                      381725       10/9/2024 16:20
                                              7085
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_03_25
SuttonPark\Annuity Masters                    _PM.xls                                             2466      10/9/2024 16:19
                                              7085
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    03_26_PM.xls                                     236954       10/9/2024 16:19
                                              70893
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_10_59_
SuttonPark\Annuity Masters                    PM.xls                                              2839      10/9/2024 16:19
                                              70893
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_1
SuttonPark\Annuity Masters                    1_00_PM.xls                                      269449       10/9/2024 16:20




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                                              70934
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_11_30_
SuttonPark\Annuity Masters                    PM.xls                                              2862      10/9/2024 16:19
                                              70934
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_1
SuttonPark\Annuity Masters                    1_33_PM.xls                                      301287       10/9/2024 16:20
                                              71038
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_11_59_
SuttonPark\Annuity Masters                    PM.xls                                              2472      10/9/2024 16:19
                                              71038
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_1
SuttonPark\Annuity Masters                    2_05_PM.xls                                      213128       10/9/2024 16:19
                                              71049
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_03_45_P
SuttonPark\Annuity Masters                    M.xls                                               2532      10/9/2024 16:19
                                              71049
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_03
SuttonPark\Annuity Masters                    _46_PM.xls                                        72389       10/9/2024 16:19
                                              71089
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_28_08_P
SuttonPark\Annuity Masters                    M.xls                                               2499      10/9/2024 16:19
                                              71089
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_28
SuttonPark\Annuity Masters                    _09_PM.xls                                       190604       10/9/2024 16:19
                                              71091
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_29_20_P
SuttonPark\Annuity Masters                    M.xls                                               2115      10/9/2024 16:18
                                              71091
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_29
SuttonPark\Annuity Masters                    _21_PM.xls                                       210968       10/9/2024 16:19
                                              71104
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_27_44_P
SuttonPark\Annuity Masters                    M.xls                                               2823      10/9/2024 16:19
                                              71104
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_27
SuttonPark\Annuity Masters                    _45_PM.xls                                          3897      10/9/2024 16:19
                                              71115
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_28_54_P
SuttonPark\Annuity Masters                    M.xls                                               3595      10/9/2024 16:19
                                              71115
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_28
SuttonPark\Annuity Masters                    _56_PM.xls                                       318324       10/9/2024 16:20
                                              71181
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_12_33_
SuttonPark\Annuity Masters                    PM.xls                                              2460      10/9/2024 16:19
                                              71181
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_1
SuttonPark\Annuity Masters                    2_34_PM.xls                                      259644       10/9/2024 16:20




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                                              71216
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_14_49_
SuttonPark\Annuity Masters                    PM.xls                                              4676      10/9/2024 16:19
                                              71216
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_1
SuttonPark\Annuity Masters                    4_51_PM.xls                                      459512       10/9/2024 16:20
                                              71217
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_15_23_
SuttonPark\Annuity Masters                    PM.xls                                              1775      10/9/2024 16:17
                                              71217
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_1
SuttonPark\Annuity Masters                    5_25_PM.xls                                       61979       10/9/2024 16:19
                                              71232
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_33_17_P
SuttonPark\Annuity Masters                    M.xls                                               2494      10/9/2024 16:19
                                              71232
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_33
SuttonPark\Annuity Masters                    _19_PM.xls                                        78254       10/9/2024 16:19
                                              71234
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_15_50_
SuttonPark\Annuity Masters                    PM.xls                                              2115      10/9/2024 16:18
                                              71234
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_1
SuttonPark\Annuity Masters                    5_51_PM.xls                                      188888       10/9/2024 16:19
                                              71274
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_17_13_
SuttonPark\Annuity Masters                    PM.xls                                              2850      10/9/2024 16:19
                                              71274
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_1
SuttonPark\Annuity Masters                    7_13_PM.xls                                      302790       10/9/2024 16:20
                                              71284
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_25_50_
SuttonPark\Annuity Masters                    PM.xls                                              2856      10/9/2024 16:19
                                              71284
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_2
SuttonPark\Annuity Masters                    5_51_PM.xls                                      189599       10/9/2024 16:19
                                              71368
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_17_41_
SuttonPark\Annuity Masters                    PM.xls                                              2484      10/9/2024 16:19
                                              71368
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_1
SuttonPark\Annuity Masters                    7_42_PM.xls                                      161367       10/9/2024 16:19
                                              7137
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_04_02
SuttonPark\Annuity Masters                    _PM.xls                                             2831      10/9/2024 16:19
                                              7137
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    04_11_PM.xls                                     242641       10/9/2024 16:19




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                                              71387
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_32_15_
SuttonPark\Annuity Masters                    PM.xls                                              2112      10/9/2024 16:18
                                              71387
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_3
SuttonPark\Annuity Masters                    2_16_PM.xls                                         1462      10/9/2024 16:17
                                              71398
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_18_10_
SuttonPark\Annuity Masters                    PM.xls                                              2851      10/9/2024 16:19
                                              71398
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_1
SuttonPark\Annuity Masters                    8_11_PM.xls                                      211797       10/9/2024 16:19
                                              71400
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_18_37_
SuttonPark\Annuity Masters                    PM.xls                                              2484      10/9/2024 16:19
                                              71400
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_1
SuttonPark\Annuity Masters                    8_38_PM.xls                                       79560       10/9/2024 16:19
                                              71401
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_19_02_
SuttonPark\Annuity Masters                    PM.xls                                              3203      10/9/2024 16:19
                                              71401
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_1
SuttonPark\Annuity Masters                    9_03_PM.xls                                      232981       10/9/2024 16:19
                                              71422
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_19_32_
SuttonPark\Annuity Masters                    PM.xls                                              2110      10/9/2024 16:18
                                              71422
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_1
SuttonPark\Annuity Masters                    9_33_PM.xls                                         3142      10/9/2024 16:19
                                              7145
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_04_40
SuttonPark\Annuity Masters                    _PM.xls                                             2813      10/9/2024 16:19
                                              7145
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    04_42_PM.xls                                     289807       10/9/2024 16:20
                                              71466
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_18_30_P
SuttonPark\Annuity Masters                    M.xls                                               2119      10/9/2024 16:18
                                              71466
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_18
SuttonPark\Annuity Masters                    _31_PM.xls                                       161286       10/9/2024 16:19
                                              71467
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_20_02_
SuttonPark\Annuity Masters                    PM.xls                                              4633      10/9/2024 16:19
                                              71467
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_2
SuttonPark\Annuity Masters                    0_03_PM.xls                                      486786       10/9/2024 16:20




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                                              7156
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_12_05_41
SuttonPark\Annuity Masters                    _PM.xls                                             2112      10/9/2024 16:18
                                              7156
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_12_
SuttonPark\Annuity Masters                    05_45_PM.xls                                     196644       10/9/2024 16:19
                                              71564
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_20_29_
SuttonPark\Annuity Masters                    PM.xls                                              2831      10/9/2024 16:19
                                              71564
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_2
SuttonPark\Annuity Masters                    0_30_PM.xls                                      153214       10/9/2024 16:19
                                              71565
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_21_03_
SuttonPark\Annuity Masters                    PM.xls                                              2118      10/9/2024 16:18
                                              71565
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_2
SuttonPark\Annuity Masters                    1_04_PM.xls                                      140669       10/9/2024 16:19
                                              71573
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_21_31_
SuttonPark\Annuity Masters                    PM.xls                                              2862      10/9/2024 16:19
                                              71573
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_2
SuttonPark\Annuity Masters                    1_32_PM.xls                                      336599       10/9/2024 16:20
                                              71574
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_21_57_
SuttonPark\Annuity Masters                    PM.xls                                              2115      10/9/2024 16:18
                                              71574
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_2
SuttonPark\Annuity Masters                    1_59_PM.xls                                      266017       10/9/2024 16:20
                                              71579
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_22_24_
SuttonPark\Annuity Masters                    PM.xls                                              2121      10/9/2024 16:18
                                              71579
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_2
SuttonPark\Annuity Masters                    2_26_PM.xls                                      197191       10/9/2024 16:19
                                              71586
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_19_45_P
SuttonPark\Annuity Masters                    M.xls                                               2111      10/9/2024 16:18
                                              71586
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_19
SuttonPark\Annuity Masters                    _46_PM.xls                                       153448       10/9/2024 16:19
                                              71680
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_19_21_P
SuttonPark\Annuity Masters                    M.xls                                               2127      10/9/2024 16:19
                                              71680
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_19
SuttonPark\Annuity Masters                    _22_PM.xls                                        79008       10/9/2024 16:19




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                                              71728
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_22_51_
SuttonPark\Annuity Masters                    PM.xls                                              3207      10/9/2024 16:19
                                              71728
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_2
SuttonPark\Annuity Masters                    2_52_PM.xls                                      342154       10/9/2024 16:20
                                              71738
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_20_06_P
SuttonPark\Annuity Masters                    M.xls                                               3270      10/9/2024 16:19
                                              71738
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_20
SuttonPark\Annuity Masters                    _08_PM.xls                                       343854       10/9/2024 16:20
                                              71768
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_23_21_
SuttonPark\Annuity Masters                    PM.xls                                              3918      10/9/2024 16:19
                                              71768
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_2
SuttonPark\Annuity Masters                    3_23_PM.xls                                      381073       10/9/2024 16:20
                                              71887
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_23_55_
SuttonPark\Annuity Masters                    PM.xls                                              2871      10/9/2024 16:19
                                              71887
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_2
SuttonPark\Annuity Masters                    3_56_PM.xls                                      288153       10/9/2024 16:20
                                              71888
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_24_25_
SuttonPark\Annuity Masters                    PM.xls                                              2866      10/9/2024 16:19
                                              71888
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_2
SuttonPark\Annuity Masters                    4_27_PM.xls                                      284833       10/9/2024 16:20
                                              71900
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_24_55_
SuttonPark\Annuity Masters                    PM.xls                                              3238      10/9/2024 16:19
                                              71900
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_2
SuttonPark\Annuity Masters                    4_56_PM.xls                                      391667       10/9/2024 16:20
                                              71913
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_25_26_
SuttonPark\Annuity Masters                    PM.xls                                              3910      10/9/2024 16:19
                                              71913
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_2
SuttonPark\Annuity Masters                    5_27_PM.xls                                      400811       10/9/2024 16:20
                                              71916
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_29_35_
SuttonPark\Annuity Masters                    PM.xls                                              2111      10/9/2024 16:18
                                              71916
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_2
SuttonPark\Annuity Masters                    9_36_PM.xls                                      221092       10/9/2024 16:19




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                                              71944
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_30_04_
SuttonPark\Annuity Masters                    PM.xls                                              2479      10/9/2024 16:19
                                              71944
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_3
SuttonPark\Annuity Masters                    0_08_PM.xls                                      129481       10/9/2024 16:19
                                              71947
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_30_35_
SuttonPark\Annuity Masters                    PM.xls                                              2128      10/9/2024 16:19
                                              71947
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_3
SuttonPark\Annuity Masters                    0_38_PM.xls                                      172340       10/9/2024 16:19
                                              71960
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_31_02_
SuttonPark\Annuity Masters                    PM.xls                                              2836      10/9/2024 16:19
                                              71960
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_3
SuttonPark\Annuity Masters                    1_03_PM.xls                                      247163       10/9/2024 16:19
                                              71963
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_31_28_
SuttonPark\Annuity Masters                    PM.xls                                              2470      10/9/2024 16:19
                                              71963
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_3
SuttonPark\Annuity Masters                    1_29_PM.xls                                      299380       10/9/2024 16:20
                                              71966
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_31_53_
SuttonPark\Annuity Masters                    PM.xls                                              2867      10/9/2024 16:19
                                              71966
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_3
SuttonPark\Annuity Masters                    1_55_PM.xls                                      318864       10/9/2024 16:20
                                              71968
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_32_19_
SuttonPark\Annuity Masters                    PM.xls                                              3910      10/9/2024 16:19
                                              71968
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_3
SuttonPark\Annuity Masters                    2_20_PM.xls                                      400811       10/9/2024 16:20
                                              71999
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_32_50_
SuttonPark\Annuity Masters                    PM.xls                                              2118      10/9/2024 16:18
                                              71999
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_3
SuttonPark\Annuity Masters                    2_51_PM.xls                                      147187       10/9/2024 16:19
                                              72018
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_40_54_
SuttonPark\Annuity Masters                    PM.xls                                              2111      10/9/2024 16:18
                                              72018
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_4
SuttonPark\Annuity Masters                    0_55_PM.xls                                      268831       10/9/2024 16:20




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                                              72021
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_5_29_2024_5_41_25_
SuttonPark\Annuity Masters                    PM.xls                                              2481      10/9/2024 16:19
                                              72021
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_5_29_2024_5_4
SuttonPark\Annuity Masters                    1_29_PM.xls                                      264106       10/9/2024 16:20
                                              72044
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_9_53_44_A
SuttonPark\Annuity Masters                    M.xls                                               3601      10/9/2024 16:19
                                              72044
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_9_53
SuttonPark\Annuity Masters                    _44_AM.xls                                       361023       10/9/2024 16:20
                                              72199
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_9_54_22_A
SuttonPark\Annuity Masters                    M.xls                                               2116      10/9/2024 16:18
                                              72199
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_9_54
SuttonPark\Annuity Masters                    _24_AM.xls                                       208398       10/9/2024 16:19
                                              72273
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_9_54_54_A
SuttonPark\Annuity Masters                    M.xls                                               2125      10/9/2024 16:19
                                              72273
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_9_54
SuttonPark\Annuity Masters                    _55_AM.xls                                       267576       10/9/2024 16:20
                                              72619
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_9_55_22_A
SuttonPark\Annuity Masters                    M.xls                                               2510      10/9/2024 16:19
                                              72619
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_9_55
SuttonPark\Annuity Masters                    _23_AM.xls                                       258639       10/9/2024 16:19
                                              72620
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_9_55_53_A
SuttonPark\Annuity Masters                    M.xls                                               2511      10/9/2024 16:19
                                              72620
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_9_55
SuttonPark\Annuity Masters                    _54_AM.xls                                       258519       10/9/2024 16:19
                                              72655
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_9_57_26_A
SuttonPark\Annuity Masters                    M.xls                                               2478      10/9/2024 16:19
                                              72655
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_9_57
SuttonPark\Annuity Masters                    _28_AM.xls                                       242563       10/9/2024 16:19
                                              72793
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_9_57_59_A
SuttonPark\Annuity Masters                    M.xls                                               2100      10/9/2024 16:17
                                              72793
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_9_58
SuttonPark\Annuity Masters                    _00_AM.xls                                       214524       10/9/2024 16:19




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                                              72805
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_9_58_24_A
SuttonPark\Annuity Masters                    M.xls                                               2827      10/9/2024 16:19
                                              72805
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_9_58
SuttonPark\Annuity Masters                    _25_AM.xls                                          3892      10/9/2024 16:19
                                              72894
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_34_42_
SuttonPark\Annuity Masters                    PM.xls                                              2478      10/9/2024 16:19
                                              72894
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_3
SuttonPark\Annuity Masters                    4_43_PM.xls                                      184550       10/9/2024 16:19
                                              72901
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_9_58_52_A
SuttonPark\Annuity Masters                    M.xls                                               5789      10/9/2024 16:19
                                              72901
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_9_58
SuttonPark\Annuity Masters                    _54_AM.xls                                       384138       10/9/2024 16:20
                                              72943
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_25_11_
SuttonPark\Annuity Masters                    PM.xls                                              6133      10/9/2024 16:19
                                              72943
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_2
SuttonPark\Annuity Masters                    5_12_PM.xls                                      199391       10/9/2024 16:19
                                              72948
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_9_59_22_A
SuttonPark\Annuity Masters                    M.xls                                               4343      10/9/2024 16:19
                                              72948
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_9_59
SuttonPark\Annuity Masters                    _23_AM.xls                                       437654       10/9/2024 16:20
                                              72950
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_32_43_P
SuttonPark\Annuity Masters                    M.xls                                               2129      10/9/2024 16:19
                                              72950
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_32
SuttonPark\Annuity Masters                    _43_PM.xls                                       174534       10/9/2024 16:19
                                              72956
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_9_59_48_A
SuttonPark\Annuity Masters                    M.xls                                               2120      10/9/2024 16:18
                                              72956
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_9_59
SuttonPark\Annuity Masters                    _49_AM.xls                                       158371       10/9/2024 16:19
                                              72959
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_00_15_
SuttonPark\Annuity Masters                    AM.xls                                              2466      10/9/2024 16:19
                                              72959
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_0
SuttonPark\Annuity Masters                    0_16_AM.xls                                      193583       10/9/2024 16:19




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                                              72974
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_45_00_
SuttonPark\Annuity Masters                    PM.xls                                              2127      10/9/2024 16:19
                                              72974
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_4
SuttonPark\Annuity Masters                    5_01_PM.xls                                      214674       10/9/2024 16:19
                                              72986
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_26_31_P
SuttonPark\Annuity Masters                    M.xls                                               2109      10/9/2024 16:18
                                              72986
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_26
SuttonPark\Annuity Masters                    _32_PM.xls                                       192680       10/9/2024 16:19
                                              73027
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_00_44_
SuttonPark\Annuity Masters                    AM.xls                                              3580      10/9/2024 16:19
                                              73027
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_0
SuttonPark\Annuity Masters                    0_45_AM.xls                                      380757       10/9/2024 16:20
                                              73040
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_01_10_
SuttonPark\Annuity Masters                    AM.xls                                              2110      10/9/2024 16:18
                                              73040
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_0
SuttonPark\Annuity Masters                    1_11_AM.xls                                      223482       10/9/2024 16:19
                                              73091
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_01_35_
SuttonPark\Annuity Masters                    AM.xls                                              2846      10/9/2024 16:19
                                              73091
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_0
SuttonPark\Annuity Masters                    1_36_AM.xls                                       51540       10/9/2024 16:19
                                              73092
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_01_59_
SuttonPark\Annuity Masters                    AM.xls                                              3201      10/9/2024 16:19
                                              73092
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_0
SuttonPark\Annuity Masters                    2_00_AM.xls                                       60732       10/9/2024 16:19
                                              73135
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_02_24_
SuttonPark\Annuity Masters                    AM.xls                                              2471      10/9/2024 16:19
                                              73135
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_0
SuttonPark\Annuity Masters                    2_26_AM.xls                                      226967       10/9/2024 16:19
                                              73136
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_02_52_
SuttonPark\Annuity Masters                    AM.xls                                              2471      10/9/2024 16:19
                                              73136
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_0
SuttonPark\Annuity Masters                    2_54_AM.xls                                      226967       10/9/2024 16:20




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                                              73146
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_05_01_P
SuttonPark\Annuity Masters                    M.xls                                               2514      10/9/2024 16:19
                                              73146
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_05
SuttonPark\Annuity Masters                    _02_PM.xls                                       172785       10/9/2024 16:19
                                              73153
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_03_17_
SuttonPark\Annuity Masters                    AM.xls                                              3206      10/9/2024 16:19
                                              73153
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_0
SuttonPark\Annuity Masters                    3_18_AM.xls                                      365600       10/9/2024 16:20
                                              73154
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_04_03_
SuttonPark\Annuity Masters                    AM.xls                                              3576      10/9/2024 16:19
                                              73155
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_04_36_P
SuttonPark\Annuity Masters                    M.xls                                               4632      10/9/2024 16:19
                                              73155
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_04
SuttonPark\Annuity Masters                    _37_PM.xls                                       329110       10/9/2024 16:20
                                              74208
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_05_06_
SuttonPark\Annuity Masters                    AM.xls                                              2461      10/9/2024 16:19
                                              74208
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_0
SuttonPark\Annuity Masters                    5_07_AM.xls                                      251166       10/9/2024 16:19
                                              74243
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_06_55_
SuttonPark\Annuity Masters                    AM.xls                                              2136      10/9/2024 16:19
                                              74243
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_0
SuttonPark\Annuity Masters                    6_58_AM.xls                                       32200       10/9/2024 16:19
                                              74251
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_07_20_
SuttonPark\Annuity Masters                    AM.xls                                              2116      10/9/2024 16:18
                                              74251
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_0
SuttonPark\Annuity Masters                    7_21_AM.xls                                      215895       10/9/2024 16:19
                                              74253
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_07_47_
SuttonPark\Annuity Masters                    AM.xls                                              2467      10/9/2024 16:19
                                              74253
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_0
SuttonPark\Annuity Masters                    7_49_AM.xls                                         5442      10/9/2024 16:19
                                              74257
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_38_54_P
SuttonPark\Annuity Masters                    M.xls                                               2519      10/9/2024 16:19




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                                              74257
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_38
SuttonPark\Annuity Masters                    _56_PM.xls                                          2201      10/9/2024 16:19
                                              74300
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_08_11_
SuttonPark\Annuity Masters                    AM.xls                                              2114      10/9/2024 16:18
                                              74300
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_0
SuttonPark\Annuity Masters                    8_12_AM.xls                                      223173       10/9/2024 16:19
                                              74302
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_08_33_
SuttonPark\Annuity Masters                    AM.xls                                              2108      10/9/2024 16:18
                                              74302
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_0
SuttonPark\Annuity Masters                    8_34_AM.xls                                      199764       10/9/2024 16:19
                                              74339
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_08_57_
SuttonPark\Annuity Masters                    AM.xls                                              2121      10/9/2024 16:18
                                              74339
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_0
SuttonPark\Annuity Masters                    8_59_AM.xls                                      253377       10/9/2024 16:20
                                              74351
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_09_22_
SuttonPark\Annuity Masters                    AM.xls                                              2476      10/9/2024 16:19
                                              74351
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_0
SuttonPark\Annuity Masters                    9_24_AM.xls                                      255446       10/9/2024 16:20
                                              74365
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_09_47_
SuttonPark\Annuity Masters                    AM.xls                                              2475      10/9/2024 16:19
                                              74365
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_0
SuttonPark\Annuity Masters                    9_49_AM.xls                                       15616       10/9/2024 16:19
                                              74408
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_17_00_
SuttonPark\Annuity Masters                    AM.xls                                              2475      10/9/2024 16:19
                                              74408
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_1
SuttonPark\Annuity Masters                    7_01_AM.xls                                       16376       10/9/2024 16:19
                                              74417
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_30_37_P
SuttonPark\Annuity Masters                    M.xls                                               3212      10/9/2024 16:19
                                              74417
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_30
SuttonPark\Annuity Masters                    _38_PM.xls                                       229872       10/9/2024 16:20
                                              74434
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_19_48_
SuttonPark\Annuity Masters                    AM.xls                                              2107      10/9/2024 16:18




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                                              74434
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_2
SuttonPark\Annuity Masters                    0_39_AM.htm                                       10917       10/9/2024 16:19
                                              74434
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_2
SuttonPark\Annuity Masters                    0_39_AM.xls                                      122388       10/9/2024 16:19
                                              74435
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_22_04_
SuttonPark\Annuity Masters                    AM.xls                                              3216      10/9/2024 16:19
                                              74435
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_2
SuttonPark\Annuity Masters                    2_05_AM.xls                                      400953       10/9/2024 16:20
                                              74438
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_22_29_
SuttonPark\Annuity Masters                    AM.xls                                              2477      10/9/2024 16:19
                                              74438
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_2
SuttonPark\Annuity Masters                    2_30_AM.xls                                      261923       10/9/2024 16:20
                                              74450
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_22_53_
SuttonPark\Annuity Masters                    AM.xls                                              2109      10/9/2024 16:18
                                              74450
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_2
SuttonPark\Annuity Masters                    2_54_AM.xls                                       34387       10/9/2024 16:19
                                              74454
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_38_30_P
SuttonPark\Annuity Masters                    M.xls                                               2124      10/9/2024 16:19
                                              74454
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_38
SuttonPark\Annuity Masters                    _31_PM.xls                                       223910       10/9/2024 16:19
                                              74455
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_23_18_
SuttonPark\Annuity Masters                    AM.xls                                              2108      10/9/2024 16:18
                                              74455
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_2
SuttonPark\Annuity Masters                    3_19_AM.xls                                       18428       10/9/2024 16:19
                                              74461
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_23_42_
SuttonPark\Annuity Masters                    AM.xls                                              2827      10/9/2024 16:19
                                              74461
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_2
SuttonPark\Annuity Masters                    3_43_AM.xls                                      296560       10/9/2024 16:20
                                              74475
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_24_09_
SuttonPark\Annuity Masters                    AM.xls                                              3261      10/9/2024 16:19
                                              74475
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_2
SuttonPark\Annuity Masters                    4_10_AM.xls                                      278483       10/9/2024 16:20




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                                              74490
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_24_33_
SuttonPark\Annuity Masters                    AM.xls                                              2112      10/9/2024 16:18
                                              74490
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_2
SuttonPark\Annuity Masters                    4_34_AM.xls                                      224600       10/9/2024 16:19
                                              74531
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_24_58_
SuttonPark\Annuity Masters                    AM.xls                                              3261      10/9/2024 16:19
                                              74531
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_2
SuttonPark\Annuity Masters                    4_59_AM.xls                                      278483       10/9/2024 16:20
                                              74542
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_25_21_
SuttonPark\Annuity Masters                    AM.xls                                              2107      10/9/2024 16:18
                                              74542
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_2
SuttonPark\Annuity Masters                    5_22_AM.xls                                         2602      10/9/2024 16:19
                                              74559
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_25_45_
SuttonPark\Annuity Masters                    AM.xls                                              2115      10/9/2024 16:18
                                              74559
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_2
SuttonPark\Annuity Masters                    5_47_AM.xls                                       44310       10/9/2024 16:19
                                              74561
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_28_02_
SuttonPark\Annuity Masters                    AM.xls                                              2110      10/9/2024 16:18
                                              74561
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_2
SuttonPark\Annuity Masters                    8_04_AM.xls                                      208068       10/9/2024 16:19
                                              74589
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_28_32_P
SuttonPark\Annuity Masters                    M.xls                                               2115      10/9/2024 16:18
                                              74589
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_28
SuttonPark\Annuity Masters                    _33_PM.xls                                       223524       10/9/2024 16:19
                                              74590
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_31_47_P
SuttonPark\Annuity Masters                    M.xls                                               2117      10/9/2024 16:18
                                              74590
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_31
SuttonPark\Annuity Masters                    _48_PM.xls                                       200691       10/9/2024 16:19
                                              75643
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_28_33_
SuttonPark\Annuity Masters                    AM.xls                                              2464      10/9/2024 16:19
                                              75643
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_2
SuttonPark\Annuity Masters                    8_35_AM.xls                                         2530      10/9/2024 16:19




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                                              76113
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_29_00_
SuttonPark\Annuity Masters                    AM.xls                                              2489      10/9/2024 16:19
                                              76113
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_2
SuttonPark\Annuity Masters                    9_01_AM.xls                                         7913      10/9/2024 16:19
                                              76130
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_35_40_
SuttonPark\Annuity Masters                    PM.xls                                              2130      10/9/2024 16:19
                                              76130
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_3
SuttonPark\Annuity Masters                    5_41_PM.xls                                       15134       10/9/2024 16:19
                                              76132
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_02_22_P
SuttonPark\Annuity Masters                    M.xls                                               2120      10/9/2024 16:18
                                              76132
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_02
SuttonPark\Annuity Masters                    _23_PM.xls                                          4540      10/9/2024 16:19
                                              76134
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_29_26_
SuttonPark\Annuity Masters                    AM.xls                                              2109      10/9/2024 16:18
                                              76134
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_2
SuttonPark\Annuity Masters                    9_28_AM.xls                                         2581      10/9/2024 16:19
                                              76135
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_29_54_
SuttonPark\Annuity Masters                    AM.xls                                              2475      10/9/2024 16:19
                                              76135
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_2
SuttonPark\Annuity Masters                    9_56_AM.xls                                      243482       10/9/2024 16:19
                                              76138
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_32_12_P
SuttonPark\Annuity Masters                    M.xls                                               3199      10/9/2024 16:19
                                              76138
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_32
SuttonPark\Annuity Masters                    _13_PM.xls                                       231796       10/9/2024 16:19
                                              78144
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_26_07_P
SuttonPark\Annuity Masters                    M.xls                                               2131      10/9/2024 16:19
                                              78144
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_26
SuttonPark\Annuity Masters                    _08_PM.xls                                       270902       10/9/2024 16:20
                                              78146
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_36_19_P
SuttonPark\Annuity Masters                    M.xls                                               2122      10/9/2024 16:18
                                              78146
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_36
SuttonPark\Annuity Masters                    _21_PM.xls                                       211960       10/9/2024 16:19




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                                              78153
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_37_16_P
SuttonPark\Annuity Masters                    M.xls                                               2115      10/9/2024 16:18
                                              78153
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_37
SuttonPark\Annuity Masters                    _17_PM.xls                                          2015      10/9/2024 16:17
                                              78155
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_22_23_P
SuttonPark\Annuity Masters                    M.xls                                               2115      10/9/2024 16:18
                                              78155
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_22
SuttonPark\Annuity Masters                    _24_PM.xls                                          4531      10/9/2024 16:19
                                              78164
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_24_15_P
SuttonPark\Annuity Masters                    M.xls                                               2123      10/9/2024 16:18
                                              78164
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_24
SuttonPark\Annuity Masters                    _17_PM.xls                                          2852      10/9/2024 16:19
                                              78166
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_30_46_
SuttonPark\Annuity Masters                    AM.xls                                              2110      10/9/2024 16:18
                                              78166
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_3
SuttonPark\Annuity Masters                    0_48_AM.xls                                         2862      10/9/2024 16:19
                                              78171
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_20_44_P
SuttonPark\Annuity Masters                    M.xls                                               3234      10/9/2024 16:19
                                              78171
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_20
SuttonPark\Annuity Masters                    _46_PM.xls                                        53464       10/9/2024 16:19
                                              78198
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_58_46_
SuttonPark\Annuity Masters                    PM.xls                                              2114      10/9/2024 16:18
                                              78198
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_5
SuttonPark\Annuity Masters                    8_48_PM.xls                                         1737      10/9/2024 16:17
                                              78207
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_22_47_P
SuttonPark\Annuity Masters                    M.xls                                               3927      10/9/2024 16:19
                                              78207
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_22
SuttonPark\Annuity Masters                    _48_PM.xls                                       416773       10/9/2024 16:20
                                              78208
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_31_12_
SuttonPark\Annuity Masters                    AM.xls                                              3927      10/9/2024 16:19
                                              78208
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_3
SuttonPark\Annuity Masters                    1_13_AM.xls                                      416773       10/9/2024 16:20




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                                              78218
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_29_44_P
SuttonPark\Annuity Masters                    M.xls                                               2476      10/9/2024 16:19
                                              78218
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_29
SuttonPark\Annuity Masters                    _45_PM.xls                                          2201      10/9/2024 16:19
                                              78228
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_03_21_P
SuttonPark\Annuity Masters                    M.xls                                               2138      10/9/2024 16:19
                                              78228
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_03
SuttonPark\Annuity Masters                    _22_PM.xls                                       225067       10/9/2024 16:19
                                              78235
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_31_39_
SuttonPark\Annuity Masters                    AM.xls                                              2102      10/9/2024 16:17
                                              78235
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_3
SuttonPark\Annuity Masters                    1_40_AM.xls                                         2852      10/9/2024 16:19
                                              78249
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_32_04_
SuttonPark\Annuity Masters                    AM.xls                                              2116      10/9/2024 16:18
                                              78249
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_3
SuttonPark\Annuity Masters                    2_05_AM.xls                                      208371       10/9/2024 16:19
                                              78250
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_32_29_
SuttonPark\Annuity Masters                    AM.xls                                              2827      10/9/2024 16:19
                                              78250
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_3
SuttonPark\Annuity Masters                    2_30_AM.xls                                      226558       10/9/2024 16:19
                                              78270
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_32_54_
SuttonPark\Annuity Masters                    AM.xls                                              2860      10/9/2024 16:19
                                              78270
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_3
SuttonPark\Annuity Masters                    2_58_AM.xls                                      303893       10/9/2024 16:20
                                              78272
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_33_42_
SuttonPark\Annuity Masters                    AM.xls                                              3604      10/9/2024 16:19
                                              78272
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_3
SuttonPark\Annuity Masters                    3_43_AM.xls                                      380131       10/9/2024 16:20
                                              78273
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_34_10_
SuttonPark\Annuity Masters                    AM.xls                                              2496      10/9/2024 16:19
                                              78273
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_3
SuttonPark\Annuity Masters                    4_11_AM.xls                                      261910       10/9/2024 16:20




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                                              78274
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_35_45_
SuttonPark\Annuity Masters                    AM.xls                                              7324      10/9/2024 16:19
                                              78274
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_3
SuttonPark\Annuity Masters                    5_47_AM.xls                                      574876       10/9/2024 16:20
                                              78275
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_36_12_
SuttonPark\Annuity Masters                    AM.xls                                              1782      10/9/2024 16:17
                                              78275
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_3
SuttonPark\Annuity Masters                    6_14_AM.xls                                       34288       10/9/2024 16:19
                                              78277
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_36_50_
SuttonPark\Annuity Masters                    AM.xls                                              2858      10/9/2024 16:19
                                              78277
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_3
SuttonPark\Annuity Masters                    6_51_AM.xls                                      152464       10/9/2024 16:19
                                              78278
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_37_15_
SuttonPark\Annuity Masters                    AM.xls                                              2126      10/9/2024 16:19
                                              78278
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_3
SuttonPark\Annuity Masters                    7_16_AM.xls                                      240975       10/9/2024 16:19
                                              78280
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_38_31_
SuttonPark\Annuity Masters                    AM.xls                                              2136      10/9/2024 16:19
                                              78280
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_3
SuttonPark\Annuity Masters                    8_32_AM.xls                                       76434       10/9/2024 16:19
                                              78281
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_38_58_
SuttonPark\Annuity Masters                    AM.xls                                              2871      10/9/2024 16:19
                                              78281
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_3
SuttonPark\Annuity Masters                    8_59_AM.xls                                      301846       10/9/2024 16:20
                                              78282
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_39_27_
SuttonPark\Annuity Masters                    AM.xls                                              4324      10/9/2024 16:19
                                              78282
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_3
SuttonPark\Annuity Masters                    9_28_AM.xls                                      349324       10/9/2024 16:20
                                              78283
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_39_49_
SuttonPark\Annuity Masters                    AM.xls                                              2105      10/9/2024 16:17
                                              78283
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_3
SuttonPark\Annuity Masters                    9_52_AM.xls                                      168264       10/9/2024 16:19




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                                              78285
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_40_17_
SuttonPark\Annuity Masters                    AM.xls                                              3221      10/9/2024 16:19
                                              78285
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_4
SuttonPark\Annuity Masters                    0_18_AM.xls                                      244340       10/9/2024 16:19
                                              78286
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_41_39_
SuttonPark\Annuity Masters                    AM.xls                                              3261      10/9/2024 16:19
                                              78286
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_4
SuttonPark\Annuity Masters                    1_40_AM.xls                                      290581       10/9/2024 16:20
                                              78287
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_42_33_
SuttonPark\Annuity Masters                    AM.xls                                              2467      10/9/2024 16:19
                                              78287
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_4
SuttonPark\Annuity Masters                    2_34_AM.xls                                      249126       10/9/2024 16:20
                                              78295
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_02_55_P
SuttonPark\Annuity Masters                    M.xls                                               4277      10/9/2024 16:19
                                              78295
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_02
SuttonPark\Annuity Masters                    _56_PM.xls                                       301722       10/9/2024 16:20
                                              78296
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_25_40_P
SuttonPark\Annuity Masters                    M.xls                                               2485      10/9/2024 16:19
                                              78296
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_25
SuttonPark\Annuity Masters                    _41_PM.xls                                        21368       10/9/2024 16:19
                                              78305
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_42_57_
SuttonPark\Annuity Masters                    AM.xls                                              2851      10/9/2024 16:19
                                              78305
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_4
SuttonPark\Annuity Masters                    2_58_AM.xls                                      204571       10/9/2024 16:19
                                              78321
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_43_19_
SuttonPark\Annuity Masters                    AM.xls                                              2103      10/9/2024 16:17
                                              78321
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_4
SuttonPark\Annuity Masters                    3_20_AM.xls                                       13196       10/9/2024 16:19
                                              78323
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_26_58_P
SuttonPark\Annuity Masters                    M.xls                                               2140      10/9/2024 16:19
                                              78323
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_26
SuttonPark\Annuity Masters                    _59_PM.xls                                       225039       10/9/2024 16:19




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                                              78344
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_21_57_P
SuttonPark\Annuity Masters                    M.xls                                               2114      10/9/2024 16:18
                                              78344
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_21
SuttonPark\Annuity Masters                    _58_PM.xls                                        15739       10/9/2024 16:19
                                              78345
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_43_42_
SuttonPark\Annuity Masters                    AM.xls                                              3196      10/9/2024 16:19
                                              78345
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_4
SuttonPark\Annuity Masters                    3_44_AM.xls                                      269596       10/9/2024 16:20
                                              78348
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_27_20_P
SuttonPark\Annuity Masters                    M.xls                                               1784      10/9/2024 16:17
                                              78348
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_27
SuttonPark\Annuity Masters                    _21_PM.xls                                          1546      10/9/2024 16:17
                                              78357
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_44_35_
SuttonPark\Annuity Masters                    AM.xls                                              2494      10/9/2024 16:19
                                              78357
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_4
SuttonPark\Annuity Masters                    4_36_AM.xls                                      243383       10/9/2024 16:19
                                              78361
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_45_00_
SuttonPark\Annuity Masters                    AM.xls                                              2825      10/9/2024 16:19
                                              78361
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_4
SuttonPark\Annuity Masters                    5_03_AM.xls                                      218224       10/9/2024 16:19
                                              78363
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_25_12_P
SuttonPark\Annuity Masters                    M.xls                                               2122      10/9/2024 16:18
                                              78363
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_25
SuttonPark\Annuity Masters                    _13_PM.xls                                          2298      10/9/2024 16:19
                                              78382
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_45_33_
SuttonPark\Annuity Masters                    AM.xls                                              2876      10/9/2024 16:19
                                              78382
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_4
SuttonPark\Annuity Masters                    5_33_AM.xls                                      293078       10/9/2024 16:20
                                              78383
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_39_21_P
SuttonPark\Annuity Masters                    M.xls                                               6079      10/9/2024 16:19
                                              78383
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_39
SuttonPark\Annuity Masters                    _23_PM.xls                                       581331       10/9/2024 16:20




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                                              78397
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_31_46_
SuttonPark\Annuity Masters                    PM.xls                                              2467      10/9/2024 16:19
                                              78397
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_3
SuttonPark\Annuity Masters                    1_48_PM.xls                                         2547      10/9/2024 16:19
                                              78405
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_46_50_
SuttonPark\Annuity Masters                    AM.xls                                              2105      10/9/2024 16:17
                                              78405
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_4
SuttonPark\Annuity Masters                    6_51_AM.xls                                         2307      10/9/2024 16:19
                                              78408
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_24_42_P
SuttonPark\Annuity Masters                    M.xls                                               2122      10/9/2024 16:18
                                              78408
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_24
SuttonPark\Annuity Masters                    _45_PM.xls                                       100862       10/9/2024 16:19
                                              78416
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_21_11_P
SuttonPark\Annuity Masters                    M.xls                                               2486      10/9/2024 16:19
                                              78416
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_21
SuttonPark\Annuity Masters                    _12_PM.xls                                       262302       10/9/2024 16:20
                                              78430
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_30_26_
SuttonPark\Annuity Masters                    PM.xls                                              2144      10/9/2024 16:19
                                              78430
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_3
SuttonPark\Annuity Masters                    0_27_PM.xls                                       56385       10/9/2024 16:19
                                              78439
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_47_14_
SuttonPark\Annuity Masters                    AM.xls                                              2120      10/9/2024 16:18
                                              78439
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_4
SuttonPark\Annuity Masters                    7_15_AM.xls                                         2308      10/9/2024 16:19
                                              78440
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_47_49_
SuttonPark\Annuity Masters                    AM.xls                                              2459      10/9/2024 16:19
                                              78440
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_4
SuttonPark\Annuity Masters                    7_50_AM.xls                                         1873      10/9/2024 16:17
                                              78450
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_33_42_P
SuttonPark\Annuity Masters                    M.xls                                               3600      10/9/2024 16:19
                                              78450
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_33
SuttonPark\Annuity Masters                    _43_PM.xls                                       231992       10/9/2024 16:19




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                                              78451
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_21_33_P
SuttonPark\Annuity Masters                    M.xls                                               2124      10/9/2024 16:19
                                              78451
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_21
SuttonPark\Annuity Masters                    _34_PM.xls                                       142968       10/9/2024 16:19
                                              78465
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_2_30_05_P
SuttonPark\Annuity Masters                    M.xls                                               1770      10/9/2024 16:17
                                              78465
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_2_30
SuttonPark\Annuity Masters                    _06_PM.xls                                          1342      10/9/2024 16:17
                                              78479
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_48_13_
SuttonPark\Annuity Masters                    AM.xls                                              2870      10/9/2024 16:19
                                              78479
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_4
SuttonPark\Annuity Masters                    8_14_AM.xls                                      356382       10/9/2024 16:20
                                              78480
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_48_36_
SuttonPark\Annuity Masters                    AM.xls                                              2503      10/9/2024 16:19
                                              78480
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_4
SuttonPark\Annuity Masters                    8_38_AM.xls                                      310692       10/9/2024 16:20
                                              78490
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_49_12_
SuttonPark\Annuity Masters                    AM.xls                                              2895      10/9/2024 16:19
                                              78490
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_4
SuttonPark\Annuity Masters                    9_13_AM.xls                                      100564       10/9/2024 16:19
                                              78492
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_05_49_P
SuttonPark\Annuity Masters                    M.xls                                               2124      10/9/2024 16:19
                                              78492
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_05
SuttonPark\Annuity Masters                    _50_PM.xls                                       205677       10/9/2024 16:19
                                              78493
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_04_09_P
SuttonPark\Annuity Masters                    M.xls                                               2867      10/9/2024 16:19
                                              78493
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_04
SuttonPark\Annuity Masters                    _10_PM.xls                                          3139      10/9/2024 16:19
                                              78495
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_49_38_
SuttonPark\Annuity Masters                    AM.xls                                              2126      10/9/2024 16:19
                                              78495
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_4
SuttonPark\Annuity Masters                    9_39_AM.xls                                      181356       10/9/2024 16:19




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                                              78496
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_05_26_P
SuttonPark\Annuity Masters                    M.xls                                               2120      10/9/2024 16:18
                                              78496
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_05
SuttonPark\Annuity Masters                    _26_PM.xls                                        68056       10/9/2024 16:19
                                              78497
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_50_03_
SuttonPark\Annuity Masters                    AM.xls                                              2114      10/9/2024 16:18
                                              78497
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_5
SuttonPark\Annuity Masters                    0_05_AM.xls                                      198963       10/9/2024 16:19
                                              78513
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_50_28_
SuttonPark\Annuity Masters                    AM.xls                                              2466      10/9/2024 16:19
                                              78513
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_5
SuttonPark\Annuity Masters                    0_29_AM.xls                                         2546      10/9/2024 16:19
                                              78515
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_32_40_
SuttonPark\Annuity Masters                    PM.xls                                              2121      10/9/2024 16:19
                                              78515
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_3
SuttonPark\Annuity Masters                    2_41_PM.xls                                       88982       10/9/2024 16:19
                                              78531
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_26_33_
SuttonPark\Annuity Masters                    PM.xls                                              2115      10/9/2024 16:18
                                              78531
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_2
SuttonPark\Annuity Masters                    6_34_PM.xls                                       84262       10/9/2024 16:19
                                              78548
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_50_50_
SuttonPark\Annuity Masters                    AM.xls                                              2502      10/9/2024 16:19
                                              78548
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_5
SuttonPark\Annuity Masters                    0_51_AM.xls                                      148454       10/9/2024 16:19
                                              78549
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_51_14_
SuttonPark\Annuity Masters                    AM.xls                                              2112      10/9/2024 16:18
                                              78549
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_5
SuttonPark\Annuity Masters                    1_15_AM.xls                                      124018       10/9/2024 16:19
                                              78569
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_51_38_
SuttonPark\Annuity Masters                    AM.xls                                              2129      10/9/2024 16:19
                                              78569
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_5
SuttonPark\Annuity Masters                    1_39_AM.xls                                      223872       10/9/2024 16:19




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                                              78577
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_52_04_
SuttonPark\Annuity Masters                    AM.xls                                              2481      10/9/2024 16:19
                                              78577
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_5
SuttonPark\Annuity Masters                    2_05_AM.xls                                      224819       10/9/2024 16:19
                                              78582
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_52_28_
SuttonPark\Annuity Masters                    AM.xls                                              2472      10/9/2024 16:19
                                              78582
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_5
SuttonPark\Annuity Masters                    2_29_AM.xls                                      298181       10/9/2024 16:20
                                              78595
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_52_51_
SuttonPark\Annuity Masters                    AM.xls                                              2114      10/9/2024 16:18
                                              78595
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_5
SuttonPark\Annuity Masters                    2_52_AM.xls                                      191983       10/9/2024 16:19
                                              78664
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_53_14_
SuttonPark\Annuity Masters                    AM.xls                                              2872      10/9/2024 16:19
                                              78664
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_5
SuttonPark\Annuity Masters                    3_16_AM.xls                                       82882       10/9/2024 16:19
                                              78666
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_53_41_
SuttonPark\Annuity Masters                    AM.xls                                              2119      10/9/2024 16:18
                                              78666
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_5
SuttonPark\Annuity Masters                    3_43_AM.xls                                      200373       10/9/2024 16:19
                                              78667
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_54_13_
SuttonPark\Annuity Masters                    AM.xls                                              2838      10/9/2024 16:19
                                              78667
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_5
SuttonPark\Annuity Masters                    4_14_AM.xls                                      269470       10/9/2024 16:20
                                              78669
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_54_40_
SuttonPark\Annuity Masters                    AM.xls                                              3607      10/9/2024 16:19
                                              78669
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_5
SuttonPark\Annuity Masters                    4_41_AM.xls                                      355817       10/9/2024 16:20
                                              78670
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_55_05_
SuttonPark\Annuity Masters                    AM.xls                                              2474      10/9/2024 16:19
                                              78670
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_5
SuttonPark\Annuity Masters                    5_07_AM.xls                                      195002       10/9/2024 16:19




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                                              78674
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_55_37_
SuttonPark\Annuity Masters                    AM.xls                                              2116      10/9/2024 16:18
                                              78674
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_5
SuttonPark\Annuity Masters                    5_38_AM.xls                                       34697       10/9/2024 16:19
                                              78679
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_11_51_
SuttonPark\Annuity Masters                    PM.xls                                              2497      10/9/2024 16:19
                                              78679
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_1
SuttonPark\Annuity Masters                    1_52_PM.xls                                         2864      10/9/2024 16:19
                                              78682
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_10_50_P
SuttonPark\Annuity Masters                    M.xls                                               2121      10/9/2024 16:18
                                              78682
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_10
SuttonPark\Annuity Masters                    _51_PM.xls                                          1457      10/9/2024 16:17
                                              78686
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_56_18_
SuttonPark\Annuity Masters                    AM.xls                                              3598      10/9/2024 16:19
                                              78686
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_5
SuttonPark\Annuity Masters                    6_19_AM.xls                                      361363       10/9/2024 16:20
                                              78699
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_56_43_
SuttonPark\Annuity Masters                    AM.xls                                              2491      10/9/2024 16:19
                                              78699
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_5
SuttonPark\Annuity Masters                    6_45_AM.xls                                      169607       10/9/2024 16:19
                                              78700
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_57_07_
SuttonPark\Annuity Masters                    AM.xls                                              6510      10/9/2024 16:19
                                              78700
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_5
SuttonPark\Annuity Masters                    7_08_AM.xls                                      657201       10/9/2024 16:20
                                              78712
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_57_31_
SuttonPark\Annuity Masters                    AM.xls                                              2100      10/9/2024 16:17
                                              78712
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_5
SuttonPark\Annuity Masters                    7_32_AM.xls                                         2017      10/9/2024 16:17
                                              78723
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_57_56_
SuttonPark\Annuity Masters                    AM.xls                                              2820      10/9/2024 16:19
                                              78723
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_5
SuttonPark\Annuity Masters                    7_57_AM.xls                                      240019       10/9/2024 16:19




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                                              78728
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_06_36_P
SuttonPark\Annuity Masters                    M.xls                                               3270      10/9/2024 16:19
                                              78728
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_06
SuttonPark\Annuity Masters                    _37_PM.xls                                       343854       10/9/2024 16:20
                                              78729
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_58_17_
SuttonPark\Annuity Masters                    AM.xls                                              3555      10/9/2024 16:19
                                              78729
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_5
SuttonPark\Annuity Masters                    8_19_AM.xls                                      420510       10/9/2024 16:20
                                              78734
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_06_13_P
SuttonPark\Annuity Masters                    M.xls                                               2124      10/9/2024 16:19
                                              78734
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_06
SuttonPark\Annuity Masters                    _14_PM.xls                                          3422      10/9/2024 16:19
                                              78737
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_59_13_
SuttonPark\Annuity Masters                    AM.xls                                              3194      10/9/2024 16:19
                                              78737
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_5
SuttonPark\Annuity Masters                    9_15_AM.xls                                      287789       10/9/2024 16:20
                                              78738
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_10_59_41_
SuttonPark\Annuity Masters                    AM.xls                                              4268      10/9/2024 16:19
                                              78738
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_10_5
SuttonPark\Annuity Masters                    9_42_AM.xls                                      414033       10/9/2024 16:20
                                              78740
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_17_00_
SuttonPark\Annuity Masters                    PM.xls                                              2127      10/9/2024 16:19
                                              78740
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_1
SuttonPark\Annuity Masters                    7_02_PM.xls                                      123193       10/9/2024 16:19
                                              78741
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_18_07_
SuttonPark\Annuity Masters                    PM.xls                                              4026      10/9/2024 16:19
                                              78741
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_1
SuttonPark\Annuity Masters                    8_08_PM.xls                                      227879       10/9/2024 16:20
                                              78744
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_20_43_P
SuttonPark\Annuity Masters                    M.xls                                               2469      10/9/2024 16:19
                                              78744
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_20
SuttonPark\Annuity Masters                    _44_PM.xls                                       151976       10/9/2024 16:19




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                                              78745
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_00_04_
SuttonPark\Annuity Masters                    AM.xls                                              2469      10/9/2024 16:19
                                              78745
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_0
SuttonPark\Annuity Masters                    0_05_AM.xls                                      151976       10/9/2024 16:19
                                              78749
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_33_05_
SuttonPark\Annuity Masters                    PM.xls                                              2859      10/9/2024 16:19
                                              78749
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_3
SuttonPark\Annuity Masters                    3_06_PM.xls                                       92848       10/9/2024 16:19
                                              78752
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_32_55_P
SuttonPark\Annuity Masters                    M.xls                                               2114      10/9/2024 16:18
                                              78752
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_32
SuttonPark\Annuity Masters                    _56_PM.xls                                       119385       10/9/2024 16:19
                                              78768
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_53_07_
SuttonPark\Annuity Masters                    PM.xls                                              2124      10/9/2024 16:19
                                              78768
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_5
SuttonPark\Annuity Masters                    3_07_PM.xls                                      272430       10/9/2024 16:20
                                              78771
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_00_31_
SuttonPark\Annuity Masters                    AM.xls                                              7128      10/9/2024 16:19
                                              78771
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_0
SuttonPark\Annuity Masters                    0_32_AM.xls                                      651229       10/9/2024 16:20
                                              78773
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_00_58_
SuttonPark\Annuity Masters                    AM.xls                                              2495      10/9/2024 16:19
                                              78773
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_0
SuttonPark\Annuity Masters                    0_59_AM.xls                                      244664       10/9/2024 16:20
                                              78813
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_26_34_
SuttonPark\Annuity Masters                    PM.xls                                              2116      10/9/2024 16:18
                                              78813
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_2
SuttonPark\Annuity Masters                    6_35_PM.xls                                         2855      10/9/2024 16:19
                                              78815
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_31_22_
SuttonPark\Annuity Masters                    PM.xls                                              2509      10/9/2024 16:19
                                              78815
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_3
SuttonPark\Annuity Masters                    1_23_PM.xls                                      116973       10/9/2024 16:19




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                                              78827
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_50_28_
SuttonPark\Annuity Masters                    PM.xls                                              2125      10/9/2024 16:19
                                              78827
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_5
SuttonPark\Annuity Masters                    0_29_PM.xls                                       17557       10/9/2024 16:19
                                              78831
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_45_37_
SuttonPark\Annuity Masters                    PM.xls                                              2113      10/9/2024 16:18
                                              78831
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_4
SuttonPark\Annuity Masters                    5_39_PM.xls                                         1739      10/9/2024 16:17
                                              78833
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_37_20_
SuttonPark\Annuity Masters                    PM.xls                                              3931      10/9/2024 16:19
                                              78833
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_3
SuttonPark\Annuity Masters                    7_23_PM.xls                                      281114       10/9/2024 16:20
                                              78838
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_17_28_P
SuttonPark\Annuity Masters                    M.xls                                               2127      10/9/2024 16:19
                                              78838
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_17
SuttonPark\Annuity Masters                    _29_PM.xls                                        15767       10/9/2024 16:19
                                              78839
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_01_18_
SuttonPark\Annuity Masters                    AM.xls                                              1782      10/9/2024 16:17
                                              78839
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_0
SuttonPark\Annuity Masters                    1_19_AM.xls                                       67879       10/9/2024 16:19
                                              78842
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_01_44_
SuttonPark\Annuity Masters                    AM.xls                                              1759      10/9/2024 16:17
                                              78842
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_0
SuttonPark\Annuity Masters                    1_45_AM.xls                                       12838       10/9/2024 16:19
                                              78843
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_48_49_
SuttonPark\Annuity Masters                    PM.xls                                              2131      10/9/2024 16:19
                                              78843
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_4
SuttonPark\Annuity Masters                    8_50_PM.xls                                         2018      10/9/2024 16:17
                                              78856
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_19_07_P
SuttonPark\Annuity Masters                    M.xls                                               2125      10/9/2024 16:19
                                              78856
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_19
SuttonPark\Annuity Masters                    _09_PM.xls                                        39077       10/9/2024 16:19




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                                       3467



              All Paths/Locations                               Unified Title               File Size    Primary Date/Time
                                              78859
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_05_52_
SuttonPark\Annuity Masters                    AM.xls                                              5789      10/9/2024 16:19
                                              78859
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_0
SuttonPark\Annuity Masters                    5_53_AM.xls                                      384138       10/9/2024 16:20
                                              78862
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_14_25_P
SuttonPark\Annuity Masters                    M.xls                                               4008      10/9/2024 16:19
                                              78862
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_14
SuttonPark\Annuity Masters                    _27_PM.xls                                       146432       10/9/2024 16:19
                                              78864
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_07_01_P
SuttonPark\Annuity Masters                    M.xls                                               3270      10/9/2024 16:19
                                              78864
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_07
SuttonPark\Annuity Masters                    _02_PM.xls                                       343854       10/9/2024 16:20
                                              78865
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_38_13_
SuttonPark\Annuity Masters                    PM.xls                                              2121      10/9/2024 16:18
                                              78865
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_3
SuttonPark\Annuity Masters                    8_16_PM.xls                                         2857      10/9/2024 16:19
                                              78866
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_06_17_
SuttonPark\Annuity Masters                    AM.xls                                              3247      10/9/2024 16:19
                                              78866
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_0
SuttonPark\Annuity Masters                    6_18_AM.xls                                         3004      10/9/2024 16:19
                                              78868
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_06_47_
SuttonPark\Annuity Masters                    AM.xls                                              2125      10/9/2024 16:19
                                              78868
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_0
SuttonPark\Annuity Masters                    6_49_AM.xls                                       65283       10/9/2024 16:19
                                              78880
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_4_27_37_
SuttonPark\Annuity Masters                    PM.xls                                              1784      10/9/2024 16:17
                                              78880
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_4_2
SuttonPark\Annuity Masters                    7_38_PM.xls                                       17909       10/9/2024 16:19
                                              78884
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_27_04_P
SuttonPark\Annuity Masters                    M.xls                                               2112      10/9/2024 16:18
                                              78884
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_27
SuttonPark\Annuity Masters                    _05_PM.xls                                          2581      10/9/2024 16:19




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                                       3467



              All Paths/Locations                               Unified Title               File Size    Primary Date/Time
                                              78888
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_34_16_
SuttonPark\Annuity Masters                    PM.xls                                              2123      10/9/2024 16:18
                                              78888
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_3
SuttonPark\Annuity Masters                    4_17_PM.xls                                      102335       10/9/2024 16:19
                                              78889
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_07_11_
SuttonPark\Annuity Masters                    AM.xls                                              2468      10/9/2024 16:19
                                              78889
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_0
SuttonPark\Annuity Masters                    7_12_AM.xls                                      234698       10/9/2024 16:19
                                              78897
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_24_30_
SuttonPark\Annuity Masters                    PM.xls                                              2503      10/9/2024 16:19
                                              78900
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_07_56_
SuttonPark\Annuity Masters                    AM.xls                                              3956      10/9/2024 16:19
                                              78900
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_0
SuttonPark\Annuity Masters                    7_54_AM.xls                                      417203       10/9/2024 16:20
                                              78903
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_3_53_39_
SuttonPark\Annuity Masters                    PM.xls                                              2108      10/9/2024 16:18
                                              78903
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_3_5
SuttonPark\Annuity Masters                    3_42_PM.xls                                       12249       10/9/2024 16:19
                                              78905
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_4_00_36_P
SuttonPark\Annuity Masters                    M.xls                                               2134      10/9/2024 16:19
                                              78905
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_4_00
SuttonPark\Annuity Masters                    _37_PM.xls                                       208529       10/9/2024 16:19
                                              78906
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_59_08_P
SuttonPark\Annuity Masters                    M.xls                                               1790      10/9/2024 16:17
                                              78906
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_59
SuttonPark\Annuity Masters                    _09_PM.xls                                        63133       10/9/2024 16:19
                                              78907
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_2_20_49_
SuttonPark\Annuity Masters                    PM.xls                                              2491      10/9/2024 16:19
                                              78907
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_2_2
SuttonPark\Annuity Masters                    0_50_PM.xls                                         3519      10/9/2024 16:19
                                              78909
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_21_42_P
SuttonPark\Annuity Masters                    M.xls                                               2479      10/9/2024 16:19




                                                           1958
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                                       3467



              All Paths/Locations                               Unified Title               File Size    Primary Date/Time
                                              78909
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_21
SuttonPark\Annuity Masters                    _43_PM.xls                                       243666       10/9/2024 16:20
                                              78910
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_08_17_
SuttonPark\Annuity Masters                    AM.xls                                              1777      10/9/2024 16:17
                                              78910
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_0
SuttonPark\Annuity Masters                    8_18_AM.xls                                       15796       10/9/2024 16:19
                                              78911
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_58_40_P
SuttonPark\Annuity Masters                    M.xls                                               2128      10/9/2024 16:19
                                              78911
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_58
SuttonPark\Annuity Masters                    _41_PM.xls                                        72861       10/9/2024 16:19
                                              78915
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_08_38_
SuttonPark\Annuity Masters                    AM.xls                                              2106      10/9/2024 16:18
                                              78915
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_0
SuttonPark\Annuity Masters                    8_40_AM.xls                                      103786       10/9/2024 16:19
                                              78917
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_09_02_
SuttonPark\Annuity Masters                    AM.xls                                              2505      10/9/2024 16:19
                                              78917
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_0
SuttonPark\Annuity Masters                    9_04_AM.xls                                       59606       10/9/2024 16:19
                                              78918
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_3_31_34_P
SuttonPark\Annuity Masters                    M.xls                                               2110      10/9/2024 16:18
                                              78918
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_3_31
SuttonPark\Annuity Masters                    _35_PM.xls                                          4498      10/9/2024 16:19
                                              78919
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_18_2024_1_46_25_
SuttonPark\Annuity Masters                    PM.xls                                              4928      10/9/2024 16:19
                                              78919
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_18_2024_1_4
SuttonPark\Annuity Masters                    6_26_PM.xls                                      467965       10/9/2024 16:20
                                              78921
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_09_27_
SuttonPark\Annuity Masters                    AM.xls                                              5160      10/9/2024 16:19
                                              78921
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_0
SuttonPark\Annuity Masters                    9_28_AM.xls                                      480215       10/9/2024 16:20
                                              78922
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_09_53_
SuttonPark\Annuity Masters                    AM.xls                                              1768      10/9/2024 16:17




                                                           1959
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                                       3467



              All Paths/Locations                               Unified Title                  File Size    Primary Date/Time
                                              78922
Saiph consulting|\Audit Materials Received-   Master_Deal_Source_Payments_6_4_2024_11_0
SuttonPark\Annuity Masters                    9_56_AM.xls                                          57298       10/9/2024 16:19
                                              78923
Saiph consulting|\Audit Materials Received-   List_of_Associated_Deals_6_4_2024_11_10_46_
SuttonPark\Annuity Masters                    AM.xls                                                 2487      10/9/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              Fully Executed Stipulation.pdf                      331121       4/19/2022 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              LOD.pdf                                              17169       12/8/2021 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              PA 12-8.pdf                                         479649       3/21/2022 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              PI Docket Auto Tort.pdf                             106058       12/8/2021 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              Pleadings.pdf                                       780480        3/3/2022 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              Policy Info.pdf                                   1020745         3/3/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              POR - Utility.pdf                                 1272142        3/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              POR - voters reg.pdf                              1114279        3/10/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              POS.pdf                                             155554        2/4/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              Purchase Agreement.pdf                              402773        3/3/2022 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              Qualified Assignment and Release Agreement.pdf      415570      12/10/2021 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              SAR.pdf                                              48185       10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              Searches.pdf                                         11150       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              SSC.pdf                                           2674359         3/3/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              TLO BK Chapter 7 Discharged 2008.pdf                   2600      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              UCC.pdf                                              47874       10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78905              78905 McGrowder, Kacie.tv5                           15406       10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78905              Affidavi in Lieu of Settlement Agreement.pdf        381605        3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78905              Allstate Quote.pdf                                   88383        3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78905              Application.pdf                                      68723        3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78905              Authorizations.pdf                                  223608        3/6/2022 21:02




                                                                1960
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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78905              Bankruptcy Search.pdf                    564065       3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78905              Court Order.pdf                          791434       3/9/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78905              Declaration.pdf                          561007       3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78905              Disclosure - FL.pdf                      438911       3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78905              Disclosure - IL.pdf                      440559       3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78905              Disclosure - NY.pdf                      193706       3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78905              Disclosure Affidavit.pdf                 336322       3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78905              Infants Compromise Order.pdf           2810681        3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78905              Lien and Judgment Search.pdf             192967       3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78905              McGrowder Assignment.docx                 26471       3/8/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78905              McGrowder Closing Binder.pdf          15838875        3/6/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78905              PI Case Docket Search.pdf              2751912        3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78905              Pleadings.pdf                          2500345        3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78905              Purchase Agreement missing LOD.pdf     3569132        3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78905              Seller Identification.pdf                372353       3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78905              Social Security Card.pdf                 408626       3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78905              Stipulation.pdf                        2240755        3/8/2022 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78905              UCC Search.pdf                            86915       3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              78906 McGrowder, Kacie.tv5                16010      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              Affidavit in lieu of SA.pdf            1239815        3/4/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              Affidavit.pdf                            409401       3/4/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              Application.pdf                          290011       3/2/2022 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              Bankruptcy Search.pdf                    833709       3/4/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              Closing Binder.pdf                    30660807        3/4/2022 12:10




                                                                1961
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                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              Court Order.pdf                         356502       3/8/2022 16:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              Credit Report.pdf                        44043       3/2/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              Declaration.pdf                       1826224        3/4/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              Disclosure DE.pdf                     1442399        3/4/2022 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              Disclosure FL.pdf                     1435599        3/4/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              Disclosure NY.pdf                       563471       3/4/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              Disclosure TX.pdf                     1340896        3/4/2022 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              Executed Assignment.pdf                  68301      10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              Executed Stipulation.pdf              1421015        3/8/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              ID.pdf                                  371625      2/22/2022 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              Infant Compromise Order.pdf           2803236       10/9/2024 22:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              IPA Letter.pdf                           91191      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              Partial Benefit letter.pdf               40344     10/21/2021 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              PI Docket.pdf                         2749839       12/16/2021 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              Pleadings.pdf                         2497072        3/4/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              Purchase Agreement.pdf               12404347        3/4/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              Searches.pdf                            277898       3/2/2022 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              Social Security Card.pdf                407898      2/22/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78906              USPS Zip Code.pdf                       152661       3/4/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              78907 Gonzalez, Jennifer.tv5             10282      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              Annuity Contract Cert.pdf                18139      10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              Application.pdf                         177438     11/12/2021 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              Assignment.pdf                          164248      3/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              Closing Binder.pdf                    9139702        3/3/2022 10:12




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               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              Court Order.pdf                            158492      3/25/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              Credit Report.pdf                           48246      2/28/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              Disclosure CA.pdf                          331027       3/3/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              Disclosure DE.pdf                          192623       3/3/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              Disclosure TX.pdf                          180415       3/3/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              Docusign Cert - PA Docs.pdf                320822      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              Driver License.pdf                       2338365      12/28/2021 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              Order Approving Compromise.pdf             224246     10/28/2019 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              Pleadings.pdf                            5937212        3/3/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              Proof of Disc Disclosure.pdf               523579       3/3/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              image001.jpg                                25364
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              image002.png                                12284
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              image003.jpg                                10260
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              Disclosure CA - Jennifer Gonzalez.pdf       91388     10/27/2021 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              Purchase Agreement.pdf                   3167346        3/3/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              Settlement Agreement Affidavit.pdf         253464       3/3/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              Stip - misising St James.pdf             4963685       3/25/2022 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              Stipulation.pdf                          4757592       3/25/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              UCC Search.pdf                              46061       3/3/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78907              Zip Code Lookup.pdf                         80132     12/22/2021 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              78909 Ford, Kayrian.tv5                     10241      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              Acknowledgment.pdf                          43002      3/24/2022 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              Affidavit in Lieu of SA.pdf                346758        3/3/2022 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              Affidavit notarized.pdf                     63696       3/8/2022 12:51




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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              Affidavit.pdf                          551094        3/3/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              Application.pdf                        231393       3/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              Benefits Letter.pdf                     32148       3/2/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              BK Search.pdf                          808820        3/3/2022 8:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              CFD0.pdf                               244051      10/9/2024 20:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              Court Order.pdf                        625313       3/8/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              Credit Report - updated.pdf             44514       3/3/2022 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              Credit Report.pdf                       44508     10/26/2021 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              Disclosure CT.pdf                      393119        3/3/2022 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              Disclosure DE.pdf                      421675        3/3/2022 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              Disclosure MA.pdf                      443419        3/3/2022 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              Disclosure TX.pdf                      387319        3/3/2022 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              DL - Kayrian Ford.pdf                1812790        3/9/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              Final Judgment.pdf                     149899     10/29/2021 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              Payees Request to Conceal.pdf          196694        3/3/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              Pleadings.pdf                        2336830         3/3/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              POD Disclosure.pdf                     205055        3/3/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              Disclosure TX - KAYRIAN FORD.pdf        74223      1/24/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              Purchase Agreement.pdf               6655639         3/3/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              Searches.pdf                           291758       3/2/2022 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              Signed APA - Kayrian Ford.pdf          152099       3/9/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78909              SSC.pdf                              5603665         3/3/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78910              78910 Sexton, Johanna.tv5               10157      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78910              Acknowledgment.pdf                      38105      3/28/2022 10:30




                                                              1964
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1966 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78910              Amended Court Order.pdf                 149133       3/9/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78910              Application.pdf                         294881      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78910              Benefits Letter.pdf                     259267       3/6/2022 20:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78910              Court Order.pdf                         151614       3/6/2022 20:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78910              Credit Report.pdf                        50544       3/6/2022 19:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78910              Disclosure - CO.pdf                     138437       3/6/2022 20:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78910              Document Certificate 16C.pdf            283905       3/10/2022 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78910              Docusign Certificate EDF.pdf            283770       3/8/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78910              Drivers License.pdf.pdf                 115702       3/6/2022 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78910              Lien and Bankruptcy Search.pdf           34625       3/6/2022 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78910              PI Case Docket Search.pdf             2521387        3/8/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78910              Pleadings.pdf                         4184945        3/6/2022 20:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78910              Purchase Agreement.pdf                  979646       3/8/2022 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78910              Sexton Assignment.docx                   25982       3/6/2022 20:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78910              Sexton Closing Binder.pdf             6638094        3/6/2022 19:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78910              Social Security Card.pdf                144921       3/6/2022 19:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78910              UCC Search.pdf                           34300       3/6/2022 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78911              78911 Mowles, Linda.tv5                  10013      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78911              Affidavit.pdf                           139580       3/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78911              Application.pdf                       2302700      11/19/2021 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78911              Assignment GP.pdf                        77383       3/8/2022 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78911              Benefits Letter.pdf                   2811951        3/2/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78911              Closing Binder.pdf                   28627939        3/3/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78911              Court order.pdf                       3007826       10/9/2024 22:13




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                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78911              Credit Report - Roy.pdf                 124557        3/4/2022 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78911              Disclosure IA.pdf                       112397        3/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78911              Disclosure OK.pdf                       139738        3/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78911              Drivers License - Linda.pdf           4229564         3/2/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78911              Guardianship Order.pdf                   47921        3/3/2022 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78911              Identification Card - Roy.pdf         1090351         3/8/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78911              Pleadings.pdf                        16548827         3/3/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78911              Purchase agreement.pdf                  986328        3/8/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78911              Searches - Linda.pdf                    197862        3/3/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78911              Searches - Roy.pdf                       23595       10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78911              SSC - Linda.pdf                         258097        3/2/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78911              SSC - Roy.pdf                            28871        3/3/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78911              Stipulation.pdf                       2096085         3/8/2022 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78911              UCC Search - Linda.pdf                   23488       10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78911              UCC Search - Roy.pdf                     23460       10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78911              ZIP Code Lookup _ USPS.pdf               76437        3/3/2022 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              78912 Mowles, Linda.tv5                    9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              Affidavit.pdf                           139580        3/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              Application.pdf                       2302700       11/19/2021 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              Assignment LCP.pdf                      965571        3/8/2022 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              Benefits Letter.pdf                   2811951         3/2/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              Closing Binder.pdf                   28627939         3/3/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              Court order.pdf                       3007826        10/9/2024 22:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              Credit Report - Roy.pdf                 124557        3/4/2022 11:09




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1968 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              Disclosure IA.pdf                       112397        3/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              Disclosure OK.pdf                       139738        3/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              Drivers License - Linda.pdf           4229564         3/2/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              Fasano Report.pdf                        98346       12/8/2021 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              Guardianship Order.pdf                   47921        3/3/2022 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              HIPAA.pdf                               299984        3/3/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              Identification Card - Roy.pdf         1090351         3/8/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              LE Analysis.pdf                         189114        3/8/2022 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              PI Docket.pdf                           135775        3/3/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              Pleadings.pdf                        16548827         3/3/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              Purchase agreement.pdf                  986328        3/8/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              Searches - Linda.pdf                    197862        3/3/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              Searches - Roy.pdf                       23595       10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              SSC - Linda.pdf                         258097        3/2/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              SSC - Roy.pdf                            28871        3/3/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              Stipulation.pdf                       2096085         3/8/2022 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              UCC Search - Linda.pdf                   23488       10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              UCC Search - Roy.pdf                     23460       10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78912              ZIP Code Lookup _ USPS.pdf               76437        3/3/2022 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78915              78915 Taylor, Mark.tv5                     9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78915              Acknowledgmetn.pdf                       75770        3/15/2022 9:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78915              Annuity Contract.pdf                    267487        3/3/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78915              Application.pdf                       2082592         3/3/2022 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78915              Assignment.pdf                           73665        3/3/2022 14:43




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1969 of
                                       3467



               All Paths/Locations                                Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78915              Authorization.pdf                            438007       3/3/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78915              BK Search - All have been dismissed.pdf    3820653        3/3/2022 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78915              Closing Book Taylor.pdf                    6662705        3/2/2022 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78915              COB Request.pdf                            1230086        3/3/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78915              Court Order.pdf                            1366634        3/3/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78915              Credit Report.pdf                             58084       3/3/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78915              Disclosure NY.pdf                          2573340        3/3/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78915              DL.pdf                                     1460336        3/3/2022 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78915              DS POD.pdf                                    77548       3/4/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78915              ID SSC.pdf                                 4653648        3/4/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78915              Pleadings.pdf                              2229934        3/3/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78915              Purchase Agreement.pdf                    21865215        3/3/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78915              Req for Ack.pdf                              256499       3/3/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78915              Searches.pdf                                 713054       3/3/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78915              Settlement Agreement.pdf                     477081       3/4/2022 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78915              Transaction Summary.pdf                       62992       3/3/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78916              78916 Pierce, Paul.tv5                        10001      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78916              Annuity Contract.pdf                       8780038       11/4/2021 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78916              Application.pdf                              335630       3/7/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78916              Attorney letter regarding Divorce.pdf        305569      11/4/2021 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78916              Change Confirmation.pdf                       27988       3/7/2022 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78916              Change Form Notarized Document.pdf           202627      3/10/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78916              Closing Binder Pierce.pdf                 10215279        3/7/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78916              Credit Report.pdf                             43345       3/7/2022 13:51




                                                              1968
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1970 of
                                       3467



               All Paths/Locations                                 Unified Title               File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78916              Disclosure.pdf                                      130691        3/7/2022 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78916              Divorce Judgment.pdf                              1135475        11/4/2021 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78916              Docusign Certificate AC4.pdf                        191965       10/9/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78916              Docusign Certificate FEE.pdf                        192545       10/9/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78916              Drivers License.pdf                                 754450        10/8/2021 8:14
Saiph consulting|\Audit Materials Received-   Partial divorce showing Annuity is sole
SuttonPark\Closing Binders\78916              Property.pdf                                      4217484        11/8/2021 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78916              Pierce Paul Divorce Summary.pdf                   3711141       10/18/2021 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78916              Purchase Agreement.pdf                              477007        3/7/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78916              Quarterly Statement.pdf                             115056       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-   Redirection Confirmation New Bluehill Genworth
SuttonPark\Closing Binders\78916              789582.pdf                                          157298       7/21/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78916              Searches.pdf                                         60894        3/7/2022 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78916              SSN Verification.pdf                                 76246        3/7/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78916              UCC Search updated.pdf                            1781752         3/9/2022 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78917              78917 Howard, Melissa.tv5                              9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78917              Acknowledgement.pdf                                  80558       4/13/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78917              Application.pdf                                      43790      12/20/2021 19:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78917              Closing Binder.pdf                                6399633         3/7/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78917              Closing Statement.pdf                               425368       10/9/2024 20:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78917              Court Order Executed.pdf                            167993       3/22/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78917              Credit report.pdf                                    41909       10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78917              Declaration.pdf                                     208913       12/21/2021 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78917              Disclosure Statement.pdf                             88752      12/20/2021 19:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78917              Driver License updated.pdf                        2094350        3/23/2022 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78917              Notarized closing statement.pdf                     285832        3/28/2022 5:34




                                                               1969
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1971 of
                                       3467



               All Paths/Locations                                 Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78917              PI Docket.pdf                               181545      3/15/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78917              Pleadings.pdf                             2832111       3/23/2022 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78917              Portion of Payments.pdf                     214285     12/20/2021 18:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78917              Purchase Agreement.pdf                      286022       3/7/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78917              Search Results.pdf                          219160      3/21/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78917              Searches.pdf                                 11724       3/7/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78917              Social Security Card.pdf                  2300734       3/23/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78917              Tentative Ruling.pdf                        206870        3/3/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78917              UCC.pdf                                      48438      10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78917              USPS Zip Code.pdf                           156411       3/7/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              78918 Butler, Aaron.tv5                      10349      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              Annuity Contract.pdf                        361586       3/4/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              Application.pdf                             195583       3/4/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              Assignment.pdf                               31027        3/7/2022 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              Authorization for Deductions.pdf             43825       3/4/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              Certification.pdf                           110773       3/4/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              Closing Book - Aaron Butler.pdf          13467058        3/3/2022 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              Butler letter to annuitant.pdf            3209245       1/11/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              Butler letter to insurance company.pdf    3491812       1/11/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              COB Request.pdf                              63620       3/4/2022 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              Court Order.pdf                           3755972        3/3/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              Declaration.pdf                             168059       3/4/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              Disclosure AZ.pdf                            50063       3/4/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              Disclosure NJ.pdf                            50272       3/4/2022 14:38




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                                       3467



               All Paths/Locations                                  Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              Disclosure TX.pdf                            50122       3/4/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              DocuSign Cert - 4DB5.pdf                     71922       3/4/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              DocuSign Cert - 60B2.pdf                     70031       3/4/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              DocuSign Cert - C790.pdf                     69723       3/4/2022 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              DocuSign Cert - Closing Statement.pdf       198267      10/9/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              Driver License.pdf                          200340       3/4/2022 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              Final Judgment.pdf                          262642       3/4/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              NASP Search.pdf                              91757       3/4/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              Pleadings.pdf                             7887964        3/4/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              Butler letter to annuitant.pdf            3209245       1/11/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              Butler letter to insurance company.pdf    3491812       1/11/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              Purchase Agreement.pdf                      361985       3/4/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              Searches.pdf                                103837       3/4/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              Social Security Card.pdf                    179542       3/4/2022 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              Stip - Missing SP.pdf                        74871      3/10/2022 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              Stipulation.pdf                              93416      3/10/2022 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78918              UCC Search.pdf                              107217       3/4/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              78919 Truett, Jamie.tv5                      10725      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              Application.pdf                           1775593         3/7/2022 8:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              Assignment.pdf                              150794      3/14/2022 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              Benefits Letter.pdf                          53537      10/9/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              BK Search.pdf                                83516        3/7/2022 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              Collateral File.pdf                       8766276       10/9/2024 22:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              Court Order 2022.pdf                        916685        3/7/2022 8:29




                                                                1971
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                                       3467



               All Paths/Locations                                 Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              Credit Report.pdf                             77968        3/7/2022 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              Declaration.pdf                            1801757         3/7/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              Disclosure MA.pdf                            168927        3/7/2022 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              Disclosure MS.pdf                            159019        3/7/2022 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              Divorce Decree.pdf                         8786009         3/7/2022 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              Driver License.pdf                         1010268         3/7/2022 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              Order Approving Settlement.pdf               119200       3/27/2018 9:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              PI Docket for Conservatorship.pdf            170765      5/15/2019 16:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              Pleadings.pdf                              2648796         3/7/2022 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              Purchase Agreement 10-15.pdf                 260599        3/7/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              Purchase Agreement.pdf                     2121849         3/7/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              Searches.pdf                                 719804        3/7/2022 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              SSC.pdf                                       76309        3/7/2022 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              Stipulation - signed by all parties.pdf      382696      10/9/2024 20:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              Transaction Summary.pdf                       51128        3/7/2022 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              Upated Credit Report - Truett.pdf             59144       3/8/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              Updated BK Search - Truett.pdf                38502       3/8/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78919              Updated Searches.pdf                       1044648       10/9/2024 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              78921 - Court Order.pdf                      436361      3/17/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              78921 Imperatore, Nichole.tv5                 12667      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              Affidavit.pdf                                 59100      3/10/2022 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              Annuity Contract.pdf                          24561      3/10/2022 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              Application.pdf                            1398511       3/15/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              Assignment - LCP.pdf                         626702      3/22/2022 12:50




                                                              1972
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1974 of
                                       3467



               All Paths/Locations                                Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              Bankruptcy Search.pdf                    84843       3/10/2022 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              Credit Report.pdf                       876507       3/15/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              Disclosure FL.pdf                        81445       3/10/2022 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              Disclosure NJ.pdf                        90126       3/10/2022 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              Disclosure TX.pdf                        97864       3/10/2022 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              DocuSign Cert - 5835.pdf                 50099       3/10/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              Fasano Report.pdf                        77515       3/10/2022 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              Funding File - LC.pdf                10491348         3/9/2022 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              HIPAA.pdf                               341438       3/10/2022 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              Identification Card.pdf                  45138       3/10/2022 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              Medical Questionnaire.pdf             1035501        3/10/2022 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              New - Court Order.pdf                   436361       3/17/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              PI Docket.pdf                           135964        2/6/2014 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              Pleadings.pdf                         8075001        3/10/2022 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              Purchase Agreement.pdf                  271289       3/10/2022 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              Searches.pdf                            132483       3/10/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              Settlement Agreement Affidavit.pdf       56287       3/10/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              Social Security Card.pdf                259712       3/10/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              Stips - Missing SP and Tower.pdf      1195539        3/17/2022 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              Stipulation.pdf                       1015676        4/19/2022 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78921              UCC Search.pdf                           95009       3/10/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78922              78922 Ybarra, Elodia.tv5                   9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78922              Acknowledgment Talcott.pdf               46169       3/25/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78922              Approved Judgment Settlement.pdf         97976        3/4/2022 15:44




                                                                1973
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                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78922              Closing Binder.pdf                   25779860         3/3/2022 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78922              Court Order Talcott.pdf                 146322         3/4/2022 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78922              Disclosure CT.pdf                        86660        3/4/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78922              Disclosure TX.pdf                        96590        3/4/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78922              Divorce Decree.pdf                    1579322         3/4/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78922              DocuSign Cert 68E.pdf                   215149        3/4/2022 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78922              Elodia AC Talcott.pdf                    44302        3/8/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78922              Executed Assignment Talcott.pdf         863276       10/9/2024 21:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78922              Fasano Report.pdf                       109291        3/4/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78922              HIPPA.pdf                             6181383         3/4/2022 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78922              ID Texas.pdf                             97084        3/4/2022 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78922              NOH.pdf                                 110759        3/4/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78922              Pleadings.pdf                         8857964         3/4/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78922              Proof Of Service.pdf                  3557941         3/7/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78922              Puchase Agreement EL.pdf              2671605         3/7/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78922              Qualified Assignment Talcott.pdf        145362        3/4/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78922              Questionnaire.pdf                     8817118         3/4/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78922              Searches.pdf                            108529        3/4/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78922              Settlement Agreement.pdf                495994        3/4/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78922              Social Secuirty Card.pdf                 68873        3/4/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78922              Updated Fasano.pdf                      113543        3/9/2022 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78923              78923 Ybarra, Elodia.tv5                   9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78923              Acknowledgment.pdf                       52113        5/9/2022 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78923              Approved Judgment Settlement.pdf         97976        3/4/2022 15:44




                                                              1974
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1976 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78923              Assignment Executed.pdf                 866868       4/5/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78923              Benefit Letter Metlife.pdf            1255139        3/4/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78923              Closing Binder.pdf                   25779860        3/3/2022 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78923              Court Order Metropolitan Life.pdf       117163      3/15/2022 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78923              Disclosure DE LC pymts.pdf               75413       3/4/2022 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78923              Disclosure NY.pdf                        59656       3/4/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78923              Disclosure TX LC payments.pdf           100808       3/4/2022 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78923              DocuSign Cert E68E.pdf                  215135       3/4/2022 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78923              HIPPA.pdf                             6181383        3/4/2022 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78923              ID Texas.pdf                             97084       3/4/2022 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78923              Pleadings.pdf                         8857964        3/4/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78923              POS Metlife.pdf                       1535964        3/7/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78923              Purchase Agreement Metlife.pdf        2670188        3/7/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78923              Questionnaire.pdf                     8817118        3/4/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78923              Searches.pdf                            108529       3/4/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78923              Settlement Agreement.pdf                495994       3/4/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78923              Social Secuirty Card.pdf                 68873       3/4/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78923              Updated Fasano.pdf                      113543       3/9/2022 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78924              78924 Keough, Lisa.tv5                   10279      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78924              Annuity Contract.pdf                    128072       3/6/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78924              Application.pdf                         389431       3/6/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78924              Assignment.pdf                           17511       3/6/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78924              Authorization Letter.pdf                107667       3/6/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78924              Bankruptcy Search.pdf                    60510       3/6/2022 14:16




                                                              1975
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1977 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78924              Benefits Letter.pdf                     126420       3/6/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78924              Closing Book Keough.pdf               6175414         3/4/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78924              COB Request.pdf                         110320       3/6/2022 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78924              Court Order.pdf                         919951       3/6/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78924              Credit Report.pdf                       187916       3/6/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78924              Disclosure IN.pdf                       230854       3/6/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78924              Disclosure NY.pdf                       265090       3/6/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78924              Driver License.pdf                       51895       3/6/2022 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78924              Pleadings.pdf                        24866055        3/6/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78924              Proof Tax Lien are paid.pdf             835881       3/6/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78924              Proofs of service.pdf                 2895061        3/4/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78924              Purchase Agreement.pdf                2054021        3/6/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78924              Request for Acknowledgment.pdf           60544       3/6/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78924              Searches.pdf                            453620       3/6/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78924              Social Security Card.pdf                 69979       3/6/2022 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78924              Stip - Missing SP.pdf                   206720       3/6/2022 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78924              Stipulation.pdf                         221942       3/7/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              78925 Durham, Kathy.tv5                  10279      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              Annuity Contract.pdf                    648106       3/7/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              Application.pdf                       2228359        3/7/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              Assignment.pdf                           74734       3/7/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              Authorization.pdf                       743437       3/7/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              Benefit Letter.pdf                      912418       3/7/2022 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              BK Search.pdf                            53187       3/7/2022 16:25




                                                                1976
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1978 of
                                       3467



               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              Closing Book Durham.pdf                         5066720        3/4/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              COB Request.pdf                                   784769       3/7/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              Court Order.pdf                                 6379398        3/7/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              Credit Report.pdf                                 113099       3/7/2022 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              Disclosure IN.pdf                               1848264        3/7/2022 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              Disclosure NY.pdf                               2186611        3/7/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              DL and SSC.pdf                                    544591       3/7/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              Pleadings.pdf                                  27772917        3/7/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              Purchase Agreement.pdf                         17079334        3/7/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              Redirection Reconfiguration up07-11-2022.pdf    2180777        7/8/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              Redirection Assignee List NYLIC.pdf               222753       7/7/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              COA Policy FP200974.pdf                            52947       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              COA Policy 74758034.pdf                            52951       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              COA Policy 77422032.pdf                            52926       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              COA Policy FP200974 (2).pdf                        52949       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              COA Policy FP200974.pdf                            52991       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              COA Policy FP201158.pdf                            52930       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              COA Policy FP205723.pdf                            52948       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              COA Policy FP206266.pdf                            52989       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              COA Policy FP206275.pdf                            52951       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              COA Policy FP207071.pdf                            52987       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              COA Policy FP207808.pdf                            52960       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              COA Policy FP210013.pdf                            52983       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              COA Policy FP210674.pdf                            52959       4/8/2022 13:25




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               All Paths/Locations                                  Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              COA Policy FP216554.pdf                                  52928       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              COA Policy FP220022.pdf                                  53010       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              COA Policy FP220028.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              COA Policy FP220219.pdf                                  52981       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              COA Policy FP220714.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              COA Policy FP244114.pdf                                  52993       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              Security TItle Corporate Resolution 11.2021 si.pdf      937256       4/1/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              Req Ack.pdf                                             250286       3/7/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              Searches.pdf                                            256925       3/7/2022 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              Stipulation.pdf                                         897761       3/8/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78925              Transaction Summary.pdf                                  61779       3/7/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78926              78926 Shumaker, Michael.tv5                              10279      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78926              Annuity Contract.pdf                                    125222       3/7/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78926              Application.pdf                                         397501       3/7/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78926              Assignment .pdf                                          17402       3/7/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78926              Authorization to Release.pdf                            126283       3/7/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78926              Bankruptcy Search.pdf                                    61084       3/7/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78926              Benefits Letter.pdf                                     121540       3/7/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78926              Closing Book M Shumaker.pdf                           5705386        3/4/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78926              Court Order.pdf                                         891153        3/8/2022 8:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78926              Credit Report.pdf                                        66224       3/7/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78926              Disclosure - IN.pdf                                     266700       3/7/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78926              Disclosure - NY.pdf                                     308087       3/7/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78926              Drivers License.pdf                                     137504       3/7/2022 19:24




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                                       3467



               All Paths/Locations                                 Unified Title          File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78926              Pleadings.pdf                               27759592         3/8/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78926              Proof of Death of Catherine Schumaker.pdf       82809        3/8/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78926              Purchase Agreement.pdf                       2363121         3/7/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78926              Request For Acknowledgement.pdf                 58103         3/8/2022 8:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78926              Searches.pdf                                   501852        3/7/2022 19:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78926              Social Security Card.pdf                       146222        3/7/2022 19:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78926              Stipulation.pdf                              1779083         3/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78926              Transaction Summary.pdf                           7202       3/7/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78927              78927 Sbitnev, Aleksandr.tv5                    10347       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78927              Affidavit in Lieu Of Settlement.pdf            507382        3/8/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78927              Application.pdf                                229073        3/4/2022 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78927              Bankruptcy Search.pdf                          854260        3/8/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78927              Benefit letter.pdf                             167853         3/9/2022 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78927              Closing Binder.pdf                          21483002         3/8/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78927              Credit Report.pdf                               56206        3/4/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78927              Disclosure for Aleksandr Sbitnev               130560       2/10/2022 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78927              Disclosure WA - ALEKSANDER SBITNEV.pdf          74357       2/10/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78927              Disclosure WA.pdf                              355626        3/8/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78927              Driver License.pdf                           2683857         3/8/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78927              Executed Assignment.pdf                        148659       3/11/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78927              PI Docket.pdf                                8079996         3/4/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78927              Pleadings.pdf                                3806100         3/8/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78927              Purchase Agreement.pdf                       4049686         3/8/2022 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78927              Searches.pdf                                   284745        3/4/2022 11:03




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                                       3467



               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78927              Social Security Card.pdf               1447444         3/8/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78927              Stipulation Executed.pdf                 243849        3/9/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78927              USPS Pierce County.pdf                   315881        3/8/2022 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78928              78928 Sutherland, Dustin.tv5              10123       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78928              9092.pdf                                 332012       10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78928              Annuity Contract.pdf                     345936       1/18/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78928              Application.pdf                          311178       1/20/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78928              certificate.pdf                          200390       10/9/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78928              Court Order.pdf                        1274620         3/9/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78928              Credit Report.pdf                         47942       10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78928              Disclosure TX.pdf                        188774       1/20/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78928              Driver Licnese.pdf                       663155        2/25/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78928              OAS.pdf                                  295316       1/18/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78928              Plead.pdf                              1375379         2/9/2022 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78928              POS - Carriers.pdf                       231847       3/10/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78928              POS - seller.pdf                         126255       3/11/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78928              Privacy Notice.pdf                       243645       1/20/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78928              Purchase Agreement.pdf                   873601        3/7/2022 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78928              Qualifed Assignment.pdf                  806795       1/18/2022 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78928              Searches.pdf                                8307      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78928              Settlement Agreement.pdf               1171399        1/18/2022 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78928              SScard.pdf                                52105         3/9/2022 7:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78928              Stipulation.pdf                        4962457        3/14/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78928              TLO STATE OF TEXAS JUDGMENT 473.pdf         2225      10/9/2024 17:19




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                                       3467



               All Paths/Locations                                Unified Title           File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78928              TLO STATE OF TEXAS JUDGMENT Other Hit.pdf         2224      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78928              UCC.pdf                                         48330       10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78929              78929 Sutherland, Dustin.tv5                    10123       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78929              Acknowledgment.pdf                              88256       4/12/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78929              Application.pdf                                276873        3/8/2022 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78929              Assignment.pdf                                 167477       3/24/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78929              Court Order.pdf                                691119       3/15/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78929              Credit Report.pdf                              127233        3/8/2022 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78929              Docusign Certificatre 092.pdf                  333929       10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78929              Docusign Certificatre 87F.pdf                  202726       10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78929              Drivers License.pdf                            661663        3/8/2022 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78929              Notice of Annuity Contract Status.pdf          612964        3/8/2022 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78929              Pleadings updated.pdf                        2801205        3/15/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78929              Purchase Agreement.pdf                         562507        3/8/2022 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78929              Searches.pdf                                    86930        3/8/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78929              Settlement Agreement.pdf                     1169665         3/8/2022 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78929              Social Security Ccard.pdf                       56088       10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78929              Sutherland Assignment.docx                      26152       3/15/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78929              Sutherland Closing Binder.pdf                6298912         3/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78929              TX Disclosure.pdf                              182675       3/15/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78929              UCC Search.pdf                                 529252        3/8/2022 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78930              78930 Merrick, Jason.tv5                        10592       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78930              Annuity Contract.pdf                           673736        3/9/2022 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78930              Application.pdf                                 44648       1/26/2022 17:00




                                                             1981
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1983 of
                                       3467



               All Paths/Locations                                 Unified Title              File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78930              Benefit payments.pdf                                44563        3/7/2022 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78930              Closing Binder.pdf                               8303622         3/7/2022 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78930              Closing Statement.pdf                              408128       10/9/2024 20:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78930              Court Order.pdf                                    327533        3/7/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78930              Credit Report.pdf                                   17657       2/14/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78930              Deal Jason Merrick Commjutation Analysis.xlsm    6087050        3/11/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78930              Disclosure NY.pdf                                  147164       1/26/2022 16:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78930              DocuSign Cert ED78.pdf                             192897       10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78930              DocuSign Cert F1B9.pdf                             237753       10/9/2024 20:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78930              Driver License.pdf                                 236462        1/24/2022 6:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78930              NY Affidavit.pdf                                   145997       1/26/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78930              Pleadings.pdf                                    6321514         3/7/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78930              Purchase Agreement.pdf                             339155        3/7/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78930              Qualified Assignment.pdf                           465042        3/7/2022 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78930              Searches.pdf                                          4160      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78930              Settlement Agreement.pdf                           608007       1/20/2022 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78930              Social Security Card.pdf                           366981        3/9/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78930              Stipulation.pdf                                  1272162         3/9/2022 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78930              UCC Search.pdf                                      49725       10/9/2024 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78934              78934 Hanson-Gentry, Jaisa.tv5                      10240       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78934              Annuity Contract.pdf                             1324880         3/8/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78934              Application.pdf                                    153044        3/8/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78934              Assignment.pdf                                     105011       3/11/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78934              Benefits Letter.pdf                                 89036        3/8/2022 18:55




                                                                1982
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1984 of
                                       3467



               All Paths/Locations                                  Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78934              Court Order.pdf                           1720604       3/10/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78934              Credit Report.pdf                            16139       3/8/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78934              Disclosure - TX.pdf                         258524       3/8/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78934              Docusign Certificate 7FA.pdf                282966      3/10/2022 18:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78934              Drivers License expired.pdf               2756503       3/11/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78934              Gentry Assignment.docx                       26163      3/10/2022 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78934              Gentry Closing Binder.pdf                 9286165        3/8/2022 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78934              Lien and Bankruptcy Search updated.pdf       27931      3/10/2022 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78934              PI Case Docket Sheet.pdf                  1231029        3/8/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78934              Pleadings missing POS.pdf                 2979674        3/8/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78934              Purchase Agreement updated.pdf            1616725       3/10/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78934              Seller Identification.pdf                   402007      3/11/2022 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78934              SSN Verification.pdf                         97694      11/19/2021 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78934              Stipulation.pdf                           1648228        3/9/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78934              UCC Search updated.pdf                       26905      3/10/2022 16:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              78935 Clark, Denise.tv5                      10000      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              Application.pdf                           1246469       3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              Assignment BTG to St James.pdf              128583      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              Assignment Rightway to BTG.pdf              128773      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\78935              Information.pdf                             326097      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              Authorization to Release.pdf                 94044      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              Benefits Letter.pdf                         325915      4/27/2022 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              Closing Binder.pdf                       12416531       3/24/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              Court Order.pdf                           1541144       3/28/2022 16:07




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                                       3467



               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              Credit Report.pdf                        1995959       3/24/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              Disclosure - IA.pdf                        142347      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              Disclosure - SC.pdf                        139250      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              Disclosure Affidavit.pdf                    42577      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              DocuSign Certificate.pdf                    15002      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              Fasano.pdf                                  74822      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              Lien Search.pdf                            403130      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              Life Affidavit.pdf                         109772      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              Medical Questionnaire.pdf                  640038      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              Pleadings.pdf                            2903209       3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              Purchase Agreement.pdf                     611151      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              Request for Change of Beneficiary.pdf       55544      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              Seller Identification.pdf                  203342      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              Settlement Agreement.pdf                 1083866       3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              Social Security Card.pdf                   187025      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              Stipulation.pdf                            322056      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78935              UCC Search.pdf                             379652      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              78936 Mann, Tameka.tv5                      15636      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              AC.PDF                                     482077      10/9/2024 20:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              Affidavit in Lieu of SA.pdf                216166      3/31/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              Application.pdf                            638013      3/31/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              Assignment BTG to STJ.pdf                  116149      3/31/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              Assignment Greenwood to BTG.pdf            122303      3/31/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              Authorization.pdf                          690750      3/31/2022 12:43




                                                                1984
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                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              BK Search.pdf                            81961       3/31/2022 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              Closing Book - Tameka Mann.pdf        6495061        3/30/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              COB Req.pdf                             478517       3/31/2022 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              Contacts Life.pdf                       350090       3/31/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              Court Order.pdf                       2377309        10/9/2024 22:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              Credit Report.pdf                       179690       3/31/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              Disclosure Affidavit.pdf                377319       3/31/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              Disclosure MS.pdf                       385648       3/31/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              Disclosure TX.pdf                       524795       3/31/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              Divorce Decree - Hall.pdf               413341       5/13/2021 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              Divorce Decree- Buckner.pdf             297608        7/2/2019 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              Fasano Report.pdf                       158477       3/31/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              HIPAA.pdf                             2597086        3/31/2022 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              Lien and Judgment search.pdf             77370       3/31/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              Life Affidavit.pdf                      535504       3/31/2022 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              Medical Questionnaire.pdf             4640916        3/31/2022 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              PI Docket.pdf                           103516       3/31/2022 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              Pleadings.pdf                         3075718        3/31/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              Purchase Agreement.pdf                3836654        3/31/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              Settlement Agreement.pdf                426042       3/31/2022 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              Stipulation.pdf                         426580       3/31/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78936              UCC Search.pdf                          300169       3/31/2022 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78937              78937 Mitchell, Samida.tv5                 9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78937              Affidavit.pdf                         1501326         3/8/2022 17:15




                                                                1985
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1987 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78937              Annuity Contract.pdf                  8098047         3/7/2022 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78937              Application.pdf                       1180957        1/10/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78937              Assignment Executed.pdf                  72207       3/10/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78937              Closing Binder.pdf                   20864048         3/8/2022 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78937              ClosingStatement Executed.pdf           178774       10/9/2024 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78937              Court Order.pdf                         151950        3/7/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78937              Credit Report.pdf                        15851        3/7/2022 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78937              Disclosure MS.pdf                     1320336         3/8/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78937              Disclosure Texas.pdf                  2180511         3/8/2022 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78937              DocuSign Cert BB73.pdf                  284145       3/11/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78937              Driver License.pdf                      177739        3/8/2022 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78937              PI Case Docket.pdf                    4614302        3/10/2022 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78937              Pleadings.pdf                         3010421         3/8/2022 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78937              Purchase Agreement.pdf               10916381         3/8/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78937              Searches.pdf                             23752       10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78937              Settlement Agreement Affidavit.pdf      173034        3/9/2022 22:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78937              Social Security Card.pdf                189944        3/8/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78937              Stipulation.pdf                       1559787         3/9/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78937              UCC Search.pdf                           28230       10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78937              USPS Zip Code.pdf                       159853        3/9/2022 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              14B1.pdf                                206260       10/9/2024 19:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              78939 Higgins, Quinton.tv5                 9996      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              Application.pdf                          48158        2/1/2022 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              Assignment.pdf                          181582       3/15/2022 14:20




                                                                1986
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                                       3467



               All Paths/Locations                                 Unified Title               File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              B2EA.pdf                                            192877       10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              Closing Statement 2021 - draft.pdf                  102056        3/9/2022 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              Court Order.pdf                                   4486348        3/22/2022 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              Credit Report.pdf                                    87946       10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              Disclosure Statement.pdf                            233731        2/1/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              Driver License.pdf                                  239388        3/9/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              Partial AC.pdf                                      765878       10/9/2024 21:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              Pleadings.pdf                                     2694245         3/9/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              POS issuer.pdf                                      367453       3/10/2022 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              POS owner.pdf                                       294264       3/10/2022 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              POS to seller.pdf                                   391972       3/10/2022 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              Purchase Agreement.pdf                              428280        3/9/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              Redirection Confirmation New 78939.pdf               56223       5/25/2023 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              Searches.pdf                                           8796      10/9/2024 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              SSC.pdf                                           2820014        3/15/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              Stip.pdf                                            568712        3/9/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              TLO Bluegrass Cellular Small Judgment.pdf              2215      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              TLO Personal Small Judgment less than 1000.pdf         2219      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              TLO Small Claims Judgment.pdf                          2221      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              TLO Small tax lien 247.pdf                             2501      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78939              UCC.pdf                                             126018       10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              78941 Nedd, Aaron.tv5                                10447       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              Amended MD Disclosure.pdf                           156621       3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              Amended NJ Disclosure.pdf                           276361       3/16/2022 10:46




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                                       3467



               All Paths/Locations                                  Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              Annuity Contract.pdf                                  192755      3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              Application.pdf                                       665989      3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              Authorization to Release.pdf                          135644      3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              Canary Living Trust documents.pdf                   1938617       3/17/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              Change Confirmation.pdf                               251984      3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              image001.png                                           41586
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              Court Order.pdf                                       539879      3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              Credit Report.pdf                                     508916      3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              Disclosure - MD.pdf                                   288058      3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              Disclosure - NJ.pdf                                   568854      3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              Docusign Certificate 80F.pdf                          249966      10/9/2024 20:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              Lien Search and Bankruptcy Search.pdf                 255669      3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              Nedd Closing Binder.pdf                            16702283        3/16/2022 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              image001.png                                           41586
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              Pleadings.pdf                                       3668508       3/16/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              POA.pdf                                               226605      3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              Prior Court Order and Petition.pdf                    398672      3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              Purchase Agreement.pdf                              1952922       3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              Qualified Assignment.pdf                            1181680       3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              Request for Redirection.pdf                           125488      3/16/2022 13:35
Saiph consulting|\Audit Materials Received-   RSPA Canary Living Trust to Settlement Servicing
SuttonPark\Closing Binders\78941              updated.pdf                                           432309      10/9/2024 20:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              RSPA Seneca to Canary Living Trust.pdf              1136076       3/17/2022 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              Seller Identification.pdf                             359535      3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              Social Security Card.pdf                              370003      3/16/2022 10:46




                                                              1988
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1990 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              Stipulation fully executed.pdf          352383       3/17/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              Transaction Summary.pdf                  52506       3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78941              UCC Search.pdf                          173044       3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78942              78942 Hunt, Kyla.tv5                       9981      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78942              Annuity Contract.pdf                    368386        1/11/2022 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78942              Application.pdf                         374518        2/3/2022 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78942              Assignment Executed.pdf                 101047       3/11/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78942              Closing Binder.pdf                    6525530        3/10/2022 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78942              Closing Statement.pdf                   404346       10/9/2024 20:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78942              Court Order.pdf                         304228        3/8/2022 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78942              Credit Report.pdf                        23594       2/14/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78942              DocuSign Cert C5B4.pdf                  197623       10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78942              DocuSign Cert D5C3.pdf                  194090       10/9/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78942              ID Updated.pdf                        1902889        3/10/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78942              ID.pdf                                1588029        3/10/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78942              Order of Approval Settlement.pdf        134747        1/11/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78942              Pleadings.pdf                         2461967        3/11/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78942              Purchase Agreement.pdf                  710251       3/10/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78942              Qualified Assignment.pdf                191403        1/11/2022 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78942              Searches.pdf                               4190      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78942              Settlement Agreement.pdf                794537        1/11/2022 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78942              SS card.pdf                           3249477        3/11/2022 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78942              Stipulation.pdf                         363675       3/11/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78942              UCC Search.pdf                           47610       10/9/2024 18:11




                                                                1989
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1991 of
                                       3467



               All Paths/Locations                                 Unified Title              File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78942              USPS Zip Code.pdf                                  182922       3/10/2022 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78943              78943 Sunday, John.tv5                                9996      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78943              Acknowledgment.pdf                                  77141       3/28/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78943              Application.pdf                                  9023629       12/30/2021 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78943              Assignment.pdf                                     147729        3/14/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78943              Benefits Letter.pdf                                 26532      12/30/2021 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78943              Closing Binder.pdf                              73859973         3/9/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78943              Closing Statement - Notarized.pdf                  258106       3/14/2022 20:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78943              Closing Statement - Unexecuted.pdf                 156320       3/11/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78943              Court Order.pdf                                  1413952        3/10/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78943              Credit Report.pdf                                   53338        3/9/2022 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78943              Disclosure Statement.pdf                        20614600       12/30/2021 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78943              DocuSign Cert 472C.pdf                             210360       10/9/2024 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78943              Driver License.pdf                                 329350        3/9/2022 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78943              PI Docket.pdf                                      367686        1/3/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78943              Pleadings.pdf                                    1257758          1/6/2022 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78943              Proofs of service.pdf                            1941775        3/11/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78943              Purchase Agreement.pdf                          38108593         3/9/2022 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78943              Searches.pdf                                        13511        3/9/2022 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78943              Social Security Card.pdf                           423671       3/11/2022 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78943              UCC Search.pdf                                     208710        3/9/2022 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              78946 Rodriguez, Mia.tv5                            10315       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              Acknowledgment.pdf                                  36602       4/21/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              Affidavit in Lieu of Settlement Agreement.pdf      229410        3/9/2022 13:30




                                                              1990
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               All Paths/Locations                                   Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              Application.pdf                              101218       3/9/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              Assignment.pdf                               223609      3/23/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              Bankruptcy Search.pdf                        514432       3/9/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              Benefits Letter.pdf                          309551      3/23/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              Court Order.pdf                              285649      3/23/2022 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              Credit Report.pdf                             30530       3/9/2022 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              Disclosure - KY.pdf                          233292       3/9/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              Disclosure - NY.pdf                          281705       3/9/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              Disclosure - SC.pdf                          238052       3/9/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              Docusign Certificate EE6.pdf                  67775       3/9/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              Drivers License.pdf                          954673      3/23/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              Lien and Judgment Search.pdf                 198294       3/9/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              M Rodriguez Closing Binder.pdf             9317647        3/9/2022 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              Disclosure SC - MIA RODRIGUEZ.pdf             73870      1/28/2022 21:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              PI Case Docket Sheet.pdf                      41415      3/23/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              Pleadings.pdf                              1941227        3/9/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              Proof Disclosure Sent and Received.pdf       279998       3/9/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              Disclosure SC - MIA RODRIGUEZ.pdf             73870      1/28/2022 21:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              Purchase Agreement.pdf                     4668038        3/9/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              Rodriguez Assignment.docx                     25567      3/23/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              Seller Affidavit Notarized document.pdf    1059753       3/23/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              Seller Affidavit.pdf                         359907       3/9/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              Social Security Card.pdf                     986918      3/23/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78946              UCC Search.pdf                                91102       3/9/2022 13:30




                                                              1991
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                                       3467



               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78948              78948 Black, Jaderious.tv5                  10168      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78948              Allstate PPW.pdf                           696939      2/10/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78948              Application.pdf                            310111      2/10/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78948              Assignment.pdf                             172640      3/24/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78948              Closing Binder.pdf                       3863022        3/9/2022 19:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78948              Court Order.pdf                            528089      3/17/2022 16:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78948              Credit Report.pdf                           22885      3/10/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78948              Disclosure Statement.pdf                   104978      2/10/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78948              DocuSign Cert - C058.pdf                   245765      10/9/2024 20:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78948              DocuSign Cert - Closing Statement.pdf      206535      10/9/2024 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78948              DocuSign Cert - E9BC.pdf                   210885      10/9/2024 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78948              Payees Request to Conceal.pdf               18639      2/10/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78948              pleadings.pdf                            1706855       3/24/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78948              Proof of SSN - W2.pdf                      487137      10/9/2024 20:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78948              Purchase Agreement.pdf                     442116       3/9/2022 19:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78948              School ID.pdf                              381551       3/9/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78948              Searches.pdf                                10431      3/10/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78948              Settlement Agreement.pdf                   291467      3/17/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78948              Stipulation.pdf                            319039      3/24/2022 12:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78948              UCC Search.pdf                              61849      3/10/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              78949 Hunt, Tony.tv5                        10240      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              Annuity Contract.pdf                       209433      3/10/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              Application.pdf                            202658       2/1/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              BACA.pdf                                   320338      10/9/2024 20:21




                                                                1992
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1994 of
                                       3467



               All Paths/Locations                                Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              Benefits Letter.pdf                      114765       3/9/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              Cancellation rights.pdf                  321435      3/14/2022 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              Cert of Registar.pdf                     161515      7/16/2021 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              Court Order.pdf                          395670       3/7/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              Credit Report.pdf                         19747       3/7/2022 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              Disclosure DE.pdf                        210160       3/9/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              Disclosure GA.pdf                        199809       3/9/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              Fasano Report.pdf                        125604      1/31/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              HIPAA and Medical Questionnaire.pdf      666422      1/25/2022 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              Identification Card.pdf                  221607       3/9/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              IPA Letter FINAL - Tony Hunt.pdf         187486      3/24/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              IPA.pdf                                   45461      3/14/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              Original Petition.pdf                  5293785       1/28/2022 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              Pleadings.pdf                          6050885        2/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              Purchase Agreement.pdf                 1789994        3/9/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              QA.pdf                                   393579       7/5/2018 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              Searches - Microbilt.pdf                  73910      3/16/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              Searches.pdf                              28411      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              Settlement Agreement.pdf                 832825       7/5/2018 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              Spousal.pdf                              141588      3/14/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              Summary of prior orders filed.pdf        691659       3/23/2022 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              Summary.pdf                              283619      3/24/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              Tony Hunt SSC.pdf                        125710      7/22/2020 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78949              UCC.pdf                                   23430      10/9/2024 17:41




                                                              1993
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                                       3467



               All Paths/Locations                                Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78953              78953 Marlowe, Lorenzo.tv5                      10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78953              Acknowledgement.pdf                             59143     10/18/2022 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78953              Annuity Contract.pdf                         1604571       10/9/2024 21:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78953              Application.pdf                                424893      3/10/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78953              Assignment.pdf                                 144814       3/22/2022 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78953              Berwyn Marlowe.pdf                             111793      3/18/2022 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78953              Court Order.pdf                                494444      3/15/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78953              Credit Report.pdf                               20184       3/4/2022 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78953              Disclosure - GA.pdf                             49850      3/10/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78953              Docusign Certificate 0AA.pdf                   196917      10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78953              Docusign Certificate AFE.pdf                   200043      10/9/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78953              Drivers License.pdf                            711466      3/10/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78953              Marlowe Assignment.docx                         26117       3/21/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78953              Marlowe Closing Binder.pdf                   3720075       3/10/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78953              New -Acknowledgement.pdf                        59143     10/18/2022 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78953              PI Case Docket Search.pdf                      172586      3/15/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78953              Pleadings.pdf                                1288032       3/10/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78953              Purchase Agreement Hold Time.pdf               157381      3/15/2022 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78953              Purchase Agreement.pdf                         296092      3/10/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78953              Searches.pdf                                    67676      3/10/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78953              Social Security Card.pdf                       560095      3/15/2022 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78953              SS Verification shows person deceased.pdf      107923      3/10/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78953              UCC Search.pdf                                  33648      3/10/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78954              78954 - Court Order.pdf                      2622704       3/17/2022 15:35




                                                              1994
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1996 of
                                       3467



               All Paths/Locations                                Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78954              78954 Imperatore, Nichole.tv5            11636      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78954              Affidavit.pdf                            57819      3/10/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78954              Annuity Contract.pdf                     24558      3/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78954              Application.pdf                       1398511       3/15/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78954              Assignment - GP.pdf                     400402      3/22/2022 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78954              Bankruptcy Search.pdf                    84844      3/10/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78954              Credit Report.pdf                       876507      3/15/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78954              Disclosure FL.pdf                        78601      3/10/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78954              Disclosure NJ.pdf                        85300      3/10/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78954              Disclosure TX.pdf                        95700      3/10/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78954              DocuSign Cert - 3013.pdf                 49882      3/10/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78954              DocuSign Cert - 5835.pdf                 50088      3/10/2022 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78954              Funding File - GP.pdf                 9045650        3/9/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78954              Identification Card.pdf                  45136      3/10/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78954              New - Court Order.pdf                 2622704       3/17/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78954              PI Docket.pdf                           135964       2/6/2014 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78954              Pleadings.pdf                         8079958       3/10/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78954              Purchase Agreement.pdf                  273915      3/10/2022 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78954              Searches.pdf                            132483      3/10/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78954              Settlement Agreement Affidavit.pdf       50842      3/10/2022 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78954              Social Security Card.pdf                259711      3/10/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78954              Stipulation.pdf                         919214      3/17/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78954              UCC Search.pdf                           94994      3/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78958              78958 Peterson, Christina.tv5            10002      10/9/2024 17:30




                                                                1995
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 1997 of
                                       3467



               All Paths/Locations                                  Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78958              Application.pdf                                        89850       3/11/2022 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78958              Assignment.pdf                                        145065       3/16/2022 8:24
Saiph consulting|\Audit Materials Received-   Authorization for Disclosure of Protected Health
SuttonPark\Closing Binders\78958              Information.pdf                                     1418894       3/23/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78958              Benefits Letter.pdf                                    52690       3/16/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78958              Change Confirmation.pdf                                48999      3/16/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78958              Credit Report.pdf                                      46232       3/11/2022 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78958              Disclosure - TX.pdf                                   135387       3/11/2022 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78958              Docusign Certificate C2C.pdf                           67327       3/11/2022 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78958              Drivers License.pdf                                 1002669        3/11/2022 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78958              Fasano Report updated.pdf                             115308      3/23/2022 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78958              Medical Questionnaire.pdf                             165088       3/11/2022 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78958              Peterson Assignment.docx                               26053      3/11/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78958              Peterson Closing Binder.pdf                         2064413        3/11/2022 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78958              Peterson redirect new confirmation 789582.pdf          98751      8/12/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78958              Purchase Agreement updated.pdf                        763190      3/23/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78958              Searches.pdf                                          108025       3/11/2022 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78958              Social Security Card.pdf                              448944      10/9/2024 20:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78958              UCC Search.pdf                                        532034       3/11/2022 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78958              W9.pdf                                              4914759        3/16/2022 8:27
Saiph consulting|\Audit Materials Received-   78964 Wilson email request for acknowledgment
SuttonPark\Closing Binders\78964              response.pdf                                          183380      3/29/2022 14:50
Saiph consulting|\Audit Materials Received-   78964 Wilson email request for
SuttonPark\Closing Binders\78964              acknowledgment.pdf                                  1266695       3/29/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78964              78964 Wilson CO.pdf                                   251387
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78964              78964 Wilson Stip.pdf                                 468539
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78964              78964 Wilson Admin check.pdf                          428512      3/29/2022 14:27




                                                             1996
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                                       3467



               All Paths/Locations                                   Unified Title          File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78964              78964 Wilson, Joyce.tv5                             9986      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78964              Annuity Contract.pdf                             644477       3/10/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78964              Application.pdf                                  208429       3/10/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78964              Assignment.pdf                                 1083967        10/9/2024 21:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78964              Closing Binder.pdf                             3170549        3/10/2022 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78964              Court Order.pdf                                  255252       3/25/2022 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78964              Disclosure - GA.pdf                               94197       3/10/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78964              Disclosure - TX.pdf                               90806       3/10/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78964              Drivers License.pdf                              695155       3/10/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78964              File Stamped Order.pdf                           321968       3/31/2022 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78964              Purchase Agreement.pdf                           830793       3/10/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78964              Qualified Assignment.pdf                         334694       3/10/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78964              Request for Change of Beneficiary.pdf             47785       3/10/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78964              Request to Release Settlement Documents.pdf       45259       3/10/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78964              Seller Affidavit.pdf                             149909       3/10/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78964              Settlement Agreement Affidavit.pdf               114442       3/10/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78964              Social Security Card.pdf                       1074572        3/10/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78964              Stip.pdf                                       1524221        3/15/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78964              Stipulation.pdf                                  465427       3/15/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              78965 Brooker, Alton.tv5                          16567       10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              Acknowledgment Letter.pdf                        169158       3/14/2022 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              Address Search.pdf                                67051       3/17/2022 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              Affidavit.pdf                                    126056       3/14/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              Application.pdf                                  128331       10/9/2024 18:36




                                                                1997
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                                       3467



               All Paths/Locations                                Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              Assignment.pdf                               87938      3/16/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              Benefits Letter.pdf                         153662       3/14/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              Credit Report.pdf                            14298       3/7/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              Disclosure NE.pdf                           126929       3/14/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              Disclosure TX.pdf                           118235       3/14/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              Identification Card.pdf                   8806436       12/6/2021 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              IPA WAIVER.pdf                               37130      3/14/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              LOD.pdf                                      31509      3/14/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              Payee Req to Conceal.pdf                     59856       3/14/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              PI Case Docket.pdf                        9161891       12/6/2021 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              Pleadings.pdf                             2609989        3/14/2022 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              Purchase Agreement.pdf                    1404901        3/14/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              Redirection Confirmation New 78965.pdf       87180      7/28/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              Redirection Reconfiguration 78965.pdf     2653688       6/28/2022 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              WFB Letter RE-NEW POB.pdf                   558429       3/30/2022 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              Redirection Reconfig SPSS.pdf             1505441       6/27/2022 17:25
Saiph consulting|\Audit Materials Received-   SuttonPark - Corp Resolution 2022 POB
SuttonPark\Closing Binders\78965              789582.pdf                                  980063       3/9/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              Searches.pdf                                 23745      10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              SSN Verification.pdf                        102175      12/6/2021 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              UCC.pdf                                      24001      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78965              Updated Searches.pdf                         15695      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              78966 Hill, Paula.tv5                        10015      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              Acknowledgement Letter.pdf                   78228      3/28/2022 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              Acknowledgment 78966.pdf                     88635       4/18/2022 9:41




                                                              1998
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                                       3467



               All Paths/Locations                                  Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              Annuity Contract.pdf                          164033      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              Application.pdf                                87317      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-   Assignment Genex to Michael and Kelly St
SuttonPark\Closing Binders\78966              Clair.pdf                                      26600      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-   Assignment Michael and Kelly St Clair to
SuttonPark\Closing Binders\78966              SuttonPark.pdf                                 39100      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              Assignment Stratcap to Genex.pdf               29527      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              Authorization Letter.pdf                       17133      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              Bankruptcy Search.pdf                         386783      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              Benefits Letter.pdf                            37177      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              Change Confirmation.pdf                        85498      3/28/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              Court Order.pdf                                92835      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              Credit Report.pdf                             159316      3/16/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              Disclosure - IA.pdf                            60303      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              Divorce Docs.pdf                              511708      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              Drivers License.pdf                            40943      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              Paula Hill Closing Binder.pdf               3387702       3/10/2022 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              POA with exhibit.pdf                          123944       3/18/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              Purchase Agreement updated.pdf                971062      3/17/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              Request For Acknowledgement.pdf               112047      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              Request for Change of Address.pdf              32337      3/16/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              Request for Change of Beneficiary.pdf          29415      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              Searches.pdf                                  340891      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              SSN Verification.pdf                          107833      3/28/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              Transaction Summary.pdf                        47945      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78966              UCC Search.pdf                                340891      3/16/2022 17:12




                                                             1999
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2001 of
                                       3467



               All Paths/Locations                                  Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              78968 Williamson, Thomas.tv5                 9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Acknowledgment.pdf                         88386       4/18/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Affidavit in Lieu of SA.pdf             2145072        3/14/2022 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Amended Court Order.pdf                   324140        4/8/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Annuity Contract.pdf                      755342       3/14/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Application.pdf                         4098104        3/14/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Assignment.pdf                            105191       3/14/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Bankruptcy Search.pdf                      81138       3/14/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Benefits Letter.pdf                       297075       3/14/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Collateral File.pdf                    22666808        10/9/2024 23:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Court Order.pdf                           209588       3/17/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Credit Report.pdf                          98498       3/14/2022 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Declaration.pdf                           131309       3/14/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Designation of Continued Contact.pdf      862391       3/14/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Disclosure CT.pdf                          83474       3/14/2022 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Disclosure DE.pdf                          84163       3/14/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Disclosure LA.pdf                         101501       3/14/2022 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Disclosure MA.pdf                          93236       3/14/2022 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              DocuSign Cert - 1A63.pdf                  286108       1/21/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              DocuSign Cert - 6FB0.pdf                  286072       1/24/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Driver License.pdf                      2103301        3/14/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Fasano Report.pdf                         124932       3/14/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              HIPAA.pdf                                 247001       3/14/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              LE Analysis.pdf                           100114       3/15/2022 11:18




                                                                2000
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2002 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Medical Questionnaire.pdf                99585      3/14/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              pleadings.pdf                         1693563       3/14/2022 19:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              POR.pdf                               1634155       3/14/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Purchase Agreement.pdf                2431909       3/14/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Qualified Assignment.pdf                298910      3/14/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Revised LE Analysis.pdf                 100785      3/15/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Searches.pdf                            273414      3/14/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Settlement Agreement.pdf                714703      3/14/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78968              Social Security Card.pdf              1925468       3/14/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78969              78969 Simms, Jalin.tv5                   10361      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78969              Affidavit.pdf                         1700362       3/14/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78969              Annuity Contract.pdf                  5244880       3/14/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78969              Application.pdf                       1091342       10/9/2024 21:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78969              Authorization.pdf                       505877      3/14/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78969              BK Search.pdf                            63699      3/14/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78969              Court Order1.PDF                        183606       3/11/2022 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78969              Credit Report.pdf                       183196      3/14/2022 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78969              Disclosure IL.pdf                       254666      3/14/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78969              Disclosure MD.pdf                       249201      3/14/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740              Bene.pdf                                 62973     12/20/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740              Credit Report.pdf                       689966     12/20/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740              Disclosure Proof of Delivery .pdf       203968     12/16/2021 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740              Disclosure- AL.pdf                      128910     12/20/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740              Esign Certificate.pdf                    46830     12/20/2021 15:11




                                                              2001
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2003 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740              Estate docs.pdf                      15600313      11/11/2019 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740              Letter Agreement.pdf                    442389       3/23/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740              MH Approval of OAMC AND Trust.pdf       205542     12/21/2021 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740              Notice of Hearing.pdf                 2032381        3/11/2022 8:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740              OAMC.pdf                                786881     12/15/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740              Pleadings.pdf                         2011678       1/28/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740              Proof of Identification.pdf           1613180       1/14/2022 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740              Proof of Social Security.pdf            343943     12/21/2021 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740              Purchase Agreement.pdf                  445450      2/15/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740              Qualified Assignment.pdf              4309304      12/15/2021 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740              RS OAMC docket.pdf                      642363     12/15/2021 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740              Searches.pdf                            764507     12/20/2021 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740              Stipulation.pdf                       1781838        3/23/2022 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78740              Trust.pdf                               902170     12/20/2021 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              78741 Busby, Shaun.tv5                   10427      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              Annuity Contract.pdf                  9520423       1/30/2023 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              Application notes.pdf                   380404     12/21/2021 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              Assignment.pdf                          208044      3/24/2022 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              Auth to Release Info.pdf                 80347     12/20/2021 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              Bene.pdf                                 51765      2/15/2022 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              Closing Binder.pdf                   14913334       2/15/2022 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              Closing Statement.pdf                    57603       3/23/2022 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              Court Order Amended.pdf                 168859      3/14/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              Credit Report.pdf                       517066     12/20/2021 12:23




                                                                2002
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2004 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              Disclosure Proof of Deliver.pdf         205247       12/16/2021 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              Disclosure.pdf                          131786      12/20/2021 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              Esign Certificate.pdf                    46530      12/20/2021 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              Identification.pdf                    2222643        1/24/2022 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              Infant Compromise Order.pdf             786881      12/15/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              IPA Waiver.pdf                           52509      12/20/2021 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              Letter Agreement.pdf                    442389        3/23/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              MH Approval of OAMC Trust.pdf           205542      12/21/2021 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              Notice of Hearing.pdf                 2043676         3/11/2022 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              PI Docket.pdf                           642363      12/15/2021 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              Pleadings.pdf                         2011678        1/28/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              Purchase Agreement.pdf                1487190        2/15/2022 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              Qualified Assignment.pdf              4309304       12/15/2021 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              Searches.pdf                            667092      12/20/2021 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              Social Security Card.pdf                156881      12/21/2021 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              Stipulation.pdf                       1676189         3/23/2022 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              Trust.pdf                               902170      12/20/2021 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78741              ZIP Code USPS.pdf                        64351       2/15/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78743              78743 Cutting, George.tv5                  9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78743              Acknowledgment.pdf                       52232        2/11/2022 7:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78743              Affidavit.pdf                         2573734        1/19/2022 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78743              Assignment.pdf                          504218       10/9/2024 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78743              Award Letter.pdf                         42627        1/19/2022 7:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78743              Closing Binder.pdf                   48378846        2/14/2022 18:01




                                                                2003
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                                       3467



               All Paths/Locations                                 Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78743              Court Order.pdf                                 1055222        2/8/2022 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78743              Credit Report.pdf                                 425482      2/15/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78743              Declaration of Residence.pdf                      576069      10/9/2024 21:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78743              Disclosure FL.pdf                               1096223       1/19/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78743              Divorce Docket.pdf                                467764      3/18/2021 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78743              DocuSign Cert - Auth for Deductions.pdf         1482414       2/11/2022 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78743              DocuSign Cert - Marital Status.pdf                319029      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78743              DocuSign Cert - Updated Auth for Ded.pdf        1475704       2/23/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78743              Driver License.pdf                                170669      2/14/2022 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78743              FCRA Disclosure and Authorization.pdf           1033897       1/19/2022 13:25
Saiph consulting|\Audit Materials Received-   Lottery Transmittal Letter re Error in Final
SuttonPark\Closing Binders\78743              Order.PDF                                          99677      2/17/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78743              Marital Settlement Agreement.pdf                  356175       3/19/2021 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78743              Pleadings.pdf                                  15412616       2/14/2022 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78743              Purchase Agreement.pdf                          8543827       2/14/2022 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78743              Searches.pdf                                    1374608       2/14/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78743              Social Security Card.pdf                          177367      2/14/2022 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78743              UCC Search.pdf                                  2302530        2/9/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78743              W9.pdf                                          1743183       10/9/2024 22:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78744              38D7.pdf                                           25360       2/16/2022 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78744              78744 Dennis, Kai.tv5                              10433      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78744              Acknowledment.pdf                                 672975       3/16/2022 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78744              Application.pdf                                    94074      2/13/2022 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78744              Assignment to Redstone.pdf                         66401      2/13/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78744              Authorization.pdf                                  53189      2/13/2022 13:37




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                                       3467



               All Paths/Locations                                Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78744              Bankruptcy Search.pdf                      78004      2/13/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78744              Benefits Letter 2020.pdf                   98770       2/16/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78744              Benefits Letter.pdf                        98334       2/16/2022 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78744              Court Order.pdf                            74399      2/13/2022 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78744              Credit Report.pdf                         168349      2/16/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78744              Disclosure CO.pdf                          73182       2/16/2022 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78744              PI Docket.pdf                             809300       2/16/2022 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78744              Pleadings.pdf                          10474434        2/16/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78744              POR - 1st page of Bank statement.pdf      652394       2/16/2022 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78744              POR - paystub.pdf                         488429      2/28/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78744              POR.pdf                                   296405      2/18/2022 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78744              Purchase Agreement.pdf                    440242       2/16/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78744              Redirection Confirmation New.pdf          209705      8/16/2023 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78744              Searches.pdf                               83766      2/14/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78744              Security Guard License.pdf             15969002        2/16/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78744              Sellers Affidavit - notarized.pdf         116414      2/13/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78744              SSN proof.pdf                             257407       2/16/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              2 person notifier.pdf                      32061      2/14/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              38D7.pdf                                   25360       2/16/2022 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              78745 Dennis, Kai.tv5                      10671      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              Acknowledment.pdf                         672975       3/16/2022 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              Application.pdf                            94074      2/13/2022 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              Assignment to Redstone.pdf                 66401      2/13/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              Authorization.pdf                          53189      2/13/2022 13:37




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                                       3467



               All Paths/Locations                                 Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              Bankruptcy Search.pdf                      78004       2/13/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              Benefits Letter - corrected.pdf            62999       2/25/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              Benefits Letter 2020.pdf                   98770        2/16/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              Benefits Letter.pdf                        98334        2/16/2022 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              Court Order.pdf                            74399       2/13/2022 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              Credit Report.pdf                         168349       2/16/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              Disclosure CO.pdf                          73182        2/16/2022 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              Fasano Report.pdf                         102050       2/14/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              Life Affidavit.pdf                         27552       2/14/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              Medical Questionnaire and HIPAA.pdf     1065965        2/13/2022 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              MicroBilt - People search.pdf             193431       2/16/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              PI Docket.pdf                             809300        2/16/2022 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              Pleadings.pdf                          10474434         2/16/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              POR - 1st page of Bank statement.pdf      652394        2/16/2022 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              POR.pdf                                   296405       2/18/2022 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              Purchase Agreement.pdf                    440242        2/16/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              Redirection Confirmation New.pdf          209705       8/16/2023 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              Searches.pdf                               83766       2/14/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              Security Guard License.pdf             15969002         2/16/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              Sellers Affidavit - notarized.pdf         116414       2/13/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78745              SSN proof.pdf                             257407        2/16/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              5441.pdf                                   74078        2/16/2022 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              78749 Haynes, Caprice.tv5                    9967      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              Acknowledgment.pdf                         66207        3/4/2022 15:27




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2008 of
                                       3467



               All Paths/Locations                                  Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              Affidavit.pdf                                  95837       2/16/2022 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              Application.pdf                               211405       2/16/2022 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              Assignment Agreement Executed.pdf              25992       2/16/2022 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              Authorization.pdf                              69307       2/16/2022 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              Benefits Letter.pdf                           108562       2/16/2022 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              Closing Book - Caprice Brooks Haynes.pdf   14791668       1/20/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              COB Request.pdf                                92392       2/16/2022 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              Credit Report.pdf                             221891       2/16/2022 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              Disclosure FL.pdf                              48671       2/16/2022 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              Disclosure VA.pdf                              49690       2/16/2022 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              DocuSign Cert B22.pdf                         200528      10/9/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              Driver License.pdf                            603264       2/16/2022 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              Exhibit D unredacted.pdf                       48168       2/8/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              Filed Exhibit D.pdf                           422490      2/16/2022 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              Name Decl.pdf                                  80508       2/16/2022 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              NOH.pdf                                        13964      1/24/2022 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              Order Approving Settlement.pdf                239411       2/16/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              Order Terminating Guardianship.pdf             74146       2/16/2022 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              Petition for Settlement.pdf                    73913       2/16/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              Pleadings.pdf                              17700488        2/16/2022 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              POS.pdf                                     1002490       1/24/2022 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              Prior Order.pdf                             4115896        2/16/2022 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              Purchase Agreement.pdf                        351332       2/16/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              Searches.pdf                                   58344       2/16/2022 8:24




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2009 of
                                       3467



               All Paths/Locations                                 Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              SSC.pdf                                 6375543         2/16/2022 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              UCC - Brooks.pdf                           60944        2/16/2022 8:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              UCC - Haynes.pdf                           51762        2/16/2022 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78749              UCC Search.pdf                             52547        2/16/2022 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78752              78752 Hughs, Stephen.tv5                     9996      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78752              Annuity Contract.pdf                      120036        3/7/2022 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78752              Application.pdf                           279735        3/7/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78752              Assignment.pdf                             70327        3/7/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78752              Authorization Letter.pdf                   72763        3/7/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78752              Bankruptcy Search.pdf                      48071        3/7/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78752              Change of Bene Request.pdf                 73385        3/7/2022 16:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78752              Closing Book-Stephen Hughs.pdf          9246995         3/4/2022 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78752              Credit Report.pdf                         205223        3/7/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78752              Disclosure CO.pdf                         136796        3/7/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78752              Driver License.pdf                        257478        3/7/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78752              Pleadings.pdf                           4649151         3/7/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78752              Purchase Agreement.pdf                  1219591         3/7/2022 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78752              Request for Acknowledgment.pdf             56630        3/7/2022 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78752              Searches.pdf                              324741        3/7/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78752              Social Security Card.pdf                6181757         3/7/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78752              Stip - Missing SP.pdf                     351131        3/7/2022 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78752              Stipulation.pdf                           301825        3/7/2022 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78752              Waiver and Acceptance of Service.pdf      344657        3/9/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              78768 Williams, Lakesha.tv5                10668       10/9/2024 17:37




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2010 of
                                       3467



               All Paths/Locations                                 Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              AC - Partial.pdf                                  117564      2/17/2022 20:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Amended NOH.pdf                                    24180      2/23/2022 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Application.pdf                                    44077     11/19/2021 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Assignment.pdf                                    149149       3/4/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Buyback Agreement.pdf                              23971      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Circuit Court Docket Sheet.pdf                     69844      2/18/2021 23:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Closing Binder.pdf                              8982758       2/16/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Closing Statement - executed.pdf                  414780       3/9/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Court Order.pdf                                   124880       3/3/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Credit Report.pdf                                  16241      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Disclosure MO.pdf                                 121637     11/19/2021 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              DocuSign Cert - A069.pdf                          204938      10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              DocuSign Cert - Closing Statement.pdf             201071      10/9/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              DocuSin Cert - Revised Closing Statement.pdf      203091      10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Identification Card - Chavon.pdf                  507250       3/9/2022 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              KS Driver License - Lakeshia.pdf                1117135      10/26/2021 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              MO Driver License - Lakeshia.pdf                  936961      2/17/2022 19:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Order Appointing Successor Trustee.pdf             46898       2/9/2021 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Order Modifying Trust.pdf                          90048      10/26/2021 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Petition for Appt of Successor Trust.pdf           72200       2/19/2021 0:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Pleadings.pdf                                   2080455       2/17/2022 20:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Proofs of Service.pdf                             197703      2/23/2022 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Purchase Agreement.pdf                            269315      2/17/2022 19:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Qualified Assignment.pdf                          138893      2/17/2022 19:52




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2011 of
                                       3467



               All Paths/Locations                              Unified Title                      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Redirection Reconfiguration up07-11-2022.pdf          2180777        7/8/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Redirection Assignee List NYLIC.pdf                     222753       7/7/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              COA Policy FP200974.pdf                                  52947       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              COA Policy 74758034.pdf                                  52951       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              COA Policy 77422032.pdf                                  52926       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              COA Policy FP200974 (2).pdf                              52949       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              COA Policy FP200974.pdf                                  52991       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              COA Policy FP201158.pdf                                  52930       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              COA Policy FP205723.pdf                                  52948       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              COA Policy FP206266.pdf                                  52989       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              COA Policy FP206275.pdf                                  52951       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              COA Policy FP207071.pdf                                  52987       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              COA Policy FP207808.pdf                                  52960       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              COA Policy FP210013.pdf                                  52983       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              COA Policy FP210674.pdf                                  52959       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              COA Policy FP216554.pdf                                  52928       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              COA Policy FP220022.pdf                                  53010       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              COA Policy FP220028.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              COA Policy FP220219.pdf                                  52981       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              COA Policy FP220714.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              COA Policy FP244114.pdf                                  52993       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Security TItle Corporate Resolution 11.2021 si.pdf      937256       4/1/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Revised Closing Statement.pdf                           412796      10/9/2024 20:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Searches.pdf                                             10174      2/17/2022 20:11




                                                             2010
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                                       3467



               All Paths/Locations                                 Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Settlement Agreement Request.pdf           956909       2/14/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Settlement Docket.pdf                      402462        3/4/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              SSC - Chavon.pdf                           794479        3/9/2022 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Stip - Missing SP.pdf                      388383       10/9/2024 20:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Stipulation.pdf                            514780        3/9/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Successor Letters of Guardianship.pdf       78115      12/28/2020 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Trust Opinion Letter.pdf                   651808       10/9/2024 21:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              Trust Order.pdf                          1059673        10/9/2024 21:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78768              UCC Search.pdf                             165065        3/4/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78771              78771 Dennis, Duane.tv5                     10240       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78771              Acknowledgment.pdf                          49222       3/16/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78771              Application.pdf                            346036       1/20/2022 16:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78771              Assignment.pdf                             149585       2/24/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78771              Benefit Letter.pdf                          91706      11/17/2021 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78771              Benefits Letter 2022.pdf                   116582        2/23/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78771              Court Order.pdf                             84960       10/9/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78771              Credit Report.pdf                           30068        2/4/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78771              DL.pdf                                   2904101        2/16/2022 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78771              Fasano Report.pdf                          115503       2/22/2022 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78771              HIPAA and Medical Questionnaire.pdf        378237       10/9/2024 20:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78771              IL Disclosure.pdf                        1036271        1/20/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78771              Personal-Judgments.pdf                        2093      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78771              Pleadings.pdf                           12515076        2/16/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78771              Purchase Agreement.pdf                   1680874        2/16/2022 14:08




                                                                2011
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2013 of
                                       3467



               All Paths/Locations                                 Unified Title              File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78771              Searches.pdf                                          9275      10/9/2024 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78771              Settlement Agreement & Release.pdf               1936916        9/18/2017 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78771              Social Security Card.pdf                         1257660        1/12/2016 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78771              UCC.pdf                                             48145       10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              78773 Johnson, Courtney.tv5                           9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              Affidavit Settlement Agreement .pdf                466846       2/17/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              Annuity Contract.pdf                               795926       2/17/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              Application.pdf                                  2483754        2/17/2022 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              Article re circumstances of accident.pdf           159422       7/20/2017 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              Authorizations.pdf                                 392884       2/18/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              Bankruptcy Search.pdf                               75783       2/17/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              BTG Advisors LLC to James Receivables LLC.pdf      111007       2/17/2022 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              Closing Binder.pdf                               5436952        2/15/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              Court Order.pdf                                    286269       2/17/2022 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              Credit Report.pdf                                3690520        2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              Disclosure Affidavit.pdf                           238357       2/17/2022 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              Disclosure AL.pdf                                1101689        2/17/2022 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              Disclosure DE.pdf                                1155604        2/17/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              Disclosure NY.Pdf                                1394572        2/17/2022 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              Documents Request Letter Notarized.pdf           1773512         2/21/2022 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              DouSign Cert 286C.pdf                               68035       2/18/2022 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              Driver License.pdf                                 658120       2/17/2022 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              Greenwood Funding LLC to BTG Advisors.pdf          108493       2/17/2022 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              Johnson ACK.pdf                                     32699        3/9/2022 15:27




                                                             2012
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2014 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              Johnson Research Results.pdf           223373      2/18/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              Pleadings.pdf                        3166053       2/18/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              Purchase Agreement.pdf               4450565       2/17/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              Qualified Assignment .pdf            1086826       2/17/2022 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              Searches.pdf                            75151      2/17/2022 18:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              Social Security Cards.pdf              414971      2/17/2022 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              UCC Search.pdf                         436813      2/17/2022 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78773              ZIP Code USPS.pdf                       65258       2/18/2022 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78798              78798 Crary, John.tv5                   12180      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78798              Acknowledgment.pdf                     177221      3/28/2022 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78798              Affidavit.pdf                        2869439        3/28/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78798              Annuity Contract.pdf                   441230       3/28/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78798              Assignment.pdf                          88783      3/28/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78798              Benefits Letter.pdf                    121282       3/28/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78798              Court Order.pdf                      1662368       3/23/2022 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78798              Credit Report.pdf                       14490      3/23/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78798              Disclosure IN.pdf                    2116631        3/28/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78798              Disclosure NE.pdf                    2581331        3/28/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78798              DL.pdf                                 120489       3/28/2022 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78798              Notice of Transfer.pdf               2117350       10/9/2024 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78798              Pleadings.pdf                          408715       3/28/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78798              Purchase Agreement.pdf              25868599        3/28/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78798              SA.pdf                               3695823       12/2/2021 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78798              Searches.pdf                            24423      10/9/2024 17:42




                                                              2013
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2015 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78798              Social Security Card.pdf                  217685       12/3/2021 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78798              UCC.pdf                                    22514       10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78813              78813 Terry, Taureana.tv5                    9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78813              Annuity Contract.pdf                      168573       2/22/2022 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78813              Application.pdf                           137545       1/11/2022 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78813              Assignment.pdf                            111465       4/27/2022 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78813              Court Order.pdf                           154796       3/17/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78813              Credit Report.pdf                          30175       1/11/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78813              IPA Letter.pdf                             45851        3/1/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78813              NJ Disclosure.pdf                         124098       2/22/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78813              NY Disclosure.pdf                         152198       2/22/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78813              Pleadings.pdf                           2596437        2/22/2022 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78813              Purchase Agreement.pdf                  1299492        2/22/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78813              Searches.pdf                              387841       2/17/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78813              Seller Affidavit.pdf                      224588       2/22/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78813              Seller Identification.pdf               2333565        2/22/2022 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78813              Settlement Agreement Affidavit.pdf        103663       2/22/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78813              Settlement Agreement.pdf                  284939       2/22/2022 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78813              Social Security Card.pdf                  354129       2/22/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78813              Stipulation.pdf                           493152        3/1/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78813              USPS Disclosure Delivery.pdf              102728       2/22/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              78815 Downey, Joshua.tv5                   11381       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              Affidavit.pdf                             383373        3/9/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              Application.pdf                           302270       10/9/2024 20:20




                                                                2014
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2016 of
                                       3467



               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              Assignment.pdf                                 90289      3/15/2022 16:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              Benefits Letter.pdf                            46730      3/10/2022 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              Court Order.PDF                               262324       3/9/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              Credit Report.pdf                              10814      1/21/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              Disclosure FL - revised.pdf                   127978       3/15/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              Disclosure FL.pdf                           2399105        2/21/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              Disclosure VA - Revised.pdf                   121668       3/15/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              Disclosure VA.pdf                           2854360        2/21/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              ID.pdf                                        383106      2/16/2022 19:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              IPA Letter FINAL - Joshua Downey.pdf          234460      3/15/2022 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              IPA Waiver.pdf                                 31249       3/9/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              LOD.pdf                                        21446       3/9/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              Notice Of Hearing.pdf                         127330       2/1/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              OC Email on residency and competency.pdf      288888      3/15/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              Pleadings.pdf                               7995849        2/21/2022 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              Purchase Agreement - revised.pdf              214542       3/15/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              Purchase Agreement.pdf                     13184968        2/21/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              Searches.pdf                                   23911      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              Settlement Docket.pdf                         550455      2/21/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              SSC.pdf                                       475331      2/16/2022 19:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              Summary closing statement.pdf                 285205      3/16/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              Summary FI.pdf                                285209      3/16/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              UCC.pdf                                        23316      10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78815              Utility Bill- POR.pdf                         180153      3/15/2022 15:27




                                                               2015
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2017 of
                                       3467



               All Paths/Locations                                 Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78826              78826 Smith, Joel.tv5                     10720      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78826              Ack Letter.pdf                           125726      2/18/2022 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78826              Affidavit.pdf                          3108930        2/2/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78826              Authorization.pdf                      1015163        2/2/2022 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78826              Award Letter.pdf                         108602       2/7/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78826              Court Order.pdf                          290326       2/11/2022 8:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78826              Disclosure.pdf                         1421508        2/2/2022 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78826              Driver License.pdf                     1634338       1/11/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78826              Mini Assignment.pdf                      496715      10/9/2024 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78826              Pleadings.pdf                         10332751        2/22/2022 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78826              Purchase Agreement.pdf                 9516415        2/22/2022 8:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78826              Residence.pdf                            540316      2/11/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78826              Searches.pdf                             756120       1/24/2022 7:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78826              SSN Verification.pdf                     382478      8/31/2020 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78826              UCC Search.pdf                           590010      1/24/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78826              W9.pdf                                 1708009        2/2/2022 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              78827 Kirk, Benquarrius.tv5               19796      10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              Annuity Check Stub.pdf                 1738361       2/20/2022 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              Application.pdf                          194044      2/20/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              Assignment.pdf                            26752      2/21/2022 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              Authorization for Deductions.pdf          91819      2/20/2022 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              Benefits Letter.pdf                    3400508      10/11/2022 16:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              Certification.pdf                        109840      2/20/2022 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              Closing Book - BenQuarrius Kirk.pdf    7793024       2/18/2022 11:47




                                                               2016
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                                       3467



               All Paths/Locations                                Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              Court Order.pdf                          2906526         3/4/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              Covenant Not to Execute.pdf                245919       2/20/2022 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              Credit Report.pdf                          375953       2/20/2022 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              Disclosure CO.pdf                           48683       2/20/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              Disclosure GA.pdf                           50458       2/20/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              Disclosure NE.pdf                           49753       2/20/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              Disclosure SC.pdf                           48652       2/20/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              DocuSign Cert - A889.pdf                    69646       2/20/2022 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              DocuSign Cert - Closing Statement.pdf      216569       10/9/2024 19:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              Order Approving Settlement.pdf             212998       2/20/2022 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              Pleadings.pdf                              842382       2/20/2022 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              POS - Prudential.pdf                       328547        3/4/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              image004.png                                  4037
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              Amended CertOfService.pdf                   73389       1/20/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              Amended NOTICE OF HEARING.pdf               80455       1/20/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              POS - Seller.pdf                            31112       10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              Purchase Agreement.pdf                     336923       2/20/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              Searches.pdf                                58389       2/20/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              Seller Identification.pdf                  479589       2/20/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              SSC.pdf                                     36964       2/28/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              Stip - missing SP.pdf                      689456       10/9/2024 21:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              Stipulation.pdf                            839713       3/15/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78827              UCC Search.pdf                              61234       2/21/2022 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              78831 Garrison-Bey, Shante.tv5              10122       10/9/2024 17:32




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               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              Application.pdf                            40716      2/22/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              Assignment.pdf                            147481      3/30/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              Benefits Letter.pdf                       618156        4/6/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              Court Order.pdf                           482085      3/30/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              Credit Report.pdf                          26671       2/4/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              Disclosure - NY.pdf                       177444      2/22/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              Docusign Certificate 3E6.pdf              220251      10/9/2024 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              Docusign Certificate 946.pdf              150690      10/9/2024 19:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              Docusign Certificate A50.pdf              197784      10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              Docusign Certificate D99.pdf              197861      10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              Docusign Certificate E8D.pdf              148767      10/9/2024 19:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              Drivers License.pdf                       862236      2/22/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              Garrison Bey Assignment.docx               25949      3/30/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              Garrison Bey Closing Binder.pdf         4129521       2/22/2022 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              Order Approving Settlement.pdf            135156      2/22/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              PI Case Docket Sheet.pdf                   91211      2/22/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              Pleadings.pdf                           2349775       2/22/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              Proof of Service.pdf                      545218      3/30/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              Purchase Agreement updated.pdf            361184      3/30/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              Searches.pdf                               84352      2/22/2022 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              Seller Affidavit.pdf                      366928      2/22/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              Social Security Card.pdf                  667600      3/30/2022 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              Stipulation.pdf                         1664963        3/31/2022 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78831              UCC Search.pdf                            542955      2/22/2022 13:54




                                                                2018
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                                       3467



               All Paths/Locations                                 Unified Title                  File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78833              27fb.pdf                                               191589       10/9/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78833              78833 Ervin, Derick.tv5                                   9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78833              Application.pdf                                        315310        1/4/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78833              Benefits Letter.pdf                                     17936       7/25/2019 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78833              Court Order.pdf                                      4559662        3/15/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78833              Credit Report.pdf                                       68932       10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78833              Disclosure Statement.pdf                               119377        1/4/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78833              Driver License.pdf                                     293417       10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78833              IPA Letter.pdf                                          36372       1/31/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78833              PI Docket.pdf                                           64939       10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78833              Pleadings.pdf                                        5784874        2/21/2022 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78833              Purchase Agreement.pdf                                 563167       2/21/2022 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78833              Searches - Microbilt in KS and SC without ssn.pdf      113450       2/21/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78833              Searches.pdf                                            17041       10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78833              Stipulation.pdf                                     11613329        3/15/2022 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78833              UCC.pdf                                                 31118       10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78833              Updated UCC.pdf                                         47976       10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78833              Waiver of ID HB on last deal.pdf                       929529        4/27/2021 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78833              image001.png                                              4751
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78833              Stipulation.pdf                                        716405       9/23/2019 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78836              78836 Kuper, Rebecca.tv5                                  9996      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78836              78836 RKuper Redireiction 07222022.pdf                 649053       8/11/2022 19:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78836              Annuity Contract.pdf                                 3042623        2/22/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78836              Application.pdf                                        355362       2/22/2022 10:19




                                                                2019
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                                       3467



               All Paths/Locations                                 Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78836              Assignment Genex to JTWROS.pdf                         69313      2/22/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78836              Assignment Genex TO Sutton.pdf                         84623      2/22/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78836              Assignment JTWROS TO Genex.pdf                      1009388       2/22/2022 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78836              COA forms.pdf                                       1067413       10/9/2024 21:45
Saiph consulting|\Audit Materials Received-   Confirmation of Change of Owner-Bene-
SuttonPark\Closing Binders\78836              Payee.pdf                                             169335      2/22/2022 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78836              Death Cert.pdf                                        277414      2/22/2022 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78836              Divorce Decree.pdf                                  1293586       2/22/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78836              ID.pdf                                                370327      2/22/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78836              Kuper Funding Package - SP.pdf                      6515570       2/18/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78836              Notice of payments.pdf                                 45540      2/22/2022 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78836              Purchase Agreement.pdf                              2110898       2/22/2022 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78836              Request of change Genex CO of Security Title.pdf       79007      2/22/2022 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78836              Searches.pdf                                          700277      2/22/2022 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78836              Transaction Summary.pdf                                74184      2/22/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              78838 Newingham, Nicole.tv5                            10189      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              Application Newingham.pdf                             198432      2/23/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              Assignment Agreement Executed.pdf                      20592       2/25/2022 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              Authorization.pdf                                      67934      2/23/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              Certification of Nicole.pdf                            96712      2/23/2022 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              Closing Binder.pdf                                 17416601       2/21/2022 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              Closing Statement Executed.pdf                        402233      10/9/2024 20:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              Court Order.pdf                                       387131       3/8/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              Credit Report.pdf                                     158703      2/23/2022 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              Disclosure FL.pdf                                      45183      2/23/2022 15:31




                                                               2020
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2022 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              Disclosure IL.pdf                        45979      2/23/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              Disclosure NE.pdf                        46880      2/23/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              DocuSign Cert 1D44.pdf                  123338      2/23/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              DocuSign Cert B65F.pdf                  122154      2/23/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              DocuSign Cert EE3C.pdf                  207153      10/9/2024 19:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              Driver License.pdf                      117878      2/23/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              Name Declaration.pdf                     76320      2/23/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              NASP Search.pdf                          77796      2/23/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              Pleadings.pdf                        18915249       2/23/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              Prior Order.pdf                       3355582       2/23/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              Purchase Agreement.pdf                  350548      2/23/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              Searches.pdf                             58472      2/23/2022 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              Settlement Agreement.pdf                898205      2/23/2022 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              SS Card.pdf                              55757      2/23/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              Stipulation Executed.pdf                805566       3/9/2022 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              Stipulation Missing Signature.pdf       235161       3/1/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              UCC Search.pdf                           51926      2/23/2022 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78838              Zipe Code USPS.pdf                      156029      2/23/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              78839 Grinnan, Gordon.tv5                15478      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              78839-UPDATED.tv5                        15111      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              Acknowledgement.pdf                      37306      3/23/2022 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              Application.pdf                         153436       3/3/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              Assignment Crowfly to DRB.pdf         1935915        3/7/2022 19:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              Assignment DRB to SuttonPark.pdf        176603       3/7/2022 19:09




                                                              2021
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2023 of
                                       3467



               All Paths/Locations                                   Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              Bankruptcy Search.pdf                        58777        3/3/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              Benefits Letter.pdf                          23526        3/3/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              Court Order.pdf                           1664724         3/3/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              Credit Report.pdf                           553180        3/3/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              Disclosure - TX.pdf                         117533        3/3/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              Divorce Decree.pdf                        2838832         3/3/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              Docusign Certificate 734F.pdf               300703       10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              Docusign Certificate B4F.pdf                178908        3/3/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              Docusign Certificate FAO.pdf                308199       10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              Drivers License.pdf                       3366155         3/3/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              Grinnan Closing Binder.pdf               13948958         3/3/2022 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              OFAC Search.pdf                              99070        3/3/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              Pleadings.pdf                             1492094         3/3/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              Purchase Agreement.pdf                      405385        3/3/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              Request For Acknowledgement.pdf             436375        3/3/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              Searches.pdf                                 35849        3/3/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              Seller Affidavit.pdf                        290723        3/3/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              Social Security Card.pdf                  2218385         3/3/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78839              UCC Search.pdf                              326013        3/3/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              78842 Sanders III, Walter.tv5                  9996      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              Agreed Final Judgment - redacted.pdf      1164115        12/8/2021 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              Agreed Final Judgment - unredacted.pdf      162064       5/12/2022 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              Application.pdf                              44687       12/2/2021 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              Benefits Letter.pdf                          25781        2/28/2022 6:57




                                                              2022
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2024 of
                                       3467



               All Paths/Locations                                 Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              Closing Binder.pdf                       5193629        2/23/2022 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              Court Order.pdf                            357622       5/11/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              Credit Report.pdf                           17099       10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              Decription of Periodic Payments.pdf        597530       2/23/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              Disclosure TX.pdf                          113734       12/2/2021 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              DocuSign Cert - 73BA.pdf                   198457       10/9/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              DocuSign Cert - D0B1.pdf                   191973       10/9/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              Identification Card.pdf                    586646       2/23/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              Motion to Transfer Case.pdf              1086326       12/20/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              Order Granting Motion to Transfer.pdf       35566       1/19/2022 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              Payees Request to Conceal.pdf               17815       12/2/2021 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              Pleadings.pdf                            1603386         3/1/2022 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              Purchase Agreement - Hold Time.pdf         232670       12/7/2021 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              Purchase Agreement.pdf                     231936       2/23/2022 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              Searches.pdf                                11014       2/23/2022 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              Settlement Agreement Request.pdf            24566       10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              Social Security Card.pdf                   485515        3/1/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              Stipulation.pdf                            618778        3/1/2022 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              UCC Search.pdf                             233981       2/23/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              Updated Credit Report.pdf                   17387       10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              Updated Searches.pdf                        12338       5/12/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78842              Updated UCC Search.pdf                      49291       5/12/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78843              78843 Anderson, Natasha.tv5                   9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78843              Affidavit.pdf                              102897       10/4/2021 15:08




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               All Paths/Locations                                Unified Title               File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78843              Application.pdf                                    192206       10/4/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78843              Benefits Letter.pdf                                368573        2/3/2022 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78843              Court Order.pdf                                     68355       4/14/2022 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78843              Credit Report.pdf                                   94775        2/8/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78843              Declaration.pdf                                    156780      10/13/2021 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78843              Disclosure Affidavit.pdf                           124663      10/13/2021 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78843              Disclosure CA.pdf                                  128293      10/13/2021 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78843              Minors Compromise Order.pdf                      3598541        2/18/2022 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78843              NOH.pdf                                         31554896        2/22/2022 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78843              Pleadings.pdf                                    6404274        2/23/2022 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78843              Purchase Agreement.pdf                           1079898        2/23/2022 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78843              Reason for settlement.pdf                          763826        7/1/2021 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78843              Searches.pdf                                       513006        2/8/2022 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78843              SSC.pdf                                            416591       2/15/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78843              Stipulation.pdf                                    251314        4/15/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78848              78848 Neal, Eunice.tv5                              10000       10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78848              Annuity Contract.pdf                               263145       3/16/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78848              Application.pdf                                    897764       2/24/2022 11:44
Saiph consulting|\Audit Materials Received-   Change Coinfirmation docs and proof Eunice is
SuttonPark\Closing Binders\78848              one of beneficiaries.pdf                           326083       3/21/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78848              image002.png                                          1509
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78848              image003.png                                          1406
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78848              image004.png                                          1490
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78848              image005.png                                          4751
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78848              Confirmation Letter.pdf                            156160       3/21/2022 13:34




                                                                2024
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                                       3467



               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78848              Credit Report.pdf                                    17387      2/22/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78848              Death Certificate partially Illegible.pdf           109604      2/24/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78848              Disclosure - NY.pdf                                 161299      2/24/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78848              Docusign Certificate B64.pdf                        190318      10/9/2024 19:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78848              Neal Assignment.docx                                 25857      3/16/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78848              Neal Closing Binder.pdf                           3018017        2/24/2022 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78848              Purchase Agreement.pdf                              892285      2/24/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78848              Request for Change of Ownership .pdf                317447      2/24/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78848              Request for Documents.pdf                           355649      2/24/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78848              Searches.pdf                                         82173       2/24/2022 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78848              Seller Identification.pdf                           403244      2/24/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78848              Social Security Card.pdf                            556421      3/16/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78848              UCC Search.pdf                                      550539       2/24/2022 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78848              W9.pdf                                              602652      3/16/2022 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78856              78856 Whitehead, Richard.tv5                         11418      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78856              Acknowledgment.pdf                                  227678      3/28/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78856              Application.pdf                                     294671      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78856              Assignment.pdf                                      278811       3/3/2022 11:06
Saiph consulting|\Audit Materials Received-   Authorization for Credit Report and Release of
SuttonPark\Closing Binders\78856              Information.pdf                                      72375        3/3/2022 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78856              Bankruptcy Search.pdf                               162394       2/25/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78856              Benefits Letter.pdf                                 868228       2/25/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78856              Court Order.pdf                                     443509        3/2/2022 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78856              Credit Report.pdf                                   522847       3/3/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78856              Disclosure - AR.pdf                                 103485       2/25/2022 8:40




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                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78856              Disclosure - CT.pdf                       106110       2/25/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78856              Disclosure - IA.pdf                       106640       2/25/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78856              Disclosure - MD.pdf                        96578       2/25/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78856              Docusign Certificate 8B6.pdf               19440       2/25/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78856              Docusign Certificate CB7.pdf              172972      2/25/2022 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78856              PI Case Docket .pdf                       309342       2/25/2022 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78856              Pleadings.pdf                           2319902        2/25/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78856              Proof of Disclosure Deivery.pdf           140949       2/25/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78856              Purchase Agreement.pdf                    983550       2/25/2022 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78856              Searches.pdf                              544540       2/25/2022 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78856              Seller Affidavit.pdf                       95615       2/25/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78856              Seller Identification.pdf                 197890       2/25/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78856              Social Security Card.pdf                  205307       2/25/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78856              Whitehead Closing Binder.pdf            6930169       2/23/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78856              Whitehead Assignment.docx                  25965       3/3/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              78859 Cotrichie, Emilio.tv5                12470      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              Acknowledgment.pdf                         61607       3/17/2022 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              Affidavit.pdf                             913960      2/21/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              Application Cotricho .pdf                 311237      2/22/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              Assignment LC payments Executed.pdf        75072       3/1/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              Authorization Disclosure Health.pdf     4061618       2/21/2022 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              Benefit Letter.pdf                         62752      9/29/2021 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              Closing Binder.pdf                     24165885       2/22/2022 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              Credit Report.pdf                          14786      2/16/2022 14:03




                                                              2026
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                                       3467



               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              Disclosure CT.pdf                                 246547      2/21/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              Disclosure FL.pdf                               2392124       2/21/2022 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              Disclosure NY.pdf                               1231785       2/21/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              DocuSign Cert 32B7.pdf                            279349      2/22/2022 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              Fasano Report.pdf                                 124202      1/19/2022 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              Final Order.pdf                                   108640      2/21/2022 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              ID.pdf                                            175207      2/22/2022 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              Invoice Emilio Cotriche.xlsx                       25442      2/21/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              Pleadings.pdf                                   8315210       2/21/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              Purchase Agreement.pdf                          2254042       2/21/2022 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              Questionnaire.pdf                               1147259       2/24/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              Redirection Confirmation New 78859.pdf             50752      4/20/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              Redirection Reconfig Letter up04-07-2022.pdf    7222890        4/6/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              Searches.pdf                                       32110      10/9/2024 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              Settlement Docket.pdf                             739811     10/25/2021 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              SSC.pdf                                           220020     10/15/2019 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              UCC Search.pdf                                     27891      2/21/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78859              Zip USPS.pdf                                      156918      2/22/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78862              78862 Dudczak, Jeremy.tv5                          11194      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78862              Annuity Contract.pdf                               21488      2/28/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78862              Application.pdf                                    53701      2/28/2022 14:12
Saiph consulting|\Audit Materials Received-   Assignmen Genex to Michael and Kelley St
SuttonPark\Closing Binders\78862              Clair.pdf                                          25106      2/28/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78862              Assignment Genex to SuttonPark.pdf                 87118      2/28/2022 14:12
Saiph consulting|\Audit Materials Received-   Assignment Michael and Kelley St Clair to
SuttonPark\Closing Binders\78862              Genex.pdf                                          53731      2/28/2022 14:11




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2029 of
                                       3467



               All Paths/Locations                                Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78862              Assignment Strat Cap to Genex.pdf           25380       2/28/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78862              Authorization to Release .pdf               19925       2/28/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78862              Bankruptcy Search.pdf                         9148      2/28/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78862              Court Order.pdf                            268500       2/28/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78862              Credit Report.pdf                           85601       2/28/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78862              Disclosure - PA.pdf                         47001       2/28/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78862              Dudczak Funding Package.pdf              2236876        2/23/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78862              Final Judment of Marriage .pdf              58053       2/28/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78862              Purchase Agreement.pdf                     800400       2/28/2022 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78862              Request for Acknowledgment.pdf              65241       2/28/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78862              Request for Change of Beneficiary.pdf       20296       2/28/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78862              Searches.pdf                                43626       2/28/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78862              SSN Verification.pdf                       108298        3/8/2022 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78862              Stipulation.pdf                            319014       2/28/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78862              Transaction Summary.pdf                     50021       2/28/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78864              78864 Griffith, Shornnel.tv5                10247       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78864              Affidavit.pdf                            6572109        2/10/2022 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78864              Annuity Contract.pdf                       203172        1/27/2022 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78864              Application.pdf                            908116       1/10/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78864              assignment to JJWR.pdf                      51253       2/10/2022 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78864              Court Order - Amended.pdf                  114999       2/18/2022 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78864              Court Order.pdf                            277325       2/11/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78864              Credit Report.pdf                          167657       1/12/2022 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78864              Disclosure FL.pdf                          733253       2/14/2022 11:27




                                                                2028
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2030 of
                                       3467



               All Paths/Locations                                 Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78864              Disclosure NJ.pdf                         515197       2/14/2022 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78864              Lien and Judgement.pdf                     23496       10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78864              Petition Amended.pdf                   12566553        2/17/2022 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78864              Pleadings.pdf                           9712955        2/14/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78864              Purchase Agreement.pdf                  7902610        2/14/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78864              Settlement Agreement and Release.pdf      246023       9/16/2021 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78864              Social Security Card and ID.pdf         3407451        2/10/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78864              Stipulation.pdf                         1123551        2/25/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78864              UCC Searches.pdf                           23773       10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78865              78865 Wilbourn, D'Erica.tv5                  9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78865              Application.pdf                           406087       1/27/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78865              Assignment Agreement.pdf                  178174        4/5/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78865              Auth to Release Info.pdf                   81080       1/27/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78865              Benefit Letter.pdf                        543016        1/27/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78865              Closing Binder.pdf                     11627514        2/28/2022 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78865              Closing Statement.pdf                   1297040          4/1/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78865              Court Order.pdf                           218368        4/5/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78865              Credit Report.pdf                         204866       1/27/2022 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78865              Disclosure Proof of Delivery.pdf          204797        1/24/2022 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78865              Disclosure SC.pdf                         124342       1/27/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78865              Disclosure TX.pdf                         124296       1/27/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78865              Driver License SC.pdf                   1897857        1/27/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78865              Esign Certificate Jan 27.pdf               47731        1/27/2022 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78865              Esign Certificate Jan 28.pdf               46890       1/28/2022 15:15




                                                                2029
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2031 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78865              Irrevocable Beneficiary.pdf              67555       1/27/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78865              OAMC Case not found.pdf                 163456       2/14/2022 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78865              Pleadings Wilbourn.pdf                4695433        2/28/2022 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78865              Purchase Agreement.pdf                  354592       2/28/2022 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78865              Searches.pdf                            310162       2/28/2022 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78865              Social Security Card.pdf              1504290         1/27/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78865              Stipulation.pdf                       1316907          4/1/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78865              Zipe Code USPS.pdf                      156062       2/28/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78866              78866 Cannuscio, Eugenio.tv5               9967      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78866              Acknowledgment.pdf                       41226        4/18/2022 6:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78866              Affidavit EC.pdf                        513700       2/28/2022 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78866              Affidavit Of Prior Orders.pdf            82266       2/28/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78866              Application.pdf                         241968       2/28/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78866              Benefit Letter.pdf                      628951       2/28/2022 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78866              Closing Binder.pdf                    1862233        2/25/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78866              Court Order.pdf                         449139       3/15/2022 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78866              Disclosure Affidavit.pdf                 77007       2/28/2022 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78866              Disclosure FL.pdf                        97863       2/28/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78866              Disclosure KY.pdf                       108106       2/28/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78866              Disclosure NY.pdf                       123685       2/28/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78866              DocuSign Cert E48C.pdf                   76380       2/28/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78866              Driver License.pdf                      360546       2/28/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78866              IPA Ltr.pdf                              36249        3/2/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78866              Original Settlement Complaint.pdf       452546        1/8/2020 10:48




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               All Paths/Locations                                 Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78866              Pleadings.pdf                                    1279376       2/28/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78866              Purchase Agreement.pdf                             480037      2/28/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78866              Searches.pdf                                     1179670       2/28/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78866              Social Security Card.pdf                         1105895       2/28/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              78867 Felts, Terry.tv5                              10427      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              Acknowledgment.pdf                                  33333      3/10/2022 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              Affidavit in Lieu of Settlement Agreement.pdf      370608      2/25/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              Affidavit.pdf                                      190614      2/25/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              Annuity Contract.pdf                               279252       1/5/2018 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              Application.pdf                                    487876      2/25/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              Assignment Executed.pdf                            196795      3/17/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              Bankruptcy Search.pdf                              200369      2/28/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              Berwyn Death Search_6302022_Terry Felts.pdf        155043      7/19/2022 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              Berwyn Death Search_Oct 22_Terry Felts.pdf         153346       2/2/2023 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              Closing Binder.pdf                              20994903       3/17/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              Court Order.pdf                                    104568      2/25/2022 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              Credit Report.pdf                                   65494      2/25/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              Disclosure MS.pdf                                   51768      2/25/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              Divorce Docket Not Found.pdf                       206018     12/16/2020 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              DocuSign Cert FEA6.pdf                             340774      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              Fasano Report.pdf                                   95679      2/25/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              HIPAA.pdf                                          631189      2/25/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              Peachtree Judgment.pdf                           1001705      12/16/2020 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              Pleadings Felts.pdf                                807867      3/17/2022 15:12




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                                       3467



               All Paths/Locations                                 Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              Proof of Identification.pdf                      199587       2/25/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              Purchase Agreement.pdf                         2267766        2/28/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              Questionnaire.pdf                                832059       2/25/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              RPSA.pdf                                         343041       3/17/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              RS Docket.pdf                                    264103       9/24/2018 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              Searches.pdf                                     148466       2/25/2022 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78867              Social Security Card.pdf                          81826       9/20/2018 11:57
                                              Successful transmission BERWYN MORTALITY
Saiph consulting|\Audit Materials Received-   SEARCH REPORT FOR Terry Felts POLICY
SuttonPark\Closing Binders\78867              K2818199 021523.pdf                              485060       2/15/2023 11:50
                                              Successful transmission to 14349485440. Re:
Saiph consulting|\Audit Materials Received-   BERWYN MORTALITY SEARCH REPORT FOR Terry
SuttonPark\Closing Binders\78867              Felts POLICY K2818199                            124416       7/21/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              78868 Reynolds, Jonathan.tv5                        9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              Affidavit.pdf                                     50078        2/10/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              Application.pdf                                   49211        2/2/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              Assignment CBC Executed.pdf                      112285       3/16/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              Assignment.pdf                                    17281        2/2/2022 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              Benefit letter Reynolds.pdf                       30083       3/11/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              Benefit Letter.pdf                               574594       3/10/2022 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              Closing Binder.pdf                            18143351        3/11/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              Closing Statement Executed.pdf                   415749       10/9/2024 20:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              Court Order.pdf                                  388198       3/15/2022 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              Credit Report.pdf                                 50074       2/14/2022 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              Disclosure.pdf                                   238392        2/2/2022 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              DocuSign Cert 2515.pdf                           195848       10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              DocuSign Cert 4BCA.pdf                           195599       10/9/2024 19:47




                                                               2032
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2034 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              DocuSign Cert 519D.pdf                  122871       3/16/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              DocuSign Cert 8ECD.pdf                  198557       10/9/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              Driver License.pdf                    1882409        3/10/2022 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              New - Benefits Letter.pdf               597090       1/10/2024 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              PI Docket.pdf                         1776892         3/13/2022 1:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              Pleadings Reynolds.pdf                9867968        3/16/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              Purchase agreement.pdf                  425814       3/11/2022 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              Searches.pdf                             10598       3/10/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              Settlement Agreement Request.pdf        193344        3/9/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              Social Security Card.pdf                190582       3/16/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              UCC Search.pdf                          258124       10/9/2024 20:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78868              USPS Zip Code.pdf                       154937       3/11/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              78880 Browder, Stephen.tv5                 9996      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Annuity.pdf                             120882       1/25/2022 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Application notes.pdf                   371456        2/1/2022 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Application.pdf                         408906       1/31/2022 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Assignment Executed.pdf                 178884       3/17/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Auth to Release Info.pdf                 84320       1/31/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Closing Binder.pdf                   17085086         3/1/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Closing Statement.pdf                   344156        3/16/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Court Order.pdf                         281220       3/14/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Credit Report.pdf                       442842       1/31/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Disclosure Proof of Delivery.pdf        205350       1/25/2022 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Disclosure.pdf                          126365       1/31/2022 10:04




                                                               2033
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2035 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Divorce Decree.pdf                    1901656         2/2/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Driver License.pdf                    3683120       1/31/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Esign Certificate.pdf                    46688      1/31/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Notice of Hearing.pdf                    75292       3/3/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Order to destroy file OAMC.pdf          108364        2/2/2022 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Pleadings Amended.pdf                   428263      2/10/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Pleadings.pdf                         1971473        2/8/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Proof of Service.pdf                    453153       3/3/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Proof of Social Security.pdf            262712      1/31/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Purchase Agreement.pdf                  362805       3/1/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Searches.pdf                          1294670       1/31/2022 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Settlement Agreement.pdf              1007508       1/25/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Stip Missing Symetra Signature.pdf    1505813        3/16/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78880              Stipulation.pdf                       1388981       10/9/2024 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              78881 Albino, Regina.tv5                 10188      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              Acknowledgment.pdf                       55947        4/5/2022 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              Affidavit In Lieu.pdf                   237641       3/2/2022 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              Affidavit.pdf                         1673795        3/1/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              Annuity Contract.pdf                  5475147        3/1/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              Application.pdf                       1463429        3/1/2022 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              Assignment.pdf                           57261       3/1/2022 17:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              Authorization.pdf                       759389       3/1/2022 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              Closing Binder.pdf                   15222896       2/25/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              Court Order.pdf                         296061      3/11/2022 16:09




                                                                2034
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2036 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              Credit Report.pdf                        30042      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              Disclosure VA.pdf                     1482472        3/1/2022 16:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              Divorce Judgment .pdf                 1396781        3/1/2022 16:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              DocuSign Cert 0026.pdf                  322689      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              DocuSign Cert AB5C.pdf                  318837      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              Driver License.pdf                       81676       3/1/2022 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              Fasano Report Signed.pdf              2727587       3/31/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              HIPPA.pdf                               732682       3/1/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              LC Notifier.pdf                         369277       3/1/2022 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              Periodic Payments.pdf                    95646       3/1/2022 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              Pleadings.pdf                         2298895        3/1/2022 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              Purchase Agreement.pdf                4390353        3/1/2022 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              Qualified Assignment.pdf                515422       3/1/2022 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              Questionnaire.pdf                     1878233        3/1/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              Searches.pdf                            117572      2/25/2022 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              Social Security Card.pdf                118684       3/1/2022 17:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              Unsworn Affidavit.pdf                   411038       3/1/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78881              USPS Zip Code.pdf                       155025       3/2/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              78884 Jackson, Keiran.tv5                10597      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              Affidavit in Lieu of SA.pdf             115660       3/1/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              Affidavit.pdf                           231038       3/1/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              Application.pdf                         162844      2/28/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              BK Search.pdf                           835587       3/1/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              Court Order.pdf                       1743154         3/8/2022 9:38




                                                                2035
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2037 of
                                       3467



               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              Credit Report.pdf                                  25516      2/28/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              Disclosure NY.pdf                                  75808       3/1/2022 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              ID.pdf                                          1053492        12/6/2021 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              IPA letter.pdf                                     44817       3/4/2022 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              PI Docket.pdf                                      48330      2/28/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              Pleadings.pdf                                   4630864        3/1/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              Proof of Disc Delivery.pdf                        693225       3/1/2022 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              Purchase Agreement.pdf                          1277687        3/1/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              Redirection Reconfiguration up07-11-2022.pdf    2180777        7/8/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              Redirection Assignee List NYLIC.pdf               222753       7/7/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              COA Policy FP200974.pdf                            52947       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              COA Policy 74758034.pdf                            52951       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              COA Policy 77422032.pdf                            52926       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              COA Policy FP200974 (2).pdf                        52949       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              COA Policy FP200974.pdf                            52991       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              COA Policy FP201158.pdf                            52930       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              COA Policy FP205723.pdf                            52948       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              COA Policy FP206266.pdf                            52989       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              COA Policy FP206275.pdf                            52951       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              COA Policy FP207071.pdf                            52987       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              COA Policy FP207808.pdf                            52960       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              COA Policy FP210013.pdf                            52983       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              COA Policy FP210674.pdf                            52959       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              COA Policy FP216554.pdf                            52928       4/8/2022 13:24




                                                               2036
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2038 of
                                       3467



               All Paths/Locations                                Unified Title                    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              COA Policy FP220022.pdf                                  53010       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              COA Policy FP220028.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              COA Policy FP220219.pdf                                  52981       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              COA Policy FP220714.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              COA Policy FP244114.pdf                                  52993       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              Security TItle Corporate Resolution 11.2021 si.pdf      937256       4/1/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              Searches.pdf                                            258487      2/28/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              SSC.pdf                                               3947109        3/8/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78884              Stipulation.pdf                                         304279       3/8/2022 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              78888 Freedman, Peter.tv5                                10114      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              Annuitants App and Martitial Status form.pdf          3896217        3/8/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              Annuitants ID and SSC.pdf                               559916       3/8/2022 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              Annuity Contract.pdf                                    380240       3/1/2022 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              Application.pdf                                       1263315        3/1/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              Assignment Great Plains to Sutton.pdf                    50586       3/1/2022 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              Assignment.pdf                                           50457       3/1/2022 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              Authorization.pdf                                     3195322        3/1/2022 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              BK Search.pdf                                            39433       3/1/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              Child Support letter.pdf                                339179       3/1/2022 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              Closing Book Litchfield.pdf                          11140310       2/28/2022 19:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              COB Request.pdf                                       3182409        3/1/2022 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              Court Order.pdf                                         170814       3/1/2022 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              Credit Report.pdf                                       118792       3/1/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              Disclosure Statement CA.pdf                           1108973        3/1/2022 14:04




                                                                2037
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               All Paths/Locations                                 Unified Title             File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              Driver License.pdf                              2137198         3/1/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              Email on childs mother.pdf                        237782       3/18/2022 15:56
Saiph consulting|\Audit Materials Received-   Mari-Ko Vang - Closure Letter - Case
SuttonPark\Closing Binders\78888              #20000000.pdf                                     102364        3/4/2022 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              Email on CS.pdf                                   543480       3/23/2022 11:35
Saiph consulting|\Audit Materials Received-   Mari-Ko Vang - Closure Letter - Case
SuttonPark\Closing Binders\78888              #20000000.pdf                                     102364        3/4/2022 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              Fwd_ Re_ austin litchfield.pdf                    237782       3/18/2022 15:56
Saiph consulting|\Audit Materials Received-   Mari-Ko Vang - Closure Letter - Case
SuttonPark\Closing Binders\78888              #20000000.pdf                                     102364        3/4/2022 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              LA County Child Support closure letter.pdf        102364        3/4/2022 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              LACounty website info on close of a case.pdf    2605087        3/23/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              Pleadings.pdf                                  26869382         3/1/2022 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              POA.pdf                                         1250224         3/1/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              Purchase Agreement.pdf                         11023440         3/1/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              Redirection Confirmation New 78888.pdf             95740        5/24/2023 8:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              Req for Ack.pdf                                   167420        3/1/2022 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              SA Due Diligence.pdf                              178409       3/15/2022 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              Searches.pdf                                      833399        3/1/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              Stipulation.pdf                                 3638799         3/1/2022 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78888              Transaction Summary.pdf                            61373        3/1/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              78889 Holland, Katie.tv5                             9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              Acknowledgment.pdf                                 53188       3/24/2022 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              Application.pdf                                   189824        3/2/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              Assignment Agreement Executed.pdf                  23338        3/3/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              Benefit Letter.pdf                              4143262         3/2/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              Certification Katie Holland.pdf                    91520        3/2/2022 16:51




                                                                2038
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                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              Change of Beneficiary.pdf                84585       3/2/2022 16:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              Closing Binder.pdf                   11117377        3/1/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              Closing Statement Executed.pdf           32567       3/8/2022 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              Court Order.pdf                         152504       3/8/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              Credit Report.pdf                       150833       3/2/2022 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              Disclosure DE.pdf                        40289       3/2/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              Disclosure PA.pdf                        41284       3/2/2022 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              DocuSign Cert 6DE2.pdf                  122663       3/2/2022 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              DocuSign Cert CDDE.pdf                  120553       3/2/2022 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              Driver License Updated.pdf            2127226        3/2/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              Exhibit.pdf                           2116409      11/22/2021 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              NASP Search.pdf                          76600       3/2/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              PI Docket.pdf                           452853       3/2/2022 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              Pleadings.pdf                           736878        3/3/2022 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              Prior Order Nov 2017.pdf                186193       3/2/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              Prior Order.pdf                         810030       3/2/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              Purchase Agreement.pdf                  348440        3/3/2022 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              Searches.pdf                             57369       3/2/2022 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              Social Security Card.pdf                180319       3/2/2022 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              UCC Search.pdf                           51811       3/2/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78889              USPS Zip Code.pdf                       156849        3/3/2022 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78891              78891 Rosales, Angelica.tv5              10000      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78891              Acknowledgement Letter.PDF              131290      2/24/2022 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78891              Affidavit.pdf                         6225040        3/2/2022 12:08




                                                              2039
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                                       3467



               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78891              Assignment.pdf                                1194769        3/2/2022 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78891              Authorization.pdf                             1005669        1/4/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78891              Award Letter.pdf                                 36834       1/5/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78891              Court Order.pdf                               2146680        2/25/2022 8:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78891              Credit Report.pdf                               181780       3/3/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78891              Disclosure Statement.pdf                      2647023        3/2/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78891              Pleadings.pdf                                27153763        3/2/2022 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78891              POS.PDF                                         109362      10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78891              Purchase Agreement.pdf                       16599737        3/2/2022 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78891              Rosales - Divorce Docket.pdf                    130358      2/23/2021 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78891              Rosales - Marital Settlement Agreement.pdf    6831287       1/12/2021 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78891              Searches.pdf                                    677269       3/3/2022 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78891              Signed IPA.pdf                                1934639       2/25/2022 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78891              Signed Marital Status.pdf                       957988       1/4/2022 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78891              Signed Residence.pdf                          2314711        1/7/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78891              Signed W9.pdf                                 3030006       2/25/2022 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78891              SSN Verification.pdf                            373537        3/3/2022 7:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78891              UCC Search.pdf                                7405257        2/25/2022 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              78897 McKinley, Walter.tv5                       10434      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              Affidavit.pdf                                   315915        3/9/2022 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              Allied Servicing letter of direction.pdf         67311       2/2/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              Annuity Contract.pdf                            383260        3/9/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              Application.pdf                                 634430        3/9/2022 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              Assignment.pdf                                   67411        3/9/2022 8:37




                                                               2040
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2042 of
                                       3467



               All Paths/Locations                                Unified Title                   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              Authorization to Tak Action Executed.pdf             1235614         3/1/2022 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              BK Search.pdf                                           38358        3/9/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              COB Request.pdf                                         80728        3/9/2022 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              Confirmation from Allied.pdf                           339713      3/28/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              Court Order.pdf                                        767300        3/9/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              Credit Report.pdf                                    1059013         3/9/2022 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              Disclosure FL.pdf                                      258663        3/9/2022 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              Disclosure IL.pdf                                      216921        3/9/2022 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              Disclosure NJ.pdf                                      216442        3/9/2022 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              ID.pdf                                                 126562        3/9/2022 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              NASP.pdf                                                74482        3/9/2022 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              No Conflict.pdf                                        107494        3/9/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              Petition.pdf                                         1232332         3/9/2022 8:44
Saiph consulting|\Audit Materials Received-   POA - McKinley - Prudential - Allied - Provident
SuttonPark\Closing Binders\78897              FBO Rosenberg IRA - Executed.pdf                     1236128         3/1/2022 9:11
Saiph consulting|\Audit Materials Received-   POA - McKinley, Walter - Prudential - Allied -Jon
SuttonPark\Closing Binders\78897              Rosenberg and PTG.pdf                                5261377       2/28/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              Prior Orders.pdf                                     1573113         3/9/2022 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              Prudential - Walter McKinnley Closing Book.pdf       9984857        4/7/2014 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              Purchase Agreement.pdf                               1340243         3/9/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              RPSA.pdf                                             2809926         3/1/2022 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              Searches.pdf                                           985120        3/9/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              Settlement Order.pdf                                   575985        3/9/2022 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              SSN.pdf                                                155409        3/9/2022 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78897              Stipulation.pdf                                      1285814         3/9/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78900              78900 Stokes, Jamia.tv5                                 10188      10/9/2024 17:32




                                                                2041
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2043 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78900              Annuity Contract.pdf                    795887        3/3/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78900              Application.pdf                         108144        3/3/2022 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78900              Closing Binder.pdf                   18651318         3/3/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78900              Court Order Stokes.pdf                  702682         3/2/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78900              Credit Report.pdf                        25367        3/2/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78900              Disclosure.pdf                          115066        3/3/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78900              DocuSign Cert .pdf                      205567       10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78900              DocuSign Cert 4663.pdf                   72562        3/8/2022 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78900              Driver License.pdf                    2059854         3/3/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78900              HIPPA.pdf                               407182        3/8/2022 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78900              Pleadings.pdf                         7846256         3/3/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78900              POS.pdf                                 927423        3/3/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78900              Purchase Agreement.pdf                  318023        3/3/2022 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78900              Qualified Assignment.pdf                197158        3/3/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78900              Questionnaire.pdf                       402847        3/8/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78900              Searches JS.pdf                          16168        3/3/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78900              Settlement Agreement.pdf                720803        3/3/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78900              SS Card.pdf                           5720965         3/3/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78900              Stipulation.pdf                       1538274         3/8/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78900              UCC Search.pdf                           47935       10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78900              Updated Fasano.pdf                      113158        3/4/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              6333.pdf                                191848       10/9/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              6443.pdf                                195208       10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              78903 Catino, Sara.tv5                     9998      10/9/2024 17:29




                                                                2042
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2044 of
                                       3467



               All Paths/Locations                                 Unified Title                  File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              Annuity Contract.pdf                                 1759406       12/10/2021 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              Application.pdf                                         46647       12/8/2021 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              Benefits Letter.pdf                                  2196332         3/3/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              certificate for closing.pdf                            193728       10/9/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              Change of Bene.pdf                                      18041        3/3/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              Court Order.pdf                                        190424       3/23/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              Credit Report.pdf                                       58571       10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              Declaration.pdf                                        662492       1/17/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              Disclosure Statement.pdf                               206656        1/25/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              Driver License.pdf                                   2521312         3/3/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              Email from Protective in re to assignee in CO.pdf      218685       3/30/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              image001.png                                              4433
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              Disclosure IL.pdf                                      134301       3/23/2022 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              DocuSign Cert - 157C.pdf                               308663       10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              DocuSign Cert - Closing Statement.pdf                  281887        4/5/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              Fasano Report.pdf                                      112456       2/17/2022 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              Fraud Affidavit.pdf                                     31009       3/30/2022 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              Identifcation Card - IL.pdf                            205886       3/30/2022 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              LE Analysis.pdf                                      2631443        3/24/2022 16:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              LC-Analysis-3-24-2022 Frank Weathers .xlsx           2917405        3/24/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              Medical Questionnaire.pdf                              265207       3/23/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              PI Docket.pdf                                          534594       3/16/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              Pleadings.pdf                                        4494002        3/23/2022 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              POR.pdf                                                654701       3/30/2022 17:56




                                                                2043
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2045 of
                                       3467



               All Paths/Locations                                Unified Title        File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              Purchase agreement.pdf                      872506       3/24/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              Searches.pdf                                 32236       3/23/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              Social Security Card.pdf                    841166       2/10/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              Stip - missing Cozen.pdf                    605635       3/23/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              Stipulation.pdf                             630333       3/24/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              UCC Search.pdf                               27593       3/23/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79087              1865350_1_FinalPackage.pdf                6836766        2/25/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79087              79087 Geiger, Jah-mal.tv5                      9996      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79087              Affidavit in Support of Petition.pdf        832905       4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79087              Application.pdf                             278210       4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79087              Benefits Letter.pdf                          87990       4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79087              Court Order.pdf                             485610       4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79087              Credit Report.pdf                            80818       4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79087              Disclosure - NY.pdf                         177655       4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79087              Guardian Affidavit .pdf                     237279       4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79087              Infant's Compromise Order .pdf              242695       4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79087              New - Geiger, Jah-mal (ack letter).pdf       64621        2/9/2024 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79087              Pleadings.pdf                               469179       4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79087              Proof of Service.pdf                        708632       4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79087              Purchase Agreement.pdf                      396800       4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79087              Request For Acknowledgement.pdf             175861       4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79087              Request for Change of Beneficiary.pdf       167684       4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79087              Searches.pdf                                967677       4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79087              Seller Identification.pdf                   128987       4/21/2022 12:53




                                                                2044
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2046 of
                                       3467



               All Paths/Locations                                Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79087              Settlement Proposal .pdf                   189382       4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79088              1872558_1_FinalPackage.pdf              12834327        2/24/2022 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79088              79088 Lenz, Brittany.tv5                      9996      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79088              Annuity Contract.pdf                       430031       4/21/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79088              Application.pdf                            320471       4/21/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79088              Benefits Letter.pdf                         96142       4/21/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79088              Court Order.pdf                            492646       4/21/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79088              Disclosure - GA.pdf                        184196       4/21/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79088              Disclosure - WA.pdf                        175621       4/21/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79088              Purchase Agreement.pdf                   5208015        4/21/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79088              Request For Acknowledgement.pdf            169436       4/21/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79088              Request for Change of Beneficiary.pdf      263188       4/21/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79088              Searches.pdf                             2196007        4/21/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79088              Settling Documents .pdf                    527245       4/21/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79088              Stipulation.pdf                          3098646        4/21/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79089              1868668_1_FinalPackage.pdf               7966711        2/28/2022 22:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79089              79089 Martinez, Cheyanna.tv5                12910       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79089              Amended Agreement .pdf                   1128111        4/21/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79089              Amended Disclosure - DE .pdf               327409       4/21/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79089              Amended Disclosure - NY.pdf                397495       4/21/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79089              Amended Disclosure-CA.pdf                  249427       4/21/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79089              Application.pdf                            220392       4/21/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79089              Assignment .pdf                            259881       4/21/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79089              Benefits Letter.pdf                        289022       4/21/2022 14:01




                                                                2045
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                                       3467



               All Paths/Locations                                  Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79089              Court Order.pdf                            679872       4/21/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79089              Credit Report.pdf                          113586       4/21/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79089              Disclosure Affidavit.pdf                   293139       4/21/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79089              DocuSign .pdf                              236414       4/21/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79089              Purchase Agreement.pdf                   1361157        4/21/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79089              Request for Change of Beneficiary.pdf      307090       4/21/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79089              Searches.pdf                               820157       4/21/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79089              Settlement Agreement .pdf                  293526       4/21/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79089              Stipulation.pdf                            772834       4/21/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79090              1002001_5_FinalPackage.pdf              11451276        2/28/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79090              79090 Floyd, Dalton.tv5                       9799      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79090              Application.pdf                            308368       4/21/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79090              Benefits Letter.pdf                        313193       4/21/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79090              Change of Beneficiary.pdf                  121967       4/21/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79090              Court Order.pdf                          2126840        4/21/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79090              Credit Report.pdf                          108141       4/21/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79090              Disclosure - KY.pdf                        175943       4/21/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79090              Objection to Transfer Petition .pdf         77210       4/21/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79090              Proof of Service.pdf                     5238101        4/21/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79090              Request For Acknowledgement.pdf             98783       4/21/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79090              Searches.pdf                             1231618        4/21/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79090              Seller Identification.pdf                  311484       4/21/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79091              79091 Daniels, Hannibal.tv5                   9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79091              Annuity Contract.pdf                       172874       4/21/2022 16:51




                                                                2046
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2048 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79091              Application.pdf                          226062      4/21/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79091              Change of Beneficiary.pdf                152350      4/21/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79091              Court Order.pdf                          375256      4/21/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79091              Credit Report.pdf                         99615      4/21/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79091              Disclosure - CA.pdf                      156836      4/21/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79091              Disclosure - NY.pdf                      155643      4/21/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79091              DocuSign.pdf                             162376      4/21/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79091              Pleadings .pdf                           291053      4/21/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79091              Purchase Agreement.pdf                 6381358       4/21/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79091              Request For Acknowledgement.pdf          214832      4/21/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79091              Searches.pdf                             778095      4/21/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79091              Seller Identification.pdf                423814      4/21/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79091              Settlement Agreement.pdf               1327743       4/21/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79091              Stipulation.pdf                        3188175       4/21/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79092              1725261_5_FinalPackage.pdf             9299593       2/24/2022 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79092              79092 Hinkle, Anna.tv5                    10185      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79092              Application.pdf                          317509      4/21/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79092              Benefits Letter.pdf                      135538      4/21/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79092              Court Order.pdf                          354259      4/21/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79092              Credit Report.pdf                        114461      4/21/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79092              Disclosure - AL.pdf                      269491      4/21/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79092              DocuSign .pdf                            258004      4/21/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79092              Drivers License.pdf                      267018      4/21/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79092              Marriage Certificate.pdf                 290055      4/21/2022 17:44




                                                                2047
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2049 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79092              Proof of Service.pdf                   3445555        4/21/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79092              Purchase Agreement.pdf                   634964       4/21/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79092              Request For Acknowledgement.pdf          177228       4/21/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79092              Searches.pdf                           2411942        4/21/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79093              1762462_1_FinalPackage.pdf            15300044        2/23/2022 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79093              79093 Hemphill, Lamont.tv5                  9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79093              Application.pdf                          125609       4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79093              Change of Beneficiary.pdf                245516       4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79093              Court Order.pdf                          281065       4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79093              Credit Report.pdf                         99092       4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79093              Disclosure - MO.pdf                       96288       4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79093              Disclosure - TX.pdf                       97847       4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79093              Notice Of Hearing .pdf                   129682       4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79093              Pleadings.pdf                            246188       4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79093              Proof of Service .pdf                    305465       4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79093              Purchase Agreement.pdf                 8847703        4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79093              Request For Acknowledgement.pdf          158689       4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79093              Searches.pdf                           1296229        4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79093              Stipulation.pdf                        3629331        4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79094              1778364_1_FinalPackage.pdf             7155220         2/25/2022 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79094              79094 Litwin, Thomas.tv5                  10018       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79094              Annuity Contract.pdf                     989821       4/21/2022 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79094              Application.pdf                          212372       4/21/2022 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79094              Court Order.pdf                          320847       4/21/2022 18:32




                                                                2048
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2050 of
                                       3467



               All Paths/Locations                                  Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79094              Credit Report.pdf                             99865      4/21/2022 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79094              Disclosure - FL.pdf                          152093      4/21/2022 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79094              DocuSign.pdf                                 192526      4/21/2022 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79094              Drivers License.pdf                          936631      4/21/2022 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79094              Order of Dismissal With Prejudice.pdf        618674      4/21/2022 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79094              Pleadings.pdf                              2209213       4/21/2022 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79094              Purchase Agreement.pdf                       318757      4/21/2022 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79094              Request For Acknowledgement.pdf              178218      4/21/2022 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79094              Searches.pdf                                 679561      4/21/2022 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79094              Stipulation.pdf                              364155      4/21/2022 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79095              369475_3_FinalPackage.pdf                  6157908       2/25/2022 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79095              79095 Knudsen, Jessica.tv5                    11487      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79095              Application.pdf                              278202      4/21/2022 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79095              Benefits Letter.pdf                           90464      4/21/2022 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79095              Court Order.pdf                            1525464       4/21/2022 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79095              Death Certificate.pdf                        195376      4/21/2022 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79095              Disclosure - OH.pdf                          275180      4/21/2022 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79095              DocuSign .pdf                                147079      4/21/2022 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79095              Drivers License.pdf                          194217      4/21/2022 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79095              Marriage Certificate .pdf                    792780      4/21/2022 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79095              New - Knudsen, Jessica (ack letter).pdf      273331       2/9/2024 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79095              Purchase Agreement.pdf                       533757      4/21/2022 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79095              Request For Acknowledgement.pdf               97286      4/21/2022 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79095              Request for Change of Beneficiary.pdf        232162      4/21/2022 18:43




                                                                2049
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2051 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79095              Searches.pdf                           1421703        4/21/2022 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79095              Settlement Agreement.pdf                 308124       4/21/2022 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79096              1697032_5_FinalPackage.pdf            10183339        2/25/2022 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79096              79096 Livas, Milton.tv5                     9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79096              Benefits Letter.pdf                       76856       4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79096              Change of Beneficiary.pdf                103351       4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79096              Court Order.pdf                          443417       4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79096              Credit Report.pdf                        153268       4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79096              Disclosure - LA.pdf                      201111       4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79096              DIvorce decree.pdf                       917342       4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79096              Drivers License.pdf                    5229907        4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79096              Legal invoices.pdf                       145330       4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79096              Notice of Transfer.pdf                   161934       4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79096              Pamela Link Obituary.pdf                 274920       4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79096              Purchase Agreement.pdf                   471418       4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79096              Request For Acknowledgement.pdf          141586       4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79096              Searches.pdf                           1596891        4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79096              Social security card.pdf                  78428       4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79096              Stipulation.pdf                          767568       4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79097              1875359_1_FinalPackage.pdf            13649371        2/28/2022 22:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79097              79097 Rodriguez, Arturo.tv5               10000       10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79097              Application.pdf                          193581       4/22/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79097              Benefits Letter.pdf                      282542       4/22/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79097              Court Order.pdf                          761788       4/22/2022 13:58




                                                                2050
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               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79097              Disclosure - IL.pdf                        803547      4/22/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79097              Identification Foreign.pdf               3556710       4/22/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79097              Notice of Transfer.pdf                     136180      4/22/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79097              Purchase Agreement.pdf                   2924632       4/22/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79097              Request For Acknowledgement.pdf            159857      4/22/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79097              Searches.pdf                               632371      4/22/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79097              Stipulation.pdf                          4726671       4/22/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79098              583067_1_FinalPackage.pdf               15485123       2/28/2022 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79098              79098 Bonds, Zakery.tv5                     10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79098              Annuity Contract.pdf                     1772385       4/22/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79098              Application.pdf                            185205      4/22/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79098              Benefits Letter.pdf                        598023      4/22/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79098              Court Order.pdf                          2268027       4/22/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79098              Credit Report.pdf                          100209      4/22/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79098              Death Cert.pdf                             198716      4/22/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79098              Docusign cert.pdf                          168784      4/22/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79098              Drivers License.pdf                      1204447       4/22/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79098              Minors Settlement.pdf                    1863949       4/22/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79098              Proof of Residency.pdf                     411682      4/22/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79098              Purchase Agreement.pdf                     397726      4/22/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79098              Request for Change of Beneficiary.pdf      104387      4/22/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79098              Searches.pdf                               704148      4/22/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79098              Social Security Card 79098.PDF             141055       9/9/2015 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79098              Stipulation.pdf                          2465050       4/22/2022 16:41




                                                                2051
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2053 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79101              1302599_2_FinalPackage.pdf              13730145        2/28/2022 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79101              79101 Wagoner, Matthew.tv5                    9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79101              Annuity Contract.pdf                       476617       4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79101              Application.pdf                            356770       4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79101              Court Order.pdf                            334352       4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79101              Credit Report.pdf                          170210       4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79101              Death Certificate .pdf                   1307719        4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79101              Disclosure - KS.pdf                        358407       4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79101              Docusign Certs.pdf                         296194       4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79101              Drivers License.pdf                      5728979        4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79101              Guardianship docs.pdf                      783596       4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79101              Notice of Transfer.pdf                     158263       4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79101              Proof of residency.pdf                     722469       4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79101              Purchase Agreement.pdf                     589964       4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79101              Qualified Assignment.pdf                   266849       4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79101              Request For Acknowledgement.pdf            150856       4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79101              Request for Change of Beneficiary.pdf      170210       4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79101              Searches.pdf                             1512570        4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79101              Settlement Agreement.pdf                 1079912        4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79101              Stipulation.pdf                            529481       4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79102              1372443_3_FinalPackage.pdf               8449986        2/24/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79102              79102 Fashaw, Alexandra.tv5                 10189       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79102              Acknowledgment of Assignment.pdf           396812       4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79102              Application.pdf                            791812       4/25/2022 12:48




                                                                2052
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                                       3467



               All Paths/Locations                                  Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79102              Assignment and Assumption Agreement.pdf      212774       4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79102              Court Order.pdf                              349251       4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79102              Credit Report.pdf                            105979       4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79102              Disclosure - FL.pdf                          667554       4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79102              Disclosure - IA.pdf                          635519       4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79102              Disclosure - MD.pdf                          593686       4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79102              MD Identification.pdf                        561947       4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79102              Pleadings.pdf                                375673       4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79102              Proof of residency.pdf                       348113       4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79102              Purchase Agreement.pdf                     2070961        4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79102              Request For Acknowledgement.pdf              189700       4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79102              Searches.pdf                                 973819       4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79102              Settlement Documents.pdf                     850756       4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79103              1651432_6_FinalPackage.pdf                 9116791        2/25/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79103              79103 Beckles, Terri.tv5                        9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79103              Annuity Contract.pdf                         512602       4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79103              Application.pdf                              320418       4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79103              Court Order.pdf                              244590       4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79103              Credit Report.pdf                            102658       4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79103              Disclosure - GA.pdf                          177829       4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79103              Disclosure - NJ.pdf                          149808       4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79103              Docusign cert.pdf                            167345       4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79103              Drivers license GA.pdf                       246746       4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79103              Marriage cert.pdf                          1004654        4/26/2022 15:29




                                                              2053
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2055 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79103              Notice of transfer.pdf                      98883      4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79103              Proof of residency.pdf                     205539      4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79103              Purchase Agreement.pdf                     429341      4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79103              Qualified Assignement.pdf                  561661      4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79103              Searches.pdf                             1086016       4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79103              Settlement Agreement.pdf                   477671      4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79103              Stipulation.pdf                          3191107       4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79104              688928_18_FinalPackage.pdf              20672620       2/28/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79104              79104 Bowersox, Jacqueline.tv5              10374      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79104              Annuity Contract Certificate.pdf            85692      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79104              Application.pdf                            367761      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79104              Court Order.pdf                          1888314       4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79104              Credit Report.pdf                          171308      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79104              Disclosure - ID.pdf                        269800      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79104              Disclosure - TX.pdf                        269583      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79104              DIvorce Decree.pdf                       4166026       4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79104              Docusign certs.pdf                         263259      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79104              Drivers License.pdf                        306915      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79104              Marriage cert.pdf                          303440      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79104              Notice of Transfer.pdf                     159189      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79104              Purchase Agreement.pdf                     696826      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79104              Qualified Assignment.pdf                   274284      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79104              Request for Change of Beneficiary.pdf      170597      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79104              Searches.pdf                               981660      4/26/2022 17:42




                                                                2054
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2056 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79104              Settlement Agreement.pdf                   500287       4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79104              Stipulation.pdf                          9398007        4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79105              1880632_1_FinalPackage.pdf              14819743        2/28/2022 22:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79105              79105 Samuel, Denzel.tv5                    10449       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79105              Acknowledgment of Assignment.pdf           558908       4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79105              Application.pdf                            130818       4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79105              Assignment & Assumption Agreement.pdf      251713       4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79105              Court Order.pdf                          3175029        4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79105              Credit Report.pdf                          108726       4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79105              Disclosure - DE.pdf                        554812       4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79105              Disclosure - FL.pdf                        603487       4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79105              Disclosure - NY.pdf                        331657       4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79105              Drivers License.pdf                        319372       4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79105              Infants Compromise.pdf                     389472       4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79105              Proof of service.pdf                       119872       4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79105              Purchase Agreement.pdf                   3531288        4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79105              Request For Acknowledgement.pdf            147029       4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79105              Searches.pdf                               798471       4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79105              Stipulation.pdf                            519936       4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79106              1871306_1_FinalPackage.pdf              16677204        2/28/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79106              79106 Wilbanks, Daniel.tv5                    9996      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79106              Annuity Contract.pdf                     1214555        4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79106              Application.pdf                            534250       4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79106              Benefits Letter.pdf                        717184       4/22/2022 13:10




                                                                2055
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2057 of
                                       3467



               All Paths/Locations                                  Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79106              Change of Address.pdf                       360180       4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79106              Court Order.pdf                             104819       4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79106              Disclosure - IN.pdf                         168120       4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79106              Docusign Certificate of Completion.pdf      259609       4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79106              List of Dependents.pdf                      251902       4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79106              Order Appointing Guardian .pdf              491426       4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79106              Proof of Service.pdf                        852782       4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79106              Purchase Agreement.pdf                      295271       4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79106              Qualified Assignement.pdf                 2779488        4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79106              Request For Acknowledgement.pdf             353721       4/22/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79106              Request for Change of Beneficiary.pdf       249749       4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79106              Searches.pdf                              1300278        4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79106              Seller Identification.pdf                   338381       4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79106              Settlement Agreement.pdf                  5586145        4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79106              Waiver of IPA.pdf                           197561       4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79107              1806789_3_FinalPackage.pdf                9697579        2/23/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79107              79107 Green-Nealy, Shalaunda.tv5               9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79107              Annuity Contract.pdf                        911344       4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79107              Application.pdf                             316459       4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79107              Court Order.pdf                             144436       4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79107              Disclosure - FL.pdf                         270088       4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79107              Docusign Certificate of Completion.pdf      162807       4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79107              List of Dependents.pdf                      208896       4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79107              Name Addendum.pdf                           169822       4/22/2022 13:34




                                                              2056
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                                       3467



               All Paths/Locations                                  Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79107              Petition.pdf                                383390      4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79107              Purchase Agreement.pdf                    1258026       4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79107              Qualified Assignement.pdf                 1726139       4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79107              Request For Acknowledgement.pdf             267795      4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79107              Request for Change of Beneficiary.pdf       171366      4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79107              Searches.pdf                              1735870       4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79107              Seller Identification.pdf                   791078      4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79107              Stipulation.pdf                             542208      4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79107              Waiver of IPA.pdf                           199136      4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79108              1115338_2_FinalPackage.pdf               11624755       2/28/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79108              79108 Garrett, Sandra.tv5                    10376      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79108              Annuity Contract.pdf                        499623      4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79108              Application.pdf                             388015      4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79108              Court Order.pdf                             251311      4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79108              Disclosure - TX.pdf                         267546      4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79108              Divorce Documents.pdf                     2770935       4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79108              Docusign Certificate of Completion.pdf      225529      4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79108              List of Dependents.pdf                      228801      4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79108              Marriage License.pdf                        171420      4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79108              Purchase Agreement.pdf                      333522      4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79108              Qualified Assignement.pdf                   390693      4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79108              Request For Acknowledgement.pdf             268597      4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79108              Request for Change of Beneficiary.pdf       169032      4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79108              Searches.pdf                              1330570       4/22/2022 13:49




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                                       3467



               All Paths/Locations                                  Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79108              Seller Identification.pdf                   635970       4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79108              Settlement Agreement.pdf                    982537       4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79108              Stipulation.pdf                           2480895        4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79108              Waiver of IPA.pdf                           198073       4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79109              1876809_1_FinalPackage.pdf               16338443        2/28/2022 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79109              79109 Flores, Sylvia.tv5                       9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79109              Application.pdf                             294484       4/22/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79109              Court Order.pdf                           1060433        4/22/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79109              Disclosure - TX.pdf                         251154       4/22/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79109              Docusign Certificate of Completion.pdf      165317       4/22/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79109              List of Dependents.pdf                      183756       4/22/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79109              Order of Dismissal.pdf                      119579       4/22/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79109              Purchase Agreement.pdf                      227240       4/22/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79109              Request For Acknowledgement.pdf             258734       4/22/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79109              Searches.pdf                              1377077        4/22/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79109              Seller Identification.pdf                 2626531        4/22/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79109              Stipulation.pdf                           3931152        4/22/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79109              Waiver of IPA.pdf                           172894       4/22/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79110              1712689_2_FinalPackage.pdf               20702118        2/28/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79110              79110 Nold, Mathew.tv5                       14647       10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79110              Annuity Contract.pdf                        680975       4/22/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79110              Application.pdf                             283284       4/22/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79110              Benefits Letter.pdf                         404907       4/22/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79110              Court Order.pdf                             260516       4/22/2022 14:22




                                                                2058
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                                       3467



               All Paths/Locations                                  Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79110              Disclosure - KS.pdf                         176158       4/22/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79110              Docusign Certificate of Completion.pdf      126189       4/22/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79110              List of Dependents.pdf                      180179       4/22/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79110              Order Approving Settlement.pdf              153189       4/22/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79110              Pleadings.pdf                               111744       4/22/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79110              Purchase Agreement.pdf                   10878802        4/22/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79110              Request For Acknowledgement.pdf             247767       4/22/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79110              Searches.pdf                              1192505        4/22/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79110              Seller Identification.pdf                 5371876        4/22/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79110              Waiver of IPA.pdf                           199128       4/22/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79111              1336470_2_FinalPackage.pdf                5013796        2/28/2022 21:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79111              79111 Roberts, Ember.tv5                       9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79111              Annuity Contract.pdf                         93963       4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79111              Application.pdf                             369829       4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79111              Court Order.pdf                             204759       4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79111              Disclosure - SC.pdf                         269002       4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79111              Docusign Certificate of Completion.pdf      263928       4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79111              List of Dependents.pdf                      181431       4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79111              Order Approving Settlement.pdf              348299       4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79111              Purchase Agreement.pdf                      303062       4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79111              Qualified Assignement.pdf                   363337       4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79111              Request For Acknowledgement.pdf             239419       4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79111              Request for Change of Beneficiary.pdf       170799       4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79111              Searches.pdf                              1229061        4/22/2022 14:49




                                                              2059
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                                       3467



               All Paths/Locations                                  Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79111              Stipulation.pdf                            407941       4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79111              Waiver of IPA.pdf                          198718       4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79112              1060783_2_FinalPackage.pdf              11865103        2/28/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79112              79112 Holguin, Rolando.tv5                    9956      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79112              Application.pdf                            363040       4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79112              Court Order.pdf                          2116519        4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79112              Credit Report.pdf                          106102       4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79112              Declaration.pdf                          1828668        4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79112              Disclosure - CA.pdf                        181259       4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79112              Disclosure - IL.pdf                        176406       4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79112              Docusign cert.pdf                          191522       4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79112              Drivers License.pdf                        576676       4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79112              Notice of Transfer.pdf                     188939       4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79112              Proof of service.pdf                       195010       4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79112              Purchase Agreement.pdf                   1004607        4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79112              Qualified Assignement.pdf                  637055       4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79112              Request For Acknowledgement.pdf            150656       4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79112              Request for Change of Beneficiary.pdf      159881       4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79112              Searches.pdf                             1285676        4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79112              Settlement Agreement.pdf                 1399533        4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79112              Stipulation.pdf                            503521       4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79113              1859599_1_FinalPackage.pdf               6758573        2/28/2022 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79113              79113 hearing docket.pdf                   222019       4/27/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79113              79113 Jameson, Alexis.tv5                   10278       10/9/2024 17:34




                                                                2060
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2062 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79113              Application.pdf                            354989       4/27/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79113              Court Order.pdf                            180288       4/27/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79113              Credit Report.pdf                          112623       4/27/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79113              Docusign Cert.pdf                          124494       4/27/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79113              Notice of transfer.pdf                     156962       4/27/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79113              Permit Identification.pdf                1883377        4/27/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79113              Purchase Agreement.pdf                     472538       4/27/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79113              Request For Acknowledgement.pdf            198309       4/27/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79113              Request for Change of Beneficiary.pdf      987725       4/27/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79113              Searches.pdf                             1366313        4/27/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79113              Settement Documents.pdf                  1025176        4/27/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79113              Verbal Conf of AC information.pdf          175637       4/27/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79114              703591_4_FinalPackage.pdf                5491779        2/25/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79114              79114 Moreno, Eloisa.tv5                      9963      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79114              Annuity Contract.pdf                       359209       4/27/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79114              Application.pdf                            477288       4/27/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79114              Court Order.pdf                            346792       4/27/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79114              Credit Report.pdf                          262964       4/27/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79114              Disclosure - TX.pdf                        331802       4/27/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79114              Divorce decree.pdf                       2428195        4/27/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79114              Docusign certs.pdf                         300356       4/27/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79114              Drivers License.pdf                        404314       4/27/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79114              Notice of Transfer.pdf                     305857       4/27/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79114              Purchase Agreement.pdf                     628392       4/27/2022 12:47




                                                             2061
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2063 of
                                       3467



               All Paths/Locations                                 Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79114              Request For Acknowledgement.pdf            306030       4/27/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79114              Searches.pdf                             4748766        4/27/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79114              Settlement Agreement exception.pdf         550207       4/27/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79115              694842_4_FinalPackage.pdf               10043370        2/28/2022 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79115              79115 Mclean, Kyle.tv5                      10425       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79115              Application.pdf                            366605       4/27/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79115              Court Order.pdf                            421313       4/27/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79115              Credit Report.pdf                          104776       4/27/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79115              Docusign certs.pdf                         168639       4/27/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79115              Drivers License.pdf                      5870613        4/27/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79115              Notice of Hearing.pdf                      243638       4/27/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79115              Purchase Agreement.pdf                     576538       4/27/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79115              Request For Acknowledgement.pdf            150233       4/27/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79115              Request for Change of Beneficiary.pdf       96452       4/27/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79115              Searches.pdf                             1235337        4/27/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79115              Settlement Agreement.pdf                   258901       4/27/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79115              Stipulation.pdf                            744154       4/27/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79116              1865754_1_FinalPackage.pdf              17692018        2/28/2022 20:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79116              79116 Stephen III, Edward.tv5                 9996      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79116              Application.pdf                            679575       4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79116              Court Order.pdf                          1625033        4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79116              Credit Report.pdf                          256507       4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79116              Disclosure - AZ.pdf                        417560       4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79116              Disclosure - CO.pdf                        417525       4/27/2022 15:20




                                                                2062
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2064 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79116              Disclosure - TX.pdf                        417336      4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79116              Docusign cert.pdf                          412815      4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79116              Notice of Transfer.pdf                     323403      4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79116              PI Case Docket.pdf                         283191      4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79116              Proof of Residency.pdf                     332130      4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79116              Purchase Agreement.pdf                   2329089       4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79116              Qualified Assignment Page.pdf              366501      4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79116              Request For Acknowledgement.pdf            294916      4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79116              Request for Change of Beneficiary.pdf      507903      4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79116              Searches.pdf                             2271881       4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79116              Seller Identification.pdf                3938011       4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79116              Stipulation.pdf                          5630905       4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79117              452863_11_FinalPackage.pdf              15594194       2/24/2022 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79117              79117 Wyniemko, Kenneth.tv5                 10374      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79117              Annuity Contract.pdf                       678961      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79117              Application.pdf                            356597      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79117              Court Order.pdf                            329837      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79117              Credit Report.pdf                          104298      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79117              Declaration.pdf                            224416      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79117              Disclosure - MI.pdf                        168987      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79117              Disclosure - TX.pdf                        168970      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79117              Divorce decree.pdf                       1137388       4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79117              Docusign Cert.pdf                          866680      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79117              Drivers License.pdf                        136430      4/27/2022 19:47




                                                                2063
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                                       3467



               All Paths/Locations                                 Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79117              Notice of transfer.pdf                       178488      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79117              Purchase Agreement.pdf                       452728      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79117              Qualified Assignment.pdf                     325475      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79117              Release Agreement.pdf                      1742015       4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79117              Request For Acknowledgement.pdf              150673      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79117              Request for Change of Beneficiary.pdf        170378      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79117              Searches.pdf                               1225098       4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79117              Stipulation.pdf                            6239437       4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79118              375010_4_FinalPackage.pdf                  9887364       2/25/2022 17:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79118              79118 Brewster, Philip.tv5                    10124      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79118              Annuity Contract.pdf                         232173      4/27/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79118              Application.pdf                              371475      4/27/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79118              Benefits Letter.pdf                          180758      4/27/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79118              Court Order.pdf                            1356402       4/27/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79118              Credit Report.pdf                            105666      4/27/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79118              Disclosure - NY.pdf                        1029801       4/27/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79118              Docusign certs.pdf                           128989      4/27/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79118              Drivers License.pdf                           85761      4/27/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79118              Infants Order.pdf                            214943      4/27/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79118              New - Brewster, Philip (ack letter).pdf       77726       2/9/2024 16:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79118              Notice of transfer.pdf                       157188      4/27/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79118              Purchase Agreement.pdf                     3292724       4/27/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79118              Reasons for Transfer.pdf                   1248865       4/27/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79118              Request For Acknowledgement.pdf              150700      4/27/2022 20:24




                                                                2064
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                                       3467



               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79118              Request for Change of Beneficiary.pdf      170041       4/27/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79118              Searches.pdf                             1299904        4/27/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79118              Seller Affidavit.pdf                       315154       4/27/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79120              1859592_1_FinalPackage.pdf               4532229         2/25/2022 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79120              79120 Colburn, Gloria.tv5                     9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79120              Annuity Contract.pdf                       481036        5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79120              Application.pdf                            316221        5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79120              Bankruptcy Search.pdf                      562450        5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79120              Benefits Letter.pdf                        130536        5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79120              Court Order.pdf                            289451        5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79120              Credit Report.pdf                          105348        5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79120              Disclosure - IL.pdf                        175259        5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79120              Drivers License.pdf                        277493        5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79120              Judgement.pdf                              555383        5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79120              Lien and Judgment Search.pdf               643258        5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79120              Proof of Service.pdf                       190878        5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79120              Purchase Agreement.pdf                     609863        5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79120              Qualified Assignement.pdf                  340609        5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79120              Settlement Agreement.pdf                   426213        5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79120              UCC Search.pdf                             131215        5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79121              1751664_1_FinalPackage.pdf              31132217        2/23/2022 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79121              79121 Eaglesmith, Jaylyn.tv5                  9970      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79121              Annuity Contract.pdf                     2172442         5/3/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79121              Application.pdf                            286976        5/3/2022 13:46




                                                              2065
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2067 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79121              Bankruptcy Search.pdf                     562101        5/3/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79121              Court Order.pdf                           637305        5/3/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79121              Credit Report.pdf                         104020        5/3/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79121              Disclosure - CA.pdf                       181437        5/3/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79121              Drivers License.pdf                       217452        5/3/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79121              Lien and Judgment Search.pdf              554956        5/3/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79121              Proof of Service.pdf                      227401        5/3/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79121              Purchase Agreement.pdf                    420011        5/3/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79121              Seller Affidavit.pdf                      208490        5/3/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79121              Settlement Agreement.pdf               18095894         5/3/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79121              UCC Search.pdf                            132049        5/3/2022 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79122              1866641_1_FinalPackage.pdf             15400275        2/28/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79122              79122 Ciprian, Cyrrus.tv5                    9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79122              Annuity Contract.pdf                      407870        5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79122              Application.pdf                           286646        5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79122              Bankruptcy Search.pdf                     390688        5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79122              Court Order.pdf                         1735561         5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79122              Credit Report.pdf                         106098        5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79122              Disclosure - FL.pdf                       256035        5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79122              Drivers License.pdf                     2134285         5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79122              Lien and Judgment Search.pdf              566234        5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79122              POR.pdf                                 2409148         5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79122              Purchase Agreement.pdf                    375302        5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79122              Qualified Assignement.pdf                 560427        5/3/2022 14:25




                                                              2066
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                                       3467



               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79122              Settlement Agreement.pdf                 627942        5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79122              Stipulation.pdf                        4978495         5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79122              UCC Search.pdf                           130906        5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79123              546381_3_FinalPackage.pdf             18168230        2/28/2022 19:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79123              79123 Kimbro, Deltrin.tv5                   9996      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79123              Annuity Contract.pdf                   4448881         5/3/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79123              Application.pdf                          322897        5/3/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79123              Bankruptcy Search.pdf                    561352        5/3/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79123              Court Order.pdf                          306412        5/3/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79123              Credit Report.pdf                        109779        5/3/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79123              Disclosure - OH.pdf                      262945        5/3/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79123              Lien and Judgment Search.pdf             550443        5/3/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79123              Purchase Agreement.pdf                   679425        5/3/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79123              Stipulation.pdf                        4189837         5/3/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79123              UCC Search.pdf                           131537        5/3/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79125              1342525_1_FinalPackage.pdf            14182989         2/25/2022 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79125              79125 Salinas, Kiana.tv5                    9967      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79125              Annuity Contract.pdf                   6818763        5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79125              Application.pdf                          366561       5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79125              Bankruptcy Search.pdf                    421664       5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79125              Court Order.pdf                          816233       5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79125              Credit Report.pdf                        106355       5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79125              Disclosure - CA.pdf                      159691       5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79125              Disclosure - IL.pdf                      169827       5/11/2022 14:50




                                                                2067
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2069 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79125              Disclosure - TX.pdf                      169705       5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79125              Docket Information.pdf                   213761       5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79125              Drivers License.pdf                      592516       5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79125              Lien and Judgment Search.pdf             612863       5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79125              NASP Search.pdf                          162299       5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79125              Purchase Agreement.pdf                   711121       5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79125              Stipulation.pdf                        3347636        5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79125              UCC Search.pdf                           129216       5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79127              1855678_1_FinalPackage.pdf            10135379        2/28/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79127              79127 Espinoza, Brandon.tv5                 9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79127              Annuity Contract.pdf                     157940       5/10/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79127              Application.pdf                          226104       5/10/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79127              Bankruptcy Search.pdf                    276472       5/10/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79127              Court Order.pdf                          161054       5/10/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79127              Credit Report.pdf                        113313       5/10/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79127              Disclosure - SC.pdf                      163199       5/10/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79127              Drivers License.pdf                    6319206        5/10/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79127              Lien and Judgment.pdf                    266167       5/10/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79127              Purchase Agreement.pdf                   491361       5/10/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79127              Stipulation.pdf                        2584453        5/10/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79127              UCC Search.pdf                           113202       5/10/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79128              1871157_1_FinalPackage.pdf            15244164        2/24/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79128              79128 Garcia, Lex.tv5                     10129       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79128              Annuity Contract.pdf                     414694        5/9/2022 19:28




                                                                2068
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2070 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79128              Application.pdf                          297352        5/9/2022 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79128              Bankruptcy Search.pdf                    560854        5/9/2022 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79128              Court Order.pdf                          251088        5/9/2022 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79128              Credit Report.pdf                        105008        5/9/2022 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79128              Drivers License.pdf                    4879117         5/9/2022 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79128              Lien and Judgment Search.pdf             587036        5/9/2022 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79128              Qualified Assignement.pdf                487419        5/9/2022 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79128              Settlement Agreement.pdf               2265349         5/9/2022 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79128              Stipulation.pdf                        4549235         5/9/2022 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79129              1876049_1_FinalPackage.pdf             9511457        2/28/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79129              79129 Keyes, Preston.tv5                    9808      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79129              Annuity Contract-Partial.pdf             199172        5/9/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79129              Application.pdf                          284541        5/9/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79129              Bankruptcy Search.pdf                    426914        5/9/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79129              Court Order.pdf                          309233        5/9/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79129              Credit Report.pdf                        106699        5/9/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79129              Disclosure - IL.pdf                      264177        5/9/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79129              Disclosure - KS.pdf                      264198        5/9/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79129              Drivers License.pdf                    2518986         5/9/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79129              Lien and Judgment Search.pdf             613050        5/9/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79129              Proof of Service.pdf                     110019        5/9/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79129              Purchase Agreement.pdf                   844714        5/9/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79129              Stipulation.pdf                        3468459         5/9/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79129              UCC Search.pdf                           131128        5/9/2022 19:01




                                                                2069
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2071 of
                                       3467



               All Paths/Locations                                  Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79130              1881240_1_FinalPackage.pdf                     12345996        2/25/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79130              79130 Court Order.pdf                           6222179         8/3/2023 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79130              79130 O'Donnell, Kelly.tv5                           9817      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79130              Application.pdf                                   108902        6/2/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79130              Assignment and Assumption Agreement.pdf           317098        6/2/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79130              Assignment of Payments.pdf                        147583        6/2/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79130              Disclosure.pdf                                  1679122         6/2/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79130              NOH.pdf                                           621324        6/2/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79130              Petition.pdf                                    2422598         6/2/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79130              Purchase Agreement.pdf                          2430980         6/2/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79130              Searches.pdf                                      845720        6/2/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79130              Seller Identification.pdf                         167811        6/2/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79130              Settlement Agreement.pdf                          518656        6/2/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79130              Statement of Professional Represrntstion.pdf       81325        6/2/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79130              Verification of Benefits.pdf                      233913        6/2/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79131              1711756_3_FinalPackage.pdf                     20629532        2/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79131              79131 Walker, Christopher.tv5                      10148       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79131              Application.pdf                                   344357       4/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79131              Benefits Letter.pdf                               345496       4/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79131              Court Order.pdf                                 2821347        4/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79131              Credit Report.pdf                                  79303       4/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79131              Disclosure - CT.pdf                               249190       4/28/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79131              Disclosure - WV.pdf                               248458       4/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79131              Docusign.pdf                                      128527       4/28/2022 15:23




                                                               2070
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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79131              Minors compromise.pdf                           230790      4/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79131              New - Walker, Christopher (ack letter).pdf      792190       2/9/2024 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79131              NOH.pdf                                         665421      4/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79131              Petition.pdf                                    967152      4/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79131              Purchase Agreement.pdf                       18113344       4/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79131              Request For Acknowledgement.pdf                 169964      4/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79131              Searches.pdf                                  1912207       4/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79131              Seller Identification.pdf                     7307577       4/28/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79131              Settlement Documents .pdf                       158234      4/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79132              616760_4_FinalPackage.pdf                    13276200       2/28/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79132              79132 Kephart, Rhiannon.tv5                      10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79132              Annuity Contract.pdf                            376231      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79132              Application.pdf                                 250418      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79132              Change of Beneficiary.pdf                       112549      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79132              Court Order.pdf                                 919182      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79132              Credit Report.pdf                               109996      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79132              Disclosure - NY.pdf                             207019      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79132              DocuSign.pdf                                     82384      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79132              Drivers License.pdf                           4494827       4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79132              Proof of Service.pdf                            146612      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79132              Purchase Agreement.pdf                          416359      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79132              Qualified Assignement.pdf                       599744      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79132              Request for Change of Beneficiary.pdf           168289      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79132              Searches.pdf                                  1147713       4/28/2022 15:49




                                                              2071
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                                       3467



               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79132              Settlement Agreement.pdf                   571799      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79132              Stipulation.pdf                          3516984       4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79133              1796055_2_FinalPackage.pdf               9928926       2/25/2022 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79133              79133 Williams, Marcus.tv5                  10560      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79133              Annuity Contract.pdf                       819100      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79133              Application.pdf                            302685      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79133              Birth Certificate.pdf                      196135      4/28/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79133              Change of Beneficiary.pdf                  126878      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79133              Court Order.pdf                            437954      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79133              Disclosure - NY.pdf                        285110      4/28/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79133              DocuSign.pdf                               214232      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79133              Petition.pdf                               203339      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79133              Proof of Service.pdf                       259092      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79133              Purchase Agreement.pdf                     631112      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79133              Qualified Assignement.pdf                  604160      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79133              Request For Acknowledgement.pdf            137456      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79133              Request for Change of Beneficiary.pdf      168276      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79133              Searches.pdf                             1211297       4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79133              Seller Identification.pdf                  543213      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79133              Settlement Agreement.pdf                   544313      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79133              SSN.pdf                                    183125      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79133              Stipulation.pdf                          2868426       4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79134              1875722_1_FinalPackage.pdf               6603471       2/25/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79134              79134 Markwell, Desiree.tv5                 10304      10/9/2024 17:34




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               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79134              Annuity Contract.pdf                       332040      4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79134              Application.pdf                            388028      4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79134              Court Order.pdf                            222998      4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79134              Credit Report.pdf                          103969      4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79134              Disclosure - IL.pdf                        268848      4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79134              DocuSign.pdf                               260650      4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79134              Drivers License.pdf                        287475      4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79134              Purchase Agreement.pdf                     591507      4/28/2022 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79134              Qualified Assignement.pdf                  377967      4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79134              Request For Acknowledgement.pdf            149515      4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79134              Request for Change of Beneficiary.pdf      169725      4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79134              Searches.pdf                             1013477       4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79134              Settlement Agreement.pdf                 1144399       4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79134              Stipulation.pdf                            860912      4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79136              1876520_1_FinalPackage.pdf              14441520       2/24/2022 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79136              79136 Canterbury, Ashley.tv5                10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79136              Annuity Contract.pdf                       810156      4/28/2022 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79136              Application.pdf                            321559      4/28/2022 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79136              Court Order.pdf                            422941      4/28/2022 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79136              Credit Report.pdf                          107586      4/28/2022 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79136              Disclosure - FL.pdf                        267075      4/28/2022 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79136              Docusign.pdf                               160722      4/28/2022 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79136              Purchase Agreement.pdf                   1634263       4/28/2022 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79136              Qualified Assignement.pdf                2645335       4/28/2022 17:53




                                                                2073
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                                       3467



               All Paths/Locations                                  Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79136              Request For Acknowledgement.pdf            177688       4/28/2022 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79136              Request for Change of Beneficiary.pdf      169319       4/28/2022 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79136              Searches.pdf                             2277359        4/28/2022 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79136              Settlement Documents.pdf                   392330       4/28/2022 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79136              Stipulation.pdf                          3386272        4/28/2022 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79137              1391030_1_FinalPackage.pdf               8615507        2/28/2022 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79137              79137 Dove, Cameron.tv5                       9967      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79137              Annuity Contract.pdf                       337807       4/28/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79137              Application.pdf                            280229       4/28/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79137              Beneficiary Designation.pdf                607820       4/28/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79137              Court Order.pdf                            424322       4/28/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79137              Credit Report.pdf                          103134       4/28/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79137              Disclosure - NJ.pdf                        271876       4/28/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79137              Docusign.pdf                               146328       4/28/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79137              Minors Compromise.pdf                      163631       4/28/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79137              Premium Payment .pdf                       158256       4/28/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79137              Purchase Agreement.pdf                     548444       4/28/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79137              Request For Acknowledgement.pdf             97502       4/28/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79137              Searches.pdf                               985548       4/28/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79137              Seller Identification.pdf                  242391       4/28/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79137              Stipulation.pdf                          2382340        4/28/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79137              W9.pdf                                   2914383        4/28/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79138              1757796_1_FinalPackage.pdf               5454115        2/23/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79138              79138 Stovall, Jamal.tv5                    10007       10/9/2024 17:30




                                                                2074
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2076 of
                                       3467



               All Paths/Locations                                  Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79138              Annuity Contract.pdf                        194618        4/29/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79138              Application.pdf                             353436        4/29/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79138              Court Order.pdf                           1082532         4/29/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79138              Credit Report.pdf                           104630        4/29/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79138              Disclosure - IL.pdf                         175885        4/29/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79138              DocuSign.pdf                                126228        4/29/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79138              Drivers License.pdf                         480959        4/29/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79138              Petition.pdf                                179138        4/29/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79138              Purchase Agreement.pdf                    1007284         4/29/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79138              Qualified Assignement.pdf                   117988        4/29/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79138              Searches.pdf                              1109143         4/29/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79138              Settlement Agreement.pdf                    220940        4/29/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79138              Stipulation.pdf                             421774        4/29/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79140              1381513_1_FinalPackage.pdf                3351485        2/28/2022 22:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79140              79140 Jimenez, Hector.tv5                      9977      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79140              Annuity.pdf                                 605806        4/29/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79140              Application.pdf                             274487        4/29/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79140              Court Order.pdf                             266746        4/29/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79140              Credit Report.pdf                           105858        4/29/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79140              Disclosure - CA.pdf                         177942        4/29/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79140              DocuSign.pdf                                146890        4/29/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79140              New - Jimenez, Hector (ack letter).pdf      109055        2/9/2024 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79140              Petition.pdf                                238348        4/29/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79140              Proof of Service.pdf                        194126        4/29/2022 9:56




                                                                2075
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2077 of
                                       3467



               All Paths/Locations                                   Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79140              Purchase Agreement.pdf                      427739       4/29/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79140              Request For Acknowledgement.pdf             183428       4/29/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79140              Searches.pdf                                835965       4/29/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79140              Seller Identification.pdf                   275440       4/29/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79140              Settlement Documents.pdf                    185527       4/29/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79141              243030_3_FinalPackage.pdf                 4466942       2/28/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79141              79141 Miller, Lukas.tv5                      10301      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79141              Annuity Contract.pdf                        558069      4/22/2022 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79141              Application.pdf                             303116      4/22/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79141              Bankruptcy Search.pdf                       351940      4/22/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79141              Credit Report.pdf                           104669      4/22/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79141              Disclosure - MN.pdf                         173033      4/22/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79141              Drivers License.pdf                         313809      4/22/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79141              New - Miller, Lukas (ack and CO).pdf        520680       2/9/2024 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79141              Notice of Sale.pdf                          178723      4/22/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79141              Purchase Agreement.pdf                      270572      4/22/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79141              Request For Acknowledgement.pdf             114198      4/22/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79141              Request for Change of Beneficiary.pdf       659748      4/22/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79141              Searches.pdf                                637371      4/22/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79141              Seller Affidavit.pdf                        190787      4/22/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79141              Settlement Order.pdf                        170883      4/22/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79141              Transaction Facilitation Agreement.pdf      470590      4/22/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79141              Unexecuted Court Order.pdf                  161318      4/22/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79141              W9.pdf                                      548374      4/22/2022 13:40




                                                              2076
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                                       3467



               All Paths/Locations                                   Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              675159_1_FinalPackage.pdf                   8731326        2/28/2022 20:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              79142 Murray, Jeffrey.tv5                        9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              Annuity Contract Specifications.pdf           112190       4/22/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              Application.pdf                               314639       4/22/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              Bankruptcy Search.pdf                         353013       4/22/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              Comprehensive Report.pdf                      828161       4/22/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              Court Order.pdf                               205397       4/22/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              Credit Report.pdf                             111358       4/22/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              Customer Service Verbal Confirmation.pdf      102918       4/22/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              Disclosure - NY.pdf                         2002825        4/22/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              Disclosure - PA.pdf                           183800       4/22/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              DocuSign Cert_.pdf                            274746       4/22/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              Drivers License.pdf                           338209       4/22/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              Files List.pdf                                 98501       4/22/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              Infants Compromise Order.pdf                1610851        4/22/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              Notice of Sale.pdf                            186567       4/22/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              POD Questionnaire.pdf                         516828       4/22/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              Purchase Agreement.pdf                        373417       4/22/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              Searches.pdf                                  672378       4/22/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              Seller Affidavit.pdf                        1239887        4/22/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              Settlement Agreement.pdf                      629652       4/22/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              Statement of Irrevocable Guarantee.pdf        123343       4/22/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              Submission Package.pdf                        215992       4/22/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              Uniform Qualified Assignment.pdf              209055       4/22/2022 17:15




                                                               2077
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                                       3467



               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79142              Verification.pdf                           178421       4/22/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              1382915_2_FinalPackage.pdf              12505360        2/25/2022 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              79143 Edwards, Thomas.tv5                     9986      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              Annuity Contract.pdf                       197786       4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              Application.pdf                            371262       4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              Comprehensive Report.pdf                   835682       4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              Court Order.pdf                            264716       4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              Credit Report.pdf                           96684       4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              Disclosure - OR.pdf                        363537       4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              Drivers License.pdf                        211938       4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              List of Files.pdf                           98009       4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              Minors Compromise.pdf                      226509       4/25/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              Notice of Sale.pdf                         157281       4/25/2022 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              Pacer Search.pdf                           449663       4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              Proof of Domicile.pdf                      779750       4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              Purchase Agreement.pdf                   2139347        4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              Qualified Assignement.pdf                  149731       4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              Request For Acknowledgement.pdf            150211       4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              Request for Change of Beneficiary.pdf      167879       4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              Searches.pdf                               139732       4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              Seller Affidavit.pdf                       155358       4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              Settlement Agreement.pdf                   363378       4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              SSC.pdf                                    359855       4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              Stipulation.pdf                          3458591        4/25/2022 10:26




                                                                  2078
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                                       3467



               All Paths/Locations                                  Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              UCC Search.pdf                             217009       4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79143              Westlaw Search.pdf                         584983       4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79145              1493625_8_FinalPackage.pdf              12062890        2/28/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79145              79145 Harris, Vincent.tv5                     9986      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79145              Annuity Contract.pdf                       370183       4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79145              Court Order.pdf                            337080       4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79145              Credit Report.pdf                          114075       4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79145              Docusign Cert_.pdf                          97376       4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79145              List of Files.pdf                           97338       4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79145              Minors Compromise.pdf                      584173       4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79145              Name Adendum.pdf                            81042       4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79145              Notice of Sale.pdf                         162548       4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79145              Pacer Search.pdf                           446152       4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79145              Place of Domicile.pdf                      358610       4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79145              Purchase Agreement.pdf                     416295       4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79145              Qualified Assignement.pdf                  675510       4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79145              Request for Change of Beneficiary.pdf      167772       4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79145              Seller Identification.pdf                  308130       4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79145              SSC.pdf                                    102376       4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79145              Stipulation.pdf                          6933772        4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79145              Submission Package.pdf                     155938       4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79145              Westlaw Search.pdf                         792473       4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79146              1844073_2_FinalPackage.pdf               5884380        2/28/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79146              79146 Griffin, William.tv5                    9987      10/9/2024 17:27




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                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79146              Annuity Contract.pdf                      662885      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79146              Application.pdf                           329013      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79146              Assignment of Payment Rights.pdf          180961      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79146              Case Summary.pdf                          184158      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79146              Court Order.pdf                         1358444       4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79146              Credit Report.pdf                         116838      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79146              Disclosure - CA.pdf                       180008      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79146              Docusign Cert_.pdf                        145805      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79146              Drivers License.pdf                       374470      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79146              List of Files.pdf                          95327      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79146              Pacer Search.pdf                          447951      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79146              Purchase Agreement.pdf                    469125      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79146              Request For Acknowledgement.pdf           202545      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79146              Seller Affidavit.pdf                      149867      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79146              Stipulation.pdf                           769545      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79146              Submission Package.pdf                    180334      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79146              UCC Search.pdf                            406135      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79146              Verification.pdf                          159772      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79146              Westlaw Search.pdf                        563072      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79149              1771723_1_FinalPackage.pdf              6720441       2/28/2022 18:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79149              79149 Smith, Alfonzo.tv5                   10301      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79149              Annuity.pdf                               231528      4/26/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79149              Application.pdf                           294043      4/26/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79149              Benefits Letter.pdf                        79200      4/26/2022 11:12




                                                                  2080
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2082 of
                                       3467



               All Paths/Locations                                  Unified Title        File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79149              Court Order.pdf                             2431003        4/26/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79149              Credit Report.pdf                             108511       4/26/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79149              Disclosure - TX.pdf                           242827       4/26/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79149              DocuSign.pdf                                  127215       4/26/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79149              Drivers License.pdf                           339630       4/26/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79149              Purchase Agreement.pdf                        829150       4/26/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79149              Request For Acknowledgement.pdf                91134       4/26/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79149              Request for Change of Beneficiary.pdf         164049       4/26/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79149              Searches.pdf                                1015208        4/26/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79149              Settling Document .pdf                        226327       4/26/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79149              Stipulation.pdf                               644598       4/26/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79150              79150 Jackson, Aaron.tv5                         9976      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79150              801153_1_FinalPackage.pdf                   7695990        2/23/2022 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79150              Annuity Contract.pdf                          770786       4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79150              Application.pdf                               222879       4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79150              Bankruptcy Search.pdf                         234030       4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79150              Court Order.pdf                             4734689        4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79150              Credit Report.pdf                             100213       4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79150              Disclosure - IL.pdf                           151722       4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79150              New - Jackson, Aaron (ack letter).pdf          35881        2/9/2024 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79150              Notice of Child Support Lien.pdf              284904       4/26/2022 11:31
Saiph consulting|\Audit Materials Received-   Notice of Sale and Assignment of Payment
SuttonPark\Closing Binders\79150              Rights.pdf                                    190064       4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79150              Purchase Agreement.pdf                        335519       4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79150              Qualified Assignement.pdf                     159117       4/26/2022 11:31




                                                                2081
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                                       3467



               All Paths/Locations                                  Unified Title               File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79150              Request For Acknowledgement.pdf                      226094       4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79150              Request for Change of Beneficiary.pdf                149906       4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79150              Verbal Confirmation of Benefits.pdf                   91894       4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79150              Westlaw Search.pdf                                   520186       4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79151              1873600_1_FinalPackage.pdf                         8890098        2/25/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79151              79151 Alvarado, Jordan.tv5                              9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79151              Application.pdf                                      441701       4/26/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79151              Bankruptcy Search.pdf                                420071       4/26/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79151              Benefits Letter.pdf                                  510558       4/26/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79151              Court Order.pdf                                      986291       4/26/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79151              Credit Report.pdf                                    109395       4/26/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79151              Disclosure - TX.pdf                                  193848       4/26/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79151              Docusign Cert_.pdf                                   225471       4/26/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79151              Drivers License.pdf                                1180412        4/26/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79151              List of Files.pdf                                     96968       4/26/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79151              Notice of Sale-Assignment of Payment Rights.pdf      150162       4/26/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79151              Purchase Agreement.pdf                             4295635        4/26/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79151              Request For Acknowledgement.pdf                      150317       4/26/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79151              Request to Conceal Personal Information.pdf          199780       4/26/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79151              Settlement Agreement Request.pdf                     104632       4/26/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79151              Submission Package.pdf                               236185       4/26/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79151              Verbal Confirmation of Available Benefits.pdf        103013       4/26/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79151              Westlaw Search.pdf                                   690616       4/26/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              1396915_5_FinalPackage.pdf                        23300412         2/28/2022 9:14




                                                                  2082
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2084 of
                                       3467



               All Paths/Locations                                  Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              79152 Beasley, Barbara.tv5                            10689      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              Amended Notice of Hearing.pdf                        226540       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              Application.pdf                                    1117994        5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              Benefits Letter.pdf                                  472351       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              Change of Beneficiary.pdf                            112251       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              Court Order.pdf                                    1410656        5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              Credit Report.pdf                                     83688       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              Disclosure - AZ.pdf                                  699876       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              Disclosure - CO.pdf                                  829268       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              Disclosure - SC.pdf                                  802266       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              Divorce Settlement Agreement.pdf                     950295      10/9/2024 21:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              Divorce.pdf                                          881874       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              DocuSign Certificate.pdf                             864843       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              Drivers License-Barbara Beasley.pdf                1836540        5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              List of Files.pdf                                     97596       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              MB Address Search James Beasley.pdf                1373204       6/22/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              Notice of Hearing.pdf                                222538       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              Notice of Sale-Assignment of Payment Rights.pdf      170103       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              Pacer Search.pdf                                     322541       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              Proof of Domicile.pdf                                186390       5/3/2022 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              Purchase Agreement.pdf                             8035343        5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              Request For Acknowledgement.pdf                      149913       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              Request for Change of Beneficiary.pdf                404472       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              Stipulation.pdf                                    3180379        5/3/2022 11:52




                                                                  2083
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                                       3467



               All Paths/Locations                                  Unified Title               File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              Submission Package.pdf                               204589        5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              UCC Search.pdf                                       168374        5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79152              Westlaw Search.pdf                                   771745        5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79153              1818913_2_FinalPackage.pdf                        16761252        2/25/2022 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79153              79153 Farrell, Austin.tv5                               9988      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79153              Annuity Contract Certificate.pdf                     267013        5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79153              Application.pdf                                      179155        5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79153              Court Order.pdf                                    3274246         5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79153              Credit Report.pdf                                    272965        5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79153              Disclosure - PA.pdf                                  221840        5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79153              Disclosure - TX.pdf                                  137101        5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79153              DocuSign Certification.pdf                           164422        5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79153              Drivers License.pdf                                  820226        5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79153              Minors Order.pdf                                     214082        5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79153              Notice of Sale-Assignment of Payment Rights.pdf      176330        5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79153              Purchase Agreement.pdf                               296722        5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79153              Request for Change of Beneficiary.pdf                150114        5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79153              Stipulation.pdf                                   10215447         5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79153              UCC Search.pdf                                       108504        5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79153              Verification.pdf                                     186093        5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79153              Westlaw Search.pdf                                17215698         5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              1883306_1_FinalPackage.pdf                        22451861         3/1/2022 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              324 Ltr Filing Notice of Transfer.pdf                 21679       1/28/2022 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              324 Notice of Transfer (w Exs).pdf                 3723387        1/28/2022 18:45




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               All Paths/Locations                                 Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              79154 Raja, Samar.tv5                            10143      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              Acknowledgment of Assignment.pdf              6957416       5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              Annuity Contract.pdf                            186865      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-   Application for Approval of Transfer of SS
SuttonPark\Closing Binders\79154              Payment Rights.pdf                              645745      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78969              Driver License.pdf                              739311      3/14/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78969              IPA Letter.pdf                                1326953       3/14/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78969              Pleadings.pdf                                14851431       3/14/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78969              POD.pdf                                          59447      3/14/2022 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78969              Purchase Agreement.pdf                        2240440       3/14/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78969              Qualified Assignment.pdf                      3968458       3/14/2022 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78969              Searches.pdf                                    482549      3/14/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78969              Settlement Agreement.pdf                      9088381       3/14/2022 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78969              Simms- Closing Binder.pdf                    10500317       3/11/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78969              SSC.pdf                                         402459      3/14/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78969              Stipulation1.pdf                              3988311       3/15/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78969              W2.pdf                                          658537      3/14/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78969              Waiver of Anit-Assignment.pdf                   134601      3/14/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78970              78970 Campbell, Thomique.tv5                     10264      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78970              Application.pdf                                 612007      1/10/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78970              AZ Disclosure.pdf                               139365      3/15/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78970              Benefits Letter.pdf                              28418      3/29/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78970              CA Disclosure.pdf                               244294      3/15/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78970              Closing Binder.pdf                           10639536       3/14/2022 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78970              Court Order.pdf                                 115135       4/7/2022 13:58




                                                               2085
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               All Paths/Locations                                   Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78970              Credit Report.pdf                           28261      1/10/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78970              GA Disclosure.pdf                          110935      3/15/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78970              Infant Compromise Order.pdf                291319      12/7/2021 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78970              NE Disclosure.pdf                          123331      3/15/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78970              NY Disclosure.pdf                          153781      3/15/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78970              Pleadings.pdf                            6580584       3/15/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78970              Purchase Agreement.pdf                   1769019       3/15/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78970              Qualified Assignment.pdf                   193954      12/7/2021 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78970              Searches.pdf                               389088      3/11/2022 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78970              Seller Affidavit.pdf                       144434      3/15/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78970              Seller Identification.pdf                  121249      3/15/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78970              Social Security Card.pdf                   141744      3/15/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78970              Stipulation.pdf                            445100       4/7/2022 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78970              USPS Proof of Disclosure Delivery.pdf       97771      3/14/2022 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78971              78971 Kincaid, Brenda.tv5                   10614      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78971              Affidavit.pdf                              128186      3/15/2022 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78971              Annuity Contract.pdf                     1498040       3/15/2022 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78971              Application.pdf                            135009      3/15/2022 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78971              Assignment Executed.pdf                    243624      3/15/2022 21:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78971              Authorization Release Info.pdf              98320      3/15/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78971              Bankruptcy Search.pdf                      565146      3/15/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78971              Change Beneficiary.pdf                      79928      3/15/2022 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78971              Closing Binder.pdf                      18206384       3/11/2022 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78971              Court order.pdf                            472027      3/14/2022 10:06




                                                                2086
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                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78971              Credit Report.pdf                       625182       3/16/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78971              Disclosure IN.pdf                       105920       3/15/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78971              DocuSign Cert 16E7.pdf                   83639       3/15/2022 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78971              DocuSign Cert 52CF.pdf                   84094       3/15/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78971              Driver License.pdf                    1475014        3/15/2022 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78971              IPA.pdf                                  57080       3/15/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78971              Obituary.pdf                          3332574        3/15/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78971              Pleadings.pdf                        15333341        3/15/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78971              Purchase Agreement.pdf                  349364       3/15/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78971              Searches.pdf                            781171       3/15/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78971              Settlement Agreement.pdf                755065       3/15/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78971              Social Security Card.pdf              2618832        3/16/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78971              USPS Zip Code.pdf                        65904       3/15/2022 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78974              1ECF.pdf                                194150       10/9/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78974              5115.pdf                                113249       3/30/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78974              78974 Willhite, Tyler.tv5                  9799      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78974              AC - Partial.pdf                        118898        1/14/2022 4:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78974              Acknowledgment.pdf                      147022        4/3/2023 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78974              Application.pdf                          42870       1/14/2022 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78974              Assignment.pdf                          149675       3/30/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78974              Court Order.pdf                         258006       3/10/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78974              Credit Report.pdf                        61299       1/26/2022 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78974              Disclosure GA.pdf                        47590       1/14/2022 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78974              Driver License.pdf                      396969        1/14/2022 4:19




                                                                 2087
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                                       3467



               All Paths/Locations                                  Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78974              Pleadings.pdf                                   3576187        3/15/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78974              Proof of social.pdf                               228257        3/9/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78974              Purchase Agreement.pdf                            334933       3/15/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78974              SAR - Willhite.pdf                                 20292       10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78974              Searches.pdf                                         4932      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78974              UCC.pdf                                            48613       10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78976              78976 Wilson, Thomas.tv5                           10205       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78976              Annuity Contract SGQ000037055.pdf                 528875       3/17/2022 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78976              Application.pdf                                    46317       3/17/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78976              Assignment.pdf                                    168695       3/23/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78976              Corrected Purchase Agreement.pdf                  404470       3/22/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78976              Court Order.pdf                                   286709       3/22/2022 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78976              Credit Report.pdf                                  17723       3/11/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78976              Disclosure - OH.pdf                                93771       3/17/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78976              Docusign Certificate 112.pdf                      196478       10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78976              Docusign Certificate 1943.pdf                     204907       10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78976              Docusign Certificate A87.pdf                      207301       10/9/2024 19:54
Saiph consulting|\Audit Materials Received-   Order Approving Settlement of Wrongful Death
SuttonPark\Closing Binders\78976              Claim.pdf                                         117008       3/17/2022 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78976              Pleadings.pdf                                   1289591        3/17/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78976              Purchase Agreement - UNCORRECTED.pdf              312713       3/17/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78976              Qualified Assignment SGQ000037055.pdf             514475       3/17/2022 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78976              Release and Settlement Agreement.pdf              851228       3/17/2022 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78976              Searches.pdf                                       80085       3/17/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78976              Seller Identification.pdf                         126944       3/17/2022 15:34




                                                              2088
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2090 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78976              Social Security Card.pdf                782559       3/22/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78976              Stipulation.pdf                         874600       3/22/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78976              Wilson Closing Binder.pdf             7276278        3/17/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78977              78977 Wilson, Thomas.tv5                 10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78977              Annuity Contract.pdf                    701746       1/19/2022 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78977              Application.pdf                         122944       3/17/2022 16:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78977              Assignment Executed.pdf                 112008       3/23/2022 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78977              Closing Binder.pdf                    4811094        3/17/2022 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78977              Closing Statement.pdf                   423647       10/9/2024 20:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78977              Court Order.pdf                         284647       10/9/2024 20:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78977              Credit Report.pdf                        17723       3/11/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78977              Disclosure.pdf                          239285       3/17/2022 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78977              DocuSign Cert 112A.pdf                  196478       10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78977              DocuSign Cert 143A.pdf                  203884       10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78977              DocuSign Cert DAE9.pdf                  196636       10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78977              ID.pdf                                2001302        3/17/2022 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78977              Pleadings.pdf                         1284890        3/17/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78977              Purchase Agreement Wilson.pdf           501770       3/22/2022 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78977              Qualified Assignment.pdf                631237       1/19/2022 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78977              Searches.pdf                               4421      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78977              Settlement Agreement.pdf              1535955        1/19/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78977              Social Security Card.pdf              1516881        3/22/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78977              Stipulation.pdf                         874600       3/22/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78977              ZIP Code USPS.pdf                        63832       3/17/2022 17:31




                                                                2089
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2091 of
                                       3467



               All Paths/Locations                                 Unified Title              File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              61FE.pdf                                           194538       10/9/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              78980 Beridon, Shawn.tv5                              9810      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              Application.pdf                                     39567       11/8/2021 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              Assignment.pdf                                     148891        3/28/2022 8:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              Authorization.pdf                                   23407       11/8/2021 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              Benefits Letter.pdf                                176872      11/23/2021 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              CA Declaration.pdf                                 107127       12/13/2021 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              certificate.pdf                                    192930       10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              Court Order.pdf                                    126435       3/15/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              Disclosure CA - Corrected.pdf                      320440       10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              Disclosure Statement.pdf                            94102       10/9/2024 18:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              Driver License.pdf                                 677657       10/9/2024 21:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              Email from protective regarding issuer.pdf         191760        3/23/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              image001.png                                          4433
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              Lien Release for 16K.pdf                            61236       10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              LOD.pdf                                             31509       3/14/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              Pleadings.pdf                                    2113186         3/23/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              Policy Info.pdf                                    254025        11/9/2021 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              Purchase Agreement.pdf                             278566        3/16/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              Searches - Updated.pdf                                9841       3/23/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              SSC.pdf                                            333898       10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              Stip - missing issuer and owner signature.pdf      269276       3/23/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              UCC.pdf                                             48330       10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              Updated Credit Report.pdf                           40806       10/9/2024 18:02




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                                       3467



               All Paths/Locations                                 Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78980              Wrongful Death - Memorial Article.pdf                 511276     11/18/2021 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              78981 Ankner, Robert.tv5                               10240      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Acknowledgment.pdf                                     50009       4/1/2022 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Application.pdf                                     2254115       3/17/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Assignment.pdf                                         26232       3/18/2022 9:29
Saiph consulting|\Audit Materials Received-   Authorization for Disclosure of Protected Health
SuttonPark\Closing Binders\78981              Information.pdf                                     2142281       3/17/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Authorizations.pdf                                  2058405       3/17/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Benefits Letter.pdf                                 2050610       3/17/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Certification.pdf                                   2067463       3/17/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Closing Book Robert Ankner.pdf                      8135375       3/14/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Court Order.pdf                                     1733945        7/9/2024 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Credit Report updated.pdf                             108061      3/17/2022 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Disclosure - DE.pdf                                 2006506       3/17/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Disclosure - PA.pdf                                 2013811       3/17/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Docusign Certificate 0D1.pdf                        2031909       3/17/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Docusign Certificate 834.pdf                          213829      10/9/2024 19:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Docusign Certificatre 28E.pdf                       2030646       3/17/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Fasano Report updated.pdf                             114660      3/22/2022 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Medical Questionnaire.pdf                           2115490       3/17/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Nasp Search.pdf                                     2053591       3/17/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Pleadings missing Exhibits.pdf                      2161344       3/17/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Prior Court Order 2006.pdf                          4014548       3/17/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Prior Court Order 2007.pdf                          3215900       3/17/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Proof of Service.pdf                                  361672      3/18/2022 10:27




                                                             2091
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                                       3467



               All Paths/Locations                                 Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Purchase Agreement.pdf                    2306398        3/17/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Request for Various Documents.pdf         2059907        3/17/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Searches updated.pdf                         56937       3/17/2022 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Seller Identification.pdf                   895230       3/17/2022 18:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Settlement Documents.pdf                  4872637       10/27/2021 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              Social Security Card.pdf                    769377       3/17/2022 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78981              UCC Search updated.pdf                       50911       3/17/2022 18:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78982              78982 Perez, Christopher.tv5                   9989      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78982              Application.pdf                             183624       3/16/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78982              Assignment Agreement Executed.pdf            23032       3/18/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78982              Benefit Letter.pdf                           73062       3/16/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78982              Certification of Christopher Perez.pdf       89876       3/16/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78982              Closing Binder.pdf                       10581602        3/14/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78982              Closing Statement Executed.pdf              395221       10/9/2024 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78982              Court Order.pdf                           3924860        3/14/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78982              Credit Report.pdf                           104876       3/16/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78982              Disclosure IL.pdf                            41686       3/16/2022 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78982              Disclosure NE.pdf                            41801       3/16/2022 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78982              Disclosure NY updated.pdf                    48083       3/18/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78982              Disclosure NY.pdf                            51831       3/16/2022 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78982              DocuSign Cert D42F.pdf                      123019       3/16/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78982              Driver License.pdf                        2309395        3/16/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78982              Infant Compromise Order.pdf                 222909       3/16/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78982              NASP.pdf                                     78978       3/16/2022 16:16




                                                              2092
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                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78982              Pleadings.pdf                        5271305       3/16/2022 16:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78982              Purchase Agreement Perez.pdf           315118       3/30/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78982              Searches.pdf                            57706      3/16/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78982              SSN Verification.pdf                    64720      3/30/2022 10:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78982              Stipulation Executed.pdf               726439      3/16/2022 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78982              UCC Search.pdf                          51422      3/16/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78982              ZIP Code USPS.pdf                       66800      3/16/2022 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              78983 Palomo, Francisca.tv5             10240      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              Application.pdf                      1907217        3/15/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              Assignment.pdf                          38146       4/8/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              Authorization.pdf                      399506       3/15/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              Bankruptcy Search.pdf                   51573      3/15/2022 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              Benefits Letter.pdf                    132001       3/15/2022 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              Berwyn Search.pdf                       68686       3/15/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              BinderForDealNumber50767.pdf         7599532       3/14/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              Court Order.pdf                        752623      3/30/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              Credit Report.pdf                       81956      3/15/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              Disclosure DE.pdf                       53064       3/15/2022 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              Disclosure NY.pdf                       50966       3/15/2022 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              Disclosure TX.pdf                       51130       3/15/2022 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              Divorce Decree.pdf                     198006     11/20/2018 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              DocuSign Cert - 2AD9.pdf                23561       3/15/2022 9:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              DocuSign Cert - 3CD8.pdf                23696       3/15/2022 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              DocuSign Cert - D52D.pdf                68363       3/15/2022 9:15




                                                              2093
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                                       3467



               All Paths/Locations                                 Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              Driver License.pdf                        107441       3/15/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              Fasano Report.pdf                          96363     12/10/2021 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              Final Transfer Package.pdf              5805614        2/4/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              HIPAA.pdf                                 224699       3/15/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              Lien Search.pdf                           108027      3/15/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              Medical Questionnaire.pdf                 200852       3/15/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              MR Fasano Report Updated 4-18-22.pdf      117847      4/19/2022 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              NASP Search.pdf                            82634       3/15/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              PI Docket.pdf                           1542792        7/7/2021 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              Pleadings.pdf                           1705862        3/15/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              Purchase Agreement.pdf                    559791       3/15/2022 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              Release of Judgment.pdf                 2267504        3/15/2022 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              Stip - Need SAF Signature.pdf           1279055       3/28/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              Stipulation.pdf                         1174233        4/5/2022 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78983              UCC Search.pdf                            134493      3/15/2022 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78991              78991 King, Hassan.tv5                     10777      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78991              Application.pdf                           138715      10/9/2024 18:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78991              Approval from Settling Court.pdf           82146      3/11/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78991              Assignment Executed.pdf                    39518      10/9/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78991              Benefits Letter.pdf                        18333      10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78991              Closing Binder.pdf                      6312832       3/18/2022 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78991              Closing Statement.pdf                      27096      3/17/2022 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78991              Court Order.PDF                           163252      3/16/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78991              Credit Report.pdf                          33421      3/18/2022 18:35




                                                                2094
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2096 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78991              Disclosure MD.pdf                       156839      3/18/2022 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78991              DocuSign Cert 9588.pdf                  196937      10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78991              Driver License.pdf                      339156      3/18/2022 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78991              Liens and Judgements Search.pdf          82817      3/18/2022 18:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78991              Minors Compromise.pdf                   519080      11/8/2021 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78991              Pleadings.pdf                         1592425       3/18/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78991              Purchase Agreement.pdf                  698538      3/18/2022 18:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78991              Revised Closing Statement.pdf           406763      10/9/2024 20:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78991              Social Security Card.pdf                505827      3/18/2022 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78991              UCC Search.pdf                           94037      3/18/2022 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78991              ZIP Code USPS.pdf                        67040      3/21/2022 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78995              78995 Burrell, Matthew.tv5               10307      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78995              Affidavit in Lieu of SA.pdf             327775      3/15/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78995              Affidavit.pdf                           438227      3/15/2022 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78995              Application.pdf                         284894      3/15/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78995              Assignment.pdf                          164599      3/22/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78995              Bankruptcy Search.pdf                    85619      3/16/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78995              Benefits Letter.pdf                      18209      10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78995              Closing Binder.pdf                   22168716       3/15/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78995              Court Order.pdf                         179856      3/21/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78995              Credit Report.pdf                        33995      3/15/2022 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78995              Disclosure DE.pdf                       360573      3/15/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78995              Disclosure MI.pdf                       340850      3/15/2022 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78995              Disclosure TX.pdf                       342693      3/15/2022 17:21




                                                              2095
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2097 of
                                       3467



               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78995              DocuSign Cert - PA Docs.pdf              246714       10/9/2024 20:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78995              PI Docket.pdf                            273288       3/15/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78995              Pleadings.pdf                         10819505        3/15/2022 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78995              Proof of Disc Delivery.pdf               283960       3/15/2022 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78995              Disclosure MI - MATTHEW BURRELL.pdf       74032       2/16/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78995              Purchase Agreement.pdf                 4894034        3/16/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78995              Searches.pdf                             291991       3/15/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78995              Seller Identification.pdf              2095298        3/15/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78995              Social Security Card.pdf               2644086        3/15/2022 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78995              Stipulation.pdf                          409357       3/21/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78996              14cf.pdf                                 192295       10/9/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78996              78996 Swimm-Simmons, Braidon.tv5          10026       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78996              Application.pdf                           45004       1/28/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78996              Assignment.pdf                            93885       3/23/2022 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78996              B7A1.pdf                                 195941       10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78996              Benefits Letter.pdf                       17859       10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78996              Court Order.pdf                          119348       3/15/2022 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78996              Credit Report.pdf                         35187        2/4/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78996              Disclosure IN.pdf                        122492       1/28/2022 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78996              Disclosure Statement.pdf                 112687       3/16/2022 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78996              Driver License.pdf                     3779581        3/16/2022 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78996              Personal-Liens-Search.pdf                   2165      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78996              Pleadings.pdf                          6749298        3/16/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78996              pos.pdf                                2219222        2/25/2022 12:29




                                                                2096
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2098 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78996              Purchase Agreement.pdf                  443949       3/16/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78996              SAR info.pdf                             70340       3/23/2022 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78996              Searches.pdf                               7766      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78996              SSC.pdf                               2231977        3/23/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78996              Stipulation.pdf                       2550055        3/30/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78996              UCC.pdf                                  65595       10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              1F3A.pdf                                 72807        3/23/2022 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              5ED5.pdf                                 73513        3/23/2022 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              78997 Cuiksa, Jason.tv5                  10240       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              Acknowledgment New 78997.pdf             97849       5/23/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              Acknowledgment.pdf                      270510        5/11/2022 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              Affidavit.pdf                           132426        3/23/2022 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              Amended CO.pdf                          270143        4/6/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              Annuity Schedule.pdf                    470446        3/23/2022 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              Application.pdf                         170216        3/23/2022 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              Benefits Letter.pdf                     478664        3/23/2022 8:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              Court Order.pdf                         267676       10/9/2024 20:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              Credit Report.pdf                       100884        3/23/2022 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              Disclosure DE.pdf                        98808        3/23/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              Disclosure KS.pdf                       119296        3/23/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              Divorce docs.pdf                      2761152        10/9/2024 22:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              Driver License.pdf                      250751        3/23/2022 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              F03F.pdf                                 75030        3/23/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              Fasano Report.pdf                       155342        3/23/2022 8:44




                                                                2097
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                                       3467



               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              HIPAA.pdf                                             664452       3/23/2022 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              Medical Questionnaire.pdf                             875326       3/23/2022 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              Pleadings.pdf                                       4352216        3/23/2022 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              Pre-Closing Book - Rev.pdf                          8409449       3/21/2022 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              Purchase Agreement.pdf                                696509       3/23/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              Searches - Mirobilt.pdf                                59695       3/23/2022 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              Searches.pdf                                          126167       3/23/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              Settlement Statement in lieu of SA.pdf                120672       3/23/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78997              Social Security Card.pdf                              429383       3/23/2022 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              78998 Cuiksa, Jason.tv5                                10241      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Acknowledgment.pdf                                    247088       5/2/2022 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Amended Court Order.pdf                               270151       4/7/2022 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Application.pdf                                       199882      3/23/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Assignment.pdf                                      1431446        4/6/2022 11:01
Saiph consulting|\Audit Materials Received-   Authorization for Disclosure of Protected Health
SuttonPark\Closing Binders\78998              Information.pdf                                       390383      3/23/2022 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Benefits Letter K3873902.pdf                          279842       4/5/2022 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Court Order.pdf                                       270869       4/5/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Credit Report updated.pdf                             114187      3/23/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Cuiksa Assignment.docx                                 25792       4/5/2022 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Cuiksa Closing Binder.pdf                           8409422       3/23/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Disclosure DE.pdf                                     128207       4/5/2022 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Disclosure KS.pdf                                     137273       4/5/2022 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Divorce Documents.pdf                               1166537       3/24/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Docusign Certificate 03F.pdf                           21425      3/23/2022 10:25




                                                              2098
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                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Docusign certificate ED5.pdf             20667      3/23/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Docusign Certificate F3A.pdf             19256      3/23/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Drivers License.pdf                      98615      3/23/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Fasano Report.pdf                       102265      3/23/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Medical Questionnaire.pdf               498809      3/23/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              PI Case Docket.pdf                      219661      3/23/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Pleadings.pdf                         2590084       3/23/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Proof of Disclosure Delivery.pdf        138716      3/23/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Purchase Agreement updated.pdf          511026       4/5/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Searches updated.pdf                    154871      3/23/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Settlement Statement.pdf                327370      3/23/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Social Security Card.pdf                139681      3/23/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78998              Statement in Support of .pdf            269251      3/23/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78999              78999 Mcleod, Patricia.tv5               10304      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78999              Affidavit.pdf                           106453      3/29/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78999              Application.pdf                         159281      3/29/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78999              Assignment Executed.pdf                 907085       4/5/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78999              Bankruptcies Search.pdf                  64570      3/29/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78999              Benefit letter.pdf                    1000300       3/29/2022 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78999              Closing Binder.pdf                    8250256       3/28/2022 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78999              Court Order.pdf                       4523303        3/30/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78999              Credit Report.pdf                        65054      3/29/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78999              Disclosure CO.pdf                       110370      3/29/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78999              Disclosure FL.pdf                        90469      3/29/2022 15:29




                                                              2099
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2101 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78999              Disclosure NE.pdf                        91661      3/29/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78999              DocuSign Cert 745A.pdf                   62968      3/29/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78999              DocuSign Cert EA3F.pdf                   62050      3/29/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78999              Driver License.pdf                       68515      3/29/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78999              Pleadings.pdf                         1242155       3/29/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78999              Prior Order.pdf                         112234      3/29/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78999              Purchase Agreement.pdf                  499482      3/29/2022 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78999              Searches.pdf                             62388      3/29/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78999              Settlement Agreement.PDF                130688      3/28/2017 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78999              Social Security Card.pdf                120698      3/29/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78999              Stipulation.pdf                         593206      3/29/2022 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78999              ZIP Code USPS.pdf                        67148      3/29/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79002              79002 Myers, Mary.tv5                    10014      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79002              Acknowledgement Letter.pdf               30960      3/18/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79002              Application.pdf                          93863       3/18/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79002              Assignment Genex to Morse IRA.pdf        20801       3/18/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79002              Assignment Genex to Sutton.pdf           50980       3/18/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79002              Assignment Morse IRA to Genex.pdf     1617029        3/18/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79002              Assignment StratCap to Genex.pdf         89774       3/18/2022 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79002              Authorization.pdf                        43193       3/18/2022 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79002              Benefits.pdf                             41848       3/18/2022 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79002              COB Request.pdf                          43324       3/18/2022 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79002              Court Order.pdf                         187666       3/18/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79002              Death Cert.pdf                        2032624        3/18/2022 9:43




                                                                2100
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2102 of
                                       3467



               All Paths/Locations                                 Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79002              Disclosure TX.pdf                                    105893       3/18/2022 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79002              IPA.pdf                                               64781       3/18/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79002              Myers Funding Package - Morse.pdf                  3376926       3/15/2022 18:02
Saiph consulting|\Audit Materials Received-   Order Granting Letters of Admin and Appoiniting
SuttonPark\Closing Binders\79002              Admin.pdf                                            101144       3/18/2022 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79002              Purchase Agreement Goldstar to Genex.pdf           4173569        3/18/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79002              Purchase Agreement.pdf                               613122       3/18/2022 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79002              Req for Ack.pdf                                       42226       3/18/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79002              Security Title letter.pdf                             42216       3/18/2022 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79002              Transaction Summary.pdf                               77014       3/18/2022 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79003              79003 Oates, Iyan.tv5                                 14701      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79003              Application.pdf                                      270234       3/16/2022 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79003              Bankruptcy Search.pdf                                124335       3/18/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79003              Benefits Letter.pdf                                   20735       3/16/2022 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79003              Closing Binder.pdf                                17262720        3/18/2022 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79003              Court Order.pdf                                      305430      3/25/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79003              Credit Report.pdf                                     30971       3/16/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79003              DE Disclosure.pdf                                    553676      3/18/2022 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79003              IPA Letter.pdf                                       935397      3/25/2022 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79003              NC Disclosure.pdf                                    581725      3/18/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79003              NY Disclosure.pdf                                    238423      3/18/2022 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79003              Pleadings.pdf                                      7029475       3/18/2022 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79003              Proof of Disclosure Delivery.pdf                     660973       3/18/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79003              Proof of Residence.pdf                               163525       3/18/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79003              Purchase Agreement.pdf                             5274587       3/18/2022 10:07




                                                               2101
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2103 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79003              Searches.pdf                              286699        3/16/2022 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79003              Seller Affidavit.pdf                      551913       3/18/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79003              Seller Identification.pdf                 862612       3/28/2022 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79003              Settlement Agreement Affidavit.pdf        293997       3/18/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79003              Settlement Research.pdf                 3989995        3/18/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79003              Social Security Card.pdf                  740280        3/18/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79003              Stipulation.pdf                           556960       3/25/2022 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79003              TX Disclosure.pdf                         519579       3/18/2022 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79004              79004 Madrid, Karina.tv5                     9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79004              Acknowledgment.pdf                         41578       5/10/2022 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79004              Affidavit in Lieu of SA.pdf                54048       3/17/2022 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79004              Affidavit.pdf                              74917       3/17/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79004              Annuity Docs.pdf                        1068919        10/9/2020 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79004              Application.pdf                           142766       3/15/2022 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79004              Assignment.pdf                            199744       10/9/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79004              Bankruptcy Search.pdf                      76330        3/17/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79004              Court Order.pdf                           311341       3/31/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79004              Credit Report.pdf                         120770       3/15/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79004              Disclosure KY.pdf                          42970       3/17/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79004              Disclosure NY.pdf                          55494       3/17/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79004              Disclosure TX.pdf                          44830       3/17/2022 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79004              Driver License.pdf                         71670        3/17/2022 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79004              Payees Request to Conceal.pdf              17705       3/17/2022 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79004              PI Case Docket.pdf                        935047        10/9/2020 8:57




                                                                2102
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2104 of
                                       3467



               All Paths/Locations                                 Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79004              Pleadings.pdf                                  2727610        3/17/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79004              Purchase Agreement.pdf                           620853       3/17/2022 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79004              Searches.pdf                                     273959        3/17/2022 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79004              Social Security Card.pdf                          76667        3/17/2022 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79004              Tax Lien Release.pdf                             801414      10/22/2020 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79005              79005 Madrid, Karina.tv5                            9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79005              Affidavit in Lieu of SA.pdf                      138654        3/17/2022 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79005              Affidavit.pdf                                    161129        3/17/2022 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79005              Agreement and Stipulation.pdf                    310643        3/15/2022 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79005              Application.pdf                                  142766       3/15/2022 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79005              Assignment.pdf                                   163571       3/21/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79005              Bankruptcy Search.pdf                             76330        3/17/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79005              Benefits Letter.pdf                            2814480        3/21/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79005              Closing Binder.pdf                            18331992         3/17/2022 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79005              Credit Report.pdf                                120770       3/15/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79005              Disclosure MA.pdf                                 52699        3/17/2022 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79005              Disclosure TX.pdf                                 44853        3/17/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79005              Driver License.pdf                                71670        3/17/2022 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79005              New - Agreement and Stipulation - NO CO.pdf      235199       3/21/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79005              PI Docket Search Results.pdf                  12201066        3/15/2022 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79005              Purchase Agreement.pdf                           766443        3/17/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79005              Request for Acknowledgment.pdf                   136730        3/17/2022 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79005              Searches.pdf                                     273959        3/17/2022 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79005              Social Security Card.pdf                          76667        3/17/2022 9:29




                                                              2103
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2105 of
                                       3467



               All Paths/Locations                                   Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79005              Tax Lien Release.pdf                       801414     10/22/2020 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79005              Updated Agreement and Stipulation.pdf      235199      3/21/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79007              79007 Martinez, Miguel.tv5                  10304      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79007              Acknowledgment.pdf                         529890      4/15/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79007              Annuity Contract.pdf                       570608      3/30/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79007              Application.pdf                            207980      3/17/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79007              Assignment Agreement.pdf                    50271      3/30/2022 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79007              Benefits Letter.pdf                         48741      3/30/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79007              Court Order.pdf                          1167283        3/30/2022 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79007              Disclosure - IA.pdf                        263292      3/17/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79007              Disclosure - TX.pdf                        185402      3/17/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79007              Disclosure Affidavit.pdf                   228749      3/17/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79007              Judgment.pdf                               170507      3/17/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79007              Pleadings.pdf                           16302686       3/17/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79007              Purchase Agreement.pdf                     814859      3/17/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79007              Qualified Assignment.pdf                   350135      3/30/2022 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79007              Searches.pdf                                17342      3/17/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79007              Seller Affidavit.pdf                       266574      3/17/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79007              Seller Identification.pdf                  131376      3/17/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79007              Stipulation.pdf                            503500       3/30/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79007              Tovar Assignment.docx                       26311      3/30/2022 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79007              Tovar Closing Binder.pdf                18489648       3/17/2022 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              79015 Thompson, Sky.tv5                     11666      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              Acknowledgment New 79015.pdf                51210      6/15/2022 12:16




                                                                2104
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                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              Additional DocuSign Certificate.pdf      180508      10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              Application.pdf                          217189       4/5/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              Articles of Inc.pdf                       29264       4/5/2022 12:19
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\79015              Information.pdf                          199821       4/5/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              Authorization to Release.pdf             147021       4/5/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              Benefits Letter.pdf                      294470       4/5/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              Closing Binder.pdf                     4952728       3/18/2022 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              Court Order.pdf                          429560       4/7/2022 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              Credit Report.pdf                        337888       4/5/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              Declaration.pdf                          173517       4/5/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              Disclosure - CT.pdf                      212317       4/5/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              Disclosure - NV.pdf                      167929       4/5/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              Disclosure - PA.pdf                      212319       4/5/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              Disclosure Affidavit.pdf                 144584       4/5/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              Divorce Decree.pdf                       697015       4/5/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              DocuSign Certificates.pdf                 12727       4/5/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              Fasano.pdf                               106047       4/5/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              Medical Questionnaire.pdf                344243       4/5/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              Pleadings.pdf                          1350662        4/5/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              Purchase Agreement.pdf                   292525       4/5/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              Searches.pdf                              22155       4/7/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              Seller Identification.pdf                971884       4/5/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              Settlement Agreement partial.pdf         385582       4/5/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              Social Security Card.pdf                  53893       4/5/2022 12:19




                                                              2105
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                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79015              Stipulation.pdf                         420077        4/8/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79016              79016 Houston-Jones, Kylan.tv5           10126       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79016              Application updated.pdf                  49266        2/4/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79016              Benefit Letter.pdf                       22349      12/28/2021 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79016              Closing Binder.pdf                   16856063        3/21/2022 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79016              Closing Statement-Updated.pdf           412133       10/9/2024 20:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79016              Closing Statement.pdf                 3121495        3/24/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79016              Court Order.pdf                         208043       3/22/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79016              Credit Report.pdf                        14761      12/20/2021 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79016              Disclosure IL.pdf                       128263        2/4/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79016              Disclosure Updated.pdf                  103065       3/25/2022 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79016              Docusign Cert D07F.pdf                  195844       10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79016              DocuSign Certificate 9868.pdf           198068       10/9/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79016              IL ID.pdf                               529477       3/16/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79016              PI Docket.pdf                         3896106        11/5/2021 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79016              Pleadings.pdf                         8143168        3/21/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79016              Purchase agreement Kylan.pdf            211720       3/28/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79016              Searches.pdf                            553413       3/21/2022 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79016              Social Seurity Card.pdf                 160719       12/22/2021 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79016              UCC Search.pdf                          105202       10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79016              ZIP Code USPS.pdf                        63913       3/21/2022 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              0107.pdf                                 85934       3/18/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              1F58.pdf                                 74473       3/18/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              79031 Oja, Stuart.tv5                      9999      10/9/2024 17:29




                                                                2106
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2108 of
                                       3467



               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              Acknowledgment of Life Ins Premium Pmt.pdf           92472       4/8/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              Affidavit in Lieu of SA.pdf                       2028764       3/18/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              Affidavit.pdf                                       193088      3/18/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              Annuity Contract.pdf                                291691      3/18/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              Application and Auth.pdf                          9770800       3/18/2022 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              Assignment.pdf                                      379374       4/8/2022 16:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              Benefits Letter.pdf                               1235113       3/18/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              Berwyn Death Search 08032023 Stuart Oja Jr.pdf      290119       8/3/2023 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              Berwyn.pdf                                          161242      3/18/2022 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              BinderForDealNumber50790.pdf                      7490266       3/17/2022 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              BK Search.pdf                                        80926      3/18/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              CA Acknowledgment.pdf                                28746       4/7/2022 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              CA Complete and Signed.pdf                          344949      3/30/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              CA- Signed Blank.pdf                                327648       4/7/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              Confirmation of premium paid.pdf                    125108       4/7/2022 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              Court Order.pdf                                     708079      3/28/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              Credit Report.pdf                                   145430      3/18/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              Disclosure CT.pdf                                   100949      3/18/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              Disclosure DE.pdf                                   105797      3/18/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              DL.pdf                                              802763      3/18/2022 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              Fasano Report.pdf                                   113621      2/15/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              HIPAA and Medical Questionniare.pdf               6423978       1/27/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              Life Insurance Policy.pdf                         2182006       3/22/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              NASP.pdf                                             48628      3/18/2022 13:53




                                                              2107
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2109 of
                                       3467



               All Paths/Locations                                 Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              Pleadings.pdf                                      1088140       3/18/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              Proof of policy payment.pdf                          121249       4/8/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              Purchase Agreement.pdf                               998418      3/18/2022 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              Searches.pdf                                          59083      3/18/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              Spousal Consent- Signed.pdf                          163984      3/23/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              SSC.pdf                                              816762      3/18/2022 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              Stipulation.pdf                                      485077       4/8/2022 13:59

Saiph consulting|\Audit Materials Received-   Successful transmission Berwyn Mortality Search
SuttonPark\Closing Binders\79031              Report 08032023 Stuart Oja Policy 0C227039.pdf       116139       8/7/2023 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79031              UCC.pdf                                               83076      3/18/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79048              79048 Butler, Angela.tv5                              10315      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79048              Acknowledgment - Butler.pdf                          912099      8/19/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79048              AL Disclosure.pdf                                    169181       2/2/2022 16:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79048              Application.pdf                                       49723       2/2/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79048              Benefits Letter.pdf                                  380136       2/7/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79048              Closing Binder.pdf                                 2032277       3/21/2022 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79048              Credit Report - Angela.pdf                            88552      2/14/2022 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79048              Credit Report - Montral.pdf                           17476      3/22/2022 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79048              Death Certificate.pdf                                232366      3/21/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79048              DocuSign Cert - 1CF2.pdf                             210144      10/9/2024 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79048              DocuSign Cert - 5E97.pdf                             200805      10/9/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79048              Driver License.pdf                                    55095      3/21/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79048              Letter of Administration.pdf                         173073      3/21/2022 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79048              Notarized Closing Statement.pdf                       56112      3/25/2022 17:09
Saiph consulting|\Audit Materials Received-   Partial Qualified Assignment - Pmt
SuttonPark\Closing Binders\79048              Description.pdf                                      179526      3/21/2022 14:35



                                                                2108
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2110 of
                                       3467



               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79048              PI Docket.pdf                              758653      3/25/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79048              Pleadings.pdf                            3062155       3/25/2022 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79048              Purchase Agreement.pdf                     435813      3/21/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79048              Searches - Angela.pdf                       38056      3/21/2022 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79048              Searches - Montral.pdf                      11938      3/25/2022 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79048              UCC Search - Angela.pdf                    221709      3/21/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79048              UCC Search - Montral.pdf                    63962      3/25/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79049              79049 Williams, Tyler.tv5                   10167      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79049              AL Disclosure.pdf                          131553      3/23/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79049              Amended Disclosure AL.pdf                  132174       3/24/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79049              Amended Purchase Agreement.pdf             200789       3/24/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79049              Application.pdf                            659951      3/23/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79049              Assignment Agreement GTD.pdf               130760      3/29/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79049              Credit Report.pdf                           57392      3/23/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79049              Disclosure Affidavit.pdf                   138706      3/23/2022 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79049              Docusign Certificate 17D.pdf               321757      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79049              Docusign Certificate 259.pdf               316495      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79049              Drivers License.pdf                      2199072       3/29/2022 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79049              IL Disclosure.pdf                          132110      3/23/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79049              Partial Annuity Contract 90751533.pdf    1020396       3/25/2022 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79049              PI Case Docket Sheet.pdf                    70395      3/29/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79049              Pleadings.pdf                           19403627        3/31/2022 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79049              Purchase Agreement.pdf                     281873      3/23/2022 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79049              Searches.pdf                                98435      3/22/2022 15:19




                                                              2109
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2111 of
                                       3467



               All Paths/Locations                                   Unified Title               File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79049              Seller Affidavit.pdf                                  156997       3/23/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79049              Spousal Consent Signed Spouse.pdf                     534793       3/29/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79049              SS Card.pdf                                            65460       3/29/2022 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79049              Stipulation.pdf                                     2792750        3/29/2022 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79049              Williams Closing Binder.pdf                        20639749        3/22/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79050              79050 Williams, Tyler.tv5                                9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79050              AL Disclosure.pdf                                     131553       3/23/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79050              Amended Disclosure AL.pdf                             132174        3/24/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79050              Amended Purchase Agreement.pdf                        200789        3/24/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79050              Application.pdf                                       659951       3/23/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79050              Assignment Agreement LC.pdf                           131490       3/29/2022 14:23
Saiph consulting|\Audit Materials Received-   Authorization for Disclosure of Protected Health
SuttonPark\Closing Binders\79050              Information.pdf                                       754083       3/23/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79050              Credit Report.pdf                                      57392       3/23/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79050              Disclosure Affidavit.pdf                              138706       3/23/2022 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79050              Docusign Certificate 17D.pdf                          321757       10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79050              Docusign Certificate 259.pdf                          316495       10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79050              Drivers License.pdf                                 2199072        3/29/2022 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79050              Fasano Report.pdf                                     122477       3/23/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79050              IL Disclosure.pdf                                     132110       3/23/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79050              Medical Questionnaire.pdf                           1038580        3/29/2022 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79050              PI Case Docket Sheet.pdf                               70400       3/29/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79050              Pleadings.pdf                                      19403627         3/31/2022 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79050              Proof of Benefits Policy 90751647.pdf                  88455       3/29/2022 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79050              Purchase Agreement.pdf                                281873       3/23/2022 15:58




                                                                2110
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2112 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79050              Searches.pdf                               98435      3/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79050              Seller Affidavit.pdf                      156997      3/23/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79050              Spousal Consent Signed Spouse.pdf         534793      3/29/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79050              SS Card.pdf                                65460      3/29/2022 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79050              Stipulation.pdf                         2792750       3/29/2022 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79050              Williams Closing Binder.pdf            20639749       3/22/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              79051 Pena, Francisco.tv5                  10190      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Acknowledgment.pdf                        142926      4/22/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Additional DocuSign Certificate.pdf       332830      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Affidavit.pdf                             115097      3/22/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Annuity Contract.pdf                   12091496       3/22/2022 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Application not signed.pdf                227701      3/24/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Application.pdf                           363881      10/9/2024 20:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Authorization Deductions.pdf               83102      3/22/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Closing Binder.pdf                     34808803       3/22/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Consent Waiver.pdf                         81661      3/22/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Court Order.pdf                           271643      10/9/2024 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Credit Report.pdf                       1010777       3/24/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Disclosure Affidavit.pdf                   79374      3/22/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Disclosure DE.pdf                          68950      3/22/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Disclosure KY.pdf                          69004      3/22/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Disclosure NC.pdf                          76800      3/22/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Disclosure NY.pdf                          71912      3/22/2022 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              DocuSign Certificate.pdf                  366876      10/9/2024 20:23




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               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              DocuSign Spousal.pdf                    317729       10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Driver License.pdf                      989173       3/22/2022 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              IPA Letter.pdf                        2623440        3/28/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              IPA Statement.pdf                       171233       10/9/2024 19:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Notice of Hearing.pdf                   823532       3/24/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Omnibus Consent.pdf                     104238       3/22/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Pleadings.pdf                        13551367        3/22/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Proof of Residence.pdf                  210199       3/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Purchase Agreement.pdf                  311404       3/22/2022 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Searches.pdf                            153833       3/24/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Settlement Agreement Affidavit.pdf       51037       3/24/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Social Security Card.pdf                 65121       3/22/2022 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              Spousal Consent.pdf                     144986       10/9/2024 18:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79051              UCC Search.pdf                           71666       3/24/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79053              79053 Vice, Michael.tv5                    9967      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79053              Acknowledgment.pdf                      347004       3/21/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79053              Affidavit.pdf                            52340       3/21/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79053              Assignment to Trinity.pdf                45153      10/30/2023 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79053              Assignment.pdf                          230767       3/21/2022 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79053              Closing Binder.pdf                   18093970        3/21/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79053              Closing Binder2.pdf                   4063702        3/18/2022 22:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79053              Court Notice.pdf                         58759       3/21/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79053              Credit Report - updated.pdf             113225       3/21/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79053              Credit Report.pdf                       193942       3/21/2022 12:18




                                                               2112
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2114 of
                                       3467



               All Paths/Locations                                 Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79053              Disclosure.pdf                                 237689      3/21/2022 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79053              Driver License.pdf                             349752      3/21/2022 12:16
Saiph consulting|\Audit Materials Received-   FILED - JJ Vice R SFL LTD Partnership
SuttonPark\Closing Binders\79053              ReAssignment Petition 2022-237.pdf           1577281      10/24/2023 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79053              Labyrinth Affidavit.pdf                      1158331       3/21/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79053              Lottery Ack - JJ Vice 2022-237.pdf              36198     10/24/2023 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79053              LTD Partnership docs.pdf                    24154602        3/5/2019 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79053              Notarized Affidavit.pdf                      2904858       3/17/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79053              ORDER to Trinity 2022-237.pdf                1198613      10/24/2023 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79053              Pleadings.pdf                               12464473       3/21/2022 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79053              POS.pdf                                         91307      3/21/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79053              Proof of payment of the tax lien.pdf           101747        9/5/2019 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79053              Purchase Agreement.pdf                       3132592       3/21/2022 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79053              Searches.pdf                                 2210720       3/21/2022 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79053              w9.pdf                                         225976      3/21/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79053              Win Letter.pdf                                 332494      3/21/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79054              79054 Garcia-Rossal, Siliezar.tv5               10027      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79054              Application.pdf                                192152       2/7/2022 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79054              Benefits Letter.pdf                            626480      7/29/2019 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79054              Child Support.pdf                            1319077       3/23/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79054              Closing Binder.pdf                          18458171       3/28/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79054              Closing Statement.pdf                          409991      10/9/2024 20:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79054              Corrected disclosure statement signed.pdf      130573      10/9/2024 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79054              Court Order.pdf                              2335421       3/24/2022 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79054              Credit Report.pdf                               14156      10/9/2024 17:39




                                                               2113
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                                       3467



               All Paths/Locations                                 Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79054              Divorce Decree.pdf                        2483037        6/28/2019 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79054              DocuSign Cert F8D6.pdf                      211754       10/9/2024 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79054              Garcia passport.pdf                         130535       10/9/2024 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79054              Midland Finance Assignment.pdf               74133        2/7/2022 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79054              Pleadings.pdf                             3354047        3/23/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79054              Purchase Agreement.pdf                    1002043        3/23/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79054              Qualified Assignment.pdf                    367876       10/9/2024 20:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79054              Redirection Confirmation New 79054.pdf      234946       5/27/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79054              Searches.pdf                                   7550      3/14/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79054              Settlement Agreement.pdf                  9585704        7/29/2019 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79054              SS Proof.pdf                              1467163        3/28/2022 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79054              Stipulation.pdf                             782435       3/28/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79054              UCC Search.pdf                               48296       10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79054              ZIP Code USPS.pdf                            65627       3/23/2022 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              79055 Castello, Luis.tv5                       9987      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Amended Declaration.pdf                     334681       3/22/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Amended Disclosure - FL.pdf                 522571       3/22/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Amended Purchase Agreement.pdf            1957806        3/22/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Annuity Contract.pdf                        794392       3/24/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Application.pdf                             214023       3/22/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Assignment.pdf                              111245       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Bankruptcy search.pdf                       350097       3/23/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Closing Binder.pdf                       11588240        3/18/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Court Order.pdf                           2006743        3/22/2022 11:02




                                                                2114
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2116 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Credit Report.pdf                        32475      3/23/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Declaration.pdf                          59927      3/22/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Disclosure FL.pdf                        78020      3/22/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Driver License.pdf                      375431      3/22/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              IPA Letter.pdf                           95415      3/22/2022 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Pleadings.pdf                         3748289       3/22/2022 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Purchase Agreement.pdf                  498348      3/22/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Request for Acknowledgment.pdf          296617      3/23/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Searches.pdf                            643344      3/23/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Settlement Agreement - Partial.pdf    1445277       3/24/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Settlement Docs.pdf                   1441583       10/9/2024 21:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Social Security Card.pdf                495132      3/23/2022 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Stip - Missing SP.pdf                 1637708       3/22/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Stipulation.pdf                       1247506       3/22/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Zoho Cert - 8SUQ.pdf                     93747      1/11/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Zoho Cert - DX9S.pdf                    104388      3/22/2022 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Zoho Cert - FCGU.pdf                     88925      3/22/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Zoho Cert - GLDC.pdf                     93591       1/1/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Zoho Cert - SSC0.pdf                     88754      3/22/2022 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Zoho Cert - YAGA.pdf                     86728      3/22/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79055              Zoho Cert - YXFO.pdf                     89952      3/22/2022 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              1C68.pdf                                195424      10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              79056 - Gov ID.pdf                      206581      2/25/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              79056 Hill, Taylor.tv5                   23090      10/9/2024 17:41




                                                                2115
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2117 of
                                       3467



               All Paths/Locations                                Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              AC.pdf                                               446897      7/22/2024 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              Address search.pdf                                    68721      3/30/2022 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              Affidavit.pdf                                        666426      12/9/2021 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              Application.pdf                                       45593      12/9/2021 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              Assignment.pdf                                       169876      10/9/2024 19:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              certificate.pdf                                      216488      10/9/2024 19:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              Credit Report.pdf                                     11617      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              D184.pdf                                             204216      10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              DF64.pdf                                             228129      10/9/2024 20:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              Disclosure Statement.pdf                             116380      12/9/2021 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              Email from Issuer regarding Stip.pdf                 167419       3/31/2022 8:53
Saiph consulting|\Audit Materials Received-   Email on circuit courts the petition and CO was
SuttonPark\Closing Binders\79056              filed in.pdf                                         245949      3/30/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              2022CA000029.docx                                     43132      3/30/2022 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              Filed Court Order.pdf                                646352      3/23/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              Inmate Population Information Detail.pdf             184846      3/30/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              New - Gov ID.pdf                                     206581      2/25/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              OASM.pdf                                             250645     11/30/2021 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              Pleadings.pdf                                      1464311       3/22/2022 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              Power of Attorney.pdf                                 61227      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              Proof of SSN.pdf                                      68721      3/30/2022 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              Purchase Agreement.pdf                               232494      3/22/2022 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              QA.pdf                                               299478     11/30/2021 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              Ratification of contract.pdf                         177525     12/29/2021 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              Robin Pippin ID.pdf                                  246059      2/25/2022 12:48




                                                                2116
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2118 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              SA.pdf                                  397903      11/30/2021 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              Searches Hill.pdf                        10180       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              Searches.pdf                             14918       10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              Stip missing Hill signature.pdf       4840947        3/30/2022 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              Stipulation Full Executed.pdf         4840966        6/19/2024 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              Taylor Hill ID.pdf                      206581       2/25/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              UCC Taylor.pdf                           48419       10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79056              UCC.pdf                                  47843       10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              79058 Simon, Eunice.tv5                    9984      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              Annuity Contract.pdf                  4400896        3/23/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              Application.pdf                          46012       1/20/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              Assignment Executed.pdf                  83091       3/29/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              Benefit Letter.pdf                    1244125        3/23/2022 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              Closing Binder.pdf                   38973169        3/24/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              Closing Statement Notarized.pdf         298458       3/31/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              Closing Statement.pdf                   423082       10/9/2024 20:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              Court Order.pdf                         319078       10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              Credit Report.pdf                        57504       3/16/2022 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              Disclosure AL.pdf                       122525       1/20/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              DocuSign Cert 3181.pdf                  192672       10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              DocuSign Cert 9572.pdf                  192770       10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              DocuSign Cert D392.pdf                  194788       10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              Driver License AL.pdf                 2956686         3/28/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              Notice of Virtual Hearing.pdf            48507       3/21/2022 15:53




                                                               2117
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2119 of
                                       3467



               All Paths/Locations                                  Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              Pleadings.pdf                             2117050         3/28/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              Purchase Agreement.pdf                      331332       3/24/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              Redirection Confirmation New 79058.pdf       82255       7/25/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              Redirection Reconfiguration 79058.pdf     2654714        7/20/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              WFB Letter RE-NEW POB.pdf                   558429        3/30/2022 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              Redirection Reconfig SPSS.pdf             1505441        6/27/2022 17:25
Saiph consulting|\Audit Materials Received-   SuttonPark - Corp Resolution 2022 POB
SuttonPark\Closing Binders\79058              789582.pdf                                  980063        3/9/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              Searches.pdf                                   7154      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              Settlement Agreement.pdf                  5282461       12/29/2020 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              SS Card.pdf                                 326528        1/28/2021 3:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              UCC Search.pdf                               48485       10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79058              ZIP Code USPS.pdf                            65244       3/24/2022 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79059              79059 Overvides, Kaleb.tv5                   10305       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79059              Acknowledgment.pdf                           52557        4/26/2022 5:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79059              Affidavit in Lieu of SA.pdf                 109745       3/22/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79059              Affidavit.pdf                               149374       3/22/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79059              Application.pdf                             120813       3/21/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79059              Assignment.pdf                              216712       10/9/2024 19:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79059              Bankruptcy Search.pdf                        77956       3/22/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79059              Benefits letter.pdf                          47108       3/21/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79059              Closing Binder.pdf                        5934615        3/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79059              Credit Report.pdf                            33373       3/21/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79059              Disclosure NE.pdf                           120869       3/22/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79059              Disclosure OR.pdf                           157261       3/22/2022 13:48




                                                              2118
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                                       3467



               All Paths/Locations                                 Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79059              Driver License.pdf                         41596      3/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79059              Pleadings.pdf                           3430602       3/22/2022 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79059              Proof of Disc Delivery.pdf                270147      3/22/2022 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79059              Disclosure OR - KALEB OYERVIDES.pdf        76713       2/9/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79059              Purchase Agreement.pdf                  1235330       3/22/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79059              Searches.pdf                              306153      3/22/2022 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79059              Settlement Agreement and Release.pdf      237243      3/21/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79059              Social Security Card.pdf                   43444      3/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79061              79061 Faye, Dianah.tv5                     12817      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79061              Acknowledgment.pdf                        176124        4/5/2022 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79061              Annuity Contract.pdf                      585304      3/22/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79061              Application.pdf                           116154      3/22/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79061              Assignment.pdf                          1112416       10/9/2024 21:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79061              Benefits Letter.pdf                        35474      3/22/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79061              Closing Book - Rev. 03.21.22.pdf       18498947       3/21/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79061              Amended FIled Application.pdf           2211345
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79061              Amended Notice of Hearing.pdf             186072
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79061              Court Order.pdf                         2195290       3/22/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79061              Disclosure NE.pdf                          60324      3/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79061              Disclosure OK.pdf                          79408      3/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79061              DocuSign Cert C402.pdf                     84008      3/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79061              Driver License.pdf                         47494      3/22/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79061              Pleadings.pdf                          13728191       3/22/2022 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79061              Amended FIled Application.pdf           2211345




                                                              2119
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                                       3467



               All Paths/Locations                                Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79061              Amended Notice of Hearing.pdf            186072
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79061              Purchase Agreement.pdf                   427311      3/22/2022 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79061              Qualified Assignment.pdf                 294400      3/22/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79061              Searches.pdf                             126639      3/22/2022 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79061              Settlement Agreement.pdf                 426566      3/22/2022 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79061              Social Security Card.pdf                  50581      3/22/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79061              Statement in Support.pdf                 137343      3/22/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79062              4B84.pdf                                 363784      10/9/2024 20:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79062              79062 Griffith, Shornnel.tv5              10243      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79062              Affidavit in Lieu of SA.pdf              509330      4/25/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79062              Affidavit.pdf                          1185985       4/25/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79062              Annuity Contract.pdf                     256396      4/25/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79062              Application.pdf                          243028      3/29/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79062              Court Order.pdf                          217810       5/2/2022 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79062              Credit Report.pdf                         34419      3/29/2022 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79062              Disclosure FL.pdf                        692244      4/25/2022 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79062              Disclosure NJ.pdf                        637310      4/25/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79062              Disclosure NY.pdf                        776784      4/25/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79062              Fasano Report.pdf                         92164      4/25/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79062              Identification Card.pdf                  473606      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79062              List of Prior Order.pdf                   54627      4/25/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79062              Medical Questionnaire and HIPAA.pdf    1076534       10/9/2024 21:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79062              Pleadings.pdf                         14026638       4/25/2022 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79062              POR - Full Lease Agreement.pdf         9295300       9/15/2021 14:14




                                                              2120
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                                       3467



               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79062              Purchase Agreement.pdf               5959270        4/25/2022 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79062              Searches.pdf                            13115       3/29/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79062              Settlement Agreement.pdf               365975       4/25/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79062              SSC.pdf                              1632638        4/25/2022 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79062              Stipulation.pdf                        637687         5/2/2022 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79068              79068 Nafa redirection check.pdf       725810       8/22/2023 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79068              79068 Nafa, Mahmoud.tv5                   9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79068              Acknowledgement to Trinity.pdf         124418       9/13/2023 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79068              Acknowledgment - correct.pdf           125534       3/24/2022 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79068              Affidavit.pdf                        2612517        10/9/2024 22:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79068              Authorization.pdf                    1039000        10/9/2024 21:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79068              Court Order to Trinity.pdf             184042       8/24/2023 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79068              Court Order.pdf                        138531       3/15/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79068              Credit Report.pdf                      192635       3/24/2022 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79068              Disclosure CT.pdf                      980683         3/3/2022 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79068              Identification Card.pdf              1825597         3/3/2022 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79068              Mini Assignment.pdf                    509898        3/4/2022 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79068              Pleadings.pdf                        8728709        10/9/2024 22:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79068              POS to CT Lottery.pdf                  463350       3/24/2022 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79068              POS.pdf                                471576       3/14/2022 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79068              Purchase Agreement.pdf               8420849         3/24/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79068              Residence.pdf                          607903         3/3/2022 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79068              Searches.pdf                         1305578         3/22/2022 7:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79068              SSC.pdf                              1771666        6/16/2021 11:31




                                                                2121
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2123 of
                                       3467



               All Paths/Locations                                Unified Title          File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79068              Trinity Re-assignment Petition.pdf          4340604        8/21/2023 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79068              Trinity Re-assignment proposed Order.pdf      123020       8/21/2023 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79068              UCC Search.pdf                              3235016        3/16/2022 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79068              W9.pdf                                      1677667        10/9/2024 21:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              79069 Roper, Jeremiah.tv5                        9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              Acknowledgment.pdf                             61093       5/13/2022 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              Annuity Contract.pdf                          377858       5/13/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              Application.pdf                                40076       3/24/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              Assignment.pdf                                167414       5/18/2022 16:08
Saiph consulting|\Audit Materials Received-   Confirmation of Due Date and Payment
SuttonPark\Closing Binders\79069              Availability.pdf                              208461       3/24/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              image002.png                                   16117
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              image003.png                                     4751
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              Court Order.pdf                             1408949        5/13/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              Credit Report.pdf                              28727       3/16/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              Disclosure - TN.pdf                           156281       3/24/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              Divorce Decree.pdf                            498349       5/18/2022 16:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              Docusign Cert EE9.pdf                         207640       10/9/2024 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              Docusign Certificate 639.pdf                  190965       10/9/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              Docusign Certificate 9FB.pdf                  203803       10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              Drivers License.pdf                           123654       3/24/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              Pleadings incomplete.pdf                      921275       3/24/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              Purchase Agreement Hold Time.pdf              341023       5/18/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              Purchase Agreement.pdf                        363340       3/24/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              Qualified Assignment.pdf                      228042       5/13/2022 15:44




                                                             2122
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                                       3467



               All Paths/Locations                                   Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              Roper Assignment.docx                         26023       5/13/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              Roper Closing Binder.pdf                   2411737        3/24/2022 16:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              image002.png                                  16117
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              image003.png                                    4751
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              Searches.pdf                                  88744       3/24/2022 17:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              Seller Affidavit.pdf                         111875       5/13/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              SSN Verification.pdf                         107231       5/18/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79069              UCC Search.pdf                             1083047        3/24/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79070              79070 Smith, Jordan.tv5                         9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79070              Affidavit.pdf                                168552        3/1/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79070              Annuity Contract.pdf                         265582       3/14/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79070              Application.pdf                              221380        3/1/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79070              Court Order.pdf                            3702052        3/30/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79070              Credit Report.pdf                            264430       3/21/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79070              Disclosure Affidavit.pdf                      58065        3/1/2022 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79070              Disclosure AZ.pdf                          1164763        3/23/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79070              Driver License.pdf                           924235       3/11/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79070              OAS.pdf                                      192563       3/23/2022 12:51
Saiph consulting|\Audit Materials Received-   Order from settling court consenting to
SuttonPark\Closing Binders\79070              transfer.pdf                                  69494       8/16/2022 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79070              Order Terminating Conservatorship.pdf        803024       3/23/2022 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79070              Payee Declaration.pdf                        192811        3/1/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79070              Pleadings.pdf                              2991804        3/23/2022 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79070              POS to issuer and owner.pdf                2803317        3/23/2022 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79070              JS NOH & COS.pdf                             125705        3/9/2022 17:10




                                                              2123
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2125 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79070              JS AFCAOTSS conf copy.pdf               937163       3/9/2022 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79070              SmithJ EXH A-F.pdf                    1917785        3/8/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79070              Purchase Agreement.pdf                7994941       3/23/2022 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79070              Searches.pdf                          1398162       3/21/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79070              Settlement Agreement.pdf                364306      3/14/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79070              Social Security Card.pdf              1101324       3/22/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79070              Stipulation Executed.pdf                839621      3/31/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79070              Transferee Declaration.pdf               28831       3/1/2022 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              79071 Smith, Jordan.tv5                  10128      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              Affidavit.pdf                           168552       3/1/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              Annuity Contract Smith.pdf            1116907       3/24/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              Application.pdf                         221380       3/1/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              Assignment Executed.pdf                  39648      3/28/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              Closing Binder.pdf                   11764339       3/24/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              Contract                                633856      2/24/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              Document Package_Smith.pdf              552918      2/24/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              Court Order.pdf                       3702052       3/30/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              Credit Report.pdf                       264430      3/21/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              Disclosure Affidavit.pdf                 58065       3/1/2022 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              Disclosure AZ.pdf                       335551       3/1/2022 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              Driver License.pdf                      924235      3/11/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              Jordan Smith, CV2022-00063            3108864        3/9/2022 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              JS NOH & COS.pdf                        125705       3/9/2022 17:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              JS AFCAOTSS conf copy.pdf               937163       3/9/2022 17:13




                                                              2124
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                                       3467



               All Paths/Locations                                Unified Title                  File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              SmithJ EXH A-F.pdf                                  1917785         3/8/2022 17:11
Saiph consulting|\Audit Materials Received-   Order from settling court consenting to
SuttonPark\Closing Binders\79071              transfer.pdf                                           69494       8/16/2022 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              Pleadings.pdf                                       2991802        3/24/2022 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              Purchase Agreement Lump.pdf                         4798435        3/24/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              Qualified Assignment.pdf                              313672       3/24/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              Searches.pdf                                        1398162        3/21/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              Settlement Agreement .pdf                             364306       3/14/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              Social Security Card.pdf                            1101324        3/22/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              Stipulation Executed.pdf                              839621       3/31/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              Transferee Declaration.pdf                             28831        3/1/2022 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79071              ZIP Code USPS.pdf                                      66291       3/24/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              2005 Prior Court Order.pdf                          1296188        3/25/2022 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              2011 Prior Court Order.pdf                            278492       3/25/2022 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              79072 Thompson, Matthew.tv5                              9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              Affidavit in Lieu of Settlement Agreement.pdf         219355       3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              Amended FL.pdf                                        102929       3/28/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              Amended TX.pdf                                        110040       3/28/2022 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              Amendedment to Purchase Agreement.pdf                  45461       3/28/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              Annuity Contract.pdf                                1944642        3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              Application.pdf                                       156314       3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              Assignment.pdf                                         97628       3/25/2022 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              Confirmation of Disclosure sent and received.pdf       94999       3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              Court Order.pdf                                     1591223        3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              Credit Report.pdf                                      27845       3/24/2022 14:22




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                                       3467



               All Paths/Locations                                Unified Title           File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              Declaration.pdf                                214546       3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              Drivers License.pdf                             67432       3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              Guardianship Doc.pdf                            67967       3/25/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              Pleadings .pdf                              26333055        3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              Purchase Agreement.pdf                         616329       3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              Qualified Assignement.pdf                    1400086        3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              Request For Acknowledgement.pdf              1297116        3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              Searches.pdf                                   139877       3/24/2022 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              Social Security Card Clearer copy.pdf           75726       3/25/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              Stipulation.pdf                                571862       3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              Thompson Assignment.docx                        26114       3/24/2022 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              Thompson Closing Book.pdf                   35452963        3/18/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79072              Transaction Summary.pdf                           5543      3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              79073 Weathers, Frank.tv5                       10241       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              Affidavit.pdf                                   88852       3/23/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              Application.pdf                                439294       2/10/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              Assignment.pdf                                  77284       3/24/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              Benefits Letter.pdf                            145613       3/23/2022 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              Court Order.pdf                                587868       10/9/2024 21:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79073              Credit Report.pdf                               17675       3/24/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\78903              Proposed Stipulation - Catino, Sara.doc         81920       3/25/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              Application.pdf                                385223       5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              Assignment and Assessment Agreement.pdf        246214       5/10/2022 17:36
Saiph consulting|\Audit Materials Received-   Authorization to Conduct Credit Check and
SuttonPark\Closing Binders\79154              Release Information.pdf                        147036       5/10/2022 17:36




                                                                2126
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                                       3467



               All Paths/Locations                                  Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              Court Order.pdf                                        647676      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              Credit Report.pdf                                      103908      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              Disclosure - IL.pdf                                    319772      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              Disclosure - TX.pdf                                    142404      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              DocuSign Certificate.pdf                               121305      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              Drivers License.pdf                                    101511      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              Email re Notice of Transfer.pdf                      3395724       5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              324 Ltr Filing Notice of Transfer.pdf                   21679      1/28/2022 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              324 Notice of Transfer (w Exs).pdf                   3723387       1/28/2022 18:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              Infants Compromise Order.pdf                           544018      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              List of Files.pdf                                       97254      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              Notice of Hearing.pdf                                  280194      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              Pacer Report.pdf                                       169770      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-   Payees Request to Conceal Personally Identifiable
SuttonPark\Closing Binders\79154              Information.pdf                                        325253      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              Proof of Delivery.pdf                                  171023      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              Purchase Agreement.pdf                               1184701       5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              Request For Acknowledgement.pdf                        147147      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              Stipulation.pdf                                      5770921       5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              Supplemental Disclosure Statement-NY.pdf               819479      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              Uniform Qualified Assignment.pdf                       279353      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79154              Westlaw Search.pdf                                     514401      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79155              1271079_2_FinalPackage.pdf                           6706344       2/25/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79155              79155 Ellison, Desmond.tv5                              10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79155              Application.pdf                                        302132      5/10/2022 16:37




                                                                  2127
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                                       3467



               All Paths/Locations                                  Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79155              Case Search.pdf                                 387506      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79155              Court Order.pdf                                 523504      6/20/2024 18:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79155              Credit Report.pdf                               116534      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79155              Disclosure - MO.pdf                             469777      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79155              Disclosure - TX.pdf                             370383      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79155              DocuSign Cert.pdf                               373959      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79155              List of Files.pdf                                96286      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79155              Order of Discharge.pdf                           98592      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79155              Order of Judgment Approving Settlement.pdf      244988      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79155              Pacer Search.pdf                                156689      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79155              Purchase Agreement.pdf                          445627      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79155              Request For Acknowledgement.pdf                 219166      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79155              Request for Change of Beneficiary.pdf           168185      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79155              Sanctions List Search.pdf                       157653      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79155              Settlement Agreement.pdf                        469617      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79155              Settlement Documents.pdf                        872940      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79155              Stipulation.pdf                                 824606      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79155              Submission Package.pdf                          220292      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79155              UCC Search.pdf                                  145633      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79155              Westlaw Search.pdf                              584741      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79156              79156 Saccente, Ariana.tv5                       10462      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79156              957669_2_FinalPackage.pdf                    16508372       2/28/2022 18:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79156              Application.pdf                                 338309      5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79156              Bankruptcy Search.pdf                           339144      5/10/2022 15:45




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                                       3467



               All Paths/Locations                                  Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79156              Comprehensive Report.pdf                  1393253        5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79156              Court Order.pdf                           5985244        5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79156              Cover Letter re Notice of Sale.pdf          150379       5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79156              Credit Report.pdf                           110973       5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79156              Disclosure - IL.pdf                         175378       5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79156              Disclosure - NJ.pdf                         175323       5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79156              DocuSign Certificate.pdf                    294304       5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79156              Drivers License.pdf                         414855       5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79156              List of Files.pdf                            95673       5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79156              Order Approving Partial Settlement.pdf      168026       5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79156              Proof of Delivery.pdf                       378340       5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79156              Purchase Agreement.pdf                      399764       5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79156              Request For Acknowledgement.pdf             150233       5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79156              Settlement Agreement.pdf                    580574       5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79156              Stipulation.pdf                           5581533        5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79156              Submission Package.pdf                      233665       5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79156              Verification.pdf                            139358       5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79156              Westlaw Search.pdf                          687667       5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              79157 Ludeman, Kristy.tv5                      9988      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              795863_4_FinalPackage.pdf                19403186        2/25/2022 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              Affidavit in Support of Petition.pdf      1057715        5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              Application.pdf                             225878       5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              Bankruptcy Search.pdf                       768949       5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              Class 1 Form.pdf                             94250       5/10/2022 14:56




                                                                  2129
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                                       3467



               All Paths/Locations                                Unified Title               File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              Class 2 IP Form.pdf                                130384       5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              Court Order.pdf                                  3591042        5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              Cover Letter re Notice of Sale.pdf                 173016       5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              Credit Report.pdf                                   82028       5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              Death Records.pdf                                  674320       5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              Disclosure - NY.pdf                                986752       5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              Docusign Certificate.pdf                           156373       5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              Drivers License.pdf                                403771       5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              Marriage Certificate .pdf                          321623       5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              Miscellaneous Loan Statements .pdf               1728564        5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              Proof of Delivery.pdf                              112524       5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              Purchase Agreement.pdf                           4314415        5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              Request For Acknowledgement.pdf                    142891       5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              Request for Change of Beneficiary.pdf              151836       5/10/2022 14:56
Saiph consulting|\Audit Materials Received-   RIOBE2 Jessica Riobe 2 Am. Gen. Life Ins. Co.
SuttonPark\Closing Binders\79157              Structured Settlement W0273958 1.PDF            23394740         2/5/2016 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              Settlement Agreement.pdf                           428721       5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              Stipulation.pdf                                  4382165        5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              Submission Package.pdf                             229036       5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              UCC Search.pdf                                     112685       5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79157              Westlaw Search.pdf                                 504310       5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79158              1824019_3_FinalPackage.pdf                      13609411        2/24/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79158              79158 Berneau, Dillon.tv5                             9988      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-   Amended Order Approving Settlement and
SuttonPark\Closing Binders\79158              Disbursement.pdf                                   380656       5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79158              Annuity Contract.pdf                             1824623        5/10/2022 13:52




                                                                2130
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2132 of
                                       3467



               All Paths/Locations                                Unified Title               File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79158              Application.pdf                                    316159       5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79158              Bankruptcy Search.pdf                              351303       5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79158              Certificate of Guarantee.pdf                     2308373        5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79158              Court Order.pdf                                  1311388        5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79158              Cover Letter re Notice of Sale.pdf                  97589       5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79158              Credit Report.pdf                                  110382       5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79158              Docusign Certificate.pdf                            90745       5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79158              Drivers License.pdf                              3789009        5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79158              General Judgment-Closing Conservatorship.pdf       218199       5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79158              New - Berneau, Dillon (stip).pdf                 1418566         2/9/2024 16:26
Saiph consulting|\Audit Materials Received-   Order Approving Settlement and
SuttonPark\Closing Binders\79158              Disbursement.pdf                                   371242       5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79158              Order Approving Settlement.pdf                     183944       5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79158              Purchase Agreement.pdf                             410862       5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79158              Request For Acknowledgement.pdf                    114590       5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79158              Request for Change of Beneficiary.pdf              168861       5/10/2022 13:52
Saiph consulting|\Audit Materials Received-   RIOBE2 Jessica Riobe 2 Am. Gen. Life Ins. Co.
SuttonPark\Closing Binders\79158              Structured Settlement W0273958 1.PDF            23394740         2/5/2016 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79158              Stipulation.pdf                                  1483975        5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79158              Submission Package.pdf                              78804       5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79158              Westlaw Search.pdf                                 698455       5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79159              1692915_5_FinalPackage.pdf                       6427775        2/23/2022 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79159              79159 Johns, Lejaya.tv5                               9986      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79159              Annuity Contract.pdf                               148670       5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79159              Application.pdf                                    413250       5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79159              Bankruptcy Search.pdf                              601703       5/10/2022 12:45




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               All Paths/Locations                                  Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79159              Change of Address.pdf                      87137       5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79159              Class 2 IP Form.pdf                        99837       5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79159              Court Order.pdf                           666210       5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79159              Cover Letter re Notice of Sale.pdf        177181       5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79159              Credit Report.pdf                         107840       5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79159              Disclosure - IL.pdf                       266398       5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79159              DocuSign Certification.pdf                499134       5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79159              Drivers License.pdf                       368490       5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79159              Lien and Judgment Search.pdf              504958       5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79159              List of Files.pdf                          96681       5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79159              Order to Approve Settlement.pdf           194749       5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79159              Purchase Agreement.pdf                    587362       5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79159              Qualified Assignement.pdf                 266800       5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79159              Seller Identification.pdf                 768639       5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79159              Settlement Agreement and Release.pdf      409288       5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79159              Submission Package.pdf                    188232       5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79159              UCC Search.pdf                            131233       5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79160              1866795_1_FinalPackage.pdf              5351089        2/25/2022 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79160              79160 Lee, Alexis.tv5                        9982      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79160              Application.pdf                           323525       5/11/2022 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79160              Benefits Letter.pdf                       286495       5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79160              Change of Address.pdf                     286495       5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79160              Court Order.pdf                           336199       5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79160              Court Search.pdf                          335462       5/11/2022 10:36




                                                                  2132
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                                       3467



               All Paths/Locations                                  Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79160              Cover Letter re Notice of Sale.pdf            187220      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79160              Credit Report.pdf                             105170      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79160              DocuSign Certificate.pdf                      348309      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79160              Judgment Approving Minors Settlement.pdf      330694      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79160              List of Files.pdf                              95114      5/11/2022 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79160              Pacer Search.pdf                              352088      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79160              Proof of Delivery.pdf                         300677      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79160              Purchase Agreement.pdf                        405731      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79160              Request For Acknowledgement.pdf               185246      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79160              Seller Identification.pdf                     148870      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79160              Settlement Agreement and Release.pdf        1087283       5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79160              Stipulation.pdf                               800150      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79160              Submission Package.pdf                        227854      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79160              Westlaw Search.pdf                            618236      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79161              1450824_1_FinalPackage.pdf                 13933558       2/28/2022 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79161              79161 Dees, Merileigh.tv5                      10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79161              Application.pdf                               451915       5/11/2022 9:27
Saiph consulting|\Audit Materials Received-   Authorization to Discuss Transactional
SuttonPark\Closing Binders\79161              Information.pdf                               178399       5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79161              Benificiary Confirmation.pdf                  100001       5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79161              Comprehensive Report.pdf                    1024723        5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79161              Court Order.pdf                             1878521        5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79161              Cover Letter re Notice of Sale.pdf            150113       5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79161              Credit Report.pdf                             111516       5/11/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79161              Disclosure - KY.pdf                           126771       5/11/2022 9:27




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                                       3467



               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79161              Disclosure - TX.pdf                        128459        5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79161              DocuSign Certificate.pdf                   498231        5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79161              Drivers License.pdf                        361355        5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79161              List of Files.pdf                           98266        5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79161              Pacer Search.pdf                           391641        5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79161              Proof of Delivery.pdf                    5163567         5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79161              Proof of Domicile.pdf                      730380        5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79161              Purchase Agreement.pdf                   1064356         5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79161              Request For Acknowledgement.pdf            150331        5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79161              Request for Change of Beneficiary.pdf       83768        5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79161              Schedule .pdf                               96711        5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79161              Seller Affidavit.pdf                       104815        5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79161              Stipulation.pdf                            824143        5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79161              Submission Package.pdf                     231500        5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79161              Westlaw Search.pdf                         677437        5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79162              1860133_1_FinalPackage.pdf              17427568        2/25/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79162              79162 Cherry, Joseph.tv5                      9987      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79162              Annuity Contract.pdf                       381039       5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79162              Application.pdf                            276551       5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79162              Court Order.pdf                            302876       5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79162              Credit Report.pdf                          105297       5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79162              Disclosure - CT.pdf                        261618       5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79162              DocuSign Cert_.pdf                         482204       5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79162              Drivers License.pdf                        261508       5/10/2022 11:32




                                                                  2134
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2136 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79162              List of Files.pdf                           96300       5/10/2022 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79162              Pacer Search.pdf                           562281       5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79162              Proof of Domicile.pdf                      582326       5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79162              Purchase Agreement.pdf                     552382       5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79162              Qualified Assignement.pdf                  291418       5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79162              Request For Acknowledgement.pdf            142307       5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79162              Request for Change of Beneficiary.pdf      165281       5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79162              Settlement Agreement.pdf                   566046       5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79162              Stipulation.pdf                         11558752        5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79162              UCC Search.pdf                             109634       5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79162              Westlaw Search.pdf                         546345       5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79163              1734852_7_FinalPackage.pdf              10143108        2/24/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79163              79163 Dell, Chassidy.tv5                      9985      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79163              Annuity Contract.pdf                       646642       5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79163              Application.pdf                            226506       5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79163              Court Order.pdf                            711093       5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79163              Credit Report.pdf                           98665       5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79163              Disclosure - FL.pdf                        156301       5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79163              Disclosure - IL.pdf                        156397       5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79163              DocuSign Cert_.pdf                         165441       5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79163              Drivers License.pdf                      2574800        5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79163              Letter re Notice of Sale.pdf               194218       5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79163              Notice of Filing.pdf                       146615       5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79163              Pacer Search.pdf                           233978       5/10/2022 10:41




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                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79163              Proof of Delivery.pdf                    180148      5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79163              Purchase Agreement.pdf                   263884      5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79163              Request For Acknowledgement.pdf          141759      5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79163              Settlement Order.pdf                     118040      5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79163              Stipulation.pdf                        4675339       5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79163              Westlaw Search.pdf                       451358      5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79165              1866540_1_FinalPackage.pdf             9283389       2/24/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79165              79165 Murata, Danielle.tv5                10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79165              Application.pdf                          581869       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79165              Benefits Letter.pdf                      136662       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79165              Class 2 IP Forms.pdf                     169509       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79165              Court Order.pdf                        1364281        5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79165              Cover Letter re Notice of Sale.pdf       157042       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79165              Credit Report.pdf                        117258       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79165              Death Report.pdf                          82775       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79165              Declaration of Payee.pdf                 137623       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79165              Dissolution of Marriage.pdf              219799       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79165              DocuSign Cert_.pdf                       601516       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79165              Drivers License.pdf                      394094       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79165              List of Files.pdf                         96011       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79165              Pacer Report.pdf                         351820       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79165              Proof of Domicile.pdf                  2593645        5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79165              Purchase Agreement.pdf                   608152       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79165              Request For Acknowledgement.pdf          193553       5/10/2022 9:49




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2138 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79165              Request for Change of Beneficiary.pdf      163599        5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79165              Stipulation.pdf                            353646        5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79165              Supplemental Proof of Service.pdf          350319        5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79165              Westlaw Search.pdf                         783433        5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79166              1246997_4_FinalPackage.pdf               7595215        2/24/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79166              79166 Hance, Chastity.tv5                   10018       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79166              Annuity Contract.pdf                       256045        4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79166              Application.pdf                            336296        4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79166              Court Order.pdf                            614599        4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79166              Credit Report.pdf                          104941        4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79166              Disclosure - TX.pdf                        173731        4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79166              DocuSign .pdf                              146062        4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79166              Drivers License.pdf                        361744        4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79166              Marriage License.pdf                       571436        4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79166              Name Change.pdf                            660275        4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79166              Purchase Agreement.pdf                     477531        4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79166              Request for Change of Beneficiary.pdf      167534        4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79166              Searches.pdf                             1045733         4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79166              Stipulation.pdf                          3053777         4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79168              1389777_1_FinalPackage.pdf               6647180        2/25/2022 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79168              79168 Canada, Brandy.tv5                      9987      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79168              Acknowledgement.pdf                        157246       4/22/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79168              Application.pdf                            193597       4/22/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79168              Benefits Letter.pdf                         97458       4/22/2022 10:16




                                                                2137
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                                       3467



               All Paths/Locations                                  Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79168              Court Order.pdf                            331645       4/22/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79168              Credit Report.pdf                          115805       4/22/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79168              Disclosure - GA.pdf                        176771       4/22/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79168              Drivers License.pdf                        303585       4/22/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79168              Minors Compromise .pdf                   1591175        4/22/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79168              New - Canada, Brandy (ack letter).pdf    1435148         2/9/2024 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79168              Petition.pdf                               320131       4/22/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79168              Purchase Agreement.pdf                     410879       4/22/2022 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79168              Request For Acknowledgement.pdf            169209       4/22/2022 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79168              Request for Change of Beneficiary.pdf      140934       4/22/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79168              Searches.pdf                             1252285        4/22/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79168              Settlement Agreement.pdf                 1387907        4/22/2022 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79168              Stipulation.pdf                            869746       4/22/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79170              726560_3_FinalPackage.pdf               11911945        2/24/2022 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79170              79170 Meche, Shon.tv5                         9982      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79170              Annuity Contract.pdf                        89712       4/22/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79170              Application.pdf                            247184       4/22/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79170              Court Order.pdf                            373853       4/22/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79170              Credit Report.pdf                          107701       4/22/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79170              Disclosure - LA.pdf                        155819       4/22/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79170              DocuSign.pdf                               234970       4/22/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79170              Proof of Service.pdf                       465505       4/22/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79170              Purchase Agreement.pdf                     605373       4/22/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79170              Request For Acknowledgement.pdf             91116       4/22/2022 10:42




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2140 of
                                       3467



               All Paths/Locations                                  Unified Title        File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79170              Request for Change of Beneficiary.pdf          90856       4/22/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79170              Searches.pdf                                1814140        4/22/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79170              Seller Identification.pdf                     157140        7/9/2024 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79170              Settlement Agreement.pdf                    2544889        4/22/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79170              Stipulation.pdf                             4854341        4/22/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79172              1744733_5_FinalPackage.pdf                  3390196        2/28/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79172              79172 Mcphatter, Taalib.tv5                      9988      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79172              Annuity.pdf                                   377603       4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79172              Application.pdf                               313127       4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79172              Benefits Letter.pdf                           192408       4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79172              Court Order.pdf                               237946       4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79172              Credit Report.pdf                             102523       4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79172              Disclosure - CT.pdf                           175245       4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79172              DocuSign .pdf                                 147294       4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79172              Infant's Compromise Order .pdf                181223       4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79172              New - McPhatter, Taalib (ack letter).pdf      165241        2/9/2024 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79172              Purchase Agreement.pdf                        464483       4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79172              Qualified Assignement.pdf                     284963       4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79172              Request For Acknowledgement.pdf               149106       4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79172              Request for Change of Beneficiary.pdf         168812       4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79172              Searches.pdf                                  920379       4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79172              Seller Identification.pdf                     258980       4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79172              Settlement Agreement .pdf                     259951       4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79172              SSN.pdf                                       168177       4/22/2022 11:03




                                                                2139
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2141 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79173              1829019_2_FinalPackage.pdf              16486492        2/23/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79173              79173 Moberly, Landon.tv5                   10143       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79173              Annuity Contract.pdf                       441367       4/22/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79173              Application.pdf                            329082       4/22/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79173              Change of Beneficiary.pdf                  152183       4/22/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79173              Court Order.pdf                          3239906        4/22/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79173              Credit Report.pdf                          106082       4/22/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79173              Disclosure - KY.pdf                        268933       4/22/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79173              DocuSign.pdf                               260686       4/22/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79173              Drivers License.pdf                        831429       4/22/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79173              Minor Settlement .pdf                    1040799        4/22/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79173              Proof of Service.pdf                     4929100        4/22/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79173              Purchase Agreement.pdf                     595967       4/22/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79173              Qualified Assignement.pdf                  318717       4/22/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79173              Request For Acknowledgement.pdf            149757       4/22/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79173              Request for Change of Beneficiary.pdf      169952       4/22/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79173              Searches.pdf                             1206118        4/22/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79173              Settlement Agreement.pdf                   541456       4/22/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79173              SSN.pdf                                    441746       4/22/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79173              Stipulation.pdf                            613036       4/22/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79174              1701673_3_FinalPackage.pdf              15481287        2/25/2022 19:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79174              79174 Argall, Daniel.tv5                      9985      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79174              Annuity Contract.pdf                       344598       4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79174              Application.pdf                            326583       4/22/2022 12:34




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2142 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79174              Assignment.pdf                             194692      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79174              Change of Beneficiary.pdf                  110011      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79174              Court Order.pdf                          1852638       4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79174              Credit Report.pdf                          105383      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79174              Disclosure - CA.pdf                        169770      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79174              DocuSign.pdf                                88909      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79174              Drivers License.pdf                      7876378       4/22/2022 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79174              Notice of Hearing .pdf                     182024      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79174              Qualified Assignement.pdf                  451990      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79174              Request For Acknowledgement.pdf            188182      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79174              Request for Change of Beneficiary.pdf      167950      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79174              Searches.pdf                               915850      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79174              Settlement Agreement.pdf                   908420      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79174              Stipulation.pdf                            865163      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79175              1340968_2_FinalPackage.pdf               7181349       2/23/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79175              image003.png                                18954
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79175              79175 Contreras, David.tv5                  10776      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79175              Application.pdf                            403842      4/22/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79175              Benefits Letter.pdf                        936922      4/22/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79175              Court Order.pdf                            398872      4/22/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79175              Credit Report.pdf                          266022      4/22/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79175              Disclosure - TX.pdf                        321623      4/22/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79175              DocuSign.pdf                               247604      4/22/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79175              Drivers License.pdf                        548144      4/22/2022 12:55




                                                                2141
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2143 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79175              Purchase Agreement.pdf                   3220852        4/22/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79175              Request For Acknowledgement.pdf            245532       4/22/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79175              Searches.pdf                             1274783        4/22/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79175              Settlement Agreement.pdf                   918192       4/22/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79176              1349610_1_FinalPackage.pdf               6911349        2/24/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79176              79176 Edwaldo, Lebron.tv5                     9988      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79176              Annuity Contract.pdf                       374773       4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79176              Application.pdf                            284279       4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79176              Change of Beneficiary.pdf                  108556       4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79176              Court Order.pdf                            451207       4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79176              Credit Report.pdf                          103654       4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79176              Disclosure - NJ.pdf                        269401       4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79176              DocuSign.pdf                               261184       4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79176              Prior Court Orders.pdf                     365214       4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79176              Purchase Agreement.pdf                     563406       4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79176              Qualified Assignement.pdf                  677305       4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79176              Request For Acknowledgement.pdf            177707       4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79176              Request for Change of Beneficiary.pdf      170720       4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79176              Searches.pdf                               928547       4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79176              Seller Identification.pdf                  338199       4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79176              Settlement Agreement.pdf                   768185       4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79176              Stipulation.pdf                            623357       4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79177              1851482_2_FinalPackage.pdf               2603991        2/28/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79177              79177 Sabin, Kayla.tv5                        9983      10/9/2024 17:27




                                                                2142
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2144 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79177              Application.pdf                            329693       4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79177              Benefits Letter.pdf                        127213       4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79177              Confirmation of Settlement.pdf             137470       4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79177              Court Order.pdf                            477276       4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79177              Credit Report.pdf                          104738       4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79177              Declaration.pdf                            116099       4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79177              Disclosure - MI.pdf                        173716       4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79177              DocuSign.pdf                               165205       4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79177              New - Sabin, Kayla (ack letter).pdf         64481        2/9/2024 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79177              Purchase Agreement.pdf                     431933       4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79177              Request for Change of Address.pdf          188440       4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79177              Request for Change of Beneficiary.pdf      167647       4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79177              Searches.pdf                               853061       4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79177              Seller Identification.pdf                  404298       4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79178              1796108_4_FinalPackage.pdf               5138747        2/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79178              79178 Ames, Kandace.tv5                       9965      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79178              Application.pdf                            317683       4/22/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79178              Benefits Letter.pdf                        249687       4/22/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79178              Court Order.pdf                            743580       4/22/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79178              Credit Report.pdf                          105066       4/22/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79178              Disclosure - IL.pdf                        175234       4/22/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79178              DocuSign.pdf                               173349       4/22/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79178              Purchase Agreement.pdf                     481977       4/22/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79178              Request For Acknowledgement.pdf             98831       4/22/2022 16:48




                                                              2143
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2145 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79178              Searches.pdf                           1157425        4/22/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79178              Seller Identification.pdf                227367       4/22/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79178              Settling Documents .pdf                  251497       4/22/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79178              SSN.pdf                                  874424       4/22/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79179              1806356_2_FinalPackage.pdf            20243620        2/28/2022 19:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79179              79179 Cobbs, Samone.tv5                   10618       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79179              Annuity.pdf                              265695       4/22/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79179              Court Order.pdf                          362044       4/22/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79179              Credit Report.pdf                        104732       4/22/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79179              Disclosure - NJ.pdf                      169828       4/22/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79179              Disclosure - TX.pdf                      169757       4/22/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79179              DocuSign.pdf                             255484       4/22/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79179              Purchase Agreement.pdf                   841227       4/22/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79179              Request For Acknowledgement.pdf          156946       4/22/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79179              Searches.pdf                             985610       4/22/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79179              Seller Identification.pdf              3686885        4/22/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79179              SSN.pdf                                  129823       4/22/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79179              Stipulation.pdf                       12247203        4/22/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79180              1787100_1_FinalPackage.pdf             5757459        2/24/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79180              79180 Wise, Jenna.tv5                       9984      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79180              Application.pdf                          931043       4/22/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79180              Benefits Letter .pdf                     838652       4/22/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79180              Court Order.pdf                          914566       4/22/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79180              Credit Report.pdf                        713547       4/22/2022 17:17




                                                                2144
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                                       3467



               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79180              Disclosure - MN.pdf                        868933      4/22/2022 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79180              DocuSign.pdf                               763582      4/22/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79180              Drivers License.pdf                        899662       7/5/2024 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79180              New - Wise, Jenna (ack letter).pdf         194325       2/9/2024 16:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79180              Proof of Service.pdf                       784581      4/22/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79180              Purchase Agreement.pdf                   1827918       4/22/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79180              Request For Acknowledgement.pdf            780610      4/22/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79180              Request for Change of Beneficiary.pdf      709015      4/22/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79180              Searches.pdf                             1847919       4/22/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79180              Settling Documents .pdf                    781576      4/22/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79181              1699339_3_FinalPackage.pdf               4442690        2/28/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79181              79181 Johnson, Kennedy.tv5                  10303      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79181              Application.pdf                            492199      4/22/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79181              Benefits Letter.pdf                        247633      4/22/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79181              Court Order.pdf                            578146      4/22/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79181              Credit Report.pdf                          260653      4/22/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79181              Disclosure - TX.pdf                        331390      4/22/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79181              DocuSign .pdf                              303194      4/22/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79181              Drivers License.pdf                        837043      4/22/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79181              Purchase Agreement.pdf                     738720      4/22/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79181              Request For Acknowledgement.pdf            344556      4/22/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79181              Request for Change of Beneficiary.pdf      325149      4/22/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79181              Searches.pdf                             1282454       4/22/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79181              Settling Documents .pdf                    951029      4/22/2022 17:34




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                                       3467



               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79181              Stipulation.pdf                            540464       4/22/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79182              1866870_1_FinalPackage.pdf               4698609        2/24/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79182              79182 Johnikin, Jalen.tv5                     9986      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79182              Annuity Contract.pdf                        76054       4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79182              Application.pdf                            277436       4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79182              Court Order.pdf                            393321       4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79182              Credit Report.pdf                          106779       4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79182              Disclosure - WI.pdf                        177500       4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79182              DocuSign.pdf                               125273       4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79182              Drivers License.pdf                        123437       4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79182              Purchase Agreement.pdf                   1876793        4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79182              Request For Acknowledgement.pdf            187600       4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79182              Request for Change of Beneficiary.pdf      117648       4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79182              Searches.pdf                               897540       4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79182              Seller Affidavit.pdf                       167810       4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79182              Settling Documents .pdf                    120677       4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79184              1724137_2_FinalPackage.pdf               9241611        2/24/2022 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79184              79184 Schier, Robert.tv5                    10259       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79184              Annuity Contract.pdf                       320672       4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79184              Application.pdf                            278515       4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79184              Court Order.pdf                          3656862        4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79184              Credit Report.pdf                          159149       4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79184              Disclosure - TX.pdf                        273915       4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79184              DocuSign.pdf                               145255       4/22/2022 18:08




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                                       3467



               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79184              Drivers License.pdf                        804435      4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79184              Name Addendum.pdf                           78983      4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79184              Purchase Agreement.pdf                     427471      4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79184              Qualified Assignement.pdf                  267567      4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79184              Request For Acknowledgement.pdf            158690      4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79184              Request for Change of Beneficiary.pdf      168820      4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79184              Searches.pdf                             1391050       4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79184              Settlement Agreement.pdf                 1401422       4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79184              Stipulation.pdf                            840462      4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79185              1877085_1_FinalPackage.pdf              15428763       2/28/2022 16:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79185              79185 Ama, Evangalynn.tv5                   10144      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79185              Application.pdf                          2172803       4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79185              Assignment.pdf                             431576      4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79185              Benefits Letter.pdf                        106381      4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79185              Court Order.pdf                          1591881       4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79185              Credit Report.pdf                          107013      4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79185              Disclosure.pdf                           1251394       4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79185              DocuSign.pdf                               468175      4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79185              Drivers License.pdf                        649256      4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79185              Minors Compromise.pdf                      274935      4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79185              Petition.pdf                               964801      4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79185              Proof of Service.pdf                       750412      4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79185              Purchase Agreement.pdf                   1276386       4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79185              Qualified Assignement.pdf                  194537      4/22/2022 18:25




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2149 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79185              Searches.pdf                            1036807        4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79185              Seller Affidavit.pdf                      731624       4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79185              Settlement Agreement.pdf                  440279       4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79185              Stipulation.pdf                           944624       4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79186              1871124_2_FinalPackage.pdf             16346012        2/24/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79186              79186 Cartwright, Dana.tv5                 10123       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79186              Application.pdf                           206229       4/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79186              Beneficiary Designation .pdf            1111926        4/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79186              Benefits Letter.pdf                       514667       4/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79186              Court Order.pdf                           239643       4/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79186              Credit Report.pdf                         102607       4/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79186              DocuSign.pdf                              167240       4/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79186              Drivers License.pdf                       566262       4/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79186              Judgement.pdf                           1722331        4/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79186              Prior Court Orders.pdf                  4717297        4/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79186              Purchase Agreement.pdf                    367923       4/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79186              Request For Acknowledgement.pdf           175685       4/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79186              Searches.pdf                              769553       4/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79186              Stipulation.pdf                         6152929        4/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79189              520862_6_FinalPackage.pdf              16757007        2/28/2022 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79189              79189 Perez, Carlos.tv5                      9984      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79189              Annuity Contract.pdf                      531702       4/29/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79189              Application.pdf                           371161       4/29/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79189              Court Order.pdf                           354929       4/29/2022 11:24




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2150 of
                                       3467



               All Paths/Locations                                Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79189              Credit Report.pdf                          130131       4/29/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79189              Purchase Agreement.pdf                     293091       4/29/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79189              Request for Change of Beneficiary.pdf      168189       4/29/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79189              Searches.pdf                             1200145        4/29/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79189              Seller Identification.pdf                1175958        4/29/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79189              Settlement Agreement.pdf                 1430358        4/29/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79189              Stipulation.pdf                         10444992        4/29/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79191              1848930_1_FinalPackage.pdf               6376818        2/25/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79191              79191 Johnson, Zachery.tv5                    9987      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79191              Annuity Contract.pdf                       389888       4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79191              Application.pdf                            308894       4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79191              Court Order.pdf                            620797       4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79191              Credit Report.pdf                          103219       4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79191              Disclosure - NC.pdf                        175632       4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79191              Purchase Agreement.pdf                     333659       4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79191              Qualified Assignement.pdf                  207585       4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79191              Request For Acknowledgement.pdf            264413       4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79191              Request for Change of Beneficiary.pdf      274568       4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79191              Searches.pdf                             1080209        4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79191              Seller Identification.pdf                  243925       4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79191              Settlement Agreement.pdf                   535346       4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79191              Stipulation.pdf                            763552       4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79192              578992_12_FinalPackage.pdf              15287872        2/28/2022 18:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79192              79192 Rosenbaum, Jamie.tv5                  11960       10/9/2024 17:38




                                                                2149
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2151 of
                                       3467



               All Paths/Locations                                   Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79192              Court Order.pdf                            354127      4/29/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79192              Credit Report.pdf                          110627      4/29/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79192              Disclosure - MO.pdf                        264026      4/29/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79192              Disclosure - TX.pdf                        264124      4/29/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79192              Purchase Agreement.pdf                     297997      4/29/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79192              Request For Acknowledgement.pdf            106801      4/29/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79192              Request for Change of Beneficiary.pdf      167169      4/29/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79192              Searches.pdf                             1278650       4/29/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79192              Seller Identification.pdf                4522297       4/29/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79192              Settlement Agreement.pdf                   297908      4/29/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79192              Stipulation.pdf                          5072955       4/29/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79197              1835374_5_FinalPackage.pdf              27712717       2/28/2022 19:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79197              79197 Huttenga, Billie.tv5                  10692      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79197              Annuity Contract.pdf                       699424      4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79197              Application.pdf                            475640      4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79197              Court Order.pdf                            221876      4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79197              Credit Report.pdf                          108834      4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79197              Disclosure.pdf                             169962      4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79197              Divorce.pdf                             16769662       4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79197              Purchase Agreement.pdf                     295884      4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79197              Qualified Assignement.pdf                2122082       4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79197              Searches.pdf                             1028877       4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79197              Seller Affidavit.pdf                       188258      4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79197              Seller Identification.pdf                  967192      4/29/2022 14:31




                                                                2150
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2152 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79197              Settlement Agreement.pdf                 3308069        4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79197              SSN.pdf                                    190583       4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79200              1681473_2_FinalPackage.pdf              17979286        2/28/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79200              79200 Lindner, Anthony.tv5                    9987      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79200              Annuity Contract.pdf                       387986       4/29/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79200              Application.pdf                            486748       4/29/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79200              Court Order.pdf                          5363847        4/29/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79200              Credit Report.pdf                          156239       4/29/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79200              Disclosure - KY.pdf                        268412       4/29/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79200              Purchase Agreement.pdf                     334418       4/29/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79200              Qualified Assignement.pdf                  249532       4/29/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79200              Request for Change of Beneficiary.pdf      169722       4/29/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79200              Searches.pdf                             1379574        4/29/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79200              Seller Identification.pdf                  235828       4/29/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79200              Settlement Agreement.pdf                   837337       4/29/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79200              Stipulation.pdf                          5849386        4/29/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79201              277092_10_FinalPackage.pdf              20848086        2/28/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79201              79201 Carson, Charles-Monte.tv5             10455       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79201              Annuity Contract.pdf                       248757       4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79201              Application.pdf                            453062       4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79201              Benefits Letter.pdf                        162477       4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79201              Court Order.pdf                            648210       4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79201              Credit Report.pdf                           93691       4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79201              Disclosure - NC.pdf                        312697       4/29/2022 17:41




                                                                2151
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2153 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79201              Purchase Agreement.pdf                   1193638       4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79201              Request For Acknowledgement.pdf            150652      4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79201              Request for Change of Beneficiary.pdf      169648      4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79201              Searches.pdf                             1826174       4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79201              Seller Identification.pdf                2377852       4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79201              Settlement Agreement.pdf                   929085      4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79201              Stipulation.pdf                          5643869       4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79201              W9.pdf                                   1917004       4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79202              1626612_2_FinalPackage.pdf              21863095       2/28/2022 21:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79202              79202 Dent-Howell, Ebony.tv5                10140      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79202              Annuity Contract.pdf                       176688       5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79202              Application.pdf                            275471       5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79202              Court Order.pdf                          2412671        5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79202              Credit Report.pdf                          102794       5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79202              Disclosure - IL.pdf                        777944       5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79202              Disclosure - IN.pdf                        139900       5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79202              Disclosure - TX.pdf                        777501       5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79202              Purchase Agreement.pdf                     235459       5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79202              Request For Acknowledgement.pdf            133368       5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79202              Request for Change of Beneficiary.pdf      745096       5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79202              Searches.pdf                               603441       5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79202              Seller Identification.pdf                  647048       5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79202              Settlement Agreement.pdf                   487461       5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79202              Stipulation.pdf                          2992213        5/2/2022 11:36




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                                       3467



               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79205              1349615_5_FinalPackage.pdf              10979187       2/25/2022 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79205              79205 Basinger, Robert.tv5                  10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79205              Annuity Contract.pdf                       469565       5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79205              Application.pdf                            352759       5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79205              Benefits Letter.pdf                        210238       5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79205              Court Order.pdf                            362349       5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79205              Credit Report.pdf                          103062       5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79205              Death Certificate.pdf                      390408       5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79205              Disclosure - CO.pdf                        175376       5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79205              Purchase Agreement.pdf                     293810       5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79205              Qualified Assignement.pdf                  683988       5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79205              Request for Change of Beneficiary.pdf      168848       5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79205              Searches.pdf                             1610619        5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79205              Seller Identification.pdf                4444119        5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79205              Settlement Agreement.pdf                 1018035        5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79205              SSN.pdf                                    283559       5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79205              Stipulation.pdf                            758073       5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79206              1880213_1_FinalPackage.pdf              24372871       2/25/2022 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79206              79206 Bair, Stephen.tv5                     10257      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79206              Annuity Contract.pdf                       745608       5/2/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79206              Application.pdf                            213297       5/2/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79206              Court Order.pdf                          3992896        5/2/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79206              Credit Report.pdf                          102126       5/2/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79206              Disclosure - NC.pdf                        115349       5/2/2022 14:52




                                                                2153
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2155 of
                                       3467



               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79206              IPA.pdf                                    145455        5/2/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79206              Pleadings.pdf                            3424805         5/2/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79206              Purchase Agreement.pdf                     609167        5/2/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79206              Request For Acknowledgement.pdf            202556        5/2/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79206              Request for Change of Beneficiary.pdf       94417        5/2/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79206              Searches.pdf                             1129298         5/2/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79206              Seller Affidavit.pdf                       323452        5/2/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79206              Seller Identification.pdf                  314743        5/2/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79206              Settlement Agreement.pdf                 1719916         5/2/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79206              SSN.pdf                                    314743        5/2/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79211              633507_2_FinalPackage.pdf                7191800        2/24/2022 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79211              79211 Fick, Travis.tv5                        9983      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79211              Annuity Contract.pdf                       429172        5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79211              Application.pdf                            338460        5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79211              Court Order.pdf                            281029        5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79211              Credit Report.pdf                          106621        5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79211              Disclosure - MI.pdf                        172481        5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79211              Divorce.pdf                              2266602         5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79211              Purchase Agreement.pdf                     255117        5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79211              Request For Acknowledgement.pdf            142497        5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79211              Searches.pdf                             1377678         5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79211              Seller Affidavit.pdf                       182208        5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79211              Seller Identification.pdf                  212927        5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79211              Settlement Agreement.pdf                   371703        5/2/2022 15:25




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                                       3467



               All Paths/Locations                                Unified Title                  File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79211              Stipulation.pdf                                       645945        5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79214              79214 Ramos, Shawn.tv5                                 10172       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79214              947570_3_FinalPackage.pdf                           9347767        2/28/2022 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79214              Annuity Contract.pdf                                  333226        5/2/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79214              Application.pdf                                       469554        5/2/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79214              Court Order.pdf                                       262243        5/2/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79214              Credit Report.pdf                                     105679        5/2/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79214              Purchase Agreement.pdf                                323718        5/2/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79214              Request For Acknowledgement.pdf                       150712        5/2/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79214              Request for Change of Beneficiary.pdf                 971375        5/2/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79214              Searches.pdf                                        2518602         5/2/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79214              Seller Identification.pdf                             179449        5/2/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79214              Settlement Agreement.pdf                            3010632         5/2/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79214              W9.pdf                                                215059        5/2/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79225              1025511_7_FinalPackage.pdf                         19681272        2/24/2022 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79225              79225 Pointer, Tishay.tv5                                9986      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79225              Annuity Contract.pdf                                  217366       4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79225              Application.pdf                                       325742       4/25/2022 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79225              Court Order.pdf                                     5883567        4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79225              Credit Report.pdf                                     106246       4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79225              Disclosure - GA.pdf                                   176644       4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79225              DocuSign.pdf                                          164603       4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79225              Drivers License.pdf                                   123493       4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79225              Letters of Guardianship of Property of Minor.pdf    2740206        4/25/2022 11:08




                                                                2155
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2157 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79225              Petition.pdf                             1333445        4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79225              Prior Court Orders.pdf                   1216854        4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79225              Purchase Agreement.pdf                     429246       4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79225              Request For Acknowledgement.pdf            176065       4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79225              Request for Change of Beneficiary.pdf      167563       4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79225              Searches.pdf                             1462176        4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79225              Settlement Agreement.pdf                   896844       4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79225              Stipulation.pdf                          4626933        4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79228              688720_1_FinalPackage.pdf                6641545        2/25/2022 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79228              79228 Ellison, Devin (REVISED).tv5            9985      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79228              79228 Ellison, Devin.tv5                    10521       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79228              Annuity Contract.pdf                        26001       7/26/2024 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79228              Application.pdf                            302132       4/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79228              Court Order.pdf                            401259       7/26/2024 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79228              Credit Report.pdf                          116534       4/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79228              Disclosure - MO.pdf                        275704       4/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79228              Disclosure - TX.pdf                        366017       4/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79228              DocuSign.pdf                               230862       4/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79228              Guardianship.pdf                         1109219        4/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79228              Minors Compromise.pdf                      426013       4/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79228              New - Ellison, Devin (ID).pdf              383048        2/9/2024 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79228              Purchase Agreement.pdf                     556310       4/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79228              Request For Acknowledgement.pdf            172819       4/22/2022 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79228              Request for Change of Beneficiary.pdf      168185       4/22/2022 16:31




                                                                2156
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2158 of
                                       3467



               All Paths/Locations                                  Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79228              Searches.pdf                                      917915       4/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79228              Settlement Agreement.pdf                          469617       4/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79228              Stipulation.pdf                                   824606       4/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79234              1835924_3_FinalPackage.pdf                     10337629        2/25/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79234              79234 Wilkinson, Douglas.tv5                       10022       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79234              Annuity.pdf                                       121748       4/22/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79234              Application.pdf                                   332806       4/22/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79234              Court Order.pdf                                   398228       4/22/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79234              Credit Report.pdf                                  85165       4/22/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79234              DocuSign.pdf                                      156576       4/22/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79234              Drivers License.pdf                             6593122        4/22/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79234              Purchase Agreement.pdf                            494562       4/22/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79234              Request For Acknowledgement.pdf                   169952       4/22/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79234              Searches.pdf                                    1082149        4/22/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79234              Settling Documents .pdf                         1236825        4/22/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79256              746518_10_FinalPackage.pdf                      6265685         3/10/2022 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79256              79256 Clausen-Laws, Raymond.tv5                      9992      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79256              Annuity Contract.pdf                              778611        5/3/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79256              Application.pdf                                   326103        5/3/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79256              Court Order.pdf                                   859130        5/3/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79256              Credit Report.pdf                                 102142        5/3/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79256              Disclosure - IL.pdf                               175901        5/3/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79256              DocuSign.pdf                                       95080        5/3/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79256              New - Clausen-Laws, Raymond (ack letter).pdf      197318        2/9/2024 17:00




                                                                2157
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2159 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79256              Request For Acknowledgement.pdf           187801        5/3/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79256              Searches.pdf                            1478997         5/3/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79256              Settlement Agreement.pdf                  576572        5/3/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79256              Settling Documents .pdf                   737606        5/3/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79260              1041462_1_FinalPackage.pdf             23959012        3/11/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79260              79260 Adjei, Jason.tv5                       9983      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79260              Annuity Contract.pdf                       74339       4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79260              Application.pdf                           275245       4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79260              Court Order from Original Court.pdf        99308       4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79260              Court Order.pdf                         1564758        4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79260              Credit Report.pdf                         109840       4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79260              Disclosure - NY.pdf                       282817       4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79260              Drivers License.pdf                    18616419        4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79260              Infants Compromise Order.pdf              386714       4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79260              Lien and Judgment Search.pdf              652238       4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79260              Proof of Service.pdf                      191043       4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79260              Purchase Agreement.pdf                    495697       4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79260              Seller Affidavit.pdf                      184891       4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79260              Stipulation.pdf                           708014       4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79262              1335219_2_FinalPackage.pdf             15731970         3/9/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79262              79262 Mendez, Nadia.tv5                      9984      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79262              Application.pdf                           315627       4/26/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79262              Benefits Letter.pdf                       205791       4/26/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79262              Court Order.pdf                           545241       4/26/2022 16:16




                                                                2158
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                                       3467



               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79262              Disclosure - CA.pdf                        279344       4/26/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79262              Docusign.pdf                               147747       4/26/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79262              Minors Compromise.pdf                      468824       4/26/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79262              Purchase Agreement.pdf                   6171644        4/26/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79262              Request For Acknowledgement.pdf            172865       4/26/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79262              Searches.pdf                               931267       4/26/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79262              Seller Affidavit.pdf                       467524       4/26/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79262              SSN.pdf                                    886767       4/26/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79262              Stipulation.pdf                          3407908        4/26/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79264              1439878_10_FinalPackage.pdf             19815144         3/4/2022 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79264              79264 Scott, Myiesha.tv5                      9987      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79264              Application.pdf                            319403       5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79264              Benefits Letter.pdf                        281705       5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79264              Court Order.pdf                            264654       5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79264              Credit Report.pdf                          104598       5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79264              Disclosure - FL.pdf                        259942       5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79264              Disclosure - TX.pdf                        260007       5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79264              Docusign.pdf                               156760       5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79264              Drivers License.pdf                        607206       5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79264              Petition.pdf                               161839       5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79264              Purchase Agreement.pdf                   1742867        5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79264              Request For Acknowledgement.pdf             89624       5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79264              Request for Change of Beneficiary.pdf      164224       5/10/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79264              Searches.pdf                               896954       5/10/2022 11:40




                                                                2159
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                                       3467



               All Paths/Locations                                   Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79264              SSN.pdf                                      388088       5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79264              Stipulation.pdf                           12994557        5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79265              1495973_4_FinalPackage.pdf                 9475622        3/11/2022 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79265              79265 Hamblin, Shannon.tv5                      9987      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79265              Annuity Contract.pdf                         584714       4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79265              Application.pdf                              224214       4/26/2022 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79265              Benefits Letter.pdf                          139804       4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79265              Court Order.pdf                            4419443        4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79265              Credit Report.pdf                            105202       4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79265              Disclosure - CT.pdf                          157694       4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79265              Disclosure - NY.pdf                          140901       4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79265              Disclosure - PA.pdf                          157580       4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79265              Docusign.pdf                                 164586       4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79265              Drivers License.pdf                          415921       4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79265              New - Hamblin, Shannon (ack letter).pdf       51172        2/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79265              Prior Court Orders.pdf                       691093       4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79265              Proof of Service.pdf                       1819597        4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79265              Purchase Agreement.pdf                       253735       4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79265              Qualified Assignement.pdf                    361324       4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79265              Request For Acknowledgement.pdf              185196       4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79265              Searches.pdf                                 757990       4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79265              Seller Affidavit.pdf                         184442       4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79268              1636766_4_FinalPackage.pdf                 5496886        3/10/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79268              79268 Harrison, Elizabeth.tv5                   9990      10/9/2024 17:28




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2162 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79268              Application.pdf                          369396      5/10/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79268              Benefits Letter.pdf                      593188      5/10/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79268              Court Order.pdf                        1761883       5/10/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79268              Credit Report.pdf                        222616      5/10/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79268              Disclosure - FL.pdf                      270170      5/10/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79268              Docusign cert.pdf                         94493      5/10/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79268              Drivers License.pdf                      249860      5/10/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79268              Notice of Transfer.pdf                   158766      5/10/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79268              Purchase Agreement.pdf                   432078      5/10/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79268              QA page.pdf                              236847      5/10/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79268              Request For Acknowledgement.pdf          150731      5/10/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79268              SA exception.pdf                         340561      5/10/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79268              Searches.pdf                           1146462       5/10/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79269              1656526_2_FinalPackage.pdf             8829960        3/9/2022 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79269              79269 James, Laci.tv5                     10140      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79269              Annuity Contract.pdf                     584290      7/22/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79269              Application.pdf                          319980      4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79269              Change of Beneficiary.pdf                112718      4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79269              Court Order.pdf                        1212103       4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79269              Credit Report.pdf                        184738      4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79269              Disclosure - CA.pdf                      362959      4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79269              DocuSign.pdf                             255265      4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79269              Drivers License.pdf                      215723      4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79269              Petition.pdf                             288783      4/26/2022 17:31




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2163 of
                                       3467



               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79269              Proof of Service.pdf                       603063      4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79269              Purchase Agreement.pdf                   1873447       4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79269              Qualified Assignement.pdf                  558355      4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79269              Request For Acknowledgement.pdf            172701      4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79269              Searches.pdf                             1154100       4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79269              Settlement Agreement.pdf                   396664      4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79269              Stipulation.pdf                            464383      4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79270              1675268_9_FinalPackage.pdf              14468617        3/9/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79270              79270 Donaldson, Erik.tv5                   10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79270              Annuity Contract.pdf                       445316      4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79270              Application.pdf                            331109      4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79270              Court Order.pdf                            326164      4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79270              Credit Report.pdf                          102864      4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79270              Disclosure - GA.pdf                        271579      4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79270              Docusign cert.pdf                          350116      4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79270              Proof of residency.pdf                   1485836       4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79270              Purchase Agreement.pdf                   2068698       4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79270              Request For Acknowledgement.pdf            212580      4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79270              Request for Change of Beneficiary.pdf      163316      4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79270              Searches.pdf                             2246273       4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79270              Seller Identification.pdf                  335497      4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79270              Settlement Agreement.pdf                   791515      4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79270              Social security card.pdf                 1029228       4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79270              Stipulation.pdf                          3794769       4/21/2022 16:24




                                                                2162
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2164 of
                                       3467



               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79271              1734680_1_FinalPackage.pdf              11739298        3/10/2022 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79271              79271 Sclafani, Michael.tv5                   9990      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79271              Annuity Contract.pdf                       773830       5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79271              Application.pdf                            371086       5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79271              Court Order.pdf                            344457       5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79271              Credit Report.pdf                          106299       5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79271              Disclosure - NY Amend.pdf                  553121       5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79271              Disclosure - NY.pdf                        491795       5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79271              Docusign certs.pdf                         209937       5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79271              Drivers License.pdf                      1369037        5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79271              Notice of transfer.pdf                     500982       5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79271              Purchase Agreement.pdf                     476073       5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79271              Request for Change of Beneficiary.pdf      169443       5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79271              Searches.pdf                             1014671        5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79271              Seller Affidavit.pdf                     1016637        5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79271              Settlement Agreement.pdf                   788807       5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79271              Stipulation.pdf                          3822628        5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79272              1808208_3_FinalPackage.pdf               5759633         3/9/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79272              79272 Downing, Isaiah.tv5                   10303       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79272              Annuity Contract.pdf                       387605       4/26/2022 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79272              Application.pdf                            411490       4/26/2022 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79272              Benefits Letter.pdf                        475193       4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79272              Court Order.pdf                            757402       4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79272              Credit Report.pdf                          106130       4/26/2022 17:50




                                                                2163
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2165 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79272              Disclosure - FL.pdf                        152420       4/26/2022 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79272              Docusign.pdf                               259585       4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79272              Drivers License.pdf                        400399       4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79272              Guardianship .pdf                           98567       4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79272              not the right ack letter.pdf               245735        2/9/2024 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79272              Probate.pdf                                 93478       4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79272              Proof of Service.pdf                       190700       4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79272              Purchase Agreement.pdf                     525628       4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79272              Qualified Assignement.pdf                  281872       4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79272              Request For Acknowledgement.pdf            142011       4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79272              Request for Change of Beneficiary.pdf      157649       4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79272              Searches.pdf                             1229806        4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79272              Settlement Agreement.pdf                   380627       4/26/2022 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79272              Trust Agreement.pdf                        116206       4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79274              1822241_2_FinalPackage.pdf              18656973         3/7/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79274              79274 Ratliff, Jacob.tv5                      9985      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79274              Annuity.pdf                                623034       4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79274              Application.pdf                            365666       4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79274              Court Order.pdf                          3022335        4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79274              Credit Report.pdf                          104834       4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79274              Disclosure - IL.pdf                        266772       4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79274              Disclosure - KY.pdf                        266581       4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79274              DocuSign.pdf                               258374       4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79274              Proof of Service.pdf                     8836942        4/27/2022 11:16




                                                              2164
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2166 of
                                       3467



               All Paths/Locations                                   Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79274              Purchase Agreement.pdf                      588475       4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79274              Qualified Assignement.pdf                   316621       4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79274              Request for Change of Beneficiary.pdf        93480       4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79274              Searches.pdf                              1019522        4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79274              Seller Affidavit.pdf                        192567       4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79274              Seller Identification.pdf                   191511       4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79274              Settlement Agreement.pdf                    190902       4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79274              Stipulation.pdf                           1267507        4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79277              1860293_3_FinalPackage.pdf                5650256         3/9/2022 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79277              79277 - Jones, Janshee.tv5                     9987      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79277              Application.pdf                             384258       4/29/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79277              Court Order.pdf                           1053249        4/29/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79277              Disclosure - VA.pdf                         265195       4/29/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79277              Docusign Certificate of Completion.pdf      219235       4/29/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79277              New - Jones, Jashee (ack letter).pdf         69854        2/9/2024 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79277              Purchase Agreement.pdf                      293991       4/29/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79277              Request For Acknowledgement.pdf             245265       4/29/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79277              Searches.pdf                              2108716        4/29/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79277              Seller Identification.pdf                   277279        7/5/2024 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79277              Waiver of IPA.pdf                           194407       4/29/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79279              1819054_2_FinalPackage.pdf               11113224         3/9/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79279              79279 Jaramillo, Janie.tv5                   10021       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79279              Application.pdf                             222689       4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79279              Court Order.pdf                           1366337        4/21/2022 10:39




                                                                2165
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                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79279              Credit Report.pdf                        100831      4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79279              Disclosure - NY.pdf                      158055      4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79279              Disclosure - TX.pdf                      156479      4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79279              DocuSign.pdf                             169418      4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79279              Purchase Agreement.pdf                   342465      4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79279              Request For Acknowledgement.pdf          179620      4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79279              Searches.pdf                             733204      4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79279              Seller Identification.pdf                349463      4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79279              Settlement Agreement.pdf               5547152       4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79279              Stipulation.pdf                          924616      4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79280              580581_12_FinalPackage.pdf            13656332        3/7/2022 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79280              79280 Lukens, Frederick.tv5               10416      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79280              Application.pdf                          324988      4/21/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79280              Benefits Letter.pdf                       90146      4/21/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79280              Birth Certificate.pdf                    159377      4/21/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79280              Court Order.pdf                        3625961       4/21/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79280              Credit Report.pdf                        105253      4/21/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79280              Disclosure - FL.pdf                      266073      4/21/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79280              Disclosure - PA.pdf                      185277      4/21/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79280              Divorce.pdf                               81932      4/21/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79280              DocuSign .pdf                            259011      4/21/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79280              New - Lukens, Frederick (ack).pdf        224228       2/9/2024 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79280              Purchase Agreement.pdf                 1774070       4/21/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79280              Request For Acknowledgement.pdf          167563      4/21/2022 10:54




                                                                2166
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                                       3467



               All Paths/Locations                                 Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79280              Searches.pdf                           2477870       4/21/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79280              Seller Identification.pdf                274938      4/21/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79280              Settlement Agreement Affidavit .pdf      115470      4/21/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79280              Settlement Agreement.pdf                 268873      4/21/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79280              Settling Documents .pdf                1728472       4/21/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79280              SSN.pdf                                  178457      4/21/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79281              375027_2_FinalPackage.pdf             10098514       3/10/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79281              79281 Cooper, Ebony.tv5                   10445      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79281              Application.pdf                          629299      4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79281              Aviva Guarantee.pdf                       75610      4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79281              Benefits Letter.pdf                      194977      4/12/2013 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79281              Court Order.pdf                          327137      4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79281              Credit Report.pdf                        104897      4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79281              Disclosure - NY.pdf                      732655      4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79281              Drivers License and SS Card.pdf          464365      4/12/2013 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79281              Identification.pdf                       255473      4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79281              Notice of Transfer.pdf                   382067      4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79281              Payment Stream .pdf                       92470      4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79281              Proof of residency.pdf                   222636      4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79281              Purchase Agreement.pdf                 1120836       4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79281              Searches.pdf                           1007462       4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79281              Settlement Agreement.pdf               1739856       4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79281              Stipulation.pdf                        2131392       4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79282              1877068_1_FinalPackage.pdf            13907512       3/11/2022 16:03




                                                                2167
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                                       3467



               All Paths/Locations                                  Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79282              79282 Barbee, Marybeth.tv5                        10209      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79282              Acknowledgment of Assignment.pdf               2305603       4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79282              Affidavit.pdf                                    409353      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79282              Annuity Contract.pdf                             398427      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79282              Application.pdf                                  706385      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79282              Assignment Agreement.pdf                         622987      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79282              Benefits Letter.pdf                               46372      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79282              Court Order.pdf                                  490081      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79282              Credit Report.pdf                                 19128      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79282              Disclosure - DE.pdf                              408486      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79282              Disclosure - IA.pdf                              363066      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79282              Disclosure - MO.pdf                              378592      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79282              Docusign certificate.pdf                          44481      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79377              Payees Affidavit in Support of Petition.pdf      175717      3/28/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79377              Pleadings.pdf                                  1526152       3/28/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79377              Purchase Agreement.pdf                        11395254       3/28/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79377              Qualified Assignment.pdf                         820703      3/31/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79377              Searches.pdf                                      26977      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79377              SSN.pdf                                          167558      3/28/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79377              Stipulation.pdf                                  578568      3/31/2022 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79377              UCC.pdf                                           22348      10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79378              79378 Marney, Nickolas.tv5                        10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79378              Acknowledgment.pdf                                37648      4/14/2022 10:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79378              Agreed Judgment.pdf                            3922193       3/31/2022 10:04




                                                                2168
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                                       3467



               All Paths/Locations                                  Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79378              Application.pdf                                  2252181       3/31/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79378              Assignment Agreement Executed.pdf                   25210       4/11/2022 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79378              Benefits Letter.pdf                              3033795        4/11/2022 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79378              Certification.pdf                                2085159       3/31/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79378              Closing Book Nickolas Marney.pdf                 8226490        3/9/2022 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79378              Credit Report.pdf                                2542239       3/31/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79378              Disclosure - DE.pdf                              2000145       3/31/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79378              Disclosure - TX.pdf                              2000530       3/31/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79378              Docusign Certificate 431.pdf                     2032558       3/31/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79378              Docusign Certificate A50.pdf                     2032534       3/31/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79378              Drivers License.pdf                              1030348        4/11/2022 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79378              Motion for Determination for Settlement.pdf      3752486       3/31/2022 10:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79378              Nasp Search.pdf                                  2060270       3/31/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79378              Pleadings.pdf                                    2752094       3/31/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79378              Purchase Agreement.pdf                           2301847       3/31/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79378              Request for Change of Beneficiary.pdf            2000775       3/31/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79378              Searches.pdf                                     2016070       3/31/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79378              Social Security Card.pdf                         3490908        4/11/2022 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79378              UCC Search updated.pdf                              50994       4/1/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              79382 Nicholson, Donye.tv5                          10169      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              Affidavit in Lieu of Settlement Agreement.pdf       50001      3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              Annuity Contract.pdf                             7538247       3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              Application.pdf                                     85673      3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              Assignment.pdf                                      93020       4/4/2022 12:28




                                                              2169
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2171 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              Authorizations.pdf                         43531       3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              Backup for Searches.pdf                   200179        4/1/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              Bankruptcy Search.pdf                     585805       3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              Court Order.pdf                           677463        4/1/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              Credit Report.pdf                          39758       3/28/2022 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              Disclosure - IL.pdf                        48250       3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              Disclosure - NY.pdf                        44658       3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              Disclosure - PA.pdf                        69194       3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              Drivers License.pdf                       643082       3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              Lien and Judgments Search.pdf             179114       3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              Nicholson Assignment.docx                  25835        4/1/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              Nicholson Closing Binder.pdf           23599147        3/31/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              Payees Affidavit in Support of .pdf        55411       3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              Pleadings.pdf                           9169917        3/31/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              Qualified Assignment.pdf                2420924        3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              Seller Affidavit.pdf                       69672       3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              Settlement Agreement and Release.pdf    1760004        3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              Social Security Card.pdf                   93279       3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              Stipulation.pdf                         2210589         4/1/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79382              UCC Search.pdf                             90134       3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79384              79384 Atha, Brooke.tv5                       9983      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79384              Acknowledgment.pdf                        100352        4/6/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79384              Application.pdf                           412139         2/9/2022 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79384              Auth to Release.pdf                        76754         2/9/2022 9:49




                                                                2170
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2172 of
                                       3467



               All Paths/Locations                                 Unified Title           File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79384              Benefits Letter.pdf                             342343       2/21/2022 16:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79384              Closing Binder.pdf                           11443493        3/29/2022 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79384              COB Request.pdf                                  63758         2/9/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79384              Court Order.pdf                               2130251        3/30/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79384              Credit Report.pdf                               343973       3/30/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79384              Disclosure CT.pdf                               122768         2/9/2022 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79384              Disclosure GA.pdf                               135479         2/9/2022 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79384              Disclosure Proof of Delivery .pdf               205505        2/8/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79384              Driver License.pdf                            1320059         2/9/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79384              E-Sign Certificate - Closing Statement.pdf       37924       10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79384              Esign Certificate 2.8.22.pdf                     46480         2/9/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79384              Pleadings Amended.pdf                         2071400        3/31/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79384              Pleadings.pdf                                 1489916        3/31/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79384              Purchase Agreement.pdf                        1590267        3/29/2022 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79384              Qualified Assignment.pdf                         74338       2/21/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79384              Searches.pdf                                    437339       3/30/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79384              Settlement Agreement.pdf                      5422234        7/13/2015 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79384              Social Security Card.pdf                        124815        2/9/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              79387 Sousa, Trenton.tv5                           9985      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              Acknowledgment 79387.pdf                         49131        5/5/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              Affidavit.pdf                                   128940       3/31/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              Annuity Contract.pdf                            177709       3/31/2022 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              Annuity Cover Page.pdf                           27148       3/31/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              Application.pdf                               3280818        3/31/2022 14:11




                                                              2171
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2173 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              Authorization Release Info.pdf        2037049       3/31/2022 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              Authorized Assignment.pdf               228096        4/1/2022 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              Bankruptcy Search .pdf                   87475      3/31/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              Benefit Letter.pdf                       23088      3/31/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              Closing Binder.pdf                    5677082        3/8/2022 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              Court Order.pdf                         186358        4/7/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              Credit Report Sousa.pdf                 140749       4/4/2022 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              Disclosure NV.pdf                        87874      3/31/2022 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              Disclosure TX.pdf                        83502      3/31/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              DocuSign Cerrt 6F80.pdf                  58259      3/31/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              DocuSign Cerrt AAB7.pdf                  64175      3/31/2022 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              ID.pdf                                  247334      3/31/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              Pleadings.pdf                         2566453       3/31/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              Purchase Agreement .pdf                 387780      3/31/2022 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              Schedule of Payments.pdf                 13682      3/31/2022 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              Searches.pdf                            566898      3/31/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              Settlement Agreement.pdf                376388      3/31/2022 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              Social Security Verification.pdf        151943      3/31/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              Stipulation.pdf                         249770      3/29/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79387              ZIP Code USPS.pdf                        65820      3/31/2022 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79389              79389 Lewisa, Asha.tv5                   10141      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79389              Annuity.pdf                             678345      9/18/2018 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79389              Application.pdf                         410464       1/25/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79389              Assignment Agreement.pdf                160513       4/1/2022 16:14




                                                                2172
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                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79389              Auth to Release.pdf                     75232       1/25/2022 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79389              Bene.pdf                                61966       1/25/2022 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79389              Court Order.pdf                      1892030        4/1/2022 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79389              Credit Report.pdf                      215796      1/26/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79389              Disclosure Proof of Delivery.pdf       204986      1/24/2022 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79389              Disclosure- OK and WA.pdf              119294       1/25/2022 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79389              DL.pdf                               1636551       1/25/2022 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79389              E-Sign Certificate 1-27-22.pdf          45822      1/27/2022 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79389              Esign Certificate 1-24.pdf              47500      3/31/2022 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79389              Marriage certificate.pdf               421747      9/18/2018 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79389              PI docket.pdf                          876725      1/26/2022 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79389              Pleadings.pdf                        4557605       3/30/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79389              Purchase Agreement.pdf                 329445      3/30/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79389              Qualified Assignment.pdf               350248      9/18/2018 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79389              Searches.pdf                           440258       1/25/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79389              SSC.pdf                                705876     11/26/2018 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79389              Stipulation.pdf                        526145        4/1/2022 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              79390 Rodriguez, Elijah.tv5             10468      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Acknowledgment.pdf                     102974      4/12/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Application.pdf                        234606      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Assignment BTG to St James.pdf         125964      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Assignment JLC to BTG.pdf              126154      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Authorization to Release.pdf           136868      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Bankruptcy Search.pdf                  158971      3/30/2022 15:32




                                                                2173
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                                       3467



               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Benefits Letter.pdf                         23207      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Closing Binder.pdf                       5778395        3/30/2022 5:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Confidentiality Request.pdf                146677      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Court Order.pdf                            163128      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Credit Report.pdf                          308455      3/30/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Declaration.pdf                            277063      4/27/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Disclosure - CT.pdf                         66478      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Disclosure - FL.pdf                         86181      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Disclosure - NY.pdf                        165819      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Disclosure Affidavit.pdf                    97793      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Fully Executed Transfer Agreement.pdf      487312      4/27/2022 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Lease.pdf                               12040183       4/27/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Lien Search.pdf                            201037      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Minors Order.pdf                         2818607       3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Pleadings.pdf                              624040      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Proof of residence.pdf                      88339      4/27/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Request for Change of Beneficiary.pdf      120776      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Seller Identification.pdf                  109409      4/27/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Settlement Agreement Affidavit.pdf         197227      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              Social Security Card.pdf                    62121      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79390              UCC Search.pdf                             376636      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79393              79393 Dobson, Christopher.tv5               12303      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79393              Acknowledgement.pdf                        142561       5/5/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79393              Application.pdf                            189787      3/31/2022 12:39




                                                              2174
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                                       3467



               All Paths/Locations                                   Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79393              Assignment.pdf                                     863944      4/27/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79393              Benefits Letter.pdf                                 23556      3/31/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79393              Closing Binder.pdf                              12657440       3/30/2022 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79393              Court Order.pdf                                    104999      3/31/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79393              Credit Report.pdf                                  122546      3/31/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79393              Decision regarding Count II.pdf                    237976      3/31/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79393              Disclosure - CT.pdf                                 81704      3/31/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79393              Disclosure - DE.pdf                                 81692      3/31/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79393              Disclosure - NY.pdf                                 81838      3/31/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79393              DocuSign Certificates.pdf                           16192      3/31/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79393              Drivers License.pdf                                 98987      3/31/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79393              Pleadings.pdf                                   10498236       3/31/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79393              Proof of USPS Disclosure Delivery.pdf              107172      3/31/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79393              Purchase Agreement.pdf                             164190      3/31/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79393              Searches.pdf                                       109956      3/31/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79393              Seller Affidavit.pdf                               650214      3/31/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79393              Settlement Agreement.pdf                         1268179       3/31/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79393              Social Security Card.pdf                           937152      3/31/2022 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79395              79395 Mann, Tameka.tv5                              10585      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79395              Acknowledgment.pdf                                 100780      4/12/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79395              Affidavit in Lieu of Settlement Agreement.pdf      152913       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79395              Annuity Contract.pdf                                97134       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79395              Application.pdf                                    185215       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79395              Assignment BTG to St James.pdf                     184225       4/1/2022 13:49




                                                              2175
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                                       3467



               All Paths/Locations                                  Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79395              Assignment Greenwood to BTG.pdf               184352       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79395              Authorizations.pdf                            125297       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79395              Bankruptcy Search.pdf                         153449       4/1/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79395              Benefits Letter.pdf                            24312       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79395              Closing Book Tameka Mann.pdf                6494931        4/1/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79395              Court Order.pdf                             1973165         4/4/2022 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79395              Credit Report.pdf                             179690      3/31/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79395              Disclosure - CT.pdf                           190747       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79395              Disclosure - MS.pdf                           192017       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79395              Disclosure Affidavit.pdf                       78821       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-   Divorce Decree from Lee Buckner December
SuttonPark\Closing Binders\79395              2007.pdf                                      270148      10/9/2024 20:16
Saiph consulting|\Audit Materials Received-   Divorce Decree from Timothy Hall August
SuttonPark\Closing Binders\79395              2013.pdf                                      408848      10/9/2024 20:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79395              Lien Search.pdf                               200685       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79395              PI Case Docket Sheet.pdf                      289341       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79395              Pleadings.pdf                                 638574       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79395              Purchase Agreement.pdf                        893308       4/1/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79395              Qualified Assignment.pdf                       75183       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79395              Request for Change of Beneficiary.pdf          96337       4/1/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79395              Seller Identification.pdf                      37862       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79395              UCC Search.pdf                                378930       4/1/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79398              79398 Frasure, Brittney.tv5                    10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79398              Acknowledgment.pdf                             50607       5/2/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79398              Affidavit.pdf                                 308286      2/22/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79398              Annuity Contract.pdf                          187156       4/1/2022 12:32




                                                              2176
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2178 of
                                       3467



               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79398              Application.pdf                          1060553       2/22/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79398              Assignment Executed.pdf                    314795       4/1/2022 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79398              Benefit Letter.pdf                          46018       4/1/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79398              Closing Binder.pdf                      11561805        4/1/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79398              Court Order.pdf                            245972      4/22/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79398              Credit Report.pdf                          210333      3/30/2022 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79398              Disclosure Affidavit.pdf                   292847      2/22/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79398              Disclosure Ohio.pdf                        956934      2/22/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79398              Driver License.pdf                         552529      2/22/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79398              Pleadings.pdf                            2060383        4/1/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79398              Purchase Agreement.pdf                   3790103        4/1/2022 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79398              Qualified Assignment.pdf                   389772       4/1/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79398              Redirection Reconfiguration 79398.pdf      103374      7/20/2022 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79398              Searches.pdf                               531261      3/30/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79398              Settlement Agreement.pdf                 1047301       3/30/2022 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79398              Social Security Card.pdf                   560201      3/16/2022 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79398              ZIP USPS.pdf                                65994       4/1/2022 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              79410 - Acknowledgment.pdf                  73313      4/25/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              79410 Mosher, Marshall.tv5                  10644      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              7EE1.pdf                                   374712      10/9/2024 20:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              96BA.pdf                                   337581      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              Acknowledgment.PDF                          73313      4/25/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              Affidavit in Lieu of SA.pdf                536834       4/5/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              Affidavit.pdf                              479823       4/5/2022 12:26




                                                              2177
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2179 of
                                       3467



               All Paths/Locations                                 Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              Annuity Contract.pdf                        876072       4/5/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              Application.pdf                             168565      3/22/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              Benefits Letter.pdf                          46586      3/15/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              Court Order.pdf                             143090       4/13/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              Credit Report.pdf                            24604      3/22/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              Disclosure DE.pdf                           749073       4/5/2022 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              Disclosure GA.pdf                           195530      10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              Disclosure MA.pdf                           529191       4/5/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              Disclosure POD.pdf                          273120       4/5/2022 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              Disclosure GA - Marshall Mosher.pdf          98384      2/24/2022 22:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              Driver License.pdf                        1998588        4/5/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              New - Acknowledgment.pdf                     73313      4/25/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              Notarized Affiavit.pdf                    2441517       4/13/2022 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              953ed924ce3268cc20220413-12-n6qjt0.pdf      126874
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              Notice of Cancellation Rights.pdf           177733       4/5/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              Pleadings.pdf                             2170857        4/5/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              Purchase Agreement.pdf                    5525224        4/5/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              QA.pdf                                      311403       4/5/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              Searches.pdf                                 11982      3/22/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79410              SSC.pdf                                   2579488        4/14/2022 7:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79412              79412 Miller, Patrick.tv5                    10211      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79412              Affidavit.pdf                               129962       4/1/2022 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79412              Annuity Contract.pdf                        447407       4/1/2022 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79412              Application.pdf                           1658605        4/1/2022 16:28




                                                              2178
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2180 of
                                       3467



               All Paths/Locations                                 Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79412              Assignment Executed.pdf                               226833      10/9/2024 20:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79412              Authorization For Credit Information.pdf              829958       4/1/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79412              Bankruptcy Search.pdf                                 353441       4/1/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79412              Closing Binder.pdf                                  8204126       3/17/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79412              Credit Report.pdf                                   1471517        4/4/2022 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79412              Disclosure PA.pdf                                      86750       4/1/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79412              DocuSign Cert 6F61.pdf                                 58784       4/1/2022 16:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79412              DocuSign Cert 73EA.pdf                                 59013       4/1/2022 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79412              DocuSign Cert B112.pdf                                 64045       4/1/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79412              Driver License.pdf                                    642919       4/1/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79412              Pleadings.pdf                                       8016608        4/1/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79412              Purchase Agreement.pdf                                389121       4/1/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79412              Searches.pdf                                          877695       4/1/2022 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79412              Settlement Agreement.pdf                              278167       4/1/2022 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79412              Social Security Card.pdf                            2430262        4/5/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79412              Stipulation Executed.pdf                            1067430        4/5/2022 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79412              ZIP USPS.pdf                                           60972        4/4/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79415              79415 Mallett-Aguirre, Baylie.tv5                      10465      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79415              Acknowledgment New 79415.pdf                          119966        5/6/2022 7:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79415              Acknowledgment.pdf                                    123768       4/27/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79415              Application.pdf                                       203530       4/1/2022 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79415              Assignment.pdf                                         29586       4/1/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79415              Authorization for Deductions - Notarized Doc.pdf    1296694        4/1/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79415              Benefits Letter.pdf                                   111722       4/1/2022 13:19




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                                       3467



               All Paths/Locations                                 Unified Title          File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79415              Certification.pdf                              118028        4/1/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79415              Closing Book - Baylie Mallett-Aguirre.pdf    9253051        3/31/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79415              COB Request - Notarized Doc.pdf              2229814         4/1/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79415              Court Order.pdf                              1245560        4/14/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79415              Credit Report.pdf                              125154        4/1/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79415              Disclosure CT.pdf                               49526        4/1/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79415              Disclosure TX.pdf                               49554        4/1/2022 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79415              DocuSign Cert - 7C60.pdf                        71525        4/1/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79415              DocuSign Cert - Closing Statement.pdf          215461       10/9/2024 19:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79415              Driver License.pdf                             731211        4/1/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79415              Final Judgment.pdf                             341575        4/1/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79415              NASP Search.pdf                                 92335        4/1/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79415              Pleadings.pdf                                  607013        4/1/2022 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79415              Purchase Agreement.pdf                         318702        4/1/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79415              Searches.pdf                                   100002        4/1/2022 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79415              Social Security Card.pdf                       637188        4/1/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79415              UCC Search.pdf                                 101829        4/1/2022 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79417              1275233_1_FinalPackage.pdf                  13996195        3/22/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79417              79417 Wallace, Malaysia.tv5                       9988      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79417              Application.pdf                                329134        4/7/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79417              Benefits Description.pdf                       263817        4/7/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79417              Court Order.pdf                                351694        4/7/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79417              Credit Report.pdf                              105116        4/7/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79417              Disclosure - CA.pdf                            180297        4/7/2022 13:07




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                                       3467



               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79417              Disclosure - IL.pdf                        175381        4/7/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79417              Pleadings.pdf                              354305        4/7/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79417              Purchase Agreement.pdf                     289461        4/7/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79417              Request For Acknowledgement.pdf            149901        4/7/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79417              Searches.pdf                             1105204         4/7/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79417              Seller Affidavit.pdf                     2302398         4/7/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79417              Seller Identification.pdf                3308048         4/7/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79417              Settlement Agreement.pdf                   693892        4/7/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79417              Stipulation.pdf                          3776618         4/7/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79418              1406800_5_FinalPackage.pdf               9653437        3/22/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79418              79418 Colemen, Donavon.tv5                    9989      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79418              Annuity Contract.pdf                       408268        4/7/2022 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79418              Application.pdf                            314349        4/7/2022 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79418              Court Order.pdf                          1473102         4/7/2022 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79418              Credit Report.pdf                          111352        4/7/2022 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79418              POR.pdf                                    677279        4/7/2022 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79418              Purchase Agreement.pdf                     358575        4/7/2022 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79418              Request for Change of Beneficiary.pdf      168867        4/7/2022 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79418              Searches.pdf                             2069981         4/7/2022 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79418              Seller Identification.pdf                  212690        4/7/2022 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79418              Settlement Agreement.pdf                 1037074         4/7/2022 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79418              Stipulation.pdf                          2194092         4/7/2022 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79418              W9.pdf                                     585891        4/7/2022 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79419              1475867_4_FinalPackage.pdf              12689351        3/22/2022 16:03




                                                                2181
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                                       3467



               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79419              79419 Deininger, Jonathan.tv5               10021       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79419              Annuity Contract.pdf                       406608        4/8/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79419              Application.pdf                            430227        4/8/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79419              Court Order.pdf                            160957        4/8/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79419              Credit Report.pdf                           97402        4/8/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79419              Purchase Agreement.pdf                   1605244         4/8/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79419              Request For Acknowledgement.pdf            149725        4/8/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79419              Request for Change of Beneficiary.pdf      170924        4/8/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79419              Searches.pdf                               708509        4/8/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79419              Seller Affidavit.pdf                       789310        4/8/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79419              Seller Identification.pdf                2991076         4/8/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79419              Settlement Agreement.pdf                   409913        4/8/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79419              Stipulation.pdf                          1854932         4/8/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79422              1835810_2_FinalPackage.pdf              27912634        3/21/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79422              79422 Cohen, Corvalis.tv5                     9986      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79422              Annuity Contract.pdf                    13644498         4/8/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79422              Application.pdf                            242243        4/8/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79422              Court Order.pdf                          1892114         4/8/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79422              Credit Report.pdf                           81416        4/8/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79422              Disclosure - CA.pdf                        306990        4/8/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79422              Pleadings.pdf                              612486        4/8/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79422              Purchase Agreement.pdf                     294220        4/8/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79422              Qualified Assignement.pdf               17560593         4/8/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79422              Request For Acknowledgement.pdf            143098        4/8/2022 15:11




                                                                2182
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                                       3467



               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79422              Searches.pdf                             1101667         4/8/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79422              Seller Affidavit.pdf                       176210        4/8/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79422              Seller Identification.pdf                  404379        4/8/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79422              Settlement Agreement.pdf                   875544        4/8/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79422              Stipulation.pdf                          4188189         4/8/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79423              1864135_1_FinalPackage.pdf              11700612        3/22/2022 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79423              79423 Tooley, Gary.tv5                        9985      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79423              Annuity Contract.pdf                       560542        4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79423              Application.pdf                            402139        4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79423              Benefits Letter.pdf                        431910        4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79423              Court Order.pdf                            291715        4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79423              Credit Report.pdf                           80520        4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79423              Disclosure - CA.pdf                        527995        4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79423              Disclosure - NY.pdf                        477218        4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79423              Pleadings.pdf                            1466831         4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79423              Purchase Agreement.pdf                     805683        4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79423              Request For Acknowledgement.pdf            148892        4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79423              Request for Change of Beneficiary.pdf    1988938         4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79423              Searches.pdf                             1583772         4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79423              Seller Affidavit.pdf                       242802        4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79423              Seller Identification.pdf                  511585        4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79423              Settlement Agreement.pdf                   235579        4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79423              Stipulation.pdf                            878023        4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79424              1866456_1_FinalPackage.pdf               5651521        3/21/2022 17:34




                                                                2183
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2185 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79424              79424 Throckmorton, Savanah.tv5             10463      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79424              Annuity Contract.pdf                       337669      4/11/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79424              Application.pdf                            338068      4/11/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79424              Court Order.pdf                            701367      4/11/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79424              Credit Report.pdf                          111190      4/11/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79424              Disclosure - MO.pdf                        177496      4/11/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79424              Disclosure - NY.pdf                        181294      4/11/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79424              Purchase Agreement.pdf                     315956      4/11/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79424              Request For Acknowledgement.pdf            150335      4/11/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79424              Request for Change of Beneficiary.pdf      225232      4/11/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79424              Searches.pdf                               775112      4/11/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79424              Seller Identification.pdf                1261977       4/11/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79424              Stipulation.pdf                            593375      4/11/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79425              499556_3_FinalPackage.pdf               32683757       3/22/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79425              79425 Mulvihill, Thomas.tv5                 10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79425              Annuity Contract.pdf                       448603      4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79425              Application.pdf                            228611      4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79425              Court Order.pdf                            436769      4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79425              Credit Report.pdf                          101350      4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79425              Disclosure - NY.pdf                      1780335       4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79425              Disclosure - TX.pdf                      1154656       4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79425              Purchase Agreement.pdf                   7063326       4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79425              Qualified Assignement.pdf                  326660      4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79425              Request For Acknowledgement.pdf            142196      4/11/2022 13:59




                                                                2184
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2186 of
                                       3467



               All Paths/Locations                                   Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79425              Searches.pdf                               842658      4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79425              Seller Affidavit.pdf                     2165887       4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79425              Seller Identification.pdf                   84965      4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79425              Settlement Agreement.pdf                 2369588       4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79425              Stipulation.pdf                         15081258       4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79426              79426 Schultz, Brittani.tv5                 11071      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79426              919357_2_FinalPackage.pdf                7888724       3/22/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79426              Annuity Contract.pdf                       903919      4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79426              Application.pdf                            974128      4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79426              Court Order.pdf                            838668      4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79426              Credit Report.pdf                          707621      4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79426              Disclosure - MN.pdf                        771978      4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79426              Disclosure - TX.pdf                        772079      4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79426              Pleadings.pdf                              862504      4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79426              Purchase Agreement.pdf                     900293      4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79426              Request For Acknowledgement.pdf            752494      4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79426              Request for Change of Beneficiary.pdf      772495      4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79426              Searches.pdf                             1686900       4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79426              Seller Identification.pdf                  874668      4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79426              Settlement Agreement.pdf                 1594997       4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79426              Stipulation.pdf                          1988527       4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79426              W9.pdf                                     755633      4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79427              79427 Dixon, Joseph.tv5                     10144      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79427              941155_2_FinalPackage.pdf               11979482       3/22/2022 17:00




                                                                2185
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2187 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79427              Annuity Contract.pdf                      896101      4/12/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79427              Application.pdf                           321463      4/12/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79427              Court Order.pdf                           340066      4/12/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79427              Credit Report.pdf                         160423      4/12/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79427              Disclosure - NY.pdf                       177749      4/12/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79427              Pleadings.pdf                             409052      4/12/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79427              Purchase Agreement.pdf                    329409      4/12/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79427              Qualified Assignement.pdf                 364686      4/12/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79427              Request For Acknowledgement.pdf           254652      4/12/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79427              Searches.pdf                            2891743       4/12/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79427              Seller Affidavit.pdf                      431790      4/12/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79427              Seller Identification.pdf               1092826       4/12/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79427              Settlement Agreement.pdf                  920633      4/12/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79427              Stipulation.pdf                         2810625       4/12/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79429              1821492_2_FinalPackage.pdf             20365314       3/21/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79429              79429 Barattini, Angela.tv5                10022      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79429              Annuity Contract.pdf                    2209549       4/12/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79429              Application.pdf                           226756      4/12/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79429              Benefits Letter.pdf                       764606      4/12/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79429              Court Order.pdf                         2125172       4/12/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79429              Credit Report.pdf                         102457      4/12/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79429              Disclosure - LA.pdf                       160440      4/12/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79429              Purchase Agreement.pdf                    263328      4/12/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79429              Qualified Assignement.pdf               5173559       4/12/2022 16:17




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               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79429              Searches.pdf                            1179703       4/12/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79429              Seller Identification.pdf                 727860      4/12/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79429              Settlement Agreement.pdf                2887197       4/12/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79430              1871092_1_FinalPackage.pdf             15945690       3/21/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79430              79430 Barela, Austin.tv5                   10261      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79430              Acknowledgment of Assignment.pdf          403068      4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79430              Annuity Contract.pdf                    1295008       4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79430              Application.pdf                           259732      4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79430              Assignment.pdf                            212196      4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79430              Court Order.pdf                         2958052       4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79430              Credit Report.pdf                         108507      4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79430              Disclosure - FL.pdf                       103402      4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79430              Disclosure - MO.pdf                        93429      4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79430              Disclosure - NE.pdf                       102972      4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79430              Pleadings.pdf                           6598016       4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79430              Purchase Agreement.pdf                    183186      4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79430              Request For Acknowledgement.pdf           146197      4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79430              Searches.pdf                              840674      4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79430              Seller Affidavit.pdf                      288782      4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79430              Settlement Agreement.pdf                1321996       4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79431              356925_2_FinalPackage.pdf               9893940       3/21/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79431              79431 Bohannon, Jeffrey.tv5                10460      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79431              Application.pdf                           330872      4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79431              Benefits Letter.pdf                        96408      4/13/2022 15:57




                                                              2187
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                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79431              Court Order.pdf                          439685      4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79431              Credit Report.pdf                         86806      4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79431              Disclosure - NV.pdf                      365709      4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79431              Disclosure - WA.pdf                      268181      4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79431              Divorce.pdf                            1968285       4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79431              Pleadings.pdf                            139006      4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79431              Purchase Agreement.pdf                   334706      4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79431              Qualified Assignement.pdf                332921      4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79431              Request For Acknowledgement.pdf          149369      4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79431              Searches.pdf                           1240599       4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79431              Seller Identification.pdf                316372      4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79431              Settlement Agreement.pdf                 707963      4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79431              Stipulation.pdf                          418012      4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79432              1861131_2_FinalPackage.pdf            39963923       3/18/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79432              79432 Ramsey, Cameron.tv5                 11225      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79432              Annuity Contract.pdf                      75915        4/8/2022 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79432              Application.pdf                          469014        4/8/2022 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79432              Court Order.pdf                        1860578         4/8/2022 7:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79432              Disclosure - MI.pdf                      473479        4/8/2022 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79432              Disclosure - TX.pdf                      597589        4/8/2022 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79432              Lien and Judgments Searches.pdf        2933182         4/8/2022 7:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79432              List of Dependents.pdf                   218565        4/8/2022 7:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79432              Petition.pdf                             997648        4/8/2022 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79432              Purchase Agreement.pdf                   257049        4/8/2022 7:52




                                                                2188
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               All Paths/Locations                                  Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79432              Request For Acknowledgement.pdf                     223113        4/8/2022 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79432              Searches.pdf                                      1233575         4/8/2022 7:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79432              Seller Identification.pdf                         4561654         4/8/2022 7:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79432              SSN.pdf                                             117209        4/8/2022 7:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79432              Stipulation.pdf                                  15550221         4/8/2022 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79432              Waiver of IPA.pdf                                   197414        4/8/2022 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79432              Wrongful Death Order.pdf                          1257810         4/8/2022 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79433              222210_3_FinalPackage.pdf                         8763716       3/18/2022 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79433              79433 Ehrmantrout, William.tv5                       10309      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79433              Application.pdf                                     481183        4/8/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79433              Benefits Letter.pdf                                 574843      7/22/2024 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79433              Court Order.pdf                                     237933        4/8/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79433              Disclosure - ID.pdf                                 268583        4/8/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79433              Divorce Documents.pdf                             1586123         4/8/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79433              List of Dependents.pdf                              179743        4/8/2022 8:31
Saiph consulting|\Audit Materials Received-   New - Ehrmantrout III, William (ack letter and
SuttonPark\Closing Binders\79433              ID).pdf                                             596283       2/9/2024 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79433              Pleadings.pdf                                     1169113         4/8/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79433              Purchase Agreement.pdf                              335943        4/8/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79433              Request For Acknowledgement.pdf                     237700        4/8/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79433              Request for Change of Beneficiary.pdf               159032        4/8/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79433              Searches.pdf                                        780834        4/8/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79433              Seller Identification.pdf                           477093        4/8/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79433              Waiver of IPA.pdf                                   199066        4/8/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79434              534542_8_FinalPackage.pdf                         7304140       3/18/2022 16:47




                                                                2189
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2191 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79434              79434 Upton, Aimee.tv5                    10015      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79434              Annuity Contract.pdf                     352177        4/8/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79434              Court Order.pdf                          164868        4/8/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79434              Disclosure - WV.pdf                      263384        4/8/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79434              Guardian Ad Litem.pdf                    198567        4/8/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79434              Order Approving Settlement.pdf           370722        4/8/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79434              Purchase Agreement.pdf                 1511996         4/8/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79434              Request For Acknowledgement.pdf          231426        4/8/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79434              Searches.pdf                           1774107         4/8/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79434              Seller Identification.pdf                350280        4/8/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79434              Settlement Agreement.pdf                 325665        4/8/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79434              Stipulation.pdf                          737808        4/8/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79434              Waiver of IPA.pdf                        193953        4/8/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79435              1483299_5_FinalPackage.pdf            21657416       3/17/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79435              79435 Del Rosario, Ryan.tv5               12161      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79435              Annuity Contract.pdf                      75978       4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79435              Application.pdf                          266370       4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79435              Court Order.pdf                          172765       4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79435              Disclosure - CA.pdf                      179810       4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79435              Disclosure - TX.pdf                      175047       4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79435              List of Dependents.pdf                   178355       4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79435              Petition.pdf                             191266       4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79435              Purchase Agreement.pdf                   491149       4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79435              Qualified Assignement.pdf              1655377        4/8/2022 10:11




                                                                2190
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2192 of
                                       3467



               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79435              Request For Acknowledgement.pdf            275512       4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79435              Request for Change of Beneficiary.pdf      168592       4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79435              Searches.pdf                             5315153        4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79435              Seller Identification.pdf                  769094       4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79435              Settlement Agreement.pdf                 3520663        4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79435              Stipulation.pdf                          6152729        4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79435              Waiver of IPA.pdf                          224882       4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79436              1616652_2_FinalPackage.pdf              15430512       3/17/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79436              79436 Burleson, Rhiannon.tv5                10022      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79436              Annuity Contract.pdf                       255453       4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79436              Application.pdf                            249253       4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79436              Court Order.pdf                            292799       4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79436              Divorce Documents.pdf                      519773       4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79436              List of Dependents.pdf                     216316       4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79436              Purchase Agreement.pdf                     288805       4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79436              Request For Acknowledgement.pdf            246354       4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79436              Request for Change of Beneficiary.pdf      167713       4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79436              Searches.pdf                             1090676        4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79436              Seller Identification.pdf                6267479        4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79436              Settlement Agreement.pdf                   392278       4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79436              SSN.pdf                                     87663       4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79436              Stipulation.pdf                          5097754        4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79436              Waiver of IPA.pdf                          195874       4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79437              1721651_8_FinalPackage.pdf               9846558       3/17/2022 15:12




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                                       3467



               All Paths/Locations                                  Unified Title              File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79437              79437 Patton-Schulle, Kristen.tv5                    11066       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79437              Annuity Contract.pdf                                311318        4/8/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79437              Application.pdf                                     485448        4/8/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79437              Court Order.pdf                                   1087789         4/8/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79437              Disclosure - TX.pdf                                 488472        4/8/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79437              List of Dependents.pdf                              251725        4/8/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79437              Marriage License.pdf                                648254        4/8/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79437              New - Patton-Schulle, Kristen (ack letter).pdf      270899        2/9/2024 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79437              Purchase Agreement.pdf                              264558        4/8/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79437              Request For Acknowledgement.pdf                     247797        4/8/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79437              Request for Annuity Contract.pdf                     74131        4/8/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79437              Searches.pdf                                      1057925         4/8/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79437              Seller Identification.pdf                           307758        4/8/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79437              Settlement Agreement.pdf                            412394        4/8/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79437              Waiver of IPA.pdf                                   200301        4/8/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79438              1435646_3_FinalPackage.pdf                       13579546        3/16/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79438              79438 Gonzalez, Sonia.tv5                              9988      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79438              Application.pdf                                     282594        4/8/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79438              Court Order.pdf                                     268829        4/8/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79438              Disclosure - FL.pdf                                 113996        4/8/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79438              Disclosure - IL.pdf                                 114135        4/8/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79438              List of Dependents.pdf                              119936        4/8/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79438              Order Approving Settlement.pdf                    1185553         4/8/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79438              Pleadings.pdf                                       712861        4/8/2022 12:35




                                                              2192
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               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79438              Proof of Service.pdf                      170121       4/8/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79438              Purchase Agreement.pdf                    333416       4/8/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79438              Qualified Assignement.pdf                  91030       4/8/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79438              Request For Acknowledgement.pdf            91069       4/8/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79438              Searches.pdf                            1447112        4/8/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79438              Seller Identification.pdf               7784068        4/8/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79438              SSN.pdf                                   219021       4/8/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79438              Stipulation.pdf                           615370       4/8/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79438              Waiver of IPA.pdf                         135474       4/8/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79439              1336989_5_FinalPackage.pdf             13514819       3/15/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79439              79439 Rawlings, Charleeta.tv5              10023      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79439              Annuity Contract.pdf                      601269       4/8/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79439              Application.pdf                           674838       4/8/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79439              Benefits Letter.pdf                       128991       4/8/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79439              Court Order.pdf                         3601934        4/8/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79439              Disclosure - NY.pdf                       367082       4/8/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79439              Disclosure - PA.pdf                       268212       4/8/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79439              Divorce Documents.pdf                      95822       4/8/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79439              List of Dependents.pdf                    179004       4/8/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79439              Proof of Service.pdf                      438158       4/8/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79439              Purchase Agreement.pdf                  1458681        4/8/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79439              Request For Acknowledgement.pdf           319129       4/8/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79439              Searches.pdf                            2621486        4/8/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79439              Seller Affidavit.pdf                      219479       4/8/2022 16:11




                                                                2193
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                                       3467



               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79439              Seller Identification.pdf                  328969       4/8/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79439              Settlement Agreement.pdf                   417081       4/8/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79439              Stipulation.pdf                            426753       4/8/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79439              Waiver of IPA.pdf                          315445       4/8/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79441              551144_4_FinalPackage.pdf               10657707       3/15/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79441              79441 Bell, Brandon.tv5                     10008      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79441              Application.pdf                            249067      4/11/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79441              Benefits Letter.pdf                        123658      4/11/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79441              Court Order.pdf                            110605      4/11/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79441              Disclosure - WA.pdf                        173409      4/11/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79441              List of Dependents.pdf                     205522      4/11/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79441              Proof of Service.pdf                     5252352       4/11/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79441              Purchase Agreement.pdf                     417512      4/11/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79441              Request For Acknowledgement.pdf            178162      4/11/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79441              Request for Change of Beneficiary.pdf      157557      4/11/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79441              Searches.pdf                             1234584       4/11/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79441              Seller Identification.pdf                  242862      4/11/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79441              Settlement Agreement.pdf                   367718      4/11/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79441              SSN.pdf                                    246900      4/11/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79441              Stipulation.pdf                          1481519       4/11/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79441              Waiver of IPA.pdf                          194220      4/11/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79442              79442 - Kraemer, Brian.tv5                  10443      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79442              795768_3_FinalPackage.pdf               12125719       3/16/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79442              Annuity Contract.pdf                       412498      4/11/2022 11:24




                                                                2194
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                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79442              Application.pdf                        597218      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79442              Benefits Letter.pdf                    110574      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79442              Court Order.pdf                        532195      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79442              Disclosure - CA.pdf                    404089      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79442              Disclosure - WA.pdf                    185600      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79442              Disclosure Affidavit.pdf               105187      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79442              List of Dependents.pdf                  96260      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79442              Payment Instructions.pdf               576719      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79442              Petition.pdf                         3734471       4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79442              Pleadings.pdf                          127165      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79442              Proof of Service.pdf                   927082      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79442              Purchase Agreement.pdf               2206230       4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79442              Request For Acknowledgement.pdf        189346      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79442              Searches.pdf                           858397      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79442              Settlement Agreement.pdf             1103317       4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79442              Stipulation.pdf                      1262998       4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79442              Terms Rider.pdf                         86934      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79442              Verification of Survival.pdf           485894      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79442              Waiver of IPA.pdf                       83592      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79443              1072720_4_FinalPackage.pdf           8162334       3/11/2022 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79443              79443 Nelson, Jashae.tv5                10174      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79443              Annuity Contract.pdf                 1765241       4/11/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79443              Application.pdf                        222471      4/11/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79443              Change of Address.pdf                  117940      4/11/2022 12:13




                                                                2195
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                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79443              Change of Payee.pdf                       816601      4/11/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79443              Court Order.pdf                           981324      4/11/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79443              Disclosure - OH.pdf                       242668      4/11/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79443              List of Dependents.pdf                    155155      4/11/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79443              Order Approving Settlement.pdf            348894      4/11/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79443              Pleadings.pdf                           1250055       4/11/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79443              Purchase Agreement.pdf                    341948      4/11/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79443              Request For Acknowledgement.pdf           844379      4/11/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79443              Searches.pdf                            1575461       4/11/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79443              Waiver of IPA.pdf                         171233      4/11/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79444              1779184_3_FinalPackage.pdf             19027533       3/11/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79444              79444 Hestand, Burton.tv5                  10207      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79444              Application.pdf                           277324      4/11/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79444              Benefits Letter.pdf                       170132      4/11/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79444              Court Order.pdf                           113249      4/11/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79444              Disclosure - AK.pdf                       113559      4/11/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79444              Lien and Judgment Searches.pdf         10298119       4/11/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79444              List of Dependents.pdf                    162049      4/11/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79444              Proof of Service.pdf                    2460111       4/11/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79444              Purchase Agreement.pdf                    558467      4/11/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79444              Qualified Assignement.pdf                  30410      4/11/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79444              Request For Acknowledgement.pdf           183769      4/11/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79444              Searches.pdf                            2950429       4/11/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79444              Seller Affidavit.pdf                      135353      4/11/2022 12:42




                                                              2196
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                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79444              Stipulation.pdf                          611185      4/11/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79444              Waiver of IPA.pdf                        292480      4/11/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79445              1833064_2_FinalPackage.pdf            11008738       3/14/2022 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79445              79445 Elzey, Jonathan.tv5                 10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79445              Application.pdf                          287101      4/11/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79445              Disclosure - IL.pdf                      275468      4/11/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79445              Disclosure - NC.pdf                      951077      4/11/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79445              List of Dependents.pdf                   191989      4/11/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79445              Pleadings.pdf                            464841      4/11/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79445              Prior Court Orders.pdf                   662136      4/11/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79445              Proof of Service.pdf                     531285      4/11/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79445              Purchase Agreement.pdf                   610362      4/11/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79445              Request For Acknowledgement.pdf          186477      4/11/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79445              Schedule of Payments.pdf                 525562      4/11/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79445              Searches.pdf                           1479673       4/11/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79445              Seller Identification.pdf                330309      4/11/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79445              SSN.pdf                                  362563      4/11/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79445              Stipulation.pdf                        3596666       4/11/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79445              Waiver of IPA.pdf                        443692      4/11/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79446              1848297_1_FinalPackage.pdf            14742677       3/14/2022 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79446              79446 Overland, Cody.tv5                  10715      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79446              Annuity Contract.pdf                     416899      4/11/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79446              Application.pdf                          340150      4/11/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79446              Court Order.pdf                          258456      4/11/2022 14:30




                                                                2197
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2199 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79446              Disclosure - LA.pdf                       206095      4/11/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79446              List of Dependents.pdf                    227611      4/11/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79446              Purchase Agreement.pdf                    557778      4/11/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79446              Release Agreement.pdf                   1260462       4/11/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79446              Request For Acknowledgement.pdf           247415      4/11/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79446              Searches.pdf                           10314367       4/11/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79446              Seller Identification.pdf                 524909      4/11/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79446              Waiver of IPA.pdf                         889689      4/11/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79447              1876790_1_FinalPackage.pdf             29276317       3/14/2022 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79447              79447 Smith, Shydasha.tv5                  11942      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79447              Annuity Contract.pdf                      367265      4/14/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79447              Application.pdf                           198377      4/14/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79447              Assignment.pdf                            514072      4/14/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79447              Credit Report.pdf                         119644      4/14/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79447              Disclosure - NJ.pdf                        63770      4/14/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79447              Disclosure - NY.pdf                        74214      4/14/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79447              IPA.pdf                                   108337      4/14/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79447              Pleadings.pdf                             759835      4/14/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79447              POR.pdf                                 3692223       4/14/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79447              Purchase Agreement.pdf                    553969      4/14/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79447              Request For Acknowledgement.pdf           129037      4/14/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79447              Searches.pdf                            1022933       4/14/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79447              Seller Affidavit.pdf                      106446      4/14/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79447              Seller Identification.pdf              10522231       4/14/2022 13:19




                                                              2198
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2200 of
                                       3467



               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79447              Settlement Agreement.pdf                       1386592       4/14/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79447              SSN.pdf                                        1300541       4/14/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79447              Stipulation.pdf                                  246589      4/14/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79501              79501 Mull, William.tv5                           10177      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79501              Acknowledgment.pdf                               204674       4/4/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79501              Application.pdf                                  181973       4/4/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79501              Assignment.pdf                                   919717       4/5/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79501              Authorization.pdf                                 63692       4/4/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79501              BK Search.pdf                                     28600       4/5/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79501              Court Order.pdf                                  130219       4/4/2022 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79501              Credit Report.pdf                                159097       4/5/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79501              Declaration of Residence.pdf                      83924       4/4/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79501              DL and SSC.pdf                                   115782       4/5/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79501              IPA.pdf                                           49772       4/4/2022 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79501              Payment schedule.pdf                             158256       4/4/2022 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79501              Pleadings.pdf                                  1185014        4/4/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79501              Purchase Agreement.pdf                           753530       4/4/2022 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79501              Registered to do busisness in OH.pdf           1184127        4/5/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79501              RFBL - notarized.pdf                              77815       4/4/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79501              Searches.pdf                                     938336      2/28/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79501              W9.pdf                                           156737       4/4/2022 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79520              79520 Dean, Ashtyn.tv5                            10141      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79520              Amendment to Purchase Agreement updated.pdf      147162      4/15/2022 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79520              Application.pdf                                   45006        4/6/2022 9:00




                                                                2199
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2201 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79520              Benefits Letter.pdf                      405392        4/6/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79520              Court Order.pdf                          964597      4/14/2022 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79520              Credit Report.pdf                         27320       4/7/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79520              Dean Closing Binder.pdf                3822336         4/6/2022 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79520              Disclosure - TX.pdf                      172994        4/6/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79520              Docusign Certificate 24E.pdf              75749        4/6/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79520              Docusign Certificate 405.pdf             213341      10/9/2024 19:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79520              Docusign Certificate 7E2.pdf             209930      10/9/2024 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79520              Docusign Certificate A8D.pdf             211051      10/9/2024 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79520              Docusign Certificate C2A.pdf             150182      10/9/2024 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79520              Docusign Certificate CD7.pdf             196354      10/9/2024 19:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79520              Docusign Certificate F71.pdf             173033      4/25/2022 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79520              Obituary.pdf                             674216        4/6/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79520              PI Case Docket Sheet.pdf                 198004        4/6/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79520              Pleadings.pdf                            895620        4/6/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79520              Purchase Agreement.pdf                   488750       4/7/2022 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79520              Searches.pdf                              12274       4/7/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79520              Seller Identification Current.pdf      1259093        4/7/2022 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79520              Social Security Card.pdf               1175308        4/7/2022 16:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79520              Stipulation.pdf                        1836368        4/11/2022 9:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79520              UCC Search.pdf                           511068       4/7/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79521              79521 Davis, Charles.tv5                  10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79521              Acknowledgment Davis.pdf                 123710      6/13/2022 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79521              Annuity Contract.pdf                     715587      7/29/2021 10:12




                                                                2200
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2202 of
                                       3467



               All Paths/Locations                                 Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79521              Application.pdf                           48816        3/4/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79521              Benefits Letter.pdf                       55935        6/10/2021 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79521              Closing Binder.pdf                     9103496         4/5/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79521              Closing Statement Davis Updated.pdf       25103       10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79521              Credit Report.pdf                         42657       10/9/2024 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79521              Disclosure Statement.pdf                 123175        3/4/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79521              DocuSign Cert 494C.pdf                   222555       10/9/2024 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79521              DocuSign Cert D1DD.pdf                   217531       10/9/2024 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79521              Final Order.pdf                          239243       4/27/2022 16:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79521              ID.pdf                                 3312120         4/5/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79521              Notarized Document.pdf                    63792       10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79521              Pleadings.pdf                          1846058         4/5/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79521              Proof of Service.pdf                     231686        4/6/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79521              Purchase Agreement.pdf                   236466        4/5/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79521              Qualified Assignment.pdf               1775255        7/28/2021 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79521              Searches.pdf                              13026        4/7/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79521              Settlement Agreement.pdf              14374218        10/9/2024 23:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79521              SS card.pdf                              948394        4/5/2022 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79521              UCC Search.pdf                           129737       10/9/2024 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79521              ZIP Code USPS.pdf                         66176        4/5/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              79526 Coleman, Alfidean.tv5                 9988      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              Acknowledgment.pdf                        72018        5/2/2022 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              Annuity Contract.pdf                   1305882         4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              Application.pdf                          269821        4/6/2022 13:05




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2203 of
                                       3467



               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              Authorization to Release.pdf                         78845       4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              Bankruptcy Search.pdf                               318193       4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              Benefits Letter.pdf                                  77506       4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              Coleman Assignment.docx                              25977      4/13/2022 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              Coleman Assignment.pdf                              177310      4/15/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              Coleman Closing Binder.pdf                       12091447        4/6/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              Court Order.pdf                                     489256      4/13/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              Credit Report.pdf                                 1740685        4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              Disclosure - GA.pdf                                 139910       4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              Drivers License.pdf                                 824623       4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              ESign Certificate March 17 2022.pdf                  47664       4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              ESign Certificate March 20 2022.pdf                  47664       4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              ESign Certificate March 9 2022.pdf                   48144       4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              Esigne Certificate Final Closing Statement.pdf       48493      4/29/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              Notice of Hearing and Proof of Service.pdf          468215      4/13/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              Pleadings missing POS.pdf                         1287215        4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              Proof of Disclosure Delivery.pdf                    208357       4/6/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              Purchase Agreement.pdf                              507517       4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              Searches.pdf                                      1513216        4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              Settlement Agreement.pdf                            536190       4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79526              Social Security Card.pdf                            737440       4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79538              79538 Casado, Javier.tv5                             12850      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79538              Affidavit.pdf                                        71892       4/6/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79538              Application.pdf                                     491977      4/11/2022 13:46




                                                              2202
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2204 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79538              Assignment Agreement Signed.pdf         111140      4/19/2022 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79538              Closing Binder.pdf                    6316609        4/6/2022 17:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79538              Closing Statement Signed.pdf             86085      10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79538              Court Order.pdf                       1847978         3/3/2022 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79538              Credit Report.pdf                        43828      3/16/2022 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79538              Disclosure NY.pdf                       101991       4/6/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79538              Docusgin Certificate 5F98.pdf           361417      10/9/2024 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79538              ID.pdf                                  269349      1/12/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79538              Infants Compromise Order.pdf            540547       4/7/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79538              IPA Letter.pdf                          145987      4/14/2022 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79538              Pleadings.pdf                         1670104        4/6/2022 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79538              Proof Of RES.pdf                      1605614       10/9/2024 21:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79538              Purchase Agreement.pdf                  645390       4/6/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79538              Searches.pdf                             13966      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79538              SS Valid.pdf                            124928      4/13/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79538              Stipulation.pdf                         252954      4/13/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79538              ZIP Code USPS.pdf                        65925       4/6/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              79539 Jerry, Carl.tv5                    12554      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              Ad Litem Report.pdf                   2098588        9/9/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              Application.pdf                         284400       4/5/2022 18:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              Assignment.pdf                           34920       4/6/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              Authorization for Deductions.pdf        103447       4/5/2022 18:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              Benefits Letter.pdf                      20813       4/5/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              Certification.pdf                       133302       4/5/2022 18:55




                                                                2203
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2205 of
                                       3467



               All Paths/Locations                                 Unified Title              File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              Closing Book - Carl Jerry.pdf                    8420532         4/5/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              COB Request.pdf                                    168290        4/5/2022 18:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              Court Order - Redacted File Stamped.pdf            417881        4/6/2022 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              Court Order - Signed.pdf                         1125791         4/5/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              Credit Report.pdf                                  212545        4/6/2022 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              Disclosure TX.pdf                                   81252        4/5/2022 18:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              DocuSign Certificates.pdf                          186828        4/6/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              Drivers License.pdf                              2117271         9/9/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              Final Judgment.pdf                               2201393         9/9/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              First Plaintiff Amended Original Petition.pdf    2027720         9/9/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              Memo To File_Carl Lee Jerry Jr ID 79539.pdf      5596331         7/7/2023 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              NASP Search.pdf                                     92022        4/5/2022 19:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              Pleadings.pdf                                    2644976         4/5/2022 18:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              Purchase Agreement.pdf                             362858        4/5/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              Searches.pdf                                       109716        4/6/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              Social Security Card.pdf                         2162738         9/9/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              Stipulation.pdf                                    431701        4/7/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79539              UCC Search.pdf                                     104802        4/6/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79563              79563 Garcia, Caylani.tv5                             9988      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79563              Acknowledgment.pdf                                 939001       5/24/2022 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79563              Affidavit.pdf                                      187884        4/8/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79563              Application.pdf                                    168082        4/8/2022 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79563              Assignment Executed.pdf                            248255       4/13/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79563              Benefit Letter.pdf                                  47502        4/8/2022 15:38




                                                                2204
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2206 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79563              Closing Binder.pdf                    8922160         4/7/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79563              Court Order.pdf                         195317       4/8/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79563              Credit Report.pdf                       203043      4/11/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79563              Disclosure MA.pdf                       109034       4/8/2022 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79563              Disclosure NY.pdf                        89372       4/8/2022 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79563              DocuSign Cert A988.pdf                  288546      3/27/2022 22:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79563              DocuSign Cert E360.pdf                  284251      1/27/2022 20:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79563              ID Garcia Caylani.pdf                   801790       7/22/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79563              Order Approving Settlement.pdf          217275       4/8/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79563              Pleadings.pdf                         3168923        4/8/2022 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79563              Searches.pdf                             66750      4/11/2022 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79563              Social Security Valid.pdf               153489      4/11/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79563              UCC Search.pdf                           69453      4/11/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79563              ZIP Code USPS.pdf                        63289       4/8/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79565              79565 Cowles, Rhonda.tv5                 10445      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79565              Acknowledgment.pdf                      402479      5/17/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79565              Affidavit.pdf                           444338      4/18/2022 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79565              Annuity Contract.pdf                  2165240       4/11/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79565              Application.pdf                         188403      2/22/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79565              Assignment.pdf                          195062      4/20/2022 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79565              Closing Binder.pdf                   12850426       4/18/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79565              Closing Statement.pdf                   425810      10/9/2024 20:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79565              Court Order Cowles.pdf                  327025       4/8/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79565              Credit Report.pdf                        59239      3/30/2022 15:37




                                                              2205
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2207 of
                                       3467



               All Paths/Locations                                 Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79565              Disclosure Cowles.pdf                              113918      4/11/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79565              DocuSign Cert 28A0.pdf                             200175      10/9/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79565              DocuSign Cert 7C35.pdf                             196280      10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79565              Driver License.pdf                                 539001      4/11/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79565              New - Acknowledgment.pdf                           402479      5/17/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79565              Notice of Errata filestamped.pdf                   607473      4/19/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79565              Pleadings.pdf                                    1668923       4/11/2022 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79565              Searches Cowles.pdf                                 23896      4/11/2022 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79565              SSC.pdf                                          2241959       4/18/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79565              UCC Search.pdf                                     159908      10/9/2024 19:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79565              ZIP Code USPS.pdf                                   66047      4/11/2022 12:29
Saiph consulting|\Audit Materials Received-   1st Amnedment to PA - correcting Issuer and
SuttonPark\Closing Binders\79568              Obliger.pdf                                        638681      4/11/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              2nd Amendment to PA - correcting due date.pdf       60703      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              79568 Slater, Devondrick.tv5                        10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Ack of Collateral Assignment.pdf                   220356       4/8/2022 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Amended Court Order.pdf                            153745       4/8/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Annuity Contract.pdf                               292259       4/8/2022 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Application.pdf                                    222801       4/8/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Assignment - Revised.pdf                           106709      4/12/2022 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Authorization to Release.pdf                        51259       4/8/2022 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Benefits Letter.pdf                                137487       4/8/2022 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              COB Request.pdf                                     43984       4/8/2022 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Collateral Assignment - Blank.pdf                  233107       4/8/2022 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Collateral Assignment - Signed.pdf                 232082      10/9/2024 20:04




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                                       3467



               All Paths/Locations                                 Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Credit Report.pdf                            75448       4/9/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Declaration.pdf                           1992079        4/9/2022 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Disclosure FL.pdf                         1765361        4/9/2022 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Doc Request.pdf                              51772       4/8/2022 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Driver License.pdf                           27216       4/8/2022 18:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Fasano Report.pdf                           102342       4/8/2022 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Funding Book.pdf                         73565672        4/7/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Life Insurance Policy.pdf                20586227        4/8/2022 18:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Medical Questionnaire.pdf                   575649      3/28/2022 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              f153b18d01684c3a20220328-12-pfflvu.pdf      105647
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Pleadings.pdf                            23652378        4/8/2022 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Power of Attorney.pdf                        79596       4/8/2022 18:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Proof of Disc Delivery.pdf                  102406       4/8/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Proof of Policy Premium.pdf                 139619       4/8/2022 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              purchase agreement.pdf                   14663093       4/11/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Reassignment Acknowledgment 79568.pdf        92368        7/7/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Request for Acknowledgment.pdf            1297511        4/8/2022 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Searches.pdf                                 51913       4/8/2022 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Second Amended Order.pdf                    192546      6/14/2022 12:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Settlement Agreement.pdf                  3526737        4/8/2022 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              Social Security Card.pdf                    626715       4/8/2022 18:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79568              UCC Search.pdf                               54852       4/8/2022 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79571              79571 Gonzalez, Kristen.tv5                  10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79571              Affidavit.pdf                               124840       2/1/2022 10:09




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                                       3467



               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79571              Annuity Contract.pdf                       439710       7/26/2021 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79571              Application.pdf                             46044      1/26/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79571              Assignment.pdf                             171358      4/14/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79571              Closing Binder.pdf                       3890114       4/10/2022 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79571              Closing Statement.pdf                      412469      10/9/2024 20:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79571              Court Order.pdf                            129296        4/8/2022 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79571              Credit Report.pdf                           18550      10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79571              Disclosure FL.pdf                          111532      1/26/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79571              DocuSign Cert - Closing Statement.pdf      195858      10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79571              DocuSign Cert - E706.pdf                   194935      10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79571              Driver License.pdf                         691749      1/26/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79571              Pleadings.pdf                           11923143       4/14/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79571              Purchase Agreement.pdf                     236798      4/10/2022 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79571              Qualified Assignment.pdf                   360021       7/26/2021 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79571              Searches.pdf                                40445      4/10/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79571              Settlement Agreement.pdf                   655538       7/26/2021 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79571              Social Security Card.pdf                   127488      9/29/2021 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79571              Stipulation.pdf                            495909       4/19/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79571              UCC Search.pdf                              57060      4/10/2022 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79572              1C1E.pdf                                    74960      4/12/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79572              4E43.pdf                                    74537      4/12/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79572              79572 Banet, Krissa.tv5                     10206      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79572              Affidavit.pdf                              131742      4/12/2022 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79572              Annuity Contract.pdf                       364485      4/12/2022 13:48




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                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79572              Application.pdf                         136374      4/12/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79572              Authorization.pdf                       101775      4/12/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79572              Banet K 2- Closing Binder.pdf        27232376        4/7/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79572              BK Search.pdf                            87317      4/12/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79572              BL.pdf                                  359153      4/12/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79572              Credit Report.pdf                       175758      4/12/2022 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79572              Disclosure IN.pdf                        96340      4/12/2022 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79572              Driver License IN.pdf                 5949466       4/12/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79572              Final Order.pdf                       1494241       4/12/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79572              IPA Acknowledgment.pdf                   61120      4/12/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79572              Pleadings.pdf                        25369976       4/12/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79572              Purchase Agreement.pdf                  336966      4/12/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79572              Searches.pdf                            416813      4/12/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79572              Settlement Agreement - amended.pdf      155401      4/12/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79572              Settlement Agreement.pdf                352320      4/12/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79572              SSC.pdf                               8280804       4/12/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79572              Stip sign.pdf                           130095      4/12/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79572              Stipu.pdf                             4662081       4/12/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              79574 Hundley, Shyann.tv5                15148      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Application.pdf                         129667      10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Assignment.pdf                          141053      4/11/2022 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Bankruptcy Search.pdf                    71166      4/10/2022 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Benefits Letter.pdf                      30577      3/28/2022 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Closing Binder.pdf                    7003635        4/9/2022 15:06




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2211 of
                                       3467



               All Paths/Locations                                  Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Court Order.pdf                               179483       4/1/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Credit Report.pdf                              33081      3/30/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Declaration.pdf                               260947      4/10/2022 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Disclosure OR.pdf                             155399      4/10/2022 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Docusign Cert - 3FA5.pdf                      222320      10/9/2024 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81585              81585 Verastegui, Sahrina.tv5                  10188      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81585              Annuity Contract.pdf                          952927     12/11/2022 22:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81585              Application.pdf                               423160     12/11/2022 22:24
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81585              Information.pdf                               487529     12/11/2022 22:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81585              Authorization to Release Information.pdf      178837     12/11/2022 22:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81585              Bankruptcy Search.pdf                         680095     12/11/2022 22:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81585              Court Order.pdf                               156644     12/11/2022 22:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81585              Disclosure - FL.pdf                           167928     12/11/2022 22:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81585              Drivers License.pdf                           307363     12/11/2022 22:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81585              Fasano Report.pdf                             160556     12/11/2022 22:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81585              Medical Addendum.pdf                          333044     12/11/2022 22:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81585              Medical Questionnaire.pdf                     992936     12/11/2022 22:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81585              Name Addendum.pdf                             149799     12/11/2022 22:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81585              Package Submission Form.pdf                   204166     12/11/2022 22:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81585              Pleadings.pdf                               2024697      12/11/2022 22:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81585              Purchase Agreement.pdf                        304490     12/11/2022 22:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81585              Qualified Assignment.pdf                      320525     12/11/2022 22:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81585              Requests for Acknowlegment.pdf                152396     12/11/2022 22:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81585              Searches.pdf                                  694425     12/11/2022 22:24




                                                              2210
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2212 of
                                       3467



               All Paths/Locations                                Unified Title         File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81585              Settlement Agreement (Partial).pdf         1050695       12/11/2022 22:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81585              SSN Verification Sahrina Verastegui.pdf    1866099       12/16/2022 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81585              Statement of Dependents.pdf                  234317      12/11/2022 22:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81585              Transunion Credit Report.pdf                 114870      12/11/2022 22:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81585              Waiver of IPA.pdf                            243541      12/11/2022 22:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81586              1950595_1_FinalPackage.pdf                29396142       10/31/2022 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81586              81586 Moody, Shawn.tv5                          9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81586              Annuity Contract.pdf                       4937304       12/13/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81586              Application with notes.pdf                   660659      12/13/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81586              Bankruptcy Search.pdf                        365780      12/13/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81586              Court Order.pdf                               52628      12/13/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81586              Credit Report.pdf                             48342      12/13/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81586              Disclosure IN 10.20.22.pdf                   739933      12/13/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81586              Disclosure IN 9.23.22.pdf                    357170      12/13/2022 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81586              Disclosure IN 9.27.22.pdf                    811264      12/13/2022 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81586              Fasano Report.pdf                             88194      12/13/2022 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81586              HIPAA.pdf                                    372980      12/13/2022 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81586              Identifcation Card.pdf                     4363019       12/13/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81586              LC Medical Addendum.pdf                      607912      12/13/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81586              Medical Questionnaire.pdf                    757722      12/13/2022 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81586              Purchase Agreement.pdf                     6553578       12/13/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81586              Searches.pdf                               1174545       12/13/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81586              Settlement Agreement.pdf                     804671      12/13/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              590802_2_FinalPackage.pdf                 11530837         6/2/2022 15:29




                                                             2211
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2213 of
                                       3467



               All Paths/Locations                                Unified Title                 File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              81587 Quintanilla, Patrick.tv5                          9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              Annuity Contract (Partial).pdf                        93546      12/15/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              Application.pdf                                      466435      12/15/2022 10:06
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81587              Information.pdf                                      706292      12/15/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              Authorization to Release Information.pdf             177867      12/15/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              Bankruptcy Search.pdf                                650144      12/15/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              Benefits Letter Dated 2014.pdf                       478467      12/15/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              Beneftis Letter Dated 2002.pdf                        98342      12/15/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              Court Order.pdf                                    1231866       12/15/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              Disclosure - OK.pdf                                  265041      12/15/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              DocuSign Certs of Completion.pdf                     259530      12/15/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              Fasano Report.pdf                                    155028      12/15/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              Identification Card.pdf                              284599      12/15/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              Medical Addendum.pdf                                 491139      12/15/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              Medical Questionnaire.pdf                          1521626       12/15/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              Notice of Transfer.pdf                               149088      12/15/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              Package Submission Form.pdf                          153193      12/15/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              Purchase Agreements.pdf                            1883644       12/15/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              Requests for Acknowledgment.pdf                      141108      12/15/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              Searches.pdf                                         620452      12/15/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              Settlement Agreement.pdf                             937961      12/15/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              SSN Verification Patrick Martin Quintanilla.pdf      784988      12/16/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              Statement of Dependents.pdf                          178287      12/15/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              Transunion Credit Report.pdf                         121697      12/15/2022 10:06




                                                             2212
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2214 of
                                       3467



               All Paths/Locations                                Unified Title         File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              UCC Search.pdf                               142587      12/15/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81587              Waiver of IPA.pdf                            197402      12/15/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              580463_3_FinalPackage.pdf                 24581076        11/1/2022 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              81588 Pucci, Christopher.tv5                    9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              Annuity Contract.pdf                         270045      12/13/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              Annuity Paystub.pdf                          651677      12/13/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              Application with notes.pdf                   297202      12/13/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              Bankruptcy Search.pdf                        213769      12/13/2022 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              Court Order.pdf                              582450      12/13/2022 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              Credit Report.pdf                             24101      12/13/2022 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              Decision and Order.pdf                       384293      12/13/2022 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              Disclosure NY.pdf                            340717      12/13/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              Divorce Decree - Maria Pucci.pdf           1342415       12/13/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              Divorce Decree Docket - Maria Pucci.pdf       45197      12/13/2022 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              Divorce Decree Docket - Mary Pucci.pdf        39998      12/13/2022 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              DocuSign Cert - 4292.pdf                      45838      12/13/2022 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              DocuSign Cert - C04D.pdf                      46239      12/13/2022 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              Fasano Report.pdf                             79642      12/13/2022 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              HIPAA.pdf                                    319214      12/13/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              LC Medical Addendum.pdf                      208025      12/13/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              Medical Questionnaire.pdf                    650553      12/13/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              Name Addendum.pdf                             27302      12/13/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              PI Docket.pdf                                 38074      12/13/2022 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              POR.pdf                                    1141472       12/13/2022 13:26




                                                              2213
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2215 of
                                       3467



               All Paths/Locations                             Unified Title         File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-   Property Settlement Agreement - Mary
SuttonPark\Closing Binders\81588              Cleary.pdf                              7672805       12/13/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              Purchase Agreement - 9.16.22.pdf        1556367       12/13/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              Purchase Agreement - 9.28.22.pdf          203815      12/13/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              Qualified Assignment.pdf                  923224      12/13/2022 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              Searches.pdf                              330006      12/13/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              Settlement Agreement and Release.pdf    3989270       12/13/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              SSC.pdf                                   680697      12/13/2022 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81588              Stipulation.pdf                           968373      12/13/2022 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81589              81589 Layton, Jeffrey.tv5                    9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81589              922637_3_FinalPackage.pdf              15090079        11/9/2022 18:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81589              Annuity Contract.pdf                      214874      12/13/2022 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81589              Application.pdf                           282036      12/13/2022 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81589              Bankruptcy Search.pdf                     382512      12/13/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81589              Court Order.pdf                           786439      12/13/2022 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81589              Credit Report.pdf                          51904      12/13/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81589              Disclosure AZ.pdf                         117174      12/13/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81589              Disclosure FL.pdf                         116985      12/13/2022 16:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81589              Disclosure MO.pdf                         116816      12/13/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81589              DocuSign Cert - 23A1.pdf                   23386      12/13/2022 16:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81589              Driver License.pdf                      8132897       12/13/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81589              Fasano Report.pdf                         101571      12/13/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81589              HIPAA.pdf                                 124344      12/13/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81589              Medical Questionnaire.pdf                 252122      12/13/2022 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81589              POR.pdf                                   156548      12/13/2022 16:08




                                                                2214
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2216 of
                                       3467



               All Paths/Locations                                Unified Title                     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81589              Purchase Agreement.pdf                                   363556      12/13/2022 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81589              Settlement Agreement and Release.pdf                     236878      12/13/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81589              Stipulation.pdf                                        2080622       12/13/2022 16:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81589              W9.pdf                                                   293453      12/13/2022 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              760672_3_FinalPackage.pdf                             17144164       10/13/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              81590 Smith, Paul.tv5                                       9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              Application.pdf                                          649667      12/15/2022 11:37
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81590              Information.pdf                                          480117      12/15/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              Authorization to Release Information.pdf                 176678      12/15/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              Benefits Letter.pdf                                      103790      12/15/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              Court Order.pdf                                          266447      12/15/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              Disclosure - OH.pdf                                      263576      12/15/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              Divorce Decree.pdf                                       526776      12/15/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              DocuSign Certs of Completion.pdf                         257747      12/15/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              Drivers License.pdf                                      228075      12/15/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              Fasano Report.pdf                                        158419      12/15/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              Judgment.pdf                                             100349      12/15/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              Medical Addendum.pdf                                     367080      12/15/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              Medical Questionnaire.pdf                              1348810       12/15/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              Objection to Transfer Petition.pdf                       194520      12/15/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              Package Submission Form.pdf                              151749      12/15/2022 11:38
Saiph consulting|\Audit Materials Received-   Plaintiffs First Amended Original Complaint - Class
SuttonPark\Closing Binders\81590              Action.pdf                                             4056216       12/15/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              Purchase Agreement.pdf                                   332366      12/15/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              Qualified Assignment.pdf                                 679332      12/15/2022 11:38




                                                                2215
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                                       3467



               All Paths/Locations                                 Unified Title        File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              Requests for Acknowledgment.pdf              146525      12/15/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              Searches.pdf                                 976801      12/15/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              Settlement Agreement.pdf                   4893149       12/15/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              SSN Verification Paul Randall Smith.pdf    8655266       12/16/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              Statement of Dependents.pdf                  225509      12/15/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              Transunion Credit Report.pdf                 117157      12/15/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81590              Waiver of IPA.pdf                            196231      12/15/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81591              1658032_1_FinalPackage.pdf                20390521        11/9/2022 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81591              image001.png                                    6527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81591              81591 Casey, Timothy.tv5                      10240       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81591              Application with notes.pdf                   210686      12/13/2022 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81591              Bankruptcy Search.pdf                        548830      12/13/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81591              Benefits Letter.pdf                           39384      12/13/2022 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81591              Court Order.pdf                            4616894       12/13/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81591              Credit Report.pdf                             51930      12/13/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81591              Declaration.pdf                              564924      12/13/2022 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81591              Disclosure AZ.pdf                             66084      12/13/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81591              Disclosure CO.pdf                             66407      12/13/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81591              Disclosure MA.pdf                             67520      12/13/2022 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81591              Disclosure MI.pdf                             65141      12/13/2022 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81591              Driver License.pdf                         6654873       12/13/2022 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81591              Fasano Report.pdf                             90481      12/13/2022 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81591              HIPAA.pdf                                    187260      12/13/2022 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81591              LC Medical Addendum.pdf                      122298      12/13/2022 17:25




                                                             2216
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2218 of
                                       3467



               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81591              Medical Questionnaire.pdf                       1922787      12/13/2022 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81591              Purchase Agreement.pdf                            352876     12/13/2022 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81591              Request to Change Bene.pdf                         52999     12/13/2022 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81591              Searches.pdf                                      632908     12/13/2022 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81591              UCC Search.pdf                                     52724     12/13/2022 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81591              URC Exception Report.pdf                           37298     12/13/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81591              W9.pdf                                          3038143      12/13/2022 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              582306_6_FinalPackage.pdf                      22384458      10/25/2022 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              81592 Davis, Regina.tv5                            10239      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Annuity Contract (Partial).pdf                     77909     12/15/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Application.pdf                                   660937     12/15/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Attorneys Invoice.pdf                              92120     12/15/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Auhtorization to Release Information.pdf          204130     12/15/2022 12:31
Saiph consulting|\Audit Materials Received-   Authorization and Direction to Provide Death
SuttonPark\Closing Binders\81592              Certificate.pdf                                   193145     12/15/2022 12:31
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81592              Information.pdf                                 1147772      12/15/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Bankruptcy Search.pdf                             431030     12/15/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Benefits Letter Dated 2015.pdf                    176619     12/20/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Benefits Letter.pdf                                78790     12/15/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Conservatorship Documents.pdf                      92051     12/15/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Court Order.pdf                                   139987     12/15/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Disclosure - MO.pdf                               351037     12/15/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Drivers License.pdf                               211882     12/15/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Fasano Report.pdf                                 131930     12/15/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Medical Addendum.pdf                              509314     12/15/2022 12:31




                                                             2217
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2219 of
                                       3467



               All Paths/Locations                                Unified Title              File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Medical Questionnaire.pdf                       1757044       12/15/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Notice of Transfer.pdf                             69298      12/15/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Package Submission Form.pdf                        72050      12/15/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Proof of Service.pdf                              108724      12/15/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Purchase Agreements.pdf                        11506493       12/15/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Qualified Assignment.pdf                          227903      12/15/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Requests for Acknowledgment.pdf                    78677      12/15/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Searches.pdf                                      573031      12/15/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Settlement Agreement.pdf                          207436      12/15/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Social Security Card Regina Arlene Davis.pdf      170912       12/20/2022 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              SSN Verification Regina Arlene Davis.pdf          567458      12/16/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Statement of Dependents.pdf                       236135      12/15/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Stipulation (NOT FULLY EXECUTED).pdf              399870      12/15/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Transunion Credit Report.pdf                      130150      12/15/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              W-9.pdf                                         3053381       12/15/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81592              Waiver of IPA.pdf                                 304276      12/15/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              62684_5_FinalPackage.pdf                        7041872       10/25/2022 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              image001.png                                         6527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              81593 Best, Brian.tv5                                9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              Application.pdf                                   362637       12/16/2022 9:31
Saiph consulting|\Audit Materials Received-   Authorization and Direction to Provide Death
SuttonPark\Closing Binders\81593              Certificate.pdf                                   265078       12/16/2022 9:31
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81593              Information.pdf                                   184058       12/16/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              Authorization to Release Information.pdf          177726       12/16/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              Bankruptcy Search.pdf                             426765       12/16/2022 9:31




                                                             2218
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2220 of
                                       3467



               All Paths/Locations                                   Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              Benefits Letter.pdf                        198137       12/16/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              Court Order.pdf                            495978       12/16/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              Disclosure - CA.pdf                        177514       12/16/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              DocuSign Certs of Completion.pdf           169381       12/16/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              Drivers License.pdf                        560547       12/16/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              Fasano Report.pdf                          159520       12/16/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              Medical Addendum.pdf                       217183       12/16/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              Medical Questionnaire.pdf                  389022       12/16/2022 9:31
Saiph consulting|\Audit Materials Received-   Order and Judgment Approving Minor
SuttonPark\Closing Binders\81593              Settlement.pdf                             328135       12/16/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              Package Submission Form.pdf                231896       12/16/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              Pleadings (Partial).pdf                  1293719        12/16/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              Purchase Agreement.pdf                     839798       12/16/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              Requests for Acknowledgment.pdf            245152       12/16/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              Searches.pdf                               614304       12/16/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              Seller Affidavit.pdf                       380219       12/16/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              Settlement Agreement.pdf                 1464296        12/16/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              SSN Verification Brian David Best.pdf    1479734       12/16/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              Statement of Dependents.pdf                179192       12/16/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              Stipulation NOT FULLY EXECUTED.pdf       3107916       12/20/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              Transunion Credit Report.pdf               107375       12/16/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81593              Waiver of IPA.pdf                          197664       12/16/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81594              582712_4_FinalPackage.pdf                4927868        6/24/2022 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81594              81594 Gray, Tiffany.tv5                       9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81594              Annuity Contract.pdf                       130097      12/16/2022 10:45




                                                              2219
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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81594              Application.pdf                                   255369     12/16/2022 10:46
Saiph consulting|\Audit Materials Received-   Authorization and Direction to Provide Death
SuttonPark\Closing Binders\81594              Certificate.pdf                                   177429     12/16/2022 10:46
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81594              Information.pdf                                   276982     12/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81594              Authorization to Release Information.pdf          176249     12/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81594              Bankruptcy Search .pdf                            742680     12/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81594              Benefits Letter.pdf                                83156     12/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81594              Court Order.pdf                                   423090     12/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81594              Disclosure - MS.pdf                               173063     12/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81594              DocuSign Certs of Completion.pdf                  170764     12/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81594              Drivers License.pdf                               355251     12/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81594              Fasano Report.pdf                                 156450     12/16/2022 10:46
Saiph consulting|\Audit Materials Received-   Judgment Approving Guardians Annual
SuttonPark\Closing Binders\81594              Accounting.pdf                                    190663     12/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81594              Medical Addendum.pdf                              209642     12/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81594              Medical Questionnaire.pdf                         355810     12/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81594              Package Submission Form.pdf                       181738     12/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81594              Pleadings (Partial).pdf                           204477     12/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81594              Purchase Agreement.pdf                            294032     12/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81594              Requests for Acknowledgment.pdf                   142312     12/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81594              Searches.pdf                                      671064     12/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81594              Settlement Agreement.pdf                          694173     12/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81594              SSN Verification Tiffany Gray.pdf                 637955     12/16/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81594              Statement of Dependents.pdf                       176301     12/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81594              Waiver of IPA.pdf                                 195545     12/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              1511329_3_FinalPackage.pdf                     14304740      10/24/2022 13:36




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                                       3467



               All Paths/Locations                                Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              81595 Cobb, John.tv5                        9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              Annuity Contract.pdf                     294487       12/7/2022 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              Application.pdf                          192840       12/7/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              Bankruptcy Searches.pdf                  612578       12/7/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              Cancellation note for Novation.pdf        19796       12/7/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              Court Order.pdf                        1197584        12/7/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              Credit Report.pdf                         52935       12/7/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              Disclosure TX.pdf                        112939       12/7/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              Disclosure WV.pdf                        113269       12/7/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              Dismissal order - Cheryl Davis.pdf        26104       12/7/2022 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              Divorce Decree - Cynthia Cobb.pdf        390225       12/7/2022 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              Divorce Decree - Tammy Cobb.pdf           69110       12/7/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              DocuSign Cert - 2CEC.pdf                  68009       12/7/2022 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              DocuSign Cert - 987D.pdf                  67668       12/7/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              DocuSign Cert - D4F8.pdf                  67723       12/7/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              Fasano Report.pdf                        103670       12/7/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              HIPAA.pdf                                117277       12/7/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              Life Contingent Medical Addedum.pdf      186632       12/7/2022 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              Medical Questionnaire.pdf                300850       12/7/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              PI Docket.pdf                             56703       12/7/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              POR.pdf                                  353548       12/7/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              Purchase Agreement.pdf                   232119       12/7/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              Qualified Assignment.pdf                 107736       12/7/2022 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              Searches.pdf                             587826       12/7/2022 15:08




                                                              2221
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                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              Settlement Docs.pdf                     899014      12/7/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              Sipulation.pdf                        7779547       12/7/2022 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81595              Temp ID.pdf                             524514      12/7/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81596              441548_2_FinalPackage.pdf             4414531       11/4/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81596              81596 Hinojosa, Silvia.tv5               10239      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81596              Annuity Contract.pdf                    423039     12/14/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81596              Application with notes.pdf              221106     12/14/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81596              Bankruptcy Search.pdf                   384661     12/14/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81596              Court Order.pdf                         237066     12/14/2022 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81596              Credit Report.pdf                       101611     12/14/2022 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81596              Disclosure TX - 9.16.22.pdf             116418     12/14/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81596              Disclosure TX - 9.19.22.pdf             110352     12/14/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81596              DocuSign Cert - 07F0.pdf                 67315     12/14/2022 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81596              DocuSign Cert - BA62.pdf                 67267     12/14/2022 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81596              DocuSign Cert - EE8E.pdf                 67258     12/14/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81596              Driver License.pdf                      352993     12/14/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81596              Fasano Report.pdf                        89232     12/14/2022 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81596              Final Judgment.pdf                      205905     12/14/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81596              HIPAA.pdf                               124863     12/14/2022 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81596              LC Medical Addendum.pdf                 123253     12/14/2022 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81596              Medical Questionnaire.pdf               293945     12/14/2022 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81596              Purchase Agreement.pdf                  402066     12/14/2022 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81596              Qualified Assignment.pdf                 83661     12/14/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81596              Searches.pdf                            901494     12/14/2022 11:18




                                                               2222
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2224 of
                                       3467



               All Paths/Locations                                Unified Title                  File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81597              245352_2_FinalPackage.pdf                           6751104       10/24/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81597              image001.png                                             6527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81597              81597 Williams, Menyon.tv5                               9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81597              Annuity Contract - 31827.pdf                           69288       12/7/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81597              Application.pdf                                       272995       12/7/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81597              Approval of Settlement and Release of Claims.pdf      318614       12/7/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81597              Bankruptcy Search.pdf                                 743416       12/7/2022 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81597              Benefits Letter.pdf                                    22416       12/7/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81597              Credit Report.pdf                                      54656       12/7/2022 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81597              Disclosure TX.pdf                                     117551       12/7/2022 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81597              DocuSign Cert - DBB9.pdf                               68889       12/7/2022 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81597              DocuSign Cert - F668.pdf                               68682       12/7/2022 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81597              Fasano Report.pdf                                     101413       12/7/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81597              Final Judgment.pdf                                    424509       12/7/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81597              HIPAA.pdf                                             120888       12/7/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81597              Life Contingent Medical Addendum.pdf                  129028       12/7/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81597              Medical Questionnaire.pdf                             259238       12/7/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81597              Partial QA.pdf                                         28768       12/7/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81597              Purchase Agreement.pdf                                437981       12/7/2022 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81597              Searches.pdf                                          606530       12/7/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81597              Updated BL - 31827.pdf                                221211       12/7/2022 16:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81598              580738_8_FinalPackage.pdf                          13910655       10/27/2022 22:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81598              image001.png                                             6527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81598              81598 Bryant, Ronnie.tv5                                 9999      10/9/2024 17:29




                                                               2223
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2225 of
                                       3467



               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81598              Affidavit in Support.pdf               913002      12/14/2022 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81598              Application with notes.pdf             635449      12/14/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81598              Bankruptcy Search.pdf                  339345      12/14/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81598              Benefits Letter.pdf                     24820      12/14/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81598              Court Order.pdf                        153614      12/14/2022 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81598              Credit Report.pdf                       48986      12/14/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81598              Disclosure NY - 6.13.22.pdf            597026      12/14/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81598              Disclosure NY - 8.23.22.pdf            538573      12/14/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81598              Fasano Report.pdf                      110994      12/14/2022 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81598              HIPAA.pdf                              829272      12/14/2022 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81598              Identification Card.pdf                 91430      12/14/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81598              LC Docs.pdf                          1211931       12/14/2022 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81598              LC Medical Addendum.pdf                539156      12/14/2022 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81598              Medical Questionnaire.pdf            1535439       12/14/2022 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81598              POR.pdf                                178770      12/14/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81598              Proof of SSN.pdf                       185410      12/14/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81598              Purchase Agreement.pdf               4630204       12/14/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81598              Searches.pdf                           497505      12/14/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81598              Settlement Agreement Request.pdf        51471      12/14/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81598              Settlement Agreement.pdf               348749      12/14/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81599              81599 Welch, Brandy.tv5                   9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81599              936795_1_FinalPackage.pdf           12908637        5/18/2022 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81599              Additional Searches.pdf                780332       12/8/2022 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81599              Annuity Contract.pdf                   175268       12/8/2022 10:27




                                                             2224
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2226 of
                                       3467



               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81599              Application.pdf                        217994       12/8/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81599              Bankruptcy Search.pdf                  392389       12/8/2022 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81599              Benefits Letter.pdf                    141781       12/8/2022 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81599              Court Order.pdf                        304301       12/8/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81599              Credit Report.pdf                       59228       12/8/2022 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81599              Disclosure SC.pdf                      114126       12/8/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81599              Divorce Decree.pdf                   1841736        12/8/2022 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81599              DocuSign Cert - 4AA0.pdf                66588       12/8/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81599              Fasano Report.pdf                      109508       12/8/2022 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81599              HIPAA.pdf                              123904       12/8/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81599              Identification Card.pdf                142207       12/8/2022 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81599              Medical Questionnaire.pdf              212019       12/8/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81599              Order Approving Settlement.pdf         245337       12/8/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81599              POR.pdf                                369579       12/8/2022 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81599              Purchase Agreement.pdf                 402297       12/8/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81599              Qualified Assignment.pdf                76228       12/8/2022 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81599              Searches.pdf                           984271       12/8/2022 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81599              UCC Search.pdf                          73983       12/8/2022 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              458223_6_FinalPackage.pdf            8135127       10/27/2022 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              81600 Green, Yolanda.tv5                  9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              Annuity Contract.pdf                   848341      12/14/2022 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              Application.pdf                        199507      12/14/2022 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              Bankruptcy Search.pdf                  338608      12/14/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              Court Order.pdf                      1926231       12/14/2022 15:22




                                                             2225
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2227 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              Credit Report.pdf                        53244     12/14/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              Disclosure IL - Increased PP.pdf        118550     12/14/2022 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              Disclosure IL.pdf                       117161     12/14/2022 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              DocuSign Cert - 6186.pdf                 25690     12/14/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              DocuSign Cert - 9D45.pdf                 25683     12/14/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              DocuSign Cert - D8C4.pdf                 25690     12/14/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              Driver License.pdf                      124791     12/14/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              Fasano Report.pdf                        90574     12/14/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              HIPAA.pdf                               121658     12/14/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              LC Docs.pdf                             138871     12/14/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              LC Medical Addendum.pdf                 233693     12/14/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              Marriage Cert.pdf                       215982     12/14/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              Medical Questionnaire.pdf               219073     12/14/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              Purchase Agreement.pdf                  465166     12/14/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              Qualified Assignment.pdf                714527     12/14/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              Request to Change Bene.pdf              111886     12/14/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              Searches.pdf                            446494     12/14/2022 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              Settlement Docs.pdf                   1845387      12/14/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81600              W9.pdf                                  321798     12/14/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              812559_4_FinalPackage.pdf            17547136      10/24/2022 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              81601 Bissinger, Zachary.tv5             11047      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              Annuity Contract Cert.pdf                18916      12/8/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              Annuity Contract.pdf                    886228      12/8/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              Application.pdf                         291233      12/8/2022 14:48




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                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              Bankruptcy Search.pdf                   338478       12/8/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              Birth Cert.pdf                        5556000        12/8/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              Court Order - Redacted.pdf              220058       12/8/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              Credit Report.pdf                        55137       12/8/2022 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              Disclosure TX.pdf                       111471       12/8/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              DocuSign Cert - 61A6.pdf                 23027       12/8/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              DocuSign Cert - 8E51.pdf                 23091       12/8/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              DocuSign Cert - D883.pdf                 23007       12/8/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              DocuSign Cert - F05D.pdf                 23016       12/8/2022 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              Driver License.pdf                    3369355        12/8/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              Fasano Report.pdf                       110792       12/8/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              Full and Final Release.pdf              532719       12/8/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              HIPAA.pdf                               124226       12/8/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              LC Medical Addendum.pdf                 170504       12/8/2022 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              Medical Questionnaire.pdf               213673       12/8/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              POR.pdf                                 437409       12/8/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              Purchase Agreement.pdf                  425798       12/8/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              Qualified Assignment.pdf                265240       12/8/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              Searches.pdf                            549827       12/8/2022 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81601              stipulation.pdf                       3209703        12/8/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81602              304133_4_FinalPackage.pdf             5457801        10/7/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81602              image001.png                               6527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81602              81602 Maurice, Bryan.tv5                 10240       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81602              Annuity Contract.pdf                    264797       12/8/2022 16:45




                                                                2227
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                                       3467



               All Paths/Locations                                 Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81602              Application.pdf                           298301      12/8/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81602              Bankruptcy Search.pdf                     382020      12/8/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81602              Court Order.pdf                           162509      12/8/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81602              Credit Report.pdf                          96711      12/8/2022 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81602              Disclosure GA - amended.pdf                85027      12/8/2022 16:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81602              Disclosure GA.pdf                         117848      12/8/2022 16:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81602              DocuSign Cert - 56DC.pdf                   23605      12/8/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81602              DocuSign Cert - 8E80.pdf                   23445      12/8/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81602              DocuSign Cert - 9C44.pdf                   23477      12/8/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81602              Driver License.pdf                        709205      12/8/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81602              Fasano Report.pdf                         103113      12/8/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81602              GA Payees Statement.pdf                   110853      12/8/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81602              HIPAA.pdf                                 123935      12/8/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81602              LC Medical Addendum.pdf                   177577      12/8/2022 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81602              Medical Questionnaire.pdf                 336921      12/8/2022 16:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81602              Qualified Assignment.pdf                   73760      12/8/2022 16:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81602              Searches.pdf                              595080      12/8/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81602              Settlement Agreement and Release.pdf    1338776       12/8/2022 16:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81603              580845_5_FinalPackage.pdf              13084726       5/24/2022 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81603              81603 Bradley, Jazlyn.tv5                  10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81603              Affidavit in Support.pdf                  586856      12/8/2022 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81603              Application.pdf                           467844      12/8/2022 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81603              Benefits Letter.pdf                        31298      12/8/2022 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81603              Court Order.pdf                           101157      12/8/2022 18:31




                                                             2228
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                                       3467



               All Paths/Locations                                Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81603              Disclosure NY.pdf                         710192       12/8/2022 18:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81603              Fasano Report.pdf                         103553       12/8/2022 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81603              HIPAA.pdf                                 482696       12/8/2022 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81603              Identification Card.pdf                   632479       12/8/2022 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81603              Medical Questionnaire.pdf               1113293        12/8/2022 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81603              Name Addendum.pdf                         164850       12/8/2022 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81603              Proof of Disc Delivery.pdf                700764       12/8/2022 18:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81603              Purchase Agreement.pdf                  3473650        12/8/2022 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81603              Searches.pdf                              521989       12/8/2022 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81603              Settlement Agreement and Release.pdf      898971       12/8/2022 18:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81603              UCC Searches.pdf                           71193       12/8/2022 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81604              548484_5_FinalPackage.pdf              13762246        8/30/2022 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81604              image001.png                                 6527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81604              81604 Bradley, Martha.tv5                  10018       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81604              Affidavit in Support.pdf                  192852       12/15/2022 8:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81604              Annuity Schedule.pdf                       43620       12/15/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81604              Application with notes.pdf                216212       12/15/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81604              Bankruptcy Search.pdf                      77470       12/15/2022 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81604              Benefits Letter.pdf                        33799       12/15/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81604              Birth Cert.pdf                             93251       12/15/2022 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81604              Court Order.pdf                           189423       12/15/2022 8:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81604              Credit Report.pdf                          53115       12/15/2022 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81604              Disclosure NY.pdf                         118256       12/15/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81604              DocuSign Cert - 607E.pdf                   68502       12/15/2022 8:50




                                                               2229
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                                       3467



               All Paths/Locations                                 Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81604              Driver License.pdf                        4358198       12/15/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81604              Fasano Report.pdf                           100677      12/15/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81604              HIPAA.pdf                                   125207      12/15/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81604              Infant Compromise Order.pdf                 389770      12/15/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81604              Infant Compromise Petition.pdf              308624      12/15/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81604              LC Medical Addendum.pdf                     181004      12/15/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81604              Medical Questionnaire.pdf                   234145      12/15/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81604              Proof of Disc Delivery.pdf                   94125      12/15/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81604              Purchase Agreement.pdf                    1205758       12/15/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81604              Searches.pdf                                525948      12/15/2022 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81604              Settlement Docs.pdf                       2669844       12/15/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81605              667488_3_FinalPackage.pdf                20796107       8/15/2022 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81605              81605 Rodiguez, Tonya.tv5                    10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81605              Annuity Contract.pdf                      1811646      12/15/2022 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81605              Application.pdf                             223739     12/15/2022 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81605              Court Order.pdf                              95924     12/15/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81605              CS - no past due.pdf                         79252     12/15/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81605              CS Hearing.pdf                               66792     12/15/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81605              Disclosure TX.pdf                           114996     12/15/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81605              Divorce Decree - Rodriguez.pdf            7178990      12/15/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81605              DocuSign Cert - 27D8.pdf                     67784     12/15/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81605              Driver License.pdf                          238157     12/15/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81605              Fasano Report.pdf                           100874     12/15/2022 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81605              Genworth - Address and name change.pdf      116221     12/15/2022 11:08




                                                               2230
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2232 of
                                       3467



               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81605              HIPAA.pdf                                     125408     12/15/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81605              Marriage Cert.pdf                              54557     12/15/2022 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81605              Medical Questionnaire.pdf                     233268     12/15/2022 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81605              Order of Termination.pdf                      627134     12/15/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81605              Proofs of Service.pdf                       1269431      12/15/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81605              Purchase Agreement.pdf                      2009424      12/15/2022 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81605              Qualified Assignment.pdf                      839868     12/15/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81605              Searches.pdf                                  569402     12/15/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81605              Settlement and Release of all Claims.pdf      416904     12/15/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              65734_6_FinalPackage.pdf                   34145803       11/9/2022 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              81606 Roy, Michael.tv5                         10016      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              Application.pdf                               557187     12/15/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              Benefits Letter.pdf                           124701     12/15/2022 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              Birth Cert.pdf                                557685     12/15/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              Court Order Nov 2022.pdf                    3052612      12/15/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              Credit Report.pdf                           1941407      12/15/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              Disclosure - 9-6-22.pdf                       115739     12/20/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              Disclosure.pdf                              1073062      12/15/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              Docusig.pdf                                   257659     12/15/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              Fasano.pdf                                    148548     12/15/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              HIPAA.pdf                                     596585     12/15/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              Ipa.pdf                                       196390     12/15/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              LOD.pdf                                       181895     12/15/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              Medical Questionnaire.pdf                   1732106      12/15/2022 13:57




                                                               2231
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2233 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              Pacer.pdf                              714285     12/15/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              Petition.pdf                         1357068      12/15/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              POR.pdf                                444689     12/20/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              Proof of Service.pdf                   211858     12/15/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              Purchase Agreement - 9-21-22.pdf       237183     12/20/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              Purchase Agreement.pdf               5198294      12/15/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              Searches.pdf                           546329     12/20/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              Seller Identification.pdf              280209     12/15/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              Settlement Agreement.pdf               388348     12/15/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              Skip Trace.pdf                         733384     12/20/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81606              Stip - not fully executed.pdf       11747437      12/20/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81607              250274_3_FinalPackage.pdf           28262686      10/24/2022 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81607              81607 Long, Patrick.tv5                 10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81607              Annuity Contract.pdf                    26505     12/20/2022 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81607              Application with notes.pdf           2145563      12/20/2022 17:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81607              Bankruptcy Search.pdf                  338751     12/20/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81607              Court Order.pdf                      2586703      12/20/2022 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81607              Credit Report.pdf                       52277     12/20/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81607              Disclosure AZ - Increased PP.pdf       237595     12/20/2022 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81607              Disclosure AZ.pdf                      969738     12/20/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81607              Disclosure NY.pdf                      204047     12/20/2022 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81607              Fasano Report.pdf                       98599     12/20/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81607              HIPAA.pdf                            2398156      12/20/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81607              LC Docs.pdf                          2026015      12/20/2022 17:11




                                                               2232
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                                       3467



               All Paths/Locations                                Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81607              LC Medical Addendum.pdf                 1368577      12/20/2022 17:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81607              Medical Questionnaire.pdf               4211870      12/20/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81607              Payees Declaration.pdf                  1351598      12/20/2022 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81607              Purchase Agreement.pdf                  1719191      12/20/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81607              Searches.pdf                              544393     12/20/2022 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81607              Seller Identification.pdf               2817677      12/20/2022 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81607              Settlement Agreement and Release.pdf      244101     12/20/2022 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81607              Stipulation.pdf                           878795     12/20/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81608              1960365_1_FinalPackage.pdf             26729694      10/28/2022 20:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81608              81608 Richason, Troy.tv5                   10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81608              Application.pdf                         2537954      12/16/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81608              Assignment.pdf                            323767     12/16/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81608              Benefits Letter.pdf                        78188     12/16/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81608              Court Order Oct 2022.pdf                  377586     12/16/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81608              Credit report.pdf                          55117     12/20/2022 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81608              Disclosure.pdf                          1165512      12/16/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81608              Divorce.pdf                               285493     12/16/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81608              Docusign.pdf                               93045     12/16/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81608              Drivers License.pdf                     2976322      12/16/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81608              Fasano.pdf                                157643     12/16/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81608              HIPAA.pdf                               1746875      12/16/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81608              Ipa.pdf                                   616921     12/16/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81608              Medical Questionnaire.pdf                 303327     12/16/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81608              Notice of hearing.pdf                     599975     12/16/2022 11:38




                                                                2233
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2235 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81608              Pacer.pdf                              578558     12/16/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81608              Petition.pdf                        11894785      12/16/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81608              Proof of Service.pdf                   705044     12/16/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81608              Purchase Agreement.pdf               8047566      12/16/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81608              Searches.pdf                           573729     12/20/2022 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81608              Stipulation.pdf                        385676     12/20/2022 18:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81609              260941_5_FinalPackage.pdf            7654196       11/4/2022 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81609              81609 Beaver, Lora.tv5                  10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81609              Agreement.pdf                          936127     12/16/2022 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81609              Benefits Letter.pdf                     91404     12/16/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81609              Court Order.pdf                      2267688      12/16/2022 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81609              Credit Report.pdf                      598934     12/16/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81609              Disclosure.pdf                         259473     12/16/2022 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81609              Docusign.pdf                           144670     12/16/2022 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81609              Drivers License.pdf                    556337     12/16/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81609              Fasano.pdf                             145013     12/16/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81609              HIPAA.pdf                              285288     12/16/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81609              IPA.pdf                                197255     12/16/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81609              LOD.pdf                                213301     12/16/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81609              Marriage Cert.pdf                      354963     12/16/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81609              Pacer.pdf                              392804     12/16/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81609              Purchase Agreement.pdf                 299043     12/16/2022 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81609              Settlement Agreement.pdf               420448     12/16/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81609              Stipulation.pdf                      1354311       12/21/2022 8:23




                                                                2234
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                                       3467



               All Paths/Locations                                 Unified Title         File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81610              74093_3_FinalPackage.pdf                   14933757        9/28/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81610              image001.png                                     6527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81610              81610 Contreras, Melissa.tv5                   10012       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81610              Annuity Contract.pdf                          197755       12/21/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81610              Application.pdf                               316326       12/21/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81610              Bankruptcy Search.pdf                         382263       12/21/2022 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81610              Court Order.pdf                             3068925        12/21/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81610              Credit Report.pdf                              56501       12/21/2022 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81610              Disclosure AZ.pdf                             117902       12/21/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81610              DocuSign Cert - 9646.pdf                       67867       12/21/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81610              DocuSign Cert - E622.pdf                       67898       12/21/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81610              Driver License.pdf                            581638       12/21/2022 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81610              Fasano Report.pdf                             101036       12/21/2022 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81610              HIPAA.pdf                                     223621       12/21/2022 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81610              Medical Questionnaire.pdf                     285512       12/21/2022 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81610              Payees Declaration.pdf                      1687630        12/21/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81610              Petition for Approval of Conservator.pdf      360289       12/21/2022 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81610              Purchase Agreement.pdf                        400199       12/21/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81610              Qualified Assignment.pdf                       78366       12/21/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81610              Searches.pdf                                  523755       12/21/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81611              325388_3_FinalPackage.pdf                  13049531        11/4/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81611              81611 McNeice, William.tv5                     10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81611              Annuity Contract.pdf                           81430      12/16/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81611              Application.pdf                             1124045       12/16/2022 12:37




                                                             2235
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                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81611              Court Order Oct 2022.pdf                  409015     12/16/2022 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81611              Credit Report.pdf                         691592     12/16/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81611              Disclosure.pdf                            262086     12/16/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81611              Docusign.pdf                              258821     12/16/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81611              Drivers License.pdf                     1326921      12/16/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81611              Fasano.pdf                                144279     12/16/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81611              HIPAA.pdf                                 590636     12/16/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81611              IPA.pdf                                   192188     12/16/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81611              LOD.pdf                                   452582     12/16/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81611              Medical Questionnaire.pdf               4997363      12/16/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81611              Pacer.pdf                                 682499     12/16/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81611              Purchase Agreement.pdf                    304972     12/16/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81611              Seller Affidavit.pdf                      390169     12/16/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81611              Settlement Agreement.pdf                  362797     12/16/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81612              1535944_2_FinalPackage.pdf             26063874      10/27/2022 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81612              81612 Miller, Mai.tv5                      10015      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81612              AC Cert.pdf                               119029     12/16/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81612              Application.pdf                           283293     12/16/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81612              Complaint.pdf                          10473727      12/16/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81612              Court Order Oct 2022.pdf                1647373      12/16/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81612              Credit Report.pdf                         751760     12/16/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81612              Disclosure.pdf                            184188     12/16/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81612              Docusign.pdf                              162063     12/16/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81612              HIPAA.pdf                                 298938     12/16/2022 15:39




                                                               2236
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                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81612              IPA.pdf                                   871237     12/16/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81612              Letter Agreement.pdf                    1284593      12/16/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81612              LOD.pdf                                   218701     12/16/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81612              Medical Questionnaire.pdf                 318001     12/16/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81612              Pacer.pdf                                 352917     12/16/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81612              PI Docket.pdf                           1726826      12/16/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81612              Proof of Service.pdf                    2449972      12/16/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81612              Purcase Agreement Oct 2022.pdf            298937     12/16/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81612              Purchase Agreement May 2022.pdf           385497     12/16/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81612              Seller Affidavit.pdf                      924404     12/16/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81612              Seller Identification.pdf               1934164      12/16/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81612              Settlement Agreement.pdf                  743145     12/16/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81612              Stipulation.pdf                         1193966      12/21/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81613              1828210_4_FinalPackage.pdf              9036906      10/27/2022 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81613              81613 Dixon, Angelique.tv5                 10262      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81613              AC Cert.pdf                               328405      12/19/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81613              Application.pdf                           363738      12/19/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81613              Court Order.pdf                           202750     12/21/2022 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81613              Credit Report.pdf                         894297      12/19/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81613              Docusign.pdf                              225003      12/19/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81613              Drivers License.pdf                       159588      12/19/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81613              Fasano.pdf                                157306      12/19/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81613              HIPAA.pdf                                 590608      12/19/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81613              IPA.pdf                                   191496      12/19/2022 9:32




                                                                2237
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2239 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81613              LOD.pdf                                195061      12/19/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81613              Medical Questionnaire.pdf              479973      12/19/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81613              PACER.pdf                              350586      12/19/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81613              PI Docket.pdf                          835341      12/19/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81613              Proof of Service.pdf                 1087162       12/19/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81613              Purchase Agreement.pdf                 304646      12/19/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81613              Stipulation.pdf                        828082     12/21/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81614              369356_1_FinalPackage.pdf           30767338      11/10/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81614              81614 Shapiro, Michael.tv5              10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81614              Affidavit of Service.pdf             1893194      12/19/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81614              Annuity Contract.pdf                   250390     12/19/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81614              Application.pdf                        379817     12/19/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81614              Court Order Nov 2022.pdf             3369439      12/19/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81614              Credit Report.pdf                      616184     12/19/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81614              Disclosure.pdf                         401514     12/19/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81614              Divorce.pdf                          7892960      12/19/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81614              Docusign.pdf                            87110     12/19/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81614              Drivers License.pdf                  6137342      12/19/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81614              Fasano.pdf                             145089     12/19/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81614              HIPAA.pdf                              309783     12/19/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81614              IPA.pdf                                196336     12/19/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81614              LOD.pdf                                196355     12/19/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81614              Medical Questionnaire.pdf              396480     12/19/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81614              Objection to Transfer.pdf              227027     12/19/2022 15:30




                                                                2238
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2240 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81614              Pacer.pdf                                 389375      12/19/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81614              POD NY Disc.pdf                           159241      12/19/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81614              Proof of Deliver.pdf                      649433      12/19/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81614              Proof of Delivery.pdf                     649433      12/19/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81614              Purchase Agreement.pdf                  4683040       12/19/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81614              Seller Affidavit.pdf                    1853514       12/19/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81615              1822324_4_FinalPackage.pdf             16296898       10/28/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81615              image001.png                                 6527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81615              81615 Eichenlaub, Floyd.tv5                10022       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81615              Application.pdf                           265764      12/19/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81615              Benefits Letter.pdf                       389693      12/19/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81615              Court Order Oct 2022.pdf                2257807       12/19/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81615              Credit Report.pdf                         599826      12/19/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81615              Disclosure.pdf                            287867      12/19/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81615              Divorce.pdf                               391799      12/19/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81615              Docusign.pdf                              184345      12/19/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81615              Drivers License.pdf                     5941543       12/19/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81615              Fasano.pdf                                146377      12/19/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81615              HIPAA.pdf                                 182086      12/19/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81615              IPA.pdf                                   213865      12/19/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81615              LOD.pdf                                   178956      12/19/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81615              Medical Questionnaire.pdf                 599088      12/19/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81615              Pacer.pdf                                 835831      12/19/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81615              PI Docs.pdf                               159083      12/19/2022 15:49




                                                               2239
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2241 of
                                       3467



               All Paths/Locations                                   Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81615              Proof of Service.pdf                           1260880      12/19/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81615              Purchase Agreement.pdf                           323421     12/19/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81615              Searches.pdf                                   2045810      12/19/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81615              Seller Affidavit.pdf                             365100     12/19/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81615              Stipulation.pdf                                  880293     12/19/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              1218287_3_FinalPackage.pdf                    18785833      10/14/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              81616 Christophe, Mirelene.tv5                    10265      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              Annuity Contract.pdf                           1060752       12/7/2022 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              Application with notes at the end.pdf            229422      12/7/2022 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              Approval from Settling Court to proceed.pdf    1256231       12/7/2022 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              BK Search.pdf                                    485150      12/7/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              Court Order.pdf                                9869413       12/7/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              Credit Report.pdf                                 59666      12/7/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              Disclosure NY.pdf                                 95775      12/7/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              Disclosure PA.pdf                                 91888      12/7/2022 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              DocuSign 7866.pdf                                 75806      12/7/2022 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              DocuSign 9074.pdf                                 75874      12/7/2022 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              DocuSign 9FCD.pdf                                 75892      12/7/2022 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              Driver License.pdf                               891834      12/7/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              Fasano Report.pdf                                155520      12/7/2022 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              Identification.pdf                             1283170       12/7/2022 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              Important Notice.pdf                              80245      12/7/2022 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              Infant Compromise Order.pdf                    3065034       12/7/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              IPA Waiver.pdf                                   117550      12/7/2022 14:03




                                                                2240
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2242 of
                                       3467



               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              LOD.pdf                                         112767      12/7/2022 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              Medical Questionnaire.pdf                       215431      12/7/2022 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              Name Change exeception from JGW.pdf              57397      12/7/2022 14:08
Saiph consulting|\Audit Materials Received-   Payees Affidavit in support of petition of
SuttonPark\Closing Binders\81616              transfer.pdf                                    144334      12/7/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              Plead3.pdf                                      659470      12/7/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              Purchase Agreement.pdf                          246510      12/7/2022 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              Searches.pdf                                    595379      12/7/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              SSN Verification - Christophe.pdf               191148       12/9/2022 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              Stipulation.pdf                               1005585       12/7/2022 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              Updated Disclosure NY.pdf                       631191      12/7/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              Updated Disclosure PA.pdf                        92118      12/7/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81616              W9.pdf                                        1371311       12/7/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81617              1531363_4_FinalPackage.pdf                   10051481      10/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81617              81617 Rave, Niki.tv5                             10256      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81617              Annuity Contract.pdf                            368644     12/20/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81617              Application with note.pdf                       752079     12/22/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81617              Court Order Oct 2022.pdf                        308445     12/20/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81617              Credit Report.pdf                               107386     12/20/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81617              Disclosure.pdf                                  184738     12/20/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81617              Docusign.pdf                                    177136     12/20/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81617              Fasano.pdf                                      536118     12/20/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81617              HIPAA.pdf                                       469253     12/20/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81617              IPA.pdf                                         217296     12/20/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81617              LOD.pdf                                         114118     12/20/2022 11:02




                                                                2241
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2243 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81617              Medical Questionnaire.pdf              703419     12/20/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81617              Name Change.pdf                        496526     12/20/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81617              Pacer.pdf                              170834     12/20/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81617              Proof of Service.pdf                   306205     12/20/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81617              Purchase Agreement.pdf                 303099     12/20/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81617              Searches.pdf                           263858     12/20/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81617              Seller Identification.pdf              528256     12/20/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81617              Settlement Agreement.pdf               445914     12/20/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81617              Stipulation.pdf                      3927459      12/20/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81618              274842_3_FinalPackage.pdf           10163211       11/4/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81618              81618 Jacobs, Brian.tv5                 10260      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81618              Affidavit of service.pdf               237436     12/20/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81618              Annuity Contract.pdf                   600597     12/20/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81618              Application.pdf                        345606     12/20/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81618              Benefits Letter sept 2022.pdf          219239     12/20/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81618              Benefits Letter.pdf                    124063     12/20/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81618              Court Order Nov 2022.pdf             1472069      12/20/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81618              Credit Report.pdf                      110845     12/20/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81618              Disclosure.pdf                         170781     12/20/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81618              Divorce.pdf                            725156     12/20/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81618              Docusign.pdf                           146062     12/20/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81618              Drivers License.pdf                  1220257      12/20/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81618              Fasano.pdf                             170069     12/20/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81618              HIPAA.pdf                              471559     12/20/2022 13:02




                                                                2242
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                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81618              IPA.pdf                                 191163     12/20/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81618              LOD.pdf                                 168739     12/20/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81618              Medical Questionnaire.pdf               254041     12/20/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81618              Pacer.pdf                               350763     12/20/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81618              Purchase Agreement.pdf                  302027     12/20/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81618              Qualified Assignement.pdf               146738     12/20/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81618              Searches.pdf                            680649     12/20/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81618              Settlement Agreement.pdf                471138     12/20/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81620              1588991_2_FinalPackage.pdf            5615609       5/27/2022 16:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81620              81620 Susralski, Paul.tv5                10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81620              Application.pdf                         158105       12/8/2022 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81620              Bankruptcy Search.pdf                   297224       12/8/2022 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81620              Credit Report.pdf                        42568       12/8/2022 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81620              Disclosure IL.pdf                        93147       12/8/2022 7:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81620              DocuSign Cert E39E.pdf                   70843       12/8/2022 7:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81620              DocuSign Cert E4F1.pdf                   74340       12/8/2022 7:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81620              Driver License.pdf                      127039       12/8/2022 8:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81620              Fasano Report.pdf                       156070       12/8/2022 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81620              HIPAA.pdf                               209696       12/8/2022 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81620              IPA Waiver.pdf                          115584       12/8/2022 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81620              LOD.pdf                                  85927       12/8/2022 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81620              Medical Questionnaire.pdf               199971       12/8/2022 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81620              Proof of Service.pdf                  2105072        12/8/2022 7:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81620              Purchase Agreements.pdf                 528211       12/8/2022 7:53




                                                               2243
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2245 of
                                       3467



               All Paths/Locations                                Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81620              Searches.pdf                                 513378       12/8/2022 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81620              Settlement Agreement.pdf                   1718505        12/8/2022 7:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              1962384_1_FinalPackage.pdf                15692340       11/9/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              81621 Sauceda, Yolanda.tv5                    10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              AC Cert.pdf                                  232005     12/20/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              Agreement.pdf                                786108     12/20/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              Application.pdf                            1303889      12/20/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              Assignment.pdf                               309271     12/20/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              Court Order Nov 2022.pdf                     292199     12/20/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              Credit Report.pdf                            106722     12/20/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              Disclosure.pdf                               523006     12/20/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              Divorce dismissal (current husband).pdf      212748     12/20/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              Divorce.pdf                                  437517     12/20/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              Drivers License.pdf                          586321     12/20/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              Fasano.pdf                                   147295     12/20/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              Funding disbursement sheet.pdf               238011     12/20/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              HIPAA.pdf                                  2829801      12/20/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              Ipa.pdf                                      352331     12/20/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              Medical Questionnaire.pdf                  1573501      12/20/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              Motion for Continuance.pdf                 1429865      12/20/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              Order - motion for non suit.pdf              284091     12/20/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              Order of Dismissal.pdf                       714825     12/20/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              Pacer.pdf                                    392970     12/20/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              Petition.pdf                               1084188      12/20/2022 14:34




                                                               2244
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2246 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              PP increase.pdf                         320528     12/20/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              Proof of Service.pdf                    387931     12/20/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              Purchase Agreement.pdf                  451571     12/20/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              R&S Petition.pdf                      1675874      12/20/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              Searches.pdf                            681694     12/20/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81621              Stipulation.pdf                       1061821      12/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              1698475_2_FinalPackage.pdf            8715310      10/26/2022 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              81622 Williams, Angel.tv5                10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              Annuity Contract.pdf                    249934       12/8/2022 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              Application.pdf                         694340       12/8/2022 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              BK Search.pdf                           565550       12/8/2022 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              Court Order.pdf                       2672320        12/8/2022 8:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              Credit Report.pdf                        52466       12/8/2022 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              Disclosure AZ.pdf                       713956       12/8/2022 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              Disclosure GA.pdf                       436889       12/8/2022 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              Divorce.pdf                           2605774        12/8/2022 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              Driver License.pdf                      625955       12/8/2022 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              Fasano Report.pdf                       153754       12/8/2022 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              HIPAA.pdf                             1906897        12/8/2022 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              IPA Waiver.pdf                          284906       12/8/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              LOD.pdf                                 137303       12/8/2022 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              Marriage Cert.pdf                       289114       12/8/2022 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              Medical Questionnaire.pdf             2226346        12/8/2022 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              Payees Statement.pdf                     79809       12/8/2022 8:22




                                                                2245
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2247 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              POR.pdf                              1126332        12/8/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              Purchase Agreements.pdf              9565465        12/8/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              Qualified Assignment.pdf               407567       12/8/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              Req COB.pdf                          2851467        12/8/2022 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              Searches.pdf                           340381       12/8/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              Settlement Order.pdf                   397189       12/8/2022 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              SSN Verification - Williams.pdf        655681      12/9/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              Stipulation.pdf                      1267409        12/8/2022 8:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81622              W9.pdf                                 606901       12/8/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81623              581390_7_FinalPackage.pdf           14580826      11/10/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81623              81623 Parker, Michael.tv5               10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81623              Annuity Contract.pdf                   875227     12/20/2022 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81623              Application.pdf                        257994     12/20/2022 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81623              Benefits letter June 2011.pdf          273658     12/20/2022 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81623              Court Order Nov 2022.pdf             3612468      12/20/2022 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81623              Credit Report.pdf                       96404     12/20/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81623              Divorce.pdf                          2876149      12/20/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81623              Docusign.pdf                           127613     12/20/2022 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81623              Drivers License.pdf                    100073     12/20/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81623              Fasano.pdf                             150146     12/20/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81623              Funding disbursement sheet.pdf         194793     12/20/2022 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81623              HIPAA.pdf                              287259     12/20/2022 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81623              Ipa.pdf                                199375     12/20/2022 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81623              LOD.pdf                                213080     12/20/2022 15:07




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2248 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81623              Medical Questionnaire.pdf               388287     12/20/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81623              Pacer.pdf                               593669     12/20/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81623              Purchase Agreement.pdf                2002211      12/20/2022 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81623              Qualified Assignement.pdf               393642     12/20/2022 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81623              Searches.pdf                            842028     12/20/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81623              Settlement Agreement Request.pdf        172607     12/20/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81623              Settlement Agreement.pdf                267785     12/20/2022 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81623              W9.pdf                                  269262     12/20/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81624              1817792_2_FinalPackage.pdf            7108078       8/31/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81624              81624 Jones, Timisha.tv5                 10259      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81624              Application.pdf                         233325       12/8/2022 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81624              Benefits Letter.pdf                     782023      12/8/2022 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81624              BK Search.pdf                           238720       12/8/2022 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81624              Court Order.pdf                         220068       12/8/2022 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81624              Credit Report.pdf                        46087       12/8/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81624              Death Record Search.pdf                 210355       12/8/2022 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81624              Disclosure TX.pdf                        90695       12/8/2022 9:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81624              DocuSign Cert 7F06.pdf                   73381       12/8/2022 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81624              DocuSign Cert B278.pdf                   73443       12/8/2022 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81624              DocuSign Cert E57F.pdf                   73333       12/8/2022 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81624              Driver License.pdf                      830622       12/8/2022 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81624              Fasano Report.pdf                       151818       12/8/2022 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81624              HIPAA.pdf                               189546       12/8/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81624              IPA Waiver.pdf                          115056       12/8/2022 9:13




                                                               2247
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2249 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81624              LOD.pdf                                 98479       12/8/2022 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81624              Medical Questionnaire.pdf              340657       12/8/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81624              PI Docket.pdf                          207974       12/8/2022 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81624              Purchase Agreement.pdf                 244812       12/8/2022 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81624              Req to conceal ID.pdf                   87900       12/8/2022 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81624              Searches.pdf                           544604       12/8/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81624              SSN Verification - Jones.pdf           645039      12/9/2022 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              391730_5_FinalPackage.pdf           13654085      11/10/2022 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              81625 Ogg, Mitchell.tv5                 14007      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              Agreement 2018.pdf                     465080     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              Annuity Contract.pdf                   208081     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              Application.pdf                        271661     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              Court Order Nov 2022.pdf               814240     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              Credit Report.pdf                       89047     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              Disclosure CT.pdf                      207762      12/23/2022 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              Disclosure PA.pdf                      189676      12/23/2022 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              Divorce.pdf                          4639114      12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              DocuSign Certs.pdf                     224065     12/23/2022 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              Drivers License.pdf                  1275628      12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              Fasano.pdf                             145971     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              Funding disbursement sheet.pdf         195062     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              HIPAA.pdf                              278004     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              IPA.pdf                                213456     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              LOD.pdf                                144532     12/20/2022 15:32




                                                              2248
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2250 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              Medical Questionnaire.pdf                 435795     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              Minors Compromise.pdf                     920524     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              Pacer.pdf                                 324289     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              Proof of Service.pdf                      641481     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              Purchase Agreement.pdf                    322648     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              Qualified Assignement.pdf                 252935     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              Searches.pdf                              646386     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              Seller Affidavit.pdf                      361112     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81625              Settlement Agreement.pdf                  397040     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81626              392526_5_FinalPackage.pdf              14803525      11/10/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81626              81626 Ogg, Mitchell.tv5                    10259      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81626              Annuity Contract.pdf                      215916     12/20/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81626              Application.pdf                           273214     12/20/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81626              Court Order Nov 2022.pdf                  349150     12/20/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81626              Credit Report.pdf                         111954     12/20/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81626              Disclosure.pdf                            252592     12/20/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81626              Divorce.pdf                             4812861      12/20/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81626              Docusign.pdf                              168914     12/20/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81626              Drivers License.pdf                     1275616      12/20/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81626              Fasano.pdf                                145971     12/20/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81626              Funding disbursement sheet.pdf            229317     12/20/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81626              HIPAA.pdf                                 278880     12/20/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81626              IPA.pdf                                   214311     12/20/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81626              LOD.pdf                                   144532     12/20/2022 15:56




                                                               2249
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                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81626              Medical Questionnaire.pdf                 422620     12/20/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81626              Minors Compromise.pdf                     807955     12/20/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81626              Pacer.pdf                                 559573     12/20/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81626              Proof of Service.pdf                    1227215      12/20/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81626              Purchase Agreement.pdf                    323506     12/20/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81626              Searches.pdf                              650009     12/20/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81626              Seller Affidavit.pdf                      361965     12/20/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81626              Settlement Agreement.pdf                1515750      12/20/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81626              Stipulation.pdf                           815135     12/20/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81627              1280887_2_FinalPackage.pdf              7137157      10/25/2022 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81627              81627 Stuart, Thomas.tv5                   10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81627              Application.pdf                           177730       12/8/2022 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81627              Benefits Letter.pdf                       915276       12/8/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81627              BK Search.pdf                             236809       12/8/2022 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81627              Court Order.pdf                           515786       12/8/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81627              Credit Report.pdf                          46382       12/8/2022 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81627              DocuSign Cert 195A.pdf                     75504       12/8/2022 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81627              DocuSign Cert 6BE0.pdf                     74914       12/8/2022 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81627              Fasano Report.pdf                         121781       12/8/2022 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81627              HIPAA.pdf                                 356651       12/8/2022 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81627              IPA Waiver.pdf                            116173       12/8/2022 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81627              LOD.pdf                                   108276       12/8/2022 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81627              Marriage Cert.pdf                         407095       12/8/2022 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81627              Medical Questionnaire.pdf                 830325       12/8/2022 9:46




                                                                2250
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2252 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81627              PI - SA exeception note.pdf             70510       12/8/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81627              Purchase Agreement.pdf                 927015       12/8/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81627              Searches.pdf                           554484       12/8/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81627              SSN Verification - Stuart.pdf          280445      12/9/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              703697_3_FinalPackage.pdf           16886169      10/31/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              81628 Watson, Andy.tv5                  10258      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              Annuity Contract.pdf                   307335      12/21/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              Application.pdf                        164839      12/21/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              Benefits Letter.pdf                     50828      12/21/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              Child Custody Affidavit.pdf            167952      12/21/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              Child support paperwork.pdf            211733      12/21/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              Court Order Oct 2022.pdf               470736      12/21/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              Credit Report.pdf                       62004      12/21/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              Disclosure.pdf                         147169      12/21/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              Divorce.pdf                         17741196       12/21/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              Docusign.pdf                            87891      12/21/2022 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              Drivers License.pdf                  3855355       12/21/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              Fasano.pdf                              88653      12/21/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              Funding disbursement sheet.pdf         146395      12/21/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              HIPAA.pdf                              227286      12/21/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              IPA.pdf                                139231      12/21/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79282              Proof of service.pdf                   230749      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79282              Purchase Agreement.pdf               4096421       4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79282              Qualified Assignment.pdf               159923      4/21/2022 18:21




                                                               2251
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2253 of
                                       3467



               All Paths/Locations                                  Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79282              Request For Acknowledgement.pdf              16751      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79282              Searches.pdf                                246311      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79282              Settlement Agreement.pdf                    533034      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79282              Stipulation.pdf                             757160      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79283              1857065_1_FinalPackage.pdf                7166886        3/9/2022 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79283              79283 Clifton, Angel.tv5                     10016      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79283              Application.pdf                             796490      4/22/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79283              Benefits Letter.pdf                         421055      4/22/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79283              Change of Beneficiary.pdf                   200478      4/22/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79283              Court Order.pdf                             938476      4/22/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79283              Death Certificate.pdf                       452031      4/22/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79283              Disclosure - IL.pdf                         290935      4/22/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79283              Docusign Certificate of Completion.pdf      288134      4/22/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79283              List of Dependents.pdf                      181512      4/22/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79283              Obituary .pdf                               164096      4/22/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79283              Purchase Agreement.pdf                    1487650       4/22/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79283              Request For Acknowledgement.pdf             247583      4/22/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79283              Searches.pdf                              1897093       4/22/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79283              Waiver of IPA.pdf                           188524      4/22/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79285              1849451_2_FinalPackage.pdf                7239204       3/10/2022 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79285              79285 Trevino, Michael.tv5                   10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79285              Application.pdf                             202939      4/22/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79285              Benefits Letter.pdf                          87724      4/22/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79285              Court Order.pdf                           1689097       4/22/2022 11:51




                                                                2252
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2254 of
                                       3467



               All Paths/Locations                                Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79285              Docusign Certificate of Completion.pdf      125639      4/22/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79285              List of Dependents.pdf                      142335      4/22/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79285              Obituary.pdf                                378490      4/22/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79285              Purchase Agreement.pdf                      352515      4/22/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79285              Searches.pdf                              1517128       4/22/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79285              Seller Identification.pdf                 2034063       4/22/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79285              Stipulation.pdf                             532244      4/22/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79285              Waiver of IPA.pdf                           196449      4/22/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79286              1717901_1_FinalPackage.pdf               10001815       3/10/2022 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79286              79286 Stinson, Gary.tv5                      10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79286              Application.pdf                             189702      4/22/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79286              Benefits Letter.pdf                         512237      4/22/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79286              Court Order.pdf                           3000036       4/22/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79286              Docusign Certificate of Completion.pdf      195999      4/22/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79286              Purchase Agreement.pdf                      224378      4/22/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79286              Request For Acknowledgement.pdf             232759      4/22/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79286              Searches.pdf                              2855425       4/22/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79286              Seller Identification.pdf                   916178      4/22/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79286              Settlement Agreement.pdf                    565428      4/22/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79286              Stipulation.pdf                           1640701       4/22/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79286              Waiver of IPA.pdf                           171134      4/22/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              1723633_3_FinalPackage.pdf               10667935       3/11/2022 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              79287 Durose, Austin.tv5                     11056      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              Annuity Contract.pdf                        495713      4/22/2022 12:30




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                                       3467



               All Paths/Locations                                   Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              Application.pdf                             330358      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              Change of Beneficiary.pdf                   100082      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              Court Order.pdf                           1840619       4/22/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              Disclosure - AZ.pdf                         109017      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              Disclosure - NJ.pdf                         112834      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              Docusign Certificate of Completion.pdf      321585      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              Name Affidavit.pdf                           69801      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              Notice of Hearing.pdf                       158740      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              Petition.pdf                                848835      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              Proof of Service.pdf                        285603      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              Purchase Agreement.pdf                      975466      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              Qualified Assignement.pdf                   693868      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              Request For Acknowledgement.pdf             206875      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              Searches.pdf                              1118180       4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              Seller Affidavit.pdf                        152097      4/22/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              Seller Identification.pdf                   721772      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              Settlement Agreement.pdf                    776361      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              Spousal Consent.pdf                         508934      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              SSN.pdf                                     532865      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              Statement of Dependents.pdf                  79856      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              Stipulation.pdf                             657594      4/22/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79287              Waiver of IPA.pdf                           100766      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79290              1878368_1_FinalPackage.pdf               15877891       3/11/2022 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79290              79290 Dimaggio, Valerie.tv5                  11350      10/9/2024 17:37




                                                                2254
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                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79290              Annuity Contract.pdf                   360783      4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79290              Application.pdf                        217679      4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79290              Benefits Letter.pdf                    170731      4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79290              Court Order.pdf                        467813      4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79290              Credit Report.pdf                      190659      4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79290              Disclosure - NV.pdf                    247981      4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79290              Divorce decree.pdf                   1612333       4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79290              Docusign cert.pdf                      124944      4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79290              Drivers License.pdf                  4831548       4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79290              Notice of Transfer.pdf                 148749      4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79290              Purchase Agreement.pdf               3528093       4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79290              Qualified Assignment.pdf               224992      4/25/2022 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79290              Request For Acknowledgement.pdf        143164      4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79290              Searches.pdf                           880401      4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79290              Settlement Agreement.pdf             2882126       4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79291              514882_1_FinalPackage.pdf            9119767        3/9/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79291              79291 Craig, Sean.tv5                   15997      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79291              Application.pdf                        126269      4/25/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79291              Benefits Letter.pdf                    384659      4/25/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79291              Court Order.pdf                      1515761       4/25/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79291              Credit Report.pdf                      521420      4/25/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79291              Disclosure - PA.pdf                    927019      4/25/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79291              Docusign cert.pdf                       97663      4/25/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79291              Drivers License.pdf                    678139      4/25/2022 17:05




                                                             2255
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2257 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79291              Notice of Transfer.pdf                     120440      4/25/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79291              Objection to Owner.pdf                      62351      4/25/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79291              Proof of residency.pdf                     199962      4/25/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79291              Purchase Agreement.pdf                   3375859       4/25/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79291              Request For Acknowledgement.pdf             82835      4/25/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79291              Request for Change of Beneficiary.pdf      209050      4/25/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79291              Searches.pdf                               285772      4/25/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79291              Settlement Agreement.pdf                   539080      4/25/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79292              1879967_1_FinalPackage.pdf              11259433        3/9/2022 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79292              79292 Cortes, Tyler.tv5                     10709      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79292              Adoption Documents.pdf                     454181      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79292              Annuity Contract.pdf                     1056359       4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79292              Application.pdf                            424752      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79292              Court Order.pdf                          5604377       4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79292              Credit Report.pdf                          114679      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79292              Disclosure - CT.pdf                        268124      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79292              Disclosure - DE.pdf                        267938      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79292              Disclosure - MI.pdf                        267863      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79292              Disclosure - TX.pdf                        267882      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79292              Docusign cert.pdf                          224756      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79292              Drivers License.pdf                        258702      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79292              New - Cortes, Tyler (Ack letter).pdf        64267       2/9/2024 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79292              Notice of Transfer.pdf                     159319      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79292              Proof of residency.pdf                     150769      4/25/2022 17:44




                                                             2256
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                                       3467



               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79292              Purchase Agreement.pdf                     722733      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79292              Request For Acknowledgement.pdf            150668      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79292              Request for Change of Beneficiary.pdf      169483      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79292              Searches.pdf                               916887      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79292              Settlement Docket.pdf                      192361      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79293              1876408_1_FinalPackage.pdf              31222427       3/11/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79293              79293 Curtis, Bryan.tv5                     10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79293              Annuity Contract.pdf                       421908      4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79293              Application.pdf                            419967      4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79293              Court Order.pdf                            324743      4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79293              Credit Report.pdf                          748198      4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79293              Disclosure - KS.pdf                        264647      4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79293              Docusign Certificate.pdf                   255781      4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79293              Drivers License.pdf                        169383      4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79293              Notice of Transfer.pdf                     149395      4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79293              Purchase Agreement.pdf                   1739583       4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79293              Qualified Assignment.pdf                   705778      4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79293              Request For Acknowledgement.pdf            185806      4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79293              Searches.pdf                               935542      4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79293              Settlement Agreement.pdf                   787675      4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79293              Stipulation.pdf                         16133663       4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79296              1774722_3_FinalPackage.pdf              16558943       10/9/2024 23:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79296              79296 Standingrock, Bradley.tv5             10182      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79296              Annuity Contract.pdf                       927817       5/2/2022 14:13




                                                                2257
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2259 of
                                       3467



               All Paths/Locations                                  Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79296              Application.pdf                                    346899       5/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79296              Bankruptcy Search.pdf                              158523       5/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79296              Court Order.pdf                                    992220       5/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79296              Credit Report.pdf                                  109462       5/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79296              Disclosure - MT.pdf                                293401       5/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79296              Drivers License.pdf                              7321176        5/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79296              Lien and Judgment Search.pdf                       254064       5/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79296              Purchase Agreement.pdf                           2187822        5/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79296              Qualified Assignement.pdf                          492405       5/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79296              Settlement Agreement.pdf                           642213       5/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79296              Stipulation.pdf                                  2311818        5/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79296              UCC Search.pdf                                     112820       5/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              1866325_1_FinalPackage.pdf                      13733112       3/10/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              1866325 williams SSC.BrokerAgreement (83).pdf      168241       3/9/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              Disclosure email on 10182021.png                    84959
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              79298 John Williams, Anthony.tv5                    10470      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              Absolute Assignment .pdf                         1199218       4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              Annuity.pdf                                      1251075       4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              Application.pdf                                    588248      4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              Court Order.pdf                                    297390      4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              Credit Report.pdf                                  109526      4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              Disclosure - CA.pdf                                388522      4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              Disclosure - IL.pdf                                212980      4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              Disclosure - NY.pdf                                651660      4/27/2022 11:39




                                                                2258
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2260 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              Disclosure - TX.pdf                       349912       4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              Disclosure Affidavit.pdf                  136032       4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              Drivers License.pdf                        95577       4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              Petition .pdf                             183429       4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              Proof of Service.pdf                      256677       4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              Purchase Agreement.pdf                  1364026        4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              Qualified Assignement.pdf                 553426       4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              Searches.pdf                              535574       4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              Seller Affidavit.pdf                      214481       4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              Settlement Agreement.pdf                1412394        4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              SSN.pdf                                   100338       4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              Stipulation.pdf                           984745       4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79298              W9.pdf                                    924527       4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79299              1854790_1_FinalPackage.pdf             10203652        3/11/2022 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79299              79299 Pernell, Jasmine.tv5                   9810      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79299              Annuity Contract.pdf                      521213       4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79299              Application.pdf                           334043       4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79299              Benefits Letter.pdf                       124364       4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79299              Court Order.pdf                           515951       4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79299              Credit Report.pdf                         110877       4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79299              Disclosure - CA.pdf                       176596       4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79299              Disclosure - IL.pdf                       171315       4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79299              DocuSign.pdf                              206308       4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79299              Drivers License.pdf                     1853640        4/27/2022 12:02




                                                                2259
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2261 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79299              Minors Compromise.pdf                   1249297       4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79299              Notice of Hearing .pdf                    519838      4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79299              Petition.pdf                              288091      4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79299              Proof of Service.pdf                      169704      4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79299              Purchase Agreement.pdf                    425503      4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79299              Request For Acknowledgement.pdf           173228      4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79299              Searches.pdf                            1322348       4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79299              Seller Affidavit.pdf                      868719      4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79299              Stipulation.pdf                           993880      4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              1884136_1_FinalPackage.pdf             21013432       3/11/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              79300 Hundley, Zandyn.tv5                  10261      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              Amended Petition.pdf                      220336      4/27/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              Annuity Contract.pdf                      687640      4/27/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              Application.pdf                           162784      4/27/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              Assignment Agreement .pdf                 464451      4/27/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              Assignment.pdf                            249488      4/27/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              Conservatorship.pdf                     9413658       4/27/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              Court Order.pdf                         4547013       4/27/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              Credit Report.pdf                         112314      4/27/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              Disclosure - MA.pdf                        89310      4/27/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              Disclosure - MI.pdf                        84539      4/27/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              DocuSign.pdf                              155898      4/27/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              Drivers License.pdf                       124365      4/27/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              Fasano.pdf                                167465      4/27/2022 12:27




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               All Paths/Locations                                   Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              Pleadings.pdf                             1389854        4/27/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              Proof of Service.pdf                        221628       4/27/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              Purchase Agreement.pdf                      748157       4/27/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              Questionnaire.pdf                           286850       4/27/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              Searches.pdf                                795535       4/27/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              Seller Affidavit.pdf                        314015       4/27/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              Seller Declaration.pdf                       84446       4/27/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              Settlement Agreement.pdf                    190380       4/27/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              Settling Documents.pdf                      334286       4/27/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79300              Stipulation.pdf                             618777       4/27/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79301              366724_1_FinalPackage.pdf                14999574        3/10/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79301              79301 Wallace, Andrew.tv5                      9986      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79301              Application.pdf                             338056       4/27/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79301              Benefits Letter.pdf                          98119       4/27/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79301              Court Order.pdf                             225401       4/27/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79301              Credit Report.pdf                           157673       4/27/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79301              Disclosure - GA.pdf                         800212       4/27/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79301              Disclosure - IN.pdf                         268561       4/27/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79301              Disclosure - WA.pdf                         268601       4/27/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79301              Divorce.pdf                                 975451       4/27/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79301              Docusign.pdf                                160950       4/27/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79301              New - Wallace, Andrew (ack letter).pdf       32544        2/9/2024 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79301              Proof of Service .pdf                     2296777        4/27/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79301              Purchase Agreement.pdf                    1674203        4/27/2022 14:53




                                                                2261
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2263 of
                                       3467



               All Paths/Locations                                   Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79301              Searches.pdf                             1133893       4/27/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79301              Stipulation.pdf                          6465363       4/27/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79302              79302 Casey, Timothy.tv5                    10445      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79302              823499_2_FinalPackage.pdf               12145296        3/9/2022 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79302              Application.pdf                            328728      4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79302              Court Order.pdf                          3633187       4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79302              Credit Report.pdf                          158245      4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79302              Disclosure - AZ.pdf                        151695      4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79302              Disclosure - CO.pdf                        175566      4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79302              Disclosure - MA.pdf                        151549      4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79302              Disclosure - MI.pdf                        175314      4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79302              Docusign.pdf                               185650      4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79302              Drivers License.pdf                      1537216       4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79302              New - Casey, Timothy (ack letter).pdf       63972       2/9/2024 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79302              Purchase Agreement.pdf                     468671      4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79302              Request For Acknowledgement.pdf            160510      4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79302              Request for Change of Beneficiary.pdf      168732      4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79302              Searches.pdf                             1435474       4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79302              Seller Affidavit.pdf                     2712870       4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79303              1408134_2_FinalPackage.pdf               4966038       3/10/2022 10:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79303              79303 McHugh, Colleen.tv5                   10143      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79303              Annuity Contract.pdf                       123632      4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79303              Application.pdf                            288971      4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79303              Court Order.pdf                            291947      4/27/2022 16:29




                                                                2262
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2264 of
                                       3467



               All Paths/Locations                                   Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79303              Credit Report.pdf                           104530       4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79303              Disclosure - NJ.pdf                         423776       4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79303              Disclosure - PA.pdf                         152867       4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79303              Docusign.pdf                                297547       4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79303              New - Mchugh, Colleen (Ack Letter).pdf       69214        2/6/2024 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79303              Purchase Agreement.pdf                    1188966        4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79303              Request For Acknowledgement.pdf             164083       4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79303              Searches.pdf                              1186784        4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79303              Seller Affidavit.pdf                        199466       4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79303              Settling Documents .pdf                     229828       4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79303              Stipulation.pdf                             445011       4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79305              79305 Ericson, Casey.tv5                       9985      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79305              797178_2_FinalPackage.pdf                11196476        3/10/2022 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79305              Annuity Contract.pdf                        186693       4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79305              Application.pdf                             203319       4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79305              Court Order.pdf                             253169       4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79305              Credit Report.pdf                           136108       4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79305              Disclosure - MA.pdf                         163377       4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79305              DocuSign.pdf                                122188       4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79305              Drivers License.pdf                       2916257        4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79305              Proof of Service.pdf                        412970       4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79305              Purchase Agreement.pdf                    1349894        4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79305              Qualified Assignement.pdf                   186667       4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79305              Request For Acknowledgement.pdf             162215       4/27/2022 17:22




                                                                2263
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2265 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79305              Request for Change of Beneficiary.pdf      159615      4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79305              Searches.pdf                             1244264       4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79305              Settlement Agreement.pdf                   203104      4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79305              Settling Documents .pdf                    140809      4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79305              Stipulation.pdf                          4151015       4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79306              1242843_2_FinalPackage.pdf               6224434        3/9/2022 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79306              79306 Shuff, Kimberley.tv5                  10303      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79306              Application.pdf                            190348      4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79306              Benefits Letter.pdf                        320567      4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79306              Case History.pdf                           155349      4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79306              Court Order.pdf                            397225      4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79306              Credit Report.pdf                          404159      4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79306              Disclosure - LA.pdf                        237388      4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79306              Divorce.pdf                              1528457       4/27/2022 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79306              DocuSign.pdf                               145242      4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79306              Judgement.pdf                              160094      4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79306              Name Addendum.pdf                           84515      4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79306              Purchase Agreement.pdf                     634934      4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79306              Request For Acknowledgement.pdf            161804      4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79306              Searches.pdf                             1252988       4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79306              Settlement Agreement.pdf                 7341770       4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79307              437622_2_FinalPackage.pdf                9659765       3/11/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79307              79307 Thompson, Iman.tv5                    10016      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79307              Annuity.pdf                              2178974       4/28/2022 10:43




                                                                2264
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2266 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79307              Application.pdf                           228220       4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79307              Court Order.pdf                         1206248        4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79307              Credit Report.pdf                         101123       4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79307              Disclosure - IL.pdf                       155767       4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79307              Disclosure - PA.pdf                       155699       4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79307              DocuSign.pdf                              191998       4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79307              Drivers License.pdf                       267990       4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79307              Purchase Agreement.pdf                    343715       4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79307              Qualified Assignement.pdf               1253688        4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79307              Request For Acknowledgement.pdf           193144       4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79307              Searches.pdf                              754807       4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79307              Seller Affidavit.pdf                      897887       4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79307              Settlement Agreement .pdf               1364869        4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79307              Stipulation.pdf                           618202       4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79308              1738406_2_FinalPackage.pdf             27119608        3/10/2022 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79308              79308 Ure, Jacob.tv5                         9981      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79308              Acknowledgement of Assignment .pdf        363919       4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79308              Amended NOH.pdf                           140800       4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79308              Amended Petition .pdf                     167615       4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79308              Annuity Contract.pdf                       76906       4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79308              Application.pdf                         1765148        4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79308              Assignment.pdf                            178805       4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79308              Court Order.pdf                         3917343        4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79308              Credit Report.pdf                         105280       4/28/2022 11:21




                                                                2265
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2267 of
                                       3467



               All Paths/Locations                                  Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79308              Declaration .pdf                        1548427       4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79308              Disclosure - FL.pdf                     1289496       4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79308              Disclosure - TX.pdf                     1023730       4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79308              DocuSign.pdf                              375106      4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79308              Driver License .pdf                       468769      4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79308              Final Judgement .pdf                    2631316       4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79308              Minors Compromise.pdf                   1693404       4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79308              Petition .pdf                             950780      4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79308              Purchase Agreement.pdf                  5775306       4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79308              Searches.pdf                              590524      4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79308              Stipulation.pdf                         2847928       4/28/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79314              1370736_2_FinalPackage.pdf             13749072        3/9/2022 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79314              79314 Hall, Shannon.tv5                    10175      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79314              Annuity Contract.pdf                      650201      5/10/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79314              Application.pdf                           421648      5/10/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79314              Court_Order.pdf                         1608635       5/10/2022 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79314              Credit Report.pdf                         107278      5/10/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79314              Disclosure - CT.pdf                       239246      5/10/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79314              Disclosure - NY.pdf                       155653      5/10/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79314              Docusign.pdf                              354779      5/10/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79314              New - Hall, Shannon (ack letter).pdf      100938       2/9/2024 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79314              Prior Court Orders.pdf                    369124      5/10/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79314              Purchase Agreement.pdf                  5042700       5/10/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79314              Qualified Assignement.pdf                 232818      5/10/2022 13:47




                                                                2266
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                                       3467



               All Paths/Locations                                   Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79314              Searches.pdf                            1336765        5/10/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79314              Seller Affidavit.pdf                    1569410        5/10/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79314              Settlement Agreement.pdf                  486384       5/10/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79314              UCC Financing.pdf                          97350       5/10/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79315              1420614_6_FinalPackage.pdf              4166612         3/9/2022 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79315              79315 Ryles, Gia.tv5                         9981      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79315              Annuity Contract.pdf                      100046       5/10/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79315              Application.pdf                           222923       5/10/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79315              Court Order.pdf                         2389417        5/10/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79315              Court Order_.pdf                        2389417        5/10/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79315              Credit Report.pdf                         102400       5/10/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79315              Disclosure - NE.pdf                       156645       5/10/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79315              Docusign.pdf                              158015       5/10/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79315              Drivers License.pdf                       324438       5/10/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79315              Purchase Agreement.pdf                    252206       5/10/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79315              Request For Acknowledgement.pdf           191057       5/10/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79315              Searches.pdf                              695878       5/10/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              1852938_1_FinalPackage.pdf             35726032         3/8/2022 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              image002.png                                 1509
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              image003.png                                 1406
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              image004.png                                 1490
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              79316 Ruffin, James.tv5                    10259       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              Annuity Contract.pdf                      444344       5/10/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              Application.pdf                           282935       5/10/2022 16:23




                                                              2267
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                                       3467



               All Paths/Locations                               Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\79316              Information.pdf                         159354       5/10/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              Benefits Letter.pdf                     100928       5/10/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              Certificate of Title .pdf               238121       5/10/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              Court Order.pdf                       1007882        5/10/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              Credit Report .pdf                       96252       5/10/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              Disclosure - NC.pdf                     154903       5/10/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              DocuSign .pdf                           134799       5/10/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              Drivers License.pdf                     745339       5/10/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              HIPAA.pdf                               226538       5/10/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              Insurance Policy .pdf                21796224        5/10/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              image002.png                               1509
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              image003.png                               1406
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              image004.png                               1490
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              LC Medical Addendum .pdf                216522       5/10/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              Minor Settlement .pdf                 1002409        5/10/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              Proof of Service.pdf                    448234       5/10/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              Purchase Agreement.pdf                  721171       5/10/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              Questionnaire.pdf                       385400       5/10/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              Searches.pdf                            605484       5/10/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              Stipulation.pdf                       5769929        5/10/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              Trust Agreement .pdf                  1784840        5/10/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79316              Warranty Deed.pdf                       309928       5/10/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79317              1702735_3_FinalPackage.pdf            7560849        3/11/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79317              79317 Wilson, Kayvon.tv5                   9985      10/9/2024 17:27




                                                                2268
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2270 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79317              Annuity Contract.pdf                       883637       5/10/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79317              Application.pdf                            578577       5/10/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79317              Benefits Letter.pdf                        294542       5/10/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79317              Court Order.pdf                            773747       5/10/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79317              Credit Report.pdf                          261062       5/10/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79317              Disclosure - CT.pdf                        419845       5/10/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79317              Disclosure - TX.pdf                        419646       5/10/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79317              Docusign.pdf                               413326       5/10/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79317              Minor Claim .pdf                         1287152        5/10/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79317              New - Wilson, Kayvon (ack letter).pdf       50753        2/9/2024 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79317              Proof of Service.pdf                       302338       5/10/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79317              Purchase Agreement.pdf                     747591       5/10/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79317              Request For Acknowledgement.pdf            305607       5/10/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79317              Searches.pdf                             1468950        5/10/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79317              Seller Identification.pdf                  788150       5/10/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79322              773654_7_FinalPackage.pdf                7629471         3/9/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79322              79322 Hulsey, Nicole.tv5                      9985      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79322              Annuity Contract.pdf                       340121       5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79322              Application.pdf                            337392       5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79322              Benefits Letter.pdf                        107696       5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79322              Change of Beneficiary.pdf                   73571       5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79322              Court Order.pdf                          2344204        5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79322              Credit Report.pdf                          110539       5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79322              Disclosure - GA.pdf                        181860       5/13/2022 11:25




                                                              2269
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2271 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79322              Drivers License.pdf                        289828       5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79322              Marriage Certificate .pdf                  559451       5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79322              New - Hulsey, Nicole (ack letter).pdf      191289        2/9/2024 16:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79322              Purchase Agreement.pdf                     485809       5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79322              Request For Acknowledgement.pdf            176483       5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79322              Searches.pdf                             1337764        5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79322              Settlement Agreement.pdf                   454224       5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79322              SSN.pdf                                  1016017        5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79323              1509061_2_FinalPackage.pdf               4782667         3/9/2022 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79323              79323 Snell, Jarrod.tv5                       9984      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79323              Annuity Contract.pdf                       238203       5/13/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79323              Application.pdf                            638848       5/13/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79323              Court Order.pdf                            215118       5/13/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79323              Credit Report.pdf                          110584       5/13/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79323              Disclosure - TX.pdf                        199223       5/13/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79323              DocuSign .pdf                              139044       5/13/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79323              New - Snell, Jarrod (ID).pdf               378219        2/9/2024 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79323              Purchase Agreement.pdf                     540506       5/13/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79323              Request For Acknowledgement.pdf             94856       5/13/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79323              Request for Change of Beneficiary.pdf      193778       5/13/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79323              Settlement Documents .pdf                   89852       5/13/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79323              Signature Page .pdf                        256784       5/13/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79323              Stipulation.pdf                          1934263        5/13/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79330              1744579_2_FinalPackage.pdf               6038689        3/10/2022 17:44




                                                                2270
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2272 of
                                       3467



               All Paths/Locations                                Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79330              79330 Cowart, Trace.tv5                     10016       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79330              Agreed Final Judgment.pdf                  199145        5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79330              Application.pdf                            293479        5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79330              Bankruptcy Search.pdf                      424850        5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79330              Benefits Letter.pdf                        128507        5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79330              Court Order.pdf                            773977        5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79330              Credit Report.pdf                          106109        5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79330              Disclosure - OK.pdf                        262092        5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79330              DocuSign Cert 7ABA.pdf                     159444        5/5/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79330              DocuSign Cert 85F3.pdf                     159393        5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79330              Drivers License.pdf                        267730        5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79330              New - Cowart, Trace (ack letter).pdf       199841        2/9/2024 16:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79330              PI Docket.pdf                              312299        5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79330              Purchase Agreement.pdf                     631296        5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79330              Request For Acknowledgement.pdf            248991        5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79330              Request for Change of Beneficiary.pdf      157228        5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79330              Searches.pdf                               623711        5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79330              Settlement Agreement.pdf                   405490        5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79330              UCC.pdf                                    134330        5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79335              1728091_2_FinalPackage.pdf              18022803        3/11/2022 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79335              79335 Moreno, Luis.tv5                        9985      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79335              Annuity Contract.pdf                       401574        5/9/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79335              Application.pdf                            320141        5/9/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79335              Change of Beneficiary.pdf                  139379        5/9/2022 17:02




                                                              2271
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2273 of
                                       3467



               All Paths/Locations                                   Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79335              Court Order.pdf                          2061418        5/9/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79335              Disclosure - CA.pdf                        280728       5/9/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79335              Drivers License.pdf                        752183       5/9/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79335              Purchase Agreement.pdf                     422586       5/9/2022 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79335              Qualified Assignement.pdf                  488259       5/9/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79335              Request For Acknowledgement.pdf            160709       5/9/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79335              Request for Change of Beneficiary.pdf      167441       5/9/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79335              Searches.pdf                             1203293        5/9/2022 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79335              Seller Affidavit.pdf                       181140       5/9/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79335              Settlement Agreement.pdf                 1521937        5/9/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79335              Stipulation.pdf                         10158501        5/9/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              3D77.pdf                                    87662      3/24/2022 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              79344 Ross, Jeffrey.tv5                     10175      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              Acknowledgment.pdf                          30753      6/17/2022 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              Affidavit in Lieu of SA.pdf                476274      3/24/2022 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              Annuity Payment.pdf                        480684      3/24/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              Application.pdf                          2437107       3/24/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              Assignment BTG to STJ.pdf                  114758      3/24/2022 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              Assignment Sempra to BTG.pdf                95532      3/24/2022 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              Authorization.pdf                          468406      3/24/2022 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              BK Search.pdf                               65532      3/24/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              Closing Book - Jeffery Ross.pdf          5448112        3/23/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              COB Request.pdf                            589449      3/24/2022 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              Court Order.pdf                            213397      3/25/2022 13:16




                                                                2272
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2274 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              Credit Report.pdf                      185166      3/24/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              Declaration.pdf                        664354      3/24/2022 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              Disclosure Affidavit.pdf               231922      3/24/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              Disclosure DE.pdf                    1174473       3/24/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              Disclosure OH.pdf                    1284819       3/24/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              DL and SSC.pdf                       1270917       3/24/2022 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              Lien and Judgment.pdf                   77017      3/24/2022 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              PI Docket.pdf                          111180      3/24/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              Pleadings.pdf                        4427585       3/24/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              Purchase Agreement.pdf               5029275       3/24/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              Settlement Docs.pdf                  3742054       3/24/2022 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79344              UCC Search.pdf                         299541      3/24/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79346              79346 Lundy, Jacqueline.tv5             10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79346              Application.pdf                         43552       3/25/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79346              Backup for Searches.pdf                 63469      3/25/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79346              Benefits Letter.pdf                    540073      5/10/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79346              Court Order.pdf                        447673      3/31/2022 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79346              Credit Report.pdf                       52295      3/21/2022 18:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79346              Disclosure - GA.pdf                     69772       3/25/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79346              Divorce Decree.pdf                   1230167       3/31/2022 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79346              Docusign Certificate 348.pdf           192516      10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79346              Docusign Certificate 796.pdf           205487      10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79346              Drivers License.pdf                    553604       3/25/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79346              Lundy Assignment.docx                   26076      3/31/2022 14:45




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                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79346              Lundy Closing Binder.pdf              2447771         3/25/2022 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79346              Obtiruary of Mom.pdf                    416699       3/31/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79346              Pleadings.pdf                         1724317         3/25/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79346              Purchase Agreement Hold Time.pdf        404364       3/31/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79346              Purchase Agreement.pdf                  360279        3/25/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79346              Searches.pdf                             84536        3/25/2022 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79346              Social Security Card.pdf                880936       3/31/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79346              UCC Search.pdf                          517854       3/31/2022 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79348              79348 Scarlett, Autumn.tv5                 9987      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79348              Acknowledgment 79348.pdf                 90601        4/29/2022 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79348              Acknowledgment.pdf                       39502       4/19/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79348              Affidavit.pdf                           691882       3/25/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79348              Application.pdf                         149518       3/25/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79348              Authorization.pdf                        74615       3/25/2022 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79348              Bankruptcy Search.pdf                   347455       3/25/2022 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79348              Benefit Letter.pdf                      898637       3/25/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79348              Closing Binder.pdf                   10745884        3/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79348              Court Order.pdf                         235253        3/24/2022 7:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79348              Credit Report.pdf                       694459       3/28/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79348              Disclosure ID.pdf                        96395       3/25/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79348              DocuSign Cert 4E49.pdf                   95616       3/25/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79348              DocusSign Cert EE9A.pdf                  95645       3/25/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79348              Driver License updated.pdf            3965182        5/25/2022 12:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79348              Executed Assignment.pdf                 221973       3/25/2022 16:48




                                                              2274
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                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79348              IPA.pdf                                   58338      3/25/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79348              Name Addendum.pdf                        480872      3/25/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79348              Pleadings.pdf                          4841186       3/25/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79348              Purchase Agreement.pdf                   386475      3/25/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79348              Search Results.pdf                       486013      3/25/2022 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79348              Settlement Agreement.pdf                 100179      3/25/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79348              SSC.pdf                                  531177      3/25/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79348              ZIP Code USPS.pdf                         64874      3/25/2022 16:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              79350 Clark, Denise.tv5                   10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              Acknowledgment.pdf                        38789      4/22/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              Annuity Contract.pdf                     477576      3/24/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              Application.pdf                        1246469       3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              Assignment BTG to St James.pdf           128583      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              Assignment Rightway to BTG.pdf           128773      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\79350              Information.pdf                          326097      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              Authorization to Release.pdf              94015      3/24/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              Benefits Letter.pdf                       56604      4/27/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              Closing Binder.pdf                    12416531       3/24/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              Court Order.pdf                          206176      3/28/2022 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              Credit Report.pdf                      1995959       3/24/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              Disclosure - DE.pdf                      146788      3/24/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              Disclosure - NY.pdf                      179366      3/24/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              Disclosure - SC.pdf                      139006      3/24/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              Disclosure Affidavit.pdf                  42760      3/24/2022 16:11




                                                              2275
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2277 of
                                       3467



               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              DocuSign Certificate.pdf                    15002      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              Fasano.pdf                                  74822      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              Lien Search.pdf                            403130      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              Life Affidavit.pdf                         109772      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              Medical Questionnaire.pdf                  640038      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              Pleadings.pdf                            2903209       3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              Purchase Agreement.pdf                     610653      3/24/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              Request for Change of Beneficiary.pdf       55597      3/24/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              Seller Identification.pdf                  203342      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              Settlement Agreement.pdf                 1083866       3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              Social Security Card.pdf                   187025      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79350              UCC Search.pdf                             379652      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              79351 Clark, Denise.tv5                     10000      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              Acknowledgment.pdf                         100471      4/12/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              Application.pdf                          1246469       3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              Assignment BTG to St James.pdf             128583      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              Assignment Rightway to BTG.pdf             128773      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\79351              Information.pdf                            326097      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              Authorization to Release.pdf                94104      3/24/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              Benefits Letter.pdf                         22137      3/24/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              Closing Binder.pdf                      12416531       3/24/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              Court Order.pdf                            233881      3/28/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              Credit Report.pdf                        1995959       3/24/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              Disclosure - SC.pdf                        139311      3/24/2022 16:16




                                                              2276
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2278 of
                                       3467



               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              Disclosure Affidavit.pdf                    42339      3/24/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              DocuSign Certificate.pdf                    15002      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              Fasano.pdf                                  74822      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              Lien Search.pdf                            403130      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              Life Affidavit.pdf                         109772      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              Medical Questionnaire.pdf                  640038      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              Pleadings.pdf                            2903209       3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              Purchase Agreement.pdf                     609395      3/24/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              Qualified Assignment.pdf                   310473      3/24/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              Request for Change of Beneficiary.pdf       54474      3/24/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              Seller Identification.pdf                  203342      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              Settlement Agreement.pdf                 1083866       3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              Social Security Card.pdf                   187025      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79351              UCC Search.pdf                             379652      3/24/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              79353 Edwards, Austin.tv5                   10175      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              Annuity Contract.pdf                     2048175       7/19/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              Application.pdf                          2253943       3/28/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              Assignment Agreement Executed.pdf           24904       3/30/2022 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              Authorizations.pdf                       2059207       3/28/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              Certification of .pdf                    2079121       3/28/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              Closing Book Austin Edwards.pdf         10329298        3/24/2022 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              Court Order.pdf                            274984       3/29/2022 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              Credit Report.pdf                        2076417       3/28/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              Disclosure - CO.pdf                      2002221       3/28/2022 11:44




                                                              2277
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2279 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              Disclosure - GA.pdf                   2003795        3/28/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              Disclosure - NE.pdf                   2004212        3/28/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              Disclosure - WA.pdf                   2002622        3/28/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              Docusign Certificate 85F.pdf          2034507        3/28/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              Docusign Certificate 88B.pdf            208239       10/9/2024 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              Drivers License.pdf                   5453644        3/28/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              Edwards Assignment.docx                  26259       3/29/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              Nasp Search.pdf                       2051816        3/28/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              PI Case Docket .pdf                   2098980        3/28/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              Pleadings redacted .pdf               4635570        3/28/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              Purchase Agreement.pdf                  323882        3/29/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              Searches.pdf                          2057327        3/28/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              Social Security Card.pdf              1212311        3/29/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              Stipulation.pdf                       2425360        3/29/2022 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79353              UCC Search.pdf                        2056892        3/28/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79354              79354 Haliburton, Donta.tv5              10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79354              Acknowledgment.pdf                      268761       11/2/2023 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79354              image002.png                             48442
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79354              image001.png                                172
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79354              Application.pdf                         266998       2/21/2022 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79354              Assignment.pdf                          193396       3/30/2022 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79354              Benefit Letter.pdf                    1691248        3/28/2022 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79354              Closing Binder.pdf                   16136458        3/28/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79354              Court Order.pdf                         336931       3/25/2022 12:42




                                                                2278
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2280 of
                                       3467



               All Paths/Locations                                  Unified Title        File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79354              Credit Report.pdf                              40434       2/21/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79354              Disclosure GA.pdf                              74311       2/21/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79354              DocuSign Cert ACFF.pdf                        216304       10/9/2024 19:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79354              Docusign Cert BF16.pdf                        201085       10/9/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79354              Driver License.pdf                          2523997        3/28/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79354              Janie Mae Hudson Haliburton Obituary.pdf      539391       3/29/2022 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79354              Notarized closing statement.pdf             1118386        3/30/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79354              Pleadings.pdf                               3313982        3/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79354              Purchase agreement.pdf                        422137       3/28/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79354              Revised Closing Statement Haliburton.pdf      430201       10/9/2024 20:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79354              Searches.pdf                                     5956      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79354              Social Security Card.pdf                    1115903        3/30/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79354              UCC Search.pdf                                 50334       10/9/2024 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79354              ZIP Code USPS.pdf                              65060       3/28/2022 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79355              79355 Fierro, Raquel.tv5                       10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79355              Annuity Contract.pdf                        3189445        10/9/2024 22:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79355              Application.pdf                               505133       3/31/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79355              Assignment.pdf                                359388        4/1/2022 12:41
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\79355              Information.pdf                               531068       3/28/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79355              Court Order.pdf                               262990       3/31/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79355              Credit Report.pdf                             514081       3/31/2022 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79355              Disclosure - TX.pdf                           112028       3/28/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79355              Disclosure Acknowledgement.pdf                 60164       3/28/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79355              Docusign Certificate 22D.pdf                   49327       3/28/2022 15:29




                                                              2279
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2281 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79355              Drivers License.pdf                     4189114        3/28/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79355              Fasano Report.pdf                         120235       3/28/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79355              Finch Assignment.docx                      25521        4/1/2022 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79355              Funding File Raquel Finch.pdf           7884295        3/24/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79355              Medical Questionnaire.pdf               1028258        3/28/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79355              PI Docket.pdf                              99206         8/3/2017 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79355              Pleadings.pdf                           2526043        3/28/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79355              Purchase Agreement.pdf                    193455       3/28/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79355              Searches.pdf                               94360       3/28/2022 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79355              Seller Affidavit.pdf                       69820       3/28/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79355              Settlement Agreement Affidavit.pdf         60606       3/28/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79355              Social Security Card.pdf                  840011       3/31/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79355              Stipulation.pdf                         2419319         4/1/2022 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              79356 Willis, Linda.tv5                    10015       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              Acknowledgment.pdf                         93419        8/5/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              Application.pdf                            49461       2/21/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              Assignment Executed.pdf                   192663       3/30/2022 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              Benefit Letter.pdf                      1570710        3/25/2022 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              Closing Binder.pdf                      7196601        3/25/2022 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              Contract Request - Linda Willis.pdf       264096       6/29/2023 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              image001.png                                  315
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              image003.png                                  153
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              image004.png                                  175
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              image005.png                                  271




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                                       3467



               All Paths/Locations                                 Unified Title         File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              image006.png                                      213
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              image007.png                                      171
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              image008.png                                      163
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              image010.png                                      178
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              image002.png                                   48442
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              Court Order.pdf                               342288       3/25/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              Credit Report.pdf                              28428       2/21/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              DocuSign Cert 9A55.pdf                        194226       10/9/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              Driver License.pdf                          2226293        3/25/2022 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              GA Disclosure.pdf                              74003       2/21/2022 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              Janie Mae Hudson Haliburton Obituary.pdf      539391       3/29/2022 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              Notarized closing statement.pdf             1280577        3/30/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              Pleadings.pdf                               2868190        3/25/2022 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              Purchase Agreement.pdf                        346634       3/25/2022 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              Revised Closing Statement Willis.pdf          425930       10/9/2024 20:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              Searches.pdf                                   50544       3/25/2022 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              SSC.pdf                                     2774306        3/25/2022 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              UCC Search.pdf                                571550       10/9/2024 21:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79356              USPS Zip code.pdf                              65538       3/28/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79358              79358 Woods, Lori.tv5                          10393       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79358              AC.pdf                                        214104       3/24/2022 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79358              Acknowledgment.pdf                             58803       3/24/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79358              Application.pdf                               306403       3/24/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79358              Assignment.pdf                                 74613       3/24/2022 15:09




                                                              2281
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                                       3467



               All Paths/Locations                                 Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79358              BRNB42200160C4C_015868.pdf                     3650479       3/24/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79358              COB Request.pdf                                   69015      3/24/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79358              Court Order.pdf                                  714989      3/24/2022 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79358              Disclosure DE.pdf                                134399      3/24/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79358              Disclosure MA.pdf                                152110      3/24/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79358              Disclosure MI.pdf                                128475      3/24/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79358              Divorce.pdf                                      399450      3/24/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79358              DL and SSC.pdf                                    68881      3/24/2022 15:19
Saiph consulting|\Audit Materials Received-   Lori Woods - Policy 18003 50002 201011241 -
SuttonPark\Closing Binders\79358              Change of Address request.pdf                    870523       9/28/2022 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79358              Purchase Agreement.pdf                           939728      3/24/2022 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79358              Redirection Confirmation New 79358.pdf           352957     11/15/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79358              Searches.pdf                                     644651      3/24/2022 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79358              Settlement Agreement.pdf                         356053      3/24/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79359              79359 Santiago, Ramon.tv5                         10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79359              Affidavit in Lieu of SA.pdf                      105016      3/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79359              Annuity Contract.pdf                             402822      3/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79359              Application.pdf                                  172692      3/25/2022 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79359              Assignment Aikman to TKR Investments.pdf          52995      3/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79359              Authorization to Release.pdf                      47407      3/25/2022 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79359              Closing Binder.pdf                             5576165       3/25/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79359              COB Request.pdf                                   48950      3/25/2022 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79359              Court Order.pdf                                  194478      3/25/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79359              Death Cert - Yvette Wilda.pdf                    131371      3/25/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79359              Disclosure IL - Amended.pdf                      107449      3/25/2022 13:00




                                                              2282
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                                       3467



               All Paths/Locations                                   Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79359              Disclosure NE- Amended.pdf                        111061      3/25/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79359              Purchase Agreement.pdf                            855144      3/25/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79359              Qualified Assignment.pdf                          251833      3/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79359              Redirection Confirmation New 79359.pdf            529834     10/13/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79359              Request for Acknowledgment.pdf                    105259      3/25/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79359              Searches.pdf                                    2708265       3/25/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79359              Seller Identification.pdf                          54230      3/25/2022 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79360              79360 Taberner, Joseph.tv5                         10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79360              Assignment Aikman to TKR.pdf                       48603       4/1/2022 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79360              Benefits Letter.pdf                                37169       4/1/2022 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79360              Closing Binder.pdf                              9007811       3/25/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79360              Court Order.pdf                                   366831       4/1/2022 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79360              Drivers License.pdf                               346028       4/1/2022 17:48
Saiph consulting|\Audit Materials Received-   Joseph Taberner - Policy SS802497 09SS802497
SuttonPark\Closing Binders\79360              Change of Address Request.pdf                     938215      9/29/2022 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79360              Searches.pdf                                       89813       4/1/2022 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79360              Seller Affidavit.pdf                              837645       4/1/2022 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79360              Social Security Card.pdf                          346028       4/1/2022 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79360              Stipulation.pdf                                   653280       4/1/2022 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79360              Transfer Agreement.pdf                          1506135        4/1/2022 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79361              79361 Rios Calderon, Shalianna.tv5                 10468      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79361              Allied Servicing Agreement.pdf                    148013       3/25/2022 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79361              Annuity Contract.pdf                              832029       3/25/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79361              Application.pdf                                   295480       3/25/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79361              Assignment Aikman to TKR.pdf                       83268       3/25/2022 9:34




                                                                2283
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                                       3467



               All Paths/Locations                                 Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79361              BRNB42200160C4C_016184.pdf                     3358770       3/24/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79361              BRNB42200160C4C_016237.pdf                     2254447       3/24/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79361              Court Order.pdf                                  486506       3/25/2022 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79361              Disclosure GA.pdf                                125793       3/25/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79361              Disclosure PA.pdf                                134241       3/25/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79361              Driver License.pdf                               962743       3/25/2022 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79361              Important Notice - PA.pdf                         34932       3/25/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79361              IPA Ack - PA.pdf                                  32147       3/25/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79361              Payees Declaration and Affidavit.pdf             385210       3/25/2022 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79361              Purchase Agreement.pdf                           832059       3/25/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79361              QA.pdf                                           473671       3/25/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79361              Searches.pdf                                     373750       3/25/2022 9:37
Saiph consulting|\Audit Materials Received-   Shaliann Rios - Change of Address
SuttonPark\Closing Binders\79361              Confirmation.pdf                                 184373      9/29/2022 16:06
Saiph consulting|\Audit Materials Received-   Shaliann Rios - Policy 20029212 - Change of
SuttonPark\Closing Binders\79361              Address Request.pdf                              787849      9/29/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79361              SSC.pdf                                          396791       3/25/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79361              Stipulation.pdf                                  820285       3/25/2022 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79362              79362 Williams, Larry.tv5                         10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79362              Acknowledgment.pdf                                63549      3/25/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79362              Affidavit.pdf                                    119494      3/25/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79362              Annuity Contract - partial.pdf                   131735      3/25/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79362              Application.pdf                                  393422      3/25/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79362              Assignment Aikman to TKR Investments.pdf          53553      3/25/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79362              Authorization to Release.pdf                      48936      3/25/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79362              Closing Binder.pdf                             6910787       3/25/2022 15:12




                                                                2284
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                                       3467



               All Paths/Locations                                  Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79362              COB Request.pdf                                         50906      3/25/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79362              Court Order.pdf                                        298413      3/25/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79362              Disclosure NC.pdf                                       94858      3/25/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79362              Disclosure NE.pdf                                       96079      3/25/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79362              Purchase Agreement.pdf                                 836736      3/25/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79362              Qualified Assignment.pdf                               414998      3/25/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79362              Redirection Confirmation New 79362.pdf                 513514      10/4/2022 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79362              searches.pdf                                         2664453       3/25/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79362              Settlement Agreement.pdf                               416239      3/25/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79362              Social Security Card.pdf                               118220      3/25/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79363              79363 Goddard, Julie.tv5                                10365      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79363              Annuity Contract.pdf                                   352853      3/28/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79363              Application.pdf                                        196565      3/28/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79363              Assignment Aikman to TKR.pdf                            51515      3/28/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79363              Authorization to Release Annuity Documents.pdf          48425      3/28/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79363              Closing Binder.pdf                                   6265742       3/28/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79363              Court Order.pdf                                        383127      3/28/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79363              Disclosure - FL.pdf                                    109200      3/28/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79363              Disclosure - MA.pdf                                    109641      3/28/2022 11:19
Saiph consulting|\Audit Materials Received-   Petros Skourellos - Policy NP3 047741 - Change of
SuttonPark\Closing Binders\79363              Address request.pdf                                    761046       9/28/2022 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79363              Purchase Agreement.pdf                                 758375      3/28/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79363              Qualified Assignment.pdf                               622953      3/28/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79363              Request for Change of Beneficiary.pdf                   48654      3/28/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79363              Searches.pdf                                           673399      3/28/2022 11:19




                                                             2285
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2287 of
                                       3467



               All Paths/Locations                                   Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79363              Seller Affidavit.pdf                        216323      3/28/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79363              Settlement Agreement Affidavit.pdf          114972      3/28/2022 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79363              Special Needs Trust.pdf                   1860281       3/28/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79363              Stipulation.pdf                             403911      3/28/2022 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79364              79364 Mitchell, John.tv5                     10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79364              AC.pdf                                      350256      3/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79364              Acknowledgment.pdf                           75682      3/25/2022 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79364              Affidavit.pdf                               232842      3/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79364              Application.pdf                             272588      3/25/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79364              Assignment Aikman to Trust.pdf               81946      3/25/2022 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79364              BRNB42200160C4C_016542.pdf                3818851       3/24/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79364              BRNB42200160C4C_016615.pdf                  963101      3/24/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79364              Court Order - Amended.pdf                   302950      3/25/2022 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79364              Court order.pdf                             267925      3/25/2022 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79364              Disclosure FL.pdf                           146244      3/25/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79364              DL and SSC.pdf                              399388      3/25/2022 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79364              POA.pdf                                     189988      3/25/2022 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79364              Puchase Agreement.pdf                       825280      3/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79364              QA.pdf                                      681180      3/25/2022 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79364              Redirection Confirmation New 79364.pdf      501402      10/4/2022 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79364              Searches.pdf                              1725541       3/25/2022 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79365              79365 Lyons, Walter.tv5                      10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79365              Acknowledgment.pdf                           33298      3/25/2022 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79365              Affidavit.pdf                               141946      3/25/2022 18:16




                                                                2286
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2288 of
                                       3467



               All Paths/Locations                                 Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79365              Amended Court Order.pdf                         292236      3/25/2022 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79365              Annuity Contract.pdf                            193157      3/25/2022 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79365              Application.pdf                                 180589      3/25/2022 18:13
Saiph consulting|\Audit Materials Received-   Assignment International Diversifed to TKR
SuttonPark\Closing Binders\79365              Investments.pdf                                  51232      3/25/2022 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79365              Authorization to Release.pdf                     45325      3/25/2022 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79365              Benefits Letter.pdf                              42188      3/25/2022 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79365              Closing Binder.pdf                            3422644       3/24/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79365              COB Request.pdf                                  45302      3/25/2022 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79365              Disclosure CT.pdf                                91177      3/25/2022 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79365              Disclosure VA.pdf                                95324      3/25/2022 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79365              Purchase Agreement.pdf                          737297      3/25/2022 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79365              Redirection Confirmation New 79365.pdf          480320     10/18/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79365              Request for Acknowledgment.pdf                   98774      3/25/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79365              Searches.pdf                                    379870      3/25/2022 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79365              Second Amended Court Order.pdf                  287686      3/25/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79365              Settlement Agreement.pdf                        404298      3/25/2022 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79365              Social Security Card.pdf                         38726      3/25/2022 18:41
Saiph consulting|\Audit Materials Received-   Walter Lyons - Policy 3876287 - Change of
SuttonPark\Closing Binders\79365              Address request.pdf                             831705       9/28/2022 9:30
Saiph consulting|\Audit Materials Received-   Walter Lyons - Policy 3876287 - revised
SuttonPark\Closing Binders\79365              submission.pdf                                  283250     11/16/2022 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79366              79366 Blumenthal, Phelep.tv5                     10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79366              Acknowledgement.pdf                              37104      3/28/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79366              Annuity Contract.pdf                            208563      3/28/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79366              Assignment Pinnacle to TKR.pdf                   43173      3/28/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79366              Closing Binder.pdf                            3773424       3/24/2022 15:32




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                                       3467



               All Paths/Locations                                   Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79366              Court Order.pdf                            273250      3/28/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79366              Disclosure - FL.pdf                        105904      3/28/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79366              Disclosure - NY.pdf                        117446      3/28/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79366              Purchase Agreement.pdf                     753955      3/28/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79366              Qualified Assignment.pdf                   375384      3/28/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79366              Request For Acknowledgement.pdf             78281      3/28/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79366              Request for Annuity Documents.pdf           45990      3/28/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79366              Request for Change of Beneficiary.pdf       48556      3/28/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79366              Searches.pdf                               465887      3/28/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79366              Seller Affidavit.pdf                       136150      3/28/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79366              Settlement Agreement.pdf                   710884      3/28/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79367              79367 Sapienza, Christopher.tv5             10026      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79367              Acknowledgment.pdf                          53025      4/26/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79367              Affidavit in Support.pdf                   903441      3/28/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79367              Application.pdf                            126867      3/27/2022 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79367              Assignment - MetLife.pdf                   875014       4/5/2022 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79367              Benefits Letter.pdf                         74139      3/27/2022 18:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79367              Credit Report.pdf                          189131      3/27/2022 18:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79367              Disclosure DE.pdf                           62744      3/27/2022 18:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79367              Disclosure NY.pdf                           63194      3/27/2022 18:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79367              DocuSign Cert - 3119.pdf                    24674      3/27/2022 19:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79367              DocuSign Cert - D5C5.pdf                    84630      3/27/2022 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79367              Driver License.pdf                          71960      3/27/2022 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79367              PI Docket.pdf                               53487      3/27/2022 18:46




                                                              2288
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                                       3467



               All Paths/Locations                                 Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79367              Pleadings.pdf                            21507637       3/27/2022 18:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79367              Pre-Closing Book - Rev. 03.24.22.pdf     25435721       3/24/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79367              Proof of Disc Delivery.pdf                   61085      3/27/2022 18:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79367              Purchase Agreement.pdf                      347584      3/27/2022 18:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79367              Searches.pdf                                 74358      3/27/2022 18:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79367              Settlement Agreement Statement.pdf           81788      3/27/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79367              Social Security Card.pdf                     85773      3/27/2022 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79367              Stipulation Discontinuing Action.pdf         58442      3/27/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79367              UCC Search.pdf                              819710      3/28/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79368              79368 Sapienza, Chgristopher.tv5             10027      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79368              Affidavit in Support.pdf                  6081413       3/27/2022 18:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79368              Application.pdf                             126867      3/27/2022 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79368              Assignment - NYLIC.pdf                      870840       4/5/2022 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79368              Benefits Letter.pdf                          64219      3/27/2022 18:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79368              Court Order - Clearer copy of pg 7.pdf    2865494       10/9/2024 22:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79368              Court Order.pdf                           5193871       3/29/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79368              Credit Report.pdf                           189131      3/27/2022 18:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79368              Disclosure DE.pdf                            63028      3/27/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79368              Disclosure NY.pdf                            63162      3/27/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79368              DocuSign Cert - 3119.pdf                     24674      3/27/2022 19:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79368              DocuSign Cert - D5C5.pdf                     84630      3/27/2022 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79368              Driver License.pdf                           71960      3/27/2022 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79368              PI Docket.pdf                                53487      3/27/2022 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79368              Pleadings.pdf                            21507637       3/27/2022 18:56




                                                              2289
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                                       3467



               All Paths/Locations                                Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79368              Pre-Closing Book - Rev. 03.24.22.pdf    25435721        3/24/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79368              Proof of Disc Delivery.pdf                  61085       3/27/2022 18:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79368              Purchase Agreement.pdf                     352396       3/27/2022 18:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79368              Searches.pdf                                74358       3/27/2022 18:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79368              Settlement Agreement Statement.pdf          80664       3/27/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79368              Social Security Card.pdf                    85773       3/27/2022 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79368              Stipulation Discontinuing Action.pdf        58442       3/27/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79368              Stipulation.pdf                            181036       3/27/2022 18:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79368              UCC Search.pdf                             819710       3/28/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79369              32AA.pdf                                   320935       10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79369              79369 Soley, Delane.tv5                       9984      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79369              Affidavit.pdf                              735561       3/28/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79369              Annuity Contract.pdf                       222853       3/28/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79369              Bank Statement.pdf                          70807        4/1/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79369              Credit Report.pdf                           32422       3/21/2022 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79369              Disclosure NJ.pdf                          598536       3/28/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79369              Disclosure POD.pdf                         203690       3/28/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79369              image001.png                                12281
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79369              image001.png                                12281
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79369              Disclosure TX.pdf                          598126       3/28/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79369              OAMC.pdf                                   145100       10/27/2021 3:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79369              Pleadings.pdf                            8353233        3/28/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79369              PPA Ltr Filing Notice of Transfer.pdf       43624       2/15/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79369              PPA Notice of Transfer (w Exs).pdf       2506101        2/15/2022 17:58




                                                                2290
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2292 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79369              Purchase Agreement.pdf                 5883079       3/28/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79369              Searches.pdf                              16773      3/21/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79369              Settlement Agreement.pdf                 539067      3/28/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79369              SSC.pdf                                1127793       3/28/2022 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79369              Stipulation.pdf                          547976       4/1/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79374              79374 Mischon, Michael.tv5                17240      10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79374              Annuity Contract.pdf                     314235      3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79374              Application.pdf                          208285      3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79374              Closing Binder.pdf                     5823539       3/29/2022 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79374              Court Order.pdf                        1469334       3/29/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79374              Credit Report.pdf                         98365      3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79374              Disclosure - NJ.pdf                      286415      3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79374              Disclosure - TX.pdf                      228548      3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79374              DocuSign Certificates.pdf                 25101      3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79374              Final Judgment.pdf                       311305      3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79374              Pleadings.pdf                          1569482       3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79374              Proof of Disclosure Delivery.pdf         125209      3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79374              Purchase Agreement.pdf                 1426658       3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79374              Qualified Assignment.pdf                 267319      3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79374              Searches.pdf                             109938      3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79374              Seller Identification.pdf                 43312      3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79374              Settlement Agreement.pdf               1070231       3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79374              Social Security Card.pdf                  45933      3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79374              Stipulation.pdf                          496923      3/29/2022 12:49




                                                                2291
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2293 of
                                       3467



               All Paths/Locations                                Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79374              Updated Searches.pdf                         62335      3/29/2022 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79375              79375 Perez, Esteban.tv5                     13951      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79375              Ack Letter - Esteban Perez.pdf               33372      4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79375              Additional DocuSign Certificate.pdf         230034      10/9/2024 20:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79375              Affidavit in Lieu of SA.pdf                 374349      3/29/2022 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79375              Annuity Contract.pdf                      6056743        4/8/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79375              Application.pdf                             305047      3/28/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79375              BC3B.pdf                                    248421      10/9/2024 20:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79375              Benefits Letter.pdf                          48949       3/17/2022 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79375              BK Search.pdf                               858615      3/29/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79375              Court Order.pdf                           1915917        4/8/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79375              Credit Report.pdf                            82050      3/28/2022 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79375              Declaration.pdf                             615800      3/29/2022 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79375              Disclosure FL.pdf                           449087      3/29/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79375              Disclosure NY.pdf                           496649      3/29/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79375              DL.pdf                                    6126805       3/29/2022 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79375              FD19.pdf                                    269459      10/9/2024 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79375              List of Prior order summary.pdf              36312      3/29/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79375              Pleadings.pdf                             5680508       3/29/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79375              Proof of SSN.pdf                          1178507       3/29/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79375              Purchase Agreeemnt.pdf                    6705362       3/29/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79375              Redirection Confirmation New 79375.pdf       97714      5/11/2022 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79375              Same Name Affidavit.pdf                     252222      10/9/2024 20:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79375              Searches.pdf                                256324      3/28/2022 16:26




                                                              2292
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2294 of
                                       3467



               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79377              79377 Eichenlaub, Floyd.tv5             10022       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79377              Affidavit.pdf                        1497891        3/28/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79377              Annuity Contract.pdf                 1445251        3/31/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79377              Application.pdf                      1780559        1/26/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79377              Assignment.pdf                          73942        4/5/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79377              Court Order.pdf                      7383396        3/23/2022 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79377              Credit Report.pdf                       37454       3/31/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79377              Disclosure NY.pdf                    2065057        3/28/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79377              Disclosure PA.pdf                    1635340        3/28/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79377              Divorce Decree.pdf                   3213090         4/4/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79377              Drivers License.pdf                  3649001        3/25/2022 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79377              Important Notice.pdf                   278461       3/28/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79377              IPA Ack PA - corrected.pdf              20990       3/29/2022 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80568              Purchase Agreement Calhoun.pdf         233166       5/26/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80568              Searches.pdf                              2831      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80568              Social Security Card.pdf             2309586        6/14/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80568              Stipulation.pdf                        713889       6/14/2022 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80568              UCC Search.pdf                          48083       10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              80575 Dvorak, Jared.tv5                   9807      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              Acknowledgment.pdf                      89218       10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              Admin Fee Check.pdf                  1208196        7/22/2022 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              Application.pdf                         40864        6/6/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              Assignment.pdf                         147032       7/28/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              Benefits Letter.pdf                    883216       7/22/2022 15:57




                                                                2293
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2295 of
                                       3467



               All Paths/Locations                                  Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              Closing Statement Notarized.pdf                 44290      7/27/2022 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              Court Order.pdf                                 80686       6/6/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              Credit Report.pdf                               33531      4/29/2022 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              Disclosure - IL.pdf                            100874       6/6/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              Docusign Certificate 213.pdf                   194823      10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              Docusign Certificate 2A9.pdf                   214321      10/9/2024 19:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              Dvorak Closing Binder.pdf                   17505627        6/6/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              Funding Instructions.pdf                     1092596       7/28/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              PI Case Article.pdf                          2519247       7/22/2022 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              Pleadings.pdf                               16337419        6/6/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              Prior Court Order.pdf                           92440      7/27/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              Purchase Agreement Hold Time.pdf               577826      7/27/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              Purchase Agreement.pdf                         214883       6/6/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              Searches.pdf                                    21015       6/6/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              Seller Identification.pdf                      725509       6/6/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              Social Security Card.pdf                       205700      7/22/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              Stipulation fully executed.pdf                 955069      10/9/2024 21:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              Stipulation missing Symetra signature.pdf    1454200        7/25/2022 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80575              UCC Search.pdf                                  32518       6/6/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81335              81335 Burnau-Vaughn, Shyerika.tv5               10341      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81335              Annuity Contract.pdf                           543184      7/22/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81335              Application.pdf                                 89976      7/22/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81335              Assignment NOT SIGNED.pdf                       76807      7/28/2022 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81335              Benefits Letter.pdf                             49936      7/22/2022 12:42




                                                              2294
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81335              Closing Statement NOT SIGNED.pdf                 551535      7/28/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81335              Court Order.pdf                                  261403      7/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81335              Credit Report.pdf                              1968060       7/22/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81335              Disclosure.pdf                                   392074      7/22/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81335              Judgment and Order Approving Settlement.pdf      249140      7/22/2022 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81335              Pleadings.pdf                                  5835247       7/22/2022 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81335              Purchase Agreement.pdf                           552611      7/22/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81335              Qualified Assignment.pdf                         264184      7/22/2022 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81335              Searches.pdf                                     306855      7/22/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81335              Settlement Agreement.pdf                         564706      7/22/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81335              SSN Verification.pdf                             369218      7/28/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81335              Statement of Dependents.pdf                       34493      7/22/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81335              UCC Search.pdf                                    68243      7/28/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81335              Waiver of IPA.pdf                                 49959      7/22/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              81374 Wilson, Jacob.tv5                           10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              Acknowledgment.pdf                                53683      10/9/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              Application.pdf                                   82679        8/3/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              Assignment Agreement.pdf                          88480       8/10/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              Benefits Letter.pdf                              206479        8/4/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              Case Docket Search 2 NO RESULTS.pdf              237384        8/4/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              Case Docket Search NO RESULTS.pdf                137493        8/4/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              Cert of Completion 06DA8.pdf                   3630703         8/4/2022 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              Cert of Completion 2285F.pdf                   3641041        8/10/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              Cert of Completion 4293B.pdf                   3532592         8/4/2022 9:01




                                                               2295
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                                       3467



               All Paths/Locations                                 Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              Cert of Completion 91FAD.pdf               3539411         8/4/2022 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              Cert of Completion ECBC7.pdf               3636362         8/4/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              Cert of Completion EDED0.pdf               4256674         8/3/2022 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              Court Order.pdf                              348925        8/4/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              Credit Report.pdf                          2646315         8/3/2022 8:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              Disclosure.pdf                               284793        8/3/2022 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              Pleadings.pdf                              9142192         8/3/2022 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              Proof of Deposit of Annuity Payment.pdf       32979        8/3/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              Purchase Agreement.pdf                       376666        8/3/2022 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              Searches.pdf                                 522122        8/3/2022 8:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              Settlement Agreement Request Form.pdf         64028        8/3/2022 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              Social Security Card.pdf                      62550        8/3/2022 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              SSN Verification.pdf                         243888        8/3/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              Statement of Dependents.pdf                   30619        8/3/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              UCC Search.pdf                             1137714         8/3/2022 8:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81374              Waiver of IPA.pdf                             47834        8/3/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              81394 Frato, Deanna-Lea.tv5                   10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              Annuity Contract.pdf                         504432     11/10/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              Application.pdf                               98536       6/1/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              Closing Binder.pdf                         5225572        8/9/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              Closing Statement - executed.pdf             422375      10/9/2024 20:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              Consent Order.pdf                            562730     11/10/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              Court Order.pdf                              381393      10/9/2024 20:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              Credit Report.pdf                             49983       8/9/2022 14:40




                                                               2296
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                                       3467



               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              Disclosure NJ - Increased PP.pdf           164236      7/29/2022 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              Disclosure NJ.pdf                          114611       6/1/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              DocuSign Cert - 119F.pdf                   189516      10/9/2024 19:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              DocuSign Cert - 47D3.pdf                   190350      10/9/2024 19:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              DocuSign Cert - 5F64.pdf                   150083      10/9/2024 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              DocuSign Cert - 844A.pdf                   189467      10/9/2024 19:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              DocuSign Cert - C92C.pdf                   191404      10/9/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              DocuSign Cert - Closing Statement.pdf      192463      10/9/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              DocuSign Cert - EAD8.pdf                   190342      10/9/2024 19:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              DocuSign Cert - F6E7.pdf                   194646      10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              Pleadings.pdf                            2025834        8/9/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              Purchase Agreement - Increased PP.pdf      398757      7/29/2022 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              Purchase Agreement.pdf                     260291      8/23/2022 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              Searches.pdf                                14888      7/28/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              Seller Identification - passport.pdf        87226     11/10/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              SSN Verification.pdf                       110069     11/17/2021 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              Stip - missing CBC.pdf                   1704879       8/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              Stipulation.pdf                          1327962       8/23/2022 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81394              UCC Search.pdf                              43971       8/9/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81412              81412 Alford, Christian.tv5                 10177      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81412              Alford statement of prior deals.pdf        176148      6/10/2022 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81412              Annuity Contract.pdf                       403705      8/19/2022 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81412              Application.pdf                            626903       6/8/2022 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81412              Assignment Agreement.pdf                    91453      8/29/2022 11:15




                                                                2297
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2299 of
                                       3467



               All Paths/Locations                                 Unified Title         File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81412              Closing Binder.pdf                         15950900        8/19/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81412              Closing Statement C Alford.pdf                 29015        9/6/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81412              Court Order.pdf                               245911        8/25/2022 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81412              Credit Report.pdf                              84421       8/18/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81412              DocSign Cert B95C.pdf                         130476       8/30/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81412              DocuSign Cert F98D.pdf                        130454        8/25/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81412              Driver License.pdf                          1526514        8/19/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81412              LA Disclosure.pdf                             253245        6/8/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81412              Parish Lines Documents.pdf                    583236         8/1/2022 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81412              PI Case Docket Search Attempt.pdf             145213       8/19/2022 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81412              Pleadings.pdf                               5638259        8/19/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81412              Proof Of Social Security.pdf                  326929        8/25/2022 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81412              Proof Schedule Of Payments.pdf              2422328         8/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81412              Purchase agreement.pdf                        514412       8/19/2022 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81412              Searches.pdf                                   72880        8/25/2022 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81412              Stipulation.pdf                               686138       8/30/2022 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81412              UCC Search.pdf                                 50164        8/25/2022 9:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81412              ZIP Code USPS.pdf                              67502       8/19/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81413              81413 Swan, Salima.tv5                           9975      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81413              Affidavit in lieu of SA.pdf                 4663746        8/23/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81413              Affidavit.pdf                               5549342        8/23/2022 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81413              Annuity Contract.pdf                       14585195        8/23/2022 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81413              Application.pdf                             8508744        8/23/2022 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81413              Authorization to release Policy info.pdf    1933074        8/23/2022 11:50




                                                                2298
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2300 of
                                       3467



               All Paths/Locations                                Unified Title                    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81413              COB Request.pdf                                       2085486        8/23/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81413              Court Order.pdf                                       9052640        8/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81413              Divorce Decree.pdf                                   11198387        8/23/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81413              Interim ID Card.pdf                                   1669767        8/23/2022 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81413              microbilt address search.pdf                          1777444        8/23/2022 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81413              NY Disclosure.pdf                                     4312286        8/23/2022 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81413              Purchase Agreement.pdf                               31211552        8/23/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81413              Qualified Assignment.pdf                              6450619        8/23/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81413              Stipulation - FE.pdf                                 23885989        12/6/2022 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81413              Stipulation.pdf                                      25291190        8/23/2022 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81413              Swan - 1 of 3.pdf                                    28508582        10/9/2024 23:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81413              Swan - 2 of 3.pdf                                    25368654        10/9/2024 23:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81413              Swan - 3 of 3.pdf                                    14308593        10/9/2024 23:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81413              TX Disc.pdf                                           3555466        8/23/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              3rd Party Funding - return of funds to DRB.pdf        6351813       12/28/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              image001.png                                               4751
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              image002.png                                               7678
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              image003.png                                               7755
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Outlook-yqvw34kv.png                                       4751
                                              CBC Deals Funding 10.10.22 - Alford, Christian (2)
                                              (#81412), Frato, Deanna (2) (#81394), Hill,
Saiph consulting|\Audit Materials Received-   Michelle (#81415), & Stone, Alexander (3)
SuttonPark\Closing Binders\81415              (#81467)                                              6799360       10/10/2022 17:29
Saiph consulting|\Audit Materials Received-   CBC-All Funding Deal Tickets 10-10-2022SPC
SuttonPark\Closing Binders\81415              .xlsm                                                 1396681       10/10/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Prefunding and MOP Alford Christian 2.pdf               666599        9/9/2022 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Prefunding and MOP Frato Deanna 1.pdf                 2653931        8/25/2022 18:03




                                                                2299
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2301 of
                                       3467



               All Paths/Locations                                 Unified Title                   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              image001.png                                               4751
Saiph consulting|\Audit Materials Received-   Closing Statement 2021 - Deanna Frato -
SuttonPark\Closing Binders\81415              20220.docx                                               30030       8/23/2022 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Stipulation.pdf                                       1153575        8/23/2022 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              certificate - 2022-08-23T152022.913.pdf                 190350
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Prefunding and MOP Hill Michelle.pdf                    433604        9/8/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Prefunding and MOP Stone Alexander 2.pdf              1384610        9/21/2022 18:49
                                              CBC Deals Funding 10.10.22 - Alford, Christian (2)
                                              (#81412), Frato, Deanna (2) (#81394), Hill,
Saiph consulting|\Audit Materials Received-   Michelle (#81415), & Stone, Alexander (3)
SuttonPark\Closing Binders\81415              (#81467)                                              6799360       10/10/2022 17:29
Saiph consulting|\Audit Materials Received-   CBC-All Funding Deal Tickets 10-10-2022SPC
SuttonPark\Closing Binders\81415              .xlsm                                                 1396681       10/10/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Prefunding and MOP Alford Christian 2.pdf               666599        9/9/2022 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Prefunding and MOP Frato Deanna 1.pdf                 2653931        8/25/2022 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              image001.png                                               4751
Saiph consulting|\Audit Materials Received-   Closing Statement 2021 - Deanna Frato -
SuttonPark\Closing Binders\81415              20220.docx                                               30030       8/23/2022 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Stipulation.pdf                                       1153575        8/23/2022 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              certificate - 2022-08-23T152022.913.pdf                 190350
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Prefunding and MOP Hill Michelle.pdf                    433604        9/8/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Prefunding and MOP Stone Alexander 2.pdf              1384610        9/21/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              81415 Hill, Michelle.tv5                                 10007       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Annuity Lock in Letter.pdf                              104180       3/14/2022 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Application.pdf                                         315269       3/14/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Assignment.pdf                                          146572        9/7/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Benefits Letter.pdf                                      23617        9/7/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Certs of Service.pdf                                    101167        9/7/2022 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Closing Binder.pdf                                    4481188        8/24/2022 10:58




                                                                2300
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2302 of
                                       3467



               All Paths/Locations                                Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Closing Statement - executed.pdf        407556      10/9/2024 20:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Closing Statement - unexecuted.pdf      147325       9/7/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Court Order.pdf                         933297      8/23/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Credit Report - updated.pdf             145216       9/7/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Disclosure MO.pdf                       121829      3/14/2022 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              DocuSign Cert - 59AF.pdf                191624      10/9/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              DocuSign Cert - 6B7D.pdf                192209      10/9/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              DocuSign Cert - 8A24.pdf                202796      10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              OFAC - Search.pdf                       128050       9/7/2022 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Pleadings - Amended.pdf               1410591       8/24/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Pleadings.pdf                         1412104       8/24/2022 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Purchase Agreement.pdf                  537583      8/24/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Searches - updated.pdf                   22082       9/7/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              Settlement Agreement Request.pdf         25802      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              SSC.pdf                                 155885       9/7/2022 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81415              UCC Search - updated.pdf                 48495      10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81443              81443 Gonzalez, Kristen.tv5              10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81443              Affidavit.pdf                           840249       9/6/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81443              Annuity Contract.pdf                    862153       9/6/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81443              Application.pdf                         141793       9/6/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81443              Closing Statement.pdf                   136460       9/8/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81443              Credit Report.pdf                       131904       9/6/2022 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81443              Disclosure.pdf                           85368       9/6/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81443              DocuSign Cert 6763.pdf                  158165       9/6/2022 16:55




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                                       3467



               All Paths/Locations                                 Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81443              DocuSign Cert C275.pdf                        158030       9/6/2022 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81443              DocuSign Cert E8F8.pdf                        204635      10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81443              Driver License.pdf                            989633       9/6/2022 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81443              Gonzalez Post-Order Stip - Executed.pdf     4689312      12/12/2022 17:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81443              Kristen Gonzalez Closing Binder.pdf         5758009        9/6/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81443              Notice of Hearing.pdf                          66403       9/9/2022 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81443              Pleadings KG.pdf                           11526785       10/9/2024 23:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81443              Proof of Service.pdf                          442520       9/9/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81443              Purchase Agreement.pdf                        291197       9/6/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81443              Qualified Assignment.pdf                      565582       9/6/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81443              Searches.pdf                                   89339       9/6/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81443              Settlement Agreement.pdf                    1053006        9/6/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81443              Social Security Card.pdf                      193865       9/6/2022 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81443              Stipulation.pdf                               383472       9/8/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81443              UCC Search.pdf                              1298587        9/6/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81443              ZIP Code USPS.pdf                              62709       9/7/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81468              81468 Marshall, Sandra.tv5                     10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81468              Affidavit in lieu of SA.pdf                 1678798       9/19/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81468              Affidavit.pdf                               2181342       9/19/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81468              Annuity Contract.pdf                       10132819       9/19/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81468              Application.pdf                             3264230       9/19/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81468              Authorization to release Policy info.pdf      688706      9/19/2022 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81468              BRNB42200160C4C_026271.pdf                 11009175       9/19/2022 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81468              Cert of Title.pdf                           1403186       9/19/2022 12:27




                                                                2302
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2304 of
                                       3467



               All Paths/Locations                                 Unified Title             File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81468              COB Request.pdf                                   713809       9/19/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81468              Credit Report.pdf                                 176183       9/19/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81468              Disclosure FL.pdf                               1622782        9/19/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81468              Disclosure TX.pdf                               1411897        9/19/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81468              Driver License.pdf                                837808       9/19/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81468              Marriage Certificate.pdf                        1258022        9/19/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81468              Marshall CO.pdf                                   484928       9/19/2022 17:20
Saiph consulting|\Audit Materials Received-   ORDER GRANTING UNOPPOSED MOTION TO
SuttonPark\Closing Binders\81468              DETERMINE CONFIDENTIALITY.pdf                     308595       9/19/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81468              Partial Pleadings.pdf                           1200198         9/20/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81468              Purchase Agreement.pdf                         11968404        9/19/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81468              Qualified Assignment.pdf                        4260958        9/19/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81468              Searches.pdf                                       81418       9/19/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81468              Social Security Card.pdf                          865564       9/19/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81468              Stipulation.pdf                                   453431        9/20/2022 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81468              UCC - Laine.pdf                                    52291       9/19/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81468              UCC - Marshall.pdf                                 53617       9/19/2022 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              558456_3_FinalPackage.pdf                      19311524        9/23/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              image001.png                                         6527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              81550 Hall, Deneen.tv5                             10015       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Annuity Contract.pdf                              351841        12/8/2022 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Application.pdf                                   327155        12/8/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Assignment.pdf                                    213232        12/8/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Attorney Verification.pdf                         188374        12/8/2022 8:29
Saiph consulting|\Audit Materials Received-   Authorization and Direction to Provide Death
SuttonPark\Closing Binders\81550              Certificate.pdf                                   132293        12/8/2022 8:29




                                                                2303
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                                       3467



               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81550              Information.pdf                                  564570       12/8/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Authorization to Release Information.pdf         113284       12/8/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Bankruptcy Search .pdf                           101054       12/8/2022 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Benefits Letter Dated 2013.pdf                    93007       12/8/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Benefits Letter Dated 2022.pdf                    85242       12/8/2022 8:29
Saiph consulting|\Audit Materials Received-   Certificate of Attorney for Transferee (NOT
SuttonPark\Closing Binders\81550              SIGNED).pdf                                      161933       12/8/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Civil Action Complaint.pdf                     2673035        12/8/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Court Order.pdf                                  140995       12/8/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Disclosure - PA.pdf                              228881       12/8/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Drivers License (New Jersey).pdf               3662076        12/8/2022 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Fasano Report.pdf                                160107       12/8/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Life Contingent Medical Addendum.pdf             253938       12/8/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Medical Questionnaire.pdf                        678577       12/8/2022 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Notice of Transfer.pdf                           175559       12/8/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Order Approving Settlement.pdf                 1226912        12/8/2022 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Package Submission Form.pdf                      201072       12/8/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              PI Case Docket.pdf                             4095768        12/8/2022 8:28
Saiph consulting|\Audit Materials Received-   Proof of Public Assistance and Tax
SuttonPark\Closing Binders\81550              Information.pdf                                  230754       12/8/2022 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Purchase Agreement.pdf                         1403319        12/8/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Requests for Acknowledgment.pdf                  320525       12/8/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Searches.pdf                                     616917       12/8/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Seller Affidavit.pdf                           1372883        12/8/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Servicing Agreement.pdf                        1082613        12/8/2022 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Social Security Card Deneen Hall.pdf             208305       12/8/2022 9:26




                                                              2304
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2306 of
                                       3467



               All Paths/Locations                                  Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              SSN Verification.pdf                              138551        12/8/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Statement of Dependents.pdf                       110163        12/8/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              TransUnion Credit Report.pdf                      106144        12/8/2022 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81550              Waiver of IPA.pdf                                 164013        12/8/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              1957204_1_FinalPackage.pdf                     18375937       10/28/2022 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              81551 Hernandez, Tristan.tv5                         9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              Acknowledgment of Assignment.pdf                  487290       12/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              Acknowledgment.pdf                                890084       12/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              Annuity Contract.pdf                              251958       12/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              Application.pdf                                 1313249        12/8/2022 11:39
Saiph consulting|\Audit Materials Received-   Assignment and Assumption Agreement (NOT
SuttonPark\Closing Binders\81551              FULLY EXECUTED).pdf                               288109       12/8/2022 11:39
Saiph consulting|\Audit Materials Received-   Authorization and Direction to Provide Death
SuttonPark\Closing Binders\81551              Certificate.pdf                                   220924       12/8/2022 11:39
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81551              Information.pdf                                   377695       12/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              Authorization to Release Information.pdf          220375       12/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              Bankruptcy Search.pdf                             393248       12/8/2022 11:39
Saiph consulting|\Audit Materials Received-   Correspondence Regarding LC Language and
SuttonPark\Closing Binders\81551              Admin Fee.pdf                                     107194       12/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              Court Order.pdf                                 2688089        12/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              Disclosure - IL.pdf                               748213       12/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              DocuSign Certs of Completion .pdf                 119512       12/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              Drivers License.pdf                               435860       12/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              Fasano Report.pdf                                 159398       12/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              Marital Status.pdf                                215553       12/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              Medical Questionnaire.pdf                         504151       12/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              Order.pdf                                         184431       12/8/2022 11:39




                                                              2305
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2307 of
                                       3467



               All Paths/Locations                                  Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              Pleadings.pdf                                   6559572       12/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              Purchase Agreement.pdf                            339570      12/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              Requests for Acknowledgment.pdf                   245332      12/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              Searches.pdf                                      583187      12/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              Settlement Agreement Request.pdf                  104909      12/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              Settlement Agreement.pdf                          276618      12/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              SSN Verification Tristan Hernandez.pdf          1069169       12/12/2022 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              Statement of Dependents.pdf                       294939      12/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              TransUnion Credit Report.pdf                      106610      12/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81551              Waiver of IPA.pdf                                 318936      12/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              663423_4_FinalPackage.pdf                      26297019      10/26/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              81552 James, Wayne.tv5                             47350      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              Annuity Contract PARTIAL.pdf                      190496      12/8/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              Application.pdf                                 1680000       12/8/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              Attorneys Fee.pdf                                  70282      12/8/2022 13:07
Saiph consulting|\Audit Materials Received-   Authorization and Direction to Provide Death
SuttonPark\Closing Binders\81552              Certificate.pdf                                   546517      12/8/2022 13:07
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81552              Information.pdf                                 1205591       12/8/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              Authorization to Release Information.pdf          412152      12/8/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              Bankruptcy Search.pdf                             425030      12/8/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              Court Order.pdf                                   264492      12/8/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              Disclosure - IL.pdf                             1068281       12/8/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              Disclosure - SC.pdf                             1077106       12/8/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              Divorce Decree.pdf                                754093      12/8/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              Fasano Report.pdf                                 158915      12/8/2022 13:07




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2308 of
                                       3467



               All Paths/Locations                                Unified Title          File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              Life Contingent Medical Addendum.pdf        1408228        12/8/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              Medical Questionnaire.pdf                   3963332        12/8/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              Notice of Transfer.pdf                         90921       12/8/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              Package Submission Form.pdf                    76081       12/8/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              Purchase Agreement.pdf                      2172279        12/8/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              Qualified Assignment.pdf                      416765       12/8/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              Requests for Acknowledgment.pdf               146079       12/8/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              Searches.pdf                                  671910       12/8/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              Seller Identification.pdf                   1255887        12/8/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              Settlement Agreement.pdf                    1164047        12/8/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              SSN Verification Wayne James.pdf            3524924       12/12/2022 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              Statement of Dependents.pdf                   401262       12/8/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              Stipulation.pdf                             5613319        12/8/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              TransUnion Credit Report.pdf                  109700       12/8/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              W9.pdf                                        944606       12/8/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81552              Waiver of IPA.pdf                             934848       12/8/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81553              69223_3_FinalPackage.pdf                   10757095       10/26/2022 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81553              81553 Turner, Elmer.tv5                          9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81553              Annuity Check - Proof of Payments.pdf          78879       12/9/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81553              Application.pdf                               637999       12/9/2022 10:37
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81553              Information.pdf                               706616       12/9/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81553              Authorization to Release Information.pdf      177588       12/9/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81553              Bankruptcy Search.pdf                         389809       12/9/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81553              Court Order.pdf                               251111       12/9/2022 10:37




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                                       3467



               All Paths/Locations                                  Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81553              Disclosure - LA.pdf                               580902      12/9/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81553              Divorce Decree.pdf                                464224      12/9/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81553              DocuSign Certs of Completion.pdf                  255873      12/9/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81553              Drivers License.pdf                               362188      12/9/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81553              Fasano Report.pdf                                 156625      12/9/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81553              IPA.pdf                                            80635      12/9/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81553              Medical Addendum.pdf                              386578      12/9/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81553              Medical Questionnaire.pdf                       2111462       12/9/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81553              Package Submission Form.pdf                       206908      12/9/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81553              Purchase Agreement.pdf                            338087      12/9/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81553              Requests for Acknowledgment.pdf                   152414      12/9/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81553              Searches.pdf                                      636150      12/9/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81553              Settlement Agreement.pdf                          425171      12/9/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81553              Statement of Dependents.pdf                       180469      12/9/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81553              Stipulation (NOT FULLY EXECUTED).pdf              668404      12/9/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81553              TransUnion Credit Report.pdf                      107443      12/9/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81553              UCC Search.pdf                                    464114      12/9/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              314601_2_FinalPackage.pdf                      18935608       11/2/2022 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              81554 Gaitan, Manuel.tv5                           11530      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              Affidavit of Service.pdf                          119047      12/9/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              Annuity Check.pdf                                 137518      12/9/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              Annuity Contract.pdf                              472327      12/9/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              Application.pdf                                   354109      12/9/2022 11:55
Saiph consulting|\Audit Materials Received-   Authorization and Direction to Provide Death
SuttonPark\Closing Binders\81554              Certificate.pdf                                   179007      12/9/2022 11:55




                                                              2308
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2310 of
                                       3467



               All Paths/Locations                               Unified Title           File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81554              Information.pdf                               931269       12/9/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              Authorization to Release Information.pdf      177820       12/9/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              Bankruptcy Search.pdf                         915527       12/9/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              Court Order.pdf                               251062       12/9/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              Disclosure - CO.pdf                           175129       12/9/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              Divorce Documents.pdf                       3053378        12/9/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              DocuSign Certs of Completion.pdf               82547       12/9/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              Identification Card.pdf                     7444739        12/9/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              Medical Addendum.pdf                          588525       12/9/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              Medical Questionnaire.pdf                   1741454        12/9/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              Notice of Transfer.pdf                        189788       12/9/2022 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              Package Submission Form.pdf                   230527       12/9/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              Purchase Agreement.pdf                        298990       12/9/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              Requests for Acknowledgment.pdf               244140       12/9/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              Searches.pdf                                  755023       12/9/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              Settlement Agreement.pdf                      856274       12/9/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              SSN Verification Manuel Gaitan.pdf          1829864       12/12/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              Statement of Dependents.pdf                   227225       12/9/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              Stipulation (NOT FULLY EXECUTED).pdf          969233       12/9/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              TransUnion Credit Report.pdf                  107234       12/9/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81554              Waiver of IPA.pdf                             197046       12/9/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81555              590980_4_FinalPackage.pdf                   9179416       11/10/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81555              image001.png                                     6527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81555              81555 Koester, Joshua.tv5                      10186       10/9/2024 17:32




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2311 of
                                       3467



               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81555              Annuity Contract.pdf                   828687       12/7/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81555              Application.pdf                        339930       12/7/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81555              Court Order.pdf                        276518       12/7/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81555              Disclosure.pdf                         634156       12/7/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81555              Divorce Decree.pdf                     113322       12/7/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81555              Docusign Certs.pdf                     214941       12/7/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81555              Fasano 81555.pdf                        93904       10/9/2024 18:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81555              ID .pdf                                318142       12/7/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81555              Ipa.pdf                                187809       12/7/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81555              LE Report.pdf                        1577043        12/7/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81555              Petition.pdf                           590175       12/7/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81555              Purchase Agreement.pdf                 260942       12/7/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81555              R&S Request.pdf                      1070744        12/7/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81555              Searches.pdf                         1651986        12/7/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81556              1957988_1_FinalPackage.pdf          27429812        11/3/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81556              81556 Walker, John.tv5                    9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81556              Application.pdf                        341062        12/8/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81556              Assignment.pdf                       5903623         12/8/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81556              Bankruptcy.pdf                         391961        12/8/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81556              Benefits Letter.pdf                     79717        12/8/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81556              Court Order Oct 2022.pdf               180266        12/8/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81556              Court Pleadings.pdf                    320547        12/8/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81556              Credit Report.pdf                      107438        12/8/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81556              Fasano Report.pdf                      156786        12/8/2022 8:59




                                                               2310
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2312 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81556              HIPAA.pdf                               4836862         12/8/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81556              ID.pdf                                    101676        12/8/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81556              IPA.pdf                                   108389        12/8/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81556              LOD.pdf                                   108872        12/8/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81556              Medical Questionnaire.pdf               6349908         12/8/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81556              Petition.pdf                            2670465         12/8/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81556              PI Docket.pdf                             289401        12/8/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81556              Purchase Agreement.pdf                  6840173         12/8/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81556              Searches.pdf                              477899        12/8/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81556              Seller Affidavit.pdf                      279320        12/8/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81556              SSC.pdf                                   108077        12/8/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81557              61203_4_FinalPackage.pdf               23781456       11/10/2022 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81557              81557 Perkins, Gary.tv5                      9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81557              Affidavit Of Service.pdf                  161792       10/9/2024 19:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81557              Annuity Contract.pdf                      230808       12/8/2022 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81557              Application.pdf                           865750       12/8/2022 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81557              Bankruptcy.pdf                            677774       12/8/2022 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81557              Court Order Nov 2022.pdf                2442732        12/8/2022 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81557              Credit Report.pdf                         105042       12/8/2022 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81557              Disclosure.pdf                            499161       12/8/2022 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81557              Divorce.pdf                             1919481        12/8/2022 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81557              DL.pdf                                  6561935        12/8/2022 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81557              Fasano.pdf                                160107       12/8/2022 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81557              Hipaa.pdf                                 320968       12/8/2022 15:44




                                                               2311
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2313 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81557              Ipa.pdf                                   193523       12/8/2022 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81557              Lod.pdf                                   316251       12/8/2022 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81557              Medical Questionnaire.pdf               2794555        12/8/2022 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81557              Searches.pdf                              612266       12/8/2022 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81557              Seller Affidavit.pdf                      200511       12/8/2022 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81557              Settlement Agreement.pdf                  181201       12/8/2022 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81557              Stipulation.pdf                           723871       12/8/2022 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81557              W9.pdf                                    390461       12/8/2022 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81558              1589160_2_FinalPackage.pdf             22130178        11/3/2022 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81558              image001.png                                 6527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81558              81558 Khan, Patricia.tv5                     9987      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81558              Annuity Contract.pdf                      571688       12/9/2022 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81558              Application.pdf                         1085441        12/9/2022 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81558              Bankruptcy.pdf                            740795       12/9/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81558              Benefits Letter.pdf                       774320       12/9/2022 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81558              Court Order Nov 2022.pdf                  760084       12/9/2022 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81558              Credit Report.pdf                         944651       12/9/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81558              Disclosure.pdf                            533278       12/9/2022 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81558              Divorce.pdf                                98690       12/9/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81558              Drivers License.pdf                       352138       12/9/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81558              Fasano.pdf                                163688       12/9/2022 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81558              HIPAA.pdf                               1599966        12/9/2022 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81558              IPA.pdf                                   169169       12/9/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81558              LOD.pdf                                   293691       12/9/2022 12:11




                                                                2312
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2314 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81558              Medical Questionnaire.pdf             4047919        12/9/2022 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81558              Purchase Agreement.pdf                  361308       12/9/2022 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81558              Settlement Agreement.pdf                972257       12/9/2022 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81558              SSN.pdf                                  85052       12/9/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81558              Stipulation.pdf                       5883145        12/9/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81559              550875_2_FinalPackage.pdf             3419772        11/3/2022 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81559              81559 Highsmith, Gerald.tv5                9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81559              Application.pdf                         224850      12/13/2022 11:55
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81559              Information.pdf                         287187      12/13/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81559              Benefits Letter.pdf                     347566      12/13/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81559              Court Order Nov 2022.pdf                219001      12/13/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81559              Credit Report.pdf                       724016      12/13/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81559              Disclosure.pdf                          176132      12/13/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81559              Divorce.pdf                             186341      12/13/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81559              Drivers License.pdf                     354169      12/13/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81559              Medical Questionnaire.pdf               318779      12/13/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81559              Pacer.pdf                               248259      12/13/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81559              Settlement Agreement.pdf                153888      12/13/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81559              Spousal Support.pdf                     153906      12/13/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81560              1346313_5_FinalPackage.pdf           13447518       11/10/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81560              81560 Huegel, Jake.tv5                     9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81560              Application.pdf                         311851      12/29/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81560              Benefit letter.pdf                       51430       10/9/2024 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81560              Court Order 81560.pdf                    78468       10/9/2024 18:26




                                                                2313
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2315 of
                                       3467



               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81560              Credit Report.pdf                      109119      12/29/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81560              Disclosure.pdf                         111867       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81560              Fasano Report 81560.pdf                 84764       10/9/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81560              HIPAA.pdf                              282280      12/29/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81560              LC Addendum.pdf                        233378      12/29/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81560              LOD.pdf                                203131      12/29/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81560              Medical Questionnaire.pdf              279426       10/9/2024 20:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81560              Personal Injury Docket Case.pdf        561429      12/13/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81560              PI Docket.pdf                          501551      12/29/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81560              Proof of Service.pdf                 6570881        10/9/2024 22:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81560              Purchase Agreement.pdf                 312881       10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81560              Searches.pdf                           699395      12/29/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81560              Seller Identification.pdf              125226      12/29/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81560              Stipulation 81560.pdf                4127474        10/9/2024 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81561              1677177_1_FinalPackage.pdf          12471737       10/27/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81561              81561 Liller-Reedy, Lisa.tv5              9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81561              Annuity Contract.pdf                   350267      12/13/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81561              Application.pdf                        421893      12/13/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81561              Benefits Letter.pdf                    108202      12/13/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81561              Court Order Nov 2022.pdf               410986      12/13/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81561              Credit Report.pdf                    1305566       12/13/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81561              Disclosure.pdf                         266243      12/13/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81561              Divorce.pdf                            474771      12/13/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81561              Docusign.pdf                           356030      12/13/2022 13:07




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                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81561              Drivers License.pdf                  3493850      12/13/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81561              Fasano.pdf                             158316     12/13/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81561              HIPAA.pdf                              597714     12/13/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81561              Medical Questionnaire.pdf              939644     12/13/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81561              Notice.pdf                             271613     12/13/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81561              Pacer.pdf                              449446     12/13/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81561              Purchase Agreement.pdf                 607048     12/13/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81561              Qualified Assignement.pdf              167944     12/13/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81561              Settlement Agreement.pdf               280664     12/13/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81561              Stipulation.pdf                        567342     12/13/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81562              535062_2_FinalPackage.pdf           30047986      10/27/2022 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81562              81562 Jackson, Tracie.tv5               10426      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81562              Application.pdf                        363710     12/13/2022 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81562              Benefits Letter.pdf                  1342714      12/13/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81562              Court Order Nov 2022.pdf             5025947      12/13/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81562              Credit Report.pdf                      714757     12/13/2022 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81562              Disclosure.pdf                         208218     12/13/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81562              Divorce.pdf                            428549     12/13/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81562              Docusign.pdf                           161617     12/13/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81562              Drivers License.pdf                  4432891      12/13/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81562              Fasano.pdf                             193538     12/13/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81562              HIPAA.pdf                              510524     12/13/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81562              Medical Questionnaire.pdf            1266003      12/13/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81562              Pacer.pdf                              671110     12/13/2022 13:41




                                                                2315
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2317 of
                                       3467



               All Paths/Locations                                Unified Title              File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81562              Purchase Agreement.pdf                          1910959       12/13/2022 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81562              Stipulation.pdf                                11667939       12/13/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              81563 Cal, Ronald.tv5                                9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              987934_1_FinalPackage.pdf                      22665928       10/24/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              image001.png                                         7287
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              image001.png                                         6527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              Application.pdf                                 4280984        12/9/2022 12:26
Saiph consulting|\Audit Materials Received-   Authorization and Direction to Provide Death
SuttonPark\Closing Binders\81563              Certificate.pdf                                   270272       12/9/2022 12:26
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81563              Information.pdf                                 1593245        12/9/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              Authorization to Release Information.pdf          214158       12/9/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              Bankruptcy Search.pdf                             392515       12/9/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              Benefits Letter.pdf                               244238       12/9/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              Court Order.pdf                                   752783       12/9/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              Disclosure - GA.pdf                               330232       12/9/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              Disclosure - NY.pdf                               293349       12/9/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              Drivers License.pdf                             2085567        12/9/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              Fasano Report.pdf                                 157297       12/9/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              MB Address Search Ronald Cal.pdf                  991253      12/16/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              Medical Addendum.pdf                              690173       12/9/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              Medical Questionnaire.pdf                       1705795        12/9/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              Notice of Transfer.pdf                            179559       12/9/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              Package Submission Form.pdf                       211305       12/9/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              Purchase Agreement.pdf                          5733980        12/9/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              Requests for Acknowledgment.pdf                   154934       12/9/2022 12:26




                                                                2316
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2318 of
                                       3467



               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              Searches.pdf                         2001919        12/9/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              Statement of Dependents.pdf            212317       12/9/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              Stipulation.pdf                      1174440        12/9/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              TransUnion Credit Report.pdf           111366       12/9/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81563              Waiver of IPA.pdf                      353231       12/9/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81564              1756001_5_FinalPackage.pdf          11950942       10/28/2022 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81564              image001.png                              6527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81564              81564 Scott, Charles.tv5                  9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81564              Application.pdf                        334281      12/13/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81564              Benefits Letter.pdf                     91053      12/13/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81564              Court Order Oct 2022.pdf               465739      12/13/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81564              Credit Report.pdf                      705964      12/13/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81564              Disclosure.pdf                         569277      12/13/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81564              Docusign.pdf                           159298      12/13/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81564              Fasano.pdf                             153719      12/13/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81564              HIPAA.pdf                              599739      12/13/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81564              Medical Questionnaire.pdf            2618781       12/13/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81564              Pacer.pdf                              351673      12/13/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81564              Purchase Agreement.pdf                 782880      12/13/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81564              Seller Identification.pdf              663247      12/13/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81564              Settlement Agreement.pdf               305987      12/13/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81564              Stipulation.pdf                      2422921       12/13/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81564              W9.pdf                                 278850      12/13/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81565              1959913_1_FinalPackage.pdf          24054665       10/27/2022 17:49




                                                                2317
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2319 of
                                       3467



               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81565              image001.png                              6527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81565              81565 Baker, Ernest.tv5                   9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81565              Application.pdf                      2100209       12/13/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81565              Assignment Agreement.pdf               404030      12/13/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81565              Benefits Letter.pdf                  1321097       12/13/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81565              Court Order Oct 2022.pdf               985883      12/13/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81565              Court Pleadings.pdf                  4302268       12/13/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81565              Credit Report.pdf                      677766      12/13/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81565              Disclosure.pdf                         305491      12/13/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81565              Divorce .pdf                           331992      12/13/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81565              Drivers License.pdf                  2118387       12/13/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81565              Fasano.pdf                             159451      12/13/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81565              HIPAA.pdf                            1591049       12/13/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81565              Marriage.pdf                           300797      12/13/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81565              Medical Questionnaire.pdf            1115553       12/13/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81565              Pacer.pdf                              392580      12/13/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81565              Purchase Agreement.pdf              25877671       12/13/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81565              image001.png                              6527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81565              Reinsurance Agreement.pdf              413517      12/13/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81565              Settlement Agreement.pdf               297195      12/13/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81565              SSN.pdf                              2756141       12/13/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81566              1844988_6_FinalPackage.pdf          14435400        10/28/2022 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81566              image001.png                              6527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81566              81566 Cleghorn, Ernest.tv5              10427       10/9/2024 17:35




                                                               2318
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2320 of
                                       3467



               All Paths/Locations                                Unified Title          File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81566              Application.pdf                               292691      12/13/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81566              Benefits Letter.pdf                           408151      12/13/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81566              Court Order Oct 2022.pdf                    1946696       12/13/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81566              Credit Report.pdf                             529769      12/13/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81566              Disclosure.pdf                                365005      12/13/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81566              DocuSign.pdf                                  160718      12/13/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81566              Fasano.pdf                                    145187      12/13/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81566              HIPAA.pdf                                     601903      12/13/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81566              Medical Questionnaire.pdf                   2306685       12/13/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81566              Pacer.pdf                                     392586      12/13/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81566              PI Docket.pdf                                 372386      12/13/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81566              Purchase Agreement.pdf                        757515      12/13/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81566              Seller Identification.pdf                     526644      12/13/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81566              SS Proof.pdf                                2412075        10/9/2024 22:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81566              Stipulation.pdf                               572374      12/13/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81567              343179_2_FinalPackage.pdf                  10634556       10/26/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81567              81567 Mack, Felicia.tv5                          9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81567              Application.pdf                               299767       12/9/2022 12:51
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81567              Information.pdf                               274805       12/9/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81567              Authorization to Release Information.pdf      175574       12/9/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81567              Bankruptcy Search.pdf                         559206       12/9/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81567              Benefits Letter.pdf                           103142       12/9/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81567              Court Order.pdf                               273088       12/9/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81567              DocuSign Certs of Completion.pdf              125641       12/9/2022 12:51




                                                                2319
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2321 of
                                       3467



               All Paths/Locations                                Unified Title              File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81567              Fasano Report.pdf                                 156870       12/9/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81567              Identification Card.pdf                         1816909        12/9/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81567              Medical Questionnaire.pdf                         326083       12/9/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81567              Notice of Transfer.pdf                            309473       12/9/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81567              Package Submission Form.pdf                       231246       12/9/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81567              Pleadings.pdf                                   1787279        12/9/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81567              Purchase Agreement.pdf                            334645       12/9/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81567              Requests for Acknowledgment.pdf                   153446       12/9/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81567              Searches.pdf                                      745632       12/9/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81567              SSN Verification Felicia Laton Mack.pdf         1393408       12/16/2022 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81567              Statement of Dependents.pdf                       185154       12/9/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81567              Stipulation (NOT FULLY EXECUTED).pdf            2830991        12/9/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81567              Transunion Credit Report.pdf                      145817       12/9/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81567              Waiver of IPA.pdf                                 199873       12/9/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81568              1936430_1_FinalPackage.pdf                     20485723       10/20/2022 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81568              81568 Jenkins, James.tv5                             9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81568              Annuity Contract.pdf                            1027978        12/9/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81568              Application.pdf                                 1071656        12/9/2022 13:16
Saiph consulting|\Audit Materials Received-   Authorixation and Direction to Provide Death
SuttonPark\Closing Binders\81568              Certificate.pdf                                   278299       12/9/2022 13:16
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81568              Information.pdf                                   737894       12/9/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81568              Authorization to Release Information.pdf          220016       12/9/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81568              Bankruptcy Search.pdf                             431488       12/9/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81568              Court Order.pdf                                   284812       12/9/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81568              Disclosure - OH.pdf                               496770       12/9/2022 13:16




                                                              2320
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2322 of
                                       3467



               All Paths/Locations                                Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81568              Drivers License.pdf                       561388      12/9/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81568              Fasano Report.pdf                         157636      12/9/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81568              Medical Addendum.pdf                      781437      12/9/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81568              Medical Questionnaire.pdf               2297073       12/9/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81568              Notice of Transfer.pdf                    139801      12/9/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81568              Package Submission Form.pdf               183959      12/9/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81568              Purchase Agreements.pdf                 6570190       12/9/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81568              Qualified Assignment.pdf                  294075      12/9/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81568              Requests for Acknowledgment.pdf           153959      12/9/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81568              Searches.pdf                              534406      12/9/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81568              Settlement Agreement.pdf                1383415       12/9/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81568              SSN Verification James E Jenkins.pdf      440445     12/16/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81568              Statement of Dependents.pdf               220446      12/9/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81568              Transunion Credit Report.pdf              106575      12/9/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81568              Waiver of IPA.pdf                         361658      12/9/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81569              270906_1_FinalPackage.pdf              17460258      11/10/2022 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81569              81569 Ligonde, Tania.tv5                   10282      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81569              Annuity Contract.pdf                      139459     12/13/2022 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81569              Application.pdf                           270909     12/13/2022 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81569              Benefits Letter.pdf                       311659     12/13/2022 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81569              BK Search.pdf                             356013     12/13/2022 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81569              Court Order.pdf                           287126     12/13/2022 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81569              Credit Report.pdf                          48050     12/13/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81569              Disclosure FL.pdf                         164511     12/13/2022 11:25




                                                              2321
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                                       3467



               All Paths/Locations                                  Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81569              Divorce.pdf                                     2271635       12/13/2022 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81569              DocuSign Cert 18F2.pdf                             75124      12/13/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81569              Driver License.pdf                              5089421       12/13/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81569              Fasano Report.pdf                                 124986      12/13/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81569              HIPAA.pdf                                         397585      12/13/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81569              IPA Waiver.pdf                                    117068      12/13/2022 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81569              LOD.pdf                                            89413      12/13/2022 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81569              Medical Questionnaire.pdf                       1287679       12/13/2022 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81569              Purchase Agreement.pdf                            951102      12/13/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81569              Searches.pdf                                      525666      12/13/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81569              Settlement Agreement.pdf                          605076      12/13/2022 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81569              SSN Verification - Ligonde.pdf                    175793      12/13/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81571              1530772_3_FinalPackage.pdf                     22336498       10/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81571              81571 Lucia, Kenneth.tv5                             9996      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81571              Annuity Contract.pdf                              204697       12/9/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81571              Application.pdf                                   636542       12/9/2022 14:09
Saiph consulting|\Audit Materials Received-   Authorization and Direction to Provide Death
SuttonPark\Closing Binders\81571              Certificate.pdf                                   175256       12/9/2022 14:09
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81571              Information.pdf                                   273918       12/9/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81571              Bankruptcy Search.pdf                             407042       12/9/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81571              Court Order.pdf                                 1127879        12/9/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81571              Disclosure - RI.pdf                               262034       12/9/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81571              DocuSign Certs of Completion.pdf                  159841       12/9/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81571              Drivers License.pdf                             7819878        12/9/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81571              Fasano Report.pdf                                 163165       12/9/2022 14:09




                                                               2322
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                                       3467



               All Paths/Locations                                Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81571              Medical Addendum.pdf                    343642      12/9/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81571              Medical Questionnaire.pdf             1919549       12/9/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81571              Notice of Transfer.pdf                  164364      12/9/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81571              Package Submission Form.pdf             193558      12/9/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81571              Proof of Service.pdf                    629499      12/9/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81571              Purchase Agreement.pdf                5151803       12/9/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81571              Purchase Price Increase Memo.pdf         94615      12/9/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81571              Requests for Acknowledgment.pdf         207730      12/9/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81571              Searches.pdf                            738795      12/9/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81571              Settlement Agreement.pdf                708557      12/9/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81571              SSN Verification Kenneth Lucia.pdf    1147067      12/16/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81571              Statement of Dependents.pdf             290506      12/9/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81571              Transunion Credit Report.pdf            107521      12/9/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81571              Waiver of IPA.pdf                       193515      12/9/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81573              1929497_1_Stip.pdf                   15521515      11/10/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81573              81573 Deloach, Aliyah.tv5                10281      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81573              Application.pdf                         373455     12/13/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81573              Benefits Letter.pdf                     254103     12/13/2022 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81573              Court Order.pdf                         466398     12/13/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81573              Credit Report.pdf                       862444     12/13/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81573              Disclosure.pdf                          773464     12/13/2022 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81573              Docusign 00469BA11FB0CC.pdf              78947     12/13/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81573              Docusign 2B1CEE2BD03.pdf                 78963     12/13/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81573              Docusign C00EDC9819.pdf                  77485     12/13/2022 15:53




                                                               2323
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                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81573              Docusign C37472968.pdf                     78906     12/13/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81573              Docusign CC00EDC9819.pdf                  102400     12/13/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81573              Docusign CDA5C37472968.pdf                 79002     12/13/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81573              Docusign FC2D340F129FF.pdf                 78908     12/13/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81573              Drivers License.pdf                       280660     12/13/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81573              HIPAA.pdf                               3126535      12/13/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81573              Medical Questionnaire.pdf               3464242      12/13/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81573              Notice.pdf                                305483     12/13/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81573              Pacer.pdf                                 421085     12/13/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81573              Purchase Agreement.pdf                    610006     12/13/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81573              Seller Affidavit.pdf                      193194     12/13/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81573              SSN- Deloach.pdf                          138234     12/14/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81573              SSN.pdf                                   272381     12/13/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81573              Stipulation.pdf                         4224757      12/13/2022 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81574              783709_3_FinalPackage.pdf               9182659      10/31/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81574              81574 Zurbriggen, Francis.tv5              10670      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81574              Application.pdf                            74193     12/14/2022 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81574              BK Search and backup.pdf                2193369      12/14/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81574              Court Order.pdf                           129635     12/14/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81574              Credit Report.pdf                          45296     12/14/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81574              Disclosure IN.pdf                          47414     12/14/2022 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81574              Fasano Report.pdf                         125068     12/14/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81574              HIPAA.pdf                                 185851     12/14/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81574              Identification.pdf                        409108     12/14/2022 11:49




                                                                2324
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2326 of
                                       3467



               All Paths/Locations                               Unified Title               File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81574              IPA Waiver.pdf                                     31396      12/14/2022 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81574              LOD.pdf                                            16435      12/14/2022 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81574              Mary Zurbriggen Death Cert.pdf                    129794      12/14/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81574              Medical Questionnaire.pdf                         244904      12/14/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81574              Proof of Service.pdf                           14521457       12/14/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81574              Purchase Agreement.pdf                            400794      12/14/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81574              Searches.pdf                                      565808      12/14/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81574              Settlement Note.pdf                               260726      12/14/2022 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81574              SSN Verification.pdf                              308644      12/14/2022 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81574              Withholding Order.pdf                             489655      12/14/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81575              593125_2_FinalPackage.pdf                      17547333       10/25/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81575              81575 Terry, Willie.tv5                              9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81575              Annuity Contract.pdf                              335161      12/11/2022 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81575              Application.pdf                                   359301      12/11/2022 20:13
Saiph consulting|\Audit Materials Received-   Authorization and Direction to Provide Death
SuttonPark\Closing Binders\81575              Certificate.pdf                                   177351      12/11/2022 20:13
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81575              Information.pdf                                   603135      12/11/2022 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81575              Authorization to Release Information.pdf          176018      12/11/2022 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81575              Bankruptcy Search.pdf                           4879184       12/11/2022 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81575              Court Order.pdf                                 1970364       12/11/2022 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81575              Disclosure - GA.pdf                               465601      12/11/2022 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81575              DocuSign Certs of Completion.pdf                  257623      12/11/2022 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81575              Drivers License.pdf                               275032      12/11/2022 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81575              Medical Addendum.pdf                              399055      12/11/2022 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81575              Medical Questionnaire.pdf                       1572166       12/11/2022 20:13




                                                               2325
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2327 of
                                       3467



               All Paths/Locations                                  Unified Title        File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81575              Name Addendum.pdf                             366958      12/11/2022 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81575              Notice of Transfer .pdf                       249788      12/11/2022 20:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81575              Package Submission Form.pdf                   182825      12/11/2022 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81575              Purchase Agreement.pdf                        333307      12/11/2022 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81575              Searches.pdf                                  782183      12/11/2022 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81575              Settlement Agreement.pdf                      283774      12/11/2022 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81575              SSN Verification Willie Terry Jr.pdf        2324499       12/16/2022 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81575              Statement of Dependents.pdf                   222440      12/11/2022 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81575              Stipulation.pdf                             2487240       12/11/2022 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81575              Transunion Credit Report.pdf                  114145      12/11/2022 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81575              Waiver of IPA.pdf                             195512      12/11/2022 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81576              1689728_4_FinalPackage.pdf                  4576172        9/27/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81576              81576 Cortez, Guadalupe.tv5                      9996      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81576              Application.pdf                               391127      12/11/2022 20:39
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81576              Information.pdf                               303542      12/11/2022 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81576              Authorization to Release Information.pdf      179829      12/11/2022 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81576              Bankruptcy Search.pdf                         351822      12/11/2022 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81576              Benefits Letter.pdf                           137531      12/11/2022 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81576              Court Order.pdf                               230815      12/11/2022 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81576              Disclosure - TX.pdf                           175763      12/11/2022 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81576              DocuSign Certs of Completion.pdf              127012      12/11/2022 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81576              Fasano Report.pdf                             158952      12/11/2022 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81576              Medical Addendum.pdf                          203710      12/11/2022 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81576              Medical Questionnaire.pdf                     409133      12/11/2022 20:39




                                                                2326
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2328 of
                                       3467



               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81576              Notice of Transfer.pdf                            97556     12/11/2022 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81576              Package Submission Form.pdf                       79538     12/11/2022 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81576              PI Case Docket.pdf                               160652     12/11/2022 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81576              Purchase Agreement.pdf                           301705     12/11/2022 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81576              Qualified Assignment.pdf                         899636     12/11/2022 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81576              Request to Conceal Personal Information.pdf      198061     12/11/2022 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81576              Requests for Acknowledgment.pdf                  150852     12/11/2022 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81576              Searches.pdf                                     667183     12/11/2022 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81576              SSN Verification Guadalupe Cortez.pdf          3440825      12/16/2022 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81576              Statement of Dependents.pdf                      180356     12/11/2022 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81576              Transunion Credit Report.pdf                     121595     12/11/2022 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81576              Waiver of IPA.pdf                                199311     12/11/2022 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81577              1163490_1_FinalPackage.pdf                     7906235        11/9/2022 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81577              81577 Hunt, Tony.tv5                              10240      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81577              Annuity Contract.pdf                             820169     12/14/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81577              Application.pdf                                  239509     12/14/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81577              Benefits Letter.pdf                              100275     12/14/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81577              BK Search.pdf                                    533701     12/14/2022 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81577              Court Order.pdf                                  692372     12/14/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81577              Credit Report.pdf                                 52152     12/14/2022 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81577              Disclosure CT.pdf                                162613     12/14/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81577              Disclosure GA.pdf                                229335     12/14/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81577              DocuSign 4E7B.pdf                                 72491     12/14/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81577              Fasano Report.pdf                                129870     12/14/2022 13:52




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                                       3467



               All Paths/Locations                                  Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81577              HIPAA.pdf                                         390821      12/14/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81577              Identification Card.pdf                           646700      12/14/2022 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81577              IPA Waiver.pdf                                    113821      12/14/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81577              LOD.pdf                                            97536      12/14/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81577              Medical Questionnaire.pdf                         615685      12/14/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81577              Payees Statement - GA.pdf                          81497      12/14/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81577              Purchase Agreement.pdf                            582064      12/14/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81577              Qualified Assignment.pdf                          510886      12/14/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81577              Searches.pdf                                      585669      12/14/2022 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81577              Settlement Agreement.pdf                          990020      12/14/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81577              Tony Hunt SSC.pdf                                 125710       7/22/2020 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81578              275120_2_FinalPackage.pdf                       7613538         9/26/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81578              81578 Nelson, Jason.tv5                              9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81578              Annuity Contract.pdf                               99344      12/11/2022 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81578              Application.pdf                                   207209      12/11/2022 21:07
Saiph consulting|\Audit Materials Received-   Authorization and Direction to Provide Death
SuttonPark\Closing Binders\81578              Certificate.pdf                                    84154      12/11/2022 21:07
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81578              Information.pdf                                   233558      12/11/2022 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81578              Authorization to Release Information.pdf           76046      12/11/2022 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81578              Bankruptcy Search.pdf                             401226      12/11/2022 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81578              Benefits Letter Dated 2006.pdf                     89838      12/11/2022 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81578              Certificate of Service.pdf                        630372      12/11/2022 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81578              Court Order.pdf                                   279440      12/11/2022 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81578              Disclosure - KS.pdf                                99411      12/11/2022 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81578              Identification Card.pdf                           110724      12/11/2022 21:07




                                                               2328
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2330 of
                                       3467



               All Paths/Locations                                Unified Title           File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81578              Medical Addendum.pdf                           122919      12/11/2022 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81578              Medical Questionnaire.pdf                      218112      12/11/2022 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81578              Notice of Transfer.pdf                         169625      12/11/2022 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81578              Package Submission Form.pdf                    206414      12/11/2022 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81578              Proof of Residency.pdf                       2816701       12/11/2022 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81578              Purchase Agreement.pdf                         603017      12/11/2022 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81578              Searches.pdf                                 1177352       12/11/2022 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81578              Settlement Agreement.pdf                       187942      12/11/2022 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81578              SSN Verification Jason Stephen Nelson.pdf      360455      12/16/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81578              Statement of Dependents.pdf                    103581      12/11/2022 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81578              Transunion Credit Report.pdf                    78959      12/11/2022 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81578              Waiver of IPA.pdf                               91876      12/11/2022 21:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              1806595_2_FinalPackage.pdf                  28090683       11/10/2022 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              image002.png                                    19392
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              image001.png                                      6527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              81579 Caastillo, Ralph.tv5                      10239       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              Acknowledgment of TA.pdf                     4105291        12/15/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              Affidavit.pdf                                7732140        12/15/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              Application.pdf                              8730065        12/15/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              Assignment and Assumption Agreement.pdf        263769       12/15/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              BK Search.pdf                                  353921       12/15/2022 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              COB Req.pdf                                  8734589        12/15/2022 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              Court Order.pdf                              1209182        12/15/2022 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              Credit Report.pdf                               41911       12/15/2022 9:46




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                                       3467



               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              Disclosure AZ.pdf                    3909623        12/15/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              Disclosure IA.pdf                    3895010        12/15/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              Disclosure SC.pdf                    3827745        12/15/2022 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              Divorce Decree.pdf                     645175       12/15/2022 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              DocuSign Cert 2139.pdf                  70095       12/15/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              DocuSign Cert 507C.pdf                  74371       12/15/2022 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              Evaluation App.pdf                      42031       12/15/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              Fasano Report.pdf                      155882       12/15/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              HIPAA.pdf                           11789463        12/15/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              Identification Card.pdf              1512700        12/15/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              IPA Waiver.pdf                       1302840        12/15/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              LOD.pdf                              1105101        12/15/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              Pleadings.pdf                       14987792        12/15/2022 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              POR.pdf                              2931862        12/15/2022 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              POS and NOH.pdf                      1188429        12/15/2022 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              Purchase Agreement.pdf                 126613       12/15/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              Same Name Affidavit.pdf                839717       12/15/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              Searches.pdf                         1158418        12/15/2022 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              Spousal Consent.pdf                  2896763        12/15/2022 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              SSC.pdf                                114070       12/15/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81579              Stipulation.pdf                      1561096        12/15/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81580              81580 Harris, Johnny.tv5                  9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81580              961869_7_FinalPackage.pdf           15635435        11/3/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81580              Annuity Contract.pdf                   235644       12/15/2022 8:55




                                                                2330
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                                       3467



               All Paths/Locations                                Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81580              Application.pdf                            581015       12/15/2022 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81580              Appointment for Guardian Ad Litem.pdf      209191       12/15/2022 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81580              Court Order.pdf                          2380296        12/15/2022 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81580              Credit Report.pdf                          889311       12/15/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81580              Disclosure.pdf                             590685       12/15/2022 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81580              Drivers License.pdf                        828999       12/15/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81580              Fasano.pdf                                 145399       12/15/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81580              HIPAA.pdf                                1095265        12/15/2022 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81580              Medical Questionnaire.pdf                2341548        12/15/2022 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81580              Pacer.pdf                                  559223       12/15/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81580              Plaintiff's Petition.pdf                   232985       12/15/2022 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81580              Purchase Agreement.pdf                   2157058        12/15/2022 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81580              Qualified Assignement.pdf                  182332       12/15/2022 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81580              Settlement Agreement.pdf                   357796       12/15/2022 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81580              Spouse's DL.pdf                            734664       12/15/2022 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81580              SSN Verification - Harris.pdf              283473      12/15/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81581              546952_3_FinalPackage.pdf               12667871        11/7/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81581              81581 Diaz, Angel.tv5                         9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81581              Annuity Contract.pdf                       210895       12/15/2022 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81581              Application.pdf                            302046       12/15/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81581              Court Order Nov 2022.pdf                   388777       12/15/2022 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81581              Credit Report.pdf                          759527       12/15/2022 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81581              Disclosure.pdf                             176441       12/15/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81581              Fasano.pdf                                 160406       12/15/2022 9:23




                                                               2331
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2333 of
                                       3467



               All Paths/Locations                                  Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81581              HIPAA.pdf                                         299454       12/15/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81581              Pacer.pdf                                         649816       12/15/2022 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81581              Petition.pdf                                       98151       12/15/2022 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81581              Proof of Service.pdf                              158668       12/15/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81581              Purchase Agreement.pdf                            498093       12/15/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81581              Qualified Assignement.pdf                         301396       12/15/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81581              Seller Identification.pdf                          89536       12/15/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81581              Settlement Agreement.pdf                          486455       12/15/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81581              SSN Verification - Diaz.pdf                       206433      12/16/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81581              Stipulation.pdf                                 6574275        12/15/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81582              81582 Hills, Shelley.tv5                             9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81582              96583_1_FinalPackage.pdf                        3274430       10/21/2022 17:43
Saiph consulting|\Audit Materials Received-   Authorization and Direction to Provide Death
SuttonPark\Closing Binders\81582              Certificate.pdf                                   182689      12/11/2022 21:31
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81582              Information.pdf                                   476019      12/11/2022 21:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81582              Authorizations.pdf                                104975      12/11/2022 21:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81582              Bankruptcy Search.pdf                             118924      12/11/2022 21:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81582              Change of Address October 2010.pdf                103603      12/11/2022 21:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81582              Confirmation of Ownership May 2008.pdf            312369      12/11/2022 21:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81582              Disclosure - FL.pdf                               277413      12/11/2022 21:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81582              DocuSign Cert of Completion.pdf                    83129      12/11/2022 21:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81582              Drivers License.pdf                               248913      12/11/2022 21:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81582              Fasano Report.pdf                                 145400      12/11/2022 21:31
Saiph consulting|\Audit Materials Received-   Government Benefits Capacity and Retirement
SuttonPark\Closing Binders\81582              Plans Disclosure.pdf                              228548      12/11/2022 21:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81582              Medical Addendum.pdf                              306927      12/11/2022 21:31




                                                                2332
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2334 of
                                       3467



               All Paths/Locations                                Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81582              Medical Questionnaire.pdf                            342810     12/11/2022 21:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81582              Purchase Agreement.pdf                               277645     12/11/2022 21:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81582              Searches.pdf                                       1137450      12/11/2022 21:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81582              SSN Verification Shelley Renee Hills.pdf           3259247      12/16/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81582              Transunion Credit Report.pdf                         140938     12/11/2022 21:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81582              UCC Financing.pdf                                    307199     12/11/2022 21:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81582              W-9.pdf                                              278020     12/11/2022 21:31
Saiph consulting|\Audit Materials Received-   Waiver of Annuity Policy Transfer and Ownership
SuttonPark\Closing Binders\81582              Addendum.pdf                                         259306     12/11/2022 21:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              569100_1_FinalPackage.pdf                         21106267      10/26/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              81583 McCray, David.tv5                               10238      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              Annuity Contract.pdf                                 311570     12/11/2022 22:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              Application.pdf                                      811690     12/11/2022 22:01
Saiph consulting|\Audit Materials Received-   Authorization and Direction to Provide Death
SuttonPark\Closing Binders\81583              Certificate.pdf                                      304705     12/11/2022 22:01
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81583              Information.pdf                                    1834728      12/11/2022 22:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              Authorization to Release Information.pdf             234033     12/11/2022 22:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              Bankruptcy Search.pdf                                353884     12/11/2022 22:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              Benefits Letter.pdf                                   88233     12/11/2022 22:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              Court Order.pdf                                      609959     12/11/2022 22:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              Disclosure - PA.pdf                                  679757     12/11/2022 22:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              Fasano Report.pdf                                    160433     12/11/2022 22:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              Identification Card.pdf                              283504     12/11/2022 22:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              Medical Addendum.pdf                                 688856     12/11/2022 22:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              Medical Questionnaire.pdf                          2080705      12/11/2022 22:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              Notice of Transfer.pdf                               167478     12/11/2022 22:01




                                                             2333
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2335 of
                                       3467



               All Paths/Locations                                   Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              Package Submission Form.pdf                   155854      12/11/2022 22:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              Purchase Agreement.pdf                      4985955       12/11/2022 22:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              Qualified Assignment.pdf                      217819      12/11/2022 22:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              Requests for Acknowledgment.pdf               146002      12/11/2022 22:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              Searches.pdf                                  476116      12/11/2022 22:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              Seller Affidavit.pdf                          780145      12/11/2022 22:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              Settlement Agreement.pdf                      312230      12/11/2022 22:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              SSN Verification David Lee McCray Jr.pdf      499839      12/16/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              Statement of Dependents.pdf                   216791      12/11/2022 22:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              Stipulation.pdf                             5293168       12/11/2022 22:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              Transunion Credit Report.pdf                  103938      12/11/2022 22:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81583              Waiver of IPA.pdf                             424601      12/11/2022 22:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81584              65686_5_FinalPackage.pdf                   11596741        11/2/2022 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81584              image001.png                                     6527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81584              81584 Lee, Ralph.tv5                           12120       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81584              Application.pdf                               395844      12/15/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81584              Benefits Letter.pdf                           156302      12/15/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81584              Court Order Nov 2022.pdf                    1575050       12/15/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81584              Credit Report.pdf                             791982      12/15/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81584              Disclosure.pdf                                282005      12/15/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81584              Divorce.pdf                                 3271821       12/15/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81584              Drivers License.pdf                           993610      12/15/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81584              Fasano.pdf                                    160550      12/15/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81584              HIPAA.pdf                                     283509      12/15/2022 11:43




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                                       3467



               All Paths/Locations                                   Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81584              Medical Questionnaire.pdf                 405813      12/15/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81584              Pacer.pdf                                 926125      12/15/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81584              Purchase Agreement.pdf                  1132058       12/15/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81584              Seller Affidavit.pdf                      362827      12/15/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81584              Settlement Agreement.pdf                  926784      12/15/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81584              SSN Verification - Lee.pdf                317907      12/16/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81585              72089_3_FinalPackage.pdf               11641688       10/11/2022 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Docusign Cert - 82C2.pdf                  233222       10/9/2024 20:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Docusign Cert - 9CA4.pdf                  172646        4/1/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Docusign Cert - Closing Statment.pdf      207260       10/9/2024 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Docusign Cert - Same Name Dec.pdf         198222       10/9/2024 19:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Driver License.pdf                         63468       4/10/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Fasano Report.pdf                         112508       3/16/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              HIPAA.pdf                                 334563       10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Lien and Judgement Search.pdf              19525       4/10/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Medical Questionnaire.pdf                 331928       10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              PI Docket.pdf                             451708       4/11/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Pleadings.pdf                           4296685        4/10/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              POS - PacLife.pdf                         991922       4/11/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              image001.png                                 3288
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              image002.png                                  381
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              image003.jpg                                 2666
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              image004.png                                  323
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Admin Fee.pdf                             235539       4/11/2022 16:14




                                                              2335
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                                       3467



               All Paths/Locations                                 Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              S. Hundley PacLife Signed Filestamped Order.pdf      179483       4/1/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Fully Executed Stipulation.pdf                       525540      4/11/2022 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Purchase Agreement.pdf                               662596      4/10/2022 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Same Name Declaration.pdf                            234624      10/9/2024 20:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Signed Order Vacating PacLife Judgment.pdf           377406       8/3/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Stip - Missing SP.pdf                                383204       4/8/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              Stipulation.pdf                                      523086      4/11/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79574              UCC Search.pdf                                        82636      4/10/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              79589 McCline, Amelia.tv5                             10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              Affividavit.pdf                                    2981671       4/12/2022 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              Application.pdf                                      153448      4/12/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              Assignment Executed.pdf                              861492      4/14/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              AUTH HIPPA.pdf                                     1173401       4/12/2022 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              Benefit Letter.pdf                                 1611812       4/12/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              Closing Binder.pdf                                17967866       4/11/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              Court Order.pdf                                    1725128       4/12/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              Credit Report.pdf                                    124294      4/12/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              Disclosure DE.pdf                                     84192      4/12/2022 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              Disclosure NH.pdf                                    115904      4/12/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              Disclosure NY.pdf                                     84299      4/12/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              DocuSign Cert 2375.pdf                                62141      4/12/2022 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              DocuSign Cert F381.pdf                                63150      4/12/2022 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              Infant Compromise.pdf                                238968      4/12/2022 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              Medical Questionaire.pdf                           2081027       4/12/2022 16:24




                                                                2336
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                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              NY ID.pdf                                42890      4/13/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              Person Search Plus 10182023.pdf         405864     10/18/2023 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              Pleadings.pdf                         4943149       4/12/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              POS Tracking .pdf                       575226      4/12/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              Purchase Agreement.pdf                  346324      4/12/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              Searches.pdf                            350643      4/12/2022 16:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              Social Security Card.pdf                104990      4/12/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              Stipulation Executed.pdf              3040142       4/19/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              Stipulation Missing Signature.pdf     2030884       4/12/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79589              ZIP Code USPS.pdf                        61342      4/12/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              79593 Brawner, Walter.tv5                10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              Acknowledgment.pdf                       42821      5/11/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              Application.pdf                       2166365       4/12/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              Assignment Agreement Executed.pdf        27480      4/14/2022 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              Authorizations.pdf                    2002756       4/12/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              Benefits Letter.pdf                   4132705       4/12/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              Brawner Assignment.docx                  26119      4/14/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              Certification.pdf                     2069099       4/12/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              Closing Book Walter Brawner.pdf      12136304       4/11/2022 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              Court Order.pdf                         230145      4/14/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              Credit Report.pdf                     2079794       4/12/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              Disclosure - DE.pdf                   2006786       4/12/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              Disclosure - MI.pdf                   2010140       4/12/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              Docusign Certificate 218.pdf          2031294       4/12/2022 14:10




                                                              2337
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2339 of
                                       3467



               All Paths/Locations                                 Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              Docusign Certificate 9BD.pdf                2031276       4/12/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              Docusign Certificate 9D6.pdf                  201684      10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              Drivers License.pdf                         2412611       4/12/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              Nasp Search.pdf                             2052409       4/12/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              Pleadings.pdf                               7104727       4/12/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              Purchase Agreement.pdf                      2311329       4/12/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              Request for Change of Beneficiary.pdf       2019349       4/12/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              Searches.pdf                                2058229       4/12/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              Settlement Agreement and Release.pdf        2213484       4/12/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              Social Security .pdf                        2479197       4/12/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79593              UCC Search.pdf                              2057775       4/12/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79596              79596 Jackson, Charles and Elizabeth.tv5       10034      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79596              Acknowledgment.PDF                             72651      10/9/2024 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79596              Affidavit.pdf                                 283212      4/12/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79596              Annuity Contract.pdf                          262675      4/12/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79596              Application.pdf                               566297      2/24/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79596              Assignment.pdf                                 78553      4/15/2022 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79596              Benefits Letter.pdf                            61282      4/12/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79596              Closing Binder.pdf                         16425087       4/12/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79596              Credit Report - Charles.pdf                    22544      4/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79596              Credit Report - Elizabeth.pdf                  17060      4/14/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79596              Disclosure NE.pdf                             357455      4/12/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79596              Disclosure OH.pdf                             430122      4/12/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79596              DocuSign Cert - B7A6.pdf                      297022      4/14/2022 14:52




                                                              2338
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2340 of
                                       3467



               All Paths/Locations                                 Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79596              Driver License - Charles.pdf                     511726      1/22/2021 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79596              Driver License - Elizabeth.pdf                   465046      1/22/2021 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79596              Pleadings.pdf                                  9373756       4/12/2022 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79596              Purchase Agreement.pdf                         1940366       4/12/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79596              Searches - Charles.pdf                            44487      4/12/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79596              Searches - Elizabeth.pdf                          38157      4/12/2022 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79596              Settlement Agreement.pdf                         400855      4/12/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79596              Social Security Card - Charles.pdf               247530      3/23/2021 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79596              Social Security Card - Elizabeth.pdf             235470      3/23/2021 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79596              UCC Search - Charles.pdf                          22654      10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79596              UCC Search - Elizabeth.pdf                        31105      4/12/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              79598 Speller-Williams, Nasim.tv5                 10469      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              Annuity Contract.pdf                             130205      4/13/2022 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              Application.pdf                                  193294      4/13/2022 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              Assignment Agreement Executed.pdf                 22749      4/14/2022 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              Authorization for deductions.pdf                  54042      4/14/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              Benefit Letter.pdf                             1485479       4/13/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              Certification of Nasim.pdf                        81111      4/13/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              Change of Beneficiary.pdf                        107583      4/14/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              Closing Binder.pdf                            11789626        4/12/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              Closing Statement Executed via docusign.pdf      203425      10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              Closing Statement.pdf                            254408      10/9/2024 20:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              Court Order.pdf                                1214505       4/12/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              Credit Report.pdf                                152974      4/13/2022 17:10




                                                              2339
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2341 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              Disclosure GA.pdf                        74409      4/13/2022 17:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              DocuSign Cert - E367.pdf                204050      10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              DocuSign Cert E5A1.pdf                   48737      4/14/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              Driver License.pdf                    2464008       4/13/2022 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              NASP Search.pdf                         113507      4/14/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              Pleadings.pdf                           742094      4/14/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              Prior Orders.pdf                      1178453       4/14/2022 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              Purchase Agreement.pdf                  315354      4/14/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              Searches.pdf                             51009      4/13/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              Settlment Agreement.pdf                 262993      4/13/2022 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              Social Secuirity Card.pdf             1291726       4/13/2022 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              Stipulation.pdf                       2868759       10/9/2024 22:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              UCC Search.pdf                           43311      4/13/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79598              ZIP Code USPS.pdf                        59368      4/14/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79603              79603 Daniels, Indie.tv5                 10134      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79603              Application.pdf                          43282      4/13/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79603              Benefits Letter.pdf                     757265      4/13/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79603              Closing Statement Draft.docx             31649      4/18/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79603              Court Order.pdf                         722402      4/18/2022 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79603              Credit.pdf                               29598       4/11/2022 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79603              Daniels Assignment.docx                  26162      4/18/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79603              Daniels Closing Binder.pdf            4970892       4/13/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79603              Docusign Certificate 144.pdf            191226      10/9/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79603              Docusign Certificate 161.pdf            191076      10/9/2024 19:44




                                                                2340
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2342 of
                                       3467



               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79603              Docusign Certificate 32B.pdf               194901      10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79603              Docusign Certificate 89E.pdf               197718      10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79603              Drivers License.pdf                      1077379       4/13/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79603              PI Case Docket Article.pdf                  62356      4/18/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79603              Pleadings.pdf                            1648671       4/13/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79603              Purchase Agreement Hold Time.pdf           401754      4/18/2022 16:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79603              Purchase Agreement.pdf                     357686      4/13/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79603              Searches.pdf                                74879      4/13/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79603              Settlement Agreement Request Form.pdf       24117      4/13/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79603              Social Security Card.pdf                   568216      4/13/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79603              Stipulation.pdf                          2216225       4/18/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79603              UCC Search.pdf                             508311      4/13/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79604              79604 Jasna, Mahaley.tv5                    10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79604              Acknowledgement.pdf                         51568      4/29/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79604              Affidavit.pdf                              114820      4/14/2022 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79604              Annuity Contract.pdf                       401675      4/14/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79604              Assignment.pdf                             213661      10/9/2024 19:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79604              Authorization for credit report.pdf      1138524       4/14/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79604              Closing Binder.pdf                      11330346        4/12/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79604              Court Order Mahaley.pdf                    370072      10/9/2024 20:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79604              Credit Report.pdf                          173453      4/14/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79604              Disclosure OK.pdf                           87733      4/14/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79604              DocuSign Cert 2BD9.pdf                      61555      4/14/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79604              DocuSign Cert AFAB.pdf                     668515      4/14/2022 15:01




                                                                2341
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2343 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79604              DocuSign Cert CAAB.pdf                    61642      4/14/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79604              ID.pdf                                   686640      4/14/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79604              Marriage License.pdf                     298646      4/14/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79604              Name Addendum.pdf                         60192      4/14/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79604              Order Granting Settlement.pdf             73880      4/14/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79604              Pleadings.pdf                          2556736       4/14/2022 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79604              Proof of SSN.pdf                       2252805       4/14/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79604              Purchase Agreement.pdf                   495193      4/14/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79604              ZIP CodeUSPS.pdf                          59782      4/14/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              79606 Edwards, Nyasha.tv5                 10263      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              Annuity Contract.pdf                     216670      4/13/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              Application.pdf                          115525      4/14/2022 14:53
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\79606              Information.pdf                          603589      4/13/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              Bankruptcy Search.pdf                     63845       4/13/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              Closing Binder Nyasha Edwards.pdf      7589500       4/12/2022 16:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              Court Order.pdf                          227019      4/14/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              Credit Report.pdf                         89460      4/14/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              Disclosure - FL.pdf                       81374      4/13/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              Disclosure - NJ.pdf                       88282      4/13/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              Disclosure - NY.pdf                       87803      4/13/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              Disclosure - PA.pdf                       87855      4/13/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              Docusign Certificate 564.pdf              44660      4/13/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              Edwards Assignment.docx                   25859      4/14/2022 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              Fasano Report.pdf                         71906      4/13/2022 10:40




                                                              2342
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                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              Medical Questionnaire.pdf               1096094       4/13/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              Pleadings.pdf                           4217987       4/13/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              Proof of Residence.pdf                     92515      4/14/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              Purchase Agreement.pdf                    207506      4/13/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              Qualified Assignment.pdf                  288675      4/13/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              Searches.pdf                               89509       4/13/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              Seller Affidavit.pdf                       61588      4/13/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              Seller Identification.pdf                 197972      4/13/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              Settlement Agreement and Release.pdf      299211      4/13/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              Settlement docs.pdf                       187548      4/13/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              SSN Verification.pdf                       84609      4/14/2022 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79606              Stipulation.pdf                         2414386       4/14/2022 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79628              79628 Imperatore, Nichole.tv5              10267      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79628              Annuity Contract.pdf                       19506      4/18/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79628              Application.pdf                           494172      4/18/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79628              Assignment.pdf                            436286      5/12/2022 10:05
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\79628              Information.pdf                           337595      4/18/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79628              Court Order.pdf                           419204       5/9/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79628              Credit Report.pdf                         831393      4/18/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79628              Disclosure - FL.pdf                        75893      4/18/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79628              Disclosure - NJ.pdf                        82688      4/18/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79628              Disclosure - TX.pdf                        93549      4/18/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79628              Docusign Certificate 403.pdf               45516      4/18/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79628              Fasano Report.pdf                          74293      4/18/2022 13:58




                                                                2343
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2345 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79628              Funding File Nichole Imperatore.pdf     6099527       4/15/2022 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79628              Medical Questionnaire.pdf               1032234       4/18/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79628              PI Article.pdf                             78308      4/29/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79628              Pleadings.pdf                           3377365       4/18/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79628              Purchase Agreement.pdf                    201200      4/18/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79628              Searches.pdf                              148771      4/18/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79628              Seller Affidavit.pdf                       57305      4/18/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79628              Seller Identification.pdf                  40108      4/18/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79628              Settlement Agreement Affidavit.pdf         48522      4/18/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79628              Social Security Card.pdf                  254677      4/18/2022 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79628              Stipulation.pdf                         2472109        4/27/2022 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79628              UCC Search.pdf                            117207      4/18/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79644              79644 Mclarty, Gage.tv5                    10142      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79644              Annuity Contract.pdf                    2529161       4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79644              Application.pdf                         1769922       4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79644              Closing Binder.pdf                     14601117       4/14/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79644              Court Order.pdf                           650794      4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79644              Credit Report.pdf                         565116      4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79644              Disclosure - GA.pdf                       510357      4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79644              Disclosure - WA.pdf                       489742      4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79644              Drivers License.pdf                       628580      4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79644              Pleadings.pdf                           7099925       4/14/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79644              Purchase Agreement.pdf                  2588892       4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79644              Qualified Assignment.pdf                1029908       4/14/2022 16:08




                                                                2344
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2346 of
                                       3467



               All Paths/Locations                                   Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79644              Request for Annuity Documents.pdf             297219      4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79644              Request for Change of Beneficiary.pdf         269058      4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79644              Searches.pdf                                   77068      4/14/2022 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79644              Seller Affidavit.pdf                          551636      4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79644              Settlement Agreement Affidavit.pdf            413273      4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79644              Social Security Card.pdf                      518233      4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79644              Stipulation.pdf                             1099342       4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79644              UCC Search.pdf                                 70011      4/14/2022 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79733              79733 Garland, Andrei.tv5                      10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79733              Annuity Contract.pdf                          102851      12/9/2016 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79733              Application Notes.pdf                         362769      4/11/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79733              Application.pdf                               363763       4/8/2022 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79733              Authorization to Release Information.pdf       74364      4/13/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79733              Benefits Letter.pdf                            74129     12/20/2016 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79733              Change of Bene Request.pdf                     64227      4/13/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79733              Closing Binder.pdf                          6199651       4/15/2022 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79733              Credit Report.pdf                             341605       4/8/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79733              Disclosure - MI .pdf                          120598       4/14/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79733              Disclosure Proof of Delivery.pdf              205083       4/8/2022 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79733              Esign Certificate 4.13.2022.pdf                47902      4/13/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79733              Esign Certificate 4.8.2022.pdf                 48611       4/8/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79733              Identification Card.pdf                       623387      4/11/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79733              OAMC.pdf                                      152552       2/21/2017 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79733              Order Approving Settlement.pdf                102235      12/9/2016 10:30




                                                                2345
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2347 of
                                       3467



               All Paths/Locations                                  Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79733              Purchase Agreement.pdf                           314739      4/15/2022 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79733              Searches.pdf                                     915443       4/8/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79733              Settlement Agreement.pdf                         263082     12/16/2016 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79733              Social Security Card.pdf                          42007     12/14/2016 10:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79733              USPS.pdf                                          98061       4/8/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79733              W9.pdf                                           327872      4/13/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79743              78274.pdf                                     30889313        1/10/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79743              79743 Doran, Raymond.tv5                          10451      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79743              Acknowledgement.pdf                              280900       4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79743              Affidavit in lieu of SA.pdf                      182029       4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79743              Application_.pdf                                 225970       4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79743              Assignment.pdf                                   227583       4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79743              Authorization to pull death certificate.pdf      279778       4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79743              Benefits Letter.pdf                              209464       4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79743              Court Order.pdf                                1339194        4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79743              Credit Report.pdf                              1836907        4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79743              Declaration.pdf                                  262621       4/8/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79743              Disclosure - KS.pdf                              452901       4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79743              Drivers License.pdf                              250832       4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79743              Fasano .pdf                                    1894360        4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79743              Medical Authorizations.pdf                     1626914        4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79743              Pleadings.pdf                                 10413950        4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79743              Proof of ssn.pdf                                  63701       4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79743              Purchase Agreement.pdf                         2180515        4/8/2022 12:52




                                                              2346
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2348 of
                                       3467



               All Paths/Locations                                   Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79743              Questionnaire.pdf                        1043900        4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79743              Request For Acknowledgement.pdf          3576925        4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79743              Searches.pdf                             4360905        4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79743              Seller Affidavit.pdf                       147405       4/8/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79746              79746 Miller, Curtis.tv5                    10260      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79746              Acknowledgement.pdf                         38162      4/15/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79746              Annuity Contract.pdf                       482459      4/15/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79746              Assignment.pdf                              17973      4/15/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79746              Benefits Letter.pdf                         48522      4/15/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79746              Closing Binder.pdf                       4483850       2/12/2022 23:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79746              Court Order.pdf                            746433      4/15/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79746              Credit Report.pdf                           65562      4/15/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79746              Disclosure - DE.pdf                         79521      4/15/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79746              Disclosure - VA.pdf                         86806      4/15/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79746              Pleadings.pdf                            2465256       4/15/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79746              Purchase Agreement.pdf                     787616      4/15/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79746              Qualified Assignment Affidavit.pdf          72471      4/15/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79746              Seller Affidavit.pdf                       160768      4/15/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79746              Settlement Agreement Affidavit.pdf          70366      4/15/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79746              Social Security Card.pdf                    44975      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79757              79757 Labbee, Cecilia.tv5                   13390      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79757              Annuity Contract.pdf                     3187402       4/19/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79757              Application.pdf                            488700      4/19/2022 12:12
Saiph consulting|\Audit Materials Received-   Authorization for Credit anfd Release
SuttonPark\Closing Binders\79757              Information.pdf                            527939      4/19/2022 12:12




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                                       3467



               All Paths/Locations                               Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\79757              Information.pdf                              1244271       4/19/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79757              Bankruptcy Search.pdf                          176485      4/19/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79757              Benefits Letter.pdf                            261227      4/19/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79757              Court Order.pdf                                365892      4/26/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79757              Credit Report.pdf                              481549      4/26/2022 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79757              Disclosure - OK.pdf                            185755      4/19/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79757              Divorce Decree.pdf                          10935303       4/19/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79757              Docusign Certificate 1AB.pdf                    64474      4/19/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79757              Docusign Certificate FEB.pdf                    64471      4/19/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79757              Fasano Report.pdf                               99840      4/19/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79757              Labbee Closing Binder.pdf                   30417754       3/22/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79757              Medical Questionnaire.pdf                    2421703       4/19/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79757              Pleadings.pdf                                1759772       4/19/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79757              Purchase Agreement updated .pdf              1030517       4/19/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79757              Searches.pdf                                    83487      4/20/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79757              Seller Affidavit.pdf                           267658      4/19/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79757              Seller Identification.pdf                       83535      4/19/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79757              Settlement Agreement.pdf                     4900551       4/19/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79757              Social Security Card.pdf                        81268      4/19/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              79776 Huggins, Melvin.tv5                       10588      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              Annuity Contract.pdf                           220223      4/29/2022 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              Application.pdf                                 90548      4/29/2022 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              Assignment Genex to Jason Christensen.pdf       32598      4/29/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              Assignment Genex to SuttonPark.pdf              89549      4/29/2022 11:13




                                                              2348
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                                       3467



               All Paths/Locations                                 Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              Authorization Letter.pdf                              35641      4/29/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              Bankruptcy Search.pdf                                 26393      4/29/2022 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              Change of Bene Request.pdf                            36668      4/29/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              Court Order.pdf                                      265323      4/29/2022 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              Credit Report.pdf                                  6591307       4/29/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              Disclosure VA - Amended.pdf                           81268      4/29/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              Disclosure VA.pdf                                     76183      4/29/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              Divorce Decree.pdf                                   397507      4/29/2022 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              Driver License.pdf                                   998605      4/29/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              Huggins.Christensen closing book.pdf              14861785       4/16/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              Letter of Direction - Security Title.pdf              76862      4/29/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              Melvin Huggins - PT Reconcilation 04062023.xlsx       48219       4/6/2023 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              Purchase Agreement.pdf                               707783      4/29/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              Qualified assignment.pdf                             150929      4/29/2022 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              Receivable Assignment Agreement.pdf                1695600       4/29/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              Request for Acknowledgment.pdf                        43669      4/29/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              Searches.pdf                                         453675      4/29/2022 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              SSN Verification.pdf                                 118403     12/20/2021 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              Stipulation.pdf                                    1196942       4/29/2022 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79776              Transaction Summary.pdf                               88013      4/29/2022 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              79780 Persaud, Lylah.tv5                              18758      10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              Acknowledgment.PDF                                    80622      4/29/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              Affidavit.pdf                                        104843      4/22/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              Application Executed.pdf                             127967      10/9/2024 18:36




                                                                2349
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                                       3467



               All Paths/Locations                                Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              Assignment.pdf                                 145579      4/27/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              Bankruptcy Search - clear.pdf                  690808      4/22/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              Benefits Letter.pdf                             47472      1/24/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              Court Order.pdf                              1001593       10/9/2024 21:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              Credit Report.pdf                               17332       4/22/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              Disclosure CT - Sent 3-9.pdf                   112520       4/27/2022 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              Disclosure CT.pdf                              112691      4/22/2022 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              Disclosure MA.pdf                              117332      4/22/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              Disclosure MI.pdf                              102411      4/22/2022 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              Docusign Cert ending in 2726C.pdf              168807       6/23/2021 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              Docusign Cert ending in C23C.pdf               198522      10/9/2024 19:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              Docusign Cert ending in F625A.pdf              168852       6/28/2021 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              High School Diploma.pdf                      2067402       4/28/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              ID.pdf                                      11718217       4/22/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              IPA Persaud.pdf                                128236       4/28/2022 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              Liens and Judgements Search - clear.pdf         59846      4/21/2022 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              Lilah Persaud Amended Court Order.pdf        2484707         9/7/2023 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              New - Acknowledgment.pdf                        80622      4/29/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              OAS.pdf                                        690935      8/31/2021 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              Order of approval from settling court.pdf       72582      4/27/2022 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              Pleadings.pdf                                3382412       4/22/2022 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              POR - lease.pdf                              5175604       4/22/2022 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              Purchase Agreement.pdf                       1045267       4/22/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              SSC.pdf                                      2185625        4/27/2022 9:00




                                                              2350
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2352 of
                                       3467



               All Paths/Locations                                Unified Title           File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              UCC Search - Lilah Cadet Persaud.pdf            54816        4/22/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79780              UCC Search.pdf                                  54645        4/22/2022 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79791              47b1.pdf                                       191841       10/9/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79791              79791 Hosage, Emily.tv5                           9809      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79791              Application.pdf                                 51910       3/21/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79791              Assignment.pdf                                 152178       4/22/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79791              Benefits Letter.pdf                             24936        4/20/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79791              Court Order.pdf                                305349       10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79791              Credit Report.pdf                              101021       10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79791              Driver License.pdf                             274319       4/19/2022 10:17
Saiph consulting|\Audit Materials Received-   Memo to File _Emily Hosage ID 79791 Fully
SuttonPark\Closing Binders\79791              Executed.pdf                                17553148        4/19/2023 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79791              Obituary for customers father.pdf            1243653         4/14/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79791              Payee Declaration.pdf                           98315       4/15/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79791              Pleadings.pdf                                1113347        4/19/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79791              POS.pdf                                      1999373        10/9/2024 22:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79791              Purchase Agreement.pdf                         245323       4/19/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79791              Searches.pdf                                      5153      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79791              Social Security Card.pdf                       338223       4/21/2022 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79791              Stipulation.pdf                                476668       4/21/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79791              UCC.pdf                                         48651       10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79792              79792 Stuart, Zabrina.tv5                       10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79792              Annuity Contract.pdf                            57877        6/8/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79792              Application.pdf                                 44152       4/19/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79792              Assignment.pdf                                 167297        6/8/2022 13:37




                                                                2351
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2353 of
                                       3467



               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79792              Court Order.pdf                        1408126         6/8/2022 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79792              Credit Report.pdf                        122351       4/19/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79792              Disclosure - TX.pdf                      115314       4/19/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79792              Docusign Certificate 87B.pdf             204221       10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79792              Pleadings.pdf                            988907       4/19/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79792              Purchase Agreement Hold Time.pdf         169772       4/19/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79792              Purchase Agreement.pdf                   243099       4/19/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79792              Qualified Assigment.pdf                  451886       4/19/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79792              Searches.pdf                              81780       4/19/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79792              Seller Identification.pdf                223375       4/19/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79792              Social Security Card .pdf                131331       4/19/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79792              SSN Verification.pdf                     357626       2/10/2021 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79792              Stipulation.pdf                        2523078         6/8/2022 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79792              Stuart Closing Binder.pdf              2416197        4/19/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79792              UCC Search.pdf                           512836       4/19/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79794              0068.pdf                                 202848       10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79794              58e8.pdf                                 200467       10/9/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79794              79794 Simmons, Kaitlyn.tv5                  9989      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79794              Affidavit.pdf                            141834       10/9/2024 18:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79794              Amended Petition.pdf                   2539783        4/18/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79794              Annuity Contract.pdf                     619516        4/19/2022 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79794              Application.pdf                           51543       3/18/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79794              Assignment.pdf                           152830       4/27/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79794              Court Order.pdf                        2360227        4/22/2022 11:41




                                                                2352
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2354 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79794              Credit Report.pdf                        30854       4/18/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79794              Disclosure TN.pdf                       110559        4/19/2022 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79794              Driver License.pdf                      317345        4/19/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79794              F132.pdf                                192882       10/9/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79794              Pleadings.pdf                        12045080         4/19/2022 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79794              Purchase Agreement.pdf                  281008        4/19/2022 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79794              Qualified Assignment.pdf                326839        4/19/2022 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79794              Searches.pdf                               5728      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79794              Settlement Docs.pdf                     352512        4/19/2022 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79794              Social Security Card.pdf              3368073         4/26/2022 7:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79794              Stipulation.pdf                       3351838         4/26/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79794              UCC.pdf                                  83237       10/9/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79796              404A.pdf                                203428       10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79796              79796 Anderson, Dwanna.tv5                 9987      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79796              Annuity doc with policy number.pdf    1874712        4/20/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79796              Annuity doc.pdf                       1018147        4/20/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79796              Application.pdf                          44187      12/22/2021 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79796              Assignment.pdf                          172820        5/9/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79796              certificate -.pdf                       196164       10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79796              Court Order.pdf                       2449260        4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79796              Credit Report udpated.pdf                68961       10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79796              Credit Report.pdf                        65658       10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79796              Divorce Decree.PDF                    2049975        10/9/2024 22:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79796              DL.pdf                                  739965       4/20/2022 14:32




                                                                2353
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                                       3467



               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79796              Payees Request to Conceal.pdf           18310      12/22/2021 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79796              pi docket.pdf                        2518447         5/6/2022 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79796              Pleadings.pdf                        1715402        4/20/2022 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79796              Proof of Service.pdf                   258072       4/26/2022 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79796              Purchase Agreement.pdf                 444486       4/20/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79796              Searches updated.pdf                      9424      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79796              Searches.pdf                              9385      10/9/2024 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79796              SS Card.pdf                          1718036         5/9/2022 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79796              Stipulation.pdf                      2381557         5/9/2022 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79796              UCC.pdf                                204905       10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79800              79800 Williams, Dustin.tv5              10778       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79800              Application.pdf                         42832       4/20/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79800              Assignment.pdf                         171286       4/26/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79800              Court Order.pdf                      4046306        4/25/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79800              Credit.pdf                              77808       3/16/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79800              Declaration.pdf                        405393       4/20/2022 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79800              Disclosure - AZ.pdf                    115742       4/20/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79800              Docusign Certificate 0CA.pdf           192152       10/9/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79800              Docusign Certificate 298.pdf           193368       10/9/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79800              Docusign Certificate 414.pdf           191252       10/9/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79800              Docusign Certificate A27.pdf           192994       10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79800              Docusign Certificate F90.pdf           190847       10/9/2024 19:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79800              Drivers License.pdf                    286311       4/20/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79800              Pleadings.pdf                        2348570        4/20/2022 12:15




                                                                2354
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                                       3467



               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79800              Purchase Agreement Holdtime.pdf            472437      10/9/2024 20:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79800              Purchase Agreement.pdf                     267892      4/20/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79800              Qualified Assignement.pdf                  321527      4/20/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79800              Searches.pdf                                83487      4/20/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79800              Social Security Card.pdf                   129042      4/20/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79800              Stipulation.pdf                          2021218       4/25/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79800              UCC Search.pdf                           3222432       4/20/2022 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79800              Williams Assignment.docx                    26433      4/25/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79800              Williams Closing Binder.pdf              5752097       4/20/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79801              79801 Brewer, Kywanna.tv5                   10261      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79801              Affidavit.pdf                              362413      4/19/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79801              Annuity Contract.pdf                        86149      8/27/2020 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79801              Application.pdf                            115002      10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79801              Assignment Johnson.pdf                      75883      4/21/2022 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79801              Closing Binder.pdf                      16927336       4/19/2022 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79801              Confirmation of Bene.pdf                    22417      4/19/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79801              Court Order.pdf                            380103      10/9/2024 20:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79801              Credit Report.pdf                           46097      4/20/2022 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79801              Disclosure NJ.pdf                        1152425       4/19/2022 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79801              Disclosure PA.pdf                        1728937       4/19/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79801              DocuSign Cert - Closing Statement.pdf      282785      4/21/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79801              Fasano Report.pdf                          119584      3/21/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79801              HIPAA.pdf                                  146649      4/20/2022 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79801              Identification.pdf                         157798      4/22/2022 13:48




                                                                2355
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2357 of
                                       3467



               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79801              Medical Questionnaire.pdf              278584       4/20/2022 16:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79801              Pleadings.pdf                        2423954        4/19/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79801              Purchase Agreement.pdf               7790201        4/19/2022 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79801              Searches.pdf                            43457       4/20/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79801              Settlement Agreement.pdf               180446       8/27/2020 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79801              SSN Verification.pdf                    80073       7/10/2019 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79801              Stipulation.pdf                      2187016        4/20/2022 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79801              UCC Search.pdf                          29730       4/20/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79802              4467.pdf                               198586       10/9/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79802              79802 Lynch, Christine.tv5                9987      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79802              A1A5.pdf                               194442       10/9/2024 19:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79802              AC.pdf                                 552700       4/20/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79802              Application.pdf                         46173       3/22/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79802              Court Order.pdf                        305114        4/20/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79802              Credit Report.pdf                       22348       3/22/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79802              Disclosure SC.pdf                      168521       3/22/2022 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79802              DL.pdf                               2329073        4/20/2022 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79802              EA7F.pdf                               193612       10/9/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79802              OAS.pdf                                313983       4/20/2022 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79802              Personal-Bankruptcies-Search.pdf          4294      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79802              Personal-Judgments.pdf                    4169      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79802              Personal-Liens-Search.pdf                 2992      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79802              Pleadings.pdf                          987010       4/20/2022 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79802              POR 1 apt lease.pdf                    475257       10/9/2024 20:48




                                                                2356
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2358 of
                                       3467



               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79802              Proof of SSN.pdf                     1383407        4/27/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79802              QA.pdf                                 515885       4/20/2022 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79802              SA.pdf                                 937436       4/20/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79802              Searches.pdf                            10708       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79802              Stipulation.pdf                      2502217        4/27/2022 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79802              UCC.pdf                                 48715       10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79830              2F2E.pdf                               194513       10/9/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79830              79830 White, Jeremy.tv5                 10016       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79830              Application.pdf                        116185       4/21/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79830              Assignment.pdf                         172659       4/26/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79830              Benefits Letter.pdf                     29066        4/11/2022 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79830              child support 0 Balance.pdf            338504       10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79830              Confirms.pdf                           251702       4/20/2022 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79830              Credit Report.pdf                       42853       4/15/2022 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79830              Disclosure - revised.pdf                97592        4/26/2022 8:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79830              Disclosure Statement.pdf               158847       4/21/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79830              DL.pdf                               2384906        4/21/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79830              ecb7.pdf                               195121       10/9/2024 19:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79830              Personal-Judgments-Search.pdf             3340      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79830              Purchase Agreement - revised.pdf       254694        4/26/2022 8:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79830              Purchase Agreement.pdf                 485553       4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79830              Search.pdf                              18927       10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79830              SS card.pdf                          1931389        4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79830              ucc.pdf                                 82506       10/9/2024 18:28




                                                                2357
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                                       3467



               All Paths/Locations                                  Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79830              Updated Submission Docs.pdf               320168      4/13/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79830              W9.pdf                                  1076222       10/9/2024 21:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79831              79831 Alford, Christian.tv5                10178      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79831              Alford Assignment.docx                     26190       5/4/2022 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79831              Alford Closing Binder.pdf               7951474       4/21/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79831              Annuity Contract.pdf                      348452       5/4/2022 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79831              Application.pdf                            43092       4/22/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79831              Closing Statement draft updated.docx       33012       5/4/2022 16:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79831              Court Order.pdf                         1632441        5/4/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79831              Credit Report.pdf                          18519      3/23/2022 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79831              Disclosure - LA.pdf                       150331       4/22/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79831              Docusign Certificate 058.pdf              203446      10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79831              Docusign Certificate B21.pdf              399939      10/9/2024 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79831              Docusign Certificate BC7.pdf              196240      10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79831              Drivers License.pdf                       991055       5/4/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79831              PI Case Docket Search Attempt.pdf         228212       5/4/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79831              Pleadings.pdf                           7163334        4/22/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79831              Proof of SSN.pdf                          691501       5/4/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79831              Purchase Agreement.pdf                    332573       4/22/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79831              Searches.pdf                               81062       4/22/2022 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79831              Stipulation.pdf                           822837       5/4/2022 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79831              UCC Search.pdf                            532091       4/22/2022 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              79836 Jean, Edouard.tv5                    10174      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Annuity Contract.pdf                    2314090       4/22/2022 14:55




                                                                2358
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2360 of
                                       3467



               All Paths/Locations                                  Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Application.pdf                                   2254918       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Assignment Agreement Executed.pdf                    26096      4/28/2022 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Authorizations.pdf                                2061980       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Certification.pdf                                 2086747       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Closing Book Edouard Jean.pdf                    11271828        4/21/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Court Order.pdf                                     466389      4/28/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Credit Report.pdf                                 2076387       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Disclosure - FL.pdf                               2022067       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Disclosure - NJ.pdf                               2032340       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Docusign Certificate 042.pdf                        197849      10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Docusign Certificate 296.pdf                      2029558       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Docusign Certificate 5C9.pdf                        204717      10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Docusign Certificate AEB.pdf                        205593      10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Jean Assignment.docx                                 26088      4/28/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Lien and Bankruptcy Search.pdf                    2057225       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Nasp Search.pdf                                   2052030       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Order Approving Minors Settlement.pdf             2349839       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Petition for Approval of Minors Settlement.pdf    2139961       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Pleadings.pdf                                     8533560       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Purchase Agreement.pdf                            2368228       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Request for Change of Beneficiary.pdf             2116983       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Seller Identification.pdf                           305154      8/23/2022 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Social Security Card.pdf                          2110590       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              Stipulation.pdf                                   1968496       4/26/2022 10:32




                                                                2359
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2361 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79836              UCC Search.pdf                       2056795       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79841              79841 Albrektson, Shannon.tv5           10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79841              Albrektson Assignment.docx              26079       5/3/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79841              Albrektson Closing Binder.pdf        6041419        4/25/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79841              Annuity Contract.pdf                 3527538       5/19/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79841              Application.pdf                         46985      4/29/2022 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79841              Assignment.pdf                         167568      5/20/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79841              Court Order.pdf                        127734       5/3/2022 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79841              Credit Report.pdf                       45773      4/29/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79841              Disclosure - OH.pdf                     79723      4/25/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79841              Docusign Certificate 14A.pdf           203993      10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79841              Docusign Certificate 3CE.pdf           212338      10/9/2024 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79841              Docusign Certificate 4BB.pdf           200056      10/9/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79841              Docusign Certificate 770.pdf           197770      10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79841              Pleadings.pdf                        1030831       4/25/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79841              Purchase Agreement HoldTime.pdf        406560       5/3/2022 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79841              Purchase Agreement.pdf                 334598      4/25/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79841              Qualified Assignment.pdf             7612177       5/19/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79841              Searches.pdf                            82184       4/25/2022 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79841              Seller Identification.pdf              326053      4/25/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79841              Settlement Agreement.pdf             3110337       4/25/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79841              SSN Verification.pdf                   108789      4/29/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79841              Stipulation.pdf                      1729182       5/11/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79841              UCC Search.pdf                         513127       4/25/2022 9:59




                                                                2360
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2362 of
                                       3467



               All Paths/Locations                                   Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79845              79845 Grant-Upshaw, Joshua.tv5                  10023      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79845              Annuity Contract.pdf                         2849927       4/22/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79845              Application.pdf                                574392      4/22/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79845              Closing Binder.pdf                          11811912       4/22/2022 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79845              Disclosure - FL.pdf                            326306      4/22/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79845              Drivers License.pdf                            285339      4/22/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79845              Purchase Agreement.pdf                       2219978       4/22/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79845              Qualified Assignment.pdf                       869159      4/22/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79845              Seller Affidavit.pdf                           409926      4/22/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79845              Settlement Agreement Affidavit.pdf             293724      4/22/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79845              Social Security Card.pdf                       258141      4/22/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79912              2nd Updated - Closing Statement.pdf            406249      10/9/2024 20:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79912              79912 Watkins, Ethan.tv5                        10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79912              Application.pdf                                218552       3/9/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79912              Benefits Letter.pdf                            349834      6/18/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79912              Closing Binder.pdf                           2386549       4/27/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79912              Closing Statement - executed.pdf               202666      4/28/2022 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79912              Court Order.pdf                                 69369      4/28/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79912              Credit Report.pdf                               39354      4/27/2022 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79912              Disclosure CO.pdf                              130977       3/9/2022 15:18
Saiph consulting|\Audit Materials Received-   Divorce Docket showing Divorce happened
SuttonPark\Closing Binders\79912              before Settlement.pdf                          654647      8/16/2021 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79912              DocuSign Cert - 2nd Closing Statement.pdf      195139      10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79912              DocuSign Cert - 6199.pdf                       194813      10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79912              DocuSign Cert - Closing Statement.pdf          194564      10/9/2024 19:45




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2363 of
                                       3467



               All Paths/Locations                                  Unified Title             File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79912              DocuSign Cert - Updated Closing statement.pdf      195312       10/9/2024 19:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79912              Driver License.pdf                                 138440       6/18/2021 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79912              Pleadings.pdf                                      927387       4/27/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79912              Post-Order Letter Agreement.pdf                    264362       4/28/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79912              Proofs of Service.pdf                            1135707        4/28/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79912              Purchase Agreement.pdf                             357001       4/27/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79912              Release and Settlement Agreement.pdf               243986        8/24/2018 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79912              Searches.pdf                                        17118       4/27/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79912              Social Security Card.pdf                           142418        8/10/2021 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79912              Stipulation.pdf                                    852752       4/28/2022 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79912              UCC Search.pdf                                      57074       4/27/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79912              Updated - Closing Statement.pdf                    408079       10/9/2024 20:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79917              03bd.pdf                                           314791       10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79917              79917 Williams, Damya.tv5                           10018       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79917              Acknowledgment.PDF                                  74454       7/11/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79917              Application.pdf                                  1109812         5/11/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79917              Benefits letter.pdf                                596976        5/4/2022 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79917              Court Order.pdf                                    183766       10/9/2024 19:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79917              Credit Report.pdf                                   53412       4/15/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79917              Disclosure AL.pdf                                  180775       3/18/2022 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79917              DL.pdf                                           2101402          5/5/2022 8:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79917              Pleadings.pdf                                   12763305        4/27/2022 16:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79917              Purchase Agreement.pdf                             718655       4/27/2022 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79917              Searches.pdf                                          9379      10/9/2024 17:26




                                                                2362
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2364 of
                                       3467



               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79917              ssc.pdf                                           1492711        5/11/2022 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79917              ucc.pdf                                              48220      10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              79924 Curry, Daniel.tv5                              10008      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              Amend Decl.pdf                                      115524        5/5/2022 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              Application.pdf                                   1848194       7/29/2021 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              Closing Statement Curry Draft.pdf                   128688       5/2/2022 18:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              Court Order Amended.pdf                             213925      5/23/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              Court Order.pdf                                     246446      5/11/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              Credit Report.pdf                                    44858      4/25/2022 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              Disclosure CA - Amend.pdf                           186405        5/5/2022 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              Disclosure CA and NY - 2nd Amendment.pdf          2270168       5/18/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              Disclosure CA.pdf                                 2185588        4/28/2022 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              Disclosure NY - Amend.pdf                            84646        5/5/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              Disclosure NY.pdf                                   915338       4/28/2022 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              Docusign Certificate - d888.pdf                     305818      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              Driver License.pdf                                  231104      7/29/2021 15:09
Saiph consulting|\Audit Materials Received-   Income Verification Ltr Daniel Allen Curry Aug
SuttonPark\Closing Binders\79924              2023.pdf                                            157657      8/31/2023 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              MicroBilt-ssn.pdf                                   161199       5/4/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              noh.pdf                                           1999837       3/30/2022 12:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              Petition - Amend.pdf                              2539468       3/28/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              Pleadings.pdf                                    17465664        4/28/2022 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              POS.pdf                                             819249      3/30/2022 12:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              Purchase Agreement - 2nd Amendment.pdf            5102208       5/18/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              Purchase Agreement - amend.pdf                      260443        5/5/2022 9:02




                                                              2363
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2365 of
                                       3467



               All Paths/Locations                                   Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              Purchase Agreement.pdf                       6192517        4/28/2022 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              Qualified Assignment.pdf                       298621       4/28/2022 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              Searches.pdf                                   125725      4/25/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              Settlement Docket.PDF                           92684       5/5/2022 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79924              Stipulation 2nd amended.pdf                  1108777       5/26/2022 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79942              79942 Jones, Dahnari.tv5                        10143      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79942              Address Correction Confirmation 79942.pdf      282039      11/20/2023 7:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79942              Annuity Contract.pdf                         2808260       4/27/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79942              Application.pdf                                518011      4/27/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79942              Closing Binder.pdf                          12417686       4/27/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79942              Court Order.pdf                              1296759       4/27/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79942              Credit Report.pdf                              505055      4/27/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79942              Disclosure - IL.pdf                            298162      4/27/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79942              Disclosure - NY.pdf                            319833      4/27/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79942              Purchase Agreement.pdf                       2228720       4/27/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79942              Qualified Assignment.pdf                       724189      4/27/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79942              Request for Change of Beneficiary.pdf          155741      4/27/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79942              Searches.pdf                                    77934      4/27/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79942              Seller Affidavit.pdf                           463085      4/27/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79942              Seller Identification.pdf                      237876      4/27/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79942              Settlement Agreement Affidavit.pdf             388674      4/27/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79942              Social Security Card.pdf                       140923      4/27/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79942              Stipulation.pdf                                759397      4/27/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79942              UCC Search.pdf                                  71048      4/27/2022 15:51




                                                                2364
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2366 of
                                       3467



               All Paths/Locations                                   Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79943              79943 Jones, Darnell.tv5                    10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79943              Annuity Contract.pdf                     1925805       4/27/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79943              Application.pdf                          1203755       4/27/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79943              Closing Binder.pdf                      12701101       4/27/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79943              Court Order.pdf                          1095647       4/27/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79943              Credit Report.pdf                          665705      4/27/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79943              Disclosure - GA.pdf                        507627      4/27/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79943              Disclosure - IL.pdf                        492513      4/27/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79943              Purchase Agreement.pdf                   2277993       4/27/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79943              Qualified Assignment.pdf                   943469      4/27/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79943              Request for Annuity Documents.pdf          152437      4/27/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79943              Request for Change of Beneficiary.pdf      161812      4/27/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79943              revised Seller ID.pdf                      865929       5/4/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79943              Searches.pdf                                76353      4/27/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79943              Seller Affidavit.pdf                       463791      4/27/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79943              Seller Identification.pdf                  208764      4/27/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79943              Settlemetn Agreement Affidavit.pdf         386510      4/27/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79943              Stipulation.pdf                            965385      4/27/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\79943              UCC Search.pdf                              70530      4/27/2022 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              369A.pdf                                    73537       5/4/2022 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              4045.pdf                                    74631       5/4/2022 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              80236.tv5                                   10245      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              Affidavit.pdf                               98259       5/4/2022 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              Application.pdf                            198569       5/4/2022 11:49




                                                                2365
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2367 of
                                       3467



               All Paths/Locations                                 Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              Assignment Agreement Executed.pdf         46500      5/12/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              Authorization.pdf                         70567       5/4/2022 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              Closing Book - Shiannek Stewart.pdf   12490965        4/4/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              Court Order.pdf                          635184      5/11/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              Credit Report.pdf                        139567       5/4/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              Disclosure IL.pdf                         47326       5/4/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              Disclosure LA.pdf                         49687       5/4/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              Disclosure NE.pdf                         47732       5/4/2022 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              Driver License.pdf                     2472550        5/4/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              Fasano Report.pdf                        151777       5/4/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              HIPAA.pdf                                150201       5/4/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              Medical Questionnaire.pdf                160720       5/4/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              Notice of Rights.pdf                      39767       5/4/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              OAS.pdf                                  181630       5/4/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              Pleadings.pdf                          6694036        5/4/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              Prior Orders.pdf                       9283418        5/4/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              Purchase Agreement.pdf                 4144421        5/4/2022 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              Searches wtih correct ssn.pdf            159120       5/4/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              Searches.pdf                              56776       5/4/2022 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              SSC.pdf                                2565502        5/10/2022 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              Stipulation.pdf                        2187787       5/12/2022 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              UCC.pdf                                   50926       5/4/2022 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80236              W9.pdf                                    88849       5/4/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              80248 Hennessy, Patricia.tv5              10020      10/9/2024 17:31




                                                                2366
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2368 of
                                       3467



               All Paths/Locations                                  Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Acknowledgment.pdf                                 66979      6/13/2022 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Application.pdf                                    39532       5/5/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Assignment.pdf                                     73215      5/13/2022 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Bankruptcy Search.pdf                             168501       5/11/2022 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Benefits Letter.pdf                                49347       5/5/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Certificate of Marital Status updated.pdf         227212      5/11/2022 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Child Support Docket.pdf                          221643      5/16/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Court Order.pdf                                   124922       5/5/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Credit Report.pdf                                  20675       5/11/2022 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Declaration.pdf                                   121816       5/5/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Disclosure - IA.pdf                               104936       5/5/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Divorce Decree.pdf                              3846811       5/13/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Docusign Certificate 8W0.pdf                      107972       5/6/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Docusign Certificate CMS.pdf                      107296      5/11/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Docusign Certificate GWS.pdf                      108474      2/11/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Docusign Certificate LUK.pdf                      107432       2/8/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Docusign Certificate WY8.pdf                      105359      5/11/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Docusign Certificate YW.pdf                        82954       5/5/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Drivers License.pdf                               730333       5/5/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              General Release and Settlement Agreement.pdf    1072485       5/11/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Hennessy Closing Binder.pdf                     6973643        5/5/2022 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Pleadings.pdf                                   6088127       5/12/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Purchase Agreement.pdf                          1916829        5/5/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Request for Acknowledgment.pdf                    500874       5/5/2022 17:19




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2369 of
                                       3467



               All Paths/Locations                                 Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Searches.pdf                             616506       5/11/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Social Security Card.pdf               1219503        5/5/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80248              Statement of Dependents.pdf              120396       5/11/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80251              369A.pdf                                  73537       5/4/2022 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80251              4045.pdf                                  74631       5/4/2022 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80251              80251 Stewart, Shiannek.tv5               10240      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80251              Affidavit.pdf                             98259       5/4/2022 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80251              Application.pdf                          198569       5/4/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80251              Authorization.pdf                         70567       5/4/2022 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80251              Closing Book - Shiannek Stewart.pdf   12490965        4/4/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80251              Court Order.pdf                          635184      5/11/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80251              Credit Report.pdf                        139567       5/4/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80251              Disclosure IL.pdf                         47326       5/4/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80251              Disclosure LA.pdf                         49687       5/4/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80251              Disclosure NE.pdf                         47732       5/4/2022 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80251              Driver License.pdf                     2472550        5/4/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80251              Notice of Rights.pdf                      39767       5/4/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80251              OAS.pdf                                  181630       5/4/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80251              Pleadings.pdf                          6694036        5/4/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80251              Prior Orders.pdf                       9283418        5/4/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80251              Purchase Agreement.pdf                 4144421        5/4/2022 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80251              Searches wtih correct ssn.pdf            159120       5/4/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80251              Searches.pdf                              56776       5/4/2022 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80251              Stipulation.pdf                        2187787       5/12/2022 12:03




                                                                2368
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                                       3467



               All Paths/Locations                                  Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80251              UCC.pdf                                      50926        5/4/2022 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80251              W9.pdf                                       88849        5/4/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80267              80267 Shaffer, Cody.tv5                        9984      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80267              Amended Disclosure.pdf                      116645       5/12/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80267              Annuity Contract.pdf                        253807       3/15/2022 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80267              application.pdf                             100889       5/12/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80267              Assignment.pdf                              181200       5/12/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80267              Bankruptcy and Lien.pdf                        6168      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80267              Bills.pdf                                   804647        5/6/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80267              Confirmation of Beneficiary Change.pdf       36444        5/6/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80267              Court Order.pdf                           1416765        5/10/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80267              Credit Report.pdf                            43916       10/9/2024 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80267              Disclosure.pdf                              118621       2/23/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80267              docsign certs.pdf                           160085        5/13/2022 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80267              drivers license.pdf                         236096        5/6/2022 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80267              IPA.pdf                                      25644       2/22/2022 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80267              OAS.pdf                                      66969       3/15/2022 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80267              Pleadings.pdf                             4795263         5/6/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80267              POS.pdf                                   1707036        5/10/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80267              Purchase Agreement.pdf                      200942       2/23/2022 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80267              QA.pdf                                      329584       3/15/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80267              Sellers Affidavit.pdf                       213524        5/2/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80267              Settlement Agreement & Release.pdf          358031       3/15/2022 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80267              ssc.pdf                                   1330366        5/10/2022 13:38




                                                                2369
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2371 of
                                       3467



               All Paths/Locations                                 Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80267              Stipulation.pdf                                1775188        5/10/2022 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80267              UCC.pdf                                           53425       5/13/2022 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80285              80285 Mitchell, Lindsey.tv5                         9990      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80285              Affidavit.pdf                                    676544        5/8/2022 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80285              Annuity Contract.pdf                             272474       9/18/2020 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80285              Application.pdf                                1288859        3/21/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80285              Closing Binder.pdf                            11432778         5/8/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80285              Closing Statement - Unexecuted.pdf                44106       5/11/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80285              Court Order.pdf                                  236272        5/3/2022 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80285              Credit Report.pdf                                 16588        5/3/2022 15:20
Saiph consulting|\Audit Materials Received-   DD Affidavit Terminating Community Property
SuttonPark\Closing Binders\80285              Regime.pdf                                       298128      10/11/2021 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80285              Disclosure MS.pdf                                573334        5/8/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80285              Disclosure TX.pdf                                726863        5/8/2022 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80285              Divorce Docket.pdf                             1900701         5/9/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80285              Driver License.pdf                               791877       11/1/2021 15:06
Saiph consulting|\Audit Materials Received-   Joint Motion for Judgment of Separation of
SuttonPark\Closing Binders\80285              Property.pdf                                     291017      10/11/2021 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80285              Judgment of Separation of Property.pdf           326610      10/11/2021 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80285              pleadings.pdf                                  2172386        5/11/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80285              POS- Seller.pdf                                   79115       4/18/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80285              Purchase Agreement.pdf                         5019146         5/8/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80285              Searches.pdf                                      37188        5/8/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80285              Settlement Agreement.pdf                         461755       9/18/2020 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80285              Social Security Card.pdf                         767384       9/16/2020 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80285              Stipulation.pdf                                4358808        5/11/2022 11:03




                                                                2370
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2372 of
                                       3467



               All Paths/Locations                                 Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80285              UCC Search.pdf                                     30912       5/8/2022 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80289              80289 White, Jeremy.tv5                            10014      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80289              Application.pdf                                    47864      5/10/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80289              Benefits Letter.pdf                                29237       4/11/2022 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80289              Closing Binder.pdf                              3678548       5/10/2022 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80289              Confirmations - Change of Payee and Bene.pdf       63609       5/6/2022 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80289              Credit Report.pdf                                  42853      4/15/2022 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80289              Disclosure Statement.pdf                           58062      5/10/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80289              DocuSign Cert - F73C.pdf                          199201      10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80289              Driver License.pdf                              2384906       4/21/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80289              Purchase Agreement.pdf                            215857      5/10/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80289              Searches.pdf                                       47667      5/10/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80289              Social Security Card.pdf                        1931389       4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80289              Submission Docs.pdf                                58117        5/3/2022 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80289              UCC Search.pdf                                     82506      10/9/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80289              W9.pdf                                          1076222       10/9/2024 21:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80382              80382 Edwards, Andre.tv5                           10525      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80382              Acknowledgement - wrong CO date.pdf               276970       7/7/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80382              Acknowledgment - corrected.pdf                    274111       7/8/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80382              Affidavit.pdf                                     251518      5/12/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80382              Application.pdf                                   325275        3/9/2022 7:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80382              Assignment.pdf                                    131016      5/20/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80382              Benefits Letter.pdf                                50279      5/13/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80382              Closing Binder.pdf                             10564914       5/12/2022 13:33




                                                              2371
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2373 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80382              Closing Statement - Draft.pdf          128165      5/18/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80382              Closing Statement - Signed.pdf         687948      10/9/2024 21:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80382              Court Order.pdf                        146595       5/4/2022 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80382              Credit Report.pdf                       36634       5/5/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80382              Disclosue NY.pdf                       322661      5/12/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80382              Disclosure NJ.pdf                      273154      5/12/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80382              Disclosure VA.pdf                      298100      5/12/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80382              Identification Card.pdf                435963      10/9/2024 20:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80382              IPA Letter.pdf                         313731      5/12/2022 18:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80382              Partial Annuity Contract.pdf            29495     10/20/2021 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80382              Pleadings.pdf                        6173269       5/12/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80382              POR - Lease.pdf                      1281517       10/9/2024 21:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80382              Purchase Agreement.pdf               2231548       5/12/2022 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80382              Qualified Assignment.pdf             2112704      10/20/2021 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80382              Searches.pdf                            91704      5/12/2022 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80382              Settlement Agreement.pdf               522241      9/22/2021 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80389              80389 Jackson, Marycatherine.tv5        10404      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80389              application.pdf                         67396      3/29/2022 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80389              Court Order June 2022.pdf              288113       6/2/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80389              Credit Report.pdf                       38147      3/29/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80389              Disclosure.pdf                          88361      3/29/2022 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80389              Docusign Certifications.pdf            487035       6/9/2022 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80389              Jackson Assignment.pdf                 182030        6/7/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80389              LOD.pdf                                 17151      10/9/2024 17:40




                                                                2372
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2374 of
                                       3467



               All Paths/Locations                                 Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80389              Pleadings.pdf                             1041771       5/13/2022 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80389              Purchase Agreement.pdf                      314631      5/13/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80389              R&S.pdf                                     750065      1/12/2022 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80389              Sellers ID.pdf                              306360       6/3/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80389              SSC.pdf                                     625977      5/13/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80389              Stipulation.pdf                             952414        6/9/2022 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80422              80422 Wilson, Peggy.tv5                      10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80422              Acknowledgment.pdf                          350974      5/16/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80422              Affidavit.pdf                             2921169       5/16/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80422              Amended Affidavit.pdf                     1255655       5/16/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80422              Amended Disclosure.pdf                    1414697       5/16/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80422              Amended Purchase Agreement.pdf            4802258       5/16/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80422              Application.pdf                           1483353       5/16/2022 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80422              Assignment.pdf                              942498      5/16/2022 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80422              Closing Binder.pdf                       31182729        5/13/2022 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80422              Confirmation of Right Cancellation.pdf      232930      5/16/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80422              Court Order.pdf                             176312      5/16/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80422              Credit Report.pdf                            54558      5/16/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80422              Driver Lincense.pdf                         649642      5/16/2022 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80422              IPA.pdf                                     284575      5/16/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80422              Lien-Judgment Searches.pdf                   59621      5/16/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80422              Pleadings.pdf                            12818966       5/16/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80422              Proof Of SSN.pdf                            160582      5/19/2022 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80422              UCC Search.pdf                              110475      5/16/2022 13:00




                                                                2373
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                                       3467



               All Paths/Locations                                 Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80422              Win Letter.pdf                                   316974       5/16/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80422              ZIP Code USPS.pdf                                 64767       5/16/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              5D3A.pdf                                          71293        5/19/2022 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              80486 Ruiz, Adriana.tv5                             9984      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              Admin Fee Paid.pdf                                57532       5/17/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              Affidavit.pdf                                     90572        5/19/2022 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              Application.pdf                                  186354        5/19/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              Assignment Agreement Executed.pdf                 24325       5/19/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              Authorization.pdf                                 65397        5/19/2022 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              Benefits Letter.pdf                              270219        5/19/2022 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              Closing book - Adriana Ruiz.pdf               26259793        5/17/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              Petition FILED.pdf                             7128776        3/10/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              Unredacted docs.pdf                            5997787         4/4/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              AR FL NOH.pdf                                     13032        4/4/2022 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              AR FL Notice.pdf                                  76003        4/4/2022 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              Court Order.pdf                                  410046       5/17/2022 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              Credit Report.pdf                                122864        5/19/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              Disclosure CO.pdf                                 58804        5/19/2022 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              Disclosure FL.pdf                                 54982        5/19/2022 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              Disclosure GA.pdf                                 56587        5/19/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              Disclosure NE.pdf                                 60126        5/19/2022 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              Driver License.pdf                                93929        5/19/2022 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              OAS.pdf                                          251703        5/19/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              Petition - Exhibit D - Notice Of Filing.pdf      235646       5/11/2022 10:01




                                                               2374
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                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              Pleadings.pdf                       21907439        5/19/2022 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              POS - Seller.pdf                       554324      5/19/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              Prior Orders.pdf                     2498462        5/19/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              Purchase Agreement.pdf                 368527       5/19/2022 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              Searches.pdf                            57095       5/19/2022 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              SSC.pdf                              2566664        5/19/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              Stipulation - Fully Executed.pdf       159833      5/17/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80486              UCC Search.pdf                          51290       5/19/2022 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80492              80492 Hunter, Jenise.tv5                10142      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80492              Annuity Contract.pdf                 1425048       5/19/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80492              Assignment.pdf                         167839      5/31/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80492              Closing Statement draft.docx            34334      5/26/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80492              Court Order fully executed.pdf       2834879       5/31/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80492              Credit Report.pdf                       22654      5/19/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80492              Disclosure - AZ.pdf                    116038      5/19/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80492              Docusign Certificate 293.pdf           195255      10/9/2024 19:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80492              Docusign Certificate 978.pdf           193589      10/9/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80492              Docusign Certificate C58.pdf           192288      10/9/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80492              Docusign Certificate FD5.pdf           193206      10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80492              Drivers License.pdf                    716296      5/19/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80492              Hunter Assignment.docx                  26207      5/26/2022 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80492              Hunter Closing Binder.pdf            9003705       5/19/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80492              Payees Declaration.pdf                 273691      5/19/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80492              Pleadings updated.pdf                1734147       5/19/2022 15:42




                                                              2375
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                                       3467



               All Paths/Locations                                 Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80492              Prior Court Order JGW March 2022.pdf    2895888        5/26/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80492              Purchase Agreement Holdtime.pdf           508337       5/31/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80492              Qualified Assignement.pdf                 655228       5/19/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80492              Searches.pdf                               20270       5/19/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80492              Settlement Agreement.pdf                1295312        5/19/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80492              Social Security Card.pdf                  105320       5/26/2022 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80492              Stipulation.pdf                         2212113        5/26/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80492              UCC Search.pdf                            526224       5/19/2022 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80568              80568 Calhoun, Kiara.tv5                     9985      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80568              Allstate Docs.pdf                         453620       10/9/2024 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80568              Application.pdf                            42677        3/9/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80568              Assignment Executed.pdf                   189149        6/16/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80568              Bonus Letter.pdf                          340794       6/14/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80568              Closing Binder.pdf                      5529733        5/26/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80568              Closing Statement .pdf                    123964       6/16/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80568              Credit Report Calhoun.pdf                  25978       10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80568              Disclosure Statement.pdf                  117159        3/9/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80568              DocuSign Cert 408E.pdf                    198260       10/9/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80568              DocuSign Cert 5819.pdf                    195098       10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80568              Driver License.pdf                      1508200        5/26/2022 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80568              Final Court Order.pdf                     379267        6/7/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80568              PI Docket.pdf                             272182       1/24/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\80568              Pleadings.pdf                           2092258        5/26/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              LOD.pdf                                   119954       12/21/2022 9:35




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2378 of
                                       3467



               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              Medical Questionnaire.pdf              382509       12/21/2022 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              Name Change.pdf                         45958       12/21/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              Pacer.pdf                              378954       12/21/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              Purchase Agreement.pdf                 603733       12/21/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              Searches.pdf                           644543       12/21/2022 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              Settlement Agreement.pdf               179743       12/21/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81628              Stipulation.pdf                      7021652        12/21/2022 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81629              1954590_1_FinalPackage.pdf          16997538       10/31/2022 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81629              image001.png                            45837
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81629              81629 Benjamin, Tamatha.tv5               9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81629              Application.pdf                        949718      12/21/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81629              Assignment.pdf                         307350      12/21/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81629              Benefits Letter.pdf                    228300      12/21/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81629              Court Order Oct 2022.pdf             6896904       12/21/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81629              Credit Report.pdf                      106780      12/21/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81629              Disclosure.pdf                         477878      12/21/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81629              Docusign.pdf                           694520      12/21/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81629              Drivers License.pdf                    356505      12/21/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81629              Fasano.pdf                             159000      12/21/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81629              Funding disbursement sheet.pdf         175563      12/21/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81629              HIPAA.pdf                            1627451       12/21/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81629              IPA.pdf                                221838      12/21/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81629              Medical Questionnaire.pdf              233157      12/21/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81629              Notice of Hearing.pdf                  332657      12/21/2022 11:49




                                                                2377
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                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81629              Petition.pdf                            1547723      12/21/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81629              PI Docket.pdf                              98316     12/21/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81629              Proof of Service.pdf                       84770     12/21/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81629              Purchase Agreement.pdf                    399273     12/21/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81629              Searches.pdf                              657412     12/21/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81629              Seller Affidavit.pdf                      309041     12/21/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81630              1347558_1_FinalPackage.pdf             23338413       11/1/2022 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81630              81630 Hebert, Brian.tv5                    10258      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81630              AC - Partial.pdf                          356621     12/16/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81630              Application.pdf                           142808     12/16/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81630              Court Order.pdf                           723847     12/16/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81630              Declaration.pdf                           943386     12/16/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81630              Disclosure NH.pdf                          96190     12/16/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81630              Divorce.pdf                             1844364      12/16/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81630              DocuSign Cert 27C8.pdf                     72820     12/16/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81630              Driver License.pdf                      1542727      12/16/2022 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81630              Fasano Report.pdf                         124130     12/16/2022 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81630              HIPAA.pdf                                 333605     12/16/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81630              IPA Waiver.pdf                            115425     12/16/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81630              LOD.pdf                                    99108     12/16/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81630              Medical Questionnaire.pdf                 305610     12/16/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81630              POR.pdf                                 2396969      12/16/2022 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81630              POS.pdf                                   562495     12/16/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81630              Purchase Agreement.pdf                    245981     12/16/2022 13:27




                                                                 2378
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2380 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81630              Searche.pdf                           1238939      12/16/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81630              Settlement Doc.pdf                       95551     12/16/2022 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81630              SSN Verification - Hebert.pdf           261991       1/4/2023 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81630              Stipulation.pdf                      14042699      12/16/2022 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81630              W9.pdf                                  947531     12/16/2022 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81631              366029_1_FinalPackage.pdf            13298530       7/22/2022 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81631              81631 Sendejo, April.tv5                 10260      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81631              Annuity Contract.pdf                  1222791       12/8/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81631              Application.pdf                         295515      12/8/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81631              Court Order.pdf                         431888      12/8/2022 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81631              Credit Report.pdf                        48616      12/8/2022 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81631              Disclosure TX.pdf                        91109      12/8/2022 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81631              Divorce.pdf                           4951264       12/8/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81631              DocuSign Cert ADA7.pdf                   74468      12/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81631              DocuSign Cert 2FC2.pdf                   74532      12/8/2022 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81631              DocuSign Cert 8592.pdf                   74546      12/8/2022 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81631              Driver License.pdf                      235692      12/8/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81631              Fasano Report.pdf                       153376      12/8/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81631              HIPAA.pdf                               211257      12/8/2022 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81631              IPA Waiver.pdf                          116874      12/8/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81631              LOD.pdf                                  88524      12/8/2022 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81631              Medical Questionnaire.pdf               885058      12/8/2022 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81631              Proof of Service.pdf                    583121      12/8/2022 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81631              Purchase Agreement.pdf                  245468      12/8/2022 10:09




                                                                2379
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2381 of
                                       3467



               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81631              Qualified Assignment.pdf               565138       12/8/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81631              Req to conceal ID.pdf                   89353       12/8/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81631              Searches.pdf                           593776       12/8/2022 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81631              Settlement Agreement.pdf             1963764        12/8/2022 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81631              SSN Verification - Sendejo.pdf         644988        1/4/2023 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              261480_2_FinalPackage.pdf           16931992        11/7/2022 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              image001.png                              6527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              81632 Martinez, Steven.tv5              10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              Annuity Contract.pdf                 1135034       12/29/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              Application.pdf                        356322      12/29/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              Credit Report.pdf                      116305      12/29/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              Disclosure.pdf                         187218      12/29/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              Divorce.pdf                          2139540       12/29/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              Docusign.pdf                           145428      12/29/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              Drivers License.pdf                    395898      12/29/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              Fasano.pdf                             156508      12/29/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              Funding Disbursement Sheet.pdf         227746      12/29/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              HIPAA.pdf                              299332      12/29/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              Infants Compromise.pdf                 178981      12/29/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              IPA.pdf                                195497      12/29/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              LOD.pdf                                182309      12/29/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              Medical Questionnaire.pdf              439769      12/29/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              Notice of Filing.pdf                   298128      12/29/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              Pacer.pdf                              664811      12/29/2022 13:47




                                                               2380
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2382 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              Petition.pdf                         1522623      12/29/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              Proof of Service.pdf                   873406     12/29/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              Purchase Agreement.pdf                 296166     12/29/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              Searches.pdf                           620058     12/29/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              Settlement Agreement .pdf              257715     12/29/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              Settlement Agreement 92.pdf            257715     12/29/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              Settlment Agreement 93.pdf             301976     12/29/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              Ssn.pdf                                152432     12/29/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              Stipulation.pdf                      5578385      12/29/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81632              W9.pdf                                 276132     12/29/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81633              81633 Collier, Donald.tv5               10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81633              915842_3_FinalPackage.pdf           11041068       11/9/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81633              Annuity Contract.pdf                   130139     12/29/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81633              Application.pdf                        300786     12/29/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81633              Complaint.pdf                          401697     12/29/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81633              Court Order.pdf                      3840498      12/29/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81633              Credit Report.pdf                      159616     12/29/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81633              Disclosure.pdf                         335463     12/29/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81633              Docusign.pdf                           160916     12/29/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81633              Fasano.pdf                             144338     12/29/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81633              Funding disbursement sheet.pdf         189081     12/29/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81633              GA Payee's Statement .pdf              169976     12/29/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81633              HIPAA.pdf                              555437     12/29/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81633              IPA.pdf                                196942     12/29/2022 13:17




                                                                2381
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                                       3467



               All Paths/Locations                                Unified Title                File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81633              LOD.pdf                                             179278      12/29/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81633              Medical Questionnaire.pdf                         1034046       12/29/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81633              Order on Petition.pdf                               133508      12/29/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81633              Pacer.pdf                                           481553      12/29/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81633              Purchase Agreement.pdf                              266834      12/29/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81633              Searches.pdf                                        488281      12/29/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81633              Settlement Agreement.pdf                            453857      12/29/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81633              Settlement docs.pdf                                 676016      12/29/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81633              SSN.pdf                                              97016      12/29/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              1912878_1_FinalPackage.pdf                        8688084        6/28/2022 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              image001.png                                           6527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              81634 Robinson, Tyler.tv5                            10261       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              Annuity Contract.pdf                                701060       12/8/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              Application.pdf                                     239713       12/8/2022 10:39
Saiph consulting|\Audit Materials Received-   Assignment Agreement Structured Originations -
SuttonPark\Closing Binders\81634              Catalina.pdf                                        147150       12/8/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              BK Searches.pdf                                      97140       12/8/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              Court Order.pdf                                     689318       12/8/2022 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              Credit Report.pdf                                    42819       12/8/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              Disclosure PA.pdf                                    81842       12/8/2022 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              DocuSign Cert 085B.pdf                               75177       12/8/2022 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              DocuSign Cert 7385.pdf                               73738       12/8/2022 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              Fasano Report.pdf                                   151966       12/8/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              HIPAA.pdf                                           191011       12/8/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              Identification Card.pdf                             835980       12/8/2022 10:41




                                                             2382
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2384 of
                                       3467



               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              Important Notice.pdf                              65963      12/8/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              IPA Waiver.pdf                                    87849      12/8/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              Medical Questionnaire.pdf                        267480      12/8/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              Payees Affidavit in support of petition.pdf       71419      12/8/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              POR.pdf                                        1745282       12/8/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              Proof of Service.pdf                           2962625       12/8/2022 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              Purchase Agreement.pdf                           172682      12/8/2022 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              Qualified Assignment.pdf                         275963      12/8/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              Request for Ack.pdf                               99213      12/8/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              Searches.pdf                                     494648      12/8/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              Settlement Agreement.pdf                         521747      12/8/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81634              SSN - Robinson.pdf                               176141        1/5/2023 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81635              796443_12_FinalPackage.pdf                    35881109      11/10/2022 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81635              81635 McKenith, Tyrone.tv5                        10262      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81635              Agreement.pdf                                  6654810       12/28/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81635              Amended Settlement Agreement.pdf                 877860      12/28/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81635              Application.pdf                                  497502      12/28/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81635              Benefits Letter.pdf                            2075121       12/28/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81635              Court Order Nov 2022.pdf                       1005084       12/28/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81635              Credit Report.pdf                                 82095      12/28/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81635              Disclosure.pdf                                   547914      12/28/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81635              Docusign.pdf                                     189418      12/28/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81635              Drivers License.pdf                            5544898       12/28/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81635              Fasano.pdf                                       159308      12/28/2022 9:15




                                                               2383
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                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81635              Funding dispursement sheet.pdf         299583      12/28/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81635              GA Payee Statement.pdf                 142036      12/28/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81635              HIPAA.pdf                              475541      12/28/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81635              IPA.pdf                                280161      12/28/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81635              LOD.pdf                                227448      12/28/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81635              Medical Questionnaire.pdf            3415661       12/28/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81635              PACER.pdf                              381610      12/28/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81635              Proof of Service.pdf                 1946657       12/28/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81635              Purchase Agreement.pdf                 264079      12/28/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81635              Searches.pdf                         1827760       12/28/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81635              Settlement Docs.pdf                 10852781       12/28/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81635              Stipulation.pdf                     10638341         1/9/2023 8:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81636              81636 Montgomery, Carina.tv5            10023      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81636              871689_6_FinalPackage.pdf           25947701       11/7/2022 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81636              Application.pdf                        464756     12/29/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81636              Benefits Letter.pdf                  9942244      12/29/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81636              Court Order Nov 2022.pdf               738747     12/29/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81636              Credit Report.pdf                      111039     12/29/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81636              Disclosure.pdf                         176029     12/29/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81636              Divorce.pdf                            135477     12/29/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81636              Docusign.pdf                           146598     12/29/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81636              Drivers License.pdf                  5064865      12/29/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81636              Fasano.pdf                             147111     12/29/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81636              Funding disbursement sheet.pdf         226400     12/29/2022 10:31




                                                                2384
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2386 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81636              HIPAA.pdf                              328204     12/29/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81636              IPA.pdf                                198738     12/29/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81636              LOD.pdf                                217751     12/29/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81636              Medical Questionnaire.pdf              348569     12/29/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81636              Pacer.pdf                              339826     12/29/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81636              Purchase Agreement.pdf                 300504     12/29/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81636              Searches.pdf                           640123     12/29/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81636              Settlement Agreement.pdf               641004     12/29/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81636              Settlement Docs.pdf                  1953634      12/29/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81636              SSN Verification - Montgomery.pdf      268223       1/5/2023 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81637              81637 Traurig, Christy.tv5              10451      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81637              945243_1_FinalPackage.pdf           27827834      10/28/2022 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81637              Annuity Contract.pdf                   379716      12/20/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81637              Application.pdf                      5403456       12/20/2022 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81637              BK Search.pdf                          235861      12/20/2022 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81637              Court Order.pdf                      1163014       12/20/2022 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81637              Credit Report.pdf                       41762     12/20/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81637              Disclosure FL - 8-11-22.pdf          1130949       12/20/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81637              Disclosure FL.pdf                    2307265       12/20/2022 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81637              Divorce Decree.pdf                   1253389       12/20/2022 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81637              Fasano Report.pdf                      155095      12/20/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81637              HIPAA.pdf                           11562118       12/20/2022 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81637              Identification Card.pdf              5238584       12/20/2022 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81637              IPA Waiver.pdf                       1852090       12/20/2022 9:46




                                                               2385
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                                       3467



               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81637              LOD.pdf                                    831421      12/20/2022 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81637              Medical Questionnaire.pdf               14101450       12/20/2022 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81637              Purchase Agreement.pdf                   7272335       12/20/2022 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81637              Qualified Assignment.pdf                   215706      12/20/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81637              Searches.pdf                               508601     12/20/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81637              Settlement Agreement.pdf                 1919811       12/20/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81637              SSN Verification.pdf                       249638     12/20/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81637              Transaction Faciltation Agreement.pdf    2313489       12/20/2022 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81637              W9.pdf                                     659232      12/20/2022 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81638              1327478_8_FinalPackage.pdf               5266400       7/18/2022 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81638              81638 Green, Micah.tv5                      10689      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81638              Ack of Service.pdf                          86856      12/8/2022 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81638              Application.pdf                            215371      12/8/2022 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81638              Benefits Letter.pdf                         74140      12/8/2022 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81638              BK Search.pdf                              202892      12/8/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81638              Court Order.pdf                          1044410       12/8/2022 10:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81638              Credit Report.pdf                           43505      12/8/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81638              Disclosure GA.pdf                           97277      12/8/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81638              Disclosure NY.pdf                           94610      12/8/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81638              DL and SSC.pdf                             924277      12/8/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81638              DocuSign Cert 484D.pdf                      74027      12/8/2022 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81638              DocuSign Cert 8668.pdf                      73836      12/8/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81638              DocuSign Cert 92FB.pdf                      74449      12/8/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81638              Driver License.pdf                         711651      12/8/2022 11:21




                                                               2386
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2388 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81638              Fasano Report.pdf                       154959      12/8/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81638              HIPAA.pdf                               205205      12/8/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81638              IPA Waiver.pdf                          115691      12/8/2022 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81638              LOD.pdf                                  96280      12/8/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81638              Medical Questionnaire.pdf               371510      12/8/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81638              Payees Statement - GA.pdf                81601      12/8/2022 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81638              Purchase Agreement.pdf                  245846      12/8/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81638              Searches.pdf                            631562      12/8/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81638              Settlement Agreement.pdf                353442      12/8/2022 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              1390477_1_FinalPackage.pdf           23877323      10/24/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              81639 Rice, Josea.tv5                    10016      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              Annuity Contract.pdf                    371084      12/8/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              Application.pdf                         468800      12/8/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              Benefits Letter.pdf                      40748      12/8/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              Child Support Order.pdf                 841055      12/8/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              Court Order.pdf                       4798160       12/8/2022 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              Credit Report.pdf                        43875      12/8/2022 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              Disclosure KY.pdf                       159355      12/8/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              DocuSign Cert 48F2.pdf                   73138      12/8/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              DocuSign Cert 71BD.pdf                   71066      12/8/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              DocuSign Cert E505.pdf                   72955      12/8/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              Driver License.pdf                    5666027       12/8/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              Fasano Report.pdf                       162466      12/8/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              HIPAA.pdf                               391750      12/8/2022 11:43




                                                               2387
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                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              IPA Waiver.pdf                           112708      12/8/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              LOD.pdf                                  114519      12/8/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              Medical Questionnaire.pdf                777393      12/8/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              Name Change Req.pdf                    1085875       12/8/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              OAS.pdf                                  419880      12/8/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              PI Docket.pdf                            221342      12/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              Proof of Service.pdf                  18780904       12/8/2022 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              Purchase Agreement.pdf                   244995      12/8/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              Searches.pdf                             717708      12/8/2022 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              SSN Verification - Rice.pdf              248312      12/13/2022 9:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81639              Stipulation.pdf                        6384872       12/8/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81640              302485_4_FinalPackage.pdf             13839699      10/25/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81640              81640 Roberts, Jennifer.tv5               10452      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81640              Application.pdf                          392946      12/7/2022 15:00
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81640              Information.pdf                          473029      12/7/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81640              Benefits Letter.pdf                      111529      12/7/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81640              Court Order.pdf                          690069      12/7/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81640              Credit Report.pdf                        205313      12/7/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81640              Disclosure - AZ.pdf                      346744      12/7/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81640              Disclosure - FL.pdf                      346924      12/7/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81640              Disclosure - MO.pdf                      345882      12/7/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81640              DocuSign Cert BEO.pdf                    126740      12/7/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81640              DocuSign Cert.pdf                        125901      12/7/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81640              Drivers License.pdf                      528611      12/7/2022 15:00




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                                       3467



               All Paths/Locations                                  Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81640              Fasano Report.pdf                              160127      12/7/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81640              IPA.pdf                                        252268      12/7/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81640              Marriage License.pdf                           231756      12/7/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81640              Purchase Agreement.pdf                       1403406       12/7/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81640              Questionnaire.pdf                            2736837       12/7/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81640              Registration.pdf                               453323      12/7/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81640              Searches.pdf                                   859263      12/7/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81640              Settlement Agreement.pdf                     1246101       12/7/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81640              Stipulation.pdf                              1022894       12/7/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81640              W-9.pdf                                      1371820       12/7/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81641              1889885_3_FinalPackage.pdf                   5637947      10/26/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81641              81641 Pearson, Ernest.tv5                       10262      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81641              Application.pdf                                314248      12/8/2022 12:12
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81641              Information.pdf                                272655      12/8/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81641              Authorization Provide Death Certicate.pdf      178372      12/8/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81641              Bankruptcy Search.pdf                          244140      12/8/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81641              Benefits Letter.pdf                            148040      12/8/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81641              Court Order.pdf                              1062502       12/8/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81641              Credit Report.pdf                              161642      12/8/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81641              Disclosure - TX.pdf                            278239      12/8/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81641              DocuSign Cert 2121.pdf                         125170      12/8/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81641              DocuSign Cert 6490.pdf                         125161      12/8/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81641              DocuSign Cert 7206.pdf                         123318      12/8/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81641              Fasano Report.pdf                              155913      12/8/2022 12:12




                                                                2389
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                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81641              Medical Addendum.pdf                    175285      10/9/2024 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81641              Questionnaire.pdf                       299815      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81641              Request Conceal Info.pdf                195468      12/8/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81641              Sanctions Search.pdf                    158330      12/8/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81641              Searches.pdf                            627842      12/8/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81641              Seller Identification.pdf             1102126       12/8/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81641              URC Report.pdf                          130228      12/8/2022 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              500953_2_FinalPackage.pdf             8710507      10/27/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              81642 Caruso, Dorothy.tv5                10261      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              Annuity Contract.pdf                    256005     12/20/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              Application.pdf                         204559     12/20/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              BK Search.pdf                           235791     12/20/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              Court Order.pdf                      14068458      12/20/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              Credit Report.pdf                        45153     12/20/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              Disclosure GA.pdf                        96997     12/20/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              Disclosure IL.pdf                        94589     12/20/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              DocuSign Cert E440.pdf                   72153     12/20/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              DocuSign Cert EB15.pdf                   71743     12/20/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              Driver License.pdf                      844599     12/20/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              Fasano Report.pdf                       153209     12/20/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              HIPAA.pdf                               227074     12/20/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              IPA Waiver.pdf                          114233     12/20/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              LOD.pdf                                 106813     12/20/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              Marriage License.pdf                    237748     12/20/2022 11:38




                                                               2390
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2392 of
                                       3467



               All Paths/Locations                                Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              Medical Questionnaire.pdf               309343     12/20/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              OAS.pdf                                 444057     12/20/2022 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              Payees Statement - GA.pdf                82220     12/20/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              POR.pdf                               1678181      12/20/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              Purchase Agreement.pdf                  243176     12/20/2022 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              QA.pdf                                  268610     12/20/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              Research Notes on Divorce.pdf            30830     12/20/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              Searches.pdf                            716982     12/20/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              SSN Verification.pdf                    210641     12/20/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              Stipulation.pdf                       1544719      12/20/2022 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81642              W9.pdf                                1942904      12/20/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81643              438378_4_FinalPackage.pdf             5627569       9/30/2022 20:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81643              81643 Tomlinson, Minnie.tv5              10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81643              Application.pdf                         319571      12/8/2022 16:10
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81643              Information.pdf                         183948      12/8/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81643              Bankruptcy Search.pdf                   426912      12/8/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81643              Benefits Letter.pdf                     219416      12/8/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81643              Court Order.pdf                         431597      12/8/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81643              Credit Report.pdf                       106662      12/8/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81643              Disclosure - NY.pdf                     153161      12/8/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81643              DocuSign Cert 02DE.pdf                  124272      12/8/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81643              DocuSign Cert 1960.pdf                  124832      12/8/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81643              DocuSign Cert 593D.pdf                  122884      12/8/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81643              DocuSign Cert E385.pdf                  122876      12/8/2022 16:10




                                                                2391
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2393 of
                                       3467



               All Paths/Locations                                  Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81643              Drivers License.pdf                               559361      12/8/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81643              Fasano Report.pdf                                 164282      12/8/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81643              Medical Addendum.pdf                              207696      12/8/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81643              Name Addendum.pdf                                  71166      12/8/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81643              Purchase Agreement.pdf                            578616      12/8/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81643              Questionnaire.pdf                                 285158      12/8/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81643              Searches.pdf                                      681685      12/8/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81643              Settlement Agreement.pdf                          270736      12/8/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81644              1626916_1_FinalPackage.pdf                     13942747       7/29/2022 20:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81644              81644 Leach, Jayme.tv5                             10016      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81644              Application.pdf                                   520234      12/9/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81644              Auth Direction To Provide Death Cert.pdf          162016      12/9/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81644              Authorization Release Person Information.pdf      161230      12/9/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81644              Bankruptcy Search.pdf                             157687      12/9/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81644              Benefits Letter.pdf                                87756      12/9/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81644              Court Order.pdf                                   282432      12/9/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81644              Disclosure - MT.pdf                               156321      12/9/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81644              Disclosure - TX.pdf                               169715      12/9/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81644              DocuSign Cert 91AE.pdf                            160634      12/9/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81644              DocuSign Cert E460.pdf                            161135      12/9/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81644              Drivers License.pdf                             6369627       12/9/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81644              Fasano Report .pdf                                158085      12/9/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81644              HIPPA.pdf                                         291365      12/9/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81644              Irrevocable Durable POA.pdf                       173376      12/9/2022 12:37




                                                             2392
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2394 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81644              Marriage Cert .pdf                      193926      12/9/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81644              Medical Addendum.pdf                    194531      12/9/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81644              Purchase Agreement.pdf                  579720      12/9/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81644              Questionnaire.pdf                       386053      12/9/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81644              Request Personal Information.pdf        177684      12/9/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81644              Searches .pdf                         1858667       12/9/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81644              Settlement Agreement.pdf                481279      12/9/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              81645 Steward, Jessica.tv5               10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              839025_2_FinalPackage.pdf            12643192        8/26/2022 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              Annuity Contract.pdf                    401741      12/9/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              Application.pdf                         187950      12/9/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              Authorization Discuss Info.pdf           84384      12/9/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              Bankruptcy Search.pdf                   101323      12/9/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              Benefits Letter.pdf                     164893      12/9/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              Court Order.pdf                         663402      12/9/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              Credit Report.pdf                       106371      12/9/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              Disclosure - MS.pdf                     121789      12/9/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              Divorce.pdf                             791141      12/9/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              DocuSign Cert F37F.pdf                   85210      12/9/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              Drivers License.pdf                   5805986       12/9/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              Fasano Report .pdf                      158041      12/9/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              HIPPA.pdf                               438916      12/9/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              Medical Addendum.pdf                    196781      12/9/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              Name Addendum.pdf                        82538      12/9/2022 16:22




                                                              2393
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2395 of
                                       3467



               All Paths/Locations                                Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              PI Docket.pdf                           179567       12/9/2022 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              Prior Court Orders.pdf                  380538       12/9/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              Purchase Agreement.pdf                1116798        12/9/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              Purchase Info.pdf                       641319       12/9/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              Questionnaire.pdf                       303078       12/9/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              Searches.pdf                            413723       12/9/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              Settlement Agreement Request.pdf        147845       12/9/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81645              Settlement Agreement.pdf                144549       12/9/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81646              78140_4_FinalPackage.pdf             17610511       10/26/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81646              image001.jpg                               5937
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81646              image002.gif                               1292
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81646              image003.gif                                184
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81646              image004.gif                               1274
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81646              image005.gif                               1269
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81646              81646 Glover, Frankie.tv5                10018       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81646              Acknowledgement.pdf                     270655       10/9/2024 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81646              Annuity Contract.pdf                  1912553         1/3/2023 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81646              Application.pdf                         222852        1/3/2023 17:22
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81646              Information.pdf                         184456        1/3/2023 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81646              Credit Report.pdf                       196400        1/3/2023 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81646              Disclosure.pdf                          167176        1/3/2023 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81646              Drivers License.pdf                      93283        1/3/2023 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81646              Fasano.pdf                              148063        1/3/2023 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81646              HIPPA.pdf                               269872        1/3/2023 17:22




                                                               2394
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2396 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81646              Medical Addendum.pdf                   343304       1/3/2023 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81646              Medical Questionnaire.pdf            1295741        1/3/2023 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81646              PI Docket.pdf                          333828       1/3/2023 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81646              Purchase Agreement.pdf                 610040       1/3/2023 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81646              Searches.pdf                         1005064        1/3/2023 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81646              Settlement Agreement.pdf             2861518        1/3/2023 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81646              SS Proof.pdf                           102888       1/3/2023 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81646              UCC Search.pdf                         184616       1/3/2023 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              1004670_16_FinalPackage.pdf         16967497      10/28/2022 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              81647 Jones, Duvaughn.tv5               10449      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              AC Schedule.pdf                         55659     12/20/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              Application.pdf                        215906     12/20/2022 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              BK Search.pdf                          272705     12/20/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              Court Order.pdf                        784954     12/20/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              Credit Report.pdf                       43989     12/20/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              Disclosure NY.pdf                       92490     12/20/2022 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              Disclosure PA.pdf                       85342     12/20/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              DL - Blair.pdf                         282549     12/20/2022 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              DocuSign Cert 320A.pdf                  74184     12/20/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              DocuSign Cert 42A2.pdf                  70393     12/20/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              DocuSign Cert 8691.pdf                  75608     12/20/2022 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              DocuSign Cert B792.pdf                  72020     12/20/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              Fasano Report.pdf                      124358     12/20/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              HIPAA.pdf                              186632     12/20/2022 14:25




                                                               2395
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                                       3467



               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              Identification Card.pdf                4844014      12/20/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              Important Notice - PA.pdf                 80179     12/20/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              IPA Waiver.pdf                           116629     12/20/2022 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              LOD.pdf                                  106714     12/20/2022 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              Medical Questionnaire.pdf                320883     12/20/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              Payees Affidavit.pdf                     129810     12/20/2022 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              POR.pdf                                  289286     12/20/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              Proof of Service.pdf                   1033775      12/20/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              Purchase Agreement.pdf                   245584     12/20/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              Searches.pdf                             467150     12/20/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              Settlment.pdf                          2943845      12/20/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              SSN Verification.pdf                     211774     12/20/2022 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81647              Stipulation.pdf                        8593127      12/20/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81648              667741_2_FinalPackage.pdf              7631921       10/5/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81648              81648 Chavez, Vanessa.tv5                 10260      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81648              Application.pdf                          677631       1/4/2023 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81648              Benefits Letter.pdf                       81760       1/4/2023 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81648              Court Order.pdf                          854670       1/4/2023 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81648              Credit Report.pdf                        105314       1/4/2023 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81648              Disclosure - TX.pdf                      362114       1/4/2023 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81648              Drivers License.pdf                      424064       1/4/2023 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81648              Fasano Report.pdf                        156930       1/4/2023 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81648              HIPPA.pdf                                351422       1/4/2023 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81648              Judgment 81648.pdf                       258463      10/9/2024 20:12




                                                                2396
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2398 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81648              LC Medical Addendum.pdf                 344178       1/4/2023 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81648              Medical Questionnaire.pdf             1000633        1/4/2023 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81648              Pacer.pdf                               682371       1/4/2023 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81648              Proof of Tracking.pdf                   145542       1/4/2023 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81648              Purchase Agreement.pdf                  312903       1/4/2023 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81648              Searches.pdf                            638466       1/4/2023 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              81649 Symonds, Tera.tv5                  10259      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              988914_2_FinalPackage.pdf            16393094      10/31/2022 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              Affidavit.pdf                           128976      12/21/2022 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              Annuity Contract.pdf                  1608555       12/21/2022 8:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              Application.pdf                         405666      12/21/2022 8:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              Benefits Letter.pdf                      52569      12/21/2022 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              BK Search.pdf                           235141      12/21/2022 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              Court Order.pdf                         816787      12/21/2022 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              Credit Report.pdf                        46536      12/21/2022 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              Disclosure NY.pdf                        97359      12/21/2022 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              DocuSign Cert 51AA.pdf                   72114      12/21/2022 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              DocuSign Cert EB25.pdf                   73094      12/21/2022 7:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              Driver License.pdf                      376779      12/21/2022 8:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              HIPAA.pdf                               525692      12/21/2022 8:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              Infant Compromise.pdf                   313936      12/21/2022 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              IPA.pdf                                  49718      12/21/2022 8:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              LOD.pdf                                 202771      12/21/2022 8:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              Medical Questionnaire.pdf               764515      12/21/2022 8:13




                                                              2397
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2399 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              POD of NY Disc.pdf                      84131      12/21/2022 8:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              POR.pdf                             12896937       12/21/2022 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              POS.pdf                              2551025       12/21/2022 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              Purchase Agreement.pdf                 408200      12/21/2022 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              Search.pdf                             541759      12/21/2022 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              SS Death Index.pdf                      96949      12/21/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              SSN Verification - Assronti.pdf        249899       1/5/2023 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              Stipulation.pdf                        750112      12/21/2022 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81649              W9.pdf                                  97538      12/21/2022 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              352946_15_FinalPackage.pdf          15070317      11/10/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              81650 Hanitz, Keli.tv5                  10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              Annuity Contract.pdf                   701108      7/26/2024 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              Application.pdf                        184238     12/21/2022 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              BK Search.pdf                          325065     12/21/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              COB Request.pdf                         75131     12/21/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              Court Order.pdf                      1440659      12/21/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              Credit Report.pdf                       56804     12/21/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              Disclosure FL 10-14.pdf                 85744     12/21/2022 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              Disclosure FL.pdf                      113216     12/21/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              DocuSign Cert 000D.pdf                  60423     12/21/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              DocuSign Cert 1EBF.pdf                  62205     12/21/2022 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              DocuSign Cert 3C16.pdf                  62204     12/21/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              DocuSign Cert 4159.pdf                  59671     12/21/2022 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              DocuSign Cert 6627.pdf                  59659     12/21/2022 10:49




                                                                2398
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2400 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              DocuSign Cert 899F.pdf                   59656     12/21/2022 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              DocuSign Cert C369.pdf                   59999     12/21/2022 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              Driver License.pdf                    1197656      12/21/2022 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              Fasano Report.pdf                       117979     12/21/2022 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              HIPAA.pdf                               234334     12/21/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              IPA Waiver.pdf                          108500     12/21/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              LOD.pdf                                  79692     12/21/2022 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              Marriage Cert.pdf                       128770     12/21/2022 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              Medical Questionnaire.pdf             3422591      12/21/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              Purchase Agreement.pdf                  261689     12/21/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              Qualified Assignment.pdf                757650     12/21/2022 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              Searches Comprehensive.pdf              734001     12/21/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              Searches.pdf                            323818     12/21/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              Settlement Agreement.pdf                453861     12/21/2022 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              SSN.pdf                                 451119     12/21/2022 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81650              Stipulation.pdf                       9616361      12/21/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81652              275135_4_FinalPackage.pdf             6638268       6/17/2022 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81652              81652 Eubanks, Tommie.tv5                10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81652              Application.pdf                         360784       1/5/2023 16:14
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81652              Information.pdf                         210083       1/5/2023 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81652              Benefits Letter.pdf                      94059       1/5/2023 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81652              Change of Address.pdf                   868146       1/5/2023 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81652              Court Order.pdf                         310870       1/5/2023 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81652              Credit Report.pdf                       112332       1/5/2023 16:14




                                                                2399
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2401 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81652              Disclosure - GA.pdf                    177913       1/5/2023 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81652              Divorce.pdf                          1271146        1/5/2023 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81652              DouuSign Cert.pdf                       82377       1/5/2023 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81652              Drivers License.pdf                    422747       1/5/2023 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81652              Fasano Report.pdf                      159758       1/5/2023 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81652              HIPPA.pdf                              184403       1/5/2023 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81652              LC Medical Addenum.pdf                 273788       1/5/2023 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81652              Pacer.pdf                              129417       1/5/2023 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81652              Proof of Tracking.pdf                  200727       1/5/2023 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81652              Purchase Agreement.pdf                 712722       1/5/2023 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81652              Questionnaire.pdf                      380891       1/5/2023 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81652              Searches.pdf                           667069       1/5/2023 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81652              Settlement Agreement.pdf             1556420        1/5/2023 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81653              1334706_1_FinalPackage.pdf          14131264      10/31/2022 18:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81653              81653 LaHocki, Cody.tv5                 10259      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81653              Annuity Contract.pdf                 2737748      12/21/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81653              Application.pdf                      1655679      12/21/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81653              Court Order.pdf                        878769     12/21/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81653              Disclosure VA.pdf                       93553     12/21/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81653              DL.pdf                               1404142      12/21/2022 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81653              DocuSign Cert.pdf                      282407     12/21/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81653              Exception report for SA.pdf             69636     12/21/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81653              Fasano Report.pdf                      132459     12/21/2022 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81653              HIPAA.pdf                              183859     12/21/2022 13:54




                                                             2400
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2402 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81653              IPA Waiver.pdf                         109694     12/21/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81653              LOD.pdf                                185955     12/21/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81653              Medical Questionnaire.pdf            3925460      12/21/2022 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81653              Objection Letter.pdf                   177241     12/21/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81653              Purchase Agreement.pdf                 244862     12/21/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81653              Searches.pdf                           617928     12/21/2022 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81653              SSN Verification - LaHocki.pdf         206917       1/5/2023 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              1943850_1_FinalPackage.pdf          19230900       10/7/2022 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              81654 Egelhoff, Anthony.tv5             10263      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              Application.pdf                        986308     12/21/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              Assignment.pdf                         277211     12/21/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              Benefit's Letter.pdf                   219784     12/21/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              Court Order Sept 2022.pdf              452887     12/21/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              credit report.pdf                       53703     12/21/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              Disclosure.pdf                       1673390      12/21/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              Docusign.pdf                           477041     12/21/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              Fasano.pdf                             161381     12/21/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              Funding disbursement sheet.pdf         200182     12/21/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              HIPAA.pdf                              522506     12/21/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              IPA.pdf                                408863     12/21/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              Lease agreement.pdf                  1450187      12/21/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              LOD.pdf                                195891     12/21/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              Medical Questionnaire.pdf              273173     12/21/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              Minor's Compromise.pdf                 603283     12/21/2022 14:30




                                                               2401
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2403 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              Pacer.pdf                              430230     12/21/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              Proof of Service.pdf                 1581731      12/21/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              Purchase Agreement Oct 2022.pdf        521788     12/21/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              Purchase Agreement.pdf                 543976     12/21/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              Searches.pdf                           882683     12/21/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              Seller Identification.pdf              747318     12/21/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              Settlement Agreement.pdf             4053932      12/21/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81654              SSN.pdf                                747318     12/21/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81655              1759002_4_FinalPackage.pdf           7514113       10/3/2022 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81655              81655 Campbell, Akeem.tv5               10261      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81655              Application.pdf                        291817     12/21/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81655              Benefits Letter.pdf                    301149     12/21/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81655              Court Order Oct 2022.pdf             1758933      12/21/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81655              Credit Report.pdf                      105630     12/21/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81655              Disclosure.pdf                         170553     12/21/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81655              Docusign.pdf                            81152     12/21/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81655              Fasano.pdf                             159103     12/21/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81655              Funding disbursement sheet.pdf         262283     12/21/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81655              HIPAA.pdf                              275329     12/21/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81655              IPA.pdf                                193360     12/21/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81655              LOD.pdf                                199475     12/21/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81655              Medical Questionnaire.pdf            2734376      12/21/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81655              Objection to Petition.pdf              213489     12/21/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81655              Pacer.pdf                              351152     12/21/2022 14:57




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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81655              PI Docket.pdf                          104202     12/21/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81655              Purchase Agreement.pdf                 261071     12/21/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81655              Searches.pdf                           828285     12/21/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81655              Seller Identification.pdf              237241     12/21/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81655              SSN Verification - campbell.pdf        181709     12/22/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81656              81656 Stewart, Jhousha.tv5              10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81656              845937_2_FinalPackage.pdf            7988874      10/28/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81656              Annuity Contract.pdf                   183166      12/29/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81656              Application.pdf                        405662      12/29/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81656              Benefits Letter.pdf                     78511      12/29/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81656              Court Order Oct 2022.pdf               287369      12/29/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81656              Credit Report.pdf                      120505      12/29/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81656              Disclosure.pdf                         265849      12/29/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81656              Docusign.pdf                           259842      12/29/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81656              Funding disbursement sheet.pdf         204963      12/29/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81656              HIPAA.pdf                              596743      12/29/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81656              Ipa.pdf                                196278      12/29/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81656              LOD.pdf                                179741      12/29/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81656              Medical Questionnaire.pdf            1293683       12/29/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81656              NASP.pdf                                73777      12/29/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81656              Pacer.pdf                              646193      12/29/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81656              Purchase Agreement.pdf                 333798      12/29/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81656              Searches.pdf                           809039      12/29/2022 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81656              Seller Identification.pdf              179425      12/29/2022 8:22




                                                               2403
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2405 of
                                       3467



               All Paths/Locations                                Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81656              Settlement Agreement.pdf                  356340      12/29/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81656              SSN Verification Jhousha Stewart.pdf    1071860      12/16/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81656              Stipulation.pdf                           622767      12/29/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81658              793635_2_FinalPackage.pdf              15280426      10/13/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81658              Agreed Take Nothing Judgement.pdf         385620     12/28/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81658              Application.pdf                           656521     12/28/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81658              Benefits Letter.pdf                        97813     12/28/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81658              Court Order.pdf                         2765590      12/28/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81658              Credit Report.pdf                         106634     12/28/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81658              Disclosure.pdf                            584640     12/28/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81658              Docusign.pdf                              549130     12/28/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81658              Drivers License.pdf                     1249717      12/28/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81658              Fasano.pdf                                146539     12/28/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81658              Final Judgement.pdf                       200327     12/28/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81658              Funding disbursement information.pdf      213649     12/28/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81658              HIPAA.pdf                                 340327     12/28/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81658              Ipa.pdf                                   329298     12/28/2022 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81658              LOD.pdf                                   200451     12/28/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81658              Medical Questionnaire.pdf               2617765      12/28/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81658              Pacer.pdf                                 352758     12/28/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81658              PI Docket.pdf                             272790     12/28/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81658              Prior Deal Stipulation 2013.pdf           176666     12/28/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81658              Purchase Agreement.pdf                    303071     12/28/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81658              Searches.pdf                              602489     12/28/2022 15:46




                                                                2404
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2406 of
                                       3467



               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81658              Settlement Petition.pdf                       399363     12/28/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81658              SSN Verification Rekenia Simon.pdf          1688971      12/16/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81658              Stipulation.pdf                             1063317      12/28/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              1828899_5_FinalPackage.pdf                 10257663      10/27/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              81659.tv5                                      10245      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              Application.pdf                               422849     12/20/2022 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              Authorization to Release Information.pdf      178613     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              Bankruptcy Search.pdf                         681623     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              Benefits Letters.pdf                          513356     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              Court Order.pdf                               149650     12/20/2022 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              Disclosure - GA.pdf                           368443     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              DocuSign Certs of Completion.pdf              261242     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              Drivers License.pdf                           273928     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              Fasano Report.pdf                             163746     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              Medical Addendum.pdf                          408070     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              Medical Questionnaire.pdf                   1295944      12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              Notice of Transfer.pdf                         98763     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              Objection to Transfer.pdf                     209093     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              Package Submission Form.pdf                    79546     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              Payees Statement.pdf                          170311     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              Proof of Residency.pdf                        341579     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              Purchase Agreement.pdf                        341622     12/20/2022 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              Searches.pdf                                  990584     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              Settlement Docs.pdf                         1772477      12/20/2022 15:32




                                                                2405
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2407 of
                                       3467



               All Paths/Locations                                   Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              SSN Verification Crystal McCorvey.pdf      964765     12/16/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              Statement of Dependents.pdf                178786     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              Transunion Credit Report.pdf               109567     12/20/2022 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81659              Waiver of IPA.pdf                          198054     12/20/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81660              491011_3_FinalPackage.pdf               11892725      11/10/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81660              81660.tv5                                   10246      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81660              Application.pdf                            382674     12/28/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81660              Court Order Nov 2022.pdf                   470395     12/28/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81660              Credit Report.pdf                          103802     12/28/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81660              Disclosure.pdf                             568763     12/28/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81660              Divorce.pdf                                197164     12/28/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81660              Docusign.pdf                               223993     12/28/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81660              Fasano.pdf                                 152219     12/28/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81660              Funding disbursement sheet.pdf             194000     12/28/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81660              HIPAA.pdf                                  302026     12/28/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81660              Ipa.pdf                                    196075     12/28/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81660              LOD.pdf                                    224573     12/28/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81660              Marriage Cert.pdf                          303596     12/28/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81660              Medical Questionnaire.pdf                1634725      12/28/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81660              Pacer.pdf                                  426272     12/28/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81660              Purchase Agreement.pdf                     323493     12/28/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81660              Searches.pdf                             2193348      12/28/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81660              Seller Affidavit.pdf                       183678     12/28/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81660              Seller Identification.pdf                  570917     12/28/2022 15:09




                                                               2406
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2408 of
                                       3467



               All Paths/Locations                                Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81660              Spousal Memo.pdf                           105772      12/28/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81660              SSN Verification Pamala Ann Craig.pdf    1300739       12/16/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81660              Stipulation.pdf                            763653      12/28/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81660              W9.pdf                                     292938      12/28/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81661              724301_3_FinalPackage.pdf                5456097       10/24/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81661              image001.png                                  6527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81661              81661 Williams, Kaylla.tv5                    9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81661              Application.pdf                            325774      12/28/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81661              Court Order Oct 2022.pdf                   220700      12/28/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81661              credit report.pdf                           50286      12/28/2022 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81661              Disclosure.pdf                             147402      12/28/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81661              Divorce.pdf                                423437      12/28/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81661              Docusign.pdf                                94777      12/28/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81661              Drivers License.pdf                        835840      12/28/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81661              Fasano.pdf                                 103841      12/28/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81661              Funding Dispursment Sheet.pdf              194265      12/28/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81661              HIPAA.pdf                                  221942      12/28/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81661              Lod.pdf                                    188283      12/28/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81661              Marriage Cert.pdf                           23101      12/28/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81661              Medical Questionnaire.pdf                  415561      12/28/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81661              Pacer.pdf                                  334549      12/28/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81661              Purchase Agreement.pdf                     247503      12/28/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81661              Searches.pdf                               561922      12/28/2022 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81661              Settlement Agreement.pdf                   555962      12/28/2022 10:01




                                                                2407
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2409 of
                                       3467



               All Paths/Locations                                Unified Title           File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81661              Settlement Petition.pdf                        353922      12/28/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81661              SSN Verification Kaylla Renea Hiers.pdf      1091171       12/16/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81661              W9.pdf                                         307981      12/28/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81662              531655_1_FinalPackage.pdf                   14158070       10/10/2022 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81662              81662 Thibodeaux, Darik.tv5                       9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81662              Annuity Contract.pdf                           386542       12/22/2022 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81662              Application.pdf                                440647       12/22/2022 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81662              Court Order Oct 2022.pdf                     2844564        12/22/2022 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81662              Credit Report.pdf                              104047       12/22/2022 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81662              Disclosure.pdf                                 169257       12/22/2022 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81662              Docusign.pdf                                   161791       12/22/2022 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81662              Fasano.pdf                                     165193       12/22/2022 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81662              Funding disbursement sheet.pdf                 195177       12/22/2022 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81662              HIPAA.pdf                                      204498       12/22/2022 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81662              Ipa.pdf                                        197453       12/22/2022 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81662              LOD.pdf                                        237158       12/22/2022 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81662              Medical Questionnaire.pdf                      495537       12/22/2022 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81662              Pacer.pdf                                      387270       12/22/2022 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81662              Purchase Agreement.pdf                         302311       12/22/2022 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81662              Qualified Assignement.pdf                      514598       12/22/2022 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81662              Searches.pdf                                   735614       12/22/2022 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81662              Seller Identification.pdf                      386914       12/22/2022 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81662              Settlement Documents.pdf                       494963       12/22/2022 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81662              SSN Verification Darik Ray Thibodeaux.pdf    1861180       12/16/2022 13:01




                                                               2408
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               All Paths/Locations                                   Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81662              Stipulation.pdf                            3679626       12/22/2022 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81663              65679_17_FinalPackage.pdf                  8080466       11/9/2022 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81663              81663 - Maersch, Stephen.tv5                  10024      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81663              Application.pdf                              325247      12/22/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81663              Benefits Letter.pdf                          516974      12/22/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81663              Court Order Nov 2022.pdf                   1507257       12/22/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81663              Credit Report.pdf                            104796      12/22/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81663              Disclosure.pdf                               178707      12/22/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81663              Divorce.pdf                                  145259      12/22/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81663              Docusign.pdf                                  93375      12/22/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81663              Fasano.pdf                                   155219      12/22/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81663              Funding disbursement sheet.pdf                91466      12/22/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81663              HIPAA.pdf                                    307533      12/22/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81663              Ipa.pdf                                      217441      12/22/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81663              LOD.pdf                                      233953      12/22/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81663              Notice of Hearing.pdf                        224510      12/22/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81663              Pacer.pdf                                    339184      12/22/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81663              Purchase Agreement.pdf                       345832      12/22/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81663              Searches.pdf                                 689199      12/22/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81663              Seller Affidavit.pdf                         364572      12/22/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81663              Seller Identification.pdf                    374362      12/22/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81663              Settlement Agreement.pdf                     191418      12/22/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81663              SSN Verification Stephen Maersch Sr.pdf    1677195      12/16/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81664              76745_2_FinalPackage.pdf                   6684195      10/27/2022 13:00




                                                                2409
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                                       3467



               All Paths/Locations                                Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81664              81664 Sanders, Terrence.tv5                  10429      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81664              Annuity Contract.pdf                        111668      12/22/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81664              Application.pdf                             412308      12/22/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81664              Benefits Letter.pdf                         163420      12/22/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81664              Court Order Oct 2022.pdf                    736037      12/22/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81664              Credit Report.pdf                            84168      12/22/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81664              Disclosure.pdf                              257338      12/22/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81664              Docusign.pdf                                 82404      12/22/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81664              Fasano.pdf                                  161520      12/22/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81664              Funding disbursement sheet.pdf              235534      12/22/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81664              HIPAA.pdf                                   304935      12/22/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81664              Ipa.pdf                                     197090      12/22/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81664              LOD.pdf                                     237060      12/22/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81664              MB Address Search Terrence Sanders.pdf      804410     12/16/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81664              Medical Questionnaire.pdf                   387897      12/22/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81664              Pacer.pdf                                   352723      12/22/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81664              Purchase Agreement.pdf                      298992      12/22/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81664              Qualified Assignement.pdf                   189965      12/22/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81664              Searches.pdf                                674523      12/22/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81664              Seller Identification.pdf                 2362221       12/22/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81664              SSN Verification Terrence Sanders.pdf     1800576      12/16/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81664              Stipulation.pdf                             451037      12/22/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              1824164_2_FinalPackage.pdf               23114663       11/1/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              Annuity Contract.pdf                      3260483      12/22/2022 10:38




                                                                2410
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2412 of
                                       3467



               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              Application.pdf                                     424673     12/22/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              Court Order Oct 2022.pdf                            213849     12/22/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              Credit Report.pdf                                   233013     12/22/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              Disclosure.pdf                                      293594     12/22/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              Divorce.pdf                                       2205303      12/22/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              Docusign.pdf                                        171268     12/22/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              Drivers License.pdf                                 177917     12/22/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              Fasano.pdf                                          147212     12/22/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              Funding disbursement sheet.pdf                      187724     12/22/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              Herman, Cheryl - 81665 - TV5.tv5                     10231      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              HIPAA.pdf                                           289568     12/22/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              Ipa.pdf                                             614127     12/22/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              Lod.pdf                                             239876     12/22/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              Marriage Cert.pdf                                   618160     12/22/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              Medical Questionnaire.pdf                           446180     12/22/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              Pacer.pdf                                           645906     12/22/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              PI Docket.pdf                                       445013     12/22/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              Proof of Service.pdf                              1630482      12/22/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              Purchase Agreement.pdf                              300610     12/22/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              Searches.pdf                                        628418     12/22/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              SSN Verification Cheryl L Herman McCormick.pdf      924348     12/16/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              Stipulation.pdf                                   7902937      12/22/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81665              W9.pdf                                            1215833      12/22/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              1495864_18_FinalPackage.pdf                      29240847      10/31/2022 15:45




                                                                2411
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                                       3467



               All Paths/Locations                                Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              81666.tv5                                     13111      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              Annuity Contract.pdf                         912095     12/22/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              Application.pdf                              852124     12/22/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              Benefits Letter.pdf                          693440     12/22/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              Court Order Oct 2022.pdf                     998890     12/22/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              Credit Report.pdf                            684390     12/22/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              Disclosure.pdf                               836131     12/22/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              Docusign.pdf                                 722293     12/22/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              Drivers License.pdf                       20641313      12/22/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              Fasano.pdf                                   736303     12/22/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              Funding disbursement sheet.pdf             1332660      12/22/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              HIPAA.pdf                                    877227     12/22/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              Ipa.pdf                                      773769     12/22/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              Lod.pdf                                      754348     12/22/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              Medical Quesitonnaire.pdf                    945761     12/22/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              Pacer.pdf                                  1180145      12/22/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              Proof of Service.pdf                         769247     12/22/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              Purchase Agreement.pdf                       888758     12/22/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              Qualified Assignement.pdf                  1624340      12/22/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              Searches.pdf                               1293874      12/22/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              Settlement Agreement.pdf                   1975667      12/22/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              Social Security Card Kaseem Penn.pdf          30958      12/23/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              SSN Verification Kaseem George Penn.pdf    1244973      12/16/2022 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81666              Stipulation.pdf                              833932     12/22/2022 15:48




                                                                2412
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2414 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81667              345143_1_FinalPackage.pdf              12921000       11/10/2022 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81667              image001.png                                 6527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81667              81667.tv5                                  10247       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81667              Application.pdf                           333775       12/23/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81667              Benefits Letter.pdf                       103394       12/23/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81667              Complaint.pdf                             775620       12/23/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81667              Court Order Nov 2022.pdf                2670845        12/23/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81667              Credit Report.pdf                         105460       12/23/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81667              Disclosure.pdf                            350392       12/23/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81667              Docusign.pdf                              203718       12/23/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81667              Fasano.pdf                                167000       12/23/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81667              Funding disbursement sheet.pdf            222979       12/23/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81667              HIPAA.pdf                                 277345       12/23/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81667              Ipa.pdf                                   268432       12/23/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81667              LOD.pdf                                   226663       12/23/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81667              Pacer.pdf                                 393180       12/23/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81667              Proof of Service.pdf                      464014       12/23/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81667              Purchase Agreement.pdf                    282560       12/23/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81667              Searches.pdf                            1997011        12/23/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81667              Seller Affidavit.pdf                      810628       12/23/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81667              Seller Identification.pdf                 109801       12/23/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81667              Settlement Agreement.pdf                  721849       12/23/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81667              SSN Verification Matthew G Novak.pdf    1802081       12/16/2022 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81667              Stipulation.pdf                         2215535        12/23/2022 8:44




                                                                2413
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2415 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81668              1720739_6_FinalPackage.pdf             14247296       10/19/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81668              image001.png                                 6527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81668              81668 Sanchez, Destiny.tv5                 10239       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81668              Agreed Partial Judgement.pdf            2397505       12/23/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81668              Application.pdf                           359665      12/23/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81668              Benefits Letter.pdf                       123129      12/23/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81668              Court Order Oct 2022.pdf                2723880       12/23/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81668              Credit Report.pdf                         105216      12/23/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81668              Docusign.pdf                              167967      12/23/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81668              Drivers License.pdf                       251498      12/23/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81668              Fasano.pdf                                158790      12/23/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81668              Funding disbursement sheet.pdf             90647      12/23/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81668              HIPAA.pdf                                 279832      12/23/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81668              IPA.pdf                                   208248      12/23/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81668              LOD.pdf                                   180377      12/23/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81668              Medical Questionnaire.pdf                 329275      12/23/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81668              Notice of Hearing.pdf                     143028      12/23/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81668              Pacer.pdf                                 100855      12/23/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81668              Proof of Service.pdf                      127960      12/23/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81668              Purchase Agreement.pdf                    299594      12/23/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81668              Searches.pdf                              623769      12/23/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81668              Seller Affidavit.pdf                      301607      12/23/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81668              Settlement Agreement.pdf                5472580       12/23/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81668              W9.pdf                                    283048      12/23/2022 10:14




                                                              2414
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2416 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81669              845033_4_FinalPackage.pdf           13000529      10/21/2022 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81669              Annuity Contract.pdf                   183597     12/23/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81669              Application.pdf                        490652     12/23/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81669              Benefits Letter.pdf                    108089     12/23/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81669              C. Miller - 81669 - TV5.tv5             10797      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81669              Court Order Oct 2022.pdf               903667     12/23/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81669              Credit Report.pdf                      116381     12/23/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81669              Disclosure.pdf                         899914     12/23/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81669              Docusign.pdf                           516354     12/23/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81669              Fasano.pdf                             146932     12/23/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81669              Funding disbursement sheet.pdf         188610     12/23/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81669              HIPAA.pdf                              300793     12/23/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81669              IPA.pdf                                194309     12/23/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81669              LOD.pdf                                214649     12/23/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81669              Medical Questionnaire.pdf            1347442      12/23/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81669              Pacer.pdf                              461661     12/23/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81669              Purchase Agreement.pdf                 335696     12/23/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81669              Searches.pdf                           543710     12/23/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81669              Seller Identification.pdf            1069896      12/23/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81669              Settlement Agreement.pdf               469242     12/23/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81669              SSN.pdf                                913334     12/23/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81669              Stipulation.pdf                      1050709      12/23/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81669              W9.pdf                               1042026      12/23/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81670              464137_4_FinalPackage.pdf            9706973        8/4/2022 16:14




                                                                2415
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                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81670              81670 Oliver, Christopher.tv5              10241      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81670              Acknowledgement Sept 2013.pdf             727600     12/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81670              Annuity Check Statement.pdf               732798     12/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81670              Application.pdf                         1005771      12/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81670              Benefits Letter.pdf                       805925     12/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81670              Court Order Aug 2022.pdf                1735055      12/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81670              Credit Report.pdf                         748868     12/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81670              Disclosure.pdf                            811295     12/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81670              Docusign.pdf                              789769     12/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81670              Fasano.pdf                                792853     12/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81670              Funding disbursement sheet.pdf          1614399      12/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81670              HIPAA.pdf                                 933660     12/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81670              Ipa.pdf                                   830264     12/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81670              LOD.pdf                                   856317     12/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81670              Medical Questionnaire.pdf               1252598      12/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81670              Pacer.pdf                                 986522     12/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81670              Purchase Agreement.pdf                    893584     12/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81670              Searches.pdf                            1443672      12/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81670              Seller Affidavit.pdf                    2508192      12/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81670              Seller Identification.pdf               1022934      12/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81670              Settlement Agreement.pdf                1575790      12/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81670              SSN.pdf                                   786944     12/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81670              Trust.pdf                               1329028      12/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81671              226321_3_FinalPackage.pdf              20070841       7/27/2022 12:56




                                                               2416
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2418 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81671              81671 Willis, Antonio.tv5               10242      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81671              Application.pdf                        587478     12/23/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81671              Benefits Letter.pdf                    270527     12/23/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81671              Check stub.pdf                         155180     12/23/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81671              Court Order July 2022.pdf            1954895      12/23/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81671              Credit Report.pdf                      103071     12/23/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81671              Disclosure.pdf                         473033     12/23/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81671              Docusign.pdf                           256874     12/23/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81671              Fasano.pdf                             170758     12/23/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81671              Funding disbursement sheet.pdf         212929     12/23/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81671              GA DL denial.pdf                       155181     12/23/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81671              HIPAA.pdf                              354219     12/23/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81671              IPA.pdf                                351966     12/23/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81671              LOD.pdf                                199049     12/23/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81671              Medical Questionnaire.pdf            2504143      12/23/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81671              Pacer.pdf                              565009     12/23/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81671              Proof of Service.pdf                   188754     12/23/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81671              Purchase Agreement.pdf                 335252     12/23/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81671              Searches.pdf                         3292547      12/23/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81671              Seller Identification.pdf            5120373      12/23/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81671              Settlement Agreement.pdf             1376890      12/23/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81672              81672 Carpenter, Jeffrey.tv5            10239      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81672              913969_6_FinalPackage.pdf            6685243      10/24/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81672              Application.pdf                        207680     12/23/2022 13:16




                                                               2417
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2419 of
                                       3467



               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81672              Benefits Letter.pdf                    162777      12/23/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81672              Court Order Sept 2022.pdf              449203      12/23/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81672              Credit Report.pdf                       20777      12/23/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81672              Disclosure.pdf                         102544      12/23/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81672              Divorce.pdf                          1631948       12/23/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81672              Docusign.pdf                           229292      12/23/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81672              Drivers License.pdf                  1444466       12/23/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81672              Fasano.pdf                              89474      12/23/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81672              Funding disbursement sheet.pdf         127960      12/23/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81672              GA payees statement.pdf                 99429      12/23/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81672              HIPAA.pdf                              182481      12/23/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81672              Ipa.pdf                                122641      12/23/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81672              Lod.pdf                                136732      12/23/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81672              Medical Questionnaire.pdf              219301      12/23/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81672              Pacer.pdf                              237310      12/23/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81672              Proof of Service.pdf                   151651      12/23/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81672              Purchase Agreement.pdf                 165229      12/23/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81672              Searches.pdf                           319279      12/23/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81672              Settlement Agreement.pdf               340536      12/23/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81672              Stipulation.pdf                        674597      12/23/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81673              1586471_1_FinalPackage.pdf          10519371        10/6/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81673              image001.png                              8182
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81673              81673 Holbrook, Jay.tv5                 10241       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81673              AC Doc.pdf                              78939      12/23/2022 14:08




                                                                2418
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2420 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81673              Ack of service.pdf                      269155     12/23/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81673              Amended Court Order Sep 2022.pdf        408037     12/23/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81673              Application.pdf                         334389     12/23/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81673              Benefits Letter.pdf                     646607     12/23/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81673              Credit Report.pdf                       108019     12/23/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81673              Disclosure.pdf                          377150     12/23/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81673              Divorce.pdf                           3666492      12/23/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81673              Docusign.pdf                            185929     12/23/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81673              Drivers License.pdf                     409693     12/23/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81673              Fasano.pdf                              150053     12/23/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81673              Funding disbursement sheet.pdf          212684     12/23/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81673              HIPAA.pdf                               299989     12/23/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81673              Infants Compromise.pdf                  199264     12/23/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81673              Ipa.pdf                                 196677     12/23/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81673              LOD.pdf                                 199385     12/23/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81673              Medical Questionnaire.pdf               695309     12/23/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81673              Notice of hearing.pdf                   828763     12/23/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81673              Pacer.pdf                               631789     12/23/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81673              Purchase Agreement.pdf                  321295     12/23/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81673              Searches.pdf                            737607     12/23/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81674              353298_6_FinalPackage.pdf             7418709      10/19/2022 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81674              81674 Atwell, Samantha.tv5               10240      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81674              Annuity Contract.pdf                    204325     12/23/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81674              Application.pdf                         418146     12/23/2022 14:27




                                                               2419
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2421 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81674              Court Order Oct 2022.pdf               237175     12/23/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81674              Credit Report.pdf                      115389     12/23/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81674              Disclosure.pdf                         179096     12/23/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81674              Divorce.pdf                          1572617      12/23/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81674              Docusign.pdf                           127004     12/23/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81674              Drivers License.pdf                    293084     12/23/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81674              Fasano.pdf                             160223     12/23/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81674              Funding disbursement sheet.pdf       7742793      12/23/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81674              HIPAA.pdf                              311790     12/23/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81674              Ipa.pdf                                198166     12/23/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81674              LOD.pdf                                228619     12/23/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81674              Marriage license.pdf                   322120     12/23/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81674              Medical Questionnaire.pdf              421620     12/23/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81674              Notice of hearing.pdf                  186444     12/23/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81674              Pacer.pdf                              648335     12/23/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81674              Proof of Service.pdf                   295122     12/23/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81674              Purchase Agreement.pdf                 337889     12/23/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81674              Searches.pdf                           555294     12/23/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81674              Settlement Agreement.pdf               975664     12/23/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81674              Stipulation.pdf                      1007348      12/23/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81675              676660_4_FinalPackage.pdf           12439912       10/6/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81675              81675 Pool, Rolando.tv5                 10428      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81675              Annuity Contract.pdf                   791610      7/29/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81675              Application.pdf                        326750     12/23/2022 14:45




                                                                2420
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2422 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81675              Benefits Letter.pdf                        82457     12/23/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81675              Court Order Oct 2022.pdf                  554659     12/23/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81675              Credit Report.pdf                         106934     12/23/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81675              Disclosure.pdf                            563764     12/23/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81675              Docusign.pdf                              277333     12/23/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81675              Fasano.pdf                                158364     12/23/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81675              Funding disbursement sheet.pdf            183620     12/23/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81675              GAL paperwork.pdf                         617599     12/23/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81675              HIPAA.pdf                                 298118     12/23/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81675              Ipa.pdf                                   194756     12/23/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81675              LOD.pdf                                   175326     12/23/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81675              Medical Questionnaire.pdf                 384091     12/23/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81675              Pacer.pdf                                 387563     12/23/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81675              Purchase Agreement.pdf                    282686     12/23/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81675              Searches.pdf                              573685     12/23/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81675              Seller Affidavit.pdf                    1578163      12/23/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81675              Seller Identification.pdf               6151873      12/23/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81675              Stipulation.pdf                           332948     12/23/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81676              713775_3_FinalPackage.pdf               8447606      10/20/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81676              81676 - Keyajah McCall.tv5                 10262      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81676              Application.pdf                           556854     12/14/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81676              Benefits Letter.pdf                       162224     12/14/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81676              Credit Report.pdf                         712502     12/14/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81676              Disclosure.pdf                            889564     12/14/2022 15:33




                                                                2421
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2423 of
                                       3467



               All Paths/Locations                                Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81676              Docusign.pdf                              160361      12/14/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81676              Drivers License.pdf                       567961      12/14/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81676              Fasano.pdf                                162206      12/14/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81676              HIPAA.pdf                                 603735      12/14/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81676              Medical Questionnaire.pdf               1308809       12/14/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81676              Pacer.pdf                                 352578      12/14/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81676              Proof of Service.pdf                      685112      12/14/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81676              Purchase Agreement.pdf                    595045      12/14/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81676              R&S Docket.pdf                            391318      12/14/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81676              W9.pdf                                    252344      12/14/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81677              920860_6_FinalPackage.pdf              15209240       10/14/2022 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81677              Alvarez, Ernestina - 81677 - TV5.tv5         3746      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81677              Annuity Contract.pdf                      962404      12/14/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81677              Application.pdf                           289604      12/14/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81677              Court Order Oct 2022.pdf                  507615      12/14/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81677              Credit Report.pdf                       1163663       12/14/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81677              Disclosure.pdf                            330191      12/14/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81677              Docusign.pdf                              127027      12/14/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81677              Fasano.pdf                                163235      12/14/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81677              HIPAA.pdf                                 286359      12/14/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81677              Infants Comp Order Affidavit.pdf          297600      12/14/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81677              Infants Compromise Order.pdf            1044973       12/14/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81677              Medical Questionnaire.pdf                 390957      12/14/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81677              OAS.pdf                                   386822      12/14/2022 15:01




                                                               2422
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                                       3467



               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81677              Prior Order 2014.pdf                   116542      12/14/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81677              Purchase Agreement.pdf                 368668      12/14/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81677              Spousal memo.pdf                       110882      12/14/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81677              SSN.pdf                                712049      12/14/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81677              Stipulation.pdf                      7130160       12/14/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81677              W9.pdf                                 402422      12/14/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81678              446513_12_FinalPackage.pdf           6153090       10/18/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81678              image001.png                              6527
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81678              81678.tv5                               11915       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81678              Annuity Contract.pdf                   600167      12/14/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81678              Application.pdf                        307115      12/14/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81678              Benefits Letter.pdf                    103350      12/14/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81678              Court Order Oct 2022.pdf               386953      12/14/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81678              Credit Report.pdf                      694306      12/14/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81678              Disclosure.pdf                         286412      12/14/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81678              Docusign.pdf                            82737      12/14/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81678              Drivers License.pdf                    388444      12/14/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81678              HIPAA.pdf                              276502      12/14/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81678              Medical Questionnaire.pdf              513257      12/14/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81678              Notice.pdf                             362622      12/14/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81678              OAS.pdf                                106855      12/14/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81678              Pacer.pdf                              101245      12/14/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81678              Purchase Agreement.pdf                 198305      12/14/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81678              Qualified Assignement.pdf              307609      12/14/2022 14:28




                                                                2423
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                                       3467



               All Paths/Locations                                   Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81678              Seller Affidavit.pdf                      607063      12/14/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81678              Settlement Agreement Request.pdf          107520      12/14/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81679              1198450_7_FinalPackage.pdf              9475583       10/21/2022 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81679              81679 Waltz, Brittani.tv5                  10241       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81679              Application.pdf                           323441      12/14/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81679              Benefits Letter.pdf                     4757234       12/14/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81679              Court Order.pdf                         1591961       12/14/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81679              Credit Report.pdf                         637922      12/14/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81679              Docusign.pdf                              145890      12/14/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81679              HIPAA.pdf                                 276894      12/14/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81679              Medical Questionnaire.pdf                 370415      12/14/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81679              Notice.pdf                                167723      12/14/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81679              Pacer.pdf                                 428867      12/14/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81679              Purchase Agreement.pdf                    379388      12/14/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81679              Seller Affidavit.pdf                      197346      12/14/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81679              Settlement Agreement.pdf                   77895      12/14/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              104826-393390.pdf                      16110632        11/3/2022 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              81691 Williams, Olivia.tv5                   9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              Annuity Contract.pdf                      892245       12/25/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              Application.pdf                           470723       12/25/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              Assignment.pdf                            147480       12/25/2022 8:37
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81691              Information.pdf                         1703694        12/25/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              Benefits Letter.pdf                     1269891        12/25/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              Certificate of Marital Status.pdf         205722       12/25/2022 8:37




                                                              2424
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                                       3467



               All Paths/Locations                                   Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              Court Order.pdf                           1525632       12/25/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              Credit Report.pdf                            69639      12/25/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              Disclosure - IL.pdf                         253932      12/25/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              Disclosure.pdf                              216953      12/25/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              Drivers License.pdf                       1238176       12/25/2022 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              Emergency Contacts.pdf                      328481      12/25/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              Fasano Report.pdf                           120745      12/25/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              Minor's Compromise Order.pdf                118363      12/25/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              Petition.pdf                                244393      12/25/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              Proof of Service.pdf                        381650      12/25/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              Request for Acknowledgement.pdf             147982      12/25/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              Searches.pdf                                 60329      12/25/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              Seller Affidavit.pdf                        345017      12/25/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              Seller Declaration.pdf                      572054      12/25/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              SSN.pdf                                     582252      12/25/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              Stipulation.pdf                             416278      12/25/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              Structured Settlement Questionaire.pdf    2494989       12/25/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              Transfer Agreement.pdf                    1475150       12/25/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81691              Waiver of IPA.pdf                           233226      12/25/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81696              144884 - Ack.pdf                            134946     10/17/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81696              144884-701662.pdf                         8377052       11/4/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81696              Assignment Agreement.pdf                    564775      12/25/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81696              Assignment.pdf                              205781      12/25/2022 8:57
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81696              Information.pdf                             762678      12/25/2022 8:57




                                                                2425
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2427 of
                                       3467



               All Paths/Locations                                  Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81696              Benefits Letter.pdf                          61161      12/25/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81696              Certificate of Service.pdf                  104814      12/25/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81696              Court Order.pdf                           1398849       12/25/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81696              Court Pleadings.pdf                         407468      12/25/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81696              Credit Report.pdf                           163230      12/25/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81696              Disclosure - KY.pdf                          81024      12/25/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81696              Disclosure - WA.pdf                          73999      12/25/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81696              Drivers License.pdf                         168534      12/25/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81696              Fasano Report.pdf                           107011      12/25/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81696              Lisa Carra - 81696 - TV5.tv5                 10231      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81696              List of Dependents.pdf                       89390      12/25/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81696              Marital Information.pdf                      86742      12/25/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81696              Notice of Hearing.pdf                       199748      12/25/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81696              Privacy Request.pdf                          65505      12/25/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81696              Proof of Payment.pdf                        962253      12/25/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81696              Searches.pdf                                288925      12/25/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81696              SSN.pdf                                      51510      12/25/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81696              Structured Settlement Questionaire.pdf    1100534       12/25/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81696              UCC Search.pdf                              199087      12/25/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81696              Waiver of IPA.pdf                            83570      12/25/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              164632-103239.pdf                        23963883       11/3/2022 22:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              81697 Shaheed, Hassan.tv5                    10671      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Acknowledgement.pdf                          76849      12/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Application.pdf                             568542      12/25/2022 9:24




                                                             2426
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2428 of
                                       3467



               All Paths/Locations                               Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81697              Information.pdf                               756281      12/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Authorization to Release Information.pdf      108552      12/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Benefits Letter.pdf                            27614      12/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Court Order.pdf                             1441619       12/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Court Pleadings.pdf                           501624      12/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Credit Report.pdf                              36478      12/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Disclosure - IA.pdf                            56586      12/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Disclosure - NM.pdf                            56179      12/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Disclosure - TX.pdf                            56740      12/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Drivers License.pdf                           156896      12/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Emergency Contacts.pdf                         94060      12/25/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Fasano Report.pdf                             102014      12/25/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              List of Dependents.pdf                         80238      12/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              NASP Search.pdf                                78242      12/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Notice of Hearing.pdf                         386437      12/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Prior Court Orders.pdf                      4787547       12/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Proof of Delivery.pdf                         423079      12/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Purchase Agreement.pdf                        466863      12/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Qualified Assignement.pdf                     145900      12/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Searches.pdf                                  221160      12/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Seller Affidavit.pdf                          193569      12/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Settlement Agreement.pdf                      722141      12/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Spousal Consent.pdf                         1234046       12/25/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              SSN.pdf                                       219537      12/25/2022 9:24




                                                              2427
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2429 of
                                       3467



               All Paths/Locations                                   Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Stipulation.pdf                           1164633        12/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Structured Settlement Questionaire.pdf    4856136        12/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81697              Waiver of IPA.pdf                            47364       12/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81698              164840-632391.pdf                         9385162        11/3/2022 23:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81698              Application.pdf                             340708      12/26/2022 21:26
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81698              Information.pdf                             859749      12/26/2022 21:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81698              Benefits Letter.pdf                         155947      12/26/2022 21:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81698              Certificate of Marital Status.pdf           206941      12/26/2022 21:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81698              Court Order.pdf                             699207      12/26/2022 21:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81698              Court Pleadings.pdf                         390046      12/26/2022 21:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81698              Credit Report.pdf                            70580      12/26/2022 21:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81698              Disclosure - KY.pdf                         184736      12/26/2022 21:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81698              Divorce Docs.pdf                          2928208       12/26/2022 21:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81698              Drivers License.pdf                          65973      12/26/2022 21:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81698              Emergency Contacts.pdf                      280019      12/26/2022 21:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81698              Fasano Report.pdf                           125490      12/26/2022 21:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81698              Hoskins, Aaron - 81698 - TV5.tv5               9990      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81698              Prior Court Orders.pdf                      340171      12/26/2022 21:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81698              Proof of Service.pdf                        256253      12/26/2022 21:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81698              Searches.pdf                                381492      12/26/2022 21:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81698              Seller Affidavit.pdf                        526951      12/26/2022 21:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81698              Seller Identification.pdf                   534280      12/26/2022 21:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81698              Settlement Agreement.pdf                    611110      12/26/2022 21:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81698              Structured Settlement Questionaire.pdf       99769      12/26/2022 21:26




                                                                2428
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2430 of
                                       3467



               All Paths/Locations                                   Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81698              Transfer Agreement.pdf                      355417     12/26/2022 21:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81698              Waiver of IPA.pdf                           234616     12/26/2022 21:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81699              164855-473412.pdf                        11486979        11/4/2022 0:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81699              81699.tv5                                    10004      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81699              Acknowledgement.pdf                         137066     12/25/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81699              Application.pdf                           1007753      12/25/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81699              Assignment.pdf                              136016     12/25/2022 10:17
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81699              Information.pdf                           1947687      12/25/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81699              Benefits Letter.pdf                         192267     12/25/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81699              Certificate of Marital Status.pdf           189780     12/25/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81699              Certificate of Service.pdf                  180543     12/25/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81699              Court Order.pdf                             796383     12/25/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81699              Credit Report.pdf                            68314     12/25/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81699              Disclosure - FL.pdf                          67043     12/25/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81699              Drivers License.pdf                       2111802      12/25/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81699              Emergency Contacts.pdf                      253420     12/25/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81699              Fasano Report.pdf                           122279     12/25/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81699              Notice of Hearing.pdf                       260583     12/25/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81699              Petition.pdf                                117039     12/25/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81699              Searches.pdf                                318871     12/25/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81699              Seller Affidavit.pdf                        512474     12/25/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81699              SSN.pdf                                   2183016      12/25/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81699              Stipulation.pdf                             576252     12/25/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81699              Structured Settlement Questionaire.pdf      282006     12/25/2022 10:19




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                                       3467



               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81699              Transfer Agreement.pdf                        160389     12/25/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81699              Waiver of IPA.pdf                              69456     12/25/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              194765 - Ack.pdf                               49138     12/13/2021 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              194765-212694.pdf                          17398331       11/3/2022 22:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              81702.tv5                                      10247      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              Application.pdf                               124736     12/25/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              Assignment Agreement.pdf                      213632     12/25/2022 10:30
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81702              Information.pdf                               399539     12/25/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              Authorization to Release Information.pdf      307908     12/25/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              Benefits Letter.pdf                           183456     12/25/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              Certificate of Service.pdf                    233125     12/25/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              Court Order.pdf                               130416     12/25/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              Court Pleadings.pdf                         2639839      12/25/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              Credit Report.pdf                             113958     12/25/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              Disclosure - DE.pdf                           138619     12/25/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              Disclosure - MS.pdf                           152140     12/25/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              Disclosure - NY.pdf                           157984     12/25/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              Drivers License.pdf                         1110426      12/25/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              Fasano Report.pdf                             131101     12/25/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              List of Dependents.pdf                         40536     12/25/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              New - Ack.pdf                                  49138     12/13/2021 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              Notice of Hearing.pdf                          80977     12/25/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              Petition.pdf                                  287204     12/25/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              Proof of Delivery.pdf                       1685844      12/25/2022 10:31




                                                              2430
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2432 of
                                       3467



               All Paths/Locations                                   Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              Searches.pdf                                  420984     12/25/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              Seller Affidavit.pdf                          312008     12/25/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              SSN.pdf                                       165143     12/25/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              Structured Settlement Questionaire.pdf        470331     12/25/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81702              Waiver of IPA.pdf                             167275     12/25/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81704              204845-293404.pdf                          21024937       11/3/2022 23:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81704              81704.tv5                                      10182      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81704              Annuity Contract.pdf                        1591849      12/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81704              Application.pdf                               570211     12/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81704              Assignment Agreement.pdf                    6787926      12/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81704              Assignment.pdf                                 60090     12/25/2022 10:40
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81704              Information.pdf                             1563548      12/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81704              Authorization to Release Information.pdf      308362     12/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81704              Benefits Letter.pdf                            34049     12/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81704              Certificate of Service.pdf                     38552     12/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81704              Court Order.pdf                               158594     12/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81704              Court Pleadings.pdf                           100026     12/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81704              Disclosure - KY.pdf                           555676     12/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81704              Drivers License.pdf                           210590     12/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81704              Fasano Report.pdf                              98390     12/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81704              List of Dependents.pdf                         69204     12/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81704              Notice of Hearing.pdf                          36181     12/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81704              Searches.pdf                                  286312     12/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81704              SSN.pdf                                        75774     12/25/2022 10:40




                                                              2431
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2433 of
                                       3467



               All Paths/Locations                                   Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81704              Structured Settlement Questionaire.pdf        382877     12/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81704              Transfer Agreement.pdf                      1491711      12/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81704              Waiver of IPA.pdf                             132008     12/25/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81705              204874-943428.pdf                          10952854       11/4/2022 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81705              81705.tv5                                      10245      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81705              Annuity Contract.pdf                          293400     12/25/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81705              Application.pdf                             2007547      12/25/2022 10:59
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81705              Information.pdf                               381374     12/25/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81705              Authorization to Release Information.pdf      613112     12/25/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81705              Benefits Letter.pdf                           184398     12/25/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81705              Court Order.pdf                               411386     12/25/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81705              Credit Report.pdf                             242694     12/25/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81705              Disclosure - IA.pdf                           204749     12/25/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81705              Disclosure - KY.pdf                           202824     12/25/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81705              Disclosure - TX.pdf                           246846     12/25/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81705              Drivers License.pdf                           287027     12/25/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81705              Fasano Report.pdf                             257510     12/25/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81705              NASP Search.pdf                               232127     12/25/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81705              Purchase Agreement.pdf                        497155     12/25/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81705              Qualified Assignement.pdf                     365268     12/25/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81705              Seller Affidavit.pdf                          752951     12/25/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81705              Settlement Agreement.pdf                    2707513      12/25/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81705              SSN.pdf                                       296927     12/25/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81705              Stipulation.pdf                               443554     12/25/2022 10:59




                                                                2432
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2434 of
                                       3467



               All Paths/Locations                                   Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81705              Structured Settlement Questionaire.pdf      366624     12/25/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81705              Waiver of IPA.pdf                           236668     12/25/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81708              234233-161768.pdf                         7801254       11/3/2022 22:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81708              81708.tv5                                    16719      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81708              Annuity Contract.pdf                         39722     12/25/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81708              Application.pdf                           1997144      12/25/2022 11:11
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81708              Information.pdf                             163992     12/25/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81708              Certificate of Marital Status.pdf           316092     12/25/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81708              Court Order.pdf                             335948     12/25/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81708              Credit Report.pdf                            72598     12/25/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81708              Disclosure - NV.pdf                         112042     12/25/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81708              Disclosure - TX.pdf                          93899     12/25/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81708              Drivers License.pdf                         114168     12/25/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81708              Fasano Report.pdf                           134734     12/25/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81708              Petition.pdf                                245538     12/25/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81708              Searches.pdf                                400587     12/25/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81708              Seller Affidavit.pdf                      2516348      12/25/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81708              Stipulation.pdf                             278511     12/25/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81708              Structured Settlement Questionaire.pdf      224985     12/25/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81708              Transfer Agreement.pdf                      400084     12/25/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              234809-491053.pdf                         6064175       11/3/2022 22:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              81709.tv5                                    10243      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              Application.pdf                             341842     12/25/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              Assignment.pdf                               70229     12/25/2022 11:25




                                                                2433
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2435 of
                                       3467



               All Paths/Locations                               Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81709              Information.pdf                                 248955     12/25/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              Authorization to Release Information.pdf        283851     12/25/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              Benefits Letter.pdf                             286390     12/25/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              Certificate of Marital Status.pdf               167202     12/25/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              Court Order.pdf                                 291244     12/25/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              Credit Report.pdf                                77698     12/25/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              Disclosure - CT.pdf                             149864     12/25/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              Disclosure - TX.pdf                             142276     12/25/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              Divorce Docs.pdf                              1174805      12/25/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              Drivers License.pdf                              40515     12/25/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              Emergency Contacts.pdf                          284444     12/25/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              Fasano Report.pdf                               142255     12/25/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              List of Dependents.pdf                           78686     12/25/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              Notice of Hearing.pdf                           176614     12/25/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              Petition.pdf                                    270621     12/25/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              Privacy Notice.pdf                              110752     12/25/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              Proof of Service.pdf                            319278     12/25/2022 11:25
Saiph consulting|\Audit Materials Received-   Redirection Reconfiguration_CIGNA up08-30-
SuttonPark\Closing Binders\81709              2023.pdf                                        303701      8/30/2023 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              Redirection Reconfiguration_CIGNA.pdf            95964      8/30/2023 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              Searches.pdf                                    422782     12/25/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              Spousal Consent.pdf                             203370     12/25/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              SSN.pdf                                          40441     12/25/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              Stiplation.pdf                                  233730     12/25/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              Transfer Agreement.pdf                          403895     12/25/2022 11:25




                                                               2434
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2436 of
                                       3467



               All Paths/Locations                                  Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81709              Waiver of IPA.pdf                             325145     12/25/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81711              254819-683384.pdf                           8385314       11/3/2022 22:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81711              Acknowledgement.pdf                           136373     12/25/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81711              Annuity Contract.pdf                          163434     12/25/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81711              Application.pdf                               268489     12/25/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81711              Assignment.pdf                                123817     12/25/2022 11:36
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81711              Information.pdf                               254198     12/25/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81711              Authorization to Release Information.pdf    1745656      12/25/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81711              Certificate of Marital Status.pdf             156626     12/25/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81711              Certificate of Service.pdf                    261182     12/25/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81711              Court Order.pdf                               253135     12/25/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81711              Credit Report.pdf                              68789     12/25/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81711              Disclosure - FL.pdf                            77749     12/25/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81711              Disclosure - TX.pdf                            76668     12/25/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81711              Drivers License.pdf                           507340     12/25/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81711              Emergency Contact.pdf                         185453     12/25/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81711              Fasano Report.pdf                             126577     12/25/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81711              Notice of Hearing.pdf                         409571     12/25/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81711              Petition.pdf                                  334044     12/25/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81711              Searches.pdf                                  236269     12/25/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81711              SSN.pdf                                       599154     12/25/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81711              Stipulation.pdf                               949771     12/25/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81711              Structured Settlement Questionaire.pdf        103783     12/25/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81711              Transfer Agreement.pdf                        311248     12/25/2022 11:36




                                                                2435
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2437 of
                                       3467



               All Paths/Locations                                  Unified Title        File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81711              Waiver of IPA.pdf                             143251      12/25/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              274694 - Ack & Stipulation.pdf                428472       1/22/2024 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              274694-303285.pdf                          12638789        11/3/2022 22:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              81712 Urisrte, Susan.tv5                         9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              Acknowledgement .pdf                           87043      12/25/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              Application.pdf                               369893      12/25/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              Assignment.pdf                                 42963      12/25/2022 11:57
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81712              Information.pdf                               212691      12/25/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              Authorization to Release Information.pdf       65837      12/25/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              Benefits Letter.pdf                            30285      12/25/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              Court Order.pdf                             1868885       12/25/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              Court Pleadings.pdf                           202496      12/25/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              Credit Report.pdf                             231434      12/25/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              Disclosure - AZ.pdf                            97008      12/25/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              Disclosure - IA.pdf                            92766      12/25/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              Disclosure - WA.pdf                            92578      12/25/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              Divorce Docs.pdf                            1884762       12/25/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              Drivers License.pdf                           104227      12/25/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              Fasano Report.pdf                             103375      12/25/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              NASP Search.pdf                                80187      12/25/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              New - Ack & Stipulation.pdf                   428472       1/22/2024 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              Proof of Delivery.pdf                         531370      12/25/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              Purchase Agreement.pdf                        940100      12/25/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              Request For Acknowledgement.pdf                11428      12/25/2022 11:57




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               All Paths/Locations                                   Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              Searches.pdf                                  314180     12/25/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              Seller Affidavit.pdf                          251179     12/25/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              SSN.pdf                                     1001180      12/25/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              Statement of Dependents.pdf                   124991     12/25/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              Stipulation.pdf                               307974     12/25/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              Structured Settlement Questionaire.pdf        333998     12/25/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81712              Waiver of IPA.pdf                              48247     12/25/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81717              294287-923002.pdf                          15681172       11/3/2022 22:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81717              81717.tv5                                      10003      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81717              Annuity Contract.pdf                          192774     12/26/2022 21:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81717              Application.pdf                             2040045      12/26/2022 21:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81717              Assignment.pdf                                291540     12/26/2022 21:33
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81717              Information.pdf                               316801     12/26/2022 21:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81717              Authorization to Release Information.pdf    1026816      12/26/2022 21:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81717              Certificate of marital Status.pdf             378938     12/26/2022 21:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81717              Court Order.pdf                             1368912      12/26/2022 21:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81717              Credit Report.pdf                             233059     12/26/2022 21:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81717              Disclosure - TX.pdf                           757757     12/26/2022 21:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81717              Drivers License.pdf                         2210538      12/26/2022 21:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81717              Fasano Report.pdf                             253687     12/26/2022 21:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81717              Notice of Hearing.pdf                         415985     12/26/2022 21:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81717              Petition.pdf                                  413477     12/26/2022 21:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81717              Proof of Service.pdf                          503584     12/26/2022 21:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81717              Searches.pdf                                  590981     12/26/2022 21:33




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                                       3467



               All Paths/Locations                                   Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81717              Seller Affidavit.pdf                          580758      12/26/2022 21:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81717              SSN.pdf                                     2210542       12/26/2022 21:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81717              Stipulation.pdf                             5581790       12/26/2022 21:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81717              Structured Settlement Questionaire.pdf        380128      12/26/2022 21:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81717              Transfer Agreement.pdf                        463964      12/26/2022 21:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81717              Waiver of IPA.pdf                             599708      12/26/2022 21:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              294786-103346.pdf                          15040193        11/3/2022 23:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              81719.tv5                                      10246       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              Acknowledgement.pdf                            34124      12/26/2022 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              Application.pdf                               116837      12/26/2022 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              Assignment Agreement.pdf                      563111      12/26/2022 21:44
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81719              Information.pdf                             3537465       12/26/2022 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              Authorization to Release Information.pdf      154868      12/26/2022 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              Certificate of Service.pdf                       8266     12/26/2022 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              Court Order.pdf                               780772      12/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              Court Pleadings.pdf                           668285      12/26/2022 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              Credit Report.pdf                             113646      12/26/2022 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              Disclosure - DE.pdf                            57810      12/26/2022 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              Disclosure - FL.pdf                            60161      12/26/2022 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              Drivers License.pdf                           108775      12/26/2022 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              Fasano Report.pdf                             101272      12/26/2022 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              List of Dependents.pdf                        114270      12/26/2022 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              List of Prior Transfers.pdf                    44860      12/26/2022 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              Notice of Hearing.pdf                            8095     12/26/2022 21:44




                                                                2438
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2440 of
                                       3467



               All Paths/Locations                                   Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              Objection Letter from Insurance Company.pdf       53574     12/26/2022 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              Prior Court Orders.pdf                           666112     12/26/2022 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              Proof of Delivery.pdf                            267410     12/26/2022 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              Qualified Assignement.pdf                        186742     12/26/2022 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              Sale Agreement.pdf                               243072     12/26/2022 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              Searches.pdf                                     162752     12/26/2022 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              Seller Affidavit.pdf                             372416     12/26/2022 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              SSN.pdf                                           31616     12/26/2022 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              Structured Settlement Questionaire.pdf         3878946      12/26/2022 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81719              Waiver of IPA.pdf                                 78589     12/26/2022 21:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81721              314200-772197.pdf                             24041996       11/3/2022 23:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81721              81721 Broudrick, Chantail.tv5                     10267      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81721              Application.pdf                                  621865     12/25/2022 13:03
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81721              Information.pdf                                   90602     12/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81721              Authorization to Release Information.pdf          80517     12/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81721              Court Order.pdf                                3026166      12/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81721              Credit Report.pdf                                115167     12/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81721              Disclosure - NY.pdf                              145845     12/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81721              Disclosure.pdf                                   128570     12/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81721              Divorce Docs.pdf                                 668499     12/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81721              Drivers License.pdf                              621230     12/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81721              Fasano Report.pdf                                246059     12/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81721              Notice of Hearing .pdf                           220407     12/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81721              Petition.pdf                                     361698     12/25/2022 13:03




                                                               2439
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2441 of
                                       3467



               All Paths/Locations                                  Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81721              Prior Court Order.pdf                       115974     12/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81721              Proof of Delivery.pdf                       984538     12/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81721              Release Agreement.pdf                       121942     12/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81721              Sale Agreement.pdf                        1704490      12/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81721              Searches.pdf                                198682     12/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81721              SSN.pdf                                     715451     12/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81721              Stipulation.pdf                           6050088      12/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81721              Structured Settlement Questionaire.pdf      223326     12/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81721              Waiver of IPA.pdf                            56627     12/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              314638-241441.pdf                        15015065        11/4/2022 0:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              81722 Davis, Angela.tv5                      10008      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              Application.pdf                             373897     12/25/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              Assignment.pdf                              102046     12/25/2022 13:28
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81722              Information.pdf                           4988252      12/25/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              Benefits Letter.pdf                       1292879      12/25/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              Certificate of Marital Status.pdf           194609     12/25/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              Certificate of Service.pdf                   54842     12/25/2022 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              Court Order June 2021.pdf                   652348       1/17/2023 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              Court Pleadings.pdf                         591621     12/25/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              Credit Report.pdf                            88684     12/25/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              Disclosure - AL.pdf                          73676     12/25/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              Disclosure - CT.pdf                          76678     12/25/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              Disclosure - DE.pdf                          77681     12/25/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              Disclosure - MA.pdf                          84227     12/25/2022 13:28




                                                                2440
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2442 of
                                       3467



               All Paths/Locations                                   Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              Divorce Docs.pdf                            173010     12/25/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              Drivers License.pdf                         928515     12/25/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              Emergency Contacts.pdf                      929363     12/25/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              Fasano Report.pdf                           127404     12/25/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              Request For Acknowledgement.pdf             351523     12/25/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              Searches.pdf                                541563     12/25/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              Seller Affidavit.pdf                        291566     12/25/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              Settlement Agreement.pdf                    530175     12/25/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              SSN.pdf                                     928520     12/25/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              Structured Settlement Questionaire.pdf      244468     12/25/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              Transfer Agreement.pdf                      637831     12/25/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81722              Waiver of IPA.pdf                            50917     12/25/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              324639-241441.pdf                        12984274        11/4/2022 0:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              81724 Davis, Angela.tv5                      10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              Acknowledgement.pdf                         312921     12/25/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              Application.pdf                             371685     12/25/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              Assignment.pdf                              100468     12/25/2022 13:46
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81724              Information.pdf                             180139     12/25/2022 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              Certificate of Marital Status.pdf           192287     12/25/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              Certificate of Service.pdf                   94243     12/25/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              Court Order.pdf                             179088     12/25/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              Court Pleadings.pdf                         854568     12/25/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              Credit Report.pdf                            87102     12/25/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              Disclosure - AL.pdf                          72099     12/25/2022 13:46




                                                              2441
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2443 of
                                       3467



               All Paths/Locations                                  Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              Disclosure - CT.pdf                            75101     12/25/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              Disclosure - DE.pdf                            76104     12/25/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              Disclosure - MA.pdf                            82650     12/25/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              Divorce Docs.pdf                              171410     12/25/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              Drivers License.pdf                           926939     12/25/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              Fasano Report.pdf                             125596     12/25/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              Qualified Assignment.pdf                      191178     12/25/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              Request For Acknowledgement.pdf               349949     12/25/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              Searches.pdf                                  410670     12/25/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              Settlement Agreement.pdf                      528592     12/25/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              SSN.pdf                                       926944     12/25/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              Structured Settlement Questionaire.pdf        247795     12/25/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              Transfer Agreement.pdf                      1630784      12/25/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81724              Waiver of IPA.pdf                              49340     12/25/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              324856-153413.pdf                          11958235        11/4/2022 0:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              81725 Gonzales, George.tv5                     10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              Annuity Contract.pdf                        1930776      12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              Application.pdf                               525063     12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              Assignment Agreement.pdf                      559480     12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              Assignment.pdf                                191487     12/25/2022 14:00
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81725              Information.pdf                               790608     12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              Authorization to Release Information.pdf      246765     12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              Court Order.pdf                               365092     12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              Disclosure - NM.pdf                           158846     12/25/2022 14:00




                                                             2442
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2444 of
                                       3467



               All Paths/Locations                                   Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              Disclosure - NY.pdf                         163418     12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              Fasano Report.pdf                            99611     12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              Legal Fees.pdf                               69676     12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              List of Dependents.pdf                      126555     12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              Marital Information.pdf                     182540     12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              Notice of Hearing.pdf                       135109     12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              Petition.pdf                                118967     12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              Privacy Request.pdf                          57677     12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              Request for Annuity Contract.pdf            105973     12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              Request For Benefit Letter.pdf              110744     12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              Request for Court Order.pdf                 105973     12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              Request for Settlement Agreement.pdf        105973     12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              Searches.pdf                                110627     12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              Seller Affidavit.pdf                        597426     12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              Settlement Agreement Affidavit.pdf          111465     12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              Stipulation.pdf                           1698926      12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              Structured Settlement Questionaire.pdf      570317     12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              UUC Search.pdf                              145029     12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              W9.pdf                                    1093219      12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81725              Waiver of IPA.pdf                            56157     12/25/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81726              334830-883393.pdf                        23355463        11/4/2022 0:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81726              81726 Hamati-Sayegh, John.tv5                10268      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81726              Annuity Contract.pdf                         14750     12/25/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81726              Application.pdf                             167199     12/25/2022 14:12




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                                       3467



               All Paths/Locations                               Unified Title           File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81726              Information.pdf                             3947401       12/25/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81726              Certificate of Service.pdf                     79057      12/25/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81726              Court Order.pdf                             3058778       12/25/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81726              Court Pleadings.pdf                           153403      12/25/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81726              Credit Report.pdf                             100941      12/25/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81726              Disclosure - PA.pdf                           187687      12/25/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81726              Disclosure - TX.pdf                           123402      12/25/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81726              Drivers License.pdf                           152081      12/25/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81726              Fasano Report.pdf                             101979      12/25/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81726              Petition.pdf                                  352696      12/25/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81726              Proof of Delivery.pdf                         637751      12/25/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81726              Sale Agreement.pdf                            225897      12/25/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81726              Searches.pdf                                  120408      12/25/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81726              Seller Affidavit.pdf                          285480      12/25/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81726              SSN.pdf                                       120318      12/25/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81726              Stipulation.pdf                             3705177       12/25/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81726              Structured Settlement Questionaire.pdf      6810404       12/25/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81726              Waiver of IPA.pdf                             109460      12/25/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              404820-353385.pdf                          34314176         11/4/2022 0:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              81736 Coberly, Samuel.tv5                        9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              Application.pdf                             1046375        12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              Assignment.pdf                                 39542       12/27/2022 8:05
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81736              Information.pdf                               225867       12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              Authorization to Release Information.pdf      232218       12/27/2022 8:05




                                                                2444
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                                       3467



               All Paths/Locations                                   Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              Benefits Letter.pdf                         147172      12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              Certificate of Service.pdf                  227562      12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              Court Order.pdf                             175673      12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              Credit Report.pdf                           181960      12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              Disclosure - DE.pdf                         846272      12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              Drivers License.pdf                          66032      12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              Fasano Report.pdf                           100724      12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              NASP Search.pdf                              78996      12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              Notice of Hearing.pdf                       333437      12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              Petition.pdf                              4891513       12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              Prior Court Orders.pdf                      438834      12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              Proof of Delivery.pdf                        35041      12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              Purchase Agreement.pdf                    5608716       12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              Request For Acknowledgement.pdf              11429      12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              Searches.pdf                                979341      12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              Seller Affidavit.pdf                      1975289       12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              SSN.pdf                                      50989      12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              Statement of Dependents.pdf                 142128      12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              Stipulation.pdf                             432631      12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              Structured Settlement Questionaire.pdf    3340449       12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              UCC Financing Statement.pdf                  63231      12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              W9.pdf                                      693764      12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81736              Waiver of IPA.pdf                           203164      12/27/2022 8:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81738              414230-332959.pdf                        14637150        11/4/2022 0:49




                                                                2445
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2447 of
                                       3467



               All Paths/Locations                                   Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81738              81738 Barkowski, Cynthia.tv5                   10239      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81738              Application.pdf                               161765     12/25/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81738              Assignment.pdf                                 75531     12/25/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81738              Authorization to Release Information.pdf    1842696      12/25/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81738              Benefits Letter.pdf                            25942     12/25/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81738              Court Order.pdf                               873303     12/25/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81738              Court Pleadings.pdf                           237279     12/25/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81738              Credit Report.pdf                              87286     12/25/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81738              Disclosure - MA.pdf                            94781     12/25/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81738              Divorce Docs.pdf                              816702     12/25/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81738              Drivers License.pdf                         1151873      12/25/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81738              Fasano Report.pdf                             104560     12/25/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81738              Request for Acknowledgement.pdf               584511     12/25/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81738              Searches.pdf                                  703058     12/25/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81738              Seller Affidavit.pdf                           85218     12/25/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81738              SSN.pdf                                       949572     12/25/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81738              Stipulation.pdf                               993810     12/25/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81738              Structured Settlement Questionaire.pdf        223897     12/25/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81738              Transfer Agreement.pdf                        560493     12/25/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81738              Waiver of IPA.pdf                              69696     12/25/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              424202-342455.pdf                          20953931        11/4/2022 0:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              81739 Hamilton, Roshaunda.tv5                  10672      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              Application.pdf                               351736     12/25/2022 15:04
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81739              Information.pdf                               134240     12/25/2022 15:05




                                                                2446
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2448 of
                                       3467



               All Paths/Locations                                  Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              Authorization to Release Information.pdf      145126     12/25/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              Benefits Letter.pdf                           706187     12/25/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              Certificate of Marital Status.pdf             188828     12/25/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              Certificate of Service.pdf                    378676     12/25/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              Court Order.pdf                               496957     12/25/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              Court Pleadings.pdf                        21974363      12/25/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              Credit Report.pdf                              91900     12/25/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              Disclosure - CT.pdf                            44313     12/25/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              Disclosure - DE.pdf                            49874     12/25/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              Disclosure - MA.pdf                            54709     12/25/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              Disclosure - MI.pdf                            55659     12/25/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              Disclosure - TX.pdf                            68873     12/25/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              Divorce Docs.pdf                            2652116      12/25/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              Drivers License.pdf                           113312     12/25/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              Fasano Report.pdf                              80727     12/25/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              List of Dependents.pdf                        113459     12/25/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              New - Ack.pdf                                  78941      2/28/2020 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              Notice of Hearing.pdf                         385471     12/25/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              Proof of Delivery.pdf                       1644274      12/25/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              Request For Acknowledgement.pdf                50561     12/25/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              Sale Agreement.pdf                          1686476      12/25/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              Searches.pdf                                   45263     12/25/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              Structured Settlement Questionaire.pdf        213325     12/25/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              UCC Search.pdf                                 41853     12/25/2022 15:05




                                                              2447
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2449 of
                                       3467



               All Paths/Locations                                   Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              W9.pdf                                         73981     12/25/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81739              Waiver of IPA.pdf                             116758     12/25/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81740              434691-363282.pdf                           8033808        11/4/2022 0:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81740              81740 Potter, Lamar.tv5                        10240      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81740              Annuity Contract.pdf                           92266     12/25/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81740              Authorization to Release Information.pdf    1692807      12/25/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81740              Benefits Letter.pdf                            28271     12/25/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81740              Certificate of Service.pdf                     24134     12/25/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81740              Court Pleadings.pdf                           351939     12/25/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81740              Credit Report.pdf                             117155     12/25/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81740              Disclosure - MO.pdf                            81512     12/25/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81740              Disclosure - NJ.pdf                            74335     12/25/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81740              Disclosure - OH.pdf                           136550     12/25/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81740              Drivers License.pdf                            70929     12/25/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81740              Fasano Report.pdf                             100103     12/25/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81740              List of Dependents.pdf                        167196     12/25/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81740              Prior Court Orders.pdf                        230697     12/25/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81740              Proof of Delivery.pdf                       1355757      12/25/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81740              Sale Agreement.pdf                          1259927      12/25/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81740              Searches.pdf                                  802953     12/25/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81740              Seller Affidavit.pdf                          142594     12/25/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81740              SSN.pdf                                        56590     12/25/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81740              Structured Settlement Questionaire.pdf        328126     12/25/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81740              Waiver of IPA.pdf                             125240     12/25/2022 15:17




                                                              2448
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2450 of
                                       3467



               All Paths/Locations                                   Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              434697-301557.pdf                           35420407        11/4/2022 0:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              81741 Kinert, Carla.tv5                         10000      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              Acknowledgement.pdf                            135499     12/25/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              Annuity Contract.pdf                            53542     12/25/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              Application.pdf                                257183     12/25/2022 20:25
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81741              Information.pdf                                218850     12/25/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              Authorization to Release Information .pdf    1612711      12/25/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              Benefits Letter.pdf                             95024     12/25/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              Certificate of marital Status.pdf              122251     12/25/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              Certificate of Service.pdf                      30450     12/25/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              Court Order.pdf                              2913877      12/25/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              Credit Report.pdf                               61600     12/25/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              Disclosure - PA.pdf                             46219     12/25/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              Divorce Docs.pdf                             4600020      12/25/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              Drivers License.pdf                          1903576      12/25/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              Emergency Contacts.pdf                         119814     12/25/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              Request For Acknowledgement.pdf                360256     12/25/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              Sale Agreement.pdf                             225469     12/25/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              Searches.pdf                                   252756     12/25/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              Seller Affidavit.pdf                            59628     12/25/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              Spousal Consent.pdf                            555446     12/25/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              SSN.pdf                                     19252150      12/25/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              Structured Settlement Questionaire.pdf         247256     12/25/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              UCC Financing Statement.pdf                     60444     12/25/2022 20:25




                                                              2449
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               All Paths/Locations                                   Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              W9.pdf                                        812191     12/25/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81741              Waiver of IPA.pdf                             127720     12/25/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              434852-981365.pdf                          29719760       11/4/2022 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              81742 Foust, Walter.tv5                        10671      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              Application.pdf                               121179     12/25/2022 20:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              Assignment.pdf                                522941     12/25/2022 20:33
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81742              Information.pdf                             3347056      12/25/2022 20:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              Authorization to Release Information.pdf      492583     12/25/2022 20:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              Benefits Letter.pdf                         1181892      12/25/2022 20:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              Certificate of Service.pdf                    210938     12/25/2022 20:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              Court Order.pdf                             3136812      12/25/2022 20:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              Credit Report.pdf                             167396     12/25/2022 20:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              Disclosure - WI.pdf                           161556     12/25/2022 20:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              Drivers License.pdf                            44273     12/25/2022 20:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              Fasano Report.pdf                             102610     12/25/2022 20:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              List of Dependents .pdf                       155819     12/25/2022 20:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              New - Stipulation.pdf                         262508      1/22/2024 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              Notice of Filing.pdf                          212566     12/25/2022 20:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              Notice of Hearing.pdf                         146428     12/25/2022 20:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              Petition.pdf                                  662003     12/25/2022 20:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              Proof of Delivery.pdf                         937236     12/25/2022 20:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              Sale Agreement.pdf                            307926     12/25/2022 20:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              Searches.pdf                                  122797     12/25/2022 20:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              Seller Affidavit.pdf                          227876     12/25/2022 20:33




                                                              2450
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                                       3467



               All Paths/Locations                                  Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              Settlement Agreement.pdf                  9208647       12/25/2022 20:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              SSN.pdf                                      41445      12/25/2022 20:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              Structured Settlement Questionaire.pdf    6100597       12/25/2022 20:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81742              Waiver of IPA.pdf                           132390      12/25/2022 20:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              474897-993449.pdf                        24203146        11/4/2022 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              81746 Hernandez, Gilbert.tv5                   9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Acknowledgement.pdf                          83189      12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Application.pdf                             632484      12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Assignment.pdf                               71415      12/25/2022 20:43
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81746              Information.pdf                           1299149       12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Benefits Letter.pdf                       1994715       12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Certificate of Marital Status.pdf            74923      12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Certificate of Service.pdf                   99223      12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Court Order.pdf                           3088403       12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Credit Report.pdf                            68513      12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Disclosure - IL.pdf                          35632      12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Disclosure - WA.pdf                          33464      12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Divorce Docs.pdf                          8861330       12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Drivers License.pdf                       1278418       12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Emergency Contacts.pdf                      134854      12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Fasano Report.pdf                            85810      12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Notice of Filing.pdf                         85160      12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Notice of Hearing.pdf                       139648      12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Petition.pdf                                 89506      12/25/2022 20:43




                                                              2451
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                                       3467



               All Paths/Locations                                   Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Proof of Delivery.pdf                         361179     12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Searches.pdf                                1034055      12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Seller Affidavit.pdf                          341198     12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Settlement Agreement.pdf                      383569     12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              SSN.pdf                                     1278418      12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Stipulation.pdf                               360881     12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Structured Settlement Questionaire.pdf      1018689      12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Transfer Agreement.pdf                        285258     12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81746              Waiver of IPA.pdf                             163254     12/25/2022 20:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81748              484805-891993.pdf                          28845656       11/4/2022 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81748              81748 Shelton, Kardell.tv5                     12099      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81748              Application.pdf                                54604     12/25/2022 20:57
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81748              Information.pdf                               402391     12/25/2022 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81748              Authorization to Release Information.pdf       27438     12/25/2022 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81748              Benefits Letter.pdf                            57052     12/25/2022 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81748              Certificate of Service .pdf                   352409     12/25/2022 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81748              Court Order.pdf                               152693     12/25/2022 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81748              Court Pleadings.pdf                         2995910      12/25/2022 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81748              Disclosure - DC.pdf                           178002     12/25/2022 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81748              Drivers License.pdf                           225673     12/25/2022 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81748              Fasano Report.pdf                             105356     12/25/2022 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81748              New - Ack (Cashflowing).pdf                   191143      1/22/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81748              Notice of Service.pdf                          98474     12/25/2022 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81748              Proof of Delivery.pdf                         388183     12/25/2022 20:57




                                                                2452
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                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81748              Purchase Agreement.pdf                    391409     12/25/2022 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81748              Searches.pdf                              124796     12/25/2022 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81748              Seller Affidavit.pdf                       94648     12/25/2022 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81748              SSN.pdf                                   869538     12/25/2022 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81748              Waiver of IPA.pdf                          46296     12/25/2022 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81749              484876-213430.pdf                      12172141       11/4/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81749              81749 Cunningham, Jason.tv5                10240      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81749              Acknowledgement.pdf                        91305     12/25/2022 21:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81749              Application.pdf                           364328     12/25/2022 21:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81749              Assignment.pdf                             62244     12/25/2022 21:05
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81749              Information.pdf                         1442403      12/25/2022 21:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81749              Benefits Letter.pdf                        52146     12/25/2022 21:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81749              Certificate of Service.pdf                 38498     12/25/2022 21:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81749              Court Order.pdf                           851305     12/25/2022 21:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81749              Disclosure - KY.pdf                       367090     12/25/2022 21:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81749              Divorce Docs.pdf                          506209     12/25/2022 21:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81749              Drivers License.pdf                       843457     12/25/2022 21:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81749              Fasano Report.pdf                         105521     12/25/2022 21:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81749              Marital Status.pdf                        249440     12/25/2022 21:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81749              Pleadings.pdf                              97317     12/25/2022 21:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81749              Searches.pdf                              197218     12/25/2022 21:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81749              Settlement Agreement.pdf                   40724     12/25/2022 21:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81749              SSN.pdf                                   647064     12/25/2022 21:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81749              Stipulation.pdf                           366306     12/25/2022 21:05




                                                                2453
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2455 of
                                       3467



               All Paths/Locations                                   Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81749              Structured Settlement Questionaire.pdf      505118     12/25/2022 21:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81749              Transfer Agreement.pdf                      194629     12/25/2022 21:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81753              504641-710999.pdf                        11720500        11/4/2022 1:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81753              81753 Curtis, Stacie.tv5                     10568      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81753              Annuity Contract.pdf                      1742202      12/25/2022 21:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81753              Application.pdf                             336326     12/25/2022 21:18
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81753              Information.pdf                             185870     12/25/2022 21:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81753              Certificate of Marital Status.pdf           204248     12/25/2022 21:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81753              Court Order.pdf                           2449611      12/25/2022 21:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81753              Credit Report.pdf                            74710     12/25/2022 21:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81753              Disclosure - GA.pdf                         249019     12/25/2022 21:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81753              Drivers License.pdf                         195450     12/25/2022 21:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81753              Fasano Report.pdf                           123003     12/25/2022 21:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81753              Infant's Compromise Order.pdf             2591960      12/25/2022 21:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81753              New - Ack.pdf                                87160      1/22/2024 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81753              Notice of Assignment.pdf                    236054     12/25/2022 21:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81753              Notice of Hearing.pdf                       270094     12/25/2022 21:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81753              Petition.pdf                                258161     12/25/2022 21:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81753              Proof of Delivery.pdf                        99870     12/25/2022 21:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81753              Request For Acknowledgement.pdf           1289732      12/25/2022 21:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81753              Searches.pdf                                406662     12/25/2022 21:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81753              Seller Affidavit.pdf                        335060     12/25/2022 21:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81753              Spousal Consent.pdf                         208379     12/25/2022 21:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81753              SSN.pdf                                     592090     12/25/2022 21:18




                                                              2454
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                                       3467



               All Paths/Locations                                  Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81753              Structured Settlement Questionaire.pdf      103952     12/25/2022 21:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81753              Transfer Agreement.pdf                      137351     12/25/2022 21:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81753              Waiver of IPA.pdf                           230310     12/25/2022 21:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              514666-922449.pdf                        13384126        11/4/2022 1:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              81755 Jordan, Eric.tv5                       10242      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              Annuity Contract.pdf                        673541     12/25/2022 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              Application.pdf                             339040     12/25/2022 21:32
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81755              Information.pdf                           2095691      12/25/2022 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              Certificate of marital Status.pdf           200350     12/25/2022 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              Court Order.pdf                             234059     12/25/2022 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              Credit Report.pdf                           119690     12/25/2022 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              Disclosure - CT.pdf                         223413     12/25/2022 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              Disclosure - DE.pdf                         220543     12/25/2022 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              Disclosure - MA.pdf                         224024     12/25/2022 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              Disclosure - TX.pdf                         220631     12/25/2022 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              Divorce Docs.pdf                          1214451      12/25/2022 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              Drivers License.pdf                         175579     12/25/2022 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              Fasano Report.pdf                           124629     12/25/2022 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              List of Dependents.pdf                      132142     12/25/2022 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              New - Ack.pdf                                88862      6/25/2021 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              Notice of Hearing.pdf                       376328     12/25/2022 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              Petition.pdf                                287805     12/25/2022 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              Proof of Delivery.pdf                       102545     12/25/2022 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              Proof of Service.pdf                        344979     12/25/2022 21:32




                                                              2455
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                                       3467



               All Paths/Locations                                   Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              Qualified Assignement.pdf                     305973     12/25/2022 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              Searches.pdf                                  392109     12/25/2022 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              Seller Affidavit.pdf                          290756     12/25/2022 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              Settlement Agreement.pdf                    1549590      12/25/2022 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              SSN.pdf                                       175579     12/25/2022 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              Structured Settlement Questionaire.pdf      1770651      12/25/2022 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              Transfer Agreement.pdf                      3423396      12/25/2022 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81755              Waiver of IPA.pdf                             227887     12/25/2022 21:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              514814-133380.pdf                          12748862        11/4/2022 1:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              81756 Santiago, Christian.tv5                  11480      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              Amended Order April 2022.pdf                  510608      1/19/2023 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              Annuity Contract.pdf                          261901     12/25/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              Application.pdf                               358569     12/25/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              Assignment.pdf                                144705     12/25/2022 21:49
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81756              Information.pdf                               386253     12/25/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              Authorization to Release Information.pdf      268366     12/25/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              Bankruptcy Search.pdf                         501917     12/25/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              Benefits Letter.pdf                           147002     12/25/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              Certificate of Marital Status.pdf             206266     12/25/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              Certificate of Service .pdf                    40718     12/25/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              Court Order.pdf                               244095     12/25/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              Credit Report.pdf                              72500     12/25/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              Divorce Docs.pdf                              171215     12/25/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              Drivers License.pdf                         3080376      12/25/2022 21:49




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                                       3467



               All Paths/Locations                                   Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              Emergency Contacts.pdf                        277839      12/25/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              Fasano Report.pdf                             123933      12/25/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              New - Ack & Purchase Agreement.pdf            591554       1/22/2024 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              Pleadings.pdf                               1073923       12/25/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              Proof of Delivery.pdf                         828616      12/25/2022 21:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              Qualified Assignement.pdf                     106316      12/25/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              Searches.pdf                                  329659      12/25/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              Seller Affidavit.pdf                          722854      12/25/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              Settlement Agreement.pdf                      261449      12/25/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              SSN.pdf                                        58899      12/25/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              Structured Settlement Questionaire.pdf        100897      12/25/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81756              Waiver of IPA.pdf                             234222      12/25/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              524286-883001.pdf                          13810956         11/4/2022 1:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              81758 Armstead, Gregory.tv5                      9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              Acknowledgement.pdf                            23546      12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              Application.pdf                               142523      12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              Assignment Agreement.pdf                    1947005       12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              Assignment.pdf                                128591      12/25/2022 22:04
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81758              Information.pdf                             2055662       12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              Authorization to Release Information.pdf      564194      12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              Certificate of Marital Status.pdf             357971      12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              Certificate of Service.pdf                     21621      12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              Court Order.pdf                               177001      12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              Disclosure - AL.pdf                           664421      12/25/2022 22:04




                                                              2457
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                                       3467



               All Paths/Locations                                   Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              Disclosure - GA.pdf                           683933     12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              Disclosure - NE.pdf                           715631     12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              Drivers License.pdf                            88509     12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              Emergency Contacts.pdf                         49317     12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              Fasano Report.pdf                              80045     12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              List of Dependents.pdf                        272890     12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              Notice of Cancellation.pdf                    340086     12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              Pleadings.pdf                                 323671     12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              Proof of Delivery.pdf                         489795     12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              Request for Change of Beneficiary.pdf          64591     12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              Searches.pdf                                  570021     12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              Seller Affidavit.pdf                          428021     12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              SSN.pdf                                        88509     12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              Stipulation.pdf                               808187     12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              Structured Settlement Questioaire.pdf         643090     12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              UCC Search.pdf                                147132     12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81758              Waiver of IPA.pdf                             346768     12/25/2022 22:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              534810-613376.pdf                          34355828        11/4/2022 1:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              81760 Palomo, Alejandro.tv5                    10397      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              Application.pdf                             2598338      12/25/2022 22:19
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81760              Information.pdf                               453981     12/25/2022 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              Authorization to Release Information.pdf      716230     12/25/2022 22:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              Benefits Letter.pdf                           251645     12/25/2022 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              Court Order.pdf                             2879159      12/25/2022 22:19




                                                                2458
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                                       3467



               All Paths/Locations                                   Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              Credit Report.pdf                           185887     12/25/2022 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              Disclosure - DE.pdf                         247682     12/25/2022 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              Disclosure - NY.pdf                         249678     12/25/2022 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              Disclosure - TX.pdf                         250335     12/25/2022 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              Drivers License.pdf                       1283313      12/25/2022 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              Fasano Report.pdf                           253818     12/25/2022 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              List of Dependents.pdf                      295929     12/25/2022 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              NASP Search.pdf                             230900     12/25/2022 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              Notice of Hearing.pdf                       822964     12/25/2022 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              Pleadings.pdf                               738111     12/25/2022 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              Proof of Delivery.pdf                       819489     12/25/2022 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              Purchase Agreement.pdf                      799637     12/25/2022 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              Release Agreement.pdf                     2423569      12/25/2022 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              Searches.pdf                                219286     12/25/2022 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              Seller Affidavit.pdf                        804958     12/25/2022 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              SSN.pdf                                     193338     12/25/2022 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              Stipulation.pdf                          10492905      12/25/2022 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              Structured Settlement Questionaire.pdf    3614140      12/25/2022 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              UCC Search.pdf                              267457     12/25/2022 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              W9.pdf                                    4917305      12/25/2022 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81760              Waiver of IPA.pdf                           238711     12/25/2022 22:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              554879-803433.pdf                        27205251       11/4/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              81766 Coleman, Pamela.tv5                    10241      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              Amended Court Order.pdf                   3316699        1/5/2023 11:44




                                                                2459
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                                       3467



               All Paths/Locations                                   Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              Annuity Contract.pdf                        290224     12/25/2022 22:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              Application.pdf                           1043488      12/25/2022 22:44
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81766              Information.pdf                             226953     12/25/2022 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              Compromise Settlement Agreement.pdf       1897750      12/25/2022 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              Disclosure - GA.pdf                          47647     12/25/2022 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              Disclosure - NJ.pdf                          54913     12/25/2022 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              Divorce Docs.pdf                          1204145      12/25/2022 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              Drivers License.pdf                         409169     12/25/2022 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              Fasano Report.pdf                           102595     12/25/2022 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              List of Dependents.pdf                    1351712      12/25/2022 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              NASP Search.pdf                              77407     12/25/2022 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              Notice of Cancellation.pdf                   52856     12/25/2022 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              Petition.pdf                                223455     12/25/2022 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              Pleadings.pdf                             2806491      12/25/2022 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              Proof of Delivery.pdf                       642394     12/25/2022 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              Purchase Agreement.pdf                      756417     12/25/2022 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              Request For Acknowledgement.pdf              11257     12/25/2022 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              Searches.pdf                                950114     12/25/2022 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              Seller Affidavit.pdf                      1727296      12/25/2022 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              Spousal Consent.pdf                         366168     12/25/2022 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              SSN.pdf                                     674171     12/25/2022 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              Stipulation.pdf                           7115388        1/5/2023 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              Structured Settlement Questionaire.pdf      212913     12/25/2022 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              W9.pdf                                    6911705      12/25/2022 22:44




                                                                2460
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2462 of
                                       3467



               All Paths/Locations                                Unified Title          File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81766              Waiver of IPA.pdf                              47003      12/25/2022 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              574808-103375.pdf                          18125871        11/4/2022 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              81770 Marshall, Phyllis.tv5                      9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              Application.pdf                               206117      12/25/2022 23:03
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81770              Information.pdf                             3358591       12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              Authorization to Release Information.pdf       83348      12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              Benefits Letter.pdf                            31130      12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              Court Order.pdf                               655699      12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              Credit Report.pdf                              97686      12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              Disclosure - GA.pdf                           361481      12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              Disclosure - MI.pdf                           264466      12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              Disclosure - NE.pdf                           324081      12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              Drivers License.pdf                            77615      12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              Emergency Contacts.pdf                         65730      12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              Fasano Report.pdf                             108441      12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              List of Dependents.pdf                        400572      12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              Minor Compromise Order.pdf                    222776      12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              New - Stipulation.pdf                         923826        2/1/2022 23:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              Notice of Assignment.pdf                      310382      12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              Notice of Hearing.pdf                         288014      12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              Pleadings.pdf                                 284575      12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              Power of Attorney.pdf                       1107556       12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              Proof of Delivery.pdf                         422805      12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              Proof of Service.pdf                           36895      12/25/2022 23:03




                                                              2461
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2463 of
                                       3467



               All Paths/Locations                                   Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              Sale Agreement.pdf                            490190     12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              Searches.pdf                                  211846     12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              Seller Affidavit.pdf                          801982     12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              SSN.pdf                                        52846     12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              Stipulation.pdf                                74370     12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              Structured Settlement Questionaire.pdf      4029891      12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              UCC Financing Statement.pdf                 1585654      12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81770              Waiver of IPA.pdf                             236978     12/25/2022 23:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81771              594822-893387.pdf                           3618282       11/4/2022 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81771              81771 Senat, Matthew.tv5                       10241      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81771              Acknowledgement.pdf                            65532     12/25/2022 23:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81771              Application.pdf                               361564     12/25/2022 23:12
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81771              Information.pdf                               338330     12/25/2022 23:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81771              Authorization to Release Information.pdf      269009     12/25/2022 23:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81771              Benefits Letter.pdf                           214243     12/25/2022 23:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81771              Certificate of Marital Status.pdf             205091     12/25/2022 23:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81771              Certificate of Service.pdf                    220860     12/25/2022 23:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81771              Court Order.pdf                               215749     12/25/2022 23:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81771              Credit Report.pdf                              75913     12/25/2022 23:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81771              Disclosure - FL.pdf                           252870     12/25/2022 23:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81771              Drivers License.pdf                           599149     12/25/2022 23:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81771              Emergency Contacts.pdf                        279409     12/25/2022 23:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81771              Fasano Report.pdf                             125347     12/25/2022 23:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81771              Notice of Hearing.pdf                         268374     12/25/2022 23:12




                                                                2462
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2464 of
                                       3467



               All Paths/Locations                                   Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81771              Petition.pdf                                  232526     12/25/2022 23:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81771              Request For Acknowledgement.pdf               150007     12/25/2022 23:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81771              Request for Settlement Agreement.pdf          252825     12/25/2022 23:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81771              Searches.pdf                                  161322     12/25/2022 23:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81771              Seller Affidavit.pdf                          294649     12/25/2022 23:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81771              SSN.pdf                                       564237     12/25/2022 23:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81771              Structured Settlement Questionaire.pdf         98790     12/25/2022 23:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81771              Transfer Agreement.pdf                        389852     12/25/2022 23:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81771              Waiver of IPA.pdf                             232561     12/25/2022 23:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              614558-733185.pdf                          23141708       11/4/2022 18:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              81773 Gorham, Christy.tv5                      10241      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Acknowledgement.pdf                            26801     12/26/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Annuity Contract.pdf                          199603     12/26/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Application.pdf                               198950     12/26/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Assignment.pdf                                 70852     12/26/2022 10:00
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81773              Information.pdf                               126890     12/26/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Authorization to Release Information.pdf      112502      12/26/2022 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Benefits Letter.pdf                            26884     12/26/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Certificate of Marital Status.pdf             169576     12/26/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Court Order.pdf                               762356     12/26/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Credit Report.pdf                              72817     12/26/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Disclosure - GA.pdf                           156996     12/26/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Drivers License.pdf                            43205     12/26/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Fasano Report.pdf                              47260     12/26/2022 10:00




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               All Paths/Locations                                   Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Notice of Assignmet.pdf                     284741      12/26/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Petition.pdf                                140933      12/26/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Pleadings.pdf                               253493       12/26/2022 6:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Proof of Delivery.pdf                        35183      12/26/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Proof of Service.pdf                        197671      12/26/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Request For Acknowledgement.pdf             187122       12/26/2022 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Searches.pdf                                441167      12/26/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Seller Affidavit.pdf                        536050      12/26/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Seller Identification.pdf                   322163      12/26/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Settlement Agreement.pdf                    283127      12/26/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Spousal Consent.pdf                          90343       12/26/2022 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              SSN.pdf                                      43205      12/26/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Stipulation.pdf                             191485       12/26/2022 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Structured Settlement Questionaire.pdf      122520      12/26/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Transfer Agreement.pdf                   11665135       12/26/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81773              Waiver of IPA.pdf                           131678      12/26/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81775              624811-483377.pdf                        15060949        11/4/2022 18:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81775              81775 Heffelfinger, John.tv5                   9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81775              Application.pdf                             766304      12/26/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81775              Assignment.pdf                              110502      12/26/2022 10:16
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81775              Information.pdf                           1461130       12/26/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81775              Benefits Letter.pdf                          67099      12/26/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81775              Certificate of Service.pdf                  162576      12/26/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81775              Court Order1.pdf                          3158084         1/6/2023 11:56




                                                                2464
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2466 of
                                       3467



               All Paths/Locations                                   Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81775              Credit Report.pdf                              70743     12/26/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81775              Disclosure - PA.pdf                           345653     12/26/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81775              Drivers License.pdf                           405101     12/26/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81775              Emergency Contacts.pdf                        409608     12/26/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81775              Fasano Report.pdf                             122622     12/26/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81775              Notice of Assignment.pdf                      212069     12/26/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81775              Notice of Hearing.pdf                         190781     12/26/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81775              Petition.pdf                                  676193     12/26/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81775              Proof of Delivery.pdf                         599496     12/26/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81775              Request For Acknowledgement.pdf               137548     12/26/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81775              Searches.pdf                                  135127     12/26/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81775              Seller Affidavit.pdf                          901317     12/26/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81775              SSN.pdf                                       405101     12/26/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81775              Stipulation.pdf                               323980     12/26/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81775              Structured Settlement Questionaire.pdf        977577     12/26/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81775              Transfer Agreement.pdf                      2486454      12/26/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81775              Waiver of IPA.pdf                             213656     12/26/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              634767-570077.pdf                          24392394       11/4/2022 18:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              81776 Ashford, Sylvia.tv5                      10240      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              Application.pdf                               296155     12/26/2022 10:32
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81776              Information.pdf                               254535     12/26/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              Authorization to Release Information.pdf      348529     12/26/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              Benefits Letter.pdf                           225962     12/26/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              Court Order.pdf                               425062     12/26/2022 10:32




                                                                2465
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                                       3467



               All Paths/Locations                                   Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              Credit Report.pdf                           608614     12/26/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              Disclosure - MI.pdf                         527314     12/26/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              Divorce Docs.pdf                          1613966      12/26/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              Drivers License.pdf                         447644     12/26/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              Fasano Report.pdf                           106269     12/26/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              List of Dependents.pdf                      119007     12/26/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              NASP Search.pdf                              98813     12/26/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              Pleadings.pdf                               555703     12/26/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              Proof of Service.pdf                        106527     12/26/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              Purchase Agreement.pdf                    3044968      12/26/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              Request For Acknowledgement.pdf              11695     12/26/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              Searches.pdf                                419002     12/26/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              Seller Affidavit.pdf                      1311771      12/26/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              SSN .pdf                                     45692     12/26/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              Stipulation.pdf                           4074543      12/26/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              Structured Settlement Questionaire.pdf    6570124      12/26/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              UCC Search.pdf                              107731     12/26/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              W9.pdf                                      572584     12/26/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81776              Waiver of IPA.pdf                           121340     12/26/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              634825-282177.pdf                         8052580       11/4/2022 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              81777 Duncan, Tamara.tv5                     10242      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Acknowledgement.pdf                         106009     12/26/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Annuity Contract.pdf                        236317     12/26/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Application.pdf                             178885     12/26/2022 11:00




                                                                2466
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2468 of
                                       3467



               All Paths/Locations                                   Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Assignment.pdf                              136384     12/26/2022 11:00
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81777              Information.pdf                             451971     12/26/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Bankruptcy Search.pdf                       427885     12/26/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Benefits Letter.pdf                          55300     12/26/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Certificate of Marital Status.pdf           417094     12/26/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Court Order.pdf                             286835     12/26/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Credit Report.pdf                            53106     12/26/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Disclosure - CT.pdf                          80523     12/26/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Disclosure - MA.pdf                          89902     12/26/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Disclosure.pdf                               93676     12/26/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Drivers License.pdf                         169425     12/26/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Emergency Contacts.pdf                       55096     12/26/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Fasano Report.pdf                           125256     12/26/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Guaranty Agreement.pdf                       51219     12/26/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Minor Compromise Order.pdf                  373306     12/26/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Notice of Hearing.pdf                       209993     12/26/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Petition.pdf                                184962     12/26/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Proof of Service.pdf                        212409     12/26/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Qualified Assignment.pdf                    141913     12/26/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Searches.pdf                                 37306     12/26/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Seller Affidavit.pdf                        775427     12/26/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Settlement Agreement.pdf                    341734     12/26/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              SSN.pdf                                     169425     12/26/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Structured Settlement Questionaire.pdf      287863     12/26/2022 11:01




                                                               2467
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2469 of
                                       3467



               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Transfer Agreement.pdf                      2148661      12/26/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81777              Waiver of IPA.pdf                              63968     12/26/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              654311-741060.pdf                          15546190       11/4/2022 18:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              81781 White, Leslie.tv5                        10861      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              Annuity Contract.pdf                           60497     12/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              Application.pdf                               649323     12/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              Assignment Agreement.pdf                    1315145      12/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              Assignment.pdf                                 41908     12/26/2022 11:13
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81781              Information.pdf                             1542391      12/26/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              Authorization to Release Information.pdf      162350     12/26/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              Certificate of Marital Status.pdf              40523     12/26/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              Certificate of Service.pdf                    215131     12/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              Court Order.pdf                               180327     12/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              Credit Report.pdf                              96054     12/26/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              Disclosure - NV.pdf                            82131     12/26/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              Drivers License.pdf                           650722     12/26/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              Fasano Report.pdf                             265577     12/26/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              List of Dependents.pdf                        126446     12/26/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              New - Ack.pdf                                  57480       1/7/2021 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              Notice of Assignment.pdf                       29804     12/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              Notice of Hearing.pdf                         175763     12/26/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              Petition.pdf                                  323729     12/26/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              Pleadings.pdf                                  63570     12/26/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              Proof of Delivery.pdf                         232217     12/26/2022 11:14




                                                              2468
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2470 of
                                       3467



               All Paths/Locations                                  Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              Sale Assignment.pdf                           203616     12/26/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              Searches.pdf                                   80492     12/26/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              SSN.pdf                                     2379899      12/26/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              Structured Settlement Questionaire.pdf      4028224      12/26/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81781              Waiver of IPA.pdf                              83136     12/26/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81783              674857-882615.pdf                          18875625       11/4/2022 18:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81783              81783 Thomas, Cedric.tv5                       10432      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81783              Annuity Contract.pdf                           54937     12/26/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81783              Application.pdf                               370705     12/26/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81783              Assignment.pdf                                122125     12/26/2022 11:26
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81783              Information.pdf                               429528     12/26/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81783              Authorization to Release Information.pdf    1921876      12/26/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81783              Court Order.pdf                             1627224      12/26/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81783              Credit Report.pdf                              65249     12/26/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81783              Disclosure - NY.pdf                           187565     12/26/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81783              Disclosure - TX.pdf                           185875     12/26/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81783              Drivers License.pdf                           581023     12/26/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81783              Emergency Contacts.pdf                        193631     12/26/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81783              Fasano Report.pdf                             126730     12/26/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81783              Infant Compromise Order.pdf                   404487     12/26/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81783              Petition.pdf                                  259983     12/26/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81783              Pleadings.pdf                                 725006     12/26/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81783              Power of Attorney.pdf                         199492     12/26/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81783              Request for Settlement Agreement.pdf          222662     12/26/2022 11:26




                                                              2469
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                                       3467



               All Paths/Locations                                   Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81783              Searches.pdf                                319607     12/26/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81783              Seller Affidavit.pdf                      1358496      12/26/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81783              SSN.pdf                                     368814     12/26/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81783              Stipulation.pdf                           3353808      12/26/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81783              Structured Settlement Questionaire.pdf      100322     12/26/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81783              Transfer Agreement.pdf                    6921360      12/26/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81790              714817-793382.pdf                         6169301       11/4/2022 18:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81790              81790 Groven, Janet.tv5                      10563      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81790              Acknowledgement.pdf                          29322     12/26/2022 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81790              Application.pdf                             479544      12/27/2022 8:34
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81790              Information.pdf                             474617      12/27/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81790              Benefits Letter.pdf                          87105      12/27/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81790              Certificate of Mairtal Status.pdf            81367     12/26/2022 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81790              Certificate of Service.pdf                  213066      12/27/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81790              Court Order.pdf                             186973      12/27/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81790              Credit Report.pdf                            60429      12/27/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81790              Disclosure - IA.pdf                         115948      12/27/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81790              Disclosure - WA.pdf                         115905      12/27/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81790              Drivers License.pdf                         735983      12/27/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81790              Emergency Contacts.pdf                      126178      12/27/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81790              Fasano Reports.pdf                          122975      12/27/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81790              Notice of Hearing.pdf                       221794      12/27/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81790              Petition.pdf                                113974     12/26/2022 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81790              Request For Acknowledgement.pdf             170160      12/27/2022 8:34




                                                                2470
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                                       3467



               All Paths/Locations                                   Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81790              Searches.pdf                                  516455      12/27/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81790              Seller Affidavit.pdf                          576090      12/27/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81790              SSN.pdf                                       735982      12/27/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81790              Stipulation.pdf                               348784      12/27/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81790              Structured Settlement Questionaire.pdf        179532      12/27/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81790              Transfer Agreement.pdf                      1322085      12/26/2022 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81790              Waiver of IPA.pdf                             153772      12/27/2022 8:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              734763-790493.pdf                          20433327       11/4/2022 19:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              81791 Holbrook, Jay.tv5                        10241      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              Application.pdf                             3366185      12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              Assignment Agreement.pdf                      335330     12/26/2022 12:09
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81791              Information.pdf                               295556     12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              Authorization to Release Information.pdf       53444     12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              Benefits Letter.pdf                            38610     12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              Certificate of Marital Status.pdf             113027     12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              Collateral Assignment.pdf                   1558928      12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              Court Order.pdf                             2272771      12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              Credit Report.pdf                             125589     12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              Disclosure - GA.pdf                            85703     12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              Divorce Docs.pdf                            2272974      12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              Drivers License.pdf                           226328     12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              Fasano Report.pdf                             102972     12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              Infant Compromise Order.pdf                 1722381      12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              List of Dependents.pdf                        113497     12/26/2022 12:09




                                                                2471
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                                       3467



               All Paths/Locations                                   Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              New - Ack.pdf                                  87606     10/25/2021 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              Petition.pdf                                  387773     12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              Pleadings.pdf                                 410750     12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              Proof of Delivery.pdf                         232970     12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              Request For Acknowledgement.pdf               281791     12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              Sale Agreement.pdf                            105550       1/5/2024 22:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              Searches.pdf                                  546988     12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              Seller Affidavit.pdf                          114637     12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              Settlement Agreement.pdf                    2283974      12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              SSN.pdf                                       228629     12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              Structured Settlement Questionaire.pdf        270069     12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              UCC Financing Statement.pdf                   130427     12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              W9.pdf                                        723326     12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81791              Waiver of IPA.pdf                              86481     12/26/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              754827-821817.pdf                          19398496       11/4/2022 19:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              81793 Gray, Steven.tv5                         10450      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Annuity Contract.pdf                          550672     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Application.pdf                               247366     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Assignment.pdf                                148225     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81793              Information.pdf                               147566     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Authorization to Release Information.pdf      112170     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Benefits Letter.pdf                            71499     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Court Order.pdf                             7679407      12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Credit Report.pdf                              59604     12/26/2022 16:35




                                                              2472
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                                       3467



               All Paths/Locations                                   Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Disclosure - CT.pdf                         175161     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Disclosure - DE.pdf                         175157     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Disclosure - MA.pdf                         175705     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Disclosure.pdf                              151951     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Drivers License.pdf                          41552     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Emergency Contacts.pdf                      219244     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Fasano Report.pdf                           101467     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              List of Dependents.pdf                       79723     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              New - Ack.pdf                                88623      6/22/2022 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Notice of Hearing.pdf                       122745     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Petition.pdf                                132559     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Proof of Service.pdf                        165952     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Qualified Assignement.pdf                    86496     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Request For Acknowledgement.pdf             149892     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Request for Settlement Agreement.pdf        148085     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Searches.pdf                              2639184      12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Seller Affidavit.pdf                        628544     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              SSN.pdf                                     135551     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Structured Settlement Questionaire.pdf       73024     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Transfer Agreement.pdf                      391334     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              UCC Financing Statement.pdf                  42020     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81793              Waiver of IPA.pdf                           147122     12/26/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81795              784462-113117.pdf                        23509276       11/4/2022 19:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81795              81795 Jones, David.tv5                       10448      10/9/2024 17:36




                                                               2473
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2475 of
                                       3467



               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81795              Application.pdf                               791015     12/26/2022 16:50
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81795              Information.pdf                               243704     12/26/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81795              Authorization to Release Information.pdf      236900     12/26/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81795              Benefits Letter.pdf                           907763     12/26/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81795              Court Order.pdf                               657037     12/26/2022 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81795              Credit Report.pdf                           5037805      12/26/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81795              Disclosure.pdf                                586940     12/26/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81795              Drivers License.pdf                           719673     12/26/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81795              Fasano Report.pdf                              95057     12/26/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81795              NASP Search.pdf                               106808     12/26/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81795              New - Purchase Agreement.pdf                  323507       9/1/2020 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81795              Notice of Hearing.pdf                         711908     12/26/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81795              Petition.pdf                                  998972     12/26/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81795              Pleadings.pdf                                 218112     12/26/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81795              Proof of Delivery.pdf                          80790     12/26/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81795              Sale Agreement.pdf                            444140     12/26/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81795              Searches.pdf                                  431662     12/26/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81795              SSN.pdf                                       493293     12/26/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81795              Stipulation.pdf                             1639301      12/26/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81795              Structured Settlement Questionaire.pdf        258235     12/26/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81795              Waiver of IPA.pdf                              54185     12/26/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              81798 Flowers, Tammy.tv5                       10451      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              824631-152050.pdf                           7495644       11/4/2022 19:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Application.pdf                               343503     12/26/2022 17:36




                                                                2474
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2476 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Assignment.pdf                             69641     12/26/2022 17:35
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81798              Information.pdf                         1675368      12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Benefits Letter.pdf                        69624     12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Certificate of Marital Status.pdf         204739     12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Court Order.pdf                           145590     12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Credit Report.pdf                          89309     12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Disclosure - CT.pdf                       181288     12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Disclosure - DE.pdf                       181380     12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Disclosure - MA.pdf                       181761     12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Disclosure - TX.pdf                       181149     12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Drivers License.pdf                       603493     12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Emergency Contacts.pdf                    285829     12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Fasano Report.pdf                         121669     12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              New - Ack.pdf                             232542      4/29/2021 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Notice of Hearing.pdf                     179840     12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Petition.pdf                              190183     12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Pleadings.pdf                             284573     12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Privacy Notice.pdf                        243178     12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Proof of Service.pdf                      294748     12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Request For Acknowledgement.pdf         1453631      12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Searches.pdf                              123276     12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Seller Affidavit.pdf                      303291     12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Settlement Agreement.pdf                  265308     12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Spousal Consent.pdf                       190767     12/26/2022 17:35




                                                              2475
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2477 of
                                       3467



               All Paths/Locations                                  Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              SSN.pdf                                     603494     12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Structured Settlement Questionaire.pdf      216613     12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Transfer Agreement.pdf                      313790     12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81798              Waiver of IPA.pdf                           231963     12/26/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              81801 Bernal, Roberto.tv5                    10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              Annuity Contract.pdf                        299050     12/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              Application.pdf                             414424     12/26/2022 17:50
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81801              Information.pdf                           1012310      12/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              Certificate of Marital Status.pdf            48467     12/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              Court Order June 2022.pdf                   595135      1/10/2023 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              Credit Report.pdf                            66543     12/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              Disclosure - CT.pdf                         162138     12/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              Disclosure - DE.pdf                         164272     12/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              Disclosure - MA.pdf                         182021     12/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              Disclosure - TX.pdf                         158377     12/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              Drivers License.pdf                       3050282      12/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              Emergency Contacts.pdf                      178507     12/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              Fasano Report.pdf                           119727     12/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              List of Dependents.pdf                      113430     12/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              Notice of Hearing.pdf                       184387     12/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              Pleadings.pdf                               586611     12/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              Power of Attorney.pdf                       155897     12/26/2022 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              Privacy Notice.pdf                           56970     12/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              Proof of Service.pdf                        191119     12/26/2022 17:50




                                                              2476
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                                       3467



               All Paths/Locations                                   Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              Qualified Assignement.pdf                               331557     12/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              Request For Acknowledgement.pdf                         293233     12/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              Seller Affidavit.pdf                                    324174     12/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              Settlement Agreement.pdf                                367957     12/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              SSN.pdf                                                 498733     12/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              Structured Settlement Questionaire.pdf                  105556     12/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              Transfer Agreement.pdf                                  164334     12/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81801              Waiver of IPA.pdf                                       117807     12/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81802              81802 Sims, Tanisha.tv5                                  10205      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81802              844859-992292.pdf                                    30157911       11/4/2022 19:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81802              Application.pdf                                         768312     12/26/2022 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81802              Authorization to Release Information.pdf                 77420     12/26/2022 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81802              Benefits Letter.pdf                                     147743     12/26/2022 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81802              Court Order.pdf                                         711855     12/26/2022 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81802              Credit Report.pdf                                     1491294      12/26/2022 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81802              Disclosure.pdf                                        3808431      12/26/2022 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81802              Drivers License.pdf                                     995839     12/26/2022 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81802              Fasano Report.pdf                                       632508     12/26/2022 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81802              New - Ack.pdf                                         2298690       8/16/2022 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81802              2022-08-05 - (Sims-Travis, Tanisha) Order.PDF         1826936        8/5/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81802              2022-08-11 - (Sims, Tanisha) Letter of Directi.PDF      152239      8/11/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81802              Pleadings.pdf                                         1576261      12/26/2022 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81802              Prior Court Orders.pdf                                6451961      12/26/2022 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81802              Sale Agreement.pdf                                    1861224      12/26/2022 18:04




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                                       3467



               All Paths/Locations                                   Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81802              Searches.pdf                                  291415     12/26/2022 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81802              Seller Affidavit.pdf                          523929     12/26/2022 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81802              SSN.pdf                                       283450     12/26/2022 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81802              Structured Settlement Questionaire.pdf        798489     12/26/2022 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81802              Waiver of IPA.pdf                              61359     12/26/2022 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81803              81803 McCain, Alexander.tv5                    10455      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81803              854268-402199.pdf                           7692468       11/4/2022 19:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81803              Annuity Contract.pdf                           14941     12/26/2022 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81803              Application.pdf                               743744     12/26/2022 18:21
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81803              Information.pdf                               317867     12/26/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81803              Authorization to Release Information.pdf       43409     12/26/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81803              Court Order.pdf                             1302546      12/26/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81803              Credit Report.pdf                             312428     12/26/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81803              Disclosure - TX.pdf                           238645     12/26/2022 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81803              Drivers License.pdf                            87171     12/26/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81803              Fasano Report.pdf                             176085     12/26/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81803              List of Dependents.pdf                         13535     12/26/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81803              NASP Search.pdf                                95743     12/26/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81803              Notice of Hearing.pdf                         394806     12/26/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81803              Pleadings.pdf                                 590703     12/26/2022 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81803              Purchase Agreement.pdf                        780703     12/26/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81803              Searches.pdf                                  296413     12/26/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81803              Seller Affidavit.pdf                           37657     12/26/2022 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81803              SSN.pdf                                       179904     12/26/2022 18:21




                                                              2478
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                                       3467



               All Paths/Locations                                   Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81803              Stipulation.pdf                               786368     12/26/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81803              Waiver of IPA.pdf                             210916     12/26/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              81804 Williams, Luther.tv5                     10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              854695-923286.pdf                          26758342       11/4/2022 19:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              Acknowledgement.pdf                            29431     12/26/2022 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              Application.pdf                             1491996      12/26/2022 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              Assignment.pdf                                 94183     12/26/2022 18:34
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81804              Information.pdf                             1668054      12/26/2022 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              Authorization to Release Information.pdf    1946566      12/26/2022 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              Benefits Letter.pdf                            56708     12/26/2022 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              Certificate of Marital Status.pdf             313049     12/26/2022 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              Certificate of Service.pdf                    285793     12/26/2022 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              Court Order.pdf                             3165101      12/26/2022 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              Credit Report.pdf                              72452     12/26/2022 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              Disclosure - FL.pdf                           799666     12/26/2022 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              Disclosure - WA.pdf                           766099     12/26/2022 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              Drivers License.pdf                         2357445      12/26/2022 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              Emergency Contacts.pdf                        281996     12/26/2022 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              Fasano Report.pdf                             119018     12/26/2022 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              Notice of Hearing.pdf                         406483     12/26/2022 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              Petition.pdf                                  259864     12/26/2022 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              Seller Affidavit.pdf                        1005244      12/26/2022 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              SSN.pdf                                       325440     12/26/2022 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              Stipulation.pdf                               354882     12/26/2022 18:33




                                                                2479
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2481 of
                                       3467



               All Paths/Locations                                   Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              Structured Settlement Questionaire.pdf    3189806      12/26/2022 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              Transfer Agreement.pdf                    5261658      12/26/2022 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              UCC Financing Statement.pdf                  97877     12/26/2022 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81804              Waiver of IPA.pdf                           474592     12/26/2022 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81805              81805 Carpenter, Elsie.tv5                   10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81805              854846-503405.pdf                        25582856       11/4/2022 19:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81805              Annuity Contract.pdf                        291236     12/26/2022 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81805              Application.pdf                             351443     12/26/2022 18:46
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81805              Information.pdf                           3356770      12/26/2022 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81805              Certificate of Marital Status.pdf           199732     12/26/2022 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81805              Credit Report.pdf                            75984     12/26/2022 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81805              Disclosure - OH.pdf                         107258     12/26/2022 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81805              Drivers License.pdf                       1762364      12/26/2022 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81805              Emergency Contacts.pdf                       63698     12/26/2022 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81805              Fasano Report.pdf                           120504     12/26/2022 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81805              Pleadings.pdf                               186490     12/26/2022 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81805              Searches.pdf                                478796     12/26/2022 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81805              Seller Affidavit.pdf                        823327     12/26/2022 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81805              SSN.pdf                                   1762363      12/26/2022 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81805              Stipulation.pdf                             738983     12/26/2022 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81805              Structured Settlement Questionaire.pdf      551123     12/26/2022 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81805              Transfer Agreement.pdf                    1871962      12/26/2022 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81805              Waiver of IPA.pdf                            76802     12/26/2022 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81808              81808 Harris, Kassim.tv5                     10450      10/9/2024 17:36




                                                                2480
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2482 of
                                       3467



               All Paths/Locations                                   Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81808              874837-623397.pdf                          11027198       11/4/2022 19:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81808              Annuity Contract.pdf                           60374     12/26/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81808              Application.pdf                                84184     12/26/2022 18:55
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81808              Information.pdf                               123226     12/26/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81808              Authorization to Release Information.pdf      209112     12/26/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81808              Certificate of Marital Status.pdf              17321     12/26/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81808              Certificate of Service.pdf                    263729     12/26/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81808              Court Order.pdf                             5344708      12/26/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81808              Disclosure - GA.pdf                            83094     12/26/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81808              Drivers License.pdf                           261671     12/26/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81808              Emergency Contacts.pdf                        225732     12/26/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81808              Fasano Report.pdf                             101073     12/26/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81808              Petition.pdf                                  303051     12/26/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81808              Pleadings.pdf                                 339865     12/26/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81808              Proof of Delivery.pdf                         100027     12/26/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81808              Proof of Service.pdf                          155795     12/26/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81808              Searches.pdf                                  314368     12/26/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81808              Seller Affidavit.pdf                          254730     12/26/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81808              SSN.pdf                                       160890     12/26/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81808              Stipulation.pdf                               639060     12/26/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81808              Structured Settlement Questionaire.pdf        170066     12/26/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81808              Transfer Agreement.pdf                        296914     12/26/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81808              Waiver of IPA.pdf                              32270     12/26/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81814              81814 Vilimek, Erik.tv5                        10259      10/9/2024 17:33




                                                                2481
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2483 of
                                       3467



               All Paths/Locations                                   Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81814              904463-773118.pdf                        44836270       11/4/2022 19:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81814              Annuity Contract.pdf                        497302     12/26/2022 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81814              Application.pdf                             466618     12/26/2022 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81814              Assignment Agreement.pdf                  1976225      12/26/2022 19:05
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81814              Information.pdf                           2795789      12/26/2022 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81814              Certificate of Marital Status.pdf           104289     12/26/2022 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81814              Contact Information.pdf                     193982     12/26/2022 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81814              Court Order.pdf                           2683791      12/26/2022 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81814              Disclosure - AZ.pdf                         965559     12/26/2022 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81814              Disclosure - IL.pdf                         537217     12/26/2022 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81814              Disclosure - TX.pdf                         844770     12/26/2022 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81814              Drivers License.pdf                       1075544      12/26/2022 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81814              Fasano Report.pdf                           169167     12/26/2022 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81814              List of Dependents.pdf                      961595     12/26/2022 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81814              Notice of Hearing.pdf                       574998     12/26/2022 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81814              Pleadings.pdf                             2641194      12/26/2022 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81814              Proof of Delivery.pdf                     2407262      12/26/2022 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81814              Searches.pdf                              1053036      12/26/2022 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81814              Seller Affidavit.pdf                      1762868      12/26/2022 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81814              Settlement Agreement Affidavit.pdf          429860     12/26/2022 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81814              SSN.pdf                                     597555     12/26/2022 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81814              Stipulation.pdf                           4630027      12/26/2022 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81814              Structured Settlement Questionaire.pdf    2273810      12/26/2022 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81814              Waiver of IPA.pdf                           316594     12/26/2022 19:05




                                                                2482
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2484 of
                                       3467



               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              81822 Blumberg, David.tv5                  10010      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              954693-303284.pdf                      19224861       11/4/2022 19:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              Acknowledgement.pdf                       110511     12/26/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              Application.pdf                           671500     12/26/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              Benefits Letter.pdf                        45829     12/26/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              Certificate of Marital Status.pdf         111730     12/26/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              Certificate of Service.pdf                378154     12/26/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              Court Order.pdf                           513903     12/26/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              Credit Report.pdf                         116574     12/26/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              Disclosure - TX.pdf                        59397     12/26/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              Disclosure - WA.pdf                        49327     12/26/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              Divorce Docs.pdf                        2620393      12/26/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              Drivers License.pdf                        84699     12/26/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              Emergency Contacts.pdf                     20146     12/26/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              Fasano Report.pdf                         101050     12/26/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              List of Dependents.pdf                    263317     12/26/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              Notice of Hearing.pdf                     388391     12/26/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              Pleadings.pdf                             331285     12/26/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              Proof of Delivery.pdf                     192922     12/26/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              Sale Agreement.pdf                        293991     12/26/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              Searches.pdf                               66006     12/26/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              Seller Affidavit.pdf                      112763     12/26/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              Settlement Agreement.pdf                  225932     12/26/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              SSN.pdf                                 8831986      12/26/2022 19:34




                                                              2483
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2485 of
                                       3467



               All Paths/Locations                                Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              Stipulation.pdf                             299784     12/26/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              Structured Settlement Questionaire.pdf      291123     12/26/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81822              Waiver of IPA.pdf                            92669     12/26/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81823              81823 Rowley, Donald.tv5                     10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81823              954901-933452.pdf                        11806460       11/4/2022 19:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81823              Application.pdf                             666822     12/26/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81823              Assignment.pdf                               20518     12/26/2022 20:24
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81823              Information.pdf                           2753344      12/26/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81823              Benefits Letter.pdf                          25905     12/26/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81823              Certificate of Marital Status.pdf            58914     12/26/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81823              court order Oct 2022.pdf                    888241      1/13/2023 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81823              Disclosure - UT.pdf                         192185     12/26/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81823              Drivers License.pdf                         284353     12/26/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81823              Emergency Contacts.pdf                      323754     12/26/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81823              Fasano Report.pdf                           102761     12/26/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81823              List of Dependents.pdf                       61331     12/26/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81823              Petition.pdf                              1926934      12/26/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81823              Pleadings.pdf                               292981     12/26/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81823              Proof of Delivery.pdf                       745989     12/26/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81823              Sale Agreement.pdf                        2178597      12/26/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81823              Searches.pdf                                 70031     12/26/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81823              Settlement Agreement Affidavit.pdf          396807     12/26/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81823              SSN.pdf                                     284353     12/26/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81823              Structured Settlement Questionaire.pdf      290282     12/26/2022 20:24




                                                                2484
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                                       3467



               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81823              UCC Search.pdf                            56965      12/26/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81823              Waiver of IPA.pdf                        469120      12/26/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              81826 Denico, Nicholas.tv5                10263       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              974787-103346.pdf                     15006419        11/4/2022 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              Acknowledgement.pdf                       35935      12/26/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              Application.pdf                          116837      12/26/2022 21:02
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81826              Information.pdf                        3690218       12/26/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              Benefits Letter.pdf                      176563      12/26/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              Certificate of Service.pdf                  8266     12/26/2022 21:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              Court Order.pdf                          780772      12/26/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              Credit Report.pdf                        113646      12/26/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              Disclosure - DE.pdf                       50645      12/26/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              Disclosure - FL.pdf                       50656      12/26/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              Disclosure - NY.pdf                       50708      12/26/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              Drivers License.pdf                      108775      12/26/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              Fasano Report.pdf                        101272      12/26/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              List of Dependents.pdf                   114270      12/26/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              List of Prior Transfers.pdf               44860      12/26/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              Notice of Hearing.pdf                       8095     12/26/2022 21:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              Pleadings.pdf                            668285      12/26/2022 21:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              Proof of Delivery.pdf                    267410      12/26/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              Qualified Assignement.pdf                181422      12/26/2022 21:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              Sale Agreement.pdf                       563111      12/26/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              Searches.pdf                             117862      12/26/2022 21:02




                                                              2485
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                                       3467



               All Paths/Locations                                   Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              Seller Affidavit.pdf                        341312      12/26/2022 21:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              Settlement Agreement.pdf                    666112      12/26/2022 21:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              SSN.pdf                                      31616      12/26/2022 21:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              Structured Settlement Questionaire.pdf    3878946       12/26/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81826              Waiver of IPA.pdf                            78589      12/26/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81828              81828 Jeffery, Joanne.tv5                    10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81828              994231-742960.pdf                        13793983        11/4/2022 19:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81828              image001.png                                   8259
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81828              image002.png                                    196
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81828              image003.png                                   8261
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81828              image004.png                                   8262
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81828              Acknowledgement.pdf                          96498      12/26/2022 21:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81828              Application.pdf                             577937      12/26/2022 21:10
Saiph consulting|\Audit Materials Received-   Assignment from HY to North Avenue
SuttonPark\Closing Binders\81828              Funding.pdf                                 264383       6/15/2024 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81828              Assignment.pdf                              102697      12/26/2022 21:11
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81828              Information.pdf                           1623221       12/26/2022 21:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81828              Court Order.pdf                              87523      12/26/2022 21:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81828              Credit Report.pdf                            73530      12/26/2022 21:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81828              Disclosure.pdf                              882146      12/26/2022 21:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81828              Emergency Contacts.pdf                       41869      12/26/2022 21:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81828              Fasano Report.pdf                            40246      12/26/2022 21:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81828              List of Dependents.pdf                      189200      12/26/2022 21:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81828              Petition.pdf                                703571      12/26/2022 21:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81828              Purchase Agreement.pdf                    1091956       12/26/2022 21:11




                                                               2486
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                                       3467



               All Paths/Locations                                   Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81828              Searches.pdf                                100156      12/26/2022 21:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81828              Seller Affidavit.pdf                      1426563       12/26/2022 21:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81828              Spousal Consent.pdf                          66837      12/26/2022 21:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81828              SSN.pdf                                      41710      12/26/2022 21:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81828              Structured Settlement Questionaire.pdf    3924362       12/26/2022 21:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81828              UCC Search.pdf                                 7451     12/26/2022 21:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81828              Waiver of IPA.pdf                           274710      12/26/2022 21:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              81829 Butler, Samantha.tv5                   10262       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              994269 - Stipulation.pdf                    824119       4/21/2020 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              994269-312987.pdf                        14658695        11/4/2022 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              Application.pdf                           1440783       12/26/2022 21:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              Assignment.pdf                               69872      12/26/2022 21:21
Saiph consulting|\Audit Materials Received-   Authorization for Protected Health
SuttonPark\Closing Binders\81829              Information.pdf                           2486773       12/26/2022 21:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              Benefits Letter.pdf                         149811      12/26/2022 21:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              Certificate of Marital Status.pdf           210589      12/26/2022 21:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              Court Order.pdf                             276475      12/26/2022 21:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              Credit Report.pdf                            55031      12/26/2022 21:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              Disclosure - GA.pdf                         485687      12/26/2022 21:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              Divorce Docs.pdf                          1007371       12/26/2022 21:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              Drivers License.pdf                         672698      12/26/2022 21:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              Fasano Report.pdf                           102670      12/26/2022 21:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              New - Stipulation.pdf                       824119       4/21/2020 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              Notice of Assignment.pdf                    247862      12/26/2022 21:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              Petition.pdf                                256436      12/26/2022 21:21




                                                              2487
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2489 of
                                       3467



               All Paths/Locations                                   Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              Pleadings.pdf                                      169177     12/26/2022 21:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              Proof of Delivery.pdf                               47705     12/26/2022 21:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              Proof of Service.pdf                               260328     12/26/2022 21:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              Request For Acknowledgement.pdf                  1252497      12/26/2022 21:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              Searches.pdf                                       255622     12/26/2022 21:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              Seller Affidavit.pdf                               190623     12/26/2022 21:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              SSN.pdf                                            672698     12/26/2022 21:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              Stipulation.pdf                                    820420     12/26/2022 21:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              Structured Settlement Questionaire.pdf             334987     12/26/2022 21:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              Transfer Agreement.pdf                             192907     12/26/2022 21:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\81829              Waiver of IPA.pdf                                  211453     12/26/2022 21:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               8295 Gunn, Rosie.tv5                                10013      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               Annuity K.pdf                                      173749      6/27/2013 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               Application.pdf                                  1014523       4/17/2015 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               Authorization to Release Information-Gunn.pdf      427893      4/16/2015 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               comp report.pdf                                     36824      10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               Deduction Stmt-Gunn.pdf                             23793      5/28/2015 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               Disclosure -KY.pdf                                 847131      10/9/2024 21:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               Disclosure-OH.pdf                                  848139      10/9/2024 21:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               experian.pdf                                        31493       4/9/2015 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               HIPAA- Gunn.pdf                                  1234992       10/9/2024 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               Life Questionnaire-Gunn.pdf                      3809098       10/9/2024 22:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               LOB 4-15-2015.pdf                                   22349      4/15/2015 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               NASP - Initial.pdf                                  28082       4/8/2015 17:38




                                                                2488
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2490 of
                                       3467



               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               New - FE Stipulation.pdf                        442623      10/9/2024 20:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               Notice of Deduction Statement-Gunn.pdf           29531      5/28/2015 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               Notice of Hearing.pdf                            76418      4/21/2015 16:29
Saiph consulting|\Audit Materials Received-   Proposed Order & Stipulation - executed by
SuttonPark\Closing Binders\8295               AEGON & Singer.pdf                              473346      5/21/2015 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               Purchase Agreement 4-5-2015 Gunn.pdf          2125061       4/16/2015 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               QA.pdf                                           96880      6/27/2013 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               Questionnaire.pdf                             1272241       10/9/2024 21:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               R&S.pdf                                         236429      6/27/2013 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               Redirection Confirmation New 8295.pdf           218722       5/5/2023 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               RFB letter faxed.pdf                             49512      10/9/2024 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               SS card.pdf                                      55957       7/1/2013 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               Tax Bill-State Tax Lien-Gunn.pdf                 25323      5/27/2015 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               Transfer Order 5-27-2015.pdf                    697919      10/9/2024 21:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8295               UCC-Gunn R-No results.pdf                       173655      4/24/2015 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8472               123458539R03 Nina Walton.pdf                     23513      10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8472               8472 - Default Judgment.pdf                   2328005       10/9/2024 22:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8472               8472 - Proof of AC.pdf                        3588237       10/9/2024 22:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8472               8472 - Proof of Pmt.pdf                          40466      12/9/2020 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8472               8472 - Purchase Agreement.pdf                 8700121       10/9/2024 23:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8472               8472 Walton, Nina.tv5                            10015      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8472               Annuity Contract.pdf                            594899     11/30/2017 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8472               Application.pdf                               1070004      11/30/2017 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8472               Drivers License.pdf                             201892     11/30/2017 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8472               Judgement-Walton.pdf                          2333802       6/11/2015 11:51




                                                             2489
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2491 of
                                       3467



               All Paths/Locations                                Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8472               New - Default Judgment.pdf                   2328005       10/9/2024 22:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8472               New - Proof of AC.pdf                        3588237       10/9/2024 22:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8472               New - Purchase Agreement.pdf                 8700121       10/9/2024 23:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8472               Proof of Payment - Check.pdf                    34151      12/4/2023 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8472               Questionnaire.pdf                            1055217      11/30/2017 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8472               Seller Identification.pdf                      201892     11/30/2017 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\8472               Walton, Nina ,123458539S01 05-02-1997.pdf   69195853       2/19/2015 15:39
Saiph consulting|\Audit Materials Received-   Walton, Nina ,123458539S02 01-28-
SuttonPark\Closing Binders\8472               1998_Part1.pdf                              62651106       6/15/2015 15:57
Saiph consulting|\Audit Materials Received-   Walton, Nina ,123458539S02 01-28-
SuttonPark\Closing Binders\8472               1998_Part2.pdf                              30501161       6/15/2015 15:57
Saiph consulting|\Audit Materials Received-   Dorchester Cashflows Pledged- FOR
SuttonPark\Closing Binders                    RESEARCH.xlsx                                1004612       12/29/2023 7:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\LC -Zip Codes      Batch 4.xlsx                                    19856       2/8/2024 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\LC -Zip Codes      Batch 5.xlsx                                    19826        2/8/2024 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\LC -Zip Codes      Batch 6.xlsx                                    19838        2/8/2024 6:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\LC -Zip Codes      Batch 7.xlsx                                    19723        2/8/2024 5:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\LC -Zip Codes      Batch 8.xlsx                                    19839        2/8/2024 4:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\LC -Zip Codes      Batch 9.xlsx                                    19731        2/8/2024 2:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            10735 Sandora, Joseph.xls                      102912      7/10/2024 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            10766 Pardi, Patrick.xls                        74752      7/10/2024 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            10983 Davis, Robert.xls                         89600      7/10/2024 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            13240 Foster, James.xls                        162816      7/10/2024 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            17248 Allen, Scott.xls                          67072      7/10/2024 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            17284 Thomas, Anita.xls                         46592      7/10/2024 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            17471.xls                                       58368      7/10/2024 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            17473 Thornton, Donald.xls                      76800      7/10/2024 12:03




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               All Paths/Locations                              Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            17916 Flowers, Bobby.xls              71680      7/10/2024 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            18044 Perez, Yobani.xls               73216      7/10/2024 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            18113 Holloway, Cleveland.xls         90112      7/10/2024 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            18138 Berghman, Earle.xls             53760      7/10/2024 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            18192 Stringfellow, Joseph.xls        81920      7/10/2024 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            18252 Reeves, John.xls                50176      7/10/2024 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            18317 Carter, Nathaniel.xls          107520      7/10/2024 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            18366 Diffenderfer, James.xls         50688      7/10/2024 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            18368 Duncan, Douglas.xls             70144      7/10/2024 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            18431 Tripp, Rosa.xls                 66048      7/10/2024 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            18435 Martin, Tamara.xls              81920      7/10/2024 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            18604 Nelson, John.xls                75776      7/10/2024 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            18617 Nelson, John.xls                75776      7/10/2024 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            18623 Ozuk, Thomas.xls                67584      7/10/2024 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            18731 Jordan, Clifton.xls             87552      7/10/2024 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            18783 Duke, Russell.xls               62464      7/10/2024 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            18803 Brandao, Daniel.xls             90624      7/10/2024 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            18812 Applebee, Thomas.xls            81920      7/10/2024 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            18813 Anderson, Alan.xls              88064      7/10/2024 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            18833 Bizick, Mark.xls                88576      7/10/2024 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            19384 Whitmer, Peter.xls              95744      7/10/2024 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            19391 Newmans. David.xls              80896      7/10/2024 12:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            19396 Morrison, Justin.xls            48640      7/10/2024 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            19405 Davis, Jordan.xls               52736      7/10/2024 12:56




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            19418 Inscore, Scotty.xls              93184      7/10/2024 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            21340 Birge, Rickey.xls                58880      7/10/2024 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            21341 Deala, Tobie.xls                 59392      7/10/2024 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            21342 Williams, Jennifer.xls           86016      7/10/2024 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            21343 Cole-Angelo, Sara.xls            95232      7/10/2024 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            22693 Sarver, Jules.xls                93696      7/10/2024 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            22708 Mobray, Timothy.xls             105984      7/10/2024 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            22713 Williams, Patrick.xls            44032      7/10/2024 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            22715 Leach, Donald.xls               106496      7/10/2024 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            22717 Shackleford, Arthur.xls          95232      7/10/2024 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            23316 Nixon, Rosie.xls                 58368      7/10/2024 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            29413 Williams, Edward.xls             63488      7/10/2024 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            29465 Bame, Robert.xls                 57344      7/10/2024 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            29475 Baker-Puryear, Amanda.xls       106496      7/10/2024 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            29656 Britton, Sonya.xls               69120      7/10/2024 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            29663 Batten, Jennifer.xls             43008      7/10/2024 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            29699 Westberry, Edward.xls            44544      7/10/2024 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            29700 Watkins, John.xls                44544      7/10/2024 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            30856 Summerson, Marla.xls             86016      7/10/2024 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            31039 St Germain, Sandra.xls           71680      7/10/2024 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            31067 Majesty, Patrick.xls             44544      7/10/2024 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            31115 Payne, Kevin.xls                116224      7/10/2024 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            31364 Gutierrez, Brenda.xls           122368      7/10/2024 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            31397 Rios, Ernestina.xls              74752      7/10/2024 13:23




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            31561 Jeter, Lindsey.xls               97280      7/10/2024 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            31762 Kravis, Rebecca.xls             103424      7/10/2024 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            33487 Kaufman, John.xls               109056      7/10/2024 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            33551 De Los Rios, Humberto.xls       106496      7/10/2024 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            33582 Bilger, Albert.xls               83968      7/10/2024 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            33590 Anas, Dawn.xls                   92672      7/10/2024 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            34894 Benbow, Fredrick.xls             74240      7/10/2024 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            34982 Graham, Mary.xls                 57856      7/10/2024 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            35021 Foster, Johnny.xls               68608      7/10/2024 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            35130 Poltrock, Kevin.xls              94720      7/10/2024 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            35254 Dillard, Tyrone.xls              69632      7/10/2024 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            35314 Belcher, Rodney.xls              45568      7/10/2024 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            35407 Williams, Tyree.xls              83456      7/10/2024 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            35493 Harris, Brenda.xls               47104      7/10/2024 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            35499 Paiz, Cruz.xls                   55808      7/10/2024 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            35504 Derryberry, Stanley.xls          86016      7/10/2024 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            35526 Nunez, Lidia.xls                 75264      7/10/2024 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            35568 Roy, Robert.xls                  68096      7/10/2024 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            35586 Barker, Tracie.xls               51200      7/10/2024 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            35687 Santiago, Lydia.xls              75264      7/10/2024 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            35688 Drain, Josephine.xls             80896      7/10/2024 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            35898 Williams, Carolyn.xls            81408      7/10/2024 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            36116 Lamoreaux, Jon.xls               85504      7/10/2024 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            36123 Sanchez, J. Hurtado.xls          86528      7/10/2024 13:50




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            36973 Vega, Michael.xls                43008      7/10/2024 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            37796 Thompson, Ruth.xls               53760      7/10/2024 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            3793 Mattingly, David.xls              45056      7/10/2024 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            3794 York, Brenda.xls                  83456      7/10/2024 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            3827 Potter, Feliciano.xls             59392      7/10/2024 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            38923 Godwin, Franklin.xls            102912      7/10/2024 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            38942 Willingham, Damascus.xls        103936      7/10/2024 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            39017 Parker, David.xls                81920      7/10/2024 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            39019 Reda, Carmen.xls                100864      7/10/2024 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            39314 Damore, David.xls                44544      7/10/2024 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            39357 Vice, Michael.xls                44544      7/10/2024 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            39366 Torres, Maria.xls                45056      7/10/2024 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            39398 Czerniawski, Ralph.xls           44032      7/10/2024 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            39408 Fabiano, Frances.xls             44032      7/10/2024 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            39418 Moss, Olga.xls                   44032      7/10/2024 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            39422 Ponzi, Joanne.xls                44032      7/10/2024 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            39424 Bernett, Shaw.xls                43520      7/10/2024 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            39450 Fusco, Jerry.xls                 44032      7/10/2024 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            39467 Steadman, Raymond.xls            43008      7/10/2024 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            39876 Graziano, Michael.xls           114176      7/10/2024 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            39885 Lancaster, Cliff.xls             76288      7/10/2024 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            39888 Herbert, Nancy.xls               90112      7/10/2024 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            39891 Reiche, Brent.xls                86528      7/10/2024 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            39893 Mason, Yolanda.xls               83456      7/10/2024 14:15




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            39895 Helmick, Christopher.xls        107520      7/10/2024 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            39911 Price, Emick.xls                 80896      7/10/2024 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            39927 Seube, Charles.xls               80896      7/10/2024 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            39938 Gewgory, Hermann.xls            126976      7/10/2024 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            43965 Hovatter, Maxine.xls             78848      7/10/2024 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            44090 Buckalew, Shayne.xls             94720      7/10/2024 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            44198 Hoffer, Richard.xls              77312      7/10/2024 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            44215 Kennedy, Willa.xls               62464      7/10/2024 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            44248 Jones, Freddie.xls               52736      7/10/2024 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            44281 Gloster, Gretchen.xls            58368      7/10/2024 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            44380 Griffin, Percy.xls               71680      7/10/2024 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            44406 Horner, Paula.xls                93696      7/10/2024 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            44409 Gordon, Therese.xls             103424      7/10/2024 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            45738 Buckalew, Douglas.xls            44032      7/10/2024 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            46938 Phillips, Alejandro.xls          53248      7/10/2024 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            46956 Pardi, Patrick.xls               75776      7/10/2024 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            46957 Pardi, Patrick.xls               72704      7/10/2024 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            46968 Barkley, Samuel.xls              88064      7/10/2024 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            46979 Bays, Willard.xls                77824      7/10/2024 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            47010 Garza, Fernando.xls              81408      7/10/2024 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            47046 Stowe, Robert.xls                86528      7/10/2024 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            47090 Jones, John.xls                  71680      7/10/2024 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            47100 Underwood, Jonathan.xls          69632      7/10/2024 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            49022 Bergeron, Sandra.xls             59392      7/10/2024 15:04




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            49023 Sharp, Jimmie.xls               104960      7/10/2024 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            49025 Harris, Ruth.xls                 49152      7/10/2024 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            49026 Babcock, Marla.xls               93696      7/10/2024 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            49028 Miller, Annette.xls              98304      7/10/2024 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            49035 Mcilvain, Nelson.xls             58880      7/10/2024 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            49036 Mcilvain, Nelson.xls             58880      7/10/2024 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            49041 White, Leslie.xls                61952      7/10/2024 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            49045 Wooten, Dennis.xls               84992      7/10/2024 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            49047 Hollinsl, Dawan.xls             140800      7/10/2024 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            49048 Knox, Kayla.xls                  94208      7/10/2024 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            52879 Acosta, Elvira.xls               43008      7/10/2024 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            52888 Oliver, Miosha.xls               44032      7/10/2024 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            52889 Nash, Jacque.xls                 43008      7/10/2024 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            52890 Galloway, James.xls              43008      7/10/2024 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            52891 Coleman, Claude.xls              44032      7/10/2024 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            52893 Blades, Brian.xls                44032      7/10/2024 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            52894 Jones, Alphonso.xls              43008      7/10/2024 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            52897 Coyac,Hugo.xls                   44032      7/10/2024 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            52898 Farwell, Stephen.xls             43008      7/10/2024 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            52904 Johnson, Miosha.xls              43520      7/10/2024 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            52908 Lawhead, Daniel.xls              43008      7/10/2024 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            52912 Osborn, Jack.xls                 43008      7/10/2024 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            52913 Brown, Donald.xls                43008      7/10/2024 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            52925 Bajtarevic, Anel.xls             43008      7/10/2024 16:46




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            52933 Breitbarth, Mary.xls             43008      7/10/2024 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            56542 Lemon, Willie.xls                99840      7/10/2024 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            56580 Gosnell, Darrell.xls            101888      7/10/2024 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            56629 Renish, Michael.xls              74752      7/10/2024 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            56641 Ferrell, Betty.xls               71168      7/10/2024 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            56727 Grathwohl, Carla.xls             74752      7/10/2024 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            56758 Graham, Noelani.xls              78848      7/10/2024 17:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            56770 Bomar, Elizabeth.xls             98816      7/10/2024 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            56813 Osborne, Marcia.xls              68096      7/10/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            56846 Cochran, Gernald.xls            102400      7/10/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            56891 Deadwyler, Dwight.xls            77824      7/10/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            56905 Mayo, Michele.xls                81920      7/10/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            56979 Geter, Tammie.xls                83968      7/10/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            57159 Allis, Stephen.xls               93184      7/10/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            5943 Butler, Scott.xls                 44032      7/10/2024 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            5981 Fraga, David.xls                  43520      7/10/2024 10:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            6038 Butler, Scott.xls                 44032      7/16/2024 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            61274 Osborne, Marcia.xls              71168      7/10/2024 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            62133 Hall, Deneen.xls                 69120      7/10/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            62481 Thomas, Ina.xls                  43520      7/10/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            63558 Ramey, Daniel.xls               105984      7/10/2024 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64043 Brown, Caitlin.xls               45056      7/10/2024 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64177 Boyd, Kevin.xls                  76288      7/10/2024 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64190 Benton, Pamela.xls               71680      7/10/2024 17:53




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64204 Smith, Robert.xls                74752      7/10/2024 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64208 Teal, Jacqueline.xls             94720      7/10/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64245 Hankins, Sandra.xls              96768      7/10/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64272 Topij, Walter.xls                64000      7/10/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64296 Clemens, Christopher.xls        105984      7/10/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64299 Kennedy, Sharon.xls              90624      7/10/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64309 Tramontana, Mary.xls             88064      7/10/2024 18:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64331 Daugherty, Allan.xls            128512      7/11/2024 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64343 Myreholt, Michael.xls            78336      7/11/2024 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64351 Starr, Ernest.xls                90112      7/11/2024 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64371 Sotello, Robert.xls              79360      7/11/2024 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64377 Repko, Jerry.xls                 74752      7/11/2024 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64379 Kreamer, Rebecca.xls             71680      7/11/2024 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64382 Antley, Francis.xls              74752      7/11/2024 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64384 Jackson, Curtis.xls              82432      7/11/2024 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64396 Villasenor, Octavia.xls          65536      7/11/2024 10:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64401 Agathluk, Simeon.xls             90624      7/11/2024 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64402 Smith, Keith.xls                 90624      7/11/2024 10:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64449 Jackson, Aaliyah.xls             86528      7/11/2024 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64557 Dennis, Duane.xls                75776      7/11/2024 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64624 Whitaker, Maris.xls              50176      7/11/2024 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64719 Boudreau, Steven.xls             66048      7/11/2024 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64730 Wilson, Larry.xls                72704      7/11/2024 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64738 Ries, Dragos.xls                102400      7/11/2024 11:00




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               All Paths/Locations                               Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64761 Jackson, Larry.xls                45568      7/11/2024 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64766 Leizear-Lanman, Kathryn.xls       64000      7/11/2024 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64767 Hicks, Darnell.xls                74752      7/11/2024 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64770 Elliot, Robert.xls                57344      7/11/2024 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64784 Floyd, Janice.xls                 75776      7/11/2024 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64800.xls                              106496      7/11/2024 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64818 Gibson, James.xls                 56320      7/11/2024 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64866 Atkins, Arwanna.xls               74752      7/11/2024 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64868 Schleyhahn, Paul.xls              43008      7/11/2024 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64869 Abert, Robert.xls                 65024      7/11/2024 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64870 Piontek, Christina.xls            90624      7/11/2024 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64871 Voss, Robert.xls                 107008      7/11/2024 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64873 Gamble, Glenzina.xls              96768      7/11/2024 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64878 Hecke, Michael.xls                72192      7/11/2024 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64880 Lewelling, Bennie.xls            105984      7/11/2024 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64881 Green, William.xls                96256      7/11/2024 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64891 Smith, Daile.xls                  71168      7/11/2024 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64897 Willis, Omeekah.xls               83968      7/11/2024 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64899 Garvey, Earl.xls                  59392      7/11/2024 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64900 Jaquez, Cody.xls                  59392      7/11/2024 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64901 Garcia, Ernesto.xls               65024      7/11/2024 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64904 Close, Tina.xls                   77312      7/11/2024 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64906 Collins, Joshua.xls               90624      7/11/2024 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64918 Savage, Tanya.xls                 83456      7/11/2024 11:41




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64924 Lopez, Rebecca.xls              105472      7/11/2024 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64928 Silva, Rosalinda.xls             96768      7/11/2024 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64930 Arellano, Jose.xls              105984      7/11/2024 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64933 Nary, Walter.xls                 84480      7/11/2024 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64938 Witko, Christopher.xls          151552      7/11/2024 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64939 Blowers, Michael.xls             57856      7/11/2024 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64940 McIntire, Michelle.xls           75776      7/11/2024 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64941 Hall, Richard.xls                93184      7/11/2024 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64945 Migot, Joshua.xls                67584      7/11/2024 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64946 Walls, Roy.xls                   77824      7/11/2024 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64950 Mendez, Jovita.xls               75776      7/11/2024 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64951 Shelton, Christopher.xls        106496      7/11/2024 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64952 Carpenter, Marvin.xls            73216      7/11/2024 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64954 Carver, Vernon.xls               90624      7/11/2024 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64958 Haqq, Ameen.xls                  57856      7/11/2024 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64959 Ward, Patricia.xls               58880      7/11/2024 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64960 Edwards, Jujuan.xls              68608      7/11/2024 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64962 Infiesta, Robert.xls             90624      7/11/2024 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64966 Scott, Tarell.xls                81920      7/11/2024 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64968 Lowerre, Franklin.xls           125952      7/11/2024 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64969 Franklin, Lu.xls                 90624      7/11/2024 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64970 Pyles, Thomas.xls                94208      7/11/2024 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64971 Jordan, Christopher.xls          69120      7/11/2024 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64974 Stabler, Wilmer.xls              68608      7/11/2024 12:25




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                                       3467



               All Paths/Locations                               Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64975 Whitten, Lori.TV5(2).xls          70144      7/11/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64978 Allen, Anthony.xls                71168      7/11/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64982 Jones, Johnny.xls                 74752      7/11/2024 21:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            64983 Gerstenlauer, Christine.xls       91648      7/12/2024 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            7050 Green, Diane.xls                  100352      7/10/2024 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            7079 Ivory, Ronald.xls                  94208      7/10/2024 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            7085 Gates, Aaron.xls                   58880      7/10/2024 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            7137 Tidey, David.xls                   76800      7/10/2024 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            7145 Muncy, Shawn.xls                  159744      7/10/2024 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            7156 Moore, Charles.xls                119296      7/10/2024 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            72018 Palmer, Jamelia.xls              146432      7/16/2024 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            72021 Jacobs, Sanquia.xls              103424      7/16/2024 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            72044 Kizer, Nichelle.xls              110080      7/16/2024 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            72270 Wheeler, Rebecca.xls              44032      7/16/2024 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            72273 Cigarroa, Daniel.xls             107520      7/16/2024 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            72619 Andrews, Precious.xls            109568      7/16/2024 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            72620 Andrews, Precious.xls            109568      7/16/2024 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            72624 Gardner, Kerri.xls                90624      7/16/2024 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            72655 Auilina, Susan.xls                83456      7/16/2024 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            72793 Lee, Tommy.xls                    76288      7/16/2024 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            72802 Pierce, Paul.xls                  67584      7/16/2024 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            72805 Smith, Brian.xls                  43520      7/16/2024 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            72810 Brown, Tawanda.xls                48128      8/22/2024 19:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            72838 Corbett, Cindy.xls                99328      7/16/2024 12:13




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                                       3467



               All Paths/Locations                               Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            72894 Miles, Georgia.xls                 43008      7/16/2024 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            72901 Cotriche, Emilio.xls               75776      7/16/2024 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            72943 Chrys, Chrys.xls                   43008      7/16/2024 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            72948 White, Marquita.xls                74752      7/16/2024 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            72950 Mckenna, Scott.xls                 81920      7/16/2024 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            72956 Carter, Kimberly.xls               81408      7/16/2024 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            72959 Ruiz, Sergio.xls                   59904      7/16/2024 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            72967 Teundria, Kelley.xls               90624      7/16/2024 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            72986 Hall, Marva.xls                    52224      7/16/2024 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            75643 Houck, Christopher.xls             44032      7/16/2024 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            76113 Springfield, Christopher.xls       46080      7/16/2024 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            76130 Sarappa, Austin.xls                45056      7/16/2024 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            76132 Aviles, Victor.xls                 45056      7/16/2024 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            76134 Booth, Serenity.xls                44544      7/16/2024 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            76135 Garza, Esteban.xls                 92160      7/16/2024 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            76138 Nino, Maria.xls                   107520      7/16/2024 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78144 Sewalish, Anthony.xls              43520      7/16/2024 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78146 Mobley, Ladarius.xls               89088      7/16/2024 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78153 Andresen, Robert.xls               43008      7/16/2024 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78155 Lugo, David.xls                    43008      7/16/2024 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78164 Sarzynski, Patience.xls            43008      7/16/2024 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78166 Norton, Benjamin.xls               44544      7/16/2024 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78171 Grissom, Dajyne.xls                44032      7/16/2024 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78198 Luis, Sergio.xls                   43008      7/16/2024 11:53




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78207 Denzer, Brandi.xls               44544      7/16/2024 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78208 Denzer, Brandi.xls              105984      7/16/2024 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78218 Ziegler, Kenseth.xls             44032      7/16/2024 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78228 Aviles, Edgar.xls               128512      7/16/2024 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78235 Staker, Trae.xls                 43008      7/16/2024 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78249 Nugent, Jaleel.xls               90624      7/16/2024 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78250 Reese, Tina.xls                  69632      7/16/2024 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78252 Cambridge, Rita.xls              43008      7/16/2024 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78262 Schottler, Vincent.xls           47616      7/16/2024 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78270 Lewis, Satira.xls                59392      7/16/2024 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78271 Smith, Ladonna.xls               71168      7/16/2024 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78272 Dent, Delnice.xls                68608      7/16/2024 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78273 Scott, Shawanda.xls              88576      7/16/2024 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78274 Doran, Raymond.xls               72704      7/16/2024 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78275 Boyer, Ladonna.xls               87552      7/16/2024 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78276 Evenou, Kersty.xls              106496      7/16/2024 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78277 Reyes, Richard.xls               90624      7/16/2024 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78278 Villafane, Mark.xls              75776      7/16/2024 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78279 Daivd, Patrick.xls               62464      7/16/2024 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78280 Rainey, Vernedia.xls             91648      7/16/2024 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78281 Broudrick, Chantail.xls          66048      7/16/2024 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78282 Gonzales, David.xls              68096      7/16/2024 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78283 Essang, Ini.xls                  71168      7/16/2024 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78284 Dontje, Judith.xls               60416      7/16/2024 11:13




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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78285 Decker, Denise.xls               105984      7/16/2024 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78286 Mcdougall, Brittany.xls           74752      7/16/2024 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78287 Page, Asaad.xls                   64512      7/15/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78288 Cortorreal, Elizabeth.xls        105984      7/15/2024 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78295 Moxham, Richard.xls               75264      7/15/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78296 Harris, Marissa.xls               58368      7/15/2024 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78305 Corbett, Cindy.xls               100352      7/15/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78321 Mcinturff, Emily.xls              48128      7/15/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78323 Marquez, Felicia.xls             122880      7/15/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78344 Garcia , Isaac.xls                43008      7/15/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78345 Corkill, Pamela.xls               87552      7/15/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78348 Marquez, Felicia.xls              44032      7/15/2024 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78357 Robinson, Rachel.xls              78848      7/15/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78361 Drew, Stephen.xls                 74240      7/15/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78363 Hunt, Alexandria.xls              44032      7/15/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78382 Broadnax, Kiontra.xls             91136      7/15/2024 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78383 Overton, Kerby.xls                57856      7/15/2024 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78384 Overton, Kerby.xls                64512      7/15/2024 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78397 Caldero, Jose.xls                 44032      7/15/2024 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78405 Adams, Kadeem.xls                 44544      7/15/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78408 Shiflett, Lisa.xls                79872      7/15/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78416 Valadez, Hector.xls              136704      7/15/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78422 Ocampo, Luis.xls                  43008      7/15/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78430 Freeman, Victor.xls               43008      7/15/2024 17:46




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               All Paths/Locations                              Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78438 Poah, Leon.xls                          49664      7/15/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78439 Gabaldon, Robert.xls                    44544      7/15/2024 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78440 Darner, Brett.xls                       43008      7/15/2024 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78450 Porsch, Erich.xls                       73216      7/15/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78451 Brown, Latasha.xls                     105984      7/15/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78465 Rebollar, Flocelo.xls                   43008      7/15/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78472 Gracia, Peter.xls                       43008      7/15/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78479 Brown-Street, Jordyn.xls               107520      7/15/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78480 Brown-Street, Jordyn.xls               107520      7/15/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78490 Chancellor, Bryan.xls                   62976      7/15/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78492 Zapata, Frank.xls                      104960      7/15/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78493 Paquette, Monique.xls                   43008      7/15/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78495 Thibodeau, Roger.xls                    54272      7/15/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78496 Stormoen, Sheldon.xls                   84480      7/15/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78497 McDonald, Tracy.xls                     71168      7/15/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78500 Stillman, Alan.xls                      45568      7/15/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78513 Caldero, Jose.xls                       43520      7/15/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78514 De Giuseppe, Anthony.xls                89088      7/15/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78515 Chaffe, Dakota.xls                      45568      7/15/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78520 Carranza-Castellanos, Richard.xls       43008      7/15/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78531 Cook-Bey, Jasmine.xls                   43008      7/15/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78534 Smith, Joel.xls                         87040      7/15/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78548 Dagenhart, Catherine.xls                79360      7/15/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues            78549 Davis, Nathan.xls                      121344      7/15/2024 17:29




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues             78557 Wilson, Teresa.xls              50176      7/15/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues             78569 Moore-Pineda, Evernie.xls      112128      7/15/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues             78577 De Jesus, Ramon.xls             81408      7/15/2024 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues             78582 Scott-Wright, Kalin.xls         85504      7/15/2024 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues             78663 Hopkins, Bernell.xls            82432      7/15/2024 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues             78664 Stehli, Jonathan.xls            47104      7/15/2024 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues             78666 James, Diantis.xls              93696      7/15/2024 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues             8295 Gunn, Rosie.xls                  58880      7/10/2024 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues             8472 Walton, Nina.xls                146432      7/10/2024 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          10735 Sandora, Joseph.tv5             10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          10766 Pardi, Patrick.tv5              10260      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          10983 Davis, Robert.tv5               10207      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          13240 Foster, James.tv5               10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          17248 Allen, Scott.tv5                10391      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          17284 Thomas, Anita.tv5               10014      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          17471.tv5                             10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          17473 Thornton, Donald.tv5            10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          17916 Flowers, Bobby.tv5              10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          18044 Perez, Yobani.tv5               10018      10/9/2024 17:30




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          18113 Holloway, Cleveland.tv5         10149       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          18138 Berghman, Earle.tv5             10146       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          18192 Stringfellow, Joseph.tv5        10025       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          18252 Reeves, John.tv5                10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          18317 Carter, Nathaniel.tv5           10021       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          18366 Diffenderfer, James.tv5         10023       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          18368 Duncan, Douglas.tv5             13167       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          18431 Tripp, Rosa.tv5                   3556      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          18435 Martin, Tamara.tv5              10018       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          18604 Nelson, John.tv5                10258       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          18617 Nelson, John.tv5                10258       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          18623 Ozuk, Thomas.tv5                10015       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          18731 Jordan, Clifton.tv5             10018       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          18783 Duke, Russell.tv5               10258       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          18803 Brandao, Daniel.tv5             10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          18812 Applebee, Thomas.tv5            10262       10/9/2024 17:34




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          18813 Anderson, Alan.tv5              10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          18833 Bizick, Mark.tv5                10448      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          19384 Whitmer, Peter.tv5              10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          19391 Newmans. David.tv5              10009      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          19396 Morrison, Justin.tv5            10022      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          19405 Davis, Jordan.tv5               10015      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          19418 Inscore, Scotty.tv5             10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          21340 Birge, Rickey.tv5               10016      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          21341 Deala, Tobie.tv5                10255      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          21342 Williams, Jennifer.tv5          10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          21343 Cole-Angelo, Sara.tv5           10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          22693 Sarver, Jules.tv5               10206      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          22708 Mobray, Timothy.tv5             10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          22713 Williams, Patrick.tv5           10148      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          22715 Leach, Donald.tv5               10206      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          22717 Shackleford, Arthur.tv5         10213      10/9/2024 17:32




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          23316 Nixon, Rosie.tv5                10016       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          29413 Williams, Edward.tv5            10018       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          29465 Bame, Robert.tv5                10015       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          29475 Baker-Puryear, Amanda.tv5       10026       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          29656 Britton, Sonya.tv5              10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          29663 Batten, Jennifer.tv5              9821      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          29699 Westberry, Edward.tv5           10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          29700 Watkins, John.tv5               10013       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          30856 Summerson, Marla.tv5            10692       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          31039 St Germain, Sandra.tv5          10021       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          31067 Majesty, Patrick.tv5            10018       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          31115 Payne, Kevin.tv5                10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          31364 Gutierrez, Brenda.tv5           10021       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          31397 Rios, Ernestina.tv5             10010       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          31561 Jeter, Lindsey.tv5              10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          31762 Kravis, Rebecca.tv5             10019       10/9/2024 17:31




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          33487 Kaufman, John.tv5               10208      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          33551 De Los Rios, Humberto.tv5       10024      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          33582 Bilger, Albert.tv5              10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          33590 Anas, Dawn.tv5                  10141      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          34894 Benbow, Fredrick.tv5            11729      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          34982 Graham, Mary.tv5                10014      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          35021 Foster, Johnny.tv5              10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          35130 Poltrock, Kevin.tv5             12851      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          35254 Dillard, Tyrone.tv5             10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          35314 Belcher, Rodney.tv5             10171      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          35407 Williams, Tyree.tv5             12109      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          35493 Harris, Brenda.tv5              10206      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          35499 Paiz, Cruz.tv5                  10766      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          35504 Derryberry, Stanley.tv5         10024      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          35526 Nunez, Lidia.tv5                11722      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          35568 Roy, Robert.tv5                 10015      10/9/2024 17:30




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          35586 Barker, Tracie.tv5              10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          35687 Santiago, Lydia.tv5             10206       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          35688 Drain, Josephine.tv5            10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          35898 Williams, Carolyn.tv5           10022       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          36116 Lamoreaux, Jon.tv5              10018       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          36123 Sanchez, J. Hurtado.tv5         10451       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          36973 Vega, Michael.tv5                 9968      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          37796 Thompson, Ruth.tv5              10447       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          3793 Mattingly, David.tv5             10015       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          3794 York, Brenda.tv5                   3709      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          3827 Potter, Feliciano.tv5            10961       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          38923 Godwin, Franklin.tv5            13419       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          38942 Willingham, Damascus.tv5        10025       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          39017 Parker, David.tv5               10259       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          39019 Reda, Carmen.tv5                10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          39314 Damore, David.tv5                 3517      10/9/2024 17:21




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               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          39357 Vice, Michael.tv5                  3522      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          39366 Torres, Maria.tv5                  3926      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          39398 Czerniawski, Ralph.tv5             3653      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          39408 Fabiano, Frances.tv5               3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          39418 Moss, Olga.tv5                     3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          39422 Ponzi, Joanne.tv5                  3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          39424 Bernett, Shaw.tv5                  3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          39450 Fusco, Jerry.tv5                   3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          39467 Steadman, Raymond.tv5              3517      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          39876 Graziano, Michael.tv5              3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          39885 Lancaster, Cliff.tv5               4135      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          39888 Herbert, Nancy.tv5                 3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          39891 Reiche, Brent.tv5                  3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          39893 Mason, Yolanda.tv5               10105       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          39895 Helmick, Christopher.tv5           3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          39911 Price, Emick.tv5                   3547      10/9/2024 17:22




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          39927 Seube, Charles.tv5                3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          39938 Gewgory, Hermann.tv5              3711      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          43965 Hovatter, Maxine.tv5              3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          44090 Buckalew, Shayne.tv5              3935      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          44198 Hoffer, Richard.tv5               3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          44215 Kennedy, Willa.tv5                3544      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          44248 Jones, Freddie.tv5                3544      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          44281 Gloster, Gretchen.tv5             3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          44380 Griffin, Percy.tv5                3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          44406 Horner, Paula.tv5                 3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          44409 Gordon, Therese.tv5               3707      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          45738 Buckalew, Douglas.tv5             3542      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          46938 Phillips, Alejandro.tv5           3757      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          46956 Pardi, Patrick.tv5                3921      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          46957 Pardi, Patrick.tv5              10536       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          46968 Barkley, Samuel.tv5               3562      10/9/2024 17:22




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          46979 Bays, Willard.tv5                 3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          47010 Garza, Fernando.tv5               3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          47046 Stowe, Robert.tv5                 3922      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          47090 Jones, John.tv5                   3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          47100 Underwood, Jonathan.tv5           3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          49022 Bergeron, Sandra.tv5              3757      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          49023 Sharp, Jimmie.tv5                 3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          49025 Harris, Ruth.tv5                  3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          49026 Babcock, Marla.tv5                3708      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          49028 Miller, Annette.tv5               3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          49035 Mcilvain, Nelson.tv5              3544      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          49036 Mcilvain, Nelson.tv5              3544      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          49041 White, Leslie.tv5                 3757      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          49045 Wooten, Dennis.tv5                3758      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          49047 Hollinsl, Dawan.tv5               3711      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          49048 Knox, Kayla.tv5                   3758      10/9/2024 17:22




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          52879 Acosta, Elvira.tv5                3517      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          52888 Oliver, Miosha.tv5                3653      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          52889 Nash, Jacque.tv5                  3517      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          52890 Galloway, James.tv5               3517      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          52891 Coleman, Claude.tv5               3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          52893 Blades, Brian.tv5                 3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          52894 Jones, Alphonso.tv5               3517      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          52897 Coyac,Hugo.tv5                    3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          52898 Farwell, Stephen.tv5              3517      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          52904 Johnson, Miosha.tv5               3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          52908 Lawhead, Daniel.tv5               3517      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          52912 Osborn, Jack.tv5                  3375      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          52913 Brown, Donald.tv5                 3517      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          52925 Bajtarevic, Anel.tv5              3375      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          52933 Breitbarth, Mary.tv5              3517      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          54533 Reinhardt.tv5                     4039      10/9/2024 17:23




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          56542 Lemon, Willie.tv5                 3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          56580 Gosnell, Darrell.tv5              3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          56629 Renish, Michael.tv5               3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          56641 Ferrell, Betty.tv5                3707      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          56642 Brown, Marvina.tv5                3710      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          56727 Grathwohl, Carla.tv5              3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          56758 Graham, Noelani.tv5               3759      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          56770 Bomar, Elizabeth.tv5              3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          56813 Osborne, Marcia.tv5               3544      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          56846 Cochran, Gernald.tv5              3707      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          56891 Deadwyler, Dwight.tv5             3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          56905 Mayo, Michele.tv5                 4618      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          56979 Geter, Tammie.tv5                 3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          57159 Allis, Stephen.tv5                3708      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          5943 Butler, Scott.tv5                10141       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          5981 Fraga, David.tv5                   9982      10/9/2024 17:27




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          6038 Butler, Scott.tv5                10141       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          61274 Osborne, Marcia.tv5             10193       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          62133 Hall, Deneen.tv5                  3757      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          62481 Thomas, Ina.tv5                   3647      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          63558 Ramey, Daniel.tv5                 3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64043 Brown, Caitlin.tv5                3925      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64177 Boyd, Kevin.tv5                   4132      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64190 Benton, Pamela.tv5                3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64204 Smith, Robert.tv5                 3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64208 Teal, Jacqueline.tv5              3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64245 Hankins, Sandra.tv5               3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64272 Topij, Walter.tv5                 4521      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64296 Clemens, Christopher.tv5          3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64299 Kennedy, Sharon.tv5               3680      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64309 Tramontana, Mary.tv5              3921      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64331 Daugherty, Allan.tv5              3708      10/9/2024 17:22




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64343 Myreholt, Michael.tv5             3919      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64351 Starr, Ernest.tv5                 3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64371 Sotello, Robert.tv5               3921      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64377 Repko, Jerry.tv5                  3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64379 Kreamer, Rebecca.tv5              9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64382 Antley, Francis.tv5               3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64384 Jackson, Curtis.tv5             10018       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64396 Villasenor, Octavia.tv5         10264       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64401 Agathluk, Simeon.tv5            10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64402 Smith, Keith.tv5                10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64449 Jackson, Aaliyah.tv5            10262       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64557 Dennis, Duane.tv5               10259       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64624 Whitaker, Maris.tv5             10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64719 Boudreau, Steven.tv5            10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64730 Wilson, Larry.tv5               10016       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64738 Ries, Dragos.tv5                13245       10/9/2024 17:38




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               All Paths/Locations                               Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64761 Jackson, Larry.tv5                10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64766 Leizear-Lanman, Kathryn.tv5       10025       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64767 Hicks, Darnell.tv5                10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64770 Elliot, Robert.tv5                10776       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64784 Floyd, Janice.tv5                 10259       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64800.tv5                               10004       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64818 Gibson, James.tv5                 10587       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64866 Atkins, Arwanna.tv5               10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64868 Schleyhahn, Paul.tv5                9971      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64869 Abert, Robert.tv5                 10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64870 Piontek, Christina.tv5            10023       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64871 Voss, Robert.tv5                  10258       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64873 Gamble, Glenzina.tv5              10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64878 Hecke, Michael.tv5                10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64880 Lewelling, Bennie.tv5             10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64881 Green, William.tv5                10208       10/9/2024 17:32




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64891 Smith, Daile.tv5                10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64897 Willis, Omeekah.tv5             10450      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64899 Garvey, Earl.tv5                10257      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64900 Jaquez, Cody.tv5                10258      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64901 Garcia, Ernesto.tv5             10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64904 Close, Tina.tv5                 10014      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64906 Collins, Joshua.tv5             10018      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64918 Savage, Tanya.tv5               10396      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64924 Lopez, Rebecca.tv5              10208      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64928 Silva, Rosalinda.tv5            10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64930 Arellano, Jose.tv5              10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64933 Nary, Walter.tv5                10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64938 Witko, Christopher.tv5          10212      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64939 Blowers, Michael.tv5            10022      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64940 McIntire, Michelle.tv5          10265      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64941 Hall, Richard.tv5               10019      10/9/2024 17:31




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64945 Migot, Joshua.tv5               10685      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64946 Walls, Roy.tv5                  10015      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64950 Mendez, Jovita.tv5              10260      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64951 Shelton, Christopher.tv5        10024      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64952 Carpenter, Marvin.tv5           11723      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64954 Carver, Vernon.tv5              10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64958 Haqq, Ameen.tv5                 10014      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64959 Ward, Patricia.tv5              10018      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64960 Edwards, Jujuan.tv5             10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64962 Infiesta, Robert.tv5            10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64966 Scott, Tarell.tv5               10259      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64968 Lowerre, Franklin.tv5           10209      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64969 Franklin, Lu.tv5                10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64970 Pyles, Thomas.tv5               10018      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64971 Jordan, Christopher.tv5         10212      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64974 Stabler, Wilmer.tv5             10019      10/9/2024 17:31




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               All Paths/Locations                               Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64975 Whitten, Lori.tv5                   5653      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64978 Allen, Anthony.tv5                10208       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64982 Jones, Johnny.tv5                 10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64983 Gerstenlauer, Christine.tv5         3946      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64984 Jamieson, Robert.tv5              10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64989 Lamb, Bonny.tv5                   10015       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          64994 Bowden, Trhave.tv5                10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          65008 Maxwell, Walter.tv5               10210       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          65009 Fields, Tommie.tv5                11314       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          65012 Cox, Stacy.tv5                    10445       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          65013 Wellman, Leanne.tv5               10207       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          65019 Connor, Lorri.tv5                 10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          65024 Grissom, Joshua.tv5               10260       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          65027 Wilcox, Joseph.tv5                10260       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          65029 Mitchell, Joan.tv5                10449       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          65033 Jimenez, Heriberto.tv5            10022       10/9/2024 17:31




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          65039 Woods, Edgar.tv5                10016      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          65047 Faircloth, Danielle.tv5         10213      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          65052 Henderson, Bettie.tv5           10210      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          65055 Burrell, Rogelio.tv5            10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          65292 Harris, Michael.tv5             10208      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          65360 Broglin, Barry.tv5              10207      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          65497 Busby, Isaac.tv5                10260      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          65671 Kirby, Jeremiah.tv5             10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          65695 Pouncy, Quajena.tv5             15224      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          65786 Laccetti, Vanessa.tv5           10263      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          65917 Alvarado, Iveet.tv5             10261      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          65998 Etchen, Carole.tv5              10016      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          66001 Furedi, Mark.tv5                10123      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          66004 Anderson, Patricia.tv5          11058      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          66021 Zheng, Yi.tv5                   10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          66187 Figueroa, Kassandra.tv5         10265      10/9/2024 17:34




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          66232 Sherman, Kendre.tv5             10262       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          67348 Cain, Emory.tv5                 10012       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          67542 Berg, Samuel.tv5                10016       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          67577 Lozano, Michael.tv5               9988      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          69608 Timms, Charles.tv5              10127       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          69673 Green, LaSha.tv5                  9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          69730 Briseno, Michael.tv5            10131       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          70237 Maldonado, Beatrice.tv5         10265       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          70240 Collins, William.tv5            10451       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          70363 Drawhorn, Evette.tv5            10261       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          70416 Shaw, Leslie.tv5                10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          70423 Mendez, Edgar.tv5               10259       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          70424 Cooper, Sheila.tv5              10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          7050 Green, Diane.tv5                 10142       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          70506 McKeon, Robert.tv5              10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          70536 Taylor, Tim.tv5                 10012       10/9/2024 17:30




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          70537 Taylor, Larry.tv5               10014       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          70538 Taylor, Jerry.tv5               10014       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          70539 Jacobs, Kathy.tv5               10014       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          70577 Coulon, Jackie.tv5              10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          70582 Belanger, Thomas.tv5            10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          70604 Cohen, Jeffrey.tv5              10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          70772 Pouncy, Quajena.tv5             10366       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          7079 Ivory, Ronald.tv5                10206       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          70843 Reid, Kevin.tv5                 10259       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          7085 Gates, Aaron.tv5                 10141       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          70893 Garcia, Maria.tv5               10206       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          70934 Hamrick, Janiece.tv5            10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          70988 Gerst, Amy.tv5                  10773       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71038 McAfee, Savana.tv5                9987      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71044 Harris, Ashley.tv5                9969      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71049 Verkleeren, Caitlin.tv5         10022       10/9/2024 17:31




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               All Paths/Locations                                Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV   71077 Huizar, Gloria and Ruiz, Marco
Files                                          JUDGEMENT.tv5                              10007       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71089 Farrell, Joel.tv5                    10002       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71091 Collier, Juwan.tv5                   10960       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71104 Allen III, Michael.tv5               10148       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71115 Bryant, Richard.tv5                  10395       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71127 Stokes, Sylvia.tv5                     9981      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71138 Payne, Michael.tv5                   10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71181 Mendez, Gilberto.tv5                 10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71216 Jackson, Najarian.tv5                10262       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71217 Best, Eric.tv5                       10014       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71232 Glendenning, Heather.tv5             10022       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71234 Manning, Carnesha.tv5                10371       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71274 Morgan, Donovan.tv5                  10262       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71284 Harrison, Jazmine.tv5                10448       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71368 Maxwell, Tequill.tv5                 10021       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          7137 Tidey, David.tv5                      10329       10/9/2024 17:35




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71387 Foster, Arla.tv5                  9985      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71398 Delavega, Emilio.tv5            11071       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71400 Berry, Naomi.tv5                10016       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71401 Biscardi, Sharon.tv5            10209       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71422 Garcia, Emmanuel.tv5            10337       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          7145 Muncy, Shawn.tv5                 10142       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71466 Santos, Roberto.tv5             10306       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71467 Johnson,Lisa.tv5                10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          7156 Moore, Charles.tv5                 3559      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71564 Johnson, Brian.tv5              10395       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71565 Grffin, Susan.tv5               10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71573 Cooper, Vachannoncon.tv5        10697       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71574 Kornegay, Larry.tv5             10261       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71579 Jackson, Lynette.tv5           112790       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71586 Wise, Laura.tv5                 10446       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71680 Hines, Courtney.tv5             10018       10/9/2024 17:31




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71728 Rivera, Miguel.tv5              10261      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71738 Griffith, Shornnel.tv5          10423      10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71768 Brown, Darien.tv5               10018      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71816 Myers, Stacy.tv5                10206      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71887 Finley, Frederick.tv5           10263      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71888 Finley, Frederick.tv5           10263      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71900 Finley, Frederick.tv5           10265      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71913 Gaza, Norma.tv5                 10254      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71916 Martin, Robert.tv5              10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71926 Maxwell, Misty.tv5              10211      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71943 Locklear, Natalie.tv5           10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71944 Locklear, Natalie.tv5           10023      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71947 Zamboli, Alana.tv5              10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71960 Floyd, Janice.tv5               10259      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71963 Madison, Conner.tv5             10261      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71966 Swanson, Timothy.tv5            11717      10/9/2024 17:38




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               All Paths/Locations                               Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71968 Garza, Norma (Revised).tv5       10690       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71968 Gaza, Norma.tv5                  10448       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          71999 Nipper, Clarence.tv5             10021       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72018 Palmer, Jamelia.tv5              10262       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72021 Jacobs, Sanquia.tv5                3759      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72044 Kizer, Nichelle.tv5                3774      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72199 Doyle, Lawrence.tv5              10881       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72270 Wheeler, Rebecca.tv5             10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72273 Cigarroa, Daniel.tv5             10263       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72619 Andrews, Precious.tv5            10022       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72620 Andrews, Precious.tv5            10022       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72624 Gardner, Kerri.tv5               10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72655 Auilina, Susan.tv5               10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72793 Lee, Tommy.tv5                   10013       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72802 Pierce, Paul.tv5                 10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72805 Smith, Brian.tv5                   9983      10/9/2024 17:27




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72810 Brown, Tawanda.tv5                9985      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72838 Corbett, Cindy.tv5              10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72894 Miles, Georgia.tv5                3519      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72901 Cotriche, Emilio.tv5              3758      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72943 Chrys, Chrys.tv5                  9970      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72948 White, Marquita.tv5             10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72950 Mckenna, Scott.tv5              12089       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72956 Carter, Kimberly.tv5            10021       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72959 Ruiz, Sergio.tv5                10259       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72967 Teundria, Kelley.tv5            10021       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72974 Chapman, Nanigue.tv5              5488      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          72986 Hall, Marva.tv5                   3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          73027 Sykes, Breanna.tv5              10261       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          73040 Scheff, Desarie.tv5             10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          73068 Simas, Ricardo.tv5              10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          73091 Jones, Dahnari.tv5              10301       10/9/2024 17:34




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          73092 Jones, Darnell.tv5              10334       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          73134 Zolna, Joseph.tv5               10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          73135 Darby, Rosanne.tv5              10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          73136 Darby, Rosanne.tv5              10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          73145 Robinson, Jay.tv5               10014       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          73146 Jones, Melvin.tv5               11401       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          73153 Guffey, Jacob.tv5               10691       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          73154 Guffey, Jacob.tv5               10258       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          73155 Kowalsky, Jason.tv5               9986      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74208 Campos, Rmiro.tv5               10259       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74228 Merrill, Barbara.tv5            10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74243 Constantino, Enrique.tv5        10025       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74251 King, Gayle.tv5                 10258       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74253 Stuckey, Corey.tv5              10175       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74257 Draper, Kenneth.tv5             10144       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74261 Marenkovic, Diane.tv5           10021       10/9/2024 17:31




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                                       3467



               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74300 Olivares, Martha.tv5            10449       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74302 Freeman, David.tv5              10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74305 Kendall, Benjamin.tv5           10022       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74339 Willette, Charles.tv5           10022       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74351 Getchel, Jesse.tv5              10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74365 McQueen, Roy.tv5                10013       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74387 Sparks, Joseph.tv5                9987      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74408 Newingham, Nicole.tv5           10023       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74409 Sattam, Jason.tv5               10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74417 Baltrip, Ravella.tv5            10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74434 Jackson, Al.tv5                 10013       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74435 Alston, Brian.tv5               10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74438 Jones, Krystal.tv5              10260       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74450 Edick, Zachary.tv5              10016       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74454 Campofiori, Jared.tv5           10263       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74455 Rocker, Jacob.tv5                 9984      10/9/2024 17:27




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               All Paths/Locations                               Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74461 Felipe, Gladys.tv5                 10446       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74474 Jacobs, Bellina.tv5                10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74475 Hammond, Michelle.tv5              10639       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74490 Heinitz, Jason.tv5                   9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74531 Hammond, Michelle.tv5              10263       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74542 Green, Dayshawn.tv5                10460       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74559 Brown, Madison.tv5                 10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74560 Smith, Joel.tv5                    10395       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74561 Sepulvado, John.tv5                10451       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74589 Jacobs, Jason.tv5                  10015       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74590 Williams-Gilmore, Mychal.tv5       10976       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74604 Posada-Estrada, Patricia.tv5       10470       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          74607 Lindo, Oral.tv5                    10016       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          75643 Houck, Christopher.tv5               3653      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          76113 Springfield, Christopher.tv5         3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          76130 Sarappa, Austin.tv5                10445       10/9/2024 17:36




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          76132 Aviles, Victor.tv5                3928      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          76134 Booth, Serenity.tv5               3790      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          76135 Garza, Esteban.tv5                3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          76138 Nino, Maria.tv5                   3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78144 Sewalish, Anthony.tv5             3542      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78146 Mobley, Ladarius.tv5              3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78153 Andresen, Robert.tv5              3517      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78155 Lugo, David.tv5                   3517      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78164 Sarzynski, Patience.tv5           3517      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78166 Norton, Benjamin.tv5              3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78171 Grissom, Dajyne.tv5             10128       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78198 Luis, Sergio.tv5                  3517      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78207 Denzer, Brandi.tv5                3542      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78208 Denzer, Brandi.tv5                3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78218 Ziegler, Kenseth.tv5              3654      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78228 Aviles, Edgar.tv5                 8197      10/9/2024 17:24




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78235 Staker, Trae.tv5                  3517      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78249 Nugent, Jaleel.tv5                3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78250 Reese, Tina.tv5                   3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78252 Cambridge, Rita.tv5               3517      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78262 Schottler, Vincent.tv5            3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78270 Lewis, Satira.tv5                 3923      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78271 Smith, Ladonna.tv5                3758      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78272 Dent, Delnice.tv5                 3758      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78273 Scott, Shawanda.tv5               3758      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78274 Doran, Raymond.tv5                3760      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78275 Boyer, Ladonna.tv5                3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78276 Evenou, Kersty.tv5                3922      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78277 Reyes, Richard.tv5                3544      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78278 Villafane, Mark.tv5               3925      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78279 Daivd, Patrick.tv5                3759      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78280 Rainey, Vernedia.tv5              3759      10/9/2024 17:22




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78281 Broudrick, Chantail.tv5           3758      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78282 Gonzales, David.tv5               3759      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78283 Essang, Ini.tv5                   3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78284 Dontje, Judith.tv5                3759      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78285 Decker, Denise.tv5                3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78286 Mcdougall, Brittany.tv5           3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78287 Page, Asaad.tv5                   3759      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78288 Cortorreal, Elizabeth.tv5         3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78295 Moxham, Richard.tv5               4081      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78296 Harris, Marissa.tv5               3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78305 Corbett, Cindy.tv5                3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78321 Mcinturff, Emily.tv5              3680      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78323 Marquez, Felicia.tv5            10263       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78344 Garcia , Isaac.tv5                3519      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78345 Corkill, Pamela.tv5               3710      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78348 Marquez, Felicia.tv5            10149       10/9/2024 17:32




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               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78357 Robinson, Rachel.tv5               3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78361 Drew, Stephen.tv5                  3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78363 Hunt, Alexandria.tv5               3653      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78382 Broadnax, Kiontra.tv5              3548      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78383 Overton, Kerby.tv5               10672       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78384 Overton, Kerby.tv5                 3757      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78397 Caldero, Jose.tv5                10131       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78405 Adams, Kadeem.tv5                  3790      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78408 Shiflett, Lisa.tv5                 3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78416 Valadez, Hector.tv5                3874      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78422 Ocampo, Luis.tv5                   3519      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78430 Freeman, Victor.tv5                3517      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78438 Poah, Leon.tv5                     3548      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78439 Gabaldon, Robert.tv5               3789      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78440 Darner, Brett.tv5                  3517      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78450 Porsch, Erich.tv5                  3872      10/9/2024 17:23




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               All Paths/Locations                               Unified Title           File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78451 Brown, Latasha.tv5                        3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78465 Rebollar, Flocelo.tv5                     3519      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78472 Gracia, Peter.tv5                         3519      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78479 Brown-Street, Jordyn.tv5                  3759      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78480 Brown-Street, Jordyn.tv5                  3759      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78490 Chancellor, Bryan.tv5                     4366      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78492 Zapata, Frank.tv5                         3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78493 Paquette, Monique.tv5                     9972      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78495 Thibodeau, Roger.tv5                      3544      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78496 Stormoen, Sheldon.tv5                   10022       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78497 McDonald, Tracy.tv5                       3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78500 Stillman, Alan.tv5                        3543      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78513 Caldero, Jose.tv5                         3519      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78514 De Giuseppe, Anthony.tv5                  3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78515 Chaffe, Dakota.tv5                        4065      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78520 Carranza-Castellanos, Richard.tv5         3375      10/9/2024 17:21




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78531 Cook-Bey, Jasmine.tv5             3519      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78534 Smith, Joel.tv5                   3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78548 Dagenhart, Catherine.tv5          3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78549 Davis, Nathan.tv5                 3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78557 Wilson, Teresa.tv5                3550      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78569 Moore-Pineda, Evernie.tv5         3759      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78577 De Jesus, Ramon.tv5               3760      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78582 Scott-Wright, Kalin.tv5           3894      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78595 Rodgers, Misty.tv5                8551      10/9/2024 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78663 Hopkins, Bernell.tv5              7326      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78664 Stehli, Jonathan.tv5              3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78666 James, Diantis.tv5                3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78667 Reed, Michael.tv5                 3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78669 Martin, Fallon.tv5                6804      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78670 Dixon, Julia.tv5                  3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78674 Osterlund, Sofia.tv5              3818      10/9/2024 17:23




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               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78679 Comer, Daniel.tv5                  3787      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78682 Washington, Markita.tv5            3517      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78685 Davis, Lyric.tv5                   3517      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78686 Harvey, Anthony.tv5              10246       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78699 Robinson, Deborah.tv5              3758      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78700 Martinez, Melissa.tv5              3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78711 Kennedy, Mary.tv5                  3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78712 Green, Raymir.tv5                  3653      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78720 Howell, Christina.tv5              3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78721 Howell, Christina.tv5              3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78722 Mcpherson, Darwin.tv5              3548      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78723 Faust, Billie.tv5                  3871      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78728 Griffith, Shornnel.tv5           10836       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78729 Montalvo, Mark.tv5               43275       10/9/2024 18:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78733 Chenevert, Anthony.tv5             3655      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78734 Shelby, Alexzandrea.tv5            4198      10/9/2024 17:23




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78737 Swims, Dana.tv5                   3709      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78738 Delgado, Jose.tv5                 3759      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78740 Samuel, Shera.tv5                 4130      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78741 Busby, Shaun.tv5                  3919      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78743 Cutting, George.tv5               3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78744 Dennis, Kai.tv5                 10433       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78745 Dennis, Kai.tv5                   4133      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78749 Haynes, Caprice.tv5               3519      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78752 Hughs, Stephen.tv5                3544      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78768 Williams, Lakesha.tv5             4130      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78771 Dennis, Duane.tv5                 3758      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78773 Johnson, Courtney.tv5             3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78798 Crary, John.tv5                 12180       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78813 Terry, Taureana.tv5               3517      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78815 Downey, Joshua.tv5                4742      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78826 Smith, Joel.tv5                   4168      10/9/2024 17:23




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78827 Kirk, Benquarrius.tv5           19796       10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78831 Garrison-Bey, Shante.tv5          3652      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78833 Ervin, Derick.tv5                 3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78836 Kuper, Rebecca.tv5                3544      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78838 Newingham, Nicole.tv5             3711      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78839 Grinnan, Gordon.tv5               8276      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78839-UPDATED.tv5                     15111       10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78842 Sanders III, Walter.tv5           3544      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78843 Anderson, Natasha.tv5             3517      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78848 Neal, Eunice.tv5                  3543      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78856 Whitehead, Richard.tv5            4768      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78859 Cotrichie, Emilio.tv5             5680      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78862 Dudczak, Jeremy.tv5               4576      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78864 Griffith, Shornnel.tv5          10247       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78865 Wilbourn, D'Erica.tv5             3517      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78866 Cannuscio, Eugenio.tv5            3519      10/9/2024 17:21




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78867 Felts, Terry.tv5                  3919      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78868 Reynolds, Jonathan.tv5            3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78880 Browder, Stephen.tv5              3544      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78881 Albino, Regina.tv5                3710      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78884 Jackson, Keiran.tv5               4061      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78888 Freedman, Peter.tv5             10230       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78889 Holland, Katie.tv5                3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78891 Rosales, Angelica.tv5             3548      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78897 McKinley, Walter.tv5            10434       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78900 Stokes, Jamia.tv5                 3710      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78903 Catino, Sara.tv5                  3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78905 McGrowder, Kacie.tv5            15406       10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78906 McGrowder, Kacie.tv5              8732      10/9/2024 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78907 Gonzalez, Jennifer.tv5            3790      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78909 Ford, Kayrian.tv5                 3759      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78910 Sexton, Johanna.tv5               3683      10/9/2024 17:22




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78911 Mowles, Linda.tv5               10013       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78912 Mowles, Linda.tv5                 3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78915 Taylor, Mark.tv5                  3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78916 Pierce, Paul.tv5                  3549      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78917 Howard, Melissa.tv5               3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78918 Butler, Aaron.tv5               10349       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78919 Truett, Jamie.tv5               10725       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78921 Imperatore, Nichole.tv5           5851      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78922 Ybarra, Elodia.tv5                3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78923 Ybarra, Elodia.tv5                3545      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78924 Keough, Lisa.tv5                  3787      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78925 Durham, Kathy.tv5                 3787      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78926 Shumaker, Michael.tv5             3787      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78927 Sbitnev, Aleksandr.tv5            3847      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78928 Sutherland, Dustin.tv5            3653      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78929 Sutherland, Dustin.tv5            3653      10/9/2024 17:22




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78930 Merrick, Jason.tv5                4056      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78934 Hanson-Gentry, Jaisa.tv5          3758      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78935 Clark, Denise.tv5                 3548      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78936 Mann, Tameka.tv5                  8412      10/9/2024 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78937 Mitchell, Samida.tv5              3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78939 Higgins, Quinton.tv5              3544      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78941 Nedd, Aaron.tv5                 10447       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78942 Hunt, Kyla.tv5                    9981      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78943 Sunday, John.tv5                  3544      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78946 Rodriguez, Mia.tv5                3819      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78948 Black, Jaderious.tv5            10168       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78949 Hunt, Tony.tv5                    3758      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78953 Marlowe, Lorenzo.tv5            10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78954 Imperatore, Nichole.tv5         11636       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78958 Peterson, Christina.tv5           3545      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78964 Wilson, Joyce.tv5                 9986      10/9/2024 17:27




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               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78965 Brooker, Alton.tv5               16567       10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78966 Hill, Paula.tv5                  10015       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78968 Williamson, Thomas.tv5             3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78969 Simms, Jalin.tv5                 10361       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78970 Campbell, Thomique.tv5           10264       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78971 Kincaid, Brenda.tv5              10614       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78974 Willhite, Tyler.tv5                3375      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78976 Wilson, Thomas.tv5               10205       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78977 Wilson, Thomas.tv5               10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78980 Beridon, Shawn.tv5                 9810      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78981 Ankner, Robert.tv5                 3758      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78982 Perez, Christopher.tv5             9989      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78983 Palomo, Francisca.tv5              3758      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78991 King, Hassan.tv5                 10777       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78995 Burrell, Matthew.tv5             10307       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78996 Swimm-Simmons, Braidon.tv5       10026       10/9/2024 17:32




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78997 Cuiksa, Jason.tv5                 3758      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78998 Cuiksa, Jason.tv5                 3759      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          78999 Mcleod, Patricia.tv5            10304       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79002 Myers, Mary.tv5                 10014       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79003 Oates, Iyan.tv5                 14701       10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79004 Madrid, Karina.tv5                3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79005 Madrid, Karina.tv5                3545      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79007 Martinez, Miguel.tv5            10304       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79015 Thompson, Sky.tv5                 4994      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79016 Houston-Jones, Kylan.tv5          3656      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79031 Oja, Stuart.tv5                   3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79048 Butler, Angela.tv5                3819      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79049 Williams, Tyler.tv5             10304       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79050 Williams, Tyler.tv5               3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79051 Pena, Francisco.tv5               3712      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79053 Vice, Michael.tv5                 3519      10/9/2024 17:21




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               All Paths/Locations                                Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79054 Garcia-Rossal, Siliezar.tv5       10027       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79055 Castello, Luis.tv5                  9987      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79056 Hill, Taylor.tv5                  23090       10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79058 Simon, Eunice.tv5                   9984      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79059 Overvides, Kaleb.tv5              10305       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79061 Faye, Dianah.tv5                    5977      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79062 Griffith, Shornnel.tv5              3761      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79068 Nafa, Mahmoud.tv5                   3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79069 Roper, Jeremiah.tv5                 3545      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79070 Smith, Jordan.tv5                   3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79071 Smith, Jordan.tv5                 10128       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79072 Thompson, Matthew.tv5               3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79073 Weathers, Frank.tv5                 3759      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79087 Geiger, Jah-mal.tv5                 3544      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79088 Lenz, Brittany.tv5                  3544      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79089 Martinez, Cheyanna.tv5              6058      10/9/2024 17:23




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               All Paths/Locations                               Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79090 Floyd, Dalton.tv5                  3375      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79091 Daniels, Hannibal.tv5              3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79092 Hinkle, Anna.tv5                   3707      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79093 Hemphill, Lamont.tv5               3545      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79094 Litwin, Thomas.tv5               10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79095 Knudsen, Jessica.tv5             11487       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79096 Livas, Milton.tv5                  3545      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79097 Rodriguez, Arturo.tv5              3548      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79098 Bonds, Zakery.tv5                10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79101 Wagoner, Matthew.tv5               3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79102 Fashaw, Alexandra.tv5              3711      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79103 Beckles, Terri.tv5                 3545      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79104 Bowersox, Jacqueline.tv5           3870      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79105 Samuel, Denzel.tv5               10449       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79106 Wilbanks, Daniel.tv5               3544      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79107 Green-Nealy, Shalaunda.tv5         3545      10/9/2024 17:22




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               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79108 Garrett, Sandra.tv5                3875      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79109 Flores, Sylvia.tv5                 3548      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79110 Nold, Mathew.tv5                   7560      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79111 Roberts, Ember.tv5                 3548      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79112 Holguin, Rolando.tv5             10075       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79113 Jameson, Alexis.tv5                3789      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79114 Moreno, Eloisa.tv5                 3515      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79115 Mclean, Kyle.tv5                   3920      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79116 Stephen III, Edward.tv5            3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79117 Wyniemko, Kenneth.tv5              3873      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79118 Brewster, Philip.tv5               3657      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79120 Colburn, Gloria.tv5                3520      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79121 Eaglesmith, Jaylyn.tv5             3517      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79122 Ciprian, Cyrrus.tv5                3520      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79123 Kimbro, Deltrin.tv5                3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79125 Salinas, Kiana.tv5                 3522      10/9/2024 17:21




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79127 Espinoza, Brandon.tv5             3520      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79128 Garcia, Lex.tv5                 10265       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79129 Keyes, Preston.tv5                9808      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79130 O'Donnell, Kelly.tv5              9817      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79131 Walker, Christopher.tv5         10148       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79132 Kephart, Rhiannon.tv5           10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79133 Williams, Marcus.tv5            10560       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79134 Markwell, Desiree.tv5           10304       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79136 Canterbury, Ashley.tv5          10021       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79137 Dove, Cameron.tv5                 3522      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79138 Stovall, Jamal.tv5              10143       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79140 Jimenez, Hector.tv5             10113       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79141 Miller, Lukas.tv5               10301       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79142 Murray, Jeffrey.tv5               3520      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79143 Edwards, Thomas.tv5               9986      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79145 Harris, Vincent.tv5               9986      10/9/2024 17:27




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79146 Griffin, William.tv5              9987      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79149 Smith, Alfonzo.tv5              10301       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79150 Jackson, Aaron.tv5              10112       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79151 Alvarado, Jordan.tv5              3520      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79152 Beasley, Barbara.tv5            10689       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79153 Farrell, Austin.tv5               9988      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79154 Raja, Samar.tv5                 10143       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79155 Ellison, Desmond.tv5            10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79156 Saccente, Ariana.tv5            10462       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79157 Ludeman, Kristy.tv5               9988      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79158 Berneau, Dillon.tv5               9988      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79159 Johns, Lejaya.tv5                 9986      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79160 Lee, Alexis.tv5                   9982      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79161 Dees, Merileigh.tv5             10021       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79162 Cherry, Joseph.tv5                9987      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79163 Dell, Chassidy.tv5                9985      10/9/2024 17:27




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79165 Murata, Danielle.tv5            10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79166 Hance, Chastity.tv5             10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79168 Canada, Brandy.tv5                9987      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79170 Meche, Shon.tv5                   9982      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79172 Mcphatter, Taalib.tv5             9988      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79173 Moberly, Landon.tv5             10143       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79174 Argall, Daniel.tv5                9985      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79175 Contreras, David.tv5            10776       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79176 Edwaldo, Lebron.tv5               9988      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79177 Sabin, Kayla.tv5                  9983      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79178 Ames, Kandace.tv5                 3520      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79179 Cobbs, Samone.tv5               10618       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79180 Wise, Jenna.tv5                   9984      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79181 Johnson, Kennedy.tv5            10303       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79182 Johnikin, Jalen.tv5               9986      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79184 Schier, Robert.tv5              10259       10/9/2024 17:33




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               All Paths/Locations                                Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79185 Ama, Evangalynn.tv5                10144       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79186 Cartwright, Dana.tv5                 3656      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79189 Perez, Carlos.tv5                    9984      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79191 Johnson, Zachery.tv5                 9987      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79192 Rosenbaum, Jamie.tv5               11960       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79197 Huttenga, Billie.tv5               10692       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79200 Lindner, Anthony.tv5                 9987      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79201 Carson, Charles-Monte.tv5          10455       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79202 Dent-Howell, Ebony.tv5             10277       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79205 Basinger, Robert.tv5               10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79206 Bair, Stephen.tv5                  10257       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79211 Fick, Travis.tv5                     9983      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79214 Ramos, Shawn.tv5                   10172       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79225 Pointer, Tishay.tv5                  9986      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79228 Ellison, Devin (REVISED).tv5         9985      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79228 Ellison, Devin.tv5                 10521       10/9/2024 17:36




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               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79234 Wilkinson, Douglas.tv5           10022       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79256 Clausen-Laws, Raymond.tv5          9992      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79260 Adjei, Jason.tv5                   9983      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79262 Mendez, Nadia.tv5                  9984      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79264 Scott, Myiesha.tv5                 9987      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79265 Hamblin, Shannon.tv5               9987      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79268 Harrison, Elizabeth.tv5            9990      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79269 James, Laci.tv5                  10140       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79270 Donaldson, Erik.tv5              10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79271 Sclafani, Michael.tv5              9990      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79272 Downing, Isaiah.tv5              10303       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79274 Ratliff, Jacob.tv5                 3532      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79277 - Jones, Janshee.tv5               9987      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79279 Jaramillo, Janie.tv5             10021       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79280 Lukens, Frederick.tv5            10416       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79281 Cooper, Ebony.tv5                10445       10/9/2024 17:36




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               All Paths/Locations                               Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79282 Barbee, Marybeth.tv5             10209       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79283 Clifton, Angel.tv5               10016       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79285 Trevino, Michael.tv5             10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79286 Stinson, Gary.tv5                10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79287 Durose, Austin.tv5               11056       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79290 Dimaggio, Valerie.tv5            11350       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79291 Craig, Sean.tv5                  15997       10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79292 Cortes, Tyler.tv5                10709       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79293 Curtis, Bryan.tv5                10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79296 Standingrock, Bradley.tv5        10182       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79298 John Williams, Anthony.tv5       10470       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79299 Pernell, Jasmine.tv5               9810      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79300 Hundley, Zandyn.tv5              10261       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79301 Wallace, Andrew.tv5                9986      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79302 Casey, Timothy.tv5               10445       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79303 McHugh, Colleen.tv5              10143       10/9/2024 17:32




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79305 Ericson, Casey.tv5                9985      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79306 Shuff, Kimberley.tv5            10303       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79307 Thompson, Iman.tv5              10016       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79308 Ure, Jacob.tv5                    9981      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79314 Hall, Shannon.tv5               10175       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79315 Ryles, Gia.tv5                    9981      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79316 Ruffin, James.tv5               10259       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79317 Wilson, Kayvon.tv5                9985      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79322 Hulsey, Nicole.tv5                9985      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79323 Snell, Jarrod.tv5                 9984      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79330 Cowart, Trace.tv5               10016       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79335 Moreno, Luis.tv5                  9985      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79344 Ross, Jeffrey.tv5               10175       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79346 Lundy, Jacqueline.tv5           10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79348 Scarlett, Autumn.tv5              9987      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79350 Clark, Denise.tv5               10019       10/9/2024 17:31




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               All Paths/Locations                                Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79351 Clark, Denise.tv5                    3551      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79353 Edwards, Austin.tv5                10175       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79354 Haliburton, Donta.tv5              10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79355 Fierro, Raquel.tv5                 10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79356 Willis, Linda.tv5                  10015       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79358 Woods, Lori.tv5                    10393       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79359 Santiago, Ramon.tv5                10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79360 Taberner, Joseph.tv5               10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79361 Rios Calderon, Shalianna.tv5       10468       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79362 Williams, Larry.tv5                10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79363 Goddard, Julie.tv5                 10365       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79364 Mitchell, John.tv5                 10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79365 Lyons, Walter.tv5                  10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79366 Blumenthal, Phelep.tv5             10021       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79367 Sapienza, Christopher.tv5          10026       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79368 Sapienza, Chgristopher.tv5         10027       10/9/2024 17:32




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               All Paths/Locations                               Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79369 Soley, Delane.tv5                   9984      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79374 Mischon, Michael.tv5              17240       10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79375 Perez, Esteban.tv5                13951       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79377 Eichenlaub, Floyd.tv5             10022       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79378 Marney, Nickolas.tv5              10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79382 Nicholson, Donye.tv5              10305       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79384 Atha, Brooke.tv5                    9983      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79387 Sousa, Trenton.tv5                  9985      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79389 Lewisa, Asha.tv5                  10141       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79390 Rodriguez, Elijah.tv5             10468       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79393 Dobson, Christopher.tv5           12303       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79395 Mann, Tameka.tv5                    4050      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79398 Frasure, Brittney.tv5             10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79410 Mosher, Marshall.tv5              10644       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79412 Miller, Patrick.tv5               10211       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79415 Mallett-Aguirre, Baylie.tv5       10465       10/9/2024 17:36




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2561 of
                                       3467



               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79417 Wallace, Malaysia.tv5              9988      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79418 Colemen, Donavon.tv5               9989      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79419 Deininger, Jonathan.tv5          10021       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79422 Cohen, Corvalis.tv5                9986      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79423 Tooley, Gary.tv5                   9985      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79424 Throckmorton, Savanah.tv5        10463       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79425 Mulvihill, Thomas.tv5            10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79426 Schultz, Brittani.tv5            11071       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79427 Dixon, Joseph.tv5                10144       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79429 Barattini, Angela.tv5            10022       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79430 Barela, Austin.tv5               10261       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79431 Bohannon, Jeffrey.tv5            10460       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79432 Ramsey, Cameron.tv5              11225       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79433 Ehrmantrout, William.tv5         10309       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79434 Upton, Aimee.tv5                 10015       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79435 Del Rosario, Ryan.tv5            12161       10/9/2024 17:38




                                                              2560
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2562 of
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               All Paths/Locations                               Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79436 Burleson, Rhiannon.tv5            10022       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79437 Patton-Schulle, Kristen.tv5       11066       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79438 Gonzalez, Sonia.tv5                 9988      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79439 Rawlings, Charleeta.tv5           10023       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79441 Bell, Brandon.tv5                   3559      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79442 - Kraemer, Brian.tv5                3929      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79443 Nelson, Jashae.tv5                10174       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79444 Hestand, Burton.tv5               10207       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79445 Elzey, Jonathan.tv5               10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79446 Overland, Cody.tv5                10715       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79447 Smith, Shydasha.tv5               11942       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79501 Mull, William.tv5                 10177       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79520 Dean, Ashtyn.tv5                  10141       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79521 Davis, Charles.tv5                10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79526 Coleman, Alfidean.tv5               9988      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79538 Casado, Javier.tv5                12850       10/9/2024 17:38




                                                             2561
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2563 of
                                       3467



               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79539 Jerry, Carl.tv5                   12554       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79563 Garcia, Caylani.tv5                 3535      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78144                               Stipulation.pdf                      4957304        1/19/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78144                               UCC Search.pdf                         102800        1/5/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78146                               Annuity Contract Cert.pdf               19220        1/5/2022 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78146                               Application.pdf                        198631        1/5/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78146                               Assignment.pdf                          21891        1/5/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78146                               Authorization for Deductions.pdf        91532        1/5/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78146                               Certification.pdf                      118541        1/5/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78146                               Change of Bene Request.pdf             106931        1/5/2022 12:43




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               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78146                              Closing Book - Ladarius Mobley.pdf      10991781      12/20/2021 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78146                              Court Order.pdf                          1390705        1/14/2022 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78146                              Credit Report.pdf                          118173       1/5/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78146                              Disclosure FL.pdf                           54475       1/5/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78146                              Disclosure TX.pdf                           53982       1/5/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78146                              DocuSign Cert - Closing Statement.pdf      205849     11/22/2023 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78146                              DocuSign Cert.pdf                           75093       1/5/2022 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78146                              Driver License.pdf                       2309064        1/4/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78146                              NASP Search.pdf                             91819       1/5/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78146                              PI Docket.pdf                               72830       1/5/2022 12:44



                                                              2563
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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78146                              Pleadings.pdf                         7185382        1/5/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78146                              Purchase Agreement.pdf                  379070       1/5/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78146                              Searches.pdf                             98897       1/5/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78146                              Social Security Card.pdf              3693441        1/4/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78146                              Stipulation.pdf                         528768      1/21/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78146                              UCC Search.pdf                          102144       1/5/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78153                              Affidavit.pdf                           220296     11/29/2021 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78153                              Application.pdf                         335150     11/29/2021 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78153                              Assignment executed.pdf                  37433      1/10/2022 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78153                              Closing Binder.pdf                   20959179        1/25/2022 9:40



                                                                2564
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2566 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78153                              Court Order.pdf                        235485      1/24/2022 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78153                              Credit Report.pdf                      203660       1/3/2022 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78153                              Disclosure Affidavit.pdf                82576     11/29/2021 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78153                              Disclosure IL.pdf                    1360170        1/5/2022 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78153                              Disclosure MI.pdf                    1557986        1/5/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78153                              Disclosure.pdf                       1911994        1/5/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78153                              Documents                              691712      11/8/2021 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78153                              Document Package_Andresen.pdf          627171      11/8/2021 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78153                              Partial Annuity Contract.pdf           249525      7/15/2021 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78153                              Pleadings.pdf                       10133801        1/5/2022 10:35



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2567 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78153                              Purchase Agreement.pdf               2632821        1/5/2022 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78153                              Rayvin Driver License.pdf               98756       1/5/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78153                              Reason for Settlement.pdf            1301054       1/10/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78153                              Robert ID.pdf                           87432        1/5/2022 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78153                              Searches.pdf                           417726       1/5/2022 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78153                              SS Card.pdf                             91161     11/29/2021 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78153                              Stipulation.pdf                        310270       1/25/2022 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78153                              ZIP Code USPS.pdf                       79121       1/5/2022 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78155                              AL.pdf                                  43748        1/6/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78155                              Annuity Payment Description.pdf        942121        2/7/2022 9:25



                                                                2566
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                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78155                              Application.pdf                        195365        1/6/2022 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78155                              Assignment Agreement Executed.pdf       23079      1/19/2022 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78155                              Authorization.pdf                       65143        1/6/2022 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78155                              Certification.pdf                       91396        1/6/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78155                              Closing Book - David Lugo.pdf        5975509        1/4/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78155                              Court Order.pdf                        634031      1/17/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78155                              Credit.pdf                             100776        1/6/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78155                              D437.pdf                                70468        1/6/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78155                              DL and SSC.pdf                       1005797         1/6/2022 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78155                              IL.pdf                                  44146        1/6/2022 8:56



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2569 of
                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78155                              NE.pdf                                  44575        1/6/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78155                              PI Docket.pdf                          148105        1/6/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78155                              Pleadings.pdf                        1789069         1/6/2022 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78155                              Purchase Agreement.pdf                 338739        1/6/2022 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78155                              Searches using correct SSN.pdf         132765       1/6/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78155                              Searches.pdf                            57459        1/6/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78155                              Stipulation.pdf                        349864       1/18/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78155                              ucc.pdf                                 51242        1/6/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78164                              Annuity Contract.pdf                   917998       1/6/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78164                              Application.pdf                        234948       1/6/2022 10:33



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2570 of
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               All Paths/Locations                                Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78164                              Assignment.pdf                            880603     11/22/2023 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78164                              Court Order.pdf                         1984741        1/7/2022 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78164                              Credit Report.pdf                          85284       1/6/2022 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78164                              Disclosure CO.pdf                         335278       1/6/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78164                              Disclosure NE.pdf                         488424       1/6/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78164                              Disclosure WA.pdf                         348590       1/6/2022 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78164                              Divorce Decree.pdf                        421827      5/27/2021 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78164                              DocuSign Cert - 58FF.pdf                   25214       1/6/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78164                              Identification Card.pdf                    41520       1/6/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78164                              Order Approving Minor Settlement.pdf      892700       1/6/2022 10:30



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               All Paths/Locations                                Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78164                              Pleadings.pdf                           3157992        1/6/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78164                              Pre-Closing Book - Rev. 01.05.22.pdf    9150494         1/5/2022 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78164                              Proof of Disc Delivery.pdf                113247       1/6/2022 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78164                              Purchase Agreement.pdf                  1412217        1/6/2022 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78164                              Qualified Assignment.pdf                  439049       1/6/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78164                              Searches.pdf                              125919       1/6/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78164                              Social Security Card.pdf                  388337       1/6/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78164                              Statement in Support.pdf                  382106       1/6/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78164                              Stip.pdf                                  384935       1/6/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78164                              Stipulation.pdf                         1416991       1/18/2022 12:04



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78171                              Application.pdf                          215562       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78171                              Authorization to Release.pdf             205834       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78171                              Bankruptcy Search.pdf                     91924       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78171                              Benefits Letter.pdf                       47745       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78171                              Closing Binder.pdf                    13445963        1/5/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78171                              Court Order.pdf                          391633       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78171                              Credit Report.pdf                        261780       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78171                              Disclosure - NV.pdf                      418739       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78171                              Disclosure - TX.pdf                      349979       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78171                              DocuSign Certificates.pdf                124472       1/5/2022 13:37



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               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78171                              Judgment.pdf                               27071      9/21/2021 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78171                              Order for funds.pdf                       173707       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78171                              PI Case Docket.pdf                        500060       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78171                              Pleadings.pdf                           6495750        1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78171                              Purchase Agreement.pdf                  2803511        1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78171                              Searches.pdf                              337956       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78171                              Seller Affidavit.pdf                      362454       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78171                              Seller Identification.pdf                 114110       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78171                              Social Security Card.pdf                  118921       1/5/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78171                              Stipulation.pdf                           405652      1/18/2022 11:02



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               All Paths/Locations                                  Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78198                              Annuity Contract.pdf                       1255788       4/18/2022 22:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78198                              Application.pdf                            1354867      11/22/2023 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78198                              Authorization for Annuity Documents.pdf       52945      4/18/2022 22:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78198                              Closing Binder.pdf                         6454231       4/18/2022 22:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78198                              Credit Report.pdf                            599036      4/19/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78198                              Declaration.pdf                              431605      4/18/2022 22:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78198                              Disclosure - NJ.pdf                           94252      4/18/2022 22:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78198                              Disclosure - TX.pdf                           78147      4/18/2022 22:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78198                              Luis Signed Order.pdf                      1991237      11/22/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78198                              PO Stip.pdf                                5475566      10/26/2023 15:48



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78198                              Purchase Agreement.pdf                   6719471       4/18/2022 22:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78198                              Request for Change of Beneficiary.pdf       51887      4/18/2022 22:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78198                              Searches.pdf                                77079      4/19/2022 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78198                              Seller Identification.pdf                  363617      4/18/2022 22:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78198                              Settlement Agreement Affidavit.pdf         312822      4/18/2022 22:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78198                              Settlement Proposal.PDF                    136119      1/11/2018 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78198                              Social Security Card.pdf                   454107      4/18/2022 22:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78198                              Stipulation.pdf                            845582      4/18/2022 22:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78198                              UCC Search.pdf                              69869      4/19/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78207                              5A98.pdf                                    46642       1/10/2022 9:07



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78207                              Affidavit.pdf                           53772       1/10/2022 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78207                              Application.pdf                         93335       1/10/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78207                              bank statement - POR.pdf             2635082       1/18/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78207                              Benefits Letter.pdf                    218009       1/10/2022 9:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78207                              Child Support Garnishment.pdf          746695      7/15/2021 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78207                              Court Order.pdf                        757694      1/20/2022 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78207                              Credit Report.pdf                       82562      1/17/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78207                              Disclosure FL.pdf                       78342       1/10/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78207                              Disclosure OH.pdf                       95328       1/10/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78207                              Disclosure PA.pdf                       74931       1/10/2022 9:02



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78207                              Divorce decree.pdf                    1396216       5/15/2014 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78207                              DL with updated address.pdf             255344      1/18/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78207                              Driver License.pdf                      389032       1/10/2022 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78207                              Executed Denzer APA.PDF                 508708     11/22/2023 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78207                              Funding File Brandi Denzer.pdf        6719371        1/6/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78207                              OAMC.pdf                                267371      1/23/2020 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78207                              PA - Important Notice.pdf                44585       1/10/2022 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78207                              Pleadings.pdf                        17388354        1/10/2022 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78207                              Purchase Agreement.pdf                  593468       1/10/2022 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78207                              SA Affidavit.pdf                         53820       1/10/2022 9:04



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78207                              Searches.pdf                            241584       1/10/2022 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78207                              SSC.pdf                                 253266       1/10/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78207                              Stipulation.pdf                       4246418       1/20/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78218                              Application.pdf                          50488      1/10/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78218                              Assignment.pdf                          171185      1/10/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78218                              Closing Binder.pdf                    2355206       1/10/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78218                              Closing Statement.pdf                   411021     11/22/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78218                              Court Order.pdf                         263469       1/6/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78218                              Credit Report.pdf                        14688       1/6/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78218                              Disclosure.pdf                          110982      1/10/2022 11:40



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78218                              Docusign Cert 5321.pdf                  202487     11/22/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78218                              Docusign Cert 70D7.pdf                  196170     11/22/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78218                              DocuSign Cert 8174.pdf                  198907     11/22/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78218                              Driver License.pdf                      426752       3/9/2021 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78218                              News Article for Settlement.pdf         375104      5/19/2021 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78218                              Payment Info.pdf                      2830155       4/27/2021 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78218                              Pleadings.pdf                         1121207       1/10/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78218                              Purchase Agreement.pdf                  228624      1/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78218                              Searches.pdf                             10016      1/10/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78218                              Social Security Card.pdf                310733      4/22/2021 12:31



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78218                              Stipulation Executed.pdf             1699180       1/24/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78218                              Ucc Search.pdf                          47930     11/22/2023 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78218                              Zip Code Look up 78218.pdf              80187      1/10/2022 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78228                              Affidavit.pdf                          109038      11/2/2021 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78228                              Annuity Cert.pdf                        52598      11/2/2021 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78228                              Application.pdf                        156909      11/2/2021 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78228                              Benefits Letter.pdf                    296167      11/8/2021 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78228                              Court Order.pdf                        122486      2/23/2022 16:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78228                              Credit Report.pdf                      216468      1/12/2022 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78228                              Declaration.pdf                        163699      11/2/2021 12:03



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78228                              Disclosure Affidavit.pdf                44467      1/20/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78228                              Disclosure CA.pdf                      247825       1/21/2022 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78228                              Disclosure TX.pdf                      249058      1/21/2022 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78228                              ID.pdf                                 121801       2/1/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78228                              IPA Waiver.pdf                         474946      1/21/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78228                              Pleadings.pdf                       28194604       1/21/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78228                              Purchase Agreement.pdf                 628010      1/21/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78228                              Reason for Settlement.pdf            1180604      12/14/2021 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\78228                              Searches.pdf                           414019      1/12/2022 11:43



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78228                              SSC.pdf                                131388       2/1/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78228                              Stipulation.pdf                        481475       2/24/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78295                              Acknowledgment.pdf                     105273       2/1/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78295                              Affidavit.pdf                        1662449      12/10/2021 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78295                              Annuity Contract.pdf                   240591      9/22/2020 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78295                              Annuity Quotes.pdf                   1034412       12/6/2021 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78295                              Application.pdf                      2059712       12/7/2021 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78295                              Assignment.pdf                         177482       1/25/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78295                              Authorization to Release.pdf           456357      12/7/2021 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78295                              Benefits Letter.pdf                    472805      9/22/2020 10:27



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               All Paths/Locations                                 Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78295                              Court Order.pdf                             274394      1/24/2022 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78295                              Credit Report.pdf                           686036       12/7/2021 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78295                              Disclosure Proof of Delivery- USPS.pdf      568234     12/13/2021 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78295                              Disclosure proof of Hand Delivery.pdf       223768      12/7/2021 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78295                              Disclosure-CT.pdf                         1385839       12/7/2021 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78295                              Disclosure-NY.pdf                         1709384       12/7/2021 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78295                              Driver License.pdf                        5003910      11/22/2023 12:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\78295                              E-sign Certificate Revised Terms.pdf         46258      1/24/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78295                              Pleadings.pdf                             2556505       1/24/2022 15:03



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               All Paths/Locations                              Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78295                              Purchase Agreement.pdf             3315054       1/11/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78295                              Qualified Assignment.pdf              82334      12/19/2016 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78295                              Revised Disclosure - CT.pdf          125082      1/24/2022 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78295                              Revised Disclosure - NY.pdf          140563      1/24/2022 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78295                              Revised Terms Rider.pdf               64576      1/24/2022 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78295                              Searches.pdf                         749884       12/7/2021 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78295                              Settlement Agreement.pdf             552809     12/20/2016 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78295                              Social Security Card.pdf             232954      9/21/2020 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78296                              Acknowledgment.pdf                    76242      2/15/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78296                              Affidavit.pdf                        177351     12/15/2021 10:38



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78296                              Annuity Contract.pdf                    159359     10/26/2020 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78296                              Application.pdf                         256077     12/15/2021 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78296                              Assignment Executed.pdf                  35231      1/18/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78296                              Closing Binder.pdf                    5587063       1/11/2022 20:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78296                              Court Order.pdf                         269976      1/18/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78296                              Credit Report.pdf                       301607      1/11/2022 20:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78296                              Disclosure Affidavit.pdf                 62243     12/15/2021 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78296                              Disclosure AL.pdf                       215471     12/15/2021 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78296                              Driver License - AZ.pdf                 311356     10/29/2020 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78296                              Order Appointing Convervator.pdf        124620      1/11/2022 20:25



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2586 of
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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78296                              Petition for Order Appointing Conservator.pdf      255005      1/11/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78296                              Pleadings.pdf                                    2061313       1/11/2022 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78296                              Proof of Disc Delivery.pdf                         521176      1/11/2022 20:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78296                              New Document Package_Harris.pdf                    427856      12/7/2021 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78296                              Purchase Agreement.pdf                           1146779       1/11/2022 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78296                              Social Security Card.pdf                           268538     10/29/2020 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78296                              ZIP Code USPS.pdf                                   66266      1/13/2022 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78323                              Acknowledgment.pdf                                 171112       2/4/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78323                              Affidavit - Amended.pdf                            235387      1/11/2022 21:50



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               All Paths/Locations                                 Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78323                              Affidavit.pdf                                    771858      1/11/2022 21:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78323                              Annuity Contract.pdf                           1992731       1/12/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78323                              Application.pdf                                1222557      11/22/2023 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78323                              Assignment.pdf                                   124845      1/18/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78323                              Berkshire Objection.pdf                        1398071       1/11/2022 21:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78323                              Closing Binder.pdf                            14995965       1/11/2022 21:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78323                              Court Order.pdf                                  208768      1/21/2022 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78323                              Credit Report.pdf                                 47343      1/11/2022 21:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78323                              Disclosure NE - Amended.pdf                      323877      1/11/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Disclosure NE Amended - Correcting due date
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78323                              Disclosure NE.pdf                                913810      1/11/2022 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78323                              Disclosure NM - Amended.pdf                      302661      1/11/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Disclosure NM Amended -Correcting due date
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78323                              Disclosure NM.pdf                                818475      1/11/2022 21:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78323                              Identification Card.pdf                          782627      1/18/2022 20:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78323                              PI Docket.pdf                                     80333     11/22/2023 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78323                              pleadings.pdf                                 10195510       1/21/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78323                              Purchase Agreement - Amended.pdf               1766633       1/11/2022 21:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Purchase Agreement Amended - Correcting due
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023\78323                              Purchase Agreement.pdf                         5236176       1/11/2022 21:52



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               All Paths/Locations                              Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78323                              Redirection Confirmation New 78323.pdf       82165      7/29/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78323                              Redirection Reconfiguration 78323.pdf     2666432       7/22/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78323                              WFB Letter RE-NEW POB.pdf                   558429       3/30/2022 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78323                              Redirection Reconfig SPSS.pdf             1505441       6/27/2022 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       SuttonPark - Corp Resolution 2022 POB
11.22.2023\78323                              789582.pdf                                  980063       3/9/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78323                              Searches.pdf                                 37250      1/11/2022 21:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78323                              Social Security Card.pdf                    892394      1/18/2022 20:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              Affidavit.pdf                             2155904        1/14/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              Annuity Contract.pdf                        344459      1/19/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              Application.pdf                           1101065       11/19/2021 9:53



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              Assignment Agreement .pdf               132547      1/19/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              Benefit Letter.pdf                      404169      1/13/2022 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              Closing Binder.pdf                   31584661       1/14/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              Closing Statement executed.pdf          191026     11/22/2023 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              Court Order.pdf                         286277      1/12/2022 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              Credit Profile Report.pdf               573417      1/12/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              Disclosure NE.pdf                     2471615        1/14/2022 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              Disclosure TX.pdf                     2813529        1/14/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              DocuSign Cert E957.pdf                  280052      1/19/2022 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              Driver License.pdf                      115519      11/18/2021 9:53



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               All Paths/Locations                               Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              Garcia Acknowledgement Letter.pdf           165644      1/20/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              Pleadings.pdf                             1535280        1/14/2022 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              Proof of service.pdf                         44822      1/19/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              Purchase agreementt.pdf                  16704201        1/14/2022 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              Redirection Confirmation New 78344.pdf       81607      7/25/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              Redirection Reconfiguration 78344.pdf     2666363       7/22/2022 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              WFB Letter RE-NEW POB.pdf                   558429       3/30/2022 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              Redirection Reconfig SPSS.pdf             1505441       6/27/2022 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       SuttonPark - Corp Resolution 2022 POB
11.22.2023\78344                              789582.pdf                                  980063       3/9/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              Searches.pdf                                 23734     11/22/2023 12:58



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              settlement docket.pdf                8223603      10/13/2021 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              Social Security Card.pdf             3923276       1/12/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              UCC Search.pdf                          23090     11/22/2023 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78344                              ZIP Code USPS.pdf                       66253      1/14/2022 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              Acknowledgment.pdf                     171112       2/4/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              Affidavit - Amended.pdf                235387      1/11/2022 21:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              Affidavit.pdf                          771858      1/11/2022 21:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              Annuity contract.pdf                 2106546       1/12/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              Application.pdf                      1222557      11/22/2023 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              Assignment.pdf                         197155       1/24/2022 3:10



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               All Paths/Locations                                 Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              Berkshire Objection.pdf                        1398071       1/11/2022 21:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              Closing Binder.pdf                            14995965       1/11/2022 21:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              Court Order.pdf                                  208768      1/21/2022 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              Credit Report.pdf                                 47343      1/11/2022 21:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              Disclosure NE - Amended.pdf                      323877      1/11/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Disclosure NE Amended - Correcting due date
11.22.2023\78348                              and increased PP.pdf                             159370      1/21/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              Disclosure NE.pdf                                913810      1/11/2022 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              Disclosure NM - Amended.pdf                      302661      1/11/2022 21:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Disclosure NM Amended -Correcting due date
11.22.2023\78348                              and increased PP.pdf                             129257      1/21/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              Disclosure NM.pdf                                818475      1/11/2022 21:52



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               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              Identification Card.pdf                          782627      1/18/2022 20:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              PI Docket.pdf                                     80333     11/22/2023 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              pleadings.pdf                                 10195510       1/21/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              Purchase Agreement - Amended.pdf               1766633       1/11/2022 21:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Purchase Agreement Amended - Correcting due
11.22.2023\78348                              date and increased PP.pdf                      1124528       1/21/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              Purchase Agreement.pdf                         5236176       1/11/2022 21:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              Redirection Confirmation New 78348.pdf            82164      7/29/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              Redirection Reconfiguration 78348.pdf          2666421       7/22/2022 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              WFB Letter RE-NEW POB.pdf                        558429       3/30/2022 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              Redirection Reconfig SPSS.pdf                  1505441       6/27/2022 17:25



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2595 of
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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       SuttonPark - Corp Resolution 2022 POB
11.22.2023\78348                              789582.pdf                                 980063       3/9/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              Searches.pdf                                37250      1/11/2022 21:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78348                              Social Security Card.pdf                   892394      1/18/2022 20:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              Annuity Contract.pdf                       329564      1/13/2022 22:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              Application.pdf                            191731      1/13/2022 22:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              Assignment.pdf                              28561       1/17/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              Authorization for Deductions.pdf            41699      1/13/2022 22:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              Birth Certificate.pdf                    1111377       1/18/2022 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              Certification.pdf                          115401      1/13/2022 22:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              Closing Book - Alexandria Hunt.pdf       7578237       1/13/2022 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              Court Order.pdf                             63785      1/13/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              Credit Report.pdf                          127400      1/14/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              Disclosure NJ.pdf                           49529      1/13/2022 22:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              Disclosure NM.pdf                           49559      1/13/2022 22:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              DisclosureTX.pdf                            49260      1/13/2022 22:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              DocuSign Cert - 6AC2.pdf                    69368      1/13/2022 22:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              DocuSign Cert - Closing Statement.pdf      198698     11/22/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              DocuSign Cert 18A8.pdf                     202378     11/22/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              Driver License.pdf                       1017131       1/13/2022 22:07



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              Name Declaration.pdf                   110209      1/13/2022 22:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              NASP Search.pdf                         92185      1/13/2022 22:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              Pleadings.pdf                        2215141       1/13/2022 22:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              Purchase Agreement.pdf                 343450      1/13/2022 22:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              Request for Annuity Docs.pdf            53132      1/13/2022 22:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              Searches.pdf                           105615      1/14/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              Settlement Agreement.pdf               258941      1/13/2022 22:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              Social Security Card.pdf               529877      1/13/2022 22:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              Stipulation - Missing SP.pdf         3300662       1/13/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023\78363                              Stipulation.pdf                      3210455       1/14/2022 13:31



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78363                              UCC Search.pdf                           98315      1/14/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78383                              Affidavit in Lieu of SA.pdf             140484      1/16/2022 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78383                              Application.pdf                         240417      1/16/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78383                              Assignment.pdf                          154116       1/25/2022 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78383                              Authorization for Deductions.pdf        140601      1/16/2022 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78383                              Benefits Letter.pdf                     647619      1/16/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78383                              Closing Binder.pdf                    5190545       1/14/2022 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78383                              Closing Statement.pdf                   126614      1/14/2022 20:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78383                              Court Order.pdf                       3278816      11/22/2023 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78383                              Credit Report.pdf                       155222      1/17/2022 14:03



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               All Paths/Locations                                 Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78383                              Disclosure Affidavit.pdf                         161288      1/16/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78383                              Disclosure AZ.pdf                                141514       1/21/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78383                              Disclosure MI.pdf                                145989       1/21/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78383                              Disclosure PA.pdf                                141500       1/21/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78383                              DocuSign Cert - Final Closing Statement.pdf      170939     11/22/2023 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78383                              Driver License.pdf                                74351      1/16/2022 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78383                              Final Closing Statement.pdf                      176792      1/21/2022 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Order Approving Guardian and Compromise
11.22.2023\78383                              Settlement.pdf                                   242848      7/13/2021 22:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78383                              Pleadings.pdf                                  1775894       1/16/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78383                              Purchase Agreement.pdf                         1288170       1/25/2022 10:34



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78383                              Revised Closing Statement.pdf          154834      1/25/2022 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78383                              Searches.pdf                            82827      1/17/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78383                              Social Security Card.pdf                56583      1/16/2022 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\78383                              Stip - Missing Cozen.pdf             2160197       1/17/2022 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78383                              Stipulation.pdf                        771692      1/25/2022 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78383                              UCC Search.pdf                          65847      1/16/2022 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              Acknowledgement Letter.pdf              29943       2/8/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              Affidavit of Service.pdf                55189      1/26/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              Application.pdf                        708704     11/21/2021 21:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              Authorization to Release Info.pdf      489258     11/21/2021 21:20



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              Bank Statement.pdf                                 279111     11/22/2023 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              Beneficiary Change Letter1.pdf                     164819       1/24/2022 9:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -             Benefits Letter with errors- 2023 lump is
11.22.2023.zip\Dorchester - 353 Files -       incorrect shows more that what is due and
11.22.2023\78397                              payments are due every 3Years not monthly.pdf      180145      1/24/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              COB Request.pdf                                    786672      1/18/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              Court Order.pdf                                    190955      1/21/2022 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              Credit Report.pdf                                  176173      1/25/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              Disclosure DE.pdf                                  534381      1/18/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              Disclosure NY.pdf                                  216183      1/18/2022 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              Disclosure VA.pdf                                  604476      1/18/2022 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              Genworth Email regarding payments.pdf              646051      1/25/2022 16:40



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               All Paths/Locations                              Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              NY Disc POD.pdf                      631860     11/11/2021 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              Payee Affidavit.pdf                  593805     11/21/2021 21:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              Pleadings.pdf                     10254686       1/18/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              Purchase Agreement.pdf             1473872       1/18/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              Release and Settlement.pdf         3225301       4/21/2021 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              Request for Benefits.pdf             994501      1/18/2022 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              Searches.pdf                          81705      1/25/2022 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              SS Card.pdf                          452371     12/14/2021 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              State ID.pdf                         157663       1/24/2022 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              UCC.pdf                               49343      1/25/2022 10:10



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               All Paths/Locations                                Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              USPS Change of Address Confirmation.pdf      243398       1/4/2022 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78397                              Waiver of Anti Assignment.pdf                299711     11/21/2021 21:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78408                              Annuity Contract.pdf                         318300      1/18/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78408                              Application.pdf                              144033      12/2/2021 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78408                              Assignment.pdf                               105171      1/19/2022 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78408                              Court Order.pdf                               75396      1/18/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78408                              Credit Report.pdf                             39300      1/18/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78408                              David Clayton Shiflett - Deceased.pdf         16112      1/20/2022 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78408                              Declaration.pdf                              287168      12/2/2021 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78408                              Disclosure FL.pdf                             62956      12/2/2021 15:51



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               All Paths/Locations                               Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78408                              Divorce Decree - Muller 1996.pdf            3918653      11/22/2023 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78408                              Funding Book.pdf                            6368032       1/17/2022 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78408                              Identification Card.pdf                       202586      1/18/2022 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78408                              Pleadings.pdf                               2462381       1/18/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78408                              Proof of Disc Delivery.pdf                     96849      1/18/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78408                              Proof of SSN.pdf                              197268      1/18/2022 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78408                              Purchase Agreement.pdf                        656116      1/19/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78408                              Qualified Assignment.pdf                      404966      1/18/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78408                              Redirection Confirmation New-Various.pdf      335471      3/23/2023 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78408                              Redirection Reconfiguration 78408.pdf         362043      3/21/2023 14:56



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78408                              Searches.pdf                            22979      1/18/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78408                              Settlement Agreement.pdf               281601      1/18/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78408                              Stipulation.pdf                        603380     11/22/2023 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78416                              Annuity Contract.pdf                   265021      1/18/2022 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78416                              Application.pdf                        143155      1/18/2022 21:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78416                              Court Order.pdf                      2827568       1/19/2022 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78416                              Credit Report.pdf                      120652      1/18/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78416                              Disclosure IL.pdf                      178374      1/18/2022 20:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78416                              Disclosure MO.pdf                      151879      1/18/2022 20:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78416                              Disclosure NE.pdf                      119081      1/18/2022 20:55



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               All Paths/Locations                               Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78416                              Identification Card.pdf                     228366      1/18/2022 20:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78416                              Notarized Docs.pdf                        1265702       1/13/2022 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78416                              Order Approving Settlement.pdf              159618      1/18/2022 20:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78416                              Pleadings.pdf                             9669336       1/18/2022 20:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78416                              Pre- Closing Book - Rev. 01.18.22.pdf    12261559       1/18/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78416                              Proof of Disc Delivery.pdf                  135948      1/18/2022 20:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78416                              Purchase Agreement.pdf                      302674      1/18/2022 20:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78416                              Qualified Assignment.pdf                    454729      1/18/2022 20:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78416                              Redirection Confirmation New 78416.pdf      115829      8/11/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78416                              Searches.pdf                                286862      1/18/2022 21:02



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               All Paths/Locations                              Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78416                              Settlement Agreement.pdf             664316      1/18/2022 20:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78416                              Social Security Card.pdf             224339      1/18/2022 21:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78416                              Statement in Support.pdf             180421      1/18/2022 20:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78416                              Valadez Acknowledgement.pdf          351100       4/7/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78416                              ZIP Code USPS 78416.pdf               62079      1/19/2022 16:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78422                              Acknowledgment.pdf                   100413      3/29/2022 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78422                              Affidavit.pdf                        174155     11/15/2021 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78422                              Annuity Contract.pdf                 496401       2/1/2022 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78422                              Application.pdf                      342408     11/15/2021 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78422                              Assignment Agreement.pdf              39380      3/15/2022 12:47



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78422                              Benefits Letter.pdf                      85554       2/1/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78422                              Court Order.pdf                         194125      3/14/2022 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78422                              Credit Report.pdf                        97881      1/10/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78422                              Declaration.pdf                         292713     11/15/2021 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78422                              Disclosure Affidavit.pdf                 63847     11/15/2021 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78422                              Disclosure CA.pdf                       316273       2/1/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78422                              Disclosure CT.pdf                       258347       2/1/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78422                              Driver License.pdf                      134610     11/22/2021 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78422                              Pleadings.pdf                        28611079        2/1/2022 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78422                              Proof of SSN.pdf                      1527788       1/31/2022 11:34



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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78422                              Purchase Agreement.pdf                            274000       2/1/2022 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78422                              Redirection Confirmation New 78422.pdf             57758      4/20/2022 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78422                              Searches.pdf                                      607179      1/19/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78422                              Settlement Agreement.pdf                          968556      1/11/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78422                              Signed Name Affidavit.pdf                         304076      3/14/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Acknowledgment.pdf                                 35330       4/18/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Annuity Contract.pdf                              202873       1/14/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Application.pdf                                   197363      1/18/2022 21:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Assignment Agreement Executed.pdf                  24880      3/14/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Authorization for Deductions - Notarized.pdf      348712      1/18/2022 21:19



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2610 of
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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Change of Bene Request - Notarized.pdf           513742      1/18/2022 21:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Closing Book - Victor Freeman.pdf             16572417       1/18/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Closing Statement Executed via DocuSign.pdf      204037     11/22/2023 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Closing Statement Executed.pdf                   412256     11/22/2023 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Court Order.pdf                                  260640      3/14/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Declaration.pdf                                  233647     11/22/2023 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Disclosure CA.pdf                                 61966      1/18/2022 21:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Disclosure IA.pdf                                 53247      1/18/2022 21:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Disclosure MS.pdf                                 48189      1/18/2022 21:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Disclosure WA.pdf                                 52847      1/18/2022 21:13



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               All Paths/Locations                                 Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              DocuSign Cert 6FCD.pdf                        228651     11/22/2023 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              DocuSign Cert 7357.pdf                        122479      1/21/2022 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              DocuSign Certs.pdf                            108007      1/18/2022 21:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Driver License.pdf                          2632665       1/18/2022 21:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Pleadings.pdf                               1166370       1/18/2022 21:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Purchase Agreement.pdf                        273407      1/18/2022 21:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Request for Annuity Docs - Notarized.pdf      597406      1/18/2022 21:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Searches Freeman.pdf                           72488       1/21/2022 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Settlement Agreement.pdf                      752074       1/14/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Social Secuirty Card.pdf                    3786181       1/18/2022 21:10



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               All Paths/Locations                                Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Stipulation Executed.pdf                       431016     11/22/2023 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Stipulation Missing signature Symetra.pdf    1632748       3/15/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              UCC Search.pdf                                  43763      1/21/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              Updated Credit report.pdf                      155975      1/19/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78430                              ZIP Code USPS 78430.pdf                         66091      1/19/2022 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78450                              Affidavit.pdf                                  922490      1/20/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78450                              Annuity Contract.pdf                         2098771        3/1/2021 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78450                              Application.pdf                              1190351       1/20/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78450                              Assignment.pdf                                 235773      1/24/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78450                              Authorization.pdf                              121001      1/20/2022 11:30



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2613 of
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               All Paths/Locations                                Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78450                              Bankruptcy Search updated.pdf             89679      1/24/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78450                              Benefits Letter.pdf                       65869      1/20/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78450                              Court Order.pdf                          205866      1/20/2022 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78450                              Credit Report.pdf                      1021701       1/24/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78450                              Disclosure NY.pdf                        261458      1/20/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78450                              NJ Driver License.pdf                     52974      1/24/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78450                              Pleadings.pdf                          8713689       1/20/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78450                              Porsch- Closing Binder 1.13.22_.pdf   22422453       1/20/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78450                              Proof of Delivery.pdf                    514821      1/20/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78450                              Proof of Residency.pdf                   271167      1/24/2022 14:04



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2614 of
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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78450                              Purchase Agreement.pdf              1547052       1/20/2022 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78450                              Qualified Assignment.pdf            1055002        3/1/2021 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78450                              Searches Updated.pdf                  670693      1/24/2022 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78450                              Settlement Agreement.pdf            1102317        3/1/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78450                              Social Security Card.pdf              109700       3/1/2021 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78450                              Stipulation executed.pdf            6251912       1/21/2022 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78450                              Temporary ID.pdf                      693793      1/26/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              Acknowledgment.pdf                    165922       1/31/2022 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              Affidavit.pdf                         528956      1/20/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              Annuity Contract.pdf                  687977      1/20/2022 17:55



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2615 of
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               All Paths/Locations                                Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              Application.pdf                             811883      1/20/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              Assignment.pdf                              236503     11/22/2023 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              Authorization to Release.pdf                 64753      1/20/2022 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              Bankruptcy Search.pdf                       122871      1/20/2022 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              Benefits Letter.pdf                         123989      1/20/2022 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              Brown, L 2- Closing Binder 1.20.22.pdf   21496100       1/20/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              Court Order.pdf                             139415      1/18/2022 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              Credit Report.pdf                           613601      1/21/2022 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              Disclosure MD.pdf                            68843      1/20/2022 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              Divorce Decree Docket.pdf                   422397      1/20/2022 18:25



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               All Paths/Locations                                 Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              Driver License.pdf                           33688      1/20/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              IPA Letter.pdf                              303755      1/20/2022 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              Pleadings.pdf                            14083483       1/20/2022 18:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              Proof of Disc Delivery.pdf                   82842      1/20/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              Purchase Agreement.pdf                      606481      1/20/2022 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              Redirection Confirmation New 78451.pdf       80845      7/28/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              Redirection Reconfiguration 78451.pdf     2653783       6/28/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              WFB Letter RE-NEW POB.pdf                   558429       3/30/2022 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              Redirection Reconfig SPSS.pdf             1505441       6/27/2022 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       SuttonPark - Corp Resolution 2022 POB
11.22.2023\78451                              789582.pdf                                  980063       3/9/2022 14:13



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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              Searches.pdf                                   378420      1/20/2022 19:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              Settlement Agreement.pdf                     2627083       1/20/2022 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78451                              Social Security Card.pdf                       100500      1/20/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78465                              Annuity Contract.pdf                         1007370        1/24/2022 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78465                              Application.pdf                              1925582        1/24/2022 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78465                              Assignment StratCap to Sutton.pdf               73571       1/24/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78465                              Authorization Letter.pdf                       619924       1/24/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78465                              Bankruptcy Search.pdf                           38730       1/24/2022 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78465                              Closing Documents - Flocelo Rebollar .pdf    7000896       1/21/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78465                              COB Request.pdf                                716283       1/24/2022 9:27



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78465                              Court Order.pdf                        499536       1/24/2022 9:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78465                              Credit Report.pdf                       43245       1/24/2022 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78465                              Disclosure CO.pdf                    1354969        1/24/2022 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78465                              Disclosure TX.pdf                    1459682        1/24/2022 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78465                              ID.pdf                                 410785       1/24/2022 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78465                              Notice of Assignment.pdf               669213       1/24/2022 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78465                              Payees Request to Conceal ID.pdf       516711       1/24/2022 9:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78465                              Pleadings.pdf                        2533622        1/24/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78465                              Purchase Agreement.pdf              13615102        1/24/2022 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78465                              Searches.pdf                           499975       1/24/2022 9:29



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               All Paths/Locations                                 Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78465                              Settlement Docket.pdf                                93577      1/24/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78465                              Stipulation.pdf                                   1614102       1/24/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78465                              Transaction Summary.pdf                              63452       1/24/2022 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -             10-17-18 Frank Zapata - AC CCX0024841 GS
11.22.2023.zip\Dorchester - 353 Files -       600985 - Buyer Stefany Nardone - Final Closing
11.22.2023\78492                              Book (2).pdf                                      6502542      10/17/2018 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78492                              Servicing Agreement 2022.pdf                      4865047       3/24/2022 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78493                              Application.pdf                                      55874      2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78493                              Assignment Bentzen to Income Stream.pdf             169209      2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\78493                              Assignment Income Stream to Sprockett.pdf           112106      2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78493                              Bankruptcy Search.pdf                                60197      2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78493                              Closing Binder.pdf                                1990259       1/15/2014 15:48



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               All Paths/Locations                                  Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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11.22.2023\78493                              ClosingBook-M.Paquette 2.pdf                  1990259       1/15/2014 15:48
Saiph consulting|\Audit Materials Received-
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11.22.2023\78493                              Court Order.pdf                                 125474      2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78493                              Disclosure - CT.pdf                              28043      2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78493                              Disclosure - DE.pdf                              27796      2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78493                              Disclosure - MA.pdf                              31188      2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\78493                              Disclosure - MI.pdf                              28019      2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
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11.22.2023\78493                              Drivers License.pdf                              41343      2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\78493                              Letter requesting payments to Sprocett.pdf      221093      2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78493                              Purchase Agreement.pdf                          212794      2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78493                              Redirection Confirmation New 78493.pdf           84967      6/27/2022 12:07



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               All Paths/Locations                              Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78493                              Redirection Reconfiguration 78493.pdf          1254663      11/22/2023 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78493                              Request For Acknowledgement.pdf                   85278      2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78493                              Searches.pdf                                      36092      2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78493                              Settlement Agreement.pdf                         511185      2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78493                              Social Security Card.pdf                          41343      2/17/2022 10:11
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -             10-17-18 Sheldon Stormoen - AC SGQ000041178
11.22.2023.zip\Dorchester - 353 Files -       GS 600981 - Buyer Stefany Nardone - Final
11.22.2023\78496                              Closing Book (3).pdf                          13376953      10/17/2018 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78496                              Annuity Contract.pdf                             423899      2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78496                              Application.pdf                                  858441      2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78496                              Assignment Bentzen to NEAA.pdf                   808184      2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78496                              Assignment NEAA to Nardone.pdf                   293478      2/18/2022 11:26



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               All Paths/Locations                                  Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78496                              Closing Binder.pdf                              13376953      10/17/2018 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78496                              Court Order.pdf                                  2593887       2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78496                              Credit Report.pdf                                   32507      2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Direction to Goldstar for Payments to Stefany
11.22.2023\78496                              Nardone.pdf                                        345903      2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78496                              Disclosure - NJ.pdf                                554139      2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78496                              Disclosure - OK.pdf                                527269      2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78496                              Purchase Agreement.pdf                           2476529       2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78496                              Request for Change of Beneficiary.pdf              440952      2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78496                              Searches.pdf                                       116115      2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78496                              Seller Identification.pdf                          332248      2/18/2022 11:26



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78496                              Servicing Agreement 2022.pdf          3617136       3/24/2022 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78496                              Settlement Agreement.pdf                597346      2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78496                              Social Security Card.pdf                332248      2/18/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78515                              Acknowledgment.pdf                       75306       2/10/2022 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78515                              Affidavit.pdf                           526297      12/9/2021 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78515                              Application.pdf                         579841      12/9/2021 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78515                              Assignment executed.pdf                 349190      1/28/2022 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78515                              Benefit letter.pdf                       97575      1/11/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78515                              Closing Binder.pdf                   10683437        2/7/2022 19:23



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78515                              Court Order.pdf                       2125405        2/3/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78515                              Credit Report.pdf                        96764      1/18/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78515                              Disclosure AZ.pdf                     1683781       1/27/2022 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78515                              Disclosure CT.pdf                     1692518       1/27/2022 15:38
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78515                              Disclosure FL.pdf                     1835152       1/27/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78515                              Driver License.pdf                       46920      1/27/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78515                              Purchase Agreement.pdf                            626357      1/27/2022 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78515                              Redirection Confirmation New 78515.pdf             57941      4/25/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78515                              Redirection Reconfig Letter up04-07-2022.pdf    7222890        4/6/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78515                              Searches.pdf                                      493492      1/27/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78515                              Settlement Agreement.pdf                          617125      1/11/2022 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78515                              Social Security Card.pdf                           53142      1/27/2022 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78515                              ZIP Code USPS.pdf                                  69634      1/27/2022 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78531                              Affidavit in Support.pdf                           90016      12/9/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78531                              Amended Payee Affidavit in Support.pdf            155464        2/7/2022 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78531                              Annuity Contract.pdf                               48655      9/23/2019 12:17



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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78531                              Application.pdf                            324837      12/9/2021 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78531                              Authorization to Release Info.pdf           90822      12/9/2021 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78531                              Closing Binder.pdf                      15340569       2/17/2022 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78531                              Court Order.pdf                            288175     11/22/2023 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78531                              Credit Report.pdf                           29164      2/18/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78531                              Disclosure DE.pdf                          107021      2/17/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78531                              Disclosure PA.pdf                          163955      2/17/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78531                              DocuSign Cert - Assignment.pdf             142953     11/22/2023 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78531                              DocuSign Cert - Funding Agreement.pdf      302691     11/22/2023 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Funding Agreement - Signed Closing
11.22.2023\78531                              Statement.pdf                              196234      2/20/2022 12:03



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               All Paths/Locations                               Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Funding Agreement - Unsigned Closing
11.22.2023\78531                              Statement.pdf                              69988       2/18/2022 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78531                              Identification Card.pdf                   265042     12/13/2021 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78531                              Payee Affidavit in Support.pdf            268156      12/9/2021 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78531                              Pleadings.pdf                           9656812       2/17/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\78531                              Praecipe to Attach.pdf                  1224931       2/18/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78531                              Qualified Assignment.pdf                  503119      9/23/2019 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78531                              Sale Agreement Assignment.pdf             190781      2/18/2022 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78531                              Searches.pdf                               25055      2/18/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78531                              Settlement Agreement.pdf                  750099      9/23/2019 12:19



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78531                              Social Security Card.pdf                 90748      2/11/2022 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78531                              Stip - Missing Atlantic.pdf           1015868       2/12/2022 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78531                              Stipulation.pdf                       1050428       2/17/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78531                              Waiver of Anti Assignment.pdf           104499      12/9/2021 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78679                              Affidavit in Lieu of SA.pdf             312435      3/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78679                              Amended Pleadings.pdf                 5848023       3/16/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78679                              Annuity Contract.pdf                    601843      3/23/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78679                              Application.pdf                         179124      3/15/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78679                              Assignment.pdf                          164382       4/8/2022 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78679                              Closing Binder.pdf                   10645342       3/23/2022 10:57



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78679                              Court Order.pdf                         162458        4/7/2022 3:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78679                              Credit Report.pdf                        31792      3/21/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78679                              Disclosure CA.pdf                       330144      3/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78679                              Disclosure NY.pdf                       184734      3/23/2022 11:32
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78679                              Docusign Cert - PA Docs.pdf             327506     11/22/2023 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78679                              Driver License.pdf                    1058233       3/23/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78679                              Order Approving Compromise.pdf          232604       1/18/2017 3:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78679                              Pleadings.pdf                         6236556       3/23/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78679                              Proof of Disc Delivery.pdf              345349      3/23/2022 11:03
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78679                              image001.png                             12284



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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\78679                              image002.jpg                            10260
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78679                              Disclosure CA - Daniel Comer.pdf        90423     12/13/2021 15:10
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78679                              image001.png                            12284
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78679                              image002.jpg                            10260
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78679                              Purchase Agreement.pdf               3096160       3/23/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78679                              Qualified Assignment.pdf             1184927       3/23/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78679                              Searches.pdf                            19971      3/23/2022 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78679                              Social Security Card.pdf             1005226       3/23/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78679                              Stipulation.pdf                      1071742       3/30/2022 11:06



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               All Paths/Locations                                 Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78682                              Affidavit in Lieu of SA.pdf                 103476       3/2/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78682                              Amended Order Approving Settlement.pdf      560619       2/24/2022 5:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78682                              Annuity Contract Cert.pdf                    17871     11/22/2023 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78682                              Application.pdf                             167202      2/23/2022 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78682                              Assignment.pdf                              162988       3/9/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78682                              Closing Binder.pdf                        8788175        3/2/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78682                              Court Order.pdf                             169507     11/22/2023 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78682                              Credit Report.pdf                            76272      2/23/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78682                              Declaration.pdf                             152498       3/2/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78682                              Disclosure AR.pdf                           131213       3/2/2022 12:30



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78682                              Disclosure DE.pdf                       140290       3/2/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78682                              Disclosure TX.pdf                       126510       3/2/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78682                              Docusign Cert - PA Docs.pdf             345054     11/22/2023 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78682                              Driver License.pdf                       47919       3/2/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78682                              Palmetto Park Agency.pdf                 50982      1/25/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78682                              Pleadings.pdf                         5473559        3/2/2022 12:25
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78682                              Proof of Disc Delivery.pdf              552623       3/2/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78682                              image001.jpg                             25364



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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78682                              image002.png                                 12284
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78682                              image003.jpg                                 10260
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Received\Dorchester - 353 Files -
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11.22.2023\78682                              Disclosure AR - Markita Washington.pdf      116384      1/27/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78682                              Purchase Agreement.pdf                    1359345        3/2/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78682                              Searches.pdf                                185997       3/2/2022 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78682                              Social Security Card.pdf                     85077       3/2/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\78682                              Stip - Missing SP.pdf                       393590       3/8/2022 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78682                              UCC Search.pdf                               44608       3/2/2022 16:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78685                              Application.pdf                             282560       2/8/2022 15:22



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               All Paths/Locations                                 Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78685                              Assignment.pdf                                     22676       2/9/2022 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78685                              Authorization for Deductions - Notarized.pdf       75466       2/8/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78685                              Benefits Leter.pdf                              3648015        2/9/2022 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78685                              Certification.pdf                                 114614       2/8/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78685                              Closing Book - Lyric Davis.pdf                  8137170        2/8/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78685                              Court Order.pdf                                   486616      3/30/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78685                              Credit Report.pdf                                 159060       2/8/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78685                              Disclosure DE.pdf                                  37251       2/8/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78685                              Disclosure TX.pdf                                  37678       2/8/2022 15:23



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78685                              DocuSign Cert - CASA.pdf                   194122     11/22/2023 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78685                              DocuSign Cert - Closing Statement.pdf      199875     11/22/2023 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78685                              Identification Card.pdf                  1336186        2/8/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78685                              Pleadings.pdf                            1062755        2/8/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78685                              Purchase Agreement.pdf                     357954       2/8/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78685                              Searches.pdf                               104215       2/8/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78685                              Settlement Agreement Docket.pdf             48153       2/8/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78685                              Social Security Card.pdf                 1216404        2/8/2022 15:22



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78685                              Stipulation.pdf                        700588      3/31/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78685                              UCC Search.pdf                         100218       2/8/2022 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78728                              Affidavit.pdf                        6572109       2/10/2022 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78728                              Annuity Contract.pdf                   203172       1/27/2022 9:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78728                              Application.pdf                        908116      1/10/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78728                              assignment to JJWR.pdf                  51253      2/10/2022 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78728                              Court Order - Amended.pdf              114999      2/18/2022 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78728                              Court Order.pdf                        277325      2/11/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78728                              Credit Report.pdf                      167657      1/12/2022 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78728                              Disclosure FL.pdf                      733253      2/14/2022 11:27



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               All Paths/Locations                                Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78728                              Disclosure NJ.pdf                         515197      2/14/2022 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78728                              Lien and Judgement.pdf                     23496     11/22/2023 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78728                              Petition Amended.pdf                   12566553       2/17/2022 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78728                              Pleadings.pdf                           9712955       2/14/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78728                              Purchase Agreement.pdf                  7902610       2/14/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78728                              Settlement Agreement and Release.pdf      246023      9/16/2021 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78728                              Social Security Card and ID.pdf         3407451       2/10/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78728                              Stipulation - Final.pdf                   651149      3/23/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78728                              Stipulation.pdf                         1123551       2/25/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78728                              UCC Searches.pdf                           23773     11/22/2023 13:21



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78734                              AC- Partial.pdf                        102258      2/22/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78734                              Annuity Contract.pdf                 2124058       2/24/2022 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78734                              Application.pdf                        153428      2/18/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78734                              Court Order.pdf                        351922      2/24/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78734                              Credit Report.pdf                      138703      2/18/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78734                              Disclosure Statement.pdf                90158      2/18/2022 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78734                              DocuSign Cert - 65AE.pdf                24255      2/18/2022 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78734                              Identification Card.pdf                 68021      2/18/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78734                              Pleadings.pdf                        3028303       2/18/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78734                              Pre-Closing Book.pdf                 4889452       2/17/2022 15:51



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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78734                              Proof of Disc Delivery.pdf                        127830      2/18/2022 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78734                              Purchase Agreement.pdf                            369221      2/18/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78734                              Qualified Assignment.pdf                          665221      2/24/2022 19:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Redirection Confirmation New_Protective Life
11.22.2023\78734                              up03-03-2023.pdf                                  340590        3/3/2023 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78734                              Searches.pdf                                      114813      2/18/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78734                              Settlement Docket.pdf                             208094      2/18/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78734                              Social Security Card.pdf                           92679      2/18/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78734                              Statement in Support.pdf                          162488      2/18/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78734                              Stip - Missing Lincoln.pdf                        686273      2/18/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78734                              Stipulation.pdf                                   634622       3/1/2022 12:14



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2640 of
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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78740                              Amended Court order.pdf                 121957      3/23/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78740                              Annuity Contract.pdf                  9520423       1/30/2023 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78740                              Application.pdf                         423470     12/20/2021 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78740                              Assignment.pdf                          181179      3/23/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78740                              Auth to Release Info.pdf                 73832     12/20/2021 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78740                              Bene.pdf                                 62973     12/20/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78740                              Credit Report.pdf                       689966     12/20/2021 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78740                              Disclosure- AL.pdf                      128910     12/20/2021 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78740                              Disclosure Proof of Delivery .pdf       203968     12/16/2021 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78740                              Esign Certificate.pdf                    46830     12/20/2021 15:11



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               All Paths/Locations                               Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78740                              Estate docs.pdf                     15600313      11/11/2019 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78740                              Letter Agreement.pdf                   442389       3/23/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78740                              MH Approval of OAMC AND Trust.pdf      205542     12/21/2021 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78740                              Notice of Hearing.pdf                2032381        3/11/2022 8:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78740                              OAMC.pdf                               786881     12/15/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78740                              Pleadings.pdf                        2011678       1/28/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78740                              Proof of Identification.pdf          1613180       1/14/2022 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78740                              Proof of Social Security.pdf           343943     12/21/2021 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78740                              Purchase Agreement.pdf                 445450      2/15/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78740                              Qualified Assignment.pdf             4309304      12/15/2021 16:13



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78740                              RS OAMC docket.pdf                      642363     12/15/2021 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78740                              Searches.pdf                            764507     12/20/2021 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78740                              Stipulation.pdf                       1781838        3/23/2022 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78740                              Trust.pdf                               902170     12/20/2021 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              Annuity Contract.pdf                  9520423       1/30/2023 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              Application notes.pdf                   380404     12/21/2021 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              Assignment.pdf                          208044      3/24/2022 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              Auth to Release Info.pdf                 80347     12/20/2021 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              Bene.pdf                                 51765      2/15/2022 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              Closing Binder.pdf                   14913334       2/15/2022 14:06



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              Closing Statement.pdf                    57603       3/23/2022 9:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              Court Order Amended.pdf                 168859      3/14/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              Credit Report.pdf                       517066     12/20/2021 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              Disclosure Proof of Deliver.pdf         205247      12/16/2021 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              Disclosure.pdf                          131786     12/20/2021 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              Esign Certificate.pdf                    46530     12/20/2021 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              Identification.pdf                    2222643       1/24/2022 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              Infant Compromise Order.pdf             786881     12/15/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              IPA Waiver.pdf                           52509     12/20/2021 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              Letter Agreement.pdf                    442389       3/23/2022 9:27



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              MH Approval of OAMC Trust.pdf          205542     12/21/2021 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              Notice of Hearing.pdf                2043676        3/11/2022 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              PI Docket.pdf                          642363     12/15/2021 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              Pleadings.pdf                        2011678       1/28/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              Purchase Agreement.pdf               1487190       2/15/2022 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              Qualified Assignment.pdf             4309304      12/15/2021 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              Searches.pdf                           667092     12/20/2021 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              Social Security Card.pdf               156881     12/21/2021 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              Stipulation.pdf                      1676189        3/23/2022 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              Trust.pdf                              902170     12/20/2021 15:51



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78741                              ZIP Code USPS.pdf                       64351      2/15/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78744                              38D7.pdf                                25360       2/16/2022 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78744                              Acknowledment.pdf                      672975       3/16/2022 9:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78744                              Application.pdf                         94074      2/13/2022 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78744                              Assignment to Redstone.pdf              66401      2/13/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78744                              Authorization.pdf                       53189      2/13/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78744                              Bankruptcy Search.pdf                   78004      2/13/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78744                              Benefits Letter 2020.pdf                98770       2/16/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78744                              Benefits Letter.pdf                     98334       2/16/2022 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78744                              Court Order.pdf                         74399      2/13/2022 14:06



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               All Paths/Locations                                Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78744                              Credit Report.pdf                         168349      2/16/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78744                              Disclosure CO.pdf                          73182       2/16/2022 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78744                              PI Docket.pdf                             809300       2/16/2022 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78744                              Pleadings.pdf                          10474434        2/16/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78744                              POR - 1st page of Bank statement.pdf      652394       2/16/2022 9:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78744                              POR - paystub.pdf                         488429      2/28/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78744                              POR.pdf                                   296405      2/18/2022 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78744                              Purchase Agreement.pdf                    440242       2/16/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78744                              Redirection Confirmation New.pdf          209705      8/16/2023 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78744                              Searches.pdf                               83766      2/14/2022 14:32



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78744                              Security Guard License.pdf          15969002        2/16/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78744                              Sellers Affidavit - notarized.pdf      116414      2/13/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78744                              SSN proof.pdf                          257407       2/16/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              5441.pdf                                74078       2/16/2022 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              Acknowledgment.pdf                      66207       3/4/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              Affidavit.pdf                           95837       2/16/2022 8:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              Application.pdf                        211405       2/16/2022 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              Assignment Agreement Executed.pdf       25992       2/16/2022 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              Authorization.pdf                       69307       2/16/2022 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              Benefits Letter.pdf                    108562       2/16/2022 8:21



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               All Paths/Locations                                 Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              Closing Book - Caprice Brooks Haynes.pdf      14791668       1/20/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              Closing Statement Executed via DocuSign.pdf      201624     11/22/2023 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              COB Request.pdf                                   92392       2/16/2022 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              Court Order.pdf                                  174300      2/14/2022 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              Credit Report.pdf                                221891       2/16/2022 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              Disclosure FL.pdf                                 48671       2/16/2022 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              Disclosure VA.pdf                                 49690       2/16/2022 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              DocuSign Cert B22.pdf                            200528     11/22/2023 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              Driver License.pdf                               603264       2/16/2022 8:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              Exhibit D unredacted.pdf                          48168       2/8/2022 11:32



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              Filed Exhibit D.pdf                      422490      2/16/2022 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              Name Decl.pdf                             80508       2/16/2022 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              NOH.pdf                                   13964      1/24/2022 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              Order Approving Settlement.pdf           239411       2/16/2022 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              Order Terminating Guardianship.pdf        74146       2/16/2022 8:23
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              Petition for Settlement.pdf               73913       2/16/2022 8:22
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              Pleadings.pdf                         17700488        2/16/2022 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              Prior Order.pdf                        4115896        2/16/2022 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              Purchase Agreement.pdf                   351332       2/16/2022 8:29



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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              Searches.pdf                           58344       2/16/2022 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              SSC.pdf                             6375543        2/16/2022 8:19
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              UCC - Brooks.pdf                       60944       2/16/2022 8:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              UCC - Haynes.pdf                       51762       2/16/2022 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78749                              UCC Search.pdf                         52547       2/16/2022 8:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78752                              Annuity Contract.pdf                  120036       3/7/2022 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78752                              Application.pdf                       279735       3/7/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78752                              Assignment.pdf                         70327       3/7/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78752                              Authorization Letter.pdf               72763       3/7/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78752                              Bankruptcy Search.pdf                  48071       3/7/2022 15:55



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78752                              Closing Book-Stephen Hughs.pdf        9246995        3/4/2022 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78752                              Court Order.pdf                         140637       3/7/2022 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78752                              Credit Report.pdf                       205223       3/7/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78752                              Disclosure CO.pdf                       136796       3/7/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78752                              Driver License.pdf                      257478       3/7/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78752                              Pleadings.pdf                         4649151        3/7/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78752                              Purchase Agreement.pdf                1219591        3/7/2022 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78752                              Request for Acknowledgment.pdf           56630       3/7/2022 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78752                              Social Security Card.pdf                6181757        3/7/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78752                              Waiver and Acceptance of Service.pdf      344657       3/9/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              AC - Partial.pdf                          117564      2/17/2022 20:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Amended NOH.pdf                            24180      2/23/2022 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Application.pdf                            44077     11/19/2021 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Assignment.pdf                            149149       3/4/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Buyback Agreement.pdf                      23971     11/22/2023 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Circuit Court Docket Sheet.pdf             69844      2/18/2021 23:29



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               All Paths/Locations                                 Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Closing Binder.pdf                              8982758       2/16/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Closing Statement - executed.pdf                  414780       3/9/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Court Order.pdf                                   124880       3/3/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Credit Report.pdf                                  16241     11/22/2023 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Disclosure MO.pdf                                 121637     11/19/2021 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              DocuSign Cert - A069.pdf                          204938     11/22/2023 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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SuttonPark\Missing Documents
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SuttonPark\Missing Documents
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Order Appointing Successor Trustee.pdf             46898       2/9/2021 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Order Modifying Trust.pdf                          90048      10/26/2021 9:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Petition for Appt of Successor Trust.pdf           72200       2/19/2021 0:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Pleadings.pdf                                   2080455       2/17/2022 20:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Proofs of Service.pdf                             197703      2/23/2022 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Purchase Agreement.pdf                            269315      2/17/2022 19:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Qualified Assignment.pdf                          138893      2/17/2022 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Redirection Reconfiguration up07-11-2022.pdf    2180777        7/8/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Redirection Assignee List NYLIC.pdf               222753       7/7/2022 15:27



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               All Paths/Locations                             Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              COA Policy FP200974.pdf              52947       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              COA Policy 74758034.pdf              52951       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              COA Policy 77422032.pdf              52926       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              COA Policy FP200974 (2).pdf          52949       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              COA Policy FP200974.pdf              52991       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              COA Policy FP201158.pdf              52930       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              COA Policy FP205723.pdf              52948       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              COA Policy FP206266.pdf              52989       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              COA Policy FP206275.pdf              52951       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              COA Policy FP207071.pdf              52987       4/8/2022 13:24



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               All Paths/Locations                              Unified Title                      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              COA Policy FP207808.pdf                                  52960       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              COA Policy FP210013.pdf                                  52983       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              COA Policy FP210674.pdf                                  52959       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              COA Policy FP216554.pdf                                  52928       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              COA Policy FP220022.pdf                                  53010       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              COA Policy FP220028.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              COA Policy FP220219.pdf                                  52981       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              COA Policy FP220714.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              COA Policy FP244114.pdf                                  52993       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Security TItle Corporate Resolution 11.2021 si.pdf      937256       4/1/2022 15:13



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Revised Closing Statement.pdf              412796     11/22/2023 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Searches.pdf                                10174      2/17/2022 20:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Settlement Agreement Request.pdf           956909      2/14/2022 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Settlement Docket.pdf                      402462       3/4/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              SSC - Chavon.pdf                           794479       3/9/2022 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Stip - Missing SP.pdf                      388383     11/22/2023 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Stipulation.pdf                            514780       3/9/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Successor Letters of Guardianship.pdf       78115     12/28/2020 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Trust Opinion Letter.pdf                   651808     11/22/2023 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              Trust Order.pdf                          1059673      11/22/2023 13:30



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2658 of
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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78768                              UCC Search.pdf                         165065       3/4/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78798                              Acknowledgment.pdf                     177221      3/28/2022 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78798                              Affidavit.pdf                        2869439        3/28/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78798                              Annuity Contract.pdf                   441230       3/28/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78798                              Application.pdf                        141498     11/22/2023 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78798                              Assignment.pdf                          88783      3/28/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78798                              Benefits Letter.pdf                    121282       3/28/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78798                              Court Order.pdf                      1662368       3/23/2022 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78798                              Credit Report.pdf                       14490      3/23/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78798                              Disclosure IN.pdf                    2116631        3/28/2022 9:23



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78798                              Disclosure NE.pdf                    2581331        3/28/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78798                              DL.pdf                                 120489       3/28/2022 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78798                              Notice of Transfer.pdf               2117350      11/22/2023 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78798                              Pleadings.pdf                          408715       3/28/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78798                              Purchase Agreement.pdf              25868599        3/28/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78798                              SA.pdf                               3695823       12/2/2021 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78798                              Searches.pdf                            24423     11/22/2023 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78798                              Social Security Card.pdf               217685      12/3/2021 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78798                              UCC.pdf                                 22514     11/22/2023 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78813                              Annuity Contract.pdf                   168573      2/22/2022 16:12



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78813                              Application.pdf                        137545      1/11/2022 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78813                              Assignment.pdf                         111465      4/27/2022 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78813                              Court Order.pdf                        154796      3/17/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78813                              Credit Report.pdf                       30175      1/11/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78813                              IPA Letter.pdf                          45851       3/1/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78813                              NJ Disclosure.pdf                      124098      2/22/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78813                              NY Disclosure.pdf                      152198      2/22/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78813                              Pleadings.pdf                        2596437       2/22/2022 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78813                              Purchase Agreement.pdf               1299492       2/22/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78813                              Searches.pdf                           387841      2/17/2022 11:38



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               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78813                              Seller Affidavit.pdf                      224588      2/22/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78813                              Seller Identification.pdf               2333565       2/22/2022 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78813                              Settlement Agreement Affidavit.pdf        103663      2/22/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78813                              Settlement Agreement.pdf                  284939      2/22/2022 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78813                              Social Security Card.pdf                  354129      2/22/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78813                              Stipulation.pdf                           493152       3/1/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78813                              USPS Disclosure Delivery.pdf              102728      2/22/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                              Affidavit.pdf                             383373       3/9/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                              Application.pdf                           302270     11/22/2023 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                              Assignment.pdf                             90289      3/15/2022 16:27



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               All Paths/Locations                                Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                              Benefits Letter.pdf                        46730      3/10/2022 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                              Court Order.PDF                           262324       3/9/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                              Credit Report.pdf                          10814      1/21/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                              Disclosure FL - revised.pdf               127978       3/15/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                              Disclosure FL.pdf                       2399105        2/21/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                              Disclosure VA - Revised.pdf               121668       3/15/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                              Disclosure VA.pdf                       2854360        2/21/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                              ID.pdf                                    383106      2/16/2022 19:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                              IPA Letter FINAL - Joshua Downey.pdf      234460      3/15/2022 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                              IPA Waiver.pdf                             31249       3/9/2022 11:14



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                               LOD.pdf                               21446        3/9/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                               Notice Of Hearing.pdf                127330        2/1/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79260 Adjei, Jason.xml                  3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79262 Mendez, Nadia.xml                 3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79264 Scott, Myiesha.xml                3751      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79265 Hamblin, Shannon.xml              3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79268 Harrison, Elizabeth.xml           3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79269 James, Laci.xml                   5112      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79270 Donaldson, Erik.xml             54697       10/9/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79271 Sclafani, Michael.xml             3751      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79272 Downing, Isaiah.xml               5826      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79274 Ratliff, Jacob.xml                3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79277 - Jones, Janshee.xml              3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79279 Jaramillo, Janie.xml           293598       10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79280 Lukens, Frederick.xml           29590       10/9/2024 17:46




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               All Paths/Locations                               Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79281 Cooper, Ebony.xml               101822       10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79282 Barbee, Marybeth.xml            191835       10/9/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79283 Clifton, Angel.xml               34325       10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79285 Trevino, Michael.xml             40464       10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79286 Stinson, Gary.xml               223324       10/9/2024 20:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79287 Durose, Austin.xml               30387       10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79290 Dimaggio, Valerie.xml            68141       10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79291 Craig, Sean.xml                 253955       10/9/2024 20:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79292 Cortes, Tyler.xml                87738       10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79293 Curtis, Bryan.xml               316539       10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79296 Standingrock, Bradley.xml        27070       10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79298 John Williams, Anthony.xml         7895      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79299 Pernell, Jasmine.xml               3740      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79300 Hundley, Zandyn.xml             269685       10/9/2024 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79301 Wallace, Andrew.xml                3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79302 Casey, Timothy.xml               61637       10/9/2024 18:20




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79303 McHugh, Colleen.xml               5108      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79305 Ericson, Casey.xml                3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79306 Shuff, Kimberley.xml              6488      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79307 Thompson, Iman.xml              56181       10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79308 Ure, Jacob.xml                    3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79314 Hall, Shannon.xml              123765       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79315 Ryles, Gia.xml                    3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79316 Ruffin, James.xml              181262       10/9/2024 19:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79317 Wilson, Kayvon.xml                3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79322 Hulsey, Nicole.xml                3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79323 Snell, Jarrod.xml                 3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79330 Cowart, Trace.xml               47464       10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79335 Moreno, Luis.xml                  3751      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79344 Ross, Jeffrey.xml               49566       10/9/2024 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79346 Lundy, Jacqueline.xml           32979       10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79348 Scarlett, Autumn.xml              3736      10/9/2024 17:22




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               All Paths/Locations                               Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79350 Clark, Denise.xml                 181377       10/9/2024 19:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79351 Clark, Denise.xml                 180698       10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79353 Edwards, Austin.xml                  5797      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79354 Haliburton, Donta.xml              32979       10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79355 Fierro, Raquel.xml                127784       10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79356 Willis, Linda.xml                  32979       10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79358 Woods, Lori.xml                    74973       10/9/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79359 Santiago, Ramon.xml                26285       10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79360 Taberner, Joseph.xml               38632       10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79361 Rios Calderon, Shalianna.xml         7860      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79362 Williams, Larry.xml                17448       10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79363 Goddard, Julie.xml                118441       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79364 Mitchell, John.xml                 47464       10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79365 Lyons, Walter.xml                 128425       10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79366 Blumenthal, Phelep.xml             15345       10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79367 Sapienza, Christopher.xml         201075       10/9/2024 19:50




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               All Paths/Locations                               Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79368 Sapienza, Chgristopher.xml      201079       10/9/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79369 Soley, Delane.xml                  3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79374 Mischon, Michael.xml            343790       10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79375 Perez, Esteban.xml              144523       10/9/2024 18:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79377 Eichenlaub, Floyd.xml           127660       10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79378 Marney, Nickolas.xml             32308       10/9/2024 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79382 Nicholson, Donye.xml             24286       10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79384 Atha, Brooke.xml                   3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79387 Sousa, Trenton.xml                 3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79389 Lewisa, Asha.xml                   5112      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79390 Rodriguez, Elijah.xml              7247      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79393 Dobson, Christopher.xml         116127       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79395 Mann, Tameka.xml                 30448       10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79398 Frasure, Brittney.xml            45419       10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79410 Mosher, Marshall.xml            329386       10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79412 Miller, Patrick.xml              10631       10/9/2024 17:36




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               All Paths/Locations                               Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79415 Mallett-Aguirre, Baylie.xml         7177      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79417 Wallace, Malaysia.xml               3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79418 Colemen, Donavon.xml                3751      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79419 Deininger, Jonathan.xml           38463       10/9/2024 18:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79422 Cohen, Corvalis.xml                 3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79423 Tooley, Gary.xml                    3074      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79424 Throckmorton, Savanah.xml           7852      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79425 Mulvihill, Thomas.xml             72531       10/9/2024 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79426 Schultz, Brittani.xml            168730       10/9/2024 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79427 Dixon, Joseph.xml                   5131      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79429 Barattini, Angela.xml            172936       10/9/2024 19:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79430 Barela, Austin.xml               234130       10/9/2024 20:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79431 Bohannon, Jeffrey.xml               7856      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79432 Ramsey, Cameron.xml              248234       10/9/2024 20:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79433 Ehrmantrout, William.xml            6511      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79434 Upton, Aimee.xml                  43364       10/9/2024 18:05




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               All Paths/Locations                               Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79435 Del Rosario, Ryan.xml             85793       10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79436 Burleson, Rhiannon.xml            16072       10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79437 Patton-Schulle, Kristen.xml       40691       10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79438 Gonzalez, Sonia.xml                 3751      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79439 Rawlings, Charleeta.xml           74272       10/9/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79441 Bell, Brandon.xml                124307       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79442 - Kraemer, Brian.xml                7235      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79443 Nelson, Jashae.xml                52127       10/9/2024 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79444 Hestand, Burton.xml               43975       10/9/2024 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79445 Elzey, Jonathan.xml              118186       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79446 Overland, Cody.xml                20247       10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79501 Mull, William.xml                 20299       10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79520 Dean, Ashtyn.xml                    5112      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79521 Davis, Charles.xml                81400       10/9/2024 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79526 Coleman, Alfidean.xml               3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79538 Casado, Javier.xml               136615       10/9/2024 18:46




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               All Paths/Locations                               Unified Title            File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79539 Jerry, Carl.xml                         238199       10/9/2024 20:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79563 Garcia, Caylani.xml                        3751      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79565 Cowles, Rhonda.xml                       50038       10/9/2024 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79568 Slater, Devondrick.xml                  105255       10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79571 Gonzalez, Kristen.xml                    67726       10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79572 Banet, Krissa.xml                       124193       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79574 Hundley, Shyann.xml                     247040       10/9/2024 20:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79589 McCline, Amelia.xml                     208379       10/9/2024 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79593 Brawner, Walter.xml                      54393       10/9/2024 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79596 Jackson, Charles and Elizabeth.xml       74250       10/9/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79598 Speller-Williams, Nasim.xml                7206      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79603 Daniels, Indie.xml                         4437      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79604 Jasna, Mahaley.xml                       37266       10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79606 Edwards, Nyasha.xml                     182233       10/9/2024 19:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79628 Imperatore, Nichole.xml                 101620       10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79644 Mclarty, Gage.xml                          5112      10/9/2024 17:23




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79733 Garland, Andrei.xml             83488       10/9/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79743 Doran, Raymond.xml              30036       10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79746 Miller, Curtis.xml              36048       10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79757 Labbee, Cecilia.xml            197961       10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79776 Huggins, Melvin.xml             34564       10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79780 Persaud, Lylah.xml             417979       10/9/2024 20:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79791 Hosage, Emily.xml                 3755      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79792 Stuart, Zabrina.xml             67059       10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79794 Simmons, Kaitlyn.xml              3751      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79796 Anderson, Dwanna.xml              3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79800 Williams, Dustin.xml            42012       10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79801 Brewer, Kywanna.xml            225823       10/9/2024 20:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79802 Lynch, Christine.xml              3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79830 White, Jeremy.xml              109231       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79831 Alford, Christian.xml             6488      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79836 Jean, Edouard.xml                 7852      10/9/2024 17:24




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               All Paths/Locations                               Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79841 Albrektson, Shannon.xml          56203       10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79845 Grant-Upshaw, Joshua.xml         37231       10/9/2024 17:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79912 Watkins, Ethan.xml               11932       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79917 Williams, Damya.xml              76535       10/9/2024 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79924 Curry, Daniel.xml               107815       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79942 Jones, Dahnari.xml                 5112      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79943 Jones, Darnell.xml               44724       10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     80236.xml                             180569       10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     80248 Hennessy, Patricia.xml           30289       10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     80251 Stewart, Shiannek.xml            91373       10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     80267 Shaffer, Cody.xml                  3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     80285 Mitchell, Lindsey.xml              3751      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     80289 White, Jeremy.xml                29533       10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     80382 Edwards, Andre.xml               18857       10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     80389 Jackson, Marycatherine.xml      214442       10/9/2024 19:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     80422 Wilson, Peggy.xml                25155       10/9/2024 17:42




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               All Paths/Locations                               Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     80486 Ruiz, Adriana.xml                   3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     80492 Hunter, Jenise.xml                  5108      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     80568 Calhoun, Kiara.xml                  3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     80575 Dvorak, Jared.xml                   3740      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81335 Burnau-Vaughn, Shyerika.xml       12597       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81374 Wilson, Jacob.xml                177648       10/9/2024 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81394 Frato, Deanna-Lea.xml             11952       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81412 Alford, Christian.xml               6480      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81413 Swan, Salima.xml                    3074      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81415 Hill, Michelle.xml                72513       10/9/2024 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81443 Gonzalez, Kristen.xml             67692       10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81468 Marshall, Sandra.xml              89576       10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81550 Hall, Deneen.xml                  88891       10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81551 Hernandez, Tristan.xml           168723       10/9/2024 19:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81552 James, Wayne.xml                 308626       10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81553 Turner, Elmer.xml                123717       10/9/2024 18:35




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81554 Gaitan, Manuel.xml             293692       10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81555 Koester, Joshua.xml             67187       10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81556 Walker, John.xml               160522       10/9/2024 19:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81557 Perkins, Gary.xml              212457       10/9/2024 19:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81558 Khan, Patricia.xml              76158       10/9/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81559 Highsmith, Gerald.xml          169930       10/9/2024 19:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81560 Huegel, Jake.xml               125649       10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81561 Liller-Reedy, Lisa.xml         284969       10/9/2024 20:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81562 Jackson, Tracie.xml            107979       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81563 Cal, Ronald.xml                223096       10/9/2024 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81564 Scott, Charles.xml             170071       10/9/2024 19:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81565 Baker, Ernest.xml               90253       10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81566 Cleghorn, Ernest.xml            88841       10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81567 Mack, Felicia.xml              134468       10/9/2024 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81568 Jenkins, James.xml             223393       10/9/2024 20:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81569 Ligonde, Tania.xml                5822      10/9/2024 17:23




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               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81571 Lucia, Kenneth.xml               55508       10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81573 Deloach, Aliyah.xml                5813      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81574 Zurbriggen, Francis.xml          82552       10/9/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81575 Terry, Willie.xml                91341       10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81576 Cortez, Guadalupe.xml            46635       10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81577 Hunt, Tony.xml                  104394       10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81578 Nelson, Jason.xml               134560       10/9/2024 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81579 Caastillo, Ralph.xml             72786       10/9/2024 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81580 Harris, Johnny.xml               88531       10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81581 Diaz, Angel.xml                 223781       10/9/2024 20:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81582 Hills, Shelley.xml              268555       10/9/2024 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81583 McCray, David.xml                99807       10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81584 Lee, Ralph.xml                  224610       10/9/2024 20:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81585 Verastegui, Sahrina.xml         287368       10/9/2024 20:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81586 Moody, Shawn.xml                180405       10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81587 Quintanilla, Patrick.xml        223769       10/9/2024 20:01




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81588 Pucci, Christopher.xml          87301      10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81589 Layton, Jeffrey.xml            117552      10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81590 Smith, Paul.xml                180437      10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81591 Casey, Timothy.xml             180563      10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81592 Davis, Regina.xml               73639      10/9/2024 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81593 Best, Brian.xml                179510      10/9/2024 19:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81594 Gray, Tiffany.xml              153680      10/9/2024 19:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81595 Cobb, John.xml                  73581      10/9/2024 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81596 Hinojosa, Silvia.xml           135362      10/9/2024 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81597 Williams, Menyon.xml           150910      10/9/2024 19:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81598 Bryant, Ronnie.xml             144783      10/9/2024 18:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81599 Welch, Brandy.xml              135928      10/9/2024 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81601 Bissinger, Zachary.xml         144687      10/9/2024 18:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81602 Maurice, Bryan.xml             136685      10/9/2024 18:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81603 Bradley, Jazlyn.xml            114139      10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81604 Bradley, Martha.xml            109337      10/9/2024 18:34




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81605 Rodiguez, Tonya.xml            117511      10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81606 Roy, Michael.xml               224064      10/9/2024 20:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81608 Richason, Troy.xml              92068      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81609 Beaver, Lora.xml               136545      10/9/2024 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81610 Contreras, Melissa.xml         228835      10/9/2024 20:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81611 McNeice, William.xml           157993      10/9/2024 19:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81612 Miller, Mai.xml                180260      10/9/2024 19:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81613 Dixon, Angelique.xml            83193      10/9/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81614 Shapiro, Michael.xml           136533      10/9/2024 18:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81615 Eichenlaub, Floyd.xml           92062      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81616 Christophe, Mirelene.xml       116216      10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81617 Rave, Niki.xml                 181214      10/9/2024 19:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81618 Jacobs, Brian.xml              137006      10/9/2024 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81620 Susralski, Paul.xml            179683      10/9/2024 19:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81621 Sauceda, Yolanda.xml            90053      10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81622 Williams, Angel.xml            195632      10/9/2024 19:47




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81623 Parker, Michael.xml             92132      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81624 Jones, Timisha.xml             180778      10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81625 Ogg, Mitchell.xml              199020      10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81626 Ogg, Mitchell.xml              201079      10/9/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81627 Stuart, Thomas.xml             180430      10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81628 Watson, Andy.xml               136675      10/9/2024 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81629 Benjamin, Tamatha.xml          110561      10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81630 Hebert, Brian.xml              180914      10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81631 Sendejo, April.xml              92148      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81633 Collier, Donald.xml            224869      10/9/2024 20:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81634 Robinson, Tyler.xml            142175      10/9/2024 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81635 McKenith, Tyrone.xml            92120      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81636 Montgomery, Carina.xml         119476      10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81637 Traurig, Christy.xml           199086      10/9/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81638 Green, Micah.xml               181264      10/9/2024 19:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81639 Rice, Josea.xml                136665      10/9/2024 18:46




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81640 Roberts, Jennifer.xml          151765      10/9/2024 19:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81642 Caruso, Dorothy.xml            142834      10/9/2024 18:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81643 Tomlinson, Minnie.xml          224935      10/9/2024 20:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81646 Glover, Frankie.xml             46102      10/9/2024 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81647 Jones, Duvaughn.xml             46884      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81648 Chavez, Vanessa.xml            181058      10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81649 Symonds, Tera.xml               83227      10/9/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81650 Hanitz, Keli.xml               109966      10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81652 Eubanks, Tommie.xml            229043      10/9/2024 20:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81653 LaHocki, Cody.xml              136699      10/9/2024 18:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81654 Egelhoff, Anthony.xml          181260      10/9/2024 19:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81655 Campbell, Akeem.xml            180555      10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81656 Stewart, Jhousha.xml           136143      10/9/2024 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81659.xml                            136042      10/9/2024 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81660.xml                             64384      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81661 Williams, Kaylla.xml           168175      10/9/2024 19:25




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81662 Thibodeaux, Darik.xml          175750      10/9/2024 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81663 - Maersch, Stephen.xml          74635      10/9/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81664 Sanders, Terrence.xml           90762      10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81665 -Herman, Cheryl.xml            181385      10/9/2024 19:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81666.xml                            301183      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81667.xml                             91864      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81668 Sanchez, Destiny.xml           144801      10/9/2024 18:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81669 - C. Miller.xml                115987      10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81670 Oliver, Christopher.xml        136742      10/9/2024 18:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81671 Willis, Antonio.xml             92006      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81672 Carpenter, Jeffrey.xml          73631      10/9/2024 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81673 Holbrook, Jay.xml               46418      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81674 Atwell, Samantha.xml           101019      10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81675 Pool, Rolando.xml               64033      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81676 - Keyajah McCall.xml           117517      10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81677 Alvarez, Ernestina.xml         103894      10/9/2024 18:33




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81678.xml                            100907      10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81679 Waltz, Brittani.xml             64973      10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81691 Williams, Olivia.xml            91357      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81696 - Lisa Carra.xml               128211      10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81697 Shaheed, Hassan.xml             73265      10/9/2024 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81698 - Hoskins, Aaron.xml            78963      10/9/2024 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81699.xml                             91279      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81702.xml                             91966      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81704.xml                            146149      10/9/2024 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81705.xml                            173044      10/9/2024 19:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81708.xml                            152390      10/9/2024 19:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81709.xml                             56361      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81712 Urisrte, Susan.xml             185907      10/9/2024 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81717.xml                             66078      10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81719.xml                            181116      10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81721 Broudrick, Chantail.xml         92683      10/9/2024 18:30




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81722 Davis, Angela.xml               91369      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81724 Davis, Angela.xml               91435      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81725 Gonzales, George.xml            87970      10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81726 Hamati-Sayegh, John.xml        110481      10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81736 Coberly, Samuel.xml            131884      10/9/2024 18:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81738 Barkowski, Cynthia.xml          46910      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81739 Hamilton, Roshaunda.xml         47165      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81740 Potter, Lamar.xml               29190      10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81741 Kinert, Carla.xml               12762      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81742 Foust, Walter.xml              144937      10/9/2024 18:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81746 Hernandez, Gilbert.xml          90985      10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81748 Shelton, Kardell.xml           181108      10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81749 Cunningham, Jason.xml          198411      10/9/2024 19:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81753 Curtis, Stacie.xml             190159      10/9/2024 19:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81755 Jordan, Eric.xml                91183      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81756 Santiago, Christian.xml        149544      10/9/2024 19:04




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81758 Armstead, Gregory.xml          179803      10/9/2024 19:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81760 Palomo, Alejandro.xml          110679      10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81766 Coleman, Pamela.xml             41629      10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81770 Marshall, Phyllis.xml          214075      10/9/2024 19:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81771 Senat, Matthew.xml             225881      10/9/2024 20:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81773 Gorham, Christy.xml             47143      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81775 Heffelfinger, John.xml         108634      10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81776 Ashford, Sylvia.xml             44997      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81777 Duncan, Tamara.xml             121569      10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81781 White, Leslie.xml               66289      10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81783 Thomas, Cedric.xml              55451      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81790 Groven, Janet.xml              116846      10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81791 Holbrook, Jay.xml               46400      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81793 Gray, Steven.xml                96134      10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81795 Jones, David.xml                96299      10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81798 Flowers, Tammy.xml              58796      10/9/2024 18:20




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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81801 Bernal, Roberto.xml             136597      10/9/2024 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81802 Sims, Tanisha.xml               226970      10/9/2024 20:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81803 McCain, Alexander.xml            91892      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81804 Williams, Luther.xml             55755      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81805 Carpenter, Elsie.xml             63654      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81808 Harris, Kassim.xml              119891      10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81814 Vilimek, Erik.xml               114092      10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81822 Blumberg, David.xml              92162      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81823 Rowley, Donald.xml              283817      10/9/2024 20:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81826 Denico, Nicholas.xml            182184      10/9/2024 19:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81828 Jeffery, Joanne.xml              50715      10/9/2024 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     81829 Butler, Samantha.xml            181242      10/9/2024 19:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     8295 Gunn, Rosie.xml                   47464      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     8472 Walton, Nina.xml                 292544      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY        70237 Maldonado, Beatrice.xlsx         22278       7/19/2024 0:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY        70240 Collins, William.xlsx            20892       7/19/2024 0:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY        70363 Drawhorn, Evette.xlsx            39850       7/19/2024 1:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY        70416 Shaw, Leslie.xlsx                18598       7/19/2024 1:11


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               All Paths/Locations                               Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       70423 Mendez, Edgar.xlsx                   23524       7/19/2024 1:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       70424 Cooper, Sheila.xlsx                  23032       7/19/2024 1:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       70506 McKeon, Robert.xlsx                  18230       7/19/2024 1:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       70536 Taylor, Tim.xlsx                     18236       7/19/2024 1:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       70537 Taylor, Larry.xlsx                   18246       7/19/2024 1:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       70538 Taylor, Jerry.xlsx                   18235       7/19/2024 1:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       70539 Jacobs, Kathy.xlsx                   18237       7/19/2024 1:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       70577 Coulon, Jackie.xlsx                  21997       7/19/2024 1:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       70582 Belanger, Thomas.xlsx                18428       7/19/2024 1:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       70604 Cohen, Jeffrey.xlsx                  24736       7/19/2024 1:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       70772 Pouncy, Quajena.xlsx                 27053       7/19/2024 1:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       70843 Reid, Kevin.xlsx                     24170       7/19/2024 1:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       70893 Garcia, Maria.xlsx                   27636       7/19/2024 1:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       70934 Hamrick, Janiece.xlsx                28503       7/19/2024 1:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       70988 Gerst, Amy.xlsx                      25995       7/19/2024 1:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71038 McAfee, Savana.xlsx                  17881       7/19/2024 1:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71044 Harris, Ashley.xlsx                  17896       7/19/2024 1:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71049 Verkleeren, Caitlin.xlsx             19248       7/19/2024 1:49
Saiph consulting|\Audit Materials Received-   71077 Huizar, Gloria and Ruiz, Marco
SuttonPark\Closing Binders\TValues\MARY       JUDGEMENT.xlsx                             17889       7/19/2024 1:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71089 Farrell, Joel.xlsx                   22614       7/19/2024 1:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71091 Collier, Juwan.xlsx                  20712       7/19/2024 1:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71104 Allen III, Michael.xlsx              17957       7/19/2024 1:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71115 Bryant, Richard.xlsx                 20554       7/19/2024 1:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71127 Stokes, Sylvia.xlsx                  17904       7/19/2024 2:00




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71138 Payne, Michael.xlsx              27794       7/19/2024 2:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71181 Mendez, Gilberto.xlsx            25425       7/19/2024 2:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71216 Jackson, Najarian.xlsx           20206       7/19/2024 2:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71217 Best, Eric.xlsx                  29542       7/19/2024 2:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71232 Glendenning, Heather.xlsx        19485       7/19/2024 2:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71234 Manning, Carnesha.xlsx           29761       7/19/2024 2:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71274 Morgan, Donovan.xlsx             30614       7/19/2024 2:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71284 Harrison, Jazmine.xlsx           22060       7/19/2024 2:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71368 Maxwell, Tequill.xlsx            25129       7/19/2024 2:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71387 Foster, Arla.xlsx                17840       7/19/2024 2:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71398 Delavega, Emilio.xlsx            27442       7/19/2024 2:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71400 Berry, Naomi.xlsx                23021       7/19/2024 2:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71401 Biscardi, Sharon.xlsx            21736       7/19/2024 2:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71422 Garcia, Emmanuel.xlsx            18150       7/19/2024 2:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71466 Santos, Roberto.xlsx             18042       7/19/2024 3:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71467 Johnson,Lisa.xlsx                23390       7/19/2024 3:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71564 Johnson, Brian.xlsx              21814       7/19/2024 3:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71565 Grffin, Susan.xlsx               22113       7/19/2024 3:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71573 Cooper, Vachannoncon.xlsx        31190       7/19/2024 3:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71574 Kornegay, Larry.xlsx             28506       7/19/2024 3:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71579 Jackson, Lynette.xlsx            62825       7/19/2024 3:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71586 Wise, Laura.xlsx                 26463       7/19/2024 3:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71680 Hines, Courtney.xlsx             26697       7/19/2024 3:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71728 Rivera, Miguel.xlsx              21436       7/19/2024 3:21




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               All Paths/Locations                              Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71738 Griffith, Shomnel.xlsx           28760       7/19/2024 3:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71768 Brown, Darien.xlsx               25349       7/19/2024 3:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71816 Myers, Stacy.xlsx                26324       7/19/2024 3:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71887 Finley, Frederick.xlsx           23955       7/19/2024 3:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71888 Finley, Frederick.xlsx           23979       7/19/2024 3:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71900 Finley, Frederick.xlsx           24029       7/19/2024 3:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71913 Gaza, Norma.xlsx                 21825       7/19/2024 3:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71916 Martin, Robert.xlsx              22196       7/19/2024 3:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71926 Maxwell, Misty.xlsx              19102       7/19/2024 3:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71943 Locklear, Natalie.xlsx           19929       7/19/2024 3:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71944 Locklear, Natalie.xlsx           28815       7/19/2024 3:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71947 Zamboli, Alana.xlsx              29670       7/19/2024 3:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71960 Floyd, Janice.xlsx               23127       7/19/2024 3:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71963 Madison, Conner.xlsx             24216       7/19/2024 3:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71966 Swanson, Timothy.xlsx            22762       7/19/2024 3:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71968 Garza, Norma(revised).xlsx       24167       7/19/2024 3:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71968 Gaza, Norma.xlsx                 24149       7/19/2024 3:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       71999 Nipper, Clarence.xlsx            29623       7/19/2024 3:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       73027 Sykes, Breanna.xlsx              30676       7/19/2024 3:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       73040 Scheff, Desarie.xlsx             22148       7/19/2024 3:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       73068 Simas, Ricardo.xlsx              17992       7/19/2024 3:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       73091 Jones, Dahnari.xlsx              18049       7/19/2024 3:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       73092 Jones, Darnell.xlsx              18382       7/19/2024 4:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       73134 Zolna, Joseph.xlsx               17938       7/19/2024 4:02




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       73135 Darby, Rosanne.xlsx              27446       7/19/2024 4:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       73136 Darby, Rosanne.xlsx              27372       7/19/2024 4:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       73145 Robinson, Jay.xlsx               20386       7/19/2024 4:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       73146 Jones, Melvin.xlsx               30823       7/19/2024 4:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       73153 Guffey, Jacob.xlsx               24235       7/19/2024 4:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       73154 Guffey, Jacob.xlsx               21394       7/19/2024 4:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       73155 Kowalsky, Jason.xlsx             17922       7/19/2024 4:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74208 Campos, Rmiro.xlsx               28589       7/19/2024 4:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74228 Merrill, Barbara.xlsx            22483       7/19/2024 4:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74243 Constantino, Enrique.xlsx        22103       7/19/2024 4:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74251 King, Gayle.xlsx                 33757       7/19/2024 4:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74253 Stuckey, Corey.xlsx              18170       7/19/2024 4:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74257 Draper, Kenneth.xlsx             17958       7/19/2024 4:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74261 Marenkovic, Diane.xlsx           19003       7/19/2024 4:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74300 Olivares, Martha.xlsx            24917       7/19/2024 4:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74302 Freeman, David.xlsx              23396       7/19/2024 4:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74305 Kendall, Benjamin.xlsx           18384       7/19/2024 4:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74339 Willette, Charles.xlsx           24348       7/19/2024 4:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74351 Getchel, Jesse.xlsx              26687       7/19/2024 4:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74365 McQueen, Roy.xlsx                18244       7/19/2024 4:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74387 Sparks, Joseph.xlsx              17889       7/19/2024 4:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74408 Newingham, Nicole.xlsx           19021       7/19/2024 4:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74409 Sattam, Jason.xlsx               18262       7/19/2024 4:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74417 Baltrip, Ravella.xlsx            21971       7/19/2024 4:41




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               All Paths/Locations                              Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74434 Jackson, Al.xlsx                    21172       7/19/2024 4:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74435 Alston, Brian.xlsx                  24144       7/19/2024 4:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74438 Jones, Krystal.xlsx                 23545       7/19/2024 5:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74450 Edick, Zachary.xlsx                 20443       7/19/2024 5:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74454 Campofiori, Jared.xlsx              27776       7/19/2024 5:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74455 Rocker, Jacob.xlsx                  17880       7/19/2024 5:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74461 Felipe, Gladys.xlsx                 26470       7/19/2024 5:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74474 Jacobs, Bellina.xlsx                25870       7/19/2024 6:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74475 Hammond, Michelle.xlsx              22690       7/19/2024 6:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74490 Heinitz, Jason.xlsx                 23741       7/19/2024 6:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74531 Hammond, Michelle.xlsx              22358       7/19/2024 6:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74542 Green, Dayshawn.xlsx                18140       7/19/2024 6:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74559 Brown, Madison.xlsx                 22528       7/19/2024 6:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74560 Smith, Joel.xlsx                    24294       7/19/2024 6:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74561 Sepulvado, John.xlsx                25807       7/19/2024 6:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74589 Jacobs, Jason.xlsx                  19917       7/19/2024 7:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74590 Williams-Gilmore, Mychal.xlsx       20966       7/19/2024 6:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74604 Posada-Estrada, Patricia.xlsx       18160       7/19/2024 6:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MARY       74607 Lindo, Oral.xlsx                    18099       7/19/2024 6:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       64984 Jamieson, Robert.tv5                10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       64989 Lamb, Bonny.tv5                     10015      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       64994 Bowden, Trhave.tv5                  10018      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       65008 Maxwell, Walter.tv5                 10210      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       65009 Fields, Tommie.tv5                  11314      10/9/2024 17:37




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               All Paths/Locations                              Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       65012 Cox, Stacy.tv5                  10445      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       65013 Wellman, Leanne.tv5             10207      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       65019 Connor, Lorri.tv5               10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       65024 Grissom, Joshua.tv5             10260      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       65027 Wilcox, Joseph.tv5              10260      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       65029 Mitchell, Joan.tv5              10449      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       65033 Jimenez, Heriberto.tv5          10022      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       65039 Woods, Edgar.tv5                10016      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       65047 Faircloth, Danielle.tv5         10213      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       65052 Henderson, Bettie.tv5           10210      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       65055 Burrell, Rogelio.tv5            10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       65292 Harris, Michael.tv5             10208      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       65360 Broglin, Barry.tv5              10207      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       65497 Busby, Isaac.tv5                10260      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       65671 Kirby, Jeremiah.tv5             10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       65695 Pouncy, Quajena.tv5             15224      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       65786 Laccetti, Vanessa.tv5           10263      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       65917 Alvarado, Iveet.tv5             10261      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       65998 Etchen, Carole.tv5              10016      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       66001 Furedi, Mark.tv5                10123      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       66004 Anderson, Patricia.tv5          11058      10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       66021 Zheng, Yi.tv5                   10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       66187 Figueroa, Kassandra.tv5         10265      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       66232 Sherman, Kendre.tv5             10262      10/9/2024 17:34




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               All Paths/Locations                              Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       67348 Cain, Emory.tv5                   10012       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       67542 Berg, Samuel.tv5                  10016       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       67577 Lozano, Michael.tv5                 9988      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       69608 Timms, Charles.tv5                10127       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       69673 Green, LaSha.tv5                    9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       69730 Briseno, Michael.tv5              10131       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       80236.tv5                               10245       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       80248 Hennessy, Patricia.tv5            10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       80251 Stewart, Shiannek.tv5             10240       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       80267 Shaffer, Cody.tv5                   9984      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       80285 Mitchell, Lindsey.tv5               9990      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       80289 White, Jeremy.tv5                 10014       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       80382 Edwards, Andre.tv5                10525       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       80389 Jackson, Marycatherine.tv5        10404       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       80422 Wilson, Peggy.tv5                 10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       80486 Ruiz, Adriana.tv5                   9984      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       80492 Hunter, Jenise.tv5                10142       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       80568 Calhoun, Kiara.tv5                  9985      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       80575 Dvorak, Jared.tv5                   9807      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81335 Burnau-Vaughn, Shyerika.tv5       10341       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81374 Wilson, Jacob.tv5                 10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81394 Frato, Deanna-Lea.tv5             10021       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81412 Alford, Christian.tv5             10177       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81413 Swan, Salima.tv5                    9975      10/9/2024 17:27




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81415 Hill, Michelle.tv5               10007       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81443 Gonzalez, Kristen.tv5            10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81468 Marshall, Sandra.tv5             10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81550 Hall, Deneen.tv5                 10015       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81551 Hernandez, Tristan.tv5             9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81552 James, Wayne.tv5                 47350       10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81553 Turner, Elmer.tv5                  9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81554 Gaitan, Manuel.tv5               11530       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81555 Koester, Joshua.tv5              10186       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81556 Walker, John.tv5                   9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81557 Perkins, Gary.tv5                  9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81558 Khan, Patricia.tv5                 9987      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81559 Highsmith, Gerald.tv5              9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81560 Huegel, Jake.tv5                   9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81561 Liller-Reedy, Lisa.tv5             9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81562 Jackson, Tracie.tv5              10426       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81563 Cal, Ronald.tv5                    9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81564 Scott, Charles.tv5                 9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81565 Baker, Ernest.tv5                  9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81566 Cleghorn, Ernest.tv5             10427       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81567 Mack, Felicia.tv5                  9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81568 Jenkins, James.tv5                 9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81569 Ligonde, Tania.tv5               10282       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81571 Lucia, Kenneth.tv5                 9996      10/9/2024 17:29




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81573 Deloach, Aliyah.tv5              10281       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81574 Zurbriggen, Francis.tv5          10670       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81575 Terry, Willie.tv5                  9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81576 Cortez, Guadalupe.tv5              9996      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81577 Hunt, Tony.tv5                   10240       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81578 Nelson, Jason.tv5                  9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81579 Caastillo, Ralph.tv5             10239       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81580 Harris, Johnny.tv5                 9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81581 Diaz, Angel.tv5                    9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81582 Hills, Shelley.tv5                 9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81583 McCray, David.tv5                10238       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81584 Lee, Ralph.tv5                   12120       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81585 Verastegui, Sahrina.tv5          10188       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81586 Moody, Shawn.tv5                   9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81587 Quintanilla, Patrick.tv5           9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81588 Pucci, Christopher.tv5             9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81589 Layton, Jeffrey.tv5                9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81590 Smith, Paul.tv5                    9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81591 Casey, Timothy.tv5               10240       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81592 Davis, Regina.tv5                10239       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81593 Best, Brian.tv5                    9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81594 Gray, Tiffany.tv5                  9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81595 Cobb, John.tv5                     9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81596 Hinojosa, Silvia.tv5             10239       10/9/2024 17:32




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               All Paths/Locations                              Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81597 Williams, Menyon.tv5              9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81598 Bryant, Ronnie.tv5                9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81599 Welch, Brandy.tv5                 9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81600 Green, Yolanda.tv5                9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81601 Bissinger, Zachary.tv5          11047       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81602 Maurice, Bryan.tv5              10240       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81603 Bradley, Jazlyn.tv5             10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81604 Bradley, Martha.tv5             10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81605 Rodiguez, Tonya.tv5             10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81606 Roy, Michael.tv5                10016       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81607 Long, Patrick.tv5               10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81608 Richason, Troy.tv5              10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81609 Beaver, Lora.tv5                10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81610 Contreras, Melissa.tv5          10012       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81611 McNeice, William.tv5            10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81612 Miller, Mai.tv5                 10015       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81613 Dixon, Angelique.tv5            10262       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81614 Shapiro, Michael.tv5            10021       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81615 Eichenlaub, Floyd.tv5           10022       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81616 Christophe, Mirelene.tv5        10265       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81617 Rave, Niki.tv5                  10256       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81618 Jacobs, Brian.tv5               10260       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81620 Susralski, Paul.tv5             10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81621 Sauceda, Yolanda.tv5            10021       10/9/2024 17:31




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81622 Williams, Angel.tv5              10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81623 Parker, Michael.tv5              10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81624 Jones, Timisha.tv5               10259      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81625 Ogg, Mitchell.tv5                14007      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81626 Ogg, Mitchell.tv5                10259      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\MILA       81627 Stuart, Thomas.tv5               10018      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78667 Reed, Michael.xls                56832      8/22/2024 19:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78669 Martin, Fallon.xls              107008      7/15/2024 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78670 Dixon, Julia.xls                121856      7/15/2024 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78674 Osterlund, Sofia.xls             75776      7/15/2024 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78679 Comer, Daniel.xls                44544      7/15/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78682 Washington, Markita.xls          43008      7/15/2024 17:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78685 Davis, Lyric.xls                 43008      7/15/2024 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78686 Harvey, Anthony.xls              88064      7/15/2024 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78699 Robinson, Deborah.xls            81920      7/15/2024 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78700 Martinez, Melissa.xls            90624      7/15/2024 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78711 Kennedy, Mary.xls                52736      7/15/2024 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78712 Green, Raymir.xls                44032      7/15/2024 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78720 Howell, Christina.xls            44032      7/15/2024 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78721 Howell, Christina.xls            44544      7/15/2024 17:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78722 Mcpherson, Darwin.xls            49664      7/15/2024 17:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78723 Faust, Billie.xls               128512      7/15/2024 17:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78728 Griffith, Shornnel.xls          141824      7/15/2024 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78729 Montalvo, Mark.xls              193024      7/15/2024 17:01




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78733 Chenevert, Anthony.xls           44032      7/15/2024 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78734 Shelby, Alexzandrea.xls          46592      7/15/2024 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78737 Swims, Dana.xls                  52736      7/15/2024 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78740 Samuel, Shera.xls               147456      7/15/2024 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78741 Busby, Shaun.xls                146944      7/15/2024 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78743 Cutting, George.xls              45056      7/15/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78744 Dennis, Kai.xls                  64512      7/15/2024 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78745 Dennis, Kai.xls                 113152      7/15/2024 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78749 Haynes, Caprice.xls              43008      7/15/2024 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78752 Hughs, Stephen.xls               64512      7/15/2024 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78768 Williams, Lakesha.xls            51712      7/15/2024 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78771 Dennis, Duane.xls                81920      7/15/2024 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78773 Johnson, Courtney.xls            81920      7/15/2024 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78798 Crary, John.xls                 105984      7/15/2024 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78813 Terry, Taureana.xls              43008      7/15/2024 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78826 Smith, Joel.xls                  89088      7/15/2024 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78827 Kirk, Benquarrius.xls            72192      7/15/2024 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78831 Garrison-Bey, Shante.xls         44032      7/15/2024 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78833 Ervin, Derick.xls               114176      7/15/2024 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78836 Kuper, Rebecca.xls               52736      7/15/2024 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78838 Newingham, Nicole.xls            51712      7/15/2024 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78842 Sanders III, Walter.xls          58368      7/15/2024 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78843 Anderson, Natasha.xls            43008      7/15/2024 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78848 Neal, Eunice.xls                 80384      7/15/2024 16:28




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78856 Whitehead, Richard.xls           49664      7/15/2024 16:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78859 Cotrichie, Emilio.xls            90624      7/15/2024 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78862 Dudczak, Jeremy.xls              56320      7/15/2024 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78864 Griffith, Shornnel.xls           75776      7/15/2024 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78865 Wilbourn, D'Erica.xls            43008      7/15/2024 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78866 Cannuscio, Eugenio.xls           43008      7/15/2024 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78867 Felts, Terry.xls                 89088      7/15/2024 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78868 Reynolds, Jonathan.xls           58368      7/15/2024 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78880 Browder, Stephen.xls             64512      7/15/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78881 Albino, Regina.xls               86528      7/15/2024 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78884 Jackson, Keiran.xls              45568      7/15/2024 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78888 Freedman, Peter.xls              44032      7/15/2024 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78889 Holland, Katie.xls              105984      7/15/2024 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78891 Rosales, Angelica.xls            52224      7/15/2024 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78897 McKinley, Walter.xls             64000      7/15/2024 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78900 Stokes, Jamia.xls                90624      7/15/2024 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78903 Catino, Sara.xls                 52736      7/15/2024 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78907 Gonzalez, Jennifer.xls           44544      7/15/2024 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78909 Ford, Kayrian.xls               107520      7/15/2024 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78910 Sexton, Johanna.xls              62976      7/15/2024 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78911 Mowles, Linda.xls                51200      7/15/2024 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78912 Mowles, Linda.xls               105984      7/15/2024 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78915 Taylor, Mark.xls                 99328      7/15/2024 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78916 Pierce, Paul.xls                106496      7/15/2024 16:10




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               All Paths/Locations                              Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78917 Howard, Melissa.xls             50176      7/15/2024 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78918 Butler, Aaron.xls               46080      7/15/2024 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78919 Truett, Jamie.xls               69120      7/15/2024 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78921 Imperatore, Nichole.xls         94208      7/15/2024 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78922 Ybarra, Elodia.xls             118784      7/15/2024 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78923 Ybarra, Elodia.xls              71680      7/15/2024 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78924 Keough, Lisa.xls                44544      7/15/2024 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78925 Durham, Kathy.xls               44544      7/15/2024 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78926 Shumaker, Michael.xls           44544      7/15/2024 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78927 Sbitnev, Aleksandr.xls          89600      7/15/2024 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78928 Sutherland, Dustin.xls          44032      7/15/2024 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78929 Sutherland, Dustin.xls          44032      7/15/2024 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78930 Merrick, Jason.xls              45568      7/15/2024 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78934 Hanson-Gentry, Jaisa.xls        81408      7/15/2024 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78935 Clark, Denise.xls              106496      7/15/2024 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78937 Mitchell, Samida.xls           137216      7/15/2024 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78939 Higgins, Quinton.xls            56320      7/15/2024 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78941 Nedd, Aaron.xls                 94720      7/15/2024 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78942 Hunt, Kyla.xls                  43520      7/15/2024 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78943 Sunday, John.xls                68608      7/15/2024 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78946 Rodriguez, Mia.xls              74752      7/15/2024 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78948 Black, Jaderious.xls            44544      7/15/2024 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78949 Hunt, Tony.xls                  91136      7/15/2024 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78953 Marlowe, Lorenzo.xls           160768      7/15/2024 15:34




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78954 Imperatore, Nichole.xls          66048      7/15/2024 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78958 Peterson, Christina.xls         105984      7/15/2024 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78964 Wilson, Joyce.xls                43520      7/15/2024 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78965 Brooker, Alton.xls              145920      7/15/2024 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78966 Hill, Paula.xls                  74752      7/15/2024 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78968 Williamson, Thomas.xls          100864      7/15/2024 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78969 Simms, Jalin.xls                 70656      7/15/2024 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78970 Campbell, Thomique.xls          139264      7/15/2024 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78971 Kincaid, Brenda.xls              46080      7/15/2024 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78974 Willhite, Tyler.xls              43008      7/15/2024 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78976 Wilson, Thomas.xls               75264      7/15/2024 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78977 Wilson, Thomas.xls               75264      7/15/2024 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78980 Beridon, Shawn.xls               43520      7/15/2024 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78981 Ankner, Robert.xls               92672      7/15/2024 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78982 Perez, Christopher.xls           43008      7/15/2024 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78983 Palomo, Francisca.xls            92672      7/15/2024 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78991 King, Hassan.xls                 46592      7/15/2024 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78995 Burrell, Matthew.xls             44544      7/15/2024 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78996 Swimm-Simmons, Braidon.xls       48128      7/15/2024 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78997 Cuiksa, Jason.xls               117248      7/15/2024 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78998 Cuiksa, Jason.xls               103424      7/15/2024 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      78999 Mcleod, Patricia.xls             44544      7/15/2024 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79002 Myers, Mary.xls                  54272      7/15/2024 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79003 Oates, Iyan.xls                 124416      7/15/2024 15:14




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               All Paths/Locations                               Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79004 Madrid, Karina.xls                70144      7/15/2024 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79005 Madrid, Karina.xls                70144      7/15/2024 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79007 Martinez, Miguel.xls              44544      7/15/2024 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79015 Thompson, Sky.xls                 77824      7/15/2024 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79016 Houston-Jones, Kylan.xls          44032      7/15/2024 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79031 Oja, Stuart.xls                   91648      7/15/2024 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79048 Butler, Angela.xls                45568      7/15/2024 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79049 Williams, Tyler.xls               81408      7/15/2024 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79050 Williams, Tyler.xls               99840      7/15/2024 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79051 Pena, Francisco.xls               62464      7/15/2024 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79053 Vice, Michael.xls                 43008      7/15/2024 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79054 Garcia-Rossal, Siliezar.xls       63488      7/15/2024 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79055 Castello, Luis.xls                43520      7/15/2024 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79056 Hill, Taylor.xls                  84480      7/15/2024 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79058 Simon, Eunice.xls                 43520      7/15/2024 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79059 Overvides, Kaleb.xls              44544      7/15/2024 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79062 Griffith, Shornnel.xls           109056      7/15/2024 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79068 Nafa, Mahmoud.xls                 46080      7/15/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79069 Roper, Jeremiah.xls               48640      7/15/2024 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79070 Smith, Jordan.xls                108032      7/15/2024 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79071 Smith, Jordan.xls                 44032      7/15/2024 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79072 Thompson, Matthew.xls             80384      7/15/2024 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79073 Weathers, Frank.xls               91648      7/15/2024 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79087 Geiger, Jah-mal.xls               68608      7/15/2024 14:59




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79088 Lenz, Brittany.xls               54272      7/15/2024 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79089 Martinez, Cheyanna.xls           89088      7/15/2024 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79090 Floyd, Dalton.xls                43008      7/15/2024 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79091 Daniels, Hannibal.xls           120320      7/15/2024 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79092 Hinkle, Anna.xls                 46080      7/15/2024 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79093 Hemphill, Lamont.xls             77312      7/15/2024 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79094 Litwin, Thomas.xls               58880      7/15/2024 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79095 Knudsen, Jessica.xls             81920      7/15/2024 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79096 Livas, Milton.xls                72704      7/15/2024 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79097 Rodriguez, Arturo.xls           126976      7/15/2024 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79098 Bonds, Zakery.xls                86016      7/15/2024 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79101 Wagoner, Matthew.xls             78848      7/15/2024 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79102 Fashaw, Alexandra.xls           104960      7/15/2024 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79103 Beckles, Terri.xls               77312      7/15/2024 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79104 Bowersox, Jacqueline.xls         80384      7/15/2024 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79105 Samuel, Denzel.xls               90624      7/15/2024 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79106 Wilbanks, Daniel.xls             69120      7/15/2024 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79107 Green-Nealy, Shalaunda.xls       74752      7/15/2024 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79108 Garrett, Sandra.xls              92672      7/15/2024 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79109 Flores, Sylvia.xls               83968      7/15/2024 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79110 Nold, Mathew.xls                120320      7/15/2024 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79111 Roberts, Ember.xls               45056      7/15/2024 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79112 Holguin, Rolando.xls             43008      7/15/2024 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79113 Jameson, Alexis.xls              44544      7/15/2024 14:28




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               All Paths/Locations                              Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79114 Moreno, Eloisa.xls              43008      7/15/2024 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79115 Mclean, Kyle.xls                61440      7/15/2024 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79116 Stephen III, Edward.xls         54272      7/15/2024 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79117 Wyniemko, Kenneth.xls           49152      7/15/2024 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79118 Brewster, Philip.xls            44032      7/15/2024 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79120 Colburn, Gloria.xls             43008      7/15/2024 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79121 Eaglesmith, Jaylyn.xls          43008      7/15/2024 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79122 Ciprian, Cyrrus.xls             43008      7/15/2024 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79123 Kimbro, Deltrin.xls             67584      7/15/2024 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79125 Salinas, Kiana.xls              43008      7/15/2024 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79127 Espinoza, Brandon.xls           43008      7/15/2024 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79128 Garcia, Lex.xls                 43520      7/15/2024 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79129 Keyes, Preston.xls              43520      7/15/2024 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79130 O'Donnell, Kelly.xls            43520      7/15/2024 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79131 Walker, Christopher.xls         44032      7/15/2024 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79132 Kephart, Rhiannon.xls          122880      7/15/2024 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79133 Williams, Marcus.xls           169984      7/15/2024 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79134 Markwell, Desiree.xls           44544      7/15/2024 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79136 Canterbury, Ashley.xls          79872      7/15/2024 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79137 Dove, Cameron.xls               43008      7/15/2024 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79138 Stovall, Jamal.xls              61440      7/15/2024 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79140 Jimenez, Hector.xls             43008      7/15/2024 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79141 Miller, Lukas.xls               44544      7/15/2024 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79142 Murray, Jeffrey.xls             43008      7/15/2024 13:48




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79143 Edwards, Thomas.xls              43520      7/15/2024 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79145 Harris, Vincent.xls              43520      7/15/2024 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79146 Griffin, William.xls             43520      7/15/2024 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79149 Smith, Alfonzo.xls               44544      7/15/2024 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79150 Jackson, Aaron.xls               43520      7/15/2024 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79151 Alvarado, Jordan.xls             43008      7/15/2024 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79152 Beasley, Barbara.xls             70144      7/15/2024 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79153 Farrell, Austin.xls              43520      7/15/2024 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79154 Raja, Samar.xls                  44032      7/15/2024 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79155 Ellison, Desmond.xls             57856      7/15/2024 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79156 Saccente, Ariana.xls             45568      7/15/2024 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79157 Ludeman, Kristy.xls              43520      7/15/2024 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79158 Berneau, Dillon.xls              43520      7/15/2024 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79159 Johns, Lejaya.xls                43520      7/15/2024 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79160 Lee, Alexis.xls                  43520      7/15/2024 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79162 Cherry, Joseph.xls               43520      7/15/2024 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79163 Dell, Chassidy.xls               43520      7/15/2024 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79165 Murata, Danielle.xls             68608      7/15/2024 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79166 Hance, Chastity.xls              53760      7/15/2024 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79168 Canada, Brandy.xls               43520      7/15/2024 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79170 Meche, Shon.xls                  43520      7/15/2024 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79172 Mcphatter, Taalib.xls            43520      7/15/2024 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79173 Moberly, Landon.xls              44032      7/15/2024 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79174 Argall, Daniel.xls               43520      7/15/2024 13:35




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               All Paths/Locations                               Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79175 Contreras, David.xls               46592      7/15/2024 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79176 Edwaldo, Lebron.xls                43520      7/15/2024 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79177 Sabin, Kayla.xls                   43520      7/15/2024 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79178 Ames, Kandace.xls                  43008      7/15/2024 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79179 Cobbs, Samone.xls                  46080      7/15/2024 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79180 Wise, Jenna.xls                    43520      7/15/2024 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79181 Johnson, Kennedy.xls               44544      7/15/2024 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79182 Johnikin, Jalen.xls                43520      7/15/2024 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79184 Schier, Robert.xls                 84992      7/15/2024 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79185 Ama, Evangalynn.xls                44032      7/15/2024 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79186 Cartwright, Dana.xls               44032      7/15/2024 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79189 Perez, Carlos.xls                  43520      7/15/2024 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79191 Johnson, Zachery.xls               43520      7/15/2024 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79192 Rosenbaum, Jamie.xls               81408      7/15/2024 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79197 Huttenga, Billie.xls               89088      7/15/2024 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79200 Lindner, Anthony.xls               43520      7/15/2024 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79201 Carson, Charles-Monte.xls          69632      7/15/2024 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79202 Dent-Howell, Ebony.xls             44032      7/15/2024 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79205 Basinger, Robert.xls               81920      7/15/2024 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79206 Bair, Stephen.xls                  50176      7/15/2024 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79211 Fick, Travis.xls                   43520      7/15/2024 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79214 Ramos, Shawn.xls                   62464      7/15/2024 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79225 Pointer, Tishay.xls                43520      7/15/2024 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79228 Ellison, Devin (REVISED).xls       43520      7/15/2024 13:17




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79228 Ellison, Devin.xls               65536      7/15/2024 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79234 Wilkinson, Douglas.xls           58880      7/15/2024 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79256 Clausen-Laws, Raymond.xls        43520      7/15/2024 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79260 Adjei, Jason.xls                 43520      7/15/2024 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79262 Mendez, Nadia.xls                43520      7/15/2024 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79264 Scott, Myiesha.xls               43520      7/15/2024 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79265 Hamblin, Shannon.xls             43520      7/15/2024 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79268 Harrison, Elizabeth.xls          43520      7/15/2024 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79269 James, Laci.xls                  44032      7/15/2024 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79270 Donaldson, Erik.xls              61440      7/15/2024 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79271 Sclafani, Michael.xls            43520      7/15/2024 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79272 Downing, Isaiah.xls              44544      7/15/2024 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79274 Ratliff, Jacob.xls               43008      7/15/2024 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79277 - Jones, Janshee.xls             43520      7/15/2024 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79279 Jaramillo, Janie.xls            146432      7/15/2024 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79280 Lukens, Frederick.xls            53248      7/15/2024 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79281 Cooper, Ebony.xls                79872      7/15/2024 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79282 Barbee, Marybeth.xls            110592      7/15/2024 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79283 Clifton, Angel.xls               54272      7/15/2024 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79285 Trevino, Michael.xls             56320      7/15/2024 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79286 Stinson, Gary.xls               121344      7/15/2024 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79287 Durose, Austin.xls               54272      7/15/2024 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79290 Dimaggio, Valerie.xls            68608      7/15/2024 12:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79292 Cortes, Tyler.xls                74752      7/15/2024 12:37




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79293 Curtis, Bryan.xls               155136      7/15/2024 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79296 Standingrock, Bradley.xls        51712      7/15/2024 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79298 John Williams, Anthony.xls       45568      7/15/2024 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79299 Pernell, Jasmine.xls             43520      7/15/2024 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79300 Hundley, Zandyn.xls             139264      7/15/2024 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79301 Wallace, Andrew.xls              43520      7/15/2024 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79302 Casey, Timothy.xls               65024      7/15/2024 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79303 McHugh, Colleen.xls              44032      7/15/2024 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79305 Ericson, Casey.xls               43520      7/15/2024 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79306 Shuff, Kimberley.xls             44544      7/15/2024 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79307 Thompson, Iman.xls               61952      7/15/2024 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79308 Ure, Jacob.xls                   43520      7/15/2024 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79314 Hall, Shannon.xls                86528      7/15/2024 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79315 Ryles, Gia.xls                   43520      7/15/2024 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79316 Ruffin, James.xls               107520      7/15/2024 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79317 Wilson, Kayvon.xls               43520      7/15/2024 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79322 Hulsey, Nicole.xls               43520      7/15/2024 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79323 Snell, Jarrod.xls                43520      7/15/2024 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79330 Cowart, Trace.xls                58880      7/15/2024 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79335 Moreno, Luis.xls                 43520      7/15/2024 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79344 Ross, Jeffrey.xls                59904      7/15/2024 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79346 Lundy, Jacqueline.xls            53760      7/15/2024 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79348 Scarlett, Autumn.xls             43520      7/15/2024 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79350 Clark, Denise.xls               106496      7/15/2024 12:01




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               All Paths/Locations                               Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79351 Clark, Denise.xls                 106496      7/15/2024 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79353 Edwards, Austin.xls                44544      7/15/2024 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79354 Haliburton, Donta.xls              53760      7/15/2024 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79355 Fierro, Raquel.xls                 87552      7/15/2024 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79356 Willis, Linda.xls                  53760      7/15/2024 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79358 Woods, Lori.xls                    69632      7/15/2024 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79359 Santiago, Ramon.xls                51200      7/15/2024 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79360 Taberner, Joseph.xls               55808      7/15/2024 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79361 Rios Calderon, Shalianna.xls       45056      7/15/2024 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79362 Williams, Larry.xls                47616      7/15/2024 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79363 Goddard, Julie.xls                 84992      7/15/2024 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79364 Mitchell, John.xls                 58880      7/15/2024 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79365 Lyons, Walter.xls                  87552      7/15/2024 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79366 Blumenthal, Phelep.xls             47616      7/15/2024 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79367 Sapienza, Christopher.xls         113664      7/15/2024 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79368 Sapienza, Chgristopher.xls        113664      7/15/2024 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79369 Soley, Delane.xls                  43520      7/15/2024 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79374 Mischon, Michael.xls              173568      7/15/2024 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79375 Perez, Esteban.xls                 98816      7/15/2024 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79377 Eichenlaub, Floyd.xls              87552      7/15/2024 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79378 Marney, Nickolas.xls               53248      7/15/2024 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79382 Nicholson, Donye.xls               50688      7/15/2024 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79384 Atha, Brooke.xls                   43520      7/15/2024 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79387 Sousa, Trenton.xls                 43008      7/15/2024 11:33




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               All Paths/Locations                               Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79389 Lewisa, Asha.xls                  44032      7/15/2024 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79390 Rodriguez, Elijah.xls             45056      7/15/2024 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79393 Dobson, Christopher.xls           86528      7/15/2024 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79395 Mann, Tameka.xls                  53760      7/15/2024 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79398 Frasure, Brittney.xls             57856      7/15/2024 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79410 Mosher, Marshall.xls             161280      7/15/2024 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79412 Miller, Patrick.xls               46080      7/15/2024 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79415 Mallett-Aguirre, Baylie.xls       45056      7/15/2024 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79417 Wallace, Malaysia.xls             43520      7/15/2024 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79418 Colemen, Donavon.xls              43520      7/15/2024 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79419 Deininger, Jonathan.xls           55808      7/15/2024 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79422 Cohen, Corvalis.xls               43520      7/15/2024 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79423 Tooley, Gary.xls                  43008      7/15/2024 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79424 Throckmorton, Savanah.xls         45568      7/15/2024 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79425 Mulvihill, Thomas.xls             68096      7/12/2024 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79426 Schultz, Brittani.xls            103936      7/12/2024 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79427 Dixon, Joseph.xls                 44032      7/12/2024 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79429 Barattini, Angela.xls            103424      7/12/2024 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79430 Barela, Austin.xls               126464      7/12/2024 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79431 Bohannon, Jeffrey.xls             45056      7/12/2024 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79432 Ramsey, Cameron.xls              131584      7/12/2024 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79433 Ehrmantrout, William.xls          44544      7/12/2024 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79434 Upton, Aimee.xls                  57344      7/12/2024 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79435 Del Rosario, Ryan.xls             75776      7/12/2024 14:52




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               All Paths/Locations                               Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79436 Burleson, Rhiannon.xls            47104      7/12/2024 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79437 Patton-Schulle, Kristen.xls       57856      7/12/2024 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79438 Gonzalez, Sonia.xls               43520      7/12/2024 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79439 Rawlings, Charleeta.xls           68608      7/12/2024 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79441 Bell, Brandon.xls                 86528      7/12/2024 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79442 - Kraemer, Brian.xls              45056      7/12/2024 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79443 Nelson, Jashae.xls                60416      7/12/2024 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79444 Hestand, Burton.xls               57856      7/12/2024 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79445 Elzey, Jonathan.xls               83968      7/12/2024 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79446 Overland, Cody.xls                49664      7/12/2024 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79447 Smith, Shydasha.xls              131072      7/12/2024 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79501 Mull, William.xls                 49152      7/12/2024 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79520 Dean, Ashtyn.xls                  44032      7/12/2024 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79521 Davis, Charles.xls                71168      7/12/2024 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79526 Coleman, Alfidean.xls             43520      7/12/2024 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79538 Casado, Javier.xls                95232      7/12/2024 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79539 Jerry, Carl.xls                  131072      7/12/2024 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79563 Garcia, Caylani.xls               43520      7/12/2024 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79565 Cowles, Rhonda.xls                60928      7/12/2024 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79568 Slater, Devondrick.xls            79360      7/12/2024 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79571 Gonzalez, Kristen.xls             66048      7/12/2024 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79572 Banet, Krissa.xls                 86528      7/12/2024 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79574 Hundley, Shyann.xls              136704      7/12/2024 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79589 McCline, Amelia.xls              116224      7/12/2024 14:24




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               All Paths/Locations                               Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79593 Brawner, Walter.xls                      61440      7/12/2024 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79596 Jackson, Charles and Elizabeth.xls       68608      7/12/2024 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79598 Speller-Williams, Nasim.xls              45056      7/12/2024 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79603 Daniels, Indie.xls                       44032      7/12/2024 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79604 Jasna, Mahaley.xls                       55296      7/12/2024 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79606 Edwards, Nyasha.xls                     108032      7/12/2024 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79628 Imperatore, Nichole.xls                  79360      7/12/2024 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79644 Mclarty, Gage.xls                        44032      7/12/2024 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79733 Garland, Andrei.xls                      72192      7/12/2024 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79743 Doran, Raymond.xls                       53248      7/12/2024 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79746 Miller, Curtis.xls                       55296      7/12/2024 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79757 Labbee, Cecilia.xls                     117760      7/12/2024 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79776 Huggins, Melvin.xls                      55296      7/12/2024 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79791 Hosage, Emily.xls                        43520      7/12/2024 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79792 Stuart, Zabrina.xls                      65536      7/12/2024 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79794 Simmons, Kaitlyn.xls                     43520      7/12/2024 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79796 Anderson, Dwanna.xls                     43008      7/12/2024 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79800 Williams, Dustin.xls                     57856      7/12/2024 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79801 Brewer, Kywanna.xls                     123392      7/12/2024 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79802 Lynch, Christine.xls                     43520      7/12/2024 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79830 White, Jeremy.xls                        80896      7/12/2024 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79831 Alford, Christian.xls                    44544      7/12/2024 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79836 Jean, Edouard.xls                        45056      7/12/2024 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79841 Albrektson, Shannon.xls                  61952      7/12/2024 14:04




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79845 Grant-Upshaw, Joshua.xls         55296      7/12/2024 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79912 Watkins, Ethan.xls               46080      7/12/2024 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79917 Williams, Damya.xls              69632      7/12/2024 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79924 Curry, Daniel.xls                80384      7/12/2024 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79942 Jones, Dahnari.xls               44032      7/12/2024 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      79943 Jones, Darnell.xls               57856      7/12/2024 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81624 Jones, Timisha.xls              107520      7/12/2024 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81625 Ogg, Mitchell.xls               117760      7/12/2024 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81626 Ogg, Mitchell.xls               114688      7/12/2024 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81627 Stuart, Thomas.xls              106496      7/12/2024 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81628 Watson, Andy.xls                 91648      7/12/2024 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81629 Benjamin, Tamatha.xls            81408      7/12/2024 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81630 Hebert, Brian.xls               107520      7/12/2024 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81631 Sendejo, April.xls               75776      7/12/2024 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81632 Martinez, Steven.xls             97280      7/12/2024 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81633 Collier, Donald.xls             121856      7/12/2024 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81634 Robinson, Tyler.xls              93696      7/12/2024 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81635 McKenith, Tyrone.xls             75776      7/12/2024 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81636 Montgomery, Carina.xls           84480      7/12/2024 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81637 Traurig, Christy.xls            114176      7/12/2024 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81638 Green, Micah.xls                108032      7/12/2024 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81639 Rice, Josea.xls                  90624      7/12/2024 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81640 Roberts, Jennifer.xls            97280      7/12/2024 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81641 Pearson, Ernest.xls              96768      7/12/2024 13:39




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               All Paths/Locations                              Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81642 Caruso, Dorothy.xls                      93696      7/12/2024 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                              OC Email on residency and competency.pdf      288888      3/15/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                              Pleadings.pdf                               7995849        2/21/2022 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                              Purchase Agreement - revised.pdf              214542       3/15/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                              Purchase Agreement.pdf                     13184968        2/21/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                              Searches.pdf                                   23911     11/22/2023 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                              Settlement Docket.pdf                         550455      2/21/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                              SSC.pdf                                       475331      2/16/2022 19:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                              Summary closing statement.pdf                 285205      3/16/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                              Summary FI.pdf                                285209      3/16/2022 14:10




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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2713 of
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               All Paths/Locations                                Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                              UCC.pdf                                   23316     11/22/2023 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78815                              Utility Bill- POR.pdf                    180153      3/15/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              Annuity Check Stub.pdf                 1738361       2/20/2022 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              Application.pdf                          194044      2/20/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              Assignment.pdf                            26752      2/21/2022 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              Authorization for Deductions.pdf          91819      2/20/2022 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              Benefits Letter.pdf                    3400508      10/11/2022 16:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              Certification.pdf                        109840      2/20/2022 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              Closing Book - BenQuarrius Kirk.pdf    7793024       2/18/2022 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              Court Order.pdf                        2906526        3/4/2022 11:39



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              Covenant Not to Execute.pdf                245919      2/20/2022 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              Credit Report.pdf                          375953      2/20/2022 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              Disclosure CO.pdf                           48683      2/20/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              Disclosure GA.pdf                           50458      2/20/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              Disclosure NE.pdf                           49753      2/20/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              Disclosure SC.pdf                           48652      2/20/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              DocuSign Cert - A889.pdf                    69646      2/20/2022 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              DocuSign Cert - Closing Statement.pdf      216569     11/22/2023 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              Order Approving Settlement.pdf             212998      2/20/2022 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              Pleadings.pdf                              842382      2/20/2022 15:03



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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              POS - Prudential.pdf                  328547        3/4/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              image004.png                             4037
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              Amended CertOfService.pdf              73389       1/20/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              Amended NOTICE OF HEARING.pdf          80455       1/20/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              POS - Seller.pdf                       31112      11/22/2023 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              Purchase Agreement.pdf                336923       2/20/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              Qualified Assignment.pdf              171726       2/20/2022 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              Searches.pdf                           58389       2/20/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              Seller Identification.pdf             479589       2/20/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              SSC.pdf                                36964       2/28/2022 17:28



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              Stip - missing SP.pdf                  689456     11/22/2023 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              Stipulation.pdf                        839713      3/15/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78827                              UCC Search.pdf                          61234      2/21/2022 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78831                              Application.pdf                         40716      2/22/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78831                              Assignment.pdf                         147481      3/30/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78831                              Benefits Letter.pdf                    618156        4/6/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78831                              Court Order.pdf                        482085      3/30/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78831                              Credit Report.pdf                       26671       2/4/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78831                              Disclosure - NY.pdf                    177444      2/22/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78831                              Docusign Certificate 3E6.pdf           220251     11/22/2023 13:36



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               All Paths/Locations                              Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78831                              Docusign Certificate 946.pdf         150690     11/22/2023 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78831                              Docusign Certificate A50.pdf         197784     11/22/2023 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78831                              Docusign Certificate D99.pdf         197861     11/22/2023 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78831                              Docusign Certificate E8D.pdf         148767     11/22/2023 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78831                              Drivers License.pdf                  862236      2/22/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78831                              Garrison Bey Assignment.docx          16495      3/30/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78831                              Garrison Bey Closing Binder.pdf    4129521       2/22/2022 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78831                              Order Approving Settlement.pdf       135156      2/22/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78831                              PI Case Docket Sheet.pdf              91211      2/22/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78831                              Pleadings.pdf                      2349775       2/22/2022 14:54



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2718 of
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               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78831                              Proof of Service.pdf                      545218      3/30/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78831                              Purchase Agreement updated.pdf            361184      3/30/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78831                              Searches.pdf                               84352      2/22/2022 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78831                              Seller Affidavit.pdf                      366928      2/22/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78831                              Social Security Card.pdf                  667600      3/30/2022 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78831                              Stipulation.pdf                         1664963        3/31/2022 9:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78831                              UCC Search.pdf                            542955      2/22/2022 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78833                              27fb.pdf                                  191589     11/22/2023 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78833                              Application.pdf                           315310       1/4/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78833                              Assignment.pdf                            172075      3/15/2022 15:30



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               All Paths/Locations                                 Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78833                              Benefits Letter.pdf                                     17936      7/25/2019 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78833                              Court Order.pdf                                      4559662       3/15/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78833                              Credit Report.pdf                                       68932     11/22/2023 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78833                              Disclosure Statement.pdf                               119377       1/4/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78833                              Driver License.pdf                                     293417     11/22/2023 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78833                              IPA Letter.pdf                                          36372      1/31/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78833                              PI Docket.pdf                                           64939     11/22/2023 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78833                              Pleadings.pdf                                        5784874       2/21/2022 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78833                              Purchase Agreement.pdf                                 563167      2/21/2022 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78833                              Searches - Microbilt in KS and SC without ssn.pdf      113450      2/21/2022 12:20



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               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78833                              Searches.pdf                            17041      11/22/2023 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78833                              SScard.pdf                             172198      11/22/2023 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78833                              Stipulation.pdf                     11613329        3/15/2022 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78833                              UCC.pdf                                 31118      11/22/2023 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78833                              Updated UCC.pdf                         47976      11/22/2023 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78833                              Waiver of ID HB on last deal.pdf       929529        4/27/2021 8:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78833                              image001.png                              4751
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78833                              Stipulation.pdf                        716405       9/23/2019 11:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78838                              Annuity Contract.pdf                   433675       2/23/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78838                              Application Newingham.pdf              198432       2/23/2022 15:28



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78838                              Assignment Agreement Executed.pdf        20592       2/25/2022 9:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78838                              Authorization.pdf                        67934      2/23/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78838                              Certification of Nicole.pdf              96712      2/23/2022 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78838                              Closing Binder.pdf                   17416601       2/21/2022 10:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78838                              Closing Statement Executed.pdf          402233     11/22/2023 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78838                              Court Order.pdf                         387131       3/8/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78838                              Credit Report.pdf                       158703      2/23/2022 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78838                              Disclosure FL.pdf                        45183      2/23/2022 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78838                              Driver License.pdf                      117878      2/23/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78838                              Name Declaration.pdf                     76320      2/23/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78838                              NASP Search.pdf                          77796      2/23/2022 16:00
Saiph consulting|\Audit Materials Received-
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11.22.2023\78838                              Pleadings.pdf                        18915249       2/23/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78838                              Prior Order.pdf                       3355582       2/23/2022 15:57
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78838                              Purchase Agreement.pdf                  350548      2/23/2022 16:17
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\78838                              Settlement Agreement.pdf               898205      2/23/2022 15:40
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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11.22.2023\78838                              Stipulation Executed.pdf               805566       3/9/2022 13:56
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\78838                              UCC Search.pdf                          51926      2/23/2022 15:44
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\78843                              Affidavit.pdf                          102897      10/4/2021 15:08
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78843                              Application.pdf                        192206      10/4/2021 15:07
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78843                              Benefits Letter.pdf                    368573       2/3/2022 12:40
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\78843                              Court Order.pdf                         68355      4/14/2022 13:22



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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78843                              Credit Report.pdf                       94775       2/8/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78843                              Declaration.pdf                        156780     10/13/2021 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78843                              Disclosure Affidavit.pdf               124663     10/13/2021 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78843                              Minors Compromise Order.pdf          3598541       2/18/2022 13:08
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Received\Dorchester - 353 Files -
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78843                              Pleadings.pdf                        6404274       2/23/2022 12:18
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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11.22.2023\78843                              Reason for settlement.pdf              763826       7/1/2021 11:33



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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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11.22.2023\78856                              Acknowledgment.pdf                                  227678      3/28/2022 14:40
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11.22.2023\78856                              Application.pdf                                     294671     11/22/2023 13:40
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78856                              Bankruptcy Search.pdf                               162394       2/25/2022 8:40
Saiph consulting|\Audit Materials Received-
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11.22.2023\78856                              Benefits Letter.pdf                                 868228       2/25/2022 8:40
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78856                              Credit Report.pdf                        522847       3/3/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78856                              Disclosure - AR.pdf                      103485       2/25/2022 8:40
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78856                              Disclosure - CT.pdf                      106110       2/25/2022 8:40
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\78856                              Disclosure - IA.pdf                      106640       2/25/2022 8:40
Saiph consulting|\Audit Materials Received-
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11.22.2023\78856                              Disclosure - MD.pdf                       96578       2/25/2022 8:40
Saiph consulting|\Audit Materials Received-
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11.22.2023\78856                              Docusign Certificate 8B6.pdf              19440       2/25/2022 8:40
Saiph consulting|\Audit Materials Received-
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11.22.2023\78856                              Docusign Certificate CB7.pdf             172972      2/25/2022 12:57
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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11.22.2023\78856                              Purchase Agreement.pdf                        983550       2/25/2022 8:39
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11.22.2023\78856                              Searches.pdf                                  544540       2/25/2022 8:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78856                              Seller Affidavit.pdf                           95615       2/25/2022 8:40
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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11.22.2023\78862                              Bankruptcy Search.pdf                             9148      2/28/2022 14:12
Saiph consulting|\Audit Materials Received-
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11.22.2023\78862                              Dudczak Funding Package.pdf                  2236876        2/23/2022 16:22



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78862                              Final Judment of Marriage .pdf              58053      2/28/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78862                              Purchase Agreement.pdf                     800400      2/28/2022 14:11
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SuttonPark\Missing Documents
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11.22.2023\78862                              Request for Acknowledgment.pdf              65241      2/28/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023\78862                              Request for Change of Beneficiary.pdf       20296      2/28/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023\78862                              Transaction Summary.pdf                     50021      2/28/2022 14:12
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78864                              Affidavit.pdf                            6572109       2/10/2022 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78864                              Annuity Contract.pdf                       203172       1/27/2022 9:10



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78864                              Application.pdf                        908116      1/10/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78864                              assignment to JJWR.pdf                  51253      2/10/2022 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78864                              Court Order - Amended.pdf              114999      2/18/2022 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78864                              Court Order.pdf                        277325      2/11/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78864                              Credit Report.pdf                      167657      1/12/2022 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78864                              Disclosure FL.pdf                      733253      2/14/2022 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78864                              Disclosure NJ.pdf                      515197      2/14/2022 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78864                              Lien and Judgement.pdf                  23496     11/22/2023 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78864                              Petition Amended.pdf                12566553       2/17/2022 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78864                              Pleadings.pdf                        9712955       2/14/2022 11:41



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78864                              Purchase Agreement.pdf                  7902610       2/14/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78864                              Settlement Agreement and Release.pdf      246023      9/16/2021 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78864                              Social Security Card and ID.pdf         3407451       2/10/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78864                              Stipulation.pdf                         1123551       2/25/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78864                              UCC Searches.pdf                           23773     11/22/2023 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78865                              Application.pdf                           406087      1/27/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78865                              Assignment Agreement.pdf                  178174       4/5/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78865                              Auth to Release Info.pdf                   81080      1/27/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78865                              Benefit Letter.pdf                        543016       1/27/2022 9:40
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78865                              Closing Binder.pdf                     11627514       2/28/2022 12:24



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78865                              Closing Statement.pdf                       1297040         4/1/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78865                              Court Order.pdf                               218368       4/5/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78865                              Credit Report.pdf                             204866      1/27/2022 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78865                              Disclosure Proof of Delivery.pdf              204797       1/24/2022 9:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78865                              Disclosure SC.pdf                             124342      1/27/2022 10:38
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78865                              Disclosure TX.pdf                             124296      1/27/2022 10:38
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78865                              Driver License SC.pdf                       1897857       1/27/2022 14:22
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78865                              Email Clearance from SP on SS number.pdf      171938      1/27/2022 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78865                              Esign Certificate Jan 27.pdf                   47731       1/27/2022 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78865                              Esign Certificate Jan 28.pdf                   46890      1/28/2022 15:15



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78865                              Irrevocable Beneficiary.pdf             67555      1/27/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78865                              OAMC Case not found.pdf                163456      2/14/2022 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78865                              Pleadings Wilbourn.pdf               4695433       2/28/2022 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78865                              Purchase Agreement.pdf                 354592      2/28/2022 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78865                              Searches.pdf                           310162      2/28/2022 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78865                              Social Security Card.pdf             1504290        1/27/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78865                              Stipulation.pdf                      1316907         4/1/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78865                              Zipe Code USPS.pdf                     156062      2/28/2022 11:13
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Annuity.pdf                            120882      1/25/2022 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Application notes.pdf                  371456       2/1/2022 18:12



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Application.pdf                         408906      1/31/2022 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Assignment Executed.pdf                 178884      3/17/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Auth to Release Info.pdf                 84320      1/31/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Closing Binder.pdf                   17085086        3/1/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Closing Statement.pdf                   344156       3/16/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Court Order.pdf                         281220      3/14/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Credit Report.pdf                       442842      1/31/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Disclosure Proof of Delivery.pdf        205350      1/25/2022 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Disclosure.pdf                          126365      1/31/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Divorce Decree.pdf                    1901656         2/2/2022 9:40



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Driver License.pdf                    3683120       1/31/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Esign Certificate.pdf                    46688      1/31/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Notice of Hearing.pdf                    75292       3/3/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Order to destroy file OAMC.pdf          108364        2/2/2022 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Pleadings Amended.pdf                   428263      2/10/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Pleadings.pdf                         1971473        2/8/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Proof of Service.pdf                    453153       3/3/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Proof of Social Security.pdf            262712      1/31/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Purchase Agreement.pdf                  362805       3/1/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Searches.pdf                          1294670       1/31/2022 10:12



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               All Paths/Locations                                Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Settlement Agreement.pdf              1007508       1/25/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Stip Missing Symetra Signature.pdf    1505813        3/16/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              Stipulation.pdf                       1388981      11/22/2023 13:44
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78880                              USPS Zip Code.pdf                       154692       3/1/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              Affidavit in Lieu of SA.pdf             115660       3/1/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              Affidavit.pdf                           231038       3/1/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              Application.pdf                         162844      2/28/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              BK Search.pdf                           835587       3/1/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              Court Order.pdf                       1743154         3/8/2022 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              Credit Report.pdf                        25516      2/28/2022 13:03



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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              Disclosure NY.pdf                                  75808       3/1/2022 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              ID.pdf                                          1053492        12/6/2021 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              IPA letter.pdf                                     44817       3/4/2022 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              PI Docket.pdf                                      48330      2/28/2022 13:03
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              Pleadings.pdf                                   4630864        3/1/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              Proof of Disc Delivery.pdf                        693225       3/1/2022 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              Purchase Agreement.pdf                          1277687        3/1/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              Redirection Reconfiguration up07-11-2022.pdf    2180777        7/8/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              Redirection Assignee List NYLIC.pdf               222753       7/7/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              COA Policy FP200974.pdf                            52947       4/8/2022 13:24



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              COA Policy 74758034.pdf              52951       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              COA Policy 77422032.pdf              52926       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              COA Policy FP200974 (2).pdf          52949       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              COA Policy FP201158.pdf              52930       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              COA Policy FP205723.pdf              52948       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              COA Policy FP206266.pdf              52989       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              COA Policy FP206275.pdf              52951       4/8/2022 13:24
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              COA Policy FP207071.pdf              52987       4/8/2022 13:24
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              COA Policy FP207808.pdf              52960       4/8/2022 13:24



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Received\Dorchester - 353 Files -
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11.22.2023\78884                              COA Policy FP210013.pdf                                  52983       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              COA Policy FP210674.pdf                                  52959       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              COA Policy FP216554.pdf                                  52928       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              COA Policy FP220022.pdf                                  53010       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              COA Policy FP220028.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              COA Policy FP220219.pdf                                  52981       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              COA Policy FP220714.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              COA Policy FP244114.pdf                                  52993       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              Security TItle Corporate Resolution 11.2021 si.pdf      937256       4/1/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              Searches.pdf                                            258487      2/28/2022 13:13



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              SSC.pdf                                         3947109        3/8/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78884                              Stipulation.pdf                                   304279       3/8/2022 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78888                              Annuitants App and Martitial Status form.pdf    3896217        3/8/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78888                              Annuitants ID and SSC.pdf                         559916       3/8/2022 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78888                              Annuity Contract.pdf                              380240       3/1/2022 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78888                              Application.pdf                                 1263315        3/1/2022 14:09
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\78888                              Assignment Great Plains to Sutton.pdf              50586       3/1/2022 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78888                              Assignment.pdf                                     50457       3/1/2022 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78888                              Authorization.pdf                               3195322        3/1/2022 14:06
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78888                              Child Support letter.pdf                  339179       3/1/2022 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78888                              Closing Book Litchfield.pdf            11140310       2/28/2022 19:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78888                              COB Request.pdf                         3182409        3/1/2022 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78888                              Court Order.pdf                           170814       3/1/2022 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78888                              Credit Report.pdf                         118792       3/1/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78888                              Disclosure Statement CA.pdf             1108973        3/1/2022 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78888                              Driver License.pdf                      2137198        3/1/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78888                              Email on childs mother.pdf                237782      3/18/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Mari-Ko Vang - Closure Letter - Case
11.22.2023\78888                              #20000000.pdf                             102364       3/4/2022 16:53
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Saiph consulting|\Audit Materials Received-
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11.22.2023\78888                              Fwd_ Re_ austin litchfield.pdf                    237782      3/18/2022 15:56
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11.22.2023.zip\Dorchester - 353 Files -       Mari-Ko Vang - Closure Letter - Case
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78888                              LA County Child Support closure letter.pdf        102364       3/4/2022 16:53
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78888                              LACounty website info on close of a case.pdf    2605087       3/23/2022 11:33
Saiph consulting|\Audit Materials Received-
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11.22.2023\78888                              Pleadings.pdf                                  26869382        3/1/2022 14:11
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SuttonPark\Missing Documents
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11.22.2023\78888                              POA.pdf                                         1250224        3/1/2022 14:01
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\78888                              Purchase Agreement.pdf                         11023440        3/1/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78888                              Redirection Confirmation New 78888.pdf             95740       5/24/2023 8:54
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78888                              Req for Ack.pdf                                   167420       3/1/2022 14:03



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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78888                              SA Due Diligence.pdf                          178409      3/15/2022 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78888                              Searches.pdf                                  833399       3/1/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78888                              Stipulation.pdf                             3638799        3/1/2022 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78888                              Transaction Summary.pdf                        61373       3/1/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78897                              Affidavit.pdf                                 315915        3/9/2022 8:47
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\78897                              Allied Servicing letter of direction.pdf       67311       2/2/2022 16:24
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78897                              Annuity Contract.pdf                          383260        3/9/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78897                              Application.pdf                               634430        3/9/2022 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78897                              Assignment.pdf                                 67411        3/9/2022 8:37
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78897                              Authorization to Tak Action Executed.pdf    1235614         3/1/2022 9:12



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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78897                              BK Search.pdf                           38358        3/9/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78897                              COB Request.pdf                         80728        3/9/2022 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78897                              Confirmation from Allied.pdf           339713      3/28/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78897                              Court Order.pdf                        767300        3/9/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78897                              Credit Report.pdf                    1059013         3/9/2022 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78897                              Disclosure FL.pdf                      258663        3/9/2022 8:48
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78897                              ID.pdf                                 126562        3/9/2022 8:46
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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11.22.2023\78897                              No Conflict.pdf                                        107494        3/9/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78897                              Petition.pdf                                         1232332         3/9/2022 8:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       POA - McKinley - Prudential - Allied - Provident
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11.22.2023.zip\Dorchester - 353 Files -       POA - McKinley, Walter - Prudential - Allied -Jon
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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78897                              Prudential - Walter McKinnley Closing Book.pdf       9984857        4/7/2014 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78897                              Purchase Agreement.pdf                               1340243         3/9/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023\78897                              RPSA.pdf                                             2809926         3/1/2022 9:12
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SuttonPark\Missing Documents
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11.22.2023\78897                              Searches.pdf                                           985120        3/9/2022 8:40
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78897                              Settlement Order.pdf                                   575985        3/9/2022 8:43



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Saiph consulting|\Audit Materials Received-
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11.22.2023\78903                              6333.pdf                               191848     11/22/2023 13:51
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78903                              Annuity Contract.pdf                 1759406      12/10/2021 15:38
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78903                              Application.pdf                         46647      12/8/2021 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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11.22.2023\78903                              Benefits Letter.pdf                  2196332        3/3/2022 11:20
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78903                              certificate for closing.pdf            193728     11/22/2023 13:51
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11.22.2023\78903                              Credit Report.pdf                                       58571      11/22/2023 13:50
Saiph consulting|\Audit Materials Received-
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11.22.2023\78903                              Declaration.pdf                                        662492       1/17/2022 15:47
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SuttonPark\Missing Documents
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11.22.2023\78903                              Disclosure Statement.pdf                               206656        1/25/2022 8:40
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78903                              Pleadings.pdf                                       780480       3/3/2022 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78903                              Policy Info.pdf                                   1020745        3/3/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78903                              POR - Utility.pdf                                 1272142       3/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78903                              POR - voters reg.pdf                              1114279       3/10/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78903                              POS.pdf                                             155554       2/4/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78903                              Purchase Agreement.pdf                              402773       3/3/2022 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78903                              Qualified Assignment and Release Agreement.pdf      415570     12/10/2021 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78903                              SAR.pdf                                              48185     11/22/2023 13:50



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               All Paths/Locations                                 Unified Title             File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78903                              Searches.pdf                                       11150      11/22/2023 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78903                              SSC.pdf                                         2674359         3/3/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78903                              TLO BK Chapter 7 Discharged 2008.pdf                 2600     11/22/2023 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78903                              UCC.pdf                                            47874      11/22/2023 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78905                              Affidavi in Lieu of Settlement Agreement.pdf      381605        3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78905                              Allstate Quote.pdf                                 88383        3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78905                              Application.pdf                                    68723        3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78905                              Authorizations.pdf                                223608        3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78905                              Bankruptcy Search.pdf                             564065        3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78905                              Court Order.pdf                                   791434        3/9/2022 10:52



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78905                              Declaration.pdf                          561007       3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78905                              Disclosure - FL.pdf                      438911       3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78905                              Disclosure - IL.pdf                      440559       3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78905                              Disclosure - NY.pdf                      193706       3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78905                              Disclosure Affidavit.pdf                 336322       3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78905                              Infants Compromise Order.pdf           2810681        3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78905                              Lien and Judgment Search.pdf             192967       3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78905                              McGrowder Assignment.docx                 17449       3/8/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78905                              McGrowder Closing Binder.pdf          15838875        3/6/2022 20:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78905                              PI Case Docket Search.pdf              2751912        3/6/2022 21:02



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               All Paths/Locations                                Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78905                              Pleadings.pdf                         2500345        3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78905                              Purchase Agreement missing LOD.pdf    3569132        3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78905                              Seller Identification.pdf               372353       3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78905                              Social Security Card.pdf                408626       3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78905                              Stipulation.pdf                       2240755        3/8/2022 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78905                              UCC Search.pdf                           86915       3/6/2022 21:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78906                              Affidavit in lieu of SA.pdf           1239815        3/4/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78906                              Affidavit.pdf                           409401       3/4/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78906                              Application.pdf                         290011       3/2/2022 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78906                              Bankruptcy Search.pdf                   833709       3/4/2022 11:02



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78906                              Closing Binder.pdf                   30660807        3/4/2022 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78906                              Court Order.pdf                         356502       3/8/2022 16:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78906                              Credit Report.pdf                        44043       3/2/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78906                              Declaration.pdf                       1826224        3/4/2022 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78906                              Disclosure DE.pdf                     1442399        3/4/2022 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78906                              Disclosure FL.pdf                     1435599        3/4/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78906                              Disclosure NY.pdf                       563471       3/4/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78906                              Disclosure TX.pdf                     1340896        3/4/2022 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78906                              Executed Assignment.pdf                  68301     11/22/2023 13:53
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78906                              ID.pdf                                 371625      2/22/2022 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78906                              Infant Compromise Order.pdf          2803236      11/22/2023 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78906                              IPA Letter.pdf                          91191     11/22/2023 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78906                              Partial Benefit letter.pdf              40344     10/21/2021 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78906                              PI Docket.pdf                        2749839       12/16/2021 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78906                              Pleadings.pdf                        2497072        3/4/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78906                              Purchase Agreement.pdf              12404347        3/4/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78906                              Searches.pdf                           277898       3/2/2022 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78906                              Social Security Card.pdf               407898      2/22/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78906                              USPS Zip Code.pdf                      152661       3/4/2022 12:25



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78907                              Annuity Contract Cert.pdf                18139     11/22/2023 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78907                              Application.pdf                         177438     11/12/2021 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78907                              Assignment.pdf                          164248      3/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78907                              Closing Binder.pdf                    9139702        3/3/2022 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78907                              Court Order.pdf                         158492      3/25/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78907                              Credit Report.pdf                        48246      2/28/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78907                              Disclosure CA.pdf                       331027       3/3/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78907                              Disclosure DE.pdf                       192623       3/3/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78907                              Disclosure TX.pdf                       180415       3/3/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78907                              Docusign Cert - PA Docs.pdf             320822     11/22/2023 13:55



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               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78907                              Driver License.pdf                       2338365      12/28/2021 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78907                              Order Approving Compromise.pdf             224246     10/28/2019 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78907                              Pleadings.pdf                            5937212        3/3/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78907                              Proof of Disc Disclosure.pdf               523579       3/3/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78907                              image001.jpg                                25364
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78907                              image002.png                                12284
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78907                              image003.jpg                                10260
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78907                              Disclosure CA - Jennifer Gonzalez.pdf       91388     10/27/2021 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78907                              Purchase Agreement.pdf                   3167346        3/3/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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               All Paths/Locations                                Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78907                              Settlement Agreement Affidavit.pdf      253464       3/3/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78907                              Social Secuirty Card.pdf                141509     12/22/2021 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78907                              Stipulation.pdf                       4757592       3/25/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78907                              UCC Search.pdf                           46061       3/3/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78907                              Zip Code Lookup.pdf                      80132     12/22/2021 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78909                              Acknowledgment.pdf                       43002      3/24/2022 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78909                              Affidavit in Lieu of SA.pdf             346758        3/3/2022 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78909                              Affidavit notarized.pdf                  63696       3/8/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78909                              Affidavit.pdf                           551094        3/3/2022 8:51



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78909                              Application.pdf                        231393       3/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78909                              Benefits Letter.pdf                     32148       3/2/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78909                              BK Search.pdf                          808820        3/3/2022 8:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78909                              CFD0.pdf                               244051     11/22/2023 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78909                              Credit Report - updated.pdf             44514       3/3/2022 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78909                              Credit Report.pdf                       44508     10/26/2021 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78909                              Disclosure CT.pdf                      393119        3/3/2022 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78909                              Disclosure DE.pdf                      421675        3/3/2022 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78909                              Disclosure MA.pdf                      443419        3/3/2022 8:47



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78909                              Disclosure TX.pdf                      387319        3/3/2022 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78909                              DL - Kayrian Ford.pdf                1812790        3/9/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78909                              Final Judgment.pdf                     149899     10/29/2021 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78909                              Payees Request to Conceal.pdf          196694        3/3/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78909                              Pleadings.pdf                        2336830         3/3/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78909                              POD Disclosure.pdf                     205055        3/3/2022 8:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78909                              Disclosure TX - KAYRIAN FORD.pdf        74223      1/24/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78909                              Purchase Agreement.pdf               6655639         3/3/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78909                              Searches.pdf                           291758       3/2/2022 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78909                              Signed APA - Kayrian Ford.pdf          152099       3/9/2022 12:25



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78909                              SSC.pdf                               5603665         3/3/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78911                              Affidavit.pdf                           139580       3/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78911                              Application.pdf                       2302700      11/19/2021 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78911                              Assignment GP.pdf                        77383       3/8/2022 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78911                              Benefits Letter.pdf                   2811951        3/2/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78911                              Closing Binder.pdf                   28627939        3/3/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78911                              Court order.pdf                       3007826      11/22/2023 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78911                              Credit Report - Roy.pdf                 124557       3/4/2022 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78911                              Disclosure IA.pdf                       112397       3/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78911                              Disclosure OK.pdf                       139738       3/3/2022 13:19



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78911                              Drivers License - Linda.pdf           4229564        3/2/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78911                              Guardianship Order.pdf                   47921       3/3/2022 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78911                              Identification Card - Roy.pdf         1090351        3/8/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78911                              PI Docket.pdf                           135775       3/3/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78911                              Pleadings.pdf                        16548827        3/3/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78911                              Purchase agreement.pdf                  986328       3/8/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78911                              Searches - Linda.pdf                    197862       3/3/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78911                              Searches - Roy.pdf                       23595     11/22/2023 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78911                              SSC - Linda.pdf                         258097       3/2/2022 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78911                              SSC - Roy.pdf                            28871       3/3/2022 13:02



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78911                              Stipulation.pdf                      2096085        3/8/2022 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78911                              UCC Search - Linda.pdf                  23488     11/22/2023 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78911                              UCC Search - Roy.pdf                    23460     11/22/2023 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78911                              ZIP Code Lookup _ USPS.pdf              76437       3/3/2022 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Annuity Contract.pdf                   361586       3/4/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Application.pdf                        195583       3/4/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Assignment.pdf                          31027        3/7/2022 9:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Authorization for Deductions.pdf        43825       3/4/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Certification.pdf                      110773       3/4/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Closing Book - Aaron Butler.pdf     13467058        3/3/2022 13:21



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2762 of
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               All Paths/Locations                                Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Butler letter to annuitant.pdf            3209245       1/11/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Butler letter to insurance company.pdf    3491812       1/11/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              COB Request.pdf                              63620       3/4/2022 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Court Order.pdf                           3755972        3/3/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Credit Report.pdf                           133624       3/4/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Declaration.pdf                             168059       3/4/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Disclosure AZ.pdf                            50063       3/4/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Disclosure NJ.pdf                            50272       3/4/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Disclosure TX.pdf                            50122       3/4/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              DocuSign Cert - 4DB5.pdf                     71922       3/4/2022 14:42



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2763 of
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               All Paths/Locations                                 Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              DocuSign Cert - 60B2.pdf                     70031       3/4/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              DocuSign Cert - C790.pdf                     69723       3/4/2022 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              DocuSign Cert - Closing Statement.pdf       198267     11/22/2023 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Driver License.pdf                          200340       3/4/2022 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Final Judgment.pdf                          262642       3/4/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              NASP Search.pdf                              91757       3/4/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Pleadings.pdf                             7887964        3/4/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Butler letter to annuitant.pdf            3209245       1/11/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Butler letter to insurance company.pdf    3491812       1/11/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Purchase Agreement.pdf                      361985       3/4/2022 14:39



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2764 of
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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Redirection Reconfiguration 78918.pdf      240176       8/22/2023 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Searches.pdf                               103837       3/4/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Social Security Card.pdf                   179542       3/4/2022 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Stip - Missing SP.pdf                       74871      3/10/2022 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              Stipulation.pdf                             93416      3/10/2022 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78918                              UCC Search.pdf                             107217       3/4/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              Application.pdf                          1775593         3/7/2022 8:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              Assignment Catalina to CBC.pdf             138175      3/11/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              Assignment.pdf                             150794      3/14/2022 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              Benefits Letter.pdf                         53537     11/22/2023 13:59



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              BK Search.pdf                             83516        3/7/2022 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              Collateral File.pdf                    8766276      11/22/2023 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              Court Order 2022.pdf                     916685        3/7/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              Credit Report.pdf                         77968        3/7/2022 8:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              Declaration.pdf                        1801757         3/7/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              Disclosure MA.pdf                        168927        3/7/2022 8:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              Disclosure MS.pdf                        159019        3/7/2022 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              Divorce Decree.pdf                     8786009         3/7/2022 8:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              Driver License.pdf                     1010268         3/7/2022 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              Order Approving Settlement.pdf           119200       3/27/2018 9:11



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               All Paths/Locations                               Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              PI Docket for Conservatorship.pdf            170765      5/15/2019 16:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              Pleadings.pdf                              2648796         3/7/2022 8:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              Purchase Agreement 10-15.pdf                 260599        3/7/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              Purchase Agreement.pdf                     2121849         3/7/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              Searches.pdf                                 719804        3/7/2022 8:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              SSC.pdf                                       76309        3/7/2022 8:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              Stipulation - signed by all parties.pdf      382696     11/22/2023 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              Transaction Summary.pdf                       51128        3/7/2022 8:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              Upated Credit Report - Truett.pdf             59144       3/8/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              Updated BK Search - Truett.pdf                38502       3/8/2022 11:31



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               All Paths/Locations                              Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78919                              Updated Searches.pdf               1044648      11/22/2023 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78924                              Annuity Contract.pdf                 128072       3/6/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78924                              Application.pdf                      389431       3/6/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78924                              Assignment.pdf                        17511       3/6/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78924                              Authorization Letter.pdf             107667       3/6/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78924                              Bankruptcy Search.pdf                 60510       3/6/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78924                              Benefits Letter.pdf                  126420       3/6/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78924                              Closing Book Keough.pdf            6175414         3/4/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78924                              COB Request.pdf                      110320       3/6/2022 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78924                              Court Order.pdf                      919951       3/6/2022 14:10



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78924                              Credit Report.pdf                       187916       3/6/2022 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78924                              Disclosure IN.pdf                       230854       3/6/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78924                              Disclosure NY.pdf                       265090       3/6/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78924                              Driver License.pdf                       51895       3/6/2022 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78924                              Pleadings.pdf                        24866055        3/6/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78924                              Proof Tax Lien are paid.pdf             835881       3/6/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78924                              Proofs of service.pdf                 2895061        3/4/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78924                              Purchase Agreement.pdf                2054021        3/6/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78924                              Request for Acknowledgment.pdf           60544       3/6/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78924                              Searches.pdf                            453620       3/6/2022 14:42



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78924                              Social Security Card.pdf                 69979       3/6/2022 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78924                              Stip - Missing SP.pdf                   206720       3/6/2022 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78924                              Stipulation.pdf                         221942       3/7/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              Annuity Contract.pdf                    648106       3/7/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              Application.pdf                       2228359        3/7/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              Assignment.pdf                           74734       3/7/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              Authorization.pdf                       743437       3/7/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              Benefit Letter.pdf                      912418       3/7/2022 15:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              BK Search.pdf                            53187       3/7/2022 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              Closing Book Durham.pdf               5066720        3/4/2022 10:41



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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              COB Request.pdf                                   784769       3/7/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              Court Order.pdf                                 6379398        3/7/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              Credit Report.pdf                                 113099       3/7/2022 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              Disclosure IN.pdf                               1848264        3/7/2022 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              Disclosure NY.pdf                               2186611        3/7/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              DL and SSC.pdf                                    544591       3/7/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              Pleadings.pdf                                  27772917        3/7/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              Purchase Agreement.pdf                         17079334        3/7/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              Redirection Reconfiguration up07-11-2022.pdf    2180777        7/8/2022 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              Redirection Assignee List NYLIC.pdf               222753       7/7/2022 15:27



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               All Paths/Locations                             Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              COA Policy FP200974.pdf              52947       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              COA Policy 74758034.pdf              52951       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              COA Policy 77422032.pdf              52926       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              COA Policy FP200974 (2).pdf          52949       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              COA Policy FP200974.pdf              52991       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              COA Policy FP201158.pdf              52930       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              COA Policy FP205723.pdf              52948       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              COA Policy FP206266.pdf              52989       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              COA Policy FP206275.pdf              52951       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              COA Policy FP207071.pdf              52987       4/8/2022 13:24



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2772 of
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               All Paths/Locations                              Unified Title                      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              COA Policy FP207808.pdf                                  52960       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              COA Policy FP210013.pdf                                  52983       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              COA Policy FP210674.pdf                                  52959       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              COA Policy FP216554.pdf                                  52928       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              COA Policy FP220022.pdf                                  53010       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              COA Policy FP220028.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              COA Policy FP220219.pdf                                  52981       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              COA Policy FP220714.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              COA Policy FP244114.pdf                                  52993       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              Security TItle Corporate Resolution 11.2021 si.pdf      937256       4/1/2022 15:13



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2773 of
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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              Req Ack.pdf                            250286       3/7/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              Searches.pdf                           256925       3/7/2022 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              Stipulation.pdf                        897761       3/8/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78925                              Transaction Summary.pdf                 61779       3/7/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78926                              Annuity Contract.pdf                   125222       3/7/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78926                              Application.pdf                        397501       3/7/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78926                              Assignment .pdf                         17402       3/7/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78926                              Authorization to Release.pdf           126283       3/7/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78926                              Bankruptcy Search.pdf                   61084       3/7/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78926                              Benefits Letter.pdf                    121540       3/7/2022 19:25



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2774 of
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               All Paths/Locations                                  Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78926                              Closing Book M Shumaker.pdf                  5705386        3/4/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78926                              Court Order.pdf                                891153        3/8/2022 8:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78926                              Credit Report.pdf                               66224       3/7/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78926                              Disclosure - IN.pdf                            266700       3/7/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78926                              Disclosure - NY.pdf                            308087       3/7/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78926                              Drivers License.pdf                            137504       3/7/2022 19:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78926                              Pleadings.pdf                               27759592        3/8/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78926                              Proof of Death of Catherine Schumaker.pdf       82809       3/8/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78926                              Purchase Agreement.pdf                       2363121        3/7/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78926                              Request For Acknowledgement.pdf                 58103        3/8/2022 8:33



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               All Paths/Locations                                 Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78926                              Request for Change of Beneficiary.pdf      133254        3/7/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78926                              Searches.pdf                               501852        3/7/2022 19:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78926                              Social Security Card.pdf                   146222        3/7/2022 19:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78926                              Stipulation.pdf                          1779083         3/8/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78926                              Transaction Summary.pdf                       7202       3/7/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78927                              Affidavit in Lieu Of Settlement.pdf        507382        3/8/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78927                              Affidavit.pdf                              462590        3/8/2022 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78927                              Application.pdf                            229073        3/4/2022 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78927                              Bankruptcy Search.pdf                      854260        3/8/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78927                              Benefit letter.pdf                         167853         3/9/2022 9:18



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               All Paths/Locations                                 Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78927                              Closing Binder.pdf                       21483002        3/8/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78927                              Court Order.pdf                             143304      3/10/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78927                              Credit Report.pdf                            56206       3/4/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78927                              Disclosure for Aleksandr Sbitnev            113152      2/10/2022 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78927                              Disclosure WA - ALEKSANDER SBITNEV.pdf       74357      2/10/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78927                              Disclosure WA.pdf                           355626       3/8/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78927                              Driver License.pdf                        2683857        3/8/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78927                              Executed Assignment.pdf                     148659      3/11/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78927                              PI Docket.pdf                             8079996        3/4/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78927                              Pleadings.pdf                             3806100        3/8/2022 15:25



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               All Paths/Locations                              Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78927                              Purchase Agreement.pdf                          4049686        3/8/2022 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78927                              Redirection Reconfiguration up02-23-2023.pdf      143562      2/23/2023 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78927                              Searches.pdf                                      284745       3/4/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78927                              Social Security Card.pdf                        1447444        3/8/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78927                              Stipulation Executed.pdf                          243849       3/9/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78927                              USPS Pierce County.pdf                            315881       3/8/2022 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78928                              9092.pdf                                          332012     11/22/2023 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78928                              Annuity Contract.pdf                              345936      1/18/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78928                              Application.pdf                                   311178      1/20/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78928                              Assignment.pdf                                    149244      3/14/2022 14:22



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78928                              certificate.pdf                         200390     11/22/2023 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78928                              Court Order.pdf                       1274620        3/9/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78928                              Credit Report.pdf                        47942     11/22/2023 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78928                              Disclosure TX.pdf                       188774      1/20/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78928                              Driver Licnese.pdf                      663155       2/25/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78928                              OAS.pdf                                 295316      1/18/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78928                              Plead.pdf                             1375379        2/9/2022 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78928                              POS - Carriers.pdf                      231847      3/10/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78928                              POS - seller.pdf                        126255      3/11/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78928                              Privacy Notice.pdf                      243645      1/20/2022 15:25



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2779 of
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               All Paths/Locations                                Unified Title           File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78928                              Purchase Agreement.pdf                         873601        3/7/2022 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78928                              Qualifed Assignment.pdf                        806795       1/18/2022 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78928                              Searches.pdf                                      8307     11/22/2023 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78928                              Settlement Agreement.pdf                     1171399        1/18/2022 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78928                              SScard.pdf                                      52105         3/9/2022 7:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78928                              Stipulation.pdf                              4962457        3/14/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78928                              TLO STATE OF TEXAS JUDGMENT 473.pdf               2225     11/22/2023 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78928                              TLO STATE OF TEXAS JUDGMENT Other Hit.pdf         2224     11/22/2023 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78928                              UCC.pdf                                         48330      11/22/2023 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78929                              Acknowledgment.pdf                              88256       4/12/2022 15:53



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2780 of
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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78929                              Application.pdf                            276873       3/8/2022 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78929                              Assignment.pdf                             167477      3/24/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78929                              Court Order.pdf                            691119      3/15/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78929                              Credit Report.pdf                          127233       3/8/2022 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78929                              Docusign Certificatre 092.pdf              333929     11/22/2023 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78929                              Docusign Certificatre 87F.pdf              202726     11/22/2023 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78929                              Drivers License.pdf                        661663       3/8/2022 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78929                              Notice of Annuity Contract Status.pdf      612964       3/8/2022 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78929                              Pleadings updated.pdf                    2801205       3/15/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78929                              Purchase Agreement.pdf                     562507       3/8/2022 18:10



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2781 of
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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78929                              Searches.pdf                            86930       3/8/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78929                              Settlement Agreement.pdf             1169665        3/8/2022 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78929                              Social Security Ccard.pdf               56088     11/22/2023 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78929                              Sutherland Assignment.docx              16484      3/15/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78929                              Sutherland Closing Binder.pdf        6298912        3/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78929                              TX Disclosure.pdf                      182675      3/15/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78929                              UCC Search.pdf                         529252       3/8/2022 18:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78930                              Annuity Contract.pdf                   673736       3/9/2022 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78930                              Application.pdf                         44648      1/26/2022 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78930                              Assignment Executed.pdf                133692       3/9/2022 14:27



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               All Paths/Locations                                 Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78930                              Benefit payments.pdf                                44563       3/7/2022 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78930                              Closing Binder.pdf                               8303622        3/7/2022 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78930                              Closing Statement.pdf                              408128     11/22/2023 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78930                              Court Order.pdf                                    327533       3/7/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78930                              Credit Report.pdf                                   17657      2/14/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78930                              Deal Jason Merrick Commjutation Analysis.xlsm    6077595       3/11/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78930                              Disclosure NY.pdf                                  147164      1/26/2022 16:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78930                              DocuSign Cert ED78.pdf                             192897     11/22/2023 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78930                              DocuSign Cert F1B9.pdf                             237753     11/22/2023 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78930                              Driver License.pdf                                 236462       1/24/2022 6:19



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2783 of
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               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78930                              NY Affidavit.pdf                       145997       1/26/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78930                              Pleadings.pdf                        6321514         3/7/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78930                              Purchase Agreement.pdf                 339155        3/7/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78930                              Qualified Assignment.pdf               465042        3/7/2022 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78930                              Searches.pdf                              4160     11/22/2023 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78930                              Settlement Agreement.pdf               608007       1/20/2022 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78930                              Social Security Card.pdf               366981        3/9/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78930                              Stipulation.pdf                      1272162         3/9/2022 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78930                              UCC Search.pdf                          49725      11/22/2023 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78930                              USPS Zip Code.pdf                      154361        3/7/2022 16:44



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2784 of
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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78937                              Affidavit.pdf                         1501326        3/8/2022 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78937                              Annuity Contract.pdf                  8098047        3/7/2022 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78937                              Application.pdf                       1180957       1/10/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78937                              Assignment Executed.pdf                  72207      3/10/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78937                              Closing Binder.pdf                   20864048        3/8/2022 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78937                              ClosingStatement Executed.pdf           178774     11/22/2023 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78937                              Court Order.pdf                         151950       3/7/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78937                              Credit Report.pdf                        15851       3/7/2022 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78937                              Disclosure MS.pdf                     1320336        3/8/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78937                              Disclosure Texas.pdf                  2180511        3/8/2022 17:13



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2785 of
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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78937                              DocuSign Cert BB73.pdf                  284145      3/11/2022 10:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78937                              Driver License.pdf                      177739       3/8/2022 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78937                              PI Case Docket.pdf                    4614302       3/10/2022 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78937                              Pleadings.pdf                         3010421        3/8/2022 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78937                              Purchase Agreement.pdf               10916381        3/8/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78937                              Searches.pdf                             23752     11/22/2023 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78937                              Settlement Agreement Affidavit.pdf      173034       3/9/2022 22:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78937                              Social Security Card.pdf                189944       3/8/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78937                              Stipulation.pdf                       1559787        3/9/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78937                              UCC Search.pdf                           28230     11/22/2023 14:11



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78937                              USPS Zip Code.pdf                       159853       3/9/2022 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78939                              14B1.pdf                                206260     11/22/2023 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78939                              Application.pdf                          48158       2/1/2022 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78939                              Assignment.pdf                          181582      3/15/2022 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78939                              B2EA.pdf                                192877     11/22/2023 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78939                              Closing Statement 2021 - draft.pdf      102056       3/9/2022 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78939                              Court Order.pdf                       4486348       3/22/2022 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78939                              Credit Report.pdf                        87946     11/22/2023 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78939                              Disclosure Statement.pdf                233731       2/1/2022 14:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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               All Paths/Locations                                Unified Title        File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78939                              Partial AC.pdf                              765878      11/22/2023 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\78939                              Pleadings.pdf                             2694245         3/9/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78939                              POS issuer.pdf                              367453       3/10/2022 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78939                              POS owner.pdf                               294264       3/10/2022 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78939                              POS to seller.pdf                           391972       3/10/2022 14:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78939                              Purchase Agreement.pdf                      428280        3/9/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78939                              Redirection Confirmation New 78939.pdf       56223       5/25/2023 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78939                              SA ARTICLE.pdf                              140256         3/8/2022 9:56
Saiph consulting|\Audit Materials Received-
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11.22.2023\78939                              Searches.pdf                                   8796     11/22/2023 14:12
Saiph consulting|\Audit Materials Received-
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11.22.2023\78939                              SSC.pdf                                   2820014        3/15/2022 10:26



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               All Paths/Locations                              Unified Title                  File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78939                              Stip.pdf                                            568712        3/9/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78939                              TLO Bluegrass Cellular Small Judgment.pdf              2215     11/22/2023 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78939                              TLO Personal Small Judgment less than 1000.pdf         2219     11/22/2023 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78939                              TLO Small Claims Judgment.pdf                          2221     11/22/2023 14:12
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78939                              TLO Small tax lien 247.pdf                             2501     11/22/2023 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78939                              UCC.pdf                                             126018      11/22/2023 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78941                              Amended MD Disclosure.pdf                           156621       3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78941                              Amended NJ Disclosure.pdf                           276361       3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78941                              Annuity Contract.pdf                                192755       3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78941                              Application.pdf                                     665989       3/16/2022 10:46



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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78941                              Authorization to Release.pdf               135644      3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78941                              Canary Living Trust documents.pdf        1938617       3/17/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78941                              Change Confirmation.pdf                    251984      3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78941                              image001.png                                41586
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11.22.2023\78941                              Court Order.pdf                            539879      3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
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11.22.2023\78941                              Credit Report.pdf                          508916      3/16/2022 10:46
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11.22.2023\78941                              Disclosure - MD.pdf                        288058      3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
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11.22.2023\78941                              Disclosure - NJ.pdf                        568854      3/16/2022 10:46
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11.22.2023\78941                              Docusign Certificate 80F.pdf               249966     11/22/2023 14:14
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               All Paths/Locations                              Unified Title                    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78941                              Nedd Closing Binder.pdf                            16702283        3/16/2022 9:18
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11.22.2023\78941                              image001.png                                           41586
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11.22.2023\78941                              Pleadings.pdf                                       3668508       3/16/2022 13:35
Saiph consulting|\Audit Materials Received-
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11.22.2023\78941                              POA.pdf                                               226605      3/16/2022 10:46
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78941                              Prior Court Order and Petition.pdf                    398672      3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78941                              Purchase Agreement.pdf                              1952922       3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78941                              Qualified Assignment.pdf                            1181680       3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78941                              Request for Redirection.pdf                           125488      3/16/2022 13:35
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       RSPA Canary Living Trust to Settlement Servicing
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78941                              RSPA Seneca to Canary Living Trust.pdf              1136076       3/17/2022 12:43



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78941                              Seller Identification.pdf               359535      3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78941                              Social Security Card.pdf                370003      3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78941                              Stipulation fully executed.pdf          352383      3/17/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78941                              Transaction Summary.pdf                  52506      3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78941                              UCC Search.pdf                          173044      3/16/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78942                              Annuity Contract.pdf                    368386       1/11/2022 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78942                              Application.pdf                         374518       2/3/2022 13:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78942                              Assignment Executed.pdf                 101047      3/11/2022 12:32
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78942                              Closing Binder.pdf                    6525530       3/10/2022 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78942                              Closing Statement.pdf                   404346     11/22/2023 14:15



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78942                              Court Order.pdf                        304228       3/8/2022 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78942                              Credit Report.pdf                       23594      2/14/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78942                              Disclosure.pdf                         132601       2/3/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78942                              Order of Approval Settlement.pdf       134747       1/11/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78942                              Pleadings.pdf                        2461967       3/11/2022 15:49
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11.22.2023\78942                              Purchase Agreement.pdf                 710251      3/10/2022 11:13



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               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78942                              Qualified Assignment.pdf               191403        1/11/2022 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78942                              Searches.pdf                              4190     11/22/2023 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78942                              Settlement Agreement.pdf               794537        1/11/2022 9:38
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SuttonPark\Missing Documents
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11.22.2023\78942                              UCC Search.pdf                          47610      11/22/2023 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023\78942                              USPS Zip Code.pdf                      182922       3/10/2022 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78948                              Allstate PPW.pdf                       696939       2/10/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78948                              Application.pdf                        310111       2/10/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78948                              Assignment.pdf                         172640       3/24/2022 14:41



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               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78948                              Closing Binder.pdf                       3863022        3/9/2022 19:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78948                              Court Order.pdf                            528089      3/17/2022 16:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78948                              Credit Report.pdf                           22885      3/10/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78948                              Disclosure Statement.pdf                   104978      2/10/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78948                              DocuSign Cert - C058.pdf                   245765     11/22/2023 14:16
Saiph consulting|\Audit Materials Received-
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11.22.2023\78948                              DocuSign Cert - Closing Statement.pdf      206535     11/22/2023 14:16
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SuttonPark\Missing Documents
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11.22.2023\78948                              pleadings.pdf                            1706855       3/24/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78948                              Proof of SSN - W2.pdf                      487137     11/22/2023 14:15



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78948                              Purchase Agreement.pdf                 442116       3/9/2022 19:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78948                              School ID.pdf                          381551       3/9/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78948                              Searches.pdf                            10431      3/10/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78948                              Settlement Agreement.pdf               291467      3/17/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78948                              Stipulation.pdf                        319039      3/24/2022 12:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78948                              UCC Search.pdf                          61849      3/10/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78953                              Acknowledgement.pdf                     59143     10/18/2022 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78953                              Annuity Contract.pdf                 1604571      11/22/2023 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78953                              Application.pdf                        424893      3/10/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78953                              Berwyn Marlowe.pdf                     111793      3/18/2022 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78953                              Court Order.pdf                        494444      3/15/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78953                              Credit Report.pdf                       20184       3/4/2022 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78953                              Disclosure - GA.pdf                     49850      3/10/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78953                              Docusign Certificate 0AA.pdf           196917     11/22/2023 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78953                              Docusign Certificate AFE.pdf           200043     11/22/2023 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78953                              Drivers License.pdf                    711466      3/10/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78953                              Marlowe Assignment.docx                 16446       3/21/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78953                              Marlowe Closing Binder.pdf           3720075       3/10/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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               All Paths/Locations                              Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78953                              Pleadings.pdf                                1288032       3/10/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\78953                              Purchase Agreement Hold Time.pdf               157381      3/15/2022 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78953                              Purchase Agreement.pdf                         296092      3/10/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78953                              Searches.pdf                                    67676      3/10/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78953                              Social Security Card.pdf                       560095      3/15/2022 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78953                              SS Verification shows person deceased.pdf      107923      3/10/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78953                              UCC Search.pdf                                  33648      3/10/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78954                              Affidavit.pdf                                   57819      3/10/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78954                              Annuity Contract.pdf                            24558      3/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78954                              Application.pdf                              1398511       3/15/2022 16:22



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78954                              Assignment - GP.pdf                    400402      3/22/2022 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78954                              Bankruptcy Search.pdf                   84844      3/10/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78954                              Credit Report.pdf                      876507      3/15/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78954                              Disclosure FL.pdf                       78601      3/10/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78954                              Disclosure NJ.pdf                       85300      3/10/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78954                              Disclosure TX.pdf                       95700      3/10/2022 16:35
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78954                              DocuSign Cert - 5835.pdf                50088      3/10/2022 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78954                              Funding File - GP.pdf                9045650        3/9/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78954                              Identification Card.pdf                 45136      3/10/2022 16:11



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78954                              PI Docket.pdf                                      135964       2/6/2014 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78954                              Pleadings.pdf                                    8079958       3/10/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78954                              Purchase Agreement.pdf                             273915      3/10/2022 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78954                              Searches.pdf                                       132483      3/10/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78954                              Settlement Agreement Affidavit.pdf                  50842      3/10/2022 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78954                              Social Security Card.pdf                           259711      3/10/2022 16:11
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -       78964 Wilson email request for
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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78964                              78964 Wilson Admin check.pdf             428512      3/29/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78964                              Annuity Contract.pdf                     644477      3/10/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78964                              Application.pdf                          208429      3/10/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78964                              Assignment.pdf                         1083967      11/22/2023 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78964                              Closing Binder.pdf                     3170549       3/10/2022 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78964                              Court Order.pdf                          255252      3/25/2022 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78964                              Disclosure - GA.pdf                       94197      3/10/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78964                              Disclosure - TX.pdf                       90806      3/10/2022 15:57



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               All Paths/Locations                                   Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78964                              Drivers License.pdf                              695155      3/10/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78964                              File Stamped Order.pdf                           321968      3/31/2022 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78964                              Purchase Agreement.pdf                           830793      3/10/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78964                              Qualified Assignment.pdf                         334694      3/10/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78964                              Request for Change of Beneficiary.pdf             47785      3/10/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78964                              Request to Release Settlement Documents.pdf       45259      3/10/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78964                              Seller Affidavit.pdf                             149909      3/10/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78964                              Settlement Agreement Affidavit.pdf               114442      3/10/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78964                              Social Security Card.pdf                       1074572       3/10/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78964                              Stip.pdf                                       1524221       3/15/2022 14:45



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78964                              Stipulation.pdf                        465427      3/15/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78965                              Acknowledgment Letter.pdf              169158      3/14/2022 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78965                              Address Search.pdf                      67051      3/17/2022 10:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78965                              Affidavit.pdf                          126056      3/14/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78965                              Annuity Contract.pdf                   138239      12/2/2021 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78965                              Application.pdf                        128331     11/22/2023 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78965                              Assignment.pdf                          87938      3/16/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78965                              Benefits Letter.pdf                    153662       3/14/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78965                              Court Order.pdf                        147661      3/10/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78965                              Credit Report.pdf                       14298       3/7/2022 16:51



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               All Paths/Locations                                Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78965                              Disclosure NE.pdf                           126929       3/14/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78965                              Disclosure TX.pdf                           118235       3/14/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78965                              Identification Card.pdf                   8806436       12/6/2021 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78965                              IPA WAIVER.pdf                               37130      3/14/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78965                              LOD.pdf                                      31509      3/14/2022 12:23
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78965                              Payee Req to Conceal.pdf                     59856       3/14/2022 9:01
Saiph consulting|\Audit Materials Received-
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11.22.2023\78965                              PI Case Docket.pdf                        9161891       12/6/2021 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78965                              Pleadings.pdf                             2609989        3/14/2022 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78965                              Purchase Agreement.pdf                    1404901        3/14/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78965                              Redirection Confirmation New 78965.pdf       87180      7/28/2022 11:49



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78965                              WFB Letter RE-NEW POB.pdf                  558429       3/30/2022 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78965                              Redirection Reconfig SPSS.pdf            1505441       6/27/2022 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       SuttonPark - Corp Resolution 2022 POB
11.22.2023\78965                              789582.pdf                                 980063       3/9/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78965                              Searches.pdf                                23745     11/22/2023 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78965                              SSN Verification.pdf                       102175      12/6/2021 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78965                              UCC.pdf                                     24001     11/22/2023 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78965                              Updated Searches.pdf                        15695     11/22/2023 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78966                              Acknowledgement Letter.pdf                  78228      3/28/2022 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78966                              Acknowledgment 78966.pdf                    88635       4/18/2022 9:41



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78966                              Annuity Contract.pdf                          164033      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78966                              Application.pdf                                87317      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Assignment Genex to Michael and Kelly St
11.22.2023\78966                              Clair.pdf                                      26600      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Assignment Michael and Kelly St Clair to
11.22.2023\78966                              SuttonPark.pdf                                 39100      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78966                              Assignment Stratcap to Genex.pdf               29527      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78966                              Authorization Letter.pdf                       17133      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78966                              Bankruptcy Search.pdf                         386783      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78966                              Benefits Letter.pdf                            37177      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78966                              Change Confirmation.pdf                        85498      3/28/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78966                              Court Order.pdf                                92835      3/16/2022 17:14



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               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78966                              Credit Report.pdf                          159316      3/16/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78966                              Disclosure - IA.pdf                         60303      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78966                              Divorce Docs.pdf                           511708      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78966                              Drivers License.pdf                         40943      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78966                              Paula Hill Closing Binder.pdf            3387702       3/10/2022 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78966                              POA with exhibit.pdf                       123944       3/18/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78966                              Purchase Agreement updated.pdf             971062      3/17/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78966                              Request For Acknowledgement.pdf            112047      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78966                              Request for Change of Address.pdf           32337      3/16/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78966                              Request for Change of Beneficiary.pdf       29415      3/16/2022 17:14



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78966                              Searches.pdf                           340891      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78966                              SSN Verification.pdf                   107833      3/28/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78966                              Transaction Summary.pdf                 47945      3/16/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78966                              UCC Search.pdf                         340891      3/16/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78969                              Affidavit.pdf                        1700362       3/14/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78969                              Annuity Contract.pdf                 5244880       3/14/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78969                              Application.pdf                      1091342      11/22/2023 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78969                              Authorization.pdf                      505877      3/14/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78969                              BK Search.pdf                           63699      3/14/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78969                              Court Order1.PDF                       183606       3/11/2022 8:46



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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78969                              Credit Report.pdf                       183196      3/14/2022 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78969                              Disclosure IL.pdf                       254666      3/14/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023\78969                              Disclosure MD.pdf                       249201      3/14/2022 12:33
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78969                              DocuCert.pdf                            171469      3/11/2022 13:44
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78969                              Driver License.pdf                      739311      3/14/2022 12:35
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78969                              IPA Letter.pdf                        1326953       3/14/2022 12:35
Saiph consulting|\Audit Materials Received-
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11.22.2023\78969                              Pleadings.pdf                        14851431       3/14/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78969                              POD.pdf                                  59447      3/14/2022 12:40
Saiph consulting|\Audit Materials Received-
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11.22.2023\78969                              Purchase Agreement.pdf                2240440       3/14/2022 12:29
Saiph consulting|\Audit Materials Received-
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11.22.2023\78969                              Qualified Assignment.pdf              3968458       3/14/2022 12:38



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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11.22.2023\78969                              Searches.pdf                           482549      3/14/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78969                              Settlement Agreement.pdf             9088381       3/14/2022 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78969                              Simms- Closing Binder.pdf           10500317       3/11/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78969                              SSC.pdf                                402459      3/14/2022 12:35
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78969                              W2.pdf                                 658537      3/14/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78969                              Waiver of Anit-Assignment.pdf          134601      3/14/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78970                              Application.pdf                        612007      1/10/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78970                              AZ Disclosure.pdf                      139365      3/15/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78970                              Benefits Letter.pdf                     28418      3/29/2022 12:28



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78970                              CA Disclosure.pdf                       244294      3/15/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78970                              Closing Binder.pdf                   10639536       3/14/2022 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78970                              Court Order.pdf                         115135       4/7/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78970                              Credit Report.pdf                        28261      1/10/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78970                              GA Disclosure.pdf                       110935      3/15/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78970                              Infant Compromise Order.pdf             291319      12/7/2021 12:48
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78970                              NE Disclosure.pdf                       123331      3/15/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78970                              NY Disclosure.pdf                       153781      3/15/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78970                              Pleadings.pdf                         6580584       3/15/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78970                              Purchase Agreement.pdf                1769019       3/15/2022 15:55



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78970                              Qualified Assignment.pdf                   193954      12/7/2021 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78970                              Searches.pdf                               389088      3/11/2022 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78970                              Seller Affidavit.pdf                       144434      3/15/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78970                              Seller Identification.pdf                  121249      3/15/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78970                              Social Security Card.pdf                   141744      3/15/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78970                              Stipulation.pdf                            445100       4/7/2022 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78970                              USPS Proof of Disclosure Delivery.pdf       97771      3/14/2022 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78971                              Affidavit.pdf                              128186      3/15/2022 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78971                              Annuity Contract.pdf                     1498040       3/15/2022 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78971                              Application.pdf                            135009      3/15/2022 15:36



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               All Paths/Locations                               Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78971                               Assignment Executed.pdf                       243624      3/15/2022 21:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79565 Cowles, Rhonda.tv5                       10445      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79568 Slater, Devondrick.tv5                   10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79571 Gonzalez, Kristen.tv5                    10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79572 Banet, Krissa.tv5                        10206      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79574 Hundley, Shyann.tv5                      15148      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79589 McCline, Amelia.tv5                      10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79593 Brawner, Walter.tv5                      10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79596 Jackson, Charles and Elizabeth.tv5       10034      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79598 Speller-Williams, Nasim.tv5              10469      10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79603 Daniels, Indie.tv5                       10270      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79604 Jasna, Mahaley.tv5                       10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79606 Edwards, Nyasha.tv5                      10263      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79628 Imperatore, Nichole.tv5                  10267      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79644 Mclarty, Gage.tv5                        10142      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79733 Garland, Andrei.tv5                      10019      10/9/2024 17:31


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               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79743 Doran, Raymond.tv5               10451       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79746 Miller, Curtis.tv5               10260       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79757 Labbee, Cecilia.tv5              13390       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79776 Huggins, Melvin.tv5              10588       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79780 Persaud, Lylah.tv5               18758       10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79791 Hosage, Emily.tv5                  9809      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79792 Stuart, Zabrina.tv5              10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79794 Simmons, Kaitlyn.tv5               9989      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79796 Anderson, Dwanna.tv5               9987      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79800 Williams, Dustin.tv5             10778       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79801 Brewer, Kywanna.tv5              10261       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79802 Lynch, Christine.tv5               9987      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79830 White, Jeremy.tv5                10016       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79831 Alford, Christian.tv5            10178       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79836 Jean, Edouard.tv5                10174       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79841 Albrektson, Shannon.tv5          10021       10/9/2024 17:31




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               All Paths/Locations                               Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79845 Grant-Upshaw, Joshua.tv5         10023       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79912 Watkins, Ethan.tv5               10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79917 Williams, Damya.tv5              10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79924 Curry, Daniel.tv5                10145       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79942 Jones, Dahnari.tv5               10143       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          79943 Jones, Darnell.tv5               10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          80236.tv5                              10245       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          80248 Hennessy, Patricia.tv5           10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          80251 Stewart, Shiannek.tv5            10240       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          80267 Shaffer, Cody.tv5                  9984      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          80285 Mitchell, Lindsey.tv5              9990      10/9/2024 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          80289 White, Jeremy.tv5                10014       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          80382 Edwards, Andre.tv5               10525       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          80389 Jackson, Marycatherine.tv5       10404       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          80422 Wilson, Peggy.tv5                10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          80486 Ruiz, Adriana.tv5                  9984      10/9/2024 17:27




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               All Paths/Locations                               Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          80492 Hunter, Jenise.tv5                10142       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          80568 Calhoun, Kiara.tv5                  9985      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          80575 Dvorak, Jared.tv5                   9807      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81335 Burnau-Vaughn, Shyerika.tv5       10341       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81374 Wilson, Jacob.tv5                 10017       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81394 Frato, Deanna-Lea.tv5             10021       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81412 Alford, Christian.tv5             10177       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81413 Swan, Salima.tv5                  10112       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81415 Hill, Michelle.tv5                10143       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81443 Gonzalez, Kristen.tv5             10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81468 Marshall, Sandra.tv5              10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81550 Hall, Deneen.tv5                  10015       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81551 Hernandez, Tristan.tv5              9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81552 James, Wayne.tv5                  47350       10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81553 Turner, Elmer.tv5                   9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81554 Gaitan, Manuel.tv5                11530       10/9/2024 17:38




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               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81555 Koester, Joshua.tv5              10186       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81556 Walker, John.tv5                   9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81557 Perkins, Gary.tv5                  9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81558 Khan, Patricia.tv5               10122       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81559 Highsmith, Gerald.tv5              9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81560 Huegel, Jake.tv5                   9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81561 Liller-Reedy, Lisa.tv5             9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81562 Jackson, Tracie.tv5              10426       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81563 Cal, Ronald.tv5                    9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81564 Scott, Charles.tv5                 9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81565 Baker, Ernest.tv5                  9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81566 Cleghorn, Ernest.tv5             10427       10/9/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81567 Mack, Felicia.tv5                  9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81568 Jenkins, James.tv5                 9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81569 Ligonde, Tania.tv5               10282       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81571 Lucia, Kenneth.tv5                 9996      10/9/2024 17:29




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               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81573 Deloach, Aliyah.tv5              10281       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81574 Zurbriggen, Francis.tv5          10670       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81575 Terry, Willie.tv5                  9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81576 Cortez, Guadalupe.tv5              9996      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81577 Hunt, Tony.tv5                   10240       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81578 Nelson, Jason.tv5                  9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81579 Caastillo, Ralph.tv5             10239       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81580 Harris, Johnny.tv5                 9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81581 Diaz, Angel.tv5                    9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81582 Hills, Shelley.tv5                 9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81583 McCray, David.tv5                10238       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81584 Lee, Ralph.tv5                   12120       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81585 Verastegui, Sahrina.tv5          10188       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81586 Moody, Shawn.tv5                   9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81587 Quintanilla, Patrick.tv5           9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81588 Pucci, Christopher.tv5             9999      10/9/2024 17:29




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81589 Layton, Jeffrey.tv5               9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81590 Smith, Paul.tv5                   9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81591 Casey, Timothy.tv5              10240       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81592 Davis, Regina.tv5               10239       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81593 Best, Brian.tv5                   9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81594 Gray, Tiffany.tv5                 9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81595 Cobb, John.tv5                    9998      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81596 Hinojosa, Silvia.tv5            10239       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81597 Williams, Menyon.tv5              9997      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81598 Bryant, Ronnie.tv5                9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81599 Welch, Brandy.tv5                 9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81600 Green, Yolanda.tv5                9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81601 Bissinger, Zachary.tv5          11047       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81602 Maurice, Bryan.tv5              10240       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81603 Bradley, Jazlyn.tv5             10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81604 Bradley, Martha.tv5             10018       10/9/2024 17:31




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81605 Rodiguez, Tonya.tv5             10018      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81606 Roy, Michael.tv5                10016      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81607 Long, Patrick.tv5               10018      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81608 Richason, Troy.tv5              10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81609 Beaver, Lora.tv5                10017      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81610 Contreras, Melissa.tv5          10149      10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81611 McNeice, William.tv5            10020      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81612 Miller, Mai.tv5                 10015      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81613 Dixon, Angelique.tv5            10262      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81614 Shapiro, Michael.tv5            10021      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81615 Eichenlaub, Floyd.tv5           10022      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81616 Christophe, Mirelene.tv5        10265      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81617 Rave, Niki.tv5                  10256      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81618 Jacobs, Brian.tv5               10260      10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81620 Susralski, Paul.tv5             10019      10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81621 Sauceda, Yolanda.tv5            10021      10/9/2024 17:31




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81622 Williams, Angel.tv5             10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81623 Parker, Michael.tv5             10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81624 Jones, Timisha.tv5              10259       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81625 Ogg, Mitchell.tv5               14007       10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81626 Ogg, Mitchell.tv5               10259       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81627 Stuart, Thomas.tv5              10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81628 Watson, Andy.tv5                10258       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81629 Benjamin, Tamatha.tv5             9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81630 Hebert, Brian.tv5               10258       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81631 Sendejo, April.tv5              10260       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81632 Martinez, Steven.tv5            10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81633 Collier, Donald.tv5             10019       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81634 Robinson, Tyler.tv5             10261       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81635 McKenith, Tyrone.tv5            10262       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81636 Montgomery, Carina.tv5          10023       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81637 Traurig, Christy.tv5            10451       10/9/2024 17:36




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81638 Green, Micah.tv5                10689       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81639 Rice, Josea.tv5                 10016       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81640 Roberts, Jennifer.tv5           10452       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81641 Pearson, Ernest.tv5             10262       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81642 Caruso, Dorothy.tv5               3774      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81643 Tomlinson, Minnie.tv5           10021       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81644 Leach, Jayme.tv5                10016       10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81645 Steward, Jessica.tv5            10021       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81646 Glover, Frankie.tv5             10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81647 Jones, Duvaughn.tv5             10449       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81648 Chavez, Vanessa.tv5               3773      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81649 Symonds, Tera.tv5                 3772      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81650 Hanitz, Keli.tv5                  3560      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81652 Eubanks, Tommie.tv5               3562      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81653 LaHocki, Cody.tv5                 3772      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81654 Egelhoff, Anthony.tv5             3776      10/9/2024 17:23




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               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81655 Campbell, Akeem.tv5                3774      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81656 Stewart, Jhousha.tv5               3563      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81659.tv5                                3758      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81660.tv5                                3759      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81661 Williams, Kaylla.tv5               3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81662 Thibodeaux, Darik.tv5              9999      10/9/2024 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81663 - Maersch, Stephen.tv5             3567      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81664 Sanders, Terrence.tv5              3921      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81665 -Herman, Cheryl.tv5                3759      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81666.tv5                                6244      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81667.tv5                                3760      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81668 Sanchez, Destiny.tv5               3760      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81669 - C. Miller.tv5                    5313      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81670 Oliver, Christopher.tv5            3759      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81671 Willis, Antonio.tv5                3760      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81672 Carpenter, Jeffrey.tv5             3757      10/9/2024 17:22




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81673 Holbrook, Jay.tv5                 3759      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81674 Atwell, Samantha.tv5              3761      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81675 Pool, Rolando.tv5                 3920      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81676 - Keyajah McCall.tv5              3775      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81677 Alvarez, Ernestina.tv5            3759      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81678.tv5                               5198      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81679 Waltz, Brittani.tv5               3759      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81691 Williams, Olivia.tv5              3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81696 - Lisa Carra.tv5                  3751      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81697 Shaheed, Hassan.tv5               4133      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81698 - Hoskins, Aaron.tv5              3679      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81699.tv5                               3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81702.tv5                             10247       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81704.tv5                               3839      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81705.tv5                             10245       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81708.tv5                             16719       10/9/2024 17:39




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81709.tv5                               3756      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81712 Urisrte, Susan.tv5                3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81717.tv5                               3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81719.tv5                             10246       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81721 Broudrick, Chantail.tv5           3780      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81722 Davis, Angela.tv5               10145       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81724 Davis, Angela.tv5               10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81725 Gonzales, George.tv5            10021       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81726 Hamati-Sayegh, John.tv5         10268       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81736 Coberly, Samuel.tv5               3547      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81738 Barkowski, Cynthia.tv5          10239       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81739 Hamilton, Roshaunda.tv5         10672       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81740 Potter, Lamar.tv5                 3758      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81741 Kinert, Carla.tv5                 3548      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81742 Foust, Walter.tv5                 4133      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81746 Hernandez, Gilbert.tv5            3546      10/9/2024 17:22




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81748 Shelton, Kardell.tv5              5371      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81749 Cunningham, Jason.tv5             3758      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81753 Curtis, Stacie.tv5                4038      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81755 Jordan, Eric.tv5                  3760      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81756 Santiago, Christian.tv5         11475       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81758 Armstead, Gregory.tv5             3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81760 Palomo, Alejandro.tv5             3893      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81766 Coleman, Pamela.tv5               3759      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81770 Marshall, Phyllis.tv5             3546      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81771 Senat, Matthew.tv5                3759      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81773 Gorham, Christy.tv5               3759      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81775 Heffelfinger, John.tv5            3545      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81776 Ashford, Sylvia.tv5               3758      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81777 Duncan, Tamara.tv5              10242       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81781 White, Leslie.tv5                 4297      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81783 Thomas, Cedric.tv5                3924      10/9/2024 17:23




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                                       3467



               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81790 Groven, Janet.tv5                 4033      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81791 Holbrook, Jay.tv5                 3759      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81793 Gray, Steven.tv5                10450       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81795 Jones, David.tv5                10448       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81798 Flowers, Tammy.tv5              10451       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81801 Bernal, Roberto.tv5             10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81802 Sims, Tanisha.tv5               10205       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81803 McCain, Alexander.tv5           10455       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81804 Williams, Luther.tv5            10020       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81805 Carpenter, Elsie.tv5            10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81808 Harris, Kassim.tv5              10450       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81814 Vilimek, Erik.tv5               10259       10/9/2024 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81822 Blumberg, David.tv5             10147       10/9/2024 17:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81823 Rowley, Donald.tv5              10018       10/9/2024 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81826 Denico, Nicholas.tv5            10263       10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81828 Jeffery, Joanne.tv5             10017       10/9/2024 17:30




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          81829 Butler, Samantha.tv5            10262      10/9/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          8295 Gunn, Rosie.tv5                  10013      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Actual TV
Files                                          8472 Walton, Nina.tv5                 10015      10/9/2024 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     10735 Sandora, Joseph.xml            171306      10/9/2024 19:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     10766 Pardi, Patrick.xml              89378      10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     13240 Foster, James.xml              339076      10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     17248 Allen, Scott.xml                67812      10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     17284 Thomas, Anita.xml               13225      10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     17471.xml                             46791      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     17473 Thornton, Donald.xml            97556      10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     17916 Flowers, Bobby.xml              83241      10/9/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     18044 Perez, Yobani.xml               87313      10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     18138 Berghman, Earle.xml             33142      10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     18192 Stringfellow, Joseph.xml       111206      10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     18252 Reeves, John.xml                24337      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     18317 Carter, Nathaniel.xml          184484      10/9/2024 19:40




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     18366 Diffenderfer, James.xml         25656      10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     18368 Duncan, Douglas.xml             68726      10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     18431 Tripp, Rosa.xml                 67794      10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     18435 Martin, Tamara.xml             111413      10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     18604 Nelson, John.xml                91437      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     18617 Nelson, John.xml                91463      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     18623 Ozuk, Thomas.xml                71147      10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     18731 Jordan, Clifton.xml            127061      10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     18783 Duke, Russell.xml               56488      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     18803 Brandao, Daniel.xml            136535      10/9/2024 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     18812 Applebee, Thomas.xml           109283      10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     18813 Anderson, Alan.xml             129092      10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     18833 Bizick, Mark.xml               127750      10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     19384 Whitmer, Peter.xml             150201      10/9/2024 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     19391 Newmans. David.xml             109721      10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     19396 Morrison, Justin.xml            20295      10/9/2024 17:40




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     19405 Davis, Jordan.xml               30924       10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     21340 Birge, Rickey.xml               47472       10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     21341 Deala, Tobie.xml                47324       10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     21342 Williams, Jennifer.xml         123106       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     21343 Cole-Angelo, Sara.xml          150211       10/9/2024 19:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     22708 Mobray, Timothy.xml            180276       10/9/2024 19:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     22713 Williams, Patrick.xml             4454      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     22715 Leach, Donald.xml              180544       10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     22717 Shackleford, Arthur.xml        148751       10/9/2024 19:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     23316 Nixon, Rosie.xml                46165       10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     29413 Williams, Edward.xml            60898       10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     29465 Bame, Robert.xml                43376       10/9/2024 18:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     29475 Baker-Puryear, Amanda.xml      181218       10/9/2024 19:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     29656 Britton, Sonya.xml              75908       10/9/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     29663 Batten, Jennifer.xml              2310      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     29699 Westberry, Edward.xml             6431      10/9/2024 17:24




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     29700 Watkins, John.xml                 6431      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     30856 Summerson, Marla.xml           118411       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     31039 St Germain, Sandra.xml          82089       10/9/2024 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     31067 Majesty, Patrick.xml              6460      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     31115 Payne, Kevin.xml               208548       10/9/2024 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     31364 Gutierrez, Brenda.xml          226714       10/9/2024 20:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     31397 Rios, Ernestina.xml             91965       10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     31561 Jeter, Lindsey.xml             155675       10/9/2024 19:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     31762 Kravis, Rebecca.xml            173492       10/9/2024 19:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     33487 Kaufman, John.xml              187700       10/9/2024 19:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     33551 De Los Rios, Humberto.xml      180874       10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     33582 Bilger, Albert.xml             117505       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     33590 Anas, Dawn.xml                 142220       10/9/2024 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     34894 Benbow, Fredrick.xml            83826       10/9/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     34982 Graham, Mary.xml                45267       10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     35021 Foster, Johnny.xml              74278       10/9/2024 18:24




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     35254 Dillard, Tyrone.xml             76926       10/9/2024 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     35314 Belcher, Rodney.xml               9153      10/9/2024 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     35407 Williams, Tyree.xml            107871       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     35493 Harris, Brenda.xml              13983       10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     35499 Paiz, Cruz.xml                  36420       10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     35504 Derryberry, Stanley.xml        123496       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     35526 Nunez, Lidia.xml                86650       10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     35568 Roy, Robert.xml                 72866       10/9/2024 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     35586 Barker, Tracie.xml              26285       10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     35687 Santiago, Lydia.xml             92292       10/9/2024 18:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     35688 Drain, Josephine.xml           107981       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     35898 Williams, Carolyn.xml          110549       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     36116 Lamoreaux, Jon.xml             121087       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     36123 Sanchez, J. Hurtado.xml        121599       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     36973 Vega, Michael.xml                 2963      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     37796 Thompson, Ruth.xml              29706       10/9/2024 17:46




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     3793 Mattingly, David.xml               7797      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     3794 York, Brenda.xml                115314       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     3827 Potter, Feliciano.xml            45281       10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     38923 Godwin, Franklin.xml           158664       10/9/2024 19:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     39017 Parker, David.xml              109255       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     39019 Reda, Carmen.xml               165484       10/9/2024 19:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     39314 Damore, David.xml                 3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     39357 Vice, Michael.xml                 3074      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     39366 Torres, Maria.xml                 7206      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     39398 Czerniawski, Ralph.xml            4437      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     39408 Fabiano, Frances.xml              5813      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     39418 Moss, Olga.xml                    5797      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     39422 Ponzi, Joanne.xml                 5813      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     39424 Bernett, Shaw.xml                 4437      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     39450 Fusco, Jerry.xml                  5813      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     39467 Steadman, Raymond.xml             3061      10/9/2024 17:21




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     39876 Graziano, Michael.xml          203070       10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     39885 Lancaster, Cliff.xml            90478       10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     39891 Reiche, Brent.xml              124263       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     39893 Mason, Yolanda.xml             116326       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     39895 Helmick, Christopher.xml       184599       10/9/2024 19:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     39911 Price, Emick.xml               108502       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     39927 Seube, Charles.xml             108668       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     39938 Gewgory, Hermann.xml           239139       10/9/2024 20:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     43965 Hovatter, Maxine.xml           103697       10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     44090 Buckalew, Shayne.xml           144992       10/9/2024 18:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     44198 Hoffer, Richard.xml             98443       10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     44215 Kennedy, Willa.xml              58250       10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     44248 Jones, Freddie.xml              30285       10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     44281 Gloster, Gretchen.xml           45472       10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     44380 Griffin, Percy.xml              82756       10/9/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     45738 Buckalew, Douglas.xml             5077      10/9/2024 17:23




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     46938 Phillips, Alejandro.xml         29769      10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     46956 Pardi, Patrick.xml              90772      10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     46957 Pardi, Patrick.xml              82524      10/9/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     46968 Barkley, Samuel.xml            129299      10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     46979 Bays, Willard.xml              100192      10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     47010 Garza, Fernando.xml            110599      10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     47046 Stowe, Robert.xml              121736      10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     47090 Jones, John.xml                 82532      10/9/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     47100 Underwood, Jonathan.xml         77264      10/9/2024 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     49022 Bergeron, Sandra.xml            46828      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     49023 Sharp, Jimmie.xml              176935      10/9/2024 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     49025 Harris, Ruth.xml                19449      10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     49028 Miller, Annette.xml            157797      10/9/2024 19:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     49035 Mcilvain, Nelson.xml            47280      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     49036 Mcilvain, Nelson.xml            47240      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     49041 White, Leslie.xml               53738      10/9/2024 18:18




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     49045 Wooten, Dennis.xml             118170       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     49047 Hollinsl, Dawan.xml            276652       10/9/2024 20:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     52879 Acosta, Elvira.xml                3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     52888 Oliver, Miosha.xml                4437      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     52889 Nash, Jacque.xml                  3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     52890 Galloway, James.xml               3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     52891 Coleman, Claude.xml               5826      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     52893 Blades, Brian.xml                 5826      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     52894 Jones, Alphonso.xml               3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     52897 Coyac,Hugo.xml                    5813      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     52898 Farwell, Stephen.xml              3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     52904 Johnson, Miosha.xml               4437      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     52908 Lawhead, Daniel.xml               3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     52912 Osborn, Jack.xml                  2310      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     52913 Brown, Donald.xml                 3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     52925 Bajtarevic, Anel.xml              2310      10/9/2024 17:19




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     52933 Breitbarth, Mary.xml              3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     54533 Reinhardt.xml                  255314       10/9/2024 20:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     56542 Lemon, Willie.xml              161853       10/9/2024 19:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     56580 Gosnell, Darrell.xml           168824       10/9/2024 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     56629 Renish, Michael.xml             91555       10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     56641 Ferrell, Betty.xml              80040       10/9/2024 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     56642 Brown, Marvina.xml             282361       10/9/2024 20:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     56727 Grathwohl, Carla.xml            90936       10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     56758 Graham, Noelani.xml            100320       10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     56770 Bomar, Elizabeth.xml           159703       10/9/2024 19:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     56813 Osborne, Marcia.xml             72503       10/9/2024 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     56846 Cochran, Gernald.xml           168514       10/9/2024 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     56891 Deadwyler, Dwight.xml           99657       10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     56905 Mayo, Michele.xml              105127       10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     56979 Geter, Tammie.xml              118128       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     5943 Butler, Scott.xml                  4437      10/9/2024 17:23




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     5981 Fraga, David.xml                   3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     6038 Butler, Scott.xml                  4437      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     61274 Osborne, Marcia.xml             79678       10/9/2024 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     62133 Hall, Deneen.xml                73647       10/9/2024 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     62481 Thomas, Ina.xml                   3712      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     63558 Ramey, Daniel.xml              179745       10/9/2024 19:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64043 Brown, Caitlin.xml                7189      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64177 Boyd, Kevin.xml                 91495       10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64190 Benton, Pamela.xml              82536       10/9/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64204 Smith, Robert.xml               91463       10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64208 Teal, Jacqueline.xml           147540       10/9/2024 19:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64245 Hankins, Sandra.xml            153744       10/9/2024 19:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64272 Topij, Walter.xml               57555       10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64296 Clemens, Christopher.xml       179092       10/9/2024 19:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64299 Kennedy, Sharon.xml            135330       10/9/2024 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64309 Tramontana, Mary.xml           125653       10/9/2024 18:36




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64331 Daugherty, Allan.xml           242453      10/9/2024 20:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64343 Myreholt, Michael.xml           97754      10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64351 Starr, Ernest.xml              135215      10/9/2024 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64371 Sotello, Robert.xml            101664      10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64377 Repko, Jerry.xml                90956      10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64379 Kreamer, Rebecca.xml            82440      10/9/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64382 Antley, Francis.xml             90944      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64384 Jackson, Curtis.xml            112756      10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64396 Villasenor, Octavia.xml         64720      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64401 Agathluk, Simeon.xml           136137      10/9/2024 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64402 Smith, Keith.xml               136517      10/9/2024 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64449 Jackson, Aaliyah.xml           121555      10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64557 Dennis, Duane.xml               92118      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64624 Whitaker, Maris.xml             23587      10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64719 Boudreau, Steven.xml            68035      10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64730 Wilson, Larry.xml               85496      10/9/2024 18:28




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               All Paths/Locations                               Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64738 Ries, Dragos.xml                 157882       10/9/2024 19:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64761 Jackson, Larry.xml                  9194      10/9/2024 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64766 Leizear-Lanman, Kathryn.xml       61603       10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64767 Hicks, Darnell.xml                91617       10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64770 Elliot, Robert.xml                40642       10/9/2024 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64784 Floyd, Janice.xml                 92134       10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64800.xml                              180463       10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64818 Gibson, James.xml                 37985       10/9/2024 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64866 Atkins, Arwanna.xml               91375       10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64868 Schleyhahn, Paul.xml                2963      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64869 Abert, Robert.xml                 65383       10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64870 Piontek, Christina.xml           136529       10/9/2024 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64871 Voss, Robert.xml                 180487       10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64873 Gamble, Glenzina.xml             153626       10/9/2024 19:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64878 Hecke, Michael.xml                83812       10/9/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64880 Lewelling, Bennie.xml            179522       10/9/2024 19:36




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64891 Smith, Daile.xml                81675      10/9/2024 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64897 Willis, Omeekah.xml            114769      10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64899 Garvey, Earl.xml                47577      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64900 Jaquez, Cody.xml                47741      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64901 Garcia, Ernesto.xml             65413      10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64904 Close, Tina.xml                 98361      10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64906 Collins, Joshua.xml            135922      10/9/2024 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64918 Savage, Tanya.xml              114547      10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64924 Lopez, Rebecca.xml             177916      10/9/2024 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64930 Arellano, Jose.xml             179712      10/9/2024 19:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64933 Nary, Walter.xml               118737      10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64938 Witko, Christopher.xml         306304      10/9/2024 20:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64939 Blowers, Michael.xml            47817      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64940 McIntire, Michelle.xml          92287      10/9/2024 18:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64941 Hall, Richard.xml              142949      10/9/2024 18:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64945 Migot, Joshua.xml               67209      10/9/2024 18:21




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64946 Walls, Roy.xml                 100869      10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64950 Mendez, Jovita.xml              92154      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64951 Shelton, Christopher.xml       180444      10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64952 Carpenter, Marvin.xml           80169      10/9/2024 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64954 Carver, Vernon.xml             135910      10/9/2024 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64958 Haqq, Ameen.xml                 44736      10/9/2024 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64959 Ward, Patricia.xml              47519      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64960 Edwards, Jujuan.xml             74244      10/9/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64962 Infiesta, Robert.xml           136567      10/9/2024 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64966 Scott, Tarell.xml              109930      10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64968 Lowerre, Franklin.xml          235827      10/9/2024 20:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64969 Franklin, Lu.xml               136625      10/9/2024 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64970 Pyles, Thomas.xml              146115      10/9/2024 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64971 Jordan, Christopher.xml         75001      10/9/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64974 Stabler, Wilmer.xml             74308      10/9/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64975 Whitten, Lori.xml               74256      10/9/2024 18:24




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               All Paths/Locations                               Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64978 Allen, Anthony.xml                80447      10/9/2024 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64982 Jones, Johnny.xml                 92012      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64983 Gerstenlauer, Christine.xml      136599      10/9/2024 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64984 Jamieson, Robert.xml              80030      10/9/2024 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64989 Lamb, Bonny.xml                   18820      10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     64994 Bowden, Trhave.xml               135967      10/9/2024 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     65008 Maxwell, Walter.xml              180571      10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     65009 Fields, Tommie.xml                62555      10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     65012 Cox, Stacy.xml                    98325      10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     65019 Connor, Lorri.xml                135332      10/9/2024 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     65024 Grissom, Joshua.xml               47527      10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     65027 Wilcox, Joseph.xml               109962      10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     65029 Mitchell, Joan.xml               136583      10/9/2024 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     65033 Jimenez, Heriberto.xml            90991      10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     65039 Woods, Edgar.xml                 195452      10/9/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     65047 Faircloth, Danielle.xml          229824      10/9/2024 20:03




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     65052 Henderson, Bettie.xml           88515       10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     65055 Burrell, Rogelio.xml            65369       10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     65292 Harris, Michael.xml             85889       10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     65360 Broglin, Barry.xml             130182       10/9/2024 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     65497 Busby, Isaac.xml               102997       10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     65671 Kirby, Jeremiah.xml             41183       10/9/2024 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     65695 Pouncy, Quajena.xml            164784       10/9/2024 19:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     65786 Laccetti, Vanessa.xml          114074       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     65917 Alvarado, Iveet.xml            177847       10/9/2024 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     65998 Etchen, Carole.xml              32987       10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     66001 Furedi, Mark.xml                  4437      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     66004 Anderson, Patricia.xml          87608       10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     66021 Zheng, Yi.xml                   16218       10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     66187 Figueroa, Kassandra.xml        109966       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     66232 Sherman, Kendre.xml            137104       10/9/2024 18:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     67348 Cain, Emory.xml                   9139      10/9/2024 17:26




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     67542 Berg, Samuel.xml               212611       10/9/2024 19:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     67577 Lozano, Michael.xml               3751      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     69608 Timms, Charles.xml                4433      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     69673 Green, LaSha.xml                80621       10/9/2024 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     69730 Briseno, Michael.xml              4458      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     70237 Maldonado, Beatrice.xml         80485       10/9/2024 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     70240 Collins, William.xml            55709       10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     70363 Drawhorn, Evette.xml           376330       10/9/2024 20:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     70416 Shaw, Leslie.xml                18923       10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     70423 Mendez, Edgar.xml               98996       10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     70424 Cooper, Sheila.xml             109101       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     7050 Green, Diane.xml                164456       10/9/2024 19:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     70506 McKeon, Robert.xml              10635       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     70536 Taylor, Tim.xml                   9860      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     70537 Taylor, Larry.xml                 9860      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     70538 Taylor, Jerry.xml                 9860      10/9/2024 17:27




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               All Paths/Locations                                Unified Title       File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     70539 Jacobs, Kathy.xml                      9860      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     70577 Coulon, Jackie.xml                   79351       10/9/2024 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     70582 Belanger, Thomas.xml                 13237       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     70604 Cohen, Jeffrey.xml                  139313       10/9/2024 18:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     70772 Pouncy, Quajena.xml                 180826       10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     7079 Ivory, Ronald.xml                    146093       10/9/2024 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     70843 Reid, Kevin.xml                     110509       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     7085 Gates, Aaron.xml                      47470       10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     70893 Garcia, Maria.xml                   200102       10/9/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     70934 Hamrick, Janiece.xml                220132       10/9/2024 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     70988 Gerst, Amy.xml                      161962       10/9/2024 19:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71038 McAfee, Savana.xml                     3751      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71044 Harris, Ashley.xml                     2963      10/9/2024 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71049 Verkleeren, Caitlin.xml              29019       10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted   71077 Huizar, Gloria and Ruiz, Marco
TVal Files                                     JUDGEMENT.xml                                3035      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71089 Farrell, Joel.xml                    96390       10/9/2024 18:32




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71091 Collier, Juwan.xml              52083       10/9/2024 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71104 Allen III, Michael.xml            4446      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71115 Bryant, Richard.xml             51414       10/9/2024 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71127 Stokes, Sylvia.xml                3035      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71138 Payne, Michael.xml             181220       10/9/2024 19:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71181 Mendez, Gilberto.xml           161127       10/9/2024 19:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71216 Jackson, Najarian.xml           43507       10/9/2024 18:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71217 Best, Eric.xml                 233674       10/9/2024 20:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71232 Glendenning, Heather.xml        34363       10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71234 Manning, Carnesha.xml          226535       10/9/2024 20:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71274 Morgan, Donovan.xml            215934       10/9/2024 19:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71284 Harrison, Jazmine.xml           76535       10/9/2024 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71368 Maxwell, Tequill.xml           151665       10/9/2024 19:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     7137 Tidey, David.xml                 95721       10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71387 Foster, Arla.xml                  3074      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71398 Delavega, Emilio.xml           160021       10/9/2024 19:18




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71400 Berry, Naomi.xml                95808       10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71401 Biscardi, Sharon.xml            82444       10/9/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71422 Garcia, Emmanuel.xml              7198      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     7145 Muncy, Shawn.xml                330335       10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71466 Santos, Roberto.xml               5842      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71467 Johnson,Lisa.xml               119556       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     7156 Moore, Charles.xml              216985       10/9/2024 19:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71564 Johnson, Brian.xml              84178       10/9/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71565 Grffin, Susan.xml               85909       10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71573 Cooper, Vachannoncon.xml       225803       10/9/2024 20:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71574 Kornegay, Larry.xml            181252       10/9/2024 19:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71579 Jackson, Lynette.xml           472157       10/9/2024 20:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71586 Wise, Laura.xml                147637       10/9/2024 19:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71680 Hines, Courtney.xml            186314       10/9/2024 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71728 Rivera, Miguel.xml              65716       10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71738 Griffith, Shornnel.xml         182962       10/9/2024 19:39




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               All Paths/Locations                               Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71768 Brown, Darien.xml               136699      10/9/2024 18:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71816 Myers, Stacy.xml                163056      10/9/2024 19:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71887 Finley, Frederick.xml           105862      10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71888 Finley, Frederick.xml           105862      10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71900 Finley, Frederick.xml           106111      10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71913 Gaza, Norma.xml                  72535      10/9/2024 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71916 Martin, Robert.xml               91631      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71926 Maxwell, Misty.xml               31303      10/9/2024 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71943 Locklear, Natalie.xml            46904      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71944 Locklear, Natalie.xml           215248      10/9/2024 19:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71947 Zamboli, Alana.xml              237364      10/9/2024 20:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71960 Floyd, Janice.xml                92152      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71963 Madison, Conner.xml             109978      10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71966 Swanson, Timothy.xml             81386      10/9/2024 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71968 Garza, Norma (Revised).xml      108072      10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71968 Gaza, Norma.xml                 108751      10/9/2024 18:34




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     71999 Nipper, Clarence.xml           211965       10/9/2024 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72018 Palmer, Jamelia.xml            288429       10/9/2024 20:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72021 Jacobs, Sanquia.xml            168636       10/9/2024 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72044 Kizer, Nichelle.xml            188787       10/9/2024 19:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72199 Doyle, Lawrence.xml            252258       10/9/2024 20:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72270 Wheeler, Rebecca.xml              5100      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72273 Cigarroa, Daniel.xml           181483       10/9/2024 19:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72619 Andrews, Precious.xml          190702       10/9/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72620 Andrews, Precious.xml          190798       10/9/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72624 Gardner, Kerri.xml             136059       10/9/2024 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72655 Auilina, Susan.xml             116634       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72793 Lee, Tommy.xml                  95026       10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72802 Pierce, Paul.xml                71140       10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72805 Smith, Brian.xml                  3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72810 Brown, Tawanda.xml                3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72838 Corbett, Cindy.xml             159757       10/9/2024 19:16




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72894 Miles, Georgia.xml                3074      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72901 Cotriche, Emilio.xml            91453       10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72943 Chrys, Chrys.xml                  3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72948 White, Marquita.xml             92124       10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72950 Mckenna, Scott.xml             104276       10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72956 Carter, Kimberly.xml           110619       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72959 Ruiz, Sergio.xml                48453       10/9/2024 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72967 Teundria, Kelley.xml           136595       10/9/2024 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72974 Chapman, Nanigue.xml           260678       10/9/2024 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     72986 Hall, Marva.xml                 28336       10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     73027 Sykes, Breanna.xml             215205       10/9/2024 19:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     73040 Scheff, Desarie.xml             91589       10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     73068 Simas, Ricardo.xml                5123      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     73091 Jones, Dahnari.xml                5813      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     73092 Jones, Darnell.xml              12698       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     73134 Zolna, Joseph.xml                 4437      10/9/2024 17:23




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     73135 Darby, Rosanne.xml             187355       10/9/2024 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     73136 Darby, Rosanne.xml             186678       10/9/2024 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     73145 Robinson, Jay.xml               52631       10/9/2024 18:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     73146 Jones, Melvin.xml              259582       10/9/2024 20:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     73153 Guffey, Jacob.xml              107647       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     73154 Guffey, Jacob.xml               64734       10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     73155 Kowalsky, Jason.xml               3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74208 Campos, Rmiro.xml              182596       10/9/2024 19:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74228 Merrill, Barbara.xml            88893       10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74243 Constantino, Enrique.xml        80305       10/9/2024 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74251 King, Gayle.xml                270549       10/9/2024 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74253 Stuckey, Corey.xml                7852      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74257 Draper, Kenneth.xml               4437      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74261 Marenkovic, Diane.xml           29117       10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74300 Olivares, Martha.xml           121431       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74302 Freeman, David.xml             105736       10/9/2024 18:33




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74305 Kendall, Benjamin.xml           12722       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74339 Willette, Charles.xml          135343       10/9/2024 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74351 Getchel, Jesse.xml             179793       10/9/2024 19:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74365 McQueen, Roy.xml                  9155      10/9/2024 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74387 Sparks, Joseph.xml                3751      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74408 Newingham, Nicole.xml           29931       10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74409 Sattam, Jason.xml               11317       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74417 Baltrip, Ravella.xml            90253       10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74434 Jackson, Al.xml                 65036       10/9/2024 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74435 Alston, Brian.xml              134588       10/9/2024 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74438 Jones, Krystal.xml              98956       10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74450 Edick, Zachary.xml              52097       10/9/2024 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74454 Campofiori, Jared.xml          170981       10/9/2024 19:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74455 Rocker, Jacob.xml                 3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74461 Felipe, Gladys.xml             148188       10/9/2024 19:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74474 Jacobs, Bellina.xml            167923       10/9/2024 19:25




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               All Paths/Locations                               Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74475 Hammond, Michelle.xml              83730       10/9/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74490 Heinitz, Jason.xml                128345       10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74531 Hammond, Michelle.xml              80509       10/9/2024 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74542 Green, Dayshawn.xml                  7202      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74559 Brown, Madison.xml                101125       10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74560 Smith, Joel.xml                   129543       10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74589 Jacobs, Jason.xml                  45912       10/9/2024 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74590 Williams-Gilmore, Mychal.xml       56331       10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74604 Posada-Estrada, Patricia.xml         7206      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     74607 Lindo, Oral.xml                      7202      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     75643 Houck, Christopher.xml               4437      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     76113 Springfield, Christopher.xml       12714       10/9/2024 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     76130 Sarappa, Austin.xml                  7206      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     76132 Aviles, Victor.xml                   7218      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     76134 Booth, Serenity.xml                  5826      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     76138 Nino, Maria.xml                   184695       10/9/2024 19:40




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78144 Sewalish, Anthony.xml             4402      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78146 Mobley, Ladarius.xml           131147       10/9/2024 18:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78153 Andresen, Robert.xml              3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78155 Lugo, David.xml                   3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78164 Sarzynski, Patience.xml           3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78166 Norton, Benjamin.xml              7206      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78171 Grissom, Dajyne.xml               5112      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78198 Luis, Sergio.xml                  3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78207 Denzer, Brandi.xml                7114      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78208 Denzer, Brandi.xml             179516       10/9/2024 19:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78218 Ziegler, Kenseth.xml              4446      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78228 Aviles, Edgar.xml              236140       10/9/2024 20:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78235 Staker, Trae.xml                  3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78249 Nugent, Jaleel.xml             136024       10/9/2024 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78250 Reese, Tina.xml                 77609       10/9/2024 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78252 Cambridge, Rita.xml               3061      10/9/2024 17:21




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78262 Schottler, Vincent.xml          15345      10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78270 Lewis, Satira.xml               46428      10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78271 Smith, Ladonna.xml              78432      10/9/2024 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78272 Dent, Delnice.xml               76393      10/9/2024 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78274 Doran, Raymond.xml              82935      10/9/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78275 Boyer, Ladonna.xml             127771      10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78276 Evenou, Kersty.xml             188793      10/9/2024 19:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78277 Reyes, Richard.xml             134683      10/9/2024 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78278 Villafane, Mark.xml             91211      10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78279 Daivd, Patrick.xml              55449      10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78280 Rainey, Vernedia.xml           136419      10/9/2024 18:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78281 Broudrick, Chantail.xml         69753      10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78282 Gonzales, David.xml             69247      10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78283 Essang, Ini.xml                 81865      10/9/2024 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78284 Dontje, Judith.xml              50514      10/9/2024 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78285 Decker, Denise.xml             180405      10/9/2024 19:37




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78286 Mcdougall, Brittany.xml         90788       10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78287 Page, Asaad.xml                 61552       10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78288 Cortorreal, Elizabeth.xml      179875       10/9/2024 19:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78295 Moxham, Richard.xml             88865       10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78296 Harris, Marissa.xml             46791       10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78305 Corbett, Cindy.xml             163493       10/9/2024 19:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78321 Mcinturff, Emily.xml            16008       10/9/2024 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78323 Marquez, Felicia.xml           225148       10/9/2024 20:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78344 Garcia , Isaac.xml                3074      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78345 Corkill, Pamela.xml            126318       10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78348 Marquez, Felicia.xml              4458      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78357 Robinson, Rachel.xml           102321       10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78361 Drew, Stephen.xml               90221       10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78363 Hunt, Alexandria.xml              5112      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78382 Broadnax, Kiontra.xml          137467       10/9/2024 18:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78383 Overton, Kerby.xml              39957       10/9/2024 18:01




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               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78384 Overton, Kerby.xml               61283       10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78397 Caldero, Jose.xml                  4458      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78405 Adams, Kadeem.xml                  5822      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78408 Shiflett, Lisa.xml              105253       10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78416 Valadez, Hector.xml             264620       10/9/2024 20:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78422 Ocampo, Luis.xml                   3074      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78430 Freeman, Victor.xml                3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78438 Poah, Leon.xml                   23762       10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78439 Gabaldon, Robert.xml               5813      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78440 Darner, Brett.xml                  3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78450 Porsch, Erich.xml                85612       10/9/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78451 Brown, Latasha.xml              179134       10/9/2024 19:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78465 Rebollar, Flocelo.xml              3074      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78472 Gracia, Peter.xml                  3074      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78479 Brown-Street, Jordyn.xml        180946       10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78480 Brown-Street, Jordyn.xml        180850       10/9/2024 19:37




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               All Paths/Locations                               Unified Title           File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78490 Chancellor, Bryan.xml                   55739       10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78492 Zapata, Frank.xml                      177149       10/9/2024 19:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78493 Paquette, Monique.xml                     3074      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78495 Thibodeau, Roger.xml                    34373       10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78496 Stormoen, Sheldon.xml                  118196       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78497 McDonald, Tracy.xml                     81108       10/9/2024 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78500 Stillman, Alan.xml                      10529       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78513 Caldero, Jose.xml                         3751      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78514 De Giuseppe, Anthony.xml               132443       10/9/2024 18:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78515 Chaffe, Dakota.xml                        8602      10/9/2024 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78520 Carranza-Castellanos, Richard.xml         2310      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78531 Cook-Bey, Jasmine.xml                     3074      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78534 Smith, Joel.xml                        125888       10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78548 Dagenhart, Catherine.xml               105143       10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78549 Davis, Nathan.xml                      223612       10/9/2024 20:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78557 Wilson, Teresa.xml                      25259       10/9/2024 17:42




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78569 Moore-Pineda, Evernie.xml      193729       10/9/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78577 De Jesus, Ramon.xml            107096       10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78582 Scott-Wright, Kalin.xml        119308       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78595 Rodgers, Misty.xml             254649       10/9/2024 20:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78663 Hopkins, Bernell.xml            97642       10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78664 Stehli, Jonathan.xml            11346       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78666 James, Diantis.xml             136014       10/9/2024 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78667 Reed, Michael.xml               28336       10/9/2024 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78669 Martin, Fallon.xml             169163       10/9/2024 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78670 Dixon, Julia.xml               224339       10/9/2024 20:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78674 Osterlund, Sofia.xml            93376       10/9/2024 18:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78679 Comer, Daniel.xml                 5805      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78682 Washington, Markita.xml           3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78685 Davis, Lyric.xml                  3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78686 Harvey, Anthony.xml            125876       10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78699 Robinson, Deborah.xml          109307       10/9/2024 18:34




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               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78700 Martinez, Melissa.xml           135442       10/9/2024 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78711 Kennedy, Mary.xml                30381       10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78712 Green, Raymir.xml                  4437      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78720 Howell, Christina.xml              5813      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78721 Howell, Christina.xml              7198      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78722 Mcpherson, Darwin.xml            23766       10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78723 Faust, Billie.xml               242745       10/9/2024 20:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78728 Griffith, Shornnel.xml          271883       10/9/2024 20:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78729 Montalvo, Mark.xml              261480       10/9/2024 20:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78733 Chenevert, Anthony.xml             4454      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78734 Shelby, Alexzandrea.xml            9966      10/9/2024 17:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78737 Swims, Dana.xml                  29729       10/9/2024 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78738 Delgado, Jose.xml               251964       10/9/2024 20:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78740 Samuel, Shera.xml               290726       10/9/2024 20:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78741 Busby, Shaun.xml                290726       10/9/2024 20:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78743 Cutting, George.xml                8578      10/9/2024 17:25




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78744 Dennis, Kai.xml                 61229       10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78745 Dennis, Kai.xml                195685       10/9/2024 19:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78749 Haynes, Caprice.xml               3074      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78752 Hughs, Stephen.xml              64359       10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78768 Williams, Lakesha.xml           23561       10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78771 Dennis, Duane.xml              109241       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78773 Johnson, Courtney.xml          111264       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78798 Crary, John.xml                169551       10/9/2024 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78813 Terry, Taureana.xml               3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78815 Downey, Joshua.xml             249951       10/9/2024 20:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78826 Smith, Joel.xml                129146       10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78827 Kirk, Benquarrius.xml           47292       10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78831 Garrison-Bey, Shante.xml          4433      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78833 Ervin, Derick.xml              202674       10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78836 Kuper, Rebecca.xml              30267       10/9/2024 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78838 Newingham, Nicole.xml           29138       10/9/2024 17:45




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78839 Grinnan, Gordon.xml            254918       10/9/2024 20:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78839-UPDATED.xml                    237727       10/9/2024 20:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78842 Sanders III, Walter.xml         46555       10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78843 Anderson, Natasha.xml             3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78848 Neal, Eunice.xml               106677       10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78856 Whitehead, Richard.xml          17485       10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78859 Cotrichie, Emilio.xml          127212       10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78862 Dudczak, Jeremy.xml             36534       10/9/2024 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78864 Griffith, Shornnel.xml          91978       10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78865 Wilbourn, D'Erica.xml             3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78866 Cannuscio, Eugenio.xml            3074      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78867 Felts, Terry.xml               128542       10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78868 Reynolds, Jonathan.xml          46207       10/9/2024 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78880 Browder, Stephen.xml            63676       10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78881 Albino, Regina.xml             123160       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78884 Jackson, Keiran.xml               8565      10/9/2024 17:25




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78888 Freedman, Peter.xml               4437      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78889 Holland, Katie.xml             180495       10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78891 Rosales, Angelica.xml           30634       10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78897 McKinley, Walter.xml            59184       10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78903 Catino, Sara.xml                31122       10/9/2024 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78905 McGrowder, Kacie.xml           235411       10/9/2024 20:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78906 McGrowder, Kacie.xml           235411       10/9/2024 20:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78907 Gonzalez, Jennifer.xml            5826      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78909 Ford, Kayrian.xml              180954       10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78910 Sexton, Johanna.xml             57922       10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78911 Mowles, Linda.xml               26195       10/9/2024 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78912 Mowles, Linda.xml              179807       10/9/2024 19:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78915 Taylor, Mark.xml               161319       10/9/2024 19:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78916 Pierce, Paul.xml               181482       10/9/2024 19:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78917 Howard, Melissa.xml             22864       10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78918 Butler, Aaron.xml                 9911      10/9/2024 17:27




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               All Paths/Locations                              Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78919 Truett, Jamie.xml              71923       10/9/2024 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78921 Imperatore, Nichole.xml       136505       10/9/2024 18:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78922 Ybarra, Elodia.xml            215379       10/9/2024 19:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78923 Ybarra, Elodia.xml             82113       10/9/2024 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78924 Keough, Lisa.xml                 5805      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78925 Durham, Kathy.xml                5805      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78926 Shumaker, Michael.xml            5805      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78927 Sbitnev, Aleksandr.xml        132523       10/9/2024 18:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78928 Sutherland, Dustin.xml           4437      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78929 Sutherland, Dustin.xml           4437      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78930 Merrick, Jason.xml               8541      10/9/2024 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78934 Hanson-Gentry, Jaisa.xml      107919       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78935 Clark, Denise.xml             180704       10/9/2024 19:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78936 Mann, Tameka.xml              254565       10/9/2024 20:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78937 Mitchell, Samida.xml          266254       10/9/2024 20:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78939 Higgins, Quinton.xml           40526       10/9/2024 18:02




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78942 Hunt, Kyla.xml                    3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78943 Sunday, John.xml                74614       10/9/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78946 Rodriguez, Mia.xml              89919       10/9/2024 18:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78948 Black, Jaderious.xml              5750      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78953 Marlowe, Lorenzo.xml           332709       10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78954 Imperatore, Nichole.xml         62713       10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78958 Peterson, Christina.xml        179522       10/9/2024 19:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78964 Wilson, Joyce.xml                 3751      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78965 Brooker, Alton.xml             267973       10/9/2024 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78966 Hill, Paula.xml                 91706       10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78968 Williamson, Thomas.xml         165357       10/9/2024 19:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78969 Simms, Jalin.xml                77993       10/9/2024 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78970 Campbell, Thomique.xml         269697       10/9/2024 20:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78971 Kincaid, Brenda.xml               9224      10/9/2024 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78974 Willhite, Tyler.xml               2310      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78976 Wilson, Thomas.xml              92258       10/9/2024 18:30




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               All Paths/Locations                              Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78977 Wilson, Thomas.xml               92214       10/9/2024 18:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78980 Beridon, Shawn.xml                 3755      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78981 Ankner, Robert.xml              139375       10/9/2024 18:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78982 Perez, Christopher.xml             3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78983 Palomo, Francisca.xml           140040       10/9/2024 18:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78991 King, Hassan.xml                 10659       10/9/2024 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78995 Burrell, Matthew.xml               6519      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78996 Swimm-Simmons, Braidon.xml       18137       10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78997 Cuiksa, Jason.xml               208017       10/9/2024 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78998 Cuiksa, Jason.xml               169347       10/9/2024 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     78999 Mcleod, Patricia.xml               5822      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79002 Myers, Mary.xml                  34481       10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79003 Oates, Iyan.xml                 214851       10/9/2024 19:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79004 Madrid, Karina.xml               77631       10/9/2024 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79005 Madrid, Karina.xml               78700       10/9/2024 18:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79007 Martinez, Miguel.xml               6503      10/9/2024 17:24




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               All Paths/Locations                               Unified Title     File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79015 Thompson, Sky.xml                 91305       10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79016 Houston-Jones, Kylan.xml            4458      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79031 Oja, Stuart.xml                  139267       10/9/2024 18:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79048 Butler, Angela.xml                  8580      10/9/2024 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79049 Williams, Tyler.xml              108739       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79050 Williams, Tyler.xml              162113       10/9/2024 19:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79051 Pena, Francisco.xml               56032       10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79053 Vice, Michael.xml                   3074      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79054 Garcia-Rossal, Siliezar.xml       61161       10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79055 Castello, Luis.xml                  3751      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79056 Hill, Taylor.xml                  74060       10/9/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79058 Simon, Eunice.xml                   3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79059 Overvides, Kaleb.xml                6511      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79061 Faye, Dianah.xml                 364085       10/9/2024 20:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79062 Griffith, Shornnel.xml           181685       10/9/2024 19:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79068 Nafa, Mahmoud.xml                 12718       10/9/2024 17:38




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79069 Roper, Jeremiah.xml             18780       10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79070 Smith, Jordan.xml              185989       10/9/2024 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79071 Smith, Jordan.xml                 4437      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79072 Thompson, Matthew.xml          107819       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79073 Weathers, Frank.xml            136325       10/9/2024 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79087 Geiger, Jah-mal.xml             73891       10/9/2024 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79088 Lenz, Brittany.xml              35036       10/9/2024 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79089 Martinez, Cheyanna.xml         121029       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79090 Floyd, Dalton.xml                 2310      10/9/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79091 Daniels, Hannibal.xml          220793       10/9/2024 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79092 Hinkle, Anna.xml                10566       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79093 Hemphill, Lamont.xml            99100       10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79094 Litwin, Thomas.xml              47318       10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79095 Knudsen, Jessica.xml           102840       10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79096 Livas, Milton.xml               85368       10/9/2024 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79097 Rodriguez, Arturo.xml          239017       10/9/2024 20:06




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               All Paths/Locations                               Unified Title    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79098 Bonds, Zakery.xml               122811       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79101 Wagoner, Matthew.xml            102395       10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79102 Fashaw, Alexandra.xml           176041       10/9/2024 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79103 Beckles, Terri.xml               99002       10/9/2024 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79104 Bowersox, Jacqueline.xml        106467       10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79105 Samuel, Denzel.xml              132592       10/9/2024 18:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79106 Wilbanks, Daniel.xml             75239       10/9/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79107 Green-Nealy, Shalaunda.xml       91475       10/9/2024 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79109 Flores, Sylvia.xml              116836       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79110 Nold, Mathew.xml                203082       10/9/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79111 Roberts, Ember.xml                 9212      10/9/2024 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79112 Holguin, Rolando.xml               3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79113 Jameson, Alexis.xml                5797      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79114 Moreno, Eloisa.xml                 3048      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79115 Mclean, Kyle.xml                 51408       10/9/2024 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79116 Stephen III, Edward.xml          34377       10/9/2024 17:55




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               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79117 Wyniemko, Kenneth.xml           18027       10/9/2024 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79118 Brewster, Philip.xml              4446      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79120 Colburn, Gloria.xml               3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79121 Eaglesmith, Jaylyn.xml            3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79122 Ciprian, Cyrrus.xml               3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79123 Kimbro, Deltrin.xml             70466       10/9/2024 18:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79125 Salinas, Kiana.xml                3074      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79127 Espinoza, Brandon.xml             3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79128 Garcia, Lex.xml                   3740      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79129 Keyes, Preston.xml                3740      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79130 O'Donnell, Kelly.xml              3755      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79131 Walker, Christopher.xml           5112      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79132 Kephart, Rhiannon.xml          227821       10/9/2024 20:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79133 Williams, Marcus.xml           358763       10/9/2024 20:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79134 Markwell, Desiree.xml             5813      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79136 Canterbury, Ashley.xml         105890       10/9/2024 18:33




                                                             2869
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                                       3467



               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79137 Dove, Cameron.xml                 3074      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79138 Stovall, Jamal.xml              55476       10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79140 Jimenez, Hector.xml               3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79141 Miller, Lukas.xml                 5822      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79142 Murray, Jeffrey.xml               3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79143 Edwards, Thomas.xml               3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79145 Harris, Vincent.xml               3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79146 Griffin, William.xml              3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79149 Smith, Alfonzo.xml                6488      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79150 Jackson, Aaron.xml                3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79151 Alvarado, Jordan.xml              3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79152 Beasley, Barbara.xml            73226       10/9/2024 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79153 Farrell, Austin.xml               3751      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79154 Raja, Samar.xml                   5135      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79155 Ellison, Desmond.xml            43800       10/9/2024 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79156 Saccente, Ariana.xml              7879      10/9/2024 17:24




                                                              2870
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                                       3467



               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79157 Ludeman, Kristy.xml               3751      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79158 Berneau, Dillon.xml               3751      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79159 Johns, Lejaya.xml                 3751      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79160 Lee, Alexis.xml                   3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79161 Dees, Merileigh.xml            314962       10/9/2024 20:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79162 Cherry, Joseph.xml                3751      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79163 Dell, Chassidy.xml                3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79165 Murata, Danielle.xml            73505       10/9/2024 18:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79166 Hance, Chastity.xml             33105       10/9/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79168 Canada, Brandy.xml                3751      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79170 Meche, Shon.xml                   3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79172 Mcphatter, Taalib.xml             3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79173 Moberly, Landon.xml               5108      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79174 Argall, Daniel.xml                3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79175 Contreras, David.xml            10612       10/9/2024 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79176 Edwaldo, Lebron.xml               3751      10/9/2024 17:22




                                                             2871
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                                       3467



               All Paths/Locations                               Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79177 Sabin, Kayla.xml                  3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79178 Ames, Kandace.xml                 3061      10/9/2024 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79179 Cobbs, Samone.xml                 9271      10/9/2024 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79180 Wise, Jenna.xml                   3751      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79181 Johnson, Kennedy.xml              6488      10/9/2024 17:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79182 Johnikin, Jalen.xml               3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79184 Schier, Robert.xml             118273       10/9/2024 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79185 Ama, Evangalynn.xml               5112      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79186 Cartwright, Dana.xml              4437      10/9/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79189 Perez, Carlos.xml                 3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79191 Johnson, Zachery.xml              3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79192 Rosenbaum, Jamie.xml           100448       10/9/2024 18:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79197 Huttenga, Billie.xml           128303       10/9/2024 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79200 Lindner, Anthony.xml              3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79201 Carson, Charles-Monte.xml       74128       10/9/2024 18:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79202 Dent-Howell, Ebony.xml            5135      10/9/2024 17:23




                                                             2872
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                                       3467



               All Paths/Locations                                  Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79205 Basinger, Robert.xml              112106       10/9/2024 18:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79206 Bair, Stephen.xml                  20815       10/9/2024 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79211 Fick, Travis.xml                     3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79214 Ramos, Shawn.xml                   56844       10/9/2024 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79225 Pointer, Tishay.xml                  3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79228 Ellison, Devin (REVISED).xml         3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79228 Ellison, Devin.xml                 64413       10/9/2024 18:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79234 Wilkinson, Douglas.xml             47523       10/9/2024 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\Converted
TVal Files                                     79256 Clausen-Laws, Raymond.xml            3736      10/9/2024 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78971                               Authorization Release Info.pdf           98320       3/15/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78971                               Bankruptcy Search.pdf                   565146       3/15/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78971                               Change Beneficiary.pdf                   79928       3/15/2022 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78971                               Closing Binder.pdf                   18206384        3/11/2022 14:47




                                                              2873
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                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78971                              Court order.pdf                         472027      3/14/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78971                              Credit Report.pdf                       625182      3/16/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78971                              Disclosure IN.pdf                       105920      3/15/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78971                              DocuSign Cert 16E7.pdf                   83639      3/15/2022 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78971                              DocuSign Cert 52CF.pdf                   84094      3/15/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78971                              Driver License.pdf                    1475014       3/15/2022 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78971                              IPA.pdf                                  57080      3/15/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78971                              Obituary.pdf                          3332574       3/15/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78971                              Pleadings.pdf                        15333341       3/15/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78971                              Purchase Agreement.pdf                  349364      3/15/2022 15:24



                                                              2874
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                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78971                              Searches.pdf                           781171      3/15/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78971                              Settlement Agreement.pdf               755065      3/15/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78971                              Social Security Card.pdf             2618832       3/16/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78971                              Stipulation Executed.pdf               483227      3/16/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78971                              USPS Zip Code.pdf                       65904      3/15/2022 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78976                              Annuity Contract SGQ000037055.pdf      528875      3/17/2022 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78976                              Application.pdf                         46317      3/17/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78976                              Assignment.pdf                         168695      3/23/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78976                              Corrected Purchase Agreement.pdf       404470      3/22/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78976                              Court Order.pdf                        286709      3/22/2022 15:43



                                                             2875
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                                       3467



               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78976                              Credit Report.pdf                                  17723      3/11/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78976                              Disclosure - OH.pdf                                93771      3/17/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78976                              Docusign Certificate 112.pdf                      196478     11/22/2023 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78976                              Docusign Certificate 1943.pdf                     204907     11/22/2023 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78976                              Docusign Certificate A87.pdf                      207301     11/22/2023 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Order Approving Settlement of Wrongful Death
11.22.2023\78976                              Claim.pdf                                         117008      3/17/2022 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78976                              Pleadings.pdf                                   1289591       3/17/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78976                              Purchase Agreement.pdf                            312713      3/17/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78976                              Qualified Assignment SGQ000037055.pdf             514475      3/17/2022 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78976                              Release and Settlement Agreement.pdf              851228      3/17/2022 16:57



                                                              2876
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                                       3467



               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78976                              Searches.pdf                             80085      3/17/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78976                              Seller Identification.pdf               126944      3/17/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78976                              Social Security Card.pdf                782559      3/22/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78976                              Stipulation.pdf                         874600      3/22/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78976                              Wilson Closing Binder.pdf             7276278       3/17/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78977                              Annuity Contract.pdf                    701746      1/19/2022 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78977                              Application.pdf                         122944      3/17/2022 16:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78977                              Assignment Executed.pdf                 112008      3/23/2022 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78977                              Closing Binder.pdf                    4811094       3/17/2022 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78977                              Closing Statement.pdf                   423647     11/22/2023 14:26



                                                                2877
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                                       3467



               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78977                              Court Order.pdf                        284647     11/22/2023 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78977                              Credit Report.pdf                       17723      3/11/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78977                              Disclosure.pdf                         239285      3/17/2022 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78977                              DocuSign Cert 112A.pdf                 196478     11/22/2023 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78977                              DocuSign Cert 143A.pdf                 203884     11/22/2023 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78977                              DocuSign Cert DAE9.pdf                 196636     11/22/2023 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78977                              ID.pdf                               2001302       3/17/2022 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78977                              Pleadings.pdf                        1284890       3/17/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78977                              Purchase Agreement Wilson.pdf          501770      3/22/2022 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78977                              Qualified Assignment.pdf               631237      1/19/2022 13:08



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               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78977                              Searches.pdf                              4421     11/22/2023 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78977                              Settlement Agreement.pdf             1535955        1/19/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78977                              Social Security Card.pdf             1516881        3/22/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78977                              Stipulation.pdf                        874600       3/22/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78980                              Application.pdf                         39567       11/8/2021 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78980                              Assignment.pdf                         148891        3/28/2022 8:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78980                              Authorization.pdf                       23407       11/8/2021 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78980                              Benefits Letter.pdf                    176872      11/23/2021 10:12



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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78980                              CA Declaration.pdf                              107127       12/13/2021 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78980                              certificate.pdf                                 192930      11/22/2023 14:27
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78980                              Court Order.pdf                                 126435       3/15/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78980                              Disclosure CA - Corrected.pdf                   320440      11/22/2023 14:27
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78980                              Disclosure Statement.pdf                         94102      11/22/2023 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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11.22.2023\78980                              Email from protective regarding issuer.pdf      191760        3/23/2022 9:44
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78980                              Pleadings.pdf                                    2113186         3/23/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78980                              Policy Info.pdf                                    254025        11/9/2021 9:23
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78980                              Purchase Agreement.pdf                             278566        3/16/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78980                              Searches - Updated.pdf                                9841       3/23/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78980                              SSC.pdf                                            333898      11/22/2023 14:27
Saiph consulting|\Audit Materials Received-
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11.22.2023\78980                              Stip - missing issuer and owner signature.pdf      269276       3/23/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78980                              UCC.pdf                                             48330      11/22/2023 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78980                              Updated Credit Report.pdf                           40806      11/22/2023 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78980                              Wrongful Death - Memorial Article.pdf              511276      11/18/2021 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78982                              Application.pdf                                    183624       3/16/2022 15:34



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               All Paths/Locations                                 Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78982                              Assignment Agreement Executed.pdf            23032      3/18/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78982                              Benefit Letter.pdf                           73062      3/16/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78982                              Certification of Christopher Perez.pdf       89876      3/16/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78982                              Closing Binder.pdf                       10581602       3/14/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78982                              Closing Statement Executed.pdf              395221     11/22/2023 14:28
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78982                              Court Order.pdf                           3924860       3/14/2022 13:37
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78982                              Credit Report.pdf                           104876      3/16/2022 15:56
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78982                              Disclosure IL.pdf                            41686      3/16/2022 15:38
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78982                              Disclosure NE.pdf                            41801      3/16/2022 15:43
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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11.22.2023\78982                              Disclosure NY.pdf                        51831      3/16/2022 15:36
Saiph consulting|\Audit Materials Received-
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11.22.2023\78982                              DocuSign Cert 8A71.pdf                  201059     11/22/2023 14:28
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78982                              Driver License.pdf                    2309395       3/16/2022 15:33
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\78982                              Infant Compromise Order.pdf             222909      3/16/2022 15:55
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78982                              NASP.pdf                                 78978      3/16/2022 16:16
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78982                              Pleadings.pdf                         5271305       3/16/2022 16:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78982                              Purchase Agreement Perez.pdf            315118       3/30/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78982                              Searches.pdf                             57706      3/16/2022 15:57



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78982                              SSN Verification.pdf                     64720      3/30/2022 10:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\78982                              Stipulation Executed.pdf                726439      3/16/2022 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78982                              UCC Search.pdf                           51422      3/16/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78982                              ZIP Code USPS.pdf                        66800      3/16/2022 16:53
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78991                              Application.pdf                         138715     11/22/2023 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78991                              Approval from Settling Court.pdf         82146      3/11/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78991                              Assignment Executed.pdf                  39518     11/22/2023 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78991                              Bankruptcy Search.pdf                   240173      3/18/2022 18:28
Saiph consulting|\Audit Materials Received-
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11.22.2023\78991                              Benefits Letter.pdf                      18333     11/22/2023 14:28
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78991                              Closing Binder.pdf                    6312832       3/18/2022 18:01



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78991                              Closing Statement.pdf                    27096      3/17/2022 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023\78991                              Court Order.PDF                         163252      3/16/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78991                              Credit Report.pdf                        33421      3/18/2022 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78991                              Declaration.pdf                         166730      3/18/2022 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78991                              Purchase Agreement.pdf                 698538      3/18/2022 18:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78991                              Revised Closing Statement.pdf          406763     11/22/2023 14:29
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78991                              Social Security Card.pdf               505827      3/18/2022 18:27
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78991                              ZIP Code USPS.pdf                       67040      3/21/2022 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78995                              Affidavit in Lieu of SA.pdf            327775      3/15/2022 17:22
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78995                              Affidavit.pdf                          438227      3/15/2022 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78995                              Application.pdf                        284894      3/15/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78995                              Assignment.pdf                         164599      3/22/2022 10:38



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78995                              Bankruptcy Search.pdf                    85619      3/16/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78995                              Benefits Letter.pdf                      18209     11/22/2023 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78995                              Closing Binder.pdf                   22168716       3/15/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78995                              Court Order.pdf                         179856      3/21/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78995                              Credit Report.pdf                        33995      3/15/2022 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78995                              Disclosure MI.pdf                       340850      3/15/2022 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78995                              Disclosure TX.pdf                       342693      3/15/2022 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78995                              DocuSign Cert - PA Docs.pdf             246714     11/22/2023 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78995                              PI Docket.pdf                           273288      3/15/2022 15:50



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               All Paths/Locations                                Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78995                              Pleadings.pdf                         10819505       3/15/2022 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78995                              Proof of Disc Delivery.pdf               283960      3/15/2022 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78995                              Disclosure MI - MATTHEW BURRELL.pdf       74032      2/16/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78995                              Purchase Agreement.pdf                 4894034       3/16/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78995                              Searches.pdf                             291991      3/15/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78995                              Seller Identification.pdf              2095298       3/15/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78995                              Social Security Card.pdf               2644086       3/15/2022 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78995                              Stipulation.pdf                          409357      3/21/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78996                              14cf.pdf                                 192295     11/22/2023 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78996                              Application.pdf                          45004       1/28/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78996                              Assignment.pdf                           93885       3/23/2022 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78996                              B7A1.pdf                                195941      11/22/2023 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78996                              Benefits Letter.pdf                      17859      11/22/2023 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78996                              Court Order.pdf                         119348       3/15/2022 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78996                              Credit Report.pdf                        35187        2/4/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78996                              Disclosure IN.pdf                       122492       1/28/2022 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78996                              Disclosure Statement.pdf                112687       3/16/2022 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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               All Paths/Locations                                Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78996                              PI Search - no results.pdf             154526       3/23/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78996                              Pleadings.pdf                        6749298        3/16/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78996                              pos.pdf                              2219222        2/25/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78996                              Purchase Agreement.pdf                 443949       3/16/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78996                              SAR info.pdf                            70340       3/23/2022 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78996                              Searches.pdf                              7766     11/22/2023 14:31
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78999                              Affidavit.pdf                          106453       3/29/2022 15:39



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78999                              Application.pdf                         159281      3/29/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78999                              Assignment Executed.pdf                 907085       4/5/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78999                              Bankruptcies Search.pdf                  64570      3/29/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78999                              Benefit letter.pdf                    1000300       3/29/2022 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78999                              Closing Binder.pdf                    8250256       3/28/2022 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78999                              Court Order.pdf                       4523303        3/30/2022 9:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78999                              Credit Report.pdf                        65054      3/29/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78999                              Disclosure CO.pdf                       110370      3/29/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78999                              Disclosure FL.pdf                        90469      3/29/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78999                              DocuSign Cert 745A.pdf                   62968      3/29/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78999                              DocuSign Cert EA3F.pdf                   62050      3/29/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78999                              Driver License.pdf                       68515      3/29/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78999                              Pleadings.pdf                         1242155       3/29/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78999                              Prior Order.pdf                         112234      3/29/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78999                              Purchase Agreement.pdf                  499482      3/29/2022 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78999                              Searches.pdf                             62388      3/29/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78999                              Settlement Agreement.PDF                130688      3/28/2017 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78999                              Social Security Card.pdf                120698      3/29/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78999                              ZIP Code USPS.pdf                       67148      3/29/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79002                              Acknowledgement Letter.pdf              30960      3/18/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79002                              Application.pdf                         93863       3/18/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79002                              Assignment Genex to Morse IRA.pdf       20801       3/18/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79002                              Assignment Genex to Sutton.pdf          50980       3/18/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79002                              Assignment Morse IRA to Genex.pdf    1617029        3/18/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79002                              Assignment StratCap to Genex.pdf        89774       3/18/2022 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79002                              Authorization.pdf                       43193       3/18/2022 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79002                              Benefits.pdf                            41848       3/18/2022 9:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79002                              COB Request.pdf                         43324       3/18/2022 9:42



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               All Paths/Locations                                 Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79002                              Court Order.pdf                                      187666       3/18/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79002                              Death Cert.pdf                                     2032624        3/18/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79002                              Disclosure TX.pdf                                    105893       3/18/2022 9:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79002                              Driver License.pdf                                   154020       3/18/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79002                              IPA.pdf                                               64781       3/18/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79002                              Myers Funding Package - Morse.pdf                  3376926       3/15/2022 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Order Granting Letters of Admin and Appoiniting
11.22.2023\79002                              Admin.pdf                                            101144       3/18/2022 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79002                              Purchase Agreement Goldstar to Genex.pdf           4173569        3/18/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79002                              Purchase Agreement.pdf                               613122       3/18/2022 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79002                              Req for Ack.pdf                                       42226       3/18/2022 9:35



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79002                              Searches.pdf                            459211       3/18/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79002                              Security Title letter.pdf                42216       3/18/2022 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79002                              Transaction Summary.pdf                  77014       3/18/2022 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79003                              Application.pdf                         270234       3/16/2022 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79003                              Bankruptcy Search.pdf                   124335       3/18/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79003                              Benefits Letter.pdf                      20735       3/16/2022 9:58
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79003                              Closing Binder.pdf                   17262720        3/18/2022 9:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79003                              Court Order.pdf                         305430      3/25/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79003                              Credit Report.pdf                        30971       3/16/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79003                              IPA Letter.pdf                            935397      3/25/2022 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79003                              NC Disclosure.pdf                         581725      3/18/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79003                              NY Disclosure.pdf                         238423      3/18/2022 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79003                              Pleadings.pdf                           7029475       3/18/2022 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79003                              Proof of Disclosure Delivery.pdf          660973       3/18/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79003                              Proof of Residence.pdf                    163525       3/18/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79003                              Purchase Agreement.pdf                  5274587       3/18/2022 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79003                              Searches.pdf                              286699       3/16/2022 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79003                              Seller Affidavit.pdf                      551913      3/18/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023\79003                              Seller Identification.pdf                 862612      3/28/2022 15:36



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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79003                              Settlement Agreement Affidavit.pdf      293997      3/18/2022 10:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79003                              Settlement Research.pdf               3989995       3/18/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79003                              Social Security Card.pdf                740280       3/18/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79003                              Stipulation.pdf                         556960      3/25/2022 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79003                              TX Disclosure.pdf                       519579      3/18/2022 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79007                              Acknowledgment.pdf                      529890      4/15/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79007                              Annuity Contract.pdf                    570608      3/30/2022 15:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79007                              Application.pdf                         207980      3/17/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79007                              Assignment Agreement.pdf                 50271      3/30/2022 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79007                              Benefits Letter.pdf                      48741      3/30/2022 15:04



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               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79007                              Court Order.pdf                         1167283        3/30/2022 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79007                              Disclosure - IA.pdf                       263292      3/17/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79007                              Disclosure - TX.pdf                       185402      3/17/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79007                              Disclosure Affidavit.pdf                  228749      3/17/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79007                              Judgment.pdf                              170507      3/17/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79007                              Pleadings.pdf                          16302686       3/17/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79007                              Purchase Agreement.pdf                    814859      3/17/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79007                              Qualified Assignment.pdf                  350135      3/30/2022 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79007                              Searches.pdf                               17342      3/17/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79007                              Seller Affidavit.pdf                      266574      3/17/2022 17:54



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79007                              Seller Identification.pdf              131376      3/17/2022 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79007                              Stipulation.pdf                        503500       3/30/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79007                              Tovar Assignment.docx                   16634      3/30/2022 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79007                              Tovar Closing Binder.pdf            18489648       3/17/2022 17:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79049                              AL Disclosure.pdf                      131553      3/23/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79049                              Amended Court Order.pdf                166851      3/29/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79049                              Amended Disclosure AL.pdf              132174       3/24/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79049                              Amended Disclosure IL.pdf              132758       3/24/2022 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79049                              Amended Purchase Agreement.pdf         200789       3/24/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79049                              Application.pdf                        659951      3/23/2022 16:01



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79049                              Assignment Agreement GTD.pdf               130760      3/29/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79049                              Court Order.pdf                            133212      3/23/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79049                              Credit Report.pdf                           57392      3/23/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79049                              Disclosure Affidavit.pdf                   138706      3/23/2022 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79049                              Docusign Certificate 17D.pdf               321757     11/22/2023 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79049                              Docusign Certificate 259.pdf               316495     11/22/2023 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79049                              Drivers License.pdf                      2199072       3/29/2022 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79049                              IL Disclosure.pdf                          132110      3/23/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79049                              Partial Annuity Contract 90751533.pdf    1020396       3/25/2022 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79049                              PI Case Docket Sheet.pdf                    70395      3/29/2022 13:44



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               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79049                              Pleadings.pdf                          19403627        3/31/2022 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79049                              Purchase Agreement.pdf                    281873      3/23/2022 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79049                              Searches.pdf                               98435      3/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79049                              Seller Affidavit.pdf                      156997      3/23/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79049                              Spousal Consent Signed Spouse.pdf         534793      3/29/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79049                              SS Card.pdf                                65460      3/29/2022 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79049                              Stipulation.pdf                         2792750       3/29/2022 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79049                              Williams Closing Binder.pdf            20639749       3/22/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79054                              Application.pdf                           192152       2/7/2022 10:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79054                              Assignment Executed.pdf                   171530      3/28/2022 14:34



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               All Paths/Locations                                 Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79054                              Benefits Letter.pdf                            626480      7/29/2019 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79054                              Child Support.pdf                            1319077       3/23/2022 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79054                              Closing Binder.pdf                          18458171       3/28/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79054                              Closing Statement.pdf                          409991     11/22/2023 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79054                              Corrected disclosure statement signed.pdf      130573     11/22/2023 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79054                              Court Order.pdf                              2335421       3/24/2022 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79054                              Credit Report.pdf                               14156     11/22/2023 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79054                              Divorce Decree.pdf                           2483037       6/28/2019 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79054                              DocuSign Cert F8D6.pdf                         211754     11/22/2023 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79054                              Garcia passport.pdf                            130535     11/22/2023 14:38



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               All Paths/Locations                                Unified Title        File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79054                              Midland Finance Assignment.pdf               74133        2/7/2022 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79054                              Pleadings.pdf                             3354047        3/23/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79054                              Purchase Agreement.pdf                    1002043        3/23/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79054                              Qualified Assignment.pdf                    367876      11/22/2023 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79054                              Redirection Confirmation New 79054.pdf      234946       5/27/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79054                              Searches.pdf                                   7550      3/14/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79054                              Settlement Agreement.pdf                  9585704        7/29/2019 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79054                              SS Proof.pdf                              1467163        3/28/2022 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79054                              Stipulation.pdf                             782435       3/28/2022 14:22
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79054                              UCC Search.pdf                               48296      11/22/2023 14:38



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79054                              ZIP Code USPS.pdf                        65627      3/23/2022 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Amended Declaration.pdf                 334681      3/22/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Amended Disclosure - FL.pdf             522571      3/22/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Amended Purchase Agreement.pdf        1957806       3/22/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Annuity Contract.pdf                    794392      3/24/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Application.pdf                         214023      3/22/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Assignment.pdf                          111245     11/22/2023 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Bankruptcy search.pdf                   350097      3/23/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Closing Binder.pdf                   11588240       3/18/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Court Order.pdf                       2006743       3/22/2022 11:02



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Credit Report.pdf                        32475      3/23/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Declaration.pdf                          59927      3/22/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Disclosure FL.pdf                        78020      3/22/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Driver License.pdf                      375431      3/22/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              IPA Letter.pdf                           95415      3/22/2022 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Pleadings.pdf                         3748289       3/22/2022 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Purchase Agreement.pdf                  498348      3/22/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Request for Acknowledgment.pdf          296617      3/23/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Searches.pdf                            643344      3/23/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Settlement Agreement - Partial.pdf    1445277       3/24/2022 11:41



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Settlement Docs.pdf                  1441583      11/22/2023 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Social Security Card.pdf               495132      3/23/2022 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Stip - Missing SP.pdf                1637708       3/22/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Zoho Cert - 8SUQ.pdf                    93747      1/11/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Zoho Cert - DH9E.pdf                   149185      3/22/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Zoho Cert - DX9S.pdf                   104388      3/22/2022 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Zoho Cert - FCGU.pdf                    88925      3/22/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Zoho Cert - GLDC.pdf                    93591       1/1/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Zoho Cert - SSC0.pdf                    88754      3/22/2022 11:28



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Zoho Cert - YAGA.pdf                    86728      3/22/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79055                              Zoho Cert - YXFO.pdf                    89952      3/22/2022 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              1C68.pdf                               195424     11/22/2023 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              AC.pdf                                 491621     11/30/2021 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              Address search.pdf                      68721      3/30/2022 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              Affidavit.pdf                          666426      12/9/2021 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              Application.pdf                         45593      12/9/2021 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              Assignment.pdf                         169876     11/22/2023 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              certificate.pdf                        216488     11/22/2023 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              Credit Report.pdf                       11617     11/22/2023 14:41



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               All Paths/Locations                              Unified Title                   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              D184.pdf                                             204216     11/22/2023 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              DF64.pdf                                             228129     11/22/2023 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              Disclosure Statement.pdf                             116380      12/9/2021 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              Email from Issuer regarding Stip.pdf                 167419       3/31/2022 8:53
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Email on circuit courts the petition and CO was
11.22.2023\79056                              filed in.pdf                                         245949      3/30/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              2022CA000029.docx                                     43132      3/30/2022 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              Filed Court Order.pdf                                646352      3/23/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              Inmate Population Information Detail.pdf             184846      3/30/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              OASM.pdf                                             250645     11/30/2021 10:39
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              Power of Attorney.pdf                   61227     11/22/2023 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              Proof of SSN.pdf                        68721      3/30/2022 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              Purchase Agreement.pdf                 232494      3/22/2022 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              QA.pdf                                 299478     11/30/2021 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              Ratification of contract.pdf           177525     12/29/2021 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              Robin Pippin ID.pdf                    246059      2/25/2022 12:48
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              Searches Hill.pdf                       10180     11/22/2023 14:41
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              Searches.pdf                            14918     11/22/2023 14:41
Saiph consulting|\Audit Materials Received-
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11.22.2023\79056                              Stip missing Hill signature.pdf      4840947       3/30/2022 15:43



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              Taylor Hill ID.pdf                      206581      2/25/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              UCC Taylor.pdf                           48419     11/22/2023 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79056                              UCC.pdf                                  47843     11/22/2023 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79058                              Annuity Contract.pdf                  4400896       3/23/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79058                              Application.pdf                          46012      1/20/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79058                              Assignment Executed.pdf                  83091      3/29/2022 12:46
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79058                              Benefit Letter.pdf                    1244125       3/23/2022 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79058                              Closing Binder.pdf                   38973169       3/24/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79058                              Closing Statement Notarized.pdf         298458      3/31/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79058                              Closing Statement.pdf                   423082     11/22/2023 14:42



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79058                              Court Order.pdf                        319078     11/22/2023 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79058                              Credit Report.pdf                       57504      3/16/2022 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79058                              Disclosure AL.pdf                      122525      1/20/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79058                              DocuSign Cert 3181.pdf                 192672     11/22/2023 14:42
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79058                              Driver License AL.pdf                2956686        3/28/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79058                              Notice of Virtual Hearing.pdf           48507      3/21/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79058                              Pleadings.pdf                        2117050        3/28/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79058                              Purchase Agreement.pdf                 331332      3/24/2022 12:45



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               All Paths/Locations                                Unified Title        File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79058                              Redirection Confirmation New 79058.pdf       82255       7/25/2022 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79058                              Redirection Reconfiguration 79058.pdf     2654714        7/20/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79058                              WFB Letter RE-NEW POB.pdf                   558429        3/30/2022 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79058                              Redirection Reconfig SPSS.pdf             1505441        6/27/2022 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       SuttonPark - Corp Resolution 2022 POB
11.22.2023\79058                              789582.pdf                                  980063        3/9/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79058                              Searches.pdf                                   7154     11/22/2023 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79058                              Settlement Agreement.pdf                  5282461       12/29/2020 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79058                              SS Card.pdf                                 326528        1/28/2021 3:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79058                              UCC Search.pdf                               48485      11/22/2023 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79058                              ZIP Code USPS.pdf                            65244       3/24/2022 13:15



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79059                              Acknowledgment.pdf                        52557       4/26/2022 5:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79059                              Affidavit in Lieu of SA.pdf              109745      3/22/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79059                              Affidavit.pdf                            149374      3/22/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79059                              Application.pdf                          120813      3/21/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79059                              Assignment.pdf                           216712     11/22/2023 14:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79059                              Bankruptcy Search.pdf                     77956      3/22/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79059                              Benefits letter.pdf                       47108      3/21/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79059                              Closing Binder.pdf                     5934615       3/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79059                              Court Order.pdf                          463562      3/28/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79059                              Credit Report.pdf                         33373      3/21/2022 12:39



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               All Paths/Locations                                 Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79059                              Disclosure NE.pdf                         120869      3/22/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79059                              Disclosure OR.pdf                         157261      3/22/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79059                              Driver License.pdf                         41596      3/28/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79059                              Pleadings.pdf                           3430602       3/22/2022 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79059                              Proof of Disc Delivery.pdf                270147      3/22/2022 13:53
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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11.22.2023\79059                              Purchase Agreement.pdf                  1235330       3/22/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79059                              Searches.pdf                              306153      3/22/2022 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79059                              Settlement Agreement and Release.pdf      237243      3/21/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79059                              Social Security Card.pdf                   43444      3/28/2022 15:35



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79061                              Acknowledgment.pdf                     176124        4/5/2022 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79061                              Annuity Contract.pdf                   585304      3/22/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79061                              Application.pdf                        116154      3/22/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79061                              Assignment.pdf                       1112416      11/22/2023 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79061                              Benefits Letter.pdf                     35474      3/22/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79061                              Closing Book - Rev. 03.21.22.pdf    18498947       3/21/2022 16:04
Saiph consulting|\Audit Materials Received-
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11.22.2023\79061                              Amended FIled Application.pdf        2211345
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79061                              Amended Notice of Hearing.pdf          186072
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79061                              Court Order.pdf                      2195290       3/22/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79061                              Credit Report.pdf                      171565      3/22/2022 17:12



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79061                              Disclosure NE.pdf                        60324      3/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79061                              Disclosure OK.pdf                        79408      3/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79061                              DocuSign Cert C402.pdf                   84008      3/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79061                              Driver License.pdf                       47494      3/22/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79061                              Pleadings.pdf                        13728191       3/22/2022 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79061                              Amended FIled Application.pdf         2211345
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79061                              Amended Notice of Hearing.pdf           186072
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79061                              Purchase Agreement.pdf                  427311      3/22/2022 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79061                              Qualified Assignment.pdf                294400      3/22/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79061                              Searches.pdf                            126639      3/22/2022 16:34



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               All Paths/Locations                              Unified Title        File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79061                              Settlement Agreement.pdf                  426566       3/22/2022 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79061                              Social Security Card.pdf                   50581       3/22/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79061                              Statement in Support.pdf                  137343       3/22/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79069                              Acknowledgment.pdf                         61093       5/13/2022 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79069                              Annuity Contract.pdf                      377858       5/13/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79069                              Application.pdf                            40076       3/24/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79069                              Assignment.pdf                            167414       5/18/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Confirmation of Due Date and Payment
11.22.2023\79069                              Availability.pdf                          208461       3/24/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79069                              image002.png                               16117
Saiph consulting|\Audit Materials Received-
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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79069                              Court Order.pdf                      1408949       5/13/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79069                              Credit Report.pdf                       28727      3/16/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79069                              Disclosure - TN.pdf                    156281      3/24/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79069                              Divorce Decree.pdf                     498349      5/18/2022 16:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79069                              Docusign Cert EE9.pdf                  207640     11/22/2023 14:46
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79069                              Drivers License.pdf                    123654      3/24/2022 17:12
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\79069                              Pleadings incomplete.pdf               921275      3/24/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79069                              Purchase Agreement Hold Time.pdf       341023      5/18/2022 16:04



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               All Paths/Locations                                   Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79069                              Purchase Agreement.pdf                    363340       3/24/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79069                              Qualified Assignment.pdf                  228042       5/13/2022 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79069                              Roper Assignment.docx                      16352       5/13/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79069                              Roper Closing Binder.pdf                2411737        3/24/2022 16:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79069                              image002.png                               16117
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79069                              image003.png                                 4751
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SuttonPark\Missing Documents
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11.22.2023\79069                              Searches.pdf                               88744       3/24/2022 17:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79069                              Seller Affidavit.pdf                      111875       5/13/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79069                              SSN Verification.pdf                      107231       5/18/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79069                              UCC Search.pdf                          1083047        3/24/2022 17:12



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               All Paths/Locations                                 Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79070                              Affidavit.pdf                                168552       3/1/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79070                              Annuity Contract.pdf                         265582      3/14/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79070                              Application.pdf                              221380       3/1/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79070                              Court Order.pdf                            3702052       3/30/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79070                              Credit Report.pdf                            264430      3/21/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79070                              Disclosure Affidavit.pdf                      58065       3/1/2022 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79070                              Disclosure AZ.pdf                          1164763       3/23/2022 12:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79070                              Driver License.pdf                           924235      3/11/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79070                              OAS.pdf                                      192563      3/23/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Order from settling court consenting to
11.22.2023\79070                              transfer.pdf                                  69494      8/16/2022 11:17



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               All Paths/Locations                               Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79070                              Order Terminating Conservatorship.pdf      803024      3/23/2022 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79070                              Payee Declaration.pdf                      192811       3/1/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79070                              Pleadings.pdf                            2991804       3/23/2022 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79070                              POS to issuer and owner.pdf              2803317       3/23/2022 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79070                              JS NOH & COS.pdf                           125705       3/9/2022 17:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79070                              JS AFCAOTSS conf copy.pdf                  937163       3/9/2022 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79070                              SmithJ EXH A-F.pdf                       1917785        3/8/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79070                              Purchase Agreement.pdf                   7994941       3/23/2022 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79070                              Searches.pdf                             1398162       3/21/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79070                              Settlement Agreement.pdf                   364306      3/14/2022 12:01



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79070                              Social Security Card.pdf              1101324       3/22/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79070                              Stipulation Executed.pdf                839621      3/31/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79070                              Transferee Declaration.pdf               28831       3/1/2022 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79071                              Affidavit.pdf                           168552       3/1/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79071                              Annuity Contract Smith.pdf            1116907       3/24/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79071                              Application.pdf                         221380       3/1/2022 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79071                              Assignment Executed.pdf                  39648      3/28/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79071                              Closing Binder.pdf                   11764339       3/24/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79071                              Contract                                616448      2/24/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79071                              Document Package_Smith.pdf              552918      2/24/2022 15:10



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               All Paths/Locations                                 Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79071                              Court Order.pdf                            3702052       3/30/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79071                              Credit Report.pdf                            264430      3/21/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79071                              Disclosure Affidavit.pdf                      58065       3/1/2022 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79071                              Disclosure AZ.pdf                            335551       3/1/2022 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79071                              Driver License.pdf                           924235      3/11/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79071                              Jordan Smith, CV2022-00063                 3091456        3/9/2022 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79071                              JS NOH & COS.pdf                             125705       3/9/2022 17:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79071                              JS AFCAOTSS conf copy.pdf                    937163       3/9/2022 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79071                              SmithJ EXH A-F.pdf                         1917785        3/8/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Order from settling court consenting to
11.22.2023\79071                              transfer.pdf                                  69494      8/16/2022 11:17



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79071                              Pleadings.pdf                        2991802       3/24/2022 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79071                              Purchase Agreement Lump.pdf          4798435       3/24/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79071                              Qualified Assignment.pdf               313672      3/24/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79071                              Searches.pdf                         1398162       3/21/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79071                              Settlement Agreement .pdf              364306      3/14/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79071                              Social Security Card.pdf             1101324       3/22/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79071                              Transferee Declaration.pdf              28831       3/1/2022 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79071                              ZIP Code USPS.pdf                       66291      3/24/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79072                              2005 Prior Court Order.pdf           1296188       3/25/2022 15:59



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79072                              2011 Prior Court Order.pdf                            278492      3/25/2022 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79072                              Affidavit in Lieu of Settlement Agreement.pdf         219355      3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79072                              Amended FL.pdf                                        102929      3/28/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79072                              Amended TX.pdf                                        110040      3/28/2022 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79072                              Amendedment to Purchase Agreement.pdf                  45461      3/28/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79072                              Annuity Contract.pdf                                1944642       3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79072                              Application.pdf                                       156314      3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79072                              Assignment.pdf                                         97628      3/25/2022 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79072                              Confirmation of Disclosure sent and received.pdf       94999      3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79072                              Court Order.pdf                                     1591223       3/24/2022 14:27



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79072                              Credit Report.pdf                           27845      3/24/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79072                              Declaration.pdf                            214546      3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79072                              Drivers License.pdf                         67432      3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79072                              Guardianship Doc.pdf                        67967      3/25/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79072                              Pleadings .pdf                          26333055       3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79072                              Purchase Agreement.pdf                     616329      3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79072                              Qualified Assignement.pdf                1400086       3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79072                              Request For Acknowledgement.pdf          1297116       3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79072                              Searches.pdf                               139877      3/24/2022 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79072                              Social Security Card Clearer copy.pdf       75726      3/25/2022 16:08



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               All Paths/Locations                                Unified Title      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79072                              Stipulation.pdf                           571862       3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79072                              Thompson Assignment.docx                   16439       3/24/2022 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79072                              Thompson Closing Book.pdf              35452963        3/18/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79072                              Transaction Summary.pdf                      5543      3/24/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79087                              1865350_1_FinalPackage.pdf              6836766        2/25/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79087                              Affidavit in Support of Petition.pdf      832905       4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79087                              Application.pdf                           278210       4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79087                              Attorney Affirmation .pdf                 433370       4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79087                              Benefits Letter.pdf                        87990       4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
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11.22.2023\79087                              Court Order.pdf                           485610       4/21/2022 12:53



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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79087                              Credit Report.pdf                         80818      4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79087                              Disclosure - DE.pdf                      173920      4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\79087                              Disclosure - MI.pdf                      173841      4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79087                              Disclosure - NY.pdf                      177655      4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\79087                              Guardian Affidavit .pdf                  237279      4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79087                              Infant's Compromise Order .pdf           242695      4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79087                              Pleadings.pdf                            469179      4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79087                              Proof of Service.pdf                     708632      4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
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11.22.2023\79087                              Purchase Agreement.pdf                   396800      4/21/2022 12:53



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               All Paths/Locations                               Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79087                              Request For Acknowledgement.pdf            175861      4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79087                              Request for Change of Beneficiary.pdf      167684      4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79087                              Searches.pdf                               967677      4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79087                              Seller Identification.pdf                  128987      4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79087                              Settlement Proposal .pdf                   189382      4/21/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79088                              1872558_1_FinalPackage.pdf              12834327       2/24/2022 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79088                              Annuity Contract.pdf                       430031      4/21/2022 13:19
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79088                              Application.pdf                            320471      4/21/2022 13:19
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79088                              Benefits Letter.pdf                         96142      4/21/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79088                              Court Order.pdf                            492646      4/21/2022 13:19



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79088                              Credit Report.pdf                          241058      4/21/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79088                              Disclosure - GA.pdf                        184196      4/21/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79088                              Disclosure - WA.pdf                        175621      4/21/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79088                              Marriage Licence .pdf                      484472      4/21/2022 13:19
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79088                              Purchase Agreement.pdf                   5208015       4/21/2022 13:19
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79088                              Request For Acknowledgement.pdf            169436      4/21/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79088                              Request for Change of Beneficiary.pdf      263188      4/21/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79088                              Searches.pdf                             2196007       4/21/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79088                              Settling Documents .pdf                    527245      4/21/2022 13:19
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79089                              1868668_1_FinalPackage.pdf           7966711       2/28/2022 22:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79089                              Amended Agreement .pdf               1128111       4/21/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79089                              Amended Disclosure - DE .pdf           327409      4/21/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79089                              Amended Disclosure - NY.pdf            397495      4/21/2022 14:01
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79089                              Amended Disclosure-CA.pdf              249427      4/21/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79089                              Application.pdf                        220392      4/21/2022 14:01
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79089                              Assignment .pdf                        259881      4/21/2022 14:01
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79089                              Benefits Letter.pdf                    289022      4/21/2022 14:01
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11.22.2023\79089                              Court Order.pdf                        679872      4/21/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79089                              Credit Report.pdf                      113586      4/21/2022 14:01



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79089                              Disclosure Affidavit.pdf                   293139      4/21/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79089                              DocuSign .pdf                              236414      4/21/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79089                              Proof of Service .pdf                      135310      4/21/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79089                              Purchase Agreement.pdf                   1361157       4/21/2022 14:01
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79089                              Request for Change of Beneficiary.pdf      307090      4/21/2022 14:01
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79089                              Searches.pdf                               820157      4/21/2022 14:01
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79089                              Settlement Agreement .pdf                  293526      4/21/2022 14:01
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79089                              Stipulation.pdf                            772834      4/21/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79091                              1765311_3_FinalPackage.pdf              16174937       2/28/2022 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79091                              Annuity Contract.pdf                       172874      4/21/2022 16:51



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79091                              Application.pdf                          226062      4/21/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79091                              Change of Beneficiary.pdf                152350      4/21/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79091                              Court Order.pdf                          375256      4/21/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79091                              Credit Report.pdf                         99615      4/21/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79091                              Disclosure - CA.pdf                      156836      4/21/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79091                              Disclosure - NY.pdf                      155643      4/21/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79091                              Disclosure - TX.pdf                      154030      4/21/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79091                              DocuSign.pdf                             162376      4/21/2022 16:52
Saiph consulting|\Audit Materials Received-
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11.22.2023\79091                              Pleadings .pdf                           291053      4/21/2022 16:52
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11.22.2023.zip\Dorchester - 353 Files -
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79091                              Request For Acknowledgement.pdf        214832      4/21/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79091                              Searches.pdf                           778095      4/21/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79091                              Seller Identification.pdf              423814      4/21/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79091                              Settlement Agreement.pdf             1327743       4/21/2022 16:52
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79091                              Stipulation.pdf                      3188175       4/21/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79093                              1762462_1_FinalPackage.pdf          15300044       2/23/2022 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79093                              Annuity Contract.pdf                   133816      4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79093                              Application.pdf                        125609      4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79093                              Change of Beneficiary.pdf              245516      4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79093                              Court Order.pdf                        281065      4/21/2022 17:55



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79093                              Credit Report.pdf                         99092      4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79093                              Disclosure - MO.pdf                       96288      4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79093                              Disclosure - TX.pdf                       97847      4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79093                              Notice Of Hearing .pdf                   129682      4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79093                              Pleadings.pdf                            246188      4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79093                              Proof of Service .pdf                    305465      4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79093                              Purchase Agreement.pdf                 8847703       4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79093                              Request For Acknowledgement.pdf          158689      4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79093                              Searches.pdf                           1296229       4/21/2022 17:55
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79094                              1778364_1_FinalPackage.pdf               7155220        2/25/2022 8:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79094                              Annuity Contract.pdf                       989821      4/21/2022 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79094                              Application.pdf                            212372      4/21/2022 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79094                              Court Order.pdf                            320847      4/21/2022 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79094                              Credit Report.pdf                           99865      4/21/2022 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79094                              Disclosure - FL.pdf                        152093      4/21/2022 18:12
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79094                              Order of Dismissal With Prejudice.pdf      618674      4/21/2022 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79094                              Purchase Agreement.pdf                 318757      4/21/2022 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79094                              Request For Acknowledgement.pdf        178218      4/21/2022 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79094                              Searches.pdf                           679561      4/21/2022 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79095                              369475_3_FinalPackage.pdf            6157908       2/25/2022 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79095                              Application.pdf                        278202      4/21/2022 18:43
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79095                              Benefits Letter.pdf                     90464      4/21/2022 18:43
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79095                              Death Certificate.pdf                  195376      4/21/2022 18:43
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\79095                              Disclosure - OH.pdf                    275180      4/21/2022 18:43



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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79095                              Marriage Certificate .pdf                  792780      4/21/2022 18:43
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79095                              Purchase Agreement.pdf                     533757      4/21/2022 18:43
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79095                              Request For Acknowledgement.pdf             97286      4/21/2022 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79095                              Request for Change of Beneficiary.pdf      232162      4/21/2022 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79095                              Searches.pdf                             1421703       4/21/2022 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79095                              Settlement Agreement.pdf                   308124      4/21/2022 18:43
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79096                              1697032_5_FinalPackage.pdf              10183339       2/25/2022 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79096                              Application.pdf                            241390      4/22/2022 12:14



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79096                              Benefits Letter.pdf                       76856      4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79096                              Change of Beneficiary.pdf                103351      4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79096                              Court Order.pdf                          443417      4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79096                              Credit Report.pdf                        153268      4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79096                              Disclosure - LA.pdf                      201111      4/22/2022 12:14
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11.22.2023\79096                              Docusign cert.pdf                        142753      4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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11.22.2023\79096                              Legal invoices.pdf                       145330      4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79096                              Notice of Transfer.pdf                   161934      4/22/2022 12:14



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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79096                              Pamela Link Obituary.pdf               274920      4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79096                              Purchase Agreement.pdf                 471418      4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79096                              Request For Acknowledgement.pdf        141586      4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79096                              Searches.pdf                         1596891       4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79096                              Social security card.pdf                78428      4/22/2022 12:14
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79096                              Stipulation.pdf                        767568      4/22/2022 12:14
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79098                              583067_1_FinalPackage.pdf           15485123       2/28/2022 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79098                              Annuity Contract.pdf                 1772385       4/22/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79098                              Application.pdf                        185205      4/22/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79098                              Benefits Letter.pdf                    598023      4/22/2022 16:41



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79098                              Court Order.pdf                      2268027       4/22/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79098                              Credit Report.pdf                      100209      4/22/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79098                              Death Cert.pdf                         198716      4/22/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79098                              Disclosure - WA.pdf                    151299      4/22/2022 16:41
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79098                              Docusign cert.pdf                      168784      4/22/2022 16:41
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79098                              Minors Settlement.pdf                1863949       4/22/2022 16:41
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79098                              Notice of Transfer.pdf                 171866      4/22/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79098                              Proof of Residency.pdf                 411682      4/22/2022 16:41
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79098                              Purchase Agreement.pdf                 397726      4/22/2022 16:41



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79098                              Request for Change of Address.pdf          133983      4/22/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79098                              Request for Change of Beneficiary.pdf      104387      4/22/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79098                              Searches.pdf                               704148      4/22/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79098                              Social Security Card 79098.PDF             141055       9/9/2015 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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11.22.2023.zip\Dorchester - 353 Files -
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79101                              Annuity Contract.pdf                       476617      4/22/2022 18:49
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79101                              Application.pdf                            356770      4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79101                              Court Order.pdf                            334352      4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79101                              Credit Report.pdf                          170210      4/22/2022 18:49



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79101                              Death Certificate .pdf                 1307719       4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79101                              Disclosure - KS.pdf                      358407      4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79101                              Docusign Certs.pdf                       296194      4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79101                              Drivers License.pdf                    5728979       4/22/2022 18:49
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11.22.2023\79101                              Notice of Transfer.pdf                   158263      4/22/2022 18:49
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79101                              Purchase Agreement.pdf                   589964      4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79101                              Qualified Assignment.pdf                 266849      4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79101                              Request for Change of Beneficiary.pdf        170210      4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79101                              Searches.pdf                               1512570       4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79101                              Settlement Agreement.pdf                   1079912       4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79101                              Stipulation.pdf                              529481      4/22/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79102                              1372443_3_FinalPackage.pdf                 8449986       2/24/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79102                              Acknowledgment of Assignment.pdf             396812      4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79102                              Application.pdf                              791812      4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79102                              Assignment and Assumption Agreement.pdf      212774      4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79102                              Benefits Letter.pdf                          167113      4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79102                              Court Order.pdf                              349251      4/25/2022 12:48



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79102                              Credit Report.pdf                        105979      4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79102                              Disclosure - FL.pdf                      667554      4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79102                              Disclosure - IA.pdf                      635519      4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79102                              Disclosure - MD.pdf                      593686      4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79102                              MD Identification.pdf                    561947      4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79102                              Pleadings.pdf                            375673      4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79102                              Proof of residency.pdf                   348113      4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79102                              Purchase Agreement.pdf                 2070961       4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79102                              Request For Acknowledgement.pdf          189700      4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79102                              Searches.pdf                             973819      4/25/2022 12:48



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79102                              Settlement Documents.pdf                 850756      4/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79103                              1651432_6_FinalPackage.pdf             9116791       2/25/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79103                              Annuity Contract.pdf                     512602      4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79103                              Application.pdf                          320418      4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79103                              Court Order.pdf                          244590      4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79103                              Credit Report.pdf                        102658      4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79103                              Disclosure - GA.pdf                      177829      4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79103                              Disclosure - NJ.pdf                      149808      4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79103                              Docusign cert.pdf                        167345      4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79103                              Drivers license GA.pdf                   246746      4/26/2022 15:29



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79103                              Marriage cert.pdf                    1004654       4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79103                              Notice of transfer.pdf                  98883      4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79103                              Proof of residency.pdf                 205539      4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79103                              Purchase Agreement.pdf                 429341      4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79103                              Qualified Assignement.pdf              561661      4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79103                              Request For Acknowledgement.pdf        150930      4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79103                              Searches.pdf                         1086016       4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79103                              Settlement Agreement.pdf               477671      4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79103                              Stipulation.pdf                      3191107       4/26/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79104                              688928_18_FinalPackage.pdf          20672620       2/28/2022 14:42



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79104                              Annuity Contract Certificate.pdf          85692      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79104                              Application.pdf                          367761      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79104                              Court Order.pdf                        1888314       4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79104                              Credit Report.pdf                        171308      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79104                              Disclosure - ID.pdf                      269800      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79104                              Disclosure - TX.pdf                      269583      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79104                              DIvorce Decree.pdf                     4166026       4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79104                              Docusign certs.pdf                       263259      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79104                              Drivers License.pdf                      306915      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79104                              Marriage cert.pdf                        303440      4/26/2022 17:42



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79104                              Notice of Transfer.pdf                     159189      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79104                              Purchase Agreement.pdf                     696826      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79104                              Qualified Assignment.pdf                   274284      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79104                              Request For Acknowledgement.pdf            150420      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79104                              Request for Change of Beneficiary.pdf      170597      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79104                              Searches.pdf                               981660      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79104                              Settlement Agreement.pdf                   500287      4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79104                              Stipulation.pdf                          9398007       4/26/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79105                              1880632_1_FinalPackage.pdf              14819743       2/28/2022 22:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79105                              Acknowledgment of Assignment.pdf           558908      4/26/2022 18:37



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2951 of
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               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79105                              Application.pdf                            130818      4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79105                              Assignment & Assumption Agreement.pdf      251713      4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79105                              Court Order.pdf                          3175029       4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79105                              Credit Report.pdf                          108726      4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79105                              Disclosure - DE.pdf                        554812      4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79105                              Disclosure - FL.pdf                        603487      4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79105                              Disclosure - NY.pdf                        331657      4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79105                              Drivers License.pdf                        319372      4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79105                              Infants Compromise.pdf                     389472      4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79105                              Proof of service.pdf                       119872      4/26/2022 18:37



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79105                              Purchase Agreement.pdf               3531288       4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79105                              Request For Acknowledgement.pdf        147029      4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79105                              Searches.pdf                           798471      4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79105                              Stipulation.pdf                        519936      4/26/2022 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79106                              1871306_1_FinalPackage.pdf          16677204       2/28/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79106                              Annuity Contract.pdf                 1214555       4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79106                              Application.pdf                        534250      4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79106                              Benefits Letter.pdf                    717184      4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79106                              Change of Address.pdf                  360180      4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79106                              Court Order.pdf                        104819      4/22/2022 13:10



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               All Paths/Locations                                  Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79106                              Disclosure - IN.pdf                         168120      4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79106                              Docusign Certificate of Completion.pdf      259609      4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79106                              List of Dependents.pdf                      251902      4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79106                              Order Appointing Guardian .pdf              491426      4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79106                              Proof of Service.pdf                        852782      4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79106                              Purchase Agreement.pdf                      295271      4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79106                              Qualified Assignement.pdf                 2779488       4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79106                              Request For Acknowledgement.pdf             353721      4/22/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79106                              Request for Change of Beneficiary.pdf       249749      4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79106                              Searches.pdf                              1300278       4/22/2022 13:10



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               All Paths/Locations                                  Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79106                              Seller Identification.pdf                   338381      4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79106                              Settlement Agreement.pdf                  5586145       4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79106                              Waiver of IPA.pdf                           197561      4/22/2022 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79107                              1806789_3_FinalPackage.pdf                9697579       2/23/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79107                              Annuity Contract.pdf                        911344      4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79107                              Application.pdf                             316459      4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79107                              Court Order.pdf                             144436      4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79107                              Disclosure - FL.pdf                         270088      4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79107                              Docusign Certificate of Completion.pdf      162807      4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79107                              List of Dependents.pdf                      208896      4/22/2022 13:34



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79107                              Name Addendum.pdf                          169822      4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79107                              Petition.pdf                               383390      4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79107                              Purchase Agreement.pdf                   1258026       4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79107                              Qualified Assignement.pdf                1726139       4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79107                              Request For Acknowledgement.pdf            267795      4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79107                              Request for Change of Beneficiary.pdf      171366      4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79107                              Searches.pdf                             1735870       4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79107                              Seller Identification.pdf                  791078      4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79107                              Stipulation.pdf                            542208      4/22/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79107                              Waiver of IPA.pdf                          199136      4/22/2022 13:34



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2956 of
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               All Paths/Locations                                  Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79108                              1115338_2_FinalPackage.pdf               11624755       2/28/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79108                              Annuity Contract.pdf                        499623      4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79108                              Application.pdf                             388015      4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79108                              Court Order.pdf                             251311      4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79108                              Disclosure - TX.pdf                         267546      4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79108                              Divorce Documents.pdf                     2770935       4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79108                              Docusign Certificate of Completion.pdf      225529      4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79108                              List of Dependents.pdf                      228801      4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79108                              Marriage License.pdf                        171420      4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79108                              Purchase Agreement.pdf                      333522      4/22/2022 13:49



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79108                              Qualified Assignement.pdf                  390693      4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79108                              Request For Acknowledgement.pdf            268597      4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79108                              Request for Change of Beneficiary.pdf      169032      4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79108                              Searches.pdf                             1330570       4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79108                              Seller Identification.pdf                  635970      4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79108                              Settlement Agreement.pdf                   982537      4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79108                              Stipulation.pdf                          2480895       4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79108                              Waiver of IPA.pdf                          198073      4/22/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79109                              1876809_1_FinalPackage.pdf              16338443       2/28/2022 19:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79109                              Application.pdf                            294484      4/22/2022 14:00



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               All Paths/Locations                                  Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79109                              Court Order.pdf                           1060433       4/22/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79109                              Disclosure - TX.pdf                         251154      4/22/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79109                              Docusign Certificate of Completion.pdf      165317      4/22/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79109                              List of Dependents.pdf                      183756      4/22/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79109                              Order of Dismissal.pdf                      119579      4/22/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79109                              Purchase Agreement.pdf                      227240      4/22/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79109                              Request For Acknowledgement.pdf             258734      4/22/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79109                              Searches.pdf                              1377077       4/22/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79109                              Seller Identification.pdf                 2626531       4/22/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79109                              Stipulation.pdf                           3931152       4/22/2022 14:00



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               All Paths/Locations                                  Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79109                              Waiver of IPA.pdf                           172894      4/22/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79111                              1336470_2_FinalPackage.pdf                5013796       2/28/2022 21:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79111                              Annuity Contract.pdf                         93963      4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79111                              Application.pdf                             369829      4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79111                              Court Order.pdf                             204759      4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79111                              Disclosure - SC.pdf                         269002      4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79111                              Docusign Certificate of Completion.pdf      263928      4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79111                              List of Dependents.pdf                      181431      4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79111                              Order Approving Settlement.pdf              348299      4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79111                              Purchase Agreement.pdf                      303062      4/22/2022 14:49



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79111                              Qualified Assignement.pdf                  363337      4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79111                              Request For Acknowledgement.pdf            239419      4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79111                              Request for Change of Beneficiary.pdf      170799      4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79111                              Searches.pdf                             1229061       4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79111                              Stipulation.pdf                            407941      4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79111                              Waiver of IPA.pdf                          198718      4/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79112                              1060783_2_FinalPackage.pdf              11865103       2/28/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79112                              Annuity Contract.pdf                       670949      4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79112                              Application.pdf                            363040      4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79112                              Court Order.pdf                          2116519       4/26/2022 19:45



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79112                              Credit Report.pdf                        106102      4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79112                              Declaration.pdf                        1828668       4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79112                              Disclosure - CA.pdf                      181259      4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79112                              Disclosure - IL.pdf                      176406      4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79112                              Docusign cert.pdf                        191522      4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79112                              Drivers License.pdf                      576676      4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79112                              Notice of Transfer.pdf                   188939      4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79112                              Proof of service.pdf                     195010      4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79112                              Purchase Agreement.pdf                 1004607       4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79112                              Qualified Assignement.pdf                637055      4/26/2022 19:45



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79112                              Request For Acknowledgement.pdf            150656      4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79112                              Request for Change of Beneficiary.pdf      159881      4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79112                              Searches.pdf                             1285676       4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79112                              Settlement Agreement.pdf                 1399533       4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79112                              Stipulation.pdf                            503521      4/26/2022 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79115                              694842_4_FinalPackage.pdf               10043370       2/28/2022 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79115                              Annuity Contract.pdf                       260950      4/27/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79115                              Application.pdf                            366605      4/27/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79115                              Court Order.pdf                            421313      4/27/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79115                              Credit Report.pdf                          104776      4/27/2022 14:38



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               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79115                              Disclosure - MO.pdf                        174541      4/27/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79115                              Disclosure - WA.pdf                        174732      4/27/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79115                              Docusign certs.pdf                         168639      4/27/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79115                              Drivers License.pdf                      5870613       4/27/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79115                              Notice of Hearing.pdf                      243638      4/27/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79115                              Purchase Agreement.pdf                     576538      4/27/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79115                              Request For Acknowledgement.pdf            150233      4/27/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79115                              Request for Change of Beneficiary.pdf       96452      4/27/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79115                              Searches.pdf                             1235337       4/27/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79115                              Settlement Agreement.pdf                   258901      4/27/2022 14:38



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79115                              Stipulation.pdf                          744154      4/27/2022 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79116                              1865754_1_FinalPackage.pdf            17692018       2/28/2022 20:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79116                              Application.pdf                          679575      4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79116                              Court Order.pdf                        1625033       4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79116                              Credit Report.pdf                        256507      4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79116                              Disclosure - AZ.pdf                      417560      4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79116                              Disclosure - CO.pdf                      417525      4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79116                              Disclosure - TX.pdf                      417336      4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79116                              Docusign cert.pdf                        412815      4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79116                              Notice of Transfer.pdf                   323403      4/27/2022 15:20



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2965 of
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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79116                              PI Case Docket.pdf                         283191      4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79116                              Proof of Residency.pdf                     332130      4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79116                              Purchase Agreement.pdf                   2329089       4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79116                              Qualified Assignment Page.pdf              366501      4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79116                              Request For Acknowledgement.pdf            294916      4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79116                              Request for Change of Beneficiary.pdf      507903      4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79116                              Searches.pdf                             2271881       4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79116                              Seller Identification.pdf                3938011       4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79116                              Stipulation.pdf                          5630905       4/27/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79117                              452863_11_FinalPackage.pdf              15594194       2/24/2022 15:15



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2966 of
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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79117                              Annuity Contract.pdf                     678961      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79117                              Application.pdf                          356597      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79117                              Court Order.pdf                          329837      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79117                              Credit Report.pdf                        104298      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79117                              Declaration.pdf                          224416      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79117                              Disclosure - MI.pdf                      168987      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79117                              Disclosure - TX.pdf                      168970      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79117                              Divorce decree.pdf                     1137388       4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79117                              Docusign Cert.pdf                        866680      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79117                              Drivers License.pdf                      136430      4/27/2022 19:47



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79117                              Notice of transfer.pdf                     178488      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79117                              Purchase Agreement.pdf                     452728      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79117                              Qualified Assignment.pdf                   325475      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79117                              Release Agreement.pdf                    1742015       4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79117                              Request For Acknowledgement.pdf            150673      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79117                              Request for Change of Beneficiary.pdf      170378      4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79117                              Searches.pdf                             1225098       4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79117                              Stipulation.pdf                          6239437       4/27/2022 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79118                              375010_4_FinalPackage.pdf                9887364       2/25/2022 17:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79118                              Annuity Contract.pdf                       232173      4/27/2022 20:24



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79118                              Application.pdf                         371475      4/27/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79118                              Benefits Letter.pdf                     180758      4/27/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79118                              Court Order.pdf                       1356402       4/27/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79118                              Credit Report.pdf                       105666      4/27/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79118                              Disclosure - NY.pdf                   1029801       4/27/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79118                              Docusign certs.pdf                      128989      4/27/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79118                              Drivers License.pdf                      85761      4/27/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79118                              Infants Order.pdf                       214943      4/27/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79118                              Notice of transfer.pdf                  157188      4/27/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79118                              Purchase Agreement.pdf                3292724       4/27/2022 20:24



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2969 of
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               All Paths/Locations                                   Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79118                              Reasons for Transfer.pdf                 1248865       4/27/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79118                              Request For Acknowledgement.pdf            150700      4/27/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79118                              Request for Change of Beneficiary.pdf      170041      4/27/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79118                              Searches.pdf                             1299904       4/27/2022 20:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79118                              Seller Affidavit.pdf                       315154      4/27/2022 20:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79120                              1859592_1_FinalPackage.pdf               4532229        2/25/2022 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79120                              Annuity Contract.pdf                       481036       5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79120                              Application.pdf                            316221       5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79120                              Bankruptcy Search.pdf                      562450       5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79120                              Benefits Letter.pdf                        130536       5/3/2022 13:12



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2970 of
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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79120                              Court Order.pdf                          289451       5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79120                              Credit Report.pdf                        105348       5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79120                              Disclosure - IL.pdf                      175259       5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79120                              Drivers License.pdf                      277493       5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79120                              Judgement.pdf                            555383       5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79120                              Lien and Judgment Search.pdf             643258       5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79120                              Proof of Service.pdf                     190878       5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79120                              Purchase Agreement.pdf                   609863       5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79120                              Qualified Assignement.pdf                340609       5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79120                              Settlement Agreement.pdf                 426213       5/3/2022 13:12



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2971 of
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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79120                              UCC Search.pdf                         131215       5/3/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79121                              1751664_1_FinalPackage.pdf          31132217       2/23/2022 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79121                              Annuity Contract.pdf                 2172442        5/3/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79121                              Application.pdf                        286976       5/3/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79121                              Bankruptcy Search.pdf                  562101       5/3/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79121                              Court Order.pdf                        637305       5/3/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79121                              Credit Report.pdf                      104020       5/3/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79121                              Disclosure - CA.pdf                    181437       5/3/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79121                              Drivers License.pdf                    217452       5/3/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79121                              Lien and Judgment Search.pdf           554956       5/3/2022 13:46



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               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79121                              Proof of Service.pdf                      227401       5/3/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79121                              Purchase Agreement.pdf                    420011       5/3/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79121                              Seller Affidavit.pdf                      208490       5/3/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79121                              Settlement Agreement.pdf               18095894        5/3/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79121                              Stipulation.pdf                           435503       5/3/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79121                              UCC Search.pdf                            132049       5/3/2022 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79122                              1866641_1_FinalPackage.pdf             15400275       2/28/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79122                              Annuity Contract.pdf                      407870       5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79122                              Application.pdf                           286646       5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79122                              Bankruptcy Search.pdf                     390688       5/3/2022 14:25



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79122                              Court Order.pdf                        1735561        5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79122                              Credit Report.pdf                        106098       5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79122                              Disclosure - FL.pdf                      256035       5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79122                              Drivers License.pdf                    2134285        5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79122                              Infants Compromise Order.pdf             435148       5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79122                              Lien and Judgment Search.pdf             566234       5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79122                              POR.pdf                                2409148        5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79122                              Purchase Agreement.pdf                   375302       5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79122                              Qualified Assignement.pdf                560427       5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79122                              Settlement Agreement.pdf                 627942       5/3/2022 14:25



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               All Paths/Locations                                   Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79122                                 Stipulation.pdf                                     4978495        5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79122                                 UCC Search.pdf                                        130906       5/3/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79123                                 546381_3_FinalPackage.pdf                          18168230       2/28/2022 19:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79123                                 Annuity Contract.pdf                                4448881        5/3/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79123                                 Application.pdf                                       322897       5/3/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79123                                 Bankruptcy Search.pdf                                 561352       5/3/2022 15:28
                                                 Leadenhall- SPLCSS and Dorchester Audit Results-
Saiph consulting|\Audit Results Reports for LH   Final 9-5-24.xlsx                                     553344       9/5/2024 10:44

Saiph consulting|\Audit Results Reports for LH LH Receivable Audit Report- 9-5-24 vF.pdf               329913      9/10/2024 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              1711756 - Walker, Christopher (ack letter).pdf          792190       2/9/2024 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              1721651 - Patton-Schulle, Kristen (ack letter).pdf      270899       2/9/2024 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              1744579 - Cowart, Trace (ack letter).pdf                199841       2/9/2024 16:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              1744733 - McPhatter, Taalib (ack letter).pdf            165241       2/9/2024 16:32



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               All Paths/Locations                                Unified Title                    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              1787100 - Wise, Jenna (ack letter).pdf                 194325       2/9/2024 16:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              1808208 - Downing, Isaiah (ack letter).pdf             245735       2/9/2024 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              1824019 - Berneau, Dillon (stip).pdf                 1418566        2/9/2024 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              1851482 - Sabin, Kayla (ack letter).pdf                 64481       2/9/2024 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              1860293 - Jones, Jashee (ack letter).pdf                69854       2/9/2024 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              1865350 - Geiger, Jah-mal (ack letter).pdf              64621       2/9/2024 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              1871306 - Wilbanks, Daniel (ack letter).pdf            165998       2/9/2024 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              1879967 - Cortes, Tyler (Ack letter).pdf                64267       2/9/2024 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing 222210 - Ehrmantrout III, William (ack letter and
documents 1.30.24                              ID).pdf                                                596283       2/9/2024 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              243030 - Miller, Lukas (ack and CO).pdf                520680       2/9/2024 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              356925 - Bohannon, Jeffrey (ack letter).pdf             32536       2/9/2024 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              366724 - Wallace, Andrew (ack letter).pdf               32544       2/9/2024 15:47




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               All Paths/Locations                                Unified Title                    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              369475 - Knudsen, Jessica (ack letter).pdf             273331       2/9/2024 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              375010 - Brewster, Philip (ack letter).pdf              77726       2/9/2024 16:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              580581 - Lukens, Frederick (ack).pdf                   224228       2/9/2024 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              688720 - Ellison, Devin (ID).pdf                       383048       2/9/2024 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              746518 - Clausen-Laws, Raymond (ack letter).pdf        197318       2/9/2024 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              773654 - Hulsey, Nicole (ack letter).pdf               191289       2/9/2024 16:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              795768 - Kraemer, Brian (ack letter and stip).pdf    1345999        2/9/2024 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              797178 - Ericson, Casey (ack letter).pdf                77871       2/9/2024 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              801153 - Jackson, Aaron (ack letter).pdf                35881       2/9/2024 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              823499 - Casey, Timothy (ack letter).pdf                63972       2/9/2024 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              Missing Documents List.xlsx                             12726       2/9/2024 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Notes Reports                       Buck Dorchester.xlsm                                   121696      8/23/2024 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Notes Reports                       SPLCSSII Notes.xlsm                                    432245       9/4/2024 11:37
Saiph consulting|\Audit Materials Received-    Copy of Dorchester Receviables with deals
SuttonPark\Payment Reports                     currently on.xlsm                                       40792      6/14/2024 13:44



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Payment Reports                    Dorchester 2021 & 2022.xlsx                         464589      5/29/2024 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Payment Reports                    Dorchester 2023.xlsx                                211921      5/29/2024 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Payment Reports                    Dorchester 2024.xlsx                                 96455      5/29/2024 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Payment Reports                    Dorchester Receviables.xlsm                          23435      8/23/2024 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Payment Reports                    SPLCSS 2021 & 2022.xlsx                           1337283       5/29/2024 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Payment Reports                    SPLCSS 2023 Payment Evaluation 5.29.24 v3.xlsx    7923426       8/22/2024 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Payment Reports                    SPLCSS 2023 Payment Evaluation 5.29.24.xlsx         618485      5/29/2024 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Payment Reports                    SPLCSS 2023.xlsx                                    423832      8/23/2024 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Payment Reports                    SPLCSS 2024 2.xlsx                                  160473      8/29/2024 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Payment Reports                    SPLCSS 2024.xlsx                                    147624       9/4/2024 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Payment Reports                    SPLCSS II Receviables.xlsm                           81124      6/14/2024 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Search Report                      Search Report Dorchester.xlsm                        86968       8/9/2024 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Search Report                      SPLCSSII Search Report.xlsm                         450273      8/22/2024 18:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79123                              Court Order.pdf                                     306412       5/3/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79123                              Credit Report.pdf                                   109779       5/3/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79123                              Disclosure - OH.pdf                                 262945       5/3/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79123                              Lien and Judgment Search.pdf                        550443       5/3/2022 15:28




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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79123                              Purchase Agreement.pdf                 679425       5/3/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79123                              Stipulation.pdf                      4189837        5/3/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79123                              UCC Search.pdf                         131537       5/3/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79125                              1342525_1_FinalPackage.pdf          14182989        2/25/2022 9:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79125                              Annuity Contract.pdf                 6818763       5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79125                              Application.pdf                        366561      5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79125                              Bankruptcy Search.pdf                  421664      5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79125                              Court Order.pdf                        816233      5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79125                              Credit Report.pdf                      106355      5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79125                              Disclosure - CA.pdf                    159691      5/11/2022 14:50



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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79125                              Disclosure - IL.pdf                      169827      5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79125                              Disclosure - TX.pdf                      169705      5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79125                              Docket Information.pdf                   213761      5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79125                              Drivers License.pdf                      592516      5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79125                              Lien and Judgment Search.pdf             612863      5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79125                              NASP Search.pdf                          162299      5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79125                              Purchase Agreement.pdf                   711121      5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79125                              UCC Search.pdf                           129216      5/11/2022 14:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79127                              1855678_1_FinalPackage.pdf            10135379       2/28/2022 17:39



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79127                              Annuity Contract.pdf                     157940      5/10/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79127                              Application.pdf                          226104      5/10/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79127                              Bankruptcy Search.pdf                    276472      5/10/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79127                              Court Order.pdf                          161054      5/10/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79127                              Credit Report.pdf                        113313      5/10/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79127                              Disclosure - SC.pdf                      163199      5/10/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79127                              Drivers License.pdf                    6319206       5/10/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79127                              Lien and Judgment.pdf                    266167      5/10/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79127                              Purchase Agreement.pdf                   491361      5/10/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79127                              UCC Search.pdf                           113202      5/10/2022 18:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79128                              1871157_1_FinalPackage.pdf            15244164       2/24/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79128                              Annuity Contract.pdf                     414694       5/9/2022 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79128                              Application.pdf                          297352       5/9/2022 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79128                              Bankruptcy Search.pdf                    560854       5/9/2022 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79128                              Court Order.pdf                          251088       5/9/2022 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79128                              Credit Report.pdf                        105008       5/9/2022 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79128                              Disclosure - TX.pdf                      172483       5/9/2022 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79128                              Drivers License.pdf                    4879117        5/9/2022 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79128                              Lien and Judgment Search.pdf             587036       5/9/2022 19:28



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79128                              Purchase Agreement.pdf                 461000       5/9/2022 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79128                              Qualified Assignement.pdf              487419       5/9/2022 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79128                              Settlement Agreement.pdf             2265349        5/9/2022 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79128                              SSN.pdf                                241392       5/9/2022 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79128                              Stipulation.pdf                      4549235        5/9/2022 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79128                              UCC Search.pdf                         132570       5/9/2022 19:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79129                              1876049_1_FinalPackage.pdf           9511457       2/28/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79129                              Annuity Contract-Partial.pdf           199172       5/9/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79129                              Application.pdf                        284541       5/9/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79129                              Bankruptcy Search.pdf                  426914       5/9/2022 19:01



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2983 of
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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79129                              Court Order.pdf                          309233       5/9/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79129                              Credit Report.pdf                        106699       5/9/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79129                              Disclosure - IL.pdf                      264177       5/9/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79129                              Disclosure - KS.pdf                      264198       5/9/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79129                              Drivers License.pdf                    2518986        5/9/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79129                              Lien and Judgment Search.pdf             613050       5/9/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79129                              Proof of Service.pdf                     110019       5/9/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79129                              Purchase Agreement.pdf                   844714       5/9/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79129                              Stipulation.pdf                        3468459        5/9/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79129                              UCC Search.pdf                           131128       5/9/2022 19:01



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               All Paths/Locations                               Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79130                              1881240_1_FinalPackage.pdf                12345996       2/25/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79130                              79130 Court Order.pdf                      6222179        8/3/2023 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79130                              Application.pdf                              108902       6/2/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79130                              Assignment and Assumption Agreement.pdf      317098       6/2/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79130                              Assignment of Payments.pdf                   147583       6/2/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79130                              Disclosure.pdf                             1679122        6/2/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79130                              NOH.pdf                                      621324       6/2/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79130                              Petition.pdf                               2422598        6/2/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79130                              Purchase Agreement.pdf                     2430980        6/2/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79130                              Searches.pdf                                 845720       6/2/2022 12:20



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2985 of
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               All Paths/Locations                                  Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79130                              Seller Identification.pdf                         167811       6/2/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79130                              Settlement Agreement.pdf                          518656       6/2/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79130                              Statement of Professional Represrntstion.pdf       81325       6/2/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79130                              Verification of Benefits.pdf                      233913       6/2/2022 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79131                              1711756_3_FinalPackage.pdf                     20629532       2/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79131                              Application.pdf                                   344357      4/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79131                              Benefits Letter.pdf                               345496      4/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79131                              Court Order.pdf                                 2821347       4/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79131                              Credit Report.pdf                                  79303      4/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79131                              Disclosure - CT.pdf                               249190      4/28/2022 15:22



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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79131                              Disclosure - WV.pdf                   248458      4/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79131                              Docusign.pdf                          128527      4/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79131                              Minors compromise.pdf                 230790      4/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79131                              NOH.pdf                               665421      4/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79131                              Petition.pdf                          967152      4/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79131                              Purchase Agreement.pdf             18113344       4/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79131                              Request For Acknowledgement.pdf       169964      4/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79131                              Searches.pdf                        1912207       4/28/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79131                              Seller Identification.pdf           7307577       4/28/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79131                              Settlement Documents .pdf             158234      4/28/2022 15:23



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79132                              616760_4_FinalPackage.pdf           13276200       2/28/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79132                              Annuity Contract.pdf                   376231      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79132                              Application.pdf                        250418      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79132                              Change of Beneficiary.pdf              112549      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79132                              Court Order.pdf                        919182      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79132                              Credit Report.pdf                      109996      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79132                              Disclosure - NY.pdf                    207019      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79132                              DocuSign.pdf                            82384      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79132                              Drivers License.pdf                  4494827       4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79132                              Proof of Service.pdf                   146612      4/28/2022 15:49



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               All Paths/Locations                                   Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79132                              Purchase Agreement.pdf                     416359      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79132                              Qualified Assignement.pdf                  599744      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79132                              Request For Acknowledgement.pdf            141214      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79132                              Request for Change of Beneficiary.pdf      168289      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79132                              Searches.pdf                             1147713       4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79132                              Seller Affidavit.pdf                       171494      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79132                              Settlement Agreement.pdf                   571799      4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79132                              Stipulation.pdf                          3516984       4/28/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79133                              1796055_2_FinalPackage.pdf               9928926       2/25/2022 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79133                              Annuity Contract.pdf                       819100      4/28/2022 16:32



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 2989 of
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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79133                              Application.pdf                       302685      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79133                              Birth Certificate.pdf                 196135      4/28/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79133                              Change of Beneficiary.pdf             126878      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79133                              Court Order.pdf                       437954      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79133                              Disclosure - NY.pdf                   285110      4/28/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79133                              DocuSign.pdf                          214232      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79133                              Infant Compromise.pdf                 457846      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79133                              Petition.pdf                          203339      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79133                              Proof of Service.pdf                  259092      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79133                              Purchase Agreement.pdf                631112      4/28/2022 16:32



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               All Paths/Locations                                   Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79133                              Qualified Assignement.pdf                  604160      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79133                              Request For Acknowledgement.pdf            137456      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79133                              Request for Change of Beneficiary.pdf      168276      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79133                              Searches.pdf                             1211297       4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79133                              Seller Affidavit.pdf                       166112      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79133                              Seller Identification.pdf                  543213      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79133                              Settlement Agreement.pdf                   544313      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79133                              SSN.pdf                                    183125      4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79133                              Stipulation.pdf                          2868426       4/28/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79134                              1875722_1_FinalPackage.pdf               6603471       2/25/2022 15:24



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79134                              Annuity Contract.pdf                     332040      4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79134                              Application.pdf                          388028      4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79134                              Court Order.pdf                          222998      4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79134                              Credit Report.pdf                        103969      4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79134                              Disclosure - IL.pdf                      268848      4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79134                              DocuSign.pdf                             260650      4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79134                              Drivers License.pdf                      287475      4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79134                              Purchase Agreement.pdf                   591507      4/28/2022 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79134                              Qualified Assignement.pdf                377967      4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79134                              Request For Acknowledgement.pdf          149515      4/28/2022 17:14



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79134                              Request for Change of Beneficiary.pdf      169725      4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79134                              Searches.pdf                             1013477       4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79134                              Settlement Agreement.pdf                 1144399       4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79134                              Stipulation.pdf                            860912      4/28/2022 17:14
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79136                              1876520_1_FinalPackage.pdf              14441520       2/24/2022 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79136                              Annuity Contract.pdf                       810156      4/28/2022 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79136                              Application.pdf                            321559      4/28/2022 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79136                              Court Order.pdf                            422941      4/28/2022 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79136                              Credit Report.pdf                          107586      4/28/2022 17:53
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11.22.2023\79136                              Disclosure - FL.pdf                        267075      4/28/2022 17:53



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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79136                              Docusign.pdf                               160722      4/28/2022 17:53
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79136                              Purchase Agreement.pdf                   1634263       4/28/2022 17:53
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79136                              Qualified Assignement.pdf                2645335       4/28/2022 17:53
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79136                              Request For Acknowledgement.pdf            177688      4/28/2022 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79136                              Request for Change of Beneficiary.pdf      169319      4/28/2022 17:53
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11.22.2023\79136                              Searches.pdf                             2277359       4/28/2022 17:53
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79136                              Stipulation.pdf                          3386272       4/28/2022 17:53
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79138                              1757796_1_FinalPackage.pdf               5454115       2/23/2022 18:08



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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79138                              Annuity Contract.pdf                     194618       4/29/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79138                              Application.pdf                          353436       4/29/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79138                              Court Order.pdf                        1082532        4/29/2022 9:24
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79138                              Credit Report.pdf                        104630       4/29/2022 9:24
Saiph consulting|\Audit Materials Received-
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11.22.2023\79138                              Disclosure - IL.pdf                      175885       4/29/2022 9:24
Saiph consulting|\Audit Materials Received-
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11.22.2023\79138                              DocuSign.pdf                             126228       4/29/2022 9:24
Saiph consulting|\Audit Materials Received-
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11.22.2023\79138                              Petition.pdf                             179138       4/29/2022 9:24
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11.22.2023\79138                              Purchase Agreement.pdf                 1007284        4/29/2022 9:24
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79138                              Qualified Assignement.pdf                117988       4/29/2022 9:24



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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79138                              Searches.pdf                         1109143        4/29/2022 9:24
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79138                              Settlement Agreement.pdf               220940       4/29/2022 9:24
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79138                              Stipulation.pdf                        421774       4/29/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79140                              1381513_1_FinalPackage.pdf           3351485       2/28/2022 22:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79140                              Annuity.pdf                            605806       4/29/2022 9:56
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11.22.2023\79140                              Credit Report.pdf                      105858       4/29/2022 9:56
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11.22.2023\79140                              Disclosure - CA.pdf                    177942       4/29/2022 9:56
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Received\Dorchester - 353 Files -
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11.22.2023\79140                              DocuSign.pdf                           146890       4/29/2022 9:56



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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79140                              Petition.pdf                          238348       4/29/2022 9:56
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79140                              Proof of Service.pdf                  194126       4/29/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79140                              Purchase Agreement.pdf                427739       4/29/2022 9:56
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79140                              Request For Acknowledgement.pdf       183428       4/29/2022 9:56
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79140                              Searches.pdf                          835965       4/29/2022 9:56
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79140                              Seller Identification.pdf             275440       4/29/2022 9:56
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79140                              Settlement Documents.pdf              185527       4/29/2022 9:56
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79141                              243030_3_FinalPackage.pdf           4466942       2/28/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79141                              Annuity Contract.pdf                  558069      4/22/2022 13:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79141                              Application.pdf                       303116      4/22/2022 13:40



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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79141                              Bankruptcy Search.pdf                      351940      4/22/2022 13:40
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79141                              Credit Report.pdf                          104669      4/22/2022 13:40
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79141                              Disclosure - MN.pdf                        173033      4/22/2022 13:40
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79141                              Drivers License.pdf                        313809      4/22/2022 13:40
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79141                              Notice of Sale.pdf                         178723      4/22/2022 13:40
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79141                              Purchase Agreement.pdf                     270572      4/22/2022 14:09
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79141                              Request For Acknowledgement.pdf            114198      4/22/2022 13:40
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79141                              Request for Change of Beneficiary.pdf      659748      4/22/2022 13:40
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79141                              Searches.pdf                               637371      4/22/2022 13:40
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79141                              Seller Affidavit.pdf                       190787      4/22/2022 13:40



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79141                              Settlement Order.pdf                        170883      4/22/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79141                              Submission Package.pdf                      240886      4/22/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79141                              Transaction Facilitation Agreement.pdf      470590      4/22/2022 14:07
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79141                              W9.pdf                                      548374      4/22/2022 13:40
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79143                              1382915_2_FinalPackage.pdf               12505360       2/25/2022 17:33
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79143                              Annuity Contract.pdf                        197786      4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79143                              Application.pdf                             371262      4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79143                              Comprehensive Report.pdf                    835682      4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
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11.22.2023\79143                              Credit Report.pdf                         96684      4/25/2022 10:26
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79143                              Disclosure - OR.pdf                      363537      4/25/2022 10:26
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79143                              Docusign Cert_.pdf                       454629      4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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11.22.2023.zip\Dorchester - 353 Files -
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79143                              Notice of Sale.pdf                       157281      4/25/2022 10:24
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79143                              Pacer Search.pdf                         449663      4/25/2022 10:26
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11.22.2023\79143                              Proof of Domicile.pdf                    779750      4/25/2022 10:26
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SuttonPark\Missing Documents
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11.22.2023\79143                              Purchase Agreement.pdf                 2139347       4/25/2022 10:26



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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79143                              Qualified Assignement.pdf                  149731      4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79143                              Request For Acknowledgement.pdf            150211      4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79143                              Request for Change of Beneficiary.pdf      167879      4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79143                              Searches.pdf                               139732      4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79143                              Seller Affidavit.pdf                       155358      4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79143                              Settlement Agreement.pdf                   363378      4/25/2022 10:26
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79143                              Stipulation.pdf                          3458591       4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79143                              UCC Search.pdf                             217009      4/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79143                              Westlaw Search.pdf                         584983      4/25/2022 10:26



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79145                              1493625_8_FinalPackage.pdf            12062890       2/28/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79145                              Annuity Contract.pdf                     370183      4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79145                              Application.pdf                          240943      4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79145                              Court Order.pdf                          337080      4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79145                              Credit Report.pdf                        114075      4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79145                              Disclosure - KS.pdf                      174111      4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79145                              Docusign Cert_.pdf                        97376      4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79145                              List of Files.pdf                         97338      4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79145                              Minors Compromise.pdf                    584173      4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79145                              Name Adendum.pdf                          81042      4/25/2022 12:23



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               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79145                              Notice of Sale.pdf                         162548      4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79145                              Pacer Search.pdf                           446152      4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79145                              Place of Domicile.pdf                      358610      4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79145                              Purchase Agreement.pdf                     416295      4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79145                              Qualified Assignement.pdf                  675510      4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79145                              Request For Acknowledgement.pdf            143592      4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79145                              Request for Change of Beneficiary.pdf      167772      4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79145                              Seller Identification.pdf                  308130      4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79145                              SSC.pdf                                    102376      4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79145                              Stipulation.pdf                          6933772       4/25/2022 12:23



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79145                              Submission Package.pdf                 155938      4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79145                              Westlaw Search.pdf                     792473      4/25/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79146                              1844073_2_FinalPackage.pdf           5884380       2/28/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79146                              Annuity Contract.pdf                   662885      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79146                              Application.pdf                        329013      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79146                              Assignment of Payment Rights.pdf       180961      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79146                              Case Summary.pdf                       184158      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79146                              Court Order.pdf                      1358444       4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79146                              Credit Report.pdf                      116838      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79146                              Disclosure - CA.pdf                    180008      4/25/2022 15:08



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               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79146                              Docusign Cert_.pdf                        145805      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79146                              Drivers License.pdf                       374470      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79146                              List of Files.pdf                          95327      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79146                              Pacer Search.pdf                          447951      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79146                              Purchase Agreement.pdf                    469125      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79146                              Request For Acknowledgement.pdf           202545      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79146                              Seller Affidavit.pdf                      149867      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79146                              Stipulation.pdf                           769545      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79146                              Submission Package.pdf                    180334      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79146                              UCC Search.pdf                            406135      4/25/2022 15:08



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79146                              Verification.pdf                         159772      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79146                              Westlaw Search.pdf                       563072      4/25/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79149                              1771723_1_FinalPackage.pdf             6720441       2/28/2022 18:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79149                              Annuity.pdf                              231528      4/26/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79149                              Application.pdf                          294043      4/26/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79149                              Benefits Letter.pdf                       79200      4/26/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79149                              Court Order.pdf                        2431003       4/26/2022 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79149                              Credit Report.pdf                        108511      4/26/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79149                              Disclosure - TX.pdf                      242827      4/26/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79149                              DocuSign.pdf                             127215      4/26/2022 11:12



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79149                              Drivers License.pdf                        339630      4/26/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79149                              Purchase Agreement.pdf                     829150      4/26/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79149                              Request For Acknowledgement.pdf             91134      4/26/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79149                              Request for Change of Beneficiary.pdf      164049      4/26/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79149                              Searches.pdf                             1015208       4/26/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79149                              Settling Document .pdf                     226327      4/26/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79149                              Stipulation.pdf                            644598      4/26/2022 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79150                              801153_1_FinalPackage.pdf                7695990       2/23/2022 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79150                              Annuity Contract.pdf                       770786      4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79150                              Application.pdf                            222879      4/26/2022 11:31



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               All Paths/Locations                                  Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79150                              Bankruptcy Search.pdf                         234030      4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79150                              Court Order.pdf                             4734689       4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79150                              Credit Report.pdf                             100213      4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79150                              Disclosure - IL.pdf                           151722      4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79150                              Docusign Cert_.pdf                            166444      4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79150                              Notice of Child Support Lien.pdf              284904      4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Notice of Sale and Assignment of Payment
11.22.2023\79150                              Rights.pdf                                    190064      4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79150                              Purchase Agreement.pdf                        335519      4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79150                              Qualified Assignement.pdf                     159117      4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79150                              Request For Acknowledgement.pdf               226094      4/26/2022 11:31



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               All Paths/Locations                              Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79150                              Request for Change of Beneficiary.pdf      149906      4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79150                              Submission Package.pdf                     240606      4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79150                              Verbal Confirmation of Benefits.pdf         91894      4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79150                              Westlaw Search.pdf                         520186      4/26/2022 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              1396915_5_FinalPackage.pdf              23300412        2/28/2022 9:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              Amended Notice of Hearing.pdf              226540       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              Application.pdf                          1117994        5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              Benefits Letter.pdf                        472351       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              Change of Beneficiary.pdf                  112251       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              Court Order.pdf                          1410656        5/3/2022 11:52



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              Credit Report.pdf                         83688       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              Disclosure - AZ.pdf                      699876       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              Disclosure - CO.pdf                      829268       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              Disclosure - SC.pdf                      802266       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              Divorce Settlement Agreement.pdf         950295     11/22/2023 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              Divorce.pdf                              881874       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              DocuSign Certificate.pdf                 864843       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              Drivers License-Barbara Beasley.pdf    1836540        5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              List of Files.pdf                         97596       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              MB Address Search James Beasley.pdf    1373204       6/22/2022 13:40



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               All Paths/Locations                                Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              Notice of Hearing.pdf                                222538       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              Notice of Sale-Assignment of Payment Rights.pdf      170103       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              Pacer Search.pdf                                     322541       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              Proof of Domicile.pdf                                186390       5/3/2022 11:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              Purchase Agreement.pdf                             8035343        5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              Request For Acknowledgement.pdf                      149913       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              Request for Change of Beneficiary.pdf                404472       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              Settlement Order.pdf                                 172445       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              Stipulation.pdf                                    3180379        5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              Submission Package.pdf                               204589       5/3/2022 11:52



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               All Paths/Locations                                  Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              UCC Search.pdf                                 168374       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79152                              Westlaw Search.pdf                             771745       5/3/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79153                              1818913_2_FinalPackage.pdf                  16761252       2/25/2022 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79153                              Annuity Contract Certificate.pdf               267013       5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79153                              Application.pdf                                179155       5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79153                              Attorney Certification for Transferee.pdf      171692       5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79153                              Court Order.pdf                              3274246        5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79153                              Credit Report.pdf                              272965       5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79153                              Disclosure - PA.pdf                            221840       5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79153                              Disclosure - TX.pdf                            137101       5/3/2022 13:19



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               All Paths/Locations                                Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79153                              DocuSign Certification.pdf                           164422       5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79153                              Drivers License.pdf                                  820226       5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79153                              Minors Order.pdf                                     214082       5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79153                              Notice of Sale-Assignment of Payment Rights.pdf      176330       5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79153                              Purchase Agreement.pdf                               296722       5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79153                              Request For Acknowledgement.pdf                      134181       5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79153                              Request for Change of Beneficiary.pdf                150114       5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79153                              Stipulation.pdf                                   10215447        5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79153                              Submission Package.pdf                               201992       5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79153                              UCC Search.pdf                                       108504       5/3/2022 13:19



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               All Paths/Locations                               Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79153                              Verification.pdf                                186093       5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79153                              Westlaw Search.pdf                           17215698        5/3/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              1883306_1_FinalPackage.pdf                   22451861        3/1/2022 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              324 Ltr Filing Notice of Transfer.pdf            21679      1/28/2022 18:14
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              324 Notice of Transfer (w Exs).pdf            3723387       1/28/2022 18:45
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              Acknowledgment of Assignment.pdf              6957416       5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              Annuity Contract.pdf                            186865      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Application for Approval of Transfer of SS
11.22.2023\79154                              Payment Rights.pdf                              645745      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              Application.pdf                                 385223      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              Assignment and Assessment Agreement.pdf         246214      5/10/2022 17:36



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               All Paths/Locations                                  Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Authorization to Conduct Credit Check and
11.22.2023\79154                              Release Information.pdf                        147036      5/10/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              Court Order.pdf                                647676      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              Credit Report.pdf                              103908      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              Disclosure - IL.pdf                            319772      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              Disclosure - TX.pdf                            142404      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              DocuSign Certificate.pdf                       121305      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              Drivers License.pdf                            101511      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              Email re Notice of Transfer.pdf              3395724       5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              324 Ltr Filing Notice of Transfer.pdf           21679      1/28/2022 18:14
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              324 Notice of Transfer (w Exs).pdf           3723387       1/28/2022 18:45



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               All Paths/Locations                                  Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              Infants Compromise Order.pdf                           544018      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              List of Files.pdf                                       97254      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              Notice of Hearing.pdf                                  280194      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              Pacer Report.pdf                                       169770      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Payees Request to Conceal Personally Identifiable
11.22.2023\79154                              Information.pdf                                        325253      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              Proof of Delivery.pdf                                  171023      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              Purchase Agreement.pdf                               1184701       5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              Request For Acknowledgement.pdf                        147147      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              Stipulation.pdf                                      5770921       5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              Supplemental Disclosure Statement-NY.pdf               819479      5/10/2022 17:37



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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              Uniform Qualified Assignment.pdf         279353      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79154                              Westlaw Search.pdf                       514401      5/10/2022 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79155                              1271079_2_FinalPackage.pdf             6706344       2/25/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79155                              Application.pdf                          302132      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79155                              Case Search.pdf                          387506      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79155                              Court Order.pdf                          579152      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79155                              Cover Letter re Notice of Sale.pdf       174714      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79155                              Credit Report.pdf                        116534      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79155                              Disclosure - MO.pdf                      469777      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79155                              Disclosure - TX.pdf                      370383      5/10/2022 16:37



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79155                              DocuSign Cert.pdf                               373959      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79155                              Judgment and Approval of Settlement.pdf         241963      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79155                              List of Files.pdf                                96286      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79155                              Order of Discharge.pdf                           98592      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79155                              Order of Judgment Approving Settlement.pdf      244988      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79155                              Pacer Search.pdf                                156689      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79155                              Purchase Agreement.pdf                          445627      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79155                              Request For Acknowledgement.pdf                 219166      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79155                              Request for Change of Beneficiary.pdf           168185      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79155                              Sanctions List Search.pdf                       157653      5/10/2022 16:37



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79155                              Settlement Agreement.pdf               469617      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79155                              Settlement Documents.pdf               872940      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79155                              Stipulation.pdf                        824606      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79155                              Submission Package.pdf                 220292      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79155                              UCC Search.pdf                         145633      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79155                              Westlaw Search.pdf                     584741      5/10/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79156                              957669_2_FinalPackage.pdf           16508372       2/28/2022 18:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79156                              Annuity Contract.pdf                   202179      5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79156                              Application.pdf                        338309      5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79156                              Bankruptcy Search.pdf                  339144      5/10/2022 15:45



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79156                              Comprehensive Report.pdf                  1393253       5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79156                              Court Order.pdf                           5985244       5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79156                              Cover Letter re Notice of Sale.pdf          150379      5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79156                              Credit Report.pdf                           110973      5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79156                              Disclosure - IL.pdf                         175378      5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79156                              Disclosure - NJ.pdf                         175323      5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79156                              DocuSign Certificate.pdf                    294304      5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79156                              Drivers License.pdf                         414855      5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79156                              List of Files.pdf                            95673      5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79156                              Order Approving Partial Settlement.pdf      168026      5/10/2022 15:45



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79156                              Proof of Delivery.pdf                  378340      5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79156                              Purchase Agreement.pdf                 399764      5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79156                              Request For Acknowledgement.pdf        150233      5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79156                              Settlement Agreement.pdf               580574      5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79156                              Stipulation.pdf                      5581533       5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79156                              Submission Package.pdf                 233665      5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79156                              Uniform Qualified Assignment.pdf       201574      5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79156                              Verification.pdf                       139358      5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79156                              Westlaw Search.pdf                     687667      5/10/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79157                              795863_4_FinalPackage.pdf           19403186       2/25/2022 16:43



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               All Paths/Locations                                Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79157                              Affidavit in Support of Petition.pdf    1057715       5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79157                              Application.pdf                           225878      5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79157                              Bankruptcy Search.pdf                     768949      5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79157                              Class 1 Form.pdf                           94250      5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79157                              Class 2 IP Form.pdf                       130384      5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79157                              Court Order.pdf                         3591042       5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79157                              Cover Letter re Notice of Sale.pdf        173016      5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79157                              Credit Report.pdf                          82028      5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79157                              Death Records.pdf                         674320      5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79157                              Disclosure - NY.pdf                       986752      5/10/2022 14:56



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               All Paths/Locations                              Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79157                              Docusign Certificate.pdf                           156373      5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79157                              Drivers License.pdf                                403771      5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79157                              Marriage Certificate .pdf                          321623      5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79157                              Miscellaneous Loan Statements .pdf               1728564       5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79157                              Proof of Delivery.pdf                              112524      5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79157                              Purchase Agreement.pdf                           4314415       5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79157                              Request For Acknowledgement.pdf                    142891      5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79157                              Request for Change of Beneficiary.pdf              151836      5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       RIOBE2 Jessica Riobe 2 Am. Gen. Life Ins. Co.
11.22.2023\79157                              Structured Settlement W0273958 1.PDF            23394740        2/5/2016 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79157                              Settlement Agreement.pdf                           428721      5/10/2022 14:56



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               All Paths/Locations                                Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79157                              Stipulation.pdf                           4382165       5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79157                              Submission Package.pdf                      229036      5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79157                              UCC Search.pdf                              112685      5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79157                              Westlaw Search.pdf                          504310      5/10/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79158                              1824019_3_FinalPackage.pdf               13609411       2/24/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Amended Order Approving Settlement and
11.22.2023\79158                              Disbursement.pdf                            380656      5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79158                              Annuity Contract.pdf                      1824623       5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79158                              Application.pdf                             316159      5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79158                              Bankruptcy Search.pdf                       351303      5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79158                              Certificate of Guarantee.pdf              2308373       5/10/2022 13:52



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               All Paths/Locations                                  Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79158                              Court Order.pdf                                 1311388       5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79158                              Cover Letter re Notice of Sale.pdf                 97589      5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79158                              Credit Report.pdf                                 110382      5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79158                              Disclosure - ID.pdf                               166013      5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79158                              Disclosure - TX.pdf                               165599      5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79158                              Docusign Certificate.pdf                           90745      5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79158                              Drivers License.pdf                             3789009       5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79158                              General Judgment-Closing Conservatorship.pdf      218199      5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Order Approving Settlement and
11.22.2023\79158                              Disbursement.pdf                                  371242      5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79158                              Order Approving Settlement.pdf                    183944      5/10/2022 13:52



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79158                              Purchase Agreement.pdf                             410862      5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79158                              Request For Acknowledgement.pdf                    114590      5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79158                              Request for Change of Beneficiary.pdf              168861      5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       RIOBE2 Jessica Riobe 2 Am. Gen. Life Ins. Co.
11.22.2023\79158                              Structured Settlement W0273958 1.PDF            23394740        2/5/2016 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79158                              Stipulation.pdf                                  1483975       5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79158                              Submission Package.pdf                              78804      5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79158                              Westlaw Search.pdf                                 698455      5/10/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79159                              1692915_5_FinalPackage.pdf                       6427775       2/23/2022 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79159                              Annuity Contract.pdf                               148670      5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79159                              Application.pdf                                    413250      5/10/2022 12:45



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79159                              Bankruptcy Search.pdf                    601703      5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79159                              Change of Address.pdf                     87137      5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79159                              Class 2 IP Form.pdf                       99837      5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79159                              Court Order.pdf                          666210      5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79159                              Cover Letter re Notice of Sale.pdf       177181      5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79159                              Credit Report.pdf                        107840      5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79159                              Disclosure - IL.pdf                      266398      5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79159                              DocuSign Certification.pdf               499134      5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79159                              Drivers License.pdf                      368490      5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79159                              Lien and Judgment Search.pdf             504958      5/10/2022 12:45



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               All Paths/Locations                                  Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79159                              List of Files.pdf                          96681      5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79159                              Order to Approve Settlement.pdf           194749      5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79159                              Purchase Agreement.pdf                    587362      5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79159                              Qualified Assignement.pdf                 266800      5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79159                              Request For Acknowledgement.pdf           150879      5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79159                              Seller Identification.pdf                 768639      5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79159                              Settlement Agreement and Release.pdf      409288      5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79159                              Submission Package.pdf                    188232      5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79159                              UCC Search.pdf                            131233      5/10/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79160                              1866795_1_FinalPackage.pdf              5351089       2/25/2022 15:37



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79160                              Application.pdf                               323525      5/11/2022 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79160                              Benefits Letter.pdf                           286495      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79160                              Change of Address.pdf                         286495      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79160                              Court Order.pdf                               336199      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79160                              Court Search.pdf                              335462      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79160                              Cover Letter re Notice of Sale.pdf            187220      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79160                              Credit Report.pdf                             105170      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79160                              Disclosure - MO.pdf                           165997      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79160                              DocuSign Certificate.pdf                      348309      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79160                              Judgment Approving Minors Settlement.pdf      330694      5/11/2022 10:36



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79160                              List of Files.pdf                           95114      5/11/2022 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79160                              Pacer Search.pdf                           352088      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79160                              Proof of Delivery.pdf                      300677      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79160                              Purchase Agreement.pdf                     405731      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79160                              Request For Acknowledgement.pdf            185246      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79160                              Request for Change of Beneficiary.pdf      166666      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79160                              Seller Identification.pdf                  148870      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79160                              Settlement Agreement and Release.pdf     1087283       5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79160                              Stipulation.pdf                            800150      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79160                              Submission Package.pdf                     227854      5/11/2022 10:36



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               All Paths/Locations                                  Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79160                              Westlaw Search.pdf                          618236      5/11/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79161                              1450824_1_FinalPackage.pdf               13933558       2/28/2022 20:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79161                              Application.pdf                             451915       5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Authorization to Discuss Transactional
11.22.2023\79161                              Information.pdf                             178399       5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79161                              Benificiary Confirmation.pdf                100001       5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79161                              Comprehensive Report.pdf                  1024723        5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79161                              Court Order.pdf                           1878521        5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79161                              Cover Letter re Notice of Sale.pdf          150113       5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79161                              Credit Report.pdf                           111516       5/11/2022 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79161                              Disclosure - KY.pdf                         126771       5/11/2022 9:27



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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79161                              Disclosure - TX.pdf                        128459       5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79161                              DocuSign Certificate.pdf                   498231       5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79161                              Drivers License.pdf                        361355       5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79161                              List of Files.pdf                           98266       5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79161                              Pacer Search.pdf                           391641       5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79161                              Proof of Delivery.pdf                    5163567        5/11/2022 9:27
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79161                              Proof of Domicile.pdf                      730380       5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79161                              Purchase Agreement.pdf                   1064356        5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79161                              Request For Acknowledgement.pdf            150331       5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79161                              Request for Change of Beneficiary.pdf       83768       5/11/2022 9:27



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79161                              Schedule .pdf                              96711       5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79161                              Seller Affidavit.pdf                      104815       5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79161                              Stipulation.pdf                           824143       5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79161                              Submission Package.pdf                    231500       5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79161                              Westlaw Search.pdf                        677437       5/11/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79162                              1860133_1_FinalPackage.pdf             17427568       2/25/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79162                              Annuity Contract.pdf                      381039      5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79162                              Application.pdf                           276551      5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79162                              Court Order.pdf                           302876      5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79162                              Cover Letter re Notice of Sale.pdf        141277      5/10/2022 11:32



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79162                              Credit Report.pdf                        105297      5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79162                              Disclosure - CT.pdf                      261618      5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79162                              DocuSign Cert_.pdf                       482204      5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79162                              Drivers License.pdf                      261508      5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79162                              List of Files.pdf                         96300      5/10/2022 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79162                              Pacer Search.pdf                         562281      5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79162                              Proof of Domicile.pdf                    582326      5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79162                              Purchase Agreement.pdf                   552382      5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79162                              Qualified Assignement.pdf                291418      5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79162                              Request For Acknowledgement.pdf          142307      5/10/2022 11:32



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79162                              Request for Change of Beneficiary.pdf      165281      5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79162                              Settlement Agreement.pdf                   566046      5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79162                              Stipulation.pdf                         11558752       5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79162                              UCC Search.pdf                             109634      5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79162                              Westlaw Search.pdf                         546345      5/10/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79163                              1734852_7_FinalPackage.pdf              10143108       2/24/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79163                              Annuity Contract.pdf                       646642      5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79163                              Application.pdf                            226506      5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79163                              Court Order.pdf                            711093      5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79163                              Credit Report.pdf                           98665      5/10/2022 10:41



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79163                              Disclosure - FL.pdf                      156301      5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79163                              Disclosure - IL.pdf                      156397      5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79163                              DocuSign Cert_.pdf                       165441      5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79163                              Drivers License.pdf                    2574800       5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79163                              Letter re Notice of Sale.pdf             194218      5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79163                              Notice of Filing.pdf                     146615      5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79163                              Pacer Search.pdf                         233978      5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79163                              Proof of Delivery.pdf                    180148      5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79163                              Purchase Agreement.pdf                   263884      5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79163                              Request For Acknowledgement.pdf          141759      5/10/2022 10:41



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               All Paths/Locations                                Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79163                              Settlement Order.pdf                    118040      5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79163                              Stipulation.pdf                       4675339       5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79163                              Westlaw Search.pdf                      451358      5/10/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79165                              1866540_1_FinalPackage.pdf            9283389       2/24/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79165                              Application.pdf                         581869       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79165                              Benefits Letter.pdf                     136662       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79165                              Class 2 IP Forms.pdf                    169509       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79165                              Court Order.pdf                       1364281        5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79165                              Cover Letter re Notice of Sale.pdf      157042       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79165                              Credit Report.pdf                       117258       5/10/2022 9:49



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79165                              Death Report.pdf                          82775       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79165                              Declaration of Payee.pdf                 137623       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79165                              Disclosure - CA.pdf                      173781       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79165                              Disclosure - NY.pdf                      172606       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79165                              Dissolution of Marriage.pdf              219799       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79165                              DocuSign Cert_.pdf                       601516       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79165                              Drivers License.pdf                      394094       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79165                              List of Files.pdf                         96011       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79165                              Pacer Report.pdf                         351820       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79165                              Proof of Domicile.pdf                  2593645        5/10/2022 9:49



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79165                              Purchase Agreement.pdf                     608152       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79165                              Request For Acknowledgement.pdf            193553       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79165                              Request for Change of Beneficiary.pdf      163599       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79165                              Stipulation.pdf                            353646       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79165                              Supplemental Proof of Service.pdf          350319       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79165                              Westlaw Search.pdf                         783433       5/10/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79166                              1246997_4_FinalPackage.pdf               7595215       2/24/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79166                              Annuity Contract.pdf                       256045       4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79166                              Application.pdf                            336296       4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79166                              Court Order.pdf                            614599       4/22/2022 8:53



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79166                              Credit Report.pdf                          104941       4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79166                              Disclosure - TX.pdf                        173731       4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79166                              DocuSign .pdf                              146062       4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79166                              Drivers License.pdf                        361744       4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79166                              Marriage License.pdf                       571436       4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79166                              Name Change.pdf                            660275       4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79166                              Purchase Agreement.pdf                     477531       4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79166                              Request For Acknowledgement.pdf            240318       4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79166                              Request for Change of Beneficiary.pdf      167534       4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79166                              Searches.pdf                             1045733        4/22/2022 8:53



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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79166                              Stipulation.pdf                      3053777        4/22/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79168                              1389777_1_FinalPackage.pdf           6647180       2/25/2022 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79168                              Acknowledgement.pdf                    157246      4/22/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79168                              Application.pdf                        193597      4/22/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79168                              Benefits Letter.pdf                     97458      4/22/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79168                              Court Order.pdf                        331645      4/22/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79168                              Credit Report.pdf                      115805      4/22/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79168                              Disclosure - GA.pdf                    176771      4/22/2022 10:16
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79168                              Disclosure - WA.pdf                    174060      4/22/2022 10:16
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79168                              Drivers License.pdf                        303585      4/22/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79168                              Minors Compromise .pdf                   1591175       4/22/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79168                              Petition.pdf                               320131      4/22/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79168                              Purchase Agreement.pdf                     410879      4/22/2022 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79168                              Request For Acknowledgement.pdf            169209      4/22/2022 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79168                              Request for Change of Beneficiary.pdf      140934      4/22/2022 10:16
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79168                              Searches.pdf                             1252285       4/22/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79168                              Settlement Agreement.pdf                 1387907       4/22/2022 10:15
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79168                              Stipulation.pdf                            869746      4/22/2022 10:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79170                              726560_3_FinalPackage.pdf               11911945       2/24/2022 17:21



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               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79170                              Annuity Contract.pdf                        89712      4/22/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79170                              Application.pdf                            247184      4/22/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79170                              Court Order.pdf                            373853      4/22/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79170                              Credit Report.pdf                          107701      4/22/2022 10:42
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79170                              Disclosure - LA.pdf                        155819      4/22/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79170                              DocuSign.pdf                               234970      4/22/2022 10:42
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79170                              Proof of Service.pdf                       465505      4/22/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79170                              Purchase Agreement.pdf                     605373      4/22/2022 10:42
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79170                              Request For Acknowledgement.pdf             91116      4/22/2022 10:42
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79170                              Request for Change of Beneficiary.pdf       90856      4/22/2022 10:42



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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79170                              Searches.pdf                         1814140       4/22/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79170                              Seller Identification.pdf              896036      4/22/2022 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79170                              Settlement Agreement.pdf             2544889       4/22/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79170                              Stipulation.pdf                      4854341       4/22/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79172                              1744733_5_FinalPackage.pdf           3390196       2/28/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79172                              Annuity.pdf                            377603      4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79172                              Application.pdf                        313127      4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79172                              Benefits Letter.pdf                    192408      4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79172                              Court Order.pdf                        237946      4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79172                              Credit Report.pdf                      102523      4/22/2022 11:03



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79172                              Disclosure - CT.pdf                        175245      4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79172                              DocuSign .pdf                              147294      4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79172                              Infant's Compromise Order .pdf             181223      4/22/2022 11:03
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79172                              Purchase Agreement.pdf                     464483      4/22/2022 11:03
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79172                              Qualified Assignement.pdf                  284963      4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79172                              Request For Acknowledgement.pdf            149106      4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79172                              Request for Change of Beneficiary.pdf      168812      4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79172                              Searches.pdf                               920379      4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
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11.22.2023\79172                              Seller Identification.pdf                  258980      4/22/2022 11:03
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79172                              Settlement Agreement .pdf                  259951      4/22/2022 11:03



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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79173                              1829019_2_FinalPackage.pdf            16486492       2/23/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79173                              Annuity Contract.pdf                     441367      4/22/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79173                              Application.pdf                          329082      4/22/2022 11:25
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79173                              Change of Beneficiary.pdf                152183      4/22/2022 11:24
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79173                              Credit Report.pdf                        106082      4/22/2022 11:25
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79173                              Disclosure - KY.pdf                      268933      4/22/2022 11:25
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SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023\79173                              Drivers License.pdf                      831429      4/22/2022 11:25



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79173                              Minor Settlement .pdf                    1040799       4/22/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79173                              Proof of Service.pdf                     4929100       4/22/2022 11:25
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79173                              Purchase Agreement.pdf                     595967      4/22/2022 11:25
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79173                              Qualified Assignement.pdf                  318717      4/22/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79173                              Request For Acknowledgement.pdf            149757      4/22/2022 11:25
Saiph consulting|\Audit Materials Received-
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11.22.2023\79173                              Request for Change of Beneficiary.pdf      169952      4/22/2022 11:25
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79173                              Searches.pdf                             1206118       4/22/2022 11:25
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79173                              Settlement Agreement.pdf                   541456      4/22/2022 11:24
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79173                              SSN.pdf                                    441746      4/22/2022 11:25
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11.22.2023\79173                              Stipulation.pdf                            613036      4/22/2022 11:25



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79174                              1701673_3_FinalPackage.pdf          15481287       2/25/2022 19:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79174                              Annuity Contract.pdf                   344598      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79174                              Application.pdf                        326583      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79174                              Assignment.pdf                         194692      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79174                              Change of Beneficiary.pdf              110011      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79174                              Court Order.pdf                      1852638       4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79174                              Credit Report.pdf                      105383      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79174                              Disclosure - CA.pdf                    169770      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79174                              DocuSign.pdf                            88909      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79174                              Drivers License.pdf                  7876378       4/22/2022 12:43



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79174                              Notice of Hearing .pdf                     182024      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79174                              Petition.pdf                               450740      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79174                              Purchase Agreement.pdf                     483488      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79174                              Qualified Assignement.pdf                  451990      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79174                              Request For Acknowledgement.pdf            188182      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79174                              Request for Change of Beneficiary.pdf      167950      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79174                              Searches.pdf                               915850      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79174                              Settlement Agreement.pdf                   908420      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79174                              Stipulation.pdf                            865163      4/22/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79175                              1340968_2_FinalPackage.pdf               7181349       2/23/2022 17:36



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79175                              image003.png                              18954
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79175                              Application.pdf                          403842      4/22/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79175                              Benefits Letter.pdf                      936922      4/22/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79175                              Court Order.pdf                          398872      4/22/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79175                              Credit Report.pdf                        266022      4/22/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79175                              Disclosure - TX.pdf                      321623      4/22/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79175                              DocuSign.pdf                             247604      4/22/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79175                              Drivers License.pdf                      548144      4/22/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79175                              Purchase Agreement.pdf                 3220852       4/22/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79175                              Request For Acknowledgement.pdf          245532      4/22/2022 12:55



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79175                              Searches.pdf                           1274783       4/22/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79175                              Settlement Agreement.pdf                 918192      4/22/2022 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79176                              1349610_1_FinalPackage.pdf             6911349       2/24/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79176                              Annuity Contract.pdf                     374773      4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79176                              Application.pdf                          284279      4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79176                              Change of Beneficiary.pdf                108556      4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79176                              Court Order.pdf                          451207      4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79176                              Credit Report.pdf                        103654      4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79176                              Disclosure - NJ.pdf                      269401      4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79176                              DocuSign.pdf                             261184      4/22/2022 13:12



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79176                              Prior Court Orders.pdf                     365214      4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79176                              Purchase Agreement.pdf                     563406      4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79176                              Qualified Assignement.pdf                  677305      4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79176                              Request For Acknowledgement.pdf            177707      4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79176                              Request for Change of Beneficiary.pdf      170720      4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79176                              Searches.pdf                               928547      4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79176                              Seller Identification.pdf                  338199      4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79176                              Settlement Agreement.pdf                   768185      4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79176                              Stipulation.pdf                            623357      4/22/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79177                              1851482_2_FinalPackage.pdf               2603991       2/28/2022 15:56



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3052 of
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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79177                              Application.pdf                          329693      4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79177                              Benefits Letter.pdf                      127213      4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79177                              Confirmation of Settlement.pdf           137470      4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79177                              Court Order.pdf                          477276      4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79177                              Credit Report.pdf                        104738      4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79177                              Declaration.pdf                          116099      4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79177                              Disclosure - CT.pdf                      173989      4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79177                              Disclosure - DE.pdf                      173798      4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79177                              Disclosure - IL.pdf                      173946      4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79177                              Disclosure - MI.pdf                      173716      4/22/2022 13:47



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3053 of
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               All Paths/Locations                               Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79177                              DocuSign.pdf                               165205      4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79177                              Purchase Agreement.pdf                     431933      4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79177                              Request for Change of Address.pdf          188440      4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79177                              Request for Change of Beneficiary.pdf      167647      4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79177                              Searches.pdf                               853061      4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79177                              Seller Identification.pdf                  404298      4/22/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79179                              1806356_2_FinalPackage.pdf              20243620       2/28/2022 19:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79179                              Annuity.pdf                                265695      4/22/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79179                              Application.pdf                            242270      4/22/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79179                              Court Order.pdf                            362044      4/22/2022 17:05



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3054 of
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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79179                              Credit Report.pdf                        104732      4/22/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79179                              Disclosure - NJ.pdf                      169828      4/22/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79179                              Disclosure - TX.pdf                      169757      4/22/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79179                              DocuSign.pdf                             255484      4/22/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79179                              Purchase Agreement.pdf                   841227      4/22/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79179                              Request For Acknowledgement.pdf          156946      4/22/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79179                              Searches.pdf                             985610      4/22/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79179                              Seller Identification.pdf              3686885       4/22/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79179                              SSN.pdf                                  129823      4/22/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79179                              Stipulation.pdf                       12247203       4/22/2022 17:05



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79180                              1787100_1_FinalPackage.pdf           5757459       2/24/2022 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79180                              Application.pdf                        931043      4/22/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79180                              Benefits Letter .pdf                   838652      4/22/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79180                              Court Order.pdf                        914566      4/22/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79180                              Credit Report.pdf                      713547      4/22/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79180                              Disclosure - MN.pdf                    868933      4/22/2022 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79180                              DocuSign.pdf                           763582      4/22/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79180                              Drivers License.pdf                    894883      4/22/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79180                              Proof of Service.pdf                   784581      4/22/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79180                              Purchase Agreement.pdf               1827918       4/22/2022 17:17



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               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79180                              Request For Acknowledgement.pdf            780610      4/22/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79180                              Request for Change of Beneficiary.pdf      709015      4/22/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79180                              Searches.pdf                             1847919       4/22/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79180                              Settling Documents .pdf                    781576      4/22/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79181                              1699339_3_FinalPackage.pdf               4442690        2/28/2022 8:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79181                              Application.pdf                            492199      4/22/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79181                              Benefits Letter.pdf                        247633      4/22/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79181                              Court Order.pdf                            578146      4/22/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79181                              Credit Report.pdf                          260653      4/22/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79181                              Disclosure - TX.pdf                        331390      4/22/2022 17:34



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79181                              DocuSign .pdf                              303194      4/22/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79181                              Drivers License.pdf                        837043      4/22/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79181                              Purchase Agreement.pdf                     738720      4/22/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79181                              Request For Acknowledgement.pdf            344556      4/22/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79181                              Request for Change of Beneficiary.pdf      325149      4/22/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79181                              Searches.pdf                             1282454       4/22/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79181                              Settling Documents .pdf                    951029      4/22/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79181                              Stipulation.pdf                            540464      4/22/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79182                              1866870_1_FinalPackage.pdf               4698609       2/24/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79182                              Annuity Contract.pdf                        76054      4/22/2022 17:52



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               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79182                              Application.pdf                            277436      4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79182                              Court Order.pdf                            393321      4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79182                              Credit Report.pdf                          106779      4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79182                              Disclosure - TX.pdf                        174447      4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79182                              Disclosure - WI.pdf                        177500      4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79182                              DocuSign.pdf                               125273      4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79182                              Drivers License.pdf                        123437      4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79182                              Purchase Agreement.pdf                   1876793       4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79182                              Request For Acknowledgement.pdf            187600      4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79182                              Request for Change of Beneficiary.pdf      117648      4/22/2022 17:52



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               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79182                              Searches.pdf                              897540      4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79182                              Seller Affidavit.pdf                      167810      4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79182                              Settling Documents .pdf                   120677      4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79182                              Stipulation.pdf                           670594      4/22/2022 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79184                              1724137_2_FinalPackage.pdf              9241611       2/24/2022 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79184                              Annuity Contract.pdf                      320672      4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79184                              Application.pdf                           278515      4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79184                              Court Order.pdf                         3656862       4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79184                              Credit Report.pdf                         159149      4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79184                              Disclosure - TX.pdf                       273915      4/22/2022 18:08



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79184                              DocuSign.pdf                               145255      4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79184                              Drivers License.pdf                        804435      4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79184                              Name Addendum.pdf                           78983      4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79184                              Purchase Agreement.pdf                     427471      4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79184                              Qualified Assignement.pdf                  267567      4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79184                              Request For Acknowledgement.pdf            158690      4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79184                              Request for Change of Beneficiary.pdf      168820      4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79184                              Searches.pdf                             1391050       4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79184                              Settlement Agreement.pdf                 1401422       4/22/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79184                              Stipulation.pdf                            840462      4/22/2022 18:08



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79185                              1877085_1_FinalPackage.pdf          15428763       2/28/2022 16:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79185                              Annuity.pdf                            239956      4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79185                              Application.pdf                      2172803       4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79185                              Assignment.pdf                         431576      4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79185                              Benefits Letter.pdf                    106381      4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79185                              Court Order.pdf                      1591881       4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79185                              Credit Report.pdf                      107013      4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79185                              Disclosure.pdf                       1251394       4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79185                              DocuSign.pdf                           468175      4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79185                              Minors Compromise.pdf                     274935      4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79185                              Petition.pdf                              964801      4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79185                              Proof of Service.pdf                      750412      4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79185                              Purchase Agreement.pdf                  1276386       4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79185                              Qualified Assignement.pdf                 194537      4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79185                              Searches.pdf                            1036807       4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79185                              Seller Affidavit.pdf                      731624      4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79185                              Settlement Agreement.pdf                  440279      4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79185                              Stipulation.pdf                           944624      4/22/2022 18:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79189                              520862_6_FinalPackage.pdf              16757007       2/28/2022 10:34



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               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79189                              Annuity Contract.pdf                       531702      4/29/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79189                              Application.pdf                            371161      4/29/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79189                              Court Order.pdf                            354929      4/29/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79189                              Credit Report.pdf                          130131      4/29/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79189                              Disclosure - NJ.pdf                        174478      4/29/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79189                              Purchase Agreement.pdf                     293091      4/29/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79189                              Request For Acknowledgement.pdf            151290      4/29/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79189                              Request for Change of Beneficiary.pdf      168189      4/29/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79189                              Searches.pdf                             1200145       4/29/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79189                              Seller Identification.pdf                1175958       4/29/2022 11:24



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79189                              Settlement Agreement.pdf             1430358       4/29/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79189                              Stipulation.pdf                     10444992       4/29/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79191                              1848930_1_FinalPackage.pdf           6376818       2/25/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79191                              Annuity Contract.pdf                   389888      4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79191                              Application.pdf                        308894      4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023\79191                              Court Order.pdf                        620797      4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79191                              Credit Report.pdf                      103219      4/29/2022 11:48
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79191                              Disclosure - NC.pdf                    175632      4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79191                              Purchase Agreement.pdf                 333659      4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79191                              Qualified Assignement.pdf              207585      4/29/2022 11:48



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79191                              Request For Acknowledgement.pdf            264413      4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79191                              Request for Change of Beneficiary.pdf      274568      4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79191                              Searches.pdf                             1080209       4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79191                              Seller Identification.pdf                  243925      4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79191                              Settlement Agreement.pdf                   535346      4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79191                              SSN.pdf                                    200780      4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79191                              Stipulation.pdf                            763552      4/29/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79192                              578992_12_FinalPackage.pdf              15287872       2/28/2022 18:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79192                              Annuity Contract.pdf                       201312      4/29/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79192                              Application.pdf                            460588      4/29/2022 13:23



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79192                              Court Order.pdf                            354127      4/29/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79192                              Credit Report.pdf                          110627      4/29/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79192                              Disclosure - MO.pdf                        264026      4/29/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79192                              Disclosure - TX.pdf                        264124      4/29/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79192                              Purchase Agreement.pdf                     297997      4/29/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79192                              Request For Acknowledgement.pdf            106801      4/29/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79192                              Request for Change of Beneficiary.pdf      167169      4/29/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79192                              Searches.pdf                             1278650       4/29/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79192                              Seller Identification.pdf                4522297       4/29/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79192                              Settlement Agreement.pdf                   297908      4/29/2022 13:23



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79192                              Stipulation.pdf                      5072955       4/29/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79197                              1835374_5_FinalPackage.pdf          27712717       2/28/2022 19:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79197                              Annuity Contract.pdf                   699424      4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79197                              Application.pdf                        475640      4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79197                              Court Order.pdf                        221876      4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79197                              Credit Report.pdf                      108834      4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79197                              Disclosure.pdf                         169962      4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79197                              Divorce.pdf                         16769662       4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79197                              Purchase Agreement.pdf                 295884      4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79197                              Qualified Assignement.pdf            2122082       4/29/2022 14:31



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               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79197                              Request For Acknowledgement.pdf           150507      4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79197                              Searches.pdf                            1028877       4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79197                              Seller Affidavit.pdf                      188258      4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79197                              Seller Identification.pdf                 967192      4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79197                              Settlement Agreement.pdf                3308069       4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79197                              SSN.pdf                                   190583      4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79200                              1681473_2_FinalPackage.pdf             17979286       2/28/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79200                              Annuity Contract.pdf                      387986      4/29/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79200                              Application.pdf                           486748      4/29/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79200                              Court Order.pdf                         5363847       4/29/2022 14:49



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               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79200                              Credit Report.pdf                          156239      4/29/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79200                              Disclosure - KY.pdf                        268412      4/29/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79200                              Purchase Agreement.pdf                     334418      4/29/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79200                              Qualified Assignement.pdf                  249532      4/29/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79200                              Request For Acknowledgement.pdf            150274      4/29/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79200                              Request for Change of Beneficiary.pdf      169722      4/29/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79200                              Searches.pdf                             1379574       4/29/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79200                              Seller Identification.pdf                  235828      4/29/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79200                              Settlement Agreement.pdf                   837337      4/29/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79200                              Stipulation.pdf                          5849386       4/29/2022 14:49



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79201                              277092_10_FinalPackage.pdf              20848086       2/28/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79201                              Annuity Contract.pdf                       248757      4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79201                              Application.pdf                            453062      4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79201                              Benefits Letter.pdf                        162477      4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79201                              Court Order.pdf                            648210      4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79201                              Credit Report.pdf                           93691      4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79201                              Disclosure - NC.pdf                        312697      4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79201                              Purchase Agreement.pdf                   1193638       4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79201                              Request For Acknowledgement.pdf            150652      4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79201                              Request for Change of Beneficiary.pdf      169648      4/29/2022 17:41



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79201                              Searches.pdf                         1826174       4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79201                              Seller Identification.pdf            2377852       4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79201                              Settlement Agreement.pdf               929085      4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79201                              Stipulation.pdf                      5643869       4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79201                              W9.pdf                               1917004       4/29/2022 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79202                              1626612_2_FinalPackage.pdf          21863095       2/28/2022 21:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79202                              Annuity Contract.pdf                   176688       5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79202                              Application.pdf                        275471       5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79202                              Court Order.pdf                      2412671        5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79202                              Credit Report.pdf                      102794       5/2/2022 11:36



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               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79202                              Disclosure - IL.pdf                        777944       5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79202                              Disclosure - IN.pdf                        139900       5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79202                              Disclosure - TX.pdf                        777501       5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79202                              Purchase Agreement.pdf                     235459       5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79202                              Request For Acknowledgement.pdf            133368       5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79202                              Request for Change of Beneficiary.pdf      745096       5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79202                              Searches.pdf                               603441       5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79202                              Seller Identification.pdf                  647048       5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79202                              Settlement Agreement.pdf                   487461       5/2/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79202                              Stipulation.pdf                          2992213        5/2/2022 11:36



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3073 of
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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79205                              1349615_5_FinalPackage.pdf          10979187       2/25/2022 18:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79205                              Annuity Contract.pdf                   469565       5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79205                              Application.pdf                        352759       5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79205                              Benefits Letter.pdf                    210238       5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79205                              Court Order.pdf                        362349       5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79205                              Credit Report.pdf                      103062       5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79205                              Death Certificate.pdf                  390408       5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79205                              Disclosure - CO.pdf                    175376       5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79205                              Purchase Agreement.pdf                 293810       5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79205                              Qualified Assignement.pdf              683988       5/2/2022 12:56



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79205                              Request For Acknowledgement.pdf            150914       5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79205                              Request for Change of Beneficiary.pdf      168848       5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79205                              Searches.pdf                             1610619        5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79205                              Seller Identification.pdf                4444119        5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79205                              Settlement Agreement.pdf                 1018035        5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79205                              SSN.pdf                                    283559       5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79205                              Stipulation.pdf                            758073       5/2/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79211                              633507_2_FinalPackage.pdf                7191800       2/24/2022 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79211                              Annuity Contract.pdf                       429172       5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79211                              Application.pdf                            338460       5/2/2022 15:25



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79211                              Court Order.pdf                            281029       5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79211                              Credit Report.pdf                          106621       5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79211                              Disclosure - MI.pdf                        172481       5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79211                              Divorce.pdf                              2266602        5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79211                              Purchase Agreement.pdf                     255117       5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79211                              Qualified Assignement.pdf                  670249       5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79211                              Request For Acknowledgement.pdf            142497       5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79211                              Request for Change of Beneficiary.pdf      166281       5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79211                              Searches.pdf                             1377678        5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79211                              Seller Affidavit.pdf                       182208       5/2/2022 15:25



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79211                              Seller Identification.pdf              212927       5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79211                              Settlement Agreement.pdf               371703       5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79211                              Stipulation.pdf                        645945       5/2/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79225                              1025511_7_FinalPackage.pdf          19681272       2/24/2022 10:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79225                              Annuity Contract.pdf                   217366      4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79225                              Application.pdf                        325742      4/25/2022 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79225                              Court Order.pdf                      5883567       4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79225                              Credit Report.pdf                      106246      4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79225                              Disclosure - GA.pdf                    176644      4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79225                              DocuSign.pdf                           164603      4/25/2022 11:08



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               All Paths/Locations                                 Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79225                              Drivers License.pdf                                   123493      4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79225                              Letters of Guardianship of Property of Minor.pdf    2740206       4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79225                              Petition.pdf                                        1333445       4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79225                              Prior Court Orders.pdf                              1216854       4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79225                              Purchase Agreement.pdf                                429246      4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79225                              Request For Acknowledgement.pdf                       176065      4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79384                              Disclosure GA.pdf                                     135479        2/9/2022 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79384                              Disclosure Proof of Delivery .pdf                     205505       2/8/2022 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79384                              Driver License.pdf                                  1320059        2/9/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79384                              E-Sign Certificate - Closing Statement.pdf             37924     11/22/2023 17:02



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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79384                              Esign Certificate 2.8.22.pdf           46480        2/9/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79384                              Pleadings Amended.pdf               2071400       3/31/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79384                              Pleadings.pdf                       1489916       3/31/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79384                              Purchase Agreement.pdf              1590267       3/29/2022 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79384                              Qualified Assignment.pdf               74338      2/21/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79384                              Searches.pdf                          437339      3/30/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79384                              Settlement Agreement.pdf            5422234       7/13/2015 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79384                              Social Security Card.pdf              124815       2/9/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              Acknowledgment 79387.pdf               49131       5/5/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              Affidavit.pdf                         128940      3/31/2022 14:09



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              Annuity Contract.pdf                    177709      3/31/2022 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              Annuity Cover Page.pdf                   27148      3/31/2022 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              Application.pdf                       3280818       3/31/2022 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              Authorization Release Info.pdf        2037049       3/31/2022 14:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              Authorized Assignment.pdf               228096        4/1/2022 9:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              Bankruptcy Search .pdf                   87475      3/31/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              Benefit Letter.pdf                       23088      3/31/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              Closing Binder.pdf                    5677082        3/8/2022 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              Court Order.pdf                         186358        4/7/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              Credit Report Sousa.pdf                 140749       4/4/2022 12:08



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              Disclosure NV.pdf                       87874      3/31/2022 14:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              Disclosure TX.pdf                       83502      3/31/2022 14:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              DocuSign Cerrt 6F80.pdf                 58259      3/31/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              DocuSign Cerrt AAB7.pdf                 64175      3/31/2022 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              ID.pdf                                 247334      3/31/2022 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              Pleadings.pdf                        2566453       3/31/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              Purchase Agreement .pdf                387780      3/31/2022 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              Schedule of Payments.pdf                13682      3/31/2022 14:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              Searches.pdf                           566898      3/31/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              Settlement Agreement.pdf               376388      3/31/2022 14:21



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3081 of
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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              Social Security Verification.pdf       151943      3/31/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              Stipulation.pdf                        249770      3/29/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79387                              ZIP Code USPS.pdf                       65820      3/31/2022 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79389                              Annuity.pdf                            678345      9/18/2018 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79389                              Application.pdf                        410464       1/25/2022 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79389                              Assignment Agreement.pdf               160513       4/1/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79389                              Auth to Release.pdf                     75232       1/25/2022 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79389                              Bene.pdf                                61966       1/25/2022 8:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79389                              Court Order.pdf                      1892030        4/1/2022 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79389                              Credit Report.pdf                      215796      1/26/2022 14:52



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3082 of
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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79389                              Disclosure NV.pdf                      133704       1/25/2022 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79389                              Disclosure- OK and WA.pdf              119294       1/25/2022 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79389                              Disclosure Proof of Delivery.pdf       204986      1/24/2022 17:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79389                              DL.pdf                               1636551       1/25/2022 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79389                              Esign Certificate 1-24.pdf              47500      3/31/2022 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79389                              E-Sign Certificate 1-27-22.pdf          45822      1/27/2022 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79389                              Marriage certificate.pdf               421747      9/18/2018 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79389                              OAMC.pdf                               173772       9/28/2018 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79389                              PI docket.pdf                          876725      1/26/2022 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79389                              Pleadings.pdf                        4557605       3/30/2022 15:10



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3083 of
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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79389                              Purchase Agreement.pdf                 329445      3/30/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79389                              Qualified Assignment.pdf               350248      9/18/2018 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79389                              Searches.pdf                           440258       1/25/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79389                              SSC.pdf                                705876     11/26/2018 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79389                              Stipulation.pdf                        526145        4/1/2022 9:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Acknowledgment.pdf                     102974      4/12/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Application.pdf                        234606      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Assignment BTG to St James.pdf         125964      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Assignment JLC to BTG.pdf              126154      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Authorization to Release.pdf           136868      3/30/2022 15:32



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Bankruptcy Search.pdf                    158971      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Benefits Letter.pdf                       23207      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Closing Binder.pdf                     5778395        3/30/2022 5:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Confidentiality Request.pdf              146677      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Court Order.pdf                          163128      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Credit Report.pdf                        308455      3/30/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Declaration.pdf                          277063      4/27/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Disclosure - CT.pdf                       66478      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Disclosure - FL.pdf                       86181      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Disclosure - NY.pdf                      165819      3/30/2022 15:32



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               All Paths/Locations                               Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Disclosure Affidavit.pdf                    97793      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Fully Executed Transfer Agreement.pdf      487312      4/27/2022 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Lease.pdf                               12040183       4/27/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Lien Search.pdf                            201037      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Minors Order.pdf                         2818607       3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Pleadings.pdf                              624040      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Proof of residence.pdf                      88339      4/27/2022 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Purchase Agreement.pdf                     457123      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Request for Change of Beneficiary.pdf      120776      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Seller Identification.pdf                  109409      4/27/2022 17:46



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               All Paths/Locations                                 Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Settlement Agreement Affidavit.pdf                 197227      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              Social Security Card.pdf                            62121      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79390                              UCC Search.pdf                                     376636      3/30/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79395                              Acknowledgment.pdf                                 100780      4/12/2022 15:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79395                              Affidavit in Lieu of Settlement Agreement.pdf      152913       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79395                              Annuity Contract.pdf                                97134       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79395                              Application.pdf                                    185215       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79395                              Assignment BTG to St James.pdf                     184225       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79395                              Assignment Greenwood to BTG.pdf                    184352       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79395                              Authorizations.pdf                                 125297       4/1/2022 13:49



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               All Paths/Locations                                  Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79395                              Bankruptcy Search.pdf                         153449       4/1/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79395                              Benefits Letter.pdf                            24312       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79395                              Closing Book Tameka Mann.pdf                6494931        4/1/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79395                              Court Order.pdf                             1973165         4/4/2022 8:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79395                              Credit Report.pdf                             179690      3/31/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79395                              Disclosure - CT.pdf                           190747       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79395                              Disclosure - MS.pdf                           192017       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79395                              Disclosure Affidavit.pdf                       78821       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Divorce Decree from Lee Buckner December
11.22.2023\79395                              2007.pdf                                      270148     11/22/2023 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Divorce Decree from Timothy Hall August
11.22.2023\79395                              2013.pdf                                      408848     11/22/2023 17:06



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               All Paths/Locations                               Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79395                              Lien Search.pdf                            200685       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79395                              PI Case Docket Sheet.pdf                   289341       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79395                              Pleadings.pdf                              638574       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79395                              Purchase Agreement.pdf                     893308       4/1/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79395                              Qualified Assignment.pdf                    75183       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79395                              Request for Change of Beneficiary.pdf       96337       4/1/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79395                              Seller Identification.pdf                   37862       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79395                              Settlement Agreement.pdf                   202187       4/1/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79395                              UCC Search.pdf                             378930       4/1/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79398                              Acknowledgment.pdf                          50607       5/2/2022 16:07



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79398                              Affidavit.pdf                           308286      2/22/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79398                              Annuity Contract.pdf                    187156       4/1/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79398                              Application.pdf                       1060553       2/22/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79398                              Assignment Executed.pdf                 314795       4/1/2022 14:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79398                              Benefit Letter.pdf                       46018       4/1/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79398                              Closing Binder.pdf                   11561805        4/1/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79398                              Court Order.pdf                         245972      4/22/2022 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79398                              Credit Report.pdf                       210333      3/30/2022 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79398                              Disclosure Affidavit.pdf                292847      2/22/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79398                              Disclosure Ohio.pdf                     956934      2/22/2022 15:48



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               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79398                              Driver License.pdf                         552529      2/22/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79398                              Pleadings.pdf                            2060383        4/1/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79398                              Purchase Agreement.pdf                   3790103        4/1/2022 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79398                              Qualified Assignment.pdf                   389772       4/1/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79398                              Redirection Reconfiguration 79398.pdf      103374      7/20/2022 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79398                              Searches.pdf                               531261      3/30/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79398                              Settlement Agreement.pdf                 1047301       3/30/2022 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79398                              Social Security Card.pdf                   560201      3/16/2022 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79398                              ZIP USPS.pdf                                65994       4/1/2022 13:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              7EE1.pdf                                   374712     11/22/2023 17:08



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              96BA.pdf                               337581     11/22/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              Acknowledgment.PDF                      73313      4/25/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              Affidavit in Lieu of SA.pdf            536834       4/5/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              Affidavit.pdf                          479823       4/5/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              Annuity Contract.pdf                   876072       4/5/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              Application.pdf                        168565      3/22/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              Benefits Letter.pdf                     46586      3/15/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              Court Order.pdf                        143090       4/13/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              Credit Report.pdf                       24604      3/22/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              Disclosure CT.pdf                      456587       4/5/2022 12:24



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              Disclosure DE.pdf                           749073       4/5/2022 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              Disclosure GA.pdf                           195530     11/22/2023 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              Disclosure MA.pdf                           529191       4/5/2022 12:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              Disclosure POD.pdf                          273120       4/5/2022 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              Disclosure GA - Marshall Mosher.pdf          98384      2/24/2022 22:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              Driver License.pdf                        1998588        4/5/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              Notarized Affiavit.pdf                    2441517       4/13/2022 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              953ed924ce3268cc20220413-12-n6qjt0.pdf      126874
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              Notice of Cancellation Rights.pdf           177733       4/5/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              Pleadings.pdf                             2170857        4/5/2022 12:35



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               All Paths/Locations                              Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              Purchase Agreement.pdf                      5525224        4/5/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              QA.pdf                                        311403       4/5/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              Searches.pdf                                   11982      3/22/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79410                              SSC.pdf                                     2579488        4/14/2022 7:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79412                              Affidavit.pdf                                 129962       4/1/2022 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79412                              Annuity Contract.pdf                          447407       4/1/2022 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79412                              Application.pdf                             1658605        4/1/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79412                              Assignment Executed.pdf                       226833     11/22/2023 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79412                              Authorization For Credit Information.pdf      829958       4/1/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79412                              Bankruptcy Search.pdf                         353441       4/1/2022 16:35



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79412                              Closing Binder.pdf                    8204126       3/17/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79412                              Court Order.pdf                         242178       4/1/2022 12:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79412                              Credit Report.pdf                     1471517        4/4/2022 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79412                              Disclosure PA.pdf                        86750       4/1/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79412                              DocuSign Cert 6F61.pdf                   58784       4/1/2022 16:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79412                              DocuSign Cert 73EA.pdf                   59013       4/1/2022 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79412                              DocuSign Cert B112.pdf                   64045       4/1/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79412                              Driver License.pdf                      642919       4/1/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79412                              Pleadings.pdf                         8016608        4/1/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79412                              Purchase Agreement.pdf                  389121       4/1/2022 16:22



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79412                              Searches.pdf                                          877695       4/1/2022 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79412                              Settlement Agreement.pdf                              278167       4/1/2022 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79412                              Social Security Card.pdf                            2430262        4/5/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79412                              Stipulation Executed.pdf                            1067430        4/5/2022 13:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79412                              ZIP USPS.pdf                                           60972        4/4/2022 9:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79415                              Acknowledgment New 79415.pdf                          119966        5/6/2022 7:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79415                              Acknowledgment.pdf                                    123768       4/27/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79415                              Application.pdf                                       203530       4/1/2022 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79415                              Assignment.pdf                                         29586       4/1/2022 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79415                              Authorization for Deductions - Notarized Doc.pdf    1296694        4/1/2022 13:17



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79415                              Benefits Letter.pdf                            111722       4/1/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79415                              Certification.pdf                              118028       4/1/2022 13:19
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79415                              Closing Book - Baylie Mallett-Aguirre.pdf    9253051       3/31/2022 16:33
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79415                              COB Request - Notarized Doc.pdf              2229814        4/1/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79415                              Court Order.pdf                              1245560       4/14/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79415                              Credit Report.pdf                              125154       4/1/2022 13:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79415                              Disclosure CT.pdf                               49526       4/1/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79415                              Final Judgment.pdf                      341575       4/1/2022 13:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79415                              NASP Search.pdf                          92335       4/1/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79415                              Pleadings.pdf                           607013       4/1/2022 13:22
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79415                              UCC Search.pdf                          101829       4/1/2022 13:22
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79417                              Application.pdf                         329134       4/7/2022 13:07



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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023\79417                              Court Order.pdf                           351694       4/7/2022 13:07
Saiph consulting|\Audit Materials Received-
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11.22.2023\79417                              Credit Report.pdf                         105116       4/7/2022 13:07
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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11.22.2023\79417                              Request For Acknowledgement.pdf           149901       4/7/2022 13:07
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79417                              Searches.pdf                            1105204        4/7/2022 13:07
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79417                              Seller Identification.pdf            3308048        4/7/2022 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79417                              Settlement Agreement.pdf               693892       4/7/2022 13:07
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79418                              1406800_5_FinalPackage.pdf           9653437       3/22/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79418                              Annuity Contract.pdf                   408268       4/7/2022 18:27
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11.22.2023\79418                              Application.pdf                        314349       4/7/2022 18:27
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79418                              Credit Report.pdf                      111352       4/7/2022 18:27
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79418                              Purchase Agreement.pdf                     358575       4/7/2022 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79418                              Qualified Assignement.pdf                  435299       4/7/2022 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79418                              Request For Acknowledgement.pdf            150289       4/7/2022 18:27
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79418                              Request for Change of Beneficiary.pdf      168867       4/7/2022 18:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79418                              Searches.pdf                             2069981        4/7/2022 18:27
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79418                              Seller Identification.pdf                  212690       4/7/2022 18:27
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79418                              Settlement Agreement.pdf                 1037074        4/7/2022 18:27
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79418                              Stipulation.pdf                          2194092        4/7/2022 18:27
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79419                              1475867_4_FinalPackage.pdf              12689351       3/22/2022 16:03



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3101 of
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79419                              Annuity Contract.pdf                       406608       4/8/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79419                              Application.pdf                            430227       4/8/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79419                              Court Order.pdf                            160957       4/8/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79419                              Credit Report.pdf                           97402       4/8/2022 11:10
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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11.22.2023\79419                              Request For Acknowledgement.pdf            149725       4/8/2022 11:10
Saiph consulting|\Audit Materials Received-
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11.22.2023\79419                              Request for Change of Beneficiary.pdf      170924       4/8/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79419                              Seller Identification.pdf            2991076        4/8/2022 11:10
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\79419                              Settlement Agreement.pdf               409913       4/8/2022 11:10
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79419                              Stipulation.pdf                      1854932        4/8/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79422                              1835810_2_FinalPackage.pdf          27912634       3/21/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79422                              Annuity Contract.pdf                13644498        4/8/2022 15:11
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11.22.2023\79422                              Application.pdf                        242243       4/8/2022 15:11
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SuttonPark\Missing Documents
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11.22.2023\79422                              Credit Report.pdf                       81416       4/8/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79422                              Pleadings.pdf                          612486       4/8/2022 15:11



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79422                              Purchase Agreement.pdf                    294220       4/8/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79422                              Qualified Assignement.pdf              17560593        4/8/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79422                              Request For Acknowledgement.pdf           143098       4/8/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79422                              Searches.pdf                            1101667        4/8/2022 15:11
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79422                              Seller Affidavit.pdf                      176210       4/8/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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SuttonPark\Missing Documents
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SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79423                              Annuity Contract.pdf                      560542       4/8/2022 17:39



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79423                              Application.pdf                            402139       4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79423                              Benefits Letter.pdf                        431910       4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79423                              Court Order.pdf                            291715       4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79423                              Credit Report.pdf                           80520       4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79423                              Disclosure - CA.pdf                        527995       4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79423                              Disclosure - NY.pdf                        477218       4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79423                              Pleadings.pdf                            1466831        4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79423                              Purchase Agreement.pdf                     805683       4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79423                              Request For Acknowledgement.pdf            148892       4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79423                              Request for Change of Beneficiary.pdf    1988938        4/8/2022 17:39



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               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79423                              Searches.pdf                            1583772        4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79423                              Seller Affidavit.pdf                      242802       4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79423                              Seller Identification.pdf                 511585       4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79423                              Settlement Agreement.pdf                  235579       4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79423                              Stipulation.pdf                           878023       4/8/2022 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79424                              1866456_1_FinalPackage.pdf              5651521       3/21/2022 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79424                              Annuity Contract.pdf                      337669      4/11/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79424                              Application.pdf                           338068      4/11/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79424                              Court Order.pdf                           701367      4/11/2022 12:14
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79424                              Credit Report.pdf                         111190      4/11/2022 12:14



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79424                              Disclosure - MO.pdf                        177496      4/11/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79424                              Disclosure - NY.pdf                        181294      4/11/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79424                              POR.pdf                                    670163      4/11/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79424                              Purchase Agreement.pdf                     315956      4/11/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79424                              Request For Acknowledgement.pdf            150335      4/11/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79424                              Request for Change of Beneficiary.pdf      225232      4/11/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79424                              Searches.pdf                               775112      4/11/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79424                              Seller Identification.pdf                1261977       4/11/2022 12:14
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79424                              Stipulation.pdf                            593375      4/11/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79425                              499556_3_FinalPackage.pdf               32683757       3/22/2022 17:05



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79425                              Annuity Contract.pdf                     448603      4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79425                              Application.pdf                          228611      4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79425                              Court Order.pdf                          436769      4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79425                              Credit Report.pdf                        101350      4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79425                              Disclosure - NY.pdf                    1780335       4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79425                              Disclosure - TX.pdf                    1154656       4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79425                              Purchase Agreement.pdf                 7063326       4/11/2022 13:59
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79425                              Qualified Assignement.pdf                326660      4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79425                              Request For Acknowledgement.pdf          142196      4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79425                              Searches.pdf                             842658      4/11/2022 13:59



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               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79425                              Seller Affidavit.pdf                    2165887       4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79425                              Seller Identification.pdf                  84965      4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79425                              Settlement Agreement.pdf                2369588       4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79425                              Stipulation.pdf                        15081258       4/11/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79426                              919357_2_FinalPackage.pdf               7888724       3/22/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79426                              Annuity Contract.pdf                      903919      4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79426                              Application.pdf                           974128      4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79426                              Court Order.pdf                           838668      4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79426                              Disclosure - TX.pdf                        772079      4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79426                              Pleadings.pdf                              862504      4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79426                              Purchase Agreement.pdf                     900293      4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79426                              Request For Acknowledgement.pdf            752494      4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79426                              Request for Change of Beneficiary.pdf      772495      4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79426                              Searches.pdf                             1686900       4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79426                              Seller Identification.pdf                  874668      4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79426                              Settlement Agreement.pdf                 1594997       4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79426                              Stipulation.pdf                          1988527       4/11/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79426                              W9.pdf                                     755633      4/11/2022 14:52



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79427                              941155_2_FinalPackage.pdf           11979482       3/22/2022 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79427                              Annuity Contract.pdf                   896101      4/12/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79427                              Application.pdf                        321463      4/12/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79427                              Court Order.pdf                        340066      4/12/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79427                              Credit Report.pdf                      160423      4/12/2022 11:20
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79427                              Disclosure - NY.pdf                    177749      4/12/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79427                              Disclosure - PA.pdf                    174163      4/12/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79427                              Pleadings.pdf                          409052      4/12/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79427                              Purchase Agreement.pdf                 329409      4/12/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79427                              Qualified Assignement.pdf              364686      4/12/2022 11:20



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               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79427                              Request For Acknowledgement.pdf           254652      4/12/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79427                              Searches.pdf                            2891743       4/12/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79427                              Seller Affidavit.pdf                      431790      4/12/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79427                              Seller Identification.pdf               1092826       4/12/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79427                              Settlement Agreement.pdf                  920633      4/12/2022 11:19
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79429                              1821492_2_FinalPackage.pdf             20365314       3/21/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79429                              Annuity Contract.pdf                    2209549       4/12/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79429                              Application.pdf                           226756      4/12/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79429                              Benefits Letter.pdf                       764606      4/12/2022 16:17



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79429                              Court Order.pdf                        2125172       4/12/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79429                              Credit Report.pdf                        102457      4/12/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79429                              Disclosure - LA.pdf                      160440      4/12/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79429                              Purchase Agreement.pdf                   263328      4/12/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79429                              Qualified Assignement.pdf              5173559       4/12/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79429                              Request For Acknowledgement.pdf          141449      4/12/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79429                              Searches.pdf                           1179703       4/12/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79429                              Seller Identification.pdf                727860      4/12/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79429                              Settlement Agreement.pdf               2887197       4/12/2022 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79430                              1871092_1_FinalPackage.pdf            15945690       3/21/2022 14:59



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79430                              Acknowledgment of Assignment.pdf         403068      4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79430                              Annuity Contract.pdf                   1295008       4/12/2022 17:11
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79430                              Application.pdf                          259732      4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79430                              Assignment.pdf                           212196      4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79430                              Court Order.pdf                        2958052       4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79430                              Credit Report.pdf                        108507      4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79430                              Disclosure - FL.pdf                      103402      4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79430                              Disclosure - MO.pdf                       93429      4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79430                              Disclosure - NE.pdf                      102972      4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79430                              Pleadings.pdf                          6598016       4/12/2022 17:11



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79430                              Purchase Agreement.pdf                    183186      4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79430                              Request For Acknowledgement.pdf           146197      4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79430                              Searches.pdf                              840674      4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79430                              Seller Affidavit.pdf                      288782      4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79430                              Settlement Agreement.pdf                1321996       4/12/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79431                              356925_2_FinalPackage.pdf               9893940       3/21/2022 15:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79431                              Application.pdf                           330872      4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79431                              Benefits Letter.pdf                        96408      4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79431                              Court Order.pdf                           439685      4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79431                              Credit Report.pdf                          86806      4/13/2022 15:57



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79431                              Disclosure - NV.pdf                   365709      4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79431                              Disclosure - WA.pdf                   268181      4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79431                              Divorce.pdf                         1968285       4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79431                              Pleadings.pdf                         139006      4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79431                              Purchase Agreement.pdf                334706      4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79431                              Qualified Assignement.pdf             332921      4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79431                              Request For Acknowledgement.pdf       149369      4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79431                              Searches.pdf                        1240599       4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79431                              Seller Identification.pdf             316372      4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79431                              Settlement Agreement.pdf              707963      4/13/2022 15:57



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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79431                              Stipulation.pdf                          418012      4/13/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79432                              1861131_2_FinalPackage.pdf            39963923       3/18/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79432                              Annuity Contract.pdf                      75915        4/8/2022 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79432                              Application.pdf                          469014        4/8/2022 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79432                              Court Order.pdf                        1860578         4/8/2022 7:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79432                              Disclosure - MI.pdf                      473479        4/8/2022 7:52
Saiph consulting|\Audit Materials Received-
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11.22.2023\79432                              Disclosure - TX.pdf                      597589        4/8/2022 7:52
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79432                              List of Dependents.pdf                   218565        4/8/2022 7:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79432                              Petition.pdf                             997648        4/8/2022 7:52



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79432                              Purchase Agreement.pdf                 257049        4/8/2022 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79432                              Request For Acknowledgement.pdf        223113        4/8/2022 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79432                              Searches.pdf                         1233575         4/8/2022 7:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79432                              Seller Identification.pdf            4561654         4/8/2022 7:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79432                              SSN.pdf                                117209        4/8/2022 7:53
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79432                              Waiver of IPA.pdf                      197414        4/8/2022 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79432                              Wrongful Death Order.pdf             1257810         4/8/2022 7:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79433                              222210_3_FinalPackage.pdf            8763716       3/18/2022 15:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79433                              Application.pdf                        481183        4/8/2022 8:31



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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79433                              Benefits Letter.pdf                        620015        4/8/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79433                              Court Order.pdf                            237933        4/8/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79433                              Disclosure - ID.pdf                        268583        4/8/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79433                              Divorce Documents.pdf                    1586123         4/8/2022 8:31
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79433                              List of Dependents.pdf                     179743        4/8/2022 8:31
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79433                              Pleadings.pdf                            1169113         4/8/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79433                              Purchase Agreement.pdf                     335943        4/8/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79433                              Request For Acknowledgement.pdf            237700        4/8/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79433                              Request for Change of Beneficiary.pdf      159032        4/8/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79433                              Searches.pdf                               780834        4/8/2022 8:31



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79433                              Seller Identification.pdf              477093        4/8/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79433                              Waiver of IPA.pdf                      199066        4/8/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79434                              534542_8_FinalPackage.pdf            7304140       3/18/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79434                              Annuity Contract.pdf                   352177        4/8/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79434                              Application.pdf                        240488        4/8/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79434                              Court Order.pdf                        164868        4/8/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79434                              Disclosure - WV.pdf                    263384        4/8/2022 9:20
Saiph consulting|\Audit Materials Received-
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11.22.2023\79434                              Guardian Ad Litem.pdf                  198567        4/8/2022 9:20
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79434                              List of Dependents.pdf                 174585        4/8/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79434                              Order Approving Settlement.pdf         370722        4/8/2022 9:20



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79434                              Purchase Agreement.pdf               1511996         4/8/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79434                              Request For Acknowledgement.pdf        231426        4/8/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79434                              Searches.pdf                         1774107         4/8/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79434                              Seller Identification.pdf              350280        4/8/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79434                              Settlement Agreement.pdf               325665        4/8/2022 9:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79434                              Waiver of IPA.pdf                      193953        4/8/2022 9:20
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79435                              1483299_5_FinalPackage.pdf          21657416       3/17/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79435                              Annuity Contract.pdf                    75978       4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79435                              Application.pdf                        266370       4/8/2022 10:11



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79435                              Court Order.pdf                            172765       4/8/2022 10:11
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79435                              Disclosure - CA.pdf                        179810       4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79435                              Disclosure - TX.pdf                        175047       4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79435                              List of Dependents.pdf                     178355       4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79435                              Petition.pdf                               191266       4/8/2022 10:11
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79435                              Purchase Agreement.pdf                     491149       4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79435                              Qualified Assignement.pdf                1655377        4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79435                              Request For Acknowledgement.pdf            275512       4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79435                              Request for Change of Beneficiary.pdf      168592       4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79435                              Searches.pdf                             5315153        4/8/2022 10:11



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023\79435                              Seller Identification.pdf                769094       4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79435                              Settlement Agreement.pdf               3520663        4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023\79435                              Waiver of IPA.pdf                        224882       4/8/2022 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79436                              1616652_2_FinalPackage.pdf            15430512       3/17/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79436                              Annuity Contract.pdf                     255453       4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79436                              Application.pdf                          249253       4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79436                              Court Order.pdf                          292799       4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79436                              Disclosure - IL.pdf                      174313       4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79436                              Disclosure - TX.pdf                      174156       4/8/2022 10:52



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79436                              Divorce Documents.pdf                      519773       4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79436                              List of Dependents.pdf                     216316       4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79436                              Purchase Agreement.pdf                     288805       4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79436                              Request For Acknowledgement.pdf            246354       4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79436                              Request for Change of Beneficiary.pdf      167713       4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79436                              Searches.pdf                             1090676        4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79436                              Seller Identification.pdf                6267479        4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79436                              Settlement Agreement.pdf                   392278       4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79436                              SSN.pdf                                     87663       4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79436                              Waiver of IPA.pdf                        195874       4/8/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79437                              1721651_8_FinalPackage.pdf             9846558       3/17/2022 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79437                              Annuity Contract.pdf                     311318       4/8/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79437                              Application.pdf                          485448       4/8/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79437                              Benefits Letter.pdf                      135530       4/8/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79437                              Court Order.pdf                        1087789        4/8/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79437                              Disclosure - TX.pdf                      488472       4/8/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79437                              List of Dependents.pdf                   251725       4/8/2022 11:42
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79437                              Marriage License.pdf                     648254       4/8/2022 11:42
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79437                              Request For Acknowledgement.pdf          247797       4/8/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79437                              Request for Annuity Contract.pdf          74131       4/8/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79437                              Searches.pdf                           1057925        4/8/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79437                              Settlement Agreement.pdf                 412394       4/8/2022 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79438                              1435646_3_FinalPackage.pdf            13579546       3/16/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79438                              Application.pdf                          282594       4/8/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79438                              Court Order.pdf                          268829       4/8/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79438                              Disclosure - FL.pdf                      113996       4/8/2022 12:35



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79438                              Disclosure - IL.pdf                      114135       4/8/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79438                              List of Dependents.pdf                   119936       4/8/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79438                              Order Approving Settlement.pdf         1185553        4/8/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79438                              Pleadings.pdf                            712861       4/8/2022 12:35
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79438                              Proof of Service.pdf                     170121       4/8/2022 12:35
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11.22.2023\79438                              Purchase Agreement.pdf                   333416       4/8/2022 12:35
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Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\79438                              Request For Acknowledgement.pdf           91069       4/8/2022 12:35
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\79438                              Searches.pdf                           1447112        4/8/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79438                              SSN.pdf                                219021       4/8/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79438                              Waiver of IPA.pdf                      135474       4/8/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79439                              1336989_5_FinalPackage.pdf          13514819       3/15/2022 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79439                              Annuity Contract.pdf                   601269       4/8/2022 16:13
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11.22.2023\79439                              Application.pdf                        674838       4/8/2022 16:13
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79439                              Benefits Letter.pdf                    128991       4/8/2022 16:13
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79439                              Court Order.pdf                      3601934        4/8/2022 16:11
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79439                              Disclosure - NY.pdf                    367082       4/8/2022 16:13
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79439                              Disclosure - PA.pdf                    268212       4/8/2022 16:13



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79439                              Divorce Documents.pdf                      95822       4/8/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79439                              List of Dependents.pdf                    179004       4/8/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79439                              Proof of Service.pdf                      438158       4/8/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79439                              Purchase Agreement.pdf                  1458681        4/8/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79439                              Request For Acknowledgement.pdf           319129       4/8/2022 16:13
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79439                              Searches.pdf                            2621486        4/8/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79439                              Seller Affidavit.pdf                      219479       4/8/2022 16:11
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79439                              Seller Identification.pdf                 328969       4/8/2022 16:13
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79439                              Settlement Agreement.pdf                  417081       4/8/2022 16:13
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79441                              551144_4_FinalPackage.pdf             10657707       3/15/2022 13:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79441                              Application.pdf                          249067      4/11/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79441                              Benefits Letter.pdf                      123658      4/11/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79441                              Court Order.pdf                          110605      4/11/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79441                              Disclosure - IN.pdf                      173315      4/11/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79441                              Disclosure - WA.pdf                      173409      4/11/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79441                              List of Dependents.pdf                   205522      4/11/2022 10:44
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SuttonPark\Missing Documents
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79441                              Purchase Agreement.pdf                   417512      4/11/2022 10:39



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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79441                              Request For Acknowledgement.pdf            178162      4/11/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79441                              Request for Change of Beneficiary.pdf      157557      4/11/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79441                              Searches.pdf                             1234584       4/11/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79441                              Seller Identification.pdf                  242862      4/11/2022 10:44
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79441                              Settlement Agreement.pdf                   367718      4/11/2022 10:44
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11.22.2023.zip\Dorchester - 353 Files -
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79441                              Waiver of IPA.pdf                          194220      4/11/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79442                              795768_3_FinalPackage.pdf               12125719       3/16/2022 11:44
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79442                              Annuity Contract.pdf                       412498      4/11/2022 11:24



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79442                              Application.pdf                       597218      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79442                              Benefits Letter.pdf                   110574      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79442                              Court Order.pdf                       532195      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79442                              Disclosure - CA.pdf                   404089      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79442                              Disclosure - WA.pdf                   185600      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79442                              Disclosure Affidavit.pdf              105187      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79442                              List of Dependents.pdf                 96260      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79442                              Payment Instructions.pdf              576719      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79442                              Petition.pdf                        3734471       4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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SuttonPark\Missing Documents
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11.22.2023\79442                              Proof of Service.pdf                   927082      4/11/2022 11:24
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79442                              Purchase Agreement.pdf               2206230       4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79442                              Request For Acknowledgement.pdf        189346      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79442                              Searches.pdf                           858397      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79442                              Seller Identification.pdf              173408      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79442                              Settlement Agreement.pdf             1103317       4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79442                              Terms Rider.pdf                         86934      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79442                              Verification of Survival.pdf           485894      4/11/2022 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79442                              Waiver of IPA.pdf                       83592      4/11/2022 11:24



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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79443                              1072720_4_FinalPackage.pdf         8162334       3/11/2022 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79443                              Annuity Contract.pdf               1765241       4/11/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79443                              Application.pdf                      222471      4/11/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79443                              Change of Address.pdf                117940      4/11/2022 12:13
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79443                              Change of Payee.pdf                  816601      4/11/2022 12:13
Saiph consulting|\Audit Materials Received-
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11.22.2023\79443                              Court Order.pdf                      981324      4/11/2022 12:13
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Received\Dorchester - 353 Files -
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11.22.2023\79443                              Disclosure - OH.pdf                  242668      4/11/2022 12:13
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\79443                              List of Dependents.pdf               155155      4/11/2022 12:13
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79443                              Order Approving Settlement.pdf       348894      4/11/2022 12:13
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\79444                              Benefits Letter.pdf                    170132      4/11/2022 12:42
Saiph consulting|\Audit Materials Received-
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11.22.2023\79444                              Purchase Agreement.pdf                    558467      4/11/2022 12:42
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79444                              Settlement Agreement.pdf                  143629      4/11/2022 12:42
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11.22.2023\79444                              Waiver of IPA.pdf                        292480      4/11/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79445                              1833064_2_FinalPackage.pdf            11008738       3/14/2022 15:31
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79445                              Application.pdf                          287101      4/11/2022 13:28
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11.22.2023\79445                              Court Order.pdf                          670503      4/11/2022 13:28
Saiph consulting|\Audit Materials Received-
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11.22.2023\79445                              Disclosure - IL.pdf                      275468      4/11/2022 13:28
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11.22.2023\79445                              Disclosure - NC.pdf                      951077      4/11/2022 13:28
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11.22.2023\79445                              List of Dependents.pdf                   191989      4/11/2022 13:28
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\79445                              Pleadings.pdf                            464841      4/11/2022 13:28
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11.22.2023\79445                              Prior Court Orders.pdf                   662136      4/11/2022 13:28
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79445                              Schedule of Payments.pdf               525562      4/11/2022 13:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79445                              Searches.pdf                         1479673       4/11/2022 13:28
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79445                              Seller Identification.pdf              330309      4/11/2022 13:28
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11.22.2023\79445                              SSN.pdf                                362563      4/11/2022 13:28
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11.22.2023\79445                              Waiver of IPA.pdf                      443692      4/11/2022 13:28
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79446                              1848297_1_FinalPackage.pdf          14742677       3/14/2022 17:07
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79446                              Annuity Contract.pdf                   416899      4/11/2022 14:30



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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79446                              Application.pdf                          340150      4/11/2022 14:30
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79446                              Court Order.pdf                          258456      4/11/2022 14:30
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79446                              Disclosure - LA.pdf                      206095      4/11/2022 14:30
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79446                              List of Dependents.pdf                   227611      4/11/2022 14:30
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79446                              Purchase Agreement.pdf                   557778      4/11/2022 14:30
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79446                              Release Agreement.pdf                  1260462       4/11/2022 14:30
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79446                              Request For Acknowledgement.pdf          247415      4/11/2022 14:30
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11.22.2023\79446                              Searches.pdf                          10314367       4/11/2022 14:30
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11.22.2023\79446                              Seller Identification.pdf                524909      4/11/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79447                              1876790_1_FinalPackage.pdf            29276317       3/14/2022 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79447                              Annuity Contract.pdf                     367265      4/14/2022 13:19
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79447                              Application.pdf                          198377      4/14/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79447                              Assignment.pdf                           514072      4/14/2022 13:19
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79447                              Court Order.pdf                          138243      4/14/2022 13:19
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11.22.2023\79447                              Credit Report.pdf                        119644      4/14/2022 13:19
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11.22.2023.zip\Dorchester - 353 Files -
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11.22.2023\79447                              Disclosure - NY.pdf                       74214      4/14/2022 13:19
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SuttonPark\Missing Documents
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11.22.2023\79447                              Purchase Agreement.pdf                           553969      4/14/2022 13:19
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79447                              Seller Affidavit.pdf                             106446      4/14/2022 13:19
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79447                              SSN.pdf                                        1300541       4/14/2022 13:19
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11.22.2023\79520                              Application.pdf                           45006        4/6/2022 9:00
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79520                              Assignment.pdf                           143868      4/14/2022 15:45
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79520                              Benefits Letter.pdf                      405392        4/6/2022 9:00
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79520                              Court Order.pdf                          964597      4/14/2022 13:31
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79520                              Credit Report.pdf                         27320       4/7/2022 16:07
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11.22.2023\79520                              Dean Closing Binder.pdf                3822336         4/6/2022 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79520                              Disclosure - TX.pdf                      172994        4/6/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79520                              Docusign Certificate 24E.pdf              75749        4/6/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79520                              Docusign Certificate 405.pdf             213341     11/22/2023 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79520                              Docusign Certificate 7E2.pdf             209930     11/22/2023 17:37



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               All Paths/Locations                              Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79520                              Docusign Certificate A8D.pdf         211051     11/22/2023 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79520                              Docusign Certificate C2A.pdf         150182     11/22/2023 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79520                              Docusign Certificate CD7.pdf         196354     11/22/2023 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79520                              Docusign Certificate F71.pdf         173033      4/25/2022 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79520                              Obituary.pdf                         674216        4/6/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79520                              PI Case Docket Sheet.pdf             198004        4/6/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79520                              Pleadings.pdf                        895620        4/6/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79520                              Purchase Agreement HoldTime.pdf      202152       4/7/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79520                              Purchase Agreement.pdf               488750       4/7/2022 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79520                              Searches.pdf                          12274       4/7/2022 16:08



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79520                              Seller Identification Current.pdf     1259093        4/7/2022 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79520                              Social Security Card.pdf              1175308        4/7/2022 16:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79520                              Stipulation.pdf                       1836368        4/11/2022 9:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79520                              UCC Search.pdf                          511068       4/7/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79521                              Acknowledgment Davis.pdf                123710      6/13/2022 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79521                              Annuity Contract.pdf                    715587      7/29/2021 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79521                              Application.pdf                          48816       3/4/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79521                              Assigment Executed.pdf                  166976       4/6/2022 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79521                              Benefits Letter.pdf                      55935       6/10/2021 9:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79521                              Closing Binder.pdf                    9103496        4/5/2022 15:11



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               All Paths/Locations                                Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79521                              Closing Statement Davis Updated.pdf       25103     11/22/2023 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79521                              Credit Report.pdf                         42657     11/22/2023 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79521                              Disclosure Statement.pdf                 123175       3/4/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79521                              DocuSign Cert 494C.pdf                   222555     11/22/2023 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79521                              DocuSign Cert D1DD.pdf                   217531     11/22/2023 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79521                              Final Order.pdf                          239243      4/27/2022 16:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79521                              ID.pdf                                 3312120        4/5/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79521                              Notarized Document.pdf                    63792     11/22/2023 17:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79521                              Pleadings.pdf                          1846058        4/5/2022 15:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79521                              Proof of Service.pdf                     231686       4/6/2022 12:19



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79521                              Purchase Agreement.pdf                 236466       4/5/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79521                              Qualified Assignment.pdf             1775255       7/28/2021 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79521                              Searches.pdf                            13026       4/7/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79521                              Settlement Agreement.pdf            14374218      11/22/2023 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79521                              SS card.pdf                            948394       4/5/2022 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79521                              UCC Search.pdf                         129737     11/22/2023 17:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79521                              ZIP Code USPS.pdf                       66176       4/5/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79526                              Acknowledgment.pdf                      72018       5/2/2022 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79526                              Annuity Contract.pdf                 1305882        4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79526                              Application.pdf                        269821       4/6/2022 13:05



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79526                              Authorization to Release.pdf            78845       4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79526                              Bankruptcy Search.pdf                  318193       4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79526                              Benefits Letter.pdf                     77506       4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79526                              Coleman Assignment.docx                 16304      4/13/2022 16:21
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79526                              Coleman Assignment.pdf                 177310      4/15/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79526                              Coleman Closing Binder.pdf          12091447        4/6/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79526                              Court Order.pdf                        489256      4/13/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79526                              Credit Report.pdf                    1740685        4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79526                              Disclosure - GA.pdf                    139910       4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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               All Paths/Locations                              Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79526                              Email regarding Bankruptcy Discharge.pdf            133160       4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79526                              ESign Certificate March 17 2022.pdf                  47664       4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79526                              ESign Certificate March 20 2022.pdf                  47664       4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79526                              ESign Certificate March 9 2022.pdf                   48144       4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79526                              Esigne Certificate Final Closing Statement.pdf       48493      4/29/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79526                              Notice of Hearing and Proof of Service.pdf          468215      4/13/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79526                              Pleadings missing POS.pdf                         1287215        4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79526                              Proof of Disclosure Delivery.pdf                    208357       4/6/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79526                              Purchase Agreement.pdf                              507517       4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79526                              Searches.pdf                                      1513216        4/6/2022 13:05



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79526                              Settlement Agreement.pdf                536190       4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79526                              Social Security Card.pdf                737440       4/6/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79538                              Affidavit.pdf                            71892       4/6/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79538                              Application.pdf                         491977      4/11/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79538                              Assignment Agreement Signed.pdf         111140      4/19/2022 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79538                              Closing Binder.pdf                    6316609        4/6/2022 17:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79538                              Closing Statement Signed.pdf             86085     11/22/2023 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79538                              Court Order.pdf                       1847978         3/3/2022 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79538                              Credit Report.pdf                        43828      3/16/2022 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79538                              Disclosure NY.pdf                       101991       4/6/2022 15:50



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79538                              Docusgin Certificate 5F98.pdf          361417     11/22/2023 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79538                              ID.pdf                                 269349      1/12/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79538                              Infants Compromise Order.pdf           540547       4/7/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79538                              IPA Letter.pdf                         145987      4/14/2022 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79538                              Pleadings.pdf                        1670104        4/6/2022 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79538                              Proof Of RES.pdf                     1605614      11/22/2023 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79538                              Purchase Agreement.pdf                 645390       4/6/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79538                              Searches.pdf                            13966     11/22/2023 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79538                              SS Valid.pdf                           124928      4/13/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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               All Paths/Locations                                Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79538                              ZIP Code USPS.pdf                             65925       4/6/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              Ad Litem Report.pdf                        2098588        9/9/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              Application.pdf                              284400       4/5/2022 18:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              Assignment.pdf                                34920       4/6/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              Authorization for Deductions.pdf             103447       4/5/2022 18:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              Benefits Letter.pdf                           20813       4/5/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              Certification.pdf                            133302       4/5/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              Closing Book - Carl Jerry.pdf              8420532        4/5/2022 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              COB Request.pdf                              168290       4/5/2022 18:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              Court Order - Redacted File Stamped.pdf      417881       4/6/2022 17:32



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              Court Order - Signed.pdf                         1125791        4/5/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              Credit Report.pdf                                  212545       4/6/2022 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              Disclosure TX.pdf                                   81252       4/5/2022 18:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              DocuSign Cert - Closing Statement.pdf              202392     11/22/2023 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              DocuSign Certificates.pdf                          186828       4/6/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              Drivers License.pdf                              2117271        9/9/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              Final Judgment.pdf                               2201393        9/9/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              First Plaintiff Amended Original Petition.pdf    2027720        9/9/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              Memo To File_Carl Lee Jerry Jr ID 79539.pdf      5596331        7/7/2023 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              NASP Search.pdf                                     92022       4/5/2022 19:00



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              Pleadings.pdf                        2644976        4/5/2022 18:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              Purchase Agreement.pdf                 362858       4/5/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              Searches.pdf                           109716       4/6/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              Social Security Card.pdf             2162738        9/9/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              Stipulation.pdf                        431701       4/7/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79539                              UCC Search.pdf                         104802       4/6/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79563                              Acknowledgment.pdf                     939001      5/24/2022 10:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79563                              Affidavit.pdf                          187884       4/8/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79563                              Application.pdf                        168082       4/8/2022 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79563                              Assignment Executed.pdf                248255      4/13/2022 16:52



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79563                              Authorize Credit.pdf                    143350      1/28/2022 14:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79563                              Benefit Letter.pdf                       47502       4/8/2022 15:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79563                              Closing Binder.pdf                    8922160         4/7/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79563                              Court Order.pdf                         195317       4/8/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79563                              Credit Report.pdf                       203043      4/11/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79563                              Disclosure MA.pdf                       109034       4/8/2022 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79563                              Disclosure NY.pdf                        89372       4/8/2022 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79563                              DocuSign Cert A988.pdf                  288546      3/27/2022 22:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79563                              DocuSign Cert E360.pdf                  284251      1/27/2022 20:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79563                              ID Garcia Caylani.pdf                   801790       7/22/2022 9:35



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79563                              Order Approving Settlement.pdf         217275       4/8/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79563                              Pleadings.pdf                        3168923        4/8/2022 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79563                              Purchase Agreement.pdf                 458035       4/8/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79563                              Searches.pdf                            66750      4/11/2022 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79563                              Social Security Valid.pdf              153489      4/11/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79563                              UCC Search.pdf                          69453      4/11/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79563                              ZIP Code USPS.pdf                       63289       4/8/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79565                              Acknowledgment.pdf                     402479      5/17/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79565                              Affidavit.pdf                          444338      4/18/2022 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79565                              Annuity Contract.pdf                 2165240       4/11/2022 11:51



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79565                              Application.pdf                         188403      2/22/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79565                              Assignment.pdf                          195062      4/20/2022 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79565                              Closing Binder.pdf                   12850426       4/18/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79565                              Closing Statement.pdf                   425810     11/22/2023 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79565                              Court Order Cowles.pdf                  327025       4/8/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79565                              Credit Report.pdf                        59239      3/30/2022 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79565                              Disclosure Cowles.pdf                   113918      4/11/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79565                              DocuSign Cert 28A0.pdf                  200175     11/22/2023 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79565                              DocuSign Cert 7C35.pdf                  196280     11/22/2023 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79565                              DocuSign Cert B5FA.pdf                  201529     11/22/2023 17:43



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79565                              Driver License.pdf                      539001      4/11/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79565                              Notice of Errata filestamped.pdf        607473      4/19/2022 14:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79565                              PI Docket.pdf                           150526      4/15/2022 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79565                              Pleadings.pdf                         1668923       4/11/2022 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79565                              Purchase Agreement.pdf                  201168      4/11/2022 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79565                              Searches Cowles.pdf                      23896      4/11/2022 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79565                              SSC.pdf                               2241959       4/18/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79565                              UCC Search.pdf                          159908     11/22/2023 17:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79565                              ZIP Code USPS.pdf                        66047      4/11/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79571                              Affidavit.pdf                           124840       2/1/2022 10:09



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3157 of
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               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79571                              Annuity Contract.pdf                       439710       7/26/2021 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79571                              Application.pdf                             46044      1/26/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79571                              Assignment.pdf                             171358      4/14/2022 13:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79571                              Closing Binder.pdf                       3890114       4/10/2022 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79571                              Closing Statement.pdf                      412469     11/22/2023 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79571                              Court Order.pdf                            129296        4/8/2022 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79571                              Credit Report.pdf                           18550     11/22/2023 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79571                              Disclosure FL.pdf                          111532      1/26/2022 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79571                              DocuSign Cert - Closing Statement.pdf      195858     11/22/2023 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79571                              DocuSign Cert - E706.pdf                   194935     11/22/2023 17:44



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3158 of
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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79571                              Driver License.pdf                      691749      1/26/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79571                              Pleadings.pdf                        11923143       4/14/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79571                              Purchase Agreement.pdf                  236798      4/10/2022 17:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79571                              Qualified Assignment.pdf                360021       7/26/2021 7:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79571                              Searches.pdf                             40445      4/10/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79571                              Settlement Agreement.pdf                655538       7/26/2021 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79571                              Social Security Card.pdf                127488      9/29/2021 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79571                              Stipulation.pdf                         495909       4/19/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79571                              UCC Search.pdf                           57060      4/10/2022 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79572                              1C1E.pdf                                 74960      4/12/2022 13:51



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79572                              4E43.pdf                                74537      4/12/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79572                              Affidavit.pdf                          131742      4/12/2022 13:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79572                              Annuity Contract.pdf                   364485      4/12/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79572                              Application.pdf                        136374      4/12/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79572                              Authorization.pdf                      101775      4/12/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79572                              Banet K 2- Closing Binder.pdf       27232376        4/7/2022 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79572                              BK Search.pdf                           87317      4/12/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79572                              BL.pdf                                 359153      4/12/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79572                              Credit Report.pdf                      175758      4/12/2022 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79572                              Disclosure IN.pdf                       96340      4/12/2022 13:45



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               All Paths/Locations                                Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023\79572                              Driver License IN.pdf                 5949466       4/12/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79572                              Final Order.pdf                       1494241       4/12/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79572                              IPA Acknowledgment.pdf                   61120      4/12/2022 13:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79572                              Pleadings.pdf                        25369976       4/12/2022 13:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79572                              Purchase Agreement.pdf                  336966      4/12/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79572                              Searches.pdf                            416813      4/12/2022 13:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79572                              Settlement Agreement - amended.pdf      155401      4/12/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79572                              Settlement Agreement.pdf                352320      4/12/2022 13:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79572                              SSC.pdf                               8280804       4/12/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79572                              Stip sign.pdf                           130095      4/12/2022 16:00



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79572                              Stipu.pdf                             4662081       4/12/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79596                              Acknowledgment.PDF                       72651     11/22/2023 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79596                              Affidavit.pdf                           283212      4/12/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79596                              Annuity Contract.pdf                    262675      4/12/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79596                              Application.pdf                         566297      2/24/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79596                              Assignment.pdf                           78553      4/15/2022 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79596                              Benefits Letter.pdf                      61282      4/12/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79596                              Closing Binder.pdf                   16425087       4/12/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79596                              Court Order.pdf                         171935       4/8/2022 10:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79596                              Credit Report - Charles.pdf              22544      4/14/2022 11:37



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3162 of
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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79596                              Credit Report - Elizabeth.pdf           17060      4/14/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79596                              Disclosure NE.pdf                      357455      4/12/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79596                              Disclosure OH.pdf                      430122      4/12/2022 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79596                              DocuSign Cert - B7A6.pdf               297022      4/14/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79596                              Driver License - Charles.pdf           511726      1/22/2021 11:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79596                              Driver License - Elizabeth.pdf         465046      1/22/2021 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79596                              Pleadings.pdf                        9373756       4/12/2022 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79596                              Purchase Agreement.pdf               1940366       4/12/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79596                              Searches - Charles.pdf                  44487      4/12/2022 14:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79596                              Searches - Elizabeth.pdf                38157      4/12/2022 14:33



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               All Paths/Locations                                 Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79596                              Settlement Agreement.pdf                  400855      4/12/2022 13:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79596                              Social Security Card - Charles.pdf        247530      3/23/2021 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79596                              Social Security Card - Elizabeth.pdf      235470      3/23/2021 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79596                              UCC Search - Charles.pdf                   22654     11/22/2023 17:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79596                              UCC Search - Elizabeth.pdf                 31105      4/12/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              Annuity Contract.pdf                      130205      4/13/2022 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              Application.pdf                           193294      4/13/2022 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              Assignment Agreement Executed.pdf          22749      4/14/2022 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              Authorization for deductions.pdf           54042      4/14/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              Benefit Letter.pdf                      1485479       4/13/2022 17:06



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               All Paths/Locations                                 Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              Certification of Nasim.pdf                        81111      4/13/2022 17:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              Change of Beneficiary.pdf                        107583      4/14/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              Closing Binder.pdf                            11789626        4/12/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              Closing Statement Executed via docusign.pdf      203425     11/22/2023 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              Closing Statement.pdf                            254408     11/22/2023 17:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              Court Order.pdf                                1214505       4/12/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              Credit Report.pdf                                152974      4/13/2022 17:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              Disclosure GA.pdf                                 74409      4/13/2022 17:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              DocuSign Cert - E367.pdf                         204050     11/22/2023 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              DocuSign Cert E5A1.pdf                            48737      4/14/2022 12:30



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              DocuSign Cert E85F.pdf                  134540      4/14/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              Driver License.pdf                    2464008       4/13/2022 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              NASP Search.pdf                         113507      4/14/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              Pleadings.pdf                           742094      4/14/2022 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              Prior Orders.pdf                      1178453       4/14/2022 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              Purchase Agreement.pdf                  315354      4/14/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              Searches.pdf                             51009      4/13/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              Settlment Agreement.pdf                 262993      4/13/2022 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              Social Secuirity Card.pdf             1291726       4/13/2022 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              Stipulation.pdf                       2868759      11/22/2023 17:47



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              UCC Search.pdf                          43311      4/13/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79598                              ZIP Code USPS.pdf                       59368      4/14/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79603                              Application.pdf                         43282      4/13/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79603                              Assignment.pdf                         147487      4/18/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79603                              Benefits Letter.pdf                    757265      4/13/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79603                              Closing Statement Draft.docx            28265      4/18/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79603                              Court Order.pdf                        722402      4/18/2022 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79603                              Credit.pdf                              29598       4/11/2022 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79603                              Daniels Assignment.docx                 16486      4/18/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79603                              Daniels Closing Binder.pdf           4970892       4/13/2022 16:35



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3167 of
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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79603                              Disclosure - ID.pdf                      154077      4/13/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79603                              Docusign Certificate 144.pdf             191226     11/22/2023 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79603                              Docusign Certificate 161.pdf             191076     11/22/2023 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79603                              Docusign Certificate 32B.pdf             194901     11/22/2023 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79603                              Docusign Certificate 89E.pdf             197718     11/22/2023 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79603                              Drivers License.pdf                    1077379       4/13/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79603                              PI Case Docket Article.pdf                62356      4/18/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79603                              Pleadings.pdf                          1648671       4/13/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79603                              Purchase Agreement Hold Time.pdf         401754      4/18/2022 16:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79603                              Purchase Agreement.pdf                   357686      4/13/2022 16:42



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               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79603                              Searches.pdf                                74879      4/13/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79603                              Settlement Agreement Request Form.pdf       24117      4/13/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79603                              Social Security Card.pdf                   568216      4/13/2022 16:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79603                              Stipulation.pdf                          2216225       4/18/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79603                              UCC Search.pdf                             508311      4/13/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79644                              Annuity Contract.pdf                     2529161       4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79644                              Application.pdf                          1769922       4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79644                              Closing Binder.pdf                      14601117       4/14/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79644                              Court Order.pdf                            650794      4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79644                              Credit Report.pdf                          565116      4/14/2022 16:08



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               All Paths/Locations                                   Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79644                              Disclosure - GA.pdf                        510357      4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79644                              Disclosure - WA.pdf                        489742      4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79644                              Drivers License.pdf                        628580      4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79644                              Pleadings.pdf                            7099925       4/14/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79644                              Purchase Agreement.pdf                   2588892       4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79644                              Qualified Assignment.pdf                 1029908       4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79644                              Request for Annuity Documents.pdf          297219      4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79644                              Request for Change of Beneficiary.pdf      269058      4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79644                              Searches.pdf                                77068      4/14/2022 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79644                              Seller Affidavit.pdf                       551636      4/14/2022 16:08



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               All Paths/Locations                                Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79644                              Settlement Agreement Affidavit.pdf      413273      4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79644                              Social Security Card.pdf                518233      4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79644                              Stipulation.pdf                       1099342       4/14/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79644                              UCC Search.pdf                           70011      4/14/2022 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79791                              47b1.pdf                                191841     11/22/2023 17:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79791                              Application.pdf                          51910      3/21/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79791                              Assignment.pdf                          152178      4/22/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79791                              Benefits Letter.pdf                      24936       4/20/2022 9:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79791                              Court Order.pdf                         305349     11/22/2023 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79791                              Credit Report.pdf                       101021     11/22/2023 17:50



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               All Paths/Locations                                 Unified Title          File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79791                              Disclosure Statement.pdf                       132502       3/21/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79791                              Driver License.pdf                             274319       4/19/2022 10:17
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -       Memo to File _Emily Hosage ID 79791 Fully
11.22.2023\79791                              Executed.pdf                                17553148        4/19/2023 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79791                              Obituary for customers father.pdf            1243653         4/14/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79791                              Payee Declaration.pdf                           98315       4/15/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79791                              Pleadings.pdf                                1113347        4/19/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79791                              POS.pdf                                      1999373       11/22/2023 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79791                              Purchase Agreement.pdf                         245323       4/19/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79791                              Searches.pdf                                      5153     11/22/2023 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79791                              Social Security Card.pdf                       338223       4/21/2022 14:17



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79791                              Stipulation.pdf                          476668      4/21/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79791                              UCC.pdf                                   48651     11/22/2023 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79792                              Annuity Contract.pdf                      57877       6/8/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79792                              Application.pdf                           44152      4/19/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79792                              Assignment.pdf                           167297       6/8/2022 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79792                              Court Order.pdf                        1408126        6/8/2022 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79792                              Credit Report.pdf                        122351      4/19/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79792                              Disclosure - TX.pdf                      115314      4/19/2022 15:11
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\79792                              Purchase Agreement Hold Time.pdf       169772      4/19/2022 15:11
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79792                              Qualified Assigment.pdf                451886      4/19/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79792                              Searches.pdf                            81780      4/19/2022 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79792                              Seller Identification.pdf              223375      4/19/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79792                              Social Security Card .pdf              131331      4/19/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79792                              SSN Verification.pdf                   357626      2/10/2021 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79792                              Stipulation.pdf                      2523078        6/8/2022 14:05
Saiph consulting|\Audit Materials Received-
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11.22.2023\79792                              Stuart Closing Binder.pdf            2416197       4/19/2022 15:00
Saiph consulting|\Audit Materials Received-
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               All Paths/Locations                                Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79796                              404A.pdf                                203428     11/22/2023 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79796                              Annuity doc with policy number.pdf    1874712       4/20/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79796                              Annuity doc.pdf                       1018147       4/20/2022 14:29
Saiph consulting|\Audit Materials Received-
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11.22.2023\79796                              Application.pdf                          44187     12/22/2021 16:28
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79796                              Assignment.pdf                          172820       5/9/2022 16:33
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79796                              Court Order.pdf                       2449260       4/29/2022 14:31
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79796                              Credit Report udpated.pdf                68961     11/22/2023 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79796                              Credit Report.pdf                        65658     11/22/2023 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79796                              Disclosure Statement.pdf                173885      1/17/2022 15:40



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               All Paths/Locations                              Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79796                              Divorce Decree.PDF                 2049975       11/22/2023 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79796                              DL.pdf                               739965       4/20/2022 14:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79796                              Payees Request to Conceal.pdf         18310      12/22/2021 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79796                              Pleadings.pdf                      1715402        4/20/2022 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79796                              Proof of Service.pdf                 258072       4/26/2022 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79796                              Purchase Agreement.pdf               444486       4/20/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79796                              Searches updated.pdf                    9424     11/22/2023 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79796                              Searches.pdf                            9385     11/22/2023 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79796                              Stipulation.pdf                      2381557        5/9/2022 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79796                              UCC.pdf                                204905     11/22/2023 17:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79802                              4467.pdf                               198586     11/22/2023 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79802                              A1A5.pdf                               194442     11/22/2023 17:53
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79802                              Assignment.pdf                         172204      4/27/2022 13:08
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79802                              Court Order.pdf                        305114       4/20/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79802                              Credit Report.pdf                       22348      3/22/2022 16:17
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79802                              DL.pdf                                   2329073        4/20/2022 15:43
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79802                              OAS.pdf                                    313983       4/20/2022 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79802                              Personal-Bankruptcies-Search.pdf              4294     11/22/2023 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79802                              Personal-Judgments.pdf                        4169     11/22/2023 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79802                              Personal-Liens-Search.pdf                     2992     11/22/2023 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79225                              Request for Change of Beneficiary.pdf      167563       4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79225                              Searches.pdf                             1462176        4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79225                              Settlement Agreement.pdf                   896844       4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79225                              Stipulation.pdf                        4626933       4/25/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79228                              688720_1_FinalPackage.pdf              6641545       2/25/2022 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79228                              Annuity Contract.pdf                      78232      4/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79228                              Application.pdf                          302132      4/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79228                              Court Order.pdf                          735491      4/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79228                              Credit Report.pdf                        116534      4/22/2022 16:31
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79228                              Disclosure - MO.pdf                      275704      4/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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SuttonPark\Missing Documents
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79228                              Guardianship.pdf                       1109219       4/22/2022 16:31



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79228                              Minors Compromise.pdf                      426013      4/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79228                              Purchase Agreement.pdf                     556310      4/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79228                              Request For Acknowledgement.pdf            172819      4/22/2022 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79228                              Request for Change of Beneficiary.pdf      168185      4/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79228                              Searches.pdf                               917915      4/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79228                              Settlement Agreement.pdf                   469617      4/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79228                              Stipulation.pdf                            824606      4/22/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79256                              746518_10_FinalPackage.pdf               6265685        3/10/2022 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79256                              Annuity Contract.pdf                       778611       5/3/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79256                              Application.pdf                            326103       5/3/2022 14:16



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79256                              Court Order.pdf                          859130       5/3/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79256                              Credit Report.pdf                        102142       5/3/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79256                              Disclosure - IL.pdf                      175901       5/3/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79256                              DocuSign.pdf                              95080       5/3/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79256                              Purchase Agreement.pdf                   482910       5/3/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79256                              Request For Acknowledgement.pdf          187801       5/3/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79256                              Searches.pdf                           1478997        5/3/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79256                              Settlement Agreement.pdf                 576572       5/3/2022 14:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79256                              Settling Documents .pdf                  737606       5/3/2022 14:16
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79260                              1041462_1_FinalPackage.pdf            23959012       3/11/2022 12:37



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               All Paths/Locations                                Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79260                              Annuity Contract.pdf                      74339      4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79260                              Application.pdf                          275245      4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79260                              Bankruptcy Search.pdf                    455419      4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79260                              Court Order from Original Court.pdf       99308      4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79260                              Court Order.pdf                        1564758       4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79260                              Credit Report.pdf                        109840      4/22/2022 15:19
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79260                              Disclosure - NY.pdf                      282817      4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79260                              Drivers License.pdf                   18616419       4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79260                              Lien and Judgment Search.pdf             652238      4/22/2022 15:19



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               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79260                              Proof of Service.pdf                      191043      4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79260                              Purchase Agreement.pdf                    495697      4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79260                              Seller Affidavit.pdf                      184891      4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79260                              Stipulation.pdf                           708014      4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79260                              UCC Search.pdf                            134203      4/22/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79262                              1335219_2_FinalPackage.pdf             15731970        3/9/2022 16:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79262                              Application.pdf                           315627      4/26/2022 16:16
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79262                              Benefits Letter.pdf                       205791      4/26/2022 16:16
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79262                              Court Order.pdf                           545241      4/26/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79262                              Disclosure - CA.pdf                       279344      4/26/2022 16:16



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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79262                              Docusign.pdf                              147747      4/26/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79262                              Minors Compromise.pdf                     468824      4/26/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79262                              Proof of Service.pdf                      166729      4/26/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79262                              Purchase Agreement.pdf                  6171644       4/26/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79262                              Request For Acknowledgement.pdf           172865      4/26/2022 16:16
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79262                              Searches.pdf                              931267      4/26/2022 16:16
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79262                              Seller Affidavit.pdf                      467524      4/26/2022 16:16
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11.22.2023\79262                              SSN.pdf                                   886767      4/26/2022 16:16
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79264                              1439878_10_FinalPackage.pdf            19815144        3/4/2022 17:49



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79264                              Application.pdf                          319403      5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79264                              Benefits Letter.pdf                      281705      5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79264                              Court Order.pdf                          264654      5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79264                              Credit Report.pdf                        104598      5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79264                              Disclosure - FL.pdf                      259942      5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79264                              Disclosure - TX.pdf                      260007      5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79264                              Docusign.pdf                             156760      5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79264                              Drivers License.pdf                      607206      5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79264                              Petition.pdf                             161839      5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79264                              Purchase Agreement.pdf                 1742867       5/10/2022 11:40



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3185 of
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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79264                              Request For Acknowledgement.pdf             89624      5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79264                              Request for Change of Beneficiary.pdf      164224      5/10/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79264                              Searches.pdf                               896954      5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79264                              SSN.pdf                                    388088      5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79264                              Stipulation.pdf                         12994557       5/10/2022 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79265                              1495973_4_FinalPackage.pdf               9475622       3/11/2022 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79265                              Annuity Contract.pdf                       584714      4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79265                              Application.pdf                            224214      4/26/2022 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79265                              Benefits Letter.pdf                        139804      4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79265                              Court Order.pdf                          4419443       4/26/2022 17:06



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79265                              Credit Report.pdf                        105202      4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79265                              Disclosure - CT.pdf                      157694      4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79265                              Disclosure - NY.pdf                      140901      4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79265                              Disclosure - PA.pdf                      157580      4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79265                              Docusign.pdf                             164586      4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79265                              Drivers License.pdf                      415921      4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79265                              Prior Court Orders.pdf                   691093      4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79265                              Proof of Service.pdf                   1819597       4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79265                              Purchase Agreement.pdf                   253735      4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79265                              Qualified Assignement.pdf                361324      4/26/2022 17:06



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79265                              Request For Acknowledgement.pdf           185196      4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79265                              Searches.pdf                              757990      4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79265                              Seller Affidavit.pdf                      184442      4/26/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79269                              1656526_2_FinalPackage.pdf              8829960        3/9/2022 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79269                              Annuity Contract.pdf                      387006      4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79269                              Application.pdf                           319980      4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79269                              Change of Beneficiary.pdf                 112718      4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79269                              Court Order.pdf                         1212103       4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79269                              Credit Report.pdf                         184738      4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79269                              Disclosure - CA.pdf                       362959      4/26/2022 17:31



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79269                              DocuSign.pdf                               255265      4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79269                              Petition.pdf                               288783      4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79269                              Proof of Service.pdf                       603063      4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79269                              Purchase Agreement.pdf                   1873447       4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79269                              Qualified Assignement.pdf                  558355      4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79269                              Request For Acknowledgement.pdf            172701      4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79269                              Request for Change of Beneficiary.pdf      166220      4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79269                              Searches.pdf                             1154100       4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79269                              Settlement Agreement.pdf                   396664      4/26/2022 17:31



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79269                              Stipulation.pdf                        464383      4/26/2022 17:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79270                              1675268_9_FinalPackage.pdf          14468617        3/9/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79270                              Annuity Contract.pdf                   445316      4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79270                              Application.pdf                        331109      4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79270                              Court Order.pdf                        326164      4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79270                              Credit Report.pdf                      102864      4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79270                              Disclosure - GA.pdf                    271579      4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79270                              Docusign cert.pdf                      350116      4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79270                              Notice Of transfer.pdf                 166062      4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79270                              Proof of residency.pdf               1485836       4/21/2022 16:24



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79270                              Purchase Agreement.pdf                   2068698       4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79270                              Request For Acknowledgement.pdf            212580      4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79270                              Request for Change of Beneficiary.pdf      163316      4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79270                              Searches.pdf                             2246273       4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79270                              Seller Identification.pdf                  335497      4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79270                              Settlement Agreement.pdf                   791515      4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79270                              Social security card.pdf                 1029228       4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79270                              Stipulation.pdf                          3794769       4/21/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79271                              1734680_1_FinalPackage.pdf              11739298       3/10/2022 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79271                              Annuity Contract.pdf                       773830      5/10/2022 15:11



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79271                              Application.pdf                         371086      5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79271                              Court Order.pdf                         344457      5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79271                              Credit Report.pdf                       106299      5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79271                              Disclosure - NY Amend.pdf               553121      5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79271                              Disclosure - NY.pdf                     491795      5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79271                              Docusign certs.pdf                      209937      5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79271                              Drivers License.pdf                   1369037       5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79271                              Notice of transfer.pdf                  500982      5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79271                              Purchase Agreement.pdf                  476073      5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79271                              Qualified Assignement.pdf               526338      5/10/2022 15:11



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               All Paths/Locations                                   Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79271                              Request For Acknowledgement.pdf            150333      5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79271                              Request for Change of Beneficiary.pdf      169443      5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79271                              Searches.pdf                             1014671       5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79271                              Seller Affidavit.pdf                     1016637       5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79271                              Settlement Agreement.pdf                   788807      5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79271                              Stipulation.pdf                          3822628       5/10/2022 15:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79272                              1808208_3_FinalPackage.pdf               5759633        3/9/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79272                              Annuity Contract.pdf                       387605      4/26/2022 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79272                              Application.pdf                            411490      4/26/2022 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79272                              Benefits Letter.pdf                        475193      4/26/2022 17:50



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79272                              Court Order.pdf                          757402      4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79272                              Credit Report.pdf                        106130      4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79272                              Disclosure - FL.pdf                      152420      4/26/2022 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79272                              Docusign.pdf                             259585      4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79272                              Drivers License.pdf                      400399      4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79272                              Guardianship .pdf                         98567      4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79272                              Probate.pdf                               93478      4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79272                              Proof of Service.pdf                     190700      4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79272                              Purchase Agreement.pdf                   525628      4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79272                              Qualified Assignement.pdf                281872      4/26/2022 17:50



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79272                              Request For Acknowledgement.pdf            142011      4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79272                              Request for Change of Beneficiary.pdf      157649      4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79272                              Searches.pdf                             1229806       4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79272                              Settlement Agreement.pdf                   380627      4/26/2022 17:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79272                              Trust Agreement.pdf                        116206      4/26/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79274                              1822241_2_FinalPackage.pdf              18656973        3/7/2022 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79274                              Annuity.pdf                                623034      4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79274                              Application.pdf                            365666      4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79274                              Court Order.pdf                          3022335       4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79274                              Credit Report.pdf                          104834      4/27/2022 11:16



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79274                              Disclosure - IL.pdf                        266772      4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79274                              Disclosure - KY.pdf                        266581      4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79274                              DocuSign.pdf                               258374      4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79274                              Proof of Service.pdf                     8836942       4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79274                              Purchase Agreement.pdf                     588475      4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79274                              Qualified Assignement.pdf                  316621      4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79274                              Request For Acknowledgement.pdf            150290      4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79274                              Request for Change of Beneficiary.pdf       93480      4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79274                              Searches.pdf                             1019522       4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79274                              Seller Affidavit.pdf                       192567      4/27/2022 11:16



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79274                              Seller Identification.pdf                   191511      4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79274                              Settlement Agreement.pdf                    190902      4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79274                              Stipulation.pdf                           1267507       4/27/2022 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79277                              1860293_3_FinalPackage.pdf                5650256        3/9/2022 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79277                              Application.pdf                             384258      4/29/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79277                              Court Order.pdf                           1053249       4/29/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79277                              Disclosure - VA.pdf                         265195      4/29/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79277                              Docusign Certificate of Completion.pdf      219235      4/29/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79277                              List of Dependents.pdf                      175113      4/29/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79277                              Purchase Agreement.pdf                      293991      4/29/2022 13:20



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79277                              Request For Acknowledgement.pdf            245265      4/29/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79277                              Request for Change of Beneficiary.pdf      166268      4/29/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79277                              Searches.pdf                             2108716       4/29/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79277                              Seller Identification.pdf                  272528      4/29/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79277                              Waiver of IPA.pdf                          194407      4/29/2022 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79279                              1819054_2_FinalPackage.pdf              11113224        3/9/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79279                              Application.pdf                            222689      4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79279                              Court Order.pdf                          1366337       4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79279                              Credit Report.pdf                          100831      4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79279                              Disclosure - NY.pdf                        158055      4/21/2022 10:39



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79279                              Disclosure - TX.pdf                      156479      4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79279                              DocuSign.pdf                             169418      4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79279                              Purchase Agreement.pdf                   342465      4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79279                              Request For Acknowledgement.pdf          179620      4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79279                              Searches.pdf                             733204      4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79279                              Seller Identification.pdf                349463      4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79279                              Settlement Agreement.pdf               5547152       4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79279                              Stipulation.pdf                          924616      4/21/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79280                              580581_12_FinalPackage.pdf            13656332        3/7/2022 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79280                              Application.pdf                          324988      4/21/2022 10:54



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79280                              Benefits Letter.pdf                       90146      4/21/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79280                              Birth Certificate.pdf                    159377      4/21/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79280                              Court Order.pdf                        3625961       4/21/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79280                              Credit Report.pdf                        105253      4/21/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79280                              Disclosure - FL.pdf                      266073      4/21/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79280                              Disclosure - PA.pdf                      185277      4/21/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79280                              Divorce.pdf                               81932      4/21/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79280                              DocuSign .pdf                            259011      4/21/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79280                              Purchase Agreement.pdf                 1774070       4/21/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79280                              Request For Acknowledgement.pdf          167563      4/21/2022 10:54



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               All Paths/Locations                               Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79280                              Searches.pdf                           2477870       4/21/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79280                              Seller Identification.pdf                274938      4/21/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79280                              Settlement Agreement Affidavit .pdf      115470      4/21/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79280                              Settlement Agreement.pdf                 268873      4/21/2022 10:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79280                              Settling Documents .pdf                1728472       4/21/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79280                              SSN.pdf                                  178457      4/21/2022 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79281                              375027_2_FinalPackage.pdf             10098514       3/10/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79281                              Application.pdf                          629299      4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79281                              Aviva Guarantee.pdf                       75610      4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79281                              Benefits Letter.pdf                      194977      4/12/2013 14:03



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79281                              Court Order.pdf                         327137      4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79281                              Credit Report.pdf                       104897      4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79281                              Disclosure - NY.pdf                     732655      4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79281                              Drivers License and SS Card.pdf         464365      4/12/2013 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79281                              Identification.pdf                      255473      4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79281                              Notice of Transfer.pdf                  382067      4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79281                              Payment Stream .pdf                      92470      4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79281                              Proof of residency.pdf                  222636      4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79281                              Purchase Agreement.pdf                1120836       4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79281                              Request For Acknowledgement.pdf         150470      4/21/2022 17:22



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79281                              Request for Change of Beneficiary.pdf      241575      4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79281                              Searches.pdf                             1007462       4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79281                              Settlement Agreement.pdf                 1739856       4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79281                              Stipulation.pdf                          2131392       4/21/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79282                              1877068_1_FinalPackage.pdf              13907512       3/11/2022 16:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79282                              Acknowledgment of Assignment.pdf         2305603       4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79282                              Affidavit.pdf                              409353      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79282                              Annuity Contract.pdf                       398427      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79282                              Application.pdf                            706385      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79282                              Assignment Agreement.pdf                   622987      4/21/2022 18:21



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79282                              Benefits Letter.pdf                       46372      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79282                              Court Order.pdf                          490081      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79282                              Credit Report.pdf                         19128      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79282                              Disclosure - DE.pdf                      408486      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79282                              Disclosure - IA.pdf                      363066      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79282                              Disclosure - MO.pdf                      378592      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79282                              Docusign certificate.pdf                  44481      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79282                              Proof of service.pdf                     230749      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79282                              Purchase Agreement.pdf                 4096421       4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79282                              Qualified Assignment.pdf                 159923      4/21/2022 18:21



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79282                              Request For Acknowledgement.pdf         16751      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79282                              Searches.pdf                           246311      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79282                              Settlement Agreement.pdf               533034      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79282                              Stipulation.pdf                        757160      4/21/2022 18:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79285                              1849451_2_FinalPackage.pdf           7239204       3/10/2022 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79285                              Application.pdf                        202939      4/22/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79285                              Benefits Letter.pdf                     87724      4/22/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79285                              Court Order.pdf                      1689097       4/22/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79285                              Disclosure - AZ.pdf                    174654      4/22/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79285                              Disclosure - CO.pdf                    174623      4/22/2022 11:52



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               All Paths/Locations                                  Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79285                              Disclosure - FL.pdf                         174458      4/22/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79285                              Docusign Certificate of Completion.pdf      125639      4/22/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79285                              List of Dependents.pdf                      142335      4/22/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79285                              Obituary.pdf                                378490      4/22/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79285                              Purchase Agreement.pdf                      352515      4/22/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79285                              Request For Acknowledgement.pdf             171772      4/22/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79285                              Searches.pdf                              1517128       4/22/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79285                              Seller Identification.pdf                 2034063       4/22/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023\79285                              Stipulation.pdf                             532244      4/22/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79285                              Waiver of IPA.pdf                           196449      4/22/2022 11:52



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               All Paths/Locations                                  Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79286                              1717901_1_FinalPackage.pdf               10001815       3/10/2022 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79286                              Application.pdf                             189702      4/22/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79286                              Benefits Letter.pdf                         512237      4/22/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79286                              Court Order.pdf                           3000036       4/22/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79286                              Disclosure - NJ.pdf                         149195      4/22/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79286                              Docusign Certificate of Completion.pdf      195999      4/22/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79286                              List of Dependents.pdf                      154674      4/22/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79286                              Purchase Agreement.pdf                      224378      4/22/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79286                              Request For Acknowledgement.pdf             232759      4/22/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79286                              Searches.pdf                              2855425       4/22/2022 12:07



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79286                              Seller Identification.pdf              916178      4/22/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79286                              Settlement Agreement.pdf               565428      4/22/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79286                              Stipulation.pdf                      1640701       4/22/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79286                              Waiver of IPA.pdf                      171134      4/22/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79287                              1723633_3_FinalPackage.pdf          10667935       3/11/2022 10:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79287                              Annuity Contract.pdf                   495713      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79287                              Application.pdf                        330358      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79287                              Change of Beneficiary.pdf              100082      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79287                              Court Order.pdf                      1840619       4/22/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79287                              Disclosure - AZ.pdf                    109017      4/22/2022 12:30



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               All Paths/Locations                                  Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79287                              Disclosure - NJ.pdf                         112834      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79287                              Docusign Certificate of Completion.pdf      321585      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79287                              Name Affidavit.pdf                           69801      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79287                              Notice of Hearing.pdf                       158740      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79287                              Petition.pdf                                848835      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79287                              Proof of Service.pdf                        285603      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79287                              Purchase Agreement.pdf                      975466      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79287                              Qualified Assignement.pdf                   693868      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79287                              Request For Acknowledgement.pdf             206875      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79287                              Searches.pdf                              1118180       4/22/2022 12:30



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               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79287                              Seller Affidavit.pdf                      152097      4/22/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79287                              Seller Identification.pdf                 721772      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79287                              Settlement Agreement.pdf                  776361      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79287                              Spousal Consent.pdf                       508934      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79287                              SSN.pdf                                   532865      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79287                              Statement of Dependents.pdf                79856      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79287                              Stipulation.pdf                           657594      4/22/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79287                              Waiver of IPA.pdf                         100766      4/22/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79290                              1878368_1_FinalPackage.pdf             15877891       3/11/2022 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79290                              Annuity Contract.pdf                      360783      4/25/2022 16:16



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79290                              Application.pdf                          217679      4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79290                              Benefits Letter.pdf                      170731      4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79290                              Court Order.pdf                          467813      4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79290                              Credit Report.pdf                        190659      4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79290                              Disclosure - CT.pdf                      154570      4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79290                              Disclosure - NV.pdf                      247981      4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79290                              Divorce decree.pdf                     1612333       4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79290                              Docusign cert.pdf                        124944      4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79290                              Drivers License.pdf                    4831548       4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79290                              Notice of Transfer.pdf                   148749      4/25/2022 16:16



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               All Paths/Locations                              Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79290                              Proof of Service.pdf                 140199      4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79290                              Purchase Agreement.pdf             3528093       4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79290                              Qualified Assignment.pdf             224992      4/25/2022 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79290                              Request For Acknowledgement.pdf      143164      4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79290                              Searches.pdf                         880401      4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79290                              Settlement Agreement.pdf           2882126       4/25/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79292                              1879967_1_FinalPackage.pdf        11259433        3/9/2022 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79292                              Adoption Documents.pdf               454181      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79292                              Annuity Contract.pdf               1056359       4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79292                              Application.pdf                      424752      4/25/2022 17:44



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79292                              Court Order.pdf                        5604377       4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79292                              Credit Report.pdf                        114679      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79292                              Disclosure - CT.pdf                      268124      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79292                              Disclosure - DE.pdf                      267938      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79292                              Disclosure - MI.pdf                      267863      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79292                              Disclosure - TX.pdf                      267882      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79292                              Docusign cert.pdf                        224756      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79292                              Drivers License.pdf                      258702      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79292                              Notice of Transfer.pdf                   159319      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79292                              Proof of residency.pdf                   150769      4/25/2022 17:44



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79292                              Purchase Agreement.pdf                     722733      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79292                              Request For Acknowledgement.pdf            150668      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79292                              Request for Change of Beneficiary.pdf      169483      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79292                              Searches.pdf                               916887      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79292                              Settlement Docket.pdf                      192361      4/25/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79293                              1876408_1_FinalPackage.pdf              31222427       3/11/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79293                              Annuity Contract.pdf                       421908      4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79293                              Application.pdf                            419967      4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79293                              Court Order.pdf                            324743      4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79293                              Credit Report.pdf                          748198      4/25/2022 20:04



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               All Paths/Locations                                  Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79293                              Disclosure - KS.pdf                        264647      4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79293                              Docusign Certificate.pdf                   255781      4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79293                              Drivers License.pdf                        169383      4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79293                              Notice of Transfer.pdf                     149395      4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79293                              Purchase Agreement.pdf                   1739583       4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79293                              Qualified Assignment.pdf                   705778      4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79293                              Request For Acknowledgement.pdf            185806      4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79293                              Request for Change of Beneficiary.pdf      166354      4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79293                              Searches.pdf                               935542      4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79293                              Settlement Agreement.pdf                   787675      4/25/2022 20:04



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79293                              Stipulation.pdf                     16133663       4/25/2022 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79296                              1774722_3_FinalPackage.pdf          16558943      11/22/2023 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79296                              Annuity Contract.pdf                   927817       5/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79296                              Application.pdf                        346899       5/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79296                              Bankruptcy Search.pdf                  158523       5/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79296                              Court Order.pdf                        992220       5/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79296                              Credit Report.pdf                      109462       5/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79296                              Disclosure - MT.pdf                    293401       5/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79296                              Drivers License.pdf                  7321176        5/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79296                              Lien and Judgment Search.pdf           254064       5/2/2022 14:13



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               All Paths/Locations                                Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79296                              Purchase Agreement.pdf                           2187822        5/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79296                              Qualified Assignement.pdf                          492405       5/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79296                              Settlement Agreement.pdf                           642213       5/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79296                              Stipulation.pdf                                  2311818        5/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79296                              UCC Search.pdf                                     112820       5/2/2022 14:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79298                              1866325_1_FinalPackage.pdf                      13733112       3/10/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79298                              1866325 williams SSC.BrokerAgreement (83).pdf      168241       3/9/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79298                              Disclosure email on 10182021.png                    84959
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79298                              Absolute Assignment .pdf                         1199218       4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79298                              Annuity.pdf                                      1251075       4/27/2022 11:39



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79298                              Application.pdf                          588248      4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79298                              Assignment.pdf                           154224      4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79298                              Court Order.pdf                          297390      4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79298                              Credit Report.pdf                        109526      4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79298                              Disclosure - CA.pdf                      388522      4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79298                              Disclosure - IL.pdf                      212980      4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79298                              Disclosure - NY.pdf                      651660      4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79298                              Disclosure - TX.pdf                      349912      4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79298                              Disclosure Affidavit.pdf                 136032      4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79298                              Petition .pdf                             183429      4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79298                              Proof of Service.pdf                      256677      4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79298                              Purchase Agreement.pdf                  1364026       4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
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11.22.2023\79298                              Qualified Assignement.pdf                 553426      4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79298                              Searches.pdf                              535574      4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79298                              Seller Affidavit.pdf                      214481      4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79298                              Settlement Agreement Affidavit .pdf       173923      4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79298                              Settlement Agreement.pdf                1412394       4/27/2022 11:39
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79299                              1854790_1_FinalPackage.pdf            10203652       3/11/2022 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79299                              Annuity Contract.pdf                     521213      4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79299                              Application.pdf                          334043      4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79299                              Benefits Letter.pdf                      124364      4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79299                              Court Order.pdf                          515951      4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79299                              Credit Report.pdf                        110877      4/27/2022 12:02
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79299                              Disclosure - CA.pdf                      176596      4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79299                              Disclosure - IL.pdf                      171315      4/27/2022 12:02
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79299                              Notice of Hearing .pdf                    519838      4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79299                              Petition.pdf                              288091      4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79299                              Proof of Service.pdf                      169704      4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79299                              Purchase Agreement.pdf                    425503      4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\79299                              Request For Acknowledgement.pdf           173228      4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79299                              Searches.pdf                            1322348       4/27/2022 12:02
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79299                              Seller Affidavit.pdf                      868719      4/27/2022 12:02
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79300                              1884136_1_FinalPackage.pdf          21013432       3/11/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79300                              Amended Petition.pdf                   220336      4/27/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79300                              Annuity Contract.pdf                   687640      4/27/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79300                              Application.pdf                        162784      4/27/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79300                              Assignment Agreement .pdf              464451      4/27/2022 12:28
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79300                              Assignment.pdf                         249488      4/27/2022 12:27
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79300                              Conservatorship.pdf                  9413658       4/27/2022 12:28
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79300                              Court Order.pdf                      4547013       4/27/2022 12:27
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79300                              Credit Report.pdf                      112314      4/27/2022 12:28
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79300                              Disclosure - MA.pdf                     89310      4/27/2022 12:28



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79300                              Disclosure - MI.pdf                     84539      4/27/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79300                              Disclosure - OR.pdf                    154453      4/27/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79300                              DocuSign.pdf                           155898      4/27/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79300                              Drivers License.pdf                    124365      4/27/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79300                              Fasano.pdf                             167465      4/27/2022 12:27
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11.22.2023\79300                              Pleadings.pdf                        1389854       4/27/2022 12:27
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11.22.2023.zip\Dorchester - 353 Files -
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79300                              Purchase Agreement.pdf                 748157      4/27/2022 12:28
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79300                              Questionnaire.pdf                      286850      4/27/2022 12:27
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79300                              Searches.pdf                           795535      4/27/2022 12:28



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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79300                              Seller Affidavit.pdf                      314015      4/27/2022 12:27
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79300                              Seller Declaration.pdf                     84446      4/27/2022 12:28
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79300                              Settlement Agreement.pdf                  190380      4/27/2022 12:27
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11.22.2023\79301                              366724_1_FinalPackage.pdf              14999574       3/10/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79301                              Application.pdf                           338056      4/27/2022 14:53
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11.22.2023.zip\Dorchester - 353 Files -
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11.22.2023\79301                              Court Order.pdf                           225401      4/27/2022 14:53
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11.22.2023.zip\Dorchester - 353 Files -
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79301                              Disclosure - GA.pdf                      800212      4/27/2022 14:53
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79301                              Disclosure - IN.pdf                      268561      4/27/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79301                              Disclosure - WA.pdf                      268601      4/27/2022 14:53
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SuttonPark\Missing Documents
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11.22.2023\79301                              Divorce.pdf                              975451      4/27/2022 14:53
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79301                              Docusign.pdf                             160950      4/27/2022 14:53
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79301                              Purchase Agreement.pdf                 1674203       4/27/2022 14:53
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79301                              Request For Acknowledgement.pdf          154199      4/27/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79301                              Searches.pdf                           1133893       4/27/2022 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79302                              823499_2_FinalPackage.pdf           12145296        3/9/2022 15:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79302                              Application.pdf                        328728      4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79302                              Court Order.pdf                      3633187       4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79302                              Credit Report.pdf                      158245      4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79302                              Disclosure - AZ.pdf                    151695      4/27/2022 15:51
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023\79302                              Disclosure - MA.pdf                    151549      4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79302                              Disclosure - MI.pdf                    175314      4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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               All Paths/Locations                                   Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79302                              Purchase Agreement.pdf                     468671      4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79302                              Request For Acknowledgement.pdf            160510      4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79302                              Request for Change of Beneficiary.pdf      168732      4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79302                              Searches.pdf                             1435474       4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79302                              Seller Affidavit.pdf                     2712870       4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79303                              1408134_2_FinalPackage.pdf               4966038       3/10/2022 10:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79303                              Annuity Contract.pdf                       123632      4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79303                              Application.pdf                            288971      4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79303                              Court Order.pdf                            291947      4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79303                              Credit Report.pdf                          104530      4/27/2022 16:29



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               All Paths/Locations                                   Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79303                              Disclosure - NJ.pdf                        423776      4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79303                              Disclosure - PA.pdf                        152867      4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79303                              Docusign.pdf                               297547      4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79303                              Proof of Service.pdf                       147712      4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79303                              Purchase Agreement.pdf                   1188966       4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79303                              Qualified Assignement.pdf                  166489      4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79303                              Request For Acknowledgement.pdf            164083      4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79303                              Request for Change of Beneficiary.pdf      167072      4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79303                              Searches.pdf                             1186784       4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79303                              Seller Affidavit.pdf                       199466      4/27/2022 16:29



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79303                              Settling Documents .pdf                229828      4/27/2022 16:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79305                              797178_2_FinalPackage.pdf           11196476       3/10/2022 17:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79305                              Annuity Contract.pdf                   186693      4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79305                              Application.pdf                        203319      4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79305                              Court Order.pdf                        253169      4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79305                              Credit Report.pdf                      136108      4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79305                              Disclosure - MA.pdf                    163377      4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79305                              DocuSign.pdf                           122188      4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79305                              Drivers License.pdf                  2916257       4/27/2022 17:22



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79305                              Proof of Service.pdf                       412970      4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79305                              Purchase Agreement.pdf                   1349894       4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79305                              Qualified Assignement.pdf                  186667      4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79305                              Request For Acknowledgement.pdf            162215      4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79305                              Request for Change of Beneficiary.pdf      159615      4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79305                              Searches.pdf                             1244264       4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79305                              Settlement Agreement.pdf                   203104      4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79305                              Settling Documents .pdf                    140809      4/27/2022 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79306                              1242843_2_FinalPackage.pdf               6224434        3/9/2022 14:03



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79306                              Application.pdf                          190348      4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79306                              Benefits Letter.pdf                      320567      4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79306                              Case History.pdf                         155349      4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79306                              Court Order.pdf                          397225      4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79306                              Credit Report.pdf                        404159      4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79306                              Disclosure - LA.pdf                      237388      4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79306                              Divorce.pdf                            1528457       4/27/2022 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79306                              DocuSign.pdf                             145242      4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79306                              Judgement.pdf                            160094      4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79306                              Name Addendum.pdf                         84515      4/27/2022 18:08



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79306                              Purchase Agreement.pdf                   634934      4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79306                              Request For Acknowledgement.pdf          161804      4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79306                              Searches.pdf                           1252988       4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79306                              Settlement Agreement.pdf               7341770       4/27/2022 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79307                              437622_2_FinalPackage.pdf              9659765       3/11/2022 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79307                              Annuity.pdf                            2178974       4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79307                              Application.pdf                          228220      4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79307                              Court Order.pdf                        1206248       4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79307                              Credit Report.pdf                        101123      4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79307                              Disclosure - IL.pdf                      155767      4/28/2022 10:43



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               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79307                              Disclosure - PA.pdf                       155699      4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79307                              DocuSign.pdf                              191998      4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79307                              Drivers License.pdf                       267990      4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79307                              Purchase Agreement.pdf                    343715      4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79307                              Qualified Assignement.pdf               1253688       4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79307                              Request For Acknowledgement.pdf           193144      4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79307                              Searches.pdf                              754807      4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79307                              Seller Affidavit.pdf                      897887      4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79307                              Settlement Agreement .pdf               1364869       4/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79307                              Stipulation.pdf                           618202      4/28/2022 10:43



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79308                              Driver License .pdf                      468769      4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79308                              1738406_2_FinalPackage.pdf            27119608       3/10/2022 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79308                              Acknowledgement of Assignment .pdf       363919      4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79308                              Amended NOH.pdf                          140800      4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79308                              Amended Petition .pdf                    167615      4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79308                              Annuity Contract.pdf                      76906      4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79308                              Application.pdf                        1765148       4/28/2022 11:21
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79308                              Assignment.pdf                           178805      4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79308                              Court Order.pdf                        3917343       4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79308                              Credit Report.pdf                        105280      4/28/2022 11:21



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79308                              Declaration .pdf                       1548427       4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79308                              Disclosure - FL.pdf                    1289496       4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79308                              Disclosure - TX.pdf                    1023730       4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79308                              DocuSign.pdf                             375106      4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79308                              Final Judgement .pdf                   2631316       4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79308                              Minors Compromise.pdf                  1693404       4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79308                              Petition .pdf                            950780      4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79308                              Proof of Service.pdf                     454986      4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79308                              Purchase Agreement.pdf                 5775306       4/28/2022 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79308                              Searches.pdf                             590524      4/28/2022 11:21



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79308                              Stipulation.pdf                        2847928       4/28/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79314                              1370736_2_FinalPackage.pdf            13749072        3/9/2022 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79314                              Annuity Contract.pdf                     650201      5/10/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79314                              Application.pdf                          421648      5/10/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79314                              Court_Order.pdf                        1608635       5/10/2022 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79314                              Credit Report.pdf                        107278      5/10/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79314                              Disclosure - CT.pdf                      239246      5/10/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79314                              Disclosure - NY.pdf                      155653      5/10/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79314                              Docusign.pdf                             354779      5/10/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79314                              Drivers License.pdf                      240494      5/10/2022 13:47



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               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79314                              Prior Court Orders.pdf                    369124      5/10/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79314                              Proof of Service.pdf                      133481      5/10/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79314                              Purchase Agreement.pdf                  5042700       5/10/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79314                              Qualified Assignement.pdf                 232818      5/10/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79314                              Request For Acknowledgement.pdf           166270      5/10/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79314                              Searches.pdf                            1336765       5/10/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79314                              Seller Affidavit.pdf                    1569410       5/10/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79314                              Settlement Agreement.pdf                  486384      5/10/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79314                              UCC Financing.pdf                          97350      5/10/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79317                              1702735_3_FinalPackage.pdf              7560849       3/11/2022 15:33



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79317                              Annuity Contract.pdf                     883637      5/10/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79317                              Application.pdf                          578577      5/10/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79317                              Benefits Letter.pdf                      294542      5/10/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79317                              Court Order.pdf                          773747      5/10/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79317                              Credit Report.pdf                        261062      5/10/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79317                              Disclosure - CT.pdf                      419845      5/10/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79317                              Disclosure - TX.pdf                      419646      5/10/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79317                              Docusign.pdf                             413326      5/10/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79317                              Minor Claim .pdf                       1287152       5/10/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79317                              Proof of Service.pdf                     302338      5/10/2022 17:11



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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79317                              Purchase Agreement.pdf                747591      5/10/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79317                              Qualified Assignement.pdf             459699      5/10/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79317                              Request For Acknowledgement.pdf       305607      5/10/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79317                              Searches.pdf                        1468950       5/10/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79317                              Seller Identification.pdf             788150      5/10/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79322                              773654_7_FinalPackage.pdf           7629471        3/9/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79322                              Annuity Contract.pdf                  340121      5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79322                              Application.pdf                       337392      5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79322                              Benefits Letter.pdf                   107696      5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79322                              Change of Beneficiary.pdf              73571      5/13/2022 11:25



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79322                              Court Order.pdf                      2344204       5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79322                              Credit Report.pdf                      110539      5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79322                              Disclosure - GA.pdf                    181860      5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79322                              Docusign.pdf                           147817      5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79322                              Drivers License.pdf                    289828      5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79322                              Marriage Certificate .pdf              559451      5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79322                              Purchase Agreement.pdf                 485809      5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79322                              Request For Acknowledgement.pdf        176483      5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79322                              Searches.pdf                         1337764       5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79322                              Settlement Agreement.pdf               454224      5/13/2022 11:25



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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79322                              SSN.pdf                                1016017       5/13/2022 11:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79323                              1509061_2_FinalPackage.pdf             4782667        3/9/2022 15:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79323                              Annuity Contract.pdf                     238203      5/13/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79323                              Application.pdf                          638848      5/13/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79323                              Court Order.pdf                          215118      5/13/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79323                              Credit Report.pdf                        110584      5/13/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79323                              Disclosure - TX.pdf                      199223      5/13/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79323                              DocuSign .pdf                            139044      5/13/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79323                              Purchase Agreement.pdf                   540506      5/13/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79323                              Request For Acknowledgement.pdf           94856      5/13/2022 10:13



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79323                              Request for Change of Beneficiary.pdf      193778      5/13/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79323                              Searches.pdf                               484021      5/13/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79323                              Settlement Documents .pdf                   89852      5/13/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79323                              Signature Page .pdf                        256784      5/13/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79323                              Stipulation.pdf                          1934263       5/13/2022 10:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79330                              1744579_2_FinalPackage.pdf               6038689       3/10/2022 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79330                              Agreed Final Judgment.pdf                  199145       5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79330                              Application.pdf                            293479       5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79330                              Bankruptcy Search.pdf                      424850       5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79330                              Benefits Letter.pdf                        128507       5/5/2022 11:03



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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79330                              Court Order.pdf                            773977       5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79330                              Credit Report.pdf                          106109       5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79330                              Disclosure - OK.pdf                        262092       5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79330                              DocuSign Cert 7ABA.pdf                     159444       5/5/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79330                              DocuSign Cert 85F3.pdf                     159393       5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79330                              Drivers License.pdf                        267730       5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79330                              PI Docket.pdf                              312299       5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79330                              Purchase Agreement.pdf                     631296       5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79330                              Request For Acknowledgement.pdf            248991       5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79330                              Request for Change of Beneficiary.pdf      157228       5/5/2022 11:03



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               All Paths/Locations                              Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79330                              Searches.pdf                         623711       5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79330                              Settlement Agreement.pdf             405490       5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79330                              UCC.pdf                              134330       5/5/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79335                              1728091_2_FinalPackage.pdf        18022803       3/11/2022 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79335                              Annuity Contract.pdf                 401574       5/9/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79335                              Application.pdf                      320141       5/9/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79335                              Change of Beneficiary.pdf            139379       5/9/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79335                              Court Order.pdf                    2061418        5/9/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79335                              Disclosure - CA.pdf                  280728       5/9/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79335                              DocuSign.pdf                         143403       5/9/2022 17:02



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79335                              Drivers License.pdf                        752183       5/9/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79335                              Purchase Agreement.pdf                     422586       5/9/2022 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79335                              Qualified Assignement.pdf                  488259       5/9/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79335                              Request For Acknowledgement.pdf            160709       5/9/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79335                              Request for Change of Beneficiary.pdf      167441       5/9/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79335                              Searches.pdf                             1203293        5/9/2022 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79335                              Seller Affidavit.pdf                       181140       5/9/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79335                              Settlement Agreement.pdf                 1521937        5/9/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79335                              Stipulation.pdf                         10158501        5/9/2022 17:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79348                              Acknowledgment 79348.pdf                    90601       4/29/2022 7:52



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79348                              Acknowledgment.pdf                       39502      4/19/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79348                              Affidavit.pdf                           691882      3/25/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79348                              Application.pdf                         149518      3/25/2022 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79348                              Authorization.pdf                        74615      3/25/2022 15:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79348                              Bankruptcy Search.pdf                   347455      3/25/2022 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79348                              Benefit Letter.pdf                      898637      3/25/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79348                              Closing Binder.pdf                   10745884       3/22/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79348                              Court Order.pdf                         235253       3/24/2022 7:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79348                              Credit Report.pdf                       694459      3/28/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79348                              Disclosure ID.pdf                        96395      3/25/2022 15:25



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79348                              DocuSign Cert 4E49.pdf                   95616      3/25/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79348                              DocusSign Cert EE9A.pdf                  95645      3/25/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79348                              Driver License updated.pdf            3965182       5/25/2022 12:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79348                              Executed Assignment.pdf                 221973      3/25/2022 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79348                              IPA.pdf                                  58338      3/25/2022 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79348                              Name Addendum.pdf                       480872      3/25/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79348                              Pleadings.pdf                         4841186       3/25/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79348                              Purchase Agreement.pdf                  386475      3/25/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79348                              Search Results.pdf                      486013      3/25/2022 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79348                              Settlement Agreement.pdf                100179      3/25/2022 15:35



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79348                              SSC.pdf                                 531177      3/25/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79348                              ZIP Code USPS.pdf                        64874      3/25/2022 16:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79353                              Annuity Contract.pdf                  2590947       3/28/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79353                              Application.pdf                       2253943       3/28/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79353                              Assignment Agreement Executed.pdf        24904       3/30/2022 9:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79353                              Authorizations.pdf                    2059207       3/28/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\79353                              Closing Book Austin Edwards.pdf      10329298        3/24/2022 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79353                              Court Order.pdf                         274984       3/29/2022 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79353                              Credit Report.pdf                     2076417       3/28/2022 11:44



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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79353                              Disclosure - CO.pdf                2002221       3/28/2022 11:44
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79353                              Disclosure - GA.pdf                2003795       3/28/2022 11:44
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79353                              Disclosure - NE.pdf                2004212       3/28/2022 11:44
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79353                              Disclosure - WA.pdf                2002622       3/28/2022 11:44
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79353                              Docusign Certificate 85F.pdf       2034507       3/28/2022 11:44
Saiph consulting|\Audit Materials Received-
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11.22.2023\79353                              Docusign Certificate 88B.pdf         208239     11/22/2023 16:48
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79353                              Edwards Assignment.docx               16584      3/29/2022 15:57
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79353                              Pleadings redacted .pdf              4635570       3/28/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79353                              Purchase Agreement.pdf                 323882       3/29/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79353                              Searches.pdf                         2057327       3/28/2022 11:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79353                              Social Security Card.pdf             1212311       3/29/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79353                              UCC Search.pdf                       2056892       3/28/2022 11:44
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79358                              AC.pdf                                 214104      3/24/2022 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79358                              Acknowledgment.pdf                      58803      3/24/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79358                              Application.pdf                        306403      3/24/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79358                              Assignment.pdf                          74613      3/24/2022 15:09



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79358                              BRNB42200160C4C_015868.pdf                     3650479       3/24/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79358                              COB Request.pdf                                   69015      3/24/2022 15:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79358                              Court Order.pdf                                  714989      3/24/2022 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79358                              Disclosure DE.pdf                                134399      3/24/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79358                              Disclosure MA.pdf                                152110      3/24/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79358                              Disclosure MI.pdf                                128475      3/24/2022 15:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79358                              Divorce.pdf                                      399450      3/24/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79358                              DL and SSC.pdf                                    68881      3/24/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Lori Woods - Policy 18003 50002 201011241 -
11.22.2023\79358                              Change of Address request.pdf                    870523       9/28/2022 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79358                              Purchase Agreement.pdf                           939728      3/24/2022 15:21



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               All Paths/Locations                                 Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79358                              Redirection Confirmation New 79358.pdf        352957     11/15/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79358                              Searches.pdf                                  644651      3/24/2022 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79358                              Settlement Agreement.pdf                      356053      3/24/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79359                              Affidavit in Lieu of SA.pdf                   105016      3/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79359                              Annuity Contract.pdf                          402822      3/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79359                              Application.pdf                               172692      3/25/2022 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023\79359                              Assignment Aikman to TKR Investments.pdf       52995      3/25/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79359                              Authorization to Release.pdf                   47407      3/25/2022 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79359                              Closing Binder.pdf                          5576165       3/25/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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               All Paths/Locations                               Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023\79359                              Court Order.pdf                             194478      3/25/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79359                              Death Cert - Yvette Wilda.pdf               131371      3/25/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79359                              Disclosure IL - Amended.pdf                 107449      3/25/2022 13:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
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11.22.2023\79359                              Purchase Agreement.pdf                      855144      3/25/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79359                              Qualified Assignment.pdf                    251833      3/25/2022 13:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79359                              Redirection Confirmation New 79359.pdf      529834     10/13/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79359                              Request for Acknowledgment.pdf              105259      3/25/2022 12:56
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79359                              Searches.pdf                              2708265       3/25/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79359                              Seller Identification.pdf                    54230      3/25/2022 13:00



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79360                              Assignment Aikman to TKR.pdf                       48603       4/1/2022 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79360                              Benefits Letter.pdf                                37169       4/1/2022 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79360                              Closing Binder.pdf                              9007811       3/25/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79360                              Court Order.pdf                                   366831       4/1/2022 17:48
Saiph consulting|\Audit Materials Received-
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11.22.2023\79360                              Change of Address Request.pdf                     938215      9/29/2022 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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SuttonPark\Missing Documents
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11.22.2023\79360                              Seller Affidavit.pdf                              837645       4/1/2022 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79360                              Social Security Card.pdf                          346028       4/1/2022 17:48



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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79360                              Stipulation.pdf                        653280       4/1/2022 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79360                              Transfer Agreement.pdf               1506135        4/1/2022 17:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79361                              Allied Servicing Agreement.pdf         148013       3/25/2022 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79361                              Annuity Contract.pdf                   832029       3/25/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79361                              Application.pdf                        295480       3/25/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79361                              Assignment Aikman to TKR.pdf            83268       3/25/2022 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79361                              BRNB42200160C4C_016184.pdf           3358770       3/24/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79361                              BRNB42200160C4C_016237.pdf           2254447       3/24/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79361                              Court Order.pdf                        486506       3/25/2022 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79361                              Disclosure GA.pdf                      125793       3/25/2022 9:41



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               All Paths/Locations                                 Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79361                              Disclosure PA.pdf                                134241       3/25/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79361                              Driver License.pdf                               962743       3/25/2022 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79361                              Important Notice - PA.pdf                         34932       3/25/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79361                              IPA Ack - PA.pdf                                  32147       3/25/2022 9:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79361                              Payees Declaration and Affidavit.pdf             385210       3/25/2022 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79361                              Purchase Agreement.pdf                           832059       3/25/2022 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79361                              QA.pdf                                           473671       3/25/2022 9:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79361                              Searches.pdf                                     373750       3/25/2022 9:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Shaliann Rios - Change of Address
11.22.2023\79361                              Confirmation.pdf                                 184373      9/29/2022 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Shaliann Rios - Policy 20029212 - Change of
11.22.2023\79361                              Address Request.pdf                              787849      9/29/2022 15:35



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               All Paths/Locations                                 Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79361                              SSC.pdf                                       396791       3/25/2022 9:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79361                              Stipulation.pdf                               820285       3/25/2022 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79362                              Acknowledgment.pdf                             63549      3/25/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79362                              Affidavit.pdf                                 119494      3/25/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79362                              Annuity Contract - partial.pdf                131735      3/25/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79362                              Application.pdf                               393422      3/25/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79362                              Assignment Aikman to TKR Investments.pdf       53553      3/25/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79362                              Authorization to Release.pdf                   48936      3/25/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79362                              Closing Binder.pdf                          6910787       3/25/2022 15:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79362                              COB Request.pdf                                50906      3/25/2022 15:48



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               All Paths/Locations                                 Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79362                              Court Order.pdf                             298413      3/25/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79362                              Disclosure NC.pdf                            94858      3/25/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79362                              Disclosure NE.pdf                            96079      3/25/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79362                              Driver License.pdf                          174470      3/25/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79362                              Purchase Agreement.pdf                      836736      3/25/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79362                              Qualified Assignment.pdf                    414998      3/25/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79362                              Redirection Confirmation New 79362.pdf      513514      10/4/2022 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79362                              searches.pdf                              2664453       3/25/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79362                              Settlement Agreement.pdf                    416239      3/25/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79362                              Social Security Card.pdf                    118220      3/25/2022 15:49



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               All Paths/Locations                                  Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79363                              Annuity Contract.pdf                                   352853      3/28/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79363                              Application.pdf                                        196565      3/28/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79363                              Assignment Aikman to TKR.pdf                            51515      3/28/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79363                              Authorization to Release Annuity Documents.pdf          48425      3/28/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79363                              Closing Binder.pdf                                   6265742       3/28/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79363                              Court Order.pdf                                        383127      3/28/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79363                              Disclosure - FL.pdf                                    109200      3/28/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79363                              Disclosure - MA.pdf                                    109641      3/28/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Petros Skourellos - Policy NP3 047741 - Change of
11.22.2023\79363                              Address request.pdf                                    761046       9/28/2022 9:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79363                              Purchase Agreement.pdf                                 758375      3/28/2022 11:19



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               All Paths/Locations                                   Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79363                              Qualified Assignment.pdf                   622953      3/28/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79363                              Request for Change of Beneficiary.pdf       48654      3/28/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79363                              Searches.pdf                               673399      3/28/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79363                              Seller Affidavit.pdf                       216323      3/28/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79363                              Settlement Agreement Affidavit.pdf         114972      3/28/2022 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79363                              Special Needs Trust.pdf                  1860281       3/28/2022 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79363                              Stipulation.pdf                            403911      3/28/2022 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79364                              AC.pdf                                     350256      3/25/2022 10:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79364                              Acknowledgment.pdf                          75682      3/25/2022 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79364                              Affidavit.pdf                              232842      3/25/2022 10:26



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79364                              Application.pdf                        272588      3/25/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79364                              Assignment Aikman to Trust.pdf          81946      3/25/2022 10:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79364                              BRNB42200160C4C_016542.pdf           3818851       3/24/2022 15:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79364                              BRNB42200160C4C_016615.pdf             963101      3/24/2022 15:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79364                              Court Order - Amended.pdf              302950      3/25/2022 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023\79364                              Court order.pdf                        267925      3/25/2022 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79364                              Disclosure FL.pdf                      146244      3/25/2022 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79364                              DL and SSC.pdf                         399388      3/25/2022 10:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79364                              POA.pdf                                189988      3/25/2022 10:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79364                              QA.pdf                                          681180      3/25/2022 10:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79364                              Redirection Confirmation New 79364.pdf          501402      10/4/2022 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79364                              Searches.pdf                                  1725541       3/25/2022 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79365                              Acknowledgment.pdf                               33298      3/25/2022 18:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79365                              Affidavit.pdf                                   141946      3/25/2022 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79365                              Amended Court Order.pdf                         292236      3/25/2022 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79365                              Annuity Contract.pdf                            193157      3/25/2022 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79365                              Application.pdf                                 180589      3/25/2022 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Assignment International Diversifed to TKR
11.22.2023\79365                              Investments.pdf                                  51232      3/25/2022 18:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79365                              Authorization to Release.pdf                     45325      3/25/2022 18:13



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79365                              Benefits Letter.pdf                          42188      3/25/2022 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79365                              Closing Binder.pdf                        3422644       3/24/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79365                              COB Request.pdf                              45302      3/25/2022 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79365                              Disclosure CT.pdf                            91177      3/25/2022 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79365                              Disclosure VA.pdf                            95324      3/25/2022 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79365                              Purchase Agreement.pdf                      737297      3/25/2022 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79365                              Redirection Confirmation New 79365.pdf      480320     10/18/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79365                              Request for Acknowledgment.pdf               98774      3/25/2022 18:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79365                              Searches.pdf                                379870      3/25/2022 18:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79365                              Second Amended Court Order.pdf              287686      3/25/2022 18:11



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79365                              Settlement Agreement.pdf                       404298      3/25/2022 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79365                              Social Security Card.pdf                        38726      3/25/2022 18:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Walter Lyons - Policy 3876287 - Change of
11.22.2023\79365                              Address request.pdf                            831705       9/28/2022 9:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Walter Lyons - Policy 3876287 - revised
11.22.2023\79365                              submission.pdf                                 283250     11/16/2022 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79368                              Affidavit in Support.pdf                     6081413       3/27/2022 18:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79368                              Application.pdf                                126867      3/27/2022 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79368                              Assignment - NYLIC.pdf                         870840       4/5/2022 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79368                              Benefits Letter.pdf                             64219      3/27/2022 18:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79368                              Court Order - Clearer copy of pg 7.pdf       2865494      11/22/2023 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79368                              Court Order.pdf                              5193871       3/29/2022 14:22



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               All Paths/Locations                                 Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79368                              Credit Report.pdf                         189131      3/27/2022 18:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79368                              Disclosure DE.pdf                          63028      3/27/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79368                              Disclosure NY.pdf                          63162      3/27/2022 18:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79368                              DocuSign Cert - 3119.pdf                   24674      3/27/2022 19:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79368                              DocuSign Cert - D5C5.pdf                   84630      3/27/2022 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79368                              Driver License.pdf                         71960      3/27/2022 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79368                              PI Docket.pdf                              53487      3/27/2022 18:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79368                              Pleadings.pdf                          21507637       3/27/2022 18:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79368                              Pre-Closing Book - Rev. 03.24.22.pdf   25435721       3/24/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79368                              Purchase Agreement.pdf                    352396      3/27/2022 18:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79368                              Searches.pdf                               74358      3/27/2022 18:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79368                              Settlement Agreement Statement.pdf         80664      3/27/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79368                              Social Security Card.pdf                   85773      3/27/2022 18:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79368                              Stipulation Discontinuing Action.pdf       58442      3/27/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
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11.22.2023\79368                              UCC Search.pdf                            819710      3/28/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79369                              32AA.pdf                                  320935     11/22/2023 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79369                              Affidavit.pdf                             735561      3/28/2022 11:53
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\79369                              Annuity Contract.pdf                      222853      3/28/2022 11:55



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79369                              Application.pdf                        166456      3/21/2022 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79369                              Bank Statement.pdf                      70807       4/1/2022 17:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79369                              Court Order.pdf                        461328       4/1/2022 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79369                              Credit Report.pdf                       32422      3/21/2022 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79369                              Disclosure NJ.pdf                      598536      3/28/2022 11:52
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79369                              Disclosure POD.pdf                     203690      3/28/2022 11:49
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79369                              image001.png                            12281
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79369                              image001.png                            12281
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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               All Paths/Locations                                Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79369                              Payees Request to Conceal ID.pdf           172063      3/28/2022 11:54
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79369                              Pleadings.pdf                            8353233       3/28/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79369                              PPA Ltr Filing Notice of Transfer.pdf       43624      2/15/2022 17:54
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79369                              PPA Notice of Transfer (w Exs).pdf       2506101       2/15/2022 17:58
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79369                              Purchase Agreement.pdf                   5883079       3/28/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79369                              Searches.pdf                                16773      3/21/2022 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79369                              Settlement Agreement.pdf                   539067      3/28/2022 11:55
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79374                              Annuity Contract.pdf                       314235      3/29/2022 11:33



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79374                              Application.pdf                          208285      3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79374                              Closing Binder.pdf                     5823539       3/29/2022 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79374                              Court Order.pdf                        1469334       3/29/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79374                              Credit Report.pdf                         98365      3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79374                              Disclosure - NJ.pdf                      286415      3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79374                              Disclosure - TX.pdf                      228548      3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79374                              DocuSign Certificates.pdf                 25101      3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79374                              Final Judgment.pdf                       311305      3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79374                              Pleadings.pdf                          1569482       3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79374                              Proof of Disclosure Delivery.pdf         125209      3/29/2022 11:33



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               All Paths/Locations                                Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79374                              Purchase Agreement.pdf                 1426658       3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79374                              Qualified Assignment.pdf                 267319      3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79374                              Searches.pdf                             109938      3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79374                              Seller Identification.pdf                 43312      3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79374                              Settlement Agreement.pdf               1070231       3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79374                              Social Security Card.pdf                  45933      3/29/2022 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79374                              Updated Searches.pdf                      62335      3/29/2022 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79375                              Ack Letter - Esteban Perez.pdf            33372      4/27/2022 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79375                              Affidavit in Lieu of SA.pdf            374349      3/29/2022 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79375                              Annuity Contract.pdf                 6056743        4/8/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79375                              Application.pdf                        305047      3/28/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79375                              BC3B.pdf                               248421     11/22/2023 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79375                              Benefits Letter.pdf                     48949       3/17/2022 9:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79375                              BK Search.pdf                          858615      3/29/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79375                              Court Order.pdf                      1915917        4/8/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79375                              Credit Report.pdf                       82050      3/28/2022 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79375                              Declaration.pdf                        615800      3/29/2022 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79375                              Disclosure NY.pdf                           496649      3/29/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79375                              Disclosure VA.pdf                           450467      3/29/2022 11:58
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79375                              DL.pdf                                    6126805       3/29/2022 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79375                              List of Prior order summary.pdf              36312      3/29/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79375                              Pleadings.pdf                             5680508       3/29/2022 12:01
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79375                              Proof of SSN.pdf                          1178507       3/29/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\79375                              Purchase Agreeemnt.pdf                    6705362       3/29/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79375                              Redirection Confirmation New 79375.pdf       97714      5/11/2022 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79375                              Same Name Affidavit.pdf                     252222     11/22/2023 16:58



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79375                              Searches.pdf                           256324      3/28/2022 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79377                              Affidavit.pdf                        1497891       3/28/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79377                              Annuity Contract.pdf                 1445251       3/31/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79377                              Application.pdf                      1780559       1/26/2022 13:13
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79377                              Court Order.pdf                      7383396       3/23/2022 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79377                              Disclosure PA.pdf                    1635340       3/28/2022 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79377                              Divorce Decree.pdf                   3213090        4/4/2022 16:08



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79377                              Drivers License.pdf                            3649001       3/25/2022 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79377                              Important Notice.pdf                             278461      3/28/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79377                              IPA Ack PA - corrected.pdf                        20990      3/29/2022 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79377                              Payees Affidavit in Support of Petition.pdf      175717      3/28/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79377                              Pleadings.pdf                                  1526152       3/28/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79377                              Purchase Agreement.pdf                        11395254       3/28/2022 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79377                              Qualified Assignment.pdf                         820703      3/31/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79377                              Searches.pdf                                      26977     11/22/2023 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79377                              SSN.pdf                                          167558      3/28/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79377                              Stipulation.pdf                                  578568      3/31/2022 11:07



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               All Paths/Locations                                 Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79377                              UCC.pdf                                             22348     11/22/2023 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              Affidavit in Lieu of Settlement Agreement.pdf       50001      3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              Annuity Contract.pdf                             7538247       3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              Application.pdf                                     85673      3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              Assignment.pdf                                      93020       4/4/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              Authorizations.pdf                                  43531      3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              Backup for Searches.pdf                            200179       4/1/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              Bankruptcy Search.pdf                              585805      3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              Court Order.pdf                                    677463       4/1/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              Credit Report.pdf                                   39758      3/28/2022 16:57



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3275 of
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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              Disclosure - IL.pdf                       48250      3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              Disclosure - NY.pdf                       44658      3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              Disclosure - PA.pdf                       69194      3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              Drivers License.pdf                      643082      3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              Lien and Judgments Search.pdf            179114      3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              Nicholson Assignment.docx                 16808       4/1/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              Nicholson Closing Binder.pdf          23599147       3/31/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              Payees Affidavit in Support of .pdf       55411      3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              Pleadings.pdf                          9169917       3/31/2022 13:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              Purchase Agreement.pdf                   668860      3/31/2022 13:48



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               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              Qualified Assignment.pdf                2420924       3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              Seller Affidavit.pdf                       69672      3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              Settlement Agreement and Release.pdf    1760004       3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              Social Security Card.pdf                   93279      3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              Stipulation.pdf                         2210589        4/1/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79382                              UCC Search.pdf                             90134      3/31/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79384                              Acknowledgment.pdf                        100352       4/6/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79384                              Annuity Contract.pdf                      138185      2/21/2022 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79384                              Application.pdf                           412139        2/9/2022 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79384                              Auth to Release.pdf                        76754        2/9/2022 9:49



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79384                              Benefits Letter.pdf                     342343      2/21/2022 16:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79384                              Closing Binder.pdf                   11443493       3/29/2022 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79384                              COB Request.pdf                          63758        2/9/2022 9:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79384                              Court Order.pdf                       2130251       3/30/2022 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79384                              Credit Report.pdf                       343973      3/30/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79384                              Disclosure CT.pdf                       122768        2/9/2022 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79802                              Pleadings.pdf                           987010      4/20/2022 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79802                              POR 1 apt lease.pdf                     475257     11/22/2023 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79802                              Proof of SSN.pdf                      1383407       4/27/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79802                              Purchase Agreement.pdf                  435494      4/20/2022 15:43



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3278 of
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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79802                              QA.pdf                                 515885      4/20/2022 15:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79802                              SA.pdf                                 937436      4/20/2022 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79802                              Searches.pdf                            10708     11/22/2023 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79802                              Stipulation.pdf                      2502217       4/27/2022 10:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79802                              UCC.pdf                                 48715     11/22/2023 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79831                              Alford Assignment.docx                  16521       5/4/2022 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79831                              Alford Closing Binder.pdf            7951474       4/21/2022 17:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79831                              Annuity Contract.pdf                   348452       5/4/2022 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79831                              Application.pdf                         43092       4/22/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79831                              Assignment.pdf                         147416      5/10/2022 10:16



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               All Paths/Locations                                  Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79831                              Closing Statement draft updated.docx       30156       5/4/2022 16:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79831                              Court Order.pdf                         1632441        5/4/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79831                              Credit Report.pdf                          18519      3/23/2022 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79831                              Disclosure - LA.pdf                       150331       4/22/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79831                              Docusign Certificate 058.pdf              203446     11/22/2023 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79831                              Docusign Certificate 760.pdf              201902     11/22/2023 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79831                              Docusign Certificate B21.pdf              399939     11/22/2023 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79831                              Docusign Certificate BC7.pdf              196240     11/22/2023 17:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79831                              Drivers License.pdf                       991055       5/4/2022 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79831                              PI Case Docket Search Attempt.pdf         228212       5/4/2022 16:32



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3280 of
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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79831                              Pleadings.pdf                         7163334        4/22/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79831                              Proof of SSN.pdf                        691501       5/4/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79831                              Purchase Agreement.pdf                  332573       4/22/2022 8:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79831                              Searches.pdf                             81062       4/22/2022 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79831                              Stipulation.pdf                         822837       5/4/2022 16:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79831                              UCC Search.pdf                          532091       4/22/2022 8:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Annuity Contract.pdf                  2314090       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Application.pdf                       2254918       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Assignment Agreement Executed.pdf        26096      4/28/2022 11:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Authorizations.pdf                    2061980       4/22/2022 14:55



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Certification.pdf                      2086747       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Closing Book Edouard Jean.pdf         11271828        4/21/2022 9:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Court Order.pdf                          466389      4/28/2022 10:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Credit Report.pdf                      2076387       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Disclosure - FL.pdf                    2022067       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Disclosure - NJ.pdf                    2032340       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Docusign Certificate 042.pdf             197849     11/22/2023 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Docusign Certificate 296.pdf           2029558       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Docusign Certificate 5C9.pdf             204717     11/22/2023 17:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Docusign Certificate AEB.pdf             205593     11/22/2023 17:56



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               All Paths/Locations                               Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Jean Assignment.docx                                 16417      4/28/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Lien and Bankruptcy Search.pdf                    2057225       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Nasp Search.pdf                                   2052030       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Order Approving Minors Settlement.pdf             2349839       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Petition for Approval of Minors Settlement.pdf    2139961       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Pleadings.pdf                                     8533560       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Purchase Agreement.pdf                            2368228       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Request for Change of Beneficiary.pdf             2116983       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Seller Identification.pdf                           305154      8/23/2022 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Social Security Card.pdf                          2110590       4/22/2022 14:55



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               All Paths/Locations                                 Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              Stipulation.pdf                        1968496       4/26/2022 10:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79836                              UCC Search.pdf                         2056795       4/22/2022 14:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79912                              2nd Updated - Closing Statement.pdf      406249     11/22/2023 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79912                              Application.pdf                          218552       3/9/2022 15:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79912                              Assignment.pdf                           151155       4/28/2022 8:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79912                              Benefits Letter.pdf                      349834      6/18/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79912                              Closing Binder.pdf                     2386549       4/27/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79912                              Closing Statement - executed.pdf         202666      4/28/2022 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79912                              Court Order.pdf                           69369      4/28/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79912                              Credit Report.pdf                         39354      4/27/2022 16:09



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               All Paths/Locations                                 Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79912                              Disclosure CO.pdf                                  130977       3/9/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Divorce Docket showing Divorce happened
11.22.2023\79912                              before Settlement.pdf                              654647      8/16/2021 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79912                              DocuSign Cert - 2nd Closing Statement.pdf          195139     11/22/2023 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79912                              DocuSign Cert - 6199.pdf                           194813     11/22/2023 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79912                              DocuSign Cert - Closing Statement.pdf              194564     11/22/2023 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79912                              DocuSign Cert - Updated Closing statement.pdf      195312     11/22/2023 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79912                              Driver License.pdf                                 138440      6/18/2021 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79912                              Pleadings.pdf                                      927387      4/27/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79912                              Post-Order Letter Agreement.pdf                    264362      4/28/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79912                              Proofs of Service.pdf                            1135707       4/28/2022 12:34



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3285 of
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               All Paths/Locations                                Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79912                              Purchase Agreement.pdf                    357001      4/27/2022 14:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79912                              Release and Settlement Agreement.pdf      243986       8/24/2018 8:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79912                              Searches.pdf                               17118      4/27/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79912                              Social Security Card.pdf                  142418       8/10/2021 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79912                              Stipulation.pdf                           852752      4/28/2022 15:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79912                              UCC Search.pdf                             57074      4/27/2022 16:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79912                              Updated - Closing Statement.pdf           408079     11/22/2023 17:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              Amend Decl.pdf                            115524        5/5/2022 9:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              Annuity Contract.pdf                      433682       4/28/2022 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              Application.pdf                         1848194       7/29/2021 15:09



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3286 of
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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              Assignment - 2nd amended Signed.pdf           134040      5/18/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              Closing Statement Curry Draft.pdf             128688       5/2/2022 18:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              Court Order Amended.pdf                       213925      5/23/2022 14:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              Court Order.pdf                               246446      5/11/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              Credit Report.pdf                              44858      4/25/2022 16:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              Disclosure CA - Amend.pdf                     186405        5/5/2022 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              Disclosure CA and NY - 2nd Amendment.pdf    2270168       5/18/2022 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              Disclosure CA.pdf                           2185588        4/28/2022 8:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              Disclosure NY - Amend.pdf                      84646        5/5/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              Disclosure NY.pdf                             915338       4/28/2022 8:46



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               All Paths/Locations                                 Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              Docusign Certificate - d888.pdf                     305818     11/22/2023 17:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              Driver License.pdf                                  231104      7/29/2021 15:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Income Verification Ltr Daniel Allen Curry Aug
11.22.2023\79924                              2023.pdf                                            157657      8/31/2023 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              MicroBilt-ssn.pdf                                   161199       5/4/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              Petition - Amend.pdf                              2539468       3/28/2022 17:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              Pleadings.pdf                                    17465664        4/28/2022 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              POS.pdf                                             819249      3/30/2022 12:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              Purchase Agreement - 2nd Amendment.pdf            5102208       5/18/2022 14:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              Purchase Agreement - amend.pdf                      260443        5/5/2022 9:02



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               All Paths/Locations                                 Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              Purchase Agreement.pdf                       6192517        4/28/2022 8:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              Qualified Assignment.pdf                       298621       4/28/2022 8:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              Searches.pdf                                   125725      4/25/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              Settlement Docket.PDF                           92684       5/5/2022 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79924                              Stipulation 2nd amended.pdf                  1108777       5/26/2022 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79942                              Address Correction Confirmation 79942.pdf      282039      11/20/2023 7:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79942                              Annuity Contract.pdf                         2808260       4/27/2022 15:54
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79942                              Application.pdf                                518011      4/27/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79942                              Closing Binder.pdf                          12417686       4/27/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79942                              Court Order.pdf                              1296759       4/27/2022 15:54



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               All Paths/Locations                                   Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79942                              Credit Report.pdf                          505055      4/27/2022 15:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79942                              Disclosure - IL.pdf                        298162      4/27/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79942                              Disclosure - NY.pdf                        319833      4/27/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79942                              Purchase Agreement.pdf                   2228720       4/27/2022 15:54
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79942                              Qualified Assignment.pdf                   724189      4/27/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79942                              Request for Annuity Documents.pdf          151022      4/27/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79942                              Request for Change of Beneficiary.pdf      155741      4/27/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79942                              Searches.pdf                                77934      4/27/2022 15:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79942                              Seller Affidavit.pdf                       463085      4/27/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79942                              Seller Identification.pdf                  237876      4/27/2022 15:54



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79942                              Settlement Agreement Affidavit.pdf      388674      4/27/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79942                              Social Security Card.pdf                140923      4/27/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79942                              Stipulation.pdf                         759397      4/27/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79942                              UCC Search.pdf                           71048      4/27/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79943                              Annuity Contract.pdf                  1925805       4/27/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79943                              Application.pdf                       1203755       4/27/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79943                              Closing Binder.pdf                   12701101       4/27/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79943                              Court Order.pdf                       1095647       4/27/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79943                              Credit Report.pdf                       665705      4/27/2022 16:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79943                              Disclosure - GA.pdf                     507627      4/27/2022 16:36



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               All Paths/Locations                                   Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79943                              Disclosure - IL.pdf                        492513      4/27/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79943                              Purchase Agreement.pdf                   2277993       4/27/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79943                              Qualified Assignment.pdf                   943469      4/27/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79943                              Request for Annuity Documents.pdf          152437      4/27/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79943                              Request for Change of Beneficiary.pdf      161812      4/27/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79943                              revised Seller ID.pdf                      865929       5/4/2022 15:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79943                              Searches.pdf                                76353      4/27/2022 16:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79943                              Seller Affidavit.pdf                       463791      4/27/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79943                              Seller Identification.pdf                  208764      4/27/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79943                              Settlemetn Agreement Affidavit.pdf         386510      4/27/2022 16:36



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79943                              Stipulation.pdf                          965385      4/27/2022 16:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\79943                              UCC Search.pdf                            70530      4/27/2022 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80389                              application.pdf                           67396      3/29/2022 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80389                              benefits letter.pdf                      141398        6/7/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80389                              Court Order June 2022.pdf                288113       6/2/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80389                              Credit Report.pdf                         38147      3/29/2022 16:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80389                              Disclosure.pdf                            88361      3/29/2022 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80389                              Docusign Certifications.pdf              487035       6/9/2022 12:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80389                              Jackson Assignment.pdf                   182030        6/7/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80389                              LOD.pdf                                   17151     11/22/2023 18:01



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80389                              Pleadings.pdf                        1041771       5/13/2022 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80389                              Purchase Agreement.pdf                 314631      5/13/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80389                              R&S.pdf                                750065      1/12/2022 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80389                              Searches.pdf                           134103      5/13/2022 11:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80389                              Sellers ID.pdf                         306360       6/3/2022 10:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80389                              SSC.pdf                                625977      5/13/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80389                              Stipulation.pdf                        952414        6/9/2022 8:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              Annuity Contract.pdf                 1425048       5/19/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              Application.pdf                        154619      5/19/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              Assignment.pdf                         167839      5/31/2022 12:35



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3294 of
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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              Closing Statement draft.docx            31478      5/26/2022 13:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              Court Order fully executed.pdf       2834879       5/31/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              Credit Report.pdf                       22654      5/19/2022 16:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              Disclosure - AZ.pdf                    116038      5/19/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              Docusign Certificate 293.pdf           195255     11/22/2023 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              Docusign Certificate 978.pdf           193589     11/22/2023 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              Docusign Certificate C58.pdf           192288     11/22/2023 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              Docusign Certificate FD5.pdf           193206     11/22/2023 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              Drivers License.pdf                    716296      5/19/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              Hunter Assignment.docx                  16535      5/26/2022 13:54



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               All Paths/Locations                              Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              Hunter Closing Binder.pdf               9003705       5/19/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              Payees Declaration.pdf                    273691      5/19/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              Pleadings updated.pdf                   1734147       5/19/2022 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              Prior Court Order JGW March 2022.pdf    2895888       5/26/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              Purchase Agreement Holdtime.pdf           508337      5/31/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              Purchase Agreement updated.pdf            455935      5/19/2022 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              Qualified Assignement.pdf                 655228      5/19/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              Searches.pdf                               20270      5/19/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              Settlement Agreement.pdf                1295312       5/19/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              Social Security Card.pdf                  105320      5/26/2022 13:15



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              Stipulation.pdf                       2212113       5/26/2022 13:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80492                              UCC Search.pdf                          526224      5/19/2022 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80568                              Allstate Docs.pdf                       453620     11/22/2023 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80568                              Application.pdf                          42677       3/9/2022 16:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80568                              Assignment Executed.pdf                 189149       6/16/2022 9:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80568                              Bonus Letter.pdf                        340794      6/14/2022 15:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80568                              Closing Binder.pdf                    5529733       5/26/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80568                              Closing Statement .pdf                  123964      6/16/2022 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80568                              Credit Report Calhoun.pdf                25978     11/22/2023 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80568                              Disclosure Statement.pdf                117159       3/9/2022 16:42



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3297 of
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               All Paths/Locations                                 Unified Title   File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80568                              DocuSign Cert 408E.pdf                  198260      11/22/2023 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80568                              DocuSign Cert 5819.pdf                  195098      11/22/2023 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80568                              Driver License.pdf                    1508200        5/26/2022 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80568                              Final Court Order.pdf                   379267        6/7/2022 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80568                              PI Docket.pdf                           272182       1/24/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80568                              Pleadings.pdf                         2092258        5/26/2022 13:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80568                              Purchase Agreement Calhoun.pdf          233166       5/26/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80568                              Searches.pdf                               2831     11/22/2023 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80568                              Social Security Card.pdf              2309586        6/14/2022 12:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80568                              Stipulation.pdf                         713889       6/14/2022 13:54



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80568                              UCC Search.pdf                            48083     11/22/2023 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80575                              Acknowledgment.pdf                        89218     11/22/2023 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80575                              Admin Fee Check.pdf                    1208196       7/22/2022 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80575                              Application.pdf                           40864       6/6/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80575                              Assignment.pdf                           147032      7/28/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80575                              Benefits Letter.pdf                      883216      7/22/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80575                              Closing Statement Notarized.pdf           44290      7/27/2022 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80575                              Court Order.pdf                           80686       6/6/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80575                              Credit Report.pdf                         33531      4/29/2022 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80575                              Disclosure - IL.pdf                      100874       6/6/2022 14:23



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80575                              Docusign Certificate 213.pdf             194823     11/22/2023 18:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80575                              Docusign Certificate 2A9.pdf             214321     11/22/2023 18:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80575                              Dvorak Closing Binder.pdf             17505627        6/6/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80575                              Funding Instructions.pdf               1092596       7/28/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80575                              PI Case Article.pdf                    2519247       7/22/2022 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80575                              Pleadings.pdf                         16337419        6/6/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80575                              Prior Court Order.pdf                     92440      7/27/2022 16:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80575                              Purchase Agreement Hold Time.pdf         577826      7/27/2022 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80575                              Purchase Agreement.pdf                   214883       6/6/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80575                              Searches.pdf                              21015       6/6/2022 14:23



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               All Paths/Locations                               Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80575                              Seller Identification.pdf                      725509       6/6/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80575                              Social Security Card.pdf                       205700      7/22/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80575                              Stipulation fully executed.pdf                 955069     11/22/2023 18:03
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SuttonPark\Missing Documents
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11.22.2023\80575                              Stipulation missing Symetra signature.pdf    1454200        7/25/2022 8:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\80575                              UCC Search.pdf                                  32518       6/6/2022 14:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81335                              Annuity Contract.pdf                           543184      7/22/2022 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81335                              Application.pdf                                 89976      7/22/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81335                              Assignment NOT SIGNED.pdf                       76807      7/28/2022 13:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81335                              Assignment.pdf                                 173895      7/29/2022 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81335                              Benefits Letter.pdf                             49936      7/22/2022 12:42



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               All Paths/Locations                                Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81335                              Closing Statement NOT SIGNED.pdf                 551535      7/28/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81335                              Court Order.pdf                                  261403      7/28/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81335                              Credit Report.pdf                              1968060       7/22/2022 14:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81335                              Disclosure.pdf                                   392074      7/22/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81335                              Identification Card.pdf                          201322      7/22/2022 14:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81335                              Judgment and Order Approving Settlement.pdf      249140      7/22/2022 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81335                              Pleadings.pdf                                  5835247       7/22/2022 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81335                              Purchase Agreement.pdf                           552611      7/22/2022 12:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81335                              Qualified Assignment.pdf                         264184      7/22/2022 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81335                              Searches.pdf                                     306855      7/22/2022 13:58



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               All Paths/Locations                                Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81335                              Settlement Agreement.pdf                 564706      7/22/2022 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81335                              SSN Verification.pdf                     369218      7/28/2022 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81335                              Statement of Dependents.pdf               34493      7/22/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81335                              UCC Search.pdf                            68243      7/28/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81335                              Waiver of IPA.pdf                         49959      7/22/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              Acknowledgment.pdf                        53683     11/22/2023 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              Application.pdf                           82679        8/3/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              Assignment Agreement.pdf                  88480       8/10/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              Benefits Letter.pdf                      206479        8/4/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              Case Docket Search 2 NO RESULTS.pdf      237384        8/4/2022 8:57



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              Case Docket Search NO RESULTS.pdf      137493        8/4/2022 8:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              Cert of Completion 06DA8.pdf         3630703         8/4/2022 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              Cert of Completion 2285F.pdf         3641041        8/10/2022 8:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              Cert of Completion 4293B.pdf         3532592         8/4/2022 9:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              Cert of Completion 91FAD.pdf         3539411         8/4/2022 9:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              Cert of Completion ECBC7.pdf         3636362         8/4/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              Cert of Completion EDED0.pdf         4256674         8/3/2022 8:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              Court Order.pdf                        348925        8/4/2022 8:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              Credit Report.pdf                    2646315         8/3/2022 8:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              Disclosure.pdf                         284793        8/3/2022 7:59



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               All Paths/Locations                                Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              Pleadings.pdf                              9142192         8/3/2022 8:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              Proof of Deposit of Annuity Payment.pdf       32979        8/3/2022 8:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              Purchase Agreement.pdf                       376666        8/3/2022 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              Searches.pdf                                 522122        8/3/2022 8:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              Settlement Agreement Request Form.pdf         64028        8/3/2022 8:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              Social Security Card.pdf                      62550        8/3/2022 8:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              SSN Verification.pdf                         243888        8/3/2022 8:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              Statement of Dependents.pdf                   30619        8/3/2022 8:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              UCC Search.pdf                             1137714         8/3/2022 8:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81374                              Waiver of IPA.pdf                             47834        8/3/2022 8:18



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              Annuity Contract.pdf                    504432     11/10/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              Application.pdf                          98536       6/1/2022 10:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              Closing Binder.pdf                    5225572        8/9/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              Closing Statement - executed.pdf        422375     11/22/2023 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              Consent Order.pdf                       562730     11/10/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              Court Order.pdf                         381393     11/22/2023 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              Credit Report.pdf                        49983       8/9/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              Disclosure NJ - Increased PP.pdf        164236      7/29/2022 10:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              Disclosure NJ.pdf                       114611       6/1/2022 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              DocuSign Cert - 119F.pdf                189516     11/22/2023 18:08



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3306 of
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               All Paths/Locations                              Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              DocuSign Cert - 47D3.pdf                   190350     11/22/2023 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              DocuSign Cert - 5F64.pdf                   150083     11/22/2023 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              DocuSign Cert - 844A.pdf                   189467     11/22/2023 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              DocuSign Cert - C92C.pdf                   191404     11/22/2023 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              DocuSign Cert - Closing Statement.pdf      192463     11/22/2023 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              DocuSign Cert - EAD8.pdf                   190342     11/22/2023 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              DocuSign Cert - F6E7.pdf                   194646     11/22/2023 18:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              Pleadings.pdf                            2025834        8/9/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              Proofs of Service.pdf                      132705       8/12/2022 8:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              Purchase Agreement - Increased PP.pdf      398757      7/29/2022 10:28



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3307 of
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               All Paths/Locations                                Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              Purchase Agreement.pdf                    260291      8/23/2022 13:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              Searches.pdf                               14888      7/28/2022 10:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              Seller Identification - passport.pdf       87226     11/10/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              SSN Verification.pdf                      110069     11/17/2021 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              Stip - missing CBC.pdf                  1704879       8/23/2022 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              Stipulation.pdf                         1327962       8/23/2022 15:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81394                              UCC Search.pdf                             43971       8/9/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81412                              Alford statement of prior deals.pdf       176148      6/10/2022 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81412                              Annuity Contract.pdf                      403705      8/19/2022 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81412                              Application.pdf                           626903       6/8/2022 15:59



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81412                              Assignment Agreement.pdf                 91453      8/29/2022 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81412                              Closing Binder.pdf                   15950900       8/19/2022 14:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81412                              Closing Statement C Alford.pdf           29015       9/6/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81412                              Court Order.pdf                         245911       8/25/2022 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81412                              Credit Report.pdf                        84421      8/18/2022 15:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81412                              DocSign Cert B95C.pdf                   130476      8/30/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81412                              DocuSign Cert 0058.pdf                  132654       8/25/2022 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81412                              DocuSign Cert F98D.pdf                  130454       8/25/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81412                              Driver License.pdf                    1526514       8/19/2022 12:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81412                              LA Disclosure.pdf                       253245       6/8/2022 15:53



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81412                              Parish Lines Documents.pdf             583236        8/1/2022 9:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81412                              PI Case Docket Search Attempt.pdf      145213      8/19/2022 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81412                              Pleadings.pdf                        5638259       8/19/2022 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81412                              Proof Of Social Security.pdf           326929       8/25/2022 9:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81412                              Proof Schedule Of Payments.pdf       2422328        8/25/2022 9:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81412                              Purchase agreement.pdf                 514412      8/19/2022 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81412                              Searches.pdf                            72880       8/25/2022 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81412                              Stipulation.pdf                        686138      8/30/2022 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81412                              UCC Search.pdf                          50164       8/25/2022 9:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81413                              Affidavit in lieu of SA.pdf                 4663746       8/23/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81413                              Affidavit.pdf                               5549342       8/23/2022 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81413                              Annuity Contract.pdf                       14585195       8/23/2022 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81413                              Application.pdf                             8508744       8/23/2022 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81413                              Authorization to release Policy info.pdf    1933074       8/23/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81413                              COB Request.pdf                             2085486       8/23/2022 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81413                              Court Order.pdf                             9052640       8/23/2022 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81413                              Divorce Decree.pdf                         11198387       8/23/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81413                              Interim ID Card.pdf                         1669767       8/23/2022 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81413                              microbilt address search.pdf                1777444       8/23/2022 13:56



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               All Paths/Locations                                Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81413                              NY Disclosure.pdf                                 4312286       8/23/2022 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81413                              Purchase Agreement.pdf                           31211552       8/23/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81413                              Qualified Assignment.pdf                          6450619       8/23/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81413                              Stipulation - FE.pdf                             23885989       12/6/2022 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81413                              Stipulation.pdf                                  25291190       8/23/2022 11:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81413                              Swan - 1 of 3.pdf                                28508582      11/22/2023 18:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81413                              Swan - 2 of 3.pdf                                25368654      11/22/2023 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81413                              Swan - 3 of 3.pdf                                14308593      11/22/2023 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81413                              TX Disc.pdf                                       3555466       8/23/2022 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              3rd Party Funding - return of funds to DRB.pdf    6351813      12/28/2022 10:17



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3312 of
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               All Paths/Locations                              Unified Title                      File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              image001.png                                               4751
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              image002.png                                               7678
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              image003.png                                               7755
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Outlook-yqvw34kv.png                                       4751
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents                  CBC Deals Funding 10.10.22 - Alford, Christian (2)
Received\Dorchester - 353 Files -             (#81412), Frato, Deanna (2) (#81394), Hill,
11.22.2023.zip\Dorchester - 353 Files -       Michelle (#81415), & Stone, Alexander (3)
11.22.2023\81415                              (#81467)                                              6799360       10/10/2022 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       CBC-All Funding Deal Tickets 10-10-2022SPC
11.22.2023\81415                              .xlsm                                                 1396681       10/10/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Prefunding and MOP Alford Christian 2.pdf               666599        9/9/2022 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Prefunding and MOP Frato Deanna 1.pdf                 2653931        8/25/2022 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              image001.png                                               4751
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Closing Statement 2021 - Deanna Frato -
11.22.2023\81415                              20220.docx                                               30030       8/23/2022 15:12



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3313 of
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               All Paths/Locations                                Unified Title                    File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Stipulation.pdf                                       1153575        8/23/2022 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              certificate - 2022-08-23T152022.913.pdf                 190350
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Prefunding and MOP Hill Michelle.pdf                    433604        9/8/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Prefunding and MOP Stone Alexander 2.pdf              1384610        9/21/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents                  CBC Deals Funding 10.10.22 - Alford, Christian (2)
Received\Dorchester - 353 Files -             (#81412), Frato, Deanna (2) (#81394), Hill,
11.22.2023.zip\Dorchester - 353 Files -       Michelle (#81415), & Stone, Alexander (3)
11.22.2023\81415                              (#81467)                                              6799360       10/10/2022 17:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       CBC-All Funding Deal Tickets 10-10-2022SPC
11.22.2023\81415                              .xlsm                                                 1396681       10/10/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Prefunding and MOP Alford Christian 2.pdf               666599        9/9/2022 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Prefunding and MOP Frato Deanna 1.pdf                 2653931        8/25/2022 18:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              image001.png                                               4751
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Closing Statement 2021 - Deanna Frato -
11.22.2023\81415                              20220.docx                                               30030       8/23/2022 15:12



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3314 of
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               All Paths/Locations                                 Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Stipulation.pdf                             1153575       8/23/2022 15:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              certificate - 2022-08-23T152022.913.pdf       190350
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Prefunding and MOP Hill Michelle.pdf          433604       9/8/2022 15:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Prefunding and MOP Stone Alexander 2.pdf    1384610       9/21/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Annuity Lock in Letter.pdf                    104180      3/14/2022 14:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Application.pdf                               315269      3/14/2022 14:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Assignment.pdf                                146572       9/7/2022 10:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Benefits Letter.pdf                            23617       9/7/2022 13:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Certs of Service.pdf                          101167       9/7/2022 18:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Closing Binder.pdf                          4481188       8/24/2022 10:58



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3315 of
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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Closing Statement - executed.pdf        407556     11/22/2023 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Closing Statement - unexecuted.pdf      147325       9/7/2022 13:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Court Order.pdf                         933297      8/23/2022 14:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Credit Report - updated.pdf             145216       9/7/2022 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Disclosure MO.pdf                       121829      3/14/2022 14:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              DocuSign Cert - 59AF.pdf                191624     11/22/2023 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              DocuSign Cert - 6B7D.pdf                192209     11/22/2023 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              DocuSign Cert - 8A24.pdf                202796     11/22/2023 18:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Driver License.pdf                      201186      8/24/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              OFAC - Search.pdf                       128050       9/7/2022 12:06



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Pleadings - Amended.pdf              1410591       8/24/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Pleadings.pdf                        1412104       8/24/2022 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Purchase Agreement.pdf                 537583      8/24/2022 11:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Searches - updated.pdf                  22082       9/7/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Settlement Agreement Request.pdf        25802     11/22/2023 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              SSC.pdf                                155885       9/7/2022 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              Stipulation.pdf                        457662       9/7/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81415                              UCC Search - updated.pdf                48495     11/22/2023 18:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              Affidavit.pdf                          840249       9/6/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              Annuity Contract.pdf                   862153       9/6/2022 15:53



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              Application.pdf                         141793       9/6/2022 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              Assignment Agreement.pdf                165986       9/7/2022 15:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              Closing Statement.pdf                   136460       9/8/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              Court Order.pdf                         201497       9/6/2022 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              Credit Report.pdf                       131904       9/6/2022 16:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              Disclosure.pdf                           85368       9/6/2022 16:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              DocuSign Cert 6763.pdf                  158165       9/6/2022 16:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              DocuSign Cert C275.pdf                  158030       9/6/2022 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              DocuSign Cert E8F8.pdf                  204635     11/22/2023 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              Driver License.pdf                      989633       9/6/2022 16:20



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               All Paths/Locations                               Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              Gonzalez Post-Order Stip - Executed.pdf    4689312      12/12/2022 17:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              Kristen Gonzalez Closing Binder.pdf        5758009        9/6/2022 14:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              Notice of Hearing.pdf                         66403       9/9/2022 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              Pleadings KG.pdf                          11526785      11/22/2023 18:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              Proof of Service.pdf                         442520       9/9/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              Purchase Agreement.pdf                       291197       9/6/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              Qualified Assignment.pdf                     565582       9/6/2022 16:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              Searches.pdf                                  89339       9/6/2022 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              Settlement Agreement.pdf                   1053006        9/6/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              Social Security Card.pdf                     193865       9/6/2022 16:21



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              Stipulation.pdf                               383472       9/8/2022 10:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              UCC Search.pdf                              1298587        9/6/2022 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81443                              ZIP Code USPS.pdf                              62709       9/7/2022 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81468                              Affidavit in lieu of SA.pdf                 1678798       9/19/2022 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81468                              Affidavit.pdf                               2181342       9/19/2022 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81468                              Annuity Contract.pdf                       10132819       9/19/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81468                              Application.pdf                             3264230       9/19/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81468                              Authorization to release Policy info.pdf      688706      9/19/2022 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81468                              BRNB42200160C4C_026271.pdf                 11009175       9/19/2022 12:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81468                              Cert of Title.pdf                           1403186       9/19/2022 12:27



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81468                              COB Request.pdf                         713809      9/19/2022 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81468                              Credit Report.pdf                       176183      9/19/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81468                              Disclosure FL.pdf                     1622782       9/19/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81468                              Disclosure TX.pdf                     1411897       9/19/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81468                              Marriage Certificate.pdf              1258022       9/19/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81468                              Marshall CO.pdf                         484928      9/19/2022 17:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       ORDER GRANTING UNOPPOSED MOTION TO
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81468                              Partial Pleadings.pdf                 1200198        9/20/2022 8:05
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\81468                              Qualified Assignment.pdf             4260958       9/19/2022 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81468                              Searches.pdf                            81418      9/19/2022 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81468                              Social Security Card.pdf               865564      9/19/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\81468                              Stipulation.pdf                        453431       9/20/2022 7:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023\81468                              UCC - Laine.pdf                         52291      9/19/2022 13:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\79565 -
Dorchester Docs1                              69673 - Acknowledgment.pdf             520551      10/10/2024 6:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\79565 -
Dorchester Docs1                              69673 Acknowledgment.pdf               520551      10/10/2024 6:36
Saiph consulting|\Audit Materials Received-
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Dorchester Docs1                              71049 Acknowledgement.pdf               83416     12/19/2023 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\79565 -
Dorchester Docs1                              72950 Acknowledgement.pdf               46066      5/24/2016 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\79565 -
Dorchester Docs1                              78344 -Acknowledgement.pdf           165644      1/20/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\79565 -
Dorchester Docs1                              78493 Acknowledgement.pdf             47456      10/10/2024 6:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\79565 -
Dorchester Docs1                              78493 Annuity Policy.pdf           2644334       10/10/2024 6:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Dorchester Docs1                              78953 -Acknowledgement.pdf            59143     10/18/2022 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\79565 -
Dorchester Docs1                              78954 - Court Order.pdf            2622704       3/17/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\79565 -
Dorchester Docs1                              79056 - Gov ID.pdf                   206581      2/25/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\79565 -
Dorchester Docs1                              79565 - Acknowledgment.pdf           402479      5/17/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\79565 -
Dorchester Docs1.zip                          69673 - Acknowledgment.pdf           520551     12/19/2023 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Dorchester Docs1.zip                          69673 Acknowledgment.pdf             520551     12/19/2023 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Dorchester Docs1.zip                          71049 Acknowledgement.pdf             83416     12/19/2023 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\79565 -
Dorchester Docs1.zip                          72950 Acknowledgement.pdf             46066      5/24/2016 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\79565 -
Dorchester Docs1.zip                          74590 Stipulation.pdf                844630      1/19/2022 10:31




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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\79565 -
Dorchester Docs1.zip                          78344 -Acknowledgement.pdf           165644      1/20/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\79565 -
Dorchester Docs1.zip                          78493 Acknowledgement.pdf             47456     12/19/2023 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\79565 -
Dorchester Docs1.zip                          78493 Annuity Policy.pdf           2644334      12/19/2023 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\79565 -
Dorchester Docs1.zip                          78953 -Acknowledgement.pdf            59143     10/18/2022 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\79565 -
Dorchester Docs1.zip                          78954 - Court Order.pdf            2622704       3/17/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\79565 -
Dorchester Docs1.zip                          79056 - Gov ID.pdf                   206581      2/25/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\79565 -
Dorchester Docs1.zip                          79410 - Acknowledgment.pdf            73313      4/25/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\79565 -
Dorchester Docs1.zip                          79565 - Acknowledgment.pdf           402479      5/17/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             18604 - Acknowledgement.pdf           59338      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             18617 - Acknowledgement.pdf           59338      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             21340 - FE Stipulation.pdf           385245      1/10/2024 18:01




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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             23316 - SSC.pdf                                 31104      1/11/2024 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             29656 - Acknowledgment.pdf                      84868     11/18/2011 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             30449 - SSC.pdf                                259277      10/2/2018 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             33590 - Purchase Agreement.pdf               4751224        1/11/2024 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             36973 - Sale and Assignment Agreement.pdf      181747      10/10/2024 6:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             39938 - Stipulation.pdf                      1752754      10/14/2019 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             47046 - Stipulation.pdf                        489292      1/11/2024 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             64767 - Ack - Letter of Direction.pdf          243188      2/15/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             67348 - Change of Payee and Bene Conf.pdf       67531      1/11/2024 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             7079 - COO Confirmation.pdf                    727583      10/10/2024 6:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             7145 - Default Judgment.pdf                    193373      10/10/2024 6:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             71968 - Acknowledgment.pdf                     348867       1/11/2024 9:42




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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             76113 - Acknowledgment.pdf                         927992      1/24/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             78166 - Acknowledgment.pdf                          41786      4/18/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             78440 - SSN Verification.pdf                       128305      1/10/2024 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             78738 - Acknowledgment.pdf                          53292       3/10/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             78868 - Benefits Letter.pdf                        597090      1/10/2024 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             79005 - Agreement and Stipulation - NO CO.pdf      235199      3/21/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             79733 - Court Order.pdf                            277878      10/10/2024 6:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             79780 - Acknowledgment.pdf                          80622      4/29/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             79917 - Acknowledgment.pdf                          74454      7/11/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             8295 - FE Stipulation.pdf                          442623      10/10/2024 6:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             8472 - Default Judgment.pdf                      2328005       10/10/2024 6:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             8472 - Proof of AC.pdf                           3588237       10/10/2024 6:36




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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs\Missing Docs                             8472 - Purchase Agreement.pdf      8700121       10/10/2024 6:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs.zip\Missing Docs                         13240 - Default Judgment.pdf         847118      1/11/2024 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Docs.zip\Missing Docs                         18252 - FE Stipulation.pdf           980262      1/11/2024 13:04
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Docs.zip\Missing Docs                         18604 - Acknowledgement.pdf           59338      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Docs.zip\Missing Docs                         19384 - Acknowledgment.pdf            23641      1/10/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs.zip\Missing Docs                         19418 - FE Stipulation.pdf           504846      1/10/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs.zip\Missing Docs                         21340 - FE Stipulation.pdf           385245      1/10/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs.zip\Missing Docs                         22717 - Acknowledgment.pdf            95174      1/11/2024 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs.zip\Missing Docs                         23316 - SSC.pdf                       31104      1/11/2024 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs.zip\Missing Docs                         29656 - Acknowledgment.pdf            84868     11/18/2011 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs.zip\Missing Docs                         30449 - SSC.pdf                      259277      10/2/2018 11:28




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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs.zip\Missing Docs                         33590 - Purchase Agreement.pdf               4751224        1/11/2024 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs.zip\Missing Docs                         36973 - Sale and Assignment Agreement.pdf      181747      1/12/2024 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs.zip\Missing Docs                         3793 - Acknowledgment.pdf                      118783      1/10/2024 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
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Received\OneDrive_1_1-18-2024\Missing
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SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
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SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
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SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs.zip\Missing Docs                         7085 - Default Judgment.pdf                    708027      1/11/2024 17:01
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SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs.zip\Missing Docs                         7145 - Default Judgment.pdf                    193373      1/11/2024 17:19




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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Received\OneDrive_1_1-18-2024\Missing
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SuttonPark\Missing Documents
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Docs.zip\Missing Docs                         78440 - SSN Verification.pdf                       128305      1/10/2024 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs.zip\Missing Docs                         78738 - Acknowledgment.pdf                          53292       3/10/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs.zip\Missing Docs                         78868 - Benefits Letter.pdf                        597090      1/10/2024 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs.zip\Missing Docs                         78921 - Court Order.pdf                            436361      3/17/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs.zip\Missing Docs                         79005 - Agreement and Stipulation - NO CO.pdf      235199      3/21/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs.zip\Missing Docs                         79346 - Acknowledgment.pdf                         483422     12/20/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs.zip\Missing Docs                         79733 - Court Order.pdf                            277878      1/11/2024 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs.zip\Missing Docs                         79780 - Acknowledgment.pdf                          80622      4/29/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs.zip\Missing Docs                         79917 - Acknowledgment.pdf                          74454      7/11/2022 16:01




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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs.zip\Missing Docs                           8295 - FE Stipulation.pdf                           442623      1/11/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs.zip\Missing Docs                           8472 - Default Judgment.pdf                       2328005       1/12/2024 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs.zip\Missing Docs                           8472 - Proof of AC.pdf                            3588237        1/12/2024 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Missing
Docs.zip\Missing Docs                           8472 - Purchase Agreement.pdf                     8700121        1/12/2024 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Screengrabs                                     SPSS 7137-65917.docx                              1722634       1/11/2024 13:08

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   1072720-4 -- Nelson, Jashae (Ack Letter).pdf        166193      1/11/2024 19:34

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   1336470-2 -- Roberts, Ember (Ack Letter).pdf        171000      1/11/2024 19:49

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   1340968-2 -- Contreras, David (Ack Letter).pdf      240384      1/11/2024 19:31

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   1370736-2 -- Hall, Shannon (Ack Letter).pdf         100937      1/11/2024 19:50

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   1381513-1 -- Jimenez, Hector (Ack Letter).pdf       109055      1/11/2024 19:57

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post     1389777-1 -- Canada, Brandy (Ack Letter &
Funding Request\Sutton - Post Funding Request   STIP).pdf                                         1435141       1/11/2024 20:02



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   1408134-2 -- McHugh, Colleen (Ack Letter).pdf         69212      1/11/2024 19:52

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   1495973-4 -- Hamblin, Shannon (Ack Letter).pdf       101373      1/11/2024 19:56

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   1509061-2 -- Snell, Jarrod (ID).pdf                  378220      1/11/2024 19:36

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   1702735-3 -- Wilson, Kayvon (Ack Letter).pdf         102126      1/11/2024 19:46

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post     1721651-8 -- Patton Schulle, Kristen (Ack
Funding Request\Sutton - Post Funding Request   Letter).pdf                                          270685      1/11/2024 19:30

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   1744579-2 -- Cowart, Trace (Ack Letter).pdf          199626      1/11/2024 19:39

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   1744733-5 -- McPhatter, Taalib (Ack Letter).pdf      165240      1/11/2024 19:53

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   1787100-1 -- Wise, Jenna (Ack Letter).pdf            194105      1/11/2024 19:44

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   1808208-3 -- Downing, Isaiah (Ack Letter).pdf        218432      1/11/2024 19:47

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   1851482-2 -- Sabin, Kayla (Ack Letter).pdf            64481      1/11/2024 19:51



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   1860293-3 -- Jones, Jashee (AC#).pdf                150728      1/11/2024 19:38

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   1860293-3 -- Jones, Jashee (Ack Letter).pdf          69854      1/11/2024 19:38

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   1871306-1 -- Wilbanks, Daniel (Ack Letter).pdf      165999      1/11/2024 19:57

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post     222210-3 -- Ehrmantrout, William (Ack
Funding Request\Sutton - Post Funding Request   Letter).pdf                                         214040      1/11/2024 19:41

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   243030-3 -- Miller, Lukas (Ack Letter).pdf          209107      1/11/2024 19:32

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   243030-3 -- Miller, Lukas (Court Order).pdf         308104      1/11/2024 19:33

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post     356925-2 -- Bohannon, Jeffrey (Ack Letter &
Funding Request\Sutton - Post Funding Request   STIP).pdf                                           343922      1/11/2024 20:04

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   366724-1 -- Wallace, Andrew (Ack Letter).pdf         32544      1/11/2024 20:06

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   369475-3 -- Knudsen, Jessica (Ack Letter).pdf       273116      1/11/2024 19:45

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   688720-1 -- Ellison, Devin (ID).pdf                 383049      1/11/2024 20:05



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post     746518-10 -- ClausenLaws, Raymond (Ack
Funding Request\Sutton - Post Funding Request   Letter).pdf                                         197101      1/11/2024 20:01

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   773654-7 -- Hulsey, Nicole (Ack Letter).pdf         191073      1/11/2024 19:43

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   797178-2 -- Ericson, Casey (Ack Letter).pdf          77871      1/11/2024 19:54

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   801153-1 -- Jackson, Aaron (Ack Letter).pdf          35881      1/11/2024 19:40

Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request\Sutton - Post Funding Request   823499-2 -- Casey, Timothy (Ack Letter).pdf          63972      1/11/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                         1072720-4 -- Nelson, Jashae (Ack Letter).pdf        166193      1/11/2024 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                         1336470-2 -- Roberts, Ember (Ack Letter).pdf        171000      1/11/2024 19:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                         1340968-2 -- Contreras, David (Ack Letter).pdf      240384      1/11/2024 19:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                         1370736-2 -- Hall, Shannon (Ack Letter).pdf         100937      1/11/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                         1381513-1 -- Jimenez, Hector (Ack Letter).pdf       109055      1/11/2024 19:57



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3333 of
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding     1389777-1 -- Canada, Brandy (Ack Letter &
Request                                       STIP).pdf                                          1435141       1/11/2024 20:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       1408134-2 -- McHugh, Colleen (Ack Letter).pdf         69212      1/11/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       1495973-4 -- Hamblin, Shannon (Ack Letter).pdf       101373      1/11/2024 19:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       1509061-2 -- Snell, Jarrod (ID).pdf                  378220      1/11/2024 19:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       1702735-3 -- Wilson, Kayvon (Ack Letter).pdf         102126      1/11/2024 19:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding     1721651-8 -- Patton Schulle, Kristen (Ack
Request                                       Letter).pdf                                          270685      1/11/2024 19:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       1744579-2 -- Cowart, Trace (Ack Letter).pdf          199626      1/11/2024 19:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       1744733-5 -- McPhatter, Taalib (Ack Letter).pdf      165240      1/11/2024 19:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       1787100-1 -- Wise, Jenna (Ack Letter).pdf            194105      1/11/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       1808208-3 -- Downing, Isaiah (Ack Letter).pdf        218432      1/11/2024 19:47



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3334 of
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       1851482-2 -- Sabin, Kayla (Ack Letter).pdf           64481      1/11/2024 19:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       1860293-3 -- Jones, Jashee (AC#).pdf                150728      1/11/2024 19:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       1860293-3 -- Jones, Jashee (Ack Letter).pdf          69854      1/11/2024 19:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       1871306-1 -- Wilbanks, Daniel (Ack Letter).pdf      165999      1/11/2024 19:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding     222210-3 -- Ehrmantrout, William (Ack
Request                                       Letter).pdf                                         214040      1/11/2024 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       243030-3 -- Miller, Lukas (Ack Letter).pdf          209107      1/11/2024 19:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       243030-3 -- Miller, Lukas (Court Order).pdf         308104      1/11/2024 19:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding     356925-2 -- Bohannon, Jeffrey (Ack Letter &
Request                                       STIP).pdf                                           343922      1/11/2024 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       366724-1 -- Wallace, Andrew (Ack Letter).pdf         32544      1/11/2024 20:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       369475-3 -- Knudsen, Jessica (Ack Letter).pdf       273116      1/11/2024 19:45



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       688720-1 -- Ellison, Devin (ID).pdf              383049      1/11/2024 20:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding     746518-10 -- ClausenLaws, Raymond (Ack
Request                                       Letter).pdf                                      197101      1/11/2024 20:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       773654-7 -- Hulsey, Nicole (Ack Letter).pdf      191073      1/11/2024 19:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       797178-2 -- Ericson, Casey (Ack Letter).pdf       77871      1/11/2024 19:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       801153-1 -- Jackson, Aaron (Ack Letter).pdf       35881      1/11/2024 19:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       823499-2 -- Casey, Timothy (Ack Letter).pdf       63972      1/11/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                         13240 - Default Judgment.pdf                     847118      1/11/2024 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                         18252 - FE Stipulation.pdf                       980262      1/11/2024 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                         18617 - Acknowledgement.pdf                       59338      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Docs.zip\Missing Docs                         19384 - Acknowledgment.pdf                        23641      1/10/2024 17:23



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                         19418 - FE Stipulation.pdf                     504846      1/10/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                         21340 - FE Stipulation.pdf                     385245      1/10/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                         22717 - Acknowledgment.pdf                      95174      1/11/2024 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                         23316 - SSC.pdf                                 31104      1/11/2024 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                         29656 - Acknowledgment.pdf                      84868     11/18/2011 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                         30449 - SSC.pdf                                259277      10/2/2018 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                         33590 - Purchase Agreement.pdf               4751224        1/11/2024 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                         36973 - Sale and Assignment Agreement.pdf      181747      1/12/2024 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                         3793 - Acknowledgment.pdf                      118783      1/10/2024 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                         39938 - Stipulation.pdf                      1752754      10/14/2019 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                         46956 - Acknowledgment.pdf                      52447      1/12/2024 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                         47046 - Stipulation.pdf                        489292      1/11/2024 11:17




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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                         5943 - Acknowledgment.pdf                      240904     10/29/2014 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                         64767 - Ack - Letter of Direction.pdf          243188      2/15/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                         67348 - Change of Payee and Bene Conf.pdf       67531      1/11/2024 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                         7079 - COO Confirmation.pdf                    727583      1/11/2024 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                         7085 - Default Judgment.pdf                    708027      1/11/2024 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                         7145 - Default Judgment.pdf                    193373      1/11/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Docs.zip\Missing Docs                         71968 - Acknowledgment.pdf                     348867       1/11/2024 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                         76113 - Acknowledgment.pdf                     927992      1/24/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Docs.zip\Missing Docs                         78166 - Acknowledgment.pdf                      41786      4/18/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                         78440 - SSN Verification.pdf                   128305      1/10/2024 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                         78738 - Acknowledgment.pdf                      53292       3/10/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Docs.zip\Missing Docs                         78868 - Benefits Letter.pdf                    597090      1/10/2024 16:51




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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                            78921 - Court Order.pdf                            436361      3/17/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                            79005 - Agreement and Stipulation - NO CO.pdf      235199      3/21/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                            79346 - Acknowledgment.pdf                         483422     12/20/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                            79733 - Court Order.pdf                            277878      1/11/2024 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                            79780 - Acknowledgment.pdf                          80622      4/29/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                            79917 - Acknowledgment.pdf                          74454      7/11/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                            8295 - FE Stipulation.pdf                          442623      1/11/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                            8472 - Default Judgment.pdf                      2328005       1/12/2024 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                            8472 - Proof of AC.pdf                           3588237        1/12/2024 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Missing
Docs.zip\Missing Docs                            8472 - Purchase Agreement.pdf                    8700121        1/12/2024 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\MpFin
Screengrabs                                      SPSS 7137-65917.docx                             1719306       1/11/2024 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          1072720-4 -- Nelson, Jashae (Ack Letter).pdf       166193      1/11/2024 19:34




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               All Paths/Locations                                  Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          1336470-2 -- Roberts, Ember (Ack Letter).pdf        171000      1/11/2024 19:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          1340968-2 -- Contreras, David (Ack Letter).pdf      240384      1/11/2024 19:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          1370736-2 -- Hall, Shannon (Ack Letter).pdf         100937      1/11/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          1381513-1 -- Jimenez, Hector (Ack Letter).pdf       109055      1/11/2024 19:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding   1389777-1 -- Canada, Brandy (Ack Letter &
Request                                          STIP).pdf                                         1435141       1/11/2024 20:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          1408134-2 -- McHugh, Colleen (Ack Letter).pdf        69212      1/11/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          1495973-4 -- Hamblin, Shannon (Ack Letter).pdf      101373      1/11/2024 19:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          1509061-2 -- Snell, Jarrod (ID).pdf                 378220      1/11/2024 19:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          1702735-3 -- Wilson, Kayvon (Ack Letter).pdf        102126      1/11/2024 19:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding   1721651-8 -- Patton Schulle, Kristen (Ack
Request                                          Letter).pdf                                         270685      1/11/2024 19:30



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
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Request                                          1744579-2 -- Cowart, Trace (Ack Letter).pdf          199626      1/11/2024 19:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          1744733-5 -- McPhatter, Taalib (Ack Letter).pdf      165240      1/11/2024 19:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          1787100-1 -- Wise, Jenna (Ack Letter).pdf            194105      1/11/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          1871306-1 -- Wilbanks, Daniel (Ack Letter).pdf       165999      1/11/2024 19:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding   222210-3 -- Ehrmantrout, William (Ack
Request                                          Letter).pdf                                          214040      1/11/2024 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          243030-3 -- Miller, Lukas (Ack Letter).pdf           209107      1/11/2024 19:32



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
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Request                                          243030-3 -- Miller, Lukas (Court Order).pdf        308104      1/11/2024 19:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding   356925-2 -- Bohannon, Jeffrey (Ack Letter &
Request                                          STIP).pdf                                          343922      1/11/2024 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          366724-1 -- Wallace, Andrew (Ack Letter).pdf        32544      1/11/2024 20:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          369475-3 -- Knudsen, Jessica (Ack Letter).pdf      273116      1/11/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          688720-1 -- Ellison, Devin (ID).pdf                383049      1/11/2024 20:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding   746518-10 -- ClausenLaws, Raymond (Ack
Request                                          Letter).pdf                                        197101      1/11/2024 20:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          773654-7 -- Hulsey, Nicole (Ack Letter).pdf        191073      1/11/2024 19:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          797178-2 -- Ericson, Casey (Ack Letter).pdf         77871      1/11/2024 19:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          801153-1 -- Jackson, Aaron (Ack Letter).pdf         35881      1/11/2024 19:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip             Dorchester Cash Rec Analysis 2023.xlsx                  491070       1/11/2024 9:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip             Historical Cash Receipts Analysis SPLCSS 2023.xlsx    2919885       1/10/2024 13:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\79565 -
Dorchester Docs1.zip                          69673 - Acknowledgment.pdf                              520551     12/19/2023 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\79565 -
Dorchester Docs1.zip                          69673 Acknowledgment.pdf                                520551     12/19/2023 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\79565 -
Dorchester Docs1.zip                          71049 Acknowledgement.pdf                                83416     12/19/2023 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Dorchester Docs1.zip                          72950 Acknowledgement.pdf                                46066      5/24/2016 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
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Received\OneDrive_1_1-18-2024.zip\79565 -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\79565 -
Dorchester Docs1.zip                          79410 - Acknowledgment.pdf             73313      4/25/2022 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_1_1-18-2024.zip\79565 -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Documents                                     GFG - missing docs .xlsx               19446      1/22/2024 12:49
Saiph consulting|\Audit Materials Received-
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Documents                                     GFG File ID.xlsx                       18222      1/26/2024 10:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Documents\Missing Docs\Missing Docs           13240 - Default Judgment.pdf          847118      10/10/2024 6:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           18252 - FE Stipulation.pdf            980262      1/11/2024 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           18604 - Acknowledgement.pdf            59338      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           18617 - Acknowledgement.pdf            59338      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           19384 - Acknowledgment.pdf             23641      1/10/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           19418 - FE Stipulation.pdf            504846      1/10/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           21340 - FE Stipulation.pdf            385245      1/10/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           22717 - Acknowledgment.pdf             95174      10/10/2024 6:36




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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           23316 - SSC.pdf                                 31104      1/11/2024 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           29656 - Acknowledgment.pdf                      84868     11/18/2011 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           30449 - SSC.pdf                                259277      10/2/2018 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           33590 - Purchase Agreement.pdf               4751224        1/11/2024 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           36973 - Sale and Assignment Agreement.pdf      181747      10/10/2024 6:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           3793 - Acknowledgment.pdf                      118783      1/10/2024 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           39938 - Stipulation.pdf                      1752754      10/14/2019 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           46956 - Acknowledgment.pdf                      52447      1/12/2024 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           47046 - Stipulation.pdf                        489292      1/11/2024 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           5943 - Acknowledgment.pdf                      240904     10/29/2014 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           64767 - Ack - Letter of Direction.pdf          243188      2/15/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Documents\Missing Docs\Missing Docs           67348 - Change of Payee and Bene Conf.pdf       67531      1/11/2024 11:32




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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Documents\Missing Docs\Missing Docs           76113 - Acknowledgment.pdf                         927992      1/24/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Documents\Missing Docs\Missing Docs           78166 - Acknowledgment.pdf                          41786      4/18/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           78440 - SSN Verification.pdf                       128305      1/10/2024 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           78738 - Acknowledgment.pdf                          53292       3/10/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Documents\Missing Docs\Missing Docs           78868 - Benefits Letter.pdf                        597090      1/10/2024 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Documents\Missing Docs\Missing Docs           78921 - Court Order.pdf                            436361      3/17/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           79005 - Agreement and Stipulation - NO CO.pdf      235199      3/21/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           79346 - Acknowledgment.pdf                         483422     12/20/2022 11:20




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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           79733 - Court Order.pdf                       277878      10/10/2024 6:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           79780 - Acknowledgment.pdf                     80622      4/29/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           79917 - Acknowledgment.pdf                     74454      7/11/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           8295 - FE Stipulation.pdf                     442623      10/10/2024 6:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           8472 - Default Judgment.pdf                 2328005       10/10/2024 6:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           8472 - Proof of AC.pdf                      3588237       10/10/2024 6:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents\Missing Docs\Missing Docs           8472 - Purchase Agreement.pdf               8700121       10/10/2024 6:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25\Missing
Documents                                     SPLCSS Exceptions Report- LH 1-9-24.xlsx       27380      1/12/2024 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents                                     GFG - missing docs .xlsx                       16118      1/22/2024 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\GFG.zip\GFG                         126748 - Ack.pdf                              103272     11/14/2017 13:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\GFG.zip\GFG                         144884 - Ack.pdf                              134946     10/17/2022 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\GFG.zip\GFG                         194765 - Ack.pdf                               49138     12/13/2021 14:41




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               All Paths/Locations                               Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\GFG.zip\GFG                         274694 - Ack & Stipulation.pdf             428472      1/22/2024 16:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\GFG.zip\GFG                         374699 - Ack.pdf                            97772      1/22/2024 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\GFG.zip\GFG                         424202 - Ack.pdf                            78941      2/28/2020 16:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\GFG.zip\GFG                         434852 - Stipulation.pdf                   262508      1/22/2024 16:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\GFG.zip\GFG                         484805 - Ack (Cashflowing).pdf             191143      1/22/2024 17:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\GFG.zip\GFG                         504641 - Ack.pdf                            87160      1/22/2024 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\GFG.zip\GFG                         514666 - Ack.pdf                            88862      6/25/2021 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\GFG.zip\GFG                         514814 - Ack & Purchase Agreement.pdf      591554      1/22/2024 16:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\GFG.zip\GFG                         574808 - Stipulation.pdf                   923826       2/1/2022 23:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\GFG.zip\GFG                         599697 - Ack.pdf                            34206      1/24/2024 10:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\GFG.zip\GFG                         654311 - Ack.pdf                            57480       1/7/2021 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\GFG.zip\GFG                         734763 - Ack.pdf                            87606     10/25/2021 15:47




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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\GFG.zip\GFG                         754827 - Ack.pdf                                         88623      6/22/2022 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\GFG.zip\GFG                         784462 - Purchase Agreement.pdf                         323507       9/1/2020 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\GFG.zip\GFG                         824631 - Ack.pdf                                        232542      4/29/2021 11:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\GFG.zip\GFG                         844859 - Ack.pdf                                      2298690       8/16/2022 13:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\GFG.zip\GFG                         2022-08-05 - (Sims-Travis, Tanisha) Order.PDF         1826936        8/5/2022 12:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\GFG.zip\GFG                         2022-08-11 - (Sims, Tanisha) Letter of Directi.PDF      152239      8/11/2022 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\GFG.zip\GFG                         949952 - Stipulation.pdf                                407557      4/24/2018 22:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\GFG.zip\GFG                         959040 - Judgement in Lieu of Stip.pdf                  423820      4/16/2018 14:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\GFG.zip\GFG                         994269 - Stipulation.pdf                                824119      4/21/2020 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       13240 - Default Judgment.pdf                            847118      1/11/2024 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       18252 - FE Stipulation.pdf                              980262      1/11/2024 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       18604 - Acknowledgement.pdf                              59338      3/27/2021 10:40




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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       18617 - Acknowledgement.pdf                     59338      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       19384 - Acknowledgment.pdf                      23641      1/10/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       19418 - FE Stipulation.pdf                     504846      1/10/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       21340 - FE Stipulation.pdf                     385245      1/10/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       22717 - Acknowledgment.pdf                      95174      1/11/2024 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       23316 - SSC.pdf                                 31104      1/11/2024 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       29656 - Acknowledgment.pdf                      84868     11/18/2011 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       30449 - SSC.pdf                                259277      10/2/2018 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       33590 - Purchase Agreement.pdf               4751224        1/11/2024 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       36973 - Sale and Assignment Agreement.pdf      181747      1/12/2024 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       3793 - Acknowledgment.pdf                      118783      1/10/2024 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       39938 - Stipulation.pdf                      1752754      10/14/2019 10:18




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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       46956 - Acknowledgment.pdf                      52447      1/12/2024 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       47046 - Stipulation.pdf                        489292      1/11/2024 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       5943 - Acknowledgment.pdf                      240904     10/29/2014 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       64767 - Ack - Letter of Direction.pdf          243188      2/15/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       67348 - Change of Payee and Bene Conf.pdf       67531      1/11/2024 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       7079 - COO Confirmation.pdf                    727583      1/11/2024 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       7085 - Default Judgment.pdf                    708027      1/11/2024 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       7145 - Default Judgment.pdf                    193373      1/11/2024 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       71968 - Acknowledgment.pdf                     348867       1/11/2024 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       76113 - Acknowledgment.pdf                     927992      1/24/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       78166 - Acknowledgment.pdf                      41786      4/18/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       78440 - SSN Verification.pdf                   128305      1/10/2024 16:48




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               All Paths/Locations                              Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       78738 - Acknowledgment.pdf                          53292       3/10/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       78868 - Benefits Letter.pdf                        597090      1/10/2024 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       78921 - Court Order.pdf                            436361      3/17/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       79005 - Agreement and Stipulation - NO CO.pdf      235199      3/21/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Documents\Missing Docs.zip\Missing Docs       79346 - Acknowledgment.pdf                         483422     12/20/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       79733 - Court Order.pdf                            277878      1/11/2024 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       79780 - Acknowledgment.pdf                          80622      4/29/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       79917 - Acknowledgment.pdf                          74454      7/11/2022 16:01
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SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       8295 - FE Stipulation.pdf                          442623      1/11/2024 17:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       8472 - Default Judgment.pdf                      2328005       1/12/2024 11:42
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Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       8472 - Proof of AC.pdf                           3588237        1/12/2024 9:35
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SuttonPark\Missing Documents
Received\OneDrive_2024-01-25.zip\Missing
Documents\Missing Docs.zip\Missing Docs       8472 - Purchase Agreement.pdf                    8700121        1/12/2024 9:34




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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Documents                                     SPLCSS Exceptions Report- LH 1-9-24.xlsx       24052      1/12/2024 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Dorchester Docs1.zip                          69673 - Acknowledgment.pdf                    520551     12/19/2023 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\79565 -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\79565 -
Dorchester Docs1.zip                          71049 Acknowledgement.pdf                      83416     12/19/2023 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\79565 -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\79565 -
Dorchester Docs1.zip                          78344 -Acknowledgement.pdf                    165644      1/20/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\79565 -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\79565 -
Dorchester Docs1.zip                          78493 Annuity Policy.pdf                    2644334      12/19/2023 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\79565 -
Dorchester Docs1.zip                          78953 -Acknowledgement.pdf                     59143     10/18/2022 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\79565 -
Dorchester Docs1.zip                          78954 - Court Order.pdf                     2622704       3/17/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\79565 -
Dorchester Docs1.zip                          79056 - Gov ID.pdf                            206581      2/25/2022 12:46




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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\79565 -
Dorchester Docs1.zip                          79565 - Acknowledgment.pdf           402479      5/17/2022 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         13240 - Default Judgment.pdf         847118      1/11/2024 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         18252 - FE Stipulation.pdf           980262      1/11/2024 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         18604 - Acknowledgement.pdf           59338      3/27/2021 10:40
Saiph consulting|\Audit Materials Received-
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Received\OneDrive_3_1-17-2024\Missing
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         19384 - Acknowledgment.pdf            23641      1/10/2024 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         19418 - FE Stipulation.pdf           504846      1/10/2024 17:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         21340 - FE Stipulation.pdf           385245      1/10/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         22717 - Acknowledgment.pdf            95174      1/11/2024 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         23316 - SSC.pdf                       31104      1/11/2024 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         29656 - Acknowledgment.pdf            84868     11/18/2011 17:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         30449 - SSC.pdf                      259277      10/2/2018 11:28




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Saiph consulting|\Audit Materials Received-
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Docs.zip\Missing Docs                         33590 - Purchase Agreement.pdf               4751224        1/11/2024 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         36973 - Sale and Assignment Agreement.pdf      181747      1/12/2024 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         3793 - Acknowledgment.pdf                      118783      1/10/2024 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         39938 - Stipulation.pdf                      1752754      10/14/2019 10:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         46956 - Acknowledgment.pdf                      52447      1/12/2024 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         47046 - Stipulation.pdf                        489292      1/11/2024 11:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         5943 - Acknowledgment.pdf                      240904     10/29/2014 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         64767 - Ack - Letter of Direction.pdf          243188      2/15/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         67348 - Change of Payee and Bene Conf.pdf       67531      1/11/2024 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         7079 - COO Confirmation.pdf                    727583      1/11/2024 15:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         7085 - Default Judgment.pdf                    708027      1/11/2024 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         7145 - Default Judgment.pdf                    193373      1/11/2024 17:19




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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Docs.zip\Missing Docs                         71968 - Acknowledgment.pdf                         348867       1/11/2024 9:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         76113 - Acknowledgment.pdf                         927992      1/24/2022 15:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         78166 - Acknowledgment.pdf                          41786      4/18/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         78440 - SSN Verification.pdf                       128305      1/10/2024 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         78738 - Acknowledgment.pdf                          53292       3/10/2022 9:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         78868 - Benefits Letter.pdf                        597090      1/10/2024 16:51
Saiph consulting|\Audit Materials Received-
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Docs.zip\Missing Docs                         78921 - Court Order.pdf                            436361      3/17/2022 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Docs.zip\Missing Docs                         79005 - Agreement and Stipulation - NO CO.pdf      235199      3/21/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         79346 - Acknowledgment.pdf                         483422     12/20/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         79733 - Court Order.pdf                            277878      1/11/2024 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
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Saiph consulting|\Audit Materials Received-
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Docs.zip\Missing Docs                         79917 - Acknowledgment.pdf                          74454      7/11/2022 16:01




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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         8472 - Default Judgment.pdf                       2328005       1/12/2024 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Missing
Docs.zip\Missing Docs                         8472 - Proof of AC.pdf                            3588237        1/12/2024 9:35
Saiph consulting|\Audit Materials Received-
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Docs.zip\Missing Docs                         8472 - Purchase Agreement.pdf                     8700121        1/12/2024 9:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       1072720-4 -- Nelson, Jashae (Ack Letter).pdf        166193      1/11/2024 19:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       1336470-2 -- Roberts, Ember (Ack Letter).pdf        171000      1/11/2024 19:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       1340968-2 -- Contreras, David (Ack Letter).pdf      240384      1/11/2024 19:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       1370736-2 -- Hall, Shannon (Ack Letter).pdf         100937      1/11/2024 19:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       1381513-1 -- Jimenez, Hector (Ack Letter).pdf       109055      1/11/2024 19:57
Saiph consulting|\Audit Materials Received-
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Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding     1389777-1 -- Canada, Brandy (Ack Letter &
Request                                       STIP).pdf                                         1435141       1/11/2024 20:02




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Saiph consulting|\Audit Materials Received-
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Received\OneDrive_3_1-17-2024\Sutton - Post
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Request                                       1408134-2 -- McHugh, Colleen (Ack Letter).pdf         69212      1/11/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       1509061-2 -- Snell, Jarrod (ID).pdf                  378220      1/11/2024 19:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       1702735-3 -- Wilson, Kayvon (Ack Letter).pdf         102126      1/11/2024 19:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding     1721651-8 -- Patton Schulle, Kristen (Ack
Request                                       Letter).pdf                                          270685      1/11/2024 19:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       1808208-3 -- Downing, Isaiah (Ack Letter).pdf        218432      1/11/2024 19:47
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Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       1860293-3 -- Jones, Jashee (AC#).pdf                150728      1/11/2024 19:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       1871306-1 -- Wilbanks, Daniel (Ack Letter).pdf      165999      1/11/2024 19:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Sutton - Post
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Request                                       Letter).pdf                                         214040      1/11/2024 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       243030-3 -- Miller, Lukas (Ack Letter).pdf          209107      1/11/2024 19:32
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SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Sutton - Post
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Saiph consulting|\Audit Materials Received-
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Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding     356925-2 -- Bohannon, Jeffrey (Ack Letter &
Request                                       STIP).pdf                                           343922      1/11/2024 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
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Received\OneDrive_3_1-17-2024\Sutton - Post
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Request                                       369475-3 -- Knudsen, Jessica (Ack Letter).pdf       273116      1/11/2024 19:45
Saiph consulting|\Audit Materials Received-
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Received\OneDrive_3_1-17-2024\Sutton - Post
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding     746518-10 -- ClausenLaws, Raymond (Ack
Request                                       Letter).pdf                                      197101      1/11/2024 20:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       773654-7 -- Hulsey, Nicole (Ack Letter).pdf      191073      1/11/2024 19:43
Saiph consulting|\Audit Materials Received-
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Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
Request                                       797178-2 -- Ericson, Casey (Ack Letter).pdf       77871      1/11/2024 19:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024\Sutton - Post
Funding Request.zip\Sutton - Post Funding
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Saiph consulting|\Audit Materials Received-
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Received\OneDrive_3_1-17-2024.zip\Missing
Docs.zip\Missing Docs                         13240 - Default Judgment.pdf                     847118      1/11/2024 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Missing
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Missing
Docs.zip\Missing Docs                         19418 - FE Stipulation.pdf                       504846      1/10/2024 17:53




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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Missing
Docs.zip\Missing Docs                         21340 - FE Stipulation.pdf                     385245      1/10/2024 18:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Missing
Docs.zip\Missing Docs                         22717 - Acknowledgment.pdf                      95174      1/11/2024 14:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Missing
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Missing
Docs.zip\Missing Docs                         33590 - Purchase Agreement.pdf               4751224        1/11/2024 9:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Missing
Docs.zip\Missing Docs                         36973 - Sale and Assignment Agreement.pdf      181747      1/12/2024 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Missing
Docs.zip\Missing Docs                         3793 - Acknowledgment.pdf                      118783      1/10/2024 16:18
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Docs.zip\Missing Docs                         39938 - Stipulation.pdf                      1752754      10/14/2019 10:18
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SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Docs.zip\Missing Docs                         64767 - Ack - Letter of Direction.pdf          243188      2/15/2021 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Missing
Docs.zip\Missing Docs                         67348 - Change of Payee and Bene Conf.pdf       67531      1/11/2024 11:32
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SuttonPark\Missing Documents
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Docs.zip\Missing Docs                         7079 - COO Confirmation.pdf                    727583      1/11/2024 15:06
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Received\OneDrive_3_1-17-2024.zip\Missing
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Saiph consulting|\Audit Materials Received-
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Docs.zip\Missing Docs                         7145 - Default Judgment.pdf                    193373      1/11/2024 17:19
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Received\OneDrive_3_1-17-2024.zip\Missing
Docs.zip\Missing Docs                         78166 - Acknowledgment.pdf                      41786      4/18/2022 11:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Missing
Docs.zip\Missing Docs                         78440 - SSN Verification.pdf                   128305      1/10/2024 16:48
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Docs.zip\Missing Docs                         78738 - Acknowledgment.pdf                      53292       3/10/2022 9:06
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SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Missing
Docs.zip\Missing Docs                         78868 - Benefits Letter.pdf                    597090      1/10/2024 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Missing
Docs.zip\Missing Docs                         78921 - Court Order.pdf                        436361      3/17/2022 15:33




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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Missing
Docs.zip\Missing Docs                            79005 - Agreement and Stipulation - NO CO.pdf      235199      3/21/2022 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Missing
Docs.zip\Missing Docs                            79346 - Acknowledgment.pdf                         483422     12/20/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Missing
Docs.zip\Missing Docs                            79733 - Court Order.pdf                            277878      1/11/2024 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Missing
Docs.zip\Missing Docs                            79780 - Acknowledgment.pdf                          80622      4/29/2022 15:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Missing
Docs.zip\Missing Docs                            79917 - Acknowledgment.pdf                          74454      7/11/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Missing
Docs.zip\Missing Docs                            8295 - FE Stipulation.pdf                          442623      1/11/2024 17:34
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SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Request                                          STIP).pdf                                         1435141       1/11/2024 20:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          1408134-2 -- McHugh, Colleen (Ack Letter).pdf        69212      1/11/2024 19:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          1495973-4 -- Hamblin, Shannon (Ack Letter).pdf      101373      1/11/2024 19:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          1509061-2 -- Snell, Jarrod (ID).pdf                 378220      1/11/2024 19:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          1702735-3 -- Wilson, Kayvon (Ack Letter).pdf        102126      1/11/2024 19:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding   1721651-8 -- Patton Schulle, Kristen (Ack
Request                                          Letter).pdf                                         270685      1/11/2024 19:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          1744579-2 -- Cowart, Trace (Ack Letter).pdf         199626      1/11/2024 19:39



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          1744733-5 -- McPhatter, Taalib (Ack Letter).pdf      165240      1/11/2024 19:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          1787100-1 -- Wise, Jenna (Ack Letter).pdf            194105      1/11/2024 19:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          1808208-3 -- Downing, Isaiah (Ack Letter).pdf        218432      1/11/2024 19:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          1851482-2 -- Sabin, Kayla (Ack Letter).pdf            64481      1/11/2024 19:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          1860293-3 -- Jones, Jashee (AC#).pdf                 150728      1/11/2024 19:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          1860293-3 -- Jones, Jashee (Ack Letter).pdf           69854      1/11/2024 19:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          1871306-1 -- Wilbanks, Daniel (Ack Letter).pdf       165999      1/11/2024 19:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding   222210-3 -- Ehrmantrout, William (Ack
Request                                          Letter).pdf                                          214040      1/11/2024 19:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          243030-3 -- Miller, Lukas (Ack Letter).pdf           209107      1/11/2024 19:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          243030-3 -- Miller, Lukas (Court Order).pdf          308104      1/11/2024 19:33



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding   356925-2 -- Bohannon, Jeffrey (Ack Letter &
Request                                          STIP).pdf                                          343922      1/11/2024 20:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          366724-1 -- Wallace, Andrew (Ack Letter).pdf        32544      1/11/2024 20:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          369475-3 -- Knudsen, Jessica (Ack Letter).pdf      273116      1/11/2024 19:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          688720-1 -- Ellison, Devin (ID).pdf                383049      1/11/2024 20:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding   746518-10 -- ClausenLaws, Raymond (Ack
Request                                          Letter).pdf                                        197101      1/11/2024 20:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          773654-7 -- Hulsey, Nicole (Ack Letter).pdf        191073      1/11/2024 19:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          797178-2 -- Ericson, Casey (Ack Letter).pdf         77871      1/11/2024 19:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          801153-1 -- Jackson, Aaron (Ack Letter).pdf         35881      1/11/2024 19:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\Sutton -
Post Funding Request.zip\Sutton - Post Funding
Request                                          823499-2 -- Casey, Timothy (Ack Letter).pdf         63972      1/11/2024 19:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip                Dorchester Cash Rec Analysis 2023.xlsx             491070       1/11/2024 9:50




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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Dorchester Docs1.zip                          69673 - Acknowledgment.pdf           520551     12/19/2023 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\79565 -
Dorchester Docs1.zip                          69673 Acknowledgment.pdf             520551     12/19/2023 14:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\79565 -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\79565 -
Dorchester Docs1.zip                          72950 Acknowledgement.pdf             46066      5/24/2016 12:04
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Dorchester Docs1.zip                          78344 -Acknowledgement.pdf           165644      1/20/2022 15:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\79565 -
Dorchester Docs1.zip                          78493 Acknowledgement.pdf             47456     12/19/2023 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Dorchester Docs1.zip                          78493 Annuity Policy.pdf           2644334      12/19/2023 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\79565 -
Dorchester Docs1.zip                          78953 -Acknowledgement.pdf            59143     10/18/2022 14:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\79565 -
Dorchester Docs1.zip                          78954 - Court Order.pdf            2622704       3/17/2022 15:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\79565 -
Dorchester Docs1.zip                          79056 - Gov ID.pdf                   206581      2/25/2022 12:46
Saiph consulting|\Audit Materials Received-
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Received\OneDrive_3_1-17-2024.zip\79565 -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\OneDrive_3_1-17-2024.zip\79565 -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             1072720 - Nelson, Jashae (ack letter.pdf                166193       2/9/2024 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             1370736 - Hall, Shannon (ack letter).pdf                100938       2/9/2024 16:50
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documents 1.30.24                             1381513 - Jimenez, Hector (ack letter).pdf              109055       2/9/2024 16:54
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SuttonPark\Missing Documents Received\Sutton-
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documents 1.30.24                             1389777 - Canada, Brandy (ack letter).pdf             1435148        2/9/2024 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             1408134 - Mchugh, Colleen (Ack Letter).pdf               69214       2/6/2024 15:56
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SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             1495973 - Hamblin, Shannon (ack letter).pdf              51172       2/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
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documents 1.30.24                             1509061 - Snell, Jarrod (ID).pdf                        378219       2/9/2024 15:52
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SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             1692915 - Johns, Lejaya (ack letter).pdf                165421       2/9/2024 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
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documents 1.30.24                             1702735 - Wilson, Kayvon (ack letter).pdf                50753       2/9/2024 16:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             1711756 - Walker, Christopher (ack letter).pdf          792190       2/9/2024 16:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             1721651 - Patton-Schulle, Kristen (ack letter).pdf      270899       2/9/2024 16:41




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Saiph consulting|\Audit Materials Received-
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documents 1.30.24                             1744579 - Cowart, Trace (ack letter).pdf               199841       2/9/2024 16:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             1744733 - McPhatter, Taalib (ack letter).pdf           165241       2/9/2024 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             1787100 - Wise, Jenna (ack letter).pdf                 194325       2/9/2024 16:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             1808208 - Downing, Isaiah (ack letter).pdf             245735       2/9/2024 16:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             1824019 - Berneau, Dillon (stip).pdf                 1418566        2/9/2024 16:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             1851482 - Sabin, Kayla (ack letter).pdf                 64481       2/9/2024 16:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             1860293 - Jones, Jashee (ack letter).pdf                69854       2/9/2024 17:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             1865350 - Geiger, Jah-mal (ack letter).pdf              64621       2/9/2024 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             1871306 - Wilbanks, Daniel (ack letter).pdf            165998       2/9/2024 16:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             1879967 - Cortes, Tyler (Ack letter).pdf                64267       2/9/2024 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing    222210 - Ehrmantrout III, William (ack letter and
documents 1.30.24                             ID).pdf                                                596283       2/9/2024 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             243030 - Miller, Lukas (ack and CO).pdf                520680       2/9/2024 17:17




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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             356925 - Bohannon, Jeffrey (ack letter).pdf             32536       2/9/2024 15:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             366724 - Wallace, Andrew (ack letter).pdf               32544       2/9/2024 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             369475 - Knudsen, Jessica (ack letter).pdf             273331       2/9/2024 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             375010 - Brewster, Philip (ack letter).pdf              77726       2/9/2024 16:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             580581 - Lukens, Frederick (ack).pdf                   224228       2/9/2024 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             688720 - Ellison, Devin (ID).pdf                       383048       2/9/2024 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             746518 - Clausen-Laws, Raymond (ack letter).pdf        197318       2/9/2024 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             773654 - Hulsey, Nicole (ack letter).pdf               191289       2/9/2024 16:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             795768 - Kraemer, Brian (ack letter and stip).pdf    1345999        2/9/2024 15:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             797178 - Ericson, Casey (ack letter).pdf                77871       2/9/2024 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             801153 - Jackson, Aaron (ack letter).pdf                35881       2/9/2024 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                             823499 - Casey, Timothy (ack letter).pdf                63972       2/9/2024 16:48




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               All Paths/Locations                                Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24\JG - missing
documents 1.30.24                              Missing Documents List.xlsx                       19831       2/9/2024 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              1072720 - Nelson, Jashae (ack letter.pdf         166193       2/9/2024 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              1370736 - Hall, Shannon (ack letter).pdf         100938       2/9/2024 16:50
Saiph consulting|\Audit Materials Received-
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Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              1381513 - Jimenez, Hector (ack letter).pdf       109055       2/9/2024 16:54
Saiph consulting|\Audit Materials Received-
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Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              1389777 - Canada, Brandy (ack letter).pdf      1435148        2/9/2024 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              1408134 - Mchugh, Colleen (Ack Letter).pdf        69214       2/6/2024 15:56
Saiph consulting|\Audit Materials Received-
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documents 1.30.24                              1495973 - Hamblin, Shannon (ack letter).pdf       51172       2/9/2024 16:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              1509061 - Snell, Jarrod (ID).pdf                 378219       2/9/2024 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              1692915 - Johns, Lejaya (ack letter).pdf         165421       2/9/2024 16:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents Received\Sutton-
Post Funding Documents 2.9.24.zip\JG - missing
documents 1.30.24                              1702735 - Wilson, Kayvon (ack letter).pdf         50753       2/9/2024 16:37
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SPC\Lauren Boersig                             Buck/SPLCSS                                      745880      6/26/2024 10:13
Saiph consulting|\Email Correspondence with
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Saiph consulting|\Email Correspondence with
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Saiph consulting|\Email Correspondence with
SPC\Lauren Boersig                             SPLCSSII Search Report.xlsm                      426223      6/14/2024 11:26


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Saiph consulting|\Email Correspondence with
SPC\Lauren Boersig                            Search Report Dorchester.xlsm                           81760       6/14/2024 11:25
Saiph consulting|\Email Correspondence with
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Saiph consulting|\Email Correspondence with
SPC\Lauren Boersig                            Vida Payments to be booked 6.13.24.xlsx                 19639       6/13/2024 15:07
Saiph consulting|\Email Correspondence with
SPC\Lauren Boersig                            Reports                                                144296       6/14/2024 13:26
Saiph consulting|\Email Correspondence with
SPC\Lauren Boersig                            Dorchester Receviables.xlsm                             15600       6/14/2024 11:40
Saiph consulting|\Email Correspondence with
SPC\Lauren Boersig                            SPLCSS II Receviables.xlsm                              71670       6/14/2024 11:39
Saiph consulting|\Email Correspondence with
SPC\Lauren Boersig                            Re: Lockbox Question                                    25430       7/29/2024 15:38
Saiph consulting|\Email Correspondence with
LH\Lauren Boersig                             Accepted: SPLCSS & Dorchester doc review                  3625       6/19/2024 8:15
Saiph consulting|\Email Correspondence with
LH\Lauren Boersig                             Fwd: Document Exceptions by Deal Source                 50949        7/8/2024 10:14
Saiph consulting|\Email Correspondence with
LH\Lauren Boersig                             Missing Documents - All.xlsx                            32918        7/8/2024 10:09
Saiph consulting|\Email Correspondence with
LH\Lauren Boersig                             Missing SPLCSS/Dorchester Documents                     17644        1/17/2024 5:34
Saiph consulting|\Email Correspondence with
LH\Lauren Boersig                             MpFin Screengrabs                                       18385        1/12/2024 4:36
Saiph consulting|\Email Correspondence with
LH\Lauren Boersig                             MpFin Screengrabs                                       18472       2/16/2024 13:56
Saiph consulting|\Email Correspondence with   RE: Chain of title analysis and summary report on
LH\Lauren Boersig                             receivables                                             36249        7/31/2024 9:06
Saiph consulting|\Email Correspondence with
LH\Lauren Boersig                             RE: Compliance reports- 2021 and 2022                   35395        5/30/2024 6:57
Saiph consulting|\Email Correspondence with
LH\Lauren Boersig                             RE: Further SPLCSS and Dorchester support               47604        7/31/2024 6:06
Saiph consulting|\Email Correspondence with
LH\Lauren Boersig                             RE: Missing Documents from 777                          15308        2/14/2024 8:44
Saiph consulting|\Email Correspondence with
LH\Lauren Boersig                             RE: SharePoint Uploads                                  52872       2/22/2024 13:15
Saiph consulting|\Email Correspondence with
LH\Lauren Boersig                             RE: SPLCSS & Dorchester doc review metrics              46340        7/1/2024 13:56
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Accepted: Back up servicing                               3378        4/6/2023 5:47
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Accepted: Backup Servicing Proposal Discussion          13726         6/5/2023 5:45
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Accepted: Craig-Paul                                      2933      4/22/2024 13:42
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Accepted: Initial Consulting Agreement                  13706        8/8/2023 12:35
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Accepted: Leadenhall / Saiph Touch Base                 15476         9/6/2024 3:18




                                                             3370
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3372 of
                                       3467



               All Paths/Locations                               Unified Title               File Size    Primary Date/Time
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Accepted: Leadenhall-Saiph Lunch                     4499      1/26/2024 11:35
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Accepted: Leadenhall/SAIPH                           3573       7/31/2024 9:19
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Accepted: SAIPH <> Leadenhall                        4715       2/23/2024 9:56
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Accepted: Saiph-Leadenhall lunch                     3431      7/10/2023 13:34
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Accepted: Saiph-Leadenhall                           3575      8/21/2024 12:41
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Accepted: Saiph/Leadenhall Bi-weekly Update        12916       5/24/2024 12:13
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Accepted: SPC collateral audit letter                3625      8/21/2024 12:41
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Accepted: SPLCSS & Dorchester doc review             3009       6/19/2024 8:30
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Accepted: Weekly Touch-Base: New Business          15631       7/26/2024 10:16
Saiph consulting|\Email Correspondence with   Automatic reply: Structured documentation /
LH\Paul Kosinski                              process                                            12557       4/19/2024 14:46
Saiph consulting|\Email Correspondence with   Automatic reply: Weekly Touch-Base: New
LH\Paul Kosinski                              Business                                           16010        8/15/2024 6:51
                                              Automatic reply: <html><body>Join me at dōma
Saiph consulting|\Email Correspondence with   on Wednesday, May 17 at 7:15 PM. Tap to view
LH\Paul Kosinski                              the O                                              11225       5/15/2023 11:39
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Binder Due Diligence                               25793      11/28/2023 15:32
Saiph consulting|\Email Correspondence with   Canceled: 30 Min Placeholder For Follow-up
LH\Paul Kosinski                              Discussion - TBC                                   14484        5/22/2024 7:23
Saiph consulting|\Email Correspondence with   Canceled: Saiph / Leadenhall Weekly Update -
LH\Paul Kosinski                              New Business                                         7397       9/19/2024 8:58
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Death Audit                                     1135464        1/11/2024 14:04
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Saiph Services CertiDeath Proposal.pdf            825964       1/11/2024 10:15
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Dinner Saiph/Leadenhall                              8453      10/26/2023 7:03
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Do you have 5 minutes to talk?                       9887       6/7/2024 11:42
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              DRB/Leadenhall/Saiph Lockbox Q&A                   30752        8/9/2024 12:23
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              '--- Untitled Document ---                         14697        8/5/2024 14:03
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Outlook-n1ipuabk.png                                 3883
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              FW: Analysis Results                            3215595         2/20/2024 9:30
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Saiph Services Analysis Results.pdf               173310       2/16/2024 11:01



                                                             3371
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3373 of
                                       3467



               All Paths/Locations                               Unified Title                  File Size    Primary Date/Time
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              IMG_3825.PNG                                         855996
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              IMG_3828.PNG                                         689601
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Fw: Backup                                            17560       9/19/2024 12:11
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              FW: Chain of title analysis                          124727        3/6/2024 11:27
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              FW: Chain of Title Releases Needed                 1485417        5/31/2024 18:31
Saiph consulting|\Email Correspondence with   SPLCSS 2016 Payoff and Release (Securis)
LH\Paul Kosinski                              2.12.18_Signed.pdf                                   218827       2/12/2018 13:51
Saiph consulting|\Email Correspondence with   Payoff and Release Agreement - SPLCSS 2016, LLC
LH\Paul Kosinski                              - EXECUTED.PDF                                       482001
Saiph consulting|\Email Correspondence with   SPLCSS II Payoff and Release Agreement
LH\Paul Kosinski                              2.12.18.docx.pdf                                     324762       2/12/2018 13:17
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Fw: Consulting Agreement Template                     66800       6/17/2024 16:15
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Saiph- Consulting Agreement [Templete].docx           39499        8/7/2023 12:23
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              FW: Further SPLCSS and Dorchester support             50902        7/31/2024 9:27
Saiph consulting|\Email Correspondence with   FW: Leadenhall/SAIPH - Backup Servicing
LH\Paul Kosinski                              Arrangement                                           27474         8/1/2023 9:26
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              FW: Leadenhall/SAIPH - Consulting Agreement             8651       8/18/2023 9:03
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              FW: Mya Scott - Serviced deal                         50567        7/2/2024 15:18
Saiph consulting|\Email Correspondence with   FW: New structured settlement origination and
LH\Paul Kosinski                              servicing                                             27111       1/17/2024 10:33
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              FW: Quick Follow Ups from Earlier                     26725       1/22/2024 14:18
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              FW: SPLCSS/Dorchester collateral findings             25434       8/19/2024 12:34
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              FW: Volans Payoff 07/2021                          9776472          3/6/2024 9:19
Saiph consulting|\Email Correspondence with   Please_DocuSign_Distribution_Agreement_-
LH\Paul Kosinski                              _20201120.pdf                                        714891       2/16/2024 16:11
Saiph consulting|\Email Correspondence with   Please_DocuSign_Distribution_Agreement_2020
LH\Paul Kosinski                              1231.pdf                                             938511       2/16/2024 16:14
Saiph consulting|\Email Correspondence with   Please_DocuSign_Distribution_Agreement_2021
LH\Paul Kosinski                              0326.pdf                                             986639       2/16/2024 16:16
Saiph consulting|\Email Correspondence with   Please_DocuSign_Payoff_and_Release_Agreeme
LH\Paul Kosinski                              nt_20210902.pdf                                      879285       2/16/2024 16:19
Saiph consulting|\Email Correspondence with   Please_DocuSign_SPLCSS_II_-_Assignment_-
LH\Paul Kosinski                              _20200602.pdf                                        642741       2/16/2024 16:06
Saiph consulting|\Email Correspondence with   Please_DocuSign_SPLCSS_II_-_Assignment_-
LH\Paul Kosinski                              _20200609.pdf                                        848891       2/16/2024 16:06




                                                             3372
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3374 of
                                       3467



               All Paths/Locations                            Unified Title                   File Size    Primary Date/Time
Saiph consulting|\Email Correspondence with   Please_DocuSign_Volans_-_Approved_Sale_II_-
LH\Paul Kosinski                              20200619.pdf                                     1438901        2/16/2024 16:07
Saiph consulting|\Email Correspondence with   Please_DocuSign_Volans_-_National_Founders_-
LH\Paul Kosinski                              20210720.pdf                                       342992       2/16/2024 16:17

Saiph consulting|\Email Correspondence with   SPLCSS II_Compliance_Report_20190731_Payoff
LH\Paul Kosinski                              and Release.pdf                                  1337343        2/16/2024 15:31
Saiph consulting|\Email Correspondence with   SPLCSS_II_Compliance_Report_20191227_Payoff
LH\Paul Kosinski                              and Release.pdf                                    801508       2/16/2024 15:22
Saiph consulting|\Email Correspondence with   LCP_Payoff and Release Documentation
LH\Paul Kosinski                              Request.xlsx                                        10360        2/20/2024 9:13
Saiph consulting|\Email Correspondence with   FW: [EXTERNAL]Re: Scott, Mya - Habitus /
LH\Paul Kosinski                              SuttonPark servicing / Shakima Dennis              141401        7/2/2024 15:18
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Fwd: Document Exceptions by Deal Source             49021        7/8/2024 10:14
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Missing Documents - All.xlsx                        32918        7/8/2024 10:09
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Fwd: Meeting on 5th and 6th Feb                     27070       1/26/2024 15:07
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Fwd: Meeting time in Vegas                       1529122         3/4/2024 13:02
Saiph consulting|\Email Correspondence with   2022 11_Rating US Structured Finance
LH\Paul Kosinski                              Transactions.pdf                                 1059248        11/7/2022 16:47
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Fwd: Notes in MPFin                                 77929       8/28/2024 17:25
Saiph consulting|\Email Correspondence with   Copy of Notes in MPFIN about Deals 8.28.24
LH\Paul Kosinski                              v2.xlsx                                             35835       8/28/2024 17:11
Saiph consulting|\Email Correspondence with   Fwd: See you soon: Kick Off SFVegas 2024 with
LH\Paul Kosinski                              Dentons                                             53493       2/25/2024 15:35
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Fwd: SFIG                                           19600        2/7/2024 14:49
Saiph consulting|\Email Correspondence with   Fwd: SPLCSS and Dorchester statements -
LH\Paul Kosinski                              01.31.24                                            15770         2/1/2024 7:25
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Fwd: Sutton Park - Servicing                     2464191        5/31/2024 19:24
Saiph consulting|\Email Correspondence with   Leadenhall Servicing Proposal- Saiph 5-31-24
LH\Paul Kosinski                              vFinal.pdf                                       1782030        5/31/2024 18:17
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Last Thing - Distribution Agreements             3630232         3/6/2024 13:11
Saiph consulting|\Email Correspondence with   Please_DocuSign_Distribution_Agreement_-
LH\Paul Kosinski                              _20201120.pdf                                      714891
Saiph consulting|\Email Correspondence with   Please_DocuSign_Distribution_Agreement_2020
LH\Paul Kosinski                              1231.pdf                                           938511
Saiph consulting|\Email Correspondence with   Please_DocuSign_Distribution_Agreement_2021
LH\Paul Kosinski                              0326.pdf                                           986639
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Accepted: LCP -SAIPH                                  5051      6/26/2023 12:07
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Leadenhall - B Riley - Saiph                        29631       5/21/2024 15:02



                                                             3373
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3375 of
                                       3467



               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Leadenhall - Paul                                      29633        6/3/2024 6:53
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Leadenhall - Sutton Cash discussion                    30088       5/30/2024 7:49
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Leadenhall access letter to B. Riley                  201240      5/21/2024 15:05
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Leadenhall - Access Letter (5_19_24).pdf              134578      5/19/2024 10:35
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Leadenhall VE                                       1546324       12/5/2023 13:25
Saiph consulting|\Email Correspondence with   Saiph-Leadenhall Consulting Agreement
LH\Paul Kosinski                              (Execution Version).pdf                             1127560       12/5/2023 13:24
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Leadenhall-Saiph                                       29594        2/5/2024 5:16
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Lunch Saiph Leadenhall                                 18152      8/20/2024 10:46
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Meeting follow-up                                   5416900        2/5/2024 13:56
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              DBRS SS Ratings Methodology Oct 2023.pdf               35549
Saiph consulting|\Email Correspondence with   Saiph Consulting_Leadenhall February 2024
LH\Paul Kosinski                              vLH.pdf                                             2924630        2/5/2024 13:28
Saiph consulting|\Email Correspondence with   US Operational Risk Assessment for ABS Servicers
LH\Paul Kosinski                              Final April 2021.pdf                                  501149      4/27/2021 16:02
Saiph consulting|\Email Correspondence with   US Operational Risk Assessment for ABS
LH\Paul Kosinski                              Originators Final April 2021.pdf                      440396      4/27/2021 16:00
                                              DBRS Morningstar Operational Review Agenda
Saiph consulting|\Email Correspondence with   for Structured Settlements Originators and
LH\Paul Kosinski                              Servicers Combined.docx                                44919      10/7/2020 12:22
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Missing Document Requests                              27700       7/1/2024 14:29
Saiph consulting|\Email Correspondence with   Document Exception List- JG (Dorchester) July
LH\Paul Kosinski                              2024.xlsx                                              11526       7/1/2024 14:28
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Missing SPLCSS/Dorchester Documents                    15094       1/17/2024 5:34
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Monday                                                275182      5/23/2024 14:20
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              MpFin Screengrabs                                      16110      2/16/2024 13:56
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Assignment and release documents                   55734       7/24/2024 5:01
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Backup Servicing Proposal                         209989       6/12/2023 6:36
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Binder review                                     134737      1/31/2024 14:39
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Case Types for Review                             100685       1/9/2024 20:57
Saiph consulting|\Email Correspondence with   Dorchester&SPLCSS Exceptions Report- LH 1-9-
LH\Paul Kosinski                              24.xlsx                                                19358       1/9/2024 20:50



                                                             3374
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3376 of
                                       3467



               All Paths/Locations                               Unified Title                      File Size   Primary Date/Time
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Re: Cash flow mechanics of Sutton Park collateral         10120       5/30/2024 7:42
Saiph consulting|\Email Correspondence with   RE: Chain of title analysis and summary report on
LH\Paul Kosinski                              receivables                                               36186       7/31/2024 9:06
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Re: Check in for Sunday AM                                19299      2/25/2024 10:02
Saiph consulting|\Email Correspondence with   RE: Collateral Diligence Requests and Employee
LH\Paul Kosinski                              List                                                      65627       5/9/2024 10:23
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Compliance reports- 2021 and 2022                     99347       7/2/2024 13:19
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Compliance reports                                    22196       12/4/2023 5:55
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Re: Connecting Saiph-Credigy                              36024      6/11/2024 21:10
Saiph consulting|\Email Correspondence with   Re: Deal IDs for receivables on each line as of EOY
LH\Paul Kosinski                              2023                                                      23770      8/23/2024 10:43
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Re: Delinquency Resolution Summary                        39648      8/12/2024 16:15
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Re: Dinner timing                                         22708      11/8/2023 18:36
Saiph consulting|\Email Correspondence with   Re: Dorchester and SPLCSS cash reconciliation
LH\Paul Kosinski                              analysis                                                  80725      7/25/2024 16:04
Saiph consulting|\Email Correspondence with   RE: Dorchester&SPLCSS Exceptions Report- LH 1-
LH\Paul Kosinski                              23-24.xlsx                                                77657       1/31/2024 3:09
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Re: DRB Weekly Meet                                    6535281       8/19/2024 16:09
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Follow-up from Monday's call                          40267       6/5/2024 11:46
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Introduction                                          28155      6/12/2024 11:56
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Investor question on market size                      33494      5/30/2024 13:59
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Re: Leadenhall - DRB - Saiph                              22272      8/12/2024 16:08
Saiph consulting|\Email Correspondence with   RE: Leadenhall - Sutton Park information requests
LH\Paul Kosinski                              and access rights                                         60669      5/23/2024 10:43
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Leadenhall AR Statement                               22926      1/31/2024 13:23
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Leadenhall Payoff and Release Agreements           3557789        6/3/2024 19:29
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Dorchester Assignment - 20210512 v2.docx.pdf             261919
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Dorchester Assignment - 20210519.docx.pdf                269412

Saiph consulting|\Email Correspondence with   777_Master_Agreement_-
LH\Paul Kosinski                              _Dorchester_Assignment_-_20210902.docx.pdf                44514
Saiph consulting|\Email Correspondence with   Payoff_and_Release_Agreement_(Dorchester)_-
LH\Paul Kosinski                              __9.2.21.docx.pdf                                        205759



                                                             3375
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3377 of
                                       3467



               All Paths/Locations                            Unified Title                    File Size   Primary Date/Time
Saiph consulting|\Email Correspondence with   777 Master Agreement - Dorchester Assignment -
LH\Paul Kosinski                              20210924.docx.pdf                                   142998
Saiph consulting|\Email Correspondence with   777 Master Agreement - Dorchester Assignment -
LH\Paul Kosinski                              20210927.docx.pdf                                   142596
Saiph consulting|\Email Correspondence with   777 Master Agreement - Dorchester Assignment -
LH\Paul Kosinski                              20210929.docx.pdf                                   137484
Saiph consulting|\Email Correspondence with   777 Master Agreement - Dorchester Assignment -
LH\Paul Kosinski                              20211230.pdf                                        147789
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              PayoffRelease.pdf                                   200548
Saiph consulting|\Email Correspondence with   777 Master Agreement - Dorchester Assignment -
LH\Paul Kosinski                              20220124.docx.pdf                                   141225
Saiph consulting|\Email Correspondence with   777 Master Agreement - Dorchester Assignment -
LH\Paul Kosinski                              20220125.docx.pdf                                   141617
Saiph consulting|\Email Correspondence with   777 Master Agreement - Dorchester Assignment -
LH\Paul Kosinski                              20220126.docx.pdf                                   141431
Saiph consulting|\Email Correspondence with   777 Master Agreement - Dorchester Assignment -
LH\Paul Kosinski                              20220225.docx.pdf                                   145181
Saiph consulting|\Email Correspondence with   777 Master Agreement - Dorchester Assignment -
LH\Paul Kosinski                              20220228.docx.pdf                                   145810
Saiph consulting|\Email Correspondence with   777 Master Agreement - Dorchester Assignment -
LH\Paul Kosinski                              20220317.docx.pdf                                   149036
Saiph consulting|\Email Correspondence with   777 Master Agreement - Dorchester Assignment -
LH\Paul Kosinski                              20220318.docx.pdf                                   149728
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Lunch/meeting on Thursday                        30964       8/21/2024 9:45
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Meeting Overrunning                              17675       4/25/2024 8:09
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Missing Documents from 777                       13400       2/14/2024 8:44
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: MPfin                                            87451       7/2/2024 12:52
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: NASP / ABS                                       21565      10/24/2023 3:45
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: NASP                                             26535       7/24/2023 5:52
Saiph consulting|\Email Correspondence with   RE: New structured settlement origination and
LH\Paul Kosinski                              servicing                                            24459       1/17/2024 9:40
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Re: Onsite and request                               47234       6/3/2024 16:20
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Outstanding requests                            103577      6/13/2024 16:21
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Payoff and release agreements needed             42663      6/18/2024 16:44
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Payoff Release Docs                             112208       7/2/2024 15:35
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              LCP_Documentation Request_v1 PK 7-2-24.xlsx          69415       7/2/2024 15:35




                                                               3376
 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3378 of
                                       3467



               All Paths/Locations                               Unified Title                  File Size    Primary Date/Time
Saiph consulting|\Email Correspondence with   Re: Questions for legal counsel on structured
LH\Paul Kosinski                              settlements                                           89941       9/17/2024 12:15
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Receivables & chain of title status               32432        3/18/2024 8:29
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Reschedule/postponement                           16954       5/24/2024 12:30
Saiph consulting|\Email Correspondence with   RE: Saiph-Leadenhall Consulting Agreement_LCP-
LH\Paul Kosinski                              05_24                                                 42794       6/28/2024 13:18
Saiph consulting|\Email Correspondence with   Re: Servicing Agreements / Reports / Receivable
LH\Paul Kosinski                              Files- Medicare & Med Liens                           12375      12/15/2023 16:45
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: SharePoint Uploads                                50927       2/22/2024 13:15
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Short call                                        17635       11/30/2023 7:48
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: SPLCSS & Dorchester doc review metrics            44310        7/1/2024 13:56
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Re: SPLCSS and Dorchester Audit results               23498       8/19/2024 12:44
Saiph consulting|\Email Correspondence with   Re: SPLCSS and Dorchester cash collection
LH\Paul Kosinski                              delinquencies                                         48714       7/25/2024 14:56
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Re: SPLCSS and Dorchester Open Invoices               54649        7/25/2024 7:42
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: SPLCSS and Dorchester statements - 01.31.24       91138       2/16/2024 13:37
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: SPLCSS Cash Question                           1723857         7/2/2024 13:17
Saiph consulting|\Email Correspondence with   RE: Structured documentation / process - DRAFT
LH\Paul Kosinski                              FOR LH - PK TO REVIEW                                 29779        4/22/2024 9:32
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Structured documentation / process                73179        4/23/2024 8:29
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Structured Settlement - Couple of Questions       58255       7/24/2024 13:40
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Re: Structured Settlements - Annuity Providers        94296        8/21/2024 9:02
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Sutton Park Diligence Agenda                      32144       8/21/2023 13:29
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Term Sheet- New Business                          43316        9/27/2024 5:55
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Re: Thanks                                              9623      6/26/2024 12:03
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Re: Thursday call                                     11954       9/25/2024 11:52
Saiph consulting|\Email Correspondence with   RE: Update on possible vacated orders /
LH\Paul Kosinski                              overturned cases                                      24319        6/11/2024 3:46
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Re: Vegas bike ride on Sunday morning                 46827       2/23/2024 16:59
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Re: Wells Fargo Update                               277182       6/24/2024 18:43




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Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Wilton Re LC Deal                                 20086       3/19/2024 15:11
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Re: [EXTERNAL]DRB - Leadenhall - Cash                 20871        8/9/2024 12:09
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: [EXTERNAL]update calls                            28581        8/12/2024 5:15
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              SAIPH - Leadenhall - B Riley                          29842       5/23/2024 13:10
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Accepted: Saiph-Leadenhall                              3401      6/16/2023 13:57
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Servicing Proposal                                 2057238        4/23/2024 14:49
Saiph consulting|\Email Correspondence with   Saiph Services_Leadenhall Servicing Proposal
LH\Paul Kosinski                              April 2024 vE.pdf                                  1494846        4/23/2024 14:42
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              SPLCSS/Dorchester collections                           6522       7/26/2024 9:03
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Structured Settlement/Annuity Facility Proposal      184759       1/18/2024 12:57
Saiph consulting|\Email Correspondence with   LH Origination Scenario Proposals- Jan 2024
LH\Paul Kosinski                              vLH.xlsx                                             123159       1/18/2024 12:20
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Sutton Park Due Diligence                             29595       5/21/2024 13:34
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Sutton / Wells Fargo                                  16276        5/17/2024 9:29
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              RE: Trip to London                                    25811       6/16/2023 13:48
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Update                                                10348       9/25/2023 11:22
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Updated Consulting Agr                                  1580      7/30/2024 13:52
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Visit w/c 24 June                                     18432        6/17/2024 6:44
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              Weekly Touch-Base: New Business                       17523       7/26/2024 10:14
Saiph consulting|\Email Correspondence with
LH\Paul Kosinski                              You've joined the SP - Leadenhall-Saiph group        656915      11/29/2023 14:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81643 Tomlinson, Minnie.xls                          121856       7/12/2024 13:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81644 Leach, Jayme.xls                                90624       7/12/2024 13:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81645 Steward, Jessica.xls                            95744       7/12/2024 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81646 Glover, Frankie.xls                             58368       7/12/2024 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81647 Jones, Duvaughn.xls                             59392       7/12/2024 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81648 Chavez, Vanessa.xls                            107520       7/12/2024 13:35




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81649 Symonds, Tera.xls                72704      7/12/2024 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81650 Hanitz, Keli.xls                 81408      7/12/2024 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81652 Eubanks, Tommie.xls             123392      7/12/2024 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81653 LaHocki, Cody.xls                91648      7/12/2024 13:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81654 Egelhoff, Anthony.xls           107520      7/12/2024 13:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81655 Campbell, Akeem.xls             107008      7/12/2024 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81656 Stewart, Jhousha.xls             90624      7/12/2024 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81659.xls                              91648      7/12/2024 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81660.xls                              65536      7/12/2024 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81661 Williams, Kaylla.xls            101888      7/12/2024 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81663 - Maersch, Stephen.xls           68608      7/12/2024 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81664 Sanders, Terrence.xls            75776      7/12/2024 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81665 -Herman, Cheryl.xls             107520      7/12/2024 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81666.xls                             155136      7/12/2024 12:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81667.xls                              75776      7/12/2024 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81668 Sanchez, Destiny.xls             94720      7/12/2024 12:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81669 - C. Miller.xls                  86016      7/12/2024 12:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81670 Oliver, Christopher.xls          91648      7/12/2024 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81671 Willis, Antonio.xls              75776      7/12/2024 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81672 Carpenter, Jeffrey.xls           69120      7/12/2024 12:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81673 Holbrook, Jay.xls                59392      7/12/2024 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81674 Atwell, Samantha.xls             78848      7/12/2024 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81675 Pool, Rolando.xls                68096      7/12/2024 12:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81676 - Keyajah McCall.xls             84992      7/12/2024 12:47




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81677 - Alvarez, Ernestina.xls         82944      7/10/2024 10:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81678.xls                              80896      7/12/2024 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81679 Waltz, Brittani.xls              65536      7/12/2024 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81691 Williams, Olivia.xls             74752      7/12/2024 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81696 - Lisa Carra.xls                 88576      7/12/2024 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81697 Shaheed, Hassan.xls              70144      7/12/2024 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81698 - Hoskins, Aaron.xls             70656      7/12/2024 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81699.xls                              74752      7/12/2024 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81702.xls                              76288      7/12/2024 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81704.xls                              94720      7/12/2024 12:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81705.xls                             104960      7/12/2024 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81708.xls                             104960      7/12/2024 12:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81709.xls                              62976      7/12/2024 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81712 Urisrte, Susan.xls              108032      7/12/2024 12:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81717.xls                              65536      7/12/2024 12:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81719.xls                             108032      7/12/2024 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81721 Broudrick, Chantail.xls          76288      7/12/2024 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81722 Davis, Angela.xls                74752      7/12/2024 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81724 Davis, Angela.xls                74752      7/12/2024 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81725 Gonzales, George.xls             73728      7/12/2024 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81726 Hamati-Sayegh, John.xls          78848      7/12/2024 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81736 Coberly, Samuel.xls              89088      7/12/2024 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81738 Barkowski, Cynthia.xls           59392      7/12/2024 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81739 Hamilton, Roshaunda.xls          60416      7/12/2024 12:01




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               All Paths/Locations                               Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81740 Potter, Lamar.xls                53248      7/12/2024 12:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81741 Kinert, Carla.xls                46080      7/12/2024 11:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81742 Foust, Walter.xls                95232      7/12/2024 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81746 Hernandez, Gilbert.xls           74752      7/12/2024 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81748 Shelton, Kardell.xls            110080      7/12/2024 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81749 Cunningham, Jason.xls           113664      7/12/2024 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81753 Curtis, Stacie.xls              110592      7/12/2024 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81755 Jordan, Eric.xls                 75776      7/12/2024 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81756 Santiago, Christian.xls          97792      7/12/2024 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81758 Armstead, Gregory.xls           105984      7/12/2024 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81760 Palomo, Alejandro.xls            82432      7/12/2024 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81766 Coleman, Pamela.xls              57344      7/12/2024 11:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81770 Marshall, Phyllis.xls           118272      7/12/2024 11:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81771 Senat, Matthew.xls              123904      7/12/2024 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81773 Gorham, Christy.xls              59392      7/12/2024 11:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81775 Heffelfinger, John.xls           80896      7/12/2024 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81776 Ashford, Sylvia.xls              58880      7/12/2024 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81777 Duncan, Tamara.xls               86528      7/12/2024 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81781 White, Leslie.xls                67584      7/12/2024 11:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81783 Thomas, Cedric.xls               62976      7/12/2024 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81790 Groven, Janet.xls                84480      7/12/2024 11:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81791 Holbrook, Jay.xls                59392      7/12/2024 11:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81793 Gray, Steven.xls                 77824      7/12/2024 11:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81795 Jones, David.xls                 77824      7/12/2024 11:14




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               All Paths/Locations                               Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81798 Flowers, Tammy.xls                              64000      7/12/2024 11:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81801 Bernal, Roberto.xls                             90624      7/12/2024 11:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81802 Sims, Tanisha.xls                              122880      7/12/2024 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81803 McCain, Alexander.xls                           76288      7/12/2024 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81804 Williams, Luther.xls                            61952      7/12/2024 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81805 Carpenter, Elsie.xls                            64512      7/12/2024 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81808 Harris, Kassim.xls                              86016      7/12/2024 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81814 Vilimek, Erik.xls                               83456      7/12/2024 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81822 Blumberg, David.xls                             74752      7/11/2024 10:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81826 Denico, Nicholas.xls                           108032      7/11/2024 10:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81828 Jeffery, Joanne.xls                             59904      7/11/2024 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Closing Binders\TValues\start      81829 Butler, Samantha.xls                           107520      7/11/2024 10:28
Saiph consulting|\Audit Materials Received-   Deal_Funding_Report_6_18_2024_12_53_27_P
SuttonPark\Deal Funding Report                M.xls buck dorchester.xlsm                            75647      6/18/2024 12:54
Saiph consulting|\Audit Materials Received-   Deal_Funding_Report_6_18_2024_12_54_40_P
SuttonPark\Deal Funding Report                M.xls SPLCSS.xlsm                                    449972       6/19/2024 8:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\2021 and 2022     Dorchester II Monthly Report - 20220930 (Draft)
Compliance Reports.zip\Dorchester             v3.xlsm                                            3879535        12/1/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\2021 and 2022     Dorchester II Monthly Report - 20221031
Compliance Reports.zip\Dorchester             (Final).xlsm                                       3883007       12/2/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\2021 and 2022     Dorchester II Monthly Report - 20221130
Compliance Reports.zip\Dorchester             (Final).xlsm                                       3816496       9/22/2023 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\2021 and 2022     Dorchester II Monthly Report - 20221230
Compliance Reports.zip\Dorchester             (Draft).xlsm                                       3813115         3/2/2023 5:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\2021 and 2022     SPLCSS III Monthly Report - 20210528 (Draft
Compliance Reports.zip\SPLCSS                 v2).xlsm                                          10430676         3/6/2024 6:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\2021 and 2022     SPLCSS III Monthly Report - 20210630 (Draft
Compliance Reports.zip\SPLCSS                 v1).xlsm                                          10812446         3/6/2024 6:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\2021 and 2022     SPLCSS III Monthly Report - 20210730 (Final
Compliance Reports.zip\SPLCSS                 v1).xlsm                                          10822399       8/26/2021 14:26



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               All Paths/Locations                              Unified Title                     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\2021 and 2022
Compliance Reports.zip\SPLCSS                 SPLCSS III Monthly Report - 20210831 (Final).xlsm   10923678        3/15/2024 6:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\2021 and 2022     SPLCSS III Monthly Report - 20210930 (Draft
Compliance Reports.zip\SPLCSS                 v4).xlsm                                            12014105        3/15/2024 6:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\2021 and 2022     SPLCSS III Monthly Report - 20211029 (Draft
Compliance Reports.zip\SPLCSS                 v2).xlsm                                            12029832        3/15/2024 6:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\2021 and 2022     SPLCSS III Monthly Report - 20211130 (Draft
Compliance Reports.zip\SPLCSS                 v2).xlsm                                            12006904        3/15/2024 6:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\2021 and 2022     SPLCSS III Monthly Report - 20211231 (Draft
Compliance Reports.zip\SPLCSS                 v6).xlsm                                            16907956       3/23/2023 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\2021 and 2022
Compliance Reports.zip\SPLCSS                 SPLCSS III Monthly Report - 20220131 (Final).xlsm   17653312       2/28/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\2021 and 2022     SPLCSS III Monthly Report - 20220228 (Final) v2
Compliance Reports.zip\SPLCSS                 (1).xlsm                                            16940743       3/23/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\2021 and 2022     SPLCSS III Monthly Report - 20220331 (Draft)
Compliance Reports.zip\SPLCSS                 v1.xlsm                                             16991442       3/23/2023 17:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\2021 and 2022     SPLCSS III Monthly Report - 20220429 (Draft)
Compliance Reports.zip\SPLCSS                 v1.xlsm                                             17618950       6/20/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\2021 and 2022     SPLCSS III Monthly Report - 20220531 (Draft)
Compliance Reports.zip\SPLCSS                 v1.xlsm                                             17674661       6/15/2022 18:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\2021 and 2022     SPLCSS III Monthly Report - 20220630 (Draft)
Compliance Reports.zip\SPLCSS                 (2).xlsm                                            17639319       3/23/2023 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\2021 and 2022     SPLCSS III Monthly Report - 20220729 (Draft)
Compliance Reports.zip\SPLCSS                 v2.xlsm                                             17599942        12/7/2022 6:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\2021 and 2022     SPLCSS III Monthly Report - 20220831 (Draft)
Compliance Reports.zip\SPLCSS                 v1.xlsm                                             17609535       9/23/2022 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\2021 and 2022     SPLCSS III Monthly Report - 20220930 (Pro-
Compliance Reports.zip\SPLCSS                 Forma) v5.xlsm                                      17687927       3/23/2023 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\2021 and 2022
Compliance Reports.zip\SPLCSS                 SPLCSS III Monthly Report - 20221130 (Final).xlsm   17942293       12/28/2022 6:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\2021 and 2022     SPLCSS III Pro-Forma Monthly Report - 20221230
Compliance Reports.zip\SPLCSS                 (Final).xlsm                                        18375080       9/21/2023 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2021   Dorchester Monthly Report 05.28.21 v1.xlsm           4039717       6/21/2021 18:02


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               All Paths/Locations                             Unified Title                   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2021   Dorchester Monthly Report 06.30.21 Final1.xlsm    4315245        7/23/2021 9:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2021   Dorchester Monthly Report 07.30.21 Final1.xlsm    4498987       8/23/2021 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2021   Dorchester Monthly Report 08.31.21 Final1.xlsm    4479182       9/28/2021 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2021   Dorchester Monthly Report 09.30.21 v1.xlsm        3926376      10/27/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2021   Dorchester Monthly Report 10.29.21 v1.xlsm        4025907       11/23/2021 6:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2021   Dorchester Monthly Report 11.30.21 v2.xlsm        3980661      12/28/2021 12:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2021   Dorchester Monthly Report 12.31.21 v1.xlsm        3647117       1/18/2022 11:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2022   Dorchester Monthly Report 01.31.22 v2.xlsm        3432097        9/22/2023 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2022   Dorchester Monthly Report 02.28.22 v1.xlsm        3367366       9/22/2023 10:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2022   Dorchester Monthly Report 03.31.22 Final2.xlsm    3791737        5/30/2024 6:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2022   Dorchester Monthly Report 04.29.22 v1.xlsm        3881132       9/22/2023 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2022   Dorchester Monthly Report 05.31.22 v1.xlsm        3905485       6/15/2022 16:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2022   Dorchester Monthly Report 06.30.22 v1.xlsm        3924184       7/14/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2022   Dorchester Monthly Report 07.29.22 v1.xlsm        3912378        8/15/2022 7:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2022   Dorchester Monthly Report 08.31.22 v3.1.xlsm      3749130       10/3/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2022   Dorchester Monthly Report 08.31.22 v3.xlsm        3749130       10/3/2022 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2022   Dorchester Monthly Report 09.30.22 v3.xlsm        3880235        12/1/2022 9:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2022   Dorchester Monthly Report 10.31.22 Final1.xlsm    3883007       12/2/2022 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2022   Dorchester Monthly Report 11.30.22 Final1.xlsm    3817196       9/22/2023 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2022   Dorchester Monthly Report 12.30.22 v1.xlsm        3813815         3/2/2023 5:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2023   Dorchester Monthly Report 03.31.23 Final.xlsm     3593903        1/8/2024 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2023   Dorchester Monthly Report 04.28.23 Final.xlsm     3571808        1/8/2024 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2023   Dorchester Monthly Report 05.31.23 Final.xlsm     3580180       1/24/2024 11:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2023   Dorchester Monthly Report 06.30.23 Final.xlsm     3634441       1/24/2024 11:16




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               All Paths/Locations                              Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2023   Dorchester Monthly Report 07.31.23 Final.xlsm    3601866       1/24/2024 11:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2023   Dorchester Monthly Report 08.31.23 Final.xlsm    3653211       1/24/2024 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2023   Dorchester Monthly Report 10.31.23 Final.xlsm    3674785       1/24/2024 11:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2023   Dorchester Monthly Report 11.30.23 Final.xlsm    3693504       1/24/2024 11:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2023   Dorchester Monthly Report 12.31.23 v1.xlsm       4158700       8/16/2024 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2023   DorchesterMonthly Report 09.29.23 Final.xlsm     3634793       1/24/2024 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2024   Dorchester Monthly Report 01.31.24 v1.xlsm       3689135       2/15/2024 10:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2024   Dorchester Monthly Report 02.29.24 v1.xlsm       3650829       3/26/2024 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2024   Dorchester Monthly Report 03.28.24 v1.xlsm       3589716       4/18/2024 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\Dorchester\2024   Dorchester Monthly Report 05.31.24 v1.xlsm       4081557       8/16/2024 13:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2021   SPLCSS Monthly Report 05.28.21 v1.xlsm          10430676         3/6/2024 6:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2021   SPLCSS Monthly Report 06.30.21 v1.xlsm          10812446         3/6/2024 6:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2021   SPLCSS Monthly Report 07.30.21 Final1.xlsm      10823099       8/26/2021 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2021   SPLCSS Monthly Report 08.31.21 Final1.xlsm      10926597        3/15/2024 6:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2021   SPLCSS Monthly Report 09.30.21 v4.xlsm          12017024        3/15/2024 6:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2021   SPLCSS Monthly Report 10.29.21 v2.xlsm          12032751        3/15/2024 6:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2021   SPLCSS Monthly Report 11.30.21 v2.xlsm          12009823        3/15/2024 6:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2021   SPLCSS Monthly Report 12.31.21 v6.xlsm          16908656       3/23/2023 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2022   SPLCSS Cash Reconciliation 03.31.23 v3.xlsm     65449824       4/27/2023 18:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2022   SPLCSS Cash Reconciliation 04.28.23 v1.xlsm     65477374       5/15/2023 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2022   SPLCSS Cash Reconciliation 05.31.23 v1.xlsm     66056145       7/11/2023 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2022   SPLCSS Monthly Report 01.31.22 Final.xlsm       17654012       2/28/2022 11:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2022   SPLCSS Monthly Report 02.28.22 Final2.xlsm      16941443       3/23/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2022   SPLCSS Monthly Report 03.31.22 v1.xlsm          16992142       3/23/2023 17:23




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               All Paths/Locations                              Unified Title                   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2022   SPLCSS Monthly Report 04.29.22 v1.xlsm            17619650       6/20/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2022   SPLCSS Monthly Report 05.31.22 v1.xlsm            17675361       6/15/2022 18:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2022   SPLCSS Monthly Report 06.30.22 v2.xlsm            17640019       3/23/2023 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2022   SPLCSS Monthly Report 07.29.22 v2.xlsm            17600642        12/7/2022 6:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2022   SPLCSS Monthly Report 08.31.22 v1.xlsm            17610235       9/23/2022 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2022   SPLCSS Monthly Report 09.30.22 v5.xlsm            17688627       3/23/2023 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2022   SPLCSS Monthly Report 11.30.22 Final1.xlsm        17942993       12/28/2022 6:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2022   SPLCSS Monthly Report 12.30.22 Final1.xlsm        18375780       9/21/2023 10:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2023   SPLCSS Cash Reconciliation 06.30.23 v1.xlsm       66133367       7/25/2023 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2023   SPLCSS Cash Reconciliation 07.31.23 v1.xlsm       66275175       8/22/2023 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2023   SPLCSS Cash Reconciliation 08.31.23 Final1.xlsm   67101541       9/27/2023 11:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2023   SPLCSS Cash Reconciliation 09.30.23 Final1.xlsm   67500227      10/31/2023 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2023   SPLCSS Cash Reconciliation 10.31.23 v2.xlsm       67750348      12/19/2023 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2023   SPLCSS Cash Reconciliation 11.30.23 Final.xlsm    68004766        1/6/2024 15:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2023   SPLCSS Cash Reconciliation 12.31.23 v1.xlsm       67874861        1/9/2024 13:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2023   SPLCSS Monthly Report 01.31.23 v1.xlsm            15997916       2/19/2024 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2023   SPLCSS Monthly Report 03.31.23 Final1.xlsm        15567104         1/8/2024 9:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2023   SPLCSS Monthly Report 04.28.23 Final1.xlsm        15435301       1/23/2024 11:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2023   SPLCSS Monthly Report 05.31.23 v1.xlsm            15405951       1/23/2024 11:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2023   SPLCSS Monthly Report 06.30.23 v1.xlsm            15409905       1/23/2024 11:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2023   SPLCSS Monthly Report 07.31.23 Final1.xlsm        15729307       1/23/2024 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2023   SPLCSS Monthly Report 08.31.23 Final1.xlsm        15913512       1/23/2024 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2023   SPLCSS Monthly Report 09.30.23 v1.xlsm            15727403       8/22/2024 18:01
Saiph consulting|\Audit Materials Received-   SPLCSS Monthly Report 10.31.23 Final1 Acc
SuttonPark\Facility Reports\SPLCSS III\2023   Version Prob.xlsm                                 15850584       8/16/2024 13:05




                                                            3386
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                                       3467



                All Paths/Locations                              Unified Title                   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-     SPLCSS Monthly Report 11.30.23 v1 Acc Version
SuttonPark\Facility Reports\SPLCSS III\2023     Prob.xlsm                                        15994274       8/16/2024 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2023     SPLCSS Monthly Report 12.31.23 v3.xlsm           15992659       8/16/2024 10:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS
III\2023\Starting Reports We Based Our Review   SPLCSS III Pro-Forma Monthly Report_Draft
On                                              Removals_20231121_v2 - see links.xlsm            15863822       2/16/2024 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS
III\2023\Starting Reports We Based Our Review   SPLCSS III Pro-Forma Monthly Report_Draft
On                                              Removals_20231121_v2.xlsm                        15857981       8/16/2024 13:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2024     SPLCSS Cash Reconciliation 01.31.24 v2.xlsm      68262952       2/19/2024 10:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2024     SPLCSS Cash Reconciliation 02.29.24 v1.xlsm      68546285       3/22/2024 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2024     SPLCSS Cash Reconciliation 03.28.24 v1.xlsm      66370444       4/18/2024 15:17
Saiph consulting|\Audit Materials Received-     SPLCSS III Pro-Forma Monthly Report -5.31.2024
SuttonPark\Facility Reports\SPLCSS III\2024     (Final).xlsm                                     15847022        9/3/2024 10:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2024     SPLCSS Monthly Report 02.29.24 v4.xlsm           15955277        3/28/2024 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Facility Reports\SPLCSS III\2024     SPLCSS Monthly Report 03.28.24 v1.xlsm           15855429        9/3/2024 10:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Leadenhall Delinquency PoP - 30+     22715- 882333_item-21_9381287-21-846.92
Days                                            USD.pdf                                             140101      12/8/2023 10:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Leadenhall Delinquency PoP - 30+
Days                                            3827- 895825_BOI Nov23.pdf                           50587       1/9/2024 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Leadenhall Delinquency PoP - 30+
Days                                            56580- 897347_Vida 1-16-2024.pdf                     72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Leadenhall Delinquency PoP - 30+
Days                                            56629- 897253_Vida 1-16-2024.pdf                     72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Leadenhall Delinquency PoP - 30+
Days                                            56641- 897749_Vida 1-16-2024.pdf                     72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Leadenhall Delinquency PoP - 30+
Days                                            56770- 897784_Vida 1-16-2024.pdf                     72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Leadenhall Delinquency PoP - 30+
Days                                            56846- 897679_Vida 1-16-2024.pdf                     72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Leadenhall Delinquency PoP - 30+
Days                                            56905- 897293_Vida 1-16-2024.pdf                     72527       1/16/2024 9:19




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               All Paths/Locations                              Unified Title                   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Leadenhall Delinquency PoP - 30+
Days                                          57159- 897453_Vida 1-16-2024.pdf                      72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Leadenhall Delinquency PoP - 30+
Days                                          64208- 897337_Vida 1-16-2024.pdf                      72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Leadenhall Delinquency PoP - 30+
Days                                          64272- 902781_Vida 1-29-2024.pdf                      49667      1/29/2024 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Leadenhall Delinquency PoP - 30+
Days                                          64331- 897571_Vida 1-16-2024.pdf                      72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Leadenhall Delinquency PoP - 30+
Days                                          64343- 902796_Vida 1-29-2024.pdf                      49667      1/29/2024 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Leadenhall Delinquency PoP - 30+
Days                                          64371- 902801_Vida 1-29-2024.pdf                      49667      1/29/2024 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Leadenhall Delinquency PoP - 30+
Days                                          64881- 897548_Vida 1-16-2024.pdf                      72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Leadenhall Delinquency PoP - 30+
Days                                          64891- 902813_Vida 1-29-2024.pdf                      49667      1/29/2024 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Leadenhall Delinquency PoP - 30+
Days                                          64945- 902815_Vida 1-29-2024.pdf                      49667      1/29/2024 13:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Leadenhall Delinquency PoP - 30+
Days                                          65009- 897480_Vida 1-16-2024.pdf                      72527       1/16/2024 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Leadenhall Delinquency PoP - 30+   72950- 640418_Goldstar Lockbox Postings dor 6
Days                                          1 2022.pdf                                         1006478        6/6/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Leadenhall Delinquency PoP - 30+
Days                                          78492- 899942_GoldStar 01182024.pdf                  103557      1/18/2024 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Leadenhall Delinquency PoP - 30+
Days                                          79094- 894279_Collections by Securitization.pdf       31605        1/5/2024 7:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Leadenhall Delinquency PoP - 30+
Days                                          79095- 893629_Collections by Securitization.pdf       28963        1/4/2024 7:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Leadenhall Delinquency PoP - 30+
Days                                          79098- 895374_Collections by Securitization.pdf       31952        1/9/2024 7:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Leadenhall Delinquency PoP - 30+
Days                                          79104- 882205_Collections by Securitization.pdf       31102       12/8/2023 7:37




                                                            3388
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                                       3467



               All Paths/Locations                               Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Acknowledgement.pdf                                 83114      7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Advance repayment.pdf                              364570      7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Affidavit in lieu of Settlement Agreement.pdf      162362      7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Affidavit of service.pdf                           583157      7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Annuity Contract.pdf                             1236421       7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Application.pdf                                    129591      7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Bankruptcy search.pdf                              132633      7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Closing Book (pt 1) - York.pdf                   4899959       7/14/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Closing Book (pt 2) - York.pdf                   5686100       7/14/2021 12:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Court Order 58003278.pdf                           231471      12/4/2008 12:58



                                                              3389
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               All Paths/Locations                                  Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Disclosure - SC.pdf                                 327925      7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Disclosure - VA.pdf                                 322623      7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Genworth Life Reconfig Letter up04-11-2022.pdf      476916      4/11/2022 11:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Genworth Redirection Letter.pdf                      47802      10/2/2013 14:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Independent Professional Advice .pdf                 66144      7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Irr. Designation.pdf                                 41329      7/14/2021 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Lien search.pdf                                     198911      7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Party information.pdf                                62926      7/14/2021 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Pleadings.pdf                                     4580100       7/14/2021 13:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Purchase Agreement.pdf                            1023337       7/14/2021 13:20



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               All Paths/Locations                                   Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Qualified Assignment.pdf                           312977      7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Redirection Confirmation New up07-27-2022.pdf      481472      7/26/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Seller Affidavit.pdf                               372906      7/14/2021 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Statement of Dependents.pdf                         60713      7/14/2021 13:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               Supplemental Declaration.pdf                       398778      7/14/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\3794                               UCC search.pdf                                     232365      7/14/2021 13:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\66001                              66001 Combined Docs.pdf                         12541675       3/16/2021 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\66001                              Acknowledgment.pdf                                  35496      3/19/2021 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\66001                              Annuity Cert.pdf                                 2703631       3/19/2021 15:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\66001                              Assignment.pdf                                   3050293       3/19/2021 15:46



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               All Paths/Locations                                Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\66001                              Court Order.pdf                           2782976       3/19/2021 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\66001                              Purchase Agreement.pdf                   11820408       3/19/2021 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\66001                              Request to change assignee address.pdf    2861537       3/19/2021 15:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\67542                              01Application.pdf                           199211       4/5/2016 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\67542                              01Bankruptcy.pdf                             20492     11/22/2023 12:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\67542                              01Disclosure Statement.pdf                  115173       4/5/2016 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\67542                              01Divorce Decree.pdf                        428159       4/5/2016 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\67542                              105256.pdf                                  258176      4/29/2021 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\67542                              67542 Acknowledgement.pdf                    45364     11/22/2023 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\67542                              67542 Amended Purchase Agreement.pdf          131814       4/5/2016 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\67542                              67542 Annuity Policy.pdf                      583098       4/5/2016 15:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       67542 Exceptions - Combined Docs - 2-22-
11.22.2023\67542                              2022.pdf                                    1166743       2/22/2022 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\67542                              Bankruptcy.pdf                                 46353      3/14/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\67542                              Court Order.pdf                               247283       5/27/2021 9:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\67542                              Credit Report.pdf                             308067      3/14/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69608                              110743.pdf                                 12452973       12/27/2017 5:08



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               All Paths/Locations                                Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69608                              69608 Annuity Contract Declaration.pdf        733114     11/22/2023 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       69608 Exceptions - Combined Docs - 2-22-
11.22.2023\69608                              2022.pdf                                    8649351       2/22/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69608                              69608 GA ID.pdf                               100715     11/22/2023 12:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69608                              Disclosure - CO.pdf                         2305431       6/25/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69608                              Disclosure - GA.pdf                         2393284       6/25/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69608                              Sale Agreement.pdf                          7370764       6/25/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69608                              Waiver of IPA.pdf                             379077      6/25/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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               All Paths/Locations                                  Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69673                              69673 Acknowledgment.pdf                      520551     11/22/2023 12:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       69673 Exceptions - Combined Docs - 2-22-
11.22.2023\69673                              2022.pdf                                      570938      2/22/2022 16:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69673                              Benefits Letter.pdf                            31349      6/24/2021 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69673                              Court Order.pdf                               462083      6/24/2021 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69673                              Credit Report.pdf                           6263439       6/24/2021 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69673                              Disclosure - TX.pdf                           109914      6/24/2021 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69673                              IPA waiver.pdf                                 36465      6/24/2021 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69673                              Purchase Agreement.pdf                        488936      6/24/2021 13:53
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69673                              Request For Acknowledgement.pdf               465766      6/24/2021 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69673                              Searches.pdf                                  455469      6/24/2021 13:53



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69673                              Seller Identification.pdf                117467      6/24/2021 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69673                              Settlement Agreement.pdf                 258907      6/24/2021 13:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69730                              111550.pdf                            19108480        2/1/2018 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69730                              image001.png                              41050
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69730                              Annuity Contract.pdf                      65944        6/1/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69730                              Bankruptcy Search.pdf                    156236        6/1/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69730                              Benefits Letter.pdf                       19331        6/1/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69730                              Court Order.pdf                        4392226         6/1/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69730                              Credit Report.pdf                      3090315         6/1/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69730                              Disclosure - IL.pdf                      763205        6/1/2021 9:58



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3398 of
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               All Paths/Locations                                   Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69730                              Disclosure - TX.pdf                       815729        6/1/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69730                              NASP Search.pdf                           388313        6/1/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69730                              image001.png                               41050
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69730                              Passport.pdf                            4564998         6/1/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69730                              Purchase Agreement.pdf                  2589317         6/1/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69730                              Seller Affidavit.pdf                      549217        6/1/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69730                              Seller Identification.pdf                  42533        6/1/2021 9:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69730                              SSN Verification Michael Briseno.pdf      165875     11/17/2021 14:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\69730                              Waiver of IPA.pdf                         107489        6/1/2021 9:58



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\70582                              Acknowledgment.pdf                       48388      9/14/2021 15:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\70582                              Annuity Contract.pdf                    508369       8/6/2021 13:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\70582                              Closing Binder.pdf                    1833306       9/14/2021 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\70582                              Court Order.pdf                         464552      9/14/2021 15:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\70582                              Disclosure.pdf                          150250      7/20/2021 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\70582                              FG Redirection Letter - Fax.pdf         119098       2/6/2023 11:34
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\70582                              Receivable Purchase and Sale Agreement.pdf       808583      9/14/2021 15:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\70582                              Settlement Agreement partial.pdf                 445857      9/14/2021 15:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\70582                              UCC Search.pdf                                   124149      9/14/2021 14:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71049                              Annuity Contract Affidavit.pdf                   303926      2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71049                              Application.pdf                                  124398      2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Assignment Income Stream to Allison Romberg
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -       Assignment Yellow Diamond to Income
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71049                              Benefits Letter.pdf                               26116      2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71049                              Closing Binder.pdf                             7677291       2/22/2022 11:37



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SuttonPark\Missing Documents
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11.22.2023\71049                              Court Order.pdf                                   224390      2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71049                              Credit Report.pdf                               2734691       2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Direction of Payments to Allison Romberg
11.22.2023\71049                              Trust.pdf                                         306570      2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71049                              Disclosure - CA.pdf                               317046      2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71049                              Disclosure - VA.pdf                               168020      2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71049                              Drivers License.pdf                                50703      2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71049                              Purchase Agreement.pdf                          1814703       2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71049                              Qualified Assignment Affidavit.pdf                303769      2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71049                              Redirection Confirmation New 71049.pdf            249674      6/13/2023 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71049                              Redirection Reconfiguration RESENT 71049.pdf    1100628       6/12/2023 15:45



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               All Paths/Locations                                   Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71049                              Change of Address Policy No K3900081.pdf      196551      6/12/2023 15:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71049                              Request for Change of Beneficiary.pdf          28593      2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71049                              Searches.pdf                                  348874      2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71049                              Seller Affidavit.pdf                           76615      2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71049                              Settlement Agreement Affidavit.pdf            305505      2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71049                              Social Security Card.pdf                       51109      2/22/2022 11:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71077                              71077 Combined Docs - 1-03-2022.pdf         5621558        1/3/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71077                              Acknowledgment from Genworth .pdf              42792      1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71077                              Annuity Check Stub.pdf                         15813      1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71077                              Annuity Contract.pdf                          243765      1/14/2022 16:01



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               All Paths/Locations                                 Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71077                              Application.pdf                                   110225      1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Assignment Income Stream to Nancy and
11.22.2023\71077                              Ruggiero.pdf                                      197210      1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71077                              Assignment R and P to Settlement Capital.pdf      120153      1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Assignment Settlement Capital to Income
11.22.2023\71077                              Stream.pdf                                         19597      1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71077                              Closing Binder.pdf                              5625566       1/14/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71077                              Garnishment Order.pdf                             287532      1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71077                              Letter Agreeing to Terms.pdf                       59566      1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71077                              Partial Qualified Assignment.pdf                   20838      1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71077                              Power of Attorney.pdf                              97826      1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71077                              Purchase Agreement.pdf                          1139591       1/14/2022 16:01



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               All Paths/Locations                               Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71077                              Servicing Agreement 2022.pdf           1077438       3/24/2022 12:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71077                              Servicing Agreement.pdf                2143484       1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71077                              Settlement Agreement.pdf                 307739      1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71077                              Testamentary Agreement.pdf                62345      1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71077                              UCC Filing.pdf                            85310      1/14/2022 16:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71089                              71089 Combined Docs - 1-03-2022.pdf    3935471        1/3/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71089                              Acknowledgment.pdf                        24617      1/26/2022 19:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71089                              Annuity Contract.pdf                     231786      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71089                              Application.pdf                           94205      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71089                              Assignment Goldstar to Sutton.pdf      1428657       1/14/2022 16:28



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               All Paths/Locations                                 Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71089                              Assignment Income Stream to Lovelady.pdf       15672      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71089                              Assignment Stratcap to Income Stream.pdf       17250      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71089                              Authorization to Release.pdf                   18301      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71089                              Closing Binder.pdf                          3935471        1/3/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71089                              Court Order.pdf                               121597      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71089                              Credit Report.pdf                              89733      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71089                              Disclosure - MT.pdf                            71473      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71089                              Drivers License.pdf                           192089      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71089                              Proof of Email 71089.pdf                      713461      12/8/2022 11:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71089                              Redirection Reconfiguration 74376.pdf         127309       12/8/2022 9:01



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               All Paths/Locations                              Unified Title          File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\71089                              Redirection Reconfiguration 71089.pdf        69589       12/8/2022 9:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71089                              Redirection Reconfiguration 74135.pdf        69643       12/8/2022 8:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71089                              StratCap Corporate Resolution 2022.pdf      440291     10/12/2022 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71089                              Purchase Agreement.pdf                      708801      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71089                              Redirection Confirmation New 71089.pdf      188691     12/16/2022 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71089                              Redirection Reconfiguration 71089.pdf        69589       12/8/2022 9:00
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71089                              Request for Acknowledgment.pdf              188284      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71089                              Request for Change of Beneficiary.pdf        17851      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71089                              Searches.pdf                                512956      1/14/2022 16:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71091                              71091 Combined Docs - 1-03-2022.pdf       5729916        1/3/2022 13:04



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71091                              Acknowledgment.pdf                            126388      1/26/2022 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71091                              Annuity Contract.pdf                        1354688       1/14/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71091                              Application.pdf                                95245      1/14/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71091                              Assignment Income Stream to McGinty.pdf        15991      1/14/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71091                              Assignment StratCap to Income Stream.pdf       17499      1/14/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71091                              Authorization to Release.pdf                   36113      1/14/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71091                              Closing Binder.pdf                          5733950       1/14/2022 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71091                              Court order.pdf                             1562035       1/14/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71091                              Credit Report.pdf                              21825      1/14/2022 16:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71091                              Disclosure - TX.pdf                            74365      1/14/2022 16:47



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71091                              Drivers License.pdf                        725477      1/14/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71091                              Purchase Agreement.pdf                     722705      1/14/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71091                              Request for Acknowledgment.pdf             532698      1/14/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71091                              Request for Change of Beneficiary.pdf       34653      1/14/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71091                              Searches.pdf                               467310      1/14/2022 16:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71091                              Servicing Agreement 2022.pdf             1675168       3/24/2022 11:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71104                              71104 Combined Docs - 1-03-2022.pdf      5558529        1/3/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71104                              Acknowledgement.pdf                         35304      1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71104                              Annuity Contract.pdf                       269123      1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71104                              Application.pdf                            177292      1/14/2022 17:11



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               All Paths/Locations                                 Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71104                              Assignment Income Stream to Maiorca.pdf      150993      1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71104                              Assignment to Income Stream.pdf              563780      1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71104                              Benefits Letter.pdf                          307799      1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71104                              Closing Binder.pdf                         5558529        1/3/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023\71104                              Court Order.pdf                              560777      1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71104                              Credit Report.pdf                            186595      1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71104                              Disclosure - CA.pdf                          149727      1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71104                              Disclosure - VA.pdf                          115019      1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71104                              DocuSign Certificate.pdf                      42205      1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71104                              Purchase Agreement.pdf                        384277      1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71104                              Request for Change of Beneficiary.pdf          30973      1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71104                              Searches.pdf                                1210838       1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71104                              Servicing Agreement 2022.pdf                1126355       3/24/2022 12:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71104                              Settlement Agreement Affidavit.pdf             47977      1/14/2022 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71115                              600586 - Richard Bryant Reassignment.pdf      638242       5/5/2022 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71115                              71115 Combined Docs - 1-03-2022.pdf         3233936        1/3/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71115                              Acknowledgment.pdf                             22317      1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71115                              Application.pdf                                87844      1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71115                              Assignment to Clarke Trust.pdf                217716      1/14/2022 17:30



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71115                              Assignment to Income Stream.pdf           22209      1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71115                              Benefits Letter.pdf                       58979      1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71115                              Closing Binder.pdf                     3238164       1/14/2022 17:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71115                              Court Order.pdf                           69052      1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71115                              Credit Report.pdf                        191040      1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71115                              Disclosure - TX amended.pdf               73956      1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71115                              Disclosure - TX.pdf                       59806      1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71115                              Drivers License.pdf                      129561      1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71115                              Notice of Hearing and POS.pdf            419948      1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71115                              Purchase Agreement.pdf                   439678      1/14/2022 17:30



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               All Paths/Locations                              Unified Title         File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71115                              Request for Change of Beneficiary.pdf         7434      1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71115                              Searches.pdf                               155524       1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71115                              Servicing Agreement 2022.pdf             1158907        3/24/2022 11:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71115                              Servicing Agreement.pdf                    584417       1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71115                              Settlement Agreement.pdf                   103094       1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71115                              Social Security Card.pdf                   129413       1/14/2022 17:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71127                              71127 Combined Docs - 1-03-2022.pdf     14848841         1/3/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71127                              Acknowledgement.pdf                         88639       1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71127                              Application.pdf                            272256       1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71127                              Assignment to Income.pdf                    17497       1/14/2022 18:06



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71127                              Assignment to Osterman.pdf               15989      1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71127                              Assignment to Patil.pdf                  31975      1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71127                              Assignment to StratCap.pdf               14664      1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71127                              Assignment to Sutton.pdf                320696      1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71127                              Benefits Letter.pdf                     189608      1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71127                              Closing Binder.pdf                   14848841        1/3/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71127                              Court Order.pdf                         608854      1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71127                              Disclosure - DE.pdf                   1733427       1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71127                              Disclosure - GA.pdf                   1707510       1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71127                              Drivers License.pdf                     105922      1/14/2022 18:06



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               All Paths/Locations                                   Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71127                              Letters of Administration.pdf                      2277139       1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71127                              Purchase Agreement.pdf                             1066976       1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71127                              Request for Change of Beneficiary.pdf                 47463      1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71127                              Searches.pdf                                       4322800       1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71127                              Seller Affidavit.pdf                               1944916       1/14/2022 18:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Affidavit.pdf                                         55979      8/18/2021 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Amended Disclosure - Proof of Hand Delivery.pdf       22282     10/25/2021 11:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Annuity Contract.PDF                                 338366      9/29/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Application.pdf                                      132017      8/18/2021 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Assignment.pdf                                       172892      1/24/2022 14:20



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               All Paths/Locations                                 Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Authorization to Release Information.pdf       33463      8/18/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Benefits Letter.pdf                            30262      9/29/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\71232                              Change of Bene Request.pdf                     29832      8/18/2021 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\71232                              Closing Binder.pdf                          9591128       9/29/2021 17:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Closing Statement - E-SIGN.pdf                158128      1/12/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Closing Statement - Revised.pdf               278066     11/22/2023 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Court Order - Amended.pdf                     188790      1/24/2022 12:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Court order.pdf                               268600      1/18/2022 13:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Credit Report - Updated.pdf                   343821      1/12/2022 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Credit Report.pdf                           1719867       8/18/2021 13:09



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               All Paths/Locations                              Unified Title                      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Disclosure IA - Increased PP 1-11-22.pdf                123280      1/12/2022 12:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Disclosure MN - Increased PP 10-22-21.pdf               138205      1/12/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Disclosure - MN.pdf                                      60370      8/18/2021 16:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Disclosure - Proof of Hand Delivery.pdf                  37209      8/18/2021 17:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Disclosure - WA.pdf                                      64697      8/18/2021 17:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Disclosure IA - Increased PP 10-22-21.pdf               113197     10/25/2021 11:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Disclosure MN - Increased PP 10-22-21.pdf               103421     10/25/2021 11:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       E-Sign Certificate - Closing Statement and Revised
11.22.2023\71232                              Terms.pdf                                                46153      1/12/2022 13:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              E-Sign Certificate - Closing Statement Revised.pdf       37934     11/22/2023 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              OAMC docket.pdf                                         208156      8/18/2021 16:49



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               All Paths/Locations                               Unified Title                 File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              OAMC.pdf                                            675850      8/30/2021 17:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Pleadings.pdf                                     1069327      10/26/2021 12:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Purchase Agreement - Increased PP 10-22-21.pdf      359829     10/26/2021 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Purchase Agreement.pdf                              250981      9/29/2021 18:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Qualified Assignment.pdf                            365481      8/18/2021 16:50
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Searches - Updated.pdf                              496476      1/12/2022 12:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Searches.pdf                                      1961188       8/18/2021 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Seller Identification.pdf                            23848      9/29/2021 17:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Settlement Agreement.pdf                            268902      1/12/2012 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              SSC.pdf                                              29627      9/29/2021 17:29



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               All Paths/Locations                                  Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Stipulation.pdf                             409273      1/12/2022 13:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71232                              Terms Rider - Increased PP 1-11-22.pdf       64101      1/12/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71284                              Amended Order.pdf                           421147      3/22/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71284                              Annuity Contract.pdf                        112777       9/3/2021 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71284                              Application.pdf                             180091       9/3/2021 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71284                              Benefits Letter OLD.pdf                   3240746       4/14/2021 11:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71284                              BK Search.pdf                                49696       9/3/2021 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71284                              Collateral File.pdf                       3624065      11/22/2023 12:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71284                              Credit Report.pdf                            53964       9/3/2021 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71284                              Declaration in Lieu of SA.pdf               119352       9/3/2021 12:04



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71284                              Disclosure MI.pdf                       91066       9/3/2021 12:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71284                              Disclosure TX.pdf                       91214       9/3/2021 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71284                              Identification Card.pdf                240391       9/3/2021 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71284                              NOA.pdf                                111874      3/23/2022 13:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71284                              Notarized Auth.pdf                      68815      7/27/2021 12:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71284                              Searches.pdf                           241360       9/3/2021 12:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71284                              SS Card.pdf                            552205       9/3/2021 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71284                              Summary62B8.pdf                        188154      7/21/2021 17:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71387                              6A56.pdf                                84200      10/4/2021 21:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71387                              Application.pdf                      1521544       10/4/2021 21:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71387                              Assignment BTG to STJ.pdf              111702      10/4/2021 21:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71387                              Assignment Sempra to BTG.pdf           106778      10/4/2021 21:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71387                              Authorization.pdf                      460449      10/4/2021 21:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71387                              Benefits Letter.pdf                    210949      10/4/2021 21:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71387                              Closing Book - Arla Foster.pdf       4594865       10/1/2021 13:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71387                              COB Request.pdf                        139616      10/4/2021 21:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\71387                              Court Order.pdf                        202788      10/4/2021 21:06



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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71387                              Credit.pdf                              197709      10/4/2021 21:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71387                              Declaration.pdf                         156780      10/4/2021 21:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71387                              Disclosure Affidavit.pdf                228044      10/4/2021 21:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71387                              Judgement and Order.pdf                 245592      10/4/2021 21:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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11.22.2023\71387                              Purchase Agreement.pdf                           3754033       10/4/2021 21:24
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71387                              Searches.pdf                                       549396      10/4/2021 21:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71466                              Acknowledgement.pdf                                 57836      10/4/2021 11:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71466                              Affidavit in Lieu of Settlement Agreement.pdf      131223       9/7/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71466                              Application.pdf                                     87322       9/7/2021 16:25
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\71466                              Assignment.pdf                                     218665      9/14/2021 16:37
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71466                              Authorizations.pdf                                  26085       9/7/2021 16:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71466                              Bankruptcy Search.pdf                              455541       9/7/2021 16:25



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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71466                              Benefits Letter.pdf                       81966      9/10/2021 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71466                              Court Order.pdf                        1049889       9/14/2021 13:20
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71466                              Credit Report.pdf                         64810       9/2/2021 11:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71466                              Disclosure - NY.pdf                       40971       9/7/2021 16:24
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71466                              Disclosure - TX.pdf                       33831       9/7/2021 16:25
Saiph consulting|\Audit Materials Received-
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11.22.2023\71466                              Disclosure - VA.pdf                       36735       9/7/2021 16:25
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71466                              Purchase Agreement.pdf                            493891       9/7/2021 16:25
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71466                              Santos Closing Binder.pdf                      30972015        9/7/2021 15:50
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71466                              Social Security Card.pdf                          934702       9/7/2021 16:25
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71586                              Acknowledgment.pdf                                 27781      10/21/2021 8:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71586                              Affidavit.pdf                                     216412      9/13/2021 10:09
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71586                              Benefits Letter.pdf                         27349       9/9/2021 14:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71586                              Court Order.pdf                            202376       9/9/2021 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71586                              Credit Report.pdf                          404061       9/9/2021 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71586                              Disclosure AR.pdf                          219138      9/13/2021 10:08
Saiph consulting|\Audit Materials Received-
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11.22.2023\71586                              Disclosure VA.pdf                          256688      9/13/2021 10:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71586                              Social Security Card.pdf             2437320       9/13/2021 10:10
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71586                              UCC.pdf                                 23553     11/22/2023 12:25
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11.22.2023\71680                              Acknowledgment.pdf                     219362      9/29/2021 11:30
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71680                              Assignment.pdf                          25286       9/14/2021 9:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71680                              Authorization for Deductions.pdf        46716      9/13/2021 14:32
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71680                              Benefits Letter.pdf                  1267515       9/13/2021 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023\71680                              Certification.pdf                      117084      9/13/2021 14:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71680                              Closing Book - Courtney Hines.pdf    7819810       9/13/2021 10:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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11.22.2023\71680                              Court Order.pdf                                     203702      9/13/2021 12:18
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71680                              Disclosure AL.pdf                                    37608      9/13/2021 14:27
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71680                              NASP Search.pdf                                     147565      9/13/2021 14:32
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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11.22.2023\71680                              Redirection Confirmation New up07-27-2022.pdf      481472      7/26/2022 16:18
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71680                              Searches.pdf                                        58748      9/13/2021 14:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71680                              Settlement Agreement.pdf                           246137      9/13/2021 14:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71680                              Social Security Card.pdf                           311444      9/13/2021 14:26
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023\71738                              Affidavit of Lieu of SA.pdf                        112332      9/16/2021 18:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71738                              Annuity Contract.pdf                               173452      9/16/2021 17:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71738                              Application.pdf                                    173110       9/2/2021 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71738                              Assignment.pdf                                     163986      9/28/2021 14:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71738                              Credit Report.pdf                            35665       9/2/2021 16:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71738                              Declaration.pdf                             174964      9/16/2021 18:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71738                              Disclosure FL.pdf                           153279      9/16/2021 18:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71738                              Disclosure NJ.pdf                           139275      9/16/2021 18:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71738                              Disclosure NY.pdf                           171776      9/16/2021 18:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71738                              Docusign Cert - Split Payment Form.pdf      335920     11/22/2023 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71738                              Docusign Cert -PA Docs.pdf                  324448     11/22/2023 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71738                              Pleadings.pdf                             2377194       9/16/2021 18:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71738                              POR - Full Lease Agreement.pdf            9295300       9/15/2021 14:14



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               All Paths/Locations                                Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71738                              POR - Utility Bill.pdf                     55808      9/16/2021 17:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71738                              Purchase Agreement.pdf                  1379090       9/16/2021 18:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71738                              Searches.pdf                              402022      9/16/2021 18:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71738                              Seller Identification.pdf                  38855      9/16/2021 17:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71738                              Settlement Agreement and Release.pdf      246023      9/16/2021 17:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71738                              Social Security Card.pdf                2262780       9/16/2021 17:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71738                              Stip.pdf                                  455896      9/27/2021 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\71738                              Stipulation.pdf                           562081      9/28/2021 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72894                              Acknowledgment.pdf                        187201      2/18/2022 14:56
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72894                              Application.pdf                           404543      12/7/2021 15:04



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72894                              Benefits Letter.pdf                      59427      1/28/2013 17:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72894                              Change of Bene Request.pdf               64965      12/7/2021 15:00
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72894                              Closing Binder.pdf                    1523477        1/5/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72894                              Court Order.pdf                       1281442        2/1/2022 10:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72894                              Credit Report.pdf                     1470561        1/4/2022 15:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72894                              Declaration.pdf                         113064      12/7/2021 15:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72894                              Disclosure NC - Increased PP.pdf        207794      1/31/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72894                              Disclosure Statement - NC.pdf           101506      12/7/2021 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72894                              Driver License.pdf                      577214       1/5/2022 13:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72894                              Esign Certificate -10-23-21.pdf          45818      12/7/2021 14:57



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               All Paths/Locations                               Unified Title              File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72894                              Esign Certificate -11-1-21.pdf                    46076      12/7/2021 14:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72894                              IPA Letter - Miles.pdf                           109823       2/1/2022 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72894                              Pleadings.pdf                                 13163300       1/14/2022 12:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72894                              Purchase Agreement.pdf                           286162       1/5/2022 13:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72894                              Searches.pdf                                     718015       1/4/2022 15:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72894                              Settlement Agreement - Unable to locate.pdf      184332       1/5/2022 14:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72894                              Social Secuirty Card.pdf                          60300       1/5/2022 14:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72894                              Terms Rider - Increased PP.pdf                   164341      1/31/2022 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72894                              Updated Benefits Letter.pdf                      546470       1/6/2022 14:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72943                              72943 Docs 11-30-2021.pdf                      5590581      11/30/2021 14:50



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3433 of
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               All Paths/Locations                              Unified Title                 File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72943                              Annuity Contract.pdf                               325770       12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72943                              Application.pdf                                     78835       12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Assignment from Income Stream to Provident
11.22.2023\72943                              Trust Group.pdf                                     16026       12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72943                              Assignment from StratCap to Income Stream.pdf       17460       12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72943                              Bankruptcy Search.pdf                                 6727      12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72943                              Court Order.pdf                                  1106587        12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72943                              Credit Report Equifax Only.pdf                      56177       12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72943                              Disclosure - CA.pdf                                 75183       12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72943                              Dissolution of Marriage.pdf                      1872481        12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72943                              Drivers License.pdf                                268001       12/2/2021 12:45



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               All Paths/Locations                                 Unified Title        File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72943                              IPA.pdf                                       30011      12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72943                              Marital Status.pdf                            27825      12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72943                              Purchase Agreement.pdf                       453340      12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72943                              Redirection Confirmation New 72943.pdf       215184      6/21/2023 11:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72943                              Request for Change of Beneficiary.pdf         45939      12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72943                              Requests for Acknowledgment.pdf              460285      12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72943                              Searches.pdf                                 527645      12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72943                              Settlement Authorization.pdf                  44705      12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72943                              SSN Verification Chrys Ernest Chrys.pdf      172948      12/6/2021 10:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72943                              STA Servicing Agreement.pdf                1706353       1/31/2022 11:49



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               All Paths/Locations                                 Unified Title           File Size    Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72943                              Stipulation.pdf                                  56127       12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Transaction Summary and Contact
11.22.2023\72943                              Information.pdf                                    9738      12/2/2021 12:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72950                              72950 Combined Docs - 1-03-2022.pdf           8106173         1/3/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72950                              Annuity Contract.pdf                            182503       1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72950                              Application.pdf                               1004561        1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72950                              Assignment Income Stream to John White.pdf      154031       1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72950                              Assignment Peachtree to Even MS.pdf              16334       1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\72950                              Assignment Peachtree to Income Stream.pdf        15428       1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72950                              Closing Binder.pdf                            8106173         1/3/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72950                              Court Order.pdf                                 194720       1/14/2022 14:35



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               All Paths/Locations                                  Unified Title                File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72950                              Credit Report.pdf                                      55525      1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72950                              Disclosure - CT.pdf                                    27737      1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72950                              Disclosure - TX.pdf                                    32104      1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72950                              Divorce Decree.pdf                                    187344      1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72950                              Drivers License.pdf                                   944506      1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72950                              Purchase Agreement.pdf                              3864304       1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72950                              Qualified Assignment.pdf                              199129      1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72950                              Redirection Reconfig Letter up04-07-2022.pdf        7222890        4/6/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72950                              Redirection Reconfig Letters 72950 -11-17-22.pdf      358872     11/17/2022 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72950                              Request for Change of Beneficiary.pdf                 110961      1/14/2022 14:35



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72950                              Searches.pdf                           537334      1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72950                              Servicing Agreement 2022.pdf         1548877       3/24/2022 12:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72950                              Settlement Agreement.pdf               341870      1/14/2022 14:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Acknowledgment New 72974.pdf            88501      5/23/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Acknowledgment.pdf                      42428      3/31/2022 12:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Affidavit - Notarized.pdf            2338840      11/22/2023 12:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Affidavit in Lieu of SA.pdf            380670      11/8/2021 17:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Affidavit.pdf                          472729      11/8/2021 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Application.pdf                        496728      11/5/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Approval from Settling Court.pdf        52359      3/11/2022 12:01



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Assignment.pdf                          170345       3/25/2022 8:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Bankruptcy Search.pdf                    81888      11/8/2021 18:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Benefits Letter.pdf                      46900       10/7/2021 1:23
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Closing Binder.pdf                   36556882       11/8/2021 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Court Order.pdf                         277509      3/24/2022 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Credit Report.pdf                        51372      11/5/2021 11:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Disclosure CT.pdf                       371900      11/8/2021 17:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Disclosure DE.pdf                       383664      11/8/2021 17:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Disclosure MA.pdf                       398709      11/8/2021 17:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Disclosure NJ.pdf                       366885      11/8/2021 17:09



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Disclosure NY.pdf                       425131      11/8/2021 17:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              DocuSign Cert - All PA Docs.pdf         245831     11/22/2023 12:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Identification Card - NJ.pdf             93743      3/31/2022 13:27
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Identification Card- NY.pdf              44907      11/8/2021 16:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Infants Compromise Order.pdf          1222582      11/22/2023 12:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              PI Docket Search Results.pdf         14151521       11/5/2021 11:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Pleadings - NJ.pdf                    2926793       11/8/2021 16:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Pleadings - NY.pdf                   10027980       11/5/2021 11:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              POR -Utility Bill.pdf                   307361      11/8/2021 16:32
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Proof of Disc Delivery.pdf              383388      11/8/2021 16:39



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3440 of
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               All Paths/Locations                              Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Disclosure NJ - NANIGUE CHAPMAN.pdf       75113       9/28/2021 9:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Purchase Agreement.pdf                 4958851       11/8/2021 17:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Searches.pdf                             306432      11/8/2021 16:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Social Security Card.pdf                  59393      11/8/2021 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Updated Bankruptcy Search.pdf            131649      3/15/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Updated Credit Report.pdf                 50028      3/15/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72974                              Updated Searches.pdf                     271290      3/15/2022 13:30
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72986                              Affidavit Same Name.pdf                   18016      1/21/2022 13:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72986                              Affidavit.pdf                          1527979      12/14/2021 17:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72986                              Annuity Contract.pdf                      43402     12/14/2021 17:01



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               All Paths/Locations                                  Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72986                              Application.pdf                          435683     11/22/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72986                              Application-notes.pdf                    329027     11/22/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72986                              Authorization to Release.pdf              77469     12/14/2021 14:39
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72986                              Change of Bene Request.pdf               165475     12/14/2021 14:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72986                              Closing Binder.pdf                    11192062        1/6/2022 22:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72986                              Court Order.pdf                          208979       1/24/2022 9:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72986                              Credit Report.pdf                        699535      1/24/2022 10:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72986                              Disclosure - PA.pdf                       36338     12/14/2021 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72986                              Disclosure - TX.pdf                      130165     12/14/2021 14:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72986                              Disclosure Proof of Delivery.pdf          83351       8/5/2021 16:20



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3442 of
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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72986                              E-Sign Certificate 11.1.2021.pdf        37830     11/22/2023 12:33
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72986                              Identification Card.pdf                434162       1/3/2022 12:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72986                              PI Case Docket.pdf                   5749137      12/14/2021 14:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72986                              Pleadings.pdf                        3355595       1/24/2022 15:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72986                              Purchase Agreement.pdf                 199572       1/6/2022 22:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72986                              Searches.pdf                           573718      1/24/2022 10:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72986                              Social Security Card.pdf               344292       1/3/2022 12:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\72986                              Stipulation.pdf                        363708       1/24/2022 9:31
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73146                              Annuity Contract.pdf                   320286      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73146                              Application.pdf                        101867      2/18/2022 14:40



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3443 of
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               All Paths/Locations                                 Unified Title           File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73146                              Assignment Income Stream to West Haven.pdf       18764      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73146                              Assignment StratCap to Income Stream.pdf         20271      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73146                              Authorization to Release.pdf                    284107      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73146                              Closing Binder.pdf                            4135894      12/11/2014 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73146                              Closing Book - Melvin Jones.pdf               4135894      12/11/2014 13:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73146                              Court Order.pdf                                 307402      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73146                              Credit Report.pdf                                45319      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73146                              Disclosure - MA.pdf                             123733      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73146                              Purchase Agreement.pdf                          733807      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73146                              Qualified Assignment.pdf                        270481      2/18/2022 14:40



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3444 of
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               All Paths/Locations                               Unified Title               File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73146                              Request for Change of Beneficiary.pdf             286865      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73146                              Searches.pdf                                      185492      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73146                              Seller Identification.pdf                         241827      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73146                              Settlement Agreement.pdf                          311993      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73146                              Stip.pdf                                          398418      2/18/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -             01-07-19 Jason Kowalsky - AV SGQ000041240 GA
11.22.2023.zip\Dorchester - 353 Files -       600983 - Buyer West Haven Fire Department -
11.22.2023\73155                              Final Closing.pdf                               6945158        1/7/2019 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73155                              Annuity Contract.pdf                              605704      2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73155                              Application.pdf                                   208503      2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73155                              Assignment JGW to NEAA.pdf                        192830      2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73155                              Assignment NEAA to West Haven.pdf                 422972      2/21/2022 17:28



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               All Paths/Locations                                  Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73155                              Closing Binder.pdf                         6945158        1/7/2019 17:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73155                              Court Order.pdf                              577568      2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73155                              Credit Report.pdf                             14246      2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73155                              Direction of Payments to West Haven.pdf      122377      2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73155                              Disclosure - FL.pdf                           96638      2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73155                              Purchase Agreement.pdf                       249393      2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73155                              Request for Change of Beneficiary.pdf         93572      2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73155                              Searches.pdf                                 574061      2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73155                              Seller Identification.pdf                    511451      2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73155                              Servicing Agreement 2022.pdf              24689439       3/24/2022 16:28



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73155                              Settlement Agreement.pdf                622585      2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\73155                              Stipulation.pdf                         385258      2/21/2022 17:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74257                              Affidavit.pdf                            89586     11/15/2021 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74257                              Annuity Contract - Partial.pdf          195428      1/11/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74257                              Application.pdf                         209524     11/15/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74257                              Assignment.pdf                           41442      1/10/2022 14:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74257                              Closing Binder.pdf                    5623624        1/3/2022 16:11
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74257                              Court Order.pdf                         562692      1/24/2022 15:51
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74257                              Credit Report.pdf                       112138       1/3/2022 16:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74257                              Disclosure Affidavit.pdf                 61842     11/15/2021 13:03



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               All Paths/Locations                                 Unified Title      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74257                              Disclosure AZ.pdf                           88271     11/15/2021 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74257                              DocuSign Cert -7D7D.pdf                    305178     11/22/2023 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74257                              Driver License.pdf                         327783     11/22/2023 12:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74257                              Order Terminating Conservatorship.pdf      118946       1/3/2022 16:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74257                              Page from SA - payment stream.pdf          108500      1/11/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74257                              Payee Declaration.pdf                      120824     11/15/2021 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74257                              Petition for Appt of Conservator.pdf       833531       1/3/2022 16:20
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74257                              Pleadings.pdf                            3622269        1/3/2022 16:17
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SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\74257                              KD2 NOH & COS conf copy.pdf                135435     12/18/2021 14:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74257                              KD2 AFACAOTSS conf copy.pdf              1291274      11/10/2021 15:24



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74257                              Draper2 EXH A-F.pdf                  1063509      12/18/2021 14:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74257                              Proof of Disc Delivery.pdf             538095       1/3/2022 16:16
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74257                              Document Package_Draper.pdf            446340      11/4/2021 14:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74257                              Proof of SSN - W2.pdf                  478023      5/17/2021 18:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74257                              Purchase Agreement.pdf                 877020       1/3/2022 16:15
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74257                              Searches.pdf                           445856       1/3/2022 16:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74417                              Annuity Contract.pdf                 2342380       1/24/2022 12:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74417                              Application.pdf                      1869726       1/24/2022 13:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74417                              Assignment.pdf                          68079      1/24/2022 12:58



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               All Paths/Locations                                Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74417                              Authorization Letter.pdf               645876      1/24/2022 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74417                              BK Search.pdf                           52396      1/24/2022 13:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74417                              COB Request.pdf                        669583      1/24/2022 12:59
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74417                              Court Order.pdf                      7438100       1/24/2022 12:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74417                              Credit Report.pdf                       68674      1/24/2022 13:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74417                              Disclosure TX.pdf                      613881      1/24/2022 12:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74417                              DL and SSC.pdf                       1650635       1/24/2022 13:04
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74417                              Payees Request to Conceal ID.pdf       549002      1/24/2022 12:56
Saiph consulting|\Audit Materials Received-
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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74417                              Purchase Agreement.pdf                3655006       1/24/2022 13:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74417                              Stipulation.pdf                       2140257       1/24/2022 14:46
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74417                              Transaction Summary.pdf                  59098      1/24/2022 12:49
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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11.22.2023\74454                              Affidavit.pdf                           794529     12/21/2021 14:13
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11.22.2023\74454                              Application.pdf                         582828      11/9/2021 16:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              Benefit Letter.pdf                    2028110      12/21/2021 14:21
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              Court Order.pdf                       5600034       1/25/2022 10:38
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              Credit Report.pdf                        67151      11/9/2021 17:01



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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              Disclosure NY.pdf                                 233533     12/21/2021 14:12
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              Driver License.pdf                              1262250      12/21/2021 14:11
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
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11.22.2023\74454                              POS - Jared Campofiori.pdf                         77751     12/18/2021 16:10
Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              Proof of Disc Delivery.pdf                        710349     12/21/2021 14:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              Proof of Social -Tax Return.pdf                   904317     11/22/2023 12:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              Purchase Agreement.pdf                          5435505      12/21/2021 14:12
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              Qualified Assignment.pdf                           91519       2/8/2021 15:42
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              Redirection Reconfiguration up07-11-2022.pdf    2180777        7/8/2022 10:47
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              Redirection Assignee List NYLIC.pdf               222753       7/7/2022 15:27



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               All Paths/Locations                             Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\74454                              COA Policy FP200974.pdf              52947       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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11.22.2023\74454                              COA Policy 74758034.pdf              52951       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\74454                              COA Policy 77422032.pdf              52926       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              COA Policy FP200974 (2).pdf          52949       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              COA Policy FP201158.pdf              52930       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              COA Policy FP206266.pdf              52989       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              COA Policy FP206275.pdf              52951       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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               All Paths/Locations                              Unified Title                      File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              COA Policy FP207808.pdf                                  52960       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              COA Policy FP210013.pdf                                  52983       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              COA Policy FP210674.pdf                                  52959       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              COA Policy FP216554.pdf                                  52928       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              COA Policy FP220022.pdf                                  53010       4/8/2022 13:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              COA Policy FP220028.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              COA Policy FP220219.pdf                                  52981       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              COA Policy FP220714.pdf                                  52980       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              COA Policy FP244114.pdf                                  52993       4/8/2022 13:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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               All Paths/Locations                                Unified Title         File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              Searches.pdf                                 375895     12/16/2021 17:17
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              Settlement Agreement.pdf                     268610       2/8/2021 15:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74454                              SSN Verification.pdf                         160269      6/29/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
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11.22.2023\74589                              74589 Combined Docs - 1-03-2022.pdf       13629787        1/3/2022 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74589                              Acknowledgement.pdf                           24328      1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74589                              Annuity Contract.pdf                         760546      1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74589                              Assignment Marinaro Trust to Sutton.pdf      425798      1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74589                              Assignment to Income Stream.pdf               15144      1/14/2022 11:37



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Saiph consulting|\Audit Materials Received-
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Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74589                              Assignment to Marinaro.pdf                 153781      1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74589                              Benefits Letter.pdf                      1700696       1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74589                              Closing Binder.pdf                      13629787        1/3/2022 13:06
Saiph consulting|\Audit Materials Received-
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Saiph consulting|\Audit Materials Received-
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74589                              Credit Report.pdf                           54776      1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74589                              Request For Acknowledgement.pdf            109392      1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74589                              Request for Change of Beneficiary.pdf      497922      1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
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               All Paths/Locations                                 Unified Title    File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74589                              Servicing Agreement.pdf                3127243       3/30/2022 12:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74589                              Settlement Agreement.pdf                 911430      1/14/2022 11:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74590                              74590 Combined Docs - 1-03-2022.pdf    3368756        1/3/2022 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74590                              Annuity Contract.pdf                     324309      1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74590                              Application.pdf                          104140      1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74590                              Assignment JG to StratCap.pdf            119510      1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74590                              Assignment StratCap to NEAA.pdf           15703      1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74590                              Closing Binder.pdf                     3368756        1/3/2022 13:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74590                              Court Order.pdf                          106274      1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74590                              Credit Report.pdf                         73973      1/14/2022 12:13



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11.22.2023\74590                              Disclosure - TX.pdf                         35950      1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74590                              Purchase Agreement.pdf                     119833      1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74590                              Request for Annuity Contract.pdf            33625      1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74590                              Request for Change of Beneficiary.pdf       33858      1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74590                              Searches.pdf                               600484      1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74590                              Seller Identification.pdf                  213006      1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74590                              Servicing Agreement 2022.pdf               681926      3/24/2022 12:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74590                              Social Security Card.pdf                   151416      1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74590                              Stip.pdf                                 1504922       1/14/2022 12:13
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\74590                              Stipulation.pdf                            844629      1/24/2022 16:02



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               All Paths/Locations                                 Unified Title   File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76130                              Acknowledgment.pdf                       99880      2/15/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76130                              Affidavit in Lieu of SA.pdf             105618      1/21/2022 15:57
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76130                              Annuity Contract.pdf                    528225     12/17/2021 15:36
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76130                              Application.pdf                         625565       1/6/2022 18:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76130                              Assignment.pdf                          166161      1/27/2022 12:24
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76130                              Benefits Letter.pdf                     101353     12/17/2021 18:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76130                              Closing Binder.pdf                    6012781       1/21/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76130                              Court Order.pdf                         415171        2/1/2022 9:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76130                              Credit Report.pdf                        29084       1/6/2022 19:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76130                              Declaration.pdf                         171813      1/21/2022 15:55



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3459 of
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               All Paths/Locations                                 Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76130                              Disclosure CT.pdf                                 130565      1/21/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76130                              Disclosure FL.pdf                                 135693      1/21/2022 15:55
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76130                              Docusign Cert - CT Disc.pdf                       338614     11/22/2023 12:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76130                              Driver License.pdf                                281115      1/21/2022 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76130                              Pleadings.pdf                                   1962140       1/21/2022 15:53
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76130                              Purchase Agreement.pdf                          1330880       1/21/2022 15:54
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76130                              Redirection Confirmation New 76130.pdf             52754       5/2/2022 16:38
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76130                              Redirection Reconfig Letter up04-07-2022.pdf    7222890        4/6/2022 15:47
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76130                              Searches.pdf                                      402254      1/21/2022 16:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76130                              Settlement Agreement.pdf                          797879     12/17/2021 15:32



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3460 of
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               All Paths/Locations                                 Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76130                              Social Secuirty Card.pdf                  132436      1/21/2022 15:52
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76132                              Affidavit in Lieu of SA.pdf               114798      1/19/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76132                              Annuity Info Ltr - Policy number.pdf    2798795       1/19/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76132                              Application.pdf                           160842       1/6/2022 18:28
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76132                              Assignment.pdf                            166021      1/24/2022 16:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76132                              Benefits Letter.pdf                        82702      1/24/2022 10:35
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76132                              Closing Binder.pdf                     13506505       1/19/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76132                              Court Order.pdf                           180680      1/24/2022 17:21
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76132                              Credit Report.pdf                          45730       1/6/2022 19:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76132                              Declaration - Notarized.pdf             2889116       1/24/2022 16:08



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3461 of
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               All Paths/Locations                                 Unified Title             File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76132                              Declaration.pdf                                   170599      1/19/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76132                              Description of Periodic Payments.pdf              108883      1/19/2022 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76132                              Disclosure FL.pdf                                 147613      1/19/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76132                              Disclosure MA.pdf                                 154731      1/19/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76132                              Docusign Cert - PA Docs.pdf                       321225     11/22/2023 12:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76132                              Driver License.pdf                              4063021       1/19/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Order Approving Settlement - Wrong
11.22.2023\76132                              Payments.pdf                                       56465       8/30/2021 4:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76132                              Pleadings.pdf                                   2140299       1/19/2022 10:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76132                              Purchase Agreement.pdf                          1355900       1/19/2022 10:44
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -       Redirection Confirmation New_Protective Life
11.22.2023\76132                              up03-03-2023.pdf                                  340590        3/3/2023 8:13



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3462 of
                                       3467



               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76132                              Searches.pdf                                    415511      1/19/2022 10:48
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76132                              Settlement Docket.pdf                           614042      1/20/2022 12:49
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76132                              Social Security Card.pdf                      2552500       1/19/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76132                              Stip - Missing Lincoln.pdf                      185816      1/24/2022 18:19
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76132                              Stipulation.pdf                                 167809       1/27/2022 8:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Acknowledgment.pdf                              100843       2/1/2022 12:14
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Affidavit in Lieu of SA.pdf                     100613      1/23/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Annuity Contract.pdf                            102413      1/23/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Application.pdf                                 356971      1/23/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Assignment JCL Capital to BTG Advisors.pdf      127652      1/21/2022 14:39



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3463 of
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               All Paths/Locations                                Unified Title            File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Assignment to BTG Advisors to St James.pdf      127500      1/21/2022 14:40
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Authorization.pdf                                98421      1/23/2022 11:08
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Bankruptcy Search.pdf                           149119      1/23/2022 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Benefits Letter.pdf                              26112      1/23/2022 11:03
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Closing Book - Maria Nino.pdf                 6149598       1/20/2022 19:25
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              COB Request - Notarized.pdf                      69692      1/23/2022 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Court Order.pdf                                 222214      1/23/2022 11:22
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Credit Report.pdf                               580074      1/24/2022 10:29
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Declaration.pdf                                 251786      1/24/2022 10:41
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Disclosure Affidavit.pdf                         46768      1/23/2022 11:07



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3464 of
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               All Paths/Locations                                Unified Title                  File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Disclosure AZ.pdf                                     160378      1/23/2022 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Disclosure CT.pdf                                     143129      1/23/2022 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Disclosure TX.pdf                                     163700      1/23/2022 11:06
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Doc Request Letter - Notarized.pdf                     87854      1/23/2022 11:09
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Permanent Resident ID Card.pdf                        245773      1/23/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Pleadings.pdf                                       3762704       1/23/2022 11:01
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Purchase Agreement.pdf                                619205      1/23/2022 11:07
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Qualified Assigment.pdf                                72926      1/23/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Redirection Reconfig Letters 76138- 11-17-22.pdf      348740     11/17/2022 12:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Request for Acknowledgment.pdf                        729215      1/21/2022 14:36



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3465 of
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               All Paths/Locations                              Unified Title       File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              SA Search Results.pdf                     78539      1/23/2022 11:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Searches.pdf                             205457      1/23/2022 11:10
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              Social Security Card.pdf                 118494      1/23/2022 11:02
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\76138                              UCC Search.pdf                           379522      1/23/2022 11:05
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78144                              Annuity Contract.pdf                     236864       1/5/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78144                              Application.pdf                          283707       1/5/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78144                              Assigment.pdf                             27411       1/5/2022 11:34
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78144                              Authorization for Deductions.pdf          65129       1/5/2022 10:42
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78144                              Benefts Letter - Updated.pdf              25362       1/5/2022 15:58
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78144                              Closing Book - Anthony Sewalish.pdf   13261956      12/13/2021 16:28



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 Case 9:24-cv-81143-DMM Document 53-3 Entered on FLSD Docket 10/26/2024 Page 3466 of
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               All Paths/Locations                                 Unified Title     File Size   Primary Date/Time
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78144                              Court Order - Singer.pdf                  350127       6/9/2015 10:43
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78144                              Court Order.pdf                         3094732       1/19/2022 12:04
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78144                              Credit Report.pdf                         143466       1/5/2022 10:45
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
Received\Dorchester - 353 Files -
11.22.2023.zip\Dorchester - 353 Files -
11.22.2023\78144                              Disclosure FL.pdf                          38921       1/5/2022 10:37
Saiph consulting|\Audit Materials Received-
SuttonPark\Missing Documents
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